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Name                                                 Address1                               Address2               Address3        Address4          City            State Zip

LOIS T HUNTER TR LOIS T HUNTER REV TRUST UA 157 NEW BOSTON RD                                                                                        BEDFORD         NH    03110‐5205
12/19/90
LOIS T WERTH                                909 SPENCERPORT RD                                                                                       ROCHESTER       NY    14606‐3603
LOIS TIMKO                                  C/O LOIS A RADLER                               70 SAGAMORE AVE                                          EDISON          NJ    08820‐2978
LOIS TROWBRIDGE                             2 REYNOLDS RIDGE                                                                                         BETHEL          CT    06801
LOIS TUCK HUNT                              PO BOX 215                                                                                               BROOKFIELD      CT    06804‐0215
LOIS UNDERWOOD & DONNA M MCEWAN & WILLIAM B PO BOX 6                                                                                                 REEDVILLE       VA    22539
UNDERWOOD JT TEN
LOIS V CHAPMAN & RAYMOND LEE CHAPMAN JT TEN 225 VREELAND AVE                                                                                         MIDLAND PARK    NJ    07432‐1646

LOIS V ELLIS & SUSAN A NITCH & JANET E PAIR JT TEN   4400 EAST 211TH STREET                                                                          BELTON          MO    64012‐8944

LOIS V HAYNES                                        1413 E MAPLEGROVE ST                                                                            WEST COVINA     CA    91792‐1213
LOIS V KIRK                                          2573 E COOK ST                                                                                  GRAND BLANC     MI    48439‐8374
LOIS V SHARKEY                                       3111 SANDALWOOD CT                                                                              LAFAYETTE       CA    94549‐5509
LOIS VALASEK                                         ATTN LOIS VALASEK DESPRES              6825 ESSEX CTR                                           ST JOHNS        MI    48879‐9735
LOIS VAN HOOK MARTIN                                 20251 CAROL LANE                                                                                SARATOGA        CA    95070‐3113
LOIS VOLLMER DE MEY                                  108 SEVENTY ACRE RD                                                                             WEST REDDING    CT    06896‐2706
LOIS W CONNELL TR UA 08/08/90 ROBERT J CONNELL       1677 ONEIDA ST                                                                                  DENVER          CO    80220‐1759
TRUST
LOIS W DUGA                                          2121 HIGHVIEW RD                                                                                CLEARFIELD      PA    16830‐1105
LOIS W KAUFMANN                                      811 ROYAL PALM PL                                                                               VERO BEACH      FL    32960‐5191
LOIS W MEYERHOEFFER                                  602 CHERRY HILL DRIVE                                                                           STAUNTON        VA    24401‐1909
LOIS W SEEGAL                                        4001 OLD COURT ROAD APT 102                                                                     PIKESVILLE      MD    21208‐2838
LOIS W SHEPARD                                       240 PATTERSON DR                                                                                COLUMBIA        TN    38401‐5590
LOIS W VASS                                          35301 DRAKESHIRE PL                    APT 204                                                  FARMINGTON      MI    48335‐3251
LOIS WILLSON BOYD & EDITH S WILLSON JT TEN           C/O LOIS WILLSON                       4370 GEORGIA HWY 354                                     PINE MOUNTAIN   GA    31822‐2217
LOIS WINTER                                          2525 POT SPRING RD                     UNIT S526                                                LUTHVLE TIMON   MD    21093‐2778
LOIS WISDOM                                          704 EARLY ST                                                                                    SPRINGFIELD     GA    31329‐4509
LOIS WROBEL                                          122 SEAMANS ROAD                                                                                CLARKS SUMMIT   PA    18411‐9296
LOISA BYRD                                           PO BOX 334                                                                                      E SAINT LOUIS   IL    62202‐0334
LOISANN HARON                                        1159 W BROADWAY                                                                                 ALEXANDRIA      IN    46001‐8158
LOISANN M BUBNELL                                    2 SWEETWATER LANE                                                                               HILTON HEAD     SC    29926‐2626
LOISE I HUBLER                                       3188 PERRY COURT                                                                                GRAND BLANC     MI    48439‐8151
LOKEY OLDSMOBILE INC                                 2339 GULF TO BAY BLVD                                                                           CLEARWATER      FL    33765‐4102
LOLA A HENNIG                                        W7270 PUCKAWAY RD 45                                                                            MARKESAN        WI    53946‐7951
LOLA ABBOTT & BENJAMIN ABBOTT JT TEN                 205 WEST END AVE                       APT 1N                                                   NEW YORK CITY   NY    10023‐4817
LOLA B CIAVARDONI                                    1105 WATERSIDE WAY                                                                              COHOES          NY    12047‐4714
LOLA B COUCH                                         ONE NORTH FULS RD                                                                               NEW LEBANON     OH    45345‐9748
LOLA B MORTON                                        8505 AMERICAN ST                                                                                DETROIT         MI    48204‐3324
LOLA B WILLIAMS                                      920 PECK ST                                                                                     TOLEDO          OH    43608‐2828
LOLA C DEVINE TR LOLA C DEVINE TRUST UA 05/14/98     3531 NORTH VILLAGE CT                                                                           SARASOTA        FL    34231

LOLA CANNADAY HUFF                                    10750 CHADHAM RD                                                                               AXTON           VA    24054‐3759
LOLA DRIESSEN                                         324 MAIN                                                                                       ELK RIVER       MN    55330‐1532
LOLA E PULLINS                                        5063 ROLLINR ROCK COURT                                                                        COLUMBUS        OH    43229‐4708
LOLA E WILLIAMS                                       15 LAFAYETTE ST                       APT 138                                                  SCHENECTADY     NY    12305‐2028
LOLA F ASHWILL & LYMAN E ASHWILL JT TEN               6555 W 75TH ST                        APT 104                                                  OVERLAND PARK   KS    66204‐0017
LOLA F HUTCHISON                                      20244 ROSEMONT DR                                                                              DETROIT         MI    48219‐1540
LOLA HEIDEMAN STINSON                                 3732 S WALNUT DR                                                                               KINGMAN         IN    47952‐8117
LOLA J FRANCIS                                        6672 ESTERO BLVD                      APT A609                                                 FT MYERS BCH    FL    33931‐4511
LOLA J LATREILLE TR UA 8/23/94 LOLA J LATREILLE TRUST 60733 MT VERNON ROAD                                                                           ROCHESTER       MI    48306‐2045

LOLA J SMITH                                         5490 SHIPMAN RD                                                                                 CORUNNA         MI    48817‐9766
LOLA JEAN FAHLER                                     919 HOLLY CT                                                                                    DEERFIELD       IL    60015‐2846
LOLA L RAMEY                                         5354 SPICERVILLE HWY                                                                            EATON RAPIDS    MI    48827‐9035
LOLA M BROWN                                         4033 PROCTOR                                                                                    FLINT           MI    48504‐2264
LOLA M CONNER                                        309 PASSAIC AVE                                                                                 PHILLIPSBURG    NJ    08865‐4032
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LOLA M DOYLE TR LOLA M DOYLE TRUST UA 01/18/90   74 RAILROAD ST                                                                               PETERSBURG         MI    49270

LOLA M HARPER                                    1638 COTTONWOOD                                                                              N CANTON           OH    44720‐1102
LOLA M HARRIS                                    PO BOX 90468                                                                                 ROCHESTER          NY    14609‐0468
LOLA M HILL                                      204 SANFORD STREET #2                                                                        NEW BRUNSWICK      NJ    08901‐2602
LOLA MAXINE YOUNG                                11700 S CR 300 EAST                                                                          MUNCIE             IN    47302‐8338
LOLA NAZAK                                       336 N HENRY ST                                                                               CRESTLINE          OH    44827‐1363
LOLA P ASARO TOD SAM ASARO & SALLY A FLATEN      6452 WOODVINE DR                                                                             CHELSEA            MI    48118‐9161
LOLA P PROIETTI                                  129 LINCOLN TER #2                                                                           LEOMINSTER         MA    01453‐4235
LOLA P REYNOLDS                                  HIGHWAY 36 WEST                     202 N SMYRNA RD                                          SEARCY             AR    72143‐9480
LOLA R BARDEL                                    6450 S W RICHEY LANE                                                                         PORTLAND           OR    97223‐7294
LOLA R FRIEDMAN                                  1 OGDEN PL                                                                                   MORRISTOWN         NJ    07960‐5248
LOLA RATTER                                      230 MILLPORT RD                                                                              WEST MIFFLIN       PA    15122‐2547
LOLA S VANGILDER                                 12599 ALTON DR                                                                               GRAFTON            OH    44044‐9512
LOLA T MCGRAIL                                   933 CENTRAL STREET                                                                           FRAMINGHAM         MA    01701
LOLA WILLIAMS                                    8300 S COTTAGE GROVE AVE APT 613                                                             CHICAGO            IL    60619
LOLA WOODS                                       2042 HILLSDALE                                                                               KALAMAZOO          MI    49006‐2416
LOLENE I TERRY                                   1300 JAMISON MILL ROAD                                                                       HENRY              VA    24102‐3124
LOLENE T GUSLER                                  3274 DANIELS CREEK RD                                                                        COLLINSVILLE       VA    24078‐1671
LOLETA SHIRLEY                                   ATTN LOLETA SHIRLEY SOLOMAN         13251 HWY 15 N                                           BILOXI             MS    39532‐9140
LOLITA D CARTER                                  2109 E MAIN ST                                                                               ROGERSVILLE        TN    37857‐2985
LOLITA M HERNANDEZ‐GRAY                          1419 NICOLET PL                                                                              DETROIT            MI    48207‐2804
LOLITA M PARNABY TR LOLITA M PARNABY ET AL UA    2444 PRATT ST                       APT 233                                                  LONGMONT           CO    80501‐1172
11/02/78
LOLITA M PRICE                                   71‐73 COLUMBIA STREET                                                                        NEW YORK           NY    10002‐2687
LOLITA M STANTON                                 6336 NORTH KEELER AVE                                                                        CHICAGO            IL    60646
LOLITA M VINCENT                                 12514 ASKEW STREET                                                                           GRANDVIEW          MO    64030‐1516
LOLITA OLIVER & STEPHEN D OLIVER JT TEN          831 E CENTER RD                                                                              KOKOMO             IN    46902‐5366
LOLITA W DEE                                     C/O LOLITA WONG                     2191 28TH AVENUE                                         SAN FRANCISCO      CA    94116‐1732
LOLITA WOMAC                                     4708 WADE DR                                                                                 METAIRIE           LA    70003‐2714
LOLOMA K WIKSTEN                                 6737 WEST 105TH ST                                                                           CHICAGO RIDGE      IL    60415‐1703
LOLOMA K WIKSTEN & MARY C WIKSTEN JT TEN         6737 WEST 105TH STREET                                                                       CHICAGO RIDGE      IL    60415‐1703
LOMA E HAMILTON                                  2501 N APPERSON WAY                 TRLR 38                                                  KOKOMO             IN    46901‐1475
LOMA J LUTZ                                      2003 JOHNSON CREEK ROAD                                                                      BARKER             NY    14012‐9528
LOMA J REEVES                                    2022 STANFORD AVENUE                                                                         FLINT              MI    48503‐4011
LOMAN A JEFFERS                                  2453 N TAYLORSVILLE RD                                                                       HILLSBORO          OH    45133‐8839
LOMAN L JENKINS                                  14221 SILVER LAKES CIR                                                                       PT CHARLOTTE       FL    33953‐4650
LOMMIE PROFFITT                                  320 PISTOL CREEK RD                                                                          LONDON             KY    40741‐6559
LON A OFFENBACHER                                538 SPRINGVIEW DR                                                                            ROCHESTER          MI    48307‐6069
LON B ISAACSON                                   3435 WILSHIRE BLVD SUITE 2910                                                                LOS ANGELES        CA    90010‐2015
LON B NILES                                      4806 GAVIOTA AVE                                                                             LONG BEACH         CA    90807‐1210
LON C MITCHELL JR                                1330 BELHAVEN DR                                                                             MOUNT PLEASANT     SC    29466‐6968

LON CLEVELAND CUST MORGAN ANN CLEVELAND UTMA 406 8TH ST W                                                                                     CANBY              MN    56220‐1038
MN
LON D SEIGHMAN                               1280 FOUNTAIN ROAD                                                                               NEWTOWN            PA    18940‐3720
LON D WOODS                                  350 RIDGEWOOD DR                                                                                 GETTYSBURG         PA    17325‐8508
LON E ANTHONY                                8500 HARWOOD RD                                                                                  N RICHLAND HILLS   TX    76180‐7581

LON E MADLOCK                                    PO BOX 10250                                                                                 DETROIT            MI    48210‐0250
LON J BIRD                                       1009 W BRACKETT RD                  APT 130                                                  SEQUIM             WA    98382‐3286
LON STEPHEN NELSON                               400 COUNTRY CLUB                                                                             BRANDON            SD    57005‐6647
LONA G SCHINDLER                                 2233 N SUMMIT AVE APT 510                                                                    MILWAUKEE          WI    53202‐1288
LONA HOLMAN                                      3367 HILLCREST RD                                                                            RICHMOND           IN    47374‐9754
LONA MAE DEAN                                    C/O THOMAS                          1672 LONG RD                                             RANGER             GA    30734‐6127
LONA N WILSON                                    1413 MILBOURNE AVE                                                                           FLINT              MI    48504‐3115
LONA VAN WINKLE & MELDON D VAN WINKLE JT TEN     520 BRANDT ST                                                                                DAYTON             OH    45404‐2244

LONCHIA KRUSIKANIS & STANLEY A KAROL JT TEN      661 HAMMOND ST                                                                               BROOKLINE          MA    02467‐2117
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Name                                         Address1                            Address2             Address3          Address4          City           State Zip

LONDA C JACKSON                             12391 DOW RD                                                                                  SUNFIELD       MI    48890‐9754
LONDELL C TRESSEL                           406 RUDDELL DR                                                                                KOKOMO         IN    46901‐4247
LONDIE PETERSON CUST ZACARY PYKE UTMA CA    945 CAROL LANE                                                                                LAFAYETTE      CA    94549‐4714
LONDON SALVAGE & TRADING CO LTD             333 EGERTON ST                       LONDON ON                              N5Z 2H3 CANADA
LONE ELSEBETH HELENE FOX MAULE              HEGNSVEJ 78 B                        2850 NAERUM                            DENMARK
LONELLE A COFFIN                            105 BOLES DR                                                                                  WOODSTOCK      GA    30188‐3405
LONETA B WEEKS                              1980 JAMESTOWN DRIVE                                                                          PALATINE       IL    60074‐1440
LONGWOOD UNIVERSITY FOUNDATION              201 HIGH ST                                                                                   MATHEWS        VA    23109
LONIE BUXTON                                23530 MEADOW PARK                                                                             REDFORD        MI    48239
LONIE D JEFFERSON                           487 S PADDOCK                                                                                 PONTIAC        MI    48341‐3031
LONNA G WILSON                              27118 ASH CT                                                                                  TEA            SD    57064‐8016
LONNA R STAADECKER                          4070 E 129TH WAY                                                                              DENVER         CO    80241‐2276
LONNA V LEMMON CUST CHRISTOPHER C LEMMON    4003 S ATLANTIC AVENUE                                                                        NEW SMYRAS     FL    32169‐3708
UGMA MI                                                                                                                                   BEACH
LONNA V LEMMON CUST GEORGE D LEMMON UGMA MI 4003 S ATLANTIC AVENUE                                                                        NEW SMYAMA     FL    32169‐3708

LONNELL R HURST                              22116 ROXFORD                                                                                DETROIT        MI    48219‐2382
LONNEY H COLE                                PO BOX # 832                                                                                 FLINT          MI    48501‐0832
LONNI L SUCHY                                1445 RONNIE STREET                                                                           FLINT          MI    48507‐5543
LONNIE A CARPENTER                           PO BOX 295                          207 4TH AVE                                              GLASGOW        WV    25086‐0295
LONNIE A FORD                                PO BOX 239                                                                                   FLORA          MS    39071‐0239
LONNIE A FUTEY                               500 W LEX‐SPRINGMILL ROAD                                                                    MANSFIELD      OH    44906
LONNIE AVERY & SUSAN KISH AVERY JT TEN       177 BOOMHOWER RD                                                                             GREENVILLE     NY    12083
LONNIE B COLLINS                             2261 GRANITE                                                                                 FLUSHING       MI    48433‐3528
LONNIE B GANT                                12069 VICTORIAN VILLAGE CT                                                                   SAINT LOUIS    MO    63138‐1329
LONNIE B RODGERS                             12790 CORBETT                                                                                DETROIT        MI    48213‐1808
LONNIE BENFORD                               1320 FINDLAY AVE                                                                             BRONX          NY    10456‐1601
LONNIE C HARPER                              60520 CAMPGROUND RD                 APT 4                                                    WASHINGTON     MI    48094
LONNIE C SADLER                              PO BOX 385                                                                                   MEEKER         OK    74855‐0385
LONNIE C VANCE & LINDA K VANCE JT TEN        6500 RED OAK DR                                                                              TROY           MI    48098‐5239
LONNIE COLE                                  15755 PARKWAY LN                    APT 5                                                    SOUTHGATE      MI    48195‐4739
LONNIE COLEMAN II                            11677 TERRY                                                                                  DETROIT        MI    48227‐2445
LONNIE D AVERY                               177 BOOMHOWER RD                                                                             GREENVILLE     NY    12083
LONNIE D MARTIN                              5411 MEADOWLARK LANE                                                                         ANDERSON       IN    46011‐1440
LONNIE D STUART                              402 MERCER                                                                                   DURAND         MI    48429‐1336
LONNIE D TRIMBLE                             10831 MOGUL                                                                                  DETROIT        MI    48224‐2443
LONNIE DICKERSON                             4458 DOGWOOD DR                                                                              BATAVIA        OH    45103‐1102
LONNIE E ADAMS & SAMMYE N ADAMS JT TEN       C/O HERB THOMAS                     P O BOX 27442                                            OAKLAND        CA    94602
LONNIE E GREENWOOD                           358 OUTER DR                                                                                 FRANKFORT      IN    46041‐2801
LONNIE E HARRIFORD                           250 LAKEWOOD                                                                                 DETROIT        MI    48215‐3152
LONNIE E REID                                1204 SHORTS DR                                                                               FLATWOODS      KY    41139‐1602
LONNIE FULLER JR                             RR 1 978F                                                                                    HEMPHILL       TX    75948‐9801
LONNIE G ESCKELSON                           813 SEBEK                                                                                    OXFORD         MI    48371‐4458
LONNIE G HYATT                               G3321 CHEYENNE AVE                                                                           BURTON         MI    48529
LONNIE G PRICE                               12121 N CENTER RD                                                                            CLIO           MI    48420‐9132
LONNIE G STONE SR                            5505 E BELLVIEW HWY                                                                          EATON RAPIDS   MI    48827
LONNIE GREEN                                 8303 CENTRAL                                                                                 DETROIT        MI    48204‐3312
LONNIE H MCKINNEY                            3910 DIECKMAN LN                                                                             CINCINNATI     OH    45245‐2646
LONNIE HENSLEY                               1229 WELLS RD                                                                                MILAN          MI    48160
LONNIE J BATTIES                             19776 GREENWALD DR                                                                           SOUTHFIELD     MI    48075‐7302
LONNIE J BOGGS                               606 BRAND ST                                                                                 DURAND         MI    48429‐1119
LONNIE J COLLINS                             17391 STOUT                                                                                  DETROIT        MI    48219‐3428
LONNIE J FARMER                              5671 O'ROUKE RD                                                                              BUFORD         GA    30518‐2153
LONNIE J HOLMES                              984 CECELIA DR                                                                               ESSEXVILLE     MI    48732‐2104
LONNIE J JOHNSON                             15346 LITTLEFIELD ST                                                                         DETROIT        MI    48227‐3616
LONNIE J PEACE                               450 ELVERNE AVE                                                                              DAYTON         OH    45404‐2330
LONNIE J RIDDLE                              249 OLD SPRINGS RD                                                                           MAYNARDVILLE   TN    37807‐4847
LONNIE J TURCSAK                             7485 SILVER FOX RUN                                                                          SWARTZ CREEK   MI    48473‐8923
LONNIE J WILLIAMS JR                         1511 GARLAND ST                     APT 15                                                   FLINT          MI    48503‐1149
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LONNIE JOE ROGERS                                  2670 JOE MOBLEY RD                                                                              WILLIAMSTON      NC    27892‐8485
LONNIE K MULLINS                                   448 FOREST CIRCLE                                                                               SOUTH            WV    25303‐2108
                                                                                                                                                   CHARLESTON
LONNIE K RICH & LORI L RICH TR THE RICH LIVING TRUST 13029 WALLACE DR                                                                              CLIO             MI    48420
UA 3/3/08
LONNIE KUY KENDALL JR                                28241 ROSEWOOD                                                                                INKSTER          MI    48141‐1794
LONNIE L ENGLER                                      03797 CR 22                                                                                   STRYKER          OH    43557‐9780
LONNIE L GLISPIE & SHELIA E SETTLES‐GLISPIE JT TEN   30445 RED MAPLE LANE                                                                          SOUTHFIELD       MI    48076‐1008

LONNIE L HIGGINS                                   415 STATE PARK DRIVE                                                                            BAY CITY         MI    48706‐1338
LONNIE L JERGENS CUST LOGAN M JERGENS UTMA OH      3568 LITTLE YORK ROAD                                                                           DAYTON           OH    45414‐2472

LONNIE L KEITH                                     1001 CARP TRL                                                                                   HARRISON         MI    48625‐7618
LONNIE L MC KINNON                                 262 J T JONES RD                                                                                BROXTON          GA    31519‐6601
LONNIE L PACHOLKE                                  6871 BAY GLADWIN CO LINE                                                                        BENTLEY          MI    48613‐9710
LONNIE L SCOTT                                     547 N DORMAN ST                                                                                 INDIANAPOLIS     IN    46202‐3535
LONNIE L SIMS                                      9449 VAUGHN LANE                                                                                FRANKLIN         OH    45005‐1449
LONNIE L WALKER                                    8446 BEAVERLAND                                                                                 REDFORD          MI    48239‐1127
LONNIE L WATSON                                    15 SEQUOYAH VIEW CT                                                                             OAKLAND          CA    94605‐4904
LONNIE L WORLEY                                    133 MCCULLUM                                                                                    INDEPENDENCE     KY    41051‐7800
LONNIE LANTZ                                       BOX 93 BISTA DRIVE                                                                              OOLITIC          IN    47451‐0093
LONNIE M CONNER                                    1379 W TEMPERANCE RD                                                                            TEMPERANCE       MI    48182‐9442
LONNIE M JONES                                     1063 HAWTHORNE ST                                                                               YOUNGSTOWN       OH    44502‐1674
LONNIE M MCCLENDON                                 498 E WEBSTER                                                                                   ANDERSON         IN    46012‐1751
LONNIE MARSHALL JR                                 3101 N CAMBRIDGE RD                                                                             LANSING          MI    48911‐1018
LONNIE MOTLEY                                      1007 E MAIN ST                                                                                  MUNCIE           IN    47305‐2026
LONNIE MULLINS                                     C/O EDITH MULLINS                      1440 SE 17TH TER                                         CAPE CORAL       FL    33990‐4516
LONNIE P COLLINS                                   7249 S JENNINGS RD                                                                              SWARTZ CREEK     MI    48473‐8873
LONNIE PARKER                                      1629 N LARCHMONT                                                                                SANDUSKY         OH    44870‐4320
LONNIE R BARKER                                    173 PRIVATE ROAD 1648                                                                           CHICO            TX    76431
LONNIE R BREWER                                    608 N MADISON ST                                                                                SPRING HILL      KS    66083‐9156
LONNIE R HOLLAND                                   3535 HWY T                                                                                      ROSEBUD          MO    63091‐1714
LONNIE R JOHNSTON                                  226 N AUSTIN RD                                                                                 JANESVILLE       WI    53545‐8667
LONNIE R LAMANCE                                   14231 SPRINGDALE ST #14                                                                         WESTMINSTER      CA    92683‐3573
LONNIE R SAUNDERS                                  111 ROCKHILL DR                                                                                 WEST MILTON      OH    45383‐1224
LONNIE R VANDERSON                                 1315 BRANDYWINE LN                                                                              ST PETERS        MO    63376‐6510
LONNIE R WARNCKE & CONSTANCE J WARNCKE JT TEN      303 SPORTS COURT                                                                                DEFIANCE         OH    43512‐3581

LONNIE READ                                        7740 W 87TH DR UNIT I                                                                           ARVADA           CO    80005
LONNIE SHARP                                       PO BOX 822                                                                                      MANGO            FL    33550‐0822
LONNIE SIMPSON                                     16318 WESTLAND                                                                                  SOUTHFIELD       MI    48075‐4245
LONNIE SMITH                                       2512 MONTCLAIR ST                      #2                                                       DETROIT          MI    48214‐3170
LONNIE SMITH                                       640 SOUTH 14TH STREET                                                                           SAGINAW          MI    48601‐1921
LONNIE STAMPER                                     10599 LOCUST PIKE                                                                               RYLAND HEIGHTS   KY    41015‐9383
LONNIE THORPE                                      2277 EAST 74TH STREET                                                                           CLEVELAND        OH    44103‐4831
LONNIE W BEACH                                     1435 WEST GRAND AVENUE                                                                          DAYTON           OH    45407‐2037
LONNIE W BROWN                                     14983 OAKFIELD                                                                                  DETROIT          MI    48227‐1405
LONNIE W CLARK                                     1229 LINDEN AVE                                                                                 DAYTON           OH    45410‐2812
LONNIE W HENDRIX                                   1004 VALLEY BLVD                                                                                ELYRIA           OH    44035‐2950
LONNIE W HERRON                                    966 PINE TREE ST                                                                                LAKE ORION       MI    48362‐2556
LONNIE W JACKSON                                   1641 PACES CREEK RD                                                                             MANCHESTER       KY    40962‐7533
LONNIE W TAYLOR                                    10120 W 52 TERR                                                                                 MERRIAM          KS    66203‐2024
LONNIE WILLIAMS JR                                 5505 EDWARDS                                                                                    FLINT            MI    48505‐5111
LONNIE WILSON                                      4225A W RED BUD                                                                                 ST LOUIS         MO    63115‐3020
LONNIE WRIGHT                                      2209 N MILTON                                                                                   MUNCIE           IN    47303‐5344
LONNY A GILBERT                                    101 YALE AVE                                                                                    DAYTON           OH    45406‐5022
LONNY D WILSON                                     11172 SILVER LAKE RD                                                                            BYRON            MI    48418‐9003
LONNY L ANDERSON                                   7177 SOUTH 400 EAST                                                                             COLUMBIA CITY    IN    46725‐9643
LONNY L FINCHER                                    PO BOX 3683                                                                                     CARMEL           IN    46082‐3683
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Name                                                Address1                              Address2             Address3          Address4          City              State Zip

LONNY L WILLIS                                      4487 E 50 N RR #5                                                                              KOKOMO            IN    46901‐8324
LONNY R CHURCH                                      N3440 16 MILK RD                                                                               MUNISING          MI    49862
LONNY SMITH                                         RR 1 BOX 197D                                                                                  TIDIOUTE          PA    16351‐9301
LONNY W SLUYTER                                     268 SNYDERS WAY #268                                                                           PAYSON            AZ    85547
LONORA C CLARK                                      19360 ALBION ST                                                                                DETROIT           MI    48234‐3504
LONTINA Y RAY                                       C/O LONTINA Y SCRUGGS                 12879 ABINGTON                                           DETROIT           MI    48227‐1203
LONTINA Y SCRUGGS                                   12879 ABINGTON                                                                                 DETROIT           MI    48227‐1203
LONZA JACKSON                                       5150 31ST HERBERT                                                                              DETROIT           MI    48210‐1753
LONZENIA JACKSON                                    49 MERCER AVE                                                                                  BUFFALO           NY    14214‐1821
LONZIE D RAYMOND SR                                 9101 DIXIE                                                                                     REDFORD           MI    48239
LONZIE PATRICK                                      25590 PROSPECT AVE                    APT 5B                                                   LOMA LINDA        CA    92354‐3143
LONZIE RUSHING                                      1818 MCPHAIL ST                                                                                FLINT             MI    48503‐4367
LONZO BOWIE                                         2242 RIVER BEND RD                                                                             LENA              MS    39094‐9017
LONZO DAVIDSON JR                                   245 S PADDOCK ST                      UNIT 40                                                  PONTIAC           MI    48342‐3182
LONZO JACKSON                                       PO BOX 155                                                                                     GARRARD           KY    40941‐0155
LONZO N SMITH & BILLIE SMITH JT TEN                 778 BRAMBLEWOOD DR                                                                             LOVELAND          OH    45140‐9107
LONZO THOMPSON                                      2874 ALLVIEW CIR                                                                               CINCINNATI        OH    45238‐2015
LONZO W BRAGG                                       1071 THOMASON RD                                                                               MONTICELLO        GA    31064‐3847
LONZO YATES                                         PO BOX 732                                                                                     BRYAN             OH    43506‐0732
LOON WHITE                                          1224 VERMILYA AVE                                                                              FLINT             MI    48507‐1541
LORA A FAHEY                                        421 MARYLAND AVENUE                                                                            WESTERNPORT       MD    21562‐1414
LORA A TOMBLIN                                      2505 KILLARNEY WAY                                                                             TALLAHASSEE       FL    32309‐3120
LORA B CHAMPION                                     19800 LAKE SHORE BLVD                                                                          EUCLID            OH    44119
LORA D COBB                                         PO BOX 2383                                                                                    INDIAN TRAIL      NC    28079‐2383
LORA D DYKE                                         2815 E VERMONT STREET                                                                          INDIANAPOLIS      IN    46201‐3339
LORA E SEXTON                                       13512 W LITTLE CREEK DR                                                                        HOMER GLEN        IL    60491‐8684
LORA E WOLKE CUST PHILLIP M WOLKE UTMA OH           11281 HANOVER RD                                                                               CINCINNATI        OH    45240
LORA E WOLKE GDN ABRAHAM WOLKE                      11281 HANOVER RD                                                                               CINCINNATI        OH    45240‐3028
LORA ELIZABETH JORDAN                               C/O LORA JORDAN GRAF                  2300 BANSTEAD RD                                         MIDLOTHIAN        VA    23113‐4103
LORA H FOSTER & JEANNE FOSTER TEN COM               3316 ARDIS TAYLOR                                                                              SHREVEPORT        LA    71118‐4306
LORA HARRIS                                         12880 BARRY LN                                                                                 WAYLAND           MI    49348‐9384
LORA I HALFHILL                                     308 N EAST STREET                                                                              SPENCER           IN    47460‐1408
LORA J MCNEELY & SEAN ANTHONY MCNEELY & MARC        1001 CANTERBURY                                                                                PITTSBURG         KS    66762‐3547
ANTHONY MCNEELY JT TEN
LORA J PIPPIN TR LORA J PIPPIN REVOCABLE TRUST UA   3932 BUCKINGHAM                                                                                BERKLEY           MI    48072‐1467
11/22/04
LORA J SKLAPSKY                                     2028 BARRITT ST                                                                                LANSING           MI    48912‐3630
LORA J SMITH                                        3484 W 63RD ST                                                                                 LOS ANGELES       CA    90043‐3917
LORA JEAN LOGAN & DANIEL H LOGAN JT TEN             832 THOMAS                                                                                     FOREST PARK       IL    60130‐2008
LORA K WOODS                                        8 COLONY WAY                                                                                   GAS CITY          IN    46933‐1253
LORA KIRBY DAVIS                                    36 AYLESBORO AVE                                                                               YOUNGSTOWN        OH    44512‐4514
LORA L GOINS                                        2002 CHICKWOOD CT                                                                              TAMPA             FL    33618‐1502
LORA L HITTLE TR UA 09/13/91 LORA L HITTLE REV      PO BOX 324                                                                                     GREEN RIVER       WY    82935‐0324
TRUST
LORA L WILSON                                       1000 EAST BEACH BLVD                                                                           LONG BEACH        MS    39560‐6312
LORA LEE CARTER                                     4625 KIVA DRIVE                                                                                LA PORTE          CO    80535‐9535
LORA LEE DOREMUS                                    15315 ST CLOUD                                                                                 HOUSTON           TX    77062‐3518
LORA LEE GINSBERG                                   847 N HUMBOLDT ST 314                                                                          SAN MATEO         CA    94401‐1451
LORA LEE MCNEIL                                     PO BOX 541                                                                                     SAFETY HARBOR     FL    34695‐0541
LORA LYNN SNOW                                      535 HERMAN RD                                                                                  GALLIPOLIS        OH    45631‐9003
LORA N HAUS                                         318 DICKINSON ST                                                                               PHILADELPHIA      PA    19147‐6515
LORA S TAYLOR                                       4628 PENNSYLVANIA AVE                                                                          CHARLESTON        WV    25302‐4833
LORA TUESDAY HEATHFIELD                             526 12TH AVE                                                                                   SALT LAKE CITY    UT    84103‐3209
LORA WALKER BERGER                                  221 BRIDLE PATH CT                                                                             FOX RIVER GROVE   IL    60021‐1251
LORA WILLIAMS                                       6806 S EVANS AVE                                                                               CHICAGO           IL    60637‐4119
LORA WOLKE CUST FRANCIS WOLKE UTMA OH               11281 HANOVER RD                                                                               CINCINNATI        OH    45240‐3028
LORAH E CLARK                                       1105 MILAM CLARK RD                                                                            SUMMER SHADE      KY    42166‐8444
LORAIN C MILES                                      826 EDGEHILL LN                                                                                ANDERSON          IN    46012‐9709
LORAINE A SCHOENI                                   4253 FOND DU LAC DR                                                                            SLINGER           WI    53086‐9762
                                             09-50026-mg              Doc 7123-47   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                           Address2             Address3          Address4               City             State Zip

LORAINE ANN LAPIDUS                              14 WISINA CT                                                                                     MEDFORD          NJ    08055‐9369
LORAINE BORST                                    890 ARTHUR ST                                                                                    PLYMOUTH         MI    48170‐1127
LORAINE D WALTZ                                  3600 FLORETTA                                                                                    CLARKSTON        MI    48346‐4018
LORAINE E MILLER                                 704 WILD WALNUT LANE                                                                             MANCHESTER       MO    63021‐6626
LORAINE F MITCHELL                               2144 MCQUILLAN COURT SE                                                                          ROCHESTOR        MN    55904
LORAINE H LIVESEY TR UW EVERETT J LIVESEY        130 MARSH'S EDGE LN                                                                              ST SIMONS IS     GA    31522‐5202
LORAINE KAY MONAHAN                              PO BOX 313                                                                                       MAXWELL          TX    78656
LORAINE L SHOEMAKER                              1817 CHAPEL RD                                                                                   SCOTCH PLAINS    NJ    07076‐2902
LORAINE LEAH MILLER                              15423 SUSANNA CIRCLE                                                                             LIVONIA          MI    48154‐1537
LORAINE M GREER                                  9601 W JACKSON ST                                                                                MUNCIE           IN    47304‐9654
LORAINE M SICKS TOD NANCY SICKS SUBJECT TO STA   33058 CHIEF LN                                                                                   WESTLAND         MI    48185
TOD RULES
LORAINE OTTO                                     E3566 STATE HIGHWAY 29                                                                           KEWAUNEE         WI    54216‐9667
LORAINE P NELSON TR ROY W NELSON & LORAINE P     C/O JOAN KUEHN                     6509 AUBURN AVE                                               BRADENTON        FL    34207‐5505
NELSON TRUST UA 10/04/84
LORAINE R SCHULZ                                 730 NEWBERRY AVE                                                                                 LA GRANGE PARK   IL    60526‐1654
LORAINE S CROOKE                                 311 W DAVENPORT ST                                                                               ELDRIDGE         IA    52748‐1214
LORAINE SUSKIND                                  PO BOX 10307                                                                                     GAITHERSBURG     MD    20898‐0307
LORAINE TURNER                                   PO BOX 99B                                                                                       REPUBLIC         MI    49879‐0099
LORAJO A ANTHONY                                 801 NORTHBROOK STREET                                                                            MASON            MI    48854‐2008
LORALEE A CASH & JOSEPH A FAUSTINO JT TEN        16375 BRADNER RD                                                                                 NORTHVILLE       MI    48168‐2006
LORALEE B SPRUNGER                               133 CREEK SPGS                                                                                   BOERNE           TX    78006‐9270
LORALEI F FRERICHS                               4306 REYNOLDS CREEK AVE                                                                          PLANT CITY       FL    33563
LORALYN K CROZIER                                66 OVERBROOK ROAD                                                                                ROCHESTER        NY    14618‐3624
LORAN C ROSE                                     11817 EASLEY DRIVE                                                                               LEES SUMMIT      MO    64086‐9449
LORAN D BOE                                      588 DARA JAMES RD                                                                                DES PLAINES      IL    60016‐2711
LORAN E CROSBY                                   1902 ROCKCREEK LN                                                                                FLINT            MI    48507‐2275
LORAN J LANE                                     11580 GOODALL                                                                                    DURAND           MI    48429‐9799
LORAN J WINTERS                                  3347 HIDDEN RD                                                                                   BAY CITY         MI    48706‐1263
LORAN MARTIN                                     779 FOREST RIDGE                                                                                 YOUNGSTOWN       OH    44512‐3517
LORAN W HARDING                                  3411 W BROWNING AVE                                                                              FRESNO           CA    93711‐1502
LORAYNE G KORAN                                  940 SPRUCE DRIVE                                                                                 BELLEAIR BEACH   FL    33786‐3345
LORCE W BLAKE                                    3736 EVERGREEN PARKWAY                                                                           FLINT            MI    48503‐4566
LORE K WEBER                                     3007 CURRAN RD                                                                                   LOUISVILLE       KY    40205‐3149
LORE LEVENSON                                    11 SURREY LN                                                                                     LIVINGSTON       NJ    07039‐1926
LORECE T BROWN                                   3200 STONE RD SW                   APT Q14                                                       ATLANTA          GA    30331‐2916
LOREDANA G PRYSIAZNIUK                           4949 STANLEY                                                                                     WARREN           MI    48092‐4133
LOREE BUCHANAN                                   38651 CHRISHOLM PLACE                                                                            FREMONT          CA    94536‐1801
LOREE D LAWSON & EDWIN B LAWSON JT TEN           BOX 70                                                                                           GENOA            NE    68640‐0070
LOREE FANT                                       4903 THORNLEIGH                                                                                  INDIANAPOLIS     IN    46226‐3172
LOREE H MC GUANE                                 206 WILTSHIRE DR                                                                                 CHALFONT         PA    18914‐2328
LORELEI A CROMER                                 2620 ST CATHERINE                                                                                FLORISSANT       MO    63033‐3625
LORELEI A MAH                                    1222 1/2 COOKSIE ST                                                                              BALTIMORE        MD    21230‐5231
LORELEI A MAH & SAMMY T MAH JT TEN               1222 1/2 COOKSIE ST                                                                              BALTIMORE        MD    21230‐5231
LORELEI A MEUSLING & SAMMY T MAH JT TEN          1207 S EAST AVE                                                                                  BALTIMORE        MD    21224‐5013
LORELEI J DEMELIS                                1901 BATES PLACE                                                                                 DOWNERS GROVE    IL    60516
LORELEI LUTHER                                   455 GUARD STREET                                                                                 LEWISTON         NY    14092
LORELEI LUTHER TR GERTRUDE E LUTHER TRUST UA     455 GUARD ST                                                                                     LEWISTON         NY    14092‐1539
12/18/96
LORELLE H JONES                                  5936 SPRING GLEN                                                                                 DALLAS           TX    75232‐2860
LORELLE H JONES & RASTINE JONES JR JT TEN        5936 SPRING GLEN                                                                                 DALLAS           TX    75232‐2860
LOREN A DODGE JR                                 PO BOX 4                                                                                         BEAVERTON        MI    48612‐0004
LOREN A JAGGER                                   5420 RIVER RIDGE                                                                                 FLUSHING         MI    48433‐1062
LOREN A JOHNS                                    805 RIVERSIDE DR                                                                                 ORANGE           CT    06477‐1727
LOREN A MCLACHLAN                                1190 VANVLEET RD                                                                                 SWARTZ CREEK     MI    48473‐9751
LOREN A MILLER                                   52 ELMWOOD RD                      CHISWICK LONDON                        W4 3DZ GREAT BRITAIN
LOREN A READ & HELEN R READ TR LOREN A READ      934 CUMBERLAND CIR                                                                               CLERMONT         FL    34711‐6502
LIVING TRUST UA 12/08/94
LOREN B CHRISTENFELD                             1811 W LUCERO RD                                                                                 TUCSON           AZ    85737‐9551
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Name                                            Address1                            Address2             Address3          Address4          City              State Zip

LOREN BELLOCCHIO                                3520 MAPLE AVE                                                                               MANHATTAN         CA    90266‐3510
                                                                                                                                             BEACH
LOREN C GAMEL                                   3030 AVALON ST                                                                               ROCHESTER HILLS   MI    48309‐3953
LOREN D ALBERTI                                 390 OSBORN ROAD                                                                              PORT ANGELES      WA    98362‐9552
LOREN D ALVES                                   2 GREENS SHADOW                                                                              SAN ANTONIO       TX    78216‐7830
LOREN D ANDERSON & CAROLYN B ANDERSON JT TEN    172 NEW WICKHAM DR                                                                           PENFIELD          NY    14526‐2738

LOREN D ANDREWS                                 2020 AVE G                                                                                   FT MADISON      IA      52627‐4138
LOREN D BECK                                    5857 S STATE RD                                                                              ITHACA          MI      48847‐9636
LOREN D HOWARD                                  2607 PINEGROVE                                                                               WEST CARROLLTON OH      45449‐3346

LOREN D LUTHY                                   3047 ST RT 131                                                                               BATAVIA           OH    45103‐9685
LOREN D MARLOW                                  705 W BROADWAY ST                                                                            SPARTA            IL    62286‐1660
LOREN D WALDEN                                  PO BOX 553                                                                                   FORT MC COY       FL    32134
LOREN DEAN HILLHOUSE & VERA JUNE HILLHOUSE JT   PO BOX 58                                                                                    GAINESVILLE       MO    65655
TEN
LOREN E BLAISDELL                               35 CANYON DR                                                                                 MILLINOCKET       ME    04462‐2305
LOREN E FITZSIMONS                              355 OLD SHIPYARD LN                                                                          SOUTHOLD          NY    11971‐1537
LOREN E HALL                                    PO BOX 22                                                                                    GASPORT           NY    14067‐0022
LOREN E HANNUM                                  7066 EAST STATE ROAD #252                                                                    MORGANTOWN        IN    46160‐9527
LOREN E KNAB                                    7598 FOURTH SECTION RD                                                                       BROCKPORT         NY    14420‐9606
LOREN E RHODES                                  PO BOX 2935                                                                                  ALLIANCE          OH    44601‐0935
LOREN E RODY                                    6920 U S 136 E                                                                               BROWNSBURG        IN    46112‐8711
LOREN E STEPHENSON                              977 PONCAN DR                                                                                ORANGE CITY       FL    32763‐8929
LOREN E WOLFGANG                                8034 W 1050 SOUTH                                                                            FORTVILLE         IN    46040‐9264
LOREN E WORCESTER                               331 NORTH MAIN ST                                                                            SPENCER           OH    44275‐9760
LOREN F ALEXANDER                               PO BOX 394                                                                                   BRUNSWICK         GA    31521‐0394
LOREN F BONVILLE                                6817 ERICA LN                                                                                LOCKPORT          NY    14094‐7993
LOREN F RUSK & NATALIE RUSK JT TEN              35580 SOUTH HAMPTON                 LAVONIA                                                  LIVONIA           MI    48154
LOREN F SIEGRIST                                1703 E 19TH TERRACE NO              RR 1 BOX 798C                                            INDEPENDENCE      MO    64058
LOREN FRIED REULER CUST LAURA BERNADETTE REULER 5 SIESTA CIR                                                                                 ROCKWALL          TX    75032‐5965
UTMA CO
LOREN FRIED REULER CUST MICHAEL SCOTT REULER    5 SIESTA CIR                                                                                 ROCKWALL          TX    75032‐5965
UTMA CO
LOREN G HELMREICH                               605 LONGWOODS LANE                                                                           HOUSTON           TX    77024‐5619
LOREN G PLESS & JEAN M PLESS JT TEN             349 C LEXINGTON CT                                                                           PEWAUKEE          WI    53072‐3993
LOREN G STRAIT                                  2691 E CENTER ST                                                                             INVERNESS         FL    34453‐0555
LOREN GOOTAR & GAIL GOOTAR JT TEN               5789 NW 48TH DR                                                                              CORAL SPRINGS     FL    33067‐4001
LOREN GREENE                                    1025 S JACKSON ST                                                                            JACKSON           MI    49203‐3105
LOREN H BURNS & VIRGINIA M BURNS JT TEN         1491 U S 23                                                                                  HOWELL            MI    48843
LOREN H CLAUS                                   662 N HORNING RD                                                                             CRESTLINE         OH    44827‐9625
LOREN H GARRETT & JUDITH M GARRETT JT TEN       BOX 333                                                                                      OKAHUMPKA         FL    34762‐0333
LOREN H HAMSTRA                                 2121 RAYBROOK ST SE                                                                          GRAND RAPIDS      MI    49546‐5795
LOREN H JONAS                                   3274 W 900 N                                                                                 FOUNTAINTOWN      IN    46130‐9764
LOREN H KELLISON                                HC 61 BOX 154                                                                                MASSENA           NY    13662‐9413
LOREN H RASMUSSEN                               6528 W 90 S                                                                                  KOKOMO            IN    46901‐9531
LOREN HAROLD CRYDERMAN                          PO BOX 303                                                                                   WAVERLY           NY    14892‐0303
LOREN HOPKINS                                   PO BOX 364                                                                                   CLAYTON           WA    99110‐0364
LOREN J DUPRA                                   26 BURNS‐HOLDEN RD                                                                           FT COVINGTON      NY    12937‐1903
LOREN J HUFF                                    PO BOX 32529                                                                                 DETROIT           MI    48232‐0529
LOREN J RANEY                                   4840 S 400 E                                                                                 CUTLER            IN    46920‐9415
LOREN J RANEY & CAROL S RANEY JT TEN            4840 S 400 E                                                                                 CUTLER            IN    46920‐9415
LOREN J ROMAGNOLA CUST ADAM J ROMAGNOLA         11 BLUE SPRUCE LN                                                                            FAIRPORT          NY    14450‐2601
UGMA NY
LOREN J ROMAGNOLA CUST JUSTIN T ROMAGNOLA       11 BLUE SPRUCE LN                                                                            FAIRPORT          NY    14450‐2601
UGMA NY
LOREN J SCHNEIDER                               PO BOX 211                                                                                   AVOCA             MI    48006
LOREN J THOMAS                                  201 KLINGER RD                                                                               PAULDING          OH    45879‐1407
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Name                                            Address1                            Address2             Address3          Address4          City            State Zip

LOREN JAYNE MONEZ CUST AVERY RODNEY ADAMS        6 STOREY AVE                                                                                CENTRAL ISLIP   NY    11722‐2313
UGMA NY
LOREN K MAURINA                                  2181 FERNDALE                                                                               SYLVAN LAKE     MI    48320‐1725
LOREN K STYBA                                    3368 W SOUTHWOOD DR                                                                         FRANKLIN        WI    53132‐9142
LOREN K STYBA & MARY E STYBA JT TEN              3368 W SOUTHWOOD DR                                                                         FRANKLIN        WI    53132‐9142
LOREN KEITH R JONES                              PROSPECT TOWERS                    801 CHESTNUT ST      APT 1712                            CLEARWATER      FL    33756‐5612
LOREN L KELLEY JR                                921 NORTHFIELD                                                                              PONTIAC         MI    48340‐1458
LOREN L LISS                                     21 BREWSTER ST                     APT 320                                                  GLEN COVE       NY    11542‐2507
LOREN L SMITH                                    8470 FRANCINE                                                                               WARREN          MI    48093‐4955
LOREN MILLER                                     3421 SO FLORENCE                                                                            TULSA           OK    74105
LOREN O NIEMAN                                   6366 WHITEFORD CTR RD                                                                       LAMBERTVILLE    MI    48144‐9464
LOREN P FRONK                                    10311 PARKLANE CT                                                                           HALES CORNERS   WI    53130‐2248
LOREN P ZIMMERMAN                                15135 GARDEN ST                                                                             LIVONIA         MI    48154‐4013
LOREN PAUL JOHNSON                               509 ROSEWOOD DR                                                                             HARRISBURG      SD    57032‐2088
LOREN PHILIP FLETCHER                            336 SNOWDEN ROAD                                                                            WHITE SALMON    WA    98672‐8423
LOREN R GULLIVER                                 2948 REESE RD                                                                               REESE           MI    48757
LOREN R GUTE                                     10009 MALLET DR                                                                             DAYTON          OH    45458‐9648
LOREN R HOLBROOK                                 1709 W CR 600 S                                                                             MUNCIE          IN    47302‐9144
LOREN R SHERMAN                                  8019 TORREY RD                                                                              GRAND BLANC     MI    48439‐9313
LOREN R SORENSEN                                 374 KINGSLEY AVE                                                                            PALO ALTO       CA    94301‐2728
LOREN S DRAGON                                   50 BIRD RD                                                                                  BRISTOL         CT    06010
LOREN SMITH                                      1438 NEWMAN RD                                                                              PENNSBURG       PA    18073‐1977
LOREN T CRAIG                                    R ROUTE 1                          BOX 34‐A                                                 CUTLER          IL    62238‐9708
LOREN T MCCOY                                    2004 BATAVIA AVE                                                                            MUNCIE          IN    47302‐2045
LOREN VANVLACK                                   RR 2 BOX 3                                                                                  LA CYGNE        KS    66040‐9655
LOREN W BURT                                     6328 N VASSAR RD                                                                            FLINT           MI    48506‐1242
LOREN W BURT & MRS ELEANOR J BURT JT TEN         6328 N VASSAR ROAD                                                                          FLINT           MI    48506‐1242
LOREN W SAMSEL & BARBARA A SAMSEL TR SAMSEL      7153 SW 113TH LOOP                                                                          OCALA           FL    34476‐3922
FAM TRUST UA 09/23/99
LOREN YEAGER & MRS ADA L YEAGER JT TEN           PO BOX 275                                                                                  MOUNTAIN TOP    PA    18707‐0275
LORENA C GARDNER                                 105 MORNINGLAKE DR                                                                          MOORE           SC    29369
LORENA C MOATS                                   HC 61 BOX 31A                                                                               SUGAR HOUE      WV    26815‐9403
LORENA E DITTRICK                                318 FR 345 RR#1 C P 512            KINMOUNT ON                            K0M 2A0 CANADA
LORENA F HENDRICKS                               130 HOLIDAY DR                                                                              GREENTOWN       IN    46936‐1628
LORENA J CLARK                                   3117 DELANEY STREET                                                                         KETTERING       OH    45420‐1105
LORENA J WALKER                                  6503 CAMARILLO CT                                                                           INDIANAPOLIS    IN    46278‐2939
LORENA M BEVEL & ROGER C BEVEL JT TEN            818 MAPLE SPRINGS LANE                                                                      JACKSONVILLE    FL    32221‐1173
LORENA M MURRAY                                  1916 STAYMAN DR                                                                             DAYTON          OH    45440‐1631
LORENA MAE STACEY                                104 2ND AVE                                                                                 CHARLESTON      WV    25303
LORENA O JODICE                                  515 GREAT OAKS CIRCLE SW                                                                    SUNSET BEACH    NC    28468‐4217
LORENA S TORTORELLA                              112 VINES DR                                                                                JONESBOROUGH    TN    37659‐5639
LORENDA J HILL                                   17221 NEW YORK ST                                                                           DETROIT         MI    48224‐2212
LORENE A FLORA                                   33 BAKER ST                                                                                 WEBSTER         NY    14580‐3201
LORENE A SHOLL                                   81 BEEKMAN PLACE                                                                            MADISON         CT    06443‐2400
LORENE ALLRED                                    PO BOX 100                                                                                  FRANKLIN        OH    45005‐0100
LORENE B AULTMAN                                 56 VICTORY RD                                                                               HATTIESBURG     MS    39402‐9710
LORENE B HANSON                                  1610 PROGRESS AVE                                                                           LINCOLN PARK    MI    48146‐3260
LORENE BROCK                                     5344 CHINQUAPIN HILL RD                                                                     PETERSBURG      KY    41080‐8716
LORENE C RHODES TR UA 08/01/1994 LORENE C RHODES 170 S TOUSSAINT PORTAGE RD                                                                  OAK HARBOR      OH    43449
TRUST
LORENE COCHRAN                                   913 SYCAMORE ST                                                                             MUSCATINE       IA    52761‐3950
LORENE E TIPTON TOD ANNA JO GREISHOP SUBJECT TO 3314 ELLEMAN RD                                                                              LUDLOW FALLS    OH    45339‐9708
STA TOD RULES
LORENE G TOON TR THE LORENE G TOON PRIMARY       257 EAST JINGLE BELL LN                                                                     SANTA CLAUS     IN    47579‐6084
TRUST UA 04/02/98
LORENE GARLAND                                   10918 LIBERTY RD                                                                            RANDALLSTOWN     MD   21133‐1011
LORENE H BERRY & ROBIN R ELLSWORTH JT TEN        56447 11 MILE RD                                                                            NEW HUDSON       MI   48165‐9546
LORENE H BERRY & TAMMY D BERRY JT TEN            4802 HAZEL                                                                                  DEARBORN HEIGHTS MI   48125‐1220
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Name                                               Address1                              Address2             Address3          Address4          City               State Zip

LORENE HARRIS                                      550 HARRIET                                                                                    FLINT              MI    48505‐4753
LORENE HAYES                                       2114 SOUTH 13TH AVENUE                                                                         BROADVIEW          IL    60155
LORENE J HARGIS                                    1218 W FAIRFAX DR                                                                              CHATTANOOGA        TN    37415‐3612
LORENE KELLY                                       8887 S LEWIS AVE                      APT 807                                                  TULSA              OK    74137‐3224
LORENE M BIBERDORF CUST JEFFREY SCOTT BIBERDORF    365 W ASH ST                                                                                   ZIONSVILLE         IN    46077‐1411
UTMA IN
LORENE M NEWOOD                                    20439 DUBOIS                                                                                   CLINTON TWP        MI    48035‐4417
LORENE M ROWE                                      6246 DAVON CT                                                                                  LOVELAND           OH    45140‐6927
LORENE MYLES EX EST THELMA MYLES                   4575 CADET AVE                        APT 124                                                  SAINT LOUIS        MO    63110‐1507
LORENE PARKER                                      233 MAEDER AVE                                                                                 DAYTON             OH    45427‐1936
LORENE R ARNTZ                                     1263 S STEWART RD                                                                              CHARLOTTE          MI    48813‐8347
LORENE R BENZEL                                    323 E HARRISON ST APT 8                                                                        BELVIDERE          IL    61008‐2127
LORENE R BROWN                                     2512 SPRUCE ST                                                                                 BAKERSFIELD        CA    93301
LORENE R BROWN CUST SETH J BROWN UTMA CA           2512 SPRUCE ST                                                                                 BAKERSFIELD        CA    93301
LORENE R JOST                                      727 S LACLEDE STATION RD S                                                                     SAINT LOUIS        MO    63119‐4911
LORENE R ROBERTS                                   10155 GOLAY AVE                                                                                CINCINNATI         OH    45241‐1017
LORENE S ALLEN                                     1022 MARSHFIELD ST                                                                             FERNDALE           MI    48220‐2346
LORENE SIMMS                                       743 SOUTH ISABELLA ST                                                                          SPRINGFIELD        OH    45506‐1867
LORENE SMITH                                       75 ASHLEY ST                                                                                   DECATUR            AL    35603‐5461
LORENE SURBER                                      105 PINDO PALM E                                                                               LARGO              FL    33770‐7403
LORENTE FAMILY LIMITED PATNERSHIP                  2627 VINING ST                                                                                 MELBOURNE          FL    32904‐7492
LORENTZ E MYSLIWIEC                                4195 WEST 23 ST                                                                                CLEVELAND          OH    44109‐3327
LORENZ H BOCKELMAN JR & JOYCE C BOCKELMAN JT       7023 SHELDON AVE                                                                               YOUNGSTOWN         OH    44512‐4623
TEN
LORENZ L DEGNER                                    14701 PIONEER TRAIL                                                                            EDEN PRAIRIE       MN    55347‐2640
LORENZ M SCHILL                                    6850 S DUCK CREEK RD                                                                           BERLIN CENTER      OH    44401‐9615
LORENZ ROEM JR & MRS VIVIAN E ROEM JT TEN          36 AUBURN ROAD                                                                                 TOMS RIVER         NJ    08757‐6376
LORENZA BEARD                                      609 E NORTH ST                                                                                 KOKOMO             IN    46901‐3054
LORENZA BURKS                                      7011 DOMINICAN DR                                                                              DAYTON             OH    45415‐1204
LORENZA GRIFFIN                                    BOX 134                                                                                        LOUGHMAN           FL    33858‐0134
LORENZA MCCOY                                      PO BOX 395                                                                                     CAMDEN             AR    71711‐0395
LORENZA SWANSON                                    440 LINDENWOOD RD                                                                              DAYTON             OH    45417‐1306
LORENZIA B WOODS                                   5402 GRAND AVE                                                                                 OMAHA              NE    68104‐2248
LORENZO B BARKSDALE II                             14315 ARCHDALE                                                                                 DETROIT            MI    48227‐1352
LORENZO B BOWERSOX                                 2344 CALVIN CIR                                                                                ELLICOTT CITY      MD    21042‐1802
LORENZO B PERKINS                                  8375 REESE RD                                                                                  CLARKSTON          MI    48348‐2744
LORENZO BOVO                                       52 CAPTAIN DR                                                                                  ALAMEDA            CA    94502‐6416
LORENZO BRANCA & LUCIA INFANTE JT TEN              1809 BEECH ST                                                                                  WILMINGTON         DE    19805‐3838
LORENZO BUSCO                                      328 GLENDALE AVE                                                                               LIVERPOOL          NY    13088‐6425
LORENZO C HATTER                                   PO BOX 619                                                                                     FLINT              MI    48501‐0619
LORENZO CINQUE & EVA MARIE CINQUE JT TEN           98 OLD BROOK RD                                                                                DIX HILLS          NY    11746‐6461
LORENZO CION                                       8372 NW 47TH ST                                                                                CORAL SPRINGS      FL    33067‐3409
LORENZO CURIEL                                     10544 WINNEBAGO AVE                                                                            MISSION HILLS      CA    91345‐2242
LORENZO D BERRY                                    13455 SW 58TH CT                                                                               MIAMI              FL    33156‐7249
LORENZO D OVERTON                                  6933 HIGHWAY 22                                                                                SPRUCE PINE        AL    35585‐4211
LORENZO DI CASAGRANDE CUST MARK WILLIAM DI         3007 WHITEFIELD ROAD                                                                           CHURCHVILLE        MD    21028‐1333
CASAGRANDE UGMA NJ
LORENZO E FOY                                      3429 LYNN HAVEN DRIVE                                                                          BALTIMORE          MD    21244‐3658
LORENZO E GIANNETTI                                2349 HIDDEN TRAIL DR                                                                           STERLING HEIGHTS   MI    48314‐3741

LORENZO EDWARD ROBERTS                             7625 BELLAIRE AVE                                                                              NORTH              CA    91605‐2112
                                                                                                                                                  HOLLYWOOD
LORENZO FAZIO                                      47 THORNILEY ST                                                                                NEW BRITAIN        CT    06051‐1636
LORENZO FINATERI SR & SANDRA E FINATERI JT TEN     52 WALNUTWOOD DR                                                                               DAVISON            MI    48423‐8137

LORENZO FURCRON                                    849 PAXTON RD                                                                                  CLEVELAND          OH    44108‐2462
LORENZO G MILLS                                    16528 STRATHMOOR                                                                               DETROIT            MI    48235‐4069
LORENZO G PEREZ                                    227 W KENNETT                                                                                  PONTIAC            MI    48340‐2653
LORENZO G URIBE                                    10005 WILEY BURKE AVE                                                                          DOWNEY             CA    90240‐3750
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LORENZO GAZTANAGA & SUSAN J GAZTANAGA JT TEN      4806 HAMILTON AVE APT 2‐D                                                                      BALTIMORE        MD    21206‐3846

LORENZO GRAHAM                                    85 ELLINGTON ST APT 1                                                                          DORCHESTER       MA    02121‐3705
LORENZO HOFLER                                    2334 SUNNY GLENN                                                                               YPSILANTI        MI    48198‐6215
LORENZO JOHNSON                                   10317 YALE AVE                                                                                 CLEVELAND        OH    44108‐2172
LORENZO L HOUSE                                   3930 LILLIBRIDGE                                                                               DETROIT          MI    48214‐4704
LORENZO L JACKSON & BETTYE B JACKSON JT TEN       410 13TH AVE NW                                                                                DECATUR          AL    35601‐1506
LORENZO L MENA SR                                 125 OKEMOS STREET                                                                              MASON            MI    48854‐1264
LORENZO L MOSS II                                 BOX 826                                                                                        ATHENS           GA    30603‐0826
LORENZO L PERFETTO & JUDY E PERFETTO JT TEN       29306 BONNIE DR                                                                                WARREN           MI    48093‐3576
LORENZO L PIERCE                                  372 MAGNOLIA ST                                                                                SALEM            NJ    08079‐1735
LORENZO L SHORT                                   408 N SUPERIOR                                                                                 ALBION           MI    49224‐1725
LORENZO LEWIS                                     3927 CORNELIUS AVE                                                                             INDIANAPOLIS     IN    46208‐3946
LORENZO LOPEZ                                     809 W 89TH TER                                                                                 KANSAS CITY      MO    64114‐3516
LORENZO M MONTOYA                                 7540 LINDSEY AVE                                                                               PICO RIVERA      CA    90660‐4132
LORENZO MORELLI                                   3521 LATTA ROAD                                                                                ROCHESTER        NY    14612‐2811
LORENZO MURILLO                                   615 LINDEN AVE                                                                                 CARPINTERIA      CA    93013‐2039
LORENZO PEREZ JR                                  18654‐1 BANDERA RD                                                                             HELOTES          TX    78023‐2800
LORENZO PETERSON                                  612 S 24TH ST                                                                                  SAGINAW          MI    48601‐6508
LORENZO R ALOOT                                   PO BOX 51                                                                                      DEXTER           MI    48130‐0051
LORENZO R HUMPHREY                                3505 N OXFORD AVE                                                                              INDIANAPOLIS     IN    46218‐1247
LORENZO RILEY                                     4134 FULTON ST                                                                                 SAGINAW          MI    48601
LORENZO V JONES                                   48885 TREMONT DR                                                                               MACOMB           MI    48044‐2116
LORENZO V LLORAY                                  884 N BEL AIR DR                                                                               FT LAUDERDALE    FL    33317
LORENZO WASHINGTON JR                             927 BLAYDEN DR                                                                                 JANESVILLE       WI    53546‐1727
LORENZO WOODS                                     4666 OLIVE ROAD                                                                                DAYTON           OH    45426‐2204
LORENZO WOOTEN                                    3024 CHATEAU VALLEY DR                                                                         NASHVILLE        TN    37207
LORETA M SMITH & MAXINE J COOKE JT TEN            1171 NORMANDY TERRACE DR                                                                       FLINT            MI    48532‐3550
LORETHA A GREEN                                   729 SW 153RD ST                                                                                OKLAHOMA CITY    OK    73170‐7537
LORETHA C COLYER EX UW NOBLE H COLYER             2860 HWY 1643                                                                                  SOMERSET         KY    42501‐5743
LORETHA WELLS                                     18490 SORENTO                                                                                  DETROIT          MI    48235‐1319
LORETHA WILLIAMS                                  213A WARBURTON AVE APT C2                                                                      YONKERS          NY    10701‐2508
LORETO CANALES JR                                 1959 BUCKINGHAM DR                                                                             FAIRFIELD        CA    94533
LORETO SARANDREA CUST LUCA SARANDREA UTMA FL      816 WATERLOO RD                                                                                WESTPOINT        TN    38486‐5031

LORETTA A CAVERLY TR THOMAS H COLLIER REV TRUST   8435 MALLARD CROSSING                                                                          BRIGHTON         MI    48116
UA 10/14/97
LORETTA A COHOON & ALBERT D COHOON JT TEN         283 SW JUNE GLN                                                                                LAKE CITY        FL    32024‐4869
LORETTA A COLEMAN                                 2541 W 112TH ST                                                                                INGLEWOOD        CA    90303‐2412
LORETTA A FUST & LAURA M FUST JT TEN              925 LINCOLN                                                                                    WYANDOTTE        MI    48192‐2973
LORETTA A HANNAH                                  1953 BURNING BUSH CT                                                                           ADRIAN           MI    49221‐1267
LORETTA A LYONS                                   148‐08 NEWPORT AVE                                                                             NEPONSIT         NY    11694
LORETTA A MARKOSKI                                60 WALTER AVE                                                                                  HANOVER          NJ    07936‐1430
LORETTA A MULLALLY & THOMAS S MULLALLY JT TEN     6401 BURTCH RD                                                                                 JEDDO            MI    48032‐2720

LORETTA A MURPHY                                  ATTN LORETTA A SABATINO              19723 GRAIN GROVE COURT                                   LOXAHATCHEE      FL    33470
LORETTA A SMITH                                   4777 BIGFORD RD                                                                                MEDINA           NY    14103‐9747
LORETTA A THARP                                   21312 BERKSHIRE AV                                                                             PORT CHARLOTTE   FL    33954‐3164
LORETTA A VALENTINE                               G‐7200 BEECHER RD                                                                              FLINT            MI    48504
LORETTA A VALENTINE & CHARLES VALENTINE JR JT TEN 7200 BEECHER RD                                                                                FLINT            MI    48532‐2012

LORETTA A VIZEN & FRANK J VIZEN JT TEN            6010 S MONITOR                                                                                 CHICAGO          IL    60638‐4422
LORETTA A WAGNER                                  30665 ROAN                                                                                     WARREN           MI    48093‐3017
LORETTA A WARD CUST JARED ALAN WARD UTMA IL       3192 HOFFMAN CT                                                                                CHERRY VALLEY    IL    61016‐9218

LORETTA A WARD CUST JASON R WARD UTMA IL          3192 HOFFMAN CT                                                                                CHERRY VALLEY    IL    61016‐9218
LORETTA A WARD CUST TERESA R WARD UTMA IL         3192 HOFFMAN CT                                                                                CHERRY VALLEY    IL    61016‐9218
LORETTA A WEBER                                   14204 MCKINLEY RD                                                                              MONTROSE         MI    48457
LORETTA ABBOTT                                    33 MT MORRIS PARK W                                                                            NEW YORK         NY    10027‐5636
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LORETTA ANDERSON                                  3944 ASHLAND                                                                                    ST LOUIS           MO    63107‐2008
LORETTA ANN CLINTON & JAMES H CLINTON JT TEN      37 CLIFF RD W                                                                                   WADING RIVER       NY    11792‐1237

LORETTA ANN GRIMES                                1101 RAVENWOOD AVE                                                                              ANN ARBOR          MI    48103‐2650
LORETTA ANN HILL & DENNIS HILL JT TEN             2673 LOCKSLEY CT                                                                                TROY               MI    48083‐5713
LORETTA ANN HOGAN                                 2196 16TH AVE                                                                                   SAN FRANCISCO      CA    94116
LORETTA ANN TRESE MALEY                           15 CORNELL RD                                                                                   BALA CYNWYD        PA    19004‐2104
LORETTA ANN WIETECHA TOD DAWN L WIETECHA          14547 EMERSON DR                                                                                STERLING HEIGHTS   MI    48312

LORETTA B KEEGAN                                  C/O L B TEA                           3229 E MALAPAI                                            PHOENIX            AZ    85028‐4954
LORETTA B MC DONALD                               8117 W MANCHESTER AVE 245                                                                       PLAYA DEL REY      CA    90293
LORETTA B TEA                                     3229 EAST MALAPAI                                                                               PHOENIX            AZ    85028‐4954
LORETTA BAILEY                                    409 WEST ADAMS STREET                                                                           WOODBURY           TN    37190‐1527
LORETTA BAIRD & CARNELL BAIRD JT TEN              525 55TH AVE NE                                                                                 ST PETERSBURG      FL    33703‐2501
LORETTA BARCHERS                                  17916 SE 107TH CT                                                                               SUMMERFIELD        FL    34491‐7491
LORETTA BARTASAVICH                               213 W SHERMAN AVE                                                                               DU BOIS            PA    15801‐2746
LORETTA BEALS                                     4206 MCDANIEL DR                                                                                JACKSONVILLE       FL    32209‐1912
LORETTA BLACKWELL                                 6310 TAYLOR RD                                                                                  PINESVILLE         OH    44077‐9160
LORETTA BUTLER                                    4432 W 1400 N                                                                                   ELWOOD             IN    46036‐9229
LORETTA BUTLER                                    444 ROSEWAE AVENUE                                                                              CORTLAND           OH    44410‐1308
LORETTA C AQUILINA & KATHLEEN M AQUILINA JT TEN   215 MAPLE RD                                                                                    WILLIAMSVILLE      NY    14221‐3163

LORETTA C AUSBERBER TR LORETTA C AUSBERGER        4333 HARMONY DR                                                                                 SHELBYVILLE        MI    49344‐9605
TRUST UA 08/05/99
LORETTA C COX                                     2297 CROSS TEE CT                                                                               BROOKSVILLE        FL    34604‐9253
LORETTA C JOHNSON TR JOHNSON FAMILY TRUST UA      1080 PHILLIPS RD                                                                                SMITHS GROVE       KY    42171‐9337
08/05/04
LORETTA C MACH                                    8106 ACKLEY RD                                                                                  PARMA              OH    44129‐4916
LORETTA C TIMCHAK                                 8580 TANGLEWOOD TRL                                                                             CHAGRIN FALLS      OH    44023‐5632
LORETTA C WELCH                                   50 CHESTERTON RD                                                                                ROCHESTER          NY    14626‐2104
LORETTA C WILT                                    2986 COUNTRY CLUB LANE                                                                          TWINSBURG          OH    44087‐2975
LORETTA CASEY & MICHELLE LEWIS JT TEN             1617 CARVER                                                                                     REDONDO BEACH      CA    90278‐2817
LORETTA CICHON                                    11261 BEARD RD                                                                                  NEW SPRINGFIELD    OH    44443‐9794

LORETTA CLARK                                     2108 FRANKLIN DRIVE                                                                             LINDEN             NJ    07036‐1019
LORETTA CONDLEY                                   2157 GRENADIER DR                                                                               SAN PEDRO          CA    90732‐4117
LORETTA CRONIN                                    9975 CONSTITUTION DR                                                                            ORLAND PARK        IL    60462‐4562
LORETTA D OZUNIGA                                 11826 INGA LANE                                                                                 HOUSTON            TX    77064‐1432
LORETTA DANIEL                                    31065 PHEASANT RUN ST                 APT 23                                                    FARMINGTN HLS      MI    48334‐1263
LORETTA E BRONSON TOD MELINDA S BRONSON           PO BOX 1267                                                                                     WARREN             MI    48090‐1267
SUBJECT TO STA TOD RULES
LORETTA E GEERS & JOHN F GEERS JR JT TEN          19395 GLACIER PKWY                                                                              BROOKFIELD         WI    53045
LORETTA E MARKOWICZ                               ATTN LORETTA E VILLENEUVE             44574 CLARE BLVD                                          PLYMOUTH TWP       MI    48170‐3803
LORETTA E MC BANE                                 731 TAYLOR AVE                                                                                  PITTSBURGH         PA    15202‐2615
LORETTA E SCHURE                                  12615 W BAYAUD #37                                                                              LAKEWOOD           CO    80228‐2023
LORETTA E WAGNER & FLORENCE E WAGNER TR UA        6829 KIMMSWICK COURT                                                                            SAINT LOUIS        MO    63129‐3965
01/30/89 LORETTA E WAGNER
LORETTA E WALLACE                                 818 HAMPTON RIDGE DRIVE                                                                         AKRON              OH    44313‐5039
LORETTA E WEBB                                    10409 WHITE CEDAR RD                                                                            FORT WAYNE         IN    46814‐9351
LORETTA EDWARDS                                   6102 STANFORD                                                                                   DETROIT            MI    48210‐1382
LORETTA F ADAMS                                   259 TITUS HILL ROAD                                                                             COLEBROOK          NH    03576‐3617
LORETTA F ARNETT                                  1816 S BELL                                                                                     KOKOMO             IN    46902‐2219
LORETTA F BAZEMORE & HENRY E BAZEMORE JT TEN      1192 RIVER FOREST DR                                                                            FLINT              MI    48532‐2805

LORETTA F BLACKWELL                               6310 TAYLOR RD                                                                                  LEROY              OH    44077‐9160
LORETTA F CAMARATA                                5237 LAKE RD W                        #511                                                      ASHTABULA          OH    44004‐8200
LORETTA F FERRARI & ADELINE M PROVENZO JT TEN     2726 CLEVELAND AVE                                                                              LOWER BURRELL      PA    15068‐3351

LORETTA F GARNEAU                                 1270 PARKWAY                                                                                    WATERFORD          MI    48328‐4350
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LORETTA F TWITTY                                   4140 N WALROND AVE                     APT 7                                                     KANSAS CITY      MO    64117‐1669
LORETTA F VAN HORN                                 62 SNYDERTOWN ROAD                                                                               HOPEWELL         NJ    08525‐2705
LORETTA FAIR & KATHRYN E FAIR JT TEN               15 WINSLOW ST                                                                                    PROVINCETOWN     MA    02657‐1424
LORETTA FAY RICH                                   755 E 16TH ST                          APT 301                                                   HOLLAND          MI    49423
LORETTA FINK                                       5801 87TH AVENUE                                                                                 NEW CARROLLTON   MD    20784‐2809

LORETTA G FARAH                                    25‐05 MORLOT AVE                                                                                 FAIR LAWN        NJ    07410‐3102
LORETTA G GEPHART                                  23 ROBINWOOD CT                                                                                  ENGLEWOOD        OH    45322‐2732
LORETTA G MARCHIONE                                9005 PINE RD                                                                                     PHILADELPHIA     PA    19115‐4410
LORETTA G MARSHALL                                 29331 W CHANTICLEER DR                                                                           SOUTHFIELD       MI    48034‐1484
LORETTA G WRIGHT                                   1147 GAGE RD                                                                                     HOLLY            MI    48442‐8334
LORETTA GARD                                       37268 MT VIEW                                                                                    BURNEY           CA    96013
LORETTA GENE ROCK                                  5603 ROSS COURT SE                                                                               SALEM            OR    97306
LORETTA H MUSGRAVE                                 823 NORTH 161 PLACE #408                                                                         SEATTLE          WA    98133
LORETTA H OBERPRILLER                              4175 LOUIS DRIVE                                                                                 FLINT            MI    48507‐1207
LORETTA HAMLIN CHANDLER EX UW JAMES W HAMLIN       28245 BROAD ST                                                                                   HOLLOW ROCK      TN    38342‐6607
JR
LORETTA HEFKA & BARBARA S HEFKA JT TEN             43052 W KIRKWOOD DR                                                                              CLINTON TWP      MI    48038‐1221
LORETTA HEPNER                                     15400 EIGHTEEN MILE RD                                                                           CLINTON TWNSP    MI    48038‐5828
LORETTA HOLLAND JR                                 17021 RUSTIC ACRES                                                                               LUTHER           OK    73054‐8201
LORETTA I ANDERSON TR LORETTA I ANDERSON LIV       3429 RAYMOND                                                                                     DEARBORN         MI    48124‐4246
TRUST UA 7/18/01
LORETTA J ADAM                                     7718 TAYMOUTH LANE                                                                               CHARLOTTE        NC    28269‐9130
LORETTA J DIMAIO                                   PO BOX 545                                                                                       THOMAS           WV    26292‐0545
LORETTA J GARRISON                                 342 ELM HILL DR                                                                                  DAYTON           OH    45415‐2943
LORETTA J HILBURN                                  P O BOX 308                                                                                      ELMENDORF        TX    78112
LORETTA J PALMERI & NICOLO PALMERI & JAMES N       1450 PRATT DRIVE                                                                                 LAPEER           MI    48446‐2930
PALMERI JT TEN
LORETTA J SKINNER                                  300 LAWNTON AVE                                                                                  WOODBURY         NJ    08096‐5049
LORETTA J VIZAK                                    109 SHERRI ANN LN                                                                                ROCHESTER        NY    14626‐1709
LORETTA J WEBER                                    PO BOX 289                                                                                       LAKE ORION       MI    48361‐0289
LORETTA J YEAGLEY                                  164 HENSON RD                                                                                    RED BLNG SPGS    TN    37150‐6337
LORETTA JEAN DEISS HUCKABONE TR UA 07/31/78        5651 DELCERRO BLVD                                                                               SAN DIEGO        CA    92120‐4511

LORETTA K DAHLKE                                   7490 TAKWOOD DR                                                                                  JENISON          MI    49428
LORETTA K OBRIEN                                   11103 BISMARK HWY                                                                                VERMONTVILLE     MI    49096‐9757
LORETTA K WILEY                                    2422 DISCOVERY PL                                                                                LANGLEY          WA    98260‐8324
LORETTA KEENAN                                     536 N COLUMBUS ST                                                                                GALION           OH    44833‐1806
LORETTA KING                                       5250 S DREXEL AVE                      APT 1W                                                    CHICAGO          IL    60615‐3749
LORETTA KOZIEL TR LORETTA KOZIEL LIVING TRUST UA   8556 W WINONA                                                                                    CHICAGO          IL    60656‐2720
07/27/95
LORETTA L COOK                                     ATTN LORETTA L COOK MC CARTHY          24026 CREEKSIDE                                           FARMINGTON HILLS MI    48336‐2731

LORETTA L FINTON                                   1804 MARYLAND AVE                                                                                FLINT            MI    48506‐4640
LORETTA L KIRKLAND                                 745 19TH ST                                                                                      NEWPORT NEWS     VA    23607‐5226
LORETTA L MC CARTHY & JAMES R MC CARTHY JT TEN     24026 CREEKSIDE                                                                                  FARMINGTON HILLS MI    48336‐2731

LORETTA L PETERSON                                 PO BOX 40462                                                                                     BAY VILLAGE      OH    44140‐0462
LORETTA L POLACEK                                  6817 S IVY ST #307                                                                               ENGLEWOOD        CO    80112‐6226
LORETTA L POPIS & DAVID G POPIS JT TEN             19819 SHORECREST DR                                                                              CLINTON TWP      MI    48038‐5555
LORETTA L THOMAS & WILLIAM THOMAS JT TEN           6727 HURDS CORNER RD                                                                             SILVERWOOD       MI    48760‐9703
LORETTA LAZENBY                                    5200 EASTVIEW                                                                                    CLARKSTON        MI    48346‐4102
LORETTA LEWCZYK                                    727 OHIO STREET                                                                                  N TONAWANDA      NY    14120
LORETTA LOCKE                                      2750 87TH ST                           APT 101                                                   STURTEVANT       WI    53177‐2050
LORETTA LOURICK                                    ALLEN H SURINSKY POA                   225 MERAMEC STE 401                                       CLAYTON          MO    63105‐3511
LORETTA LUTZ                                       577 WARTMAN ST                                                                                   PHILADELPHIA     PA    19128‐3238
LORETTA M ALLEBACH                                 3020 W 84TH PLACE                                                                                LEAWOOD          KS    66206‐1309
LORETTA M BROWN & ROGER H BROWN JT TEN             11751 DITCH ROAD                                                                                 OAKLEY           MI    48649
LORETTA M CARNES                                   5380 TIMBER RIDGE TRAIL                                                                          CLARKSTON        MI    48346‐3859
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LORETTA M COFFEY                                   12525 KNOX                                                                                     OVERLAND PARK    KS    66213‐1832
LORETTA M FINCHER                                  357 LINWOOD AVENUE                                                                             COLUMBUS         OH    43205‐2007
LORETTA M FRY                                      20449 ECORSE RD                                                                                TAYLOR           MI    48180‐1913
LORETTA M HEAD                                     928 PRESCOTT LANE                                                                              FORT MYERS BEACH FL    33931‐2216

LORETTA M HEAD & JOHN F HEAD JT TEN                928 PRESCOTT LANE                                                                              FORT MYERS BEACH FL    33931‐2216

LORETTA M HIXSON                                   ATTN LORETTA M HIXON KOLEK           5360 LOWER MOUNTAIN RD                                    LOCKPORT         NY    14094‐9707
LORETTA M KOSIBA                                   6093 SNOW APPLE DRIVE                                                                          CLARKSTOWN       MI    48346‐2447
LORETTA M LEO                                      ATTN LORETTA LEO GLOSTER             26880 YORK                                                HUNTINGTON       MI    48070‐1317
                                                                                                                                                  WOODS
LORETTA M MESHEW                                   1128 WATERVLIET AVE                                                                            DAYTON           OH    45420‐2720
LORETTA M MULLINS                                  14350 IRISH RD                                                                                 MILLINGTON       MI    48746‐9216
LORETTA M PAUSCH & JACK M PAUSCH JT TEN            9 COUNTRY LIFE                                                                                 DEFIANCE         MO    63341‐1429
LORETTA M RUSIE & LINDA BRENTON JT TEN             4942 EL CAMINO CT                                                                              INDPLS           IN    46221‐3711
LORETTA M SCHWER                                   16211 ROSE WREATH LANE                                                                         FLORISSANT       MO    63034‐3445
LORETTA M STRAUGHTER                               301 CHARLES ST                       APT 12                                                    NEWPORT NEWS     VA    23608‐1009
LORETTA M TAYLOR                                   6710 E 66TH STREET                                                                             KANSAS CITY      MO    64133‐4619
LORETTA M WHEELER                                  4482 S NUGENT VIEW LN                                                                          BALDWIN          MI    49304‐9117
LORETTA M WILSON                                   6553 GULF GATE PL                    APT 144                                                   SARASOTA         FL    34231‐5846
LORETTA M WILSON & HARRY R WILSON JR JT TEN        1292 PINEHURST VIEW DR                                                                         O FALLON         MO    63366‐5956
LORETTA MADIX & BRIAN MADIX & GAIL ALVAREZ JT      C/O MRS LORETTA MADIX                125 SYCAMORE LANE                                         FRANKFORT        IL    60423‐1536
TEN
LORETTA MAE WINISKI                                818 98TH ST                                                                                    MARMET           WV    25315‐1906
LORETTA MC CALL                                    9607 LAUDER                                                                                    DETROIT          MI    48227‐2401
LORETTA MEDLEY                                     195 COCHRANE DRIVE                                                                             ALICEVILLE       AL    35442‐3845
LORETTA MORMAN                                     20790 TURNBERRY BLVD                                                                           NORTHVILLE       MI    48167‐2197
LORETTA N GERMANO                                  1340 MAPLEWOOD N E                                                                             WARREN           OH    44483‐4164
LORETTA N PILZNINSKI                               8639 RIVERDALE                                                                                 DEARBORN         MI    48127‐1515
LORETTA N STONEBRAKER                              ATTN DEANNA CLARKSTON                3234 EAST 300 NORTH LOT 12                                CRAWFORDSVILLE   IN    47933‐7391

LORETTA N WILLIAMS                                 14927 SHIRLEY                                                                                  WARREN           MI    48089‐4185
LORETTA P CAPPELLI                                 7 WOODROW RD                                                                                   BATAVIA          NY    14020‐1201
LORETTA P CHAURET TR CHAURET LIVING TRUST UA       PO BOX 319                                                                                     BRADENTON        FL    34206‐0319
8/19/98
LORETTA P GLADYS                                   974 PIPPIN COURT                                                                               SAN MARCOS       CA    92069‐4900
LORETTA P JANOS & NICHOLAS P JANOS JT TEN          10740 DORCHESTER AVE                                                                           WESTCHESTER      IL    60154‐4275
LORETTA PALETTE                                    8484 STATE ROUTE 193                                                                           FARMDALE         OH    44417‐9750
LORETTA PATRICIA DAVIS TR LORETTA PATRICIA DAVIS   13323 AVENUE O                                                                                 CHICAGO          IL    60633‐1507
TRUST UA 08/02/05
LORETTA PATRICIA PETRO                             1005 STRATFORD LN                                                                              DYER             IN    46311‐1242
LORETTA PATTERSON                                  3447 WILLIAMS                                                                                  DEABORN          MI    48124‐3747
LORETTA PETERSEN & MARK PETERSEN JT TEN            1550 IRON POINT RD #2821                                                                       FOLSOM           CA    95630‐7822
LORETTA PHILLIPS DIOSZEGHY                         1328 OSPREY DR                                                                                 PUNTA GORDA      FL    33950‐7621
LORETTA R CIESLA                                   7386 WINBERT DR                                                                                NORTH            NY    14120‐1456
                                                                                                                                                  TONAWANDA
LORETTA R KELLAR                                 5495 STATE RT 305                                                                                SOUTHINGTON      OH    44470‐9712
LORETTA R TAPLEY                                 1427 S PLEASANT DR                                                                               FEASTERVILLE     PA    19053‐4308
LORETTA R YOUREK                                 2700 MITCHELL DR                                                                                 WOODRIDGE        IL    60517‐1557
LORETTA RAY                                      201 DASHER CT                                                                                    BEAR             DE    19701‐1171
LORETTA REED                                     4555 WOODBINE AVE                                                                                DAYTON           OH    45420‐3154
LORETTA RINK CUST DETON A PHILLIPS A MINOR UNDER 120 SW 89TH AVE                                                                                  PORTLAND         OR    97225‐6804
THE LAWS OF OREGON
LORETTA ROGERS                                   8052 TORREY RD                                                                                   GRAND BLANC      MI    48439‐9313
LORETTA S DAVIS & STEPHEN R DAVIS JR JT TEN      24302 COTE O'NEL                                                                                 FARMINGTON HILLS MI    48336‐2000

LORETTA S FRANKLIN                                 666 MARSHALL AVE                                                                               ST LOUIS         MO    63119‐1922
LORETTA S LAKE                                     27450 MARSHALL                                                                                 SOUTHFIELD       MI    48076‐5141
LORETTA S LAYER                                    6102 CAMPBELL BLVD                                                                             LOCKPORT         NY    14094‐9283
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LORETTA S MARTIN                                    413 PLANTATION CREST COURT                                                                      BATON ROUGE       LA    70810‐4962
LORETTA S PAYNE                                     PO BOX 85                                                                                       GIRDLER           KY    40943‐0085
LORETTA S WEBB                                      335 N CAUSEWAY G23                                                                              NEW SMYRNA        FL    32169‐5285
                                                                                                                                                    BEACH
LORETTA SWAN                                        2779 GATEWOOD                                                                                   WATERFORD         MI    48329‐3137
LORETTA SWEENEY                                     1090 LASK DRIVE                                                                                 FLINT             MI    48532
LORETTA SWIFT MAKI & ZACHARY C MAKI JT TEN          16125 FARMSTONE ST                                                                              SCHOOLCRAFT       MI    49087‐9180
LORETTA T TAMALONIS & JOSEPH F MALONEY JT TEN       389 MILFORD AVE                                                                                 NEW MILFORD       NJ    07646‐1237

LORETTA TOKARCZYK                                   3981 MAPLEFIELD DR                    UNIT G                                                    CINCINNATI        OH    45255‐4984
LORETTA U SIGMAN                                    2712 WALFORD DR                                                                                 DAYTON            OH    45440‐2233
LORETTA V GORMAN                                    75‐59 178TH ST                                                                                  FLUSHING          NY    11366‐1627
LORETTA VIRGILENE REID                              8709 54TH AVENUE EAST                                                                           BRADENTON         FL    34202‐3705
LORETTA WALKER                                      701 MULBERRY COURT                                                                              NAPERVILLE        IL    60540‐6335
LORETTA WILCOXON                                    8235 LAKE SHORE DRIVE                                                                           WEST CHESTER      OH    45069‐2624
LORETTA WRIGHT                                      2110 ROCHELLE WAY                                                                               ATLANTA           GA    30349‐3440
LORETTA Y GILLESPIE                                 16174 CT ST                                                                                     MOULTON           AL    35650‐4102
LORETTE D BLAGG                                     APDO NO 10 EL NARANJO                 SAN LUIS POTOSI                         79310 MEXICO
LORETTE I STERN                                     86 GREENLAWN AVE                                                                                NEWTON            MA    02459‐1714
LORETTE M KAHL TR THE LORETTE M KAHL TRUST UA       7350 LOCH ALENE AVE                                                                             PICO RIVERA       CA    90660‐4041
07/27/98
LORETTO C JOHNSON & GEORGE P CULLEN & JAMES J       1520 WESLEY                                                                                     BERWYN            IL    60402‐1331
JOHNSON JT TEN
LORETTO F REGULA                                    644 MOUNTAIN AVE                                                                                WASHINGTON        NJ    07676‐4424
                                                                                                                                                    TWNSHIP
LORI A AYDENT                                       14445 S PLACITA ASIDERA               APT 14445                                                 SAHUARITA         AZ    85629‐6634
LORI A AYRES                                        ATTN LORI COLBERT                     853 EAST AVE                                              TALLMADGE         OH    44278‐2503
LORI A BAETZHOLD & ASHLEY M LOCHNER JT TEN          12 MEADOWLARK DR                                                                                AVON              NY    14414‐9549
LORI A BAKIRAKIS CUST EMILY BELL UMGA MA            22 NORTH PRECINCT ST                                                                            LAKEVILLE         MA    02347
LORI A BRECKLING                                    11101 E 10TH S ST                                                                               INDEPENDENCE      MO    64054‐1663
LORI A BUCHINGER                                    3700 STEMPEK LN                                                                                 PINCONNING        MI    48650‐9780
LORI A CARROLL                                      10714 HOFFMAN RD                                                                                FORT WAYNE        IN    46816‐9550
LORI A CARVER                                       75111 RIVER RD                                                                                  COVINGTON         LA    70435‐2225
LORI A COLBERT                                      853 EAST AVE                                                                                    TALLMADGE         OH    44278‐2503
LORI A DEMPSEY                                      LORI D HAMILTON                       1460 BATES                                                BIRMINGHAM        MI    48009‐1903
LORI A DOWELL                                       1823 WHITE PINE DR                                                                              DURHAM            NC    27705‐7524
LORI A DRUMMER                                      240 KIMBARY DR                                                                                  DAYTON            OH    45458‐4133
LORI A DUDRO                                        2106 WALCH ST                                                                                   MONONGAHELA       PA    15063‐9445
LORI A FRYE                                         6702 SUNNY LANE                                                                                 INDIANAPOLIS      IN    46220‐3774
LORI A GILLISPIE                                    34712 UNIVERSITY                                                                                WESTLAND          MI    48185‐3669
LORI A HADDAD                                       3586 WALNUT BROOK DR                                                                            ROCHESTER HILLS   MI    48309‐4065
LORI A ISLER                                        146 FOREST HILL                                                                                 YOUNGSTOWN        OH    44515‐3139
LORI A KARNS                                        4665 SECOND                                                                                     CLARKSTON         MI    48346‐3760
LORI A KIRSAMMER                                    4442 JORDYN DR                                                                                  LAPEER            MI    48446‐3655
LORI A KUBASIAK                                     590 AMHERST STREET                    # 102                                                     BUFFALO           NY    14207‐2932
LORI A LUMBERT                                      PO BOX 1096                           LEE SUMMIT                                                LEES SUMMIT       MO    64063
LORI A MARTIN                                       14060 WESTCREEK RD                                                                              PIEDMONT          OK    73078‐9469
LORI A MULLIN                                       9793 DOWNES ST                                                                                  LOWELL            MI    49331
LORI A PETRAITIS                                    189 POPLAR WOODS DRIVE                                                                          CONCORD           NC    28027‐9530
LORI A PETRAITIS CUST BRANDON J IVORY UTMA NC       7615 DUNSMUIR CT                                                                                CORNELIUS         NC    28031‐8727

LORI A PETRAITIS CUST KRISTINA O PETRAITIS UTMA OH 46 ELM CREEK WAY                                                                                 AURORA            OH    44202

LORI A PETRAITIS CUST PAULIUS J NIKSTENAS UTMA TX   189 POPLAR WOODS DR                                                                             CONCORD           NC    28027‐9530

LORI A PIETRUNIAK TR IRREVOCABLE TRUST 02/03/92 U‐ 4911 RAZORBACK RUN                                                                               SYRACUSE          NY    13215‐1349
A JOSEPH A SAURO
LORI A RALEY                                       2025 PRAIRIE CREEK TRAIL                                                                         GARLAND           TX    75040‐4414
LORI A RHODES                                      982 N ADAMS ROAD                       UNIT #8                                                   BIRMINGHAM        MI    48009
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LORI A ROOP CUST JOHN AVI ROOP UTMA KS             5627 TAHOE LN                                                                                   FAIRWAY         KS    66205‐3311
LORI A ROSS‐OBRIEN                                 91 GREG RD RR3                       TRURO NS                                 B2N 5B2 CANADA
LORI A SCOGGINS                                    3870 PAINTAIL DR                                                                                JANESVILLE      WI    53546‐3418
LORI A STANTON                                     1 MINNEWAWA DRIVE                                                                               TIMBERLAKE      OH    44095
LORI A STEPHENS                                    19002 DALLAS PK                      APT 1122                                                   DALLAS          TX    75287‐3155
LORI A TAYLOR                                      21312 GLENDEVON COURT                                                                           TERMANTOWN      MD    20876‐4200
LORI A WEIMER                                      ATTN LORI A ISLER                    146 FOREST HILL                                            YOUNGSTOWN      OH    44515‐3139
LORI A WILLIAMS                                    ATTN LORI A TUCKER                   5910 QUAIL RIDGE                                           SHREVEPORT      LA    71129‐4915
LORI A WILLIAMS                                    1N431 PEACHTREE LN                                                                              WINFIELD        IL    60190‐2301
LORI ABRAMS CUST LUCY ABRAMS UGMA NY               37 GREENACRES AVE                                                                               SCARSDALE       NY    10583‐1413
LORI ADELE PEREZ                                   34567 SANDWOOD DRIVE                                                                            STERLING HGTS   MI    48310‐5336
LORI AMBROSE WRIGHT                                92 GWYNWOOD DR                                                                                  PITTSGROVE      NJ    08318‐4041
LORI ANN BROHL                                     11646 LIBERTY WOODS DR                                                                          WASHINGTON      MI    48094‐2465
LORI ANN CHUBA                                     18 COTTAGE ST                                                                                   WALLINGFORD     CT    06492‐2216
LORI ANN EATON                                     118 LIVE OAK DR                                                                                 WRITSVLLE BCH   NC    28480‐1941
LORI ANN GARDNER CUST GAVIN THOMAS GARDNER         1216 PINE RIDGE ROAD                                                                            MILFORD         MI    48380‐3652
UTMA MI
LORI ANN GERTZ                                     4943 GARDEN GROVE RD                                                                            GRAND PRAIRIE   TX    75052‐4473
LORI ANN MEISSNER                                  1140 N SUNNYSLOPE DR                 UNIT 207                                                   RACINE          WI    53406‐6354
LORI ANN SKONIECZNY                                24050 POINTE DR                                                                                 MACOMB          MI    48042‐5913
LORI ANN TAN                                       1218 WEST GOLF ROAD                                                                             LIBERTYVILLE    IL    60048‐3076
LORI ANN YOUNG                                     5921 HOLLISTER DR                                                                               INDIANAPOLIS    IN    46224‐3040
LORI ANNE MACPHEE                                  10295 HADLEY RD                                                                                 CLARKSTON       MI    48348‐1919
LORI ANNE PEPPER                                   514 STEVENS COURT                                                                               SLEEPY HOLLOW   IL    60118‐1822
LORI B DALTON                                      14035 E JANNA CI                                                                                SEAFORD         DE    19973‐8285
LORI B PHILLIPS                                    991 CEDAR OAKS TRAIL                                                                            WHITE LAKE      MI    48386‐4116
LORI B SAKALOS                                     765 RAVEN AVE                                                                                   GAITHERSBURG    MD    20877‐3336
LORI BEIM REITBERG                                 101 TIMBERBROOKE DR                                                                             BEDMINSTER      NJ    07921‐2100
LORI BETH WAACK                                    331 1/2 N PINE ST                                                                               KIMBERLY        WI    54136‐1536
LORI C SCHLEE & PATRICK SCHLEE JT TEN              6765 W 114TH PL                                                                                 WORTH           IL    60482‐2122
LORI CASSIDY CUST JORDAN CASSIDY UGMA MI           4334 E PARADISE LANE                                                                            MIDLAND         MI    48640‐7001
LORI CASSIDY CUST JUSTIN CASSIDY UGMA MI           4334 E PARADISE LN                                                                              MIDLAND         MI    48640‐7001
LORI CATHERINE SPOONER                             408 LIVE OAK LN W                                                                               HAVANA          FL    32333‐1212
LORI CEDERHOLM GROTZ                               5513 PARK PLACE                                                                                 EDINA           MN    55424‐1634
LORI CHLARSON CUST GIULIA VALENTINE CHLARSON       191 FLOWER ST                        #B                                                         COSTA MESA      CA    92627‐2835
UTMA CA
LORI D MC CLELLAND                                 9366 N WAXWING CT                                                                               TUCSON          AZ    85742‐9311
LORI D MERCER                                      4116 DESERT ROSE CT                                                                             FORT MILL       SC    29708‐9353
LORI D PRATTE                                      20626 AUTUMN TERRACE                                                                            KATY            TX    77450‐5750
LORI D WELLS                                       9136 N 100 W                                                                                    MARKLE          IN    46770‐9758
LORI D'ANN D'ATRI CUST HOLLY GILLIAN D'ATRI UGMA   500 SOUTH TAYLOR                     STE 101                       LB 249                       AMARILLO        TX    79101
TX
LORI DECELLE                                       2643 WORDSWORTH COURT                                                                           THOUSAND OAKS   CA    91362‐5348
LORI DIANE WEISEL                                  ATTN FRIED                           11B OLD WILLOW WAY                                         BRIARCLIFF      NY    10510‐1465
                                                                                                                                                   MANNOR
LORI DIMOND                                        1709 SHUMATE                                                                                    LITTLE ROCK     AR    72212
LORI DREYFUSS                                      1946 W LELAND AV                     APT 3W                                                     CHICAGO         IL    60640‐4312
LORI E KABEL                                       6521 BARREL RACE DR                                                                             COLORADO SPGS   CO    80923
LORI E KRASNER                                     118 DWINELL ST                                                                                  BOSTON          MA    02132‐2431
LORI E MCMINN                                      1728 S RIVERVIEW RD                                                                             PERU            IN    46970‐7263
LORI E ROBINS                                      20 E HILLSIDE PL                                                                                ROANOKE         TX    76262‐5649
LORI ELLEN COATES CUST BRANDY ELIZABETH COATES     406 SOUTH OAK ST                                                                                DURAND          MI    48429‐1625
UGMA MI
LORI ELLIS CUST ALAINA HALLIA COATES UGMA MI       406 SOUTH OAK STREET                                                                            DURAND          MI    48429‐1625

LORI F CAGNEY & THOMAS R CAGNEY JT TEN             6554 S 29TH STREET                                                                              SCOTTS          MI    49088‐9711
LORI G BAYS ADM EST MITCHELL REISS                 5201‐A RUFFIN RD                                                                                SAN DIEGO       CA    92123
LORI G D'ATRI CUST EDWARD L D'ATRI III UGMA TX     AMARILLO NATIONAL BANK               PO BOX 1 ATTN JACQUE BRANCH                                AMARILLO        TX    79105‐0001
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LORI G HUTTON                                     25871 CURIE                                                                                  WARREN             MI    48091‐3831
LORI G NEWTON ANSPACH                             37740 HACKER DR                                                                              STERLING HEIGHTS   MI    48310‐4064

LORI GHINDEA                                     4003 WATERWAY BLVD                                                                            ISLE OF PALMS      SC    29451‐2555
LORI HILL                                        2803 COSTA MESA                                                                               WATERFORD          MI    48329
LORI J BAKER                                     1989 TULIPWOOD DR                                                                             MANSFIELD          OH    44906
LORI J BOTZ                                      7 BIRD WAY                                                                                    NEWARK             DE    19711‐6116
LORI J BROMLEY                                   2218 PINE GROVE DR                                                                            NEW ERA            MI    49446
LORI J CARTER                                    5763 OLD TRAIL CT                                                                             COLUMBUS           OH    43213‐2116
LORI J CONNELLY                                  3430 HIGH PINE CT                                                                             WOLVERINE          MI    49799‐9713
LORI J FITZGERALD CUST TAYLOR CAITLYN FITZGERALD 14 LEXINGTON STREET                                                                           CANTON             MA    02021‐3642
UTMA MA
LORI J GERGELY                                   ATTN LORI J OLECKI                  4555 ALGER RD                                             RICHFIELD          OH    44286‐9402
LORI J LAPOINTE                                  4506 OLD KENNEDY RD                                                                           MILTON             WI    53563‐8978
LORI J LEWIS                                     2002 PLUM ST                                                                                  CLARKSTON          MI    48348‐5311
LORI J LONG                                      19103 CASCADE                                                                                 BROWNSTOWN         MI    48192‐8565
LORI J OLECKI                                    4555 ALGER RD                                                                                 RICHFIELD          OH    44286‐9402
LORI J PARISEY                                   7335 LILLY CHAPEL OPOSSUMRUN RD                                                               LONDON             OH    43140
LORI J PARMELEE                                  6634 OAK HILL ROAD                                                                            ORTONVILLE         MI    48462‐9191
LORI J QUEEN                                     59 WICKLOW DR                                                                                 HILTON HEAD        SC    29928‐3354
LORI J ROBERTS                                   23 WHITE BIRCH CIRCLE                                                                         PITTSBURGH         PA    15220
LORI J SMITH CUST BRANDON D SMITH UGMA MI        103 LORENE LN                                                                                 MOORESBURG         TN    37811‐5572
LORI J SMITH CUST BRENT R SMITH UGMA MI          103 LORENE LN                                                                                 MOORESBURG         TN    37811‐5572
LORI J TROYER                                    618 MAPLE ST                                                                                  PALMYRA            WI    53156‐9218
LORI J WHITCOMB CUST SARAH S WHITCOMB UGMA MI 1458 N OAK RD                                                                                    DAVISON            MI    48423‐9101

LORI J WHITE                                      PO BOX 698                                                                                   FLUSHING           MI    48433‐0698
LORI JEAN DETARR & RANDY LEE DETARR JT TEN        11667 WAKE CIR                                                                               CYPRESS            CA    90630‐5546
LORI JO GRICKS & TODD ALAN GRICKS JT TEN          650 STICKLE RD                                                                               NEW CASTLE         PA    16101‐9031
LORI K BIANCO & DESIREE A ROBINET TR DOMINICK     P O BOX 1405                                                                                 STERLING HTS       MI    48311‐1405
BIANCO TRUST UA 05/08/92
LORI K BROOKS & RICK L WOOD JT TEN                5408 BURGUNDY                                                                                CLARKSTON          MI    48346‐3202
LORI K FLETCHER                                   7957 EDGEWOOD COURT                                                                          PLAINFIELD         IN    46168‐8003
LORI K MASSBERG                                   4247 HUNTERS CIRCLE WEST                                                                     CANTON             MI    48188‐2364
LORI K MORGAN CUST HOLLY F MORGAN UGMA MI         335 E SOUTH ST                                                                               DAVISON            MI    48423‐3005

LORI K SCHULTZ                                     1015 FELTIS DR                                                                              TEMPERANCE         MI    48182‐9209
LORI KLINGSPOHN                                    5001 N BRITTON RD                                                                           UNION GROVE        WI    53182
LORI KRALOWSKI                                     22869 CRANBROOKE DR                                                                         NOVI               MI    48375‐4506
LORI L BENACK                                      101 JEFFERSON DRIVE                                                                         CLAIRTON           PA    15025
LORI L GUYOT                                       8360 OLD PLANK RD                                                                           GRAND BLANC        MI    48439‐2041
LORI L MC CLOUGHAN & JOSEPH D MC CLOUGHAN JT       9 DELAWARE RD                                                                               LAMBERTVILLE       NJ    08530‐2217
TEN
LORI L TURINSKY & TIMOTHY M TURINSKY JT TEN        4290 PORTAGE LANE                                                                           HOFFMAN EST        IL    60192
LORI LARSON                                        5808 RED CLOUD CIRCLE                                                                       YOUNGSTOWN         FL    32466
LORI LEE HENNINGS                                  23 LOMA AVE                                                                                 LA SELVA BEACH     CA    95076‐1618
LORI LEE JONES                                     36544 DEER FLAT RD                                                                          SHINGLETOWN        CA    96088‐9786
LORI LEE ZIMMERLICH U/GDNSHP OF MILDRED            1099 MAPLE LANE                                                                             NEW HYDE PARK      NY    11040‐2305
ZIMMERLICH
LORI LEONARDI                                      1307 YALE DR                                                                                HOLIDAY            FL    34691‐5121
LORI LESHER CUST JACOB LESHER UTMA PA              2669 HERMITAGE AVE                                                                          EASTON             PA    18045
LORI LIGHT SOLON                                   2561 GLENN DR                                                                               BELLMORE           NY    11710‐5027
LORI LONDON NEAL                                   1079 CRESTLINE CIR                                                                          EL DORADO HILLS    CA    95762‐7224
LORI LYNCH TR SEL‐DECLARATION OF TRUST 04/13/87 U‐ 21219 BARTH POND LANE                                                                       CREST HILL         IL    60435‐1521
A LORI LYNCH
LORI LYNCH TR U/DECL OF TRUST 04/13/87 THE LORI    21219 BARTH POND LN                                                                         CREST HILL         IL    60435‐1521
LYNCH TRUST
LORI LYNN CAMPBELL                                 ATTN LORI L LOVE                  24110 47TH AVE NE                                         ARLINGTON          WA    98223‐9007
LORI LYNN CELMER                                   20937 AGNES DR                                                                              MC CALLA           AL    35111‐1306
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LORI LYNN GORNEY & MARK THOMAS GORNEY JT TEN    6820 WILD PINE CIR                                                                             SAGINAW         MI    48603

LORI LYNN RINGS                                3303 FOREST RIDGE RD                                                                            ROANOKE         VA    24018‐5050
LORI LYNN WHITE CUST RYAN JAMES CELMAR UGMA MI 20937 AGNES DR                                                                                  MC CALLA        AL    35111‐1306

LORI M ALLEN                                    2100 CAINS LN                                                                                  MANSFIELD       TX    76063‐7602
LORI M GIDWANI                                  1728 SUPREME CT                                                                                NAPLES          FL    34110‐1013
LORI M GUTIERREZ                                2736 SHOREVIEW DR                                                                              NAPLES          FL    34112‐5840
LORI M JAQUES                                   4310 LEESBURG RD                                                                               FT WAYNE        IN    46808‐1618
LORI M KUCERA                                   2141 JOANNE DRIVE                                                                              TROY            MI    48084‐1130
LORI M NORFLEET                                 37800 WESTWOOD CIRCLE                APT 103                                                   WESTLAND        MI    48185‐1063
LORI M PIERCE CUST AMANDA M PIERCE UTMA AL      31628 ALABAMA                                                                                  LIVONIA         MI    48150‐3933
LORI M PIERCE CUST KELLY LYNN PIERCE UTMA MI    31628 ALABAMA ST                                                                               LIVONIA         MI    48150‐3933
LORI M STOEY & MONIQUE B VANAGEN JT TEN         10400 BANCROFT ROAD                                                                            BANCROFT        MI    48414‐9403
LORI MATZ SCHONEWOLF CUST ERIN JENNIFER         188 WOODSDALE AVE                                                                              DOVER           DE    19901‐5753
SCHONEWOLF UTMA OH
LORI MATZ SCHONEWOLF CUST JOHN MICHAEL          188 WOODSDALE AVE                                                                              DOVER           DE    19901‐5753
SCHONEWOLF UTMA OH
LORI MATZ SCHONEWOLF CUST JOSEPH MARC           188 WOODSDALE AVE                                                                              DOVER           DE    19901‐5753
SCHONEWOLF UTMA OH
LORI MATZ SCHONEWOLF CUST RYAN LEE SCHONEWOLF 188 WOODSDALE AVE                                                                                DOVER           DE    19901‐5753
UTMA OH
LORI MITCHELL                                   655 GARDEN                                                                                     DAYTON          OH    45419‐3806
LORI NICOLE DAVIS                               10540 VALJEAN AVE                                                                              GRANADA HILLS   CA    91344‐6847
LORI NOWAK                                      4166 BURLINGAME                                                                                WYOMING         MI    49509‐3725
LORI PALMER BIVENS                              1610 PROSPECT STREET                                                                           ELYRIA          OH    44035‐8281
LORI PEPPONI                                    PO BOX 142                                                                                     COLUMBUS        NJ    08022
LORI PUCEK                                      19 OVERLOOK RD                                                                                 MORRISTOWN      NJ    07960
LORI R RENNER                                   ATTN LORI R PRICHARD                 252 RENFREW CT                                            ADRIAN          MI    49221‐1811
LORI R SMITH                                    906 N SHANNON DR                                                                               SLOAN           IA    51055
LORI R WILLISTON                                6486 THIMBLEWEED LANE NE                                                                       ROCKFORD        MI    49341‐8907
LORI RACANELLI                                  10 ANTHONY WAYNE RD                                                                            MORRISTOWN      NJ    07960‐6711
LORI RADUNS                                     2746 W AVE                                                                                     NEWFANE         NY    14108‐1219
LORI RAU                                        308 FRANCES                                                                                    FLUSHING        MI    48433‐1737
LORI RIGGIO CUST MELISSA RIGGIO UGMA NY         15 GENESEE DR                                                                                  COMMACK         NY    11725‐4026
LORI RUDOLPH CUST JACOB FREDIRC RUDOLPH UTMA 10822 GREENVIEW WAY                                                                               COLUMBIA        MD    21044
MD
LORI RUDOLPH CUST MATTHEW SIDNEY RUDOLPH        10822 GREENVIEW WAY                                                                            COLUMBIA        MD    21044
UTMA MD
LORI S CURTIS                                   2830 BALDWIN                                                                                   LAPEER          MI    48446‐9769
LORI S EHRENSBERGER                             1119 ASHBURTON DR                                                                              DAYTON          OH    45459‐1407
LORI S GOODMAN                                  5120 FAIRGLEN DRIVE                                                                            PLANO           TX    75093‐4925
LORI S LARSEN                                   173 MILLFORD XING                                                                              PENFIELD        NY    14526‐1169
LORI S TUTINO CUST CHRISTINA NICOLE TUTINO UGMA 3 MANOR LANE                                                                                   STONY BROOK     NY    11790‐2817
NY
LORI S WIERSMA                                  9303 PARMALEE RD                                                                               MIDDLEVILLE      MI   49333‐8967
LORI SCHMITZ                                    966 MCDONALD DR                                                                                NORTHVILLE       MI   48167‐1071
LORI SHELLEY                                    9504 HAVENWAY DR                                                                               ARGYLE           TX   76226‐4237
LORI SOFIANEK                                   35 WOODFIELD DR                                                                                WEBSTER          NY   14580‐4203
LORI STEWART KATZ & SIDNEY B KATZ JT TEN        8 NIAMOA DR                                                                                    CHERRY HILL      NJ   08003‐1219
LORI STILLMAN                                   81760 RUSTIC CANYON DRIVE                                                                      LA QUINTA        CA   92253
LORI SWEENEY                                    3833 VICTORIA DR                                                                               TROY             MI   48083‐6309
LORI VENTOLA                                    43 WOODLAND AVE                                                                                DENVILLE         NJ   07834
LORI W ACKORS                                   209 ZOO RD                                                                                     FAIRFIELD        PA   17320‐9431
LORI W ECKROTH                                  8818 S UTICA AVE                                                                               EVERGREEN PK     IL   60805‐1229
LORI‐ANN V FISHER                               28729 BANNOCKBURN ST                                                                           FARMINGTON HILLS MI   48334‐2703

LORIAN J COOMBS                                 5927 CHINQUAPIN PKWY                                                                           BALTIMORE       MD    21239‐2202
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LORIANN SEARLE STOCKINGER & JOHN J STOCKINGER JR 2260 SADDLE WAY                                                                                 SALT LAKE CTY   UT    84118
JT TEN
LORIE A KIVIAT                                   9740 WARDS GAP RD                                                                               FANCY GAP       VA    24328
LORIE A MCKEE & ROBERT F MCKEE JT TEN            820 HANOVER RD                                                                                  GETTYSBURG      PA    17325
LORIE ANN FARROW & JOHN M FARROW JT TEN          15925 EDGEWOOD DR                                                                               LIVONIA         MI    48154‐2315
LORIE BANIA FARROW & JOHN M FARROW JT TEN        15925 EDGEWOOD DRIVE                                                                            LIVONIA         MI    48154‐2315
LORIE E WEAVER                                   609 SHIRLEY PARKWAY                                                                             PISCATAWAY      NJ    08854‐4547
LORIE J WILLIAMS                                 125 BUDD ST                                                                                     MADISONVILLE    TN    37354‐5836
LORIE L HANSON                                   13350 ENID BL                                                                                   FENTON          MI    48430‐1100
LORIE M LIEBROCK & DARRELL L HICKS JT TEN        PO BOX 615                                                                                      SOCORRO         NM    87801‐0615
LORIE MICHELE HORWITZ                            351 MEDEA CREEK LANE                                                                            OAK PARK        CA    91377
LORIE R NORTH                                    5212 W 64TH TER                                                                                 PRAIRIE VLG     KS    66208
LORIN A ALBRECHT                                 7229 GAD RD                                                                                     MEDFORD         WI    54451‐9012
LORIN B ALLEN JR                                 190 VIKING DR                                                                                   CORDOVA         TN    38018‐7264
LORIN D DICKINSON III                            7912 BROOKWOOD ST NE                                                                            WARREN          OH    44484‐1545
LORIN HARRIS                                     C/O T PEEK                            RR 2 BOX 151                                              SHOALS          IN    47581‐9637
LORIN J NOSBISCH                                 6760 LUTHER ST                                                                                  NIAGARA FALLS   NY    14304‐4539
LORINDA M KING                                   503 CEDAR ST                                                                                    EDEN            NC    27288‐5803
LORINDA SAKO CUST MATTHEW SAKO UTMA OH           3274 STILLWATER DR                                                                              MEDINA          OH    44256‐6215
LORINE A GONSER                                  1310 GREENE ROAD 715                                                                            PARAGOULD       AR    72450‐9343
LORINE CALDWELL                                  RT2 BOX 138AA                                                                                   MT OLIVET       KY    41064‐9799
LORINE COBBS                                     535 N TRUMBULL                                                                                  CHICAGO         IL    60624‐1452
LORINE ESTHER YURK                               8395 COLE CREEK XING                                                                            FLUSHING        MI    48433‐9435
LORINE FANKHAUSER                                31918 AVENIDA ENRIQUE                                                                           TEMECULA        CA    92591‐2145
LORINE HOLMES                                    1894 LEXINGTON CT                                                                               INKSTER         MI    48141‐1570
LORINE HOLSCHUH                                  1200 HARWOOD DR S                     APT 233                                                   FARGO           ND    58104‐6281
LORINE J PRITCHETT                               3230 KERN ROAD                                                                                  LAKE ORION      MI    48360‐2356
LORINE LISTER                                    4644 EMERSON ST                                                                                 FT WORTH        TX    76119‐2130
LORINE MOSS                                      17121 REDFORD ST APT 116                                                                        DETROIT         MI    48219‐3242
LORING HOSPITAL                                  211 HIGHLAND AVE                                                                                SAC CITY        IA    50583‐2424
LORING M WATTS                                   6224 DONNA DRIVE RT 10                                                                          CHARLOTTE       NC    28213‐6416
LORING M WATTS & MARY P WATTS JT TEN             6224 DONNA DR RT 10                                                                             CHARLOTTE       NC    28213‐6416
LORING P ROSSMAN                                 9237 NICHOLS RD                                                                                 GAINES          MI    48436‐9708
LORIS A JENKINS                                  4422 ELM ST                                                                                     LUNA PIER       MI    48166‐9021
LORIS D KIDWELL                                  8530 BIG BEND RD                                                                                MARTINSVILLE    IN    46151‐9205
LORIS M THOMPSON                                 2148 CORD ST                                                                                    SPEEDWAY        IN    46224‐5132
LORIS OATMAN DAMEROW                             507 WEST PROSPECT AVE                                                                           APPLETON        WI    54911
LORITA SUE DE WITT                               123 GREENWOOD RD                                                                                CROSSVILLE      TN    38558
LORLE J ROPER TR LORLE J ROPER TRUST UA 2/15/99  2197 DRYDEN RD                                                                                  EL CAJON        CA    92020‐2849

LORN D HAYES                                     2926 SILVERHILL DR                                                                              WATERFORD       MI    48329‐4424
LORN D HAYES & ANNA L HAYES JT TEN               2926 SILVERHILL                                                                                 WATERFORD       MI    48329‐4424
LORN R BULLOCK                                   20 POGLESE RD                                                                                   ST IGNACE       MI    49781‐9779
LORN R WILSON                                    1110 DUNKIRK AVE                                                                                MOUNT MORRIS    MI    48458‐2570
LORN RUSSELL SHOURD                              3101 RIVER ROAD                       LOT 145                                                   SODUS           MI    49126‐9752
LORNA A SHAHEEN                                  12396 TUSCOLA RD                                                                                CLIO            MI    48420‐1044
LORNA B HECKENLIVELY                             4618 SOUTH HOLDEN ST                                                                            SEATTLE         WA    98118
LORNA B HERRERA                                  1406 MATTERHORN WAY                                                                             ANCHORAGE       AK    99508‐5045
LORNA B WHEELER                                  3299 W LAKE RD                                                                                  CANANDAIGUA     NY    14424‐2440
LORNA BARCLAY KERBER                             25 ELGIN RD                                                                                     AMITYVILLE      NY    11701‐4021
LORNA BEAVERS                                    3825 RANCH ESTATES DR                                                                           PLANO           TX    75074‐7804
LORNA D CUSTER                                   2409 W ARLINGTON ST                                                                             LONG BEACH      CA    90810‐2009
LORNA D LEWIS                                    33 STONEWYCK LANE                                                                               DAMARISCOTTA    ME    04543‐4013
LORNA D SIMPKINS                                 RR #2                                 MAIDSTONE ON                            N0R 1K0 CANADA
LORNA H CRESS                                    604 BELDON AVE                                                                                  IOWA CITY       IA    52246‐2902
LORNA J GEMMELL                                  3721 LENOIR CIR                                                                                 NORFOLK         VA    23513‐5315
LORNA J GOODMAN TR LORNA J GOODMAN TRUST UA      503 LEITH AVE                                                                                   WAUKEGAN        IL    60085‐3330
11/30/96
LORNA J HOBART                                   482 GROSVENOR AVE                     WESTMOUNT PROVINCE QC                   H3Y 2S4 CANADA
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LORNA J JONES                                    121 STEDMAN STREET                                                                                CHELMSFORD         MA    01824
LORNA J SCHUESSLER                               412 NEWBOLD RD                                                                                    JENKINTOWN         PA    19046‐2851
LORNA K BAER                                     2001 MARKET ST                                                                                    HARRISBURG         PA    17103‐2531
LORNA L RANDALL                                  2618 HIGHLAND VILLAGE LN                                                                          MIAMISBURG         OH    45342‐4576
LORNA L WOELFEL TR LORNA WOELFEL REVOCABLE       5256 LOCKSLEY AVE                                                                                 OAKLAND            CA    94618‐1041
TRUST UA 12/05/03
LORNA LEITH SCHMIDT                              438 QUAKER ST                                                                                     WALLKILL           NY    12589‐2928
LORNA M CRYDERMAN                                2608 GREENWOOD DR                                                                                 NATIONAL CITY      MI    48748‐9305
LORNA M JOHNSON                                  4415 VENABLE AVE                                                                                  CHARLESTON         WV    25304‐2533
LORNA M MEDINA & WILLIAM E COLGAN JT TEN         240 E 35TH ST                          APT 10F                                                    NEW YORK           NY    10016
LORNA PALMER CHAPUIS                             7455 W CATALPA ST                                                                                 CHICAGO            IL    60656‐1738
LORNA R TERNASKY                                 8046 KELTY COURT                                                                                  SACRAMENTO         CA    95828‐5523
LORNE A COMPTON                                  80 DOTHAN ST                                                                                      ARLINGTON          MA    02474‐1343
LORNE A TEAL                                     1241 SYCAMORE                                                                                     TUSTIN             CA    92780‐6150
LORNE A WILLIS                                   17903 AIRPORT                                                                                     FRASER             MI    48026‐3137
LORNE COMPTON & CAROL COMPTON JT TEN             80 DOTHAN ST                                                                                      ARLINGTON          MA    02474‐1343
LORNE H MASSEL & LU A MASSEL JT TEN              3909 WITMER ROAD #331                                                                             NIAGARA FALLS      NY    14305
LORNE J LITKE & JANET SEFCHECK JT TEN            38218 WARREN RD                                                                                   WESTLAND           MI    48185‐1939
LORNE ROSS JULY & NORMA J JULY JT TEN            1306 SOUTH PACKARD AVENUE                                                                         BURTON             MI    48509‐2410
LORNE T ROBINSON & MIMI TUNG JT TEN              5904 BLACKBERRY TRAIL                                                                             INVER GROVE HGTS   MN    55076‐1557

LORNE W WEAVER JR                                6684 NORTH DOYON DRIVE                                                                            WATERFORD          MI    48327‐3804
LORNE WHITE                                      1250 BRIDLETOWNE CIRCLE                UNIT 1611               SCARBOROUGH ON   M1W 2V1 CANADA
LORON STRIPLING                                  614 3RD STREET                         PO BOX 305                                                 JACKSON            SC    29831‐0305
LORONE WOODS                                     164 CEDAR ST                                                                                      CAMDEN             AR    71701‐6308
LORRAIN E REED                                   4481 W 51ST STREET                                                                                CLEVELAND          OH    44144‐2933
LORRAINE A BAIER & EDWARD W BAIER JT TEN         304 VINSON ST                                                                                     SENECA             SC    29678‐2837
LORRAINE A BIANCHI                               2621 FAIRVIEW AVE                                                                                 MONROEVILLE        PA    15146‐3310
LORRAINE A BUKER & LEONARD R BUKER JT TEN        15 PLEASANT STREET                     APT N‐1                                                    HARWICHPORT        MA    02646‐1801
LORRAINE A CARLSON                               775 SOUTHERN PINES DRIVE                                                                          NAPLES             FL    34103‐2813
LORRAINE A CROUTHER & OSCAR R CROUTHER JT TEN    9920 PARKWAY DRIVE                                                                                SAINT LOUIS        MO    63137‐3126

LORRAINE A CURRAN & HEATHER S SCHULTE JT TEN     807 W UNIVERSITY DRIVE                                                                            ROCHESTER          MI    48307‐1860

LORRAINE A HAMMOND                               4499 OAKLEAF SE                                                                                   GRAND RAPIDS       MI    49546‐8225
LORRAINE A HILLER                                3316 GORSE COURT                                                                                  PALM HARBOR        FL    34684‐3409
LORRAINE A KORAL                                 13280 EDGEWOOD DR                                                                                 STERLING HEIGHTS   MI    48312‐6499

LORRAINE A MEYERS                                5893 CO ROAD 33 R D 3                                                                             CANANDAIGUA        NY    14424‐9384
LORRAINE A MICH                                  2933 POWDERHORN RIDGE ROAD                                                                        ROCHESTER HILLS    MI    48309‐1344
LORRAINE A MOORE                                 95 MCKINLEY AVE                                                                                   DUMONT             NJ    07628‐2815
LORRAINE A MUELLER TR MUELLER FAMILY TRUST UA    234 EAST HOLLY DRIVE                                                                              ORANGE CITY        FL    32763‐7513
05/29/92
LORRAINE A NESDALE                               12702 SPRING ST                                                                                   GARDEN GROVE       CA    92845‐2648
LORRAINE A OUELLETTE                             176 MILL ST                                                                                       WOONSOCKET         RI    02895‐2122
LORRAINE A PETROSKY                              ATTN LORRAINE A GREGORICH              6967 KINGSWOOD DR                                          CLEVELAND          OH    44139‐4538
LORRAINE A RADAK                                 PO BOX 4733                                                                                       APACHE JCT         AZ    85278
LORRAINE A RICE & EDWARD R RICE JT TEN           4126 W BLUEFIELD AVE                                                                              GLENDALE           AZ    85308‐1709
LORRAINE A RUDDER                                2379 BRAIRWOOD DR                                                                                 SAN JOSE           CA    95125‐4916
LORRAINE A SABIA                                 208 KAYMAR DR                                                                                     BUFFALO            NY    14228‐3007
LORRAINE A SMITH & ROBERT J SMITH JT TEN         C/O EDWARD R GREENUP                   25400 LITTLE MACK AVE                                      ST CLAIR SHORES    MI    48081‐2157
LORRAINE A TISHEY & WILLIAM A TISHEY JT TEN      8335 DUBBS DRIVE                                                                                  SEVERN             MD    21144
LORRAINE A ULERY                                 145 NIGHT HERON LN                                                                                ALISO VIEJO        CA    92656‐1734
LORRAINE A VANHURK                               811 S SCOTT DR                                                                                    FARWELL            MI    48622‐9699
LORRAINE AKALEWICZ CUST ANTHONY JAMES            14 LEXINGTON AVE                                                                                  CARTERET           NJ    07008‐2335
AKALEWICZ UTMA NJ
LORRAINE ALVIGI                                  PO BOX 732                                                                                        EL DORADO          CA    95623‐0732
LORRAINE ANN PICKING                             39855 WALES                                                                                       CANTON             MI    48188
LORRAINE B DAVIS                                 PO BOX 132                                                                                        DRYDEN             MI    48428‐0132
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Name                                               Address1                              Address2                    Address3    Address4          City               State Zip

LORRAINE B PENBERTHY                               206 SILMAN                                                                                      FERNDALE           MI    48220‐2509
LORRAINE B SEALIE                                  32365 AUGUSTA DR 35                                                                             ROMULUS            MI    48174‐6374
LORRAINE B TOPOLIN                                 1 MIDDLE RD                                                                                     NEW HOPE           PA    18938‐1101
LORRAINE B VAN WORMER                              716 SURFWOOD LN                                                                                 DAVISON            MI    48423‐1237
LORRAINE B WHITLOCK                                35849 ADOBE DR                                                                                  FREMONT            CA    94536‐5420
LORRAINE B WILLIAMSON                              2630 RANCH ROAD                                                                                 MELBURNE           FL    32904‐9067
LORRAINE BARBALINARDO                              110 GEORGETOWN RD                                                                               TOMS RIVER         NJ    08757‐4415
LORRAINE BARCOMB                                   PMB 2417                              779 E MERRITT ISLAND CSWY                                 MERRITT ISLAND     FL    32952‐3309
LORRAINE BAUMGARDNER                               2216 MACON COURT                                                                                WESTLAKE           OH    44145‐1864
LORRAINE BEEH                                      3123 E PEACH TREE DR                                                                            CHANDLER           AZ    85249‐9029
LORRAINE BENNETT & GEORGE H BENNETT JT TEN         20930 DUNS SCOTUS                                                                               SOUTHFIELD         MI    48075‐3268
LORRAINE BERNARD                                   7085 TUXEDO ST                                                                                  ENGLEWOOD          FL    34224
LORRAINE BEVERLY GODIN                             715 CLAIRPOINTE COURT EAST                                                                      SAINT CLAIR SHORES MI    48081‐1698

LORRAINE BOWES                                   3340 SO 90TH STREET                                                                               MILWAUKEE          WI    53227‐4404
LORRAINE BRIGGS                                  1100 CENTER #205                                                                                  BAY CITY           MI    48708‐6182
LORRAINE BROWN‐JOYCE                             959 BERTIE ST                           FORT ERIE ON                            L2A 1Z7 CANADA
LORRAINE C FOX & ANDREW J KARPF JT TEN           679 LAUREL ST                                                                                     LONGMEADOW         MA    01106‐1917
LORRAINE C FOX & RICHARD KARPF JT TEN            679 LAUREL ST                                                                                     LONGMEADOW         MA    01106‐1917
LORRAINE C MCCARTHY                              3906 W 62ND PL                                                                                    CHICAGO            IL    60629
LORRAINE C STRICKLAND                            21616 KISER RD                                                                                    DEFIANCE           OH    43512‐9061
LORRAINE CAMARDA OUSKA & DEBORAH JOHNSON JT 5710 JANES AVE                                                                                         DOWNER'S GROVE     IL    60516‐1018
TEN
LORRAINE CAPPIO CUST PETER DANIEL CAPPIO UTMA NJ 25 TWIN BROOK COURT                                                                               RAMSEY             NJ    07446‐2443

LORRAINE CAPPIO CUST RACHEL MARIE CAPPIO UTMA      25 TWIN BROOK COURT                                                                             RAMSEY             NJ    07446‐2443
NJ
LORRAINE CARNES                                    4037 PEBBLE RIDGE CT                                                                            FENTON             MI    48430‐9121
LORRAINE CORVINO                                   948 STATE ST                                                                                    COOPERSBURG        PA    18036‐1908
LORRAINE CRAGO                                     2633 EMERSON N W                                                                                GRAND RAPIDS       MI    49544‐1719
LORRAINE CROCKER                                   183 TREMONT ST                                                                                  MALDEN             MA    02148‐2732
LORRAINE CURRAN                                    807 W UNIVERSITY DR                                                                             ROCHESTER          MI    48307‐1860
LORRAINE D BRAAT                                   2380 AURORA POND DR SW                APT 214                                                   WYOMING            MI    49519‐9671
LORRAINE D BYBERNEIT & SANDRA K BYBERNEIT JT TEN   8145 BARDEN ROAD                                                                                DAVISON            MI    48423

LORRAINE D CAMPBELL                                1051 LILAC ST                                                                                   INDIANA            PA    15701‐2465
LORRAINE D KORN                                    6276 VAN NOORD AVENUE                                                                           VAN NUYS           CA    91401‐3226
LORRAINE D NOONE                                   64 VALLEY VIEW RD                                                                               GLASTONBURY        CT    06033‐3621
LORRAINE D SMITH                                   10 JERICHO RUN                                                                                  WASHINGTON         PA    18977‐1022
                                                                                                                                                   CROSSIN
LORRAINE D ZYGMUNT                                 520 MAPLE AVENUE                                                                                OLD SAYBROOK       CT    06475‐3035
LORRAINE DANIELS                                   3038 GARLAND                                                                                    DETROIT            MI    48214‐2177
LORRAINE DAVIS                                     4505 WILLOW DR                                                                                  KOKOMO             IN    46901‐6448
LORRAINE DER                                       48 SCHOOL ST                                                                                    HAMILTON           MA    01982‐2525
LORRAINE DESLONGCHAMPS                             621 ARCHAMBEAULT ST                   ST LIN QUEBC QC                         J0R 1C0 CANADA
LORRAINE DUNHUBER                                  PO BOX 1288                                                                                     CUTCHOGUE          NY    11935‐0887
LORRAINE E BORKENHAGEN                             2235 SCHOOLHOUSE RD                                                                             RANSOMVILLE        NY    14131‐9718
LORRAINE E CLASS                                   394 E SPRINGWOOD CT                                                                             ROUND LK BCH       IL    60073‐4875
LORRAINE E DROZDOWSKI                              3842 KNIGHTBRIDGE CIR                                                                           STERLING HEIGHTS   MI    48314‐4531

LORRAINE E FINCH                                   PO BOX 1330                                                                                     PALM HARBOR        FL    34682‐1330
LORRAINE E FOUTE & BARBARA L MEHLING JT TEN        540 E JUANITA AVE                                                                               GLENDORA           CA    91740‐6021
LORRAINE E HOWELL                                  2215 N 56TH                                                                                     OMAHA              NE    68104‐4247
LORRAINE E JANSEN                                  34665 ACKLEY                                                                                    STERLING HEIGHTS   MI    48312‐4900

LORRAINE E JONES                                   7252 ELWOOD RD                                                                                  ZEPHYRHILLS        FL    33540‐8804
LORRAINE E KOLEBER                                 5029 VINCENT TRL                                                                                SHELBY TOWNSHIP    MI    48316‐5253
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Name                                              Address1                              Address2             Address3           Address4          City              State Zip

LORRAINE E MURRAY & MARGARET A PITTMAN JT TEN     101 BUCKINGHAM DR                                                                               YORKTOWN          VA    23692

LORRAINE E NAKANO                                 7803 LIVINGSTON AVENUE                                                                          WAUWATOSA         WI    53213‐1125
LORRAINE E ROTH                                   93 WOODMILL RD                                                                                  BANGOR            PA    18013‐9641
LORRAINE E SATO                                   94‐1409 WAIPAHU ST                                                                              WAIPAHU           HI    96797‐3558
LORRAINE E WIRZBA                                 15822‐95 AVE                          EDMONTON AB                             T5P 0A6 CANADA
LORRAINE F CHAPEL                                 115 LOWELL AVENUE                                                                               YOUNGSTOWN        OH    44512‐1228
LORRAINE F FILIPSKI                               52 WEAVER ST                                                                                    BUFFALO           NY    14206
LORRAINE F MATE                                   ATTN LORRAINE AMMA                    3319 HERMAR DR                                            MURRYSVILLE       PA    15668‐1602
LORRAINE F STAFFORD                               11 EDGEMONT RD                                                                                  GLEN ROCK         NJ    07452‐2212
LORRAINE F STEEN                                  PO BOX 122                                                                                      SCIOTA            PA    18354‐0122
LORRAINE FITTERMAN CUST CAROLINE FITTERMAN        10 HUMPHREY DR                                                                                  SYOSSET           NY    11791‐4017
UTMA NY
LORRAINE G BIRD                                   22 APPLE LANE                                                                                   COMMACK           NY    11725‐3604
LORRAINE G HOLYS                                  1321 HILAND ST                                                                                  SAGINAW           MI    48601‐3433
LORRAINE G KRETZ                                  21313 AUDETTE                                                                                   DEARBORN          MI    48124‐3023
LORRAINE G KUREK & JOHN J KUREK JT TEN            7411 MEADOW LANE                                                                                PARMA             OH    44134‐5936
LORRAINE G NOWICKI                                4108 VILLAGER DR                                                                                ORION             MI    48359‐1886
LORRAINE G WHELESS                                1514 OAKADIA DR W                                                                               CLEARWATER        FL    33764
LORRAINE G WYSKIEWICZ & MICHAEL J WYSKIEWICZ JT   4 N RIDGE DR                                                                                    CROMWELL          CT    06416‐1097
TEN
LORRAINE GAYE TAYLOR                              177 ELM ST                                                                                      WOODSTOWN         NJ    08098‐1320
LORRAINE GROBE                                    508 W STATE ST                                                                                  DETROIT LAKES     MN    56501‐2935
LORRAINE H ALEMONI                                30 SUMMIT ST                                                                                    BRISTOL           CT    06010‐4953
LORRAINE H CURDUE                                 409 LAWRENCE BLVD W                                                                             WABASHA           MN    55981‐1216
LORRAINE H HAFNER                                 PO BOX 102                                                                                      DIAMOND           OH    44412
LORRAINE H JACK                                   915 SAVANNAH AVENUE                                                                             WILKINSBURG       PA    15221
LORRAINE H LAAKSO TR LAAKSO FAMILY TRUST UA       33 VIA MORELLA                                                                                  SAN LORENZO       CA    94580‐3414
05/08/98
LORRAINE H PRIMEAU TR LORRAINE H PRIMEAU          486 ST CLAIR                                                                                    GROSSE POINTE     MI    48230‐1504
REVOCABLE TRUST UA 09/22/98
LORRAINE H RUSSELL                                515 CLAREMOOR DRIVE                                                                             BOWLING GREEN     KY    42101‐3720
LORRAINE H RYKER & BARBARA L RYKER JT TEN         7311 SILENT CIRCLE                                                                              SAN ANTONIO       TX    78250‐6278
LORRAINE HAEFELE VAN COUR                         169 OLD NORTH HL                                                                                ROCHESTER         NY    14617‐3246
LORRAINE HALM                                     2050 LABELLE RD                                                                                 SAGINAW           MI    48601‐9729
LORRAINE HAMMOND                                  45 HIGH POINT CIRCLE S APT 303                                                                  NAPLES            FL    34103‐4241
LORRAINE HAUSMANN ELLIS TR UA 03/09/90 LORRAINE   630 S ORANGE GROVE BLVD               APT 3                                                     PASADENA          CA    91105‐1724
HAUSMANN‐ELLIS FA
LORRAINE HIRSH BAGDASARIAN                        13080 MINDANAO WAY                    UNIT 94                                                   MARINA DEL REY    CA    90292‐8743
LORRAINE HODGE                                    2800 COUGAR BUTTE                                                                               KLAMATH FALLS     OR    97601‐9425
LORRAINE HUSSAIN                                  6105 DECOLA SHORES RD                                                                           CONESUS           NY    14435‐9756
LORRAINE I HURST ADM EST ERNEST M FLISRAND        6237 HANNON COURT                                                                               SAN DIEGO         CA    92117
LORRAINE J BROWN TR LORRAINE J BROWN TRUST UA     3136 PLAZA DR #A12                                                                              GRAND RAPIDS      MI    49525‐2941
05/09/97
LORRAINE J CROCKER                                6255 RANDI AVE                                                                                  WOODLAND HILLS    CA    91367‐1931

LORRAINE J FIGUEROA                               186 AMITY ST                                                                                    BROOKLYN           NY   11201‐6222
LORRAINE J HAUSER                                 36 CHERYL DRIVE                                                                                 LAKE               NY   11779‐4349
                                                                                                                                                  RONKONKOMA
LORRAINE J HIESRODT                               390 E MOUNT HOPE HWY                                                                            GRAND LEDGE        MI   48837‐9434
LORRAINE J HOLMES                                 21528 FRANCIS ST                                                                                SAINT CLAIR SHORES MI   48082‐1538

LORRAINE J JENSEN                                 119 W 15TH ST                                                                                   GRAND ISLAND      NE    68801‐2519
LORRAINE J KRAUSE                                 1422 CLUB HOUSE DR                    APT A104                                                  COLUMBIA          TN    38401‐4682
LORRAINE J NEWMAN                                 4226 BARNES AVE                                                                                 BURTON            MI    48529‐2452
LORRAINE J RUSSELL                                458 OAK STREET                                                                                  HARRISON          MI    48625
LORRAINE J WRIGHT                                 940 JETTON ST UNIT 13                                                                           DAVIDSON          NC    28036‐8239
LORRAINE JONES CUST SAMATHA JONES UGMA MI         20873 HAMPTON RD                                                                                HARPER WOODS      MI    48225‐1128
                                             09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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LORRAINE K CULVER & ROGER H CULVER & BRUCE G      801 ALLSTON                                                                                    ROCHESTER HILLS   MI    48309‐1659
CULVER JT TEN
LORRAINE K MCBRIDE                                16925 BAILEY RD                                                                                MEADVILLE         PA    16335‐6419
LORRAINE KAPLAN                                   22 BERKELEY STREET                                                                             READING           MA    01867‐2801
LORRAINE KEES                                     694 DEERING ST                                                                                 GARDEN CITY       MI    48135‐3161
LORRAINE KENNEDY                                  3806 HENRY                                                                                     INKSTER           MI    48141‐3034
LORRAINE KIND                                     907 WILLMOR ST                                                                                 RACINE            WI    53402‐3956
LORRAINE KORKLAN                                  6111 N CAMINO ALMONTE                                                                          TUCSON            AZ    85718‐3729
LORRAINE KRICK                                    9043 STONES BLUFF LN                                                                           CAMBY             IN    46113‐9459
LORRAINE KWIATKOWSKI                              516 BURDECK ST                                                                                 SCHENECTADY       NY    12306‐6808
LORRAINE L BERGEMANN                              1531 PACKARD ST                      APT 12                                                    ANN ARBOR         MI    48104‐4467
LORRAINE L CUSICK                                 63 WILBUR AVE                                                                                  SWANSEA           MA    02777‐2618
LORRAINE L DUNN                                   8089 S VERMEJO PEAK                                                                            LITTLETON         CO    80127‐3852
LORRAINE L GILLASPIE                              2209 8TH AVE S                                                                                 GREAT FALLS       MT    59405
LORRAINE L HERMAN                                 201 FAIRWAY DR                                                                                 CARMEL            NY    10512‐1534
LORRAINE L KOWALSKI                               28061 BARKMAN                                                                                  ROSEVILLE         MI    48066‐4703
LORRAINE L MEANEY                                 12003 CHERRY BLOSSOM PL                                                                        NORTH POTOMAC     MD    20878‐4902
LORRAINE L NAGROCKI                               ATTN LORRAINE L TIPSORD              105 KENT ST          PO BOX 261                           GRIDLEY           IL    61744‐0261
LORRAINE L RUSSELL                                3738 ALBEMARLE ST NW                                                                           WASHINGTON        DC    20016‐1806
LORRAINE L SCHRAG EX                              UW ETHEL LEVIN                       2054 MANNING AVE                                          LOS ANGELES       CA    90025‐6314
LORRAINE L ZBIKOWSKI                              18945 AUDETTE ST                                                                               DEARBORN          MI    48124‐4223
LORRAINE LARSON                                   519 GEMINI STREET                                                                              MISSION           TX    78572‐6542
LORRAINE LAUMAN MADSEN                            11448 E AMHERST CIR S                                                                          AURORA            CO    80014‐3047
LORRAINE LEWIS                                    2818 PLAZA DEL PLATA                                                                           LAKE HAVASU       AZ    86406‐7746
LORRAINE LICWINKO                                 53 NORTH 11 STREET                                                                             KENILWORTH        NJ    07033‐1519
LORRAINE LORENZ BURKHART                          BOX 903                                                                                        DICKINSON         TX    77539‐0903
LORRAINE LOUISE TARR                              1708 MEEKER AVE                                                                                MUNCIE            IN    47302‐3832
LORRAINE LUEDTKE & CARL LUEDTKE JT TEN            4158 TAMIAMI TRL APT F5                                                                        PORT CHARLOTTE    FL    33952‐9267
LORRAINE M ANDERSON                               10848 LYMAN AVE                                                                                CHICAGO RIDGE     IL    60415‐2250
LORRAINE M BABB                                   57 BISSELL RD                                                                                  TERRYVILLE        CT    06786‐4011
LORRAINE M BAUMBACH                               3327 JACKSON AVE                                                                               WANTAGH           NY    11793‐4139
LORRAINE M CARUSO                                 5 ELIZABETH WAY                                                                                BOONTON           NJ    07005‐9206
                                                                                                                                                 TOWNSHIP
LORRAINE M DUBAY & SUSAN SWANSON & DEBORAH        2884 E LAURIA                                                                                  KAWKAWLIN         MI    48631‐9103
GADD JT TEN
LORRAINE M DYSINGER                               7368 E CREEK ROAD                                                                              LOCKPORT          NY    14094
LORRAINE M EARLY                                  1112 BLUE SPRING CIR                                                                           WEBSTER           NY    14580‐9192
LORRAINE M EDLER TR LORRAINE M EDLER TRUST UA     7149 W OAKTON CT                                                                               NILES             IL    60714‐3047
04/07/94
LORRAINE M GADWAY TR UA 08/04/87 LORRAINE M       2635 SECOND AVE #527                                                                           SAN DIEGO         CA    92103‐6564
GADWAY TRUST
LORRAINE M GALLAGHER                              58 CLINTON ST                                                                                  SO PORTLAND       ME    04106‐4914
LORRAINE M GARRIES                                1416 RIDGE RD                        PO BOX 471                                                MACKINAW CITY     MI    49701‐0471
LORRAINE M HALCHAK & JOHN R HALCHAK JT TEN        52 SUMMIT DRIVE                                                                                ATKINSON          NH    03811‐2342

LORRAINE M LA VIGNE & VIRGINIA L NOMIDES JT TEN   57 MAPLEFIELD                                                                                  PLEASANT RIDGE    MI    48069‐1020

LORRAINE M LECOUMP                                114 NW 48TH                                                                                    SEATTLE           WA    98107‐3411
LORRAINE M MARWICK                                3927 CRAB ORCHARD LANE                                                                         NORCROSS          GA    30092‐1823
LORRAINE M MONET TR LIVING TRUST 06/05/81 U‐A     27475 HURON CIR                      APT 330                                                   NOVI              MI    48377‐3446
LORRAINE M MONET
LORRAINE M OALDON                                 4228 OLD DOMINION RD                                                                           ORLANDO           FL    32812‐7932
LORRAINE M PFLUG                                  15 RAINBOW LANE                                                                                SPOTSWOOD         NJ    08884‐1422
LORRAINE M POLEGA                                 7012 S CANNON PLACE DR                                                                         ROCKFORD          MI    49341‐8181
LORRAINE M RABIL                                  4909 ERIE ST                                                                                   ANNADALE          VA    22003‐5411
LORRAINE M RAMTHUN & JUDY BEYER & JAMES           815 HAPPY HALLOW                                                                               JANESVILLE        WI    53546‐8930
RAMTHUN JT TEN
LORRAINE M REID                                   2213 S SHERIDAN ST                                                                             BAY CITY          MI    48708‐8178
LORRAINE M RICHARDS                               145 S 327 PLACE                                                                                FEDERAL WAY       WA    98003‐5793
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LORRAINE M ROBERTSON                                6981 NW 4TH PLACE                                                                               MARGATE          FL    33063‐4301
LORRAINE M RUNDLE                                   503 TRANSOM COURT                                                                               TOMS RIVER       NJ    08753‐4429
LORRAINE M SCIAMONTE                                19 BLACK KNIGHT RD                    ST CATHARINES ON                        L2N 3B9 CANADA
LORRAINE M STEPEK & LINDA M STEPEK JT TEN           6274 SOUTH ARCHER                     APT 1E                                                    CHICAGO          IL    60638‐2538
LORRAINE M WOHADLO                                  139 JUNIPER DR                                                                                  SCHERERVILLE     IN    46375‐1110
LORRAINE M YOUNG                                    29085 COMMONWEALTH                                                                              ROSEVILLE        MI    48066‐2010
LORRAINE MANERO                                     ATTN LORRAINE PIZZO                   3708 VADER RD                                             PHILADELPHIA     PA    19154‐3031
LORRAINE MARENTETTE                                 778 ASSUMPTION STREET                 WINDSOR ON                              N9A 2B6 CANADA
LORRAINE MARIE GOODWIN                              114 E ROGUES PATH                                                                               HUNTINGTON       NY    11746‐2743
                                                                                                                                                    STATION
LORRAINE MARTIN                                     5311 LANCASTER LN #23                                                                           COMMERCE         MI    48382‐2883
                                                                                                                                                    TOWNSHIP
LORRAINE MARTIN TR LORRAINE MARTIN TRUST UA         761 E OLD BARN LANE APT W115                                                                    ARLINGTON HTS    IL    60005
8/28/97
LORRAINE MARTY CUST ALLISON MARIE MARTY UGMA        2269 TROY PL                                                                                    MERRICK          NY    11566‐3815
NY
LORRAINE MARY LEBOURGEOIS CROSS                     4000 BEROT DRIVE                                                                                METAIRIE         LA    70002‐3008
LORRAINE MCEVOY                                     51 BERLANT AVE                                                                                  LINDEN           NJ    07036‐3669
LORRAINE MENCKE                                     218 KINGSTON DR                                                                                 RIDGE            NY    11961‐2062
LORRAINE MISENKO & JOSEPH E MISENKO JR JT TEN       103 KNOX AVE                                                                                    BROWNVILLE       PA    15417‐1915

LORRAINE MISENKO & JOSEPH E MISENKO JT TEN          103 KNOX AVE                                                                                    BROWNSVILLE      PA    15417‐1915
LORRAINE MORRIS                                     21450 KIPLING                                                                                   OAK PARK         MI    48237‐3818
LORRAINE MORTON                                     59 CHIPPENHAM DR                                                                                PENFIELD         NY    14526‐1968
LORRAINE MORTON CUST JOHN T MORTON UTMA NY          59 CHIPPENHAM DRIVE                                                                             PENFIELD         NY    14526‐1968

LORRAINE MOSES                                      14823 PIEDMONT                                                                                  DETROIT          MI    48223‐2242
LORRAINE N HAVELL                                   4378 WATLEY PLACE                                                                               HOSCHTON         GA    30548
LORRAINE N KING                                     27 WESLEY DR                                                                                    HOCKESSIN        DE    19707‐9624
LORRAINE NORMA TRIMBLE                              508 44TH AVENUE EAST                  G 40                                                      BRADENTON        FL    34203‐3584
LORRAINE NOVAS CUST ERIC ALLEN KAMMERER UTMA        39 LOMOND DR                                                                                    INVERNESS        IL    60067‐4419
IL
LORRAINE NOVAS CUST LANA ALEXANDRA KAMMERER         39 LOMOND DR                                                                                    INVERNESS        IL    60067‐4419
UTMA IL
LORRAINE OROURKE & JOSEPH T OROURKE JT TEN          6840 COUNTY LINE LANE                                                                           HINSDALE         IL    60521‐5723
LORRAINE ORR & EDWARD ORR JT TEN                    1524 PALMWOOD DR                                                                                SARASOTA         FL    34232‐3423
LORRAINE OSBORN SMITH                               232 MONTGOMERY ST APT 1                                                                         JERSEY CITY      NJ    07302‐4063
LORRAINE OSTRINSKY                                  612 SHORELINE RD                      APT C                                                     LK BARRINGTON    IL    60010‐3821
LORRAINE OWENS EX UW JAY D OWENS                    2912 PRESCOTT AVE                     APT 208                                                   DAYTON           OH    45406‐2749
LORRAINE P GILBERT                                  PO BOX 2185                                                                                     PALM HARBOR      FL    34682‐2185
LORRAINE P HICKS                                    4400 HULBERTON RD                                                                               HOLLEY           NY    14470‐9022
LORRAINE P LEDDEN                                   4 HIGHLAND ST                                                                                   TOWNSEND         MA    01469‐1001
LORRAINE P PETRIK TR UA 11/30/2007 LORRAINE P       16411 CHARLESTON                                                                                ROSEVILLE        MI    48066
PETRIK REV FAMILY TRUST
LORRAINE P PRICE                                    3255 BILL STRONG RD                                                                             EDWARDS          MS    39066‐9341
LORRAINE P PUGLISI TR LORRAINE P PUGLISI TRUST UA   100 MIDWOOD RD                                                                                  WEST BABYLON     NY    11704‐6605
04/05/01
LORRAINE P ROSE                                     35183 LIDO BLVD                                                                                 NEWARK           CA    94560‐1116
LORRAINE PANEK HANNY                                2424 HIGH RD                                                                                    HUNTINGTON       PA    0ZZZZ
                                                                                                                                                    VALLEY
LORRAINE PELLITTERI                                 47 HUTTON CIRCLE                                                                                CHURCHVILLE      NY    14428‐9107
LORRAINE PIEJAK                                     5628 PATTERSON                                                                                  TROY             MI    48098‐3924
LORRAINE PIERCE                                     3007 ELMWOOD DR                                                                                 PIERSON          MI    49339‐9789
LORRAINE PIERCE A MINOR UNDER GUARDIANSHIP OF       WHITEFISH LAKE                        3007 ELMWOOD DR                                           PIERSON          MI    49339‐9789
WATSON B PIERCE
LORRAINE PRINSTER PREUSS                            148 SUNDANCE DR                                                                                 GRAND JUNCTION   CO    81503‐2460

LORRAINE PROVOST‐VELLUTATO                          20574 CHENEY DR                                                                                 TOPANGA          CA    90290‐3714
LORRAINE R BARCOMB                                  PMB 2417                              779 E MERRITT ISLAND CSWY                                 MERRITT ISLAND   FL    32952‐3309
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Name                                               Address1                             Address2               Address3         Address4          City                State Zip

LORRAINE R DUFORD & BRIAN P BAKER JT TEN           3181 HIDDEN RD                                                                                 BAY CITY            MI    48706‐1204
LORRAINE R DUQUETTE                                169 WOODLAND ST                                                                                BRISTOL             CT    06010‐5157
LORRAINE R EBERT                                   5242 KING ARTHUR CIRCLE                                                                        BALTIMORE           MD    21237‐4026
LORRAINE R ENGLISH                                 5848 ST RTE 162                                                                                GLEN CARBON         IL    62034‐1804
LORRAINE R HUTT TR UA 1/3/92 LORRAINE R HUTT       3638 RIVER REST                                                                                CHEBOYGAN           MI    49721‐9598
TRUST
LORRAINE R IMAI                                    1542 N FRIES AVE                                                                               WILMINGTON          CA    90744‐2036
LORRAINE R KUDERNA TR LORRAINE R KUDERNA TRUST     9310 WHEELER DR                                                                                ORLAND PARK         IL    60462‐4736
UA 03/01/95
LORRAINE R MARCHESI                                8720 WIND RIVER DR                                                                             FORT WORTH          TX    76179‐5075
LORRAINE R NOWAK                                   101 VAGABOND DRIVE                                                                             HOUGHTON LAKE       MI    48629‐9140
LORRAINE R SENKOWSKI & PAMELA SCHUMACHER JT        1844 MORIN DR                                                                                  BAY CITY            MI    48708‐6956
TEN
LORRAINE R SHEREMETA                               6814 BLOOMFIELD GROVE PL                                                                       SEFFNER             FL    33584‐2522
LORRAINE R TESMER                                  127 FAYETTE AVE                                                                                BUFFALO             NY    14223‐2707
LORRAINE R WORTHAM & FRANK WORTHAM JT TEN          ATTN LORRAINE R CORNISH              121 OAK MEADOW CIR                                        BROOKLAND           AR    72417‐8845

LORRAINE ROWAN                                     17 COPRA LANE                                                                                  PACIFIC PALISADES   CA    90272‐4644

LORRAINE RYAN                                      26766 TRINIDAD ST                                                                              HAYWARD             CA    94545‐3353
LORRAINE S COOLEY                                  5416 BLODGETT AVE                                                                              DOWNERS GROVE       IL    60515‐5026
LORRAINE S MAIORIELLO TR UA 2/12/2008 LORRAINE S   785 BERKLEY AVE                                                                                ELMHURST            IL    60126
MAIORIELLO TRUST
LORRAINE SCHOENBORN                                18862 24TH AVE                                                                                 CONKLIN             MI    49403‐9724
LORRAINE SHUBERT TR LORRAINE SHUBERT TRUST UA      3506 MONTROSE AVE                                                                              LACRESCENTA         CA    91214‐3202
11/06/86
LORRAINE T CONNORS                                 PO BOX 1607                                                                                    TROY                MI    48099
LORRAINE T FORSLUND                                10785 VALLEY VIEW RD                 APT 210                                                   EDEN PRAIRIE        MN    55344‐3555
LORRAINE T FOSCOLO                                 392 FULTON AVE                                                                                 JERSEY CITY         NJ    07305‐1404
LORRAINE T MAJKA TR LORRAINE T MAJKA TRUST UA      14552 IVANHOE                                                                                  WARREN              MI    48093‐7402
12/10/96
LORRAINE T SPARKS & GREGORY W SPARKS JT TEN        9345 BRISTOL RD                                                                                SWARTZ CREEK        MI    48473‐8559

LORRAINE T SPARKS & LORI A HOWLETT JT TEN          9345 BRISTOL RD                                                                                SWARTZ CREEK        MI    48473‐8559
LORRAINE T SPARKS & ROBERT D SPARKS JT TEN         9345 BRISTOL RD                                                                                SWARTZ CREEK        MI    48473‐8559
LORRAINE T SPARKS & RONALD F SPARKS JT TEN         9345 BRISTOL RD                                                                                SWARTZ CREEK        MI    48473‐8559
LORRAINE T WILMETTE                                1051 CAMDEN HILL CT                                                                            LAWRENCEVILLE       GA    30045‐7486
LORRAINE V BOORE & KENNETH L BOORE JT TEN          34080 FAIRFAX DR                                                                               LIVONIA             MI    48152‐1252
LORRAINE V BORTZ                                   MIDDLECOURT                          PO BOX 695                                                HAMPDEN‐SYDNEY      VA    23943‐0695

LORRAINE V TOMASZEWSKI                             30482 DOVER                                                                                    FLATROCK           MI     48134‐1473
LORRAINE VITA                                      2064 CROPSEY AVE                                                                               BROOKLYN           NY     11214‐6253
LORRAINE W WOLF                                    333 CORKTREE CIRCLE                                                                            AUBURN             AL     36832
LORRAINE WAGNER                                    PO BOX 24                                                                                      OSAWATOMIE         KS     66064‐0024
LORRAINE WIMMER & JOSEPH WIMMER JT TEN             336 C‐2 PINE RIDGE CIRCLE                                                                      GREENACRES         FL     33463
LORRAINE Y VALENTINE                               9016 W SARGENT                                                                                 FOWLERVILLE        MI     48836‐9000
LORRAINE YAGGIE                                    611 WILLARD ST                                                                                 RIDGWAY            PA     15853‐9744
LORRAINE YAPPS COHEN                               550 WILDCAT TRAIL                    PO BOX 2042                                               DURANGO            CO     81302‐2042
LORRAINE YIM LEW                                   3718 ROLLING HILLS DR                                                                          PITTSBURG          CA     94565
LORRAINE YORIO & ROBERT YORIO JT TEN               160‐19 27TH AVE                                                                                FLUSHING           NY     11358‐1011
LORRAINE ZIRK                                      158 LITTLE FALLS ROAD                                                                          FAIRFIELD          NJ     07004‐2126
LORRAYNE M BASILE                                  11407 S FORRESTVILLE AVE                                                                       CHICAGO            IL     60628‐5109
LORRE L WHITE                                      420 E 54TH ST                        APT 23F                                                   NEW YORK           NY     10022‐5183
LORREL C ADRIAN                                    C/O MRS L RUBEN                      4752 MT LA PLATTA DR                                      SAN DIEGO          CA     92117‐3039
LORRESTINE COOK                                    10721 DEHAVEN                                                                                  PACOIMA            CA     91331‐2008
LORRETA R WINTER                                   20935 SUNNYDALE                                                                                SAINT CLAIR SHORES MI     48081‐3142

LORRETTA E SNYDER                                  33822 CASCO CT                                                                                 WESTLAND            MI    48186‐5409
LORRETTE C WILLIAMS                                15370 APPOLINE                                                                                 DETROIT             MI    48227‐4006
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Name                                                Address1                               Address2                 Address3        Address4          City             State Zip

LORRI A PEBBLES                                     62869 HIDDEN POND DR                                                                              WASHINGTON       MI    48094‐1594
LORRI A VANECEK CUST REBECCA A VANECEK UTMA IL      20 ROULOCK ROAD                                                                                   MONTGOMERY       IL    60530

LORRI L GILL                                        104 EAST 4TH                           BOX 282                                                    MERIDEN          IA    51037‐0282
LORRIE A CRAIG                                      331 ROSEWOOD DR                                                                                   JANESVILLE       WI    53545‐3355
LORRIE ENGEL TR HUDSON TRUST UA 12/16/99            2701 MACKENZIE TRAIL                                                                              AMARILLO         TX    79124‐3731
LORRIE J MUELLER & LEONARD MUELLER IV JT TEN        104 LILAC DRIVE                                                                                   TOMS RIVER       NJ    08753‐1310

LORRIE L KAISER TOD JAMES T KAISER SUBJECT TO STA   1230 SADDLE CREEK DR                                                                              PROSPER          TX    75078‐9484
TOD RULES
LORRIE LATTING MCCARTY                              6218 BALMORAL DR                                                                                  DUBLIN           OH    43017‐8529
LORRIE M PASCOE                                     2236 OAK SHADE DR                                                                                 DAVISON          MI    48423‐2125
LORRIE M VOYIAS                                     825 ARLINGTON AVE N                    APT 2                                                      ST PETERSBURG    FL    33701‐3650
LORRIE RAMSEY SLAUTER                               804 CHANDLER STREET                                                                               DAYTON           OH    45426‐2512
LORRIN M KOSHI                                      PO BOX 644                                                                                        CAPTAIN COOK     HI    96704‐0644
LORRINE M AULT                                      60 SOUTH PARK AVE                                                                                 SPENCER          IN    47460
LORRIS ROBINSON                                     1011 E 192ND PLACE                                                                                GLENWOOD         IL    60425‐2027
LORRONIA CARSON                                     5103 PENNSWOOD PLACE                                                                              JACKSON          MS    39206‐3121
LORRY A YOUNG & KEVIN YOUNG JT TEN                  640 ROCHESTER DR                                                                                  LAKE ORION       MI    48362‐2860
LORRY ANN YOUNG                                     640 ROCHESTER DRIVE                                                                               LAKE ORION       MI    48362‐2860
LORY ANN QUALLS GARCIA TR O LEARY FAMILY TRUST      14756 WILSON STREET                                                                               HESPERIA         CA    92345‐8559
UA 11/10/92
LORY LEE QUARANTA CUST LUKE QUARANTA UTMA CA        6018 NEFF                                                                                         DETROIT          MI    48224‐3820

LORY LEE QUARANTA CUST SETH QUARANTA UTMA CA        6018 NEFF                                                                                         DETROIT          MI    48224‐3820

LORY WALKER                                         417 BLACKFOOT                                                                                     WEST TAWAKONI    TX    75474‐6409
LORYN T ABRAMS                                      2613 SODA SPRINGS DR                                                                              MCKINNEY         TX    75071‐6214
LOS AMIGOS 4‐H CLUB                                 C/O SUZANNE WILSON                     201 NORTH OKLAHOMA ST                                      BONIFAY          FL    32425‐2243
LOS ANGELES COMMANDRY EYE FOUNDATION                PO BOX 3477                                                                                       GRANADA HILLS    CA    91394‐0477
LOS ANGELES COMMANDRY NO 9 KNIGHTS TEMPLAR          PO BOX 3477                                                                                       GRANADA HILLS    CA    91394‐0477

LOSE L ANDREWS JR                             4148 NC HIGHWAY 43 N                                                                                    GREENVILLE       NC    27834‐6148
LOST CREEK PRESBYTERIAN CHURCH                BOX 91                                                                                                  MCALISTERVILLE   PA    17049‐0091
LOST CREEK PRESBYTERIAN CHURCH                6 W MAIN ST                                                                                             MCALISTERVILLE   PA    17049
LOTHA JOANNE UTTER                            4992 ARCADIA DRIVE                                                                                      SANTA ROSA       CA    95401‐5620
LOTHAR BROWN & LINDA R RUTTA & ROBERT D BROWN 680 FORT WASHINGTON AVE                      APT 2K                                                     NEW YORK         NY    10040‐3970
& MICHAEL W BROWN JT TEN
LOTHAR FOX CUST IAN P FOX UTMA IN             2636 SWEETBRIAR DR                                                                                      CLAREMONT        CA    91711
LOTHAR G KNIEP                                65527 NIEDERNHAUSER                          NIN DER BITTERWIES #12   NIEDERNHAUSER   GERMANY
LOTHAR J BETZ                                 10284 NORTH LEWIS ROAD                                                                                  CLIO             MI    48420‐7938
LOTHAR J KRINGS                               91‐17 102ND ST                                                                                          RICHMOND HILL    NY    11418‐2914
LOTHAR K MAIER CUST MARK JOHN MAIER UGMA NJ   39 BLACK OAK LN                                                                                         MAHWAH TWP       NJ    07430‐1349

LOTHAR K STORCH                                     687 BOULDER LANE                                                                                  DALE             TX    78616‐2603
LOTHAR MACKOWIAK                                    MORSTATTWEG 5                          STUTTGART                                70374 GERMANY
LOTHAR R LOEWENTHAL                                 7486 NOTTINGHAM DR                                                                                LAMBERTVILLE     MI    48144‐9504
LOTHAR W KOERNER                                    7575 NORFOLK DR                                                                                   ONSTED           MI    49265‐9606
LOTSIE SCOTT                                        1794 SNYDERVILLE RD                                                                               SPRINGFIELD      OH    45502‐8531
LOTT H THOMAS                                       4009 LAKE POINT RD                                                                                CHAMPAIGN        IL    61822‐9761
LOTTA JEROME                                        BOX 265                                                                                           UPPER SADDLE     NJ    07458‐0265
                                                                                                                                                      RIVER
LOTTA P NEWMAN                                      19‐C MAPLE LANE                                                                                   BRIELLE          NJ    08730‐1305
LOTTE D GERONO & MARY ANN E GERONO JT TEN           3500 MARGE DR                                                                                     PITTSBURGH       PA    15234‐2009
LOTTE JACOB                                         240 CENTRAL AVE APT 3C                                                                            LAWRENCE         NY    11559‐1560
LOTTIE A ARCHACKI & EDWARD J ARCHACKI SR JT TEN     192 GREENE STREET                                                                                 BRISTOL          CT    06010‐6243

LOTTIE A NAPIER                                     4925 EMERALD LN                                                                                   BRUNSWICK        OH    44212‐1158
LOTTIE A OLEAR                                      17 TAYLOR LN                                                                                      WEST PATERSON    NJ    07424
                                                09-50026-mg            Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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LOTTIE C ADAMIAK                                  67 CLAYTON AVE                                                                               TRENTON          NJ    08619‐2907
LOTTIE CEIL KOCZANOWSKI                           37 WICK ST                                                                                   BUFFALO          NY    14212‐1833
LOTTIE E WILLIS                                   520 E PATERSON ST                                                                            FLINT            MI    48505‐4742
LOTTIE J FISHER                                   803 N VERMONT AVE                                                                            ROYAL OAK        MI    48067‐2023
LOTTIE JEANNETTE GLAZAR                           2151 WILLARD RD                                                                              CLIO             MI    48420
LOTTIE L CARROLL                                  326 CEDAR ST APT E                                                                           EDEN             NC    27288‐5557
LOTTIE L CHESSER                                  2227 LODGE RD                                                                                FLINT            MI    48532‐4955
LOTTIE LEE WEST                                   2404 PHOENIX ST                                                                              SAGINAW          MI    48601‐2463
LOTTIE LOUISE BURTON BOWMAN                       515 PARSONS AVE                                                                              GREENWOOD        MS    38930‐3620
LOTTIE LOWISZ                                     2121 GOLF CREST DR                                                                           MILFORD          MI    48382‐1257
LOTTIE M PISKOR                                   1632 RAINBOW DR                                                                              WEST BRANCH      MI    48661‐9757
LOTTIE M POKRZYWNICKI                             32549 VANDOVER                                                                               ST CLAIR SHOR    MI    48082‐3035
LOTTIE M WYDICK                                   38 WILLOW POND E                                                                             SAGINAW          MI    48603‐9640
LOTTIE MICENSKY                                   5450 MAPLE RDG                                                                               HASLETT          MI    48840‐8651
LOTTIE P BERGQUIST & KATHLEEN M POLLEY JT TEN     43455 FORTNER DR                                                                             STERLING HTS     MI    48313‐1740

LOTTIE PLANK & JOANNE A PLANK JT TEN              15123 FARMBROOK                                                                              PLYMOUTH         MI    48170‐2749
LOTTIE R DANIELS                                  978 PRINCEWOOD AVE                                                                           DAYTON           OH    45429‐5858
LOTTIE SLEZAK                                     917 BULLS HEAD RD                                                                            AMSTERDAM        NY    12010‐7603
LOTTIE SOBASZEK & MARSHALL SOBASZEK JT TEN        14531 CLEOPHUS                                                                               ALLEN PARK       MI    48101‐2638
LOTUS ANNE WAGNER                                 1707 NW 104TH ST                                                                             CLIVE            IA    50325
LOTUS L BUNKER & GEORGE BUNKER II & MAYNARD A     5852 LYONS                                                                                   IMLAY CITY       MI    48444‐8825
MESSNER JT TEN
LOU A MAHLICH                                     721 E PEARL ST                                                                               GREENVILLE       MI    48838‐1323
LOU A MC MAHAN                                    308 3RD AVE SE                                                                               HANKINSON        ND    58041‐4130
LOU A MOOS                                        503 N 5TH ST                                                                                 ELSBERRY         MO    63343‐1213
LOU A RUNNER                                      6250 CEMETERY RD                                                                             BOWLING GREEN    KY    42103‐7700
LOU A SCHLANHART & JAMES E SCHLANHART JT TEN      1153 W JULIAH                                                                                FLINT            MI    48505‐1407

LOU ALICE MARTIN EPTON                          489 DOUBLE BRIDGE ROAD                                                                         BOILING SPGS     SC    29316
LOU ANN BOYD CUST STEPHEN A BOYD UGMA MD        727 SUNNYFIELD LANE                                                                            BALTIMORE        MD    21225‐3364
LOU ANN COGAN                                   12050 TROLLEY RD                                                                               OAKLANDON        IN    46236‐3055
LOU ANN GIOFFRE                                 5 MEMORIAL DR                                                                                  BERLIN HEIGHTS   OH    44814‐9601
LOU ANN LOVE CUST NATALIE MICHELLE LOVE UGMA SC PO BOX 2144                                                                                    CAYCE WEST       SC    29171‐2144
                                                                                                                                               COLUMBI
LOU ANN M PRESBY                                  103 LONG BOW TR                                                                              OSPREY           FL    34229‐9498
LOU ANN R SINK                                    35 FOX CREEK DR                                                                              NORTH AUGUSTA    SC    29860‐9739
LOU ANN ROBINSON                                  238 E WALNUT ST                                                                              NICHOLASVILLE    KY    40356‐1252
LOU ANN SIEBERG & LOUIS S SIEBERG JT TEN          729 WOLF POINT ST                                                                            HENDERSON        NV    89002
LOU ANN WEYMER & PAUL P WEYMER JT TEN             3704 SMITH STEWART RD                                                                        NILES            OH    44446‐4427
LOU ANN WOLFORD                                   395 SYCAMORE LN                                                                              MADISONVILLE     KY    42431
LOU ANNE MAHAFFEY                                 ATTN LOU ANNE MUERI                1666 EDGEWOOD LN                                          SEWARD           NE    68434‐1190
LOU ARTRY SMITH                                   PO BOX 5128                                                                                  FLINT            MI    48505‐0128
LOU C POWELL                                      5166 BLACK FOOT DR                                                                           LITHONIA         GA    30038‐1102
LOU COOKE BRANNAN                                 APT 310                            1700 SE 15TH ST                                           FT LAUDERDALE    FL    33316‐3044
LOU COURSEY                                       5621 AMMONS ST                                                                               FORT WORTH       TX    76117‐2661
LOU DRAKE                                         200 UNIVERSITY AVE                                                                           WAXAHACHIE       TX    75165‐2350
LOU ELLEN KOWBEL                                  W685 MARIONDALE RD                                                                           BURLINGTON       WI    53105‐8421
LOU ELLEN LARRISON                                1801 N MORRISON ST                                                                           KOKOMO           IN    46901‐2148
LOU FRANCES C LIDE                                PO BOX 4                                                                                     NEWBERRY         SC    29108‐0004
LOU GWENDOLYN RUTH THOMSON                        15 BEXHILL AVE                     SCARBOROUGH ON                          M1L 3B3 CANADA
LOU J STRAUSS                                     11 FORT GEORGE HILL                APT 7D                                                    NEW YORK         NY    10040‐2534
LOU M LUCAS                                       22 COLONIAL HILLS PKWY                                                                       CREVE COEUR      MO    63141‐7731
LOU MATHEWS LUCAS & ARTHUR M LUCAS JT TEN         22 COLONIAL HILLS PKWY                                                                       CREVE COEUR      MO    63141‐7731
LOU MUZA                                          315 TANGLE RUN BLVD UNIT 1011                                                                MELBOURNE        FL    32940‐1827
LOU S OATES                                       1418 FEDERAL                                                                                 SAGINAW          MI    48601‐1813
LOU W ROBERSON                                    24885 RANDOLPH RD                                                                            BEDFORD          OH    44146‐3946
LOU WILLIE BAKER                                  6101 IVAWOOD DR                                                                              MEMPHIS          TN    38134‐5561
LOUANN B WEAVER                                   1027 KNOTTS POINTE DR                                                                        WOODSTOCK        GA    30188‐4626
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LOUANN M GRADY                                   9009 CRESTWOOD AVE NE                                                                         ALBUQUERQUE       NM    87112‐3913
LOUANN NORTON & RICHARD JOSEPH NORTON JT TEN     2214 CEDAR CIRCLE                                                                             CARROLLTON        TX    75006‐1913

LOUANN NORTON CUST BRIAN MATTHEW NORTON          2214 CEDAR CIRCLE                                                                             CARROLLTON        TX    75006‐1913
UTMA TX
LOUANNA M WILKINSON & LOUANNA M WILKINSON JT     16 SILVERSIDE RD                                                                              WILMINGTON        DE    19809‐1726
TEN
LOUANNE B COOPER & TONY COOPER JT TEN            4185 CLEARWATER WAY                                                                           LEXINGTON         KY    40515‐6072
LOUANNE HANDLEY                                  2526 KITTIWAKE DR                                                                             WILMINGTON        DE    19805‐1074
LOUANNE SAUSSER                                  6950 BELTON                                                                                   GARDEN CITY       MI    48135‐2288
LOUANNE SKEENES                                  14028 ERWYN ST                                                                                PHILADELPHIA      PA    19116‐1006
LOUANNE SNEDDEN                                  401 WILSON ST                                                                                 CLAYTON           NM    88415
LOUBA BLOCK CUST PETER BLOCK UTMA PA             10407 VALLEY FORGE CIR                                                                        KING OF PRUSSIA   PA    19406‐1126
LOUCILLE BOWIE                                   13347 MARK TWAIN                                                                              DETROIT           MI    48227‐2809
LOUDON LEE CAMPBELL IV                           3432 BONNIEBROOK DR                                                                           PLANO             TX    75075‐4705
LOUELLA B GORE                                   570 WAKEFIELD                       APT 2                                                     COURTLAND         OH    44410‐1549
LOUELLA HARKINS & ETHELDA I BURRUS JT TEN        10806 BROOKES RESERVE RD                                                                      UPPER MARLBORO    MD    20772‐6631

LOUELLA K DAIGLE                                 12462 NEWCASTLE AVE                                                                           BATON ROUGE       LA    70816‐8978
LOUELLA K UNDERWOOD                              5053 FAIRVIEW AVE                                                                             NEWTON FALLS      OH    44444‐9416
LOUELLA M GUILKEY                                16211 CUMBERLAND ROAD                                                                         NOBLESVILLE       IN    46060‐4107
LOUELLA MASON                                    522 HARRISON STREET                                                                           IONIA             MI    48846‐1819
LOUELLA MCDUGALD                                 1483 COUNTY RD 294                                                                            HILLSBORO         AL    35643‐3317
LOUETTA A ANTHONY                                4800 W 100 S                                                                                  RUSSIAVILLE       IN    46979‐9440
LOUETTA GOFF                                     115 LEITER ROAD                                                                               LUCAS             OH    44843‐9538
LOUGHLIN FINCL SVC LIMITED                       900A SOUTH MAIN STREET STE 101                                                                BEL AIR           MD    21014
LOUHON ALDEN TUCKER & CAROLYN ROSE TUCKER JT     1161 JOHNSON                                                                                  NAPERVILLE        IL    60540‐8278
TEN
LOUIDA TOWNSEND                                  2090 HIGHWAY 14 NORTH                                                                         COVINGTON         TN    38019‐7956
LOUIE A PATERNO JR                               BOX 2791                                                                                      CHARLESTON        WV    25330‐2791
LOUIE A RIVERA                                   13497 CHIVERS AVE                                                                             SYLMAR            CA    91342‐2118
LOUIE C MOORE                                    228 SOUTH 72ND PLACE                                                                          MESA              AZ    85208‐1104
LOUIE C SOULERET                                 995 LIBERTY                                                                                   LINCOLN PARK      MI    48146‐3608
LOUIE D MORGAN                                   515 BRIARWOOD DR                                                                              TIFTON            GA    31794‐6159
LOUIE E WIGGINS JR & ANGELINE H WIGGINS JT TEN   525 FOOTMAN LANDING                                                                           MERRITT ISLAND    FL    32952‐5235

LOUIE F WILDER                                   2312 RICHMOND ST SW                                                                           DECATUR           AL    35603‐1184
LOUIE G LINDERMYER                               1018 S W 1301 RD                                                                              HOLDEN            MO    64040‐9294
LOUIE G YEN & MRS YOOK JIN LOUIE JT TEN          1 EDITH DR                                                                                    LAWRENCEVILLE     NJ    08648‐2033
LOUIE J MARTIN                                   3150 KIRK RD                                                                                  MONROE            GA    30656‐3988
LOUIE J YEN & MRS YOOK J LOUIE JT TEN            1 EDITH DR                                                                                    LAWRENCEVILLE     NJ    08648‐2033
LOUIE K SCHWERIN                                 3174 SOUTH OAK ROAD                                                                           DAVISON           MI    48423‐9161
LOUIE L DE RISO                                  12030 FAUST                                                                                   DETROIT           MI    48228‐1144
LOUIE L SHERRILL                                 40638 CARLISLE AVE                                                                            ELYRIA            OH    44035‐7928
LOUIE P FAULKNER & NANCY F LILES JT TEN          343 HUSTLEVILLE RD                                                                            ALBERTVILLE       AL    35951‐5421
LOUIE PERRY                                      25140 PLEASANT WAY                                                                            HAYWARD           CA    94544‐2335
LOUIE PHILLIPS                                   9520 PORT ROYAL                                                                               MARTINSVILLE      IN    46151‐8392
LOUIE PINA                                       208 FRANK AVE                                                                                 OXNARD            CA    93033‐5355
LOUIE R COLE                                     4375 HATCHERY                                                                                 WATERFORD         MI    48329‐3628
LOUIE R JENKINS & KATHLEEN CRICKMAN TEN COM      7246 FOXWORTH DRIVE                                                                           DALLAS            TX    75248‐3034

LOUIE R LAVORATA                                 38‐B LANEER                                                                                   JEKYLL ISLE       GA    31527‐0662
LOUIE R SMITH                                    2987 SUNNYCREST DR                                                                            KALAMAZOO         MI    49001‐1171
LOUIE R STAPLETON                                1606 DRAGOON                                                                                  DETROIT           MI    48209‐2048
LOUIE REYES JR CUST BRENDEN REYES UTMA MD        218 OSBORNE AVE                                                                               CATONSVILLE       MD    21228
LOUIE RUGGIRELLO                                 5596 MARTELL                                                                                  TROY              MI    48098‐3117
LOUIE SCALA                                      108 BLANCHARD PL                                                                              MADISON           AL    35758‐6865
LOUIE TRUJILLO                                   10132 RYANS WAY                                                                               GLOUCESTER        VA    23061
LOUIE W RYDER                                    5975 HARVEY ST R1                                                                             HASLETT           MI    48840‐8213
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LOUINE O'HEARN HAMILTON                           7790 S HIGH ST                                                                                CENTENIAL          CO    80122‐3122
LOUINIA MAE WHITTLESEY                            ONE BRATENAHL PLACE                                                                           BRATENAHL          OH    44108‐1181
LOUIS A AUCLAIR                                   21 DEERBROOK LANE                                                                             CUMBERLAND         RI    02864‐1126
LOUIS A BEIGEL                                    391 HAWKEYE LN                                                                                HAINES CITY        FL    33844‐8638
LOUIS A BEIGEL & MRS DEZZIE C BEIGEL JT TEN       391 HAWKEYE LN                                                                                HAINES CITY        FL    33844‐8638
LOUIS A BRUNCKHORST & RITA M BRUNCKHORST III JT   1105 5TH ST N                                                                                 SARTELL            MN    56377‐1763
TEN
LOUIS A BRUNCKHORST III & RITA M BRUNCKHORST JT   1105 5TH ST N                                                                                 SARTELL            MN    56377‐1763
TEN
LOUIS A CAMACCI                                   4096 TIMBERBROOK DR                                                                           CANFIELD           OH    44406‐9338
LOUIS A CAPUANO                                   1527 BACA COURT SE                                                                            LOS LUNAS          NM    87031‐9262
LOUIS A CARGNINO & MRS SUSAN A CARGNINO JT TEN    6 WELLINGTON ROAD                   WILSHIRE                                                  WILMINGTON         DE    19803‐4130

LOUIS A CARUSO & ROSEMARY A CARUSO JT TEN         8 ROCKVIEW TERR                                                                               NORTH PLAINFIELD NJ      07060‐4514

LOUIS A CERVI                                  100 DANA CIRCLE                                                                                  OCEAN SPRINGS      MS    39564‐5504
LOUIS A CORDISCO                               347 DEER DR                                                                                      LANGHORNE          PA    19047‐3168
LOUIS A COTE JR                                1148 SW 42ND ST                                                                                  CAPE CORAL         FL    33914‐5703
LOUIS A CRAGO                                  2245 E STATE ST EXT                                                                              HUNTINGTON         IN    46750‐3037
LOUIS A DOBBS                                  1012 SW 15TH ST                                                                                  BLUE SPRINGS       MO    64015‐4804
LOUIS A DURGIN                                 PO BOX 126                                                                                       POULTNEY           VT    05764‐0126
LOUIS A FELLIN                                 3713 MT OLNEY LN                                                                                 OLNEY              MD    20832‐1119
LOUIS A FIGULI                                 850 BUFFVIEW DR                                                                                  COLUMBUS           OH    43235‐1728
LOUIS A FRECHETTE & NORMA J FRECHETTE JT TEN   6045 PINE ST                                                                                     HUBBARD LAKE       MI    49747‐9648
LOUIS A GAST                                   BOX 96                                                                                           MOZELLE            KY    40858‐0096
LOUIS A HARTMANN                               3937 BAYVILLE RD                                                                                 BALTIMORE          MD    21220‐3037
LOUIS A HILL                                   822 E 79 ST                                                                                      LOS ANGELES        CA    90001‐3204
LOUIS A HOSTA                                  5102 WOOD AVE                                                                                    PARMA              OH    44134‐2360
LOUIS A JOHNSON                                36661 JEFFERSON CT                     APT 794                                                   FARMINGTN HLS      MI    48335
LOUIS A JOHNSON CUST ALYSSA L RITTENHAUSE UTMA 1601 SOUTH MARY STREET                                                                           EUSTIS             FL    32726‐5691
FL
LOUIS A JOHNSON CUST MATTHEW L JOHNSON UTMA FL 1601 MARY STREETS                                                                                EUSTIS             FL    32726

LOUIS A JORDAN                                    13621 GRIGGS                                                                                  DETROIT            MI    48238‐2220
LOUIS A KING                                      PO BOX 1366                                                                                   LAKE HAVASU CITY   AZ    86405‐1366

LOUIS A LATOUSKE JR                               10749 DORCHESTER                                                                              WESTCHESTER        IL    60154‐4243
LOUIS A LATOUSKE JR & HELEN M LATOUSKE JT TEN     10749 DORCHESTER                                                                              WESTCHESTER        IL    60154‐4243

LOUIS A LETOURNEAU                                1216 1/2 WELLINGTON                                                                           BAY CITY           MI    48706‐4167
LOUIS A LUMPKIN CUST DAVID F LUMPKIN UGMA IN      4882 U S 40                                                                                   CENTERVILLE        IN    47330

LOUIS A MISSITTI                                5101 ARBOR LANE                                                                                 FLINT              MI    48506‐1625
LOUIS A MONTES & RICHARD F MONTES JT TEN        41‐42 50TH STREET                                                                               WOODSIDE           NY    11377‐4354
LOUIS A MOROCCO                                 318 PENNSYLVANIA AVE                                                                            MCDONALD           OH    44437‐1938
LOUIS A PAGAN                                   337 62ND ST                                                                                     BROOKLYN           NY    11220‐4413
LOUIS A PORETTI                                 212 PENNLS DR                                                                                   ROCHESTER          NY    14626‐4914
LOUIS A RAMEY                                   344 CLEVELAND AVE                                                                               GLENDALE           OH    45246‐4624
LOUIS A RICKER                                  BOX 274                                                                                         OTTOVILLE          OH    45876‐0274
LOUIS A RIVERA                                  2912 CHILI AVENUE                                                                               ROCHESTER          NY    14624‐4839
LOUIS A RODRIGUEZ                               765 CEDAR AVE                                                                                   ELIZABETH          NJ    07202‐2433
LOUIS A RUET & MRS RENEE L WEAVER JT TEN        124 DEEPWOOD DR                                                                                 LEBANON            CT    06249‐2143
LOUIS A SAVARESE CUST SAMANTHA BLAKE SAVARESE A 8 GRIMAL CT                                                                                     RANDOLPH           NJ    07869‐1409
UGMA NY
LOUIS A SCHAEFER                                9387 N EASTON RD                                                                                CLARKSON           MI    48348‐3929
LOUIS A SCHOWENGERDT                            2807 LISA LN                                                                                    KANSAS CITY        MO    64129‐1250
LOUIS A SCHUPPIN                                4006 N 24TH RD                                                                                  ARLINGTON          VA    22207‐5102
LOUIS A SENECHAL                                24415 PATRICIA X                                                                                WARREN             MI    48091‐5610
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LOUIS A SEUFERT                                      4340 31ST AVE NORTH                                                                             SAINT PETERSBURG FL    33713‐2135

LOUIS A SHEPHERD JR & GENEVA SHEPHERD JT TEN         2208 NW 8TH ST                                                                                  BLUE SPRINGS     MO    64015‐1598

LOUIS A SOFO & MRS EILEEN L SOFO JT TEN              200 PINE ACRES BLVD                                                                             DEER PARK        NY    11729‐1301
LOUIS A SPANO                                        7 KILBEGGAN GREEN                                                                               PERRY HALL       MD    21236‐2251
LOUIS A VARGA                                        11725 MORNING AVE                                                                               DOWNEY           CA    90241‐4707
LOUIS A VECHELL                                      3255 KETZLER DR                                                                                 FLINT            MI    48507‐1302
LOUIS A VEDRODE JR                                   2040 S MERRILL RD                                                                               MERRILL          MI    48637‐9703
LOUIS A VENTURA CUST LOUIS ALEXANDER VENTURA         C/O JOHN VENTURA                      2203 OLD ROUTE 220N                                       DUNCANSVILLE     PA    16635‐8209
UNDER THE PA U‐G‐M‐A
LOUIS A WEBER                                        15 VICTOR DR                                                                                    MOORESVILLE      IN    46158‐1061
LOUIS ABOTO JR                                       9434 S E 137TH STREET RD                                                                        SUMMERFIELD      FL    34491‐8208
LOUIS ACKER                                          28 BYRON DRIVE                                                                                  AVON             CT    06001‐4507
LOUIS AMSHOFF                                        4917 HICKORY HOLLOW LANE                                                                        SHEPHERDSVILLE   KY    40165‐9493
LOUIS ANTHONY KOOS                                   9503 LOCUST AV                                                                                  NEWAYGO          MI    49337‐9277
LOUIS ANTHONY PAVLOVICH                              30471 PASEO DEL VALLE                                                                           LAGUNA NIGUEL    CA    92677‐2312
LOUIS ARNOLD                                         3811 ZINSLE AVE                                                                                 CINCINNATI       OH    45213‐1932
LOUIS B ACHILLE                                      6396 EMERALD LAKE DR                                                                            TROY             MI    48085‐1338
LOUIS B ARTERBURN                                    632 KNOLLWOOD DR                                                                                COLUMBUS         IN    47203‐9334
LOUIS B ARTERBURN & BETTY L ARTERBURN JT TEN         632 KNOLLWOOD DR                                                                                COLUMBUS         IN    47203‐9334

LOUIS B DEBENEDITTIS                                 504 LONG BEACH ROAD                   ST JAMES                                                  SAINT JAMES      NY    11780
LOUIS B EARLE                                        3220 ARKANSAS                                                                                   WICHITA          KS    67204‐4341
LOUIS B ESPARZA                                      304 LAURIE DR                                                                                   LOCKPORT         IL    60441‐3211
LOUIS B FILIPPONE & CHRISTINE L FILIPPONE JT TEN     320 WILLOW BROOK RD                                                                             BOOTHWYN         PA    19061‐2827

LOUIS B GIESECKE                                     2136 N STATE ST                                                                                 BELVIDERE        IL    61008‐1959
LOUIS B HARDING 3RD                                  PO BOX 111                                                                                      BELFAST          ME    04915‐0111
LOUIS B JONES                                        3388 EWALD CIR                                                                                  DETROIT          MI    48238‐3166
LOUIS B KARASIN                                      91 MICHAUD RD                                                                                   RICHFORD         NY    13835‐1344
LOUIS B KAUFMAN & ELAINE KAUFMAN JT TEN              1814 FLINT OAK                                                                                  SAN ANTONIO      TX    78248‐1808
LOUIS B MARTINEZ & EMILY J MARTINEZ JT TEN           998 ELLIOTT DR                                                                                  LEWISTON         NY    14092‐2018
LOUIS B MC DOWELL                                    2300 SILVERRIDGE CIR                                                                            RENO             NV    89509‐5071
LOUIS B MORENO                                       3761 SPRINGS RANCH DR                                                                           COLORADO SPRINGS CO    80922‐3154

LOUIS B MUENCH & BERNICE MUENCH JT TEN               31700 WESTLADY DR                                                                               BEVERLY HILL     MI    48025‐3745
LOUIS B PAUL TOD SUSAN I POLK SUBJECT TO STA TOD     9830 REECK RD                                                                                   ALLEN PARK       MI    48101‐3709
RULES
LOUIS B ROSENBERG                                    12621 VIA LUCIA                                                                                 BOYNTON BEACH    FL    33436‐5847
LOUIS B SABO                                         2903 WHISPERING PINES                                                                           CANFIELD         OH    44406‐9649
LOUIS B SUKALA                                       7909 HOLLOPETER RD                                                                              LEO              IN    46765‐9783
LOUIS B SUNDERLAND                                   BOX 304                                                                                         WATSEKA          IL    60970‐0304
LOUIS B TERRY                                        245 WATERFORD DR                                                                                CENTERVILLE      OH    45458‐2523
LOUIS BALDASSARRE                                    308 SEATON AVENUE                                                                               ROSELLE PARK     NJ    07204‐1516
LOUIS BASSIER                                        3918 CHEROKEE AVE                                                                               FLINT            MI    48507‐2876
LOUIS BATTAGLIA & ELEANOR W BATTAGLIA JT TEN         23 PATRICIA AVE                                                                                 CONGERS          NY    10920‐1513

LOUIS BAYER                                          120 LOST COVE DR                                                                                SPICEWOOD        TX    78669
LOUIS BETSTADT & LINDA BETSTADT JT TEN               60 COUNCIL ROCK AVE                                                                             ROCHESTER        NY    14610‐2503
LOUIS BLUMENFELD                                     10 STUART DR                                                                                    BLOOMFIELD       CT    06002‐1525
LOUIS BOLTON & BARBARA S BOLTON JT TEN               3821 COVE DRIVE                                                                                 BIRMINGHAM       AL    35213‐3801
LOUIS BROWN                                          1720 SYCAMORE ST                                                                                SAGINAW          MI    48602‐2952
LOUIS BROWN JR                                       16160 SUSSEX                                                                                    DETROIT          MI    48235‐3852
LOUIS BROWN JR                                       24 BELCOURT ST                                                                                  AMHERST          NY    14226‐1525
LOUIS C ACRUMAN II & DIAN M ACRUMAN JT TEN           PO BOX 237                                                                                      TEXARKANA        TX    75504‐0237
LOUIS C ALONGE                                       300 MAKENZIE COURT                                                                              THOUSAND OAKS    CA    91362‐3086
LOUIS C BAZNER                                       ROUTE 1                               TASKER ROAD                                               LAKE ODESSA      MI    48849‐9801
LOUIS C DAUW                                         28537 JANE                                                                                      ST CLR SHRS      MI    48081‐1029
                                           09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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LOUIS C DHO & ELEANOR M DHO JT TEN                2653 E 18TH ST                                                                                BROOKLYN           NY    11235‐3601
LOUIS C FRANCISCO                                 73840 CALLE BISQUE                                                                            PALM DESERT        CA    92260‐0300
LOUIS C GUTIERREZ                                 7935 SWAN CREEK RD                                                                            NEWPORT            MI    48166‐9798
LOUIS C HUGGINS                                   G8268 VANADIA DR                                                                              MT MORRIS          MI    48458
LOUIS C JACKSON                                   15493 INDIANA                                                                                 DETROIT            MI    48238‐1101
LOUIS C KAYE                                      34033 BARTON                                                                                  WESTLAND           MI    48185‐3506
LOUIS C KNAPP & MELJEAN C KNAPP TR UA 01/28/93    40352 HARMON                                                                                  STERLING HEIGHTS   MI    48310‐1922
KNAPP FAMILY TRUST
LOUIS C MANETTA                                   3950 TIMBERWOODS CT                                                                           LOVELAND           OH    45140‐5582
LOUIS C MCLILLY                                   613 PARKWAY ST                                                                                FLINT              MI    48505
LOUIS C MILLER & GERALDINE P MILLER JT TEN        2916 BERNADETTE DR                                                                            YOUNGSTOWN         OH    44509‐3004
LOUIS C PARKER                                    6132 TUTTLE HILL ROAD                                                                         YPSILANTI          MI    48197‐9722
LOUIS C PECK III                                  4383 EAST AVENUE                                                                              ROCHESTER          NY    14618‐3828
LOUIS C PERRY                                     2930 RAWSON ST                                                                                OAKLAND            CA    94619‐3378
LOUIS C RODDY                                     3607 ARCHWOOD                                                                                 CLEVELAND          OH    44109‐2541
LOUIS C SCHAFER                                   4533 LYONS RD                                                                                 LYONS              MI    48851‐9693
LOUIS C SHAW & AMERICA P SHAW JT TEN              10900 VILLAGE GROVE DR UNIT B                                                                 SAINT LOUIS        MO    63123
LOUIS C SHELLMAN                                  498 NEVADA                                                                                    PONTIAC            MI    48341‐2549
LOUIS C SMITH                                     511 S MEADE ST APT 12                                                                         FLINT              MI    48503‐2290
LOUIS C WILLIAMS                                  2292 PROZELLERS RD                                                                            ALLEGANY           NY    14706‐9730
LOUIS C ZALAC JR                                  7333 BEDELL ROAD                                                                              BERLIN CENTER      OH    44401‐9714
LOUIS C ZEMBO                                     37938 LORIE BLVD                                                                              AVON               OH    44011‐1154
LOUIS CAFIERO                                     433 KING RICHARD DR                                                                           VIRGINIA BEACH     VA    23452‐5756
LOUIS CALIGIURI & MAUREEN CALIGIURI JT TEN        159 PINE RIDGE RD                                                                             READING            MA    01867‐3739
LOUIS CANTERBURY                                  124 MIDWAY CIRCLE                                                                             LOUISVILLE         TX    75057‐2213
LOUIS CAPLAN TOD SARAH KAREN SUBJECT TO STA TOD   23 RED MILE CT                                                                                REISTERSTOWN       MD    21136‐3544
RULES
LOUIS CAPPELLINI JR & DENISE CAPPELLINI JT TEN    64 STONEHILL DR S                                                                             MANHASSETT         NY    11030‐4428

LOUIS CARR JR                                     217 DILLON DR                                                                                 VIRGINIA BCH       VA    23452‐6701
LOUIS CATALANO                                    2926 HALIFAX                                                                                  WEST CHESTER       IL    60154‐5002
LOUIS CATALANO                                    5212 HEDGES AVENUE                                                                            KANSAS CITY        MO    64133‐7923
LOUIS CIFALDO                                     7100 ULMERTON RD                    LOT 2020                                                  LARGO              FL    33771‐5131
LOUIS CIORRA                                      61‐11 218TH ST                                                                                BAYSIDE            NY    11364‐2223
LOUIS CLYDE WADDELL JR                            10727 TARRINGTON DR                                                                           HOUSTON            TX    77024‐3127
LOUIS COFFIN                                      4 CEDAR CROFT                                                                                 OTTUMWA            IA    52501‐5801
LOUIS COHEN                                       24815 TUNBRIDGE LN                                                                            CLEVELAND          OH    44122‐1640
LOUIS COMENITZ CUST DAVID COMENITZ UGMA MA        64 WOOLLEY AVE                                                                                SOMERSET           MA    02726‐4612

LOUIS CONLEY                                      6319 BROWN AVE                                                                                BALTIMORE        MD      21224‐6130
LOUIS CONSIGLIO                                   44070 TRENT DR                                                                                CLINTON TOWNSHIP MI      48038‐5306

LOUIS COPE                                        1284 E MINER RD                                                                               MAYFIELD HEIGHTS OH      44124‐1771

LOUIS COSY YOUNG                                686 WALDEN AVE                                                                                  BUFFALO            NY    14211‐2540
LOUIS CRISTADORO & MRS JOSEPHINE CRISTADORO JT 25 TOWER BROOK RD                                                                                HINGHAM            MA    02043‐3168
TEN
LOUIS CUEVAS                                    171 W 12TH ST                                                                                   NY                 NY    10011‐8225
LOUIS D BOLTON III                              530 MONET DR                                                                                    ROCKVILLE          MD    20850‐3020
LOUIS D CARUFEL CUST MARJORIE M CARUFEL UGMA MI 1424 CAROLINA                                                                                   MARYSVILLE         MI    48040‐1616

LOUIS D CARUFEL CUST MARK D CARUFEL UGMA MI       1424 CAROLINA                                                                                 MARYSVILLE         MI    48040‐1616

LOUIS D CLARKE                                    1312 E CORNELL AVE                                                                            FLINT              MI    48505‐1751
LOUIS D DEHRING TR LOUIS DEHRING TRUST UA 1/17/95 3809 MONAGHAN POINT RD                                                                        ALPENA             MI    49707‐8923

LOUIS D DUDLEY                                    2115 HUMMER LAKE ROAD                                                                         OXFORD             MI    48371‐2923
LOUIS D GERLACH                                   1341 STATE RTE 3                                                                              REDBUD             IL    62278‐1099
LOUIS D HUTCHINS                                  5600 S 850 E                                                                                  HAMILTON           IN    46742‐9560
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LOUIS D MCCLELLAND                                2260 LICK CREEK RD                                                                            BIG SANDY        TN    38221‐4210
LOUIS D MILLER                                    1893 COUNTY ROAD 2050                                                                         HULL             TX    77564
LOUIS D MOSCATIELLO & GERALDINE MOSCATIELLO JT    1270 STADIUM AVE                                                                              BRONX            NY    10465‐1528
TEN
LOUIS D PATE                                      1657 COUNTY RD 1118                                                                           ATLANTA          TX    75551‐6687
LOUIS D PIKE                                      85 HUNTING TRAIL                                                                              MORELAND HILLS   OH    44022‐2565
LOUIS D ROWLEY                                    607 CIRCLEWOOD DR S                                                                           PORTAGE          MI    49002‐0540
LOUIS D SIRIANNI                                  27 BENDING OAK DR                                                                             PITTSFORD        NY    14534‐3330
LOUIS D TILSON                                    PO BOX 581                                                                                    HOLDEN           MA    01520‐0581
LOUIS D VIZIOLI & MRS DOLORES I VIZIOLI JT TEN    60 RIDGEMONT DR                                                                               HOPEWELL JCT     NY    12533
LOUIS D WILKINS                                   15 CARROLL ST                                                                                 PORTLAND         ME    04102‐3501
LOUIS D WILLIAMS                                  26215 WEST 73RD ST                                                                            SHAWNEE          KS    66227‐2506
LOUIS DALLOCCHIO                                  26029 BERG RD                                                                                 SOUTHFIELD       MI    48034‐2419
LOUIS DANIEL                                      23585 EDINBURGH                                                                               SOUTHFIELD       MI    48034‐4816
LOUIS DASH JR                                     210 RUGBY AVENUE                                                                              ROCHESTER        NY    14619‐1140
LOUIS DE LA VEGA                                  1622 E PUENTE AVE                                                                             WEST COVINA      CA    91791‐1064
LOUIS DE LA VEGA & MRS MARGARET O DE LA VEGA JT   1622 E PUENTE AVE                                                                             WEST COVINA      CA    91791‐1064
TEN
LOUIS DELGADO                                     1778 WABASH                                                                                   DETROIT          MI    48216‐1844
LOUIS DELLERMAN                                   3284 MARCH TERR                                                                               CINCINNATI       OH    45239‐5468
LOUIS DI LEONE                                    495 QUINTARD AVE                                                                              ORANGE           CT    06477‐2512
LOUIS DIGRAZIA JR                                 320 COOK AVE                                                                                  MIDDLESEX        NJ    08846‐2001
LOUIS DONALD SNYDER                               16244 SOUTH MILITARY TRAIL          SUITE 560                                                 DELRAY BEACH     FL    33484‐6532
LOUIS DU PONT                                     AVENUE DE L'EQUERRE 4/10            B‐1348 LOUVAIN‐LA‐NUEVE                 BELGIUM
LOUIS E BAER                                      7530 ORCHARD ST                     APT 37                                                    RIVERSIDE        CA    92504‐3703
LOUIS E BASHAKES & CATHERINE P BASHAKES JT TEN    1525 NORTHWOOD BLVD                                                                           ROYAL OAK        MI    48073‐3124

LOUIS E BEDDICK                                   1248 WILLOWBROOK                                                                              BELLE VERNON     PA    15012‐4311
LOUIS E BELLGRAPH JR                              7584 HAMMOND AVENUE                                                                           CALEDONIA        MI    49316‐9114
LOUIS E BOHUSLAV                                  782 ELMHURST RD                                                                               SEVERN           MD    21144
LOUIS E BOONE                                     3603 ADAMS                                                                                    INDEPENDENCE     MO    64055‐3525
LOUIS E BOUR                                      1105 EDEN CIRCLE                                                                              SPRING HILL      FL    34606‐5133
LOUIS E CAMRAS TR LOUIS E CAMRAS TRUST UA         624 COTTAGE ROAD                                                                              BATAVIA          IL    60510‐3381
04/04/00
LOUIS E CAVAGNARO & GENEVA CAVAGNARO JT TEN       103 OAKLAND AVE                                                                               MILLER PLACE     NY    11764‐3117

LOUIS E CAVAGNARO TR ELVIRA CAVAGNARO             103 OAKLAND AVE                                                                               MILLER PLACE     NY    11764‐3117
IRREVOCABLE TRUST UA 01/08/04
LOUIS E CHAGNON & CAROLE A CHAGNON JT TEN         60 JOHN ST                                                                                    SOMERSET         MA    02725‐2037
LOUIS E CLARK                                     7510 SHARON LEE LN                                                                            ARLINGTON        TX    76001‐7049
LOUIS E DE JONGE                                  2500 BRETON WOODS DR SE             UNIT 2040                                                 GRAND RAPIDS     MI    49512‐9128
LOUIS E DU BOIS                                   C/O DOLORES DUBOIS                  455 DILLER AVE                                            WEST MIFFLIN     PA    15122‐1220
LOUIS E FRANKLIN                                  824 BRIDGEPORT DR                                                                             DESOTO           TX    75115‐2816
LOUIS E FULTS JR                                  8322 CORUNNA ROAD                                                                             FLINT            MI    48532‐5501
LOUIS E FULTS JR & CAROLYN J FULTS JT TEN         8322 CORUNNA RD                                                                               FLINT            MI    48532‐5501
LOUIS E GHIOTTI                                   667 VIOLET AVE #69                                                                            HYDE PARK        NY    12538‐1745
LOUIS E HOBSON                                    25 SKYLINE DR                                                                                 TUSCALOOSA       AL    35405‐4144
LOUIS E KENERLY                                   3267 FULLERTON                                                                                DETROIT          MI    48238‐3303
LOUIS E KUMHER                                    9403 STAR ROUTE 193                                                                           FARMDALE         OH    44417
LOUIS E LAVAGNO TR UA 11/09/90 LOUIS E LAVAGNO    15016 BEELER AVE                                                                              HUDSON           FL    34667‐3832
TRUST
LOUIS E MAIER                                     G‐3100 MILLER RD #2‐A                                                                         FLINT            MI    48507‐1306
LOUIS E MAIETTA                                   33 MADDEN AVE                                                                                 MILFORD          MA    01757‐2317
LOUIS E MONARQUE                                  10208 MATHER AVE                                                                              SUNLAND          CA    91040‐3348
LOUIS E MOORE                                     3509 JACKSON                                                                                  SHREVEPORT       LA    71109‐4103
LOUIS E NADER                                     64 BELL ST                                                                                    BLOOMFIELD       NJ    07003‐4134
LOUIS E NAVIN CUST TERESA L NAVIN UGMA MN         4490 STARK RD                                                                                 HARRIS           MN    55032‐3344
LOUIS E NEUENDORF                                 619 ARNOLD ROAD                                                                               SANDWICH         IL    60548‐1114
LOUIS E OELKLAUS                                  17259 SE 65 RDH TERRACE                                                                       DEARBORN         MO    64439
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LOUIS E PERRY & JULIA A PERRY JT TEN              726 A BERKSHIRE RD                                                                              DAYTON           OH    45419‐3731
LOUIS E PETERMAN JR                               22353 N ANGLING RD                                                                              CENTREVILLE      MI    49032‐9749
LOUIS E PHIPPS & DOROTHY J PHIPPS JT TEN          7913 JODY KNOLL ROAD                                                                            BALTIMORE        MD    21244‐2975
LOUIS E SEKERKA                                   17615 HEISER RD                                                                                 BERLIN CENTER    OH    44401‐8768
LOUIS E SHAFER                                    1576 TOMLINSON RD                                                                               MASON            MI    48854‐9257
LOUIS E SHEETS                                    14833 INDIGO LAKES CIR                                                                          NAPLES           FL    34119‐4813
LOUIS E SUDETH                                    3411 MOFFAT                                                                                     TOLEDO           OH    43615‐1337
LOUIS E TEITELMAN CUST MASON B TEITELMAN UGMA 119 GARNETT LN                                                                                      EGG HBR TWP      NJ    08234‐5962
NJ
LOUIS E TRACY                                     903 S MAIN ST APT 6                                                                             HOMER            IL    61849‐1527
LOUIS E VEGH & LOUISE M VEGH TR VEGH LIVING TRUST 57 VOORHEES CORNER ROAD                                                                         FLEMINGTON       NJ    08822‐2065
UA 04/03/99
LOUIS E WALLACE                                   106 ROAT ST                                                                                     ITHACA           NY    14850‐2736
LOUIS E WALLACE & MRS ANNE WALLACE JT TEN         106 ROAT ST                                                                                     ITHACA           NY    14850‐2736
LOUIS E WILLIAMS                                  3658 ROCKFORT BRIDGE DRIVE                                                                      COLUMBUS         OH    43221‐4553
LOUIS EHRENBERG & ANITA EHRENBERG JT TEN          7 E 86TH ST APT 10D                                                                             NEW YORK         NY    10028‐0522
LOUIS ELSTON                                      PO BOX 282                                                                                      DARROUZETT       TX    79024‐0282
LOUIS ELSTON                                      7236 MALLARD                                                                                    ST LOUIS         MO    63133‐1224
LOUIS ESTERHAI                                    2265 E CRANBERRY LAKE RD                                                                        HARRISON         MI    48625‐8151
LOUIS F BELL & MRS ANN S BELL JT TEN              3919 LAIRD LANE                                                                                 CHATTANOOGA      TN    37415‐3619
LOUIS F BIEDRON                                   4703 HILLS AND DALES RD NW            APT 309                                                   CANTON           OH    44708‐6219
LOUIS F BRANDON                                   1500 STONEWOOD RD                                                                               BALTO            MD    21239‐4039
LOUIS F CAITO                                     311 LOWELL ROAD                                                                                 TONAWANDA        NY    14217‐1236
LOUIS F COMES                                     7419 CHESAPEAKE RD                                                                              BALTIMORE        MD    21220‐1102
LOUIS F FRIEDMAN                                  4611 BEDEL STREET                                                                               WOODLAND HILLS   CA    91364‐4520

LOUIS F GIANNUZZI                                   25 W 54TH ST                                                                                  NEW YORK        NY     10019‐5404
LOUIS F HEID IV                                     2612 WATERS EDGE TRL                                                                          ROSWELL         GA     30075‐8215
LOUIS F JARJOSA                                     5466 W BLOOMFIELD LAKE DRIVE                                                                  WEST BLOOMFIELD MI     48323‐2412

LOUIS F MILLER                                 24381 CORTEZ DR                                                                                    DANA POINT       CA    92629
LOUIS F O'KONSKI III                           6247 UNDERWOOD AVE                                                                                 OMAHA            NE    68132‐1807
LOUIS F PALERMO CUST ALEXANDER PALERMO UTMA FL 1511 SOUTH WEST 12TH AVE                                                                           BOCA RATON       FL    33486

LOUIS F PALERMO CUST CHELSEA E PALERMO UTMA FL      1511 SOUTH WEST 12TH AVE                                                                      BOCA RATON       FL    33486

LOUIS F RAVE                                        PO BOX 1829                                                                                   SHAVERTOWN       PA    18708‐0829
LOUIS F ROSSI                                       3395 GREENFIELD N W                                                                           WARREN           OH    44485‐1350
LOUIS F SHAFFER                                     5211 OAK ISLAND RD                                                                            ORLANDO          FL    32809‐3553
LOUIS F SHERMAN                                     425 W PASEO REDONDO #9C                                                                       TUCSON           AZ    85701‐8264
LOUIS F SISBARRO                                    2400 HAPPY VALLEY LN                                                                          LAS CRUCES       NM    88005‐4412
LOUIS F SPINO                                       2557 SHETLAND RD                                                                              TOLEDO           OH    43617‐1635
LOUIS F STEMPEK                                     305 E ASHMAN                                                                                  MIDLAND          MI    48642‐4686
LOUIS F WEISGERBER                                  10620 MONTGOMERY RD # 205                                                                     CINCINNATI       OH    45242
LOUIS F ZMIKLY                                      28991 BALMORAL                                                                                GARDEN CITY      MI    48135‐2162
LOUIS FAILLA                                        2229 S 18TH ST                                                                                PHILEDELLPAH     PA    19145‐3832
LOUIS FENTRESS JR & JO G FENTRESS JT TEN            7450 PINEHURST DR                                                                             CINCINNATI       OH    45244‐3276
LOUIS FERRAIOLO                                     194 CONOVER AVENUE                                                                            NUTLEY           NJ    07110‐3347
LOUIS FERRELLO                                      139 LAKEVIEW TRAIL                                                                            SUGARLOAF        PA    18249‐1063
LOUIS FISCHER CUST JAMES L FISCHER UGMA NY          154 CHATFIELD RD                                                                              BRONXVILLE       NY    10708‐2129
LOUIS FLORES                                        21550 MC CLUNG                                                                                SOUTHFIELD       MI    48075‐3220
LOUIS FORSYTHE SR                                   20451 CAROL                                                                                   DETROIT          MI    48235‐1633
LOUIS FRANKLIN LEVIN CUST DANIEL JEREMY LEVIN       10534 LINCOLN                                                                                 HUNTINGTON       MI    48070‐1541
UGMA MI                                                                                                                                           WOODS
LOUIS FREDERIC DUBOIS TR UA 08/08/83 LOUIS          800 SOUTH HANLEY RD APT 4‐C                                                                   ST LOUIS         MO    63105‐2689
FREDERIC DUBOIS TRUST
LOUIS G BASINI                                      96 5TH AVE                                                                                    NEWBURGH         NY    12550‐2719
LOUIS G BERTUCCINI & LORRAINE L BERTUCCINI JT TEN   284 TODD ST                                                                                   HAMDEN           CT    06518‐1512
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Name                                             Address1                             Address2             Address3           Address4            City            State Zip

LOUIS G BOSCO                                    49 LYNWOOD RD                                                                                    CEDAR GROVE     NJ    07009‐1917
LOUIS G CANDYS                                   27548 PORTSMOUTH AVE                                                                             HAYWARD         CA    94545‐4009
LOUIS G COLE & CAROL CHARLENE COLE JT TEN        115 SYCAMORE ST                                                                                  ROME            GA    30165
LOUIS G DERRICO & MRS MARION A DERRICO JT TEN    60 QUAKER AVE                                                                                    RANDOLPH        NJ    07869‐1419

LOUIS G FLORES                                   66 LAKESIDE ST                                                                                   PONTIAC         MI    48340‐2525
LOUIS G GERBER                                   21W530 KENSINGTON                                                                                GLEN ELLYN      IL    60137‐7012
LOUIS G KLAUSE CUST JOSEPH L KLAUSE              PO BOX 398                                                                                       SOMERS POINT    NJ    08244‐0398
LOUIS G LAVENDO TR UA 12/15/82 LOUIS G LAVENDO   341 OLYMPIA COURT                                                                                MELBOURNE       FL    32940‐7826
TRUST
LOUIS G LEFFLER                                  106 NEW HERRITAGE TRAIL                                                                          SENECA          SC    29678
LOUIS G LERMA                                    909 N SUPERIOR                                                                                   ALBION          MI    49224‐1269
LOUIS G LO BRUTTO                                310 KATHLEEN DR                                                                                  JACKSON         NJ    08527‐2272
LOUIS G MEYERS                                   1000 BALFOUR RD                                                                                  GROSSE POINTE   MI    48230‐1325
LOUIS G MOURA                                    39344 SUNDALE DR                                                                                 FREMONT         CA    94538‐1926
LOUIS G WILLIAMS                                 3339 E 8TH ST                                                                                    ANDERSON        IN    46012‐4601
LOUIS GARCIA                                     22825 WATKINS ST                                                                                 HAYWARD         CA    94541‐6603
LOUIS GEORGE KAUFMAN & ENSI KAUFMAN JT TEN       2 GRACE CT APT 6K                                                                                BROOKLYN        NY    11201‐4160

LOUIS GEORGE KAUFMAN & MARGUERITE E KAUFMAN      2 GRACE CT APT 6K                                                                                BROOKLYN        NY    11201‐4184
JT TEN
LOUIS GERARD KLAUSE                              PO BOX 398                                                                                       SOMERS POINT    NJ    08244‐0398
LOUIS GOMEZ                                      401 SOUTH 78TH                                                                                   KANSAS CITY     KS    66111‐2660
LOUIS GRANADO                                    85 S CONKLIN                                                                                     LAKE ORION      MI    48362‐1973
LOUIS GRANDE & MARY GRANDE JT TEN                13 RUSSET CT                                                                                     ROCHESTER       NY    14625‐1145
LOUIS GREENBAUM TR LOUIS GREENBAUM TRUST UA      8824 NALL AVE                                                                                    OVERLAND PARK   KS    66207‐2107
01/06/99
LOUIS GRUBBS                                     5881 DIXIE HWY                       APT 159                                                     CLARKSTON       MI    48346‐3306
LOUIS H BENNER TR LOUIS H BENNER REVOCABLE       4643 BRIARWOOD TRCE                                                                              CARMEL          IN    46033‐4623
LIVING TRUST UA 12/19/95
LOUIS H BERGHEGER & ANTOINETTE C BERGHEGER TEN   2474 NORTHLAND                                                                                   ST LOUIS        MO    63114‐5014
ENT
LOUIS H CAIROLI                                  1035 BELVOIR BLVD                                                                                SOUTH EUCLID    OH    44121‐2944
LOUIS H COHN                                     PO BOX 2393                                                                                      NORFOLK         VA    23501‐2393
LOUIS H DAVENPORT JR & JACQUELINE DAVENPORT JT   3360 SPRING LAKE OVERLOOK                                                                        LITHONIA        GA    30038‐3458
TEN
LOUIS H DOERMAN                                  3214 WOODBURN AVE                                                                                CINCINNATI      OH    45207‐1714
LOUIS H EHRLICH 3RD                              1160 SHERMAN ST #207                                                                             DENVER          CO    80203‐2232
LOUIS H ERNEMANN                                 POLIGONO ENTRERRIOS                  CN 232 KM 29         FIGUERUELAS        SPAIN
LOUIS H GARRISON                                 24 ETON DR                                                                                       SEWELL          NJ    08080
LOUIS H GRAY                                     1366 EIGHTEEN MILE ROAD                                                                          KENT CITY       MI    49330‐9462
LOUIS H GRAY TR LOUIS H GRAY TRUST UA 10/01/96   1366 EIGHTEEN MILE ROAD                                                                          KENT CITY       MI    49330‐9462

LOUIS H HERTZBERG                                11088 BARE DR                                                                                    CLIO            MI    48420‐1538
LOUIS H MILES & JOSEPHINE A MILES JT TEN         6245 PINE ST                                                                                     HUBBARD LAKE    MI    49747‐9757
LOUIS H MIX                                      R 2 PEASE RD                                                                                     VERMONTVILLE    MI    49096‐9802
LOUIS H NEVELL & GRACE H NEVELL COMMUNITY        50 SOUTH LA SALLE ST                                                                             CHICAGO         IL    60603‐1006
PROPERTY
LOUIS H PEIXOTTO CUST CTDN DANIEL L PEIXOTTO     241 KNIGHT DR                                                                                    SAN RAFAEL      CA    94901‐1429
UTMA CA
LOUIS H PRITCHETT                                PO BOX 566                                                                                       MARTINSVILLE    VA    24114‐0566
LOUIS H SCHULTE IV                               205 FALCON WAY                                                                                   HERCULES        CA    94547‐1532
LOUIS H WELLS JR                                 PO BOX 44213                                                                                     NOTTINGHAM      MD    21236‐6213
LOUIS H WHITE JR                                 238 FRANK RD                                                                                     FRANKENMUTH     MI    48734‐1210
LOUIS H WHITE JR & SUSAN B WHITE JT TEN          238 FRANK ROAD                                                                                   FRANKENMUTH     MI    48734‐1210
LOUIS H WHITE JR & SUSAN J WHITE JT TEN          238 FRANK ROAD                                                                                   FRANKENMUTH     MI    48734‐1210
LOUIS H WINTERBAUER                              847 KEEFER RD                                                                                    GIRARD          OH    44420‐2142
LOUIS H WITTING                                  3420 HEMMETER RD                                                                                 SAGINAW         MI    48603‐2026
LOUIS H WITTING & MARILYN M WITTING JT TEN       3420 HEMMETER RD                                                                                 SAGINAW         MI    48603‐2026
                                             09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                               Address1                             Address2             Address3           Address4          City               State Zip

LOUIS HARRY LONGHOUSE                              6535 RICHFIELD ROAD                                                                            FLINT              MI    48506‐2213
LOUIS HASBROUCK                                    133 N POMPANO BEACH BL               APT 208                                                   POMPANO BEACH      FL    33062
LOUIS HEDER CUST THOMAS HEDER A UGMA NY            9 HICKORY RD                                                                                   BINGHAMTON         NY    13905‐1347
LOUIS HODGES                                       1802 MEDINA DR                                                                                 COLLEGE STATION    TX    77840‐4841
LOUIS HOKENSON & CHRIS HOKENSON JT TEN             88 ALEXANDER AVE                                                                               STATEN ISLAND      NY    10312‐1910
LOUIS HOLT                                         3109 STATION ST                                                                                INDIANAPOLIS       IN    46218‐2161
LOUIS I BERBER                                     3919 CALLE CITA                                                                                SANTA BARBARA      CA    93110‐1519
LOUIS IVORY                                        3168 HIGHWAY 425 N                                                                             MONTICELLO         AR    71655‐8935
LOUIS J ABELLA                                     22024 EVERGREEN ST                                                                             ST CLR SHORES      MI    48082‐1939
LOUIS J ALFANO                                     394 JAROME ST                                                                                  BRICK              NJ    08724‐2037
LOUIS J ARCUDI                                     4 WHITNEY ROAD                                                                                 HOPEDALE           MA    01747‐1846
LOUIS J AVERSANO                                   5891 GRISCOMB DRIVE                                                                            BENSALEM           PA    19020‐1141
LOUIS J BOBEL                                      20 GRENLYNNE DR                                                                                GRENLOCH           NJ    08032‐1001
LOUIS J BOSEO JR                                   26665 S U S 52                                                                                 MANHATTAN          IL    60442‐9318
LOUIS J BUNNA                                      4041 HAZELETT DRIVE                                                                            WATERFORD          MI    48328‐4037
LOUIS J BUNNA JR                                   3082 FERRIS                                                                                    LINCOLN PARK       MI    48146‐2954
LOUIS J BURY                                       5148 AURIESVILLE                                                                               HAZELWOOD          MO    63042‐1604
LOUIS J CAMPAGNA                                   248 BRASHARES                                                                                  ADDISON            IL    60101‐2103
LOUIS J CAMPAGNA & IRENE CAMPAGNA JT TEN           1108 MARTON STREET                                                                             LAUREL             MD    20707‐3606
LOUIS J CASTELLANO                                 PO BOX 104                                                                                     PACIFIC PLSDS      CA    90272‐0104
LOUIS J CERRONE                                    3928 61/2 MILE RD                                                                              CALEDONIA          WI    53108
LOUIS J CHAPMAN                                    14634 BOSTON RD                                                                                STRONGSVILLE       OH    44136‐8606
LOUIS J CHAPMAN                                    13000 STATE ROUTE H                                                                            EDGAR SPRINGS      MO    65462‐8435
LOUIS J DEAMBRA                                    18415 NORTH 129TH AVE                                                                          SUN CITY WEST      AZ    85375
LOUIS J DECARLO II                                 663 AUBURN AVE                                                                                 BUFFALO            NY    14222‐1414
LOUIS J DITRI                                      8877 BARKLEY RD                                                                                MILLINGTON         MI    48746‐9515
LOUIS J DURANT                                     5 REAGAN ROAD                                                                                  BOMBAY             NY    12914‐1925
LOUIS J DVALENTINE & MRS M JOYCE DVALENTINE JT     3830 OKEMOS RD                       # 404                                                     OKEMOS             MI    48864‐3636
TEN
LOUIS J ENGLER                                     522 WASHINGTON ST                                                                              PORT CLINTON       OH    43452‐1935
LOUIS J GROBE                                      5274 OAKDALE ST                                                                                HONOR              MI    49640‐9508
LOUIS J GROTY TR UA 03/31/88 BARBARA L DORMANEN    1313 LEAWOOD RD                                                                                ENGLEWOOD          FL    34223‐1714

LOUIS J GROTY TR UA 03/31/88 RITA M CRAFT          1313 LEAWOOD RD                                                                                ENGLEWOOD          FL    34223‐1714
LOUIS J GUSEK                                      3843 S HURDS CORNER RD                                                                         MAYVILLE           MI    48744‐9720
LOUIS J HARBOR & JEANNE A HARBOR TR U‐D‐T 04‐06‐   381 MILLPOND DRIVE                                                                             SAN JOSE           CA    95125‐1428
89
LOUIS J HART                                       G‐3456 CAMDEN AVE                                                                              BURTON             MI    48529‐1116
LOUIS J HATTY & MICHAEL T HATTY JT TEN             4367 COURVILLE                                                                                 DETROIT            MI    48224‐2709
LOUIS J HENIGE                                     17535 BRIGGS ROAD                                                                              CHESANING          MI    48616‐9721
LOUIS J HERVIEUX & DOROTHY G HERVIEUX JT TEN       13130 OAKDALE ST                                                                               SOUTHGATE          MI    48195‐1072

LOUIS J HOOFARD                                    219 LEMUR                                                                                      SAN ANTONIO        TX    78213‐3436
LOUIS J JUNGEBLUT JR                               RT 1 BOX 17                                                                                    CORDER             MO    64021‐9709
LOUIS J KOVACS                                     156 W STATE ST                                                                                 BARBERTON          OH    44203‐1582
LOUIS J KOVAR                                      PO BOX 42278                                                                                   BROOK PARK         OH    44142‐0278
LOUIS J LAPONTE & MRS MARGARET A LAPONTE JT TEN    97 GEARY AVE                                                                                   BRISTOL            CT    06010‐6442

LOUIS J LAURICELLA                                 2835 HAZEL AVE                                                                                 DAYTON             OH    45420‐3008
LOUIS J LAWTON                                     1222 LEMPI DR                                                                                  DAVISON            MI    48423‐2884
LOUIS J LIGUORE                                    404 N MAIN ST                                                                                  POLAND             OH    44514‐1665
LOUIS J LYNN                                       5202 KING LN                                                                                   BURTON             MI    48529‐1134
LOUIS J MALINOWSKI                                 8819 MARTY LANE                                                                                OVERLAND PARK      KS    66212‐2035
LOUIS J MARINO                                     1221 STATE ROUTE 97                                                                            LEXINGTON          OH    44904‐9322
LOUIS J MAROTTA                                    233 ABBINGTON AVENUE                                                                           KENMORE            NY    14223‐1660
LOUIS J MICELI & GINA J MICELI JT TEN              40644 RIVERBEND DR                                                                             STERLING HEIGHTS   MI    48310‐6993

LOUIS J MICHON                                     115 W 2ND STREET                                                                               GAYLORD            MI    49735‐1335
LOUIS J MILLER JR                                  471 E PARK AVE                                                                                 KANSAS CITY        MO    64119‐3370
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LOUIS J MYLOW & MRS HELEN A MYLOW JT TEN            PO BOX 1116                                                                                   DAMARISCOTTA     ME    04543‐1116
LOUIS J NATALI                                      PO BOX 103                                                                                    SOUTHINGTON      OH    44470‐0103
LOUIS J NEMEC                                       9233 INDEPENDENCE BLVD              APT 502                                                   CLEVELAND        OH    44130‐4736
LOUIS J OBRIANT                                     146 MEMORIAL CT                                                                               POTTERVILLE      MI    48876‐9522
LOUIS J OKVATH                                      1369 MEADOW DR                                                                                LENNON           MI    48449‐9624
LOUIS J PAIGE                                       23 ROBIN ST                                                                                   BRISTOL          CT    06010‐3057
LOUIS J PATCHER & ANNA K PATCHER JT TEN             985 S SITTING ROCK POINT                                                                      HOMOSASSA        FL    34448‐1178
LOUIS J PAULOVICH & MRS MARY ANN PAULOVICH JT       10 CAT HOLLOW RD                                                                              BAYVILLE         NY    11709‐3000
TEN
LOUIS J PETRA                                       PO BOX 324                          537 MAD TOM NOTCH RD                                      PERU             VT    05152
LOUIS J QUADERER JR                                 5283 VOLKMER RD                                                                               CHESANING        MI    48616‐9477
LOUIS J RANDAZZO                                    102 NORWOOD RD                                                                                BRISTOL          CT    06010‐2357
LOUIS J RAYMO JR TR UA 03/28/2007 LOUIS J RAYMO     40868 PROVENCAL COURT                                                                         CLINTON TWP      MI    48038
REV LIV TRUST
LOUIS J RESKO                                       6700 STONEY RIDGE RD                                                                          N RIDGEVILLE     OH    44039‐1207
LOUIS J SAENZ                                       4212 MOUNTAIN SHADOWS DRIVE                                                                   WHITTIER         CA    90601‐1720
LOUIS J SAJT                                        820 N FRENCH ST #11TH FL                                                                      WILMINGTON       DE    19801‐3509
LOUIS J SALERNO II CUST NICOLE MARGARET SALERNO     40 ROCKLEDGE DR                                                                               PELHAM           NY    10803‐3311
UTMA DC
LOUIS J SAUM                                        21821 RD 23 T                                                                                 FT JENNINGS      OH    45844‐9319
LOUIS J SCANLON JR                                  6491 AVENIDA MANANA                                                                           LA JOLLA         CA    92037‐6223
LOUIS J SCHENCK JR                                  2813 MARQUEZ ST                                                                               MERAUX           LA    70075‐2204
LOUIS J SCHERBAN                                    7616 THEOTA AVE                                                                               PARMA            OH    44129‐2135
LOUIS J SCHMIDT                                     1619 E BOLINGRIDGE DR                                                                         ORANGE           CA    92865‐1701
LOUIS J SCHNEIDER JR                                700 ORCHARD LANE APT A6                                                                       ST CLAIRSVILLE   OH    43950‐1334
LOUIS J SIMER                                       8922 EDGEHILL RD                                                                              MENTOR           OH    44060‐6258
LOUIS J SIMUNIC                                     11425 TOPE LANE                                                                               MANCELONA        MI    49659
LOUIS J SRAY EX                                     EST THERESE SRAY                    513 IMPALA CIRCLE                                         HARKER HTS       TX    76548
LOUIS J STITES                                      1198 KURTZ RD                                                                                 HOLLY            MI    48442‐8314
LOUIS J STRASSER                                    439 YELLOW JACK LANE                                                                          GREENSBURG       PA    15601‐6268
LOUIS J SWIGEL                                      14 BEACON DRIVE                                                                               WARETOWN         NJ    08758‐2009
LOUIS J SZEKLINSKI                                  26053 BARBERRY LN                                                                             WATERFORD        WI    53185‐2723
LOUIS J TERMINELLO                                  8471 SW 12 STREET                                                                             MIAMI            FL    33144
LOUIS J TRICK                                       5525 MARKEY ROAD                                                                              DAYTON           OH    45415‐3443
LOUIS J VASQUEZ & MARIANNE G VASQUEZ JT TEN         1905 W 1ST ST                                                                                 DAVENPORT        IA    52802‐1734
LOUIS J VELAGA                                      APT 1                               3300 BRONSON LAKE RD                                      LAPEER           MI    48446‐9001
LOUIS J VINSON                                      BOX 391                                                                                       MILFORD          MI    48381‐0391
LOUIS J WRIGHT                                      BOX 118                                                                                       GERALD           MO    63037‐0118
LOUIS J WURTH                                       9951 SHADOW HILLS DRIVE                                                                       SUNLAND          CA    91040‐1516
LOUIS J WURTH & DALE WURTH JT TEN                   9951 SHADOW HILLS DRIVE                                                                       SUNLAND          CA    91040‐1516
LOUIS J ZANETTI TR LOUIS J ZANETTI DECLARATION OF   PO BOX 234                                                                                    GWINN            MI    49841‐0234
TRUST UA 3/7/01
LOUIS J ZULLO                                       7 HOPE ST                                                                                     NUTLEY           NJ    07110‐3119
LOUIS JACOBSON                                      6447 N SACRAMENTO #102                                                                        CHICAGO          IL    60643
LOUIS JAMERSON                                      415 S 17TH                                                                                    SAGINAW          MI    48601‐2057
LOUIS JAMES COLLETTI & DORIS COLLETTI JT TEN        16 K DRIVE                                                                                    PENNSVILLE       NJ    08070‐2314
LOUIS JEFFERSON MARSHALL                            1183 E AUSTIN AV                                                                              FLINT            MI    48505‐2336
LOUIS JOHN HAEFNER                                  3151 WALDMAR RD                                                                               TOLEDO           OH    43615‐1440
LOUIS JOHN TROCCHIO SR                              82 LOCUST AVE                                                                                 NEPTUNE CITY     NJ    07753‐6217
LOUIS JOURDAN 3RD                                   1114 COMPTON POINT                                                                            ADDISON          IL    60101‐2139
LOUIS K CHO YOUNG                                   1232 VAUGHAN RD                     LONDON ON                               N5V 1S6 CANADA
LOUIS K CLEVENGER                                   3051 GARDEN CT                                                                                AUBURN HILLS     MI    48326‐1614
LOUIS K KENZIE                                      3478 OCEAN BLUFF CT                                                                           NAPLES           FL    34120‐4441
LOUIS K KNABE                                       1019 PINE RIDGE LANE                                                                          CLARKRANGE       TN    38553‐5176
LOUIS K NORBERG & YVONNE E NORBERG TR NORBERG       5245 LIVERMORE ROAD                                                                           CLIFFORD         MI    48727‐9512
FAMILY TR 2/28/79
LOUIS K WALKA                                       410 NORTH WEST                                                                                WRIGHT CITY      MO    63390
LOUIS KARLIS & VANGIE KARLIS JT TEN                 25355 MASCH                                                                                   WARREN           MI    48091‐5025
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LOUIS KAUFMAN & ELAINE KAUFMAN TR HORTENSE        1814 FLINT OAK                                                                                  SAN ANTONIO        TX    78248‐1808
KAUFMAN TRUST UA 4/10/56
LOUIS KENNETH SMILER                              12602 NORTHLAWN                                                                                 DETROIT            MI    48238‐3041
LOUIS KERLINSKY & MRS NORMA KERLINSKY JT TEN      29 VAN GUARD LANE                                                                               LONGMEADOW         MA    01106

LOUIS KERLINSKY & MRS NORMA KERLINSKY TEN ENT     29 VANGUARD LANE                                                                                LONGMEADOW         MA    01106

LOUIS KIPNIS CUST FREDERICK BARRY WIENER UGMA VI 10509 THISTLEDOWN DR                                                                             RICHMOND           VA    23233‐2627

LOUIS KLEIMAN                                     5205 GREAT MEADOW RD                                                                            DEDHAM             MA    02026‐4083
LOUIS KROGUE & BESSIE KROGUE TR UA 12/12/86 THE   1601 EAST 55TH STREET                                                                           LONG BEACH         CA    90805‐5505
LOUIS R KROGUE &BESSIE
LOUIS KULCSAR                                     11311 LOGINAW DRIVE                                                                             WARREN             MI    48089‐1075
LOUIS L ALEGNANI                                  34150 DRYDEN                                                                                    STERLING HEIGHTS   MI    48312‐5002

LOUIS L ALVAREZ                                   3904 WICHITA WAY                                                                                MODESTO            CA    95357‐1575
LOUIS L BARNES                                    3 LAMPERN CRESCENT                    BILLERICAY                              GREAT BRITAIN
LOUIS L BATTAGLER                                 307 SIBLEY RD                                                                                   ORRICK             MO    64077‐9122
LOUIS L CHAZAL                                    2011 SE 37TH CT‐CIR                                                                             OCALA              FL    34471‐5689
LOUIS L FARKAS                                    21484 DANBURY DR                                                                                WOODHAVEN          MI    48183‐1608
LOUIS L FINK & MRS MILDRED M FINK JT TEN          6314 CHESTNUT RIDGE RD                                                                          ORCHARD PARK       NY    14127‐3644
LOUIS L FRANK                                     15 WHITLAW LANE                                                                                 CHAPPAQUA          NY    10514‐1005
LOUIS L GIAMBRA                                   226 CORWIN ROAD                                                                                 ROCHESTER          NY    14610‐1310
LOUIS L HIRSH                                     126 WINSLOW RD                                                                                  NEWARK             DE    19711‐7907
LOUIS L KOLB & MARGARET L KOLB JT TEN             1820 PROSSER AVE                                                                                LA                 CA    90025‐4806
LOUIS L KOSBAR                                    358 ROSEMORE DR                                                                                 DAVISON            MI    48423‐1616
LOUIS L LAUVE & MARTHA L LAUVE JT TEN             3900 WATSON PL NW                     2G‐B                                                      WASHINGTON         DC    20016‐5416
LOUIS L LAWSON                                    47 MARCEL DR                                                                                    CENTRALIA          IL    62801
LOUIS L LEHMAN & ROBERT J LEHMAN & ANTHONY A      6900 CHURCH RD                                                                                  FAIR HAVEN         MI    48023‐1907
LEHMAN JT TEN
LOUIS L MANDELKA                                  8270 COLF RD                                                                                    CARLETON           MI    48117‐9543
LOUIS L MASSE                                     R R 1 BOX 2                           COMBER ON                               ZZZZ CANADA
LOUIS L MASSE & JEANNETTE MASSE JT TEN            RR 1 BOX 2                            COMBER ONTARIO       NOP 1J             ZZZZ CANADA
LOUIS L MC NEAL                                   1349 EAST 85TH STREET                                                                           CHICAGO            IL    60619‐6427
LOUIS L MELLO                                     PO BOX 272                                                                                      YORK               ME    03909‐0272
LOUIS L MITCHELL & BETTY L MITCHELL JT TEN        5771 W WHITELAND RD                                                                             BARGERSVILLE       IN    46106‐9084
LOUIS L PYLANT                                    2001 RAINBOW DRIVE                                                                              WEST MONROE        LA    71291‐7628
LOUIS LAJOIE                                      55 DES MERLES                         BLAINVILLE QC                           J7C 3N2 CANADA
LOUIS LAMPKA                                      112 RUSHFORD HOLLOW DR                                                                          BUFFALO          NY      14227‐2390
LOUIS LEMMENS                                     202 TEAL TRACE                                                                                  MAYFIELD HEIGHTS OH      44124‐4178

LOUIS LENT                                        135 FOREST AVE                                                                                  PEARL RIVER        NY    10965‐1831
LOUIS LEPRI JR & ANNA M MARTIN JT TEN             10253 ROYCE WAY                                                                                 FENTON             MI    48430‐9056
LOUIS LEPRI JR & LISA A LEPRI JT TEN              1383 WILLIAMSBURG RD                                                                            FLINT              MI    48507‐5627
LOUIS LETENYEI & CHRISTINE LETENYEI JT TEN        18816 WOOD                                                                                      MELVINDALE         MI    48122‐1444
LOUIS LOGAN & MARILYN LOGAN COMMUNITY             406 LINDEN AVE                                                                                  GRASS VALLEY       CA    95945‐6107
PROPERTY
LOUIS LOGAN CUST LANCE IRA LOGAN UTMA CA          406 LINDEN AVE                                                                                  GRASS VALLEY       CA    95945‐6107
LOUIS LONGTINE & DOROTHY LONGTINE JT TEN          677 DEWEY ST APT 232                                                                            LAPEER             MI    48446‐1731
LOUIS LUCCI                                       PO BOX 232                                                                                      SOUTH NORWALK      CT    06856‐0232
LOUIS LUCHETTA                                    10 IOWA RD                                                                                      WAYNE              NJ    07470
LOUIS LUPO & LORRAINE LUPO JT TEN                 447 BLUE POINT RD                                                                               FARMINGVILLE       NY    11738‐1811
LOUIS LYNN MASON JR                               6219 SAGER WAY                                                                                  SAN JOSE           CA    95123‐4644
LOUIS M ABBONDANZIERI                             7715 W HOLLOW RD                                                                                NAPLES             NY    14512‐9567
LOUIS M ABELLA                                    1910 ROYAL PALM DRIVE                 FT PIERCE                                                 FORT PIERCE        FL    34982
LOUIS M ABELLA & JACQUELINE J ABELLA JT TEN       1910 ROYAL PALM DR                                                                              FT PIERCE          FL    34982‐5627
LOUIS M ALAIMO                                    395 MERRIMACK ST                      APT 48                                                    METHUEN            MA    01844‐5851
LOUIS M BENAVIDEZ                                 491 RIVER RIDGE DR                                                                              WATERFORD          MI    48327‐2886
LOUIS M BERMUDEZ                                  562 LOWELL AVE                                                                                  KANSAS CITY        KS    66101‐3838
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LOUIS M BRANCONE & EDNA M BRANCONE JT TEN        370 WERIMUS ROAD                                                                              HILLSDALE          NJ    07642‐1146
LOUIS M BRESCIA                                  35 FORD AVE                                                                                   FORDS              NJ    08863‐1604
LOUIS M CARNEAL                                  ROUTE 4 HWY 178                     904 HIGHLAND LICK ROAD                                    RUSSELLVILLE       KY    42276‐9209
LOUIS M CHANEY & STEVEN CHANEY JT TEN            C/O STEVEN CHANEY                   3063 OAKMONT COURT                                        CHARLES            MO    63301‐5001
LOUIS M DEAMICIS                                 20 PINE ST                                                                                    LEOMINSTER         MA    01453‐3831
LOUIS M FRATRICH                                 88 BYRER AVE                                                                                  UNIONTOWN          PA    15401‐4757
LOUIS M GASS                                     338 COUNTY ROUTE 11                 LOT 109                                                   WEST MONROE        NY    13167‐4109
LOUIS M GREGORY                                  2504 WINDBREAK LN                                                                             LANSING            MI    48910‐1926
LOUIS M LAHOUD JR                                13 TOPFIELD RD                                                                                DANBURY            CT    06811
LOUIS M LEONARD                                  3355 HONEY SUCKLE DR                                                                          ANN ARBOR          MI    48103‐8945
LOUIS M LEPES & DIANA S LEPES JT TEN             634 MOHICAN LAKE ROAD                                                                         GLEN SPEY          NY    12737
LOUIS M MASON                                    7796 HICKORY RD                                                                               STEWARTSTOWN       PA    17363‐9361
LOUIS M MENDOZA                                  15343 PROSPECT ST                                                                             DEARBORN           MI    48126‐2955
LOUIS M MUGUERZA                                 10110 ABERDEEN DR                                                                             GRAND BLANC        MI    48439‐9574
LOUIS M NEVAREZ                                  10734 EAST AVENUE R‐8                                                                         LITTLE ROCK        CA    93543‐1332
LOUIS M PAENEN                                   OPEL BELGIUM NV                     NOORDERLAAN 401 HAVEN 500   ANTWERP     B2030 BELGIUM
LOUIS M REGER                                    602 DIXIE DR                                                                                  LEAGUE CITY        TX    77573‐3449
LOUIS M ROBSON TOD JOYCE ANN KEEVER SUBJECT TO   8165 LAURA NW                                                                                 MASSILLON          OH    44646‐7822
STA TOD RULES
LOUIS M RODRIQUEZ                                39 CAMLEY DRIVE                                                                               WATERFORD          MI    48328‐3201
LOUIS M SANFILIPPO                               65 MENDOTA DR                                                                                 ROCHESTER          NY    14626‐3849
LOUIS M SCHIFFHAUER EX UW LOUIS E SCHIFFHAUER    5032 IRENE DR                                                                                 HARRISBURG         PA    17112‐2137

LOUIS M SEAGO & MARY HELEN SEAGO JT TEN          1426 S BEND AVE                                                                               SOUTH BEND         IN    46617‐1425
LOUIS M SEAGO TR LOUIS SEAGO REVOCABLE LIVING    1426 S BEND AVE                                                                               SOUTH BEND         IN    46617‐1425
TRUST UA 05/25/06
LOUIS M SLIVENSKY                                N26 W22017 GLENWOOD LN                                                                        WAUKESHA           WI    53186‐8801
LOUIS M TROMBETTA                                2055 BOTTLE BRUSH DRIVE                                                                       MELBOURNE          FL    32935‐4783
LOUIS M TROUTMAN                                 276 WARREN AVE                                                                                KENMORE            NY    14217‐2821
LOUIS M WALGER 3RD                               28 SEA MARSH                                                                                  AMELIA ISLAND      FL    32034‐5045
LOUIS M WARRINGTON JR & DIANE S WARRINGTON JT    6396 RUSTIC RIDGE TRAIL                                                                       FLINT              MI    48507
TEN
LOUIS MALLOZZI                                   7673 ESTATES DR                                                                               NORTH PORT         FL    34291‐4025
LOUIS MANNO                                      PO BOX 157                                                                                    JACKSON CENTER     PA    16133‐0157
LOUIS MARTINEZ                                   26773 ROYAL COACH                                                                             NEW CANEY          TX    77357
LOUIS MASUCCI & ANASTASIA MASUCCI JT TEN         9310 CORRAL VIEW                                                                              LAKE WORTH         FL    33467‐3633
LOUIS MASUCCI & ANASTASIA MASUCCI JT TEN         9310 CORRAL VIEW                                                                              LAKE WORTH         FL    33467‐3633
LOUIS MICHAEL YANNIELLO                          6054 MAIN ST                                                                                  MAYS LANDING       NJ    08330‐1852
LOUIS MIGNANO                                    9541 N BUNKER WAY                                                                             CITRUS SPRINGS     FL    34434‐4016
LOUIS MILICH                                     5604 PLANTATION LANE                                                                          FRISCO             TX    75035‐8369
LOUIS MONACELLI JR                               215 LINWOOD AVE                                                                               ALBION             NY    14411‐9761
LOUIS MURRY                                      PO BOX 548                                                                                    FAYETTE            MS    39069‐0548
LOUIS N CALVERT                                  1469 N PERRY AVE                                                                              WICHITA            KS    67203‐2944
LOUIS N CLAY                                     20294 WESTMORELAND                                                                            DETROIT            MI    48219‐1452
LOUIS N FRAZOR                                   1939 CENTER POINT RD                                                                          HENDERSONVILLE     TN    37075‐2019
LOUIS N FREDERICI                                10400 NORTH GREYSTONE                                                                         OKLAHOMA CITY      OK    73120‐3210
LOUIS N MAROHN & PATRICIA L MAROHN JT TEN        2132 FIR ST                                                                                   GLENVIEW           IL    60025‐2815
LOUIS NACLERIO & MRS ROSE NACLERIO JT TEN        58 SICKLE TOWN ROAD                                                                           WEST NYACK         NY    10994‐2608
LOUIS NIERMAN & MRS VERDEL C NIERMAN JT TEN      21578 SYCAMORE ROAD                                                                           HOYLETON           IL    62803‐1204

LOUIS NORMAN HERBERT & JOAN A HERBERT JT TEN     36419 JEFFREY DR                                                                              STERLING HEIGHTS   MI    48310‐4363

LOUIS O MIRANDA                                  13732 CHRISTIAN BARRETT DR                                                                    MOORPARK           CA    93021‐2803
LOUIS P BRUNO & IRENE F BRUNO TEN ENT            11 PARK DRIVE R D 1                                                                           CHESWICK           PA    15024‐9511
LOUIS P COLANTUONO                               8703 BROOKSIDE RD                                                                             INDEPENDENCE       OH    44131‐6436
LOUIS P DUNAGAN                                  PO BOX 243                                                                                    CLOVERDALE         IN    46120‐0243
LOUIS P LARUE                                    2732 HUDSON PLACE                                                                             NEW ORLEANS        LA    70131‐3856
LOUIS P MADAY & JAMES L MADAY JT TEN             2410 ANNESLEY ST                                                                              SAGINAW            MI    48601‐1511
LOUIS P MANARTE & VINCENZA MANARTE JT TEN        109 PARKSIDE COLONY DR                                                                        TARPON SPRINGS     FL    34689‐2281
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LOUIS P MRZYWKA                                       6396 ANN LEE DR                                                                               NORTH ROSE      NY    14516‐9511
LOUIS P PELLATIRO                                     57470 RIDGEWOOD DR                                                                            WASHINGTON      MI    48094‐3162
LOUIS P PROVOST                                       393 CENTER ST APT 54C                                                                         AUBURN          ME    04210‐6159
LOUIS P ROLEK JR                                      9125 CUCKOLD RD                                                                               BALTIMORE       MD    21219‐1637
LOUIS P SAXE JR & ANITA D SAXE JT TEN                 18 SANDY'S LN                                                                                 HORSEHEADS      NY    14845‐3411
LOUIS P SCALIA                                        721 LETITIA DR                                                                                HOCKESSIN       DE    19707‐9224
LOUIS P SCINTA                                        4672 NC HWY 10 W                                                                              NEWTON          NC    28658‐8888
LOUIS P SOKOL & ELEANOR MARSHA SOKOL JT TEN           2019 FIRST CROSSING BLVD                                                                      SUGAR LAND      TX    77478‐4329

LOUIS P TASCIOTTI                                     2 MOSS CREEK COURT                                                                            PITTSFORD       NY    14534‐1071
LOUIS P TRAVIS                                        2038 WALNUT AVE                                                                               HOLMES          PA    19043‐1214
LOUIS P URBANIK JR                                    1443 LASALLE ST                                                                               BURTON          MI    48509‐2407
LOUIS PACEK                                           1436 PERWOOD DR                                                                               SAGINAW         MI    48638‐6314
LOUIS PANNECOUK & BARBARA PANNECOUK JT TEN            7325 PARKLANE DR                                                                              ALGONAC         MI    48001‐4225

LOUIS PARINO                                      3591 BLVD GOUIN EST APT 905             MONTREAL NORD QC                        H1H 5V7 CANADA
LOUIS PASSINE TOD PAUL PASSINE SUBJECT TO STA TOD 113 PARK PL                                                                                       HEBRON          IN    46341‐9116
RULES
LOUIS PAUL PETRUZZELLO                            84 HIGHLAND AVE                                                                                   MIDDLETOWN      CT    06457‐4121
LOUIS PECK PERKINS                                2357 LEONARDO LN N                                                                                JACKSONVILLE    FL    32218‐2142
LOUIS PERLMAN                                     BOX 3704                                                                                          BEVERLY HILLS   CA    90212‐0704
LOUIS PERRONE CUST AMANDA NOWACZYK UTMA NJ        36 INDIAN BIRCH RD                                                                                BLACKWOOD       NJ    08012‐1908

LOUIS PERRY                                           6248 N HARVARD ST                                                                             MT MORRIS       MI    48458‐2854
LOUIS PETE JR                                         12077 MARSHAL RD                                                                              MONTROSE        MI    48457‐9780
LOUIS PETER MARINOS                                   590 WYOMING AVE                                                                               WYOMING         PA    18644‐1807
LOUIS PETRINI CUST JEFFREY W PETRINI UTMA NJ          348 LLEWELLYN AVE                                                                             RICHLAND        NJ    08350‐2201
LOUIS PETRIZZO                                        200 W MAIN ST                                                                                 BABYLON         NY    11702
LOUIS POLOIS                                          560 MCDONALD AV                                                                               MC DONALD       OH    44437‐1540
LOUIS PRICE JR                                        11 BRIDGE ST                        APT 200                                                   PETOSKEY        MI    49770‐2954
LOUIS PRIEST JR                                       14 SUNSET DRIVE                                                                               PENNSVILLE      NJ    08070‐3529
LOUIS R BELLABARBA & ENRICO BELLABARBA JT TEN         95 VALLEY ST                                                                                  FITCHBURG       MA    01420‐6321

LOUIS R BIZZARRO JR CUST LOUIS RICHARD BIZZARRO III   72 KETCHAM RD                                                                                 HACKETTSTOWN    NJ    07840‐4916
UTMA NJ
LOUIS R CALICCHIO                                     4827 WEST MAPLE LEAF CIR                                                                      GREENFIELD      WI    53220‐2784
LOUIS R CARVER                                        475‐E CLARKSTON RD                                                                            LAKE ORION      MI    48362‐3808
LOUIS R CICCOZZI                                      1621 S LINCOLN ST                                                                             KENT            OH    44240‐4419
LOUIS R CLAEYS & MRS BERTHA M CLAEYS JT TEN           38214 MAIN EAST                                                                               NEW BALTIMORE   MI    48047‐4240
LOUIS R CLARK                                         13119 HERITAGE WAY                                                                            APPLE VALLEY    MN    55124‐9764
LOUIS R DRANE                                         5332 CHANNING RD                                                                              INDIANAPOLIS    IN    46226‐1517
LOUIS R DYKSTRA                                       418 LEELANAU AVE                                                                              FRANKFORT       MI    49635‐9352
LOUIS R FREIS CUST CHERYL FREIS UGMA MI                                                                                                             WALLACE         MI    49893
LOUIS R GIOVACCHINI                                   3 STONEHAM RD                                                                                 TRENTON         NJ    08638‐2745
LOUIS R GRIFFIS CUST GINGER ANN GRIFFIS UGMA OK       3226 44TH AVE W                                                                               SEATTLE         WA    98199‐2404

LOUIS R HOOVER                                     15277 TRISKETT RD                      APT 1                                                     CLEVELAND       OH    44111‐3055
LOUIS R JERNAGAN CUST LOUIS R JERNAGAN III UTMA FL 7820 PETERSEN POINT RD                                                                           MILTON          FL    32583

LOUIS R JEWETT                                        503 BUCK STREET                                                                               MADISON         WV    25130‐1603
LOUIS R LINT                                          433 SEMINOLE RD SUITE 200A                                                                    MUSKEGON        MI    49444‐3743
LOUIS R MAGAZZINE                                     836 BROOKFIELD AVENUE                                                                         YOUNGSTOWN      OH    44512‐4103
LOUIS R MARRANI                                       235 ELLIS ST                                                                                  BURLINGTON      NJ    08016‐1346
LOUIS R MINDA                                         2850 N 80TH ST                                                                                KANSAS CITY     KS    66109‐1514
LOUIS R NAVEDO                                        28 TOWER PL                         APT 1                                                     YONKERS         NY    10703‐2250
LOUIS R PAINE                                         32383 STONEY BROOK DRIVE                                                                      AVON LAKE       OH    44012‐2166
LOUIS R PASTOR                                        5294 FRANCIS RD                                                                               MT MORRIS       MI    48458‐9751
LOUIS R POLLINA & MARILYN F POLLINA JT TEN            59‐30 108TH ST APT 2P                                                                         CORONA          NY    11368‐4504
LOUIS R RITTER                                        1112 MC CORMICK DR                                                                            FENTON          MI    48430‐1507
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LOUIS R SCOHY                                   61640 RAINTREE BLVD                                                                            STURGIS          MI      49091‐9323
LOUIS R SIMMONS                                 20111 BENTLER                                                                                  DETROIT          MI      48219‐1387
LOUIS R STEPHON JR                              13411 N CAREFREE CT                                                                            CAMBY            IN      46113‐8711
LOUIS R THAYER                                  11800 WINFORE DRIVE                                                                            MIDLOTHIAN       VA      23113‐2455
LOUIS R TINKER                                  1008 PEMBROOK RD                                                                               CLEVELAND        OH      44121
LOUIS R TYLER & NONA H TYLER JT TEN             PO BOX 308                                                                                     WINTER PARK      CO      80482‐0308
LOUIS R WOOLLEY                                 680 NORTH MAIN ST                                                                              POLAND           OH      44514‐1669
LOUIS RAIMAN                                    75E OVERLOOK WAY                                                                               MANALAPAN        NJ      07726‐2118
LOUIS RAJCZI                                    4175 GERTRUDE ST                                                                               DEARBORN HEIGHTS MI      48125‐2819

LOUIS RAY PIPPIN                                592 BRADFORD DR                                                                                GALLATIN           TN    37066‐6172
LOUIS RICEBERG                                  7835 HEMINGWAY AVE                                                                             SAN DIEGO          CA    92120‐2208
LOUIS RICHARD KOPP                              77‐26 85TH ST                                                                                  GLENDALE           NY    11385‐7613
LOUIS RICHARD WEISS                             3811 BENDEMEER RD                                                                              CLEVELAND HTS      OH    44118‐1920
LOUIS ROBERT LIPSEY                             50 PARK ROW WEST #630                                                                          PROVIDENCE         RI    02903‐1149
LOUIS ROBERTO & ALIDA ROBERTO JT TEN            54 NEIL DR                                                                                     SMITHTOWN          NY    11787‐1241
LOUIS RODRIGUEZ & CAROLYN M BAVARO JT TEN       410 E TORRANCE AVE                                                                             PONTIAC            IL    61764
LOUIS ROMANCHUK                                 27345 SANTA ANNA                                                                               WARREN             MI    48093‐7524
LOUIS ROSENBERG                                 6217 29TH ST NW                                                                                WASHINGTON         DC    20015‐1509
LOUIS ROSENBERG & VICTORIA ROSENBERG JT TEN     1623 COLLINS AVE AP# 818                                                                       MIAMI BEACH        FL    33139‐3144

LOUIS ROSS                                      PO BOX 949                                                                                     LANCASTER          OH    43130‐0949
LOUIS RUDY WHITE JR                             146 ROOSEVELT AVE                                                                              BUFFALO            NY    14215‐2839
LOUIS S ALBANO & MRS ANN ALBANO JT TEN          100 LEXINGTON STREET                                                                           BELMONT            MA    02478
LOUIS S BECKER                                  700 MT CARMEL PL                                                                               NASHVILLE          TN    37205‐3585
LOUIS S BERCY                                   86 KNAPP AVE                                                                                   HAMILTON           NJ    08610‐2244
LOUIS S BURKOWSKI                               8156 STATE RD                                                                                  MILLINGTON         MI    48746‐9404
LOUIS S CARTER JR                               3929 DUVALL AVE                                                                                BALTIMORE          MD    21216‐1731
LOUIS S CASEY & ROSANNE L CASEY JT TEN          2160 ANDERSON LN                                                                               CHARLOTTESVILLE    VA    22911‐8666

LOUIS S CHETCUTI                                23118 WESTBURY DR                                                                              ST CL SHS          MI    48080‐2535
LOUIS S CLOCK & MRS BERNICE B CLOCK JT TEN      501 E FARNUM                                                                                   ROYAL OAK          MI    48067‐1912
LOUIS S GHOLAR                                  2731 S BRIGHTON AVE                                                                            LOS ANGELES        CA    90018‐3118
LOUIS S KAHNWEILER                              1161 TURICUM ROAD                                                                              LAKE FOREST        IL    60045‐3367
LOUIS S KATSOUROS                               3683 S LEISURE WORLD BLVD                                                                      SILVER SPRING      MD    20906‐1717
LOUIS S KITKO                                   5603 WILBER AVE                                                                                PARMA              OH    44129‐3340
LOUIS S MILEUSNICH                              PO BOX 389                                                                                     CAPE FAIR          MO    65624‐0389
LOUIS S PETTINEO                                13692 HEATHERWOOD                                                                              STERLING HEIGHTS   MI    48313‐4326

LOUIS S POLITE                                  30200 STEPHENSON HWY                                                                           MADISON HTS        MI    48071
LOUIS S SMITH                                   11575 STONE RD                                                                                 FOWLER             MI    48835‐9746
LOUIS S SOUTHWORTH 2ND                          GROSSCUP & BRIDGE RD                                                                           CHARLESTON         WV    25314
LOUIS S SWIDER                                  3280 WEAVER ROAD                                                                               PORT AUSTIN        MI    48467‐9775
LOUIS S SZABO JR & MRS ELSIE J SZABO JT TEN     3513 DALE AVE                                                                                  FLINT              MI    48506‐4711
LOUIS S WOJTOWICZ                               3846 LOS ANGELES                                                                               WARREN             MI    48091‐4530
LOUIS SAGE                                      7760 CHERRYTREE LANE                                                                           NEW PORT RICHEY    FL    34653‐2104

LOUIS SALVATORELLI JR                           10 CRESCENT DR 39                                                                              THIELLS            NY    10984‐1641
LOUIS SANDS 4TH                                 BOX 95                                                                                         GLENDALE           AZ    85311‐0095
LOUIS SANTUOSO JR                               27 GROVE STREET                                                                                BELLEVILLE         NJ    07109‐1519
LOUIS SCARAMELLA & MRS NINA M SCARAMELLA JT TEN 631 HAWTHORNE DR                                                                               FRANKFORT          IL    60423‐9517

LOUIS SEBASTIAN                                 5303 DENISON AVE DOWN                                                                          CLEVELAND          OH    44102‐5849
LOUIS SENIA                                     29119 DOVER AVE                                                                                WARREN             MI    48093‐3640
LOUIS SIMON                                     32040 GRANDVIEW                                                                                WESTLAND           MI    48186‐4969
LOUIS SIMON & LORETTA J SIMON JT TEN            32040 GRANDVIEW                                                                                WESTLAND           MI    48186‐4969
LOUIS SIMONYI CUST LOGAN SIMONYI UTMA OH        385 HILLSIDE RD                                                                                SEVEN HILLS        OH    44131‐4409
LOUIS SMITH                                     11314 S YALE AVE                                                                               CHICAGO            IL    60628‐4117
LOUIS STAUDT                                    22 PIERHEAD DR                                                                                 BARNEGAT           NJ    08005‐3364
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LOUIS SWITALSKI                                  21404 50TH AVE                                                                                  MARION         MI    49665‐8176
LOUIS T BANDLOW                                  1950 CRESCENT LK RD                                                                             WATERFORD      MI    48327‐1314
LOUIS T CAMPBELL 4TH                             12 PATRICK LANE                                                                                 MORRISVILLE    PA    19067‐4814
LOUIS T CUTRER SR & BEATRICE CUTRER JT TEN       15172 WRIGHT CT                                                                                 FONTANA        CA    92336‐4160
LOUIS T DAVIS                                    2057 W TRUMBULL                                                                                 MAPLE CITY     MI    49664‐9640
LOUIS T ISAF                                     5330 REDFIELD ROAD                                                                              DUNWOODY       GA    30338
LOUIS T MCCORKLE                                 1269 ROYAL ST                                                                                   THOMSON        GA    30824‐4130
LOUIS T MILLER                                   60 RACHELLE DR                                                                                  BUFFALO        NY    14227‐3523
LOUIS T MILLER                                   805 SHADY AVE N W                                                                               WARREN         OH    44483‐2105
LOUIS T MURPHY                                   6235 DETROIT ST                                                                                 MOUNT MORRIS   MI    48458‐2735
LOUIS T PUGNI                                    1111 MIDLAND AVENUE                   APT 2A                                                    BRONXVILLE     NY    10708‐6329
LOUIS T RIZZOLO & LISA M RIZZOLO JT TEN          32 ALEXIS CT                                                                                    COLONIA        NJ    07067‐1200
LOUIS T SIMON                                    4625 W BYRKIT                                                                                   INDIANAPOLIS   IN    46221‐4903
LOUIS T SPELLIOS CUST PETER A SPELLIOS UGMA MA   3 BLUEBERRY HILL RD                                                                             WILBRAHAM      MA    01095‐1525

LOUIS T ZANOTTI & MARIE D ZANOTTI JT TEN         505 S DUMFRIES                                                                                  DETROIT        MI    48217‐1430
LOUIS TERSIGNI & MRS ROSA TERSIGNI JT TEN        2042 CRESTDALE DR                                                                               STOW           OH    44224‐1818
LOUIS THAYER                                     1851 E ERICKSON RD                                                                              PINCONNING     MI    48650‐9464
LOUIS THOMAS ZECCA                               12324 INDIGO SPRINGS CT                                                                         BRISTOW        VA    20136‐2165
LOUIS TUNDIS & MRS MARIA TUNDIS JT TEN           337 HAMILTON AVE                                                                                HEWLETT        NY    11557‐1907
LOUIS U BARTLETT                                 16405 ALABAMA HIGHWAY 157                                                                       VINEMONT       AL    35179‐9095
LOUIS U FERRANTE                                 670 HOLMDEL ROAD                                                                                HAZLET         NJ    07730‐1439
LOUIS V BARONE                                   3250 BAY RD SE                                                                                  CARROLLTON     OH    44615‐9658
LOUIS V DOLENTE JR                               18 TWIN CREEKS DR                                                                               THORNTON       PA    19373‐1097
LOUIS V ELLIS & CHRISTINE A ELLIS JT TEN         5883 APPLECROSS DR                                                                              RIVERSIDE      CA    92507‐6450
LOUIS V GONZALEZ                                 5073 BLUFF ST                                                                                   NORCO          CA    91760‐2476
LOUIS V KURLANDSKI                               2007 WISMER ROAD                                                                                OVERLAND       MO    63114‐2537
LOUIS V MILLS JR                                 52 GOULD LAKE ROAD                                                                              BLOOMINGBURG   NY    12721
LOUIS V RUSSO 3RD                                4518 E BURNS ST                                                                                 TUCSON         AZ    85711‐2937
LOUIS V STUART JR CUST TRACY ANNE STUART UGMA    17934 PRESTWICK AVE                                                                             BATON ROUGE    LA    70810‐7915
OK
LOUIS VALDES                                     493 LOOKOUT AVE                                                                                 HACKENSACK     NJ    07601‐1517
LOUIS VARGA                                      2618 HUNT RD                                                                                    CINCINNATI     OH    45236‐1108
LOUIS VILLARREAL                                 5432 WALSH AVE                                                                                  EAST CHICAGO   IN    46312‐3933
LOUIS VINCENTINI                                 12810 HEMINGWAY                                                                                 REDFORD        MI    48239‐4602
LOUIS VISOTCKY                                   115 PLEASANT AVE                                                                                GARFIELD       NJ    07026‐2026
LOUIS VOGT                                       220 N ZAPATA HWY #11A                                                                           LAREDO         TX    78063
LOUIS W ANDERSEN                                 3931 STONEY RIDGE ROAD                                                                          AVON           OH    44011
LOUIS W ANDERSON                                 11689 EAGLE BLUFF LN                                                                            CRIVITZ        WI    54114‐7917
LOUIS W BALAZE & LINDA L BALAZE JT TEN           PO BOX 321                                                                                      ARMADA         MI    48005‐0321
LOUIS W BARON                                    1321 FREEMAN                                                                                    OWOSSO         MI    48867‐4111
LOUIS W BEHRENDS & LOUIS N BEHRENDS JT TEN       21303 OAKVIEW DR                                                                                NOBLESVILLE    IN    46060‐9408
LOUIS W CARILLI & PEGGY S CARILLI JT TEN         13052 CHETS CREEK DR SOUTH                                                                      JACKSONVILLE   FL    32224
LOUIS W COTTON                                   3617 S FELTON ST                                                                                MARION         IN    46953‐4326
LOUIS W COX                                      708 LOPER LANE                        SHERWOOD PARK                                             WILMINGTON     DE    19808‐2217
LOUIS W DILLARD                                  3504 CENTERVILLE ROSEBUD RD                                                                     SNELLVILLE     GA    30039
LOUIS W DUBY JR                                  9066 LEGACY CT                                                                                  TEMPERANCE     MI    48182‐3305
LOUIS W FRANKLIN                                 1925SHELBY ST                                                                                   SANDUSKY       OH    44870‐4640
LOUIS W GRINNELL                                 1208 OLD LAKE CITY HWY                                                                          CLINTON        TN    37716‐5545
LOUIS W HANSCOM & SARAH M HANSCOM TEN COM        524 SILVERDALE RD                                                                               JULIAN         PA    16844‐8532

LOUIS W KROAH JR                                 2596 CONNETICUT CT                                                                              UNIONTOWN      OH    44685‐9761
LOUIS W LAUTERMILCH                              3806 GERMAINE AVE                                                                               CLEVELAND      OH    44109‐5047
LOUIS W LENCIONI & THELMA M LENCIONI JT TEN      5514 EDIE COURT NW                                                                              ALBUQUERQUE    NM    87114‐4613
LOUIS W MANION                                   4716 BEECH DRIVE                                                                                LOUISVILLE     KY    40216‐3324
LOUIS W MOLNAR                                   1921 LAKE MARSHALL DR                                                                           GIBSONIA       PA    15044‐7434
LOUIS W RITTSCHOF                                790 SINGINGWOOD DR                                                                              RENO           NV    89509‐5910
LOUIS W SCHAEFER                                 968 NEW CASTLE RD                                                                               BUTLER         PA    16001
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LOUIS W SCHULZE                                   2629 LORIS DRIVE                                                                               WEST CARROLLTON OH     45449‐3224

LOUIS W SCHWARTZ                                  819 HEMLOCK AVE                                                                                DIXON            IL    61021‐3849
LOUIS W SULLIVAN & EVA SULLIVAN JT TEN            5287 N POWERS FERRY RD                                                                         ATLANTA          GA    30027
LOUIS WARD                                        30C GARDEN VILLAGE DR APT 2                                                                    BUFFALO          NY    14227‐3341
LOUIS WATLEY JR                                   26 W 17TH ST                                                                                   LINDEN           NJ    07036‐3436
LOUIS WILLIAMS                                    631 E 4TH ST                                                                                   LIMA             OH    45804‐2511
LOUIS WITHERSPOON                                 3890 MAPLE DRIVE                                                                               YPSILANTI        MI    48197‐3744
LOUIS ZBORAN                                      2102 S HARVEY AVE                                                                              BERWYN           IL    60402‐2040
LOUIS ZIANTZ & MARY A ZIANTZ JT TEN               621 MAIN STREET                                                                                DUPONT           PA    18641‐1424
LOUIS ZOLLO                                       60 BRIAN DR                                                                                    ROCHESTER        NY    14624‐3621
LOUIS ZSULA                                       6565 ELMDALE RD                                                                                MIDDLEBURG HT    OH    44130‐2614
LOUISA A MUELLER                                  258 TRURO COURT                                                                                LEBANON          OH    45036
LOUISA B HELLEGERS CUST ADAM P HELLEGERS UGMA     543 BERNITA DRIVE                                                                              RIVER VALE       NJ    07675‐5903
NJ
LOUISA CAMERON                                    703 EBENEZER CHURCH RD                                                                         RISING SUN       MD    21911‐2526
LOUISA DOMBLOSKI                                  50 CHARITON DR                                                                                 EAST STROUDSBURG PA    18301‐9660

LOUISA H GOLDBERG                                 28 MIGNON ROAD                                                                                 WEST NEWTON      MA    02465‐2623
LOUISA HORVATH                                    885 RUPLE RD                         APT 316                                                   CLEVELAND        OH    44110‐3185
LOUISA J KREIDER                                  105 MARWYCK PLACE LN                                                                           NORTHFIELD CTR   OH    44067‐2789
LOUISA L BOGGS                                    5211 GLOBE AVE                                                                                 NORWOOD          OH    45212‐1558
LOUISA L DARLING                                  4255 S BELSAY RD                                                                               BURTON           MI    48519‐1732
LOUISA L RAVENEL SEARSON                          213 HIGH ST                                                                                    WINNSBORO        SC    29180‐1237
LOUISA L WHITFIELS SMITH                          2349 WILD VALLEY DR                                                                            JACKSON          MS    39211‐6222
LOUISA M WENZLER CUST DAVID L WENZLER UGMA MI     4463 GOLF VIEW DR                                                                              BRIGHTON         MI    48116‐9193

LOUISA S WHITE                                    7 CASSVILLE RD                                                                                 CARTERSVILLE     GA    30120‐3042
LOUISA W WADSWORTH                                ATTN LOUISA W LENEHAN                PO BOX 169                                                WARRENTON        VA    20188‐0169
LOUISA WILLIAMS                                   3007 MACKEY LN                                                                                 SHREVEPORT       LA    71118‐2428
LOUISE A ALLEN TR LOUISE A ALLEN LIV TRUST UA     4346 W ROUNDHOUSE                    APT 1                                                     SWARTZ CREEK     MI    48743
10/08/02
LOUISE A BRAUER                                   SCOTT ROAD                           PO BOX 7                                                  TERRYVILLE       CT    06786‐0007
LOUISE A BRAUER                                   26 SCOTT RD PO BOX 7                                                                           TERRYVILLE       CT    06786‐0007
LOUISE A BRENNAN                                  6714 WOODSTONE PL                                                                              ALEXANDRIA       VA    22306‐1360
LOUISE A CALDERALA                                9930 TREETOP DR                                                                                ORLAND PARK      IL    60462‐4659
LOUISE A CAMPBELL                                 2811 GLENWOOD CT                                                                               LAKE ORION       MI    48360‐1720
LOUISE A CAMPBELL                                 238 CREEKSIDE LOOP                                                                             ROSELAND         VA    22967‐2221
LOUISE A DANIELS & JENNIFER V DANIELS JT TEN      318 CLARK LANE                                                                                 JUPITER          FL    33477‐5077
LOUISE A GILES                                    25804 DUNDEE                                                                                   HUNTINGTON WD    MI    48070‐1306

LOUISE A HEDITSIAN                                27 CAMBRIDGE CT                                                                                MIDDLEBURY       CT    06762‐3339
LOUISE A HUNAULT                                  4210 WHISPERING OAK DR                                                                         FLINT            MI    48507‐5542
LOUISE A JESSOP                                   BOX 54                                                                                         LAKE ORION       MI    48361
LOUISE A JONES                                    10730 WEST 69TH AVE                                                                            ARVADA           CO    80004
LOUISE A MAVUS                                    C/O P J MAVUS                        130 PAGE AVE                                              LYNDHURST        NJ    07071‐2613
LOUISE A MAYO                                     5545 FORBES AVE                      APT I                                                     PITTSBURGH       PA    15217‐1178
LOUISE A NEWLIN                                   2733 HARVARD DR                                                                                JANESVILLE       WI    53548‐2731
LOUISE A PAWLIK & STEPHEN R PAWLIK JT TEN         1537 OLDSPRING HOUSE LN                                                                        DUNWOODY         GA    30338
LOUISE A TANNEY                                   225 VIA DANTE                                                                                  ARNOLD           MD    21012‐1314
LOUISE A WEISS                                    12125 NEFF ROAD                                                                                CLIO             MI    48420‐1862
LOUISE A WEISS & SHARON E ST JOHN & JANICE D      12125 NEFF RD                                                                                  CLIO             MI    48428
HANNER JT TEN
LOUISE ADAMS                                      5117 SUNRISE BEACH RD NW                                                                       OLYMPIA          WA    98502‐8862
LOUISE ADKINS                                     328 ROXBURY RD                                                                                 DAYTON           OH    45417‐1318
LOUISE AFRIN                                      33 CRAIGHILL ROAD ST GEORGE          ADELAIDE             SOUTH AUSTRALIA    5066 AUSTRALIA
LOUISE ALLEN JETT                                 3029 MIDVALE AVE                                                                               PHILADELPHIA     PA    19129‐1027
LOUISE ANN BECKMANN                               ATTN LOUISE A BRENNAN                6714 WOODSTONE PL                                         ALEXANDRIA       VA    22306‐1360
LOUISE ANN KJERRUMGAARD                           ATTN LOUISE TROTT                    315 BROOK DR                                              ROMEO            MI    48065‐5018
                                              09-50026-mg                Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                             Address2                Address3        Address4          City             State Zip

LOUISE ANNE SHERFF & MARIAN M SHERFF JT TEN       6313 RIO OSO DR                                                                                RANCHO MURIETA   CA    95683‐9253

LOUISE B BROADWATER                               5665 MIDDLEBURG RD                                                                             UNION BRIDGE     MD    21791‐9502
LOUISE B RAINER                                   476A PRINCETON AVE                                                                             TRENTON          NJ    08618‐3810
LOUISE B RAINER GUARDIAN FOR ASHLEY R RAINER &    476 MARTIN LUTHER KING BLVD                                                                    TRENTON          NJ    08618‐3810
MARCUS A RAINER
LOUISE B ROWLAND                                  177 NEWTON RD                                                                                  WOODBRIDGE       CT    06525‐1243
LOUISE B SMITH                                    BOX 574                                                                                        SAN MATEO        FL    32187‐0574
LOUISE B WILLIAMS                                 12810 SINGER ROAD                                                                              MIDLOTHIAN       VA    23112‐1335
LOUISE BALDWIN                                    19000 BENTLER                                                                                  DETROIT          MI    48219
LOUISE BELL WOLF                                  17519 TALLY HO                                                                                 ODESSA           FL    33556‐1816
LOUISE BETSEY                                     210 E ANSWORTH                                                                                 YPSILANTI        MI    48197‐5339
LOUISE BLAND                                      1950 HOSLER ST                                                                                 FLINT            MI    48503‐4416
LOUISE BOCCHIERI                                  626 HERON POINT                                                                                TINTON FALLS     NJ    07753‐7769
LOUISE BODDEN                                     166 EAST 56TH STREET                                                                           BROOKLYN         NY    11203‐3708
LOUISE BOLEYN EUDALY                              2132 BAUERVILLE RD                                                                             ART              TX    76820‐7400
LOUISE BOYD ROGERS TR LOUISE BOYD ROGERS LIVING   1434 HARRIS AVE                                                                                DOS PALOS        CA    93620‐2709
TRUST UA 09/13/01
LOUISE BRAREN                                     50 MOYER LN                                                                                    PALMERTON        PA    18071‐6266
LOUISE BRODSKY & VICKI SCHECK JT TEN              9 EASTERN RD                                                                                   HARTSDALE        NY    10530‐2103
LOUISE BROWN                                      PO BOX 26383                                                                                   CHARLOTTE        NC    28221‐6383
LOUISE BRUSCHETTE & PATRICIA L THIBEAU JT TEN     11 GALE ROAD                                                                                   WEYMOUTH         MA    02188‐4110

LOUISE BUCHAN                                     PO BOX 293                                                                                     ABERDEEN         NC    28315
LOUISE BUHRMASTER                                 180 SARATOGA RD                                                                                SCHENECTADY      NY    12302
LOUISE BUNCH                                      6144 HECLA                                                                                     DETROIT          MI    48208‐1336
LOUISE BURG                                       11120 SPRINGFIELD PIKE               A209                                                      CINCINNATI       OH    45246
LOUISE C BEAVERS                                  198 PALOMA DR                                                                                  NEW BRAUNFELS    TX    78133‐5400
LOUISE C FETHERMAN                                690 MAPLE VISTA ST                                                                             IMLAY CITY       MI    48444‐1472
LOUISE C FONTALBERT                               380 WHITE OAK LN                                                                               TRYON            NC    28782‐8865
LOUISE C GUNDERMAN                                97 SOUTHWOOD DR                                                                                BUFFALO          NY    14223‐1052
LOUISE C NELSON                                   179 MAIN STREET                                                                                WILBRAHAM        MA    01095‐1634
LOUISE C OLENICK                                  4211 SLAUGHTER RD                                                                              UNIONTOWN        OH    44685‐9526
LOUISE C WASIELEWSKI & KENNETH R WASIELEWSKI JT   3340 TIQUEWOOD CIRCLE                                                                          COMMERCE TWP     MI    48382‐1463
TEN
LOUISE C WATSON & DELIGHT ANN SPOONR JT TEN       6656 WATER CROSSING AVE                                                                        LAS VEGAS        NV    89131‐0217

LOUISE CABRAL                                     C/O HINES                            331 FIRST STREET #205                                     LOWELL           MA    01850‐2519
LOUISE CALLAGHAN TR LOUISE CALLAGHAN TRUST        929 SO KENSINGTON                                                                              LAGRANGE         IL    60525‐2712
3/1/99
LOUISE CHARLOTTE ALVORD CUST JEFFREY THOMAS       45 CHURCH ST                                                                                   TARIFFVILLE      CT    06081‐9601
ALVORD UGMA CT
LOUISE CHESNEY & NANCY CHESNEY JT TEN             910 LILAC ST                                                                                   INDIANA          PA    15701‐3330
LOUISE COCKHAM                                    32 STEPHENS COURT                                                                              PONTIAC          MI    48342‐2353
LOUISE COKER PERSONAL REPRESENTATIVE OF THE       2015 SEWARD                                                                                    DETROIT          MI    48206‐2800
ESTATE OF LINDBERGH COKER
LOUISE CROMBINE                                   1168 DELAWARE TRAIL                                                                            STREETSBORO      OH    44241‐5360
LOUISE CZERWINSKI                                 9 BELLWOOD DR                                                                                  SWARTZ CREEK     MI    48473‐8283
LOUISE D CRELLY TR THE LOUISE D CRELLY 1983       C/O LEWIS                            2 KOHLRAUSH AVENUE                                        BILLERICA        MA    01862‐1451
REVOCABLE TRUST 06/22/83
LOUISE D CREWS                                    6 PARK CIR                                                                                     WEST COLUMBIA    SC    29170‐2950
LOUISE D CROSS                                    1801 GURSS PL                                                                                  EL PASO          TX    79902‐2841
LOUISE D FREY & CLYDE C FREY TEN ENT              2951 ROOSEVELT DR                                                                              CHAMBERSBURG     PA    17201‐8977
LOUISE D HALL                                     2948 SANDY TRAIL                                                                               GRAYLING         MI    49738
LOUISE D HATTON                                   1961 GONDERT AVE                                                                               DAYTON           OH    45403‐3440
LOUISE D LEWIS                                    614 EAST 22ND ST                                                                               WILMINGTON       DE    19802‐5014
LOUISE D MILANOV                                  4949 DEER CREEK CIR                                                                            WASHINGTON       MI    48094
LOUISE D SHELTON & ROBERT L SICILIA JT TEN        8105 NORMANDY DR                                                                               MOUNT LAUREL     NJ    08054
LOUISE D SHELTON & THERESA L SICILIA JT TEN       8105 NORMANDY DR                                                                               MOUNT LAUREL     NJ    08054
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Name                                               Address1                              Address2               Address3         Address4          City               State Zip

LOUISE D SMITH & EDWARD H SMITH JT TEN             2133 S SHORE ACRES RD                                                                           SODDY DAISY        TN    37379‐8143
LOUISE D SPER & LESLIE E SPER JT TEN               8626 CALUMET WAY                                                                                CINCINNATI         OH    45249‐1378
LOUISE D STANLEY                                   4458 WOOD ST                                                                                    WILLOUGHBY         OH    44094‐5818
LOUISE D STAPLETON                                 5278 REDFORD DR                                                                                 BRUNSWICK          OH    44212
LOUISE D VIGLIONE                                  4400 BRADFORDVILLE RD                                                                           TALLAHASSEE        FL    32309
LOUISE DANTZLER                                    13‐10 34TH AVE                                                                                  LONG ISLAND CITY   NY    11106‐4673

LOUISE DAVIS                                       8911 CLAIRON                                                                                    DETROIT            MI    48213‐3234
LOUISE DAVIS COLE EX                               EST ANNIE W DAVIS                     2725 SWANHURST DRIVE                                      MEDLOTHIAN         VA    23113‐2276
LOUISE DINGERSON                                   5526 NW VERLIN DR                                                                               KANSAS CITY        MO    64152‐3233
LOUISE DRELLES                                     1357 MOSEDALE AVE                                                                               MUSKEGON           MI    49442‐5495
LOUISE DUQUET                                      3415 DE LA HALTE                      QUEBEC QC                               G1P 4H5 CANADA
LOUISE DUUS                                        22 TOWNSEND CT                                                                                  FRANKLIN PARK      NJ    08823‐1518
LOUISE E BAUGH                                     PO BOX 471                                                                                      COPPERHILL         TN    37317‐0471
LOUISE E DANCY                                     3838 S CALUMET AVE                                                                              CHICAGO            IL    60653‐1707
LOUISE E DERKS                                     1889 SCENIC DRIVE                                                                               MUSKEGON           MI    49445‐9660
LOUISE E DOUGLAS                                   18 TOUCHSTONE                                                                                   LAKE OSWEGO        OR    97035‐1910
LOUISE E DOUGLAS TR DOUGLAS BYPASS TRUST UA        18 TOUCHSTONE                                                                                   LAKE OSWEGO        OR    97035‐1910
06/21/85
LOUISE E FAIRBANKS & ROBERT L MCGUIGAN JT TEN      11325 OLD DIXIE HWY LOT 1                                                                       SEBASTIAN          FL    32958‐4645

LOUISE E FULTON TR LOUISE E FULTON REVOCABLE       1471 DORDINE LANE                                                                               CINCINNATI         OH    45231‐5311
TRUST UA 11/22/99
LOUISE E HARTWIG                                   4520 PRATT ROAD                                                                                 METAMORA           MI    48455
LOUISE E HATFIELD                                  502 LITTLE RIVER PATH                                                                           THE VILLAGES       FL    32162‐6027
LOUISE E LAZAR & LOUIS A LAZAR JT TEN              374 RIVERBANK                                                                                   WYANDOTTE          MI    48192‐2669
LOUISE E LONGO                                     680 PROVIDENCE PIKE                                                                             PUTNAM             CT    06260‐2515
LOUISE E PARE                                      302 HIAWATHA                                                                                    YPSILANTI          MI    48197‐4617
LOUISE E SCHLENKER                                 95037 CAPTAINS WAY                                                                              FERNANDINA         FL    32034‐6210
LOUISE E SHEA                                      29 WEBSTER ST                                                                                   MALDEN             MA    02148‐4313
LOUISE E SMITH                                     2625 RENFREW DR                                                                                 JACKSON            MI    49201‐9312
LOUISE E VOGEL                                     343 S CHESTER PIKE                                                                              GLENOLDEN          PA    19036‐2108
LOUISE ERWIN DEMAROIS                              640 HIGHLAND PK DR                                                                              MISSOULA           MT    59803‐2441
LOUISE F CESA                                      605 CENTRAL AVENUE                                                                              MARTINSBURG        WV    25404
LOUISE F COBB                                      2242 BOULDERCREST RD S E                                                                        ATLANTA            GA    30316‐4804
LOUISE F DEL CARLO                                 171 LANFRANCO CIRCLE                                                                            SACRAMENTO         CA    95835‐2066
LOUISE F DUSHEFSKI                                 7601 TRAFALGAR                                                                                  TAYLOR             MI    48180‐2476
LOUISE F O'NEILL & HERBERT M O'NEILL JT TEN        2121 BROWN ST                                                                                   ANDERSON           IN    46016‐4231
LOUISE F ROBERTS                                   41 MAPLE AVE                                                                                    PENNSVILLE         NJ    08070‐1525
LOUISE FRANCES WEIS                                820 RANSOM ST                                                                                   MAUMEE             OH    43537‐3542
LOUISE FULTON                                      38 DIRINGER PLACE                                                                               ROCHESTER          NY    14609‐4631
LOUISE G BERGER TR LOUISE G BERGER MARITAL TRUST   1569 CALLE DE STUARDA                                                                           SAN JOSE           CA    95118‐1917
UA 03/14/00
LOUISE G BILL                                      547 7TH ST                                                                                      SANTA MONICA     CA      90402‐2707
LOUISE G CRAIN                                     4001 CHAUCER DR                                                                                 DURHAM           NC      27705‐1501
LOUISE G DARROW                                    3690 SHAGBARK DR                                                                                CHELSEA          MI      48118‐9535
LOUISE G HALDEMAN & DAVID M LUND JT TEN            115 SPRINGDALE AVE                                                                              NEPTUNE CITY     NJ      07753‐6202
LOUISE G ISAAC                                     25615 UNION HILL                                                                                SUN CITY         CA      92586‐4115
LOUISE G KEENE                                     MIDDLE ST                                                                                       STOCKTON SPRINGS ME      04981

LOUISE G MAND                                      6015 GLENBARR PL                                                                                DUBLIN             OH    43017‐9055
LOUISE G SENESE                                    4 WALTER E FORAN BLVD                 STE 201                                                   FLEMINGTON         NJ    08822‐4666
LOUISE GILBERT                                     35 ROSEMONT AVE 108‐A                                                                           BRYN MAWR          PA    19010‐2717
LOUISE GRIMSBY MC LELAND                           711 LOVERS LN                                                                                   TOWNSEND           TN    37882‐6136
LOUISE GRODZKI                                     212 PULASKI AVE                                                                                 SAYERVILLE         NJ    08872‐1254
LOUISE GUTHRIE BENNET                              4909 CLOVENNOOK RD                                                                              LOUISVILLE         KY    40207‐1115
LOUISE H ALDRICH                                   211 LONGLEAF WAY                                                                                PINE MOUNTAIN      GA    31822‐2825
LOUISE H FITZPATRICK                               9040 RIDER DR                                                                                   FISHERS            IN    46038
LOUISE H HOOVER                                    6309 WALTON HEATH PLACE                                                                         UNIVERSITY PARK    FL    34201‐2249
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Name                                                Address1                              Address2             Address3           Address4          City            State Zip

LOUISE H MC NELLY                                   29 GLORIA AVE                                                                                   NEW LEBANON     OH    45345‐1123
LOUISE H MUELLER                                    18510 64TH AVE N E                                                                              KENMORE         WA    98028‐7944
LOUISE H RHODES                                     #41                                   205 FORREST RD                                            WEST MONROE     LA    71291‐1640
LOUISE H RUGH                                       346 REED SCHOOLHOUSE ROAD                                                                       SEVIERVILLE     TN    37876‐1342
LOUISE H SAVAGE                                     1557 OAK HILL ROAD                                                                              WOOSTER         OH    44691‐1437
LOUISE H TEITGE                                     858 LAKE SHORE                                                                                  GROSSE POINTE   MI    48236‐1351
                                                                                                                                                    SHRS
LOUISE H WATSON                                     646 CLIFFVIEW DRIVE                                                                             BRANDON         MS    39047‐9184
LOUISE HOATSON & BRENDA HOLDEN & JOAN CARLE JT      11733 HAZELDELL DR                                                                              RIVERSIDE       CA    92505‐3324
TEN
LOUISE HOOVER                                       4063 PEACEFUL PLACE                                                                             GREENWOOD        IN   46142‐8547
LOUISE HORVATH                                      PO BOX 1444                                                                                     PAINESVILLE      OH   44077‐7345
LOUISE IVORY                                        50 S EDITH ST                                                                                   PONTIAC          MI   48342‐2939
LOUISE J CANAVAN                                    20 BELLEVUE ROAD                                                                                BRAINTREE        MA   02184‐5112
LOUISE J DE GRUY                                    6204 GENERAL DIAZ ST                                                                            NEW ORLEANS      LA   70124‐3037
LOUISE J DOUGHTY CUST MELISSA RUTH DOUGHTY          PO BOX 2                                                                                        CHEBEAGUE ISLAND ME   04017‐0002
U/THE MASS U‐G‐M‐A
LOUISE J FEMRITE                                    305 SEVERSON LN                                                                                 STOUGHTON       WI    53589‐1883
LOUISE J FLETCHER                                   2439 BEULAH ST                                                                                  PHILADELPHIA    PA    19148‐3802
LOUISE J GALLAGHER                                  69 WHITE ROCK TERRACE                                                                           COURTDALE       PA    18704‐1153
LOUISE J GIOVACCHINI                                270 LOCUST ROAD                                                                                 WINNETKA        IL    60093‐3609
LOUISE J GONYEA & LLOYD J GONYEA JT TEN             19101 S HIGHLITE DR                                                                             CLINTON TWP     MI    48035‐2548
LOUISE J HUSSEY                                     1567 CASTEEL DRIVE                                                                              WILLITS         CA    95490‐8305
LOUISE J HUTCHINS TR LOUISE J HUTCHINS TRUST UA     10136 GREENVIEW CT                                                                              GOODRICH        MI    48438‐8890
7/27/98
LOUISE J KOONTZ                                     246 PARK ST                           PO BOX 43                                                 URSINA           PA   15485‐0043
LOUISE J MODEL                                      3350 SCOTT ST                                                                                   SAN FRANCISCO    CA   94123‐2014
LOUISE J MODICA                                     PO BOX 14407                                                                                    SAINT PETERSBURG FL   33733‐4407

LOUISE J WHITE                                      2415 SHORE DRIVE                                                                                CELINA          OH    45822‐2637
LOUISE JOHNSON                                      502 WEST HOWRY AVE                                                                              DELAND          FL    32720‐5343
LOUISE JONES                                        2455 EAST 89 ST                                                                                 CLEVELAND       OH    44104‐2358
LOUISE JOUARD                                       1405 KALMIA AVE                                                                                 BOULDER         CO    80304‐1814
LOUISE JUDITH LATSKO & THOMAS J LATSKO JT TEN       5291 BELLE MEAD DR                                                                              AIKEN           SC    29803‐3779

LOUISE K CARPENTER                                  4 HAMDEN CIRCLE                                                                                 CHERAW          SC    29520‐1604
LOUISE K ESSIG                                      10775 MAPLEWOOD RD                                                                              LA GRANGE       IL    60525‐4814
LOUISE K GLEASON                                    2841 PARKMAN RD NW                    APT 113                                                   WARREN          OH    44485‐1648
LOUISE K MEADE                                      PO BOX 2113                                                                                     NEW SMYRNA      FL    32170‐2113
LOUISE K POJE                                       642 EAST 78TH PLACE                                                                             MERRILLVILLE    IN    46410‐5625
LOUISE K SIMMS                                      1040 E 33RD ST                        APT 110                                                   BALTIMORE       MD    21218‐3019
LOUISE KEENAN                                       10 SHERATON PARK                                                                                ARLINGTON       MA    02474‐8220
LOUISE KING                                         1404 S RIBBLE AV                                                                                MUNCIE          IN    47302‐3732
LOUISE KOENIG                                       127 CRANE                                                                                       DEPEW           NY    14043‐2507
LOUISE KOPINA & MICHAEL A KOPINA JT TEN             PO BOX 721                                                                                      LADD            IL    61329‐0721
LOUISE KOVALSKY CUST HALLEY KOVALSKY UGMA NJ        8499 CONGRESSIONAL DRIVE                                                                        TALLAHASSEE     FL    32312

LOUISE KRICKEBERG                                   364 HECKMAN ST                                                                                  PHILLIPSBURG    NJ    08865‐3236
LOUISE KUBAK                                        163 OLD CRANBURY ROAD                                                                           CRANBURY        NJ    08512‐3019
LOUISE L DALEY                                      200 5TH AVE SOUTH #204                                                                          CLINTON         IA    52732‐4309
LOUISE L FRANC & FRANK A FRANC JT TEN               14519 GREENLAND AVE                                                                             ORLAND PARK     IL    60462‐2431
LOUISE L MALLON                                     317 SARATOGA RD                                                                                 SNYDER          NY    14226‐4632
LOUISE L WHITE                                      460 COUNTY ROUTE 40                                                                             MASSENA         NY    13662‐3426
LOUISE LACLAIR MADDEN                               168 GLENVIEW DRIVE                                                                              BIRMINGHAM      AL    35213‐3835
LOUISE LANGE STEWART                                1920 JEFFERSON AVE                                                                              NEW ORLEANS     LA    70115‐5617
LOUISE LIPPA                                        932 SUMMITVILLE DR                                                                              WEBSTER         NY    14580‐4130
LOUISE LOVETT                                       555 GRIFFIN RD                                                                                  SOUTH WINDSOR   CT    06074‐1382
LOUISE LUCILLE FISCUS & FREDERICK ALLEN FISCUS JT   12571 ROUTE 208                                                                                 MARBLE          PA    16334
TEN
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Name                                            Address1                             Address2             Address3           Address4          City             State Zip

LOUISE LYNN                                     652 BROAD ST                                                                                   BATESVILLE       AR    72501‐7107
LOUISE M ALTMAN & EDWARD F ALTMAN JT TEN        3501 N ADELL                                                                                   CHICAGO          IL    60634
LOUISE M BAGALA                                 1263 BRITTANY CIRCLE                                                                           COLORADO SPRINGS CO    80918‐3109

LOUISE M BARATTA                                124 CONNOLLY DR                                                                                MILLTOWN         NJ    08850‐2174
LOUISE M BISHOP TR LOUISE M BISHOP REVOCABLE    6253 THUNDERBIRD DR                                                                            MENTOR           OH    44060‐3019
TRUST UA 12/21/98
LOUISE M BOTICA TR LOUISE M BOTICA TRUST UA     615 DOLPHIN COVE CT                                                                            DEBARY           FL    32713‐2757
10/05/94
LOUISE M BUCKLEY                                7 SCARNIS DR                                                                                   DANVILLE         PA    17821
LOUISE M BURFITT                                540 CAPE ST                                                                                    PAINESVILLE      OH    44077
LOUISE M CISCO                                  4423 CARTA LUNA ST                                                                             LAS VEGAS        NV    89135‐2429
LOUISE M CLARK                                  3010 STATE RT 23                                                                               FRANKLIN         NJ    07416‐2011
LOUISE M CONRAD CUST FREDERICK P CONRAD UGMA    5130 KAISER AVE                                                                                SANTA BARBARA    CA    93111‐2421
CA
LOUISE M COOLEY                                 509 GEORGETOWN ST                                                                              HAZLEHURST       MS    39083‐2409
LOUISE M DAGES                                  45 TALLY HO ROAD                                                                               RIDGEFIELD       CT    06877‐2817
LOUISE M DECKER                                 BOX 28                                                                                         COBLESKILL       NY    12043‐0028
LOUISE M DILL & SALLY B BARLOW JT TEN           801 BALD EAGLE RD                                                                              REHOBOTH BEACH   DE    19971‐1419

LOUISE M GODINO TR LOUISE M GODINO TRUST UA     64 ALLEN AVE                                                                                   WABAN            MA    02468‐1702
05/03/95
LOUISE M HALL                                   3725 CLARKE AVE                                                                                FORT WORTH       TX    76107‐2635
LOUISE M HAMAN                                  231 CHRYSLER RD                      UNIT 35                                                   OSCODA           MI    48750‐1623
LOUISE M HAUGH                                  1700 CEDARWOOD DR                    APT 219                                                   FLUSHING         MI    48433‐3603
LOUISE M HENDERSON                              912 N CHILSON                                                                                  BAY CITY         MI    48706‐3502
LOUISE M HILBERT                                7828 SWAMP RD                                                                                  BERGEN           NY    14416‐9353
LOUISE M JOHNSON                                210 YORK DRIVE                                                                                 GAFFNEY          SC    29340‐3631
LOUISE M JOHNSON                                17618 CLOVERVIEW DR                                                                            TINLEY PARK      IL    60477‐6589
LOUISE M KOEPPL                                 7640 CHESTNUT RIDGE RD                                                                         ORCHARD PARK     NY    14127
LOUISE M KOVAR                                  25110 JEFFERSON CT                                                                             SOUTH LYON       MI    48178
LOUISE M LA FAVE                                525 SELKIRK DR                                                                                 MOUNT MORRIS     MI    48458‐8919
LOUISE M LEGGETT & M ABBEY LEGGETT JT TEN       ATT M ABBEY LEGGETT PRESSLEY         5191 REDFERNWAY                                           BIRMINGHAM       AL    35242‐3149
LOUISE M LEWIS CUST ANDREW BENTON LEETY UGMA 1024 N UTAH ST                          APT 424                                                   ARLINGTON        VA    22201‐5735
VA
LOUISE M LIEBER                                 9274 NORTH 51ST STREET                                                                         MILWAUKEE        WI    53223‐1429
LOUISE M LYNCH                                  25 GLEN EAGLES DRIVE                                                                           LARCHMONT        NY    10538‐1206
LOUISE M MAC MULLEN CUST CHRIS GREGORY          173 VICTORIA RD                                                                                MILLERSVILLE     PA    17551‐1308
HABECKER JR UGMA PA
LOUISE M MAC MULLEN CUST CLARK WENDT HABECKER 173 VICTORIA RD                                                                                  MILLERSVILLE     PA    17551‐1308
UTMA PA
LOUISE M MASTRELLA                              23 INGRAM DR                                                                                   ROCHESTER        NY    14624‐2906
LOUISE M NELSON TR LOUISE M NELSON REV TRUST UA 5429 SQUIRE LANE                                                                               FLINT            MI    48506‐2275
01/19/04
LOUISE M PAGANS & STEPHEN B PAGANS JT TEN       360 JACKS CREEK ROAD                                                                           GLADE HILL       VA    24092
LOUISE M PONICKI & MARY BECKETT JT TEN          3523 DAVENTRY LN NW                                                                            KENNESAW         GA    30144‐7319
LOUISE M REID                                   RT1 BOX 1191                                                                                   GOLDEN           MO    65658‐9758
LOUISE M RODEMAN                                C/O D SHAFFER                        BOX 675                                                   WILBUR           OR    97494‐0675
LOUISE M SEMOTINK TOD DAVID J SEMOTINK SUBEJCT 774 CANNON AVE                                                                                  SHOREVIEW        MN    55126
TO STA TOD RULES
LOUISE M SEMOTINK TOD LAURA K DUFFNEY SUBEJCT 774 CANNON AVE                                                                                   SHOREVIEW        MN    55126
TO STA TOD RULES
LOUISE M SINGER                                 4423 CARTA LUNA ST                                                                             LAS VAGAS        NV    89135‐2429
LOUISE M TEUTONICO                              3026 AVENUE T                                                                                  BROOKLYN         NY    11229‐4027
LOUISE M WILSON TR UA 09/21/90 LOUISE MAYO      2800 N ATLANTIC AVE                  APT #407                                                  DAYTONA BEACH    FL    32118‐3022
WILSON TRUST
LOUISE MACCALLUM                                2395 CONQUEST DRIVE                  MISSISSAUGA ON                          L5C 2Z1 CANADA
LOUISE MAGURAN                                  11037 AUBURNDALE                                                                               LIVONIA          MI    48150‐2883
LOUISE MARIE GREEN                              401 W 9TH ST                                                                                   ANTIOCH          CA    94509‐1642
                                                09-50026-mg              Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                             Address2             Address3           Address4                 City             State Zip

LOUISE MARSH CUST KYLE MARSH UTMA IN              6510 DEERFIELD DR                                                                                     GREENWOOD        IN    28269
LOUISE MARY DE JAMES                              365 B‐SOUTH EVALINE STREET                                                                            PITTSBURGH       PA    15224‐2232
LOUISE MAYS                                       4911 HASKELL AVE                                                                                      KANSAS CITY      KS    66104
LOUISE MC EVER                                    C/O SUSAN PADOVER                    2523 HERBERT DRIVE                                               NORTHFIELD       NJ    08225
LOUISE MC GILL PAYNE & JOHN B PAYNE JT TEN        217 W ALLEN ST                                                                                        WINOOSKI         VT    05404‐2105
LOUISE MC GILL PAYNE & STEPHEN R PAYNE JT TEN     217 W ALLEN ST                                                                                        WINOOSKI         VT    05404‐2105

LOUISE MICKENS                                    340 E LAKE AVE                                                                                        RAHWAY           NJ    07065‐4942
LOUISE MILLOY                                     5922 MOCKINGBIRD LANE                                                                                 MC KINNEY        TX    75070‐5385
LOUISE MOORE & HIDA HAWLEY JT TEN                 617 NORTH FRANKLIN STREET                                                                             GREENVILLE       MI    48838‐1111
LOUISE N SAMSON                                   3 BLACK BEAR LN                                                                                       LITTLETON        CO    80127‐5758
LOUISE NAHIGIAN                                   24 FREEMONT ST                                                                                        LEXINGTON        MA    02421‐6513
LOUISE NANETTE BAILEY                             10730 W 69TH AVE                                                                                      ARVADA           CO    80004‐1414
LOUISE NARDI                                      94 LAWRENCE AVE                                                                                       KEANSBURG        NJ    07734‐1658
LOUISE NEWELL STEWART CUST PETER NEWELL           1318 HANOVER WEST DR NW                                                                               ATLANTA          GA    30327‐1116
STEWART UTMA GA
LOUISE O GURLEY                                   6238 WILD MEADOW TR                                                                                   MINT HILL        NC    28227‐7520
LOUISE O MC LEAN                                  12438 NOVA DR                                                                                         HOUSTON          TX    77077‐4824
LOUISE O SAMPSON & ROBERT B SAMPSON JT TEN        270 FLORIDA BLVD                                                                                      MERRITT ISLAND   FL    30953
LOUISE OLLILA                                     3705 APACHE RD                                                                                        VASSAR           MI    48768‐8917
LOUISE P LANGAN                                   6N408 VIRGINIA RD                                                                                     ROSELLE          IL    60172‐3139
LOUISE P PULLEN                                   1844 SOUTHWOOD RD                                                                                     BIRMINGHAM       AL    35216‐1416
LOUISE P TALBOT                                   867 CO HWY 20                                                                                         EDMESTON         NY    13335‐9764
LOUISE P WHEATON                                  13513 SUNCREST CT                                                                                     STRONGSVILLE     OH    44136‐4403
LOUISE P YOUNG                                    2982 QUAPAW TR                                                                                        MIDDLEBURG       FL    32068‐4246
LOUISE PARRISH DURRETT                            5100 MONUMENT AVE UNIT 1214                                                                           RICHMOND         VA    23230
LOUISE PARTON                                     15895 CENTRAL PIKE                                                                                    LEBANON          TN    37090‐8029
LOUISE PENA                                       4015 WEDGEWOOD RD                                                                                     ALLENTOWN        PA    18104
LOUISE PETERS                                     111 KALE AVE                                                                                          STERLING         VA    20164‐1721
LOUISE PETERS JOHNSON                             RR1                                                                                                   FOREST           IN    46039‐9801
LOUISE QUICK                                      4075 LONDON DERRY AVE                                                                                 COLUMBUS         OH    43228‐3430
LOUISE R ALLINSON                                 21 WISTAR ROAD                                                                                        PAOLI            PA    19301‐1825
LOUISE R CRUSEMANN                                CARRIAGE HOUSE                       4900 BRYCE                                                       FORT WORTH       TX    76107‐4115
LOUISE R FONTECCHIO                               813 STIRRUP DR                                                                                        NASHVILLE        TN    37221
LOUISE R INGRAM                                   221 WEST FIRST ST                                                                                     OCEAN ISLE BCH   NC    28469‐7511
LOUISE R KING                                     115 CHEROKEE CIRCLE S E                                                                               CARTERSVILLE     GA    30120‐4063
LOUISE R KING & C MELVIN KING JT TEN              115 CHEROKEE CIRCLE S E                                                                               CARTERSVILLE     GA    30120‐4063
LOUISE R MANDELMAN & ELLIOTT S MANDELMAN JT       54 SUSSEX RD                                                                                          NEW ROCHELLE     NY    10804‐2916
TEN
LOUISE R RUSHING TR LOUISE R RUSHING TRUST UA     3254 BON VIEW DR                                                                                      SALT LAKE CITY   UT    84109‐3704
02/18/99
LOUISE R STRASSNER                                61 BLACK CREEK ROAD                                                                                   ROCHESTER        NY    14623‐1945
LOUISE R WHEATLEY                                 11 NEW WALK TERR                     YORK                                    YO10 4BG GREAT BRITAIN
LOUISE RAMONDINO                                  2019 58TH STREET                                                                                      BROOKLYN        NY     11204‐2012
LOUISE RARICK                                     750 S WALKER 80                                                                                       BLOOMINGTON     IN     47403‐2106
LOUISE REISER & JOHN E REISER JT TEN              163 REGENT PLACE                                                                                      WEST HEMPSTEADY NY     11552‐1613

LOUISE REMBERT                                    26600 SCHOOLCRAFT                    APT 123                                                          REDFORD          MI    48239‐4623
LOUISE REYNOLDS                                   2169 MT HOPE LANE                                                                                     TOMS RIVER       NJ    08753‐1438
LOUISE ROBINSON                                   1403 E MANOR                                                                                          MUNCIE           IN    47303‐5023
LOUISE ROCK                                       40 RANDLETT PARK                                                                                      W NEWTON         MA    02465‐1717
LOUISE RUPP                                       5925 THOMPSON ROAD                                                                                    CLARENCE CTR     NY    14032‐9328
LOUISE S BARGE                                    4180 JERI LYNN CT                                                                                     TUCKER           GA    30084‐2107
LOUISE S BECK                                     212 BUSH DRIVE                                                                                        DOVER            DE    19901‐1578
LOUISE S BHAGAT TR BHAGAT TRUST UA 07/15/96       8590 GRIFFIN PARK DR                                                                                  CORDOVA          TN    38018‐4600

LOUISE S BRENNER                                  1764 TEAROSE LN                                                                                       CHERRY HILL      NJ    08003‐3212
LOUISE S CHRYSLER                                 318 W MOLLOY ROAD                                                                                     MATTYDALE        NY    13211‐1424
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LOUISE S EPP TOD HENRY C EPP SUBJECT TO STA TOD     2215 BERKLEY DR                                                                                  WESTLAKE          OH    44145‐3223
RULES
LOUISE S EPP TOD LYNDA L EPP SUBJECT TO STA TOD     2215 BERKLEY DR                                                                                  WEST LAKE         OH    44154
RULES
LOUISE S GANNON                                     34 MILLCREST RD                                                                                  WAKEFIELD         MA    01880
LOUISE S MEADOR                                     7274 ARROWSTONE RD                                                                               MECHANICSVILLE    VA    23111‐3402
LOUISE S PITTMAN                                    3815 CLOUDLAND DR SE                                                                             SMYRNA            GA    30082‐3212
LOUISE S PLANT                                      1801 SPEARS STREET                                                                               CHARLOTTE         VT    05445‐9285
LOUISE S SCOTT                                      PO BOX 190                                                                                       COLLIERVILLE      TN    38027‐0190
LOUISE S STONE CUST DICIE LOUISE LANSDEN UGMA KY    300 SYCAMORE LN                                                                                  MADISONVILLE      KY    42431‐8749

LOUISE S STONE CUST NANCY ELIZABETH LANSDEN         300 SYCAMORE LN                                                                                  MADISONVILLE      KY    42431‐8749
UGMA KY
LOUISE S SUPPLE TR UA 09/10/1987 SUPPLE MARITAL     904‐D RONDA SEVILLA                                                                              LAGUNA WOODS      CA    92637
FAMILY TRUST
LOUISE SALMON RAINE                                 894 CONCORD AVE                                                                                  VENTURA           CA    93004
LOUISE SCHUM                                        137 HILLCREST AVE                                                                                CRANFORD          NJ    07016‐2668
LOUISE SLATER & GERALD T SLATER JT TEN              1131 BRYANT SW                                                                                   WYOMING           MI    49509‐3519
LOUISE STARING                                      20 ORIOLE PATH                                                                                   LIVERPOOL         NY    13090‐2904
LOUISE SUTTON                                       4742 GRACE ROAD                                                                                  N OLMSTED         OH    44070‐3741
LOUISE SZELES                                       7717 S KATHERINE DR                                                                              INDIANAPOLIS      IN    46217‐4105
LOUISE T GAGNE                                      40 SHAWMUT AVE                                                                                   MARLBORO          MA    01752‐2910
LOUISE T HASLUP                                     7990 LEEWARD LN                                                                                  MURRELLS INLT     SC    29576‐8373
LOUISE T LEE                                        8102 FLOSSIE LN                                                                                  CLIFTON           VA    20124‐2050
LOUISE T TRICKER                                    17761 VINEYARD LANE                                                                              POWAY             CA    92064‐1061
LOUISE THAYER LUDWIG TR LUDWIG FAMILY TRUST UA      502 SOUTHVIEW DR                                                                                 EAST LIVERPOOL    OH    43920‐4259
02/16/00
LOUISE THOMAS                                       1359 LAFFER AVE                                                                                  AKRON             OH    44305‐3475
LOUISE THOMASON WESTBROOK                           322 FARRS LANDINGS RD                                                                            HOT SPRINGS       AR    71913‐7526
LOUISE TIMMONS                                      137 CARRINGTON DR                                                                                ROCHESTER         NY    14626‐4481
LOUISE TURNER VOGEL                                 343 S CHESTER PIKE                                                                               GLENOLDEN         PA    19036‐2108
LOUISE UNTERMEMER MCCLURE                           746 W WILLOW ST                                                                                  LOUISVILLE        CO    80027‐1032
LOUISE V CARD                                       15 WELLS ST                                                                                      ASHAWAY           RI    02804‐0003
LOUISE V STEVENS TR UA 08/28/09 LOUISE V STEVENS    8762 S SENECA ST                                                                                 WEEDSPORT         NY    13166
LIVING TRUST
LOUISE V TRACY                                      123 WINSLOW AVE                                                                                  ROCHESTER       NY      14620
LOUISE V TURNER                                     7026 EAST EDSEL FORD                                                                             DETROIT         MI      48211‐2403
LOUISE VANCE                                        PO BOX 352                                                                                       WILLOUGHBY      OH      44096‐0352
LOUISE W BONNET                                     ATTN LOUISE W MASSEY                   70A DAVIS RD                                              PORT WASHINGTON NY      11050‐3811

LOUISE W BOYLAN                                     1813 AZALEA DR                                                                                   WILMINGTON        NC    28403‐4801
LOUISE W HARTLEY                                    121 VISTA DRIVE                                                                                  AKRON             PA    17501‐1133
LOUISE W PATTERSON                                  PO BOX 1937                                                                                      BARNWELL          SC    29812‐4137
LOUISE W VAN ZANDT                                  2805 MILLBROOK RD                                                                                LITTLE ROCK       AR    72227‐3037
LOUISE W WENDLAND                                   8116 PENNSYLVANIA RD                                                                             BLOOMINGTON       MN    55438‐1137
LOUISE W WOODARD & GEORGE R WOODARD JT TEN          LASHWAY DR                                                                                       EAST BROOKFIELD   MA    01515

LOUISE WALLACE                                      15240 PARK ST                                                                                    OAK PARK          MI    48237‐1994
LOUISE WATSON                                       423 S MITCHELL AVE                                                                               LANSDALE          PA    19446‐3425
LOUISE WHITE                                        2909 WEST COLLAGE                                                                                SHREVEPORT        LA    71109‐2707
LOUISE WHITNEY CHRISTOFFERSON                       28 ALADDIN TER                                                                                   SAN FRANCISCO     CA    94133‐2604
LOUISE WILLETT CURTIS                               13501 RANCH ROAD 12                    STE 103                                                   WIMBERLEY         TX    78676
LOUISE WILLIAMS                                     4627 BRIAR OAKS CIRCLE                                                                           DALLAS            TX    75287‐7503
LOUISE WOLF                                         107 SOUTH DAVIS ST                                                                               CRAWFORDSVLLE     IN    47933
LOUISE YATES PHILLIPS & VICKI DUKE ALLEY JT TEN     3402 ELVIRA WAY                                                                                  VERO BEACH        FL    32960‐6561

LOUISE YOUNG                                        3221 S AUBURN STREET                                                                             SAGINAW           MI    48601‐4505
LOUISE Z FARR                                       159 RHOADS AVE                                                                                   HADDONFIELD       NJ    08033‐1414
LOUISE ZACHARY RICHEY                               204 JOHNNIE DR                                                                                   SHREVEPORT        LA    71115‐2606
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Name                                            Address1                            Address2                    Address3                     Address4            City           State Zip

LOUISE ZEH MORROW                                UNIVERSITY COUNSEL GEOFFREY A      O'NEILL UNIVERSITY OF CAL   1111 FRANKLIN ST 8TH FLOOR                       OAKLAND        CA    94607‐5201
LOUISETTE BROTHERS                               150 OLD LIVERPOOL ROAD             APT 69                                                                       LIVERPOOL      NY    13088‐6336
LOUISETTE S LEBRUN                               5062 JARRY ST E                    ST LEONARD QC                                            H1R 1Y4 CANADA
LOUISIANA DEPT OF REVENUE                        UNCLAIMCED PROPERTY DIV            PO BOX 91010                                                                 BATON ROUGE    LA    70821‐9010
LOUJEAN KARON                                    1240 LONGVALLEY RD                                                                                              GLENVIEW       IL    60025‐5119
LOULA J WEBB                                     611 GRADY RD                                                                                                    ETOWAH         TN    37331‐1903
LOULA M DRAY                                     124 MILL CREEK                                                                                                  CHESTERFIELD   IN    46017‐1702
LOULA S PALMER                                   25 DORANTES AVE                                                                                                 SF             CA    94116‐1430
LOULYNN TOWNSEND                                 10907 WICKERSHAM LANE                                                                                           HOUSTON        TX    77042‐2715
LOURDES B DEREGO                                 1123 WESTGATE ST                                                                                                NEW BEDFORD    MA    02745‐4122
LOURDES J JOHNSON & B J JOHNSON JT TEN           818 COUNTY ROAD 196                                                                                             EASTLAND       TX    76448‐6321
LOURDES J REGO                                   1123 WESTGATE ST                                                                                                NEW BEDFORD    MA    02745‐4122
LOURDES L CALIP                                  1393 HICKORY HOLLOW                                                                                             FLINT          MI    48532‐2036
LOURDES M EMKE                                   4021 BLOOD RD                                                                                                   METAMORA       MI    48455‐9244
LOURDES M MENDEZ                                 457 MOUNT PROSPECT AVE             APT 4                                                                        NEWARK         NJ    07104‐2914
LOURDES P LIM                                    APT 6D                             1385 YORK AVE                                                                NEW YORK       NY    10021‐3911
LOURDES PARELLADA DE CABAU                       CI SANDALO 5‐2‐D                   URB LA PIOVERA              28042 MADRID                 SPAIN
LOURDES SALAMANCA YOUNG                          9317 LINDEN AVE                                                                                                 BETHESDA       MD    20814‐1651
LOURENZA BUSCH & VALERIE B SMITH JT TEN          PO BOX 341                                                                                                      EUDORA         AR    71640‐0341
LOURETTA WILLIAMS & GLORIA HENRY JT TEN          PO BOX 223                                                                                                      BOLTON         MS    39041‐0223
LOURIE L HENDERSON                               5219 HAROLD DR                                                                                                  FLUSHING       MI    48433‐2538
LOUSILLA L KELLY                                 11342 MINOCK                                                                                                    DETROIT        MI    48228‐1310
LOUVA A BARTON                                   1416 KINGFISHER DRIVE                                                                                           ENGLEWOOD      FL    34224‐4626
LOUVEL M BOWLING                                 6110 NORTH PARK WAY                                                                                             TACOMA         WA    98407‐2225
LOUVENIA JOHNSON                                 9641 9TH AVE N                                                                                                  BIRMINGHAM     AL    35217‐2286
LOUVENIA R HUNTER                                2516 AIRPORT RD                                                                                                 RAYMOND        MS    39154‐9314
LOUZENE GARNER                                   30032 OAKWOOD                                                                                                   INKSTER        MI    48141‐1559
LOVEDA CARTER                                    2462 S COUNTY RD #1100 E                                                                                        PERU           IN    46970‐8802
LOVEDA GROOMS                                    115 FOLIAGE LN                                                                                                  SPRINGBORO     OH    45066‐9335
LOVEDA S OSBORNE                                 6701 OAKFIELD DR                                                                                                DAYTON         OH    45415‐1526
LOVEDY E MORRONE                                 3539 DUNKIRK DR                                                                                                 ANCHORAGE      AK    99502‐3059
LOVELACE W GABBARD                               465 RICHARDS LA                                                                                                 CINCINNATI     OH    45244‐1706
LOVELL E LEE                                     17500 OAK DR                                                                                                    DETROIT        MI    48221‐2747
LOVELL FREEMAN                                   1312 WOODGLEN                                                                                                   YPSILANTI      MI    48198‐6222
LOVELL IRBY                                      1524 MARTIN L KING                                                                                              SELMA          AL    36703‐3403
LOVELL L GRUMLEY                                 10425 CRONK RD                                                                                                  LENNON         MI    48449‐9647
LOVELL LLOYD                                     11415 WOODKNOLL LN                                                                                              HOUSTON        TX    77071‐2325
LOVELL O LEMMONS                                 4018 PARK PL                                                                                                    CR ELLENWOOD   GA    30049‐1500
LOVELL PAIGE                                     16700 ASBURY PARK                                                                                               DETROIT        MI    48235‐3659
LOVELLA RADFORD                                  1053 WINBURN DR                    APT 91                                                                       LEXINGTON      KY    40511‐1439
LOVELLE JULIA MCCLOW                             5860 JOHN R RD                                                                                                  TROY           MI    48085‐3873
LOVELYN RENAVD                                   8481 W CR‐700 S                                                                                                 DALEVILLE      IN    47334‐9415
LOVENE ROBERSON                                  1838 ARKOSE DRIVE SE                                                                                            ATLANTA        GA    30316‐4114
LOVENIA BROCK                                    301 BROCK LANE                                                                                                  LONDON         KY    40744
LOVENIA TIBBS                                    336 SUNDRIDGE DR                                                                                                BUFFALO        NY    14228‐1809
LOVENNA A SPRUDE                                 9345 S STATE ROUTE 202                                                                                          TIPP CITY      OH    45371‐9473
LOVER SMITH JR                                   2304 ALEXANDER ST                                                                                               FLINT          MI    48505‐4904
LOVETTA BALDWIN                                  423 N STREET                                                                                                    BEDFORD        IN    47421‐2119
LOVEY JANE W FRIDENSTINE & PAUL NELSON WALKER JT PO BOX 554                                                                                                      IRVINGTON      VA    22480‐0554
TEN
LOVEY JANE W FRIDENSTINE & RANDOLPH HASTINGS     PO BOX 554                                                                                                      IRVINGTON      VA    22480‐0554
WALKER III JT TEN
LOVEY M SCOTT                                    HCR 1 BOX 4067                                                                                                  KEAAU          HI    96749‐9705
LOVIE M BREWER                                   6407 RUSTIC RIDGE TRL                                                                                           GRAND BLANC    MI    48439‐4950
LOVINA F SPRINGER                                10575 LANGE ROAD                                                                                                BIRCH RUN      MI    48415‐9797
LOVITA R KELLEY‐GRIFFIN & MARLO D GRIFFIN JT TEN 104 N FORK DR                                                                                                   SHERWOOD       AR    72120‐5833

LOWELL A BARRETT                                9400 DIBOT CT                                                                                                    HUDSON         FL    34667‐8586
LOWELL A BURT                                   4582 TOWNSHIP ROAD 51                                                                                            GALION         OH    44833‐9016
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LOWELL A BURT & BEATRICE M BURT JT TEN            4582 TOWNSHIP ROAD 51                                                                         GALION           OH    44833‐9016
LOWELL A KING                                     3600 E 650 N                                                                                  MARION           IN    46952‐9179
LOWELL A PARKIN                                   9844 RIDGE RUN RD                                                                             CHEBOYGAN        MI    49721‐7805
LOWELL A PETTIES                                  416 VOORHEES AVE                                                                              BUFFALO          NY    14216‐2116
LOWELL A PUTZIER                                  925 LOCKWOOD DR                                                                               BEAUMONT         TX    77706‐5547
LOWELL A WOGAN                                    572 S CORPINO DE PECHO                                                                        GREEN VALLEY     AZ    85614‐1960
LOWELL B GRIZZLE & MRS MARY NELL GRIZZLE JT TEN   2032 WOODBINE ST                                                                              KINGSPORT        TN    37660‐1156

LOWELL B WOLFE                                    17816 EGO ST                                                                                  EASTPOINTE       MI    48021‐3172
LOWELL BONIFIELD                                  5100 WOOD SHIRE DRIVE                                                                         COLUMBIA         MO    65202
LOWELL BRIAN WIMBOUROUGH                          3749 SOUTH COUNTY ROAD              1300 EAST                                                 KIRKLIN          IN    46050
LOWELL C JONES                                    7045 HUNTERS RIDGE DR                                                                         PLAINFIELD       IN    46168‐7920
LOWELL C KEITH                                    4302 WORCHESTER CT                                                                            CARMEL           IN    46033‐7789
LOWELL C PADDOCK                                  ADAM OPEL AG IPC A4‐01              PO BOX 9022                                               WARREN           MI    48090‐9022
LOWELL C PARKS                                    3535 HIGHWAY 62 NW                                                                            CORYDON          IN    47112‐6712
LOWELL C SEAL                                     135 TAXIWAY AVE                                                                               EASLEY           SC    29640‐6817
LOWELL CHRISTIAN                                  4527 MARLBORO COURT                                                                           ST LOUIS         MO    63121‐2610
LOWELL D BERG                                     16271 BAGLEY AVE                                                                              FARIBAULT        MN    55021‐7687
LOWELL D EVANS                                    1881 SHAW RD                                                                                  INDEPENDANCE     KY    41051‐7918
LOWELL D GIFFORD                                  4559 BLACKWELL ROAD                                                                           OCEANSIDE        CA    92056‐4901
LOWELL D GIFFORD & LYNDA T GIFFORD JT TEN         4559 BLACKWELL ROAD                                                                           OCEANSIDE        CA    92056‐4901
LOWELL D GRIFFIS                                  165 LAKESHORE DR                                                                              GILBERTSVILLE    KY    42044‐8722
LOWELL D KNIGHT                                   344 HIGHLAND AVE                                                                              WADSWORTH        OH    44281‐2157
LOWELL D OVERBO & JOAN C OVERBO JT TEN            BOX 183                                                                                       ASHLEY           ND    58413‐0183
LOWELL DUNN WILSON                                329 S SMEDLEY ST                                                                              PHILADELPHIA     PA    19103‐6717
LOWELL E ARNOLD                                   1272 HILLSIDE RD                                                                              GREENVILLE       OH    45331‐2661
LOWELL E BOUREN                                   522 RIVERVIEW ST                                                                              MONROE           MI    48162‐2957
LOWELL E CONKLIN JR                               73A COWPER RD                       UMINA SOUTH WALES                       2257 AUSTRALIA
LOWELL E DEEM                                     713 HOLLISTER ST                                                                              PONTIAC          MI    48340‐2427
LOWELL E ELMORE                                   126 CHADWICK DR                                                                               PEACHTREE CITY   GA    30269‐2779
LOWELL E FRAZIER                                  50880 BOG RD                                                                                  BELLEVILLE       MI    48111‐4269
LOWELL E HAMILTON                                 PO BOX 380                                                                                    GREENVILLE       OH    45331‐0380
LOWELL E KOLEHMAINEN                              PO BOX 61                                                                                     DOLLAR BAY       MI    49922‐0061
LOWELL E LEMON                                    800 W POPLAR                                                                                  ZIONSVILLE       IN    46077‐1222
LOWELL E MASSIE                                   PO BOX 72                                                                                     GREENUP          IL    62428
LOWELL E SHOAF                                    3776 HAZEL TRL                      UNIT A                                                    SAINT PAUL       MN    55129‐8703
LOWELL E SMITH                                    3915 SUZAN DR                                                                                 ANDERSON         IN    46013‐2632
LOWELL E STEVENS                                  ATTN LOWELL E STEVENS               1100 HILL ST                                              SUMMITVILLE      IN    46070
LOWELL E TATE                                     BOX 406                                                                                       WYNANTSKILL      NY    12198‐0406
LOWELL EDWIN FINCH                                206 ASHLEY RIVER RD                                                                           MYRTLE BEACH     SC    29588‐7427
LOWELL F ACHENBACH                                28655 ST RD 213                                                                               ATLANTA          IN    46031‐9717
LOWELL F ROTHERT & MARILYN L ROTHERT JT TEN       3730 SANDHILL ROAD                                                                            LANSING          MI    48911‐6151
LOWELL F SLAVEN                                   13113 HAMILTON COMMONS BLVD                                                                   NOBLESVILLE      IN    46060‐6780
LOWELL G STOCKDALE                                5534 CONGRESS TWP RD 117                                                                      MOUNT GILEAD     OH    43338
LOWELL GIBSON                                     5632 CURZON                                                                                   FT WORTH         TX    76107‐5937
LOWELL GILMORE & PATRICIA LEE GILMORE JT TEN      304 DAWN AVE                                                                                  INTERLACHEN      FL    32148‐5123

LOWELL HILE                                       68627 C R 33                                                                                  GOSHEN           IN    46526‐8536
LOWELL HOGLE                                      4505 PARADISE RD APT 2401                                                                     LAS VEGAS        NV    89169
LOWELL I SANDERS                                  4507 EMERALD WAY                    #4                                                        CULVER CITY      CA    90230‐4218
LOWELL J MUMA JR                                  11274 HANKERD ROAD                                                                            PLEASANT LAKE    MI    49272‐9737
LOWELL JACKSON JR                                 1712 LAUREL DR                                                                                MARION           IN    46953‐2905
LOWELL JORDAN                                     PO BOX 294                                                                                    BUNKER           MO    63629‐0294
LOWELL K RUSSELL                                  1718 GOLDEN STAR RD                                                                           ASH FLAT         AR    72513‐9849
LOWELL L GATTES                                   156 RENFREW                                                                                   ADRIAN           MI    49221‐1808
LOWELL L OLSON                                    2581 ROYAL OAKS DRIVE                                                                         FREEPORT         IL    61032‐9256
LOWELL L REIHM & JOAN C REIHM JT TEN              110 E GRANT ST                                                                                AVON             IL    61415‐5032
LOWELL M CARTY JR                                 606 W LINDNER AVE                                                                             MESA             AZ    85210‐6836
LOWELL M RICHARDSON                               16 RICHMOND ST                                                                                CARBONDALE       PA    18407‐1668
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LOWELL MOORE & LILA JEAN MOORE JT TEN               84684 GRANDE RONDE RD                                                                        ENTERPRISE        OR    97828‐5020
LOWELL N CRAIG                                      9 TAYLOR RUN                                                                                 BEDFORD           IN    47421‐9100
LOWELL N LEGGE                                      3172 N CENTENNIAL ST                                                                         INDIANAPOLIS      IN    46222‐1917
LOWELL O HALTOM                                     196 E GREENCASTLE RD                                                                         MOORESVILLE       IN    46158‐7247
LOWELL P MITCHELL                                   5945 ESTELLA WA 13                                                                           ORLANDO           FL    32809‐4378
LOWELL PERRY                                        6378 HAMM RD                                                                                 LOCKPORT          NY    14094‐6528
LOWELL R GROSS                                      18536 COUNTY ROAD 111                                                                        DEFIANCE          OH    43512‐8300
LOWELL R HOPPER                                     322 WILSON TOWN RD                                                                           RUSSELL SPRINGS   KY    42642‐8812
LOWELL R MOBBS                                      1712 VARNER ST                                                                               HIXSON            TN    37343‐1741
LOWELL R UPTON                                      11121 HANE ST                                                                                ANCHORAGE         AK    99516‐1442
LOWELL R WALDEN                                     1701 NE 114TH ST                                                                             KANSAS CITY       MO    64155‐1430
LOWELL RICHARD JACKSON                              2302 MACINTOSH CIR                                                                           DAYTON            OH    45426‐5021
LOWELL S BLANK & NORMA L BLANK JT TEN               6136 LINDA LANE                                                                              INDIANAPOLIS      IN    46241‐1128
LOWELL T BOYLE                                      14785 KINGSPORT HWY                                                                          CHUCKEY           TN    37641‐3746
LOWELL T CARTER                                     PO BOX 1823                                                                                  LONDON            KY    40743‐1823
LOWELL T EARLS                                      3716 N VERNON DR                                                                             MUNCIE            IN    47304‐1750
LOWELL T ESPY & ANNA L ESPY JT TEN                  6415 PELHAM DRIVE                                                                            ALLEN PARK        MI    48101‐2338
LOWELL T KEIF                                       4041 CHENLOT                                                                                 WATERFORD         MI    48328‐4218
LOWELL T PARKER                                     15 FERN ROAD                                                                                 STOCKBRIDGE       GA    30281‐2120
LOWELL T PERRY                                      5373 BIGGER ROAD                                                                             DAYTON            OH    45440‐2608
LOWELL THOMAS NELSON & CYNTHIA ANNE NELSON          3618 GILLON AVE                                                                              DALLAS            TX    75205‐3222
TEN COM
LOWELL UPTON & LAURA UPTON JT TEN                   11121 HANE ST                                                                                ANCHORAGE         AK    99516‐1442
LOWELL V LOCKWOOD                                   126 E PINE                         PO BOX 172                                                ELSIE             MI    48831‐0172
LOWELL V RADKE                                      18979 REDLAND RD #1204                                                                       SAN ANTONIO       TX    78259
LOWELL W BAILEY                                     7550 WASATEL LAKE RD                                                                         POLAND            IN    47868‐6820
LOWELL W HOLT                                       7513 ABBIE PL                                                                                CINCINNATI        OH    45237‐2601
LOWELL W KRATZER                                    28250 DEF‐AYERS RD                                                                           DEFIANCE          OH    43512‐8841
LOWELL W KRATZER & RITA M KRATZER JT TEN            28250 DEF‐AYERS RD                                                                           DEFIANCE          OH    43512‐8841
LOWELL W LUNDBERG                                   1701 PLUM TREE RD                                                                            FARGO             ND    58102‐2410
LOWELL W NELSON                                     6292 BLACKBERRY                                                                              ALGER             MI    48610‐9411
LOWELL W NORMAN                                     426 W NORTHLAND AVE                                                                          IRONWOOD          MI    49938‐1037
LOWELL W OLSON                                      3411 HABERSHAM RD NW                                                                         ATLANTA           GA    30305‐1158
LOWELLVILLE SCHOOL DISTRICT                         21 EAST WALNUT STREET                                                                        LOWELLVILLE       OH    44436‐1155
LOWREAN H WINTERS                                   1926 BOLING ST                                                                               JACKSON           MS    39213‐4423
LOWRET JONES                                        1643 PRENDERGAST LN                                                                          ST LOUIS          MO    63138‐1724
LOWRY CITY                                          ATTN YOUTH SPECIALIST              LOWRY CITY 4 H CLUB   BOX 357                             LOWRY CITY        MO    64763‐0357
LOWRY CITY                                          ATTN YOUTH SPECIALIST              LOWRY CITY 4 H CLUB   PO BOX 357                          LOWRY CITY        MO    64763‐0357
LOWRY CITY 4‐H CLUB                                 ATTN YOUTH SPECIALIST              LOWRY CITY 4 H CLUB   PO BOX 357                          LOWRY CITY        MO    64763‐0357
LOWRY D BROWN                                       216 HILLVIEW TERRACE                                                                         FENTON            MI    48430‐3524
LOY A MOSS & DONNA MOSS JT TEN                      91253 MARCOLA RD                                                                             SPRINGFIELD       OR    97478‐9736
LOY B PAYNE                                         5652 HIGHLAND ST                                                                             FOREST PARK       GA    30297‐4074
LOY E BRYANT SR                                     52 WEST BIRCH ROAD                                                                           MEDWAY            OH    45341‐1308
LOY H ALT                                           19 DIHEDRAL DR                                                                               BALTIMORE         MD    21220‐4610
LOY K DESPAIN TR UA 02/09/09 LOY K DESPAIN FAMILY   133 W COUNTRY SPRINGS CIR                                                                    BOUNTIFUL         UT    84010
TRUST
LOY R JENKINS                                       55 MAYFIELD ROAD                                                                             CARTERSVILLE       GA   30120‐6873
LOY W MCDONALD                                      PO BOX 997                                                                                   WEATHERFORD        TX   76086‐0997
LOY WATKINS & MARGARET C WATKINS JT TEN             2538 PAUL DRIVE                                                                              GAINESVILLE        GA   30504‐5669
LOYAL G ANDERSON                                    3490 CLIFFORD RD                                                                             CLIFFORD           MI   48727‐9704
LOYAL HESS MORTLEY & GINA P MORTLEY JT TEN          4188 WALL ST                                                                                 CENTERBURG         OH   43011‐9431
LOYAL KERSHAW                                       1220 N MAYWOOD DR                                                                            MAYWOOD            IL   60153‐1879
LOYAL M KILWAY                                      21009 BON HEUR ST                                                                            SAINT CLAIR SHORES MI   48081‐3105

LOYAL O SYRING                                      1278 BEAVER ROAD                                                                             KAWKAWLIN         MI    48631‐9121
LOYAL PRITCHARD                                     145 PECKERWOOD RD                                                                            JACKSON GAP       AL    36861‐3220
LOYAL W BUNNELL JR                                  310 CLAREMONT AVE                                                                            CLARKS SUMMIT     PA    18411‐1510
LOYAL W FREEMAN & BERNICE A FREEMAN JT TEN          6341 OLIVER AVE S                                                                            RICHFIELD         MN    55423‐1123
LOYAL ZACHARY JR                                    157 WESTVIEW                                                                                 KALAMAZOO         MI    49009‐1230
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Name                                             Address1                            Address2                Address3        Address4          City              State Zip

LOYCE D CULBERTSON                               3624 WOSLEY DRIVE                                                                             FORT WORTH        TX    76133‐2137
LOYCE D HARDIN                                   809 COXSPUR ST                                                                                ZEILGER           IL    62999‐1014
LOYCE G DAVIS                                    490 SOUTH RACCOON ROAD              APT F‐4                                                   AUSTINTOWN        OH    44515‐3679
LOYCE H BEATY                                    12770 BALSA LANE                                                                              BEAUMONT          TX    77713‐9424
LOYCE R GAITHER                                  PO BOX 647                                                                                    ANDERSON          IN    46015‐0647
LOYD A BROWNBACK                                 RR 1 BOX 45                                                                                   MOUND CITY        KS    66056‐9513
LOYD A HYPES                                     4121 WINDSOR PKWY                                                                             DALLAS            TX    75205‐1670
LOYD A LUCAS                                     8303 W STATE RD 28                                                                            TIPTON            IN    46072‐9026
LOYD ARNOLD LACKEY                               1142 CHARSTONE DR                                                                             SOUTHAVEN         MS    38671‐6055
LOYD D WATERS                                    1939 EVERGREEN                                                                                PAMPA             TX    79065‐4003
LOYD E DICKERSON                                 217 E STODDARD ST                                                                             DEXTER            MO    63841‐1753
LOYD E NOWLIN                                    1921 MEADOW LANE                                                                              ARLINGTON         TX    76010‐5717
LOYD EDWARD SETTLE                               920 THIRD ST                                                                                  BOONE             IA    50036‐3634
LOYD ELLIS BRUMLEY                               610 BENTON AVE                                                                                MONROE            LA    71202‐5708
LOYD H HARMEIER                                  5861 N STANDISH RD                                                                            BENTLEY           MI    48613‐9644
LOYD H LOTT                                      PO BOX 2714                                                                                   E ST LOUIS        IL    62202‐2714
LOYD HARGIS                                      5383 M 78                                                                                     BANCROFT          MI    48414
LOYD J PETIPRIN                                  137 ALEXANDER ST                                                                              CARO              MI    48723‐1902
LOYD K HELMS                                     1792 HOLIDAY HAVEN RD                                                                         SMITHVILLE        TN    37166‐7310
LOYD L NEWMAN                                    131 CROWNOVER RD                                                                              WAXAHACHIC        TX    75167‐8079
LOYD M CRIPPEN                                   5033 NIXON ROAD                                                                               DIMONDALE         MI    48821‐9627
LOYD M CRIPPEN & MERNA L CRIPPEN JT TEN          5033 NIXON                                                                                    DIMONDALE         MI    48821‐9627
LOYD MULLINS                                     738 T R 150                                                                                   SULLIVAN          OH    44880
LOYD R BARRETT                                   5961 NE 25TH AVE                                                                              OCALA             FL    34479
LOYD R GARRISON                                  3614 HAZARD ST                                                                                HOUSTON           TX    77098‐1512
LOYD R WHITE                                     16289 SAWNMILL RD                                                                             STEWARTSOWN       PA    17363
LOYD W ELLIOTT                                   795 HWY 167                                                                                   BALD KNOB         AR    72010‐3886
LOYD W HOPKINS                                   15079 HWY 12                                                                                  ORANGE            TX    77632‐5603
LOYD W SANDERSON                                 1603 BROOKHAVEN ST                                                                            CLEBURNE          TX    76033‐7902
LOYD WATSON                                      4918 VIRGINIA CIRCLE                                                                          TUSCALOOSA        AL    35401‐6153
LOYD WOOD JR                                     13517 TURNER RD                                                                               DEWITT            MI    48820‐9063
LOYD WOOD JR & DOREEN K WOOD JT TEN              13517 TURNER RD                                                                               DE WITT           MI    48820‐9063
LOYD WOOD JR & TRUDY D WOOD JT TEN               13517 TURNER RD                                                                               DEWITT            MI    48820‐9063
LOYDE A COPELAND                                 7206 TULANE RD                                                                                ORANGE            TX    77630‐8323
LOYE RAY                                         395 JUNE CHAPEL RD                                                                            COOKEVILLE        TN    38506‐7722
LOYETTA F TROUTMAN                               554 CENTER ST                                                                                 MILLERSBURG       PA    17061‐1405
LOYIS M NESS                                     7123 HIGHWAY 78                                                                               GRATIOT           WI    53541‐9726
LOYS G COSTNER                                   4430 FM 1183                                                                                  ENNIS             TX    75119‐0631
LOYSE A MC CLUNIE                                8623 E 50TH TERR                                                                              KANSAS CITY       MO    64129‐2261
LOYSE BRANDENBURG                                708 POPULAR ST                                                                                WEST CARROLLTON   OH    45449‐1220

LOZELL ALLEN                                     13724 LAMON AVE                                                                               MIDLOTHIAN        IL    60445‐1835
LOZIE C JOHNSON                                  16510 HARTWELL                                                                                DETROIT           MI    48235‐4238
LOZIE WILLIAMS                                   434 E MCCLELLAN                                                                               FLINT             MI    48505‐4261
LOZY HOLLAND JR                                  PO BOX 176                                                                                    SPRING HILLS      TN    37174‐0176
LTF INVESTMENT CLUB                              ATTN WILLIAM L LE VALLEY            607 WATERVLIET AVENUE                                     DAYTON            OH    45420‐2544
LU A WOODSON                                     1220 JUNIPER CT                                                                               CONYERS           GA    30013‐2464
LU ANN MCKAY                                     3020 LAKESIDE DR                                                                              SHELBY TOWNSHIP   MI    48316‐2956

LU ANN SCHINKE                                   N3031 MARSHALL LN                                                                             LAKE GENEVA       WI    53147
LU ANNE MOORE                                    PO BOX 293                                                                                    AUBURN            KY    42206‐0293
LU ANNE TIMLIN                                   138 NORTHWOOD                                                                                 ROCHESTER         MI    48307‐1541
LU YI LI & LU CI LEE JT TEN                      3184 PERRY AVE                                                                                BRONX             NY    10467‐4108
LU‐LING TU                                       371 EVALINE DR                                                                                TROY              MI    48098‐5510
LUADA C NEWSOME                                  5582 SW 114TH AVE                                                                             COOPER CITY       FL    33330‐4564
LUAN D LE                                        997 S DEERFIELD LN                                                                            GILBERT           AZ    85296‐2896
LUAN J DCAMP                                     9820 ELMS TERR                                                                                DES PLAINES       IL    60016‐1554
LUANA F HUNT TR LUANA F HUNT LIVING TRUST UA     8100 ELLIS CREEK DR                                                                           CLARKSTON         MI    48348‐2618
10/19/95
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LUANA L HARRIS                                   17453 AVA CT                                                                                    NEW BOSTON         MI    48164‐8802
LUANA SLAUGHTER & FRANK SLAUGHTER JT TEN         4220 E SHORE DRIVE                                                                              GRAWN              MI    49637‐9522
LUANN BERSANO                                    6387 HAROLD                                                                                     TAYLOR             MI    48180‐1127
LUANN BROWN CUST J RYAN BROWN UGMA NY            4369 BOLTON RD                                                                                  GASPORT            NY    14067‐9231
LUANN CULLISON & JERRY CULLISON JT TEN           678 KINSMAN ST NW                                                                               WARREN             OH    44483‐3112
LUANN HAMPE                                      N6081 BOMBINSKI LN                                                                              WHITE LAKE         WI    54491‐9545
LUANN HAMPE & WILLIAM C HAMPE JT TEN             N6081 BOMBINSKI LN                                                                              WHITE LAKE         WI    54491‐9545
LUANN JONES                                      3533 EISENHOWER DR                                                                              SACRAMENTO         CA    95826‐4567
LUANN L HOYES TOD ELIZABETH A HERHOLD SUBJECT TO 646 SHORELINE DRIVE                                                                             FENTON             MI    48430‐4154
STA TOD RULES
LUANN M FARRER & ROBERT G FARRER JT TEN          582 PICCADILLY LANE                                                                             BOLINGBROOK        IL    60440‐1020
LUANN M FERRIS & STACIE L FERRIS JT TEN          5868 IVAN ROAD                                                                                  SARANAC            MI    48881‐8504
LUANN M STANISLOWSKI                             31402 SW OLYMPIC DR                                                                             WILSONVILLE        OR    97070
LUANN MARIE EBENHOH & GREGORY ALAN EBENHOH JT 3778 DORAI RD                                                                                      PIERSON            MI    49339‐9787
TEN
LUANN SHAFFER                                    390 TIBETTS WICK RD                                                                             GIRARD             OH    44420‐1144
LUANNA C LE FAVOUR                               1132 HIGHGATE DR                                                                                FLINT              MI    48507
LUANNA VAUGHAN                                   721 JACKSON AVE                                                                                 DIXON              IL    61021‐3442
LUANNE BLEVENS                                   1237 COURTRIGHT                                                                                 ANAHEIM            CA    92804‐4809
LUANNE BULLINGTON                                1801 SOUTH BLVD                                                                                 ANN ARBOR          MI    48104‐4782
LUANNE F SCHIPPER                                18450 EMERALD DR UNIT A                                                                         BROOKFIELD         WI    53045‐0610
LUANNE KIDD                                      12036 GOODMAN RD                                                                                ASHVILLE           OH    43103‐9571
LUANNE LAMAR                                     2007 MISTY GROVE COURT                                                                          HOUSTON            TX    77062‐2307
LUANNE LATCHAW                                   32 FAIRWAY DR                                                                                   ALEXANDRIA         IN    46001‐2812
LUANNE V EBERLY                                  5627 DELANO LN                                                                                  ORLANDO            FL    32821‐7636
LUBA B MC GEE & EDWARD F MC GEE JT TEN           261 UTTER AVE                                                                                   STATEN ISLAND      NY    10314‐3040
LUBA BODNAR                                      5484 CHAMPION CREEK BLVD                                                                        MEDINA             OH    44256‐6812
LUBA S BANCKER NORTON                            1060 PEBBLE BEACH CIRCLE E                                                                      WINTER SPRINGS     FL    32708‐4232
LUBA W WOLOSCHKO                                 25789 LORETTA                                                                                   WARREN             MI    48091‐5016
LUBEN MASHEFF TR LUBEN MASHEFF TRUST UA          15761 RIVERSIDE DR                                                                              LIVONIA            MI    48154‐2337
01/08/98
LUBERTA KING                                     4600 INGHAM ST                                                                                  LANSING            MI    48911‐2958
LUBERTA VICKERS                                  208 WALNUT WAY                                                                                  EULESS             TX    76039‐2840
LUBERTHA BURNLEY                                 13205 N NORFOLK                                                                                 DETROIT            MI    48235‐1020
LUBOMIR MAZURKEWYCZ                              325 S W MARSH WREN                                                                              LEE'S SUMMIT       MO    64082‐4597
LUBOMIRA M FEDORKO                               12884 DIXIE                                                                                     REDFORD            MI    48239‐2602
LUBOMYR B KRUPIAK                                4406 STRATHCONA                                                                                 HIGHLAND           MI    48357‐2747
LUBOMYR KINAL                                    34334 CLAUDIA CT                                                                                STERLING HEIGHTS   MI    48310‐6670

LUBOMYR KINAL & IRENE KINAL JT TEN               34334 CLAUDIA COURT                                                                             STERLING HEIGHTS   MI    48310‐6670

LUC F VAN LANGENHOVEN                            974 SUGAR MILL AVE                                                                              LONGMONT           CO    80501‐4032
LUC T BERNARD                                    175 WEST 90 ST APT 11G                                                                          NEW YORK           NY    10024‐1216
LUC VEZINA                                       117 GRENIER                         ST ANNE DEBELLEVUE                      H9X 4A2 CANADA
LUCA DI GESO & TERESA DI GESO JT TEN             23‐16 BROADWAY                                                                                  ASTORIA            NY    11106‐4154
LUCA M APOLLONJ GHETTI                           PIAZZA MANFREDO FANTI 5             ROMEIT                                  ITALY
LUCA MAESTRI                                     C/O ZURICK                          PO BOX 9022                                                 WARREN             MI    48090‐9022
LUCA MAESTRI                                     GME ZURICH                          PO BOX 9022                                                 WARREN             MI    48090‐9022
LUCA PATRIGNANI                                  OPEL HELLAS 56 KIFISIAS&DELFON      AMAROUSION ATTICA    ATHENS             GREECE
LUCAS ARTEAGA RODRIGUEZ                          CALLE 74 # 14 09 APTO 1102          BOGOTA                                  COLOMBIA
LUCAS ARTEAGA RODRIGUEZ                          CALLE 74 NO 14‐09 APTO 1102         BOGOTA                                  COLOMBIA
LUCAS BUCHBERGER                                 3415 COMMERCE COURT                                                                             APPLETON           WI    54911‐8439
LUCAS CORWIN HEACOCK                             11188 WOODBUSH                                                                                  LOWELL             MI    49331‐9638
LUCAS IACOVOU                                    14 VERNON STREET                                                                                SEWAREN            NJ    07077‐1264
LUCAS M BASSO                                    252 PECK RD                                                                                     HILTON             NY    14468‐9320
LUCAS M FLOYD                                    15761 E WARREN AVE                                                                              DETROIT            MI    48224‐3268
LUCAS R PEREZ                                    2441 INISHMORE CT                                                                               INDIANAPOLIS       IN    46214‐2298
LUCAS S LOUKEDIS                                 661 SPROUL ROAD                                                                                 VILLANOVA          PA    19085
LUCEAL ANDERSON                                  1318 E CHARLES                                                                                  FLINT              MI    48505‐1720
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Name                                           Address1                              Address2                  Address3            Address4               City              State Zip

LUCEAL THOMPSON                                2706 ZUNI TRL SE                                                                                           GRAND RAPIDS      MI    49506‐5450
LUCELLE A MALLETTE                             60 SPANISH CT                                                                                              FT MYERS          FL    33912‐2101
LUCHES L CLARK                                 8909 SORRENTO                                                                                              DETROIT           MI    48228‐2671
LUCIA ALSTON JONES                             ATTN LUCIA A LOGAN                    3932 ALTA VISTA DR                                                   LA CANADA         CA    91011‐4007
LUCIA ANNE LITTLETON                           2437 STONEGATE DR N                                                                                        BEDFORD           TX    76021‐4344
LUCIA BAZUK                                    6 NOLAN RD                                                                                                 MORGANVILLE       NJ    07751
LUCIA C DEFUSCO TR LUCIA C DEFUSCO REVOCABLE   10 CORNELL ST                                                                                              CRANSTON          RI    02920‐4306
TRUST UA 05/04/05
LUCIA C MARCILLE TR MARCILLE FAMILY TRUST UA   18 MERIBAH ST                                                                                              SOMERSET          MA    02726‐5029
08/17/95
LUCIA CHAPA                                    4069 LOUISE                                                                                                SAGINAW           MI    48603‐4157
LUCIA D DOHERTY & MICHAEL J DOHERTY JT TEN     7 HINCKLEY RD                                                                                              TEWKSBURY         MA    01876‐2930
LUCIA D SMITH                                  ATTN LUCIA D TURNER                   6 HILDA DR                                                           BURLINGTON        NJ    08016‐9786
LUCIA G FERREIRA                               47A WATER ST                                                                                               MILFORD           MA    01757‐4118
LUCIA G GUMAER CUST GORDON TOWNSON WILLIAMS    PO BOX 30478                                                                                               SEA ISLE          GA    31561‐0478
UGMA NY
LUCIA GONZALEZ                                 5715 LAUREL DR                                                                                             CASTALIA          OH    44824‐9376
LUCIA J NELSON                                 6981 SCRIPPS CRESCENT                                                                                      GOLETA            CA    93117‐4011
LUCIA MARTIN                                   8203 DONALDSON DRIVE                                                                                       TAMPA             FL    33615‐1205
LUCIA PASSANO POWELL                           166 N TIMBER LN                                                                                            CHESHIRE          CT    06410‐3941
LUCIA REIGHT                                   288 PORT ROYAL DR                                                                                          TOMS RIVER        NJ    08757‐4144
LUCIA RUSSO CUST JOSEPH A RUSSO JR UGMA NY     20 CRANE NECK RD                                                                                           SETAUCKET         NY    11733‐1630
LUCIA S LINCOLN                                1352 I AVENUE                                                                                              CHARTER OAK       IA    51439‐7526
LUCIA V BASQUIN                                417 PROSPECT ST                                                                                            TORRINGTON        CT    06790‐4938
LUCIAN B NOWICKI                               PO BOX 214                                                                                                 LAKE VILLAGE      IN    46349‐0214
LUCIAN C HIXSON & RUBY H HIXSON JT TEN         82 WEDGEWOOD DR                                                                                            HOLLISTON         MA    01746‐2226
LUCIAN J MAYNARD                               ROUTE #1                              BOX 46                                                               HARTS             WV    25524‐9789
LUCIAN M JOHNSON                               7028 BLALOCK DR                                                                                            THE COLONY        TX    75056‐4448
LUCIAN Q WILLIAMS                              619 ALPINE DR                                                                                              ESTES PARK        CO    80517‐8820
LUCIAN SZYMANSKI                               262 WARNER AVE                                                                                             NORTH             NY    14120‐1624
                                                                                                                                                          TONAWANDA
LUCIAN THOMAS BAZZOLI                          204 STEEPLECHASE CIR                                                                                       WILMINGTON        DE    19808‐1977
LUCIANA M DEDENE                               49554 BISHOP CT                       APT 17                                                               SHELBY TOWNSHIP   MI    48315‐3805

LUCIANNE G HACKER                              137 CONRAD ROAD                                                                                            MARLBORO          MA    01752‐1956
LUCIANO A CAIMI                                100 VILLAGE STREET                                                                                         WALDORF           MD    20602‐2183
LUCIANO A SANTOS                               GM DO BRASIL                          AV GOIAS 2769             SAO CAETANO DOSUL   BRAZIL
LUCIANO CALANDRA CUST ANTHONY CALANDRA UGMA    154 EXECUTIVE DR                      MANHASSETT HILLS                                                     MANHASSETT        NY    11040‐1016
NY
LUCIANO DI VALENTIN                            6431 ALHAMBRA CT                                                                                           MC LEAN           VA    22101‐5250
LUCIANO FARIAS                                 GM CHINA 4TH FL TOMSON COMM BD        710 DONG FANG RD PUDONG   SHANGHAI CHINA2     CHINA (PEOPLE'S REP)
LUCIANO MARTINEZ                               15935 VENICE AVE                                                                                           CLINTON TWP       MI    48035‐2156
LUCIANO PEREZ                                  9160 WITT ST                                                                                               DETROIT           MI    48209‐1781
LUCIANO RAMOS                                  139 N 24TH AVE                                                                                             MELROSE PARK      IL    60160‐3031
LUCIANO W FIORI                                1121 3RD ST                           APT 25                                                               DES MOINES        IA    50314‐3019
LUCIE BROWN                                    415 CROTON AVENUE                                                                                          CORTLAND MANOR    NY    10567‐6245

LUCIE CROSBY                                   695 PARK AVE                                                                                               CINCINNATI        OH    45246‐2115
LUCIE E VANNAMEE                               5826 ROYALTON CENTER RD                                                                                    GASPORT           NY    14067
LUCIE M BIANCHI                                1742 W WABANSIA AVENUE                                                                                     CHICAGO           IL    60622
LUCIE M DAVIS                                  196 29 ST #2F                                                                                              BROOKLYN          NY    11232
LUCIE MAGNANO                                  PO BOX 48                                                                                                  CROMWELL          CT    06416‐0048
LUCIE SZPARA                                   360 EXCHANGE ST                                                                                            ALDEN             NY    14004‐9308
LUCIE SZPARA                                   360 EXCHANGE ST                                                                                            ALDEN             NY    14004‐9308
LUCIE WARREN WOLFE                             404 CHESTNUT ST                                                                                            ST CLOUD          FL    34769‐1662
LUCIEL PETERSON                                838 GRIGGS                                                                                                 GRAND RAPIDS      MI    49507‐2730
LUCIELLE S HIGBE                               3919 NOBLIN CREEK DR                                                                                       DULUTH            GA    30097‐8131
LUCIEN A LEGER                                 64ROSEMONT AVE                                                                                             BRISTOL           CT    06010‐7216
LUCIEN A ROY                                   4231 STATE ROUTE 61 S                                                                                      SHELBY            OH    44875‐8923
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LUCIEN F CONIGLIO & ANN F CONIGLIO JT TEN        74 MELROSE DRIVE                                                                                    DESTREHAN           LA    70047‐2008
LUCIEN H CASE CUST DAWN AUVIL UTMA OH            2847 BROXTON RD                                                                                     SHAKER HEIGHTS      OH    44120‐1817
LUCIEN H SMITH                                   28761 PORTSMOUTH DRIVE                                                                              SUN CITY            CA    92586‐2626
LUCIEN HALL CASE CUST KAREN LOUISE ABELL UGMA OH 2847 BROXTON RD                                                                                     SHAKER HEIGHTS      OH    44120‐1817

LUCIEN J DREYER & BRONWYN SAUNDERS JT TEN        33920 SCHULTE                                                                                       FARMINGTON       MI       48335
LUCIEN J DREYER JR                               33920 SCHULTE                                                                                       FARMINGTON HILLS MI       48335‐4159

LUCIEN M SCHNEIDER                               4118 HEATHERWOOD                                                                                    YARMOUTH PORT       MA    02675‐1454
LUCIEN P LIEUW‐SJONG                             PO BOX 3561 WILLEMSTAD               CURACAO NETH ANT                        NETHERLANDS ANTILLES
LUCIEN SANDERS WILKINS JR                        2215 LYNWOOD DR                                                                                     WILMINGTON          NC    28403‐8026
LUCIEN W VANASSE                                 86 SPRING ST                                                                                        MANVILLE            RI    02838‐1308
LUCIENNE J SLYPER                                355 RIVERSIDE DR                                                                                    NEW YORK            NY    10025‐2759
LUCILA A MORENO CUST ANJELICA V MORENO UTMA      12802 COFFIN TRAIL                                                                                  CECIL               OH    45821‐9348
OH
LUCILA T SCHUSTER                                30431 PASEO DEL VALLE                                                                               LAGUNA NIGUEL       CA    92677‐2312
LUCILA T VASQUEZ                                 CALLE‐D 146 BIGON #17                2840 PAMYSAS CT      PINERIDGE                                 KISSIMMEE           FL    34746
LUCILE A NORRIS                                  173 EAST MAIN STREET                                                                                ASHVILLE            OH    43103‐1513
LUCILE ANNE OOSTERHOFF                           94 SUSSEX DR                         BEACONSFIELD QC                         H9W 3G1 CANADA
LUCILE B MASON & JUDY HILE COPNER JT TEN         1068 PONDEROSA PARK DRIVE                                                                           FORREST PARK        GA    30297‐4100
LUCILE E COLE                                    653 S EDGEWOOD DR 931                                                                               SPARTA              TN    38583‐1105
LUCILE E LAMPORT & ROBERT W LAMPORT JT TEN       24 LAFAYETTE ST                                                                                     WALTHAM             MA    02453‐6829
LUCILE E MOULTON                                 1417 LESTER DR                                                                                      LADY LAKE           FL    32159‐2323
LUCILE F SILVER                                  8611 S 1425 E                                                                                       SANDY               UT    84093‐1558
LUCILE GRIFFITH MCMULLEN                         100 BELLWOOD AVE                     APT 39‐C                                                       JASPER              GA    30143‐1880
LUCILE K DOBBINS                                 PO BOX 520                                                                                          DAYTON              NV    89403‐0520
LUCILE LANE & VIRGIL J LANE JT TEN               1933 STEDMAN CT                                                                                     OVERLAND            MO    63114‐2522
LUCILE LOUISE BRANDT                             LUCILE BRANDT HATCH                  1353 TUFTON FARM                                               CHARLOTTESVILLE     VA    22902‐7504

LUCILE M DUNN TR UA 12/19/91 THE DUNN TRUST      1775 SOUTH SAN GABRIEL BLVD                                                                         SAN MARINO          CA    91108‐3025

LUCILE POWE                                      19930 SAN JUAN DR                                                                                   DETROIT             MI    48221‐1223
LUCILE S MC HARD                                 1304 SW 3RD AVE                                                                                     ALEDO               IL    61231‐2715
LUCILE SMART HAWKINS                             1508 S VERMONT ST                                                                                   COVINGTON           LA    70433‐4165
LUCILE SWEENY                                    132 HAVEN DR                                                                                        INDIANA             PA    15701
LUCILLA L KIRBY CUST NICOLAS D KIRBY UGMA MI     10118 WINDY KNOLL CT                                                                                CLARKSTON           MI    48348‐2182
LUCILLE A BAX                                    532 BRIARWOOD LN                                                                                    NIPOMO              CA    93444‐9302
LUCILLE A CAMPBELL                               1406 GRANDVIEW AVE                                                                                  OCONOMOWOC          WI    53066‐3421
LUCILLE A FORSTER & STEVEN J FORSTER JT TEN      298 LYON ST                                                                                         VALLEY STREAM L I   NY    11580‐2528

LUCILLE A FOSTER                                 PO BOX 369                                                                                          HAWLEY              PA    18428‐0369
LUCILLE A GATES TR LUCILLE A GATES TRUST UA      11016 SO CHEHIA                                                                                     PHOENIX             AZ    85044‐1604
06/30/92
LUCILLE A KANE & EDWARD T KANE JR JT TEN         23 CASCADE ST                                                                                       PITTSFIELD          MA    01201‐1203
LUCILLE A KNESS                                  3010 YARMOUTH GREENWAY DR            106                                                            FITCHBURG           WI    53711‐6975
LUCILLE A NOVEMBER                               2889 HILDA DR SE                                                                                    WARREN              OH    44484‐3336
LUCILLE A OCONNOR                                2520 GARLAND                                                                                        SYLVAN LAKE         MI    48320‐1515
LUCILLE A WITHINGTON & CAROL LYNN HAKE JT TEN    150 N BEMISTON AVE                                                                                  SAINT LOUIS         MO    63105‐3811

LUCILLE A WITHINGTON & MARY ANN ROSE JT TEN      150 N BEMISTON                                                                                      CLAYTON             MO    63105

LUCILLE A WITHINGTON & RICHARD W WITHINGTON JT 150 N BEMISTON AVE                                                                                    SAINT LOUIS         MO    63105‐3811
TEN
LUCILLE A WITHINGTON & ROBERT C WITHINGTON JT   150 N BEMISTON AVE                                                                                   SAINT LOUIS         MO    63105‐3811
TEN
LUCILLE A ZAMIEROWSKI & JOSEPH A JOZWIAK JT TEN 11319 MINDEN                                                                                         DETROIT             MI    48205‐3760

LUCILLE ALLEN                                    3936 WENDY DRIVE                                                                                    CLEVELAND           OH    44122‐6451
LUCILLE ANN BOADEN                               42 HAWTHORNE RD                                                                                     ROCK ISLAND         IL    61201‐6110
                                              09-50026-mg                   Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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LUCILLE ANN JOHNS TR UA 07/25/83 LUCILLE ANN       1145 BURNT LEAF LANE                                                                             GRAND BLANC     MI    48439‐4969
JOHNS TRUST
LUCILLE ANN PARKER                                 9306 PODUNK RD                                                                                   LEE CENTER      NY    13363‐2504
LUCILLE ANN THOMAS                                 206 E ADAMSDALE RD                                                                               ORWIGSBURG      PA    17961
LUCILLE ASCANIO                                    1047 HEMLOCK FARMS                                                                               HAWLEY          PA    18428
LUCILLE AUDRIENE ROUTE TR LUCILLE AUDRIENE ROUTE 39467 VILLAGE RUN DR                                                                               NORTHVILLE      MI    48167‐3465
TR UA 1/2/74
LUCILLE B FARKAS                                   1206 GREENFIELD DR                                                                               ERIE            PA    16509‐2909
LUCILLE B JACOBS                                   7608 WILLIAMS ST                                                                                 DOWNERS GROVE   IL    60516‐4409
LUCILLE B PERRY TR LUCILLE B PERRY TRUST UA        13273 S AVENUE 4 1/2 E                                                                           YUMA            AZ    85365‐4662
08/20/97
LUCILLE B RENNER                                   1326 COUNTY ROAD 650                                                                             TUSCOLA         TX    79562‐3634
LUCILLE B SELLARS                                  166 EARL ST                                                                                      ROCHESTER       NY    14611‐3730
LUCILLE B SINK TR LUCILLE B SINK TRUST UA 03/06/98 PO BOX 577                                                                                       CLOVERDALE      CA    95425‐0577

LUCILLE B SINK TR MARITAL TRUST U‐A JOHN TAYLOR      PO BOX 577                                                                                     CLOVERDALE      CA    95425‐0577
SINK
LUCILLE B TURNER                                     85 ELMSFORD                                                                                    CLAWSON         MI    48017‐1235
LUCILLE B VALLETT TR UA 04/14/2008 LUCILLE B VALLETT 1044 WOODSHIRE LN B210                                                                         NAPLES          FL    34105
TRUST
LUCILLE BARNES                                       5607 HUGHES PLACE                                                                              FREMONT         CA    94538‐1025
LUCILLE BATES                                        6132 CR 924                                                                                    SWEENY          TX    77480‐8297
LUCILLE BERRY & MARTHA B NORRIS JT TEN               1871 ORANGE HILL RD                                                                            CHIPLEY         FL    32428‐5812
LUCILLE BRADSHAW                                     6601 CONRAD AVE                                                                                HODGKINS        IL    60525‐7613
LUCILLE BROWN                                        3159 BIRCHLANE DR                                                                              FLINT           MI    48504‐1201
LUCILLE BUONOCORE CUST DARREN BUONOCORE UTMA 13 HARBORHEAD DR                                                                                       PNT PLEASANT    NJ    08742‐2683
NJ                                                                                                                                                  BEACH
LUCILLE BURY & LULU M SALTZMAN JT TEN                15593 BEDFORD FORGE DR                                                                         CHESTERFIELD    MO    63017‐4955
LUCILLE C BEADERSTADT TR LUCILLE C BEADERSTADT       5968 PARK LAKE RD                    APT 324                                                   EAST LANSING    MI    48823‐9206
TRUST UA 10/24/94
LUCILLE C BRADLEY                                    5536 SQUIRES DR                                                                                LEESBURG         FL   34748‐2316
LUCILLE C CARLSON                                    1616 EUCLID ST                                                                                 ST PAUL          MN   55106‐5906
LUCILLE C DIER & SHARON E SCALISE & SANDRA J         25331 JULIANNA DR                                                                              CHESTERFIELD TWP MI   48051‐1975
MURPHY JT TEN
LUCILLE C MARCUCCI                                   1201 COCHRAN MILL RD                                                                           CLAIRTON        PA    15025‐3309
LUCILLE CLARK & CLAUDIA JEANETTE CARUSO JT TEN       35028 BAYVIEW                                                                                  WESTLAND        MI    48186‐4313

LUCILLE CLARK & ROBERT L CLARK JT TEN              35028 BAYVIEW                                                                                    WESTLAND        MI    48186‐4313
LUCILLE COOLEY                                     11344 COYLE                                                                                      DETROIT         MI    48227‐2457
LUCILLE CORSON                                     2990 LICHEN PL                                                                                   TEMPLETON       CA    93465‐8367
LUCILLE CRISTAO & PETER J CRISTAO JT TEN           629 IPSWICH LANE                                                                                 PORT ORANGE     FL    32127‐7776
LUCILLE CZARSTY CUST PAMELA CZARSTY UGMA CT        88 MELBOURNE TERRACE                                                                             WATERBURY       CT    06704‐1843

LUCILLE D HANCOCK                                3485 LEGACY TRACE                                                                                  ALPHARETTA      GA    30022‐5004
LUCILLE D JORGENSEN & PENNY SUE ISEMONGER JT TEN 8629 SO KEATING AVE                                                                                CHICAGO         IL    60652‐3508

LUCILLE D JORGENSEN TR LUCILLE D JORGENSEN TRUST   8629 S KEATING                                                                                   CHICAGO         IL    60652‐3508
UA 05/25/88
LUCILLE D SHONTZ                                   750 NILES CORTLAND RD SE                                                                         WARREN          OH    44484‐2437
LUCILLE D SIGMON                                   701 SILVER LAKE RD                                                                               FENTON          MI    48430‐2622
LUCILLE D SKEEN                                    BOX 2133 PARK STATION                                                                            WAYNESBORO      VA    22980‐0983
LUCILLE DAVIS                                      4466 WINTHROP AVE                                                                                INDIANAPOLIS    IN    46205‐1974
LUCILLE DEAN                                       815 SYCAMORE STREET                                                                              HAMILTON        OH    45011‐3674
LUCILLE DEAN MILLER                                1821 W JUDSON RD                                                                                 KOKOMO          IN    46901‐1719
LUCILLE DENNING                                    7217 US HIGHWAY 30                                                                               CHEYENNE        WY    82001‐9109
LUCILLE DUCKWORTH                                  108 STILWELL CIR                                                                                 ALBANY          GA    31707‐1227
LUCILLE E BULGER                                   206 PARK MEADOWS DR                                                                              LANSING         MI    48917‐3411
LUCILLE E COFFEY                                   3215 N 135TH ST                                                                                  OMAHA           NE    68164‐2499
LUCILLE E COOK                                     HC 1 BOX 3                                                                                       SIGEL           PA    15860‐9701
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LUCILLE E ENDERS & THOMAS H ENDERS JT TEN           54 HUDSON AVE                                                                                   PONTIAC            MI    48342‐1243
LUCILLE E GROZDON TR LUCILLE E GROZDON TRUST UA     648 WEYBRIDGE DR                                                                                BLOOMFIELD HILLS   MI    48304‐1082
09/13/96
LUCILLE E HARMON                                    3479 MINERVA DR                                                                                 FLINT              MI    48504‐1747
LUCILLE E MAYES CAMPAGNE                            180 SILVERLEAF DR                                                                               HAGUE              VA    22469‐2903
LUCILLE E SCHULZ & WESSEN E SCHULZ II JT TEN        6373 FRANKLIN WOODS DR                                                                          TRAVERSE CITY      MI    49686‐1966
LUCILLE E SCHULZ & WESSON E SCHULZ II JT TEN        6373 FRANKLIN WOODS DR                                                                          TRAVERSE CITY      MI    49686‐1966
LUCILLE E SIMPSON                                   732 CANDY LN                                                                                    ATTICA             MI    48412‐9721
LUCILLE E STAPLETON                                 4217 KITRIDGE RD                                                                                DAYTON             OH    45424‐5807
LUCILLE E WALTER & BARBARA A RUCKLE JT TEN          3925 SUFFOLK                                                                                    WATERFORD          MI    48329‐1764
LUCILLE E WALTER & CARL E WALTER JT TEN             3925 SUFFOLK                                                                                    WATERFORD          MI    48329‐1764
LUCILLE EGYED                                       PO BOX 41                                                                                       SAVANNAH           OH    44874‐0041
LUCILLE ELIAS                                       3820 17TH ST                                                                                    ECORSE             MI    48229‐1340
LUCILLE ERVIN                                       6254 CORTELYOU AVE                                                                              CINCINNATI         OH    45213‐1323
LUCILLE F FAGAN                                     ROUTE 1 BOX 1356                                                                                MANISTIQUE         MI    49854‐9801
LUCILLE F HOLLIMAN & KATHERINE L REID & BOB         PO BOX 1871                                                                                     INDEPENDENCE       MO    64055‐0871
HOLLIMAN JT TEN
LUCILLE F SCHMALZ TR LUCILLE F SCHMALZ TRUST UA     100 W BUTTERFIELD ROAD 210N                                                                     ELMHURST           IL    60126‐5050
06/16/04
LUCILLE FLEER & LINDA LANTRY REYNOLDS JT TEN        18549 PIERS END DRIVE                                                                           NOBLESVILLE        IN    46060‐6651
LUCILLE FLEER & MIKE LANTRY JT TEN                  18549 PIERS END DRIVE                                                                           NOBLESVILLE        IN    46060‐6651
LUCILLE FLORENCE BELL                               2119 DIAMOND AVE                                                                                FLINT              MI    48532‐4535
LUCILLE FORD                                        428 GOLD MINE DR                                                                                SF                 CA    94131‐2528
LUCILLE FOSTER                                      18258 GRANDVILLE RD                                                                             DETROIT            MI    48219‐2873
LUCILLE FRITZSCHE & RICHARD E FRITZSCHE JT TEN      570 BLACKBURN AVE                                                                               FAIRFIELD          OH    45014‐1668

LUCILLE G GRANT TR UA 04/27/2001 LUCILLE G GRANT 5526 MEADOW OAKS PARK DRIVE                                                                        JACKSON            MS    39211
REV TRUST
LUCILLE G PETERSON TR LUCILLE G PETERSON TRUST UA 2265 YOUNGMAN AVE #209E                                                                           ST PAUL            MN    55116‐3072
07/25/06
LUCILLE G SCOTT                                   2 STATE ST                                                                                        ROCHESTER          NY    14614‐1327
LUCILLE GASSER                                    17982 STATE ROUTE 634                                                                             FORT JENNINGS      OH    45844‐9588
LUCILLE GEIS                                      1642 CENTER ST                                                                                    PT PLEASANT        NJ    08742‐5159
LUCILLE GERECKE                                   120 KEITH LN                            # 218                                                     ATHENS             TN    37303‐4137
LUCILLE GOODSON & LARRY LAMAR JT TEN              10429 LA MIRAGE COURT                                                                             TAMPA              FL    33615‐4212
LUCILLE GRABOWSKI TR LUCILLE GRABOWSKI TRUST UA 494 RANDOLPH CT                                                                                     N BARRINGTON       IL    60010‐2230
12/19/03
LUCILLE GREENE                                    3310 88TH ST                                                                                      LUBBOCK            TX    79423‐3030
LUCILLE GUITH & MARK G GUITH JT TEN               2440 BRIAR CRK                                                                                    BURTON             MI    48509‐1396
LUCILLE GUITH & MELINDA A BRAWNER JT TEN          2440 BRIAR CRK                                                                                    BURTON             MI    48509‐1396
LUCILLE GUITH & THOMAS A GUITH JR JT TEN          2440 BRIAR CRK                                                                                    BURTON             MI    48509‐1396
LUCILLE H LONG                                    670 FLAT ROCK RD                                                                                  BELLEVUE           OH    44811
LUCILLE H SANSING                                 15 ANCHOR LN                                                                                      SAN CARLOS         CA    94070‐1801
LUCILLE H VAAS                                    829 COUNTY RD 1600                      RD#6                                                      ASHLAND            OH    44805‐9213
LUCILLE HAGHANI                                   18 CLIFFVIEW DR                                                                                   LAFAYETTE          NJ    07848‐3124
LUCILLE HANCOX                                    3103 LIDDESDALE                                                                                   DETROIT            MI    48217‐1114
LUCILLE HEITZMAN                                  4165 RASOR DR                                                                                     TROY               OH    45373‐9543
LUCILLE HINES SWAVY                               82 WATSON AVE                                                                                     EAST ORANGE        NJ    07018‐3304
LUCILLE I BOUSQUET                                3 HATHAWAY POND CIR                                                                               ROCHESTER          MA    02770
LUCILLE I CANZANELLI & SUSAN CANZANELLI JT TEN    100 EVENTIDE AVE                                                                                  LAKE PLACID        FL    33852‐8728

LUCILLE I VAN DER LAAG & ROBERT J VAN DER LAAG JT   623 PERRY CREEK DR                                                                              GRAND BLANC        MI    48439‐1478
TEN
LUCILLE INDA                                        7640 E KRALL ST                                                                                 SCOTTSDALE         AZ    85250‐4657
LUCILLE J CARTER & ORAN M CARTER JT TEN             BOX 1158                                                                                        YELLVILLE          AR    72687‐1158
LUCILLE J DESILETS                                  24 MARION RD                                                                                    WESTPORT           CT    06880‐2922
LUCILLE J DUHON                                     7413 GRANDWOOD DR                                                                               SWARTZ CREEK       MI    48473‐9454
LUCILLE J LISIAK                                    9339 W HOWARD AVE                     APT 162                                                   MILWAUKEE          WI    53228‐1667
LUCILLE J MC NERTNEY                                255 POSSUM PARK RD                    RM 1110                                                   NEWARK             DE    19711‐6145
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LUCILLE J MCGRATH                                 3789 LONG GROVE LN                                                                               PORT ORANGE      FL    32129‐8616
LUCILLE J PEASE                                   #305                                   2025 E GREENWICH                                          MILWAUKEE        WI    53211‐4432
LUCILLE J SCOTT                                   10511 MILLER RD                                                                                  SWARTZ CREEK     MI    48473‐8588
LUCILLE J VANDERVEEN                              2702 BURGEN CT NE                                                                                GRAND RAPIDS     MI    49525‐3979
LUCILLE J WHITNEY                                 901 BATES ST                                                                                     LANSING          MI    48906
LUCILLE JACKSON                                   201 W BIG BEAVER RD                    STE 600                                                   TROY             MI    48084‐4161
LUCILLE K HURST                                   685 GUILFORD RD                                                                                  VERMILION        OH    44089‐2348
LUCILLE K LADD TR UA 05/02/1996 LUCILLE K LADD    2612 HAVERSTRAW AVE                                                                              DAYTON           OH    45414
REVOCABLE LIVING TRUST
LUCILLE K TAYLOR & CAROLYN T WALTERS JT TEN       7245 STONEWALL DR                                                                                MECHANICSVILLE   VA    23111‐1639
LUCILLE KENDRICK                                  4701 CHRYSLER DR 620                                                                             DETROIT          MI    48201‐1442
LUCILLE KRIZANOWSKI & GARY KRIZANOWSKI JT TEN     6979 BIG TRL                                                                                     HOLLY            MI    48442‐9153

LUCILLE L BOYD                                    PO BOX 334                                                                                       MT MORRIS        MI    48458‐0334
LUCILLE L BROWN                                   2951 EDGEFIELD DR                                                                                WATERFORD        MI    48328‐3210
LUCILLE L CHESNEY                                 509 N ERIE ST                                                                                    BAY CITY         MI    48706‐4409
LUCILLE L DAWSON                                  22 AXTON RD 2                                                                                    AXTON            VA    24054‐1854
LUCILLE L NOWACKI & JOHN J NOWACKI JT TEN         8145 HAZELTON                                                                                    DEARBORN HEIGHTS MI    48127‐1580

LUCILLE L RIGDON & SANDRA K RIGDON JT TEN         HC 1 BOX 1081                                                                                    WAPPAPELLO       MO    63966‐9708
LUCILLE LEGAULT                                   49 ASH SWAMP RD                                                                                  NEWMARKET        NH    03857‐2030
LUCILLE LETLOW                                    705 FIRST                                                                                        PONTIAC          MI    48340‐2812
LUCILLE LIVINGSTON                                502 ASHLAND ST                                                                                   DETROIT          MI    48215‐2916
LUCILLE LONG CUST JONATHAN LONG UGMA MI           5478 VINCENT TRL                                                                                 SHELBY TWP       MI    48316‐5261
LUCILLE M ALLARD                                  4453 N WEST DR                                                                                   QUINCY           IN    47456
LUCILLE M BAILEY                                  58 HAMILTON COURT                                                                                PONTIAC          MI    48342‐1334
LUCILLE M BARES                                   32958 BROOKSIDE CIRCLE                                                                           LIVONIA          MI    48152
LUCILLE M BARNES & WILLIAM F BARNES JT TEN        122 SATULAH CIRCLE                                                                               VENICE           FL    34293‐5955
LUCILLE M BIEZE                                   3526 GRAND BLVD                                                                                  BROOKFIELD       IL    60513‐1302
LUCILLE M BLANKENSHIP                             11676 MARQUART RD                                                                                NEW CARLISLE     OH    45344‐9337
LUCILLE M BURGER CUST CHAD A KOWALSKI UTMA OH     34 SCHEIBER STREET                                                                               TIFFIN           OH    44883‐3133

LUCILLE M BURT                                    4495 HOMESITE                                                                                    ORION            MI    48359‐2033
LUCILLE M CHAMPA                                  24 EVERETT ST                                                                                    BRISTOL          CT    06010‐2912
LUCILLE M CHOWN & BETTY ANN ANDERSON JT TEN       3315 PEACHTREE INDUSTRAIL BLVD         APT 252                                                   DULUTH           GA    30096‐2641

LUCILLE M CORBO                                   PO BOX 444                                                                                       FANWOOD          NJ    07023‐0444
LUCILLE M DAUGHTRY & CHRISTINE A SMITH JT TEN     4390 LORCOM LN APT 303                                                                           ARLINGTON        VA    22207‐3328

LUCILLE M HALL                                    8938 GLASGOW DR                                                                                  WHITE LAKE       MI    48386‐3317
LUCILLE M HALL & JUDITH L SPRAGUE JT TEN          8938 GLASGOW DR                                                                                  WHITE LAKE       MI    48386‐3317
LUCILLE M MATTHEWS                                6401 SO AUSTIN                                                                                   LAINGSBURY       MI    48848‐9723
LUCILLE M O'HEARN                                 C/O PATRICIA A CHAMBERS                1049 S EUREKA AVE                                         COLUMBUS         OH    43204
LUCILLE M PETERS                                  BOX 364                                                                                          HOGANSBURG       NY    13655‐0364
LUCILLE M PETERS & JOSEPH L PETERS JT TEN         BOX 364                                                                                          HOGANSBURG       NY    13655‐0364
LUCILLE M PILACHOWSKI                             C/O LUCILLE M BELKOWSKI                29669 MARQUETTE                                           GARDEN CITY      MI    48135‐3601
LUCILLE M RODGERS                                 27 RANDY DR                                                                                      TAYLORS          SC    29687‐4838
LUCILLE M STUTSMAN                                2004 EAST WATERBERRY DR                                                                          HURON            OH    44839‐2270
LUCILLE M TAYLOR                                  8500 WIGGINS ROAD                                                                                HOWELL           MI    48855‐9290
LUCILLE M WEST                                    17 CHARBON LANE                                                                                  NORTH EAST       MD    21901‐3419
LUCILLE M WHITLOW                                 2769 HENRY ROAD                                                                                  HENRY            VA    24102‐3129
LUCILLE M WOOLEY TR LUCILLE M WOOLEY LIVING       11216 ANDERSONVILLE RD                                                                           DAVISBURG        MI    48350‐3131
TRUST UA 1/21/99
LUCILLE M WRIGHT                                  400 BILLY CREEK CIRCLE                                                                           HURST            TX    76053‐6364
LUCILLE MAE HILL                                  RR 3 BOX 49                                                                                      RUSSIAVILLE      IN    46979‐9803
LUCILLE MAKAROV TOD MASSACHUSETTS EYE AND EAR     5335 BREEZE HILL DR                                                                              TROY             MI    48098‐2707
INFIRMARY
LUCILLE MARY WHITSTON                             2041 MANORVIEW CIRCLE N W                                                                        SALEM            OR    97304‐4472
LUCILLE MAZZA                                     29 LORRIE LANE                                                                                   CLIFTON          NJ    07012‐1820
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LUCILLE MCCOLLUM ATKINSON & DANIEL MCCOLLUM JT 2006 PRESTWICK DR                                                                                  MURFREESBORO      TN    37130
TEN
LUCILLE MCCOY                                  7715 CLOUDVIEW LN                                                                                  RALEIGH           NC    27613
LUCILLE MCKINLEY                               8106 LITTLEFIELD                                                                                   DETROIT           MI    48228‐4007
LUCILLE MICKENS                                17737 OAKDALE                                                                                      ROSEVILLE         MI    48066‐3847
LUCILLE MILTON & TERESA DARLENE RIDGWAY JT TEN 2901 IROQUOIS AVE                                                                                  FLINT             MI    48505

LUCILLE N ELLISON                                  PO BOX 714                                                                                     COLUMBUS          NE    68602‐0714
LUCILLE N MULHERN                                  5976 SARATOGA LN                                                                               COOPERSBURG       PA    18036‐8817
LUCILLE O BAQUET                                   293 SOUTH HAGUE AVENUE                                                                         COLUMBUS          OH    43204‐3004
LUCILLE O MAGRI                                    20120 RHAPSODY DR                                                                              CLINTON TWP       MI    48036‐4429
LUCILLE P BOWE TR UA 11/24/92 BOWE FAMILY TRUST    1740 EMOGENE PLACE                                                                             ESCONDIDO         CA    92026‐1043

LUCILLE P HUMERICKHOUSE                            781 STATE RD 38W                                                                               NEW CASTLE        IN    47362‐9787
LUCILLE P HUMERICKHOUSE & RALPH J                  781 STATE RD 38 W                                                                              NEW CASTLE        IN    47362‐9787
HUMERICKHOUSE JT TEN
LUCILLE P JANSER                                   PO BOX 192                                                                                     TERRYVILLE        CT    06786‐0192
LUCILLE P LANGFORD                                 1913 MERAMEC DR                                                                                ANDERSON          IN    46012‐3189
LUCILLE PECHINKA & LYNNE ANN PECHINKA JT TEN       1363 WINNWOOD‐LANE                                                                             SUMMERTON         SC    29148

LUCILLE PETRECCA DAVIS                             6 BRIAR PATCH DR                                                                               WESTERLY          RI    02891‐3565
LUCILLE PLANT                                      7260 W PETERSON APT E424                                                                       CHICAGO           IL    60631‐3600
LUCILLE POWALONA                                   10414 LONG JOHN SILVER RD                                                                      THONOTOSASSA      FL    33592
LUCILLE PRYOR                                      109 BEYNE                                                                                      MT CLEMENS        MI    48043‐2411
LUCILLE QUINN CUST JOHN JAMES QUINN UGMA NY        10 CREST RD                                                                                    MANHASSET HILLS   NY    11040‐1119

LUCILLE R HARRIS                                    2268 LEAFMORE DRIVE                                                                           DECATUR           GA    30033‐1940
LUCILLE R JORGENSON                                 521 PIERMONT AVE                    APT 104                                                   RIVERVALE         NJ    07675‐5721
LUCILLE R MAGOLDA                                   975 UNION RD                                                                                  VINELAND          NJ    08361‐6835
LUCILLE R PIEPER                                    5731 W 30TH ST                                                                                SPEEDWAY          IN    46224‐3015
LUCILLE R ROBB & ELIZABETH A BLACK JT TEN           322 GARNER LN                                                                                 STOCKTON          CA    95207
LUCILLE R RUTH                                      275 OLD MILL ROAD                                                                             BARRINGTON        IL    60010‐4732
LUCILLE R SOUTHERLAND                               217 DEER CREEK DR                                                                             MATTHEWS          NC    28105‐5727
LUCILLE R STRATEN                                   6590 LEVY COUNTY LINE RD                                                                      BURLESON          TX    76028‐2811
LUCILLE R WOLF CUST LOUIS A WOLF UGMA NJ            47 JEWELL ST                                                                                  GARFIELD          NJ    07026‐3720
LUCILLE REED                                        207 CROSS POINTE CT                 UNIT 2A                                                   ABINGDON          MD    21009‐2565
LUCILLE REIGLE & THOMAS E REIGLE & ROBERT C REIGLE 3252 DEEP DRAW RD                                                                              CROSSVILLE        TN    38555‐1511
JT TEN
LUCILLE RICHARDSON                                  BOX 301                                                                                       MONROE            NC    28111‐0301
LUCILLE ROTOLO                                      493 ANLEE RD                                                                                  BRIDGEWATER       NJ    08807‐2201
LUCILLE S CARR                                      37 UNION RD                                                                                   CLINTON           NJ    08809‐1229
LUCILLE S FODGE                                     58 PARK ROAD                                                                                  CHURCHVILLE       NY    14428‐9501
LUCILLE S KACZYNSKI                                 4800 CONWAY RD                                                                                DAYTON            OH    45431‐1931
LUCILLE S LAWRANCE                                  14119 MOUNT PLEASANT DR                                                                       WOODBRIDGE        VA    22191‐2220
LUCILLE S LINCOLN                                   PO BOX 3459                                                                                   MERIDIAN          MS    39303‐3459
LUCILLE S RICH & JOSEPH F GELBAND TR LUCILLE S RICH PO BOX 999                                                                                    LONG BEACH        NY    11561‐0961
UA 09/20/67
LUCILLE S WILKERSON                                 616 LAKE WAY                                                                                  OLDSMAR           FL    34677‐2455
LUCILLE SCHLATTERER                                 C/O TURTORA                         77 GABLES WAY                                             JACKSON           NJ    08527
LUCILLE SCHWARTZ                                    14415 BENEFIT ST UNIT 103                                                                     SHERMAN OAKS      CA    91423‐4082
LUCILLE SILLS WILSON                                1916 WATKINS STREET                                                                           AUGUSTA           GA    30904‐4255
LUCILLE STELMASZCZAK TR LUCILLE STELMASCZAK         6635 FLINTLOCK RIDGE                                                                          UTICA             MI    48317‐3129
TRUST UA 03/14/96
LUCILLE STEWART                                     18796 BIG CREEK PKWY                                                                          STRONGSVILLE      OH    44136‐1447
LUCILLE STEWART & JACK C STEWART JT TEN             18796 BIG CREEK PKWY                                                                          STRONGSVILLE      OH    44136‐1447
LUCILLE T BRONSON & EVAN W EVANS JT TEN             PO BOX 102                                                                                    ORANGEVILLE       OH    44453‐0102
LUCILLE T TARRIS & WALTER F TARRIS JT TEN           7769 COAST JAY ST                                                                             N LAS VEGAS       NV    89084
LUCILLE TERESA TANGUAY                              109 W 4TH ST                                                                                  HOWELL            NJ    07731‐8509
LUCILLE THALMANN                                    3 VIEW RD                                                                                     EAST SETAUKET     NY    11733‐3040
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LUCILLE V BERNARD                                  808‐19TH ST                                                                                    BAY CITY        MI    48708‐7284
LUCILLE V GARBACZEWSKI & MARY ANN CASTILLO JT      5178 MAYBROOK DR                                                                               SAGINAW         MI    48603‐1856
TEN
LUCILLE V GRACZYK                                  1152 WOODNOLL DR                                                                               FLINT           MI    48507‐4712
LUCILLE V PELOTE                                   607 WEST 58TH STREET                                                                           SAVANNAH        GA    31405‐3151
LUCILLE V SHARP                                    PO BOX 748                                                                                     LONG KEY        FL    33001‐0748
LUCILLE W BICKNELL TR BICKNELL TRUST UA 03/15/00   1309 AIRFIELD LN                                                                               MIDLAND         MI    48642‐4791

LUCILLE W PLOTZ                                    184 COLUMBIA HEIGHTS                                                                           BROOKLYN        NY    11201‐2105
LUCILLE W RINGOLD                                  2404 MILTON STREET                                                                             WARREN          OH    44484‐5249
LUCILLE W SCHAFFER & BARBARA GOLDBERG JT TEN       450 W SCHLEIER ST                                                                              FRANKENMUTH     MI    48734

LUCILLE W SCHAFFER & BETH ANN SCHAFFER JT TEN      450 W SCHLEIER ST                                                                              FRANKENMUTH     MI    48734

LUCILLE W SCHAFFER & DAVID SCHAFFER JT TEN         450 W SCHLEIER ST                                                                              FRANKENMUTH     MI    48734‐1057
LUCILLE W SCHAFFER & JOSEPH SCHAFFER JT TEN        450 W SCHLEIER ST                                                                              FRANKENMUTH     MI    48734
LUCILLE W SCHAFFER & KATHLEEN DE GEUS JT TEN       450 W SCHLEIER ST                                                                              FRANKENMUTH     MI    48734‐1057

LUCILLE WEISEL                                     12752 CALIFA                                                                                   NORTH           CA    91607‐1011
                                                                                                                                                  HOLLYWOOD
LUCILLE WETING & LAWRENCE WETING JT TEN            PO BOX 81875                                                                                   ROCHESTER       MI    48308‐1875
LUCILLE WOLLBRINK                                  518 W ADAMS ST                                                                                 LORAINE         IL    62349
LUCILLE WRIGHT                                     13435 NE 47TH ST                                                                               BELLEVUE        WA    98005‐1111
LUCILO MAGALLANES                                  5372 BUTTON GWINNETT PL                                                                        NORCROSS        GA    30093‐3906
LUCINA M MOOMEY                                    8097 GRENADA DR                                                                                BRIGHTON        MI    48116‐9152
LUCINDA A FISHER                                   PO BOX 581                                                                                     DALLAS          OR    97338‐0581
LUCINDA A FRIEDRICHSEN                             686 W RIVER RD                                                                                 NICHOLS         NY    13812‐2114
LUCINDA BLAND                                      5021 WEST LEYMOYNE                                                                             CHICAGO         IL    60651
LUCINDA C SPARKS CUST JEFFREY A SPARKS UTMA IN     5640 N PENNSYLVANIA ST                                                                         INDIANAPOLIS    IN    46220‐3026

LUCINDA FUGATE BACH                                228 N AMERICAN BLVD                                                                            VANDALIA        OH    45377‐2231
LUCINDA G JESKO                                    6340 COGSWELL                                                                                  ROMULUS         MI    48174‐4044
LUCINDA H HARDZOG                                  9517 PURCELL DRIVE                                                                             POTOMAC         MD    20854‐4541
LUCINDA H HEWITT                                   3393 ORAN GULF ROAD                                                                            MANLIUS         NY    13104
LUCINDA J EMERICK                                  1600 CAMBRIDGE DR                    APT 200                                                   DAVIDSVILLE     PA    15928
LUCINDA J MAGRANE                                  C/O LUCINDA J MCGRANE‐MC NEW         9481 MC AFEE RD                                           MONTROSE        MI    48457‐9123
LUCINDA KING                                       5557 CHESTNUT HILL RD                                                                          COOPERSBURG     PA    18036‐9485
LUCINDA L ENGLISH & EDWARD A ENGLISH JT TEN        1044 SOLDIER CREEK RD                                                                          GRANTS PASS     OR    97526‐7875

LUCINDA L YOUNGS                                   2075 NW BLVD N W                                                                               WARREN          OH    44485‐2302
LUCINDA LAFRENIERE                                 12 FAIR OAKS DRIVE                                                                             LEXINGTON       MA    242
LUCINDA LETT                                       C/O LUCINDA STEWART                  09660 COUNTY ROAD 66A                                     NEW BREMEN      OH    45869‐9760
LUCINDA LOTT                                       14 ALMWEG LANE                                                                                 JAY             NY    12941‐2002
LUCINDA M DOWLING                                  PO BOX 175                                                                                     WELAKA          FL    32193‐0175
LUCINDA OWEN TR UA 09/18/2008 LUCINDA OWEN         1301 HIGHLAND DR                                                                               JUNCTION CITY   KS    66441
TRUST
LUCINDA P WEBSTER                                  77 WEBSTER LANE                                                                                NEW CUMBERLAND WV     26047‐3103

LUCINDA PADDOCK DAY                                88 WHITCOMB AVENUE                                                                             HINGHAM         MA    02043‐3323
LUCINDA R GALLAWAY & ROBERT L GALLAWAY JT TEN      321 N RIDGEWAY DR                                                                              BATLE CREEK     MI    49015

LUCINDA R HUNTER & CHRISTOPHER E HUNTER JT TEN     29 WILLIAMS ST                                                                                 LYNDONVILLE     VT    05851

LUCINDA RIO                                        3718 W MCKAY AVE                     APT 105                                                   TAMPA           FL    33609‐4532
LUCINDA S DAVIS                                    11441 BONNIE LANE                                                                              LAURINBURG      NC    28352‐7829
LUCINDA S GEISER                                   3654 PENINSULAR SHORES DR                                                                      GRAWN           MI    49637‐9720
LUCINDA STUCKEY                                    2400 E CARY APT 308                                                                            RICHMOND        VA    23223‐7859
LUCINDA W WILLIAMS                                 1223 MORNINGSIDE DR                                                                            ANDERSON        IN    46011‐2453
LUCINDA WOLLBRINK                                  C/O L KUNZ                           518 W ADAMS                                               LORAINE         IL    62349‐1049
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Name                                            Address1                           Address2                  Address3      Address4          City             State Zip

LUCINDO W MARTINEZ                              1913 WILDER ST                                                                               RENO             NV    89512‐1939
LUCINDO W MARTINEZ & FEDELINA A MARTINEZ JT TEN 1913 WILDER STREET                                                                           RENO             NV    89512‐1939

LUCINO F GUERRERO                               58970 ORCHARD                                                                                NEW HAVEN        MI    48048‐2758
LUCIO R OCHOA                                   1200 W WINTON AVE                  SPC 47                                                    HAYWARD          CA    94545‐1411
LUCIOUS BAILEY                                  1915 CEDAR ST                                                                                ANDERSON         IN    46016‐3934
LUCIOUS BAILEY & CHRISTINE BAILEY JT TEN        1915 CEDAR ST                                                                                ANDERSON         IN    46016‐3934
LUCIOUS C DENT JR                               6 SHARON AVENUE                                                                              IRVINGTON        NJ    07111‐3537
LUCIOUS G TILLMAN                               240 DICK AVE                                                                                 PONTIAC          MI    48341‐1800
LUCIUS B DABNEY & ALLENE H DABNEY JT TEN        PO BOX 947                                                                                   VICKSBURG        MS    39181‐0947
LUCIUS BOLLES EVANS                             PO BOX 35                                                                                    CHESTERFIELD     NH    03443‐0035
LUCIUS E ANTHONY                                PO BOX 413                                                                                   MERIDEN          CT    06450‐0413
LUCIUS E WILLIAMS                               727 MOUNT CLAIR AVE                                                                          DAYTON           OH    45408‐1535
LUCIUS ELDRIDGE                                 8085 WHITCOMB                                                                                DETROIT          MI    48228‐2234
LUCIUS FELDER JR                                3430 COLUMBIA CT                                                                             DECATUR          GA    30032‐7234
LUCIUS MAYFIELD                                 624 S 24TH ST                                                                                SAGINAW          MI    48601‐6508
LUCIUS O POLING                                 879 BINNS BLVD                                                                               COLUMBUS         OH    43204‐2379
LUCIUS S NOTTINGHAM 3RD                         316 OCEAN WALK DR N                                                                          ATLANTIC BCH     FL    32233‐4690
LUCKNER ANGLADE                                 250 EAST HAZELWOOD AVE                                                                       RAHWAY           NJ    07065‐4937
LUCRECIA B BENITO                               2102 TALLAPOOSA DR                                                                           DULUTH           GA    30097‐7980
LUCRETIA A GUY                                  216 THUNDERBIRD DR                                                                           HARVEST          AL    35749‐9605
LUCRETIA A HULL & JAMES A HULL JT TEN           2912 TAZEWELL PIKE                                                                           KNOXVILLE        TN    37918‐1873
LUCRETIA A LITTLE                               BOX 2054                                                                                     FREDERICKSBRG    TX    78624‐1917
LUCRETIA A TYLER                                49 STONEHEDGE DRIVE                                                                          NEWINGTON        CT    06111‐4919
LUCRETIA D CHIVERS                              5086 FORTMAN DR                                                                              DAYTON           OH    45418‐2233
LUCRETIA E SEIPEL                               24973 BROADMORE                                                                              HAYWARD          CA    94544‐1723
LUCRETIA ELLIS                                  7024 COMMANDER HOWE TE                                                                       BRANDYWINE       MD    20613‐6227
LUCRETIA F PURVIS                               2327 COX FERRY RD                                                                            FLORA            MS    39071‐9487
LUCRETIA GONSHAK                                10 KINGSWOOD WAY                                                                             SOUTH SALEM      NY    10590‐2612
LUCRETIA L STURGEON                             2516 MAUNA KEA DR                                                                            CERES            CA    95307‐1925
LUCRETIA M SCHONDEL                             214 ELYRIA ST                                                                                LODI             OH    44254‐1032
LUCRETIA MARY MORRISON                          6404 FORT SCOTT COURT                                                                        PLANO            TX    75023‐4311
LUCRETIA P JACKSON                              20280 FORESTWOOD ST                                                                          SOUTHFIELD       MI    48076‐5018
LUCRETIA WILLIAMS                               13686 TRENTON RD                                                                             SOUTHGATE        MI    48195‐1828
LUCY A BLAISDELL                                C/O LUCY DEMAYO                    46 MILLER RD                                              NORTH WINDHAM    CT    06256‐2732

LUCY A BORYS                                    359 TEGGERDINE TRL                                                                           WHITE LAKE       MI    48386‐2173
LUCY A CERBONE                                  27 GRANDVIEW DR                                                                              MT KISCO         NY    10549‐1829
LUCY A DE MAYO                                  46 MILLER RD                                                                                 NO WINDHAM       CT    06256‐2732
LUCY A ERBY                                     3353 CARDINAL                                                                                SAGINAW          MI    48601‐5712
LUCY A MASTERS                                  2624 MIDVALE PLACE                                                                           DAYTON           OH    45420‐3532
LUCY A MITCHELL                                 928 GRAHAM STREET                                                                            BURLINGTON       NC    27217‐6062
LUCY A ROBINO                                   2700 W 4TH ST                                                                                WILMINGTON       DE    19805‐1817
LUCY A RODRIQUEZ                                3259 DREXEL DR                                                                               SAGINAW          MI    48601‐4511
LUCY A SCHULTZ                                  135 JACOBS                                                                                   MONT CLARE       PA    19453‐5033
LUCY A SHINSKY & CAROLYN C SCHMIDT JT TEN       113 BROOKSIDE LN                                                                             CORAOPOLIS       PA    15108‐9785
LUCY ALEXA ZILLESSEN                            ATTN ALEXA ZILLESSEN GOODMAN       2918 VININGS FOREST WAY                                   ATLANTA          GA    30339‐4222
LUCY AMEN WARNER                                353 E 72ND ST 3‐D                                                                            NEW YORK         NY    10021‐4686
LUCY ANN LEMAY                                  C/O CORWIN                         355 DEER LANE                                             OXFORD           MI    48371‐2842
LUCY ANN MATZ                                   643 N EAST AVE                                                                               OAK PARK         IL    60302‐1715
LUCY AROOSIAN                                   1600 PARKER AVE                    APT 10 D                                                  FORT LEE         NJ    07024‐7005
LUCY B DIXON & JOSEPH ROBERT DIXON JT TEN       5713 N 21ST ST                                                                               PHOENIX          AZ    85016‐2739
LUCY BANKER CUST DOUGLAS BANKER UGMA NY         726 FOREST AVE                                                                               MAMARONECK       NY    10543‐4415
LUCY BARO                                       2023 PARKER BAY DRIVE                                                                        MURRELLS INLET   SC    29576‐7116
LUCY BENINATI                                   649 SECOND AVE                                                                               NEW YORK         NY    10016‐4201
LUCY BUCH TOD CAROL BUCH SUBJECT TO STA TOD     117 EAST GIBBONS ST                                                                          LINDEN           NJ    07036‐2957
RULES
LUCY C CUTOLO & FRANK J BOSCARDIN JT TEN        94 COLLEGE LN                                                                                MILLBROOK        NY    12545‐5547
LUCY C ELLIOTT                                  1111 MAIN ST                       APT 503                                                   DANVILLE         VA    24541‐2953
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Name                                              Address1                             Address2             Address3           Address4          City             State Zip

LUCY C FLYNN                                      41805 BORCHART ST                                                                              NOVI             MI    48375‐3328
LUCY C KING                                       119 GUAM AVE                                                                                   MISHAWAKA        IN    46545‐3932
LUCY C SALOT                                      1811 YALE DR                                                                                   LOUISVILLE       KY    40205‐2030
LUCY CAMMALLERI & JOHN S CAMMALLERI JT TEN        4210 ABERFOYLE AVE                                                                             FORT PIERCE      FL    34947‐1355

LUCY COLEMAN                                       15245 FORRER                                                                                  DETROIT          MI    48227‐2312
LUCY CUOMO RAFFERTY                                1286 CAMBRIA ST                                                                               UNIONDALE        NY    11553‐1323
LUCY D TROXELL TR UA 06/05/90 LUCY D TROXELL TRUST 32001 VIEWLAKE LANE                                                                           WESTLAKE VLG     CA    91361‐3621

LUCY E JOHNSON                                    G‐3280 MENOMINEE                                                                               BURTON           MI    48529
LUCY F BRINKLEY                                   2424 TRIPPLET BLVD                                                                             AKRON            OH    44312‐2455
LUCY F KING                                       6470 LARME AVE                                                                                 ALLEN PARK       MI    48101‐2434
LUCY FAULKNER                                     1816 BELMONT ST                                                                                FESTUS           MO    63028‐3145
LUCY FOARD                                        19959 ORLEANS ST                                                                               DETROIT          MI    48203‐1353
LUCY FORD                                         609 E CLAY                                                                                     MOUNT PLEASANT   IA    52641‐2328

LUCY FULK NEW                                     304 CHURCH ST                                                                                  KING             NC    27021‐9120
LUCY G GUTIERREZ                                  231 FERMOORE ST                                                                                SAN FERNANDO     CA    91340‐2701
LUCY G HANNA                                      91B NIPMUC TR                                                                                  NORTH            RI    02904‐7755
                                                                                                                                                 PROVIDENCE
LUCY H CRAIG                                      1551 RAYS FORK ROAD                                                                            SADIEVILLE       KY    40370‐9725
LUCY HELLER                                       100 FORREST RIDGE DR                 APT 323                                                   TRENTON          NJ    08648‐3769
LUCY HOPE GOODWIN                                 2646 DEWEY AVE                                                                                 ROCHESTER        NY    14616‐4749
LUCY HORTON BUTLER                                122 W CENTRAL WAY                                                                              PENDLETON        IN    46064‐9041
LUCY I GAY                                        3131 E COUNTY ROAD 54                                                                          BLYTHEVILLE      AR    72315‐7200
LUCY I GOODEN                                     12 WESTCLIFFE DR                                                                               AMHERST          NY    14228‐3413
LUCY J ARNOLD                                     1003 BARRINGTON DR                                                                             GREENCASTLE      IN    46135‐8191
LUCY J ATKINS                                     VIRGINIA AVE 10325                                                                             BASSETT          VA    24055‐5928
LUCY J BRANSON                                    28 S MCGEE ST                                                                                  DAYTON           OH    45403‐2124
LUCY J EDWARDS                                    703 E MADISON                                                                                  PONTIAC          MI    48340‐2939
LUCY J HACK CUST HOWARD MARK HACK UTMA WI         100 E WISCONSIN AVE STE 1020                                                                   MILWAUKEE        WI    53202‐4112

LUCY J HADAC                                      3309 E VALLEY                                                                                  SEATTLE          WA    98112‐4343
LUCY J HARVILLE & GERALD E HEATH JT TEN           11743 DIXIE RD                                                                                 CENTRAL POINT    OR    97502‐9303
LUCY J HOPPES & PENNY S HOOVER JT TEN             5384 TORREY RD                                                                                 FLINT            MI    48507‐3808
LUCY J PARKER                                     17403 WOODINGHAM DRIVE                                                                         DETROIT          MI    48221‐4505
LUCY J RAMUNNI                                    23 PERKIOMEN AVE                                                                               STATEN ISLAND    NY    10312‐2016
LUCY J REYNOLDS                                   PO BOX 924                                                                                     MUNFORDVILLE     KY    42765‐0924
LUCY J RICE                                       40 HOLMES ST                                                                                   CARVER           MA    02330‐1312
LUCY JANE CONLEY                                  40204 MARYLAND AVE                                                                             FENWICK ISLAND   DE    19944‐9317
LUCY JANE WILSON                                  C/O LUCY J BURT                      1620 NORTHRIDGE CT                                        MONROE           MI    48162‐5122
LUCY K ANDREOLI                                   UNIT 65                              25 PADANARAM ROAD                                         DANBURY          CT    06811‐4812
LUCY K HOSLEY EX EST RICKY HOSLEY                 774 LEE ANDREWS AVE SE                                                                         ATLANTA          GA    30315‐6812
LUCY K MEANS TR LUCY MEANS SEPARATE PROPERTY      3419 XENOPHON ST                                                                               SAN DIEGO        CA    92106‐1543
TRUST UA 10/12/04
LUCY K TAPPER                                     45 GATES STREET                                                                                FRAMINGHAM       MA    01702‐5503
LUCY KIDD                                         PO BOX 764                                                                                     WILBURTON        OK    74578‐0764
LUCY KOSCIERZYNSKI & RICHARD KOSCIERZYNSKI JT TEN 570 RENFREW                                                                                    LAKE ORION       MI    48362

LUCY L CRENSHAW                                   PO BOX 9125                                                                                    DALLAS           TX    75209‐9125
LUCY L MARTIN                                     10120 W 96TH APT D                                                                             OVERLAND PARK    KS    66212‐5136
LUCY L RECZKA                                     181 CASTLE HEIGHTS AVE                                                                         PENNSVILLE       NJ    08070
LUCY LEE CUST CATHY LEE UTMA MN                   C/O CATHY WINTER                     5241 RICHWOOD DR                                          MINNEAPOLIS      MN    55436
LUCY M BOYD                                       14503 CROSS JUNCTION ST                                                                        HOUSTON          TX    77084‐1596
LUCY M EDWARDS & MARGARET EDWARDS JT TEN          301 SHEFFIELD DR                                                                               BLOOMINGTON      IN    47408‐3140

LUCY M FIELDS CUST TRACY LYNN FIELDS UGMA CA      3850 SPRING HILL RD                                                                            PETALUMA         CA    94952‐9637

LUCY M FINLEY & DONNA M SMITH JT TEN              801 W LONG LAKE RD                                                                             BLOOMFIELD       MI    48302‐2059
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Name                                              Address1                             Address2              Address3             Address4          City               State Zip

LUCY M GARCIA                                     25016 TARMAN AVE                                                                                  HAYWARD            CA    94544‐2122
LUCY M GIANNOTTI & ALFRED W GIANNOTTI JR JT TEN   C/O J J FALLON                       PO BOX 1121           3050 FAIRWAY DRIVE                     CUTCHOGUE          NY    11935

LUCY M GONZALES                                   20914 PARK CANYON DRIVE                                                                           KATY               TX    77450‐4137
LUCY M GOSSETT                                    2403 FLORIAN% LUCY KLOTZ                                                                          HAMTRAMCK          MI    48212‐3411
LUCY M JOHNSON                                    3905 HWY 22                                                                                       EDWARDS            MS    39066‐9035
LUCY M JONES                                      00639 E DEARBORN ST                                                                               ENGLEWOOD          FL    34223
LUCY M KLOTZ                                      2403 FLORIAN                                                                                      HAMTRAMCK          MI    48212‐3411
LUCY M KLOTZ & JOHN P KLOTZ JT TEN                2403 FLORIAN                                                                                      HAMTRAMCK          MI    48212‐3411
LUCY M LANGE                                      4720 ST ANDREWS WAY                                                                               FORT SMITH         AR    72903‐3576
LUCY M OATES                                      218 SANDYWOOD CT                                                                                  MADISON            AL    35758‐6645
LUCY M RAY                                        195 PROSPECT                                                                                      PONTIAC            MI    48341‐3037
LUCY M SPEARS                                     413 EAST NORTH ST                                                                                 MEDINA             OH    44256‐1951
LUCY M STRICKLAND                                 2967 HENDRICKS                                                                                    DETROIT            MI    48207‐3320
LUCY MERRILL BATES                                1845 WELLINGTON AVE                                                                               BLOOMFIELD HILLS   MI    48302‐0064

LUCY MESSICK HELLER                               80 SECOND ST                                                                                      PARK RIDGE         NJ    07656‐1851
LUCY N KANSON CUST DAVID KANSON‐BENANAV UTMA      1898 ASHLAND AVE                                                                                  ST PAUL            MN    55104‐5948
MN
LUCY ORNAT                                        5565 CLINTON ST                                                                                   ELMA               NY    14059‐9478
LUCY P MIDOLO                                     3527 MADISON ST                                                                                   HYATTSVILLE        MD    20782‐3227
LUCY P SHARPE                                     1355 VROOM RD                                                                                     SPENCERPORT        NY    14559‐9714
LUCY PENNINGTON                                   22 E DELAWARE AVENUE                                                                              PENNINGTON         NJ    08534‐2301
LUCY PETOIA                                       108 JEFFERSON TER                                                                                 SPRINGFIELD        NJ    07081
LUCY PROHASKA                                     6891 LOCK HAVEN DR                                                                                LOCKPORT           NY    14094‐6183
LUCY R CALORE                                     746 DICKERSON ROAD                                                                                WILLOWICK          OH    44095‐4225
LUCY R MEDLICOTT                                  3921 SOUTH GROVE AVE                                                                              STICKNEY           IL    60402‐4167
LUCY R MURPHY                                     5253 W WICHITA DR                                                                                 BEVERLY HILLS      FL    34465‐2007
LUCY R QUATTRO                                    PO BOX 131                                                                                        DAVIS              WV    26260‐0131
LUCY R SHINE TR LUCY R SHINE TRUST UA 01/19/05    1710 LILLY LANE                                                                                   NEW ALBANY         IN    47150‐1902

LUCY RACHEL TAUSS                                 59 PARKWOODS RD                                                                                   PLANDOME           NY    11030‐1538
LUCY RINGROSE CLARKE                              37 KIMBERLY RD                                                                                    NEWINGTON          CT    06111‐1018
LUCY ROBERTS‐MUSCI TR LUCY ROBERTS‐MUSCI TRUST    638 TELYA RIDGE                                                                                   MILFORD            MI    48381‐1877
UA 11/10/81
LUCY S BARNHILL CUST SARA L ROSAMOND UTMA NC      3017 DAVENTRY LANE                                                                                RALEIGH            NC    27613‐6506

LUCY S HOWARD                                   3907 CAIN CT                                                                                        DAYTON             OH    45408‐2311
LUCY S WILLIAMSON TR LUCY S WILLIAMSON TRUST UA 602 TEESIDE CT                                                                                      SAINT AUGUSTINE    FL    32080‐9167
8/4/98
LUCY SANTULLO                                   27 BETHEL STREET                                                                                    BRISTOL            CT    06010‐6202
LUCY SEWARD FELDMAN                             11 ELVES LANE                                                                                       LEVITTOWN          NY    11756‐5522
LUCY STOUT                                      2808 CLEVELAND ROAD W                                                                               HURON              OH    44839‐1061
LUCY SYLVESTER & MICHAEL BITTO JT TEN           WHITNEY LENTO HOUSE                    15 SUMMER ST                                                 EVERETT            MA    02149‐3767
LUCY THOMS‐HARRINGTON                           BOX 746                                                                                             LOMPOC             CA    93438‐0746
LUCY V VANGELDER TR UA 09/30/92 LUCY V VAN      21 RIVERSIDE DRIVE #902                                                                             COCOA              FL    32922
GELDER LIVING TRUST
LUCY VENTRESCA & JOHN VENTRESCA JT TEN          427 CARMEL HILL RD N                                                                                BETHLEHEM          CT    06751‐1606
LUCY VOORHEES                                   843 NOTTINGHAM DR                                                                                   MEDINA             OH    44256‐3146
LUCY W HARRELL                                  PO BOX 889                                                                                          HAINES             AK    99827‐0889
LUCY WELLS TIERNEY                              215 MICHIGAN AVE                                                                                    SLIDELL            LA    70458‐2729
LUCY WILEY                                      100 RIVER STREET                                                                                    HORNELL            NY    14843‐2265
LUCY YANG                                       2375 RANGE AVE 53                                                                                   SANTA ROSA         CA    95403
LUCYNA D TEKLINSKI CUST THOMAS M TELKINSKI UGMA 28401 WALKER                                                                                        WARREN             MI    48092‐4149
MI
LUDIA J PATTERSON                               9612 S EUCLID                                                                                       CHICAGO            IL    60617‐4726
LUDIA S GOLDSBY                                 7221 SHOWPLACE DRIVE                                                                                DAYTON             OH    45424‐3126
LUDIE H EDWARDS                                 5301 BROWNSVILLE RD                                                                                 POWDER SPGS        GA    30127‐3052
LUDIE J JOHNSON                                 APT 9‐D                                235 S LEXINGTON AVE                                          WHITE PLAINS       NY    10606‐2532
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LUDIN W CILLS                                       1254 ARROWHEAD DR                                                                             BURTON            MI    48509‐1424
LUDLOW S BUTLER JR & ANNE D BUTLER JT TEN           5545 THUNDERBIRD LANE                                                                         LA JOLLA          CA    92037‐7059
LUDMILA SADLO                                       5225 DARBY CIRCLE                                                                             ROCHESTER         MI    48306‐2725
LUDOVIC B RIDDELL                                   23 ELM DR                                                                                     SKILLMAN          NJ    08558‐1608
LUDRUS E CRADDOCK                                   7778 E LINDEN LANE                                                                            PARMA HEIGHTS     OH    44130‐5828
LUDVIG W SHIREY                                     9028 GOLD RIDGE LANE                                                                          MECHANICSVILLE    VA    23116‐5821
LUDVIK J MIKLAUSICH & PATRICIA L MANSON JT TEN      921REGAL MANOR WAY                                                                            SUN CITY CENTER   FL    33573‐6581

LUDWIG A JAHN                                       4409 CONGRESSIONAL DR                                                                         CRP CHRISTI       TX    78413
LUDWIG ANDREW MATHEWS                               74 SHARP ST                                                                                   N PATELTOGUEUE    NY    11772‐1718
LUDWIG ANTAL                                        53300 BROOKFIELD                                                                              SHELBY TOWNSHIP   MI    48316‐2110

LUDWIG BERNHARD                                     26 RINGSTRASSE                      67706 KRICKENBACH    REPL OF            GERMANY
LUDWIG C BERGMAN                                    5211 STANLEY AVE                                                                              MAPLE HEIGHTS     OH    44137‐2828
LUDWIG C BOESGAARD                                  4 COMMONWEALTH ROAD                                                                           KENILWORTH        NJ    07033‐1402
LUDWIG F HUPE                                       10 WABASH AVE                                                                                 WORCESTER         MA    01604‐5419
LUDWIG FRIEDMAN & MRS LIVIA FRIEDMAN JT TEN         70‐25 YELLOW STONE BLVD             APT 19‐X                                                  FOREST HILLS      NY    11375‐3178

LUDWIG HOWARD ADAMS                                 852 RAMAPO WAY                                                                                WESTFIELD         NJ    07090‐3812
LUDWIG KARDOS                                       2624 VICTORIAN DR                                                                             DOVER             PA    17315‐3693
LUDWIG L SCHIEBEL                                   10822 KOLB                                                                                    ALLEN PK          MI    48101‐1182
LUDWIG M BROUWER                                    557 WEST STREET                                                                               WALPOLE           MA    02081‐1522
LUDWIG M MALIK                                      12128 NATHALINE                                                                               REDFORD           MI    48239‐2581
LUDWIG MANZ SR                                      2043 BURR AVE                                                                                 BRONX             NY    10461‐3907
LUDWIG MOLBERT                                      HERWEGHSTR 2                        D‐64347 GRIESHEIM                       GERMANY
LUDWIG P MANDLA                                     9624 DRY CREEK RD                                                                             CHESTERFIELD      VA    23832‐1933
LUDWIG R KOWALSKI                                   1034 STRATFIELD RD                                                                            FAIRFIELD         CT    06432‐1698
LUDWIG TUTSCH & MRS ELLEN TUTSCH JT TEN             725 MILLER AVE                      APT 401                                                   FREEPORT          NY    11520‐6351
LUDWIG VILLASI & KLARA VILLASI JT TEN               2000 W 50TH ST                                                                                WESTWOOD HILLS    KS    66205‐2024

LUDY VERA MACHOWICZ                                 29747 ROAN                                                                                    WARREN           MI     48093‐3533
LUE C SUDDUTH                                       3627 JERREE                                                                                   LANSING          MI     48911‐2635
LUE D WALKER                                        2254 ZION RD                                                                                  COLUMBIA         TN     38401‐6047
LUEDELPHIE JAMES                                    RTE 1 BOX 68B                                                                                 DODDRIDGE        AR     71834‐9704
LUELLA A THORSBY                                    69 OXBOW LAKE RD                                                                              WHITE LAKE       MI     48386‐2622
LUELLA C BEAGLE                                     4334 E COLDWATER RD                                                                           FLINT            MI     48506‐1054
LUELLA H KING                                       1127 RUDDELL DRIVE                                                                            KOKOMO           IN     46901‐1937
LUELLA H LANIER                                     11751 PROMENADE                                                                               DETROIT          MI     48213‐1317
LUELLA K EMERY TR LUELLA K EMERY REV LIV TRUST UA   264 BILTMORE DRIVE                                                                            DEARBORN HEIGHTS MI     48127‐3710
6/18/98
LUELLA L FLORES                                     7173 WATERMILL WAY                                                                            SALT LAKE CTY     UT    84121
LUELLA M COBB & DOUGLAS J COBB JT TEN               10133 LAPEER RD APT 309                                                                       DAVISON           MI    48423‐8197
LUELLA M COBB & JON C COBB JT TEN                   10133 LAPEER RD APT 309                                                                       DAVISON           MI    48423‐8197
LUELLA M COBB & RANDY S COBB JT TEN                 10133 LAPEER RD APT 309                                                                       DAVISON           MI    48423‐8197
LUELLA M CONDON                                     16812 SE 63RD LANE                                                                            OKLAWAHA          FL    32179‐3196
LUELLA M DOCKHAM                                    19884 45TH AVE                                                                                BARRYTON          MI    49305‐9733
LUELLA M DREYER                                     1 MORNINGSIDE DR                                                                              MILLVILLE         NJ    08332‐2806
LUELLA M MUSSLEMAN TOD LAURIE L GRECO               2123 CLARION CRT                                                                              MIAMISBURG        OH    45342
LUELLA M TAFT & ROBERT D TAFT JT TEN                G 6412 LUCAS RD                                                                               FLINT             MI    48506
LUELLA MOLETT                                       499 GOING                                                                                     PONTIAC           MI    48341‐3322
LUELLA V BRIGGS & FRANK V BRIGGS JT TEN             622 MT OAK AVE NE                                                                             ST PETERSBURG     FL    33702‐6056
LUELLA VIRGINIA SNYDER                              3223 HIGHWAY 4                                                                                WINNSBORO         LA    71295‐6853
LUERTHA MOSS                                        C/O DANNY MOSS                      2724 LAWRENCE ST                                          DETROIT           MI    48206
LUETTA MARLENE BURKE                                360 ENFIELD RD                                                                                CENTERVILLE       OH    45459‐1728
LUEVENNIE MC GINNIS                                 117 E RUSSELL                                                                                 FLINT             MI    48505‐2742
LUEVONDA W MC CAULEY                                1281 LONGDON ST                                                                               MORGANTOWN        WV    26505‐2431
LUGENIA BENION                                      263 S PADDOCK                                                                                 PONTIAC           MI    48342‐3137
LUGENIA MCGRIFF                                     15075 MUIRLAND                                                                                DETROIT           MI    48238‐2152
LUGENIA WILLIAMS                                    1174 SHIPWATCH DR E                                                                           JACKSONVILLE      FL    32225
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LUGRETHA BESTEDA                                17321 HARTWELL                                                                                  DETROIT         MI    48235‐4138
LUI HO YOUNG TR YOUNG FAM TRUST UA 12/21/89     19081 YORBA LINDA BLVD                                                                          YORBA LINDA     CA    92886‐2728

LUIGI A BROGGI                                  36636 FENDER AVE                                                                                MADERA          CA    93638‐8616
LUIGI B DAMIANI & MILDRED L DAMIANI JT TEN      661 DOLPHIN RD                                                                                  SOUTH VENICE    FL    34293‐7832
LUIGI BENVENUTO & AMELIA F BENVENUTO JT TEN     702 N DORSET AVE                                                                                VENTNOR         NJ    08406‐1317

LUIGI COSTANZA                                  2217 COVERT RD                                                                                  BURTON          MI    48509‐1014
LUIGI DESANTIS                                  15211 MORRIS                                                                                    ALLEN PARK      MI    48101‐3525
LUIGI DILALLA                                   2660 TIMKEN FOREST DR                                                                           APEX            NC    27502‐4315
LUIGI G GABBANA                                 1490 HANSEN CRESCENT                  WINDSOR ON                              N8W 5P4 CANADA
LUIGI GIUGNO & LUIGI A GIUNGO JT TEN            6120 ORCHARD HILL DR                                                                            LORAIN          OH    44053‐3858
LUIGI GRAMMATICA & ADUA GRAMMATICA JT TEN       148 CARMAS DRIVE                                                                                ROCHESTER       NY    14626‐3728

LUIGI INGLESE                                   25 GRANADA CIRCLE                                                                               ROCHESTER       NY    14609‐1957
LUIGI J MALAFRONTE & JOHN A MALAFRONTE JT TEN   28 COMMUNITY DRIVE                                                                              CRANSTON        RI    02905‐1006

LUIGI LA PIETRA                                 25 SUDBURY DR                                                                                   ROCHESTER       NY    14624‐2640
LUIGI MARINELLI                                 CLINTON GROVE CONDOS                  41615 JANET CIRCLE                                        CLINTON         MI    48038‐2055
LUIGI MARINELLI & ENRICA MARINELLI JT TEN       41615 JANET CIRCLE                                                                              CLINTON TWP     MI    48038‐2055
LUIGI P ROSSI                                   28 MONTECARLO DRIVE                                                                             ROCHESTER       NY    14624‐2212
LUIGI PARENTE                                   2335 FRIPP OVERLOOK NW                                                                          ACWORTH         GA    30101‐8046
LUIGI PERCONTINO                                852 GROVE AVENUE                                                                                EDISON          NJ    08820‐2203
LUIGI ROSSI                                     55 RAHWAY LN                                                                                    ROCHESTER       NY    14606‐4926
LUIGI SANTONASTASO                              1571 MANITOU RD                                                                                 ROCHESTER       NY    14626‐1019
LUIN G KINGMAN JR                               1475 SEVENTEENTH AVE                                                                            SAN FRANCISCO   CA    94122‐3402
LUIS A COLON                                    RAMIREZ DE ARELLANO 5‐2               URB TORRIMAR         GUAYNABO           PUERTO RICO
LUIS A FREGOSO                                  8843 WAKEFIELD                                                                                  PANORAMA CITY   CA    91402‐2516
LUIS A GAMBOA                                   436 WASHINGTON AVE                                                                              LINDEN          NJ    07036‐2853
LUIS A HERNANDEZ                                8816 SW 113TH PLACE CIR E                                                                       MIAMI           FL    33176‐1105
LUIS A LOPEZ                                    3147 LINDERA DR                                                                                 DELTONA         FL    32725‐3085
LUIS A LOPEZ                                    3409 FLOWER ST                                                                                  HUNTNGTN PARK   CA    90255‐6123
LUIS A MALAGON                                  2102 CLINTON AVENUE #1                                                                          BRONX           NY    10457‐3628
LUIS A MARTINS                                  17 WOODLAND TERRACE                                                                             YONKERS         NY    10701‐1927
LUIS A MATOS                                    HC 1 BOX 5335                         VILLALBA PR                             766 PUERTO RICO
LUIS A ROSAS                                    1430 MONDON HILL RD                                                                             BROOKSVILLE     FL    34601‐2773
LUIS A TORRES                                   1138 MARY STREET                                                                                ELIZABETH       NJ    07201‐1157
LUIS A URIBE & MARIA A URIBE JT TEN             PO BOX 884                                                                                      SAN FERNANDO    CA    91341‐0884
LUIS A ZORRILLA                                 14577 BLUEBELL DR                                                                               CHINO HILLS     CA    91709‐1802
LUIS ARLES ALVAREZ                              550 S OCEAN BLVD                      APT 1604                                                  BOCA RATON      FL    33432‐6282
LUIS B MEDINA                                   26 HANFORD PLACE                                                                                TRENTON         NJ    08609‐2508
LUIS B TURUSETA                                 205 NW 58TH COURT                                                                               MIAMI           FL    33126‐4725
LUIS BARBOSA                                    1755 WINDJAMMER LN                                                                              HANOVER PARK    IL    60133‐6169
LUIS C AREVALO & SILVIA M AREVALO JT TEN        PO BOX 46                                                                                       PALM BEACH      FL    33480‐0046
LUIS C DOSSANTOS                                57 FRANCIS AVE                                                                                  HARRISON        NY    10528‐3551
LUIS D SANDOVAL                                 7919 CYPRESS CORNER                                                                             SAN ANTONIO     TX    78240‐5321
LUIS DELGADO                                    20706 BROOKLAWN                                                                                 DEARBORN HTS    MI    48127
LUIS DOBON                                      15572 GULF BLVD                                                                                 REDINGTON BCH   FL    33708‐1728
LUIS E ACOSTA                                   2205 S HURON PKWY #3                                                                            ANN ARBOR       MI    48104‐5137
LUIS E AGUILAR                                  4607 SPIRAL CREEK                                                                               SAN ANTONIO     TX    78238‐3622
LUIS E DE TORRES                                520 BEECH AVENUE                                                                                GARWOOD         NJ    07027‐1408
LUIS E LLERENA                                  3506 W SAN LUIS ST                                                                              TAMPA           FL    33629‐7921
LUIS E SANCHEZ                                  2102 N RIDGEWOOD                                                                                SANTA ANA       CA    92705‐7626
LUIS E SANTANA                                  10643 CRYSTAL SPRINGS CT                                                                        ORLANDO         FL    32825‐8503
LUIS F FERNANDEZ                                15545 NW 82ND PL                                                                                MIAMI LAKES     FL    33016‐5830
LUIS F SANCHEZ                                  7606 CORNELIA AVENUE                                                                            CLEVELAND       OH    44103‐2014
LUIS FELEMOVICIUS                               4321 AVONDALE RD                                                                                GOLDEN VALLEY   MN    55416‐3516
LUIS FORBES                                     27586 LOYOLA AVENUE                                                                             HAYWARD         CA    94545‐4223
LUIS G FREGOSO                                  8843 WAKEFIELD                                                                                  PANORAMA CITY   CA    91402‐2516
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LUIS G HERRERA                                    16 PELLETOWN RD                                                                                     AUGUSTA           NJ    07822‐2123
LUIS G OROZCO                                     2455 WOOD HOLLOW DR                                                                                 LIVERMORE         CA    94550‐8665
LUIS G RIBE MORA                                  GM DE MEXICO                        LAGO VICTORIA #74          11520 MEXICO D F   MEXICO
LUIS G RIBE MORA                                  SANTIAGO #430 CASA 6                COL SAN JERONIMO LIDICE    MEXICO D F CP      MEXICO
LUIS G RODRIGUEZ                                  2317 PARK DRIVE                                                                                     KANSAS CITY       KS    66102‐4727
LUIS GARCIA                                       7923 NORTH PALMYRA RD                                                                               CANFIELD          OH    44406‐9707
LUIS GARCIA                                       2064 CHAMPAIGN                                                                                      LINCOLN PARK      MI    48146‐2506
LUIS GONZALEZ JR                                  820 NEWTON ST                                                                                       LANSING           MI    48912
LUIS H ASTOCAZA                                   7723 NW ROANRIDGE RD                APT F                                                           KANSAS CITY       MO    64151‐1470
LUIS H MARTINEZ                                   11202 FORBES AVENUE                                                                                 GRANADA HILLS     CA    91344‐4233
LUIS HERNANDEZ                                    1793 H STREET                                                                                       UNION CITY        CA    94587‐3355
LUIS LUNA & DEBBIE LUNA JT TEN                    PO BOX 36                                                                                           ROARING SPNGS     TX    79256‐0036
LUIS M LOPEZ EX U/W JOSEPH F LOPEZ                9854 MATTHEWS HIGHWAY                                                                               TECUMSEH          MI    49286‐7715
LUIS M MARQUEZ                                    33444 5TH STREET                                                                                    UNION CITY        CA    94587‐2417
LUIS M ORTIZ                                      5847 CHRISTIANCY                                                                                    DETROIT           MI    48209‐2103
LUIS M SANCHEZ                                    712 PARKERS DR                                                                                      PORTLAND          MI    48875‐9541
LUIS M VALLE                                      1929 SPARROWHAWK ST                                                                                 MANTECA           CA    95337‐7914
LUIS MARTINDELCAMPO                               2186 PESCARA CT                                                                                     LAS VEGAS         NV    89123‐3926
LUIS MEDINA                                       78 GEORGIA ST                                                                                       CLARK             NJ    07066‐1128
LUIS MEJIAS                                       GM VENEZOLANA APT PSTL 1828         VALENCIA ESTADO CARABOBO                      VENEZUELA
LUIS MENDOZA                                      1040 MAIN STREET                                                                                    MARTIN            OH    43445‐9612
LUIS N MARTINEZ                                   13827 DAVENTRY ST                                                                                   PACOIMA           CA    91331‐1805
LUIS NEGRON JR                                    6120 N ELLISTON TROWBRIDGE RD                                                                       MARTIN            OH    43445‐9727
LUIS P CANTU                                      14464 STATELY OAKS CIRCLE                                                                           LOCKPORT          IL    60441‐9393
LUIS P QUEVEDO                                    4431 WATERMOOR DR                                                                                   RIVERSIDE         CA    92505
LUIS PONCE                                        1945 CLARKDALE                                                                                      DETROIT           MI    48209‐1603
LUIS R RIVERA                                     BOX #6                              LA PLATA                                      PUERTO RICO
LUIS RODES ALAVA                                  AVDA A GOMEZ LAGUNA 18 5 B          50009 ZARAGOZA             ZARAGOZA           SPAIN
LUIS RODES ALAVA                                  AVDA A GOMEZ LAGUNA 18 ‐ 5 B        50009 ZARAGOZA             ZARAGOZA           SPAIN
LUIS SAUCEDO                                      2930 E 6TH STREET                                                                                   ANDERSON          IN    46012‐3729
LUIS SOTO                                         6600 N CHESTERFIELD DR                                                                              FORT WORTH        TX    76179
LUIS T FLORES & FRANCES D FLORES JT TEN           311 DE SOTO DRIVE                                                                                   UNIVERSAL CTY     TX    78148‐3130
LUIS TORRENS                                      67 SHERMAN ST                                                                                       SEWAREN           NJ    07077‐1213
LUIS TOVAR                                        7470 PEPPERMILL DR                                                                                  SWARTZ CREEK      MI    48473‐9466
LUIS TUNON                                        6045 KENNEDY BLVD E                 APT E6                                                          WEST NEW YORK     NJ    07093‐3920
LUIS V GONCALVES                                  77 APPLE D OR ROAD                                                                                  FRAMINGHAM        MA    01701‐3154
LUIS V PEREIRA                                    23 MERCHANT STREET                                                                                  NEWARK            NJ    07105‐2814
LUIS VASQUEZ                                      1977 TWIN SUN CIR                                                                                   WALLED LAKE       MI    48390‐4404
LUIS W HILLIGOSS JR                               506 CHESTER ST                                                                                      DANVILLE          IL    61832‐1549
LUIS ZAYAS                                        9529 DUBOIS BLVD                                                                                    ORLANDO           FL    32825‐6490
LUISA A SCARSELLI                                 7101‐11TH AVE                                                                                       BROOKLYN          NY    11228‐1210
LUISA ANCONA                                      240 TIMBERPOINT RD                                                                                  EAST ISLIP        NY    11730‐3322
LUISA INGLESE                                     25 GRANADA CIRCLE                                                                                   ROCHESTER         NY    14609‐1957
LUISA M SOTO                                      4801 ALBERMARLE ST NW                                                                               WASHINGTON        DC    20016‐4346
LUISA PARRILLA                                    1715 DAVIE BLVD                                                                                     FORT LAUDERDALE   FL    33312‐3227

LUISA V CIRELLI                                   8 MARION AVE                                                                                        SOUTH GLENS FALLS NY    12803‐4807

LUISA WILLIAMS & COOKIE KENNEDY WILLIAMS JT TEN   15260 HORGER                                                                                        ALLEN PARK        MI    48101‐2678

LUISA WILLIAMS & FRANZ J WILLIAMS II JT TEN       15260 HORGER                                                                                        ALLEN PARK        MI    48101‐2678
LUISE BANTEL                                      10 CLARKSON ST                                                                                      MILFORD           NJ    08848‐1533
LUISE M HUSSONG                                   1208 SW 49TH TER                                                                                    CAPE CORAL        FL    33914‐7049
LUISE M KELLER                                    315 HOLBROOK LN                                                                                     SAGINAW           MI    48603‐6256
LUISE M PHILPOTT                                  2115 DILLMAN RD                                                                                     MARTINSVILLE      IN    46151‐9108
LUISE SCHWIND                                     1884 PEBBLE BEACH CIRCLE                                                                            ELK GROVE VILLAGE IL    60007‐2791

LUIZ CARLOS PERES                                 PO BOX 9022                                                                                         WARREN            MI    48090‐9022
LUJARDIN L DEJESUS                                PO BOX 31                           RINCON                                        PUERTO RICO
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Name                                            Address1                               Address2             Address3           Address4          City              State Zip

LUKAS WOLTER                                    7035 BRIXTON PL                                                                                  SUWANEE           GA    30024‐5379
LUKASZ M ZAJAC                                  500 WEST LONNQUIST                                                                               MT PROSPECT       IL    60056
LUKE A FERRONE                                  470B CHELSEA CT                                                                                  MANCHESTER        NJ    08759‐7146
LUKE A SCHMITZ                                  10462 BLUEWATER HWY                                                                              PEWAMO            MI    48873‐9739
LUKE ALLEN SWAUGER                              1482 BUTTERFIELD CIR                                                                             NILES             OH    44446‐3576
LUKE BALL JR                                    20506 CAMERON ST                                                                                 DETROIT           MI    48203‐1279
LUKE BATCHER                                    3845 35TH ST                                                                                     SAN DIEGO         CA    92104‐3103
LUKE BEASLEY                                    1013 W COOLEY DR                                                                                 GILBERT           AZ    85233
LUKE C BRIONES                                  8300 TRAVIS LN                                                                                   OVERLAND PARK     KS    66212‐1142
LUKE C PENNER                                   2880 NW GLENWOOD DRIVE                                                                           CORVALLIS         OR    97330‐3138
LUKE CONFORTO                                   437 PALISADE AV A4                                                                               YONKERS           NY    10703‐2415
LUKE E KELLY                                    RT 3 BOX 196A                                                                                    MONTICELLO        IN    47960‐8868
LUKE E KITCHEN                                  PO BOX 994                                                                                       LEWISTON          MI    49756‐0994
LUKE ERIQUEZ                                    2187 EAST 2ND STREET                                                                             BROOKLYN          NY    11223‐4724
LUKE FERGUSON & VIVIAN ROSE FERGUSON JT TEN     12755 HIDEAWAY LAKE RD                                                                           VALLEY CENTER     CA    92082‐5752

LUKE G MATTHEW & ANDREW MATTHEWS &              1539 63RD ST.                                                                                    SOMERSET          WI    54025
GENEVIEVE HAGERTY JT TEN
LUKE GLOVER                                     626 HARVEY ST                                                                                    DANVILLE          IL    61832‐4125
LUKE HANNIBAL                                   3505 GLEN FALLS DR                                                                               HERMITAGE         TN    37076
LUKE I BOONE JR                                 3636 FOREST HILL RD                                                                              BALTIMORE         MD    21207‐6343
LUKE IRVIN                                      8293 MENDOTA                                                                                     DETROIT           MI    48204‐3028
LUKE J WANDER                                   BOX 610                                                                                          FAIRVIEW          NC    28730‐0610
LUKE JENKINS                                    52442 PAPPY LN                                                                                   SHELBY TOWNSHIP   MI    48316‐3069

LUKE KRALL & MARILYN KRALL JT TEN               94 RICHARD ST                                                                                    CLARK             NJ    07066‐2435
LUKE L ERIQUEZ & ANGELINA C ERIQUEZ JT TEN      2187 E 2ND ST                                                                                    BROOKLYN          NY    11223‐4724
LUKE M KRZEMINSKI                               4015 DEVINE HIGHWAY                                                                              LYONS             MI    48851‐9674
LUKE MATTHEWS                                   414 W PATTERSON ST                                                                               FLINT             MI    48503‐1044
LUKE MCKINNEY JR                                5840 RHAKE RD                                                                                    INDIANAPOLIS      IN    46217‐3678
LUKE MCRAE DUFFY                                9N773 OLD MILL CT                                                                                ELGIN             IL    60124‐8318
LUKE PAOLINI & MRS DAISY PAOLINI JT TEN         APT 2                                  1030 RESERVE ROAD                                         WEST SENECA       NY    14224‐4327
LUKE R BUNGE                                    2360 RUSK                                                                                        ROCHESTER         MI    48306‐3967
LUKE SIMMONS JR                                 29200 SOUTHFIELD RD                    STE 111                                                   SOUTHFIELD        MI    48076
LUKE STURGEON CUST ERIC STURGEON UTMA WV        800 18 MILE ROAD                                                                                 ASHTON            WV    25503
LUKE SWINFORD                                   61 SEAVIEW AVE #23                                                                               STAMFORD          CT    06902‐6061
LUKE W SCOTTON                                  4014 PINE RIDGE CT                                                                               FENTON            MI    48450‐9135
LULA B CUNNINGHAM                               105 SABRA AVENUE                                                                                 NEW ELLENTON      SC    29809‐2911
LULA B DAILEY                                   3373 S LEONA STREET                                                                              BAY CITY          MI    48706‐1788
LULA B GRAHAM                                   111 SAINT GREGORY CT                   # 70                                                      BUFFALO           NY    14221‐2633
LULA B RUEHL                                    19425 MAIN ST                                                                                    BUCHANAN          VA    24066‐5103
LULA B RUEHL & HARRY C RUEHL JT TEN             19425 MAIN ST                                                                                    BUCHANAN          VA    24066‐5103
LULA BUXTON                                     5086 RIDGEWOOD                                                                                   DETROIT           MI    48204
LULA C FOSTER                                   1604 MORRIS PLACE                                                                                NILES             OH    44446‐2840
LULA D LIMA                                     7 MAPLE ST                                                                                       YONKERS           NY    10701‐3916
LULA D MC GRATH                                 10411 TAKERIDGE COURT                                                                            CHARLOTTE         NC    28277‐8731
LULA ELLIS                                      PO BOX 66                                                                                        SWAYZEE           IN    46986‐0066
LULA G LA PENSEE                                45295 ECORSE                                                                                     BELLEVILLE        MI    48111‐1188
LULA H TURNER                                   2581 HINGHAM LN                                                                                  COLUMBUS          OH    43224‐3725
LULA JACKSON                                    922 REESE AVE                                                                                    LIMA              OH    45804‐1532
LULA JOANNE HOOGSTRATEN                         01003 LAKE DR                                                                                    GOBLES            MI    49055‐9086
LULA KRIVY                                      228 WESTERN HILLS BLVD                                                                           CHEYENNE          WY    82009‐3439
LULA L PEA                                      517 E PAGE ST                                                                                    FLINT             MI    48505‐4733
LULA M DOW TOD VELMA M PILON SUBJECT TO STA     1052 TEMPLE AVE                                                                                  MT MORRIS         MI    48458‐2536
TOD RULES
LULA M JENKINS                                  6020 E 129TH ST                                                                                  GRANDVIEW         MO    64030‐2631
LULA M MADSEN                                   1694 E ROSE CITY RD                                                                              ROSE CITY         MI    48661
LULA M SNELL                                    4206 ELLA CT                                                                                     JOHNSBURG         IL    60051‐5435
LULA M STOUT                                    9911 W 48 1/2 ROAD                                                                               WELLSTON          MI    49689
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Name                                             Address1                              Address2             Address3           Address4          City            State Zip

LULA MAE HUDSON                                  230 S 15TH AVE                                                                                  MAYWOOD         IL    60153‐1422
LULA N WHITEHOUSE                                9262 HOWLAND SPRINGS R                                                                          WARREN          OH    44484‐3134
LULA P FOSTER                                    923 EMILY                                                                                       SAGINAW         MI    48601‐2325
LULA R RAINES                                    PO BOX 38236                                                                                    DETROIT         MI    48238‐0236
LULA W KELLY                                     1011 THOMPSON DRIVE                                                                             CLINTON         MS    39056‐3007
LULA WILSON                                      5486 MANGOLD DR                                                                                 HUBER HEIGHTS   OH    45424‐5850
LULU C BOYLE                                     150 CLARK ST                                                                                    CANANDAIGUA     NY    14424‐1678
LULU M CONNOR                                    15178 BECKER DRIVE                                                                              MECOSTA         MI    49332‐9602
LUMAS T DAVIS                                    321 TANNER RD                                                                                   DAWSONVILLE     GA    30534
LUNDY CRABB CUST STANTON LUNDY CRABB UTMA FL     8009 SURF DR #B                                                                                 PANAMA CITY     FL    32408‐8531

LUNG CHOY CHEN                                36 WILDROSE CRES                         MARKITAM ON                             L3T 1N5 CANADA
LUNSFORD L LOVING JR                          15706 FOX CHASE LANE                                                                               CULPEPER        VA    22701
LUNSFORD P LANDS                              5325 ROUSH RD                                                                                      HILLSBORO       OH    45133‐7538
LUPE G VELEZ                                  G4292 WOODROW AVE                                                                                  BURTON          MI    48509
LUPE M HERNANDEZ CUST CHRISTOPHER A HERNANDEZ 26010 MANZANO CT                                                                                   VALENCIA        CA    91355‐3330
UTMA CA
LUPE MENCHACA                                 8403 PENCE                                                                                         BLISSFIELD      MI    49228‐9624
LUPE PHILLIPS                                 2847 E WALNUT ST                                                                                   ORANGE          CA    92867‐7368
LUPE R CANDILLO                               4901 S VALLEY VIEW RD                    TRLR 91                                                   BLUE SPRINGS    MO    64015‐3857
LUPE R HERNANDEZ                              4112 WAKEFIELD LOOP                                                                                FREMONT         CA    94536‐4741
LUPINE COMMERCIAL COMPANY A PARTNERSHIP       1403 P STREET                                                                                      ANCHORAGE       AK    99501‐4934
LUQUINCY A LUCAS                              730 ARMSTRONG RD                                                                                   LANSING         MI    48911‐3905
LURA D BARRETT                                1986 W SPINNINGWHEEL LN                                                                            BLOOMFIELD HL   MI    48304‐1066
LURA E SINCLEAR                               501 E HIGHLAND AVE APT 3                                                                           WILMINGTON      DE    19804‐2263
LURA MARSHALL                                 4534 VANCOUVER ST                                                                                  DETROIT         MI    48204‐3670
LURA S BASTEK                                 560 16 TH AVE S                                                                                    NAPLES          FL    34102‐7448
LURANA NOISEUX                                19 MONACO DR                                                                                       HOPEWELL        NY    12533‐5238
                                                                                                                                                 JUNCTION
LUREESE EVANS KAPP                               105 W GRAYSON ST                                                                                GALAX           VA    24333‐2809
LURENZIA WHEATLEY                                1151 E JULIAH AVE                                                                               FLINT           MI    48505‐1630
LURIE L DAVIS                                    7387 WATER OAKS DR                                                                              ORCHARD LAKE    MI    48324‐2485
LURINDA M HOLBIN                                 PO BOX 114                                                                                      CLIO            MI    48420‐0114
LURLENE M HESTER                                 335 SNAPPING SHOALS RD                                                                          MCDONOUGH       GA    30252‐5660
LURMAN YOUNG & IDENA YOUNG JT TEN                PO BOX 47045                                                                                    OAK PARK        MI    48237‐4745
LUSBY G MCCOY JR & BETTY C MCCOY JT TEN          209 W PEMBREY DR                                                                                WILMINGTON      DE    19803‐2008
LUSTER PERKINS                                   PO BOX 287                                                                                      TOUGALOO        MS    39174‐0287
LUTE G JONES                                     8810 PICASANT PLAIN RD                                                                          BROOKVILLE      OH    45309
LUTE G JONES & AGNES C JONES JT TEN              8810 PLEASANT PLAIN ROAD                                                                        BROOKVILLE      OH    45309‐9215
LUTGART VAN DE MOSSELAER                         RUBENSSTRAAT 10                       2300 TURNHOUT                           BELGIUM
LUTHARE H ERNST TR UA 01/26/88 LUTHARE H ERNST   7990 E SNYDER RD 14101                                                                          TUCSON          AZ    85750
TRUST
LUTHER A CLARK                                   710 FOX BOW DR                                                                                  BEL AIR SOUTH   MD    21014‐5289
LUTHER A CLARK & RACHEL E CLARK JT TEN           710 FOX BOW DR                                                                                  BEL AIR         MD    21014‐5289
LUTHER A HADSELL                                 191 GEORGE WASHINGTON TURNPIKE                                                                  BURLINGTON      CT    06013‐2415
LUTHER A MATHEWS                                 1337 CLEG HORN VALLEY RD                                                                        MARION          VA    24354‐6066
LUTHER A PUCKETT                                 13474 MITCHELL                                                                                  DETROIT         MI    48212‐1638
LUTHER A WEBSTER                                 228 MALIBU DRIVE                                                                                ROMEOVILLE      IL    60446‐3703
LUTHER A WOODCOCK & RUTH WOODCOCK JT TEN         1195 GRAHAM RD                                                                                  FLINT           MI    48532‐3534

LUTHER BEEBE RAY                                 #516                                  5471 THOMASTON RD                                         MACON           GA    31220‐8100
LUTHER C BROWN                                   216 AMERICANA CIRCLE                                                                            FAIRVIEW HTS    IL    62208
LUTHER C BURTON                                  578 SOUTH OXFORD AVE                                                                            INDEPENDENCE    MO    64053‐1018
LUTHER C CARSON                                  1238 CATALPA DRIVE                                                                              DAYTON          OH    45407‐1805
LUTHER C HASTING                                 8811 SUSSEX STREET                                                                              WHITE LAKE      MI    48386‐3372
LUTHER C MAC GILVRAY JR                          51500 LAUREL OAK LANE                                                                           NEW BALTIMORE   MI    48047‐1421
LUTHER C VEAL                                    3021 MERWOOD DR                                                                                 MOUNT MORRIS    MI    48458‐8219
LUTHER CAMPBELL                                  2912 NW CHELSEA PL                                                                              BLUE SPRINGS    MO    64015‐2817
LUTHER CLARKE                                    14300 METTETAL                                                                                  DETROIT         MI    48227‐1850
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LUTHER COLLINS & MRS SOPHIE COLLINS JT TEN          36664 ROLF AVE                                                                                 WESTLAND         MI    48185‐4071
LUTHER COMBS                                        711 PARK AVE                                                                                   NEWPORT          KY    41071‐2055
LUTHER D CRAFT                                      523 COLORADO                                                                                   PONTIAC          MI    48341‐2520
LUTHER D JOYNER                                     222 N CARLTON ST UNIT 2D                                                                       MAGNOLIA         NC    28453‐9704
LUTHER DANIELS                                      2820 OAKRIDGE DR                                                                               DAYTON           OH    45417‐1550
LUTHER DAVIDSON & QUEEN E DAVIDSON JT TEN           18434 HUNTINGTON RD                                                                            DETROIT          MI    48219‐2858
LUTHER E BAKER                                      3430 N HIGHWOODS DRIVE                                                                         INDIANAPOLIS     IN    46222‐1890
LUTHER E BITLER                                     4208 FLAJOLE RD                                                                                MIDLAND          MI    48642‐9239
LUTHER E EASTERWOOD                                 15021 MARSHA                                                                                   LIVONIA          MI    48154‐4876
LUTHER E GODFREY                                    292 BURKE                            PO BOX 18071                                              RIVER ROUGE      MI    48218‐0071
LUTHER FRAZIER                                      7013 CHAFTAIN PL                                                                               GREENSBORO       NC    27410‐8657
LUTHER G ANDERSON & KATHLEEN SEWA ANDERSON JT 2815 LONG WINTER LANE                                                                                OAKLAND          MI    48363‐2155
TEN
LUTHER GLASS                                        7286 WENTWORTH AVE                                                                             CLEVELAND        OH    44102‐5237
LUTHER GUY                                          116 W MCCLLEAN                                                                                 FLINT            MI    48505‐4073
LUTHER H HOLLIDAY JR                                PO BOX 3525                                                                                    DAYTON           OH    45401‐3525
LUTHER H JONES & NINA J JONES JT TEN                1665 BRANDONHALL DRIVE                                                                         MIAMISBURG       OH    45342‐6351
LUTHER H MC CREA                                    PO BOX 2092                                                                                    DENTON           TX    76202‐2092
LUTHER H ROBINSON                                   PO BOX 141                                                                                     SHAFTSBURG       MI    48882‐0141
LUTHER H WHITT                                      315 N W C OWENS AVE                                                                            CLEWISTON        FL    33440‐2811
LUTHER HARRELL JR                                   PO BOX 5614                                                                                    SAGINAW          MI    48603‐0614
LUTHER HOSKINS                                      1165 O BANNORVILLE RD                                                                          LOVELAND         OH    45140‐9719
LUTHER J BARRETT JR                                 241 MOTON DR                                                                                   SAGINAW          MI    48601‐1478
LUTHER J CROSS                                      3409 N 71ST STREET                                                                             KANSAS CITY      KS    66109‐1331
LUTHER J LEMON                                      3 LENOX LN                                                                                     CINCINNATI       OH    45229‐1907
LUTHER J REID JR CUST SUSAN J REID U/THE NEW JERSEY 2001 S EADS STREET                   APT 904                                                   ARLINGTON        VA    22202‐3141
U‐G‐M‐A
LUTHER J SMITH                                      6235 HAWKINS DR                                                                                CUMMING          GA    30040‐7542
LUTHER JONES                                        348 GHORMLEY AVE                                                                               OAKLAND          CA    94603‐2128
LUTHER L CAIN                                       124 N CREEK TRL                                                                                CANTON           GA    30114‐7645
LUTHER L GAITHER                                    111 JUNIPER ST                                                                                 MANSFIELD        TX    76063‐1812
LUTHER L JACKSON                                    177 HIGHSMITH CT                                                                               RUSSELLVILLE     AL    35654‐7554
LUTHER L PYLES                                      2410 BASSETT PL                                                                                FLINT            MI    48504‐5102
LUTHER M DAVIS                                      7112 NW 66 TERRACE                                                                             TAMARAC          FL    33321‐5403
LUTHER M DICK                                       22 WHITNER ST                                                                                  AVON PARK        FL    33825‐2441
LUTHER M HEARN CUST SEAN W HEARN UGMA DE            4453 HIGHWAY ONE                                                                               REHOBOTH BEACH   DE    19971‐9743

LUTHER MIDDLEBROOKS                                  PO BOX 3582                                                                                   GLEN ELLYN       IL    60138‐3582
LUTHER MORRISON JR                                   4102 SHERATON DR                                                                              FLINT            MI    48532‐3555
LUTHER MURPH RICHMOND                                PO BOX 1242                                                                                   WAUCHULA         FL    33873‐1242
LUTHER N TEETER JR                                   301 W 6TH/PO BOX 206                                                                          STEWARTSVILLE    MO    64490‐0206
LUTHER N TEETER JR & BARBARA A TEETER JT TEN         BOX 206                                                                                       STEWARTSVILLE    MO    64490‐0206
LUTHER O FINGERSON                                   738 WILLIAMS ST                                                                               JANESVILLE       WI    53545‐1649
LUTHER PAUL SHINN                                    RR 2 BOX 130‐2                                                                                ELKINS           WV    26241‐9607
LUTHER PITTMAN & LILLIE M PITTMAN JT TEN             G 1397 E CHARLES AVE                                                                          FLINT            MI    48505
LUTHER PRICE                                         441 JONES ST                                                                                  SULLIVAN         MO    63080‐2126
LUTHER R BELL & LYNDA K BELL TR LUTHER BELL LIVING   815 S BISCAYNG RIVER DR                                                                       MIAMI            FL    33169‐6142
TRUST UA 9/8/99
LUTHER R FISHER                                      8408 MISSION HILLS                                                                            CHARLOTTE        NC    28227‐5994
LUTHER R HOLLIS                                      3203 HEATHERSTONE                                                                             LAKE ORION       MI    48360‐1721
LUTHER R ZEHNER                                      889 MAPLE LANE                                                                                MEADVILLE        PA    16335‐1140
LUTHER REESE AHLBRANDT & DEBORAH BUCKNER             233 DIANE CT                                                                                  JACKSONVILLE     NC    28540‐0904
AHIBRANDT JT TEN
LUTHER ROBERT BUCKNER & DIANE MARIE BUCKNER JT       909 SWEETBRIAR RD                                                                             ORLANDO          FL    32806‐6307
TEN
LUTHER S HAZLEWOOD                                   6046 E ATHERTON RD                                                                            BURTON           MI    48519‐1602
LUTHER S JONES                                       1019 WAVERLY RD                                                                               EAST LAKE        OH    44095‐2827
LUTHER S ORR                                         4201 EATON S CREEK RD                                                                         NASHVILLE        TN    37218‐1004
LUTHER SAMPLES                                       571 VETERANS MEMORIAL DRIVE                                                                   CUMMING          GA    30040‐2742
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Name                                               Address1                              Address2             Address3           Address4            City            State Zip

LUTHER SIMS                                        1418 W OTTAWA                                                                                     LANSING         MI    48915‐1736
LUTHER T HOFACKER                                  RR #2                                 105 MARKET ST                                               NAPOLEON        OH    43545‐9213
LUTHER T MOORE                                     2801 W TYVOLA ROAD                                                                                CHARLOTTE       NC    28217‐4525
LUTHER T OWENS                                     1712 CLEVELAND AVE                                                                                NORWOOD         OH    45212‐2824
LUTHER T WILLIAMS                                  1139 BANE ST SW                                                                                   WARREN          OH    44485‐4017
LUTHER TAYLOR                                      HC 62 BOX 1037                                                                                    MIRACLE         KY    40856
LUTHER THOMPSON JR                                 407 KINGS MILL RD                                                                                 MASON           OH    45040‐2128
LUTHER W BECK                                      4671 TUCSON TRAIL SW                                                                              ATLANTA         GA    30331‐7048
LUTHER W DRENNAN JR                                7315 FERNCLIFFE DRIVE                                                                             HUNTSVILLE      AL    35802‐2628
LUTHER W HOLLAND                                   5772 PILGRIM DR                                                                                   INDIANAPOLIS    IN    46254‐1087
LUTHER W NEWTON                                    1391 GRAM                                                                                         BURTON          MI    48529‐2039
LUTHER W PERRY                                     8 SHIRLEY ST                                                                                      WOODSTOWN       NJ    08098‐1038
LUTHER W REAVES                                    108 GLENN MARY DR                                                                                 FLORENCE        AL    35633‐7863
LUTHER WIGGINS                                     20201 BURT ROAD                                                                                   DETROIT         MI    48219‐1362
LUTHER WILLIAM ACKER                               210 CLIFFSIDE DR                                                                                  LEWISTOWN       PA    17044‐9473
LUTHER ZACHARY HEATH III & CONNIE L HEATH JT TEN   2345 CEDARWOOD LANE                                                                               MONTGOMERY      AL    36116‐2126

LUTHFUL HASSAN                                     94‐29 54TH AVE                                                                                    ELMHURST        NY    11373
LUTISHIA M EASLEY                                  1206 HOLLYHOCK DR                                                                                 GRAND BLANC     MI    48439‐8878
LUTITIANNE PRIDMORE & COLBY ANN MOORE JT TEN       1603 MAPLE RIDGE WAY                                                                              TRAVERSE CITY   MI    49686‐5908

LUTRENA B HILL                                     2391 BATTLE DR                                                                                    VILLA RICA      GA    30180‐8012
LUTRON ELECTRONICS CO INC                          ATTN J SPIRA                          7200 SUTER RD                                               COOPERSBURG     PA    18036‐1249
LUTTERY PRUITT                                     554 SO 17TH ST                                                                                    SAGINAW         MI    48601‐2060
LUTTIE S DALTON                                    1636 HEARTHSTONE DRIVE                                                                            DAYTON          OH    45410‐3345
LUTZ P SAHMEL                                      55 JEFREELIND DR                                                                                  ROCHESTER       NY    14616‐2033
LUTZ WINDISCH CUST RICHARD WINDISCH UGMA CA        2651 BAYPORT DR                                                                                   TORRANCE        CA    90503‐8923

LUTZ WOLLENBERGER TR LUTZ WOLLENBERGER LIVING      4275 N ARBOR SHORE TRL                                                                            HERNANDO        FL    34442‐5513
TRUST UA 5/21/02
LUVADA PRICE                                       PO BOX 1                                                                                          MINERVA         NY    12851‐0001
LUVELT WEBB                                        7017 NOTTINGHAM                                                                                   WEST BLOOMFIELD MI    48322‐2946

LUVENIA JACKSON                                    20210 ANNCHESTER RD                                                                               DETROIT         MI    48219‐1463
LUVENIA LILLY                                      738 E LYNDON                                                                                      FLINT           MI    48505‐2954
LUVERNE C TIMMERMAN                                15008 CEDAR SPRINGS AVE                                                                           CEDAR SPRINGS   MI    49319‐8606
LUVERNE ORTMAN                                     169 VILLAGE COURT                                                                                 ORTONVILLE      MI    48462‐9791
LUVERNE V CULTON                                   1717 N FAIRMONT AVE                                                                               OKLAHOMA CITY   OK    73111‐1722
LUVERNE VANDER SANDE                               432 E BERLIN ST                                                                                   NESHKORO        WI    54960‐9585
LUVONIA RICHARDSON                                 17140 SUMMIT AVE                                                                                  HAZEL CREST     IL    60429‐1772
LUWANNA L MANLEY & DONALD E MANLEY JT TEN          8009 MAIDENS RD                                                                                   BEAR LAKE       MI    49614‐9738

LUYE LUI & MITCH BOGAGE JT TEN                     310 E 23RD ST APT 12A                                                                             NEW YORK        NY    10010‐4704
LUZ B MUNICH                                       AA‐7 ANNA STREET                      VILLA RICA           BAYAMON            PUERTO RICO
LUZ B MUNICH                                       A A‐7 ANA ST                          VILLA RICA           BAYAMON PR         959 PUERTO RICO
LUZ E LOZOYA                                       399 SOUTH COLONIAL                                                                                DETROIT         MI    48217‐1422
LUZ E MUNOZ                                        4847 RENVILLE                                                                                     DETROIT         MI    48210‐2108
LUZ GONZALES                                       5050 SCENIC DR                                                                                    WHITEHALL       MI    49461‐9460
LUZ J GARCIA                                       1020 WEST 11TH ST                                                                                 SEDALIA         MO    65301‐5419
LUZ M BERNAL                                       HC 01 BOX 3051                        MAUNABO                                 00707 PUERTO RICO                         ‐9714
LUZ M HOLLAND                                      229 SEVILLE DR                                                                                    ROCHESTER       NY    14617‐3831
LUZ R LOPEZ                                        644 S 17TH                                                                                        SAGINAW         MI    48601‐2063
LUZ S RODRIGUEZ                                    2433 N CLINTON ST                                                                                 SAGINAW         MI    48602‐5015
LUZ V PONIO                                        10633 NE 204TH PL                                                                                 BOTHELL         WA    98011‐2450
LUZ Z PEREIRA                                      1808 GEORGE ST                        APT 2L                                                      RIDGEWOOD       NY    11385‐5501
LUZZETTA J WHITE                                   12560 CONCORD ROAD                                                                                SEAFORD         DE    19973‐8276
LUZZETTA J WHITE                                   12560 CONCORD RD                                                                                  SEAFORD         DE    19973‐8276
LY S VANG                                          6814 W DIVISION RD                                                                                TIPTON          IN    46072‐8662
LYA WOOD                                           4105 PAWNEE ROAD                                                                                  RICHMOND        VA    23225‐1146
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Name                                              Address1                             Address2                 Address3       Address4          City               State Zip

LYDA CAROLYN BROCKMAN ROBISON                     PO BOX 419                                                                                     LA CONNER          WA    98257‐0419
LYDA JOAN COASSIN                                 PO BOX 86                                                                                      BROWNSVILLE        VT    05037‐0086
LYDA L OLSEN                                      C/O AMY BELOW                        2830 W COLUMBUS                                           PORT CLINTON       OH    43452‐8924
LYDA M GUSTINIS & HOWARD B RAINES JT TEN          3670 BERMUDA AVE                                                                               SAULT SAINTE       MI    49783‐1012
                                                                                                                                                 MARIE
LYDA M GUSTINIS & HOWARD B RAINES JT TEN        3670 BERMUDA AVE                                                                                 SAULTSTEMARIE      MI    49783‐1012
LYDA R DODD                                     2908 LAKE POINTE COURT                                                                           DECATUR            AL    35603‐4475
LYDIA ANNE CULVER                               3108 PRAIRIE ROSE ROAD                                                                           OKLAHOMA CITY      OK    73120‐5353
LYDIA B BASTEDO CUST CHRISTOPHER H BASTEDO UTMA ATTN RICHARD L BRICKLEY                75 FEDERAL ST 17TH FLR                                    BOSTON             MA    02110‐1904
MA
LYDIA B GUTIERREZ                               2005 HUNTINGTON DR                                                                               ARLINGTON          TX    76010‐7631
LYDIA C CIBELLA                                 C/O LYDIA CIBELLA SPONSELLER           2609 BLACK OAK DRIVE                                      NILES              OH    44446‐4456
LYDIA C HELLER                                  425 EAST 63RD STREET APT W9D                                                                     NEW YORK           NY    10065
LYDIA C MERRITT                                 PO BOX 2692                                                                                      LEWISBURG          TN    37091‐1692
LYDIA C MORENO                                  2389 W HEDDING ST                                                                                SAN JOSE           CA    95128‐1327
LYDIA C SIMONE                                  130 72 STREET                                                                                    BROOKLYN           NY    11209‐2062
LYDIA C WHITE                                   1249 VIRGINIA DRIVE                                                                              THE VILLAGES       FL    32162‐3794
LYDIA CHOMENKO                                  144 SOUTH STREET                                                                                 MANASQUAN          NJ    08736
LYDIA D ANZURES                                 300 FOURTH                                                                                       PONTIAC            MI    48340‐2851
LYDIA E CIEMNIAK                                12212 CARDOVA COURT                                                                              STERLING HTS       MI    48312‐3113
LYDIA E LEWIS                                   5399 KIMBERLY DR                                                                                 GRAND BLANC        MI    48439‐5165
LYDIA E MILLER                                  PO BOX 433                                                                                       ALGONAC            MI    48001‐0433
LYDIA EPLEY BAROUSSE SCHMIDT                    4428 CAMP ST                                                                                     NEW ORLEANS        LA    70115‐2808
LYDIA EVE GUTOWSKI                              C/O LYDIA EVE CIEMNIAK                 12212 CARDOVA COURT                                       STERLING HEIGHTS   MI    48312‐3113

LYDIA F TUCKER CUST EARLE H TUCKER III UNDER THE   1215 CANE CREEK DR                                                                            SENECA             SC    29672‐6844
NEW HAMPSHIRE U‐G‐M‐L
LYDIA G FERRIS                                     7255 WOODHAVEN DRIVE                                                                          LOCKPORT           NY    14094‐6242
LYDIA G MARTINEZ                                   1165 RANCH CREEK RD                                                                           COVINA             CA    91724‐3650
LYDIA GREEN                                        603 N JAY ST                                                                                  KOKOMO             IN    46901‐3027
LYDIA H THOMPSON                                   68 KAUFMAN DR                                                                                 WESTWOOD           NJ    07675‐2717
LYDIA J BUSH                                       ATTN LYDIA CHURCHILL                1152 JEFFERSON HWY                                        WINDER             GA    30680‐3002
LYDIA JONES                                        24300 JEROME ST                                                                               OAK PARK           MI    48237‐1671
LYDIA K KILBORN                                    ATTN LYDIA K EMERSON                11173 HIGHWAY 180                                         GULF SHORES        AL    36542‐8197
LYDIA KONDRATIVE                                   868‐6TH ST                                                                                    WYANDOTTE          MI    48192‐2937
LYDIA L ODREN                                      7145 W CARPENTER ROAD                                                                         FLUSHING           MI    48433‐9032
LYDIA M AUDIANO                                    56 BEACH AVE                                                                                  TERRYVILLE         CT    06786‐6320
LYDIA M BAKER                                      521 REID RD APT 5                                                                             GRAND BLANC        MI    48439‐1245
LYDIA M CUEVAS                                     2692 CHEYENNE PL                                                                              SAGINAW            MI    48603‐2915
LYDIA M FLEMING                                    ATTN LYDIA M NEVAREZ                6148 S KILBOURN                                           CHICAGO            IL    60629‐5216
LYDIA M GENTITE                                    101 HAGUE LANE                                                                                UNIONTOWN          PA    15401‐9128
LYDIA M MONTGOMERY                                 15667 MAPLERIDGE                                                                              DETROIT            MI    48205‐3030
LYDIA M PAUSSA                                     510 MEADOW ROAD                                                                               SYRACUSE           NY    13219‐2312
LYDIA M PELYAK                                     4862 FAIRVIEW                                                                                 NEWTON FALLS       OH    44444‐9419
LYDIA M SCOTT                                      1120 RAVENNA AVE                                                                              YOUNGSTOWN         OH    44505‐3357
LYDIA MARGARET ZAPPIA                              8855 BURLINGTON CIR                                                                           RIVERSIDE          CA    92508‐2530
LYDIA MAY                                          2370 LAKES NORTH DR                                                                           INTERLOCHEN        MI    49643‐9785
LYDIA P EVANS CUST ROBERT G EVANS UGMA TX          127 PADDINGTON WA                                                                             SAN ANTONIO        TX    78209‐8303
LYDIA P LEWIS                                      424 BURNS LANE                                                                                NEWTOWN            PA    18940‐1601
LYDIA PENIX                                        81 S CARDINAL DR                                                                              PRESTONSBURG       KY    41653‐1409
LYDIA R GRAHAM                                     918 HANOVER AVE                                                                               NORFOLK            VA    23508‐1227
LYDIA ROMOND & THOMAS ROMOND JT TEN                127 HOLLYWOOD AVENUE                                                                          METUCHEN           NJ    08840‐2115
LYDIA S MARLAR                                     24 DOUGLAS RD                                                                                 MASSENA            NY    13662‐2042
LYDIA STETZ THORSTENSEN TR UA 06/03/86 LYDIA STETZ 2198 JUANA ROAD                                                                               BOCA RATON         FL    33486‐5513
THORSTENSEN TRUST
LYELL W AIKEN JR                                   6643 LINCOLN AVE                                                                              LOCKPORT           NY    14094‐6156
LYLA A ROBINSON                                    219 ESPLANADE                                                                                 MT CLEMENS         MI    48043‐6510
LYLA FAYE CHRISTENSEN                              ATTN LYLA F CHRISTENSEN             DEMULLING                PO BOX 554                       DRESSER            WI    54009‐0554
LYLA P JOHNSON                                     205 OLIVERA LANE                                                                              SIERRA MADRE       CA    91024‐2137
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LYLAND R COTTON SR                               1415 16TH AVENUE SW                                                                           GREAT FALLS     MT    59404‐3133
LYLBURN O HODGES                                 2754 POPLAR FORK RD                                                                           WINFIELD        WV    25213‐9620
LYLE A BOEBEL & JUDY M BOEBEL JT TEN             3353 SCHMICKLE ROAD                                                                           MARION          IA    52302‐9713
LYLE A COOK                                      43 MILL CREEK AVE                                                                             LAPEER          MI    48446‐2689
LYLE A CROTS                                     5715 ERIE ROAD                                                                                OTTAWA LAKE     MI    49267‐9726
LYLE A FOSS                                      900 CHICKASAW DRIVE                                                                           MASON           MI    48854‐9610
LYLE A HALLBERG                                  9333 SIX MILE LAKE ROAD                                                                       ELLSWORTH       MI    49729‐9764
LYLE A HEROLD                                    1721 E LIBBY ST 3                                                                             PHOENIX         AZ    85022‐1634
LYLE A KOYL                                      108 FOX CIR                                                                                   BURNET          TX    78611‐3578
LYLE A MALTSBERGER                               3149 N ALLIS ST                                                                               KANSAS CITY     KS    66101‐1123
LYLE A NICHOLS                                   5700 LEHMAN RD                                                                                DEWITT          MI    48820‐9151
LYLE A SHAY                                      11366 WILLARD RD                                                                              TRUFANT         MI    49347‐9774
LYLE A WILLIAMS                                  PO BOX 7031                                                                                   CLEARWATER      FL    33758‐7031
LYLE B GROVER & LORETTA R GROVER JT TEN          607 BEACH BUGGY LANE                                                                          LINDEN          MI    48451‐9717
LYLE B MC MULLEN JR                              406 E EVERETTDALE AVE                                                                         LANSING         MI    48910‐5487
LYLE B REICHERT                                  556 WASHINGTON AVE                                                                            ELYRIA          OH    44035‐5129
LYLE B RICE                                      RT 1                                4817 PRATT RD                                             METAMORA        MI    48455‐9634
LYLE B RONNEBAUM                                 3351 NORTH 100 STREET                                                                         KANSAS CITY     KS    66109‐3516
LYLE B RONNEBAUM & PATRICIA K RONNEBAUM JT TEN   3351 N 100TH ST                                                                               KANSAS CITY     KS    66109‐3516

LYLE B VENABLE                                   12902 CHALFONT AVE                                                                            FORT WASHINGTON MD    20744‐2727

LYLE C BEEMAN                                     332 RD #3 ALEXANDER ROAD                                                                     BELLVILLE       OH    44813‐9803
LYLE C MILLER                                     211 E SMITH                                                                                  BAY CITY        MI    48706‐3876
LYLE C MOUSSEAU & RUTH M MOUSSEAU JT TEN          420 S GREY RD                                                                                AUBURN HILLS    MI    48326‐3810
LYLE C WING                                       2821 PALM COURT                                                                              BERKELEY        CA    94705‐1316
LYLE CHRISTENSEN & GAIL CHRISTENSEN JT TEN        BOX 273                                                                                      CASHMERE        WA    98815‐0273
LYLE CLIFFORD & JOANNE CLIFFORD JT TEN            2822 MARCUS DR                                                                               TROY            MI    48083‐2434
LYLE D BROWN                                      3415 W DODGE RD                                                                              CLIO            MI    48420‐1940
LYLE D COLE                                       6601 TRANSPARENT                                                                             CLARKSTON       MI    48346‐2167
LYLE D HEILMAN                                    RFD 2                                                                                        NAPOLEON        OH    43545‐9802
LYLE D PELHAM                                     2018 N 6TH ST                                                                                CLINTON         IA    52732‐2745
LYLE D SHAVER                                     3801 SOUTH CLAIR AVE                                                                         CLAIR           MI    48617‐8603
LYLE D THOMAS                                     11620 ANDREWS RD                                                                             SAINT CHARLES   MI    48655‐9674
LYLE DIAMOND                                      6142 N CALIFORNIA AVE              APT 311                                                   CHICAGO         IL    60659‐2785
LYLE E ANTIEAU                                    #4 RIDGEWAY DRIVE                                                                            ST JOSEPH       MI    49085‐1085
LYLE E ANTIEAU TR LYLE E ANTIEAU LIVING TRUST UA  #4 RIDGEWAY DRIVE                                                                            ST JOSEPH       MI    49085‐1085
3/2/99
LYLE E BURR                                       5850 BURNETT EAST ROAD                                                                       KINSMAN         OH    44428‐9764
LYLE E HANDRICH                                   1232 N PERRY CREEK RD                                                                        MIO             MI    48647‐9718
LYLE E LEATHERBERY                                533 THEO                                                                                     LANSING         MI    48917‐2651
LYLE E MCNALLY                                    3451 MACKINAW RD                                                                             BAY CITY        MI    48706‐9444
LYLE E MORSE                                      2108 SEVENTY‐FOURTH ST                                                                       WINDSOR HTS     IA    50324
LYLE E PACHOLKE                                   4800 LAWNDALE RD RT                                                                          SAGINAW         MI    48603‐1018
LYLE E SCOTT JR                                   5995 N EIGHT MILE                                                                            PINCONNING      MI    48650‐8920
LYLE E WINKLER                                    21263 N 1220 E RD                                                                            DANVILLE        IL    61834‐5274
LYLE ELYEA CUST MARK ELYEA U/THE ILLINOIS UNIFORM 5017 RITZ ROAD                                                                               MARENGO         IL    60152‐9128
GIFTS TO MINORS ACT
LYLE F BARKER                                     22274 REMICK                                                                                 MT CLEMENS      MI    48036‐2635
LYLE F EVANS                                      PO BOX 526                                                                                   MOUNT MORRIS    MI    48458‐0526
LYLE F RANSHAW                                    5086 E CENTERLINE RD                                                                         ST JOHNS        MI    48879‐9155
LYLE F WHEELER                                    8139 HARTEL RD                                                                               GRAND LEDGE     MI    48837‐9473
LYLE FRANCES GATES                                RR1 BOX 356A                                                                                 BRODHEAD        KY    40409‐9149
LYLE G BADGLEY                                    C/O VIRGINIA BADGLEY               BOX 384              131 GROVE ST                         OTISVILLE       MI    48463
LYLE G BARNHART                                   1153 GLENLORD ROAD #105                                                                      SAINT JOSEPH    MI    49085‐9702
LYLE G BIRCHMAN                                   14777 CUTLER RD                                                                              PORTLAND        MI    48875‐9349
LYLE G MILLER                                     4924 BUCKTHORNE DR                                                                           SAGINAW         MI    48603‐7808
LYLE H BARRON                                     11621 HERON BAY DR                                                                           FENTON          MI    48430‐8612
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LYLE H CUMMINGS & MARGARET E CUMMINGS JT TEN        1344 LEISURE DR                                                                                FLINT            MI    48507‐4054

LYLE H GARDNER                                      2410 ST RT 534                                                                                 SOUTHINGTON      OH    44470‐9524
LYLE HOLLAND                                        220 S ROANOKE                                                                                  YOUNGSTOWN       OH    44515‐3549
LYLE J BECKER                                       3254 HOGARTH                                                                                   FLINT            MI    48532
LYLE J GONYEA                                       2982 N US 23                                                                                   OSCODA           MI    48750‐9585
LYLE J KITSON                                       9451 W LEHMAN RD                                                                               DEWITT           MI    48820‐9155
LYLE J LEYS                                         4343 ALPINE DR NE                                                                              DORR             MI    49323‐9758
LYLE J MOGLER & JOSEPHINE P MOGLER JT TEN           1701 16TH ST NW                                                                                MINOT            ND    58703‐1115
LYLE J PAYNE                                        16940 OAKLEY RD LOT 121                                                                        CHESANING        MI    48616‐9572
LYLE J ROSE                                         28232 SUNSET DRIVE                                                                             BONITA SPRINGS   FL    34134‐7505
LYLE J SCHULTE & SUSAN SCHULTE JT TEN               895 WILLOW CREEK DR                                                                            FAIRLAWN         OH    44333‐5000
LYLE K BIRCHFIELD                                   303 NE 3RD AVE                                                                                 WILISTON         FL    32696‐2225
LYLE K SANDERSON                                    41 BEVERWICK LANE                                                                              SLINGERLANDS     NY    12159
LYLE K VANNORTWICK                                  842 S CANAL RD                                                                                 LANSING          MI    48917‐9644
LYLE L AUTEN & JANICE I AUTEN JT TEN                4805 S LOWELL ROAD R F D                                                                       ST JOHNS         MI    48879‐9573
LYLE L BERRO & DIANE L BERRO JT TEN                 5639 PORTAGE POINT 11 4 LN           APT 114 1                                                 ESCANABA         MI    49829‐9625
LYLE L BURNHAM                                      148 PARK LANE                                                                                  TITUSVILLE       FL    32780‐4707
LYLE L LYON                                         105 ELLIOT RD                                                                                  MASON            MI    48854‐9506
LYLE L MCQUAID                                      RT 3                                 5058 S THOMPSON RD                                        ONAWAY           MI    49765‐8885
LYLE L PAGE                                         165 STATE HIGHWAY 37C                                                                          MASSENA          NY    13662‐3321
LYLE L PARDONNET                                    4520 13TH STREET E                                                                             ELLENTON         FL    34222‐2610
LYLE L PARDONNET & JO ANN PARDONNET JT TEN          4520 13TH STREET E                                                                             ELLENTON         FL    34222‐2610
LYLE L VORPAGEL                                     6994 HWY 36                                                                                    LAKE GENEVA      WI    53147‐3668
LYLE M HELM                                         3698 GARFIELD RD                                                                               PINCONNING       MI    48650‐7000
LYLE MUTTER                                         110 6TH ST APT 105                                                                             LANSE            MI    49946‐1441
LYLE N FORBES                                       1463 FLAMENGO DR                                                                               MT MORRIS        MI    48458‐2723
LYLE OWEN WOLFGANG                                  1325 DIXIELAND RD                    LOT 16                                                    HARLINGEN        TX    78552‐3312
LYLE PARMELEE MILOVINA                              PO BOX 302                                                                                     HOPLAND          CA    95449‐0302
LYLE R ALMBURG                                      6424 TOD SW AV                                                                                 WARREN           OH    44481‐9739
LYLE R BARTON                                       7650 VISGAR                                                                                    WATERFORD        MI    48329‐1064
LYLE R EDGINGTON                                    PO BOX 145                                                                                     EVANSVILLE       WI    53536‐0145
LYLE R GORDON                                       1216 HIDDEN OAKS DRIVE                                                                         CENTERVILLE      OH    45459‐3203
LYLE R LANWAY                                       12865 S W HWY 17 LOT 394                                                                       ARCADIA          FL    34266
LYLE R NESSELROAD                                   307 NORTH ST                                                                                   BROOKLYN         IA    52211‐9490
LYLE R WILLIAMSON 2ND                               3204 S LOCUST ST                                                                               DENVER           CO    80222‐7410
LYLE R WILSON TR UA 02/13/08 LYLE R WILSON LIVING   511 ADAMS ST                                                                                   SAN ANTONIO      TX    78210
TRUST
LYLE RAYMOND LASH II                                9127 W REID RD                                                                                 SWARTZCREEK      MI    48473‐7618
LYLE S CARPENTER & TERREL W ALBURTIS JT TEN         6307 HILLY RD SOUTHEAST                                                                        AGENCY           MO    64401
LYLE S COULSON                                      306 S 5TH AVE P O BOX 222                                                                      GREENWOOD        MO    64034‐0222
LYLE S CRAWFORD & ALBERTA J CRAWFORD & NANCY A      17116 RUSSELL                                                                                  ALLEN PARK       MI    48101‐2849
CRAWFORD JT TEN
LYLE S GROSS                                        591 SALTSPRINGS                                                                                WARREN           OH    44481‐9616
LYLE SEYMOUR WATSON                                 608 ROOSEVELT AVE                                                                              ROME             NY    13440‐5321
LYLE SPATZ & MARILYN V SPATZ TR SPATZ FAM TRUST     8485 MARSALA WAY                                                                               BOYNTON BEACH    FL    33472‐8119
UA 01/18/00
LYLE T IBELING                                      740 HERRON COURT                                                                               WATERLOO         WI    53594‐1000
LYLE T PRICE                                        7740 LEWISTON ROAD                                                                             BATAVIA          NY    14020‐9435
LYLE VINCENT & JULIE SUSSEX JT TEN                  11001 ROOSEVELT BLVD N               STE 1400                                                  ST PETERSBURG    FL    33716‐2338
LYLE W HIGHTREE                                     1100 S W 98TH                                                                                  OKLAHOMA CITY    OK    73139‐2617
LYLE W LARSON                                       BOX 352                                                                                        ORFORDVILLE      WI    53576‐0352
LYLE W SIMPSON                                      PO BOX 1070                                                                                    FENTON           MI    48430‐5070
LYMAN A RUST                                        20 CANDLEWYCK DR                                                                               HENDERSON        NV    89052‐6654
LYMAN D ANDERSON                                    511 GORDON                                                                                     CONCORDIA        MO    64020‐9675
LYMAN D ARNOT                                       1180 GRANGER ROAD                                                                              ORTONVILLE       MI    48462‐9298
LYMAN E BEACH                                       3635 TERRELL                                                                                   WATERFORD        MI    48329‐1138
LYMAN E BUTLER                                      7098 HIGHWAY 41A                                                                               PLEASANT VIEW    TN    37146‐5100
LYMAN E SMITH                                       1520 CEDARWOOD DR                    APT 317                                                   FLUSHING         MI    48433‐1866
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LYMAN F THOMPSON JR                              5235 KINGS COMMON WAY                                                                          CUMMING           GA    30040‐9679
LYMAN J DAVIS                                    1140 CORA                                                                                      WYANDOTTE         MI    48192‐2806
LYMAN J RICE JR                                  2113 DUANE DR                                                                                  BEEBE             AR    72012‐3857
LYMAN J RICE JR & SHIRLEY P RICE JT TEN          2113 DUANE DR                                                                                  BEEBE             AR    72012‐3857
LYMAN L MOULTON JR                               102 CLINTON ST                                                                                 PORTLAND          ME    04103‐3227
LYMAN M PIERSON                                  PO BOX 199                                                                                     EAST LEROY        MI    49051‐0199
LYMAN P KETZLER                                  5469 VINES RD                                                                                  HOWELL            MI    48843‐9659
LYMAN S MATTEI                                   2409 FAGOT AVE                                                                                 METAIRIE          LA    70001‐4208
LYMAN W STRICKLAND                               4622 DEVONSHIRE ROAD                                                                           DUNWOODY          GA    30338‐5614
LYMIRA SMITH                                     6711 E 450 S                                                                                   RUSHVILLE         IN    46173‐7751
LYN A WICKMAN GROVE                              3221 CANON ST                                                                                  SAN DIEGO         CA    92106‐2512
LYN BERBERT                                      162 FENDALE STREET                                                                             FRANKLIN SQUARE   NY    11010‐4208

LYN CLYDE GERONIMI & HARRIETTE THELMA GERONIMI   4815 GLENHAVEN DR                                                                              EVERETT           WA    98203
JT TEN
LYN D SUTTON                                     58279 CRAIN ST                                                                                 MARATHON          FL    33050‐5700
LYN JOHNSON CUST ZOE COONEY UGMA MI              300 VAN RD                                                                                     HOLLY             MI    48442‐8716
LYN L LOSS                                       637 BRYSEN                                                                                     TOLEDO            OH    43609‐1313
LYN M COODY                                      6807 NW 42ND ST                                                                                BETHANY           OK    73008‐2571
LYN MARIE IRVING                                 1062 PENFIELD RD                                                                               ROCHESTER         NY    14625
LYN R EWING                                      2201 FOXFIRE RD                                                                                EDMOND            OK    73003‐6211
LYNA L FERRARA TR LYNA L FERRARA REV TRUST UA    400 UTLEY RD                                                                                   ELMHURST          IL    60126‐3247
06/18/93
LYNAL BLACKWELL                                  5030 N DUCK LAKE RD                                                                            HIGHLAND          MI    48356‐1522
LYNCOMIA P DAVIS                                 814 BRANCH RD                                                                                  ALBANY            GA    31705‐5304
LYND HICKS CUST TIMOTHY L HICKS UGMA NY          1836 N UNION ST                                                                                SPENCERPORT       NY    14559‐1146
LYNDA A BANDUCCI                                 9715 KING ROAD                                                                                 LOOMIS            CA    95650‐8013
LYNDA A CARMICHAEL                               2560 BLACK PINE TRAIL                                                                          TROY              MI    48098‐4102
LYNDA A HOENER & PATRICK E HOENER JT TEN         2503 WICKFIELD                                                                                 W BLOOMFIELD      MI    48323
LYNDA A RENNICK                                  127 RIBBLESDALE DRIVE               WHITBY ON                                L1N 7K2 CANADA
LYNDA A ROBERTS                                  2471 HOWLAND WILSON RD                                                                         WARREN            OH    44484‐4112
LYNDA A WAGNER                                   85 FIDDIS AVE                                                                                  PONTIAC           MI    48342‐2716
LYNDA ADELL & JOSEPHINE ADELL JT TEN             9101 MOSSY ROCK CT                                                                             BRISTOW           VA    20136‐1739
LYNDA BERNELL MEEUWENBERG                        6660 WOLF LAKE RD                                                                              JACKSON           MI    49201‐9297
LYNDA BIRDSALL                                   1317 CREST ST                                                                                  OCEANO            CA    93445‐9466
LYNDA CAPOZIELLO                                 1195 NEW YORK AVE                                                                              FRANKLIN SQUARE   NY    11010‐1220

LYNDA CAPOZIELLO & WILLIAM CAPOZIELLO JT TEN     1195 NEW YORK AVE                                                                              FRANKLIN SQUARE   NY    11010‐1220

LYNDA CARLSON                                    634 RINGGOLD ST                                                                                PEEKSKILL         NY    10566‐5504
LYNDA CARROLLE WHITLOCK                          4 ALLYAN CT                                                                                    BLUFFTON          SC    29910‐6533
LYNDA CBARBERO MC WILLIAMS                       3510 SADDLEBROOK PL                                                                            DUBLIN            CA    94568‐8743
LYNDA CINOTTI                                    706 ALBERT E CLIFTON AVE                                                                       PT PLEASANT       NJ    08742‐3738
LYNDA D GLASS                                    5939 MARION ST                      R ROUTE #3               DORCHESTER ON   N0L 1G6 CANADA
LYNDA D HERRING                                  5405 ROXBURY RD                                                                                INDIANAPOLIS      IN    46226‐1549
LYNDA DURHAM BUTLER                              50 BRONSON STREET                                                                              BEREA             OH    44017‐2718
LYNDA E CRANDALL                                 1020 MARINE ST                                                                                 CLEARWATER        FL    33755
LYNDA E CRANDALL & GRACE A CRANDALL JT TEN       1020 MARINE ST                                                                                 CLEARWATER        FL    33755
LYNDA E DANIELS                                  21 MEDINAH DR                                                                                  READING           PA    19607‐3313
LYNDA F KANENBERG                                6 CENTERWOOD DR                                                                                BURLINGTON        CT    06013‐1538
LYNDA F KIDD                                     5435 FOX RIDGE DR                                                                              WEST BLOOMFIELD   MI    48322‐2013

LYNDA GODKIN                                     11 DUNCASTER WOOD                                                                              GRANBY            CT    06035‐1917
LYNDA GROVES JEANES                              BOX 176                             1000 CHERRY GROVE ROAD                                     EARLEVILLE        MD    21919‐1011
LYNDA H RABB & CATHRYN O MORELL JT TEN           1914 ADELAIDA RD                                                                               PASO ROBLES       CA    93446‐9776
LYNDA H WILKERSON                                5405 ROXBURY RD                                                                                INDIANAPOLIS      IN    46226‐1549
LYNDA H WILKERSON & NORRIS C WILKERSON JT TEN    5405 ROXBURY RD                                                                                INDIANAPOLIS      IN    46226‐1549

LYNDA J BENNETT                                  310 STONY POINT RD                                                                             ROCHESTER         NY    14624‐1949
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LYNDA J FITZGIBBON & JEFFREY M FITZGIBBON JT TEN   665 BARTLETT                                                                                 HARBOR BEACH       MI    48441‐1343

LYNDA J GALLOWAY                                   126 LONNIE MALONE RD                                                                         DOWNSVILLE         LA    71234‐3408
LYNDA J GERHARDT                                   20278 HUNTINGTON                                                                             HARPER WOODS       MI    48225‐1859
LYNDA J GUSTKE                                     137 CANFIELD                                                                                 MT CLEMENS         MI    48043‐1703
LYNDA J HARRISON                                   8909 GLENBROOK RD                                                                            FAIRFAX            VA    22031‐2727
LYNDA J HUFFMAN                                    3327 WOODLAND ACRES RD                                                                       E NEW MARKET       MD    21631
LYNDA J SMITH                                      2315 CHEYENE RD                                                                              SMYRNA             SC    29743‐9786
LYNDA J ZITKA                                      3928 KIMBROUGH LN                                                                            PLANO              TX    75025‐3870
LYNDA JAYE RALEIGH                                 10514 ELGIN                                                                                  HUNTINGTONWDS      MI    48070‐1535

LYNDA L GRIMES                                     3559 US 36 EAST                                                                              MARKLEVILLE        IN    46056‐9751
LYNDA L HARING                                     2215 L ST                                                                                    SACRAMENTO         CA    95816‐4926
LYNDA L HARTLEY CUST WAYNE PIERCE UTMA NH          929 PARKER MOUNTAIN RD                                                                       STRAFFORD          NH    03884‐6322
LYNDA L MARTIN                                     260 E CUNNINGHAM ST                                                                          MARTINSVILLE       IN    46151‐1107
LYNDA L PALMER                                     177 SUNBROOK LANE                                                                            HAGERSTOWN         MD    21742‐4197
LYNDA L STEVENS                                    3220 HOLLY AVE                                                                               FLINT              MI    48506‐3057
LYNDA L STOKOE                                     100 GOOGIN STREET                                                                            LEWISTON           ME    04240‐5314
LYNDA L TRESSLAR                                   1142 BLUE BIRD DR                                                                            ROCHESTER HILLS    MI    48307
LYNDA L WEBSTER‐GOMBEYSKI                          PO BOX 1110                                                                                  CHARLESTOWN        RI    02813‐0902
LYNDA LOU RIGGLE & RALPH D RIGGLE JT TEN           29 OLEAN TRAIL                                                                               NEW BETHLEHEM      PA    16242
LYNDA M COWAN                                      144 BUSBIN LANE                                                                              COLBERT            GA    30628‐1510
LYNDA M FRANK & JOSEPH E FRANK JT TEN              3035 WEXFORD ROAD                                                                            WEXFORD            PA    15090‐8820
LYNDA M HUKKALA                                    2907 CHECKERS COURT                SPRINGHILL                                                SPRING HILL        TN    37174
LYNDA M KRASSOW                                    ATTN LYNDA O'HARA                  D‐411                13255 SW 7 CT                        PEMBROKE PINES     FL    33027‐1884
LYNDA M LAWRENCE                                   2465 BRIARWOOD CT                                                                            VILLA RICA         GA    30180‐8017
LYNDA M RICCARDI                                   36 WOODVIEW DRIVE                                                                            HOWELL             NJ    07731‐3825
LYNDA M WIKNER                                     11 CURREN ST                                                                                 CLAYTON            NM    88415‐2801
LYNDA M WOMACK                                     7810 DONINGTON PARK DRIVE                                                                    CUMMINGS           GA    30040‐6055
LYNDA M YAMEBUBPHA                                 ATTN LYNDA BOISSELLE               2016 PELHAM AVE                                           WEST LOS ANGELES   CA    90025‐6320

LYNDA MARIE MOSS                               123 VINTAGE AVE                                                                                  WINSTON SALEM      NC    27127‐2053
LYNDA MARIE TODD                               1193 ELDORADO AVENUE                   OSHAWA ON                               L1K 1E9 CANADA
LYNDA MOLINA                                   78 CAMPTON PL                                                                                    LAGUNA NIGEL       CA    92677‐4734
LYNDA NELSON                                   7001 W GRANGE AVE                                                                                GREENDALE          WI    53129‐1105
LYNDA NEW LON YAFAI CUST ACACIA CHANEL NEW LON 270 MAIN STREET                                                                                  LOS ALTOS          CA    94022‐2908
YAFAI UTMA CA AGE 18
LYNDA P WILLIAMS                               2619 HAIGLER BAUCOM RD                                                                           MONROE             NC    28110‐1405
LYNDA S CANAVAN                                9075 SOMERSET RD                                                                                 THORNVILLE         OH    43076‐9389
LYNDA S FREAR                                  4070 EAST LAKE RD                                                                                LIVONIA            NY    14487‐9650
LYNDA S KANKIEWICZ                             18 BAYBERRY CIRCLE                                                                               CAROLINA SHORES    NC    28467‐2524

LYNDA S KENDELL                                    11877 COBBLEBROOK                                                                            RNCHO CORDOVA      CA    95742
LYNDA S KENNEDY                                    436 BATES ST                                                                                 LOGANSPORT         IN    46947‐2519
LYNDA S KERSEY                                     1066 PINEHURST DR                                                                            PEACHTREE CTY      GA    30269
LYNDA S MORRISON                                   3127 TRAPPERS COVE #1A                                                                       LANSING            MI    48910‐8279
LYNDA S POSTON                                     1608 QUAIL LAKE DRIVE                                                                        WEST COLUMBIA      SC    29169‐3744
LYNDA S POSTON & RONALD M POSTON JT TEN            1608 QUAIL LAKE DRIVE                                                                        WEST COLUMBIA      SC    29169‐3744
LYNDA S VERITY                                     27 ALPINE ST #12                                                                             MALDEN             MA    02148‐3652
LYNDA SHAW                                         5478 COUNTRY ROSE CIR                                                                        GRAND BLANC        MI    48439‐9182
LYNDA SHAW CUST KYLE A FREDERICK UGMA MI           5478 COUNTRY ROSE CIR                                                                        GRAND BLANC        MI    48439‐9182
LYNDA SHAW CUST SHANNON A FREDERICK UGMA MI        5478 COUNTRY ROSE CIR                                                                        GRAND BLANC        MI    48439‐9182

LYNDA W RAILEY                                     643 LINKSIDE LN                                                                              ALVATON            KY    42122‐7807
LYNDA WISE                                         315 BONNER ST                                                                                MONTICELLO         GA    31064‐6505
LYNDALL BLAKE EX EST SANDRA KAY BLAKE              630 MINNESOTA SUITE 130                                                                      KANSAS CITY        KS    66101
LYNDALL E OTT & STEPHEN C COLLINS & REBECCA A      469 STEWART RD                                                                               THOMASVILLE        GA    31792‐0542
COLLINS JT TEN
LYNDALL M RANDOLPH                                 3217 N 300 E                                                                                 KOKOMO             IN    46901‐8355
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LYNDALL S SHEPHERD                                 4583 STAR RD                                                                                    GREENWICH      OH    44837‐9499
LYNDELL C STAHN                                    BOX 653                                                                                         ENNIS          MT    59729‐0653
LYNDELL PAXSON POE                                 7304 WALNUT ST                                                                                  KANSAS CITY    MO    64114‐1445
LYNDELLE H MILLS & STEVEN F MILLS JT TEN           1036 WESTBROOKE LANE                                                                            EASLEY         SC    29642‐9399
LYNDI J TROST CUST CONNOR D CHEEK UTMA AK          850 SMITH RD                                                                                    PALMER         AK    99645‐7505
LYNDI J TROST CUST JESSE L BLYTHE UTMA AK          850 N SMITH RD                                                                                  PALMER         AK    99645‐7505
LYNDI J TROST CUST LAWRENCE W BLYTHE III UTMA AK   850 N SMITH RD                                                                                  PALMER         AK    99645‐7505

LYNDIA MCLAMB CHANDLER                             C/O DAVID E CHANDLER                  6805 HARDSCRABBLE CT                                      WILMINGTON     NC    28409‐2698
LYNDLE M WRIGHT                                    PO BOX 732                                                                                      SLOCOMB        AL    36375‐0732
LYNDOL J ROGERS & JUDY L ROGER JT TEN              720 SECRETARIAT DRIVE                                                                           BOILING SPGS   SC    29316
LYNDON D HARTLE & LAURA D HARTLE JT TEN            411 GATEWAY                                                                                     WATERFORD      MI    48328‐3422
LYNDON F DYER                                      4181 MUSSER RD                                                                                  MANCELONA      MI    49659‐8632
LYNDON L CRONEN & GERENE CRONEN JT TEN             5180 GRAND ARBRE TRAIL                                                                          PORTAGE        MI    49024
LYNDSEY BAUER                                      2900 AUSTIN ROAD                                                                                CLINTON        NY    13323‐4502
LYNDSEY MARIE JOHNSON                              5150 OAK GROVE CIR                                                                              CUMMING        GA    30040‐1804
LYNDSEY NICOLE BOWLUS                              1013 LAPARC LN                                                                                  INDIAN TRAIL   NC    28079‐3109
LYNDSEY RAE BISHOP & DONALD O BISHOP JT TEN        68 GLENVIEW ST                                                                                  UPTON          MA    01568‐1318
LYNE S S HOFFMAN & MRS GLADYS C HOFFMAN TEN        PO BOX 482                                                                                      BELLEFONTE     PA    16823‐0482
ENT
LYNEE K PORTER                                     7111 RIVERWOOD ST                                                                               GERMANTOWN     TN    38138‐1925
LYNEL G PALERMO                                    3909 METAIRIE HEIGHTS                                                                           METAIRIE       LA    70002‐1828
LYNELLE TARCA CUST MATTHEW J TARCA UGMA CT         22 CEDERWOOD RD                                                                                 BERLIN         CT    06037‐1102

LYNELLE VANDERJAGT                                 1208 BOX ELDER CREEK ROAD                                                                       BILLINGS       MT    59101‐6591
LYNETT A CARR                                      413 E 147                                                                                       CLEVELAND      OH    44110‐1811
LYNETTA EGGLESTON                                  10133 GOLFSIDE DRIVE                                                                            GRAND BLANC    MI    48439‐9417
LYNETTA KAAKE                                      15265 CHARBONO ST                                                                               FISHERS        IN    46037‐7331
LYNETTE A EADY                                     5000 MOUNTAIN SPRINGS DR              APT 408                                                   ANTIOCH        TN    37013‐5770
LYNETTE A WELFORD                                  113 E ROUSE                                                                                     LANSING        MI    48910‐4003
LYNETTE A YOUNG                                    3795 WENTWORTH                                                                                  WYOMING        MI    49509‐3142
LYNETTE BONNANI                                    421 CRESSON AVENUE                                                                              ABSECON        NJ    08201‐9723
LYNETTE BROWN                                      613 GRACE STREET                                                                                FLINT          MI    48503‐5156
LYNETTE C MCCOY                                    1002 COUNTY RD 195                                                                              BLUE SPRINGS   MS    38828‐9121
LYNETTE C WILLIS                                   565 JOHN                                                                                        CARLISLE       OH    45005‐3308
LYNETTE E BAUER                                    5500 HOUSTON ROAD                                                                               HOUSTON        OH    45333‐9639
LYNETTE E FAGNAN                                   12908 BUFFALO RD                                                                                SPRINGVILLE    NY    14141
LYNETTE ESMACHER                                   19430 LEXINGTON                                                                                 REDFORD        MI    48240
LYNETTE G GROVES                                   10041 DANBURY DR                                                                                FRISCO         TX    75035‐7183
LYNETTE GAIL WILSON                                19944 STANSBURY                                                                                 DETROIT        MI    48235‐1563
LYNETTE HALL                                       813 E PIERSON RD                                                                                FLINT          MI    48505‐3558
LYNETTE HELLER GDN JONATHAN HELLER                 17 BURROUGHS RD                                                                                 LEXINGTON      MA    02420‐1907
LYNETTE J KIRK                                     4555 WILDWOOD ST                                                                                LAKE OSWEGO    OR    97035‐5443
LYNETTE J MAY                                      6280 ATTICA RD                                                                                  IMLAY CITY     MI    48444‐9638
LYNETTE J MESSER                                   3525 E TUPPER LAKE                                                                              LAKE ODESSA    MI    48849‐9530
LYNETTE J WEGNER & ALLEN W WEGNER JT TEN           1211 PRINCETON AVE                                                                              BILLINGS       MT    59102‐1716
LYNETTE K BRESSON                                  5830 CELERY ST                                                                                  KALAMAZOO      MI    49048‐3532
LYNETTE K HOFFMAN                                  110 BOTERO DRIVE                                                                                DOWNINGTOWN    PA    19335
LYNETTE L LOCKARD                                  601 BLUEBELL DR                                                                                 LANSING        MI    48911‐3730
LYNETTE M BACHAND                                  3568 SOUTH 14TH STREET                                                                          MILWAUKEE      WI    53221‐1640
LYNETTE M LOZON                                    3027 COOLIDGE                                                                                   CONKLIN        MI    49403‐9510
LYNETTE MARIE DURHAM                               5625 COOLEY LAKE RD                                                                             WATERFORD      MI    48327‐3016
LYNETTE P MULLER                                   21804 WINGFOOT CT                                                                               BROADLANDS     VA    20148‐4503
LYNETTE S JONES                                    25 KIWI DR                                                                                      GROVE HILL     AL    36451‐5075
LYNETTE S OWENS                                    1847 SPRUCE KNOB DR                                                                             KINGWOOD       TX    77339‐2359
LYNLEY P WHELAN                                    BOX 1562                                                                                        SAG HARBOR     NY    11963‐0058
LYNMARIE RAE STOREY                                140 RIVERBEND DR                                                                                MACON          GA    31211‐6512
LYNN A ACKER                                       16681 TRUWOOD                                                                                   WOODHAVEN      MI    48183‐1670
LYNN A ADAMS                                       1317 WESTPORT DR                      LANSING                                                   YPSILANTI      MI    48197
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LYNN A BATES                                      11300 CINNAMON TEAL DR                                                                         SPOTSYLVIA         VA    22553
LYNN A BEEBE                                      4105 PERROWVILLE ROAD                                                                          FOREST             VA    24551‐3317
LYNN A BELFORD                                    4676 KEDRON RD                                                                                 SPRING HILL        TN    37174‐2252
LYNN A BERENT & DOUGLAS A BERENT JT TEN           2501 NE 3RD AVE                                                                                POMPANO BEACH      FL    33064‐3844
LYNN A BICKEL                                     6754 ERRICK RD                                                                                 N TONAWANDA        NY    14120‐1106
LYNN A CARTER                                     3715 HAINES RD                                                                                 ATTICA             MI    48412‐9306
LYNN A DE ANDA                                    10003 GILLETTE                                                                                 LENEXA             KS    66215‐1736
LYNN A DIEVENDORF & MRS SALLIE D DIEVENDORF JT    2709 WINGFIELD CLOSE                                                                           WILLIAMSBURG       VA    23185‐7518
TEN
LYNN A DORTCH                                     11235 E COLDWATER RD                                                                           DAVISON            MI    48423‐8509
LYNN A DOWDELL                                    6650 MT HOLLY DR                                                                               SAN JOSE           CA    95120
LYNN A FARMER                                     5037 W ST RD 38                                                                                NEW CASTLE         IN    47362‐8924
LYNN A FIGORE                                     30414 HICKORY DRIVE                                                                            FLAT ROCK          MI    48134‐1680
LYNN A FULLER                                     272 N MAIN ST                                                                                  CARSONVILLE        MI    48419‐9480
LYNN A GEORGE                                     3232 COLUMBIA RD                                                                               MEDINA             OH    44256‐9410
LYNN A HARDCASTLE                                 801 EMERSON ST                       FLAT #2                                                   DENVER             CO    80218‐3220
LYNN A HAWORTH                                    7025 KINSEY RD                                                                                 ENGLEWOOD          OH    45322‐2626
LYNN A HENSEL                                     25 BERRYWOOD DR                                                                                BELLEVILLE         IL    62226‐4803
LYNN A HUGHES                                     2267 WILLONA DR                                                                                EUGENE             OR    97408‐4774
LYNN A HULBER                                     5295 E ATHERTON ROAD                                                                           BURTON             MI    48519‐1529
LYNN A HUPP                                       12422 BROOKS CROSSING                                                                          FISHERS            IN    46038‐9546
LYNN A KELLEY                                     2821 N ROLLING HILLS DRIVE                                                                     YORKTOWN           IN    47396‐9272
LYNN A KRAMER                                     201 BEACH DR                         APT 3                                                     CAPE MAY           NJ    08204‐5338
LYNN A KRAPEK                                     PO BOX 86122                                                                                   TUCSON             AZ    85754‐6122
LYNN A KUEPPERS & MRS BETTY KUEPPERS JT TEN       45810 DUTTON DR                                                                                MACOMB             MI    48044‐4089
LYNN A LICHT                                      14715 ROSE CT                                                                                  WARREN             MI    48093‐3321
LYNN A LUZADDR                                    629 LAKEVIEW ST                                                                                ORLANDO            FL    32804‐6854
LYNN A MENDOZA                                    852 PECONIC ST                                                                                 RONKONKOMA         NY    11779‐6640
LYNN A MILLER                                     37678 LARAMIE                                                                                  WESTLAND           MI    48185‐5653
LYNN A MOLENKAMP                                  1777 GENTIAN                                                                                   KENTWOOD           MI    49508‐6405
LYNN A OBELCZ                                     ATTN LYNN A ASPEGREN                 555 RAMBLETON DR                                          VACAVILLE          CA    95688‐9225
LYNN A PIERRE                                     135 HOYT ST                                                                                    LAKEWOOD           CO    80226‐1072
LYNN A PURCELL                                    3502 GREENWOOD LANE                                                                            ST CHARLES         IL    60175‐5659
LYNN A ROHRKEMPER                                 13550 TERRA SANTA DR                                                                           STERLING HEIGHTS   MI    48312‐4167

LYNN A ROLLERSON                                  110 AVONDALE AVE                                                                               JACKSON            MI    49203
LYNN A RUDD                                       1612 HARTSVILLE PIKE                                                                           GALLATIN           TN    37066
LYNN A SAMSEL & JASON M SAMSEL JT TEN             3421 GREGORY ST                                                                                LINCOLN            NE    68521‐2796
LYNN A SHANER                                     26235 WOODED HOLLOW LN                                                                         KATY               TX    77494‐5012
LYNN A SHARKEY                                    3 JARRELL FARMS DR                                                                             NEWARK             DE    19711‐3060
LYNN A SPALLA TR UA 10/26/93 THE LYNN A SPALLA    14893 RIVERSIDE DRIVE                                                                          LIVONIA            MI    48154‐5185
TRUST
LYNN A STRONG                                     957 FAIRWAY TRAILS                                                                             BRIGHTON           MI    48116
LYNN A SUMERIX                                    11144 E COLUMBIA RD                                                                            EATON RAPIDS       MI    48827‐9214
LYNN A TREACY                                     2621 LONGFELLOW DR                                                                             WILMINGTON         DE    19808‐3733
LYNN A TURNER                                     2257 MIDVALE DRIVE                                                                             KETTERING          OH    45420‐3525
LYNN A WEEKS                                      2451 REGENCY LAKES COURT                                                                       WICHITA            KS    67226‐4509
LYNN A WENTWORTH                                  9660 FRENCHTOWN ROAD                                                                           GUYS MILLS         PA    16327‐4114
LYNN A YOTHERS                                    6008 OXPEN CT                        APT 202                                                   ALEXANDRIA         VA    22315‐4771
LYNN ALICE FULTON                                 57 BAY ST                                                                                      HULL               MA    02045‐2839
LYNN ANN JUBELT                                   8847 PUTTYGUT RD                                                                               CASCO              MI    48064‐1916
LYNN ANN SAPP                                     10531 GOLF ROAD                                                                                ORLAND PARK        IL    60462‐7422
LYNN ANN SCHULTZ                                  16 APPLETREE COURT                   #5                                                        CHEEKTOWAGA        NY    14227‐1458
LYNN ANN SHANNON‐HUTCHINS CUST MATTHEW            1507 DUBLIN DRIVE                                                                              SILVER SPRING      MD    20902
SHANNON HUTCHINS UGMA MA
LYNN ANN SHARKEY CUST ROBERT J SHARKEY JR UNDER   3 JARRELL FARMS DR                                                                             NEWARK             DE    19711‐3060
DE U‐T‐M‐A
LYNN ANN STEPANIAK                                9382 SUNSET LAKE DR                                                                            SALINE             MI    48176‐9460
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LYNN ANN UBBEN TR UA 11/12/2007 LYNN ANN UBBEN     2621 SOUTH 63RD ST                                                                            KANSAS CITY     KS    66106
REV TRUST
LYNN ANNE KEITH                                    1015 OAK ST                         UNIT 26                                                   SILVERTON       OR    97381‐1764
LYNN ANNE SCHREIBER                                22962 MAPLE RIDGE #208                                                                        NORTH OLMSTED   OH    44070‐1445
LYNN ARMSTRONG                                     102 CONVENT AVE                                                                               NEW YORK        NY    10027‐7509
LYNN B PRASHAW                                     38 LINCOLN ST                                                                                 HUDSON          MA    01749‐1648
LYNN B PYLE                                        543 MARTINS GROVE RD                                                                          DAHLONEGA       GA    30533
LYNN BACCO‐LAIRD                                   5 CLEARVIEW DRIVE                                                                             PITTSBURGH      PA    15205
LYNN BAKER                                         10153 BRIAR CIRCLE                                                                            HUDSON          FL    34667
LYNN BECKMAN                                       W6006 COUNTY HIGHWAY P                                                                        MONROE          WI    53566
LYNN BETH EBERHARDT                                203 SALEM RD                                                                                  POUND RIDGE     NY    10576‐1326
LYNN BILOZUR                                       57 LAUREL RD                                                                                  LINDENHURST     NY    11757‐1307
LYNN BLATT JORDAN                                  PO BOX 734                                                                                    RODANTHE        NC    27968
LYNN BURNHAM WRIGHT                                6217 DRAW LN                                                                                  SARASOTA        FL    34238‐5135
LYNN C ANDERSON                                    298 BLUE BEARD DR                                                                             N FT MYERS      FL    33917‐2915
LYNN C CHASE                                       505 N LINCOLN ST                                                                              DURAND          MI    48429‐1106
LYNN C CONNER                                      1629 DEMASTUS RD                                                                              COLUMBIA        TN    38401‐8159
LYNN C CONWAY                                      23523 STONEHENGE BLVD                                                                         NOVI            MI    48375‐3774
LYNN C DE GENNARO                                  803 SAVAGE RD                                                                                 CHURCHVILLE     NY    14428‐9719
LYNN C DOHERTY                                     C/O LYNN C WHELIHAN                 7075 PARKARMS CT                                          VILLA RICA      GA    30180‐3964
LYNN C EMERSON                                     2660 CLARK AVE # 112                                                                          NORCO           CA    91760‐3810
LYNN C EWALD TR LYLE C EWALD REV TRUST UA          PO BOX 155                                                                                    WALDORF         MN    56091‐0155
12/23/98
LYNN C FRANKO CUST MATTHEW C FRANKO UGMA MI        635 ATHLETIC ST                                                                               VASSAR          MI    48768‐1106

LYNN C FRANKO CUST MEGAN C FRANKO UMUGMA           635 ATHLETIC STREET                                                                           VASSAR          MI    48768‐1106
UGMA MI
LYNN C MILLIMAN                                    953 WHALEN RD                                                                                 PENFIELD        NY    14526
LYNN C SHURTLEFF                                   124 FORGOTTEN LN                                                                              HAMPTON         TN    37658‐3673
LYNN C SPIOTTI                                     39 RUNNING BROOK LANE                                                                         ROCHESTER       NY    14626‐1967
LYNN C THRASH                                      939 BRUCE AVE                                                                                 CLEARWATER      FL    33767‐1118
                                                                                                                                                 BEACH
LYNN CAMERON                                       ATTN LIANE CAMERON                  1625 WOODMORE DR                                          SPRINGFIELD     IL    62711‐7293
LYNN CAMP                                          3846 LENNA DR                                                                                 SNELLVILLE      GA    30039‐5110
LYNN CARLSON & JANINE R O CARLSON JT TEN           34522 N SCOTTSDALE ROAD                                                                       SCOTTSDALE      AZ    85262‐4284
LYNN CATHERINE CLOSWAY                             35825 NORTH 61ST ST                                                                           CAVE CREEK      AZ    85331‐9111
LYNN CLOAN REDICK                                  131 PARK STREET                                                                               SAN FRANCISCO   CA    94110‐5835
LYNN COLEMAN                                       52 DANIELLE CT                                                                                LAWRENCEVILLE   NJ    08648‐1451
LYNN CORNIEA                                       2048 VIRGINIA AVE S                                                                           ST LOUIS PARK   MN    55426‐2404
LYNN CORNIEA & SHARON A CORNIEA JT TEN             2048 VIRGINIA AVE S                                                                           ST LOUIS PARK   MN    55426‐2404
LYNN COUGHANOUR                                    PO BOX 27                                                                                     DAVISBURG       MI    48350‐0027
LYNN CREIGH BEALE                                  11684 ANDRIENNE                                                                               EL PASO         TX    79936‐6915
LYNN D ABERNETHY & MARY R A CARTER JT TEN          101 EAST PRESIDENT AVE                                                                        GREENWOOD       MS    38930‐3513
LYNN D ABERNETHY SR & LYNN D ABERNETHY JR JT TEN   1399 OLD JONES RD                                                                             ALPHARETTA      GA    30004‐2369

LYNN D BARTLETT & ZENOBIA I BARTLETT JT TEN        28990 CARMEL DR                                                                               SOUTHFIELD      MI    48076‐5505
LYNN D BEDNARZ                                     W156N10121 PAWNEE CT                                                                          GERMANTOWN      WI    53022‐4838
LYNN D BOYNTON                                     6409 N DENNIS RD                                                                              LUDINGTON       MI    49431‐9558
LYNN D BRADFIELD                                   1742 CASTLEVIEW                                                                               GLADWIN         MI    48624‐8636
LYNN D CALDWELL                                    19445 MCINTYER                                                                                DETROIT         MI    48219‐1832
LYNN D MACDONALD                                   3052 SOUTH DUFFIELD ROAD                                                                      LANNON          MI    48449‐9407
LYNN D MARKEL TR LYNN D MARKEL TRUST UA 5/8/01     5400 MEISNER RD                                                                               CHINA           MI    48054‐3412

LYNN D NICHOLSON                                   17700 BRAD LANE                                                                               THREE RIVERS    MI    49093
LYNN D ROLLET                                      28664 FERNWOOD                                                                                INKSTER         MI    48141‐3300
LYNN D RYCKMAN                                     1201 NOTTINGHAM                                                                               GROSSE POINTE   MI    48230‐1025
                                                                                                                                                 PARK
LYNN D SHERMAN                                     2401 PINE LAKE DR                                                                             W COLUMBIA      SC    29169‐3737
LYNN D STEPHENSON                                  974 DIXON RD                                                                                  WILLOW SPRING   NC    27592‐8169
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LYNN D WISEMAN                                  ATTN LYNN WISEMAN HUNTE               72 HASKINS LANE NORTH                                     HILTON            NY    14468‐8980
LYNN DAY THORPE                                 PO BOX 64                                                                                       EGGLESTON         VA    24086‐0064
LYNN DO KIDD                                    10545 LANGE RD                                                                                  BIRCH RUN         MI    48415‐9797
LYNN DURRELL KARIDIS                            69 UNDERHILL ROAD                                                                               OSSINING          NY    10562‐5103
LYNN E AYRE                                     11073 N CENTER RD                                                                               CLIO              MI    48420‐9705
LYNN E CIDILA                                   359 SUNSET BLVD                                                                                 HERMITAGE         PA    16148‐3563
LYNN E CRAWFORD                                 475 BONNIE BRIAR ST                                                                             BIRMINGHAM        MI    48009‐1353
LYNN E CREPEAU                                  2625 N E 27 WAY                                                                                 FT LAUDERDALE     FL    33306
LYNN E DENNIS CUST SHANNON B DENNIS UTMA OK     1009 SAINT CECIL                                                                                MOORE             OK    73160‐2508

LYNN E ELGES                                    8708 SKEGEMOG POINT RD                                                                          WILLIAMSBURG      MI    49690
LYNN E HOUCK & NANCY E HOUCK JT TEN             1717 E GRAND LEDGE HWY                                                                          GRAND LEDGE       MI    48837‐9736
LYNN E MAILLARD                                 316 BRUNSWICK DR                                                                                HURON             OH    44839‐1552
LYNN E NEWMAN TR LYNN E NEWMAN TRUST UA         600 VALLEY SPRING RD                                                                            BLOOMFIELD TWP    MI    48301‐2841
07/19/95
LYNN E PERRIN                                   11572 CENTRAL NE                                                                                KALKASKA          MI    49646‐8573
LYNN E POLK                                     1738 RADCLIFFE RD                                                                               DAYTON            OH    45406‐4919
LYNN E THOMPSON                                 #6 AMBER JACK CT                                                                                BALLWIN           MO    63011
LYNN E UNKART                                   1010 POWDER RIVER DR                                                                            KATY              TX    77450‐3713
LYNN E WEBER                                    18670 BROKKENBERY CT                                                                            MONUMENT          CO    80132‐9408
LYNN E WINDHAM                                  290 TIMBERWOOD DR                                                                               SMITHS GROVE      KY    42171‐8244
LYNN ELIZABETH CADY                             4079 GRANDVIEW TER SW                                                                           GRANDVILLE        MI    49418‐2497
LYNN EMBURY CUST CARL M EMBURY UGMA NY          16 LIBERTY ST                                                                                   PERRY             NY    14530‐1005
LYNN EMBURY CUST JANICE L EMBURY UGMA NY        16 LIBERTY ST                                                                                   PERRY             NY    14530‐1005
LYNN EUGENE PAUL & SUE CAROL PAUL TEN ENT       96 ALBERT DR                                                                                    PARLIN            NJ    08859‐1832
LYNN F BROOKS                                   1 BEAVERDAM LOOP DR                                                                             CANDLER           NC    28715‐9278
LYNN F CRAIG & MICHAEL R CRAIG JT TEN           4411 BUTTERMILK COURT                                                                           NAPERVILLE        IL    60564
LYNN F FOSTER                                   6859 ROSEBUD WAY                                                                                DAYTON            OH    45415‐1531
LYNN F GROGAN                                   17554 RIVER RD                                                                                  LEAVENWORTH       WA    98826‐9259
LYNN F RYDER                                    7788 LAMPLEY RD                                                                                 PRIMM SPRINGS     TN    38476‐9629
LYNN F SILER                                    117 NORTH FENMORE ROAD                                                                          MERRILL           MI    48637‐9659
LYNN F SILER & FRANCES K SILER JT TEN           117 N FENMORE                                                                                   MERRILL           MI    48637‐9659
LYNN FRACALOSSI TOD RAYMOND L FRACALOSSI        7905 EXETER RD.                                                                                 MONROE            MI    48162
SUBJECT TO STA TOD RULES
LYNN G CRANMER                                  511 E SAN YSIDRO BLVD                 J‐201                                                     SAN YSIDRO        CA    92173
LYNN G CRANMER & LYNN M CRANMER JT TEN          511 E SAN YSIDRO BLVD                 J‐201                                                     SAN YSIDRO        CA    92173
LYNN G PIHAJLIC                                 635 CASEMER                                                                                     LAKE ORION        MI    48360‐1314
LYNN G SHEARER                                  PO BOX 1251                                                                                     JOHNSTOWN         PA    15907
LYNN G WEEKLEY                                  5571 PALMYRA AVE                                                                                NEWTON FALLS      OH    44444‐9448
LYNN GAFFNEY                                    38 GEORGIA DR                                                                                   WAYNE             NJ    07470‐3852
LYNN GOLDSWORTHY                                20 SILVERCREST CRT                    THOROLD ON                              L2V 4Z9 CANADA
LYNN GRABLE                                     1384 ASHLAND LN                                                                                 WILMETTE          IL    60091‐1610
LYNN H JENKINS & JAMES L JENKINS JT TEN         PO BOX 256                                                                                      POPE VALLEY       CA    94567‐0256
LYNN H JOHNSEN                                  1480 DEPALMA DR                                                                                 SAN JOSE          CA    95120
LYNN H JOHNSON                                  290 HEBERTON AVE                                                                                STATEN ISLAND     NY    10302‐1808
LYNN H LITTLE                                   12805 CATHEDRAL AV                                                                              HAGERSTOWN        MD    21742‐2904
LYNN H MELLAS CUST MARINA LYNN MELLAS UTMA NY   575 DRAKE ROAD                                                                                  HAMLIN            NY    14464‐9524

LYNN H MELLAS CUST MICHAEL JOHN MELLAS UTMA NY 575 DRAKE ROAD                                                                                   HAMLIN            NY    14464‐9524

LYNN H PETTY                                    6579 MEREDITH GRAD RD                                                                           HARRISON          MI    48625‐9665
LYNN H STEPHENS                                 12244 FOREST HILL RD                                                                            DEWITT            MI    48820‐7830
LYNN HAEBERLE                                   13 EAST DRIVE                                                                                   WOODBURY          NY    11797‐2102
LYNN HALLER                                     11756 HESBY ST                                                                                  VALLEY VILLAGE    CA    91607‐3209
LYNN HANDY CUST KACIE LYNN HANDY UTMA NY        15 NORTH BLVD                                                                                   GLOVERSVILLE      NY    12078‐1710
LYNN HARRISON                                   4 PAUL REVERE RD                                                                                WORCESTER         MA    01609
LYNN HERMAN RODD CUST RANDALL NATHAN RODD       4552 PROSPECT STREET                                                                            WEST BLOOMFIELD   MI    48324‐1274
UGMA
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LYNN HERMANN RODD CUST RYAN J RODD UGMA MI    4552 PROSPECT ST                                                                             WEST BLOOMFIELD MI       48324‐1274

LYNN HODGES                                   1244 THOMAS ST SE                                                                            GRAND RAPIDS       MI    49506‐2650
LYNN HODSON & COLLEEN HODSON JT TEN           PO BOX 13482                                                                                 PALM DESERT        CA    92255‐3482
LYNN HOLLOPETER                               985 N BROOKSIDE DRIVE                                                                        LEWISTON           NY    14092‐2209
LYNN HOLST & A R BURBANK JT TEN               NBR 1                              760 N MAIN                                                BRIGHAM CITY       UT    84302‐1411
LYNN HORWITZ                                  11911 HARMON LN                                                                              PINEVILLE          NC    28134‐9239
LYNN HOWELL                                   9934 HARBOR PINES COURT                                                                      INDIANAPOLIS       IN    46256‐9761
LYNN HUFFMAN                                  C/O MRS LYNN ROBERTS               ROUTE #1                                                  DRAKESVILLE        IA    52552‐9801
LYNN IVEY GUMMELSMAN                          3718 E DONA CT                                                                               CARMEL             IN    46033‐4430
LYNN J DERRICK                                2138 CHAPEL HILL ROAD SW                                                                     DECATUR            AL    35603‐4002
LYNN J FARNWORTH                              1180 TEARE RD                                                                                MOSCOW             ID    83843‐7448
LYNN J LADICK                                 16932 RIVERSIDE DR                                                                           TINLEY PARK        IL    60477‐2868
LYNN J LAKE                                   4830 SALEM AVE                                                                               DAYTON             OH    45416‐1716
LYNN J NELSON                                 504 LEXINGTON BLVD                                                                           FORT ATKINSON      WI    53538‐1396
LYNN J NEWBOUND                               25240 AUSTIN DR                                                                              NEW BOSTON         MI    48164‐8908
LYNN J SHORES                                 5807 AUTUMN GATE DR                                                                          OAK RIDGE          NC    27310‐8302
LYNN JUDD                                     694 INDIANA                                                                                  HOWELL             MI    48843‐1748
LYNN K CORDER                                 14 PINE AVE                                                                                  ALBION             PA    16401‐1016
LYNN K ROWE                                   56 WOODCREST CIR                                                                             MILTONBORO         VT    05468‐3703
LYNN K WILLIAMS                               13 VALLEYVIEW VILLAGE DR                                                                     SWEETWATER         TN    37874
LYNN KLOSS REED                               4262 TUCKANOE                                                                                MEMPHIS            TN    38117‐3000
LYNN KOLKMEYER                                11157 MEDIAN ST                                                                              BOCA RATON         FL    33428‐3921
LYNN KOPECKI CUST TYLER D KOPECKI UTMA FL     425 BAYSHORE DR APT 16                                                                       FORL LAUDERDALE    FL    33304‐4223

LYNN KUDA                                     60 CLARENDON ST APT 2                                                                        MALDEN             MA    02148
LYNN KURTZ & JAMES L KURTZ JT TEN             250 W 94TH ST 12K‐W                                                                          NEW YORK           NY    10025‐6954
LYNN L BOURNE                                 6124 LAKESIDE DR                                                                             GUTHRIE            OK    73044‐6721
LYNN L COSENTINE                              PO BOX 264                                                                                   PRT WASHINGTN      WI    53074‐0264
LYNN L MARCUM                                 1409 BRENFORD RD                                                                             DOVER              DE    19904‐1025
LYNN L PLOSS                                  32765 N RIVER RD                                                                             HARRISON TWP       MI    48045‐1489
LYNN L ROOT                                   13308 TRAPPERS CROSSING                                                                      GOSHEN             KY    40026‐9532
LYNN L WEBB                                   76 HILLCREST DR                                                                              SPRINGBORO         OH    45066‐8587
LYNN LANEE HOZAK                              5401 HIBBARD RD                                                                              CORUNNA            MI    48817‐9511
LYNN LEE WEBER                                1729 W YOUNGS DITCH RD             APT 3                                                     BAY CITY           MI    48708‐9217
LYNN M ANDERSON                               C/O COLLINS                        326 TERNWING DRIVE                                        ARNOLD             MD    21012‐1936
LYNN M ASELTINE                               700 AUTUMN TREE PLACE                                                                        WESTERVILLE        OH    43081‐3114
LYNN M ASHLEY                                 5181 N FOX RD                                                                                SANFORD            MI    48657‐9114
LYNN M BACHAND                                1005 VALLEY HEIGHTS DR                                                                       SIOUX RAPIDS       IA    50585‐7751
LYNN M BANDT                                  2819 MANCHESTER DR                                                                           JANESVILLE         WI    53545‐0627
LYNN M BATES & DAWN V POSNER JT TEN           2112 THOMAS                                                                                  BERKLEY            MI    48072‐3236
LYNN M BELANGER                               18530 INDIAN                                                                                 REDFORD            MI    48240
LYNN M BENCOWITZ                              2495 BROADWAY                                                                                BEAUMONT           TX    77702‐1903
LYNN M BLAKEY                                 2759 GRAVEL CREEK RD                                                                         NORTH BRANCH       MI    48461‐9751
LYNN M COONEY                                 10 MISTY MEADOW WA                                                                           FAIRPORT           NY    14450‐9578
LYNN M CRANMER                                PO BOX 26399                                                                                 SANTA ANA          CA    92799‐6399
LYNN M CRANMER & JOY CANFIELD JT TEN          PO BOX 26399                                                                                 SANTA ANA          CA    92799‐6399
LYNN M CZEKAJ                                 6400 STONE CREEK MEADOWS COURT                                                               FORT WORTH         TX    76137‐1934
LYNN M ERICKSON                               38263 TOTTENHAM                                                                              STERLING HEIGHTS   MI    48312‐1280

LYNN M FLANERY                                20494 GATES RD                                                                               HOWARD CITY        MI    49329
LYNN M GORALSKI & MARK W GORALSKI JT TEN      5030 CAMEO TER                                                                               PERRY HALL         MD    21128‐8933
LYNN M HANN                                   820 DOCKBRIDGE WAY                                                                           ALPHARETTA         GA    30004‐3783
LYNN M HARPER                                 1804 ROWLAND                                                                                 ROYAL OAK          MI    48067‐4702
LYNN M HONSBERGER                             8400 COUNTY RD                                                                               EAST AMHERST       NY    14051‐2304
LYNN M JACOBS                                 1724 2ND AVE                       APT B                                                     TUSCALOOSA         AL    35401‐3506
LYNN M JANECZEK                               1335 NO TEJON ST                                                                             COLORADO SPGS      CO    80903
LYNN M JORDAN CUST ALYSSA M JORDON UTMA PA    1350 JEFFERSON ST                                                                            LEHIGHTON          PA    18235‐9228
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LYNN M KOVALCHECK & RONALD M KOVALCHECK JT TEN 7 PRESCOTT DRIVE                                                                                  HUDSON          OH    44236‐2125

LYNN M LANKENAU CUST JACOB S LANKENAU UTMA CA 39976 AMBERLEY CIRCLE                                                                              TEMECULA        CA    92591‐7008

LYNN M LANKENAU CUST JAMIE L LANKENAU UTMA CA 39976 AMBERLEY CIRCLE                                                                              TEMECULA        CA    92591‐7008

LYNN M LANKENAU CUST JESSICA M LANKENAU UTMA     39976 AMBERLEY CIRCLE                                                                           TEMECULA        CA    92591‐7008
CA
LYNN M LEWIS                                     6465 N US 23                                                                                    SPRUCE          MI    48762‐9566
LYNN M LUNKES                                    2406 FOREST PARK DR                                                                             DYER            IN    46311‐2109
LYNN M MACHNAK                                   3898 S LAKE DR                                                                                  BEAVERTON       MI    48612‐8719
LYNN M MAIZLAND                                  2601 MILLCREST CT                                                                               LAKE ORION      MI    48360‐1616
LYNN M MOLASKI                                   13485 N IRISH RD                                                                                MILLINGTON      MI    48746‐9222
LYNN M NIZIOL                                    1802 SABINE DR                                                                                  MIDLOTHIAN      TX    76065‐3827
LYNN M PAULLIN                                   1316 IDA                                                                                        FLINT           MI    48503‐3526
LYNN M PERIGARD                                  424 CHATOOGA LN                                                                                 WOODSTOCK       GA    30188‐3314
LYNN M SHUMAKER                                  707 W 4TH ST                                                                                    MONROE          MI    48161‐2409
LYNN M SILVERMAN                                 13 LONGLEDGE DR                                                                                 RYE BROOK       NY    10573‐1943
LYNN M STURGESS & RANDELL H STURGESS JT TEN      4440 WESTWAY                                                                                    SWARTZ CREEK    MI    48473‐8228

LYNN M TUCKER                                    2636 REDMAN RD                                                                                  BROCKPORT       NY    14420‐9636
LYNN M ZAGEL                                     8159 N JOSEPH AVE                                                                               MILWAUKEE       WI    53224‐2613
LYNN MARIE BECHTEL                               7056 NOTTINGHAM                                                                                 WEST BLOOMFIELD MI    48322‐2900

LYNN MARIE FASCIANO AMPULA                      15052 DANEHURST CIRCLE                                                                           GAINESVILLE     VA    20155‐4443
LYNN MARIE GALICKI TOD JANICE ANN MAYER SUBJECT 5890 WALLINGS RD                                                                                 N ROYALTON      OH    44133
TO STA TOD RULES
LYNN MARIE HERMANN                              4552 PROSPECT                                                                                    WEST BLOOMFIELD MI    48324‐1274

LYNN MARIE KRYGIELL                              5 MANZANITA                                                                                     LITTLETON       CO    80127‐5725
LYNN MARIE KYLE                                  10471 FERGUSON RD                                                                               CLOVIS          CA    93611‐9635
LYNN MARIE RODD                                  4552 PROSPECT                                                                                   WEST BLOOMFIELD MI    48324‐1274

LYNN MARIE ROSS                                  33439 11TH PL SW                                                                                FEDERAL WAY     WA    98023‐5309
LYNN MARIE SCHMAUS CUST MARK DOUGLAS             19 VISTA COURT                                                                                  KINGSVILLE      MD    21087
EICHENLAUB UTMA MD
LYNN MERRILL                                     10919 S 85 E                                                                                    SANDY           UT    84070
LYNN MEYER DAVIS                                 123 15TH ST SW                                                                                  ALBUQUERQUE     NM    87104‐1155
LYNN MEYERS                                      4155 TIPP‐COWELSVILLE RD                                                                        TIPP CITY       OH    45371‐3040
LYNN MEYERS                                      2 ANN ST APT N120                                                                               CLIFTON         NJ    07013‐2173
LYNN MORRIS                                      306 MAIN ST                           APT 402                                                   RIDGEFIELD PK   NJ    07660‐1261
LYNN N JASMER                                    1030 N GREENWOOD AVE                                                                            PARK RIDGE      IL    60068‐2000
LYNN P CARBALLO                                  3865 EDINBURGH DR                                                                               YOUNGSTOWN      OH    44511‐1127
LYNN P CLIFFORD CUST MICHELLE CLIFFORD UGMA NY   237 ROCKWAY DRIVE                                                                               ROCHESTER       NY    14612‐1611

LYNN P CLIFFORD CUST SHERRY CLIFFORD UGMA NY     237 ROCKWAY DRIVE                                                                               ROCHESTER       NY    14612‐1611

LYNN P DEIBERT TOD ROBIN L DEIBERT SUBJECT TO STA 9029 JORAN RD                                                                                  FAIRPLAY        MD    21733
TOD RULES
LYNN P FAIVRE III                                 9834 WILLOW APT 1A                                                                             KANSAS CITY     MO    64134‐2442
LYNN P FLAHERTY                                   3 NORTH CT                                                                                     PORT WASHINGTON NY    11050‐3401

LYNN P GRAF CUST JACQUELINE A GRAF UTMA NY       45 THIMBLE LN                                                                                   HICKSVILLE      NY    11801‐6238
LYNN P MORRISON                                  64 NORWOOD AVE                                                                                  BUFFALO         NY    14222‐2104
LYNN P SHELL CUST ALYSSA MARIE SHELL UGMA NY     12 TYSON LN                                                                                     PRINCETON       NJ    08540‐4142

LYNN P SHIVERS                                   27349 SELKIRK                                                                                   SOUTHFIELD      MI    48076‐3622
LYNN P ZAMBRANA                                  3406 NOTTINGHAM WAY                                                                             HAMILTON SQUARE NJ    08690‐2606
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LYNN PERIGARD CUST MICHAEL PERIGARD UTMA GA        424 CHATOOGA LN                                                                                  WOODSTOCK           GA    30188‐3314

LYNN POSBERGH                                      4800 HIGHLAND WAY                                                                                CENTER VALLEY       PA    18034‐9682
LYNN QUAGLIAROLI                                   276 ELM ST                                                                                       WINDSOR LOCKS       CT    06096‐2238
LYNN R BLAKE O'RILEY & JOHN G O'RILEY JT TEN       87 MONTAGUE ST                                                                                   TURNERS FALLS       MA    01376‐2425
LYNN R BUNN                                        5 TRAVIS CT                                                                                      JAMESBURG           NJ    08831‐1629
LYNN R CARPENTER                                   2280 OLIBET CHURCH RD                                                                            PADUCAH             KY    42001
LYNN R CHRISTENSEN & AYLENE H CHRISTENSEN JT TEN   330 S CHRISMAN DR                                                                                SALEM               UT    84653‐9542

LYNN R COLE                                        11455 WILSON RD                        PO BOX 3175                                               MONTROSE            MI    48457‐0875
LYNN R COY                                         PO BOX 1549                                                                                      NORTH WALES         PA    19454‐0549
LYNN R DORAN                                       851 N HIGHLAND AV                                                                                GIRARD              OH    44420‐2023
LYNN R HARRIS                                      563 BAY ST                                                                                       PONTIAC             MI    48342‐1916
LYNN R KOVATS                                      3593 CAMINITO CARMEL LANDING                                                                     SAN DIEGO           CA    92130‐2506
LYNN R KUESSNER                                    710 S LINCOLN ST                                                                                 HINSDALE            IL    60521‐4429
LYNN R LILLY CUST MARY KATE LILLY UTMA NC          495 SOUTH STRAND DRIVE                                                                           NORWOOD             NC    28128
LYNN R NICHOLS & SHERRIE NICHOLS JT TEN            2308 E FLINT HILLS NATIONAL PKWY                                                                 ANDOVER             KS    67002‐7951
LYNN R SHERMAN                                     202 VERMILION ST                                                                                 GEORGETOWN          IL    61846‐1626
LYNN R SIEWERT & JACQUELINE C SIEWERT JT TEN       12213 NW 24TH AVE                                                                                VANCOUVER           WA    98685‐2023
LYNN R SPEAR                                       409 C NORTHGATE                                                                                  GOLETA              CA    93117‐1119
LYNN R SPUHLER & HELEN L SPUHLER JT TEN            450 N WESTWOOD                                                                                   MESA                AZ    85201‐5526
LYNN R STANISH                                     ATTN LYNN R ARTES                      20862 NORTH MILES                                         CLINTON TWSP        MI    48036‐1942
LYNN REILANDER                                     2067 NORTHBROOK DR                     SIDNEY ON                               V8L 3J4 CANADA
LYNN ROBINSON                                      PO BOX 33272                                                                                     TACOMA           WA       98433‐0272
LYNN ROTH                                          18636 COUNTY ROAD D                                                                              WAUSEON          OH       43567‐9473
LYNN ROWELL                                        PO BOX 2043                                                                                      PERTHAMBOY       NJ       08861
LYNN RUSSELL CUST BRANDON RUSSELL UTMA NY          513 CREEK RD                                                                                     PLEASANT VALLEY NY        12569‐7166
LYNN RUTH ARTES                                    20862 N MILES ST                                                                                 CLINTON TOWNSHIP MI       48036‐1942

LYNN S LEONARD                                   505 BROOK LANE                                                                                     CONSHOHOCKEN        PA    19428‐2406
LYNN S LEWIS                                     67326 SUNNYSIDE ROAD                                                                               MONTROSE            CO    81401‐7416
LYNN S PRESCHLACK CUST JOHN E PRESCHLACK UGMA IL 536 E PROSPECT AVE                                                                                 LAKE BLUFF          IL    60044‐2616

LYNN S WHITMORE TR RUTH G WHITMORE                 PO BOX 196                                                                                       MENDOTA             IL    61342‐0196
TESTAMENTARY TRUST UA 03/01/00
LYNN S WILLBRAND                                   500 COVERED BRIDGE RD                                                                            COLUMBIA            MO    65203‐9414
LYNN S Y NAITO TR RICHARD H TAMAI TRUST UA         98‐637 ALOALII ST                                                                                AIEA                HI    96701‐2716
03/12/96
LYNN SALISBURY GARRETT & BONNIE LOU GARRETT JT     2940 HAYES ST                                                                                    AVON                OH    44011‐2132
TEN
LYNN SALTIEL                                       17 CLUBWAY                                                                                       HARTSDALE           NY    10530‐3614
LYNN SCHNEIDER                                     3377 KATMAI DR                                                                                   LAS VEGAS           NV    89122‐4033
LYNN SCOT HERIN                                    5959 HOLLY RD                                                                                    CORPUS CHRISTI      TX    78412
LYNN SCUTIERO SWANSON                              924 NORTH FORD ST                                                                                BURBANK             CA    91505‐2717
LYNN SLAGLE TR UA 08/08/2008 ANDREW J KOZLOWSKI    9390 SUMMERLAND                                                                                  WHITMORE LAKE       MI    48189
IRREV TRUST
LYNN SMITH                                         3458 CATHOLIC VALLEY RD                                                                          GLEN ROCK           PA    17327‐7652
LYNN SOMMER GERTZOG                                8201 COACH STREET                                                                                POTOMAC             MD    20854‐3814
LYNN SPERLING                                      1339 CHAUTAUGUA BLVD                                                                             PACIFIC PALISADES   CA    90272‐2607

LYNN STRATTON KRIPPEL                              11703 LEANING PINE                                                                               HOUSTON             TX    77070‐2517
LYNN T BAESE                                       302 HOUGHTON VIEW DR                                                                             PRUDENVILLE         MI    48651‐9327
LYNN T DAVIES                                      814 MENOMINEE                                                                                    PONTIAC             MI    48341‐1548
LYNN T DAVIES & JANET CAROL DAVIES JT TEN          814 MENOMINEE                                                                                    PONTIAC             MI    48341‐1548
LYNN T SUMMERS                                     59 CHOUTEAU                                                                                      O'FALLON            MO    63366‐3042
LYNN T SZEPANSKI                                   11413 LAKE CIRCLE DR N                                                                           SAGINAW             MI    48609‐9426
LYNN T TRUSS                                       1017 MAPLEGROVE AVE                                                                              ROYAL OAK           MI    48067‐1116
LYNN THOMPSON & JOSEPH W THOMPSON JT TEN           22719 N BELLWOOD DR                                                                              SOUTHFIELD          MI    48034‐6226
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LYNN TOMASIK                                   9818 COUNTRY OAKS DR                                                                                    FORT MYERS      FL    33967‐6202
LYNN TRACY LICHTFUSS BRAU                      1275 POQUOSON AVE                                                                                       POQUOSON        VA    23662‐1846
LYNN TSURUE NAKAMURA                           1241 ALA PILI LOOP                                                                                      HONOLULU        HI    96818‐1632
LYNN V FRIEDMAN                                106 OAK KNOLL TERR                                                                                      ANDERSON        SC    29625‐2507
LYNN V T FRASIER                               10712 CASTLETON TURN                                                                                    UPPR MARLBORO   MD    20774‐1450
LYNN VINCENT SULLIVAN                          1139 E KENTUCKY ST                                                                                      LOUISVILLE      KY    40204‐1959
LYNN W BOUSMAN                                 14417 PERRY ST                                                                                          OVERLAND PARK   KS    66221‐7541
LYNN W HUNTE                                   72 HOSKINS LANE‐NORTH                                                                                   HILTON          NY    14468‐8980
LYNN W JORGENSEN                               324 PARKWAY COURT                                                                                       MINNEAPOLIS     MN    55419‐1463
LYNN W LAMB                                    23496 WINTHROP CT                                                                                       NOVI            MI    48375‐3249
LYNN W MCCART                                  ATTN LYNN W BAILEY                     40 BENT ARROW DR                                                 STOCKBRIDGE     GA    30281‐4827
LYNN W MEIER                                   1382 STRATFORD WAY                                                                                      ASHEBORO        NC    27205‐8883
LYNN W PURCELL                                 3502 GREENWOOD LN                                                                                       SAINT CHARLES   IL    60175‐5659
LYNN W SIMON                                   6038 GAYLYN DRIVE                                                                                       SHREVEPORT      LA    71105‐4708
LYNN WEDEKING & STACY WEDEKING JT TEN          2203 HILLCREST                                                                                          METROPOLIS      IL    62960
LYNN WHITE                                     3774 IRONWOOD LN                                                                                        TERRE HAUTE     IN    47802‐8135
LYNN WITTENBURG                                1401 FALLS CREEK CT                                                                                     NAPERVILLE      IL    60565‐1286
LYNN YANKO                                     141 N PERSHING AVE                                                                                      AKRON           OH    44313‐6232
LYNNANN E HUNT                                 2350 GREENWOOD LN                                                                                       GRAND BLANC     MI    48439‐4322
LYNNE A BARKER                                 1002 ZOLLINGER RD                                                                                       GOSHEN          IN    46528
LYNNE A BARKER & SARA R BARKER JT TEN          1002 ZOLLINGER RD                                                                                       GOSHEN          IN    46528
LYNNE A BEGG                                   8097 NW 37TH ST                                                                                         ANKENY          IA    50021‐9035
LYNNE A GLIDEWELL                              458 RAINTREE DR                                                                                         DANVILLE        IN    46122‐1456
LYNNE A GOTTWALD & CHESTER GOTTWALD JT TEN     340 SOUTH ADAMS                                                                                         WESTMONT        IL    60559‐1906

LYNNE A HARTINGER                              5769 CEDARIDGE DRIVE                                                                                    CINCINNATI      OH    45247‐7414
LYNNE A HUFNAGLE CUST CHRISTOPHER METZGER      306 VILLAGE GREEN BLVD                 APT 101                                                          ANN ARBOR       MI    48105
UGMA MI
LYNNE A LOGSTON                                7011 CLAYTON CT                                                                                         DOWNERS GROVE   IL    60516‐3535
LYNNE A SCHULZ                                 31526 MADISON                                                                                           MADISON HTS     MI    48071‐5503
LYNNE A THORESON                               875 FRICK ROAD                                                                                          LEONARD         MI    48367‐2512
LYNNE ANN SPENCER                              249 BARLOCK AVE                                                                                         LOS ANGELES     CA    90049‐3212
LYNNE ANNE BURES                               20868 PARKWOOD LN                                                                                       CLEVELAND       OH    44136‐5832
LYNNE ASHBURN MATHIS                           1820 CYPRESS RAPIDS DR                                                                                  NEW BRAUNFELS   TX    78130‐3037
LYNNE B MUTERSBAUGH & DONALD G MUTERSBAUGH     PO BOX 459                                                                                              LINDEN          VA    22642‐0459
SR JT TEN
LYNNE B THOMAS                                 2828 OLD HICKORY BLVD                  APT 504                                                          NASHVILLE       TN    37221‐3730
LYNNE B WARRICK                                6532 FREEPORT DRIVE                                                                                     DAYTON          OH    45415‐1919
LYNNE BOBULA CUST STEVEN BOBULA UTMA OH        2140 REMSEN RD                                                                                          MEDINA          OH    44256‐7224
LYNNE C BEAUTZ                                 52 OAKRIDGE DR                                                                                          BINGHAMTON      NY    13903‐2125
LYNNE C BJORN EX EST NOEL L OGDEN              64 NEW STREET                                                                                           BRIDGETON       NJ    08302
LYNNE C KOHLER                                 23 WOOD HAUL RD                                                                                         MASHPEE         MA    02649
LYNNE C MILLER                                 36 CLARK ST                                                                                             MANASQUAN       NJ    08736‐3410
LYNNE C WHERRY                                 11311 CARUTHERS WAY                                                                                     GLEN ALLEN      VA    23059‐1835
LYNNE C WILLIS                                 261 5TH AVE                            RM 501                                                           NEW YORK        NY    10016‐7601
LYNNE D KRISCHE                                1200 SW ORLEANS ST                                                                                      TOPEKA          KS    66604‐1753
LYNNE D LEMKE                                  211 SW 6TH COURT                                                                                        GRESHAM         OR    97080
LYNNE D RUCH                                   7231 W JACKSON BLVD                                                                                     FOREST PK       IL    60130‐1959
LYNNE DELL'ACQUA                               4901 WOODBURY AVE                                                                                       NORFOLK         VA    23508‐1837
LYNNE E BERNARD                                40165 SARA ROSE                                                                                         CLINTON TWP     MI    48038‐4057
LYNNE E ENGLAND                                ATTN LYNNE E MOODY                     250 LINWELL ROAD UNIT 205   ST CATHARINES ON   L2N 1S2 CANADA
LYNNE E PIEPMEYER                              2586 SERVICE LANE                                                                                       HAMILTON        OH    45011
LYNNE E PRIOR                                  108 LAWN TERRACE #1F                                                                                    MAMARONECK      NY    10543‐4000
LYNNE EDWARDS                                  155 VINLAND FARMS DR                                                                                    EASLEY          SC    29640‐6737
LYNNE ELLEN IKACH                              1232 E DAVENPORT                                                                                        IOWA CITY       IA    52245‐3015
LYNNE F CASSERILLA                             26 CACTUS ST                                                                                            HOMOSASSA       FL    34446‐5309
LYNNE FISHER                                   24836 ROSS                                                                                              DEARBORN        MI    48124‐4809
LYNNE G MCCABE & WILLIAM MCCABE JT TEN         16 BUTTERFIELD AVE                                                                                      PITTSBURGH      PA    15223‐1504
LYNNE G VASILIADES                             9305 MONTANA ST                                                                                         LIVONIA         MI    48150‐3779
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LYNNE HARRISON                                 49 EAST 73RD ST APT 10 C                                                                       NEW YORK          NY    10021
LYNNE HASSDENTEUFEL                            33 KNOX DR                                                                                     NEW WINDSOR       NY    12553‐6112
LYNNE HAYDN                                    PO BOX 204                                                                                     CHATHAM           NY    12037‐0204
LYNNE HESS CUST BENJAMIN C HEAD UTMA CO        15802 JAMES GATE PL                                                                            MONUMENT          CO    80132
LYNNE J BESHARA                                5164 ROCK RUN ST                                                                               WEST BLOOMFIELD   MI    48322‐2123

LYNNE J BONE                                   5434 S M 106                                                                                   STOCKBRIDGE       MI    49285‐9446
LYNNE J MALONE                                 3355 BANCROFT ROAD                                                                             AKRON             OH    44333‐3037
LYNNE J REFNER                                 109 PARK PLACE                                                                                 ADRIAN            MI    49221
LYNNE JACOBS                                   18 ROOSEVELT STREET                                                                            TAPPAN            NY    10983‐1823
LYNNE JOANN WILLIAMS                           732 PENNWOOD DR                                                                                PITTSBURGH        PA    15235‐4335
LYNNE JOHNSON CUST KIMBERLY SUE JOHNSON UGMA   5527 PLEASANT AVE                                                                              FAIRFIELD         OH    45014‐3538
DE
LYNNE JOYCE RUDMAN                             63 BRINKERHOFF                                                                                 FREEHOLD          NJ    07728‐2016
LYNNE K FRIEDRICH                              386 SURBER DRIVE                                                                               SAN JOSE          CA    95123‐4344
LYNNE KESSELMAN CUST DANIELLE KESSELMAN UTMA   513 CLSRKSTOWN RD                                                                              MAYS LANDING      NJ    08330‐1659
NJ
LYNNE KONOPKA                                  29062 MEADOW LN                                                                                ROCKWOOD          MI    48173‐1244
LYNNE LANDSBERG CUST KEITH LANDSBERG UGMA NY   PENTHOUSE 15                         3600 MYSTIC POINTE DRIVE                                  NORTH MIAMI       FL    33180‐2564
                                                                                                                                              BEACH
LYNNE LESLIE ATKINS                            40 WASHINGTON AVE 17                                                                           MILLTOWN          NJ    08850‐1261
LYNNE LOUISE GLOVER                            PO BOX 166                                                                                     OAKLEY            MI    48649‐0166
LYNNE M ANDERSON                               1448 FAIRWAYS E                                                                                FLUSHING          MI    48433‐2272
LYNNE M ANTLOCER                               C/O LYNNE M STEBBINS                 14191 LONGNEEDLE CT                                       SHELBY TOWNSHIP   MI    48315‐1439

LYNNE M COMBS                                  2153 INDIAN RIPPLE RD                                                                          XENIA             OH    45385‐9333
LYNNE M D'ANNUNZIO                             14702 BRAMBLEWOOD DR                                                                           HOUSTON           TX    77079‐6404
LYNNE M FISCHMAN                               45 E 85 ST #6A                                                                                 NEW YORK          NY    10028‐0957
LYNNE M FLEMING                                1665 YARDLEY DR                                                                                WEST CHESTER      PA    19380‐5770
LYNNE M LOGAN                                  2124 SW 49TH TER                                                                               CAPE CORAL        FL    33914‐6749
LYNNE M MONEY                                  C/O L SUNDERLAND                     5301 N 18TH ST                                            ARLINGTON         VA    22205‐3046
LYNNE M MORSE                                  C/O LYNNE M CHASE                    13003 E 33RD CT                                           SPOKANE           WA    99206‐8375
LYNNE M RESHA CUST JASON JOSEPH MORE RESHA     141 THATCHER ST                                                                                WESTWOOD          MA    02090‐2528
UTMA MA
LYNNE M SPENCE & VICTOR L SPENCE JT TEN        4026 SHORESIDE CIR                                                                             TAMPA             FL    33624‐2366
LYNNE M SWANSON & FREDERICK J SWANSON JT TEN   225 W PUTNAM ST                                                                                PRINCETON         IL    61356‐1669

LYNNE M THOMPSON                               7999 GATOR PALM DR                                                                             FORT MYERS        FL    33912‐6446
LYNNE M WYATT                                  17 DOBLE AVE                                                                                   MEDFORD           MA    02155‐6121
LYNNE M ZHEUTLIN                               11636 WHITETAIL LN                                                                             ELLICOTT CITY     MD    21042‐1436
LYNNE MARIE ABBEY‐LEE & GREGORY LEE JT TEN     2170 SOUTH FLOWER WAY                                                                          LAKEWOOD          CO    80227‐2342
LYNNE MARIE PARKER                             5471 GROVELAND RD                                                                              HOLLY             MI    48442‐9491
LYNNE MARIE WAGNER                             5856 K BELL ST                                                                                 OXFORD            OH    45056‐9261
LYNNE MIYASAKI                                 629 NORTH 90TH STREET                                                                          MILWAUKEE         WI    53226‐4559
LYNNE N JORDAN                                 3152 BELL ROAD                                                                                 CHICO             CA    95973‐8765
LYNNE N TADDEO                                 3202 11TH AVE W                                                                                SEATTLE           WA    98119‐1806
LYNNE PARSONS MASSEY                           11519 SAINT MARTINS NECK RD                                                                    BISHOPVILLE       MD    21813‐1605
LYNNE R MARTINELLI                             4240 UPHAM STREET                                                                              WHEAT RIDGE       CO    80033‐4833
LYNNE RIDER                                    2 SMOKES CREEK                                                                                 ORCHARD PARK      NY    14127
LYNNE ROMANO CUST ALLISON H ROMANO UGMA NY     8428 HOBNAIL ROAD                                                                              MANLIUS           NY    13104‐9331

LYNNE S BERKULE                                20 CARRIE CIR                                                                                  FAIRFIELD        CT     06432
LYNNE S DODSON                                 425 W GRAND                                                                                    JACKSON          TN     38301‐4879
LYNNE S GAMACHE                                37461 EAGLE TRACE                                                                              FARMINGTON HILLS MI     48331

LYNNE S JAGLER                                 ROUTE 1 BOX 188                                                                                STOVER            MO    65078‐9602
LYNNE S THOMAS                                 PO BOX 36216                                                                                   GROSSE POINTE     MI    48236‐0216
                                                                                                                                              FARM
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LYNNE SCHLITT                                   1931 SABAL PALM DR APT 402                                                                     FORT LAUDERDALE   FL    33324‐5965

LYNNE SEPPANEN                                  9056 BUCHANON TRL                    APT 36                                                    INVER GROVE       MN    55076‐3551
LYNNE TERESE DENYER                             340 FROG POND RD                                                                               LITTLE EGG HBR    NJ    08087‐9783
                                                                                                                                               TWP
LYNNEA M BROWN & ALAN W BROWN JT TEN            11030 WHITE OAK LN                                                                             OAKDALE           CA    95361
LYNNELLE PRINCE                                 14310 MOUNTAIN QUAIL RD                                                                        SALINAS           CA    93908‐9399
LYNNETTE A CARDINAL                             5830 MEADOWS DR                                                                                CLARKSTON         MI    48348‐2931
LYNNETTE I MASSIE‐HARTWIG                       15200 ALBATROSS DR                                                                             SOUTH BELOIT      IL    61080‐9261
LYNNETTE L HYDE                                 2003 WISCONSIN AVE PO 0172                                                                     BELOIT            WI    53512‐0172
LYNNIE COLEMAN                                  809 E NORTHFIELD AVE                                                                           PONTIAC           MI    48340‐1334
LYNNWOOD ROSS                                   3636 SEAWAY DR                                                                                 LANSING           MI    48911‐1911
LYNON F WILLIAMS                                67 LAKE DRIVE                                                                                  WINDER            GA    30680‐1645
LYNON FRED WILLIAMS                             67 LAKE DRIVE                                                                                  WINDER            GA    30680‐1645
LYNORA E MCMASTERS                              8845 KING GRAVES RD NE                                                                         WARREN            OH    44484‐1120
LYNOTT E STEWART TR LYNOTT E STEWART TRUST UA   14810 CEDARGROVE STREET                                                                        DETROIT           MI    48205‐3612
12/15/95
LYNWOOD E COOMBS                                272 CHRISTINE LN                                                                               CAMERON           NC    28326‐7027
LYNWOOD J HYNES & BETH M HYNES JT TEN           13190 DOW ROAD                                                                                 SUNFIELD          MI    48890‐9059
LYNWOOD J HYNES & MRS BETH M HYNES JT TEN       13190 DOW RD                                                                                   SUNFIELD          MI    48890‐9059
LYNWOOD L ROWELL                                4501 NEW LOTHROP RD                                                                            DURAND            MI    48429‐9701
LYNWOOD S JACKSON & MRS MARY A JACKSON JT TEN   2814 VASSAR ST                                                                                 DEARBORN          MI    48124‐3479

LYNWOOD SHOEMAKER                               4281 GREEN LAKE RD                                                                             ORCHARD LAKE    MI      48323‐1140
LYNWOOD V NICHOLS                               2342 CHELTINGHAM                                                                               SYLVAN LAKE     MI      48320‐1611
LYNWOOD W BARRINGER                             7398 E SAN JOSE RD                                                                             SAFFORD         AZ      85546‐8934
LYOLA M FINNESTAD                               16501 EL MIRAGE RD BOX 229                                                                     SURPRISE        AZ      85374
LYONEL DAY                                      95 N CHURCHILL DRIVE                                                                           ROCHESTER       NY      14616‐2103
LYONEL DAY & MYRTLE L DAY JT TEN                95 CHURCHILL DRIVE                                                                             ROCHESTER       NY      14616‐2103
LYRA M COBB CUST BENJAMIN C COBB UGMA MS        243 HIGH BROOK DR                                                                              RICHARDSON      TX      75080‐2032
LYSA SALTZMAN                                   6023 LOYNES DR                                                                                 LONG BEACH      CA      90803‐2330
LYSSA BRASHIER                                  2700 TRIMMIER RD                     APT 11202                                                 KILLEEN         TX      76542‐6048
LYSSA LAMPORT                                   52 ESSEX CT                                                                                    PORT WASHINGTON NY      11050‐4221

LYSTER R LADD                                   5171 CLARKSTON ROAD                                                                            CLARKSTON         MI    48348‐3806
LYTLE S SORRELLS & HELEN T SORRELLS JT TEN      3109 WOODCLIFT CIR                                                                             BIRMINGHAM        AL    35243‐4170
LYUBA BIRINBAUM                                 PO BOX 2426 FAIRMONT STN                                                                       EL CERRITO        CA    94530‐5426
LYVISHA L SMITH                                 2034 BURR BLVD                                                                                 FLINT             MI    48503‐4234
M & T BANK CUST JILL BINIEWSKI IRA              1550 EAST PARK RD                                                                              GRAND ISLAND      NY    14072‐2334
M A AMBEAULT                                    26 FITZGERLAD CRESCENT               WINNIPEG MB                             R3R 1N8 CANADA
M A B HOLMES TR UA 12/06/91 MARY B HOLMES TRUST 3757 US HIGHWAY 82                                                                             MAYHILL           NM    88339

M A BRANCO                                      951 RAY AVENUE                                                                                 UNION             NJ    07083‐6530
M A BROOM                                       5918 PERSHING                                                                                  ST LOUIS          MO    63112‐1514
M A MCGILLIS                                    12348 PARKLANE                                                                                 MOUNT MORRIS      MI    48458‐1438
M A MILLSTONE                                   8050 MERIDIAN                                                                                  ST LOUIS          MO    63114‐4626
M ADELE LEWIN                                   3770 PINEBROOK CIRC                  UNIT 6                                                    BRADENTON         FL    34209‐8030
M AILEEN VEACH                                  1875 NORTH MICHAEL DRIVE                                                                       MARION            IN    46952‐8600
M ALAN FISH                                     66 HARLOW CIRCLE                                                                               LOWER GWYNEDD     PA    19002‐2076

M ALMETA MCGILL                                 4 CIRCUIT DR                                                                                   ELMIRA            NY    14904‐2725
M AND T BROKERAGE SERVICES INC TR STUART W BUSH 356 KNOWLTON AVE                                                                               BUFFALO           NY    14217‐2908
IRA PLAN 08/04/93
M ANGELICA D HAYES                              1 ELTON RIDGE CT N W                                                                           ROCHESTER         MN    55901‐6962
M ANN DOUGHERTY & MILDRED F SCHUERMAN JT TEN 258 GLEN ELLYN WAY                                                                                ROCHESTER         NY    14618

M ANN FOSTER                                    24289 WILLOW CIRCLE                                                                            COURTLAND         VA    23837
M ANN THOMPSON                                  229 GUMBUSH RD                                                                                 TOWNSEND          DE    19734‐9768
M ANNE BUFFINGTON                               2424 NORTH HAVEN BLVD                                                                          CUYAHOGA FALLS    OH    44223‐1561
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Name                                            Address1                             Address2                 Address3       Address4          City               State Zip

M ANNE NURSE‐RICHARDSON                         19 RICE DRIVE                        WITITBY ON                              L1N 7Z2 CANADA
M ANNE VALKEVICH                                177 CHESTNUT STREET                                                                            LYNNFIELD        MA      01940‐2436
M ANNETTE SETTLEMOIR                            8121 FOX HOLLOW RD                                                                             GOODRICH         MI      48438‐9234
M ANTHONY CHEN                                  1390 OLYMPUS DR                                                                                SAN JOSE         CA      95129‐4417
M B ELKIN                                       26611 S WHITEHORN DR                                                                           RANCHO PALOS VER CA      90275‐2352

M BARBARA ROTHENBERGER                          BOX 63                                                                                         WORCESTER          PA    19490‐0063
M BEATY HOWARD                                  916 EAST HWY 377 APT 352                                                                       GRANBURY           TX    76048
M BERNICE BAMBERGER TR M BERNICE BAMBERGER      6257 TELEGRAPH RD #240                                                                         BLOOMFIELD HILLS   MI    48301‐1649
TRUST UA 12/02/99
M BERNICE HARRISON                              724 WEST NIELDS ST                                                                             WEST CHESTER       PA    19382‐2128
M BEVERLY V CHRISTIAN                           9 HAPGOOD WAY                                                                                  SHREWSBURY         MA    01545‐2856
M BRADFORD SHIRLEY                              8068 WHITNEY COURT                                                                             CANTON             GA    30115‐8328
M BROWN                                         10379 COBURG LANDS DR                                                                          SAINT LOUIS        MO    63137‐2335
M BUCSANSZKY                                    804 HARRELL AVE                                                                                WOODBRIDGE         NJ    07095‐3216
M C BROWN                                       753 S KENNETH                                                                                  CHICAGO            IL    60624‐3441
M C COOKSIE                                     3713 KENT                                                                                      FLINT              MI    48503‐4559
M C COOLEY                                      6404 E 52ND ST                                                                                 INDIANAPOLIS       IN    46226‐2584
M C JACHIM                                      164 DALTON STREET                                                                              ROSELLE PARK       NJ    07204‐2016
M C KARPINSKI                                   2351 ZINOW                                                                                     HAMTRAMCK          MI    48212‐2942
M C METCALF                                     PO BOX 324                                                                                     LAKE               MS    39092‐0324
M C MICHAEL                                     7109 HOUGHTON DR                                                                               DAVISON            MI    48423‐2335
M C PEEK                                        PO BOX 14045                                                                                   DETROIT            MI    48214‐0045
M C REESE                                       2 FATHER FINIAN SULLIVAN DR 11L                                                                YONKERS            NY    10703‐2800
M CAROL ROACH                                   PO BOX 27                                                                                      CHATEAUGAY         NY    12920‐0027
M CAROL SCHUCHART                               1710 S BURNS                                                                                   VERADALE           WA    99037‐9364
M CAROLINE MCKINNON                             308 E 79TH STREET                                                                              NEW YORK           NY    10021‐0904
M CAROLYN COOK & TODD M COOK & CORY A COOK JT   2549 PROVOST RD E                                                                              JACKSONVILLE       FL    32216‐5176
TEN
M CAROLYN G CHEHY & JOSEPH W CHEHY JT TEN       133 GRAND VIEW DRIVE                                                                           WARWICK          RI      02886‐8800
M CATHERINE NORRIS                              11836 TALL TREE DR                                                                             PLYMOUTH         MI      48170‐3724
M CHARLES THEOBALD                              114 E UINTAH                                                                                   COLORADO SPRINGS CO      80903‐2328

M CHARLOTTE YEAGER                              112 ARBOR ROAD                                                                                 CHURCHVILLE        PA    18966‐1082
M CHARLOTTE YEAGER & FREDERICK H YEAGER TEN ENT 112 ARBOR ROAD                                                                                 CHURCHVILLE        PA    18966‐1082

M CHRIS TAYLOR                                  3408 LANSDOWNE DR                                                                              LEXINGTON          KY    40517‐1121
M CHRISTINE FARRINGTON                          122 ELM ST                                                                                     MILTON             MA    02186‐3111
M CHRISTINE HUTCHISON                           10769 SHELBYVILLE RD                                                                           INDIANAPOLIS       IN    46259‐9505
M COLLEEN MCSWEENEY                             C/O KATHLEEN MCSWEENEY               11850 EDGEWATER DR 814                                    LAKEWOOD           OH    44107‐6400
M D BUNCH                                       700 CHAMPION AVENUE EAST                                                                       WARREN             OH    44483‐1510
M D KATZ FOUNDATION INC                         300 EAST LINDEN AVENUE                                                                         ENGLEWOOD          NJ    07631
M D LOUDON                                      4996 WORTH ST                                                                                  MILLINGTON         MI    48746‐8724
M D PERRY                                       3635 OAKLAND DRIVE                   APT 1                                                     ANDERSON           IN    46016‐3146
M DAVID BURNS                                   49 SANDHURST LANE                                                                              BUFFALO            NY    14221‐3154
M DEAN WURTH & MRS ROSE G WURTH JT TEN          4452 MT VERNON PL                                                                              DECATUR            IL    62521‐8790
M DENISE WEST                                   2207 K ST NW 3                                                                                 WASH               DC    20037‐1816
M DIANE GOULET                                  1926 EMERY STREET                                                                              LONGMONT           CO    80501‐1908
M DIANE OBERHOLZER                              PO BOX 69                                                                                      SHADY GROVE        PA    17256‐0069
M DILLON                                        111 MOUNT CALVARY RD                                                                           THOMASVILLE        NC    27360‐3422
M DORINE DEAN                                   1104 LEX/ONTARIO RD                                                                            MANSFIELD          OH    44903‐9403
M DOUGLAS TODD TR UA 11/26/2003 M DOUGLAS       3950 27TH RD NORTH                                                                             ARLINGTON          VA    22207
TODD TRUST
M E CRAFT                                       5586 FERRIS RD                                                                                 EATON RAPIDS       MI    48827‐9671
M E STUMPF                                      2945 W TIENKEN RD                                                                              ROCHESTER HILLS    MI    48306‐3868
M EILEEN MCCORMICK & K CHING MAN JT TEN         31065 LUCERNE DR                                                                               FRANKLIN           MI    48025‐1221
M ELIZABETH KOCH                                365 A UNION DR                                                                                 MONROE TWP         NJ    08831‐3936
M ELIZABETH MOFFETT                             150 W 87TH 9‐B                                                                                 NEW YORK           NY    10024‐2952
M ELIZABETH RUTH                                1307 E PARKWAY DR                                                                              COLORADO SPGS      CO    80906‐1393
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Name                                          Address1                              Address2             Address3           Address4          City             State Zip

M ELIZABETH RYAN                              2440 BIRDIE WAY                                                                                 MILLIKEN         CO    80543‐9648
M ELIZABETH YANAKOS                           5052 ELMCREST LN                                                                                CINCINNATI       OH    45242‐7910
M ELLEN PRIOR & JOYCE A BRAUCHER JT TEN       2269 E MERCER LN                                                                                PHOENIX          AZ    85028‐2420
M ESSEX PETERS                                PO BOX 11290                                                                                    PHOENIX          AZ    85061‐1290
M EUGENE DUDIAK                               10 CAROLINE DRIVE                                                                               BELVIDERE        NJ    07823‐2849
M EVELYN BAGGETT                              809 WEDGEWOOD DRIVE                                                                             SUFFOLK          VA    23438‐9637
M F BROPHY SR                                 475 EDGERTON DR                                                                                 SAN BERNARDINO   CA    92405
M FELTON WRIGHT & BONNIE D WRIGHT TR UA       2007 MIDDLEWOOD DR                                                                              TALLAHASSEE      FL    32312‐2452
04/16/97 BY M FELTON WRIGHT
M FRANCES CUNNINGHAM                          19921 LATHERS                                                                                   LIVONIA          MI    48152‐2016
M FRANCES FOLEY PERS REP EST GEORGE W REED    625 SILVER RUN ROAD                                                                             MIDDLETOWN       DE    19709‐9119
M FRANK RUMMEL                                2902 FAULKLAND RD                                                                               WILMINGTON       DE    19808‐2514
M G GAVLAK                                    PO BOX 171                                                                                      BRISBIN          PA    16620‐0171
M G HARSH JR                                  1209 CHANDLER RD                                                                                HUNTSVILLE       AL    35801‐1409
M G HERNANDEZ                                 5 AVE ROBERTO DIAZ                                                                              CAYEY            PR    00736‐5105
M G STOKENBERRY                               2799 E BIRDIE DR                                                                                FAYETTEVILLE     AR    72703‐6550
M GARY MOONEYHAM                              6983 ROCKLAND RD                                                                                LITHONIA         GA    30038‐3211
M GEORGIA SAN CLEMENTE TR M GEORGIA SAN       527 CHANTICLEER TRAIL                                                                           LANSING          MI    48917‐3014
CLEMENTE TRUST UA 06/17/78
M GERTRUDE KUTZ                               4 CORNELL DR                                                                                    MENANDS          NY    12204‐2306
M GLUSKIN                                     33 SOUTH PEAK                                                                                   LAGUNA NIGUEL    CA    92677‐2903
M GREGORY RACE                                103 BLAZING STAR DR                                                                             BUTLER           PA    16002‐3965
M H ANDERSON & DAWN R ANDERSON JT TEN         828 SANTA HELENA                                                                                HENDERSON        NV    89015‐9016
M H OSHUST                                    G6329 RICHFIELD RD                                                                              FLINT            MI    48506
M HARVEY OWENS                                4239 FAIROAKS DR                                                                                COLUMBUS         OH    43214‐2841
M HAYDEN JANES & MAVIS B JANES JT TEN         42 ELM ST                                                                                       RICHFORD         VT    05476‐1236
M HENRIETTA HAUCK BAYLOR & MARTHA BAYLOR      298 MCCORMICK AVENUE                                                                            STATE COLLEGE    PA    16801‐6121
TROUT JT TEN
M HERBERT JONES                               57 IMPERIAL DR                                                                                  BUFFALO          NY    14226‐1534
M HILLBURN                                    33 SOUTH PEAK                                                                                   LAGUNA NIGUEL    CA    92677‐2903
M HOWARD BROWN CUST K ELIZABETH BROWN UGMA    5 LONG MARSH LN                                                                                 HILTON HEAD      SC    29928‐7100
SC                                                                                                                                            ISLAND
M J CLARK                                     139 HALSTED STREET                                                                              EAST ORANGE      NJ    07018‐2667
M J FLINT                                     733 TARRYTOWN TRAIL                                                                             PORT ORANGE      FL    32127‐4916
M J GANCZARSKI                                33 AMANDA DR                                                                                    SMITHSBURG       MD    21783‐1573
M J GEARY                                     488 HILLTOP AVENUE                                                                              KEYPORT          NJ    07735‐5015
M J GERAGHTY JR                               628 E ATHERTON RD                                                                               FLINT            MI    48507‐2797
M J GETTINGS                                  6735 HIGHLAND AVE SW                                                                            WARREN           OH    44481‐8612
M J HARRIS                                    1603 HIGHLAND MTN ROAD                                                                          LIVINGSTON       TN    38570‐5919
M J JONES                                     213 HAYES AVE                                                                                   LA GRANGE        IL    60525‐2531
M J RAKER & MRS DOROTHY L RAKER JT TEN        2730 HALLMARK LANE                                                                              CENTERVILLE      OH    45440‐2213
M J ROUS                                      5348 ORANGE BLVD                                                                                SANFORD          FL    32771‐8695
M J SCHIAVELLO                                982 GLACKENS LN                                                                                 WILMINGTON       DE    19808‐1130
M J SHEETS                                    PO BOX 437                                                                                      ODESSA           DE    19730‐0437
M J TEDRAKE                                   840 CHARRINGTON CT                                                                              MASON            MI    48854‐1373
M J THISSEN‐EGGER                             ODASINGEL 11                          6131 GK SITTARD                         NETHERLANDS
M J VAUGHN CUST LINDSEY JEAN VAUGHN UTMA CA   19 NEW HVN                                                                                      LAGUNA NIGUEL    CA    92677‐2934

M JACK RAMIREZ                                101 CHALKWELL COURT                                                                             CARY             NC    27519‐5953
M JACQUELINE KALAR                            109 PALACE STREET                     WHITBY ON                               L1N 5E9 CANADA
M JAMES ASKINS                                9854 TWIN SHORES DR                                                                             WILLIS           TX    77318‐6656
M JAMES ASKINS & LINDA A ASKINS JT TEN        9854 TWIN SHORES DRIVE                                                                          WILLIS           TX    77318‐6656
M JANE FASSINGER LEE                          136 SYLMAR RD                                                                                   RISING SUN       MD    21911‐1917
M JANE HATCH                                  2116 TOMAHAWK DRIVE                                                                             PLANO            TX    75023‐5246
M JANE SHEPPARD                               210 GREENBRIER LANE                                                                             DAVISVILLE       WV    26142
M JANE STOUT                                  4423 SUGAR MAPLE COURT                                                                          CONCORD          CA    94521‐4338
M JAYNE PYKE & EARL W PYKE TEN ENT            508 E LOCUST ST                                                                                 MECHANICSBURG    PA    17055‐6503
M JEAN EASTMAN                                93 WILLOW AVE                                                                                   STARTFORD        CT    06615‐6039
M JEAN KING                                   290 KINGS TOWN WAY                    UNIT 128                                                  DUXBURY          MA    02332‐4642
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Name                                              Address1                            Address2             Address3           Address4          City              State Zip

M JEAN REIMANN                                    19 QUINCENT COURT                                                                             IOWA CITY        IA     52245‐5712
M JEANETTE SANKES                                 1337 GARRETT AVE                                                                              NIAGARA FALLS    NY     14305‐1176
M JERRY VICK                                      3102 CEDRONA DR NW                                                                            OLYMPIA          WA     98502‐3849
M JOAN HAJDAS TR M JOAN HAJAS TRUST UA 12/16/98   19730 WESTCHESTER DRIVE                                                                       CLINTON TOWNSHIP MI     48038‐2387

M JOAN HAVENS & RICHARD D HAVENS JT TEN          1763 HALL                                                                                      HOLT              MI    48842‐1709
M JOAN LIPSCOMB                                  100 CLAYMORE CRES                    OSHAWA ON                               L1G 6G2 CANADA
M JOAN MURTHUM                                   38 SUTIN PLACE                                                                                 SPRING VALLEY     NY    10977‐6424
M JOANN ROESER TR ROESER FAMILY TRUST UA         6083 VAUX ROAD                                                                                 BEAUFORT          SC    29906‐8605
09/22/94
M JOHN LEBENS & THERESE A LEBENS JT TEN          16018 MCGINTY RD WEST                                                                          WAYZATA           MN    55391‐2339
M JOHNSON                                        8335 CRANE RD                                                                                  JONESBORO         GA    30236‐8612
M JOSEPH PEARSON                                 2205 LAFAYETTE RD                                                                              ANN ARBOR         MI    48104‐1735
M JOYCE HAIGHT & SUSAN HAIGHT & JOSEPH HAIGHT JT 30 YACHT CLUB DRIVE                                                                            LAKE HOPATCONG    NJ    07849‐1315
TEN
M JOYCE JOHNSON                                  1814 TORQUAY                                                                                   ROYAL OAK         MI    48073‐1223
M JUDITH TOLE & WAYNE F TOLLE JT TEN             5311 GRAYCLIFF DR                                                                              GREENSBORO        NC    27406
M JULIE CLARK                                    16088 FAIRLANE                                                                                 LIVONIA           MI    48154‐2564
M JULIETTE NOONE                                 5116 YUMA ST NW                                                                                WASHINGTON        DC    20016‐4338
M JUNE MUMLEY‐GOODMAN                            435 TRACY LN                                                                                   ST CLAIRSVILLE    OH    43950‐1038
M K SIMPSON                                      9049 BROKEN ARROW RD                                                                           INDIANAPOLIS      IN    46234‐2514
M K TURNBULL                                     8682 CLARRIDGE                                                                                 SPRINGFIELD       MI    48016
M K ZETOUNA                                      5119 GREENBRIAR DR                                                                             WEST BLOOMFIELD   MI    48323‐2325

M KALAR                                           109 PALACE ST                       WHITBY ON                               L1N 5E9 CANADA
M KAREN GARTLAND                                  627 HIDDEN VALLEY                                                                             TRAVERSE CITY     MI    49686‐1673
M KATHLEEN MESTL                                  8960 UNDERWOOD AVE #206                                                                       OMAHA             NE    68114‐2865
M KATHRYN GRENCEWICZ                              927 EDGEWATER DR                                                                              NEWPORT NEWS      VA    23602‐8834
M KEVIN HEALY TR UA 05/07/1992 JOHN K HEALY       PO BOX 77                                                                                     MOODY             ME    04054
REVOCABLE TRUST
M KONTOZOGLOU                                     5009 JARVIS LANE                                                                              NAPA              FL    34119‐9539
M KOPCHAK                                         1311 MAPLE AVENUE                                                                             SOUTH PLAINFI     NJ    07080‐4515
M L CANTWELL & ELAINE SCOTT JT TEN                PO BOX 815                                                                                    HEALDTON          OK    73438‐0815
M L DEMPSEY                                       584 W VIENNA RD                                                                               CLIO              MI    48420‐1310
M L HANSBARGER                                    11057 VERMONTVILLE HWY                                                                        VERMONTVILLE      MI    49096‐9777
M L JOSEPH SHEPPERD & JUDY K SHEPPERD JT TEN      2414 CRESCENT KNOLL DR                                                                        MATTHEWS          NC    28105‐8868

M L RANDALL                                       1470 LIX RD                                                                                   WARRENTON         MO    63383‐4228
M L SHEA                                          208 N NAVARRE AVE                                                                             YORKTOWN          OH    44515‐2810
M L STRINGER                                      3144 RALSTON AVE                                                                              INDIANAPOLIS      IN    46218‐1943
M L TURNER & SHARON L TURNER JT TEN               5820 HILLSBORO                                                                                DAVISBURG         MI    48350‐3619
M L VANDUNK                                       2746 HILLCREST AVE                                                                            SHREVEPORT        LA    71108‐4330
M L WITHROW                                       1717 DUTCHESS AVE                                                                             KETTERING         OH    45420‐1339
M LEE ROPP & DORTHALEE M ROPP TEN ENT             BOX 129                                                                                       MYERSVILLE        MD    21773‐0129
M LEONARD COHN                                    1144 ASBURY AVE                                                                               WINNETKA          IL    60093‐1402
M LESLIE JAQUETTE                                 15 BENJAMIN RUN                                                                               LANDENBERG        PA    19350‐1227
M LEVERT JONES                                    G‐3100 MILLER RD APT 18C                                                                      FLINT             MI    48507‐1322
M LILLIAN COSTANZO & FRANK A COSTANZO JT TEN      307 E 2ND ST                                                                                  DERRY             PA    15627‐1605

M LISA CLAYTON                                    2125 N 183RD PL                                                                               SHORELINE         WA    98133‐4616
M LISA NOVAJOSKY                                  1301 WILLOWOOD LANE                                                                           VIRGINIA BEACH    VA    23454‐2039
M LOIS HUBBARD                                    3162 SHERBROOK DRIVE                                                                          UNIONTOWN         OH    44685‐9704
M LORENE HYATT                                    ATTN DONNA OBRADOVICH               612 HARRISON                                              GARDEN CITY       MI    48135‐3125
M LORENZO VILLALOBOS                              12 AMES PL                                                                                    HUNTINGTON        NY    11746‐4702
                                                                                                                                                STATION
M LORRAINE BULLUSS                                25 SMITH ST                                                                                   BRISTOL           CT    06010‐2934
M LOUISE SCHUMAN                                  101 KOKOMO WAY                                                                                SENECA            SC    29672‐0356
M LYNN MCCOLLUM                                   24 PIEDMONT AVE                                                                               CHARLESTON        SC    29403‐3336
M LYNWOOD MILLER                                  200 32ND AVE NW                                                                               HICKORY           NC    28601‐1042
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Name                                             Address1                               Address2                      Address3   Address4          City               State Zip

M M DELUCA                                       2703 PARKWAY LN                                                                                   VAN BUREN          AR    72956‐6931
M M LITTLE                                       725 SCHOOL ST APT 2121                                                                            RAHWAY             NJ    07065
M M OSBORN                                       7390 CROSS CREEK DR                                                                               SWARTZ             MI    48473‐1499
M MAGDALEN BECK & DEBORAH ANN BECK JT TEN        1546 GLEN KEITH BLVD                                                                              BALTIMORE          MD    21286‐8020

M MARGARET ENGELS                                3248 S DAYTON CT                                                                                  DENVER             CO    80231‐4712
M MARIE DRAKE                                    557 MOORELAND DR                                                                                  WHITELAND          IN    46184‐1263
M MARTA SIPEKI                                   3644 S ELM WAY                                                                                    DENVER             CO    80237‐1011
M MARTHA ELLIOTT                                 1551 LARIMER ST #2602                                                                             DENVER             CO    80202‐1638
M MICHAEL DEMASI                                 5 HORIZON RD                           APT 307                                                    FT LEE             NJ    07024‐6627
M MITROFF                                        4308 IVY LN                                                                                       GLENVIEW           IL    60026‐1087
M MRAZ                                           5 WARD PL                                                                                         OSSINGING          NY    10562‐3525
M NANCY BRAUN                                    27 HOFFMAN PLACE                                                                                  BUFFALO            NY    14207‐2722
M NICOLE MORRISON                                1100 S SHEPHERD DR                                                                                HUSTON             TX    77019‐3610
M O WITTMAN                                      6120 TOPSAIL ROAD                                                                                 LADY LAKE          FL    32159‐5936
M ORTIZ                                          90 WALNUT STREET                                                                                  FRAMINGHAM         MA    01702‐7517
M P I & CO A PARTNERSHIP                         C/O FREDERICK K CLAUSER                178 CLARKSON EXECUTIVE PARK                                ELLISVILLE         MO    63011‐2114
M P LANDRY                                       5410 SARVIS AVE                                                                                   WATERFORD          MI    48327‐3065
M PALOCIN                                        947 LAKEHURST AVE                                                                                 JACKSON            NJ    08527‐5249
M PARADISO                                       4227 PINE MEADOW TERR                                                                             SARASOTA           FL    34233‐3642
M PATRICIA BRADLEY & HELEN A BRADLEY JT TEN      107 BAYNE RD                                                                                      HASLET             TX    76052‐4615
M PATRICIA DORAN                                 1203 CROSBY RD                                                                                    SPRING LAKE HGTS   NJ    07762‐2406

M PATRICIA EGAN OLSON TOD DENNIS W EGAN          401 TAMARACK LN                                                                                   BREWSTER           NY    10509
M PATRICIA EGAN OLSON TOD JAMES J EGAN           401 TAMARACK LN                                                                                   BREWSTER           NY    10509
M PATRICIA EGAN OLSON TOD JAMES J EGAN           401 TAMARACK LN                                                                                   BREWSTER           NY    10509
M PATRICIA EGAN OLSON TOD JOHN J EGAN            401 TAMARACK LN                                                                                   BREWSTER           NY    10509
M PATRICIA EGAN OLSON TOD PATRICIA WARYCHA       401 TAMARACK LN                                                                                   BREWSTER           NY    10509

M PATRICIA SCHAUER                               209 TELFORD AVE                                                                                   DAYTON             OH    45419‐3222
M PAULINE EPPS                                   230 BUENA VISTA DR                                                                                GLEN ELLYN         IL    60137‐6511
M PEARLENE SITTER & NORBERT A SITTER JT TEN      2837‐2ND ST N                                                                                     FARGO              ND    58102‐1605
M PEGGY JACKSON                                  5020 NORTHERN LIGHTS CIR               MISSISSAUGA ON                           L5R 2P6 CANADA
M PEREZ                                          BOX 234                                                                                           BECKEMEYER         IL    62219‐0234
M PRISCILLA HILL                                 30560 BRENTWOOD ST                                                                                SOUTHFIELD         MI    48076‐1575
M R CONN                                         4227 PEACE HAVEN                                                                                  BATAVIA            OH    45103‐2016
M R JOHNSON                                      PO BOX 414                                                                                        ROCKMART           GA    30153‐0414
M R MCDONALD                                     205 LESTER AVE                                                                                    YAKIMA             WA    98902
M R MILLER‐CARTER CUST JACKSON M CARTER UTMA     914 WILLIAM AVE                                                                                   NORTH PLATTE       NE    69101
NE
M R QUALLS & YVONNE R QUALLS JT TEN              883 CR 1046                                                                                       MT HOME            AR    72653‐7338
M RAMOS                                          #149 CALLE 7 URB VILLAMAR              ISLA VERDE                               979 PUERTO RICO
M REED KNIGHT JR                                 1900 LYNN COVE LANE                                                                               VIRGINIA BEACH     VA    23454‐1035
M RENEE BLATT & GLENN E BLATT JT TEN             2285 EL MONTE CT                                                                                  GRAND JCT          CO    81503
M REXINE DICKINSON CUST A SCOTT DICKINSON UTMA   118 IROQUOIS TRL                                                                                  MARTINSBURG        WV    25401‐1127
WV
M RICHARD SAUNDERS                               6206 S HEUGHS CANYON DR                                                                           HOLLADAY           UT    84121‐6325
M RICHARD STRAUSS                                101 GARRISON FOREST ROAD                                                                          OWINGS MILLS       MD    21117‐4107
M RICHARD STRAUSS & LEON STRAUSS TR HANNAH       101 GARRISON FOREST RD                                                                            OWINGS MILLS       MD    21117‐4107
STRAUSS UA 5/11/79
M ROBERT ETZWEILER & MRS ANDREA D ETZWEILER      570 GATEHOUSE LANE E                                                                              YORK               PA    17402‐4329
TEN ENT
M ROY SPEZIA TR UA 12/13/91 M ROY SPEZIA TRUST   576 CANTEBURY RD                                                                                  GROSSE POINTE      MI    48236‐1249
                                                                                                                                                   WOOD
M RUSSELL MCKAY                                  2965 STEEPLE HILL CRES RR 2            RICHMOND KOA 220 ON                      K2J 4Y6 CANADA
M RUTH GARRITY                                   126 CAMBRIDGE DR                                                                                  MADISON            MS    39110‐8947
M RUTKOWSKI                                      17 RECTOR ST                                                                                      BEACON             NY    12508‐3314
M S ASHLEY                                       1200 E 18TH ST                                                                                    MUNCIE             IN    47302‐4326
M S HOWELLS & CO                                 20555 N PIMA RD STE# 100                                                                          SCOTTSDALE         AZ    85255‐7153
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M SCOTT ASH & CHERIE O ASH JT TEN                  852 VIA MARQUESA                                                                               CAMARILLO        CA    93012‐0925
M SHARON ELLSWORTH                                 970 TIMBER GROVE RD                                                                            SHAVERTOWN       PA    18708‐9561
M SPRINGER                                         18487 WASHBURN                                                                                 DETROIT          MI    48221‐1929
M STEVEN KHOURY & LISA ANNE KHOURY JT TEN          2370 POND VALLEE                                                                               OAKLAND          MI    48363‐2946
M SUE SPRENGER TR UA 02/06/90 M SUE SPRENGER       18813 TRAVERSE ST                                                                              TRAVERSE CITY    MI    49686‐9761
TRUST
M SUE WARD & R V WARD JT TEN                       3861 BLUE RIDGE BLVD                                                                           INDEPENDENCE     MO    64052‐2351
M SUE WONG                                         7807 PARK AVE                                                                                  NORTH BERGEN     NJ    07047‐5824
M SUSAN COLEMAN                                    168 BRIARWOOD DR                                                                               SHADY SPRING     WV    25918‐8436
M T MCDONNELL                                      4349 SEDUM GLEN                                                                                WATERFORD        MI    48328‐1152
M T SCOGGINS JR                                    1423 NORTH LEE ST                                                                              GRIFFIN          GA    30223‐1331
M THOMPSON                                         23 WILSON BLVD                                                                                 JACKSON          NJ    08527
M TUZUN AKSAR                                      PO BOX D                                                                                       HUNTINGDON       PA    16652‐0727
M VANLEER CANNON JR                                415 N EAGLES BLF                                                                               ALPHARETTA       GA    30022‐5417
M W SNYDER                                         223 SHERRY STREET                                                                              WOODBRIDGE       NJ    07095‐1741
M W WARWICK & R A WARWICK CUST C M WARMICK         210 SYCAMORE RD                                                                                SEVERNA PARK     MD    21146‐3648
UTMA MD
M W WARWICK & R A WARWICK CUST C M WARWICK         210 SYCAMORE RD                                                                                SEVERNA PARK     MD    21146‐3648
UGMA MD
M WALLENBERG                                       281 CRESCENT DR                                                                                CHICAGO HTS      IL    60411‐2517
M WOODS                                            108 CARDINAL AVE                                                                               MANTUA           NJ    08051‐1384
M YVES MAHER                                       7729 PIERRE DE COUBERTIN AVE         MONTREAL QC                             H1L 2B3 CANADA
MA N ARMADA                                        21555 HIDDENBROOK                                                                              MISSION VIEJO    CA    92692‐3041
MAAROUF B KHOURI                                   #2109 COOPER RD                                                                                LANSING          MI    48910‐2464
MABEL A CAMPBELL                                   600 WEST 111TH ST                                                                              NEW YORK         NY    10025‐1813
MABEL A HARRIS & STEVEN G ARMSTEAD JT TEN          4903 N HERMITAGE AVE                 APT 2                                                     CHICAGO          IL    60640‐3463
MABEL A JANES TR MABEL A JANES TRUST UA 01/25/95   5627 KNOLLWOOD RD                                                                              BETHESDA         MD    20816‐1351

MABEL A MATHEWS                                    PO BOX 68                                                                                      FAIRFIELD        IL    62837‐0068
MABEL A MONKS                                      70 GRANT AVE                                                                                   POMPTON LAKES    NJ    07442‐1115
MABEL A PENNINGTON                                 12350 EAGLE RD                                                                                 NEW LEBANON      OH    45345‐9123
MABEL A PYLES                                      813 MARION ST                                                                                  SHEFFIELD LAKE   OH    44054‐2129
MABEL ACOSTA                                       2 ICHABOD LANE                                                                                 OSSINING         NY    10562‐2202
MABEL ALICE STARKEY                                13188 CLIO RD                                                                                  CLIO             MI    48420‐1029
MABEL AUSTIN                                       286 ROXANNE DR                                                                                 HOWELL           MI    48843‐2470
MABEL B BROWN                                      632 LITTLE MEADOW DR                                                                           DAYTON           OH    45404‐1448
MABEL B SMITH                                      17361 MANSFIELD ST                                                                             DETROIT          MI    48235‐3525
MABEL B TAYLOR                                     20071 STOUT ST                                                                                 DETROIT          MI    48219‐2065
MABEL B WILSON                                     372 SHIVERS GREEN RD                                                                           RIDGEWAY         SC    29130‐9229
MABEL BLAKELY TR UA 05/13/93 BEVERLY K BLAKELY     80 CUSHMAN AVE                                                                                 E PROVIDENCE     RI    02914
FAMILY TRUST
MABEL C SWANSON                                    C/O BETTY LUGARI                     93 IRVING AVE                                             TARRYTOWN       NY     10591‐3709
MABEL CALEY KELLEY CARLTON                         9229 COUNTY ROAD 45                                                                            MARION JUNCTION AL     36759‐3009

MABEL COMBS                                        211 WEST 13TH STREET                                                                           NEWPORT          KY    41071‐2314
MABEL D COLEMAN                                    11024 DEEP BRANCH PL                                                                           MAXTON           NC    28364
MABEL D DURHAM                                     2636 BANNER AVE                                                                                DEARBORN         MI    48124‐3155
MABEL D ONEIL                                      1355 CHURCHILL HUBBARD RD                                                                      YOUNGSTOWN       OH    44505‐1346
MABEL E GRAU                                       2371 CARI CT                                                                                   HUNTINGTOWN      MD    20639‐9608
MABEL E HOLTON                                     308 SOUTHLAND RD                                                                               HUNTERSVILLE     NC    28078‐9083
MABEL E MAJORS                                     4691 FISHERMANS COVE                                                                           DUMFRIES         VA    22025
MABEL E MILLS                                      RR 5 BOX 385‐A4                                                                                MARTINSBURY      WV    25401‐9300
MABEL E OLSON                                      BOX 166                              204 HETTMAN ST                                            NORWALK          WI    54648‐8247
MABEL E PICKELL                                    3225 E TOWNLINE RD EAST                                                                        BIRCH RUN        MI    48415‐9074
MABEL F ZIEGLER                                    345 HENDERSON COURT                                                                            MARCO ISLAND     FL    34145‐1814
MABEL G THOMPSON                                   644 OLD M‐30                                                                                   GLADWIN          MI    48624‐8399
MABEL GARBER YOUNG                                 2724 CHURCHFIELD AVE                                                                           STAUNTON         VA    24401
MABEL GLOVER                                       412 N 8TH ST                                                                                   MCALLEN          TX    78501‐2616
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Name                                              Address1                               Address2               Address3         Address4          City              State Zip

MABEL H BLANCHARD & NORMAN H BLANCHARD JT TEN 11 MOUNTAIN VIEW DR                                                                                  HAMPDEN           ME    04444

MABEL H PALO                                      4800 PALMYRA RD SW                                                                               WARREN            OH    44481‐9784
MABEL HAMMERSMITH                                 120 SOUTH BRAINARD ST                                                                            NAPERVILLE        IL    60540‐4904
MABEL I BENNETT                                   998 ACORN BAY DRIVE                                                                              GALLOOWAY         OH    43119‐8505
MABEL I BENNETT & JOHN M EWALD JT TEN             998 ACORN BAY DRIVE                                                                              GALLOWAY          OH    43119‐8505
MABEL I HALL                                      174 HIGHWAY 1498 NORTH                                                                           KITE              KY    41828‐8848
MABEL I WALKER                                    650 W ADRIAN ST 144                                                                              BLISSFIELD        MI    49228‐1060
MABEL J BANG & BEVERLY B BANG & MURIEL L STOLEN   5916 PINE VIEW DRIVE                                                                             SIOUX CITY        IA    51106‐5430
JT TEN
MABEL J HILLMAN                                   3107 ORLEANS DR                                                                                  KOKOMO            IN    46902‐3950
MABEL J MC PHAIL                                  2635 W KEOGH AVE                                                                                 VISALIA           CA    93291‐4336
MABEL J WILLIAMS                                  12608 CORBETT                                                                                    DETROIT           MI    48213‐1869
MABEL K JACKSON                                   1305 ROSEBERRY PL                                                                                CONCORD           NC    28025‐8971
MABEL K POORMAN                                   27783 CENTER DR APT 252                                                                          MISSION VIEJO     CA    92692
MABEL KALENIC                                     3606 N 84TH ST                                                                                   MILWAUKEE         WI    53222‐2804
MABEL L CONDREY                                   5820 FIELDSTONE DR                                                                               RICHMOND          VA    23234‐4014
MABEL L SMITH & JOAN S LINDGREN JT TEN            1511 NW 28TH ST                                                                                  GAINESVILLE       FL    32605‐5037
MABEL L TORGL TR MABEL L TORGL REVOCABLE LIVING   27321 LITTLE MACK AVE                                                                            ST CLAIR SHORES   MI    48081‐1841
TRUST UA 02/10/98
MABEL LEE JONES                                   PO BOX 396                                                                                       WAYNESVILLE       MO    65583‐0396
MABEL M EVANS & R JAMES EVANS JT TEN              2340 E FULTON                                                                                    GRAND RAPIDS      MI    49503
MABEL M HOLLOWAY                                  402 NORTH 13TH STREET                                                                            SAGINAW           MI    48601‐1608
MABEL M TESSMER TR MABEL M TESSMER REVOCABLE      7684 NORTH STILLWATER WAY                                                                        OAKDALE           MN    55128‐4022
TRUST UA 6/26/98
MABEL MCCULLOUGH                                  11779 SAINT PATRICK ST                                                                           DETROIT         MI      48205‐3717
MABEL N THORPE                                    3585 ROUND BARN BLVD                   APT 316                                                   SANTA ROSA      CA      95403‐0150
MABEL P LEVI                                      1615 TAFT HIGHWAY                                                                                SIGNAL MOUNTAIN TN      37377‐3245

MABEL R HARMON                                    1108 BLACKBEARD DR                                                                               STAFFORD          VA    22554‐2006
MABEL R WILLIAMS & STEWART MCBRIDE & RUTH         6437 GLENN HWY                                                                                   CAMBRIDGE         OH    43725‐8768
MCBRIDE JT TEN
MABEL RUSAK                                       59 B 4 SANDRA CIRCLE                                                                             WESTFIELD         NJ    07090
MABEL S HENRY                                     8760 SAND LAKE CT                                                                                LAKE WORTH        FL    33467‐1719
MABEL S MURPHY & EDWARD S MURPHY JT TEN           1455 EAST GENTILE ST                                                                             LAYTON            UT    84040
MABEL S RUTHERFORD                                8944 WINDING WAY                                                                                 GERMANTOWN        TN    38139‐6617
MABEL S WILLIAMS                                  12418 BENHAM                                                                                     CLEVELAND         OH    44105‐1914
MABEL SANGUINEDO                                  145 LINCOLN AVE                        APT 7 F                                                   ANNADALE STATEN   NY    10306‐3338
                                                                                                                                                   IS
MABEL SEPPELL                                  5 MARLBORO LANE                                                                                     YONKERS           NY    10710‐4409
MABEL THOMAS                                   ATTN D PAXTON                             626 DEARBORN ST #186                                      REDLANDS          CA    92374‐3951
MABEL TODD NEUBAUER                            305 MOUNTAIN ESTATE DR                                                                              PASADENA          MD    21122‐1190
MABEL V HILL                                   5294 EASTLAWN                                                                                       DETROIT           MI    48213‐3710
MABEL W FRAZER                                 BOX 228                                                                                             MIDLAND           NC    28107‐0228
MABEL W SMITH                                  8 GREYSTONE AVE                                                                                     PHILLIPSBURG      NJ    08865‐1716
MABEL WESTBAY TR MABEL WESTBAY LIVING TRUST UA 2736 BEECHMONT PLACE                                                                                DALLAS            TX    75228‐4318
04/24/00
MABEL WILLIS BAKER                             1303 RAVENWOOD COURT                                                                                DERBY             KS    67037
MABELLE B TUCKER                               121 SHERWOOD ST                                                                                     PROVIDENCE        RI    02908‐1617
MABELLE L WENTWORTH                            18 GORHAM ST APA                                                                                    SOMERVILLE        MA    02144‐2728
MABELLE P ANDERSON                             182 CREEKWOOD CIR                                                                                   LINDEN            MI    48451‐8935
MABLE A INMAN                                  3900 HAMMERBERG RD                        APT 315                                                   FLINT             MI    48507‐6026
MABLE ASCH                                     PO BOX 829                                                                                          YONKERS           NY    10704‐0829
MABLE B MCARTHUR                               PO BOX 668                                                                                          FAYETTE           MS    39069‐0668
MABLE BOSTIC                                   144 MELWOOD AVE                                                                                     DAYTON            OH    45417‐1403
MABLE BROADWATER                               5504 12TH AVE                                                                                       VIENNA            WV    26105‐3214
MABLE C WHEELER                                5128 E MOUNTAIN VIEW RD                                                                             PARADISE VLY      AZ    85253‐1543
MABLE CARTHAN                                  1637 GENESSEE AVE                                                                                   COLUMBUS          OH    43211‐1547
MABLE D DYER                                   2973 NURICK DR                                                                                      CHATTANOOGA       TN    37415‐6104
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MABLE E HUMPHREY                                3317 W 80TH ST                                                                                 INGLEWOOD        CA    90305‐1353
MABLE E MILLER                                  4117 FLEMING RD                                                                                FLINT            MI    48504‐2127
MABLE ECHOLS                                    9622 S WENTWORTH                                                                               CHICAGO          IL    60628‐1352
MABLE H BOGARDUS                                7925 MAPLEHILL RD                                                                              HOWARD CITY      MI    49329‐9753
MABLE I ARMSTRONG                               9931 STATE ROAD 33 NORTH                                                                       POLK CITY        FL    33868‐9472
MABLE I WOOD                                    1404 N GIBSON                                                                                  INDIANAPOLIS     IN    46219‐4118
MABLE J CRAIG                                   PO BOX 65                                                                                      KILLEN           AL    35645‐0065
MABLE J JOHNSON TR MABLE J JOHNSON REV TRUST UA 211 B KNOLL CIRCLE                                                                             CRAWFORDSVILLE   IN    47933‐6543
2/12/02
MABLE JACKSON                                   3390 HALIFAX                                                                                   INDIANAPOLIS     IN    46222‐2121
MABLE K YOUNG                                   C/O MILLS                          324 E S F ST                                                GAS CITY         IN    46933‐1843
MABLE L CARTHAN                                 1637 GENESSEE AVE                                                                              COLUMBUS         OH    43211‐1547
MABLE L DECKER                                  1513 WEXFORD DRIVE                                                                             DAVISON          MI    48423‐8345
MABLE L EVANS                                   1239 CRANBERRY PIKE                                                                            EAST TAWAS       MI    48730‐9654
MABLE L RAMEY                                   4411 NORTHEAST 63RD ST                                                                         KANSAS CITY      MO    64119‐5050
MABLE L WEBSTER & GARLAN J WEBSTER JT TEN       3702 MEADOW VIEW DR                                                                            KOKOMO           IN    46902‐5077
MABLE LANGSTON                                  1907 LAUREL OAK DR                                                                             FLINT            MI    48507‐6038
MABLE M ANSPAUGH                                2075 HEATH ROAD                                                                                LUPTON           MI    48635‐9711
MABLE M CHASTAIN                                4017 S SHELDON RD                                                                              CANTON           MI    48188‐2510
MABLE OLIVA                                     8074 S ZEPHYR WAY                                                                              LITTLETON        CO    80128‐5534
MABLE PERINO                                    201 CAPRA WAY                                                                                  SAN FRANCISCO    CA    94123‐1504
MABLE T DILWORTH                                1101 SOUTH MAIN ST                 HANLEY FARM CARRIAGE HOUSE                                  WARREN           RI    02885‐4351
MABLE WALLACE                                   1739 N KING AVE                                                                                INDIANAPOLIS     IN    46222‐2853
MABRON W CLEM & MRS BARBARA A CLEM JT TEN       1005 E TWINBROOK                                                                               DEWITT           MI    48820‐8327

MAC FARLAND MOTOR COMPANY INC                   ATTN CAROLYN H FISCHER             30 HAMPTON LN                                               CINCINNATI       OH    45208‐1960
MAC GRIFFIN                                     PO BOX 1780                                                                                    SOUTHGATE        MI    48195‐0780
MAC MARSH                                       110 BLOSSOM                                                                                    NILES            OH    44446‐2031
MAC MARSHALL JR & MRS SHIRLEY M MARSHALL JT TEN 1733 GRAND CYPRESS AVE                                                                         KISSIMMEE        FL    34758‐2316

MAC PHERSON EATON                              BOX 2316                            WOLFVILLE NS                            B4P 2N5 CANADA
MAC S GREEN                                    817 WADE CIR                                                                                    MARYVILLE        TN    37801‐2118
MAC WEISS                                      267 WEST ST                                                                                     WEYMOUTH         MA    02188‐1116
MACAFEE RANDALL                                3716 OAKMOUNT DR                                                                                ST LOUIS         MO    63121‐4812
MACARIO VARGAS                                 3361 LAPEER ST                                                                                  SAGINAW          MI    48601‐6371
MACARIO YBARRA                                 1302 WATSON ST                                                                                  GRAND PRAIRIE    TX    75051‐4281
MACARTHUR G FRANKLIN                           112 HAWTHORNE CIR                                                                               WILLOW STREET    PA    17584‐9742
MACARTHUR WEATHERSPOON                         2133 55TH AVE                                                                                   SACRAMENTO       CA    95822‐4110
MACDONALD DOMKE & NANCY L DOMKE JT TEN         4030 ALETHA LANE                                                                                PORT HURON       MI    48060‐1735
MACDONALD T DORSEY                             6805 ORCHARD BLVD                                                                               PARMA HTS        OH    44130‐4233
MACDUFFIE CLARK JR                             PO BOX 535                                                                                      CANDOR           NC    27229
MACE C COUGHENOUR                              323 EAST END ROAD                                                                               CONNELLSVILLE    PA    15425‐9362
MACE G BAUER                                   22S SW STAFFORD CT                                                                              LAKE CITY        FL    32024
MACEL COOK                                     PO BOX 276                                                                                      POWELLTON        WV    25161‐0276
MACEL K WINFREE                                308 GAP VIEW DR                                                                                 CHARLESTON       WV    25306‐6824
MACEL M JONES                                  BOX 121 RHODES TD                                                                               EDEN             NC    27289‐0121
MACEO EDWARD SIMMONS                           120 GLEN IRIS PL                                                                                JACKSON          MS    39204‐4410
MACEO MEDLEY                                   4565 JAYWOOD                                                                                    SILVERWOOD       MI    48760‐9751
MACEO R NICHOLS                                4220 TOWANDA AVE                                                                                BALTIMORE        MD    21215‐6627
MACGREGOR E POLL                               156 N BERWICK LANE                                                                              FRANKLIN         TN    37069‐7131
MACHAN BAKER & DONALD BAKER JT TEN             121 DEERWOOD CIR                                                                                WARNER ROBINS    GA    31088
MACHANA ONTIRI                                 PO BOX 28595 ‐ 00100 GPO            NAIROBI                                 KENYA
MACHELLE A HAYES                               1068 OLYMPIA DR                                                                                 ROCHESTER        MI    48306‐3786
MACHELLE COFIELD                               25748 NORTHERN DANCER CT                                                                        CHANTILLY        VA    20152‐1951
MACIE JONES JOCHEM                             101 PHAUFF CT                                                                                   CARY             NC    27513‐4240
MACIE REYNOLDS                                 833 EAST HOLMES                                                                                 LIMA             OH    45804‐2637
MACIL E TENNEY                                 6052 COLE DR                                                                                    NEWAGO           MI    49337‐8713
MACK A BREEDING                                3306 RICHTON                                                                                    DETROIT          MI    48206‐1043
MACK A COOPER                                  BOX 298                                                                                         ALLARDT          TN    38504‐0298
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Name                                              Address1                            Address2             Address3           Address4          City            State Zip

MACK A DEVER                                      5870 W HOMESTEAD DR                                                                           FRANKTON        IN    46044‐9481
MACK A HYATT                                      233 GRANGE HALL RD                                                                            ORTONVILLE      MI    48462‐8836
MACK A KIDD                                       3431 EBENEZER RD                                                                              CINCINNATI      OH    45248‐3018
MACK A YARBROUGH & MACK A YARBROUGH JT TEN        4509 SELBY ST                                                                                 FLINT           MI    48505‐3654

MACK AZINGER CUST ALLEGRA AZINGER UGMA WI         W65N669 ST JOHN AVE                                                                           CEDARBURG       WI    53012

MACK AZINGER CUST ALLEGRA NAPUA AZINGER UGMA      W 65 N 669 SAINT JOHN AVE                                                                     CEDARBURG       WI    53012‐1939
HI
MACK AZINGER CUST K GUS AZINGER UGMA WI           W65N669 SAINT JOHN AVE                                                                        CEDARBURG        WI   53012
MACK B PRICE                                      8775 SW 211TH CIR                                                                             DUNNELLON        FL   34431‐5638
MACK C LONG & RAE M LONG JT TEN                   PO BOX 25                                                                                     DAGSBORO         DE   19939‐0025
MACK C TOLIVER                                    3244 N GARRISON AVE                                                                           TULSA            OK   74106‐1808
MACK COMBS & SENORA COMBS JT TEN                  PO BOX 4404                                                                                   LAGRANGE         GA   30241
MACK D ARRINGTON                                  17196 PRAIRIE                                                                                 DETROIT          MI   48221‐2619
MACK D STRATTON                                   3712 WEST 103 ST                                                                              CLEVELAND        OH   44111‐3813
MACK DAN LEWIS CUST DANE T LEWIS UTMA NY          65 MAIN ST                                                                                    GERMANTOWN       NY   12526‐5635
MACK DAN LEWIS CUST NOLAN T LEWIS UTMA NY         65 MAIN ST                                                                                    GERMANTOWN       NY   12526‐5635
MACK DAVIS JR                                     1505 N 62ND                                                                                   KANSAS CITY      KS   66102
MACK E BROOKS JR                                  26222 CORNWALL CT                                                                             SOUTHFIELD       MI   48076‐4785
MACK E GREEN                                      27803 CHESWICK DR                                                                             FARMINGTON HILLS MI   48334‐3259

MACK E LEONARD                                    1094 AMITE LINE RD                                                                            SUMMIT          MS    39666
MACK E SCOTT & VEDA M SCOTT & VENITA F SCOTT JT   1319 W 107TH ST                                                                               LOS ANGELES     CA    90044
TEN
MACK F FULLER                                     345 BLACK OAK DR                                                                              PETALUMA        CA    94952‐6127
MACK H SLUSS                                      245 GRANT                                                                                     WABASH          IN    46992‐1105
MACK H WICKS                                      1891 12TH ST                                                                                  CUYAHOGA FALL   OH    44223‐2401
MACK J BRADLEY                                    PO BOX 261                                                                                    PONTIAC         MI    48053
MACK J GAMBLE                                     17 JUDSON TER                                                                                 ROCHESTER       NY    14611‐3107
MACK KELLY                                        330 MITCHELL LN                                                                               DANVILLE        KY    40422‐9770
MACK L DAVIS                                      14078 RIDGEMONT                                                                               GREGORY         MI    48137‐9665
MACK L DRISKELL                                   5986 AVENUE OF THE PALMS                                                                      BROOKSVILLE     FL    34607‐1303
MACK L FOLSE                                      1001 TRAILWOOD DRIVE                                                                          HURST           TX    76053‐4915
MACK L STROMAN                                    1224 TENOR PL                                                                                 INDIANAPOLIS    IN    46231‐4264
MACK LYON                                         11228 TAMARRON PL                                                                             PARKER          CO    80138‐3117
MACK M BRYANT                                     378 W STEVENS ST #D                                                                           COOKEVILLE      TN    38501‐5943
MACK M GARDINER                                   2876 SCENIC DR                                                                                MARION          OH    43302‐8471
MACK MAHO CUST DAVID A MAHO UGMA CA               1278 SAN ANTONIO CREEK RD                                                                     SANTA BARBARA   CA    93111‐1314
MACK O BLACKBURN                                  1203 OAKWOOD TRAIL                                                                            INDIANAPOLIS    IN    46260‐4024
MACK P NELSON                                     6600 DODSON RD                                                                                BROOKVILLE      OH    45309‐9748
MACK REESE                                        1410 W 15TH ST                                                                                ANDERSON        IN    46016‐3320
MACK REYNOLDS                                     HIGHWAY 36 WEST                     202N SMYRNA ROAD                                          SEARCY          AR    72143‐9480
MACK V FIELDS                                     7901 W 81ST PL                                                                                BRIDGEVIEW      IL    60455‐1634
MACK W BAILEY                                     PO BOX 206                                                                                    TONGANOXIE      KS    66086‐0206
MACK W BALKMAN                                    4704 CEDAR ROCK COURT                                                                         COLUMBIA        MO    65203
MACK W SMITH                                      7259 N ELMS ROAD                                                                              FLUSHING        MI    48433‐8802
MACK WASSON MCCAREL                               1414 SUL ROSS ST                                                                              HOUSTON         TX    77006‐4830
MACK WEATHERALL                                   18571 FIELDING ST                                                                             DETROIT         MI    48219‐2599
MACK WEATHERLY                                    1721 S 5TH AVE                                                                                MAYWOOD         IL    60153‐2134
MACKENZIE ELIZABETH PEFFLEY                       1552 TERRAWENDA DRIVE                                                                         DEFIANCE        OH    43512‐3708
MACKENZIE J LYERLY                                10020 CATLINA                                                                                 OVERLAND PARK   KS    66207‐3620
MACKENZIE L GERBER                                14418 SIMPLICITY PKWY               APT 2B                                                    CARMEL          IN    46033‐8453
MACKIE R ROBERTS                                  1431 BERNWALD LN                                                                              DAYTON          OH    45432‐3221
MACKLIN M JONES                                   26055 ASHTON LN                                                                               ARDMORE         TN    38449‐3367
MACKLIN S GROVE                                   37 W WALNUT ST                                                                                JEFFERSON       OH    44047‐1041
MACLOVIO J GARCIA                                 21737 N CENTER ST                                                                             NORTHVILLE      MI    48167‐2113
MACON MCGINNIS                                    72 BRACKENHILL RD                                                                             HAMBURG         NJ    07419
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MACQUELINEN MEYER & WILLIAM A MEYER JT TEN      3097 NORTH STREET RT 123                                                                         LEBANON            OH    45036‐9143

MACREAY JOHN LANDY                              PO BOX 424                                                                                       FITZWILLIAM        NH    03447‐0424
MACY N BELVIN                                   35000 SCIO BOWERSTON RD                                                                          BOWERSTON          OH    44695
MACY P SELKIRK                                  1557 EAGLE DR                                                                                    ASHLAND            KY    41102‐8988
MADALINE C LECHNER & DAVID C LECHNER JT TEN     951 N ESPLANADE                                                                                  MOUNT CLEMENS      MI    48043‐6406

MADALINE E JOHNSON                              680 VALLEY VIEW ROAD                                                                             INDIAN SPRINGS     AL    35124‐3649
MADALINE GASPARRO                               12 BALTRASOL DR                                                                                  JACKSON            NJ    08527‐3991
MADALINE M LEONICK & LEONARD LEONICK JT TEN     210 MAPLE AVE                                                                                    MONROE             NY    10950‐1437

MADALINE R VANSANT                              2423 LORI LANE                                                                                   WILMINGTON         DE    19810‐3405
MADALINE T BUCKNER                              16734 FIELDING                                                                                   DETROIT            MI    48219‐3377
MADALINE V THOMPSON                             8096 E COUNTY ROAD 500 S                                                                         COATESVILLE        IN    46121‐9643
MADALON ANN DELONG                              5030 DRIVEMERE                                                                                   HILLIARD           OH    43026‐1515
MADALYNNE M THOMPSON                            52 GOODRICH RD                                                                                   FOSTORIA           MI    48435‐9701
MADELENE ELAINE SMITH                           4960 BROWN ROAD                                                                                  VASSAR             MI    48768‐9103
MADELENE M LONG                                 834 CUTTER CT                                                                                    KURE BEACH         NC    28449‐4901
MADELIENE M BOSLEY                              1343 PENHURST RD                                                                                 CLEVE              OH    44110‐2841
MADELINE A CAIRO                                5228 S NARRAGANSETT AVE                                                                          CHICAGO            IL    60638‐1343
MADELINE A CAMPO                                2203 SE ROUND TABLE DR                                                                           PORT SAINT LUCIE   FL    34952‐4707
MADELINE A GECEWICZ                             194 REBECCA PARK                                                                                 BUFFALO            NY    14207‐1833
MADELINE A HARTMAN                              13381 WARD                                                                                       SOUTHGATE          MI    48195‐1062
MADELINE A KIMPLING TR MADELINE A KIMPLING      205 W LINCOLN                                                                                    CLAREMONT          IL    62421‐2531
LIVING TRUSTUA 5/03/00
MADELINE ANDONIAN & SONIA SIMONIAN JT TEN       5051 AMESTOY                                                                                     ENCINO             CA    91316‐3409
MADELINE ARNOLD DUNN & MERIL L DUNN SR JT TEN   408 EAST 4TH ST                                                                                  LAUREL             DE    19956‐1552

MADELINE B FOWLER                             22355 PROVIDENCE VILLAGE DR                                                                        STERLING           VA    20164‐3270
MADELINE BERMAN TR REVOCABLE LIVING TRUST     6888 LISMORE AVE                                                                                   BOYNTON BEACH      FL    33437‐6415
09/24/91 U‐A MADELINE BERMAN
MADELINE C BORSUK CUST BENNETT BRANDON BORSUK 8277 LAKE PINE DR                                                                                  COMMENCE TWP       MI    48382‐4528
UGMA MI
MADELINE C BORSUK CUST QUINN CANDACE BORSUK   8277 LAKE PINE DR                                                                                  COMMENCE TWP       MI    48382‐4528
UGMA MI
MADELINE C CICERO                             15 EXETER LANE                                                                                     MORRISTOWN        NJ     07960‐6382
MADELINE C KENNEY                             30 SMULL AVE                                                                                       CALDWELL          NJ     07006‐5012
MADELINE C KOCH                               134 CANNA RD                                                                                       INDIANAPOLIS      IN     46217‐3831
MADELINE C LINGEMAN                           304 ACRE AVE                                                                                       BROWNSBURG        IN     46112‐1354
MADELINE C STATILE PETRILLI                   6A WASHINGTON AVENUE                                                                               SPRINGFIELD       NJ     07081‐3546
MADELINE CHURCH LAI                           11460 SOUTHWEST 80TH ST                                                                            MIAMI             FL     33173‐3602
MADELINE CLAIRE SMOLEY                        1298 WALDEN RD #204                                                                                WALNUT CREEK      CA     94596
MADELINE E BAAR                               204 N ADDISON                                                                                      INDIANAPOLIS      IN     46222‐4138
MADELINE E FLEMING                            407 JEFFREYS DRIVE                                                                                 ELIZABETH         PA     15037‐2833
MADELINE E FLEMING & JACOB R FLEMING JT TEN   407 JEFFREY DR                                                                                     ELIZABETH         PA     15037‐2833
MADELINE E KEAGLE PECK                        BOX 36045                                                                                          DENVER            CO     80236‐0045
MADELINE E PAUL                               10 CANAL ST                              UNIT 409                                                  NORTH BERWICK     ME     03906‐6790
MADELINE E SCOTT                              4772 BRIDGEFIELD DR                                                                                INDIANAPOLIS      IN     46254‐9598
MADELINE F WEBER                              7125 CARMAE RD                                                                                     SYKESVILLE        MD     21784‐7716
MADELINE G WARREN                             7361 GRANDWOOD DRIVE                                                                               SWARTZ CREEK      MI     48473‐9416
MADELINE GADALETA & MICHAEL FAZIO JT TEN      18 HEDGEROW LN                                                                                     GREENWICH         CT     06831‐3340
MADELINE H BLOOD & CHARLES R BLOOD JT TEN     12 MEADOW DR                                                                                       SOUTH GLENS FALLS NY     12803‐5481

MADELINE H MARTIN                               1293 KAREN WAY NW                                                                                SALEM              OR    97304‐2947
MADELINE H QUILLEN                              370 SCHOOL ST                                                                                    HOUSTON            DE    19954‐2208
MADELINE HARCOURT                               1219 RYCROFT STREET                                                                              HONOLULU           HI    96814‐2946
MADELINE HART EX UW LOYD PIERCE BEVINS          RTE 2 BOX 201                                                                                    ROCK               WV    24747‐9636
MADELINE HODSON                                 1015 SOUTH BELL STREET                                                                           KOKOMO             IN    46902
MADELINE I SHELDON                              230 EAST MAPLE STREET                                                                            CEDAR SPRINGS      MI    49319
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MADELINE J COOK                                   3941 24TH STREET SE                                                                           RUSKIN          FL    33570
MADELINE J LEASE                                  7 N HIGHLAND AVE                                                                              BALTIMORE       MD    21224‐1406
MADELINE J PLUMMER                                3244 WOODBINE AVE SE                                                                          WARREN          OH    44484
MADELINE J RHYNARD                                4390 MILLINGTON ROAD                                                                          MILLINGTON      MI    48746‐9005
MADELINE J TUBB                                   APT 128                             199 HILLCROFT ST     OSHAWA ON          L1G 2L7 CANADA
MADELINE JEAN REED                                7709 CEDAR CANYON PL NE                                                                       ALBUQUERQUE     NM    87122‐1631
MADELINE JEAN TRIMBY                              123 WINDYRUSH LN                                                                              DEWITT          MI    48820‐9599
MADELINE KING SHORT                               621 MEHRING WAY 1808                                                                          CINCINNATI      OH    45202‐3531
MADELINE KRASNOPOLSKI                             485 ANDREWS RD                                                                                MINEOLA         NY    11501‐1003
MADELINE L FEHLNER                                PO BOX 16183                                                                                  ROCHESTER       NY    14616‐0183
MADELINE L FEHLNER & THEODORE FEHLNER JT TEN      PO BOX 16183                                                                                  ROCHESTER       NY    14616‐0183

MADELINE L REPH                                   658 STAGECOACH DR                                                                             CHERRYVILLE     PA    18035‐9700
MADELINE LAWSON SMITH                             2900 AUTUMN DR                                                                                CANTON          GA    30114‐9342
MADELINE LEWIS                                    1729 E 61ST ST                                                                                LONG BEACH      CA    90805‐3603
MADELINE M ACKER & GARY F ACKER JT TEN            20 BARE HILL RD                                                                               FRAMINGHAM      MA    01702‐5811
MADELINE M BABETTE                                4 WINDING BROOK DR                                                                            SARATOGA SPGS   NY    12866‐6488
MADELINE M ENGL                                   1011 W 86TH ST                                                                                DOWNERS GROVE   IL    60516‐4818
MADELINE M GARDNER                                78TUNISON ROAD                                                                                NEW BRUNSWICK   NJ    08901‐1656
MADELINE M GRIFFIN & GERALD G GRIFFIN JT TEN      49 CLIFTON ST                                                                                 MANCHESTER      NY    14504‐9733

MADELINE M HOLT                                   3303 ROYAL OAK DR S                                                                           MULBERRY        FL    33860‐8439
MADELINE M MEIER                                  290 LOCUST AVE                                                                                CORTLANDT       NY    10567‐1302
                                                                                                                                                MANOR
MADELINE M NEEDLE                             205 WILCREST RD                                                                                   ROARING BK TP   PA    18444‐7789
MADELINE M ORTEGA                             18695 SANTA ROSA                                                                                  DETROIT         MI    48221‐2246
MADELINE M WU & CHUN‐TEH WU JT TEN            3436 PINE HAVEN CIRCLE                                                                            BOCA RATON      FL    33431‐5404
MADELINE MACKEY                               PO BOX 242                                                                                        DALHART         TX    79022‐0242
MADELINE MARY WYNN                            12 LAKE PLACID PLACE                                                                              PALM COAST      FL    32137‐9504
MADELINE MAY MARMORA & EMILE D MARMORA JT     38 NOTTINGHAM WAY                                                                                 JACKSON         NJ    08527‐4375
TEN
MADELINE MEYEROWITZ                           28 DROMARA RD                                                                                     SAINT LOUIS     MO    63124‐1815
MADELINE MILLIN                               15 SWEET FERN DR                                                                                  CRANSTON        RI    02921‐1355
MADELINE MISENER                              6082 LAKE RD                                                                                      MILLINGTON      MI    48746‐9209
MADELINE N MCDONALD & DENISE M MCDONALD‐      1681 WILLOW CIRCLE DR                   APT 104                                                   CREST HILL      IL    60403‐0941
BURUSE JT TEN
MADELINE N MCDONALD & KEVIN A MCDONALD JT TEN 1681 WILLOW CIRCLE DR                   APT 104                                                   CREST HILL      IL    60403‐0941

MADELINE P EYSTER TR UA 09/16/91 THE MADELINE P   1017 OSAGE DRIVE                                                                              PITTSBURGH      PA    15235‐2744
EYSTER TRUST
MADELINE R BARTON                                 2003 WREN ROAD                                                                                NORTH AUGUSTA    SC   29841‐3193
MADELINE R DUNBAR                                 200 BECKER AVE                                                                                WILMINGTON       DE   19804‐2236
MADELINE RODER & MICHAEL RODER JT TEN             263 76TH STREET N                                                                             SAINT PETERSBURG FL   33710‐7426

MADELINE SAUER CUST ALAN SAUER UGMA NY            132 PALMYRA AVE                                                                               WOODMERE        NY    11598‐1325
MADELINE SAUER CUST MICHAEL B SAUER UGMA NY       132 PALMYRA AVE                                                                               WOODMERE        NY    11598‐1325

MADELINE SHAPIRO                                  3300 SOUTH OCEAN BLVD               APT S 204                                                 PALM BEACH      FL    33480
MADELINE T LANTTO                                 33728 LYNDON                                                                                  LIVONIA         MI    48154
MADELINE V BEEDY                                  20072 SALEM                                                                                   DETROIT         MI    48219‐1043
MADELINE V MELLO                                  10 W YELLOWSTONE DR                                                                           LONDONDERRY     NH    03053‐7430
MADELINE V WINKEL                                 2886 RANDALL AVE                                                                              BRONX           NY    10465‐2428
MADELINE W JOZWIAK & PAUL D KAMINSKI JT TEN       5999 YORKSHIRE                                                                                DETROIT         MI    48224‐2040

MADELINE WALDEN                                1929 E OUTER DRIVE                                                                               DETROIT         MI    48234‐1601
MADELLA S HENDERSON                            2901 N 69TH STREET                                                                               KANSAS CITY     KS    66109‐1849
MADELON G MULCAHEY & MARY CATHERINE GEISLER JT 17 SECOND ST                                                                                     UNIONTOWN       PA    15401‐3142
TEN
MADELYN ANN MCNAMARA                           6015 VERDE TRAIL SOUTH L215                                                                      BOCA RATON      FL    33433
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Name                                             Address1                            Address2                 Address3       Address4          City             State Zip

MADELYN F OAKS                                   3048 E LAKE ROAD                                                                              JAMESTOWN        PA    16134‐4428
MADELYN FORESTO                                  44 LINCOLN STREET                                                                             FAIRVIEW         NJ    07022‐1930
MADELYN G SIEGMUND                               9618 MOORBERRY LANE                                                                           HOUSTON          TX    77080‐5238
MADELYN I MORGAN                                 1425 W WILLIS RD                                                                              SALINE           MI    48176‐9416
MADELYN J FLAMMIA                                688 N PHELPS AVE                                                                              WINTER PARK      FL    32789
MADELYN L COUGHLIN                               20382 WESTHAVE LANE                                                                           ROCKY RIVER      OH    44116‐4059
MADELYN MARTIGNOMI LENHARDT                      1598 MADISON 530                                                                              FREDERICKTOWN    MO    63645
MADELYN MERWIN                                   635 LAKEVIEW DR                                                                               MANTENO          IL    60950‐1214
MADELYN R MESSE                                  2720 COZUMEL DR APT 1514                                                                      MELBOURNE        FL    32935
MADELYN SCHWARTZ                                 APT 304                             7450 NW 17TH ST BLDG 6                                    PLANTATION       FL    33313‐5164
MADELYN SNYDER                                   838 BELLAIRE DR                                                                               BELLEVUE         OH    44811‐1607
MADELYN VIRGA                                    695 PECONIC AVENUE                                                                            WEST BABYLON     NY    11704‐5212
MADELYN WILLIAMS & CLIFFORD L WILLIAMS JT TEN    423 STRINGER GAP RD                                                                           GRANTS PASS      OR    97527‐9530

MADELYNN HARRINGTON & SHEILA HARRINGTON JT      6141 N LOWELL                                                                                  CHICAGO          IL    60646‐5001
TEN
MADGE A MALONE                                  919 MONTGOMERY 2‐7                                                                             BRYN MAWR        PA    19010‐2856
MADGE B FINDERS                                 8 BERKSHIRE DRIVE                                                                              ST CHARLES       MO    63301‐4518
MADGE BARNES TOD ANN WUERTH                     6356 E MORGAN CIRCLE                                                                           WESTLAND         MI    48185‐5834
MADGE F PELICAN                                 6125 HEATHWOOD W                                                                               WHITE LAKE       MI    48383‐3554
MADGE H DUNCAN                                  3525 ATLANTA ROAD SE                                                                           SMYRNA           GA    30080‐5929
MADGE HENDRICKSON                               2002 HOSLER ST                                                                                 FLINT            MI    48503‐4416
MADGE HOLDER                                    802 NW 7TH AVE                                                                                 MINERAL WELLS    TX    76067‐3412
MADGE MCCANE                                    314 STITES AVENUE                                                                              CINCINNATI       OH    45226‐2107
MADGE P BEATTY                                  2472 DEER RIDGE LANE                                                                           N CHARLESTON     SC    29406‐9179
MADGE P THOMAS                                  34972 BI STATE BLVD                                                                            DELMAR           DE    19940
MADHOPERSA BALDEOSINGH                          3533 NW 36TH TER                                                                               LAUD LAKES       FL    33309‐5324
MADHUKAR GUPTA                                  28 KERSLAKE DR                       WINNIPEG MB                             R3P 2J3 CANADA
MADIE O'FARRELL                                 1605 KELLY RD RTE 1                  BOX 1605                                                  WHITTEMORE       MI    48770‐9801
MADILINE LANTTO                                 9419 GILLMAN                                                                                   LIVONIA          MI    48150‐4150
MADISON CEMETERY                                400 N JEFFERSON                                                                                MADISON          MO    65263‐1044
MADISON GUESS                                   3566 FOX                                                                                       INKSTER          MI    48141‐2023
MADISON L DAY                                   1194 BIRD SPRING RD                                                                            HARTSELLE        AL    35640‐8215
MADISON M MC DONALD                             1721 UNIVERSITY DR                                                                             COLUMBIA         TN    38401‐6413
MADLYN R BIAR                                   230 SOUTH BROADWAY                                                                             HUNTINGTON       IN    46750‐3532
MADOLIN A BARRY TOD ARIEL V VANHOOSE SUBJECT TO 4205 SCHOLTZ ROAD                                                                              NORTH BRANCH     MI    48461‐8107
STA TOD RULES
MADOLYN M PALMER                                2002 ATLAS DR                                                                                  TROY             MI    48083‐2663
MADONNA A HONEYSUCKLE                           14741 HIGHWAY 60                                                                               CABOOL           MO    65689‐9771
MADONNA A PHILLIPPI                             727 S 97TH STREET                                                                              WEST ALLIS       WI    53214‐2616
MADONNA C KOZAN                                 3324 EAST LAKE ROAD                                                                            CLIO             MI    48420‐7931
MADONNA C ZIRKLE                                6194 N COUNTY RD 700W                                                                          MIDDLETOWN       IN    47356
MADONNA G DUASO                                 352 GREENBRIAR DRIVE                                                                           RAVENNA          OH    44266‐7713
MADONNA J DAVIS                                 PO BOX 294                                                                                     MONTICELLO       IL    61856‐0294
MADONNA JEAN FUGENT                             2829 NORTHWOOD WAY                                                                             SARASOTA         FL    34234‐5056
MADONNA K MIHORA & NANCY PHILP JT TEN           179 SNOW APPLE LN                                                                              DAVISON          MI    48423‐9139
MADONNA L HILL                                  3379 MILL VISTA ROAD UNIT 426                                                                  HGHLNDS RANCH    CO    80129
MADONNA L ODELL                                 4850 MEADOW BROOK CT                                                                           FLAT ROCK        MI    48134‐9302
MADONNA L SCANNELL                              19230 FORD RD                        APT 513                                                   DEARBORN         MI    48128‐2006
MADONNA M ROWLAND                               115 LATHAM RIDGE RD                                                                            LATHAM           NY    12110‐3025
MADORIS L FRANCIS                               C/O REBECCA S FRANCIS                4433 PAYNE KOEHLER RD                                     NEW ALBANY       IN    47150
MAE A PARENT                                    133 TARA PLACE                                                                                 HENDERSONVILLE   NC    28739‐6121
MAE A ROONEY                                    141 E 88TH ST                                                                                  NEW YORK         NY    10128‐2225
MAE ALICE LYNAUGH                               1425 SHORELINE DR                                                                              SANTA BARBARA    CA    93109‐2070
MAE B MASON                                     250 CR 2244                                                                                    IVANHOE          TX    75447‐4137
MAE BELL DELLAMAGGIORE                          3772 FORT DONELSON DR                                                                          STOCKTON         CA    95219‐3211
MAE BOESCH & JAMES J BOESCH JT TEN              26130 BOESCH                                                                                   INGELSIDE        IL    60041‐9730
MAE C COCHRAN                                   3447 BARTH STREET                                                                              FLINT            MI    48504‐2407
MAE C SWANSON                                   C/O BETTY LUGARI                     93 IRVING AVE                                             TARRYTOWN        NY    10591‐3709
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Name                                           Address1                             Address2                   Address3     Address4          City             State Zip

MAE C WYATT‐MORLEY                             1112 HOLT HILLS PL                                                                             NASHVILLE        TN    37211‐6923
MAE CATHERINE CANTY                            560 CLAIRPOINT WOODS                                                                           DETROIT          MI    48215
MAE CHING WONG TR MAE CHING WONG TRUST UA      45‐928 KEAAHALA PL                                                                             KANEOHE          HI    96744‐3346
05/25/88
MAE D STOKES                                   85 JONES ST                                                                                    FORSYTH          GA    31029‐1691
MAE D WATSON                                   104 VERNON DR                                                                                  PITTSBURGH       PA    15228‐1113
MAE E FRYE                                     30 SOUTH FIFTH ST                                                                              SHAMOKIN         PA    17872‐5706
MAE E HOAK                                     AVOLON APARTMENT 501                 841 CALIFORNIA AVE                                        PITTSBURGH       PA    15202‐2728
MAE E KOPP                                     7515 S BUTTERFLY RD                                                                            BELOIT           WI    53511‐8906
MAE E LAKE                                     PO BOX 138                                                                                     COMSTOCK PARK    MI    49321‐0138
MAE E MEUSER TR MEUSER TRUST UA 9/30/93        835 SUNRISE BLVD                                                                               PRESCOTT         AZ    86301
MAE E THOMAS                                   1231 MILL CREEK RD                                                                             FLINT            MI    48532‐2348
MAE E WIDDEMER                                 250 STRATFORD DR                                                                               CHURCHVILLE      PA    18966‐1346
MAE FISCHER                                    3190 ANNETTE ST                                                                                ARDARA           PA    15615‐9723
MAE FLYNT                                      ATTN MARGARET CORRIGAN               23 WEBSTER AVENUE                                         NO MASSAPEQUA    NY    11758‐2436
MAE FRANCES BOONE                              4043 LEECH STREET                                                                              MEMPHIS          TN    38109
MAE G KEPHART                                  3159 NEALON DR                                                                                 FALL CHURCH      VA    22042‐3632
MAE G ZANNETTI & DEBRA A MAKOWSKI JT TEN       28070 HOLLYWOOD                                                                                ROSEVILLE        MI    48066‐2421
MAE GRAY MORRIS                                504 BUNKERS COVE RD                                                                            PANAMA CITY      FL    32401‐3916
MAE H MOSCINSKI                                108 BIMINI DRIVE                                                                               TOMS RIVER       NJ    08757‐4126
MAE I STEPHEY                                  5431 NE 35TH ST LOT 18                                                                         SILVER SPRINGS   FL    34488‐1713
MAE J HULETT & ALLAN O KORTH JT TEN            PO BOX 244                                                                                     CAPAC            MI    48014‐0244
MAE JEAN HOMER & ROBERT L HOMER JT TEN         15300 AIRPORT RD                                                                               LANSING          MI    48906‐9109
MAE K LAWLER                                   4905 CLARMAR RD                                                                                LOUISVILLE       KY    40299‐1008
MAE KERR GILLELAND                             5812 VILLAGE DR NW                                                                             CONCORD          NC    28027‐5342
MAE KING WRIGHT                                1221 DREXEL DRIVE                                                                              ANDERSON         IN    46011‐2440
MAE L BROOKS                                   560 MC KINLEY RD                                                                               SMITHS GROVE     KY    42171‐8141
MAE L EITNIEAR                                 ROUTE 1 OTTO RD                                                                                CHARLOTTE        MI    48813‐9801
MAE L JUNG TR MAE L JUNG TRUST UA 05/08/86     15 LAKE RIDGE CLUB CT                                                                          BURR RIDGE       IL    60521‐7936
MAE L MILLER                                   1499 SUTTER ST                       APT 325                                                   SAN FRANCISCO    CA    94109‐5417
MAE L SCHMIDT                                  1619 SIBLEY ST NW                                                                              GRAND RAPIDS     MI    49504‐4951
MAE LA VERN REDRICK                            1535 SYCAMORE COMMONS DRIVE                                                                    MIAMISBURG       OH    45342‐7804
MAE M BULLER TR UA 2/11/78                     3421 ARDEN                                                                                     BROOKFIELD       IL    60513‐1403
MAE M RHODES                                   920 TYNDALL DR                                                                                 CANTON           MI    48187‐3829
MAE M STARK                                    1707 IRENE NE                                                                                  WARREN           OH    44483‐3528
MAE MANN ENTERPRISES                           C/O SHIRLEY R POTASH                 269 SOUTHWESTERN AVE 241                                  LOS ANGELES      CA    90004
MAE MANSFIELD                                  306 CLAYTON MANOR DR                                                                           MIDDLETOWN       DE    19709
MAE MC ELHATTAN                                93211 1ST ST                                                                                   PINELLLAS PARK   FL    34666‐5244
MAE MCCONNELL                                  375 E PITTSFIELD ST                                                                            PENNSVILLE       NJ    08070
MAE P BLANTON                                  15797 KENTUCKY                                                                                 DETROIT          MI    48238‐1127
MAE PEARSON                                    1326 COATS ST                        APT 205                                                   GADSDEN          AL    35903‐2719
MAE PYNNONEN                                   BOX 595                                                                                        LEWISTON         MI    49756‐0595
MAE R BROWN                                    310 CROSBY ST                                                                                  FLINT            MI    48503‐1434
MAE R SHIMMELL                                 5490 CRIPPEN AVE SW                                                                            WYOMING          MI    49548‐5717
MAE R THACKER                                  405 LOMBARD RD                                                                                 COLUMBUS         OH    43228‐1933
MAE RILEY                                      3012 HUNTINGTON PK                                                                             WATERFORD        MI    48329‐4529
MAE W BRILINSKI                                10879 MAIN STREET                    BOX 32                                                    CLARKSBURG       OH    43115‐0032
MAE W WYATT                                    5439 CLUBOK DR                                                                                 FLINT            MI    48505‐1030
MAE WRIGHT                                     97 MOSSWOOD WAY                                                                                ATHERTON         CA    94027‐2137
MAEANNA M MORNINSTAR TOD LESLIE J              3081 S LIMESTONE STREET                                                                        SPRINGFIELD      OH    45505‐5023
MORNINGSTAR SUBJECT TO STA TOD RULES
MAEBELL SLAUGHTER                              816 OAKDALE ST SE                                                                              GRAND RAPIDS     MI    49507‐2052
MAELENE BURNOM                                 5294 MILLWHEEL DR                                                                              GRAND BLANC      MI    48439‐4252
MAEOLA BLANCHARD                               5951 ERA AVE                                                                                   ST LOUIS         MO    63147‐1103
MAEONIA JOHNSON & LODEENER WARE JT TEN         7510 HIGHWAY 483                                                                               LENA             MS    39094‐9008
MAEVE K MOORE                                  16 SMITH ST                                                                                    HICKSVILLE       NY    11801‐1920
MAEWILLA L FINLEY                              PO BOX 1161                                                                                    KOKOMO           IN    46903‐1161
MAFALDA A BOTHE TR UA 07/02/91 THE MAFALDA A   C/O ANDREA L LEMCKE                  PO BOX 3969                                               PARADISE         CA    95969‐3969
BOTHE TRUST
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Name                                           Address1                            Address2             Address3           Address4          City            State Zip

MAFALDA GILLIO                                 87‐36‐111TH ST                                                                                RICHMOND HILL   NY    11418‐2313
MAFALDA KELNER                                 17 SEAGULL POINT                                                                              BAYVILLE        NJ    08721‐3533
MAGALY FLORES                                  153 POPLAR DR                                                                                 INTERLACHEN     FL    32148‐4108
MAGDA BASS CUST CARYN ROBERTA BASS UGMA CA     10781 SUNSET BLVD                                                                             LOS ANGELES     CA    90077‐3615

MAGDA FARAG                                    8806 S SHANNON                                                                                TEMPE           AZ    85284‐3528
MAGDALEN A WARD                                8031 S KOLIN                                                                                  CHICAGO         IL    60652‐2222
MAGDALEN DAVIDSON                              13133 ARGON NE                                                                                ALBUQUERQUE     NM    87112
MAGDALENA CULP                                 10 LIMESTONE LANE                                                                             SAVANNAH        GA    31419
MAGDALENA LARSON                               31 FAWN GULLY LN                                                                              PONTE VEDRA     FL    32081‐4331
MAGDALENA O VARGA                              1666 ABINGTON DRIVE                                                                           MANSFIELD       OH    44906‐2723
MAGDALENA T OCAMPO                             7442 S WICK DR                                                                                DAVISON         MI    48423‐9564
MAGDALENE A BIENKOWSKI                         433 PORT READING AV                                                                           PORT READING    NJ    07064‐1701
MAGDALENE C ZIMMERMANN & DOROTHY A OBERHEU     2100 D ST                                                                                     LINCOLN         NE    68502‐1751
JT TEN
MAGDALENE E WILSON                             315 N GRACE ST                                                                                LANSING         MI    48917‐2949
MAGDALENE F HERMELING & MARY J CONLEY JT TEN   6047 FLORAVILLE RD                                                                            MILLSTADT       IL    62260‐2505

MAGDALENE L CLEMENTS TR CLEMENTS FAM TRUST UA 2643 ST JAMES WAY                                                                              CENTRAL POINT   OR    97502‐3391
12/29/95
MAGDALENE M OCALLAGHAN                        15658 BEACHCOMBER AVE                                                                          FORT MYERS      FL    33908‐3364
MAGDALENO AGUILAR                             322 W PULASKI                                                                                  FLINT           MI    48505‐3351
MAGDALINA GONZALEZ                            ATTN MAGDALENA DEPEW                 2501 W JOLLY RD                                           LANSING         MI    48911‐3442
MAGDALINE P SELBY                             56 SONNETT DR                                                                                  ROCHESTER       NY    14626‐1221
MAGDALINE T TRUMBO                            4102 WINONA                                                                                    FLINT           MI    48504‐3741
MAGDELINE JACKSON                             17 LISCOM DR                                                                                   DAYTON          OH    45427‐2801
MAGDOLNA TUSSAY                               4 MAPLE STREET                                                                                 JACKSON         NJ    08527‐2711
MAGED MOSRIE                                  306 EAST DR                                                                                    PRINCETON       WV    24740‐2023
MAGGI E MEHOLIC                               430 ST CLAIR STREET                                                                            LATROBE         PA    15650‐2930
MAGGI LYNN JACQUES                            5625 JEFFERSON BLVD                                                                            FREDERICK       MD    21703‐6944
MAGGIE ANGLIN                                 15885 GILCHRIST                                                                                DETROIT         MI    48227‐1578
MAGGIE B JEFFRIES                             2001 W HILLSDALE                                                                               LANSING         MI    48915‐1121
MAGGIE B RABB                                 2925 INDIANA                                                                                   KANSAS CITY     MO    64128‐1220
MAGGIE E MERCER                               2050 H EDDY DR                                                                                 LEONARD         MI    48367‐3210
MAGGIE E SAWYER                               275 UNION BLVD APT 405                                                                         SAINT LOUIS     MO    63108‐1233
MAGGIE FOY                                    6818 HUNTINGTON DRIVE                                                                          BALTIMORE       MD    21207‐6413
MAGGIE J PARKS                                4529 THISTLE DRIVE                                                                             DAYTON          OH    45427‐2837
MAGGIE K WEST                                 PO BOX 169                                                                                     W MANCHESTER    OH    45382
MAGGIE L BIRTALAN                             3926 BRYANT DR                                                                                 AUSTINTOWN      OH    44515
MAGGIE L CRUMPTON                             4147 WEBBER                                                                                    SAGINAW         MI    48601‐4148
MAGGIE L FARROW                               PO BOX 11290                                                                                   DETROIT         MI    48211‐0290
MAGGIE L HALL                                 5705 GREENVIEW DR                                                                              OKLAHOMA CITY   OK    73135‐5429
MAGGIE L NELSON                               268 LUTHER AVENUE                                                                              PONTIAC         MI    48341‐2777
MAGGIE L YIELDING                             721 CATON AVE                                                                                  ADRIAN          MI    49221‐3809
MAGGIE LENA THOMPSON                          131 BOWDEN RD                                                                                  ELLENWOOD       GA    30294‐2673
MAGGIE LUCILLE SIMON                          5402 NEWARK RD                                                                                 ATTICA          MI    48412‐9509
MAGGIE LYNN POPOVICH                          2813 WAKEFIELD LANE                                                                            WESTLAKE        OH    44145‐3878
MAGGIE M SHEEHAN                              6033 CHERRY                                                                                    KANSAS CITY     MO    64110‐3027
MAGGIE M SMITH                                12735 RUTLAND ST                                                                               DETROIT         MI    48227
MAGGIE M WALKER                               5532 W FALL CREEK DR                                                                           PENDLETON       IN    46064‐9770
MAGGIE MILLER                                 120 HEATHERWOOD DR                                                                             ATHENS          GA    30606‐5020
MAGGIE R FRANKLIN                             PO BOX 04414                                                                                   DETROIT         MI    48204‐0414
MAGGIE S CROSBY                               4540 HWY 221 N                                                                                 DOUGLAS         GA    31533‐9408
MAGGIE S MCFADDEN                             3008 S SHAWNEE DR                    APT 115                                                   BEDFORD         IN    47421‐5280
MAGGIE SWAN                                   26601 COOLIDGE HWY                                                                             OAK PARK        MI    48237‐1135
MAGGIE Y HARTLE                               677 PINE COVE                                                                                  JACKSON         MS    39272‐9436
MAGLOIRE LADISLAS CHAGNON                     ATT ROGER CHAGNON                    149 E SIDE DR #214                                        CONCORD         NH    03301‐5410
MAGNA INTERNATIONAL INC                       C/O CORPORATE SECRETARY              337 MAGNA DR         AURORA ON          L4G 7K1 CANADA
MAGNOLIA ASHE                                 APT D                                1112 W HILLCREST                                          DAYTON          OH    45406‐1912
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Name                                             Address1                              Address2             Address3             Address4          City               State Zip

MAGNOLIA POWELL                                  2861 N ADAMS ST                                                                                   INDIANAPOLIS       IN    46218‐2930
MAGNUS KRISTINSSON BUHAMAR II                    BUHAMAR 11                            900 VESTMANNAEYJAR                        ICELAND
MAHAFFEY TRUE VALUE                              C/O R A RAINEY                        PO BOX 206                                                  MAHAFFEY           PA    15757‐0206
MAHALA BATTLE                                    3802 GLOUCESTER ST                                                                                FLINT              MI    48503‐7000
MAHALA BATTLE & NATHANIEL BATTLE JT TEN          3802 GLOUCESTER AVE                                                                               FLINT              MI    48503‐7000
MAHALA G RUPPEL                                  44 FORGHAM RD                                                                                     ROCHESTER          NY    14616‐3340
MAHALIA HUDSON                                   16780 SHAFTSBURY                                                                                  DETROIT            MI    48219‐4066
MAHALIA WASHINGTON                               13918 NORTHLAWN                                                                                   DETROIT            MI    48238‐2438
MAHALON L MEARS                                  224 NORTH DELAWARE STREET                                                                         SMYRNA             DE    19977‐1105
MAHDEE A SAAHIR                                  14100 TERRACE RD                      APT 865                                                     CLEVELAND          OH    44112‐3964
MAHELIA SANCHEZ                                  13854 BEAR FENCE CT                                                                               MOORPARK           CA    93021‐5020
MAHENDRA R DALMIA                                1841 SHAKER HEIGHTS DR                                                                            BLOOMFIELD HILLS   MI    48304‐1153

MAHER H NASSER                                   5018 SOUTHERN BLVD                                                                                BOARDMAN           OH    44512‐2105
MAHESH K PATEL                                   626 CHAPELGATE DRIVE                                                                              ODENTON            MD    21113‐2140
MAHLON C RUBY                                    1311 OVERLAND DR                                                                                  LENNON             MI    48449‐9673
MAHLON DEAN MCBETH                               28 EAGLE GREENS                                                                                   PLAINWELL          MI    49080
MAHLON F CHENOWITH                               14214 GREEN RDRD                                                                                  BALDWIN            MD    21013
MAHLON F HIPPLEY                                 12090 MIDDLETOWN RD                                                                               SALEM              OH    44460‐9694
MAHLON G SHELLHAAS                               304 RHOADES AVE                                                                                   GREENVILLE         OH    45331‐2629
MAHLON L TUCKER                                  22034 S RIVER RD BOX 667                                                                          CENTREVILLE        MI    49032‐9748
MAHLON LEE                                       746 HYDE ST                                                                                       SANFRANCISCO       CA    94109‐5922
MAHMOOD ALGHAIM                                  6170 DOROTHY                                                                                      DETROIT            MI    48211‐1566
MAHMOOD FAWAZ                                    101 S SILVERY LN                                                                                  DEARBORN           MI    48124‐1224
MAHMOOD H RIFAT                                  15903 CRAIGHURST DR                                                                               HOUSTON            TX    77059‐6422
MAHMOUD A AL‐KIRWI                               36036 HARPER                                                                                      MT CLEMENS         MI    48035‐2953
MAHMOUD BEHROUZAN                                C/O BEHCO LIMITED                     BOX 10417                                                   NEWPORT BEACH      CA    92658‐0417
MAHMOUD M SROUR                                  4681 E 610 N                                                                                      ROANOKE            IN    46783‐8801
MAHMOUD MOHADJER                                 12640 HIGH MEADOW ROAD                                                                            NORTH POTOMAC      MD    20878‐3795
MAHMOUD T DAJANI                                 1602 WALDEN DR                                                                                    MCLEAN             VA    22101‐3157
MAHMOUD T FARHAT                                 7250 APPOLINE                                                                                     DEARBORN           MI    48126‐1518
MAHMOUD T SABBAGH                                5271 TERNES ST                                                                                    DEARBORN           MI    48126‐4625
MAHNON M CLINE                                   2485 E ROWLEY RD                                                                                  WILLIAMSTON        MI    48895‐9134
MAHOWALD FAMILY PARTNERSHIP                      C/O ALLEN N & VIRGINIA A MAHOWALD     706 PERSHING AVE N                                          NEW PRAGUE         MN    56071‐2164
MAHSHID SAMIMI                                   5611 RUTGERS ROAD                                                                                 LA JOLLA           CA    92037‐7827
MAI A SHEPPHEARD                                 429 NORTH KILMER STREET                                                                           DAYTON             OH    45417‐2410
MAI CHI VO                                       4953 TOWNSEND AVE                                                                                 LOS ANGELES        CA    90041‐2235
MAI F LUEDTKE                                    2552 WESTMINSTER LN                                                                               AURORA             IL    60506‐6400
MAI N TRAN                                       183 MT RIDGE CIR                                                                                  ROCHESTER          NY    14616‐4846
MAI NGUYEN                                       216 BURGESS DR                                                                                    WINTER SPRINGS     FL    32708‐5190
MAI‐BRITT STROM                                  KARLAVAGEN                            64 A 3               S‐114 25 STOCKHOLM   SWEDEN
MAIA BRODIE                                      1204 S MCKNIGHT RD                                                                                SAINT LOUIS        MO    63117‐1013
MAIER DAVID SEGALL & CAROLYN B SEGALL JT TEN     14085 VICTORIA                                                                                    OAK PARK           MI    48237‐1411

MAIGA L MCINERNEY                                8 PHILLIPS DRIVE                                                                                  HYDE PARK          NY    12538‐2928
MAIJALIISA RUDY                                  W 7502 KINGS COURT                                                                                MINONG             WI    54859‐9043
MAIKO K WINKLER CHIN & TYLER J CHIN JT TEN       4043 24TH PL S                                                                                    SEATTLE            WA    98108‐1506
MAILA PERALTA & JEFFERY A YOKOMICHI JT TEN       3709 BRIDGEFORD LN APT 37                                                                         MODESTO            CA    95356
MAINE SCHOOL ADMINISTRATIVE DISTRICT NO 16‐%     LINCOLN STREET                                                                                    HALLOWELL          ME    04347
GEORGE D STEWART
MAIRA E CANCEL                                   34684 ROSEBUD LANE                                                                                RICHMOND           MI    48062‐5542
MAISEE HOPE CARDWELL                             7701 KATHERINE                                                                                    TAYLOR             MI    48180‐2597
MAJDI ABU‐ZAHRA                                  BOX 51033                                                                                         LIVONIA            MI    48151‐5033
MAJED A FARHUD                                   4042 S 5TH ST                                                                                     MILWAUKEE          WI    53207‐4330
MAJEL PARMENTER                                  15 FRANCIS ST                                                                                     NEWPORT            RI    02840‐2733
MAJOR BLACKMAN                                   714 WEST 26                                                                                       INDIANAPOLIS       IN    46208‐5506
MAJOR BROWN                                      1811 RUSSETT PL                                                                                   FLINT              MI    48504‐3609
MAJOR L PROTHRO JR                               939 FORREST CIR                                                                                   ATLANTA            GA    30354‐2536
MAJOR MCCOURT                                    1072 ECHO VALLEY ROAD                                                                             WATERFORD          OH    45786‐5413
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Name                                            Address1                            Address2             Address3           Address4               City              State Zip

MAJOR MORGAN                                    50 OAKGROVE AVE                                                                                    BUFFALO           NY    14208‐1006
MAJOR R PRUETT                                  RR 4 BOX 432                                                                                       ALBANY            KY    42602‐9399
MAJOR THOMAS DAWSON                             16663 NORTHWOOD TER                                                                                SPRING LAKE       MI    49456‐2720
MAJOR WILLIAMS                                  39011 PRENTISS ST                   APT 102                                                        HARRISON TWP      MI    48045‐4308
MAJOR WITHERSPOON                               2502 PROSPECT ST                                                                                   FLINT             MI    48504‐3387
MAJORIE K WILSON & ROBERT WAYNE WILSON JT TEN   516 S FORT DR                                                                                      CHARLESTON        WV    25314‐1057

MAKOTO SUZUKI                                   150 E 52ND ST                       FL 34                                                          NEW YORK        NY      10022‐6227
MAKRAM BOULOS                                   1021 RT 9W SOUTH                                                                                   UPPER GRANDVIEW NY      10960‐4907

MAKRAND U PARGAONKER & ANUPAMA M             5060 W 85TH LANE                                                                                      CROWN POINT       IN    46307‐1506
PARGAONKER JT TEN
MAKROUHI A OXIAN                             1533 LINCOLNWAY W                                                                                     SOUTH BEND        IN    46628‐2419
MAKSYM CZURA                                 900 N BROADWAY                                                                                        YONKERS           NY    10701‐1237
MAL KAISER                                   251 E 51 ST                            APT 18G                                                        NEW YORK          NY    10022
MAL MATHIS                                   1339 DILLION                                                                                          SAGINAW           MI    48601‐1327
MAL SUN BRUNNER                              2936 E BOTTSFORD AVE                                                                                  ST FRANCIS        WI    53235‐5746
MALACHI LANGSTON PERRY                       3908 DELLA COURT                                                                                      INDIANAPOLIS      IN    46235‐1635
MALACHY P MCGREE & ALETHA FLORENCE MCGREE JT 305 SHAWNEE TRL                                                                                       KELLER            TX    76248‐4935
TEN
MALACHY PATRICK MCGREE                       305 SHAWNEE TRL                                                                                       KELLER            TX    76248‐4935
MALCALM SMITH                                15781 JOSLYN ST                                                                                       HIGHLAND PARK     MI    48203‐2705
MALCOLM A HOLLINS                            12083 APPOLINE                                                                                        DETROIT           MI    48227‐3814
MALCOLM A MC DONALD                          206 N RIVER                                                                                           YPSILANTI         MI    48198‐2843
MALCOLM A SMITH                              3316 COUNTY ROAD 45                                                                                   TOWN CREEK        AL    35672‐6655
MALCOLM A SMOOK CUST VALERIE D SMOOK UGMA DE 907 LOVERING AVE                                                                                      WILMINGTON        DE    19806‐3224

MALCOLM B BARLOW                                246 LONGARCH LN                                                                                    PENNSDALE         PA    17756‐8112
MALCOLM B MCARTHUR                              5731 W 18TH ST                                                                                     SPEEDWAY          IN    46224‐5314
MALCOLM B SPERLING TR UA 07/10/90               3708 SEA SHORE PALM CT                                                                             LAS VEGAS         NV    89121‐7234
MALCOLM BEN RIVKIN                              3410 OLD FOREST RD                                                                                 BALT              MD    21208‐3103
MALCOLM BROWN                                   N3841 W LOST LAKE RD                                                                               WETMORE           MI    49895‐9039
MALCOLM C BALLINGER                             1049 E 221ST ST                                                                                    BRONX             NY    10469
MALCOLM C CARNES                                2494 WALDEN HOLLOW RD                                                                              ATTALLA           AL    35954‐8879
MALCOLM C DOTSON                                6125 ALLEN AVENUE                                                                                  TEXAS CITY        TX    77591‐4334
MALCOLM C MALLETTE                              7272 N PENNSYLVANIA STREET                                                                         INDIANAPOLIS      IN    46240
MALCOLM C MC GREGOR                             REAY HOUSE                          INVERNESS RD         NAIRN IV           I2 4SD GREAT BRITAIN
MALCOLM D CONGDON                               6692 SAWMILL RD                                                                                    HARRISON          MI    48625‐9071
MALCOLM D PRINCE                                4546 FALLOW WAY                                                                                    ANTIOCH           CA    94509‐7785
MALCOLM E ACOCKS 2009 GREYSTONE DRIVE                                                                                                              FINDLAY           OH    45840‐7732
MALCOLM E MC CALLUM & MRS CECILIA P MC CALLUM   1421 ROLLINGWOOD LANE                                                                              FORT COLLINS      CO    80525‐1947
JT TEN
MALCOLM E MCKEE & MARY L MCKEE JT TEN           5123 N CO RD 150W                                                                                  KOKOMO          IN      46901
MALCOLM E WHITEHOUSE JR                         30837 BLAIRMOOR                                                                                    MADISON HEIGHTS MI      48071‐2183

MALCOLM E YOUNG JR & FRANCES J YOUNG JT TEN     1700 LOCKSPUR COURT                                                                                FLOWER MOUND      TX    75022

MALCOLM F MEGUIAR                               1221 W COAST HWY                    APT 531                                                        NEWPORT BEACH     CA    92663‐5065
MALCOLM F NICOL                                 DEPT OF PHYSICS                     UNIVERCITY OF NEV                                              LAS VEGAS         NV    89154‐4002
MALCOLM G PITTMAN                               5615 COOLSPRINGS RD                                                                                GAINESVILLE       GA    30506‐3404
MALCOLM G SCHWAB JR & HELEN A SCHWAB JT TEN     34 KNOLLWOOD DR                                                                                    BRANFORD          CT    06405‐3914

MALCOLM G SMEWING                               31281 BURTON                                                                                       ST CLAIR SHORES   MI    48082‐1464
MALCOLM GOSLEE                                  1134 SECRETARIAT COURT                                                                             GREAT FALLS       VA    22066‐1715
MALCOLM H BAEHR & MRS SANDRA E BAEHR JT TEN     136 LONGVIEW AVE                                                                                   WHITE PLAINS      NY    10605‐2314

MALCOLM HERRICK BEATTY                          348 HARMONY HILL RD                                                                                HARVINTON         CT    06791‐1416
MALCOLM HERSHEL ALFORD                          1307 HOLLY DR                                                                                      NORTH MYRTLE      SC    29582‐3855
                                                                                                                                                   BEACH
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MALCOLM INDECK & MRS SELMA INDECK JT TEN          201 VERNON ST                                                                                   WAKEFIELD        MA    01880‐1911
MALCOLM J BOUDREAU & KATHLEEN M BOUDREAU JT       720 CORTEZ AVE                                                                                  THE VILLAGES     FL    32159‐3028
TEN
MALCOLM J SPROUL                                  45 WILLIAMS DR                                                                                  MORAGA           CA    94556‐2363
MALCOLM K LAW                                     7686 FORRESTAL ROAD                                                                             SAN DIEGO        CA    92120‐2203
MALCOLM KLEARMAN                                  431 HILL TRAIL DR                                                                               BALLWIN          MO    63011‐2640
MALCOLM L BEGGS                                   PO BOX 5923                                                                                     STATELINE        NV    89449‐5923
MALCOLM L BONNHEIM                                SUITE 511                              4100 SPRING VALLEY ROAD                                  DALLAS           TX    75244‐3678
MALCOLM L CAINE                                   5304 N BELSAY                                                                                   FLINT            MI    48506‐1266
MALCOLM L FLOREA                                  4790 FRANKTOWN RD                                                                               CARSON CITY      NV    89704‐9522
MALCOLM L JERNIGAN & HARRIETT T JERNIGAN JT TEN   2904 PANAMA CIRCLE                                                                              LILLIAN          AL    36549‐5231

MALCOLM L MC AFEE                                 1514 NOLE DRIVE                                                                                 JEFFERSONVILLE   IN    47130‐6124
MALCOLM L MITCHELL                                5121 VILLE MARIA LANE                                                                           HAZELWOOD        MO    63042
MALCOLM L MOORE & SHEILA J MOORE JT TEN           2920 URBANDALE LANE                                                                             PLYMOUTH         MN    55447‐1559
MALCOLM L SLOVIC                                  9600 CRAGMONT DR                                                                                RICHMOND         VA    23229‐7615
MALCOLM L SNEDDEN                                 209 VIRGINIA ST                                                                                 SALT LAKE CITY   UT    84103‐4332
MALCOLM L WRIGHT                                  123 S MAIN                             PO BOX 408                                               FARMLAND         IN    47340‐0408
MALCOLM LAWRENCE SMITH                            2539 FLUSHING RD                                                                                FLINT            MI    48504‐4701
MALCOLM LEE SHELDON                               585 WEST END AVE                                                                                NY               NY    10024‐1715
MALCOLM M SELLINGER                               171 WARWICK BLVD                                                                                HARBOUR ISLE     NY    11558‐1842
MALCOLM M YUILL CUST MALCOLM J YUILL UGMA NJ      400 MT KEMBLE AVE                                                                               MORRISTOWN       NJ    07960‐6655

MALCOLM MALOY & MRS BETTY MALOY JT TEN            13400 KNOTTY LANE                                                                               HUDSON           FL    34669‐2424
MALCOLM MC CRACKEN                                221 CROWFIELD RD                                                                                KNOXVILLE        TN    37922‐3463
MALCOLM MONTGOMERY JR                             8502 JEFFERSON HWY                                                                              BATON ROUGE      LA    70809‐2230
MALCOLM N SANDLIN                                 17400 OAKDALE RD                                                                                ATHENS           AL    35613‐5934
MALCOLM NEAL                                      775 BILTMORE PLACE                                                                              DAYTON           OH    45431‐2716
MALCOLM O PORTICE                                 350 E JUDDVILLE RD                                                                              OWOSSO           MI    48867‐9468
MALCOLM R DONALDSON II                            1118 TALISMAN RD                                                                                MOUNT PLEASANT   SC    29464‐3717

MALCOLM R FRANKLIN & KAREN D FRANKLIN JT TEN      3508 MANCHESTER AVE.                                                                            BALTIMORE        MD    21215

MALCOLM R HORTON JR                               BOX 295                                                                                         ELLSWORTH        ME    04605‐0295
MALCOLM R LUEBKERT JR                             14441 NEWGATE ROAD                                                                              MIDLOTHIAN       VA    23113‐4199
MALCOLM R MACGREGOR                               17373 RIDGE RD                                                                                  NORTHVILLE       MI    48167‐9524
MALCOLM R NICHOLLS                                905 W 49TH ST                                                                                   RICHMOND         VA    23225‐4423
MALCOLM RODGERS                                   2233 VALLEY ST                                                                                  DAYTON           OH    45404‐2544
MALCOLM S BAILEY                                  2541 DAVID LN                                                                                   LAPEER           MI    48446‐8330
MALCOLM STANFORD                                  PO BOX 26244                                                                                    CLEVELAND        OH    44126‐0244
MALCOLM W CAMPBELL                                618 W HUNT ST                                                                                   MCKINNEY         TX    75069‐3710
MALCOLM W MABE                                    15322 LEROY THOMPSON RD                                                                         THOMPSON         OH    44086
MALCOLM W MAC NAB                                 13 NORTH WATER ST                                                                               NANTUCKET        MA    02554
MALCOLM W SEDGWICK TOD WAYNE R SEDGWICK           25 BEHRENS RD                                                                                   NEW HARTFORD     CT    06057‐2801
SUBJECT TO STA TOD RULES
MALCOLM WILLIAMS                                  244 NIXON                                                                                       COPPELL          TX    75019‐4834
MALCOM C HILL                                     2251 KANSAS                                                                                     SAGINAW          MI    48601‐5530
MALCOM K CAMPBELL                                 1004 BRISTOL DRIVE                                                                              VANDALIA         OH    45377‐2903
MALCOM P RINGO III                                HCR 69 BOX 1585                                                                                 IRONTON          MO    63650
MALCOM R SCOTT                                    PO BOX 86                                                                                       EUGENE           MO    65032‐0086
MALCOM W DOUGLAS                                  PO BOX 274                                                                                      LIBERTY          KY    42539‐0274
MALEE BARKER                                      15981 GARDEN GATE CIR                                                                           APPLE VALLEY     MN    55124‐5137
MALENDIA D WARE                                   118 W LORADO                                                                                    FLINT            MI    48505‐2014
MALETA A FORSBERG TR MALETA A FORSBERG LIVING     PO BOX 467                                                                                      LINDSBORG        KS    67456‐0467
TRUST UA 09/06/95
MALGORZATA WIACEK                                 2233 N PALM WAY                                                                                 UPLAND           CA    91784‐1346
MALICHA J SHANLEY JR                              44 EMERSON ROAD                                                                                 SOMERSET         NJ    08873‐1617
MALINDA CH MC ELROY                               5777 DEXTER CIRCLE                                                                              ROHNER PARK      CA    94928‐1745
MALINDA CRAYMER & KIRK CRAYMER JT TEN             15682 KITCHEL LN                                                                                GRAND HAVEN      MI    49417‐2965
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MALINDA GRANT                                    2704 GLENOAK DR                                                                                      NASHVILLE        TN    37214‐1604
MALINDA L BRYANT                                 1306 W ORANGE AVE                                                                                    ORANGE           TX    77630
MALINDA L STONE                                  5006 STAUNTON AVE SE                                                                                 CHARLESTON       WV    25304
MALINDA L STONE TOD JAMES D STONE SUBJECT TO STA 5006 STAUNTON AVE SE                                                                                 CHARLESTON       WV    25304
TOD RULES
MALINDA M ELLIS                                  196 WOODLAND TRAIL                                                                                   ANDERSON         IN    46016‐6804
MALINDA R CRUMLEY                                3606 HAMILTON AVE                                                                                    FORT WORTH       TX    76107‐1704
MALINDA S DAVENPORT                              ATTN MALINDA S STEWART                    4847 BENECIA LN                                            DUMFRIES         VA    22025‐1239
MALINDA WHITE                                    2071 VINEWOOD                                                                                        DETROIT          MI    48216‐5508
MALITA MOSLEY                                    3510 PROVIDENCE                                                                                      FLINT            MI    48503‐4547
MALKE FEIGENBAUM                                 C/O M S WEISZ                             3724 ATLANTIC AVE                                          BROOKLYN         NY    11224‐1207
MALLIE E SPARKS                                  1233 CASE AVENUE                                                                                     MIAMISBURG       OH    45342‐2541
MALLIE M GLENN                                   ATTN MALLIE ROBERTS                       PO BOX 89                                                  GIDDINGS         TX    78942‐0089
MALLINATH KAYIMO & UMA M KAYS JT TEN             401 DIVISION STREET                       STE 305                                                    SOUTH            WV    25309‐1455
                                                                                                                                                      CHARLESTON
MALLORI RENEE MALLOCH                               5938 JUNIPER AA LN                                                                                RAPID RIVER      MI    49878‐9267
MALLORIE HANKS                                      3721 RANCHMAN BLVD                                                                                DENTON           TX    76205‐3330
MALLORY B COWHERD JR                                3435 MONO GENE DRIVE                                                                              FT WAYNE         IN    46806‐3535
MALLORY M CERVENKA                                  325 TOHICKON AVE                                                                                  QUAKERTOWN       PA    18951
MALLORY W SMITH                                     2541 W COYOTE CREEK                                                                               ANTHEM           AZ    85086‐2352
MALON B STEPLER                                     R D 1 SALEM WOODSTOWN RD                                                                          SALEM            NJ    08079‐9801
MALOY KING                                          130 SUGAR LOAF RD                                                                                 MARSHALL         NC    28753
MALRY M SUTTON                                      PO BOX 9                                                                                          KINSMAN          OH    44428‐0009
MALTA I ROSS & DANNY A ROSS JT TEN                  40 FRANKS CREEK                                                                                   FLAT GAP         KY    41219‐9408
MALVERN CAMP                                        3738 FINNEY AVE                                                                                   ST LOUIS         MO    63113‐3904
MALVERN L CASWELL & DOLORES C CASWELL JT TEN        6148 THORNEYCROFT                                                                                 UTICA            MI    48316‐4368

MALVIA ROBINSON & HUME G MERRIT JT TEN              23238 THORNCLIFFE                                                                                 SOUTHFIELD       MI    48033
MALVIN E EDWARDS                                    11 LAKE VIEW DR                                                                                   CHARLTON         MA    01507‐5427
MALVIN E SWEPSTON & MARIAN L SWEPSTON JT TEN        15625 CHARLESTON PIKE                                                                             KINGSTON         OH    45644‐9549

MALVIN M UTLEYE JR                                  1012 MAYFLOWER DR                                                                                 NEWARK           DE    19711‐6866
MALVINA C CASPER & JOHN E CASPER JT TEN             717 LOUNSBURY                                                                                     PONTIAC          MI    48340‐2453
MALYN ROGERS KAMENOFF                               63 RTE 37 ST                                                                                      SHERMAN          CT    06784‐1502
MAMBRINO ZEGARELLI                                  116 KING GATE N                                                                                   ROCHESTER        NY    14622‐1524
MAMBRINO ZEGARELLI & SILVIA ZEGARELLI JT TEN        116 KING GATE N                                                                                   ROCHESTER        NY    14622‐1524

MAMDOUAH M ATTIA                                    5110 PATRICK HENRY DR                                                                             BROOKLYN         MD    21225‐3108
MAMDOUH QOURA                                       PO BOX 403                             DOKKI‐CAIRO                            EGYPT
MAME L HOLMES                                       5701 5TH AVE S                                                                                    BIRMINGHAM       AL    35212‐3203
MAMIE B ROBINSON                                    2151 OVERBROOK DR                                                                                 JACKSON          MS    39213‐4727
MAMIE BETTON                                        4081 WARRIOR TRL                                                                                  STONE MOUNTAIN   GA    30083‐3126

MAMIE D GENTRY & DONNA S GENTRY & BONNIE L          381 FROST RD                           APT 1                                                      CROSSVILLE       TN    38571‐5747
SWAIN JT TEN
MAMIE DARBINS                                       737 N FOX RUN PL                                                                                  CHULA VISTA      CA    91914
MAMIE E KEIHL                                       7196 ROCHESTER ROAD                                                                               LOCKPORT         NY    14094‐1641
MAMIE E SPRINGER & MEREDITH A SPRINGER III JT TEN   1407 ROSEMONT AVE                                                                                 FREDERICK        MD    21702‐4013

MAMIE E VIDEAN                                      609 WESTWAY DR NW                                                                                 GRAND RAPIDS     MI    49534
MAMIE FAYE FUGETT                                   413 MARLOW DR                                                                                     CHATTANOOGA      TN    37415‐1903
MAMIE GRATE                                         1812 WOODHOLLOW DRIVE                                                                             COLUMBUS         GA    31907‐4412
MAMIE J KELLY & LILLIE K MCNEELY JT TEN             PO BOX 219                                                                                        SILVER CREEK     MS    39663‐0219
MAMIE JAMES                                         1113 BURLINGTON DR                                                                                FLINT            MI    48503‐2928
MAMIE K MILLER                                      870 FRENCH ROAD                                                                                   CHEEKTOWAGA      NY    14227‐3630
MAMIE KAI TR HERBERT KAI U/DEC OF TRUST 1/18/60     2305 W RUTHRAUFF ROAD                                                                             TUCSON           AZ    85705‐1901

MAMIE KAI TR JOHN KAI JR U/DEC OF TRUST 1/15/60     2305 W RUTHRAUFF                                                                                  TUCSON           AZ    85705‐1901
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Name                                             Address1                              Address2                   Address3             Address4          City             State Zip

MAMIE L CLEMONS                                 14052 ARDMORE                                                                                            DETROIT          MI    48227‐3163
MAMIE L GALLOWAY                                1329 MACKIN RD                                                                                           FLINT            MI    48503‐1205
MAMIE L HENDERSON                               PO BOX 63                                                                                                RICHLAND         GA    31825‐0063
MAMIE L MARSHALL                                3564 JOANN DR                                                                                            JACKSON          MS    39213‐4445
MAMIE M BURDEN                                  41 LEXINGTON PKWY                                                                                        ROCHESTER        NY    14624‐4243
MAMIE M CANTERBURY                              8167 SANDPIPER ST                                                                                        CANTON           MI    48187‐1737
MAMIE M JONES                                   1028 DON MIGUEL ST                                                                                       MADERA           CA    93638‐4861
MAMIE M KUZAWINSKI                              2115 BUCKINGHAM                                                                                          LINCOLN PARK     MI    48146
MAMIE R GORE                                    2311 OLD NORTH HILLS ST                #B                                                                MERIDIAN         MS    39305‐1602
MAMIE R ROBINSON & JENNIE L DRIVER JT TEN       751 VALLEY VIEW DRIVE APT 108                                                                            IONIA            MI    48846‐1091
MAMIE R WILBER                                  150‐78 116TH RD                                                                                          JAMAICA          NY    11434‐1515
MAMIE RAYBON                                    940 WATKINS                                                                                              GRAND RAPIDS     MI    49507‐1347
MAMIE RODGERS                                   13127 GRIGGS ST                                                                                          DETROIT          MI    48238‐3051
MAMMIE MAE NAYLOR                               287 SPENCER RD                                                                                           CLENDENIN        WV    25045‐8904
MAMTA KHERA                                     188 VALERIA BLVD                       WOODBRIDGE ON                                   L4L 6W4 CANADA
MAN D LEE                                       8409 SUMMERSET PL                                                                                        FORT WAYNE       IN    46825‐6496
MAN KWOK TAM                                    201 E 17TH ST APT 10J                                                                                    NEW YORK         NY    10003‐3609
MAN‐CHIN WU                                     46657 BARTLETT DR                                                                                        CANTON           MI    48187‐1403
MANA K ELGABRI                                  6025 COLEMAN                                                                                             DEARBORN         MI    48126‐2019
MANAF ALOMANI                                   PO BOX 17014                           72451 AL KHALDEYAH                              KUWAIT
MANASH BAGCHI & BIBI BAGCHI JT TEN              717 BRIGHT MEADOW DR                                                                                     GAITHERSBURG     MD    20878‐3226
MANCEL C MILLER                                 502 ESTEP PLACE                                                                                          MADISON          WV    25130‐1006
MANCEL H MAYNARD                                3505 N LANEWOOD ROAD                                                                                     MUNCIE           IN    47304‐1844
MANDELINE KENNARD                               6176 NATCHEZ DR                                                                                          MT MORRIS        MI    48458‐2769
MANDELL ZIEGLER                                 19 TANWOOD DR                                                                                            MASSAPEAQUA      NY    11758‐8548
MANDIE GORDON                                   4117E PENNIMAN COURT                                                                                     OAKLAND          CA    94619
MANDY F CHILSON                                 9907 SE 160TH PL                                                                                         SUMMERFIELD      FL    34491‐5756
MANDY J ZELLMER CUST NICHOLAS T ZELLMER UTMA IN 5734 W LANAM RIDGE RD                                                                                    NASHVILLE        IN    47448‐9123

MANDY M CHRISTIAN                                50931 MICHIGAN RD                                                                                       SOUTH BEND       IN    46637‐1538
MANFORD C QUALLS                                 18 CEDAR DR                                                                                             HURRICANE        WV    25526‐9220
MANFORD HARLESS                                  2275 IRONWOOD DRIVE                                                                                     CLARKSTON        MI    48348‐1399
MANFORD R CARNAHAN                               28965 ST RT 281 EAST                                                                                    DEFIANCE         OH    43512‐8965
MANFRED ANTHONY PIAZZA & DEBRA E PIAZZA JT TEN   903 N RIVERSHIRE DR                                                                                     CONROE           TX    77304‐2793

MANFRED BAYER                                    3147 LANCASTER DR                     APT 3                                                             NAPLES           FL    34105‐6680
MANFRED E DAMPF                                  14653 GRAYLAN PL                                                                                        NOBLESVILLE      IN    46062
MANFRED ETTINGER & MRS ELSIE ETTINGER JT TEN     135 HAZEL ST                          APT 7T                                                            CLIFTON          NJ    07011

MANFRED FRIEDRICH WEBER                          AHOMWEG 12                            D‐64521 GROSS GERAU                             GERMANY
MANFRED GROVE                                    LESSING ST 39                         D‐64407 FR ‐CRUMBACH                            GERMANY
MANFRED H LAMERS                                 230 E FLORENCE AVE                                                                                      ANAHEIM          CA    92805‐5557
MANFRED H LOTT                                   460 LABRADOR DRIVE                    OSHAWA ON                                       L1H 7E9 CANADA
MANFRED H MOLL                                   25135 COLLINGWOOD                                                                                       ROSEVILLE        MI    48066‐3958
MANFRED HAWENER                                  BEGONIENSTRASSE 7                     WALTROP                                         GERMANY
MANFRED KATZ                                     310 BROCKTON RD                                                                                         WILMINGTON       DE    19803‐2412
MANFRED KRANNER                                  AM EICHELGARTEN 16                    65 193 WEISBADEN                                GERMANY
MANFRED KRANNER                                  AM EICHELGARTEN 16                    65 193 WEISBADEN                                GERMANY
MANFRED MUELLER & CHRISTL MUELLER JT TEN         4082 YUCATAM CIR                                                                                        PORT CHARLOTTE   FL    33948‐8947
MANFRED OBERHAUSER                               GROSS ENZERSDORFER STR 59             VIENNA                                          AUSTRIA
MANFRED PATRICK                                  3311 E M21 R#6                                                                                          ST JOHNS         MI    48879‐9004
MANFRED RICHLY                                   WINDTHORSTSTRASSE 13                  D 65439 FLOERSHEIM                              GERMANY
MANFRED RICHLY                                   ADAM OPEL AG                          IPC93‐13 EISENSTRASE 2‐4   RUSSELSHEIM GERMAN   GERMANY
MANFRED SCHOMANN                                 11 FENMORE DRIVE                                                                                        WAPPINGERS FALLS NY    12590‐3823

MANFRED TANNENBAUM & AMELI TANNENBAUM JT         APT 2‐A                               1600 S OCEAN DRIVE                                                HOLLYWOOD        FL    33019‐2424
TEN
MANFRED WINKLER & WALTRAUD WINKLER TR            29 BATCHELDER ST                                                                                        MELROSE          MA    02176‐2801
WINKLER LIVING TRUST UA 05/23/97
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MANFREDI LUCIANO                                59 OAKVILLE ST                                                                                 STATEN ISLAND   NY    10314‐5027
MANH D TRAN                                     19220 WICK RD                         APT 119                                                  ALLEN PARK      MI    48101‐1478
MANHAR K SHETH & SUDHA M SHETH JT TEN           920 WESLEY DRIVE                                                                               TROY            MI    48098‐1811
MANICKAM KRISHNAMURTHY CUST MANICKAM            3001 NEW NATCHEZ TRACE                                                                         NASHVILLE       TN    37215
KRISHNAMURTHY JR UTMA MD
MANILA C PARKS                                  1061 SUPERIOR AVE                                                                              DAYTON          OH    45402‐5952
MANISHA S KHARIWALA                             6620 MINOW POND DR                                                                             W BLOOMFIELD    MI    48322‐2659
MANJULA M HATHI                                 167 PRIMROSE LANE                                                                              E AMHERST       NY    14051‐1251
MANLEY BRACKETT                                 224 SOKOKIS AVE                                                                                LIMINGTON       ME    04049‐3835
MANLEY I STOWELL                                12155 ELMS RD                                                                                  BIRCH RUN       MI    48415‐8786
MANLEY O BROMWELL TR UA 01/08/2007 MANLEY O     11623 S CAMPBELL AVE                                                                           CHICAGO         IL    60655
BROMWELL TRUST
MANLY EUGENE MOOR JR                            3315 CHEROKEE RD                                                                               BIRMINGHAM      AL    35223‐1313
MANNAS FLEMING                                  9517 ROBIN LN                                                                                  NEW ORLEANS     LA    70123‐2046
MANNING A MARCINKO & MRS GLORIA L MARCINKO JT   50680 N 9 RD                                                                                   REEDSVILLE      OH    45772
TEN
MANNING A WHITEHEAD                             PO BOX 592                                                                                     CEDARTOWN       GA    30125‐0592
MANNING F STIRES                                26 KINGSBURY STREET                                                                            KEENE           NH    03431‐3825
MANNY A CAAMANO                                 45 DOGWOOD TER                                                                                 MILLINGTON      NJ    07946‐1929
MANNY GRUNBERG CUST JASON OLIVER GRUNBERG       205 E 63RD ST APT 3E                                                                           NEW YORK        NY    10021‐7427
UGMA NY
MANNY GRUNBERG CUST MICHAEL ANDREW              205 E 63RD ST APT 3E                                                                           NEW YORK        NY    10021‐7427
GRUNBERG UGMA NY
MANOLO N VELARDE                                6360 WRECKEN RIDGE 1                                                                           FLINT           MI    48532‐3233
MANOO MEHTA                                     8 BELAIR CT                                                                                    OLD BETHPAGE    NY    11804‐1401
MANOYIE SCOTT JR                                4850 VINEWOOD WAY                                                                              ANTIOCH         CA    94509‐8126
MANSE GREGORY TIAN                              8345 AIRPORT LANE                                                                              BRIGHTON        MI    48114‐6913
MANSFIELD HILL JR                               5422 DANIEL DRIVE                                                                              INDIANAPOLIS    IN    46226‐1656
MANSFIELD KIRKLAND JR                           1012 WEST FAIRVIEW AVE                                                                         DAYTON          OH    45406‐2808
MANSFIELD WHITE                                 770 E HOLBROOK                                                                                 FLINT           MI    48505‐2237
MANSIL W RAYMOND                                768 DIAMOND RD                                                                                 MASON           MI    48854‐9601
MANSOL P HOWARD                                 4063 HALF MOON CIR                                                                             MIDDLEBURG      FL    32068‐8105
MANSON C SURDAM                                 14 TUDOR PLACE                                                                                 BUFFALO         NY    14222‐1616
MANSUATO PIERUCCI                               905 PEACE DRIVE                                                                                MECHANICSBURG   PA    17055‐4447
MANTILLE LUCAS                                  10793 GRIFFITH RD                                                                              TANNER          AL    35671‐3712
MANTON M MATTHEWS                               611 SPRING LAKE ROAD                                                                           COLUMBIA        SC    29206‐2150
MANTON RICHIE                                   2242 RED ARROW RD                                                                              BURTON          MI    48529‐1312
MANU B GIDWANI                                  1728 SUPREME CT                                                                                NAPLES          FL    34110‐1013
MANUAL Q ROMERO                                 4121 HAMMEL ST                                                                                 LOS ANGELES     CA    90063‐3434
MANUEL A CARLOS                                 PO BOX 36                                                                                      LEBANON         OR    97355‐0036
MANUEL A CONCEICAO                              112 OLD CROTON RD                                                                              FLEMINGTON      NJ    08822‐5925
MANUEL A CONSTANTE                              7948 E CEDAR LAKE DR                                                                           GREENBUSH       MI    48738‐9211
MANUEL A DASILVA                                364 SOMMERVILLE PL                                                                             YONKERS         NY    10703‐2224
MANUEL A FIGUEIREDO                             608 WEST ELM STREET                                                                            LINDEN          NJ    07036‐5014
MANUEL A FRAGOZO                                1472 E 174 ST                                                                                  CLEVELAND       OH    44110‐2935
MANUEL A FUENTES                                5648 S TRUMBULL                                                                                CHICAGO         IL    60629‐3118
MANUEL A GARCIA & JOAN M GARCIA JT TEN          23344 CAROLWOOD LANE APT 6106                                                                  BOCA RATON      FL    33428‐2107
MANUEL A LOPES                                  9 HOWE ST                                                                                      FRAMINGHAM      MA    01702‐6435
MANUEL A MARTINS                                11212 PFLUMM RD                                                                                LENEXA          KS    66215‐4811
MANUEL A NABOR & ELIZABETH A NABOR JT TEN       3070 SAN FRANCISCO AVE                                                                         LONG BEACH      CA    90806‐1318
MANUEL A NAVARRO                                168 LOCKWOOD AVE                                                                               NEW ROCHELLE    NY    10801‐4902
MANUEL A RODRIGUEZ                              PO BOX 721                                                                                     NARANJITO       PR    00719‐0721
MANUEL A SALAZAR                                6506 FAIRWAY DR                                                                                HOUSTON         TX    77087‐2225
MANUEL A ZARAGOZA                               PO BOX 3723                                                                                    EL CENTRO       CA    92244‐3723
MANUEL ALBERT MARTINEZ CUST JULIA A LONGORIA    PO BOX 2466                                                                                    HARLINGEN       TX    78551‐2466
UGMA TX
MANUEL ALVAREZ                                  12 OLYMPIA DRIVEE                                                                              E HANOVER       NJ    07936
MANUEL ALVEREZ                                  1841 RUBY SE                                                                                   GRAND RAPIDS    MI    49507‐2739
MANUEL ALVES                                    3 DOWNEY RD                                                                                    OSSINING        NY    10562‐2608
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MANUEL ANDRADE                                8 ELIZABETH PLACE                                                                                           YONKERS        NY    10703‐1702
MANUEL ARCE                                   13465 SOUTH AVE K                                                                                           CHICAGO        IL    60633‐1015
MANUEL AYALA                                  2008 HANCOCK STREET                                                                                         LOS ANGELES    CA    90031‐3450
MANUEL B BAENA                                PO BOX 1975                                                                                                 COLUMBIA       TN    38402‐1975
MANUEL B HERNANDEZ                            1787 KUHL KORT                                                                                              ESSEXVILLE     MI    48732‐9609
MANUEL B ROSAS                                6035 POLLARD AVE                                                                                            EAST LANSING   MI    48823‐1539
MANUEL BARAJAS                                2831 SOUTH EAST MEL COURT                                                                                   HILLSBORO      OR    97123‐5231
MANUEL BAREA VELASCO RAGAEL BECA MATEOS 136   41007 SEVILLA                                                                           SPAIN

MANUEL BEGOVICH JR                            22 PLUMWOOD ROAD                                                                                            DAYTON         OH    45409‐2510
MANUEL C GROMES                               3389 NOTTINGHAM WAY                                                                                         HAMILTON       NJ    08690‐2603
MANUEL C MAGALLON                             2017 ROSS                                                                                                   FT WORTH       TX    76106‐8170
MANUEL C MENDONCA JR                          C/O SHARON MENDONCA                 41 NINA ST                                                              NEW BEDFORD    MA    02744
MANUEL C PINHO                                136 BERWICK STREET                                                                                          ELIZABETH      NJ    07202‐1604
MANUEL CARNEIRO                               25 WINDSOR RD                                                                                               MILFORD        MA    01757‐3837
MANUEL CERQUEIRA                              2085 YOSEMITE DR                                                                                            MILPITAS       CA    95035‐6645
MANUEL CIPRAIN HERNANDEZ                      PO BOX 139                                                                                                  KINGSVILLE     TX    78364‐0139
MANUEL CORDERO                                BOX 219                                                                                                     PARK RIDGE     IL    60068‐0219
MANUEL D HERRERA                              2375 TRANQUILITY RD                                                                                         CHEYENNE       WY    82009‐2242
MANUEL D THOMAS                               1750 S RASINVILLE                                                                                           MONROE         MI    48161‐9046
MANUEL DE SOUSA‐JR                            ONE OMAHA ST                                                                                                BARNEGAT       NJ    08005‐2528
MANUEL DERATH                                 1841 SOUTH THROOP STREET                                                                                    CHICAGO        IL    60608‐3105
MANUEL E GARCIA                               18910 W 6TH AVE                                                                                             STEVENSON      CA    95374‐9766
MANUEL E LOPEZ                                5182 VILLE CAMELIA LN                                                                                       HAZELWOOD      MO    63042‐1600
MANUEL E MORENO                               4200 RIDGEMONT AVE NW                                                                                       ALBUQUERQUE    NM    87114‐6205
MANUEL ESCALANTE                              7001 VARIEL                                                                                                 CANOGA PARK    CA    91303‐3221
MANUEL F LOPEZ                                2745 S CHERRY AVE                                                                                           ONTARIO        CA    91761‐5901
MANUEL F VALDEZ                               3375 CASS CITY RD                                                                                           CASS CITY      MI    48726‐9469
MANUEL FERNANDEZ                              14637 ALEXANDER                                                                                             SAN FERNANDO   CA    91340‐4105
MANUEL FLORES JR                              PO BOX 276                                                                                                  IONIA          MI    48846‐0276
MANUEL G CHAVIRA                              C/O LUCY CHAVIRA                    438 W FAIRVIEW AVE                                                      SAN GABRIEL    CA    91776‐2954
MANUEL G LOPEZ                                2310 PROSPECT                                                                                               FT WORTH       TX    76106‐8049
MANUEL G ORTIZ                                6635 ILLINOIS AVE                                                                                           HAMMOND        IN    46323‐1728
MANUEL G REVELEZ                              13413 NETZLEY PL                                                                                            CHINO          CA    91710‐4741
MANUEL G SOUSA & EMILIA C SOUSA JT TEN        153 N GRANT AVENUE                                                                                          COLONIA        NJ    07067‐2226
MANUEL GARCIA                                 539 TERESA LANE                                                                                             MOODY          TX    76557‐4018
MANUEL GOMEZ                                  810 PEARL ST                        PO BOX 2543                                                             ELIZABETH      NJ    07207‐2543
MANUEL GONZALEZ                               C/O JOSE FERNANDEZ NO 21‐3D         PIEDROS BLANCAS CCP‐33450   AVILES ASTURAS ESPANA   SPAIN
MANUEL GUTIERREZ                              26 CRANE AVE                                                                                                WHITE PLAINS   NY    10603‐3703
MANUEL H CERVANTES                            12907 BELFAIR ST                                                                                            NORWALK        CA    90650‐4503
MANUEL H GREENBERG                            18 N QUINCY AVE                                                                                             MARGATE        NJ    08402‐1328
MANUEL H RIOS                                 15290 GOUTZ RD                                                                                              MONROE         MI    48161‐9567
MANUEL HERNANDEZ                              5750 COLLINSAVE ROYAL EMB #3K                                                                               MIAMI          FL    33140
MANUEL HERRADA                                10455 SE 108TH TERRACE RD                                                                                   BELLEVIEW      FL    34420‐3640
MANUEL I FERNANDEZ                            613 PINELAND LN                                                                                             JACKSONVILLE   FL    32259‐3029
MANUEL I LOPEZ                                2535 PLUM LANE                                                                                              HANFORD        CA    93230‐6719
MANUEL I RODRIGUEZ                            937 HIGHCREST DR                                                                                            ARLINGTON      TX    76017‐5924
MANUEL IBARRA JR                              4577 E GRESHAM HGWY                                                                                         POTTERVILLE    MI    48876‐8766
MANUEL J DESOUSA                              17 STILL COURT                                                                                              OSSININZ       NY    10562‐5916
MANUEL J FONSECA                              962 EDGEWOOD ROAD                                                                                           ELIZABETH      NJ    07208‐1054
MANUEL J GARCIA                               1591 TUSCOLA RD                                                                                             MUNGER         MI    48747‐9705
MANUEL J GUERRA                               4011 MORRIS                                                                                                 SAGINAW        MI    48601‐4239
MANUEL J HERRERA                              15845 SW 146TH AVENUE                                                                                       MIAMI          FL    33177‐6894
MANUEL J LEDESMA                              6337 ALMOND LN                                                                                              CLARKSTON      MI    48346‐2202
MANUEL J MOLINA                               27 CAPPS QUARTERS                                                                                           HAMPTON        VA    23669‐4505
MANUEL J RAMOS                                PO BOX 594                                                                                                  YONKERS        NY    10702‐0594
MANUEL J REYES                                11688 DEER CREEK CIR                                                                                        PLYMOUTH       MI    48170‐2865
MANUEL J ROCHA                                1064 DI ANTONIO DRIVE                                                                                       RAHWAY         NJ    07065‐2049
MANUEL J SANCHEZ                              501 N WARE RD                                                                                               MCALLEN        TX    78501‐8055
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MANUEL J SANGABINO JR                          107 HICKORY LN                                                                                                   KINGSTON        TN    37763‐6806
MANUEL J TREICHEL                              21649 BUCKINGHAM                                                                                                 WOODHAVEN       MI    48183‐5208
MANUEL JESUS                                   44 EMMETT PL                                                                                                     YONKERS         NY    10703‐1925
MANUEL JONES JR                                6110 LANCASTER                                                                                                   FLINT           MI    48532‐3215
MANUEL L ANES                                  15 LEE ST                                                                                                        MILFORD         MA    01757‐3031
MANUEL L SCRIPTER                              10487 W GRAND BLANC RD                                                                                           GAINES          MI    48436‐9770
MANUEL L STACY                                 825 DAYTON YELLOW SPRINGS RD                                                                                     FAIRBORN        OH    45324
MANUEL L WILLIAMS                              15 BURKES BEACH RD                                                                                               HILTON HEAD     SC    29928‐5321
MANUEL LAGE                                    99 BEAVER ST                                                                                                     FRAMINGHAM      MA    01702‐7017
MANUEL LEDESMA                                 904 S 27 1/2 STREET                                                                                              MCALLEN         TX    78501‐8305
MANUEL LIMON                                   BLVD M AVILA CAMACHO 1                 PISO 12              LOMAS DE CHAPULTEPEC   MEXICO CITY DF 11009 MEXICO

MANUEL LOPEZ                                   8506 SALEM LANE                                                                                                  DEARBORN HEIGHTS MI   48127‐1390

MANUEL LORENZO                                 35 ROUND TOP RD                                                                                                  WARREN          NJ    07059‐5521
MANUEL LORENZO                                 PO BOX 847                                                                                                       MERIDEN         CT    06450‐0847
MANUEL M ARRAIOL                               17 ASHLAND STREET                                                                                                TAUNTON         MA    02780‐3316
MANUEL M CHAVES                                RR 2 BOX                               450 KANSAS RD                                                             BRIDGTON        ME    04009‐9802
MANUEL M CHAVES                                24 ESSEX ST                                                                                                      FRAMINGHAM      MA    01702‐6466
MANUEL M RODRIGUEZ                             8463 W TUPPER LAKE RD                                                                                            LAKE ODESSA     MI    48849‐9707
MANUEL MARINO & MRS CAYETANA MARINO JT TEN     APT 5‐A                                2 KING ST                                                                 NEW YORK        NY    10012‐2915

MANUEL MARQUES                                 RUA DOS CHORGES MATA DA                CURIA ANADIA                                PORTUGAL
MANUEL MARQUES                                 258 WOODLAND AVE                                                                                                 YONKERS         NY    10703‐2319
MANUEL MARTINEZ & AURORA MARTINEZ JT TEN       718 HOYT ST                                                                                                      SAGINAW         MI    48607‐1714
MANUEL MARTINEZ JR                             HC 30 BOX 1‐A                                                                                                    PELSOR          AR    72856‐9601
MANUEL MILESTONE CUST BEVERLY MILESTONE UGMA   PO BOX 176                                                                                                       WYNCOTE         PA    19095‐0176
PA
MANUEL MORENO                                  12452 PAGELS DR                                                                                                  GRAND BLANC     MI    48439‐2425
MANUEL MOSQUEDA                                4153 OAK AVE                                                                                                     BROOKFIELD      IL    60513‐2001
MANUEL MUNOZ                                   1305 WATERMAN                                                                                                    FORT WORTH      TX    76102‐1648
MANUEL O AVILA                                 2209 SOUTH RIVER RD                                                                                              SAGINAW         MI    48609‐5385
MANUEL O FLORES                                2807 W 156 ST                                                                                                    GARDENA         CA    90249‐4507
MANUEL OLIVAREZ                                2060 INTERBAY DR                                                                                                 SAN JOSE        CA    95122‐1731
MANUEL P ACOSTA                                C/O WILHELMINA ACOSTA                  221 CORNELIA ST                                                           BROOKLYN        NY    11221‐5204
MANUEL P BENITEZ                               5187 SEVERANCE RD                                                                                                CASS CITY       MI    48726‐9397
MANUEL P SANTOS                                8 DIANA CIRCLE                                                                                                   MILFORD         MA    01757‐3283
MANUEL P TERCEIRO & MARIA TERCEIRO JT TEN      1 EMMETT PL                                                                                                      YONKERS         NY    10703
MANUEL PARAMO                                  561 TANVIEW                                                                                                      OXFORD          MI    48371‐4769
MANUEL PARAMO & AMELIA PARAMO JT TEN           561 TANVIEW                                                                                                      OXFORD          MI    48371‐4769
MANUEL PENA‐SANCHEZ                            PO BOX 12106                           LOIZA STATION        SAN JUAN               PUERTO RICO
MANUEL PEREIRA                                 562 POTTER RD                                                                                                    FRAMINGHAM      MA    01701‐3284
MANUEL PINEDA                                  42852 ISLE ROYAL ST                                                                                              FREMONT         CA    94538‐3965
MANUEL QUINTANA                                3627 ROSEMEAR AVE                                                                                                BROOKFIELD      IL    60513‐1738
MANUEL R DELAROSA                              14200 GAINS STREET                                                                                               ARLETA          CA    91331‐5344
MANUEL R GASCA                                 7640 W 62ND PL                                                                                                   ARGO            IL    60501‐1704
MANUEL R GOMEZ                                 8831 S HOUSTON AVE                                                                                               CHICAGO         IL    60617‐3232
MANUEL R LOMELI                                838 CASA BLANCA DR                                                                                               FULLERTON       CA    92832‐1004
MANUEL R LOPES                                 311 TIMBERLINE ROAD                                                                                              MOUNTAINSIDE    NJ    07092‐1960
MANUEL R LUNA                                  1309 TAFT ST                                                                                                     LANSING         MI    48906‐4951
MANUEL R PARRILLA                              1559 BIRCH CREST DR                                                                                              DEARBORN        MI    48124‐4001
MANUEL R SOUTHWOOD                             3921 MILLER DR                                                                                                   INDIANAPOLIS    IN    46239‐1301
MANUEL REY                                     895 MINNESOTA                                                                                                    TROY            MI    48083‐4436
MANUEL REYNA                                   33312 7TH ST                                                                                                     UNION CITY      CA    94587‐2129
MANUEL RIVAS                                   315 KING ST APT 2J                                                                                               PORT CHESTER    NY    10573‐4030
MANUEL RIVERO & ANGELINA RIVERO TEN COM        6395 HIGHLAND DR                                                                                                 KAUFMAN         TX    75142‐6225
MANUEL RODRIGUEZ                               10 SLOAN RD                                                                                                      WEST CHESTER    PA    19382‐4304
MANUEL ROSARIO                                 1806 COLONIAL VILLAGE WAY              APT 1                                                                     WATERFORD       MI    48328‐1925
MANUEL S ALDANA                                10667 JOSHUA ST                                                                                                  ADELANTO        CA    92301‐4128
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Name                                             Address1                              Address2                Address3       Address4          City              State Zip

MANUEL S ARROYO                                  612 OAKBROOK DR                                                                                BURLESON          TX    76028‐6386
MANUEL S ATKINSON                                20500 ARMADA RIDGE                                                                             ARMADA            MI    48005‐4227
MANUEL S AVILA                                   486 GENOA DR                                                                                   SAN JOSE          CA    95133‐1915
MANUEL S CANDEIAS                                1612 LEAF WOOD CT                                                                              LAWRENCEVILLE     GA    30043‐3561
MANUEL S CUNHA                                   313 FOREST STREET                                                                              KEARNY            NJ    07032‐3419
MANUEL S VARGAS                                  1711 E MAMMOTH DR                                                                              SANTA MARIA       CA    93454
MANUEL SAMBADE                                   99 LEXINGTON AVENUE                                                                            BAYONNE           NJ    07002‐4210
MANUEL SAMBADE & AMABLE SAMBADE JT TEN           99 LEXINGTON AVE                                                                               BAYONNE           NJ    07002‐4210
MANUEL SANJUAS                                   252 ROBERTS AVE                                                                                YONKERS           NY    10703‐1559
MANUEL SERRATO                                   5170 KENORA DR                                                                                 SAGINAW           MI    48604‐9470
MANUEL SIMOES                                    26 PORTLAND PL                                                                                 YONKERS           NY    10703‐2206
MANUEL T ALVES                                   101 HIGHLAND ST                                                                                MILFORD           MA    01757‐1851
MANUEL T ROCHA & JACINTA B ROCHA JT TEN          15432 AVENUE 18                                                                                MADERA            CA    93637‐9071
MANUEL T ROCHA & LAURA T ROCHA JT TEN            15788 AVE 18                                                                                   MADERA            CA    93637‐9071
MANUEL V DURAN                                   1299 MOONLIGHT DR                                                                              CERES             CA    95307‐7230
MANUEL V FERNANDEZ                               650 WATER ST SW                                                                                WASHINGTON        DC    20024‐2422
MANUEL V OROZCO                                  6196 ORANGE AVE                                                                                CYPRESS           CA    90630‐3331
MANUEL V PEACE                                   41588 BURROUGHS AVE                                                                            NOVI              MI    48377‐2862
MANUEL VALLEJO                                   3408 EAST NEWARK RD                                                                            ATTICA            MI    48412‐9635
MANUEL VARGAS CUST MANUEL J VARGAS JR UTMA CA    912 EUCLID AVE                                                                                 SAN GABRIEL       CA    91776‐2808

MANUEL VARGAS CUST MARK L VARGAS UTMA CA        912 EUCLID AVE                                                                                  SAN GABRIEL       CA    91776‐2808
MANUEL VELA JR                                  119 N DEER RUN TRL                                                                              AU GRES           MI    48703‐9734
MANUEL VIERA                                    2930 SHERIDAN AVE                                                                               MIAMI             FL    33140‐4336
MANUEL WERT                                     16430 NW 82ND COURT                                                                             HIALEAH           FL    33016‐3474
MANUEL WEST                                     1016 WELCOME ROAD                                                                               WILLIAMSTON       SC    29697‐9637
MANUEL Z RAMALHO                                132 KENSINGTON AVE                                                                              COLONIA           NJ    07067‐2911
MANUELA A QUINAL TR MANUELA A QUINAL REV LIV TR 28655 WALKER AVE                                                                                WARREN            MI    48092‐4153
UA 02/03/99
MANUELA BARRON                                  8913 COSMOS AVE                                                                                 EL PASO           TX    79925‐4024
MANUELA BLOCK                                   609 DRAHNER ST                                                                                  EATON RAPIDS      MI    48827‐2008
MANUELA C ESPUGA                                328 WASHINGTON AVE                                                                              ELIZABETH         NJ    07202‐3317
MANUELA C GARCIA                                2318 SO AVERS AVE                                                                               CHICAGO           IL    60623‐3040
MANUELA G ANAYA                                 4895 MACKINAW RD                                                                                SAGINAW           MI    48603‐7247
MANUELA LITA M DE RAMOS                         2375 PASEO DE LAS AMERICAS 3717                                                                 SAN DIEGO         CA    92154‐7278
MANUELA M SOUSA                                 237 N BROADWAY APT 5E                                                                           YONKERS           NY    10701‐2653
MANVELITA A FLORES                              3300 NARVAEZ AVE                       SPC 65                                                   SAN JOSE          CA    95136‐1242
MAO CHIEH CHEN                                  7900 SPRINGER RD                                                                                BETHESDA          MD    20817‐5547
MAPLE LEE LANCASTER                             1209 MAIN                                                                                       JONESVILLE        LA    71343‐3117
MAPLETON TRINITY U M CHURCH                     PO BOX 214                             520 GRANT AND HILL ST                                    MAPLETON DEP      PA    17052
MAR B ZOGRAPHOS & ATHAN E ZOGRAPHOS JT TEN      4125 SEMINOLE DR                                                                                ROYAL OAK         MI    48073‐6314

MAR JOAN KOCHER                                  2824 LEYBURN CT                                                                                LANSING           MI    48911‐2945
MARA KATHLEEN MCCONNELL & JEFFREY ALAN           826 TEN PLUS ST                                                                                BETTENDORF        IA    52722‐5163
MCCONNELL JT TEN
MARA L ORSI                                      1861 S 123RD ST                                                                                OMAHA             NE    68144‐2700
MARA LEIGH ALEXANDER                             75974 KIMBERLY ANNE WAY               #101                                                     ALEXANDRIA        VA    22310
MARA S LIPPA                                     5333 JAMES AVE                                                                                 OAKLAND           CA    94618
MARABEL A JONES CUST LINDSAY CAROLINE JONES      1659 HONFLEUR DRIVE                                                                            SUNNYVALE         CA    94087‐5209
UTMA CA
MARAGARET G RICKENBACK & ROBERT E HEIOB JT TEN   8202 RIVERSIDE                                                                                 BRIGHTON          MI    48116‐8824

MARALYN A SPENST TR AHEARN TRUST UA 9/14/98      3692 E BRIARWOOD AVE                                                                           CENTENIAL         CO    80122‐2006

MARALYN BLUMENTHAL                               68 THORNBROOKE DR                                                                              SHREWSBURY        NJ    07702‐4349
MARALYN C TAIT                                   5001 BEACH DR SW                                                                               SEATTLE           WA    98136‐1039
MARALYN D PYPA                                   26064 DUNDEE                                                                                   HUNTINGTON        MI    48070‐1309
                                                                                                                                                WOODS
MARALYN J HARRIS & JAMES R HARRIS JT TEN         1522 DEERHURST LANE                                                                            ROCHESTER HILLS   MI    48307‐3325
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Name                                            Address1                             Address2                Address3       Address4          City              State Zip

MARANDA L HELMICK & JAMES B HELMICK JT TEN      4254 WARNER RD                                                                                FOWLER            OH    44418‐9704
MARARET T LENNEBACKER & CAROL B GAROFALO JT     14135 SHADYWOOD DR APT E71                                                                    PLYMOUTH          MI    48170‐3183
TEN
MARARUTH A COX                                  306 W WADE ST                                                                                 WADESBORO         NC    28170‐2141
MARBETH LYNN MILLER                             27522 LOVAGE CT                                                                               SANTA CLARITA     CA    91350‐1619
MARBLE L KELLOM                                 14409 KENNERDOWN AVE                                                                          MAPLE HEIGHTS     OH    44137‐3629
MARC A BRUNO & LILLIAN M BRUNO JT TEN           19425 14 MILE RD                                                                              BIG RAPIDS        MI    49307‐9402
MARC A BUMPS                                    106 QUAIL RUN CT                                                                              SUFFOLK           VA    23434‐2164
MARC A BURKE                                    10216 OAK ROAD                                                                                MILLINGTON        MI    48746‐9332
MARC A COGSWELL                                 4650 TOLLAND AVENUE                                                                           HOLT              MI    48842‐1128
MARC A COHEN CUST JACOB A COHEN UTMA PA         170 BRITTANY WAY                                                                              BLUE BELL         PA    19422‐1416
MARC A DEWERTH                                  24258 LEBERN DR                                                                               N OLMSTED         OH    44070‐1037
MARC A HERBST                                   1526 FEATHERWOOD ST                                                                           SILVER SPRING     MD    20904‐6653
MARC A HERNANDEZ                                5511 KANLOW DR                                                                                NAPERVILLE        IL    60564‐4963
MARC A KIDDER                                   1629 TAMMARRON S E                                                                            GRAND RAPIDS      MI    49546‐9734
MARC A KONDRATOW                                2094 DAINTREE                                                                                 WEST BLOOMFIELD   MI    48323‐3802

MARC A LITTLE                                    17216 PLAIN VIEW                                                                             DETROIT           MI    48219‐3554
MARC A MEYER                                     630 WILLARD AVE                                                                              ROCHESTER HLS     MI    48307‐2361
MARC A MONREAL                                   4150 SOUTH 66TH STREET                                                                       GREENFIELD        WI    53220‐3016
MARC A ROBERTS                                   191 COX RD                                                                                   EDGERTON          WI    53534‐9705
MARC A RODRIGUE                                  972 PAUL RD                                                                                  ROCHESTER         NY    14624‐4353
MARC A SOCOL                                     1040 S ADAMS ST                                                                              DENVER            CO    80209
MARC A VAN WELSENAERS                            1205 JOLIET RD                                                                               MARQUETTE         MI    49855‐5219
MARC A VERDUGO                                   10511 CROCKETT STREET                                                                        SAN VALLEY        CA    91352‐4121
MARC A WALKER                                    3300 E DEERFIELD RD                 APT D188                                                 MT PLEASANT       MI    48858‐4510
MARC ABRAM MURDOCK                               2740 KUILEI ST 2102                                                                          HONOLULU          HI    96826‐3425
MARC ALAN FEIGEN                                 C/O KPL                             381 PARK AVENUE SOUTH   5TH FLOOR                        NEW YORK          NY    10016‐8806
MARC ALDERMAN                                    5651 HARRINGTON FALLS               UNIT F                                                   ALEXANDRIA        VA    22312
MARC AMOROSO                                     38838 LAKESHORE DR                                                                           HARRISON TWP      MI    48045‐2873
MARC ARONIN CUST PHILIP S ARONIN UTMA MD         3316 DANDELION DR                                                                            FINKSBURG         MD    21048‐2138
MARC B ROSEN TR UA 10‐31‐96 P A T R&S ROSEN      21036 COUNTRY PARK RD                                                                        SALINAS           CA    93908
FAMILY TRUST
MARC BATKIN                                      3262 WOODWARD ST                                                                             OCEANSIDE         NY    11572‐4527
MARC BEDARD                                      409 POINTE AUX ANGLAIS              SAINT‐PLACIDE QC                       J0V 2B0 CANADA
MARC BEDARD                                      409 POINTE AUX ANGLAIS              SAINT‐PLACIDE QC                       J0V 2B0 CANADA
MARC BLAKE TR MARC BLAKE LIVING TRUST UA 7/23/92 2127 ELSINORE STREET                                                                         LOS ANGELES       CA    90026‐3013

MARC CHARLES DABAGIAN                           5417 KNOLLWOOD DR                                                                             RALEIGH           NC    27609‐4552
MARC COMEAU                                     GM OF CANADA                         12 ISLAY COURT          COURTICE ON    L1E 2E7 CANADA
MARC COMEAU                                     12 ISLAY CT                          COURTICE ON                            L1E 2E7 CANADA
MARC D BOOHER                                   3934 BARTON DR                                                                                LAINGSBURG        MI    48917‐1606
MARC D CAMPBELL                                 256 COUNTY ROUTE 11                                                                           WEST MONROE       NY    13167‐3101
MARC D LUTZ                                     3250 E COON LAKE RD                                                                           HOWELL            MI    48843‐9420
MARC D PERRY                                    1330 W NORTH SHORE AVE                                                                        CHICAGO           IL    60626‐4708
MARC DANTE                                      20 IRWIN PL                                                                                   BLOOMFIELD        NJ    07003
MARC DAVID COLTON                               19 SHAWNEE AVE                                                                                ROCKAWAY          NJ    07866‐1504
MARC DAVID GREEN & BARBARA GREEN JT TEN         6680 NW 66 WAY                                                                                PARKLAND          FL    33067‐1418
MARC DAVIES                                     165 FLORAL DRIVE                                                                              MORRISVILLE       PA    19067‐5955
MARC DOUWEN                                     SINT THERESIASTRAAT                  72 B2400                MOL            BELGIUM
MARC E BECKHAM                                  18470 MOENART ST                                                                              DETROIT           MI    48234‐2348
MARC E GIACOMAZZI                               708 EDGEMERE LANE                                                                             SARASOTA          FL    34242‐1523
MARC E LOHELA CUST AIMEE M LOHELA UGMA MI       5954 US 23 E                                                                                  CHEBOYGAN         MI    49721‐8617
MARC E LOHELA CUST MARC E LOHELA II UGMA MI     5954 US 23 E                                                                                  CHEBOYGAN         MI    49721‐8617

MARC E MINICHELLO CUST MARISSA MINICHELLO UGMA 608 SUSQUEHANNA AVE                                                                            WEST PITTSTON     PA    18643
PA
MARC E MINTO & JUDITH A MINTO JT TEN           1466 HARDING AVE BOX 483                                                                       MINERAL RIDGE     OH    44440‐0483
MARC E PARKER                                  51663 STONEHAM WAY                                                                             GRANGER           IN    46530‐8495
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MARC EDWARD MILLER                              16 MIDDLESEX RD                                                                                 SHARON           MA    02067‐2651
MARC EISENSTOCK CUST JORDAN H EISENSTOCK UTMA   9 BLACKTHORN DR                                                                                 WORCESTER        MA    01609‐1187
MA
MARC F BRUNETT & CHERYL L BRUNETT JT TEN        991 CARIBOU WAY                                                                                 THE VILLAGES     FL    32162
MARC F KEENAN                                   4750 BONTON DR                                                                                  HOLIDAY          FL    34690‐3910
MARC FARRAND                                    105 O'HARA DR                                                                                   WARNER ROBINS    GA    31088
MARC G BACH                                     294 WOODLAND DR                                                                                 BUFFALO          NY    14223‐1641
MARC G GEELHOED                                 3308 FALLASBURG                                                                                 LOWELL           MI    49331‐9717
MARC G HAYFORD & KATHRYN A HAYFORD JT TEN       14407 FRUITWOOD                                                                                 WASHINGTON       MI    48094‐3214
MARC G LEVITTE                                  6754 SW ASHDALE DR                                                                              PORTLAND         OR    97223‐1347
MARC G ST AMAND                                 1365 KIMMER CT                                                                                  LAKE FOREST      IL    60045‐3671
MARC GLOTZBECKER                                4284 FOREST RIDGE DR                                                                            ASHTABULA        OH    44004‐9644
MARC GORDON CUST SCOTT GORDON UTMA IL           90 RIPARIAN RD                                                                                  HIGHLAND PARK    IL    60035‐1909
MARC H REITZ                                    103 BAYVIEW PL                                                                                  SACKETS HBR      NY    13685‐4103
MARC H SHAPIRO                                  6 LOUIS RD                                                                                      FRAMINGHAM       MA    01702‐5724
MARC H VEENEMAN                                 2213 CLEARWATER RUN                                                                             THE VILLAGES     FL    32162‐2303
MARC H WILDY                                    4341 E ALISO CANYON                                                                             PHOENIX          AZ    85044‐5582
MARC HAUSLER                                    BETSCHARTMATTE 27                     ALTDORF                                6460 SWITZERLAND
MARC HENDERSON                                  3210 FOREST AVE                                                                                 EVANSVILLE       IN    47712‐4947
MARC I ALSSID                                   785 BELLMORE RD                                                                                 NO BELLMORE      NY    11710‐3765
MARC I KISSEL                                   7 PADDOCK LN                                                                                    SUFFERN          NY    10901‐6300
MARC IMAN                                       14207 ADAMS ROAD                                                                                PLAIN CITY       OH    43064
MARC ISRAEL & MARY JO ISRAEL JT TEN             8363 HENDRIE BLVD                                                                               HUNTINGTON       MI    48070‐1613
                                                                                                                                                WOODS
MARC J ALLAIN & SUSAN I ALLAIN JT TEN           47 FOX HOLLOW LN                                                                                OSTERVILLE       MA    02655‐1369
MARC J ANKERMAN                                 5240 SETTLEMENT DR                                                                              NEW ALBANY       OH    43054
MARC J MORGAN                                   4109 WAKEFIELD LN                                                                               BOWIE            MD    20715
MARC J SANTAROSSA                               381 WOODRIDGE                         TECUMSEH ON                            N8N 3A7 CANADA
MARC J WALLACE                                  10128 ELMIRA ST                                                                                 PINCKNEY         MI    48169‐8496
MARC K LAMB                                     424 RYLAND COURT                                                                                DAYTON           OH    45459‐3024
MARC K SHAYE CUST DAVID NATHAN SHAYE UGMA MI    32500 SCENIC LANE                                                                               FRANKLIN         MI    48025‐1752

MARC K SMITH                                    4860 BISHOP LAKE RD                                                                             MARIETTA         GA    30062‐6419
MARC KASHAR                                     41 RICHARD BROWN DR                                                                             UNCASVILLE       CT    06382‐1141
MARC KLAUSNER                                   160 E 91ST ST                         APT 5D                                                    NEW YORK         NY    10128
MARC KURTIS                                     2627 DANNY LN                                                                                   FARMERS BRANCH   TX    75234‐6201

MARC L FELDMAN                                  3685 STARBOARD LN #9515                                                                         SNELLVILLE       GA    30039‐5915
MARC L LA MONACO                                110 LONGVIEW TER                                                                                ROCHESTER        NY    14609‐4206
MARC L ROBINSON                                 10 LITTLE MEADOW RD                                                                             GUILFORD         CT    06437‐2024
MARC L SCHWARTZ                                 540 SKY WAY DR                                                                                  OREGON           OH    43616
MARC L SIEGEL                                   PO BOX 13789                                                                                    ATLANTA          GA    30324‐0789
MARC L TEICHNER                                 6279 GRAND LOOP RD                                                                              SUGAR HILL       GA    30518‐8913
MARC LIEBER                                     1190 CROOKED STICK DR                                                                           PROSPER          TX    75078
MARC LIEBERMAN                                  1456 E 21ST ST                                                                                  BROOKLYN         NY    11210‐5034
MARC LIECHTUNG                                  111 EAST 85TH STREET                  APT 8F                                                    NEW YORK         NY    10028‐0958
MARC M MRACHINA                                 51076 FORSTER LN                                                                                SHELBY TWP       MI    48316‐3869
MARC MAGRAM                                     9822 MC MILLAN AVE                                                                              SILVER SPRING    MD    20910‐1149
MARC MANLEY CUST ALEC MANLEY UTMA AZ            8869 E CAPTAIN DREYFUS                                                                          SCOTTSDALE       AZ    85260‐7627
MARC MAYO                                       23853 BONNY BANK DRIVE                                                                          WESTLAKE         OH    44145‐3535
MARC MCHENRY                                    6713 N GROVE                                                                                    WICHITA          KS    67219‐1553
MARC MICKOWSKI                                  106 LINES LN                                                                                    MOUNTAIN TOP     PA    18707‐9026
MARC P HAYNES                                   1009 PIKE ST                                                                                    SAINT CHARLES    MO    63301‐2905
MARC P RIDEOUT                                  8054 SUMMERVIEW DRIVE                                                                           FAYETTEVILLE     NY    13066‐9662
MARC PASTER                                     6 BROWN ROAD                                                                                    SWAMPSCOTT       MA    01907‐1608
MARC PERLOV                                     49 STILLWATER CRESCENT                WILLOWDALE ON                          M2R 3S3 CANADA
MARC R BOZA                                     26540 GREENLEAF                                                                                 ROSEVILLE        MI    48066‐3370
MARC R BUSBY & JANE P BUSBY JT TEN              75 WILLIAMS AVENUE                                                                              NEWTOWN          PA    18940‐3613
MARC R LAGARDE                                  711 COUNTY ST                                                                                   FALL RIVER       MA    02723‐3210
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MARC R MOUALLEM                                  1747 PENNSYLVANIA AVE NW                APT 140                                                          WASHINGTON      DC    20006‐4604
MARC R PATTERSON                                 1209 E 9TH ST                                                                                            SHAWNEE         OK    74801‐7339
MARC RENC                                        27 W 122 BAUER ROAD                                                                                      NAPERVILLE      IL    60563
MARC RENDELL CUST AREN G RENDELL UTMA NE         660 S 85TH ST                                                                                            OMAHA           NE    68114
MARC RENDELL CUST LEA E RENDELL UTMA NE          660 S 85TH ST                                                                                            OMAHA           NE    68114
MARC RENDELL CUST SARA R RENDELL UTMA NE         660 S 85TH ST                                                                                            OMAHA           NE    68114
MARC RUBIN                                       5775 LAMPLIGHTER DR                                                                                      GIRARD          OH    44420‐1630
MARC S ALPERT                                    2697 N OCEAN BLVD ‐ F201                                                                                 BOCA RATON      FL    33431
MARC S PRIZANT & JUSTIN MARC PRIZANT JT TEN      360 E BUDD ST                                                                                            SHARON          PA    16146‐1904
MARC S PRIZANT & JUSTIN PRIZANT JT TEN           360 E BUDD ST                                                                                            SHARON          PA    16146‐1904
MARC S ROBINSON                                  3587 SALEM RD                                                                                            TROY            MI    48084‐1145
MARC SACERDOTE                                   467 CENTRAL PARK W APT 12A                                                                               NEW YORK        NY    10025‐3886
MARC SAMBERG                                     SUITE 121                               484 LAKE PARK                                                    OAKLAND         CA    94610‐2730
MARC SANTANA & MRS ELAINE SANTANA JT TEN         2172 GRICE LANE                                                                                          KETTERING       OH    45429‐4154
MARC SCHIFF                                      POWERTRAIN‐O/S                          81 RUE DE LA ROCHELLE     67026 STRASBOURG     FRANCE
MARC SCHIFF                                      GM STRASBOURG 81 RUE DE LA              ROCHELLE BP 33            STRSABRG CEDEX FRA   FRANCE
MARC SCOTT COOPERMAN                             2 S 378 WILLIAMS RD                                                                                      WARRENVILLE     IL    60555‐2226
MARC SIMMANS                                     4573 CARTHAGE CIR S                                                                                      LAKE WORTH      FL    33463‐7245
MARC SKOGLAND                                    1412 EAGLE TRAIL                                                                                         COPPERAS COVE   TX    78522
MARC SPISAK                                      3503 W 3RD ST                                                                                            MARCUS HOOK     PA    19061‐5109
MARC STEPHEN RENDELL & MRS VICTORIA C RENDELL JT 660 S 85TH ST                                                                                            OMAHA           NE    68114
TEN
MARC STEPHEN SMITH                               169 STANLEY CIRCLE DR                                                                                    ESTES PARK      CO    80517
MARC T NOVER                                     201 ARDELEAN DR                                                                                          OWOSSO          MI    48867‐1215
MARC TAUBENFELD                                  3420 AMHERST AVE                                                                                         DALLAS          TX    75225‐7624
MARC V ARCHER                                    2331 WELCH BLVD                                                                                          FLINT           MI    48504‐2913
MARC V MUSIAL                                    2186 PINE BLUFF CT                                                                                       LEONARD         MI    48367‐3228
MARC VINCENT DELL ACQUA                          814 CRESTVIEW COURT                                                                                      SAN MARCOS      CA    92069‐4976
MARC W FALON                                     112 W MAIN ST                                                                                            BERGENFIELD     NJ    07621‐1625
MARC W GIBSON CUST KATHERINE RENAY GIBSON        6708 ODONIEL LOOP W                                                                                      LAKELAND        FL    33809
UTMA OH
MARC W HARRINGTON                                118 16TH AVE                                                                                             SAN FRANCISCO   CA    94118
MARC W NYHOLM                                    2303 WILDWOOD                                                                                            GRAND BLANC     MI    48439‐4346
MARC W PINANSKY                                  12 WINDINGWOOD LN                                                                                        ACTON           MA    01720‐4776
MARC W WINCHELL                                  15940 LAKEFIELD RD                                                                                       HEMLOCK         MI    48626‐8713
MARC XAVIER SNEED                                4500 CHESHIRE DOWNS CT                                                                                   RALEIGH         NC    27603‐8257
MARC‐DAVID R SHULMAN                             5193 DUANE DR                                                                                            FAYETTEVILLE    NY    13066‐1814
MARCEL A PISANI                                  PO BOX 458                                                                                               SPRINGHILL      TN    37174‐0458
MARCEL BILODEAU & DONELDA BILODEAU JT TEN        2157 BELLE MEADE DR                                                                                      DAVISON         MI    48423‐2059
MARCEL D CARMI                                   5804 BENT TWIG ROAD                                                                                      MCLEAN          VA    22101‐1806
MARCEL F LACHANCE                                6 CHURCH ST                                                                                              BLACKSTONE      MA    01504‐1628
MARCEL G DE MUYNCK                               60 STRATFORD LN                                                                                          ROCHESTER HLS   MI    48309‐2066
MARCEL GELINAS                                   1 RUE ESTHER                            ST‐PLACIDE QC                                  J0V 2B0 CANADA
MARCEL HOFFMAN                                   HELMSLEY CARLTON                        680 MADISON AVE APT 405                                          NEW YORK        NY    10021‐7246
MARCEL J GRENIER & LORRAINE E GRENIER JT TEN     100 SHADOW LANE                                                                                          WEST HARTFORD   CT    06110‐1644
MARCEL J LAMOTHE                                 37 FAIRWAY LANE                                                                                          BLACKSTONE      MA    01504‐2300
MARCEL J MESSONNIER JR & BERNADINA T             15 S BELFAIR PL                                                                                          THE WOODLANDS   TX    77382‐5302
MESSONNIER JT TEN
MARCEL J SUJKOWSKI & LEONA M SUJKOWSKI JT TEN    1806 34TH ST                                                                                             BAY CITY        MI    48708‐8150

MARCEL J SUJKOWSKI & LEONA M SUJKOWSKI TEN ENT 1806 34TH ST                                                                                               BAY CITY        MI    48708‐8150

MARCEL J VAN BELLE                              38943 HARRISON                                                                                            STERLING HTS    MI    48310‐3208
MARCEL JOYAL                                    140 GROVE ST                                                                                              MILLVILLE       MA    01529‐1640
MARCEL L DELAGE                                 1441 SCENIC PINES DRIVE                                                                                   LAURENCEVILLE   GA    30044‐6286
MARCEL M MATHENY & KENNETH M MATHENY JT TEN     13476 COLEEN                                                                                              WARREN          MI    48089‐3324

MARCEL NORMANDIN                                20 JOSEPH RD                                                                                              MILFORD         MA    01757‐1420
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MARCEL NORMANDIN & MONIQUE C NORMANDIN JT         20 JOSEPH ROAD                                                                                  MILFORD         MA    01757‐1420
TEN
MARCEL R CONWAY                                   11970 4TH ST                                                                                    YUCAIPA         CA    92399‐4120
MARCEL R WANCKET                                  50545 LAGAE                                                                                     NEW BALTIMORE   MI    48047‐4234
MARCEL RAJOTTE                                    30 LEXINGTON PKWY                                                                               PITTSFIELD      MA    01201‐7330
MARCEL ROBERGE                                    100 JORDAN ST #2ND FL                                                                           NEW BRITAIN     CT    06053‐2331
MARCEL S KILLINGBECK                              6497 N FARMINGTON RD                                                                            WESTLAND        MI    48185‐2814
MARCEL SCRAIRE                                    92 SAUVE                               VAUDREUIL QC                           J7V 5Y3 CANADA
MARCEL VERMEULEN & CLARA VERMEULEN JT TEN         3750 W 83RD ST                                                                                  CHICAGO         IL    60652‐2402

MARCELA E KNOX                                1371 LINDEN BOULEVARD                      APT 15D                                                  BROOKLYN        NY    11212‐4713
MARCELE D BALDWIN                             19000 BENTLER ST                                                                                    DETROIT         MI    48219‐2476
MARCELENE P GINN                              841 NORTH LEAVITT ROAD                                                                              LEAVITTSBURG    OH    44430‐9626
MARCELIN HERNANDEZ                            2075 RILEY RD                                                                                       CARO            MI    48723‐9575
MARCELIN V VERGARA                            10 EVANSVILLE LN                                                                                    PALM COAST      FL    32164‐6205
MARCELINE BROWN TODD & WILLIAM T TODD TEN COM 1392 ARBOR TRAIL                                                                                    THE VILLAGES    FL    32162‐2246

MARCELINE CONNELL CUST E MICHAEL CONNELL UGMA PO BOX 528                                                                                          WOLCOTT         CO    81655‐0528
WI
MARCELINE F STOUT                             1304 BEECH AVE                                                                                      TORRANCE        CA    90501‐2423
MARCELINE L MAHAN                             R #3 BOX 127 N                                                                                      MONTICELLO      KY    42633‐9517
MARCELINE L WHIPP                             4207 TREEGARDEN                                                                                     SAN ANTONIO     TX    78222‐3709
MARCELINO CUBILLA                             2420 WILD TAMARIND BLVD                                                                             ORLANDO         FL    32828
MARCELINO O ANDAYA                            37763 COLONIAL DR                                                                                   WESTLAND        MI    48185‐1004
MARCELINO VARGAS                              13700 FILMORE ST                                                                                    PACOIMA         CA    91331‐2911
MARCELIOUS WILLIS JR                          702 RIVA RIDGE DR                                                                                   CRESTVIEW       FL    32539‐6046
MARCELL WILLIAMS                              2731 BEACON HILL CT                                                                                 WICHITA         KS    67220‐4222
MARCELLA A CHANACKI TR CHANACKI FAM TRUST UA  8413 E SAN MARTARRO DR                                                                              JACKSONVILLE    FL    32217‐4492
01/16/95
MARCELLA A MASTRODONATO                       551 TREMONT ST                                                                                      TAUNTON         MA    02780‐5115
MARCELLA ATHMANN TOD LAUREEN ATHMANN          146 E BUFFALO ST                                                                                    DULUTH          MN    55811‐2337
MARCELLA ATHMANN TOD LOIS NEVINSKI            305 DOUGLAS DRIVE                                                                                   BUFFALO         MN    55313‐9240
MARCELLA B HOLDEN                             41 WICKOM AVE                                                                                       HAMILTON SQUARE NJ    08690‐1635

MARCELLA B REIHER                                 11111 RIVER HILLS DR                   APT 108                                                  BURNSVILLE      MN    55337‐3267
MARCELLA C DIETRICH                               2200 MARSHALL AVE                      ELM GROVE                                                WHEELING        WV    26003‐7421
MARCELLA C GRIMM                                  3192 N PARK EXT RD#4                                                                            WARREN          OH    44481‐9366
MARCELLA CARE TOD JON CARE SUBJECT TO STA TOD     5409 MISTY CREEK COURT                                                                          FLINT           MI    48532
RULES
MARCELLA COOKE RYAN                               235 OVERLAND CT                                                                                 NOBLESVILLE     IN    46060‐5492
MARCELLA D GOUL                                   1460 CHAMPLIN CIR                                                                               GULFPORT        MS    39507‐4208
MARCELLA E BERNETHY & WILLIAM L BERNETHY JT TEN   PO BOX 478                                                                                      BIG TIMBER      MT    59011‐0478

MARCELLA F BOWLEY                                 C/O MARCELLA F NOLLEY                  2412 NORTH BELL ST                                       KOKOMO          IN    46901‐1409
MARCELLA F SHORT                                  5811 DEASE LAKE RD                                                                              HALE            MI    48739‐8807
MARCELLA FLOREZ                                   7205 BOB WHITE NE                                                                               ALBUQUERQUE     NM    87109‐6011
MARCELLA H BRINICH & ROBERT F BRINICH JT TEN      12290 CONE DR                                                                                   SHELBY TWP      MI    48315‐5700

MARCELLA H GRIFFIN                                202 PARK ST APT 105                                                                             SPEARVILLE      KS    67876
MARCELLA J BOLTZ                                  6574 BURTON DR                                                                                  BROOK PARK      OH    44142‐1204
MARCELLA J CRISCI                                 333 EUCLID AVE                                                                                  LOCH ARBOUR     NJ    07711‐1238
MARCELLA J GOLDBACH                               37223 EUCLID AVE                       # 125                                                    WILLOUGHBY      OH    44094‐5658
MARCELLA J JOCKWIG                                5667 BRUNSWICK                                                                                  WATERFORD       MI    48327‐2512
MARCELLA J LANDIS & EDWIN P LANDIS JT TEN         495 W PATRIOT ST                       # 232                                                    SOMERSET        PA    15501‐1503
MARCELLA J MELTON                                 5522 W OHIO ST                         APT 2E                                                   CHICAGO         IL    60644‐1523
MARCELLA L BOWMAN                                 702 GREENHURST DR                                                                               VANDALIA        OH    45377
MARCELLA L DOYLE TR MARCELLA L DOYLE REVOCABLE    4614 RIVA RIDGE COURT                                                                           INDIANAPOLIS    IN    46237‐2105
TRUSTUA 09/24/96
MARCELLA L FRANKLIN                               11376 ANDREW DR                                                                                 GARDEN GROVE    CA    92843‐3610
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MARCELLA L HAYES                                 2712 W TWICKINGHAM DR                                                                          MUNCIE             IN    47304‐6515
MARCELLA L MEHRMANN                              1420 NEWARK RD                                                                                 GRANVILLE          OH    43023‐1461
MARCELLA L RODRIGUEZ TR UA 08/18/08 MARCELLA L   11575 HOSFORD RD                                                                               CHARDON            OH    44024‐9647
RODRIGUEZ LIVING TRUST
MARCELLA L WHITE                                 2728 ASHPARK                                                                                   FORT WORTH       TX      76118‐6701
MARCELLA LANZA                                   1192 LONG POND RD                                                                              ROCHESTER        NY      14626‐1162
MARCELLA M CLARK                                 42 STILLWELL DR                                                                                DAYTON           OH      45431‐1352
MARCELLA M HALPHEN                               2314 HIDDEN LAKE DR                                                                            NORMAN           OK      73069‐8063
MARCELLA M HUISMAN                               1302 TIMBER TRACE                                                                              AUBURN           IN      46406
MARCELLA M TREGO                                 328 N DILLWYN RD                                                                               NEWART           DE      19711‐5505
MARCELLA MAPES                                   408 OHIO AVE                          PO BOX 77                                                HOOVEN           OH      45033‐0077
MARCELLA MARTIN                                  3375 N LINDEN RD                      APT 240                                                  FLINT            MI      48504‐5726
MARCELLA MC CORMICK FAY                          536 DEER HILL ROAD                                                                             SHAVERTOWN       PA      18708‐9510
MARCELLA MORAWA                                  35 2ND ST                                                                                      DEARBORN HEIGHTS MI      48127‐1988

MARCELLA NOWAK                                   42876 HANKS LANE                                                                               STERLING HTS       MI    48314
MARCELLA PODOJAK & THERESA SWANSON & SANDRA      1451 S RIVER RD                                                                                SAGINAW            MI    48609‐5208
KAY M SWANSON JT TEN
MARCELLA R BAILEY                                3775 BALDWIN RD                                                                                ORION              MI    48359‐1507
MARCELLA R KEMPER                                11086 RIDGE FOREST CT                                                                          ST LOUIS           MO    63126‐3429
MARCELLA R LITTLE                                12139 ODELL RD                                                                                 LINDEN             MI    48451‐9485
MARCELLA R NEITZEL                               5032 NORTH 28TH STREET                                                                         MILWAUKEE          WI    53209‐5519
MARCELLA RAMOS                                   13711 BECKNER STREET                                                                           LA PUENTE          CA    91746‐2022
MARCELLA RINEHART                                970 NACION AVE                                                                                 CHULA VISTA        CA    91911‐2443
MARCELLA S BEASLEY                               3731 HURSTBOURNE RIDGE BLVD                                                                    LOUISVILLE         KY    40299‐6532
MARCELLA S FITZSIMMONS                           2517 T ST #D                                                                                   SACRAMENTO         CA    95816
MARCELLA S LANGWEROWSKI                          33716 SHELLEY LYNNE DRIVE                                                                      STERLING HEIGHTS   MI    48312‐6052

MARCELLA V WALDON & GARY WILLIAM WALDON JT       4750 ADAUR RD                                                                                  SIMI VALLEY        CA    93063
TEN
MARCELLA WHERRY                                  124 LAFAYETTE AVE                                                                              VANDERGRIFT        PA    15690‐1124
MARCELLE BIJOU                                   5 ERIE COURT                                                                                   SUFFERN            NY    10901‐4121
MARCELLE D LOWELL                                49 SERPENTINE LN                                                                               LEVITTOWN          PA    19055‐2229
MARCELLE G CARACINO                              455 N MAIN ST                                                                                  WOONSOCKET         RI    02895‐1188
MARCELLE STANDIFER                               14213 STANSBURY                                                                                DETROIT            MI    48227‐3151
MARCELLETT L GRAY                                10134 MONICA                                                                                   DETROIT            MI    48204‐1299
MARCELLINA CHECCHIN                              514 N OLIVE ST                                                                                 TOLUCA             IL    61369‐9639
MARCELLINA CHECCHIN & JERRY PIASSE JT TEN        514 N OLIVE ST                                                                                 TOLUCA             IL    61369‐9639
MARCELLINA CHECCHIN & RINO CHECCHIN JT TEN       514 N OLIVE ST                                                                                 TOLUCA             IL    61369‐9639

MARCELLINE C KING                                2302 E 1100 N                                                                                  ALEXANDRIA         IN    46001‐8491
MARCELLINE M RICKER                              6120 SOUTH WOODWARD AVENUE                                                                     DOWNERS GROVE      IL    60516
MARCELLINE S RIES                                23485 HWY 316                                                                                  HASTINGS           MN    55033
MARCELLO A GALLI                                 60 ARTHUR PL                                                                                   YONKERS            NY    10701‐1703
MARCELLO CAIOLA                                  6207 STARDUST LANE                                                                             BETHESDA           MD    20817‐5927
MARCELLUS A HUGGINS                              2820 CISSNA                                                                                    KANSAS CITY        KS    66104‐5439
MARCELLUS J COLLIER                              29441 WEST JEFFERSON AVCENUE          APT 15A                                                  GIBRALTOR          MI    48173
MARCELLUS LYLE JR                                C/O P O BOX 249                                                                                MT MORRIS          MI    48458
MARCELLUS R HERRING                              2201 RIVIERA DR                                                                                INDIANAPOLIS       IN    46260‐4348
MARCELLUS SNYDER                                 1183 GLYNN ST                                                                                  DETROIT            MI    48202‐1426
MARCELO SOLORZANO                                321 HAAG CT                                                                                    LANSING            MI    48912‐1505
MARCELYN L PICK                                  92 NORTH WREN                                                                                  NEW ORLEANS        LA    70124‐4110
MARCELYN M KUIPERS                               9236 REDBUD                                                                                    PLYMOUTH           MI    48170‐4109
MARCENE B VESTER & GRETCHEN DAWN LEWIS JT TEN    823 LAKE BOONE TRAIL                                                                           RALEIGH            NC    27607‐6605

MARCENE B VESTER & J PRESTON W VESTER JT TEN     823 LAKE BOONE TRAIL                                                                           RALEIGH            NC    27607‐6605

MARCENE G PHILLIPS                               226 FENNER HILL RD                                                                             PORT CRANE         NY    13833
MARCENE S ZIEGLER                                PO BOX 421                                                                                     LOUDON             TN    37774‐0421
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MARCEY ANN BRONOEL & KAREN SUE BRONOEL JT TEN 1870 COLONIAL VILLAGE WAY APT 1                                                                  WATERFORD          MI    48328‐1957

MARCH COOPER JR                                4630 AUDUBON                                                                                    DETROIT            MI    48224‐2797
MARCH SADOWITZ                                 186 HOMMELVILLE RD                                                                              SAUGERITES         NY    12477‐4204
MARCHEL BROWN                                  7256 N IRISH RD                                                                                 OTISVILLE          MI    48463‐9417
MARCHIE WALK HARRIS                            PO BOX 506                                                                                      PARAGON            IN    46166‐0506
MARCI G GRANT & STEVEN GRANT JT TEN            4830 ROLLING RIDGE CT                                                                           WEST BLOOMFIELD    MI    48323‐3349

MARCI L FRISHMAN                               29 WHITE BIRCH DR                                                                               POMONA             NY    10970‐3403
MARCI R RIPLEY CUST JOHNATHON M PEOPLES UTMA   16983 BILLINGS RD                                                                               LAWSON             MO    64062‐8364
MO UNIF TRAN MIN ACT
MARCI SALMON CUST GABRIEL CHARLES SALMON       6057 E CALLE CEDRO                                                                              ANAHEIM            CA    92807‐3208
UGMA CA
MARCI SCHECTER CUST ALEX SCHECTER UTMA MI      7463 DUVAL DRIVE                                                                                BLOOMFIELD HILLS   MI    48301‐3622

MARCIA A ALDERINK                              9456‐28TH ST S E                                                                                ADA                MI    49301‐8541
MARCIA A CAVANAUGH                             51 HEPBURN RD                                                                                   HAMDEN             CT    06517‐2921
MARCIA A DONAHOE                               ATTN MARCIA A SPENCER                  1587 WATERMARK CRT                                       MIAMISBURG         OH    45342‐0508
MARCIA A FORESTER                              132 DEVON RD                                                                                    ROCHESTER          NY    14619‐2404
MARCIA A GABRIEL                               5162 LOGANBERRY DR                                                                              SAGINAW            MI    48603‐1138
MARCIA A GODFREY                               3904 W BEECHWOOD DR                                                                             ROGERS             AR    72756‐1875
MARCIA A HOOPER                                3653 STAGECOACH DRIVE                                                                           OKEMOS             MI    48864‐4029
MARCIA A HOOPER & MARK E HOOPER JT TEN         3653 STAGECOACH DRIVE                                                                           OKEMOS             MI    48864‐4029
MARCIA A HOPE                                  6634 AMBLEWOOD NW                                                                               CANTON             OH    44718‐1389
MARCIA A HUEBNER                               1177 E CENTER ST                                                                                MARION             OH    43302‐4445
MARCIA A JAKUBCZAK                             152 CARDINAL LANE                                                                               GRAND ISLAND       NY    14072‐1988
MARCIA A KRAUSE                                501 S 525 W                                                                                     COLUMBUS           IN    47201‐4730
MARCIA A LINDSAY                               2514 HARVARD AVE                                                                                SAN ANGELO         TX    76904‐5431
MARCIA A LITTLE                                840 AMY DRIVE                                                                                   GRAND ISLAND       NY    14072‐1863
MARCIA A MASON                                 4425 EAST PAULDING RD                                                                           FORT WAYNE         IN    46816‐4606
MARCIA A MORGAN & ANDRIA J MORGAN JT TEN       1764 E APPLE AVE                       APT 609                                                  MUSKEGON           MI    49442‐4268
MARCIA A MORGAN & DENA F CHILSON JT TEN        1764 E APPLE AVE                       APT 609                                                  MUSKEGON           MI    49442‐4268
MARCIA A MULDROW                               PO BOX 3202                                                                                     BUFFALO            NY    14240‐3202
MARCIA A PETROVICH                             67 2ND ST                                                                                       WATERFORD          NY    12188‐2422
MARCIA A SCHWARTZ                              19 OAK TREE RD                                                                                  MONMOUTH JCT       NJ    08852‐3040
MARCIA A SHEPPARD                              18600 CO RD 218                                                                                 DEFIANCE           OH    43512‐9312
MARCIA A SIMONS                                3230 BARCLAY MESSERLY RD                                                                        SOUTHINGTON        OH    44470‐9756
MARCIA A SPACK                                 1278 STEWART RD                                                                                 SALEM              OH    44460‐4166
MARCIA A STEWART & LYMAN L STEWART SR JT TEN   7128 LEBANON TRAIL                                                                              DAVISON            MI    48423‐2352

MARCIA A STOCK                                 2600 15TH AVE                                                                                   SOUTH MILWAUKEE WI       53172‐3004

MARCIA ADAMS CASHIN                            902 MEDIE AVE                                                                                   NORTH AUGUSTA      SC    29841‐5200
MARCIA ALLEN                                   711 OAK RIDGE DRIVE                                                                             SAND SPRINGS       OK    74063‐7012
MARCIA ANN BATTIS                              PO BOX 221                                                                                      MIDDLEBORO         MA    02346‐0221
MARCIA ANN CERRETO                             142 STONEHENGE TER                                                                              CLARK              NJ    07066‐2033
MARCIA ANN FITZGERALD                          4046 ROUTE 21                                                                                   SCHODACK LNDG      NY    12156
MARCIA ANN JACOBS                              C/O SHERRY GALLAGHER                   8883 W 100 N                                             KOKOMO             IN    46901‐9758
MARCIA ANN MEDITCH                             ATTN MARCIA M MURPHEY                  4002 UNDERWOOD ST                                        CHEVY CHASE        MD    20815‐5028
MARCIA ANN ORR                                 501 S 525 W                                                                                     COLUMBUS           IN    47201‐4730
MARCIA ANN ROTONDO                             750 MAIN ST                                                                                     WINCHESTER         MA    01890‐4310
MARCIA ANN VERHUN                              15754 S PARK                                                                                    EASTPOINTE         MI    48021‐1635
MARCIA B CLEVELAND                             3336 SPRING VALLEY CT                                                                           BIRMINGHAM         AL    35223‐2007
MARCIA B LANGLOIS                              720 WHITMAN DR                                                                                  TURNERSVILLE       NJ    08012‐1301
MARCIA B SMALL TOD CHELSEA S SMALL             517 N CANON DR                                                                                  BEVERLY HILLS      CA    90210‐3323
MARCIA B SMALL TOD JENNIFER L SMALL            517 N CANON DR                                                                                  BEVERLY HILLS      CA    90210‐3323
MARCIA BACHOLZKY & ELIZABETH HALSEY JT TEN     5154 ELIZABETH LANE                                                                             ALMONT             MI    48003‐8732
MARCIA BETH SOWDERS                            403 W MINNESOTA ST                                                                              NORTH SALEM        IN    46165‐9539
MARCIA BOWRON                                  8002 FOREST BREEZE LANE                                                                         SPRING             TX    77379‐8726
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MARCIA BRADFORD                                   378 BELL HILL RD                                                                                DELHI             NY    13753‐3103
MARCIA C BEARD                                    12306 WILLOW LN                                                                                 SCOTT             AR    72142‐9466
MARCIA C CLARK                                    543 EAST ORANGE GROVE AVE                                                                       SIERRA MADRE      CA    91024‐2616
MARCIA C DE BOTTON                                10350 9TH NW                                                                                    SEATTLE           WA    98177‐5118
MARCIA C DICE                                     46929 FOXSTONE PLACE                                                                            POTOMAC FALLS     VA    20165‐3523
MARCIA C FAY                                      TOWNHOUSE #25                          400 BRIDLE PATH RD                                       BETHLEHEM         PA    18017‐3148
MARCIA C GLENDENING                               C/O MARCIA G LAGERLOEF                 10426 NE SOUTH BEACH DR                                  BAINBRIDGE IS     WA    98110‐3185
MARCIA C HAMAN & R MARK HAMAN COMMUNITY           605 BORDEAUX DR                                                                                 SOUTHLAKE         TX    76092‐8855
PROPERTY
MARCIA C POTAS                                    344 RANDALL RD                                                                                  BERLIN            MA    01503‐1005
MARCIA C WELLWARTH                                53 FLORAL AVE                                                                                   BINGHAMTON        NY    13905‐3234
MARCIA CHARLEY                                    41816 WHITE TAIL LANE                                                                           CANTON            MI    48188‐2075
MARCIA CHRISTIANSEN                               410 CROSSBOW DR                                                                                 PLOVER            WI    54467‐2102
MARCIA CLAY GRAY                                  1281 DONDE CT                                                                                   NO HUNTINGDON     PA    15642‐1748
MARCIA CROTHERS                                                                                                                                   GRANTON           WI    54436
MARCIA D FRAZIER                                  335 GERON DRIVE                                                                                 SPRINGFIELD       OH    45505‐2801
MARCIA D GROOME                                   ATTN MARCIA D GROOME GREENE            46 GOODNOW RD                                            PRINCETON         MA    01541‐1602
MARCIA D JONES                                    50 PINECLIFF DRIVE                                                                              MARBLEHEAD        MA    01945‐1247
MARCIA D MARTIN & BYRL LYNN MARTIN JT TEN         1411 RAVEN LAKE DR                                                                              GREENTOWN         IN    46936‐1397
MARCIA D MILLER                                   928 VIA ARROYO                                                                                  VENTURA           CA    93003
MARCIA DELANEY WELCH                              4365 BRIDLE WAY                                                                                 RENO              NV    89509‐2904
MARCIA E BROWER                                   231 RIDGEVIEW DR                                                                                DAVENPORT         FL    33837‐5569
MARCIA E RUDZINSKI                                36 HIGHRIDGE ROAD                                                                               EASTON            CT    06612‐2021
MARCIA E WALKER                                   2902 LEXINGTON AVE NW                                                                           WARREN            OH    44485‐1538
MARCIA E WEISSNER & STEVEN W WEISSNER JT TEN      421 TIMBERLAKE TRAIL                                                                            FT WAYNE          IN    46804‐5942

MARCIA EHRENWORTH SPECTOR                         6962 PASEO LAREDO                                                                               LA JOLLA          CA    92037‐6424
MARCIA ELIZABETH ANANICH                          53232 CHESHIRE DRIVE                                                                            SHELBY TOWNSHIP   MI    48316‐2711

MARCIA ELLEN HAUPT                                159 BRUSH HOLLOW CRESCENT                                                                       RYE BROOK       NY      10573‐1622
MARCIA ELLEN HULL                                 185 PINE LOOP DR                                                                                MADISONVILLE    TN      37354‐6814
MARCIA F BLOOM‐VETTESE                            4291 IVERNESS LN                                                                                WEST BLOOMFIELD MI      48323‐2829

MARCIA F CARR                                     355 RANDWOOD DR                                                                                 WILLIAMSVILLE     NY    14221‐1442
MARCIA F KIRKPATRICK                              5100 BUCKHEAD TRAIL                                                                             KNOXVILLE         TN    37919‐8903
MARCIA F NEWCOMER                                 775 STONEWOOD RD                                                                                YORK              PA    17402‐8105
MARCIA F NEWCOMER & RICK L NEWCOMER TEN ENT       775 STONEWOOD RD                                                                                YORK              PA    17402‐8105

MARCIA FARBMAN                                    8710 CALUMET FARMS DR                                                                           WAXHAW           NC     28173‐6576
MARCIA FOX                                        623 S MAIN ST                                                                                   NASHVILLE        MI     49073‐9409
MARCIA FRANK                                      15 CALIBOGUE CAY RD #387                                                                        HILTON HEAD      SC     29928
MARCIA G BROWN & WAYNE E BROWN JT TEN             3307 MORFORD RD                                                                                 PETOSKEY         MI     49770‐9234
MARCIA G MAJOR                                    509 GOVERNORS GREEN DR                                                                          VENICE           FL     34293‐4422
MARCIA G NITZ                                     C/O M G PELL                           7661 FAIRLAWN                                            JENISON          MI     49428‐7753
MARCIA G SCHNEIDER                                1024 OLD ELM PL                                                                                 GLENCOE          IL     60022‐1233
MARCIA G THOMPSON                                 101 POTTER HILL RD                                                                              WESTERLY         RI     02891‐1107
MARCIA GROSSMAN KAHN CUST E DANIEL GROSSMAN       35336 SPRING HILL RD                                                                            FARMINGTON HILLS MI     48331‐2044
KAHN UGMA MI
MARCIA GRUETER HOWARTH CUST SUSANNE MARIE         25 OAK RIDGE DR                                                                                 OLD LYME          CT    06371‐1824
HOWARTH UGMA CT
MARCIA H BOYNE                                    PO BOX 2423                                                                                     SPOTSYLVANIA      VA    22553‐6811
MARCIA H DIAMANTIS                                173 MIDWOOD RD                                                                                  GLEN ROCK         NJ    07452‐1926
MARCIA H KEHRES TR U/A/W MARCIA H KEHRES UA       70 RIVERSTONE DRIVE                                                                             MORELAND HILLS    OH    44022
07/07/93 AS AMENDED
MARCIA H LLOYD                                    2142 POND RD                                                                                    BLOOMFIELD        NY    14469‐9307
MARCIA H LONG                                     325 EAST 80TH ST APT 4 H                                                                        NEW YORK          NY    10023
MARCIA H PECKINS TR MARCIA PECKINS LIV TRUST UA   13851 ONEIDA DR                                                                                 DELRAY BEACH      FL    33446‐3347
10/07/99
MARCIA H ZOOK                                     PO BOX 637                                                                                      GALVESTON         IN    46932‐0637
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Name                                            Address1                                Address2             Address3          Address4          City                State Zip

MARCIA HATCH REASE & STEPHEN RONALD REASE JT    110 GARLAND COURT                                                                                GLENDALE HEIGHTS IL       60139‐1813
TEN
MARCIA HIRSCH                                   3 NANCY CT                                                                                       HUNTINGTON          NY    11743‐2654
MARCIA HOLCOMB COALE                            1391 CAMINO REAL                                                                                 MC KINNEY           TX    75069‐9797
MARCIA HOLLOWAY                                 PO BOX 1115                                                                                      DRIPPING SPGS       TX    78620
MARCIA J BOONE                                  1201 N HARRISON ST                      APT 510                                                  WILMINGTON          DE    19806‐3511
MARCIA J CHIBITTY                               132 S W 13                                                                                       MOORE               OK    73160‐5319
MARCIA J CSIKY                                  1956 SE JOYNER CI                                                                                PORT SAINT LUCIE    FL    34952‐6938
MARCIA J DORGAN                                 1551 FRANKLIN SE ST 1004                                                                         GRAND RAPIDS        MI    49506‐3337
MARCIA J FLEURY & ALISON C BOEHM JT TEN         PO BOX 1956                                                                                      EDMONDS             WA    98020
MARCIA J GUTIERREZ                              1773 E CARLETON RD                                                                               ADRIAN              MI    49221‐9761
MARCIA J HAGERMAN                               PO BOX 408                                                                                       CLARKSTON           MI    48347‐0408
MARCIA J HEMINGER                               7856 STATE ROUTE 19                                                                              BLOOMVILLE          OH    44818‐9228
MARCIA J HENKE                                  3411 SO CAMINO SECO #74                                                                          TUCSON              AZ    85730
MARCIA J HOLDEN                                 4606 BRANDON LANE                                                                                BELTSVILLE          MD    20705‐2603
MARCIA J LAWRENCE                               4409 WINGVIEW LANE                                                                               KETTERING           OH    45429
MARCIA J LEAR                                   4010 COLTER CT                                                                                   KOKOMO              IN    46902‐4485
MARCIA J LYONS                                  5010 SOUTHERN AV                                                                                 ANDERSON            IN    46013‐4847
MARCIA J NISHINO TR MARCIA J NISHINO TRUST UA   1780 N WINLOCK STREET                                                                            ORANGE              CA    92865‐4460
06/16/01
MARCIA J SPILLETTE                              C/O MARCIA J S METTERT                  3535 OAKMONT DR                                          LANSING             MI    48911‐1263
MARCIA J WOLIVER                                3968 JORDAN ROAD                                                                                 W ALEXANDRIA        OH    45381
MARCIA J WYKSTRA                                359 LITCHFIELD ST                                                                                RIDGEWOOD           NJ    07450
MARCIA JANE EVERSON                             6203 EAST 11TH AVENUE                                                                            DENVER              CO    80220‐4653
MARCIA JEAN ACKLEY                              155 S 1200 W                            #23                                                      OREM                UT    84058
MARCIA JEAN MATICKA                             228 ROLLINGWOOD CT                                                                               LAVERGNE            TN    37086‐4113
MARCIA JEANINE WRIGHT KASSNER                   2019 N MAIN ST                          APT 103B                                                 WHEATON             IL    60187
MARCIA JEANNE GARSKY                            781 INVERNESS DRIVE                                                                              OXFORD              MI    48371‐6506
MARCIA JOAN ZIBULSKY                            87‐52 CHEVY CHASE ST                                                                             JAMAICA             NY    11432‐2440
MARCIA K CLAYCOMB                               1122 TAMARA LANE                                                                                 COLUMBIA            TN    38401
MARCIA K FELTNER                                4436 NW 63 DR                                                                                    COCONUT CREEK       FL    33073‐1969
MARCIA K HAIGHT                                 1726 PALISADES DR                                                                                PACIFIC PALISADES   CA    90272‐2115

MARCIA K HAIGHT                                 1726 PALISADES DRIVE                                                                             PACIFIC PALISADES   CA    90272‐2115

MARCIA K HAIGHT                                 1726 PALISADES DR                                                                                PACIFIC PALISADES   CA    90272‐2115

MARCIA K HAIGHT & RALPH L HAIGHT JT TEN         1726 PALISADES DR                                                                                PACIFIC PALISADES   CA    90272‐2115

MARCIA K HARRISON & EMERSON M HARRISON JR JT    2 LEDGEWOOD DR                                                                                   WESTFORD            MA    01886‐2545
TEN
MARCIA K KIMBALL                                44 SWANSON DR                                                                                    HOLLIS CENTER    ME       04042
MARCIA K ROGGENKAMP                             BOX 52                                                                                           BOTKINS          OH       45306‐0052
MARCIA K SKODAK                                 9575 E COPAS RD                                                                                  LENNON           MI       48449‐9650
MARCIA K WILLS                                  38 COTTON CROSSING WEST                                                                          SAVANNAH         GA       31411‐1543
MARCIA L ANDERSON                               1606 WILLIS DR                                                                                   HARTSVILLE       SC       29550‐6962
MARCIA L ANGERHOFER                             9 PINE ST                                                                                        AMESBURY         MA       01913‐1822
MARCIA L BARTON                                 1428 LEDGE ROCK TERR                                                                             COLO SP          CO       80919‐3346
MARCIA L BAUER                                  6262 MALCOLM DR                                                                                  DALLAS           TX       75214‐3094
MARCIA L BOHNSACK                               3140 M‐28 EAST                                                                                   MARQUETTE        MI       49855
MARCIA L BRYAN                                  860 BEAU PRE'SOUTH                                                                               MEMPHIS          TN       38120
MARCIA L BURTON                                 1428 LEDGE ROCK TERR                                                                             COLORADO SPRINGS CO       80919‐3346

MARCIA L CORBETT CUST JEFFRY THOMAS CORBETT     1947 PLEASANT GROVE RD                                                                           CLAYSVILLE          PA    15323‐1038
UGMA PA
MARCIA L COURTNEY                               PO BOX 2568                                                                                      PONCA CITY          OK    74602‐2568
MARCIA L FERGUSON                               PO BOX 520                                                                                       NOBLESVILLE         IN    46061‐0520
MARCIA L FLETT                                  9420 W 74TH AVENUE                                                                               ARVADA              CO    80005
MARCIA L GARTLAND                               1190 STONEHENGE ROAD                                                                             FLINT               MI    48532‐3223
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Name                                            Address1                             Address2             Address3          Address4          City              State Zip

MARCIA L GROVES                                 7001 CHAMBERSBURG RD                                                                          DAYTON            OH    45424‐3901
MARCIA L HARDEN                                 646 BENDING BOUGH DR                                                                          WEBSTER           NY    14580‐8913
MARCIA L KLUDING                                208 STRECKER ROAD                                                                             MILAN             OH    44846‐9550
MARCIA L LOWANDE                                950 N KINGS RD APT 134                                                                        LOS ANGELES       CA    90069‐6204
MARCIA L MCGUCKIN                               152 CANTERBURY DR                    FAIRFIELD GLADE                                          CROSSVILLE        TN    38558‐7094
MARCIA L MOTUZ                                  112 WOODLAND DRIVE                                                                            TOM'S RIVER       NJ    08753‐1820
MARCIA L MOYER                                  30369 WINTHROP                                                                                MADISON HEIGHTS   MI    48071‐2218

MARCIA L RABUN & PAT RABUN JT TEN                4924 DOGWOOD DR                                                                              BESSEMER          AL    35022‐6950
MARCIA L RAMSEY                                  602 SUNRISE DR                                                                               AMHERST           OH    44001‐1659
MARCIA L REDDERSEN                               2 TURNBERRY LANE N W                                                                         WARREN            OH    44481‐9487
MARCIA L ROHR                                    5230 RAZORBACK RD                                                                            CONOVER           WI    54519‐9342
MARCIA L SPRADLIN                                3913 EASTERN DR                                                                              ANDERSON          IN    46012‐9447
MARCIA L STRAW & ROBERT L STRAW JT TEN           825 LINDEN BLVD                                                                              LINDEN            IN    47955‐8076
MARCIA L STRONG                                  9980 BROOKS ROAD                                                                             LENNON            MI    48449‐9679
MARCIA L THOMPSON                                1437 S LOHMAN RD                                                                             WRIGHT CITY       MO    63390‐4911
MARCIA L WILSON                                  1109 CHELSEA LANE                                                                            PEARLAND          TX    77581‐6707
MARCIA LANE                                      9927 RAVENNA ROAD                                                                            TWINSBURG         OH    44087‐1716
MARCIA LAWTON                                    PO BOX 247                                                                                   FELTON            DE    19943
MARCIA LEIGH FOX CUST KYLE BRANDSON FOX UTMA     9039 E COLDWATER RD                                                                          DAVISON           MI    48423‐8936
MI
MARCIA LEVERENTZ NEWMAN                          3802 MACKLEM AVE                                                                             NIAGARA FALLS     NY    14305‐1834
MARCIA LOU PIERSON                               2108 COUNTRY CLUB BLVD                                                                       AMES              IA    50014‐7015
MARCIA LYNCH                                     26 JUNIPER POINT RD                                                                          BRANFORD          CT    06405‐5632
MARCIA M FOUKE                                   2110 VALENTINA LANE                                                                          NEWARK            OH    43055‐6152
MARCIA M HOWE                                    25 FAIRVIEW AVE                                                                              SUMMIT            NJ    07901‐1712
MARCIA M LARSON                                  131 N WALKER ST                                                                              WAYZATA           MN    55391‐1045
MARCIA M MC DONELL                               3095 N 157TH LANE                                                                            GOODYEAR          AZ    85338‐8180
MARCIA M RELLER                                  7845 WESTFIELD ROAD                                                                          INDIANAPOLIS      IN    46240
MARCIA M SNYDER                                  9067 S IRISH RD                                                                              GRAND BLANC       MI    48439‐7413
MARCIA M WEDSTER                                 10839 S FAIRFIELD AVE                                                                        CHICAGO           IL    60655
MARCIA M WENTWORTH                               65 OAKLEY ROAD                                                                               WATERTOWN         MA    02472‐1306
MARCIA M WILEY & KATHERINE A WILEY JT TEN        1009 SE CAPE DR                                                                              LEES SUMMIT       MO    64081‐3055
MARCIA M YARGO                                   2231 NORTHFIELD N W                                                                          WARREN            OH    44485‐1413
MARCIA MACHEK                                    3314 HASTINGS                                                                                HUNTSVILLE        AL    35801
MARCIA MARCUS                                    311 GODDARD AVE                                                                              BROOKLINE         MA    02445‐7425
MARCIA MARIE GRABOFSKI                           3418 BOCAGE DR                      APT 204                                                  ORLANDO           FL    32812‐7541
MARCIA MCGUCKIN                                  152 CANTERBURY DR                                                                            FAIRFIELD GLADE   TN    38558‐7094
MARCIA MILLER CUST TALIA MICHELLE MILLER UTMA CA 13900 OLD HARBOR LN                 APT 106                                                  MARINA DL REY     CA    90292‐7332

MARCIA MOLTER                                   5630 GLASTONBERRY                                                                             TOLEDO            OH    43613‐2322
MARCIA N GREEN                                  7 EASTERN ROAD                                                                                HARTSDALE         NY    10530‐2103
MARCIA NATALIE CANTER                           PO BOX 1575                                                                                   WESTBORO          MA    01581‐6575
MARCIA NIWA                                     30203 COUSINO                                                                                 WARREN            MI    48092‐4904
MARCIA P GEORGE                                 2656 COLDSPRINGS DR                                                                           BEAVERCREEK       OH    45434‐6662
MARCIA PLYMPTON                                 8 ROBIN ST                                                                                    PLAINVILLE        MA    02762‐1522
MARCIA PREISS                                   12 COLBURN DR                                                                                 POUGHKEEPSIE      NY    12603
MARCIA R BARTON                                 415 DUMBARTON BLVD                                                                            RICHMOND          OH    44143‐1703
                                                                                                                                              HEIGHTS
MARCIA R CARTER                                 4275 WOODMERE DR                                                                              YOUNGSTOWN        OH    44515
MARCIA R GEORGE                                 3439 SEMINOLE ST                                                                              DETROIT           MI    48214‐1859
MARCIA R HEERS                                  6300 N 59TH PLACE                                                                             PARADISE VALLEY   AZ    85253‐4271
MARCIA R KINSEY                                 12170 M‐156                                                                                   MORENCI           MI    49256‐9569
MARCIA R MCKOWEN                                7350 SR 9 NORTH                                                                               ALEXANDRIA        IN    46001
MARCIA R RENNIE                                 739 STARIN AVE                                                                                BUFFALO           NY    14223‐3111
MARCIA R SINGER & CARL S SINGER TEN ENT         8105 ANITA RD                                                                                 BALTIMORE         MD    21208‐1937
MARCIA RANDALL                                  824 ROBERT ST                                                                                 VENICE            FL    34285‐3433
MARCIA ROSANSKY                                 23 OSBORN RD                                                                                  SHERMAN           CT    06784‐1433
MARCIA RUDNITSKY                                740 WEST END AVE                                                                              NEW YORK          NY    10025‐6246
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Name                                            Address1                              Address2             Address3          Address4          City               State Zip

MARCIA S ANDERSEN CUST MAUREEN E ANDERSEN       2 NORTH HAWK RD                                                                                SALMON             ID    83467
UGMA MI
MARCIA S ARMSTRONG                              11661 FROST ROAD                                                                               TIPP CITY        OH      45371‐9109
MARCIA S COHN                                   175 E DELAWARE                        APT 6003                                                 CHICAGO          IL      60611‐7726
MARCIA S CREIGHTON                              5300 NE 24TH TER APT 113‐C                                                                     FT LAUDERDALE    FL      33308‐3927
MARCIA S CRUMP                                  4800 NICHOLS RD                                                                                MASON            MI      48854‐9549
MARCIA S FORT                                   3201 FAIRVIEW DRIVE                                                                            JACKSON          MI      49203‐4640
MARCIA S KASDAN                                 64 HICKORY ST                                                                                  ENGLEWOOD CLIFFS NJ      07632‐1539

MARCIA S NORINS                                 5 GRACE RD                                                                                     EAST BRUNSWICK     NJ    08816‐2753
MARCIA S PAYTON                                 21641 PEMBROKE AVE                                                                             DETROIT            MI    48219‐1206
MARCIA S RUSH & WILLIAM A RUSH JT TEN           6121 S W 37TH                                                                                  PORTLAND           OR    97221‐3310
MARCIA S SCHROEDER                              1521 N W 99TH AVENUE                                                                           PLANTATION         FL    33322‐4251
MARCIA S SPEAR                                  314 S MAIN ST                                                                                  CLARENDON          PA    16313‐1004
MARCIA S TERBAN                                 2 LONE PINE LANE                                                                               PEABODY            MA    01960‐3304
MARCIA S WELLS                                  24470 CO RTE 159                                                                               WATERTOWN          NY    13601‐5705
MARCIA SAMPLES                                  10459 AARON DR                                                                                 CLEVELAND          OH    44130‐1350
MARCIA SANDERS CUST TOM SANDERS UGMA ND         606 15TH ST SE                                                                                 JAMESTOWN          ND    58401‐5740
MARCIA SCHALTENBRAND HORNER                     8 LILY DRIVE                                                                                   DANBURY            CT    06811‐3281
MARCIA SCHULMAN                                 13889‐C ROYAL PALM CT                                                                          DELRAY BEACH       FL    33484‐1053
MARCIA SEAY                                     2561 GLENRIDGE CT                                                                              POWHATAN           VA    23139‐5954
MARCIA SIMMON                                   PO BOX 305                                                                                     LAKE GEORGE        MI    48633‐0305
MARCIA SLATIN CUST ANDREW SLATIN UTMA MI        17988 WILDFLOWER DR                                                                            NORTHVILLE         MI    48168
MARCIA STARKE                                   43 E MAIN                                                                                      GREENWICH          OH    44837‐1140
MARCIA SUSAN GLICK                              APT 11G                               195 ADAMS ST                                             BROOKLYN           NY    11201‐1863
MARCIA T BALLARD                                1675 CANDLELIGHT DR                                                                            LAS CRUCES         NM    88011‐4901
MARCIA TOLIVER                                  4519 W BYRKIT                                                                                  INDIANAPOLIS       IN    46221‐4901
MARCIA V WOODS                                  ATTN MARCIA V HUTCHISON               17186 KELLY RD                                           PECATONICA         IL    61063‐9318
MARCIA VALDEZ CUST ARRON DIRAN VALDEZ UGMA CA   405 BLOOMINGDALE CT                                                                            LAS VEGAS          NV    89144‐4151

MARCIA W BENZEL                                 826 SAN LUIS REY PL                                                                            SAN DIEGO          CA    92109‐8249
MARCIA W DIX & ROBERT S DIX JT TEN              32 MAIN ST                                                                                     MONSON             MA    01057‐1319
MARCIA W HOLSTER & NANCY C FENNELL JT TEN       7 SURREY DRIVE                                                                                 MANSFIELD          MA    02048‐2656
MARCIA W OLIVER CUST GEORGE ELLIS GARY 3RD UGMA 2785 CLEARWATER DR                                                                             BROOKFIELD         WI    53005‐3703
WI
MARCIA WELLS EX EST ZITA BERTSCH                203 DAVERICK COURT                                                                             COLD SPRING        KY    41076
MARCIA WHITE PATUREL & PAUL RICHARD PATUREL JT 13834 DARLINGTON CT                                                                             PINEVILLE          NC    28134‐7370
TEN
MARCIA WILLISON                                 11452 MAPLE DR                                                                                 LAKEVIEW           MI    48850‐9728
MARCIA Y JACOBS                                 94 CENTERBROOK RD                                                                              HAMDEN             CT    06518‐3400
MARCIA Y MC LAUGHLIN                            4299 WINDIATE PARK DRIVE                                                                       WATERFORD          MI    48329‐1264
MARCIA YON SMITH                                5274 WHITE SAND CIR NE                                                                         SAINT PETERSBURG   FL    33703‐3155

MARCIAL CABRERA‐PORTAL                          7027 ALLET AVE                                                                                 CINCINNATI         OH    45239‐4551
MARCIAL F IBARRA                                380 MOUNTAIN RD APT 613                                                                        UNION CITY         NJ    07087
MARCIAL M RAMIREZ                               1309 N WALNUT                                                                                  LANSING            MI    48906‐4739
MARCIANN M MADEY                                5604 INWOOD ST                                                                                 CHEVERLY           MD    20785‐1119
MARCIE A PARK                                   10 RIDERS RUN                                                                                  NEWTOWN SQ         PA    19073
MARCIE B MCKNIGHT                               228 OAK BRANCH DR                                                                              GEORGETOWN         TX    78628
MARCIE C PACE                                   PO BOX 626                                                                                     CRYSTAL SPRINGS    MS    39059‐0626
MARCIE NAGLE REID                               3569 ATWILHER DR                                                                               HOOVER             AL    35226‐2021
MARCIE P JONES                                  453 INDIAN HILLS                                                                               MARIETTA           GA    30068‐4055
MARCIE S WHITED                                 3119 TRAPPERS COVE                    APT 1B                                                   LANSING            MI    48910‐8273
MARCIE SECUE                                    1346 KENILWORTH AVE APT 103                                                                    LAKEWOOD           OH    44107
MARCIL ROSS                                     320 ETHELROB CIR                                                                               CARLISLE           OH    45005‐4295
MARCILE M SMITH                                 3221 E BALDWIN RD APT 232                                                                      GRAND BLANC        MI    48439‐7355
MARCILLE E CRANDALL                             228 N SAGE ST                                                                                  PEARCE             AZ    85625‐4008
MARCILLE L KUDLACK                              1391 COUNTY ROAD 2470                                                                          HUNTSVILLE         MO    65259‐2946
MARCINA MYERS                                   2911 CADILLAC STREET                                                                           DAYTON             OH    45439‐1608
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Name                                            Address1                              Address2             Address3             Address4             City             State Zip

MARCK FISZLEWICZ                                1967 WOODSON CT                                                                                      DAYTON           OH    45459‐1347
MARCO A GARCIA                                  42 RISING HILL RD                                                                                    POMONA           CA    91766‐4918
MARCO A MONT                                    95 KARA CV                                                                                           VILONIA          AR    72173‐9347
MARCO A RAMOS                                   2622 E 28TH RD                                                                                       MARSEILLES       IL    61341‐9406
MARCO BENEDETTO                                 182 UNION AVE                                                                                        LYNBROOK         NY    11563‐4252
MARCO BJEKICH                                   16107 FAIRFIELD DR                                                                                   PLAINFIELD       IL    60586‐8746
MARCO FERNANDEZ                                 4594 EVERETT CT                                                                                      WHEAT RIDGE      CO    80033‐3144
MARCO FERNANDEZ                                 4594 EVERETT CT                                                                                      WHEAT RIDGE      CO    80033‐3144
MARCO FERNANDEZ                                 4594 EVERETT CT                                                                                      WHEAT RIDGE      CO    80033‐3144
MARCO FERNANDEZ                                 4594 EVERETT CT                                                                                      WHEAT RIDGE      CO    80033‐3144
MARCO H ELSER CUST MAXIMILIAN NEWMARK UGMA      VIA SISTINA #121                      ROME                                      187 ITALY
NY
MARCO J MUSCARELLO & MICHELLE L MUSCARELLO JT   38 WEST 386 BURR OAK LANE                                                                            SAINT CHARLES    IL    60175
TEN
MARCO J WOLSCHON                                1090 CONDENSERY RD                                                                                   SHERIDAN         MI    48884‐9611
MARCO MATTHIESEN                                SEEPROMENADE 6                        D‐14612              FALKENSEE            GERMANY
MARCO PIERMARINI                                VIA CAMPANIA 8‐FERENTILLO             PROV TERNI                                8034 ITALY
MARCO R EVANGELISTA                             19 FIRST AVE                                                                                         HASKELL          NJ    07420‐1500
MARCO REALTY CORP                               ATTN HARRY COHEN                      89 WINCHESTER ST                                               BROOKLINE        MA    02446
MARCO ROEDEL                                    PIETZSCHEBACHWEG 15                   D‐08525              PLAUEN               GERMANY
MARCO T TINOZZI                                 204 LINDBERGH RD                                                                                     SYRACUSE         NY    13205‐3249
MARCO W DELBARBA                                20 W 021 99TH STREET                                                                                 LEMONT           IL    60439‐8820
MARCO WILLIAM DICASAGRANDE CUST ANNA OLIMPIA    2817 GLEN ELYN WAY                                                                                   BALDWIN          MD    21013‐9564
DICASAGRANDE UTMA MD
MARCONI COMBS                                   370 FLORIDA ST                                                                                       BUFFALO          NY    14208‐1309
MARCOR B PLATT                                  PO BOX 2549                                                                                          SAINT JOHNS      AZ    85936‐2549
MARCOS BENAVIDES                                3305 WALTER DR                                                                                       SAGINAW          MI    48601‐4613
MARCOS C ORNELAS                                9741 BERNARD AVE                                                                                     OAK LAWN         IL    60453
MARCOS CASTILLO                                 5508 BIG FORK RD                                                                                     FORT WORTH       TX    76119‐6582
MARCOS G TORRES                                 737 AUTUMN OAKS DR                                                                                   ALLEN            TX    75002‐5081
MARCOS GUASTELLA                                (BRAZIL) GM                           PO BOX 9022                                                    WARREN           MI    48090‐9022
MARCOS HERNANDEZ                                112 E MORELAND SCHOOL RD                                                                             BLUE SPRINGS     MO    64014‐5037
MARCOS M DIOTTI                                 4733 WORTH ST                                                                                        PHILADELPHIA     PA    19124‐2813
MARCOS MUNHOZ                                   GM DO BRASIL AV GOIAS 1805            SAO CAETANO DO SUL   SAO PAULO BRAZIL09   BRAZIL
MARCOS R ALVAREZ                                600 MESILLA VIEW DR                                                                                  CHAPARRAL        NM    88021‐7819
MARCUM GAINES MILLER                            426 LAUREL HILLS DRIVE                                                                               MOUNT JULIET     TN    37122
MARCUS A KRUPP & DONNA G KRUPP TR THE KRUPP     195 RAMOSO ROAD                                                                                      PORTOLA VALLEY   CA    94028‐7349
LIVING TRUST UA 04/22/87
MARCUS A NAYLOR JR                              909 SUNCREST PLACE                                                                                   MORGANTOWN       WV    26505‐3310
MARCUS B DIXON                                  165 WESTWARD RD                                                                                      STONY POINT      NC    28678‐9453
MARCUS B LOTT                                   118 E 36TH ST                                                                                        ANDERSON         IN    46013‐4628
MARCUS B MARTIN                                 5848 WESTHAVEN DR                                                                                    FORT WORTH       TX    76132‐2602
MARCUS BEGLEY                                   1218 RIEBEL RDG                                                                                      NEW RICHMOND     OH    45157‐9174
MARCUS BEGLEY & DORIS J BEGLEY JT TEN           1218 RIEBEL RDG                                                                                      NEW RICHMOND     OH    45157‐9174
MARCUS BOWERS JR                                1417 WOODLOWST                                                                                       WATERFORD        MI    48328‐1365
MARCUS BUTCHER                                  4219 NEVADA AVE                                                                                      DAYTON           OH    45416‐1416
MARCUS C CARD                                   507 N 11TH ST                                                                                        MIDDLETOWN       IN    47356‐1260
MARCUS C MEEKS                                  PSC 78 BOX 2465                                                                                      APO              AP    96326‐0024
MARCUS COMBS                                    4223 FRANKLIN AVE                                                                                    NORWOOD          OH    45212‐3015
MARCUS COUCH                                    300 N DEAN RD STE5                    PMB 176                                                        AUBURN           AL    36830‐5045
MARCUS D TIEMAN & NATHAN TIEMAN JT TEN          400 W 47TH ST APT 1A                                                                                 NEW YORK         NY    10036‐2302
MARCUS E BREWSTER III                           6352 SAN JOSE BLVD W                                                                                 JACKSONVILLE     FL    32217‐2371
MARCUS E FLOURNOY                               14 COBB FOREST                                                                                       MILLBROOK        AL    36054‐3853
MARCUS E JONES & MRS YVONNE L JONES TEN COM     2218 COUNTRY CLUB                                                                                    SUGAR LAND       TX    77478‐3643

MARCUS E ROGERS                                 25818 MARITIME CIR S                                                                                 HARRISON TWP     MI    48045‐3075
MARCUS F LUDT                                   51 SPRING STREET                                                                                     SHAVERTOWN       PA    18708‐1132
MARCUS F REDDY                                  1306 BRIAR RIDGE DR                                                                                  KELLER           TX    76248
MARCUS G CARPENTER III                          2401 MONTHAVEN DR                                                                                    DURHAM           NC    27712‐1932
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Name                                             Address1                             Address2                     Address3   Address4          City             State Zip

MARCUS G ROBISON                                 7202 WILEY MANGUM ROAD                                                                         BAHAMA           NC    27503‐8893
MARCUS G WALES                                   205 LAKEFRONT DR APT 1710                                                                      HUNTSVILLE       AL    35824‐1420
MARCUS G WILSON                                  3384 OLD WETUMPKA HW                                                                           MONTGOMERY       AL    36110‐2840
MARCUS GONZALEZ                                  31940 ELMO HWY                                                                                 MC FARLAND       CA    93250‐9615
MARCUS GRIGGS JR                                 1922 KEPPEN                                                                                    LINCOLN PK       MI    48146‐1486
MARCUS H FOLTS                                   93 ARROWHEAD DRIVE                                                                             ROCHESTER        NY    14624‐2801
MARCUS H LOGSDON JR & MRS NAOMI CHILDRESS        3013 ROBBIEDON                                                                                 MEMPHIS          TN    38128‐4902
LOGSDON JT TEN
MARCUS HALL                                      277 TIMBERLAND CIRCLE                                                                          CORBIN           KY    40701‐8761
MARCUS J BLONIGEN                                25341 ISLAND LAKE ROAD                                                                         COLD SPRINGS     MN    56320‐9605
MARCUS J DALY II & KATHLEEN G DALY JT TEN        403 CANNONBERRY DRIVE                                                                          WEBSTER GROVES   MO    63119‐4811
MARCUS J ORMAND                                  72 IVY COURT                                                                                   QUAKERTOWN       PA    18951‐2767
MARCUS J SMITH                                   9319 ROSSMAN HWY                                                                               EATON RAPIDS     MI    48827‐8333
MARCUS JAY HANFLING                              4608 MIMOSA DR                                                                                 BELLARIE         TX    77401‐5816
MARCUS JOHNSON                                   3627 SOUTH PRAIRIE                                                                             CHICAGO          IL    60653‐1008
MARCUS K FIELDS                                  11336 NOTTINGHAM RD                                                                            DETROIT          MI    48224‐1125
MARCUS L DEAN                                    17095 MOORESVILLE RD                                                                           ATHENS           AL    35613‐6104
MARCUS L HAUSMAN                                 58 INDEPENDENCE LANE                                                                           GRAND ISLAND     NY    14072‐1871
MARCUS L PATRICK                                 454 EDGEBROOK AVE                                                                              BROOKVILLE       OH    45309‐1335
MARCUS L RATLIFF                                 5930 S MARTIN LUTHER KING JR BL                                                                LANSING          MI    48911‐4601
MARCUS L SUTTER JR                               11589 W BRADY RD                                                                               CHESANING        MI    48616‐1030
MARCUS LEE                                       PO BOX 444                                                                                     OXFORD           GA    30054‐0444
MARCUS LINDSEY                                   4 PHOENIX MILL PL                                                                              ALEXANDRIA       VA    22304‐6350
MARCUS M LEECE                                   3960 ASHFORD ST                                                                                WHITE LAKE       MI    48383‐1700
MARCUS M MARTINEZ                                3341 BRONSON LAKE RD                                                                           LAPEER           MI    48446‐9001
MARCUS M MUCCILLI                                27315 48TH AVE SOUTH                                                                           KENT             WA    98032‐7210
MARCUS MALOOF                                    4513 HARRISON ST NW                                                                            WASHINGTON       DC    20015‐2109
MARCUS MOORE                                     205 CHIPAWAY DRIVE                                                                             ALEXANDRIA       IN    46001‐2809
MARCUS MORGAN                                    4465 WILLOW RUN DRIVE                                                                          DAYTON           OH    45430‐1559
MARCUS MORRIS                                    1683 OLD GODDARD RD                                                                            LINCOLN PK       MI    48146‐4033
MARCUS N SHOEMAKE                                34721 HIGHLAND DR                                                                              N RIDGEVILLE     OH    44039‐1723
MARCUS PINSON NEAL III & TINA KOHN NEAL JT TEN   3800 CHEVERLY ROAD                                                                             RICHMOND         VA    23225‐1140

MARCUS PRYOR & KAREN PRYOR JT TEN                3980 WINDING WAY                                                                               CINCINNATI       OH    45229
MARCUS RILEY WELLS                               35 BURLINGTON AVE                                                                              DAYTON           OH    45403‐1119
MARCUS SCHWARTZ SEPARATE PROPERTY                BOX 385                                                                                        HALLETTSVILLE    TX    77964‐0385
MARCUS SCOTT BELL & LOVELIN A BELL JT TEN        PO BOX 108                                                                                     KINDER           LA    70648‐0108
MARCUS STARBUCK                                  301 SHERMAN AVE                                                                                GRAND HAVEN      MI    49417‐1816
MARCUS T DEBONIS                                 1697 CRAIGS MTN RD                                                                             CHRISTIANSBURG   VA    24073‐8001
MARCUS T GLIDDEN                                 6750 VISTA VIEW PKWY                                                                           MOORESVILLE      IN    46158‐7496
MARCUS T LOPEZ                                   4801 S WASHINGTON                                                                              SAGINAW          MI    48601‐7205
MARCUS W BERMAN                                  POINT ROAD                                                                                     WILLSBORO        NY    12996
MARCUS W BORTZ SR                                52 S OUTER DR                                                                                  VIENNA           OH    44473‐9777
MARCUS W WIMMER                                  5306 MC CARTNEY RD                                                                             SANDUSKY         OH    44870‐1530
MARCUS ZELLICH SHAR                              2506 SHELLEYDALE DR                                                                            BALTIMORE        MD    21209‐3243
MARCY A HARSHMAN                                 4620 MERRIAM CREEK DR                                                                          FORT WAYNE       IN    46816‐3209
MARCY ANN CONNELLY                               C/O GOOKIN                           49 EAST DIVISION ST                                       CHICAGO          IL    60610‐2316
MARCY BERMAN                                     4235 HIGH SUMMIT                                                                               DALLAS           TX    75244‐6629
MARCY G RHODES TR VERLIN A RHODES LIVING TRUST   C/O SUSAN R STEWART                  7120 N PENNSYLVANIA STREET                                INDIANAPOLIS     IN    46240‐3036
UA 09/22/94
MARCY G SLYE                                     32 HANSOM HILL ROAD                                                                            WINDSOR          CT    06095
MARCY H COHEN                                    60 BASIL CROSSING                                                                              CRANSTON         RI    02921‐3539
MARCY JO COHEN                                   153 MADISON AVE                                                                                ENGLEWOOD        NJ    07631‐4342
MARCY KAVO & DARIN KAVO JT TEN                   905 W MCCONNELL ST                                                                             SAINT JOHNS      MI    48879‐1774
MARCY KAY GADE                                   C/O MARCY KAY GADE JONES             4498 ROAD 167                                             OSHKOSH          NE    69154‐6041
MARCY L BAKER                                    7339 PIPESTONE DR                                                                              INDIANAPOLIS     IN    46217‐9202
MARCY L GUY                                      ATTN MARCY L WHITE                   17260 PONTCHATRAIN                                        DETROIT          MI    48203‐4041
MARCY L HESHELMAN                                RTE 4 BOX 438‐B                                                                                BLOOMFIELD       IN    47424‐9504
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MARCY L SHOKOOHI & KATHRYN A SHOKOOHI JT TEN    12 CORRAL DR                                                                                       SAGINAW           MI    48638‐5864

MARCY L YURK                                    300 PINE VALLEY CT                                                                                 LINDEN            MI    48451‐8796
MARCY LUANNE ALEXANDER                          51 OVERHILL RD                                                                                     YOUNGSTOWN        OH    44512‐1558
MARCY MERVAK NELSON                             207 N 58TH ST                                                                                      SEATTLE           WA    98103‐5809
MARCY N JAY                                     4 OAKBARK CT                                                                                       CAROLINA SHORES   NC    28467‐2421

MARCY R BEVAN                                   1117 MAPLECREST CIRCLE                                                                             GLADWYNE          PA    19035‐1337
MARCY RACHEL HILTS                              21615 LIVE OAKS SPRINGS DR                                                                         KATY              TX    77450‐5351
MARCY SHAPIRO                                   350 HARDING DR                                                                                     SO ORANGE         NJ    07079‐1339
MARCY SHORR                                     829 FOUNTAINVIEW DR                                                                                DEERFIELD         IL    60015‐4859
MARCY TANNENBAUM CUST ZACHARY TANNENBAUM        81 WOODHOLLOW COURT                                                                                MUTTONTOWN        NY    11791‐2337
UGMA NY
MARDA LEE KATSHIR & JOHN J KATSHIR JT TEN       506 LYNDHURST AVE                                                                                  PITTSBURGH        PA    15216‐1306
MARDEL L HAMMOND                                378 STATE PARK RD                                                                                  ORTONVILLE        MI    48462‐9464
MARDELL EUGENE BOWYER & DOROTHY ANN BOWYER      106 BERNOULLI ST                                                                                   RENO              NV    89506‐8702
JT TEN
MARDENE K HULL & JAMES E HULL JT TEN            2515 APPLE RIDGE LN                                                                                CINCINNATI        OH    45236‐1366
MARDESE T HOLMES                                PO BOX 260                                                                                         FLINT             MI    48501‐0260
MARDI J SCHLONDROP TOD JON B BRUNOW             S90 W19146 ACORN DRIVE                                                                             MUSKEGO           WI    53150
MARDI L SISSON‐MARTIN                           2825 UNIVERSITY ST                                                                                 EUGENE            OR    97403‐1669
MARDIS E HAM                                    105 NOTINGHAM ROAD                                                                                 ELKTON            MD    21921‐4444
MARDRES G BAILEY                                117 CASCADE SPRING SPRING ROAD                                                                     WHLENWALD         TN    38462
MAREA MARSHALL MCMULLAN                         C/O WACHOVIA BANK ‐ DC 1994            1300 I ST NW 12TH FLOOR WEST                                WASHINGTON        DC    20005
MAREATHA HODGES                                 3 N LINCOLN                            BOX 609                                                     SMITHTON          IL    62285‐0609
MAREE A BRECHTELSBAUER & SCOTT A                1225 LEDDY ROAD                                                                                    SAGINAW           MI    48609
BRECHTELSBAUER JT TEN
MAREEN A SUPPE                                  555 SALEM CHURCH RD                                                                                NEWARK            DE    19702‐2726
MAREK AVAN VERMA                                5805 GLEN HEATHER DR                                                                               DALLAS            TX    75252‐4910
MAREK CZECH                                     4052 GATESFORD CIRCLE                                                                              TROY              MI    48098‐3609
MAREK D RZONCA                                  PO BOX 857                                                                                         CLIFTON PARK      NY    12065‐0801
MAREK PENZO                                     CUMHURIYET BUL 221‐7                   IZMIR                                     35200 TURKEY
MARELLA R FIORE                                 8506 GATES AVE                                                                                     ROME              NY    13440‐9310
MAREN A SCHENEWARK TR UA 5/5/83 THE MAREN A     RT 2 BOX 152‐1                                                                                     COLE CAMP         MO    65325‐9239
SCHENEWARK TRUST
MAREN ALLISON SMITH                             1940 E HARVARD DR                                                                                  TEMPE             AZ    85283‐2333
MAREN C SANDE                                   2276 PARKWOOD                                                                                      ANN ARBOR         MI    48104‐5135
MARETA J VALENTIN                               1713 CEDAR DR                                                                                      PLANT CITY        FL    33566‐6903
MARETA M MC KENNEY                              700 BOWER HILL RD #5226                                                                            PITTSBURGH        PA    15243‐2040
MARGA METZGER                                   4265 FIRESIDE DR                                                                                   BUFFALO           NY    14221‐7408
MARGARATE M LOVE                                1425 KEMPER AVE                                                                                    HOLT              MI    48842‐9511
MARGAREE LEE                                    3016 COLUMBUS                                                                                      DETROIT           MI    48206‐3705
MARGARET A ABEYTA                               PO BOX 63                                                                                          DUNSTABLE         MA    01827‐0063
MARGARET A ADAM                                 89 BEATRICE AVE                                                                                    BUFFALO           NY    14207‐1621
MARGARET A ADAMS‐QUICK                          1598 CHERRYWOOD S S 6                  BELLE RIVER ON                            N0R 1A0 CANADA
MARGARET A AGNEW                                15163 COLONEY COURT                                                                                STRONGSVILLE      OH    44136‐7753
MARGARET A ALTAZIN                              418 W MT PLEASANT ROAD                                                                             ZACHARY           LA    70791‐8607
MARGARET A ALVARADO                             4047 TUCSON ST                                                                                     SIMI VALLEY       CA    93063‐1143
MARGARET A AMBROSE                              15618 FOX                                                                                          REDFORD           MI    48239‐3944
MARGARET A ANDERSON                             13694 S STEEL RD                                                                                   CHESANING         MI    48616‐9525
MARGARET A ATWOOD                               3858 SOUTTER CT SE                                                                                 CEDAR RAPIDS      IA    52403‐4368
MARGARET A BAGLEY                               7107 GA HWY 120                                                                                    BREMEN            GA    30110‐2695
MARGARET A BAKALE                               3376 HOLLISTER RD                                                                                  CLEVELAND HTS     OH    44118‐1326
MARGARET A BAQUOL                               1812 MAIN ST                                                                                       BALTIMORE         MD    21227‐5015
MARGARET A BARRIOS TR MAARGARET A BARRIOS       1023 FAIRFIELD COURT                                                                               WAUKEGAN          IL    60085‐2803
TRUST UA 10/09/03
MARGARET A BARTLETT & LINDA J BRUNELLE JT TEN   2 HUNT ST                                                                                          FAIRFAX           VT    05454‐9664

MARGARET A BATTLE                               4807 STONEHEDGE ST                                                                                 TROTWOOD          OH    45426‐2107
                                             09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                               Address2             Address3          Address4          City               State Zip

MARGARET A BEATTY                                 478 E OVERLOOK DRIVE                                                                            EASTLAKE           OH    44095
MARGARET A BETZ                                   414 BENT TREE DR                                                                                BLUE SPRINGS       MO    64014‐3120
MARGARET A BIDWELL                                709 WEST LOCUST ST                                                                              OXFORD             PA    19363‐1361
MARGARET A BLACK & DONALD M BLACK JT TEN          23758 NE GREENS CROSSING RD                                                                     REDMOND            WA    98053‐5617
MARGARET A BLACK NASSER                           1405 E VEGAS VLLY DR APT‐203                                                                    LAS VEGAS          NV    89109‐2231
MARGARET A BLAIR TR MARGARET A BLAIR LIVING       1029 RIDGE AVE NW                                                                               NORTON             VA    24273‐1307
TRUST UA 9/12/96
MARGARET A BLITCH & MARGARET S PROSPERIE JT TEN   2000 12TH AVE                                                                                   PORT ARTHUR        TX    77642‐2717

MARGARET A BOEGEL                                 435 DOWNER ST                                                                                   WESTFIELD          NJ    07090‐4157
MARGARET A BOYER                                  1210 W GENESEE AVE                                                                              SAGINAW            MI    48602
MARGARET A BREESE                                 2417 JOHNSON RD                                                                                 GOWEN              MI    49326‐9619
MARGARET A BROWN                                  4664 TORRINGTON ROAD                                                                            LAURENS            SC    29360‐7754
MARGARET A BURGESS TOD CLIFTON RAY BURGESS JR     3831 UPPERSAX TOWN RD                                                                           MILLSTADT          IL    62260

MARGARET A CALLAGHAN                              5213 WOODLAND                                                                                   WESTERN SPRNG      IL    60558‐1833
MARGARET A CALLAHAN                               5232 MIDWAY CT                                                                                  WOODBRIDGE         VA    22193‐4421
MARGARET A CAPECCI & MARGARET A MCLAUGHLIN JT     38 BRAMBLE LN                                                                                   CHURCHVILLE        MD    21028‐1503
TEN
MARGARET A CARGILL                                3651 COLUMBIAVILLE RD                                                                           COLUMBIAVILLE      MI    48421‐9625
MARGARET A CARMEN TR MARGARET A CARMEN REV        6949 N FAIRWAYS DR                                                                              CLARKSTON          MI    48348
TRUST UA 10/12/00
MARGARET A CHAPERON                               PO BOX 34                                                                                       HAGARVILLE         AR    72839‐0034
MARGARET A CHOPP TR LIVING TRUST 09/19/90 U‐A     21632 GLENWILD DRIVE                                                                            NORTHVILLE         MI    48167
MARGARET A CHOPP
MARGARET A CHROMY                                 23 COLONIAL COVE                                                                                JACKSON            TN    38305‐1872
MARGARET A CICINELLI                              602 TURTLE CREEK CT C                                                                           SAINT PETERS       MO    63376‐1833
MARGARET A COMBS                                  26112 SAGO PALM DRIVE                                                                           HOMELAND           CA    92548‐9670
MARGARET A COMBS & EDWARD R COMBS JT TEN          26112 SAGO PALM DR                                                                              HOMELAND           CA    92548‐9670
MARGARET A COOK & KAREN COOK MCCARTHY JT TEN      2254 GLENROSS DR                                                                                UNIONTOWN          OH    44685‐8720

MARGARET A COOK & LAUREL MARIE BOJA JT TEN        3896 RAMSEY DR                                                                                  UNIONTOWN          OH    44685‐8144
MARGARET A COOPER                                 121 OXFORD SQ                                                                                   CARROLLTON         GA    30117‐2456
MARGARET A COUNTER                                1732 7TH AVE                                                                                    SACRAMENTO         CA    95818‐3806
MARGARET A CRAIG                                  2283 N MILFORD RD                                                                               HIGHLAND           MI    48357‐3863
MARGARET A D HOFFMAN TR MARGARET A D              336 DEERFIELD DRIVE                                                                             MORAGA             CA    94556‐2505
HOFFMAN TRUST UA 07/02/98
MARGARET A DAILEY                                 7350 W BLVD #302                                                                                BOARDMAN           OH    44512‐5275
MARGARET A DALY                                   37‐38 84TH ST                                                                                   JACKSON HEIGHTS    NY    11372‐7217

MARGARET A DEANE                                  31024 SHERIDAN                                                                                  GARDEN CITY        MI    48135‐1366
MARGARET A DECLARK & GERALD F DECLARK JT TEN      2734 BAINBRIDGE DRIVE                                                                           STERLING HEIGHTS   MI    48310‐3001

MARGARET A DEMANOVICH                             315 DUNES BLVD                         APT 305                                                  NAPLES             FL    34110‐6428
MARGARET A DOWIE                                  24249 HERITAGE DR                                                                               WOODHAVEN          MI    48183‐3776
MARGARET A DUNNE                                  312 WEST 260TH STREET                                                                           BRONX              NY    10471‐1818
MARGARET A ESSMANN TR UA 04/07/2010 MARGARET      6620 MARQUETTE AVENE                                                                            SAINT LOUIS        MO    63139
A ESSMANN LIVING TRUST
MARGARET A EVENHOUSE                              1030 PINE TREE VILLA                                                                            BIG FORK           MN    56628‐8701
MARGARET A FAIR                                   PO BOX 9404                                                                                     GREENVILLE         SC    29604‐9404
MARGARET A FLETCHER                               1607 HOLLY DR                                                                                   JANESVILLE         WI    53546‐1481
MARGARET A FLORES                                 16768 WEST ABERDEEN DR                                                                          SURPRISE           AZ    85374
MARGARET A FORD                                   3343 ANCLIFF NE                                                                                 ROCKFORD           MI    49341‐9218
MARGARET A FOUST                                  1447 W MARSHALL                                                                                 FERNDALE           MI    48220‐1645
MARGARET A FREY                                   631 NE 7TH AVE                                                                                  TRENTON            FL    32693‐3669
MARGARET A FULTON                                 570 KNOX RD                                                                                     KNOX               PA    16232‐5434
MARGARET A GARDNER                                3717 TRIPOLI BLVD                                                                               PUNTA GORDA        FL    33950‐7876
MARGARET A GARVEY & NORMAN GARVEY JT TEN          1306 S LAKESIDE ROAD                                                                            CEDARVILLE         MI    49719‐9772
MARGARET A GETTEL                                 1682 FARNSWORTH RD                                                                              LAPEER             MI    48446‐8711
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MARGARET A GLASS                               2508 MURRAY DR                                                                                  MIDWEST CITY    OK    73110‐4629
MARGARET A GODFREY                             PO BOX 5000                                                                                     CARPINTERIA     CA    93014‐5000
MARGARET A GOOD                                402 S INDEPENDENCE ST                                                                           TIPTON          IN    46072‐2023
MARGARET A GRAHAM                              3237 NW 11TH ST                                                                                 OKLAHOMA CITY   OK    73107‐5211
MARGARET A GRANT                               HC 51                                  BOX 9B                                                   SAINT JO        TX    76265‐9504
MARGARET A GRAY TR THE MARGARET A GRAY TRUST   180 PIPER RD                                                                                    HASLETT         MI    48840‐8703
UA 11/04/93
MARGARET A GWOREK                              9185 BRADY                                                                                      REDFORD         MI    48239‐1533
MARGARET A HALPIN                              11 SUNSET DRIVE                                                                                 FRAMINGHAM      MA    01701‐7932
MARGARET A HANDSCHKE                           644 BEEBE ST                                                                                    PHILLIPS        WI    54555‐1236
MARGARET A HANS                                2432 LYNN AVE                                                                                   FORT WAYNE      IN    46805‐3802
MARGARET A HARPER & JOANNE MEISNER & EILEEN    315 FIVE NESHAMINY INTERPLEX                                                                    TREVOSE         PA    19053
SEEGER JT TEN
MARGARET A HARVEY                              69 MORRISON ROAD WEST                                                                           WAKEFIELD       MA    01880‐2149
MARGARET A HASARA                              RR 1 BOX 14                                                                                     TWO HARBORS     MN    55616‐9501
MARGARET A HEFT                                2630 PINE VIEW DR                                                                               ORCHARD LAKE    MI    48324‐1972
MARGARET A HIBLER                              17400 CHARDON WINDSOR RD                                                                        HUNTSBURG TWP   OH    44046‐9744
MARGARET A HICKS                               127 WEST FARRELL AVE                   B‐6                                                      TRENTON         NJ    08618‐2207
MARGARET A HOGUE & DONALD E MUELLER JT TEN     189 BASSWOOD COURT                                                                              ELK GROVE VLG   IL    60007‐1781

MARGARET A HOME‐PACE                             4590 DIXIE WAY                                                                                MIMS            FL    32754‐5147
MARGARET A HUDSON                                332 MAGNOLIA AVE                                                                              FREDERICK       MD    21701‐4817
MARGARET A HURST                                 11345 HOFFMAN RD                                                                              MAYBEE          MI    48159‐9729
MARGARET A ILGENFRITZ & HERBERT E ILGENFRITZ JT  77 SIERRA DR                                                                                  PITTSBURGH      PA    15239‐2443
TEN
MARGARET A IRISH                                 2721 GORLAD                                                                                   LAKE ORION      MI    48360‐2207
MARGARET A ISAAC                                 7965 S 650 W                                                                                  WILLARD         UT    84340
MARGARET A JAMISON                               8 SHERWOOD COURT FRIARS CHASE                                                                 JACKSON         NJ    08527
MARGARET A JARRELL                               40555 ANN ARBOR TR                                                                            PLYMOUTH        MI    48170‐4401
MARGARET A JOHNSTON                              2662 MAIN ST                                                                                  NEWFANE         NY    14108‐1031
MARGARET A KANE                                  11 WINGED FOOT RD                                                                             JACKSON         NJ    08527‐4000
MARGARET A KARR                                  W185 S8537 DENICE CT N                                                                        MUSKEGO         WI    53150
MARGARET A KEEFE                                 7424 RONDEL CT                                                                                SAN DIEGO       CA    92119‐1531
MARGARET A KEITH                                 PO BOX 238                                                                                    N EASTHAM       MA    02651‐0238
MARGARET A KERNS                                 1395 LIBERTY LANE                                                                             URBANA          OH    43078
MARGARET A KIDSTON                               47127 BEECHCREST                                                                              PLYMOUTH        MI    48170‐3406
MARGARET A KIERNAN                               1240 FAIR OAKS LN                                                                             LYNCHBURG       VA    24503‐6431
MARGARET A KOLBERG & BARBARA F HOWARD &          25220 NE 139TH ST                                                                             SALT SPRINGS    FL    32134‐9510
FRANK S HOWARD JT TEN
MARGARET A KOTZAN TR REVOCABLE TRUST 06/18/92 U‐ 30930 RIVER CROSSING                                                                          BINGHAM FARMS   MI    48025‐4657
A MARGARET A KOTZAN
MARGARET A KRESS                                 131 AIKMAN PLACE                                                                              TERRE HAUTE     IN    47803‐1639
MARGARET A L KEEFER                              24546 PARLANGE COURT                                                                          LEESBURG        FL    34748
MARGARET A LANDISCH                              659 S 63RD ST                                                                                 MILWAUKEE       WI    53214‐1858
MARGARET A LAVIGNE                               1745 NEWMAN DR                                                                                TRENTON         MI    48183‐1730
MARGARET A LOGAN TR MARGARET A LOGAN             4529 E 800 N                                                                                  KENDALLVILLE    IN    46755‐9318
REVOCABLE TRUSTUA 12/23/96
MARGARET A LOMBARDO                              ATTN MARGARET BECKMAN                5506 S WAYNE AVE                                         FORT WAYNE      IN    46807‐3129
MARGARET A LONGACRE                              837 COBBLESTONE                                                                               TROY            OH    45373‐2343
MARGARET A LOOMIS                                410 RIVARD                                                                                    GROSSE POINTE   MI    48230‐1629
MARGARET A LORD                                  878 JAMES DRIVE                                                                               LEWISTON        NY    14092‐2062
MARGARET A LUCZAK                                1811 S VAN BUREN                                                                              BAY CITY        MI    48708
MARGARET A LYNCH                                 3 KEITH PLACE                                                                                 CAMPBELL HALL   NY    10916‐3017
MARGARET A MAC AINSH                             1091 CARLSON DR                                                                               BURTON          MI    48509‐2325
MARGARET A MAC QUARRIE                           PLYMOUTH PARK BOX 757                STELLARTON NS                          B0K 1S0 CANADA
MARGARET A MACHNICKI                             1010 FOLLY BROOK BLVD                                                                         WETHERSFIELD    CT    06109‐3238
MARGARET A MAGYAR                                4265 WEBSTER AVE                                                                              BRONX           NY    10470‐2456
MARGARET A MALACHEFSKI                           470 FAIRWAY DR                                                                                UNION           NJ    07083‐8708
MARGARET A MASON                                 3527 STATE RD 104                                                                             BRODHEAD        WI    53520‐9751
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MARGARET A MASON                               1112 PENNSYLVANIA AVE                                                                            ELMIRA            NY    14904‐2521
MARGARET A MASTROMARINO                        9 WINKLE CT                                                                                      MANCHESTER        NJ    08759‐5173
MARGARET A MATHERS & DAVID A MATHERS JT TEN    692 HAWTHORNE DR                                                                                 ORLEANS           IN    47452

MARGARET A MC DEVITT                           30 WEST 14TH ST                                                                                  DEER PARK         NY    11729‐4020
MARGARET A MC ELROY                            7318 EGGAR WOODS LANE                                                                            SPRINGFIELD       VA    22153‐2012
MARGARET A MC KIERNAN                          420 E 238TH ST                                                                                   BRONX             NY    10470‐1702
MARGARET A MC LEAN                             9899 CHATHAM                                                                                     ALLEN PARK        MI    48101‐1363
MARGARET A MC NAMARA                           ATTN MARGARET A FLANAGAN                103 VALLEYVIEW RD                                        IRVINGTON         NY    10533‐1846
MARGARET A MCDONNELL                           321 W FORREST AVE                                                                                SHREWSBURY        PA    17361‐1333
MARGARET A MCMAHAN                             2868 SIMPSON DR                                                                                  ROCHESTER HILLS   MI    48309‐4317
MARGARET A MEIER                               35004 GLEN DRIVE                                                                                 EASTLAKE          OH    44095‐2621
MARGARET A MENDRYKOWSKI & JOHN T               8 SWEETWATER COURT                                                                               EAST AMHERST      NY    14051
MENDRYKOWSKI JT TEN
MARGARET A MIX                                 1615 STATE ROUTE 14                                                                              DEERFIELD         OH    44411‐8739
MARGARET A MOONEY                              510 S JENISON                                                                                    LANSING           MI    48912
MARGARET A MOORE                               37604 COLFAX                                                                                     NORTHVILLE        MI    48167‐9026
MARGARET A NAUGHTON & JAMES P NAUGHTON JT      2423 W ERIC DRIVE MAPLECREST                                                                     WILMINGTON        DE    19808‐4264
TEN
MARGARET A NELSON                              1402 CHATHAM DR                                                                                  FLINT             MI    48505‐2584
MARGARET A NELSON                              715 TWINING RD STE 106                                                                           DRESHER           PA    19025‐1832
MARGARET A OBRIEN & JAMES H OBRIEN SR JT TEN   45 TOWNSEND AVE                                                                                  BRAINTREE         MA    02184‐4825

MARGARET A ODGERS & CHRISTOPHER G ODGERS JT    1601 LITTLE ROCK JACKSTOWN RD                                                                    CARLISLE          KY    40311‐9649
TEN
MARGARET A OFFENBACKER                         2723 24TH ST                                                                                     COLUMBUS          IN    47201‐3717
MARGARET A ORR & MICHAELA TILGNER JT TEN       2807 WEST AVE                                                                                    BURLINGTON        IA    52601‐1557
MARGARET A PACKARD                             39 GOODRIDGE DR                                                                                  ROME              ME    04963
MARGARET A PALACIOS                            8427 REDBROOK DR                                                                                 HOUSTON           TX    77089‐2389
MARGARET A PETRAITS                            2019 HAVEN TRAIL                                                                                 MARTINSVILLE      IN    46151
MARGARET A PICCIONE                            108 LONG AVENUE                                                                                  BELMONT           MA    02478‐2964
MARGARET A PIETSCH & ROBERT K PIETSCH &        2661 AVALON CT                          APT 101                                                  ALEXANDRIA        VA    22314‐5859
KATHLEEN A SNYDER JT TEN
MARGARET A PINTER                              4831 WESTCHESTER DR # 216                                                                        YOUNGSTOWN        OH    44515‐2536
MARGARET A PORTER                              338 BROADWAY                                                                                     RAYNHAM           MA    02767‐1414
MARGARET A POWELL & TIMOTHY I POWELL JT TEN    8600 CANADA RD                                                                                   BIRCH RUN         MI    48415‐8454

MARGARET A PRITTS                              51 DEER RUN                                                                                      SAVANNAH          GA    31411‐1365
MARGARET A PRUNTY                              25925 WILLIAMS DRIVE                                                                             WESTLAKE          OH    44145‐3328
MARGARET A PUCKETT                             841 LONE OAK DR                                                                                  COOKEVILLE        TN    38501‐3783
MARGARET A RAGAN                               180 PIPER RD                                                                                     HASLETT           MI    48840‐8703
MARGARET A RAGLEY                              415 MYRTLE AVE                                                                                   PUNXSUTAWNEY      PA    15767‐1437
MARGARET A RICHARDSON                          11410 N INGOT LOOP                                                                               ORO VALLEY        AZ    85737‐9451
MARGARET A RICHMOND                            9455 OAK RD                                                                                      OTISVILLE         MI    48463‐9789
MARGARET A ROSS                                2346 HOOD CT                                                                                     SANTA ROSA        CA    95401‐5720
MARGARET A ROTTER                              316 S HILL AVE                                                                                   COLUMBUS JCT      IA    52738‐9606
MARGARET A ROVENKO CUST KEVIN S ROVENKO UGMA   13339 COUNTY RD 457                                                                              NEWBERRY          MI    49868‐7833
MI
MARGARET A SANDERS                             5160 W 300 N                                                                                     MIDDLETOWN      IN      47356‐9434
MARGARET A SANZONE                             6856 LESLIE ROAD                                                                                 BALTIMORE       MD      21220‐1224
MARGARET A SAUL                                5119 CORNERS DR                                                                                  WEST BLOOMFIELD MI      48322‐3934

MARGARET A SHARPE                              1717 W NORTH SHORE AV 2E                                                                         CHICAGO           IL    60626‐4070
MARGARET A SHAW                                59 LINCOLNSHIRE DR                                                                               LOCKPORT          NY    14094
MARGARET A SHIKER                              17840 S GARNETT STREET                                                                           OLATHE            KS    66062
MARGARET A SIEBER                              829 GOSHEN PIKE                                                                                  MILFORD           OH    45150‐1807
MARGARET A SKAGGS                              ATTN MARGARET A BLEVINS                 143 JAMES ZIMMERMAN                                      HAMPSHIRE         TN    38461‐5127
MARGARET A SMITH                               82 BALLAD AVENUE                                                                                 ROCHESTER         NY    14626‐1264
MARGARET A SMITH & DONNA J IHRKE JT TEN        3277 COUNTY RD 324                                                                               MOULTON           AL    35650‐6922
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Name                                              Address1                               Address2             Address3          Address4          City            State Zip

MARGARET A SNEATH                                 3 HIBISCUS LN                                                                                   KEY WEST        FL    33040‐7187
MARGARET A SODERBERG                              3530 NOBLE DR                                                                                   EAU CLAIRE      WI    54703‐1356
MARGARET A SORBINO                                6 DOE DR                                                                                        MANALAPAN       NJ    07726
MARGARET A SOULLIER                               2192 BARCLAY AVE                                                                                UTICA           MI    48317‐3601
MARGARET A ST CLAIRE                              233 LOGAN ST                                                                                    PORT TOWNSEND   WA    98368‐2224
MARGARET A STEFFENS                               1850 NEW BRIGHTON BLVD                                                                          MINNEAPOLIS     MN    55418‐4825
MARGARET A STILES & WILLARD A STILES JT TEN       2085 CRYSTALWOOD TRAIL                                                                          FLUSHING        MI    48433‐3511
MARGARET A STOW & DOUGLAS L STOW JT TEN           216 MIRAMONTES                                                                                  HALF MOON BAY   CA    94019
MARGARET A SULLIVAN                               9105 DE SOTO CT                                                                                 BURKE           VA    22015‐2035
MARGARET A TAULKER                                ROUTE 1 J‐118 RD 10                                                                             MALINTA         OH    43535‐9801
MARGARET A TEGROEN                                4407 SARELLEN RD                                                                                RICHMOND        VA    23231‐4428
MARGARET A THOMAS                                 10250 BELSAY ROAD                                                                               MILLINGTON      MI    48746‐9751
MARGARET A THOMAS                                 PO BOX 96                                                                                       SALISBURY       PA    15558‐0096
MARGARET A TIPTON                                 8520 SO SANGAMON STREET                                                                         CHICAGO         IL    60619‐1146
MARGARET A TRUCHAN                                22 HILLMAN ST                                                                                   BENTLEYVILLE    PA    15314‐1805
MARGARET A TRUNK & RANDALL G TRUNK JT TEN         APT 217                                1049 W OGDEN AVE                                         NAPERVILLE      IL    60563‐2938
MARGARET A UHRHAN                                 17907 N E 12TH ST                                                                               CHOCTAW         OK    73020‐7451
MARGARET A VALERI                                 2400 OREGON ST                                                                                  RACINE          WI    53405‐3946
MARGARET A VAN AMBURGH                            40 ELMIRA AVE                                                                                   NEWBURYPORT     MA    01950‐1702
MARGARET A VAN AMBURGH & ANNE MARIE VAN           40 ELMIRA AVE                                                                                   NEWBURYPORT     MA    01950‐1702
AMBURGH JT TEN
MARGARET A VAN AMBURGH & RICHARD E VAN            40 ELMIRA AVE                                                                                   NEWBURYPORT     MA    01950‐1702
AMBURGH JT TEN
MARGARET A VITALE & ELENA MARIE RUSSELL JT TEN    831 S OXFORD RD                                                                                 GROSSE POINTE   MI    48236‐1863
                                                                                                                                                  WOOD
MARGARET A VITALE & LAURA LEE CANTRELL JT TEN     831 S OXFORD RD                                                                                 GROSSE POINTE   MI    48236‐1863
                                                                                                                                                  WOOD
MARGARET A WADDELL & JIMMIE E WADDELL JT TEN      6519 GOLDENROD COURT                                                                            BURTON          MI    48509

MARGARET A WALLACE                                2511 SPRINGWELLS                                                                                DETROIT         MI    48209‐1109
MARGARET A WHITE TR MARGARET A WHITE LIVING       82 SEWARD LN                                                                                    ASTON           PA    19014‐2015
TRUST UA 08/18/99
MARGARET A WHITE TR UW MARGARET A WHITE UA        416 POWELL DR                                                                                   BAY VILLAGE     OH    44140‐1652
05/24/96
MARGARET A WILDER                                 6577 BUCKLEY DR                                                                                 CAMBRIA         CA    93428‐2005
MARGARET A WILEY                                  607 INVERNESS                                                                                   LISLE           IL    60532‐2464
MARGARET A WILKOWSKI                              2141 BRADLEY                                                                                    YPSILANTI       MI    48198‐9233
MARGARET A WOLF                                   9181 E T AVE                                                                                    VICKSBURG       MI    49097‐9424
MARGARET A WRIGHT                                 245 E 19TH ST                          APT 18M                                                  NEW YORK        NY    10003‐2663
MARGARET A YAEGER                                 749 CHICAGO AVE                                                                                 DOWNERS GROVE   IL    60515‐3748
MARGARET A ZACCARDI                               310 WOODVIEW PLACE                                                                              OAKLEY          CA    94561‐2529
MARGARET ABERCROMBIE & LABATHA ABERCROMBIE        11514 SOUTH UNION                                                                               CHICAGO         IL    60628‐5229
JT TEN
MARGARET ADAMSKI                                  155 IROQUOIS AVE                                                                                LANCASTER       NY    14086‐1309
MARGARET AIKINS CARPENTER                         268 N HOLMES AVE                                                                                INDPLS          IN    46222‐4062
MARGARET ALBALADEJO STAUFFER                      CALLE ALJIBE                           30 ALFINACH          PUZOL             46530 SPAIN
MARGARET ALCODRAY CUST JEREMY ALCODRAY UGMA       4261 COLUMBIAVILLE RD                                                                           COLUMBIAVILLE   MI    48421‐9621
MI
MARGARET ALCODRAY CUST SHAUN ALCODRAY UGMA        4261 COLUMBIAVILLE RD                                                                           COLUMBIAVILLE   MI    48421‐9621
MI
MARGARET ALICE FORT                               211 S CALUMET ST                                                                                KOKOMO          IN    46901‐4963
MARGARET ALICE HOSKINS & GERALDINE T HOSKINS JT   204 MAINSAIL DR                                                                                 STEVENSVILLE    MD    21666‐2542
TEN
MARGARET ALICE LYON                               8608 SLEEPY CREEK DRIVE                                                                         RALEIGH         NC    27613‐4342
MARGARET AMORSKI                                  95 OAKWOOD AVE APT 10                                                                           LONG BRANCH     NJ    07740‐5453
MARGARET ANDRES & LAURA JEAN ANDRES JT TEN        1405 PLAZA AVE                                                                                  NEW HYDE PARK   NY    11040‐4920

MARGARET ANGELA KUZEL & THEODORE KUZEL JT TEN     945 W WILDWOOD DR                                                                               MT ZION         IL    62549‐1050
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MARGARET ANN BARTO                              6489 SEYMOUR RD                                                                             SWARTZ CREEK     MI    48473‐7607
MARGARET ANN BRADY                              2505 WEST BLOOMFIELD OAKS DR                                                                W BLOOMFIELD     MI    48324‐3086
MARGARET ANN BRUNI                              1813 LILLY LN                                                                               ALLIANCE         OH    44601‐3851
MARGARET ANN BYELICK                            571 BABBLING BROOK LN                                                                       VALLEY COTTAGE   NY    10989‐1503
MARGARET ANN CHASE                              1210 LAKEHOUSE COURT                                                                        SUN CITY CTR     FL    33573
MARGARET ANN CLARK                              155 DANIEL AVE                                                                              RUTHERFORD       NJ    07070‐2718
MARGARET ANN COOK                               2254 GLENROSS DR                                                                            UNIONTOWN        OH    44685‐8720
MARGARET ANN COURY CUST NATALIE PERRON COURY 2222 SOUTH MADISON AVE                                                                         TULSA            OK    74114
UGMA OK
MARGARET ANN DALY TR MARAGRET ANN DALY LIVING PO BOX 7                                                                                      SAN PIERRE       IN    46374‐0007
TRUST UA 10/15/96
MARGARET ANN DICK                               5106 LANSDOWNE DR                                                                           DURHAM           NC    27712‐1904
MARGARET ANN FEDOR                              228 ST IVES DR                                                                              SEVERNA PARK     MD    21146‐1431
MARGARET ANN FISHER                             PO BOX 215                                                                                  LOSANTVILLE      IN    47354‐0215
MARGARET ANN JETTER                             405 INNIS STREET                                                                            OIL CITY         PA    16301‐2909
MARGARET ANN KAMINSKY CUST D G KAMINSKY UGMA 716 MONTVILLA DR                                                                               LAS VEGAS        NV    89123‐1206
MO
MARGARET ANN KERTESZ & DIANE KATHRYN KERTESZ JT 3625 BROWN ST                                                                               FLINT            MI    48532‐5221
TEN
MARGARET ANN LATA                               C/O STEPHEN ALLEN                  PO BOX 205                                               ELLINGTON        CT    06029‐0205
MARGARET ANN M WHITE                            167 WINTON HILLS DR                                                                         AMHERST          VA    24521‐4330
MARGARET ANN MILLER                             180 MILLER RD                                                                               JAMESTOWN        KY    42629
MARGARET ANN MONACELLI                          20423 ALEXANDER DR                                                                          MACOMB           MI    48044‐5941
MARGARET ANN MOSES                              9052 C TOWN AND COUNTRY BLVD                                                                ELLICOTT CITY    MD    21043‐3208
MARGARET ANN NASH                               836 CHARTERS SETTLEMENT RD         CHARTERS SETTLEMENT NB                 E3C 1X7 CANADA
MARGARET ANN NELL                               ATTN MARGARET N MILLER             180 MILLER RD                                            JAMESTOWN        KY    42629‐6530
MARGARET ANN NELSON                             6 OLD VILLAGE RD                                                                            STURBRIDGE       MA    01566‐1042
MARGARET ANN O'CONNOR                           1113 NASSAU CIR                                                                             TAVARES          FL    32778‐2527
MARGARET ANN ONEILL                             25 STOWELL ROAD                                                                             BEDFORD          NH    03110‐4714
MARGARET ANN OTTOSEN                            ATTN MARGARET ANN VOWELL           770 COLUMBIA BLVD                                        ST HELENS        OR    97051‐1916
MARGARET ANN PHILLIPS                           992 N RUSTIC CIR                                                                            DALLAS           TX    75218‐2937
MARGARET ANN PRISTINA                           155 EAST DR                                                                                 NO MASAPEQUA     NY    11758‐1609
MARGARET ANN RUSSELL                            9172 ALBION STREET                                                                          THORNTON         CO    80229‐4128
MARGARET ANN SANDOR & JOHN A SANDOR JT TEN      49 WILSON AVE                                                                               MORGANTOWN       WV    26501‐6560

MARGARET ANN SHEPARD                           1998 STATE ROAD 163                                                                          CLINTON          IN    47842‐7331
MARGARET ANN SKILLMAN                          2012 WESTOVER TERRACE                                                                        BURLINGTON       NC    27215‐4556
MARGARET ANN SMITH                             1689 PRESIDENT                                                                               GLENDALE HEIGHTS IL    60139‐2019

MARGARET ANN SWINK                             RTE 2 BOX 6                                                                                  DUNLAP           TN    37327‐9509
MARGARET ANN TABEEK                            161 FARLEY AVENUE                                                                            FANWOOD          NJ    07023‐1059
MARGARET ANN TERRELL                           2891 METOW DRIVE                                                                             HUDDLESTON       VA    24104‐3961
MARGARET ANN TILLITSON                         209 ALDO DRIVE                                                                               TOMS RIVER       NJ    08753‐2313
MARGARET ANN TIMMONS                           22 MANOR DRIVE                                                                               DAGSBORO         DE    19939‐9574
MARGARET ANN W COLLENTRO CUST ANDREW J         60 WATSON WAY                                                                                GROTON           MA    01450‐1480
COLLENTRO UNDER NH U‐T‐M‐A
MARGARET ANN W COLLENTRO CUST JOHN S           60 WATSON WAY                                                                                GROTON           MA    01450‐1480
COLLENTRO UNDER NH U‐T‐M‐A
MARGARET ANN W COLLENTRO CUST KATHERINE G      60 WATSON WAY                                                                                GROTON           MA    01450‐1480
COLLENTRO UNDER NHU‐T‐M‐A
MARGARET ANN WEAVER                            7000 DEVON RD                                                                                COLUMBIA         SC    29209‐2314
MARGARET ANN WILSON                            PO BOX 171                                                                                   VERSAILLES       KY    40383‐0171
MARGARET ANN YOUNG                             COTTAGE 302‐D                       PO BOX 128                                               QUINCY           PA    17247‐0128
MARGARET ANNA ROTTIERS                         12482 S BEYER RD                                                                             BIRCH RUN        MI    48415‐9458
MARGARET ANNE ANDERSEN                         BOX 116                                                                                      MARION           ND    58466‐0116
MARGARET ANNE KENNY                            9 VALLEY VIEW DR                                                                             YONKERS          NY    10710‐3416
MARGARET ANNE LIPE                             106 WEST PRESIDENT                                                                           GREENWOOD        MS    38930
MARGARET ANNE MALEC                            89 LEIGHTON AVE                     WINNIPEG MB                            R2K 0J1 CANADA
MARGARET ANNE MCCONNELL                        3005 SCHUBERT DR                                                                             SILVER SPRING    MD    20904‐6826
                                                09-50026-mg               Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MARGARET ANNE PENNA                               5400 BRAESVALLEY DR                    APT 75                                                   HOUSTON          TX    77096‐3171
MARGARET ARMITAGE                                 1301 W WASHINGTON BLVD #204                                                                     CHICAGO          IL    60607‐2038
MARGARET ARVA                                     10214 HAINES CANYON AVE                                                                         TUJUNGA          CA    91042‐2028
MARGARET ATKIN                                    23 TAR HEELS ROAD                                                                               HAMILTON         NJ    08619‐1147
MARGARET ATKIN CUST STEPHEN ATKIN UTMA NJ         23 TAR HEELS ROAD                                                                               HAMILTON         NJ    08619‐1147
MARGARET AUGUSTINE                                1383 W HUMPHREY AVE                                                                             FLINT            MI    48505‐1027
MARGARET AWTREY CHRISS                            12315 BROKEN BOUGH DR                                                                           HOUSTON          TX    77024‐4921
MARGARET B BABICH & GLORIA M ALLVIM JT TEN        11234 MASONIC                                                                                   WARREN           MI    48093‐1187
MARGARET B BARKER                                 200 E 26TH ST                          APT 306                                                  MUNCIE           IN    47302‐5691
MARGARET B BIGGS                                  362 SOMERVILLE RD                                                                               SOMERVILLE       ME    04348‐3200
MARGARET B BORDEN                                 4611 N MILLER AVE                                                                               PEORIA           IL    61614‐5403
MARGARET B CANUP                                  205 AUTUMN WOOD LANE                                                                            SALISBURY        NC    28146‐8725
MARGARET B CARMOSINO                              5405 THREE LAKES COURT                                                                          FLOWERY BRANCH   GA    30542‐5194

MARGARET B CORDERO                                603 BURNING TREE COURT                                                                          MCKEESPORT       PA    15135‐2111
MARGARET B GILLILAND                              16 BROADWAY                                                                                     FLORHAM PARK     NJ    07932‐2604
MARGARET B GILLILAND & JAMES G GILLILAND JT TEN   16 BROADWAY                                                                                     FLORHAM PARK     NJ    07932‐2604

MARGARET B GILLILAND & PATRICIA G ALBO JT TEN     16 BROADWAY                                                                                     FLORHAM PARK     NJ    07932‐2604

MARGARET B GILLILAND & ROBERTA G HENRY JT TEN     16 BROADWAY                                                                                     FLORHAM PARK     NJ    07932‐2604

MARGARET B HAENNI                                 ROSENGARTENSTRASSE 10                  4800 ZOTINGEN AG                       SWITZERLAND
MARGARET B HAMILTON                               442 CARNEGIE AVE                                                                                CLAIRTON         PA    15025‐2208
MARGARET B HARVIN                                 318 COUNTRY CLUB DR                                                                             COLUMBIA         SC    29206‐3202
MARGARET B HONN & REESE M HONN JT TEN             COLONIAL MANOR STE 39                  8679 POCAHONTAS TRAIL                                    WILLIAMSBURG     VA    23185
MARGARET B JORDAN                                 10117 DAWNDEER LN                                                                               RICHMOND         VA    23233
MARGARET B JOYNER                                 1436 WILLIAMS ROAD                                                                              FORT MILL        SC    29715‐9070
MARGARET B KELLOGG                                1374 EDGCUMBE RD                                                                                SAINT PAUL       MN    55116‐1726
MARGARET B KIRKWOOD & DONNA A HULCHER‐SMITH       830 JESSICA LEE DR                                                                              WESTMINSTER      MD    21157‐6759
JT TEN
MARGARET B MACK                                   37 SKYLINE DR                                                                                   CHALFONT         PA    18914‐2820
MARGARET B MALLORY                                1903 WARWICK CIRCLE E                                                                           LONGVIEW         TX    75601‐3134
MARGARET B MARTI TR UA 07/07/89 B MARTI TRUST     3106 W NELSON                                                                                   MIDLAND          MI    48640‐3345

MARGARET B MATEER TOD JANE B HANSEN SUBJECT TO 245 LANIA DRIVE                                                                                    LANDISVILLE      PA    17538
STA TOD RULES
MARGARET B MATEER TOD JODY SUE BENFER SUBJECT 245 LANIA DRIVE                                                                                     LANDISVILLE      PA    17538
TO STA TOD RULES
MARGARET B MC CUNE                             15 SANDPIPER DRIVE‐BYBRZ                                                                           LEWES            DE    19958‐2116
MARGARET B MOGFORD                             PO BOX 1986                                                                                        MCCALL           ID    83638‐1986
MARGARET B MOGFORD & CHRISTIE FREESE JT TEN    PO BOX 1986                                                                                        MCCALL           ID    83638‐1986

MARGARET B O KEEFFE                               332 FLICKER DR                                                                                  RICHMOND         VA    23227‐3608
MARGARET B PIERCE                                 5100 SHARON RD #111                                                                             CHARLOTTE        NC    28210‐4771
MARGARET B RIEDEL                                 5031 SAN MIGUEL                                                                                 TAMPA            FL    33629‐5428
MARGARET B SHEMET                                 2525 REDWOOD WAY 500                                                                            FORTUNA          CA    95540
MARGARET B SOUCIE                                 ATTN MARGARET B MOWERY                 233 N RIDGE RUN                                          MANCHESTER       VT    05255‐9142
                                                                                                                                                  CENTER
MARGARET B TRENT                                  4035 B BROOKMONT ROAD                                                                           PEORIA           IL    61614‐7367
MARGARET B W SCURLOCK                             8065 MOOSE AVE                                                                                  NORFOLK          VA    23518‐3937
MARGARET B WARE                                   1215 GREENBANK ROAD                    MARSHALLTON                                              WILMINGTON       DE    19808‐5842
MARGARET B WHITE & BARRY R WHITE JT TEN           2678 PETERSEN DR                                                                                SANFORD          MI    48657‐9487
MARGARET BAKER                                    2199 STEWART RD                                                                                 XENIA            OH    45385‐9323
MARGARET BAKER                                    112 MIMOSA DR                                                                                   CAMBRIDGE        MD    21613‐1326
MARGARET BALASSONE                                12 BRANCH FARM RD                                                                               SARANAC LAKE     NY    12983‐2348
MARGARET BALCH                                    1021 PRAIRIE ST                                                                                 PAOLA            KS    66071‐1371
MARGARET BALTES                                   12727 NEWPORT DR                                                                                PALOS PARK       IL    60464
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MARGARET BARANOWSKI & KIMBERLY HOLLAND JT TEN 2001 TUSCOLA AVE                                                                                FLINT             MI    48503‐2119

MARGARET BARBOUR                               2874 MONROE DR                                                                                 AMES              IA    50010‐4364
MARGARET BARRETT                               2309 S DUFFIELD ROAD                                                                           LENNON            MI    48449‐9706
MARGARET BAYLESS                               C/O FREDERICK M HALL                  1617 GRANGER AVE                                         ANN ARBOR         MI    48104‐4428
MARGARET BEAMAN                                ATTN MARGARET C TURNER                3509 DENISON RD                                          BALTIMORE         MD    21215‐7311
MARGARET BEATRIX PATTERSON                     4714 STRATSBURG DR                                                                             DAYTON            OH    45427‐2741
MARGARET BEEMAN                                6791 BUSHNELL RD                                                                               CONNEAUT          OH    44030‐8611
MARGARET BERGH                                 812 SPRUCE ST                                                                                  ELMIRA            NY    14904‐2613
MARGARET BETZ                                  300 BROADWAY APT 7C                                                                            DOBBS FERRY       NY    10522‐2182
MARGARET BIERMAN                               19530 RIVERVIEW AVE                                                                            CLEVELAND         OH    44116‐2638
MARGARET BIRNDORF                              600 WELLINGTON RD                                                                              RIDGEWOOD         NJ    07450‐1224
MARGARET BISCHKE                               3494 CRESTWOOD DR                                                                              BETHLEHEM         PA    18020‐2062
MARGARET BISHOP SIMON & EMILY BISHOP WAGNER JT 11 LAKE TERRACE                                                                                POINT PLEASANT    NJ    08742‐3111
TEN                                                                                                                                           BCH
MARGARET BLACK                                 370 BURDOCK CT                                                                                 THREE BRIDGES     NJ    08887‐2132
MARGARET BLAZER                                13 GRAPE ST                                                                                    GALLIPOLIS        OH    45631‐1016
MARGARET BODEKOR & WILBERT J BODEKOR JT TEN    581 CORNWALL AVE                                                                               TONAWANDA         NY    14150‐7149

MARGARET BOOMHOWER                             732 SHARP MOUNTAIN CRK SE                                                                      MARIETTA          GA    30067‐5168
MARGARET BOWERS                                927 RIVA RIDGE                                                                                 RACINE            WI    53402‐1974
MARGARET BOWERS‐SOLIGO                         103 ARONIMINK DR                                                                               NEWARK            DE    19711‐3802
MARGARET BOYLE HENDRIKSEN                      1327 LAKEWAY AVE                                                                               KALAMAZOO         MI    49001‐4984
MARGARET BOYLE HENDRIKSEN & WILLIAM A          1327 LAKEWAY                                                                                   KALAMAZOO         MI    49001‐4984
HENDRIKSEN JT TEN
MARGARET BRADLEY                               2 ORCHARD HILL RD                                                                              GREENLAND         NH    03840‐2138
MARGARET BRADLEY LISEWSKI                      323 GLEN ROAD NORTH                                                                            ROME              NY    13440‐1903
MARGARET BRENNAN NEATON & ROBERT A NEATON JT   14910 KINLOCH                                                                                  REDFORD           MI    48239‐3100
TEN
MARGARET BRICK                                 1804 RED RIVER DR                                                                              SAINT GEORGE      UT    84790‐4447
MARGARET BUGARA                                15390 CENFIELD ST NE                                                                           ALLIANCE          OH    44601‐9490
MARGARET BURCHFIELD CUST JACK WHITMER GALLOP   2266 WILDERNESS CV                                                                             GERMANTOWN        TN    38139‐5324
UTMA LA
MARGARET BURGESS                               34580 CHERRY HILL                                                                              WESTLAND          MI    48185‐4306
MARGARET BUSUTTIL TR UA 03/05/02 MARGARET      8333 SEMINOLE BLVD APT 606B                                                                    SEMINOLE          FL    33772‐4395
BUSUTTIL REVOCABLE TRUST
MARGARET BUTTERFIELD & ARLENE MESZAROS &       171 FAIRWAY RD                                                                                 ROTONDA WEST      FL    33947‐2019
KATHLEEN MCCORMICK JT TEN
MARGARET BUTTON                                1405 DILLARD HEIGHTS DR                                                                        BETHLEHEM         GA    30620‐7701
MARGARET BYRNE                                 4775 COOLIDGE ST                                                                               OREGON            WI    53575‐2801
MARGARET C ALLEMAN                             103 BOOTH CIR                                                                                  OCEAN SPRINGS     MS    39564‐8505
MARGARET C BAIRD                               220 KING'S BRIDGE                                                                              ATLANTA           GA    30329‐2549
MARGARET C BARRETT                             2925 FIX RD                                                                                    GRAND ISLAND      NY    14072‐2403
MARGARET C BECK & PEGGY BECK JT TEN            209 WISCONSIN ST                                                                               INDIANAPOLIS      IN    46225‐1533
MARGARET C BERNING                             1354 LEMAR DR                                                                                  CINCINNATI        OH    45238‐3847
MARGARET C BICSAK                              129 N NAVARRE AVE                                                                              AUSTINTOWN        OH    44515‐2809
MARGARET C BLACKBURN                           535C HERITAGE VLG                                                                              SOUTHBURY         CT    06488‐1535
MARGARET C BOZARTH                             8355 WEST VIRGINIA AVE                                                                         LAKEWOOD          CO    80226‐3040
MARGARET C CARMAN                              1319 GARDEN ST                                                                                 SAN LUIS OBISPO   CA    93401‐3915
MARGARET C CHAPPELL                            4409 KENSINGTON AVE                                                                            RICHMOND          VA    23221‐1824
MARGARET C CISNEROS                            23510 MAJESTIC                                                                                 OAK PARK          MI    48237‐2292
MARGARET C COOMBS                              2630 COLLEGE ST                                                                                MANITOWOC         WI    54220‐6622
MARGARET C CURRIER                             161 FARRWOOD DR                                                                                HAVERHILL         MA    01835‐8436
MARGARET C DESANTIS                            1914 WEST RD                                                                                   LA HABRA          CA    90631
MARGARET C EDWARDS                             2586 PACES FERRY ROAD N                                                                        ORANGE PARK       FL    32073‐6523
MARGARET C ESTEP                               RR 3 BOX 266                                                                                   HOLIDAYSBURG      PA    16648‐9773
MARGARET C EWERS                               2206 SWEETBRIAR CT                                                                             BLOOMINGTON       IN    47401‐4651
MARGARET C FALZINI                             1195 PARKSIDE AVE                                                                              TRENTON           NJ    08618‐2625
MARGARET C FISCHER                             1700 CEDARWOOD DR                     APT 135                                                  FLUSHING          MI    48433‐3602
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MARGARET C FLOWERS                              90 WARRIOR RD                                                                                   LOUISVILLE       KY    40207‐1518
MARGARET C FOLLIS & BARBARA F SHOEMAKE JT TEN   5333 OVERTON RD                                                                                 NASHVILLE        TN    37220

MARGARET C GARCIA & DIANA L GARCIA JT TEN       41 1/2 BELMONT ST                                                                               CARBONDALE       PA    18407‐1639
MARGARET C GARCIA & LAVINIA M GARCIA JT TEN     41 1/2 BELMONT ST                                                                               CARBONDALE       PA    18407‐1639
MARGARET C HITCHCOCK CUST DONALD BRENT          5970 HUDDERSFIELD RD                                                                            MACON            GA    31210‐2053
HITCHCOCK UTMA GA
MARGARET C HOOVER                               1001 MIDDLEFORD RD                     # 614                                                    SEAFORD          DE    19973‐3638
MARGARET C JOHNSON CUST SALLY J JOACHIM UGMA    19925 E WILLIAM                                                                                 GROSSE POINTE    MI    48236‐2438
MI
MARGARET C KAWCZYNSKI                           3755 WEST 114TH PLACE                                                                           CHICAGO          IL    60655‐3413
MARGARET C KINTNER                              41 WOODLAND WAY                                                                                 TUNKHANNOCK      PA    18657‐9607
MARGARET C KROHN & RICHARD C KROHN JT TEN       33 JOHNSTON PKWY                                                                                KENNESAW         GA    30152‐4442
MARGARET C LESLIE                               18 SHERWOOD DRIVE                                                                               NEW PROVIDENCE   NJ    07974‐2435

MARGARET C LISSAK                               425 EAST MAPLE STREET                                                                           LOMBARD          IL    60148‐2811
MARGARET C LUCE                                 376 SPRINGVILLE                                                                                 EGGERTSVILLE     NY    14226‐2858
MARGARET C MAC NAB & CLAUDE G SCHMITT JT TEN    999 INLET CIR                                                                                   VENICE           FL    34285‐1025

MARGARET C MANGELS                             1077 WOOD LANE                                                                                   WEST CHESTER     PA    19382
MARGARET C MARZEOTTI & STEPHEN M MARZEOTTI & 8540 NAPLES HERITAGE DR #816                                                                       NAPLES           FL    34112‐7737
LINDA C MARZEOTTI JT TEN
MARGARET C MUELLER                             2400 S FINLEY RD                        APT 434                                                  LOMBARD          IL    60148
MARGARET C O'DONNELL & JAMES P BYRNE & MICHAEL 830 N EAGLE ST                                                                                   NAPERVILLE       IL    60563‐3028
P BYRNE JT TEN
MARGARET C OAKLEY                              8507 BEAVER BRIDGE RD                                                                            MOSELEY          VA    23120‐1436
MARGARET C PAOLO                               4 HOAGLAND DR                                                                                    BELLE MEAD       NJ    08502
MARGARET C REILLY                              6 MILLER FIELD                          APT D                                                    STATEN ISLAND    NY    10306‐4998
MARGARET C REMIAS                              513 COLLINS                                                                                      YOUNGSTOWN       OH    44515‐3308
MARGARET C ROGERS                              338 MT VERNON AVE                                                                                ROCHESTER        NY    14620‐2708
MARGARET C SAWICKI                             11152 WINDHURST DR                                                                               WHITE LAKE       MI    48386‐3681
MARGARET C SAXE                                580 COVENTRY COURT                                                                               VACAVILLE        CA    95688‐3601
MARGARET C SPEARS                              1919 MANVILLE                                                                                    MUNCIE           IN    47302‐4851
MARGARET C STROIKA                             4817 N ELKART AVE                                                                                WITEFISH BAY     WI    53217‐5944
MARGARET C SUNDERMAN                           PO BOX 3804                                                                                      VICTORIA         TX    77903‐3804
MARGARET C TRAINOR                             763 N MAIN STREET                                                                                PONTIAC          IL    61764‐1322
MARGARET C VARGO                               5424 CECELIA ANN AVE                                                                             CLARKSTON        MI    48436
MARGARET C WHITE                               ATTN MARGARET C SOCHOCKI                40350 SUNBURY                                            NORTHVILLE       MI    48167‐8514
MARGARET C WINSTON                             333 WEST MAIN ST #408                                                                            MADISON          WI    53703‐2779
MARGARET CARNAHAN                              3325 STATE ROUTE 774                                                                             BETHEL           OH    45106‐9421
MARGARET CARNEY                                5775 LONLOH PINES COURT                                                                          CLARKSTON        MI    48346‐4088
MARGARET CARTER CUST DANNY ROBERT ONDRA        14207 ADAMS                                                                                      WARREN           MI    48093‐5707
UGMA MI
MARGARET CARTER CUST JEREMY MICHAEL ONDRA      14207 ADAMS                                                                                      WARREN           MI    48093‐5707
UGMA MI
MARGARET CASH WEGNER                           5010 S SUNNYMEDE CIRCLE                                                                          SIOUX FALLS      SD    57108‐2823
MARGARET CATHERINE TESHIMA                     26 STANLEY STREET                       SAINT CATHARINES ON                    L2M 1S6 CANADA
MARGARET CENTENO                               PO BOX 718                                                                                       BUENA PARK       CA    90621‐6118
MARGARET CHANNELS                              824 HILL BLVD                                                                                    E LIVERPOOL      OH    43920‐1222
MARGARET CHAO CUST JEFFREY CHAO UGMA MI        857 ASA GRAY DR                                                                                  ANN ARBOR        MI    48105‐2566
MARGARET CHAO CUST SAMANTHA CHAO UGMA MI       857 ASA GRAY DR                                                                                  ANN ARBOR        MI    48105‐2566

MARGARET CHATTERTON DAVIS                       206 MUMFORD ST                                                                                  SNOW HILL        MD    21863‐1145
MARGARET CHEATHAM DUSENBURY                     1238 NW 100 RD                                                                                  ATTICA           KS    67009
MARGARET CHRISTOPHER                            7090 ROOT STREET                                                                                MOUNT MORRIS     MI    48458‐9478
MARGARET COLLEEN SHANNON                        6838 EAST TOPKE                                                                                 TUCSON           AZ    85715‐3353
MARGARET CONNOLLY GARDZINA                      HC1 BX 17E                                                                                      LIBERTY          TX    77575‐9502
MARGARET CORLL‐BURTON                           6776 STEWART SHARON RD                                                                          BROOKFIELD       OH    44403‐9788
MARGARET COSIO                                  4541 LA SALLE AVE                                                                               FREMONT          CA    94536‐5542
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MARGARET COSTELLO                              6227 CAMPBELL HILL RD                                                                         LOCKWOOD         NY     14859‐9602
MARGARET COTTER TR MARGARET COTTER LIV TRUST 35820 W THIRTEEN MILE ROAD                                                                      FARMINGTON HILLS MI     48331‐2508
UA 02/09/00
MARGARET CRANE                                 6152 EASTKNOLL DR 256                                                                         GRAND BLANC       MI    48439‐5078
MARGARET D ARBOGAST                            3786 PAINESVILLE‐WARREN RD                                                                    SOUTHINGTON       OH    44470
MARGARET D COLLINS                             250 WOODFIELD SQUARE LANE                                                                     BRIGHTON          MI    48116‐4317
MARGARET D DAVIS                               6808 OLIVE TREE WAY                                                                           CITRUS HEIGHTS    CA    95610‐4618
MARGARET D DE LA TORRE                         224 WESLEY AVE                                                                                OAK PARK          IL    60302‐3210
MARGARET D DEMANOVICH                          315 DUNES BLVD                       APT 305                                                  NAPLES            FL    34110‐6428
MARGARET D EDWARDS                             1298 MOUNTAIN VIEW DR                                                                         DALLAS            PA    18612‐3014
MARGARET D GARRETT & ABBIE GARRETT JT TEN      APT 2                                305 RICHARD ST                                           JOLIET            IL    60433‐1816
MARGARET D HAMILTON                            PO BOX 22                                                                                     MISSOOURI CITY    TX    77459‐0022
MARGARET D HARTNETT                            24 BRYAN DR                                                                                   MONTVALE          NJ    07645‐1402
MARGARET D HAWKINS                             895 RIDGEWAY RD                                                                               LUGOFF            SC    29078
MARGARET D HUNTER EXECUTRIX ESTATE OF ANDREW 3200 NOTTINGHAM RD                                                                              NORRISTOWN        PA    19403‐4181
P LEWIS
MARGARET D KEYS                                7726 KARRLEIGH PKWY                                                                           SPRINGFIELD       VA    22152
MARGARET D KLOSINSKI                           759 INNIS ST                                                                                  OIL CITY          PA    16301‐2633
MARGARET D LILLEY                              9126 BOWLING GREEN DR                                                                         FREDERICK         MD    21704‐7363
MARGARET D MAYNARD                             45 BRIGHTWOOD RD                                                                              BRISTOL           CT    06010
MARGARET D MIKKOLA TR THE MIKKOLA FAM TRUST UA 1181 WITHINGTON                                                                               FERNDALE          MI    48220‐1253
08/09/90
MARGARET D MILES                               100 ASBURY OAK LN                    APT 136                                                  CHATTANOOGA       TN    37419‐2229
MARGARET D PETTY                               843 BELVEDERE AVE NE                                                                          WARREN            OH    44483‐4229
MARGARET D ROBINSON                            112 MIRAMAR CIRCLE                                                                            OAK RIDGE         TN    37830‐8220
MARGARET D ROGERS                              4874 NORTH WASHINGTON ST                                                                      DANVILLE          IN    46122
MARGARET D ROSELL TR VERNON A & MARGARET D     31412 COUSINO DR                                                                              WARREN            MI    48092‐1796
ROSELL JT TRUST UA 05/14/87
MARGARET D SCHULTZ                             1390 LAKE SHORE DR                                                                            BROOKLYN          MI    49230‐8510
MARGARET D SHACKELFORD                         31 SENECA MANOR DR                                                                            ROCHESTER         NY    14621‐5423
MARGARET D SPALVINS                            2317 TIPTON STATION ROAD                                                                      KNOXVILLE         TN    37920
MARGARET D STILLS                              1815 ROXBURY DRIVE                                                                            XENIA             OH    45385‐4932
MARGARET D TYRRELL TR THE MARGARET D TYRRELL   18 KINGS COURT                                                                                WESTCHESTER       IL    60154‐5632
TRUST UA 3/3/98
MARGARET D VOELKEL                             20111 ROSE FAIR COURT                                                                         KATY              TX    77450‐5253
MARGARET D WHITCOMB                            C/O GLORIA P DULIN                   4761 JOHN RIVERS ROAD                                    PEMBROKE          KY    42266‐9767
MARGARET D WISNIEWSKI & RICHARD WISNIEWSKI &   2320 SW 16TH COURT                                                                            FT LAUDERDAL E    FL    33312‐4005
DENNIS WISNIEWSKI JT TEN
MARGARET D WISNIEWSKI TR MARGARET D            2320 SW 16TH CT                                                                               FORT LAUDERDALE   FL    33312‐4005
WISNIEWSKI TRUST UA 7/15/02
MARGARET D YATER                               5626 MC KNIGHT                                                                                HOUSTON           TX    77035‐2628
MARGARET DAMBRINO                              1193 NASSAU                                                                                   MEMPHIS           TN    38117‐6237
MARGARET DANKOVICH TR MARGARET DANKOVICH       8080 RIVER RD                                                                                 EVART             MI    49631‐8090
LIVING TRUST UA 08/30/94
MARGARET DANNEKER SHEARER                      298 W FRONT ST                                                                                CLEARFIELD        PA    16830‐1631
MARGARET DARBY DAVIS                           PO BOX 9544                                                                                   DAYTONA BEACH     FL    32120‐9544
MARGARET DE CORSO                              4401 GULF OF MEXICO DRIVE            UNIT 804                                                 LONGBOAT KEY      FL    34228‐2414
MARGARET DE NAULT‐GANTZ TR UA 12/26/85 M‐B     1329 RICHMAN KNOLL                                                                            FULLERTON         CA    92635‐3609
MARGARET DE NAULT‐GANTZ
MARGARET DEFELICE                              186 EAST 3RD ST                                                                               BROOKLYN          NY    11218‐2302
MARGARET DELBENE                               78 FORTFIELD AVE                                                                              YONKERS           NY    10701‐5611
MARGARET DEPERGOLA EX EST BENNY DEPERGOLA      135 E HUDSON DR                                                                               LTL EGG HBR       NJ    08087

MARGARET DEVITT                                32905 BROOKSIDE CIR                                                                           LIVONIA           MI    48152‐1426
MARGARET DIANE MYERS                           878 RAUCHTOWN RD                                                                              LOGANTON          PA    17747‐9217
MARGARET DILLON HUTAFF                         137 OXFORD ST                                                                                 CAMBRIDGE         MA    02140‐1532
MARGARET DIMMICK WILLIAMS                      PO BOX 639                                                                                    CULPEPER          VA    22701‐0639
MARGARET DONOVAN                               245 ELMWOOD ST                                                                                VALLEY STREAM     NY    11581‐2641
MARGARET DRYBURGH                              17 MINERUA ST                                                                                 TONAWANDA         NY    14150‐3412
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MARGARET DUCKLES MOLINARI                        7080 CHISINAU PL                                                                                WASHINGTON        DC    20521‐7080
MARGARET DUFFEY BAKER                            2412 AVONIA RD                                                                                  FAIRVIEW          PA    16415‐1838
MARGARET DUFFY‐SHANLEY                           16 VIRGINIA PL                                                                                  STATEN ISLAND     NY    10314‐2323
MARGARET DUNHAM SMITH                            85 SOMERSET AVE                                                                                 PITTSFIELD        MA    01201‐2816
MARGARET E ANDERSON                              4 ANDREWS ST                                                                                    MEDFORD           MA    02155‐1267
MARGARET E ANDERSON & WILLIAM A ANDERSON JT      4 ANDREWS ST                                                                                    MEDFORD           MA    02155‐1267
TEN
MARGARET E ANDERSON TOD PAUL D ANDERSON          7535 E BENNINGTON RD                                                                            DURAND            MI    48429
MARGARET E BALOG                                 1969 S 7TH ST                          APT 204                                                  BRAINERD          MN    56401‐4534
MARGARET E BARDWELL                              118 40TH ST S W                                                                                 WYOMING           MI    49548‐3108
MARGARET E BARLOW TR UA 07/06/90 MARGARET E      41110 FOX RUN APT T15                                                                           NOVI              MI    48377‐4823
BARLOW TRUST
MARGARET E BEDNARIK                              1103 UNION STREET                                                                               MORRIS            IL    60450‐1203
MARGARET E BOARDNER                              1533 CHRISTMAS RUN BLVD                                                                         WOOSTER           OH    44691‐1503
MARGARET E BROWDER                               7640 PLEASANT BROOK                                                                             WATERFORD         MI    48327‐3690
MARGARET E BROWDER & JANET E SERVOSS JT TEN      7640 PLEASANT BROOK                                                                             WATERFORD         MI    48327‐3690

MARGARET E BUTLER                                385 N MURRAY HILL RD                                                                            COLUMBUS          OH    43228‐1352
MARGARET E CAREY                                 KEYSTONE WOODS                         936 GRAYSON DRIVE    APT 314                             SPRINGFIELD       MA    01119‐1546
MARGARET E CASH                                  801 CRANFORD AVENUE                                                                             LINDEN            NJ    07036‐1803
MARGARET E CHRISTIAN                             4541 FOUNDERS LN                                                                                PLACERVILLE       CA    95667‐9226
MARGARET E COBB                                  38 GREENBRIAR LN                                                                                ANNANDALE         NJ    08801‐1618
MARGARET E COCKRELL                              2398 CONGO ST                                                                                   AKRON             OH    44305‐3964
MARGARET E COCKRELL & ROBERT L COCKRELL JT TEN   2398 CONGO ST                                                                                   AKRON             OH    44305‐3964

MARGARET E COLLASO                               12721 LUCILLE AVE                                                                               GARDEN GROVE      CA    92841‐4756
MARGARET E CROTHERS                              111 HIGHLAND DR                                                                                 MCMURRAY          PA    15317‐2707
MARGARET E CROWLEY                               5609 WOLCOTT HOLLOW ROAD                                                                        ATHENS            PA    18810‐9435
MARGARET E DAVIDSON & WAYNE T DAVIDSON JT TEN    9719 BERRYVILLE                                                                                 SAN ANTONIO       TX    78245‐1903

MARGARET E DIEMERT                               3689 TANGLEWOOD CT                                                                              ANN ARBOR         MI    48105‐9575
MARGARET E DOUGHERTY                             C/O LYNN A KRAMER                      35 DOWNING STREET                                        EAST GREENWICH    RI    02818‐2223
MARGARET E EDWARDS                               5847 NORTH CROWN AVENUE                                                                         WESTLAND          MI    48185‐8109
MARGARET E FALATEK                               1109 EASTON RD                                                                                  HELLERTOWN        PA    18055‐1619
MARGARET E FRASER                                179 HAINES ST                                                                                   NEWARK            DE    19711‐5316
MARGARET E GIRARD & RONALD L ALLOR JT TEN        C/O RONALD L ALLOR                     29808 MAPLEGROVE                                         ST CLAIR SHORES   MI    48082‐2802
MARGARET E HACKETT                               1472 BRITTON ST                                                                                 WANTAGH           NY    11793‐2948
MARGARET E HAFICH                                70 ASHLEY DR                                                                                    WARMINSTER        PA    18974‐6134
MARGARET E HAVILAND                              35215 ANN'S CHOICE WAY                                                                          WARMINSTER        PA    18974
MARGARET E HOLDSWORTH                            256 SABIN ST                                                                                    BELCHERTOWN       MA    01007‐9385
MARGARET E HUCKABEE                              1030 CODDINGTON PL                                                                              CHARLOTTE         NC    28211‐1302
MARGARET E ISREAL                                3212 INFIRMARY RD                                                                               DAYTON            OH    45418‐1848
MARGARET E IVAN & GARY J IVAN JT TEN             107 FOWLER AVE                                                                                  YONKERS           NY    10701‐5405
MARGARET E JAEGER                                3611 NOVA RD                                                                                    PINE              CO    80470‐9687
MARGARET E KING & DAVID M JACKSON JT TEN         5700 WATER TOWER PL #103                                                                        CLARKSTON         MI    48346‐2668
MARGARET E KMIEC                                 25529 CHAMPAIGN                                                                                 TAYLOR            MI    48180‐2052
MARGARET E KRISHER                               5801 WOOD DUCK CT                                                                               CLAYTON           OH    45315‐9639
MARGARET E LATOZAS & JOSEPH LATOZAS JT TEN       4371 CHEESEMAN                                                                                  WATERFORD         MI    48329‐4007
MARGARET E LINGO                                 1403 FREDERICK                                                                                  OWOSSO            MI    48867‐4106
MARGARET E LUTZ                                  96 STATE RD                                                                                     HINCKLEY          OH    44233‐9632
MARGARET E MAC DOUGALL                           ATTN MARGARET E PARKER                 17447 PHILOMENE                                          ALLEN PARK        MI    48101‐2379
MARGARET E MAGOFFIN                              5648 BYRON ELBA RD                                                                              ELBA              NY    14058‐9507
MARGARET E MANN                                  3260 RATTALEE LAKE ROAD                                                                         HOLLY             MI    48442
MARGARET E MARSHALL                              ATTN MARGARET E CLARK                  3039 KNOLL DRIVE                                         COLUMBUS          OH    43230‐3144
MARGARET E MESERVE                               11 DYER STREET                                                                                  PORTLAND          ME    04106‐1502
MARGARET E MONG                                  BOX 193                                                                                         STOYSTOWN         PA    15563‐0193
MARGARET E MORAN                                 200 LAWNDALE RD                                                                                 MANSFIELD         MA    02048‐1679
MARGARET E MORAN                                 15622 DENBY                                                                                     REDFORD           MI    48239‐3930
MARGARET E MORAN                                 171 SURF TRL                                                                                    SO BELOIT         IL    61080‐2583
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MARGARET E MORAN                                  850 SUMNER PKWY                      APT 118                                                  COPLEY             OH    44321‐3313
MARGARET E MORAVEC                                115 LONDON PLACE                                                                              GILROY             CA    95020‐6756
MARGARET E MORGAN TR MARGARET E MORGAN            1477 VIRGINIA AVE                                                                             REDWOOD CITY       CA    94061‐2628
TRUST UA 10/12/95
MARGARET E MORROW                                 316 PROSPECT AVE                                                                              CRANFORD           NJ    07016‐2349
MARGARET E NEWBY                                  1939 HASELMERE RD                                                                             DUNDALK            MD    21222‐4754
MARGARET E NOBLE                                  19545 M 52                                                                                    CHELSEA            MI    48118‐9568
MARGARET E OVITSKY                                916 WASHINGTON ST                                                                             MOUNT PLEASANT     PA    15666‐1742

MARGARET E PATER                             ATTN MARGARET PATER WHITAKER              1216 COULTER RD                                          SHERWOOD         AR      72120‐6022
MARGARET E PATTERSON TR MARGARET E PATTERSON 36492 RUTHERFORD COURT                                                                             FARMINGTON HILLS MI      48335‐2199
LIVING TRUST UA 08/03/05
MARGARET E QUEALEY & JOHN F QUEALEY JT TEN   221 MOORE ST                                                                                       LOWELL             MA    01852‐5028
MARGARET E RATH                              1560 YOSEMITE DR                          APT 217                                                  LOS ANGELES        CA    90041‐2835
MARGARET E ROBITAILLE USTICK                 930 SAN SALVADOR                                                                                   DUNEDIN            FL    34698‐4423
MARGARET E RODGERS                           16900 EAKER CIR                                                                                    RIVERSIDE          CA    92518‐2884
MARGARET E ROONEY & KARYN M OCHIUZZO JT TEN  434 WOOD RIDGE AVE                                                                                 WOOD RIDGE         NJ    07075‐1608

MARGARET E RUSSELL & JAMES R RUSSELL JT TEN       PO BOX 2159                                                                                   SCOTIA             NY    12302‐0159
MARGARET E RUSSELL & KEITH RUSSEL JT TEN          15 4TH ST                                                                                     MALONE             NY    12953‐1340
MARGARET E RUTLEDGE                               4150 HAYNES CIRCLE                                                                            SNELLSVILLE        GA    30039‐5421
MARGARET E SAGER                                  ATTN MARGARET E VENETIS              14923 ROTUNDA DR                                         STERLING HEIGHTS   MI    48313‐4462

MARGARET E SEASLY TR MARGARET E SEASLY TRUST UA 1919 TIMBERS EDGE CIR                                                                           JOLIET             IL    60431‐1626
6/20/01
MARGARET E SENF                                 2730 N FOREST RD                       APT 222                                                  GETZVILLE          NY    14068‐1585
MARGARET E SEVERIN                              310 THIRD AVE                                                                                   KEYSTONE           IA    52249‐9511
MARGARET E SHANELY                              C/O PEGGY SHEETS                       823 DENT ROAD                                            SUNBURY            OH    43074
MARGARET E SHRINER                              10063 HARDY DR                                                                                  OVERLAND PARK      KS    66212‐3439
MARGARET E SIMUEL                               2048 RUSTIC RD                                                                                  DAYTON             OH    45405‐3233
MARGARET E SMITH TR UA 07/27/90 MARGARET        5904 MEADOWOOD RD                                                                               BALTIMORE          MD    21212‐2435
ELIZABETH SMITH TRUST
MARGARET E SMUTKO                               7718 ST ANDREWS BLVD                                                                            BROOKSVILLE        FL    34613‐7479
MARGARET E SPENCER TR MARGARET E SPENCER TRUST 301 W SSPRING STREET                                                                             GRAYVILLE          IL    62844‐1248
UA 10/13/94
MARGARET E STEELE                               3910 ABERDEEN DR                                                                                CHAMPAIGN          IL    61822‐8573
MARGARET E SVEHLA                               11374 65TH PL N                                                                                 MAPLE GROVE        MN    55369‐6162
MARGARET E SVEHLA CUST DAVID J SVEHLA UGMA      11374 NO 65TH PL                                                                                MAPLE GROVE        MN    55369‐6162

MARGARET E THOMAS                                 1535 CASTLEMAINE DR                                                                           ZEELAND            MI    49464‐9083
MARGARET E THOMAS TR UA 11/20/91 MARGARET E       1535 CASTLEMAINE DR                                                                           ZEELAND            MI    49464‐9083
THOMAS TRUST
MARGARET E TINKLENBERG                            8125 CONTINGO TER                                                                             KALAMAZOO          MI    49009‐9654
MARGARET E TURRELL                                PO BOX 80160                                                                                  RCHO STA MARG      CA    92688‐0160
MARGARET E ULMER                                  24 LAVISTA CT                                                                                 GREENVILLE         SC    29601‐4418
MARGARET E WACHTER & E FRANK WACHTER III JT TEN   28514 MARYS LANE                                                                              WARSAW             MO    65355‐6752

MARGARET E WALKER                                 7976 BISHOP DR                                                                                FRISCO             TX    75034‐0520
MARGARET E WANDRIE                                1219 MARKHAM                                                                                  FLINT              MI    48507‐2307
MARGARET E WATSON                                 10025 KING RD                                                                                 DAVISBURG          MI    48350‐1901
MARGARET E WHETSEL                                5906 TIFFIN AVE                                                                               CASTALIA           OH    44824‐9447
MARGARET E WILHELM                                3360 N STATE                         ROUTE 589                                                CASSTOWN           OH    45312
MARGARET E WILLIAMS                               PO BOX 56                                                                                     CLYO               GA    31303‐0056
MARGARET E WONDER                                 7418 WELLCREST DR                                                                             DALLAS             TX    75230‐4236
MARGARET E WOOLLEY                                1165 WENDY CT                                                                                 ANN ARBOR          MI    48103‐3175
MARGARET EASTHAM FAMILY LTD PARTNERSHIP           PO BOX 27944                                                                                  HOUSTON            TX    77227‐7944
MARGARET ELAINE BAKER                             3011 HICKORY FALLS                                                                            KINGWOOD           TX    77345‐1325
MARGARET ELAINE JINNO                             PO BOX 207                                                                                    N BENNINGTON       VT    05257‐0207
MARGARET ELEANOR SMITH                            388 ELDER RD                                                                                  GRIFFIN            GA    30223‐5612
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MARGARET ELISABETH DAY                            C/O MARGARET D STRIPLIN               18635 5TH PLACE SW                                       NORMANDY PARK   WA    98166‐3982
MARGARET ELISE TERRIEN                            659 W CANFIELD #6                                                                              DETROIT         MI    48201‐1146
MARGARET ELIZABETH BATTEY                         101 WEST ALEXANDRIA AVENUE                                                                     ALEXANDRIA      VA    22301‐2016
MARGARET ELIZABETH BURKE                          9 PINE COURT DRIVE                                                                             SILER CITY      NC    27344‐7806
MARGARET ELIZABETH DOERLICH                       5552 NO CHARLOTTE AVE                                                                          SAN GABRIEL     CA    91776‐1621
MARGARET ELIZABETH HICKMAN                        FIRETHORN FARM                        1200 BALTIMORE PIKE                                      LINCOLN         PA    19352‐1502
                                                                                                                                                 UNIVERSITY
MARGARET ELIZABETH MEADE                          239 EMMANS ROAD                                                                                FLANDERS        NJ    07836‐9039
MARGARET ELIZABETH TOLLEY                         515 MARLIN FARM RD                                                                             STEWARTSVILLE   NJ    08886‐3251
MARGARET ELIZABETH VEACH                          3560 VERNON RD                                                                                 HESTAND         KY    42151‐9725
MARGARET ELIZABETH ZIMMER & JOSEPH A ZIMMER JT    730 DE VINNEY ST                                                                               GOLDEN          CO    80401‐4536
TEN
MARGARET ELLEN FARMER                             4508 S BELSAY RD                                                                               GRAND BLANC     MI    48439‐9120
MARGARET ELLEN PRICE                              180 GEORGE COGGIN RD                                                                           NEWNAN          GA    30265‐1431
MARGARET ELLIS LOVE                               76 F ST                                                                                        CHULA VISTA     CA    91910‐3035
MARGARET ELOISE CONLEN                            4164 DORAN ST                                                                                  FLINT           MI    48504‐1517
MARGARET ESTELLE GARDNER                          10044 LASALLE                                                                                  HUNTINGTON WD   MI    48070‐1118

MARGARET ETENHOFFER                               22127 FIRWOOD                                                                                  EAST DETROIT    MI    48021‐2185
MARGARET F ALLEN TR MARGARET F ALLEN TRUST UA     10405 GOLFVIEW                                                                                 DAVISON         MI    48423‐8638
03/21/89
MARGARET F BARNETT                                10540 BASTILLE LANE                   #106                                                     ORLANDO         FL    32836
MARGARET F BEAIRD                                 101 WILLIAMS COURT                                                                             MOBILE          AL    36606‐1467
MARGARET F BEMIS                                  3490 MAPLE DRIVE                                                                               YPSILANTI       MI    48197‐3785
MARGARET F BENGRY                                 9630 NW PLEASANT SMITH RD                                                                      YAMHILL         OR    97148‐8334
MARGARET F BRUEGGEMAN & KAREN FAYE DOBIES JT      9190 HIGHLAND DRIVE                                                                            BRECKSVILLE     OH    44141‐2444
TEN
MARGARET F BULLEY                                 645 WEST IRWIN ST                                                                              BAD AXE         MI    48413‐1075
MARGARET F CARTER                                 1525 DUDLEY CORNER RD                                                                          MILLINGTON      MD    21651‐1629
MARGARET F CRAIG                                  3312 MAPLECREST RD                                                                             BETTERDORF      IA    52722‐3342
MARGARET F CRAIG & MISS MARGARET G CRAIG JT TEN   3312 MAPLECREST RD                                                                             BETTERNDORF     IA    52722‐3342

MARGARET F DEVOY                                  8 SALVI DR                                                                                     FRAMINGHAM      MA    01701‐4063
MARGARET F ENDLICH & RICHARD E ENDLICH JT TEN     16086 FOREST                                                                                   EAST DETROIT    MI    48021‐1135

MARGARET F FERGUSON                               333 POWELL ROAD                       WHITBY ON                              L1N 2H5 CANADA
MARGARET F FOGG                                   PO BOX 45                                                                                      CRAFTSBURY      VT    05827‐0045
                                                                                                                                                 COMMON
MARGARET F FRANCIS                                1522 8TH ST                                                                                    MOUNDSVILLE     WV    26041‐2031
MARGARET F FRENCH                                 422 LAURIAN WAY NW                                                                             KENNESAW        GA    30144‐5150
MARGARET F FREY                                   11 DEVONSHIRE CT                                                                               FLEMINGTON      NJ    08822‐1813
MARGARET F GINDER                                 3212 CENTENNIAL OAK CT                                                                         CLIO            MI    48420‐2900
MARGARET F GODWIN CUST JONATHAN B GODWIN          1312 LAKE MILLS RD                                                                             CHULUOTA        FL    32766‐9655
UTMA FL
MARGARET F HINTZ                                  8616 W 10TH ST APT 133                                                                         INDIANAPOLIS    IN    46234‐2167
MARGARET F HUTCHENS                               3016 WINDSOR DRIVE                                                                             COLUMBIA        TN    38401‐4952
MARGARET F HUTCHENS & JANET S SARVIS JT TEN       3016 WINDSOR DR                                                                                COLUBIA         TN    38401‐4952
MARGARET F JACKSON                                5020 NORTHERN LIGHTS CIR              MISSISSAUGA ON                         L5R 2P7 CANADA
MARGARET F JOHNSON                                1904 ROBERT ST                                                                                 WILMINGTON      IL    60481‐1731
MARGARET F LAW                                    177 INDIAN RIVER ROAD                                                                          ORANGE          CT    06477‐3606
MARGARET F LINNELL                                52 SHEILA CT                          APT 117                                                  BRISTOL         CT    06010‐4731
MARGARET F PACKARD                                2807 BLUEGRASS DR                                                                              MOUNT LAUREL    NJ    08054‐6942
MARGARET F PORTER                                 1416 S CO RD 200 E                                                                             KOKOMO          IN    46902
MARGARET F SHANNON                                8413 CHEROKEE RD                                                                               RICHMOND        VA    23235‐1605
MARGARET F SHETTLE                                3 MARBURY RD                                                                                   SEVERNA PARK    MD    21146‐3705
MARGARET F SPELLMAN                               30 LAKESHORE S                                                                                 NEW FAIRFIELD   CT    06812‐3540
MARGARET FAIRFIELD                                609 ROCKPORT ROAD                                                                              JANESVILLE      WI    53548
MARGARET FASANO                                   1439 WOODHILL DRIVE                                                                            NORTHBROOK      IL    60062‐4660
MARGARET FAYE HADLEY                              1543 E 54TH PL                                                                                 TULSA           OK    74105‐6938
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MARGARET FIELDS                                  625 E WATER ST ROOM 307                                                                         PENDLETON         IN    46064‐8532
MARGARET FINLEY                                  14429 HILL‐N‐DALE WAY                                                                           POWAY             CA    92064
MARGARET FISHER SAUER & HARRY A SAUER TEN ENT    2 1/2 OXFORD ST                                                                                 WILKES BARRE      PA    18706‐4020

MARGARET FLECK                                   4002 CIREMOS TERRACE                                                                            LOUISVILLE        KY    40241‐1523
MARGARET FLEISCHMANN                             1 SCHUBER PL                                                                                    EATONTOWN         NJ    07724‐1517
MARGARET FOLDENAUER                              8448 BERGIN ROAD                                                                                HOWELL            MI    48843‐9032
MARGARET FORTE                                   8 HASKELL AVE                                                                                   HASKELL           NJ    07420‐1511
MARGARET FORTINO                                 1345 GIDNER RD                                                                                  CHARLOTTE         MI    48813‐8714
MARGARET FOX ROBERTS PERDUE                      201 SPRING ST                                                                                   STATE COLLEGE     PA    16801‐7161
MARGARET FRANKLIN CUST JEFFREY R FRANKLIN UTMA   627 ORIZZBA AVE                        APT 1                                                    LONG BEACH        CA    90814‐7922
NC
MARGARET G ASHBURY & HOPE E LAITALA JT TEN       2316 E SECOND ST                                                                                FLINT             MI    48503‐2230
MARGARET G BACHNER & PAUL J BACHNER JR JT TEN    7946 ELM                                                                                        WOODRIDGE         IL    60517‐3602

MARGARET G BREWER                                11015 MORLEY AVE                                                                                TAYLOR            MI    48180‐4109
MARGARET G BURCHAM                               614 W 26TH ST                                                                                   RICHMOND          VA    23225‐3617
MARGARET G BURNS                                 10093 HOLIDAY DR                                                                                ZEELAND           MI    49464‐1071
MARGARET G CLOR & MELVIN J CLOR JT TEN           8565 MCINTOSH                                                                                   HARBOR BEACH      MI    48441‐9712
MARGARET G DAVIS                                 3873 E S R 236                                                                                  ANDERSON          IN    46017
MARGARET G DAVIS & PAUL W DAVIS JT TEN           3873 E S R 236                                                                                  ANDERSON          IN    46017
MARGARET G GERALD                                351 E MAYS RD                                                                                   STOCKBRIDGE       GA    30281‐1821
MARGARET G HAYWARD                               73 BANKSIDE DR                                                                                  CENTERPORT        NY    11721‐1738
MARGARET G HOLMES                                106 E MAPLE ST                                                                                  ALEXANDRIA        VA    22301‐2230
MARGARET G HORNYAK                               PO BOX #202                                                                                     GROSSE ILE        MI    48138‐0202
MARGARET G IWANCHUK                              278‐B OLD BILLERICA RD                                                                          BEDFORD           MA    01730‐1259
MARGARET G KILBURN                               1314 W LAKE DR                                                                                  ASHEBORO          NC    27205‐2548
MARGARET G LORENZ                                1404 ELM RD                                                                                     ANCHORAGE         KY    40223‐1416
MARGARET G MANSELL                               3515 PHEASANT CHASE DR                                                                          HERMITAGE         PA    16148‐3175
MARGARET G NEMYIER                               236 E MAIN ST                                                                                   ILION             NY    13357‐1339
MARGARET G NISIVOCCIA                            118 COUNTRY LANE                                                                                CLIFTON           NJ    07013‐3833
MARGARET G PRICE & GEORGE E PRICE JR JT TEN      12614 N VIA DEL SOL                                                                             FUNTAIN HILLS     AZ    85268‐8526
MARGARET G RUSSELL                               PO BOX 1987                                                                                     SILVERDALE        WA    98383‐1987
MARGARET G RYAN                                  39 FOX CHASE RUN                                                                                SOMERVILLE        NJ    08876‐3304
MARGARET G SMALL & CARLTON W SMALL JT TEN        788 CHERRY AVE                                                                                  WAYNESBORO        VA    22980‐4407
MARGARET G SPITLER                               193 WOODWARD AVE                                                                                BUFFALO           NY    14214‐2313
MARGARET G THAYER                                980 SEVENTH ST #16                                                                              LARGO             FL    33770‐1152
MARGARET G TRAVIS                                ROUTE 1 2265 DENNIS RD                                                                          WILLIAMSTON       MI    48895‐9745
MARGARET G WATSON                                5918 BRIGHTON LAKE RD                                                                           BRIGHTON          MI    48116‐1700
MARGARET G WILLIAMS                              11 LINCOLN ST                                                                                   WEST GLOUCESTER   MA    01930‐2015

MARGARET GALGOLA                               320 NORTH BLUFF ST                                                                                BUTLER            PA    16001
MARGARET GALLAGHER                             807 ORCHID STREET                                                                                 THE VILLAGE       FL    32159‐6105
MARGARET GARABRANT                             201 E 21ST ST                            APT 11S                                                  NEW YORK          NY    10010‐6419
MARGARET GARCIA                                14694 DUNTON DR E                                                                                 WHITTIER          CA    90604‐1117
MARGARET GAY                                   PO BOX 169                                                                                        DOVER             GA    30424‐0169
MARGARET GEGAS                                 197 SOUTH ST                                                                                      CONCORD           NH    03301‐2719
MARGARET GEIDEMAN                              PO BOX 129                                                                                        NORMANDY          TN    37360‐0129
MARGARET GERTNER CUST MADELINE P STACK UTMA IL 1962 BIG OAK LANE                                                                                 NORTHBROOK        IL    60062‐3606

MARGARET GIBBONS                                 160 W 73RD ST APT 10G                                                                           NEW YORK          NY    10023‐3058
MARGARET GIGLIO                                  205 SEARS AVE # A                                                                               ATLANTIC          NJ    07716‐2421
                                                                                                                                                 HIGHLANDS
MARGARET GILLESBY & BARBARA GRAMANN JT TEN       200 CHESTER ST                         APT 220                                                  BIRMINGHAM        MI    48009‐1427

MARGARET GILLMER MYERS                           305 MAPLE CREEK RD                                                                              MONROE            VA    24574‐2959
MARGARET GLENN ROEPKE                            608 ROBIN ROAD                                                                                  BIRMINGHAM        AL    35214‐3522
MARGARET GLOCKNER HARTSHORN                      6066 TULIP HILL ROAD                                                                            WORTHINGTON       OH    43235‐3363
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MARGARET GODWIN CUST JAMES B GODWIN III UTMA 1312 LAKE MILLS RD                                                                                CHULUDTA         FL    32766‐9655
FL
MARGARET GOLDSMITH                            3930 LAKE GROVE ROAD                                                                             LAKE OSWEGO      OR    97035‐4416
MARGARET GONA                                 5944 BLAKLEY DR                                                                                  HIGHLAND HTS     OH    44143‐2028
MARGARET GORDON LOUVIER                       520 POINTE ESSEX CT                                                                              SAINT LOUIS      MO    63122‐3644
MARGARET GRACE OLSON                          6910 N E 70TH STREET                                                                             VANCOUVER        WA    98661‐1617
MARGARET GRADY CUST THOMAS K GRADY JR UTMA CA 1637 LOS PADRES BLVD                                                                             SANTA CLARA      CA    95050‐4019

MARGARET GRAHAM CRAIG                          3312 MAPLECREST RD                                                                              BETTENDORF       IA    52722‐3342
MARGARET GRAVES JOHNSON                        239 OCEAN SHORE BLVD                                                                            ORMOND BEACH     FL    32176‐5736
MARGARET GRAY & OR JAMES IAN GRAY              180 PIPER RD                                                                                    HALSETT          MI    48840‐8703
MARGARET GRESSER KUEHNE                        43 CANTERBURY HILL RD                                                                           TOPSFIELD        MA    01983‐1521
MARGARET GUNDERSON MOORE                       54220 BELCREST DRIVE                                                                            MILFORD          MI    48381‐4390
MARGARET GUNNERSON                             33666 SCOTTYS COVE DR                                                                           DANA POINT       CA    92629‐2101
MARGARET H ALSPAUGH TR MARGARET H ALSPAUGH     5843 BRAINARD DR                                                                                SYLVANIA         OH    43560‐1211
TRUST UA 07/26/96
MARGARET H BOGARDUS                            804 WEDGEWOOD DR                                                                                ERIE             PA    16505‐1152
MARGARET H BOWELL                              1913 WHITTLES WOOD RD                                                                           WILLIAMSBURG     VA    23185‐7697
MARGARET H BROWN                               468 ROCKLAND AVE                                                                                MERION STATION   PA    19066‐1356
MARGARET H CHANDLER CUST ROBERT C CHANDLER     57 ASHALOONA DR                                                                                 WINTHROP         ME    04364‐3363
UGMA PA
MARGARET H CHEN                                99 WINDSOR WAY                                                                                  BERKELEY HTS     NJ    07922‐1858
MARGARET H CLARK                               250 RUTH HAIRSTON LN                                                                            MARTINSVILLE     VA    24112‐0480
MARGARET H CUMMINGS                            1118 MCLEAN                                                                                     ROYAL OAK        MI    48067‐3432
MARGARET H DOBBINS                             2941 MANOA RD                                                                                   HONOLULU         HI    96822‐1756
MARGARET H FLYNN                               3551 ALGINET DR                                                                                 ENCINO           CA    91436‐4125
MARGARET H GANZERT                             1600 WESTBROOK AVE                     APT 8370                                                 RICHMOND         VA    23227‐3392
MARGARET H GOODHUE                             13 FLEETWOOD ST                                                                                 PORTLAND         ME    04102‐2013
MARGARET H HODGES                              1304 RADFORD ROAD GREEN ACRES                                                                   WILMINGTON       DE    19803‐5134
MARGARET H HOLDING                             7045 DEVEREUX CIRCLE DR                                                                         ALEXANDRIA       VA    22315‐4228
MARGARET H HOPPER TR UA 04/28/88 MARGARET H    834 W 8TH AVE                                                                                   ESCONDIDO        CA    92025‐3904
HOPPER TRUST
MARGARET H KEEFE                               8 CANVASBACK WAY                                                                                WALPOLE          MA    02081‐4320
MARGARET H KENNEDY                             217 WHISTLE STOP RD                    APT RD                                                   PITTSFORD        NY    14534‐9605
MARGARET H KESTNER                             7469 DEJA RD                                                                                    EDMORE           MI    48829‐9334
MARGARET H KIRBY                               1975 TURKEY HWY                                                                                 CLINTON          NC    28328‐9618
MARGARET H LEAVITT                             ATTN A DAVIS                           1010 N GLOUCESTER ST                                     IRVING           TX    75062‐7506
MARGARET H MAHONEY TR MAHONEY FAM TRUST UA     2600 TRENTON ST                                                                                 CAMBRIA          CA    93428‐4744
04/11/88
MARGARET H MC CONNELL                          42 MINNESOTA AVE S                                                                              AITKIN           MN    56431‐1621
MARGARET H MCAVOY                              BOX 192                                27 SHEPLEY ST                                            WEST GROTON      MA    01472‐0192
MARGARET H MILLER                              6256 FOUNTAINHEAD DRIVE                                                                         RALEIGH          NC    27609‐8515
MARGARET H PHILLIPS                            PO BOX 190                                                                                      KENNETT SQUARE   PA    19348‐0190
MARGARET H RESOVSKY & MARJORIE A THOMAS &      37337 LAKESHORE                                                                                 HARRISON         MI    48045‐2843
GERALDINE P GENTILE JT TEN                                                                                                                     TOWNSHIP
MARGARET H RISH                                PO BOX 90998                                                                                    COLUMBIA         SC    29290‐1998
MARGARET H RULKETTER                           1911 CHARBDIN PL                                                                                LOUISVILLE       KY    40207‐1605
MARGARET H SELLECK TR MARGARET H SELLECK       PO BOX 582                                                                                      CENTER HARBOR    NH    03226‐0582
REVOCABLE TRUST UA 09/17/04
MARGARET H STRADER                             2664 SW REGAL DR                                                                                LEES SUMMIT      MO    64082‐1428
MARGARET H TATUM                               1100 GERMAN SCHOOL RD APT 310                                                                   RICHMOND         VA    23225‐4279
MARGARET H TULKOFF                             3278 BELMONT GLEN DR                                                                            MARIETTA         GA    30067‐9119
MARGARET H WHITTINGTON                         5243 PINEVIEW DRIVE                                                                             CHARLESTON       WV    25313‐1629
MARGARET H WORGESS                             352 COURTNEY STREET                                                                             GALESBURG        MI    49053‐9694
MARGARET HABER DUBIL TR JOHN DUBIL REVOCABLE   3370 HALCYON DR                                                                                 BETTENDORF       IA    52722‐3927
LIVING TRUST UA 02/12/98
MARGARET HAGAN                                 10212 E STANLEY ROAD                                                                            DAVISON          MI    48423‐9307
MARGARET HAGAN                                 1909 PATHFINDER CT                                                                              XENIA            OH    45385‐9596
MARGARET HANNAH                                180 WHITLY BAY AVE                                                                              LAS VEGAS        NV    89148‐2801
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MARGARET HARRIGAN                                 PO BOX 72                                                                                        NORTH            ME    04962‐0072
                                                                                                                                                   VASSALBORO
MARGARET HARRIS & PETER E DALE JT TEN         7403 46TH AVE N                          LOT 170                                                     ST PETERSBURG    FL    33709‐2557
MARGARET HARRIS TR HARRIS FAM LIVING TRUST UA 1516 WILSON DR                                                                                       HOPE             AR    71801‐7011
08/30/94
MARGARET HARTLOFF                             PO BOX 370                                                                                           LEOTI            KS    67861‐0370
MARGARET HARVEY OBRIEN                        ANDOVER RD                                                                                           HAVERFORD        PA    19041
MARGARET HEALY                                28 OAK STREET                            MARAVISTA                                                   EAST FALMOUTH    MA    02536‐6744
MARGARET HECKMAN                              124 LAUREL AVE                                                                                       BINGHAMTON       NY    13905‐3621
MARGARET HELEN LEVINSON                       42797 BROOKSTONE DR                                                                                  NOVI             MI    48089
MARGARET HELLER                               20000 E COUNTRY CLUB DR PH2                                                                          AVENTURA         FL    33180
MARGARET HENRY                                455 LOGAN                                                                                            GEORGETOWN       TX    78628
MARGARET HENRY & KATHLEEN MACKY TEN COM       1304 LAKESHORE DR                                                                                    MASSAPEQUA       NY    11762‐1764
MARGARET HERMAN                               3800 N LAKE SHORE DR                                                                                 CHICAGO          IL    60613‐3313
MARGARET HILLENBRAND                          333 9TH ST                                                                                           DEL MAR          CA    92014‐2809
MARGARET HOOKER                               9601 CORNELL ST                                                                                      TAYLOR           MI    48180‐3429
MARGARET HOOPER TURNER                        1215 AIRLIE RD                                                                                       WILMINGTON       NC    28403‐3724
MARGARET HOUSTON & LINDA VINCIL JT TEN        53405 GARLAND                                                                                        SHELBY TWP       MI    48316‐2728
MARGARET HUBBARD TR HUBBARD TRUST UA 08/18/97 2146 PUEBLO CIRCLE                                                                                   LAS VEGAS        NV    89109‐3335

MARGARET HUGHES WATERS                            501 V E S RD                         APT B601                                                    LYNCHBURG        VA    24503‐4605
MARGARET HUNLEY                                   925 LAWNWOOD AVENUE                                                                              KETTERING        OH    45429‐5543
MARGARET HURNEY                                   1070 ARBOR DRIVE                                                                                 PITTSBURGH       PA    15220‐3201
MARGARET I CORKE                                  320 HAMILTON ST 308                                                                              ALBION           NY    14411‐9380
MARGARET I EDWARDS                                10620 WHISTLER PKY                                                                               HOLLY            MI    48442‐8589
MARGARET I FINNER                                 C/O MARGARET I FINNER EST            4948 ANDREA AVE                                             ANNANDALE        VA    22003
MARGARET I LABUDA & CATHERINE LABUDA LONG JT      28831 HIDDEN TRAIL                                                                               FARMINGTON HILLS MI    48331‐2984
TEN
MARGARET I LEMAY TOD ALEX LEMAY SUBJECT TO STA    3558 D FOREST BRANCH DR                                                                          PORT ORANGE      FL    32129‐8924
TOD RULES
MARGARET I PAPPAS                                 4448 ATKINS ROAD                                                                                 PORT HURON       MI    48060‐1608
MARGARET I STOUT                                  1832 NE 23RD TER                                                                                 CAPE CORAL       FL    33909‐4758
MARGARET IDA NIDDERY                              55 DUMMURRAY BLVD                    SCARBOROUGH ON                            M1T 2K2 CANADA
MARGARET IMIG                                     C/O FARMERS STATE BANK               PO BOX 800                101 S MAIN ST                     MINIER           IL    61759
MARGARET IRENE SMYTHE GENTRY                      4304 HIGHWAY 76                                                                                  COTTON TOWN      TN    37048‐5048
MARGARET IRVIN                                    3062 EASTLAND BL 11                                                                              CLEARWATER       FL    33761‐4170
MARGARET IRWIN                                    JEFFERSON VILLAGE CONDO VI           95‐D MOLLY PITCHER LANE                                     YORKTOWN         NY    10598‐1528
                                                                                                                                                   HEIGHTS
MARGARET J AHLNESS                                PO BOX 104                                                                                       BOWMAN           ND    58623‐0104
MARGARET J AHLNESS TR AHLNESS CHILDREN'S          PO BOX 104                                                                                       BOWMAN           ND    58623‐0104
RESIDUARY TRUST UA 12/24/80
MARGARET J ATKINSON                               2029 BALMORAL PLACE                                                                              WILMGTON         NC    28405‐6212
MARGARET J BALLENGER                              242 BRATON RD                                                                                    CLARKSON         KY    42726‐8101
MARGARET J BARNES & LAWRENCE E BARNES JR JT TEN   174 PLEASANT ST                                                                                  METHUEN          MA    01844‐7100

MARGARET J BERNHARD TR MARGARET J BERNHARD        402 ROOSEVELT ST                                                                                 BETHALTO         IL    62010‐1532
TRUST UA 01/02/91
MARGARET J BOMMERSBACH CUST MARCUS LEO            PO BOX 40818                                                                                     TUCSON           AZ    85717‐0818
BOMMERSBACH UGMA WI
MARGARET J BRENNAN                                260 SEMINOLE LN                                                                                  GREEN BAY        WI    54313‐4950
MARGARET J CARSON                                 1673 WAKEFIELD AVENUE                                                                            YOUNGSTOWN       OH    44514‐1062
MARGARET J CARTER CUST AUSTIN C ONDRA UTMA MI     31217 IROQUOIS DR                                                                                WARREN           MI    48088‐1831

MARGARET J CHRISTOPHER                            14991 LISTON AVE                     APT 4                                                       SOUTH BELOIT     IL    61080‐2833
MARGARET J CONNORS                                48 TRAPELO ST                                                                                    BRIGHTON         MA    02135‐3131
MARGARET J DEARDORFF                              ATTN MARGARET J WOODS                634 GORDON ST                                               PIQUA            OH    45356‐3634
MARGARET J DESROCHERS                             4463 MOLLWOOD DRIVE                                                                              FLINT            MI    48506‐2006
MARGARET J DOOLEY                                 PO BOX 632                                                                                       SHELTER ISLAND   NY    11965‐0632
                                                                                                                                                   HGT
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MARGARET J DUDA                                   1605 LIMERICK LN                                                                                COLUMBIA           MO    65203‐5466
MARGARET J EIB                                    1908 KALAMA                                                                                     ROYAL OAK          MI    48067‐4075
MARGARET J F DAVIS                                5100 LASER LANE                                                                                 PLANO              TX    75023‐5829
MARGARET J FINK TOD LESLIE F WHATLEY SUBJECT TO   1155 HILLSBORO MILE APT 309                                                                     HILLSBORO BCH      FL    33062
STA TOD RULES
MARGARET J FLANIGAN                               10544 WHITBY CT                                                                                 CLARKSTON          MI    48348‐2197
MARGARET J GILL                                   20511 LENNANE                                                                                   REDFORD            MI    48240‐1060
MARGARET J GILLENTINE                             1330 HIGHWAY 43 EAST                                                                            STRINGTOWN         OK    74569
MARGARET J GLAZAR                                 311 KLINE AVENUE                                                                                NORTH VERSAILLES   PA    15137‐1129

MARGARET J GOCHENOUR                              513 ROCKWELL ST                                                                                 SANDUSKY           OH    44870‐4743
MARGARET J GREEN                                  113 EXMOOR ST                                                                                   WATERFORD          MI    48328‐3413
MARGARET J GREEN                                  527 BEARD                                                                                       DANVILLE           IL    61832‐4903
MARGARET J GREEN & JOHN E GREEN JT TEN            113 EXMOOR ST                                                                                   WATERFORD          MI    48328‐3413
MARGARET J HANEY TOD ROBERT C HANEY II            2992 HOMEWORTH LANE                                                                             BEAVERCREEK        OH    45434
MARGARET J HOOPER & BRIAN J HOOPER JT TEN         50118 HELFER BLVD                                                                               WIXOM              MI    48393
MARGARET J HORNING TR MARGARET J HORNING          325 WILKINSON ST                       APT 309                                                  CHELSEA            MI    48118‐1549
TRUST UA 06/27/97
MARGARET J HOUSTON                                2218 CABARRUS FARMS RD                                                                          MIDLAND            NC    28107‐9220
MARGARET J HOVIZI                                 371 GENESSEE                                                                                    RIVER ORUGE        MI    48218‐1512
MARGARET J JOHNSON                                61 TULIP GROVE CIR 2                                                                            BRISTOL            TN    37620‐5778
MARGARET J JOHNSTON TR UA 01/17/94 JOHNSTON       2330 MAGNOLIA CT                                                                                LEHIGH ACRES       FL    33972‐4310
REVOCABLE LIVING TRUST
MARGARET J KLIMASKI                               319 RANDALL RD                                                                                  BERLIN             MA    01503‐1006
MARGARET J KUNDRACIK                              413 WATER ST                                                                                    WOODVILLE          OH    43469‐1219
MARGARET J LANCZOK                                3701 BALFOUR CT                                                                                 FLINT              MI    48507‐1405
MARGARET J LAROCHELLE                             17 HOWARD HEPBURN DR                                                                            SUNDERLAND         MA    01375‐9496
MARGARET J LEEMAN                                 3400 GULF BLVD                         BUILDING 2 #104                                          S PADRE ISLE       TX    78597
MARGARET J LOTT & MARY J KINNE JT TEN             1030 CHESTER ROAD APT 3                                                                         LANSING            MI    48912‐4836
MARGARET J MACDOUGALL & SANDRA MARIE PARKER       21547 LILAC DR                                                                                  WOODHAVEN          MI    48183‐1532
JT TEN
MARGARET J MAHER                                  25 E MASSACHUSETTS AVE                                                                          BEACH HAVEN        NJ    08008‐3426
MARGARET J MANKO TR MARGARET J MANKO REV LIV      4870 ROSS DR                                                                                    WATERFORD          MI    48328‐1044
TRUST UA 11/22/99
MARGARET J MCAFEE                                 2 PARKER ST                                                                                     DOVER              NH    03820‐3917
MARGARET J MOORE                                  3914 COUNTY FARM                                                                                ST JOHNS           MI    48879‐9296
MARGARET J NEENAN & THOMAS A NEENAN JT TEN        402 MOUNTAINVIEW DR                                                                             NORTHVILLE         MI    48167‐1248

MARGARET J NELSON                                 295 SW 4TH AV                                                                                   POMPANO BEACH FL         33060‐6933
MARGARET J NOBLE                                  1158 SOUTH RD                                                                                   WAKEFIELD         RI     02879‐7632
MARGARET J OLSEY                                  3422 HOLLY AVE                                                                                  FLINT             MI     48506‐4714
MARGARET J PATTON                                 1004 LADNER AVE                                                                                 GIBBSTOWN         NJ     08027‐1626
MARGARET J PESICK                                 6430 S QUEEN WAY                                                                                LITTLETON         CO     80127‐5834
MARGARET J PIPES                                  1442 BROOK POINTE DRIVE                                                                         INDIANAPOLIS      IN     46234‐1856
MARGARET J PORTER                                 15721 KNAPP SHR                                                                                 KENT              NY     14477‐9731
MARGARET J POWELL                                 30 NICKLAUS WALK                                                                                NEWNAN            GA     30265
MARGARET J ROGERS                                 216 SARATOGA WAY                                                                                ANDERSON          IN     46013‐4774
MARGARET J SCHOMMER                               1148 TRENTON CIR N                                                                              MINNEAPOLIS       MN     55441
MARGARET J SCHUM                                  4710 BEECH DR                                                                                   LOUISVILLE        KY     40216‐3324
MARGARET J SERCER & DEBORAH A MARTINEK JT TEN     607 E 29TH AVE                                                                                  NORTH KANSAS CITY MO     64116‐2908

MARGARET J SMITH                                  6191 W ADAMS                                                                                    BELLEVILLE         MI    48111‐4203
MARGARET J SMITH                                  5953 MISTY HILL DRIVE                                                                           CLARKSTON          MI    48346‐3032
MARGARET J STYBLO TOD TONCRED M STYBLO SUBJECT    12401 PALMTAG DR                                                                                SARATOGA           CA    95070‐3432
TO STA TOD RULES
MARGARET J THOMAS & GEORGE E THOMAS JT TEN        231 PARADISE BLVD                                                                               MADISON            OH    44057‐2731

MARGARET J THOMPSON & DIANE L THOMPSON JT TEN 6243 DENTON                                                                                         BILLEVILLE         MI    48111‐1012
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MARGARET J THOMPSON & JAMES F THOMPSON JT TEN 6243 DENTON                                                                                                   BILLEVILLE       MI    48111‐1012

MARGARET J THOMPSON & LINDA M BANYASE JT TEN        6243 DENTON                                                                                             BILLEVILLE       MI    48111‐1012

MARGARET J THOMPSON & NANCY A WURM JT TEN           6243 DENTON                                                                                             BILLEVILLE       MI    48111‐1012

MARGARET J TROWER                                   58 EDGEMONT LANE                                                                                        WILLINGBORO      NJ    08046‐2229
MARGARET J TRUBLOWSKI                               3308 SPRING MEADOW DR                                                                                   ROCHESTER        MI    48306‐2060
MARGARET J TZITZ & CAROLYN TZITZ & ROBERT J TZITZ   941 NORTH JAY ST                                                                                        GRIFFITH         IN    46319‐2451
JT TEN
MARGARET J UEHLINGER & CARL S UEHLINGER JT TEN      754 KENNEDY AVE                                                                                         MERTZTOWN        PA    19539‐8814

MARGARET J VAN NESTE & CHARLES Q D VAN NESTE JT     PO BOX 1142                                                                                             LAKE WORTH       FL    33460
TEN
MARGARET J VICK ZIMMERMAN                           7813 WEST CHESTER DR                                                                                    MIDDLETON        WI    53562‐3671
MARGARET J WALCZAK                                  106 GRAVELINE AVE                                                                                       MERIDEN          CT    06451‐2814
MARGARET J WALTON                                   325 BERKLEY RD                                                                                          INDIANAPOLIS     IN    46208
MARGARET J WHITE                                    APT 105                               6020 SHORE BLVD                                                   GULFPORT         FL    33707‐5830
MARGARET J WHITEMAN                                 594 FARHILLS DR                                                                                         SPRING BRANCH    TX    78070‐6714
MARGARET J WILMOT TR MARGARET J WILMOT TRUST        74 WILLOW WAY                                                                                           WATERFORD        MI    48328‐2946
UA 10/30/03
MARGARET J YOUNG                                    1012 MCAREE RD                                                                                          WAWKEGAN         IL    60085‐2554
MARGARET JANE COOK                                  11545 SHERRINGTON DRIVE                                                                                 ST LOUIS         MO    63138‐1154
MARGARET JANE FEHER                                 BOX 274                                                                                                 BENHAM           KY    40807‐0274
MARGARET JANE FLETCHER                              FLOWERFIELD                           PITYOULISH                AVIEMORE     INVERNESS‐SHIRE PH22 1RD
                                                                                                                                 GREAT BRITAIN
MARGARET JANE GRAY                                  625 W POPE RD                                                                                           ST AUGUSTINE     FL    32080‐9134
MARGARET JANE MAHONEY                               324 INGEBORG RD                                                                                         WYNNEWOOD        PA    19096‐3421
MARGARET JANE MILLS BURK                            4640 LEE ST                                                                                             ZACHARY          LA    70791‐3538
MARGARET JANE PETERSON                              120 FICKETT ST                                                                                          SOUTH PORTLAND   ME    04106‐6874

MARGARET JANE PILCHER                           204 NORTH DAVIS ST                                                                                          ANAMOSA          IA    52205‐1414
MARGARET JARDIN                                 PO BOX 3867                                                                                                 RAMONA           CA    92065‐0966
MARGARET JEAN LOWE                              C/O VINCENT BURKE LOWE                    408/44 ASHBURNER STREET   MANLY NSW    2095 AUSTRALIA
MARGARET JEAN MACGREGOR & JAMES MACGREGOR 3215 PATRICIA PL                                                                                                  SAGINAW          MI    48602‐3491
JT TEN
MARGARET JEAN MC CORMICK & MARY J GETTEL JT TEN 515 CAMELOT LANE                          PO BOX 151                                                        PIGEON           MI    48755‐0151

MARGARET JEAN SCHNEIDER                             1430 ROSS                                                                                               PLYMOUTH         MI    48170‐2121
MARGARET JEAN SMITH                                 672 BIRCH STREET                      CAMPBELL RIVER BC                      V9W 2T1 CANADA
MARGARET JEAN SUTHERLAND                            410 SPENCER ROAD                                                                                        ITHACA           NY    14850‐5331
MARGARET JENESCH                                    19 LOUDON RD                                                                                            PITTSFIELD       NH    03263‐3604
MARGARET JOAN ARMSTRONG                             ATTN MARGARET ARMSTRONG TURNER        2326 TUSTIN AVE                                                   NEWPORT BEACH    CA    92660‐3438
MARGARET JOAN CONKLIN                               2815 BAYVIEW HEIGHTS DR                                                                                 FERGUS FALLS     MN    56537‐3961
MARGARET JOANN COULTER                              104 PINE FOREST LN                                                                                      CHATTANOOGA      TN    37415‐1306
MARGARET JOY HEYWOOD                                15 CHAMBERCOMBE PARK                  ILFRACOMBE DEVON                       GREAT BRITAIN
MARGARET JOY RODRIGUEZ                              1918 RADFORD ST                                                                                         OCEANSIDE        CA    92056‐6012
MARGARET JOYCE LOVE                                 1901 RICHLAND DR                                                                                        ABILENE          TX    79603‐2440
MARGARET JULIE THOMPSON                             12142 BENSON RD                                                                                         MT MORRIS        MI    48458‐1463
MARGARET JUNE WRENN                                 23669 SANDPIPPER DRIVE                                                                                  MOUNT CLEMENS    MI    48036‐3363
MARGARET JUNE WRENN & ROBERT H WREN JT TEN          23669 SANDPIPER DRIVE                                                                                   CLINTON TWP      MI    48036‐3363

MARGARET K AIELLO & JULIUS AIELLO JT TEN         2959 CORNELL                                                                                               DEARBORN         MI    48124‐3216
MARGARET K ANGEL                                 1281 EDGEORGE DR                                                                                           WATERFORD        MI    48327‐2012
MARGARET K BAKER                                 9428 OAKMOUNT DR SW                      CALGARY AB                             T2V 4W1 CANADA
MARGARET K BOTEK CUST CHRISTOPHER BOTEK UGMA 718 IRON STREET                                                                                                LEHIGHTON        PA    18235‐1831
PA
MARGARET K CINDRIC & GEORGE T CINDRIC & ROBERT A 6301 PRINCE CT                                                                                             FLUSHING         MI    48433‐3521
CINDRIC JT TEN
                                            09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                              Address2               Address3        Address4          City             State Zip

MARGARET K CONNERS                               267 OAK ST                                                                                     INDIANA          PA    15701‐2039
MARGARET K DELASHO                               92 LEXINGTON DR                                                                                CROTON ON        NY    10520‐2825
                                                                                                                                                HUDSON
MARGARET K DLABAY                                620 CIMARRON TRAIL                                                                             SOUTH LAKE       TX    76092‐5606
MARGARET K DLABAY & DENNIS E DLABAY JT TEN       620 CIMARRON TRAIL                                                                             SOUTH LAKE       TX    76092‐5606
MARGARET K DOOLEY                                1920 BARLEY RD                                                                                 YORK             PA    17404‐2200
MARGARET K FISCHER TR MARGARET K FISCHER TRUST   8088 MARYWOOD DR                                                                               NEWBURGH         IN    47630‐3035
UA 03/20/97
MARGARET K FOSTER                                159 MULLER RD                                                                                  ELMER            NJ    08318‐3942
MARGARET K GRAEBNER                              4300 W RIVER PKWY #431                                                                         MINNEAPOLIS      MN    55406‐3681
MARGARET K HARDING                               45 KEITH PLACE                        PO BOX 115                                               BASYE            VA    22810‐0115
MARGARET K HUND                                  239 DEMPSEY WAY                                                                                ORLANDO          FL    32835‐5350
MARGARET K JABLONSKI                             218 CHERRY AVE                                                                                 HOUSTON          PA    15342‐1556
MARGARET K KALE                                  2449 TRENTWOOD DR S E                                                                          WARREN           OH    44484‐3772
MARGARET K LE BEAU                               1007 GALLERY RD                                                                                WILMINGTON       DE    19805‐1030
MARGARET K LEWIS                                 335 FOUNTAIN ST                       APT 2B                                                   NEW HAVEN        CT    06515‐2608
MARGARET K MARSHALL                              126 GORDON ST                                                                                  ROSELLE          NJ    07203‐1021
MARGARET K ROONEY                                24 ST CLAIR DRIVE                                                                              DELMAR           NY    12054‐2706
MARGARET K ROWLAND & JOHN H ROWLAND JT TEN       3254 ROYAL BERKSHIRE LN                                                                        OAKLAND          MI    48363‐2354

MARGARET K RUFFINI                               46328 COMMUNITY CENTER                                                                         CHESTERFIELD TWP MI    48047‐5202

MARGARET K SHRIBER & MARTHA A HEUMAN JT TEN      2308 SAWMILL COURT #104                                                                        BURLINGTON       KY    41005

MARGARET K SPANGLER                              107 NO BROAD STREET                                                                            WAYNESBORO       PA    17268‐1303
MARGARET K STAFFORD                              502 BEECHWOOD DR                                                                               KENNETT SQUARE   PA    19348‐1804
MARGARET K STOWE                                 4015 KARA CT                                                                                   HERMITAGE        PA    16148‐7715
MARGARET K YANKE                                 1668 WOOD TRAIL                                                                                OXFORD           MI    48371‐6067
MARGARET KAFKA                                   17 PHYLLIS DR                                                                                  MONTVALE         NJ    07645‐1411
MARGARET KAY BRADLEY                             3770 DAMAL DR                                                                                  ALLEGAN          MI    49010‐8920
MARGARET KAY BRISTOL                             3814 W 47TH AV                                                                                 KENNEWICK        WA    99337‐2787
MARGARET KEKEL & DAVID A PAGE JT TEN             1521 RIO GRANDE CT                                                                             FLINT            MI    48532‐2069
MARGARET KELM                                    ATTN MARGARET AULABAUGH               11 NICOLE LN                                             WINGDALE         NY    12594‐1341
MARGARET KENNELLY                                716 W WAVELAND                        APT 1S                                                   CHICAGO          IL    60613‐4167
MARGARET KETTLE                                  C/O MARGARET F BYRNE                  1171 S EL CHAPARRAL                                      COLUMBIA         MO    65201‐9403
MARGARET KIDD                                    1929 ROBERT HALL BLVD                 APT 1010                                                 CHESAPEAKE       VA    23324‐4328
MARGARET KOCKELMANN                              241 APPLETREE LN                                                                               MOUNTAINSIDE     NJ    07092‐1701
MARGARET KOSTINKO                                19611 CRYSTAL ROCK DR                 APT 13                                                   GERMANTOWN       MD    20874‐5822
MARGARET KREGEAR                                 C/O EVELYN KREGEAR                    4900 BUENA VISTA AVE                                     FAIR OAKS        CA    95628
MARGARET KUHLMANN TR MARGARET KUHLMANN           2539 ELLWOOD                                                                                   BERKLEY          MI    48072‐3210
LIVING TRUST UA 07/06/95
MARGARET KUMLIEN                                 4050 W BABCOCK ST                     APT 56                                                   BOZEMAN          MT    59718‐6316
MARGARET KURILECZ TR MARGARET KURILECZ LIVING    196 DOUGLAS AVE                                                                                YONKERS          NY    10703‐1917
TRUST UA 09/07/98
MARGARET L ALBRIGHT                              129 N 11TH ST                                                                                  ALLENTOWN        PA    18102‐3840
MARGARET L ATKINSON                              4843 S WALCOTT                                                                                 INDIANAPOLIS     IN    46227‐4517
MARGARET L AXTMAN                                2813 MILES AVE                                                                                 BALTIMORE        MD    21211‐2924
MARGARET L BARTLETT                              3808 CEDAR COVE LANE                                                                           JACKSONVILLE     FL    32257‐7006
MARGARET L BASS                                  451 TAPESTRY LN                                                                                DAYTON           OH    45426‐3737
MARGARET L BEHM                                  4239 BLUEBIRD STREET                                                                           COMMERCE         MI    48382‐4009
                                                                                                                                                TOWNSHIP
MARGARET L BELIKOW                              19403 REDBEAM AVENUE                                                                            TORRANCE         CA    90503‐1129
MARGARET L BERNSTORFF & FRANK BERNSTORFF JT TEN C/O JEFFREY MANN                       1220 JUDSON                                              EVANSTON         IL    60202

MARGARET L BETHKE & VIRGINIA BURMEISTER JT TEN   3507 FOXGLOVE                                                                                  GLENDALE         CA    91206‐4817

MARGARET L BING                                  922 ALDON ST SW                                                                                WYOMING          MI    49509‐1922
MARGARET L BODO                                  80 E END AVE APT 7E                                                                            NEW YORK         NY    10028‐8015
MARGARET L BRANSCUM                              407 BEECHGROVE DR                                                                              ENGLEWOOD        OH    45322‐1108
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MARGARET L BREHM                                2729 E CR 875 N                                                                                    SPRINGPORT        IN    47386‐9721
MARGARET L BRINDLE TR MARGARET L BRINDLE TRUST 2422 SHOREWOOD DR                                                                                   LEBANON           IN    46052‐1198
UA 10/03/05
MARGARET L BURKE CASSIDY & COLLEEN BURKE JT TEN 4513 MAIN ST                             APT 2                                                     MUNHALL           PA    15120‐3331

MARGARET L CERNY                                 3023 S 84TH ST                          # K19                                                     MILWAUKEE         WI    53227‐3703
MARGARET L CHEKE                                 18274 WARWICK                                                                                     DETROIT           MI    48219‐2844
MARGARET L COOKE                                 804 S CALUMET                                                                                     KOKOMO            IN    46901‐5630
MARGARET L CREWS                                 308 CHESTNUT ST                                                                                   LAURENS           SC    29360‐2862
MARGARET L DAMICO & ROBERT J WARNER & SUSAN G    42692 SCHIENLE                                                                                    CLINTON TWP       MI    48038‐5016
HENSON JT TEN
MARGARET L DE NOYER & THOMAS A DE NOYER JT TEN   27048 WILSON DR                                                                                   DEARBORN HEIGHTS MI     48127‐3602

MARGARET L DISINGER                              2786 W AVON AVE                                                                                   MARION            IN    46953‐9416
MARGARET L DOOLING                               C/O CATHERINE L DEVINE                  25 NORMAN ROAD                                            MELROSE           MA    02176‐3317
MARGARET L EAGLOSKI                              2409 WINTER ST                                                                                    ST ALBANS         WV    25177‐3311
MARGARET L ENIX                                  1063 NEIL CIR N                                                                                   MANSFIELD         OH    44903‐8827
MARGARET L ERDMANN                               PO BOX 58                                                                                         LOUP CITY         NE    68853‐0058
MARGARET L EVANSON & ALBERT EVANSON JT TEN       107 BOWERWOOD                                                                                     CHICKASHA         OK    73018‐7703

MARGARET L FENIMORE                              314 S ELM ST                            PO BOX 328                                                BUNKER HILL       IN    46914‐0328
MARGARET L FENLEY                                105 CARTWRIGHT DR                                                                                 SPRINGFIELD       IL    62704‐1201
MARGARET L FILLER                                927 DALLAS DRIVE                                                                                  HURON             OH    44839‐2680
MARGARET L FINK                                  2563 6TH AVE W                                                                                    SEATTLE           WA    98119‐2259
MARGARET L FISHER & DONNA KAY ANDREW JT TEN      113 WEST CHIPOLA AVENUE APT 715                                                                   DELAND            FL    32720

MARGARET L GABRIAULT & SHARON M SZETELA &     1577 FOOTHILL DR                           STE 11                                                    BOULDER CITY      NV    89005‐1845
STEPHEN M GABRIAULT JT TEN
MARGARET L GASSOWAY                           22268 HESSEL                                                                                         DETROIT           MI    48219‐1253
MARGARET L GIRIMONTE                          6 INDIAN CREEK PASS                                                                                  LEVITTOWN         PA    19057‐2312
MARGARET L GLAZIER                            2958 N WIND BCH #174                                                                                 BAY CITY          MI    48706‐1930
MARGARET L GLYNN TOD DAVID R GLYNN SUBJECT TO 19 WEST ST                                                                                           BELCHERTOWN       MA    01007
STA TOD RULES
MARGARET L GOLDINGER                          107 NEW GRANVILLE RD                                                                                 WILMINGTON        DE    19808‐1107
MARGARET L HACZELA                            MELSE                                      ITENHARDSTRASSE 2    BREMGARTEN        5620 SWITZERLAND
MARGARET L HERNANDEZ                          5389 CONESTOGA DR                                                                                    FLUSHING          MI    48433‐1249
MARGARET L HIGGINS                            8474 HILLTOP DR                                                                                      POLAND            OH    44514‐2977
MARGARET L HILL                               1511 CRESCENT DR                                                                                     SWEETWATER        TX    79556‐1803
MARGARET L HOYT                               ATTN MARGARET HOYT ANDERSON                2 LONGFELLOW RD                                           WESTBOROUGH       MA    01581‐3621
MARGARET L HYODO                              8 CHELVIN DRIVE                            GEORGETOWN ON                          L7G 4P7 CANADA
MARGARET L JACOBS                             207 MEADOWBROOK DR                                                                                   O FALLON          IL    62269
MARGARET L KERR                               ATTN MARGARET TRIGGER                      6059 KING AUTHUR                                          SWARTZ CREEK      MI    48473‐8808
MARGARET L KEYES                              13220 S REED RD                                                                                      BYRON             MI    48418‐9746
MARGARET L KLEPFER                            2702 HWY 9 E                                                                                         LITTLE RIVER      SC    29566
MARGARET L KURTZ TR UA 10/16/91 MARGARET L    103 BROOKSBY VILLAGE DR                    APT 216                                                   PEABODY           MA    01960‐1465
KURTZ TRUST
MARGARET L LAIRD                              3150 HUNTING VALLEY                                                                                  ANN ARBOR         MI    48104‐2845
MARGARET L LANCASTER                          211 FULTON ST                                                                                        FLORENCE          AL    35630
MARGARET L LANDON TR MAX O LANDON & MARGARET PO BOX 7757                                                                                           CITRUS HTS        CA    95621‐7757
L LANDON TRUST UA 2/22/95
MARGARET L LARKIN                             683 KENWOOD STREET NE                                                                                PALM BAY         FL     32907‐1322
MARGARET L LEE                                4621 BROMWICH CT                                                                                     ROCKLIN          CA     95677‐4476
MARGARET L LONG                               4162 DORCHESTER ROAD                                                                                 TOLEDO           OH     43607‐2257
MARGARET L MALSBURY                           7249 W GREENLEAF ST                                                                                  NILES            IL     60714‐2115
MARGARET L MARTIN & SUZANNE G BINGHAM &       39239 POLO CLUB DRIVE                      APT 103                                                   FARMINGTON HILLS MI     48335‐5629
KENNETH E MARTIN JT TEN
MARGARET L MATTA TR EDWARD E DODD 1996 TRUST PO BOX 3144                                                                                           INCLINE VILLAGE   NV    89450‐3144
UA 09/10/96
MARGARET L MAUGER                             1435 WAZEE                                 #406                                                      DENVER            CO    80202‐1494
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MARGARET L MAYHEW & DALE A BETTS & SHIRLEY A  610 VICTORIA DRIVE                       APT B102                                                 CAPE CORAL         FL    33904‐9569
BETTS JT TEN
MARGARET L MAYHEW & RITA M MAYHEW & DALE A    610 VICTORIA DR                          APT B102                                                 CAPE CORAL         FL    33904‐9569
BETTS JT TEN
MARGARET L MERGAERT                           6940 PERRY ROAD                                                                                   YALE               MI    48097‐3910
MARGARET L MOCK CUST JENEENE LOUISE MOCK UGMA 4 LININGER ROAD                                                                                   GREENVILLE         PA    16125‐9255
PA
MARGARET L MOCK CUST SCOTT MCKAY MOCK UGMA 4 LININGER ROAD                                                                                      GREENVILLE         PA    16125‐9255
PA
MARGARET L MORROW                             5115 N STILLWELL RD                                                                               PIQUA              OH    45356‐9349
MARGARET L PEARCE                             59 ROBERT ADAMS DR                       COURTICE ON                            L1E 1T9 CANADA
MARGARET L PETERSON                           2015 E ROSEHILL DR                                                                                ARLINGTON HTS      IL    60004‐3555
MARGARET L POLINSKI & JOAN E PONDILLO JT TEN  128 MARCIA DR                                                                                     YOUNGSTOWN         OH    44515‐3939

MARGARET L POTTS TOD NANCY M POTTS               135 LINDEN ST                                                                                  NEEDHAM          MA      02492‐2119
MARGARET L REED                                  15558 BUTTRAM STREET                                                                           HACIENDA HEIGHTS CA      91745‐6206

MARGARET L REVEAL                                612 E 4TH ST                                                                                   WEST LAFAYETTE     OH    43845‐1408
MARGARET L SANDERS                               437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577
MARGARET L SANDERS                               420 BAIN ROAD                                                                                  BIG SANDY          TN    38221
MARGARET L SANDERS & DEBBIE SANDERS JT TEN       437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577
MARGARET L SANDERS & JENNELLE SANDERS JT TEN     437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577

MARGARET L SANDERS & JOETTE KIRBY JT TEN         437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577
MARGARET L SANDERS & LAURA SANDERS JT TEN        437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577
MARGARET L SANDERS & PAT SANDERS JT TEN          437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577
MARGARET L SANDERS & SHARON SANDERS JT TEN       437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577

MARGARET L SANDERS & VINCENT CALIFANO JT TEN     437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577

MARGARET L SANDERS & WILLIAM KIRBY JR JT TEN     437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577

MARGARET L SANDERS & WILLIAM KIRBY JT TEN        437 SEASIDE TERRACE                                                                            SEBASTIAN          FL    32958‐5577
MARGARET L SAPP                                  2908 YALE CT SE                                                                                ATLANTA            GA    30339‐4247
MARGARET L SCHWORER                              130 W LAKESIDE AVE                                                                             LAKESIDE PARK      KY    41017‐2110
MARGARET L SCOVILLE                              21622 N HANOVER HILLS RD                                                                       BARRINGTON         IL    60010‐2447
MARGARET L SEARS                                 186 VILLAGE PARK DR UNIT 1                                                                     W JEFFERSON        NC    28694
MARGARET L SIGERSON                              1840 HOPE STREET                                                                               SAN LUIS O BISPO   CA    93405‐2034
MARGARET L SKINNER                               6824 STILLMEADOWS CIR N                                                                        N RICHLND HLS      TX    76180‐3314
MARGARET L SMELSER TOD ROSILYN K THOMPSON        3116 SHANNON DR                                                                                PUNTA GORDA        FL    33950
SUBJECT TO STA TOD RULES
MARGARET L SMITH                                 6113 N MADISON                                                                                 KANSAS CITY        MO    64118‐3075
MARGARET L SMITH                                 1900 TRILLIUM WAY                                                                              HUDSON             WI    54016‐8073
MARGARET L SPEICH                                8401 S 33RD ST                        # 214                                                    LINCOLN            NE    68516‐5064
MARGARET L STERN                                 10133 VILLAGE KNOLLS CT                                                                        OAKTON             VA    22124‐2729
MARGARET L STONE                                 2012 BROCK CIRCLE                                                                              FLORENCE           SC    29501‐3220
MARGARET L STOYER                                1502 W GLENDALE AVE                   APT 281                                                  PHOENIX            AZ    85021‐8558
MARGARET L TEVES                                 1222 SHARPS LOT RD                                                                             SWANSEA            MA    02777‐5012
MARGARET L THOMAS & LOIS A GORDON JT TEN         326 S MORRIS ST                                                                                RANDOLPH           NJ    07869‐1512
MARGARET L TRIBULAK                              274 HUDSON RD                                                                                  POULAN             GA    31781‐3523
MARGARET L VALESKY                               74 PENN HIGH PARK RD                                                                           JEANNETTE          PA    15644‐2905
MARGARET L VANNEMAN                              46 BEACH AVE                                                                                   PENNSVILLE         NJ    08070‐1622
MARGARET L VENUS                                 6565 LITTLE TURKEY RUN                                                                         SHELBY TWP         MI    48317‐3744
MARGARET L WATERS                                PO BOX 138                                                                                     CHESWOLD           DE    19936‐0138
MARGARET L WATERS & HUGH GRAHAM WATERS JT        PO BOX 138                                                                                     CHESWOLD           DE    19936‐0138
TEN
MARGARET L WELLS                                 1920 FRANCIS                                                                                   FLINT              MI    48505‐5012
MARGARET L WHITE TOD ERIC E WHITE SUBJECT TO STA 32 SUNRISE AVE                                                                                 BLOOMINGDALE       NJ    07403
TOD RULES
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MARGARET L WILLIAMS                              1590 GREENFIELD DR                                                                                LEWISVILLE      NC    27023
MARGARET L WINROW                                PO BOX 7981                                                                                       TRENTON         NJ    08628‐0981
MARGARET L WIRTS & JAMES F O'NEAL JT TEN         101 BROADWAY ST                                                                                   LAMAR           MO    64759‐1040
MARGARET LAHAN JACOB                             221 RICHFIELD AVE                                                                                 SYRACUSE        NY    13205‐3119
MARGARET LANGAN PRICE & WILLIAM H PRICE JT TEN   105 SUMMIT PLACE                                                                                  FROSTBURG       MD    21532‐1441

MARGARET LEARY                                 781 KNABB RD                                                                                        ELMA            NY    14059
MARGARET LEE JANES                             1288 COUNTY ROUTE 22                                                                                NORTH BANGOR    NY    12966‐2812
MARGARET LEE SMITH                             PO BOX 67                                 414 MAIN ST                                               DORCHESTER      NJ    08316‐0067
MARGARET LEITCH DAVIS                          521 MAULDIN DR                                                                                      NORCROSS        GA    30071‐2189
MARGARET LENCI                                 HERITAGE HILLS WESTCHESTER                761‐C                                                     SOMERS          NY    10589
MARGARET LEONARD                               311 SASSAFRAS DR                                                                                    EASLEY          SC    29642
MARGARET LESESNE CUST SAMUEL B LESESNE UTMA TX 2801 STANFORD AVE                                                                                   DALLAS          TX    75225‐7917

MARGARET LISCOMB                                 1105 S PERSHING AVE                                                                               INDIANAPOLIS    IN    46221‐1018
MARGARET LOPOSSA                                 909 WEST LAKEVIEW DRIVE                                                                           NINEVEH         IN    46164
MARGARET LORE                                    23 LELAND RD                                                                                      NORTH READING   MA    01864‐1605
MARGARET LORRAINE JOSE                           2367 LAVELLE RD                                                                                   FLINT           MI    48504‐2309
MARGARET LOUD                                    1136 RIVER BAY RD                                                                                 ANNAPOLIS       MD    21409‐4832
MARGARET LOUISE KUKETS                           17053 BURCHFIELD RD                                                                               ALLISON PARK    PA    15101‐4055
MARGARET LOUISE NELSON                           406 EDGEWATER DR                                                                                  KOKOMO          IN    46902‐3526
MARGARET LOUISE NOLDE                            C/O MARGARET SHAKE                      5223 NORTH WINTHROP APT 1N                                CHICAGO         IL    60640‐2305
MARGARET LOUISE SPENCER                          C/O MARGARET L GODDARD                  PO BOX 3214                                               BEAUMONT        CA    92223‐1204
MARGARET LOUISE STIEVERS & DOUGLAS STIEVERS JT   C/O MICHAEL J FUNKE                     2696 MAPLEWOOD                                            ANN ARBOR       MI    48104‐6634
TEN
MARGARET LOVE                                    23139 TIMBER LAKE RD                                                                              TECUMSEH        OK    74873‐6220
MARGARET LUCKHARDT                               4500 ORCHARD RD                                                                                   EVANSVILLE      IN    47720‐7632
MARGARET LYN PATTERSON                           800 NW ZAUN AVENUE                                                                                BLUE SPRINGS    MO    64015‐3740
MARGARET LYNE BOURJAILY                          218 S FAIRFAX ST                                                                                  ALEXANDRIA      VA    22314‐3304
MARGARET LYNN CREIGH BEALE                       11684 ANDRIENNE                                                                                   EL PASO         TX    79936‐6915
MARGARET M ACIUKEWICZ                            97 ITALY ST                                                                                       MOCANAQUA       PA    18655‐1414
MARGARET M AKERLEY                               20441 SUMNER                                                                                      REDFORD         MI    48240‐1032
MARGARET M ANDERSON & SIDNEY ANDERSON JT TEN     232 SE SANTA BARBARA PL                                                                           CAPE CORAL      FL    33990‐1073

MARGARET M ASCHERL                               13483 SAGE MEADOW LANE                                                                            VALLEY CENTER   CA    92082‐5873
MARGARET M BAREN & LAURIE B DAGOSTINO & ELLEN    27 CURRIER PLACE                                                                                  CHESHIRE        CT    06410‐1460
B STUCKAL JT TEN
MARGARET M BARNETT                               720 SARA CT                                                                                       LEWISTON        NY    14092‐1153
MARGARET M BEDELL                                17509 GARFIELD APT E‐3                                                                            REDFORD         MI    48240
MARGARET M BOCCIO                                95 DIVISION ST APT 309                                                                            AMSTERDAM       NY    12010‐4004
MARGARET M BROGAN CUST HELEN H BROGAN UGMA       PO BOX 225                                                                                        CHESTERTOWN     MD    21620‐0225
MD
MARGARET M BUMP                                  124 TURNER PARK                                                                                   MONTOUR FALLS   NY    14865
MARGARET M BURTON & JERRY L BURTON JT TEN        130 AUDREY LANE                                                                                   INWOOD          WV    25428‐3642
MARGARET M BURTT TR UA 01/16/79 THE MARGARET     30 ESSEX CIRCLE                                                                                   HUDSON          OH    44236‐1649
M BURTT TRUST
MARGARET M BURWELL & DAVID C MILLER & NANCY J    10370 OLD 3C HWY                                                                                  CLARKSVILLE     OH    45113‐9506
MILLER JT TEN
MARGARET M BURWELL & THOMAS W EVANS &            6148 KINGS CEPTOR                                                                                 GRAND BLANC     MI    48439
BARBARA A EVANS JT TEN
MARGARET M CAMPBELL                              95 HEATH TERRACE                                                                                  TN TONAWANDA    NY    14223‐2413
MARGARET M CHRIST TR MARGARET M CHRIST TRUST     2520 WITTERS                                                                                      SAGINAW         MI    48602‐3863
UA 10/22/98
MARGARET M CLAYTON                               89 ENRIGHT AVE                                                                                    FREEHOLD        NJ    07728
MARGARET M CONNOLLY                              1440 MIDLAND AVE                        APT 5A                                                    BRONXVILLE      NY    10708‐6011
MARGARET M CONNOLLY & MAUREEN REYER JT TEN       132 N DRIVE                                                                                       MASSAPEAQUA     NY    11758‐1439

MARGARET M CONWAY                                29700 WOLF RD                                                                                     BAY VILLAGE     OH    44140‐1864
MARGARET M COONEY                                13163 HITCHING POST RD                                                                            DEWITT          MI    48820‐9635
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MARGARET M COX ADM EST JACKIE D HAGUE           217 DUCK CREEK LN                                                                                  NOBLESVILLE        IN    46060‐9635
MARGARET M CROSS                                8100 CONNECTICUT AVE                      APT 1418                                                 CHEVY CHASE        MD    20815‐2820
MARGARET M CROWE                                716 SHERRIE RD                                                                                     PHILADELPHIA       PA    19115‐3520
MARGARET M CROWLEY                              1118 WESTERN AVE                                                                                   BEAVER             PA    15009‐1354
MARGARET M DALEY                                47‐32 198TH ST                                                                                     FLUSHING           NY    11358‐3939
MARGARET M DAUM                                 1327 KEARNEY ST                                                                                    NILES              OH    44446‐3431
MARGARET M DAVALOS                              655 CAMINO CAMPANA                                                                                 SANTA BARBARA      CA    93111‐1424
MARGARET M DESMET & MARSHALL R DESMET JT TEN    36720 MAPLE LEAF DR                                                                                NEW BALTIMORE      MI    48047‐5582

MARGARET M DEVINE TOD MICHAEL W DEVINE SUBJECT 314 WEST AVE                                                                                        HORSEHEADS         NY    14845
TO STA TOD RULES
MARGARET M DIETRICH CUST JOSEPH E ELLIOT UGMA 8448 HUBBARD                                                                                         WESTLAND           MI    48185‐1412
MI
MARGARET M DIETRICH CUST MATTHEW A ELLIOT      8448 HUBBARD                                                                                        WESTLAND           MI    48185‐1412
UGMA MI
MARGARET M DIGATI                              1317 KENMORE AVE                                                                                    KENMORE            NY    14217
MARGARET M DONNELLY & MOIRA D GAULT JT TEN     50 COLBERT RD EAST                                                                                  WEST NEWTON        MA    02465‐2907

MARGARET M EVANS                                36300 KINGS HWY                                                                                    BEAVER ISLAND      MI    49782‐9601
MARGARET M FARRELL                              RIDDLE VILLAGE                            APT 504              HAMPTON HOUSE                       MEDIA              PA    19063‐6010
MARGARET M FEEHAN                               1018 PECAN DR                                                                                      LANSDALE           PA    19446‐1720
MARGARET M FISHER TR MARGARET M FISHER LVG      1400 WAVERLY ROAD                         A‐126                                                    GLADWYNE           PA    19035
TRUST UA 12/22/98
MARGARET M FLETCHER                             10 TARTAN RIDGE RD                                                                                 BURR RIDGE         IL    60527‐8904
MARGARET M FOUNTAIN CUST MARK T FOUNTAIN        116 FARRAND AVE                                                                                    LA PORTE           IN    46350‐5601
UGMA IN
MARGARET M FRANKE                               3644 MAY RD                                                                                        EL SOBRANTE        CA    94803‐2020
MARGARET M FREATHY                              6 SLEEPY HOLLOW CT                                                                                 LINCOLN PARK       NJ    07035‐1517
MARGARET M GALLAGHER                            27 BLAIR COURT                                                                                     WAYSIDE            NJ    07712‐3239
MARGARET M GEHRINGER                            1808 N 103RD AVENUE                                                                                OMAHA              NE    68114‐1150
MARGARET M GILFUS                               6405 BEECH RD                                                                                      AUBURN             NY    13021‐9352
MARGARET M GILLUM & LEE M SELF JT TEN           5293 CRYSTAL CREEK DR                                                                              PACE               FL    32571‐9080
MARGARET M GIRAUD CUST JOHN H GIRAUD UGMA TX    3803 DAWN LN                                                                                       RICHMOND           TX    77406‐7601

MARGARET M GOUGH                                17584 SE 105TH TERR                                                                                SUMMERFIELD        FL    34491‐6923
MARGARET M GRODEN                               74 PINE ARDEN DRIVE                                                                                WEST BOYLSTON      MA    01583
MARGARET M HALL                                 214 BEECH DRIVE SOUTH                                                                              RIVER EDGE         NJ    07661‐1131
MARGARET M HALL & WILLIAM J HALL JT TEN         214 BEECH DRIVE SOUTH                                                                              RIVER EDGE         NJ    07661‐1131
MARGARET M HARKE                                3297 CROPLEY AVE                                                                                   SAN JOSE           CA    95132‐3519
MARGARET M HARMAN                               3473 IVY HILL CIR UNIT B                                                                           CORTLAND           OH    44410
MARGARET M HARPER                               1451 S DIAMOND MILL                                                                                NEW LEBANON        OH    45345‐9338
MARGARET M HINZMAN                              15804 GOLFVIEW DR                                                                                  RIVERVIEW          MI    48192‐8088
MARGARET M HOWK                                 1313 E HEATHER                                                                                     GILBERT            AZ    85234‐4863
MARGARET M HURLEY                               12 CRESTHAVEN DRIVE                                                                                BURLINGTON         MA    01803‐2110
MARGARET M HYLAN                                1106 PARK AVE                             APT 8                                                    HOBOKEN            NJ    07030‐4387
MARGARET M IDOL                                 171 OLD MILL RD                           APT B                                                    HIGH POINT         NC    27265
MARGARET M INGHAM CUST RICHARD L INGHAM         5593 WOODWIND DR                                                                                   BLOOMFIELD HILLS   MI    48301‐1065
UGMA MI
MARGARET M JACOBSON                             118 FAIRWAY CIRCLE                                                                                 PITTSBURGH         PA    15241‐2314
MARGARET M KANE                                 1340 NORTHCLIFF TRACE                                                                              ROSWELL            GA    30076‐3274
MARGARET M KASE                                 17328 CENTRALIA                                                                                    REDFORD            MI    48240‐2225
MARGARET M KELLER TR UA 06/06/86 MARGARET M     43158 NAPA DR                                                                                      STERLING HEIGHTS   MI    48314‐1934
KELLER TRUST
MARGARET M KELLY                                105 HART STREET                                                                                    LYNBROOK           NY    11563‐1760
MARGARET M KELLY                                5255 SHIELDS ROAD                                                                                  CANFIELD           OH    44406‐9059
MARGARET M KESSLER                              2300 PARK AVE                                                                                      NORTH RIVERSIDE    IL    60546‐1348
MARGARET M KETTLE TOD JOAN A MAVES SUBJECT TO   340 S FREMONT                                                                                      JANESVILLE         WI    53545‐4235
STA TOD RULES
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MARGARET M KETTLE TOD LAWRENCE T KETTLE         340 S FREMONT                                                                                  JANESVILLE       WI    53545‐4235
SUBJECT TO STA TOD RULES
MARGARET M KETTLE TOD MARGARET A KETTLE         340 S FREMONT                                                                                  JANESVILLE       WI    53545‐4235
SUBJECT TO STA TOD RULES
MARGARET M KETTLE TOD THOMAS L KETTLE SUBJECT   340 S FREMONT                                                                                  JANESVILLE       WI    53545‐4235
TO STA TOD RULES
MARGARET M KETTLE TOD ZACHARY A BRANDENBURG     340 SOUTH FREMONT                                                                              JANESVILLE       WI    53545
SUBJECT TO STA TOD RULES
MARGARET M KIEFER                               15 KNOLLWOOD DR                                                                                WOODBURY         NJ    08096‐6702
MARGARET M KING                                 394 TEAKWOOD TERRACE                                                                           WILLIAMSVILLE    NY    14221‐3904
MARGARET M KING                                 5645 HOLLYHOCK DRIVE                                                                           DAYTON           OH    45449‐2915
MARGARET M KING & DAVID T KING JT TEN           394 TEAKWOOD TERR                                                                              WILLIAMSVILLE    NY    14221‐3904
MARGARET M KLINGLER                             86 E GREENWOOD AVE                                                                             LANSDOWNE        PA    19050‐2034
MARGARET M KRAFT                                1800 BEN FRANKLIN DR                                                                           SARASOTA         FL    34236
MARGARET M LAUGHLIN & GARY E LAUGHLIN TEN ENT   58 BELAIRE ROAD                                                                                DELMONT          PA    15626‐1536

MARGARET M LAW                                  15 VALLEY STREAM CIRCLE                                                                        MORRIS PLAINS    NJ    07950‐2525
MARGARET M LEE                                  2006 COUNTRY PARK DRIVE                                                                        SMYRNA           GA    30080‐8268
MARGARET M LEE                                  908 W CHESTER AVE                                                                              MIDDLESBORO      KY    40965‐1512
MARGARET M LEWIS CUST WARREN L LEWIS JR UGMA    1210 CARDINAL WY                                                                               HUMMELSTOWN      PA    17036‐8548
PA
MARGARET M LOEBL                                2538 LAKESHORE DR                                                                              FENNVILLE        MI    49408‐9622
MARGARET M LOTT                                 3502 TIGER LANE                                                                                CORPUS CHRISTI   TX    78415‐3018
MARGARET M LOWE TR LOWE FAMILY TRUST UA         1836 RESOR ROAD                                                                                FAIRFIELD        OH    45014‐3756
04/29/04
MARGARET M LUBIN                                C/O BIEN                              36 CARRINGTON DR                                         E NORTHPORT      NY    11731
MARGARET M LUCKY                                11014 POTTER RD                                                                                FLUSHING         MI    48433‐9737
MARGARET M MC GANN                              19637 LYNDON                                                                                   DETROIT          MI    48223‐2143
MARGARET M MC INTYRE                            35 MARTHA PL                                                                                   OAKLAND          NJ    07436‐1603
MARGARET M MC KIE                               C/O M M SPOLTORE                      230 PIN OAK DR                                           PENNSVILLE       NJ    08070‐1047
MARGARET M MCCLAIN                              555 SOUTH 22ND ST                                                                              SAGINAW          MI    48601‐1540
MARGARET M MCGANN & FRANCES J MCGANN JT TEN     19637 LYNDON                                                                                   DETROIT          MI    48223‐2143

MARGARET M MCINERNEY                            C/O M M HOLT                          16511 MIDDLEBELT                                         LIVONIA          MI    48154‐3346
MARGARET M MCKELLER                             1294 GALLOWAY CIR                                                                              PONTIAC          MI    48340‐2182
MARGARET M MCMAHON EX UW CATHERINE HAYES        245 EAST 37 ST                                                                                 NEW YORK         NY    10016‐3219

MARGARET M MILLER                               8374 LAKESHIRE RD                                                                              LAKEPORT         MI    48059‐1327
MARGARET M MILLER                               PO BOX 537                                                                                     MAXTON           NC    28364‐0537
MARGARET M MILLRE TR MARGARET M MILLER LIVING   8374 LAKESHORE RD                                                                              LAKEPORT         MI    48059‐1327
TRUST UA 10/31/01
MARGARET M MOORE                                3829 SUNRIDGE DR                                                                               FLINT            MI    48506‐2541
MARGARET M MORGAN                               8 TUNSTALL RD                                                                                  SCARSDALE        NY    10583‐5930
MARGARET M MOWREY                               28 S ROBY                                                                                      ANDERSON         IN    46012
MARGARET M MURPHY                               PO BOX 36                                                                                      GREAT FALLS      VA    22066‐0036
MARGARET M MURPHY                               53 TANGLEWOOD DR                                                                               HAMDEN           CT    06518
MARGARET M NEGRI                                4038 NORIEGA ST                                                                                SAN FRANCISCO    CA    94122‐3938
MARGARET M NEWLAND                              308 WASHINGTON ST                                                                              GENEVA           NY    14456‐2710
MARGARET M NICK                                 709 HURRICANE RD                                                                               OCEAN CITY       MD    21842‐5611
MARGARET M NIMS & PIPER M NIMS‐STEPP JT TEN     PO BOX 15455                                                                                   SEATTLE          WA    98115‐0455

MARGARET M NULL                                 648 BRIDLE ROAD                                                                                GLENSIDE         PA    19038‐2004
MARGARET M O'NEILL                              2345 CROCKER RD #322                                                                           WESTLAKE         OH    44145‐6791
MARGARET M OCONNOR                              304 PUDDING STONE ROAD                                                                         POWNAL           VT    05261‐9772
MARGARET M OSBORNE                              60 ISLAND DR                                                                                   MERRIMACK        NH    03054‐4123
MARGARET M PALERMO                              19611 CRYSTAL ROCK DR                 APT 13                                                   GERMANTOWN       MD    20874‐5822
MARGARET M PENTONY                              46 CUSHING HILL RD                                                                             NORWELL          MA    02061‐2437
MARGARET M PERKINS                              325 LOUVAINE                                                                                   TONAWANDA        NY    14223‐2322
MARGARET M PETERS                               3 RENE DR                                                                                      SPENCERPORT      NY    14559‐1619
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MARGARET M PETNER                                6421 FRANKFORD AVE                                                                             PHILADELPHIA     PA    19135‐3030
MARGARET M PHELAN                                #2B                                   1069 1ST AVE                                             NEW YORK         NY    10022‐2278
MARGARET M PICKENS CUST SCOTTALAN PICKENS        8368 GALLANT FOX TRL                                                                           FLUSHING         MI    48433‐8826
UGMA MI
MARGARET M POLASEK                               67268 BLUE SCHOOL RD                                                                           CONSTANTINE      MI    49042‐9713
MARGARET M QUINTAVALLE                           THE EVERGREENS APT 2341               309 BRIDGEBORO RD                                        MOORESTOWN       NJ    08057‐1419
MARGARET M RASMUSSEN                             2778 W RIVERWALK CIR                  UNIT B                                                   LITTLETON        CO    80123‐7146
MARGARET M REPETTI                               1960 WESTSIDE ST                                                                               SUMMERVILLE      SC    29483‐8246
MARGARET M RICE & CHARLES P RICE JT TEN          16187 BELMONT AVENUE                                                                           ALLEN PARK       MI    48101‐1745
MARGARET M ROSSITER TR UA 01/11/2007 MARGARET    4709 PERSHING                                                                                  DOWNERS GROVE    IL    60515
M ROSSITER TRUST
MARGARET M ROUNDING                              3834 TARA DR                                                                                   HIGHLAND         MI    48356‐1767
MARGARET M RULE                                  3621 CENTENARY                                                                                 DALLAS           TX    75225‐5122
MARGARET M RYNO                                  LOT 16                                18961 N TAMIAMI TRAIL                                    NORTH FORT MYERS FL    33903‐1367

MARGARET M SALEM                                 7173 S JENNINGS RD                                                                             SWARTZ CREEK     MI    48473‐8887
MARGARET M SALISBURY                             126 MEADOW TRAIL DR                                                                            SAN ANTONIO      TX    78227‐1639
MARGARET M SEMANIK & CECELIA A SEMANIK JT TEN    4303 VIRGINIA DR                                                                               CLEVELAND        OH    44126‐1756

MARGARET M SHEEHY                             28389 QUEENS CT                                                                                   WARREN           MI    48093‐4207
MARGARET M SHELL TR MARGARET M SHELL TRUST UA 19830 FLORENCE                                                                                    DETROIT          MI    48219‐3346
04/05/04
MARGARET M SKIBA TR MARGARET M SKIBA TRUST UA 14 MENLO PARK DR                                                                                  BELLEVILLE       MI    48111‐2917
06/11/01
MARGARET M SMITH                              1286 GARNER AVE                                                                                   SCHENECTADY      NY    12309‐5746
MARGARET M SMITH & FRED G SMITH JT TEN        1 JEFFERSON FERRY DR                     APT 7277                                                 S SETAUKET       NY    11720‐4733
MARGARET M SMOCK                              8811 MADISON AVE                         APT 210D                                                 INDIANAPOLIS     IN    46227
MARGARET M SNURR                              540 SOUTH 10TH AVENUE                                                                             BROKEN BOW       NE    68822‐2460
MARGARET M SPELKER                            949 VESTAVIA WAY                                                                                  GULF BREEZE      FL    32563
MARGARET M SPRING                             736 MAYBURN ST                                                                                    DEARBORN         MI    48128‐1642
MARGARET M STARK                              14401 N OAK ST                                                                                    AZLE             TX    76020‐7053
MARGARET M STEPHENS                           2619 RIVER RD                                                                                     PT PLEASANT      NJ    08742‐2154
MARGARET M STEPHENS TR UA 08/22/91 MARGARET M 8208 LEONARD DR                                                                                   HOLLY            MI    48442‐9136
STEPHENS TRUST
MARGARET M STEPHENS TR UA 8/22/91 MARGARET M R R 3                                     8208 LEONARD DR                                          HOLLY            MI    48442‐9136
STEPHENS TRUST
MARGARET M STEWART & KATHRYN S BRIGGS JT TEN  702 DONNA DR                                                                                      BIRMINGHAM       AL    35226

MARGARET M STEWART & SANDRA S RAMSDEN JT TEN     702 DONNA DR                                                                                   BIRMINGHAM       AL    35226

MARGARET M STRAWSER                              6524 WEST 13TH ST                                                                              INDIANAPOLIS     IN    46214‐3443
MARGARET M SULLIVAN                              67 DOGWOOD RD                                                                                  BOONTON          NJ    07005‐2411
MARGARET M SULLIVAN & DANIEL J SULLIVAN JT TEN   67 DOGWOOD ROAD                                                                                BOONTON          NJ    07005‐2411

MARGARET M SYKES & MICHAEL A SYKES JT TEN       22255 W OUTER DRIVE                                                                             DEARBORN         MI    48124‐4236
MARGARET M THEUT                                7442 PATTON                                                                                     DETROIT          MI    48228‐4623
MARGARET M THOMAS TR UA 08/18/06 MARGARET M 2350 FORREST RD                                                                                     WINTER PARK      FL    32789
THOMAS TRUST
MARGARET M THOMPSON                             2540 WEST 2ND STREET                                                                            BROOKLYN         NY    11223‐6233
MARGARET M TIMKO                                3345 COMANCHE RD                                                                                PITTSBURGH       PA    15241‐1546
MARGARET M TROSHKIN                             640 W 231ST ST APT 7D                                                                           BRONX            NY    10463‐3258
MARGARET M TUNNYHILL & DUANE L TUNNYHILL JT TEN 4937 ASPEN DRIVE                                                                                OMAHA            NE    68157‐2241

MARGARET M TURBIN                                1605 FITZHUGH                                                                                  BAY CITY          MI   48708‐7949
MARGARET M TURK                                  8402 VERA DRIVE                                                                                BROADVIEW         OH   44147‐2204
                                                                                                                                                HEIGHTS
MARGARET M VALLILLO & ANTHONY L VALLILLO JT TEN 1048 CHELTENHAM RD                                                                              ELK GROVE VILLAGE IL   60007‐3401

MARGARET M VAN WINKLE‐DAVID                      2335 N MADISON AVE #A113                                                                       ANDERSON         IN    46011‐9591
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MARGARET M VESPER                              423 WEST WATER ST                                                                               TROY              OH    45373‐3257
MARGARET M VOLTZ                               8812 LAKESHORE RD                                                                               ANGOLA            NY    14006‐8602
MARGARET M VOLZ                                145 N MICHIGAN ST                                                                               EL PASO           IL    61738‐1061
MARGARET M WARD & M EILEEN ST PIERRE JT TEN    PO BOX 917                                                                                      LAKE CITY         MI    49651‐1917
MARGARET M WEIDMANN                            748 SHANGRILLA LN                                                                               WEBSTER           NY    14580‐1532
MARGARET M WELLS                               ONE ROCKINGHAM DR                                                                               WILMINGTON        DE    19803‐2614
MARGARET M WROBEL TR UNDER SELF DECLARATION    PO BOX 1177                                                                                     DEERFIELD BEACH   FL    33443‐1177
OF TRUST 04/04/89
MARGARET M WYPASEK                             8880 OAKWOOD LANE                                                                               NORTH ROYALTON    OH    44133‐2229

MARGARET M YOUNG & GAIL B HERMANN JT TEN       1201 SOUTH 26TH STREET                                                                          QUINCY            IL    62301‐6101
MARGARET M YOUNGBLOOD                          528A NARRAGANSET LN                                                                             STRATFORD         CT    06614‐8355
MARGARET M ZAHN TOD DAVID A ZAHN SUBJECT TO    4330 LAWSON ST                                                                                  SAGINAW           MI    48603‐3033
STA TOD RULES
MARGARET M ZALEWSKI                            2 MILLIKEN RD                                                                                   SAYREVILLE        NJ    08872‐1915
MARGARET MAC DONALD                            16 BEECHWOOD CRES                      SYDNEY NS                              B1S 1V8 CANADA
MARGARET MACKENDER                             401 LAKE CASCADE PKWY                  # 101                                                    FINDLAY           OH    45840‐1378
MARGARET MADISON                               406 SHOREACRES BLVD                                                                             LA PORTE          TX    77571‐7259
MARGARET MAE KLOTZ                             12405 DUMFRIES RD                                                                               MANASSAS          VA    20112‐3540
MARGARET MAGALLANES                            210 WEST BIRCH AVE                                                                              CLOVIS            CA    93611‐0205
MARGARET MAGAVERN HARGRAVES                    423 WEST NECK RD                                                                                HUNTINGTON        NY    11743‐1624
MARGARET MAHONE WITTEN                         2003 TUXEDO AVE                                                                                 ATLANTA           GA    30307‐1819
MARGARET MANETTA‐LAWSON                        2675 STONEBURY                                                                                  ROCHESTER HILLS   MI    48307‐4560
MARGARET MANNTHEY                              PO BOX 303                                                                                      CORBETT           OR    97019‐0303
MARGARET MANZINI                               416 CALUMET ST                                                                                  CALUMET           MI    49913‐1977
MARGARET MARCELLA MORRISON HENRY               2709 COLONIAL PKWY                                                                              FORT WORTH        TX    76109‐1212
MARGARET MARIE CRUNKILTON                      2500 REDSTONE ROAD                     APT 69                                                   HUNTSVILLE        AL    35803‐2178
MARGARET MARIE ERWIN                           683 FRED KELLEY RD NE                                                                           ROME              GA    30161‐2506
MARGARET MARIE JACKSON & GERALD L JACKSON JT   709 STORMIE WAY                                                                                 BANNING           CA    92220‐3760
TEN
MARGARET MARTIN                                5835 KILMER LANE                                                                                INDIANAPOLIS      IN    46250‐1822
MARGARET MARTINEZ                              12601 HADDON AVE                                                                                SYLMAR            CA    91342‐3639
MARGARET MARY ABRASHOFF                        ATTN MARGARET MARY SWOBODA             172 MOLTZINGER LN                                        JULIAN            PA    16844‐9705
MARGARET MARY BURNS                            1427 S WASHINGTON ST                                                                            PARK RIDGE        IL    60068‐5436
MARGARET MARY CARINI TR UA 02/28/91 MARGARET   2571 N MURRAY AVE                                                                               MILWAUKEE         WI    53211‐3923
MARY CARINI LIVING TRUST
MARGARET MARY CLARKE                           C/O MARGARET DANIELLE DRAPER           BOX 337                                                  MENLO PARK        CA    94026‐0337
MARGARET MARY COX                              C/O MARGARET MARY FRANCO               358 W ELK AVE                                            GLENDALE          CA    91204‐1611
MARGARET MARY CREMONS TR UA 06/04/91           322 N OAK                                                                                       HINSDALE          IL    60521‐3832
MARGARET MARY CREMONS TRUST
MARGARET MARY CUMMINGS                         PO BOX 215                                                                                      HORSEHEADS        NY    14845
MARGARET MARY FLANAGAN                         34 CHESTERFIELD ROAD                                                                            NORTHBORO         MA    01532‐2259
MARGARET MARY GRIFFIN                          3504 ADALINE DR                                                                                 STOW              OH    44224‐3929
MARGARET MARY GRINAGE                          5223 BLISS LANE                                                                                 NEWAYGO           MI    49337‐9776
MARGARET MARY HABRAT                           2805 RALPH AVE                                                                                  CLEVELAND         OH    44109‐5415
MARGARET MARY KINLAN                           APT 3K                                 440 E 85TH ST                                            NEW YORK          NY    10028‐6333
MARGARET MARY MACK                             3446 CHESTNUT HILL RD                                                                           TOLEDO            OH    43606‐2616
MARGARET MARY MATYLEWICZ HUNTER                6927 GRAY GABLES LN                                                                             COLUMBUS          OH    43235‐4242
MARGARET MARY OBRIEN                           4914 RUSSETT ROAD                                                                               ROCKVILLE         MD    20853‐2964
MARGARET MARY PERKINS CUST RYAN D PERKINS      325 LOUVAINE DRIVE                                                                              TOWN OF           NY    14223‐2322
UGMA NY                                                                                                                                        TONAWANDA
MARGARET MARY R DI MOIA                        301 W FAIRVIEW AVE                                                                              LANGHORNE         PA    19047‐3941
MARGARET MARY SHERRY & FRANCIS R SHERRY TEN    300 DREW ST                                                                                     BALTIMORE         MD    21224‐2714
ENT
MARGARET MARY STRAHAN                          1161 ORCHARD AVENUE S E                                                                         EAST GRAND RAPIDS MI    49506‐3546

MARGARET MARY SWEETI                           35 BABBLING BROOK                                                                               SILVER CITY       NM    88061‐9286
MARGARET MC GRATH‐TALBOT                       PO BOX 3666                                                                                     GETTYSBURG        PA    17325‐0666
MARGARET MC INTOSH                             5 WETMORE AVE                                                                                   MORRISTOWN        NJ    07960‐5243
                                         09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MARGARET MC KINNEY PHILLIPS                    2035 EUDORA                                                                                   DENVER           CO    80207‐3810
MARGARET MC KINSTRY MAULL                      167 ROCK MEADOW ROAD                                                                          UXBRIDGE         MA    01569‐1474
MARGARET MC LAUGHLIN                           10513 HAMLIN DR                                                                               CHESTER          VA    23831‐1159
MARGARET MC MARTIN                             140 CUNDLES RD WEST                  BARRIE ON                              L4N 9X8 CANADA
MARGARET MC NEIL                               C/O MRS MARGARET MC NEIL HRIVNAK     19016 WOODLAND                                           HARPER WOODS     MI    48225‐2067
MARGARET MCCLAIN                               36 LAVERNE LN                                                                                 AKRON            OH    44312
MARGARET MCCOMB CZAR                           6316 GHOST FLOWER TRL NE                                                                      ALBUQUERQUE      NM    87111‐8350
MARGARET MCDONOUGH SERRARO                     26 SODANO DR                                                                                  HOPEWELL         NY    12533‐5913
                                                                                                                                             JUNCTION
MARGARET MCGALLIARD                            16 COLONIAL DR                                                                                CLARKSBORO       NJ    08020‐1208
MARGARET MEARSHEIMER                           116‐C HERITAGE HILLS                                                                          SOMERS           NY    10589‐1312
MARGARET MELINDA REED                          82 KIOWA CT                                                                                   ELSBERRY         MO    63343‐3629
MARGARET MERGY                                 405 SOUTH D STREET                                                                            HAMILTON         OH    45013‐3332
MARGARET MEYERS                                7016 31ST ST NW                                                                               WASHINGTON       DC    20015‐1402
MARGARET MICHELE BARTA                         W4965 PADDOCK DR                                                                              ELKHORN          WI    53121‐3106
MARGARET MIMI L ALLSOPP                        355 CLINTON AVE UNIT 14H                                                                      BROOKLYN         NY    11238‐1134
MARGARET MIRABILE                              APT H1                               65 CURIE RD                                              CORNWALL         NY    12520‐1323
                                                                                                                                             HUDSON
MARGARET MOFFA                                 7207 JOSHUA TREE LN                                                                           SPRINGFIELD      VA    22152
MARGARET MONTGOMERY                            3700 RUE FORET                       APT 231                                                  FLINT            MI    48532
MARGARET MOODY SEYMOUR                         RR 1 BOX 200                                                                                  LITTLETON        NH    03561‐9801
MARGARET MOORE HATTER                          2600 BARRACKS RD APT 336                                                                      CHARLOTTESVLE    VA    22901
MARGARET MORAN                                 4783 DAWES STREET                                                                             SAN DIEGO        CA    92109‐2637
MARGARET MOSES                                 9254 QUANDT                                                                                   ALLEN PARK       MI    48101
MARGARET MOWEN BROWN                           802 N JACKSON STREET                                                                          ARLINGTON        VA    22201‐2215
MARGARET MUNSELL                               2529 SOUTH WICKERSHAM                                                                         KOKOMO           IN    46901‐4007
MARGARET MURPHY                                34B COLONIA DRIVE                                                                             NEW PALTZ        NY    12561
MARGARET MURRAY‐EVANS                          11133 THORNTON DR                                                                             KNOXVILLE        TN    37922‐2927
MARGARET N BAUER                               PO BOX 263                                                                                    HOPEDALE         IL    61747‐0263
MARGARET N COAKER TR MARGARET N COAKER TRUST   329 ELIOT ST                                                                                  MILTON           MA    02186‐1715
UA 05/28/99
MARGARET N DARCY                               2375 CIRCLE DRIVE                                                                             W BLOOMFIELD     MI    48324
MARGARET N DOLAN                               16565 NORWOOD LN                                                                              PINE CITY        MN    55063‐5752
MARGARET N FLAMANG                             139HEPWORTH STREET                                                                            BRISTOL          CT    06010‐7863
MARGARET N KOWALSKY & DEBRA E THUEME JT TEN    4827 READER DR                                                                                WARREN           MI    48092

MARGARET N LAGO                                5270 GRAND BLVD S W                                                                           NEWTON FALLS     OH    44444‐1011
MARGARET N MCGIRT & JOHN S MCGIRT JT TEN       BOX 186                                                                                       LAKE JUNALUSKA   NC    28745‐0186
MARGARET N WILLIAMS TR MARGARET N WILLIAMS     C/O CAROL D STILEN                   2546 LAKE DALE LANE                                      RICHMOND         TX    77406
LIVING TRUSTUA 04/04/02
MARGARET NADINE VEREEKE                        47 EAGLE DR                                                                                   SWARTZ CREEK     MI    48473‐1572
MARGARET NAOMI BACH                            1001 GEORGINA AVE                                                                             SANTA MONICA     CA    90402‐2025
MARGARET NEAL GOLDEN                           320 CARRIAGE DRIVE                                                                            FREEDOM          PA    15042‐2826
MARGARET NEER                                  424 HARRISON GDNS                                                                             HARRISON         NJ    07029‐1640
MARGARET NEOMIA PHIPPS                         2610 RICKMAN RD                                                                               LIVINGSTON       TN    38570‐5823
MARGARET NORRIS SPECKER                        10 VIA CHEPARRO                                                                               GREENBRAE        CA    94904‐1202
MARGARET O ALLEN                               8796 TRILLIUM DR                                                                              YPSILANTI        MI    48197‐9647
MARGARET O EVENSON & DEAN P EVENSON JT TEN     C/O FRANCIS ASBURY MANOR             70 STOCKTON AVE ROOM 315                                 OCEAN GROVE      NJ    07756‐1141

MARGARET O RONALDSON TR UA 04/30/90 MARGARET   3991 WINDWARD PASSAGE CIRCLE         #101                                                     BONITA SPRINGS   FL    34134‐3384
O RONALDSON TRUST
MARGARET O WAY                                 25 TAMARACK LN                                                                                LEVITTTOWN        PA   19054‐2203
MARGARET O'DOWD                                APT 9‐A                              6 PETER COOPER RD                                        NEW YORK          NY   10010‐6709
MARGARET O'HARA & PATRICK O'HARA JT TEN        1215 BERSHIRE RD                                                                              GROSSE POINT PARK MI   48230

MARGARET O'NAN                                 1515 MARYMOUNT DR                                                                             FRANKLIN         TN    37067
MARGARET OATWAY                                278 HUMBER AVE                       OSHAWA ON                              L1J 2T2 CANADA
MARGARET OBED                                  25943 RIDGEWOOD DRIVE                                                                         FARMINGTON       MI    48336‐1064
MARGARET OBEIRNE WILLIAMS                      1046 WHITSETT WALK                                                                            JACKSON          MS    39206‐6158
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MARGARET OLIVE DAWSON & BONNIE J DAWSON JT    1437 RAMBLEWOOD DR                                                                                EAST LANSING     MI    48823‐1338
TEN
MARGARET OLIVE DAWSON & BRIAN K DAWSON JT TEN 1437 RAMBLEWOOD DR                                                                                EAST LANSING     MI    48823‐1338

MARGARET OLSON                                4028 VIRGINIA AVE                                                                                 SHOREVIEW        MN    55126‐2388
MARGARET OLSON SCOUTON                        PO BOX 2224                                                                                       MINOT            ND    58702‐2224
MARGARET OPHELIA CONWELL                      2709 ROCKFORD COURT                                                                               KOKOMO           IN    46902‐3206
MARGARET OPLINGER                             230 SOUTHWEST AVE                                                                                 GREENSBURG       PA    15601‐3441
MARGARET OWEN FINCK                           7705 WHITTINGTON DRIVE                                                                            RICHMOND         VA    23225‐2138
MARGARET OWEN TSALTAS                         2421 N FEATHERING RD                                                                              MEDIA            PA    19063‐1912
MARGARET P BACON                              790 ALVINE RD                                                                                     PITTSGROVE       NJ    08318‐4125
MARGARET P BAKER                              2615 LONGFELLOW DR                                                                                WILMINGTON       DE    19808‐3733
MARGARET P BROWN                              14 OVERBROOK RD                                                                                   PISCATAWAY       NJ    08854‐5526
MARGARET P CASCIO                             7380 SOUTH CHESTNUT COMMONS                                                                       MENTOR           OH    44060‐3526
MARGARET P COLQUITT                           111 GLEN HILL DR                                                                                  HENDERSONVILLE   TN    37075‐5157
MARGARET P CRABTREE                           4444 STRAIGHT ARROW                                                                               DAYTON           OH    45430‐1521
MARGARET P GOMES MARGARET P GOMES TRUST UA 75‐397 HUALALAI RD                                                                                   KAILUA KONA      HI    96740‐9724
5/16/99
MARGARET P HAWKINS                            648 LITTLE MEADOW DR                                                                              DAYTON           OH    45404
MARGARET P HOPKINS CUST AMY L HOPKINS UTMA PA 561 CHURCH HILL RD                                                                                LANDENBERG       PA    19350‐1531

MARGARET P HUDSON                               533 SLAYTON                                                                                     GRAND HAVEN      MI    49417‐1866
MARGARET P HUNTER TR UA 04/15/91 MARGARET P     6909 MLK ST S APT 364                                                                           ST PETERSBURG    FL    33705
HUNTER TRUST
MARGARET P HUTCHINS TR MARGARET P HUTCHINS      400 W BUTTERFIELD RD #354                                                                       ELMHURST         IL    60126‐5059
TRUST UA 03/15/89
MARGARET P KERWIN                               840B LISBURN RD                                                                                 CAMP HILL        PA    17011‐7472
MARGARET P LATIMER                              24800 E SHELTON RD                                                                              LINDEN           CA    95236‐9418
MARGARET P MILLIGAN                             206 DESOTA COURT                                                                                LADY LAKE        FL    32159‐5669
MARGARET P NEWMAN                               3416 WESTMOUNT DRIVE                                                                            AIKEN            SC    29801‐2969
MARGARET P OTT                                  236 PORTAL DR                                                                                   CORTLAND         OH    44410‐1523
MARGARET P RIEDERER & FRANK W RIEDERER JT TEN   553 MCHENRY RD APT AL240                                                                        WHEELING         IL    60090

MARGARET P SCHLIEMANN                           495 WOLFS LANE                                                                                  PELHAM MANOR     NY    10803‐2429
MARGARET P SHANAHAN                             4 S COOLIDGE AVE                                                                                MARGATE          NJ    08402‐2203
MARGARET P SHAW                                 13943 CONNER KNOLL PKWY                                                                         FISHERS          IN    46038‐3462
MARGARET P STINAR                               4115 GERTRUDE                                                                                   DEARBORN HTS     MI    48125‐2819
MARGARET P STOCK TR UA 06/03/93 MARGARET P      717 MAPLELEAF ROAD                                                                              LAPEER           MI    48446‐3540
STOCK TRUST
MARGARET P STOVALL                              10 OAK TREE DRIVE                                                                               TAYLORS          SC    29687‐6621
MARGARET P TOTH & MELISSA S PISCITELLI JT TEN   17229 RUSSELL                                                                                   ALLEN PARK       MI    48101‐2850
MARGARET PAGLINCO & JOSEPH A PAGLINCO JT TEN    17 RIDGE VIEW LANE                                                                              MT ARLINGTON     NJ    07856‐2317

MARGARET PAINE ROCK TOD JOHN W ROCK SUBJECT TO 136 WASHINGTON RD                                                                                BARRINGTON       RI    02806‐1827
STA TOD RULES
MARGARET PAKNEY                                6145 W REID RD                                                                                   SWARTZ CREEK     MI    48473‐9459
MARGARET PAULINE DAVIS                         RTE 1 BOX 165‐D                                                                                  PINEVILLE        KY    40977‐9728
MARGARET PEARCY                                2405 N UNION ST                                                                                  KOKOMO           IN    46901‐5837
MARGARET PEARSE                                5708 CURTIS ST                          BURNABY BC                             V5B 2A2 CANADA
MARGARET PEARSON                               1901 TAYLOR RD APT J 100                                                                         COLUMBUS         IN    47203
MARGARET PEARSON TR UA 04/12/88 MARGARET       2233 LAKE ARBOR BLVD                                                                             CLEARWATER       FL    33763‐4321
PEARSON
MARGARET PEAVLER LOCKHART                      750 WEST                                9430 SO CO RD                                            DALEVILLE        IN    47334
MARGARET PEPPERS                               519 SINCLAIRS CIR                                                                                TAVARES          FL    32778‐3848
MARGARET PERRILL HUME                          30790 WILLOW POND LANE                                                                           COARSEGOLD       CA    93614‐8788
MARGARET PETROVICH                             94 JEFFERSON AVE                                                                                 EDISON           NJ    08837‐3318
MARGARET PIERRE                                1630 MOTICHKA RD                                                                                 MADISON TWP      PA    18444‐7049
MARGARET POKRAJAC                              2772 OHIO ST                                                                                     BETHEL PARK      PA    15102‐2742
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MARGARET POLNAR & TERRY FOREMSKY & PAT           302 LONGVIEW DR                                                                                  MONROEVILLE     PA    15146‐3937
MARCONE & GEORGE POLNAR JT TEN
MARGARET POTE LORTON                             BOX 129                                                                                          CAMBRIDGE       ID    83610‐0129
MARGARET POUCHER ROMANO                          23544 ERWIN ST                                                                                   WOODLAND HLS    CA    91367‐1313
MARGARET PRICE RIESZ TR MARGARET PRICE RIESZ     7414 SPRING VILLAGE DRIVE               APT 517                                                  SPRINGFIELD     VA    22150‐4904
TRUST UA 11/07/95
MARGARET Q BALDWIN                               2110 EAST DR                                                                                     ST LOUIS        MO    63131‐3228
MARGARET R BEAL                                  177 MILK ST                                                                                      BOSTON          MA    02109‐3404
MARGARET R BELL & ROBERT W GRIFFIN SR JT TEN     ATTN MARGARET R GRIFFIN                 28699 SQUIRE DR                                          CHESTERFIELD    MI    48047‐3747

MARGARET R BERNACHE                              12 BITTERSWEET LANE                                                                              FARMINGTON      CT    06032
MARGARET R BRADLEY                               708 FOREST AVE                                                                                   RICHMOND        VA    23229‐6812
MARGARET R BROWN                                 7412 SPRING VILLAGE DR                  APT 204                                                  SPRINGFIELD     VA    22150‐4494
MARGARET R CERMAK                                8720 W 170TH ST                                                                                  ORLAND PARK     IL    60462‐5734
MARGARET R CONLEY                                3133 W CIRCLE DR                                                                                 ADRIAN          MI    49221‐9558
MARGARET R CONNER                                PO BOX 471                                                                                       WAYNESBURG      PA    15370‐0471
MARGARET R CORLEY                                198 CUE LAKE DRIVE                                                                               HAWTHRONE       FL    32640‐4237
MARGARET R CROSS & JOHN P CROSS JT TEN           1143 BUCKINGHAM                                                                                  GROSSE POINTE   MI    48230‐1462
                                                                                                                                                  PARK
MARGARET R CURRIER                             407 BENNETT MANOR DRIVE                                                                            EAST SYRACUSE   NY    13057
MARGARET R DOLAN & GERTRUDE N RIPPINGER JT TEN 2623 W 75TH ST                                                                                     WOODRIDGE       IL    60517‐2810

MARGARET R DOYLE                               99 HARRISON AVE                                                                                    NEW CANAAN      CT    06840‐5802
MARGARET R DUNCAN & WILLIAM J DUNCAN SR JT TEN 1038 MARTHAS WAY                                                                                   CONYERS         GA    30013‐2414

MARGARET R FURGASON                              803 TRAFFORD DR NW                      CALGARY AB                             T2K 2T5 CANADA
MARGARET R GOOSTRAY                              36 LEXINGTON AVE                                                                                 CAMBRIDGE       MA    02138‐3337
MARGARET R GOURLEY                               ATTN MRS ERNA TAYLOR                    365 COLONSAY CT      OSHAWA ON         L1J 6H3 CANADA
MARGARET R GRUNERT                               6859 HILLCREST DR                                                                                PLAINFIELD      IN    46168‐1089
MARGARET R HANLEY                                398 DE ANZA AVE                                                                                  SAN CARLOS      CA    94070‐4433
MARGARET R HARRISON                              25643 ANNAPOLIS                                                                                  DEARBORN HTS    MI    48125‐1503
MARGARET R HEARN                                 16860 COLLINGHAM                                                                                 DETROIT         MI    48205
MARGARET R HOARD CUST JENNIFER M HOARD UGMA      2019 DOUBLE CREEK DR                                                                             POWDER SPRING   GA    30127‐7009
MI
MARGARET R HOPP                                  677 DEWEY ST                            APT 230                                                  LAPEER          MI    48446‐1747
MARGARET R HOUSE                                 26 JUNO CT                                                                                       WENTZVILLE      MO    63385‐1952
MARGARET R HOWARD                                324 ALBERT ST                                                                                    NEWTON FALLS    OH    44444‐1051
MARGARET R IACOBACCI                             621 HERMITAGE ST                                                                                 PHILADELPHIA    PA    19128‐2605
MARGARET R JACKSON & JERRY B SUMMER JT TEN       321 JACKSON RD                                                                                   HIXSON          TN    37343
MARGARET R JAMISON                               245 OXFORD RD                                                                                    OXFORD          PA    19363‐4215
MARGARET R JEFFREY TR UA 02/16/94 THE MARGARET   551 SEVILLA DR                                                                                   ST AUGUSTINE    FL    32086‐7829
R JEFFREY TRUST
MARGARET R JENNISON                              10243 HART BRANCH CIR                                                                            ORLANDO         FL    32832‐5913
MARGARET R KIDD                                  9970 PALMERSTON ROAD                                                                             RICHMOND        VA    23236‐1038
MARGARET R L FERGUSON                            6587 LAPHAM CT                                                                                   PLYMOUTH        MI    48170‐5852
MARGARET R LUANCING                              11 BRIARSTONE RD                                                                                 PHILLIPSBURG    NJ    08865‐1707
MARGARET R MC DONOUGH                            15235 W KRAHN COURT                                                                              NEW BERLIN      WI    53151‐2931
MARGARET R MCREYNOLDS                            4917 ST RT 181                                                                                   CRESTLINE       OH    44827‐9623
MARGARET R MICHAELSON                            13451 BARBADOS WAY                                                                               DEL MAR         CA    92014‐3503
MARGARET R MORLEY                                5724 FOXGLOVE PL                                                                                 PRESCOTT        AZ    86305‐3754
MARGARET R O'BRIEN & GRAHAM STEPHEN O'BRIEN JT   370 SHEA DRIVE                                                                                   NEW MILFORD     NJ    07646‐1033
TEN
MARGARET R OLIVER                                11320 S TALMAN                                                                                   CHICAGO         IL    60655‐1914
MARGARET R OLTERSDORF                            19614 KORTE                                                                                      CLINTON TWP     MI    48038‐3036
MARGARET R PEPPLER & WILLIAM ROBERT PEPPLER JT   5080 BALDWIN RD                                                                                  HOLLY           MI    48442‐9364
TEN
MARGARET R RAGSDALE TR UA 03/22/96 MARGARET R    2069 SW OLYMPIC CLUB TER                                                                         PALM CITY       FL    34990‐6024
RAGSDALE U‐DECL
MARGARET R RAUNIO & ELMER K RAUNIO JT TEN        708 RIDGE RD                                                                                     MOSCOW          ID    83843‐2421
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MARGARET R RICE                                 BOX 292 11 FISHING BROOK RD                                                                    SOUTH YARMOUTH MA        02664‐4311

MARGARET R SAGERS                               5550 SOUTH SHORE DR                                                                            CHICAGO            IL    60637‐5051
MARGARET R SARABIA                              9477 HOLLAND LOOP RD                                                                           CAVE JUNCTION      OR    97523‐9718
MARGARET R SCHIFFMAN                            4938 BEL PRE RD                                                                                ROCKVILLE          MD    20853‐2216
MARGARET R SERPA                                860 PEPPERDINE LANE                                                                            CLAREMONT          CA    91711‐2502
MARGARET R SHORT                                8068 CANNON RD                                                                                 BRIDGEVILLE        DE    19933‐3735
MARGARET R SMITH                                ATTN MARGARET SMITH HALL              4 CYPRESS GDN                                            CINCINNATI         OH    45220‐1121
MARGARET R SWAIN                                5135 CRAIG AVE NW                                                                              WARREN             OH    44483
MARGARET R TARKANYI                             14910 MARKESE                                                                                  ALLEN PK           MI    48101‐1811
MARGARET R TAYLOR & RICHARD J TAYLOR JT TEN     318 CHARLESTON DR                                                                              WILMINGTON         DE    19808
MARGARET R THOMAS                               6166E 390 N                                                                                    FRANCISCO          IN    47649
MARGARET R TURNER                               C/O CYNTHIA ROSE GARDNER              3480 E HIGGANS LAKE DR                                   ROSCOMMON          MI    48653
MARGARET R WALSH & JOHN D E WALSH JT TEN        40 WEATHER DECK ROAD                                                                           BOURNE             MA    02532‐3315
MARGARET R WHITTINGTON                          6420 N REVERE AVE                                                                              KANSAS CITY        MO    64151‐3910
MARGARET R WHITTINGTON & JAMES F WHITTINGTON    6420 N W REVERE                                                                                KANSAS CITY        MO    64151‐3986
JT TEN
MARGARET R ZIRNHELT                             2257 S OAK RD                                                                                  DAVISON            MI    48423‐9152
MARGARET RAE STEPHENS                           2660 TERWOOD HILL DR                                                                           WILLOW GROVE       PA    19090
MARGARET RAE VARNEY                             1610 CUTTER CT                                                                                 NORMAL             IL    61761‐4817
MARGARET RAU & THOMAS M RAU JT TEN              2 SUFFERN PL                                                                                   GARNERVILLE        NY    10923‐1127
MARGARET REA                                    118 PENNSYLVANIA AVE                                                                           SPRING LAKE        NJ    07762‐1032
MARGARET REDMOND                                394 MAIN ST                                                                                    RIDGEFIELD PARK    NJ    07660‐1128
MARGARET REGINA BARRY                           17 CALLE ENCINITAS                                                                             RANCHO MIRAGE      CA    92270
MARGARET RICE & AGNES RICE BYRNE JT TEN         16187 BELMONT                                                                                  ALLEN PARK         MI    48101‐1745
MARGARET RICHARDS                               30 HARVEST LANE                                                                                COMMACK            NY    11725
MARGARET ROACH                                  400 N WILSON                                                                                   ROYAL OAK          MI    48067‐5108
MARGARET ROBBINS & DONALD K ROBBINS SR JT TEN   306 CARPENTER RD                                                                               ORLANDO            KY    40460

MARGARET RODGERS TR UA 12/27/96 RODGERS FAMILY 12697 NW 11TH PLACE                                                                             NEWBERRY           FL    32669
REVOCABLE TRUST
MARGARET ROGERS EX EST HELEN LADYNE FAIR       PO BOX 234                                                                                      NEW CHURCH         VA    23415
MARGARET ROGERS JACOBS                         152 OLD PARK AVE                                                                                LEXINGTON          KY    40502
MARGARET ROSE FARLEY                           9724 REDD RAMBLER DR                                                                            PHILADELPHIA       PA    19115‐2914
MARGARET ROSE KANE                             21 N BROOKSIDE DR                                                                               ROCKAWAY           NJ    07866‐1029
MARGARET ROSE PADGETT                          PO BOX 12632                                                                                    NORWOOD            OH    45212‐0632
MARGARET ROSE SCHOPP                           9251 GULARSKI RD                                                                                ALANSON            MI    49706‐8400
MARGARET ROWE                                  5635 E LINCOLN DR #8                                                                            PARADISE VALLEY    AZ    85253‐4121
MARGARET RUDOLPH LARSON                        161 NW CURRY ST                                                                                 PORT ST LUCIE      FL    34983
MARGARET RUPPRECHT DURKEE                      378 COUNTY ROUTE 2                                                                              BOMBAY             NY    12914‐2006
MARGARET RUTH GALECKI                          211 ATKINSON BLVD                      LONDON ON                              N5W 4Z5 CANADA
MARGARET RUTH MITCHELL                         1174 LEISURE DR                                                                                 FLINT              MI    48507‐4051
MARGARET RYBICKI & PATRICIA MARY MARTIN JT TEN 35952 PARKDALE                                                                                  LIVONIA            MI    48150‐6502

MARGARET S ANDRICK                              2673 KOPSON CT                                                                                 BLOOMFIELD HILLS   MI    48304‐1749

MARGARET S BABB                                 639 PINE RIDGE PL                                                                              RALEIGH            NC    27609‐4643
MARGARET S BENNETT                              485 MAPLEVIEW RD                                                                               BUFFALO            NY    14225‐1606
MARGARET S BENNETT                              7830 SYCAMORE DR                                                                               NEW PORT RICHEY    FL    34654‐5643

MARGARET S BLACK                              400 18TH ST D‐3                                                                                  VERO BEACH         FL    32960‐5646
MARGARET S BOBNIZ                             211 BRIDGEWATER LN                                                                               NORTHFIELD         OH    44067‐4129
MARGARET S BOICE                              10151 ZENOBIA CIR                                                                                WESTMINSTER        CO    80031‐2370
MARGARET S BOND                               12321 BUNCHE RD                                                                                  FAIRFAX            VA    22030‐6335
MARGARET S BRECHER                            RD 1 BOX 1608                                                                                    MONROETON          PA    18832‐8756
MARGARET S BROWN                              631 LAKE RD                                                                                      WEBSTER            NY    14580‐1519
MARGARET S BUNKE CUST SUZANNE E BUNKE UTMA CA 29508 OCEANPORT RD                                                                               RANCHO PALOS       CA    90275‐5702
                                                                                                                                               VERDE
MARGARET S CHOMISTEK                            7409 PATTON AVE                                                                                DETROIT            MI    48228‐4624
                                               09-50026-mg              Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
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Name                                             Address1                              Address2             Address3           Address4          City              State Zip

MARGARET S COLLINS                               A107 VALLEYVIEW TERRACE                                                                         BELLVILLE         PA    17004‐8683
MARGARET S COOPER & NORMAN H COOPER JT TEN       507 SABLE PALM NORTH                                                                            ELLENTON          FL    34222‐3621

MARGARET S DEFURIA                               237 MAPLE AVE                                                                                   AUDUBON           NJ    08106‐2315
MARGARET S DICKERSON                             2215 CRESTWOOD DRIVE                                                                            AUGUSTA           GA    30904‐3427
MARGARET S DOHNAL                                12 EVERLYN AVE                                                                                  MEDFORD           MA    02155‐1721
MARGARET S DYE                                   9709 BELLEVUE DRIVE                                                                             BETHESDA          MD    20814‐3924
MARGARET S FALLS                                 524                                   1136 COUNTY RD                                            VERBENA           AL    36091‐4302
MARGARET S FLETCHER                              6480 W FARRAND RD                                                                               CLIO              MI    48420‐8101
MARGARET S FLETCHER & JOHN H FLETCHER JT TEN     6480 W FARRAND RD                                                                               CLIO              MI    48420‐8101

MARGARET S GEORGE TR M GEORGE NOMINEE TRUST      26 WHITE AVENUE                                                                                 WAKEFIELD         MA    01880‐1822
UA 11/21/96
MARGARET S GORHAM                                5 GATESHEAD DRIVE                     SUITE 301                                                 DUNEDIN           FL    34698‐8537
MARGARET S HACKER                                3955 MEADOWBROOK DR                                                                             LEAVITTSBURG      OH    44430‐9607
MARGARET S HAINES                                BEATTY POINT VILLAGE                  700 BEATTY RD        APT 163                              MONROEVILLE       PA    15146
MARGARET S HALLSTROM                             14213 CULIACAN AVE                                                                              BAKERSFIELD       CA    93314‐3725
MARGARET S HAYES                                 108 ROWAN ST                                                                                    RALEIGH           NC    27609‐5728
MARGARET S HENDERSON                             1099 N MCMULLEN BOOTH RD              APT 715                                                   CLEARWATER        FL    33759‐3456
MARGARET S HICKS                                 3005 BELVEDERE LANE                                                                             DECATUR           GA    30032‐2703
MARGARET S JAYROE                                BOX 57                                                                                          LITTLE MOUNTAIN   SC    29075‐0057

MARGARET S KEARNEY                               168 ROBBINS BLVD                                                                                DAPHNE            AL    36526‐9720
MARGARET S KEITH                                 277 DELAPLANE AVE                                                                               NEWARK            DE    19711‐4717
MARGARET S KNAPP                                 4850 HARDING AVE                                                                                CLARKSTON         MI    48346‐3425
MARGARET S LAW                                   106 SIMMONS RD                                                                                  GLENMONT          NY    12077‐4112
MARGARET S LENTZ                                 928 HOOD ST                                                                                     CHARLESTON        SC    29412‐5204
MARGARET S LOUBRIS                               4051 DURHAM RD                        PO BOX 369                                                REVERE            PA    18953‐0369
MARGARET S MEYERS TR MARGARET S MEYERS LIV       12534 POPLAR LN                                                                                 WOODBRIDGE        VA    22192‐2628
TRUST UA 7/11/00
MARGARET S MITH                                  TERRACE LAKE MOBILE HOME PARK         SPACE 153            2120 ROBINS LANE                     SALEM             OR    97306‐2629
MARGARET S MORTIMER                              811 N MCKEAN ST                                                                                 KITTANNING        PA    16201‐1151
MARGARET S MUSGROVE TR 12/19/00 MARGARET S       BOX 114                                                                                         MONROE            OH    45050
MUSGROVE TRUST
MARGARET S NIPLE                                 12 MEADOW BROOK RD                                                                              ACTON             MA    01720‐3931
MARGARET S OMALLEY                               29 SOUTH CRANDON AVE                                                                            NILES             OH    44446‐3343
MARGARET S OTTENA & CHRISTOPHER OTTENA JT TEN    117 IRWIN AVE                                                                                   HOUSTON           PA    15342‐1055

MARGARET S PATANELLA                             20 TEN EYKE CIRCLE                                                                              PITTSFORD         NY    14534‐3142
MARGARET S PECK                                  500 TOURNAMENT TRAIL                                                                            CORTLAND          OH    44410‐9751
MARGARET S POPLIN                                514 JEFFERSON DR                                                                                CHARLOTTE         NC    28270‐5346
MARGARET S PURDY                                 412 THOMAS LANE                                                                                 GRAND BLANC       MI    48439‐1526
MARGARET S QUEALEY & JAMES M QUEALEY JT TEN      171 LUCE ST                                                                                     LOWELL            MA    01852‐3049

MARGARET S QUEALEY & JOSEPH T QUEALEY JT TEN     221 MOORE ST                                                                                    LOWELL            MA    01852‐5028

MARGARET S ROBINSON                              260 LONDON RD                                                                                   SI                NY    10306‐1279
MARGARET S ROSS                                  3933 BOULDER BLVD                                                                               BOZEMAN           MT    59718‐9164
MARGARET S SCALLAN                               12351 BROOKSHIRE AVENUE                                                                         BATON ROUGE       LA    70815‐6749
MARGARET S SCHRIDER                              34 LINWOOD RD                                                                                   FT WALTON BEACH   FL    32547‐1617

MARGARET S SHIRK                                 363 MAGNOLIA RD                                                                                 PEMBERTON         NJ    08068‐1807
MARGARET S SULLIVAN                              12 MEADOW BROOK ROAD                                                                            ACTON             MA    01720‐3931
MARGARET S TANNEY TR MARGARET S TANNEY TRUST     15656 BUCKINGHAM                                                                                BEVERLY HILLS     MI    48025‐3302
UA 04/18/96
MARGARET S TOTTA                                 222 ARLINGTON RD                                                                                NEWTON FALLS      OH    44444‐1703
MARGARET S TOWNSEND                              1321 LAKESIDE WAY                                                                               SEABRING          FL    33870‐7419
MARGARET S WALTER                                98 PEAR ST                                                                                      W LAND            MI    48186‐6816
                                            09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MARGARET S WALTERHOUSE & TRACY D WILLIAMS JT    6295 BRIAN CIRCLE LN                                                                            BURTON            MI    48509‐1374
TEN
MARGARET S WARREN                               337 SHOTWELL CRT.                                                                               WHITE LAKE        MI    48386
MARGARET S WATSON & JEAN W WATSON JT TEN        4875 SOUTH INDIAN TRAIL                                                                         EVERGREEN         CO    80439‐5754
MARGARET S WRIGHT                               BOX 466                                                                                         FOSSIL            OR    97830‐0466
MARGARET S ZELLJADT                             49 WOODLAWN AVE                                                                                 NORTHAMPTON       MA    01060‐2032
MARGARET SALASSI                                312 E MAPLE                                                                                     FAYETTEVILLE      AR    72701‐3513
MARGARET SALLEY HARRISON                        4716 CAROLINA HIGHWAY                                                                           DENMARK           SC    29042‐1672
MARGARET SAMPLES                                16699 MERRIMAN                                                                                  LIVONIA           MI    48154‐3161
MARGARET SANDERS                                215 FLOWERS ST                                                                                  DICKSON           TN    37055
MARGARET SCARLET & MARY ANNE SCARLET JT TEN     420 N LAFAYETTE ST                                                                              DEARBORN          MI    48128‐1582

MARGARET SCHNALL                                50 CHESTNUT ST                                                                                  HATFIELD          MA    01038‐9769
MARGARET SCHULER STRICKLAND                     21000 MARBELLA AVE                                                                              CARSON            CA    90745‐1336
MARGARET SCHULLER                               50 BRYANT RD                           AJAX ON                                L1S 2Y7 CANADA
MARGARET SCHWARTZ                               319 7TH ST PL SW #B‐2                                                                           CONOVER           NC    28613‐2758
MARGARET SCHWEIKARDT                            PO BOX 1053                                                                                     CONGRESS          AZ    85332‐1053
MARGARET SCOTT                                  200 MEADOWS DR                                                                                  DOVER             DE    19904‐1900
MARGARET SCOTT ANDERSON                         PO BOX #324                                                                                     CASTLETON         VT    05735‐0324
MARGARET SCOTT HALL                             PO BOX 622                                                                                      ROUND LAKE        IL    60073‐0601
MARGARET SHAMBURGER                             217 NORTON RD                                                                                   LUMBERTON         MS    39455‐7834
MARGARET SHARMAN                                10212 MOBJACK AVE                                                                               GLEN ALLEN        VA    23060‐7210
MARGARET SHAW CABLE                             237 RIVERSTONE PLACE                                                                            CANTON            GA    30114‐5243
MARGARET SHERWIN                                2030 N 49TH ST                                                                                  MILWAUKEE         WI    53208‐1736
MARGARET SLIZ                                   2292 CREEK BED CT                                                                               SANTA CLARA       CA    95054‐1309
MARGARET SMELAND MIRES                          4145 CYPRESS DR                                                                                 ST CLOUD          FL    34772‐8091
MARGARET SMITH                                  5164 HUMMINGBIRD TRL                                                                            LOVES PARK        IL    61111‐1900
MARGARET SMITH                                  105 CAMBRIDGE CT                                                                                SAINT CHARLES     IL    60174‐4672
MARGARET SOEDER                                 1765 ELDON DR                                                                                   WICKLIFFE         OH    44092‐1532
MARGARET SOMERVILLE TR MARGARET SOMERVILLE      118 TIMBERIDGE DR                                                                               VASSAR            MI    48768‐9009
LIVING TRUSTUA 5/12/98
MARGARET SOUCEK & ROBERT SOUCEK & ELIZABETH     6921 RIVERSIDE DR                                                                               BERWYN            IL    60402‐2233
OPLATKA JT TEN
MARGARET SPANGLER                               8422 WINDSOR RIDGE DR                                                                           CHARLOTTE         NC    28277‐6557
MARGARET SPRAGUE                                9218 DOVE MEADOW DR                                                                             DALLAS            TX    75243‐6325
MARGARET SPRAY & MICHAEL HACKETT JT TEN         1421 RUNABOUT ROAD                                                                              OSAGE BEACH       MO    65065
MARGARET SPRINGER                               18487 WASHBURN                                                                                  DETROIT           MI    48221‐1929
MARGARET ST GERMAIN & MARK ST GERMAIN JT TEN    15 LOWER TRINITY PASS RD                                                                        POUND RIDGE       NY    10576‐2122

MARGARET STANLEY & RUSSELL STANLEY JT TEN       808 LAKE ST                                                                                     HOBART            IN    46342‐5228
MARGARET STEMPLER                               8 EVERGREEN DRIVE                                                                               RUMSON            NJ    07760‐1931
MARGARET STEWART ANDERSON                       3502 SCOTTS LN                         #9                                                       PHILADELPHIA      PA    19129‐1561
MARGARET STEWART ANDREWS                        125 SPENCER DR                                                                                  AMHERST           MA    01002‐3364
MARGARET STRINGER & TIMOTHY J STRINGER JT TEN   64000 HARTWAY RD                                                                                RAY               MI    48096‐2637

MARGARET STUART KEENEY                          512 LAKE DRIVE                                                                                  ALVA              OK    73717‐1753
MARGARET SUEY                                   PO BOX 520                                                                                      JOHNSTOWN         PA    15907‐0520
MARGARET SULFRIDGE                              11058 S MAPLELAWN                                                                               TAYLOR            MI    48180
MARGARET SUSAN BROWN & TAYLOR R BROWN JT TEN    PO BOX 667                                                                                      RISING SUN        MD    21911‐0667

MARGARET SUSAN KELLEY                           HC 60 BOX 191                                                                                   NEW MARTINSVILLE WV     26155‐9747

MARGARET SUTLIFF BARRON                         407 11TH ST SE                                                                                  CULLMAN           AL    35055‐4945
MARGARET SYLVESTER                              PO BOX 4494                                                                                     INCLINE VILLAGE   NV    89450‐4494
MARGARET T BAIRD TR UA 11/14/2006 MARGARET T    44 PARK AVE                                                                                     IRVINGTON         NY    10533
BAIRD TRUST
MARGARET T BOZEK                                28 MC KINLEY ST                                                                                 MASSAPEQUA PARK NY      11762‐2622
                                            09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MARGARET T BOZEK & THOMAS J BOZEK JT TEN         28 MC KINLEY ST                                                                                 MASSAPEQUA PARK NY     11762‐2622

MARGARET T BRESNAN & PATRICIA A BRESNAN JT TEN   1620 COLDEN AVE                                                                                 BRONX            NY    10462‐3104

MARGARET T CONNOLY                               1115 MCCLELLAN STREET                                                                           SCHENECTADY      NY    12309‐5627
MARGARET T DARDEN                                2924 SURREY RD                                                                                  BIRMINGHAM       AL    35223‐1215
MARGARET T DE AGAZIO                             PO BOX 257                                                                                      OGUNQUIT         ME    03907‐0257
MARGARET T DEEMER                                108 BRADLEY LANE                                                                                LEWES            DE    19958‐1228
MARGARET T EIGHAN                                519 WARD ROAD                                                                                   BROOKHAVEN       PA    19015‐1418
MARGARET T GOGGIN & WILLIAM G GOGGIN JT TEN      69 NEWELL RD                                                                                    YARMOUTH         ME    04096‐8350

MARGARET T HIGGINS                             7092 RIVER ROAD                                                                                   FLUSHING         MI    48433‐2252
MARGARET T KAPLAN                              15 GREENRIDGE AVE                                                                                 WHITE PLAINS     NY    10605‐1248
MARGARET T KAUFFMAN                            95 ACHESON BLVD                          WESTHILL ON                            M1C 3C4 CANADA
MARGARET T LAKE                                56 DREW WAY                                                                                       ISELIN           NJ    08830‐2427
MARGARET T MACCIA & KAREN B MACCIA‐MC KENNA JT 111 BREWSTER AVE                                                                                  YONKERS          NY    10701‐6314
TEN
MARGARET T MILLER                              B206 GRANITE FARMS ESTATE                1343 WEST BALTIMORE PARK                                 MEDIA           PA     19063‐5519
MARGARET T MORGAN                              710 SOUTHERN RD                                                                                   YORK            PA     17403‐4136
MARGARET T ONEILL                              ATT BOZEK                                28MCKINLEY STREET                                        MASSAPEQUA PARK NY     11762‐2622

MARGARET T PAULLY                                1787 SHERIDAN N E                                                                               WARREN           OH    44483‐3537
MARGARET T ROACHE                                48 KINGS GRANT RD                                                                               HOCKESSIN        DE    19707‐1204
MARGARET T ROBINSON                              503 MEADE ST                                                                                    MONONGAHELA      PA    15063‐2735
MARGARET T SAFRANEK                              164 JAYNE AVE                                                                                   PATCHOGUE        NY    11772‐2835
MARGARET T SCHLEHER                              153 ELDRIDGE AVE                                                                                TRENTON          NJ    08648‐3511
MARGARET T SCHUERGER                             15789 PIKE BOULEVARD                                                                            BROOKPARK        OH    44142‐2342
MARGARET T SCHUERGER & ROBERT A SCHUERGER JT     15789 PIKE BLVD                                                                                 BROOK PARK       OH    44142‐2342
TEN
MARGARET T WAGGONER & PHILIP W WAGGONER JT       8580 SW 33 TERRACE                                                                              MIAMI            FL    33155‐3249
TEN
MARGARET T WALDROP                               2300 CEDARFIELD PARKWAY                APT 335                                                  RICHMOND         VA    23233‐1944
MARGARET T WALKER CUST MICHAEL A WALKER UTMA     544 E COUNTRY PLAZA NORTH                                                                       GILBERT          AZ    85234‐3416
AZ
MARGARET T WHARTON                               2110 BENTIVAR DR                                                                                CHARLOTTESVLE    VA    22911
MARGARET T WOOD                                  901 N HOWARD                                                                                    INDIANOLA        IA    50125‐1339
MARGARET TAYLOR WHITE                            804 JAMESTOWN DR                       APT E                                                    WINTER PARK      FL    32792‐3647
MARGARET TEJADA TR LIVING TRUST 10/10/91 U‐A     10276 CONTINENTAL DR                                                                            TAYLOR           MI    48180‐3109
MARGARET TEJADA
MARGARET TERRY ORR CUST ELIZABETH DALE ANGNEY    3300 GRENWAY ROAD                                                                               SHAKER HEIGHTS   OH    44122‐3414
UGMA NY
MARGARET THEIS RAVEN                             PO BOX 1122                                                                                     MT PLEASANT      SC    29465‐1122
MARGARET THERESE FLETCHER                        3631 COUNTRY WALK CIRCLE                                                                        INDIANAPOLIS     IN    46227‐9708
MARGARET TILTON SMITH                            2441 RAMONA ST                                                                                  PALO ALTO        CA    94301‐4235
MARGARET TODD BOWEN                              558 TRENTON AVENUE                                                                              OAKHURST         NJ    07755‐1147
MARGARET TORREY TR UA 12/10/88                   217 DIAMOND AV                                                                                  BALBOA ISLAND    CA    92662‐1115
MARGARET TRAINOR                                 35 CHESTNUT ST                                                                                  POTSDAM          NY    13676‐1801
MARGARET TRAPHAGEN                               512 SCOTT DRIVE                                                                                 HARRISBURG       PA    17112‐2247
MARGARET TREVISO                                 105 GLEN VIEW DR                                                                                CHERRYVILLE      NC    28021‐9305
MARGARET TUCKER                                  1230 HARBOUR RD                                                                                 HEWLETT          NY    11557‐2625
MARGARET TUCKER ELIXSON                          1700 THE GREENS WAY                    APT 119                                                  JAX BCH          FL    32250‐2495
MARGARET UNDRWOOD                                269 HAMILTON AVE                                                                                ELYRIA           OH    44035‐3610
MARGARET V ASHBAUGH                              203 BEAVER NE AV                                                                                NEW PHILADELPHIA OH    44663‐3923

MARGARET V CALLAWAY                              72 MAIN ST                                                                                      FARMINGTON       DE    19950‐2179
MARGARET V CLAYTON                               25 JOHNSON ROAD                                                                                 LAWRENCEVILLE    NJ    08648‐3706
MARGARET V DENNIS & VIRGINIA M DOELLING JT TEN   13404 RINEHART LN                                                                               KANSAS CITY      MO    64152‐1484

MARGARET V GUZZO                                 3904 RITAMARIE DR                                                                               COLUMBUS         OH    43220‐4925
                                           09-50026-mg                   Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                               Address2             Address3          Address4          City               State Zip

MARGARET V LAMBERT                               441 LAFAYETTE RD                                                                                ROCHESTER          NY    14609‐2934
MARGARET V LANKFORD                              PO BOX 272                                                                                      SHARPTOWN          MD    21861‐0272
MARGARET V LINGO                                 1584 LOCHMEATH WAY                                                                              DOVER              DE    19901‐6516
MARGARET V MACFARLANE                            836 MAIN ST                                                                                     FRYEBURG           ME    04037‐1528
MARGARET V MARTIN                                12304 MARILLA RD                                                                                COPEMISH           MI    49625‐9737
MARGARET V MILLS                                 215 BRYANT ST                                                                                   EDEN               NC    27288‐3099
MARGARET V MITCHELL                              1233 AGNES                                                                                      KANSAS CITY        MO    64127‐2102
MARGARET V OVERDORF                              176 MACKINAW ST                                                                                 BUFFALO            NY    14204‐2634
MARGARET V REID                                  15321 ARCHDALE ST                      APT 201                                                  DETROIT            MI    48227‐1593
MARGARET V ROBERTS                               PO BOX 320                                                                                      BELMONT            MA    02478‐0003
MARGARET V SKOGEN CUST CHRISTINE KIRBY SKOGEN    734 LA MIRADA AVE                                                                               SAN MARINO         CA    91108‐1728
UTMA CA
MARGARET V VANGELI                               25 GREENWOOD AVENUE                                                                             CHATHAM            NJ    07928‐1704
MARGARET V WALKER                                617 1/2 1ST AVE                                                                                 LONGMONT           CO    80501‐6219
MARGARET V WALL & FRANK T WALL JT TEN            1305 SUGAR LAND CT                                                                              LAWRENCEVILLE      GA    30043‐7033
MARGARET V WRIGHT                                38 BETHANY DRIVE                                                                                COMMACK            NY    11725‐1628
MARGARET V YEAGER                                217 ELMWOOD DRIVE                                                                               HUBBARD            OH    44425‐1606
MARGARET VAN LOON                                16 COMFORT PLACE                                                                                CLIFTON            NJ    07011‐3818
MARGARET VANDERKOLFF                             4629 KINGSTON ROAD                     SCARBOROUGH ON                         M1E 2P7 CANADA
MARGARET VEIL KINNER                             315 W PINE AVE                                                                                  KANE               PA    16735‐1632
MARGARET VENSEL                                  11211 UNITY DR                                                                                  WARREN             MI    48089‐3855
MARGARET VERBANOVIC                              12358 HARMAN RD                                                                                 NEW SPRINGFIELD    OH    44443‐9730

MARGARET VIRGINIA CURRAN MCKEAND                 4727 DOVER ST NE                                                                                ST PETERSBURG      FL    33703‐4125
MARGARET VIRGINIA O'BRIEN                        9072 BAYWOOD DR                                                                                 PLYMOUTH           MI    48170‐3914
MARGARET VISCUSI & ANN PODINA JT TEN             25‐51 14TH STREET                                                                               ASTORIA            NY    11102‐3745
MARGARET W ALLISON                               7341 13TH AVE NW                                                                                SEATTLE            WA    98117‐5306
MARGARET W BREWER & HAROLD L BREWER JT TEN       452 JONES‐LOY RD                                                                                RUSSELL SPGS       KY    42642

MARGARET W DELONG TR MARGARET W DELONG       1211 N 79TH PL                                                                                      SCOTTSDALE         AZ    85257‐3722
TRUST UA 09/08/98
MARGARET W DEMPSEY TR UA 11/04/02 MARGARET W 1019 CORNER KETCH ROAD                                                                              NEWARK             DE    19711
DEMPSEY REVOCABLE TRUST
MARGARET W EDRINGTON                         3202 PRAIRIE DR                                                                                     JONESBORO          AR    72404‐7901
MARGARET W FAULKENBERRY                      1410 JONES RD                                                                                       KERSHAW            SC    29067‐8906
MARGARET W FERA                              20 JONATHAN LANE                                                                                    CHELMSFORD         MA    01824‐2009
MARGARET W GLASGOW TR UA 10/10/89 MARGARET W PO BOX 4055                                                                                         INCLINE VILLIAGE   NV    89450‐4055
GLASGOW TRUST
MARGARET W HAWCROFT                          1612 BOSWELL LANE                                                                                   NEW PORT RICHEY    FL    34655‐4701

MARGARET W HAYES                                 108 N MONROE AVE                                                                                LINDENHURST        NY    11757‐4232
MARGARET W HUANG                                 560 LODGE LANE                                                                                  KALAMAZOO          MI    49009‐8705
MARGARET W HYNES & KATHLEEN A DODSON JT TEN      1506 DARE CT                                                                                    ALEXANDRIA         VA    22308‐1137

MARGARET W MENNEMEYER                            3439 CREEKWOOD DR                                                                               BIRMINGHAM         AL    35243‐4436
MARGARET W PRESTON                               54 TUNSTILL LOOP ROAD                                                                           FAYETTEVILLE       TN    37334‐6621
MARGARET W SCARLETT CUST WILLIAM R SCARLETT IV   PO BOX 10828                                                                                    JACKSON WY         WY    83002‐0828
UGMA CO
MARGARET W STEPHENSON TR STEPHENSON LIVING       932 DONSON DR                                                                                   KETTERING          OH    45428
TRUST UA 03/16/99
MARGARET W STODDARD & DONALD B STODDARD JT       10523 SAWYER PLACE                                                                              LOUISVILLE         KY    40241‐3433
TEN
MARGARET W STROCK                                5107 BRENTFORD DR                                                                               ROCKVILLE          MD    20852‐2102
MARGARET W WAGNER                                1152 SEBAGO AVE NORTH                                                                           ATLANTIC BEACH     FL    32233‐2234
MARGARET W WILHIDE                               700 DAVEGA DRIVE                       UNIT 50                                                  LEXINGTON          SC    29073
MARGARET W WILMOUTH                              16 E MAGNOLIA AV                                                                                PORT ORANGE        FL    32127‐6404
MARGARET W YEAGER                                519 LEFFERT ST                                                                                  SOUTH AMBOY        NJ    08879
MARGARET WADE AUBRY                              20 ARCADIA PL                                                                                   HILLSBOROUGH       CA    94010‐7010
MARGARET WALKER                                  BOX 42                                                                                          SHARPTOWN          MD    21861‐0042
                                            09-50026-mg                Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MARGARET WALLER                                  18 SAXON RD                                                                                   SOUTH           NY    11735‐6511
                                                                                                                                               FARMINGDALE
MARGARET WALROND                                 PO BOX 130                                                                                    IRVINGTON       NJ    07111‐0130
MARGARET WALSH                                   C/O MARG COBBLE                      310 SALEM CT                                             VALPARAISO      IN    46383‐1427
MARGARET WALTON RALPH                            430 BELROSE LANE                                                                              RADNOR          PA    19087‐4419
MARGARET WANTROBSKI                              801 RIVER RD                                                                                  HILLSBOROUGH    NJ    08844‐4043
MARGARET WASHINGTON                              1106 CHITTOCK AVE                                                                             JACKSON         MI    49203‐3189
MARGARET WATSON                                  806 CARROLL ST #1                                                                             BROOKLYN        NY    11215‐1427
MARGARET WELLER DAGUE                            160 DAGUE RD                                                                                  LITTLESTOWN     PA    17340‐9317
MARGARET WENDELL & RAYMOND WENDELL JT TEN        44 GARFIELD AVE                                                                               FARMINGDALE     NY    11735‐3309

MARGARET WILKENS                                427 MISSION ST                                                                                 SAN ANTONIO     TX    78210‐1239
MARGARET WILLIAMS & JANET R WILLIAMS‐BATER JT   8521 HAMBURG RD                                                                                BRIGHTON        MI    48116‐5115
TEN
MARGARET WITALIS CUST VICTORIA MARGUERITE       5 NEW YORK AVE                                                                                 STONY BROOK     NY    11790‐1805
WITALIS UGMA NY
MARGARET WOJSIAT & DENNIS WOJSIAT JT TEN        7 HATHAWAY ST E                                                                                GIRARD          PA    16417‐1501
MARGARET WOOD COLYER                            1233 BEAVERTON TRL                                                                             WINSTON SALEM   NC    27103‐5272
MARGARET WOODS                                  1051 LAKEVIEW RD                                                                               CLEVELAND       OH    44108‐3944
MARGARET WORTZ & MARGARET JOYCE HUNTER &        101 SHINGLEOAK DR                                                                              LOVELAND        OH    45140‐7741
MARY KATHERINE MAYBURY JT TEN
MARGARET Y ALLISON EX UW HAZEL B YOCHEM         200 MORNINGSIDE                                                                                SAN ANTONIO     TX    78209‐4734
MARGARET Y COMBS                                9555 FERRY RD                                                                                  WAYNESVILLE     OH    45068‐9083
MARGARET Y SHAW & ELINOR K YATES JT TEN         1612 COLUMBIA RD                                                                               GORDONSVILLE    VA    22942
MARGARET Y SOISSON & WILLIAM H SOISSON 3RD TEN 221 PAINTER ST                                                                                  EVERSON         PA    15631
ENT
MARGARET YONGUE FLOYD                           92‐830 KINOHI PL 4                                                                             KAPOLEI         HI    96707‐1305
MARGARET Z DOWLING TR WARREN E DOWLING TRUST 3001 CRAIG END                                                                                    WILLIAMSBURG    VA    23188
UA 07/15/93
MARGARET ZAHN                                   1205 HOOVER STREET                                                                             JANESVILLE      WI    53545‐1012
MARGARET ZIEGENHORN TR U‐DECL OF TRUST 10/27/92 10080 N 2315 EAST RD                                                                           FAIRBURY        IL    61739‐8849

MARGARET ZINGG & EILEEN C ZINGG JT TEN           301 EAST 22 ST                                                                                NEW YORK        NY    10010‐4816
MARGARET ZUGIE                                   1334 SYCAMORE AVE                                                                             WILMINGTON      DE    19805‐5043
MARGARET‐JEAN MACLEOD                            4091 EASY STREET                                                                              GREENWOOD       IN    46142‐8306
MARGARET‐JO HAKE                                 ATTN MARGARET HAKE BAXTER            E750 DUTCH RIDGE RD                                      WAUZEKA         WI    53826‐9620
MARGARETA HICKS                                  15854 BURTON ST                                                                               LANSING         MI    48906‐1103
MARGARETE E O'CONNOR & TIMOTHY D O'CONNOR JT     1003 LARIVEE LANE                                                                             MILFORD         MI    48381
TEN
MARGARETHA CATONI                                TOFTNAS                              S‐330 12 FORSHEDA                      SWEDEN
MARGARETHA LEATHERS & NORMAN H LEATHERS JT       2541 TIGERTAIL AVE                                                                            MIAMI           FL    33133‐4750
TEN
MARGARETTA BUSHNELL SANDER MESSICK               1808 PRESTON STREET                  HALIFAX NS                             B3H 3V8 CANADA
MARGARETTA K ORBEGOSO                            39 BARBARA ROAD                                                                               NEEDHAM         MA    02492‐4401
MARGARETTE B JOHNSON                             10070 STANLEY VALLEY RD                                                                       GATE CITY       VA    24251
MARGARETTE C GRINER & JIMMIE LEE GRINER JT TEN   5024 SADDLE LANE                                                                              ANDERSON        IN    46013‐4832

MARGARETTE C GRINER & JIMMIE LEE GRINER JT TEN   5024 SADDLE LANE                                                                              ANDERSON        IN    46013‐4832

MARGARETTE C WALLACE                             11100 FOREST BREEZE                                                                           SAN ANTONIO     TX    78233‐7219
MARGARETTE J SHERRILL                            1103 HERRINGTON LN                                                                            PONTIAC         MI    48342‐1837
MARGARETTE JEANNE YODER                          4970 RIDGE                                                                                    GURNEE          IL    60031‐1820
MARGARETTE P BLANKENSHIP                         PO BOX 2383                                                                                   MARTINSVILLE    VA    24113‐2383
MARGARETTE W ODOM                                158 N CENTER ST                      PO BOX 291                                               WINDER          GA    30680‐0291
MARGARITA A MEILLON                              25002 SAUSALITO ST                                                                            LUGUNA HILLS    CA    92653‐5629
MARGARITA A RAMOS                                C/O VILLA                            APT 8‐A               745 E 152ND ST                     BRONX           NY    10455‐2227
MARGARITA AYALA                                  1325 E 100TH ST                                                                               LOS ANGELES     CA    90002
MARGARITA CHACHKO                                PO BOX 882                                                                                    NEW YORK        NY    10002‐0910
MARGARITA D BROWN                                313 S DUPONT RD                      LANCASTER VILLAGE                                        WILMINGTON      DE    19805‐1416
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MARGARITA D INGLE                                2606 BOULDER DR                                                                                CORINTH          TX    76205‐3508
MARGARITA DANN & DENIS A DANN JT TEN             3436 SOUTH 56TH STREET                                                                         MILWAUKEE        WI    53219‐4441
MARGARITA GAUNA                                  701 WATER ST                                                                                   EATON RAPIDS     MI    48827‐1453
MARGARITA GENSLER                                763 IVY TRAIL WAY                                                                              FORT MILL        SC    29715‐5923
MARGARITA H MADRIGAL                             4425 PARKSIDE                                                                                  ALLEN PK         MI    48101‐3203
MARGARITA MARTINEZ                               3939 N LONG AV 2                                                                               CHICAGO          IL    60641‐2544
MARGARITA MASTACHE                               1649 N 980 W 27                                                                                CONVERSE         IN    46919‐9579
MARGARITA O DE LEON                              17120 COPPERHEAD DR                                                                            ROUND ROCK       TX    78664‐8510
MARGARITA OROZCO & ALEXANDRA B HOWARD JT TEN     3816 OSBORNE DR                                                                                TUCUMSEH         MI    49286

MARGARITA R MIRELES                              1000 QUEEN ST                                                                                  LANSING          MI    48915‐2230
MARGARITA SANCHEZ GONZALES                       1636 SNYDER                                                                                    E LANSING        MI    48823‐3748
MARGARITA TIRADO                                 8164 DODIE ST                                                                                  SAN DIEGO        CA    92114‐3415
MARGARITA VARGAS                                 548 STATE ST                                                                                   ADRIAN           MI    49221‐3346
MARGARITO B GONZALES                             36071 DERING PL                                                                                FREMONT          CA    94536‐3468
MARGARITO E ANDRADE                              1245 NO ALESSANDRO                                                                             BANNING          CA    92220‐2213
MARGARITO FRESCAS                                3414 OLIVE ST                                                                                  HUNTINGTON PK    CA    90255‐6420
MARGARITO LEIJA                                  6551 MCCARRAN ST                      APT 1010                                                 N LAS VEGAS      NV    89086‐1450
MARGARITO MARTINEZ & FLORA MARTINEZ JT TEN       2945 BRIDGEPORT AVE                                                                            ANAHEIM          CA    92804‐2049

MARGARITO N MARIN                                33788 SINSBURY WY                                                                              UNION CITY       CA    94587‐3257
MARGARITO R GARCIA                               1416 NIGHTINGALE                                                                               MC ALLEN         TX    78504‐3334
MARGART T LYNCH                                  32 WHITE OAK LANE                                                                              WESTHAMPTON      NY    11978‐1916
                                                                                                                                                BEACH
MARGARTH A HARDY                                 2829 MILLER ROAD                                                                               LINCOLN          MI    48742‐9217
MARGAURITE A CHESLEY                             7807 VICTORIA CIRCLE                                                                           ST LOUIS PARK    MN    55426
MARGE ANN BUNKER                                 2708 EDGEBROOK DRIVE                                                                           LANSING          MI    48906‐3817
MARGE ANN BURDICK REISWITZ                       1920 PERNIN ST                                                                                 MARINETTE        WI    54143‐3448
MARGE ANN WAGGONER                               PO BOX 204                                                                                     WINSLOW          NJ    08095‐0204
MARGE BLUE                                       3024 MCCOY PL NE                                                                               ALBUQUERQUE      NM    87106‐1746
MARGE LABARBERA CUST NORA BENT UTMA NJ           324 COMMON ST                                                                                  BELMONT          MA    02478‐2827
MARGE R ANDERSON                                 6117 ORWELL CIRCLE                                                                             LINCOLN          NE    68516‐2711
MARGEL W ZICKEFOOSE                              7740 OLD STAGE RD                                                                              WAYNESVILLE      OH    45068‐8910
MARGENE N KNIGHT                                 2302 CAVE SPRING RD                                                                            CEDARTOWN        GA    30125‐9304
MARGENE R HOCHSTETTER & BRIAN J HOCHSTETTER JT   30 WILDWOOD DR                                                                                 ROSELLE          IL    60172
TEN
MARGERET J SIMONIS                               119 CLEVELAND AVE                                                                              DEFIANCE         OH    43512‐3469
MARGERET S MITCHELL                              12002 MARGARET DR                                                                              HAGERSTOWN       MD    21742‐4223
MARGERITE A MASON                                C/O M A ADKINS                        17232 VILLAGE DR                                         REDFORD          MI    48240
MARGERY A MCADAM                                 606 MAIN ST                                                                                    VICTOR           IA    52347
MARGERY A THOME                                  C/O M T BLACK                         502 FABLE LN                                             CANTON           GA    30114
MARGERY AILEEN MC ELHENY                         10022 S ARTESIAN AVE                                                                           CHICAGO          IL    60655‐1077
MARGERY ALICE DOBBINS                            24 CORAN CIRCLE                                                                                ROCHESTER        NY    14616‐3449
MARGERY BALL PINKERTON                           3575 NEW MARKET RD                                                                             RICHMOND         VA    23231‐7514
MARGERY BIEL                                     8501 GREENWAY BLVD #105                                                                        MIDDLETON        WI    53562‐3542
MARGERY BIRD                                     3915 SUTTON ROAD                                                                               DRYDEN           MI    48428‐9748
MARGERY C WARREN                                 402 SOUTH MAIN STREET                                                                          SUFFIELD         CT    06078‐2247
MARGERY CAMPBELL                                 4103 BRAEBURN DR                                                                               EUGENE           OR    97405‐2037
MARGERY CARAZZONE                                19375 CYPRESS RIDGE TE 418                                                                     LEESBURG         VA    20176‐5185
MARGERY CASE VAN FLEET                           3 FAIRVIEW DR                                                                                  FLEMINGTON       NJ    08822‐4533
MARGERY E WEST                                   226 BEECHWOOD AVE                                                                              LIVERPOOL        NY    13088‐6404
MARGERY F DAVIS                                  RR 1 BOX 36AA                                                                                  QUEEN CITY       MO    63561‐9798
MARGERY F SWIFT                                  126 WEEDEN DRIVE                                                                               E GREENWICH      RI    02818‐4529
MARGERY FROST                                    318 ALICIA RD                                                                                  EAST MILLSBORO   PA    15433‐1251
MARGERY GERMAIN CUST LAUREN GERMAIN UGMA NY      15 BANK ST                            APT 102I                                                 WHITE PLAINS     NY    10606

MARGERY H MELLER                                 508 W MORNINGSIDE DRIVE                                                                        BURLINGTON       IA    52601‐1679
MARGERY HENRICKSON TR MARGERY HENRICKSON         9S175 NANTUCKET DR                                                                             DARIEN           IL    60561
TRUST UA 9/18/01
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MARGERY INKELES                                24 CRESTWOOD TRAIL                                                                                  SPARTA          NJ    07871‐1633
MARGERY J LYMAN TR UA 08/04/78 MARGERY J LYMAN 2944 GREENWOOD ACRES DRIVE                                                                          DEKALB          IL    60115‐4949
TRUST
MARGERY J O'NEIL                               300 W OAK STREET                                                                                    VASSAR          MI    48768‐1226
MARGERY J SHADE                                5416 LANDAU DR APT 8                                                                                KETTERING       OH    45429‐5449
MARGERY JEAN DONAHUE TR UA 05/01/86 MARGERY    7686 CHAPEL CREEK PKWY NORTH                                                                        CORDOVA         TN    38016‐2848
JEAN DONAHUE TRUST
MARGERY K BORRELL                              4476 LAKESHORE TER                                                                                  EAGAN           MN    55122‐2474
MARGERY K STUMPF                               2943 BAHIA DR                                                                                       SPRINGFIELD     OH    45503
MARGERY L KARLIN & PAUL A KARLIN JT TEN        6514 ROOSEVELT ST                                                                                   FALLS CHURCH    VA    22043‐1917
MARGERY L WICKERS                              10601 CUNOT CATARACT RD                                                                             POLLAND         IN    47868‐8501
MARGERY M GRIEP                                31512 W CHICAGO                                                                                     LIVONIA         MI    48150‐2827
MARGERY M KINNIKIN                             770 SPRING LANE                                                                                     YORK            PA    17403‐3416
MARGERY M PAYNE                                2401 E EXPRESSWAY 83                                                                                WESLACO         TX    78596
MARGERY NOBEL & SANFORD NOBEL TR MARGERY       163 HIDDEN RIDGE CMN                                                                                BUFFALO         NY    14221
NOBEL LIVING TRUST UA 11/1/97
MARGERY OSTERHOUDT & DONALD OSTERHOUDT JT      120 N DEWITT WAY                                                                                    YREKA           CA    96097‐2202
TEN
MARGERY P STODDART                             107 WESTGATE ROAD                                                                                   WELLESLEY       MA    02481‐2534
MARGERY ROSE PAULL TOD KATHY MAE FOUTS SUBJECT 148 INDIAN CITY RIDGE CR                                                                            MICHIGAN CITY   IN    46360
TO STA TOD RULES
MARGERY STAUGUS TR STAUGUS FAMILY TRUST UA     1113 26TH STREET                           APT 8                                                    SANTA MONICA    CA    90403‐4637
04/24/98
MARGERY STONE                                  3810 S MISSION HILLS ROAD                                                                           NORTHBROOK      IL    60062‐5741
MARGERY TAVALARO                               114 GEORGIA ST                                                                                      CLARK           NJ    07066‐1128
MARGERY W BAERWALD & SUSAN M BAERWALD JT TEN 8365 BIG BEND                                                                                         SAINT LOUIS     MO    63119‐3137

MARGERY WILSON DISANTO                           48‐58 210TH STREET                                                                                BAYSIDE         NY    11364‐1138
MARGHERITA L MURATORE                            339 HIGHLAND AV                                                                                   BELLEVUE        OH    44811‐1939
MARGHERITA TARTAGLIA                             14030 RIGA                                                                                        LIVONIA         MI    48154‐4677
MARGIE A ADAMS                                   2832 CHESTER WAY                                                                                  DECATUR         GA    30030‐4713
MARGIE A ADAMS & MICHAEL E ADAMS JT TEN          2832 CHESTER WAY                                                                                  DECATUR         GA    30030‐4713
MARGIE A ARGUELLES                               PO BOX 1648                                                                                       OCEAN SPRINGS   MS    39565‐9088
MARGIE A ARGUELLES & GLEN J ARGUELLES JT TEN     PO BOX 1648                                                                                       OCEAN SPRINGS   MS    39566

MARGIE A KINSLOW                                 7361 S EUDORA WAY                                                                                 LITTLETON       CO    80122‐2438
MARGIE A MESHELL                                 447 BURFORD RD                                                                                    STONEWALL       LA    71078‐9699
MARGIE A THOMPSON                                9693 SOUTH CEDAR DRIVE                                                                            WEST OLIVE      MI    49460‐9637
MARGIE A YURTINUS                                13263 DON LOOP                                                                                    SPRING HILL     FL    34609‐7904
MARGIE ANN ARNOULD                               161 LATTING ST APT                                                                                MONTROSE        MI    48457‐9792
MARGIE ANTHONY                                   509 WORLEY RD                                                                                     DEXTER          MO    63841
MARGIE B SIMS                                    37 FREEDOM DR                                                                                     PARKERSBURG     WV    26101‐8506
MARGIE BOCK                                      PO BOX 153                                                                                        ALLEN           NE    68710‐0153
MARGIE BURTON                                    4200 MINDEN RD                                                                                    MEMPHIS         TN    38117‐1608
MARGIE D SAMUEL                                  10419 DUPREY                                                                                      DETROIT         MI    48224‐1225
MARGIE E FLEMING                                 7126 BRUNSWICK RD                                                                                 ARLINGTON       TN    38002‐9608
MARGIE E GEARY                                   3084 S 350 W                                                                                      KOKOMO          IN    46902‐9556
MARGIE E PIERCE                                  4748 6TH ST                                                                                       CALEDONIA       MI    49316‐9209
MARGIE F JACKSON                                 2226 WHITTIER STREET                                                                              SAGINAW         MI    48601‐2280
MARGIE F JOHNSON                                 1979 BAR HARBOR RD                                                                                COLUMBUS        OH    43219‐1382
MARGIE F JOHNSON & MICHAEL R HARGREAVES JT TEN   508 E COLFAX                                                                                      MISHAWAKA       IN    46545‐6231

MARGIE H ROBERTS                                 6211 GLENFIELD DRIVE                                                                              FAIRWAY         KS    66205‐3437
MARGIE H THOMPSON                                5417 STATE ST                                                                                     QUINCY          IL    62305‐0412
MARGIE H VERBAL CUST ANDREA B VERBAL UGMA MI     6607 RUSTIC RIDGE TRAIL                                                                           GRAND BLANC     MI    48439‐4952

MARGIE J ALLOWAY                                 7 HOLIDAY LANE                                                                                    CHATTANOOGA     TN    37415‐1729
MARGIE J DAVIDSON                                117 BUCK LN                                                                                       HAVERFORD       PA    19041‐1104
MARGIE J HOUFF                                   14925 CRYSTAL VALLEY RD                                                                           LITTLE ROCK     AR    72210‐3803
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Name                                           Address1                               Address2             Address3          Address4          City              State Zip

MARGIE J MARION                                4412 GENESEE AVE                                                                                DAYTON            OH    45406‐3215
MARGIE J SCANNELL                              7551 ARBELA RD                                                                                  MILLINGTON        MI    48746‐9525
MARGIE K DAHLE                                 817 N VERMONT                                                                                   ROYAL OAK         MI    48067‐2023
MARGIE K HINNERS                               3132 S 200 E                                                                                    ANDERSON          IN    46017‐9563
MARGIE KATHRYN BOLES                           1058 S PEACHTREE ST                                                                             NORCROSS          GA    30071‐2215
MARGIE KEENAN                                  919 SE 5TH PL                                                                                   CAPE CORAL        FL    33990‐2816
MARGIE KING MARTIN                             C/O CAROLYN LAHR OTT                   WAGUESPACK AND OTT   PO BOX 777                          WALKER            LA    70785‐0777
MARGIE KISTLER CUST JOHN KISTLER UGMA PA       144 SOUTH LAUREL ST                                                                             HAZLETON          PA    18201‐6926
MARGIE KISTLER CUST MARY KISTLER UGMA PA       144 SOUTH LAUREL ST                                                                             HAZLETON          PA    18201‐6926
MARGIE L BAKER                                 210 HURT ST                                                                                     COLUMBIA          KY    42728‐1318
MARGIE L COLEMAN                               854 GALAXY COURT                                                                                CINCINNATI        OH    45224
MARGIE L KUTTENKULER TOD WILLIAM KUTTENKULER   JULIE KOECHNER                         PO BOX 3                                                 TIPTON            MO    65081‐0003
DANIEL KUTTENKULER
MARGIE L MACE                                  3148 VILLAS DR S                                                                                KOKOMO            IN    46901‐7061
MARGIE L PALMER                                514 BALDWIN AVE                                                                                 NILES             OH    44446‐3623
MARGIE L PARKER                                20308 PARKVILLE                                                                                 LIVONIA           MI    48152‐2063
MARGIE L ROSE                                  600 TURTLE CREEK DRIVE                                                                          CHOCTAW           OK    73020‐7431
MARGIE L SAXON & DAN R WEDGE JT TEN            9348 DEER CREEK CT                                                                              BRIGHTON          MI    48116
MARGIE L SOWELL                                3507 N JOHN REDDITT DR                 APT 134                                                  LUFKIN            TX    75904‐1685
MARGIE L STINNETT                              1813 CRESTBROOK                                                                                 FLINT             MI    48507‐5336
MARGIE L YOUNGBLOOD                            291 BURNETTE TRL                                                                                SUGAR HILL        GA    30518‐5651
MARGIE LEE                                     PO BOX 952                                                                                      GILMER            TX    75644‐0952
MARGIE LYNNE MC DONALD JOHNSON                 214 LONG MEADOW DR                                                                              ROME              GA    30165‐1248
MARGIE M DELANEY                               ATTN MARGARET M DOMINIACH              17 ELMWOOD LANE                                          FAIR HAVEN        NJ    07704‐3607
MARGIE M HANSEN TR MARGIE M HANSEN TRUST UA    37149 MAPLE ST                                                                                  FREMONT           CA    94536‐4844
06/19/02
MARGIE M KELLY                                 9131 FORRISTER ROAD                                                                             ADRIAN         MI       49221‐9462
MARGIE M MESSERSMITH                           7087 RAILROAD FLAT RD                                                                           MOUNTAIN RANCH CA       95246‐9736

MARGIE M MORRISON                              1216 RALPH ST                                                                                   GARDEN CITY       MI    48135‐1129
MARGIE M SUMMERS                               635 HIGH ST                                                                                     ELVRIA            OH    44035‐3149
MARGIE MAE SWEENEY                             19308 CHAPEL STREET                                                                             DETROIT           MI    48219‐1900
MARGIE MING                                    216 12TH AVENUE SW                                                                              SIDNEY            MT    59270‐3616
MARGIE N ARRINGTON                             PO BOX 1431                                                                                     TUPELO            MS    38802‐1431
MARGIE N THOMPSON                              PO BOX 1431                                                                                     TUPELO            MS    38802‐1431
MARGIE NOBLE                                   5110 VIA EL MOLINO                                                                              NEWBURY PARK      CA    91320‐6996
MARGIE P CONNERS                               4600 FAYETTE COURT                                                                              DAYTON            OH    45415
MARGIE P ROBERTSON                             7645 CHUBB RD                                                                                   NORTHVILLE        MI    48167‐9609
MARGIE P SHAW                                  655 INGLEWOOD                                                                                   PONTIAC           MI    48340‐2310
MARGIE R RAYFIELD                              3226 S LANDSDOWNE DR                                                                            WILMINGTON        DE    19810‐3449
MARGIE R STEPHENS                              1608 BIRCH RD                                                                                   HARRISON          MI    48625‐8641
MARGIE REISWITZ                                1920 PERNIN ST                                                                                  MARINETTE         WI    54143‐3448
MARGIE S CANNON TR UA 07/29/08 MARGIE S CANNON 8036 AMERICAN LEGION RD                                                                         ABBEVILLE         GA    31001‐5927
REV LIVING TRUST
MARGIE STINSON                                 25 GEORGETOWN CT                                                                                DEARBORN          MI    48126‐3400
MARGIE SUE BUSH                                1291 FAIRGREEN AVE                                                                              LIMA              OH    45805‐4401
MARGIE T HOUSTON                               3729 WASHINGTON AVE                                                                             BEDFORD HEIGHTS   IN    47421‐5619

MARGIE V MC MACKEN                             1895 CHERRY BROOK PL                                                                            REYNOLDSBURG      OH    43068‐3259
MARGIE WOJCIECHOWSKI                           26270 HOFFMEYER                                                                                 ROSEVILLE         MI    48066
MARGINE MOUL                                   2512 DANVERS COURT                                                                              COLUMBUS          OH    43220‐2822
MARGIT COMER                                   5250 COLUMBIA RD APT 626                                                                        N OLMSTED         OH    44070‐3570
MARGIT TOMPA                                   8900 PERRIN ST                                                                                  LIVONIA           MI    48150
MARGITA L KAY                                  8401 ABBEY RD                                                                                   RICHMOND          VA    23235‐2505
MARGITH R PACHL & ANNA J PACHL JT TEN          6511 N NORTHWEST HIGHWAY                                                                        CHICAGO           IL    60631‐1425
MARGO A CLEMINSON CUST CHRISTOPHER M           7508 ST JOHN ST                                                                                 SHELBY TOWNSHIP   MI    48317‐4345
CLEMINSON UGMA MI
MARGO A CLEMINSON CUST NATHANIEL J CLEMINSON   7508 ST JOHN STREET                                                                             SHELBY TOWNSHIP   MI    48317‐4345
UGMA MI
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Name                                            Address1                                Address2              Address3         Address4          City             State Zip

MARGO A LALLO                                   10916 HESBY ST                                                                                   NORTH            CA    91601‐4609
                                                                                                                                                 HOLLYWOOD
MARGO A MCCORD                              4847 JENNIE WREN CT N                       APT D                                                    COLUMBUS         OH    43229‐5654
MARGO A MURRAY                              2320 S MURRAY RD # RR5                                                                               JANESVILLE       WI    53548‐9261
MARGO ANN NOVAK                             100 HARVARD ST                                                                                       ROCHESTER        NY    14607‐3115
MARGO C CAMPBELL                            154 ASHBROOK CIRCLE                                                                                  WEBSTER          NY    14580
MARGO E DAVIS                               1808 BRAEWICK DR                                                                                     MARION           IN    46952‐2480
MARGO GRAMLING                              316 EAST POPLAR LANE                                                                                 NEW LENOX        IL    60451‐1451
MARGO H DOSKI                               30830 CRYSTALAIRE DR                                                                                 TEMECULA         CA    92591‐3913
MARGO H NOVAK                               100 HARVARD ST                                                                                       ROCHESTER        NY    14607‐3115
MARGO J PAULDING                            884 N LAKE CLAIR CIR                                                                                 OVIEDO           FL    32765‐8492
MARGO KAY BONEBRAKE CUST AMY KAY BONEBRAKE  3307 AUTUMN FOREST DR                                                                                PEARLAND         TX    77584‐7105
UGMA IL
MARGO L ISAACS                              175 SHUEY DRIVE                                                                                      MORAGA           CA    94556‐2518
MARGO L THORN                               906 BROOKHOLLOW DR                                                                                   PORT LAVACA      TX    77979‐2111
MARGO LYNN REGAS                            2549 BREWESTER ROAD                                                                                  INDIANAPOLIS     IN    46268‐1356
MARGO M DAVIS                               23300 E FAIRWAY DR                                                                                   WOODHAVEN        MI    48183‐3105
MARGO M LOCAPUTO CUST JOHN LOCAPUTO UTMA OH 2783 COUNTRY LAKE DR                                                                                 CINCINNATI       OH    45233‐1734

MARGO M MCGAFFEY                                4100 HI HILL                                                                                     LAPEER           MI    48446‐2864
MARGO O'CONNOR                                  90 LINDA ISLE                                                                                    NEWPORT BEACH    CA    92660‐7209
MARGO R TURPENING                               48 CLARK RD                                                                                      ANDOVER          MA    01810‐5602
MARGO STRICKER                                  APT 19‐H                                110‐11 QUEENS BLVD                                       FOREST HILLS     NY    11375‐5407
MARGOT A MC KEE                                 PO BOX 37                                                                                        WESTTOWN         PA    19395‐0037
MARGOT A SMITH                                  135 PAUL DR                                                                                      AMHERST          NY    14228‐1340
MARGOT B GORDON GDN ELIZABETH E SCHIFF          161W 86TH STREET APT 6A                                                                          NEW YORK         NY    10024‐3411
MARGOT B LASDUN                                 110 BENNETT AVE                                                                                  NEW YORK         NY    10033‐2308
MARGOT B SEMONIAN                               66 MAYFLOWER TERR                                                                                SOUTH YARMOUTH   MA    02664‐1117

MARGOT CASSIDY CUST MICHAEL A CASSIDY UTMA WI   9727 S MILLARD                                                                                   EVERGREEN PARK   IL    60805‐2912

MARGOT E BOERGER & ROLAND F BARGER JT TEN       33875 KIELY DR                          RM 118                                                   CHESTERFIELD     MI    48047‐4449
MARGOT E DROOP                                  25 HIGH ST                                                                                       ARMONK           NY    10504‐1223
MARGOT ELLEN ROGOFF                             301 E 78TH ST APT 3D                                                                             NEW YORK         NY    10021‐1323
MARGOT G KITTREDGE                              C/O KITTY P SMITH                       9184 MAIDSTONE ROAD                                      DELAPLANE        VA    20144‐2207
MARGOT J ROBINSON                               115 LAKEVIEW DR                         PO BOX 387                                               EASLEY           SC    29641‐0387
MARGOT J THOMAS                                 4113 MALLARD DR                                                                                  SAFETY HARBOR    FL    34695‐4818
MARGOT L SMITH                                  15836 LINNHURST                                                                                  DETROIT          MI    48205
MARGOT NATOWITZ & ALLEN NATOWITZ JT TEN         1857 WEST 10TH ST                                                                                BROOKLYN         NY    11223‐2552
MARGOT O SCHWEIGHOFER                           133 BAYBERRY HILL ROAD                                                                           RIDGFIELD        CT    06877‐6002
MARGOT R LIBA                                   888 LAKEVILLE RD                                                                                 LEONARD          MI    48367‐3400
MARGOT REED                                     198 ARLINGTON ST                                                                                 ACTON            MA    01720‐2409
MARGOT ROTHSCHILD & JACOB FRED ROTHSCHILD JT    1615 AVE I #415                                                                                  BROOKLYN         NY    11230
TEN
MARGOT S LEWIS                                  540 MORAY WAY                                                                                    PATTERSON        CA    95363‐9136
MARGOT SETCHEN ROTEN                            19 MURRAY ST                                                                                     HAMDEN           CT    06514‐4422
MARGOT SUMMERHILL                               71 ALFRED STONE RD                                                                               PAWTUCKET        RI    02860‐6111
MARGOT T ZABLAN                                 5352 SANTA CATALINA AVE                                                                          GARDEN GROVE     CA    92845‐1024
MARGOT TANNENWALD                               4395 BROADWAY                           APT 2A                                                   NEW YORK         NY    10040‐4027
MARGOT TIVY CASSEL                              7501 N NEBO RD                                                                                   MUNCIE           IN    47304‐9068
MARGOT VALENTINE MORRISON                       72‐334 BARBARA DR                                                                                RANCHO MIRAGE    CA    92270‐4910
MARGOT WONG & MAY JEN DEA WONG JT TEN           PO BOX 1926                                                                                      HUMBLE           TX    77347‐1926
MARGREE ALEXANDER                               1219 SOMERSET LANE                                                                               FLINT            MI    48503‐2924
MARGREE HAMBRICK                                1910 W PIERSON RD                       APT 173                                                  FLINT            MI    48504‐1969
MARGRET DE SIO CUST MARIA DE SIO UTMA IA        4400 BEL AIRE RD                                                                                 DES MOINES       IA    50310‐3783
MARGRET J GEORGE                                3907 TANGLEWOOD                                                                                  BRYAN            TX    77802‐4130
MARGRET J MUNDHENK TR UA 07/03/03               543 LAKE AUGUST DR                                                                               LAKE PLACID      FL    33852‐4024
MARGRET L GREGORY                               3924 RHINE CT                                                                                    ST CHARLES       MO    63304‐1465
MARGRET SAILOR                                  PO BOX 272                                                                                       CAMERON          WI    54822‐0272
                                            09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                                Address2             Address3          Address4          City              State Zip

MARGUARITE A PLUMMER                            707 RIVERSIDE PINES CT                                                                           SALISBURY         MD    21801‐6727
MARGUARITE BISHOP BARTLETT                      1619 VINCENT CT                                                                                  NAPERVILLE        IL    60564‐6152
MARGUARITE LEE CUST JESSICA JOYCE LIM UTMA CA   9842 BIG SUR DRIVE                                                                               HUNTINGTON        CA    92646‐5310
                                                                                                                                                 BEACH
MARGUARITE ZELLER                               BOX 42503                                                                                        PHOENIX           AZ    85080‐2503
MARGUERITA DELUCA                               20 E 9TH ST APT 17‐E                                                                             NEW YORK          NY    10003‐5944
MARGUERITA E BAIER                              502 RIVERSIDE DR                                                                                 BALTIMORE         MD    21221‐6832
MARGUERITA GOGGINS                              613 WINTERS EAVE                                                                                 FLUSHING          MI    48433‐1946
MARGUERITA WEBER                                898 HORNBY RD                                                                                    BEAVER DAMS       NY    14812‐9747
MARGUERITE A AULBERT                            4320 E MILLINGTON RD                                                                             MILLINGTON        MI    48746‐9005
MARGUERITE A DAHMS & OSCAR A DAHMS JR JT TEN    22 W 428 BALSAM DRIVE                                                                            GLEN ELLYN        IL    60137‐7306

MARGUERITE A FLETT                              PO BOX 3201                                                                                      GLENWOOD          CO    81602‐3201
                                                                                                                                                 SPRINGS
MARGUERITE A KESSLER                           319 DEER XING                                                                                     TODD              NC    28684‐9060
MARGUERITE A METCALF                           95 BALLINGER DRIVE                                                                                YOUNGSVILLE       NC    27596‐7626
MARGUERITE A MODRYCKI                          567 KENTUCKY DR                                                                                   ROCHESTER HILLS   MI    48307‐3736
MARGUERITE A NEUMAN                            24358 LA MASINA CT                                                                                CALABASAS         CA    91302‐1402
MARGUERITE A NOVESS                            2344 CRESCENT LAKE ROAD                                                                           WATERFORD         MI    48329
MARGUERITE A WHITE                             2144 SOUTH OLDGATE RD                                                                             SANDUSKY          OH    44870‐5165
MARGUERITE A ZICCARDI                          109 LUCKETT ST                                                                                    ROCKVILLE         MD    20850‐1846
MARGUERITE AGI                                 124 ANDREWS ROAD                                                                                  DEWITT            NY    13214‐2417
MARGUERITE ANELLO                              17 ASHLEY CIRCLE                                                                                  COMMACK           NY    11725
MARGUERITE B CARLISLE                          3112 AMHERST AVENUE                                                                               COLUMBIA          SC    29205‐1804
MARGUERITE B CARROLL                           6952 STANDING BOY RD                                                                              COLUMBUS          GA    31904‐2226
MARGUERITE B YOUNG                             75 HEATHER DR S                                                                                   MANTUA            NJ    08051
MARGUERITE BELANGER                            816 BIRCH DRIVE                                                                                   NORMAN            OK    73072‐7011
MARGUERITE BERNIER & CAROL DOSEN JT TEN        4040 E 107TH ST                                                                                   CHICAGO           IL    60617‐6802
MARGUERITE BOVA                                510 S EAST ST                                                                                     INDIANAPOLIS      IN    46225‐1314
MARGUERITE BOZEMAN CHERRY                      352 SANDEFUR PL                                                                                   SHREVEPORT        LA    71105‐3246
MARGUERITE BRECKENRIDGE & BARBARA HATFIELD JT 1 TYLER ST                                                                                         MONTGOMERY        NY    12549‐1609
TEN
MARGUERITE BRECKENRIDGE & JANICE DOOGAN JT TEN 1 TYLER ST                                                                                        MONTGOMERY        NY    12549‐1609

MARGUERITE BRISTOW & MISS DOROTHY CARROLL     803 HAMDER WAY                                                                                     NEWPORT NEWS      VA    23602‐9607
SCOTT JT TEN
MARGUERITE BROUGHMAN & JAMES R BROUGHMAN JT 135 LEVANDER BLOOM LOOP                     MOORIESVILLE                                             MOORESVILLE       NC    28115
TEN
MARGUERITE C ALEXEE                           1020 W PERRY ST                           APT 802                                                  SALEM             OH    44460‐3581
MARGUERITE C ARO                              10064 N CHURCH DR #805                                                                             PARMA HEIGHTS     OH    44130‐4066
MARGUERITE C MCGOLDRICK & DONALD D            1450 BLACK ROCK ROAD                                                                               SWARTHMORE        PA    19081‐2828
MCGOLDRICK JT TEN
MARGUERITE C MILLIS & FRANCIS P MILLIS JT TEN 5702 LANGMORE LN                                                                                   ERIE              PA    16505‐1130
MARGUERITE C QUINN                            PO BOX 633                                                                                         SEA ISLE CITY     NJ    08243‐0933
MARGUERITE C STARNES                          1675 ROOSEVELT AVE                                                                                 NILES             OH    44446‐4107
MARGUERITE C WALTER                           51226 RANGE RD 271                        SPRUCE GROVE AB                        T7Y 1H1 CANADA
MARGUERITE C WALTER                           51226 RANGE RD 271                        SPRUCE GROVE AB                        T7Y 1H1 CANADA
MARGUERITE CRUM ZOGHBY                        2208 SPRINGHILL AVENUE                                                                             MOBILE            AL    36607
MARGUERITE D LANG                             C/O MARGUERITE OAKES                      1626 7TH AVE SE                                          OLYMPIA           WA    98501‐1706
MARGUERITE D MARTIN                           11886 TECUMSEH RD APT 407                 TECUMSEH ON                            N8N 3C2 CANADA
MARGUERITE DIGGS                              5006 CLIFTON AVE                                                                                   GWYNN OAK         MD    21207‐6528
MARGUERITE E BURTON & RICHARD V BENHAM JT TEN 6153 NORTH MASTERS ROAD                                                                            CORAL             MI    49322‐9719

MARGUERITE E ELLERSON                           13550 S VILLAGE DR                      APT 114                                                  TAMPA             FL    33618‐8440
MARGUERITE E GRAHAM                             129 GRACELINE                                                                                    WATERLOO          IA    50701‐4117
MARGUERITE E JAKOBSON & MARK J JAKOBSON TEN     3000 QUEEN ST                                                                                    MISSOULA          MT    59801‐8651
COM
MARGUERITE E POTTENGER                          2406 S DORSEY LANE                                                                               TEMPE             AZ    85282‐2615
MARGUERITE E SHANNON                            14 STRABANE CT                                                                                   BALTIMORE         MD    21234‐1609
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MARGUERITE E SMITH                               29536 INDEPENDENCE AVE                                                                             BIG PINE KEY    FL    33043‐3218
MARGUERITE E TRUXTON                             4448 WILTSHIRE                                                                                     HOWELL          MI    48843‐6620
MARGUERITE E VON TWISTERN                        592 MAYWOOD AVE                                                                                    MAYWOOD         NJ    07607‐1506
MARGUERITE E WOLF                                16 BEECHWOOD RD                                                                                    BELVIDERE       NJ    07823‐2534
MARGUERITE ELLIS KUTZ                            BOX 151                                                                                            PASKENTA        CA    96074‐0151
MARGUERITE ELLIS KUTZ CUST ROY ELLIS KUTZ UGMA   PO BOX 151                                                                                         PASKENTA        CA    96074‐0151
CA
MARGUERITE F MILLER CUST ROBERTA D MILLER UGMA   148 MERRYBROOK DR                                                                                  HAVERTOWN       PA    19083‐1037
PA
MARGUERITE G GRAVOIS                             1332 BECKENHAM DRIVE                                                                               BATON ROUGE     LA    70808
MARGUERITE G YOUNG                               68 DEER TRAIL                                                                                      RAMSEY          NJ    07446‐2110
MARGUERITE GARDELLA JENNINGS                     17 WYNDHAM ST                                                                                      LADERA RANCH    CA    92694‐0251
MARGUERITE GATLING                               10133 S HALSTED                                                                                    CHICAGO         IL    60628‐1814
MARGUERITE H JUNOR & BRUCE B JUNOR & JOSEPHINE   1342 APSLEY ROAD                                                                                   SANTA ANA       CA    92705‐2330
M PARKER JT TEN
MARGUERITE H SODERMAN                            1314 QUAIL RUN                                                                                     SAVOY           IL    61874‐9680
MARGUERITE H ZABRISKIE‐PONTE                     10069 NORTH 107TH ST                                                                               SCOTTSDALE      AZ    85258
MARGUERITE I GORDON & PAMELA J HEATH JT TEN      1700 EDSON RD                                                                                      HARRISON        MI    48625

MARGUERITE J TUDOR                               1305 RED BIRD CT                                                                                   KOKOMO          IN    46902‐5825
MARGUERITE K BEAUFFORD                           7180 PEACE CHIMES CT                                                                               COLUMBIA        MD    21045‐5238
MARGUERITE K GALLER                              2900 LAKE GEORGE                                                                                   OAKLAND         MI    48363‐2138
MARGUERITE KRUPP                                 34 COUNTRYSIDE LANE                                                                                NORWOOD         MA    02062‐1731
MARGUERITE L BATES TR KARL J BATES SR TRUST UA   325 LAWRENCE ST                                                                                    SANDUSKY        OH    44870‐2317
03/25/96
MARGUERITE L BISHOP                              1135 NORSAM RD                                                                                     GLADWYNE         PA   19035‐1419
MARGUERITE L DURK                                1001 BONIFACE PKWY 12L                                                                             ANCHORAGE        AK   99504‐1646
MARGUERITE L GARDNER                             3 VILLA ST                                                                                         MERIDEN          CT   06451‐6235
MARGUERITE L GOSS                                160 WOODCREST DR                                                                                   MARTINSVILLE     IN   46151‐8075
MARGUERITE L KADLEC                              1521 S WEBSTER                                                                                     KOKOMO           IN   46902‐2047
MARGUERITE L KELLEY                              10516 BEACHWALK                                                                                    LAS VEGAS        NV   89134‐1392
MARGUERITE L MELLOW                              4201 SHAWNEE AVE                                                                                   FLINT            MI   48507‐2867
MARGUERITE L OCHADLEUS                           37957 ROSEDALE DR                                                                                  CLINTON TOWNSHIP MI   48036‐3900

MARGUERITE LOPTOSKY                              39769 MOUNT ELLIOTT DR                                                                             CLINTON TWP     MI    48038‐4041
MARGUERITE M CARE‐CAPANNARI & JOHN G             2570 VILLA LANE                                                                                    CINCINNATI      OH    45208‐1121
CAPANNARI JT TEN
MARGUERITE M DIEGEL                              87 CEDER ST                                                                                        BRAINTREE       MA    02184‐1846
MARGUERITE M FARRIS                              541 FISK AVE                                                                                       MOBERLY         MO    65270‐1603
MARGUERITE M GANLEY                              205 E BODMAN                                                                                       BEMENT          IL    61813‐1203
MARGUERITE M JENKINS UNDER GUARDIANSHIP OF       ATTN MARGUERITE JENKINS BALDUS         217 WASHINGTON AVE                                          LA PLATA        MD    20646‐4256
LOUIS P JENKINS
MARGUERITE M KING                                129 PATTON AVE                                                                                     DAYTON          OH    45427‐2938
MARGUERITE M PICARD                              58 WINTHROP ST                                                                                     AUGUSTA         ME    04330‐5547
MARGUERITE M SIMPSON                             4451 MORIN BLVD                        RAWDON QC                                 J0K 1S0 CANADA
MARGUERITE M SLY                                 351 MALDINER AVE                                                                                   TONAWANDA       NY    14150‐6264
MARGUERITE MC DONAGH TR MC DONAGH LIVING         4 WOODHILL PATH                                                                                    NISSEQUOGUE     NY    11780‐3918
TRUST UA 1/17/06
MARGUERITE MCGLAMERY                             22830 US HIGHWAY 80 E                                                                              STATESBORO      GA    30461‐6822
MARGUERITE MOLENDA                               1925 HARDEN BLVD #128                                                                              LAKELAND        FL    33803
MARGUERITE MOORE & CHARLOTTE JAMES JT TEN        1040 EAST 33RD STREET                  APT # 318                                                   BALTIMORE       MD    21218
MARGUERITE P BOSNIAN                             46 PUTNAM ROAD                                                                                     READING         MA    01867‐1741
MARGUERITE P CADIEUX                             183 LEXINGTON AVE                                                                                  PROVIDENCE      RI    02907‐1707
MARGUERITE P JUSTICE                             1607 E 43RD ST                                                                                     ANDERSON        IN    46013‐2509
MARGUERITE PEEPLES CLINE                         225 HOLLAND FORD RD                                                                                PELZER          SC    29669‐9266
MARGUERITE PIERCE                                84 N ANDERSON ST                                                                                   PONTIAC         MI    48342‐2902
MARGUERITE PIERCE & MICHAEL J PIERCE JT TEN      84 N ANDERSON ST                                                                                   PONTIAC         MI    48342‐2902
MARGUERITE R LINDNER                             92 MARIAN DR                                                                                       TONAWANDA       NY    14150‐8151
MARGUERITE R STUTZ                               707 BOSTON POST RD                     WESTON MASS          707 BOSTON POST RD                     WESTON          MA    02498
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MARGUERITE R WHITNEY & STEVEN R WHITNEY JT TEN        4116 OLD ROUTT RD                                                                                LOUISVILLE         KY    40299‐4926

MARGUERITE ROACH TR ROACH TRUST UA 11/29/95           10873 SW CANDLEWOOD RD                                                                           PORT ST LUCIE      FL    34987‐2140

MARGUERITE ROSS                                       PO BOX 133                                                                                       KEMPTON          IN      46049‐0133
MARGUERITE ROSS                                       PO BOX 133                                                                                       KEMPTON          IN      46049‐0133
MARGUERITE ROSSI                                      20 MULLIGAN LANE                                                                                 IRVINGTON        NY      10533‐1106
MARGUERITE S BUCKLEY                                  31 STAPLES ST #114                                                                               DANBURY          CT      06810‐5323
MARGUERITE S DEES                                     158 HOLCOMB DR                                                                                   RAEFORD          NC      28376‐5400
MARGUERITE SAUNDERS                                   7834 PAGE BVD                                                                                    SAINT LOUIS      MO      63133
MARGUERITE SHERIDAN & NEIL SHERIDAN JT TEN            720 WASHINGTON                                                                                   CADILLAC         MI      49601‐2043
MARGUERITE T DOWNEY                                   39 S TALLAHASSEE AVE                                                                             ATLANTIC CITY    NJ      08401‐5620
MARGUERITE T MAILLER                                  PO BOX 180                                                                                       MONROE           NY      10950‐0180
MARGUERITE T SLANCO                                   2355 DAMON DR                                                                                    COLORADO SPRINGS CO      80918‐7830

MARGUERITE THERIAULT CUST JOSEPH ROBERT UGMA          20 ANDERSON AVE                                                                                  WATERBURY          CT    06708‐4010
CT
MARGUERITE V WILLIAMS                                 700 RALSTON AVE APT 97                                                                           DEFIANCE           OH    43512‐1568
MARGUERITE VAN NESS TR MARGUERITE VAN NESS            717 WEBSTER ST                                                                                   ALGONQUIN          IL    60102‐3033
TRUST UA 09/21/00
MARGUERITE W ATCHER                                   6912 WYTHE HILL CIRCLE                                                                           PROSPECT           KY    40059‐9401
MARGUERITE W EZELL                                    2993 MALVERN HILL DR                                                                             MACON              GA    31204‐1552
MARGUERITE W MOSS                                     2495 S QUEBEC #16                                                                                DENVER             CO    80231‐6067
MARGUERITE W PAUL & WILLIAM C WAGNER JT TEN           1105 PINE BLUFF DR                                                                               PASADENA           CA    91107‐1753

MARGUERITHE C KERR                                    616 BARBER RD                                                                                    NEWARK VALLEY      NY    13811‐2241
MARGUERITTE T MC CARTNEY                              434 BAYOU CLEAR RD                                                                               WOODWORTH          LA    71485‐9509
MARGUERTIE S PRESNELL TR MARGUERITE S PRESNELL        704 GREEN CIR #105                                                                               ROCHESTER          MI    48307‐6603
LIV TRUST UA 10/17/97
MARGURITE M RUSSELL                                   4600 ALLEN RD                           APT 810                                                  ALLEN PARK         MI    48101‐2772
MARGY A HOLBROOK & CHERYL L ROBINSON JT TEN           3503 BENMARK PL                                                                                  FLINT              MI    48506

MARHK R CARTER                                        2110 WINANS                                                                                      FLINT              MI    48503‐5825
MARHTA C JOHNSON & NORMAN JOHNSON JT TEN              4328 RUTGERS DR                                                                                  ANDERSON           IN    46013‐4439

MARI A SMITH                                          1173 KENNETH RD                                                                                  ALGER              MI    48610‐9340
MARI ANN COLE CUST MARJORI ANN COLE UGMA NY           19 NIEWOOD DR                                                                                    RIDGE              NY    11961‐3102

MARI ANN COLE CUST MICHAEL JOHN COLE UGMA NY          19 NIEWOOD DR                                                                                    RIDGE              NY    11961‐3102

MARI BARNETT CUST ALEXANDRA BARNETT UTMA MI           1400 ECHO LANE                                                                                   BLOOMFIELD HILLS   MI    48302‐1939

MARI C JALBING TR JOHN & LILLI JABLING JT REV TRUST   1846 EAST SHELBY ST                                                                              SEATTLE            WA    98112‐2022
UA 08/29/95
MARI KEVORKIAN TR UA 06/11/90 MARI KEVORKIAN          9000 40TH ST                                                                                     PINELLAS PARK      FL    33782‐5622
TRUST
MARI LIANN BAKER                                      116 SANTA CRUZ AVE                                                                               WEST PALM BCH      FL    33411‐1018
MARI M DUKES                                          1197 KRISTEN COVE                                                                                COLLEGE PARK       GA    30349‐6415
MARI P BRUNNER TR MARI P BRUNNER REVOCABLE            PO BOX 536                                                                                       SPRING LAKE        MI    49456
LIVING TRUST UA 07/25/85
MARI‐ANN SCHUMACHER                                   ATTN M A PULLEN                         441 BUCK ISHAND RD K‐5                                   WEST YARMOUTH      MA    02673‐3362
MARI‐ANNE B MITCHELL                                  354 RICHMOND ST EAST                    OSHAWA ON CAN                          L1G 1E9 CANADA
MARIA A ALVARADO                                      38 ARCTIC PARKWAY                                                                                TRENTON            NJ    08638‐3041
MARIA A BALLARD                                       158 SAVANNAH DRIVE                                                                               BEAR               DE    19701‐1657
MARIA A BLAHA                                         2 POWERS LN                                                                                      ATTLEBORO          MA    02703‐1071
MARIA A CORTESE                                       4 JULIANE DR                                                                                     ROCHESTER          NY    14624‐1453
MARIA A COSTA                                         3738 HOLIDAY LAKE DR                                                                             HOLIDAY            FL    34691‐5122
MARIA A CROWNER                                       525 S BRIDGE                                                                                     GRAND LEDGE        MI    48837‐1503
MARIA A DUQUE                                         22 WEST CREST DR                                                                                 ROCHESTER          NY    14606‐4710
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Name                                             Address1                                Address2             Address3          Address4          City             State Zip

MARIA A ELLIOTT                                  75 ELMWOOD AVE                          #3                                                       IRVINGTON        NJ    07111‐1953
MARIA A FONSECA                                  962 EDGEWOOD ROAD                                                                                ELIZABETH        NJ    07208‐1054
MARIA A GARY‐BLEVANS                             PO BOX 5707                                                                                      TOLEDO           OH    43613‐0707
MARIA A GRIECO                                   4940 JACKSON DR                                                                                  BROOKHAVEN       PA    19015‐1008
MARIA A LOPEZ                                    6540 N MARYLAND CIR                                                                              PHOENIX          AZ    85013‐1031
MARIA A MANCINI                                  7534 INDIANA                                                                                     DEARBORN         MI    48126‐1677
MARIA A MENDICUAGA                               8311 SW 57TH ST                                                                                  FT LAUDERDALE    FL    33328
MARIA A NIETO                                    7228 W 61ST PL                                                                                   SUMMIT ARGO      IL    60501‐1624
MARIA A RACITI                                   448 FLETCHER DR                                                                                  SMIRNA           DE    19977‐2818
MARIA A RAMOS                                    10323 GOLFSIDE DRIVE                                                                             GRAND BLANC      MI    48439‐9437
MARIA A RAYL                                     RD 3 BOX 271                                                                                     CAMERON          WV    26033‐9712
MARIA A SCHNEIDER                                15137 BEELER AVE                                                                                 HUDSON           FL    34667‐3836
MARIA A SILVA                                    274 ALHAMBRA ST                                                                                  PONTIAC          MI    48341‐1089
MARIA A SWEET                                    656 CRANDALL DR                                                                                  STATE COLLEGE    PA    16803‐1211
MARIA A WEBLEY                                   3612 LAKE ESTATES WAY                                                                            ATLANTA          GA    30349‐1894
MARIA A YATTEAU                                  3233 BIG RIDGE RD                                                                                SPENCERPORT      NY    14559‐9509
MARIA A ZWOZNIAK                                 23554 GLENBROOK                                                                                  ST CLAIR SHRS    MI    48082‐2199
MARIA ADAMO                                      30 AVENUE B                                                                                      WEST BABYLON     NY    11704‐7420
MARIA AGUIRRE CUST PAUL AGUIRRE UTMA TX          319 COLEMAN ST                                                                                   SAN ANTONIO      TX    78208‐1720
MARIA ALMONTE                                    310 E BRINKERHOFF AVE                                                                            PALISADES PK     NJ    07650‐2023
MARIA ANDREW KASHLAK                             8720 LOST COVE DR                                                                                ORLANDO          FL    32819‐4965
MARIA ANGELES HUERTA                             861 MUIRLANDS DR                                                                                 LA JOLLA         CA    92037‐6816
MARIA ANN PONNOCK                                10163 VESTAL COURT                                                                               CORAL SPRINGS    FL    33071‐5830
MARIA ANNA HANSEN CUST PETER VINCENT HANSEN      1684 MARTINET                                                                                    OGDEN            UT    84403‐4421
UTMA UT
MARIA ANNA SCHMITZ                               C/O MRS K SCHUSTER                      9‐47 COLLEGE PLACE                                       COLLEGE POINT    NY    11356‐1741
MARIA ANTONETT REGESTER & GEORGE LEON            CMR 414 BOX 1445                                                                                 APO              AE    09173
REGESTER JT TEN
MARIA ANTONIA MEJAC                              7 CLOVERBROOKE COURT                                                                             POTOMAC          MD    20854‐6369
MARIA ARBORE                                     280 DENSMORE ROAD                                                                                ROCHESTER        NY    14609‐1861
MARIA ARMENDAREZ                                 349 SEWARD ST                                                                                    PONTIAC          MI    48342‐3360
MARIA AURORA LORETTO                             1043 RAMONA AVE                                                                                  SAN JOSE         CA    95125
MARIA B FRANKLIN                                 3182 NEW CASTLE DR                                                                               FLORISSANT       MO    63033‐1518
MARIA B QUIROGA                                  7560 CROSWELL ROAD S                                                                             CROSWELL         MI    48422‐9126
MARIA B RATYCZ                                   178 ANDREW DR                                                                                    NEWTOWN          PA    18940‐2220
MARIA B ZEHMEISTER                               5803 E 80TH ST                                                                                   TULSA            OK    74136‐8412
MARIA BABIC                                      327 EAST 312TH ST                                                                                WILLOWICK        OH    44095‐3626
MARIA BASTAMOV                                   24 ELM PL                               APT 104                                                  CEDAR KNOLLS     NJ    07927‐1344
MARIA BERNAL & JORGE ENRIQUE BERNAL &            900 SW142 AVE APT 208L                                                                           PEMBROKE PINES   FL    33027
MARIANELA B CHALABIAN JT TEN
MARIA BERTHA CALI                                390 EATON DR                                                                                     PASADENA         CA    91107‐2815
MARIA BOMAN                                      1250 OTSEGO AVE                                                                                  SAN FRANCISCO    CA    94112
MARIA BOSCARINO                                  17 FRANCINE DR                                                                                   ROCHESTER        NY    14606‐3342
MARIA BOTTI                                      7119 SHORE ROAD                                                                                  BROOKLYN         NY    11209‐1860
MARIA C ACKLEY                                   1730 MARY AVE                                                                                    LANSING          MI    48910‐5211
MARIA C BEOUGHER                                 4250 ALLENWOOD DRIVE                                                                             WARREN           OH    44484‐2931
MARIA C CABRAL                                   1621 VIA DEL PETTORUTO                                                                           GUSTINE          CA    95322‐9664
MARIA C CLARE                                    27 RUNNING BROOK RD                                                                              BRIDGEWATER      NJ    08807‐1433
MARIA C GARCIA                                   1100 PENINSULAR DR                                                                               HAINES CITY      FL    33844‐5838
MARIA C GARCIA ALVAREZ                           808 BRICKELL KEY DRIVE                  APT 2406                                                 MIAMI            FL    33131
MARIA C O'NAGHTEN                                1012 S GREENWAY DR                                                                               CORAL GABLES     FL    33134‐4763
MARIA C PALERMO                                  5 SWEETS VIEW DR                                                                                 FAIRPORT         NY    14450‐8423
MARIA C PEREZ                                    C/O SANABRIA                            91 DOGWOOD LANE                                          SI               NY    10305‐2812
MARIA C SCIORTINO & CHARLES A SCIORTINO JT TEN   950 CENTER PLACE DR                     APT B                                                    ROCHESTER        NY    14615

MARIA C SCOTTA                                   15422 MEYER                                                                                      ALLEN PK         MI    48101‐2683
MARIA C SIERRA                                   27130 FORD                                                                                       DEARBORN HGTS    MI    48127‐2839
MARIA C TUCKER & ISAAC J TUCKER JR JT TEN        207 FAIRWAY DRIVE                                                                                KINGSLAND        GA    31548
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MARIA C WAELTZ TR MARIA C WAELTZ LIVING TRUST UA 225 E FERNWOOD                                                                                                  MORTON           IL    61550‐2535
3/22/99
MARIA CAMPANA CUST LOUIS CAMPANA UTMA NY         242 WHITE PLAINS ROAD                                                                                           TUCKAHOE         NY    10707‐4408

MARIA CAMPBELL                                  2226 BOWERSOX RD                                                                                                 NEW WINDSOR      MD    21776‐8606
MARIA CAPOGRECO                                 90 CARMAS DR                                                                                                     ROCHESTER        NY    14626‐3713
MARIA CARDINO                                   293 DEAVILLE BLVD                                                                                                COPAIGUE         NY    11726‐3020
MARIA CARRASCO                                  C/O JOSEPH S TROYAN                     6713 OAK FOREST DR                                                       OAK PARK         CA    91377‐3834
MARIA CECILIA POMES                             16590 GREENVIEW AVE                                                                                              DETROIT          MI    48219‐4156
MARIA CLARKE                                    4766 N SPRINGS RD                                                                                                KENNESAW         GA    30144‐1414
MARIA CONSTANTINIDES                            10 CROSBY RD                                                                                                     LEXINGTON        MA    02421‐7406
MARIA COTARELO                                  25 CHESTNUT ST                                                                                                   N TARRYTOWN      NY    10591‐2619
MARIA CRISTINA V MARTINEZ                       703 LEXINGTON AVE                                                                                                LAREDO           TX    78040
MARIA CROCKETT                                  523 NO 25TH                                                                                                      SAGINAW          MI    48601‐6208
MARIA D AVALOS & RICHARD AVALOS JT TEN          11960 65TH ST                                                                                                    MIRA LOMA        CA    91752‐4416
MARIA D BAKER                                   2609 CHICAGO BLVD                                                                                                FLINT            MI    48503‐3561
MARIA D BARCENAS                                5630 ROGERS                                                                                                      DETROIT          MI    48209‐2425
MARIA D CITTADINO                               46 KINGS RD                                                                                                      LITTLE SILVER    NJ    07739‐1644
MARIA D DEMAS                                   2818 MULFORD AVE                                                                                                 WINTER PARK      FL    32789‐6623
MARIA D OGG TR MARIA D OGG LIVING TRUST UA      12828 CRAIG DR                                                                                                   RANCHO           CA    91739‐1800
11/24/95                                                                                                                                                         CUCAMONGA
MARIA D PINTO                                   811 LEONARD BLVD                                                                                                 NEW HYDE PARK    NY    11040‐3935
MARIA D WAECHTER                                3980 AMHURST DR                                                                                                  HERMITAGE        PA    16148‐5412
MARIA D ZAMORA                                  REFORMA #126                            TANGANCICUARO MICHOACAN                                59750 MEXICO
MARIA DACKIW                                    11460 NANCY                                                                                                      WARREN           MI    48093‐6430
MARIA DE LOURDES LUEBBERT AVILA                 COLIMA #342                             FRACC JACARANDAS TLALNEPANTLA   ESTADO DE MEXICO Z C   54050 MEXICO
MARIA DEL CARMEN NEGRETE TR MARIA DEL CARMEN    11416 RINCON AVE                                                                                                 SAN FERANDO      CA    91340‐4141
NEGRETE UA 08/24/05
MARIA DEL VALLE                                 11630 SW 182ND TERRACE                                                                                           MIAMI            FL    33157‐4978
MARIA DELONG                                    RIZOUNDOS 22 SOURMENA                   HELLINICO                       ATHENS                 16777 GREECE
MARIA DILORENZO                                 37771 RADDE                                                                                                      CLINTON TOWNSHIP MI    48036‐2940

MARIA DIMARTINO                                 1523 CRESCENT DRIVE                                                                                              TARRYTOWN        NY    10591
MARIA DRAGO                                     1283E 9TH ST                                                                                                     BROOKLYN         NY    11230‐5107
MARIA E BETHENCOURT CUST ROBERT J BETHENCOURT   PO BOX 8693                                                                                                      CORAL SPRINGS    FL    33075‐8693
UTMA FL
MARIA E DEFINO                                  C/O MARIA D WHITSETT                    7105 BENDING OAK                                                         AUSTIN           TX    78749‐1885
MARIA E DIAZ                                    2201 S OCEAN DR                         STE 1                                                                    HOLLYWOOD        FL    33019‐2574
MARIA E GRAY                                    300 E RIVERSIDE DR 107                                                                                           AUSTIN           TX    78704
MARIA E LEROY                                   604 N MILL ST                                                                                                    CLIO             MI    48420‐1229
MARIA E LIZALDE                                 4530 DOGWOOD RIDGE LN                                                                                            KINGWOOD         TX    77345‐1043
MARIA E LUCIER CUST CHRISTOPHER M LUCIER UTMA   130 FOREST ST                                                                                                    FRANKLIN         MA    02038‐2513
MA
MARIA E MICHALOWSKI TAMMY ANN MICHALOWSKI &     6272 TWIN OAKS                                                                                                   WESTLAND         MI    48185‐9132
DONNA M MICHALOWSKI JT TEN

MARIA E RAMIREZ                                 ATTN MARIA E ODELL                      900 W BENNINGTON RD                                                      OWOSSO           MI    48867‐9781
MARIA E RIVERA                                  3103 WEST BLVD                                                                                                   CLEVELAND        OH    44111‐1846
MARIA E SANTIAGO CUST MIGUEL A SANTIAGO UTMA IA 4302 DUDLEY NORTH DR                                                                                             INDIANAPOLIS     IN    46237‐2411

MARIA E TORRES                                  4987 POCKLINGTON                                                                                                 TECUMSEH         MI    49286‐9501
MARIA E VALENCA                                 7 BEAR HILL RD                                                                                                   MILFORD          MA    01757‐3619
MARIA E VILLARREAL                              4581 KEMPF                                                                                                       WATERFORD        MI    48329‐1805
MARIA ELENA GARIS AUSTIN                        2182 TIMBER LANE                                                                                                 HERNANDO         MS    38632‐1127
MARIA ELISA L ESPINO                            EL DORAL 3RD ST #112                    1394 DORADO                                            PANAMA (REP)
MARIA ELIZABETH SHEN                            943 KINGSLEY DRIVE                                                                                               ARCADIA          CA    91007‐6219
MARIA ERDELYI                                   1362 MERRILL                                                                                                     LINCOLN PARK     MI    48146‐3359
MARIA ESCOBAR                                   188‐48 ROAD 1001                                                                                                 RT111 DEFIANCE   OH    43512‐9315
MARIA ESHEWSKY                                  19 ACTON AVE                                                                                                     TRENTON          NJ    08618‐1803
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MARIA ESTER                                       3411 NORCREST DR                                                                                                     OKLAHOMA CITY     OK    73121‐1837
MARIA F BILLINGS SCHNEIDER                        406 WOODLANDS SE DR                                                                                                  SMYRNA            GA    30080‐2444
MARIA FABIANICH                                   2824 FOWLER DR                                                                                                       WILLOUGHBY HL     OH    44094‐8433
MARIA FEDOR                                       2390 SW 28 TER                                                                                                       FT LAUDERDALE     FL    33312
MARIA FINKBINER                                   C/O MARIA YARASAVICH                   46 STATE ST                                                                   OSSINING          NY    10562‐5427
MARIA FITAPELLI CUST JOSEPH FITAPELLI UGMA NY     82‐26 PENELOPE AVE                                                                                                   MIDDLE VILLAGE    NY    11379‐2337

MARIA FOX                                         634 N SHELDON ST                                                                                                     CHARLOTTE         MI    48813‐1229
MARIA FRANCES WARD                                1838 ROSEMONT                                                                                                        BERKLEY           MI    48072‐1846
MARIA FURSA & CHRISTINA FURSA JT TEN              42‐28 190TH STREET                                                                                                   FLUSHING          NY    11358‐2819
MARIA G ARVIZU & HELEN ARVIZU JT TEN              6153 BURT RD                                                                                                         ST CHARLES        MI    48655‐9633
MARIA G DIAMOND                                   7440 BENNETT LAKE RD                                                                                                 FENTON            MI    48430‐9010
MARIA G JUNOD & DAVID H JUNOD JT TEN              10344 LA TUNA                          CANYON ROAD                                                                   SUN VALLEY        CA    91352
MARIA G JUNOD & DAVID H JUNOD TR UA GALVAN        10344 LA TUNA CYN ROAD                                                                                               SUN VALLEY        CA    91352‐2105
FAMILY TRUST 09/28/88
MARIA G LIEFER                                    38504 L ANSE CREUSE                                                                                                  MT CLEMENS        MI    48045
MARIA G LINN                                      4760 E 14 MILE RD                                                                                                    WARREN            MI    48092‐1132
MARIA G SANTIONI                                  16611 ROSA LN                                                                                                        SOUTHGATE         MI    48195‐6805
MARIA GALLAGHER & PATRICK F GALLAGHER SR JT TEN   739 HOOVER AVE                                                                                                       PEEKSKILL         NY    10566‐5507

MARIA GENNA                                       PO BOX 111                                                                                                           FIFE LAKE         MI    49633
MARIA GLICKMAN TR MANNES N GLICKMAN & MARIA       701 N ALTA DR                                                                                                        BEVERLY HILLS     CA    90210‐3505
GLICKMAN TRUST UA 11/30/66
MARIA GOROWSKA                                    401 STIMPSON AVENUE                                                                                                  LINDEN            NJ    07036‐4422
MARIA GUEVARA                                     13075 24 MILE RD                                                                                                     SHELBY TOWNSHIP   MI    48315‐1809

MARIA H BENROS                                    548 VALLEY AVE                                                                                                       YONKERS           NY    10703‐1910
MARIA H RILEY                                     4723 SPURWOOD DR                                                                                                     SAGINAW           MI    48603‐1186
MARIA H RUIVO                                     301 9TH AVE NORTH                                                                                                    LAKE WORTH        FL    33460‐2739
MARIA H SPACIL                                    4338 CATFISH                                                                                                         CORPUSCRSTI       TX    78410‐5238
MARIA HEMMING                                     109 LOCUST DR                                                                                                        CATONSVILLE       MD    21228‐5127
MARIA HERCZEG                                     152 STRAWBERRY HILL                                                                                                  WOODBRIDGE        NJ    07095‐2632
MARIA I CHAVES                                    18 GORMLEY AVE                                                                                                       PORTSMOUTH        RI    02871
MARIA I HARRIS                                    1639 RANDOLPH RD 4                                                                                                   JANESVILLE        WI    53545‐0971
MARIA I JOHNSON                                   16236 S E 44TH                                                                                                       CHOCTAW           OK    73020‐5901
MARIA I PRAINO                                    1964 SOUTH RD                          UNIT 101                                                                      POUGHKEEPSIE      NY    12601‐6054
MARIA I SMIELESKI                                 PO BOX 59                                                                                                            LAKE GEORGE       MI    48633‐0059
MARIA ISAAC‐LUX                                   ATTN MME NICOLE ISAAC                  4 PLACE DU SAUMON POSTFACH 10   F‐67161 WISSEMBOURG CEDEX   FRANCE
MARIA ISABELLE VAN MAERSSEN                       1910 BRIARWOOD DRIVE                                                                                                 GRAND PRAIRIE     TX    75050‐2216
MARIA J CHOQUEHUANCA CUST ELIANA D                1410 CARAVELLE CT                                                                                                    KATY              TX    77494‐1823
CHOQUEHUANCA UTMA FL
MARIA J CHOQUEHUANCA CUST JEANNE N                1410 CARAVELLE CT                                                                                                    KATY              TX    77494‐1823
CHOQUEHUANCA UTMA FL
MARIA J CHOQUEHUANCA CUST TANIA X                 1410 CARAVELLE CT                                                                                                    KATY              TX    77494‐1823
CHOQUEHUANCA UTMA FL
MARIA J FLEETWOOD                                 415 FAIRHILL DR                                                                                                      CHURCHVILLE       PA    18966‐1311
MARIA J JENSEN                                    13129 WEST LOS BANCOS COURT                                                                                          SUN CITY WEST     AZ    85375‐6849
MARIA J LAWALT                                    897 BALLOU ST                                                                                                        HERNDON           VA    20170‐3201
MARIA J LIM                                       106 CENTRAL PARK S                     APT 7F                                                                        NEW YORK          NY    10019‐1570
MARIA J RODENBOSTEL                               415 AUTUMN CHASE SE                                                                                28422 BOLIVIA
MARIA J SMITH                                     1546 CREEKSIDE LN                                                                                                    GREENWOOD         IN    46142‐5062
MARIA JANE ERVIN                                  42492 MANDOLIN ST                                                                                                    CHANTILLY         VA    20152‐6640
MARIA JIMENEZ                                     7220 COURTWRIGHT DR                                                                                                  PLAINFIELD        IL    60586
MARIA K WINTER                                    S74W15209 APPLEWOOD LN                                                                                               MUSKEGO           WI    53150‐8297
MARIA KADERLE                                     2306 LYNWOOD DR                                                                                                      STOW              OH    44224‐2741
MARIA KIEFER                                      8803 TWEEDY LANE                                                                                                     DOWNEY            CA    90240‐2710
MARIA KINKELA                                     PO BOX 34                                                                                                            CARLE PLACE       NY    11514‐0034
MARIA KNAPP                                       528 MACLEOD TER                                                                                                      DUNEDIN           FL    34698‐7313
MARIA KOSSAK                                      500 WAGNER CT                                                                                                        DEARBORN          MI    48124‐2223
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MARIA KOZLOWSKI                                 13757 COLPAERT DR                                                                                WARREN             MI    48093‐5729
MARIA L ALBACE                                  18282 PARKSHORE DR                                                                               NORTHVILLE         MI    48168‐8588
MARIA L CASAREZ                                 4107 GLENVIEW DR                                                                                 SANTA MARIA        CA    93455‐3316
MARIA L CHAPARRO                                1422 LORENA DR                                                                                   OXNARD             CA    93030‐5467
MARIA L CRUTCHFIELD CUST ABBI M CRUTCHFIELD     622 E 47TH ST                                                                                    INDIANAPOLIS       IN    46205‐1844
UGMA IN
MARIA L DAVILLA                                 4420 DOVE MEADOW DR                                                                              AUSTIN             TX    78744
MARIA L DEAN                                    4197 MOUNTAIN ASH CT                                                                             SWARTZ CREEK       MI    48473‐1582
MARIA L DUGUID                                  5835 DURWELL DR                                                                                  LANSING            MI    48911‐4729
MARIA L GRACA                                   143 NEW BROADWAY                                                                                 NORTH              NY    10591‐1721
                                                                                                                                                 TARRYTOWN
MARIA L IANNI                                   6493 COLONIAL DRIVE                                                                              LOCKPORT           NY    14094‐6122
MARIA L LUCIERE & JENNIE C LUCIERE JT TEN       C/O MARIA NEPHEW                        1 WOODLAND DR                                            WESTFORD           MA    01886‐3215
MARIA L METZGER & MARIA C METZGER & CLAUDIA A   AL CAMPINAS 1497 APT 111                SAO PAULO                              1404 BRAZIL
METZGER JT TEN
MARIA L MITCHELL                                9546 PRIARIE                                                                                     DETROIT            MI    48204‐2050
MARIA L PANBEHCHI                               5 MILE CRSE                                                                                      WILLIAMSBURG       VA    23185‐5525
MARIA L STALNAKER                               61791 INSTITUTE RD                                                                               LORE CITY          OH    43755‐9750
MARIA L TORREZ                                  1818 COMFORT                                                                                     LANSING            MI    48915‐1513
MARIA L TURNER & MICHAEL D TURNER JT TEN        3251 W SUTTON                                                                                    LAPEER             MI    48446‐9703
MARIA L VEGA ALFONSO & PEDRO M ALFONSO JT TEN   11807 BALCONES WAY                                                                               AUSTIN             TX    78750

MARIA L VELA                                    609 NORTH GATE DR                                                                                WESLACO            TX    78596‐3978
MARIA L ZACK                                    19856 CRYSTAL RIDGE LN                                                                           NORTHRIDGE         CA    91326‐3856
MARIA LEASE                                     12673 REPOSO WAY                                                                                 DESERT HOT         CA    92240‐4762
                                                                                                                                                 SPRINGS
MARIA LETIZIA PRESTIFILIPPO                     ATTN LINDA SUE GALATE                   491 BLOOMFIELD AVE                                       MONTCLAIR          NJ    07042‐3406
MARIA LOJ                                       702 TRINMER ROAD                                                                                 SPENCERPORT        NY    14559‐9553
MARIA LOUISE SCHREDER                           175 MATSONFORD RD                                                                                RADNOR             PA    19087‐4548
MARIA M BODINE                                  466 GRAND AVE                                                                                    JOHNSON CITY       NY    13790‐2523
MARIA M BREWER                                  3000 WELLEND ST                                                                                  SAGINAW            MI    48601‐6914
MARIA M CAMARNEIRO                              105 PARK HILL AVE                                                                                YONKERS            NY    10701‐4822
MARIA M EUGENIO                                 2508 WINDING RIVER DRIVE                                                                         BELLEVUE           NE    68123‐4456
MARIA M FERNANDES                               38 WAINWRIGHT ST                                                                                 RYE                NY    10580‐3712
MARIA M H BODINE                                466 GRAND AVE                                                                                    JOHNSON CITY       NY    13790‐2523
MARIA M LEEDS                                   8401 LAVA PL                                                                                     TAMPA              FL    33615‐4918
MARIA M LONG CO MAY LONG SANDERS                1065 EVERGREEN AVE                                                                               PITTSBURGH         PA    15209‐1903
MARIA M LOPEZ                                   783 RAWSON RD                                                                                    COLDWATER          MI    49036‐9416
MARIA M REYES                                   1260 ALVATON GREENHILL ROAD                                                                      BOWLING GREEN      KY    42103
MARIA M YANNIELLO                               916 LINCOLN AVE                                                                                  GIRARD             OH    44420‐1946
MARIA MAGDALENA TIONGSON                        5029 TUCKERMAN WAY                                                                               SACRAMENTO         CA    95835‐1615
MARIA MAGGIO                                    160 OAKWOOD AVE                                                                                  WEST LONG          NJ    07764‐1558
                                                                                                                                                 BRANCH
MARIA MARCH                                     2085 CELESTIAL DR NE                                                                             WARREN             OH    44484‐3972
MARIA MARIN                                     41015 TARRGON DR                                                                                 STERLING HEIGHTS   MI    48314‐4065

MARIA MARINELLI                                 13 MARIETTA LANE                                                                                 TRENTON            NJ    08619‐2227
MARIA MARUSKA & IRENE MURPHY JT TEN             141 STEFANIK ROAD                                                                                WINTER PARK        FL    32792‐6011
MARIA MATARAZZO & ANTHONY MATARAZZO JT TEN      31 CLEMENT ST                                                                                    NASHUA             NH    03060‐5002

MARIA MCCAIN                                    3501 BRANCHWOOD DR                                                                               EVANSVILLE         IN    47710‐5110
MARIA MELLADO                                   540 EAST 3RD AVENUE                                                                              ROSELLE            NJ    07203‐1565
MARIA MICHELE CRAWFORD & VAN L CRAWFORD JT      C/O VAN L CRAWFORD                      PO BOX 19                                                BAYSE              VA    22810‐0019
TEN
MARIA MICHELLE LEE                              723 KESTREL PLACE                                                                                DAVIS              CA    95616‐0166
MARIA MICKO                                     15612 GREENWAY RD                                                                                CLEVELAND          OH    44111‐3012
MARIA MILLAR                                    3543 APPLETON WAY                                                                                STOCKTON           CA    95219‐3648
MARIA MOKO                                      8085 CHARLECOT DRIVE                                                                             INDIANAPOLIS       IN    46268‐2064
MARIA MOLAK                                     BOX 3178                                                                                         DANA POINT         CA    92629‐8178
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MARIA MORELLI                                     170‐21 DREISER LOOP                                                                             BRONX            NY    10475‐1902
MARIA MUNOZ ARIAS                                 1286 PLUMAS STREET APT 3                                                                        YUBA CITY        CA    95991
MARIA N VASQUEZ                                   350 FRANCIS ST                                                                                  EL PASO          TX    79905‐4418
MARIA NAJAR TR UA 01/09/2006 MARIA NAJAR LIVING   5349 SPAULDING                                                                                  CHICAGO          IL    60632
TRUST
MARIA NOVOA SANCHEZ                               4420 COUNTY ROAD K                                                                              FRANKSVILLE      WI    53126‐9546
MARIA O BATISTA                                   857 CANDLEBARK DR                                                                               JACKSONVILLE     FL    32225‐5324
MARIA O PEREZ                                     APT 91                                 32090 GRAND RIVER                                        FARMINGTON       MI    48336‐4172
MARIA O'RAFFERTY                                  235 CREEKWOOD CIR                                                                               LINDEN           MI    48751
MARIA P VANDERBURGH                               164 BEACH PARK BLVD                                                                             FOSTER CITY      CA    94404‐2708
MARIA PACEY                                       1982 ROBINS RUN                                                                                 HARTFORD         WI    53027‐9026
MARIA PEREZ & HEATHER CLEMENCIA PEREZ JT TEN      3107 DIPOLMAT PWKY WEST                                                                         CAPE CORAL       FL    33993

MARIA PFLUEGER                                    2805 W 500S                                                                                     PERU             IN    46970‐7792
MARIA POYIATZIS                                   2951 ARDEN                                                                                      WARREN           MI    48092‐3203
MARIA QUILLARD & VICTOR QUILLARD JT TEN           77 ALDERBROOK LANE                                                                              WEST SPRINGFIELD MA    01089‐3009

MARIA R CORDARO                                   267 CARMAS DRIVE                                                                                ROCHESTER        NY    14626‐3776
MARIA R CUNNINGHAM                                18605 TIPSILO LAKE RD                                                                           FENTON           MI    48430‐8515
MARIA R JACKSON                                   1327 HEMLOCK ST NW                                                                              WASHINGTON       DC    20012‐1560
MARIA R MCDERMOTT & CHARLES G MCDERMOTT JT        289 SAXONY DRIVE                                                                                NEWTOWN          PA    18940‐1685
TEN
MARIA RAMIREZ                                     5133 JEFFERSON                                                                                  HOUSTON          TX    77023‐3226
MARIA RAMOS                                       5188 HIGHPOINT DR                                                                               SWARTZ CREEK     MI    48473‐8902
MARIA RANGEL                                      11731 OFFLEY AVE                                                                                NORWALK          CA    90650‐7760
MARIA REFUGIO LOZANO                              27238 LUTHER DR                        APT 613                                                  CANYON COUNTRY   CA    91351‐3770

MARIA RICO FIRMATURE                              2707 MECCA RD                                                                                   AUSTIN           TX    78733
MARIA RIEDENER                                    1206 CONSTITUTION DR                                                                            STROUDSBURG      PA    18360‐8667
MARIA RITA ENRIQUEZ                               820 N PINE ST                                                                                   LANSING          MI    48906‐5049
MARIA RODRIGUES                                   138 PROVIDENCE ST                                                                               MILLVILLE        MA    01529‐1700
MARIA ROZYLA                                      154 DUNELLEN AVENUE                                                                             PISCATAWAY       NJ    08854‐2318
MARIA RUMORA & MATILDA VIOLET BERLENGI JT TEN     1026 ANDERSON AVE                                                                               FT LEE           NJ    07024‐4226

MARIA RUNGALDIER                                  PO BOX 273                                                                                      PLUCKEMIN        NJ    07978‐0273
MARIA S HERNANDEZ                                 4850 HARRISON ST                                                                                WAYNE            MI    48184‐2219
MARIA S JOHNSON                                   APT 102                                521 PIERMONT AVE                                         RIVER VALE       NJ    07675‐5721
MARIA S MUNOZ                                     10 FLOWER HILL DRIVE                                                                            PALM COAST       FL    32137‐8302
MARIA S PATTERSON                                 353 INDIANA AVE                                                                                 MC DONALD        OH    44437‐1921
MARIA SANJUAS                                     252 ROBERTS AVENUE                                                                              YONKERS          NY    10703‐1559
MARIA SCHLICHT                                    10240 W NATIONAL AVE #199                                                                       WEST ALLIS       WI    53227
MARIA SEXTON                                      1816 RUSSELL STREET                                                                             LINCOLN PARK     MI    48146‐1437
MARIA SLEDZ & DIANA M WILLIAMS & THERESA A SLEDZ‐ 3529 WILLIAMSON                                                                                 SAGINAW          MI    48601
URBANIAK JT TEN
MARIA SOCORRO WILLIAMS & BRIAN HOWARD             4618 MATADOR TRL                                                                                AMARILLO         TX    79109‐5914
WILLIAMS JT TEN
MARIA SOFIA                                       3905 DARLEIGH APT 1E                                                                            BALTIMORE        MD    21236‐5807
MARIA SULC                                        7676 ASTER DR                                                                                   MENTOR           OH    44060‐8412
MARIA SZUCS                                       46 STATE STREET                                                                                 OSSINING         NY    10562‐5427
MARIA T BARATTA                                   45 JANE DR                                                                                      ENGLEWOOD CLIFFS NJ    07632‐2322

MARIA T BRENNEIS                                  8401 GILFORD CIRCLE                                                                             HUNTINGTON       CA    92646‐2103
                                                                                                                                                  BEACH
MARIA T DAVIS                                     1327 PARKSIDE DR                                                                                WEST COVINA      CA    91792‐1411
MARIA T DEALBUQUERQUE                             935 UNION LAKE RD                      APT 132                                                  WHITE LAKE       MI    48386
MARIA T DOLUNT                                    3169 CREEKVIEW LN                                                                               COMMERCE TWP     MI    48382‐1199
MARIA T FURTADO                                   189 TINKHAM ST                                                                                  NEW BEDFORD      MA    02746‐2156
MARIA T GARCIA                                    ATTN MARIA T FORD                      7501 CLOVER LANE                                         WATAUGA          TX    76184
MARIA T GONSER‐FRY TOD RONALD J FRY               6192 GREENVIEW DR                                                                               BURTON           MI    48509
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Name                                               Address1                              Address2             Address3          Address4          City           State Zip

MARIA T HILADO                                     333 EAST 79TH ST # 16‐O                                                                        NEW YORK       NY    10021‐0960
MARIA T JENKINS                                    568 N SOUTH STREET                                                                             WILMINGTON     OH    45177‐1655
MARIA T KAIN                                       128 HAWKEN CEMETERY RD                                                                         ULMAN          MO    65083‐2012
MARIA T LOZANO                                     134 RENKER ROAD                                                                                LANSING        MI    48917
MARIA T PANICCIA & JOSEPH PANICCIA JT TEN          8844 WOODSHIRE STREET                                                                          WHITE LAKE     MI    48386‐2471
MARIA T PHILLIPS & ROLAND W PHILLIPS JT TEN        122 WHITMORE DRIVE                                                                             ELKTON         MD    21921‐6125
MARIA T PODESTA                                    2371 JACKSON AVE                                                                               SEAFORD        NY    11783‐3225
MARIA T SOTO                                       CALLE B 109 REPTO SAN JUAN            ARECIBO                                PUERTO RICO
MARIA T URQUIDI CUST ZACHARY T BIALECKI            10 BRIDGE CREEK RD                                                                             NEW PALTZ      NY    12561‐2604
MARIA TERESA LUNA                                  172 ORCHARD ST                                                                                 CRANSTON       RI    02910‐2819
MARIA TERESA MC CLAIN & WILLIAM T MC CLAIN JR JT   118 N OLD NASSAU ROAD                                                                          MONROE TWP     NJ    08831
TEN
MARIA TIJERINA                                     5414 MIDCROWN DR APT 2226                                                                      SAN ANTONIO    TX    78218
MARIA TOLDY                                        27917 ABERDEEN RD                                                                              BAY VILLAGE    OH    44140‐2125
MARIA TORTORA CUST EMILY TORTORA UGMA NY           161‐52 87TH ST                                                                                 HOWARD BEACH   NY    11414‐3301
MARIA TORTORA CUST MELISSA TORTORA UGMA NY         161‐52 87TH ST                                                                                 HOWARD BEACH   NY    11414‐3301

MARIA TORTORA CUST SAMANTHA TORTORA UGMA NY 161‐52 87TH ST                                                                                        HOWARD BEACH   NY    11414‐3301

MARIA TOTH                                         64 MOUNT VERNON AVE                                                                            ROCHESTER      NY    14620‐2154
MARIA TUCKER WEBB                                  PO BOX 854                                                                                     SEWANEE        TN    37375‐0854
MARIA V PORTER                                     1523 CRESTWOOD BLVD                                                                            SOUTH BEND     IN    46635‐1918
MARIA V RAMIREZ                                    37 N TUSCOLA ROAD                                                                              BAY CITY       MI    48708‐6975
MARIA V WALKER                                     3630 COLUMBIA PKWY                                                                             DECATUR        GA    30034
MARIA VAKS CUST FELIX VAKS UTMA PA                 PO BOX 43624                                                                                   PHILADELPHIA   PA    19106‐7624
MARIA VALENZUELA                                   1208 S EVANWOOD AVE                                                                            WEST COVINA    CA    91790‐4050
MARIA VARHELYI                                     412 RENDALE PLACE                                                                              TROTWOOD       OH    45426‐2828
MARIA WASKO                                        152 FRENEAU AVENUE                                                                             MATAWAN        NJ    07747‐3400
MARIA WITKO                                        7235 A WILLOW WAY LANE                                                                         WILLOWBROOK    IL    60521‐7516
MARIA WOLF                                         18 AMALFI DR                                                                                   AVON           NY    14414‐1418
MARIA Y TORRES                                     6399 BISHOP ROAD                                                                               LANSING        MI    48911‐6212
MARIA YATES                                        7011 TOWEL MILL RD                                                                             SPOTSYLVANIA   VA    22553‐3232
MARIA ZEPPER                                       KANTSTR 26                            GROSSBOTTWAR         D                 71723 GERMANY
MARIA ZURAWIK                                      PRODELIN WAY RD #2                                                                             ENGLISHTOWN    NJ    07726
MARIAALBA BRUNETTI                                 4 MANCHESTER RD                       APT 2R                                                   EASTCHESTER    NY    10709‐1336
MARIAGNES RASH & WILLIAM F RASH TEN ENT            201 VICTORIA AVE                                                                               WILMINGTON     DE    19804‐1936
MARIAH ELIZABETH BEEBE                             BOX 387                               434 N MAIN                                               NASHVILLE      MI    49073‐9765
MARIAM CALKINS                                     654 WILTSHIRE RD                                                                               COLUMBUS       OH    43204‐2432
MARIAM S KASHNER                                   1265 W MAPLE AVE                                                                               ADRIAN         MI    49221‐1313
MARIAM ZARGARPOUR                                  6905 STELHEM COURT                                                                             MANASSAS       VA    20112
MARIAMNE R MITCHELL                                5318 27TH ST N                                                                                 ARLINGTON      VA    22207‐1702
MARIAN A BELL TR WILLIAM F BELL & MARIAN A BELL    6433 DALTON DRIVE                                                                              FLUSHING       MI    48433‐2332
REV TRUST UA 03/30/99
MARIAN A CORNWELL                                  631 GLEN RIDGE DRIVE                                                                           BRIDGEWATER    NJ    08807‐1625
MARIAN A HOOSE TR MARIAN A HOOSE TRUST UA          286 ALFRED STREET                                                                              MONTROSE       MI    48457‐9154
09/13/00
MARIAN A JOHNSON                                   250 CHATHAM RD                                                                                 WEST GROVE     PA    19390‐8915
MARIAN A KLINGBEIL                                 510 N RICHMOND AVE                                                                             WESTMONT       IL    60559‐1539
MARIAN A MULVANEY                                  1511 16TH AVE SO                                                                               ESCANABA       MI    49829‐2030
MARIAN A OCHS & CLARENCE E OCHS TR MARIAN A        5300 HAMILTON AVE                     APT 1607                                                 CINCINNATI     OH    45224‐3165
OCHS TRUST UA 07/07/00
MARIAN A ROGERS                                    130 COUCHTOWN ROAD                                                                             WARNER         NH    03278‐4609
MARIAN A SCHENCK                                   1507 EAGLE RIDGE ROAD N E                                                                      ALBUQUERQUE    NM    87122‐1156
MARIAN A TERLECKI                                  38065 JOHANNES DR                                                                              CLINTON TWP    MI    48038‐3323
MARIAN A TISDALE                                   7299 BALDWIN RESERVE DR                                                                        CLEVELAND      OH    44130
MARIAN A UDELSOHN                                  110 S BROOK RD                                                                                 E LONGMEADOW   MA    01028‐5801
MARIAN ASMAN                                       3287 JACOB ST                         #1                                                       HAMTRAMCK      MI    48212‐3750
MARIAN B GREENE                                    77 HIGBY RD                                                                                    MIDDLETOWN     CT    06457‐2380
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Name                                             Address1                                Address2                  Address3     Address4          City             State Zip

MARIAN B SMITH                                   ATTN MARIAN B STURRUP                   2037A LEWIS TURNER BLVD                                  FORT WALTON      FL    32547‐1351
                                                                                                                                                  BEACH
MARIAN BARNES & ALLAN W BARNES JT TEN            19459 KINLOCH                                                                                    REDFORD          MI    48240‐1513
MARIAN BERNARD LEWIS                             131 MAGNOLIA ST                                                                                  KENNETT SQUARE   PA    19348‐3241
MARIAN BRENNEMAN TR UA 02/25/2000 M K            3832 W BEECHWOOD                                                                                 FRESNO           CA    93711
BRENNEMAN & MARIAN BRENNEMAN
MARIAN BRITTINGHAM LYNN TR CLARK LYNN TRUST UA   216 MIMOSA LN NW                                                                                 LAWTON           OK    73507‐1603
05/07/98
MARIAN BRZYS                                     351 MEADOW LN                                                                                    BROOKLYN         MI    49230‐8002
MARIAN C COERS                                   C/O M C SUNIER                          11773 N DAVID DRIVE                                      CAMBY            IN    46113‐8661
MARIAN C DOLCE                                   464 NIGHTHAWK DR                                                                                 LAKELAND         FL    33813‐1147
MARIAN C DU PUIS                                 4701 SUNKEN CT                                                                                   PORT ARTHUR      TX    77642‐2008
MARIAN C LITTLETON                               320 WALDEN RD SHARPLEY                                                                           WILMINGTON       DE    19803‐2424
MARIAN C MC DUFFIE                               26 BAYNARD COVE ROAD                                                                             HILTON HEAD      SC    29928‐4114
MARIAN C NEBEL                                   14655 RANEYS LN                                                                                  ORLAND PARK      IL    60462‐1957
MARIAN C ROGERS TR MARIAN C ROGERS TRUST UA      7011 E 59TH ST S                                                                                 TULSA            OK    74145‐8215
9/1/94
MARIAN C SIMMONS                                 907 WHITEHALL PL SE                                                                              AIKEN            SC    29801‐7225
MARIAN C VALCHAR & KEVIN R ONEIL JT TEN          301 W 45TH ST                                                                                    NY               NY    10036‐3822
MARIAN CHARTON                                   22A KENNETH STUART PLACE                                                                         MOHEGAN LAKE     NY    10547‐1139
MARIAN D BASS                                    5940 HITCHING POST LN                                                                            NASHVILLE        TN    37211‐6935
MARIAN D BRENNER                                 248 CORBIN AVE                                                                                   NEW BRITAIN      CT    06052‐1910
MARIAN D BROWNING                                115 CURTIS DRIVE ORCHARD COURT          APARTMENTS                                               PENNSVILLE       NJ    08070
MARIAN D HICKS                                   2385 WEST WALTON BLVD                                                                            WATERFORD        MI    48329
MARIAN D JOHNSON & LEO C JOHNSON JR JT TEN       3083 LEVERING RD                                                                                 CHEBOYGAN        MI    49721‐9375
MARIAN D MOORE                                   124 ISLAND DR                                                                                    HENDERSONVILLE   TN    37075‐4507
MARIAN D STILLMAN                                1605 7TH ST                                                                                      MENOMINEE        MI    49858‐2815
MARIAN DAVIS FINE TR FINE TRUST UA 04/06/05      18630 KENYA ST                                                                                   NORTHRIDGE       CA    91326‐2453
MARIAN DEGUEHERY & LINDSEY DEGUEHERY JT TEN      1403 CARLSON DR                                                                                  ORLANDO          FL    32804‐1211

MARIAN E BARRETT                                 1609 CHESTER MILL RD                                                                             SILVER SPRING    MD    20906
MARIAN E CASCIA                                  6340 BADGER DR                                                                                   LOCKPORT         NY    14094‐5948
MARIAN E ELICK & CAROL ANN BABYAK & LOIS JEAN    1832 BRIARWOOD CIRCLE                                                                            MILLEDGEVILLE    GA    31061
PYLAT JT TEN
MARIAN E JOHNSON                                 7048 PELICAN BAY BLVD                   C204                                                     NAPLES           FL    34108‐7560
MARIAN E MC NELIS                                2538 E 4TH ST                                                                                    TUCSON           AZ    85716‐4416
MARIAN E MCCLENDON                               19185 CONLEY ST                                                                                  DETROIT          MI    48234‐2247
MARIAN E MCCLOSKEY                               970 COLLINS AVE                                                                                  YOUNGST          OH    44515‐3309
MARIAN E MILY                                    14133 SAN JOSE                                                                                   DETROIT          MI    48239‐2974
MARIAN E MOORE                                   4315 E 119TH ST                                                                                  CLEVELAND        OH    44105‐6215
MARIAN E NATALE                                  2331 EDGEMERE DR                                                                                 ROCHESTER        NY    14612‐1104
MARIAN E NELSON TR MARIAN E NELSON TRUST UA      905 CENTER ST UNIT 406                                                                           DES PLAINES      IL    60016‐7200
07/16/97
MARIAN E ONIGKEIT                                5508 ROY RD                                                                                      HIGHLAND HEIGHTS OH    44143‐3031

MARIAN E ROACH                                   14‐T SCENIC DRIVE                                                                                CROTON‐ON‐       NY    10520‐1724
                                                                                                                                                  HUDSON
MARIAN E SIMPSON                                 28 MECHANIC ST                                                                                   MIDDLEPORT       NY    14105‐1020
MARIAN E SPURLIN                                 APT 2                                   4937 E 10 MILE                                           WARREN           MI    48091‐1524
MARIAN E VEASEY                                  122 BANCROFT MILLS RD                                                                            WILMINGTON       DE    19806‐2035
MARIAN E ZEMTER TOD JEREMY SHRIVER               27601 SUN CITY BL 228                                                                            SUN CITY         CA    92586‐2267
MARIAN EDNA RIGGS                                42617 GRANDVIEW DR                                                                               ELYRIA           OH    44035‐2160
MARIAN ELVEN                                     2309 N 77TH ST                                                                                   KANSAS CITY      KS    66109‐2328
MARIAN F FRANKLIN TR MARIAN F FRANKLIN LIVING    8410 S 83RD E AVE                                                                                TULSA            OK    74133‐8075
TRUST UA 05/13/96
MARIAN F MEUSE CUST CATHERINE H MEUSE UTMA NJ    21 LINCOLN AVE                                                                                   CHATHAM          NJ    07928‐2043

MARIAN F MEUSE CUST KEVIN F MEUSE UTMA NJ        21 LINCOLN AVE                                                                                   CHATHAM          NJ    07928‐2043
MARIAN F ULANSKI                                 2094 PAINTED POST DR                                                                             FLUSHING         MI    48433‐2562
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Name                                              Address1                                Address2                   Address3    Address4          City              State Zip

MARIAN FONTICHIARO                                26521 SHEAHAN                                                                                    DEARBORN HEIGHTS MI     48127‐4135

MARIAN FONTICHIARO & ELAINE LYNN FONTICHIARO JT   26521 SHEAHAN                                                                                    DEARBORN HEIGHTS MI     48127‐4135
TEN
MARIAN FREEDMAN                                   27260 FAIRGROVE                                                                                  FRANKLIN          MI    48025‐1390
MARIAN G CAREY                                    393 CARRIAGE LANE                                                                                WYCKOFF           NJ    07481‐2306
MARIAN G GAVE                                     12847 BRADSHAW ST                                                                                GOWEN             MI    49326‐9745
MARIAN G HANSON                                   102 BELMONT AVE                         RICHARDSON PARK                                          WILMINGTON        DE    19804‐1510
MARIAN G MITCHELL                                 170 SEVILLE DR                                                                                   ROCHESTER         NY    14617‐3828
MARIAN G MONTGOMERY                               9053 SUSSEX ST                                                                                   WHITE LAKE        MI    48386‐3370
MARIAN GALLANIS BULLOCK                           7310 GREENBRIAR RD                                                                               N SYRACUSE        NY    13212‐3321
MARIAN GENIO                                      4 VALLEY ROAD                                                                                    LARCHMONT         NY    10538‐1540
MARIAN GRYSZKO                                    1009 4TH ST NW                                                                                   GRAND RAPIDS      MI    49504‐5008
MARIAN H KISALIK                                  5095 KELLY RD                                                                                    FLINT             MI    48504‐1011
MARIAN H UPMANN                                   3707 FALCON RIDGE DR                                                                             JANESVILLE        WI    53548‐5831
MARIAN HANLON                                     627 WYCLIFFE DR                                                                                  HOUSTON           TX    77079‐3507
MARIAN HORNBY                                     1573 SE 5TH ST                                                                                   DEERFIELD BEACH   FL    33441‐4927
MARIAN HOWELLS MARTLEW                            621 19TH PL SW                                                                                   VERO BEACH        FL    32962‐7015
MARIAN HUNT HANDLER                               322 NOTTINGHAM AVE                                                                               GLENVIEW          IL    60025‐5022
MARIAN I FARMER                                   3000 N 4TH ST                           LOT 26                                                   WYTHEVILLE        VA    24382‐4689
MARIAN I SMITH                                    2809 32ND ST                                                                                     DAVENPORT         IA    52807‐2403
MARIAN IAFRATE                                    7201 MUERDALE BLVD                                                                               WEST BLOOMFIELD   MI    48322‐3310

MARIAN J CALLAGHAN                                108 W CENTER ST                         APT 31                                                   MEDINA            NY    14103‐1440
MARIAN J DEBRUYN                                  777 TAMIAMI TRL N                       # 210                                                    NAPLES            FL    34102‐8135
MARIAN J DOUGLAS                                  1322 BUNKER HILL RD                                                                              ASHTABULA         OH    44004‐7615
MARIAN J DUHART                                   51 LARAMIE RD                                                                                    PLAINFIELD        NJ    07060‐2950
MARIAN J GATZA                                    5319 CRESTWAY DRIVE                                                                              BAY CITY          MI    48706‐3327
MARIAN J KELLY & LEE R KELLY JT TEN               3800 N INGLESIDE DR                                                                              NORFOLK           VA    23502‐3326
MARIAN J KLATT                                    6114 REDCOACH COURT                                                                              INDIANAPOLIS      IN    46250‐1855
MARIAN J KOWNACKI                                 8003 ROBINDALE                                                                                   DEARBORN HTS      MI    48127‐1206
MARIAN J LEERBURGER                               1294 KEYSTONE CT                                                                                 RIVA              MD    21140‐1311
MARIAN J LLOYD                                    200 HENRY ST                            APT 103                                                  BELLEVILLE        MI    48111‐4938
MARIAN J MASON                                    108 LINDBERG AVENUE                     SILVIEW                                                  WILMINGTON        DE    19804‐3314
MARIAN J MIELE                                    1325 MAPLE AV                                                                                    ROEBLING          NJ    08554‐1624
MARIAN J MMCAGHEY                                 61 DUNCAN AVE                           APT 3E                                                   JERSEY CITY       NJ    07304‐2155
MARIAN J THOMPSON                                 3075 BELLAIRE RANCH DR                                                                           FORT WORTH        TX    76109‐1817
MARIAN J ZARICHANSKY                              1611 STATE RT 885                                                                                CLAIRTON          PA    15025‐3719
MARIAN JANE LISON                                 310 YOSEMITE TRAIL                                                                               MADISON           WI    53705‐2438
MARIAN JANE VETTER                                BOX 65                                                                                           BUFFALO           IL    62515‐0065
MARIAN JEAN GROVES & GWENETH JEAN GROVES JT       2325 ROCKWELL DRIVE                     INDEPENDENT VILLAGE #207                                 MIDLAND           MI    48642‐9325
TEN
MARIAN JEAN KELLER TR MARIAN C KELLER FAMILY      2209 STONEGATE DR                                                                                DENTON            TX    76205‐8277
TRUST UA 11/06/03
MARIAN JEAN KELLY                                 3800 N INGLESIDE DRIVE                                                                           NORFOLK           VA    23502‐3326
MARIAN JEWEL THOMAS                               20210 KENTFIELD                                                                                  DETROIT           MI    48219‐1447
MARIAN JOHN & CAROLYN JOHN JT TEN                 8038 OLD RT 17                                                                                   SALAMANCA         NY    14779‐9794
MARIAN K BOBO                                     2407 36TH ST SE                                                                                  WASHINGTON        DC    20020
MARIAN KAPLAN CUS LOUIS MICHAEL KAPLAN UNIF       429 MONTANA AVE #6                                                                               SANTA MONICA      CA    90403‐1359
TRANS MIN ACT CA
MARIAN KAPLAN CUST SHANA LYNN KAPLAN UTMA CA      429 MONTANA AVE #6                                                                               SANTA MONICA      CA    90403‐1359

MARIAN KELLY & THOMAS J KELLY JT TEN              2401 CLAY CT                                                                                     LONGWOOD          FL    32779‐4642
MARIAN KMIEC                                      9 TARTAN CT                                                                                      LAWRENCEVILLE     NJ    08648‐4620
MARIAN L ADAMS TR ADAMS FAMILY TRUST UA           1212 FOULK RD                           APT 331                                                  WILMINGTON        DE    19803‐2799
10/04/95
MARIAN L ALEXANDER                                PO BOX 116                                                                                       ROCKVILLE         IN    47872‐0116
MARIAN L BARCLAY                                  732 E ROCKLAND RD                                                                                LIBERTYVILLE      IL    60048‐3380
MARIAN L BEVER                                    357 PROSPECT ST                                                                                  BEREA             OH    44017‐2418
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MARIAN L CHRISTENSEN                            BOX 173                               STANDARD AB                            T0J 3G0 CANADA
MARIAN L DURR                                   1627 KINGSTON RD                                                                               KOKOMO            IN    46901‐5280
MARIAN L DUSTAN                                 409 SWIFT ST # 415                    VICTORIA              CANANDA BC       V8W 1S2 CANADA
MARIAN L GRINDER                                623 E LAKE RD                                                                                  RUSHVILLE         NY    14544‐9675
MARIAN L HARKINS                                1560 ATARES DR #111                                                                            PUNTA GORDA       FL    33950‐8530
MARIAN L HOEFT                                  809‐8TH ST                                                                                     CHARLES CITY      IA    50616‐3414
MARIAN L JONES & CAROLYN L LAMSON JT TEN        424 CRESCENT DR                                                                                ALBERT LEA        MN    56007‐1430
MARIAN L LEROUX                                 7675 BOUMAN DR                                                                                 MIDDLEVILLE       MI    49333‐9449
MARIAN L MUELLER                                205 TRUMAN COURT                                                                               W NORRITON        PA    19403‐5244
MARIAN L RHEA                                   8410 ST MARTINS ST                                                                             DETROIT           MI    48221
MARIAN L ROTZ                                   1756 ALTLAND AVE                                                                               YORK              PA    17404‐4904
MARIAN L SMITH                                  5443 S HUNT AVE                                                                                SUMMIT ARGO       IL    60501‐1019
MARIAN L WASHINGTON                             5439 THUNDER HILL RD                                                                           COLUMBIA          MD    21045‐2270
MARIAN L YATES                                  516 LEISURE ACRES                                                                              SPARTA            MI    49345‐1557
MARIAN LEMMONS REED & DEBORAH R ROACH JT TEN    1615 BERRYWOOD RD                                                                              NASHVILLE         TN    37216‐3418

MARIAN M BALLARD                                9639 COVEMEADOW DR                                                                             DALLAS            TX    75238
MARIAN M BURKHART                               218 RIVERBEND ADDITION                                                                         EDGERTON          OH    43517
MARIAN M CHARZAN                                306 JOYCE WAY                                                                                  MILL VALLEY       CA    94941‐3859
MARIAN M CLAWSON & PATRICK M CLAWSON JT TEN     411 E INDIAN SCHOOL RD APT 3048                                                                PHOENIX           AZ    85012‐1898

MARIAN M DAVID & JOHN G DAVID JT TEN            10149 GOLFSIDE DR                                                                              GRAND BLANC       MI    48439‐9417
MARIAN M DAVIDSON                               2905 RIVERSIDE DR                                                                              LORAIN            OH    44055‐2232
MARIAN M DI STASIO                              21022 MADRIA CIR                                                                               BOCA RATON        FL    33433‐2529
MARIAN M KERNS                                  18509 HOLLAND RD                                                                               BROOKPARK         OH    44142‐1404
MARIAN M KIEFFER                                50 OLD FORT ROAD                                                                               BERNARDSVILLE     NJ    07924‐1813
MARIAN M LANCASTER TR MARIAN M LANCASTER        389 WOODFIELD SQUARE LANE                                                                      BRIGHTON          MI    48116‐4322
TRUST UA 09/04/02
MARIAN M LUSHCH                                 3068 KENT ROAD 408C                                                                            STOW              OH    44224‐4446
MARIAN M MATERA                                 14951 EDMORE DR                                                                                DETROIT           MI    48205‐1346
MARIAN M MCARTHY                                10 SARA KATHRYN WAY                                                                            WALDWICK          NJ    07463‐1356
MARIAN M MILLIMAN                               10149 GOLFSIDE                                                                                 GRAND BLANC       MI    48439‐9417
MARIAN M PRESNAL                                16 CECELIA ST                                                                                  SAYREVILLE        NJ    08872‐1804
MARIAN M ROSCOE                                 1261 STATE RT 11‐B                                                                             DICKINSON CTR     NY    12930
MARIAN M TAYLOR                                 125 PIER B                                                                                     NAPLES            FL    34112‐8113
MARIAN M VALENTINE                              24304 GROVE AVE                                                                                EASTPOINTE        MI    48021
MARIAN M WALLACE                                25843 CHENE TRCE                                                                               ROBERTSDALE       AL    36567‐3412
MARIAN MASON                                    300 MCCANDLESS ST                                                                              LINDEN            NJ    07036‐2325
MARIAN MEASER ADM EST ERWIN MEASER              355 PELHAM RD #220                                                                             NEW ROCHELLE      NY    10805
MARIAN MEEK                                     9347 CLEARMEADOW LANE                 TIMBER GREENS                                            NEW PORT RICHEY   FL    34655‐5104

MARIAN MICHALAK & MRS INGERBORG MICHALAK JT     816 WHITE BIRCH CT                                                                             ORANGE CITY       FL    32763‐7505
TEN
MARIAN MIKUSZEWSKI                              15671 TORREY PINE DRIVE                                                                        ORLAND PARK       IL    60462‐7755
MARIAN MOELLER TR UA 10/01/86 MARIAN MOELLER    621 RAMONA AVE APT B                                                                           LAGUNA BEACH      CA    92651‐2458
TRUST
MARIAN O COLE & DALE COLE JT TEN                C/O MARIAN O COLE                     9512 N E 56TH COURT                                      VANCOVER          WA    98665‐8253
MARIAN O COX TR UA 12/28/88 MARIAN O COX REV    575 MERRITT LN                                                                                 BIRMINGHAM        MI    48009
LIVING TRUST
MARIAN P LUKASZEWICZ                            130 NEWTON AVE                                                                                 GIBBSTOWN         NJ    08027‐1662
MARIAN P SWEETING & DRUSILLA PEYTON TAYLOR JT   442 PAUL ROAD                                                                                  ROCHESTER         NY    14624‐4726
TEN
MARIAN P YACONE                                 52 9TH ST                                                                                      SOMERSET          NJ    08873‐1550
MARIAN PARKER                                   2742 LOCHMOOR BLVD                                                                             LAKE ORION        MI    48360‐1946
MARIAN PENNINGTON & EDWARD J PENNINGTON JT      5505 E MAPLE AVE                                                                               GRAND BLANC       MI    48439‐9002
TEN
MARIAN PERZELY                                  242 VERNON AVE                                                                                 PATERSON          NJ    07503‐1523
MARIAN R CHILDS                                 4235 SUMMIT RIDGE                                                                              DALLAS            TX    75216‐6017
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MARIAN R DOUCE                                  ATTN HCJB                             PO BOX 39800                                             COLORADO SPRINGS CO      80949‐9800

MARIAN R KEIDAN                                 C/O SELTZER                           7431 WOODLORE DR                                         WEST BLOOMFIELD MI       48323‐1393

MARIAN R MOORE                                  C/O MARIAN MOORE GRIFFITHS            36 ORCHARD ROAD                                          S BURLINGTON       VT    05403‐6132
MARIAN R PETERSEN                               9460 N 92ND ST                        NIT 209                                                  SCOTTSDALE         AZ    85258‐5103
MARIAN R THORNE & KASSANDRA ELLISON & SUSAN     11367 N JENNINGS RD                                                                            CLIO               MI    48420‐1513
LAVERY JT TEN
MARIAN R WOLFF                                  127 JEFFERSON AVE                                                                              JANESVILLE         WI    53545‐4128
MARIAN R ZANDSTRA                               1131 LOCKSLEY DR S W                                                                           GRAND RAPIDS       MI    49509‐2027
MARIAN S BATOR                                  34 STRATFORD PLACE                                                                             N ARLINGTON        NJ    07031‐6715
MARIAN S CREAMER                                100 HOMESTEAD AVE                                                                              HADDONFIELD        NJ    08033‐2728
MARIAN S GLASS                                  7800 CHIPPEWA ST                                                                               PORTAGE            MI    49024‐4869
MARIAN S HART TOD BARBARA H HADLEY SUBJECT TO   52 W HIGH ST APT F                                                                             PAINESVILLE        OH    44077‐3348
STA TOD RULES
MARIAN S HART TOD CHRISTINE H HOWLETT SUBJECT   52 W HIGH ST APT F                                                                             PAINESVILLE        OH    44077‐3348
TO STA TOD RULES
MARIAN S HART TOD LOUISE H BENNETT SUBJECT TO   52 W HIGH ST APT F                                                                             PAINESVILLE        OH    44077‐3348
STA TOD RULES
MARIAN S MC CARTHY                              PO BOX 2064                                                                                    BEACH HAVEN        NJ    08008
MARIAN S SHEA                                   131 GREENFIELD OVAL NW                                                                         WARREN             OH    44483‐1100
MARIAN S TASCIONE                               955 LINCOLN AVE                                                                                GIRARD             OH    44420‐1947
MARIAN S ULP                                    3 GURSSLIN LN                                                                                  HILTON             NY    14468‐9380
MARIAN SCHMITT                                  1694 SUMMIT ST                                                                                 YORKTOWN           NY    10598‐4748
                                                                                                                                               HEIGHTS
MARIAN SHOEMAKER                                11 WOODLAND RD                                                                                 FEASTERVILLE       PA    19053‐6350
MARIAN SIEGEL                                   4243 CARRIAGE DR                                                                               SARASOTA           FL    34241‐6116
MARIAN T BRODERICK                              2109 CHEROKEE PKWY                                                                             LOUISVILLE         KY    40204‐2212
MARIAN T HELDMANN                               C/O ARTHUR PODANN                     15 RAINBOW TRAIL                                         VERNON             CT    06066‐5918
MARIAN T LISTWAK                                2933 BURNSIDE ROAD                                                                             NORTH BRANCH       MI    48461‐9796
MARIAN T WHALEN                                 597 WALNUT ST                                                                                  NEWTONVILLE        MA    02460‐2466
MARIAN THOMPSON                                 8330 LEAVER AVE NW                                                                             CANAL FULTON       OH    44614‐8870
MARIAN TYRKUS                                   11652 BROUGHAM DR                                                                              STERLING HEIGHTS   MI    48312‐3906

MARIAN U MCDOWELL                               3324 MERRIMAC                                                                                  FT WORTH           TX    76140‐2540
MARIAN V AGAZARIAN CUST JOSEPH N PETERSON       12 EXETER ST                                                                                   PORTLAND           ME    04102‐2807
UGMA ME
MARIAN V AGAZARIAN CUST NICHOLAS G PETERSON     12 EXETER ST                                                                                   PORTLAND           ME    04102‐2807
UGMA ME
MARIAN VIRGINIA REDBURN                         10392 GREEN RD                                                                                 GOODRICH           MI    48438‐9428
MARIAN W ANDERSON                               630 E LAFAYETTE DR                                                                             WEST CHESTER       PA    19382‐6815
MARIAN W HART                                   3729 HELSELY FUSSELMAN RD                                                                      SOUTHINGTON        OH    44470‐9739
MARIAN W KIELY & JOHN W KIELY JT TEN            2805 WHITNEY AVE                                                                               HAMDEN             CT    06518‐2544
MARIAN W MIKOLAJCZYK                            5633 KING ARTHUR CT                                                                            TOLEDO             OH    43613‐2323
MARIAN W RICH                                   2100 SUGG DR                                                                                   WACO               TX    76710‐2736
MARIAN W TIDD                                   340 UNION ST S                                                                                 CONCORD            NC    28025‐5018
MARIAN W YODER & HUBERT A YODER JT TEN          3800 SHAMROCK DR                                                                               CHARLOTTE          NC    28215‐3220
MARIAN WAGNER BROWN                             4570 ELM STREET                                                                                BELLAIRE           TX    77401‐3718
MARIAN WALSH & JAMES P WALSH JT TEN             31916 RUSH                                                                                     GARDEN CITY        MI    48135‐1758
MARIAN WOOD LILLIECREUTZ                        GALLRINGESUND                         S‐64050 BJORNLUNDA                     SWEDEN
MARIAN Y WILKINS                                8322 YOLANDA                                                                                   DETROIT            MI    48234‐3351
MARIANA C WANDRES                               110 RIVER ROAD                                                                                 NEW PALTZ          NY    12561‐3008
MARIANA PARKER                                  131 NORTH ST                                                                                   SALEM              MA    01970‐2541
MARIANA S REID                                  1211 4TH AVE N                        APT 104                                                  SAUK RAPIDS        MN    56379‐2231
MARIANE DOMINICE                                37 ARTHER ST                                                                                   GREENWICH          CT    06831
MARIANN E PAVIS                                 4853 WESTCHESTER                      APT 315                                                  YOUNGSTOWN         OH    44515‐2590
MARIANN F ULAM                                  6800 OVERSEAS HIGHWAY                 APT 103                                                  MARATHON           FL    33050‐3123
MARIANN R HAINES                                1764 SR 61                                                                                     CRESTLINE          OH    44827‐9786
MARIANN SAYLER                                  PO BOX 8                                                                                       BEULAH             ND    58523‐0008
                                           09-50026-mg                   Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MARIANN SIEGERT                                  9 WOLLY BUCKET PL                                                                               THE WOODLANDS     TX    77380‐3357
MARIANNA BOUVET KERR                             2038 BAYHILL DR                                                                                 CHARLESTON        SC    29414‐6711
MARIANNA C CHEESEMAN                             PO BOX 613                                                                                      SAINT IGNACE      MI    49781
MARIANNA E ARREGUIN                              1625 LANSING AVE                                                                                LANSING           MI    48915‐2216
MARIANNA H RIVINUS CUST MARIANNA MAC DONNELL     1353 RADCLIFFE CIRCLE                                                                           CORONA            CA    92881‐6633
U‐CA‐UTMA
MARIANNA HALL                                    10 PINE ST                                                                                      N TONAWANDA       NY    14120‐5625
MARIANNA HUDYMIAK                                234 FENTON ST                                                                                   BUFFALO           NY    14206‐3217
MARIANNA ILIFF                                   2405 MIDDLE RIVER DR                                                                            FORT LAUDERDALE   FL    33305

MARIANNA J WHITT                                 4042 BLUE RUN RD                                                                                LUCASVILLE        OH    45648‐8777
MARIANNA JACKSON                                 2017 GLENFLORA AVE                                                                              WAUKEGAN          IL    60085‐2666
MARIANNA K KLINE & MARION KLINE JT TEN           #302                                   360 PRAIRIE                                              WILMINGTON        OH    45177‐1757
MARIANNA K KOPCSO                                120 QUENBY PLACE                                                                                STRATFORD         CT    06614‐1833
MARIANNA K ZAGRODNIK                             49 JOSEPHINE TERRACE                                                                            BRISTOL           CT    06010‐6106
MARIANNA M CERVANTES                             5675 HANLEY                                                                                     WATERFORD         MI    48327‐2565
MARIANNA O ZAMBELLI                              4383 IRENE DRIVE                                                                                ST CLAIR          MI    48079‐3591
MARIANNA S DRINKARD TOD EMORY R DRINKARD         458 WATSON BLVD                                                                                 MARIETTA          GA    30064
SUBJECT TO STA TOD RULES
MARIANNA S GARRETT                               1605 HUNTING AVE                                                                                MCLEAN            VA    22102‐2915
MARIANNA S WRIGHT CUST MORGAN BISHOP WRIGHT      443 S ROOSEVELT DR                                                                              EVANSVILLE        IN    47714‐1629
UTMA IN
MARIANNA SOLO                                    59 KNOLLS RD                                                                                    BLOOMINGDALE      NJ    07403‐1513
MARIANNA THORPE                                  1679 TERRELL RIDGE DRIVE                                                                        MARIETTA          GA    30067‐8443
MARIANNA TOCCACELI                               114 QUEENS DRIVE SOUTH                                                                          LITTLE SILVER     NJ    07739‐1631
MARIANNA WARNER                                  17 N WENRICK                                                                                    COVINGTON         OH    45318‐1651
MARIANNE A BEATRICE                              809 FOREST ROAD                                                                                 NEW HAVEN         CT    06515‐2725
MARIANNE A SCHOEN TR MARIANNE A SCHOEN TRUST     538 S LAGRANGE ROAD                                                                             LAGRANGE          IL    60525‐6738
UA 05/30/03
MARIANNE ABADIE                                  2000 CHATSWORTH RD                                                                              CARROLLTON        TX    75007‐3504
MARIANNE B LEGEZA                                1447 FIRETHORN DRIVE                                                                            SEVEN HILLS       OH    44131‐3039
MARIANNE B SMITH                                 PO BOX 610                                                                                      MERIDEN           CT    06450‐0610
MARIANNE BARR                                    7870 CLEARWATER COVE DR                                                                         INDIANAPOLIS      IN    46240‐4900
MARIANNE BOND                                    2539 ARANDA DRIVE                                                                               SAN RAMON         CA    94583‐2013
MARIANNE BOWES                                   3425 NE 33RD PL                                                                                 PORTLAND          OR    97212‐2655
MARIANNE BRAUNER & JAMES J BRAUNER JT TEN        34433 LITTLE MACK                                                                               CLINTON TWP       MI    48035‐4700
MARIANNE C GREATSINGER                           12407 WADSWORTH LN                                                                              SPOTSYLVANIA      VA    22553‐8128
MARIANNE C HAFNER                                98 PARK TERR EAPT 4E                                                                            NEW YORK          NY    10034‐1421
MARIANNE C NOWAK                                 12829 BASELL DR                                                                                 HEMLOCK           MI    48626‐7403
MARIANNE C WALASZEK                              23 WEST AVE                                                                                     OLD BRIDGE        NJ    08857‐3823
MARIANNE CARROLL                                 4626 JOHNS CEMETERY RD                                                                          MIDDLEBURG        FL    32068‐4618
MARIANNE CIRELLI                                 215 E EDISON AVE                                                                                NEW CASTLE        PA    16101‐2312
MARIANNE DEYO TISCH                              1305 GANGPLANK DR                                                                               VALRICO           FL    33594‐4409
MARIANNE DUNN                                    PO BOX 718                                                                                      YORK BEACH        ME    03910‐0718
MARIANNE E AZADIAN                               14 MARY AVE                                                                                     MAHOPAC           NY    10541‐4730
MARIANNE E BARTLETT                              49 MOSSY POINT RD                                                                               TICONDEROGA       NY    12883‐2412
MARIANNE E BEDORE & DAVID M BEDORE JT TEN        12119 SEYMOUR ROAD                                                                              MONTROSE          MI    48457
MARIANNE E CUMMINS                               16‐20 ST ANNE STREET                                                                            FAIR LAWN         NJ    07410‐2028
MARIANNE EERTMOED                                7617 ROCKFIELD DR                                                                               LAS VEGAS         NV    89128‐7929
MARIANNE FEENEY & PAUL A FEENEY JT TEN           36 N FAIR ST                                                                                    WARWICK           RI    02888‐1636
MARIANNE FISHER                                  3108 HONEYCUTT CIRCLE                                                                           DAYTON            OH    45414‐2323
MARIANNE FREDERICK                               2601 61ST AVE S                                                                                 ST PETERSBURG     FL    33712
MARIANNE G CHARLES                               333 HAMILTON CIRCLE                                                                             ELYRIA            OH    44035‐3612
MARIANNE G MOLFESE TOD GAIL LOULLIS SUBJECT TO   16 DEEPWOOD DRIVE                                                                               CHAPPAQUA         NY    10514
STA TOD RULES
MARIANNE GANGI PUPELLO                           APT 6‐E                                38 MONROE STREET                                         NEW YORK          NY    10002‐7715
MARIANNE GOLDSMITH                               110 OLD STONEHOUSE RD                                                                           BEDMINSTER        NJ    07921‐2562
MARIANNE GUNNARSSON                              HOGSVAGEN 10                           S‐244 41 KAVLINGE                      SWEDEN
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MARIANNE H GENIUSZ & THOMAS R GENIUSZ JT TEN        503 W BLOOMFIELD AVE                                                                           ROYAL OAK        MI    48073‐2569

MARIANNE HALLAHAN                              20 N PIONEER BLVD                                                                                   SPRINGBORO       OH    45066‐3057
MARIANNE HOLZHAUSER & SUSANNE E KISCHKE JT TEN 2977 SUNSHINE TERR                                                                                  WATERFORD        MI    48329‐2976

MARIANNE I MCLAUGHLIN                               1213 3RD AVE                                                                                   TOMS RIVER       NJ    08757‐3308
MARIANNE J SCHEMPP                                  5583 MARY COURT                                                                                SAGINAW          MI    48603‐3642
MARIANNE J SCHEMPP & JOSEPH G SCHEMPP JT TEN        5583 MARY COURT                                                                                SAGINAW          MI    48603‐3642

MARIANNE J SICKLE                                   4664 HAYDEN RUN RD                                                                             COLUMBUS         OH    43221‐5905
MARIANNE J SICKLE & BRENDA J SICKLE JT TEN          4664 HAYDEN RUN RD                                                                             COLUMBUS         OH    43221‐5905
MARIANNE J SICKLE & BRENDA J SICKLE‐SANTANELLO JT   4664 HAYDEN RUN RD                                                                             COLUMBUS         OH    43221‐5905
TEN
MARIANNE JOSWIAK CARSON                             7059 LOCKLIN STREET                                                                            W BLOOMFIELD     MI    48324
MARIANNE K FOLEY                                    17 APPLETOWN RD                                                                                GREENVILLE       RI    02828‐1311
MARIANNE KALFS                                      1406 BERRY WOOD LN                                                                             FLINT            MI    48507‐5327
MARIANNE KEELER                                     C/O PETER KELLY                       PO BOX 128                                               LAKEMONT         GA    30552‐0003
MARIANNE L BOHN                                     607 BEECH ST                                                                                   CHESAPEAKE       VA    23324‐1201
MARIANNE L DEGNAN                                   8051 WILLOW LANE                                                                               WARREN           MI    48093‐1634
MARIANNE L GOEMMEL & JAMES M GOEMMEL JT TEN         1508 45TH AVE E                                                                                ELLENTON         FL    34222‐2644

MARIANNE L LAMBERT                                  8550 DALTON ROAD                                                                               ONSTED           MI    49265‐9577
MARIANNE L PADOVANO & CARL A PADOVANO JT TEN        26 DEDHAM ST                                                                                   HYDE PARK        MA    02136‐1604

MARIANNE L PURSELL                               5335 STATE RT 405                                                                                 MILTON           PA    17847‐7515
MARIANNE L SCHOLL                                111 E WOODLAND DR                                                                                 MECHANICSBURG    PA    17055‐3373
MARIANNE L SCHOLL CUST JENNIFER L SCHOLL UGMA PA 111 E WOODLAND DR                                                                                 MECHANICSBURG    PA    17055‐3373

MARIANNE L TAYLOR                                   154 ROCKWAY DR                                                                                 LINDEN           MI    48451‐9140
MARIANNE LUKUS CUST JOSEPH N LUKUS UTMA PA          4929 LUKUS DR                                                                                  CLARKS SUMMIT    PA    18411‐8731

MARIANNE LULFS                                      5917 COUNTRY RD S                                                                              METAMORA         OH    43540‐9735
MARIANNE M BRONLEY                                  3143 PORTER LN                                                                                 VENTURA          CA    93003‐4816
MARIANNE M HALPIN                                   PO BOX 2                                                                                       HADLYME          CT    06439‐0002
MARIANNE M LEE CUST JOHN P LEE UGMA NC              42 SUNSET PARKWAY                                                                              ASHEVILLE        NC    28801‐1529
MARIANNE M LOONEY                                   14 WEST JEFFERSON ST                                                                           COLORADO SPRINGS CO    80907‐6731

MARIANNE M MENSINGER                                47 IDLEWILD ROAD                                                                               LEVITTOWN        PA    19057‐2204
MARIANNE M STIFF                                    12512 FRANCIS RD                                                                               COLUMBIAVILLE    MI    48421‐8806
MARIANNE M WRIGHT CUST CHRISTOPHER J WRIGHT         11 UDELL WAY                                                                                   EAST NORTHPORT   NY    11731‐3713
UGMA NY
MARIANNE M WRIGHT CUST CHRISTOPHER WRIGHT           11 UDELL WAY                                                                                   EAST NORTHPORT   NY    11731‐3713
UGMA IL
MARIANNE MC GLYNN                                   PO BOX 98                                                                                      MOUNT LAUREL     NJ    08054
MARIANNE MCLAUGHLIN CONWAY                          950 MORGAN HWY                        STE 100                                                  CLARKS SUMMIT    PA    18411
MARIANNE P FENZL TR MARIANNE P FENZL TRUST UA       13018 WINDING TRAIL LANE                                                                       DES PEREZ        MO    63131‐2246
12/11/91
MARIANNE PAHSSEN & KIRSEN L DOOLITLE & STACEY M     1020 CARRICK DRIVE                                                                             ROSCOMMON        MI    48653
JORDAN JT TEN
MARIANNE PHILLIPS & VERONICA DUNKER JT TEN          1083 BEACON ST                        APT 1                                                    BROOKLINE        MA    02446‐5638
MARIANNE R ANDREWS                                  11540 MESSMORE RD                                                                              UTICA            MI    48317‐4462
MARIANNE R MAULDIN CUST MATHEW R MAULDIN            1021 HARRISON DRIVE                                                                            MINOT            ND    58703‐1617
UTMA FL
MARIANNE REILLY                                     6219 82ND ST                                                                                   MIDDLE VILLAGE   NY    11379‐1426
MARIANNE RIVA                                       2509 3RD ST                                                                                    PERU             IL    61354‐3154
MARIANNE S SAMARDICH                                75187 PETERS DR                                                                                ROMEO            MI    48065‐2528
MARIANNE S YACOUB                                   180 S COLONIAL DR                                                                              CORTLAND         OH    44410‐1265
MARIANNE SALIBELLO                                  1002 RUSSELL DR                                                                                HIGHLAND BEACH   FL    33487‐4230
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Name                                            Address1                             Address2              Address3         Address4          City              State Zip

MARIANNE SMILEY                                 11325 STONYBROOK DR                                                                           GRAND BLANC       MI    48439‐1009
MARIANNE STOCKTON & RONNIE STOCKTON JT TEN      42950 BEMIS RD                                                                                BELLEVILLE        MI    48111‐9165

MARIANNE T MICKLE                               2775 BULLIS DR                                                                                MARION            IA    52302‐9071
MARIANNE VALERIO                                184 BAYCREST DRIVE                                                                            ROCHESTER         NY    14622
MARIANNE W WILLIAMS                             1100 LANGLEY PLACE                                                                            BRENTWOOD         TN    37027
MARIANNE WEISSMAN TR WEISSMAN REVOCABLE         7326 DAUVIN COURT                                                                             PORT RICHEY       FL    34668‐1608
LIVING TRUST UA 11/14/01
MARIANNE WHITLOW                                13709 HUMMINGBIRD DR                                                                          CHOCTAW           OK    73020‐7154
MARIANNE WIDMAIER                               267 CHURCH STREET                                                                             BELFORD           NJ    07718‐1548
MARIANNE WILCOX                                 275 CROMWELL DRIVE                                                                            ROCHESTER         NY    14610‐3104
MARIANNE WISNIEWSKI                             4201 WOLF COURT                                                                               HAMPSTEAD         MD    21074
MARIANO ANG                                     18 W 089 HOLLY AVE                                                                            WESTMONT          IL    60561‐3629
MARIANO AROCHENA                                5832 LORENZO DR                                                                               GRAND PRAIRIE     TX    75052‐8766
MARIANO C DURAN                                 10168 LEONA AVE                                                                               TUJUNGA           CA    91042‐2567
MARIANO M MARTINEZ                              1227 SO FRASER AVE                                                                            LOS ANGELES       CA    90022‐3805
MARIANTHE A BODE CUST AIMEE JOCELYN BODE UGMA 17 SOUTHERN AVE                                                                                 ESSEX             MA    01929‐1404
MA
MARIANTHE ANAGNOSTIS                            17 SOUTHERN AVENUE                                                                            ESSEX             MA    01929‐1404
MARIANTONIA SYDORENKO                           6156 ROANOKE CIRCLE                                                                           PARMA             OH    44134‐3151
MARIAS L MIRONIUK                               1797 E ROUND LK RD                                                                            DEWITT            MI    48820‐8403
MARIBELL J SISSON                               63112 W FISH LAKE RD                                                                          STURGIS           MI    49091‐9366
MARIBETH ONEILL                                 1612 MORNINGSIDE DR                  APT 6                                                    JANESVILLE        WI    53546‐1253
MARIBETH S MODNEY                               4195 EMERALD BLVD                                                                             RICHFIELD         OH    44286
MARIBETH T AMBELIOTIS                           3369 GOLDRUSH CT                                                                              CINCINNATI        OH    45211‐6106
MARICATHER KERSEY                               2022 HOWAD AVE                                                                                FLINT             MI    48503‐4210
MARICE BERMAN CUST LAURA BERMAN UTMA WI         2220 W HEMLOCK RD                                                                             GLENDALE          WI    53209‐2142
MARICE D FRANDSEN                               PSC 80                               BOX 14233                                                APO               AP    96367
MARICLENA NOVELLO                               7670 PARKER HILL RD                                                                           DANSVILLE         NY    14437‐8900
MARIDONNA KNORR TR MARIDONNA KNORR REV          4316 N W 29 WAY                                                                               BOCA RATON        FL    33434‐5806
TRUST UA 07/21/97
MARIE A ABBATE                                  163‐44 21ST RD                                                                                WHITESTONE        NY    11357‐4028
MARIE A BAILEY                                  353 ST LOUIS AVE                                                                              YOUNGSTOWN        OH    44511‐1727
MARIE A BARANYAI & LEILA M BRAUER JT TEN        C/O LAWSON                           1230 HUFF STREET                                         NILES             MI    49120‐9508
MARIE A BOERIO                                  915 W FOOTHILL BLVD # C160                                                                    CLAREMONT         CA    91711‐3356
MARIE A BONICA                                  9103 COTWALD WAY                                                                              NEWPORT RICHEY    FL    34655‐1324
MARIE A CARNES                                  22771 WOODRIDGE DR                                                                            HAYWARD           CA    94541‐3223
MARIE A CHICK & STEPHEN C CHICK JT TEN          7212 LANGERFORD                                                                               PARMA             OH    44129‐6505
MARIE A CHICK CUST ANTHONY J VALENTI JR UGMA OH 22111 RIVER OAK DR                   D1                                                       ROCKY RIVER       OH    44116‐3160

MARIE A CLINGENPEEL                             178 W 2ND ST                         BOX 152                                                  VERMONTVILLE      MI    49096‐0152
MARIE A DAVIS                                   3 SAMSON CT                          ESTATES OF RED LION                                      BEAR              DE    19701
MARIE A DEUTSCHLANDER                           5 CIDERMILL CT                                                                                DEPEW             NY    14043‐5005
MARIE A DUGAN                                   10300 E FRANKLIN                                                                              NORMAN            OK    73026‐6990
MARIE A ELSDEN                                  366 THELGAR RD RR4                   LAKEFIELD ON                           K0L 2H0 CANADA
MARIE A ELSDEN                                  366 THELGAR ROAD                     RR 4 LAKEFIELD ON                      K0L 2H0 CANADA
MARIE A FEATHERMAN                              518 W BROAD ST                                                                                BETHLEHEM         PA    18018‐5219
MARIE A FEIL                                    6096 UPLAND TERRACE SO                                                                        SEATTLE           WA    98118‐2928
MARIE A FLESHER CUST CHERYL LYNN FLESHER UGMA   1463 WINDSOR LANE                                                                             SHAKOPEE          MN    55379‐8069
MN
MARIE A GARBOWSKI                               C/O M G BLANKEN                      65 MAC ARTHUR AVE                                        SAYREVILLE        NJ    08872‐1028
MARIE A GERGER & JEANET WEISENBERGER JT TEN     5200 OVERHILL DRIVE                                                                           SAGINAW           MI    48603

MARIE A GERGER & MARY ANN SLAGGERT JT TEN       100 MCEWAN STREET                                                                             CLARE             MI    48617
MARIE A GRGURICH                                15 SHORT STREET                                                                               PITTSBURGH        PA    15223‐1236
MARIE A GUION                                   17207 FINCH PATH                                                                              FARMINGTON        MN    55024‐9343
MARIE A HANNENBERG                              1104 LONCAR DE                                                                                ROCHESTER HILLS   MI    48307‐4690
MARIE A HAWKINS TR ROBERT & MARIE A HAWKINS     191 WHISPERING WIND DR                                                                        GEORGETOWN        TX    78628‐4584
LIVING TRUST UA 8/12/00
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Name                                               Address1                               Address2             Address3          Address4          City              State Zip

MARIE A HILDRETH                                   7540 SEBAGO ROAD                                                                                BETHESDA          MD    20817‐4842
MARIE A HOFFMAN                                    1926 WILKINS ROAD                                                                               LAUREL            MT    59044‐9572
MARIE A HOULE                                      850 S BEACH ST                                                                                  DAYTONA BEACH     FL    32114‐5502
MARIE A KARR                                       12 KNOLLWOOD RD                                                                                 WHIPPANY          NJ    07981‐1819
MARIE A KAWA & ALBERT G KAWA JT TEN                5327 SARATOGA AVE                                                                               CHEVY CHASE       MD    20815
MARIE A KOERNER                                    8756 WOODBRIDGE DR                                                                              GREENDALE         WI    53129‐1086
MARIE A KONNICK                                    1943 SUNRIDGE CIR                                                                               SANDY             UT    84093‐7049
MARIE A LAGRASTA                                   17512 KITTRIDGE ST                                                                              VAN NUYS          CA    91406‐5321
MARIE A LAPRAIRIE CUST LYNETTE LAPRAIRIE UGMA MI   3061 LANNING                                                                                    FLINT             MI    48506‐2050

MARIE A LUBOYESKI                                  44 SALT POND WAY                                                                                WESTERLY          RI    02891‐4445
MARIE A LUCAS                                      120 BRISCOE RD                                                                                  NEW CANAAN        CT    06840
MARIE A MARTIN & RICHARD J MARTIN JT TEN           24 WALNUT ST                                                                                    SHARON            MA    02067‐1947
MARIE A MCALLISTER                                 1132 URANA AVE                                                                                  COLUMBUS          OH    43224
MARIE A MEALEY                                     C/O EUGENE M MEALEY                    1018 CHANTILLY                                           ANDERSON          SC    29625
MARIE A MELTON & JOE A MELTON JT TEN               1107 RITA LN                                                                                    DUNCAVILLE        TX    75116‐2037
MARIE A MERCER TR UA 07/26/1990 MERCER FAMILY      1580 WARBLER AVE                                                                                SUNNYVALE         CA    94087
TRUST
MARIE A MILLER                                     1123 AVENUE G                                                                                   ORMOND BEACH      FL    32174‐6855
MARIE A MORRO                                      22771 WOODRIDGE DR                                                                              HAYWARD           CA    94541‐3223
MARIE A NEWBY                                      W245 S7015 HEATHER CT                                                                           VERNON            WI    53189‐9350
MARIE A OOMEN                                      116 DENVER STREET                                                                               LANSING           MI    48911
MARIE A PAPIERNIAK                                 1511 CRESTWOOD LANE                                                                             NEW ULM           MN    56073‐3808
MARIE A PAPIERNIAK & FRANK J PAPIERNIAK JT TEN     1511 CRESTWOOD LANE                                                                             NEW ULM           MN    56073‐3808

MARIE A PIUNNO                                     1068 SQUIRE CHEYNEY                                                                             WEST CHESTER      PA    19382‐8065
MARIE A POWERS                                     2150 INDIAN LAKE RD                                                                             OXFORD            MI    48370‐3102
MARIE A RANKART                                    626 PAULEY PL NE                                                                                ATLANTA           GA    30328
MARIE A RANKART & JOHN G RANKART JT TEN            626 PAULEY PL NE                                                                                ATLANTA           GA    30328‐5222
MARIE A S CHURCHILL                                1426 HICKORY                                                                                    ROYAL OAK         MI    48073‐3292
MARIE A SANSONE & KATHRYN L MELLO JT TEN           709 S DUPONT ST                                                                                 WILMINGTON        DE    19805‐4218
MARIE A SCHLUGE                                    2530 SOUTH 66TH STREET                                                                          MILWAUKEE         WI    53219‐2633
MARIE A SCHOLL                                     1265 E STATE ST                                                                                 SALEM             OH    44460‐2221
MARIE A SCHOLL & RICHARD N SCHOLL JT TEN           1265 E STATE ST                                                                                 SALEM             OH    44460‐2221
MARIE A SHREVES                                    6914 STATE ROUTE #7                                                                             KINSMAN           OH    44428‐9788
MARIE A SNIFFEN                                    144 FRANK CHANDLER RD                                                                           NEWTON            NJ    07860‐6918
MARIE A TREMBLAY                                   5 JAMES ST                                                                                      LISBON            CT    06351‐3128
MARIE A VAT                                        8590 WILCOX RD                                                                                  BROWN CITY        MI    48416‐9647
MARIE A WALSH                                      88 KEARNEY AVE                                                                                  TRENTON           NJ    08629‐2118
MARIE A WEBBER                                     7034 SPAULDING RD                                                                               RAVENNA           MI    49451‐9522
MARIE A WERNER                                     9600 S HOYNE                                                                                    CHICAGO           IL    60643‐1633
MARIE A WILT                                       PO BOX 333                                                                                      WYSOX             PA    18854
MARIE A ZALON                                      90 CHESTNUT ST                                                                                  MIDDLEBORO        MA    02346‐2910
MARIE A ZELNER                                     2021 PHEASANT HILL RD                                                                           LANSDALE          PA    19446‐5048
MARIE AGNES KEELER                                 106 W VALLEY VIEW AVE                                                                           HACKETTSTOWN      NJ    07840‐1226
MARIE AGNES NELSON                                 4075 MANNER DR                                                                                  FLINT             MI    48506‐2064
MARIE AMATO                                        7 ALDER CT                                                                                      MATAWAN           NJ    07747‐3717
MARIE ANGELIQUE WILT                               PO BOX 333                                                                                      WYSOX             PA    18854‐0333
MARIE ANN GALLAGHER & RICHARD M GALLAGHER JT       13883 KATHLEEN DR                                                                               BROOKPARK         OH    44142‐4033
TEN
MARIE ANN MATTIOLI                                 206 EAST MAIN ST PENNS                                                                          GROVE             NJ    08069‐1881
MARIE ANNA TROTTIER                                5553 EAST BAYWOOD                                                                               MESA              AZ    85206‐1429
MARIE ANSPACH                                      1990 RIVER ROAD APT 304                                                                         MARYVILLE         MI    48040‐1814
MARIE ANTOS                                        PO BOX 3593                                                                                     SEAL BEACH        CA    90740‐7593
MARIE ARS H BARKSDALE                              1078 AUGUSTA DR                                                                                 OXFORD            MS    38655
MARIE ATWELL                                       1104 SUYMOUR                                                                                    GRAND LEDGE       MI    48837‐2129
MARIE B BADAGLIACCA                                120 NORTH BROADWAY                                                                              IRVINGTON         NY    10533‐1239
MARIE B DAMICO                                     26 HAZEL ST                                                                                     HARRINGTON PARK   NJ    07640‐1306
                                                09-50026-mg               Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
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MARIE B DUMKE                                     7525 NORTH 107TH ST                                                                                   MILWAUKEE          WI    53224‐3707
MARIE B MAC FARLANE TR MARIE B MAC FARLANE        11112 WOODSON AVE                                                                                     KENSINGTON         MD    20895‐1607
REVOCABLE TRUST UA 08/03/06
MARIE B MARTINEZ                                  8040 LAMPHERE                                                                                         DETROIT            MI    48239‐1114
MARIE B MILLIGAN & JOHN W MILLIGAN JT TEN         3643 HOPPER HILL RD                                                                                   CINCINNATI         OH    45255‐5225
MARIE B MILLIK                                    179 WILLARD N E                                                                                       WARREN             OH    44483‐5525
MARIE B MURPHY                                    387 INDEPENDENCE DR                                                                                   SOUTHAMPTON        PA    18966‐2741
MARIE B ORMOND & THOMAS D ORMOND JR JT TEN        450 THORNRIDGE DR                                                                                     LEVITTOWN          PA    19054

MARIE B REITZ                                     8 CANDLEWOOD CIR                                                                                      PITTSFORD          NY    14534‐4603
MARIE B REITZ TR UW HARRY H REITZ FBO MARIE B     8 CANDLEWOOD CIR                                                                                      PITTSFORD          NY    14534‐4603
REITZ
MARIE B SHEARER                                   1762 MORAN                                                                                            LINCOLN PARK       MI    48146‐3856
MARIE B SZEWCZYK                                  1042 S GRANBY WAY                                                                                     AURORA             CO    80012‐3700
MARIE B WEISKIRCH TR UA 04/27/2007 WEISKIRCH      529 S PINE STREET                                                                                     HEMLOCK            MI    48626
TRUST NO 1
MARIE B WOLFE                                     1647 SNAKE SWAMP RD                                                                                   COPE               SC    29038‐9534
MARIE BARFIELD                                    2154 COUNTY ROAD 1380                                                                                 ALEX               OK    73002‐2224
MARIE BAUER                                       708 PIPER DRIVE                                                                                       SAQUINAW           MI    48604‐1816
MARIE BERICHIA & JOAN E BERICHIA JT TEN           27 BOURBON CT                                                                                         PARKVILLE          MD    21234‐8005
MARIE BETH HALL                                   43924 RIVERPOINT DR                                                                                   LEESBURG           VA    20176‐8200
MARIE BOBYAK & CAROL GRAHAM JT TEN                218 WHEATFIELD DR                                                                                     GREENSBURG         PA    15601‐4739
MARIE BOBYAK & EDWARD BOBYAK JT TEN               218 WHEATFIELD DR                                                                                     GREENSBURG         PA    15601‐4739
MARIE BOBYAK & KEVIN BOBYAK JT TEN                5 RANCH RD                                                                                            DUNBAR             PA    15431‐1529
MARIE BOWMAN WENGERT                              401 S BUTLER ROAD                                                                                     LEBANON            PA    17042‐8935
MARIE BROWN                                       954 RIVER ST                                                                                          HYDE PARK          MA    02136
MARIE BROWN CRUMPLER CUST JASON JONATHAN          47 LATOUR WAY                                                                                         GREER              SC    29650‐4435
CRUMPLER UGMA SC
MARIE BUCKSTAD CUST TRISTAN MARIE BUCKSTAD        8 CROSS ST                                                                                            FORESTBURGH        NY    12777‐6108
UGMA NY
MARIE BUONOCORE                                   775 TRIPLE CROWN LANE                                                                                 MELBOURNE          FL    32904‐7315
MARIE BURGESS & GENE I BURGESS JT TEN             802 SWAN ROAD                                                                                         LEES SUMMIT        MO    64086‐5547
MARIE BURKE                                       5140 MIDDLEBELT                                                                                       WESTLAND           MI    48186‐6895
MARIE BURKE                                       5140 MIDDLE BELT                                                                                      WESTLAND           MI    48185‐6895
MARIE C ACCORDINO                                 1445 TRIPODI CIRCLE                                                                                   NILES              OH    44446‐3564
MARIE C ANDREWS                                   4532 RED SPRUCE LANE                                                                                  MANLIUS            NY    13104‐9380
MARIE C BAGLEY                                    1127 CHESTNUT ST                                                                                      NEWTON UPPER       MA    02464‐1308
                                                                                                                                                        FALLS
MARIE C BATTEN                                    39 APPLEBY ROAD                                                                                       NEW CASTLE         DE    19720‐3701
MARIE C BENNETT                                   6 THOMPSON HILL DRIVE                                                                                 CUMBERLAND         RI    02864‐2911
MARIE C BROWN                                     5136 S LAKE RD                                                                                        VIRGINIA BEACH     VA    23455‐2539
MARIE C BURKHOLDER                                405 STOLTZ ROAD                                                                                       GENEVA             OH    44041‐9682
MARIE C CANGIANO                                  C/O MARIE C SPOLETA                    445 SUNDANCE TRL                                               WEBSTER            NY    14580
MARIE C DEVINE                                    238 GREAT PLAIN AVE                                                                                   NEEDHAM            MA    02492‐4149
MARIE C GIESER TR                                 UA 08/13/2007                          MARIE C GIESER TRUST   21538 N CHESTNUT LN                     PLAINFIELD         IL    60544
MARIE C HERNANDEZ                                 166 MACKINAW STREET                                                                                   BUFFALO            NY    14204‐2636
MARIE C JOHNSON                                   8768 BRUNELL WAY                                                                                      INVER GROVE        MN    55076‐5167
MARIE C KELLEY                                    82 HOWARD ST                                                                                          NORWOOD            MA    02062‐2331
MARIE C LAWYER                                    1013 W WEBSTER RD                                                                                     ROYAL OAK          MI    48073‐3330
MARIE C MC GUCKIN                                 7430 UTE LANE                                                                                         PALOS HEIGHTS      IL    60463‐2046
MARIE C MILLS                                     2849 STEVENSON ST                                                                                     FLINT              MI    48504‐7538
MARIE C MION                                      54 KEARNEY STREET                                                                                     LYNDHURST          NJ    07071‐1010
MARIE C MOLONEY                                   106 GREEN MEADOW DR                                                                                   ELKTON             MD    21921‐2436
MARIE C MURRAY & EDWARD C MURRAY JT TEN           859 BOUTELL DR                                                                                        GRAND BLANC        MI    48439‐1942
MARIE C MUSSER                                    2467 LAUDERDALE DRIVE N E                                                                             ATLANTA            GA    30345‐2213
MARIE C MUSSER & CYRIL F MUSSER JT TEN            2467 LAUDERDALE DRIVE N E                                                                             ATLANTA            GA    30345‐2213
MARIE C OPRYSK                                    2040 PERRY ST                                                                                         SOUTH PLANIFIELD   NJ    07080‐2153

MARIE C PINTRICK                                  11204 W KELLY RD                                                                                      LAKE CITY          MI    49651‐9035
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Name                                               Address1                              Address2             Address3          Address4          City             State Zip

MARIE C RITLAND                                    29729 OAK SPRING LN                                                                            LIBERTYVILLE     IL    60048
MARIE C ROBINO                                     4031 KENNETT PIKE                     APT 135                                                  WILMINGTON       DE    19807‐2035
MARIE C SIMON                                      4115 OAKSHIRE AVE                                                                              BERKLEY          MI    48072‐3419
MARIE C STUCKEY                                    294 ROGERS AVE                                                                                 TONAWANDA        NY    14150‐5239
MARIE C TITTLE                                     2401 S L ST                                                                                    RICHMOND         IN    47374‐7439
MARIE C TORTORIC                                   60 HORSENDEN ROAD                                                                              NEW PALTZ        NY    12561
MARIE C VANJURA                                    C/O MRS R A BODAK                     265 RADLEY DR                                            PAINESVILLE      OH    44077‐5450
MARIE C WALL                                       3406 WEST 111TH ST S                                                                           SAPULPA          OK    74066
MARIE C WILLIAMS                                   5335 DAUPHIN LNDG                                                                              KING GEORGE      VA    22485‐7450
MARIE C WILLIAMS                                   UNIT 45009 #119                                                                                APO AP           AP    96338‐5009
MARIE C YURCHUK                                    85 YOUNG AVE                                                                                   CROTON‐ON‐       NY    10520‐2909
                                                                                                                                                  HUDSON
MARIE CAROL TOTH                                   26295 WEST ROSS AVE                                                                            BUCKEYE          AZ    85396
MARIE CHATMAN                                      PO BOX 6375                                                                                    YOUNGSTOWN       OH    44501‐6375
MARIE CHURUKIAN                                    2429 DELISLE CT                                                                                GLENDALE         CA    91208‐2209
MARIE CLARK                                        8974 ARIZONA AVE                                                                               PHELAN           CA    92371‐6927
MARIE COLONTONIO                                   4158 TAMIAMI TRL APT L‐1                                                                       PORT CHARLOTTE   FL    33952‐9223
MARIE COOPER                                       3738 RAINIER DR                                                                                HOWELL           MI    48843‐9205
MARIE CORTE                                        42 WILSON AVE                                                                                  MERIDEN          CT    06450‐6916
MARIE COSCIONE & STEPHANIE MARTIN JT TEN           217 MATCHAPONIX AVE                                                                            MONROE           NJ    08831‐1490
                                                                                                                                                  TOWNSHIP
MARIE COUDERC TR ALBERT & MARIE COUDERC            40 CAMINO ALTO APT 12102                                                                       MILLVALLEY       CA    94941‐2960
SURVIVORS TRUST UA 12/17/97
MARIE COUNAHAN & PATRICK COUNAHAN JT TEN           2241 NE 37TH COURT                                                                             LIGHTHOUSE POINT FL    33064‐3909

MARIE CROSBY                                  3825 RIVER PLACE BLVD                                                                               AUSTIN           TX    78730‐3599
MARIE CROSS                                   14897 ROAD 191                                                                                      OAKWOOD          OH    45873‐9029
MARIE D ALBERRY‐HAWKINS                       6214 EVANGELINE DR                                                                                  SAN JOSE         CA    95123
MARIE D BLAIR                                 110 ISLAND POINT ROAD                                                                               NORTH PORT       FL    34287‐3303
MARIE D BUYCKS                                4824 ERICSON AVE                                                                                    DAYTON           OH    45418‐1912
MARIE D GIBBY                                 263 MAIN ST                                                                                         HIGHAM           MA    02043‐1935
MARIE D LOMBARDY TR ROBERT V LOMBARDY A MINOR 6 WINDING WAY                                                                                       NORTH CALDWELL   NJ    07006‐4043
U/DEC OF TRUST 2/12/62
MARIE D MC ELROY                              BOX 1105                                                                                            FT MYER          VA    22211
MARIE D NIETO CUST MARCO A NIETO UTMA PA      4 NIETO DR                                                                                          ARCHBALD         PA    18403‐1005
MARIE D NYKAZA                                18940 BOULDER CT                                                                                    HOMEWOOD         IL    60430‐4164
MARIE D PAPIRO                                649 SOUTH 12TH STREET                                                                               NEW HYDE PARK    NY    11040‐5568
MARIE D POHL                                  4 BARCLAY LN                                                                                        VOORHEES         NJ    08043‐2945
MARIE D STEPOWSKI & MARK S STEPOWSKI JT TEN   45841 KENSINGTON ST                                                                                 UTICA            MI    48317‐5958

MARIE DEBLASIO                                     ATTN MARIE DEBLASIO‐SILSDORF          77 FLORAL PARK ST                                        ISLIP TERRACE    NY    11752‐1309
MARIE DENNING                                      6906 PELLA                                                                                     HOUSTON          TX    77036‐5332
MARIE DURKIN & CHRISTOPHER DURKIN TEN ENT          3163 MAPLENE AVE                                                                               PITTSBURGH       PA    15234‐2647
MARIE E AYRES                                      PO BOX 303                                                                                     PACIFIC BEACH    WA    98571‐0293
MARIE E BENISHIN & ELIZABETH A BENISHIN & MARY A   6192 DEERFIELD DRIVE                                                                           FARMINGTON       NY    14425
HOCHMAN JT TEN
MARIE E BUDD                                       855 S PONTIAC TRL                     APT 104                                                  WALLED LAKE      MI    48390‐3302
MARIE E CASTELNAU                                  16115 MAUBERT AVE                                                                              SAN LEANDRO      CA    94578‐2131
MARIE E DICKIE                                     1028 S GALE ROAD                                                                               DAVISON          MI    48423‐2508
MARIE E DUNN TR MARIE E DUNN LIVING TRUST UA       C/O RICHARD J DUNN                    17815 4TH AVE N                                          PLYMOUTH         MN    55447‐3410
03/15/96
MARIE E EMGE                                       7822 MCCULLOUGH                                                                                SAN ANTONIO      TX    78216‐6803
MARIE E FELHOFER                                   W 142 N10488 MAGNOLIA DR                                                                       GERMANTOWN       WI    53022‐6215
MARIE E FIELDS                                     24004 DEANHURST ST                                                                             CLINTON TWNSHP   MI    48035‐4343

MARIE E FLETCHER                                   3236 MYDDLETON                                                                                 TROY             MI    48084‐1273
MARIE E HERRICK                                    12509 RAILROAD ST                                                                              CLIO             MI    48420‐8231
MARIE E HEUTELE                                    208 SANDBURG PL                                                                                PINE BUSH        NY    12566‐6726
MARIE E IERVOLINO                                  6908 BERNADINE DR                                                                              WATAUGA          TX    76148‐2164
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Name                                              Address1                             Address2                 Address3      Address4          City              State Zip

MARIE E KEYES                                      4591 BALMORAL PARK CT                                                                        FREMONT           CA    94538‐5940
MARIE E LAGO                                       664 SANTA MONICA                                                                             YOUNGSTOWN        OH    44505‐1144
MARIE E LAMARCHE                                   84 RUE RICHARD                      ILE BIZARD QC                          H9E 1E7 CANADA
MARIE E LEJCAR TR MARIE E LEJCAR REV LIV TRUST UA PO BOX 207                                                                                    ST CHARLES        IL    60174‐0207
07/07/04
MARIE E MAHARG                                     5859 MARNELL AVE                                                                             CLEVELAND         OH    44124‐3025
MARIE E MAKAREWICZ                                 4491 W DODGE RD                                                                              CLIO              MI    48420‐8580
MARIE E MARHOLD                                    310 KINZIE AVE                                                                               SAVANNAH          GA    31404‐2446
MARIE E MCCALL                                     7 WOODRIDGE DRIVE                                                                            OAKBROOK          IL    60523‐1550
MARIE E MCCALL & DAVID F MCCALL JT TEN             7 WOODRIDGE DRIVE                                                                            OAK BROOK         IL    60523‐1550
MARIE E MORILLO                                    2777 SOUTH LAKE SHORE RD                                                                     HARBOR BEACH      MI    48441
MARIE E NEUMANN                                    15142 MASONIC                                                                                WARREN            MI    48093‐1546
MARIE E PALMER                                     29 LONGFIELD RD                                                                              NEW BRUNSWICK     NJ    08901‐1601
MARIE E PEAK                                       29540 BOBRICH                                                                                LIVONIA           MI    48152‐3496
MARIE E PRICE                                      4385 DURST CLAGG ROAD                                                                        CORTLAND          OH    44410‐9503
MARIE E SMITH                                      344 ALTESSA BLVD                                                                             MELVILLE          NY    11747‐5223
MARIE E STALKER                                    12949 M 68                                                                                   MILLERSBURG       MI    49759‐9554
MARIE E STEVENS & MICHAEL A GARRETT JT TEN         25 SAVOY AVENUE                                                                              E LONGMEADOW      MA    01028
MARIE E SVENSON TR MARIE E SVENSON AGREEMENT 172 CLAIR HILL DR                                                                                  ROCHESTER HILLS   MI    48309‐2108
OF TRUST UA 9/22/99
MARIE E TOWNSEND                                   7158 SARONI DR                                                                               OAKLAND           CA    94611‐1421
MARIE E TREVIS                                     180 EARL DRIVE                                                                               WARREN            OH    44483‐1110
MARIE E VALENTI                                    11 ASHWORTH RD                                                                               QUINCY            MA    02171
MARIE E VILLANUEVA                                 625 WILLIAMSON                                                                               LOS ANGELES       CA    90022‐3410
MARIE E WESCOTT                                    212 S HIGH POINT RD                                                                          MADISON           WI    53717‐1657
MARIE E WILLIAMS                                   2421 SOUTH PACA STREET                                                                       BALTIMORE         MD    21230‐3075
MARIE E WINNER                                     PO BOX 161                                                                                   MIDDLEBURY        VT    05753‐0161
MARIE E WLUDYKA                                    11 HOLECOMB DRIVE                                                                            HILLSBOROUGH      NJ    08844‐2278
MARIE EASHOO                                       1370 CLAIRWOOD DR                                                                            BURTON            MI    48509‐1508
MARIE EDGEWORTH‐EDMUNDS                            20 LAKE LOUISE DR                                                                            SYLACAUGA         AL    35150‐1412
MARIE EDITH ARCHIBALD                              9 PARKVILLE PL                      DONVALE VICTORIA                       3111 AUSTRALIA
MARIE EDNA MARCKINI                                1119 MAPLEROW NW                                                                             GRAND RAPIDS      MI    49544‐3633
MARIE ELENA COOGAN                                 5940 WAYSIDE AVE                                                                             CINCINATTI        OH    45230‐1704
MARIE ELENA HOFFER                                 ATTN MARIE E WALRATH                243 COLUMBIA CLUB DR E                                   BLYTHEWOOD        SC    29016‐9479
MARIE ELENORA MARTIN                               6179 KING ARTHUR DR                                                                          SWARTZ CREEK      MI    48473‐8808
MARIE ELIZABETH AYRES TR MARIE E AYRES LIVING      PO BOX 303                                                                                   PACIFIC BEACH     WA    98571‐0293
TRUST UA 03/27/96
MARIE ELIZABETH BRASZA                             PO BOX 259                                                                                   PRUDENVILLE       MI    48651‐0259
MARIE ELIZABETH GRANT KRUMDIECK                    97 FIRST DYKE RD                                                                             AVERILL PARK      NY    12018‐4800
MARIE ELIZABETH LIRETTE TR MARIE ELIZABETH LIRETTE 1776 LAS LUNAS ST                                                                            PASADENA          CA    91106‐1305
UA 11/07/95
MARIE ELLEN PHILLIPS                               12281 CHAREST ST                                                                             DETROIT           MI    48212‐2760
MARIE ELLEN SMITH                                  350 REDWOOD CT                      APT 212                                                  BOISE             ID    83712‐7777
MARIE ELLSWORTH                                    124 E THIRD ST                                                                               SHIP BOTTOM       NJ    08008‐4739
MARIE ELSDEN                                       366 THELGAR ROAD                    RR 4 LAKEFIELD ON                      K0L 2H0 CANADA
MARIE ELZA                                         7301 MAIN ST                                                                                 DOWNEIS GROVE     IL    60516‐3802
MARIE ESSARY JR                                    13707 PINNEY ST                                                                              PACOIMA           CA    91331‐3609
MARIE F ATKINS                                     26 40 95TH ST                                                                                EAST ELMHURST     NY    11369‐1722
MARIE F DILWORTH                                   13544 SE 89TH TERRACE ROAD                                                                   SUMMERFIELD       FL    34491‐9491
MARIE F ECKARDT                                    173 CANTERBURY AVE                                                                           NO ARLINGTON      NJ    07031‐4919
MARIE F KOPP                                       5885 W ST RT 571                                                                             WEST MILTON       OH    45383‐9757
MARIE F KOPP                                       5885 W ST RT 571                                                                             WEST MILTON       OH    43583
MARIE F LOUGHMAN                                   71 BLYMYER AVE #B                                                                            MANSFIELD         OH    44903‐2344
MARIE F MALONE                                     249 WENDHURST DRIVE                                                                          ROCHESTER         NY    14616‐3644
MARIE F OLAH                                       30219 TRUMAN AVE                                                                             WICKLIFFE         OH    44092‐1727
MARIE F PURCELL & THOMAS PURCELL JT TEN            STONE RD                                                                                     BURLINGTON        CT    06013
MARIE F QUINN                                      1750 ROCKCREST RD                                                                            BON AIR           VA    23235‐2978
MARIE F SKOMPINSKI                                 216 DIANE DR                                                                                 CHEEKTOWAGA       NY    14225‐5235
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Name                                           Address1                               Address2             Address3          Address4          City               State Zip

MARIE F TROIANO & ANTHONY G TROIANO JT TEN     374 CHARNWOOD RD                                                                                NEW PROVIDENCE     NJ    07974‐1302

MARIE F VANKEUREN                              253 WEST ST                                                                                     WINCHESTER      VA       22601‐5224
MARIE F WAGNER & DANIEL M WAGNER JT TEN        9810 RILTON CRT                                                                                 CLARKSTON       MI       48348‐2442
MARIE FECOSKAY                                 PO BOX 2591                                                                                     WESTFIELD       NJ       07091‐2591
MARIE FERRARA                                  1347 SENECA RD                                                                                  NORTH BRUNSWICK NJ       08902‐1429

MARIE FEULNER                                  FRITZ REUTER HOME                      3161 KENNEDY BLVD                                        NORTH BERGEN    NJ       07047‐2303
MARIE FILIBECK & MARGARET WILSON JT TEN        2401 HICKORY RD                                                                                 DELTON          MI       49046‐9551
MARIE FIOCCHI CUST SAMANTHA KUREK UGMA IL      1968 KENILWORTH CIR APT B                                                                       HOFFMAN ESTATES IL       60195‐2712

MARIE FONTAINE                                 919 SPINDLE HILL                                                                                WOLCOTT            CT    06716‐1237
MARIE FRANCOISE WALKER                         PO BOX 907                                                                                      WINDERMERE         FL    34786‐0907
MARIE G BINGHAM                                1880 BINGHAMS COVE RT 1                                                                         TIPTON             MI    49287‐9720
MARIE G BLANKEN                                65 MAC ARTHUR AVENUE                                                                            SAYREVILLE         NJ    08872‐1028
MARIE G CHRISTY                                2805 SUMPTER DR                                                                                 JOHNSON CITY       TN    37604‐6313
MARIE G ELLIOTT                                1215 WILDWOOD                                                                                   WESTLAND           MI    48185‐3503
MARIE G FIORDELISI                             700 HAVERFORD RD                                                                                ST LOUIS           MO    63124‐1012
MARIE G GELEN                                  2351 HARTFORD ST                                                                                WATERFORD          MI    48327‐1117
MARIE G HEARN                                  #412                                   10631 VINEDALE ST                                        SUN VALLEY         CA    91352‐2825
MARIE G MITCHELL                               PO BOX 256                                                                                      PEMBROKE           KY    42266‐0256
MARIE G PINSON                                 3027 LAKE MONROE RD                                                                             DOUGLASVILLE       GA    30135‐2135
MARIE G PORTER & BARBARA J CRAIK & MARK W      14656 ALMA                                                                                      STERLING HTS       MI    48313
PORTER JT TEN
MARIE G PRIBANYEC                              720 CLOVERLAWN                                                                                  LINCOLN PARK       MI    48146‐4374
MARIE G PRIBANYEC & JANOS PRIBANYEC JT TEN     720 CLOVERLAWN                                                                                  LINCOLN PARK       MI    48146‐4374
MARIE G STENCEL                                12155 ROHN RD                                                                                   FENTON             MI    48430‐9460
MARIE G WILLIAMS                               2907 N TEMPLE AVE                                                                               INDIANAPOLIS       IN    46218‐2741
MARIE G WILLIFORD                              22457 REVERE STREET                                                                             SAINT CLAIR SHORES MI    48080‐1338

MARIE GAMMAGE                                  2001 W HILLSDALE ST                                                                             LANSING            MI    48915‐1121
MARIE GARVEY                                   1 GALE AVE                             APT 4E                                                   RIVER FOREST       IL    60305‐2064
MARIE GESSERT                                  336 BURNS ST                                                                                    FOREST HILLS       NY    11375‐6133
MARIE GESUALDO                                 412 SUNSET PL                                                                                   PORT MONMOUTH      NJ    07758‐1026

MARIE GINSBURG                                 517 GALLOWAY STREET                                                                             STEILACOOM         WA    98388‐2705
MARIE H COLE                                   126 SHERADEN AVE                                                                                STATEN ISLAND      NY    10314
MARIE H COVINGTON                              3997 LEMOYNE WA                                                                                 CAMPBELL           CA    95008‐3735
MARIE H ESTEP                                  1620 SUNSET                                                                                     MONROE             MI    48162‐4379
MARIE H GOLDNER & ALAN I GOLDNER JT TEN        530 TANGLEWOOD LN                      APT 124                                                  MISHAWAKA          IN    46545‐2654
MARIE H HARNED                                 1014 PERKINS JONES RD NE               APT B4                                                   WARREN             OH    44483‐1839
MARIE H HAYES                                  719 SE 18TH                                                                                     OCALA              FL    34471
MARIE H HENDRIX                                PO BOX 128                                                                                      PIEDMONT           AL    36272‐0128
MARIE H MYERS                                  1186 NORTH RD SE                                                                                WARREN             OH    44484‐2705
MARIE H PAPP                                   11 S 474 HILL ROAD                                                                              LEMONT             IL    60439‐9639
MARIE H SHAYHORN                               216 HURON AVE                                                                                   ELKINS PARK        PA    19027‐1945
MARIE H STAPLES                                453 W COLLEGE ST                                                                                KENTON             TN    38233‐1237
MARIE H WINKLER                                1001 HIGHLANDS PLAZA DRIVE WEST                                                                 SAINT LOUIS        MO    63110‐1337
MARIE HALL                                     131 BRUSHY PLAIN RD                                                                             BRANFORD           CT    06405‐6033
MARIE HALL                                     291 SEQUOIA CT                         APT 23                                                   THOUSAND OAKS      CA    91360‐3891
MARIE HARRIS                                   804 JONES ST                                                                                    OLD HICKORY        TN    37138‐3145
MARIE HELEN ROGERS                             729 POST OAK DR                                                                                 DRIPPING SPRINGS   TX    78620‐4109

MARIE HENRIETTA TIDEY                          5/46 VIEW ST                           WOOLOOWIN QLD                          4030 AUSTRALIA
MARIE HORN                                     52 COMLEY PLACE                                                                                 BLOOMFIELD         NJ    07003‐2707
MARIE HUGHES                                   9 WRENFIELD DR                                                                                  SEWELL             NJ    08080‐2473
MARIE I DALRYMPLE HOLTORF                      1398 SUSSEX DR                                                                                  OCEAN SPRINGS      MS    39564‐3327
MARIE I DEFRANZE                               7645 CHADWICK RD                                                                                GAMBIER            OH    43022‐9774
MARIE I HESS                                   360 WHITEHALL RD #106                                                                           ALBANY             NY    12208‐3912
                                             09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
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MARIE I SCHUPRA FRANK W SCHUPRA & LISA M       14441 LANSON                                                                                          DEARBORN           MI    48126‐3407
SCHUPRA JT TEN
MARIE I WHEELER                                44 NORTH RICHARDSON AVENUE                                                                            LANSDALE           PA    19446‐2126
MARIE IGNERI & MARISSA ANN SOFFIAN & EMILIA    15 SCOTT LN                                                                                           MANILAPAN          NJ    07726‐2916
IGNERI JT TEN
MARIE ILENE FODALE                             12541 HYNE RD                                                                                         BRIGHTON           MI    48114‐9299
MARIE ISOPE & DORIS ISOPE JT TEN               225 SCHUYLER AVE                                                                                      POMPTON LAKES      NJ    07442‐1127
MARIE J BERGERON                               32 BRIARWOOD RD                                                                                       LOUDONVILLE        NY    12211‐1222
MARIE J FORTIER                                57 LYNCH ST                                                                                           WINCHESTER         TN    37398‐4421
MARIE J FREESE                                 85 VIRGINIA AVE                                                                                       DUMONT             NJ    07628‐1901
MARIE J GAETA                                  203 MATTHEWS ROAD                                                                                     OAKDALE            NY    11769‐1835
MARIE J GILLIES                                5633 HALF MOON LAKE ROAD                                                                              TAMPA              FL    33625‐1308
MARIE J GRAFFEO                                24 NORTHFIELD AVE                                                                                     EAST BRUNSWICK     NJ    08816‐3031
MARIE J JOHNSON & RONALD EDWARD JOHNSON JT     C/O FULTON FINANCIAL ADVISORS            PO BOX 7989                                                  LANCASTER          PA    17604‐7989
TEN
MARIE J JOHNSON & WILLIAM KENNETH JOHNSON JT   129 MT PINK ROAD                                                                                      BLOOMSBURG         PA    17815‐6759
TEN
MARIE J KEESHAN                                203 N MANHATTAN AVE                                                                                   N MASSAPEQUA       NY    11758‐3331
MARIE J KRASANAKIS                             2063 HOMECREST AVE                                                                                    BROOKLYN           NY    11229‐2711
MARIE J MAHONEY                                PO BOX 1319                                                                                           RNCH DE TAOS       NM    87557‐1319
MARIE J MANNERING                              3736 ROBERT GRISSOM PKWY # 106                                                                        MYRTLE BEACH       SC    29577
MARIE J MARTZ & LLOYD A MARTZ JT TEN           6737 CRESTVIEW                                                                                        TROY               MI    48098‐6515
MARIE J MC FADDEN                              7301 NEW JERSEY AVENUE                                                                                WILDWOOD CREST     NJ    08260‐1233

MARIE J NAUERTH                                693 NORTH GREECE RD                                                                                   ROCHESTER          NY    14626‐1042
MARIE J PARKER                                 653 NORTH EAST NASH STREET                                                                            ROSEBURG           OR    97470‐3251
MARIE J PINKOWSKI                              604 BERWICK ROAD                                                                                      WILMINGTON         DE    19803‐2204
MARIE J REED                                   423 FRANKLIN                                                                                          BAY CITY           MI    48708‐7034
MARIE J SCHELBERG TR UA 01/25/2002 SCHELBERG   470 CAMINO ENCANTADO                                                                                  LOS ALAMOS         NM    87544
LIVING TRUST
MARIE J VAN DONGEN & DONNA J VAN DONGEN JT TEN 9243 HIX                                                                                              LIVONIA            MI    48150‐5402

MARIE JACKSON                                  1252 ROYAL OAKS CV                                                                                    MEMPHIS            TN    38116‐4338
MARIE JAQUETTE CUST DAVID JAQUETTE UGMA PA     3544 WHITEHAVEN PARKWAY NW                                                                            WASHINGTON         DC    20007

MARIE JEANNE LAURENCOT                         PO BOX 640                               BEATTY ROAD & PROSPECT STREET                                SHOREHAM           NY    11786‐0640
MARIE JOAN BROSIUS                             4979 DOWLING COVE                                                                                     MEMPHIS            TN    38118‐3409
MARIE JOHNSON                                  1915 LAFAYETTE S E                                                                                    GRAND RAPIDS       MI    49507‐2535
MARIE JOSE ESTIME                              PO BOX 32201                                                                                          JAMAICA            NY    11431‐4201
MARIE JOYCE BROUSSARD                          1901 HAMPTON                                                                                          VINTON             LA    70668‐3602
MARIE JULIA HEYMAN TR MARIE JULIA HEYMAN       8098 TRANQUIL DRIVE                                                                                   GLOUCESTER         VA    23061
REVOCABLE TRUST UA 10/29/97
MARIE K BROOKS                                 1395 VAN NESS AVE                                                                                     SF                 CA    94109‐5545
MARIE K FITCH                                  18376 HEIMBACH                                                                                        THREE RIVERS       MI    49093‐8106
MARIE K HUMPHREY                               2589 SWETT RD                                                                                         LYNDONVILLE        NY    14098‐9788
MARIE K MULROY                                 2103 LONGWOOD DR                                                                                      CREEDMOOR          NC    27522‐8133
MARIE K YANNA                                  1090 SPRING PLACE RD                                                                                  LEWISBURG          TN    37091‐4423
MARIE KATHLEEN SCHOONHOVEN                     639 OSAGE RD                                                                                          MT LEBANON         PA    15243‐1025
MARIE KAUNITZ                                  PO BOX 204                                                                                            LUDINGTON          MI    49431‐0204
MARIE KHZAM                                    8004 RIDGE BLVD                                                                                       BROOKLYN           NY    11209‐3526
MARIE KINDLER                                  430 S 5TH STREET                                                                                      SEBEWANING         MI    48759‐1559
MARIE KING TR MARIE KING TRUST UA 06/20/96     9071 COUGHLIN DR                                                                                      DAVISON            MI    48423‐8921
MARIE KLEBER                                   1640 S BLACK HORSE PIKE                                                                               WILLIAMSTOWN       NJ    08094
MARIE KOLBICZ                                  39373 DURAND DR                                                                                       STERLING HEIGHTS   MI    48310‐2408

MARIE KORNER                                   54236 E CAPTINA HWY                                                                                   POWHATAN POINT     OH    43942‐9713

MARIE KRAMARZ                                  503 70TH ST                                                                                           NIAGARA FALLS      NY    14304‐3229
MARIE KROPP                                    392 CRESCENT CT                                                                                       WESTERVILLE        OH    43081
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MARIE KRUEGER                                     BOX 25                                                                                          POPLAR RIDGE      NY    13139‐0025
MARIE L BUCK                                      720 KY 1547                                                                                     LIBERTY           KY    42539‐6225
MARIE L CASSIDY                                   261 SCHLEY DRIVE                                                                                WATERTOWN         NY    13601‐4326
MARIE L COTE                                      2850 ESTATES AVE                       # 209                                                    PINOLE            CA    94564‐1416
MARIE L COTT                                      C/O KENNETH E COTT JR                  327 MAPLE ST BOX 327                                     FERRYSBURG        MI    49409
MARIE L DRIEBE                                    2813 BAYONNE DRIVE                                                                              PALM BEACH        FL    33410‐1432
                                                                                                                                                  GARDENS
MARIE L GATELY                                  2012 FAIR MEADOW DR.                                                                              EDMOND            OK    73013
MARIE L GATSCHET                                19205 SOMBRERO CIR                                                                                SUN CITY          AZ    85373‐1418
MARIE L GAULIN                                  3603 MAHLON MOORE RD                                                                              SPRING HILL       TN    37174‐2131
MARIE L HOLLER                                  35139 BAKEWELL                                                                                    WESTLAND          MI    48185‐2161
MARIE L HOVIND                                  ATTN MARIE L NELSON                      5316 53RD AVE E        LOT Q103                          BRADENTON         FL    34203
MARIE L ISAACS                                  1575 ODELL STREET APT 9G                                                                          BRONX             NY    10462‐7045
MARIE L JERMOLOWICZ                             28530 LITTLE MACK                                                                                 ST CLAIR SHORES   MI    48081‐1120
MARIE L JERMOLOWICZ & JOHN A JERMOLOWICZ JT TEN 28530 LITTLE MACK                                                                                 ST CLAIR SHRS     MI    48081‐1120

MARIE L KOEHLER & LINDA S ANDERSON JT TEN         PO BOX 67452                                                                                    TOPEKA            KS    66667‐0452
MARIE L KOWALSKI TR MARIE L KOWALSKI TRUST UA     8 N SCHOOL ST                                                                                   MOUNT PROSPECT    IL    60056‐2539
11/17/98
MARIE L LAMOTHE                                   MARIE LAMOTHE                          383 WATERBURY RD                                         BRISTOL           CT    06010
MARIE L LIZO                                      225 DOROTHY ST                                                                                  SYRACUSE          NY    13203‐3031
MARIE L MARTEL                                    5012 SANTA ANNA AV                                                                              TITUSVILLE        FL    32780‐7284
MARIE L MARTIN                                    471 FORESIDE RD                                                                                 TOPSHAM           ME    04086
MARIE L MCGUIRE & KATHLEEN L MCGUIRE JT TEN       415 RAINBOW SPRING TERRACE                                                                      RYL PALM BCH      FL    33411

MARIE L MEGAHAN                                   250 ROSERY RD NW APT 332                                                                        LARGO             FL    33770‐1229
MARIE L NELSON                                    5316 53RD AVE E                        LOT Q103                                                 BRADENTON         FL    34203
MARIE L PSIUK                                     6550 BUSCH RD                                                                                   BIRCH RUN         MI    48415‐8764
MARIE L SIMPSON & JAN M SIMPSON JT TEN            416 W CEDAR ST                                                                                  STANDISH          MI    48658‐9524
MARIE L SKOUMAL                                   3842 S CLEVELAND AVE                                                                            BROOKFIELD        IL    60513‐1512
MARIE L SMITH TOD KAREN S HARKER SUBJECT TO STA   130 SPARROW CIRCLE                                                                              GRASS VALLEY      CA    95945
TOD RULES
MARIE L STEPHENS                                  219 FLORIDA AVE                                                                                 WILLIAMSTOWN    NJ      08094‐5450
MARIE L VANDENBERG                                W631 CTY ROAD S                                                                                 KAUKAUNA        WI      54130
MARIE L WAHLER                                    6075 KIEV ST                                                                                    WEST BLOOMFIELD MI      48324‐1365

MARIE L WILSON                                    1010 OAK POINT DR                                                                               WATERFORD         MI    48327
MARIE L YANDROFSKI                                421 E RIDGE ST                                                                                  NANTICOKE         PA    18634‐2914
MARIE L ZONYK                                     56848 WARRIOR COURT                                                                             THREE RIVERS      MI    49093‐9655
MARIE LACKNER                                     20535 HARBESON RD                                                                               HARBESON          DE    19951‐9801
MARIE LANCE                                       2216 KELLY AVE                                                                                  SCRANTON          PA    18508‐1634
MARIE LANDERS                                     5929 POWELLS LANDING RD                                                                         BURKE             VA    22015‐2539
MARIE LAURA MICHARLSEN                            1215 COMMONWEALTH CIRCLE ‐ #205                                                                 NAPLES            FL    34116
MARIE LAURENZ & ERVIN LAURENZ JT TEN              7214 COLE                                                                                       SAGINAW           MI    48601‐9732
MARIE LEVERENZ                                    2163 PIERCE RD                                                                                  QUINCY            MI    49082‐9614
MARIE LOCKE                                       5116 PASEO                                                                                      KANSAS CITY       MO    64110‐2642
MARIE LOCKETT                                     371 CHAMPLAIN ST                                                                                ROCHESTER         NY    14611‐3414
MARIE LONGEST SIMPKINS                            PO BOX 57                                                                                       ST STEPHENS       VA    23148‐0057
                                                                                                                                                  CHURCH
MARIE LOUISE CUNNINGHAM                           728 CAMBRIDGE                                                                                   YPSILANTI         MI    48197
MARIE LOUISE THOMPSON & KARLA BETH THOMPSON       108 COACHLIGHT SQ                                                                               MONTROSE          NY    10548‐1248
JT TEN
MARIE LOUISE THOMPSON CUST EMMA DOHERTY           108 COACHLIGHT SQUARE APT 108                                                                   MONTROSE          NY    10548
UTMA NY
MARIE LYNN MIDDLEDORF                             7216 BEECHWOOD RD                                                                               ALEXANDRIA        VA    22307‐1810
MARIE M ANGLEWICZ & GEORGE E ANGLEWICZ &          12074 ARCOLA                                                                                    LIVONIA           MI    48150‐2346
LORRAINE M MASTROFINI JT TEN
MARIE M ARMSTEAD                                  38 STOCK FARM RD                                                                                RIDGELAND         SC    29936‐3736
MARIE M ATKINS                                    322 WENDOVER HEIGHTS CIR                                                                        CHARLOTTE         NC    28211‐1349
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MARIE M BEACH TR U‐A WITH MARIE M BEACH 6/7/73   1922 SOUTHBRIDGE WAY                                                                            SANDY              UT    84093‐2550

MARIE M BOURQUE CUST HEATHER C BOURQUE UGMA      22‐28 81ST ST                                                                                   JACKSON HEIGHTS    NY    11370‐1326
NY
MARIE M BROWNING                                 1927 BRYANT AVE                                                                                 SAINT LOUIS        MO    63114‐2501
MARIE M CARTER                                   150 S GRAND AVE                        APT 137                                                  WEST COVINA        CA    91791‐2367
MARIE M CAULFIELD TR UA 09/03/2009 MARIE M       17052 DOLPHIN DRIVE                                                                             ST PETERSBURG      FL    33708
CAULFIELD REVOCABLE TRUST
MARIE M FEHL                                     2200 WOOD COVE DR                                                                               BATAVIA            OH    45103‐9611
MARIE M GITT                                     702 EAST CHANDLER BOULEVARD                                                                     CHANDLER           AZ    85225‐9456
MARIE M HALL                                     1000 FRANKLIN AVE                      APT 718                                                  BALTIMORE          MD    21221‐3528
MARIE M JORDAN                                   1152 MONTICELLO                                                                                 JACKSONVILLE       FL    32207‐8852
MARIE M JURA                                     PO BOX 36                                                                                       LEAVITTSBURG       OH    44430‐0036
MARIE M KERR                                     541 CO RT 39                                                                                    MASSENA            NY    13662‐3458
MARIE M MAIDA                                    94 SEARLE STREET                                                                                PITTSTON           PA    18640‐2052
MARIE M MC CALLUM                                23925 TALBOT                                                                                    SAINT CLAIR SHORES MI    48082‐2566

MARIE M MC CANN                                  1334 BROCKLEY AVE                                                                               CLEVELAND          OH    44107‐2415
MARIE M MC MAHON                                 156 STEARNS ST                                                                                  BRISTOL            CT    06010‐5135
MARIE M MICHAUD                                  11 WELD ST #37                                                                                  FRAMINGHAM         MA    01702‐7499
MARIE M MUNGIELLO                                270 ORADELL AVE                                                                                 PARAMUS            NJ    07652‐4809
MARIE M PLUMMER                                  2129 SOUTH K STREET                                                                             ELWOOD             IN    46036‐3030
MARIE M ROCHA & IRENE ROCHA & PHYLLIS ROCHA JT   PO BOX 360                                                                                      KERHONKSON         NY    12446‐0360
TEN
MARIE M SAUTTER                                  4910 WEST 138TH PLACE                                                                           CRESTWOOD          IL    60445‐1823
MARIE M THOMAS                                   316 PLYMOUTH ST                                                                                 SILVER SPRING      MD    20901‐3836
MARIE M WALRAVEN                                 836 S E BOUTELL                                                                                 ESSEXVILLE         MI    48732‐2120
MARIE M WATSON & JOAN FRANCES VOLLMER JT TEN     ATTN MARIE M WATSON                    12205 CHEVELLE                                           STERLING HEIGHTS   MI    48312‐4023

MARIE M WHITACRE                                 38 WINDHAM RD                                                                                   NEWTON FALLS       OH    44444‐1251
MARIE M WILLIS                                   4870 CLUB PLACE                                                                                 YPSILANTI          MI    48197‐3710
MARIE M WURZBACH                                 320 FERNWAY DR                                                                                  HAMILTON           OH    45011‐1957
MARIE MAGDA READ                                 4320 ALBRITTON ROAD                                                                             ST CLOUD           FL    34772‐7928
MARIE MARCELLINE DOWNES                          230 CARTER AVE                                                                                  GIBBSTOWN          NJ    08027‐1442
MARIE MARGARET THOMAS                            4257 TOMMY ARMOUR DR                                                                            FLINT              MI    48506‐1427
MARIE MARINI                                     26 BEACH FRONT LANE                                                                             NEW ROCHELLE       NY    10805‐3301
MARIE MAXINE LEARN                               394 ALTERMOOR DR                                                                                NATRONA HEIGHTS    PA    15065‐2817

MARIE MC CULLOCH                                 BOX 168                                                                                         WILLIAMSBURG       MA    01096‐0168
MARIE MC VAUGH                                   1319 CASTLE AVE                                                                                 PHILADELPHIA       PA    19148‐1506
MARIE MCKINNEY                                   PO BOX 146                                                                                      WINDFALL           IN    46076‐0146
MARIE MCNAMARA ADM EST WILLIAM MCNAMARA          825 GREEN BAY RD STE 270                                                                        WILMETTE           IL    60091‐2589

MARIE MCWILLIAMS                                 BOX 678                                                                                         STOCKBRIDGE        MA    01262‐0678
MARIE MENDENHALL                                 1203 NORTON STREET                                                                              DAYTON             OH    45420‐3333
MARIE MENOSKY                                    136 EASTMAN                                                                                     MONTROSE           MI    48457‐9156
MARIE MINASIAN                                   2350 LYNWOOD AVE APT 2G                                                                         FORT LEE           NJ    07024‐3819
MARIE MINER                                      5 BLOOMINGDALE DR                      APT 118                                                  HILLSBOROUGH       NJ    08844‐5036
MARIE MINKS TR UA 03/12/91 ELMO LOVE & MARIE B   8132 MORININGSIDE                                                                               WICHITA            KS    67207‐1125
REYNOLDS LIVING TRUST
MARIE MINNICH TR MARIE MINNICH TRUST UA          6051 SHELRICH CT                                                                                CINCINNATI         OH    45247‐5836
03/29/02
MARIE MINUTOLI & SUZANNE A MINUTOLI JT TEN       11 GEORGE ST                                                                                    LOCUST VALLEY      NY    11560‐1212
MARIE MIRANDA                                    337 DOW AVE                                                                                     STATEN ISLAND      NY    10314
MARIE MORELLO                                    11413 HICKORY ROAD                                                                              OMAHA              NE    68144‐1731
MARIE MURPHY                                     3806 NE 16TH AVE                                                                                PORTLAND           OR    97212‐1327
MARIE N KOLL                                     38 GRAND AVENUE                                                                                 WALDWICK           NJ    07463‐1904
MARIE N REARDON                                  5500 FAIRMONT DRIVE APT 304                                                                     WILMINGTON         DE    19808‐3400
MARIE N SIMS                                     WATERGATE VILLAGE                      840 MONROE ST #106                                       ANNAPOLIS          MD    21403‐3003
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Name                                            Address1                                Address2             Address3          Address4          City               State Zip

MARIE NARVID                                    639 PARK ST                                                                                      HONESDALE          PA    18431‐1445
MARIE O BEAMON                                  1267 OAK ST                                                                                      WYANDOTTE          MI    48192‐5524
MARIE O BERGMANN                                2831 CLEARVIEW DR                                                                                ST LOUIS           MO    63121‐4505
MARIE O GARBUTT TR MARIE O GARBUTT REV TRUST UA PO BOX 274                                                                                       MILFORD            DE    19963‐0274
08/08/02
MARIE O GEBHART                                 130 E CLAY ST                                                                                    LEWISBURG          OH    45338‐8103
MARIE O HOLLANDER                               6341 GATEWAY LN                                                                                  KNOXVILLE          TN    37920‐5501
MARIE ODRISCOLL                                 3340 VICTORIA AVE                                                                                LAFAYETTE          CA    94549‐4649
MARIE OWEN SCHEPIS                              173 AMITY STREET APT 5                                                                           BROOKLYN           NY    11201‐6273
MARIE P BOWRON                                  2300 ASBURY AVENUE                                                                               OCEAN CITY         NJ    08226‐2534
MARIE P LEE                                     61 SHORE DRIVE                                                                                   UPTON              MA    01568‐1408
MARIE P LETOURNEAU                              354 HIGH STREET                                                                                  BARTON             VT    05822
MARIE P MAC BAIN                                3475 STRATFORD RD                                                                                WANTAGH            NY    11793‐3012
MARIE P MARTIN‐GUZMAN                           5392 LAKEFRONT BL                       APT 78D                                                  DELRAY BEACH       FL    33484‐8651
MARIE P MOORMAN TR MARIE PAULA MOORMAN LVG 9767 WICKSTROM TER                                                                                    SAINT LOUIS        MO    63123‐3938
TRUST UA 12/10/99
MARIE P RACZKO & PETER RACZKO JT TEN            P O BOX 1627                            ETOWAH NA                                                ETOWAH             NC    28729
MARIE P SULLIVAN                                201 HIGH GABLES DRIVE #404                                                                       GAITHERSBURG       MD    20878‐7403
MARIE P TITUS                                   1101 EATON PLACE COURT                                                                           YADKINVILLE        NC    27055‐7867
MARIE PADULA & PATRICIA PADULA JT TEN           56 SPRINGFIELD AVE                                                                               HASBROUCK          NJ    07604‐1027
                                                                                                                                                 HEIGHTS
MARIE PARKS BOCHNAK                             11 3 WOODS BROKE CIRCLE                                                                          OSSINING           NY    10562
MARIE PASQUALE & LOUIS PASQUALE JT TEN          222‐15 37TH AVE                                                                                  BAYSIDE            NY    11361‐2214
MARIE PERIKLES                                  1248 NE 98TH STREET                                                                              MIAMI SHORES       FL    33138
MARIE PETERSEN                                  9415 TUBA COURT                                                                                  VIENNA             VA    22182‐1647
MARIE PITTHAN                                   4460 BETSY KERRISON PK                                                                           JOHNS ISLAND       SC    29455‐7125
MARIE PRANG OETTING TR UA 08/11/89 BENEFIT OF   31 GRANADA WAY                                                                                   ST LOUIS           MO    63124‐1731
MARIE P OETTING
MARIE PRIBYL                                    6312 LIMERICK LN                                                                                 EDINA              MN    55439
MARIE PRIBYL CUST HUNTER PRIBYL HUGUELET UTMA   6312 LIMERICK LANE                                                                               EDINA              MN    55439‐1227
OH
MARIE PURNELL MUSSER                            101 S FOURTH STREET                                                                              MIFFINBURG         PA    17844‐1303
MARIE R ABBOTT                                  154 ROXBURY RD                                                                                   STAMFORD           CT    06902
MARIE R ARNALL                                  3112 S JOHN REDDITT DR                                                                           LUFKIN             TX    75904‐5614
MARIE R ARNALL LIFE TENANT U‐W LLOYD ARNALL     3112 S JOHN REDDITT DR                                                                           LUFKIN             TX    75904‐5614

MARIE R BASTAN                                  1751 PINE RIDGE WAY E                                                                            PALM HARBOR        FL    34684‐2160
MARIE R DEANDRADE                               BOX 205 ROCHESTER ROAD                                                                           S CARVER           MA    02366‐0205
MARIE R GRIFFIN & ANDREA D MOORE JT TEN         PO BOX 603                                                                                       FORSYTH            MO    65653‐0603
MARIE R GRIFFIN & DENISE G KUSINSKI JT TEN      PO BOX 603                                                                                       FORSYTH            MO    65653‐0603
MARIE R HAVENS                                  25 OLD RT 84                                                                                     WANTAGE TWP        NJ    07461‐3941
MARIE R HENRIQUES                               260 SLATER HILL RD                                                                               DAYVILLE           CT    06241‐1820
MARIE R ROLLINS                                 104 NOBLE CT                                                                                     PITTSFIELD         ME    04967
MARIE R SMITH TR MARIE R SMITH LIV TRUST UA     1004 VICARS WOODS RD                                                                             PONTE VEDRA        FL    32082‐3147
03/07/01
MARIE R STORTI                                  11630 PATRICIA DRIVE                                                                             GIRARD             OH    44420‐1965
MARIE R VALENTINO                               543 CEDAR AVE                                                                                    ELMHURST           IL    60126‐4135
MARIE R ZULKEY                                  36433 BRIARCLIFF                                                                                 STERLING HEIGHTS   MI    48312‐2709

MARIE REARDON                                   1402 W 8TH ST APT 2                                                                              WILMINGTON         DE    19806
MARIE RELIHAN                                   COPAY ADARE                             CO LIMERICK                            IRELAND
MARIE RHYNE BECKER                              306 TEAKWOOD                                                                                     SAN ANTONIO        TX    78216‐6824
MARIE RITA BEAT & DAVID ALAN BEAT JT TEN        1205 12TH                                                                                        WYANDOTTE          MI    48192‐3107
MARIE ROBINSON                                  9938 N CHERRY DRIVE                                                                              KANSAS CITY        MO    64155‐1930
MARIE S GIERMAN                                 4073 STATE ROUTE 14                                                                              RAVENNA            OH    44266‐9621
MARIE S MICHALOWSKI                             385 BAILEYVILLE RD                                                                               MIDDLEFIELD        CT    06455‐1026
MARIE S PUGLIESE                                5609 CAPTAINS COURT                                                                              GAINESVILLE        GA    30504‐8197
MARIE S SMITH                                   218 S WEST ST                                                                                    WESTVILLE          IL    61883‐1538
MARIE S TYNAN                                   5110 GALLAGHER                                                                                   WHITMORE LAKE      MI    48189‐9379
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MARIE SALVADOR & ISABELLE SALVADOR JT TEN           4448 MARYLAND                                                                                ST LOUIS        MO    63108‐2402
MARIE SANSONE                                       106 BRONSON RD                                                                               SYRACUSE        NY    13219‐1406
MARIE SCALA & NICK P SCALA & PETER B SCALA JT TEN   339 PHYLLIS DR                                                                               N PATCHOGUE     NY    11772‐1825

MARIE SCHWARZ                                       206 SALT MARSH LN                                                                            HAMPSTEAD       NC    28443‐3574
MARIE SCOTT                                         188 EWART RD                                                                                 AVONDALE        PA    19311‐9620
MARIE SHEGOS & RAYMOND S SHEGOS JT TEN              4186 MOUNTAIN ASH CT                                                                         SWARTZ CREEK    MI    48473‐1582
MARIE SMIZER                                        800 EDGEWATER AVENUE                                                                         WESTVILLE       NJ    08093‐1242
MARIE STANGA CUST RENEE ANN STANGA UGMA OH          730 S SHARATON DR                                                                            AKRON           OH    44319‐1918

MARIE STEVENSON                                     2232 SHARON DR                                                                               PORT ARTHUR     TX    77640‐1745
MARIE STRINGHAM                                     127 EAST BAY FRONT                                                                           BALBOA ISLAND   CA    92662‐1315
MARIE SWEET                                         13096 VILLAGE CT                                                                             CLIO            MI    48420‐8264
MARIE T BROOKS                                      46568 RIVERWOOD DR                                                                           MACOMB          MI    48044‐5734
                                                                                                                                                 TOWNSHIP
MARIE T CUMMINGS & CANDACE J CUMMINGS JT TEN        51 AGNEW ROAD                                                                                MORRISONVILLE   NY    12962

MARIE T CUMMINGS & DONNA F CUMMINGS JT TEN          51 AGNEW ROAD                                                                                MORRISONVILLE   NY    12962

MARIE T CZESKA TR MARIE T CZESKA TRUST UA           14436 SMITH ROAD                                                                             LOCKPORT        IL    60441‐7482
12/01/00
MARIE T DA'SILVA CUST ALAN ROBERT DA'SILVA UGMA     60 LAFAYETTE DR                                                                              BRISTOL         RI    02809‐5013
RI
MARIE T DIBELLA                                     15742 SCHULTZ                                                                                CLINTON TOWNSHIP MI   48038‐4160

MARIE T ENCINAS                                 9660 COLUMBUS AVE                                                                                NORTH HILLS     CA    91343
MARIE T GARCIA                                  19145 E MOCKINGBIRD DR                                                                           QUEEN CREEK     AZ    85242‐6872
MARIE T HINDMAN                                 166 WESTOVER DR                                                                                  DELRAN          NJ    08075‐2214
MARIE T HUGLEY                                  ATTN MARIE T STAIGLE                    1018 HAZEL DR                                            CLARKSVILLE     TN    37043‐9014
MARIE T HUNT TR MARIE T HUNT REVOCABLE TRUST UA 48 CLIFTWOOD DRIVE                                                                               HUNTINGTON      NY    11743‐2103
8/31/98
MARIE T KELLEY                                  5 W 86TH ST APT 9D                                                                               NEW YORK        NY    10024
MARIE T MAGEE                                   36 GOATSTOWN RD                         DUBLIN                                 14 IRELAND
MARIE T MILLER                                  245 CLEVELAND DR                                                                                 KENMORE         NY    14223‐1001
MARIE T MORAN                                   4015 JEAN AVE                                                                                    BETHPAGE        NY    11714‐4522
MARIE T NOCELLA                                 591 ARLINGTON DRIVE                                                                              SEAFORD         NY    11783‐1135
MARIE T PARISE & HOWARD J STANG JT TEN          APT 1 EAST                              5907 WEST 79TH ST                                        BURBANK         IL    60459‐1271
MARIE T PARISE & JOHN A STANG JT TEN            APT 1 EAST                              5907 WEST 79TH ST                                        BURBANK         IL    60459‐1271
MARIE T ROTTI                                   10 EMERSON PL                           APT 8D                                                   BOSTON          MA    02114‐2224
MARIE T SCHULLER                                845 CONNECTICUT AVE                                                                              MCDONALD        OH    44437‐1820
MARIE T SHARP                                   5 MARGY LANE                                                                                     EVESHAM         NJ    08053‐7051
MARIE TAAFE                                     4960 QUILL CT                                                                                    YOUNGSTOWN      OH    44515‐3872
MARIE TERESE CONWAY                             5417 MAPLE PARK DR                                                                               FLINT           MI    48507‐3902
MARIE THERESE KALB                              9740 QUEEN RD                                                                                    MINNEAPOLIS     MN    55431‐2428
MARIE TSAGURIS                                  2255 E LIND RD                                                                                   TUCSON          AZ    85719‐2446
MARIE V BARTLEY                                 1814 E SHERWOOD TERACE                                                                           MUSTANG         OK    73064
MARIE V BROWN & MARK S BROWN JT TEN             7252 W VAN BECK AVENUE                                                                           MILWAUKEE       WI    53220‐2359
MARIE V DOHERTY                                 3211 POLK ROAD                                                                                   NORRISTOWN      PA    19403‐4030
MARIE V FRIEDLEY                                8844 HOLLAND ST                                                                                  TAYLOR          MI    48180‐1446
MARIE V GUNNELS                                 11205 WASHINGTON STREET                                                                          MT MORRIS       MI    48458‐1957
MARIE V MC MANN                                 244 N RIVER DR                                                                                   PENNSVILLE      NJ    08070‐1225
MARIE V RUSSELL & MICHAEL D O'SHEA JT TEN       MARIE V RUSSELL MICHAEL D O'SHEA JT     TEN                  PO BOX 146                          LAKE CITY       MI    49651
MARIE V SANFORD TR UA 01/20/91 M‐B MARIE V      9925 SEARS ROAD                                                                                  CONCORD         MI    49237‐9775
SANFORD
MARIE V SCHLUETER & RICHARD P SCHLUETER JT TEN  25250 BLAKEY DR                                                                                  PLAINFIELD      IL    60585

MARIE V VRASPIR                                     32 ELEVENTH AVE SOUTH 208                                                                    HOPKINS         MN    55343
MARIE VINCENT                                       09333 HUFFMAN LAKE RD                                                                        VANDERBILT      MI    49795‐9768
MARIE VINCENT LEBLANC                               9578 CAL RD                                                                                  BATON ROUGE     LA    70809‐3055
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Name                                              Address1                             Address2             Address3          Address4          City               State Zip

MARIE W DOBROWOLSKI                           87 DEBRA LANE                                                                                     BRISTOL            CT    06010‐2725
MARIE W DODGE                                 5713 LOCUST EXT                                                                                   LOCKPORT           NY    14094‐5928
MARIE W HOFFMANN                              6086 HAPPY LN                                                                                     NAMPA              ID    83686‐9439
MARIE W SCHOTTLER                             25 S INDIANA PL                                                                                   GOLDEN             CO    80401‐5082
MARIE WALZ                                    765 MOHAWK HILLS DRIVE #A                                                                         CARMEL             IN    46032‐4703
MARIE WEBER CUST MITZI WEBER UGMA PA          636 MEADOWLAND AVE                                                                                KINGSTON           PA    18704‐5317
MARIE WEEKS BRYANT                            3566 MILL GLEN DR                                                                                 DOUGLASVILLE       GA    30135‐2514
MARIE WEIGEL                                  3232 NORTHWOOD                                                                                    TOLEDO             OH    43606‐2153
MARIE WEIR                                    1129 THORNBURY LANE                                                                               LAKEHURST          NJ    08733
MARIE WEST                                    28559 W VALLEY ROAD                                                                               INGLESIDE          IL    60041‐9494
MARIE WESTPHAL                                766 8TH ST                                                                                        SECAUCUS           NJ    07094
MARIE WICKS & DON L WICKS D M D JT TEN        190 N RICHARDS LN                                                                                 MORGANFIELD        KY    42437‐1279
MARIE WILBUR                                  RR BOX 62A                                                                                        SPICKARD           MO    64679
MARIE WILSON                                  C/O JOHN P PAXTON                        49 PLYMOUTH RD                                           GLEN ROCK          NJ    07452‐1235
MARIE Y BURPEAU                               213 FOREST HILLS DR                                                                               WILMINGTON         NC    28403‐1121
MARIE Y BURPEAU & KEMP P BURPEAU JT TEN       213 FOREST HILLS DR                                                                               WILMINGTON         NC    28403‐1121
MARIE Y FOY                                   4537 SHAKY LEAF LN N                                                                              JACKSONVILLE       FL    32224‐7612
MARIE Y PALMER TENEBRUSO & RAYMOND TENEBRUSO APT 6‐D                                   445 E 14TH ST                                            NEW YORK           NY    10009‐2806
JT TEN
MARIE ZAKRESKI                                21 SCENIC DR                             APT D                                                    CROTON HDSN        NY    10520‐1844
MARIE ZUCKERMANN                              PO BOX 96                                                                                         RIEGELSVILLE       PA    18077‐0096
MARIE‐JOSEE ST PREUX LIMAGE                   17105 ELM DR                                                                                      HAZEL CREST        IL    60429
MARIE‐LOUISE RAMSDALE                         3122 ION AVE                                                                                      SULLIVANS IS       SC    29482‐8605
MARIEA M GERNACY & JEAN JOSEPH GERNACY JT TEN 5256 COLD SPRING LANE                                                                             WEST BLOOMFIELD    MI    48322‐4208

MARIEL RANAE CURIT                                420 STATE RD RT 121                                                                           OTISFIELD          ME    04270
MARIELLEN J COPLEY TR UA 04/16/80 MARIELLEN J     9109 HUDSON LN                                                                                LOUISVILLE         KY    40291‐1409
COPLEY
MARIENNE CONNOR                                   809 SW 17TH ST                                                                                FORT LAUDERDALE    FL    33315‐1610

MARIESTHER JOHNSON                                3218 INDIAN RIPPLE RD                                                                         DAYTON             OH    45440‐3637
MARIETTA A FELICE                                 912 N WACCAMAW DR UNIT 306                                                                    MURRELLS INLET     SC    29576‐8975
MARIETTA A FELICE & RONALD A FELICE JT TEN        912 N WACCAMAW DR 306                                                                         MURRELLS INLT      SC    29576
MARIETTA A MONGE                                  912 N WACCAMAW DR UNIT 306                                                                    MURRELLS INLT      SC    29576‐8975
MARIETTA CASHEN MARSH                             456 ELDER LANE                                                                                WINNETKA           IL    60093‐4251
MARIETTA CAYTON                                   6400 NE 113TH ST                                                                              EDMOND             OK    73013‐8349
MARIETTA CLASBY                                   C/O CAUDILL                          POBOX 226                                                GASCITY            IN    46933‐0226
MARIETTA F STONE                                  832 DUENKE ROAD                                                                               FORISTELL          MO    63348‐1127
MARIETTA J CIAVARELLA                             5645 CLINGAN ROAD                    APT 24D                                                  STRUTHERS          OH    44471
MARIETTA J GREEN                                  ATTN MARIETTA GREEN MORRIS           5082 WICKFORD WAY                                        DUNWOODY           GA    30338‐4664
MARIETTA JONAS JAYNE                              708 E PATTERSON                                                                               KIRKSVILLE         MO    63501‐4136
MARIETTA L FUIMO                                  298 PARK ST                                                                                   SI                 NY    10306‐1814
MARIETTA M BERENATO                               9 JACOBS TOWN ARNY TOWNS ROAD                                                                 N HANOVER          NJ    08562‐2017
                                                                                                                                                TOWNSHIP
MARIETTA MAHALY                                   1400 SOUTHAMPTON BLVD                                                                         TOMS RIVER         NJ    08757‐1507
MARIETTA MARACCINI                                7 12TH AVENUE                                                                                 WAREHAM            MA    02571‐1320
MARIETTA MONFALCONE                               970‐H CENTER PLACE DR                                                                         ROCHESTER          NY    14615‐4018
MARIETTA PHILLIPS                                 10070 CROSBEY RD                                                                              HARRISON           OH    45030‐9272
MARIETTA REESE                                    533 BROOKWOOD CT                                                                              DAYTON             OH    45405‐1901
MARIETTA T GROS                                   1308 DOGWOOD DRIVE                                                                            HARVEY             LA    70058‐3802
MARIETTE K RIEDEL & BRIAN K RIEDEL JT TEN         575 DODGE LAKE AVE                                                                            HARRISON           MI    48625‐9310
MARIFRANCES HARTL & JOHN B HARTL JT TEN           21322 VENICE DR                                                                               MACOMB             MI    48044
MARIHELEN EGAN                                    734 BUFFALO ST                                                                                FRANKLIN           PA    16323‐1122
MARIJA SOSIC                                      2827 TRABAR DR                                                                                WILLOUGHBY HILLS   OH    44092‐2621

MARIJANE HALQUIST                                 31212 THOMPSON LN                                                                             HARTLAND           WI    53029‐9705
MARIJOYCE L CAMPBELL                              2745 WOLCOTT ST                                                                               FLINT              MI    48504‐3302
MARIKA P GERAS                                    ORFEOS 26                            PALEON FALIRON       ATHENS            17564 GREECE
MARIKAY SCOTT                                     9351 OAKMONT DR                                                                               GRAND BLANC        MI    48439‐9590
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MARIKO KIMURA BIONDI                           20577 WARDELL RD                                                                                   SARATOGA           CA    95070‐3716
MARILDA ANN HOWARD                             1199 E SANTA FE LOT 132                                                                            GARDNER            KS    66030‐1542
MARILEE BARNETT CUST STEPHEN G BARNETT UGMA MI 4067 STONELEIGH                                                                                    BLOOMFIELD HILLS   MI    48302‐2019

MARILEE EDEL CUST ALEXANDER EDEL UTMA AZ          850 E KNOX RD                                                                                   TEMPE              AZ    85284
MARILEE RIOPELLE                                  34 HAWKS LANDING CI                                                                             VERONA             WI    53593‐7900
MARILEE SCHWARTZ                                  BOX 206                                                                                         OLYMPIA FIELDS     IL    60461‐0206
MARILIA S MARIEN & DERYK C MARIEN JT TEN          713 BUCK LN                                                                                     HAVERFORD          PA    19041‐1201
MARILIN R RENO                                    1395 S ALCONY CONOVER RD                                                                        TROY               OH    45373‐8636
MARILLY D WIESE                                   18260 S W BROAD OAK COURT                                                                       ALOHA              OR    97007‐4618
MARILLYN OXENDER                                  ROUTE 3 15‐664 R D K                                                                            MONTPELIER         OH    43543‐9803
MARILON REAMS                                     827 BUNNING LN                                                                                  COLD SPRING        KY    41076‐1564
MARILOU GALLUSSER                                 13145 MONTECITO RD                                                                              RED BLUFF          CA    96080‐9738
MARILOU H RUELLE TR MARILOU H RUELLE REVOCABLE    368 S SILVER PALM RD                                                                            BOCA RATON         FL    33432‐7979
TRUSTUA 05/28/98
MARILOU HOOVER                                    C/O M TRIMBER                          102 ROBERTS DR                                           CORAOPOLIS         PA    15108‐9659
MARILOU J DEGGENDORF                              15919 E 131ST ST                       APT 1                                                    BROKEN ARROW       OK    74011‐8428
MARILOU TRIMBER                                   102 ROBERTS DR                                                                                  MOON TOWNSHIP      PA    15108

MARILOU YOUNG                                     PO BOX 52837                                                                                    RIVERSIDE        CA      92517‐3837
MARILU DEAN                                       6588 W DUNNELLON RD                                                                             DUNNELLON        FL      34433‐2017
MARILY M NIELSEN TR MARILY NIELSEN TR UA6/12/97   37833 MAPLE CIRCLE WEST                                                                         CLINTON TOWNSHIP MI      48036‐2162

MARILY R RICH                                     4193 NW 60TH CIRCLE                                                                             BOCA RATON         FL    33496‐4072
MARILYN A ANDERSON TR UA 09/28/99 MARILYN A       180 CAYUGA RD                                                                                   LAKE ORION         MI    48362
ANDERSON TRUST
MARILYN A BASCIO TR MARILYN A BASCIO LIVING TRUST 8 VILLA MEADOW COURT                                                                            WENTZVILLE         MO    63385‐3555
UA03/23/95
MARILYN A BOS TR MARILYN A BOS TRUST UA 11/13/95 5730 CHAUCER DR                                                                                  OAK FOREST         IL    60452‐2014

MARILYN A BRESADOLA                               412 WOLF STREET                                                                                 SYRACUSE           NY    13208‐1126
MARILYN A BROONOS                                 3106 JACKPINE DR                                                                                SOUTH PARK         PA    15129‐9360
MARILYN A CAMPBELL                                3229 LYNTZ RD S W                                                                               WARREN             OH    44481
MARILYN A CARSTENS                                4400 S PORTSMOUTH RD                                                                            BRIDGEPORT         MI    48722
MARILYN A CLARK                                   C/O MC MAHON                           2534 S QUEEN RIDGE DR                                    INDEPENDENCE       MO    64055‐2031
MARILYN A CLENDENNY & THOMAS CLENDENNY JT TEN     45 OLD FORT RD                                                                                  BERNARDSVILLE      NJ    07924‐1810

MARILYN A COLYER & TERN COLYER JT TEN             43393 COUNTY RD M                                                                               MANCOS             CO    81328‐9223
MARILYN A CUZZO & LORI CALDERONE & ALPHONSE       47 COTTAGE PL                                                                                   TARRYTOWN          NY    10591‐3603
CUZZO JR JT TEN
MARILYN A DALTON CUST ELISABETH A DALTON UTMA     N3757 WESTVIEW CT                                                                               LA CROSSE          WI    54601‐2922
WI
MARILYN A DALTON CUST JOHN E DALTON UTMA WI       N3757 WESTVIEW CT                                                                               LACROSSE           WI    54601‐2922

MARILYN A DISS                                  7741 RAVENWOOD LN                                                                                 MAINEVILLE         OH    45039‐8386
MARILYN A DOERZBACHER & CHARLES H DOERZBACHER 4764 CHILD DR                                                                                       PITTSBURGH         PA    15236‐2442
JT TEN
MARILYN A DUNLAP TR MARILYN A DUNLAP TRUST UA 6514 W 123RD ST                                                                                     PALOS HEIGHTS      IL    60463‐2801
09/15/98
MARILYN A EDWARDS                               C/O MARILYN A MCCULLOUGH                 139 WEBB                                                 DETROIT            MI    48202‐1051
MARILYN A ELKING                                2900 DUTTON CT                                                                                    DAYTON             OH    45458‐9266
MARILYN A FOLMAR                                50 AMSTERDAM AVE                                                                                  BUFFALO            NY    14215‐3001
MARILYN A GREEN TR UA 08/27/90 IRMA D ALEXANDER C/O MARILYN A GREEN                      1261 BRYANT PLACE                                        MANHATTAN          CA    90266‐6805
                                                                                                                                                  BEACH
MARILYN A HAROIAN                                 348 COUNTRY CLUB LANE                                                                           POMONA             NY    10970‐2501
MARILYN A HIGGINS & CHRISTOPHER HIGGINS JT TEN    228 ROCKRIMMON ST                                                                               BELCHERTOWN        MA    01007‐9230

MARILYN A JAKSIC                                  37515 OCEAN REEF DR                                                                             WILLOUGHBY HILLS OH      44094‐6410
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MARILYN A KILISZEWSKI                             6885 BELMONT NE                                                                                BELMONT           MI    49306‐9292
MARILYN A LANG                                    16 WHITE RD                                                                                    CHEETOWAGA        NY    14225‐1342
MARILYN A LINE                                    534 FORREST LANE                                                                               TROY              OH    45373‐2236
MARILYN A LUERS                                   5312 POSSUM RUN RD                                                                             BELLVILLE         OH    44813‐9131
MARILYN A MCCAFFREY TR UA 01/14/94 MARILYN A      17703 VALERIE CRT                                                                              ORLAND PARK       IL    60467‐9312
MCCAFFREY TRUST
MARILYN A MCCARTHY                                119 NORTH OAK STREET                                                                           HOHENWALD         TN    38462‐1301
MARILYN A MCDONALD & JACK L MCDONALD JT TEN       1749 S OGEMAN TRAIL                                                                            WEST BRANCH       MI    48661‐9735

MARILYN A MELLOON AS EXECUTOR OF THE ESTATE OF    BROWN ROAD                                                                                     SHIRLEY           MA    01464
MURIEL B JONES
MARILYN A MEYER                                   935 E NATIONAL RD                                                                              VANDALIA          OH    45377‐3201
MARILYN A PENDER                                  5352 SKYLARK                                                                                   GRAND BLANC       MI    48439‐9147
MARILYN A PERRY                                   3545 BURCH AVE                                                                                 CINCINNATI        OH    45208‐1315
MARILYN A PRUDER                                  26100 RONALD                                                                                   ROSEVILLE         MI    48066‐4949
MARILYN A QUAM TR LIVING TRUST 12/05/91 U‐A       726‐B E MICHELTORENA ST                                                                        SANTA BARBARA     CA    93103‐4206
MARILYN A QUAM
MARILYN A RAILEY                                  322 SW COURTLAND AVE                                                                           TOPEKA            KS    66606‐1271
MARILYN A REED                                    7550 W CORRINE DR                                                                              PEORIA            AZ    85381‐9081
MARILYN A REED & RICKY E REED JT TEN              7550 W CORRINE DR                                                                              PEORIA            AZ    85381‐9081
MARILYN A SCHWIETERMAN                            862 SILVERLEAF DR                                                                              DAYTON            OH    45431‐2921
MARILYN A SMITH                                   3833 PIEDMONTE DRIVE                                                                           ROCHESTER         MI    48306‐5001
MARILYN A SOBOLESKI & ERIC E SOBOLESKI JT TEN     101 WOODLAND AVE                                                                               MEDFORD           NJ    08055
MARILYN A SPURBICK                                4974 SOMAM AVE                                                                                 SAN DIEGO         CA    92110‐2354
MARILYN A ST PIERRE                               1115 SHALLOWDALE                                                                               TROY              MI    48098‐4909
MARILYN A VANCE                                   222 ACORN DR                                                                                   DAYTON            OH    45419‐3901
MARILYN A WHALEN                                  5913 MAYHILL DRIVE                                                                             MADISON           WI    53711‐4121
MARILYN A WHITE                                   191 PLAIN ST                                                                                   REHOBOTH          MA    02769‐2540
MARILYN A WOGAN                                   90 SYLVAN ST                          APT 4                                                    MELROSE           MA    02176‐5316
MARILYN ABBETT HANCOCK                            208 SUMMIT LOOP                                                                                WIMBERLEY         TX    78676‐5741
MARILYN ALTON TR UA 04/18/91 RUTH ARONBERG        508 COEUR DR ROYALE DR APT 402                                                                 ST LOUIS          MO    63141‐6940
LIVING TRUST
MARILYN ANITA ARTHUR                              24253 OWL CT                                                                                   CORONA            CA    92883‐9194
MARILYN ANN BRUNER TR MARILYN ANN BRUNER REV      17645 RUDGATE                                                                                  SOUTHGATE         MI    48195‐3358
TRUST UA 09/22/97
MARILYN ANN DIXON & JEREMY RONALD DIXON JT TEN    896 LINCOLN                                                                                    GROSSE PTE        MI    48230‐1287

MARILYN ANN DIXON & JESSICA RACHEL DIXON JT TEN   896 LINCOLN                                                                                    GROSSE PTE        MI    48230‐1287

MARILYN ANN FRASER                                81 MOORE RD                                                                                    SUDBURY           MA    01776‐1911
MARILYN ANN MC TAGGART                            C/O MRS MARILYN ANN CONGDON           RR 1                 ROSE BAY NS       B0J 2X0 CANADA
MARILYN ANN MCCORMACK                             7372 CLIFTON RD                                                                                CLIFTON           VA    20124‐2102
MARILYN ANN MCDILL                                5276 SWAFFER RD                                                                                MILLINGTON        MI    48746‐9511
MARILYN ANNETTE TAYLOR                            2937 JOANNA DR                                                                                 FARMERS BRANCH    TX    75234‐2123

MARILYN ASH                                       324 CARTER ST                                                                                  CEDAR RAPIDS      IA    52405
MARILYN ATER                                      4235 N BOLLINGER                                                                               CASSTOWN          OH    45312‐9731
MARILYN B BERGERS                                 21298 E FARM LANE                                                                              NORTHVILLE        MI    48167‐9001
MARILYN B FANNING                                 6441 FAR HILLS AVE                                                                             DAYTON            OH    45459‐2725
MARILYN B GLESER                                  865 OLD HICKORY RD                                                                             PITTSBURGH        PA    15243‐1111
MARILYN B GOLDFLAM                                718 N WALDEN DRIVE                                                                             BEVERLY HILLS     CA    90210‐3125
MARILYN B GUTMANN TR MARILYN B GUTMANN REV        6219 EASTBROOKE                                                                                WEST BLOOMFIELD   MI    48322‐1050
TRUST UA 12/13/00
MARILYN B HAINESWORTH                             4090 CHEVELLE DR S E                                                                           WARREN            OH    44484‐4728
MARILYN B JEROME                                  3227 RITTENHOUSE ST NW                                                                         WASHINGTON        DC    20015‐1678
MARILYN B JOHNSTON                                3621 E 700 N                                                                                   WINDFALL          IN    46076‐9344
MARILYN B JONES                                   187 RUBY DR                                                                                    MACON             GA    31211‐2852
MARILYN B MITCHELL                                201 SE MOJAVE WAY                                                                              LAKE CITY         FL    32025‐3923
MARILYN B PARKER                                  6636 ALMOND LN                                                                                 CLARKSTON         MI    48346
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MARILYN B PHILLIPS                                 349 BEATTIE POINT                                                                            PENN YAN          NY    14527‐9619
MARILYN B VINING                                   PO BOX 73                                                                                    MARGARETVILLE     NY    12455‐0073
MARILYN BEATHALTER                                 315G PARK HILL DR                                                                            PEWAUKEE          WI    53072‐2439
MARILYN BIGGER                                     671 W NORTHFIELD                                                                             PONTIAC           MI    48340‐1330
MARILYN BOND NIEMCZAK                              36038 MIDDLEBORO                                                                             LIVONIA           MI    48154‐5223
MARILYN BORCHARDT                                  514 CASTALIA ST                                                                              BELLEVUE          OH    44811
MARILYN BRANHAN                                    2944 CLAY MILLE BLVD                                                                         NASHVILLE         TN    37207‐3124
MARILYN BROCK CUST JUSTIN HEWITT UTMA CA           PO BOX 3991                                                                                  SEQUIM            WA    98382‐5092
MARILYN BULLOCK                                    24 WESTOVER DR                                                                               OAK RIDGE         TN    37830‐8614
MARILYN BURHOP                                     7207 STEEPLECHASE DR                                                                         SALINE            MI    48176‐9552
MARILYN BURY                                       34 W ROCKET CIR                                                                              PARK FOREST       IL    60466‐1637
MARILYN BUTAWICE                                   PO BOX 316                                                                                   PINE BEACH        NJ    08741‐0316
MARILYN BYRD                                       2829 SW 128TH ST                                                                             OKLAHOMA CITY     OK    73170‐2081
MARILYN C BURTCH                                   1358 SPINDLER RD                                                                             COLUMBUS          OH    43228‐9728
MARILYN C COLE TR UA 08/31/92 MARILYN C COLE       PO BOX 446                                                                                   KENWOOD           CA    95452‐0446
FAMILY TRUST
MARILYN C COLL & PETER COLL JT TEN                 30824 OHMER                                                                                  WARREN            MI    48092‐4945
MARILYN C HEROUX                                   2100 NURSERY RD APT K‐2                                                                      CLEARWATER        FL    33764‐2640
MARILYN C MASTNY                                   507 HESSEL BLVD                                                                              CHAMPAIGN         IL    61820‐6407
MARILYN C METROKA                                  23 NEW SULLIVAN ST                                                                           SWOYERSVILLE      PA    18704‐1916
MARILYN C MINUNNI                                  73 PARK LN CIRCLE                                                                            LOCKPORT          NY    14094‐4710
MARILYN C O'CONNOR                                 25659 HARDING RD                                                                             MORTON            IL    61550‐9327
MARILYN C RAFFERTY & DAVID A RAFFERTY JT TEN       2296 ASHTON OAKS LN #101            STONBRIDGE CC                                            NAPLES            FL    34109‐1464
MARILYN C REIZIAN TR UA 11/13/90 MARILYN C REIZIAN 2217 BURNS CT                                                                                LEXINGTON         KY    40513‐1235
LOVING TRUST
MARILYN C ROSS                                     15 LEOPARD RUN                                                                               GLEN MILLS        PA    19342‐1212
MARILYN C SICKLE TR THE SICKLE JOINT TRUST UA      52718 SOUTHDOWN                                                                              SHELBY TOWNSHIP   MI    48316‐3460
10/15/90
MARILYN CANFIELD                                   1247 MACKERAL AV                                                                             SARASOTA          FL    34237‐3724
MARILYN CHACHAS GREEN TR MARILYN S CHACHAS         1675 SUNHAVEN COURT                                                                          RENO              NV    89521
LIVING TRUST UA 11/12/91
MARILYN CHAPMAN                                    46 BEAVER LANE                                                                               MARBLE            NC    28905‐9142
MARILYN CHIBE                                      7907 WEST 81ST PL                                                                            BRIDGEVIEW        IL    60455‐1634
MARILYN CHUNGLO                                    318 GRANVILLE RD                                                                             SOUTHWICK         MA    01077‐9724
MARILYN COOPERSMITH                                5488 S EVERETT AVE                                                                           CHICAGO           IL    60615‐5923
MARILYN D CALDWELL                                 8753 HONEYCOMB CT NW                                                                         SEABECK           WA    98380‐9734
MARILYN D CROPP                                    2326 ALPINE AVE                                                                              SARASOTA          FL    34239‐4116
MARILYN D DANIELS                                  948 RUTH AVE                                                                                 DAYTON            OH    45408‐1613
MARILYN D FLICK                                    12702 BARRYKNOLL LANE                                                                        HOUSTON           TX    77024‐4005
MARILYN D FREEMAN                                  580 WEST ST                                                                                  KEENE             NH    03431‐2894
MARILYN D FURNISS                                  131 BRANHAMWOOD RD                                                                           LUGOFF            SC    29078‐9494
MARILYN D JEFFRIES                                 3523 N CENTER RD                                                                             FLINT             MI    48506‐2675
MARILYN D KELLY                                    715 SPENCER NE                                                                               GRAND RAPIDS      MI    49505‐5251
MARILYN D LEIX                                     226 SUGARBUSH RD                                                                             KEWADIN           MI    49648‐9262
MARILYN D MCDONALD                                 262 MAYFAIR DR                                                                               WATERFORD         MI    48327‐3524
MARILYN D PHELAN                                   12105 S W LESSER ROAD                                                                        PORTLAND          OR    97219‐7064
MARILYN D WALLACE & MARY E PETRIE JT TEN           473 W 900 N                                                                                  UNIONDALE         IN    46791‐9723
MARILYN D WATTERS                                  PO BOX 199                                                                                   BLAIRSTOWN        NJ    07825‐0199
MARILYN DE JESUS CUST JASMINE DE JESUS UTMA WI     29 MC KINLEY DR                                                                              OCEAN             NJ    07712‐2850

MARILYN DEAN                                      PO BOX 211                                                                                    BOTHELL           WA    98041‐0211
MARILYN DEBOLT                                    15772 SYMPHONY BLVD                                                                           NOBLESVILLE       IN    46060‐4299
MARILYN DEHART                                    745 SILVER TIP WAY                                                                            SUNNYVALE         CA    94086‐8237
MARILYN DEPEW                                     3001 S SHORE BLVD                                                                             LAKE OSWEGO       OR    97034‐5770
MARILYN DEVLIN                                    204 LAWRENCE COURT                                                                            GIBSONIA          PA    15044‐7948
MARILYN DIANNE MILLER BROCK                       5603 INDIAN CIRCLE                                                                            HOUSTON           TX    77056‐1006
MARILYN DOUROS                                    5703 S CASS N 315                                                                             WESTMONT          IL    60559‐3282
MARILYN DROOKER                                   5026 DUXFORD DR                                                                               SYMRNA            GA    30082‐5058
MARILYN DROST                                     18217 PONCIANA AVE                                                                            CLEVELAND         OH    44135‐3905
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MARILYN DRYER                                    256 MILL RIVER ROAD                                                                             CHAPPAQUA         NY    10514‐3223
MARILYN DUNGER                                   2526 WALDEN VIEW LANE                                                                           LINCOLN           CA    95648
MARILYN DUNLEAVY                                 550 BATTERY ST #911                                                                             SAN FRANCISCO     CA    94111
MARILYN E FRANCIS                                1114 N CYPRESS                                                                                  WICHITA           KS    67206
MARILYN E GRAY TR UA 11/20/2007 MARILYN E GRAY   45920 MEADOWS CIRCLE E                                                                          MACOMB            MI    48044
TRUST
MARILYN E GURNEY                                 111 STANTHYL ROAD                                                                               UXBRIDGE          MA    01569
MARILYN E HAENNING                               5188 COLERAIN AVE                                                                               CINCINNATI        OH    45223‐1064
MARILYN E HANUSCHIK                              27 HOGBACK RD                                                                                   TRENTON           NJ    08620‐9676
MARILYN E HARRIS                                 836 LINCOLN ST                                                                                  LAPEER            MI    48446‐1854
MARILYN E LA BARBERA                             985 PINE TRAIL                                                                                  ROCHESTER HILLS   MI    48307‐5755
MARILYN E LABARBERA & FORTUNATO P LABARBERA JT   985 PINE TRAIL                                                                                  ROCHESTER HILL    MI    48307‐5755
TEN
MARILYN E LACH                                   #6                                     196 MADISON W                                            DUMONT            NJ    07628‐3363
MARILYN E LOSEE                                  24 KIMBERLIN DR                                                                                 BROCKPORT         NY    14420‐1208
MARILYN E MICKEY                                 434 N E MEDFORD DRIVE                                                                           LEE'S SUMMIT      MO    64064‐1623
MARILYN E MONTAGUE                               3960 JANETT AVE                                                                                 CINCINNATI        OH    45211‐3301
MARILYN E SEGLEM TR MARILYN E SEGLEM TRUST UA    1676 EDMUND AVE                                                                                 ST PAUL           MN    55104‐2236
9/28/99
MARILYN E STEPHENS                               12433 N BELSAY RD                                                                               CLIO              MI    48420‐9146
MARILYN E SUTTON CUST DIXIE D NASH UTMA FL       2322 TYRONE ROAD                                                                                MIDDLEBURG        FL    32068‐4439
MARILYN E THOMPSON                               800 INDIGO VLG                                                                                  SOUTHPORT         NC    28461
MARILYN E WORTZMAN                               19 DOWITCHER WAY                                                                                SAN RAFAEL        CA    94901
MARILYN ELIZABETH HEENAN                         18 OCHAVO PLACE                                                                                 HOT               AR    71909‐6831
                                                                                                                                                 SPRINGSVILLAGE
MARILYN F BALMER                                 8228 HORTONIA POINT DR                                                                          MILLERSVILLE      MD    21108‐1474
MARILYN F BEQUEATH                               1120 OWSLEY RD                                                                                  MC DONALD         OH    44437‐1227
MARILYN F FLOWERS                                3612 SUNRIDGE DRIVE                                                                             FLINT             MI    48506‐2548
MARILYN F GRAY                                   934 BANFIELD AVE                                                                                TORONTO           OH    43964‐1104
MARILYN F GRIPPER                                30490 WOODSTOCK ST                                                                              SOUTHFIELD        MI    48076‐1216
MARILYN F KERSTEN & HELEN A MOELLER JT TEN       PO BOX 830                                                                                      WISNER            NE    68791‐0830
MARILYN F MCDADE TOD BELINDA S BECKER SUBJECT    228 AUKERMAN ST                                                                                 EATON             OH    45320
TO STA TOD RULES
MARILYN F ROMBAUT                                153 COOLIDGE RD                                                                                 ROCHESTER         NY    14622‐1923
MARILYN F SHAY TR MARILYN F SHAY LIVING TRUST UA 1343 GRAYTON ROAD                                                                               GROSSE POINTE     MI    48230‐1127
07/15/02                                                                                                                                         PARK
MARILYN F TOTHACER                               210 QUAIL CREEK LANE                                                                            GREENVILLE        SC    29615‐4318
MARILYN F UHRBROCK                               3531 HILLCROFT SW                                                                               WYOMING           MI    49548‐2151
MARILYN F VANBLAIR & LEO D VANBLAIR JT TEN       7014 N 90TH ST                                                                                  FOWLER            IL    62338‐2014
MARILYN FARRELL                                  PO BOX 232                                                                                      RIVER EDGE        NJ    07661‐0232
MARILYN FINDLAY                                  PO BOX 832                                                                                      NEW YORK          NY    10008‐0832
MARILYN FULARA                                   C/O MARILYN G PETERS                   13821 BERNIECE                                           WARREN            MI    48089‐3619
MARILYN FULLER                                   2620 PEWANAGA PL                                                                                FLINT             MI    48507‐1841
MARILYN G BOZICH                                 6262 HARBOR SUNSET LN                                                                           GIG HARBOR        WA    98335‐2061
MARILYN G BROWN                                  186 PINTO STREET                                                                                GOLDEN            CO    80401‐4972
MARILYN G CORP                                   322 AUSTRALIAN DR                                                                               ROTONDA WEST      FL    33947
MARILYN G CRAVER                                 224 N E 130TH AVE                                                                               BELLEVUE          WA    98005‐3330
MARILYN G CRISLIP                                508 BRIARCLIFF RD                                                                               WEST POINT        GA    31833‐5214
MARILYN G DAVIS                                  38 D SHORE DRIVE                                                                                PEABODY           MA    01960‐3074
MARILYN G DERAAD & MATHEW L DERAAD JT TEN        33185 IONE DRIVE                                                                                STERLING HTS      MI    48310‐6456
MARILYN G DEY                                    428 W HICKORY ST                                                                                E ROCHESTER       NY    14445‐2110
MARILYN G HARGIS CUST EDWARD R HARGIS UGMA WA 11670 S W TERRACE TRAILS DRIVE                                                                     TIGARD            OR    97223‐2830

MARILYN G JACKSON                                5155 TRUNBULL AVE 1ST                                                                           DETROIT           MI    48209
MARILYN G MARSTON TR UA 04/13/90 MARILYN G       1765 SOMERSET PLACE                                                                             RENO              NV    89509‐3548
MARSTON
MARILYN G PETERS                                 13821 BERNIECE                                                                                  WARREN            MI    48089‐3619
MARILYN G PORTER                                 10616 ADMIRAL CT                                                                                OKLAHOMA CITY     OK    73162‐6801
MARILYN G RIGBY                                  215 RAYMOND ROAD                                                                                WEST HARTFORD     CT    06107‐2539
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MARILYN G SALMON EX EST JAY M GRONINGER        43 HOLLY WAY                                                                                    BRIDGETON       NJ    08302
MARILYN GAIL HARP                              710 S THIRD ST                                                                                  ROGERS CITY     MI    49779‐1914
MARILYN GALEUCIA                               PO BOX 31                                                                                       HINSDALE        MA    01235‐0031
MARILYN GOETZE CLAWSON                         351 PENNSYLVANIA AVE                                                                            SHREVEPORT      LA    71105‐3243
MARILYN GOLDBERG                               493 SKYLARK DR                                                                                  MONROE TWP      NJ    08831‐5724
MARILYN GORDON                                 3442 W COUNTRY GABLES DR                                                                        PHOENIX         AZ    85023
MARILYN GRIFFIN                                3475 NASHVILLE ROAD                                                                             RUSSELLVILLE    KY    42276‐8856
MARILYN H BENSON                               539 WILDCAT CREEK LN                                                                            NEW HAVEN       MO    63068‐2251
MARILYN H COLE & ELBERT L COLE TEN ENT         2115 ROCKWELL AVE                                                                               CATONSVILLE     MD    21228‐4718
MARILYN H CONSTANTINE                          216 E CHURCH ST                                                                                 HEBRON          MD    21830‐1102
MARILYN H FASOLA CUST JOSHUA TOBIN FASOLA UTMA 3432 ALLENDALE DR                                                                               RALEIGH         NC    27604‐2502
NC
MARILYN H FASOLA CUST SAMUEL GARDNER FASOLA    3432 ALLENDALE DR                                                                               RALEIGH         NC    27604‐2502
UTMA NC
MARILYN H GALLAGHER                            10509 S ELY HWY                                                                                 PERRINTON       MI    48871‐9747
MARILYN H HARDY                                6035 MAKELY DR                                                                                  FAIRFAX STA     VA    22039‐1324
MARILYN H KISTLER                              9437 OLD BONHOMME RD                                                                            SAINT LOUIS     MO    63132‐3442
MARILYN H MCNAMEE & JAMES L MCNAMEE JT TEN     16615 JAMESTOWN FOREST DR                                                                       FLORISSANT      MO    63034‐1708

MARILYN H SHIPLEY                                2904 TENBROOK PARK DR                                                                         ARNOLD          MO    63010‐4722
MARILYN H TRACY                                  20128 VALHALLA SQUARE                                                                         ASHBURN         VA    20147‐4104
MARILYN H VENSEL                                 3267 62ND ST                                                                                  PORT ARTHUR     TX    77640‐1236
MARILYN H WALKER                                 1290 RALEIGH LA GRANGE                                                                        ROSSVILLE       TN    38066
MARILYN HALL                                     4681 SR 82 NW                                                                                 NEWTON FALLS    OH    44444
MARILYN HARWOOD COOK                             124 YAUPON DR                                                                                 HARTSVILLE      SC    29550‐4930
MARILYN HAYLES                                   225 GROVER ROAD                                                                               TOMS RIVER      NJ    08753‐6215
MARILYN HAYNES                                   105 BRIDGE ST                                                                                 PHOENIX         NY    13135‐1918
MARILYN HECK                                     34601 ELMWOODD AVE                   APT 316                                                  WESTLAND        MI    48185
MARILYN HOLTON                                   2522 GEORGE AV                                                                                JOLIET          IL    60435‐2962
MARILYN HORTON                                   PO BOX 8241                                                                                   OCEAN ISL BCH   NC    28469
MARILYN HORWITZ                                  2821 RALEIGH AVE                                                                              MINNEAPOLIS     MN    55416
MARILYN HUHN                                     3728 N WASHINGTON RD                                                                          FT WAYNE        IN    46802‐4911
MARILYN I BERRY                                  530 AQUA MARINE DR                                                                            OAK POINT       TX    75068‐2248
MARILYN I GARDNER TR MARILYN I GARDNER           15975 TROW BRIDGE RD                                                                          CHESTERFIELD    MO    63017‐7338
REVOCABLE TRUST 03‐MAY‐93
MARILYN I SHERIDAN                               2414 BASTILLE CT                                                                              MCKINNEY        TX    75070‐4251
MARILYN IPPOLITO                                 16 WALTER COURT                                                                               HARRINGTON PARK NJ    07640‐1114

MARILYN IRWIN HARRIS                             10590 E COUNTY ROAD 325 N                                                                     KNIGHTSTOWN     IN    46148‐9401
MARILYN IVEY                                     1407 ALPINE LANE                                                                              HUNTINGTON      CA    92648‐3767
                                                                                                                                               BEACH
MARILYN J ALLYN CUST ROBERT F ALLYN UGMA MI      7196 SNOWAPPLE DR                                                                             CHLARKSTON      MI    48346‐1643

MARILYN J ARGERSINGER                            6287 W CLEVELAND RD                                                                           MIDDLETON        MI   48856‐9721
MARILYN J BELL                                   3771 WALNUT PARK DR NE                                                                        GRAND RAPIDS     MI   49525‐1023
MARILYN J BELLFY                                 34623 LYTLE RD                                                                                FARMINGTON HILLS MI   48335‐4057

MARILYN J BELLING                                741 WANDERING WAY DRIVE                                                                       ALLEN           TX    75002‐3205
MARILYN J BERNIER                                27243 HAGEN                                                                                   CHESTERFIELD    MI    48051‐1148
MARILYN J BLAIR & SHERMAN C BLAIR TR MARILYN J   2392 MCCLELLANVILLIE TERR                                                                     THE VILLAGES    FL    32162
BLAIR TRUST UA 1/10/01
MARILYN J BLODGETT                               19 FREDERICK AVENUE                                                                           COLONIA         NJ    07067‐1317
MARILYN J BUTLER                                 237 BONNIE BROOK DR                                                                           CHARLOTTE       MI    48813‐1334
MARILYN J CARLOS                                 204 UNION AVE                                                                                 SHARPSVILLE     PA    16150‐1330
MARILYN J CARNAHAN                               12632 W SENECA DR                                                                             SUN CITY WEST   AZ    85375‐4636
MARILYN J CASAVECCHIA                            803 GREEN ST                                                                                  LANSDALE        PA    19446‐5220
MARILYN J CASTILLO                               8400 ASHTON CT                                                                                MENTOR          OH    44060‐7562
MARILYN J CHESLIK                                3803 S PENBROOK DR                                                                            MARION          IN    46952‐1035
MARILYN J DANIELY                                2011 SOMERSET BLVD                   APT 102                                                  TROY            MI    48084‐4028
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Name                                            Address1                              Address2              Address3         Address4          City               State Zip

MARILYN J DEDYNE                                17555 DOLORES                                                                                  LIVONIA            MI    48152‐3809
MARILYN J DOSIER                                2908 TAYLORTOWN RD                                                                             SHELBY             OH    44875‐8611
MARILYN J DUNNIGAN                              4950 W MCELROY DR                                                                              TUCSON             AZ    85745‐9178
MARILYN J ELLIOTT                               32726 WHITE OAKS TRL                                                                           BEVERLY HILLS      MI    48025‐2562
MARILYN J ENGLAND                               56641 SCOTLAND BLVD                                                                            SHELBY TWP         MI    48316‐5037
MARILYN J FORAKER                               409 E 5TH ST                                                                                   LORDSBURG          NM    88045‐2033
MARILYN J FOSS                                  303 E MAIN ST                                                                                  JOHNSTOWN          NY    12095‐2625
MARILYN J FREEMAN                               2668 STONEBRIDGE DR                                                                            TROY               OH    45373‐5422
MARILYN J GARNER                                5907 YALE BLVD                                                                                 KOKOMO             IN    46902‐5259
MARILYN J GAUT                                  45535 PURCELL                                                                                  PLYMOUTH           MI    48170‐3620
MARILYN J GENOA                                 1409 LOUISE ST                                                                                 CORUNNA            MI    48817‐1548
MARILYN J GERDING                               900 NE WINSTON DR                                                                              BREMERTON          WA    98311‐8751
MARILYN J GIBSON & RICHARD GIBSON JT TEN        480 E SOUTHLAWN                                                                                BIRMINGHAM         MI    48009‐2006
MARILYN J GIBSON TR UA 02/05/2008 MARILYN J     480 E SOUTHLAWN                                                                                BIRMINGHAM         MI    48009
GIBSON TRUST
MARILYN J GRAKE                                 60148 MIRIAM                                                                                   WASHINGTON         MI    48094‐2136
MARILYN J GRAKE & PAUL J GRAKE JT TEN           60148 MIRIAM                                                                                   WASHINGTON         MI    48094‐2136
MARILYN J GRENIER                               1241 ROMNEY RD                                                                                 BLOOMFIELD HILLS   MI    48304‐1538

MARILYN J HAMMOND                               4113 DURWOOD DR                                                                                FLINT              MI    48504‐1368
MARILYN J HATLEVIG                              2001 WESLEY AVE                       APT 102                                                  JANESVILLE         WI    53545‐2681
MARILYN J HAVRILLA                              1316 WESTBEND DR                                                                               ST CHARLES         MO    63304‐8624
MARILYN J HELKE                                 742 GREENVIEW DRIVE                                                                            TIPP CITY          OH    45371‐1133
MARILYN J HERALD                                3120 W SCHLOSSER DR                                                                            MORAN              MI    49760‐9695
MARILYN J HOHNER & MICHAEL M HOHNER JT TEN      27408 TOWNLEY                                                                                  MADISON HEIGHTS    MI    48071‐3381

MARILYN J HOHNER & STEVEN A HOHNER JT TEN       74058 MADISON ST                                                                               ARMADA             MI    48005‐4813
MARILYN J IVEY‐CROOK                            5109 SPINNING WHEEL DRIVE                                                                      GRAND BLANC        MI    48439‐4229
MARILYN J JONES & DAVID L JONES JT TEN          4458 OTTER LAKE RD                                                                             OTTER LAKE         MI    48464‐9764
MARILYN J KERN                                  3662 MOUNT ABRAHAM                                                                             SAN DIEGO          CA    92111‐3204
MARILYN J KETTER                                2150 HOWE AVE                                                                                  MORA               MN    55051‐7147
MARILYN J KLIPPER                               3003 CUMBERLAND RD                                                                             BERKLEY            MI    48072‐1664
MARILYN J KNIGHT                                24156 WOODHAM                                                                                  NOVI               MI    48374‐3442
MARILYN J KUHN                                  33514 HIGH DR                                                                                  EAST TROY          WI    53120‐9621
MARILYN J LA BUTE                               ATTN M J HACKER                       11100 COVENTRY CT                                        TAYLOR             MI    48180
MARILYN J LAGA                                  7143 ST RO 54 # 255                                                                            NEW PORT RICHEY    FL    34653‐6104

MARILYN J LEFFLER                               4 GRANT ROAD                                                                                   WESTBOROUGH        MA    01581‐2506
MARILYN J LEVIN                                 907 E SECOND ST                                                                                ROYAL OAK          MI    48067‐2856
MARILYN J LITTLER                               ATTN MARILYN L HOWARD                 310 RAVINWOODS ROAD                                      PEORIA             IL    61615‐1363
MARILYN J LOCKARD                               7735 FLORENTINE DRIVE                                                                          ST LOUIS           MO    63121‐4715
MARILYN J MALLOY                                4744 GRAND KAL RD                                                                              FIFE LAKE          MI    49633‐9323
MARILYN J MATING TR MARILYN J MATING TRUST UA   3017 LANTERN LN                                                                                QUINCY             IL    62301‐6243
08/12/94
MARILYN J MC INALLY                             PO BOX 761                                                                                     LAKE ORION         MI    48361‐0761
MARILYN J MILLER                                6553 EMERALD LAKE DR                                                                           TROY               MI    48098‐1447
MARILYN J MONTGOMERY & KENNETH V                5232 W STOLL RD                                                                                LANSING            MI    48906‐9381
MONTGOMERY JT TEN
MARILYN J MONTGOMERY & VERA H RICHARDS JT TEN   5232 W STOLL RD                                                                                LANSING            MI    48906‐9381

MARILYN J NELSON                                 3109 TERRY DRIVE SE                                                                           CEDAR RAPIDS       IA    52403‐1945
MARILYN J NOLEN                                  2242 ZION RD                                                                                  COLUMBIA           TN    38401‐6047
MARILYN J OBOYLE                                 374 HARRIS HILL RD                                                                            SHAVERTOWN         PA    18708‐9650
MARILYN J OREM                                   4063 WEST 180 SOUTH                                                                           RUSSIAVILLE        IN    46979‐9499
MARILYN J PATTERSON & WILLIAM D PATTERSON JT TEN 1024 STONEHILL CT                                                                             DANVILLE           KY    40422‐9280

MARILYN J PICCHIETTI                            3529 N NOTTINGHAM                                                                              CHICAGO            IL    60634‐3641
MARILYN J PROSSER                               8532 HIDDEN TRAIL                                                                              ORLEANS            MI    48865‐9706
MARILYN J RAINEY                                777 HIGH OAKS CIRCLE                                                                           BEAVERCREEK        OH    45434‐6014
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MARILYN J RICHARDS & VERA H RICHARDS JT TEN       5232 W STOLL ROAD                                                                              LANSING           MI    48906‐9381
MARILYN J ROBINSON                                1694 NORTH M‐52 APT 202                                                                        OWOSSO            MI    48867
MARILYN J ROCKEFELLER                             673 PEARSE RD                                                                                  SCHENECTADY       NY    12309‐2905
MARILYN J SCHNEIDER                               11216 W FOREST HOME AVE                                                                        FRANKLIN          WI    53132‐1201
MARILYN J SCHULTE CUST KRISTI L SCHULTE UGMA MI   216 HESSE                                                                                      HOWELL            MI    48843‐1828

MARILYN J SEXTON                                  1320 THURNRIDGE DR                                                                             CINCINNATI        OH    45215‐3960
MARILYN J SHIRKMAN & JAMES E SHIRKMAN JT TEN      18634 ROLLING HILLS LOOP                                                                       HUDSON            FL    34667‐5799

MARILYN J SKEPPSTROM                              145 REMBRANDT DRIVE                                                                            LANCASTER         PA    17603‐9723
MARILYN J SMITH                                   3109 SPARTAN RD                                                                                SALINEVILLE       OH    43945‐9601
MARILYN J SMITH TR MARILYN J SMITH TRUST UA       533 AQUEDUCT ST                                                                                AKRON             OH    44303‐1512
08/05/96
MARILYN J STOWELL & HAROLD R STOWELL JT TEN       8404 BEACHWOOD CT                                                                              SPRING HILL       FL    34606‐1103

MARILYN J SZPARA                                3547 CHAPIN AVE                                                                                  NIAGARA FALLS     NY    14301
MARILYN J TOKAR                                 1582 RTE 2023                                                                                    MONONGAHELA       PA    15063‐3433
MARILYN J VANOSDOL                              6484 N 1000 W                                                                                    SHARPSVILLE       IN    46068‐9249
MARILYN J VANTASSELL                            163 SW 48TH TERRACE                                                                              CAPE CORAL        FL    33914
MARILYN J WAGNER & RICHARD A WAGNER & ROBERT 9333 NIXON RD                                                                                       GRAND LEDGE       MI    48837‐9405
M WAGNER JT TEN
MARILYN J WARD‐FORD CUST GARY L FORD JR UGMA CT 162 HOYT FARM RD                                                                                 NEW CANAAN        CT    06840‐5038

MARILYN J WARD‐FORD CUST KISHKA‐KAMARI FORD       162 HOYT FARM RD                                                                               NEW CANAAN        CT    06840‐5038
UGMA CT
MARILYN J WEISBACH                                2915 HEDGE ROW PASS                                                                            FORT WAYNE        IN    46804‐7851
MARILYN J WILEY                                   8997 SOMMERWOOD DR                                                                             NOBLESVILLE       IN    46060
MARILYN J WILSON                                  3312 CHURCHILL AVE                                                                             FLINT             MI    48506‐4706
MARILYN J WOLF TR UA 05/15/07 MARILYN J WOLF      4056 HAINES STREET                                                                             SAN DIEGO         CA    92109
TRUST
MARILYN J WOODS                                   PO BOX 172                                                                                     MIDLOTHIAN        TX    76065‐0172
MARILYN JACOBS                                    1130 PALMWOOD AVENUE                                                                           TOLEDO            OH    43607‐1942
MARILYN JAN TUCKER                                PO BOX 1228                                                                                    FAIRFIELD         TX    75840‐0023
MARILYN JANET LIGHT                               7276 HURON                                                                                     LEXINGTON         MI    48450
MARILYN JEAN DOOLEY                               14884 KELLY CT                                                                                 SHELBY TOWNSHIP   MI    48315

MARILYN JEAN HUNTER                               724 EAST STROOP RD                                                                             KETTERING         OH    45429
MARILYN JENKINS CUST JORDAN JENKINS UTMA UT       440 W 530 W                                                                                    OREM              UT    84058

MARILYN JOANNE LARSON                             1410 MADRONA                                                                                   EVERETT           WA    98203‐1726
MARILYN JOY HAYES                                 2732 PARKLAWN DRIVE                                                                            KETTERING         OH    45440‐1551
MARILYN K ALBRECHT ALISA A ALBRECHT & LYNN B      10 BERLIN AVE                                                                                  MILTON            MA    02186‐5103
ALBRECHT JT TEN
MARILYN K ANDRASEK                                19 WINDRIDGE                                                                                   ALISO VIEJO       CA    92656‐1358
MARILYN K BEECHEM                                 12500 WARNER ROAD                                                                              LAINGSBURG        MI    48848‐8778
MARILYN K BERARDICURTI                            66 DALSTON ROAD                                                                                ROCHESTER         NY    14616‐4519
MARILYN K CARROLL                                 PO BOX 7214                                                                                    DEFIANCE          OH    43512
MARILYN K COLE                                    2240 E CLYDE ROAD                                                                              HOWELL            MI    48843‐9714
MARILYN K DILLON & CLARENCE DILLON JT TEN         1301 ROODS LAKE ROAD                                                                           LAPEER            MI    48446‐8361
MARILYN K GERDES                                  1324 W ROSEDALE AVE                                                                            CHICAGO           IL    60660‐3438
MARILYN K HALEY                                   2601 ELMWOOD AVE                                                                               GUYAHOGA FALLS    OH    44221‐2608
MARILYN K HAYNES & CLINTON A HAYNES JT TEN        16206 ASPEN HOLW                                                                               FENTON            MI    48430‐9159
MARILYN K HISLE                                   1024 SHELLBARK RD                                                                              ANDERSON          IN    46011‐2425
MARILYN K HOEVEL                                  495 NO MAGNOLIA AVE                                                                            MONROVIA          CA    91016‐1618
MARILYN K HOOKMAN                                 4202 TARLAC DR                                                                                 SAN ANTONIO       TX    78239
MARILYN K JERGENS                                 404 BEECHGROVE DR                                                                              ENGLEWOOD         OH    45322‐1109
MARILYN K LOWE                                    PO BOX 1611                                                                                    ELLENSBURG        WA    98926‐1611
MARILYN K METZMAKER                               416 W CHERRY                                                                                   POTTERVILLE       MI    48876
MARILYN K PARKIN                                  1300 S BUCKEYE ST                                                                              KOKOMO            IN    46902‐6317
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MARILYN K PATRYLOW                               300 COLUMBIA DR APT 3207                                                                       CAPE CANAVERAL     FL    32920‐5105
MARILYN K RAUSER                                 4387 MENSHA PL                                                                                 SAN DIEGO          CA    92130‐2448
MARILYN K SAND                                   222 WESTMONT ROAD                                                                              PITTSBURGH         PA    15237‐1824
MARILYN K SCOTT                                  16247 WAKE ROBIN DR                                                                            NEWBURY            OH    44065‐9163
MARILYN K SEMETIS                                2092 TABOR MTN RD                                                                              JESSIEVILLE        AR    71949‐9609
MARILYN K SHELTON BOZEMAN                        281 COUNTY RD 470                                                                              TRINITY            AL    35673‐4561
MARILYN K ZERRENHER                              1031 VENTNOR H                                                                                 DEERFIELD BCH      FL    33442‐2404
MARILYN K ZIMMERMAN                              1024 SHELLBARK RD                                                                              ANDERSON           IN    46011‐2425
MARILYN KARP                                     ATTN MARILYN KARP ORENS               1373 CAUFIELD COURT                                      RIVERSIDE          CA    92506‐5634
MARILYN KAY BRAY                                 985 MOUNTVIEW RD                                                                               LAPEER             MI    48446‐9053
MARILYN KAY PRATHER                              10161 W BETHEL AVENUE                                                                          GASTON             IN    47342‐9780
MARILYN KAY WALKER                               1900 CEDAR ST                         APT G100                                                 NORWALK            IA    50211‐9533
MARILYN KIRILUK                                  1875 RATHMOR RD                                                                                BLOOMFIELD HILLS   MI    48304‐2148

MARILYN KOPP & JOHN KOPP JT TEN                  12892 VIA CATHERINA                                                                            GRAND BLANC        MI    48439‐1530
MARILYN KUEBLER                                  5401 ZELZAH AVE #116                                                                           ENCINO             CA    91316‐2204
MARILYN L ALFORD                                 PO BOX 202                            6710 ANGOLA RD                                           HOLLAND            OH    43528
MARILYN L BETTINGER                              15 BERRYHILL CT                                                                                SPRINGBORO         OH    45066‐8946
MARILYN L BIGRIGG                                6111 NORTHRIDGE RD                                                                             JOHNSTOWN          OH    43031‐9179
MARILYN L BONETATI & GUY R BONETATI JT TEN       6413 LOOKOUT LN                                                                                ANAHEIM            CA    92807‐4827
MARILYN L BROWN                                  17624 FLEETWOOD LN                                                                             SOUTH BEND         IN    46635‐1367
MARILYN L CHICHESTER                             517 PINE ACRES BLVD                                                                            BRIGHTWATERS       NY    11718‐1202
MARILYN L CULBERTSON                             249 ARNETT AVE                                                                                 VENTURA            CA    93003‐2101
MARILYN L CURRY                                  4096 STATELINE RD                                                                              OKEANA             OH    45053‐9506
MARILYN L CURRY & AARON M CURRY JT TEN           4096 STATELINE RD                                                                              OKEANA             OH    45053‐9506
MARILYN L DITTLOFF                               5637 SOUTH LORENE AVENUE                                                                       MILWAUKEE          WI    53221‐4021
MARILYN L DREYER                                 21710 SUSSEX                                                                                   OAK PARK           MI    48237‐3505
MARILYN L ELLIS & RONALD D ELLIS JT TEN          7251 LEDGEWOOD DR                                                                              FENTON             MI    48430‐9351
MARILYN L ELTON                                  2353 GREENSWARD SOUTH                                                                          WARRINGTON         PA    18976‐2004
MARILYN L FLAHERTY                               201 MENOMONEE AVE                                                                              S MILWAUKEE        WI    53172‐2814
MARILYN L FLUELLEN                               1217 W HURON ST                       APT 2                                                    ANNARBOR           MI    48103‐4269
MARILYN L FOX                                    706 GRAND AVE                                                                                  LINCOLN            IL    62656
MARILYN L GIBBS                                  305 SAMPLE DR                                                                                  WEST ALEXANDRIA    OH    45381‐8306

MARILYN L GROVER TR UA 09/08/84 THE GROVER TRUST 26080 DARIA CIR E                                                                              SOUTH LYON         MI    48178‐8075

MARILYN L HALL & MARSHIA L HALL JT TEN           1723 COUNCIL DR                                                                                SUN CITY CENTER    FL    33573‐5210
MARILYN L HANDY                                  6675 FOREST BEACH DR                                                                           HOLLAND            MI    49423
MARILYN L JABKIEWICZ                             615 WEST WASHINGTON AVENUE                                                                     JACKSON            MI    49201‐2029
MARILYN L KRUEGER                                6565 W EDGERTON AVE                                                                            GREENDALE          WI    53129‐1206
MARILYN L LEACH & DON LEACH JT TEN               1021 HIGHLAND PARK RD                                                                          NISKAYUNA          NY    12309‐5407
MARILYN L PALADINO & LAWRENCE PALADINO JT TEN    24454 CURIE                                                                                    WARREN             MI    48091

MARILYN L PETRIMOULX TR MARILYN L PETRIMOULX     24249 BOLAM                                                                                    WARREN             MI    48089‐4431
REV TRUST UA 02/01/02
MARILYN L POMEROY                                2617 CRESTON AVENUE                                                                            LANSING          MI      48906‐4008
MARILYN L SANTELL                                735 G P EASTERLY N E                                                                           CORTLAND         OH      44410
MARILYN L SCARBOROUGH                            62470 OPHIR CIRCLE                                                                             MONTROSE         CO      81401‐7889
MARILYN L SIMONI & HENRY B SIMONI JT TEN         39623 MUIRFIELD LN                                                                             NORTHVILLE       MI      48167‐3482
MARILYN L SOMSEL                                 345 SHRUB LANE SOUTH                                                                           NORTH FORT MYERS FL      33917‐7419

MARILYN L TAMBURELLO                             10728 LOST VALLEY RD                                                                           MONTAGUE           MI    49437‐8501
MARILYN L THOMPSON                               6550 SOUTH 850 EAST                                                                            ZIONSVILLE         IN    46077
MARILYN L TOTH                                   223 WESTBRIDGE DR                                                                              BEREA              OH    44017‐1549
MARILYN L WEITZ                                  1426 CHURCH ROAD                                                                               HAMLIN             NY    14464
MARILYN L WINKEL                                 1611 WILLOWICK CT                                                                              MT PLEASANT        SC    29466‐8172
MARILYN LA ROSE BANKES                           174 LAKE MEADOW DR                                                                             ROCHESTER          NY    14612‐4058
MARILYN LARSON BEETS                             1207 ROCKRIDGE ST                                                                              ROUND ROCK         TX    78681‐5673
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MARILYN LAVENUE & HERBERT LAVENUE & ROBERTA     207 CLEVELAND DRIVE                                                                            CROTON ON       NY    10520‐2412
ROMANO JT TEN                                                                                                                                  HUDSON
MARILYN LEVINE                                  1057 LINDEN ST                                                                                 VALLEY STREAM   NY    11580‐2135
MARILYN LINDLEY WOOD BUTLER                     1028 PLACETAS AVE                                                                              CORAL GABLES    FL    33146
MARILYN LISTER                                  2214 REGINA DR                                                                                 CLARKSBURG      MD    20871‐8526
MARILYN LOIS TOTH                               223 WESTBRIDGE DR                                                                              BEREA           OH    44017‐1549
MARILYN LOPS                                    5 GEMINI LANE                                                                                  NESCONSET       NY    11767‐1707
MARILYN LUCIK CUST GABRIELLE LUCIK UTMA OH      1577 RIVER'S EDGE DR                                                                           VALLEY CITY     OH    44280‐9426
MARILYN LUZADDER                                2355 BARNHART STREET                                                                           WEST CHICAGO    IL    60185‐6157
MARILYN M BARRY                                 225 ROUTE 9W                                                                                   HAVERSTRAW      NY    10927‐1043
MARILYN M BOTTIN TR UA 10/06/08 MARILYN M       3502 CATTAIL COVE                                                                              PEKIN           IL    61554
BOTTIN TRUST
MARILYN M BRADY‐HALLAS                          10111 GLADSTONE RD                                                                             NORTH JACKSON   OH    44451‐9609
MARILYN M CAMPBELL                              204 SEMINOLE TRL                                                                               FRANKFORT       KY    40601‐1732
MARILYN M COHEN CUST RYAN SIEROTY UTMA CA       7240 LANKERSHIM BLVD APT 144                                                                   NORTH           CA    91605‐3810
                                                                                                                                               HOLLYWOOD
MARILYN M COSIER                                962 KEEFER ROAD                                                                                GIRARD          OH    44420‐2172
MARILYN M CUNNINGHAM                            73 PEBBLE BEACH BLVD                                                                           JACKSON         NJ    08527‐4062
MARILYN M EKMAN TR MARILYN M EKMAN 1995 TRUST 15899 GARLOCK LN                                                                                 PRATHER         CA    93651‐9707
UA 09/08/95
MARILYN M FORTH                                 7658 HAYLAGE CIRCLE                                                                            BALDWINSVILLE   NY    13027‐8450
MARILYN M FUDER                                 635 N PALM ST                                                                                  JANESVILLE      WI    53545‐2846
MARILYN M GILLESPIE                             3581 CHANUTE AVE SW                                                                            GRANDVILLE      MI    49418‐1931
MARILYN M GRISWOLD                              25 WOODLAWN CIRCLE                                                                             EXETER          NH    03833‐1834
MARILYN M HEATHCO                               1411 W MAIN ST                                                                                 CARMEL          IN    46032
MARILYN M HOOVER                                919 WEST CROSS ST                                                                              ANDERSON        IN    46011‐2111
MARILYN M HUIZINGA TR UA 06/03/93 THE MARILYN M 114 S LOUIS STREET                                                                             MT PROSPECT     IL    60056‐3447
HUIZINGA TRUST
MARILYN M HYNOSKI                               776 SHEPHERD LN                                                                                SHEPHERDSTOWN   WV    25443‐4670

MARILYN M KOERBER                               1255 S BELSAY RD                                                                               BURTON          MI    48509‐1917
MARILYN M LUCIK                                 1577 RIVER'S EDGE DR                                                                           VALLEY CITY     OH    44280‐9426
MARILYN M MAHER                                 18734 DIX RD                                                                                   MELVINDALE      MI    48122
MARILYN M MALPELI                               795‐B MEADOWLAND DR                                                                            NAPLES          FL    34108‐2553
MARILYN M MANCE                                 98 W LAKE DAMON ROAD                                                                           AVON PARK       FL    33825‐8901
MARILYN M MCCANLESS                             8409 MIDWAY DRIVE                                                                              CEDAR HILL      MO    63016‐3845
MARILYN M MITCHELL                              6515 WILLOW HILL CT                                                                            DAYTON          OH    45459‐1933
MARILYN M MOORE & ELMER R MOORE JT TEN          1048 S CARRIAGE AVE                                                                            SPRINGFIELD     MO    65809‐1457
MARILYN M MYERS                                 PO BOX 272                                                                                     ANNANDALE       VA    22003‐0272
MARILYN M NELSON                                3581 CHANUTE SW AV                                                                             GRANDVILLE      MI    49418‐1931
MARILYN M NEWELL & WILLIAM CURTIS NEWELL JT TEN 3N271 TIMBERLINE DRIVE                                                                         WEST CHICAGO    IL    60185‐1348

MARILYN M NICOLAUS                              2867 HOUSEL CRAFT RD NW                                                                        BRISTOLVILLE    OH    44402‐9628
MARILYN M NIELSEN & SUSAN R STANCZAK &          37833 MAPLE CIR W                                                                              CLINTON TWSP    MI    48036‐2162
CHRISTOPHER M NIELSEN JT TEN
MARILYN M PARKER                                143 BLUEBELL CT                                                                                MACON           GA    31217‐3501
MARILYN M PATTERSON                             1300 BEACON PKWY E                    APT 705                                                  BIRMINGHAM      AL    35209‐7437
MARILYN M PAUL & LINTON D PAUL JT TEN           19512 E 339TH ST                                                                               ARCHIE          MO    64725‐9199
MARILYN M PERUSEK                               7933 SHAWNEE TRL                                                                               GARRETTSVILLE   OH    44231‐9739
MARILYN M REEVES                                103 ROSE LANE                         SUMMERS POINT                                            WINCHESTER      IN    47394‐8294
MARILYN M RENDSLAND                             25 BARLOW DR                                                                                   ROCHESTER       NY    14626‐2008
MARILYN M SEIM                                  PO BOX 58304                                                                                   RENTON          WA    98058‐1304
MARILYN M SHORT                                 PO BOX 378                                                                                     ANETA           ND    58212‐0378
MARILYN M STONE                                 6657 BRIGHAM SQ                                                                                CENTERVILLE     OH    45459‐6924
MARILYN M VANDORN                               68 ROWLAND AVE                                                                                 MANSFIELD       OH    44903‐1427
MARILYN MAE SCHUCK SUCCESSOR TR UW GERALD F     8795 WILLOWBRAE LN                                                                             ROSWELL         GA    30076‐3594
FITZGERALD
MARILYN MARIE DAHNER                            PO BOX 6986                                                                                    VIRGINIA BCH    VA    23456
MARILYN MATASH                                  142 TAYLOR RD                                                                                  BERWICK         PA    18603
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MARILYN MAY WHITE BENTZ                          3948 DELMORE RD                                                                                CLEVELAND        OH    44121‐2408
                                                                                                                                                HEIGHTS
MARILYN MAYER WEST                               8810 WALTHER BLVD #1414                                                                        BALTIMORE        MD    21234‐5734
MARILYN MC TAGUE                                 6104 S LAKE SHORE DR                                                                           CARY             IL    60013‐1272
MARILYN MCCONNELL                                7718 N WADE SPRING DR                                                                          TUCSAN           AZ    85743‐6014
MARILYN MCCOY & WILLIAM MCCOY JT TEN             2202 ALFRESCO                                                                                  CLINTON          MO    64735‐2465
MARILYN MCDONALD                                 FOUNTAIN HILL                         3399 EAGLE POINT DR                                      DUBUQUE          IA    52001‐8320
MARILYN MILLER                                   6092 GOLF VILLAS DR                                                                            BOYNTON BEACH    FL    33437‐4116
MARILYN MILLS                                    7560 RD 192                                                                                    ANTWERP          OH    45813‐9203
MARILYN MORAN                                    628 W VALLEY VIEW                                                                              FULLERTON        CA    92835‐4065
MARILYN MORROW                                   777 E WOODWARD HEIGHTS BLVD           APT 312                                                  HAZEL PARK       MI    48030‐2757
MARILYN MURRAH HARDIN CUST THOMAS M WALL         3114 BROOKLAWN TERRACE                                                                         CHEVY CHASE      MD    20815
UGMA VA
MARILYN N GAETANI DARAGONA                       PIAZZA S MARIA ANGELI A               PIZZOFALCONEI         NAPLES           80132 ITALY
MARILYN N LOCKHART & GENE E LOCKHART JT TEN      2620 S STATE ROAD 267                                                                          PLAINFIELD       IN    46168‐8304

MARILYN N SHOTWELL & SCOTT K SHOTWELL JT TEN     264 10TH AVE S                                                                                 NAPLES           FL    34102‐6821

MARILYN N WILLIAMS                               6308 PEPPER HILL                                                                               W BLOOMFIELD     MI    48322
MARILYN NEWMAN CUST MARTHA ANN NEWMAN            1009 LANTERN HILL CT                                                                           SALISBURY        MD    21804‐8727
UNDER THE CALIFORNIA U‐G‐M‐A
MARILYN NORD BERNARD                             PO BOX 37                                                                                      ADOLPHUS         KY    42120‐0037
MARILYN O FRAZIER                                54 COAL HILL RD                                                                                GREENVILLE       PA    16125‐8606
MARILYN O HENNINGER                              10 LONGATE RD                                                                                  CLINTON          CT    06413‐1328
MARILYN O RIMM CUST ANNE H RIMM UGMA NJ          420 N DOUGLAS AVE                                                                              MARGATE          NJ    08402‐1929
MARILYN O'BRYAN                                  465 BOUNEMOUTH CIRCLE                                                                          GROSSE POINTE    MI    48236‐2815
                                                                                                                                                FARM
MARILYN OLSAVICK                                 8401 18 MILE RD COURT G # 140                                                                  STERLING HTS     MI    48313
MARILYN OLSON                                    RT 7 BOX141F                                                                                   COUDERAY         WI    54828
MARILYN P BULIN & GEORGE V BULIN JR JT TEN       2529 JENNINGS RD                                                                               WATKINS GLEN     NY    14891
MARILYN P FLEEGER                                114 DIGBY RD                                                                                   LAFAYETTE        IN    47905‐1150
MARILYN P HOFFMAN                                2271 EAST ARMS DR                                                                              HUBBARD          OH    44425‐3302
MARILYN P HOLMES                                 696 WOODSTONE RD                                                                               LITHONIA         GA    30058‐5949
MARILYN P KLINE                                  96 EMS T7B LANE                                                                                LEESBURG         IN    46538‐9420
MARILYN P KROL                                   31444 HOOVER ROAD                                                                              WARREN           MI    48093‐1720
MARILYN P KUHNHENN                               4803 CHICAGO RD                                                                                WARREN           MI    48092‐1479
MARILYN P MC GLYNN                               124 E MOUNT AVE                                                                                ATLANTIC HLDS    NJ    07716‐1535
MARILYN P PHELAN                                 C/O MARILYN GILBERT                   2189 PRESCOTT DR                                         TROY             MI    48083‐2549
MARILYN P SMITH                                  310 GENERAL SMITH DR                                                                           SACKETS HARBOR   NY    13685
MARILYN P STACK CUST ANDREW P STACK UGMA OH      PO BOX 2134                                                                                    PAHRUMP          NV    89041‐2134

MARILYN P WADE                                   3185 CONTRA LOMA BLVD                 APT#212                                                  ANTIOCH          CA    94509‐5496
MARILYN P WALDO                                  CO MARILYN P TARDUGNO                 1382 PEMBROKE LANE                                       OXFORD           MI    48371‐5924
MARILYN R BARTHEL                                PO BOX 577                                                                                     LACOSTE          TX    78039‐0577
MARILYN R BEGGINS & HENRY J BEGGING JT TEN       34151 AUTUMN SAGE COURT                                                                        WILDOMAR         CA    92595‐8477
MARILYN R BEJMA                                  8550 SUMMERHILL DRIVE                                                                          STANWOOD         MI    49346‐8870
MARILYN R BIDDLE                                 2093 BARCLAY VILLAGE APT 110                                                                   MUSKEGON         MI    49441‐2824
MARILYN R CARTER                                 6012 YALE CT                                                                                   KOKOMO           IN    46902‐5261
MARILYN R EVANS                                  15301 W CR 1150                                                                                SUMMITVILLE      IN    46070
MARILYN R FAUGHT                                 413 CLEARWATER DR                                                                              CHAMPAIGN        IL    61822‐7321
MARILYN R GSCHWENDER                             PO BOX 18605                                                                                   FAIRFIELD        OH    45018‐0605
MARILYN R HARRADON                               PO BOX 327                                                                                     SABATTUS         ME    04280‐0327
MARILYN R HAYES                                  4999 NORTON ROAD                                                                               GROVE CITY       OH    43123‐8801
MARILYN R HENDERSON                              7549 CONCORD RD                                                                                DELAWARE         OH    43015
MARILYN R KELLEY CUST ADAM L KELLEY UTMA PA      44 TOP HILL RD                                                                                 SAUNDERSTOWN     RI    02874‐3236
MARILYN R KELLEY CUST COLLEEN C KELLEY UTMA PA   44 TOP HILL RD                                                                                 SAUNDERSTOWN     RI    02874‐3236

MARILYN R LEWIS                                  14510 SE 24TH CIRCLE                                                                           VANCOUVER        WA    98683‐8454
MARILYN R MANSON                                 280 CAROL DR                                                                                   VENTURA          CA    93003‐1709
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Name                                              Address1                               Address2             Address3          Address4          City             State Zip

MARILYN R MAYER                                   4227 GOODFELLOW DRIVE                                                                           DALLAS           TX    75229‐2815
MARILYN R PARK                                    5880 STILL MEADOW DR                                                                            RENO             NV    89502
MARILYN R PURDY                                   12777 QUAKER                                                                                    LAWTONS          NY    14091‐9796
MARILYN R ROBISON                                 8427 N LAKE RD #10                                                                              CORFU            NY    14036
MARILYN R SHENEFELT                               534 COAL ST                                                                                     PITCAIRN         PA    15140‐1005
MARILYN R SMITH                                   1413 W MAIN ST                                                                                  CRAWFORDSVILLE   IN    47933‐1110

MARILYN R STEWART                               18 GREENFIELD DRIVE                                                                               TONAWANDA        NY    14150‐4312
MARILYN R WALSH                                 100 OSIE DRIVE                                                                                    LAWRENCEBURG     TN    38464‐7724
MARILYN R WERNER                                13070 INDEPENDENCE AVE                                                                            UTICA            MI    48315‐4723
MARILYN R WHITMORE                              7983 EAST D E AVE                                                                                 RICHLAND         MI    49083‐9746
MARILYN R WILSON                                418 EMERSON AVENUE                                                                                FARRELL          PA    16121‐1830
MARILYN R WORLOW                                218 SAPP                                                                                          PEKIN            IL    61554‐5535
MARILYN RAE COLBY                               318 BUCKINGHAM                                                                                    FLINT            MI    48507‐2705
MARILYN RAPKIN                                  250 PANTOPS MOUNTAIN RD                  APT 5215                                                 CHARLOTTESVLE    VA    22911
MARILYN RASCHER DANIEL                          5212 BERGET                                                                                       AMARILLO         TX    79106‐4914
MARILYN RICHARDS                                7028 NW 111TH TER                                                                                 PARKLAND         FL    33076‐3848
MARILYN RICKARD                                 6687 BEEKMAN PL                          STE B                                                    ZIONSVILLE       IN    46077‐1379
MARILYN ROCHE                                   900 DOGWOOD DRIVE #136                                                                            DELRAY BEACH     FL    33483‐4927
MARILYN ROGERS                                  338 MT VERNON AVE                                                                                 ROCHESTER        NY    14620‐2708
MARILYN ROSEN                                   701 GERALD COURT APT 6‐E                                                                          BROOKLYN         NY    11235‐5129
MARILYN ROTH CUST BENJAMIN M BERG UTMA IL       75 WELLINGTON RD                                                                                  NORTHBROOK       IL    60062‐1336
MARILYN ROWELL                                  146 VICTOR LN                                                                                     HAMLIN           NY    14464‐9231
MARILYN RUBENZER                                2111 PRIDDY STREET                                                                                BLOOMER          WI    54724‐1553
MARILYN RUTH MILLER CARLTON                     PO BOX 1256                                                                                       LECOMPTE         LA    71346‐1256
MARILYN RUTH THOMEN                             14055 BANCROFT COURT                                                                              FONTANA          CA    92336‐3510
MARILYN RUTH WILSON & MARSHA GAIL WILSON JT TEN 4435 N DURANT WAY                                                                                 FRESNO           CA    93705‐1415

MARILYN S ALEXANDER                               5154 POLO FIELDS DR                                                                             GIBSONIA         PA    15044
MARILYN S ANTOSH TR UA 12/08/88 MARILYN S         11370 S W 186 ST                                                                                MIAMI            FL    33157‐6524
ANTOSH TRUST
MARILYN S BAILEY                                  5444 LIMESTONE DRIVE                                                                            FAIRFIELD        OH    45014‐2410
MARILYN S BOWERS                                  8008 S CR 825 E                                                                                 PLAINFIELD       IN    46168
MARILYN S CHILDRESS                               ROUTE 4                                                                                         PEEBLES          OH    45660‐9808
MARILYN S COLTER                                  34 BARRON WAY                                                                                   N FT MYERS       FL    33903‐3880
MARILYN S COMBINE                                 175 WAKEFIELD DR                                                                                SHARPSVILLE      PA    16150‐1414
MARILYN S DERAMO                                  844 HYDE SHAFFER RD                                                                             BRISTOLVILLE     OH    44402‐9717
MARILYN S DIZIK                                   24111 CIVIC CENTER DR                  APT 410                                                  SOUTHFIELD       MI    48033‐7435
MARILYN S ENGSTROM & ARTHUR H ENGSTROM JT TEN     1228 3 MILE DR                                                                                  GROSSE POINTE    MI    48230‐1122

MARILYN S GARRETT                                 3533 N SERVICE RD                      APT 152                                                  OKLAHOMA CITY    OK    73160‐3279
MARILYN S GRONOW                                  1714 S MAIN                                                                                     KOKOMO           IN    46902‐2137
MARILYN S JACKSON                                 12821 W 70TH ST                                                                                 SHAWNEE          KS    66216‐2622
MARILYN S KARPICKE TR UA 11/18/87 M‐B MARILYN S   4550 HOWLEY CT                                                                                  SAGINAW          MI    48603‐4642
KARPICKE
MARILYN S KARPICKE TR UA 11/18/87 MARILYN S       4550 HOWLEY COURT                                                                               SAGINAW          MI    48603‐4642
KARPICKE AS GRANTOR
MARILYN S KILLIAN                                 03460 KUZMIC RD                                                                                 BOYNE FALLS      MI    49713‐9759
MARILYN S KOHLHOFF                                1523 KLEMPEL FARM DR                                                                            GRAND HAVEN      MI    49417‐9203
MARILYN S KRALL                                   1632 W CO RD 425N                                                                               KOKOMO           IN    46901
MARILYN S MACY                                    714 E BENNETT AVE                                                                               GLENDORA         CA    91741‐2745
MARILYN S MC QUADE CUST MEREDITH MC QUADE         632 HACKETT HILL RD                                                                             MANCHESTER       NH    03102‐8523
UGMA NH
MARILYN S MELVIN                                  49 KENNARD RD                                                                                   GREENVILLE       PA    16125‐9425
MARILYN S NOLTE                                   4520 DEWEY AVE                                                                                  ROCHESTER        NY    14612‐3904
MARILYN S OKON                                    3109 AUTUMN WOOD DR                                                                             SPRINGFIELD      IL    62704‐6463
MARILYN S PETRUSKA                                45 ESCALON DR                                                                                   CORAOPOLIS       PA    15108
MARILYN S POLAND                                  2711 ROWLEY                                                                                     WILLIAMSTON      MI    48895
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MARILYN S RAPHAEL & JO‐ELLEN FOX & VICKI R RAPHAEL 2540 BATCHELDER ST                      APT 7L                                                   BROOKLYN         NY    11235‐1520
JT TEN
MARILYN S SCHNEIDER                                1232 MILLER LAKE DR                                                                              HOPKINS          MI    49328‐9646
MARILYN S SHAW                                     3028 MALIBU DR SW                                                                                WARREN           OH    44481‐9242
MARILYN S WICKHAM                                  21 DELVIEW TER                                                                                   DELHI            NY    13753‐1013
MARILYN S WILKE                                    W 675 GOLF COURSE RD                                                                             BRODHEAD         WI    53520‐9676
MARILYN S WIMBOROUGH                               13353 E COUNTY RD 500S                                                                           SHERIDAN         IN    46069‐9434
MARILYN S WIMBOROUGH                               13353 E 500 S                                                                                    SHERIDAN         IN    46069
MARILYN SANSONE MIHELC & WILLIAM P MIHELC JT TEN 220 SHERWOOD COURT                                                                                 ZIONSVILLE       IN    46077‐1043

MARILYN SCHEBLER KARPICKE                         4550 HOWLEY COURT                                                                                 SAGINAW          MI    48603‐4642
MARILYN SEARS                                     2113 OAKWOOD LANE                                                                                 ARLINGTON        TX    76012‐2252
MARILYN SHERMAN TR EDWIN SILVER TRUST UA          510 MAIN ST APT 1028                                                                              NEW YORK         NY    10044‐0103
03/29/96
MARILYN SHUPP                                     PO BOX 113                                                                                        NASHVILLE        MI    49073‐0113
MARILYN SILVERMAN CUST MITCHELL STEVEN            18 DANIEL LANE                                                                                    DIX HILLS        NY    11746‐5309
SILVERMAN UGMA NY
MARILYN SMITH                                     58 BURKE CT                                                                                       SPRINGBORO       OH    45066‐8510
MARILYN SOUTHARD                                  9706 CARITAS CI                                                                                   HOUSTON          TX    77065‐4077
MARILYN STEVENS                                   1365 RUBY ANN DR                                                                                  SAGINAW          MI    48601‐9761
MARILYN STOVALL                                   16755 ELLA BLVD #198                                                                              HOUSTON          TX    77090‐4211
MARILYN STRONG                                    9559 BRAILE                                                                                       DETROIT          MI    48228‐1512
MARILYN SUE BURNELL                               8519 SAWYER BROWN RD                                                                              NASHVILLE        TN    37221‐2404
MARILYN SUE FEDERICI                              1327 KINGS CARRIAGE RD                                                                            GRAND BLANC      MI    48439‐8641
MARILYN SUE HENDRY                                2133 N LYNHURST DR                                                                                SPEEDWAY         IN    46224‐5004
MARILYN SUMERFORD CUST BETHANY CLAIRE             60022 STATE LINE RD                                                                               SMITHVILLE       MS    38870‐9426
SUMERFORD UTMA MS
MARILYN SUMERFORD CUST DAVID BENSON               60022 STATE LINE RD                                                                               SMITHVILLE       MS    38870‐9426
SUMERFORD UTMA MS
MARILYN SUSAN HOBAN                               127 BUNTING DR                                                                                    WILMINGTON       DE    19808‐1969
MARILYN T KENNINGTON                              5612 LONGVILLE POST ROAD                                                                          HEATH SPRINGS    SC    29058‐8638
MARILYN T LABRIE                                  4621 FIVE LAKES RD                                                                                NORTH BRANCH     MI    48461‐8913
MARILYN T LANEY TR MARILYN T LANEY TRUST UA       254 SALEM AVE                                                                                     PALM HARBOR      FL    34684‐1450
06/21/88 MARILYN T LANEY
MARILYN T LENY                                    307 WALNUT ST                                                                                     SHIRLEY          IN    47384
MARILYN T MC DONALD                               ATTN MARILYN JEANNE TURNER               2511 METAIRIE LAWN DR   APT 11‐112                       METAIRIE         LA    70002
MARILYN T SPAK                                    1492 LONG POINT RD                                                                                PASADENA         MD    21122‐5910
MARILYN T VAN LARE                                48 WISNER ROAD                                                                                    ROCHESTER        NY    14622‐1162
MARILYN TARSHIS                                   8357 NW 14TH COURT                                                                                CORAL SPRINGS    FL    33071
MARILYN THOMPSON                                  519 W SECOND AVENUE                                                                               LENOIR CITY      TN    37771‐2313
MARILYN THOMPSON                                  172 FLOSS AVE                                                                                     BUFFALO          NY    14215‐3910
MARILYN TOBEY LEISH                               7 RANDY RD                                                                                        FRAMINGHAM       MA    01701‐4529
MARILYN TOLER                                     BOX 2470                                                                                          BURNEY           CA    96013‐2470
MARILYN TRAVER                                    4 LIME TREE DR                                                                                    MANORVILLE       NY    11949‐3116
MARILYN TRELENBERG TR TRELENBERG FAM TRUST UA     PO BOX 1101                                                                                       MINDEN           NV    89423‐1101
07/17/92
MARILYN V BARRIE                                  237 COUNTY RTE 14                                                                                 FULTON           NY    13069‐4337
MARILYN V GEHRIG                                  6852 COVINGTON CREEK TRAIL                                                                        FORT WAYNE       IN    46804‐2872
MARILYN V JACOBSON                                1233 SOUTHFIELD PLACE                                                                             VIRGINIA BEACH   VA    23452‐4618
MARILYN V NOVOSEL TOD NICHOLAS I NOVOSEL          1601 CAMBRIDGE DRIVE                                                                              SANFORD          NC    27330‐8685
SUBJECT TO STA TOD RULES
MARILYN V NUSS                                    BOX 505                                                                                           STRONGHURST      IL    61480‐0505
MARILYN V PIERCE                                  RFD 108 HIGH ST                                                                                   COTUIT           MA    02635
MARILYN VAN NOSTRAND TR MARILYN VAN NOSTRAND      8 BELMONT DR                                                                                      YORK             NE    68467‐2008
TRUST UA 10/31/90
MARILYN W BENNETT TR MARILYN W BENNETT LIVING     576 APACHE TRAIL                                                                                  CHATSWORTH       GA    30705‐6638
TRUST UA 10/18/95
MARILYN W FRIES                                   3577 DELHI OVERLOOK ST                                                                            ANN ARBOR        MI    48103‐9450
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MARILYN W LAUNSPACH TR UNDER THE                    4047 GROVE AVE                                                                                  WESTERN SPRINGS   IL    60558‐1057
DECLARATIONOF TRUST 10/29/92
MARILYN W LOBERT                                    3907 SHEPARD ROAD                                                                               GIBSONIA          PA    15044‐9408
MARILYN W YOUNG                                     1000 NEW CUT ROAD                                                                               SPRINGFIELD       TN    37172
MARILYN WALKER                                      8801 S OAK RD                                                                                   GRAYLING          MI    49738‐7386
MARILYN WALZ TAYLOR                                 3510 N QUEBEC ST                                                                                ARLINGTON         VA    22207‐4438
MARILYN WARBACH                                     979 SINCLAIR AVE                                                                                STATEN ISLAND     NY    10309‐2230
MARILYN WEHLER LEUER                                434 S EDGELAWN DR                                                                               AURORA            IL    60506‐5253
MARILYN WIGHT                                       4441 LAKESIDE DR                                                                                BEMUS POINT       NY    14712‐9644
MARILYN WOCHER                                      133 ROCKFORD DR                                                                                 HAMILTON          OH    45013‐2221
MARILYN WOLF                                        4056 HAINES ST                                                                                  SAN DIEGO         CA    92109‐5310
MARILYN Y HANNAH                                    2473 E HILDY LANE                                                                               PALM SPRINGS      CA    92262
MARILYN Y HENDRIX                                   380 HARDING PL                         APT Y8                                                   NASHVILLE         TN    37211‐3938
MARILYN Y RASGORSHEK                                12770 W ROOSEVELT AVE                                                                           NAMPA             ID    83686‐8002
MARILYN Y WOODRUFF                                  675 WEST HANNA ST                                                                               WOLFE CITY        TX    75496‐3367
MARILYN Z GREENE                                    715 S VINE                                                                                      HINSDALE          IL    60521‐4457
MARILYN ZANELLI                                     525 ELWOOD RD                                                                                   EAST NORTHPORT    NY    11731‐4806
MARILYN ZELTT                                       1303 MOON DR                                                                                    YARDLEY           PA    19067‐3228
MARILYN ZIMMER                                      1589 ROCHELLE LA                                                                                OVIEDO            FL    32765‐6524
MARILYNN A MILES & LORETTA M MILES JT TEN           9611 ROYAL CALCUTTA PL                                                                          BRADENTON         FL    34202‐6007
MARILYNN B MC CAULLEY & HUGH E MC CAULLEY TEN       150 3RD ST                                                                                      DERRY             PA    15627
ENT
MARILYNN C FREDERIKSEN & JAMES W FREDERIKSEN JT     2002 DEVON AVE                                                                                  PARK RIDGE        IL    60068‐4306
TEN
MARILYNN E BECK                                     2922 ALGONGUIN                                                                                  TOLEDO            OH    43606‐3747
MARILYNN E CHISMAR & JEROME P CHISMAR & MARY        PO BOX 653                                                                                      BELLAIRE          MI    49653
JO VERNON JT TEN
MARILYNN E HARLICK & CLIFFORD A HARLICK JR JT TEN   5701 SW 57TH COURT                                                                              OCALA             FL    34474‐7695

MARILYNN F MANUEL                                   163 GIBBON ST                          OSHAWA ON                              L1J 4Y1 CANADA
MARILYNN G GENAW TR MARILYNN GRACE GENAW            2240 MICHIGAN STREET                                                                            ALGONAC           MI    48001‐1168
TRUST UA 11/30/00
MARILYNN I CARTER                                   8114 CORNUMNA RD                                                                                FLINT             MI    48532‐5500
MARILYNN K PEARCE                                   66 LOMBARDI RD                                                                                  PEARL RIVER       NY    10965‐1314
MARILYNN K VAUGHN‐BRAKE                             8190 KENSINGTON BLVD #89‐756                                                                    DAVISON           MI    48423‐3153
MARILYNN L KORN                                     5376 LIPPINCOTT BLVD                                                                            BURTON            MI    48519‐1252
MARILYNN L REITER & NICHOLAS A REITER JT TEN        109 NE EDGEWATER DR                                                                             LEEE'S SUMMIT     MO    64064‐1533
MARILYNN LEPLEY                                     3 OAK CIRCLE                                                                                    HICKORY CREEK     TX    75065‐2923
MARILYNN MARSHALL                                   1709 LAKEWOOD                                                                                   TROY              MI    48083‐5534
MARILYNN P HEITMAN & JAMES M HEITMAN JT TEN         15 ROSSINI RD                                                                                   LONDONDERRY       NH    03053‐3169

MARILYNN ROBINSON                                   1360 LAKEVIEW CT                                                                                PONTIAC           MI    48340‐2171
MARILYNN T GOBER                                    126 CHERRYLAUREL DR                                                                             COVINGTON         LA    70433‐4706
MARILYNN VANDRO                                     29607 PINTO DRIVE                                                                               WARREN            MI    48093‐8607
MARILYNNE CARRUTH                                   219 CROWN POINT DRIVE                                                                           COPPELL           TX    75019‐3630
MARILYNNE K TREADAWAY & LORY L TREADAWAY JT         221 SUNRIDGE ST                                                                                 PLAYA DEL REY     CA    90293‐7749
TEN
MARILYNNN P PARKER TOD SUSAN J GOETZ                3231 NORTH WEST 23RD AVE                                                                        CAMAS             WA    98607‐8097
MARIN G UHODA                                       14504 ORCHARD PARK                                                                              CLEVELAND         OH    44111‐2117
MARINA D CROWLEY                                    612 MIDVALE RD                                                                                  VESTAL            NY    13850‐3820
MARINA I ARIATHURAI                                 PO BOX 543                                                                                      LAFAYETTE         CA    94549‐0543
MARINA LAMONICA FALLS                               1136 CO RD 524                                                                                  VERBENA           AL    36091‐4302
MARINA R FRANCO                                     78 CUMBERLAND ST                                                                                SAN FRANCISCO     CA    94110‐1525
MARINA V SAGISI CUST ARLINE V SAGISI UTMA NJ        157 ISLAND VIEW ROAD                                                                            ANNAPOLIS         MD    21401‐7225
MARINE MIDLAND INC CUST LEWIS P GUSHUE IRA UA       18 ECKHERT ST                                                                                   BUFFALO           NY    14207‐1106
01/31/96
MARINEL L MARHOFER & PETER J MARHOFER JT TEN        8074 KRUPP ROAD                                                                                 BELDING           MI    48809‐9530
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MARINO A PARASCENZO & MRS LEONA C PARASCENZO 142 STAMM HOLLOW RD                                                                               ELLWOOD CITY    PA    16117‐5626
JT TEN
MARINO A PULITI CUST BRIAN J PULITI UGMA PA      2607 SUNSET DR                                                                                BROOMALL        PA    19008‐1905
MARINO GRAZIANI                                  1409E PERKINS AVENUE                                                                          SANDUSKY        OH    44870‐5125
MARINUS ENGELS                                   J LUCAS KAMP 43                      7491 NH DELDEN                         NETHERLANDS
MARIO A ALBERTELLI                               86 FAIRCREST ROAD                                                                             ROCHESTER       NY    14623‐4143
MARIO A BARCENAS                                 532 W GRAND BLVD                                                                              DETROIT         MI    48216‐1439
MARIO A CANESTRARO                               24994 DORIS CT                                                                                REDFORD TWP     MI    48239‐1627
MARIO A CULTRARA                                 256 COMMONWEALTH AVE                                                                          BUFFALO         NY    14216‐1810
MARIO A GUTIERREZ                                641 RYE AVE                                                                                   LA HABRA        CA    90631‐6736
MARIO A LACERNA TR MARIO A LACERNA TRUST         10 ROSEBAY LANE                                                                               ASHEVILLE       NC    28803‐2490
04/25/98
MARIO A LUCCHESI                                 1601 EASTSIDE WAY                                                                             PETALUMA        CA    94954‐3612
MARIO A LUCCHESI & FLORA G LUCCHESI JT TEN       1601 EASTSIDE WAY                                                                             PETALUMA        CA    94954‐3612
MARIO A MARINO JR                                729 HIGH PLAIN DRIVE                                                                          BELAIR          MD    21014‐5248
MARIO A RODRIGUEZ                                13360 SW 91TH TER APT A                                                                       MIAMI           FL    33186‐1677
MARIO A SCARTOZZI & MRS WINIFRED L SCARTOZZI TEN 1334 SUGARTOWN RD                                                                             BERWYN          PA    19312‐1819
ENT
MARIO A SOLLA                                    141 PINE STREET                                                                               POMPTON LAKES   NJ    07442‐1538
MARIO A TESTA                                    28030 KALMIA AVE                                                                              MORENO VALLEY   CA    92555‐5215
MARIO A VALERIANI                                2563 COLLIER RD                                                                               MANASQUAN       NJ    08736‐2209
MARIO AMMONS                                     120 BEACH ANN DR                                                                              TROY            MO    63379‐2906
MARIO AYALA                                      2541 S WHIPPLE ST                                                                             CHICAGO         IL    60623‐4139
MARIO B KENNEDY                                  2727 WOODLAND                                                                                 ROYAL OAK       MI    48073‐4619
MARIO B POLICANO                                 313 W KALAMA                                                                                  MADISON HGHTS   MI    48071‐3949
MARIO BELL                                       19161 BRETTON DRIVE                                                                           DETROIT         MI    48223‐1337
MARIO BERTORELLI & CLEMENTINA BERTORELLI JT TEN 62 HELENA AVE                                                                                  YONKERS         NY    10710‐3027

MARIO BIAGINI & MRS LALLA BIAGINI JT TEN          11 CREST DR                                                                                  WHITE PLAINS    NY    10607‐2701
MARIO BUONTEMPO                                   133 DENMAN ROAD                                                                              CRANFORD        NJ    07016‐2932
MARIO C MARTINEZ                                  2608 PEBBLEBROOK STREET                                                                      ARLINGTON       TX    76014‐1035
MARIO C MARTINO                                   2023 MARSHALL ST                                                                             TARENTUM        PA    15084‐8431
MARIO C NUESTRO                                   12571 DESTINO ST                                                                             CERRITOS        CA    90703‐8304
MARIO C PICCHI TOD GERALD T MAGISTRI SUBJECT TO   47 ORCHARD ST                                                                                WESTFIELD       MA    01085‐3452
STA TOD RULES
MARIO C ZARATE                                    73454 FULTON ST                                                                              ARMADA          MI    48005‐3378
MARIO CARBONINI                                   VIA DELLA PACE 2                    PISOGNE BRESCIA                        25055 ITALY
MARIO CARON                                       245‐45E RUE OUEST                   QUEBEC CITY          PROVINCE OF QC    G1H 5J8 CANADA
MARIO CHARLES                                     1635 PASADENA                                                                                SAN ANTONIO     TX    78201‐4324
MARIO CHIRICHIELLO                                139 RACE STREET                                                                              ELIZABETH       NJ    07202‐3215
MARIO CIRICOLA                                    11955 HIAWATHA                                                                               UTICA           MI    48315‐1244
MARIO COLETTA                                     45 JANE ST                                                                                   PROVIDENCE      RI    02904
MARIO CORONA                                      1303 HIGHLAND PLACE CT                                                                       WENTZVILLE      MO    63385‐5534
MARIO D ADDEZIO                                   2354 HURDS CORNER RD                                                                         CARO            MI    48723‐9018
MARIO D BUGNONE                                   649 CENTRAL PARKWAY                                                                          WARREN          OH    44484‐4539
MARIO D ORIATTI                                   7701 W ARMITAGE AVE                                                                          ELMWOOD PARK    IL    60707‐3629
MARIO D ROSOLILLO                                 56BYRNESIDE AVE                                                                              WATERBURY       CT    06704‐2922
MARIO DAGENAIS                                    10 MANOIR APT 805                   LAVAL OC QC                            H7L 4N4 CANADA
MARIO DI FRANCESCO & BARBARA DI FRANCESCO JT      5617 REGENCY DR                                                                              PARMA           OH    44129‐5909
TEN
MARIO DI PONIO                                    3434 WINTERS CT                                                                              WARREN          MI    48092‐3313
MARIO DI SALLE                                    PO BOX 3581                                                                                  BOARDMAN        OH    44513‐3581
MARIO DILUCCIA & GINA R DILUCCIA JT TEN           31 SINDLE AVE                                                                                LITTLE FALLS    NJ    07424‐1618
MARIO DZOLIC                                      1246 ADDISON RD                                                                              CLEVELAND       OH    44103‐1976
MARIO E SAAVEDRA                                  57803 GREY FOX GLN                                                                           WASHINGTON      MI    48094‐3587
MARIO ESTRADA                                     2408 BURNSIDE AVE                                                                            OREGON          OH    43616‐3804
MARIO F MORENO                                    10518 CALHOUN                                                                                CHICAGO         IL    60617‐6132
MARIO F MORENO & ROSA MARIA MORENO JT TEN         10518 S CALHOUN                                                                              CHICAGO         IL    60617‐6132
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MARIO F SARTORI & NINA S SARTORI TR UA 01/02/92    602 NORTHSIDE DR                                                                                WILMINGTON         DE    19809‐2828
MARIO F SARTORI TRUST
MARIO F VOLPONI & LOUISE J VOLPONI JT TEN          2608 LIBERTY WAY                                                                                MCKEESPORT         PA    15133‐2712
MARIO FABBRO                                       216 ANGLE ROAD                                                                                  WEST SENECA        NY    14224‐4308
MARIO G CAPPIELLO                                  4129 PARK AVE                                                                                   BROOKFIELD         IL    60513‐1907
MARIO GALLEGOS                                     1111COCKROFT DR                                                                                 SAN ANTONIO        TX    78251‐3289
MARIO GATTO                                        46713 MARINER DR                                                                                MACOMB             MI    48044‐5701
                                                                                                                                                   TOWNSHIP
MARIO GIANNOBILE                                   425 BROOKSIDE PL                                                                                CRANFORD           NJ    07016‐1634
MARIO GUTIERREZ                                    2482 W KALAMO HWY                                                                               CHARLOTTE          MI    48813
MARIO H TENERANI & LAURA G LANGHI JT TEN           365 NW 85 COURT APT 7                                                                           MIAMI              FL    33126‐3826
MARIO H VALDEZ                                     925 18TH AVE #7                                                                                 FT LAUDERDALE      FL    33304‐3078
MARIO HENRY                                        48620 GOLDEN OAKS LN                                                                            SHELBY TOWNSHIP    MI    48317‐2614

MARIO HERNANDEZ                                    2023 MODOC ROAD                                                                                 SANTA BARBARA      CA    93101‐3921
MARIO HORIUCHI                                     5230 WHITNEY AVE                                                                                CARMICHAEL         CA    95608‐3072
MARIO I CHAVEZ                                     11967 ELLERY ST                                                                                 SAN JOSE           CA    95127‐1415
MARIO I FEITO                                      414 S BROAD ST                                                                                  ELIZABETH          NJ    07206
MARIO IACOBONI                                     1438 BARLOW RD                                                                                  HUDSON             OH    44236‐3717
MARIO J CHIARANI                                   892 YELLOW PINE RD                     PO BOX 847                                               BAILEY             CO    80421‐0847
MARIO J DANIELS                                    PO BOX 1182                                                                                     FLINT              MI    48501‐1182
MARIO J GONZALEZ                                   1167 W DOWNEY ST                                                                                FLINT              MI    48505‐1403
MARIO J PASQUALOTTO                                128 59TH ST                                                                                     NIAGARA FALLS      NY    14304‐3812
MARIO J PED0TO                                     52 ATKINS TERRACE                                                                               EAST RUTHERFORD    NJ    07073‐1102

MARIO J VITTORIA & ANGELINA VITTORIA JT TEN        1290 E MAIN ST APT 15                                                                           SHRUB OAK          NY    10588‐1426
MARIO JIMENEZ                                      505 THE CROSSING CT                                                                             MCKINNEY           TX    75069‐1021
MARIO L DA'ROS & DORRIS S DA'ROS TEN ENT           7 E LOCUST ST                                                                                   OXFORD             PA    19363
MARIO L DE SOUZA & CHRISTINE L DE SOUZA JT TEN     212 S BROADWAY                                                                                  NEW ULM            MN    56073‐3117

MARIO L MOLINARI                                   5118 CALLA AVENUE                                                                               WARREN             OH    44483‐1220
MARIO L SANCHEZ                                    7630 W 30TH LN                                                                                  HIALEAH            FL    33018‐3825
MARIO M ALBANESE & PATRICIA J ALBANESE JT TEN      35 S MAIN ST                                                                                    GLOVERSVILLE       NY    12078‐3809

MARIO M ALBANESE & PATRICIA J ALBANESE JT TEN      181 S KINGSBORO AVE                                                                             GLOVERSVILLE       NY    12078‐4616

MARIO M KNEZEVIC                                   3853 SILSBY CT                                                                                  AVON               OH    44011‐3476
MARIO M SANDOVAL                                   10911 CHIMINEAS AVE                                                                             NORTHRIDGE         CA    91326‐2817
MARIO M TRAFELI JR                                 4986 MALIBU                                                                                     BLOOMFIELD HILLS   MI    48302‐2255

MARIO MACALUSO                                     232 HILTON AV                                                                                   MAPLEWOOD          NJ    07040‐3526
MARIO MAGNANI & FAYE MAGNANI JT TEN                3 NORTH ST                                                                                      EAST               MA    01028‐1930
                                                                                                                                                   LONGMEADOW
MARIO MALETTA                                      14 ILLINOIS AVE                                                                                 BRISTOL            CT    06010‐2820
MARIO MEDINA                                       4854 EVA ST                                                                                     SAGINAW            MI    48601‐6919
MARIO MELILLO                                      17145 SAN MATEO ST                     APT C                                                    FOUNTAIN VLY       CA    92708‐3687
MARIO MIRALLES                                     9639 BRUNSWICK DR                                                                               BRENTWOOD          TN    37027‐8464
MARIO MONTALVO                                     1924 NEW YORK AVE                                                                               LANSING            MI    48906‐4656
MARIO MONTI                                        28736 COLERIDGE ST                                                                              HARRISON TWP       MI    48045‐2264
MARIO MOSCA & CLARA MOSCA JT TEN                   3321 LOWELL DRIVE                                                                               COLUMBUS           OH    43204‐1484
MARIO N RAFE                                       1423 PATRIOT WAY                                                                                BOURBONNAIS        IL    60914
MARIO N RODRIGUEZ                                  2515 GRIER AVE                                                                                  LINDEN             NJ    07036‐1332
MARIO NARDINI & EDA NARDINI JT TEN                 6527 CORTLAND AVE                                                                               ALLEN PARK         MI    48101‐2309
MARIO ORTIZ                                        314 CAMPO DR                                                                                    GRAND PRAIRIE      TX    75051‐4906
MARIO P VARRASI                                    6216 SE AMES WAY                                                                                HOBE SOUND         FL    33455‐7365
MARIO PASTORE                                      14 ORCHARD ST                                                                                   MOUNT VERNON       NY    10552‐1612
MARIO PEREZ                                        41170 STONE HAVEN ROAD                                                                          NORTHVILLE         MI    48168‐2387
MARIO PETER SORRENTI                               172 WILLIAM STREET                                                                              STONEHAM           MA    02180‐3517
MARIO PETRUZZO                                     7809 WHIMBREL LN                                                                                FUQUAY VARINA      NC    27526‐5416
                                                09-50026-mg             Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                             Address2             Address3          Address4          City            State Zip

MARIO PONZIO                                     6 SHIRLEY TERRACE                                                                              KINNELON        NJ    07405‐2865
MARIO PRAINO                                     1964 SOUTH RD                         UNIT 101                                                 POUGHKEEPSIE    NY    12601‐6054
MARIO PRUEFER                                    LILLI‐HENOCH‐STR 19                   10405 BERLIN                           GERMANY
MARIO R DELACRUZ                                 PO BOX 40423                                                                                   EVERMAN         TX    76140‐0423
MARIO R GUZMAN                                   7872 SW 167TH PL                                                                               BEAVERTON       OR    97007‐6511
MARIO R JIMENEZ                                  3321 MT MCKINLEY                                                                               SAN JOSE        CA    95127‐4808
MARIO R MASUCCI JR & ZINA I MASUCCI JT TEN       PO BOX 14                                                                                      MOUNT LAUREL    NJ    08054
MARIO R QUIROZ                                   3157 CLINTON PL                                                                                ROUND ROCK      TX    78664‐4011
MARIO R RUSSO                                    54 OKE RD                             COURTICE ON                            L1E 2V1 CANADA
MARIO ROCCA & ANNA ROCCA JT TEN                  2011 E 28TH ST                                                                                 BROOKLYN        NY    11229‐5047
MARIO RODRIQUEZ                                  1500 S CLINTON ST                                                                              DEFIANCE        OH    43512
MARIO S BARROS                                   127 CHASE AVE                                                                                  YONKERS         NY    10703‐1913
MARIO S DE BELLA CUST JOYCE AMY DE BELLA UGMA NJ 29 HANCOCK PL                                                                                  ISELIN          NJ    08830‐1312

MARIO S DE LEON & MRS YVONNE I DE LEON JT TEN     10709 CARROLLWOOD DR                                                                          TAMPA           FL    33618‐4203

MARIO S DEBELLA                                   29 HANCOCK PL                                                                                 ISELN           NJ    08830‐1312
MARIO S FERREIRA                                  149 EASTMAN ST                                                                                CRANFORD        NJ    07016‐2177
MARIO SATTRO JUERGENS                             1709 LA COSTA MEADOWS                                                                         SAN MARCOS      CA    92078
MARIO SOTTILE & BETTY JO SOTTILE JT TEN           19147 TULSA ST                                                                                NORTHRIDGE      CA    91326‐2644
MARIO SOTTILE CUST COLE ROBERT SOTTILE UTMA CA    19147 TULSA ST                                                                                NORTHRIDGE      CA    91326‐2644

MARIO SPANGENBERG                                 91 MANSFIELD AVE                                                                              DARIEN          CT    06820
MARIO U MENDOZA                                   1530 SPRINGWELLS ST                  APT 5                                                    DETROIT         MI    48209‐1993
MARIO V ROMANO & ELLEN A ROMANO JT TEN            21 BYRON ROAD                                                                                 BRICK           NJ    08724
MARIO V ROMANO & ELLEN A ROMANO JT TEN            21 BYRON ROAD                                                                                 BRICK           NJ    08724
MARIO VAIASICCA & CARMELA VAIASICCA JT TEN        52300 BRIGGS CT                                                                               SHELBY TWSP     MI    48316‐3318
MARIO VAILLANCOURT                                403 CHEMIN GEORGES‐VALLIERES         SHERBROOKE QC                          J1R 0R1 CANADA
MARIO VALENTA                                     1417 SURREY POINT CIR SE                                                                      WARREN          OH    44484‐2865
MARION A ADAMS                                    1111 EUCLID AVE                                                                               CAMERON         MO    64429‐2005
MARION A BALES                                    16 CHURCH ST                                                                                  PARKHILLS       MO    63601
MARION A BUSH GRN GARRETT KAYLEN BUSH             36 LEDGE RD                                                                                   OLD SAYBROOK    CT    06475‐2106
MARION A CURTIS                                   8307 ALPENA WAY                                                                               LOUISVILLE      KY    40242‐2501
MARION A DAUGINTIS & MARY L ROSE JT TEN           311 ROSEHILL ROAD                                                                             JACKSON         MI    49202‐1724
MARION A DUDGEON                                  7852 ROSA DR                                                                                  INDIANAPOLIS    IN    46237‐8544
MARION A FLOWERS                                  24655 THICKET LN                                                                              CLEVELAND       OH    44138‐2351
MARION A JAKES TR MARION A JAKES REVOCABLE        4050 W MAPLE RD STE 104                                                                       BLOOMFIELD      MI    48301‐3118
TRUST UA 08/27/99
MARION A KELLER                                   1053 RDG AVE                                                                                  BOYERTOWN       PA    19512‐8853
MARION A KELLY                                    309 HARDIN ST                                                                                 ARKADELPHIA     AR    71923‐5119
MARION A LEVENGOOD & KIM W HOLDEN JT TEN          817 W BRIDGE ST                                                                               SPRING CITY     PA    19475‐1103
MARION A LIZOTTE                                  10105 MCWAIN RD                                                                               GRAND BLANC     MI    48439‐8321
MARION A MAHLMEISTER                              70 TERRACE AVE                                                                                FLORAL PARK     NY    11001‐2915
MARION A MC COY                                   306 CEDAR CREST DR                                                                            RIPLEY          WV    25271‐1604
MARION A MOSS                                     208 S CLARK AVENUE                                                                            TAMPA           FL    33609‐3806
MARION A RUSSELL                                  19435 COACHWOOD                                                                               RIVERVIEW       MI    48192‐7807
MARION A RUSSO                                    12 WALNUT ST APT 2                                                                            BROCKTON        MA    02301‐3441
MARION A SANDERS                                  395 SAN MARINO DR                                                                             SANTA BARBARA   CA    93111‐2615
MARION A SANDERS & BOBBIE B SANDERS JT TEN        395 SAN MARINO DR                                                                             SANTA BARBARA   CA    93111‐2615
MARION A SHIPMAN JR                               6451 PRAIRIE LAWN DRIVE                                                                       WATERFORD       MI    48329‐2972
MARION A SMITH ADIM EST EST HAROLD W SMITH        101 BAKOS BLVD                       APT 148                                                  BUFFALO         NY    14211‐2652

MARION A STELLER                                  1489 SOUTH GENEVIEVE STREET                                                                   BURTON          MI    48509‐2401
MARION A STOBBE TR UA 02/20/93 MARION A STOBBE    21800 MORLEY                         APT 308                                                  DEARBORN        MI    48124‐2340
LIVING TRUST
MARION ADAMS                                      4403 WESTCHESTER COURT                                                                        DECATUR         GA    30035‐4223
MARION AJEMIAN & ROSE NALBANDIAN JT TEN           35 HARVARD COURT                                                                              CRANSTON        RI    02920‐8007
MARION ALICE UNDERWOOD                            9665 W 21 AVE                                                                                 DENVER          CO    80215‐1625
MARION ALLISON                                    8148 ARLINGTON AVE                                                                            UPPER DARBY     PA    19082‐2711
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MARION AMELIA BUSH & DAVID ERNEST KAHL JT TEN   36 LEDGE RD                                                                                    OLD SAYBROOK     CT    06475‐2106

MARION ANDREWS                                 206 DUTCHTOWN RD                                                                                OWEGO            NY    13827‐5036
MARION ANN KELLY TR MARION ANN KELLY REVOCABLE 309 HARDIN STREET                                                                               ARKADELPHIA      AR    71923‐5119
TRUSTUA 05/07/99
MARION ANNE ROWE TOD PATRICIA L ROWE SUBJECT 1121 TERRELL DRIVE                                                                                AKRON            OH    44313
TO STA TOD RULES
MARION B ADDISON                               1250 RIDGEMORE DR                                                                               WATERFORD        MI    48328‐3969
MARION B CHASE EX EST DOROTHY C CARSON         908 WARREN AVE                                                                                  CARY             NC    27511
MARION B DICKS                                 6825 ORANGE LANE                                                                                FLINT            MI    48505‐1941
MARION B HAAS                                  1119 CHALLENGER                                                                                 AUSTIN           TX    78734‐3801
MARION B LICATA & SUSAN LICATA HAROUTUNIAN JT  46300 GAINSBOROUGH                                                                              CANTON           MI    48187‐1564
TEN
MARION B MCKEITHEN                             890 MACLAND RD UNIT B003                                                                        DALLAS           GA    30132‐5781
MARION B PATCH                                 840 CHURCHILL TER                                                                               HAMPTON          VA    23666
MARION BARRY MCKAY                             3021 DELAWARE ST                                                                                ANDERSON         IN    46016‐5233
MARION BAUER                                   39 FREEMONT LN                                                                                  CORAM            NY    11727‐3242
MARION BELL                                    1787 HICKORY BARK LN                                                                            BLOOMFIELD       MI    48304‐1166
MARION BENDIXEN                                920 EAST LAKE SUE AVE                                                                           WINTER PARK      FL    32789‐5904
MARION BERKHOLZ & DENNIS BERKHOLZ & DOREEN     16258 KINGSTON AVE                                                                              FRASER           MI    48026‐3266
SUDLOW JT TEN
MARION BERNICE SUTTON                          305 WEST COLEMAN AVE                                                                            PAMPLICO         SC    29583
MARION BLASZKIEWICZ                            41 CROSS CREEK BLVD                                                                             ROCHESTER        MI    48306‐4304
MARION BLEVINS                                 3980 LAKE PARK                                                                                  CHICAGO          IL    60653‐2555
MARION BOYD                                    427 NORTH BEACH BLVD                                                                            WAVELAND         MS    39576‐4200
MARION BOYLE & JOAN M BOYLE JT TEN             741 E BROAD ST                                                                                  TAMAQUA          PA    18252‐2208
MARION BROOKS CUST AIDAN JOEL BROOKS UTMA FL 5253 SANCERRE CIR                                                                                 LAKE WORTH       FL    33463

MARION BUTTERFIELD JULIEN                       41‐15 46TH ST APT 3B                                                                           SUNNYSIDE        NY    11104‐1805
MARION C BAILEY                                 46 SUNNYBROOK DR                                                                               ELKTON           MD    21921‐7820
MARION C BANISTER                               589 AUGUSTA DRIVE                                                                              MORAGA           CA    94556‐3004
MARION C BUBP                                   816 E NORTH ST                                                                                 PORTLAND         IN    47371‐1606
MARION C CELUSNIAK                              4201 LYNN TERRACE                                                                              FT WORTH         TX    76180‐7327
MARION C CLARK                                  717 S US HWY 1 # 605                                                                           JUPITER          FL    33477‐5908
MARION C DURHAM                                 5295 OXBOW RD                                                                                  STONE MOUNTAIN   GA    30087‐1222

MARION C HARRIS                                  PO BOX 81322                                                                                  ATLANTA          GA    30366‐1322
MARION C HENRICKS                                29 SOUTH ST                                                                                   CUBA             NY    14727‐1411
MARION C HILL                                    694 KINGS HIGHWAY                                                                             SALEM            NJ    08079‐4211
MARION C HOLST & GARY M HOLST & GREGG S HOLST JT 276 BALD ROCK ROAD                                                                            VERONA           VA    24482‐2825
TEN
MARION C HUGHES                                  5801 PARK DR                                                                                  TROY             MO    63379‐5029
MARION C KADING                                  4100 JACKSON AVE #15                                                                          AUSTIN           TX    78731
MARION C LABNON & RALPH LABNON EX UW DANIEL A 10 TWELFTH ST                                                                                    BERLIN           NH    03570‐3842
LABNON
MARION C LIEB                                    5 LOST CREEK FARMS                                                                            WARRENTON        MO    63383‐5128
MARION C MARKHAM                                 ATTN MARION C FOWLER                 3023 PERO DRIVE                                          LK HAVASU CTY    AZ    86404‐9619
MARION C MCCOY                                   2615 S INDIANAPOLIS RD                                                                        LEBANON          IN    46052‐9691
MARION C MELAGO                                  5136 WHITECAP ST                                                                              OXNARD           CA    93035‐1847
MARION C ROBBINS                                 3516 GLENBROOK ST                                                                             LANSING          MI    48911‐2107
MARION C ROBINSON                                8420 TINDALL RD                                                                               DAVISBURG        MI    48350‐1618
MARION C ROBINSON                                353 GUNNELL ROAD                                                                              DALLAS           GA    30157‐7698
MARION CANTY                                     62‐64 BEVERLY STREET                                                                          NEWARK           NJ    07108‐1038
MARION CARGILL                                   27232 NEW YORK AVENUE                                                                         INKSTER          MI    48141‐2528
MARION CARLIN                                    303 KIHAPAI ST                                                                                KAPAA            HI    96746‐1339
MARION CHAMPION                                  PO BOX 484                                                                                    OLIVET           MI    49076‐0484
MARION CHLOPEK                                   1932 S MAYFAIR                                                                                WESTCHESTER      IL    60154‐4220
MARION COHEN CUST DAVID SILBERMAN UTMA CA        2814 SAN CARLOS AVE                                                                           SAN CARLOS       CA    94070‐1760
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MARION D AMBROSE                                 132 CEDAR ST                                                                                  S BOUND BROOK   NJ    08880‐1348
MARION D AMBROSE & FRANK D AMBROSE JT TEN        132 CEDAR ST                                                                                  S BOUND BROOK   NJ    08880‐1348
MARION D COFER                                   8 FIRETHORN CIRCLE                                                                            RED BANK        NJ    07701
MARION D HOAGLAND                                BOX 153                                                                                       GRAND GORGE     NY    12434‐0153
MARION D JENNINGS                                BOX 446                                                                                       BALLSTON SPA    NY    12020‐0446
MARION D MORRISON                                7203 WINBURN DR                                                                               GREENWOOD       LA    71033‐3217
MARION D NAYLOR                                  24 INNER DR                                                                                   VIENNA          OH    44473
MARION D STUDEBAKER                              3614 W SIEBENTHALER AVE                                                                       DAYTON          OH    45406‐1536
MARION D WILSON                                  1509 EAST HINES STREET                                                                        MUNCIE          IN    47303‐3132
MARION DEWAYNE STUDEBAKER & MRS MARTHA E         3614 W SIEBENTHALER AVE                                                                       DAYTON          OH    45406‐1536
STUDEBAKER JT TEN
MARION DICKINSON OLDENBURG                       20 SEMINOLE DRIVE                                                                             PICAYUNE        MS    39466‐8857
MARION DONELAN MC PHERSON                        344 PLUMOSA AVE                                                                               VISTA           CA    92083‐8024
MARION E BAER                                    ATTN MARION E WHITE                  8406 LAKE ROAD                                           BARKER          NY    14012‐9608
MARION E BEARMORE                                785 SOUTH DR                                                                                  BRICK           NJ    08724‐4833
MARION E BELL                                    102 CAROLINE AVE                                                                              ELMHURST        IL    60126‐2904
MARION E BLACKWELL                               BOX 158                                                                                       SPRINGVALE      ME    04083‐0158
MARION E BOIK                                    31603 W CHICAGO                                                                               LIVONIA         MI    48150‐2828
MARION E DELOACH                                 8234 SE 169TH PALOWNIA LOOP                                                                   THE VILLAGES    FL    32162‐8381
MARION E DONNELLY                                5681 SW 56TH PL                                                                               OCALA           FL    34474‐7617
MARION E EFFENBECK & DONNA N EFFENBECK JT TEN    ROUTE 2 INDIAN HILLS                                                                          NORTH PLATTE    NE    69101‐9802

MARION E ERTEL                                   1717 YORKTOWN PL                                                                              PITTSBURGH      PA    15235‐4927
MARION E FINDLEY                                 769 MAGIE AVE                                                                                 FAIRFIELD       OH    45014‐1719
MARION E FRANCE                                  4591 SKELTON RD                                                                               COLUMBIAVILLE   MI    48421
MARION E GRAYSON                                 3308 MAE DR SW                                                                                WARREN          OH    44481‐9210
MARION E GREENFIELD TR MARION E GREENFIELD REV   585 E LAKE APT 42                                                                             SOUTH LYON      MI    48178‐1494
TRUST UA 06/28/00
MARION E HARPER                                  5100 HIGHBANK DR                                                                              ARLINGTON       TX    76018‐4922
MARION E HELTON                                  20665 COUNTY LINE ROAD                                                                        TUSTIN          MI    49688‐8110
MARION E JOHNSON                                 2301 BEAVER RUN                                                                               GARLAND         TX    75044‐7323
MARION E JONES                                   842 S 4TH STREET                                                                              SAGINAW         MI    48601‐2136
MARION E KAUFMAN & DONNA J KAUFMAN JT TEN        4854 SERENE SHORES DR                                                                         GAINESVILLE     GA    30504‐5242

MARION E KOCH & JOSEPH S KOCH JT TEN             5100 JOHN D RYAN BLVD 1410                                                                    SAN ANTONIO     TX    78245‐3505
MARION E LAPHAM CUST EMILY E LAPHAM UGMA MI      18868 WAKENDEN                                                                                REDFORD         MI    48240‐1843

MARION E LAPHAM CUST RUTHANN A LAPHAM UGMA       18868 WAKENDEN                                                                                REDFORD         MI    48240‐1843
MI
MARION E LELITO                                  7268 YORKTOWN LANE                                                                            UTICA           MI    48317‐4271
MARION E LYNDE                                   408 SAWYER ROAD                                                                               LANSING         MI    48911‐5606
MARION E MCCOLLISTER                             6349 ROBERTS DR                                                                               VICTOR          NY    14564‐9216
MARION E MILLER                                  456 N COURT ST                                                                                CIRCLEVILLE     OH    43113‐1223
MARION E PARNELL TR MARION E PARNELL TRUST UA    413 BRIDSON ST                                                                                FENTON          MI    48430‐1860
02/26/01
MARION E PRICE                                   6000 N BROAD ST                                                                               CAMDEN          SC    29020‐1946
MARION E SEDAM                                   3838 MANN RD                                                                                  INDIANAPOLIS    IN    46221‐2426
MARION E STONE                                   UNIT 47                              43 POMEWORTH ST                                          STONEHAM        MA    02180‐1282
MARION E STONE & JAMES S STONE JT TEN            3 HAYES RD                                                                                    SALEM           MA    01970‐4323
MARION E TEMPLIN & RHONDA S BARNES JT TEN        PO BOX 274                                                                                    KENNEDALE       TX    76060‐0274
MARION E WALKER                                  9021 S 250 W                                                                                  FLAT ROCK       IN    47234‐9771
MARION E WILKE TR HOWARD C WILKE RESIDUARY       715 WHITMAN ST                                                                                BELVIDERE       IL    61008‐3028
TRUST UA 08/22/96
MARION E WOOD                                    1665 JAMIE DR                                                                                 BELTON          TX    76513‐9475
MARION E YARGEE                                  108 BUTLER DR                                                                                 SHAWNEE         OK    74804‐9313
MARION EDNA KELLER                               34 MEYER ROAD                                                                                 EDISON          NJ    08817
MARION EDWARD BARNES                             7408 MOSELLE ROAD                                                                             ISLANDTON       SC    29929‐2902
MARION F CHARBONNEAU TR UA 04/28/97 MARION F     5872 DENISON DRIVE                                                                            VENICE          FL    34293
CHARBONNEAU TRUST
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Name                                            Address1                            Address2             Address3          Address4          City            State Zip

MARION F DOSS                                    21905 ROXBURY                                                                               NOVI            MI    48374‐3938
MARION F DUNN                                    P O BOX 336                        85 OLD BEACH ROAD                                        RYE BEACH       NH    03871‐0336
MARION F HARRIS                                  524 S PRINCE ST                                                                             WHITEWATER      WI    53190‐1752
MARION F HOWAY                                   2209 S 9 MILE RD                                                                            KAWKAWLIN       MI    48631‐9707
MARION F JOHNSON                                 2247 BERRYCREEK DRIVE                                                                       KETTERING       OH    45440‐2620
MARION F PEAKE                                   65 CLEMENTS RD                     AJAX ON                                L1S 1L3 CANADA
MARION F SCHORN                                  1018 SYMES CT                                                                               ROYAL OAK       MI    48067‐1510
MARION F STOVER                                  1384 WEST AVE                                                                               HILTON          NY    14468‐9172
MARION F SUMERTON                                30425 HENNEPIN                                                                              GARDEN CITY     MI    48135‐1428
MARION F SWEENEY                                 6327 BEACHY                                                                                 WICHITA         KS    67208‐2624
MARION F SYLVESTER JR                            7022 GRANDVIEW                                                                              INDIANAPOLIS    IN    46260‐3935
MARION F TWILLEY                                 26 RED BUD DR                                                                               BATESVILLE      AR    72501
MARION F WATKINS                                 715 LISBON LANE                                                                             LADY LAKE       FL    32159‐8713
MARION F WIZEVICH                                138 ROBIN HILL RD                                                                           MERIDEN         CT    06450‐2447
MARION FEATHERSON                                5823 HIGHLAND AVE                                                                           ST LOUIS        MO    63112‐3807
MARION FRANCIS IRVINE                            6013 E HOUGHTON LAKE DR                                                                     HOUGHTON LAKE   MI    48629
MARION FRANKEL                                   50 WAYNE ROAD                                                                               MILFORD         CT    06460‐3844
MARION G HENRY                                   641 GARFIELD AVE                                                                            MOUNT MORRIS    MI    48458‐1521
MARION G NELSON                                  PO BOX 2531                                                                                 PANAMA CITY     FL    32402‐2531
MARION G WILEY CUST ERICA A WILEY UGMA CT        16435 SE 94TH TER                                                                           SUMMERFIELD     FL    34491‐5863
MARION GAIGAL                                    943 N BARFIELD DR                                                                           MARCO ISLAND    FL    34145‐2338
MARION GALVAS & ROSE GALVAS JT TEN               3290 DREXEL                                                                                 FLINT           MI    48506‐1936
MARION GARROW                                    1519 W DOWNEY                                                                               FLINT           MI    48505‐1169
MARION GARY                                      3814 FOREST HILL AVENUE                                                                     FLINT           MI    48504‐3544
MARION GIESECKE                                  208 E NAVAHO                                                                                SHABBONA        IL    60550‐9777
MARION GRABER                                    PO BOX 102                                                                                  LONG LAKE       MI    48743‐0102
MARION H ABBOTT                                  3 KENSINGTON CT                                                                             WILMINGTON      DE    19804‐2955
MARION H BAMBACH                                 271 A OLD NASSAU RD                                                                         MONROE          NJ    08831
MARION H BARGO                                   20580 SUMMER                                                                                REDFORD         MI    48240
MARION H BUSH JR                                 2108 N BETHLEHEM                                                                            MARION          IN    46952‐8793
MARION H FREITAG                                 384MATTHEWS ST                                                                              BRISTOL         CT    06010‐0111
MARION H HUDSPETH & SHED HUDSPETH JT TEN         14 BELFAIR CT                                                                               HENDERSON       NV    89052‐6607
MARION H KENNA                                   78 STEWART AVE                                                                              KEARNY          NJ    07032‐1724
MARION H KNOWLES                                 3108 NEALWOOD AVE #651                                                                      ORLANDO         FL    32806‐6548
MARION H KUSHNER                                 549 HARTFORD ST                                                                             PERTH AMBOY     NJ    08861‐3516
MARION H LYONS                                   4271 STANLEY CT                                                                             WATERFORD       MI    48329‐4185
MARION H MERRILL                                 419 HICKORY LANE                                                                            SEAFORD         DE    19973‐2021
MARION HAMILTON GURNEE                           BUCKWHEAT BRIDGE RD HILL HOUSE     RD #3                                                    GERMANTOWN      NY    12526‐9803
MARION HAMMOND TR UA 02/16/1995 JOHN A           2889 SAN PASQUAL STREET                                                                     PASADENA        CA    91107
HAMMOND JR TRUST
MARION HOLLANDER                                 201 EAST 79TH ST                                                                            NEW YORK        NY    10021‐0830
MARION I DAVIS                                   15 N LLANWELLYN AVE                                                                         GLENOLDEN       PA    19036‐1323
MARION J BECKER                                  2 PECAN CIRCLE                                                                              LONG BEACH      MS    39560‐3830
MARION J BOWDEN                                  HC 83 BOX 50                                                                                RANELLE         WV    25962‐9601
MARION J BYRNE                                   2920 NE 13TH                                                                                PORTLAND        OR    97212‐3252
MARION J CURRY                                   932 CROCUS CRESCENT                WHITBY ON                              L1N 2A7 CANADA
MARION J FOUST                                   73 E LYTLE RD                                                                               DAYTON          OH    45459
MARION J GRAVENSLUND                             3500 S IRBY                                                                                 KENNEWICK       WA    99337‐2464
MARION J HARRIS                                  2200 BELMONT                                                                                DEARBORN        MI    48128‐1425
MARION J JANOWAK & MARK E JANOWAK JT TEN         3164 DORAL CT                                                                               ROCHESTER HLS   MI    48309‐1237
MARION J MARTEK                                  207 E WHITE ST                                                                              BAY CITY        MI    48706‐4677
MARION J MC GINN & JAMES R MC GINN TR UA 3/24/92 368 N WASHINGTON ST                                                                         HUBBARDSTON     MI    48845‐9309
MC GINN FAMILY TRUST
MARION J MCGINN & JAMES R MCGINN TR UA 03/24/92 368 N WASHINGTON ST                 PO BOX 232                                               HUBBARDSTON     MI    48845‐0232
MCGINN FAMILY TRUST
MARION J MOHR                                    203 N MAIN                                                                                  ORFORDVILLE     WI    53576‐9748
MARION J POMEROY                                 1 GLEN AVE NO 204                                                                           GLEN ROCK       NJ    07452‐1731
MARION J ROGERS                                  624 S GRIFFIN PARK DR                                                                       BURBANK         CA    91506‐3002
MARION J RYAN                                    325 WILKINSON ST APT 232                                                                    CHELSEA         MI    48118
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MARION J SENK                                    4418 BRADLEY BROWNLEE ROAD                                                                      CORTLAND           OH    44410‐9719
MARION J SENK & SHEILA R SENK JT TEN             4418 BRADLEY BROWNLEE RD                                                                        CORTLAND           OH    44410‐9719
MARION J SHIMEL                                  6809 DEEPWATER PT                                                                               WILLIAMSBURG       MI    49690‐9535
MARION J SHIMEL & LAURA R KUEMPLE JT TEN         6809 DEEP WATER PT                                                                              WILLIAMSBURG       MI    49690‐9535
MARION J SULLIVAN                                35 STARBUCK LANE                                                                                YARMOUTH           MA    02675‐2417
MARION J SURRETT                                 PO BOX 116                                                                                      ROMANCE            AR    72136‐0116
MARION J VARTY                                   BOX 593                                HAVELOCK ON                            K0L 1Z0 CANADA
MARION J VENTURA                                 620 DOROTHY DR                                                                                  BRUNSWICK          OH    44212‐2212
MARION J WILLIAMS                                2424 27TH AVE SOUTH                                                                             MINNEAPOLIS        MN    55406‐1308
MARION J WISNIEWSKI TOD ARLENE EDDY SUBJECT TO   7514 WESTMINISTER                                                                               WARREN             MI    48091‐4888
STA TOD RULES
MARION J WYSS                                    3221 DOE RUN TRAIL                                                                              FORT WAYNE         IN    46845‐9738
MARION JEANNINE GARROU                           400 MOUNTAIN VIEW AVE                                                                           VALDESE            NC    28690‐3323
MARION JEFF LLOYD                                457 HAYWOOD LN                                                                                  MOUNTAIN VIEW      AR    72560‐8959
MARION JELKS & CAROLYNE JELKS JT TEN             116 FAIRFIELD WAY                                                                               BLOOMINGDALE       IL    60108‐1538
MARION JOE BRAMMER & THYRA JOANN BRAMMER JT      1449 INCA DR                                                                                    INDEPENDENCE       MO    64056‐1234
TEN
MARION JOYCE GEGETSKAS                           66 EAST GRANBY ROAD                                                                             GRANBY             CT    06035‐2203
MARION JUNE ROSSETTI                             14 NORMAN PL                                                                                    TENAFLY            NJ    07670‐2522
MARION JUREWICZ                                  4678 CHADBOURNE DR                                                                              STERLING HEIGHTS   MI    48310‐5036

MARION K BEGOVICH & JOHN A BEGOVICH JT TEN        5401 HADLEY RD                                                                                 GOODRICH           MI    48438‐8914
MARION K DAVIS TR MARION K DAVIS REV LIVING TRUST 1907 OAKCREST DR                                                                               ALLISON PARK       PA    15101‐2851
UA 12/09/02
MARION K EDWARDS                                  705 S ALTON WAY UNIT 8D                                                                        DENVER             CO    80247‐1809
MARION K EDWARDS TR UA 03/07/2008 JOHN            705 S ALTON WAY 8D                                                                             DENVER             CO    80247
EHRENFELD EDWARDS FAMILY TRUST
MARION K HOWARD & PAUL D HOWARD JT TEN            640 N MAIN ST                         # 211                                                    RIVER FALLS        WI    54022‐1537
MARION K KENAGY                                   2469 M AVE                                                                                     CLARINDA           IA    51632
MARION K MROWKA                                   612 RIVERTON RD                                                                                RIVERTON           CT    06065‐1105
MARION K ORENDORFF                                5040 S 43RD ST                                                                                 GREENFIELD         WI    53220‐4812
MARION K P NAGY                                   778 COUNTY ROAD #519                                                                           FRENCHTOWN         NJ    08825‐3032
MARION K SHOCKLEY TR MARION K SHOCKLEY            250 MARION DR                                                                                  SEAFORD            DE    19973‐1834
REVOCABLE TRUST UA 04/12/99
MARION K SULLIVAN                                 206 PHAUFF CT                                                                                  CARY               NC    27513‐4217
MARION K SULLIVAN & JOHN P SULLIVAN JT TEN        206 PHAUFF CT                                                                                  CARY               NC    27513‐4217
MARION K TUCKER                                   5800 FREDERICK ROAD                                                                            DAYTON             OH    45414‐2927
MARION K TUCKER & JOAN E TUCKER JT TEN            5800 FREDERICK RD                                                                              DAYTON             OH    45414‐2927
MARION K WILCOXSON                                133 E GRAND BLVD                      APT 108                                                  DETROIT            MI    48207‐3774
MARION K WOOD & RICHARD LOWELL FAYAL JT TEN       9832 NORTH TINPVIEW DRIVE                                                                      EAGLE MOUNTAIN     UT    84005‐4166

MARION KAPPEL                                    4937 JEROME AVE                                                                                 SKOKIE             IL    60077‐3317
MARION KELLEY                                    626 E DAYTON ST                                                                                 FLINT              MI    48505‐4327
MARION KEMPER & MYRTLE KEMPER JT TEN             680 ESTESBURG RD                                                                                EUBANK             KY    42567
MARION KENDIG                                    123 JONES ST                                                                                    DAYTON             OH    45410‐1107
MARION KRCMARIK                                  7150 NEW LOTHROP RD                    PO BOX 54                                                NEW LOTHROP        MI    48460‐0054
MARION L BONE                                    5434 S M 106                                                                                    STOCKBRIDGE        MI    49285‐9446
MARION L BOWLING                                 156 MAY LANE                                                                                    ARNOLD             MO    63010‐3814
MARION L BROOKS                                  1444 HARBINS RIDGE RD                                                                           NORCROSS           GA    30093‐2234
MARION L CLEMENS                                 10129 LAPEER ROAD                                                                               DAVISON            MI    48423‐8171
MARION L EIDSMORE CUST THOMAS EIDSMORE UTMA      1700 GRANITE CREEK RD                                                                           SANTA CRUZ         CA    95065‐9735
CA
MARION L GILBERT                                 6239 FULKS RD                                                                                   BATES CITY         MO    64011‐8448
MARION L GONANO                                  2 SUTTON PLACE                                                                                  CRANFORD           NJ    07016‐2026
MARION L GROSSMAN                                410 W ROY STREET                       APT E401                                                 SEATTLE            WA    98119
MARION L HARRINGTON                              7533 W MOORESVILLE RD                                                                           CAMBY              IN    46113
MARION L HARROLD                                 1928 ADAMS ST                                                                                   GREENSBURG         PA    15601‐5561
MARION L ISRAELSON                               1017 CRANBERRY ST                                                                               ERIE               PA    16502‐1155
MARION L JONES                                   3900 MONTEIGNE DR                                                                               PENSACOLA          FL    32504‐4539
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MARION L KOHLER                                4020 RIVERSIDE DRIVE                                                                                      YOUNGSTOWN      OH    44511
MARION L LESNEWSKY                             79 MOUNTAIN TERRACE RD                                                                                    WEST HARTFORD   CT    06107‐1531
MARION L LICK                                  42 WANDLE AVE                                                                                             BEDFORD         OH    44146‐2654
MARION L PRZEKORA                              4181 KIRKWAY CT                                                                                           HOWELL          MI    48843‐5510
MARION L SEE                                   5830 E PECK RD                                                                                            CROSWELL        MI    48422‐9142
MARION L SHEWMAKER                             2054 ALGONAC DR                                                                                           FLINT           MI    48532‐4505
MARION L VANE                                  6 FOREST DRIVE R F D #1                                                                                   VOORHEESVILLE   NY    12186‐5205
MARION L VONLINSOWE TOD ARTHUR H VONLINSOWE    3010 MURRAY ST                                                                                            GRAND BLANC     MI    48439‐9386
II
MARION L VONLINSOWE TOD BRIAN L VONLINSOWE     3010 MURRAY ST                                                                                            GRAND BLANC     MI    48439‐9386

MARION L VONLINSOWE TOD KAREN M SKWIRSK        3010 MURRAY ST                                                                                            GRAND BLANC     MI    48439‐9386
MARION L VONLINSOWE TOD KURTIS M VONLINSOWE    3010 MURRAY ST                                                                                            GRAND BLANC     MI    48439‐9386

MARION L WHYTE                                 263 LINCOLN ST #2                                                                                         WATERBURY       CT    06710‐1550
MARION LEA TRAINING SCHOOL                     C/O DORIS A SANDERS LEARNING            CENTER                   1201 ENCHANTED DRIVE                     LAKELAND        FL    33801‐2984
MARION LEWIS                                   245 NYAC AVE                                                                                              PELHAM          NY    10803‐1907
MARION LEWIS BROWNING                          108 CHAPLINS MILL RD                                                                                      NAPLES          ME    04055‐3107
MARION LINDSTROM                               301 HENLEY WAY                                                                                            PEACHTREE CTY   GA    30269
MARION LORRAINE BASILIUS                       7433 CROSSCREEK DR                                                                                        SWARTZ CREEK    MI    48473‐1494
MARION LOWE                                    325 N HILLSIDE TERR                                                                                       MADISON         WI    53705‐3328
MARION LUKE NAEGLE & P W NAEGLE TR UA NAEGLE   32700 JOHNSON CANYON RD                                                                                   GONZALES        CA    93926‐9408
FAMILY TRUST 04/18/90
MARION M ADAMS                                 C/O MARION M LABUHN                     9021 SE LA CREEK COURT                                            HOBE SOUND      FL    33455
MARION M DUSLAK                                2259 BRIAR LANE                                                                                           TEMPERANCE      MI    48182‐1575
MARION M ELDRIDGE TR UA 11/05/07 MARION M      1886 LAKEWOOD BLVD                                                                                        MILLBURY        OH    43447
ELDRIDGE LIVING TRUST
MARION M GALANT                                7893 E HAMDEN CIRCLE                                                                                      DENVER          CO    80237‐1403
MARION M GIBSON                                BOX 344                                                                                                   AQUEBOGUE       NY    11931‐0344
MARION M GILLIES                               C/O MARION WILLOUGHLY                   106 LAUDER ROAD          OSHAWA ON              L1G 2H6 CANADA
MARION M GILLNER                               203 BUSHKILL ST                         PO BOX 427                                                        STOCKERTOWN    PA     18083‐0427
MARION M HAMM                                  5957 OLD SCOTTSVILLE RD                                                                                   ALVATON        KY     42122‐9713
MARION M HOOPER                                5380 N US HIGHWAY 129                                                                                     BELL           FL     32619‐4059
MARION M JAMROG                                634 NORTON RD                                                                                             BERLIN         CT     06037‐2930
MARION M KANE                                  CMR 415 BOX 4614                                                                                          APO            AE     09114‐4600
MARION M KOYEN                                 5134 FAIRLAWN RD                                                                                          CENTER VALLEY  PA     18034‐9611
MARION M MC GRATH                              88 MILES ST EXT                                                                                           MILLBURY       MA     01527‐3234
MARION M MILLIMAN & MISHAEL YONAN JT TEN       10149 GILFSIDE DRIVE                                                                                      GRAND BLANC    MI     48439‐8057
MARION M MORITZ                                8090 BARNSBURY ST                                                                                         COMMERCE TWP   MI     48382‐3504
MARION M PICKLE JR                             5204 PINNACLE LANE                                                                                        KNOXVILLE      TN     37914‐4330
MARION M SANDBROOK                             301 E MT HOPE                                                                                             LANSING        MI     48910‐9134
MARION M SCHRAM                                1754 HALL ST                                                                                              HOLT           MI     48842‐1710
MARION M SHEFFEY                               23050 MARLOW                                                                                              OAK PARK       MI     48237‐2417
MARION M STORMS                                1 IROQUOIS RD                                                                                             OSSINING       NY     10562‐3806
MARION MAE GIBSON LUNDBERG                     119 FORD DRIVE                                                                                            LA GRANGE      GA     30240‐8563
MARION MAIDA & STANLEY MAIDA JT TEN            8200 S DUNHAM                                                                                             DOWNERS GROVE IL      60516
MARION MARSHALL                                7674 KAYE DR                                                                                              FRANKLIN       OH     45005‐3822
MARION MARTIN                                  8 MUIRFIELD COURT                       RUNNYMEADE FARMS                                                  NEWTOWN SQUARE PA     19073‐3026

MARION MARTIN HALL                             4117 GREENBRIER DR                                                                                        DALLAS          TX    75225‐6636
MARION MCCOY CUST JEFF J MCCOY UTMA IN         2615 S INDIANAPOLIS RD                                                                                    LEBANON         IN    46052‐9691
MARION MCGILL                                  PO BOX 1607                                                                                               COLUMBIA        MD    21044‐0607
MARION MITCHELL                                154 TUNNEL HILL RD                                                                                        FACTORYVILLE    PA    18419‐2308
MARION MORICI                                  83‐80 118TH ST                                                                                            KEW GARDENS     NY    11415‐2444
MARION MORICI & BARBARA A BARKER JT TEN        83‐80 118TH ST APT 4J                                                                                     JAMAICA         NY    11415‐2413
MARION MORRIS TR REVOCABLE LIVING TRUST        2208 YORKTOWN                                                                                             ANN ARBOR       MI    48105‐1502
12/15/86 U‐A MARION MORRIS
MARION MUSHALLA                                5 HIGH ST                                                                                                 CARTERET        NJ    07008‐2506
MARION N GLAZA                                 2403 N YOCUM ROAD                                                                                         INDEPENDENCE    MO    64058‐3042
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MARION N HUDECK & MARION N HUDECK JT TEN           67162 32ND ST                                                                                                LAWTON             MI    49065‐8498
MARION N ROANE TOD CHRISTIE J WATKINS              C/O MICHAEL E SMOTHERS &              WARREN R WATKINS             4000 BRUSH CREEK BLVD                     KANSAS CITY        MO    64130‐2431
MARION N ROANE TOD MARION O WATKINS                C/O MICHAEL E SMOTHERS &              WARREN R WATKINS             4000 BRUSH CREEK BLVD                     KANSAS CITY        MO    64130‐2431
MARION N ROANE TOD RHONDA J BURRELL‐GREEN          C/O MICHAEL E SMOTHERS &              WARREN R WATKINS             4000 BRUSH CREEK BLVD                     KANSAS CITY        MO    64130‐2431

MARION N ROANE TOD SAMARIUM CURLEE                 C/O MICHAEL E SMOTHERS &              WARREN R WATKINS             4000 BRUSH CREEK BLVD                     KANSAS CITY        MO    64130‐2431
MARION N ROANE TOD TUMIKA J BONDS                  C/O MICHAEL E SMOTHERS &              WARREN R WATKINS             4000 BRUSH CREEK BLVD                     KANSAS CITY        MO    64130‐2431
MARION N ROANE TOD WARRENA R WATKINS               C/O MICHAEL E SMOTHERS &              WARREN R WATKINS             4000 BRUSH CREEK BLVD                     KANSAS CITY        MO    64130‐2431
MARION N SILBERT                                   4016 REMALEY RD                                                                                              MURRYSVILLE        PA    15668‐9524
MARION N SPRAGUE                                   10775 BYRON RD                                                                                               BYRON              MI    48418‐9124
MARION NELSON JR                                   4229 W CORNELL AVE                                                                                           FRESNO             CA    93722‐5153
MARION O BERGER                                    5325 AYERS RD                                                                                                EASTON             PA    18040‐6926
MARION O KRAMER                                    3344 PENNYROYAL RD                                                                                           FRANKLIN           OH    45005‐1013
MARION O PENNY                                     3018 HUNTS POINT CIR                                                                                         BELLEVUE           WA    98004‐1008
MARION O ROMAN                                     333 KIWI DR                                                                                                  BAREFOOT BAY       FL    32976‐6800
MARION P DOBBIN                                    400 AVINGER LN                        THE PINES AT DAVIDSON #415                                             DAVIDSON           NC    28036‐8894
MARION P FARNELL                                   2527 NE JENNI JO CT                                                                                          BEND               OR    97701‐6635
MARION P FAULMAN & JOHN W FAULMAN JT TEN           54621 KINGSLEY COURT                                                                                         SHELBY TWNSHP      MI    48316‐5601
MARION P GARDNER                                   829 BELLAIRE DRIVE                                                                                           BURLESON           TX    76028‐5201
MARION P HURREY                                    213 GROVE ST                                                                                                 RAMSEY             NJ    07446‐1312
MARION P JELKS                                     116 FAIRFIELD WAY                                                                                            BLOOMINGDALE       IL    60108‐1538
MARION P KNAPP CUST CLARK B KNAPP UGMA MI          17666 ALEXANDER RUN                                                                                          JUPITER            FL    33478‐4676

MARION P KNAPP CUST LEE ANN KNAPP UGMA MI          2404 W 86TH TERR                                                                                             LEAWOOD            KS    66206‐1520

MARION P RAUSCH                                    4279 EVERETT‐HULL RD                                                                                         CORTLAND           OH    44410‐9771
MARION PEEK                                        3333 BROADWAY                         APT E29J                                                               NEW YORK           NY    10031‐8719
MARION R HATFIELD & PATRICIA A HATFIELD JT TEN     1464 S SEYMOUR ROAD                                                                                          FLINT              MI    48532‐5513

MARION R HUMPHREY                                  225 FAIRVIEW SE                                                                                              NORTH CANTON       OH    44720‐3103
MARION R JOHNSON & ANN MARIE JOHNSON JT TEN        24419 HILL                                                                                                   WARREN             MI    48091

MARION R LAMBERTSEN                                RR2                                   1 CHESTER COURT                                                        TROY               NY    12182‐9718
MARION R VAUGHN                                    110 LYNCH DR                                                                                                 ALVORD             TX    76225‐5982
MARION REID COURSEN & JOHN WILLIAM COURSEN JT      PO BOX 867 HUYLER RD                                                                                         STONY BROOK        NY    11790‐0867
TEN
MARION ROBERTSON                                   3902 SENECA ST                                                                                               FLINT              MI    48504‐3705
MARION ROTARY FOUNDATION INC                       BOX 1091                                                                                                     MARION             OH    43301‐1091
MARION ROXBURGH                                    31 ALAMEDA AVE                                                                                               CUYAHOGA FALLS     OH    44221‐1503
MARION RUSTMAN                                     825 CONCORD LN                                                                                               HOFFMAN ESTATES    IL    60195‐1854

MARION RUTH CUST ANN A RUTH UGMA CA                5 OUTRIDER                                                                                                   ROLLING HILLS      CA    90274‐5200
MARION RUTH LOOMIS                                 2707 E BECKER RD                                                                                             CLINTON            WA    98236‐9003
MARION S ANDERSON                                  23778 HILLHURST DR                                                                                           LAGUNA NIGUEL      CA    92677‐2266
MARION S BAKER                                     1223 PALMETTO RD                                                                                             EUSTIS             FL    32726
MARION S DUTTON                                    10334 W WILLOWBROOK DR                                                                                       SUN CITY           AZ    85373‐1661
MARION S FALVEY                                    941 LAWNWOOD AVE                                                                                             DAYTON             OH    45429‐5543
MARION S FERSZT TR MARION S FERSZT LIVING TRUST    1724 TIMSON LN                                                                                               BLOOMFIELD HILLS   MI    48302‐2272
UA 10/31/95
MARION S JOHNSON                                   716 ELIZABETH AVE                                                                                            LAURELDALE         PA    19605‐2542
MARION S LOCKHART                                  40 NAUTICAL LN                                                                                               S YARMOUTH         MA    02664‐1673
MARION S LOKMER                                    130 DARTMOUTH                                                                                                CANFIELD           OH    44406‐1211
MARION S MARTIN                                    1170 PARKWAY                                                                                                 WATERFORD          MI    48328‐4348
MARION S MURNIN                                    385 GRASSLAND RD                                                                                             CROSSVILLE         TN    38572‐3168
MARION S PEACOCK                                   2261 COUNTY ROAD I                                                                                           SHULLSBURG         WI    53586‐9679
MARION S ROMAINE                                   27 BUSH AVE                                                                                                  NEWBURGH           NY    12550‐4324
MARION S VITAGLIANO                                51 AURORA LANE                                                                                               SALEM              MA    01970‐6803
MARION S VOGLER                                    107 BUCKINGHAM AVE                                                                                           TRENTON            NJ    08618‐3313
MARION S WIRTH                                     41 S VILLAGE EAST                                                                                            SOUTHWICK          MA    01077‐9252
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MARION SAUBY                                        50 POPLAR DR APT111                                                                              CARRINGTON        ND    58421
MARION SCULLY BARBEE                                2747 RAMSGATE COURT N W                                                                          ATLANTA           GA    30305‐2817
MARION SHORES & ROBERT K SHORE JT TEN               70 HOMER ST                                                                                      BINGHAMTON        NY    13903‐2319
MARION STIRRETT                                     4365 EXECUTIVE DR                       STE 1100                                                 SAN DIEGO         CA    92121‐2133
MARION STOKES                                       1669 ESTATES DR                                                                                  DETROIT           MI    48206‐2814
MARION SWEETMAN                                     1806 BELLEWOOD RD                                                                                WILM              DE    19803‐3941
MARION T FERNQUIST                                  1754 MAIN ST                                                                                     NEWINGTON         CT    06111‐3941
MARION T MCGEARY                                    807 MONTROSE DR                         UNIT 202                                                 VENICE            FL    34293‐4375
MARION T NOE CUST MARION T NOE III UGMA NC          1909 FRONT ST                                                                                    BEAUFORT          NC    28516‐9311
MARION T OTTILIE TR MARION T OTTILIE 1992           5639 ALBERT LANE                                                                                 CITRUS HEIGHTS    CA    95610‐7625
REVOCABLE TRUST UA 07/30/92
MARION T PEDRO                                      225 N 10TH ST                                                                                    ELWOOD            IN    46036‐1550
MARION T PILAT & GERALD PILAT & JUDITH A PILAT JT   17255 COMMON RD 210B                                                                             ROSEVILLE         MI    48066‐1958
TEN
MARION T ROSENFELD                                  APT 709                                 69‐60 108TH ST                                           FOREST HILLS      NY    11375‐4334
MARION T WRIGHT                                     15800 E STATE FAIR ST                                                                            DETROIT           MI    48205‐2011
MARION THAINE                                       91 NEWTON RD                                                                                     ROCHESTER         NY    14626‐2317
MARION TOLBIRT                                      280 E 42ND ST                                                                                    SAN BERNARDINO    CA    92404‐1319
MARION TROST DOHERTY                                2621 VIOLETA CIRCLE SE                                                                           RIO RANCHO        NM    87124‐2665
MARION URIG                                         1219 SW 31ST ST                                                                                  FORT LAUDERDALE   FL    33315‐2843

MARION V FAURE JR & MRS MARGARET R FAURE JT TEN 516 TOP NOTCH CIR                                                                                    POCATELLO         ID    83201‐5011

MARION V LEWOC                                      21 OAK ST                                                                                        MERIDEN           CT    06450
MARION V LICATA                                     8 TUSCARORA AVENUE                                                                               GENESEO           NY    14454
MARION V ROBINSON                                   5335 GROVER DR                                                                                   COLUMBIAVILLE     MI    48421‐8914
MARION VAN POPERING & BONNIE VAN POPERING JT        2612 BACK CREEK CHASE                                                                            DACULA            GA    30019‐6849
TEN
MARION W COLLINS JR & MRS ELIZABETH A COLLINS JT    14565 GARDNER RD                                                                                 GARDNER           KS    66030‐9317
TEN
MARION W CORFIS & NORMAN A CORFIS JT TEN            21700 WOODBURY                                                                                   CLINTON TWP      MI     48035‐1761
MARION W DICKINSON                                  1017 PERRIN DR                                                                                   ARABI            LA     70032
MARION W HURD                                       5400 WILTSHIRE RD                                                                                N ROYALTON       OH     44133‐6500
MARION W LENFESTEY BERNARD                          836 MAPLE LN                                                                                     WATERVILLE       OH     43566‐1124
MARION W MAYER                                      21518 TANGLEWOOD                                                                                 ST CLAIR SHORES  MI     48082‐1275
MARION W MILLER                                     PO BOX 75                                                                                        HARDYVILLE       VA     23070‐0075
MARION W TURPIN                                     PO BOX 111                                                                                       GENESEO          IL     61254‐0111
MARION WALDEN                                       10141 W CARPENTER ROAD                                                                           FLUSHING         MI     48433
MARION WALSH & DOUGLAS K WALSH JT TEN               40 53 61ST ST                                                                                    WOODSIDE         NY     11377‐4998
MARION WARD                                         694 GHOLSON AVE APT 13                                                                           CINCINNATI       OH     45229‐2325
MARION WITHERS & BARBARA K WITHERS JT TEN           2420 W 12TH ST                                                                                   ANDERSON         IN     46016‐3017
MARION Y RODGER                                     22505 GILL ROAD                                                                                  FARMINGTON HILLS MI     48335‐4037

MARION ZABINSKI & CHARLES J ZABINSKI JT TEN         22511 WILMOT                                                                                     E POINTE          MI    48021‐4019
MARIOT G MONTGOMERY                                 C/O MRS MARIOT G HUESSY                 PO BOX 96                                                JERICHO           VT    05465‐0096
MARIROSE NEIMAN                                     117 CARDINAL LN                                                                                  LAKE ARIEL        PA    18436‐4750
MARIRUTH FORKNER                                    3141 W STATE RD 28                                                                               TIPTON            IN    46072‐9102
MARIRUTH FORKNER                                    3141 WEST STATE RD 28                                                                            TIPTON            IN    46072
MARIS A FISHER                                      1628 EXECUTIVE DRIVE                                                                             KOKOMO            IN    46902‐3255
MARIS A P MC CULLOUGH CUST SARAH MARIS RYAN         7350 MIAMI HILLS DR                                                                              CINCINNATI        OH    45243‐1812
UTMA OH
MARISA BOLOGNESE                                    70 WOODGATE LANE                                                                                 MILLINGTON        NJ    07946‐1926
MARISA E PRATT                                      8817 WATERSIDE DR                                                                                INDIANAPOLIS      IN    46278‐1163
MARISA J JURCZAK                                    5987 ORION                                                                                       ROCHESTER         MI    48306‐2564
MARISA JEAN O'CONNOR                                2119 PHILLIPPI ST                                                                                SARASOTA          FL    34231‐4229
MARISA R JANUSZ & MARY L JANUSZ JT TEN              2012 KANE ST                                                                                     HOUSTON           TX    77007‐7613
MARISE L LORENZINI                                  3145 JACKSON ST                                                                                  SAN FRANCISCO     CA    94115‐1019
MARISE U LYCKA                                      13445 SHIPPY RD SW                                                                               FIFE LAKE         MI    49633‐8109
MARISELA V THERRIEN                                 523 W TWO RIVERS DR                                                                              EAGLE             ID    83616‐7121
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MARISSA JANELLA PEREZ                               1117 BELFORD AV                                                                               NICHOLS HILLS   OK    73116‐6202
MARISSA LAYNE KNAPICK                               11895 LAUREL RD                                                                               CHESTERLAND     OH    44026
MARISSA SEARING                                     19 DUCHARME LANE                                                                              NEW YORK        NY    11740‐1612
MARIT RIEGER                                        544 SE 58TH AVENUE                                                                            PORTLAND        OR    97215‐1824
MARITA J BOTTI TR MARITA J BOTTI REVOCABLE LIVING   6163 GREENVIEW                                                                                BURTON          MI    48509
TRUST UA 08/29/90
MARITA K DREWINSKI                                  4618 W CONTINENTAL                                                                            GLENDALE        AZ    85308‐3439
MARITA MACKEY                                       91 SHIRLEY DR                                                                                 CHARLESTOWN     RI    02813‐1430
MARITA S KROLL                                      325 EAST 57TH ST APT 10D                                                                      NEW YORK        NY    10022‐2941
MARITSA K LAHANAS                                   2324 W FAIRMONT STREET                                                                        ALLENTOWN       PA    18104
MARITZA B MEZO & ANDREW S MEZO JT TEN               200 E END AVE                                                                                 NEW YORK        NY    10128‐7831
MARITZA CHARLES                                     811 FONDREN DR                                                                                ARLINGTON       TX    76001‐7591
MARIUS H VAN GELDER                                 32 BAILEY ROAD                                                                                ANDOVER         CT    06232‐1005
MARJA DAWN SELNA                                    6284 FORESTER DRIVE                                                                           HUNTINGTON      CA    92648‐6611
                                                                                                                                                  BEACH
MARJARITO PEREZ SALINAS                             1886 SNOWDEN CT                                                                               ROCHESTER HLS   MI    48306‐2948
MARJEAN SCHNEIDER                                   1306 ENGLEWOOD                                                                                ROYAL OAK       MI    48073‐2877
MARJIE A CARPENTER                                  1563 STACY DR                                                                                 CANTON          MI    48188‐1455
MARJOLAINE R MARTEL                                 43 FOX RUN DRIVE                                                                              HARRISVILLE     RI    02830‐1048
MARJORIE A ADAMS                                    306 NO SECOND STREET                                                                          BALDWYN         MS    38824‐1505
MARJORIE A BARRY                                    454 MAIN ST                                                                                   HINGHAM         MA    02043
MARJORIE A BERLIN                                   7507 ELIZABETH COURT                                                                          SWARTZ CREEK    MI    48473‐1468
MARJORIE A BRENTLINGER                              803 W PEARL ST                                                                                WAPAKONETA      OH    45895‐1858
MARJORIE A BURNHAM                                  4158 KENDALE RD                                                                               COLUMBUS        OH    43220‐4136
MARJORIE A CARBER                                   402 FOULK RD APT 2C7                 BRANDYWINE HUNDRED   APTS                                WILLMINGTON     DE    19803
MARJORIE A CHRISTIAN                                6940 N COUNTY ROAD KK                                                                         MILTON          WI    53563‐9728
MARJORIE A CLARK & JOHN W CLARK JT TEN              5959 SUN N LAKE BLVD                 APT B414                                                 SEBRING         FL    33872‐2060
MARJORIE A COOKE & DEAN W COOKE JT TEN              3804 W BRISTOL AVE                                                                            STILLWATER      OK    74074‐1696
MARJORIE A COX                                      6141 E 42ND ST                                                                                INDPLS          IN    46226‐4911
MARJORIE A DAGEN                                    655 ALLENDALE RD                                                                              NEW BRIGHTON    PA    15066‐3685
MARJORIE A DEACON                                   140 OLD RTE 66                                                                                AVERILL PARK    NY    12018‐2318
MARJORIE A DUNKERTON                                685 REX BLVD N W                                                                              WARREN          OH    44483‐3131
MARJORIE A FADA                                     964 EHRHARDT PL                                                                               THE VILLAGES    FL    32162
MARJORIE A FISHER                                   22318 WEST 44TH TERRACE                                                                       SHAWNEE         KS    66226‐2510
MARJORIE A FRAME                                    40 EATON RD APT 203                                                                           PENNSVILLE      NJ    08070‐2978
MARJORIE A FRENCH                                   10 WALKER RD                                                                                  MANCHESTER      MA    01944‐1031
MARJORIE A FUHS & JOHN L FUHS JT TEN                412 HOUSTON RD                                                                                AMBLER          PA    19002
MARJORIE A GARRETT                                  4003 W 177TH ST                                                                               TORRANCE        CA    90504‐3626
MARJORIE A HALCROW                                  7078 WILLIAMS LAKE RD                                                                         WATERFORD       MI    48329‐2877
MARJORIE A HASS & PATRICIA A HASS JT TEN            9351 PARKVIEW CIRCLE                                                                          GRAND BLANC     MI    48439‐8058
MARJORIE A HAWLEY                                   171 MILNER AVENUE                                                                             ALBANY          NY    12208‐1447
MARJORIE A HOLGATE                                  310 BIRCHWOOD                                                                                 SOUTHBURY       CT    06488‐1378
MARJORIE A HUBBARD & JOHN L HUBBARD JT TEN          PO BOX 584                                                                                    OJAI            CA    93023

MARJORIE A JANICKI & MATTHEW Z JANICKI JT TEN       10 SMALLWOOD LN                                                                               NEW CASTLE      DE    19720‐2035

MARJORIE A KERNS                                    9493 WOODFORD RD                                                                              WOODFORD        VA    22580
MARJORIE A KETZ                                     15179 GAGE                                                                                    TAYLOR          MI    48180‐5192
MARJORIE A KIRSLIS CUST JAMES L KIRSLIS UTMA MI     3239 CHANSON VALLEY RD                                                                        LAMBERTVILLE    MI    48114

MARJORIE A KIRSLIS CUST SARAH A KIRSLIS UTMA MI     3239 CHANSON VALLEY RD                                                                        LAMBERTVILLE    MI    48144‐9760

MARJORIE A KNERR & PATRICIA A GILMER JT TEN     9177 N DORT HWY                                                                                   MOUNT MORRIS    MI    48458‐1218
MARJORIE A LARSEN                               4305 GLENMORE AVE                                                                                 BALTIMORE       MD    21206‐1920
MARJORIE A LUCAS                                10 ESSEX RD                                                                                       ESSEX FELLS     NJ    07021‐1104
MARJORIE A MABRY TR MARJORIE A MABRY REV LIVING 14215 NW LINMERE LANE                                                                             PORTLAND        OR    97229‐3662
TRUST UA 01/21/00
MARJORIE A MARTIN                               2309 N CALUMET                                                                                    KOKOMO          IN    46901‐1667
                                           09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                              Address2              Address3         Address4          City            State Zip

MARJORIE A MARTIN TR MARJORIE A MARTIN REV       3569 JASMINE DRIVE                                                                             SEVEN HILLS     OH    44131‐5135
TRUST UA 7/20/99
MARJORIE A MILLS                                 576 HIAWATHA DR                                                                                MT PLEASANT     MI    48858‐9097
MARJORIE A MORLEY TR UA 11/30/88 MARJORIE A      8919 S OUTER BELT RD                                                                           OAK GROVE       MO    64075‐9092
MORLEY
MARJORIE A NATHAN CUST DANIEL SCOTT NATHAN       PO BOX 622                                                                                     WASHINGTON      IN    47501‐0622
UGMA IN
MARJORIE A OPHARDT                               215 LAKE AVE                                                                                   HILTON          NY    14468‐1104
MARJORIE A PAGE & NANCY P MCLELLAN JT TEN        167 TIERNEY RD                                                                                 BAY CITY        MI    48708‐9194
MARJORIE A PAWLOWSKI                             8178 STONE CREEK RIDGE RD                                                                      HUNTINGDON      PA    16652
MARJORIE A PEECH                                 315 ITHACA RD                                                                                  ITHACA          NY    14850‐4817
MARJORIE A PETTITT                               ATTN MARJORIE A CAMP                  1625 LINDA SUE LANE                                      ENCINITAS       CA    92024‐2427
MARJORIE A PURSWELL                              12027 WALDEMAR                                                                                 HOUSTON         TX    77077‐4956
MARJORIE A RAIRIGH                               1614 COMFORT ST                                                                                LANSING         MI    48915‐1509
MARJORIE A RAYBURN                               5526 CORUNNA ROAD                                                                              FLINT           MI    48532‐5301
MARJORIE A ROACH                                 1221 HICKORY LANE                                                                              ZIONSVILLE      IN    46077‐1930
MARJORIE A ROGERS                                212 SPRING CREEK PLACE NE                                                                      ALBUQUERQUE     NM    87122‐2016
MARJORIE A ROGERS & STEVEN A ROGERS JT TEN       212 SPRING CREEK PLACE NE                                                                      ALBUQUERQUE     NM    87122‐2016
MARJORIE A RUF                                   20 NAPOLEON DR                                                                                 KETTERING       OH    45429‐1734
MARJORIE A RUGH                                  1302 GOLFSIDE DRIVE                                                                            WINTER PARK     FL    32792‐5134
MARJORIE A RUGH CUST JAMES W KELLY JR UGMA PA    1302 GOLFSIDE DRIVE                                                                            WINTER PARK     FL    32792‐5134

MARJORIE A SAMPSON & JAMES M SAMPSON JR TEN      47 SALEM DR                                                                                    PENNSVILLE      NJ    08070‐2530
COM
MARJORIE A SAYEN                                 145 FOAL DR                                                                                    ROSWELL         GA    30076‐3510
MARJORIE A SCHRUMM                               1010 SAMANTHA LN UNIT 404                                                                      ODENTON         MD    21113
MARJORIE A SCOTT                                 1809 W CARTER ST APT D36                                                                       KOKOMO          IN    46901‐5165
MARJORIE A SOPER                                 4465 ATLAS RD                                                                                  DAVISON         MI    48423‐8707
MARJORIE A STEVENSON                             5 SODOM RD                                                                                     CANAAN          CT    06018‐2217
MARJORIE A TINSLEY                               316 MCCABE ST                                                                                  EATON           OH    45320‐1840
MARJORIE A TOOHY                                 5516 OAKRIDGE DR                                                                               MIDLAND         MI    48640‐8105
MARJORIE A TOXEN                                 48 LAKEVIEW AVE W                                                                              CORTLANDT       NY    10567
                                                                                                                                                MANOR
MARJORIE A VERNI TR MARJORIE A VERNI LIVING TRUST 1112 LINDEN                                                                                   OAK PARK        IL    60302‐1243
UA 10/30/03
MARJORIE A VICKERS CUST KENNETH ALLAN VICKERS     86 EAST ROWLAND                                                                               MADISON HEIGHTS MI    48071‐4026
UGMA MI
MARJORIE A WALKER                                 6393 RIDDLE RD                                                                                LOCKPORT        NY    14094‐9329
MARJORIE A WILHELM                                17098 RD 168                                                                                  PAULDING        OH    45879‐9060
MARJORIE A WISSIUP                                10 W BROOKFIELD RD                                                                            NEW BRAINTREE   MA    01531‐1538
MARJORIE ANDERSEN CUST MARGRET ANDERSEN           2100 SURREY LANE                                                                              MCKINNEY        TX    75070‐7132
UGMA CA
MARJORIE ANN BEASLEY CUST ERIC CHARLES BEASLEY    5600 NATHAN WAY                                                                               BLOOMINGTON     IN    47408‐9002
UGMA IN
MARJORIE ANN BURTON                               PO BOX 11395                                                                                  MEMPHIS          TN   38111‐0395
MARJORIE ANN CHARETTE                             29 MIDDLESEX DR                                                                               ENFIELD          CT   06082‐5827
MARJORIE ANN FAULCONER                            6902 CRICKLEWOOD ROAD                                                                         INDIANAPOLIS     IN   46220‐4117
MARJORIE ANN KOTTLER                              6816 SAVANNAH LN                                                                              FORT WORTH       TX   76132‐3730
MARJORIE ANN LAZZAR                               1944 TURES LANE                                                                               DESPLAINES       IL   60018‐2012
MARJORIE ANN ROCKENBACH                           BOX 36                                                                                        MOUNT ST FRANCIS IN   47146‐0036

MARJORIE ANN SCHIFFMAN                           6005 BISHOPS PL                                                                                SAINT LOUIS     MO    63109‐3367
MARJORIE ANN ZAWISLAK                            2264 HERMITAGE DR                                                                              DAVISON         MI    48423‐2069
MARJORIE ANNE KITTRELL                           3356 HILLSBORO ROAD                                                                            NASHVILLE       TN    37215‐1562
MARJORIE ANNE LOWERY                             PO BOX 123                            5150 MAIN ST          ORONO ON         L0B 1M0 CANADA
MARJORIE ANNE TELLER ARNOLD                      2942 MARATHON                                                                                  ORLANDO         FL    32805‐5703
MARJORIE ARMENIO                                 23 CHARLOTTE TERR                                                                              WAYNE           NJ    07470‐3607
MARJORIE B BROMLEY TR MARJORIE B BROMLEY TRUST   2600 S FINLEY ROAD APT 3202                                                                    LOMBARD         IL    60148‐7010
UA 11/07/90
                                               09-50026-mg               Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                               Address2               Address3        Address4          City              State Zip

MARJORIE B ELMORE & H SANDRA MAYHEW JT TEN       1915 COURTYARD WAY #G102                                                                        NAPLES            FL    34112‐9341

MARJORIE B ELMORE & JUDITH J ANDERSON JT TEN     283 FOREST SOUND ROAD                                                                           HAMPSTEAD         NC    28443‐8261

MARJORIE B MATTOON & JUNIUS A MATTOON JT TEN     2702 N GRAFHILL DRIVE                                                                           MOBILE            AL    36606‐2335

MARJORIE B MILLER                                155 EAST TULIP DRIVE                                                                            INDIANAPOLIS      IN    46227‐2362
MARJORIE B SCOTT                                 465 GYPSY LN                           APT 412                                                  YOUNGSTOWN        OH    44504‐1365
MARJORIE B UPHAM                                 6 BOW CENTER RD                        APT 1‐217                                                BOW               NH    03304‐4231
MARJORIE B WILLIAMS & BENJAMIN WILLIAMS JT TEN   5270 TELFAIR PL                                                                                 JACKSON           MS    39206‐3137

MARJORIE BAKER                                   3103 SW 37TH ST                                                                                 DES MOINES        IA    50321
MARJORIE BARNETT RUDD                            301 SEACREST DR                        APT 101                                                  LARGO             FL    33771‐1901
MARJORIE BATTEN                                  128 W MARKET ST                                                                                 GERMANTOWN        OH    45327
MARJORIE BERG                                    1 RUBIN AVE                                                                                     BINGHAMTON        NY    13904‐1720
MARJORIE BREU                                    1064 STONRGATE CT                                                                               FLINT             MI    48532‐2173
MARJORIE C ACKROYD                               3720 GLENMONT DR                                                                                FT WORTH          TX    76133‐2954
MARJORIE C ALDERMAN                              400 CHINKAPIN TRAIL                                                                             LAPEER            MI    48446‐4176
MARJORIE C ANDERSON                              4503 N TALLGRASS LN                                                                             PEORIA            IL    61615
MARJORIE C BAKER                                 2156 TERRYLYNN AVE                                                                              DAYTON            OH    45439‐2740
MARJORIE C BARR                                  320 LUCKY HILL ROAD                                                                             WEST CHESTER      PA    19382‐2049
MARJORIE C CLEMETSEN                             557 COLLINGWOOD                                                                                 EAST LANSING      MI    48823‐3468
MARJORIE C HALE                                  15 WALLIS DR                                                                                    WENHAM            MA    01984‐1461
MARJORIE C JUDKINS & PATRICIA A GARNETT JT TEN   3305 ENCANTO DR                                                                                 ROSWELL           NM    88201

MARJORIE C KENSKA                               152 HILLCREST LN                                                                                 ELYRIA            OH    44035‐1636
MARJORIE C MAYER                                203 CHESTNUT RIDGE                                                                               SPARTA            TN    38583
MARJORIE C MOFFETT                              1108 BRIERCLIFF DR                                                                               ORLANDO           FL    32806‐1307
MARJORIE C NIEBER                               PO BOX 207                                                                                       CORNING           NY    14830‐0207
MARJORIE C RAY & KENNETH OLIVER & RICHARD ALAN 14707 NORTHVILLE RD APT 250                                                                       PLYMOUTH          MI    48170‐6068
JT TEN
MARJORIE C SCHAUT TR MARJORIE C SCHAUT TRUST UA 445 CHESTNUT ST                                                                                  ST MARY'S         PA    15857‐1711
03/19/98
MARJORIE C WICKS                                21 N STATE ST                           APT 210                                                  DOVER             DE    19901‐3861
MARJORIE C WILLIAMS                             20 BRAEBURN DRIVE                                                                                ST LOUIS          MO    63124‐1608
MARJORIE CATHERINE FOLEY TR U‐A WITH MARJORIE   103 VIA DUOMO                                                                                    NEW SMYRNA        FL    32169‐5108
CATHERINE FOLEY 4/11/73                                                                                                                          BEACH
MARJORIE CHASET                                 170 PERKINS ST                          APT 203                                                  OAKLAND           CA    94610‐3047
MARJORIE CLARKE BROWN                           600 MOUNT VIEW RD                                                                                BERWYN            PA    19312‐1422
MARJORIE COMPTON                                6491 W 16TH AVE                                                                                  HIALEAH           FL    33012‐6221
MARJORIE COOPER                                 1209 50TH 5                                                                                      W DES MOINES      IA    50266‐5498
MARJORIE D CLINGERMAN                           P O BOX 526                                                                                      JORDAN            NY    13080
MARJORIE D FREIMAN                              10 WOODWARD DRIVE                                                                                OYSTER BAY COVE   NY    11771‐4008
MARJORIE D GAGNER                               201 UNION AVE S E #128                                                                           RENTON            WA    98059‐5178
MARJORIE D GARDNER                              4386 NOTTINGHAM WAY                                                                              TRENTON           NJ    08690‐3826
MARJORIE D GOLDBERG CUST MALLORY A GOLDBERG     9 CLEVELAND TER                                                                                  WEST ORNAGE       NJ    07052‐1901
UTMA NJ
MARJORIE D HAMMON                               3182 EAST GATE STREET                                                                            BURTON            MI    48519‐1553
MARJORIE D LANCASTER                            3002 OAKLEIGH MANOR LN                                                                           GERMANTOWN        TN    38138‐8228
MARJORIE D MOERSCHNER                           177 FOREST AVE                                                                                   WEST NEWTON       MA    02465‐3011
MARJORIE D MOREAU                               C/O PRICE                               1443 ROYAL OAK ST SW                                     WYOMING           MI    49509‐2709
MARJORIE D RICHARDSON                           309 PLEASANT ST                                                                                  PETALUMA          CA    94952‐2648
MARJORIE D SYKES                                901 WEST SELDON LN                                                                               PHOENIX           AZ    85021
MARJORIE D WICZEN                               951 SR 534 SW                                                                                    NEWTON FALLS      OH    44444
MARJORIE DARDENNE                               104 MARSHSIDE DRIVE                                                                              SAINT AUGUSTINE   FL    32080‐5820
MARJORIE DETHLEFSEN                             712 AVE E                                                                                        BAYONNE           NJ    07002
MARJORIE DEWITT                                 2 COTTAGE                                                                                        ENGLEWOOD         OH    45322
MARJORIE DIBENEDETTO                            12991 SE 75TH ST                                                                                 MORRISTON         FL    32668‐5077
MARJORIE DOBRATZ                                7523 ZIRCON DR SW                                                                                LAKEWOOD          WA    98498‐5115
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Name                                             Address1                             Address2                    Address3   Address4          City              State Zip

MARJORIE DODGE & THOMAS D DODGE JT TEN          2550 PADUCAH                                                                                   FLINT             MI    48504‐7703
MARJORIE DROSTE TAKASAWA                        120 JOHNSARBOR DR W                                                                            ROCHESTER         NY    14620
MARJORIE E BEECHUM                              4343 3 MILE RD                                                                                 BAY CITY          MI    48706‐9205
MARJORIE E BLACKWOOD                            3026 54TH ST APT 340                                                                           LUBBOCK           TX    79413‐4239
MARJORIE E BUNKER TR MARJORIE E BUNKER TRUST UA 2357 SAPPHIRE LANE                                                                             EAST LANSING      MI    48823‐7263
11/14/89
MARJORIE E CARPENTER                            2317 NEWTON ST                                                                                 ORANGE            TX    77630‐7163
MARJORIE E CENIZA & BETTY CENIZA JT TEN         29201 GRANT                                                                                    ST CLAIR SHORES   MI    48081‐3214
MARJORIE E COLEMAN                              11260 SHARP                                                                                    LINDEN            MI    48451‐8919
MARJORIE E CROCKER‐HAMPTON                      6270 CREE CRT INDIAN HILLS                                                                     FLINT             MI    48506‐1173
MARJORIE E DARCY                                APT 34                                6856 EAST PORTLAND AVENUE                                TACOMA            WA    98404‐3410
MARJORIE E DRAKE                                16667 JERSEY COURT                                                                             LAKEVILLE         MN    55044‐8783
MARJORIE E DUDRA                                6826 VERNON                                                                                    DEARBORN HTS      MI    48127‐2228
MARJORIE E FULTON TR MARJORIE E FULTON LIVING   109 VIA LA CIRCULA                                                                             REDONDO BEACH     CA    90277‐6405
TRUST UA 1/5/00
MARJORIE E GRANZOW                              815 LUICKS LN N                       APT 13                                                   BELMOND           IA    50421‐7665
MARJORIE E HOHMAN                               1386 PECK SETTLEMENT RD                                                                        JAMESTOWN         NY    14701‐8912
MARJORIE E LAWHORN                              7058 W CARRIE DR                                                                               NEW PALESTINE     IN    46163‐9574
MARJORIE E LEVY                                 711 DANCY AVE                                                                                  SAVANNAH          GA    31419‐3005
MARJORIE E MEYER TR MARJORIE E MEYER REVOCABLE 1700 BRONSON WAY APT 211                                                                        KALAMAZOO         MI    49009‐1085
TRUSTUA 03/13/95
MARJORIE E MOLWAY TOD JAMES JOSEPH CORBOY       8020 EAST DRIVE 117                                                                            NORTH BAY VLG     FL    33141
SUBJECT TO STA TOD RULES
MARJORIE E MOORE TR LIVING TRUST 05/07/87 U‐A   APT 409                               45‐090 NAMOKU STREET                                     KANEOHE           HI    96744‐5316
MARJORIE E MOORE
MARJORIE E REMLAND                              8 BRIGHTWOOD ROAD                                                                              LINCOLN PARK      NJ    07035‐2103
MARJORIE E SCHUENEMAN                           3285 SQUIRE LN                                                                                 CONYERS           GA    30094‐3538
MARJORIE E SMITH                                5831 SANDY POINTE DRIVE                                                                        SARASOTA          FL    34233‐3515
MARJORIE E SMITH                                240 CRYSTAL LAKE                                                                               PONTIAC           MI    48341‐2407
MARJORIE E WARREN & RONALD C WARREN JT TEN      183 BEAVER SHORES DR                                                                           LACHINE           MI    49753‐9457

MARJORIE E WILSON                                4937 CAVE SPRING LANE                                                                         SW ROANOKE        VA    24018‐3315
MARJORIE E ZIEGLER                               3385 BEDWELL BAY ROAD                BELCARRA BC                            V3H 4S2 CANADA
MARJORIE ELLEN HELM                              7429 IRON ROCK RD                                                                             INDIANAPOLIS      IN    46236‐9308
MARJORIE ELLEN SCHLUCKBIER                       3105 S DYE RD                                                                                 FLINT             MI    48507‐1003
MARJORIE F GARDNER                               905 SAN CARLOS WAY                                                                            KISSIMMEE         FL    34758‐4006
MARJORIE F HABERMANN                             3622 GASS LAKE RD                                                                             MANITOWOC         WI    54220‐9388
MARJORIE F NEWMAN                                45291/2 HOLLISTER                                                                             SANTA BARBARA     CA    93110
MARJORIE F REAMES                                215 N DIVISION ST APT B                                                                       FLORA             IN    46929‐1075
MARJORIE F RIEGER & TIFFANY NELSON & ROCHELLE    1134 SERRANO                                                                                  COLTON            CA    92324‐1725
WILLIAM JT TEN
MARJORIE F YEATON                                85 SANDBORN HILL RD                                                                           EPSOM             NH    03234‐4708
MARJORIE FARLOW                                  9226 W 300 S                                                                                  RUSSIAVILLE       IN    46979‐9529
MARJORIE FINE SMOOT CUST MATTHEW BENJAMIN        18 HOLMES RD                                                                                  LEXINGTON         MA    02420‐1917
SMOOT UTMA MA
MARJORIE FOSTER                                  8431 BARDWELL AVE                                                                             PANORAMA CITY     CA    91402‐3917
MARJORIE FRASER & KENNETH FRASER JT TEN          43024 VERSAILLES                                                                              CANTON            MI    48187‐2344
MARJORIE FROST DRAPER                            816 KEEL ST                                                                                   MARTINSVILLE      VA    24112‐4312
MARJORIE G BENDER TR MARJORIE G BENDER TRUST UA 40 MERRY DELL DR                                                                               CHURCHVILLE       PA    18966‐1134
11/13/99
MARJORIE G BLAHA                                 1090 KINGS HWY                                                                                NEW BEDFORD       MA    02745‐4949
MARJORIE G DUFFY TR UA 08/02/90 MARJORIE G DUFFY THE PARK APT 102                     3633 BREAKERS DRIVE                                      OLYMPIA FLDS      IL    60461
TRUST
MARJORIE G FRANK                                 14529 RUTLAND                                                                                 DETROIT           MI    48227‐1434
MARJORIE G GROGIN                                4 DEWEY DRIVE                                                                                 NEW BRUNSWICK     NJ    08901‐1510
MARJORIE G KENNEDY                               936 BEAR CREEK ROAD                                                                           CABOT             PA    16023‐9772
MARJORIE G MC LARY                               7656 HARBOUR ISLE                                                                             INDIANAPOLIS      IN    46240‐3467
MARJORIE G PARENT                                31207 FAIRFIELD                                                                               WARREN            MI    48093‐1840
MARJORIE G SNYDER                                2098 PINEY GROVE RD                                                                           LA GRANGE         NC    28551‐9163
                                            09-50026-mg                   Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                               Address2             Address3          Address4          City           State Zip

MARJORIE G VAN GIESEN                          1600 MC MANUS                                                                                      TROY           MI    48084‐1551
MARJORIE GALLAGHER TR MARJORIE GALLAGHER TRUST 646 PIERCE ST                                                                                      VALLEJO        CA    94590‐3331
UA 01/09/95
MARJORIE GARRETT                               4003 W 177TH ST                                                                                    TORRANCE       CA    90504‐3626
MARJORIE GERMER RAYBON                         PO BOX 865                                                                                         EDNA           TX    77957‐0865
MARJORIE GIAMBRA                               14 NORTH WAY                                                                                       TONAWANDA      NY    14150
MARJORIE GWEN LUTIN                            C/O MARJORIE G NEWMAN                     209 SHINNECOCK DR                                        MANALAPAN      NJ    07726‐9518
MARJORIE H COBB                                172 WALLACE RD                                                                                     GRIFFIN        GA    30223‐6016
MARJORIE H CONLEY                              24 FAIRWOOD ROAD                                                                                   MADISON        NJ    07940‐1456
MARJORIE H COPENHAVER TR MARJORIE H            2463 CEDAR CREEKGRADE                                                                              WINCHESTER     VA    22602
COPENHAVER TRUST UA 05/18/93
MARJORIE H DURHAM                              7348 E VIENNA RD                                                                                   OTISVILLE      MI    48463‐9475
MARJORIE H GALLAGHER                           2 VIOLET DR                                                                                        FARMINGDALE    ME    04344‐2994
MARJORIE H GLOWACKI                            211 CASE STREET                                                                                    SOLVAY         NY    13209‐2511
MARJORIE H GOSS                                230 TREASURE LAKE                                                                                  DU BOIS        PA    15801‐9005
MARJORIE H KEENAN                              257 BARRINGTON CI                         APT 41                                                   LAKE ORION     MI    48360‐1333
MARJORIE H MAXWELL & JOAN M FULLERTON JT TEN   PO BOX 526                                                                                         TEMPLE         ME    04984

MARJORIE H MISKILL                                1101 ARMISTEAD ST                                                                               GLEN BURNIE    MD    21061‐1401
MARJORIE H SHELLY                                 737 PASEO PL                                                                                    FULLERTON      CA    92835‐1219
MARJORIE H SHELLY TR UA 08/14/89 SHELLY FAMILY    737 PASEO PLACE                                                                                 FULLERTON      CA    92835‐1219
TRUST
MARJORIE H SHEPPARD                               3274 BUTLERS BLUFF DR                                                                           CAPE CHARLES   VA    23310‐1402
MARJORIE H STEPP                                  6512 LAKE FOREST DR                                                                             AVON           IN    46123‐7405
MARJORIE HAARMANN RAMIK                           816 N 131 PLAZA                                                                                 OMAHA          NE    68154‐4036
MARJORIE HAKE                                     12597 MISTY CREEK                                                                               FAIRFAX        VA    22033
MARJORIE HASTINGS                                 9 LINCOLN ST                                                                                    NATICK         MA    01760‐4720
MARJORIE HELFAN                                   4024 N OCEAN DR                                                                                 HOLLYWOOD      FL    33019‐3905
MARJORIE HERRMANN                                 2006 NORTHBROOK DR                                                                              LANCASTER      PA    17601‐4918
MARJORIE HILLIER                                  2054 ATWATER AVE                                                                                SIMI VALLEY    CA    93063
MARJORIE HUGHES                                   102 SMOKEY CV                                                                                   LAGRANGE       GA    30240‐8499
MARJORIE HUMSEY TR MARJORIE & GEORGE HUNSEY       909 E SAGUARO                                                                                   SUNSITES       AZ    85625‐9200
TRUST UA 04/16/92
MARJORIE HUNTLEY PETERS & MARK ALLEN PETERS JT    6852 RD 21                                                                                      CORTEZ         CO    81321‐8617
TEN
MARJORIE I LEONARD                                1920 VIRGINIA AVE                      #103                                                     FT MYERS       FL    33901‐2320
MARJORIE ISGITT                                   20410 LANDSHIRE DR                                                                              HUMBLE         TX    77338‐2236
MARJORIE IVANCIC                                  459 ZIMMERMAN BLVD                                                                              BUFFALO        NY    14223‐1115
MARJORIE J ADAMS                                  15788 HIGHWAY 10 NORTH                                                                          BUTLER         KY    41006
MARJORIE J ARMITAGE                               10570 W ROWLAND PL                                                                              LITTLETON      CO    80127
MARJORIE J BAKER                                  2204 CHASE POINT CT                                                                             FLUSHING       MI    48433‐2283
MARJORIE J BOLTON                                 9550 W COUNTY ROAD 1200 N                                                                       GASTON         IN    47342‐9268
MARJORIE J BRUSHABER                              8461 FOREST GLEN DR                                                                             GRAND BLANC    MI    48439‐2526
MARJORIE J BURT                                   PO BOX 133                                                                                      LAUREL         FL    34272‐0133
MARJORIE J CANADY                                 1305 CORVAIR CT                                                                                 KOKOMO         IN    46902‐2531
MARJORIE J CHAMBERS                               518 GELLATLY CT                                                                                 OWOSSO         MI    48867‐1888
MARJORIE J COLEY                                  60 STERLING DRIVE                                                                               LAPEER         MI    48446‐2827
MARJORIE J CUCCIA                                 909 COUNTY ROUTE 61                                                                             SHUSHAN        NY    12873‐3207
MARJORIE J CUCCIA & CHRISTOPHER PIERCE RUMPH JT   909 COUNTY ROUTE 61                                                                             SHUSHAN        NY    12873‐3207
TEN
MARJORIE J DORSEY                                 1600 ADRIENNE COURT                                                                             FOREST HILL    MD    21050‐2845
MARJORIE J FOURNIER                               50 AVERY PLACE                                                                                  CHEEKTOWAGA    NY    14225‐3967
MARJORIE J FUNK                                   G 5515 SHAMROCK LANE                                                                            FLINT          MI    48506
MARJORIE J HARRIS                                 1401 LISCUM DR                                                                                  DAYTON         OH    45418‐1987
MARJORIE J HAVEMAN                                9185 S WAISHKEY RIVER TRL                                                                       BRIMLEY        MI    49715‐9377
MARJORIE J JOHNSON                                5186 GREEN MEADOW RD                                                                            KALAMAZOO      MI    49009‐1256
MARJORIE J KEELING                                5503 SPOKANE                                                                                    DETROIT        MI    48204‐3606
MARJORIE J LEFEVER                                61277 WINDWOOD COURT                                                                            WASHINGTON     MI    48094‐1466
MARJORIE J MALERICH                               C/O MICHAEL A MALERICH                 911 ROANOKE DRIVE                                        SPRINGFIELD    IL    62702‐3426
                                               09-50026-mg                Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                               Address2             Address3          Address4          City             State Zip

MARJORIE J MARSHALL                               489 TALON DRIVE                        APT 1                                                    ANN ARBOR        MI    48103‐6815
MARJORIE J MCCANN                                 1436 HOLLYWOOD                                                                                  DEARBORN         MI    48124‐4042
MARJORIE J MCGINNIS                               910 GOLF VILLA DR                                                                               OXFORD           MI    48371‐3698
MARJORIE J MILLAY                                 60 HIGHLAND AVE                                                                                 AUGUSTA          ME    04330‐4125
MARJORIE J MORGAN                                 17564 AVON                                                                                      DETROIT          MI    48219‐3559
MARJORIE J OXENDALE                               7600 BANKS MILL ROAD                                                                            DOUGLASVILLE     GA    30135‐5213
MARJORIE J PACE                                   6704 HOLLY FARM LN                     UNIT 213                                                 WARRENTON        VA    20187‐7278
MARJORIE J PARKS & KATHLEEN L MCCAULIFF JT TEN    3605 FOREST HILL                                                                                FLINT            MI    48504‐3503

MARJORIE J PARMENTER                              36 MEREDITH DR                                                                                  EAST FALMOUTH    MA    02536‐5123
MARJORIE J PLYLER                                 COVENTRY PLACE APTS                    2806 N DECATUR RD                                        DECATUR          GA    30033‐5969
MARJORIE J SCHULTZ & DONALD L SCHULTZ JT TEN      1001 W FRANKLIN ST                                                                              JACKSON          MI    49203‐1615

MARJORIE J VANOCHTEN                              1105 BORTON AVE                                                                                 ESSEXVILLE       MI    48732‐1271
MARJORIE J WILDER                                 3575 W HARPER RD                                                                                MASON            MI    48854‐9322
MARJORIE JANE DENZIN                              505 S STADIUM DR                                                                                XENIA            OH    45385‐2111
MARJORIE JANE ROCK                                C/O MARJORIE CONRY                     9117 S TRUMBULL                                          EVERGREEN PARK   IL    60805‐1532
MARJORIE JEAN CHRONIS & EDWARD RICHARD POOLE      9410 E WOOD DR                                                                                  SCOTTSDALE       AZ    85260
JT TEN
MARJORIE JEAN DIEHL                               3836 N OAKLAND ST                                                                               ARLINGTON        VA    22207‐4840
MARJORIE JEAN HUFF                                BOX 518                                                                                         KARNES CITY      TX    78118‐0518
MARJORIE JEAN RUNKEL                              1310 10TH AVE WEST                                                                              ASHLAND          WI    54806‐3703
MARJORIE JEAN SANFORD                             4228 WESTMONT COURT                                                                             FORT WORTH       TX    76109‐5035
MARJORIE JOAN RAEDEKE                             2929 DEXTER ST                                                                                  FLINT            MI    48506‐3188
MARJORIE JONES                                    1238 COLUMBIA AVE                                                                               PLAINFIELD       NJ    07062‐1710
MARJORIE K BROTHERS TR BROTHERS TRUST UA          C/O SARA A MANNA                       4151 STATE RTE 123                                       BLANCHESTER      OH    45107‐9221
12/08/95
MARJORIE K CROLL                                  45 ASHTON RD                                                                                    YONKERS          NY    10705‐2803
MARJORIE K EARL                                   520 WILLOW ST                                                                                   LOCKPORT         NY    14094‐5605
MARJORIE K HUGHES & SCOTT H HUGHES JT TEN         1960 VALLEY RD                                                                                  ANNAPOLIS        MD    21401‐6742
MARJORIE K LAHM                                   5129 MALLET CLUB DRIVE                                                                          DAYTON           OH    45439‐4217
MARJORIE K MEARNS                                 215 POTOMAC ROAD                                                                                WILMINGTON       DE    19803‐3120
MARJORIE K NEWCOMER                               1404 W MOSS AVE                                                                                 PEORIA           IL    61606‐1703
MARJORIE K NORMAN                                 726 W GENESEO STREET                                                                            LAFAYETTE        CO    80026‐1046
MARJORIE K WILSON & ROBERT W WILSON JT TEN        516 S FORT DR                                                                                   CHARLESTON       WV    25314‐1057

MARJORIE KINGSINGER TR UA 05/25/2005 MARJORIE     8317 AUGUST                                                                                     WESTLAND         MI    48185
KINGSINGER TRUST
MARJORIE KLINGEMAN                                1958 ROBINWAY DR                                                                                CINCINNATI       OH    45230‐2136
MARJORIE KOEBLER                                  659 GREAT PLAIN AVE                                                                             NEEDHAM          MA    02492‐3316
MARJORIE L BAPTISTE                               970 MOXLEY RD                                                                                   LIBERTY          KY    42539
MARJORIE L BERGHOFF                               3729 SUMMIT VIEW PLACE                                                                          FORT WAYNE       IN    46808‐2996
MARJORIE L BOHLANDER                              14569 N 800 WEST                                                                                ELWOOD           IN    46036‐9121
MARJORIE L BOUGHNER                               14472 BASS LAKE RD                                                                              NEWBURY          OH    44065‐9641
MARJORIE L BULLIS                                 6 WILLOW LANE                                                                                   MONTGOMERY       NY    12549‐2119
MARJORIE L BURCHETT                               1035 GWINN ISLAND RD                                                                            DANVILLE         KY    40422‐8612
MARJORIE L CRIM                                   PO BOX 90238                                                                                    INDIANAPOLIS     IN    46290‐0238
MARJORIE L CRUMB                                  607 DE WITT ROAD                                                                                WEBSTER          NY    14581
MARJORIE L FLANAGAN                               4065 W CRYSTAL DR                                                                               GOLDEN VALLEY    AZ    86413
MARJORIE L FRAZHO                                 27458 JAMES                                                                                     WARREN           MI    48092‐2813
MARJORIE L GILLETTE                               11 BRADFORD DRIVE                                                                               SYRACUSE         NY    13224‐2155
MARJORIE L GOODWIN & BRUCE W GOODWIN JT TEN       8505 FLYING CLOUD DR                   APT 227                                                  EDEN PRAIRIE     MN    55344‐3956

MARJORIE L GROMAN                                 91 SPRING LAKE DRIVE                                                                            STAFFORD         VA    22556‐6558
MARJORIE L GROSS                                  10145 SHERIDAN RD                                                                               MONTROSE         MI    48457‐9001
MARJORIE L HAMMER TR UA 08/07/91 MARJORIE L       4609 CHERRY VALLEY DR                                                                           ROCKVILLE        MD    20853‐1110
HAMMER TRUST
MARJORIE L HEFLIN TR MARJORIE L HEFLIN TRUST UA   1727 WEST SYCAMORE                                                                              KOKOMO           IN    46901‐4226
03/26/97
                                             09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                Address1                             Address2                Address3       Address4          City              State Zip

MARJORIE L HILL                                     2310 BRAMBLE COURT                                                                            CASTRO VALLEY     CA    94546‐3904
MARJORIE L HODGES                                   422 HARPERSVILLE RD                                                                           NEWPORT NEWS      VA    23601‐2209
MARJORIE L HORNADAY                                 1717 BITTEL RD                                                                                OWENSBORO         KY    42301‐4364
MARJORIE L HUISH                                    501 RIDGELAWN DR                                                                              HOBART            IN    46342‐1881
MARJORIE L JEFFERSON & NOAH T JEFFERSON JR JT TEN   404 GERONIMO CT                                                                               FREDERICK         MD    21701‐4716

MARJORIE L KENNEDY                                  2855 OGLETOWN RD                                                                              NEWARK            DE    19713‐1837
MARJORIE L KING & ROBERT H KING JT TEN              49 ELDA RD                                                                                    FRAMINGHAM        MA    01701‐4361
MARJORIE L KUPP                                     3550 N DUKE AV 20                                                                             FRESNO            CA    93727‐7839
MARJORIE L LAMBERT                                  36431 AVONDALE STREET                                                                         WESTLAND          MI    48186‐4032
MARJORIE L LYON                                     4624 OSPREY DR                                                                                GREENWOOD         IN    46143‐8281
MARJORIE L MATHISON                                 27458 JAMES                                                                                   WARREN            MI    48092‐2813
MARJORIE L MC BRIDE                                 21495 NORTH SHORE DR                                                                          STURGIS           MI    49091‐9216
MARJORIE L MEERBOTT                                 1850 DEER CIR                                                                                 ANTHONY           NM    88021‐9377
MARJORIE L NELLSON                                  101 PARK AVE                                                                                  VENETIA           PA    15367‐1260
MARJORIE L O DELL                                   4635 HEATHERBROOK DR                                                                          TROY              MI    48098‐4666
MARJORIE L O'DELL                                   138 S WEBSTER ST                                                                              OTTUMWA           IA    52501‐4567
MARJORIE L RALPH                                    PO BOX 997                                                                                    YACHATS           OR    97498‐0997
MARJORIE L ROBERTS                                  2919 W ST RD 38                                                                               NEW CASTLE        IN    47362
MARJORIE L ROSEME                                   1402 W AJO WAY SPACE 318                                                                      TUCSON            AZ    85713‐5777
MARJORIE L ROSS                                     507 N JEFFERSON ST                                                                            NEW CASTLE        PA    16101‐2114
MARJORIE L ROSS                                     2817 W SHANDON AVE                                                                            MIDLAND           TX    79705‐6102
MARJORIE L SEGREN                                   5099 ESTA DR                                                                                  FLINT             MI    48506‐1546
MARJORIE L SMITH                                    700 NAPA VALLEY DR                   APT 331                                                  MILFORD           MI    48381‐1068
MARJORIE L SOLLITTO TOD JASON PANGLE SUBJECT TO     1386 ROSEWAY SE                                                                               WARREN            OH    44484‐2728
STA TOD RULES
MARJORIE L SPEER                                    13084 E YUCCA ST                                                                              SCOTTSDALE        AZ    85259‐4485
MARJORIE L TUNNEY                                   1168 SUTTON COURT                    OSHAWA ON                              L1H 8C7 CANADA
MARJORIE L ZEFF                                     363 HANCOCK RD                                                                                WARMINSTER        PA    18974‐5319
MARJORIE LABARBERA CUST ANDREW J MAHLENBROCK        943 WOODBERRY COURT                                                                           WOODSTOWN         NJ    08098‐1064
UTMA NJ
MARJORIE LABARBERA CUST CHRIS J MAHLENBROCK         943 WOODBURY COURT                                                                            WOODSTOWN         NJ    08098‐1064
UTMA NJ
MARJORIE LABARBERA CUST NORA DENT UTMA MA           324 COMMON ST                                                                                 BELMONT           MA    02178

MARJORIE LABARBERA CUST STEVEN NICHOL UTMA NJ       BOX 663                                                                                       ALLOWAY           NJ    08001‐0663

MARJORIE LANDRY WEIMER                          111 PALM                                                                                          THIBODAUX         LA    70301‐3531
MARJORIE LARSEN ROSEBERRY                       2704 BREEZY HTS DR                                                                                MILFORD           IA    51351‐7352
MARJORIE LAVERNE MULLIS & JAMES W MULLIS JR JT  1927 WINDY HILL RD                                                                                KIRKWOOD          MO    63122
TEN
MARJORIE LAZOR                                  2243 MCCOY ROAD                                                                                   COLUMBUS          OH    43220‐4351
MARJORIE LEHRER CUST ANDREW MICHAEL LEHRER      1920 PARKSIDE CIR S                                                                               BOCA RATON        FL    33486‐8588
UTMA FL
MARJORIE LYALL                                  117 PINEVIEW RD                                                                                   STATESBORO        GA    30461‐6809
MARJORIE LYNN KECK TR UA 11/23/93 MARJORIE LYNN 10793 HIGH RIDGE ROAD                                                                             JACKSONVILLE      FL    32225‐2205
KECK TRUST
MARJORIE M ALLEN & SANDRA M MILLER & PENELOPE L 513 E CLARK ST                           APT 5                                                    DAVISON           MI    48423‐1847
JONES JT TEN
MARJORIE M ALLENDORPH TR ALLENDORPH TRUST UA 24 LITKE LN                                                                                          WALNUT CREEK      CA    94596‐1805
12/11/87
MARJORIE M ARENA                                82 HARPER DR                                                                                      PITTSFORD         NY    14534‐3154
MARJORIE M BENTZ                                38 S CAMPBELLTON LANE                                                                             PENSACOLA         FL    32506‐5186
MARJORIE M BRADLEY                              22026 SLECK LANE LN #15                                                                           LAUREL            IN    47024‐9665
MARJORIE M CODY                                 1637 KINGSTON RD                                                                                  KOKOMO            IN    46901‐5280
MARJORIE M CRITES                               C/O R M CRITES                           1030 S GRAND TRAVERSE                                    FLINT             MI    48502‐1031
MARJORIE M DAIGLER                              C/O MARJORIE M NEWLAND                   11351 LORAINE RD                                         NEW PORT RICHEY   FL    34654‐2813

MARJORIE M DAY                                      17 VALLEYWOOD DR                     APT A                                                    FOREST            VA    24551‐1239
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Name                                              Address1                               Address2                  Address3     Address4          City            State Zip

MARJORIE M DODD                                   C/O EMBRY                              2623 HARMON PARK CIRCLE                                  DULUTH          GA    30097‐4955
MARJORIE M DONAHUE                                8329 W 120TH ST                                                                                 OVERLAND PARK   KS    66213‐1219
MARJORIE M ENGEL                                  PO BOX 5173                                                                                     SANTA FE        NM    87502‐5173
MARJORIE M EVANS                                  2092 CONSTITUTION BLVD                                                                          MC KEESPORT     PA    15135‐2304
MARJORIE M FORD                                   7606 LARKSPUR ST                                                                                LITHONIA        GA    30058‐6510
MARJORIE M GRINER                                 308 N SHUFFLETON                                                                                SIGOURNEY       IA    52591‐1616
MARJORIE M JONES TR MARJORIE M JONES FAM TRUST    5822 SUNMIST DR                                                                                 YORBA LINDA     CA    92886‐5506
UA 12/04/97
MARJORIE M JULIAN                                 140 FRANKLIN PLACE #210                                                                         LAKE FOREST     IL    60045‐1253
MARJORIE M LEFFEL                                 1415 MARINE ST                                                                                  SOUTH BEND      IN    46613‐3026
MARJORIE M LILLA                                  PO BOX 510                                                                                      BUZZARDS BAY    MA    02532‐0510
MARJORIE M LINES & ROBERT D LINES JT TEN          4651 GLEN EAGLES LINK CT                                                                        ESTERO          FL    33928‐5901
MARJORIE M LOLICH & PETER LOLICH JT TEN           5210 TIMBERCREST TRAIL                                                                          JACKSON         MI    49201‐9729
MARJORIE M MC ILWAIN                              4000 HILARIA WAY                       # 120                                                    NEWPORT BEACH   CA    92663‐3610
MARJORIE M MCNAMARA                               804 HARRISON                                                                                    HAR SPRING      MI    49740‐1031
MARJORIE M MELSON TR UA 06/06/2007 MARJORIE M     6623 ROBIN HOOD DR                                                                              ANDERSON        IN    46013
MELSON TRUST
MARJORIE M MINIX                                  617 BERWICK RD                                                                                  WILMINGTON      DE    19803‐2236
MARJORIE M NAYMAN                                 6581 SLAYTON STTLMNT                                                                            LOCKPORT        NY    14094‐1136
MARJORIE M NUGENT                                 7 MORGAN CT                                                                                     MORRISTOWN      NJ    07960‐6992
MARJORIE M OUELLETTE & JUDITH F SPARKMAN &        4518 PARNELL                                                                                    CLARKSTON       MI    48346‐4053
BRENDA J NEWMARCH JT TEN
MARJORIE M PIERCE                                 474 FEDERAL N W                                                                                 WARREN          OH    44483‐3230
MARJORIE M RICH TR MARJORIE M RICH TRUST UA       3020 POLLOCK RD                                                                                 GRAND BLANC     MI    48439‐8335
03/20/89
MARJORIE M ROMANOWSKI & GREGORY A                 8085 HEMMINGWAY AVE                                                                             SAN DIEGO       CA    92120
ROMANOWSKI JT TEN
MARJORIE M ROSENBAUM                              1255 W DICKENS ST                                                                               CHICAGO         IL    60614‐4040
MARJORIE M SHERMAN                                58 DAYTON ST                                                                                    SPRINGFIELD     MA    01118‐1725
MARJORIE M SILVERBERG                             622 GREY THORNE RD                                                                              WYNNEWOOD       PA    19096‐2509
MARJORIE M SNOPKOWSKI                             423 E STENZIL ST                                                                                N TONAWANDA     NY    14120‐1756
MARJORIE M TEGNER                                 12230 CHILLICOTHE RD                                                                            CHESTERLAND     OH    44026‐2114
MARJORIE M TERRY MCROBERTS                        1324 CULVER RD                                                                                  ANN ARBOR       MI    48103‐2959
MARJORIE M THOMAS                                 BOX 52 CRUZ BAY                                                                                 ST JOHN         VI    00831‐0052
MARJORIE M UPPERMAN                               1432 EAST MONTE VISTA                                                                           PHOENIX         AZ    86006
MARJORIE M VOSS                                   263 AKRON STREET                                                                                LOCKPORT        NY    14094‐5123
MARJORIE M WEISER                                 10545 AMITY ROAD                                                                                BROOKVILLE      OH    45309‐9322
MARJORIE M WILKE                                  1915 MANCHESTER DR                                                                              GROSSE POINTE   MI    48236‐1921
                                                                                                                                                  WOOD
MARJORIE M WOOLMAN TR MARJORIE M WOOLMAN          1345 N OAK RD                                                                                   DAVISON         MI    48423
TRUST UA 8/7/98
MARJORIE M WUERTH                                 24300 BOSTON                                                                                    DEARBORN        MI    48124‐3116
MARJORIE MAE HENSMAN                              3372 DEER HOLLOW DR                                                                             DANVILLE        CA    94506‐6044
MARJORIE MENDELSOHN                               349 COMPTON HILLS DR                                                                            CINCINNATI      OH    45215‐4118
MARJORIE MILLER                                   338 E FOREST GLEN LN                                                                            CAMANO ISLAND   WA    98292‐7664
MARJORIE MITCHELL KURTZMAN                        24 44TH FIRE RD                                                                                 S CHINA         ME    04358‐5346
MARJORIE MOORE                                    PO BOX 1                                                                                        WHITE PINE      MI    49971‐0001
MARJORIE MOOREHEAD                                1288 W PRAIRIE                                                                                  MIDLAND         MI    48640‐7812
MARJORIE MUNROE                                   124 HARBOUR LN                                                                                  MASSAPEQUA      NY    11758‐7331
MARJORIE N ALLEN & BARABRA A DILLON & JOY A       6329 S SANDTRAP DR                                                                              GOLD CANYON     AZ    85218‐6484
CARDOZA JT TEN
MARJORIE N JONES                                  424 EDGEWARE RD                                                                                 SYRACUSE        NY    13208‐3309
MARJORIE O LOVE TR UA 04/10/92 MARJORIE O LOVE    1501 ST CHRISTOPHER                                                                             COLUMBIA        MO    65203‐2358
TRUST
MARJORIE OLIVE SWANSON                            4541 W COLUMBIA RD                                                                              MASON           MI    48854‐9505
MARJORIE P BECHTOLD TR UA 03/26/93 THE MARJORIE   8400 VAMO RD APT 344                                                                            SARASOTA        FL    34231‐7816
P BECHTOLD REV TR
MARJORIE P ERNST                                  504 NORTH ST                                                                                    EAST AURORA     NY    14052‐1446
MARJORIE P OLEARY                                 55 VICTORIA ST                                                                                  WASHINGTON      PA    15301‐4348
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MARJORIE PALMERI & LAURA FLANIGAN TR THE         34 PINE ST                                                                                    YARMOUTHPORT     MA    02675‐1837
PALMERI FAMILY TRUST 01/19/87
MARJORIE PATTERSON                               443 MADISON ST #UP                                                                            BUFFALO          NY    14212‐1043
MARJORIE PERKINSON GRAMMER                       613 BINFORD ST                                                                                SOUTH HILL       VA    23970‐1511
MARJORIE PETTINGILL                              R F D #1                             BOX 287                                                  CANTON           ME    04221‐9721
MARJORIE R COEN TR UA COEN FAMILY LIVING TRUST   BOX 7                                                                                         OLTON            TX    79064‐0007
01/04/91
MARJORIE R DONAHE                                37228 REDWINE CANYON RD N                                                                     CRESTON          WA    99117‐8528
MARJORIE R DONAHE & LAURANCE E DONAHE JT TEN     37228 REDWINE CANYON RD N                                                                     CRESTON          WA    99117‐8528

MARJORIE R HAGGERTY                              7020 COBIAC DR                                                                                ST JAMES CITY    FL    33956‐2738
MARJORIE R HALSEY CUST ASHLEY LAMBERT UGMA PA    342 WOODVIEW RD                                                                               WEST GROVE       PA    19390‐9211

MARJORIE R HALSEY CUST MELAINE R LAMBERT UGMA 342 WOODVIEW RD                                                                                  WEST GROVE       PA    19390‐9211
PA
MARJORIE R HAUSMANN & ARNOLD E HAUSMANN JR JT C/O MARJORIE R HAUSMANN                 3803 ROBINA                                              BERKLEY          MI    48072‐3431
TEN
MARJORIE R HAUSMANN & CLAIRE E HAUSMANN JT TEN C/O MARJORIE R HAUSMANN                3803 ROBINA                                              BERKLEY          MI    48072‐3431

MARJORIE R JONES & JOHN RICHARD JONES JT TEN     1944 E VIRTS CT                                                                               HERNANDO         FL    34442‐4956

MARJORIE R KENRICK                             9 JILL‐MARIE DR                                                                                 CARVER           MA    02330‐1394
MARJORIE R KNAPP & VALERIE J PEARSON JT TEN    1280 VIA CONEJO                                                                                 ESCONDIDO        CA    92029‐7705
MARJORIE R MCLYMOND                            606 ARBOR LAKE DR                                                                               NAPLES           FL    34110‐8693
MARJORIE R MCMULLEN                            607 LIME KILN RD                                                                                LEXINGTON        VA    24450‐1729
MARJORIE R NEWMAN                              6654 GARDEN DR                                                                                  MT MORRIS        MI    48458‐2335
MARJORIE R PORTER                              1903 CODDINGTON ROAD                                                                            BROOKTONDALE     NY    14817‐9514
MARJORIE R SOULERET                            995 LIBERTY                                                                                     LINCOLN PARK     MI    48146‐3608
MARJORIE R THOMAS                              507 FERN AVE                                                                                    HADDON TWP       NJ    08108‐2228
MARJORIE R WHITE                               1470 LONE TREE RD                                                                               MILFORD          MI    48380‐2318
MARJORIE R WILLIAMS                            803 W APPLEGATE AVE                                                                             PEN ARGYL        PA    18072‐1406
MARJORIE RENDE                                 1925 COLDEN AVE                                                                                 BRONX            NY    10462‐3126
MARJORIE ROSEN                                 550 PARK AVE APT 14E                                                                            NEW YORK         NY    10021‐7369
MARJORIE S BENEDICT                            3101 W NELSON ST                                                                                MIDLAND          MI    48640‐3301
MARJORIE S BRANDON & TONA A BRANDON & WILLIAM PO BOX 633                                                                                       DEXTER           MO    63841‐0633
S BRANDON JT TEN
MARJORIE S COOK                                2096 PINE CONE LANE                                                                             ATLANTA          GA    30319‐4030
MARJORIE S DEIBERT & GARY O DEIBERT JT TEN     550 LINDEN ST                                                                                   PERRY            GA    31069‐3734
MARJORIE S FLOYD & MARVIN W FLOYD JT TEN       4708 FIRESIDE DR W                                                                              JACKSONVILLE     FL    32210‐9306
MARJORIE S HEAGLE                              6 ATCHER DR                                                                                     STONY BROOK      NY    11790
MARJORIE S IVANEK                              4498 SW 102ND LANE RD                                                                           OCALA            FL    34476‐4141
MARJORIE S LANCE & SPENCER E LANCE & KATHRYN A 415 W MAIN                                                                                      SAVANNAH         MO    64485‐1655
LANCE JT TEN
MARJORIE S LAROWE TR LIVING TRUST 11/26/91 U‐A 9 WEBSTER REACH                                                                                 PLYMOUTH         MA    02360‐7742
MARJORIE S LAROWE
MARJORIE S SMALL                               787 E COUNTY ROAD 400 N                                                                         ANDERSON         IN    46012
MARJORIE S STORMS & A G STORMS JR JT TEN       9504 WESSEX PL                                                                                  LOUISVILLE       KY    40222‐5043
MARJORIE S SUTTON                              1901 FERNDALE DR                                                                                HILLSDALE        MI    49242‐9427
MARJORIE S THORNBERRY                          2004 ASHBOURNE ROAD                                                                             ANDERSON         IN    46011‐2700
MARJORIE S VERBY                               218 ALBON RD                                                                                    HEWLETT HARBOR   NY    11557‐2635

MARJORIE SAUNDERS TR UA 09/20/88 MARJORIE        45040 N CAMOLIN AVE                                                                           LANCASTER        CA    93534‐2022
SAUNDERS
MARJORIE SEGAL                                   301 E 48TH ST                        APT 10E                                                  NEW YORK         NY    10017‐1717
MARJORIE SHOWAKER                                374 CHRISTINA                                                                                 PLEASANTON       CA    94566‐7121
MARJORIE SHULMAN                                 ATTN MARJORIE SHULMAN SIMPSON        120 MUSKET RIDGE                                         WILTON           CT    06897‐3811
MARJORIE SIMS HENRY                              119 SOUTH FIRST ST                                                                            PULASKI          TN    38478‐3215
MARJORIE SLOAN WISE CUST ELIZABETH ANN WISE      44 CHARLOU CIRCLE                                                                             ENGLEWOOD        CO    80111‐1103
UGMA AZ
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MARJORIE SLOAN WISE CUST KATHRYN MARIE WISE       44 CHARLOU CIRCLE                                                                                ENGELWOOD        CO    80111‐1103
UGMA AZ
MARJORIE SOEHL                                    428 BAKER AVE                                                                                    WESTFIELD        NJ    07090‐1961
MARJORIE STAGE ROUDEBUSH                          1536 ROLLING RIDGE DRIVE                                                                         NOBLESVILLE      IN    46060‐3921
MARJORIE STEWART                                  1321 GROVE ST                                                                                    OSHKOSH          WI    54901‐4054
MARJORIE SUE BOUGHTON                             581 1/2 PLAINVIEW COURT                                                                          GRAND JUNCTION   CO    81504‐6067

MARJORIE SUE COONCE                               100 N HIGH SCHOOL ROAD                                                                           INDIANAPOLIS     IN    46214‐3952
MARJORIE T BRALOVE & WILLIAM BRALOVE JR JT TEN    10534 TYLER TERRACE                                                                              POTOMAC          MD    20854‐4059

MARJORIE T GREGORIO                               291 BIANCA AVE                                                                                   CARNEYS POINT    NJ    08069‐2630
MARJORIE T HEIZLER                                8 LIVINGSTON AVE                                                                                 BABYLON          NY    11702‐2106
MARJORIE T MCCORKHILL                             32 CRESCENT COURT                                                                                CHESTERFIELD     IN    46017
MARJORIE T ROSS                                   5788 ANGUS DRIVE                        VANCOUVER BC                           V6M 3N8 CANADA
MARJORIE TODD & WILLIAM R TODD JT TEN             225 RIVERVIEW DR                                                                                 VALLEJO          CA    94589‐2396
MARJORIE TORAN & CAROLYN E RUFFIN EX UW ELISE M   C/O MARTIN J HERMANN ESQ                725 GLEN COVE AVE                                        GLEN HEAD        NY    11545‐1644
WILLIAMSON
MARJORIE TOWNSEND & RICHARD TOWNSEND JT TEN       6110 JEDDO RD                                                                                    JEDDO            MI    48032‐1210

MARJORIE TYNER‐POTTER CUST MARK D PFEIFLE UTMA    809 6TH STREET NW                       # 25                                                     WASHINGTON       DC    20001‐3711
ND
MARJORIE V HORAN                                  3 NEVINWOOD PLACE                                                                                HUNTINGTON       NY    11743‐5214
MARJORIE V JOHNSON                                2830 JOY DRIVE                                                                                   BEAVERCREEK      OH    45434‐6436
MARJORIE V KVAK & DONNA M KVAK CZYRBA JT TEN      1624 WYANDOTTE AVE                                                                               LAKEWOOD         OH    44107‐4738

MARJORIE W BITZER                                 11 SE 63RD TERR                                                                                  OCALA            FL    34472‐7941
MARJORIE W BROWNLEE                               225 S SANGA RD                                                                                   CORDOVA          TN    38018‐4811
MARJORIE W COONS                                  495 LAND O'GOSHEN                                                                                CLARKESVILLE     GA    30523
MARJORIE W FORTSON                                41315 N BELFAIR WAY                                                                              ANTHEM           AZ    85086‐1232
MARJORIE W HARTZELL                               3403 VILLAGE GREEN DR                                                                            DAYTON           OH    45414‐2426
MARJORIE W PLANTE                                 74 SCHOOL ST                                                                                     DAMARISCOTTA     ME    04543‐4624
MARJORIE W TERHUNE                                229 FAIRFAX AVE                                                                                  HOPKINSVILLE     KY    42240
MARJORIE W TISSOT                                 1741 S TAYLORSVILLE RD                                                                           HILLSBORO        OH    45133‐6725
MARJORIE WALKER                                   376 HELENA DRIVE                                                                                 TALLMADGE        OH    44278‐2671
MARJORIE WARDERS                                  4248 SUNSET AVENUE                                                                               INDIANAPOLIS     IN    46208‐3766
MARJORIE WEESNER                                  BOX 453                                                                                          DEXTER           IA    50070‐0453
MARJORIE WESTERBERG                               7615 RUBY LINDER RD                                                                              WAXHAW           NC    28173‐9408
MARJORIE WHITNER                                  111 W SHORE DRIVE                                                                                RICHARDSON       TX    75080‐4917
MARJORIE WOFFORD                                  35 EATON ST                                                                                      BUFFALO          NY    14209‐1907
MARJORIE WYCKOFF                                  140 QUEENS LAND AVE                                                                              MERRIT ISLAND    FL    32953
MARJORIE ZALESKI                                  1259 GRANDVIEW AVE                                                                               UNION            NJ    07083‐3728
MARJORIE ZOOK                                     4509 4TH AVE                                                                                     AVALON           NJ    08202‐1532
MARJORY A BOWDEN TR UA 05/26/93 DWIGHT H          7002 COUNTY RD D                                                                                 ALMOND           WI    54909‐9052
BOWDEN REVOCABLE LIVING TRUST
MARJORY A DONNENWIRTH                             51 PLYMOUTH ST                                                                                   PLYMOUTH         OH    44865‐1007
MARJORY A STAMPER                                 22852 CALABASH ST                                                                                WOODLAND HILLS   CA    91364‐2811

MARJORY ARMOS CUST DAWN E ARMOS UGMA WA           14407 NE 12TH PL                                                                                 BELLEVUE         WA    98007‐4006

MARJORY C TRUMP                                   19789 KARA CI                                                                                    NORTH FORT MYERS FL    33917‐6142

MARJORY E HOVEMEYER                               UNIT 206                                111 DEVIR ST                                             MALDEN           MA    02148‐7200
MARJORY F W HOPPER                                612 UNION LN                                                                                     BRIELLE          NJ    08730‐1423
MARJORY G BLACKMER                                1137 S 4TH AVE                                                                                   LIBERTYVILLE     IL    60048‐3755
MARJORY H FELDMANN                                7820 BRIARDALE TERRACE                                                                           DERWOOD          MD    20855‐2073
MARJORY J HAAS                                    1103 HASLETT RD                                                                                  HASLETT          MI    48840‐9704
MARJORY JUNE ENEVOLDSEN                           3500 NW 14TH AVE                                                                                 CAMAS            WA    98607‐7933
MARJORY L MARSHALL                                175 CROYDON RD                                                                                   ROCHESTER        NY    14610‐1430
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MARJORY M CHAMBERS & LINDA A GUTIERREZ JT TEN   7711 S RAEFORD RD                      STE 102                                                  FAYETTEVILLE      NC    28304‐5983

MARJORY M PLOTAR                                4028 BEEBE RD                                                                                   NEWFANE           NY    14108‐9663
MARJORY R BRENNAN                               323 SW MARSH WREN ST                                                                            LEES SUMMIT       MO    64082‐4597
MARJORY W TUDOR                                 1181 HOUSTON DRIVE                                                                              KEYSVILLE         GA    30816‐4149
MARJORY YALE STITT                              1630 FRANKLIN CT                                                                                CRESCENT CITY     CA    95531‐8112
MARK A ACCARDO                                  1383 WILLIAMSBURG RD                                                                            FLINT             MI    48507‐5627
MARK A ADAMS                                    9439 PRAIRIE ST                                                                                 DETROIT           MI    48204‐4345
MARK A ADAMS CUST MADISON ABIGAYLE ADAMS        1 BENTON ST                                                                                     MILLBURY          MA    01527‐3403
UTMA MA
MARK A ADLER & NANCY CLARK ADLER JT TEN         4617 DE RUSSEY PKWY                                                                             CHEVY CHASE       MD    20815‐5331
MARK A ALDERSON                                 6088 E WILLARD RD                                                                               MILLINGTON        MI    48746‐9206
MARK A ALLEN                                    ADAM OPEL PKZ R214                     PO BOX 9022                                              WARREN            MI    48090‐9022
MARK A ANDERSON                                 14926 MARSHA AVE                                                                                LEO               IN    46765‐9717
MARK A ANFANG                                   215 E 68 TH ST                                                                                  NEW YORK          NY    10021‐5718
MARK A ATWELL                                   174 BUTTERMILK DR                                                                               REHOBOTH BCH      DE    19971‐9569
MARK A BAILEY                                   PO BOX 704                                                                                      ELYRIA            OH    44036‐0704
MARK A BAIME                                    259 ENGLISH PL                                                                                  BASKING RIDGE     NJ    07920‐2745
MARK A BAIRD                                    7642 W 450 N                                                                                    SHARPSVILLE       IN    46068‐9206
MARK A BARLOW                                   18918 HAMPSHIRE ST                                                                              LATHRUP VILLAGE   MI    48076‐4412

MARK A BASHOR                                   1040 S PAULA AVE                                                                                SPRINGFIELD       MO    65804
MARK A BELLIVEAU & MAUREEN E BELLIVEAU JT TEN   21 VALLEY RUN DR                                                                                SEWELL            NJ    08080‐1824

MARK A BERRY                                    116 MARVIN ROAD                                                                                 MELROSE          MA     02176‐1252
MARK A BITTCHER                                 1517 VICTORIA AVE                                                                               ARNOLD           PA     15068‐4103
MARK A BITTMAN                                  25458 NORFOLK                                                                                   DEARBORN HEIGHTS MI     48125‐1127

MARK A BJERK                                    34554 HIVELEY STREET                                                                            WESTLAND          MI    48186‐4323
MARK A BLANC                                    7580 MONTEREY BAY DR                   UNIT 1                                                   MENTOR ON THE     OH    44060‐9015
MARK A BLANKEMEIER                              2651 WINANS NW                                                                                  GRAND RAPIDS      MI    49544‐9526
MARK A BODENBACH                                4414 DIEHL RD                                                                                   METAMORA          MI    48455‐9754
MARK A BOWLES                                   2495 LITTLETELL                                                                                 WEST BLOOMFIELD   MI    48324‐1747

MARK A BRAUN                                    13401 W FRENCH RD                                                                               PEWAMO            MI    48873‐9622
MARK A BRETZ                                    4800 GRANT CREEK RD                                                                             MISSOULA          MT    59808‐1454
MARK A BRITTON                                  529 CHESTNUT ST                                                                                 VASSAR            MI    48768‐1428
MARK A BROGAN & BECKY A BROGAN JT TEN           7 DUCK POND LN                                                                                  MERRIMACK         NH    03054‐4834
MARK A BROOKS                                   6728 OAK ST                                                                                     TAYLOR            MI    48180‐1741
MARK A BROTHERTON                               1010 LINDEN AVE                                                                                 SAINT MARYS       OH    45885‐1326
MARK A BROTHERTON & CATHY A BROTHERTON JT TEN   1010 LINDEN                                                                                     ST MARY'S         OH    45885‐1326

MARK A BROWN                                    5664 W CAMPER RD                                                                                GENOA             OH    43430‐9405
MARK A BROWN & WENDY G NELSON‐BROWN JT TEN      5664 W CAMPER RD                                                                                GENOA             OH    43430‐9405

MARK A BROWN CUST NOAH A BROWN UTMA IL          324 SUMAC RD                                                                                    HIGHLAND PARK     IL    60035‐4444
MARK A BRYANT                                   648 FARMERS RD                                                                                  WILMINGTON        OH    45177
MARK A BUSTILLOS                                1251 W 102 PL                                                                                   NORTH GLENN       CO    80221‐6289
MARK A BUTTS                                    5071 MARK DAVID DRIVE                                                                           SWARTZ CREEK      MI    48473‐8557
MARK A CAMPBELL                                 3033 WREN LN                                                                                    MIDLOTHIAN        TX    76065‐6797
MARK A CASSIN                                   2114 LILLIAN LN                                                                                 LISLE             IL    60532
MARK A CHANDLER                                 8530 W 10TH AVE                                                                                 LAKEWOOD          CO    80215‐4862
MARK A CHATTERTON                               5127 SPRING WILLOW CT                                                                           OWINGS MILLS      MD    21117‐5718
MARK A CHRISTMAN                                1423 SUNSET BLVD                                                                                FLINT             MI    48507‐4062
MARK A CIRIELLO                                 1106 ESTELLE CT                                                                                 NILES             OH    44446‐3420
MARK A CLUM                                     5017 S HURON RIVER DR                                                                           FLAT ROCK         MI    48134‐9644
MARK A COFFIN & FERRIL R COFFIN JT TEN          6637 E 300N                                                                                     ELWOOD            IN    46036‐8537
MARK A COFFMAN                                  809 WEST SYCAMORE ST                                                                            KOKOMO            IN    46901‐4326
MARK A COLE                                     31 ARDEN PARK BLVD                                                                              DETROIT           MI    48202‐1307
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Name                                        Address1                               Address2             Address3          Address4          City            State Zip

MARK A COLLINGER                            16860 NW JOSCELYN STREET                                                                        BEAVERTON       OR    97006‐7203
MARK A CORESSEL                             96 ROLLING MEADOWS RD                                                                           BEDFORD         IN    47421‐7367
MARK A COUNTS                               8130 BEMIS RD                                                                                   YPSILANTI       MI    48197‐9717
MARK A CRAIN                                239 GREENBRIAR DR                                                                               KOKOMO          IN    46901‐5034
MARK A CRANE                                5642 VALLEY WAY                                                                                 LOCKPORT        NY    14094‐6127
MARK A CRAWFORD                             529 AMHERST DR                                                                                  GOLETA          CA    93117‐1763
MARK A DALIAN                               15570 DEVONSHIRE                                                                                PINCKNEY        MI    48169‐9720
MARK A DANJIN                               525 N MIDLAND RD                                                                                MERRILL         MI    48637
MARK A DAUM                                 4581 BROCK COURT                                                                                PLAINFEILD      IN    46168‐8867
MARK A DAVIDSON                             4901 ODELL DR                                                                                   GAINESVILLE     GA    30504‐8141
MARK A DEBOER                               1383 EDWARDS ST                                                                                 WEST BRANCH     MI    48661‐9349
MARK A DEGAETANO                            150 LAKE ST                            APT 1B                                                   WHITE PLAINS    NY    10604‐2468
MARK A DENERO                               303 MCCOOL AVE                                                                                  EAST SYRACUSE   NY    13057‐2305
MARK A DENERO & ROBIN S DENERO JT TEN       303 MCCOOL AVE                                                                                  E SYRACUSE      NY    13057‐2305
MARK A DIERKING                             1337 MORNING GLORY CIRCLE                                                                       LIVERMORE       CA    94550‐6700
MARK A DIXON                                18454 SEASHELL BLVD                                                                             LEWES           DE    19958‐6400
MARK A DODGE                                6601 HEATHER DR                                                                                 LOCKPORT        NY    14094‐1111
MARK A DORSKY                               6489 PECK LAKE RD                                                                               PORTLAND        MI    48875‐9628
MARK A DOSTER & LORENE DOSTER JT TEN        1450 THOMPSON COURT                                                                             REEDLEY         CA    93654‐2286
MARK A DRAKE                                642 E TENNYSON                                                                                  PONTIAC         MI    48340‐2958
MARK A DYER                                 8801 BYAM RD                                                                                    BANCROFT        MI    48414‐9416
MARK A EAKINS                               15604 E CHENANGO AVE                                                                            AURORA          CO    80015‐1704
MARK A EATON & MARY C EATON JT TEN          7157 VIA DICHA AVENUE                                                                           LA VERNE        CA    91750‐1049
MARK A EDWARDS                              387 ANTHONY ST                                                                                  GLEN ELLYN      IL    60137‐4433
MARK A ELSWORTH                             12507 ST RD 9N                                                                                  ALEXANDRIA      IN    46001‐8927
MARK A EMERSON & REBECCA L EMERSON JT TEN   4755 HIDDEN SHORE DR                                                                            KALAMAZOO       MI    49048‐8255
MARK A ENOCH & DEBRA C ENOCH JT TEN         10805 BUCKSKIN PL                                                                               TAMPA           FL    33626‐3704
MARK A FINKE                                2519 DANA DR                                                                                    LAURINBERG      NC    28352‐4000
MARK A FIRTH                                396 APPLE RIDGE RD                                                                              SALEM           OH    44460‐9420
MARK A FOIL SR                              647 HARRELL ST                                                                                  ROCK HILL       SC    29730‐3382
MARK A FOX                                  221 WASS ST                                                                                     FENTON          MI    48430‐1572
MARK A FRANKS                               16301 BOWMAN RD NE                                                                              HOMEWORTH       OH    44634‐9647
MARK A FRENCH                               81 WOODROW AVE                                                                                  YOUNGSTOWN      OH    44512‐3307
MARK A FURDEN                               4001 MAPLE DUTCH VILLAGE                                                                        MOUNT MORRIS    MI    48450
MARK A GARAVAGLIA                           19690 ARMADA RIDGE ROAD                                                                         ARMADA          MI    48005‐4220
MARK A GAUKLER                              7530 GLADSTONE DR                      UNIT 201                                                 NAPERVILLE      IL    60565‐1127
MARK A GAVEL                                116 MARIAN LANE                                                                                 WOONSOCKET      RI    02895‐6076
MARK A GIBSON                               7086 E 50 N                                                                                     GREENTOWN       IN    46936‐1023
MARK A GIBSON                               18046 ELLES DR                                                                                  ATHENS          AL    35611‐5635
MARK A GILFORD                              6701 LANGLE                                                                                     CLARKSTON       MI    48346‐1444
MARK A GOOCHEY & SHAWN A MCELHENY TEN COM   3125 VICKERS DRIVE                                                                              COLORADO SPGS   CO    80918

MARK A GORDON                               8009 LINKSVIEW CIRCLE                                                                           WESTERVILLE     OH    43082‐8583
MARK A GORRASI                              4202 W 8TH ST                                                                                   CINCINNATI      OH    45205‐2004
MARK A GOSSELIN                             180 COLWELL RD                         #1                                                       HARRISVILLE     RI    02830‐1803
MARK A GREENWOOD                            18670 KINLOCH                                                                                   REDFORD         MI    48240‐1827
MARK A GROEBER                              PO BOX 574                                                                                      WARRENTON       MO    63383‐0574
MARK A HABERMAN                             7777 SHERMONT RD                                                                                DUBLIN          OH    43016‐9551
MARK A HAINES                               3723 GRAVEL CREEK RD                                                                            NORTH BRANCH    MI    48461‐8908
MARK A HALEY                                2801 PRINCESS ANN ST                                                                            HOPEWELL        VA    22860
MARK A HARRIS                               306 CHAMBERLAIN ST                                                                              FLUSHING        MI    48433‐1616
MARK A HASSER                               1426 WEDGEWOOD DR                                                                               FAIRBORN        OH    45324‐4141
MARK A HAZELTON                             20421 STATE ROUTE 15                                                                            CONTINENTAL     OH    45831‐9634
MARK A HEISTAND                             364 EAST MARKET ST                                                                              GERMANTOWN      OH    45327‐1422
MARK A HERMAN                               3132 FISHING FORD RD                                                                            PETERSBURG      TN    37144‐2403
MARK A HEWITT                               7739 W 350 N                                                                                    SHARPSVILLE     IN    46068‐9210
MARK A HEYNIGER                             10211 CEDAR ISLAND RD                                                                           WHITE LAKE      MI    48386‐2912
MARK A HIGGINS                              6009 KINYON DR                                                                                  BRIGHTON        MI    48116‐9579
MARK A HINKLEY                              13957 FERRIS AVE                                                                                GRANT           MI    49327‐9658
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Name                                            Address1                               Address2             Address3          Address4          City               State Zip

MARK A HOFFMAN                                  39828 MEMORY LANE                                                                               HARRISON TWP       MI    48045‐1762
MARK A HOFFMAN                                  11750 UNITY RD                                                                                  NEW SPRINGFIELD    OH    44443‐9721

MARK A HOPKINS                                1701 SANDPIPER COURT                                                                              WEST LAFAYETTE     IN    47906‐6514
MARK A HOSEA                                  2660 PINE LAKE RD                                                                                 ORCHARD LAKE       MI    48324‐1939
MARK A HOSEA & ELIZABETH T HOSEA JT TEN       2660 PINE LAKE RD                                                                                 ORCHARD LAKE       MI    48324‐1939
MARK A HOWENSTINE                             624 BULL RUN CT                                                                                   NAPERVILLE         IL    60540‐7106
MARK A HUGHES                                 1323 W DAKOTA AVE                                                                                 CHICKASHA          OK    73018‐2939
MARK A IHARA                                  4207 YORBALINDA                                                                                   ROYAL OAK          MI    48073‐6463
MARK A IMBESI                                 81 CUMBERLAND AVE                                                                                 ESTELL MANON       NJ    08319‐1717
MARK A ISSLER                                 BOX 74                                                                                            BROCTON            NY    14716‐0074
MARK A JACKSON TR MARK A JACKSON KEOGH PLAN   160 N WINTER STREET                                                                               ADRIAN             MI    49221‐2043
12/31/89
MARK A JADWIN CUST AMANDA CHRISTINE JADWIN    17725 DURANT STREET NE                                                                            HAM LAKE           MN    55304‐4608
UTMA MN
MARK A JADWIN CUST DEREK ALLEN JADWIN UTMA MN 17725 DURANT STREET NE                                                                            HAM LAKE           MN    55304‐4608

MARK A JADWIN CUST MARKUS KYLE JADWIN UTMA      17725 DURANT ST NE                                                                              HAM LAKE           MN    55304‐4608
MN
MARK A JAKSIC                                   2116 ALGONQUIN RD                                                                               EUCLID             OH    44117‐2402
MARK A JANOWSKI                                 5311 S 8TH AVE                                                                                  COUNTRYSIDE        IL    60525‐3623
MARK A JANOWSKI & SHELLEY ANN JANOWSKI JT TEN   5311 S 8TH AVE                                                                                  COUNTRYSIDE        IL    60525‐3623

MARK A JOHNSON                                  703 LAKE RD                                                                                     ALTOONA            WI    54720‐1836
MARK A JOHNSON                                  6470 ENCLAVE DR                                                                                 CLARKSTON          MI    48348‐4858
MARK A JONAS                                    1823 COLUMBUS AVE                                                                               BAY CITY           MI    48708‐6873
MARK A KARNEY                                   1218 LAKEVIEW DRIVE                                                                             ROCHESTER HILLS    MI    48306‐4585
MARK A KARRELS                                  2521 CHEROKEE RD                                                                                JANESVILLE         WI    53545‐2201
MARK A KECK                                     832 WEST RIDGE CT                                                                               LAKE ORION         MI    48359‐1746
MARK A KELLOGG                                  4500 DUBLIN AVE                                                                                 MIDLAND            MI    48642
MARK A KENDALL                                  607 WOODS EDGE LN                                                                               WHITE LAKE         MI    48386‐3554
MARK A KERN                                     111 S HIGH                                                                                      BELLEVILLE         IL    62220‐2103
MARK A KERRIDGE                                 3701 WATERLOO                                                                                   SAGINAW            MI    48603‐2076
MARK A KINCER                                   955 COVINGTON CT                                                                                MARYSVILLE         MI    48040‐2020
MARK A KIRKENDALL                               3504 ALTO RD WEST                                                                               KOKOMO             IN    46902‐4691
MARK A KORKUS                                   PO BOX 328                                                                                      BOYNE CITY         MI    49712‐0328
MARK A KORMELINK                                1276 S R 131                                                                                    MILFORD            OH    45150‐2844
MARK A KORODY & MARY E BRUECK JT TEN            53203 JUDAY CREEK BLVD                                                                          GRANGER            IN    46530‐9096
MARK A KUHN                                     RR 1 BOX 202                                                                                    HEYWORTH           IL    61745‐9735
MARK A KULIKAMP                                 3664 W 72ND ST                                                                                  NEWAYGO            MI    49337‐9784
MARK A KUSCHINSKY                               11 CENTER WOODS DR S                                                                            SAGINAW            MI    48603‐5868
MARK A KUSHNER                                  223 WEST OVERLOOK RD                                                                            PALM SPRINGS       CA    92264‐8934
MARK A LAKOVICH                                 5521 MONICA DRIVE                                                                               INDIANAPOLIS       IN    46254‐1646
MARK A LANDSTROM                                969 DAHLIA LANE                                                                                 ROCHESTER HLS      MI    48307‐3305
MARK A LANSING                                  2245 SUZANNE DRIVE                                                                              DUBUQUE            IA    52002‐2759
MARK A LAVIN                                    20 ANNE CHAMBERS LANE                                                                           KATONAH            NY    10536‐3406
MARK A LE MON                                   1 E FERN DR                                                                                     NEW CASTLE         DE    19720‐1159
MARK A LEMOND                                   1105 JUDITH ST                                                                                  WESTLAND           MI    48186‐4044
MARK A LEWIS                                    11313 N BRAY RD                                                                                 CLIO               MI    48420‐7913
MARK A LEWIS                                    1431 FROSTWOOD DR                                                                               TYLER              TX    75703‐7513
MARK A LIKES                                    RT 2 2132 OSBUN ROAD                                                                            MANSFIELD          OH    44903‐9760
MARK A LILLY & DIANE A LILLY JT TEN             2809 ROSEWOOD RD                                                                                LAGRANGE           KY    40031‐9323
MARK A MAIN                                     3207 WILLIAMS DRIVE                                                                             KOKOMO             IN    46902‐7502
MARK A MAKSYM                                   15069 LOYOLA DR                                                                                 STERLING HEIGHTS   MI    48313‐3665

MARK A MAKULINSKI                               6218 CLOVER LN                                                                                  LAMBERTVILLE       MI    48144‐9402
MARK A MANGIARELLI                              2147 KING MESA DRIVE                                                                            HENDERSON          NV    89012‐6128
MARK A MANKOWSKI                                2990 EVON RD                                                                                    SAGINAW            MI    48601‐9727
MARK A MATTIS                                   161 CROCKER PARK BLVD                  APT 308                                                  WESTLAKE           OH    44145‐8118
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MARK A MCDANIEL                                3130 E SHOCKLEY RD                                                                              MUNCIE          IN    47302‐8614
MARK A MCDURMON                                3497 GALE ROAD                                                                                  EATON RAPIDS    MI    48827‐9633
MARK A MCGREGOR                                3400 BENT CREEK CT                                                                              GREENSBORO      NC    27410‐8317
MARK A MELLO                                   19142 WALLEYE LANE                                                                              HUNTINGTON      CA    92646‐2430
                                                                                                                                               BEACH
MARK A MERTI                                   133 PENN LEAR DRIVE                                                                             MONROEVILLE     PA    15146‐4733
MARK A MESCHKAT                                18483 LONDON DR                                                                                 MACOMB          MI    48042‐6216
MARK A MICHALICKA                              RTE 1 BOX 221                                                                                   UNION CITY      OK    73090‐9722
MARK A MILKIEWICZ                              1300 YORKTOWN DR                                                                                FLINT           MI    48532‐3237
MARK A MILLER                                  5310 ST VRAIN RD                                                                                LONGMONT        CO    80503‐9307
MARK A MILLER                                  7519 NE 204TH PL                                                                                KENMORE         WA    98028‐2079
MARK A MINTON                                  192 ASPEN DR NW                                                                                 WARREN          OH    44483‐1175
MARK A MITCHELL CUST ADRIENNE MITCHELL UGMA MI 3192 N MILL RD                                                                                  DRYDEN          MI    48428‐9341

MARK A MUELLER                                 2820 SUNBURST DR                                                                                SMITHVILLE      MO    64089‐8813
MARK A MURPHY                                  476 ARTHURS CT                                                                                  ORTONVILLE      MI    48462‐8947
MARK A MUSSER                                  1234 N WESTFIELD RD                                                                             MADISON         WI    53717‐1040
MARK A MYERS & BETTY M MYERS JT TEN            2028 CARINA CIRCLE                                                                              GOSHEN          IN    46526‐6912
MARK A NELSON                                  124 GLANWORTH AVE                                                                               LAKE ORION      MI    48362‐3402
MARK A NEWCOMER                                434 WINGER FOOT DRIVE                                                                           MCDONOUGH       GA    30253
MARK A NEWLAND                                 121 KENSINGTON PL                                                                               COLUMBIA        TN    38401‐8885
MARK A NOWINSKI                                11222 CALLE DARIO                                                                               SAN DIEGO       CA    92126‐1206
MARK A NUNLEY                                  10225 S SEYMOUR RD                                                                              GAINES          MI    48436‐9718
MARK A OLIVER                                  1607 RANDOLPH CT                                                                                MONROE          GA    30655‐6268
MARK A ORLUCK & SHARON L BLAQUIERE JT TEN      5049 LAKESHORE # 34                                                                             LEXINGTON       MI    48450
MARK A ORLUCK TOD SHARON L BLAQUIERE           5049 LAKESHORE #34                                                                              LEXINGTON       MI    48450
MARK A OWENS                                   2713 WILLOWRIDGE DR                                                                             DAYTON          OH    45414‐2839
MARK A PACE                                    31 EAST BALDWIN                                                                                 BATTLECREEK     MI    49017‐2801
MARK A PATTERSON                               7194 KALKASKA DR                                                                                DAVISON         MI    48423‐2386
MARK A PEGOUSKE                                3443 W SCHAFER RD                                                                               PINCKNEY        MI    48169‐8806
MARK A PENKSA                                  4422 CLINTON ST                                                                                 BUFFALO         NY    14224‐1708
MARK A PETTIGREW                               334 FERNDALE PL                                                                                 FLINT           MI    48503‐2348
MARK A PHILLIPS & DEBRA C PHILLIPS JT TEN      1082 RIP STEELE RD                                                                              COLUMBIA        TN    38401‐7745
MARK A PICKETT                                 3778 WATERFRONT WAY                                                                             PLAINFIELD      IN    46168‐7624
MARK A POTESTA                                 3808 GATWICK DR                                                                                 TROY            MI    48083‐5173
MARK A POWELL & DONNA M POWELL JT TEN          152 3RD ST                                                                                      CHARLESTOWN     IN    47111‐1806
MARK A PUTZIER                                 3381 CELINE WAY                                                                                 GREEN BAY       WI    54311‐8917
MARK A RADER                                   1075 MEANDERING WAY                                                                             FRANKLIN        TN    37067‐4043
MARK A RAMOS                                   5499 LIBERTY BELL RD                                                                            GRAND BLANC     MI    48439‐7700
MARK A RANVILLE                                9346 VARODELL DR                                                                                DAVISON         MI    48423‐8608
MARK A RAY                                     3950 REDFERN DR                                                                                 INDIANAPOLIS    IN    46237‐1462
MARK A RESARE                                  18931 SANTA MARIA AVE                                                                           CASTRO VALLEY   CA    94546‐3138
MARK A ROAHRIG                                 PO BOX 183                                                                                      DANVILLE        IN    46122‐0183
MARK A ROHLFS                                  24469 HWY 20                                                                                    PHILOMATH       OR    97370‐9792
MARK A ROOME                                   4273 O'BRIEN RD                                                                                 VASSAR          MI    48768‐8929
MARK A RYCKMAN                                 9138 DUBLIN WAY                                                                                 DAVISON         MI    48423‐8576
MARK A SAMBOR                                  456 FOREST DR                                                                                   WEBSTER         NY    14580‐1004
MARK A SAUNDERS & ROSALIND Z SAUNDERS JT TEN   3 BROWNWELL WAY                                                                                 SOUTH           VT    05403
                                                                                                                                               BURLINGTON
MARK A SCHILDWASTER                            60 OAK ST                                                                                       BATAVIA         NY    14020‐1934
MARK A SCHIMLEY                                252 FAREWAY LANE                                                                                GRAND ISLAND    NY    14072‐2551
MARK A SCHMIDT                                 6439 WAILEA DR                                                                                  GRAND BLANC     MI    48439‐8597
MARK A SCHNELL                                 2658 PARAMOUNT CIRCLE                                                                           WESTFIELD       IN    46074
MARK A SCHNELL                                 2658 PARAMOUNT CIRCLE                                                                           WESTFIELD       IN    46074
MARK A SCHWARCK                                5225 HOSPITAL RD                                                                                SAGINAW         MI    48603‐9626
MARK A SCOLARO                                 PO BOX 1418                                                                                     SARASOTA        FL    34230‐1418
MARK A SCOTT                                   12972 FESSNER RD                                                                                CARLETON        MI    48117‐9249
MARK A SERRANO & JOYCE A SERRANO JT TEN        500 S PALM AVE 32                                                                               SARASOTA        FL    34236
MARK A SEWELL                                  7 HARDING ROAD                                                                                  LEOMA           TN    38468‐5152
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Name                                             Address1                             Address2             Address3          Address4          City            State Zip

MARK A SHAW                                      2706 EVERGREEN                                                                                BAY CITY        MI    48706‐6313
MARK A SHOLES                                    1093 N ELVA ROAD                                                                              LAPEER          MI    48446
MARK A SICKLES                                   10020 BATH RD                                                                                 LAINGSBURG      MI    48848‐9310
MARK A SIMARD                                    116 LANCASTER AVE                                                                             MANCHESTER      NH    03103‐6472
MARK A SIME                                      2818 QUEBEC LA                                                                                JANESVILLE      WI    53545‐0630
MARK A SKARICH & NANCY G SKARICH JT TEN          246 TURKEY VALLEY                                                                             KERRVILLE       TX    78028‐2082
MARK A SKIPPER                                   13301 MAPLE KNOLL WAY                APT 1612                                                 OSSEO           MN    55369‐5039
MARK A SLEDZINSKI                                8044 KALTZ ST                                                                                 CENTER LINE     MI    48015‐1335
MARK A SMITH                                     827 WESTGATE DR                                                                               ANDERSON        IN    46012‐9246
MARK A SPANGENBERG                               5221 SOUTH 44TH STREET                                                                        GREENFIELD      WI    53220‐5128
MARK A SPANGENBERG & MARCIANN SPANGENBERG JT 5221 S 44TH ST                                                                                    GREENFIELD      WI    53220‐5128
TEN
MARK A SPANGENBERG & MARCIANN SPANGENBERG        5221 S 44TH ST                                                                                GREENFIELD      WI    53220‐5128
MARITAL PROPERTY
MARK A SPERBECK & MRS MARJORIE H SPERBECK JT TEN 151 HIGH STREET                      PO BOX 171                                               RICHMONDVILLE   NY    12149‐0171

MARK A SPILMAN                                   ATTN G SPILMAN                       6424 E CLAIRE DR                                         SCOTTSDALE      AZ    85254‐2623
MARK A SPUSTACK & SUSAN K SPUSTACK TEN ENT       251 N MACKINAW RD                                                                             LINWOOD         MI    48634‐9444
MARK A STEWART                                   7 TORRINGTON LANE                                                                             WILLINGBORO     NJ    08046‐3609
MARK A STONEHILL                                 51769 CALEDONIAN DR                                                                           GRANGER         IN    46530‐4277
MARK A STRANG                                    3298 SCHOOL HOUSE DR                                                                          WATERFORD       MI    48329‐4331
MARK A STUCKEY                                   1026 SUMMERHILL DR                                                                            JANESVILLE      WI    53546‐3727
MARK A SYTEK                                     4413 N HENDERSON                                                                              DAVISON         MI    48423‐8401
MARK A TANNER                                    10226 HEGEL RD P O BOX 313                                                                    GOODRICH        MI    48438‐0313
MARK A TEASLEY                                   PO BOX 9047                                                                                   WESTWEGO        LA    70096
MARK A TESKA                                     13469 GREENLEAF LN                                                                            GRAND HAVEN     MI    49417‐9474
MARK A THOMAS                                    28287 DOWLAND CT                                                                              WARREN          MI    48092‐5620
MARK A THOMAS                                    2574 COSTA MESA RD                                                                            WATERFORD       MI    48329‐2429
MARK A THOMPSON                                  4535 CORKTREE RD                                                                              NAPERVILLE      IL    60564‐1121
MARK A TINKER                                    10201 N BELSAY RD                                                                             MILLINGTON      MI    48746‐9751
MARK A TIRPACK                                   8414 EAGLE VIEW DR                                                                            DURHAM          NC    27713‐6337
MARK A TOMPKINS & JENNIFER A TOMPKINS JT TEN     26 QUINCE CIRCLE                                                                              NEWTOWN         PA    18940‐9288

MARK A TRENARY                                   10651 E 700 N                                                                                 FOREST          IN    46039
MARK A TURNER                                    760 W LANSING ROAD                                                                            MORRICE         MI    48857‐9651
MARK A VELTRE                                    23205 SAGEVIEW COURT                                                                          VALENCIA        CA    91354
MARK A VERBURG                                   64834 CR 652                                                                                  MATTAWAN        MI    49071‐9537
MARK A VOGEL                                     1071 PELHAM                                                                                   WATERFORD       MI    48328‐4262
MARK A VOLPONI                                   215 WINDHAM LANE                                                                              MARS            PA    16046
MARK A WAGNER                                    3677 BONNIE LN                                                                                HAMBURG         NY    14075‐6323
MARK A WAJER                                     1372 CAMERON RD                                                                               CARO            MI    48723‐8710
MARK A WALKER                                    1832 RIVERVIEW DR                                                                             JANESVILLE      WI    53546‐5385
MARK A WALTERS                                   6383 FENTON RD                                                                                FLINT           MI    48507‐4754
MARK A WARNER                                    PO BOX 12312                                                                                  LANSING         MI    48901‐2312
MARK A WEBB                                      14143 N STATE RD                                                                              OTISVILLE       MI    48463‐9712
MARK A WHITE                                     12205 GOSHEN RD LOT 67A                                                                       SALEM           OH    44460
MARK A WIELOCK                                   8210 UPTON RD                                                                                 LAINGSBURG      MI    48848‐9782
MARK A WILDMAN & MICKALEEN L WILDMAN JT TEN      22532 BOWSHER RD                                                                              LIMA            OH    45806‐9511

MARK A WILLETT                                   4909 AMBERWOOD CT                                                                             MIDLAND         MI    48640‐7428
MARK A WILLIAMS                                  691 EAST WEISHEIMER RD                                                                        COLUMBUS        OH    43214‐2230
MARK A WILUTIS                                   3183 EDEN TRL                                                                                 BRIGHTON        MI    48114‐9185
MARK A WIRTH                                     6139 KINGS SCEPTER RD                                                                         GRAND BLANC     MI    48439‐8601
MARK A WISE                                      ATTN SUE VAN PATTON                  12010 LANDOVER LN                                        FISHERS         IN    46038‐9548
MARK A YATES                                     5602 RADNOR ROAD                                                                              INDIANAPOLIS    IN    46226‐2316
MARK A ZAPIEN                                    6525 HOLMES RD                                                                                KANSAS CITY     MO    64131‐1149
MARK A ZIMMERMAN                                 347 TEAL DR                                                                                   REIDSVILLE      NC    27320‐6939
MARK A ZVONEK                                    5487 E RILEY RD                                                                               CORUNNA         MI    48817‐9716
MARK ADAM ROMAN                                  89 COUNTRY VILLAGE                                                                            NEW HYDE PARK   NY    11040
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Name                                            Address1                                Address2             Address3          Address4                City               State Zip

MARK AKALEWICZ CUST ANTHONY AKALEWICZ UTMA NJ 2810 4TH AVE                                                                                             TOMS RIVER         NJ    08753‐6150

MARK AKALEWICZ CUST JESSICA AKALEWICZ UTMA NJ   2810 4TH AVE                                                                                           TOMS RIVER         NJ    08753‐6150

MARK ALAN COAN & SUSAN B COAN JT TEN            430 REDPATH AVE                                                                                        MICHIGAN CITY      IN    46360‐5946
MARK ALAN HANSEN & RUTH ELLEN HANSEN JT TEN     2342 KINGSLAND DR                                                                                      DORAVILLE          GA    30360‐1440

MARK ALAN HOSEA CUST MARK BRENT HOSEA UGMA        2660 PINE LAKE RD                                                                                    ORCHARD LAKE LLS MI      48324‐1939
MI
MARK ALAN KAHLER                                  6109 ETERNAL OCEAN PL                                                                                CLARKSVILLE        MD    21029‐2910
MARK ALAN KEARNS                                  34 ILLINOIS AVE                                                                                      YOUNGSTOWN         OH    44505‐2815
MARK ALAN ROTHWELL & TAMMY JEANNE ROTHWELL 2270 MAJOR LANE                                                                                             DAVISON            MI    48423
JT TEN
MARK ALAN WALKER CUST ANDREW S WALKER UGMA 115 CENTRAL PARK W                                                                                          NEW YORK           NY    10023‐4153
NY
MARK ALAN ZIMMERMAN                               2432 FULTON AVE                                                                                      DAVENPORT          IA    52803‐3721
MARK ALBERT GROBE                                 607 LOGAN ST SE                                                                                      FORT PAINE         AL    35967‐1972
MARK ALCORN CUST JACOB ALCORN UTMA CO             5441 W 25 TH ST                                                                                      GREELEY            CO    80634‐4507
MARK ALFRED REDENBACH                             161 BRENTWOOD DR                                                                                     N TONAWANDA        NY    14120‐4820
MARK ALLAN CHAMBERS                               1121 SAINT AUGUSTINE RD                                                                              DAYTONA BEACH      FL    32114‐5716
MARK ALLAN SHULMAN TR ALICE ANNE SHULMAN UA 300 CENTRAL PARK WEST APT 4J                                                                               NEW YORK           NY    10024‐1513
7/7/60
MARK ALLAN SHULMAN TR SARAH REBECCA SHULMAN 93 MANOR RD                                 CHICQWELL ESSEX                        IG7 5PN GREAT BRITAIN
UA 7/7/60
MARK ALLEN DECKER                                 610 M ST NE                                                                                          WASHINGTON DC      DC    20002‐3426
MARK ALLEN KUSHNIR                                4 MILLER DRIVE                                                                                       STONY POINT        NY    10980‐1204
MARK ALLEN STOLT                                  519 NORTH HILLSIDE AVE                                                                               ORLANDO            FL    32803‐4907
MARK ALLEN WHITE                                  3230 WINDMOOR                                                                                        KATY               TX    77449‐6610
MARK ALLEN WIEDER                                 383 SKI TRL                                                                                          KINNELON           NJ    07405‐2247
MARK ALLISON CUST BRYAN ALLISON UGMA CA           262 E BLUE MOUNTAIN WAY                                                                              CLAREMONT          CA    91711‐2825
MARK ALLISON GRIFFITH & DOREEN LYNNAE GRIFFITH JT 79 BRONX ST                                                                                          JOHNSTOWN          PA    15905
TEN
MARK ALVA NESSMITH                                8887 SW GALARDIA CT                                                                                  STUART             FL    34997‐4207
MARK ALVIN FOWL                                   7227 W AURORA DR                                                                                     GLENDALE           AZ    85308‐9558
MARK ANDERSON 3RD                                 2068 MYRTLEWOOD DR                                                                                   MONTGOMERY         AL    36111‐1000
MARK ANDERSON TRULUCK & DANA MARIE TRULUCK JT 5513 MAPLE LANDING DR                                                                                    ARLINGTON          TN    38002
TEN
MARK ANDREW FLESZAR                               1175 HARROW CIRCLE                                                                                   BLOOMFIELD HILLS   MI    48304‐3922

MARK ANDREW HEITNER                             418 CORBETT AVE                                                                                        SAN FRANCISCO      CA    94114
MARK ANDREW LAWYER                              11479 SNYDER DR                                                                                        FRISCO             TX    75035‐8886
MARK ANDREW LOGAN                               33027 3RD ST                            MISSION BC                             V2V 1N6 CANADA
MARK ANDREW LOGAN                               33027 3RD AVE                           MISSION BC                             V2V 1N6 CANADA
MARK ANDREW OBERGFOLL                           135 NOVA ALBION WAY 24                                                                                 SAN RAFAEL         CA    94903
MARK ANDREW PRICE                               11635 N FOREST HILLS DRIVE                                                                             PARKER             CO    80138‐8106
MARK ANDREW ROSSIO                              4806 W BERTHA STREET                                                                                   INDIANAPOLIS       IN    46241‐0710
MARK ANDREW SCOGIN                              801 MONMOUTH RD                                                                                        TUSCALOOSA         AL    35406‐1634
MARK ANGELO SINICROPI                           1401 W HIGHWAY 50                       LOT 174                                                        CLERMONT           FL    34711‐2069
MARK ANTHONY CLARK CUST ERIC ANTHONY CLARK      3741 IVANHOE                                                                                           FLINT              MI    48506‐4213
UGMA MI
MARK ANTHONY TREE                               125 W MILFORD ST                                                                                       MOUNT UNION        PA    17066‐1920
MARK ANTONIOTTI                                 12 SAVERY LN                                                                                           PLYMOUTH           MA    02360‐4418
MARK ARCHIBALD                                  8150 BURLEIGH RD                                                                                       GRAND BLANC        MI    48439‐9750
MARK ARNOLD GARRETT                             PO BOX 36139                                                                                           RICHMOND           VA    23235‐8002
MARK ARNOLD NORDSTROM                           27 HEDGEFIELD CT                                                                                       ORANGE             CT    06477‐2226
MARK ARON                                       3620 NW FILLMORE AVE                                                                                   CORVALLIS          OR    97330‐6545
MARK ARTHUR DAVIS                               612 WAYLAND                                                                                            EAST LANSING       MI    48823‐3759
MARK ARTHUR KING                                PO BOX 690                                                                                             HAMILTON           MA    01936‐0690
MARK ASADA                                      120 OLD DEERFIELD PIKE                                                                                 BRIDGETON          NJ    08302‐3703
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Name                                           Address1                              Address2             Address3          Address4          City               State Zip

MARK AVIGNE CUST BRYON AVIGNE UTMA MA          14 HINMAN ST                                                                                   FISKDALE           MA    01518‐1246
MARK AXLER                                     77 OAKWOOD DR                                                                                  LONGMEADOW         MA    01106‐1523
MARK AZIZ                                      88 BEECH LANE                                                                                  EDISON             NJ    08820‐3678
MARK AZZOPARDI                                 2331 BROOKRIDGE                                                                                TOLEDO             OH    43613‐1503
MARK B BRONSON                                 234 S GALE DR APT 101                                                                          BEVERLY HILLS      CA    90211‐3496
MARK B COWLES II & TINA M COWLES JT TEN        1023 STONY HILL RD                                                                             WILBRAHAM          MA    01095‐2251
MARK B ERICKSON VOLUNTARY ADM UW FLORENCE      5477 UPPER MOUNTAIN RD                                                                         LOCKPORT           NY    14094
CARLSON
MARK B GOLDEN                                  619 SHUE DR                                                                                    NEWARK             DE    19713‐1749
MARK B GOTTLEBER                               7080 MELBOURNE RD                                                                              SAGINAW            MI    48604‐9241
MARK B HARDENBURG                              2681 S SANTA ANNA ST                                                                           CHANDLER           AZ    85248‐2908
MARK B HARVEY CUST MASON H HARVEY UTMA UT      58 CHELSEY LANE                                                                                DURANGO            CO    81301

MARK B HODEL                                   609 ST MARY                                                                                    ROANOKE          IL      61561‐7805
MARK B JOHNSEN                                 9138 LYNISS DRIVE                                                                              WALLED LAKE      MI      48390‐1735
MARK B KLOEKER                                 2097 CLAREGLEN DR                     UNIT #201                                                CRESCENT SPRINGS KY      41017‐2185

MARK B MELDRUM                                 12120 DURKEE RD                                                                                GRAFTON          OH      44044‐9501
MARK B MENSCHER                                20 LANGLEY PLACE                                                                               COLORADO SPRINGS CO      80906‐7998

MARK B MULLING                                 2381 ROBINSON RD NE                                                                            MARIETTA           GA    30068‐2247
MARK B OSBORN                                  1013 MACDONALD AVE                                                                             FLINT              MI    48507‐2882
MARK B PERRY                                   PO BOX 393                                                                                     MOUNT PLEASANT     MI    48804‐0393

MARK B ROSE                                    123 MARK TWAIN COURT                                                                           DAYTON             OH    45414‐3762
MARK B SWANSON JR                              10154 MEADOW LN                                                                                PICKNEY            MI    48169‐8103
MARK B TROLLINGER                              2407 OLD LEXINGTON RD                                                                          ASHEBORO           NC    27205‐2578
MARK B WEED                                    2720 ATLANTIC ST                                                                               MERCED             CA    95340‐8510
MARK B WEIDEMAN                                6695 DANDISON                                                                                  W BLOOMFIELD       MI    48324‐2813
MARK B WELLS TR MARLIN TRUST UA12/12/97        127 CHAMISA                                                                                    LOS ALAMOS         NM    87544‐2411
MARK B WHITTON                                 1812 N 1450 E                                                                                  PROVO              UT    84604‐5760
MARK B WICKMAN MD PA PROFIT SHARING PLAN DTD   888 NE 126 STREET SUITE 100                                                                    NORTH MIAMI        FL    33161‐4964
09‐01‐82
MARK BACHMANN                                  17 DAVIS RD                                                                                    SPARTA             NJ    07871‐3302
MARK BAKER                                     1212 W WINDEMERE                                                                               ROYAL OAK          MI    48073‐5217
MARK BALDENEGRO                                631 N 100TH PL                                                                                 MESA               AZ    85207
MARK BALDWIN & MARY JO BALDWIN JT TEN          BOX 174                                                                                        GOODRICH           MI    48438‐0174
MARK BASMAJIAN                                 17 OLD KNIFE CT                                                                                MIDDLE RIVER       MD    21220‐3647
MARK BAUER & MARJORIE BAUER JT TEN             21 ASHMONT ROAD                                                                                WABAN              MA    02468‐1202
MARK BELZOWSKI                                 655 SECOND ST SE                                                                               NAPLES             FL    34117‐9367
MARK BENJAMIN RICHMAN                          2029 RAYNER RD                                                                                 SAINT LOUIS        MO    63122
MARK BENNETT                                   826 S LANGLEY AVE                     UNIT 206                                                 TUCSON             AZ    85710‐4813
MARK BENNETT FELIX                             23 IRIS CIRCLE                                                                                 MANALAPAN          NJ    07726‐2863
MARK BENTON MANSON                             1331 E THISTLE LANDING DR                                                                      PHOENIX            AZ    85048‐6225
MARK BERNARDINI                                1421 LA PERLA                                                                                  LONG BEACH         CA    90815
MARK BERRYMAN CUST JILL BERRYMAN UTMA WI       3330 SHADY FOREST LANE                                                                         WISCONSIN RAPIDS   WI    54494‐7497

MARK BETKOUSKI                                 5132 WHITSETT                                                                                  NORTH              CA    91607‐3016
                                                                                                                                              HOLLYWOOD
MARK BEVARD CUST JOSEPH BEVARD UTMA NC        2105 MARGARET DR                                                                                MOUNT AIRY         NC    27030
MARK BINSFIELD                                1839 CHEROKEE AVE                                                                               LA CROSSE          WI    54603‐1510
MARK BIRNEY & MRS SUSAN BIRNEY JT TEN         2285 LINSTONE LN                                                                                GRAYSON            GA    30017‐1521
MARK BITTMAN                                  2018 WALBURG RD                                                                                 BURLINGTON         WI    53105‐8606
MARK BLUMENBAUM & M CHERYL BLUMENBAUM JT      21 ROCKLAND ST                                                                                  NARRAGANSETT       RI    02882‐3619
TEN
MARK BOHLING                                  510 PETERSBURG PL                                                                               WENTZVILLE         MO    63385‐3619
MARK BOTTEON                                  709 MADISON AVE                                                                                 HIGHLAND PARK      NJ    08904‐2709
MARK BOYCHUK CUST ALEXANDRA L BOYCHUK UTMA FL 3369 COUNTRY LANE                                                                               GAINESVILLE        GA    30506‐3702
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MARK BOYCHUK CUST PETER STANLEY BOYCHUK UTMA   3369 COUNTRY LANE                                                                                GAINESVILLE      GA    30506‐3702
GA
MARK BRAGER CUST BRYAN BRAGER UTMA NY          5701 AMBOY RD                                                                                    STATEN ISLAND    NY    10309‐3103
MARK BREEDERLAND                               9483 E HARBOR HILLS DR                                                                           TRAVERSE CITY    MI    49684‐5315
MARK BRETT FRANZMANN                           323 WOOTEN CIR                                                                                   STILLWATER       OK    74074‐7439
MARK BRIAN TOM                                 864 W ALAMO                                                                                      CHANDLER         AZ    85224‐1921
MARK BRIGANDE                                  280 GUYON AVE                                                                                    STATEN ISLAND    NY    10306‐4151
MARK BRODY                                     212 SUMMIT DR                                                                                    GREENVILLE       SC    29609
MARK BRODY & CHARLES BRODY JT TEN              2004 MONTCLAIR CIRCLE                                                                            WALNUT CREEK     CA    94596‐3026
MARK BROOKS & EILEEN BROOKS JT TEN             189 MILDERED CIRCLE                                                                              CONCORD          MA    01742‐3719
MARK BROWN                                     36 BLANTYRE AVE                                                                                  CENTERVILLE      MA    02632‐3016
MARK BROWN CUST BRIGETTE JOHNSON UGMA MI       55 E LONG LAKE RD #303                                                                           TROY             MI    48085‐4738

MARK BRYANT                                    6111 E BRISTOL RD                                                                                BURTON           MI    48519‐1738
MARK BUEHLER                                   PO BOX 400                                                                                       BOTKINS          OH    45306‐0400
MARK BURGER TOD MARY BETH BURGER               4034 W 163RD ST                                                                                  CLEVELAND        OH    44135
MARK BURNSIDE                                  7614 SWEETBRIAR RD                                                                               HENRICO          VA    23229‐6620
MARK C ARONOFF & DULCE S ARONOFF JT TEN        960 PORPOISE RD                                                                                  VENICE           FL    34293‐6135
MARK C AYARS                                   80 KILBURN ST                                                                                    LUNENBURG        MA    01462‐1626
MARK C BANDURSKI                               14 LA SALLE AVE                                                                                  CLIFTON          NJ    07013‐2912
MARK C BARRY                                   210 NORRIS RD                                                                                    HELENA           MT    59602‐9483
MARK C BENDER                                  300 MORRISON RD                                                                                  CLEARFIELD       PA    16830
MARK C BLAIR                                   3980 PERRYVILLE RD                                                                               ORTONVILLE       MI    48462‐8412
MARK C BRINEGAR                                2100 SW COUNTY LINE RD                                                                           LEES SUMMIT      MO    64082‐3709
MARK C CAMPOS                                  1649 HAVENWOOD DR                                                                                OCEANSIDE        CA    92056‐2950
MARK C CLAWSON                                 1507 W GULL LAKE DRIVE                                                                           RICHLAND         MI    49083‐9322
MARK C COZART                                  BOX 715                                                                                          NORRIS CITY      IL    62869‐0715
MARK C DE SHON & CHERYL M DE SHON JT TEN       13204 EL MONTE                                                                                   LEAWOOD          KS    66209‐4169
MARK C DONNELL                                 2222 CUMINGS                                                                                     FLINT            MI    48503‐3516
MARK C EDMUNDS                                 4036 TRAIL RIDGE DR                                                                              FRANKLIN         TN    37067‐4056
MARK C FEALLOCK                                1756 CAMBRIA CT                                                                                  SAN JACINTO      CA    92583‐2301
MARK C FOSMOEN                                 354 E 91ST ST                           APT 901                                                  NEW YORK         NY    10128‐0087
MARK C FREER                                   40041 BLUFF COURT                                                                                PALMDALE         CA    93551
MARK C GOODMAN & JOAN GOODMAN JT TEN           5131 SOUTH BLACKSTONE                                                                            CHICAGO          IL    60615‐4103
MARK C HAMBLIN                                 210 ALDERSON RD                                                                                  WASHINGTON       NC    27889‐3204
MARK C HANNIBAL                                16000 ASHWORTH AVE N                                                                             SHORELINE        WA    98133‐5700
MARK C HANSEN                                  3354 ELLWOOD AVE                                                                                 ROYAL OAK        MI    48073‐6519
MARK C HARDING                                 2700 WEST MAIN ST RD                                                                             CORFU            NY    14036
MARK C HAVER                                   3151 MCLAWS ROAD                                                                                 HOLBROOK         AZ    86025
MARK C HERITAGE JR                             7 FAIRFIELD AVE                                                                                  PENNSVILLE       NJ    08070‐1605
MARK C HOLLAND                                 12809 48TH AVENUE N E                                                                            MARYSVILLE       WA    98271‐8668
MARK C HOUSER                                  10000 E 84TH ST                                                                                  RAYTOWN          MO    64138‐3418
MARK C HOWARD                                  15385 WINCHESTER CIR                                                                             GRAND HAVEN      MI    49417‐8312
MARK C JOHNSON                                 PO BOX 93                                                                                        NORTH SUTTON     NH    03260‐0093
MARK C JUSTICE                                 2638 JEFFERSON ESTATES CT                                                                        BLACKLICK        OH    43004
MARK C KAYSER                                  4505 POLARIS DR                                                                                  CHAPEL HILL      TN    37034‐2463
MARK C KNORR                                   225 DENMAN RD                                                                                    CRANFORD         NJ    07016‐2958
MARK C KUNEN                                   2443 CAMELOT RD                         VICTORIA BC                            V8N 1J3 CANADA
MARK C LAMB                                    3100 SHERWOOD DRIVE                                                                              KOKOMO           IN    46902‐4597
MARK C LEE                                     3207 OAK FOREST COURT                                                                            SAN ANGELO       TX    76904‐6017
MARK C LUSCOMB                                 5917 MABLEY HILL                                                                                 FENTON           MI    48430‐9418
MARK C MASON                                   430 CEDARWOOD CT                                                                                 FLUSHING         MI    48433‐1855
MARK C MCKINLEY                                2311 CEDAR SPRINGS RD                   STE 405                                                  DALLAS           TX    75201‐7867
MARK C MEHALKO                                 9503 ASPEN VIEW                                                                                  GRAND BLANC      MI    48439‐8037
MARK C MELTON                                  4265 MEEK RD                                                                                     POWDER SPRINGS   GA    30127‐1674

MARK C MOORE                                   4497 MAPLE CREEK DR                                                                              GRAND BLANC      MI    48439‐9054
MARK C MORDINO                                 1960 SAN VICENTE AVE                                                                             LONG BEACH       CA    90815‐3255
MARK C PARKER                                  1210 KNIGHT ST                                                                                   FLINT            MI    48503‐6705
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Name                                          Address1                            Address2             Address3          Address4                    City             State Zip

MARK C PARSONS                                 3849 US ROUTE 422                                                                                     SOUTHINGTON      OH    44470‐9504
MARK C PARSONS & MONA L PARSONS JT TEN         12480 COCHRAN RD                                                                                      MOUNT VERNON     OH    43050
MARK C PORTER & THERESA R PORTER JT TEN        PO BOX 359                         116 CEDAR STREET                                                   NEW HAVEN        WV    25265
MARK C PUSEY                                   123 N VAN RD                                                                                          HOLLY            MI    48442
MARK C RADKA                                   2120 N GRAHAM                                                                                         FREELAND         MI    48623‐8874
MARK C REUTER                                  1 OCONNOR COURT                                                                                       MONTROSE         NY    10548‐1508
MARK C ROACH & PRABHA SADASIVAN JT TEN         359 MCALLISTER DR                                                                                     BENICIA          CA    94510‐3950
MARK C ROZANSKI                                186 WIMPOLE                                                                                           ROCHESTER HLS    MI    48309‐2146
MARK C SCAFIDI                                 403 SEVILLE LANE                                                                                      WALNUT CREEK     CA    94598‐2637
MARK C SCHAAPVELD                              11502 N BRYANT RD                                                                                     FORT ATKINSON    WI    53538‐9214
MARK C SCHEPLER                                3303 N KREPPS ROAD                                                                                    ST JOHNS         MI    48879‐8025
MARK C SHINABERRY                              14922 MARKESE                                                                                         ALLEN PARK       MI    48101‐1811
MARK C THOMPSON                                5609 WHITBY RD                                                                                        BALTIMORE        MD    21206‐2920
MARK C WHITE                                   23219 KOTHS ST                                                                                        TAYLOR           MI    48180‐3537
MARK C WIDDOWS                                 50 CIRCLE DRIVE                                                                                       DELMONT          PA    15626‐1252
MARK C WILLIAMS                                2507 PLAINFIELD AVE                                                                                   FLINT            MI    48506‐1862
MARK C WILLIS                                  PO BOX 7005                                                                                           FREDERICKSBURG   VA    22404‐7005
MARK C WORTH                                   1103 WILLOW AVE                                                                                       BELLEVUE         NE    68005
MARK CABLE                                     312 RIVERBAN                                                                                          WYANDOTTE        MI    48192‐2669
MARK CAMPANA & SUZANNE CAMPANA & RONALD        2148A MARKET ST                                                                                       SAN FRANCISCO    CA    94114‐1319
CAMPANA JT TEN
MARK CANAVAN & COLLEEN A CANAVAN JT TEN        2203 CABLE ST                                                                                         OGILVIE          MN    56358
MARK CAPALBO                                   35 WARREN AVE                                                                                         TARRYTOWN        NY    10591‐3020
MARK CARNAHAN                                  618 PERKINSWOOD NE                                                                                    WARREN           OH    44483‐4410
MARK CARTIER & KIMBERLY ANN CARTIER JT TEN     133 MEADOW STONE DR                                                                                   UNICOI           TN    37692‐6623
MARK CHARLES RODRIGUEZ & CYNTHIA LEE RODRIGUEZ 15 HAVENFIELD DR                                                                                      BALTIMORE        MD    21234‐1342
JT TEN
MARK CHRISTOPHER LYSAGHT & VICKI VIRGINIA RUTH 47815 KITTAMAQUUND LANE                                                                               LEXINGTON PARK   MD    20653
LYSAGHT JT TEN
MARK CHRISTOPHER SCHERBA                       164 CHEROKEE RD                                                                                       HENDERSONVLLE    TN    37075‐3756
MARK CHYNOWETH CUST CARSON CHYNOWETH UTMA 52123 DEFEVER                                                                                              CHESTERFIELD     MI    48047‐4565
MI                                                                                                                                                   TWNSH
MARK CIESLAK                                   14028 GOLDEN ARROW CT                                                                                 SHELBY TWP       MI    48315‐2015
MARK CIONI                                     807 ULYSSES DR                                                                                        BALLSTON SPA     NY    12020‐4601
MARK CLARK                                     5448 TORREY RD                                                                                        FLINT            MI    48507‐3812
MARK CONSTANTINE                               325 CRESCENT DR                                                                                       GREENSBURG       PA    15601‐4509
MARK COOLICAN                                  19050 SW MOBILE PL                                                                                    TUALATIN         OR    97062‐7736
MARK COVERLEY                                  HIGHAMS VICARAGE CLOSE             RAVENSDEN BEDFORD                      MK44 2RW GREAT BRITAIN
MARK CRAIG U/GDNSHP OF MARY ANN CRAIG          338 ASH STREET                                                                                        MANAWA           WI    54949‐9548
MARK D ANDERSON                                1008 THOMAS ST                                                                                        WILMINGTON       DE    19804‐2855
MARK D BAILEY CUST ANDREW J BAILEY UTMA OH     3244 PARKLANE AVE                                                                                     COLUMBUS         OH    43231‐6104
MARK D BAILEY CUST MATTHEW D BAILEY UTMA OH    3244 PARKLANE AVE                                                                                     COLUMBUS         OH    43231‐6104

MARK D BARRON                                 0‐645 DOVER                                                                                            GRAND RAPIDS     MI    49544
MARK D BERNIER                                1620 RIDGE HAVEN DR APT 616                                                                            ARLINGTON        TX    76011‐9017
MARK D BLACK                                  2900 HAVENWOOD DR                                                                                      HARRAH           OK    73045‐6427
MARK D BOLAN                                  7050 FISH LAKE RD                                                                                      HOLLY            MI    48442
MARK D CAMPBELL                               524 NORWAY LAKE ROAD                                                                                   LAPEER           MI    48446
MARK D CARPENTER                              7255 E ATHERTON RD                                                                                     DAVISON          MI    48423‐2405
MARK D CARROLL                                9015 CRESTMOOR DR                                                                                      SAINT LOUIS      MO    63126‐2905
MARK D CASTILLEJA                             3200 KARNES BLVD                                                                                       KANSAS CITY      MO    64111‐3627
MARK D CLARK                                  11569 WOODBURN ALLEN SPRINGS RD                                                                        ALVATON          KY    42122‐9516
MARK D COADY                                  2 TEN ROD RD                                                                                           VOLUNTOWN        CT    06384‐1726
MARK D CORBA                                  10091 N LINDEN RD                                                                                      CLIO             MI    48420‐8502
MARK D EDENFIELD                              21529 TULANE                                                                                           FARMINGTON HL    MI    48336‐5651
MARK D EHRHART                                PO BOX 1570                         SAINT JOHN           VIRGIN ISLANDS    VIRGIN ISLANDS OF THE USA

MARK D ELLERBROCK                             5736 BREEZE BAY DR                                                                                     SYLVANIA         OH    43560
MARK D EREHART                                9310 GRAY AVE                                                                                          UNIONVILLE       IN    47468‐9300
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Name                                           Address1                               Address2             Address3          Address4          City              State Zip

MARK D FELLOWS                                 14289 BOURGEOIS WAY                                                                             SAN DIEGO         CA    92129‐4337
MARK D FERGUSON                                10628 OAK GATE LANE                                                                             FRONTENAC         MO    63131
MARK D FERGUSON & WALTRAUD INGEBORG            0N508 WEST WEAVER CIRCLE                                                                        GENEVA            IL    60134
FERGUSON JT TEN
MARK D FINCH                                   12967 KELLEY ROAD                                                                               BROOKLYN          MI    49230‐9773
MARK D FOSTER                                  2568 HOLIDAY DR                                                                                 HARRISON          AR    72601‐6452
MARK D FRECH                                   209 BARKWOOD TRAILS DR                                                                          ST PETERS         MO    63376‐6659
MARK D GLASTETTER                              215 SHUNPIKE RD                                                                                 SLOANSVILLE       NY    12160‐2905
MARK D GRADISON                                12162 TALON TRCE                                                                                FISHERS           IN    46038‐4063
MARK D GRONYCH                                 2120 ISLAND DR                                                                                  MORRIS            IL    60450‐9619
MARK D GRUETZMACHER                            1508 BENNETT                                                                                    JANESVILLE        WI    53545‐1924
MARK D HEMINGWAY                               5432 WILSON RD                                                                                  COLUBIAVILLE      MI    48421‐8937
MARK D HOLLIS                                  10260 SHACH CREEK RD                                                                            EXCELSIOR SPR     MO    64024‐5353
MARK D HOUGHTON                                7338 E SPICERVILLE HWY                                                                          EATON RAPIDS      MI    48827‐9050
MARK D HOWD                                    PO BOX 89                                                                                       GAINES            MI    48436‐0089
MARK D HULL                                    C/O RICHARD HOCHREITER                 PO BOX 707                                               PENFIELD          NY    14526
MARK D IBOLD                                   PO BOX 1784                                                                                     STUYVESANT        NY    10009‐8910
                                                                                                                                               STATION
MARK D JAVORSKY                                1763 CHERRY LANE                                                                                HUBBARD           OH    44425‐3013
MARK D JONES                                   11816 DAVISBURG RD                                                                              DAVISBURG         MI    48350‐2628
MARK D KELLER                                  7213 KESSLING ST                                                                                DAVISON           MI    48423‐2447
MARK D KOCH                                    187 W ADAMS ST                                                                                  ELMHURST          IL    60126‐4802
MARK D KOCI                                    601 TASKER ST                                                                                   RIDLEY PARK       PA    19078‐3626
MARK D KOTZIAN                                 712 W SECOND STREET                                                                             DAVISON           MI    48423‐1370
MARK D KUENNING CUST LAURA M KUENNING UTMA     8035 REMINGTON RD                                                                               CINCINNATI        OH    45242‐7225
OH
MARK D KUENNING CUST MICHAEL ROBERT KUENNING   8035 REMINGTON RD                                                                               CINCINNATI        OH    45242‐7225
UTMA OH
MARK D LAISURE                                 1492 N WAGNER ROAD                                                                              ESSEXVILLE        MI    48732‐9698
MARK D LOCKIE & MAUREEN C LOCKIE JT TEN        PO BOX 246                                                                                      WYANDOTTE         MI    48192‐0246
MARK D LOOMIS                                  G‐3352 TUXEDO AVENUE                                                                            FLINT             MI    48507‐3360
MARK D MAC IVER                                1508 N STATE ST                                                                                 BIG RAPIDS        MI    49307‐9749
MARK D MACIVER                                 C/O BANK BOSTON                        1508 N STATE                                             BIG RAPIDS        MI    49307‐9749
MARK D MACIVER CUST ANDREW MACIVER UGMA MI     20747 MADISON RD                                                                                BIG RAPIDS        MI    49307

MARK D MAGANA                                  PO BOX 235                                                                                      GLORIETA          NM    87535
MARK D MAHAFFY                                 2818 STONEY CREEK ROAD                                                                          OAKLAND           MI    48363‐2058
MARK D MAIER                                   555 CANTERBURY RD                                                                               BAY VILLAGE       OH    44140‐2409
MARK D MAKOWSKI                                402 RIVERVIEW AVE                                                                               NORTH ARLINGTON   NJ    07031‐5141

MARK D MALECKI                                 1909 S GRANT ST                                                                                 BAY CITY          MI    48708‐3810
MARK D MASE                                    110 N FEDERAL HWY 520                                                                           FT LAUDERDALE     FL    33301‐1182
MARK D MATHEWS                                 884 DURSLEY RD                                                                                  BLOOMFIELD        MI    48304‐2010
                                                                                                                                               TOWNSHI
MARK D MEYER                                   107 EMS B7 LN                                                                                   LEESBURG          IN    46538
MARK D MILLAR                                  6171 IDLEWYLE                                                                                   BLOOMFIELD        MI    48301‐1452
MARK D MURPHY                                  427 WALNUT STREET                                                                               MT MORRIS         MI    48458‐1950
MARK D MURPHY & TERESA ANN MURPHY JT TEN       427 WALNUT                                                                                      MT MORRIS         MI    48458‐1950
MARK D NEMESH                                  264 HARRINGTON DR                                                                               TROY              MI    48098‐3026
MARK D POWERS                                  471 GUM BRANCH RD                                                                               BURNS             TN    37029‐5104
MARK D POWLEY                                  4704 JEAN MARIE DRIVE                                                                           FT WASHINGTON     MD    20744‐1115
MARK D PROBEN                                  4486 CORDLEY LK RD BOX 672                                                                      LAKELAND          MI    48143‐0672
MARK D PRUCELL                                 4490 PATRICK                                                                                    WEST BLOOMFIELD   MI    48322‐1661

MARK D RANDOL                                  11509 SADDLE MOUNTAIN TRAIL                                                                     AUSTIN            TX    78739‐5714
MARK D RANKIN                                  4498 IRVINGTON NE CT                                                                            ROSWELL           GA    30075‐5722
MARK D RHODERICK                               1912 MAYFLOWER DRIVE                                                                            SILVER SPRING     MD    20905‐5561
MARK D RINALDI                                 1 AVERY CT                                                                                      WEST HARRISON     NY    10604‐1100
MARK D ROBERTSON                               2848 BRIDGESTONE CIR                                                                            KOKOMO            IN    46902
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Name                                           Address1                             Address2             Address3          Address4          City              State Zip

MARK D ROBINSON                                3710 EVELYN DR                                                                                WILMINGTON        DE    19808‐4617
MARK D ROGERS                                                                                                                                UTICA             MT    59452
MARK D ROTHROCK                                5463 E 350 N                                                                                  DANVILLE          IN    46122
MARK D ROTHROCK & JANET A ROTHROCK JT TEN      5463 E 350 N                                                                                  DANVILLE          IN    46122
MARK D RUMELY                                  PO BOX 127                                                                                    SCOTTS MILLS      OR    97375
MARK D SHANK & KAREN W SHANK JT TEN            3495 APPLE TREE DR                                                                            HARRISONBURG      VA    22802‐0264
MARK D SOBCZAK                                 1815 6TH ST                                                                                   BAY CITY          MI    48708‐6720
MARK D SOUSA                                   22686 GARRISON ST                                                                             DEARBORN          MI    48124‐2126
MARK D STEELE                                  2948 NEWTON FALL RD                                                                           NEWTON FALL       OH    44444‐9603
MARK D STEWART                                 40 COURTRIGHT LANE                                                                            ROCHESTER         NY    14624‐2237
MARK D SURLES & CYNTHIA L SURLES JT TEN        6139 SURREY LN                                                                                BURTON            MI    48519‐1315
MARK D TANNER                                  14290 WICKS RD                                                                                HILLMAN           MI    49746‐8687
MARK D TAYLOR                                  1499 KILE RD                                                                                  METAMORA          MI    48455‐8975
MARK D THOMAS                                  2169 DEER RUN DRIVE                                                                           NEW CASTLE        IN    47362‐8943
MARK D UNGER                                   651 PREBLE COUNTY LINE RD N                                                                   WEST ALEXANDRIA   OH    45381‐9715

MARK D VAN HOVEN                               7658 DEER TRACK RUN                                                                           HUDSONVILLE       MI    49426‐9753
MARK D WALDEMER                                32 MIDDLESEX DRIVE                                                                            BRENTWOOD         MO    63144‐1031
MARK D WALMA & SAM J WALMA JT TEN              2745 PORTER ST SW                                                                             WYOMING           MI    49519‐2140
MARK D WEBER & DEBORAH L WEBER JT TEN          5275 JACK MORRIS DR                                                                           WEST BRANCH       MI    48661‐9112
MARK D WEIER                                   14036 GOLDEN ARROW COURT                                                                      UTICA             MI    48315‐2015
MARK D WHITE                                   854 GRAND RIDGE AVE                  OSHAWA ON                              L1K 2M4 CANADA
MARK D WILLIAMSON                              6653 PICKETTS WY                                                                              LANSING           MI    48917‐9604
MARK D WITHEY                                  G‐6284 FENTON RD                                                                              FLINT             MI    48507
MARK D WOHLFERT                                8840 W LAKE POINTE DR                                                                         GAINGSBURG        MI    48848‐9364
MARK D WOHLFERT                                3694 S JONES RD                                                                               FOWLER            MI    48835‐9253
MARK D WOODSON                                 49378 PENINSULAR DR                                                                           BELLEVILLE        MI    48111‐4962
MARK D YAKLIN                                  28117 ALINE                                                                                   WARREN            MI    48093‐2659
MARK D'ANGELO PER REP EST FRANK J D'ANGELO     354 FOUR SEASONS DR                                                                           LAKE ORION        MI    48360
MARK D'ANGELO PER REP EST SUSANNE D'ANGELO     354 FOUR SEASONS DR                                                                           LAKE ORION        MI    48360

MARK DAMOHN                                    2710 SE 8TH AVE                                                                               OCALA             FL    34471‐5960
MARK DAVEY                                     HC 63 BOX 342                                                                                 FORT TOWSON       OK    74735
MARK DAVID LEMIERE                             4 WORCESTER SQ                       #1                                                       BOSTON            MA    02118‐2922
MARK DAVID MASS                                NORRANGAVAGEN 4A                     LUND                 SE                22477 SWEDEN
MARK DAVID MEALEY                              5 FIRST COURT                                                                                 WINDERMERE        FL    34786‐8506
MARK DAVID WILSON                              121 BARTLETT HILL                                                                             CONCORD           MA    01742‐1801
MARK DAVID WRIGHT                              PO BOX 2725                                                                                   WEAVERVILLE       NC    28787‐2725
MARK DE PLEDGE                                 1208 OLIVE ST                        APT B                                                    SANTA BARBARA     CA    93101‐1379
MARK DEAN LEUZARDER                            160 PLEASENT HILL ROAD                                                                        FLAWDERS          NJ    07836‐9186
MARK DELANY                                    6944 DAVIS RD                                                                                 HILLIARD          OH    43026‐8328
MARK DESANTIS                                  350 FARMINGTON ROAD                                                                           ROCHESTER         NY    14609‐6754
MARK DIMAURIZIO                                308 WALNUT ST                                                                                 HADDONFIELD       NJ    08033
MARK DITTAMI                                   #9 RADNOR RD                                                                                  NEWARK            DE    19713‐1817
MARK DOBROWOLSKI                               200 MOUNT PLEASANT AVE               APT O2                                                   WEST ORANGE       NJ    07052‐4043
MARK DON DELLINGER                             5853 SINGLE SPRING DRIVE                                                                      KELSEYVILLE       CA    95451‐9305
MARK DONALD KAUFMAN                            3474 LOS ANGELES AVE                                                                          WARREN            MI    48091‐4523
MARK DONOPRIA & YOSHI DONOPRIA JT TEN          5713 ENZOR STREET                                                                             PANAMA CITY       FL    32404‐8209
MARK DOUGLAS ROGERS                            6544 HICKORY ST NE                                                                            MINNEAPOLIS       MN    55432‐4233
MARK DRASTAL & GINA DRASTAL JT TEN             139 SUNSET POINT DRIVE                                                                        SEMORA            NC    27343‐9047
MARK DRUCKER                                   56 LYNACRES BLVD                                                                              FAYETTEVILLE      NY    13066‐1033
MARK DRYFOOS                                   1500 W KENNEDY ROAD                                                                           LAKE FOREST       IL    60045‐1047
MARK E ALEXANDER                               609 SIGLER STREET                                                                             FRANKTON          IN    46044
MARK E ALLEN                                   214 CREST COURT                                                                               NORMAN            OK    73071‐3025
MARK E ALTHOUSE                                42 MILLS PLACE                                                                                NEW LEBANON       OH    45345‐1429
MARK E BARCEY                                  6421 WINDHAM PLACE                                                                            GRAND BLANC       MI    48439‐8578
MARK E BASSETT                                 252 LAUREL STREET                                                                             BUFFALO           NY    14208‐2005
MARK E BENEFIEL                                729 REDWOOD LN                                                                                BLUE SPRINGS      MO    64014‐4714
MARK E BENNETT                                 986 QUAIL RU                                                                                  MITCHELL          IN    47446‐6216
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Name                                           Address1                             Address2             Address3          Address4          City             State Zip

MARK E BERENS                                  704 W WASHINGTON                                                                              O'FALLON         IL    62269‐1067
MARK E BERGREN & KAREN L BERGREN JT TEN        425 PEARSON AVE                                                                               WILLIAMSPORT     PA    17701‐3821
MARK E BINGHAM                                 4745 BAUSMAN ROAD                                                                             PIQUA            OH    45356‐8352
MARK E BISE                                    13210 GREYWOOD CIRLCE                                                                         FT MYERS         FL    33912‐1511
MARK E BOUSKA                                  4901 GALWAY DR                                                                                DUBLIN           OH    43017‐9796
MARK E BOWMAN                                  4642 BLUE MARLIN WAY                                                                          INDIANAPOLIS     IN    46239‐7926
MARK E BRENNAN                                 7394 S DOWNING CIRCLE W                                                                       LITTLETON        CO    80122‐1420
MARK E BRINER & KAREN J BRINER JT TEN          255 HILL BRIDGE ROAD                                                                          UTICA            KY    42376‐9509
MARK E BROPHY                                  110 HILLS ST                                                                                  WELLSVILLE       NY    14895‐9473
MARK E BURNS & ELAINE K BURNS JT TEN           2962 SKIPPING STONE DR                                                                        APISON           TN    37302‐7543
MARK E CAMPBELL                                2445 HONEY CREEK AVE NORTHEAST                                                                ADA              MI    49301‐9514
MARK E CANE                                    10 VERA COURT                                                                                 WICHITA FALLS    TX    76310‐3303
MARK E CHAVEZ                                  1334 S FAIRPLAIN AVE                                                                          WHITTIER         CA    90601‐1024
MARK E COFFEY                                  713 CRESCENT AVE                                                                              AU GRES          MI    48703‐9302
MARK E CORWIN & ELNOR A CORWIN JT TEN          28072 REVERE                                                                                  WARREN           MI    48092‐2412
MARK E CRITTENDON                              1251 CROSS CREEK DR                                                                           KENNEDALE        TX    76060‐6037
MARK E DEPLANCHE                               PO BOX 221                                                                                    BIG BAY          MI    49808‐0221
MARK E DOWNING                                 2123 N SAND SAGE AVE                                                                          WASHINGTON       UT    84780‐1867
MARK E DURBIN & ELLEN M DURBIN JT TEN          9516 DRURY AVE #206                                                                           KANSAS CITY      MO    64137‐1234
MARK E EATON                                   159 COUNTY RD #303                                                                            IUKA             MS    38852‐7516
MARK E EBERT                                   3045 PARK AVE                                                                                 SAINT CHARLES    MO    63301‐0743
MARK E EMINGER                                 5098 N FLYERS ROW                                                                             CLOVERDALE       IN    46120‐9361
MARK E ERNST                                   902 W 4TH ST                                                                                  SALEM            MO    65560‐1205
MARK E FAERBER & JO ANN FAERBER JT TEN         905 BRIARS BND                                                                                ALPHARETTA       GA    30004‐1180
MARK E FERRELL                                 1930 BIG WOODS RD                                                                             SEAMAN           OH    45679‐9405
MARK E FISHER                                  7717 E 500 N                                                                                  LAFAYETTE        IN    47905‐9676
MARK E FISHER                                  1461 RED OAK LANE                                                                             PORT CHARLOTTE   FL    33948‐3185
MARK E FLETCHER                                6221 ARENDT ROAD                                                                              PECK             MI    48466‐9752
MARK E FRASE                                   727 HEATHER STONE CT                                                                          LAWRENCEVILLE    GA    30043‐7618
MARK E GARFIEN                                 400 E OHIO                                                                                    CHICAGO          IL    60611‐3322
MARK E GENEI                                   3811 FROST RD                                                                                 WEBBERVILLE      MI    48892‐9283
MARK E GERSHON                                 4 CARRIAGE HOUSE COURT                                                                        CHERRY HILL      NJ    08003‐5159
MARK E GILSTRAP                                4800 SILVERBERRY LN NW                                                                        ACWORTH          GA    30102‐3559
MARK E GOETZ                                   3490 MAHLON MOORE RD                                                                          SPRING HILL      TN    37174‐2133
MARK E GRAY                                    606 WEST 10TH STREET                                                                          CHESTER          PA    19013‐4006
MARK E HAMMOND                                 21385 DONALDSON                                                                               DEARBORN         MI    48124‐3034
MARK E HASZ                                    5444 WEST SOUTHPORT RD                                                                        INDIANAPOLIS     IN    46221‐9699
MARK E HEADRICK                                1608 THOMAS DRIVE                                                                             HOSCHTON         GA    30548‐3617
MARK E HEFFKE                                  PO BOX 121                                                                                    CHIPPEWA LAKE    OH    44215‐0121
MARK E HENRY                                   397 DIVINE DR                                                                                 MARTINSBURG      WV    25401‐6147
MARK E HOLLINGER                               4425 SEXTON RD                                                                                CLEVELAND        OH    44105‐6007
MARK E HOPF                                    126 LAKEVIEW                                                                                  CHANDLER         AZ    85225
MARK E HRYCKOWIAN CUST JAMIE N HRYCKOWIAN      3526 GARRY RD                                                                                 BLISS            NY    14024
UTMA NY
MARK E HRYCKOWIAN CUST NIKOLAUS J HRYCKOWIAN   3526 GARRY RD                                                                                 BLISS            NY    14024
UTMA NY
MARK E HUBBS                                   649 CHERRYBLOSSOM                                                                             WEST CARROLLT    OH    45449‐1623
MARK E JEFFREY                                 SANDY COVE NS                                                               B0V 1E0 CANADA
MARK E JEFFREY                                 SANDY COVE                           DIGBY COUNTY NS                        B0V 1E0 CANADA
MARK E JEFFREY                                 GD                                   SANDY COVE NS                          B0V 1E0 CANADA
MARK E JENKINS                                 #2 OAKRIDGE DRIVE                                                                             N DARTMOUTH      MA    02747‐1347
MARK E JOHNSON                                 2786 STERLING WAY                                                                             CAMERON PARK     CA    95682‐9241
MARK E JOLEY                                   430 ROUTE US 9 S                     LOT 62                                                   MARMORA          NJ    08223‐1277
MARK E JOLLY                                   3024 E STROOP RD                                                                              KETTERING        OH    45440‐1336
MARK E JONES & RUSSELL G JONES JT TEN          4014 BENT WILLOW DR SW                                                                        LILBURN          GA    30047‐3351
MARK E KACZOR CUST ASHLEY E KACZOR UTMA NY     998 THOMAS FOX DR EAST                                                                        NORTH            NY    14120‐2936
                                                                                                                                             TONAWANDA
MARK E KAMER                                   853 OAK SW                                                                                    WARREN           OH    44485‐3625
MARK E KIRKELIE                                3637 STONE CREEK DR                                                                           SPRING HILL      TN    37174‐2198
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MARK E KONOPACKI                                2131 ARBOR HILLS RD                                                                            JACKSON            MI    49201‐8988
MARK E KOSANOVICH                               2526 S CALUMET AVE                                                                             CHICAGO            IL    60616‐2439
MARK E KUYAWA                                   18 HORBOUR ISLE DR WEST 103                                                                    HUTCHINSON IS      FL    34949
MARK E LAUTH                                    14008 LENMORE AVE                                                                              BELLEVILLE         MI    48111‐2889
MARK E LENZ CUST JAMIE ELIZABETH LENZ UTMA NC   103 JOHN GLENN DR                                                                              RINCON             GA    31326‐5008

MARK E LOGAN                                    315 CRYSTAL TRAIL CT                                                                           WENTZVILLE         MO    63385‐3765
MARK E LYDECKER                                 5 THOMAS DR                                                                                    HACKETTSTOWN       NJ    07840‐4808
MARK E MALIN                                    2430 SALEM CHURCH RD                                                                           BEE SPRING         KY    42207‐9340
MARK E MARSCHALL                                22683 CLEARWATER CT                   APT 106                                                  NOVI               MI    48375‐4651
MARK E MARTICH & JOCELYN MARTICH JT TEN         5016 WARM SPRINGS POINT                                                                        GREENSBORO         NC    27455
MARK E MATSON                                   5337 HILLTOP TRL                                                                               PERRY              MI    48872‐9169
MARK E MCFARLAND                                PO BOX 1489                                                                                    BETHANY            OK    73008‐1489
MARK E MCGINNIS                                 8254 SASHABAW RIDGE DRIVE                                                                      CLARKSTON          MI    48348‐2946
MARK E MCINTYRE                                 7469 N IONIA RD                                                                                VERMONTVILLE       MI    49096‐9768
MARK E MENTZER                                  840 MONROE ST                         APT 206                                                  ANNAPOLIS          MD    21403‐1784
MARK E MEYERSON                                 5150 GOODLAND AVE                                                                              VALLEY VILLAGE     CA    91607‐2916
MARK E MILES                                    38368 RIVER PARK DRIVE                                                                         STERLING HEIGHTS   MI    48313‐5774

MARK E MILES & GERALYN G MILES JT TEN           38368 RIVER PARK DR                                                                            STERLING HEIGHTS   MI    48313‐5774

MARK E MILLER                                   7768 CHAD HEIGHTS LN                                                                           MIDVALE            UT    84047‐5702
MARK E MITCHELL                                 1311 STAMFORD                                                                                  KALAMAZOO          MI    49001‐1413
MARK E MORAN                                    903 STONY LAKE CT                                                                              OXFORD             MI    48371‐6738
MARK E MUSICK                                   PO BOX 575                                                                                     PLAINFIELD         IN    46168‐0575
MARK E NEWMAN                                   8421 NASHVILLE HWY                                                                             VERMONTVILLE       MI    49096‐9539
MARK E NEWMAN                                   40 BRADFORD AVENUE                                                                             MONTCLAIR          NJ    07043‐1025
MARK E NEWMAN                                   40 BRADFORD AV                                                                                 MONTCLAIR          NJ    07043‐1025
MARK E OLEN                                     1052 EMERALD AVE NE                                                                            GRAND RAPIDS       MI    49503‐1151
MARK E PAINE                                    969 PRAIRIE GROVE RD                                                                           VALLEY VIEW        TX    76272‐4597
MARK E PASTERNAK & FRANK W STRODOSKI JT TEN     1701 NE 40TH CT                                                                                FT LAUDERDALE      FL    33334‐5455

MARK E PETERSON                                 776 CAMERON                                                                                    PONTIAC            MI    48340‐3206
MARK E RAJEWSKI                                 2443 KOPKA CT                                                                                  BAY CITY           MI    48708‐8167
MARK E RAUSCHER                                 18714 RACQUET LANE                                                                             HUNTINGTON         CA    92648‐1808
                                                                                                                                               BEACH
MARK E REENE & DONALD L REENE JT TEN            9270 FRANKENMUTH ROAD                                                                          VASSAR             MI    48768‐9414
MARK E RHODES                                   21 SOUTH BRIDGE ST                    APT 2                                                    SOMERVILLE         NJ    08876‐2916
MARK E ROBSON & CAROLE A ROBSON JT TEN          472 N HARVEY ST                                                                                PLYMOUTH           MI    48170‐1225
MARK E RUNYAN                                   1777 E CO RD 4005                                                                              CLAYTON            IN    46118‐9429
MARK E SCOTT                                    1602 S OAK                                                                                     OAK GROVE          MO    64075‐9419
MARK E SKAGGS                                   1168 MEADOW LN                                                                                 GRAND ISLAND       NY    14072‐2100
MARK E SLENCZKA                                 PSC 46                                BOX 264                                                  APO                AE    09469‐5000
MARK E SOUTH                                    5546 DURWOOD                                                                                   DAYTON             OH    45429‐5904
MARK E SULLIVAN                                 33 OLDE ERIE TRAIL                                                                             ROCHESTER          NY    14626‐4011
MARK E SULLIVAN                                 1674 HIGH HOLLOW DR                                                                            ANN ARBOR          MI    48103‐9242
MARK E THOMPSON                                 18685 NEGAUNEE                                                                                 REDFORD            MI    48240‐2026
MARK E TINTI                                    N 2415 VALLEY VIEW ROAD                                                                        NORWAY             MI    49870‐2267
MARK E VALADEZ                                  13697 S COUNTY RD 800 E                                                                        GALVESTON          IN    46932‐9011
MARK E VANDER SLOOT                             9891 64TH AVE                                                                                  ALLENDALE          MI    49401‐9315
MARK E VANMALSEN                                3143 WHITETAIL LN                                                                              OWOSSO             MI    48867‐9225
MARK E VENES                                    4071 PARK AVE                                                                                  HEMET              CA    92544‐3283
MARK E WATSON                                   11227 MAIN RD                                                                                  FENTON             MI    48430‐9717
MARK E WEST                                     17 GATES AVE                                                                                   GILLETTE           NJ    07933‐1403
MARK E WHITE                                    220 DEE ST                                                                                     TROY               MO    63379
MARK E WIDMER & TERRY B WIDMER JT TEN           15214 SPRING SMOKE                                                                             SAN ANTONIO        TX    78247‐5412
MARK E WILES CUST ZACHARY E WILES UGMA CT       109 W SIMSBURY RD                                                                              CANTON             CT    06019‐5024
MARK E WISNIEWSKI                               7735 FAIRGREEN ROAD                                                                            BALTIMORE          MD    21222‐5408
MARK E WITKOP                                   1564 NASH RD                                                                                   N TONAWANDA        NY    14120‐1815
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MARK E ZAREMBA & STELLA M ZAREMBA JT TEN       10945 MARNE ST                                                                                 DETROIT         MI      48224‐4131
MARK E ZIELINSKI                               4840 GREER ROAD                                                                                WEST BLOOMFIELD MI      48324‐1242

MARK EDWARD AMMONS                         1001 CHATHAM WAY                                                                                   PALM HARBOR       FL    34683‐6008
MARK EDWARD CLINE                          8124 E VIA DE LUNA                                                                                 SCOTTSDALE        AZ    85255‐4919
MARK EDWARD HOWARD & LADAWNE MALONE JT TEN 15475 APPOLINE                                                                                     DETROIT           MI    48227

MARK EDWARD LOBA & KATHY MARIE LOBA JT TEN     6401 SOUTHAMPTON                                                                               CLARKSTON         MI    48346‐3058

MARK EDWARD PANTIER                            2912 MORRISON TRL                                                                              EDMOND            OK    73012‐6423
MARK EDWARD RIEMER                             50 WEST DISTRICT RD                                                                            FARMINGTON        CT    06085‐1433
MARK EDWARD SMITH                              22461 PARAGON DR                                                                               SANTA CLARITA     CA    91350‐3613
MARK EDWARD THOMPSON                           11385 WAYNE DR                                                                                 HOLLYWOOD         FL    33026‐3738
MARK ELLEN OAKES                               1095 LAKESHORE DR                                                                              GALLATIN          TN    37066‐3856
MARK ELLINGER & KRISHA ELLINGER JT TEN         4114 S 44TH AVE                                                                                OMAHA             NE    68107‐1009
MARK ELLIOTT FOGLESONG                         638 STIRLING ST                                                                                BALTIMORE         MD    21202‐5108
MARK ELLIS                                     5689 MOUNTAIN DR                                                                               BRIGHTON          MI    48116‐9733
MARK ELLSWORTH WILLIAMS                        1522 DAYTONA RD                                                                                BALTIMORE         MD    21234‐5209
MARK ENLOW                                     BOX 7888                                                                                       SANTA ROSA        CA    95407‐0888
MARK EVAN DAVIS                                1440 WESTWOOD RD                                                                               CHARLOTTESVILLE   VA    22903‐5150

MARK F BAHORSKI                                11056 PATTY ANN LANE                                                                           ROMEO             MI    48065‐5301
MARK F BAHORSKI & GERMAINE M BAHORSKI JT TEN   11056 PATTY ANN                                                                                ROMEO             MI    48065‐5301

MARK F BARLOW                                  2415 MUIRFIELD WAY                                                                             DULUTH            GA    30096‐6014
MARK F BOLE                                    815 MOHEGAN                                                                                    BIRMINGHAM        MI    48009
MARK F BROWN                                   36 BLANTYRE AVE                                                                                CENTERVILLE       MA    02632‐3016
MARK F CALVI JR                                120 GARDNER ST                                                                                 GROVELAND         MA    01834‐1107
MARK F CINCOTTA & GERTRUDE M CINCOTTA JT TEN   28 BISCAYNE AVE                                                                                WEYMOUTH          MA    02188‐3040

MARK F EAGAN                                   1009 RICHARD DR                                                                                GODFREY           IL    62035‐2524
MARK F EDMUND                                  1051 AVONDALE AVENUE                                                                           COLUMBUS          OH    43212‐3401
MARK F FLEMING                                 80 MYRTLE ST                          ST THOMAS ON                           N5R 2G5 CANADA
MARK F FOLEY                                   29 YALE CT                                                                                     STAMFORD          CT    06905‐2606
MARK F GIETZEN                                 1441 WELLINGTON                                                                                LANSING           MI    48910‐1170
MARK F GORALL                                  CLAIM 20654‐67                        814 TROLLEY BLVD                                         ROCHESTER         NY    14606‐4219
MARK F GRAYSON                                 3255 STONY HILL ROAD                                                                           MEDINA            OH    44256‐8624
MARK F HIRN                                    610 9TH ST NO 3                                                                                HERMOSA BEACH     CA    90254‐3923
MARK F HIRN                                    610 NINTH ST                          UNIT C                                                   HERMOSA BEACH     CA    90254‐3923
MARK F JANUSCH                                 14014 GRANDMONT                                                                                DETROIT           MI    48227‐1374
MARK F KOESTER                                 1001 UNION AVENUE                                                                              UNION             MO    63084‐1239
MARK F KRING                                   2052 THORNTREE LN                                                                              ORTONVILLE        MI    48462‐9715
MARK F LISKE                                   11567 JEFFERS RD                                                                               GRAND RAPIDS      OH    43522‐9278
MARK F LOCKWOOD                                8039 N HIGGINS LAKE DR                                                                         ROSCOMMON         MI    48653‐9003
MARK F LOCKWOOD & PATRICIA K LOCKWOOD JT TEN   8039 N HIGGINS LAKE DRIVE                                                                      ROSCOMMON         MI    48653‐9003

MARK F ONUSKANICH                              3664 MEADOWLEIGH LANE                                                                          WATERFORD         MI    48329‐2449
MARK F PINKOWSKI CUST EMMA A BARON‐PINKOWSKI   102 RIVERVIEW AVE                                                                              LONGMEADOW        MA    01106‐1319
UTMA RI
MARK F POYNTON & MAUREEN K POYNTON JT TEN      277 DALLAM RD                                                                                  NEWARK            DE    19711‐3620

MARK F SANTISTEVAN                             PO BOX 50533                                                                                   SPARKS            NV    89435‐0533
MARK F SCARLATO JR                             1047 PARADISE LAKE DR SE                                                                       GRAND RAPIDS      MI    49546‐3861
MARK F SCHRAUBEN                               901 RIDGEVIEW CIRCLE                                                                           LAKE ORION        MI    48362‐3442
MARK F SHORE                                   78 GLENN RD                                                                                    LOWELL            MA    01852‐1429
MARK F SHOUP                                   227 HICKS AVE                                                                                  PLAINWELL         MI    49080‐1813
MARK F SIMON                                   425 NORTH STATE                       BOX 117                                                  PEWAMO            MI    48873‐0117
MARK F SLOANE CUST ZACHARY HARRISON SLOANE     19 WILLOW LN                                                                                   IRVINGTON         NY    10533‐1109
UTMA NJ
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Name                                             Address1                             Address2             Address3          Address4          City              State Zip

MARK F SOWERS                                    534 BELLEVUE AVE                                                                              LAKE ORION        MI    48362‐2712
MARK F STEFFEN                                   175 DEBBY LN                                                                                  COLGATE           WI    53017‐9731
MARK F STEIGERWALD                               210 LEDYARD AVE                                                                               FAYETTEVILLE      NY    13066‐2217
MARK F STEPHENSON & ORLYE STEPHENSON JT TEN      2607 WOODBURY DR                                                                              TORRANCE          CA    90503‐7375

MARK F THOMAS CUST BENJAMIN F THOMAS UTMA IN     11682 SUNNYBROOK PL                                                                           FISHERS           IN    46038‐2732

MARK F THOMAS CUST KELLY C THOMAS UTMA IN      11682 SUNNYBROOK PL                                                                             FISHER            IN    46038‐2732
MARK F TURNER                                  16457 GLENROCK DR                                                                               HOLLY             MI    48442‐8847
MARK F VAN RONK                                1905 LOOKOUT DR                                                                                 WINDSOR           CO    80550‐4637
MARK F WELLMAN                                 9233 MAIN ST #27                                                                                CLARENCE          NY    14031‐1920
MARK F WHITE JR                                12258 MOCERI DR                                                                                 GRAND BLANC       MI    48439‐1926
MARK F ZELISKO                                 60 COLUMBIA AVE                                                                                 JERSEY CITY       NJ    07307‐4132
MARK FANCERA                                   113 SUMNER PLACE CT                                                                             PEACHTREE CITY    GA    30269‐6515
MARK FARR                                                                                                                                      BRADFORD          VT    05033
MARK FISHER                                    169 BROOKLYN RD                                                                                 ASHEVILLE         NC    28803‐1508
MARK FOREST RIKARD                             9215 HIGHWAY 43D 480                                                                            STERRETT          AL    35147
MARK FOX                                       4150 ARLINGTON RD                                                                               EVANS             GA    30809
MARK FRANKLIN LESTER                           648 NW FREMONT ST                                                                               CAMAS             WA    98607‐9004
MARK FREKING CUST ELIZABETH ANNE FREKING UGMA 324 ALSTON WOODS CT                                                                              CENTERVILLE       OH    45459‐4400
OH
MARK FREKING CUST KATHERINE MARIE FREKING UGMA 324 ALSTON WOODS CT                                                                             CENTERVILLE       OH    45459‐4400
OH
MARK FRIEDERS                                  484 E BARBERRY CR                                                                               YORKVILLE        IL     60560‐5801
MARK G ANDERSON                                PO BOX 212                                                                                      PECULIAR         MO     64078‐0212
MARK G ARDUINO                                 5490 COLYERS DR                                                                                 RODCHESTER HILLS MI     48306‐2675

MARK G AVERY                                     9222 N DORT HWY                                                                               MT MORRIS        MI     48458‐1221
MARK G BLASKA                                    216 OAKBROOKE DR                     UNIT 8                                                   SOUTH LYON       MI     48178‐1832
MARK G BOSLET                                    305 LOUIS LANE                                                                                REDWOOD CITY     CA     94063
MARK G BRENKE                                    7411 SUBURBIA                                                                                 PINE BLUFF       AR     71603‐8952
MARK G CASMER & DEBORAH A CASMER JT TEN          41905 HUNTINGTON CT                                                                           CLINTON TOWNSHIP MI     48038‐2175

MARK G DE STEFAN                                 1344 N W 8TH                                                                                  MOORE             OK    73170‐1014
MARK G FRANCIS                                   129 KINROSS                                                                                   CLAWSON           MI    48017‐1417
MARK G FRIEDLI                                   2715 EDDY                                                                                     SAGINAW           MI    48604‐2410
MARK G GARCIA                                    12620 RALSTON AVE                    UNIT 7                                                   SYLMAR            CA    91342‐4665
MARK G GARDNER                                   3627 AYNSLEY DR                                                                               ROCHESTER         MI    48306‐3779
MARK G GARDNER & RAYANNE M GARDNER JT TEN        3627 AYNSLEY DR                                                                               ROCHESTER         MI    48306‐3779

MARK G GERVAIS                                   10735 S DRAKE                                                                                 CHICAGO           IL    60655
MARK G HALVORSEN                                 11997 CREEKSTONE WAY                                                                          ZIONSVILLE        IN    46077‐9678
MARK G HENDERSON                                 2179 BERVILLE RD                                                                              ALLENTON          MI    48002‐2109
MARK G HOOTON                                    2383 BEVINGTON ROAD                                                                           ROCHESTER HILLS   MI    48309‐2937
MARK G KEELEAN                                   128 GARLAND WAY                                                                               WATERFORD         MI    48327‐3687
MARK G LOWELL                                    5882 COUNTY ROUTE 27                                                                          CANTON            NY    13617‐6501
MARK G LUEA & CAROLYN F LUEA JT TEN              10230 HALSEY                                                                                  GRAND BLANC       MI    48439‐8323
MARK G MALY                                      497 ANNAPOLIS AVE                    OSHAWA ON                              L1J 2Y8 CANADA
MARK G MCGEHAN                                   73 BROOK HOLLOW CT                                                                            O FALLON          MO    63366‐4168
MARK G MILAM                                     5415 BOYNE HIGHLAND TR                                                                        CLARKSTON         MI    48348‐3701
MARK G MOSESSO                                   3927 ACADIA DRIVE                                                                             LAKE ORION        MI    48360‐2727
MARK G MOSESSO & JANICE L MOSESSO JT TEN         3927 ACADIA DRIVE                                                                             LAKE ORION        MI    48360‐2727
MARK G NATHANS                                   1266 W STRAFORD AVE                                                                           GILBERT           AZ    85233‐4619
MARK G PERKINS ADMIN EST SUSANNE SCOTT PERKINS   752 QUAIL CIR                                                                                 HATFIELD          PA    19440‐3467

MARK G PHELPS                                    33758 NEWPORT DR                                                                              STERLING HTS      MI    48310‐5859
MARK G REIFENBERGER                              5772 BRIDGEBORO WAY                                                                           NORCROSS          GA    30092‐2441
MARK G SAGER                                     411 MAE DRIVE                                                                                 JUSTIN            TX    76247‐9401
MARK G SUMINSKI                                  9523 E TOWNLINE RD                                                                            FRANKENMUTH       MI    48734‐9556
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Name                                              Address1                               Address2             Address3          Address4          City             State Zip

MARK G TABER                                      547 W 147TH ST APT E4                                                                           NEW YORK         NY    10031
MARK G TATE                                       2446 SE 70TH AVE                                                                                PORTLAND         OR    97206‐1109
MARK G WILLIAMSON                                 1702 LINDEN CIRCLE                                                                              STARKVILLE       MS    39759‐3617
MARK G WINIARSKI & DIANE STURM WINIARSKI JT TEN   51 RADNOR RD                                                                                    GREAT NECK       NY    11023‐1450

MARK GARDNER                                   9411 N HOLLYBROOK LAKE DRIVE              APT 202                                                  PEMBROKE PINES   FL    33025‐1510
MARK GARRIGUS TR OLIVE T GARRIGUS TESTAMENTARY 918 PAWNEE RD                                                                                      WILMETTE         IL    60091‐1345
TRUST UA 05/16/00
MARK GASPAREK                                  9536 BRADFORD LN NE                                                                                WARREN           OH    44484‐3961
MARK GEOFFREY GREENBAUM                        25 ROSE HILL AVENUE                                                                                NEW ROCHELLE     NY    10804‐3614
MARK GERALD FIELDING MC CORMICK & SUSAN HAAS 24801 SUMMERHILL                                                                                     LOS ALTOS        CA    94024‐4719
MC CORMICK JT TEN
MARK GILLIGAN CUST SARA BRITT GILLIGAN UGMA NY 238 MIRROR LAKE DR                                                                                 LAKE PLACID      NY    12946‐3808

MARK GILLINGHAM                                   4151 SW 84YTH TER                                                                               DAVIE            FL    33328‐2954
MARK GORDON MOFFATT                               9323 HOBART CT                                                                                  FAIRFAX          VA    22032‐2139
MARK GRAHAM                                       PO BOX 72652                                                                                    DAVIS            CA    95617‐2652
MARK GRIEDER & BARBARA W GRIEDER JT TEN           300 THELMA DRIVE                                                                                MAULDIN          SC    29662
MARK GROSS                                        115 EAST NINTH ST #6‐C                                                                          NEW YORK         NY    10003‐5417
MARK GRUDOWSKI                                    20 ANDERSON AVE                        TORONTO ON                             M5P 1H3 CANADA
MARK GUBERMAN                                     14710 JOSAIR DRIVE                                                                              ORLANDO          FL    32826
MARK H COLEMAN                                    13103 S MANHATTAN PL                                                                            GARDENA          CA    90249‐1908
MARK H COON                                       APT 604                                5911 EDSALL ROAD                                         ALEXANDRIA       VA    22304‐4115
MARK H DAVIS                                      2252 SEMAHT DRIVE                                                                               MONTGOMERY       AL    36106‐3439
MARK H DOXEY                                      2965 WALNUT RIDGE DR                                                                            TROY             OH    45373‐4509
MARK H DUNNELL                                    64 RACHELLE AVE                                                                                 STAMFORD         CT    06905‐4827
MARK H FRITZSCHE                                  954 CARIBOU DR W                                                                                MONUMENT         CO    80132‐8568
MARK H FUKUNAGA & MARGERY S BRONSTER JT TEN       CTSY SERVCO SECURITIES CORP            1935 PAULA DR                                            HONOLULU         HI    96816‐3939

MARK H GASCOIGNE                                  14162 ELYSTAN CIR                                                                               WESTMINSTER      CA    92683‐4856
MARK H GILLETT CUST EMILY FAIRCHILD GILLETT UGMA 6409 CAMERON FOREST LN APT 1E                                                                    CHARLOTTE        NC    28210‐5052
NC
MARK H GUNDERSON CUST KENNETH M GUNDERSON 4108 HEDGEWOOD COURT                                                                                    BLOOMINGTON      IN    47403‐4871
UTMA IN
MARK H GUNDERSON CUST THOMAS G GUNDERSON          4108 HEDGEWOOD COURT                                                                            BLOOMINGTON      IN    47403‐4871
UTMA IN
MARK H HEBERLING                                  8807 HAYES HOLLOW                                                                               COLDEN           NY    14033‐9621
MARK H KUBIAK                                     9901 W SAHARA AVE                      APT 2150                                                 LAS VEGAS        NV    89117‐5914
MARK H MC KISSOCK & CHRISTINE B MC KISSOCK JT TEN 226 WESTFIELD ST                                                                                DEDHAM           MA    02026‐5623

MARK H MEAD                                       10401 SAND LAKE HWY                                                                             ONSTED           MI    49265‐9546
MARK H MERSEREAU                                  5923 TETHERWOOD DR                                                                              TOLEDO           OH    43613‐1615
MARK H MOUTINHO TR UA 03/24/2008 MARK H           133 N POMPANO BEACH BLVD               APT PH9                                                  POMPANO BEACH    FL    33062
MOUTINHO REVOCABLE TRUST
MARK H MOWERY                                     845 TIMBERHILL DR                                                                               HURST            TX    76053‐4240
MARK H PASCOE                                     40638 AUBURNDALE                                                                                STERLING HGTS    MI    48313‐4100
MARK H PASCOE & RUTHANNE PASCOE JT TEN            40638 AUBURNDALE                                                                                STERLING HGTS    MI    48313‐4100
MARK H RICHARDS                                   8478 E 1000 S                                                                                   FAIRMOUNT        IN    46928‐9155
MARK H SACK                                       9460 LINDA DR                                                                                   DAVISON          MI    48423‐1797
MARK H SHANNON                                    6838 EAST TOPKE                                                                                 TUCSON           AZ    85715‐3353
MARK H SPRAGENS                                   PO BOX 122                                                                                      BRODHEAD         KY    40409‐0122
MARK H STOVER                                     1655 THRASHER LN                                                                                MEDFORD          OR    97504‐3658
MARK H TEKLINSKI & LUCYNA D TEKLINSKI JT TEN      28401 WALKER                                                                                    WARREN           MI    48092‐4149
MARK H ULRICH & PATRICIA E ULRICH JT TEN          2893 FLINT RIVER RD                                                                             LAPEER           MI    48446‐9045
MARK H VALENTINE & KATHLEEN A VALENTINE JT TEN    4640 JUNEAU LANE NORTH                                                                          PLYMOUTH         MN    55446‐3401

MARK HALL                                         2494 CASTAWAY DRIVE                                                                             JACKSONVILLE     FL    32224‐1161
MARK HAROLD COLEMAN                               PO BOX 309                                                                                      JUDSON           TX    75660‐0309
MARK HARTSAW                                      1014 WASHINGTON CIRCLE                                                                          EVANSVILLE       IN    47715‐4471
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Name                                            Address1                              Address2             Address3          Address4          City              State Zip

MARK HELLER                                     2631 N KIMBALL AVE                                                                             CHICAGO           IL    60647‐1213
MARK HELLER                                     HINDENBURGSTR 35                      D 72622 NUERTINGEN                     GERMANY
MARK HENRY BERG                                 3945 BENJAMIN AVE NE                                                                           GRAND RAPIDS      MI    49525‐2374
MARK HENRY HUELSKAMP                            9101 WHITE OAK CR                                                                              GRAND BLANC       MI    48439‐8094
MARK HENRY LANG                                 13924 S SHOREVIEW DR                                                                           MEDICAL LAKE      WA    99022‐9313
MARK HENRY ROSSIER                              240 BRENTWOOD DR                                                                               BRISTOL           CT    06010‐2569
MARK HERBERT WAGNER                             24529 CHRISTINA LN                                                                             NOVI              MI    48375‐2307
MARK HERCEG                                     7321 SE 48TH AVE                                                                               PORTLAND          OR    97206
MARK HIGGINS                                    PO BOX 411                                                                                     ARNOLD            MD    21012‐0411
MARK HIRSCH & ROSALIE HIRSCH JT TEN             57‐22 HEWLETT ST                                                                               LITTLE NECK       NY    11362
MARK HOLOBIGIAN                                 169 WETHERILL RD                                                                               GARDEN CITY       NY    11530‐1823
MARK HORVATH                                    7 SHERWOOD FOREST DR                                                                           GILFORD           NH    03246‐6954
MARK HOTZ                                       7624 BECKER RD                                                                                 ST LOUIS          MO    63129‐5804
MARK HOWARD FRIEDMAN                            9 ELIZABETH RD                                                                                 UPPER MONTCLAIR   NJ    07043‐2621

MARK HUDAK                                      16977 DEERPATH DR                                                                              STRONGSVILLE      OH    44136‐6210
MARK HURLEY CUST DRAKE J MILLS UTMA AZ          201 W GALVESTON                                                                                CHANDLER          AZ    85225‐6702
MARK HUTCHISON CUST KYLE HUTCHISON UGMA MI      5530 MASON                                                                                     FOWLERVILLE       MI    48836‐8995

MARK I DUEDALL                                  143 MAXWELL ST                                                                                 DECATUR           GA    30030‐4208
MARK I MAGHRAN                                  7594 BACKCREEK ROAD                                                                            HAMBURG           NY    14075‐7231
MARK I MILLARD                                  4500 PINEVIEW DR                                                                               ELMIRA            MI    49730‐9039
MARK I NICKS                                    590 PARK AVE                                                                                   EDGERTON          WI    53534‐1618
MARK I SAILOR CUST ERICA D SAILOR UGMA PA       1601 KENMARE DR                                                                                DRESHER           PA    19025‐1223
MARK I WASSERMAN & MARY P WASSERMAN JT TEN      1739 FORT GRANT DR                                                                             ROUND ROCK        TX    78665‐7821

MARK IAGULLI                                    525 A WILCOX RD                                                                                YOUNGSTOWN        OH    44515‐6220
MARK ISAAK                                      56 BENNETT AVE                                                                                 NY                NY    10033‐2146
MARK J ALLISON                                  1812 N BAILEY RD                                                                               N JACKSON         OH    44451‐9698
MARK J AMES                                     3725 N HUBBARD LAKE RD                                                                         SPRUCE            MI    48762‐9743
MARK J BABOS                                    42 S UNION AVE                                                                                 CRANFORD          NJ    07016‐2842
MARK J BANCROFT                                 RT 2 W TOWNSEND RD                                                                             ST JOHNS          MI    48879‐9802
MARK J BARNARD & MRS LEONA P BARNARD JT TEN     729 EAST 800 NORTH                                                                             FIRTH             ID    83236‐1113

MARK J BEGEMAN & JUDITH BEGEMAN JT TEN          R D 2 BOX 372                                                                                  NEW ALEXANDRIA    PA    15670‐9629

MARK J BENTO & JOANNE M BENTO JT TEN            BOX 50191                                                                                      NEW BEDFORD       MA    02745‐0007
MARK J BIALEK                                   12827 CUNNINGHILL COVE RD                                                                      BALTIMORE         MD    21220‐1178
MARK J BILICKI                                  6717 MINNICK RD                                                                                LOCKPORT          NY    14094‐9513
MARK J BOGDAN                                   46 CLIFF ROAD                                                                                  LEVITTOWN         PA    19057‐1713
MARK J BOVE                                     16 CASE PKWY                                                                                   BURLINGTON        VT    05401‐1506
MARK J BRAMLETT                                 BOX 85                                                                                         MEDFORD           OK    73759‐0085
MARK J BROWNHILL                                9235 BROKEN TIMBER                                                                             COLUMBIA          MD    21045‐2309
MARK J BURGER & ELISE BURGER JT TEN             PO BOX 2342                                                                                    WEST PALM BCH     FL    33402‐2342
MARK J CARDEN                                   490 CENTRAL AVE                                                                                MARTINSBURG       WV    25401‐4674
MARK J CARROLL                                  5076 CHILLICOTHE RD                                                                            CHAGRIN FALLS     OH    44022‐4119
MARK J CASHDOLLAR & SUSAN J CASHDOLLAR JT TEN   500 THE GREENS                                                                                 WARREN            OH    44484

MARK J CASTILLO                                 5508 BIG FORK RD                                                                               FORT WORTH        TX    76119‐6582
MARK J CHAFFIN                                  1200 HAMPSTEAD RD                                                                              ESSEXVILLE        MI    48732‐1932
MARK J CIZAUSKAS                                389 9 MILE RD NE                                                                               COMSTOCK PARK     MI    49321‐9532
MARK J CLUGSTON                                 616 COLLINGWOOD DR                                                                             DAVISON           MI    48423‐1709
MARK J COTTON                                   293 WATERLILY DR                                                                               WHITMORE LAKE     MI    48189‐9469
MARK J DALEY                                    1310 N HITCHIE CT APT 11C                                                                      CHICAGO           IL    60610
MARK J DAVIS                                    645 RUSTIC                                                                                     SAGINAW           MI    48604‐2132
MARK J DAVIS                                    9293 OAKVIEW DR                                                                                SWARTZ CREEK      MI    48473‐1019
MARK J DRAWL                                    166 MAPLE DRIVE                                                                                CORTLAND          OH    44410‐1223
MARK J DROZD CUST ALEXANDER J DROZD UGMA NY     1130 MADISON ST                                                                                EVANSTON          IL    60202‐2125
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Name                                               Address1                               Address2             Address3          Address4          City            State Zip

MARK J EISSLER                                     6 COG MILL CT                                                                                   O FALLON        MO    63366‐7189
MARK J EMERY                                       PO BOX 7608                                                                                     PORTLAND        ME    04112‐7608
MARK J FEDOR                                       PO BOX 1435                                                                                     ENNIS           MT    59729‐1435
MARK J FELLOWS                                     12784 SILVER RIDGE DR                                                                           GRAND LEDGE     MI    48837‐8906
MARK J FIELDER                                     2000 MAXON ROAD                                                                                 ONAWAY          MI    49765‐9508
MARK J FLITTON CUST JEFFREY J FLITTON UTMA ID      824 DEARBORN                                                                                    CALDWELL        ID    83605‐4161
MARK J FLITTON CUST MELANIE A FLITTON UTMA ID      824 DEABORN                                                                                     CALDWELL        ID    83605‐4161

MARK J FRITZ                                       3424 FALLING GREEN RD                                                                           OLNEY           MD    20832‐1143
MARK J FURIN & KATHY L FURIN JT TEN                14500 N W 20TH AVE                                                                              VANCOUVER       WA    98685‐8006
MARK J FURREVIG                                    5 ORCHID CT                                                                                     SAYREVILLE      NJ    08872‐2114
MARK J GIANNOTTA & SUZAN M GIANNOTTA JT TEN        29371 STONECROFT                                                                                HARRISON        MI    48045‐2617
                                                                                                                                                   TOWNSHIP
MARK J GIEBER                                      412 FOREST STREET                                                                               THREE RIVERS    MI    49093‐1856
MARK J HAVERCAMP                                   2820 S MONROE ST                                                                                BAY CITY        MI    48708‐4905
MARK J HILBERT                                     4041 N BROOKMONT RD                                                                             PEORIA          IL    61614‐7367
MARK J HOFFMAN                                     3303 WEIGL ROAD                                                                                 SAGINAW         MI    48609‐9792
MARK J JAGIELA                                     3203 N INNSBRUCK DR                                                                             ST PAUL         MN    55112‐6311
MARK J JOHNSON & BARBARA K JOHNSON JT TEN          801 VIEW CT                                                                                     MT HOREB        WI    53572‐2200
MARK J JONES                                       108 BROOKHAVEN DR                                                                               COLUMBIA        TN    38401‐8876
MARK J KELLY                                       7764 TREFEATHEN DRIVE                                                                           WARREN          OH    44484‐1463
MARK J KOCH                                        419 HILLS CREEK ROAD                                                                            BROOKFIELD      OH    44403‐8602
MARK J KRYNICKI & PAMELA L BODENSTAB‐KRYNICKI JT   PO BOX 245                                                                                      SOUTHWICK       MA    01077‐0245
TEN
MARK J KUBERSKI                                    3201 DROSTE                                                                                     ST CHARLES      MO    63301‐1110
MARK J LAMMERT                                     921 SCHUYLER ROAD                                                                               WHITE LAKE      MI    48383‐3066
MARK J LAWS                                        6709 WEST MEADOWS LN                                                                            MAUMEE          OH    43537‐9536
MARK J LEMONIS                                     2210 S HUBBARD RD                                                                               LOWELLVILLE     OH    44436‐9525
MARK J LESSELYONG                                  1524 S ALICIA DR                                                                                APPLETON        WI    54914‐5572
MARK J LINDBERG                                    14305 OXFORD DR                                                                                 EDMOND          OK    73013‐7090
MARK J LORD                                        2001 HARBINS RD                                                                                 DACULA          GA    30019‐1841
MARK J LORENTI                                     5091 DANA DR                                                                                    LEWISTON        NY    14092‐2015
MARK J MAGNANI                                     3402 SPRING BROOK DR                                                                            EDISON          NJ    08820‐4227
MARK J MARCELLO                                    195 N GREECE RD                                                                                 HILTON          NY    14468‐8902
MARK J MC GOVERN                                   256 COLUMBIA ST                                                                                 BROOKLYN        NY    11231‐1330
MARK J MCCARTNEY                                   33 CROWN LANE                                                                                   WESTBURY        NY    11590
MARK J MCCLELLAN & FRED L MCCLELLAN JT TEN         144 HERITAGE LANE                                                                               MADISON         AL    35758
MARK J MCGAW                                       10305 S RAUCHOLZ RD                                                                             SAINT CHARLES   MI    48655‐9522
MARK J MCGOVERN & CHRISTINA J MCGOVERN JT TEN      256 COLUMBIA ST                                                                                 BROOKLYN        NY    11231‐1330

MARK J MCKILLIP                                    1012 N PHILLIPS ST                                                                              KOKOMO          IN    46901‐2652
MARK J MIKETA CUST HENRY A MIKETA UTMA CO          504 SPRING CANYON CT                                                                            FT COLLINS      CO    80525‐3269
MARK J MODZELEWSKI                                 6 WOODLAND DR                                                                                   WESTPORT        CT    06880‐5050
MARK J MONTECALVO                                  150 CRICKET LANE                                                                                CORTLAND        OH    44410‐1212
MARK J MONTGOMERY & SANDRA F MONTGOMERY JT         3689 CHERRY HILL                                                                                ROOTSTOWN       OH    44272‐9257
TEN
MARK J MULLER                                      1350 FLAGLER DR                                                                                 MAMARONECK      NY    10543‐4603
MARK J NIEPOKUJ                                    1989 ST ANDREWS DR                                                                              OXFORD          MI    48371
MARK J NOVAK                                       409 BEAR RD                                                                                     COWLESVILLE     NY    14037‐9720
MARK J NOVAK                                       819 DAKOTA AVE                                                                                  GLADSTONE       MI    49837
MARK J NOWAK                                       2263 EAST MAPLE ROAD                                                                            TROY            MI    48083‐4485
MARK J OCKWOOD                                     2565 S 64TH ST                                                                                  MILWAUKEE       WI    53219‐2630
MARK J PELLETIER                                   107 CLEVELAND BLVD                                                                              FAYETTEVILLE    NY    13066‐1101
MARK J PERLOT                                      66 PETTIT DR                                                                                    S MERIDEN       CT    06451‐4971
MARK J PRESSBURGER                                 86 BEECH RD                                                                                     ENGLEWOOD       NJ    07631‐3722
MARK J PUHAK & DEBORA S PUHAK JT TEN               12813 W 132ND ST                                                                                OVERLAND PARK   KS    66213‐4019
MARK J RATZA                                       13071 N CENTER RD                                                                               CLIO            MI    48420‐9120
MARK J RIEPENHOFF                                  5253 MEADOW LN                                                                                  SAGINAW         MI    48603‐1748
MARK J ROOT                                        1734 HARTEL RD                                                                                  CHARLOTTE       MI    48813‐7320
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Name                                                 Address1                                Address2             Address3          Address4                   City              State Zip

MARK J SANDERS                                       1111 HUNTINGTON DR                                                                                        RICHARDSON        TX    75080‐2928
MARK J SAXE                                          711 TUDOR DR                                                                                              JANESVILLE        WI    53546‐2002
MARK J SCHLAUD                                       4960 LAKE PLEASENT RD                                                                                     NORTH BRANCH      MI    48461‐8988
MARK J SEMPRICH                                      210 W CAYUGA TRAIL                                                                                        SANDUSKY          OH    44870‐6218
MARK J SHEAR                                         15014 PIEDMONT ST                                                                                         DETROIT           MI    48223‐2245
MARK J SIMON                                         RFD 6                                                                                                     ST JOHNS          MI    48879‐9806
MARK J SKYNAR                                        1985 BLOOMFIELD OAKS DR                                                                                   WEST BLOOMFIELD   MI    48324‐4014

MARK J SMITH                                         8001 RICHLAND                                                                                             KANSAS CITY       KS    66111‐3036
MARK J SMITH                                         4423 SHERMAN HOLLOW RD                                                                                    BRANCHPORT        NY    14418
MARK J STERCULA                                      376 LAKESIDE DRIVE                                                                                        LEVITTOWN         PA    19054‐3929
MARK J STEWART                                       2146 SHERWOOD FORREST DR                                                                                  MIAMISBURG        OH    45342‐2034
MARK J SULLIVAN                                      49 AGOSTINO DR                                                                                            WILMINGTON        MA    01887‐2323
MARK J SZCZYGIELSKI CUST CLINT J SZCZYGIELSKI UTMA   11850 HUNTS CORNERS RD                                                                                    AKRON             NY    14001‐9711
NY
MARK J TAYLOR CUST JESSICA TAYLOR UTMA OH            2978 OLDE WINTER TRAIL                                                                                    POLAND            OH    44514‐2873
MARK J TAYLOR CUST JOSEPH TAYLOR UTMA OH             2978 OLDE WINTER TRAIL                                                                                    POLAND            OH    44514‐2873
MARK J TELDER                                        9909 N DIVISION                                                                                           SPARTA            MI    49345‐9456
MARK J THARP                                         7590 S AIRPORT RD                                                                                         DEWITT            MI    48820‐9102
MARK J THORNTON                                      1218 KENYON PL                                                                                            DAYTON            OH    45406‐5012
MARK J TIERNEY                                       BOX 827                                                                                                   BANDON            OR    97411‐0827
MARK J TOLLIN & DEBORAH C TOLLIN JT TEN              3710 OAK HILL WAY                                                                                         FAIRFAX           VA    22030‐1608
MARK J TORRES                                        7653 FOSTER ROAD                                                                                          CLARKSTON         MI    48346‐1940
MARK J TRABUCCO                                      9 FRONT ST                                                                                                OWEGO             NY    13827‐1545
MARK J TURCHI                                        3067 GEHRING DR                                                                                           FLINT             MI    48506‐2259
MARK J VALLO & KATHLEEN M VALLO JT TEN               7786 GLENGATE DR                                                                                          BROADVIEW         OH    44147‐1700
                                                                                                                                                               HEIGHTS
MARK J VINCENT CUST JASON VINCENT UTMA MA    4 LACY ST                                                                                                         NORTH ANDOVER     MA    01845‐3307
MARK J WADE & DANI L WADE COMMUNITY PROPERTY 1223 DOMINION DR                                                                                                  KATY              TX    77450‐4307

MARK J WALLACE                                       1124 RICARDO PLACE NE                                                                                     ST PETERSBURG     FL    33702‐1466
MARK J WARNE                                         6064 HOOVER ROAD                                                                                          SANBORN           NY    14132‐9216
MARK J WATKINS                                       114 BALMORE LANE                        HIGHLAND WEST                                                     WILMINGTON        DE    19808
MARK J WURMLINGER                                    PO BOX 250                                                                                                OGDEN             KS    66517‐0250
MARK J ZARZECZNY                                     203 STEVENSON AVE                                                                                         EDGEWATER PARK    NJ    08010‐1833

MARK J ZELKOVIC & MRS DOLORES ZELKOVIC JT TEN        4431 CHERRYLAND ST                                                                                        PITTSBURGH        PA    15214‐1309

MARK JAMES                                           11 MCMILLAN ROAD                        ROCKY BAY            AUCKLAND 1240     NEW ZELAND GREAT BRITAIN

MARK JAMES ADAMS                                     8101 E DARTMOUTH AVENUE                 #55                                                               DENVER            CO    80231‐4260
MARK JAMES UHLIG                                     2676 ASHBURTON COURT                                                                                      OAKLAND           MI    48306‐4927
                                                                                                                                                               TOWNSHIP
MARK JEFFERY MURRAY                                  4540 PERSIMMON RD                                                                                         RENO              NV    89502‐6232
MARK JESSUP                                          907 CONGRESSIONAL WAY                                                                                     SHELBYVILLE       IN    46176‐8815
MARK JOEL MARTIN                                     302 PURITAN VILLAGE RD                                                                                    MCCLELLANDTWN     PA    15458‐1132

MARK JOHN VANDEN WYMELENBERG                         11S083 SHERI ST                                                                                           NAPERVILLE        IL    60565‐5525
MARK JOHNSON                                         C/O G JOHNSON ADM                       1284 SELLS AVE                                                    ST LOUIS          MO    63147‐1506
MARK JOHNSON                                         11034 ISLAND CT                                                                                           ALLENDALE         MI    49401‐9668
MARK JOHNSTON                                        1211 C R 31                                                                                               WATERLOO          IN    46793‐9585
MARK JONES                                           4501 36TH PLACE N                                                                                         BIRMINGHAM        AL    35207‐2309
MARK JONICK                                          10990 LEONARD RD                                                                                          NUNICA            MI    49448‐9430
MARK JOSEPH GENEREUX                                 122 STILLWOOD CT                                                                                          NEW BERN          NC    28560‐8040
MARK JOSEPH KAMINSKY                                 200 S HOME AVE                                                                                            PARK RIDGE        IL    60068‐3843
MARK JOSEPH PERICA                                   2137 W THOMAS RD                                                                                          PHOENIX           AZ    85015‐6031
MARK JOSEPH PORTER                                   2741 PINE VALLEY CT                                                                                       DAYTON            OH    45414‐2159
MARK JOSHUA EISENBERG                                6050 N 10TH PL                                                                                            PHOENIX           AZ    85014‐1929
MARK JUDAH                                           15 MAPLE RUN CT                                                                                           SPRINGVILLE       IN    47462‐5470
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Name                                            Address1                              Address2             Address3          Address4          City               State Zip

MARK K CASTANIER                                70 HEMMINGWAY DR                      COURTICE ON                            L1E 2C6 CANADA
MARK K CRAY                                     6672 SHEETRAM RD                                                                               LOCKPORT         NY      14094‐9538
MARK K ELSESSER                                 14763 DOGWOOD RD                                                                               ATHENS           AL      35611
MARK K FLUKE                                    2500 BLIESENER ST                                                                              LANSING          MI      48911‐4534
MARK K FOSDICK                                  2406 GALWAY DR                                                                                 DAVISON          MI      48423‐9505
MARK K IMEL                                     9214 S 225 W                                                                                   PENDLETON        IN      46064‐9630
MARK K MELMS                                    15992 CHELMSFORD                                                                               CLINTON TOWNSHIP MI      48038‐3214

MARK K MELMS & DIANE L MELMS JT TEN             15992 CHELMSFORD                                                                               CLINTON TOWNSHIP MI      48038‐3214

MARK K REBELE                                   510 KENTUCKY AVE                                                                               SAN MATEO          CA    94402‐2226
MARK K ROYCE                                    243 GREEN VALLEY RD                                                                            FLINT              MI    48506‐5317
MARK K THOMAS                                   11320 MAPLE RD                                                                                 BIRCH RUN          MI    48415‐8457
MARK K ZIMMER                                   2440 HAPPY HOLLOW RD                                                                           GLENVIEW           IL    60025‐1170
MARK KAHLER CUST SAVANNAH MARIE KAHLER UGMA     204 RUSHLEY ROAD                                                                               ARNOLD             MD    21012‐1034
MD
MARK KAISER & PAMELA E KAISER JT TEN            301 E CIRCLE AVE                                                                               PROSPECT HTS       IL    60070‐1413
MARK KAPLOW EX EST LILLIAN KAPLOW               20 DORCHESTER DR                                                                               PORT CHESTER       NY    10573
MARK KARIEL CUST JASON KARIEL UGMA TX           7703 TWIN HILLS DR                                                                             HOUSTON            TX    77071‐1419
MARK KELLER                                     5033 WEST 24TH PLACE                                                                           CICERO             IL    60804‐3423
MARK KNUTSON                                    1818 SPRUCE CT                                                                                 WHITE BEAR LAKE    MN    55110‐4619
MARK KRALOWSKI                                  46020 PAT ST                                                                                   CHESTERFIELD TWP   MI    48051‐3241

MARK KRAUS                                      8460 SW 141 STREET                                                                             PALMETTO BAY       FL    33158
MARK KRAUSE                                     1207 CANANDAIGUA RD                                                                            PALMYRA            NY    14522‐9305
MARK KRUGMAN                                    23 CARRIE DRIVE                                                                                MARLBORO           NJ    07746‐1986
MARK KUHN                                       RR 1 BOX 202                                                                                   HEYWORTH           IL    61745‐9735
MARK KURZAWA & MICHAEL KURZAWA JT TEN           5239 WOODVIEW DR                                                                               BLOOMFIELD HILLS   MI    48302‐2566

MARK KUYKENDALL                                 15970 SW BARRINGTON TERRACE                                                                    TIGARD             OR    97224
MARK KUZILA & MARY JANE KUZILA JT TEN           3737 B                                                                                         LINCOLN            NE    68510‐3533
MARK L ANDERSON                                 12954 WEMBLY CT                                                                                CARMEL             IN    46033‐2466
MARK L BALOG                                    1075 WESTBERRY CT                                                                              LAKE ZURICH        IL    60047‐1400
MARK L BERGER & MARY P BERGER JT TEN            2014 WAGON CROSSING PATH                                                                       AUSTIN             TX    78744‐3531
MARK L BESAW                                    4840 MACKINAW                                                                                  SAGINAW            MI    48603‐7246
MARK L BOROWIAK                                 15371 GULLEY                                                                                   TAYLOR             MI    48180‐5045
MARK L CASTLE                                   770 ANDERSON AVE APT 7E                                                                        CLIFFSIDE PARK     NJ    07010‐2163
MARK L CATANZARO                                1442 LOCUST AVE                                                                                CLOVIS             CA    93611‐7318
MARK L CLAYTON                                  9632 CR 48                                                                                     GALION             OH    44833‐9609
MARK L CONNOLLY & CYNTHIA J CONNOLLY JT TEN     1810 RIDING TRAIL LANE                                                                         SEWICKLEY          PA    15143‐9014

MARK L COPLAN                                   PO BOX 80813                                                                                   ATLANTA            GA    30366
MARK L DOUGLAS                                  14 BLUE SAGE RD                                                                                CLINTON            IL    61727‐9439
MARK L EDMONDSON                                5585 STIMSON RD                                                                                EATON RAPIDS       MI    48827‐9618
MARK L EDWARDS                                  PO BOX 586                                                                                     NASHUA             NH    03061‐0586
MARK L FRANCZEK                                 329 HIGH MEADOW ST                                                                             SIMI VALLEY        CA    93065‐7313
MARK L GARFINKEL                                930 VEREDA DEL CIERVO                                                                          GOLETA             CA    93117‐5304
MARK L GUISE                                    10149 OLEANDER AVE                                                                             FONTANA            CA    92335‐7810
MARK L HALL                                     823 CHERRY HILL RD                                                                             PRINCETON          NJ    08540‐7712
MARK L HAMMOND                                  4806 NW HILLSIDE DR                                                                            RIVERSIDE          MO    64150‐3362
MARK L HARRIS                                   1805 HIGHLAND DR                                                                               LA GRANDE          OR    97850‐3209
MARK L HAYGOOD                                  5118 SEMINOLE ST                                                                               DETROIT            MI    48213‐2990
MARK L HOLLINGSWORTH                            PO BOX 1906                                                                                    MCCOMB             MS    39649‐1906
MARK L HUCKENPAHLER                             7391 W BAYAUD PL                                                                               LAKEWOOD           CO    80226‐2016
MARK L JACKSON                                  434 CORRAL PATH                                                                                LANSING            MI    48917‐2726
MARK L JANOSE                                   4100 20 MILE ROAD                                                                              KENT CITY          MI    49330‐9753
MARK L JONES                                    13103 BROOKS SCHOOL RD                                                                         FISHERS            IN    46037
MARK L KANUCH                                   44635 KIPTON NICKLE PLT                                                                        OBERLIN            OH    44074‐9520
MARK L KARLIK                                   1465 GIBSON RD                                                                                 BENSALEM           PA    19020‐3005
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Name                                             Address1                                Address2             Address3          Address4          City               State Zip

MARK L KASKI                                     4026 AUBURN                                                                                      ROYAL OAK          MI    48073‐6337
MARK L KASTNER                                   4382 WILLOUGHBY RD                                                                               HOLT               MI    48842‐9411
MARK L KELLER                                    616 LOCUST ST                                                                                    WRIGHTSVILLE       PA    17368‐1118
MARK L KEMMER                                    9463 LAPSTRAKE LANE                                                                              BURKE              VA    22015‐4223
MARK L KREBS                                     W6634 FRANKLIN RD                                                                                MONROE             WI    53566‐9774
MARK L LEDDY                                     223 BEACON BLVD                                                                                  SEA GIRT           NJ    08750‐1612
MARK L LUKE                                      18056 NE 28TH AV                                                                                 STARKE             FL    32091‐5310
MARK L MARCHESE                                  5322 CLARK LAKE ROAD                                                                             JACKSON            MI    49201‐9288
MARK L MARTINEZ                                  10211 EVENING TRAIL DR                                                                           RIVERVIEW          FL    33569‐5748
MARK L MATCHYNSKI                                16124 GOLFVIEW                                                                                   LIVONIA            MI    48154‐2132
MARK L MATTSON                                   1012 LAKE VIEW DR                                                                                MISSION            TX    78572‐7742
MARK L MAY                                       8931 HOLLOW OAK DR                                                                               MIDLOTHIAN         VA    23112‐6871
MARK L MCCOMBS                                   3101 BAKER RD                                                                                    SPRINGFIELD        OH    45504
MARK L MCKIBBEN                                  2055 4TH AVE SE                                                                                  CEDAR RAPIDS       IA    52403
MARK L MELDRUM                                   521 RUSKIN DR                                                                                    ALGONAC            MI    48001‐1650
MARK L MILLER                                    510 ELM                                                                                          WYANDOTTE          MI    48192‐5705
MARK L MURRAY                                    3517 RUTH AVE                                                                                    LANSING            MI    48910‐3634
MARK L NEMITH & DIANE K NEMITH JT TEN            109 MAXWELL RD                                                                                   LATHAM             NY    12110‐5123
MARK L NUNNERY                                   11 SOUTH PERRY CR                                                                                O'FALLON           MO    63366‐3421
MARK L OLIPHANT                                  1758 SWAN RD                                                                                     RANSOMVILLE        NY    14131‐9709
MARK L PLEASANT                                  8739 THORNWOOD CT                                                                                STERLING HEIGHTS   MI    48312‐3547

MARK L RAGLIN                                    6515 FAIRWAY DR                                                                                  JENISON            MI    49428‐9225
MARK L RAPPAPORT                                 244 DEVON ROAD                                                                                   TWP WASHINTON      NJ    07676
MARK L RETCHER                                   4145 MISTY SHORES                                                                                DEFIANCE           OH    43512‐9624
MARK L RIES                                      2325 SADLER STREET                                                                               SANDUSKY           OH    44870‐4850
MARK L RIVERS                                    1060 SAY AVENUE                                                                                  COLUMBUS           OH    43201‐3515
MARK L SANNA                                     3784 TRANSIT RD                                                                                  ORCHARD PARK       NY    14127‐2053
MARK L SENEY                                     513 COSGRAVE WAY                                                                                 SILVERSPRING       MD    20902‐1570
MARK L SHIRLEY CUST ERIC L SHIRLEY UGMA OH       228 E SHANNON AVE                                                                                WEST CARROLLTON    OH    45449‐1234

MARK L SHIRLEY CUST JENNIFER L SHIRLEY UGMA OH   6211 WEST ALEXANDRIA RD                                                                          MIDDLETOWN         OH    45042‐8905

MARK L SIMEOLI                                2828 RED OAK DR                                                                                     GRAND PRAIRIE      TX    75052‐4424
MARK L STAMBAUGH                              13930 SUNFIELD HIGHWAY                                                                              LAKE ODESSA        MI    48849‐8502
MARK L VALERIO                                33 WEST PUTNAM AVE                                                                                  GREENWICH          CT    06830‐5333
MARK L VANDEWATER                             741 SILMAN                                                                                          FERNDALE           MI    48220‐3518
MARK L VANINGEN                               PO BOX 412                                                                                          LAKELAND           MI    48143‐0412
MARK L WALKER                                 5202 LA VENTURA DR E                       APT 1602                                                 JACKSONVILLE       FL    32210‐9315
MARK L WARD                                   1266 N SAND LAKE RD                                                                                 NATIONAL CITY      MI    48748‐9615
MARK L WEBER & THERESA M WEBER JT TEN         12510 WEST NAVAJO DRIVE                                                                             PALOS HEIGHTS      IL    60463‐1739
MARK L WELLS                                  2001 COUNTY RD                             # 1208                                                   TUTTLE             OK    73089‐3100
MARK L WILD                                   1915 N PROSPECT AV 11N                                                                              MILWAUKEE          WI    53202‐1488
MARK L WYCZALEK                               5467 SUN VALLEY                                                                                     GRAND BLANC        MI    48439‐9161
MARK LAMONT                                   285 KOLB RD                                                                                         BINGHAMTON         NY    13905‐5806
MARK LANE MAYBERRY                            103 S 3RD ST                                                                                        NICHOLASVILLE      KY    40356‐1401
MARK LANGOSCH                                 225 LINCOLN PL APT 2F                                                                               BROOKLYN           NY    11217‐3725
MARK LAPER                                    BOX 133                                                                                             FAIRWATER          WI    53931‐0133
MARK LATA MORELL                              2 OLD ABBE RD                                                                                       ENFIELD            CT    06082‐6030
MARK LAWLER                                   1906 CAMBRIDGE CT                          3:00 AM                                                  PALATINE           IL    60074‐1448
MARK LAWRENCE ENGEL CUST BRIAN MATTHEW ENGEL 14066 BASILISCO CHASE DR                                                                             SHELBY TOWNSHIP    MI    48315‐4251
UTMA MI
MARK LAWRENCE ENGEL CUST STEVEN MICHAEL ENGEL 14066 BASILISCO CHASE DR                                                                            SHELBY TWP         MI    48315‐4251
UTMA MI
MARK LAWRENCE ENGEL CUST STEVEN MICHAEL ENGEL 14066 BASILISCO CHASE DR                                                                            SHELBY TWP         MI    48315‐4251
UTMA MI
MARK LAWSON CUST SCOTT P LAWSON UTMA CT       137 LILAC AVE                                                                                       OAKVILLE           CT    06779‐1815
MARK LEBO                                     511 REDWOOD DRIVE                                                                                   CEDARHURST         NY    11516‐1029
MARK LEE                                      130 LORD CLOSE                             RED DEER AB                            T4R 2R9 CANADA
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MARK LEE MITCHELL                            9756 BELLBROOK RD                                                                            WAYNESVILLE       OH    45068‐9041
MARK LEE WINN                                1714 TIMBERS DR                                                                              IRVING            TX    75061‐2241
MARK LESKOWYAH                               7048 ABBEYFIELD DR                                                                           NEW ALBANY        OH    43054‐8774
MARK LEWIS                                   12756 AMOR LN                                                                                GRAND LEDGE       MI    48837
MARK LEWIS & LINDA LEWIS JT TEN              5011 COUNCIL POINTE RD                                                                       COUNCIL BLFS      IA    51501‐8557
MARK LEWIS FANCOURT                          2673 CROSS CREEK AVE                                                                         LANCASTER         OH    43130‐7810
MARK LILES                                   8296 CHICKASAW TR                                                                            TALLAHASSEE       FL    32312‐5085
MARK LINDNER                                 214A WEST ST                                                                                 NEEDHAM HGTS      MA    02494‐1322
MARK LINESCH & ABBY LINESCH JT TEN           4123 EMORY                                                                                   HOUSTON           TX    77005‐1920
MARK LINTZ                                   15582 S NAVAHO CT                                                                            OLATHE            KS    66062‐3842
MARK LOPEZ                                   11091 BETTES PLACE                                                                           GARDEN GROVE      CA    92840‐1102
MARK LUCAS OBERTON                           2889 S DUNHAM RD                                                                             AMELIA            OH    45102‐9711
MARK LUONGO & PAUL LUONGO JT TEN             448 DURANT AVE                                                                               SI                NY    10308‐3034
MARK LYNN MANDRICK                           2620 SARADAN DR                                                                              JACKSON           MI    49202‐1214
MARK M ALTER                                 456 CAMINO FLORA VISTA                                                                       SAN CLEMENTE      CA    92673‐6900
MARK M ASHBURN                               3209 SUSAN CT                                                                                KOKOMO            IN    46902‐3954
MARK M ATCHERSON                             1098 HIGH COUNTRY ROAD                                                                       TOWSON            MD    21286‐1514
MARK M BARCUS                                6388 S 875 W                                                                                 PENDLETON         IN    46064‐9784
MARK M BENNER                                10917 SIGLER RD                                                                              NEW CARLISLE      OH    45344‐9553
MARK M BOYLES                                15360 EGO AVE                                                                                EASTPOINTE        MI    48021‐3606
MARK M BRAUER                                12618 DESERT PALM DRIVE                                                                      SAN ANTONIO       TX    78253
MARK M CHEMRIS                               1112 18TH AVE                                                                                WALL              NJ    07719‐3328
MARK M CORBETT & MARY ANN CORBETT JT TEN     327 BLACK OAK DRIVE                                                                          NATRONA HEIGHTS   PA    15065‐9520

MARK M DOUGLAS                                 8150 ORCHARDWAY ST NW                                                                      NORTH CANTON      OH    44720‐5150
MARK M DRAKE TR MARK M DRAKE TRUST UA 12/30/93 17920 WINDSOR DR                                                                           STILWELL          KS    66085‐9039

MARK M GOLDEN & JEANIE B GOLDEN JT TEN      SKYVIEW ACRES                        1271 OAK ST                                              BLOOMSBURG        PA    17815‐9435
MARK M HINANT                               1517 N E 4TH STREET                                                                           MOORE             OK    73160‐7863
MARK M HOPKINS                              BOX 1594                                                                                      ORANGE            CA    92856‐0594
MARK M JACOBS                               304 S RAYMOND                                                                                 BAY CITY          MI    48706‐4375
MARK M KARSCH                               174 FOLTIM WAY                                                                                CONGERS           NY    10920‐1424
MARK M MALORY                               24982 EAST 5TH                                                                                SAN BERNARDINO    CA    92410‐5118
MARK M MASHAK                               1700 JESSOP RD                                                                                DANSVILLE         MI    48819‐9715
MARK M MATTHEWS                             7477 W COLDWATER RD                                                                           FLUSHING          MI    48433‐1119
MARK M P POON                               520 LAKE ERIE GREEN SE               CALGARY AB                             T2J 2Z6 CANADA
MARK M PETERS                               12322 W BRISTOL RAOD                                                                          LENNON            MI    48449‐9417
MARK M RADOMINSKI                           192 ORCHARD PLACE                                                                             LACKAWANNA        NY    14218‐1706
MARK M WIGSTEN                              190 BUCK RD                                                                                   LANSING           NY    14882‐9006
MARK MACKE                                  5091 ROAD O                                                                                   PANDORA           OH    45877‐9714
MARK MAILLOUX                               1217 VISTA DR                                                                                 FENTON            MI    48430‐1753
MARK MAJORS                                 200 JEFFERSON AVE                                                                             DE SOTO           TX    75115‐4521
MARK MAKUCH                                 1 NORTHRIDGE DRIVE WEST                                                                       MOHNTON           PA    19540
MARK MANEWITZ CUST THOMAS FRANKLIN MANEWITZ 360 E 72ND ST                                                                                 NEW YORK          NY    10021‐4753
UGMA NY
MARK MANSFIELD                              22 PATRICKS CT                                                                                WALLINGFORD       CT    06492‐2692
MARK MARKHAM & KAREN MARKHAM JT TEN         1315 NEST PL                                                                                  PLANO             TX    75093‐2613
MARK MARTELLO                               PO BOX 5187                                                                                   NEW CASTLE        PA    16105‐0187
MARK MARVA & KAREN MARVA JT TEN             106 KINGSMILL CT                                                                              JACKSONVILLE      NC    28546‐3208
MARK MASON HEDGE                            1501 CAMERON DRIVE                                                                            JEFFERSONVILLE    IN    47130‐6609
MARK MATHEWS                                2317B VANDERBILT LN                                                                           REDONDO BEACH     CA    90278‐3717
MARK MATTHEW ZAK                            305 S 6TH ST                                                                                  GOSHEN            IN    46528‐3401
MARK MAXWELL                                415 W MERMAID LN                                                                              PHILADELPHIA      PA    19118‐4203
MARK MCCREARY                               18244 ARCHES COURT                                                                            FOUNTAIN VLY      CA    92708
MARK MCDERMOTT KAMMERER                     4375 FERNBROOK DRIVE                                                                          MERCER ISLAND     WA    98040‐3816
MARK MCKIBBEN                               4125 RIVERHAVEN DR                                                                            RENO              NV    89509‐2189
MARK MCMINN                                 425 TECUMSEH RIDGE CT                                                                         NORMAN            OK    73069‐8325
MARK MESSENGER                              4675 EAGLE CREEK RD                                                                           LEAVITTSBURG      OH    44430‐9464
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MARK MICHAEL KIMBER                              34350 JEFFERSON AVE                                                                            HARRISON           MI    48045‐3324
                                                                                                                                                TOWNSHIP
MARK MINTON                                      308 ELMWOOD RD                                                                                 HURON              OH    44839‐1320
MARK MITCHELL SERELS                             975 WEAVER ST                                                                                  NEW ROCHELLE       NY    10804‐1925
MARK MUHA                                        9215 S EASTERN                        PO BOX 24                                                UNION LK           MI    48387‐0024
MARK MUSCARELLO CUST JOHN PETER MUSCARELLO       9225 N CRIMSON CYN                                                                             FOUNTAIN HLS       AZ    85268
UTMA IL
MARK N COOPER U/GDNSHP OF STEVEN M COOPER        504 HIGHGATE TERR                                                                              SILVER SPRING      MD    20904‐6314

MARK N GAUSE                                     324 N CIVITAS                                                                                  MT PLEASANT        SC    29464‐2796
MARK N HALSTED                                   198 YOUNG HILL ROAD                                                                            SUNAPEE            NH    03782‐2204
MARK N HOLLAND CUST GEORGIA HOLLAND UTMA OH      2472 WAHL TERRACE                                                                              CINCINNATI         OH    45211‐8128

MARK N HORSTMAN                                  1328 DIXIE LANE                                                                                MEDFORD            OR    97501‐3906
MARK N LATHAM                                    451 YOUNG ST                                                                                   PIQUA              OH    45356‐3554
MARK N PLAUT & BARI LYNN PLAUT JT TEN            64‐54 UTOPIA PARKWAY                                                                           FRESH MEADOWS      NY    11365‐2148
MARK N RAISER                                    35 MOUNTAINSIDE DR                                                                             WAYNE              NJ    07470‐4208
MARK N TAYLOR                                    1604 KEEVER CT                                                                                 LOUISVILLE         KY    40245‐7549
MARK NALEPINSKI & MATTHEW NALEPINSKI JT TEN      8830 SAN JOSE                                                                                  REDFORD            MI    48239‐2318

MARK NASS                                        18 MARVIN AVE                                                                                  ROCKVILLE CENTRE   NY    11570‐2419

MARK NEEDLEMAN CUST MICHAEL NEEDLEMAN UTMA 6 GENESEE TRAIL                                                                                      WESTFIELD          NJ    07090‐2706
NJ
MARK NEEDLEMAN CUST NAOH NEEDLEMAN UGMA NY 6 GENESEE TRAIL                                                                                      WESTFIELD          NJ    07090‐2706

MARK NELSON & WANDA NELSON JT TEN                733 ORION DR                                                                                   COLORADO SPGS      CO    80906‐1017
MARK NEMITH                                      109 MAXWELL RD                                                                                 LATHAM             NY    12110‐5123
MARK NOIROT                                      02224 DOMERSVILLE RD                                                                           DEFIANCE           OH    43512‐9115
                                                                                                                                                JUNCTION
MARK NOVAKOWSKI                                  1311 EL CENTRO AV                                                                              OAKLAND            CA    94602‐1817
MARK O ANDERSON                                  211 CANDACE CT                                                                                 ORTONVILLE         MI    48462‐8670
MARK O BREWSTER                                  5684 FOREST GREEN DR                                                                           PERRY              MI    48872‐9160
MARK O KAESTNER                                  162 WESTERN BLVD 803                  TAMUNING                               96913 GUAM
MARK OBERMEYER                                   2038 SPRING MEADOW CIR                                                                         SPRINGHILL         TN    37174‐9273
MARK OBRIEN                                      4210 YLSTER RD                                                                                 BELTSVILLE         MD    20705
MARK OCHOA CUST MEGAN L OCHOA UTMA CO            15869 E 8TH CIRCLE                                                                             AURORA             CO    80011‐7303
MARK OPENLANDER                                  870 COTTAGE LN                                                                                 BOURBON            MO    65441‐9164
MARK OWEN JACQUES                                11550 MEADOWMEER CIR NE                                                                        BAINBRIDGE IS      WA    98110‐4247
MARK P BALABUCH                                  69886 DEQUINDRE                                                                                ROMEO              MI    48065‐4016
MARK P BOFF & LINDA F BOFF JT TEN                5848 BURNHAM RD                                                                                BLOOMFIELD HILLS   MI    48302‐4018

MARK P CHANDLER                                   9178 OAK KNOLL LANE                                                                           FISHERS            IN    46038‐9574
MARK P DICICCO                                    19 JULIAN AVE                                                                                 WORCESTER          MA    01604‐3572
MARK P DOYLE                                      616 HERNANDO DR                                                                               MARCO ISLAND       FL    34145‐2414
MARK P DREWS                                      3663 CUMBERLAND LN                                                                            HAMBURG            NY    14075‐2204
MARK P FORD TR UA 08/07/97 PHILIP EARL FORD TRUST 2210 TREMONT RD                                                                               COLUMBUS           OH    43221‐4241

MARK P HILLMAN                                   32533 ROBINHOOD DRIVE                                                                          BEVERLY HILLS      MI    48025‐2513
MARK P LAYTON                                    2295 STONECROP WAY                                                                             GOLDEN             CO    80401‐8524
MARK P LIBUTTI                                   19 HOLLOW HILL LN                                                                              ROCHESTER          NY    14624‐1071
MARK P MEYERAND                                  324 LEXINGTON BLVD                                                                             ROYAL OAK          MI    48073‐2596
MARK P MOONEY                                    2339 POWERS N W                                                                                GRAND RAPIDS       MI    49544‐1861
MARK P MORETON                                   7784 FARNSWORTH DR                                                                             CLAY               MI    48001‐3016
MARK P OVERMAN                                   3721 25TH AVE S                                                                                MINNEAPOLIS        MN    55406‐2539
MARK P PANZARINO                                 260 CHERRY TREE SQ                                                                             FOREST HILL        MD    21050‐3090
MARK P PERRY & MRS ELIZABETH J PERRY JT TEN      6876 BASSWOOD RD                                                                               AUBURN             NY    13021‐8513
MARK P PHILLIPS                                  126 AVALON RD                                                                                  SUMMERVILLE        SC    29483‐8361
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Name                                             Address1                                Address2             Address3          Address4          City            State Zip

MARK P PORCHIK CUST MICHAEL A PORCHIK UTMA NJ    1321 DUKES PARKWAY                                                                               MANVILLE        NJ    08835‐1125

MARK P SCHAFER                                 4342 GREENTEAD DR                                                                                  ZIONSVILLE      IN    46077‐8513
MARK P SCHULTZ                                 86 ROSEDALE AVENUE                        ST CATHARINES ON                       L2P 1Y9 CANADA
MARK P SMITH CUST STEPHEN N SMITH UTMA WV      2201 BRIGHTON LANE                                                                                 PLANO           TX    75075‐3303
MARK P STIFTER TR UA 08/14/2007 MARK P STIFTER 3130 PARKLAND DR                                                                                   W BLOOMFIELD    MI    48322
REVOCABLE LIV TRUST
MARK P TOCHMAN CUST MATTHEW P TOCHMAN UGMA 17568 FARMCREST LN                                                                                     NORTHVILLE      MI    48167‐2235
MI
MARK P TOCHMAN CUST SARAH W TOCHMAN UGMA TX 17568 FARMCREST LN                                                                                    NORTHVILLE      MI    48167‐2235

MARK P TOMLINSON                                 505 RIVER VALLEY RD NW                                                                           ATLANTA         GA    30328‐2917
MARK P VAN POPPELEN & KARLIE VAN POPPELEN JT TEN 800 WELLS CT                                                                                     BAY CITY        MI    48708‐6365

MARK P VAN POPPELEN & MARCUS VAN POPPELEN JT     800 WELLS CT                                                                                     BAY CITY        MI    48708‐6365
TEN
MARK P VAN POPPELEN & PATRICK VAN POPPELEN JT    800 WELLS CT                                                                                     BAY CITY        MI    48708‐6365
TEN
MARK PACE                                        12107 CHIPPEWA RD                                                                                BRENCHSVILLE    OH    44141‐2127
MARK PALMER                                      3069 RIVER BEND DR                                                                               FORT MILL       SC    29708‐8340
MARK PATINKIN                                    10 BROOKWAY RD                                                                                   PROVIDENCE      RI    02906‐4821
MARK PAUL MATTSON                                858 E WHEEL RD                                                                                   BEL AIR         MD    21015‐6319
MARK PAUL MEGAS                                  12 MELIKIAN DRIVE                                                                                WILBRAHAM       MA    01095‐1322
MARK PAWLOWSKY                                   3510 RUE DE LA MONTAGNE APT 36          MONTREAL QC                            H3G 2A6 CANADA
MARK PETERSEN                                    16709 JAMESTOWN FOREST DR                                                                        FLORISSANT       MO   63034‐1709
MARK PETERSON                                    13 BURNETT AVE                                                                                   SOUTH HADLEY     MA   01075‐1511
MARK PFEFFER CUST WENDY PFEFFER UTMA NJ          3 FLAMINGO COURT                                                                                 VOORHEES         NJ   08043‐1664
MARK PFENNINGER                                  27975 QUAIL HOLLOW CT                                                                            FARMINGTON HILLS MI   48331

MARK PHELPS CUST LYNDSEY N PHELPS UTMA MD        1704 CRESTWOOD CIR                                                                               SALISBURY       MD    21804‐1915

MARK PICKARD CUST JASON MICHAEL PICKARD UGMA     101 20TH ST APT 1908                                                                             MIAMI BEACH     FL    33139
NY
MARK PLAFKER                                     900 WEST SHORE ROAD                                                                              PORT WASHINGTON NY    11050‐4624

MARK POLCYN CUST ADAM JOSEPH POLCYN UGMA CT      750 CARHART AVE                                                                                  FULLERTON       CA    92833‐2324

MARK POLCYN CUST REBECCA ANN POLCYN UGMA CT      750 CARHART AVE                                                                                  FULLERTON       CA    92833‐2324

MARK POLLICK                                     12520 HIGH BLUFF DR                     APT 360                                                  SAN DIEGO       CA    92130‐2063
MARK PORCHIK & LINDA PORCHIK JT TEN              1321 DUCKS PARKWAY                                                                               MANVILLE        NJ    08835‐1125
MARK PORRECA                                     2045 SPRINGHOUSE RD                                                                              BROOMALL        PA    19008‐3203
MARK PRONIX                                      9225 EVA                                                                                         ROCKFORD        MI    49341‐9358
MARK Q HUGHES                                    2646 WHITNEY                                                                                     DETROIT         MI    48206‐2337
MARK Q MILES                                     8065 WISSMILLER RD                                                                               SOUTH BRANCH    MI    48761‐9719
MARK R ABELE                                     30224 FLORENCE                                                                                   GARDEN CITY     MI    48135‐2630
MARK R BACHMANN CUST MATTHEW E BACHMANN          2486 REGENCY LAKE DR                                                                             MARIETTA        GA    30062‐8408
UTMA GA
MARK R BECHTEL                                   7358 GILLETTE                                                                                    FLUSHING        MI    48433‐9271
MARK R BEISWENGER                                135 S VAN RD                                                                                     HOLLY           MI    48442‐8407
MARK R BERRETT                                   109 E SOUTH TEMPLE ST # 2B                                                                       SALT LAKE CTY   UT    84111
MARK R BIELBY                                    G9254 WEBSTER                                                                                    CLIO            MI    48420
MARK R BIELEK                                    1503 LINWOOD AVE                                                                                 ANN ARBOR       MI    48103‐3662
MARK R BOMGARDNER                                3136 WILMONT DRIVE                                                                               WILMINGTON      DE    19810‐3416
MARK R BORNAIS                                   5458 VINMAR AVE                                                                                  ALTA LOMA       CA    91701‐1200
MARK R BUGLIONE                                  10600 W COON LAKE RD                                                                             WEBBERVILLE     MI    48892‐9012
MARK R CAMPBELL & BETTY M CAMPBELL JT TEN        1426 EASON RD                                                                                    WATERFORD       MI    48328‐1208
MARK R CONWAY                                    42588 LILLEY POINTE DR                                                                           CANTON          MI    48187‐3860
MARK R CORBIN                                    5474 S R 19                                                                                      GALION          OH    44833‐9765
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

MARK R CURTIN                                     408 UNIVERSITY DR                                                                              CRP CHRISTI       TX    78412‐2744
MARK R DAVIS                                      401 OLD MILL CREEK DRIVE                                                                       ALEXANDRIA        IN    46001‐8118
MARK R DEEM                                       9128 WOODSTREAM LANE                                                                           DAYTON            OH    45458‐9557
MARK R DELAGARZA                                  409 BITTERSWEET                                                                                OSSIAN            IN    46777‐9371
MARK R DEWEY                                      2224 DR ROBERTSON ROAD                                                                         SPRING HILL       TN    37174
MARK R DRZEWICKI                                  109 SEDGEWOOD CT                                                                               EASLEY            SC    29642‐9127
MARK R EDGAR                                      4315 EASTON RD                                                                                 GLADWIN           MI    48624
MARK R FRASER                                     905 N LAKE SAMISH DR                                                                           BELLINGHAM        WA    98229‐7017
MARK R FRENCH                                     23917 RIPPLE CRK                                                                               NOVI              MI    48375‐3552
MARK R GILMORE                                    5051 BETHEL CHURCH RD                                                                          SALINE            MI    48176‐9728
MARK R GORDON                                     9029 BAYWOOD PARK DRIVE                                                                        SEMINOLE          FL    33777‐4630
MARK R GRIFFIN                                    7042 MAYNARD RD                                                                                PORTLAND          MI    48875
MARK R HAMILTON                                   3336 QUAKER RD                                                                                 GASPORT           NY    14067‐9469
MARK R HANISCH & RUTH‐ANNA HANISCH JT TEN         1441 ROBINSON RD SE                                                                            GRAND RAPIDS      MI    49506‐1722
MARK R HEWGLEY                                    4507 SASHABAW                                                                                  WATERFORD         MI    48329‐1963
MARK R HILL                                       300 WHITE RD NW                                                                                ADAIRSVILLE       GA    30103‐5353
MARK R HOHN                                       7361 VASSAR RD                                                                                 GRAND BLANC       MI    48439‐7406
MARK R HYDER                                      2441 RAMBLEWOOD RD                                                                             AIKEN             SC    29803‐6695
MARK R JACOBS                                     10080 N PALMYRA RD                                                                             N JACKSON         OH    44451‐9793
MARK R JETZKE                                     53400 ROMEO PLANK RD                                                                           MACOMB            MI    48042
MARK R JOHNSON                                    0‐663 PONDEROSA                                                                                GRAND RAPIDS      MI    49544‐6804
MARK R KENNEDY & ROBERT K KENNEDY JT TEN          49737 EDINBOROUGH                                                                              CHESTERFIELD      MI    48047
MARK R KERCHER                                    5159 W 7 MILE RD                                                                               GRAILAND          MI    49738‐9789
MARK R KINSLER                                    512 E MULBERRY ST                                                                              LANCASTER         OH    43130‐3136
MARK R KLINE                                      5146 BURNING TREE ST                                                                           KALAMAZOO         MI    49009‐3804
MARK R KOECHLEY                                   1831 BRUSSELS                                                                                  TOLEDO            OH    43613‐4631
MARK R KRIEGER                                    9832 BRENTWOOD DR                                                                              SANTA ANA         CA    92705‐1534
MARK R KRIEGER                                    2708 SURREY AVE                                                                                MODESTO           CA    95355‐4616
MARK R LEITE                                      4247 SAILVIEW DR                                                                               DENVER            NC    28037‐7017
MARK R LITZOW                                     2505 CREST LN SW                                                                               ROCHESTER         MN    55902‐1101
MARK R LOGSDON                                    17807 BLUEBELL DRIVE                                                                           HAGERSTOWN        MD    21740‐9151
MARK R LUCAS                                      87 WESTWOOD DR                                                                                 WHITMAN           MA    02382‐1045
MARK R MAGER                                      7416 PRINE DR SW                                                                               OLYMPIA           WA    98512‐7540
MARK R MASON CUST EILEEN RENEE MASON UTMA IN      151 W PENNSYLVANIA                                                                             SHELBYVILLE       IN    46176‐1219

MARK R MASON CUST LAURA E MASON UTMA IN     151 W PENNSYLVANIA                                                                                   SHELBYVILLE       IN    46176‐1219
MARK R MASON CUST THOMAS LUKE MASON UTMA IN 151 W PENNSYLVANIA                                                                                   SHELBYVILLE       IN    46176‐1219

MARK R MC CASLIN                                  566 HILLCLIFF DR                                                                               WATERFORD         MI    48328‐2518
MARK R MONROE & VICKEY L MONROE JT TEN            5404 SKEFFINGTON WAY                                                                           LOUISVILLE        KY    40241‐1367
MARK R MORGAN & SARA J MORGAN JT TEN              8409 WYNDRIDGE DR                                                                              APEX              NC    27502‐9797
MARK R MUSSEY                                     6304 NW 70TH ST                       APT 308                                                  KANSAS CITY       MO    64151‐6120
MARK R NIMPHIE                                    PO BOX 640                                                                                     MACKINAW CITY     MI    49701‐0640
MARK R NOBLE                                      1158 SOUTH ROAD                                                                                WAKEFIELD         RI    02879‐7632
MARK R O'HARA                                     513 ELLIE LEE DR                                                                               SMYRNA            TN    37167‐4483
MARK R ODELL                                      8220 GODFREY ROAD                                                                              SHREVEPORT        LA    71129
MARK R PIASCIK CUST ALYSSIA K PIASCIK UGMA MI     1011 POUND RD                                                                                  COLUMBUS          MI    48063

MARK R PIASCIK CUST NICOLE M RUSSO UGMA MI        22070 SUNSET                                                                                   MACOMB            MI    48044
MARK R POMARANSKI                                 7827 UNDERWOOD RIDGE                                                                           TRAVERS CITY      MI    49686‐1696
MARK R POOLE                                      PO BOX 895                                                                                     CLARKSTON         MI    48346‐1057
MARK R RICHARDS                                   3660 PENNINGTON WAY                                                                            HAMILTON          OH    45011‐8824
MARK R ROSCOE                                     52674 SEVEN OAKS DR                                                                            SHELBY TOWNSHIP   MI    48316‐2985

MARK R ROSSI                                      11429 OCEANSPRAY BLVD                                                                          ENGLEWOOD         FL    34224‐9129
MARK R RUIZ                                       119 COUNTY ROAD 887                                                                            ETOWAH            TN    37331‐5016
MARK R SANCHO                                     4395 N US HIGHWAY 23                                                                           BLACK RIVER       MI    48721‐9759
MARK R SCHEERER                                   1948 BRANTLEY ST                                                                               WINSTON SALEM     NC    27103‐3712
MARK R SCHULTZ                                    229 PINEHURST ROAD                                                                             BRISTOL           CT    06010‐2963
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MARK R SIMPSON & VIRGINIA D SIMPSON JT TEN      710 OLD POST ROAD                                                                                ATLANTA          GA    30328‐4737
MARK R STARK                                    3363 STONY POINT RD                                                                              GRAND ISLAND     NY    14072‐1152
MARK R STAUCH & DORIS M STAUCH JT TEN           43027 W KIRKWOOD DR                                                                              CLINTON TOWNSHIP MI    48038‐1219

MARK R STEVES                                   9324 ALEXANDER DR NE                                                                             LACEY            WA    98516‐7113
MARK R STONE                                    206 S DILLWYN ROAD                                                                               NEWARK           DE    19711‐5550
MARK R STRICKLAND                               828 MT EVANS CT                                                                                  LOUISVILLE       CO    80027‐3112
MARK R SUNDSTROM                                5703 E TARPEY DR                                                                                 FRESNO           CA    93727‐7273
MARK R SURRE                                    7455 OLD POND RD                                                                                 CLARKSTON        MI    48348‐4104
MARK R THIBAULT                                 642 LINCOLN RD                                                                                   GROSSE POINTE    MI    48230‐1220
MARK R TUCKER                                   14160 PARADISE TREE DR                                                                           ORLANDO          FL    32828‐6421
MARK R WEISS                                    11 DUNBAR DR                                                                                     WEST WINDSOR     NJ    08550‐3225
MARK R WOLOSIEWICZ & ANGELA K WOLOSIEWICZ JT    4710 KENICOTT                                                                                    BRIGHTON         MI    48114‐9072
TEN
MARK R YALE                                     PO BOX 441                                                                                       SARATOGA SPGS    NY    12866‐0441
MARK RACICOT                                    5000 CRAWFORD RD                                                                                 LANGLEY          WA    98260‐8524
MARK RADTKE                                     2548 BLAINE                                                                                      GRAND RAPIDS     MI    49507‐3953
MARK REID MONROE                                6817 SW 83RD CT                                                                                  MIAMI            FL    33143
MARK REISMAN                                    175 RIVERSIDE DR                                                                                 NEW YORK NEW     NY    10024‐1616
                                                                                                                                                 YORK
MARK RICHARD KENDALL                            30327 VIA BONICA                                                                                 RANCHO PALOS     CA    90275‐4415
                                                                                                                                                 VERDE
MARK RICHARD RAUSCH                              954 HOLBROOKE DR                                                                                CANTON           MI    48187‐5904
MARK RICHARD TIPTON                              1190 ROANOKE RD                                                                                 JAMESTOWN        TN    38556‐5395
MARK RICHARD WATT                                253 MILLER ROAD                                                                                 BETHANY          CT    06524‐3235
MARK ROBERT BUSINSKI                             118 WIDGEON COURT                                                                               GREAT RIVER      NY    11739
MARK ROBERT BUSINSKI CUST CURTIS ROBERT BUSINSKI 118 WIDGEON CT                                                                                  GREAT RIVER      NY    11739‐0292
UGMA NY
MARK ROBERT CHRISTIAN                            4609 HOYLAKE DR                                                                                 VIRGINIA BEACH   VA    23462‐4543
MARK ROBERT LA VALLEE                            1243 GUILDFORD ROAD                                                                             GLEN BURNIE      MD    21060‐7402
MARK ROBINSON MANTON                             8078 CHATEAU LN                                                                                 WESTERVILLE      OH    43082‐8546
MARK ROSEN CUST EVAN MATTHEW ROSEN UGMA NJ 61 ASHBURN RD                                                                                         WAYNE            NJ    07470‐2639

MARK ROSSI                                      3743 HELENA CIRCLE                                                                               LA VERNE         CA    91750‐3238
MARK ROTH BOSWELL                               2504 W FULCRUM PL                                                                                ANAHEIM          CA    92804‐2245
MARK ROUSSEAU                                   109 CARPENTER AVE                                                                                MERIDEN          CT    06450
MARK ROUSSEAUX CUST NICOLE L ROUSSEAUX UGMA     9030 CLUBWOOD DR                                                                                 WALLED LAKE      MI    48390‐1710
MI
MARK ROWLAND CUST COLEMAN ROWLAND UTMA GA       128 TREYBURNE WAY                                                                                MACON            GA    31210‐4007

MARK RULE                                       1714 YOSEMITE BLVD                                                                               BIRMINGHAM       MI    48009‐5203
MARK RUSSELL ADKINS                             1358 DIVISON ST                                                                                  BALLSTON LAKE    NY    12019‐2906
MARK RUTLEDGE                                                                                                                                    ALPHA            IL    61413
MARK RYERSON                                    1017 CLEARVIEW DR                                                                                MT JULIET        TN    37122‐3430
MARK S AMMAN                                    237 23RD AVE                                                                                     SAN FRANCISCO    CA    94121‐2008
MARK S ANDERSEN GDN COLE ANDERSEN               60 NAPIER ST WEST RR #1                 THORNBURY ON                           N0H 2P0 CANADA
MARK S ANDERSON                                 218 S BEACH DR                                                                                   ALTOONA          WI    54720‐1809
MARK S ARMSTRONG                                1370 KELTON AVE #306                                                                             LOS ANGELES      CA    90024‐5493
MARK S BALA                                     5920 MAYBURN ST                                                                                  DEARBORN HTS     MI    48127‐3210
MARK S BARRETT                                  4221 GOTWICK DR                                                                                  ORION            MI    48359‐1892
MARK S BEGGS                                    PO BOX 1870                             AGANA                                  96910 GUAM
MARK S BEMISS                                   2099 HARWELL LN                                                                                  CORNERSVILLE     TN    37047‐5025
MARK S BILAS                                    3106 HUMMINGBIRD HILL DR                                                                         POLAND           OH    44514‐2801
MARK S BREESE                                   232 CARTLAND WAY                                                                                 FOREST HILL      MD    21050
MARK S BREITIGAN                                23 BRIER AVE                                                                                     WILMINGTON       DE    19805‐1915
MARK S BROTHERS & BARBARA A BROTHERS JT TEN     18066 RLK RD                                                                                     CHERRYVALE       KS    67335

MARK S CATHER                                   3645 THYME DR                                                                                    ST CHARLES       MO    63303‐6330
MARK S CAVACIUTI                                OAK RUN                                 18 CHERRY RD                                             NEW CASTLE       DE    19720‐2371
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MARK S CAVACIUTI & A THERESA CAVACIUTI JT TEN     OAK RUN                              18 CHERRY RD                                             NEW CASTLE         DE    19720‐2371

MARK S CLINE                                      16856 HILL RD                                                                                 DEFIANCE           OH    43512‐8927
MARK S COLEMAN                                    1108 HIGH ST SW                                                                               HARTSELLE          AL    35640‐3108
MARK S DEGNAN                                     1999 BARRINGTON COURT                                                                         ROCHESTER HILLS    MI    48306‐3217
MARK S DERSHOWITZ                                 20414 LAVERTON DR                                                                             KATY               TX    77450‐2011
MARK S DEVERICH                                   1141 WHIG HWY                                                                                 ADRIAN             MI    49221‐9472
MARK S DEXEL                                      4358 LIPPINCOTT BLVD                 #2                                                       BURTON             MI    48519‐1160
MARK S ELLIS                                      PO BOX 653                                                                                    HIGHLAND           MI    48357‐0653
MARK S EWASKO                                     25 PATRICIA CIR                                                                               BEAR               DE    19701‐1199
MARK S FIELDS                                     706 COUNTRYWOOD DR                                                                            FRANKLIN           TN    37064‐5505
MARK S FISH & DOROTHY A FISH JT TEN               6201 BERT KOUNS INDUSTRIAL           LOOP #874                                                SHREVEPORT         LA    71129‐5056
MARK S FORNEY                                     1439 18TH AVE                                                                                 CAMANCHE           IA    52730‐1017
MARK S FREEMAN                                    159 HOLLIDAY HILL                                                                             LEXINGTON          OH    44904‐1137
MARK S FREES                                      2427 W JUNIPER RIDGE CT                                                                       JANESVILLE         WI    53545‐9621
MARK S FRIEDMAN & MRS ROSE FRIEDMAN JT TEN        50 BOW ST                                                                                     FOREST HILLS       NY    11375‐5263

MARK S FRIEND                                     4249 LAKESEDGE DR                    APT 306                                                  KALAMAZOO          MI    49008‐8706
MARK S GORDON                                     200 WESTBEND CIRCLE                                                                           AMES               IA    50014‐3646
MARK S GORDON & CHERYL A GORDON JT TEN            1410 COLBURN DR                                                                               ZANESVILLE         OH    43701‐7053
MARK S GORMAN                                     41418 SAAL                                                                                    STERLING HEIGHTS   MI    48313‐3563

MARK S GRAY                                       12603 JONES RD                                                                                HAGERSTOWN         IN    47346‐9768
MARK S GREGORY                                    2860 NORTHVILLE DR NE                                                                         GRAND RAPIDS       MI    49525‐1766
MARK S HARRIS                                     5600 E COUNTY RD 200 N                                                                        AVON               IN    46123‐8640
MARK S HENRY                                      8770 EDWARD DR                                                                                ROSCOMMON          MI    48653
MARK S HEPPTING                                   8228 HORSESHOE BEND LN                                                                        LAS VEGAS          NV    89113‐0127
MARK S HERBOLD                                    140 HICKORY HILL DR                                                                           ELMA               NY    14059‐9233
MARK S HODGE                                      915 BROKEN ARROW COVE                                                                         COLLIERVILLE       TN    38017‐7357
MARK S HOFER                                      3261 COUNTY RD 19 SOUTH                                                                       MINOT              ND    58701‐2951
MARK S HUEBLER                                    14540 ASHTON DR                                                                               SHELBY TWNSP       MI    48315‐4903
MARK S HUJAR                                      922 ARBOR PINE                                                                                TOMBALL            TX    77375‐4183
MARK S JACKSON                                    4702 PARKRIDGE                                                                                WATERFORD          MI    48329‐1645
MARK S JAREMKO                                    15113 PARALLEL ROAD                                                                           BASEHOR            KS    66007‐3012
MARK S JUREK                                      4450 SAVOIE TRL                                                                               W BLOOMFIELD       MI    48323‐2546
MARK S KANNY                                      5010 MALLARD'S LANDING                                                                        HIGHLAND           MI    48357‐2150
MARK S KAZAK                                      200 RIDGEMONT DRIVE                                                                           ROCHESTER          NY    14626‐3410
MARK S KELLY                                      3805 COVERT RD                                                                                WATERFORD          MI    48328‐1324
MARK S KIDD                                       328 N OCEAN BLVD                     APT 1008                                                 POMPANO BEACH      FL    33062‐5173
MARK S KOTCH                                      933 BEAVER ST                                                                                 BRISTOL            PA    19007‐3229
MARK S KOZLOWSKI                                  47752 TORRINGTON DR N                                                                         CANTON             MI    48188‐4709
MARK S KRAMER                                     36 STAR DANCER TRAIL                                                                          SANTE FE           NM    87506‐1208
MARK S KUHN & LORAINE R KUHN JT TEN               4818 S KNOLL CT                                                                               WEST BLOOMFIELD    MI    48323‐2521

MARK S LARSEN SR                              PO BOX 1327                                                                                       BEND               OR    97709
MARK S LICKERS                                RR 2 343 RIVER RANGE                     OHSWEKEN ON                            N0A 1M0 CANADA
MARK S LOCKWOOD                               7791 VICTOR MENDON ROAD                                                                           VICTOR             NY    14564‐9170
MARK S MADEJ                                  41925 OAK LANE                                                                                    PLYMOUTH           MI    48170‐2508
MARK S MCKOWN                                 1532 BOYCE RD                                                                                     SHELBY             OH    44875
MARK S MEREDITH                               5356 NOLAND DRIVE                                                                                 TECUMSEH           MI    49286‐9584
MARK S MEYER                                  4428 SW ELEANOR LN                                                                                PORTLAND           OR    97221‐1271
MARK S MIZLA                                  2166 S OLAF DRIVE                                                                                 MARBLEHEAD         OH    43440‐9775
MARK S MOCZYNSKI CUST LEAH ANN MOCZYNSKI UTMA 2333 W OKLAHOMA AVE                                                                               MILWAUKEE          WI    53215‐4434
WI
MARK S MOSKOWITZ                              3122 ANDOVER CIRCLE                                                                               GASTONIA           NC    28056‐6513
MARK S MUNN                                   615 CONSTSANE STREET                                                                              ROGERS CITY        MI    49779‐1516
MARK S MURPHY                                 128 MAGNOLIA ST                                                                                   PENNS GROVE        NJ    08069‐2139
MARK S OLLIER                                 901 N EMERSON AV                                                                                  INDIANAPOLIS       IN    46219‐4341
MARK S PALMER                                 257 BERGER ST                                                                                     SOMERSET           NJ    08873‐2861
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Name                                             Address1                              Address2             Address3          Address4          City            State Zip

MARK S PATTERSON                                 2746 JACOBS TRAIL                                                                              BURLINGTON      NC    27215‐8508
MARK S PENNINGTON                                11207 LONGBROOKE DR                                                                            RIVERVIEW       FL    33579‐7079
MARK S PIOTROWSKI                                1408 GARTLAND                                                                                  JANESVILLE      WI    53545‐1575
MARK S POHLMAN                                   160 WESTCHESTER BLVD                                                                           BUFFALO         NY    14217‐1461
MARK S POLING                                    158 WASHINGTON ST                                                                              KEYPORT         NJ    07735‐1034
MARK S PRATT                                     1518 R STREET N W                                                                              WASHINGTON      DC    20009‐3818
MARK S REAGAN & LYNDA F REAGAN JT TEN            190 BOSTWICK RD                                                                                OXFORD          GA    30054‐2834
MARK S RIDENOUR                                  PO BOX 17                                                                                      BELLINGHAM      MA    02019‐0017
MARK S ROHRS                                     301 W 28TH STREET N                                                                            INDEPENDENCE    MO    64050‐1223
MARK S ROSE                                      22606 INKSTER RD                                                                               ROMULUS         MI    48174‐9541
MARK S RUDOLPH                                   2617 BENJAMIN                                                                                  ROYAL OAK       MI    48073‐3086
MARK S RZEPKA & PHYLLIS A HEAVENRIDGE JT TEN     9246 WOODRING                                                                                  LIVONIA         MI    48150‐3758

MARK S SCHINDLER                            813 RIDGE ROAD                                                                                      LAWRENCEVILLE   GA    30043‐3753
MARK S SMITH                                7922 N MAPLE                                                                                        SPOKANE         WA    99208‐9627
MARK S SMITH                                PO BOX 77                                                                                           VERNON          MI    48476‐0077
MARK S SMITH                                6900 THUNDERBIRD                                                                                    ARLINGTON       TX    76002‐3461
MARK S STUART                               852 CYPRESS CREEK DR                                                                                MOUNT VERNON    TX    75457‐7937
MARK S THOMAS                               2919 SUN TERRACE                                                                                    HARTLAND        MI    48353‐2829
MARK S TIGHE                                92 OLD LITTLE BRITAIN ROAD                                                                          NEWBURGH        NY    12550‐7251
MARK S TONKELOWITZ                          5 AVONDALE RD                                                                                       PLAINVIEW       NY    11803
MARK S TOWLE                                77 GROVE ST                                                                                         E DOUGLAS       MA    01516‐2117
MARK S UTTER                                24 LENAPE DRIVE                                                                                     MONTVILLE       NJ    07045‐9795
MARK S VERBENEC                             15105 W 77TH ST                                                                                     LENEXA          KS    66217‐9450
MARK S WALERZAK                             10371 ST JOHN DRIVE                                                                                 ALGONAC         MI    48001‐4241
MARK S WALTKO                               2066 VERNON ST N W                                                                                  WARREN          OH    44483‐3150
MARK S WILDER                               11151 S MORRICE RD                                                                                  MORRICE         MI    48857‐9787
MARK S WOOD                                 6388 DUTCH ROAD                                                                                     GOODRICH        MI    48438‐9759
MARK SALYER                                 17621 N KIMBERLY WAY                                                                                SURPRISE        AZ    85374‐9672
MARK SANDBERG CUST MATTHEW SANDBERG UTMA NY 12 PEQUA LN                                                                                         COMMACK         NY    11725

MARK SAPERS                                      41 MIDDLESEX RD                                                                                MERRIMACK       NH    03054‐2774
MARK SARETTE                                     842 SUNDANCE AVE                                                                               EVANSTON        WY    82930‐9107
MARK SARPY                                       8563 BROOKSTONE DR                                                                             GREENWOOD       LA    71033‐3001
MARK SCHLEIMER                                   68‐37 108 ST APT 2K                                                                            FOREST HILLS    NY    11375
MARK SCHMIDT                                     103 CLARK STREET                                                                               CANASTOTA       NY    13032
MARK SCHONINGER                                  2380 BAYVIEW LANE                                                                              NORTH MIAMI     FL    33181‐2432
MARK SCHONTZ II                                  1008 SCHOLASTIC CIR                                                                            DURHAM          NC    27713‐6578
MARK SCHUETTE CUST WILLIAM SCHUETTE UTMA GA      3428 AUTUMN DR                                                                                 DORAVILLE       GA    30340‐1908

MARK SCHWARTZ & MRS CAROL LYNN SCHWARTZ JT       2606 E ROBB LN                                                                                 PHOENIX         AZ    85024‐5256
TEN
MARK SCOTT TURNER                                225 NORTH ORR ROAD                                                                             HEMLOCK         MI    48626‐9420
MARK SEAVEY CUST SAMANTHA O SEAVEY UTMA CA       2133 VIA TECA                                                                                  SAN CLEMENTE    CA    92673‐5649

MARK SEKORSKI CUST KIMBERLY SEKORSKI UTMA CT     180 OLD WATERBURY ROAD                                                                         TERRYVILLE      CT    06786

MARK SHEPPARD                                    PO BOX 268                            NEILBURG SK                            S0M 2C0 CANADA
MARK SHERMAN                                     122 N VAN DIEN AVE                                                                             RIDGEWOOD       NJ    07450‐3435
MARK SIEFFERT CUST MATTHEW SIEFFERT UGMA MI      2082 MAPLE CREEK CIRCLE                                                                        ANN ARBOR       MI    48108‐9607

MARK SIEFFERT CUST PAIGE SIEFFERT UGMA MI        2082 MAPLE CREEK CIRCLE                                                                        ANN HARBOR      MI    48108‐9607
MARK SINCLAIR CONRAD                             PO BOX 520                                                                                     BRONSON         FL    32621‐0520
MARK SLACHTA                                     3637 N GREYLOCK CIR                                                                            MESA            AZ    85215‐7701
MARK SLEPAK CUST JOSHUA ADAM SLEPAK UTMA IL      2308 W YAHOO TRL                                                                               PHOENIX         AZ    85085‐5000

MARK SLUTSKY & KAREN WEISS SLUTSKY JT TEN        9 QUEENS WAY                                                                                   LINCOLNSHIRE    IL    60069‐3403
MARK SMILDE                                      2 OLD RANCH RD                                                                                 LAGUNA NIGUEL   CA    92677‐9209
MARK SOLOMON                                     5005 COLLINS AVE                      APT 715                                                  MIAMI BEACH     FL    33140‐2595
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Name                                            Address1                            Address2             Address3          Address4                City              State Zip

MARK SOUTHBY                                    4442 PROUTY RD                                                                                     TRAVERSE          MI    49686‐8041
MARK SPINNER CUST BETH LAUREN SPINNER UTMA NJ   12 GLADSTONE DR                                                                                    EAST BRUNSWICK    NJ    08816‐3931

MARK SPIVACK                                    18 SEA SPRAY RD                                                                                    WESTPORT          CT    06880‐6931
MARK STAHL                                      2525 OLSON DRIVE                                                                                   KETTERING         OH    45420‐1036
MARK STEPHEN & TIA LANGE JT TEN                 1583 AMBERLEA DR N                                                                                 DUNEDIN           FL    34698‐4733
MARK STEPHEN ALLEN                              4148 NORTH RD                                                                                      MCGRAW            NY    13101
MARK STEPHEN MANKER                             4456 BLACKBIRD ROAD                                                                                PETOSKEY          MI    49770‐9755
MARK STEVEN DICK                                27 KRAMERS POND RD                                                                                 PUTNAM VALLEY     NY    10579‐2625
MARK STEVEN GOLDBERG                            46204 RIVELAND PL                                                                                  STERLING          VA    20165‐7312
MARK STEVEN ROSENBAUM                           2736 INDEPENDANCE AVE               APT 5D               RIVERDALE                                 BRONX             NY    10463‐4656
MARK STIEGLITZ                                  994 KINGSTON DRIVE                                                                                 CHERRY HILL       NJ    08034‐3944
MARK STOWE & ANNA RAPHAEL‐STOWE JT TEN          2639 FALCONBRIDGE DR                                                                               CINCINNATI        OH    45238‐1826
MARK STREITFELD                                 2404 HOLLOWBROOK LANE                                                                              CONROE            TX    77384‐3627
MARK STRZECHOWSKI                               PO BOX 1596                                                                                        PERALTA           NM    87042‐1596
MARK STUDIN CUST CARA STUDIN UTMA NY            16 WHITE PINE LANE                                                                                 EAST SETAUKEY     NY    11733‐3960
MARK STUDIN CUST MELISSA STUDIN UTMA NY         16 WHITE PINE LN                                                                                   EAST SETAUKET     NY    11733‐3960
MARK SULLIVAN BURGESS‐PORTER                    PO BOX #10039                                                                                      HONOLULU          HI    96816‐0039
MARK SUMNER STILL                               3116 GOODWIN AVE                                                                                   REDWOOD CITY      CA    94061‐2455
MARK SUSLEE                                     7785 ARVILLA LN                                                                                    WHITMORE LAKE     MI    48189
MARK SUTHERLAND                                 1 THE LYE                           LITTLE GADDESDEN     HERTS             HP4 1UH GREAT BRITAIN
MARK SZMIGIEL & SYLVIA SZMIGIEL JT TEN          26554 RICHARDSON                                                                                   DEARBORN HTS      MI    48127‐1925
MARK T ALLEN & PAMELA K ALLEN JT TEN            239 HAGADORN ROAD                                                                                  EAST LANSING      MI    48823‐4616
MARK T BANNER                                   25 185 WILLIAMS ROAD                                                                               WARRENVILL        IL    60555
MARK T BAUGH                                    6656 N 200W                                                                                        SHARPSVILLE       IN    46068‐9034
MARK T BOYEA                                    1121 KAY PARKWAY                                                                                   ANN ARBOR         MI    48103‐5219
MARK T CASADEVALL                               3354 HEMLOCK FARMS                                                                                 HAWLEY            PA    18428‐9145
MARK T CYPHERS                                  67 VISTA SHORES RD                                                                                 ROGERSVILLE       AL    35652‐6708
MARK T DUPOUY                                   2215 CARR DRIVE                                                                                    KOKOMO            IN    46902‐9543
MARK T GAYLORD                                  10690 AVE OF P G A                                                                                 PALM BEACH GDNS   FL    33418

MARK T HAYES                                    2717 REVERE AVENUE                                                                                 DAYTON            OH    45420
MARK T HOBSON                                   1330 DANA AVE                                                                                      SHERIDAN          WY    82801‐2404
MARK T HOGAN                                    641 DEWEY ST                                                                                       BIRMINGHAM        MI    48009‐3809
MARK T KORNOWSKI                                11124 PAIGE AVE                                                                                    WARREN            MI    48089‐5220
MARK T KOVAR                                    25 PARK CHARLES BLVD N                                                                             ST PETERS         MO    63376‐3127
MARK T LATTING                                  606 MAXINE DR                                                                                      DAVISON           MI    48423‐1020
MARK T LETTIERI & SUSAN LETTIERI JT TEN         91 GOLDEN PHEASANT DR                                                                              GETZVILLE         NY    14068‐1462
MARK T MASAOKA                                  3060 ST GEORGE STREET                                                                              LOS ANGELES       CA    90027‐2517
MARK T MILLER                                   6847 BEARD RD                                                                                      BYRON             MI    48418‐9777
MARK T MOLDER                                   2333 GEORGETOWN DR                                                                                 BARTLESVILLE      OK    74006‐7526
MARK T MUNGER                                   444 CENTRAL PARK WEST #6A                                                                          NEW YORK          NY    10025‐4357
MARK T MUSTONEN                                 207 ELY DR S                                                                                       NORTHVILLE        MI    48167‐2708
MARK T PERRY                                    4992 POST RD                                                                                       NEWPORT           MI    48166‐9733
MARK T RANDOL                                   2221 MARTHA LANE                                                                                   GREENWOOD         MO    64034‐9462
MARK T RICHARDSON                               PO BOX 856                                                                                         GRAYSLAKE         IL    60030‐0856
MARK T SCHWAGER                                 403 S MASON                                                                                        SAGINAW           MI    48602‐2351
MARK T SHKLOV CUST ROBERT N K SHKLOV UTMA HI    1273 KIKA ST                                                                                       KAILUA            HI    96734‐4522

MARK T SINGER                                   6604 WEST 125TH STREET                                                                             PALOS HEIGHTS     IL    60463
MARK T SLOAN                                    1307 N 7TH ST                                                                                      DE SOTO           MO    63020‐1364
MARK T STETZEL                                  35 SAINT JOHNS PARK                                                                                ROCHESTER         NY    14612‐4924
MARK T WINTERS                                  2950 PARKWOOD DR                                                                                   TROY              OH    45373‐8981
MARK T ZUZICH                                   10416 W 55THPL                                                                                     SHAWNEE           KS    66203‐1961
MARK TANIS CUST RYAN TANIS UTMA FL              2445 MADIERA LN                                                                                    BUFFALO GROVE     IL    60089‐4673
MARK TARASKEWICH                                975 MERIDEN RD #39                                                                                 WATERBURY         CT    06705‐3158
MARK TAYLOR & REBECCA MARIE TAYLOR JT TEN       PO BOX 8363                                                                                        ROCHESTER         MN    55903‐8363
MARK THOMAS                                     3566 BUENA VISTA                                                                                   SAN DIEGO         CA    92109‐6610
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MARK THOMAS AKALEWICZ SR CUST MARK THOMAS       2810 4TH AVE                                                                                  TOMS RIVER        NJ    08753‐6150
AKALEWICZ JR UTMA NJ
MARK THOMAS CUST MATTHEW THOMAS UGMA NY         4364 RUSHFORD DRIVE                                                                           HAMBURG           NY    14075‐3081

MARK THOMAS SIEROTNIK                           427 TOMPKINS ST                                                                               SYRACUSE          NY    13204‐1935
MARK THOMAS TRELOAR                             3301 CEDARHURST DRIVE SW                                                                      DECATUR           AL    35603‐3113
MARK TIMOTHY DONAHUE                            593 PREBLE ST                                                                                 SOUTH PORTLAND    ME    04106‐5028

MARK TOWNSEND                                   3736 ROYAL PALM AVE                                                                           MIAMI BEACH       FL    33140‐3942
MARK TRIFOSO                                    907 W CLINTON ST                                                                              ELMIRA            NY    14905‐2155
MARK TURCHAN                                    PO BOX 783                                                                                    JOHNSTON          IA    50131‐0783
MARK TURETSKY CUST RISA TURETSKY UGMA NY        2204 BOYER ST                                                                                 BALTIMORE         MD    21231
MARK TURNER                                     24180 CR 44                                                                                   AGUILAR           CO    81020
MARK TURNER                                     48 CHICKASAW DRIVE                                                                            SHAWNEE           OK    74801‐5512
MARK U WESTRICK                                 14‐892 CO RD C2                                                                               NEW BAVARIA       OH    43548‐9736
MARK UNGAR                                      4072 20TH ST                                                                                  SAN FRANCISCO     CA    94114‐2911
MARK V GRECCO                                   171 MANG AVE                                                                                  KENMORE           NY    14217‐2633
MARK V HOWINGTON                                2445 BRANT STREET                    #712                                                     SAN DIEGO         CA    92101‐1365
MARK V KRAMER                                   30014 BAYVIEW DR                                                                              ROCKWOOD          MI    48173‐9504
MARK V MC KANDLES                               2509 DUNCAN                                                                                   PAMPA             TX    79065‐3042
MARK V PETERSON                                 14371 N BELSAY RD                                                                             MILLINGTON        MI    48746‐9228
MARK V RANSOME                                  504 ROBINSON RD                                                                               PENNS GROVE       NJ    08069‐2574
MARK V RAPPETTE                                 1431 FINCH LN                                                                                 GREEN BAY         WI    54313‐6404
MARK V REBNER                                   3622 BACON AVE                                                                                BERLEY            MI    48072‐1175
MARK V RUSSELL                                  2275 GARDNER RD                                                                               GALLOWAY          OH    43119‐8738
MARK V SEVER CUST CAROLYN R SEVER UTMA IL       7625 WOODLAND LANE                                                                            BURR RIDGE        IL    60527‐8049
MARK V SEVER CUST MICHAEL P SEVER UTMA IL       7625 WOODLAND LANE                                                                            BURR RIDGE        IL    60527‐8049
MARK V SMITH                                    6330 E HOLLY RD                                                                               HOLLY             MI    48442‐9739
MARK V WALL                                     3542 S COUNTY RD 200E                                                                         CLAYTON           IN    46118
MARK VAUGHN MOORE                               2107 SPARRE DR                                                                                KINSTON           NC    28504
MARK VENETTIS                                   18941 MARIA DRIVE                                                                             CLINTON TWP       MI    48036‐2165
MARK VERDURA & ANITA VERDURA JT TEN             19860 EARLMONT DR                                                                             MACOMB            MI    48044‐2844
MARK VERMAIRE                                   1111 CODFREY AVE SW STE 9A                                                                    GRAND RAPIDS      MI    49503‐5011
MARK VERNON APPLEWHITE                          PO BOX 482                                                                                    KINGS PARK        NY    11754‐0482
MARK VINCENT                                    PO BOX 10117                                                                                  BEDFORD           NH    03110‐0117
MARK W AINSLEY                                  3148 SODOM HUTCHINGS RD                                                                       FOWLER            OH    44418‐9745
MARK W ALLEN                                    85 BRENTWOOD                                                                                  OXFORD            MI    48371‐6126
MARK W AMUNDSON CUST HANNAH K AMUNDSON          1762 S ROBB STREET                                                                            LAKEWOOD          CO    80232‐6155
UTMA TX
MARK W AMUNDSON CUST JOHN A AMUNDSON UTMA       1762 S ROBB STREET                                                                            LAKEWOOD          CO    80232‐6155
TX
MARK W ANGELL                                   162 S IRWIN ST                                                                                DAYTON            OH    45403‐2204
MARK W BATTERSON & WILLIAM D BATTERSON JT TEN   1628 BEATIE AVE SW                                                                            ATLANTA           GA    30310‐4744

MARK W BOMAN                                    PO BOX 194                                                                                    MAPLE RAPIDS      MI    48853‐0194
MARK W BOWYER                                   9300 BARNES ROAD                                                                              CLAYTON           OH    45315‐9749
MARK W BUKATA                                   5357 1A AVE                          DELTA BC CAN                           V4M 1C4 CANADA
MARK W BURKHART                                 1248 WITTMER RD                                                                               MANSFIELD         OH    44903‐9401
MARK W CASTAGNA                                 PO BOX 86772                                                                                  MADEIRA BEACH     FL    33738
MARK W CHAMBERLAIN                              6663 MILL STONE LN                                                                            SALT LAKE CTY     UT    84121‐5677
MARK W CLEMENS                                  21650 BURBANK BLVD #119                                                                       WOODLAND HILLS    CA    91367‐7424

MARK W COOPER                                   1449 N COLLEGE AVE                                                                            INDIANAPOLIS      IN    46202‐2720
MARK W CROWLEY                                  1263 VICTORIA LN                                                                              FENTON            MI    48430‐9630
MARK W CULBERTSON & CAROL M ADEE JT TEN         573 WAKEROBIN LN                                                                              SAN RAFAEL        CA    94903‐2418
MARK W CYCHOLL                                  683 BROOKWOOD LN E                                                                            ROCHESTER HILLS   MI    48309‐1541
MARK W DAVIS                                    10 EDGEBROOK LN                                                                               MONSEY            NY    10952‐4710
MARK W DAVIS                                    7895 N MICHIGAN RD                                                                            SAGINAW           MI    48604‐9728
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MARK W DAVIS                                    423 N HARVARD                                                                                 ARLINGTON         IL    60005‐1150
                                                                                                                                              HEIGHTS
MARK W DEPLATO                                  1308 JOANNA DR                                                                                BELLEFONTE        PA    16823‐2555
MARK W DEXTER                                   103 BROOKHAVEN DR                                                                             COLUMBIA          TN    38401‐8875
MARK W DIEDRICH                                 12140 AIRPORT RD                                                                              DEWITT            MI    48820‐9283
MARK W DOMYAN CUST KATHRYN HELEN DOMYAN         5200 HANOVER DR                                                                               WESCOSVILLE       PA    18106‐9453
UTMA PA
MARK W DOOLY                                    1192 BROWN AVE                                                                                WAYNESVILLE       NC    28786‐1919
MARK W ECKEL                                    711 FISH & GAME RD                                                                            HUDSON            NY    12534
MARK W EHRINGER & DAVID W EHRINGER JT TEN       2422 PLUMB WOODS DR                                                                           SELLERSBURG       IN    47172‐9080
MARK W ENGLE & KELSEY L ENGLE JT TEN            10 OXFORD CT                                                                                  VOORHEES          NJ    08043‐2905
MARK W EVANS                                    7208 OLD POND DR                                                                              CLARKSTON         MI    48348‐4101
MARK W EWING                                    ATTN LEE W EWING                     11731 LANDINGS DR                                        INDIANAPOLIS      IN    46256‐9437
MARK W FERRY                                    3213 WILLET AVE                                                                               ROCHESTER HILLS   MI    48309‐3542
MARK W FLUHARTY                                 1792 THOMPSON STATION RD W                                                                    THOMPSONS STN     TN    37179‐9260
MARK W FOLLIN                                   PO BOX 428                                                                                    RED RIVER         NM    87558‐0428
MARK W GARRY                                    4604 W LINDNER DR                                                                             GLENDALE          AZ    85308‐3433
MARK W GILLE                                    548 N WALNUT                                                                                  JANESVILLE        WI    53545‐2858
MARK W GUSTAFSON & KAREN L GUSTAFSON JT TEN     1716 DEVONWOOD DR                                                                             ROCHESTER         MI    48306‐3176

MARK W HALL                                     2 CRAYDON RD                         TORONTO ON                             M6C 1S7 CANADA
MARK W HALTEMAN                                 2375 VERNOR RD                                                                                LAPEER            MI    48446‐8374
MARK W HATFIELD                                 2759 REYNOLDS CIRCLE                                                                          COLUMBIAVILLE     MI    48421‐8940
MARK W HEIT                                     886 WHISPERWOOD TRL                                                                           FENTON            MI    48430‐2276
MARK W HOLDSWORTH                               23461 MAJESTIC                                                                                OAK PARK          MI    48237‐2219
MARK W HORN                                     168 ADDISON MEADOWS COURT                                                                     LEORNARD          MI    48367‐4336
MARK W HORTON                                   1160 N ELBA RD                                                                                LAPEER            MI    48446‐8009
MARK W JONES                                    2046 N 1000 E                                                                                 WHITESTOWN        IN    46075‐9325
MARK W KAPKA                                    3255 HERRINGTON DR                                                                            SAGINAW           MI    48603‐2037
MARK W LAWRENCE                                 13097 N PADDOCK ROAD                                                                          CAMBY             IN    46113‐8558
MARK W LEKTZIAN                                 41 SANDY LN                                                                                   GLADSTONE         MI    49837‐2364
MARK W LINCOLN                                  220 ELIZABETH DR                                                                              OWOSSO            MI    48867‐9061
MARK W LUNDIE                                   20519 CEDAR                                                                                   ST CLAIR SHORES   MI    48081‐1793
MARK W MADELINE                                 1801 BIRCH RD                                                                                 ATTICA            MI    48412‐9615
MARK W MANN                                     1234 FAIRLAWN RD                                                                              ROYAL OAK         MI    48067‐1007
MARK W MAPES                                    8894 KINGSLEY DR                                                                              ONSTED            MI    49265‐9541
MARK W MAYFIELD                                 809 GREENLAWN                                                                                 HARRISON          MI    48625‐9112
MARK W MCALPIN                                  411 S WESTERN AVE                                                                             KOKOMO            IN    46901‐5208
MARK W MCCLUNG                                  209 DWYER LN                                                                                  LEWISBURG         WV    24901‐1205
MARK W MCNISH                                   5279 CLYDESDALE LN                                                                            SAGINAW           MI    48603‐2822
MARK W MIDDLETON                                3626 MORNINGSIDE DR                                                                           GREENWOOD         IN    46143‐7945
MARK W MILLER                                   24 CLOVER LANE                                                                                BARRINGTON        IL    60010‐3604
MARK W MILLER                                   2006 NORTH WEST 55TH AVE             APT. G8              GAINSVILLE                          GAINESVILLE       FL    32653
MARK W MITCHELL CUST DELANEY MITCHELL UTMA VA   1904 LANCING CREST LN                                                                         CHESAPEAKE        VA    23323

MARK W MOLLISON                                 6295 WESSINGTON DR                                                                            HUDSON            OH    44236‐4934
MARK W MULLENDORE                               1967 STRASBURG ROAD                                                                           MONROE            MI    48161‐9525
MARK W NELSON & LYNN A NELSON JT TEN            19416 HAZELWOOD                                                                               ROSEVILLE         MI    48066‐3097
MARK W PAGANE CUST KRISTEN N PAGANE UTMA IN     9134 WHITE OAK AVE                                                                            MUNSTER           IN    46321‐3340

MARK W PARDO                                    2748 MELVIN                                                                                   PINCKNEY          MI    48169‐8450
MARK W PERWERTON                                2894 SHANNON                                                                                  OAKLAND           MI    48363‐2849
MARK W PETERS                                   2818 FLINT RIVER RD                                                                           LAPEER            MI    48446‐9045
MARK W PINNICK                                  P O BOX 39                                                                                    KIRKERSVILLE      OH    43033
MARK W PRUNK                                    RR 1 BOX 213                                                                                  HARTLAND          VT    05048‐9735
MARK W REID                                     612 E MAIN ST                                                                                 DURAND            MI    48429‐1757
MARK W RUANE                                    3 CHASE LANE                                                                                  LYNN              MA    01902‐3266
MARK W SCHALLER TR MARK W SCHALLER TRUST UA     3050 CREEK TREE LN                                                                            CUMMING           GA    30041‐6368
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MARK W SCOTT SR                               1204 NOTTINGHAM SQUARE NE                                                                     BOLIVAR           OH    44612‐8733
MARK W SHERMAN                                172 HIDDEN CREEK LN                                                                           HAMLIN            NY    14464‐9569
MARK W SHURMUR                                1249 WANDA                                                                                    WALLED LAKE       MI    48390‐2572
MARK W SUTTON                                 1927 BROOKFIELD CT                                                                            ROCHESTER HILLS   MI    48306‐4001
MARK W TALBOT                                 599 HWY CC                                                                                    ELSBERRY          MO    63343‐3217
MARK W THOMA                                  3 FAIRLAKE LN                                                                                 GROSSE POINTE     MI    48236‐4102
MARK W THOMAS                                 3105 MONTWOOD TRL                                                                             AUSTIN            TX    78748‐2054
MARK W TOOKER                                 BOX 148                                                                                       AQUEBOGUE         NY    11931‐0148
MARK W TUMBLESON                              11415 HIGHRIDGE CT                                                                            CAMARILLO         CA    93012‐8295
MARK W VANDEN BERG                            52635 WOODMILL DR                                                                             MACOMB            MI    48042‐5666
MARK W VERBRUGGE                              3580 FERNLEIGH                                                                                TROY              MI    48083‐5771
MARK W WALZTONI                               5 REMEDIOS ROAD                                                                               LAMY              NM    87540‐9613
MARK W WERNER TR WERNER PUMP COMPANY          7807 REDSKY DR                                                                                CINCINNATI        OH    45249‐1636
EMPLOYEES RET PLAN
MARK W WOOD                                   926 TREMONT STREET                                                                            LIMA              OH    45801‐3551
MARK W WROBEL                                 37505 KNOLL                                                                                   WAYNE             MI    48184‐1068
MARK W ZENNER                                 605 SEVENTH AVE                                                                               HOUGHTON          MI    49931‐1720
MARK W ZORN                                   4203 STATE RT 269                                                                             CASTALIA          OH    44824‐9353
MARK WADE III                                 3667 QUENTIN AVE                                                                              BOYNTON BEACH     FL    33436‐3415
MARK WATSON CUST ALDO F WATSON UTMA CA        7269 MINES RD                                                                                 LIVERMORE         CA    94550‐9192
MARK WAYNE CARSON                             7743 W DIVISION RD                                                                            TIPTON            IN    46072‐8654
MARK WAYNE MAGNABOSCO & MRS LOIS DARLENE      6146 SW 104TH ST                                                                              OCALA             FL    34476
MAGNABOSCO JT TEN
MARK WEILER TATMAN                            105 MERIDIAN HIGHTS                                                                           PORTLAND          IN    47371‐9598
MARK WELLER CUST DANIEL ADAM WELLER UGMA NY   16615 14TH RD                                                                                 WHITESTONE        NY    11357‐2905

MARK WESTERHOFF                               665 MAYRUM ST                                                                                 SANTA BARBARA     CA    93111‐2718
MARK WETTERHAHN                               2 DON MILLS CT                                                                                ROCKVILLE         MD    20850‐2745
MARK WIDRE                                    1672 MAIN ST                         # E252                                                   RAMONA            CA    92065‐5257
MARK WILHELM                                  47 BELAIRE DR                                                                                 DELMONT           PA    15626‐1532
MARK WILLIAM CLAYTON                          2022 VERNON NW                                                                                WARREN            OH    44483‐3150
MARK WILLIAM FRENCH                           3072 N IRISH RD                                                                               DAVISON           MI    48423‐9558
MARK WILLIAM MESHULA                          353 S BRIARCLIFF                                                                              CANFIELD          OH    44406‐1016
MARK WILLIAM REIS                             615 CODY PASS                                                                                 CINCINNATI        OH    45215‐2522
MARK WILM & DAVID WILM JT TEN                 932 S ARLINGTON HEIGHTS RD APT 1                                                              ARLINGTON HTS     IL    60005
MARK WILPER                                   4118 NE 82ND ST                                                                               KANSAS CITY       MO    64119‐7600
MARK WOLBER                                   17 STONE BRIDGE ROAD                                                                          NEW HARTFORD      NY    13413
MARK WOLFERMAN TR ADOLPH WOLFERMAN MD PC      9 ANNAPOLIS DR                                                                                HAZLET            NJ    07730‐2301
EMPLOYEES PENSION PLAN
MARK WOLFGRAM                                 1872 E 17TH ST                                                                                TULSA             OK    74104
MARK WOLFSON                                  4730 TOPEKA DR                                                                                TARZANA           CA    91356
MARK WONDERGEM                                4670 TERRY DRIVE S E                                                                          GRAND RAPIDS      MI    49512‐5321
MARK WOOD                                     1646 PUGHS STORE RD                                                                           AFTON             VA    22920‐1748
MARK WOOD SMITH & SUZANNE E SMITH JT TEN      2534 ZACHARY WOODS DRIVE                                                                      MARIETTA          GA    30064‐1892
MARK YANKEE & CHRISTINA YANKEE JT TEN         228 WILTSHIRE DR                                                                              GRAY              TN    37615
MARK Z BESWICK                                615 E SAINT ANDREWS CIR                                                                       N SIOUX CITY      SD    57049‐5133
MARK ZANMILLER                                1421 SHERMAN                                                                                  HOOD RIVER        OR    97031‐1453
MARK ZUCHELSKI                                13328 MARVIN DR                                                                               FENTON            MI    48430
MARK ZUCKERMAN                                79 FIELDSTONE LANE                                                                            VALLEY STREAM     NY    11581‐2303
MARK‐ANDRE P TIMINSKY                         5700 WOODMIRE DR                                                                              SHELBY TOWNSHIP   MI    48316‐1749

MARK‐HANS RICHER                              11 WIMBLEDON RD                                                                               LAKE BLUFF        IL    60044‐2405
MARKA SMITH CASSELL                           314 MCMILLION DR                                                                              SUMMERSVILLE      WV    26651‐1046
MARKAEL T MATTESON                            1233 OAK RD                                                                                   DIVISON           MI    48423
MARKEE J WHITE                                1745 SPRUCE AVE                                                                               WINTER PARK       FL    32789‐2021
MARKEITH BOYD                                 DIN 90A9631                          PO BOX 700                                               WALLKILL          NY    12589‐0700
MARKETING & FINANCIAL MGMT ENT                30497 CANWOOD ST SUITE 101                                                                    AGOURA HILLS      CA    91301
MARKETTA J ANDERSON                           PO BOX 253                                                                                    YOUNGSTOWN        NY    14174‐0253
MARKHAM A GORDON                              1966 SPRING HOUSE DRIVE                                                                       KIRKWOOD          MO    63122‐3533
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Name                                          Address1                            Address2                          Address3   Address4           City             State Zip

MARKIE COHEN                                  1080 BRACEVILLE ROBINSON SW                                                                         NEWTON FALLS     OH    44444‐9536
MARKIE D WILLIAMS                             576 W LACLEDE                                                                                       YOUNGSTOWN       OH    44511‐1742
MARKIS C BAILEY                               7762 DANA LANE                                                                                      PARMA            MI    49269‐9536
MARKIS G WINTERS                              10500 W BAKER RD                                                                                    GREENVILLE       MI    48838‐9449
MARKLEE ECKHOUSE                              77583 WESTBROOK CT                                                                                  PALM DESERT      CA    92211‐6200
MARKO B ZANINOVICH                            1998 RD 152                                                                                         DELANO           CA    93215‐9437
MARKO M STOJSAVLJEVIC                         3634 E 55 ST                                                                                        CLEVELAND        OH    44105‐1128
MARKO PRANJETA                                700 CARDINAL CT                                                                                     WILLOUGHBY       OH    44095‐1650
MARKOS N RAMFOS & GEORGIA M RAMFOS JT TEN     7147 MANCHESTER RD                                                                                  CANAL FULTON     OH    44614‐9502

MARKUS L BYRON                                106 BROOKSIDE LANE                                                                                  MANSFIELD CENTER CT    06250‐1110

MARKUS L SPENCER                               355 GRAY FOX ROAD                                                                                  MARSHALL         TX    75670‐2629
MARKUS MUELLER                                 RENNWEG 33                         WUERENLINGEN                                 5303 SWITZERLAND
MARKUS SCHWEIGER                               ULMENSTRASSE 40                    65527 NIEDERNHAUSEN                          GERMANY
MARKUS WYSS                                    C/O GENERAL MOTORS VERTRETUNG      9220 BISCHOFSZELL                            SWITZERLAND
MARL A LYMBURNER                               112 FRANKLIN ST                    # 200                                                           BUFFALO          NY    14202
MARL HOPKINS                                   315 W MCCLELLAN ST                                                                                 FLINT            MI    48505‐4074
MARL LOUISE C SIMPSON CALDRONE & CARL CALDRONE MANOR AT KNOLLWOOD                 18479 MANORWOOD SOUTH APT 3409A                                 CLINTON TOWNSHIP MI    48038‐4815
JT TEN
MARLA A BENCH                                  9559 TAFT                                                                                          COOPERSVILLE     MI    49404‐9418
MARLA COHEN & EDWARD COHEN TR UA 04/06/94      17 VOUGA LN                                                                                        SAINT LOUIS      MO    63131‐2605
MARLA COHEN REVOCABLE
MARLA D ALBRITTON                              4913 SHADOWOOD RD                                                                                  COLLEYVILLE      TX    76034‐3093
MARLA E HUNT & TIMOTHY F RETZLOFF JT TEN       423 CHANDLER                                                                                       FLINT            MI    48503‐2149
MARLA G BLY                                    11112 RIVER ROAD                                                                                   CORNING          NY    14830‐9324
MARLA J JOCK                                   28 PLANTATION DR                   APT 104                                                         VERO BEACH       FL    32966‐7940
MARLA K COOK                                   4703 GLENMOOR WAY                                                                                  KOKOMO           IN    46902‐9589
MARLA KAPLAN                                   1ST FLOOR                          3528 W 98TH PLACE                                               CHICAGO          IL    60805‐3064
MARLA L DAIS                                   10357 SHARP RD                                                                                     SWARTZ CREEK     MI    48473
MARLA M DIXON                                  CALLE DE FERRAZ 75                 1 DCHA                            MADRID     28008 SPAIN
MARLA M EDGAR                                  2406 E 4TH STREET                                                                                  ANDERSON         IN    46012‐3615
MARLA MCCLOSKEY                                ATTN MARLA HIGHTOWER               4003 MILL STREET                                                KOKOMO           IN    46902‐4696
MARLA R ADAMS                                  1308 FLETCHER ST                                                                                   TUPELO           MS    38804‐1831
MARLA R LEBSCH & LAWRENCE L LEBSCH JT TEN      23886 RANCH HOUSE TRL                                                                              ATLANTA          MI    49709‐9770
MARLA R SHREVE                                 2050 CLARKSTONE TERRACE                                                                            MIDLOTHIAN       VA    23113‐9677
MARLA S MORGAN                                 PO BOX 166                                                                                         FLINT            MI    48501‐0166
MARLA SONES CUST MATTHEW SONES UTMA NJ         249 EMERSON DR                                                                                     LAFAYETTE HILL   PA    19444‐1347
MARLA T FOSTER                                 5622 CHARLES DRIVE                                                                                 MACON            GA    31210‐1104
MARLAINE B SCHESKE                             5741 ALGONQUIN DR                                                                                  TROY             MI    48098‐2319
MARLAINE SCHESKE CERMAK                        5741 ALGONQUIN DR                                                                                  TROY             MI    48098‐2319
MARLAN E STASIUK                               91 FAIRLANE AVE                                                                                    TONAWANDA        NY    14150‐8119
MARLAN H HOWELL                                9642 S 85TH STREET                                                                                 COTTAGE GROVE    MN    55016‐4976
MARLAND R REAM & OLAF R REAM JT TEN            413 CARMEL ST                                                                                      CADILLAC         MI    49601‐2258
MARLEEN ABBIE TROY                             192 BUTLER STREET                                                                                  KINGSTON         PA    18704‐5212
MARLEEN C TULAS                                22205 PARK                                                                                         DEARBORN         MI    48124‐2727
MARLEENE S DOWDEN                              PO BOX 88                          1350 S 1000 E                                                   GALVESTON        IN    46932‐0088
MARLEIGH MOORE SIEBECKER                       5 FOXHILL LN                                                                                       RINGWOOD         NJ    07456‐2717
MARLEL E WERTHEIM                              10361 STABLEHAND DR                                                                                CINCINNATI       OH    45242‐4642
MARLEN LEE BEATTY DELONG CUST MARISSA LYNN     633 E BEAU ST                                                                                      WASHINGTON       PA    15301‐6652
UGMA PA
MARLENA ANN MAZZA                              7112 SCOTTSDALE RD                                                                                 FAIRMONT         WV    26554
MARLENA B KNOLL                                2216 INWOOD RD                                                                                     WILMINGTON       DE    19810‐2840
MARLENA JOYCE‐RAE GROVE                        345 S LINDEN DRIVE                                                                                 BEVERLY HILLS    CA    90212‐3706
MARLENA T DORMAN                               34 JONATHAN WAY                                                                                    TAUNTON          MA    02780‐2891
MARLENE A BOWER                                6710 MOYER ROAD                                                                                    LOCKPORT         NY    14094‐9037
MARLENE A DUDZINSKI & JOHN E DUDZINSKI JT TEN  15404 ASTER                                                                                        ALLEN PARK       MI    48101‐1771
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MARLENE A DUDZINSKI CUST JOHN J DUDZINSKI UGMA   15404 ASTER                                                                                  ALLEN PARK         MI    48101‐1771
MI
MARLENE A FENNER                                 4023 CHERRY GARDEN DR                                                                        COMMERCE TWP       MI    48382
MARLENE A FITHIAN                                41752 TRENOUTH ST                                                                            FREMONT            CA    94538‐4125
MARLENE A GARRETT                                1030 N BEVILLE AV 101N                                                                       INDIANAPOLIS       IN    46201‐1397
MARLENE A GOECKE & KENNETH C GOECKE JT TEN       319 E 5TH ST                                                                                 REMSEN             IA    51050
MARLENE A HARLEY & RONALD G HARLEY JT TEN        10607 RACHEL LANE                                                                            ORLAND PARK        IL    60467‐1375
MARLENE A JONES                                  942 BORTON ROAD                                                                              ESSEXVILLE         MI    48732
MARLENE A KING & EDWARD A KING JT TEN            326 26TH ST NW                                                                               CEDAR RAPIDS       IA    52405
MARLENE A KIRKMAN                                7553 RIDGE RD                                                                                GASPORT            NY    14067‐9425
MARLENE A LUNDSTROM                              8620 CONTRARY CREEK RD                                                                       GRANBURY           TX    76048‐7609
MARLENE A OSTRANDER                              2480 BONNIE MAE                                                                              HARRISON           MI    48625‐9535
MARLENE A POOCK                                  9611 MASON RD                                                                                CASTALIA           OH    44824‐9737
MARLENE A PRINCE                                 14588 PEPPERMIL RD                                                                           STERLING HEIGHTS   MI    48312‐5746

MARLENE A SCEARCE                              3029 EGGLESTON AVENUE                                                                          FLINT              MI    48506‐2149
MARLENE A SOMMERS                              9103 N UNION ST LOT                                                                            TECUMSEH           MI    49286‐1063
MARLENE A STAVROS                              210 W FAIRFIELD                                                                                LANSING            MI    48906‐3116
MARLENE A STITZEL                              21 POMONA AVE                                                                                  TOWACO             NJ    07082‐1423
MARLENE A STURWOLD                             5070 BON TON RD                                                                                MINSTER            OH    45865‐9502
MARLENE A WEAVER                               5520 S COUNTY LINE RD                                                                          MIDDLEPORT         NY    14105‐9631
MARLENE ANDERSON                               2913 DUNCAN LANE                                                                               BALTIMORE          MD    21234‐3033
MARLENE ANN POLLOCK                            4792 SANDS PARK DR NE                                                                          KALKASKA           MI    49646‐9300
MARLENE ARNOLD                                 1375 KIPLING COURT                                                                             TROY               MI    48083‐5323
MARLENE B BANKS                                ATTN MARLENE BROWNLEE                 23575 LEE LN                                             SOUTHFIELD         MI    48034‐3101
MARLENE B GAYLORD                              125 DESERT GARDEN DRIVE                                                                        SANTA TERESA       NM    88008‐9416
MARLENE B STOCKSLAGER TR MARLENE B STOCKSLAGER 66 CRAWFORD RD                                                                                 NEW LEBANON        OH    45345‐9282
LIVING TRUST UA 9/24/99
MARLENE BARNHILL & CLINT BARNHILL JT TEN       1590 FACTORY CREEK RD                                                                          ETHRIDGE           TN    38456
MARLENE BELT                                   18401 HOMEVIEW DR                                                                              EDMONDS            WA    98026‐5539
MARLENE C BALCERAK                             2034 RIVERVIEW RD                                                                              ESSEX              MD    21221‐6513
MARLENE C BOOK                                 107 E CALIFORNIA                                                                               URBANA             IL    61801‐4203
MARLENE C PEARCE                               440 OBERMIYER ROAD                                                                             BROOKFIELD         OH    44403‐9703
MARLENE C PODWELL                              1434 LINCOLN CT                                                                                BELOIT             WI    53511‐4264
MARLENE CARUANA                                10244 CORNERSTONE DR                                                                           ROMEO              MI    48095‐2924
MARLENE COHEN                                  9071 TAVERNA WAY                                                                               BOYNTON BEACH      FL    33437‐7381
MARLENE D CROUSORE                             1230 S 700 E                                                                                   GREENTOWN          IN    46936‐9125
MARLENE D FLETT                                904 BEAUFORT COURT                    OSHAWA ON                              L1G 7J7 CANADA
MARLENE D FRANDSEN                             1737 PARKSIDE DR                                                                               FORKED RIVER       NJ    08731‐3202
MARLENE D HOHMAN TR HOHMAN FAMILY TRUST UA 1245 ELM ST                                                                                        SAN CARLOS         CA    94070‐4917
09/06/94
MARLENE D MINTZ                                671 ROSITA AVE                                                                                 LOS ALTOS          CA    94024‐4158
MARLENE DELOME                                 PO BOX 61                                                                                      ORANGEFIELD        TX    77639‐0061
MARLENE DORI CUST ARYEH DORI UGMA OH           23951 HERMITAGE RD                                                                             SHAKER HTS         OH    44122‐4007
MARLENE E CANNON                               13711 BACKUS                                                                                   SOUTHGATE          MI    48195‐1814
MARLENE E GOODSIDE JR                          4124 MAPLEPORT RD                                                                              BRIDGEPORT         MI    48722‐9501
MARLENE E KING                                 432 SUNSET BLVD                       NEWCASTLE ON                           L1B 1C8 CANADA
MARLENE E KRUEGER                              4474 LOWER RIVER RD                                                                            LEWISTON           NY    14092‐1060
MARLENE E MATTERN                              ATTN MARLENE E VORHEES                3833 KAELEAF RD                                          LAKE ORION         MI    48360‐2619
MARLENE E MOODY                                6525 RIVERRIDGE COURT                                                                          CASEVILLE          MI    48725‐9419
MARLENE E PALOPOLI                             35 CANARY ROAD                                                                                 LEVITTOWN          PA    19057
MARLENE E RAY                                  15174 CLASSIC DR                                                                               BATH               MI    48808‐8762
MARLENE E ROSE                                 PO BOX 117                                                                                     HARRISON           MI    48625‐0117
MARLENE E STENBERG                             7515 N STURTEVANT RD                                                                           WHITEWATER         WI    53190‐3405
MARLENE E THOMAS                               32873 MECOSTA                                                                                  WESTLAND           MI    48186‐4740
MARLENE E WILLIAMS                             3244 ARBUTUS DR                                                                                INDIANAPOLIS       IN    46224‐2009
MARLENE EDWARDS                                3522 STOUT RD                                                                                  LUCAS              OH    44843‐9727
MARLENE EVELYN SKALA                           15626 CANTERBURY FOREST DR                                                                     TOMBALL            TX    77375‐8717
MARLENE F BERMAN                               1013 WEST LINDEN PLACE                                                                         COSTA MESA         CA    92627‐4007
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MARLENE F CHIO                                 12700 SECOR RD                                                                              PETERSBURG      MI    49270‐9723
MARLENE F EATON                                DUFFYTOWN RD BOX 34                                                                         ELDRED          PA    16731‐0034
MARLENE F FORD                                 2903 CIALELLA PASS                                                                          SAINT CLOUD     FL    34772‐8874
MARLENE F HANDLEY                              29611 SHADY BROOK LN 77                                                                     MAGNOLIA        TX    77355‐6080
MARLENE F ROCK                                 7400 ALEXANDER                                                                              MT MORRIS       MI    48458‐2927
MARLENE G EVANGELISTA                          22731 EAGLES WATCH DR                                                                       LAND O' LAKES   FL    34639‐6755
MARLENE G PICKARD                              33062 SEA BREEZE CT                                                                         SAN JUAN CAPO   CA    92675‐4609
MARLENE G RANELLI                              38 LOVELACE LANE                                                                            W HENRIETTA     NY    14586‐9716
MARLENE GAIL FAUST                             1901 84TH ST                                                                                BROOKLYN        NY    11214‐3062
MARLENE GRISAFI                                480 BURNSIDE AVE                                                                            NORRISTOWN      PA    19403‐2640
MARLENE H BAARDA                               ATTN MARLENE H BAARDA KLER         3 HOLLY COURT                                            GULFPORT        MS    39503‐6211
MARLENE H DEWITT                               7358 N STATE                                                                                DAVISON         MI    48423‐9368
MARLENE H FALKENHAGEN                          5733 BUCK RUN DR                                                                            COLUMBUS        OH    43213‐2690
MARLENE H KAMINSKY                             38 STAUBER DR                                                                               PLAINVIEW       NY    11803‐4840
MARLENE HART                                   4 ARROW DRIVE                                                                               LIVINGSTON      NJ    07039‐3707
MARLENE HEYDENREICH                            PO BOX 484                                                                                  OLDWICK         NJ    08858‐0484
MARLENE HINTERMEYER                            10215 W DEAN RD                                                                             MILWAUKEE       WI    53224‐2355
MARLENE HINTERMEYER & JEROME E FLEMMING JT TEN 10215 W DEAN RD                                                                             MILWAUKEE       WI    53224‐2355

MARLENE J BRADLEY                              PO BOX 127                                                                                  SWARTZ CREEK    MI    48473
MARLENE J CALABRESE                            3000 ROUND TABLE CT                                                                         NAPLES          FL    34112‐3634
MARLENE J FERGUSON TR MARLENE J FERGUSON TRUST 36140 HAZELWOOD                                                                             WESTLAND        MI    48186‐8212
UA 10/25/00
MARLENE J FRIBERG CUST DARREN FRIBERG UGMA WI 1170 WARD CREEK DR SW                                                                        MARIETTA        GA    30064‐3981

MARLENE J GIANNETTI                            11149 HARRISON                                                                              ROMULUS         MI    48174‐2721
MARLENE J HAGER                                520 LAKE DR                                                                                 VIRGINIA BCH    VA    23451‐4409
MARLENE J HANDLEY                              103 FAIRMONT DR                                                                             FRANKLIN        TN    37064‐2439
MARLENE J HEFTY                                44 S SUMAC DR                                                                               JANESVILLE      WI    53545‐2177
MARLENE J HENRY & JERRY B HENRY JT TEN         7035 LAFAYETTE                                                                              PINELLAS PARK   FL    33781‐1109
MARLENE J HUNYADY                              1926 W COURT ST #1                                                                          FLINT           MI    48503‐3190
MARLENE J JANUALE                              14 GINGER DR                                                                                MECHANICSBURG   PA    17050‐7988
MARLENE J KESSLER & KEVIN K KESSLER JT TEN     13221 MURTHUM                                                                               WARREN          MI    48093‐1327
MARLENE J MILLIGAN                             704 RAYMOND ST                                                                              AKRON           OH    44307‐2016
MARLENE J MOLL                                 2605 FAIR LANE                                                                              BOWIE           MD    20715‐2531
MARLENE J RIDDLE                               3167 STATE ROUTE 133                                                                        BETHEL          OH    45106‐9309
MARLENE J SINICHAK                             115 PENNCREST DRIVE                                                                         WHITE OAK       PA    15131‐2715
MARLENE JEAN SIGMUND                           420 N CHESTNUT ST                  APT 304                                                  PITTSBURGH      PA    15202‐2540
MARLENE JONES                                  G 5434 CLIO RD                                                                              FLINT           MI    48504‐1244
MARLENE JONES REED                             RD 4 HEMLOCK DR OAK HILL                                                                    DALLAS          PA    18612‐9804
MARLENE K BUTCHER                              4627 E 200 S                                                                                BRINGHURST      IN    46913‐9648
MARLENE K DIAL                                 404 LINDA ANN AVENUE                                                                        GRAY            LA    70359
MARLENE K GERONIMI                             728 RICHARDS COURT                                                                          JANESVILLE      WI    53545
MARLENE K HARRINGTON                           ATTN MARLENE K GROSS               3640 E ELM RD                                            OAK CREEK       WI    53154‐6616
MARLENE K HOLCOMB                              404 LINDA ANN AVE                                                                           GRAY            LA    70359‐3317
MARLENE K PARRY                                C/O HEATHER R PARRY                273 BRISCOE BLVD                                         WATERFORD       MI    48327
MARLENE K SAUM                                 1132 W MARIAN COURT                                                                         WILLIAMSTON     MI    48895
MARLENE K THEAKER CUST SARAH ELIZABETH THEAKER 344 N STEELE RD                                                                             WEST HARTFORD   CT    06117‐2231
UTMA CT
MARLENE K THEAKER CUST WILLIAM STEPHEN THEAKER 344 N STEELE RD                                                                             W HARTFORD      CT    06117‐2231
UTMA CT
MARLENE KAPLAN                                 10315 MOURNING DOVE DRIVE                                                                   MUNSTER         IN    46321‐5140
MARLENE KATZ                                   729 SW FEDERAL HWY                 STE 100                                                  STUART          FL    34994‐2913
MARLENE KEY                                    3709 MEADOWBROOK                                                                            NASHVILLE       TN    37205‐2351
MARLENE KOLB                                   5312 17TH ST W                                                                              BRADENTON       FL    34207‐3003
MARLENE L BIESTERVELD                          W 4752 RICE RD                                                                              EAST TROY       WI    53120‐1562
MARLENE L BURGESS                              ATTN MARLENE LILLIAN               4009 STOWE RD NW                                         ALBUQUERQUE     NM    87114‐5571
MARLENE L COURSER & SCOTT L COURSER JT TEN     1215 THOMAS L PARKWAY                                                                       LANSING         MI    48917‐2150
MARLENE L LA ROCCO                             46895 MIDDLE RIDGE ROAD                                                                     AMHERST         OH    44001‐2727
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Name                                             Address1                             Address2             Address3          Address4          City              State Zip

MARLENE M BAKAN                                  9501 MEDLAR WOODS CT                                                                          MIAMISBURG        OH    45342‐4366
MARLENE M BLACK                                  2201 E CENTERVILLE STATION           ROAD                                                     CENTERVILLE       OH    45459‐5544
MARLENE M FOSTER                                 8990 WILLOWGATE LANE                                                                          HUBER HEIGHTS     OH    45424‐6415
MARLENE M GUESS                                  192 ROUTE 303                                                                                 STREETSBORO       OH    44241‐5246
MARLENE M HURLEY                                 26403 LEAFTON LN                                                                              MAGNOLIA          TX    77354‐2826
MARLENE M KINNEY & RONALD L KINNEY JT TEN        432 CLAIR DR                                                                                  PITTSBURGH        PA    15241‐1306
MARLENE M MATICS                                 8 TOGO RD                                                                                     TOMS RIVER        NJ    08757‐6167
MARLENE M MILKA & BEVERLY A SMITH JT TEN         500 N BRYAN ROAD                     LOT I 8                                                  MISSION           TX    78572‐9324
MARLENE M MULDER                                 221 LAKE DRIVE                                                                                SIX LAKES         MI    48886‐8741
MARLENE M MURRAY                                 7693 ELMBROOKE WA                                                                             BRIGHTON          MI    48116‐6199
MARLENE M NEESE & ROBERT NEESE JT TEN            372 TANOMA RD                                                                                 HOME              PA    15747‐9016
MARLENE M NIESE                                  C/O MARLENE M BALDWIN                10‐627 US 127                                            WEST UNITY        OH    43570‐9793
MARLENE M OLSON                                  PO BOX 510                                                                                    KENEDY            TX    78119‐0510
MARLENE M PAYNE                                  252 W YPSILANTI                                                                               PONTIAC           MI    48340‐1877
MARLENE M PELLENS & DALE W PELLENS JT TEN        6524 RAY RD                                                                                   SWARTZ CREEK      MI    48473‐9158
MARLENE M REX                                    221 DONNALEE DRIVE                                                                            MONROE            MI    48162‐3206
MARLENE M SCHAEFER                               7564 GLENCOE DR                                                                               CEDARBURG         WI    53012‐9786
MARLENE M SECHAN & CARL B SECHAN JT TEN          10565 RUNYAN LAKE PT                                                                          FENTON            MI    48430‐2441
MARLENE M SEPPALA                                9820 ATWOOD DR                                                                                S LYON            MI    48178‐9111
MARLENE M STAHL                                  1130 LOCHMOOR BLVD                                                                            GROSSE POINTE     MI    48236‐1759
MARLENE M STANCZAK TR MARLENE M STANCZAK         48368 THORNCROFT DR                                                                           MACOMB            MI    48044‐5557
LIVING TRUST UA 1/19/00
MARLENE M WISNIEWSKI CUST JEFFREY WISNIEWSKI     112 KELLY DR                                                                                  ALPENA            MI    49707‐1117
UGMA MI
MARLENE MACK                                     2960 W SPRAGUE RD                                                                             CLEVELAND         OH    44134‐6539
MARLENE MAGNO                                    1725 KERR ST                                                                                  NEW CASTLE        PA    16101‐1317
MARLENE MICHILAR                                 11193 MODEL CIRCLE                                                                            BOCA RATON        FL    33428
MARLENE OTTOLINI                                 305 E OAK ST                                                                                  COUDERSPORT       PA    16910
MARLENE P WILLIAMS                               2339 N ROOSEVELT                                                                              WICHITA           KS    67220‐2810
MARLENE POLLARD                                  1211 MELROSE DR                                                                               ANDERSON          IN    46011‐2350
MARLENE R BIRMELIN                               332 MARCUS ST                                                                                 MANSFIELD         OH    44903‐8602
MARLENE R FOSTER                                 8705 BROOKLYN AVE                                                                             KANSAS CITY       MO    64132‐2658
MARLENE R HOWD                                   PO BOX 89                                                                                     GAINES            MI    48436‐0089
MARLENE R MARCH                                  12 GLEN AVE                                                                                   GLEN HEAD         NY    11545‐1609
MARLENE R VAN PAMEL                              8670 WINCHESTER                                                                               STERLING HTS      MI    48313‐3163
MARLENE R VINCENT                                8966 COLONY FARM DRIVE                                                                        PLYMOUTH          MI    48170‐3316
MARLENE R VOGEL                                  414 LAFAYETTE DR                                                                              BRICK             NJ    08723‐5021
MARLENE R WILLIAMS                               4410 MATHEW                                                                                   ST LOUIS          MO    63121‐3137
MARLENE REISINGER                                59 GREEN CRESCENT                    WHITEHORSE YT                          Y1A 4R8 CANADA
MARLENE ROGERS                                   18634 HIDDENBAY WAY                                                                           SPRING            TX    77379‐4056
MARLENE S ALLEYNE                                84 GRANT PL                                                                                   IRVINGTON         NJ    07111‐1440
MARLENE S BOYD                                   2328 N W 14 CT                                                                                FT LAUDERDALE     FL    33311‐5144
MARLENE S IMIRZIAN                               5025 N CENTRAL AVE PMB 118                                                                    PHOENIX           AZ    85012‐1520
MARLENE S MILLER                                 C/O MARLENE S DUPONT                 99 BOBOLINK                                              ROCHESTER HILLS   MI    48309‐3498
MARLENE S SCHMITZER                              9841 WEST TUSCOLA                                                                             FRANKENMUTH       MI    48734‐9566
MARLENE S SCHMITZER & BRIAN L SCHMITZER JT TEN   9841 WEST TUSCOLA ROAD                                                                        FRANKENMUTH       MI    48734‐9566

MARLENE S SILER                                  4201 WILLOW RD                                                                                WILSON            NY    14172‐9712
MARLENE S SOMERS                                 PO BOX 626                                                                                    HAMPTON BAYS      NY    11946
MARLENE S STRICKLAND                             20 HIGH POINT DR                                                                              LOCKPORT          NY    14094
MARLENE S STUART                                 3 PARKER STREET                                                                               PLYMOUTH          NH    03264‐4406
MARLENE S WHEELER & CHARLES D WHEELER JT TEN     9235 STUART STREET                                                                            WESTMINSTER       CO    80030‐3141

MARLENE S YOUNG                                  332 TRIANGLE AVE                                                                              DAYTON            OH    45419‐1732
MARLENE SHARPLES                                 6657 JANE DR                                                                                  CASEVILLE         MI    48725‐9771
MARLENE SIEFERT                                  8065 N WHEATON RD                                                                             CHARLOTTE         MI    48813‐8629
MARLENE SMART CUST NATHAN SMART UTMA IL          601 ONWENTSIA AVE                                                                             HIGHLAND PARK     IL    60035‐2029
MARLENE SOCKWELL CUST CLIFFORD LEE SOCKWELL      5857 BUTLER RD                                                                                GIBSONVILLE       NC    27249‐8837
UTMA NC
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Name                                             Address1                             Address2                Address3       Address4          City             State Zip

MARLENE STEVENSON                                6621 S 750 W                                                                                  RUSSIAVILLE      IN    46979‐9470
MARLENE SUMBER TR UA 08/31/06 SUMBER FAM         5425 BROCKBANK PL                                                                             SAN DIEGO        CA    92115
TRUST
MARLENE TUCH                                     26 HIGHLAND DR                                                                                NORTH CALDWELL   NJ    07006‐4223

MARLENE V HALSDORF                               972 TOWNSHIP RD                                                                               ALTAMONT         NY    12009‐3426
MARLENE V ROMANO                                 30 PORTLAND RD A‐6                                                                            HIGHLANDS        NJ    07732
MARLENE VIOLET MOWER                             1187 #8 HIGHWAY                      STONEY CREEK ON                        L8E 5G8 CANADA
MARLENE VITOLO & ALFRED VITOLO JT TEN            889 ROBERTS RUN RD                                                                            HOLBROOK         PA    15341
MARLENE W ROGERS                                 C/O SCOTT E ROGERS                   9320 SOUTH 300 WEST                                      FAIRMOUNT        IN    46928‐9354
MARLENE WANZER                                   4369 WALLERTON CT                                                                             KNOXVILLE        TN    37938‐3273
MARLENE WARD                                     6 MORLEY DR                                                                                   NORWALK          OH    44857‐1909
MARLENE WASHINGTON                               17003 KENYON RD                                                                               SHAKER HTS       OH    44120‐3740
MARLENE WEPF                                     9691 NW 39 COURT                                                                              COOPER CITY      FL    33024‐8064
MARLENE Y CARLSON & HERBERT I CARLSON JT TEN     5801 CLARENDON HILLS RD                                                                       WILLOWBROOK      IL    60514‐1731

MARLENE Y SCHWARZ                                335 ALTGELT                                                                                   SAN ANTONIO      TX    78201‐2603
MARLENE ZWIBEL                                   5600 COLLINS AVE                     APT 15G                                                  MIAMI BEACH      FL    33140‐2413
MARLESE A CORTNER                                5131 W BELLFORT ST                                                                            HOUSTON          TX    77035‐3134
MARLESE A CORTNER                                5131 W BELLFORT AVE                                                                           HOUSTON          TX    77035‐3134
MARLETTA Y DALEY                                 3712 MESA VERDE AVE NE                                                                        ALBUQUERQUE      NM    87110‐7724
MARLEY FORD EIGER                                3090 BERKSHIRE ROAD                                                                           CLEVELAND        OH    44118‐2459
                                                                                                                                               HEIGHTS
MARLEY L SCHEID TR UA 04/06/92 THE SCHEID FAMILY 1300 WEST CEDAR                                                                               MITCHELL         SD    57301‐3147
TRUST
MARLIES BERGHEIMER                               R WAGNERSTR 10                       86391 STADTBERGEN                      0821 52 GERMANY
MARLIN C MCNEILL                                 2409 RIDGEDALE DRIVE                                                                          CARROLLTON       TX    75006‐7727
MARLIN C MCNEILL & ROBERTA A MCNEILL JT TEN      2409 RIDGEDALE DRIVE                                                                          CARROLLTON       TX    75006‐7727
MARLIN DEEMER                                    8459 LAKE ROAD                                                                                BARKER           NY    14012‐9608
MARLIN E GRIFFIN                                 34193 SUMMER HILL LANE                                                                        NEW BALTIMORE    MI    48047‐4180
MARLIN E KOHLER                                  441 S THIRD ST                                                                                LEMOYNE          PA    17043‐2002
MARLIN E MOSER                                   2516 WASHINGTON AVE #B                                                                        BEDFORD          IN    47421‐4906
MARLIN G DYER                                    9517 MONTGOMERY LANE                                                                          LA PORTE         TX    77571‐3809
MARLIN HUFFMAN                                   305 EATON RD                                                                                  ANDERSON         IN    46012‐3908
MARLIN J MULDER                                  2494 MIRY RUN RD                                                                              SUTHERLAND       VA    23885‐8817
MARLIN J WEAVER                                  1446 SPRUCE AVE                      OAK HILL                                                 WILMINGTON       DE    19805‐1338
MARLIN L MURRAY                                  455 BEECH STREET EXT                                                                          REYNOLDSVILLE    PA    15851‐5813
MARLIN L WIESE & GERALDINE M WIESE JT TEN        3501 SWALLOW CT NE                                                                            CEDAR RAPIDS     IA    52402‐2664
MARLIN P LINGEFELTER                             3920 BRANTLEY DR                                                                              AUSTELL          GA    30106‐1556
MARLIN R THYER                                   139 LAWRENCE RD 2275                                                                          POWHATAN         AR    72458‐8539
MARLIN R ZASTROW                                 7939 CHESTNUT RIDGE RD                                                                        GASPORT          NY    14067‐9277
MARLIN W HOISINGTON                              4870 E MILL RD                                                                                BANCROFT         MI    48414‐9728
MARLISE C KONORT                                 90 MORRIS AVE                                                                                 HAWORTH          NJ    07641‐1303
MARLISS J CANUPP                                 6972 PRAIRIE GROVE DRIVE                                                                      CLEMMONS         NC    27012
MARLLOUISE SIMPSON CALDRONE & CARL CALDRONE JT MANOR AT KNOLLWOOD                     18479 MANORWOOD SOUTH   APT 3409 A                       CLINTON TOWNSHIP MI    48038‐4815
TEN
MARLO BUSER                                      W 60 N 739 JEFFERSON                                                                          CEDARBURG        WI    53012
MARLO KULBACKI                                   9513 74TH AVE                        EDMONTON AB                            T6E 1E5 CANADA
MARLO L NELSON                                                                                                                                 STRATHCONA       MN    56759
MARLON A WILLIAMS                                19330 HUNTINGTON RD                                                                           DETROIT          MI    48219‐2744
MARLON C FOUT                                    6302 E PRINCESS DR                                                                            MESA             AZ    85205‐4547
MARLON D ANGEL                                   2 ALDERSHOT DRIVE                                                                             NEWARK           DE    19713‐4009
MARLON D GRIFFIN                                 5272 HORGER ST                                                                                DEARBORN         MI    48126‐5012
MARLON F JACKSON                                 70 S ROSELAWN ST                                                                              PONTIAC          MI    48342‐2842
MARLON K CARTER                                  13 VALLEY ARBOR CT                   APT G                                                    ESSEX            MD    21221‐4132
MARLON L COKER                                   2018 S 18TH AVE                                                                               BROADVIEW        IL    60155‐2934
MARLON M CHATMAN                                 1924 TEBO ST                                                                                  FLINT            MI    48503‐4431
MARLON R EATON                                   15139 SEVEN MILE POST RD                                                                      ATHENS           AL    35611‐7941
MARLON R WHEAT                                   1212 ALPINE DR                                                                                DEWITT           MI    48820‐9525
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Name                                               Address1                               Address2             Address3            Address4            City             State Zip

MARLOW O JOHNSON                                   2313 LAUREL AVE                                                                                     JANESVILLE       WI    53545‐3341
MARLOWE A PETERSON                                 121 TRENTON LANE N                                                                                  MINNEAPOLIS      MN    55441‐6226
MARLOWE D MACKIE                                   6835 GREEN DR                                                                                       HARSENS ISLAND   MI    48028‐9528
MARLYN D TAYLOR                                    3508 SUMMERHILL DR                                                                                  MONTGOMERY       AL    36111‐3358
MARLYN H DIETZ                                     101 PENNFIELD DR                                                                                    KENNET SQ        PA    19348
MARLYN J BOEHMLER                                  C/O M J LANDGREEN                      124 HICKORY DRIVE                                            HATFIELD         PA    19440‐4011
MARLYN L BRIDGES                                   5158 VIA EL MOLINO                                                                                  NEWBURY PARK     CA    91320
MARLYN MICHELL TURKINGTON                          14231 CINDYWOOD DR                                                                                  HOUSTON          TX    77079‐6613
MARLYN SCHAFER                                     PO BOX 168                                                                                          WEDDERBURG       OR    97491‐0168
MARLYN WHITE MONETTE                               165 VIDOR LANE                                                                                      SHREVEPORT       LA    71105
MARLYNE L COXSON                                   1515 CHARLES ST                                                                                     HERMITAGE        PA    16148‐2052
MARLYS C LADWIG                                    1824 6TH STREET WEST                                                                                WEST FARGO       ND    58078
MARLYS CLAY                                        4648 N CERRITOS DR                                                                                  LONG BEACH       CA    90807‐1606
MARLYS D VACCARI                                   6401 AMBER PASS                                                                                     PLAINFIELD       IN    46168‐9380
MARLYS J FINSTROM BRYAN                            8502 ZENITH ROAD                                                                                    BLOOMINGTON      MN    55431‐1551
MARLYS K BECK TR THE MARLYS K BECK TRUST UA        22 FAIRMOUNT ST                                                                                     BURLINGTON       VT    05401‐4127
01/04/95
MARNA B BALAZER                                    3136 FAWN LANE                                                                                      JACKSON          MI    49201‐9008
MARNA FELDT                                        5 D AUBURN CT                                                                                       RED BANK         NJ    07701‐5428
MARNA FREDEBAUGH                                   7382 BUTTON ROAD                                                                                    MENTOR           OH    44060‐6741
MARNA JUNE CAPELS TR MARNA JUNE CAPELS TRUST       502 HILLSIDE AVE                                                                                    SYRACUSE         NY    13219‐2633
UA 07/18/96
MARNA L GERMAN                                     432 W 17TH ST                                                                                       ANDERSON         IN    46016‐4100
MARNA PATRICE DRAPER                               2361 LARNIE LANE                                                                                    INDIANAPOLIS     IN    46219‐1406
MARNA TODD                                         21383 FALLS RIDGE WAY                                                                               BOCA RATON       FL    33428‐4873
MARNA TURNER CANTWELL                              7815 NIGHTINGALE COURT                                                                              INDIANAPOLIS     IN    46256‐1765
MARNE G MILLER                                     3673 ELMLAWN DR                                                                                     TOLEDO           OH    43614‐3566
MARNEY I PEARSON & MARILYNN L PEARSON JT TEN       4323 36TH AVE CT NW                                                                                 GIG HARBOR       WA    98335‐8209

MARNI DALY                                         1715 YORK                                                                                           NAPA             CA    94559‐1605
MARNI L GREEN                                      7438 COTHERSONE COURT                                                                               INDIANAPOLIS     IN    46256‐2077
MARNI PEARLMAN                                     14 MARION ST                                                                                        DANBURY          CT    06810‐8323
MARNIE B LOBEL                                     61 HOFSTRA DR                                                                                       SMITHTOWN        NY    11787‐2053
MARNIE L IRELAN                                    45225 SUNRISE LANE                                                                                  BELLEVILLE       MI    48111‐2439
MARNIE L WAGNER                                    135 N OCOTILLO DR LOT 3                                                                             APACHE JCT       AZ    85220
MARNORA LEWIS                                      1413 BENJAMIN NE                                                                                    GRAND RAPIDS     MI    49505‐5401
MAROLYN J ALESHIRE                                 367 WHISPER LN                                                                                      XENIA            OH    45385‐4872
MAROLYN J THOMAS                                   3952N 1200E                                                                                         GREENTOWN        IN    46936‐8881
MAROWE A SELVES                                    6103 SANDY LANE                                                                                     BURTON           MI    48519‐1309
MARPESSA BERTACCHI & MARIA BERTACCHI JT TEN        301 W MILL                                                                                          WATERLOO         IL    62298‐1237

MARQUATOR R RUCKER                                 709 RALEIGH AVE                                                                                     THOMASVILLE      GA    31792‐6328
MARQUERITE GILLESPIE ANDERSON                      1818 CHADBOURNE AVE                                                                                 MADISON          WI    53705‐4045
MARQUERITE JOHNSON                                 1022 QUAIL RUN                                                                                      WYOMING          DE    19934‐9509
MARQUERITE R MCVEY                                 1949 BUENA VISTA DRIVE                                                                              TERRE HAUTE      IN    47802‐5007
MARQUETTA V STOWERS                                1045 MASSACHUSETTS AVE                                                                              RIVERSIDE        CA    92507‐2830
MARQUETTE JAMES                                    150 WILDWOOD DR                                                                                     DE SOTO          TX    75115‐7560
MARQUETTE L FIELDS                                 100 RIVERDALE AVE #14C                                                                              YONKERS          NY    10701‐4619
MARQUINA SERGIO BRITO                              GM ESPANA SA                           APARTADO 375         50080 ZARAGOZA SP   SPAIN
MARQUIS C ARCHER                                   24640 MANISTEE                                                                                      OAK PARK         MI    48237‐1712
MARQUIS S SMITH II                                 163 MCKAY ST                                                                                        BEVERLY          MA    01915‐2569
MARQUITA A ALVERSON                                4846 TREAT HWY                                                                                      ADRIAN           MI    49221‐8640
MARQUITA K CHERRY                                  202 CHRISTY LN                                                                                      KOKOMO           IN    46901‐3805
MARQUITA M E MACLEOD                               4127 RANDOLPH ST                                                                                    SAN DIEGO        CA    92103‐1342
MARRENA HALL                                       503 WEAVER DR                                                                                       GOLDSBORO        NC    27530‐6956
MARRIA D ELLIOTT‐BLINN & STEVEN B BLINN JT TEN     18028 ARTHUR DRIVE                                                                                  ORLAND PARK      IL    60467‐8429

MARRIAM LOUISE REES                                6891 S FOUR PEAKS WAY                                                                               CHANDLER         AZ    85249
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MARRIE T WYSOCKI TR MARRIE T WYSOCKI TRUST UA    6294 GRAND POINT RD                                                                            PRESQUE ISLE      MI    49777‐8469
09/07/99
MARRIETTA C STRUIK                               8300 BUSH DR NE                                                                                ROCKFORD          MI    49341‐9348
MARRION ROBINSON                                 2924 EAGLE POINT RD                                                                            MIDDLEBURG        FL    32068
MARRIS L TYE                                     867 BROAD BLVD                                                                                 DAYTON            OH    45419‐2024
MARRISA KUBA                                     11992 FERNDALE ST                                                                              PHILADELPHIA      PA    19116‐2010
MARRON R BROWNING                                1345 HWY 60                                                                                    HOSCHTON          GA    30548‐1214
MARRY ELLEN MILNE TR MILNE FAM TRUST UA 02/24/95 1201 HATTIE FOX LANE                                                                           ROCHESTER HILLS   MI    48306‐3324

MARRY K MORROW                                   1204 W STATE ROAD 16                                                                           DENVER            IN    46926‐9176
MARSA S BINION                                   3740 SAN JOSE BLVD                                                                             JACKSONVILLE      FL    32207‐5227
MARSANA KINKEL                                   832 UPLAND DR                                                                                  PORT ORANGE       FL    32127‐5978
MARSEPLLE R MILLER                               1247 NW 65TH TERRACE                                                                           KANSAS CITY       MO    64118
MARSETTA L HARRIS                                14930 MARLOWE                                                                                  DETROIT           MI    48227‐2990
MARSETTA L HARRIS & THOMAS HARRIS JT TEN         14930 MARLOWE                                                                                  DETROIT           MI    48227‐2990
MARSH SPEARS JR                                  3165 JERUSALEM RD                                                                              LIBERTY           MS    39645
MARSH WILTBANK UEBLER                            11 BRENTWOOD LANE                                                                              NEWARK            DE    19711‐2073
MARSHA A APFEL                                   C/O MARSHA A GARDNER                  4165 HIGHWAY 169                                         MOORINGSPORT      LA    71060‐9413
MARSHA A BAJOREK TR BAJOREK FAMILY TRUST UA      12742 ELIZABETH WAY                                                                            TUSTIN            CA    92780‐2811
02/26/04
MARSHA A BURKE                                   2368 MONTGOMERY AVE NW                                                                         WARREN            OH    44485‐1420
MARSHA A CARLIN                                  47 MARINE DR #7‐H                                                                              BUFFALO           NY    14202‐4208
MARSHA A COOLEY                                  C/O MARSHA C RYCK                     106 GREEN RD TRLR 15                                     FAIRFIELD         ME    04937‐3237
MARSHA A DESROCHERS                              4212 LAKE KNOLLS DRIVE                                                                         OXFORD            MI    48371‐5411
MARSHA A HERSHBERGER                             304 LAKEVIEW DR                                                                                KINGSLAND         GA    31548‐6638
MARSHA A IDDINGS                                 7791 WINDY HILL CT                                                                             DAYTON            OH    45459‐5439
MARSHA A LUCK                                    344 W HOGAN ST                                                                                 CENTERVILLE       MI    49032
MARSHA A LUNDH & MARTHA KUKHANN JT TEN           1430 GULF BLVD                        APT 503                                                  CLEARWATER        FL    33767‐2856
MARSHA A LUNDH & ROBERT LUNDH JT TEN             1430 GULF BLVD                        APT 503                                                  CLEARWATER        FL    33767‐2856
MARSHA A MANNER                                  6001 CLEVES WARSAW PIKE                                                                        CINCINNATI        OH    45233‐4936
MARSHA A PITTSNOGLE                              59 ROME DRIVE                                                                                  MARTINSBURG       WV    25401‐1472
MARSHA A PREVO & RONALD L PREVO JT TEN           9421 LINDA DR                                                                                  DAVISON           MI    48423‐1798
MARSHA A WETZEN                                  1090 MYRTLE AVENUE                                                                             WATERFORD         MI    48328‐3831
MARSHA A WILLIAMS                                11410 NORTH MARTINDALE                                                                         DETROIT           MI    48204
MARSHA ALPERT                                    31085 PHEASANT RUN ST                 APT 1                                                    FARMINGTN HLS     MI    48334‐1265
MARSHA ANN COTE CUST REGINA M COTE UTMA IL       1922 W SUMMERDALE                                                                              CHICAGO           IL    60640‐1014

MARSHA ANN DRAEGER                               840 S COLLEGIATE DR                                                                            PARIS          TX       75460‐6306
MARSHA ANN MEREDITH                              2580 DODDS ROAD                                                                                NORTH BRANCH   MI       48461‐9314
MARSHA ANN WALSH                                 1158 W VALLEY RD                                                                               WAYNE          PA       19087‐1440
MARSHA ANNE JONES                                C/O MARSHA ANNE JONES‐DANCE           6830 LION HEART LN                                       KNOXVILLE      TN       37919
MARSHA B BECKER                                  925 SCENIC RANCH CIR                                                                           MC KINNEY      TX       75069‐1908
MARSHA BAKAL                                     722 MULBERRY PL                                                                                NORTH WOODMERE NY       11581‐3132

MARSHA BEST TURNER                               2213 LAFITON LANE                                                                              PORT ALLEN        LA    70767‐3705
MARSHA BURNETT WATTS                             326 CAPE MAY                                                                                   CORPUS CHRISTI    TX    78412‐2638
MARSHA CARTER                                    2217 PAMELA PL                                                                                 LENSING           MI    48917
MARSHA CHABOT GDN BARBARA WEISS                  719 OLD POST RD                                                                                NEW PALTZ         NY    12561
MARSHA D BLAISDELL                               3149 SKYVIEW CT                                                                                BRIGHTON          MI    48114‐8660
MARSHA D BORNT                                   25 MONUMENT RD SUITE 230                                                                       YORK              PA    17403‐5049
MARSHA D KREMEN                                  3728 SW WEBSTER ST                                                                             SEATTLE           WA    98126‐3260
MARSHA D NOVAK                                   2162 LEWIS RD                                                                                  SOUTH WALES       NY    14139‐9796
MARSHA D SANOS                                   951 OSSINGTON AVE                                                                              FLINT             MI    48507
MARSHA D SCHELBERT                               1201 N MORRISON ST                                                                             KOKOMO            IN    46901‐2761
MARSHA DICKMAN & DANIEL B STARR JT TEN           4017 EAST ROLLING GREEN LANE                                                                   ORANGE            CA    92867
MARSHA E ANDERSON                                2905 W MOSHER STREET                                                                           BALTIMORE         MD    21216‐4202
MARSHA E COHEN                                   APT 19E                               353 E 83                                                 NEW YORK          NY    10028‐4341
MARSHA E EASLEY                                  2259 OXLEY DR                                                                                  WATERFORD         MI    48328‐1834
MARSHA E KLOSTER                                 4009 COLFAX AVE SOUTH                                                                          MINNEAPOLIS       MN    55409‐1425
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MARSHA E NOTTINGHAM                              6345 DEAN ROAD                                                                                 HOWELL           MI    48843‐9233
MARSHA E SHANER & MERLIN E SHANER JT TEN         3714 CAMBRIDGE ST                                                                              ALVIN            TX    77511
MARSHA E STIGGE TR UA 01/13/09 MARSHA E STIGGE   235 GREEN ACRES LANE                                                                           SAINT CLAIR      MO    63077
REVOCABLE LIVING TRUST
MARSHA F CROUZET                                 67 RUE NOTRE DAME DES CHAMPS          PARIS                                  75006 FRANCE
MARSHA F VANHOUTTE                               1916 BUTTERFIELD TRL                                                                           CHOCTAW          OK    73020‐8031
MARSHA FEDOR                                     574 MEADOWVIEW DRIVE                                                                           WAUCONDA         IL    60084‐2381
MARSHA FINGLES CUST RACHEL FINGLES UTMA PA       5160 EUSTON CT                                                                                 BENSALEM         PA    19020‐2303

MARSHA G CENTOFANTI                              633 N UNION AVE                                                                                SALEM            OH    44460‐1705
MARSHA G MILAZZO                                 1240 RUSH SCOTTSVILLE RD                                                                       RUSH             NY    14543‐9783
MARSHA G OUSLEY                                  1203 WHALEYS OVERLOOK                                                                          KODAK            TN    37764‐2604
MARSHA GAIL BROWN                                4 SECRETARIAT DR                                                                               STAFFORD         VA    22556‐6671
MARSHA GALDI                                     801 WEST KING HIGHWAY                                                                          MOUNT EPHRAIM    NJ    08059
MARSHA GREENE TR UA 04/16/1984 JEAN T PRESCOTT   246‐16 UNION TURNPIKE                                                                          BELLEROSE        NY    11426
REVOCABLE TRUST
MARSHA HELMS CUST HEATHER A HELMS UTMA FL        11628 N W 34TH PL                                                                              SUNRISE          FL    33323‐1322

MARSHA HELMS CUST HOLLY S HELMS UTMA FL          11628 NW 34TH PL                                                                               SUNRISE          FL    33323‐1322
MARSHA HESTER                                    PO BOX 15065                                                                                   HATTLESBURG      MS    39404‐5065
MARSHA HORNIAK FELBER                            4720 BROADALE RD                                                                               CLEVELAND        OH    44109‐4535
MARSHA HUGHES CHASTAIN                           PO BOX 314                                                                                     FLORA            MS    39071‐0314
MARSHA J BRILEY                                  5812 S HIGH SCHOOL RD                                                                          INDIANAPOLIS     IN    46221‐4016
MARSHA J DAY                                     23 PAUL DR                                                                                     TEXARKANA        TX    75503‐2621
MARSHA J MCCARTHY                                33 LEICESTER RD                                                                                KENMORE          NY    14217‐2111
MARSHA J TIMMERMAN                               50 PATCH POND RD UNIT 6                                                                        CENTER OSSIPEE   NH    03814‐6128
MARSHA K BROWNE                                  14 HARBOURTON RIDGE DR                                                                         PENNINGTON       NJ    08534‐3700
MARSHA K CLARK                                   59 PARK RD                                                                                     CHURCHVILLE      NY    14428‐9501
MARSHA K NUNNALLY                                3650 PAULEY LN                                                                                 RUSSIAVILLE      IN    46979‐9170
MARSHA K RICHARD                                 2256 SHANNON DR                                                                                ADRIAN           MI    49221‐3641
MARSHA K RICHARDS                                5426 JOHANNSEN AVENUE                                                                          HUBER HEIGHTS    OH    45424‐2737
MARSHA KAY RIBBLE                                208 HUNTINGTON                                                                                 EULESS           TX    76040‐4779
MARSHA L BARLOW                                  412 SOUTH PALLEY AVE                                                                           MUNCI            IN    47303
MARSHA L BOOTH                                   3640 HALLOCK YOUNG RD                                                                          NEWTON FALLS     OH    44444‐9715
MARSHA L CANCLER                                 1435 CRYSTALAIRE CT                                                                            CALEDONIA        MI    49316‐9758
MARSHA L CHEESEMAN & MICHAEL G THERRIEN JT TEN   4 MADEL LANE                                                                                   BEDFORD          MA    01730‐1552

MARSHA L CUMMINGS                                7820 MOORE ROAD                                                                                AKRON            NY    14001‐9726
MARSHA L DOWELL CUST STEPHEN BOND DOWELL III     PO BOX 685                                                                                     FLINT HILL       VA    22627‐0685
UTMA VA
MARSHA L GEIGER                                  7 HIGHLAND CR                                                                                  LEWISBURG        WV    24901‐1721
MARSHA L HENLEY                                  5310 LEGION DR                                                                                 MOUNT AIRY       MD    21771
MARSHA L PAY                                     PO BOX 701                                                                                     VALLEY CENTER    CA    92082‐0701
MARSHA L PAY CUST ERIN J MCKIBBEN UTMA CA        PO BOX 701                                                                                     VALLEY CENTER    CA    92082‐0701
MARSHA L PROCHNOW                                300 BRIAR HOLLOW RD                                                                            HOHENWALD        TN    38462‐2014
MARSHA L SHELMAN                                 29007 LEROY                                                                                    ROMULUS          MI    48174‐3098
MARSHA L WARD                                    201 COLLINSWOOD                                                                                STONEWALL        LA    71078‐9515
MARSHA LEE SERA                                  C/O M L KHORRAM                       7970‐D MISSION CENTER CT                                 SAN DIEGO        CA    92108‐1463
MARSHA LITTLE                                    PO BOX 43                                                                                      OWENSBURG        IN    47453‐0043
MARSHA LOWERY CUST NICHOLAS MICHAEL LOWERY       153 CHILTON ROAD                                                                               ARARAT           NC    27007
UTMA NY
MARSHA LUNDH & ROBERT LUNDH JT TEN               1430 GULF BLVD                        APT 503                                                  CLEARWATER       FL    33767‐2856
MARSHA M APTER                                   ATTN MARSHA APTER SIEGEL              394 DANBURY LANE                                         EAST BRUNSWICK   NJ    08816‐5113
MARSHA M KOSKI                                   1621 WENONAH LANE                                                                              SAGINAW          MI    48603‐4490
MARSHA M STENSON                                 9326 BUCKMAN AVE                                                                               NORFOLK          VA    23503‐4206
MARSHA MC CURTIS                                 16695 COLLINGHAM RD                                                                            DETROIT          MI    48205‐1509
MARSHA NELL ODONNELL                             2768 BARKSDALE DR N                                                                            MOBILE           AL    36606‐2231
MARSHA R ADAMS                                   24574 PARK GRANADA                                                                             CALABASAS        CA    91302‐1409
MARSHA R DUPREE                                  514 TURTLE CREEK DR                                                                            SHREVEPORT       LA    71115‐2510
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Name                                               Address1                               Address2                 Address3      Address4          City              State Zip

MARSHA R GORDON                                    1711 LAKE SHORE DR APT G                                                                        ANDERSON          IN    46012‐4954
MARSHA R HILL                                      1689 CIMMARON                                                                                   DEFIANCE          OH    43512
MARSHA R HON                                       238 N MAIN                             SUITE A                                                  KELLER            TX    76248‐4441
MARSHA R LUBAS                                     163 INDIAN TRAIL                                                                                COLUMBIAVILLE     MI    48421‐9725
MARSHA RUIZ                                        482 NARRAGANSETT AVE                                                                            LONG BRANCH       NJ    07740‐7648
MARSHA S BEDFORD                                   5042 E RANCHO TIERRA DR                                                                         CAVE CREEK        AZ    85331‐5914
MARSHA S DUGGINS                                   201 OAK ST                                                                                      FLORENCE          NJ    08518
MARSHA S GRAHAM                                    101 WORTHINGTON CT                                                                              SIMPSONVILLE      SC    29681‐3528
MARSHA S STANISH                                   375 CAREY AVE                                                                                   WILKES BARRE      PA    18702‐2124
MARSHA SEARS                                       1441 N ROCK ROAD APT 1204                                                                       WICHITA           KS    67206‐1241
MARSHA SOBCZAK                                     20496 INDI DR                                                                                   MONUMENT          CO    80132‐9605
MARSHA SOLOMON                                     13 PIONEER CT                                                                                   EWING             NJ    08628‐3611
MARSHA SPIRO                                       125 BARBERRY LN                                                                                 PEACHTREE CITY    GA    30269‐4291
MARSHA SUE ALLISON                                 19732 SR37N                                                                                     NOBLESVILLE       IN    46060
MARSHA W MOTHERSHEAD CUST WHITNEY O JACKSON        9461 CRESCENT VIEW DR                                                                           MECHANICSVLLE     VA    23116‐2702
UTMA VA
MARSHA W SCHUSTER                                  15635 DOVER RD                                                                                  UPPERCO           MD    21155‐9514
MARSHA WILLIAMS                                    5330 E FORSTER AV                                                                               COLUMBUS          IN    47201‐8798
MARSHAL BLUMSTOCK                                  75‐299 HOENE ST                                                                                 KAILUA‐KONA       HI    96740‐2082
MARSHAL L JONES & MARY V JONES JT TEN              BOX 469                                                                                         QUITMAN           MS    39355‐0469
MARSHAL R HABBERFIELD                              6000 BIGTREE ROAD                      PO BOX 578                                               LAKEVILLE         NY    14480‐0578
MARSHALL A COLE                                    PO BOX 2154                                                                                     MORGAN HILL       CA    95038‐2154
MARSHALL A JENKINS                                 6420 STEWART MINE RD                                                                            KELSEY            CA    95667‐7441
MARSHALL A MCCOLLOM                                6127 RIVA RIDGE DR                                                                              INDIANAPOLIS      IN    46237‐5003
MARSHALL A SMITH & MASON SMITH JT TEN              66 ST ANNES DR                                                                                  HATTIESBURG       MS    39401‐8253
MARSHALL A SMITH JR & MASON S SMITH TEN COM        66 ST ANNES DR                                                                                  HATTLESBURG       MS    39401‐8253

MARSHALL A TAYLOR                                  4938 MALLARD VIEW DR                                                                            INDIANAPOLIS      IN    46226‐2189
MARSHALL ANDER & MRS SHEILA ANDER JT TEN           3839 JOANNE DR                                                                                  GLENVIEW          IL    60026‐1002
MARSHALL B DAGAN                                   110 DALAKER DRIVE                      APT 104                                                  ROCHESTER         NY    14624
MARSHALL B MILLER                                  212 CHESSINGTON LN                                                                              SIMPSONVILLE      SC    29681‐2683
MARSHALL B ZAUN & MARLA ZAUN JT TEN                44236 PALO VERDE ST                                                                             LANCASTER         CA    93536‐6267
MARSHALL BIRKETT & MRS ANN BIRKETT JT TEN          24 BIRCHDALE RD                                                                                 BOW               NH    03304‐4402
MARSHALL BROOKS                                    9974 BEAVERLAND                                                                                 REDFORD           MI    48239‐1319
                                                                                                                                                   TOWNSHIP
MARSHALL BUCHANAN                                  6015 GANT ROAD                                                                                  BAXTER            TN    38544‐4723
MARSHALL C SKRUMBELLOS                             2657 RIVERCLIFF ROAD                                                                            FAYETTEVILLE      NC    28301‐3874
MARSHALL CROSBY JR                                 ATTN EMMA R CROSBY                     803 CATHAY P O BOX 788                                   SAGINAW           MI    48606‐0788
MARSHALL CULBRETH                                  4621 MORGAN DRIVE                                                                               CHEVY CHASE       MD    20815‐5314
MARSHALL CURTIS GOODSILL                           1215 BREWSTER DRIVE                                                                             EL CERRITO        CA    94530‐2523
MARSHALL D DAVENPORT                               561 HALEYVILLE RD                                                                               PORT NORRIS       NJ    08349‐2525
MARSHALL D MCINTIRE JR                             615 FERRIS RD                                                                                   EATON RAPIDS      MI    48827
MARSHALL E BISHOP                                  479 TUSCANY DR                                                                                  PORTAGE           MI    49024
MARSHALL E BLOM & SHIRLEY M BLOM JT TEN            811 STRADFORD CIRCLE                                                                            BUFFALO GROVE     IL    60089‐3371
MARSHALL E BLORE                                   521 LONG AVE                                                                                    MANASQUAN         NJ    08736‐3325
MARSHALL E FUNDUNBURKS                             3525 GINGER SNAP LANE                                                                           LANSING           MI    48911‐1517
MARSHALL E LE SUEUR & MRS ADRIENNE R LE SUEUR JT   366 RAMSAY RD                                                                                   DEERFIELD         IL    60015‐3440
TEN
MARSHALL E RIDER                                   635 STANFORD AVE                                                                                ELYRIA            OH    44035‐6676
MARSHALL FELD TR UA 08/12/04 MARSHALL FELD &       500 W BRADLEY RD APT A235                                                                       MILWAUKEE         WI    53217
NATALIE J FELD REV TRUST
MARSHALL G CURRAN JR                               1608 W TERRA MAR DR                                                                             LAUDERDALE BY SEA FL    33062‐6818

MARSHALL H COLLINS                                 910 S BEECHFIELD AVE                                                                            BALTIMORE         MD    21229‐4935
MARSHALL H FRASIER & MARY G FRASIER JT TEN         3540 PINE TREE LOOP                                                                             HAINES CITY       FL    33844
MARSHALL H JACOBSON                                1913 SUDBURY ROAD N W                                                                           WASHINGTON        DC    20012‐2228
MARSHALL H ODEEN CUST MARK MARSHALL ODEEN          905 CYPRESS LANE                                                                                LOUISVILLE        CO    80027‐9429
UGMA TN
MARSHALL H RUDDELL JR                              2265 CAMBERLING DRIVE                                                                           LEXINGTON         KY    40515‐1619
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Name                                               Address1                              Address2             Address3          Address4          City               State Zip

MARSHALL HALL                                      1144 INVERNESS AVE                                                                             YOUNGSTOWN         OH    44502‐2820
MARSHALL HENRY ANDREWS JR                          206 DUTCHTOWN RD                                                                               OWEGO              NY    13827‐5036
MARSHALL I BIRKETT                                 24 BIRCHDALE RD                                                                                BOW                NH    03304‐4402
MARSHALL I WAIS JR CUST REBECCA J WAIS UGMA CA     3065 MIDDLEFIELD RD                   APT 203                                                  PALO ALTO          CA    94306‐2530

MARSHALL J ARMSTRONG JR & MRS PATRICIA E           300 MEREDITH NECK RD                                                                           MEREDITH           NH    03253‐7015
ARMSTRONG JT TEN
MARSHALL J BROWN                                   PO BOX 121                                                                                     YORKTOWN           IN    47396‐0121
MARSHALL J FISK                                    150 22 MILE RD                                                                                 SAND LAKE          MI    49343‐8775
MARSHALL J FREUND                                  14567 BARTON LK DR                                                                             VICKSBURG          MI    49097
MARSHALL J NELSON                                  205 EMMET ST                                                                                   MARTINSVILLE       VA    24112‐4240
MARSHALL J SMITH II                                PO BOX 656                                                                                     ELEELE             HI    96705‐0656
MARSHALL JEW & ANNA C JEW JT TEN                   9 WILLA WAY                                                                                    MASSAPEQUA         NY    11758‐8528
MARSHALL K COOK                                    PO BOX 645                                                                                     VERMILION          OH    44089‐0645
MARSHALL K JAMES‐SCOTT                             177 BARRINGTON RD                                                                              BLOOMFIELD HILLS   MI    48302‐0604

MARSHALL KACZKOWSKI & SUSAN KACZKOWSKI JT TEN 8323 KAREM                                                                                          WARREN             MI    48093

MARSHALL KENNETH FIELD                             PO BOX 11578                                                                                   MILWAUKEE          WI    53211‐0578
MARSHALL L BLOUNT                                  4627 NORWAY DRIVE                                                                              JACKSON            MS    39206‐3348
MARSHALL L FIELD ADM EST WILLIAM P GIANOTIS        9 CENTRAL ST STE 300                                                                           LOWELL             MA    01852
MARSHALL L FLOWERS                                 1207 LEWISBURG PIKE                                                                            FRANKLIN           TN    37064‐5036
MARSHALL L FLOWERS & BONNIE N FLOWERS JT TEN       1207 LEWISBURG PIKE                                                                            FRANKLIN           TN    37064‐5036

MARSHALL L GOLDMAN                                 26046 MIRALINDA                                                                                LAKE FOREST        CA    92630‐7296
MARSHALL L LICKFELDT & JEANNE M LICKFELDT JT TEN   1508 BENTBROOK CIR                                                                             LANSING            MI    48917‐1402

MARSHALL L MCLAUGHLIN & MAY FRANCES                333 W PALMETTO AVENUE                                                                          DELAND             FL    32720‐2237
MCLAUGHLIN JT TEN
MARSHALL L MITCHENOR                               30218 SPRING ARBOR                                                                             INKSTER            MI    48141‐1587
MARSHALL L PADDEN & EDNA MAE PADDEN JT TEN         1351 MORGAN ST                                                                                 JOLIET             IL    60436‐1463

MARSHALL L PREVILL                              1423 LONG RIDGE ROAD                                                                              CHARLESTON         WV    25314‐1607
MARSHALL L PULLEY                               3730 CLEMENTS                                                                                     DETROIT            MI    48238‐2659
MARSHALL L REAZOR JR                            188 FERGUSON DR                                                                                   HILTON             NY    14468‐9504
MARSHALL L REID                                 5928 RICHWATER DR                                                                                 DALLAS             TX    75252‐5332
MARSHALL L ROBERSON                             PO BOX 5161                                                                                       OAKLAND            CA    94605‐0161
MARSHALL L RONIN                                2497 DEPOT ST                                                                                     SPRING HILL        TN    37174‐2423
MARSHALL L STILLS                               588 E 3RD ST                                                                                      XENIA              OH    45385‐3337
MARSHALL L YORK & VELMA R YORK JT TEN           516 S JONATHAN ST                                                                                 SPRINGFIELD        MO    65802‐5436
MARSHALL LEE & MARTIN KAR FAI LEE & MATTHEW KAR 3006 HICKORY MEDE DR                                                                              ELLICOTT CITY      MD    21042‐2341
CHUNG LEE JT TEN
MARSHALL LEE & MOIRA Y F LEE JT TEN             3006 HICKORYMEDE DRIVE                                                                            ELLICOTT CITY      MD    21042‐2341
MARSHALL LOUIS CASEY                            51 LEMON TWIST LN                                                                                 PORT ORANGE        FL    32119‐3644
MARSHALL M BRENDEN & NANCY M BRENDEN JT TEN     18225 SE 128TH                                                                                    RENTON             WA    98059‐8732

MARSHALL M OWENS                            110 OWENS HOLLOW                                                                                      SPEEDWELL          TN    37870‐7205
MARSHALL MAH                                301 CEDARBROOK RD                                                                                     LYNN               MA    01904‐1302
MARSHALL MC HENRY                           1960 BEECH GROVE DR                                                                                   CINCINNATI         OH    45233‐4912
MARSHALL MCNEIL JR                          PO BOX 1674                                                                                           ANTIOCH            TN    37011‐1674
MARSHALL N CAUDLE                           221 10TH AVENUE NW                                                                                    DECATUR            AL    35601‐2003
MARSHALL NEEDLE & JENNIFER SKLAREW JT TEN   530 CLAY AVE APT 201                                                                                  SCRANTON           PA    18510‐2158
MARSHALL NEYMARK CUST SAMANTHA LEAH NEYMARK 1580 GASCONY RD                                                                                       ENCINITAS          CA    92024‐1221
UGMA MI
MARSHALL OSTREM                             3811 MCCABE AVE                                                                                       CRYSTAL LAKE       IL    60014‐2318
MARSHALL P MC GOWAN                         PO BOX 254                                                                                            REHOBOTH           DE    19971‐0254
MARSHALL PRESS & MRS JUDITH PRESS JT TEN    105 WENTWORTH DR                                                                                      SOUTH WINDSOR      CT    06074‐1260
MARSHALL R BOWDEN                           2 PEACH TREE LANE                                                                                     DANVERS            MA    01923‐3427
MARSHALL R GRANDSTAFF SR                    270 GLENRIDGE LOOP S                                                                                  LAKELAND           FL    33809‐1570
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MARSHALL R MEYERS                                9870 DAVENPORT RD                                                                              WOODLAND         MI    48897‐9736
MARSHALL R NEWLAND                               WOODRIDGE ADDITION                    4643 HILLCREST DR                                        CHANDLER         TX    75758‐8747
MARSHALL R TAYLOR                                2436 SALEM VALLEY RD                                                                           RINGGOLD         GA    30736‐4334
MARSHALL R TAYLOR                                17380 BIRWOOD                                                                                  DETROIT          MI    48221‐2319
MARSHALL R VIDRINE                               1772 WILLA PLACE DR                                                                            KERNERSVILLE     NC    27284
MARSHALL S MACK                                  49 BROAD COVE RD                                                                               CAPE ELIZABETH   ME    04107‐2901
MARSHALL S ROSS                                  238 SHELDRAKE BLVD                    TORONTO ON                             M4P 2B6 CANADA
MARSHALL S TAUBER & SANDRA R SUSSMAN JT TEN      725 GOLDEN SHORE                                                                               WHITE LAKE       MI    48386‐2925

MARSHALL SCOTT KRANTZ                            3912 LINWOOD AVE #A                                                                            OAKLAND          CA    94602‐1628
MARSHALL SOUTHERS                                6 CADENCY LN                                                                                   BUENA VISTA      VA    24416‐4438
MARSHALL T ABBOTT JR & CYNTHIA T ABBOTT JT TEN   7148 MICHAEL SCOTT CROX                                                                        FORT MILL        SC    29708‐8912

MARSHALL T HARRIS                                3709 N SYDENHAM ST                                                                             PHILADELPHIA     PA    19140‐3625
MARSHALL T HOPPER                                1825 LAMBERT ST                                                                                INDIANAPOLIS     IN    46221‐1515
MARSHALL T OELSCHLAGER                           2160 S RITTER AVE                                                                              INDIANAPOLIS     IN    46203‐4938
MARSHALL TOBIN                                   31500 W 10TH MILE RD                                                                           FARMINGTON HILLS MI    48336

MARSHALL V NICHOLS                             3018 E MEYER BLVD                                                                                KANSAS CITY      MO    64132‐1222
MARSHALL W CAGLE CUST BRITTANY T CAGLE UTMA GA 814 N 5TH AVE                                                                                    CHATSWORTH       GA    30705‐2104

MARSHALL W MORCOM                                29726 ORVYLLE DRIVE                                                                            WARREN           MI    48092‐4239
MARSHALL W MORCOM & OLIVE V MORCOM JT TEN        29726 ORVYLLE DR                                                                               WARREN           MI    48092‐4239

MARSHALL W SAYLOR                                1370 ORCHARD DRIVE                                                                             WHITE LAKE       MI    48386‐3953
MARSHALL W SEARLES                               51102 BETTS ROAD RD1                                                                           WELLINGTON       OH    44090‐9727
MARSHALL W YOUNG                                 57 LYNN LEE                                                                                    WILLIAMSVILLE    NY    14221‐3148
MARSHALL WOLF                                    BOX 7059                              CHURCH STREET STATION                                    NEW YORK         NY    10008‐7059
MARSHEL E WILSON                                 5504 PATTERSON LN                                                                              ANDERSON         IN    46017‐9568
MART C FOWLER                                    114 MANOR DR                                                                                   FLORA            IN    46929
MART C FOWLER & NANCY J FOWLER JT TEN            114 MANOR DR                                                                                   FLORA            IN    46929
MARTA ANN MCCULLY                                25 ARBOR CIR                                                                                   BASKINGRIDGE     NJ    07920‐3162
MARTA ASPEGREN PARKER                            4951 MCKEAN AVE                                                                                PHILADELPHIA     PA    19144‐4160
MARTA B TUCCI                                    10257 PAINTBRUSH DR                                                                            KELLER           TX    76248‐6655
MARTA CARMONA                                    586 IRVING PLACE                                                                               BALDWIN          NY    11510‐2237
MARTA D HESHELMAN                                R 4 BOX 438‐B                                                                                  BLOOMFIELD       IN    47424‐9504
MARTA DIAZ                                       3725 S OCEAN DR                       APT 1427                                                 HOLLYWOOD        FL    33019‐2987
MARTA E RIVERO                                   13672 WINDERMERE                                                                               SOUTHGATE        MI    48195‐2427
MARTA E STEWART                                  4709 MAYFIELD DR                                                                               KOKOMO           IN    46901‐3953
MARTA FABBRUCCI & STEPHEN FABRUCCI JT TEN        6 MERRILL DRIVE                                                                                ATKINSON         NH    03811‐2312
MARTA GRAHAM                                     4468 WEST HILL ROAD                                                                            SWARTZ CREEK     MI    48473‐8846
MARTA GUZMAN                                     3375 BARNARD RD                                                                                SAG              MI    48603‐2505
MARTA HOFFMAN                                    6711 PARK HEIGHTS AVE APT 106                                                                  BALTIMORE        MD    21215‐2435
MARTA L AGUILAR OLIVA                            13010 S W 52 ST                                                                                MIAMI            FL    33175‐5324
MARTA L PETIT                                    20252 JAMES RD                                                                                 NOBLESVILLE      IN    46062‐9048
MARTA P TALMAN                                   7033 S YAMPA CT                                                                                FOXFIELD         CO    80016‐2400
MARTA PROVENGHI                                  9029 COSMOS AVE                                                                                EL PASO          TX    79925‐4026
MARTA SOSANGELIS                                 624 OLYMPIA HILLS CIR                                                                          BERWYN           PA    19312‐1981
MARTA STRAKSYS                                   1558 25TH ST                                                                                   DETROIT          MI    48216‐1468
MARTA SUE NUNLEY                                 7615 W 900 S                                                                                   PENDLETON        IN    46064‐9753
MARTELL M GOLDEN                                 2431 W RATTALEE LAKE RD                                                                        HOLLY            MI    48442‐9104
MARTENE R BOLINGER                               1901 S PARK RD E116                                                                            KOKOMO           IN    46902‐6175
MARTH ANN BEATTIE                                385 SWANSON                           BURLINGTON ON                          L7N 1Y4 CANADA
MARTHA A ALEXANDER                               3798 ABBOTTSFORD RD                                                                            NORTH STREET     MI    48049
MARTHA A BARNES                                  538 E STATE ST                                                                                 SAVANNAH         GA    31401‐3544
MARTHA A BARNETTE                                C/O MARTHA B STROUPE                  6838 STARCREST DRIVE                                     CHARLOTTE        NC    28210‐5342
MARTHA A BEVARD                                  1259 GRATE AVE                                                                                 ATWATER          OH    44201‐9506
MARTHA A BRIDGES                                 1349 SPRING BROOK CT                                                                           WESTERVILLE      OH    43081‐3798
MARTHA A BUTLER                                  6161 WORTHMORE AVE                                                                             LANSING          MI    48917‐9264
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MARTHA A BUTLER CUST KEVIN L BUTLER UGMA MI      6161 WORTHMORE AVE                                                                           LANSING           MI    48917‐9264

MARTHA A BUTLER CUST VELVET M ROBERTS UNDER MI 6161 WORTHMORE AVE                                                                             LANSING           MI    48917‐9264
UNIFTO MINORS ACT
MARTHA A COLLINS                               635 S 7TH ST                                                                                   MITCHELL          IN    47446‐2013
MARTHA A COPPLESTONE                           1285 PENARTH ST                                                                                COMMERCE TWP      MI    48382‐3852
MARTHA A DAVIS                                 6043 THUNDERBIRD DRIVE                                                                         MENTOR ON LAK     OH    44060‐3015
MARTHA A DELEA                                 14 KILLADOON CT                                                                                TIMONIUM          MD    21093‐1936
MARTHA A DILLARD                               1803 BUELL CT                                                                                  ROCHESTER         MI    48306‐1308
MARTHA A FUNK                                  7701 N RILEY RD                                                                                EDGERTOS          WI    53534‐8853
MARTHA A GRAY                                  280 CARTER RD                                                                                  DOWNSVILLE        LA    71234‐2722
MARTHA A GUICHARD                              347 PIMLICO DRIVE                                                                              WALNUT CREEK      CA    94597‐3671
MARTHA A HART TR UA 10/28/93                   15929 S SAWYER AVE                                                                             MARKHAM           IL    60426‐4020
MARTHA A HILL                                  3228 S MERIDIAN                                                                                MARION            IN    46953‐4107
MARTHA A HOWARD                                825 MC KINNIE AVE                                                                              FORT WAYNE        IN    46806‐4715
MARTHA A JEX                                   27342 GROBBEL                                                                                  WARREN            MI    48092‐2644
MARTHA A JOHNSON                               16 ROCKWELL LN                                                                                 WOODSTOWN         NJ    08098
MARTHA A LANTZ                                 2409 GREYTWIG DRIVE                                                                            KOKOMO            IN    46902‐4520
MARTHA A LARKINS                               601 CONCORD CT                                                                                 POTTERVILLE       MI    48876‐9504
MARTHA A LARUE                                 807 OHIO AVE                                                                                   SO ROXANA         IL    62087‐1746
MARTHA A LATTA                                 754 NEAL GAP RD                                                                                SUMMERVILLE       GA    30747‐6120
MARTHA A LENZ                                  1708 WILD ROSE CT                                                                              NAPERVILLE        IL    60565‐5205
MARTHA A LUND                                  5756 CHATEAU GLEN DR                                                                           HOSCHTON          GA    30548
MARTHA A MCFARLAND                             1232 MEADOWBROOK DR                                                                            LAFAYETTE         IN    47905‐4676
MARTHA A MCGANN                                323 S PARKWOOD AVE                                                                             PASADENA          CA    91107‐5037
MARTHA A MIAL & DONICE H MARTIN JT TEN         900 JACOBS RD                                                                                  GREENVILLE        SC    29605‐3325
MARTHA A MIDYETT                               4601 BUCKNER LN                                                                                PADUCAH           KY    42001‐6562
MARTHA A MITCHNER                              10052 MIMOSA SILK DR                                                                           FORT MYERS        FL    33913‐8815
MARTHA A MOK TR MOK LIVING TRUST UA 11/18/96   18018 BREEZEWAY                                                                                FRASER            MI    48026‐2485

MARTHA A OSTROWSKI & LORRAINE M JACUKIEWICZ JT   300 LOBLOLLY WAY                                                                             GRASONVILLE       MD    21638‐1031
TEN
MARTHA A PHIPPS                                  1305 BALD EAGLE LAKE ROAD                                                                    ORTONVILLE        MI    48462‐9096
MARTHA A RINGER                                  913 FISHER ST                                                                                SULPHUR SPGS      TX    75482‐4314
MARTHA A ROBINSON                                182 S COUNTY ROAD 550 E             APT 124                                                  AVON              IN    46123‐7058
MARTHA A SLAUGHTER                               3577 VINEYARD SPRINGS COURT                                                                  ROCHESTER HILLS   MI    48306‐2254
MARTHA A SMITH                                   19943 ROSLYN ROAD                                                                            DETROIT           MI    48221‐1852
MARTHA A STAPP                                   1619 W COLORADO ST                                                                           HIXSON            TN    37343‐1736
MARTHA A STARY                                   26 LATHAM CIRCLE                                                                             PARLIN            NJ    08859‐1715
MARTHA A STOPCHINSKI                             32305 HAZELWOOD                                                                              WESTLAKE          MI    48186‐8937
MARTHA A STYLES & CHARLES W STYLES JT TEN        229 JUDSON ST                                                                                WEBSTER           NY    14580‐3442
MARTHA A VARIEUR                                 716 CAPITOL                                                                                  LINCOLN PK        MI    48146‐3026
MARTHA A VOGEL                                   5896 LOUNSBURY RD                                                                            WILLIAMSTON       MI    48895‐9484
MARTHA A VOUT                                    5066 OLD FRANKLIN                                                                            GRAND BLANC       MI    48439‐8725
MARTHA A WALSH & KATHERINE E WALSH JT TEN        28 ESSEX ST                                                                                  ANDOVER           MA    01810‐3714
MARTHA A WHITAKER                                474 W FAIRMOUNT AVE                                                                          PONTIAC           MI    48340‐1622
MARTHA A ZANLUNGO                                1892 DUNHAM DR                                                                               ROCHESTER         MI    48306‐4807
MARTHA ACUNA                                     14333 CHAMBERLAINST                                                                          MISSION HLS       CA    91345‐1811
MARTHA ADAMS TALBOTT                             ATTN MARTHA TALBOTT BARTA           509 ASHWOOD DR                                           FLUSHING          MI    48433‐1328
MARTHA ALICE CARPENTER                           ATTN ALICE CARPENTER MOAT           1321 WYNEWOOD RD                                         OREFIELD          PA    18069‐9074
MARTHA ALLEN                                     3936 ARABY CT                                                                                HIGHLAND          MI    48356‐1100
MARTHA AMMERMAN COX                              904 LAKESIDE DR                                                                              ELIZABETHTOWN     KY    42701‐2175
MARTHA ANN FAYLOR                                592 FRANK ST                                                                                 BIRMINGHAM        MI    48009
MARTHA ANN HARBOR                                2230 PIKE WOOD COVE                                                                          GERMANTOWN        TN    38138‐4642
MARTHA ANN HARMSSEN                              ATTN MERYBEHN PELLER                101 ENTERPRISE DR APT 79                                 ROHNERT PARK      CA    94928‐2488
MARTHA ANN HIBBS                                 4552 ACREVIEW LANE                                                                           KETTERING         OH    45429‐5214
MARTHA ANN MINERD                                4745 CELTIC CIR                                                                              SALEM             VA    24153
MARTHA ANN REYNOLDS                              304 LINCOLN AVE                                                                              HIGHTSTOWN        NJ    08520‐4120
MARTHA ANN SELLE                                 1520 CEDAR ST                                                                                SOUTH BEND        IN    46617‐2532
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Name                                            Address1                                Address2             Address3          Address4          City              State Zip

MARTHA ANN STEGAR                               6303 SPRINGHOUSE CIRCLE                                                                          STONE MOUNTAIN    GA    30087‐6740

MARTHA ANN THOMAS WHARTON                       441 61ST AVE NE                                                                                  ST PETERSBURG     FL    33703‐1501
MARTHA ANN WILLIAMS                             8075 WOODRUSH DR NW                                                                              NORTH CANTON      OH    44720‐5720
MARTHA ANNABEL SPROULL KNOX                     3019 HERSCHEL ST                                                                                 JACKSONVILLE      FL    32205‐8611
MARTHA ANNE RAGSDALE & RUSSELL C RAGSDALE JT    520 HARBOUR SHORES DR                                                                            JACKSON           GA    30233‐6350
TEN
MARTHA ANNE TUDOR‐SCHWARTZ                      1120 KIRK PL                                                                                     AUGUSTA           GA    30909‐3430
MARTHA ANNE UNGER                               7830 BRYN MAWR DR                                                                                DALLAS            TX    75225
MARTHA AYALA                                    EGERCITO NACIONAL 843                   MEXICO CITY                            11520 MEXICO
MARTHA B BERNARD                                431 EAST 20TH STREET APT 5B                                                                      NEW YORK          NY    10010‐7502
MARTHA B BROWN                                  3700 HOLLAND CT                                                                                  PHENIX CITY       AL    36867‐1672
MARTHA B CARTER                                 7669 SPRUCEWOOD                                                                                  WOODRIDGE         IL    60517
MARTHA B JOHNSON                                1494 CROWE                                                                                       DEERFIELD         IL    60015‐2120
MARTHA B JONES                                  8222 N RIDGE DR E                                                                                OMAHA             NE    68112‐2144
MARTHA B LESSNER & DENNIS W LESSNER JT TEN      13024 HEIL MANOR DRIVE                                                                           REISTERSTOWN      MD    21136‐5722
MARTHA B MC NIECE                               1034 N 3RD                                                                                       PONCA CITY        OK    74601‐2649
MARTHA B MORRIS                                 4779 MC GREEVY DR                                                                                FAIRFIELD         OH    45014‐1825
MARTHA B NEWBERRY & BILLY J NEWBERRY JT TEN     709 ETHRIDGE ROAD                                                                                HADDOCK           GA    31033‐2201

MARTHA B PARKS                                  898 COUNTY ROAD #110                                                                             HEADLAND          AL    36345‐9723
MARTHA B PERDUE                                 335 HAMPTON DR                                                                                   UNION HALL        VA    24176‐3912
MARTHA B PETTY                                  316 BURLAGE CIRCLE                                                                               CHAPEL HILL       NC    27514‐2701
MARTHA B REILLY                                 PO BOX 974                                                                                       NAUGATUCK         CT    06770‐0974
MARTHA B RODES                                  307 N 3RD ST                                                                                     DANVILLE          KY    40422‐1401
MARTHA B SWITZER                                5800 SPRINGRIDGE RD                                                                              RAYMOND           MS    39154‐9497
MARTHA B TRYBA                                  40348 LANGTON DR                                                                                 STERLING HTS      MI    48310‐6939
MARTHA B WILKINSON & SARAH ANNE HARPER JT TEN   4322 JULINGTON CREEK                                                                             JACKSONVILLE      FL    32258‐2196

MARTHA BARNES                                   362 CORSON LN                                                                                    CAPE MAY          NJ    08204‐4806
MARTHA BARTOSZ                                  5415 BROOKWOOD DR                                                                                BURTON            MI    48509‐1331
MARTHA BELANGEE BROWN                           2333 E 560 N                                                                                     ANDERSON          IN    46012‐9525
MARTHA BELLE RICHARDSON                         930 GREYSTONE CT                                                                                 ANDERSON          IN    46011‐9786
MARTHA BIGGINS                                  412 W WASHINGTON ST                                                                              OTTAWA            IL    61350‐4950
MARTHA BILLIDERE                                47857 TILCH RD                                                                                   MACOMB            MI    48044‐2472
MARTHA BILLY                                    2128 SECOND AVE                                                                                  WHITEHALL         PA    18052‐3912
MARTHA BOCK RINNE                               2612 MUIRFIELD PL                                                                                URBANA            IL    61802
MARTHA BORTON JOHNSTONE                         22809 E COUNTRY VISTA DR                APT 156                                                  LIBERTY LAKE      WA    99019‐7548
MARTHA BOWERS                                   120 SAINT JAMES PL                      APT 1                                                    BROOKLYN          NY    11238‐1869
MARTHA BOWSER‐KIENER                            2402 N BARRACKS DR                                                                               URBANA            IL    61801
MARTHA BRANDON REEDER & LEONARD MARTIN          8935 S E RETREAT DRIVE                                                                           HOBE SOUND        FL    33455
REEDER SR JT TEN
MARTHA BRYAN                                    459 DON EDGARDO CT                                                                               SAN JOSE          CA    95123‐3115
MARTHA BULL                                     304 ROBINEAU RD                                                                                  SYRACUSE          NY    13207‐1648
MARTHA BURKE                                    7019 WEST STATE RD 132                                                                           PENDLETON         IN    46064‐9779
MARTHA BUSS                                     3132 HANOVER                                                                                     DALLAS            TX    75225‐7725
MARTHA BYRNE                                    173 E RIDGE VILLAGE DR                                                                           MIAMI             FL    33157‐8053
MARTHA C BARRETT                                S 5920 LEHMAN ROAD                                                                               BARABOO           WI    53913‐9270
MARTHA C BREWER                                 RT 7 BOX 4535                                                                                    TEXARKANA         AR    71854‐9562
MARTHA C BULLUCK                                3512 WOODLAWN RD                                                                                 ROCKY MOUNT       NC    27804‐3825
MARTHA C CRAWFORD                               LOT 5163                                2001 83RD AVE N                                          SAINT PETERBURG   FL    33702‐3921

MARTHA C DALY                                   2 FOREST ST                                                                                      FREEPORT          ME    04032‐1105
MARTHA C DARRAH                                 4134 CAMBRIDGE TRAIL                                                                             DAYTON            OH    45430
MARTHA C DAVIS                                  27 BELK RD                              # 108                                                    NEWNAN            GA    30263‐1700
MARTHA C DIMOND                                 312 W SECOND                                                                                     DAVISON           MI    48423‐1317
MARTHA C DINSMORE                               3050 TANGLEY OAKS TRL                                                                            LISLE             IL    60532‐3839
MARTHA C DINSMORE & JOHN R DINSMORE JT TEN      3050 TANGLEY OAKS TRAIL                                                                          LISLE             IL    60532
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MARTHA C DODL                                      8431 LARKSPUR RD                                                                                  BON AIR         VA    23235
MARTHA C DOLD                                      9 EDGEWOOD AVE                                                                                    MERRIMACK       NH    03054‐3515
MARTHA C FITZPATRICK CUST CAITLIN ROSE FITZPATRICK 3202 VICTORIA DR                                                                                  MT KISCO        NY    10549‐2546
UGMA NY
MARTHA C GONZALEZ                                  13738 GOLETA ST                                                                                   ARLETA          CA    91331‐5438
MARTHA C GURNETT CUST KIT J HENTZEN UTMA CA        2645 ARDSHEAL DR                                                                                  LA HABRA HGTS   CA    90631

MARTHA C HAINES                                   683 MEDFORD LEAS                                                                                   MEDFORD         NJ    08055‐2260
MARTHA C KOLEK                                    5360 LOWER MT RD                                                                                   LOCKPORT        NY    14094
MARTHA C KRESSE                                   5490 COACHMANS LANE                                                                                HAMBURG         NY    14075‐5847
MARTHA C MANDIGO                                  8 ANNETTE ST                                                                                       HEUVELTON       NY    13654
MARTHA C MCHUGH                                   1343 W BALTIMORE PIKE                  APT B‐211                                                   MEDIA           PA    19063‐5519
MARTHA C MERRILL & JOHN MERRILL JR JT TEN         55 SHORE RD                                                                                        WATERFORD       CT    06385‐3712
MARTHA C MILAS                                    1018 KING AVE                                                                                      LORAIN          OH    44052‐1153
MARTHA C MUNDY                                    540 PLEASANT HILL RD                                                                               DECATUR         AL    35603‐3520
MARTHA C PERKINS                                  314 HOUSATONIC AVE                                                                                 STRATFORD       CT    06615‐6092
MARTHA C PORTER                                   6915 E STATE RD 136                                                                                BROWNSBURG      IN    46112‐8711
MARTHA C PTASZYNSKI TR UA 12/05/2006 ROBERT T     161 STOUT AVE                                                                                      MIDDLESEX       NJ    08846
MCQUIRE TRUST
MARTHA C WALCZAK                                  244 ROSEWOOD AVE                                                                                   NEW HAVEN        CT   06513‐3340
MARTHA C YOUNG                                    CO SMITH                               5006 JOANN CR                                               GLENDALE         AZ   85308‐3307
MARTHA CARNES                                     1601 RIDGEWAY                                                                                      ROUND LAKE BEACH IL   60073‐2163

MARTHA CAROL THURSTON                             26 RHODES DR                                                                                       WRENTHAM        MA    02093‐2504
MARTHA CAROLYN BUTTACCIO                          1916 SADDLEHORN DRIVE                                                                              CANANDAIGUA     NY    14424‐8152
MARTHA CAROLYN STACY JEFFERSON                    1211 EVERGREEN DR                                                                                  THOMASVILLE     GA    31792‐7350
MARTHA CAROLYN WELLS & MARILYN E LERCHE JT TEN    137 LISA KAY BLVD                                                                                  WHITE LAKE      MI    48386‐1954

MARTHA CARROLL HERRING                          3870 ANGUS LANE                                                                                      DAYTON          OH    45439‐1202
MARTHA CHARLOTTE ASBURY                         3850 GALLERIA WOODS DR                   APT 272                                                     BIRMINGHAM      AL    35244‐3064
MARTHA CISSELL                                  5906 COZY DRIVE                                                                                      PITTSBORO       IN    46167‐9558
MARTHA CLEMMONS                                 20097 HEYDER                                                                                         DETROIT         MI    48227‐1869
MARTHA CONRAD MCCORD MOORE                      12550 TOXIE SPENCE RD                                                                                CARRIERE        MS    39426‐9137
MARTHA CORNFELD                                 C/O HUSCH & EPPENBERGER LLC              190 CARONDELET PLAZA STE 600                                SAINT LOUIS     MO    63105‐3433
MARTHA COTTEN JOHNSON                           5 COCHRAN COURT                                                                                      CHARLESTON      SC    29407‐7505
MARTHA D ALLEN                                  3513 SADDLEBROOK DR                                                                                  LOGANVILLE      GA    30052‐9104
MARTHA D ARTRIP                                 2215 SOUTH GRANT ST                                                                                  MUNCIE          IN    47302‐4358
MARTHA D DIEBOLD                                2651 S JUNIPER ST #705                                                                               FOLEY           AL    36535‐9254
MARTHA D FEDDERN                                40 W 936 BRIDLE CREEK DR                                                                             ST CHARLES      IL    60175‐7650
MARTHA D MARTIN                                 299 HICKORY LANE                                                                                     PAINESVILLE     OH    44077‐2736
MARTHA D POLK                                   PO BOX 274                                                                                           STRAWN          TX    76475‐0274
MARTHA D RHEA                                   3313 CLIFFORD DR                                                                                     METAIRIE        LA    70002
MARTHA D RICHARDSON                             3301 U S ALT 19 #422                                                                                 DUNEDIN         FL    34698‐1542
MARTHA D SHEARARD TR UA 10/01/92 THE MARTHA D 1243 BUSH AVENUE                                                                                       VALLEJO         CA    94591‐8003
SHEARARD TRUST
MARTHA D STANLEY                                2937 SPRINGHILL DRIVE                                                                                MEMPHIS         TN    38127‐7422
MARTHA D WILSON                                 2007 GLADSTONE DRIVE                                                                                 FORT WAYNE      IN    46816‐3735
MARTHA DARST                                    7510 W NORTHWEST HWY APT 8                                                                           DALLAS          TX    75225‐2431
MARTHA DEERING                                  14968 CONCHOS DRIVE                                                                                  POWAY           CA    92064‐2634
MARTHA DELVIN                                   PO BOX 592                                                                                           LITCHFIELD      AZ    85340‐0592
MARTHA DEMMLER                                  1801 WYNKOOP ST                          APT 312                                                     DENVER          CO    80202‐1193
MARTHA DENNY JETER                              2506 HIGHLAND DR                                                                                     WILMINGTON      NC    28403‐4835
MARTHA DROLSHAGEN BANKS                         15045 JACKSON RD                                                                                     DEL RAY BEACH   FL    33484‐8144
MARTHA DUNCAN                                   5740 GRANDVIEW DR                                                                                    INDPLS          IN    46228‐1813
MARTHA E ALDAIZ                                 418 UNIVERSITY AVE                                                                                   SAN ANTONIO     TX    78201‐5548
MARTHA E ALLEN                                  5437 MEZZANINE WAY                                                                                   LONG BEACH      CA    90808‐3539
MARTHA E BARTON                                 PO BOX 954                                                                                           FAIRHOPE        AL    36533‐0954
MARTHA E BASH TOD BARBARA J HUPP SUBJECT TO STA PO BOX 2660                                                                                          ONALASKA        TX    77360
TOD RULES
                                            09-50026-mg                   Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MARTHA E BASH TOD WILLIAM BASH SUBJECT TO STA     2471 PRIDES CROSSING                                                                            HOUSTON            TX    77067
TOD RULES
MARTHA E BLAGG                                    8752 NEW LOTHROP RD                                                                             DURAND             MI    48429
MARTHA E BROWN                                    3621 BUCHANAN TRAIL WEST                                                                        GREENCASTLE        PA    17225‐9311
MARTHA E CAIOZZO                                  11166 YOUNGSTREE COURT                                                                          DAVISBURG          MI    48350
MARTHA E CEDERBERG                                6005 N PARKWAY                                                                                  TACOMA             WA    98407‐2222
MARTHA E CHENAULT                                 ATTN MARTHA C MARKS                    1813 SUMMERLANE SE                                       DECATUR            AL    35601‐4551
MARTHA E DUNN                                     497 PARKVIEW DR                                                                                 PITTSBURGH         PA    15243‐1962
MARTHA E FIELD & WILLIAM R FIELD JT TEN           5701 OAK GROVE RD                                                                               HOWELL             MI    48855‐9204
MARTHA E FROMM                                    TELE SEC OF EAU CLAIRE                 409 MAIN ST                                              EAU CLAIRE         WI    54701‐3735
MARTHA E FULLER                                   20 MEADOWBROOK CT                                                                               WELLSVILLE         NY    14895‐1117
MARTHA E HANNEMAN & LAURA E SHIRILLA JT TEN       7449 CHANNEL RD                                                                                 PETOSKEY           MI    49770‐9692

MARTHA E HARTMAN                                  6780 N DAYTON LAKEVIEW RD                                                                       NEW CARLISLE       OH    45344‐9537
MARTHA E HAVENS                                   C/O RUTH D BACHIKE                     129 RIVER VIEW DR                                        YARDLAY            PA    19067‐1415
MARTHA E HENRY                                    5217 GRANADA                                                                                    SHAWNEE MISSI      KS    66205‐2356
MARTHA E HILLMAN                                  5088 INDIAN HILLS TRAIL                                                                         FLINT              MI    48506‐1146
MARTHA E HOCKER                                   348 LEONARD LANE                                                                                POTTSVILLE         AR    72858‐8858
MARTHA E ISRAEL                                   61 SYDNEY ROAD                                                                                  HOLLAND            PA    18966
MARTHA E JUDKINS                                  949 E LUETT ST                                                                                  INDIANAPOLIS       IN    46222‐3336
MARTHA E KING                                     1501 NW 37TH TERR                                                                               GAINESVILLE        FL    32605‐4841
MARTHA E LAPORTE                                  4621 CEDAR MILL RD                                                                              CHOCTAW            OK    73020‐3108
MARTHA E MAC DERMOTT & CLAIRE M RYAN JT TEN       12 WINDSOR CIRCLE                                                                               WOBURN             MA    01801‐5386

MARTHA E MC CONNELLY TR U‐T‐D 11/18/87 MARTHA E 3500 LILAC AVE                                                                                    CORONA DEL MAR     CA    92625‐1660
MC CONNELLY
MARTHA E OTTO                                   1215 MORRIS DR                                                                                    NILES            MI      49120‐8734
MARTHA E SANFORD                                C/O FOX                                  4737 DOLPHIN CAY LANE S   APT 504B                       SAINT PETERSBURG FL      33711‐4672

MARTHA E SCHWARTZ                                 80 MONROE AVE                          STE 650                                                  MEMPHIS            TN    38103‐2466
MARTHA E SPANG                                    2525 HILLTOP RD                                                                                 SCHENECTADY        NY    12309‐2406
MARTHA E STARICK                                  6202 SO WILLOWBROOK DR                                                                          MORRISON           CO    80465‐2274
MARTHA E STAYER                                   35 PARKGATE AVE                                                                                 YOUNGSTOWN         OH    44515‐3237
MARTHA E WAITMAN                                  BOX 50845                                                                                       LOS ANGELES        CA    90050‐0845
MARTHA E WEGESCHEIDE                              9856 COUNTRYSIDE CT                                                                             AVON               IN    46234‐8930
MARTHA E WHATLEY                                  PO BOX 1357                                                                                     ORLEANS            MA    02653‐1357
MARTHA E WHITE                                    515 WASHINGTON                                                                                  VENICE             IL    62090‐1121
MARTHA E WINFREY                                  4268 GRAND OAKS DR                                                                              KENNESAW           GA    30144‐5017
MARTHA EHRENREICH                                 5015 17TH AVE                                                                                   BROOKLYN           NY    11204‐1411
MARTHA ELAINE BARONE                              28 SETTLERS ROW                                                                                 GRAND ISLAND       NY    14072‐1343
MARTHA ELAINE FOX                                 4737 DOLPHIN CAY LN3 APT 504B                                                                   SAINT PETERSBURG   FL    33711‐4672

MARTHA ELGERT                                     17614 VALADE ST                                                                                 RIVERVIEW          MI    48193‐4721
MARTHA ELIZABETH HAY TR HAY FAMILY LIVING TRUST   1104 INTERLOCHEN BLVD                                                                           WINTER HAVEN       FL    33884‐3700
UA 4/23/91
MARTHA ELIZABETH JOHNSTON                         406 WESTVIEW AVE                                                                                PHILADELPHIA       PA    19119
MARTHA ELIZABETH THOMPSON                         BOX 781                                                                                         DAVENPORT          FL    33836‐0781
MARTHA ELLEN B BUCKEY & MARY MARSHALL BUCKEY      1206 ARBOR RDG                                                                                  CHAMBERSBURG       PA    17201‐4050
JT TEN
MARTHA ELLEN BLUE                                 1405 WHITE OAK CHURCH RD                                                                        APEX               NC    27502‐6064
MARTHA ELLIOTT                                    4998 JOHN DARLING RD                                                                            CONEWANGO          NY    14726‐9757
                                                                                                                                                  VALLEY
MARTHA EMILY HIMMELHOCH                           15180 DRAKE                                                                                     SOUTHGATE          MI    48195‐3247
MARTHA ENGEL                                      9 CEDAR ROW                                                                                     LAKEWOOD           NJ    08701‐1511
MARTHA ESTELLE ROBINSON                           20 MALLARD RD                                                                                   ACTON              MA    01720‐2823
MARTHA EWING                                      5044 NEW CASTLE ROAD                                                                            MEMPHIS            TN    38117‐5830
MARTHA EWING HAWK                                 708 W RIVERSIDE DRIVE                                                                           CARLSBAD           NM    88220‐5222
MARTHA F GOYETTE                                  7136 E PIERSON RD                                                                               DAVISON            MI    48423
MARTHA F HOGGE                                    2942 DWIGHT AVENUE                                                                              DAYTON             OH    45420‐2610
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MARTHA F JENNINGS & BRADFORD S CLARK JT TEN     1104 HORN                                                                                     MUSKOGEE          OK    74403‐3221

MARTHA F KEIR                                    2440 THREE WILLOWS COURT                                                                     RICHMOND          VA    23294‐4020
MARTHA F MONEYMAKER                              201 ALTA DRIVE                                                                               STUARTS DRAFT     VA    24477‐3209
MARTHA F NEAL                                    PO BOX 317                          60 SHANTRY ROAD                                          COLEBROOK         CT    06021
MARTHA F PASTI MCLAUGHLIN                        2804 VILLAGE COURT                                                                           VERMILION         OH    44089‐9170
MARTHA F PEARSON                                 13722 BECKENHAM DR                                                                           LITTLE ROCK       AR    72212‐3721
MARTHA F PERRY                                   433 86TH N E                                                                                 BELLEVUE          WA    98004‐5341
MARTHA F RODGERS                                 PO BOX 653                                                                                   SUTTONS BAY       MI    49682‐0653
MARTHA F VALLERY TR UA 04/28/92 MARTHA F VALLERY APT 801                             500 S OCEAN WAY                                          DEERFIELD BEACH   FL    33441‐5104
TRUST
MARTHA F VERNON                                  527 DAVIE AVE                                                                                STATESVILLE       NC    28677‐5322
MARTHA F WHITE                                   ATTN MARTHA F NEAL                  PO BOX 317                                               COLEBROOK         CT    06021‐0317
MARTHA FAIGEN CUST DANIEL YURKO UTMA MA          42 OVERBROOK DRIVE                                                                           WELLESLEY         MA    02482‐2247
MARTHA FORT WASHINGTON                           4433 CUSOETA ROAD                                                                            LANETT            AL    36863‐5757
MARTHA FOX WOERNER                               131 N GAY AVE                                                                                ST LOUIS          MO    63105‐3663
MARTHA FRANK MC DANIEL                           8170 HOLLISTER ST                                                                            VENTURA           CA    93004‐1641
MARTHA FRANKEL & JACK FRANKEL JT TEN             200 N SWALL DR #505                                                                          BEVERLY HILLS     CA    90211‐4725
MARTHA G BUSSE                                   209 S WOODS MILL RD                 APT 2208                                                 CHESTERFIELD      MO    63017‐3495
MARTHA G BUSSE & ROBERT A BUSSE TR MARTHA G      209 S WOODS MILL RD                 APT 2208                                                 CHESTERFIELD      MO    63017‐3495
BUSSE TRUST UA 05/11/94
MARTHA G CARLSON                                 12102 ANCHOR WAY                                                                             LARGO             FL    33778‐2522
MARTHA G CARTWRIGHT                              302 E 2ND AVE                                                                                LITITZ            PA    17543‐2026
MARTHA G HOWLE                                   1687 OLDHAM RD                                                                               BARLOW            KY    42024‐9659
MARTHA G SERNA                                   22541 SOUTH GARDEN AVE                                                                       HAYWARD           CA    94541‐6010
MARTHA G SHOLES                                  51 BETSY WILLIAMS DRIVE                                                                      CRANSTON          RI    02905‐2701
MARTHA G SHOLES CUST ETHAN SHOLES UGMA ME        51 BETSY WILLIAMS DRIVE                                                                      CRANSTON          RI    02905‐2701

MARTHA G SHOLES CUST NANCY SHOLES UGMA ME       51 BETSY WILLIAMS DRIVE                                                                       CRANSTON          RI    02905‐2701

MARTHA G SHYNE                                  3602 MODENA ST                                                                                DAYTON            OH    45408‐2120
MARTHA G WATSON                                 1138 FAIRWAYS BLVD                                                                            TROY              MI    48098‐6112
MARTHA G WITTE                                  75 COMPO ROAD SOUTH                                                                           WESTPORT          CT    06880‐4323
MARTHA GAMBER                                   3692 S SPRUCE ST                                                                              DENVER            CO    80237‐1358
MARTHA GERALDINE NOTTINGHAM                     2622 WINDEMERE                                                                                FLINT             MI    48503‐2297
MARTHA GERVASI                                  113 TOMAHAWK ST                                                                               YORKTOWN HTS      NY    10598‐6312
MARTHA GODEL BUSTAMANTE                         6200 OBISPO NO                                                                                LONG BEACH        CA    90805‐3729
MARTHA GODEL PITTS                              6200 OBISPO AVE                                                                               NORTH LONG        CA    90805‐3729
                                                                                                                                              BEACH
MARTHA GRACE MABEN                              1905 EAST 9TH ST                                                                              OKMULGEE          OK    74447‐5406
MARTHA GROS TR UW WILLIAM H SAVAGE              PO BOX 221                                                                                    EMERSON           NJ    07630‐1223
MARTHA H BEARD                                  PO BOX 5070                          WELLINGTON                             NEW ZEALAND
MARTHA H BUSH CUST LAUREN MACKAY TRACEY UGMA 361 CHEESE FACTORY RD                                                                            HONEOYE FALLS     NY    14472‐9733
NY
MARTHA H CAILOR TR RICHARD L HURLEY UA 10/30/92 940 WESTHAVEN DR                                                                              HUDSON            OH    44236‐2715

MARTHA H CARTER                                 198 FLETCHER DR                                                                               MORRISVILLE       PA    19067‐5965
MARTHA H CONARD                                 100 WHITE HAMPTON LANE APT 210                                                                PITTSBURGH        PA    15236‐1564
MARTHA H DEWATERS                               305 TRELAWNY DRIVE                                                                            DOTHAN            AL    36301‐7425
MARTHA H HANNA                                  1613 N HARRISON ST                                                                            ALEXANDRIA        IN    46001‐1015
MARTHA H MAGNER                                 323 PAINTER HILL RD                                                                           OXFORD            NY    13830‐3218
MARTHA H MILLER                                 8732 TELEGRAPH RD                                                                             GASPORT           NY    14067‐9234
MARTHA H MONICA                                 479 SHAGBARK                                                                                  ROCHESTER HILLS   MI    48309‐1822
MARTHA H STEWART                                3895 SHIPLEY RD                                                                               COOKEVILLE        TN    38501‐0709
MARTHA H STRAWN                                 3783 INGOLD                                                                                   HOUSTON           TX    77005‐3623
MARTHA H TROCHA                                 70‐16 66TH ST                                                                                 GLENDALE          NY    11385‐6516
MARTHA H WHITMAN & J B WHITMAN JT TEN           1906 LAKE RD                                                                                  GREENBRIER        TN    37073‐4663
MARTHA H ZIMMERMAN                              6425 STRICKLER ROAD                                                                           CLARENCE          NY    14031
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MARTHA HAGERTY RUSHMORE & BERNADETTE K         2601 FREDERICK                                                                                KALAMAZOO         MI    49008‐2151
HAGERTY JT TEN
MARTHA HALBERT & ANDREW B HALBERT JT TEN       C/O ANN AHRENS                       32 LAKE GARDENS DR                                       LAKE PLACID       FL    33852‐9102
MARTHA HELEN RICHARDS                          300 ENTERPRISE DR #320                                                                        ROHNERT PARK      CA    94928‐7819
MARTHA HOLLOWELL HIRSCH                        5007 NORTH CIRCULO BUJIA                                                                      TUCSON            AZ    85718‐6173
MARTHA HUSS                                    8629 ALTHAUS ROAD                                                                             CINCINNATI        OH    45247‐2567
MARTHA I BARNES TR UA 05/22/08 MARTHA I BARNES 120 TIDE ST                                                                                   CRESCENT CITY     CA    95531
2008 TRUST
MARTHA I FUSSELMAN                             2 FOREST STREET                                                                               FREEPORT          ME    04032‐1105
MARTHA I HEALY                                 BOX 43                                                                                        GLYNDON           MD    21071‐0043
MARTHA I ROBINSON                              35 E ADAMS ST                                                                                 JACKSONVILLE      FL    32202‐3301
MARTHA I ROBINSON CUST GREGORY D ROBINSON      35 E ADAMS ST                                                                                 JACKSONVILLE      FL    32202‐3301
UTMA FL
MARTHA I ROBINSON CUST JEFFREY N ROBINSON UTMA 35 E ADAMS ST                                                                                 JACKSONVILLE      FL    32202‐3301
FL
MARTHA J ANGELLO                               4098 SHOLLENBARGER                                                                            OXFORD            OH    45056
MARTHA J AULT                                  16370 WHITE HAVEN                                                                             NORTHVILLE        MI    48167‐2327
MARTHA J BOULTON                               11530 HARDING AVE                                                                             HARRISON          MI    48625‐8677
MARTHA J BREWER                                21820 ADDINGTON BLVD                                                                          ROCKY RIVER       OH    44116‐3930
MARTHA J BROCK                                 BOX 96                                                                                        CONCORD           AR    72523‐0096
MARTHA J CAESAR                                1110 ASHBRIDGE RD                                                                             ROSEMONT          PA    19010‐2807
MARTHA J CAIN                                  8021 CHRISTIAN CT                    APT 218                                                  LOUISVILLE        KY    40222‐9029
MARTHA J CARLSON                               231 MONTE VISTA DR                                                                            NAPA              CA    94559
MARTHA J CORCORAN                              907 SOUTHERN PINE LANE                                                                        SARASOTA          FL    34243‐1733
MARTHA J DEARSTYNE                             1540 MARINE DR                                                                                BELLINGHAM        WA    98225‐8434
MARTHA J DEEDS                                 3548 JACQUELINE DR                                                                            JACKSONVILLE      FL    32277‐2518
MARTHA J DIETRICH                              5721 GRAHAM RD                                                                                UTICA             NY    13502‐7839
MARTHA J DIRLAM                                ATTN MARTHA J WIBBENMEYER            8880 COVINGTON BLVD                                      FISHERS           IN    46038‐9453
MARTHA J DONEGAN TR MARTHA J DONEGAN           29912 WILLOW POINTE DR                                                                        ROSEVILLE         MI    48066‐1930
REVOCABLE TRUSTUA 04/19/00
MARTHA J EWBANK                                2533 MARVIN DR                                                                                SANFORD           MI    48657
MARTHA J FAIRES                                10916 LAUREL AVENUE                                                                           WHITTIER          CA    90605‐3245
MARTHA J FRENSLEY                              29287 BROAD ST                                                                                BRUCETON          TN    38317‐2219
MARTHA J GALLMAN                               211 FLORANCE BLVD                                                                             OXFORD            AL    36203‐2012
MARTHA J GATES                                 1869 WESTMINSTER WAY NE                                                                       ATLANTA           GA    30307‐1134
MARTHA J GERSTLE TR MARTHA J GERSTLE TRUST UA  640 ALICE LANE                                                                                RICHMOND          IN    47374‐6727
09/21/92
MARTHA J GODENSWAGER & ROBERT C GODENSWAGER 8316 PIN OAK DRIVE                                                                               PARMA             OH    44120
JT TEN
MARTHA J GROOME                                PO BOX 52                                                                                     KENNEBUNKPORT     ME    04046‐0052
MARTHA J HAWLEY                                PO BOX 621                                                                                    PERU              IN    46970‐0621
MARTHA J HENDERSON                             ATTN MARTHA J REED                   1778 DEERFIELD SW                                        WARREN            OH    44485‐3939
MARTHA J HODGES                                11737 HASTINGS AVE                                                                            YUKON             OK    73099‐8070
MARTHA J HORNING                               2410 BELLEMEADE AVE                                                                           EVANSVILLE        IN    47714‐2410
MARTHA J KREKELER & TIMOTHY L KREKELER JT TEN  3252 BLUEACRES DR                    APT 3                                                    CINCINNATI        OH    45239‐6155

MARTHA J LEVY                                 445 LOS VERDES DRIVE                                                                           SANTA BARBARA     CA    93111‐1540
MARTHA J LOGAN                                586 KENWOOD RD                                                                                 FAYETTEVILLE      GA    30214‐3301
MARTHA J MARSANGO TR UA 10/14/1988 THE        1002 SAN ROQUE ROAD                                                                            SANTA BARBARA     CA    93105
MARSANGO FAMILY TRUST (TRUST A)
MARTHA J MARSH & THOMAS V MARSH TEN ENT       330 TERRY AVE                                                                                  ROCHESTER         MI    48307‐1572
MARTHA J MCCOY                                110 SHENANDOAH DR                                                                              FLORENCE          MS    39073‐9712
MARTHA J MCGINNIS                             9 TREMAIN DR                                                                                   FAYATTEVILLE      NY    13066‐2316
MARTHA J MITCHELL                             6043 BARTHOLOMEU DRIVE                                                                         HONEOYE           NY    14471‐9532
MARTHA J NEVILLE                              1637 LA BONITA CT                                                                              LAKE SAN MARCOS   CA    92078‐4601

MARTHA J OPSAHL TR UA 05/30/95                2801 CHANCELLORSVILLE DR              APT 1111                                                 TALLAHASSEE       FL    32312
MARTHA J POPPE                                2040 WOODSIDE DR                                                                               DEARBORN          MI    48124‐3950
MARTHA J PURVIS                               309 S INDEPENDENCE ST                                                                          TIPTON            IN    46072‐2021
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MARTHA J RALSTON                                2452 RAINBOW COURT                                                                            CINCINNATI       OH    45230‐1423
MARTHA J RODIN                                  3 MOUNTAINWOOD LANE                                                                           SANDY            UT    84092‐5501
MARTHA J SANDERS                                82 E 400 S                                                                                    KOKOMO           IN    46902‐5569
MARTHA J SMALL & JERRY D COLLISON JT TEN        701 SUNSHINE LN                                                                               SEBRING          FL    33875‐5451
MARTHA J SMALL & JERRY D COLLISON JT TEN        701 SUNSHINE LANE                                                                             SEBRING          FL    33875‐5451
MARTHA J STEPHENSON EST ROBERT B STEPHENSON     5124 PREAKNESS COURT                                                                          MUNCIE           IN    47304

MARTHA J STITES & ALFRED W STITES II JT TEN      8507 MONITOR DR NE                                                                           ALBUQUERQUE      NM    87109‐5084
MARTHA J TUGGLE                                  51 FIELDCREST DR                                                                             JACKSON          TN    38305‐3052
MARTHA J UCHNIAT                                 541 S HIGHLAND                                                                               DEARBORN         MI    48124‐1639
MARTHA J WALDROP                                 12624 EATON HWY                                                                              GRAND LEDGE      MI    48837‐9601
MARTHA J WALLACE                                 937 MANDEVILLE ST                                                                            MANTECA          CA    95337‐7950
MARTHA J WHEATLEY                                7895 CHAMBERLIN RD                                                                           DEXTER           MI    48130‐9687
MARTHA J WRIGHT                                  1920 LAWRENCE AVE                                                                            LOCKPORT         IL    60441‐4482
MARTHA J WUTHRICK TR WUTHRICK TRUST UA           19450 HARRISBURG‐WESTVILLE RD                                                                BELOIT           OH    44609‐9507
12/30/98
MARTHA J YANCEY TR MARTHA J YANCEY REVOCABLE     1405 S WILLOW                                                                                OTTAWA           KS    66067‐3443
TRUST UA 04/18/95
MARTHA J ZOGOPOULOS                              156 MISSION AVE                                                                              MANCHESTER       NH    03104‐5631
MARTHA JANE BIGHAM                               521 MOUNT VERNON DR                                                                          CALHOUN          GA    30701‐5718
MARTHA JANE BLOYD HAIGWOOD                       R D #4 BOX 159                                                                               WHEELING         WV    26003‐9328
MARTHA JANE BRALLA                               BOX 249 RD 3                                                                                 SUSQUEHANNA      PA    18847‐0249
MARTHA JANE FRYE INGRAM & AMY JANE I MASON JT 4656 IRISBURG RD                                                                                AXTON            VA    24054‐3461
TEN
MARTHA JANE HUNTER                               975W‐150S                                                                                    RUSSIAVILLE      IN    46979
MARTHA JANE IZOR                                 830 MAPLE AVE                                                                                MIAMISBURG       OH    45342‐2424
MARTHA JANE MC DONALD                            BOX 67                                                                                       BIGGS            CA    95917‐0067
MARTHA JANE MYERS                                36 GARDNER AVE                                                                               NEW LONDON       CT    06320‐4313
MARTHA JANE MYERS CUST CURT COLEMAN MYERS        36 GARDNER AVE                                                                               NEW LONDON       CT    06320‐4313
UGMA CT
MARTHA JANE NELSON                               3374 W CO RD 250 S                                                                           KOKOMO           IN    46902
MARTHA JANE OSBORN                               7390 CROSS CREEK DR                                                                          SWARTZ CREEK     MI    48473‐1499
MARTHA JANE ROHRER TR BRIAN K ROHRER 6TH PAR U‐ 507 CURTIS CORNER ROAD                                                                        PEACE DALE       RI    02883
W DORCAS T CONGDON
MARTHA JANE THOMAS FAIRMAN                       8919 PARK RD                        APT 4001                                                 CHARLOTTE        NC    28210‐7612
MARTHA JANE WHITAKER                             2916 NW BUCKLIN HILL RD #166                                                                 SILVERDALE       WA    98383‐8514
MARTHA JEAN CARLSON                              1904 N PONTIAC                                                                               JANESVILLE       WI    53545‐0680
MARTHA JEAN REED HANSEN                          307 BARLOW ST                                                                                GETTYSBURG       PA    17325‐1511
MARTHA JEANNE RIEHL                              3008 SEMINOLE DR                                                                             JEFFERSONVLLE    IN    47130‐5805
MARTHA JEANNE SHORTZ CUST MARK EDWARD SHORTZ 714 HANOVER CLOSE                                                                                ZIONSVILLE       IN    46077‐1065
UGMA IN
MARTHA JIMENEZ                                   12800 SW 73RD AVE                                                                            OCALA            FL    34473‐7877
MARTHA JO PRICE                                  3421 CHEVY CHASE                                                                             NACOGDOCHES      TX    75961
MARTHA JOAN RUPPEL                               744 R 75TH TERR                                                                              KANSAS CITY      KS    66112
MARTHA JOANNE HODGE                              4507 NASSAU                                                                                  WICHITA FALLS    TX    76308
MARTHA JOYCE BAKER                               3609 JERREE                                                                                  LANSING          MI    48911‐2635
MARTHA K BURGER                                  816 KNOX AVE N W                                                                             WARREN           OH    44483‐2133
MARTHA K GLAZE                                   3140 JODECO DR                                                                               JONESBORO        GA    30236‐5322
MARTHA K JENSON                                  160 FOXSHIRE DR                                                                              LANCASTER        PA    17601
MARTHA K KITTS                                   100 COMMUNITY DR                    APT 114                                                  AVON LAKE        OH    44012‐3302
MARTHA K MC LEAN & MARILYN B MC GILCHRIST JT TEN 9410 N E 3RD ST                                                                              VANCOUVER        WA    98664‐3475

MARTHA K RICE                                   PO BOX 487                                                                                    KENNEBUNK        ME    04043‐0487
MARTHA K SORRELS                                1006 GRAHAM PL                                                                                LIMA             OH    45805‐1630
MARTHA K STAHL TR MARTHA K STAHL REVOCABLE      5984 MARBLE DR                                                                                TROY             MI    48085‐3921
LIVING TRUST UA 11/18/97
MARTHA K YANOFSKY                               23 EVERGREEN DR                                                                               NORTH CALDWELL   NJ    07006‐4303

MARTHA KATZ                                     3131 CALLE DE MAREJADA                                                                        CAMARILLO        CA    93010‐8339
                                              09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                               Address2                 Address3      Address4          City            State Zip

MARTHA KEATON                                     7825 CAMINO REAL DR 414                                                                         MIAMI           FL    33143‐6827
MARTHA KIN                                        C/O JOYCE MARCUZZI                     1382 SIOUX ROAD                                          NORTH BRUNSWICK NJ    08902‐1522

MARTHA KOLAETIS                                   38 GLORIA ST                                                                                    CLARK           NJ    07066
MARTHA KREFT                                      627 OAK ST                                                                                      SOUTH MILWAUKEE WI    53172‐1750

MARTHA L ABRAHAM                                  26 FOX HOLLOW RD                                                                                NEW FAIRFIELD   CT    06812
MARTHA L ADAMS                                    2211 CUMBERLAND RD                                                                              LANSING         MI    48906‐3722
MARTHA L ADDISON                                  1103 E CARY ST                                                                                  PAPILLION       NE    68046‐6187
MARTHA L ALLISON                                  5448 CARROLLTON AVE                                                                             INDIANAPOLIS    IN    46220‐3121
MARTHA L ARNOLD                                   ATTN MARTHA ARNOLD VERLINICH           15225 SW CANDLEWOOD CT                                   LAKE OSWEGO     OR    97035‐3377
MARTHA L CHROMIK & WILLIAM J CHROMIK JT TEN       29 PARKSIDE TRAIL                                                                               BALLSTON LAKE   NY    12019

MARTHA L COCHRAN                                  PO BOX 1166                                                                                     KNOXVILLE       TN    37901‐1166
MARTHA L COMBS                                    4837 MILL RUN ROAD                                                                              DALLAS          TX    75244‐6528
MARTHA L CONLEN                                   2105 EAGLE HILL CT                                                                              FINDLAY         OH    45840‐8916
MARTHA L COX                                      114 RED POND RD                                                                                 BOWLING GREEN   KY    42103‐9546
MARTHA L CROFT                                    2343 EDGE CT                                                                                    DULUTH          GA    30096‐6053
MARTHA L CROWELL                                  PO BOX 125                                                                                      FLORA           MS    39071‐0125
MARTHA L DUDLEY                                   463 TRUESDALE RD                                                                                CAMDEN          SC    29020‐8926
MARTHA L DYER & KAREN F TRIPP JT TEN              11385 FOREMAN ST                                                                                LOWELL          MI    49331‐9647
MARTHA L FITZGERALD                               232 VINCE RD                                                                                    BELL BUCKLE     TN    37020‐4374
MARTHA L FOURQUREAN                               1992 HEMLOCK TRAIL                                                                              SNELLVILLE      GA    30078
MARTHA L FREDRICKSON & LIN M FREDRICKSON JT TEN   811 E CENTRAL RD                       APT 561                                                  ARLINGTON HTS   IL    60005‐3281

MARTHA L GASKIN                                   2108 GEORGIA                                                                                    KANSAS CITY     KS    66104‐4522
MARTHA L GLASSBURN                                1037 MANCHESTER RD                                                                              LIBERTY         MO    64068‐2927
MARTHA L GLEASON                                  1288 BURNHAM DR                                                                                 COLUMBUS        OH    43228‐7315
MARTHA L HAWKINS                                  BOX 818                                                                                         BOERNE          TX    78006‐0818
MARTHA L HEFT & JEAN H ALBERT JT TEN              29081 US 19 N #121                                                                              CLEARWATER      FL    33761
MARTHA L HEIKKILA & DONNA M ABRAHAM JT TEN        9908 E FORK CIR                                                                                 ANNA            TX    75409‐3614

MARTHA L HENRY TR MARTHA HENRY TRUST UA           7502 LESOURDSVILLE RD                                                                           WEST CHESTER    OH    45069‐1235
04/03/98
MARTHA L HENSLEY                                  152 TRAILS END                                                                                  BROWNSBURG      IN    46112‐9245
MARTHA L JENKINS PROSSER                          5414 LUCE RD                                                                                    LAKELAND        FL    33813‐2951
MARTHA L K STEWART                                88 OVERLOOK DRIVE                                                                               ALLIANCE        OH    44601‐3917
MARTHA L LEECH                                    493 NICHOLS RD                                                                                  FAIRFAX         VT    05454‐9614
MARTHA L LOCKWOOD                                 1956 SNOWDEN AVE                                                                                MEMPHIS         TN    38107‐5121
MARTHA L MC COWAN & PEGGY J WARD JT TEN           1900 HIGH KNOLL DR                                                                              DAYTON          OH    45414
MARTHA L MCGEE                                    2725 CR 1201                                                                                    ARLINGTON       KY    42021
MARTHA L MOEHRING & STEVEN E MOEHRING JT TEN      63114 LILAC DR                                                                                  COOS BAY        OR    97420‐7269

MARTHA L MOYLAN                                   238 NORTH STREET                                                                                GEORGETOWN      MA    01833‐1123
MARTHA L NASH                                     202 FM 2578                                                                                     TERRELL         TX    75160‐4846
MARTHA L NEWLON                                   129 HILLSGATE DR                                                                                MADISON         AL    35757‐7629
MARTHA L NIELD CUST JEFFREY C NIELD UGMA MI       18234 ARSELOT DR                                                                                NORTHVILLE      MI    48167‐1802
MARTHA L PALLAY                                   418 N OSBORN AVE                                                                                YOUNGSTOWN      OH    44509‐1849
MARTHA L PRESIDENT                                45498 PARSONS RD                                                                                OBERLIN         OH    44074‐9602
MARTHA L REILLY                                   5 WILLIAMS ST                                                                                   AYER            MA    01432‐1321
MARTHA L SARTOR                                   PO BOX 136                                                                                      RAYVILLE        LA    71269‐0136
MARTHA L SCHAUSEIL TR LIVING TRUST 07/11/91 U‐A   601 S LOCK STREET                                                                               WAVERLY         OH    45690‐1620
MARTHA L SCHAUSEIL
MARTHA L SCHUCK & MICHAEL J SCHUCK JT TEN         2934 ALEXANDRIA PIKE                                                                            ANDERSON        IN    46012‐9206
MARTHA L SKALCHUK                                 2351 GEROFFRY DR                                                                                WARREN          MI    48092‐2178
MARTHA L SNYDER                                   11056 GREEN RD                                                                                  GOODRICH        MI    48438‐9729
MARTHA L TATE                                     1024 MADISON AVE                                                                                PLAINFIELD      NJ    07060‐2320
MARTHA L TRUHE ROBBINS                            7538 K‐92 HIGHWAY                                                                               OZAWKIE         KS    66070
MARTHA L WEITZEL                                  606 SUNSET DRIVE                                                                                WRIGHTSVILLE    PA    17368‐1424
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MARTHA L WHITNEY                                52738 BUCKHORN RD                                                                                      THREE RIVERS       MI    49093‐9647
MARTHA L WILLIAMS                               37 JUNIPER LN                                                                                          BUFFALO            NY    14227‐2365
MARTHA L YICK                                   30 MILLER PL #4                                                                                        SAN FRANCISCO      CA    94108‐2020
MARTHA LAMBERT                                  PO BOX 97                                                                                              WILIAMSBURG        MI    49690‐0097
MARTHA LEA VOLAND                               28 HAMMOND ST                                                                                          PORTLAND           ME    04101‐2522
MARTHA LEANORA BAUGHMAN                         9037 SLOAN ST                                                                                          TAYLOR             MI    48180‐2708
MARTHA LEE ANDRES                               23711 BEAVER CRK                                                                                       SAN ANTONIO        TX    78258‐7326
MARTHA LEE GORDON                               5 QUORN CRESENT                        COTTESMORE           OAKHAM RUTLAND    LE15 7NB GREAT BRITAIN
MARTHA LEE MCCURRY                              29311 S E DIVISION                                                                                     TROUTDALE          OR    97060‐9448
MARTHA LEE SHWAYDER                             6520 E 4TH AVE                                                                                         DENVER             CO    80220‐5940
MARTHA LESHER                                   6380 LEWIS RD                                                                                          OLMSTED            OH    44138‐1326
                                                                                                                                                       TOWNSHIP
MARTHA LIGHTNER                                 216 PINE RUN CHURCH RD                                                                                 APOLLO             PA    15613‐8809
MARTHA LILLIE MAE BELL & NORMA JEAN BROOKS JT   3205 BAILEY ST                                                                                         SAINT LOUIS        MO    63107
TEN
MARTHA LIMA                                     67 LEDGEWOOD HILLS DR                                                                                  NASHUA             NH    03062‐4437
MARTHA LOHMANN & PHILIP D LOHMANN JR JT TEN     4418 FACULTY AVE                                                                                       LONG BEACH         CA    90808‐1316

MARTHA LORRAINE MCGRAW                          4824 LONGFORD DRIVE                                                                                    MIDDLETOWN         OH    45042‐3019
MARTHA LOU BARRY TR MARTHA LOU BARRY LIVING     6901 HESTAND LANE                                                                                      FORT SMITH         AR    72903‐2746
TRUST UA 07/13/04
MARTHA LOU CANTRELL & MICHAEL T CANTRELL JT TEN 3919 CLOVERHILL RD                                                                                     BALTIMORE          MD    21218‐1708

MARTHA LOUISE BISSEY                            FOXDALE VILLAGE APT D‐54               500 E MARYLYN AVE                                               STATE COLLEGE      PA    16801‐6270
MARTHA LOUISE GRADY                             6145 HICKORY TREE TRL                                                                                  BLOOMFIELD         MI    48301‐1343
MARTHA LOUISE MC DONOUGH                        15 RISING RD                                                                                           NEWARK             DE    19711‐7457
MARTHA LOUISE TUHARSKY                          1710 POOL ST                                                                                           NORTH POLE         AK    99705‐7408
MARTHA LOUISE WAGNER                            PO BOX 608                                                                                             WESTMINSTER        TX    75485‐0608
MARTHA LOW                                      THE GUAY                               299‐D S BROADWAY                                                TARRYTOWN          NY    10591‐5316
MARTHA LOWREY MERKLE                            8569 LINWOOD SOUTHMONT RD                                                                              LEXINGTON          NC    27292‐9166
MARTHA LUX                                      242 PINNACLE LN                                                                                        PLAINFIELD         IN    46168
MARTHA LYNN AYRES                               927 WEST TEMPLE                                                                                        HOUSTON            TX    77009‐5235
MARTHA LYNN ROUTE                               18755 MAYFIELD                                                                                         LIVONIA            MI    48152‐3239
MARTHA LYNN TROST                               3710 YOUNGBERG ROAD                                                                                    WINNEMUCCA         NV    89445‐5124
MARTHA M ALLEN                                  5621 SE WINGED FOOT DRIVE                                                                              STUART             FL    34997‐8643
MARTHA M BARKER                                 27187 SYCAMORE MESA RD                                                                                 TEMECULA           CA    92590‐3356
MARTHA M BOLES                                  805 OAKSIDE LANE                                                                                       UNIVERSITY PARK    IL    60466‐2816
MARTHA M BYRD                                   1845 STOCKTON WALK LANE                                                                                SNELLVILLE         GA    30078‐2365
MARTHA M CABBACH & MARLA A CABBACH JT TEN       514 SOUTH CONNECTICUT                                                                                  ROYAL OAK          MI    48067‐2927

MARTHA M CARTER                               3605 GOLDSTON SPRINGS RD                                                                                 PURYEAR            TN    38251‐3744
MARTHA M CASSELL CUST FRANCES AVERETT CASSELL 2340 KINGSTON RD                                                                                         CHARLOTTESVILLE    VA    22901‐7733
UTMA VA
MARTHA M CREAMER                              117 GARTH RD                                                                                             SCARSDALE          NY    10583‐3753
MARTHA M DAVIS                                1600‐B TOOMER ST                                                                                         OPELIKA            AL    36801‐6542
MARTHA M EDWARDS                              130 SOUTH SHORE TERRACE                                                                                  FAYETTEVILLE       GA    30214‐7395
MARTHA M ELLERS & RICHARD ELLERS JT TEN       426 CENTRAL PARKWAY                                                                                      WARREN             OH    44483‐6213
MARTHA M FRENCH CUST WILLIAM J FRENCH UGMA MI 627 WESTBOURNE DR                                                                                        BLOOMFIELD HILLS   MI    48301‐3454

MARTHA M GARDINER                               190 AUSTIN RD                                                                                          NORTH KINGSTOWN RI       02852‐1320

MARTHA M GERFIN                               77 KENSINGTON DR                                                                                         CAMP HILL          PA    17011‐7911
MARTHA M GRANT & MARGARET G THAYER JT TEN     PO BOX 33                                                                                                NORTH TURNER       ME    04266‐0033
MARTHA M GROSS                                1301 OLD BELL LAKE RD                                                                                    DOUGLAS            GA    31535‐7003
MARTHA M HERRELL TR MARTHA M HERRELL          9834 DUDLEY                                                                                              TAYLOR             MI    48180‐3751
REVOCABLE LIVING TRUST UA 2/17/05
MARTHA M HOLLAND CUST CASEY FREDERICK HOLLAND 114 BROOK ST                                                                                             ELIZABETHTOWN      KY    42701‐1204
UGMA VA
MARTHA M JUDGE                                1395 PADDLE WHEEL LN                                                                                     ROCHESTER HILLS    MI    48306‐4241
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MARTHA M KILPATRICK                              104 MARSHALL AVE                                                                              FITZGERALD        GA    31750‐8505
MARTHA M KLYCE                                   2487 LOTHROP                                                                                  DETROIT           MI    48206‐2550
MARTHA M KUDNER                                  510 E BOUNDARY ST                                                                             PERRYSBURG        OH    43551‐2227
MARTHA M MACH & DOROTHEA M STEEN JT TEN          513 SOUTH KENWOOD AVE                                                                         BALTIMORE         MD    21224‐3819
MARTHA M MOGILNICKI                              1135 CRESCENT ST NE                                                                           GRAND RAPIDS      MI    49503‐3621
MARTHA M MOGILNICKI & RITA MOGILNICKI JT TEN     1135 CRESCENT ST NE                                                                           GRAND RAPIDS      MI    49503‐3621

MARTHA M MONROE                                  6511 DUPONT                                                                                   FLINT             MI    48505‐2068
MARTHA M MURDOCK                                 C/O MARTHA M DIXON                   18 CLUB LN                                               PALMYRA           VA    22963‐3367
MARTHA M NICHOLS                                 16244 GREENLAWN ST                                                                            DETROIT           MI    48221‐4910
MARTHA M NORRIS & PATRICIA NORRIS KAAKE JT TEN   PO BOX 2                                                                                      ANGELICA          NY    14709‐0002

MARTHA M O'ROURKE                                205 HOG HILL RD                                                                               EAST HAMPTON      CT    06424‐1868
MARTHA M PARKER & ROGER S PARKER JT TEN          4 GIRDLER ROAD                                                                                MARBLEHEAD        MA    01945‐2205
MARTHA M PATTERSON                               2406 LOFURNO RD                                                                               CHESAPEAKE        VA    23323‐4605
MARTHA M PERKINS                                 ROUTE 1                                                                                       EQUALITY          AL    36026‐9801
MARTHA M SERVIES                                 518 SOUTHMORE ST                                                                              PLAINFIELD        IN    46168‐2052
MARTHA M SOSKI                                   C/O MARK & JULIE SOSKI               10008 STATE ROUTE 269                                    BELLEVUE          OH    44811
MARTHA M SOWDER                                  PO BOX 142                                                                                    BROOKVILLE        OH    45309‐0142
MARTHA M STOCKING                                16879 FOURTH SECTION RD                                                                       HOLLEY            NY    14470‐9719
MARTHA M SULLIVAN                                4806 NW HARMONY LN                                                                            KANSAS CITY       MO    64151
MARTHA M TAYLOR                                  310 S WASHINGTON ST                                                                           YPSILANTI         MI    48197‐5429
MARTHA M THOMPSON                                PO BOX 454                                                                                    WOODSTOCK         VA    22664‐0454
MARTHA M WENDLING                                1009 ROMANUS DRIVE                                                                            VANDALIA          OH    45377‐1143
MARTHA M WILLIAMS                                1208 N MADISON STREET                                                                         ROME              NY    13440‐2726
MARTHA M WILSON                                  704 PINE WAY HL                      APT HILLL                                                FLOWOOD           MS    39232‐8993
MARTHA M WILSON                                  11544 QUIRK RD                                                                                BELLEVILLE        MI    48111‐3140
MARTHA M WOLFE                                   34 608 LAKELAND AVE                                                                           LEESBURG          FL    34788
MARTHA MACKNIGHT                                 1040 N HERITAGE CT                                                                            DENTON            MD    21629‐3057
MARTHA MANCIEL                                   14621 KENTUCKY ST                                                                             DETROIT           MI    48238‐7700
MARTHA MARTIN                                    209 DOVE PARK                                                                                 VERSAILLES        KY    40383‐1503
MARTHA MC GEEVER                                 C/O M M REILLY                       54 EDGEWOOD DR                                           BEACON FALLS      CT    06403‐1435
MARTHA MCCORMACK PRING                           2668 E 900 S                                                                                  MARKLEVILLE       IN    46056‐9720
MARTHA MCMURDO DIFFEY                            1111 SHERBROOKE DR                                                                            WEST CHESTER      PA    19382‐8068
MARTHA MCNAULL                                   2609 N E 27 AVE                                                                               FORT LAUDERDALE   FL    33306‐1715

MARTHA MEADE                                     8 HUNTING HOLLOW ROAD                                                                         GREENVILLE        SC    29615‐3729
MARTHA MILLER & KARL MILLER JT TEN               9404 SOUTH 700 EAST                                                                           LAFAYETTE         IN    47909
MARTHA MILLER SWEENEY                            BOX 56                               215 MAIN HILL RD                                         PETROLIA          PA    16050‐0056
MARTHA MORALES                                   910 EAST SAN ANTONIO DRIVE 4                                                                  LONG BEACH        CA    90807
MARTHA MORAN                                     152 EVERGREEN RD                                                                              RAMSEY            NJ    07446‐1170
MARTHA MYERS                                     1806 SWEETBAY DR                                                                              TOMS RIVER        NJ    08755‐0887
MARTHA N BEHYMER                                 3577 MICHIGAN AVE                                                                             CINCINNATI        OH    45208‐1409
MARTHA N WABLE                                   109 SOUTH CHELSEA STREET                                                                      SISTERSVILLE      WV    26175‐1615
MARTHA NELL FITTS MOODY                          158 LEGACY CIRCLE                                                                             DEMOREST          GA    30535
MARTHA O ALLEN                                   19 JIMMY MORRIS RD                                                                            SYLVA             NC    28779‐8026
MARTHA OSTRAND                                   AXEL OLSONS GATA 10                  30227 HALMSTAD                         SWEDEN
MARTHA P AMLIN                                   PO BOX 9001                                                                                   BROWNSVILLE        TX   78520‐0901
MARTHA P ANDERSON                                1837 COUNTY FARM RD                                                                           HOWELL             MI   48843‐7931
MARTHA P BUND                                    18 LAUREL HILL LANE                                                                           WINCHESTER         MA   01890‐1021
MARTHA P DECAPITE                                1250 SALT SPRINGS ROAD                                                                        WARREN             OH   44481‐8624
MARTHA P GERBER & KAREN S MERRILL & BRADLEY C    20500 YALE ST                                                                                 SAINT CLAIR SHORES MI   48081‐1776
MERRILL JT TEN
MARTHA P HOOTS                                   BOX 36                                                                                        DEETH             NV    89823
MARTHA P JOLLY                                   700 TREE RIDGE LN                                                                             KNOXVILLE         TN    37922‐8901
MARTHA P LAGIGLIA                                318 SEA PINES CT                                                                              VIRGINIA BEACH    VA    23451‐2765
MARTHA P MABRY                                   150 WILLOW GLEN DR                                                                            MARIETTA          GA    30068‐5104
MARTHA P MC BURNEY                               6608 MCBURNEY PL                                                                              WORTHINGTON       OH    43085‐2673
MARTHA P PATTERSON                               331 GYPSY LN                                                                                  YOUNGSTOWN        OH    44504‐1312
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Name                                               Address1                              Address2             Address3          Address4          City                State Zip

MARTHA P POWELL                                    28433 HONEYSUCKLE DR                                                                           DAMASCUS            MD    20872
MARTHA P STARK                                     7414 PELLEAUX RD                                                                               KNOXVILLE           TN    37938‐3911
MARTHA P TOTHILL TR CHARLES E B TOTHILL REIDUARY   122 GRANBY PL                                                                                  PORTLAND            TX    78374‐1408
TRUST UA 3/14/97
MARTHA P WARD                                      728 14TH ST                                                                                    ASHLAND             KY    41101‐2646
MARTHA P WILSON                                    5 BUCKINGHAM ROAD                                                                              NATICK              MA    01760‐3303
MARTHA PANSA                                       PO BOX 625                                                                                     EDMONDS             WA    98020
MARTHA PARKER BROOKS                               29860 HIGHWAY 62                                                                               TRAIL               OR    97541‐9635
MARTHA PARKS JOYCE                                 315 BRAYBARTON BLVD                                                                            STEUBENVILLE        OH    43952‐2301
MARTHA PARSONS DE BLASIO                           8 YALE ST                                                                                      ISLIP               NY    11751‐2117
MARTHA PATRICIA BONIDY                             8 GARDEN CENTER DR                    APT 322                                                  GREENSBURG          PA    15601‐1368
MARTHA PAULINE LINDSEY                             3301 DEARBORN ST                                                                               FLINT               MI    48507‐1868
MARTHA PAYNE‐WADDELL                               208 HEDGE STREET                                                                               EXCELSIOR SPRINGS   MO    64024‐2809

MARTHA PEARL LITTLE                                232 RYE DR                                                                                     HEDGESVILLE         WV    25427‐6931
MARTHA PHELPS                                      37480 US HIGHWAY 50                   APT 2                                                    GUNNISON            CO    81230‐9734
MARTHA POITEVIN PAGE                               1938 PIN OAK CT                                                                                INDIANAPOLIS        IN    46260‐1530
MARTHA PRAPOPULOS                                  758 RIDGE ROAD TER                                                                             KINNELON            NJ    07405‐2169
MARTHA PRESTIPINO TOD NAMED BENEFICIARIES          18335 OXFORD AVE                                                                               PORT CHARLOTTE      FL    33948‐6155
SUBJECT TO STATE TOD RULES
MARTHA PUSKAR & MARCY L PUSKAR JT TEN              527 STANDARD AVE                                                                               SPRINGDALE          PA    15144‐1436
MARTHA QUINN GOODSON                               1342 MISTY LANE                                                                                TUSCALOOSA          AL    35405‐8713
MARTHA R B BESUDEN                                 3784 LOCH BEND DR                                                                              COMMERCE TWP        MI    48382‐4338
MARTHA R BUNGE                                     14406 HOLLYWOOD                                                                                CLEVELAND           OH    44111‐1341
MARTHA R COATES                                    8545 ROYAL LYTHAN LANE                                                                         HOLLAND             OH    43528
MARTHA R DAIGLE CUST JAMES B WHITLEY JR A MINOR    1181 ECHO TRIAL                                                                                WATKINSVILLE        GA    30677‐5315
UNDER THE LAWS OF GA
MARTHA R DORSETT & DAVID M JONES JT TEN            725 NE 77TH ST                                                                                 MIAMI               FL    33138‐5214
MARTHA R DORSETT & SHERI L JONES JT TEN            725 NE 77 ST                                                                                   MAIMI               FL    33138‐5214
MARTHA R FLEISHER                                  6926 ECHO BLUFF DR                                                                             DALLAS              TX    75248‐2904
MARTHA R HAMM & BARBARA L HASTINGS JT TEN          615 COMMANCHE RD                                                                               CHILLICOTHE         OH    45601‐1504
MARTHA R HAMM & JEANNE R HAMM JT TEN               10 CENTRAL CTR                                                                                 CHILLICOTHE         OH    45601‐2253
MARTHA R HARMON                                    3165 S 450 E                                                                                   WHITESTOWN          IN    46075‐9551
MARTHA R MARKEN                                    319 20TH AVE                                                                                   BROOKINGS           SD    57006‐2336
MARTHA R PICKWICK                                  PO BOX 16                                                                                      PAEONIAN SPRINGS    VA    20129‐0016

MARTHA R POOLE                                     2611 EVERGREEN RD                                                                              TOLEDO              OH    43606‐2714
MARTHA R PRICE JR                                  20068 STAHELIN                                                                                 DETROIT             MI    48219‐1534
MARTHA R ROSLER                                    143 MCGUINNESS BLVD                                                                            BROOKLYN            NY    11222‐2907
MARTHA R SEGER                                     1968 BANCROFT DR                                                                               ANN ARBOR           MI    48108‐9306
MARTHA R STEPHENS                                  517 WATERS EDGE WAY                                                                            MURPHY              TX    75094‐4382
MARTHA R WALDMANN                                  PO BOX 96                                                                                      EASTCHESTER         NY    10709‐0096
MARTHA R WEBER & BARBARA JEAN SEEMANN JT TEN       5040 BROOKLYN BLVD                                                                             MINNEAPOLIS         MN    55429‐3403

MARTHA R WEBER & JOHN ALFRED WEBER JT TEN        5040 BROOKLYN BLVD                                                                               MINNEAPOLIS         MN    55429‐3403
MARTHA R WEBER & PATRICIA EILEEN JACOBSON JT TEN 5040 BROOKLYN BLVD                                                                               MINNEAPOLIS         MN    55429‐3403

MARTHA R WEST                                      124 GRANDVIEW DR                                                                               PILESGROVE          NJ    08098‐1213
MARTHA R WILSON                                    PO BOX 1446                                                                                    WELLFLEET           MA    02667
MARTHA REBECCA LOKEY                               1 CHAUMONT SQUARE                                                                              ATLANTA             GA    30327‐1080
MARTHA REIFFARTH                                   PO BOX 5462                                                                                    SAYVILLE            NY    11782‐0816
MARTHA RENEE MARTIN                                9616 COALBORO RD                                                                               CHESTERFIELD        VA    23838‐1729
MARTHA RICHARDS CLARKE                             1310 RIVERVIEW RD                                                                              ASHLAND             KY    41101‐7073
MARTHA ROBERTS                                     3516 LAWN OAK DR                                                                               ORANGE              TX    77632‐9256
MARTHA ROHRBACH GROSS                              27 OLDE FORT ROAD                                                                              CAPE ELIZABETH      ME    04107‐1812
MARTHA ROSE GAJEWSKI & DORIS ANN GULICK JT TEN     14041 HELEN                                                                                    SOUTHGATE           MI    48195‐1927

MARTHA ROSE WEAVER                                 16085 MAPLE ST 285                                                                             LAURELVILLE         OH    43135
MARTHA RUTH LAWSON                                 2002 BELLGLADE TER                                                                             CINCINNATI          OH    45238‐1810
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Name                                            Address1                             Address2             Address3          Address4          City             State Zip

MARTHA S BENJAMIN                                1235 BRUNSWICK WAY                                                                           ANDERSON         IN    46012‐2619
MARTHA S CHALMERS                                114 SHELDON AVE                                                                              GREENWOOD        SC    29649‐9325
MARTHA S GAGALSKI                                2307 WILLOW VALE DR                                                                          FALLSTON         MD    21047‐1504
MARTHA S GILLAM                                  2976 N SYMONDS CREEK RD                                                                      CAMBRIDGE CITY   IN    47327‐9710
MARTHA S GUMP                                    179 GIRL SCOUT CAMP RD                                                                       SPRINGVILLE      TN    38256‐6306
MARTHA S IHDE TR LIVING TRUST UA 12/11/86 MARTHA 1311 SOUTH AVENUE G                                                                          PORTALES         NM    88130‐6715
S IHDE
MARTHA S JACK                                    46 WOODBURY WAY                                                                              FAIRPORT         NY    14450‐2475
MARTHA S KERSCHBAUM                              PO BOX 321                                                                                   DENTON           MD    21629‐0321
MARTHA S LYON                                    18543 COMMON ROAD                                                                            ROSEVILLE        MI    48066‐2173
MARTHA S MONTGOMERY                              5432 MEADOWOOD DR                                                                            INDPLS           IN    46224‐3338
MARTHA S NEWHARD & PETER T HALL TR U‐A WITH      10865 PICCADILLY SQUARE DR                                                                   ST LOUIS         MO    63146‐5581
MARTHA S NEWHARD 8/7/70
MARTHA S PITTMAN                                 850 WILKINSON TRACE #11                                                                      BOWLING GREEN    KY    42103‐2489
MARTHA S ROYALL                                  407 MEMORIAL AVE                                                                             BLUEFIELD        WV    24701‐4941
MARTHA S STUBBS                                  231 WINDSOR LN                                                                               LIVINGSTON       TX    77351‐6032
MARTHA S WYNN                                    5001 CELADON AVE                                                                             FAIRFIELD        OH    45014‐2710
MARTHA SABOL                                     2508 SPRING LAKE BLVD                                                                        PAINESVILLE      OH    44077‐4914
MARTHA SACHS                                     86 E DERRY RD                                                                                HERSHEY          PA    17033‐2704
MARTHA SANFORD                                   762 STAGECOACH TRL S                                                                         AFTON            MN    55001‐9332
MARTHA SCHOENSTADT                               RR 2 BOX 224                                                                                 ELIZABETH        IL    61028‐9802
MARTHA SCHROEDL RAMSAY                           54 MICHELLE DRIVE                                                                            ROCHESTER        NY    14617‐4422
MARTHA SEATH KISLING                             9607 KILNINVER CT                                                                            COLORADO SPGS    CO    80908‐4788
MARTHA SHCNEIDER                                 74 R CUSHING STREET                                                                          CAMBRIDGE        MA    02138
MARTHA SHERMAN CZUHANICH                         77 PEARL ST                                                                                  SCHUYLERVILLE    NY    12871‐1114
MARTHA SLOAN MCKINNEY                            3329 LEWIS ROAD                                                                              NEW RICHMOND     OH    45157‐9722
MARTHA SPINDLER BROWN                            290 ASHAROKEN AVE                                                                            NORTHPORT        NY    11768‐1160
MARTHA STAHR CARPENTER                           1101 HILLTOP RD                                                                              CHARLOTTSVLLE    VA    22903‐1220
MARTHA STEVENSON                                 26 MIRANGO CT                                                                                CLAYTON          CA    94517
MARTHA STOJANOVIC                                6577 GALE DR                                                                                 SEVEN HILL       OH    44131‐3130
MARTHA SUE CARTER                                2101 N DEADMAN SPRINGS RD                                                                    MILBURN          OK    73450‐1055
MARTHA SUE CUMMINGS & ROBERT CUMMINGS JT TEN 140 ESSEX DR                                                                                     KNOXVILLE        TN    37922‐3540

MARTHA SUE FLYNN                                0629 EAST 100 NORTH                                                                           HARTFORD CITY    IN    47348‐9074
MARTHA SUE MORGAN                               4248 NORTH 150 W                                                                              ANDERSON         IN    46011‐9220
MARTHA SUSANA M DE QUINTERO                     3928 BURNLEY DR                                                                               PLANO            TX    75025‐2068
MARTHA T HOUNTZ                                 7547 N OLD MILAN RD                                                                           SUNMAN           IN    47041‐9596
MARTHA T SHEETS                                 127 STANLEY DR                                                                                WILLIAMSBURG     VA    23188‐2557
MARTHA V CRUZ‐HARSAR                            43535 PARSONS RD                                                                              OBERLIN          OH    44074‐9524
MARTHA V DEBERRY                                565 DENNETTT RD                                                                               OAKLAND          MD    21550‐1413
MARTHA V DEBERRY & WALTER F DEBERRY JT TEN      565 DENNETT RD                                                                                OAKLAND          MD    21550‐1413
MARTHA V DUSSEAU                                4815 W RAUCH RD                                                                               PETERSBURG       MI    49270‐9417
MARTHA V EMERSON                                2008 GRAHAM RD                                                                                FAYETTEVILLE     NC    28304‐2742
MARTHA V JORDAN                                 PO BOX 661                                                                                    GREENWOOD        MS    38935‐0661
MARTHA V KEENAN                                 1501 WEST 11TH STREET                                                                         WILMINGTON       DE    19806‐4511
MARTHA V KOSEGI                                 PO BOX 649                                                                                    ARLINGTON        OH    45814‐8771
MARTHA V PETERSON                               12 HARVEY AVE                                                                                 NEPTUNE          NJ    07753‐2554
MARTHA V STEVENS                                BOX 125                                                                                       CARUTHERSVILLE   MO    63830‐0125
MARTHA VAN BROCKLIN                             456 COUNTY HIGHWAY 102                                                                        GLOVERSVILLE     NY    12078‐6026
MARTHA VAN NUIS CUST JOHN L FUGETT UTMA PA      37 W GRAVERS LANE                                                                             PHILADELPHIA     PA    19118‐3305

MARTHA VERA MOREY & EDWIN D MOREY JT TEN        3494 WILLIAMSON RD                                                                            SAGINAW          MI    48601‐5663
MARTHA VICTORIIA TEHAN                          16124 SILVERADO DR                                                                            EDMUND           OK    73013‐1455
MARTHA VIRGINIA HARDY                           PO BOX 12155                                                                                  BEAUMONT         TX    77726‐2155
MARTHA VOLLMER                                  40‐76 DENMAN ST                                                                               ELMHURST         NY    11373‐1609
MARTHA W BROWN                                  109 PASEO ST                                                                                  MOORESVILLE      NC    28117‐5507
MARTHA W COLEMAN                                701 PAGE AVE                                                                                  JACKSON          MS    39213‐7748
MARTHA W EDWARDS                                218 STOVALL DR                                                                                FLORENCE         AL    35633‐1438
MARTHA W GAINES                                 4209 DOWNING ST                                                                               ANNANDALE        VA    22003‐2103
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Name                                              Address1                              Address2             Address3          Address4          City               State Zip

MARTHA W GANNON                                   10654 NE VALLEY RD                                                                             BAINBRIDGE IS     WA     98110‐1339
MARTHA W HARRIS                                   3220 WATERWAY BL                                                                               ANDERSON          IN     46012‐8702
MARTHA W SHAVER                                   15 STONERIDGE                                                                                  LOGANSPORT        IN     46947‐2444
MARTHA W SMITH & ALTON C SMITH JT TEN             713 COBBLERSTONE CIRCLE                                                                        NORTH LITTLE ROCK AR     72116

MARTHA W WELDON                                   930 KIMBALL AVENUE                                                                             WESTFIELD          NJ    07090‐1939
MARTHA WARREN WHITLOCK                            5 CARDINAL DRIVE                                                                               NEWMAN             GA    30263‐1118
MARTHA WATERHOUSE A MINOR U/GDNSHP OF             3826 ROUND TOP DR                                                                              HONOLULU           HI    96822‐5017
MARILYN WATERHOUSE
MARTHA WENZLER WILLIS & CRAIG B WILLIS JT TEN     8271 WELLER RD                                                                                 CINCINNATI         OH    45242‐3214

MARTHA WESTBROOK                                111 PRINCESS TRL                                                                                 LOOKOUT MTN        GA    30750
MARTHA WICKER STACY                             3630 W CROSS ST                                                                                  ANDERSON           IN    46011‐8750
MARTHA WILHELM                                  327 EGE AVE                                                                                      JERSEY CITY        NJ    07304‐1001
MARTHA WOODWARD DAVIS                           248 SHADOW CREEK DR                                                                              FLORENCE           MS    39073‐8100
MARTHA Y PENNY TR CHARLES J PENNY FAM TRUST UA 840 CORRIGAN CT                                                                                   BENICIA            CA    94510‐2578
06/26/97
MARTHA Z ESPARZA                                956 W 5TH ST                                                                                     AZUSA              CA    91702‐3310
MARTHA Z ODBERT TR MARTHA Z ODBERT LIVING TRUST 4806 HUNTWOOD PATH                                                                               MANTIUS            NY    13104‐1534
UA 01/15/04
MARTHA ZANG & CHARLES R ZANG JT TEN             11335 BEECHER RD                                                                                 FLUSHING           MI    48433‐9751
MARTHA ZANNER TOD SELMA L BLOHM SUBJECTT TO     4444 STATE ST APT 107                                                                            SAGINAW            MI    48603‐4033
STA TOD RULES
MARTHA‐ANNE ALBRO                               4830 KENNETT PIKE APT 4312                                                                       WILMINGTON         DE    19807‐1860
MARTHE WIEMANN                                  11108 MITSCHER ST                                                                                KENSINGTON         MD    20895‐1322
MARTHEA K ACKERMAN                              605 SAINT LAWRENCE AVE                                                                           JANESVILLE         WI    53545‐4037
MARTHELL BURNEY                                 3221 LEXINGTON                                                                                   SAGINAW            MI    48601‐4570
MARTHELLA SENTZEL                               106 CAESAR CIR                                                                                   AMHERST            OH    44001‐3510
MARTHELLE PARKS & BONEVA TATTERSHALL JT TEN     10101 E 74TH TERRACE                                                                             RAYTOWN            MO    64133‐6755

MARTHINA H KIM                                    2593 PINE RIDGE                                                                                WEST BLOOMFIE      MI    48324‐1956
MARTHY FIFER‐ADEKOYA                              23903 W WOODWAY LN                                                                             WOODWAY            WA    98020‐5229
MARTI M MORALES                                   5730 N CROWN ST                                                                                WESTLAND           MI    48185‐8106
MARTIAL ERNEST MOLINARI                           1036 LORENZO CT                                                                                SEASIDE            CA    93955
MARTIE D MAY                                      3274 E VIENNA RD                                                                               CLIO               MI    48420‐9170
MARTIE F TAYLOR                                   871 GARFIELD AVE                                                                               MILFORD            OH    45150‐1660
MARTIN A BIERBAUM                                 55 CEDAR LANE                                                                                  BERKELEY HEIGHTS   NJ    07922‐2400

MARTIN A CANTU                                    3333 HERON SW                                                                                  WYOMING            MI    49509‐3449
MARTIN A DERUSHA                                  6604 PEACHWOOD COURT                                                                           ARLINGTON          TX    76016
MARTIN A FISCHHOFF & SUSAN T CANNELL JT TEN       818 LINCOLN                                                                                    ANN ARBOR          MI    48104‐3525
MARTIN A KAPUSTA                                  BOX 60                                                                                         SLICKVILLE         PA    15684‐0060
MARTIN A KELLY                                    25 VALDALE AVE                                                                                 YONKERS            NY    10705‐3635
MARTIN A KOTULA                                   174 JERSEY STREET                                                                              SOUTH AMBOY        NJ    08879‐2141
MARTIN A KUR                                      12740 TWIN PINES DR                                                                            CHARLEVOIX         MI    49720‐8903
MARTIN A MCVICKER & JEANETTE C MCVICKER JT TEN    7416 HELMS CIRCLE                                                                              PINSON             AL    35126‐2328

MARTIN A MOLINA                                   PO BOX 1117                                                                                    MERCEDES           TX    78570‐1117
MARTIN A MURCEK                                   12 BAYARD AVE                                                                                  GREENSBURG         PA    15601‐1612
MARTIN A OLOUGHLIN                                145 MARBROOK DR                                                                                DAYTON             OH    45429‐5436
MARTIN A OLOUGHLIN & GERALDINE L OLOUGHLIN JT     145 MARBROOK DR                                                                                DAYTON             OH    45429‐5436
TEN
MARTIN A PEREZ JR                                 13750 BLIVEN RD                                                                                BYRON              MI    48418‐9723
MARTIN A PUNG                                     1801 W MCCLELLAN                                                                               FLINT              MI    48504‐2587
MARTIN A RICHARDSON                               12208 EDDYBURG RD NE                                                                           NEWARK             OH    43055‐8849
MARTIN A SCHWARTZ & SUSAN BOIKO JT TEN            3105 SITTO ISADORA                                                                             CARLSBAD           CA    92009‐7123
MARTIN A SMITH                                    2418 MARILYN DRIVE                                                                             WILMINGTON         DE    19810‐3018
MARTIN A THOMPSON                                 PO BOX 828                                                                                     WARRENSBURG        MO    64093‐0828
MARTIN A VIDNOVIC                                 162 W 54TH 12‐B                                                                                NY                 NY    10019‐5326
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Name                                            Address1                               Address2             Address3            Address4          City             State Zip

MARTIN ABELON                                   130 MIDDLESEX TPKE                     # 204                                                      BURLINGTON       MA    01803‐4417
MARTIN ADER                                     1328 HOWARD LN                                                                                    EASTON           PA    18045
MARTIN AGUILAR                                  7608 W 61 PLACE                                                                                   SUMMIT           IL    60501‐1616
MARTIN ALBERTS                                  41 CRANFORD TER                                                                                   CRANFORD         NJ    07016‐3453
MARTIN ALBRECHT                                 1580 NEWMANN                                                                                      LAKEWOOD         OH    44107‐5233
MARTIN ANTHONY CUST ANDREA ANTHONY UGMA MI      5289 N DYEWOOD DR                                                                                 FLINT            MI    48532‐3322

MARTIN APFEL                                    ADAM OPEL AG                           IPC A5‐02 D‐65423    RUSSELSHEIM GERMA   GERMANY
MARTIN APFEL                                    760 LONE PINE RD                                                                                  BLOOMFIELD       MI    48304‐3333
MARTIN APFEL                                    SCHLOSS NEUENHOF SCHULPLAN8            D‐99817 EISENACH                         GERMANY
MARTIN ARAKELIAN                                38125 SARNETTE                                                                                    MT CLEMENS       MI    48036‐4040
MARTIN ARAKELIAN & BARBARA M ARAKELIAN JT TEN   38125 SARNETTE                                                                                    MT CLEMENS       MI    48036‐4040

MARTIN B DOUGLAS                                1561 ELM AVE                                                                                      LONG BEACH       CA    90813‐2022
MARTIN B FRYE                                   301 GOLD MILLER RD                                                                                GERRARDSTOWN     WV    25420‐9626
MARTIN B GRIEBLE                                7409 E QUAKER RD                                                                                  ORCHARD PARK     NY    14127‐2041
MARTIN B HAWK                                   527 BUSCH FOREST LANE                                                                             FENTON           MO    63026‐4038
MARTIN B MURPHY                                 28541 PINTO                                                                                       WARREN           MI    48093‐4208
MARTIN B PAULHUS                                PO BOX 262                                                                                        MC RAE           AR    72102‐0262
MARTIN B SMITH                                  2240 E MCLEAN                                                                                     BURTON           MI    48529‐1742
MARTIN B SOLOWAY                                160 ENGLEWOOD DRIVE                                                                               ORANGE           CT    06477‐2411
MARTIN B WEIKEL                                 2952 RAVENGLASS                                                                                   WATERFORD        MI    48329‐2647
MARTIN B WILLIAMS                               3709 TITAN DR                                                                                     RICHMOND         VA    23225‐1247
MARTIN B WINANS                                 3522 PICKWICK PLACE                                                                               LANSING          MI    48917‐1786
MARTIN BARABASH & INA BARABASH JT TEN           1 SAWGRASS CT                                                                                     MONROE           NJ    08831‐2713
                                                                                                                                                  TOWNSHIP
MARTIN BARRY BOCHNER                            32 ELLIS RD                                                                                       WEST CALDWELL    NJ    07006‐8246
MARTIN BERMUDEZ                                 53 DUNBAR RD                                                                                      HILTON           NY    14468‐9104
MARTIN BESEN & MRS PHYLLIS BESEN JT TEN         674 BOGERT RD                                                                                     RIVER EDGE       NJ    07661‐2240
MARTIN BLACKMAN                                 192 SMITH RIDGE RD                                                                                SOUTH SALEM      NY    10590‐2020
MARTIN BOETSMA                                  4841 72ND AV                                                                                      ZEELAND          MI    49464
MARTIN BOJAJ                                    3294 WATKINS LAKE RD                                                                              PONTIAC          MI    48328‐1538
MARTIN BONISH                                   1625 YOUNGSTOWN RD SE                                                                             WARREN           OH    44484‐4252
MARTIN BRADLEY MUNN & JUDITH ARLENE MUNN JT     5600 PIONEERS BLVD                     APT 366                                                    LINCOLN          NE    68506‐5190
TEN
MARTIN BROCK                                    508 S ROBERTSON ST                                                                                CLAYTON          NC    27520‐2350
MARTIN BUDRESKI & PATRICIA BUDRESKI JT TEN      5045 NW 48TH AVE                                                                                  JENNINGS         FL    32053
MARTIN C BRODELL                                41 PEPPERBUSH PL                                                                                  BALLSTON SPA     NY    12020‐4471
MARTIN C DRABEK                                 4317 NORTH NEVINS ROAD                                                                            STANTON          MI    48888‐9631
MARTIN C GILLIAM                                6187 BEAR LAKE DR                                                                                 JOHANNESBURG     MI    49751‐9554
MARTIN C HARRIS                                 615 EDMONDSON AVE                                                                                 CATONSVILLE      MD    21228‐5221
MARTIN C LICHT                                  137 ROWAYTON AVE                       STE 110                                                    NORWALK          CT    06853‐1413
MARTIN C MEYERS                                 8653 AFTON RD                                                                                     AFTON            MI    49705‐9705
MARTIN C PACK                                   511 PARK AVE                                                                                      SALIDA           CO    81201‐3402
MARTIN C PERUE                                  BOX 157                                5 PROSPECT ST                                              RICHMONDVILLE    NY    12149‐0157
MARTIN C SIMS                                   1206 PETTIBONE                                                                                    FLINT            MI    48507‐1532
MARTIN CAMPBELL                                 240 THOMSPON SPRINGS DR                                                                           ALPHARETTA       GA    30004‐6943
MARTIN CAPOCCHI                                 454 ST KILDA RD APT 704                MELBOURNE            3004 VICTORIA       AUSTRALIA
MARTIN CLOKE                                    28148 ROBOLINI CT                                                                                 BONITA SPRINGS   FL    34135‐2921
MARTIN COLODNY                                  2225 HOLLAND AVE                       APT 5G                                                     BRONX            NY    10467‐9451
MARTIN COOPER III                               11762 CHERRY BARK DR E                                                                            JACKSONVILLE     FL    32218‐8614
MARTIN CORDOVA                                  741 CORTWRIGHT ST                                                                                 PONTIAC          MI    48340‐2305
MARTIN CRUZ                                     200 CORAL REEF CIR                                                                                KISSIMMEE        FL    34743‐8306
MARTIN D ALLEN                                  350 MESBIT TR                          IRTINGTON                                                  IRVINGTON        NJ    07111
MARTIN D BENJAMIN                               1235 BRUNSWICK                                                                                    ANDERSON         IN    46012‐2619
MARTIN D BIGELOW                                660 W HATFIELD ST                                                                                 MASSENA          NY    13662
MARTIN D BRODZIK                                6902 PALMS RD                                                                                     IRA              MI    48023
MARTIN D EDO                                    7 DEBLO DRIVE                                                                                     HUDSON           NH    03051‐3003
MARTIN D GARCHOW                                710 TULANE                                                                                        SAGINAW          MI    48604‐2251
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Name                                             Address1                               Address2             Address3          Address4          City             State Zip

MARTIN D GRESEHOVER                             PO BOX 656                                                                                       CLARKSBURG       CA    95612‐0656
MARTIN D HOSKINS                                5326 LUNSFORD CIR                                                                                INDIANAPOLIS     IN    46237‐2307
MARTIN D HUFFAKER                               514 CITATION LN                                                                                  SEYMOUR          TN    37865‐4114
MARTIN D LOUNEY & MRS BETTY J LOUNEY JT TEN     5941 MARBLE CT                                                                                   TROY             MI    48098‐3900
MARTIN D ORT                                    3024 BLUE GRASS LANE                                                                             SWARTZ CREEK     MI    48473‐7930
MARTIN D PUTNIK                                 18 PINE WATER CT SE                                                                              ACWORTH          GA    30102‐2991
MARTIN D SCHAFFNER                              67 WILDEY ST                                                                                     TARRYTOWN        NY    10591‐3105
MARTIN D WELCH & KEVIN M WELCH TR UA 02/20/2003 7510 W LEE HWY                                                                                   RURAL RETREAT    VA    24368
MARTIN D WELCH TRUST
MARTIN D WILLIAMS                               500 ALMERIA AVE                                                                                  EL GRANADA       CA    94018
MARTIN D'AUTRECHY                               PO BOX 172                                                                                       ROEBLING         NJ    08554‐0172
MARTIN DACHS & LILLIAN DACHS JT TEN             88‐14 65TH DR                                                                                    REGO PARK        NY    11374‐5009
MARTIN DEVOR & MARGARET J OUELLETTE JT TEN      10516 WASHBURN RD                                                                                ORTONVILLE       MI    48462‐8701
MARTIN DI CORPO                                 875 EAST CAMINO REAL                                                                             BOCA RATON       FL    33432‐6356
MARTIN DOMOKOS & CARMA W DOMOKOS JT TEN         231 HILLWOOD DR                                                                                  ALABASTER        AL    35007‐8844

MARTIN DOUGLAS MANKER                            3141 GREENFIELD DR                                                                              PETOSKEY         MI    49770‐9713
MARTIN DREIER & MISS DOROTHY DREIER JT TEN       ATTN DOROTHY MALUL                     83‐57 118 ST                                             KEW GARDENS      NY    11415‐2366
MARTIN E BURNS & VIRGINIA BURNS JT TEN           400 E PARKWOOD AVE                     APT 386                                                  FRIENDSWOOD      TX    77546‐5187
MARTIN E BUTLER                                  2415 AURELIUS RD #52                                                                            HOLT             MI    48842‐4704
MARTIN E CHAMBERS                                34 TILTON STREET                                                                                GREENWICH        OH    44837‐1127
MARTIN E COBERN                                  7 CARRIAGE HOUSE WAY                                                                            CHESHIRE         CT    06410‐1879
MARTIN E CRANDALL                                23542 MILITARY                                                                                  DEARBORN HEIGHTS MI    48127‐2362

MARTIN E DZIERZAWIC III                          RR 14 7621D                                                                                     STROUDSBURG      PA    18360‐8682
MARTIN E FLYNN & JANYCE M FLYNN JT TEN           326 SUNSET RD                                                                                   FROSTPROOF       FL    33843‐1838
MARTIN E GEYER & MRS JANET ANNE GEYER JT TEN     301 GOVERNORS DR                                                                                HENDERSONVILLE   NC    28791‐1379

MARTIN E HELMKE                                  1826 SHIPMAN                                                                                    BIRMINGHAM       MI    48009‐4133
MARTIN E HENDERSON                               5 CLARENCE RD                                                                                   WAYLAND          MA    01778‐3105
MARTIN E KING TR U‐L‐W OF LOUISE M BECKER        527 MUNRO AVE                                                                                   MAMARONECK       NY    10543‐3420
MARTIN E MULLINEAUX & CLARA G MULINEAUX JT TEN   8701 HAYSHED LN                                                                                 COLUMBIA         MD    21045‐2800

MARTIN E NATSUHARA                               37073 LASSEN ST                                                                                 FREMONT          CA    94536‐5723
MARTIN E NELSON & TERESA STRUHS‐NELSON JT TEN    BOX 554                                                                                         COLOMBUS         NM    88029‐0554

MARTIN E NICHOLS                              26536 HENDRIE                                                                                      HUNTINGTN WDS    MI    48070‐1343
MARTIN E OBRIEN                               7009 BAXTERSHIRE DR                                                                                DALLAS           TX    75230‐3137
MARTIN E PLAGE                                4906 NORTHEASTER DRIVE                                                                             WILLMINGTON      NC    28409‐8953
MARTIN E SEVILLA                              15400 LESURE                                                                                       DETROIT          MI    48227‐3258
MARTIN E SIECZKO                              6533 LYNN DRIVE                                                                                    FORT COLLINS     CO    80525‐4119
MARTIN E SILER                                342 ELM ST                                                                                         BRITTON          MI    49229‐9508
MARTIN E TEUTSCH                              4257 CLARIDGE ST                                                                                   YOUNGSTOWN       OH    44511‐1011
MARTIN E THAYER JR                            33 CHURCH ST                                                                                       PLANTSVILLE      CT    06479‐1101
MARTIN ECHEVERRIA                             5301 DIABLO DR                                                                                     SACRAMENTO       CA    95842‐2622
MARTIN EDWARDS JR                             750 THORNHILL DR                                                                                   CLEVELAND        OH    44108‐2313
MARTIN F BERTLEFF                             3483 STRATFORD GRN                                                                                 UNIONTOWN        OH    44685‐8195
MARTIN F DEELY & MARGARET A DEELY JT TEN      28 E 235TH ST                                                                                      BRONX            NY    10470‐1913
MARTIN F DOWNS CUST MARTIN F DOWNS JR UGMA MI 1132 WEBSTER                                                                                       BIRMINGHAM       MI    48009‐7000

MARTIN F HASSETT JR                              PO BOX 642                                                                                      EAST NORTHPORT   NY    11731‐0486
MARTIN F HUNTE                                   72 HASKINS LANE NORTH                                                                           HILTON           NY    14468‐8980
MARTIN F MEIER TR 1995 MEIER TRUST UA 06/23/95   653 ECKEN RD                                                                                    EL CAJON         CA    92020‐7312

MARTIN F PANOS                                   850 CAMINO RICARDO                                                                              MORAGA           CA    94556‐1241
MARTIN F SMENTCZAK                               62 OLD KAWKAWLIN ROAD                                                                           BAY CITY         MI    48706‐2117
MARTIN F SPITELLI                                13 ATKINS AVE                                                                                   WILMINGTON       DE    19805‐1405
MARTIN FAMILY INVESTMENTS LP                     2520 CHICKADEE TRAIL E                                                                          ROCKFORD         IL    61107‐1042
MARTIN FOLGERS & ARLENE M FOLGERS JT TEN         3140 CARPENTER LN                                                                               SAINT CLOUD      FL    34769‐1912
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MARTIN FORMAN CUST ALIZA FORMAN UNDER THE          10925 S W 85TH AVE                                                                                    MIAMI               FL    33156‐3528
FLORIDAGIFTS TO MINORS ACT
MARTIN FRANK                                       PO BOX 801                                                                                            LEXINGTON           OK    73051
MARTIN FRANK JANCA                                 4840 S MT TOM RD                                                                                      ROSE CITY           MI    48654‐9611
MARTIN FREIMAN                                     PO BX 2093                                                                                            NEW YORK            NY    10013‐0875
MARTIN G ANTHONY JR                                5289 N DYEWOOD                                                                                        FLINT               MI    48532‐3322
MARTIN G BAILEY                                    3562 PROSSER ROAD                                                                                     BRANCHPORT          NY    14418‐9742
MARTIN G BAUREIS                                   3630 TREMONT DR                                                                                       FLORISSANT          MO    63033‐3059
MARTIN G BLINDER MD CUST MISS D'LILAH BLINDER      50 IDALIA ROAD                                                                                        SAN ANSELMO         CA    94960‐2715
UGMA CA
MARTIN G GAMBLE                                    1625 E SIERRA VISTA DR                                                                                PHOENIX             AZ    85016‐1327
MARTIN G HALL                                      6558 HORNCLIFFE                                                                                       CLARKSTON           MI    48346‐3079
MARTIN G HELVESTON & JUNE C HELVESTON JT TEN       1020 MCDANIEL ST                                                                                      SUN CITY CENTER     FL    33573‐7055

MARTIN G LAGINA                                    121 E FRONT STE 200                                                                                   TRAVERSE CITY       MI    49684‐2570
MARTIN G LEDESMA                                   1021 S PARK                                                                                           SAGINAW             MI    48601‐2309
MARTIN G LILLIS                                    PO BOX 1379                                                                                           NEW MILFORD         CT    06776‐1379
MARTIN G LIPKOVICH                                 3245 QUENTIN DRIVE                                                                                    YOUNGSTOWN          OH    44511‐1203
MARTIN G MINARD & SHIRLEY A MINARD JT TEN          10440 PAMPLONA ST NW                                                                                  ALBERQUERQE         NM    87114‐5597
MARTIN G OTTOLINI CUST MEGHAN E OTTOLINI UGMA      5600 GRIFFITH RD                                                                                      GAITHERSBURG        MD    20882‐2025
MI
MARTIN G REDDICK                                   14092 STRATHMOOR                                                                                      DETROIT             MI    48227‐2860
MARTIN GEORGE ANTHONY JR & LORRAINE MARIE          5289 N DYEWOOD                                                                                        FLINT               MI    48532‐3322
ANTHONY JT TEN
MARTIN GEORGE DEEKS                                1304 SLOATSBERG RD                                                                                    RINGWOOD            NJ    07456‐1706
MARTIN GERAGHTY JR                                 56‐15 213 ST                                                                                          OAKLAND GDNS        NY    11364
MARTIN GINGELL                                     2525 WEST ORICE ROTH ROAD               APARTMENT 710                                                 GONZALES            LA    70737
MARTIN GOLDBERG                                    2 STARFIRE LANE                                                                                       WILLISTON PARK LI   NY    11596‐1030

MARTIN GOLDBERG                                    285 MINOT AVE                                                                                         AUBURN            ME      04210‐4854
MARTIN GOMEZ                                       433 F ST                                                                                              COLMA             CA      94014
MARTIN GONSER                                      21 ONTARIO ROAD                                                                                       BELLEROSE VILLAGE NY      11001‐4112

MARTIN GONZALEZ                                    141 PETTSWOOD DR                                                                                      HENDERSON           NV    89015‐3391
MARTIN GREENBAUM                                   5091 DOANOKE AVE                                                                                      IRVINE              CA    92604‐2406
MARTIN GROSS TR MARTIN GROSS TRUST UA 07/21/05     1602 ABACO DR APT A1                                                                                  COCONUT CREEK       FL    33066‐1441

MARTIN GRUBER & MRS ELEANOR GRUBER JT TEN 229 S                                                                                                          RIDGEWOOD           NJ    07450
IRVING TRUST
MARTIN H BIERS                                  38 GREENWICH HILLS DRIVE                                                                                 GREENWICH           CT    06831‐4951
MARTIN H CHELEKIS & MRS EMILIA CHELEKIS JT TEN  102 GREYMONT DRIVE                                                                                       MADISON             AL    35757‐8831

MARTIN H CORLEY JR                                 PO BOX 506                                                                                            MARLBORO            NY    12542‐0506
MARTIN H FRITZ TR MARTIN H FRITZ REVOCABLE TRUST   827 PARK AVE                                                                                          ACKLEY              IA    50601‐1648
UA 06/30/93
MARTIN H HOMMER                                    409 STAHL AVEE                                                                                        CORTLAND            OH    44410‐1141
MARTIN H KLASSEN                                   11471 FAUSSETT ROAD                                                                                   FENTON              MI    48430‐9521
MARTIN H KORFINE CUST JORDON KORFINE UGMA NY       5 GARRETT AVE                                                                                         TUCKAHOE            NY    10707

MARTIN H KRUEGER                                   8652 SUNSET COVE DR                                                                                   CLARKSTON           MI    48348‐2444
MARTIN H LONG                                      LE BAGUIER                              F83440 SEILLANS                        FRANCE
MARTIN H LONG                                      COBWEB COTTAGE JUBILEE DR               UPPER COLWALL        MALVERN           WORCS WR13 6DN GREAT
                                                                                                                                  BRITAIN
MARTIN H MAC DONALD                                1263 BAY HILL CT                                                                                      WATERFORD           MI    48327‐1480
MARTIN H POTTER                                    7959 S E CONDOR LN                                                                                    GALENA              KS    66739‐1666
MARTIN H RIDEAUX                                   3547 PIONEER DR                                                                                       BATON ROUGE         LA    70814‐5236
MARTIN H SCHNETTLER                                5013 TURNER PINE DRIVE                                                                                PRESCOTT            MI    48756‐9592
MARTIN H SOSNOWSKI                                 513 S DIBBLE AVE                                                                                      LANSING             MI    48917‐4229
MARTIN HASKELL                                     7910 SW 58TH CT                                                                                       SOUTH MIAMI         FL    33143‐5510
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MARTIN HERNANDEZ                                  2502 BABCOCK RD                       APT 104                                                  SAN ANTONIO      TX    78229‐4857
MARTIN HOOD TR MARTIN HOOD LIVING TRUST UA        1711 SHERWOOD BLVD                                                                             EUCLID           OH    44117‐1976
06/30/99
MARTIN HORNECK                                    1771 LINCOLNSHIRE DR                                                                           ROCHESTER HLS    MI    48309‐4529
MARTIN HORNECK                                    1771 LINCOLNSHIRE DR                                                                           ROCHESTER HLS    MI    48309‐4529
MARTIN HOVANASIAN                                 4 CLAIRE RD                                                                                    AMESBURY         MA    01913‐2102
MARTIN HOWANITZ                                   622 WIGWAM PARK RD                                                                             EAST STROUDSBURG PA    18301‐8816

MARTIN I FUCHS                                    43265 OVERVIEW PL                                                                              LEESBURG         VA    20176‐3681
MARTIN I KEMP & BETTIE A KEMP JT TEN              40 WINDING BROOK DR                                                                            SINKING SPRING   PA    19608‐9618
MARTIN I KOLENKO                                  1173 DODGE ROAD                                                                                GETZVILLE        NY    14068‐1386
MARTIN I LEVY                                     1CATALINA COURT                                                                                SUFFERN          NY    10901
MARTIN I SAROWSKI                                 1338 HAMPTON ROAD                                                                              GROSSE POINTE    MI    48236‐1302
MARTIN I SAROWSKI & PRUDENCE H SAROWSKI JT TEN    1338 HAMPTON RD                                                                                GROSSE POINTE    MI    48236‐1302
                                                                                                                                                 WOOD
MARTIN I WASHINGTON II                            9801 PICKFAIR DR                                                                               AUSTIN           TX    78750‐3900
MARTIN ITZKOWITZ                                  1435 PANDORA AVE                                                                               LOS ANGELES      CA    90024‐5164
MARTIN IZEN & MRS CAROLE IZEN JT TEN              421 DORAL DR                                                                                   CHERRY HILL      NJ    08003‐3319
MARTIN J ANDREWS                                  230 TEMPLE CREST TRL                                                                           FRANKLIN         TN    37069‐7151
MARTIN J BAUREIS & MRS LEONA A BAUREIS JT TEN     2904 N SHOREWOOD DR                                                                            MC HENRY         IL    60050‐2649

MARTIN J BELIK                                    455 BEDFORD RD                                                                                 BROOKFIELD       OH    44403‐9725
MARTIN J BENTSEN & JOAN F BENTSEN JT TEN          28 MARCH LANE                                                                                  WESTBURY         NY    11590‐6302
MARTIN J BISHOP                                   665 RENFREW                                                                                    LAKE ORION       MI    48362‐2667
MARTIN J CAPADONA                                 912 N 29 ST                                                                                    RENTON           WA    98056‐2159
MARTIN J CHICK                                    1000 WESLEY PINES RD                  # 306                                                    LUMBERTON        NC    28358‐2148
MARTIN J CLARK                                    PO BOX 315                            4510 WILSON GR                                           HALE             MI    48739‐0315
MARTIN J CLEARY                                   223 BROADWAY                                                                                   CARNEYS POINT    NJ    08069‐2304
MARTIN J DACHROEDEN                               15 ST GENEVIEVE CT                                                                             FLORISSANT       MO    63031‐8132
MARTIN J DASHER                                   1657 VIA CAMPO VERDE                                                                           SAN JOSE         CA    95120
MARTIN J DONAGHUE                                 2022 HULLHOUSE DR                                                                              SUN CITY CTR     FL    33573‐6393
MARTIN J DRINKA & JUDITH A DRINKA JT TEN          645 PARK CIR                                                                                   ELM GROVE        WI    53122‐2556
MARTIN J DUFF                                     3206 E FRANCES RD                                                                              CLIO             MI    48420
MARTIN J EISEN                                    1405 BIMNI DRIVE                                                                               CENTERVILLE      OH    45459‐5406
MARTIN J FERNBACK                                 6146 WEST BLVD                                                                                 YOUNGSTOWN       OH    44512‐2745
MARTIN J FISHER                                   BOX 366                                                                                        DECATURVILLE     TN    38329‐0366
MARTIN J FLANNERY JR TOD MARTIN M FLANNERY        1041 MOOSIC ST                                                                                 SCRANTON         PA    18505‐4548
SUBJECT TO STA TOD RULES
MARTIN J FOLEY                                    2370 SOMERSET BLVD                    APT 205                                                  TROY             MI    48084‐4228
MARTIN J FRANK CUST LORI BETH FRANK UGMA NJ       342 N 41ST STSW                                                                                ALLENTOWN        PA    18104‐4502

MARTIN J GALLAGHER III                            7329 WEST FITCH AVE                                                                            CHICAGO          IL    60631‐1012
MARTIN J GRUBER & ELEANOR C GRUBER JT TEN         229 S IRVING ST                                                                                RIDGEWOOD        NJ    07450‐5127
MARTIN J HEIMRICH                                 811 BRIARCLIFF DRIVE                                                                           SAN ANTONIO      TX    78213‐2207
MARTIN J HERZOG                                   408 N DEERTRACK TR                                                                             ST PETERS        MO    63376‐5907
MARTIN J HICAR JR                                 18800 WESTWOOD DR                     APT 313                                                  STRONGSVILLE     OH    44136‐3437
MARTIN J JAVORSKY                                 2419 STATE ROUTE 7                                                                             FOWLER           OH    44418‐9772
MARTIN J KENDRICK                                 BOX 4668                                                                                       LAFAYETTE        IN    47903‐4668
MARTIN J KUCHAR & GWENDOLYN T KUCHAR JT TEN       1405 BENTWOOD DR                                                                               LANSING          MI    48917‐2036

MARTIN J LAVELLE & BETSY LAVELLE JT TEN           366 SHADYWOOD DRIVE                                                                            DAYTON           OH    45415‐1243
MARTIN J LAVERY                                   PO BOX 454                                                                                     FOOTVILLE        WI    53537‐0454
MARTIN J LESNAK                                   7629 BUCHANAN DRIVE                                                                            BOARDMAN         OH    44512‐5704
MARTIN J LESTER                                   294 TAHOE DR                                                                                   BASSETT          VA    24055‐5809
MARTIN J LETSCHER                                 5218 ALVA AVE N W                                                                              WARREN           OH    44483‐1212
MARTIN J MANSU                                    625 TRENTON AVE                                                                                CINCINNATI       OH    45205‐2041
MARTIN J MC ANDREWS JR                            27 STONELEIGH RD                                                                               TRUMBULL         CT    06611‐3316
MARTIN J MC GREEVY                                105 RIVERVIEW AVE                                                                              NEPTUNE CITY     NJ    07753‐6433
MARTIN J MICEK                                    654 N HOLBROOK                                                                                 PLYMOUTH         MI    48170‐1406
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MARTIN J MILANO                                    475 N RIVERSIDE RD                                                                               HIGHLAND         NY    12528‐2622
MARTIN J MONAHAN                                   389 GRACE ST                                                                                     HOLBROOK         NY    11741‐2907
MARTIN J NAGEL                                     4390 INDIAN CAMP TRAIL                                                                           HOWELL           MI    48843‐7707
MARTIN J ORLOSKY                                   BOX 640                                                                                          VIENNA           OH    44473‐0640
MARTIN J ORLOSKY JR                                PO BOX 640                                                                                       VIENNA           OH    44473‐0640
MARTIN J PELTIER                                   22807 MILLENBACH                                                                                 ST CLAIR SHRS    MI    48081‐2618
MARTIN J QUINN TOD CHRISTIANE D PILOSSOF SUBJECT   28 DOROTHY LANE                                                                                  KINGS PARK       NY    11754
TO STA TOD RULES
MARTIN J RATHSBURG SR TR JOHN M RATHSBURG JR       9663 WESTWOOD CIRCLE                                                                             CLARKSTON        MI    48348‐5408
FAMILY TRUST UA 06/08/00
MARTIN J RAYMOND                                   5360 PENNY LN                                                                                    CUMMING          GA    30040‐0278
MARTIN J RAYMOND & CANDACE S RAYMOND JT TEN        5360 PENNY LN                                                                                    CUMMING          GA    30040‐0278

MARTIN J RIES                                      2503 ST RT #183                                                                                  ATWATER          OH    44201‐9580
MARTIN J RODMAN & IRMA M RODMAN TEN COM            7334 LA MANGA DR                                                                                 DALLAS           TX    75248‐3042
MARTIN J RUDINOFF                                  44 S DUPONT RD                          APT 111                                                  PENNS GROVE      NJ    08069‐1852
MARTIN J SALTIEL                                   1185 ROCKY RIDGE                                                                                 FLINT            MI    48532‐2126
MARTIN J SHEEHAN                                   18 STAR RD                                                                                       CAPE ELIZABETH   ME    04107‐2306
MARTIN J SIMEK                                     4112 W FARRAND RD                                                                                CLIO             MI    48420‐8243
MARTIN J SIMEK & CARRIE B SIMEK JT TEN             4112 W FARRAND RD                                                                                CLIO             MI    48420‐8243
MARTIN J SMELTZER                                  5763 JOYFIELD RD                                                                                 FRANKFORT        MI    49635‐9722
MARTIN J SOBLE                                     1257 GILHAM ST                                                                                   PHILADELPHIA     PA    19111‐5521
MARTIN J TESSMAR                                   53353 VAN DYKE AVE                      APT 4                                                    SHELBY TWP       MI    48316‐1800
MARTIN J TRONDSON                                  10553 PARDEE ROAD                                                                                TAYLOR           MI    48180‐3533
MARTIN J UNGER & KAREN F UNGER JT TEN              111 MATCH POINT DR                                                                               CHAPIN           SC    29036
MARTIN J VAN DYKE                                  4484 DENNIS WAY                                                                                  LAS VEGAS        NV    89121‐6650
MARTIN J WAJDA                                     888 SHAGGY BARK CT                                                                               GAYLORD          MI    49735‐8737
MARTIN J WALSH JR                                  8050 E COUNTY RD                                                                                 BENNETT          WI    54873‐8235
MARTIN J WALTER                                    PO BOX 1636                                                                                      NICE             CA    95464‐1636
MARTIN J WELCH                                     16 UNDERWOOD DRIVE                                                                               SARATOGA SPRINGS NY    12866‐2818

MARTIN J WESTMAN                                   1513 MARYWOOD DR                                                                                 ROYAL OAK        MI    48067‐1229
MARTIN J ZAREMBA                                   28495 CUMBERLAND                                                                                 FARMINGTN HLS    MI    48334‐5123
MARTIN J ZIMMERMAN                                 PO BOX 397                                                                                       EARLVILLE        IL    60518‐0397
MARTIN JAEGER                                      5 SPRUCE ST                                                                                      GARDEN CITY      NY    11530‐1720
MARTIN JAEGER & MRS ADELE J JAEGER JT TEN          5 SPRUCE ST                                                                                      GARDEN CITY      NY    11530‐1720
MARTIN JAMES KEEL                                  1713 PASADENA DR                                                                                 AUSTIN           TX    78757‐1841
MARTIN JAMES MALONE                                444 BYWOOD AVE                                                                                   SEBASTIAN        FL    32958‐4955
MARTIN JAN JANKIEWICZ                              442 WOLF LAKE RD                                                                                 ROCK HILL        NY    12775
MARTIN JAY GOLDSMITH                               126 WILLOW ST                                                                                    ROSLYN HEIGHTS   NY    11577‐1216
MARTIN JAY SLAYBAUGH                               1 PENENSULA AVE #6                                                                               SEA BRIGHT       NJ    07760‐2171
MARTIN JOHN PEKLO & LAURA J PEKLO JT TEN           5121 AINTREE                                                                                     ROCHESTER        MI    48306‐2711
MARTIN JOSEPH                                      1268 CAVALCADE DR                                                                                YOUNGSTOWN       OH    44515‐3840
MARTIN K MONTE                                     2133 EARLMONT                                                                                    BERKLEY          MI    48072‐1835
MARTIN K ZDYBEL                                    1126 LILAC AVE                                                                                   EAST LANSING     MI    48823‐5123
MARTIN KNEIBLHER & JUNE L KNEIBLHER JT TEN         2428 SERENA DR                                                                                   RENO             NV    89503‐2177
MARTIN KRULICK CUST BRIAN KRULICK UTMA NJ          11 ATRIUM WAY                                                                                    MANALAPAN        NJ    07726‐5019
MARTIN KRUSE                                       800 S VICTORIA AVE                                                                               VENTURA          CA    93009‐0001
MARTIN KUSY JR & WILLIAM KUSY JT TEN               6826 HANS CRT                                                                                    HOMOSASSA        FL    34446‐2682
MARTIN L BOWERS                                    PO BOX 731                                                                                       FREDERICK        MD    21705‐0731
MARTIN L BRAY                                      11123 OAK LN 5202                                                                                BELLEVILLE       MI    48111‐1486
MARTIN L CLAREY                                    15 GALWAY DR                                                                                     ROCHESTER        NY    14623‐5207
MARTIN L CROSS                                     8020 CO ROAD 2405                                                                                ARMSTRONG        MO    65230
MARTIN L CZERWONKA                                 40102 N FAITH LN                                                                                 ANTHEM           AZ    85086‐1691
MARTIN L DAVIES & LORETTA E DAVIES JT TEN          PO BOX 433                                                                                       BUFFALO          MO    65622‐0433
MARTIN L DENNING                                   1124 TISDALE AVE                                                                                 LANSING          MI    48910‐3526
MARTIN L FINCH                                     149 EAST ST                                                                                      ONEONTA          NY    13820‐1321
MARTIN L FREE                                      2222 MC EWAN STREET                                                                              SAGINAW          MI    48602‐3543
MARTIN L FUNKHOUSER                                108 GREEN STREET                                                                                 TIPTON           IN    46072‐1631
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Name                                             Address1                               Address2             Address3          Address4          City              State Zip

MARTIN L GROUND                                  411 BLOOMINGDALE                                                                                AKRON             NY    14001‐1145
MARTIN L GROVE                                   10448 N 42ND ST                                                                                 HICKORY CRNRS     MI    49060‐9512
MARTIN L HAGER                                   12751 NS 3590                                                                                   WEWOKA            OK    74884
MARTIN L HALL                                    16 WESTFIELD RD                                                                                 BEDFORD HILLS     NY    10507‐2537
MARTIN L HANEY                                   61 BONDS DR                                                                                     BOURBONNAIS       IL    60914‐1059
MARTIN L HECHINGER SR CUST MARTIN L HECKINGER JR 6968 HILLSLAND AVE                                                                              SAINT LOUIS       MO    63109‐1946
UGMA WI
MARTIN L HECHINGER SR CUST MELISSA R HECHINGER 6968 HILLSLAND AVE                                                                                SAINT LOUIS       MO    63109‐1946
UGMA WI
MARTIN L HOUSER JR                               8433 E POTTER ROAD                                                                              DAVISON           MI    48423‐8175
MARTIN L JURCZAK                                 9020 SW 209TH CIRCLE                                                                            DUNNELLON         FL    34431‐5735
MARTIN L KAHL                                    730 E PEARL STREET                                                                              MIAMISBURG        OH    45342‐2434
MARTIN L KERN JR                                 1721 COAL YARD RD                                                                               BETHLEHEM         PA    18015‐5811
MARTIN L LESHER                                  15 MILE ROAD                                                                                    BELLEVUE          MI    49021
MARTIN L MARKIEWICZ                              3509 CASCADE CIR                                                                                ROCHESTER HLS     MI    48307‐5172
MARTIN L MCMILLIN                                1802 SOUTHWOOD ST                                                                               GREENWOOD         IN    46143‐2970
MARTIN L MEDLEY JR                               848 N WASHINGTON                                                                                COOKEVILLE        TN    38501‐2674
MARTIN L METZGER                                 9882 MARBLE RD                                                                                  DELEVAN           NY    14042‐9464
MARTIN L OXENDINE                                39716 CAMP                                                                                      MT CLEMENS        MI    48045‐1718
MARTIN L ROSENTHAL                               1569 LIVINGSTON DR                                                                              HENDERSON         NV    89012‐2407
MARTIN L SHAW JR                                 4830 KENNETT PIKE #2104                                                                         WILMINGTON        DE    19807‐1850
MARTIN L SMITH                                   7979 RHANBUOY RD                                                                                SPRING HILL       FL    34606‐1952
MARTIN L STRAUB                                  13131 ISLAND LAKE RD                                                                            CHELSEA           MI    48118‐9505
MARTIN L TASSIN                                  1577 MARSHBANK DR                                                                               PONTIAC           MI    48340‐1073
MARTIN L THOMAS & CAROLE L THOMAS JT TEN         13272 LILLIAN LN                                                                                STERLING HTS      MI    48313
MARTIN L WALKER                                  1201 NORTON                                                                                     BURTON            MI    48529‐1156
MARTIN L WALSH                                   6959 CARLYLE CROSSING                                                                           WEST BLOOMFIELD   MI    48322‐3083

MARTIN L WILLIAMS                                6675 BUTTERFIELD DR                                                                             CHERRY VALLEY     IL    61016‐9143
MARTIN L ZBICIAK                                 809 MCKEIGHAN                                                                                   FLINT             MI    48507‐2856
MARTIN L ZELIN & MRS MYRNA L ZELIN JT TEN        6 KADEN CT                                                                                      NOVATO            CA    94947‐4613
MARTIN LAMBERT & KAREN LAMBERT JT TEN            1100 NORTH VIEW DR                     APT 16B                                                  HILLSBORO         OH    45133‐8589
MARTIN LANOFF CUST ETHAN GORDON LANOFF UTMA      6724 SAUGANASH                                                                                  LINCOLNWOOD       IL    60646‐3032
IL
MARTIN LAVECCHIA                                 5 CHATHAM SQ                                                                                    PARLIN            NJ    08859‐2318
MARTIN LAZAR & ROBIN LAZAR JT TEN                945 BISCAYNE PALM PL                                                                            SIMI VALLEY       CA    93065
MARTIN LEFCOWITZ                                 10705 MIDSUMMER DR                                                                              RESTON            VA    20191‐5101
MARTIN LIFTON CUST STEVEN LIFTON UGMA NY         5 PLUM BEACH POINT RD                                                                           SANDS POINT       NY    11050‐1313
MARTIN LINN                                      67‐66 108TH ST                                                                                  FOREST HILLS      NY    11375‐2974
MARTIN LUM & MRS JENNIFER LUM JT TEN             213 MT UNION ROAD                                                                               FAYETTEVILLE      PA    17222‐9562
MARTIN LUTHER KING JR CHRISTIAN CHURCH           11400 NORTH SHORE DR                   PO BOX 2489                                              RESTON            VA    20195‐0489
MARTIN LUTHER SCOTT                              5326 QUAILWOOD CT                                                                               CINCINNATI        OH    45238‐3619
MARTIN M BACHARACH                               390 PROSPECT AVE #3D                                                                            HACKENSACK        NJ    07601‐2547
MARTIN M BRADSHAW                                839 MC DONNELL DR                                                                               GAHANNA           OH    43230‐1619
MARTIN M CASTELLANOS & GLORIA S CASTELLANOS JT   1418 ACOSTA                                                                                     GRAND PRAIRIE     TX    75051‐4407
TEN
MARTIN M CLOONAN & BARBARA A CLOONAN JT TEN      212 OCEAN ST                                                                                    LYNN              MA    01902‐3150

MARTIN M O MEARA                                 875 ROLLING HILLS LN                   APT 1                                                    LAPEER            MI    48446‐4779
MARTIN M OSWALD                                  7610 SPRING GARDEN RD                                                                           PARMA             OH    44129‐3628
MARTIN M THAW                                    26 HIGHLAND BLVD                                                                                DIX HILLS         NY    11746‐6317
MARTIN M WHITE                                   13746 BRAMBOROUGH RD                                                                            HUNTERSVILLE      NC    28078‐3719
MARTIN M WILGERS                                 60 WOODHAVEN WOOD DR                                                                            THE WOODLANDS     TX    77380
MARTIN MAHR & MRS MARY MAHR JT TEN               2580 AUDREY TERR                                                                                UNION             NJ    07083‐4985
MARTIN MANOOGIAN                                 23 HAMPDEN ST                                                                                   INDIAN ORCH       MA    01151‐1411
MARTIN MARBERGER                                 6351 PINETREE DRIVE                                                                             UTICA             MI    48316‐3278
MARTIN MARTINUS                                  10209 LAKE SHORE DR                                                                             WEST OLIVE        MI    49460‐9554
MARTIN MARUSEWSKI                                44 MERRIMAC                                                                                     BUFFALO           NY    14214‐1109
MARTIN MAURICIO JR                               12241 HARTEL                                                                                    LIVONIA           MI    48150‐2332
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MARTIN MC GRATH & MRS RITA MAE MC GRATH JT TEN 8665 GOLFVIEW DR                                                                                    ORLAND PARK     IL    60462‐2852

MARTIN MENEZ                                       4544 N VENTURA AVE                                                                              VENTURA         CA    93001‐1128
MARTIN MICHAEL FRANKOVICH                          PO BOX 72                                                                                       MORANN          PA    16663‐0072
MARTIN N CULIK                                     2805 KOLBY COURT                                                                                BLOOMINGTON     IL    61704‐1513
MARTIN N FELMLEE                                   4848 W WESTGATE                                                                                 BAY CITY        MI    48706‐2634
MARTIN N HELFER                                    6 MORNINGSIDE PL                                                                                PORT MONMOUTH   NJ    07758‐1013

MARTIN N LIVINGSTON & CYNTHIA L LIVINGSTON JT TEN 6360 RIVER CREST DR                                                                              CLEMMONS        NC    27012‐7292

MARTIN N LIVINGSTON JR & CYNTHIA L LIVINGSTON JT   6360 RIVER CREST DR                                                                             CLEMMONS        NC    27012‐7292
TEN
MARTIN N SPOTH                                     172 FREDERICK RD                                                                                TONAWANDA       NY    14150
MARTIN N TERBUSH                                   PO BOX 37                                                                                       FOSTORIA        MI    48435‐0037
MARTIN N YOUNGBERG & MRS BARBARA YOUNGBERG         77 VAN NESS TERRACE                                                                             MAPLEWOOD       NJ    07040
JT TEN
MARTIN NADEL                                       368 BROOKDALE AVENUE                   NORTH YORK ON                          M5M 1R2 CANADA
MARTIN O KRONANDER                                 321 N LAKESHORE                                                                                 LOUISA          VA    23093‐7024
MARTIN OPPENHEIM & GLADYS L OPPENHEIM JT TEN       18512 NORTHWEST 23RD COURT                                                                      OPA LOCKA       FL    33056‐3235

MARTIN OTTOLINI CUST KATHERNE MARIE OTTOLINI       5600 GRIFFITH RD                                                                                GAITHERSBURG    MD    20882‐2025
UGMA MI
MARTIN OWEN ADELMAN                                250 CREEKSIDE PARK DR                                                                           ALPHARETTA      GA    30022‐8106
MARTIN P BERGIN                                    71 SWEETHAVEN CT                                                                                AMHERST         NY    14228
MARTIN P CHINN TR UA 07/09/08 MARTIN P CHINN       5152 MUSHROOM RD                                                                                DECKER          MI    48426
LIVING TRUST
MARTIN P CIESLAK                                   2465 HIGHRIDGE LN SE                                                                            GRAND RAPIDS    MI    49546
MARTIN P HUSSEY                                    9503 WEXCROFT DR                                                                                BRENTWOOD       TN    37027
MARTIN P INFANTE                                   232PARK DRIVE                                                                                   KENSINGTON      CT    06037‐3817
MARTIN P KNOWLTON & SHIRLEY A KNOWLTON JT TEN      2868 BOUGHNER LAKE RD                                                                           PRESCOTT        MI    48756‐9260

MARTIN P MARGOLIS                                  345 QUARRY ROAD                                                                                 WELLSVILLE      PA    17365‐9798
MARTIN P MC GREAL & SUSAN E MC GREAL JT TEN        P O BOX 107                                                                                     SPRINGS         PA    15562
MARTIN P PEARSON                                   125 W 43RD ST                                                                                   MARION          IN    46953‐4962
MARTIN P POVIRK & CAROLYN S POVIRK JT TEN          25330 FRANKLIN PK DR                                                                            FRANKLIN        MI    48025‐1213
MARTIN P RUDENSEY & CATHARINE B RUDENSEY JT TEN    3101 SE ASTER LN APT 1906                                                                       STUART          FL    34994‐5737

MARTIN P SACHS                                     #5 DANBURY RD                                                                                   WILTON          CT    06897‐4305
MARTIN PANCHULA                                    4971 PRATT RD                                                                                   ANN ARBOR       MI    48103
MARTIN PANTOJA JR                                  1020 W BAKER ST                                                                                 MIDLAND         MI    48640‐4356
MARTIN PAPKE                                       5294 CENTRAL AVE                                                                                PORTAGE         IN    46368‐2856
MARTIN PAUL MALFROID                               2168 CHESTNUT CIR                                                                               LAKE ORION      MI    48360‐2279
MARTIN PAUL WASSMER                                HUBERT‐MEISEL STR 25                   UBSTADT‐WEIHER                         76698 GERMANY
MARTIN PFEIFFER SOMMERBERGWEG 2                    78089 UNTERKIRNACH                                                            GERMANY
MARTIN POESCHEL                                    869 44TH AVENUE                                                                                 SAN FRANCISCO   CA    94121‐3307
MARTIN POLIN & CAROL B POLIN JT TEN                4450 NW 24TH AVE                                                                                BOCA RATON      FL    33431‐8408
MARTIN R ALVAREZ JR                                2023 BUNTING DR                                                                                 JACKSONVILLE    FL    32210‐2919
MARTIN R BARRETT                                   300 SILVERADO DRIVE                    APT 222                                                  STOUGHTON       WI    53589‐5472
MARTIN R BENDER CUST MICHAEL E BENDER UGMA CA      28105 CHAPULIN                                                                                  MISSION VIEJO   CA    92692‐2342

MARTIN R BONHAM                                    1100 BELCHER RD S                      LOT 110                                                  LARGO           FL    33771‐3411
MARTIN R CIRULIS                                   16099 SHUBERT RD                                                                                ALPENA          MI    49707‐8358
MARTIN R DUNN                                      2377 CHERYLANN DR                                                                               BURTON          MI    48519‐1327
MARTIN R FORSBERG                                  10 WENDELL ST                                                                                   CAMBRIDGE       MA    02138‐1844
MARTIN R FRANKEL CUST MARGAUX L FRANKEL UGMA       14 PATRICIA LANE                                                                                COS COB         CT    06807‐1734
MI
MARTIN R GOVEDNIK                                  700 LECLAR DR                                                                                   O'FALLON        MO    63366‐1639
MARTIN R HANNIFAN & DENISE HANNIFAN JT TEN         PO BOX 609                                                                                      YAMHILL         OR    97148‐0609
MARTIN R LOW                                       3050 STUMP HALL ROAD                                                                            COLLEGEVILLE    PA    19426‐1409
                                              09-50026-mg              Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
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MARTIN R MCGINNIS                                963 FORD RD                                                                                       CARLETON          MI    48117‐9157
MARTIN R RIENDEAU                                PO BOX 575                                                                                        CLIO              MI    48420‐0575
MARTIN R RUTLEDGE                                43 GENERAL GREENE AV                                                                              TRENTON           NJ    08618‐5517
MARTIN R SANTALUCIA                              108 WHITEHEAD AVE                                                                                 SAYREVILLE        NJ    08872‐1139
MARTIN RIES                                      1845 CHAPELWOOD BLVD                                                                              MANSFIELD         OH    44907‐2205
MARTIN ROBERT BOATMAN & DIANE LYNN BOATMAN       19410 GOLDWIN                                                                                     SOUTHFIELD        MI    48075
JT TEN
MARTIN ROBERT MADSEN                             5 WEST CENTRAL ROAD UNIT 404                                                                      MOUNT PROSPECT    IL    60056‐2473

MARTIN ROMBERGER                                 429 W DRAYTON                                                                                     FERNDALE          MI    48220‐2734
MARTIN ROSEN & SELMA ROSEN JT TEN                84 RADCLIFFE RD                                                                                   PLAINVIEW         NY    11803‐1217
MARTIN ROSENBERG                                 7 BLYDENBURG CT                                                                                   NORTHPORT         NY    11768‐2858
MARTIN ROSENBLUM                                 2765 E 65TH ST                                                                                    BROOKLYN          NY    11234‐6825
MARTIN RUSSELL METTEE & CHERIE R METTEE JT TEN   221 DIVISION AVE                                                                                  TIMONIUM          MD    21093‐5345

MARTIN S BESTEMAN                                4185 MINNETONKA DRIVE                                                                             LINDEN            MI    48451‐9429
MARTIN S BONAREK & BERNICE N BONAREK JT TEN      1020 PINEWOOD CT                                                                                  BRIGHTON          MI    48116‐2427

MARTIN S COHEN & DOLORES COHEN SCHERR JT TEN     3520 LYNNE HAVEN DR                                                                               BALTIMORE         MD    21244‐3659

MARTIN S COHEN & SONIA COHEN JT TEN              20924 VALLEY FORGE CIRCLE                                                                         SONIA COHEN       PA    19406‐1195
MARTIN S CSUTORA                                 9414 NEWCASTLE BLVD                                                                               SHREVEPORT        LA    71129‐4840
MARTIN S FICARO                                  6750 SALEM RD                                                                                     PLYMOUTH          MI    48170‐5038
MARTIN S HERZIG                                  12251 CASTLE PINES RD                                                                             BOYNTON BEACH     FL    33437‐6019
MARTIN S MCGUANE                                 7 COZY ST                                                                                         ENFIELD           CT    06082
MARTIN S ROSENFELD                               1601 WEST LAKES PKWY SUITE 300                                                                    WEST DES MOINES   IA    50266‐8230

MARTIN S SMALE                                   559 NE GERALDINE DR                                                                               HILLSBORO       OR      97124‐2173
MARTIN S STAUB                                   92 APPLE CREEK LA                                                                                 ROCHESTER       NY      14612‐3444
MARTIN SATZ CUST JEFFREY W SATZ U/THE N Y        8688 SAN ANDROS                                                                                   WEST PALM BEACH FL      33411‐5516
UNIFORM GIFTS TO MINORS ACT
MARTIN SCHELDE                                   1415 PIERCE TERR                                                                                  COLUMBIA HEIGHTS MN     55421‐1848

MARTIN SCHMAUDER & MRS SANDRA P SCHMAUDER JT 244 PROV NL TKE                                                                                       NORTH             CT    06359
TEN                                                                                                                                                STONINGTON
MARTIN SCHWARTZ                                196 N CREST PL                                                                                      LAKEWOOD          NJ    08701
MARTIN SEFRANEK                                4873 W LAKE ROAD                                                                                    BURT              NY    14028‐9760
MARTIN SEIDENBERG & MRS GRAYCE B SEIDENBERG JT GREENBRIAR VILLAGE                     APT#319F             201 S HIGH POINT RD                     MADISON           WI    53717‐2058
TEN
MARTIN SHUSTER CUST BENJAMIN SHUSTER UGMA TN 2213 BANDYWOOD DR                                                                                     NASHVILLE         TN    37215‐2704

MARTIN SINGER & MRS ANITA SINGER                 100 COUNTRY LANE                                                                                  CLIFTON           NJ    07013‐3833
MARTIN SMITH                                     ADAM OPEL AG                         IPC 86‐01            BAHNHOFSPLATZ 1       GERMANY
MARTIN SMREK                                     1597 STONE MANSION DR                                                                             SEWICKLEY         PA    15143‐8665
MARTIN SPRECHER & FAIGIE SPRECHER JT TEN         2723 QUENTIN RD                                                                                   BROOKLYN          NY    11229‐2505
MARTIN SUCHOFF CUST KAREN G SUCHOFF UGMA NY      160 WEST END AVE APT 21H                                                                          NEW YORK          NY    10023‐5612

MARTIN T ABRAMSON & MRS SHARON S ABRAMSON JT     124 FIG DR                                                                                        DIX HILLS         NY    11746‐5657
TEN
MARTIN T EVANS & RITA K EVANS TR UA 12/17/86     6740 W TOPEKA DRIVE                                                                               GLENDALE          AZ    85308‐5705
MARTIN T EVANS TRUST
MARTIN T FURGAL                                  113 CARLTON DR                                                                                    NORTH SYRACUSE    NY    13212‐3806
MARTIN T HEATH                                   5510 HOUSTON RD                                                                                   EATON RAPIDS      MI    48827‐9503
MARTIN T HETHERINGTON                            984 ROSEWOOD AVE                                                                                  EAST LANSING      MI    48823‐3127
MARTIN T HOLLERN                                 9881 SOUTH GILMORE ROAD                                                                           BLANCHARD         MI    49310‐9546
MARTIN T JONES                                   102 E PIKE ST                                                                                     LAURA             OH    45337‐9746
MARTIN T LIGHT                                   14707 LEADWELL ST                                                                                 VAN NUYS          CA    91405‐1810
MARTIN T SCHOLL                                  34 HAMILTON BLVD                                                                                  KENMORE           NY    14217‐1908
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MARTIN T ZDANOWICZ                              PO BOX 4                                                                                      WASHINGTON       PA    18977‐0004
                                                                                                                                              CRSSING
MARTIN TAHTINEN                                 3190 E BALDWIN RD                                                                             GRAND BLANC      MI    48439‐7375
MARTIN TARKEN CUST LILLIAN TARKEN U/THE PA      2201 TREMONT ST                      APT B212                                                 PHILADELPHIA     PA    19115‐5082
UNIFORM GIFTS TO MINORS ACT
MARTIN TENCER                                   7799 GREAT GLEN CIR                                                                           DELRAY BEACH     FL    33446‐3604
MARTIN TENDLER & MARY TENDLER JT TEN            3 LACHMAND COURT                                                                              OLD TAPPAN       NJ    07675‐7237
MARTIN TUCHMAN                                  BOX 582                                                                                       KINGSTON         NJ    08528
MARTIN U KRONITIS                               3469 TREE LANE                                                                                N OLMSTED        OH    44070‐1682
MARTIN UNIVERSAL                                174 DELAWANNA AVE                                                                             CLIFTON          NJ    07014‐1550
MARTIN V ASCHERL                                1980 PASEO COLINA                                                                             EL PASO          TX    79936‐3735
MARTIN V B BOSTETTER JR                         200 N FAIRFAX ST                                                                              ALEXANDRIA       VA    22314‐2641
MARTIN V B BOSTETTER JR TR UW MARTIN V B        200 N FAIRFAX ST                                                                              ALEXANDRIA       VA    22314‐2641
BOSTETTER
MARTIN V BURKE & PATRICIA ANNE BURKE JT TEN     202 19TH ST SW                                                                                AUSTIN           MN    55912‐1537
MARTIN V FERER                                  900 VANDALIA ROAD                                                                             MORGANTOWN       WV    26501‐6250
MARTIN V FULCO                                  1050 S ADDISON                                                                                BENSENVILLE      IL    60106‐3302
MARTIN VALLEE                                   1412 BROOKWOOD                                                                                FLINT            MI    48503‐2751
MARTIN VOGEL                                    555 MOUNTAIN AVENUE                                                                           NORTH CALDWELL   NJ    07006‐4568

MARTIN VOSCH JR                                 5077 BIRCHCREST AVE                                                                           YOUNGSTOWN       OH    44515‐3920
MARTIN W CAULFIELD                              146 WOODED LN                                                                                 VILLANOVA        PA    19085‐1449
MARTIN W CLEARWATER                             6075 E COUNTY RD 200 N                                                                        AVON             IN    46123‐8541
MARTIN W DAWES                                  1010 ‐ 121 AGNES ST                  MISSISSAUGA ON                         L5B 2H4 CANADA
MARTIN W ENGELBRECHT                            535 OLD WOODWARD AVENUE                                                                       BIRMINGHAM       MI    48009‐3868
MARTIN W GLASER                                 320 E VIENNA ST                                                                               CLIO             MI    48420‐1425
MARTIN W GRAFF                                  80 ROBERTS RD                                                                                 MARLBOROUGH      CT    06447‐1454
MARTIN W KEUSCH JR                              1209 WOODBINE AVENUE                                                                          LANSING          MI    48910‐2674
MARTIN W KWIATKOWSKI                            3351 LIGHTHOUSE POINT LANE                                                                    JACKSONVILLE     FL    32250‐2343
MARTIN W LITTLETON JR                           4797 SOUTH 5TH WEST                                                                           IDAHO FALLS      ID    83404‐7918
MARTIN W MEEKER                                 500 LEXINGTON AVE                                                                             MANSFIELD        OH    44907‐1582
MARTIN W MEYERS                                 9469 M 68‐33                         PO BOX 61                                                TOWER            MI    49792‐0061
MARTIN W PETERSON                               PO BOX 86                                                                                     CHARLOTTE        MI    48813‐0086
MARTIN W PIATT                                  347 W SILVERADO CT                                                                            BELLINGHAM       WA    98226‐7467
MARTIN W POLLOCK                                6023 KENSINGTON WAY                                                                           IMPERIAL         MO    63052‐2369
MARTIN W STRELECKI                              1650 CONNELL                                                                                  ORTONVILLE       MI    48462‐9767
MARTIN W SZALKIEWICZ                            34266 ZIMMER                                                                                  STERLING HEIG    MI    48310‐6063
MARTIN W THOMAS                                 301 19TH AVENUE                                                                               PATERSON         NJ    07504‐1732
MARTIN W WERSCHKY JR                            5054 W BRISTOL RD                    STE B                                                    FLINT            MI    48507‐2952
MARTIN W WRIGHT                                 3379 DESOTO BLVD                                                                              PALM HARBOR      FL    34683‐1908
MARTIN WARSHAUER & MRS SUE WARSHAUER JT TEN     160 LAKE HILLS RD                                                                             PINEHURST        NC    28374‐9628

MARTIN WASKOWSKI                                421 N KENWOOD                                                                                 ROYAL OAK        MI    48067‐2309
MARTIN WELLS ASTETE                             AV POINCARE 686 ARGUELLO             5147 CORDORA                           ARGENTINA
MARTIN WENGER & MRS RITA WENGER JT TEN          5135 SHOSHONE AVE                                                                             ENCINO           CA    91316‐2558
MARTIN WENGER CUST NEIL S WENGER UGMA CA        21 OREN                              OMER ISRAEL                            84965 ISRAEL
MARTIN WILLIAM BALZER                           1121 VAN STREET                                                                               ELGIN            IL    60123‐6016
MARTIN WRIGHT SAMPSON 3RD                       44 S DEEP LAKE RD                                                                             NORTH OAKS       MN    55127‐6321
MARTIN ZIMMERMAN CUST WENDY ZIMMERMAN           15 APPLEBY DR                                                                                 BEDFORD          NY    10506‐1340
UGMA NY
MARTIN ZUCKERMAN                                4 VALLEY VIEW COURT                                                                           PLACITAS         NM    87043‐9232
MARTINA A PARAUDA                               7 MONICA DR                                                                                   EDISON           NJ    08820‐3210
MARTINA A RAMOS                                 1024 ORMOND AVE                                                                               DREXEL HILL      PA    19026‐2618
MARTINA BUCHHAUSER                              146 SAND HILL CI                                                                              MENLO PARK       CA    94025‐7104
MARTINA COSTA                                   70 LAROCCA AVE                       WOODBRIDGE ON                          L4H 2B7 CANADA
MARTINA F ADAMS                                 8681 W ST JOE HWY                                                                             LANSING          MI    48917‐8809
MARTINA LEA STIMMEL                             ATTN MARTINA STIMMEL DYER            PO BOX 489                                               SUN CITY         CA    92586‐0489
MARTINA TRUESE                                  2464 DORCHESTER RD                                                                            UNION            NJ    07083‐5022
MARTINE JOELLE GUEZ                             1600 PARKER AVE APT 6A                                                                        FORT LEE         NJ    07024‐7004
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MARTINEZ HAZDAY & ASSOC                         C/O M GREGORY MARTINEZ               PO BOX 3044                                              COPPELL         TX    75019‐7044
MARTINEZ J FERNANDEZ                            5121 KENILWORTH AVE                                                                           BALTIMORE       MD    21212‐4335
MARTINO GIOVAGNOLI                              3649 LENORE                                                                                   MELVINDALE      MI    48122‐1165
MARTINO SCATURRO                                6 ACKEN DR                                                                                    CLARK           NJ    07066‐2944
MARTINUS H EIROSIUS                             205 E POTTER AVE                                                                              LANSING         MI    48910‐7428
MARTRENIA LEE                                   208 SHORE CREST CIRCLE                                                                        CARRIERE        MS    39426
MARTY A DONOVAN                                 3692 S SPRUCE ST                                                                              DENVER          CO    80237‐1358
MARTY ALLEN SANCHEZ CUST HAVIER‐ALI S SANCHEZ   71 SMITH HILL RD                                                                              AIRMONT         NY    10952‐4131
UGMA NY
MARTY ALLEN SANCHEZ CUST M ADIN SANCHEZ UGMA    71 SMITH HILL RD                                                                              AIRMONT         NY    10952‐4131
NY
MARTY B GRETTENBERGER 3165 ORCHARD DRIVE NE     3165 ORCHARD DR NE                                                                            N FT MYERS      FL    33917‐1566

MARTY C AYERS                                   3051 LITTLE RIVER RD                                                                          MADISON         GA    30650‐5752
MARTY D PETERSON                                5408 WELLINGTON CIRCLE                                                                        MC FARLAND      WI    53558‐8937
MARTY D TATUM                                   4185 GREGORY RD                                                                               ORION           MI    48359‐2027
MARTY DALE HARPER                               582 CHEROKEE DRIVE                                                                            NORTH AUGUSTA   SC    29841‐4614
MARTY EMILY WILL                                3735 KNOX AVE N                                                                               MINNEAPOLIS     MN    55412‐1947
MARTY G JORDAN                                  6171 BERT KOUNS INDUSTRIAL LOOP      APT E103                                                 SHREVEPORT      LA    71129‐5009
MARTY GIROLA                                    4915 ROCKY MANOR LANE                                                                         KATY            TX    77449‐7545
MARTY J BROWN                                   2391 BATTLE DRIVE                                                                             VILLA RICA      GA    30180‐8012
MARTY J PEET                                    1163 SUNVIEW DR                                                                               SAINT JOHNS     MI    48879‐2462
MARTY J SHELDON                                 15150 SHINGLE OAK RD                                                                          CHARLOTTE       NC    28227‐7688
MARTY J STERRETT & JENNIFER A STERRETT JT TEN   5 BURNLEY AVE                        NORTH TURRAMURRA     NSW               2074 AUSTRALIA
MARTY L EMERSON                                 15374 SANDERSON RD                   PO BOX 291                                               CAPSHAW         AL    35742‐0291
MARTY L STARKEY                                 1609 COUNTY ROAD 129                                                                          WEDOWEE         AL    36278‐7220
MARTY L WAY                                     415 CAMBRIDGE ST                                                                              SAN FRANCISCO   CA    94134‐1325
MARTY MASTERS                                   CMR 426                              BOX 115                                                  APO             AE    09613
MARTY R MEMMER                                  13303 RITA ST                                                                                 PAULDING        OH    45879‐8865
MARTY RANKIN CUST SHELBY RANKIN UTMA MI         4900 HALBERD ST                                                                               COMMERCE        MI    48382‐2615
MARTY V FOWLER                                  606 WILLOW WOOD                                                                               ST CHARLES      MO    63303‐6429
MARUF SALMACI                                   7000 MEAD                                                                                     DEARBORN        MI    48126‐1739
MARUTHI KANTAMNENI CUST RAJE KANTAMNENI         1759 THRUSH DR                                                                                WATERLOO        IA    50701‐9269
UGMA WI
MARVA C BURNS                                   ATTN MARVA C BURNS POPE              29875 RAMBLING RD                                        SOUTHFIELD      MI    48076‐5729
MARVA C BURNS‐POPE                              29875 RAMBLING RD                                                                             SOUTHFIELD      MI    48076‐5729
MARVA CONLEY                                    105 HIGHLAND GATE DR                                                                          GRAY            TN    37615
MARVA D MANNINGS                                5894 VILLAGE LOOP                                                                             FAIRBURN        GA    30213‐4642
MARVA D MANNINGS CUST JERELL R CLARK UTMA GA    5894 VILLAGE LOOP                                                                             FAIRBURN        GA    30213‐4642

MARVA G TOWLES                                  705 CENTRAL                                                                                   BELOIT          WI    53511‐5513
MARVA I STEVENS TR MARVA I STEVENS TRUST UA     3701 CREEKSIDE DR                                                                             TRAVERSE CITY   MI    49684‐7244
10/28/94
MARVA J CUNNINGHAM                              1334 W WEBSTER AVE                   APT F                                                    CHICAGO         IL    60614‐3171
MARVA J HUDSON                                  PO BOX 137                                                                                    FLINT           MI    48501‐0137
MARVA J JOHNSON                                 1134 PATRICIA DR                                                                              GIRARD          OH    44420
MARVA J KIRBY                                   BOX 662                                                                                       PAONIA          CO    81428‐0662
MARVA J MCCULLOUGH                              18506 CONCORD                                                                                 DETROIT         MI    48234‐2911
MARVA L BROWNER                                 ATT MARVA L JAMES                    2011 ORLEANS AVE                                         DETROIT         MI    48207‐2738
MARVA L GRESHAM                                 1130 LEXINGTON AVENUE                                                                         DAYTON          OH    45407‐1607
MARVA LEE HARRIS                                1837 OAK BROOK CIR                                                                            FLINT           MI    48507
MARVALYN CAROL KNIGHT                           P O BOX 252                          78 NE 122 ST                                             CROSS CITY      FL    32628
MARVEL C SCHREIBER                              PO BOX 114                                                                                    MULLIKEN        MI    48861‐0114
MARVEL F WIRTH & JULIE K WIRTH JT TEN           9345 SW SCENIC DR T ERRACE                                                                    PORTLAND        OR    97225‐4125
MARVELL CARTER                                  22424 W 12 MILE RD                                                                            SOUTHFIELD      MI    48034‐7201
MARVELL HOLIFIELD                               2438 GREENE 625 RD                                                                            PARAGOULD       AR    72450‐8504
MARVEN R OLSON                                  832 PHELPS ST                                                                                 STERLING        CO    80751‐3536
MARVETTA R HOWARD                               1318 DEACON                                                                                   DETROIT         MI    48217‐1685
MARVETTA R NEWBERN BONDS                        2313 LEON AVE                                                                                 LANSING         MI    48906‐3643
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MARVIN A ANDERSON & JUNE E ANDERSON JT TEN         65 STRAND CIR                                                                                 CROMWELL       CT    06416‐2138

MARVIN A BOSWORTH                                  12464 HOGAN ROAD                                                                              GAINES         MI    48436‐9776
MARVIN A COMBS                                     12512 13TH ST                                                                                 GRANDVIEW      MO    64030‐1727
MARVIN A EICHEN                                    601 ELVIRA AVE                                                                                FAR ROCKAWAY   NY    11691‐5404
MARVIN A FORRESTER                                 2012 E 9TH ST                                                                                 ANDERSON       IN    46012‐4210
MARVIN A KISER                                     915 E NAOMI STREET                                                                            RANDLEMAN      NC    27317‐9476
MARVIN A LYONS                                     6984 DEER COVE DR SE                                                                          CALEDONIA      MI    49316‐7758
MARVIN A RAETZ                                     6700 REAMS ROUTE 1                                                                            ALANSON        MI    49706‐9625
MARVIN A ROBESON                                   5771 OAK VALLEY ROAD                                                                          KETTERING      OH    45440‐2325
MARVIN A SIMMONS                                   5346 WEBB RD                                                                                  YOUNGSTOWN     OH    44515‐1155
MARVIN A SMITH                                     405 WATERFORD LN                                                                              AVON           IN    46123‐8776
MARVIN A STOLL                                     6303 GULL LAKE DR                                                                             DANBURY        WI    54830‐4409
MARVIN A STRIETER                                  936 JOHNSON AVE                                                                               FLINT          MI    48532‐3843
MARVIN A YAMONACO SR                               4815 STONER HILL RD                                                                           DANSVILLE      NY    14437‐9162
MARVIN ANDREWS                                     1113 INDALE PLACE SW                                                                          ATLANTA        GA    30310‐3720
MARVIN ARNETT                                      2145 MARKER AVE                                                                               DAYTON         OH    45414‐4029
MARVIN ARNOLD GUTMANN                              2283 E 18TH ST                                                                                BROOKLYN       NY    11229‐4450
MARVIN B MICHAEL JR                                102 TAMMY LANE                                                                                MARTINSBURG    WV    25401‐5201
MARVIN BARNES                                      18620 RESTOR RD                                                                               CLEVELAND      OH    44122‐6915
MARVIN BARTFELD & ARLENE P BARTFELD JT TEN         121 WEBSTER ST                                                                                IRVINGTON      NJ    07111‐2822
MARVIN BAUERMEISTER                                1931 RESERVATION DR                                                                           FORT WAYNE     IN    46819‐2041
MARVIN BELL                                        22370 INNSBROOK DR                                                                            NORTHVILLE     MI    48167‐9322
MARVIN BENEDETTI                                   10056 SILVER LAUREL WAY                                                                       ORLANDO        FL    32832
MARVIN BERG                                        3397 BELTAGH AVE                                                                              WANTAGH        NY    11793‐2557
MARVIN BRITT JR                                    7100 N JENNINGS RD                                                                            MOUNT MORRIS   MI    48458‐9482
MARVIN BROTT                                       15401 ARCHWOOD ST                                                                             VAN NUYS       CA    91406‐6305
MARVIN BUECHLER                                    1108 HICKORY LANE                                                                             KOKOMO         IN    46901‐6421
MARVIN BUENEMAN & MILDRED BUENEMAN JT TEN          1434 SAND RUN RD                                                                              TROY           MO    63379‐3434

MARVIN BUNDRAGE                                    3990 JAILETTE RD                                                                              COLLEGE PARK   GA    30349‐1867
MARVIN C BLEVINS                                   334 WINTERHAM DR                                                                              ABINGDON       VA    24211‐3800
MARVIN C BOLES TR MARVIN C BOLES LIVING TRUST UA   24370 EASTWOOD VILLAGE CT            APT 105                                                  CLINTON TWP    MI    48035
12/14/93
MARVIN C BRALLEY                                   1620 RUE ROYALE S                                                                             KOKOMO         IN    46902‐6022
MARVIN C COPENHAVER                                1540 S COOLIDGE                                                                               HARRISON       MI    48625‐9545
MARVIN C CRESSEY                                   1136 STATE PARK RD                                                                            LEWISTON       MI    49756‐8115
MARVIN C GABALSKI & SOPHIA A GABALSKI JT TEN       PO BOX 1447                                                                                   DUNLAP         TN    37327‐1447

MARVIN C GILBERT                             11996 WASHINGTON ST                                                                                 MT MORRIS      MI    48458‐1508
MARVIN C HIRSH & DANIEL S HIRSH JT TEN       C/O PERFECTO PRODUCTS MFG                  1800 MARIETTA BLVD                                       ATLANTA        GA    30318‐2869
MARVIN C MARLOW                              2517 OLD PEACHTREE RD                                                                               DULUTH         GA    30097‐5145
MARVIN C MAX                                 17110 E 9 MILE RD 29                                                                                EASTPOINTE     MI    48021‐4000
MARVIN C PARKER                              1010 WEST BUFFALO STREET                                                                            WARSAW         NY    14569‐9565
MARVIN C SCHENKELBERG                        215 SOUTH MAPLE STREET                                                                              CARROLL        IA    51401‐3125
MARVIN C WALENTOWSKI                         2030 WOODLAND DRIVE                                                                                 TEMPERANCE     MI    48182‐1321
MARVIN C WALLACE                             2455 LISBON DR                                                                                      COLUMBUS       OH    43232‐4544
MARVIN C WARNEZ                              54128 POCAHONTIS                                                                                    UTICA          MI    48315‐1262
MARVIN C WARNEZ & PATRICIA A WARNEZ JT TEN   54128 POCAHONTIS                                                                                    UTICA          MI    48315‐1262
MARVIN CAMRAS TR UA 06/30/94 MARVIN CAMRAS   560 LINCOLN AVE                                                                                     GLENCOE        IL    60022‐1420
TRUST
MARVIN CARL OVERMAN                          310 INDIAN TRAIL COURT                                                                              MARTINEZ       GA    30907‐3722
MARVIN CHARLES AUKERMAN & YVONNE AUKERMAN JT 4061 OLD SALEM RD                                                                                   ENGLEWOOD      OH    45322‐2631
TEN
MARVIN CHATMAN                               1455 NE 136TH ST                                                                                    NO MIAMI       FL    33161‐3509
MARVIN COLE                                  605 WINCHESTER RD                                                                                   NEW CONCORD    KY    42076‐9111
MARVIN COOPER & LAURA WINTON JT TEN          16633 VENTURA BLVD                         SUITE 735                                                ENCINO         CA    91436‐1833
MARVIN D AMES                                BOX 42                                                                                              CROSSWICKS     NJ    08515‐0042
MARVIN D ATCHISON                            409 LOCUST RD                                                                                       BEDFORD        IN    47421‐7635
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Name                                            Address1                              Address2             Address3          Address4          City             State Zip

MARVIN D BARBER                                 1344 AUDREY ST                                                                                 BURTON           MI    48509‐2103
MARVIN D BARROWS                                2929 HEMLOCK PLACE                                                                             LANSING          MI    48910‐2538
MARVIN D BUNCH & CAROL J BUNCH JT TEN           1325 FIFTH ST                                                                                  SPEARFISH        SD    57783‐1410
MARVIN D CROSS                                  PO BOX 797                                                                                     AGUILAR          CO    81020‐0797
MARVIN D CUNDIFF                                5936 BROWNSVILLE ROAD                                                                          BROWNSVILLE      KY    42210‐9438
MARVIN D DUCHARME                               R 2 BOX 348                                                                                    SOLSBERRY        IN    47459‐8206
MARVIN D FOREMAN                                17372 ROWE ST                                                                                  DETROIT          MI    48205‐3122
MARVIN D FRAKER                                 2318 SPRUCE                                                                                    KANSAS CITY      MO    64127‐4505
MARVIN D GEPHART                                PO BOX 305                                                                                     VAN BUREN        IN    46991‐0305
MARVIN D HESHELMAN                              RR 4 BOX 438                                                                                   BLOOMFIELD       IN    47424‐9504
MARVIN D HOOPS                                  35 FARNESE COURT                                                                               LEBANON          OH    45036‐9023
MARVIN D HROMADA & MARJORIE I HROMADA JT TEN    1623 SW WITHDEAN RD                                                                            TOPEKA           KS    66611‐1634

MARVIN D JAMIERSON                              11908 E 63 TERRACE                                                                             KANSAS CITY      MO    64133‐7525
MARVIN D KASTEL                                 10030 WHITEFORD                                                                                OTTAWA LAKE      MI    49267‐9727
MARVIN D KRUEGER & NORMA KRUEGER & PAMELA G     3215 GREENWOOD ST                                                                              ROCHESTER        MI    48309
BELL JT TEN
MARVIN D KUIPERS                                519 E 2200 NORTHROAD                                                                           DANFORTH         IL    60930‐6044
MARVIN D KUIPERS CUST DAVID Q KUIPERS UGMA IL   2154 N 400 EAST RD                                                                             DANFORTH         IL    60930‐6005

MARVIN D LAMB                                   1145 WEBB RD                                                                                   WILMINGTON       OH    45177‐9234
MARVIN D LEE                                    5960 FARM ROAD 905                                                                             PARIS            TX    75462‐8876
MARVIN D MALCZEWSKI                             30041 ALETA CIRCLE                                                                             WARREN           MI    48093‐3030
MARVIN D MCBRAYER                               406 ANDOVER LN                                                                                 BALLWIN          MO    63011‐2503
MARVIN D MCELWAIN                               600 S WILLIAM ST                                                                               LEE'S SUMMIT     MO    64081‐2622
MARVIN D MILLER                                 816 MILLERTOWN RD                                                                              TEMPLE           GA    30179‐2936
MARVIN D NELSON JR                              2811 N TYLER RD                                                                                WICHITA          KS    67205‐8713
MARVIN D NICHOLS                                6151 WILLARD                                                                                   BIRCH RUN        MI    48415‐8609
MARVIN D RANTA                                  20227 MILBURN                                                                                  LIVONIA          MI    48152‐1618
MARVIN D SEVERN                                 11587 JOHNSTONE                                                                                NEW LOTHRUP      MI    48460‐9624
MARVIN D SHANK                                  3005 LEE HIGHWAY                                                                               MOUNT SIDNEY     VA    24467
MARVIN D SUTTON & GRACE W SUTTON TEN ENT        RFD 3 BOX 122A                                                                                 SMITHFIELD       PA    15478‐9803
MARVIN D WEBB                                   290 W KENNETT                                                                                  PONTIAC          MI    48340‐1724
MARVIN D WOLF                                   36411 BENARD DRIVE                                                                             RICHMOND         MI    48062‐1232
MARVIN DEAN PETERS                              5278 GREEN POINT DR                                                                            STONE MOUNTAIN   GA    30088‐3811

MARVIN DEWAYNE HEATH                            1116 LAYTON RD                                                                                 ANDERSON         IN    46011‐1528
MARVIN DEWEY GADDIS                             361E COUNTY ROAD 650 NORTH                                                                     SPRINGPORT       IN    47386‐9733
MARVIN DEXTER                                   2021 HOLCOMB STREET                                                                            SAGINAW          MI    48602‐2728
MARVIN DIXON                                    519 W STEWART ST                                                                               DAYTON           OH    45408‐2050
MARVIN DRUBE                                    3620 PINE TREE CT                                                                              TOLEDO           OH    43606‐1125
MARVIN DWAYNE DEBOSE                            409 QUAIL ROOST LANE                                                                           ARLINGTON        TX    76002‐3367
MARVIN E BLACK CUST LAURI BLACK U/THE PA        210 W RITTENHOUSE SQ APT 2102                                                                  PHILADELPHIA     PA    19103‐5775
UNIFORM GIFTS TO MINORS ACT
MARVIN E CHAMBERS                               3622 EAST 300 NORTH                                                                            ANDERSON         IN    46012‐9784
MARVIN E COOPER                                 12014 AVENUE OF PEACE                                                                          CLEVELAND        OH    44135‐4616
MARVIN E CRIM                                   2100 W 3RD ST                         LOT 6                                                    YUMA             AZ    85364‐1757
MARVIN E DAVIS                                  2410 JOSSMAN                                                                                   HOLLY            MI    48442‐8205
MARVIN E DIERKS                                 101 PAUL DR                                                                                    CHESTER          IL    62233‐2127
MARVIN E DUMAS                                  2006 MASSACHUSETTS AVE                                                                         LANSING          MI    48906‐4204
MARVIN E DUNFORD JR                             4252 WOODBINE AVE                                                                              DAYTON           OH    45420‐2752
MARVIN E FRISCH                                 5901 HICKORYKNOLL DR                                                                           CINCINNATI       OH    45233‐4827
MARVIN E GULLEY                                 1804 S PENN AVE                                                                                MARION           IN    46953‐2506
MARVIN E HARPER                                 1733 FORESTER DR                                                                               CINCINNATI       OH    45240‐1033
MARVIN E HERRON                                 104 ANGIE DR                          APT A                                                    SAINT PETERS     MO    63376‐6312
MARVIN E HUFFMAN JR                             2824 KINGSTON TERR                                                                             EAST POINT       GA    30344‐3840
MARVIN E JACKSON                                5467 LATROBE ST                                                                                WESTERVILLE      OH    43081‐8625
MARVIN E JOHNSON                                7738 CROCKETT HWY                                                                              BLISSFIELD       MI    49228
MARVIN E KAJMA                                  2979 NORTHAMPTON DR                                                                            TROY             MI    48083‐2644
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MARVIN E KENDRICK & WANDA B KENDRICK TEN COM    1215 GRETCHEN LANE                                                                              BOSSIER CITY       LA    71112‐5114

MARVIN E MCKIBBEN                                418 LAUREL DR                                                                                  MONROE             MI    48161‐5766
MARVIN E MICHAELSON                              873 N 300 W                                                                                    HUNTINGTON         IN    46750‐9107
MARVIN E MORSE                                   2297 MILLER RD                                                                                 WEST BRANCH        MI    48661‐8408
MARVIN E PARTON                                  2121 JUSTICE LN                                                                                KOKOMO             IN    46902‐3846
MARVIN E QUEAR                                   7597 N 575 W                                                                                   FRANKTON           IN    46044‐9555
MARVIN E RICH                                    5419 S PLAIN RD                                                                                SILVERWOOD         MI    48760
MARVIN E SIPES                                   506 MOCCOSIN RD                                                                                GREENWOOD          IN    46142‐7310
MARVIN E TINKLENBERG                             4771 BARNETT AVE                                                                               SHARPSVILLE        IN    46068‐9612
MARVIN E TODD                                    7841 TRAFALGAR ST                                                                              TAYLOR             MI    48180‐2440
MARVIN E WATERS                                  946 KILBY ROAD                                                                                 CLARKRANGE         TN    38553‐5403
MARVIN E WATKINS                                 700 HOGARTH ST                                                                                 WATERFORD          MI    48328‐4129
MARVIN E WHITED                                  APT 8                                 1175 EMERSON                                             LAKE ODESSA        MI    48849‐1195
MARVIN E WILLIAMS                                119 PRESTWICK TRL                                                                              HIGHLAND           MI    48357‐4763
MARVIN E WINN CUST TERRI A WINN U/THE INDIANA U‐ RR 2 BOX 176                                                                                   CRAWFORDSVILLE     IN    47933‐9426
G‐M‐A
MARVIN EARL HUNTER                               5263 TORREY RD                                                                                 FLINT              MI    48507‐3807
MARVIN EARLES                                    4913 W BEECHER ST                                                                              INDIANAPOLIS       IN    46241‐4608
MARVIN ELIAS                                     11 MIDWOOD CROSS                                                                               ROSLYN             NY    11576‐2414
MARVIN EUGENE TOMLINSON                          1504 VANCE AVE                                                                                 FORT WAYNE         IN    46805‐2246
MARVIN F NOWLAND                                 4054 N IRISH RD                                                                                DAVISON            MI    48423‐8945
MARVIN F PERMANN & GERTRUDE E PERMANN TR         302 VERLLONIA ST                                                                               MESQUITE           NV    89027‐5809
PERMANN FAM TRUST UA 4/28/98
MARVIN F SINGLETON                               PO BOX 239                                                                                     BURNSVILLE         WV    26335‐0239
MARVIN F SWIFT                                   2775 N CHURCHILL WAY                                                                           HERNANDO           FL    34442‐5419
MARVIN FACHER                                    34 ATHENS RD                                                                                   SHORT HILLS        NJ    07078‐1352
MARVIN FALTHZIK & ROSALYN FALTHZIK JT TEN        180 NEWBURY ST                        APT 2205                                                 DANVERS            MA    01923
MARVIN FRANK LEVINE                              473 PINEWOOD RD                                                                                PHILADELPHIA       PA    19116‐4007
MARVIN FREENE ADM UW WILHELMINA COLEMAN          6117 S VERNON AVE                                                                              CHICAGO            IL    60637

MARVIN FRIEND & LOUELLA FRIEND JT TEN           5 HILLSIDE DR                                                                                   GIRARD             OH    44420‐3619
MARVIN FRY                                      6686 WISTERMAN ROAD                                                                             LOCKPORT           NY    14094‐9353
MARVIN G DALTON                                 13208 CRAIG                                                                                     GRANDVIEW          MO    64030‐3262
MARVIN G DOBBS                                  6622 CRIMSON LN                                                                                 BARNHART           MO    63012‐2803
MARVIN G DRAGER                                 24100 DAYTON                                                                                    ARMADA             MI    48005‐2753
MARVIN G HILL                                   518 SUMMIT                                                                                      BRECKENRIDGE       MI    48615‐9759
MARVIN G HOLFORD                                48 SAUNDERS AVE                                                                                 LARGO              FL    33773‐3943
MARVIN G HUMMEL                                 645 CHURCH ST                                                                                   GRAND LEDGE        MI    48837‐1239
MARVIN G HUNT                                   16071 RT2 BOX 42                                                                                HILLMAN            MI    49746‐0042
MARVIN G LEMANSKI                               39420 VINNIE CT                                                                                 CLINTON TWNSHP     MI    48038‐4022

MARVIN G LESPERANCE                             39800 WILLIS ROAD                                                                               BELLEVILLE         MI    48111‐8709
MARVIN G MCCREADY                               5947 BLOSSMAN RD                                                                                TOLEDO             OH    43617‐1001
MARVIN G MUELLER                                1061 WEST NINTH                                                                                 WASHINGTON         MO    63090‐1730
MARVIN G PADGETT                                1506 MARIE DR                                                                                   FINKSBURG          MD    21048
MARVIN G RAFFLER                                10890 CARLTON CENTER RD                                                                         WOODLAND           MI    48897‐9670
MARVIN G RAUPP                                  284 DANNY                                                                                       BROOKLYN           MI    49230‐9045
MARVIN G WEDDLE                                 3822 HERRING DRIVE                                                                              CORPUS CHRISTI     TX    78418‐3016
MARVIN G ZOCH & MARGARET A ZOCH JT TEN          4238 ANGELINE DR                                                                                STERLING HEIGHTS   MI    48310‐5002

MARVIN GENSTERBLUM                              1239 COLETA AVENUE                                                                              PORTLAND           MI    48875‐1655
MARVIN GIBSON                                   210 TABOR FOREST DR                                                                             OXFORD             GA    30054‐4144
MARVIN GOOSSEN                                  BOX 19 SITE 300                        RR1                   BRANDON MB       R7A 5Y1 CANADA
MARVIN GRAY & JUDITH C GRAY JT TEN              5176 JACKSON                                                                                    TRENTON            MI    48183‐4596
MARVIN GROSS                                    1617 SPRUCE ST                         APT 200                                                  PHILADELPHIA       PA    19103‐6337
MARVIN GURLEY                                   1123 JULIA STREET                                                                               HUNTSVILLE         AL    35816‐3754
MARVIN H BATCHELDER                             PO BOX 133                             374 E US 10 IDLEMID                                      BALDWIN            MI    49304‐0133
MARVIN H CLOER                                  403 LOWER DAWNVILLE ROAD                                                                        DALTON             GA    30721‐6724
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Name                                             Address1                              Address2             Address3          Address4          City            State Zip

MARVIN H EBERT                                   7590 HALF MOON CT                                                                              MELBOURNE       FL    32940‐7977
MARVIN H KALAND                                  145 WISCONSIN ST                                                                               CEDAR GROVE     WI    53013
MARVIN H KENT & DOROTHY J KENT JT TEN            RR 3                                  PORT ROWAN ON                          N0E 1M0 CANADA
MARVIN H LAMBERT                                 6377 IRONWOODS DR                                                                              LOVELAND        OH    45140‐8120
MARVIN H SEGNER CUST JILL FRANCES SEGNER U/THE   RFD3                                  20 ROSEHOLM PLACE                                        MOUNT KISCO     NY    10549‐4619
NEW YORK U‐G‐M‐A
MARVIN H VAN HEEST                               2285 BRIAR RIDGE                                                                               WALLED LAKE     MI    48390‐2117
MARVIN H VAN HEEST & VIVIAN R VAN HEEST JT TEN   2285 BRIAR RIDGE                                                                               WALLED LAKE     MI    48390‐2117

MARVIN HALL                                      258 UMBLEBEE RD                                                                                BEAVER          OH    45613‐9609
MARVIN HANSEN & GWENETH HANSEN JT TEN            10401 STATE LINE RD                                                                            GUELPH          ND    58474‐9100
MARVIN HARRIS                                    9940 BRAILE ST                                                                                 DETROIT         MI    48228‐1212
MARVIN HARTLEY KOLKER                            239 CLARINET LANE                                                                              HOLBROOK        NY    11741‐3832
MARVIN HUFF                                      237 MILLICENT ST                                                                               BUFFALO         NY    14215‐2984
MARVIN I JACKSON                                 8200 HERLONG RD                                                                                JACKSONVILLE    FL    32210‐2324
MARVIN IRA THORNTON SR & MARGARET CROWTHER       10 OAKNOLL ROAD                                                                                WILMINGTON      DE    19808‐3114
THORNTON JT TEN
MARVIN J BURLEY                                  1531 CRAIGWOOD ROAD                                                                            TOLEDO          OH    43612‐2223
MARVIN J CARLSON                                 10260 WAKE ROBIN TR                                                                            GRAND BLANC     MI    48439‐9354
MARVIN J CLAPP & CONNIE SUE CLAPP JT TEN         2466 HANALAND DR                                                                               FLINT           MI    48507‐3817
MARVIN J CLUBB                                   614 PERRINE                                                                                    FARMINGTON      MO    63640‐2031
MARVIN J DALLAS                                  406 6ST                                                                                        CRYSTAL CITY    MO    63019‐1524
MARVIN J DOUGLAS                                 5733 LAKE HURON DR                                                                             FAIRFIELD       OH    45014‐4409
MARVIN J FARRINGTON                              2212 E BUDER AVE                                                                               BURTON          MI    48529‐1736
MARVIN J GILLESPIE                               1728 COUNTY ROAD 327                                                                           DANVILLE        AL    35619‐8557
MARVIN J HATFIELD                                7311 EASTWIND DR                                                                               GODFREY         IL    62035‐3232
MARVIN J HERB                                    6000 GARLANDS LANE                    STE 120                                                  BARRINGTON      IL    60010‐6025
MARVIN J HOLLEMANS                               200 JEAN ST S W                                                                                GRAND RAPIDS    MI    49548‐4253
MARVIN J JACKSON                                 7240 W 38TH STREET                                                                             LYONS           IL    60534
MARVIN J MILLER                                  553 STROHM RD                                                                                  TRAVERSE CITY   MI    49686
MARVIN J OPPENHEIM CUST REBECCA J QUACKENBUSH    24070 MARLOW                                                                                   OAK PARK        MI    48237
UNIF GIFT MIN JACT MI
MARVIN J PRESZLER & GLADYS PRESZLER JT TEN       1603 9TH NW AV                                                                                 MANDAN           ND   58554‐1611
MARVIN J SLEPIAN & FLORENCE SLEPIAN JT TEN       5001 NORTH SUMMIT RIDGE ROAD                                                                   TUCSON           AZ   85750‐6073
MARVIN J SMALLEY JR                              1220 STONY HILL RD                                                                             HINCKLEY         OH   44233‐9539
MARVIN J STEFFES                                 5907 CANAL S W                                                                                 GRANDVILLE       MI   49418‐9373
MARVIN J THIEDE                                  701 WILLOW SPRINGS DR                                                                          OWOSSO           MI   48867‐2133
MARVIN J TINSLEY                                 16070 FREEMANVILLE RD                                                                          ALPHARETTA       GA   30004‐2764
MARVIN J WESTMORELAND                            15756 LOWELL RD                                                                                LANSING          MI   48906‐9393
MARVIN J WOHLFERT                                R#1 9650 HINMAN ROAD                                                                           EAGLE            MI   48822‐9757
MARVIN JAMES                                     191‐14 WOODHULL AVE                                                                            HOLLIS           NY   11423‐2972
MARVIN JAMES JONES                               11496 EASTON RD                                                                                NEW LOTHROP      MI   48460‐9713
MARVIN JENNINGS                                  321 CR 3673                                                                                    PARADISE         TX   76073‐4827
MARVIN JEROME OLESKE                             5213 RANCH ACRES DRIVE                                                                         LOVELAND         CO   80538‐1639
MARVIN JOHN BURDO                                4484 FREDRO                                                                                    DETROIT          MI   48212‐2837
MARVIN K MCALLISTER                              7129 OLD MORGANTOWN RD                                                                         MARTINSVILLE     IN   46151‐7194
MARVIN K VAN KLEY                                2007 CRICKET LANE                                                                              VALRICO          FL   33594‐4502
MARVIN K WHITEMAN                                PO BOX 8325                                                                                    RED BLUFF        CA   96080‐8325
MARVIN KAPLAN                                    19 E 88TH ST                          APT 4D                                                   NEW YORK         NY   10128‐0560
MARVIN KING                                      1602 N EVANGELINE ST                                                                           DEARBORN HTS     MI   48127‐3469
MARVIN L ABBOTOY                                 670 BLOSSOM RD                                                                                 ELMA             NY   14059‐9666
MARVIN L AUKER                                   1515 KINGS BRIDLE TRAIL                                                                        GRAND BLANC      MI   48439‐8717
MARVIN L BALL & ARLENE M BALL JT TEN             250 PALMER BLVD                                                                                NORTH FORT MYERS FL   33903‐5605

MARVIN L BARKER                                  2876 W 250N                                                                                    ANDERSON        IN    46011‐9254
MARVIN L BEEKMAN                                 2288 PIERSON RD                                                                                OXFORD          OH    45056‐9139
MARVIN L BENNETT                                 2224 BREEZEWAY DRIVE                                                                           LEXINGTON       OH    44904‐1405
MARVIN L BISSELL                                 704 W BALDWIN ST                                                                               ST JOHNS        MI    48879‐1708
MARVIN L BURK                                    21865 W BALDWIN RD                                                                             BANNISTER       MI    48807‐9330
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MARVIN L COLE                                      PO BOX 1446                                                                                  PALISADE           CO    81526
MARVIN L COLLINS & CAROLYN E COLLINS JT TEN        11033 SW 73RD TER                                                                            OCALA              FL    34476‐8977
MARVIN L COTTRELL                                  4675 MCCLINTOCKSBURG RD                                                                      NEWTON FALLS       OH    44444‐9202
MARVIN L DAVIS                                     1315 JO FRAN                                                                                 VICKSBURG          MI    49097‐9740
MARVIN L DEW                                       12170 BUNTON RD                                                                              WILLIS             MI    48191‐9724
MARVIN L DEW & EVELYN DEW JT TEN                   12170 BUNTON RD                                                                              WILLIS             MI    48191‐9724
MARVIN L DULLE                                     PO BOX 282                                                                                   NEW BAVARIA        OH    43548‐0282
MARVIN L ERBES                                     69 CROOKED ISLAND CIRCLE                                                                     MURRELLS INLET     SC    29576‐5740
MARVIN L GOINS                                     738 KERCHER STREET                                                                           MIAMISBURG         OH    45342‐1822
MARVIN L HENDERSON                                 17342 COLLINSON AVE                                                                          EASTPOINTE         MI    48021‐3106
MARVIN L IVORY                                     17874 W BUCKHORN DR                                                                          GOODYEAR           AZ    85338‐5852
MARVIN L JACKSON                                   507 AL HIGHWAY 101                                                                           TOWN CREEK         AL    35672‐7407
MARVIN L JENNINGS                                  5428 MT MARIA RD                                                                             HUBBARD LAKE       MI    49747‐9624
MARVIN L JOINER                                    401 ELDER ST                                                                                 FAIRBURN           GA    30213‐1115
MARVIN L KING                                      34 JARVIS PLACE                                                                              E ST LOUIS         IL    62207‐2550
MARVIN L KLINGENSMITH                              3632 E FENWICK RD                                                                            FENWICK            MI    48834‐9759
MARVIN L LOLMAUGH                                  PO BOX 225                                                                                   ONAWAY             MI    49765‐0225
MARVIN L LYNCH                                     19555 ROSLYN ROAD                                                                            DETROIT            MI    48221‐1839
MARVIN L MALONE                                    3020 MERRY OAKS DRIVE                                                                        HUNTSVILLE         AL    35811‐1328
MARVIN L MC GREW                                   10218 EAST MN AVE                                                                            GALESBURG          MI    49053‐9640
MARVIN L MITCHELL                                  426 MCBEE RD                                                                                 BELLBROOK          OH    45305‐9715
MARVIN L MONTGOMERY                                6368 TIMBER CREEK TRL                                                                        DAHLONGEA          GA    30533‐6709
MARVIN L PICKENS                                   12732 CHERRYLAWN                                                                             DETROIT            MI    48238‐3000
MARVIN L RABON                                     1128 FAIRLAWN DR                                                                             CAMDEN             SC    29020‐3722
MARVIN L RHODES CUST KEMPERAL J HINSLEY A MINOR 1839 KING GEORGE LANE SW                                                                        ATLANTA            GA    30331‐4913
UNDER THE LAWS OF GA
MARVIN L SACKSCHEWSKY & SHIRLEY M SACKSCHEWSKY 5512 EISENHOWER AVENUE                                                                           GREAT BEND         KS    67530‐6310
TEN COM
MARVIN L SAMMONS                                   739 SURFWOOD LN                                                                              DAVISON            MI    48423‐1224
MARVIN L SANDERS                                   14621 NORTHLAWN                                                                              DETROIT            MI    48238‐1890
MARVIN L SCHULTZBANK                               63 DEPOT ST                                                                                  VERONA             NJ    07044‐1339
MARVIN L SEALEY                                    7704 LAUMER AVE                                                                              CLEVELAND          OH    44105‐5916
MARVIN L SHAPIRO                                   26 FOXWOOD RD                                                                                STAMFORD           CT    06903‐2207
MARVIN L SHAY                                      1784 MAGNOLIA DR                                                                             GREENWOOD          IN    46143‐6908
MARVIN L SMITH                                     6426 MADDOX RD                                                                               MORROW             GA    30260‐2710
MARVIN L SMITH JR & NANCY L SMITH JT TEN           PO BOX 2553                                                                                  CARSON CITY        NV    89702‐2553
MARVIN L SPRADLING                                 3220 CANDACE DR                                                                              ATLANTA            GA    30316‐4934
MARVIN L STEVENS & BETTY J STEVENS JT TEN          1408 MADISON                                                                                 WASHINGTON         MO    63090‐4810
MARVIN L TARBOX & BONNIE M TARBOX TR TARBOX        326 ALTA LOMA DR                                                                             SO SAN FRANCISCO   CA    94080‐2242
FAMILY TRUST UA 03/19/01
MARVIN L TATE                                      3210 A HAMILTON PLACE                                                                        ANDERSON           IN    46013‐5264
MARVIN L TATE & PEARL M TATE JT TEN                3210‐A HAMILTON PLACE                                                                        ANDERSON           IN    46013‐5264
MARVIN L WHITT                                     4600 PENN AVE APT 102                                                                        DAYTON             OH    45432‐1555
MARVIN LEE HUMMEL                                  244 MCKAYS CORNER RD                                                                         TOWNSEND           DE    19734
MARVIN LEE RIFE & BRENDA CAROL RIFE TR RIFE FAMILY 9568 OLD STATE RD                                                                            CHARDON            OH    44024‐9259
TRUST UA 12/07/05
MARVIN LOUIE & ANGIE LOUIE JT TEN                  16214 SAN REMO DRIVE                                                                         SAN LEANDRO        CA    94578‐1142
MARVIN M BEAM JR                                   1708 E MAIN                                                                                  MOORE              OK    73160‐8122
MARVIN M HARRIS JR                                 571 CRAIG RD                                                                                 COMMERCE           GA    30530‐7067
MARVIN M HOFFMAN                                   343 SOUTH ST                                                                                 PHILADELPHIA       PA    19147‐1518
MARVIN M KOLIN                                     46323 GAINSBOROUGH DR                                                                        CANTON             MI    48187‐1563
MARVIN M LUEDER                                    N 714 NCINTYRE ROAD                                                                          FORT ATKINSON      WI    53538
MARVIN M MILLS & MATTHEW M MILLS JT TEN            PO BOX 63                                                                                    EXIRA              IA    50076‐0063
MARVIN M OWEN                                      ROUTE 3 STEWART RD                                                                           CHARLOTTE          MI    48813‐9803
MARVIN M POPPE TR POPPE FAM TRUST UA 03/05/01 501 S LA POSADA CIR                      APT 142                                                  GREEN VALLEY       AZ    85614‐5103

MARVIN M SIEBER                                  89 ECKHERT                                                                                     BUFFALO            NY    14207‐1141
MARVIN M VERNON                                  PO BOX 632                                                                                     LOCKPORT           NY    14095‐0632
MARVIN MAGRUDER                                  236 WALTER MURPHY RD                                                                           MOULTRIE           GA    31768‐6407
                                             09-50026-mg                Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                              Address2               Address3        Address4          City            State Zip

MARVIN MASON                                     2626 GROSVENOR DR                                                                              CINCINNATI      OH    45231‐1836
MARVIN MAY                                       23610 COLUMBUS                                                                                 WARREN          MI    48089‐4436
MARVIN MEISEL & JOAN MEISEL CONSERVATOR FOR      25750 RIVER RD                                                                                 CLOVERDALE      CA    95425‐4337
CELIA MEISEL
MARVIN MILLER                                    1325 KIRK AVE                                                                                  FLINT           MI    48503‐1253
MARVIN N MARTIN                                  3700 W WALDON                                                                                  LAKE ORION      MI    48360‐1628
MARVIN N MARTIN & CLARA MARTIN TR JOINT          3700 WALDON                                                                                    LAKE ORION      MI    48360‐1628
REVOCABLE TRUST OF MARTIN &
MARVIN NEACE                                     2590 NOBLE‐COCKRELL FORD ROAD                                                                  LOST CREEK      KY    41348‐8918
MARVIN O DRAPER                                  1040 W GRAND BLANK RD                                                                          GRAND BLANK     MI    48439‐9333
MARVIN O HARDENBURG                              6067 S CENTER RD                                                                               GRAND BLANC     MI    48439‐7949
MARVIN O HASS & BETTY S HASS JT TEN              9870 N MAPLE ST                                                                                HAYDEN          ID    83835‐9225
MARVIN O NANCE & MARY A NANCE TR THE NANCE       8039 EAST DEL CRISTAL DRIVE                                                                    SCOTTSDALE      AZ    85258‐2229
TRUST UA 4/25/03
MARVIN O ROBINSON                                7620 BROADWING DR                                                                              N LAS VEGAS     NV    89084‐2430
MARVIN O SWART & PATRICIA A SWART JT TEN         801 KENDALWOOD ST N E                                                                          GRANDE RAPIDS   MI    49505‐3214
MARVIN O WEAVER                                  3877 N FRANCIS SLOCUM TRAIL                                                                    MARION          IN    46952‐9204
MARVIN P ARCHER                                  2038 MOHAWK CT                                                                                 OLATHE          KS    66062‐2440
MARVIN P OSTRANDER                               4200 S STATE RD                                                                                DURAND          MI    48429‐9152
MARVIN P REESER & MRS MARILYN K REESER TEN ENT   APT 609                               9 HAIG PLACE                                             DUNEDIN         FL    34698‐8550

MARVIN P RETTENMUND & MELVYN R RETTENMUND JT PO BOX 423                                                                                         FENTON          MI    48430‐0423
TEN
MARVIN PASLEY & BARBARA JOANN PASLEY & JENNIFER 4713 SEATTLE                                                                                    NORTHWOOD       MO    63121‐3033
TATE & DEBI PASLEY &
MARVIN PAUL BERNHARD                            15863 W M‐36                                                                                    PINCKNEY        MI    48169‐8719
MARVIN PAUL TR MARVIN PAUL FAMILY TRUST UA      250 N SNOW CANYON DR #41                                                                        IVINS           UT    84738‐6035
07/15/02
MARVIN PERRY BIXLER                             335 ANDERSON ST N E                                                                             LAKE PLACID     FL    33852‐6039
MARVIN PIERCE BOYD                              1385 E SIEBENTHALER AVE                                                                         DAYTON          OH    45414‐5357
MARVIN PITTMAN                                  814 ROWLAND                                                                                     YOUNGSTOWN      OH    44510‐1507
MARVIN POWELL                                   3422 LOON LAKE CT                                                                               WATERFORD       MI    48329‐4278
MARVIN R CARRICK                                C/O SEVERS                             39100 KIRKLAND DRIVE                                     ZEPHYRHILLS     FL    33540‐6419
MARVIN R CUTSON                                 2791 CAMDEN ROAD                                                                                CLEARWATER      FL    33759‐1013
MARVIN R HARDY                                  216 ABERDEEN DR                                                                                 WASHINGTON      NC    27889‐9103
MARVIN R JONES                                  3203 AVON AVE                                                                                   BALTIMORE       MD    21218‐3514
MARVIN R LANDRY                                 8347 VANDEN                                                                                     WHITELAKE       MI    48386‐2554
MARVIN R MICKELSON                              421 N 5TH ST                                                                                    BURLINGTON      IA    52601‐5103
MARVIN R PASLEY                                 4713 SEATTLE                                                                                    NORTHWOODS      MO    63121‐3033
MARVIN R PERRY                                  638 IRONWOOD                                                                                    ANN ARBOR       MI    48103‐2602
MARVIN R RACKLEY                                457 ARISTOTLE                                                                                   SIMI VALLEY     CA    93065‐1708
MARVIN R SCHERZ                                 4052 N HOLLAND SYLVANIA RD                                                                      TOLEDO          OH    43623‐2591
MARVIN R SCHNEIDER & JAMES R SCHNEIDER JT TEN   903 RODNEY DR                                                                                   SAN LEANDRO     CA    94577‐3830

MARVIN R SMITH                                 1338 CROYDON RD                                                                                  TROY            OH    45373‐2418
MARVIN R SMITH                                 4408 OBERLIN ROAD                                                                                GLADWIN         MI    48624‐8954
MARVIN R WHITE                                 4389 OVERTON RD                                                                                  WOOSTER         OH    44691‐8595
MARVIN R WILSON                                240 HILLTOP CIRCLE                                                                               CARYVILLE       TN    37714‐3110
MARVIN RAFF                                    15 PINE VALLEY RD                                                                                LIVINGSTON      NJ    07039‐8211
MARVIN REICHBACK CUST STEVEN REICHBACK UGMA NY HOMECREST STATION                       PO BOX 113                                               BROOKLYN        NY    11229

MARVIN REISMAN CUST MARK S REISMAN UGMA IL       1790 OVERLAND TRL                                                                              DEERFIELD       IL    60015‐1812

MARVIN REYES                                     16363 MURPHY ROAD                                                                              LAMI RADA       CA    90638‐6215
MARVIN ROBERT MITCHELL                           101 NANNY LANE                                                                                 PALESTINE       TX    75801
MARVIN S BARKER                                  956 PRAIRIE CREEK RD                                                                           IONIA           MI    48846‐8717
MARVIN S BOWLING                                 205 GROVE PARK CT                                                                              WENTZVILLE      MO    63385‐1161
MARVIN S COHEN                                   2 HAMILTON RD APT 4A                                                                           MORRISTOWN      NJ    07960‐5338
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Name                                            Address1                               Address2             Address3          Address4          City               State Zip

MARVIN S COHEN CUST JEFFREY A COHEN UGMA NY     2 HAMILTON RD APT 4A                                                                            MORRISTOWN         NJ    07960‐5338

MARVIN S KOTZEN CUST DEBORAH KAHN KOTZEN        2 INDIAN HILL RD                                                                                NEW ROCHELLE       NY    10804‐3451
UGMA NY
MARVIN S MCSWAIN                                5125 GALLEON CROSSING                                                                           DECATUR            GA    30035
MARVIN S OWEN                                   2810 SILVER FOX S W                                                                             WARREN             OH    44481‐9236
MARVIN S WALSTON                                7001 ROWLAND AVE                                                                                KANSAS CITY        KS    66109‐1830
MARVIN SCHLOSSMAN & FRANCINE GOLDEN JT TEN      5114 GENESTA AVE                                                                                ENCINO             CA    91316‐3449

MARVIN SETO                                     373 MANNING BLVD                                                                                ALBANY             NY    12206‐1815
MARVIN SHAPIRO CUST QUINN E SHAPIRO UTMA DE     11 KEENELAND CT                                                                                 BEAR               DE    19701‐3320

MARVIN SHARON & MARJORIE SHARON JT TEN          3667 DARCY DR                                                                                   BLOOMFIELD HILLS   MI    48301‐2126

MARVIN SHORT                                    4927 ALEXANDRIA PIKE                                                                            ANDERSON           IN    46012‐9795
MARVIN SMALL & WILLIE JEAN SMALL JT TEN         7623 S OGLESBY                                                                                  CHICAGO            IL    60649‐4120
MARVIN SMITH                                    8 LINDEN AVENUE                                                                                 BUFFALO            NY    14214‐1502
MARVIN SPIELMAN                                 212 LINDEN DR                                                                                   ELKINS PARK        PA    19027‐1341
MARVIN SPIELMAN & JANET SPIELMAN JT TEN         212 LINDEN DR                                                                                   ELKINS PARK        PA    19027‐1341
MARVIN STIRMAN & MRS PHYLLIS STIRMAN JT TEN     3210 N LEISURE WORLD BLVD              APT 917                                                  SILVER SPRING      MD    20906‐7605

MARVIN T GEORGE                                 8483 TANYA DR                                                                                   GREENWOOD          LA    71033‐3337
MARVIN T HALEY                                  1350 POPLAR POINTE                                                                              SMYRNA             GA    30082‐2213
MARVIN T KESSINGER                              10003 VEGA LANE                                                                                 VALLEY STATION     KY    40272‐2963
MARVIN T ROBINSON                               9C DUNBAR HTS                                                                                   PEEKSKILL          NY    10566‐1863
MARVIN TALMATCH & MARILYN TALMATCH JT TEN       6935 HUNTINGTON LN                     APT 404                                                  DELRAY BEACH       FL    33446‐2569

MARVIN TODD DEVOS CUST ANDREW DEVOS UTMA GA 175 HAUTEUR PL                                                                                      LILBURN            GA    30047

MARVIN TYNER SR                                 341 CHILTON DR NW                                                                               ATLANTA            GA    30318‐7307
MARVIN V PAULSON                                #27 W LAKESHORE DR N                                                                            CHEROKEE VILL      AR    72529‐4211
MARVIN V ZIELINSKI                              8606 MILLET DR                                                                                  ST LOUIS           MO    63114‐5804
MARVIN W ARNOLD                                 1701 W STEWART ST                                                                               OWOSSO             MI    48867‐4074
MARVIN W ASHE JR                                1928 REVIS PLACE                                                                                CHESTER            SC    29706‐9574
MARVIN W BAYLESS                                7753 DIANJOU DR                                                                                 EL PASO            TX    79912‐7163
MARVIN W FULTON                                 133 BEAVER DAM RD                                                                               TRAVELERS RST      SC    29690‐8941
MARVIN W GUNTHER                                11450 W CENTER AVE                                                                              LAKEWOOD           CO    80226‐2571
MARVIN W MOCK                                   127 N FULTON                                                                                    PARKER             IN    47368
MARVIN W REISER JR                              1334 WEST SARATOGA                                                                              FERNDALE           MI    48220‐1658
MARVIN W STALEY                                 9201 FOSTER ST                         APT 340                                                  OVERLAND PARK      KS    66212‐2468
MARVIN W STALEY & MARY JANE STALEY JT TEN       9201 FOSTER ST                         APT 340                                                  OVERLAND PARK      KS    66212‐2468
MARVIN W STUKEL                                 305 SPRUCE ST                                                                                   BAY CITY           MI    48706‐3884
MARVIN W THURMAN                                11 CHEYENNE                                                                                     SHAWNEE            OK    74801‐5509
MARVIN W TIMMS                                  91 LINDSEY ROAD                                                                                 MONROE FALLS       OH    44262‐1157
MARVIN W TOWNS & JUDITH H TOWNS JT TEN          918 PLYMOUTH ROAD                                                                               SAGINAW            MI    48603‐7143
MARVIN W WALTER                                 4399 ST ANDREWS WAY                                                                             HARRISBURG         PA    17112‐1575
MARVIN W WINFREE                                7800 EPIC RD                                                                                    RICHMOND           VA    23235‐6120
MARVIN WEHLER                                   244 S ELMWOOD                                                                                   AURORA             IL    60506‐4966
MARVIN WHITENACK                                12525 EASTERN AVE                                                                               BALTIMORE          MD    21220‐1201
MARVIN WILLFORD                                 105 ST RICHARD COURT                                                                            SWAMTON            OH    43558‐1135
MARVIN WILLIS MCGINNIS                          5434 VASSAR RD                                                                                  FLINT              MI    48506‐1232
MARVIN ZAMOST CUST JARED ZAMOST UTMA CA         5521 LONNA LINDA DRIVE                                                                          LONG BEACH         CA    90815‐4424
MARVIN ZAMOST CUST LAUREN ZAMOST UTMA CA        5521 LONNA LINDA DRIVE                                                                          LONG BEACH         CA    90815‐4424

MARVIS E HARTMAN                                144 RAWLINS RUN RD                                                                              PITTSBURGH         PA    15238‐1231
MARVIS J BAKER & HAROLD E BAKER JT TEN          6870 N TACOMA ST                                                                                MILWAUKEE          WI    53224‐4757
MARVLE L LAWSON                                 101 STUART                                                                                      RUSSELLVILLE       KY    42276‐1266
MARVYN J MCCULLOUGH                             21142 CUPAR LANE                                                                                HUNTINGTON         CA    92646‐6807
                                                                                                                                                BEACH
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Name                                            Address1                              Address2             Address3          Address4          City              State Zip

MARY A ADAMS                                    1164 FAIRWAYS BLVD                                                                             TROY              MI    48085‐6114
MARY A ADAMS                                    5173 MIDDLETOWN‐OXFORD ROAD                                                                    MIDDLETOWN        OH    45042‐9560
MARY A ADLEY                                    108 SAINT LOUIS CT 108                                                                         KOKOMO            IN    46902‐5942
MARY A ALCORN                                   2873 OAKBRIAR TRAIL                                                                            FORT WORTH        TX    76109‐5556
MARY A ALEXANDER                                916 CAROLINE AVE                                                                               JOLIET            IL    60433‐9582
MARY A ALLEN                                    3305 N RILEY AVE                                                                               INDPLS            IN    46218‐2352
MARY A ALTON                                    6282 NORTH SEYMOUR RD                                                                          FLUSHING          MI    48433‐1035
MARY A AUBEL TR MARY A AUBEL REVOCABLE LIVING   32332 FIRWOOD                                                                                  WARREN            MI    48093‐1520
TRUST UA 01/07/99
MARY A BAKER                                    1597 SOLON RD                                                                                  DEWITT            MI    48820‐9017
MARY A BARNES                                   RR#2 BOX 63A                                                                                   NEBO              IL    62355
MARY A BARTON & NANCY BARTON‐KENNY JT TEN       #2932 SILVERSTONE LANE                                                                         WATERFORD         MI    48329‐4537
MARY A BASSO                                    9724 S KOLMAR                                                                                  OAK LAWN          IL    60453‐3531
MARY A BATTAGLIA                                9724 S KOLMAR                                                                                  OAK LAWN          IL    60453‐3531
MARY A BEARD                                    193 BURNS RD                                                                                   ELYRIA            OH    44035‐1531
MARY A BEATTY                                   3835 HARLAN ST                                                                                 WHEAT RIDGE       CO    80033‐5111
MARY A BECHILL                                  2988 FARMERS CREEK                                                                             METAMORA          MI    48455‐9708
MARY A BIDDLE                                   4308 BROWN ST                                                                                  ANDERSON          IN    46013‐4451
MARY A BITTINGER                                285 DEARING ST                                                                                 ATHENS            GA    30605‐1008
MARY A BOWEN                                    205 OAKLAND ST                                                                                 DECATUR           GA    30030‐2428
MARY A BOWEN & JACK W BOWEN JR TR UW JACK W     295 OAKLAND ST                                                                                 DECATUR           GA    30030‐2428
BOWEN SR TRUST
MARY A BOZARD & CAROL S KLEIBER JT TEN          514 STOCKDALE DRIVE                                                                            LAFAYETTE         IN    47909
MARY A BREEDLOVE JR                             401 E GENESEE ST                                                                               FLINT             MI    48505‐4225
MARY A BRINSTER                                 6 VALLEY BROOK DR                                                                              FAIRPORT          NY    14450‐9350
MARY A BRIZZOLARA                               2408 PENNINGTON DR                                                                             WILMINGTON        DE    19810‐2509
MARY A BROSIUS                                  360 HEPHZIBAH HILL RD                                                                          COATESVILLE       PA    19320‐4460
MARY A BRYANT                                   21 EASTDALE DR                                                                                 DAYTON            OH    45415‐2907
MARY A BUCHANAN                                 1101 DIAMANTE                                                                                  RIO VISTA         CA    94571‐5146
MARY A BUTLER                                   337 WEST CHESTNUT STREET                                                                       BROCKTON          MA    02301‐6762
MARY A CANNIZZARO CUST MARY JO CANNIZZARO       30 STONE MANOR CT                                                                              TOWSON            MD    21204‐4348
UGMA MD
MARY A CARDEN                                   4998 MT OLIVE SHORES DR                                                                        POLK CITY         FL    33868‐9307
MARY A CARLSON                                  37250 BURDOCK DR                                                                               ZEPHYRHILLS       FL    33541‐5351
MARY A CARTER                                   1143 LEAF TREE LANE                                                                            VANDALIA          OH    45377‐1726
MARY A CARUSO                                   51992 BOLAND                                                                                   NEW BALTIMORE     MI    48047‐3150
MARY A CARUSO                                   205 S 31ST ST                                                                                  HARRISBURG        PA    17109‐4607
MARY A CAVNESS                                  4685 ORION RD                                                                                  ROCHESTER         MI    48306
MARY A CEARLOCK & MARY MARRANDETTE JT TEN       4 ANTHONY RD                                                                                   BARRINGTON        RI    02806‐2103
MARY A CERRA                                    4123 MESA LANE                                                                                 LIVERPOOL         NY    13090‐1615
MARY A CHACE & WILLIAM H CHACE JT TEN           22 SAGE RD                                                                                     WATERFORD         NY    12188‐1304
MARY A CHEEK                                    5025 BARNSBY LN                                                                                CINCINNATI        OH    45244‐1053
MARY A CHOBOT & JOSEPH J CHOBOT JT TEN          16 W 760 57TH ST                                                                               CLARENDON HILLS   IL    60514‐1682

MARY A CICHOWSKI                                50 DEXTER AVE                                                                                  MERIDEN           CT    06450‐6111
MARY A CIMINO                                   57 SHADYWOOD DR                                                                                ROCHESTER         NY    14606‐4941
MARY A CINDRICH                                 32 BECK AVE                                                                                    RYE               NY    10580‐3730
MARY A CLARK                                    7687 CORTLAND                                                                                  ALLEN PARK        MI    48101‐2213
MARY A CLEMENTS & MARION L CLEMENTS JR JT TEN   PO BOX 1046                                                                                    LINCOLNTON        GA    30817‐1046

MARY A CLEMENTZ                                 RR #1                                                                                          CLOVERDALE        OH    45827‐9801
MARY A CLEMMONS                                 44925 JUDD ROAD                                                                                BELLEVILLE        MI    48111‐9109
MARY A COOGAN                                   24731 COLGATE                                                                                  DEARBORN HGTS     MI    48125‐1607
MARY A COON                                     171 15TH AVE. W.                                                                               GUIN              AL    35563
MARY A COPENHAVER                               5348 MAHONING AVENUE                                                                           WARREN            OH    44483‐1132
MARY A COTTER                                   15 CARLOINE DRIVE                                                                              MILTON            MA    02186
MARY A DALTON                                   7352 ALBION RD                                                                                 NORTH ROYALTON    OH    44133

MARY A DAVIDSON E                               4522 COLLEGE VIEW DR                                                                           DAYTON            OH    45427
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Name                                             Address1                             Address2              Address3         Address4          City              State Zip

MARY A DAVIS                                     128 PARK AVE                                                                                  CORTLAND          OH    44410‐1045
MARY A DE CARLO                                  1104 W PARK AVE                                                                               VALDOSTA          GA    31602‐2741
MARY A DE HAAN                                   PO BOX 69                                                                                     MOLINE            MI    49335‐0069
MARY A DEBOER                                    59 CARPENTER CT                                                                               WATERFORD         MI    48328‐3714
MARY A DEBRUIN                                   116 E 5TH STREET                                                                              KAU KAUNA         WI    54130‐2415
MARY A DECKER                                    4050 BOTELER RD                                                                               MOUNT AIRY        MD    21771‐7310
MARY A DELELLA                                   77 RED LEAF DR                                                                                ROCHESTER         NY    14624‐3803
MARY A DELIA                                     2520 E 219TH ST                                                                               LONG BEACH        CA    90810‐1723
MARY A DEMERS                                    28 OAK ST                                                                                     SOUTHBRIDGE       MA    01550‐2218
MARY A DEMLER TOD MICHELE SZMOLKE SUBJECT TO     3134 CARPENTER LN                                                                             ST CLOUD          FL    34769‐1912
STA TOD RULES
MARY A DENEAU                                    00158 FOREST WAY                                                                              BOYNE CITY        MI    49712‐9656
MARY A DODDY                                     3411 CESFORD GRANGE                                                                           KESWICK           VA    22947‐9127
MARY A DOLAN                                     1049 ARGO BLVD                                                                                SCHENECTADY       NY    12303
MARY A DOMZALSKI                                 53 KIRKWOOD DR                                                                                WEST SENECA       NY    14224‐1803
MARY A DOORNBOS                                  11224 W 74TH ST                                                                               BURR RIDGE        IL    60525‐7702
MARY A DOUGLAS                                   9603 IDLEWOOD DR                                                                              CLEVELAND         OH    44144‐3122
MARY A DOUGLAS                                   2908 SHERMAN ST                                                                               ANDERSON          IN    46016
MARY A DRAWN                                     349 HIGHLAND RD                                                                               PITTSBURGH        PA    15235‐3012
MARY A DUGALECH TR MARY A DUGALECH TRUST UA      16450 PEET ROAD                                                                               OAKLEY            MI    48449
05/29/02
MARY A DURM & MARY K DURM & SARAH L DURM JT      17407 LORNE ST                                                                                NORTHRIDGE        CA    91325‐4425
TEN
MARY A EATON                                     6714 COTTAGE AVE                                                                              KLAMATH FALLS     OR    97603‐5318
MARY A ECK & ROBERT H ECK & MICHAEL ECK JT TEN   9668 MAGLEDT RD                                                                               BALTIMORE         MD    21234‐1849

MARY A EDWARDS                                   PO BOX 7032                                                                                   JACKSON           MS    39282‐7032
MARY A EVANS & MRS JEANNE MC PHERSON JT TEN      4112 SE WOODWARD ST                                                                           PORTLAND          OR    97202‐1671

MARY A EVERETTE                                  523 CAMPBELL                                                                                  RIVER ROUGE       MI    48218‐1065
MARY A EWING                                     4620 ENRIGHT                                                                                  ST LOUIS          MO    63108‐1731
MARY A FAHRENDORF                                10561 MARGATE TERRACE                                                                         CINCINNATI        OH    45241‐3148
MARY A FAMULARE TR REVOCABLE TRUST 12/10/91 U‐A 3722 ORAN DELPHI RD                                                                            MANLIUS           NY    13104‐8615
MARY A FAMULARE
MARY A FANCHER                                   111 RETREAT POINT                                                                             PEACHTREE CITY    GA    30269‐1439
MARY A FEHLNER                                   6338 TISBURY DR                                                                               BURKE             VA    22015‐4060
MARY A FELOSAK                                   21716 FRAZLTO                                                                                 ST CLAIR SHORES   MI    48081
MARY A FERN                                      2822 HEARTSTONE RD                                                                            PARMA             OH    44134‐2652
MARY A FERRELL                                   7728 LEE DR                                                                                   PASADENA          MD    21122‐3229
MARY A FIELDS                                    4012 SOUTH GRAND TRAVERSE                                                                     FLINT             MI    48507‐2403
MARY A FLANAGAN & MARY M FLANAGAN JT TEN         40 ROBBINS RD                                                                                 WATERTOWN         MA    02472‐3449
MARY A FLIPPIN                                   167 FERNVIEW LN                                                                               BIGFORK           MT    59911‐7040
MARY A FLOWERS                                   22008 BRIAN                                                                                   TAYLOR            MI    48180‐2730
MARY A FOSTER                                    RC 4 BOX 555                                                                                  DONIPHAN          MO    63935‐0555
MARY A FRANKLIN                                  1640 JACKSON ST SW                                                                            WARREN            OH    44485‐3548
MARY A FREET CUST JAMES A FREET A MINOR UNDER    2870 WINTER PINES CT                                                                          COEUR D ALENE     ID    83815‐6246
THE LAW OF GA
MARY A FREET CUST PAUL J FREET A MINOR UNDER THE 5651 SILVER RIDGE DR                                                                          STONE MTN         GA    30087‐2319
LAW OF GA
MARY A FULLER                                    7 GALAXY COURT                                                                                DURHAM            NC    27705‐2768
MARY A GARNER                                    C/O ISHMEL                           246 STEEL MILL ROAD                                      MENDENHALL        MS    39114‐8812
MARY A GERHART                                   6789 E YANKEE RD                                                                              OTTAWA LAKE       MI    49267‐9553
MARY A GILBERT                                   5716 N OCEANSHORE BLVD                                                                        PALM COAST        FL    32137‐2704
MARY A GINTER                                    2250 PASADENA AVE                                                                             NEWTON FALLS      OH    44444‐1880
MARY A GLANCY                                    11508 SIAM                                                                                    BROOKLYN          MI    49230
MARY A GOUGLER                                   APT 207‐D                            3070 KENT ROAD                                           STOW              OH    44224‐4448
MARY A GRASSO                                    109 BERKELEY AVENUE                                                                           BLOOMFIELD        NJ    07003‐5701
MARY A GREENE                                    12181 S SAGINAW #15                                                                           GRAND BLANC       MI    48439‐1426
MARY A GUST                                      PO BOX 150                                                                                    BIRCH RUN         MI    48415‐0150
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MARY A HADDOCK                                  25 JORDAN ROAD                                                                               OLD MONROE        MO    63369‐2603
MARY A HAGUE                                    228 S 13TH ST                                                                                LEWISBURG         PA    17837‐1707
MARY A HALFYARD                                 18307 LEXINGTON                                                                              REDFORD TWP       MI    48240‐1938
MARY A HALL                                     2018 KINGSWOOD DRIVE                                                                         FLINT             MI    48507‐3523
MARY A HAMILLA                                  120 VIENNA COURT                                                                             HOUGHTON LAKE     MI    48629
MARY A HAMPTON                                  351 GENEVA HWY                                                                               ENTERPRISE        AL    36330‐3814
MARY A HART                                     1091 DEVELOPMENT CT                                                                          KINGSTON          NY    12401‐1959
MARY A HARTMANN                                 201 PATRICE TER                                                                              WILLIAMSVILLE     NY    14221‐3947
MARY A HASKINS                                  21 HIGH ST NE PLUMWOOD                                                                       LONDON            OH    43140‐9657
MARY A HECKART                                  4105 LARK ST                                                                                 BOSSIER CITY      LA    71112‐4040
MARY A HELMS                                    3 SHELBY ST                                                                                  HAMPTON           GA    30228‐3001
MARY A HERMAN                                   #143                                8180 MANITOBA ST                                         PLAYA DEL REY     CA    90293‐8739
MARY A HIGLEY                                   11038 W OAK RIDGE RD                                                                         SUN CITY          AZ    85351‐1556
MARY A HOEPNER                                  1513 S DIXON RD                                                                              KOKOMO            IN    46902‐5931
MARY A HOFFMAN                                  PO BOX 1477                                                                                  SULPHUR SPRINGS   TX    75482‐3002

MARY A HOLLEN                                   2525 FOREST BLUFF CT SE                                                                      GRAND RAPIDS      MI    49546‐7557
MARY A HOLMES                                   1588 E WALNUT RD                                                                             VINELAND          NJ    08361‐6064
MARY A HOSLER                                   19 BLACK WILLOW CT SOUTH                                                                     HOMOSASSA         FL    34446‐4986
MARY A HOTMANN CUST ELIZABETH A HOTMANN         PO BOX 1509                                                                                  WIMBERLEY         TX    78676‐1509
UTMA TX
MARY A HOUSTON                                  1737 CAMDEN FORREST TRL                                                                      RIVERDALE         GA    30296‐2982
MARY A HOWARD                                   5008 DANNY BOY CIR                                                                           ORLANDO           FL    32808‐3648
MARY A HOWELL                                   5856 LIVERNOIS                                                                               TROY              MI    48098‐3129
MARY A HUNDLEY                                  214 LANGHORNE LANE                                                                           LYNCHBURG         VA    24501‐3626
MARY A HUNDLEY & PRESTON B HUNDLEY JT TEN       214 LANGHORNE LANE                                                                           LYNCHBURG         VA    24501‐3626
MARY A HUNT                                     1425 HUGHES                                                                                  FLINT             MI    48503‐3276
MARY A HUNTINGTON                               2843 SW 174TH AVE                                                                            MIRAMAR           FL    33029‐5549
MARY A HURLEY                                   230 ATLANTIC AVE APT 4‐B                                                                     LYNBROOK          NY    11563‐3534
MARY A HURM                                     5908 BLUFF RD                                                                                INDIANAPOLIS      IN    46217‐3690
MARY A INGOLDSBY                                10042 BAPTIST CHURCH RD                                                                      SAINT LOUIS       MO    63123
MARY A JACKSON                                  PO BOX 27794                                                                                 DETROIT           MI    48227‐0794
MARY A JEFFERY                                  7761 PUTTYGUT RD                                                                             CASCO             MI    48064‐2115
MARY A JENKINS                                  717 W RUSHWOOD DR                                                                            TUCSON            AZ    85704‐5428
MARY A JENSEN TR MARY A JENSEN REVOC TRUST UA   PO BOX 165                                                                                   BRONXVILLE        NY    10708‐0165
2/14/03
MARY A JOHNSON                                  R 2 BOX 171                                                                                  MITCHELL          IN    47446‐9618
MARY A JOHNSON                                  3911 COMSTOCK AVE                                                                            FLINT             MI    48504‐3749
MARY A JOHNSON & WILLIAM R JOHNSON JT TEN       3911 COMSTOCK AVE                                                                            FLINT             MI    48504‐3749
MARY A JONES                                    9010 CAIN DR NE                                                                              WARREN            OH    44484‐1705
MARY A JONES                                    12821 GLENFIELD                                                                              DETROIT           MI    48213‐4027
MARY A JORDAN                                   80‐705 CAMINO SAN LUCAS                                                                      INDIO E           CA    92203‐7465
MARY A JUHL                                     529 HEMINGWAY CT                                                                             DELAND            FL    32720‐6782
MARY A JURCZYC TR MARY A JURCZYC TRUST UA       4741 AUDUBON                                                                                 WARREN            MI    48092‐4305
10/08/04
MARY A KALILIKANE & MOSES N KALILIKANE JT TEN   PO BOX 856                                                                                   KAUNAKAKAI        HI    96745

MARY A KEEGAN                                   218 HALL AVENUE                                                                              CLARKS GREEN      PA    18411‐1236
MARY A KEEL                                     1475 TRANSIT AVE                                                                             ROSEVILLE         MN    55113
MARY A KEEN                                     RR 4 BOX 160                                                                                 GEORGETOWN        DE    19947‐9512
MARY A KEIL                                     741 S 32 ST                                                                                  MANITOWOC         WI    54220‐4312
MARY A KELLEY                                   301 AVANT DR                        APT F                                                    HAZELWOOD         MO    63042
MARY A KELLY                                    1612 LONEY ST                       #2                                                       PHILADELPHIA      PA    19111‐2935
MARY A KENDALL                                  4607 AMBER DR                                                                                MCDONOUGH         GA    30252‐8103
MARY A KHAYAT                                   508 LAKESHORE DRIVE                                                                          LEXINGTON         KY    40502
MARY A KILGORE                                  1959 CUSTER‐ORANGEVILLE RD                                                                   MASURY            OH    44438‐9755
MARY A KING & ALVIN C KING JT TEN               74211 ALLEN RD                                                                               KENTWOOD          LA    70444‐3617
MARY A KIRK                                     115 FAIRVIEW AVENUE                                                                          KINGSTON          NY    12401‐4218
MARY A KIRK & GEORGE W KIRK JR JT TEN           30742 CENTER ROAD                                                                            ARMINGTON         IL    61721‐9444
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Name                                             Address1                                Address2             Address3          Address4          City            State Zip

MARY A KOENIG                                    210 WESTPLAINS RD                                                                                GRETNA          NE    68028
MARY A KORTE                                     3140 KINGSBROOK                                                                                  FLUSHING        MI    48433‐2409
MARY A KOUBSKY                                   6427 S 107 ST                                                                                    OMAHA           NE    68127‐4518
MARY A KOZAR                                     1114 VINEWOOD                                                                                    WILLOW SPRGS    IL    60480‐1358
MARY A KRAMER                                    2355 NELSON AVE                                                                                  GRAND RAPIDS    MI    49507‐3751
MARY A KURILA                                    900 WEST MAIN STREET                                                                             MADISON         OH    44057‐9764
MARY A L DESPORT                                 8500 KIMBLEWICK                                                                                  WARREN          OH    44484‐2066
MARY A LADOWSKY                                  1050 TITUS AVE                                                                                   ROCHESTER       NY    14617‐4030
MARY A LASKY                                     3020 SW 24TH CT                                                                                  ANKENY          IA    50021‐5404
MARY A LEADER                                    241 WESTCHESTER AVE                     PO BOX 149                                               VERPLANCK       NY    10596‐0149
MARY A LECEA                                     2305 LOST CREEK DRIVE                                                                            FLUSHING        MI    48433‐9433
MARY A LESSMANN                                  PO BOX 413                                                                                       TINLEY PARK     IL    60477‐0413
MARY A LESTER                                    C/O MARY A PODUNAVAC                    13540 ANN DR                                             NORTH           PA    15642‐1702
                                                                                                                                                  HUNTINGDON
MARY A LESTER                                    PO BOX 21384                                                                                     WINSTON SALEM   NC    27120‐1384
MARY A LETSON TR MARY A LETSON LIVING TRUST UA   678 WILLIAMS CT                                                                                  MANITOU BEACH   MI    49253‐9700
10/07/02
MARY A LINCH                                     PO BOX 71                                                                                        WOODSTOWN       NJ    08098‐0071
MARY A LITAVEC                                   1420 RICHMOND RD                        APT Q2                                                   CLEVELAND       OH    44124‐2437
MARY A LITTLE                                    22414 FOXCROFT                                                                                   WOODHAVEN       MI    48183‐1466
MARY A LITTLE                                    2040 LARCHMONT DR                                                                                DELAND          FL    32724‐8323
MARY A LOPEZ                                     2719 CEDAR KEY DRIVE                                                                             LAKE ORION      MI    48360‐1894
MARY A LOPEZ                                     46845 HIGH MEADOWS CT                                                                            MOUNT CLEMENT   MI    48044‐3353
MARY A LOZIER                                    544 HANCOCK CT                                                                                   COLLEGEVILLE    PA    19426‐2243
MARY A LUSEBRINK                                 1539 INDIAN MEADOWS S                                                                            FRANKLIN        TN    37064‐9623
MARY A LUTZ & CAROL A RYTLEWSKI JT TEN           1702 BORTON AVE                                                                                  ESSEXVILLE      MI    48732‐1312
MARY A MACDONALD                                 10463 RUNYAN LAKE ROAD                                                                           FENTON          MI    48430‐2445
MARY A MACK                                      214 FABIUS                                                                                       TROY            MI    48098‐3037
MARY A MAGERS                                    3571 LINDSEY RD                                                                                  MANSFIELD       OH    44904‐9717
MARY A MALUSEK                                   10544 LAINGSBURG RD                                                                              LAINGSBURG      MI    48848‐9323
MARY A MARCINKO                                  1801 DRAKE DR                                                                                    RICHARDSON      TX    75081‐3210
MARY A MARCINKOWSKI                              910 GLEASON ST                                                                                   LEHIGH ACRES    FL    33974‐0519
MARY A MARGO & MARCIA K MCKENZIE JT TEN          229 5TH ST SW                                                                                    CHISHOLM        MN    55719‐2024
MARY A MATHEWS                                   294 SUNSET DR                                                                                    HOLLEY          NY    14470‐9776
MARY A MAY                                       1916 SAIL FISH DR                                                                                MANSFIELD       TX    76063‐5992
MARY A MC CLELLAN & GARY L MC CLELLAN JT TEN     2205 NE 19TH AVE                                                                                 PORTLAND        OR    97212‐4616

MARY A MC CORMACK                                32 HILLTOP RD                                                                                    SOUTHAMPTON      NY   11968‐3707
MARY A MC CRIGHT                                 4684 CHAPEL DR                                                                                   TROY             MI   48085‐5029
MARY A MC GUIRE                                  505 LONGLEAF DRIVE                                                                               CHAPEL HILL      NC   27517‐3038
MARY A MC HUGH                                   35616 HERITAGE LN                                                                                FARMINGTON HILLS MI   48335‐3138

MARY A MC SHANE                                  115 MISTY FOREST DR                                                                              FAYETTEVILLE    GA    30215
MARY A MCCLELLAN                                 12603 VIA CATHERINA                                                                              GRAND BLANC     MI    48439‐1473
MARY A MCGINLEY                                  9800 WELK ROAD                                                                                   CHARDON         OH    44024‐9748
MARY A MCINTYRE                                  141 CROMWELL AVE                        OSHAWA ON                              L1J 4T5 CANADA
MARY A MCIVER                                    29 ABERDEEN ROAD                                                                                 QUINCY          MA    02171‐1314
MARY A MCKERCHIE                                 7240 SMITH RD                                                                                    GAINES          MI    48436‐9750
MARY A MCMAHAN                                   176 SKEES RD                                                                                     BOWLING GREEN   KY    42104‐8751
MARY A MEAD                                      304 W LEDGE                                                                                      LANSING         MI    48917‐9226
MARY A MENDEZ                                    2718 RHODES                                                                                      TROY            MI    48083‐2443
MARY A MERKOSKY                                  26400 CEDAR CREST DR                                                                             SUN CITY        CA    92586‐2822
MARY A MIDDLETON                                 1291 CRETE LANE NW                                                                               BROOKHAVEN      MS    39601‐5919
MARY A MIGLIACCI                                 83 FRUITREE RD                                                                                   LEVITTOWN       PA    19056‐1903
MARY A MIJALIS                                   8506 E WILDERNESS WAY                                                                            SHREVEPORT      LA    71106‐6141
MARY A MILLER                                    3904 CARMELITA BLVD                                                                              KOKOMO          IN    46902‐4625
MARY A MOORE                                     26641 MC NEILL LAKE RD                                                                           WAGRAM          NC    28396‐9223
MARY A MOORE                                     936 FITTING AVE                                                                                  LANSING         MI    48917‐2233
MARY A MOORE                                     3818 DONNELLY ST                                                                                 FLINT           MI    48504‐3555
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Name                                           Address1                             Address2             Address3          Address4          City              State Zip

MARY A MORALES                                612 E COMSTOCK                                                                                 OWOSSO            MI    48867‐3202
MARY A MORAN                                  80 BOUTELLE ST                                                                                 LEOMINSTER        MA    01453‐6304
MARY A MORN                                   159 HOMEWOOD S E                                                                               WARREN            OH    44483‐6001
MARY A MORROW                                 295 SARANAC AVE                                                                                BUFFALO           NY    14216‐1931
MARY A MOZE                                   23020 HARMS RD                                                                                 RICHMOND HGTS     OH    44143‐1638
MARY A MULDOON TR UA 05/18/1999 E P MULDOON & 9315 SILVER MAPLE DR                                                                           WHITMORE LAKE     MI    48189
MARY A MULDOON TRUST
MARY A MURRAY                                 3403 BRITTANY PT                                                                               LANSDALE          PA    19446‐6529
MARY A MURRAY                                 4116 FALKNER DR                                                                                NAPERVILLE        IL    60564‐7135
MARY A MURRAY                                 1164 BLOSSOM WAY NE                                                                            CORYDON           IN    47112‐1677
MARY A MYERS                                  8528 BLACKBURN                                                                                 WESTLAND          MI    48185‐1523
MARY A NEMERGUT                               16162 REGINA                                                                                   ALLEN PK          MI    48101‐1946
MARY A NICHOLS                                16 SKYVIEW WAY                                                                                 NEWTOWN           PA    18940‐1184
MARY A NURMI                                  PO BOX 90294                                                                                   BURTON            MI    48509‐0294
MARY A O HARA & JOHN MARTIN O HARA JT TEN     402 E SUGAR BAY LANE                                                                           CEDAR             MI    49621‐9724
MARY A O'CONNOR TOD GERALD J BACH SUBJECT TO  719 MAIDEN CHOICE LN                  HR 111                                                   CATONSVILLE       MD    21228‐6138
STA TOD RULES
MARY A O'CONNOR TOD LINDA L SURDEL SUBJECT TO 719 MAIDEN CHOICE LN                  APT HR111                                                CATONSVILLE       MD    21228‐6129
STA TOD RULES
MARY A O'NEAL                                 7920 SILVERSMITH DR                                                                            CUMMING           GA    30040‐5569
MARY A ODDO                                   212 SMITH AVE                                                                                  BELLEVUE          OH    44811‐1863
MARY A OGLESBY                                1837 MCCOLLUM SW RD                                                                            CONYERS           GA    30094‐6842
MARY A OLAF                                   9015 DE VICENZO CT                                                                             DESERT HOT        CA    92240‐1134
                                                                                                                                             SPRINGS
MARY A OLIVER                                  23619 PARKLAWN                                                                                OAK PARK          MI    48237‐3605
MARY A OSTERMAN & ROBERT T OSTERMAN JT TEN     3950 WARREN RD                       LOT #47                                                  CANTON            MI    48187

MARY A PARSLEY                                 8644 RAHKE ROAD                                                                               INDIANAPOLIS      IN    46217
MARY A PARSONS                                 1070 BECHTOL AVE                                                                              SHARON            PA    16146
MARY A PARZUCHOWSKI CUST NATHAN M              28407 TINDALE TRL                                                                             NEW HUDSON        MI    48165‐8534
PARZUCHOWSKI UGMA MI
MARY A PASQUALI                                2804 WHITE HOUSE DR                                                                           KOKOMO            IN    46902‐3062
MARY A PAVICH                                  6035 EAST AVE                                                                                 LAGRANGE          IL    60525‐4124
MARY A PEEK                                    PO BOX 316                                                                                    OTISVILLE         MI    48463‐0316
MARY A PEPPERDINE                              2064 WEBBER AVE                                                                               BURTON            MI    48529‐2412
MARY A PETERSON                                1919 N 1100 E                                                                                 GREENTOWN         IN    46936‐9018
MARY A PHELPS TOD CINDY JO PHELPS              5385 MESSENGER HWY                                                                            OLIVET            MI    49076
MARY A PILDITCH & JAMES D PILDITCH JT TEN      5905 THISTLE DR                                                                               SAGINAW           MI    48603‐4365
MARY A PINGEL                                  6871 HWY F                                                                                    PERRYVILLE        MO    63775‐8206
MARY A PIPA                                    4360 ANDERSON ANTHONY RD                                                                      WARREN            OH    44481‐9428
MARY A POWELL                                  1901 DESOTO                                                                                   NEEDLES           CA    92363
MARY A PROCTOR                                 35493 OAKDALE                                                                                 LIVONIA           MI    48154‐2235
MARY A PUPILLO & PAUL T PUPILLO JR JT TEN      1807 GILPIN AVE                                                                               WILMINGTON        DE    19806‐2305
MARY A QUINN                                   3251 E 79TH ST                       APT D                                                    INDIANAPOLIS      IN    46240‐3346
MARY A RAKES                                   541 ASHER PASS                                                                                MILAN             MI    48160‐1580
MARY A RAVAS & NORMA J RAVAS JT TEN            1353 HEATHER LANE SE                                                                          SALEM             OR    97302‐1525
MARY A RAY                                     60 BEACH POND RD                                                                              GROTON            CT    06340‐5904
MARY A REYNOLDS                                6490 BRIAN CIRCLE                                                                             BURTON            MI    48509‐1377
MARY A RICH                                    3062 NORTHVILLE DRIVE                                                                         GRAND RAPIDS      MI    49525‐1353
MARY A RICUPATI                                48391 HUDSON BAY COURT                                                                        SHELBY TOWNSHIP   MI    48315‐4273

MARY A ROACH & CHARLES ROACH JT TEN            9560 LEVERNE                                                                                  REDFORD           MI    48239‐2239
MARY A ROBERSON                                925 FELLOWSHIP ROAD                                                                           FAIRBURN          GA    30213
MARY A ROBISON                                 111 SUMMIT WAY                                                                                CLAIRTON          PA    15025‐2214
MARY A ROLLINS                                 3953 TIMBERBROOK CT                                                                           COMMERCE          MI    48382‐1091
                                                                                                                                             TOWNSHIP
MARY A RONKOWSKI & KEITH RONKOWSKI JT TEN      3436 CHERRY ST                       APT B8                                                   GRAND FORKS       ND    58201‐7689
MARY A ROSLANOWICK                             27055 OAKWOOD CIRCLE #103                                                                     OLMSTED           OH    44138‐3608
                                                                                                                                             TOWNSHIP
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Name                                            Address1                              Address2             Address3          Address4          City              State Zip

MARY A ROSLOWSKI                                3 PARMLY ST                                                                                    RUMSON            NJ    07760‐1724
MARY A ROY                                      1133 WILSON SCHOOL RD                                                                          CHAPEL HILL       TN    37034‐2654
MARY A RUST                                     6419 WINNEPEG RD                                                                               BETHESDA          MD    20817‐1659
MARY A RUTHERFORD                               6030 CROSBY RD                                                                                 LOCKPORT          NY    14094‐9508
MARY A SANT                                     3969 CORNERSTONE DR                                                                            CANTON            MI    48188‐7911
MARY A SASLOW                                   1004 WALTON DR                                                                                 COLLEGE STATION   TX    77840‐2311
MARY A SAUBER                                   435 DWIGHT AVE                                                                                 WAUSEON           OH    43567‐1614
MARY A SAYANEK                                  C/O MARCIA ERICKSON                   13 MOHARIMET DRIVE                                       DOVER             NH    03820‐9556
MARY A SCHAAF                                   5216 BROOKFIELD                                                                                EAST LANSING      MI    48823‐4758
MARY A SCHMOTZER                                4463 BENTLEY DRIVE                                                                             TROY              MI    48098‐4452
MARY A SCHROEDL                                 3425 CLEVELAND ST NE                                                                           MINNEAPOLIS       MN    55418‐1532
MARY A SCHULTZ                                  613 POWHATAN BEACH RD                                                                          PASADENA          MD    21122‐1105
MARY A SCZESNY                                  201 IVY LN                                                                                     ANDERSON          IN    46012‐1010
MARY A SEAGRAVES                                ATTN MARY ANN PYLE                    18111 HOLKE RD                                           INDEPENDENCE      MO    64057‐1391
MARY A SHAFFER                                  163 WARRIOR WAY                                                                                MIDDLEBURGH       NY    12122‐4712
MARY A SHANKS                                   ATTN MARY A SCHUH                     7450 NORMANDY LANE                                       CENTERVILLE       OH    45459‐4140
MARY A SHANNON                                  3027 MARIMONT DRIVE                                                                            DAYTON            OH    45410‐3347
MARY A SHEFFIELD                                4136 COOLEY HILL ROAD                                                                          BELMONT           NY    14813‐9510
MARY A SHERMAN                                  PO BOX 316                                                                                     OTISVILLE         MI    48463‐0316
MARY A SIGLER                                   49595 LAUREL HEIGHTS                                                                           SHELLY TOWNSHIP   MI    48315‐3836

MARY A SIMPSON & MARI ANNE SIMPSON JT TEN       7283 CLUBHOUSE CT                                                                              WEST CHESTER      OH    45069‐4601
MARY A SKERO                                    359 BULL CREEK RD                                                                              BUTLER            PA    16002‐7777
MARY A SLEET                                    830 CHURCH ST                                                                                  ANDERSON          IN    46013‐1606
MARY A SMIGALSKI                                338 PINE ST                                                                                    BUFFALO           NY    14204‐1418
MARY A SMITH                                    17 JUSTICEVILLE HILL                                                                           PARKVILLE         KY    41501‐7821
MARY A SMITH                                    11360 ZAYMAR RD                                                                                ORR               MN    55771
MARY A SMITH & MARK A SMITH JT TEN              921 WAYSIDE LANE                                                                               ANDERSON          IN    46011‐2327
MARY A SMITH TR MARY A SMITH TRUST UA 9/28/00   1211 S OAKHAVEN DR                                                                             ANAHEIM           CA    92804‐4723

MARY A SOBECK                                   913 VALLEY ROAD                                                                                NEW CANAAN      CT      06840‐2814
MARY A STANTON                                  NORTHGATE MANOR APT 17A               3845 DEWEY AVE                                           ROCHESTER       NY      14616
MARY A STASIK                                   597 HOLLY LANE                                                                                 NORTH BRUNSWICK NJ      08902‐2509

MARY A STEPHENSON                               132 CONRADT ST                                                                                 KOKOMO          IN      46901‐5254
MARY A STEWART                                  2429 BRATTON                                                                                   BLOOMFIELD HI   MI      48302‐0419
MARY A STEWART TR MARY A STEWART REVOCABLE      4059 CHABLIS                                                                                   WEST BLOOMFIELD MI      48323‐3028
TRUST 2001 UA 3/26/01
MARY A STRICKLAND                               1743 HOLLY OAKS LAKE RD WEST                                                                   JACKSONVILLE      FL    32225
MARY A SUCKLING                                 2711 POHENS AVE NW                                                                             GRAND RAPIDS      MI    49544‐1858
MARY A SULLIVAN & MICHAEL E SULLIVAN JT TEN     7081 MARSTELLA DR                                                                              BROWNSBURG        IN    46112‐8440
MARY A SWOBODA                                  375 BRUCK AVE                                                                                  PERTH AMBOY       NJ    08861‐2128
MARY A TANGUAY                                  5143 MICHELANGELO ST                                                                           SIERRA VISTA      AZ    85635‐2416
MARY A TAUTKUS                                  PO BOX 227                                                                                     EBEN JUNCTION     MI    49825‐0227
MARY A TAYLOR                                   2377 GENE CAMERON WAY                                                                          MEDFORD           OR    97504‐2179
MARY A TAYLOR & DONALD G TAYLOR JT TEN          11805 GRANITE BAY PL                                                                           AUSTIN            TX    78732‐2417
MARY A TEAGUE                                   6601 YALE ST                          APT 123                                                  WESTLAND          MI    48185‐2133
MARY A TERRELL                                  14630 SNOWDEN                                                                                  DETROIT           MI    48227‐3684
MARY A THISE                                    8509 W EUCALYPTUS AVE                                                                          MUNCIE            IN    47304‐9305
MARY A TRAYLOR CUST ALLISON MURRAY TRAYLOR      2025 TOPF ROAD                                                                                 N LITTLE ROCK     AR    72116‐7454
UTMA AR
MARY A TRISSEL                                  1202 MAPLE ST                                                                                  FRANKTON          IN    46044‐9350
MARY A TRUNCALLI                                81 RIDGE RD                                                                                    BRISTOL           CT    06010‐7361
MARY A VALENZA                                  90 SHILOH CT                                                                                   ROCHESTER         NY    14612‐2376
MARY A VALLEY                                   117 LAKELAND AVE                                                                               MOORE             SC    29369‐9799
MARY A VARNEY                                   C/O MARY CASSIDY                      32404 WILLOWICK DR                                       WILLOWICK         OH    44095‐3809
MARY A VETTER                                   2141 TYDD ST                          APT 321                                                  EUREKA            CA    95501‐1260
MARY A WALLACE                                  1907 BRANT RD                                                                                  WILMINGTON        DE    19810‐3801
MARY A WALLIS                                   5389 S 900 W                                                                                   ANDREWS           IN    46702‐9726
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Name                                             Address1                              Address2                   Address3    Address4          City              State Zip

MARY A WARD                                      3801 N LANCASTER DR                                                                            MUNCIE            IN    47304‐1720
MARY A WARHOL                                    4659 STERLING DR                                                                               GREENDALE         WI    53129‐2612
MARY A WATTS                                     1063 BELLE ISLE VIEW BLVD             WINDSOR ON                             N8S 3G6 CANADA
MARY A WHITCOMB                                  C/O MARY ANN MILLER                   115 SANDRA DRIVE                                         ORANGE            MA    01364‐1757
MARY A WHITE                                     3510 WOODMONT                                                                                  TOLEDO            OH    43606‐1927
MARY A WHITLEY                                   7799 TANGIER DR                                                                                SPRINGFIELD       VA    22153‐2327
MARY A WIGAL                                     RR 3 127                                                                                       WASHINGTON        WV    26181‐9331
MARY A WILKES                                    500 HAMMER ROAD                                                                                LIBBY             MT    59923‐9513
MARY A WILLIAMS                                  PO BOX 1                                                                                       SHUQUALAK         MS    39361‐0001
MARY A WINDHAM                                   5424 OVERLOOK DR                                                                               MILFORD           OH    45150‐9620
MARY A WITCHGER                                  209 SEDWICK CT                                                                                 NOBLESVILLE       IN    46060‐9083
MARY A WOLOS                                     1717 KELLOGG RD                                                                                BRIGHTON          MI    48114‐8771
MARY A WOOD                                      5355 CARLSON RD                                                                                MANISTEE          MI    49660‐9497
MARY A WOOD & ROBERT J WOOD JT TEN               329 SPRING HILL DR                                                                             CANTON            GA    30115‐4261
MARY A WRIGHT                                    1630 FACTORY RD C‐7                                                                            HAMPSTEAD         NC    28443‐2268
MARY A YATES                                     918 OXBOW LANE                                                                                 LEWISTON          NY    14092
MARY A YERION TR UA 09/18/2000 MARY A YERION     15262 RUSSELL DR                                                                               ONANCOCK          VA    23417
TRUST
MARY ABBONIZIO                                   2620 BALA LANE                                                                                 ARDMORE           PA    19003‐1602
MARY ABRAHAM                                     7620 THOMPSON RD                                                                               NORTH SYRACUSE    NY    13212‐1834
MARY ACHRAM                                      41381 DEQUINDRE                                                                                TROY              MI    48085‐4029
MARY ACKS                                        100 BRYN MAWR CT APT 519W                                                                      PITTSBURGH        PA    15221
MARY ADAMS RIGGS                                 2204 ORCHARD MEADE LANE                                                                        KNOXVILLE         TN    37923‐1376
MARY ADELE LOGVIN MIXNER                         ATTN MARY ADELE LOGVIN                14812 BONNY BRIDGE DRIVE                                 ORLANDO           FL    32826‐4117
MARY AGNES BALDWIN                               251 OVERLOOK DRIVE                                                                             VERONA            PA    15147‐3872
MARY AGNES BROWN                                 2714 STATE ST                                                                                  BUTTE             MT    59701‐4229
MARY AGNES CRONIN                                1415 ESTATE LANE                                                                               GLENVIEW          IL    60025‐1519
MARY AGNES KOLLATH & JOHN R KOLLATH JT TEN       3720 IRVING ST                                                                                 MARINETTE         WI    54143‐1024
MARY AGNES OAKES KENDRICK                        1600 TEXAS ST                         APT 2906                                                 FORT WORTH        TX    76102
MARY AGNES OSTERMAN & JUDITH THOMPSON JT TEN     39500 WARREN #470AK                                                                            CANTON            MI    48187

MARY AGNES PROBUS                                HENSYN VILLAGE BLDG E 2A                                                                       BUDD LAKE         NJ    07828
MARY AGNES RODGERS                               9172 N GENESEE RD                                                                              MT MORRIS         MI    48458‐9758
MARY AGNES STARR & GILBERT JOHN STARR JT TEN     43 CHEYENNE                                                                                    GIRARD            OH    44420‐3606

MARY ALBERT                                      4768 WESTILLINIWICK RD                                                                         WARRENSBURG       IL    62573
MARY ALBINIAK                                    ATTN LEONARD ALBINIAK                 S68 W12622 WOODS RD                                      MUSKEGO           WI    53150‐3541
MARY ALICE ADAMS                                 5406 KERMIT                                                                                    FLINT             MI    48505‐2586
MARY ALICE BANKS                                 534 BIDDLE ST                                                                                  CHESAPEAKE CITY   MD    21915‐1035
MARY ALICE BENNETT                               707 ASH ST                                                                                     OWOSSO            MI    48867‐3366
MARY ALICE BERG                                  1151 NORTH ATLANTIC BLVD #8A                                                                   FORT LAUDERDALE   FL    33304‐1722

MARY ALICE BOWEN                             2595 YOUTH MONROE RD                                                                               MONROE            GA    30655‐5582
MARY ALICE BRENNAN & RICHARD DOUGLAS DONAHUE PO BOX 145                                                                                         PERRYVILLE        MO    63775‐0145
JT TEN
MARY ALICE BROWN                             2128 FRUEH                                                                                         SAGINAW           MI    48601‐4107
MARY ALICE BUDD                              229 LYNDHURST AVE                                                                                  WILMINGTON        DE    19803‐2345
MARY ALICE BURKHARD                          13032 GARRIS AVE                                                                                   GRANADA HILLS     CA    91344‐1067
MARY ALICE COOKSEY                           C/O MRS W C WILKS                         150 FRANKLIN ST                                          VERONA            NJ    07044‐1627
MARY ALICE COWDEN                            PO BOX 3006                                                                                        KENT              TX    79855‐3006
MARY ALICE DUNCAN                            422 CARDINAL DR                                                                                    HOPKINSVILLE      KY    42240‐4803
MARY ALICE DUNWOODIE                         2223 E DAVID RD                           APT A                                                    DAYTON            OH    45440
MARY ALICE ECKEL                             4635 RIDGE RD                                                                                      GAZENOVIA         NY    13035‐9385
MARY ALICE ECKEL & MARK ANDREW ECKEL JT TEN  4635 RIDGE ROAD                                                                                    CAZENOVIA NY      NY    13035‐9385

MARY ALICE FURGASON                              3802 MILL CT                                                                                   SAN ANTONIO       TX    78230‐1960
MARY ALICE GUMBER                                31128 ISLAND DR                                                                                ROCKWOOD          MI    48173‐9550
MARY ALICE HARRISON                              1623 LAKESHORE DRIVE                                                                           LODI              CA    95242‐4223
MARY ALICE HRINEVICH                             5152 SUNLYN ST                                                                                 GRAND BLANC       MI    48439‐9505
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Name                                               Address1                               Address2             Address3          Address4          City               State Zip

MARY ALICE KING                                    677 ESSEX STREET                                                                                PLAINFIELD         NJ    07060‐2045
MARY ALICE KING                                    13032 GARRIS AVENUE                                                                             GRANADA HILLS      CA    91344‐1067
MARY ALICE LUTES                                   39306 9TH AVENUE                                                                                ZEPHYRHILLS        FL    33542‐4702
MARY ALICE LYLES                                   209 COSBY DRIVE                                                                                 LAGRANGE           GA    30241‐1835
MARY ALICE MATYJASIK                               C/O MARY ALICE PETERS                  549 SW KABOT AV                                          PORT SAINT LUCIE   FL    34953‐3054
MARY ALICE PARKER                                  5757 N SHERIDAN RDAPT 5H                                                                        CHICAGO            IL    60660‐8702
MARY ALICE PIKE TR UA 04/26/1999 MARY ALICE PIKE   5167 W CENTER ST                                                                                FAIRGROVE          MI    48733
TRUST
MARY ALICE PILAFIAN                                8645 SOUTHWEST 125 ST                                                                           MIAMI              FL    33156‐5844
MARY ALICE PUGH                                    408 FOREST PARKWAY                                                                              COLUMBIA CITY      IN    46725‐1231
MARY ALICE SCOTT                                   2408 WILLARD                                                                                    SAGINAW            MI    48602‐3427
MARY ALICE SKUPINSKY                               6 BALSAM DR                                                                                     HICKSVILLE         NY    11801‐2005
MARY ALICE STALZLE & WILLIAM R STALZLE JT TEN      10432 KILPATRICK                                                                                OAK LAWN           IL    60453‐4727
MARY ALICE TYLER CUST BRENDAN MICHAEL TYLER        1429 SYCAMORE AVE                                                                               MERRICK            NY    11566‐1801
UTMA NY
MARY ALICE TYLER CUST BRIANNE MICHELLE TYLER       1429 SYCAMORE AVE                                                                               MERRICK            NY    11566‐1801
UTMA NY
MARY ALICE TYLER CUST ERIN MARIE TYLER UTMA NY     1429 SYCAMORE AVE                                                                               N MERRICK          NY    11566‐1801

MARY ALICE WAGNER                                  503 N OHIO                                                                                      SALEM              IL    62881‐1250
MARY ALICE WALSH                                   238 FOREST COVE COURT                                                                           DAWSONVILLE        GA    30534‐6710
MARY ALLEN COX                                     1308 CROWNHILL CT                                                                               ARLINGTON          TX    76012‐2806
MARY ALLEN HOLIDAY & JOHN BEGG HOLIDAY JT TEN      24505 TUDOR LANE                                                                                FRANKLIN           MI    48025‐1666

MARY ALLEN ROTENBERRY                              1928 HERMITAGE DR                                                                               KINGSPORT          TN    37664‐3208
MARY ALLEN WILSON PERRY                            3442 S BROOKWOOD RD                                                                             BIRMINGHAM         AL    35223‐2815
MARY ALLINE MATTESON                               582 E MADISON                                                                                   PONTIAC            MI    48340‐2932
MARY ALLISON ARTER                                 2009 LINCOLN DR                                                                                 FLINT              MI    48503‐4718
MARY ALMA BUSHONG                                  305 LUPINE WAY                                                                                  SHORT HILLS        NJ    07078‐2313
MARY ALTILIO & MARGUERITE DEBENEDETTO JT TEN       1250 67TH ST                           # 500                                                    BROOKLYN           NY    11219‐5921

MARY AMATO                                     186 GENESEE PARK BLVD                                                                               ROCHESTER          NY    14619‐2406
MARY AMELIA D'AMORE                            43 REXHAME ST                                                                                       ROSLINDALE         MA    02131
MARY ANDERSON                                  6006 41ST AVE NO                                                                                    ST PETERSBURG      FL    33709‐5222
MARY ANGELA BASTONE                            359 BULL CREEK RD                                                                                   BUTLER             PA    16002‐7777
MARY ANGELA WHYTE                              390 EMORY DR                                                                                        ATLANTA            GA    30307‐1147
MARY ANITA THISE                               8509 W EUCALYPTUS AVE                                                                               MUNCIE             IN    47304‐9305
MARY ANN AANENSEN                              N4837 5TH LANE                                                                                      PLAINFIELD         WI    54966‐9263
MARY ANN ALBENCE                               415 GEDDES ST                                                                                       WILMINGTON         DE    19805‐3716
MARY ANN ANDERSON                              1703 6TH STREET S E                                                                                 BEMIDJI            MN    56601‐5003
MARY ANN ARGOE                                 1422 NW 59TH ST APT 8                                                                               SEATTLE            WA    98107‐2972
MARY ANN ARMSTRONG                             1233 OAKTREE DRIVE                                                                                  GREENVILLE         OH    45331‐2662
MARY ANN ASHENFELTER & THOMAS D ASHENFELTER JT 255 UNIONVILLE RD                                                                                   GLASSBORO          NJ    08028‐3503
TEN
MARY ANN ATSCHOO CUST MICHAEL KENNETH          2291 BELMONT CT                                                                                     TROY               MI    48098‐2347
ATSCHOO UGMA MI
MARY ANN BAILEY                                ATTN MARY A MCADAMS                        372 N PONDVIEW DR                                        PALATINE           IL    60067‐8000
MARY ANN BAMBER                                10325 SPERRY RD                                                                                     WILLOUGHBY         OH    44094‐9519
MARY ANN BANNINGER & MARY JULIA ADAMS JT TEN   2508 OXFORD RD                                                                                      TROY               MI    48084‐1052

MARY ANN BANOVETZ                                  1812 MARKESE AVE                                                                                LINCOLN PARK       MI    48146‐3205
MARY ANN BARRIGAR                                  PO BOX 5892                                                                                     HUDSON             FL    34674‐5892
MARY ANN BARRY                                     519 WINCHESTER ST                                                                               ROCHESTER          NY    14615‐2221
MARY ANN BARUT                                     49340 MAYFLOWER CT                                                                              SHELBY TWP         MI    48315‐3960
MARY ANN BATTERSBY CUST FRANCIS J BATTERSBY        37 WANAQUE TER                                                                                  RINGWOOD           NJ    07456‐2911
UTMA NJ
MARY ANN BELLISARIO                                4126 CENTRAL SARASOTA PKWY             APT 2011                                                 SARASOTA           FL    34238‐5698
MARY ANN BETTENHAUSEN                              7 LONG LANE                                                                                     MALVERN            PA    19355‐2915
MARY ANN BODE & JEROME BODE JT TEN                 68832 CONRERSTONE DR                                                                            WASHINGTON         MI    48095
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Name                                            Address1                              Address2             Address3          Address4          City            State Zip

MARY ANN BOKEN                                 PO BOX 1113                                                                                     CUTCHOGUE       NY    11935‐0863
MARY ANN BOLT                                  12701 BARRY R                                                                                   KANSAS CITY     MO    64153‐2719
MARY ANN BRAITHWAITE                           1806 WINDROW DR                                                                                 LANCASTER       PA    17602‐4161
MARY ANN BRESLIN CUST BRIAN JASON SADER UGMA 11547 MAPLEDALE                                                                                   WHITMORE LAKE   MI    48189‐9354
MI
MARY ANN BURNS                                 10670 SILVERBROOK DR                                                                            CINCINNATI      OH    45240‐3524
MARY ANN BURWELL                               809 GOLDEN CT                                                                                   BELTON          MO    64012‐4749
MARY ANN C GOLDEN TOD MICHAEL A GOLDEN SUBJECT 33 BRUMMEL LANE                        FAIRFIELD GL                                             CROSSVILLE      TN    38558‐2634
TO STA TOD RULES
MARY ANN C MEHALL                              121 EMERALD DR                                                                                  EBENSBURG       PA    15931‐5726
MARY ANN CAEZ                                  22410 HWY 6 & MELIA RD                                                                          GRETNA          NE    68028‐1427
MARY ANN CAMPBELL                              10‐5 GLENN ST                                                                                   NEWARK          OH    43055‐6325
MARY ANN CASTOR                                43151 GRANDBROOK PARK COURT                                                                     FREMONT         CA    94538‐3937
MARY ANN CAUDILL                               ATTN MARY ANN PLACEY                   PO BOX 4425                                              HIGH POINT      NC    27263‐4425
MARY ANN CELEBREZZE                            7451 OLD QARRY LANE                                                                             BRECKSVILLE     OH    44141‐1557
MARY ANN CICHEWICZ & ROBERT CICHEWICZ JT TEN   23129 LAKEVIEW LN                                                                               PIERSON         MI    49339‐9613

MARY ANN CLARENDON                              MC COMAS RD                                                                                    WHITE HALL      MD    21161
MARY ANN CLAUS                                  800 FORT PICKENS RD                   APT 904                                                  GULF BREEZE     FL    32561‐6804
MARY ANN CONBOY                                 32 WILTSHIRE DR                                                                                LAWRENCEVILLE   NJ    08648‐2585
MARY ANN CONFROY                                16 JOSHUA DRIVE                                                                                HILLSBOROUGH    NJ    08844‐3008
                                                                                                                                               TWP
MARY ANN CONNER                                 433 LAUREL AVE                                                                                 ROMEONVILLE     IL    60446‐1511
MARY ANN COPPENS                                1221 MARSHALL STREET                                                                           MANITOWOC       WI    54220‐5119
MARY ANN COPPOLA                                254 WILSON RD                                                                                  ORANGE          CT    06477‐3426
MARY ANN CORMIER & CATHERINE M HITZGES JT TEN   9424 SW 50 TH COURT                                                                            COOPER CITY     FL    33328‐4102

MARY ANN CORRY                                6402 MILLHISER AVE                                                                               RICHMOND        VA    23226‐2819
MARY ANN CORSO TOD JACK ANTHONY CORSO SUBJECT 185 N WINDHORST AVE                                                                              BETHPAGE        NY    11714
TO STA TOD RULES
MARY ANN COTE                                 4210 LAKE PLACE                                                                                  MISSOULA        MT    59803‐1253
MARY ANN CRISTEA                              4906 GERALD                                                                                      WARREN          MI    48092‐3479
MARY ANN CULLEN TOD JAMES M CULLEN SUBJECT TO 4418 ASHLAWN DRIVE                                                                               FLINT           MI    48507‐5656
STA TOD RULES
MARY ANN CURLEY                               535 EAST 14TH ST MG                                                                              NEW YORK        NY    10009‐3013
MARY ANN CURLEY                               93 WOOLSEY AVE                                                                                   GLEN COVE       NY    11542
MARY ANN CURRY                                6141 W ECHO LN                                                                                   GLENDALE        AZ    85302‐5709
MARY ANN CZLAPINSKI                           211 PHILLIPS AVE                                                                                 SOUTH           NJ    07606‐1624
                                                                                                                                               HACKENSACK
MARY ANN DAMATO                             533 BENSON LANE                                                                                    CHESTER SPRGS   PA    19425
MARY ANN DARWAK                             52 CRABAPPLE LA                                                                                    WATERVLIET      NY    12189‐1736
MARY ANN DAVIS                              1400 BRIERWOOD RD                                                                                  HAVERTOWN       PA    19083‐2909
MARY ANN DAY LEWIS                          1985 DOLPHIN DR                                                                                    APTOS           CA    95003‐5810
MARY ANN DEPASQUALE                         19021 SHEPERDSTOWN PIKE                                                                            KEEDYSVILLE     MD    21756‐1245
MARY ANN DETRICK                            861 EAST MCMURRAY ROAD                                                                             VENETIA         PA    15367‐1029
MARY ANN DETURK                             HC 71 BOX 88A                                                                                      ASBURY          WV    24916‐9642
MARY ANN DORAN                              933 FOREST AVENUE                                                                                  STATEN IS       NY    10310‐2412
MARY ANN DOUGLAS CUST DWAYNE A DOUGLAS UGMA 7353 HOSPITAL RD                                                                                   FREELAND        MI    48623
MI
MARY ANN DOYLE                              12250 MANNING PLACE                                                                                MEDWAY          OH    45341‐9619
MARY ANN DRINKARD                           4564 SPRING RIDGE DR                                                                               WHITE LAKE      MI    48383‐2153
MARY ANN DUNGEY                             4224 SEAWAY DR                                                                                     LANSING         MI    48911‐2555
MARY ANN E PATTERSON                        11418 RUNNELLS DR                                                                                  CLIO            MI    48420‐8265
MARY ANN EDDINGTON HORSEY                   3003 S ATLANTIC AVE #18C6                                                                          DAYTONA BEACH   FL    32118‐6198
                                                                                                                                               SHRS
MARY ANN EFTHYMIOU CUST ANNA M EFTHYMIOU        71 ORCHARD ST                                                                                  MANORVILLE      NY    11949
UGMA NY
MARY ANN F UMSTOT                               10774 MEMPHIS ARLINGTON RD                                                                     ARLINGTON       TN    38002‐7975
MARY ANN FELL                                   6949 MAIN ST                          APT 237                                                  TRUMBULL        CT    06611‐6308
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Name                                            Address1                              Address2                Address3       Address4          City              State Zip

MARY ANN FENTON                                 77 SEAMAN AVE                                                                                  NEW YORK          NY    10034‐2848
MARY ANN FERREN                                 30 FOREST DR                                                                                   SALEM             CT    06420‐3724
MARY ANN FERRITTO CUST AMY NICOLE FERRITTO      2454 E RAVENWOOD DR                                                                            MIDLAND           MI    48642
UGMA NY
MARY ANN FERRITTO CUST JAMES MICHAEL FERRITTO   2454 E RAVENWOOD DR                                                                            MIDLAND           MI    48642
UGMA NY
MARY ANN FITZGERALD                             2984 LUPINE COURT                                                                              BAY CITY          MI    48706‐1231
MARY ANN FLECK                                  602 LOCUST LANE                                                                                DANVILLE          PA    17821‐8512
MARY ANN FOGLE‐ALANIZ                           703 EAST SHORE DRIVE                                                                           BATTLE CREEK      MI    49017‐9222
MARY ANN FOLKER                                 3636 SQUIRE LANE                                                                               ORLANDO           FL    32806‐7323
MARY ANN FOREMAN                                4347 CRESTVIEW ROAD                                                                            HARRISBURG        PA    17112‐2030
MARY ANN FOWLER                                 3020 KLONWAY DR                                                                                LOUISVILLE        KY    40220‐2522
MARY ANN FRAME                                  34 BURLEIGH STREET                                                                             WATERVILLE        ME    04901‐7307
MARY ANN FRANZIUS                               14 BAYBERRY LANE                                                                               GROTON            CT    06340‐6002
MARY ANN FULGHUM                                126 ORMESBY PLACE                     #17                                                      FRANKLIN          TN    37064‐2987
MARY ANN G DAVIS                                128 PARK AVE                                                                                   CORTLAND          OH    44410‐1045
MARY ANN G RUSSO                                1450 PARKWOOD RD                                                                               LAKEWOOD          OH    44107‐4718
MARY ANN GERLACH                                2113 CORUNNA RD                                                                                FLINT             MI    48503‐3306
MARY ANN GLASER                                 3007 HICKORY VALLEY DRIVE                                                                      WALDORF           MD    20601
MARY ANN GOSTANIAN                              1210 LYNDHURST GREENS DRIVE                                                                    SUN CITY CENTER   FL    33573‐7160
MARY ANN GRASEL                                 405 CLYDESDALE DRIVE                                                                           SIMPSONVILLE      SC    29861
MARY ANN H KALOUPEK                             46966 EAKER ST                                                                                 STERLING          VA    20165‐3567
MARY ANN H KOVACIC                              6529 MANCHESTER DR                                                                             GREENDALE         WI    53129‐1216
MARY ANN H SMITH TR MARY ANN H SMITH TRUST UA   1540 71ST STREET                                                                               DOWNERS GROVE     IL    60516‐3138
12/09/03
MARY ANN HAAS                                   1601 45TH ST N W                                                                               WASHINGTON        DC    20007‐2566
MARY ANN HAMBLIN CUST PAUL HAMBLIN UGMA CA      5843 LA JOLLA WAY                                                                              CYPRESS           CA    90630‐3209

MARY ANN HAMILTON                             PO BOX 250                                                                                       HARTLEY           DE    19953‐0250
MARY ANN HANDS LOCKLEAR                       4400 S 80TH ST APT 306                                                                           LINCOLN           NE    68516‐4456
MARY ANN HARRINGTON                           3151 OAKWOOD ROAD                                                                                OXFORD            MI    48370‐1015
MARY ANN HARROLD                              6239 NE LAKESHORE DR                                                                             MACY              IN    46951‐8556
MARY ANN HART                                 32 HOLLY COVE LANE                                                                               DOVER             DE    19901‐6286
MARY ANN HEGINBOTHAM TOD STEVEN R             BOX 271                                                                                          EAST BRADY        PA    16028‐0271
HEGINBOTHAM SUBJECT TO STA TOD RULES
MARY ANN HEIMFORTH                            C/O HOLLY GRIESEN                       502 EAST HIBBARD RD                                      OWOSSO            MI    48867‐8964
MARY ANN HELGE                                67 TEXAS RD                                                                                      MONROE TWP        NJ    08831‐9655
MARY ANN HENWOOD FLYNN & JOSEPH COLLIER FLYNN 27 GREENLAWN RD                                                                                  PAOLI             PA    19301‐1501
JT TEN
MARY ANN HEWES                                4807 LYELL RD                                                                                    SPENCERPORT       NY    14559‐2013
MARY ANN HEYING                               45 HONEY LOCUST LN                      APT 103B2                                                SAINT CHARLES     MO    63303‐5777
MARY ANN HICKEY                               8717 ROTHWELL ROAD                                                                               DAVIS JUNCTION    IL    61020‐9613
MARY ANN HILL                                 144 WORMWOOD ST                                                                                  OJAI              CA    93023‐4031
MARY ANN HOCHMAN & NORMAN HOCHMAN JT TEN      6192 DEERFIELD DR                                                                                FARMINGTON        NY    14425‐1141

MARY ANN HUESTON GDN MICHAEL HUESTON          350 FIFTH AVE SUITE 6110                EMPIRE STATE BUILDING                                    NEW YORK          NY    10118‐6110
MARY ANN HULL                                 1270 OAKHILL AVE                                                                                 FAIRBORN          OH    45324‐5667
MARY ANN HUNT                                 4600 TAFT #418                                                                                   WICHITA FALLS     TX    76308‐4935
MARY ANN HUNTER                               2301 SACRAMENTO                                                                                  BERKELEY          CA    94702‐2127
MARY ANN HUTTING                              10200 HADLEY RD                                                                                  GREGORY           MI    48137‐9609
MARY ANN I PICKERING                          5687 MILTON AVE                                                                                  SARASOTA          FL    34243‐4835
MARY ANN IGOE                                 63 VALLEYFIELD ST                                                                                LEXINGTON         MA    02421‐7930
MARY ANN J SMOLEY CUST ELIZABETH SMOLEY UGMA 3720 SW 183RD TER                                                                                 DUNNELLON         FL    34432
PA
MARY ANN J SMOLEY CUST REBECCA SMOLEY UGMA PA 3720 SW 183RD TER                                                                                DUNNELLON         FL    34432

MARY ANN JABLONSKI & GARY JABLONSKI JT TEN      221 BRIAN CT                                                                                   MANHATTAN         IL    60442
MARY ANN JACKSON                                583 W 5TH                                                                                      PERU              IN    46970‐1844
MARY ANN K GILES                                606 SMILEY AVE                                                                                 BETHLEHEM         PA    18015‐4334
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Name                                            Address1                               Address2                             Address3   Address4          City              State Zip

MARY ANN K SAMPAR                               18516 BONNIE LANE                                                                                        STRONGSVILLE      OH    44136‐4222
MARY ANN KALMAN                                 1005 LAFAYETTE ST                                                                                        UNIONTOWN         PA    15401‐7301
MARY ANN KAREL                                  328 PIEDMONT DRIVE S E                                                                                   KENTWOOD          MI    49548‐6894
MARY ANN KATTLEMAN                              3312 EMERALD LAKES DRIVE               UNIT#22                                                           CINCINNATI        OH    45211‐1984
MARY ANN KEMMERER                               3074 BURR OAK CT                                                                                         DAYTON            OH    45420‐1222
MARY ANN KERNOHAN                               34232 ORANGELAWN ST                                                                                      LIVONIA           MI    48150‐2636
MARY ANN KIDWELL                                112 42ND ST                                                                                              SANDUSKY          OH    44870‐4854
MARY ANN KILPATRICK                             6 OAK TREE LANE                                                                                          LITTLE FALLS      NJ    07424‐2314
MARY ANN KLENK                                  105 10TH ST SE                                                                                           WELLS             MN    56097
MARY ANN KOHL TR MARY ANN KOHL TRUST UA         11274 FIVE PT RD                                                                                         PERRYSBURG        OH    43551‐9619
12/19/96
MARY ANN KOLD                                   34800 VINE ST #111G                                                                                      EASTLAKE          OH    44095
MARY ANN KORDALSKI & JEFFREY KORDALSKI JT TEN   14216 ADAMS AVE                                                                                          WARREN            MI    48088‐1461

MARY ANN KRUSO                                  2470 23RD ST                                                                                             WYANDUTTE         MI    48192‐4432
MARY ANN KULISH                                 15 COUNTRY VILLAGE CT                                                                                    BAYONNE           NJ    07002‐1505
MARY ANN L LAKIN & THOMAS J LAKIN JT TEN        1514 SW 21ST PL                                                                                          REDMOND           OR    97756‐9498
MARY ANN L MADDEN                               648 FLORENCE ST                                                                                          DALY CITY         CA    94014‐2820
MARY ANN LACEK                                  8201 WEST 130TH ST                                                                                       N ROYALTON        OH    44133‐1003
MARY ANN LASKIWSKI                              17 RANSON HALL RD                                                                                        WOLCOTT           CT    06716‐2515
MARY ANN LAWSON                                 2549 MAIDENS RD                                                                                          POWHATAN          VA    23139‐5622
MARY ANN LEGROW                                 9690 N RANSOM RD                                                                                         WHEELER           MI    48662‐9707
MARY ANN LEONARD                                6043 35TH AVE NE                                                                                         SEATTLE           WA    98115‐7312
MARY ANN LIEFFERS                               7542 ASHLEY RD                                                                                           BELDING           MI    48809
MARY ANN LITTLE                                 6 MONTFORD CT                                                                                            GREENSBORO        NC    27408
MARY ANN LOPER                                  509 CREEKVIEW TER                                                                                        PELHAM            AL    35124‐1615
MARY ANN M FRICKO & JOHN J FRICKO & ANNE FRICKO 140 S 3RD AVE                                                                                            CLARION           PA    16214‐2412
JT TEN
MARY ANN M SPOONER & JULIA LYNNE SPOONER JT     521 MIDLAND PARK DR                                                                                      STONE MOUNTAIN    GA    30087‐2723
TEN
MARY ANN MADDEN                                 3 OAKWOOD ST                                                                                             EAST GREENBUSH    NY    12061‐2505
MARY ANN MADDEN                                 112 SUMMIT RD                                                                                            SPARTA            NJ    07871‐1400
MARY ANN MAGGARD                                708 READING PL                                                                                           SUN CITY CTR      FL    33573‐5432
MARY ANN MANNERS                                4154 PARDEE AVE                                                                                          DEARBORN HTS      MI    48125‐2410
MARY ANN MARASEK                                119 MAXEY RD                                                                                             HOUSTON           TX    77013‐4511
MARY ANN MARCHEWKA TR UA 06/14/2007 MARY ANN 2022 ALFREDO AVE                                                                                            LADY LAKE         FL    32159
MARCHEWKA TRUST
MARY ANN MARNON & EDWARD T MARNON JR JT TEN 22513 SHOREVIEW CT                                                                                           ST CLAIR SHORES   MI    48082‐1480

MARY ANN MASSON                                 6170 BAY SHORE DR                                                                                        STURGEON BAY      WI    54235‐8108
MARY ANN MATLOCK CROWLEY                        17013 COLOMBINE                                                                                          PFLUGERVILLE      TX    78660‐2229
MARY ANN MATTHEWS TR UA 11/15/1990 DISABITO     C/O GREG D MERRILL                     211 EAST CARRILLO STREET SUITE 300                                SANTA BARBARA     CA    93101
FAMILY REVOCABLE TRUST
MARY ANN MAURER TR MARY ANN MAURER TRUST UA     117 ADDIES CT                                                                                            WILTON            IA    52778‐9582
04/30/99
MARY ANN MC DONALD                              44219 AUSABLE DR                                                                                         CLINTON TWP       MI    48038‐1410
MARY ANN MC GOVERN                              4512 PINEHURST                                                                                           GAYLORD           MI    49735‐9469
MARY ANN MC NAMARA                              5455 ASHBROOK PLACE                                                                                      DOWNERS GROVE     IL    60515‐4253
MARY ANN MCCALISTER                             629 CRESTMORE AVE                                                                                        DAYTON            OH    45417‐1535
MARY ANN MCCALLISTER                            1103 E MARKET ST                                                                                         NEW ALBANY        IN    47150‐2835
MARY ANN MCDONALD                               2900 RIVERWOODS NE                                                                                       ROCKFORD          MI    49341
MARY ANN MCWAIN & ROBERT D MCWAIN JT TEN        9415 BLUE SPRUCE CT                                                                                      DAVISON           MI    48423‐1186
MARY ANN MEAD                                   4748 E BURNS ST                                                                                          TUCSON            AZ    85711‐3015
MARY ANN MENDEZ                                 50 KEATING DR                                                                                            ROCHESTER         NY    14622‐1522
MARY ANN MERRELL                                100 CLINTON ST                                                                                           LOWVILLE          NY    13367
MARY ANN MIKLOVIC                               3939 DALE RD                                                                                             SAGINAW           MI    48603‐3135
MARY ANN MILLER                                 621 S ROYAL ST                                                                                           ALEXANDRIA        VA    22314‐4141
MARY ANN MILLS                                  84 MARGARET ST                                                                                           STATEN ISLAND     NY    10308‐2216
MARY ANN MITCHELL                               4163 CEDARWOOD CT                                                                                        INDEPENDENCE      OH    44131‐3205
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Name                                                Address1                             Address2                 Address3      Address4          City               State Zip

MARY ANN MORANG                               633 5TH ST                                                                                          BOULDER CITY       NV    89005‐2935
MARY ANN MORGAN                               18020 SHEPHERD VALLEY RD                                                                            GLENCOE            MO    63038‐1506
MARY ANN MOSER TR MARY ANN MOSER LIVING TRUST 1035 N ALEXANDER                                                                                    ROYAL OAK          MI    48067‐3628
UA 06/04/04
MARY ANN MUDD                                 2338 HUNTSVILLE RD                                                                                  PENDLETON          IN    46064‐8733
MARY ANN MUIR                                 746 DARTMOUTH DR                                                                                    ROCHESTER          MI    48307‐4522
MARY ANN MULDOON & DENNIS M MULDOON JT TEN 13113 COMMONWEALTH                                                                                     SOUTHGATE          MI    48195‐1262

MARY ANN NEUBAUER                           7325 WEST SUMMERDALE AVE                                                                              CHICAGO            IL    60656‐1846
MARY ANN NEWCOMBE & BRIAN D NEWCOMBE JT TEN 2610 COSTA MESA                                                                                       WATERFORD          MI    48329‐2431

MARY ANN NOWAK                                      2558 S WAVERLY RD                                                                             EATON RAPIDS       MI    48827
MARY ANN NUTZEL                                     81 GLENDALE ST                                                                                NUTLEY             NJ    07110‐1110
MARY ANN O'BRYAN & WILLIAM J O'BRYAN JT TEN         4920 WALDEN LANE                                                                              KETTERING          OH    45429‐5529
MARY ANN ODOM & JAMES R ODOM JT TEN                 2284 DUNSTABLE                                                                                BIRMINGHAM         MI    48009‐7265
MARY ANN OHALLORAN                                  1275 15TH ST                                                                                  FORT LEE           NJ    07024
MARY ANN OHANNES                                    27442 RED LEAF LN                                                                             SOUTHFIELD         MI    48076‐7414
MARY ANN OHARA                                      402 E SUGAR BAY LANE                                                                          CEDAR              MI    49621‐9724
MARY ANN OLIVA & FRANK OLIVA JT TEN                 101 TERRACE WAY                                                                               ELIZABETH CTY      NC    27909‐8444
MARY ANN OLSEN                                      19 VIEW CT #206                                                                               FAIRFIELD          OH    45014‐6132
MARY ANN OPSUTH                                     48 HEMPSTEAD RD                                                                               TRENTON            NJ    08610‐2037
MARY ANN OWENS & RALPH F OWENS JT TEN               4676 E COUNTY ROAD 500 S                                                                      MIDDLETOWN         IN    47356‐9542
MARY ANN OZANICK & LEONARD F OZANICK JT TEN         1560 DOUGLAS RD                                                                               WICKLIFFE          OH    44092‐1002

MARY ANN P ABERMAN                                  609 LAKESIDE DR                                                                               ROCK HILL          SC    29730‐6109
MARY ANN P CULYBA                                   1612 MAXWELL                                                                                  ROYAL OAK          MI    48067‐1267
MARY ANN P FARKAS & ANTHONY FARKAS JT TEN           117 DOGWOOD LN                                                                                NEWBURGH           NY    12550‐2027
MARY ANN P LEARD                                    5537 TODD AVENUE                                                                              BALTIMORE          MD    21206‐3722
MARY ANN P ROMANSKI                                 4360 ANDERSON ANTHONY RD                                                                      WARREN             OH    44481‐9428
MARY ANN PACILLI                                    34 FERNCLIFF RD                                                                               BLOOMFIELD         NJ    07003‐5414
MARY ANN PACKARD                                    67 WILSON AVE                                                                                 SPENCER            MA    01562‐2847
MARY ANN PANGLE                                     3916 CAYLOR DRIVE                                                                             NASHVILLE          TN    37215‐2402
MARY ANN PARNELL                                    PO BOX 4                                                                                      FELTON             DE    19943‐0004
MARY ANN PASKIEWICZ & MICHAEL D PASKIEWICZ JT       29752 GREGG                                                                                   ROSEVILLE          MI    48066‐1916
TEN
MARY ANN PATRICELLI & RICHARD A PATRICELLI JT TEN   4332 RIPPLING BROOK                                                                           NORTH LAS VEGAS    NV    89030

MARY ANN PATTERSON TR UA 05/19/93 THE MARY ANN 5077 OAK PARK WAY                                                                                  SANTA ROSA         CA    95409‐3642
PATTERSON TRUST
MARY ANN PAWLIK BRAUN                          7410 WHISPERING OAK DR                                                                             SYLVANIA           OH    43560‐1330
MARY ANN PECK                                  512 WALNUT ST                                                                                      MONTOURSVILLE      PA    17754‐1453
MARY ANN PERRY                                 836 HAMPTON CT                                                                                     SAGAMORE HILLS     OH    44067‐2384
MARY ANN PERRYMAN                              371 TARA                                                                                           TROY               MI    48098‐3119
MARY ANN PETERSON                              1347 HASLETT RD                                                                                    HASLETT            MI    48840‐8993
MARY ANN PHILLIPS                              2226 LAWRENCE AVENUE                                                                               INDIANAPOLIS       IN    46227‐8634
MARY ANN PICARD                                30 CLINTON AVE N                                                                                   ROCHESTER          NY    14604‐1404
MARY ANN PINTAR                                7155 OLD COACH TRAIL                                                                               WASHINGTON         MI    48094‐2156
MARY ANN PIRES                                 6 DONATELLO COURT                                                                                  GREENVILLE         SC    29609‐2703
MARY ANN PIRES CUST CARRIE A PIRES UGMA NY     32 OAK CREST CT                                                                                    GREENVILLE         SC    29605‐1145
MARY ANN POOLE                                 3620 WILLIAMSBOROUGH ROAD                                                                          RALEIGH            NC    27609‐6356
MARY ANN PRICKETT                              46 COUNTRY CLUB GATE                                                                               PACIFIC GROVE      CA    93950‐5046
MARY ANN PRYBOLSKY                             8 FALMOUTH ROAD                                                                                    ISELIN             NJ    08830‐2407
MARY ANN R BERNARD                             170 RONALD BLVD                                                                                    LAFAYETTE          LA    70503‐2738
MARY ANN RA                                    6624 THOROUGHBRED LOOP                                                                             ODESSA             FL    33556‐1813
MARY ANN RA & MRS MILDRED BOY JT TEN           ATTN M BARDI                              6624 THOROUGHBRED LOOP                                   ODESSA             FL    33556‐1813
MARY ANN RATHMANNER                            201 CURTIS AVE                                                                                     WILMINGTON         DE    19804‐1912
MARY ANN RAWSKY                                44185 LA DOMAIN DR                                                                                 STERLING HEIGHTS   MI    48314‐1973

MARY ANN RICHARDS                                   1178 BLUE RIDGE DR                                                                            GREEN BAY          WI    54304‐4171
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Name                                            Address1                               Address2             Address3          Address4          City             State Zip

MARY ANN RICHARDS                               77 MAIN STREET                                                                                  HIGH BRIDGE      NJ    08829‐1902
MARY ANN RITTER                                 4708 MULBERRY WOODS CIRCLE                                                                      ANN ARBOR        MI    48105‐9443
MARY ANN ROBERTSON                              34355 PARK EAST DR APT B2                                                                       CLEVELAND        OH    44139‐4255
MARY ANN ROCHELEAU                              27 LONGVUE DRIVE                                                                                WETHERSFIELD     CT    06109‐3018
MARY ANN ROMERO                                 10456 BILBOA ST NW                                                                              ALBUQUERQUE      NM    87114‐5579
MARY ANN ROTUNNO                                753 METROPOLITAN AVE                                                                            BROOKLYN         NY    11211‐3701
MARY ANN ROVAI & NICHOLAS D ROVAI JT TEN        5548 NW 27TH PLACE                                                                              OCALA            FL    34482‐8701
MARY ANN ROWE                                   2113 GRAFTON AVE                                                                                CLERMONT         FL    34711‐5241
MARY ANN ROWLAND TR BETTY C ROWLAND LIVING      924 LINDEN AVENUE                                                                               BURLIGAME        CA    94010‐2642
TRUST UA 04/01/92
MARY ANN RUNDIO CUTTER                          6999 LINCOLN AVENUE                                                                             LOCKPORT         NY    14094‐6227
MARY ANN RUSZINKO                               111 WALNUT AVE                                                                                  SOMERSET         NJ    08873‐1564
MARY ANN S NEWELL                               1040 FEARRINGTON POST                                                                           PITTSBORO        NC    27312‐5502
MARY ANN SANTORO CUST JANET SANTORO UGMA NY     224 BENEDICT AVE                                                                                THORNWOOD        NY    10594‐1236

MARY ANN SANTORO CUST SUSAN SANTORO UGMA NY 224 BENEDICT AVE                                                                                    THORNWOOD        NY    10594‐1236

MARY ANN SAYLES                                 504 PRESTIGE ST                                                                                 JOLIET           IL    60435‐5378
MARY ANN SCANLON TR UA 03/31/1998 SCANLON       272 MOUNT AIRE PKWY                                                                             CLAYTON          CA    94517
FAMILY LIVING TRUST
MARY ANN SCHNEIDER                              6659 FOSSIL CREEK                                                                               MEMPHIS          TN    38120‐8844
MARY ANN SCHUSSLER                              220 14TH AVE NO                                                                                 SO ST PAUL       MN    55075‐1942
MARY ANN SEALS                                  240 PARKER RD                                                                                   LONG VALLEY      NJ    07853‐3055
MARY ANN SEEBER                                 PO BOX 1191                                                                                     BLOOMINGTON      IN    47402‐1191
MARY ANN SELLERS TR UNDER DECL OF TRUST BY MARY 2137 MEDFORD RD #13                                                                             ANN ARBOR        MI    48104‐4936
ANN SELLERS 06/17/87
MARY ANN SHAW                                   9 PINETREE TERRACE                                                                              MADISON          NJ    07940‐2311
MARY ANN SHAW & KENNETH ALAN SHAW TEN COM       4635 HOWARD AVE                                                                                 WESTERN SPRGS    IL    60558‐1656

MARY ANN SHEA EX UW JUNE H SHEA                 1002 KENDALL RD                                                                                 WILMINGTON       DE    19805‐1151
MARY ANN SHEEKS                                 6063 WHITE BIRCH DRIVE                                                                          FISHERS          IN    46038‐4001
MARY ANN SHULMAN                                403 MAIN ST STE 413                                                                             SAN FRANCISCO    CA    94105‐2067
MARY ANN SIELSKI & FAYE MILLER JT TEN           262 FIFTH AVE                                                                                   MANISTER         MI    49660‐1357
MARY ANN SIMPER                                 3720 E 18TH ST APT 107                                                                          VANCOUVER        WA    98661
MARY ANN SINGH                                  5440 RALSTON ST #335                                                                            VENTURA          CA    93003
MARY ANN SMITH                                  2222 SHERWOOD AVE                      APT 9                                                    TOLEDO           OH    43614‐4354
MARY ANN SMITH                                  25051 LAMANGUSTA                                                                                LAGUNA NIGUEL    CA    92656‐5489
MARY ANN SMITH                                  6336 FORESTDALE AVENUE                                                                          DAYTON           OH    45427‐1815
MARY ANN SNOW                                   5507 TIRO CORP RD                                                                               TIRO             OH    44887‐9703
MARY ANN SOULE                                  1701 ALLARD                                                                                     GROSSE POINTE    MI    48236‐1901
                                                                                                                                                WOOD
MARY ANN SPARKS                                7012 EAST HIGHWAY 37                                                                             TUTTLE           OK    73089‐8532
MARY ANN SPISAK                                48825 VILLAGE DR                                                                                 MACOMB           MI    48044‐1850
MARY ANN SPRAGUE                               8511 PRIOR RD                                                                                    DURAND           MI    48429‐9437
MARY ANN STARK CUST STEVEN JAMES STARK UGMA MI PO BOX 230                              CAMBRIDGE                              NEW ZEALAND

MARY ANN STEELE                              5159 CENTREVILLE RD                                                                                GRAND BLANC      MI    48439‐8747
MARY ANN STSOUVER                            402 W ROCKWELL ST                                                                                  FENTON           MI    48430‐2083
MARY ANN SULLIVAN                            141 CITRUS RD NE                                                                                   LAKE PLACID      FL    33852‐6044
MARY ANN SUTTON                              6689 LINCOLN AVENUE                                                                                LOCKPORT         NY    14094‐6156
MARY ANN SWANSON & EDWARD B SWANSON & LESLIE 800 GIBSON                                                                                         OXFORD           MI    48371‐4521
DEMERS JT TEN
MARY ANN SWAZIEK                             1217 E FAIRMONT DR                                                                                 TEMPE            AZ    85282‐3937
MARY ANN SWEITZER                            2124 TAMARRON TER                                                                                  PALM HARBOUR     FL    34683‐4937
MARY ANN SYTEK                               2436 CHERYLANN DR                                                                                  BURTON           MI    48519‐1362
MARY ANN SZAFRANSKI                          319 YALE AVE                                                                                       POINT PLEASANT   NJ    08742‐3136
                                                                                                                                                BCH
MARY ANN T FRY TR MARY ANN T FRY LIVING TRUST UA 974 FLAGSTONE DR                                                                               DYER             IN    46311
08/31/95
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Name                                             Address1                              Address2                Address3       Address4          City               State Zip

MARY ANN T PASCHAL TR WALTER JANOSZ SR TRUST UA 3319 LLOYD PASCHAL RD                                                                           APPLIING           GA    30802‐2409
04/09/99
MARY ANN TAYLOR TR MARY ANN TAYLOR TRUST UA     12008 W 181ST AVE                                                                               LOWELL             IN    46356‐9454
10/16/97
MARY ANN TIERNEY DUNLEAVY                       10238 BRIGADE DR                                                                                FAIRFAX            VA    22030‐2110
MARY ANN TILDEN                                 303 OAKLEY LANE                                                                                 KIRKWOOD           MO    63122‐2816
MARY ANN TOCHKO                                 PO BOX 695                                                                                      BROOKLINE          NH    03033‐0695
MARY ANN TODHUNTER & WILLIAM H TODHUNTER JT 10726 MAPLEWOOD DR                                                                                  COUNTRYSIDE        IL    60525‐4813
TEN
MARY ANN TOMKO                                  13443 LILLIAN LN                                                                                STERLING HEIGHTS   MI    48313‐2643

MARY ANN TOMKO & JOHN L TOMKO JT TEN             13443 LILLIAN LN                                                                               STERLING HEIGHTS   MI    48313‐2643

MARY ANN TRASKA TR UA 05/02/2006 MARY ANN       2 SUNSET TERRACE                                                                                PORTLAND           CT    06480
TRASKA LIVING TRUST
MARY ANN TUHEY TR JOHN TUHEY & MARY ANN TUHEY 1308 OLD CARRIAGE LANE                                                                            HUNTSVILLE         AL    35802‐2765
TRUST UA 11/25/86
MARY ANN UPCHURCH TR UW BIRDIE H HARRIS         3210 CRITTENDEN CT                                                                              WINSTON‐SALEM      NC    27106‐5523
MARY ANN V CROSS                                9257 MEADOW LANE                                                                                BRECKSVILLE        OH    44141‐1642
MARY ANN VAN TREASE & SCOTT A VAN TREASE JT TEN 2441 FLINTRIDGE                                                                                 ORION              MI    48359‐1531

MARY ANN VARGA                                   8878 KILKENNY DR                                                                               BALDWINSVILLE   NY       13027‐9069
MARY ANN WALLACE                                 N80 W15315 VALLEY VIEW DR                                                                      MENOMONEE FALLS WI       53051‐3752

MARY ANN WALTERS                             PO BOX 904                                                                                         WHITLEY CITY       KY    42653‐0904
MARY ANN WARDLE                              1298 SUGAR RUN RD                                                                                  VENETIA            PA    15367‐1512
MARY ANN WARREN                              3404 CAPE COD                                                                                      MIDLAND            TX    79707‐4801
MARY ANN WARZECHA                            62 EAGLE RIDGE CIRCLE                                                                              ROCHESTER          NY    14617‐5121
MARY ANN WATKINS & DANIEL WATKINS JT TEN     1749 PIERSON ROAD                                                                                  HAMILTON           OH    45013‐9138
MARY ANN WEBER CUST AMBER CZAPRANSKI UGMA NY 340 SOUTH RD                                                                                       SCOTTSVILLE        NY    14546‐9506

MARY ANN WEBER CUST CAROLYN WEBER UGMA NY        340 SOUTH RD                                                                                   SCOTTSVILLE        NY    14546‐9506

MARY ANN WEBER CUST DUSTAN WEBER UGMA NY         340 SOUTH RD                                                                                   SCOTTSVILLE        NY    14546‐9506

MARY ANN WHITE                                   2466 ROCKY TOP CT                                                                              COMMERCE TWP       MI    48382
MARY ANN WHITE & ROGER WHITE JT TEN              10747 W JUDD RD                                                                                FOWLERVILLE        MI    48836‐9002
MARY ANN WHITTEN                                 7115 BENNINGTON                                                                                DALLAS             TX    75214‐1702
MARY ANN WILKINSON                               1717 S 700 E                                                                                   MARION             IN    46953‐9598
MARY ANN WILLIAMS DESHAZER                       15314 STEVENS                                                                                  BELLFLOWER         CA    90706‐3553
MARY ANN WITKOS                                  47710 WALDEN                                                                                   MACOMB             MI    48044‐5006
MARY ANN WRENN                                   60 VALLE VIEW DRIVE                                                                            MT SIDNEY          VA    24467‐2208
MARY ANN Z KLUIBER                               OLCOTT LANE                                                                                    BERNARDSVILLE      NJ    07924
MARY ANN ZITO                                    2323 ELMHURST                                                                                  ROYAL OAK          MI    48073‐3862
MARY ANN ZLATNIK KLUIBER                         OLCOTT LANE                                                                                    BERNARDSVILLE      NJ    07924
MARY ANNA BROWNING                               3215 S CRYSLER                                                                                 INDEPENDENCE       MO    64055‐2332
MARY ANNA BUFFALOE                               9315 TASCOSA LN                                                                                HOUSTON            TX    77064
MARY ANNA LIDESTRI & C PAUL LIDESTRI JT TEN      15 CARLISLE DR                                                                                 JACKSON            NJ    08527‐4382
MARY ANNA MAC FARLAND                            12 GLEN RD                                                                                     LANSDALE           PA    19446‐1406
MARY ANNA MEYER & WILLIAM D MEYER JT TEN         ROAD 1                                                                                         SLATER             MO    65349
MARY ANNE BOWMAN                                 C/O MARY ANN FORGIE                   3235 W MAIN ROAD                                         BATAVIA            NY    14020‐9109
MARY ANNE BRADSHAW                               1933 HIGHLAND PIKE                                                                             FT WRIGHT          KY    41017‐8136
MARY ANNE BREEN                                  19 SCHENCK                                                                                     GREAT NECK         NY    11021‐3632
MARY ANNE BROWN & EDWARD J BROWN JT TEN          636 CHEROKEE RD                                                                                CHILLICOTHE        OH    45601‐1213
MARY ANNE BUONASORA                              15 PARMALEE DRIVE                                                                              HAMDEN             CT    06514‐2007
MARY ANNE CASE                                   2940 GANT QUARTERS CIRCLE                                                                      MARIETTA           GA    30068‐3723
MARY ANNE CAVICCHI & RICHARD H CAVICCHI JT TEN   3640 GLENBAR DR                                                                                FAIRVIEW PARK      OH    44126

MARY ANNE CLAUSE                                 C/O FRANK BECKER                      9629 WOODSTREAM DRIVE                                    HENRICO            VA    23233‐2905
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Name                                              Address1                               Address2             Address3          Address4          City            State Zip

MARY ANNE CLOUGHERTY TEETS CUST KATHERINE G       4618 E LANE PARK                                                                                MEAD            WA    99021‐9475
WIERMAN UTMA IL
MARY ANNE COPELAND                                749 CARMAN MEADOWS DR                                                                           MANCHESTER      MO    63021‐7174
MARY ANNE CUBERO                                  4700 SUNDOWN RD                                                                                 LAYTONSVILLE    MD    20882‐2218
MARY ANNE DUGGAN & CATHERINE DUGGAN JT TEN        BOX 232                                                                                         ACCOKEEK        MD    20607‐0232

MARY ANNE ERNST                                   70 KENT AVE                                                                                     HASTINGS‐ON‐    NY    10706‐3226
                                                                                                                                                  HUDSON
MARY ANNE EVE HILLER                              38 BASSETT ST                                                                                   MILFORD         CT    06460
MARY ANNE FORRESTER & H DIXON FORRESTER JR JT     1209 NOTTOWAY TRAIL                                                                             MARIETTA        GA    30066‐7811
TEN
MARY ANNE GAWRONSKI                               51791 JULIES DR                                                                                 NEW BALTIMORE   MI    48047
MARY ANNE GENARO                                  542 BEVERLY DR                                                                                  TALLMADGE       OH    44278‐1414
MARY ANNE GRAHAM                                  6026 W 54TH TERRACE                                                                             MISSION         KS    66202‐1631
MARY ANNE JACKSON                                 518 GILBERT ST SE                                                                               AIKEN           SC    29801‐5010
MARY ANNE KAISER                                  1503 E PEARL                                                                                    HAZEL PARK      MI    48030‐3310
MARY ANNE KNUTH CUST KATHLEEN KNUTH UTMA IL       650 BELFAST TERRACE                                                                             CRETE           IL    60417‐1221

MARY ANNE LAWLESS                                 2002 COUNTY ROUTE 24                                                                            EDWARDS         NY    13635‐3172
MARY ANNE MOFFITT CUST ALLEN L MOFFITT UTMA IL    1400 MARK LN                                                                                    NORMAL          IL    61761‐3918

MARY ANNE NEWBILL BURKE                           5411 CARY STREET RD                                                                             RICHMOND        VA    23226‐2302
MARY ANNE POMPILIUS                               3950 NORTON                                                                                     HOWELL          MI    48843‐9507
MARY ANNE RAY                                     7360 BLACKHAWK TRAIL                                                                            SPRING HILL     FL    34606‐2520
MARY ANNE ROGERS                                  5715 S HARPER                                                                                   CHICAGO         IL    60637‐1840
MARY ANNE ROMANOWSKI                              1367 HOWARD RD                                                                                  ROCHESTER       NY    14624
MARY ANNE SCHILLO                                 517 VALLEY DR SE                                                                                VIENNA          VA    22180‐4863
MARY ANNE SCHLEE                                  BOX 279                                                                                         SUTTONS BAY     MI    49682‐0279
MARY ANNE SHRENSKY                                441 COOLIDGE AVE                                                                                PITTSBURGH      PA    15228‐1235
MARY ANNE SOCALL                                  31870 BLOCK ST                                                                                  GARDEN CITY     MI    48135‐1501
MARY ANNE STREICH                                 167 WELLINGTON PKWY                                                                             NOBLESVILLE     IN    46060‐4210
MARY ANNE SUMMERS                                 905 BLUEBIRD DR                                                                                 MANCHACA        TX    78652‐4155
MARY ANNE SWANSON                                 1733 WHIPPERWILL LN                                                                             GRAND FORKS     ND    58203‐9307
MARY ANNE THOMPSON & JENNIFER M DOBIS JT TEN      481 HAM WILLIAMS RD                                                                             SPRINGVILLE     TN    38256‐4426

MARY ANNE TOZEK                                   425 BARRY RD                                                                                    ROCHESTER       NY    14617‐4708
MARY ANNE TREZIL                                  4171 SYRACUSE                                                                                   DEARBORN        MI    48125‐2118
MARY ANNE WAGNER TR FAMILY TRUST 03/12/90 U‐A     6115 MAIN ST                                                                                    KANSAS CITY     MO    64113‐1435
MARY ANNE WAGNER
MARY ANNE WALTHER                                 12602 SAFE HARBOUR DR                                                                           CORTEZ          FL    34215‐2400
MARY ANNE WHITTEMORE                              APT 71                                 149 ALLEN AVE                                            PORTLAND        ME    04103‐3735
MARY ANNE WIESE                                   12205 QUAIL RUN RO                                                                              HUDSON          FL    34667‐2332
MARY ANNE WILLIAMS                                55 PRESTON DRIVE                                                                                MERIDEN         CT    06450‐3592
MARY ANNE ZOGAS                                   176 SHELDON AVE                                                                                 PITTSBURGH      PA    15220‐2637
MARY ANTIONETTE MARTIN MIDDLETON                  9740 OLD DELL TRCE                                                                              RICHMOND        VA    23233‐5734
MARY ANTOINETTE BRINSTER & ROBERT C BRINSTER JR   6 VALLEY BROOK DR                                                                               FAIRPORT        NY    14450‐9350
JT TEN
MARY ANZELONE                                     2114 CYPRESS ST                                                                                 WANTAGH         NY    11793‐4237
MARY ARAMA                                        3617 FLORETTA                                                                                   CLARKSTON       MI    48346‐4019
MARY ARLENE ECK                                   1205 MURMAC LANE                                                                                WESTERVILLE     OH    43081‐8935
MARY ARLENE HUBER                                 376 WALNUT LN                                                                                   MASON           OH    45040
MARY ARNOLD                                       59 ELMWOOD AVE                                                                                  UNION           NJ    07083‐6910
MARY ARNOLD                                       640 ADEE AVE                           1C                                                       BRONX           NY    10467‐6811
MARY ARRANTS GODFREY                              2 WOODCROFT LANE                                                                                WILMINGTON      DE    19810‐2826
MARY ATER                                         868 SWEETING AVE                                                                                COLUMBUS        OH    43229‐5040
MARY AUBREY                                       13049 CHIPPEWA                                                                                  WARREN          MI    48093‐1851
MARY B BAILEY                                     3003 VAN NESS ST NW                    APT W 201                                                WASHINGTON      DC    20008‐4820
MARY B BANNER                                     5920 ROUND HILL LN                                                                              KNOXVILLE       TN    37912
MARY B BARCO                                      2788 FOX COURT                                                                                  MARTINSVILLE    IN    46151‐8209
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Name                                              Address1                             Address2                    Address3   Address4          City            State Zip

MARY B BARDWELL                                   C/O ROSE WALLACE                     3287 CORTLAND                                            DETROIT          MI   48206‐1031
MARY B BARNETT                                    5912 IDLE AVE                                                                                 LAS VEGAS        NV   89107‐3644
MARY B BARRY                                      11500 RIDENOUR ROAD                                                                           THORNVILLE       OH   43076‐9688
MARY B BEAVERS                                    5317 HAMMOND AVE                                                                              DAYTON           OH   45427
MARY B BLAIR TR MARY B BLAIR REVOCABLE TRUST UA   34134 BANBURY                                                                                 FARMINGTON HILLS MI   48331‐2216
6/27/01
MARY B BOWMAN                                     6225 MITCHELL RD                                                                              RIDGEWAY        VA    24148‐4276
MARY B BREWINGTON                                 685 COUNTRY CLUB RD                                                                           INDIANAPOLIS    IN    46234‐2631
MARY B BRIGHT                                     12294 W 250 S                                                                                 RUSSIAVILLE     IN    46979‐9767
MARY B BRYANT                                     5492 BUNNELL HILL RD                                                                          LEBANON         OH    45036‐9055
MARY B BUNEA                                      20 HARNED'S LANDING                                                                           CORTLAND        OH    44410‐1286
MARY B BURDEN                                     517 N PENDLETON                                                                               PENDLETON       IN    46064‐8975
MARY B BURGAN                                     671 MOBLEY BEND RD                                                                            CORBIN          KY    40701‐4220
MARY B BUTLER                                     12 STEPHENVILLE BLVD                                                                          RED BANK        NJ    07701‐6210
MARY B CANSDALE                                   32 WILMA DRIVE                                                                                LANCASTER       NY    14086‐2710
MARY B COSTA                                      1111 UNIVERSITY BLVD W               APT 1110A                                                SILVER SPRING   MD    20902‐3332
MARY B DAGGETT & THOMAS W DAGGETT JT TEN          757 HIGHLAND AVE #220N                                                                        NEEDHAM         MA    02494‐1620
MARY B DARBY & ROBERT H DARBY JT TEN              48 SOUNDVIEW AVE                                                                              HUNTINGTON      CT    06484‐2724
MARY B DAVIDSON                                   7110 FOREST LN                                                                                UNION CITY      GA    30291‐2304
MARY B DEMPSEY                                    2963 WOODLAND COURT                                                                           METAMORA        MI    48455‐8930
MARY B DEWEY                                      5443 SHARON DRIVE                                                                             JACKSON         MI    49203‐5979
MARY B DIMMITT                                    241 NW CRATER CREEK RD                                                                        CACHE           OK    73527‐4881
MARY B DOUGLAS & MORRIS T DOUGLAS JT TEN          5109 DORCHESTER RD                                                                            RICHMOND        VA    23225‐2912
MARY B DUSCH                                      727 WILLOW ST                                                                                 CRANFORD        NJ    07016‐1858
MARY B F GRAY                                     4 NASSAU RD                                                                                   HAMPTON BAYS    NY    11946‐2225
MARY B FITCH                                      5 BACON RD                                                                                    FRAMINGHAM      MA    01701‐3901
MARY B FLEMING                                    8722 WISSAHICKON AVE                                                                          PHILADELPHIA    PA    19128‐1123
MARY B GALLAGHER & BRENDAN GALLAGHER JT TEN       13 SANDBURG DR                                                                                MORGANVILLE     NJ    07751‐1428

MARY B GLADEN                                     7411 BROCK WAY                                                                                MT MORRIS       MI    48458‐2924
MARY B GRANTHAM TR UA 04/24/02 MARY B             10809 STATE LINE RD                                                                           KANSAS CITY     MO    64114‐4806
GRANTHAM TRUST
MARY B GRIFFIN                                    499‐D HERITAGE VILLAGE                                                                        SOUTHBURY       CT    06488‐1526
MARY B GRIFFIN                                    485 SATINWOOD TERRACE                                                                         BUFFALO GROVE   IL    60089‐4608
MARY B GRIPPI                                     ATTN MARY G BOTTING                  PO BOX 248                                               SUTTONS BAY     MI    49682‐0248
MARY B GUNTER & THOMAS F LUKA JT TEN              PO BOX 337                                                                                    ASHVILLE        NY    14710‐0337
MARY B HANUSEK                                    118 MAIN ST                                                                                   FREELAND        PA    18224‐3115
MARY B HESTER                                     307 HAMPSHIRE ST                                                                              VICTORIA        TX    77904‐2220
MARY B HIGGS                                      15423 BLAIR AVE                                                                               BROOKSVILLE     FL    34604‐8503
MARY B HOY                                        2507 ORANGEWOOD ST                                                                            AVON PARK       FL    33825‐8085
MARY B HUNT                                       419 MILL STREET S E                                                                           VIENNA          VA    22180‐5730
MARY B HUNTER                                     15105 BLACKBERRY CRK                                                                          BURTON          MI    48519‐1922
MARY B HURLEY                                     C/O MARY B HOLLAND                   6200 LITTLE MOUNTAIN ROAD                                CLOVER          SC    29710‐9171
MARY B JOHNSON                                    3851 CARROLL AVE                                                                              DAYTON          OH    45405‐2304
MARY B JOHNSON                                    6373 EVERGREEN                                                                                PORTAGE         MI    49024‐3211
MARY B JONES                                      27068 PENN                                                                                    INKSTER         MI    48141‐2542
MARY B K GULICK & MARY RAE GULICK‐TORRES JT TEN   PO BOX 61                                                                                     HERSEY          MI    49639‐0061

MARY B KAHNEY                                     1258 CENTER ROSS RD                                                                           CROWN POINT     IN    46307
MARY B KANCYAN                                    APT 165                              34575 MULVEY                                             FRASER          MI    48026‐1914
MARY B KAYLOR                                     411 HIGHLAWN AVE                                                                              ELIZABETHTOWN   PA    17022‐1617
MARY B KINGSTON                                   21306 LITTLESTONE                                                                             HARPER WOODS    MI    48225‐2300
MARY B KINGSTON CUST JONATHAN BANASZAK UTMA       27286 ROAN                                                                                    WARREN          MI    48093‐4612
MI
MARY B KNAPICK TOD MICHAEL D KNAPICK JR SUBJECT   7261 W PETERSON AVE C207                                                                      CHICAGO         IL    60631‐3622
TO STA TOD RULES
MARY B KNILANS                                    6047 HIGHWAY 51 SOUTH                                                                         JANESVILLE      WI    53546‐9426
MARY B KORCZ                                      1000 WALDEN CREEK TRCE               STE 241B                                                 SPRING HILL     TN    37174‐6549
MARY B KOSMICKI                                   26 SOUTH ST                                                                                   PITTSFORD       NY    14534‐2044
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Name                                              Address1                            Address2             Address3          Address4          City               State Zip

MARY B KOSSMANN                                   1007 OAKWELL COURT                                                                           APEX               NC    27502‐8828
MARY B KOZIOL                                     5111 S KILPATRICK AVE                                                                        CHICAGO            IL    60632‐4928
MARY B KRETSCHMAR                                 201 EAST THIRD ST                                                                            VENTURIA           ND    58489‐4015
MARY B KUEHNEMAN                                  115 ROSEWOOD DRIVE                                                                           SAINT PAUL         MN    55117‐1372
MARY B LACELLA                                    204 S ASPEN CT UNIT 3                                                                        WARREN             OH    44484‐1066
MARY B LEAP                                       2895 BRIDGESTONE CIR                                                                         KOKOMO             IN    46902‐7007
MARY B LILES                                      300 TRAILWOOD DRIVE                                                                          WEATHERFORD        TX    76085‐9009
MARY B LIMES                                      11633 BRADLEY DR                                                                             GEROME             MI    49249‐9740
MARY B LOFTUS                                     4801 SUMMER LANE                                                                             BROOKLYN           OH    44144‐3013
MARY B M RUSSELL                                  C/O MARY RUSSELL WELLINGTON         2560 47TH S ST                                           SAINT PETERSBURG   FL    33711‐3343

MARY B MAHER                                      BOX 2331                                                                                     SOUTH              VT    05407‐2331
                                                                                                                                               BURLINGTON
MARY B MANGIONE CUST SHELBY ELIZABETH REED        310 HUTCHINSON RD                                                                            PARIS              KY    40361‐9005
UTMA KY
MARY B MARSH                                      17450 ANNOTT                                                                                 DETROIT            MI    48205‐3190
MARY B MASSEY                                     110 POND RD                                                                                  MARTINSVILLE       VA    24112‐7449
MARY B MC DONAGH                                  6918 N OTTAWA AVE                                                                            CHICAGO            IL    60631‐1107
MARY B MCCOLISTER                                 1119 HOLLOMAN RD                                                                             BENTONIA           MS    39040‐8154
MARY B MCGEE                                      3970 S FORDHAM PL                                                                            SILVERTON          OH    45213‐2329
MARY B MEENAGHAN                                  148 MEADOWSWEET ROAD                                                                         MINEOLA            NY    11501‐1809
MARY B METZ                                       454 HAMPTON RIDGE RD                                                                         AKRON              OH    44313‐5089
MARY B MORRIS                                     656 DOVER S W                                                                                WARREN             OH    44485‐4110
MARY B PAUKOVICH                                  1263 HOWLAND‐WILSON RD                                                                       WARREN             OH    44484‐1656
MARY B PETROW                                     28 BRIARCROFT AVE                                                                            TRUMBULL           CT    06611‐2402
MARY B PIESINGER                                  290 CAPRICORN AVE                                                                            OAKLAND            CA    94611
MARY B PRENTICE & PAMELA C HOOTS JT TEN           2214 SHALIMAR DR                                                                             COLORADO SPGS      CO    80915‐1025
MARY B REED                                       29136 ALVIN                                                                                  GARDEN CITY        MI    48135‐2784
MARY B ROCKWELL TR MARY B ROCKWELL REV LIVING     4558 HENRY DR                                                                                SAGINAW            MI    48603
TRUSTUA 03/14/01
MARY B ROUSSEAU                                   449 MILL PLAIN RD                                                                            FAIRFIELD          CT    06430‐5047
MARY B SCUDDER                                    220 LONG HILL RD                                                                             HILLSBOROUGH       NJ    08844‐3217
MARY B SEABOLT                                    701 SE CHALOUPE AVENUE                                                                       PORT ST LUCIE      FL    34983‐2713
MARY B SEELYE & MARILYN SULLIVAN & NANCY SEELYE   1647 QUEENSLAND AVE                                                                          MANTECA            CA    95337‐8574
CHAMBERS JT TEN
MARY B SHELBY                                     820 WARRIOR RDG                                                                              WARRENTON          MO    63383‐2350
MARY B SIDELL                                     612 PARKER COURT WESTMINSTER                                                                 WILMINGTON         DE    19808
MARY B SIENKO                                     2485 RED ROSE LN NE                                                                          ROCKFORD           MI    49341‐7971
MARY B SMITH                                      25 MOORE AVE                                                                                 NAUGATUCK          CT    06770‐3910
MARY B SMITH                                      3015 DALE ANN DR                                                                             LOUISVILLE         KY    40220‐2512
MARY B STOKES                                     18236 GLASTONBURY RD                                                                         DETROIT            MI    48219‐2944
MARY B STOPA                                      7157 ELLICOTT RD                                                                             LOCKPORT           NY    14094‐9482
MARY B STRATER                                    PO BOX 1075                                                                                  SEAFORD            DE    19973
MARY B STRATTON                                   PO BOX 3831                                                                                  SALISBURY          MD    21802‐3831
MARY B TAYLOR                                     1023 NLS CORTLAND RD SE A                                                                    WARREN             OH    44484‐2540
MARY B VARNER                                     5140 WINSHALL DRIVE                                                                          SWARTZ CREEK       MI    48473‐1223
MARY B VARNER & LELAND R VARNER JT TEN            5140 WINSHALL DR                                                                             SWARTZ CREEK       MI    48473‐1223
MARY B WEBB                                       8639 VALMONT CI                                                                              CORDOVA            TN    38016‐8802
MARY B WELCH                                      145 COUNTRY CLUB DR                                                                          LA PORTE           IN    46350‐1908
MARY B WIESEN                                     12362 PARKIN LANE                                                                            FENTON             MI    48430‐8726
MARY B WILLIAMSON                                 214 BUNGALOW AVENUE                                                                          WILMINGTON         DE    19805‐5012
MARY B WILTROUT                                   737 LINCOLN AVE                                                                              NILES              OH    44446‐3161
MARY B WISE CUST WENDY E WISE UTMA IL             320 S SUNSET                                                                                 LA GRANGE          IL    60525‐2179
MARY B WOELKE                                     24361 BEECH ROAD                                                                             SOUTHFIELD         MI    48034‐6406
MARY B WYSONG                                     6500 LUCAS LANE                                                                              HILLSBORO          OH    45133‐8132
MARY B ZOLMAN                                     10 WILMINGTON AVE                   APT 105C                                                 DAYTON             OH    45420‐4800
MARY BAILEY                                       1916 AUDUBON ST                                                                              NEW ORLEANS        LA    70118‐5516
MARY BAKA                                         1517 SPRAY AVE                                                                               BEACHWOOD          NJ    08722‐4214
MARY BAKER JACOMINI                               C/O CLEMENT H JACOMINI              927 N AVALON BLVD                                        WILMINGTON         CA    90744‐4503
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Name                                           Address1                              Address2             Address3          Address4          City             State Zip

MARY BALIEM                                    63 MAPES AVE                                                                                   NEWARK           NJ    07112
MARY BALINT                                    1685 DROUILLARD ROAD                  WINDSOR ON                             N8Y 2S4 CANADA
MARY BALL COGGESHALL                           425 BLAIR RD NW                                                                                VIENNA           VA    22180‐4107
MARY BALOW                                     127 FALLS CT                          APT D                                                    LANSING          MI    48917‐1957
MARY BANKS PEMBRIDGE                           355 PAK VIEN DRIVE                                                                             SCOTCH PLAINS    NJ    07076
MARY BARBARA BROWNE                            2835 S MONACO PY                      #1‐202                                                   DENVER           CO    80222‐7187
MARY BASSO                                     1715 TUCUMCARI DR                                                                              HOUSTON          TX    77090‐2143
MARY BEATRYCE COLLINS                          7646 SILVERWOOD CT                                                                             LAKEWOOD RCH     FL    34202‐7921
MARY BECKA & MICHAEL J BECKA JT TEN            16177 RAMONA DR                                                                                MIDDLEBURG       OH    44130‐4862
                                                                                                                                              HEIGHTS
MARY BENNETT & ROBERT BENNETT JT TEN           503 ODELL AVE                                                                                  ENDICOTT         NY    13760‐2123
MARY BERENDSEN                                 225 6TH AVENUE                                                                                 DAYTON           KY    41074‐1113
MARY BERG CUST BENJAMIN M KORTE UTMA MI        57586 BROOKFIELD WAY                                                                           WASHINGTON       MI    48094‐3182
MARY BERNICE BELLAMY                           2775 DUKE OF GLOUCESTER                                                                        EAST POINT       GA    30344‐5802
MARY BERNITA COOPER                            9010 W SCHOOL SECTION LAKE DR                                                                  MECOSTA          MI    49332‐9502
MARY BESHEARS                                  PO BOX 16                                                                                      PLYMOUTH         CA    95669‐0016
MARY BETH BUTLER                               66 NISA LANE                                                                                   ROCHESTER        NY    14606
MARY BETH CARROLL                              ATTN CONNELLY                         812 DERBY COURSE                                         ST CHARLES       IL    60174‐5743
MARY BETH CARSON                               844 LOWER CHESTER ROAD                                                                         CHARLESTON       WV    25302‐2806
MARY BETH CLAYTON                              21 HILLSIDE RD                                                                                 NEPTUNE          NJ    07753
MARY BETH DE JONGH                             17534 WHIPPOORWILL DR                                                                          GRAND HAVEN      MI    49417‐9645
MARY BETH FERGUSON‐RAHN CUST ALLISON JEAN RAHN 8139 JORDAN ROAD                                                                               GRAND BLANC      MI    48439‐9623
UTMA GA
MARY BETH FERGUSON‐RAHN CUST MOLLY ELIZABETH 8139 JORDAN RD                                                                                   GRAND BLANC      MI    48439‐9623
RAHN UTMA GA
MARY BETH GARRISON                             121 LEEDOM DR                                                                                  MEDIA            PA    19063‐1017
MARY BETH HAGEN KELLY & DANNY P KELLY JT TEN   11110 STANLEY CIRCLE                                                                           BLOOMINGTON      MN    55437‐3315

MARY BETH HALLAHAN                             591 W ALEX BELL RD                                                                             DAYTON           OH    45459‐3059
MARY BETH HERLIHY FURBEE                       112 JOY WAY                                                                                    FAIRMONT         WV    26554‐9730
MARY BETH HUSTED MANNING                                                                                                                      ROODHOUSE        IL    62082
MARY BETH IGLINSKI                             8417 S 76TH ST                                                                                 FRANKLIN         WI    53132‐8923
MARY BETH JOHNSON                              6017 OUTLOOK                                                                                   BOISE            ID    83703‐2828
MARY BETH KASSON CUST MATTHEW JOSEPH KASSON    10296 GENTLEWIND DR                                                                            CINCINNATI       OH    45242‐5813
UNDER THE OH TRAN MIN ACT
MARY BETH KINDIG                               525 E NORTH ST                                                                                 LAKE             MI    48632‐8934
MARY BETH KINSLEY                              65 ORIOLE ST                                                                                   PEARL RIVER      NY    10965‐2713
MARY BETH KOTSOU                               39263 RANDOLPH CT                                                                              WESTLAND         MI    48186‐8635
MARY BETH MARTIN CARSON                        844 LOWER CHESTER ROAD                                                                         CHARLESTON       WV    25302‐2806
MARY BETH NEITMAN                              12207 MEADOW LAKE DR                                                                           HOUSTON          TX    77077‐5901
MARY BETH ONGRADI                              121 CENTRAL AVENUE                                                                             WEST TRENTON     NJ    08628‐2903
MARY BETH PANKOK                               69 S LOCUST AVE                                                                                ELSINBORO        NJ    08079‐9622
MARY BETH REGAN                                108 ALDER LN                                                                                   NORTH FALMOUTH   MA    02556‐2934

MARY BETH SCHILD                               61 CHAPEL DR                                                                                   NORWALK          OH    44857‐1541
MARY BETH SHYMKUS TR MARY BETH SHYMKUS TRUST PO BOX 1208                                                                                      ESPANOLA         NM    87532‐1208
UA 8/20/97
MARY BETH SIMICH CUST MATTHEW J SIMICH UTMA OH 503 BOBWHITE TRL                                                                               AKRON            OH    44319‐3890

MARY BETH SNOWBERGER                           2905 N FRANKLIN ST                                                                             WILMINGTON       DE    19802‐2932
MARY BETH SOLOY                                711 BIRD                                                                                       BIRMINGHAM       MI    48009‐2062
MARY BETH SPRINGER                             SRSRF YOKOSUKA JAPAN                  PSC473               BOX 8                               FP               AP    96349‐0008
MARY BETH SYMMONDS                             9296 SHADY BND                                                                                 BROWNSBURG       IN    46112‐9218
MARY BETH WEIGERT                              2721 ARGONAUTA ST                                                                              CARLSBAD         CA    92009
MARY BETH WILLOUGHBY BEUTEL                    832 CRAIGTOWN RD N E                                                                           CALHOUN          GA    30701‐8822
MARY BETH WROTEN                               1801 BELLEFIELD AVE                                                                            WILMINGTON       DE    19804
MARY BINNION & MONICA ADAMS PERS REP EST       1462 W 1000 S                                                                                  PENDLETON        IN    46064‐8968
GARNARD L FLICK
MARY BIRD NICHOLS                              521 ROSEBRIAR CT                                                                               GREENSBORO       NC    27407‐1307
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Name                                            Address1                              Address2             Address3          Address4          City               State Zip

MARY BIRMINGHAM ULICNY                          115 WOLF AVE                                                                                   MALVERNE           NY    11565‐1523
MARY BLACKMAN                                   16540 EVERGREEN RD                                                                             DETROIT            MI    48219‐3353
MARY BLAINT                                     1685 DROUILLARD RD                    WINDSOR ON                             N8Y 2S4 CANADA
MARY BLAIR                                      104 SE 2NDT                                                                                    BLUE SPRINGS       MO    64014‐3100
MARY BLAND WOOLLEY                              706 N MAPLE                                                                                    HARRISON           AR    72601‐2824
MARY BLATNER TOMAN                              14825 RATON RD                                                                                 COLORADO SPGS      CO    80921
MARY BLOOD                                      1755 W 235TH ST                                                                                STEGER             IL    60475‐1494
MARY BLOUNT EDWARDS                             1701 CRAWFORD ST                                                                               KINSTON            NC    28504‐1303
MARY BLOUNT SIMPSON                             1701 CRAWFORD ST                                                                               KINSTON            NC    28504‐1303
MARY BLUMENTHAL LANE                            10 DONELLAN RD                                                                                 SCARSDALE          NY    10583‐2008
MARY BOEN & WALLACE BOEN JT TEN                 91 MANNERS AVE                                                                                 BROCKTON           MA    02301‐1420
MARY BOESEL                                     16413 SUGAR PINE CT                                                                            WRIGHT CITY        MO    63390
MARY BOLLING HOFFMAN                            158 SAINT ANDREWS D1                                                                           ST SIMONS ISLAND   GA    31522‐2479

MARY BONNEY                                     166 HOLLAND ROAD                                                                               SUSSEX             NJ    07461‐2837
MARY BOURQUIN HARRIS                            7321 PLEASANTS VALLEY RD                                                                       VACAVILLE          CA    95688‐9001
MARY BOYD HYBNER                                PO BOX 187                                                                                     RUDYARD            MT    59540‐0187
MARY BRADFORD                                   3076 CHATEAU VALLEY DR                                                                         NASHVILLE          TN    37207
MARY BRASSFIELD                                 1936 LANCASTER AVE                                                                             KLAMATH FALLS      OR    97601‐2144
MARY BRATTON                                    5535 SUN HILL DR                                                                               HELENA             MT    59602‐9443
MARY BREEDEN                                    665 OLD HWY 49                                                                                 ERIN               TN    38016‐2374
MARY BREVARD WILLIAMS                           PO BOX 1558                                                                                    PALO ALTO          CA    94302‐1558
MARY BRIGHT & ROBERT LEE JT TEN                 767 PARK STREET                                                                                LINCOLN PARK       MI    48146‐2658
MARY BRIGID ODONNELL                            101 STANDISH RD                                                                                MILTON             MA    02186‐2814
MARY BRODZINSKI                                 54770 BURLINGTON DR                                                                            SHELBY TWP         MI    48315‐1603
MARY BROOKMAN                                   5366 WINSHALL DRIVE                                                                            SWARTZ CREEK       MI    48473‐1108
MARY BROWN                                      PO BOX 375                                                                                     GREENVILLE         AL    36037‐0375
MARY BROWN & WILLA BROWN JT TEN                 3408 OLD COLUMBUS RD                                                                           TUSKEGEE           AL    36083‐2391
MARY BRUCE HIKES                                28 SERGEANTSVILLE RD                                                                           FLEMINGTON         NJ    08822‐1539
MARY BRUCE STANDLEY TR MARY BRUCE STANDLEY      1953 ARKANSAS AVE                                                                              ENGLEWOOD          FL    34224‐5505
REVOCABLE TRUST UA 03/09/04
MARY BUCCELLATO & JOSEPH VETO BUCCELLATO JT TEN 212 WASHINGTON STREET                                                                          MILFORD            MI    48381

MARY BUKARTYK                                   22050 MASTICK RD                                                                               CLEVELAND          OH    44126
MARY BUKOSKY                                    630 CLINTON ST                                                                                 FLINT              MI    48507‐2539
MARY BURCH SHARP                                6017 MAPLE GROVE ROAD                                                                          FARWELL            MI    48622‐9601
MARY BURTON                                     9897 GREENALDER COVE S                                                                         CORDOVA            TN    38016
MARY BUTLER                                     4411 BERKELEY HEIGHTS AVE                                                                      SPRING HILL        FL    34606‐6944
MARY BYRNE                                      2330 MAPLE RD                         APT 215                                                  BUFFALO            NY    14221‐4057
MARY BYRNE                                      9711 HOLLYBROOK LAKE DRIVE            BLDG #3 APT 210                                          PEMBROKE PINES     FL    33025‐1587
MARY BYRNE SMITH                                120 HCR 1309                                                                                   HILLSBORO          TX    76645‐5100
MARY C A DAVIS                                  12 CHIMNEY SWIFT DR                                                                            SANDY HOOK         CT    06482‐1212
MARY C ADLER                                    4809 BAYFIELD TERR                                                                             MADISON            WI    53705‐4806
MARY C ALEXANDER                                407 W GRACE AVE                                                                                HERKIMER           NY    13350‐1314
MARY C ANTHONY                                  429 MEADOWLARK LN                                                                              EATON              OH    45320‐1959
MARY C AROVITS                                  158 W LARKSPUR ST                                                                              MUNHALL            PA    15120‐2262
MARY C BAGAZINSKI                               14605 RIVERSIDE                                                                                LAVONIA            MI    48154‐5184
MARY C BANGERTER                                5299 FLAMINGO                                                                                  DAYTON             OH    45431‐2832
MARY C BATES                                    3114 MCCLEARY JACOBY RD                                                                        CORTLAND           OH    44410‐1718
MARY C BEALL                                    3584 TREELINE PASS                                                                             ROSWELL            GA    30075‐6104
MARY C BERMAN                                   5221 NORTHWOOD LAKE DR W                                                                       NORTHPORT          AL    35473‐1408
MARY C BOSZKO                                   25 SCHACK AVE                                                                                  SOUTH RIVER        NJ    08882‐2341
MARY C BOUCHARD                                 70 JENNINGS RD                                                                                 BRISTOL            CT    06010‐3543
MARY C BRANNON                                  1960 CHURCH ST                                                                                 SCOTCH PLAINS      NJ    07076‐1833
MARY C BREUILLY                                 6390 LAKEMONT CT                                                                               EAST AMHERST       NY    14051‐2055
MARY C BROGAN                                   47 S VILLIAGE RD E                                                                             SOUTHWICK          MA    01077‐9252
MARY C BROWN                                    923 E UNIVERSITY ST                                                                            BLOOMINGTON        IN    47401‐5039
MARY C BRUNTON                                  3184 ROSELAWN DR                                                                               NILES              OH    44446‐1338
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Name                                              Address1                            Address2              Address3         Address4          City              State Zip

MARY C BRUNTON TR MARY C BRUNTON TRUST UA        3184 ROSELAWN DRIVE                                                                           NILES             OH    44446‐1338
12/01/03
MARY C BRYANT                                    1 YORKTOWNE DR                                                                                ENGLISHTOWN       NJ    07726‐3522
MARY C CALVERT CUST JERRELL D CALVERT JR UGMA MI 7030 FESTIVAL CT                                                                              CANTON            MI    48187‐5468

MARY C CARJE                                      6108 WAREHAM DR                                                                              CLEVELAND         OH    44129‐4502
MARY C CARPENTER                                  RT 3 BOX 183                                                                                 SPENCER           WV    25276‐9145
MARY C CARROLL                                    1874 CUSTOM VILLAGE DR                                                                       NO MERRICK        NY    11566‐2006
MARY C CARTER                                     1115 KINGSMILL ROAD                                                                          ANDERSON          IN    46012‐2623
MARY C CARTER & ROOSEVELT L CARTER JT TEN         1115 KINGSMILL RD                                                                            ANDERSON          IN    46012‐2623
MARY C COATS                                      2275 ALLENRIDGE DR                                                                           SEVIERVILLE       TN    37876‐2109
MARY C COLE                                       60 LAKEWOOD PARKWAY                                                                          SNYDER            NY    14226‐4001
MARY C CRAIG                                      4691 POWELL RD                                                                               DAYTON            OH    45424‐5862
MARY C CRANDALL                                   3933 DOUGLAS DR N                                                                            CRYSTAL           MN    55422‐1934
MARY C CROWTHER                                   1354 STRATFORD AVE                                                                           SALT LAKE CITY    UT    84106‐3165
MARY C DI GENNARO                                 130 FORREST ST                                                                               GIBBSTOWN         NJ    08027‐1308
MARY C DOUGHERTY                                  1226 MINNESOTA DRIVE                                                                         WHITEHALL         PA    18052‐4637
MARY C DRAGO                                      137 DEERFIELD DR                                                                             ONEONTA           NY    13820
MARY C DUVAL                                      220 W 10TH ST                                                                                MICH CITY         IN    46360‐3516
MARY C ECHLIN                                     1420 WEST AVON CIRCLE                                                                        ROCHESTER HILLS   MI    48309‐3009
MARY C ELIE                                       456 HIGHLAND                                                                                 CLAWSON           MI    48017‐1542
MARY C EPPS                                       5911 DUXBURY ST                                                                              HOUSTON           TX    77035‐4139
MARY C ESPINOZA                                   9341 E NARANJA AVE                                                                           MESA              AZ    85209‐1172
MARY C FABIANO                                    2424 BRIARHILL DR                                                                            LANSING           MI    48917‐9742
MARY C FELBER & ROBERT W FELBER JT TEN            19 ROGER VALLEY CT                                                                           PARKVILLE         MD    21234
MARY C FRALEY & GEORGE FRALEY JT TEN              36 FERRY RD                                                                                  NEWBURYPORT       MA    01950‐1830
MARY C FURNAS                                     10737 STRADELLA COURT                                                                        LOS ANGELES       CA    90077
MARY C GALLA                                      8420 FANITA DR                      APT 4                                                    SANTEE            CA    92071‐4040
MARY C GELAKOSKY & KATHLYN G KUZMA & KATHLEEN     C/O MARY C GELAKOSKY                19393 GOLFVIEW                                           BIG RAPIDS        MI    49307
GRIMM JT TEN
MARY C GERMAN & JAMIE P GERMAN JT TEN             1114 COOKS LANE                                                                              BALTIMORE         MD    21229‐1232
MARY C GERMAN & JAMIE P KEAN JT TEN               1114 COOKS LANE                                                                              BALTIMORE         MD    21229‐1232
MARY C GERMAN & JODIE P GEARY JT TEN              1114 COOKS LANE                                                                              BALTIMORE         MD    21229‐1232
MARY C GERMAN & JOHN PAUL GERMAN JR JT TEN        1114 COOKS LANE                                                                              BALTIMORE         MD    21229‐1232

MARY C GONZALEZ                                44480 MIDWAY DR                                                                                 NOVI              MI    48375‐3948
MARY C GREEN TOD REBECCA WASSON SUBJECT TO STA 137 DAHLIA ST                                                                                   JOHNSTOWN         PA    15905
TOD RULES
MARY C GRIMALDI TR MARY C GRIMALDI TRUST 1994  57 MOORLAND AVE                                                                                 E PROVIDENCE      RI    02914‐1826
UA 11/07/94
MARY C HAMMOND                                 3600 SELLARS ROAD                                                                               DAYTON            OH    45439‐1233
MARY C HANNA                                   258 PARKVIEW DR                                                                                 AURORA            OH    44202‐9216
MARY C HAYES                                   14404 WINSTON                                                                                   DETROIT           MI    48239‐3374
MARY C HERDIECH & MARY HERDIECH BARTOLD JT TEN 15116 ASTER                                                                                     ALLEN PK          MI    48101‐1613

MARY C HICKEY                                 615 S HIGHLAND AVE                                                                               LOS ANGELES       CA    90036‐3528
MARY C HILDEBRANT CUST AARON A HILDEBRANT     22661 OCONNOR                                                                                    ST CLAIRE SHORE   MI    48080‐4124
UGMA MI
MARY C HILDEBRANT CUST SARA M HILDEBRANT UGMA 22661 OCONNOR                                                                                    ST CLAIRE SHORE   MI    48080‐4124
MI
MARY C HOFFMAN                                ATTN MARY HOFFMAN PRICE                 8904 NE 78TH CIRCLE                                      VANCOUVER         WA    98662‐3702
MARY C HOPPE                                  300 WASHINGTON ST                                                                                SPENCERPORT       NY    14559‐9511
MARY C HORMOVITIS & JOHN J HORMOVITIS JT TEN  2800 SOUTH OCEAN SHORE BLVD                                                                      FLAGLER BEACH     FL    32136‐4015

MARY C HORMOVITIS & JOHN J HORMOVITIS SR JT TEN   2556 N OCEANSHORE BLVD                                                                       FLAGLER BEACH     FL    32136

MARY C HUPP CUST DOMINIC O HUPP UTMA OH           448 W CENTRAL AVE                                                                            DELAWARE          OH    43015‐1491
MARY C JACOBS                                     14 ROYCE ST                                                                                  RUTLAND           VT    05701‐4431
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Name                                              Address1                               Address2             Address3          Address4          City               State Zip

MARY C JERZAK CUST DAVID WILLIAM JERZAK U/THE     3882 DOBIE RD APT 14                                                                            OKEMOS             MI    48864‐3794
MINN U‐G‐M‐A
MARY C JONES & GEORGE B CRISAFULLI JT TEN         1991 SANDPIPER RD W                                                                             VERO BEACH         FL    32963
MARY C KEAVENY                                    15 45 160TH STREET                                                                              WHITESTONE         NY    11357‐3240
MARY C KERN & MARY JO DUVALL JT TEN               41 SNELLINGS CT                                                                                 SEVERNA PARK       MD    21146‐4827
MARY C KING TR MARY CAROL KING REVOCABLE LIVING   13583 DEL MAR DR                                                                                WARSAW             MO    65355‐4719
TRUST UA 03/14/06
MARY C KITKOWSKI                                  1948 S 73RD ST                                                                                  MILWAUKEE          WI    53219‐1209
MARY C KROMBHOLZ                                  5650 MIAMI RD                                                                                   CINCINNATI         OH    45243‐3604
MARY C LAFRANCE                                   232 ROUND HILL RD                                                                               BRISTOL            CT    06010‐9022
MARY C LANDRIGAN & WILLIAM J LANDRIGAN JT TEN     61 STRATTON FOREST WAY                                                                          SIMSBURY           CT    06070‐2355

MARY C LATIMER TR MARY C LATIMER REVOCABLE 2003 6727 LAGUNA PARK DR                                                                               ELK GROVE          CA    95758‐5069
TRUST UA 04/03/03
MARY C LAWSON & PAUL J LAWSON JR JT TEN         621 SOUTH ST                                                                                      NEW CASTLE         DE    19720‐5025
MARY C LOHR                                     1904 BRANT ROAD                                                                                   WILMINGTON         DE    19810‐3802
MARY C LOOFBOURROW                              2324 NW 119TH TERRACE                                                                             OKLAHOMA CITY      OK    73120
MARY C LOOMOS                                   524 BOSTON ST                                                                                     LYNN               MA    01905‐2157
MARY C LOUDERBACK                               3710 E 400S                                                                                       ANDERSON           IN    46017‐9708
MARY C LUCAS                                    59 E LAKE ROAD                                                                                    SKANEATELES        NY    13152‐1320
MARY C LUTZ                                     195 HICKORY AVE                                                                                   TENAFLY            NJ    07670‐1548
MARY C LYONS                                    33 CLOVE RD                                                                                       MONTAGUE           NJ    07827‐3301
MARY C MACFARLAND                               233 ALPINE RD                                                                                     WEST PALM BCH      FL    33405
MARY C MAGIERA                                  406 EAST JERSEY STREET                                                                            ELIZABETH          NJ    07206‐1306
MARY C MALLARD                                  9099 BELSAY RD                                                                                    MILLINGTON         MI    48746‐9586
MARY C MARSHALL                                 4238 RAMSGATE LN                                                                                  BLOOMFIELD         MI    48302‐1635
MARY C MARTIN                                   707 HAMELITON RD                                                                                  BASSETT            VA    24055‐3731
MARY C MAYER                                    1716 MARWOOD PLACE                                                                                LOUISVILLE         KY    40213‐1538
MARY C MC CANN ITLE                             962 RAYMEE DR                                                                                     LANCASTER          PA    17601‐1410
MARY C MCCORMACK                                84 CHERRY HILLS DR                                                                                AIKEN              SC    29803‐5695
MARY C MCDONALD & KATHRYN M OAKLEY JT TEN       1810 PATRIOTS COLONY DR                                                                           WILLIAMSBURG       VA    23188‐1343

MARY C MCINTOSH                                   4949 MONTEVALLO RD 126                                                                          BIRMINGHAM         AL    35210
MARY C MELLINA                                    49 HAVEMEYER LANE                                                                               COMMACK            NY    11725
MARY C MEYER & DONALD F MEYER JT TEN              106 HOWARD TERRACE                                                                              FAIRFIELD GLADE    TN    38558‐7126
MARY C MILLER                                     1322 OAKWOOD DRIVE                                                                              COLONIAL HEIGHTS   VA    23834‐2955

MARY C MIRENDA & LISA M COLLINS & LINDA S GANN JT 33321 FAIRPORT DR                                                                               AVON LAKE          OH    44012‐2377
TEN
MARY C MITCHELL                                   3277 SEA OATS CIR                                                                               MELBOURNE       FL       32951‐3019
MARY C MONGEON                                    5151 SHUNPIKE ROAD                                                                              LOCKPORT        NY       14094‐9715
MARY C MOORE                                      APT 12                                 1418 WILLOW AVE                                          LOUISVILLE      KY       40204‐1450
MARY C MOUNDAS                                    4836 W PARK DR                                                                                  FAIRVIEW PARK   OH       44126‐2651
MARY C MYNES                                      15046 BREST                                                                                     SOUTHGATE       MI       48195‐2205
MARY C NAPOLI                                     221 CEDAR ST                                                                                    ENGLEWOOD       NJ       07631‐3130
MARY C NORRIS                                     804 DORN DR                                                                                     SANDUSKY        OH       44870‐1611
MARY C NORTH                                      3485 JOHANN DR                                                                                  SAGINAW         MI       48609‐9761
MARY C ODOM                                       2605 SECOND ST NW                                                                               BIRMINGHAM      AL       35215‐2508
MARY C OPPEL                                      51 ZERLAND DR                                                                                   TOMS RIVER      NJ       08757‐5830
MARY C ORLANDO                                    232 CHIPMAN ST EXT                                                                              WATERBURY       CT       06708‐3662
MARY C OWENSBY & CLINETTA LEWIS JT TEN            461 HWY CC                                                                                      MONTGOMERY CITY MO       63361‐4210

MARY C PACOSZ                                     ATTN MARY C SOKOL                      10174 BEECHWOOD                                          PINCKNEY           MI    48169‐8943
MARY C PARRENT TR PARRENT FAMILY TRUST UA         701 MARKET ST APT 242                                                                           OXFORD             MI    48371‐3576
01/21/00
MARY C PELLEGRINO                                 3034 SILVERSTONE                                                                                WATERFORD          MI    48329‐4539
MARY C PEMBERTON                                  1577 GENESEE N E                                                                                WARREN             OH    44483‐4182
MARY C PENNY WOZNIAK & JOHN M WOZNIAK JT TEN      13097 FEDDE AVE                        PO BOX 356                                               NEW BUFFALO        MI    49117‐0356
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Name                                            Address1                                Address2             Address3          Address4          City              State Zip

MARY C PETERSON                                 2445 CURRY                              WINDSOR ON                             N9E 2S5 CANADA
MARY C PHILLIPS                                 36 THE CROSSWAY                                                                                  DELMAR            NY    12054‐3614
MARY C PLUMMER & PAMELA PLUMMER JT TEN          7502 CREIGHTON DR                                                                                COLLEGE PARK      MD    20740‐3014
MARY C POTTER & KENNETH W POTTER TR UA 05/16/91 10 JERICHO MT RD                                                                                 NEWTOWN           PA    18940
MARY C POTTER TRUST
MARY C POWERS                                   82 SMITHFIELD CT                                                                                 BASKING RIDGE     NJ    07920‐2783
MARY C RAFFERTY                                 308 N E 27TH DRIVE                                                                               FORT LAUDERDALE   FL    33334‐2026

MARY C RIDENTE & ROSEANN L RIDENTE & ELENA M    6 WINTER ST                                                                                      MERIDEN           CT    06451‐5455
RIDENTE JT TEN
MARY C RIEGLE                                   6059 MAPLERIDGE DR                                                                               FLINT             MI    48532‐2119
MARY C ROTTERT                                  10350 WEST RD                           UNIT 26                                                  HARRISON          OH    45030‐2115
MARY C ROZELL                                   933 E MAIN ST                                                                                    TROY              OH    45373‐3422
MARY C RULE                                     3764 LANCASTER DR                                                                                PINCKNEY          MI    48169‐9351
MARY C RYAN                                     61 PINELOCK DRIVE                                                                                PORTLAND          ME    04103‐2921
MARY C SAIENNI                                  16 MARSDEN AVE                                                                                   PENNS GROVE       NJ    08069‐1512
MARY C SCHEJBAL & ELLEN M ALLAM TR SCHEJBAL     3002 MORNING DOVE                                                                                MCKINNEY          TX    75070‐4140
LIVING TRUST UA 9/26/00
MARY C SCHEU                                    314 BUGLE LN                                                                                     MISHAWAKA         IN    46554
MARY C SCHOENFELDER                             5211 STILLWATER DR                                                                               COLORADO SPGS     CO    80923‐7605
MARY C SCHWARZ                                  4477 TOULOUSE CIRCLE                                                                             KETTERING         OH    45429
MARY C SLAGLE & MARION L SLAGLE JT TEN          7176 NEW HORIZEN AVE                                                                             ENON              OH    45323‐1535
MARY C SLINEY                                   41 WESTVIEW DR                                                                                   BERGENFIELD       NJ    07621‐3348
MARY C SMART & LAURA D SMART JT TEN             7 DERBY DR                                                                                       FREDERICKSBURG    VA    22405‐3315
MARY C SNYDER                                   330 LAUREL LANE                                                                                  HAVERFORD         PA    19041‐1931
MARY C SOULES                                   1401 CUMBERLAND RD                                                                               TYLER             TX    75703‐9341
MARY C SPENCER                                  72‐21 68TH ST                                                                                    GLENDALE          NY    11385‐7216
MARY C STEELE                                   1511 EASTLAND STREET                                                                             BOWLING GREEN     KY    42104‐3313
MARY C STEELE & ROGER L STEELE JT TEN           1511 EASTLAND STREET                                                                             BOWLING GREEN     KY    42104‐3313
MARY C STERN                                    PO BOX 366                                                                                       NEWTON FALLS      OH    44444‐0366
MARY C STOBBE                                   3001 OAK PARK ROAD                                                                               PITTSBURGH        PA    15214‐2653
MARY C STOTTLEMYER                              43 HEATH DRIVE N W                                                                               WARREN            OH    44481‐9001
MARY C SWAYNE                                   37 E NEW JERSEY AVE                                                                              SOMERS POINT      NJ    08244‐2329
MARY C SWITLICKI & BERNEDETTE KRAWCYK JT TEN    23259 HOLLANDER                                                                                  DEARBORN          MI    48128‐1303

MARY C TADDEO                                   7114 STAGECOACH RD                                                                               CONESUS           NY    14435‐9640
MARY C TAYLOR                                   7312 NW 114TH STREET                                                                             OKLAHOMA CITY     OK    73162‐2703
MARY C TEDROW                                   30 MYRTLE DRIVE                                                                                  SHELBY            OH    44875‐1805
MARY C THOMAS                                   24377 CR 130                                                                                     TINA              MO    64682‐8127
MARY C THOMAS                                   2407 WILTON LN                                                                                   AURORA            IL    60504‐6454
MARY C TOBIN                                    1174 GUNTER CIRCLE                                                                               W COLUMBIA        SC    29169‐6200
MARY C TOPP                                     11 HIGHLAND PARK                                                                                 WHEELING          WV    26003
MARY C TOWSLEY                                  89 DEPOT ST EXT                                                                                  MT TABOR          VT    05739‐9657
MARY C TROY                                     85 VISCOUNT DR UNIT 8C                                                                           MILFORD           CT    06460
MARY C TULLY                                    10 CHARLES ST                                                                                    MATAWAN           NJ    07747‐2403
MARY C VARGO                                    10992 KENNEDY ST                                                                                 PINCKNEY          MI    48169‐8836
MARY C VOELKER                                  9601 MARTIN RD                                                                                   CLARENCE CENTER   NY    14032‐9792

MARY C VORUS                                    14115 WOODMONT                                                                                   DETROIT           MI    48227‐1325
MARY C WALLACE                                  750 W PICO                                                                                       FRESNO            CA    93705
MARY C WALTERS                                  114 CAMROSE DR                                                                                   NILES             OH    44446‐2130
MARY C WARBURTON                                27 BIRCH STREET                         GUELPH ON                              N1G 2N2 CANADA
MARY C WARD                                     506 MORRIS LANE                                                                                  WALLINGFORD       PA    19086‐6933
MARY C WARREN                                   384 N CLYDETON DR                                                                                WAVERLY           TN    37185‐9802
MARY C WATERBURY                                1005 SUFFOLK DR                                                                                  JANESVILLE        WI    53546‐1819
MARY C WATKINS                                  1228 ANDOVER RD                                                                                  BETHLEHEM         PA    18018
MARY C WAYMAN                                   2625 OAK PARK AVE                                                                                DAYTON            OH    45419‐2755
MARY C WENDT                                    5292 N STATE ROAD                                                                                DAVISON           MI    48423‐8414
MARY C WERNER                                   323 WINDSOR DR                                                                                   WAUKESHA          WI    53186‐6269
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Name                                            Address1                             Address2                Address3       Address4          City              State Zip

MARY C WHALEY                                   PO BOX 1083                                                                                   BAY CITY          TX    77404‐1083
MARY C WHITE                                    ATTN M C RUPLEY                      43523 SCENIC LN                                          NORTHVILLE        MI    48167‐8927
MARY C WILLIAMSON                               12 RYAN DR                                                                                    YARMOUTH          ME    04096‐7150
MARY C WILSON                                   10141 OLD AUGUSTINE RD # 128                                                                  JACKSONVILLE      FL    32257
MARY C WITKOWSKI & YVONNE WILT JT TEN           22405 MAXINE                                                                                  ST CLAIR SHORES   MI    48080‐3846
MARY C WOLD TR UA 08/23/91 MARY C WOLD TRUST    10524 W DESERT FOREST CIR                                                                     SUN CITY          AZ    85351

MARY C WOO & BILL P WOO JT TEN                 2323 WINSTEAD CIRCLE                                                                           WICHITA           KS    67226‐1118
MARY C ZARKIS                                  9567 AVOCA RD                                                                                  AVOCA             MI    48006
MARY C ZIEGELMAIER CUST RYAN S MC EWEN UGMA IN 1500 BURLWOOD LN                                                                               SCHERERVILLE      IN    46375‐1084

MARY C ZURCHER & JOHN J ZURCHER JT TEN          17 E COLLEGE AVE                                                                              BROWNSBURG        IN    46112‐1204
MARY CAPIK                                      ATTN MARY C ANNAERT                  8 HOCKADAY CRT R R #1   HAMPTON ON     L0B 1J0 CANADA
MARY CAPUTO & LOUISE CAPUTO JT TEN              60 SUTTON PL S                                                                                NEW YORK          NY    10022‐4168
MARY CARACO                                     4800 RTE 89                                                                                   ROMULUS           NY    14541
MARY CARDAMONE                                  107 ST CHARLES PL                                                                             ELYRIA            OH    44035
MARY CAROL A POWELL                             548 50TH ST                                                                                   SANDUSKY          OH    44870‐4926
MARY CAROL ALMEN TR MARY CAROL ALMEN LIVING     9840 NE 20TH ST                                                                               BELLEVUE          WA    98004‐2601
TRUST UA 10/12/00
MARY CAROL CARLSON                              20505 LAKEVIEW AVE                                                                            DEEPHAVEN         MN    55331‐9365
MARY CAROL KREBSBACH                            20505 LAKEVIEW AVE                                                                            EXCELSIOR         MN    55331‐9365
MARY CAROL SOSSONG SMITH                        3321 SADDLEBROOK CIR                                                                          BIRMINGHAM        AL    35210‐4265
MARY CAROLINE AMSPACHER                         1157 IVYGLEN CIR                                                                              BLOOMFIELD        MI    48304‐1236
MARY CAROLYN BRUCE TR UA 10/08/90 MARY CAROLYN PO BOX 445                                                                                     NORRIS CITY       IL    62869‐0445
BRUCE TRUST
MARY CAROLYN HINES                              2115 W RANDOLPH CIR                                                                           TALLAHASSEE       FL    32308‐3356
MARY CAROLYN JACKSON                            PO BOX 2863                                                                                   MUNCIE            IN    47307‐0863
MARY CAROLYN PERRIN                             4440 CORONA ST                                                                                EUGENE            OR    97404‐1010
MARY CARR REISEDGE                              2925 E TELLURIDE                                                                              BRIGHTON          MI    48114
MARY CARR TR WILLIAM MONELL U/DEC OF TRUST      90 S DAMAREST AVE                                                                             BERGENFIELD       NJ    07621‐2039
6/26/58
MARY CARROLL SULLIVAN CUST DENNIS MONTGOMERY 1270 ROBINSON ROAD                                                                               STARKVILLE        MS    39759‐8688
SULLIVAN UGMA MS
MARY CARROLL‐SMITH & KATHERINE CARROLL SMITH JT 724 18TH AV                                                                                   SALT LAKE CITY    UT    84103‐3717
TEN
MARY CASSIDY HINES & JAMES W HINES JT TEN       2901 CYPRESS BAY COURT                                                                        ELLICOTT CITY     MD    21042‐7600
MARY CATHERINE ALLEN POWELL                     103 SHEARWATER DR                                                                             HAMPSTEAD         NC    28443‐2481
MARY CATHERINE BARKMAN                          1661 CAMPBELL TRAIL                                                                           RICHARDSON        TX    75082‐4803
MARY CATHERINE BROO                             C/O NANCY RAIDY                      1309 LEA CTOREST LANE                                    FRANKFORT         IN    46041‐2644
MARY CATHERINE CULLEN                           5300 COVENTRY PL                                                                              COLLEYVILLE       TX    76034‐5509
MARY CATHERINE DEIBEL                           6806 W HWY 146                                                                                CRESTWOOD         KY    40014‐9435
MARY CATHERINE GALLAGHER                        PO BOX 454                                                                                    CATHEDRAL CITY    CA    92235‐0454
MARY CATHERINE JONES                            G‐5135 JACKSON RD                                                                             FLINT             MI    48506
MARY CATHERINE KENNEDY                          1431 S WASHINGTON                                                                             KOKOMO            IN    46902‐6354
MARY CATHERINE LAMP                             77 S EVERGREEN AVE                   UNIT 605                                                 ARLINGTON HTS     IL    60005‐1491
MARY CATHERINE MALLOY                           9301 N 76TH ST APT 164                                                                        MILWAUKEE         WI    53223‐1057
MARY CATHERINE MORTON TR MARY CATHERINE         10736 S WESTNEDGE AVE                                                                         PORTAGE           MI    49002‐7353
MORTON TRUST UA 06/17/92
MARY CATHERINE NAU                              1315 NATIONAL RD                                                                              WHEELING          WV    26003‐5705
MARY CATHERINE NOWLIN                           1877 S FIRCREST AVENUE                                                                        COUPEVILLE        WA    98239‐9646
MARY CATHERINE RAFFERTY & ELIZABETH C DUNCAN JT 102 SAINT ANDREW CT                                                                           INDIANA           PA    15701‐3470
TEN
MARY CATHERINE STANTON                          530 CLOVER COURT                                                                              EXETER            PA    18643
MARY CATHERINE WISE                             467 S LOUISVILLE ST R2                                                                        ACKERMAN          MS    39735
MARY CATHLEEN HUBER                             108 WULGAERT WAY                                                                              COMBINED LOCKS    WI    54113‐1247

MARY CAUGHLAN KELLEY                            PO BOX 176                           FLOWER HILL                                              IRVINGTON         VA    22480‐0176
MARY CAUGHLAN KELLEY CUST KRISTEN BARBARA       PO BOX 176                                                                                    IRVINGTON         VA    22480‐0176
KELLEY UTMA VA
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Name                                            Address1                             Address2             Address3          Address4          City             State Zip

MARY CELESTE FRIDAY                              1040 PASEO DEL PUEBLO SUR                                                                    TAOS             NM    87571‐5968
MARY CELESTE STARZYK & LAWRENCE J STARZYK JT TEN 3573 SUMMIT RD                                                                               RAVENNA          OH    44266‐3517

MARY CHANCE                                     601 LAWRENCE ST                                                                               OLD HICKORY      TN    37138‐3416
MARY CHANDLER HENRY PERS REP EST ALICE JAMESON 2927 MAYFAIR DR                                                                                LANSING          MI    48912‐5145
JONES
MARY CHARLES BROWN                              410 EAST GAINES STREET                                                                        LAWRENCEBURG     TN    38464‐3534
MARY CHASE KALLMAN                              3755 COUNTY ROAD 119.8                                                                        TRINCHERA        CO    81081
MARY CHATFIELD & ARTHUR CHATFIELD JT TEN        3923 EATON DR                                                                                 ROCKFORD         IL    61114‐6183
MARY CHERIE NORDEEN                             656 MARTIN SMITH RD                                                                           GILBERT          SC    29054‐9564
MARY CHICHESTER AHLGREN                         229 OLDE STAGE RD                                                                             GLASTONBURY      CT    06033‐3251
MARY CHRISTINE HUGGINS                          8309 OCEAN TERRACE WAY                                                                        LAS VEGAS        NV    89128‐7459
MARY CHRISTINE MESSER                           1765 PIPER LN                        APT 104                                                  DAYTON           OH    45440‐5091
MARY CHRISTINE MUNCY                            2113 ROTHBURY RD                                                                              LEXINGTON        KY    40515‐1180
MARY CHRISTINE SHEREDA                          92‐6002 KOHI ST                                                                               KAPOLEI          HI    96707‐3302
MARY CHRISTINE SIMKINS                          C/O SIMKINS FEDERICI                 713 SEASHORE ROAD                                        COLD SPRING      NJ    08204‐4634
MARY CHUNG                                      82‐96 61ST ROAD                                                                               MIDDLE VILLAGE   NY    11379‐1421
MARY CLAIRE B GWYN & MICHAEL B GWYN JT TEN      9848 WARWICK CIRCLE                                                                           CHARLOTTE        NC    28210‐7853
MARY CLAIRE MATTIELLO                           520 KNIGHTSBRIDGE CT                 APT C2                                                   BENSALEM         PA    19020‐7779
MARY CLAIRE MILLS                               37 CHAPLIN CRES                      TORONTO ON                             M5P 1A2 CANADA
MARY CLAIRE SHIBER & CLAIRE SHIBER JT TEN       28 NATHAN WAY                                                                                 WAYNE            NJ    07470‐6540
MARY CLARE BOWLUS                               122‐A EMERY CT                                                                                NEWARK           DE    19711‐5930
MARY CLARE CHEVALIER                            120 NORTH NORWINDEN DRIVE                                                                     SPRINGFIELD      PA    19064‐2614
MARY CLARE KOLASINSKI                           PO BOX 14                                                                                     SMOOT            WY    83126‐0014
MARY CLARE MCCORMICK                            38633 RHONSWOOD CT                                                                            NORTHVILLE       MI    48167‐9041
MARY CLARITY & CHRISTINE ORR JT TEN             4 LAKEVIEW TR                                                                                 ANDOVER          NJ    07821‐3119
MARY CLARITY & KIM DREW JT TEN                  4 LAKE VIEW TR                                                                                ANDOVER          NJ    07821‐3119
MARY COLETTA MCGINT TR UA 09/29/86 MARY         18897 N VALLEY DR                                                                             CLEVELAND        OH    44126‐1759
COLETTE MCGINTY TRUST
MARY COLLIGAN                                   431 TANGERINE DR                                                                              OLDSMAR          FL    34677‐2708
MARY COLLINS                                    60 VERMONT ST                                                                                 WEST ROXBURY     MA    02132‐2509
MARY COLLINS HOFFECKER & JOHN COLLINS HOFFECKER 4645 BAILEY DR LIMESTONE ACRES                                                                WILMINGTON       DE    19808‐4109
JT TEN
MARY COLLINS HOFFECKER & MARY HOFFECKER PUSEY LIMESTONE ACRES                        4645 BAILEY DR                                           WILMINGTON       DE    19808‐4109
JT TEN
MARY COLON                                      1456 DEERING AVE                                                                              SPRING HILL      FL    34609‐4609
MARY CONSTANCE CONN                             26 HANSON DRIVE                      ST CATHARINES ON                       L2M 2W7 CANADA
MARY COOKSEY WILKS                              150 FRANKLIN ST                                                                               VERONA           NJ    07044‐1627
MARY COUGHLIN TR UA 02/07/02 MARY COUGHLIN      9076 RICHFIELD PARK RD                                                                        DAVISON          MI    48423
LIVING TRUST
MARY COUGHLIN TR UA 02/07/2002 MARY COUGHLIN 9076 RICHFIELD PARK ROAD                                                                         DAVISON          MI    48423
LIVING TRUST
MARY COWART BURKE                               107 OAKWOOD PLACE                                                                             PARKERSBURG      WV    26101‐9237
MARY COX                                        7444 RED ROCK RD                                                                              INDIANAPOLIS     IN    46236‐9309
MARY COX & RICHARD E COX & MARY COX JT TEN      2706 YALE ST                                                                                  FLINT            MI    48543‐3461
MARY CRAIG STROHM                               C/O TOM STROHM                       2114 MOULTON ROAD                                        KEWADIN          MI    49648
MARY CRISTLE & THELMA ALLEN BROWN JT TEN        1218 E DOWNEY AVE                                                                             FLINT            MI    48505‐1627
MARY CROCKETT BELL                              2133 NO B ST                                                                                  ELWOOD           IN    46036‐1749
MARY CROOK HILL TR MARY CROOK HILL LIVING TRUST 214 EAST SILVER WILLOW DR                                                                     SANDY            UT    84070‐4225
UA 10/29/96
MARY CROSSMAN & DARRYL H CROSSMAN JT TEN        14119 W. GREEN HOLLOW TERRACE        LITHCFIELD PARK                                          LITCHFIELD PK    AZ    85340
MARY CROWLEY                                    103 CLINTON AVE                                                                               NYACK            NY    10960‐4314
MARY CRYAN                                      34 OAK CREST DR                                                                               N ATTLEBORO      MA    02760‐3527
MARY CUERVO & JOSEPH M CUERVO JT TEN            7305 W ARCADIA                                                                                MORTON GROVE     IL    60053‐1762
MARY CUMMINGHAM & ROOSEVELT PERKINS JT TEN      3430 GASTON AVE                                                                               MONTGOMERY       AL    36105‐2032

MARY CURYLO                                     8268 ZIBLET CT                                                                                NIAGARA FALLS    NY    14304‐5503
MARY D BAPST                                    2038 WISTERIA LANE                                                                            LAFAYETTE HILL   PA    19444‐2121
MARY D BENYAK EX EST BETTY ANN BORDELON         931 OCEAN DR                                                                                  FAIRVIEW         TX    75069
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

MARY D BIANCA                                     72 BECKER AVE                                                                                  KENSINGTON        CT    06037‐1330
MARY D BROCK                                      2815 SKYLANE DR                                                                                NAPERVILLE        IL    60564‐8416
MARY D BROCK & FREDERICK J BROCK JT TEN           2815 SKYLANE DR                                                                                NAPERVILLE        IL    60564‐8416
MARY D BURGHARDT                                  114 PRESTON TRL                                                                                MEADOWLAKES       TX    78654‐6434
MARY D BURIK TOD RADONNA BURIK SUBJECT TO STA     1728 JAMES STREET                                                                              MONROEVILLE       PA    15146
TOD RULES
MARY D CAPRETTI                                   5439 EAGLE CLAW DR                                                                             PORT ORANGE       FL    32128‐2571
MARY D CARRIER                                    4847 N 755 E                                                                                   MANILLA           IN    46150‐9602
MARY D COPLEY                                     PO BOX E                                                                                       WAVERLY           PA    18471‐0720
MARY D CRAMER                                     8204 WEST PHALINGER RD                                                                         EAST AMHERST      NY    14051‐1039
MARY D DASHIELL                                   8763 23 MILE RD                                                                                SHELBY TOWNSHIP   MI    48316‐4515

MARY D DESMOND                                    3965 HARVARD RD                                                                                DETROIT           MI    48224‐2341
MARY D DOOLEY                                     6319 DARDEB RD                                                                                 INDIANAPOLIS      IN    46241‐7186
MARY D DRAWDY                                     354 W LAKESHORE DRIVE                                                                          CLERMONT          FL    34711‐3330
MARY D EASTMAN                                    400 W BUTTERFIELD RD                  # 107                                                    ELMHURST          IL    60126‐4903
MARY D ENGLISH                                    23319 WATSON RD                                                                                DEFIANCE          OH    43512‐8734
MARY D EVANS                                      2402 N KENYON ST                                                                               INDIANAPOLIS      IN    46219‐1618
MARY D FAUSTINI                                   255 ADAMS AVE                                                                                  RIVER EDGE        NJ    07661‐1420
MARY D FITTON                                     525 WEST 238TH ST                                                                              BRONX             NY    10463‐1818
MARY D FLEENER                                    1845 MAC ARTHUR LANE                                                                           INDIANAPOLIS      IN    46224‐5350
MARY D FLORA                                      1692 N CO RD 750 W                                                                             KOKOMO            IN    46901
MARY D FRAZIER                                    BOX 956                                                                                        CODY              WY    82414‐0956
MARY D GREER                                      3204 TYLER CT                                                                                  FRIENDSWOOD       TX    77546‐5677
MARY D HOLDER                                     9248 MCFARLAND WAY                                                                             MOBILE            AL    36695‐6904
MARY D HOOVER                                     617 COUNTY ROAD 901                                                                            MIDWAY            AR    72651‐9254
MARY D JACKSON                                    13109 WADE                                                                                     DETROIT           MI    48213‐2079
MARY D KOENIG                                     8142 N UNIVERSITY DR                                                                           TAMARAC           FL    33321‐1708
MARY D MACHELSKI                                  5310 ERNEST RD                                                                                 LOCKPORT          NY    14094‐5414
MARY D MC DOWELL                                  228 W FAIRMOUNT                                                                                PONTIAC           MI    48340‐2740
MARY D MEEKS                                      40 FAIR LAWN AVE APT B1                                                                        MATTAPAN          MA    02126‐1671
MARY D MOLLOY TR MARY D MOLLOY TRUST UA           10036 S SEELEY                                                                                 CHICAGO           IL    60643‐2022
07/09/97
MARY D NARTIN                                     2140 LOVE RD                                                                                   GRAND ISLAND      NY    14072
MARY D NEELY                                      3983 18TH STREET                                                                               ECORSE            MI    48229‐1311
MARY D NORDEEN                                    656 MARTIN SMITH RD                                                                            GILBERT           SC    29054‐9564
MARY D OCONNELL                                   842 W AVONDALE RD                                                                              WEST GROVE        PA    19390‐9520
MARY D OUSLEY                                     1809 WOODSVIEW DR                                                                              MARSHFIELD        WI    54449‐3442
MARY D PELLETIER                                  9 TURBRIDGE RD                                                                                 EAST GRANBY       CT    06026‐9624
MARY D PETERSON                                   193 INDIAN FOREST RD                                                                           JASPER            GA    30143‐1237
MARY D PETRUCELLI                                 10 HAMLET MANNER LANE                                                                          DURHAM            CT    06422‐1630
MARY D PRICE & ELIZABETH PRICE CERETTO JT TEN     696 CAYUGA DRIVE                                                                               LEWISTON          NY    14092‐1850

MARY D RANKIN                                     240 VISGER RD APT218                                                                           RIVER ROUGE       MI    48218
MARY D REEDY                                      2424 POST OAK RD                                                                               SALEM             VA    24153‐7487
MARY D ROBERTS                                    3117 LAWNVIEW                                                                                  CORPUS CHRISTI    TX    78404‐2426
MARY D RULEY                                      PO BOX 634                            313 WATER ST                                             CECILTON          MD    21913‐0634
MARY D SCHUYLER                                   14 RANCH OAK DR                                                                                WEST MANROE       LA    71291‐7809
MARY D ST GERMAIN                                 PO BOX 1043                                                                                    SCARBOROUGH       ME    04070‐1043
MARY D STADLER CUST DANIEL N STADLER UTMA AR      1013 COUNTRYSIDE DR                                                                            WEBB CITY         MO    64870‐1089

MARY D TAVARES                                    PO BOX 175                                                                                     EAST FALMOUTH     MA    02536‐0175
MARY D THACKER                                    1219 FRANCES LN                                                                                ANDERSON          IN    46012‐4521
MARY D THOMAS                                     13045 STRATHERN ST                                                                             N HOLLYWOOD       CA    91605‐1720
MARY D VENNETTI                                   5349 OAK CREST DR                                                                              YOUNGSTOWN        OH    44515‐4045
MARY D WHITSETT                                   1302 LAKE FRONT AVE                                                                            E CLEVELAND       OH    44108‐2560
MARY D WHITTAKER                                  804 HURON AVE                                                                                  DAYTON            OH    45407‐1324
MARY D WOODS                                      429 STEFFLER APT 9                                                                             RANTOUL           IL    61866
MARY D WRIGHT                                     194 RIVER RD                                                                                   WALLKILL          NY    12589‐3734
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Name                                           Address1                             Address2             Address3          Address4          City            State Zip

MARY D YORE                                    5057 WINTERBERRY DR                                                                           INDIANAPOLIS    IN    46254‐1313
MARY D ZEIL                                    304 TENNESSEE DR                                                                              BRICK           NJ    08723‐6070
MARY DAGENAIS & MARY ANN SPRAGUE JT TEN        1174 W COOK RD                                                                                GRAND BLANK     MI    48439‐9329
MARY DALE SPAULDING                            7036 E GEDDES PL                                                                              CENTENNIAL      CO    80112‐1607
MARY DARCY BURNS WILLIAMS                      191 PERAZUL CIR                                                                               SACRAMENTO      CA    95835‐2140
MARY DARIES                                    535 EAGLE ROCK AVE                                                                            WEST ORANGE     NJ    07052‐3644
MARY DARIES & LOUISE DARIES JT TEN             535 EAGLE ROCK AVE                                                                            WEST ORANGE     NJ    07052‐3644
MARY DARST KLING                               155 CHEROKEE DR                                                                               BANDERA         TX    78003‐3406
MARY DAVIS FRANKS SCHROEDER                    PO BOX 62                                                                                     PINEHURST       NC    28370‐0062
MARY DAY                                       30 CHERRYTREE CT                                                                              PALM COAST      FL    32137‐9050
MARY DE SPIRT                                  73 ENDICOTT DRIVE                                                                             EGGERTSVILLE    NY    14226‐3323
MARY DEAVER                                    4110 WHITMAN LN                                                                               GRAND PRAIRIE   TX    75052‐3912
MARY DEGIORGIO                                 29593 ASPEN DRIVE                                                                             FLATROCK        MI    48134‐1330
MARY DEIBEL & DEBORAH L DEIBEL JT TEN          4087 TONAWANDA CREEK RD                                                                       N TONAWANDA     NY    14120‐9505
MARY DEL ROSE MCFADDEN                         S1291A REMINGTON DR                  #A                                                       LA VALLE        WI    53941‐9575
MARY DELICH                                    9300 MATTHEWS HIGHWAY                                                                         TECUMSEH        MI    49286‐8708
MARY DELL ROBERTSON                            3825 MEEK DR                                                                                  JACKSONVILLE    FL    32277‐1714
MARY DELL W ROBERTSON                          3825 MEEK DR                                                                                  JACKSONVILLE    FL    32277‐1714
MARY DELMONTIE                                 14915 TERRY                                                                                   DETROIT         MI    48227‐5401
MARY DEMASEK                                   44 AQUAMARINE AVENUE                                                                          NAPLES          FL    34114‐8200
MARY DEMUTH SANDOVAL                           4967 TRINITY DRIVE                                                                            LOS ALAMOS      NM    87544
MARY DENISE RYAN                               1607 ROSEMOND AVENUE                                                                          JONESBORO       AR    72401‐4746
MARY DENISE WELLER                             814 S WEBSTER AVE                                                                             SCRANTON        PA    18505‐4206
MARY DENMAN                                    19 MASSASOIT RD                                                                               WELLESLEY HLS   MA    02481‐2410
MARY DENMAN & WILLIAM DENMAN JT TEN            107 SHELMAR                                                                                   EULESS          TX    76039‐2831
MARY DENNIS                                    3545 SECTION RD                                                                               CINCINNATI      OH    45237‐2430
MARY DENTE                                     14 MARVIN AVE                                                                                 DELMAR          NY    12054‐5100
MARY DEROMEDI TR MARY DEROMEDI REVOCABLE       500 E UNIVERSITY DR                  STE 321                                                  ROCHESTER       MI    48307‐7200
TRUST UA 08/20/96
MARY DETTMAN MILNER                            11943 RIVER MEADOW LANE                                                                       STAFFORD        TX    77477‐2101
MARY DI MEO CUST BRUCE DI MEO A MINOR U/THE    PO BOX 685                                                                                    KAAWA           HI    96730‐0685
LAWS OF RHODE ISLAND
MARY DI STASIO                                 26 MARBLE CIR                                                                                 ROCHESTER        NY   14615‐1338
MARY DIANE GAUMER                              1115 HOLLY LANE                                                                               GLENVIEW         IL   60025‐2635
MARY DIAZ                                      PO BOX 4517                                                                                   WATERBURY        CT   06704‐0517
MARY DIGON & HELEN J DALHSTROM JT TEN          25263 WITHERSPOON STREET                                                                      FARMINGTON HILLS MI   48335‐1366

MARY DIMEGLIO                                  N THIRD ST BOX 34                    ROUTE 6                                                  HAMMONTON       NJ    08037‐0034
MARY DODDS                                     5420 CONLEY WAY                                                                               DENVER          CO    80222‐6250
MARY DONNA FROH                                919 WOODLAND AVE                                                                              PORT WASHINGTON WI    53074‐1756

MARY DONOFRIO                                  ROUTE 166 & 37 DOVER MALL                                                                     TOMS RIVER      NJ    08753‐7453
MARY DOREEN KING                               1479 MAYWOOD AVE                                                                              ANN ARBOR       MI    48103‐5733
MARY DORIS NOSKER & BARBARA L DACOSTA JT TEN   550 US ROUTE 68 S                                                                             XENIA           OH    45385‐9799

MARY DOUGHERTY                                 1226 MINNESOTA DR                                                                             WHITEHALL       PA    18052‐4637
MARY DOWLING TR UA 09/25/92 MARY DOWLING       1941 STARDUST DRIVE                                                                           CLEARWATER      FL    33755‐1644
TRUST
MARY DRANGSTVEIT                               W 11477 S RIVER RD                                                                            TAYLOR          WI    54659‐8013
MARY DRAPER                                    5334 OWEN RD                                                                                  LINDEN          MI    48451‐9024
MARY DREWBLOW ANDERSON JOPPRU                  3200 FRANCE AVE S                    #4                                                       MINNEAPOLIS     MN    55416‐4757
MARY DRURY                                     14864 PARIS CT                                                                                ALLEN PARK      MI    48101‐3083
MARY DUANE CLEMENTS                            2220 LOWELL AVE                                                                               LOUISVILLE      KY    40205‐2653
MARY DUIGOU                                    1 GEORGIA AVE                                                                                 BRONXVILLE      NY    10708
MARY DUNN EVANS                                2386 CHRISTOPHERS WALK NW                                                                     ATLANTA         GA    30327‐1110
MARY DUNN FALCON CUST ANNA FALCON UTMA CA      1027 WINTERS WY                                                                               SUISUN CITY     CA    94585‐3510

MARY DUNN FALCON CUST EMILY FALCON UTMA CA     1027 WINTERS WY                                                                               SUISUN CITY     CA    94585‐3510
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Name                                              Address1                               Address2             Address3                       Address4          City            State Zip

MARY DUNN FALCON CUST JOSEPH FALCON UTMA CA       1027 WINTERS WY                                                                                              SUISUN CITY     CA    94585‐3510

MARY DUNSTON                                   152 FREEMAN AVE                                                                                                 EAST ORANGE     NJ    07018‐2704
MARY DURYEA                                    154 MARSH SIDE DRIVE                                                                                            ST AUGUSTINE    FL    32080‐5837
MARY DYKES                                     4731 TOD AVE SW                                                                                                 WARREN          OH    44481‐9744
MARY E AKINS                                   981 CEDARGATE CT                                                                                                WATERFORD       MI    48328‐2617
MARY E ALBRIGHT                                37 WOODMONT DR                                                                                                  LAWRENCEVILLE   NJ    08648‐2118
MARY E ALLEN                                   118 EFFIE ALLEN LN                                                                                              HILHAM          TN    38568‐5857
MARY E ALLEN TR ALLEN REVOCABLE JOINT TRUST UA 8231 CROSSWIND RD                                                                                               JACKSONVILLE    FL    32244‐6445
06/09/92
MARY E AMATULLI                                7 RUSTIC COURT                                                                                                  LANDRUM         SC    29356
MARY E ANDREWS                                 706 N MARION ST                                                                                                 HINTON          OK    73047‐9120
MARY E ANGILERE                                1350 KELSO DUNES AVE                      APT 224                                                               HENDERSON       NV    89014‐7821
MARY E ATCHISON                                PO BOX 67                                 5286 BUSCH RD                                                         BIRCH RUN       MI    48415
MARY E AUSTIN                                  PO BOX 1320                                                                                                     YOUNGSTOWN      OH    44501‐1320
MARY E AXILROD                                 7434 CENTENARY AVE                                                                                              DALLAS          TX    75225‐4515
MARY E BARRETT                                 49 HUNTINGTON RD                                                                                                ATLANTA         GA    30309‐1501
MARY E BARTLETT                                7011 WEST 163RD TERR                                                                                            STILLWELL       KS    66085‐9174
MARY E BASSETT                                 186 TROUTBECK LANE                                                                                              ROCHESTER       NY    14626‐1720
MARY E BATCHELOR TR MARY E BATCHELOR TRUST UA 148 MARWOOD ROAD #1123                                                                                           CABOT           PA    16023‐2236
11/29/93
MARY E BEAUMONT TR MARY E BEAUMONT REVOCABLE 23212 WASHINGTON AVE                                                                                              KANSASVILLE     WI    53139‐9741
TR UA 01/24/00
MARY E BECK                                    602 EDGEHILL RD                           WESTOVER HILLS                                                        WILMINGTON      DE    19807‐2921
MARY E BEERWORTH                               RR 1 BOX 604                                                                                                    SHREWSBURY      VT    05738‐9729
MARY E BEGLEY & NANCY E BEGLEY JT TEN          542 SO BROADWAY                                                                                                 LAWRENCE        MA    01843‐3643
MARY E BEHM                                    4 SUMMIT DRIVE                                                                                                  CROMWELL        CT    06416‐2033
MARY E BENNETT                                 122 AKRON ST                                                                                                    LOCKPORT        NY    14094‐5147
MARY E BERGER                                  4204 ANNTANA AVE                                                                                                BALTIMORE       MD    21206‐4202
MARY E BEVELAQUA                               PO BOX 237                                                                                                      GIRARD          OH    44420‐0237
MARY E BLACK                                   1146 WOODLAND WY                                                                                                HAGERSTOWN      MD    21742‐3264
MARY E BLACKMON                                9437 WEST 300 NORTH 27                                                                                          CONVERSE        IN    46919‐9642
MARY E BLAIR                                   1845 TURTLE CREEK DR                                                                                            AURORA          IL    60503‐4928
MARY E BLIGH                                   4535 AVONDALE ST APT 4                                                                                          BETHESDA        MD    20814‐3544
MARY E BOETTO                                  2095 SAND RUN KNOLLS DR                                                                                         AKRON           OH    44313‐8005
MARY E BOHANNON                                103 KARLA DRIVE                                                                                                 RICHMOND        KY    40475‐8544
MARY E BOYER                                   28 BALDWIN ST                                                                                                   MASSENA         NY    13662‐1034
MARY E BOYNER                                  28 BALDWIN AVE                                                                                                  MASSENA         NY    13662‐1034
MARY E BRADWAY TOD EDWARD P BRADWAY SUBJECT 328 1/2 ALLEN AVENUE                                                                                               SALEM           NJ    08079
TO STA TOD RULES
MARY E BRODERICK                               3900 69TH ST                                                                                                    URBANDALE       IA    50322‐2608
MARY E BRUECK CUST AMANDA SUSAN KORODY UGMA 53203 JUDAY CREEK BLVD                                                                                             GRANGER         IN    46530‐9096
MI
MARY E BRUECK CUST CAMERON R KORODY UGMA MI 53203 JUDAY CREEK BLVD                                                                                             GRANGER         IN    46530‐9096

MARY E BUDA                                       C/O EDWARD GILSON                      SMYLIE TIMES BLDG    8001 ROOSEVELT BLVD STE 501B                     PHILADELPHIA    PA    19152‐3041
MARY E BULLOCK                                    420 SOUTH ST                                                                                                 GENEVA          IL    60134‐2659
MARY E BURGER                                     561 BROOKLAND BLVD                                                                                           LANSING         MI    48910‐3405
MARY E BURKS                                      1124 CRESTWOOD CT                                                                                            DE SOTO         TX    75115‐5242
MARY E BURNS                                      2568 NOTTINGHAM RD                                                                                           COLUMBUS        OH    43221‐1120
MARY E BUSBEE                                     100 WILLOW LEAF PL                                                                                           AIKEN           SC    29801‐6806
MARY E BUTLER                                     4348 DINNER LAKE BLVD                                                                                        LAKE WALES      FL    33853
MARY E BYRD                                       900 W KILGORE AVE                                                                                            MUNCIE          IN    47305‐1589
MARY E CANNON & JAMES P CANNON JT TEN             795 COUNTY ROAD 1                      LOT 154                                                               PALM HARBOR     FL    34683‐6376
MARY E CAROSA                                     184 TUSCARORA RD                                                                                             BUFFALO         NY    14220‐2430
MARY E CARPENTER                                  140 FIELDSTONE ROAD                                                                                          HOPKINTON       NH    03229
MARY E CARPENTER & FREDERICK J CARPENTER JT TEN   140 FIELDSTONE ROAD                                                                                          HOPKINTON       NH    03229

MARY E CARR                                       2805 EMERALD ST                                                                                              MEMPHIS         TN    38115
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Name                                             Address1                                Address2              Address3         Address4          City               State Zip

MARY E CAUFIELD TR MARY E CAULFIELD TR UA 7/27/78 PO BOX 164                                                                                      DRUMMOND           MI    49726‐0164
                                                                                                                                                  ISLAND
MARY E CAUPP                                     2915 DWIGHT AVE                                                                                  DAYTON             OH    45420‐2609
MARY E CAVERLEE TR UA 11/20/07 MARY E CAVERLEE   227 N BEECH STREET                                                                               EATON              OH    45320
REVOCABLE TRUST
MARY E CECCHI                                    2616 SOL DE VIDA NW                                                                              ALBUQUERQUE        NM    87120‐1396
MARY E CHAPUT TOD TRACY WAINWRIGHT SUBJECT TO    2605 CHAPEL LAKE DR                     APT 302                                                  GAMBRILLS          MD    21054‐1684
STA TOD RULES
MARY E CHILES                                    308 JEWETT AV                                                                                    BUFFALO            NY    14214‐2528
MARY E CLARK                                     1460 BUTTERFIELD CIR                                                                             NILES              OH    44446‐3576
MARY E CLARKE                                    1234 TRESTLE RD                                                                                  YAZOO CITY         MS    39194‐9570
MARY E COLES                                     535 N OAK AVE                           # 138                                                    PITMAN             NJ    08071‐1025
MARY E COLLIER                                   PO BOX 65                                                                                        FORSYTH            GA    31029‐0065
MARY E COLLIER                                   2689 LIBERTY VALLEY RD                                                                           LEWISBURG          TN    37091‐7073
MARY E CONVERSE                                  30 SPINDLE LN                                                                                    HILTON HEAD        SC    29926‐1268
                                                                                                                                                  ISLAND
MARY E COSTANTINO & ANTHONY R COSTANTINO JT      991 VAIL VIEW DR                                                                                 FAIRBANKS          AK    99712‐1253
TEN
MARY E COUILLARD                                 7181 DANNY DR                                                                                    SAGINAW            MI    48609‐5254
MARY E COWAN & ROBERT C COWAN JT TEN             1074 BEACH ORCHID RD                                                                             COOKEVILLE         TN    38501
MARY E CRAFT                                     8180 HENDERSON RIDGE DR                                                                          MOORESVILLE        IN    46158‐7205
MARY E CRAWFORD                                  4020 N CAPITAL AVE                                                                               INDIANAPOLIS       IN    46208‐3811
MARY E CREWS                                     1901 SPENCER DR                                                                                  MUSKEGON           MI    49441‐4559
MARY E CROCKETT & TONYA G CROCKETT JT TEN        12729 RICHMOND AVE                                                                               GRANDVIEW          MO    64030‐2160
MARY E CROSS CUST KATHERINE L CROSS UNDER MI     22301 MYLLS                                                                                      ST CLAIR SHORES    MI    48081‐1342
UNIF GIFTS TO MINROS ACT
MARY E CULLEN                                    7118 SEAFORD RD                                                                                  UPPER DARBY        PA    19082‐5325
MARY E DAVIS                                     1420 CEDAR ST                                                                                    LIMA               OH    45804‐2538
MARY E DAVIS & FRANCES O HARRIS JT TEN           2222 S MONROE                                                                                    BAY CITY           MI    48708‐8777
MARY E DE SOI                                    2216 HILLCREST ROAD                                                                              DREXEL HILL        PA    19026‐1112
MARY E DEITERS                                   3RD & CHRISTIANA ST                     PO BOX 283                                               BECKEMEYER         IL    62219‐0283
MARY E DELFIN                                    14824 STATE HIGHWAY 159 W                                                                        NEW ULM            TX    78950‐1708
MARY E DEMAN                                     RR 3 1836 ROAD 5 WEST                   COTTAM ON                              N0R 1B0 CANADA
MARY E DENTON                                    87 LUCERNE BLVD                                                                                  BIRMING HAM        AL    35209‐6609
MARY E DERRINGER                                 3221 W WASHINGTON ST                                                                             ANDERSON           IN    46011‐8774
MARY E DETTERICH                                 1201 ANDERSON RD                                                                                 DULUTH             MN    55811
MARY E DIETRICH                                  1144 PINRUN DR                                                                                   BALLWIN            MO    63011‐4230
MARY E DIXON                                     706 SHADOW LAKE LN                                                                               NAPLES             FL    34108‐8500
MARY E DOHERTY                                   1115 LAWRENCE AVENUE                                                                             POINT PLEASANT     NJ    08742‐2341
MARY E DOLTER                                    29 PORTERSVILLE RD                                                                               ELLWOOD CITY       PA    16117‐2414
MARY E DONAT                                     5125 OAK LEAF DRIVE                                                                              MOUNT JOY          PA    17552
MARY E DONELSON                                  447 WEST 550 NORTH                                                                               KOKOMO             IN    46901‐9185
MARY E DONNELLY & COLLEEN LACHAPELLE JT TEN      3112 PIKEWOOD COURT                                                                              COMMERCE           MI    48382‐1441
                                                                                                                                                  TOWNSHIP
MARY E DORMAN                                   1313 LINDEN ST                                                                                    INDIANAPOLIS       IN    46203‐1919
MARY E DRAPER                                   208 CLYDESDALE LN                                                                                 SPRINGFIELD        TN    37172‐7368
MARY E DUDLEY & JAMES P DUDLEY TR MARY E DUDLEY 34538 MACDONALD DR                                                                                STERLING HEIGHTS   MI    48310‐5310
TRUST UA 12/18/96
MARY E DUFFY                                    APT 539                                  8245 HONEYTREE BLVD                                      CANTON             MI    48187‐4144
MARY E DUNSTAN                                  24819 11TH AVENUE S                                                                               DES MOINES         WA    98198‐8535
MARY E DUTTON                                   8306 W 164TH COURT                                                                                TINLEY PARK        IL    60477‐1292
MARY E DZIALOWY                                 15805 JOANN LANE                                                                                  OAK FOREST         IL    60452‐2773
MARY E EDELMAYER                                14330 SARASOTA                                                                                    REDFORD            MI    48239‐3325
MARY E EIKAMP                                   17 LAS PALMAS WAY                                                                                 PALM COAST         FL    32137
MARY E EKORN                                    2551 S CREST DR                                                                                   ROSCOMMON          MI    48653‐9213
MARY E ENGEN                                    2905 LUNA SE RD                                                                                   DEMING             NM    88030‐8158
MARY E ENGLISH                                  99 HARLAND ROAD                                                                                   NORWICHTOWN        CT    06360‐2430
MARY E ERDAHL                                   220 HIGH ST                                                                                       NEENAH             WI    54956‐2638
                                             09-50026-mg                Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                               Address2             Address3          Address4          City             State Zip

MARY E ERICKSON & ANDREW M ERICKSON JT TEN      10 STONE RIDGE DR                                                                               EAST GREENWICH   RI    02818‐1612

MARY E EZZO                                     182 STATE RD NW                                                                                 WARREN           OH    44483‐1620
MARY E FABRICIUS                                2505 1/2 BROADWAY                                                                               DUBUQUE          IA    52001‐3327
MARY E FERRY                                    C/O SUSAN FERRY                        180 DEBBIE DR                                            DRUMS            PA    18222
MARY E FETTIG & ROBERT C FETTIG JT TEN          1100 GODFREY AVE                                                                                SPRING HILL      FL    34609
MARY E FITZPATRICK A MINOR U/GDNSHP OF E N      634 FRANKLIN TURNPIKE                                                                           ALLENDALE        NJ    07401‐1607
FITZPATRICK
MARY E FOLEY CUST MATTHEW J FOLEY UTMA VA       509 WOODLAND CT NW                                                                              VIENNA           VA    22180
MARY E FORD                                     773 ADELAIDE AVE W                     OSHAWA ON                              L1J 6S1 CANADA
MARY E FORTNEY                                  1304 S ELM ST                                                                                   W CARROLLTON     OH    45449‐2340
MARY E FORTUNATO                                107 OLDE POINT LOOP                                                                             HAMPSTEAD        NC    28443‐8480
MARY E FOX                                      944 15TH ST                                                                                     HERMOSA BEACH    CA    90254‐3204
MARY E FRANCIS                                  145 ST REGIS RD                                                                                 HOGANSBURG       NY    13655‐3189
MARY E FRANKLIN                                 200 TEXAS OAK DR                                                                                CEDAR CREEK      TX    78612‐4918
MARY E FRED                                     9817 W SUNSET LN                                                                                ELWOOD           IN    46036‐8829
MARY E FRENCH                                   3737 HOWELL RD RT 3                                                                             MASON            MI    48854‐9588
MARY E GAMBLE                                   715 PLUMTREE LN                                                                                 CLAYMONT         DE    19703‐1611
MARY E GANDY                                    116 CAVALCADE DRIVE                                                                             FRANKLIN         TN    37069‐1800
MARY E GARRETT                                  3707 WASHINGTON PARK BLVD                                                                       NEWBURGH HTS     OH    44105‐3133
MARY E GARRETT                                  3707 WASHINGTON PARK                                                                            NEWBURGH         OH    44105‐3133
                                                                                                                                                HEIGHTS
MARY E GASKINS                                  1571 W ARNDALE ROAD                                                                             STOW             OH    44224‐2311
MARY E GAY                                      612 LINDA VISTA                                                                                 PONTIAC          MI    48342‐1649
MARY E GEARHART                                 37625 NEWBURGH PARK CIR                                                                         LIVONIA          MI    48152‐1370
MARY E GENTILE                                  156 BRIDLE PATH                                                                                 WILLIAMSVILLE    NY    14221‐4536
MARY E GERDES                                   6490 GLENSIDE CT                                                                                GLOUCESTER       VA    23061‐4201
MARY E GILLILAND TR MARY E GILLILAND TRUST UA   7371 CROSS CREEK DR                                                                             SWARTZ CREEK     MI    48473‐1712
05/01/86
MARY E GLASSEN                                  85 WINSLOW ST                                                                                   RIVERSIDE        RI    02915‐1725
MARY E GODFREY                                  2330 E AVENUE J8                       SPC 84                                                   LANCASTER        CA    93535‐5672
MARY E GODFREY                                  PO BOX 18071                                                                                    RIVER ROUGE      MI    48218‐0071
MARY E GOLDBERGER                               2000 CHESTNUT AVE                                                                               GLENVIEW         IL    60025‐1642
MARY E GOODALL                                  7968 E COLETTE CIR                     UNIT 214                                                 TUCSON           AZ    85710‐2453
MARY E GORIS                                    58 THEODORE DRIVE                                                                               CORAM            NY    11727‐3644
MARY E GRAHAM TR MARY E GRAHAM TRUST UA         4536 ELM RIVER CT                                                                               FORT WORTH       TX    76116‐0610
08/12/02
MARY E GRAHAM TR MARY ELLEN GRAHAM TRUST UA     470 W SAN RAMON #102                                                                            FRESNO           CA    93704‐2332
01/13/00
MARY E GREEN                                    205 LOCH LOOP                                                                                   YUKON            OK    73009
MARY E GRIMES                                   10050 PATTON ST                                                                                 TWINSBURG        OH    44087‐1012
MARY E GRISPI                                   3 SCHOONER DRIVE                                                                                ROCKLAND         ME    04841
MARY E GROTZ                                    525 S SHELDON RD                                                                                PLYMOUTH         MI    48170‐1527
MARY E GRUBB                                    234 WINTERGREEN LN                                                                              BRUNSWICK        MD    21716‐1829
MARY E HAILEY & JAMES B GALBRAITH JT TEN        10‐COLONY PARK CIR                                                                              GALVESTON        TX    77551‐1738
MARY E HAIRSTON                                 PO BOX 993                                                                                      MANSFIELD        OH    44901‐0993
MARY E HALCOMB                                  G 1312 E HARVARD                                                                                FLINT            MI    48505
MARY E HALCOMB & MARY K BLAND JT TEN            G 1312 E HARVARD                                                                                FLINT            MI    48505
MARY E HALE                                     5801 ALTON RD                                                                                   MIAMI BEACH      FL    33140
MARY E HALL                                     661 STATE ST                                                                                    MUMFORD          NY    14511
MARY E HAMILTON                                 61508 GLENWOOD                                                                                  WASHINGTON       MI    48094‐1522
MARY E HAMILTON & LARRY T HAMILTON JT TEN       50 HARDING HGTS BLVD                                                                            MANSFIELD        OH    44906‐1316
MARY E HAMMONDS                                 462 CHEROKEE DR                                                                                 BUTLER           PA    16001‐0514
MARY E HANSBURY                                 72 VAN HOUTON AVE                                                                               CHATHAM          NJ    07928
MARY E HARRELL BULLARD                          3359 WARRENTON ROAD                                                                             MONTGOMERY       AL    36111‐1736
MARY E HARRIS                                   72 SUGAR HILL RD                                                                                EASTBROOK        ME    04634‐4017
MARY E HARRIS                                   3955 HAMPTON LANE                                                                               SHREVEPORT       LA    71107
MARY E HARTLINE                                 2525 METAIRIE COURT                                                                             METAIRIE         LA    70002‐6309
MARY E HARTLINE CUST ABBY E SLIPHER UTMA LA     2525 METAIRIE CT                                                                                METAIRIE         LA    70002‐6309
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Name                                           Address1                               Address2                   Address3    Address4          City            State Zip

MARY E HARTZELL                                61 DEVONSHIRE WAY                                                                               CLIFTON PARK   NY     12065‐3230
MARY E HARVEY                                  616 E SEMINARY ST                                                                               DANVILLE       IL     61832‐4825
MARY E HARWELL                                 7562 HOWARD DEAN LN                                                                             PENSACOLA      FL     32526‐8832
MARY E HATCH                                   292 PARK PL                                                                                     BROOKLYN       NY     11238‐3906
MARY E HAWKINS                                 1616 N AUBURN ST                                                                                SPEEDWAY       IN     46224‐5709
MARY E HAYNES                                  33420 MICHIGAN AV 46                                                                            WAYNE          MI     48184‐2798
MARY E HEFLIN                                  235 CLEVELAND AVE                                                                               HAMILTON       OH     45013‐3001
MARY E HEGEDUS & BEN HEGEDUS JT TEN            7000 S HURON RIVER DR                                                                           SOUTH ROCKWOOD MI     48179‐9528

MARY E HEILMAN                                 BOX 122                                                                                         COUNCIL GROVE   KS    66846‐0122
MARY E HELGREN                                 12546 ROUND ROBIN CT                                                                            SAINT LOUIS     MO    63146‐3864
MARY E HENDRIX                                 3116 MOCKINGBIRD LANE                                                                           MIDWEST CITY    OK    73110‐4113
MARY E HENSHAW                                 PO BOX 84                                                                                       DUNREITH        IN    47337‐0084
MARY E HESGARD                                 3325 MONZA DR                                                                                   SEBRING         FL    33872‐2014
MARY E HESGARD & ROBERT A HESGARD JT TEN       3325 MONZA DR                                                                                   SEBRING         FL    33872‐2014
MARY E HICKS                                   29 BLAINE ST                                                                                    PONTIAC         MI    48342‐1101
MARY E HICKS                                   17105 HOLLY HILL DR                                                                             CLEVELAND       OH    44128‐2523
MARY E HILL                                    1808 SEYBURN                                                                                    DETROIT         MI    48214‐4217
MARY E HOLCOMB                                 10470 EAGLE POINT TRAIL                                                                         WOODBURY        MN    55129
MARY E HOLLAND                                 ATTN MARY E HARAGELY                   28243 TERRENCE                                           LIVONIA         MI    48154‐3438
MARY E HOLLOMAN                                15 LANYARD AVE                                                                                  TROTWOOD        OH    45426‐3044
MARY E HOLMES                                  14 PATRICIA LANE                                                                                LITTLE ROCK     AR    72205‐2513
MARY E HOLT                                    567 ELLERY PL                                                                                   HAYWARD         CA    94544‐7435
MARY E HOPKINS                                 11669 CRANE COURT                                                                               MORENO VALLEY   CA    92557‐6203
MARY E HORN                                    575 W DELHI                                                                                     ANN ARBOR       MI    48103
MARY E HOUSER                                  10006 RIVERWALK TER                                                                             UPPR MARLBORO   MD    20774
MARY E HUFF                                    524 E MILTON AVE                                                                                RAHWAY          NJ    07065‐5202
MARY E HUSS                                    5 MULBERRY LANE                                                                                 DENVILLE        NJ    07834‐2207
MARY E HUTKAI                                  1013 NE 104TH TER                                                                               KANSAS CITY     MO    64155‐1938
MARY E IRBY                                    1626 28TH AV                                                                                    MERIDIAN        MS    39301‐3013
MARY E JALBERT                                 WINKWORTH GARDENS                      3187B BELLEVUE AVE APT 1                                 SYRACUSE        NY    13219‐3162
MARY E JAMES CUST MARY BETH JAMES UATMA AR     3311 TRAVIS PARKWAY                                                                             BRYANT          AR    72022‐8512

MARY E JASPER                                  18504 HARVARD AVE                                                                               CLEVELAND       OH    44122
MARY E JENNINGS                                204 OAKLAND ST                                                                                  BRISTOL         CT    06010‐4306
MARY E JERIDOU                                 9403 RAVENSWOOD                                                                                 DETROIT         MI    48204‐4513
MARY E JERSE                                   290 E 218TH STREET                                                                              EUCLID          OH    44123‐1728
MARY E JOHNSON                                 3606 AZALEA CIR                                                                                 COLUMBUS        MS    39701‐1705
MARY E JOHNSON                                 28140 SUTHERLAND ST                                                                             SOUTHFIELD      MI    48076‐7338
MARY E JOHNSON                                 1429 KASOLD DR APT 82                                                                           LAWRENCE        KS    66049‐3425
MARY E KALER                                   8920 WILLOW GROVE                                                                               FT WAYNE        IN    46804‐2655
MARY E KAVANAUGH                               2307 TAGGART WYNNWOOD CT                                                                        WILMINGTON      DE    19810
MARY E KEEL                                    3396 SUNRIVER RD                       APT 124                                                  BULLHEAD CITY   AZ    86429‐8900
MARY E KELLY EX UW JAMES B KELLY               W5283 WINDMILL RIDGE RD                                                                         NEW GLARUS      WI    53574‐9459
MARY E KING                                    9131 W 125 N                                                                                    W LAFAYETTE     IN    47906‐9470
MARY E KISH                                    4565 MAJOR AVE                                                                                  WATERFORD       MI    48329
MARY E KLUTZ                                   3160 WEDGEWOOD BLVD                                                                             DELRAY BEACH    FL    33445‐5750
MARY E KNEEDLER                                116 WOODGATE RD                                                                                 PITTSBURGH      PA    15235‐4168
MARY E KULIK                                   C/O MARY E KULIK VENUS                 3983 W COLLEGE AVE                                       MILWAUKEE       WI    53221‐4542
MARY E LAJOIE                                  8163 LYNDHURST CT                                                                               CINCINNATI      OH    45249‐2248
MARY E LAMB                                    1729 WILDWOOD CT                                                                                GOSHEN          IN    46526‐4900
MARY E LAMPOS                                  2829 14TH LANE                                                                                  KENOSHA         WI    53140‐4327
MARY E LANDRUM                                 633 EQUESTRIAN WAY                                                                              ARROYO GRANDE   CA    93420‐1401
MARY E LANGER                                  7717 ARDENDALE ROAD                                                                             RICHMOND        VA    23225‐1959
MARY E LARR                                    1041 HEDDING JACKSONVILL RD                                                                     BORDENTOWN      NJ    08505‐9801
MARY E LAVALLEY                                3724 SUNSET DRIVE                                                                               ELLENTON        FL    34222‐3714
MARY E LAWALIN                                 125 PRODUCTION DR                                                                               AVON            IN    46123‐7029
MARY E LEBUS                                   21 SURREY LANE                                                                                  TINTON FALLS    NJ    07724
MARY E LEE                                     4022 RIVIERA RD                                                                                 MONTGOMERY      AL    36108‐4953
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Name                                                 Address1                                Address2             Address3          Address4          City             State Zip

MARY E LEE                                           5202 WOODHAVEN DR                                                                                FLINT            MI    48504‐1265
MARY E LEVERGOOD                                     147 CHERRY HILL PTE DR                                                                           CANTON           MI    48188
MARY E LIEDER                                        5954 EAGLES WAY                                                                                  HASLETT          MI    48840‐9762
MARY E LITCHFIELD & KENNETH E LITCHFIELD II JT TEN   3473 CLEMENT TRAIL                                                                               DULUTH           GA    30096‐6133

MARY E LITTLE & GEORGE E LITTLE JT TEN               2058 W 108TH PL                                                                                  CHICAGO          IL    60643‐3305
MARY E LIVINGSTON                                    1746 N W 16TH                                                                                    NEWCASTLE        OK    73065‐5924
MARY E LYLES                                         1526 N KENWOOD AVE                                                                               BALTIMORE        MD    21213‐3822
MARY E MACDONALD                                     2411 WISCONSIN AVE                                                                               FLINT            MI    48506‐3838
MARY E MACLEOD                                       920 CEDAR AVE                                                                                    CROYDEN          PA    19020‐7504
MARY E MAIN & BRYON C MAIN JT TEN                    5223 NODAWAY LANE                                                                                SPRING           TX    77379‐8048
MARY E MANG                                          LOT 140                                 215 N CANAL ROAD                                         LANSING          MI    48917‐8672
MARY E MANNING                                       1140 NORMAN CRESC                       OSHAWA ON                              L1H 7X1 CANADA
MARY E MANNING                                       1140 NORMAN CRES                        OSHAWA ON                              L1H 7X1 CANADA
MARY E MANSION                                       14 HEARTHSTONE DR                                                                                ALBANY           NY    12205‐1222
MARY E MARAS                                         39 RD 5415                                                                                       BLOOMFIELD       NM    87413‐9727
MARY E MARKINS                                       2801 NICHOLAS AVE                                                                                COLUMBUS         OH    43204‐2256
MARY E MARSIGLIA                                     8044 KIMBERLY ROAD                                                                               BALTIMORE        MD    21222‐2601
MARY E MARSON                                        22326 SUNRISE                                                                                    NOVI             MI    48375‐5057
MARY E MARTIN                                        1621 CABINWOOD CV                                                                                AUSTIN           TX    78746‐7323
MARY E MARTIN                                        742 GAY DR                                                                                       MACON            GA    31210
MARY E MASTERS                                       4607 CLEVELAND ROAD                                                                              COHUTTA          GA    30710‐9110
MARY E MATHEWS                                       4184 OLD STATE RD 37 N                                                                           BEDFORD          IN    47421‐7437
MARY E MAUSER & WILLIAM J MAUSER JR & SUSAN A        456 E 271ST ST                                                                                   EUCLID           OH    44132‐1712
ZAVODNIK JT TEN
MARY E MAZUR                                         25024 PIN OAK DR                                                                                 SOUTH BEND       IN    46614‐9226
MARY E MC ASSEY                                      1630 HERRON LN                                                                                   WEST CHESTER     PA    19380‐6434
MARY E MC CRYSTAL                                    3367 ORMOND                                                                                      CLEVELAND        OH    44118‐3417
                                                                                                                                                      HEIGHTS
MARY E MC GARRY & FRANCIS L MC GARRY JR TEN ENT      119 BROAD ST                                                                                     PITTSTON         PA    18640‐2503

MARY E MCCARTNEY                                     2306 N APPERSON WAY                                                                              KOKOMO           IN    46901‐1418
MARY E MCCORMICK                                     3298 WOODLAWN AVE                       WINDSOR ON                             N8W 2J2 CANADA
MARY E MCCRYSTAL CUST KATHERINE M MCCRYSTAL          3367 ORMOND                                                                                      CLEVELAND        OH    44118‐3417
UTMA OH                                                                                                                                               HEIGHTS
MARY E MCCUTCHEON                                    14019 ST CECELIA CT                                                                              MIDLOTHIAN       VA    23112‐2080
MARY E MCGEE                                         2976 N 77TH ST                                                                                   MILWAUKEE        WI    53222‐5016
MARY E MCGHEE                                        2111 DARTMOUTH AVE                                                                               MUNCIE           IN    47303‐1442
MARY E MCGRAW & CHARLES E MCGRAW JT TEN              215 LAGRANGE ST                                                                                  NORTH TAZEWELL   VA    24630‐8434
MARY E MCNISH                                        3216 COLUMBINE                                                                                   SAGINAW          MI    48603‐1924
MARY E MEDLIN                                        21808 S MAJOR RD                                                                                 PECULIAR         MO    64078‐8729
MARY E MENDITTO                                      460 CRESTWOOD AVE                                                                                HACKENSACK       NJ    07601‐1445
MARY E MENEESE & GEORGE E MENEESE JT TEN             712 EAST 125TH STREET                                                                            CLEVELAND        OH    44108‐2434
MARY E MEYER                                         126 TRIMBLE BLVD                                                                                 BROOKHAVEN       PA    19015‐2240
MARY E MIKEL                                         5998 STERLING CT                                                                                 TIPP CITY        OH    45371‐2234
MARY E MILLS                                         201 OHIO STREET                                                                                  SOMERSET         KY    42501‐1637
MARY E MILNE TR MILNE FAM TRUST UA 01/10/95          1201 HATTIE FOX                                                                                  ROCHESTER        MI    48306‐3324

MARY E MINTON                                        3989 OLD FEDERAL HILL                                                                            JARRETTSVILLE    MD    21084‐1633
MARY E MOLLOY                                        86 KIRKHAM PLACE                                                                                 NEWINGTON        CT    06111‐2407
MARY E MONAHAN TR MONAHAN FAMILY TRUST UA            44817 GRADO CIRCLE                                                                               TEMECULA         CA    92592‐1474
05/22/98
MARY E MORGAN & WILLIAM P MORGAN JT TEN              13092 VILLAGE CT                                                                                 CLIO             MI    48420‐8264
MARY E MORRIS                                        16407 WESTVIEW                                                                                   CLEVELAND        OH    44128‐2139
MARY E MORROW                                        4729 SR 26 W                                                                                     W LAFAYETTE      IN    47906
MARY E MOWRY TR MOWRY FAM LIVING TRUST UA            43353 HILLSON CIRCLE                                                                             HEMET            CA    92544‐1968
05/20/96
MARY E MUELLER                                       109 OAKRIDGE AVE                                                                                 HILLSIDE         IL    60162‐2015
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

MARY E MUELLER TOD ELIZABETH A MUELLER SUBJECT    6900 HAZELDELL DR                                                                              TEMPERANCE        MI    48182
TO STA TOD RULES
MARY E MUELLER TOD JOHN E MUELLER SUBJECT TO      6900 HAZELDELL DR                                                                              TEMPERANCE        MI    48182
STA TOD RULES
MARY E MUELLER TOD LAURENCE J MUELLER SUBJECT     6900 HAZELDELL DR                                                                              TEMPERANCE        MI    48182
TO STA TOD RULES
MARY E MUENCH                                     4501 OLD SPRINGFIELD RD                                                                        VANDALIA         OH     45377‐9577
MARY E NAUS & MARY ANN SANDY JT TEN               4748 BROOKHURST RD                                                                             SYLVANIA         OH     43560‐2612
MARY E NESBY‐GREEN                                3203 MARTHA ROSE CT                                                                            FLINT            MI     48504‐1271
MARY E NISWONGER                                  812 KUMMER ST                                                                                  FLINT            MI     48503‐5409
MARY E NOONAN                                     26 RUTLAND AVE                                                                                 ROCKVILLE CENTRE NY     11570‐5537

MARY E NUHN                                       4 WALLACE CIRCLE                                                                               LONDONDERRY       NH    03053‐2871
MARY E O'BRIEN                                    34848 FREEDOM ROAD APT 119                                                                     FARMINGTN HLS     MI    48335
MARY E OLIVER                                     185 PETERSON DRIVE                                                                             VINCENT           AL    35178‐6504
MARY E ORLOWSKI                                   306 W HIGH                                                                                     JACKSON           MI    49203‐3118
MARY E OVERCASH                                   8820 WALTHER BLVD                     APT 211                                                  PARKVILLE         MD    21234‐9042
MARY E OVERTON                                    1417 CROSS STREET                                                                              DOVER             OH    44622‐1149
MARY E OWEN                                       2747 BLACKMORE RD                                                                              MAYVILLE          MI    48744
MARY E OWENS                                      5108 N LANDIS                                                                                  BALDWIN PARK      CA    91706‐1625
MARY E PALMER                                     C/O MAUREEN ARCHER                    12855 W ALYSSA LN                                        PEORIA            AZ    85383‐3952
MARY E PALMORE                                    ATTN MARY E PALMORE GILLAM            1644 SS RD                                               SUMMER SHADE      KY    42166
MARY E PARKS                                      65 PARK GATE DRIVE                                                                             EDISON            NJ    08820‐4032
MARY E PATRENETS                                  25113 W LOOMIS RD                                                                              WIND LAKE         WI    53185‐1421
MARY E PAYNE                                      2907 BIG SPRINGS DR                                                                            KINGWOOD          TX    77339‐2381
MARY E PEARSON                                    703 E OAK ST                                                                                   SISSETON          SD    57262‐1630
MARY E PINDER                                     G 6319 N BELSEY ROAD                                                                           FLINT             MI    48506
MARY E PISKOR                                     1632 RAINBOW DR                                                                                WEST BRANCH       MI    48661‐9757
MARY E PITTMAN                                    206 PROSPECT ST                                                                                CHARLEVOIX        MI    49720‐1174
MARY E PORRITT                                    52 HICKORY COVE LN                                                                             FAIRFIELD GLADE   TN    38558‐7001
MARY E POTCHATEK                                  23216 ALEXANDER RD                                                                             NORTH OLMSTED     OH    44070‐1108
MARY E PRUSS TR MARY E PRUSS TRUST UA 1/17/00     3762 ROLLING HILLS RD                                                                          LAKE ORION        MI    48359‐1491

MARY E RAMOS                                      18 CAROL ST                                                                                    WESTBROOK         ME    04092‐3614
MARY E RANSOM                                     2525 W PLEASANT RUN RD                APT 7N                                                   LANCASTER         TX    75146‐1129
MARY E RAYBURN & CHARLES T RAYBURN JT TEN         PO BOX 388                                                                                     NEW VIENNA        OH    45159‐0388
MARY E REDDEN                                     1604 FORRER BLVD                                                                               DAYTON            OH    45420‐1304
MARY E REID                                       2829 WOODWAY AVE                                                                               DAYTON            OH    45408
MARY E REITZEL                                    2493 SUNRISE DR                                                                                HICKORY           NC    28602‐8715
MARY E RENNER                                     2585 MALMESBURY CT                                                                             AURORA            IL    60502‐1325
MARY E REWOLD TOD BARBARA J JARVI                 1760 WESTWOOD                                                                                  MADISON HTS       MI    48071‐2252
MARY E REWOLD TOD CATHERINE A SWIANTEK            1760 WESTWOOD                                                                                  MADISON HTS       MI    48071‐2252
MARY E REWOLD TOD MARGARET A CHAUDHURI            1760 WESTWOOD                                                                                  MADISON HTS       MI    48071‐2252
MARY E REWOLD TOD NANCY A TATAREK                 1760 WESTWOOD                                                                                  MADISON HTS       MI    48071‐2252
MARY E REWOLD TOD RAYMOND C REWOLD                1760 WESTWOOD                                                                                  MADISON HTS       MI    48071‐2252
MARY E RICE                                       47651 BANNON COURT                                                                             FREMONT           CA    94539‐7507
MARY E RISCH JOHN J RISCH & MARY R RISCH JT TEN   1274 MAUTENNE DRIVE                                                                            BALLWIN           MO    63021‐5626

MARY E RISTAU                                     156 BIRCHWOOD DR                                                                               PINE BUSH         NY    12566‐7320
MARY E RIZZOLO TR UA 05/25/1999 MARY E RIZZOLO    20267 BRIAR BLUFF RD                                                                           COAL VALLEY       IL    61240
SURVIVOR'S TRUST
MARY E ROBERTS                                    2301 N CARRIAGE LN                                                                             MUNCIE            IN    47304‐9599
MARY E ROCHE TR ROCHE FAMILY RESIDUAL TRUST UA    308 DORADO LANE                                                                                EL CAJON          CA    92019‐1943
06/27/86
MARY E RODDIE                                     3765 CRANE                                                                                     DETROIT           MI    48214‐1232
MARY E RODGERS                                    434 SANGREE RD                                                                                 PITTSBURGH        PA    15237‐3708
MARY E ROGERS                                     368 E FERRY ST #UPPER                                                                          BUFFALO           NY    14208‐1503
MARY E ROMINE                                     261 VILLA OAKS LANE                                                                            GAHANNA           OH    43230‐6774
MARY E ROSE                                       ATTN MARY ROSE‐KRAUSE                 447 POST OFFICE RD                                       DENNARD           AR    72629‐7332
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Name                                             Address1                               Address2             Address3          Address4          City               State Zip

MARY E ROYSTER                                   1500 TAIT RD                                                                                    WARREN             OH    44481‐9644
MARY E RULLI                                     55824 ALVERSTONE DR E                                                                           MIDDLEBURY         IN    46540‐8617
MARY E RUSSMAN                                   711 LAKESHORE DRIVE                                                                             CADILLAC           MI    49601‐1746
MARY E RUSZKOWSKI                                48‐45 207TH STREET                                                                              BAYSIDE            NY    11364‐1112
MARY E SALVATORE                                 4714 S PACKARD AVE                                                                              CUDAHY             WI    53110‐1430
MARY E SANDERS                                   4544 S 39TH STREET                                                                              OMAHA              NE    68107‐1245
MARY E SCANLON                                   760 RIVER DR                                                                                    KANKAKEE           IL    60901‐2239
MARY E SCHWARTZ                                  229 OLDE STAGE RD                                                                               GLASTONBURY        CT    06033‐3251
MARY E SEIFER                                    3065 LYNWOOD DR                                                                                 WARREN             OH    44485‐1306
MARY E SEPPANEN                                  PO BOX 183                                                                                      MIO                MI    48647‐0183
MARY E SESTITO                                   5553 SPRING‐HILL RD                                                                             GROVE CITY         OH    43123‐8907
MARY E SEWARD                                    ATTN MARY BRAMWELL                     1530 E 650 N                                             NEW CASTLE         IN    47362
MARY E SHARP                                     18380 CODDING                                                                                   DETROIT            MI    48219‐2284
MARY E SHARP                                     18380 CODDING                                                                                   DETROIT            MI    48219‐2284
MARY E SHILLING                                  PO BOX 43                                                                                       PORT MATILDA       PA    16870‐0043
MARY E SHOWICH                                   13453 LAKEVIEW DR                                                                               SHELBY TWP         MI    48315‐3531
MARY E SHULTS                                    2109 HICKORY TRCE                                                                               MABANK             TX    75156‐7021
MARY E SIFFERMAN                                 8322 20TH AVE NW                                                                                SEATTLE            WA    98117
MARY E SIMMERING                                 C/O MARY E STAMPER                     926 FULWELL DR                                           MANSFIELD          OH    44906‐1111
MARY E SIMPSON                                   5635 NORQUEST BLVD                                                                              YOUNGSTOWN         OH    44515
MARY E SIPE & DANIEL J SIPE JT TEN               4218 ISBELL ST                                                                                  SILVER SPRING      MD    20906‐4222
MARY E SIPE & MAURA L WINGATE JT TEN             4218 ISBELL ST                                                                                  SILVER SPRING      MD    20906‐4222
MARY E SIPE & PATRICK L OLSON JT TEN             4218 ISBELL ST                                                                                  SILVER SPRING      MD    20906‐4222
MARY E SLOAN                                     674 BEECH HWY                                                                                   CHARLOTTE          MI    48813
MARY E SMITH                                     15793 BIRWOOD STREET                                                                            DETRIOT            MI    48238‐1028
MARY E SMITH                                     527 W 3RD ST                                                                                    WILMINGTON         DE    19801‐2319
MARY E SMITH                                     417 REGESTER AVE                                                                                BALTIMORE          MD    21212‐1508
MARY E SMITH                                     1219 HENRY RD                                                                                   NEW VIENNA         OH    45159‐9718
MARY E SOCIA                                     26407 TOM ALLEN DR                                                                              WARREN             MI    48089‐3521
MARY E SOMERS                                    535 N OAK AVENUE #60                                                                            PITMAN             NJ    08071‐1025
MARY E SPADE & THOMAS J MC COSKY JT TEN          1303 MERRILL ST                                                                                 LINCOLN PARK       MI    48146
MARY E SPARR                                     103 FONRO DR                                                                                    BRIGHTON           MI    48114‐9620
MARY E SQUIRE CUST JANET M SQUIRE UGMA IL        1631 SPRUCEWOOD DR                                                                              ROCKFORD           IL    61107‐1827
MARY E STANBERY & MARIE C FLANNAGAN JT TEN       2764 LEVANTE ST                                                                                 CARLSBAD           CA    92009‐8120
MARY E STINER                                    495 MILL ST                                                                                     WILLIAMSVILLE      NY    14221‐5150
MARY E STOWERS                                   5105 TINCHER RD                                                                                 INDIANAPOLIS       IN    46221‐3932
MARY E STRICKLAND                                401 ADGER CT                                                                                    FAYETTEVILLE       NC    28314‐0900
MARY E STRICKLAND & BENJAMIN W STRICKLAND JT     222 S RIVER DR                                                                                  SOUTHPORT          NC    28461‐4108
TEN
MARY E STROUD                                    3468 BURNT MILL CREEK RD                                                                        LAURENS            SC    29360
MARY E SWANTICK                                  11828 E 100TH NORTH                                                                             SHERIDAN           IN    46069
MARY E SWIATEK                                   332 PARKER AVE S                                                                                MERIDEN            CT    06450‐5930
MARY E TALBOT                                    ANNE'S HOME RM 329                     2161 LEONARD N W                                         GRAND RAPIDS       MI    49504‐3829
MARY E TALLUTO                                   3104 ILLINOIS AVE                                                                               KENNER             LA    70065‐4548
MARY E TATU                                      10359 KING RD                                                                                   DAVISBURG          MI    48350‐1903
MARY E TAYLOR                                    7715 NEW JERSEY                                                                                 KANSAS CITY        KS    66112‐2239
MARY E TAYLOR                                    864 BEDFORD ROAD                                                                                GROSSE POINTE      MI    48230‐1805
                                                                                                                                                 PARK
MARY E TAYLOR & TIMOTHY A TAYLOR SR JT TEN       1022 VINCENT STREET                                                                             WICHITA            KS    67206‐1350
MARY E TERIHAY                                   C/O MARY E FITAS                       930 DONMAR LN                                            YOUNGSTOWN         OH    44511‐3408
MARY E THOMAS                                    106 3RD ST                                                                                      GARDEN CITY        NY    11530‐5932
MARY E THOMAS                                    5826 WEBSTER                                                                                    KANSAS CITY        KS    66104‐2035
MARY E THOMPSON                                  3740 NAUTICAL DRIVE                                                                             CARLSBAD           CA    92008‐3374
MARY E THOMPSON                                  128‐18 MACCORKLE AVE                                                                            CHESAPEAKE         WV    25315‐1316
MARY E TIEDEMAN                                  1478 E BUDDING DRIVE                                                                            SANDY              UT    84092‐3674
MARY E TIROLETTO & JOSEPH J TIROLETTO JT TEN     8 CRESTVIEW CIR                                                                                 ENFIELD            CT    06082
MARY E TOBEY TR MARY E TOBEY TRUST UA 04/18/95   8943 BIRKHILL DR                                                                                STERLING HEIGHTS   MI    48314‐2507

MARY E TOBIAS                                    4625 SANTA ANITA PL                                                                             DAYTON             OH    45424‐3697
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Name                                            Address1                             Address2             Address3          Address4          City             State Zip

MARY E TOUHEY & JAMES J TOUHEY JT TEN           1719 11TH AVE                                                                                 BROOKLYN         NY    11218‐1108
MARY E TRICE                                    3575 SOUTHFIELD DR                                                                            SAGINAW          MI    48601‐5652
MARY E TUGER & JOAN TUGER JT TEN                9064 W SWAN CIR                                                                               SAINT LOUIS      MO    63144‐1622
MARY E TUITE                                    C/O M E BOURGEOIS                    491 MASHIE CIR                                           MASHPEE          MA    02649‐4643
MARY E URQUHART                                 70 ALEXANDER ST #511                 TORONTO ON                             M4Y 3B6 CANADA
MARY E URTEL                                    36 ELMIRA ST                                                                                  LOCKPORT         NY    14094‐3209
MARY E VANCE                                    58 FIRESIDE                                                                                   PONTIAC          MI    48340‐1630
MARY E VANNATTER                                7480 WEST CR 750 NORTH                                                                        MIDDLETOWN       IN    47356‐9361
MARY E VIA                                      1010 MILLTOWN RD                                                                              WILMINGTON       DE    19808‐2240
MARY E VITULLO                                  C/O MARY E LEVINE                    125 17TH PL SOUTH                                        LA CROSSE        WI    54601‐4257
MARY E WALLENIUS EX EST MARY D WALLENIUS        6600 COLUMBUS AVE                                                                             VAN NUYS         CA    91405‐4516
MARY E WALTER                                   350 GREY ROAD                                                                                 AUBURN HEIGHTS   MI    48326‐3230
MARY E WARREN                                   87 CHARLEMONT ST                                                                              NEWTON           MA    02461‐1909
                                                                                                                                              HIGHLANDS
MARY E WEATHERFORD                             1164 FERGUSON AVE                                                                              SAINT LOUIS      MO    63130‐2407
MARY E WEEBER                                  806 FIRST ST S E RT 1                                                                          TRIPOLI          IA    50676‐9608
MARY E WEEMS                                   3899 NORTHAMPTON RD                                                                            CLEVELAND        OH    44121
MARY E WELCHER                                 4579 N US 31                                                                                   SHARPSVILLE      IN    46068‐9328
MARY E WELLBAUM TR MARY E WELLBAUM LIVING      25911 ERNESTINE CT                                                                             LAGUNA HILLS     CA    92653‐6202
TRUST UA 06/12/96
MARY E WERT                                    408 W RENSSELAER ST                                                                            BUCYRUS          OH    44820
MARY E WETTERLANT TR UW HAROLD W BENTLEY       PO BOX 539                                                                                     ADAMSVILLE       RI    02801‐0539
MARY E WHALEY                                  8755 HISER RD                                                                                  MILAN            MI    48160‐9262
MARY E WHITE & LESTER J WHITE JT TEN           63 SANDLEWOOD CT                      AURORA ON                              L4G 7M9 CANADA
MARY E WHITMAN                                 5355 WATERFORD RD                                                                              CLARKSTON        MI    48346‐3548
MARY E WILKE                                   14 DEER RUN PK RD                                                                              EDGERTON         WI    53534‐8833
MARY E WILKIN                                  BOX 84                                                                                         MCCORDSVILLE     IN    46055‐0084
MARY E WILLIAMS                                221 E DARTMOUTH ST                                                                             FLINT            MI    48505‐4954
MARY E WILLIAMS                                2180 PARKWAY DR                                                                                DEERFIELD        OH    44411
MARY E WILLS                                   321 SCHOOLHOUSE LN                                                                             BARGERSVILLE     IN    46106‐9604
MARY E WILSON TR MARY E WILSON REVOCABLE TRUST 14001 LONDON LN                                                                                ROCKVILLE        MD    20853‐2039
UA 02/07/95
MARY E WILT                                    1867 RUSS RD                                                                                   JACKSON          OH    45640‐9240
MARY E WINKELJOHANN                            C/O MARY E GREGG                      57 HANDEL LANE                                           CINCINNATI       OH    45218‐1211
MARY E WINSTEAD CUST KEMPER OWENS WINSTEAD     102 STUMPY LAKE CT                                                                             SUFFOLK          VA    23438
UTMA VA
MARY E WOODCOME & ANN W CALLAHAN JT TEN        595 MAIN ST                                                                                    DALTON           MA    01226‐1620
MARY E WRIGHT                                  4797 NORTH 1175TH STREET                                                                       PARIS            IL    61944‐6760
MARY E WYZOROWSKI                              200 WOLVERINE CIR                                                                              CLINTON          MI    49236‐9745
MARY E YACKLE                                  1970 W HARVARD AVE APT 317                                                                     ROSEBURG         OR    97470‐2776
MARY E YANICHKO & BETH E ARMSTRONG JT TEN      261 SHERRICK DR                                                                                N HUNTINGDON     PA    15642‐1243
MARY E YANICHKO & KAREN D ANDERSON JT TEN      261 SHERRICK DR                                                                                N HUNTINGDON     PA    15642‐1243
MARY E YANICHKO & LYNN A YANICHKO JT TEN       261 SHERRICK DR                                                                                N HUNTINGDON     PA    15642‐1243
MARY E YOUNG                                   142 MACOMA CT                                                                                  FT MEYERS        FL    33908‐1630
MARY E YOUNG                                   7905 MUNGER RD                                                                                 YPSILANTI        MI    48197‐9324
MARY E YOUNT                                   6683 W STATE ROUTE 718                                                                         PLEASANT HILL    OH    45359‐9770
MARY E ZAHABI                                  8140 MICHELLE LN                                                                               LAMBERTVILLE     MI    48144‐9581
MARY E ZIGLER                                  39 S WALNUT ST                                                                                 JAMESTOWN        IN    46147‐8840
MARY E ZIMMERMAN                               8306 N OZANAM                                                                                  NILES            IL    60714‐2455
MARY E ZIMMERMAN & GLENN C ZIMMERMAN JT TEN 4289 W 181ST ST                                                                                   CLEVELAND        OH    44135‐1816

MARY EASTER SMITH                                PO BOX 813                                                                                   FELICITY         OH    45120‐0813
MARY EAVER PHILLIPS                              2549 E PALADIN AVE                                                                           ANAHEIM          CA    92806‐5017
MARY EDITH CUNNINGHAM                            25900 EUCLID AV                     APT 715                                                  EUCLID           OH    44132‐2741
MARY EGAN HAYES                                  3141 LITTLE HAVEN RD                                                                         VA BEACH         VA    23452‐6176
MARY EILEEN FRIDL RAMPSON                        12600 GREEN MEADOW PL                                                                        ELM GROVE        WI    53122
MARY EILEEN MCPHEE                               184 CHAUMONT DR                                                                              WILLIAMSVILLE    NY    14221‐3564
MARY EILEEN PETERSON & RICHARD D PETERSON JT TEN 715 S BUREAU VALLEY PARKWAY                                                                  PRINCETON        IL    61356‐2201
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MARY EILEEN SHINNERS                             ATTN MARY E DWYER                    2465 S BROOKSIDE PKWY                                    NEW BERLIN       WI    53151‐2905
MARY ELAINE LYDEN                                91 LAUREL HILL LANE                                                                           CANFIELD         OH    44406‐7607
MARY ELEANOR QUINT                               3437 N CRAMER ST                                                                              MILWAUKEE        WI    53211‐2816
MARY ELEANOR SIMICH                              BOX 262                                                                                       LA FERIA         TX    78559‐0262
MARY ELEANOR WOOD SMITH                          2104 SLASH CT                                                                                 NORTH AUGUSTA    SC    29841‐2137
MARY ELINORE CREA KING                           395 KELLY DR                                                                                  FAYETTEVILLE     GA    30214‐1126
MARY ELISABETH CAHILL TR UA 10/15/91 MARY        915 QUERIDA DR                                                                                COLORADO SPGS    CO    80909‐4112
ELISABETH CAHILL TRUST
MARY ELISE CAPORALE                              106 CATHEDRAL DRIVE                                                                           CROSSVILLE       TN    38558
MARY ELISE W MC CLEMENT                          33 MORTON ST                                                                                  ANDOVER          MA    01810‐2037
MARY ELIZABETH ANDERSON                          ATTN MARY ELIZABETH GUILBAULT        11585 TIPSICO LAKE ROAD                                  FENTON           MI    48430‐8425
MARY ELIZABETH BADER                             2000 CHATSWORTH RD                                                                            CARROLLTON       TX    75007‐3504
MARY ELIZABETH BAKER                             725 GLENWOOD DR                                                                               YORK             PA    17403‐4413
MARY ELIZABETH BONVILLAIN KAMIN                  2707 ROBINHOOD                                                                                HOUSTON          TX    77005‐2433
MARY ELIZABETH BROWN                             1415 N FLAT ROCK ROAD                                                                         DOUGLASVILLE     GA    30134‐3630
MARY ELIZABETH BURWELL                           8075 CADYS WOODS DRIVE                                                                        HANOVER          VA    23069‐1621
MARY ELIZABETH CANTWELL                          4500 PEAR RIDGE DR                   APT 415                                                  DALLAS           TX    75287‐5219
MARY ELIZABETH CHRISTIAN                         4609 HOYLAKE DR                                                                               VIRGINIA BEACH   VA    23462‐4543
MARY ELIZABETH CLARK                             4200 ROUND LAKE ROAD                                                                          LAINGSBURG       MI    48848‐9415
MARY ELIZABETH COLIN                             1205 CLEVELAND AVE                                                                            DUBUQUE          IA    52003‐7514
MARY ELIZABETH COVILLE                           834 SW 5TH ST                                                                                 CORVALLIS        OR    97333‐4414
MARY ELIZABETH DE LONG                           14313 NORTHWYN DR                                                                             SILVER SPRING    MD    20904
MARY ELIZABETH DOUGHERTY                         3009 BROKEN BOW RD                                                                            EDMOND           OK    73013‐7866
MARY ELIZABETH EYSENBACH & MAX F EYSENBACH JT    2944 WILLOW ROAD                                                                              HOMEWOOD         IL    60430‐2823
TEN
MARY ELIZABETH FOLEY                             4675 SW TRAIL RD                                                                              TUALATIN         OR    97062‐7784
MARY ELIZABETH FRY                               ATTN MARY ELIZABETH POSTOFF‐FRY      2518 ORISKANY DR                                         SHEREVILLE       IN    46375‐3057
MARY ELIZABETH GAUL                              6144 RIVER ROAD                      N TROY                                                   NORTH TROY       VT    05859
MARY ELIZABETH GRIGGS                            2651 BIDDLE ST APT 304                                                                        WYANDOTTE        MI    48192‐5225
MARY ELIZABETH GRUBER                            10579 STRAWFLOWER LN                                                                          MANASSAS         VA    20110
MARY ELIZABETH HEDRICK                           RR 1 BOX 244A                                                                                 PETERSBURG       IL    62675‐9729
MARY ELIZABETH HEISTAND                          30 S WALNUT STREET                                                                            GERMANTOWN       OH    45327‐1249
MARY ELIZABETH HRABE                             1671 CUB CREEK RD                                                                             ROSELAND         VA    22967‐2402
MARY ELIZABETH HUNT                              16550 RUTHERFORD                                                                              DETROIT          MI    48235‐3643
MARY ELIZABETH JONES                             56 GREENSWARD                                                                                 CHERRY HILL      NJ    08002‐4705
MARY ELIZABETH KIBLER & ROBERT G KIBLER JT TEN   403 FARMINGTON RD                                                                             CRANBERRY        PA    16066‐6807
                                                                                                                                               TOWNSHIP
MARY ELIZABETH KIMPTON & CRAIG ALLEN KIMPTON JT 4006 STURGIS DR                                                                                CEDAR FALLS      IA    50613‐5520
TEN
MARY ELIZABETH KONZ                             22 ROCHESTER DRIVE                                                                             BRICK            NJ    08723‐7525
MARY ELIZABETH LA FEVER                         3556 DRYDEN RD                                                                                 METAMORA         MI    48455‐9373
MARY ELIZABETH LANE                             224A DOCKSIDE DRIVE                                                                            HAMPTON          VA    23669‐5614
MARY ELIZABETH LECKIE                           140 ELLSWORTH AVE                                                                              ELIZABETH        PA    15037‐1617
MARY ELIZABETH LINARD                           1536 GUILFORD RD                                                                               COLUMBUS         OH    43221‐3851
MARY ELIZABETH MAHONY                           651 PRENTIS                                                                                    DETROIT          MI    48201‐1101
MARY ELIZABETH MAHOY                            4950 IVYVINE BLVD                                                                              DUBLIN           OH    43016‐7171
MARY ELIZABETH MARONEY                          2666 N MAIN STREET                                                                             NEWFANE          NY    14108‐1031
MARY ELIZABETH MCARTHUR TR UA 01/25/89 MARY     PO BOX 183                                                                                     CLARKSTON        MI    48347‐0183
ELIZABETH MCARTHUR TRUST
MARY ELIZABETH MCNATTON                         1314 COLLIER DR                                                                                EVANSVILLE       IN    47725‐6411
MARY ELIZABETH MITCHELL                         4043 NORMANDY                                                                                  ROYAL OAK        MI    48073‐6366
MARY ELIZABETH MOSELEY TR MARY ELIZABETH        8101 CHICKAHOMINY BLUFFS CT                                                                    RICHMOND         VA    23227‐1703
MOSELEY REV TR UA 02/22/02
MARY ELIZABETH MYERS                            1631 BEECHWOOD BLVD                                                                            PITTSBURGH       PA    15217‐1433
MARY ELIZABETH NICHOLAS TR MARY ELIZABETH       4479 JOAN DR                                                                                   CLIO             MI    48420‐9406
NICHOLAS TRUST UA 05/08/98
MARY ELIZABETH NOLTE                            30 E 40TH ST 805                                                                               NEW YORK         NY    10016‐1211
MARY ELIZABETH OSBORN                           281 MAPLE ST                                                                                   KEARNY           NJ    07032‐2022
MARY ELIZABETH PERKINS                          PO BOX 602                                                                                     CARMEL VALLEY    CA    93924‐0602
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MARY ELIZABETH REA MOONEY & JAMES JOSEPH          2001 FINCH DRIVE                                                                                      BENSALEM           PA    19020‐4408
MOONEY III JT TEN
MARY ELIZABETH REID PRYJMAK                       7507 LOGAN DR                                                                                         HUNTSVILLE         AL    35802‐2951
MARY ELIZABETH SHANE & ALBERT V SHANE TEN ENT     8605 WENDELL AVE                                                                                      BALTIMORE          MD    21234‐4242

MARY ELIZABETH SHIRLEY                            36 BROOKHILL RAOD                     LONDON               ENGLUND           SE18 6TU GREAT BRITAIN
MARY ELIZABETH SLACK                              800 ASSOCIATION DR                    APT 239B                                                        CHARLESTON         WV    25311‐1291
MARY ELIZABETH STAFFORD                           211 TUTTLE AVE                                                                                        SPRING LAKE        NJ    07762‐1537
MARY ELIZABETH STAFFORD                           10726 WILDWOOD DRIVE                                                                                  GREENVILLE         MI    48838‐8153
MARY ELIZABETH STANTON COTTER                     9 ELIOT HILL ROAD                                                                                     SOUTH NATICK       MA    01760‐5514
MARY ELIZABETH STRUK                              4236 MONTRACHET CT                                                                                    ALLISON PARK       PA    15101‐2952
MARY ELIZABETH SWEET                              510 MENDON ST                                                                                         UXBRIDGE           MA    01569‐1405
MARY ELIZABETH TOBIN TR TOBIN FAMILY TRUST UA     10338 KINGSWOOD CIR                                                                                   SUN CITY           AZ    85351‐1941
06/17/97
MARY ELIZABETH URQUHART                           70 ALEXANDER ST APT 511               TORONTO ON                             M4Y 3B6 CANADA
MARY ELIZABETH VOGT                               2652 N DAYTON                                                                                         CHICAGO            IL    60614‐2306
MARY ELIZABETH WAGNER                             8 JASON LANE                                                                                          THORNDALE          PA    19372‐1009
MARY ELIZABETH WALZ EX EST BEVERLY S NEFZGER      380 D STREET                                                                                          SALT LAKE CITY     UT    84103‐2749

MARY ELIZABETH WEISS                              11450 ASBURY CIRCLE                   BOX 228                                                         SOLOMONS           MD    20688‐0228
MARY ELIZABETH WHALEY                             513 LAFAYETTE ST                                                                                      FLINT              MI    48503‐5356
MARY ELIZABETH WILLIAMS                           1473 WILLIAMSBURG LN                                                                                  FRANKLIN           IN    46131‐1950
MARY ELIZABETH WILSON                             2030 CHESTER BLVD # 17 B                                                                              RICHMOND           IN    47374‐1215
MARY ELIZABETH YATES CUST ELIZABETH NAGELEY       3303 N LAKEWOOD AVE                                                                                   CHICAGO            IL    60657‐1407
YATES UGMA MI
MARY ELLA B KELLY                                 318 SIPPEWISSETT RD                                                                                   FALMOUTH           MA    02540‐2208
MARY ELLA BARRONS                                 116 REID WAY                                                                                          WHITE HOUSE        TN    37188‐9426
MARY ELLA COYLE                                   ATTN MARY WINCHEL                     202 CARDINAL DRIVE                                              CINCINNATI         OH    45244‐1175
MARY ELLA KNEEDLER                                116 WOODGATE RD                                                                                       PITTSBURGH         PA    15235‐4168
MARY ELLEN ALWAY                                  37 MULLEN AVE                                                                                         WANAQUE            NJ    07465‐1917
MARY ELLEN BARKWELL                               9151 BENNET ST                                                                                        ADA                MI    49301‐9040
MARY ELLEN BARRINGER                              5191 YOUNGSTOWN POLANO RD                                                                             YOUNGSTOWN         OH    44514‐1277
MARY ELLEN BARRINGER & RIC D BARRINGER JT TEN     5191 YOUNGSTOWN POLAND RD                                                                             YOUNGSTOWN         OH    44514‐1277

MARY ELLEN BEATTIE                                1869 SOUTH 750 WEST                                                                                   FARMLAND           IN    47340‐9091
MARY ELLEN BELL                                   3498 IRIS COURT                                                                                       BOULDER            CO    80304‐1832
MARY ELLEN BLEAKLEY                               808 COSBY ST                                                                                          LIBERTY            MO    64068‐1214
MARY ELLEN BOLGER                                 ATTN MARY ELLEN BOLGEE STANEK         14730 JUNEAU BLVD                                               ELM GROVE          WI    53122‐1670
MARY ELLEN BOPP & GERALD A BOPP JT TEN            54809 WALNUT DR                                                                                       NEW HUDSON         MI    48165‐9500
MARY ELLEN BOWER                                  36407 PARK PLACE                                                                                      STERLING HEIGHTS   MI    48310‐4292

MARY ELLEN BRENNING                               6508 TRENTON RD                                                                                       UTICA              NY    13502‐6916
MARY ELLEN BRIDENSTINE CUST LUCIA M BRIDENSTINE   41955 HEMINGWAY CT                                                                                    PALM DESERT        CA    92211‐3217
UGMA MI
MARY ELLEN BRODERICK                              7027 OLD DOMINION DR                                                                                  MC LEAN            VA    22101‐3417
MARY ELLEN BUCKLEY & JOSEPH V BUCKLEY JT TEN      281 WHEELER AV 8                                                                                      VALLEY STREAM      NY    11580‐2739

MARY ELLEN CATTELL                                12 DARIEN DR                                                                                          CHERRY HILL        NJ    08003‐1727
MARY ELLEN CAUDLE                                 6008 N 22ND ST                                                                                        ARLINGTON          VA    22205‐3408
MARY ELLEN CERNY                                  4753 MIDDLETOWNE ST #A                                                                                COLUMBUS           OH    43214‐1974
MARY ELLEN COLLINS                                24‐11 41ST ST                                                                                         ASTORIA            NY    11103‐3249
MARY ELLEN COOK                                   6 PINEY RUN RD                                                                                        MEDFORD            NJ    08055‐8152
MARY ELLEN COUSINEAU                              25 HILLSIDE TER                                                                                       NOVATO             CA    94945‐3509
MARY ELLEN DANBY & B TIMOTHY DANBY JT TEN         31 MARSHALL WAY                                                                                       RUMFORD            RI    02916‐1614
MARY ELLEN DANIEL                                 13130 HIGHWOOD ROAD                                                                                   HOUSTON            TX    77079‐7216
MARY ELLEN DAVEY                                  15 CALENDULA CT E                                                                                     HOMOSASSA          FL    34446‐5934
MARY ELLEN DIGAN                                  247 RIDGE ST                                                                                          WINCHESTER         MA    01890‐2242
MARY ELLEN DONLAN                                 804 WOODLAWN ST                                                                                       SCRANTON           PA    18509‐1413
MARY ELLEN DOSHAS                                 1824 SE ELLIOTT AVE                                                                                   PORTLAND           OR    97214‐4814
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Name                                             Address1                                 Address2                 Address3      Address4          City               State Zip

MARY ELLEN DOYLE                             10719 RUSSETT                                                                                         HOUSTON            TX    77042‐1124
MARY ELLEN ECKERSLEY                         4931 SIMMONS CIR                                                                                      EXPORT             PA    15632‐9330
MARY ELLEN F JOOS                            WHITEHORSE VILLAGE                           535 GRADYVILLE RD W118                                   NEWTOWN SQ         PA    19073
MARY ELLEN FARRELL                           3584 45TH ST                                                                                          SAN DIEGO          CA    92105‐3510
MARY ELLEN FARRELLY                          BOX 340 RT 588                                                                                        NW BRIGHTON        PA    15066
MARY ELLEN FOSKET TR MARY ELLEN FOSKET FAM   10648 NORTH 103RD AVE                                                                                 SUN CITY           AZ    85351‐4134
TRUST UA 10/05/95
MARY ELLEN FRIEDMAN                          717 15TH ST                                                                                           SANTA MONICA       CA    90402‐2937
MARY ELLEN G DUNDON                          551 BLOOMFIELD AVE APT A‐11                                                                           WEST CALDWELL      NJ    07006‐7502
MARY ELLEN GARBER                            15 STEWART PLACE                             UNIT 2‐T                                                 WHITE PLAINS       NY    10603‐3810
MARY ELLEN GEIGER                            PO BOX 245                                                                                            LAKEVIEW           OH    43331‐0245
MARY ELLEN GLOVER                            6‐4111 GARRY ST                              RICHMOND BC                            V7E 2T9 CANADA
MARY ELLEN GOLDEN                            434 SCARSDALE RD                                                                                      YONKERS            NY    10707‐2117
MARY ELLEN GOODWIN & LAWRENCE GOODWIN JT TEN 6146 GLENARBOR DR                                                                                     MAINEVILLE         OH    45039‐5021

MARY ELLEN HALL                                  222 POINT OF THE WOODS DR                                                                         ALBANY             NY    12203
MARY ELLEN HARLEY                                925 N YORK DR                                                                                     DOWNINGTOWN        PA    19335‐3164
MARY ELLEN HAROLD                                1 OLD BRANCHVILLE RD                                                                              RIDGEFIELD         CT    06877‐6012
MARY ELLEN HEWETT & ARTHUR J HEWETT JT TEN       43 PHILLIPS DR                                                                                    NEWBURYPORT        MA    01950‐6235
MARY ELLEN HINER                                 2250 BRIARCREST DR                                                                                FLORISSANT         MO    63033‐1704
MARY ELLEN JENICEK & JOHN A JENICEK JT TEN       3912 WENONAH AVE                                                                                  STICKNEY           IL    60402‐4105
MARY ELLEN JOHNSON                               216 FOWLES ST                                                                                     OCEANSIDE          CA    92054‐4521
MARY ELLEN JOHNSON                               102 MASLBORO ST                                                                                   SANDUSKY           OH    44870
MARY ELLEN KEARNEY                               1011 GADD RD                             APT 320                                                  HIXSON             TN    37343‐5117
MARY ELLEN KENNEDY                               849 JANET AVE                                                                                     LANCASTER          PA    17601‐4568
MARY ELLEN KEOUGH                                209 CLIFF AVE                                                                                     WINTHROP           MA    02152‐1062
MARY ELLEN KIZIOR                                7 STRATFORD CT                                                                                    INDIAN HEAD PARK   IL    60525‐4456

MARY ELLEN LAMERTON                              PO BOX 550                                                                                        LAMAR              CO    81052‐0550
MARY ELLEN LANDRETH                              1121 WAVERLY PLACE                                                                                JOLIET             IL    60435‐4555
MARY ELLEN LEWIS                                 831 BLOOMINGDALE RD                                                                               GLEN ELLYN         IL    60137‐3211
MARY ELLEN LOOMIS & CARRIE ELLEN LOOMIS JT TEN   ATTN CARRIE LOOMIS PRYOR                 1 GROVE LN                                               GREENWICH          CT    06831

MARY ELLEN LOOMIS & PAMELA LOOMIS JT TEN         45 HAWTHORNE                                                                                      GROSSE POINT       MI    48236‐1410
                                                                                                                                                   SHORE
MARY ELLEN MACMILLAN                             C/O DESIGN INTERIORS                     159 OAK STREET                                           HALIFAX            MA    02338‐1050
MARY ELLEN MATULA                                585 GENEVA AVE                                                                                    STRUTHERS          OH    44471‐1328
MARY ELLEN MC KEON                               7576 W HIDDEN LK                                                                                  PERRY              MI    48872‐9158
MARY ELLEN MCCAFFERTY & RICHARD D MCCAFFERTY JT 6445 FAR HILLS AVE                                                                                 DAYTON             OH    45459
TEN
MARY ELLEN MCDONALD                              319 WASHINGTON AVE                                                                                CHERRY HILL        NJ    08002‐1145
MARY ELLEN MCGINNESS TR UA 06/29/92 MARY ELLEN 329 S 7TH STREET                                                                                    GLOBE              AZ    85501
MCGINNESS TRUST
MARY ELLEN MCGOUGH                               22511 DARTMOOR DRIVE                                                                              NOVI               MI    48374‐3872
MARY ELLEN MCKENY                                4336 S PONY RIDER TRAIL                                                                           GOLD CANYON        AZ    85218‐5860
MARY ELLEN MCKENZIE                              9 BELLEWOOD DR                                                                                    HATTIESBURG        MS    39402‐2008
MARY ELLEN MCLAUGHLIN                            214 BEGONIA DR                                                                                    MATTESON           IL    60443‐1668
MARY ELLEN MIERAS                                7161 MANDARIN BLVD                                                                                LOXAHATCHEE        FL    33470‐5526
MARY ELLEN MILNE                                 1201 HATTIE FOX LN                                                                                ROCHESTER HILLS    MI    48306‐3324
MARY ELLEN MORONEY                               PO BOX 1164                                                                                       RANGELEY           ME    04970‐1164
MARY ELLEN MURPHY                                8 BRENTHAM ROAD                                                                                   BILLERICA          MA    01862‐1106
MARY ELLEN MURRAY                                442‐B 124TH ST                                                                                    BELLE HARBOR       NY    11694
MARY ELLEN O'ROURKE                              963 LEBLANC ST                                                                                    LINCOLN PARK       MI    48146‐4226
MARY ELLEN P BERGIN & EDWARD KIRBY BERGIN JT TEN 263 ATWOOD AVE                                                                                    WATERBURY          CT    06705‐1506

MARY ELLEN PARISIAN & DONALD E PARISIAN JT TEN   2506 N KEDZIE BLVD                                                                                CHICAGO            IL    60647‐2635

MARY ELLEN PARRY                                 1 CAIRNS PLACE                                                                                    BELLE MEAD         NJ    08502‐5414
MARY ELLEN PRISCHMAN                             2743 N WHIPPLE ST                                                                                 CHICAGO            IL    60647
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MARY ELLEN REED                                  5467 KAREN ISLE DR                                                                              WILLOUGHBY        OH    44094‐4355
MARY ELLEN REGN                                  35 S GREEN ST                                                                                   NAZARTH           PA    18064‐2010
MARY ELLEN ROUSE TR LORETTO CATHERINE QUINLAN    238 BANBURY ROAD                                                                                COLUMBIA          SC    29210‐4135
TR UA 11/24/76
MARY ELLEN SABLOTNY TR UA 09/28/93 MARY ELLEN    1941 CORTINA DR                                                                                 DAYTON            OH    45459‐1305
SABLOTNY TRUST
MARY ELLEN SALATI                                522 LINDSAY AVE                                                                                 LAUREL SPRINGS    NJ    08021‐3120
MARY ELLEN SCHLOSS                               50 MANN LOT RD                                                                                  SCITUATE          MA    02066‐1808
MARY ELLEN SCHMIDLEY                             423 FOND DU LAC AVE                                                                             SHEBOYGAN FALLS   WI    53085‐1219

MARY ELLEN SCULLION & JOSEPH L SCULLION SR JT TEN 523 INVERRARY ST                                                                               MURRELLS INLT     SC    29576

MARY ELLEN SEPARA                                15889 MARENTETTE DR                                                                             CLINTON TWP       MI    48038‐3332
MARY ELLEN SHAFFER                               9034 CARDWELL                                                                                   LIVONIA           MI    48150‐4138
MARY ELLEN SHEARER                               1105 KOCHANDERFER RD                                                                            LEBANON           PA    17046
MARY ELLEN SIDLER                                1601 RAVENS CREST DRIVE E                                                                       PLAINSBORO        NJ    08536‐2466
MARY ELLEN SLATTERY‐ANGLIN CUST CHRISTOPHER T    1125 N 10TH STREET                                                                              KALAMAZOO         MI    49009‐8047
ANGLIN UTMA MI
MARY ELLEN SLATTERY‐ANGLIN CUST ELIZABETH V      1125 N 10TH STREET                                                                              KALAMAZOO         MI    49009‐8047
ANGLIN UTMA MI
MARY ELLEN SLATTERY‐ANGLIN CUST RACHAEL L        1125 N 10TH STREET                                                                              KALAMAZOO         MI    49009‐8047
ANGLIN UTMA MI
MARY ELLEN SMITH                                 10925 WATERMELON ROAD                                                                           TUSCALOOSA        AL    35406‐8620
MARY ELLEN STEVENBACK                            114 FAIRHILL ROAD                                                                               HATFIELD          PA    19440‐1140
MARY ELLEN TAMALUNAS & ALEX C TAMALUNAS JR JT    3519 SOUTH 59TH COURT                                                                           CICERO            IL    60804
TEN
MARY ELLEN THOMAS                                396 HICKORY LANE                                                                                LAPEER           MI     48446‐1341
MARY ELLEN TOBIN                                 300 COUNTRY CLUB DRIVE                                                                          PROSPECT HEIGHTS IL     60070‐2570

MARY ELLEN TRUEBLOOD                             1041 CHIPMUNK LN                                                                                PENDLETON         IN    46064‐9167
MARY ELLEN VANDERWILT                            812‐A WILSON BLVD S                                                                             NASHVILLE         TN    37215‐1040
MARY ELLEN WARD                                  2765W COUNTY RD 400S                                                                            NEW CASTLE        IN    47362‐9607
MARY ELLEN WILCOX                                507 EAST RIDGE VILLAGE DR                                                                       MIAMI             FL    33157‐9110
MARY ELLEN WILLIAMS                              1023 BARMETTLER PL                                                                              COLUMBIA          SC    29210‐8626
MARY ELLEN WILLIAMS                              29 RANKIN AVE                                                                                   TROY              NY    12180‐6877
MARY ELLEN WILSON                                1 OLD FORT LN                                                                                   HILTON HEAD       SC    29926‐2696
                                                                                                                                                 ISLAND
MARY ELLEN ZELEI                                 45 BRIMLEY MANOR                                                                                ROCHESTER         NY    14612‐4456
MARY ELLIS                                       PO BOX 35776                                                                                    TULSA             OK    74153
MARY ELSIE FREEMAN HODGES                        201 KINGS MANOR DR                                                                              MARTINSVILLE      VA    24112‐6701
MARY EMMA MC DOWELL                              36 MARY JANE LANE                                                                               ELKTON            MD    21921‐3557
MARY EMMA MILLER                                 5051 MIDDLEBORO RD                                                                              GRAND BLANC       MI    48439‐8734
MARY ENGLISH                                     850 BRINTONS BRIDGE RD                                                                          WEST CHESTER      PA    19382‐8108
MARY ERNESTINE EADS                              159 NURSERY RD                                                                                  ANDERSON          IN    46012‐3177
MARY ESTHER FEJES & WILLIAM FEJES TEN ENT        29 FETES RD                                                                                     CARLTON           PA    16311‐1709
MARY EUGENIA BAKER                               36 TREASURY ST                                                                                  ST AUGUSTINE      FL    32084‐3651
MARY EUGENIA GATES                               330 W CALIFORNIA BLVD                APT 310                                                    PASADENA          CA    91105‐2958
MARY EUTZ                                        12001 LAPADERA LANE                                                                             FLORISSANT        MO    63033‐7924
MARY EVA KERR                                    411 N MIDDLETOWN ROAD                APT B111                                                   MEDIA             PA    19063
MARY EVA KINGCAID                                2979 LONG LICK PIKE                                                                             GEORGETOWN        KY    40324‐9152
MARY EVA WILKINS & PERRY C WILKINS JT TEN        13227 KOZAK DR                                                                                  STERLING HTS      MI    48312‐3244
MARY EVANS                                       4109 W 17TH AVE                                                                                 PINE BLUFF        AR    71603‐2933
MARY EVELYN GARRETT                              8879 FULMER RD                       PO 330                                                     MILLINGTON        MI    48746‐0330
MARY EVELYN MEAD                                 532 MASON AVE                                                                                   SAINT LOUIS       MO    63119‐1805
MARY EVELYN SPANGLER                             673 PORTER ST NORTHEAST                                                                         WARREN            OH    44483‐5811
MARY EVELYN WARD                                 4 ALLEN AVE                          ABBOTOFORD‐EAST LONDON                 5241 SOUTH AFRICA
MARY F APPEL TR REVOCABLE TRUST 11/19/91 U‐A     40 SPRINGFIELD COURT                                                                            GLENDALE          MO    63122‐3101
MARY F APPEL
MARY F BARNETT                                   80 E END AVE                         APT 2H                                                     NEW YORK          NY    10028‐8034
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Name                                           Address1                             Address2             Address3          Address4          City               State Zip

MARY F BEARD                                   1608 SOUTH BOOTS ST                                                                           MARION             IN    46953‐2227
MARY F BLAIR                                   447 WEST MEYERS                                                                               HAZEL PARK         MI    48030‐3515
MARY F BLAIR & EDITH I BLAIR JT TEN            447 W MEYERS                                                                                  HAZEL PARK         MI    48030‐3515
MARY F BLATECKY                                1628 ERIE ST                                                                                  RACINE             WI    53402‐4833
MARY F BOUCHER                                 24 WOODLANDS PT RD                                                                            WEST BATH          ME    04530‐6342
MARY F BOWERS & DAVID R BOWERS TEN COM         5036 SMUGGLERS RD                                                                             COLLEGE STATION    TX    77845‐8582
MARY F BOWLES                                  PO BOX 326                                                                                    SCARBOROUGH        WV    25917‐0326
MARY F BRODHEAD TR UA 06‐10‐98                 33225 N 73RD PL                                                                               SCOTTSDALE         AZ    85266‐4270
MARY F BROWN PERSONAL REPRESENTATIVE OF ESTATE 4933 BELVIDERE                                                                                DETROIT            MI    48214‐1304
OF GENERAL BROWN
MARY F CALABRO                                 14 VICTORIA AVE                                                                               MONTROSE           NY    10548‐1418
MARY F CAMPBELL                                33 STONEWOOD RD                                                                               ROCKLAND           ME    04841‐2266
MARY F CLARKSON                                13018 HEIMER RD                      APT 211                                                  SAN ANTONIO        TX    78216‐2060
MARY F CLEVENGER TOD WILLIAM S CLEVENGER       4056 GLORIA                                                                                   WAYNE              MI    48184‐1970
SUBJECT TO STA TOD RULES
MARY F CLINKSCALES                             18004 WILDEMERE                                                                               DETROIT            MI    48221‐2729
MARY F CLINKSCALES & VENUS R THEUS JT TEN      18004 WILDEMERE                                                                               DETROIT            MI    48221‐2729
MARY F CLINKSCALES & VENUS R THUES JT TEN      18004 WILDEMERE                                                                               DETROIT            MI    48221‐2729
MARY F COOMBS                                  C/O EVA FIFIELD                      224 SPRINGFIELD RD                                       DANFORTH           ME    04424‐3124
MARY F CRAWFORD                                476 W SADDLE RIVER ROAD                                                                       UPPER SADDLE       NJ    07458‐1626
                                                                                                                                             RIVER
MARY F CSONKA                                  1053 ROSEALEE DRIVE                                                                           ELYRIA             OH    44035‐2945
MARY F CURTIS                                  1498 TAMARACK LN                                                                              OAKLAND            MI    48363‐1253
MARY F DANIELS                                 612 26TH ST                                                                                   DUNBAR             WV    25064‐1621
MARY F DIETRICH & WAYNE L DIETRICH JT TEN      315 GLENDALE DR                                                                               SHIREMANSTOWN      PA    17011‐6514

MARY F DIVITA & JAMES J DIVITA JT TEN          3208 ACACIA DR                                                                                INDIANAPOLIS       IN    46214‐1934
MARY F DIXON                                   3718 TERRY LN N E                                                                             PIEDMONT           OK    73078
MARY F DONAHUE                                 20 ALDRICH ST                                                                                 ROSLINDALE         MA    02131‐2749
MARY F DONAHUE ADM EST HELEN M DONAHUE         20 ALDRICH STREET                                                                             ROSLINDALE         MA    02131‐2749
MARY F EAGLE                                   7595 GLENEAGLE                                                                                KALAMAZOO          MI    49048‐8615
MARY F EALY                                    5 NORWICK LANE                                                                                WILLINGBORO        NJ    08046‐1329
MARY F FOX                                     6171 MULFORD HILLS DR                                                                         LOVES PARK         IL    61111‐4415
MARY F FRENCH                                  534 W HUNTERS DRIVE                                                                           CARMEL             IN    46032‐2856
MARY F FULLER                                  20261 MANSFIELD ST                                                                            DETROIT            MI    48235‐2154
MARY F FULLER                                  1162 CAMELBACK BLVD                                                                           WEST LAFAYETTE     IN    47906‐1860
MARY F GANN TOD DAWN R GANN SUBJECT TO STA TOD 2631 WESTWOOD DR                                                                              CONYERS            GA    30094
RULES
MARY F GAROVE                                  1005 BELMONT                                                                                  MANSFIELD          OH    44906
MARY F GRIFFIN                                 4193 MACON HIGHWAY                                                                            MITCHELL           GA    30820‐2603
MARY F GRILLS                                  6743 POWERS CT                                                                                UTICA              MI    48317‐2235
MARY F HALE & LANCE E HALE JT TEN              18400 CURTIS ST                                                                               DETROIT            MI    48219‐2911
MARY F HARRISON BRESSI                         1431 TENEIGHTH WAY                                                                            SACRAMENTO         CA    95818‐4126
MARY F HATOSKY                                 1340 MAHONING AVE NW                 UNIT 217                                                 WARREN             OH    44483‐2085
MARY F HOOVER                                  590 RUSSELL AVE                                                                               GAITHERSBURG       MD    20877‐2868
MARY F HUETHER                                 50 TIMPAT DRIVE                                                                               ROCHESTER          NY    14624‐2928
MARY F JACKSON                                 1947 KIMBELL RD                                                                               TERRY              MS    39170‐9442
MARY F JENDRITZ                                14692 ALMA                                                                                    STERLING HEIGHTS   MI    48313‐3604

MARY F JOHNSON                                 147 LLOYD‐GUESSFORD RD                                                                        TOWNSEND           DE    19734‐9665
MARY F JONES                                   243 DEPUY AVE                        APT 1                                                    JACKSON            MI    49203‐1270
MARY F JORDAN                                  PO BOX 36                                                                                     GOFFSTOWN          NH    03045‐0036
MARY F KELLY                                   23264 ROBERT JOHN                                                                             ST CLAIR SHRS      MI    48080‐2609
MARY F KESTER                                  4256 E COUNTY RD 400 S                                                                        MIDDLETOWN         IN    47356‐9505
MARY F KIRKWOOD                                12800 WEST PARKWAY                                                                            DETROIT            MI    48223‐3018
MARY F KLIZA                                   34889 MICHELLE                                                                                ROMULUS            MI    48174‐3437
MARY F KOEHLER                                 1226 POWDER SPRINGS RD                                                                        SEVIERVILLE        TN    37876‐0742
MARY F KOSTKA                                  2476 NANTUCKET HARBOR LOOP                                                                    SUN CITY CENTER    FL    33573‐7128
MARY F KRAIS                                   10824 JAMES HALLEY DR                                                                         FAIRFAX            VA    22032‐3015
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Name                                           Address1                            Address2             Address3          Address4          City               State Zip

MARY F KRANZ                                   6330 ORIOLE DR                                                                               FLINT              MI    48506
MARY F KUSAK & RICHARD S KUSAK JT TEN          1821 RUTHERFORD AVE                                                                          LOUISVILLE         KY    40205‐1819
MARY F LA BONTE                                66 MORRIS AVE                                                                                MALVERNE           NY    11565‐1110
MARY F LANDRY                                  39 ROCKLAND ST                                                                               SWAMPSCOTT         MA    01907‐2540
MARY F LARGUE                                  1907 E DE SOTA ST                                                                            PENSACOLA          FL    32501‐3514
MARY F LAUER                                   6383 W BRISTOL RD                                                                            SWARTZ CREEK       MI    48473‐7920
MARY F LEE                                     30 THOMAS DR                                                                                 SILVER SPRING      MD    20904‐2929
MARY F LESCROART                               1050 MCNEILLY RD                    APT 301                                                  PITTSBURGH         PA    15226‐2554
MARY F LIEBERMAN                               8631 WILLOW MEADOW                                                                           HOUSTON            TX    77031‐1825
MARY F LINK                                    W 180 S8641 COTTAGE CIR E           APT 2043                                                 MUSKEGO            WI    53150‐7323
MARY F LUCAS                                   4223 ELLENWOOD AVE                  APT 101                                                  SAINT LOUIS        MO    63116‐2526
MARY F MALLEY                                  10 GOULD PL                                                                                  CALDWELL           NJ    07006‐5619
MARY F MANION                                  288 SENECA ROAD                                                                              ROCHESTER          NY    14622‐2043
MARY F MAYS                                    ATTN MARY F FRANKLIN                523 LUDLOW ST                                            HAMILTON           OH    45011‐3645
MARY F MCCORD                                  1256 NORTH 400 WEST                                                                          MARION             IN    46952‐9236
MARY F MONROE                                  3024 CHOPTANK RD                                                                             PRESTON            MD    21655‐1207
MARY F MORGAN                                  MORGAN RD BOX 132                                                                            MARCY              NY    13403‐0132
MARY F MORUA                                   1523 LITTLEPORT                                                                              CHANEL VIEW        TX    77530‐2130
MARY F OSTRANDER                               9679 BLACKBIRD PLACE                                                                         MASON              OH    45040‐9261
MARY F OWEN                                    1443 SPRING VALLEY CIRCLE                                                                    HUNTINGTON         WV    25704‐9576
MARY F PIERCE                                  9860 KENTON CIR                                                                              COMMERCE CITY      CO    80022‐9522
MARY F QUINTIERI                               2516 MEADOWLANE DR                                                                           LANSING            MI    48906‐3433
MARY F R KUTZER                                ACADEMY HOUSE 14N                   1420 LOCUST STREET                                       PHILA              PA    19102‐4223
MARY F RIDGEWAY                                4120 11 TH ST                                                                                ECORSE             MI    48229‐1221
MARY F ROCHE & GERARD J ROCHE JT TEN           20 FOREST PARK DR                                                                            LAKEVILLE          MA    02347‐1626
MARY F ROGERS                                  ATTN JAMES B ROGERS                 133 DOVER RDN W                                          CARTERSVILLE       GA    30120
MARY F ROONEY                                  972 CREST ST                                                                                 MOUNT CLEMENS      MI    48043‐6422
MARY F RUELL                                   16242 BIRCHER ST                                                                             GRANADA HILLS      CA    91344‐3018
MARY F SABOL                                   APT 219                             20 CROTON TERRACE                                        YONKERS            NY    10701‐6053
MARY F SCHLERETH                               1495 LOVELAND DRIVE                                                                          FLORISSANT         MO    63031‐3364
MARY F SHAKLEY                                 12776 CASWELL AVENUE #203                                                                    WEST LOS ANGELES   CA    90066‐4742

MARY F SHEA                                    43 BUTLER STREET                                                                             COS COB            CT    06807‐2611
MARY F SHEFFIELD                               1302 6TH ST E                                                                                POLSON             MT    59860
MARY F SMITH & STACIE KAYE M SMITH TEN COM     6010 W BRADEN RD                                                                             PERRY              MI    48872‐9124
MARY F STAFFORD                                57467 CALEDONIA ST                                                                           CALUMET            MI    49913‐3033
MARY F STAMEY                                  145 HOPEWELL SPRINGS RD                                                                      MADISONVILLE       TN    37354‐6557
MARY F STOLL & EDWARD M STOLL JT TEN           14612 PLANK ROAD                                                                             NORWALK            OH    44857‐9636
MARY F STRAUGHAN                               1917 BAHIA MAR DR                                                                            STONE MOUNTAIN     GA    30087‐1610

MARY F SWARTZMILLER                            3607 GRANBY CT                                                                               SAN ANTONIO        TX    78217‐4653
MARY F SWIATEK                                 332 PARKER AVE S                                                                             MERIDEN            CT    06450‐5930
MARY F THEIS                                   460 WOODDALE RD                                                                              BLOOMFIELD TWP     MI    48301‐2461

MARY F THEIS CUST ROBERT M THEIS UGMA MI       460 WOODDALE RD                                                                              BLOOMFIELD TWP     MI    48301‐2461

MARY F THEIS CUST SUSAN A F THEIS UGMA MI      460 WOODDALE RD                                                                              BLOOMFIELD TWP     MI    48301‐2461

MARY F ULLRICH                                 100 FIELDSTONE                                                                               LAPORTE            IN    46350‐6607
MARY F VOIGHTS                                 715 MAIDEN CHOICE LN APT CC507                                                               CATONSVILLE        MD    21228‐5895
MARY F WAGNER                                  3733 W SHANNON ST                                                                            CHANDLER           AZ    85226‐5923
MARY F WALKER                                  15924 FAIRFIELD                                                                              DETROIT            MI    48238‐4122
MARY F WARE CUST ROBERT RIGDON WARE A MINOR    PO BOX 292                                                                                   CAVE SPRING        GA    30124‐0292
U/THE LAWS OF GEORGIA
MARY F WATSON                                  3373 PARKWAY DR                                                                              BAY CITY           MI    48706‐6201
MARY F WEIS & SHELLIE J CAMPBELL JT TEN        1918 FAUVER AVE                                                                              DAYTON             OH    45420‐2507
MARY F WILLIAMS                                6201 NEBRASKA                                                                                KANSAS CITY        KS    66102‐1355
MARY F WRIGHT                                  1143 S MORGANTOWN ROAD                                                                       GREENWOOD          IN    46143‐8812
MARY FAE HIGGERSON                             1803 1/2 E POPLAR ST                                                                         WEST FRANKFORT     IL    62896‐1624
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Name                                            Address1                               Address2               Address3        Address4          City                State Zip

MARY FALKNER                                    6497 W CIMARRON TRAIL                                                                           FLINT               MI    48532‐2022
MARY FALVO                                      77 SHORVIEW RD                                                                                  MANHASSET           NY    11030‐1827
MARY FANNY BROWN & ROSELINDA BROWN JT TEN       16107 HAUSS AVE                                                                                 EASTPOINTE          MI    48021‐1178

MARY FARMER                                     22777 WORTHINGTON CT                                                                            ST CLAIR            MI    48081‐2603
MARY FARMER & WILLIAM J FARMER JT TEN           22777 WORTHINGTON CT                                                                            ST CLAIR SHORES     MI    48081‐2603
MARY FAY GOWDY                                  2114 PARKER ROAD                                                                                NEWARK              NY    14513‐9767
MARY FAY GRIFFITH KATTMAN                       15 ELMWOOD RD                                                                                   MARBLEHEAD          MA    01945‐1612
MARY FELDENZER                                  29 LAFAYETTE AVE                                                                                TITUSVILLE          NJ    08560‐1625
MARY FELLAH CUST WILLIAM FELLAH                 1 ELMWOOD ROAD                                                                                  WEST PORT           CT    06880‐3903
MARY FEUCHTINGER LINSS                          300 JOHNSON FERRY RD NE                UNIT B106                                                ATLANTA             GA    30328‐4158
MARY FEY                                        918 E OLIVE ST                                                                                  ARLINGTON           IL    60004‐4957
                                                                                                                                                HEIGHTS
MARY FILLAR                                     1214 DENNING WAY                                                                                NORTH VERSAILLES    PA    15137‐2611

MARY FLANIGAN                                   526 SWARTHMORE AVE                                                                              PACIFIC PALISADES   CA    90272‐4349

MARY FLEMING MALONE                             10319 LUZON                                                                                     SAN ANTONIO         TX    78217‐3917
MARY FLORENCE MEEHAN                            SENECA PARK                            1187 ORCHARD PARK RD   APT 139                           WEST SENECA         NY    14224‐3962
MARY FONTANA                                    2218 E 12TH ST                                                                                  BROOKLYN            NY    11229‐4106
MARY FORD MCDOUGALL ROACH                       1605 LISSA DR                                                                                   MCCOMB              MS    39648‐2007
MARY FORTWENGLE CARPENTER                       8224 W COOLEY ST                                                                                YORKTOWN            IN    47396‐1427
MARY FRANCES COHEN & NORMAN COHEN JT TEN        9741 WEARE AVE                                                                                  FOUNTAIN VALLEY     CA    92708‐1051

MARY FRANCES DANSAK                             1329 HICKORY LN                                                                                 AUBURN              AL    36830‐2511
MARY FRANCES DAVIS                              441 PARKVIEW DR                                                                                 DETROIT             MI    48214‐4173
MARY FRANCES DENT                               848 WILLIS MILL RD SW                                                                           ATLANTA             GA    30311‐2431
MARY FRANCES DEWEY                              215 E 73RD ST                                                                                   NEW YORK            NY    10021‐3653
MARY FRANCES DUFFY                              116 STIRRUP PL                                                                                  BURR RIDGE          IL    60521‐5775
MARY FRANCES FREY & SCOTT JOSEPH FREY TEN COM   499 TULIP LN                                                                                    NAZARETH            PA    18064‐9617

MARY FRANCES FRUM                               800 HAHN DR                                                                                     SHAKOPEE            MN    55379‐7505
MARY FRANCES GANNON                             514 W NUTSWAMP RD                                                                               HOLMDEL             NJ    07733‐2208
MARY FRANCES GILBERTSON                         5134 SADDLE RIDGE RD                                                                            PLYMOUTH            MI    48170
MARY FRANCES GLEASON                            1539 NORTH PATRICK HENRY DRIVE                                                                  ARLINGTON           VA    22205‐2831
MARY FRANCES HICKS                              20 ERIE ST                                                                                      ALBION              NY    14411‐1008
MARY FRANCES HULL                               1220 DEPOT ST                          APT 406                                                  GLENVIEW            IL    60025‐2971
MARY FRANCES JACKSON                            125 ARDEN AVENUE                                                                                BUFFALO             NY    14215
MARY FRANCES KELLY                              1424 HUDSON BRIDGE RD # 207                                                                     STOCKBRIDGE         GA    30281‐5018
MARY FRANCES MARKS                              210 PRESTON AVE                                                                                 WATERFORD           MI    48328‐3654
MARY FRANCES MC LAUGHLIN FINN                   801 PARK AVE                                                                                    MANHASSET           NY    11030‐2842
MARY FRANCES MCLAUGHLIN MURRAY                  707 MORNINGSIDE DRIVE                                                                           BURLINGTON          IA    52601‐1507
MARY FRANCES MEADOR                             P O BOX 402                                                                                     MAGEE               MS    39111
MARY FRANCES MURRAY                             707 MORNINGSIDE DR                                                                              BURLINGTON          IA    52601
MARY FRANCES PIGNATARO                          21 WALLACE ROAD                                                                                 MIDDLETOWN          NJ    07748‐2926
MARY FRANCES PRATT                              155 POLE LN RD                                                                                  MARION              OH    43302‐8301
MARY FRANCES R HAYES                            925 NEW GARDEN RD                                                                               GREENSBORO          NC    27410‐3267
MARY FRANCES SCALISI                            8104 RAYTOWN RD                                                                                 RAYTOWN             MO    64138‐2112
MARY FRANCES SNYDER                             2 WOODSBORO DR                                                                                  PHILIPPI            WV    26416
MARY FRANCES WLEKLINSKI                         ATTN MARY FRANCES DE RISI              11400 BRANDY HALL LN                                     N POTOMAC           MD    20878‐2530
MARY FRANCES WOOD & GILES E WOOD JR JT TEN      108 HUNTSHIRE PL                                                                                FOREST              VA    24551‐1316
MARY FRANCIS HOSKINS                            1870 RIPLING DR                                                                                 DAYTON              OH    45406
MARY FRASER                                     101 GUILD ST NE                                                                                 GRAND RAPIDS        MI    49505‐4039
MARY FREDA                                      5733 W 81ST ST                                                                                  BURBANK             IL    60459‐1930
MARY FREEMAN                                    37342 MATHEW CT                                                                                 CLINTON TWP         MI    48036
MARY FRENCH                                     1 HEBERT DRIVE                                                                                  GT BARRINGTON       MA    01230
MARY FRISCH FINUCANE                            218 ROGERS PKWY                                                                                 ROCHESTER           NY    14617‐4206
MARY FURLONG                                    50 GORGINIO DR                                                                                  TOMS RIVER          NJ    08757‐4265
MARY G ARMIJO                                   165 ALLENVALE CT                                                                                SIMI VALLEY         CA    93065‐7052
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Name                                               Address1                              Address2             Address3          Address4          City               State Zip

MARY G AXTHELM & PAUL E AXTHELM JT TEN             85 TOPLAND RD                                                                                  WHITE PLAINS       NY    10605‐4414
MARY G BRUSH                                       228 LAKEVIEW DR                                                                                BEAVERTON          MI    48612‐8108
MARY G COMER                                       1528 OHLTOWN MCDONALD RD                                                                       MINERAL RIDGE      OH    44440‐9529
MARY G DANIELS                                     34800 ASH RD                                                                                   NEW BOSTON         MI    48164‐1800
MARY G DENIS                                       PO BOX 339                            864 W MAIN ST                                            IONIA              MI    48846
MARY G DONAHUE                                     4212 EAGLE HARBOR ROAD                                                                         ALBION             NY    14411‐9215
MARY G DUMONT                                      41951 N 113TH WAY                                                                              SCOTTSDALE         AZ    85262‐3522
MARY G ENGLAND                                     1415 INGLEWOOD DR                                                                              COOKEVILLE         TN    38501‐2966
MARY G EVOLA & PAUL EVOLA JT TEN                   7443 GRANDMONT AVE                                                                             DETROIT            MI    48228‐3624
MARY G FALVELLO                                    1900 LODESTONE DRIVE                                                                           SILVER SPRING      MD    20904‐5321
MARY G GEHRING                                     5132 SE 188TH CT                                                                               OCKLAWAHA          FL    32179‐7434
MARY G GIBBS                                       614 BAYNE RD                                                                                   MALVERN            AR    72104‐5837
MARY G GIBBS & DONOVAN G GIBBS JT TEN              614 BAYNE RD                                                                                   MALVERN            AR    72104‐5837
MARY G GOWDER                                      PO BOX 2687                                                                                    BLAIRSVILLE        GA    30514‐2687
MARY G GREFE                                       88‐15 218 ST                                                                                   QUEENS VILLAGE     NY    11427‐1942
MARY G JERAM                                       48 ROWELAND AVE                                                                                DELMAR             NY    12054‐3922
MARY G KANE                                        9215 CHAPMAN CT                                                                                INVER GROVE HTS    MN    55076
MARY G KRIBBEN TR MARY G KRIBBEN TRUST UA          503 FREMONT                                                                                    WASHINGTON         MO    63090‐2209
12/06/95
MARY G LABBATO                                     5234 GRAHAM DRIVE                                                                              LYNDHURST          OH    44124‐1042
MARY G LARA                                        4243 N SAWYER                                                                                  CHICAGO            IL    60618‐1209
MARY G LOGOZZO                                     151 NATCHAUG DR                                                                                MERIDEN            CT    06450‐7417
MARY G MAHER                                       499 LONGFELLOW AVE                                                                             WORTHINGTON        OH    43085‐3024
MARY G MC CORMICK                                  BOX 223                                                                                        ROWLAND            NC    28383‐0223
MARY G MCELFRESH                                   2016 ROSEMONT                                                                                  MUNCIE             IN    47302‐4751
MARY G MULLENAX                                    9271 W CALVIN RD                                                                               HARTSTOWN          PA    16131‐1525
MARY G MURANO                                      7 PALFREY ST                                                                                   STONY BROOK        NY    11790
MARY G MUSTAKE                                     763 SYME ST S E                                                                                MASURY             OH    44438‐1665
MARY G NASH                                        112 CADISH AVE                                                                                 HULL               MA    02045‐1656
MARY G OBRIEN                                      9072 BAYWOOD RD                                                                                PLYMOUTH           MI    48170‐3914
MARY G PATTERSON                                   409 WALNUT ST                                                                                  WAVERLY            OH    45690‐1162
MARY G PURDY                                       154 OLD TRAIL ROAD                                                                             DUNCANNON          PA    17020
MARY G PURNELL                                     3779 LORANCE RD                                                                                CLINTON            MS    39056‐9572
MARY G RUSHIN & MARILYN A SIEMBOR JT TEN           34258 PEMBROKE AVE                                                                             LIVONIA            MI    48152‐1297
MARY G SMITH                                       875 JANET AVE                                                                                  LANCASTER          PA    17601‐4568
MARY G SONTAG TR UA 09/22/1995 MARY G SONTAG       14 SERRA LANE                                                                                  MASSENA            NY    13662
REV LIV TRUST
MARY G SPARKS & JAMES R SPARKS JR JT TEN           27 CORNWALL RD                                                                                 NEW CASTLE         DE    19720‐2375
MARY G SPLITTBERGER CUST DAVID SPLITTBERGER        5112 HIDDEN VIEW PLACE                                                                         BILLINGS           MT    59105‐5326
UTMA MT
MARY G STEWARD                                     WEST PINE ST                          BOX 174                                                  SHEPPTON           PA    18248‐0174
MARY G SWAIN                                       1818 SOMERSET CIRCLE                                                                           CHARLESTON         SC    29407‐3719
MARY G TRIMM                                       4451 NORCROSS RD                                                                               HIXSON             TN    37343‐4435
MARY G WILLHITE TR UA 04/24/2000 LIVING TRUST OF   914 NORTH "O" STREET                                                                           LAKE WORTH         FL    33460
HAROLD RIDEOUT
MARY G WILLIAMS                                    8605 HOLCOMB RD                                                                                CLARKSON           MI    48348‐4323
MARY G WOOD                                        36110 WALTHAM DR                                                                               STERLING HEIGHTS   MI    48310‐4502

MARY GABODA & HELEN BOWDY JT TEN                   2043 RTE 109                                                                                   BELVIDERE          VT    05492
MARY GAGGOS & GOLDIE GAGGOS JT TEN                 23276 ROBERT JOHN ROAD                                                                         ST CLAIR SHORES    MI    48080‐2609
MARY GAGLIARDO & BEATRICE GAGLIARDO‐BRENNAN        C/O MARY GAGLIARDO                    24301 ANDREA ST                                          LAGUNA HILLS       CA    92656‐3181
EX EST DOMINICK CINCOTTA
MARY GALBRAITH                                     PO BOX 386                                                                                     HESSEL           MI      49745‐0386
MARY GALE                                          675 LINCOLN ST                                                                                 HAZLETON         PA      18201‐4056
MARY GALE SUMNAR                                   10 ELM HILL                                                                                    HILLSDALE        MI      49242‐2024
MARY GALES                                         1230 E 87 ST                                                                                   CLEVELAND        OH      44108‐3312
MARY GALLAGHER                                     7602 WOODSTONE                                                                                 DALLAS           TX      75248‐5348
MARY GALLAGHER                                     4140 MC KINLEY                                                                                 DEARBORN HEIGHTS MI      48125‐2507
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Name                                            Address1                             Address2                   Address3    Address4          City             State Zip

MARY GAMBLE                                     C/O MARY G LETOURNEAU                8 PINE ACRES RD UNIT 803                                 CONCORD          NH    03301‐1842
MARY GANT                                       2202 MEADS ST                                                                                 ELIZABETH CITY   NC    27909‐9015
MARY GARRISON                                   7286W 200N                                                                                    ANDREWS          IN    46702
MARY GARRISON                                   763 W GOVERNOR RD                                                                             HERSHEY          PA    17033‐2304
MARY GAUTHIER                                   9449 FORESTVIEW CI                                                                            GRAND BLANC      MI    48439‐8056
MARY GAY ENGEL                                  420 11TH ST                                                                                   NEENAH           WI    54956‐2819
MARY GAYNOR                                     14 WELWYN RD                                                                                  GREAT NECK       NY    11021‐2517
MARY GAYNOR                                     7 BRUIN DR                                                                                    MERCERVILLE      NJ    08619‐1341
MARY GEE                                        4466 WELLINGTON                                                                               BOULDER          CO    80301‐3144
MARY GENEVIEVE MEDEARIS                         1901 SEMINOLE DR                     FT COLLINS                                               FORT COLLINS     CO    80525
MARY GENSZLER WHISTLER & ROBERT G WHISTLER JT   3221 COVEWAY DR                                                                               CORPUS CHRISTI   TX    78418‐3932
TEN
MARY GEORGE DILKS TR MARY GEORGE DILKS REV      4340 GRASSY MOSS DR                                                                           GREENSBORO       NC    27409‐9702
TRUST UA 05/12/93
MARY GERTRUDE SLYE                              3002 TIDEWATER LANE                                                                           MADISON          MS    39110‐8929
MARY GIBSON MOORE                               285 HOMEWOOD AVE                                                                              FAIRMONT         WV    26554‐4373
MARY GILL                                       3236 FOUNTAIN BLVD                                                                            TAMPA            FL    33609‐4621
MARY GLADYS STOUT                               30 CANADA VISTA DR                                                                            SANDIA PARK      NM    87047‐9645
MARY GLAUBITZ                                   10022 SOUTH HOYNE AVE                                                                         CHICAGO          IL    60643‐2020
MARY GLEASON BOONE                              PO BOX 23405                                                                                  LOUISVILLE       KY    40223‐0405
MARY GLENELLEE POTTS TR UW ROY V HALL           PMB 365                              7081 N MARKS #104                                        FRESNO           CA    93711‐0232
MARY GLIDDEN KARPETAS                           249 COOK HILL ROAD                                                                            WALLINGFORD      CT    06492‐3328
MARY GLODAN                                     1642 PROGRESS                                                                                 LINCOLN PK       MI    48146‐3260
MARY GOAD SNYDER                                PO BOX 240                                                                                    CHINO VALLEY     AZ    86323‐0240
MARY GODNEY                                     106 SYMPHONY CT                                                                               CARY             NC    27511‐8611
MARY GOLDBERG                                   1359 MELIA ST                                                                                 CAMARILLO        CA    93010‐1962
MARY GONZALES                                   69 GREENE AVE                                                                                 TOTOWA BORO      NJ    07512‐1632
MARY GORDON                                     C/O ST JOSEPH'S REHAB                405 FOLSE ST               HARANAND                      NEW ORLEANS      LA    70123
MARY GORMAN & FRANK J GORMAN JT TEN             939 DYRE ST                                                                                   PHILA            PA    19124‐1708
MARY GORNIK                                     712 BUENA AVE                                                                                 CHICAGO          IL    60613‐2222
MARY GORRA BATTEY                               101 WEST ALEXANDRIA AVENUE                                                                    ALEXANDRIA       VA    22301‐2016
MARY GOSS                                       1284 COUNTY ST                       UNIT 5                                                   ATTLEBORO        MA    02703‐6174
MARY GRACE MCCARTER & WAYNE R BARRY JT TEN      790 BRANTFORD ROAD                                                                            ROCHESTER        MI    48306‐2500

MARY GRACE MCHUGH                               1025 WORDEN RD                                                                                WICKLIFFE        OH    44092‐1742
MARY GRACE REEDER                               5997 FRY ROAD                                                                                 BROOK PARK       OH    44142‐2751
MARY GRACE S DURKIN                             6140 PEBBLESHIRE CI C                                                                         GRAND BLANC      MI    48439‐4816
MARY GRAHAM & BARBARA VERCHER JT TEN            3901 CRYSTAL WOODS DRIVE                                                                      ARNOLD           MO    63010‐4162
MARY GRANGER                                    6632 STEAMBOAT SPRINGS DR                                                                     WHITE LAKE       MI    48383‐2391
MARY GREGER                                     1127 PORTSMOUTH AVE                                                                           WESTCHESTER      IL    60154
MARY GREIST LANIUS                              4200 RIDGE ROAD                                                                               NORTH HAVEN      CT    06473‐1056
MARY GREYTOCK                                   736N PENNA AVE                                                                                WILKES‐BARRE     PA    18705‐2407
MARY GRIMES TR GRIMES DECEDENT'S TRUST UA       5732 BUNKER AVE                                                                               BURLINGTON       KY    41005‐6538
09/06/95
MARY GRINER SHIPES                              96 BAY POINT RD                                                                               ST HELENA IS     SC    29920‐6686
MARY GROFSOREAN & ANNA M GROFSOREAN JT TEN      1704 BELLWOOD CT                                                                              BLOOMFIELD       MI    48302‐2600

MARY GRZASKO                                    339 ACORN LN                                                                                  AUBURN           NY    13021
MARY GUTOWSKI                                   433 NORHT SECOND STREET                                                                       EAST NEWARK      NJ    07029
MARY GUZYLAK                                    284 APPLEWOOD DR                                                                              ROCHESTER        NY    14612‐3550
MARY H ADAMS                                    73 CHETWOOD TERRACE                                                                           FANWOOD          NJ    07023‐1502
MARY H ADAMS CUST THOMAS A BRANDT UTMA NJ       73 CHETWOOD TERRACE                                                                           FANWOOD          NJ    07023‐1502

MARY H ANDERSON                                 155 MILLET AVE                                                                                YOUNGSTOWN       OH    44509‐2345
MARY H BALL                                     1015 VIENNA RD                                                                                NILES            OH    44446‐3523
MARY H BARTLETT LINDEN                          3808 SOLSVILLE RD                                                                             MADISON          NY    13402‐9525
MARY H BENSON                                   1215 CONSTANTINOPLE DRIVE                                                                     MEW ORLEANS      LA    70115‐3844
MARY H BROWN                                    2522 JACK TEASLEY RD                                                                          PLEASANT VIEW    TN    37146‐9105
MARY H BUCK                                     1525 S MAPLE AVE                                                                              FAIRBORN         OH    45324‐3426
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Name                                            Address1                              Address2             Address3          Address4          City              State Zip

MARY H BURKE                                     ATTN MARY H MILLER                   309 KIMBERLY DR                                          COLUMBIA          TN    38401‐6909
MARY H BYRNE                                     PO BOX 123                                                                                    TANNERSVILLE      NY    12485‐0123
MARY H CAMPBELL                                  1615 GREENVIEW AVE                                                                            PORTAGE           MI    49024‐3324
MARY H CANTERBURY                                5586 COLUMBUS CIRCLE                                                                          WILDWOOD          FL    34785‐8120
MARY H CHRISTIAN                                 10151 DORRELL LN                     UNIT 1087                                                LAS VEGAS         NV    89166‐1031
MARY H COLLINS POST TR MARY H COLLINS POST TRUST C/O FREDERICK R POST                 11030 HARTMAN RD                                         GRAND RAPIDS      OH    43522‐9625
UA 04/18/96
MARY H CONNER & BARBARA JEAN PRALL JT TEN        302 EVERGREEN DR                                                                              HARKER HTS        TX    76548‐1622
MARY H COTHRAN                                   BOX 55                                                                                        WILLISTON         SC    29853‐0055
MARY H CROWELL CUST MARGARET M CROWELL UGMA 387 FOSTER ST                                                                                      SOUTH WINDSOR     CT    06074‐2901
CT
MARY H DARTON                                    3605 FOX CHASE ROAD                                                                           NEW BERN          NC    28562‐7719
MARY H DELANEY & ANNIE FRANKS JT TEN             29459 WAND DR                                                                                 CHESTERFIELD      MI    48047‐5170
MARY H DI SALVO                                  981 PEACHCREEK RD                                                                             DAYTON            OH    45458‐3258
MARY H DRYDEN‐FAKIR                              PO BOX 558                                                                                    HARTLAND          MI    48353‐0558
MARY H DUGGAN                                    PO BOX 542                                                                                    PORTSMOUTH        VA    23705‐0542
MARY H FAULK                                     18238 OKLAHOMA CT                                                                             ORLAND PARK       IL    60467‐8984
MARY H FISHEL                                    1377 HYDE SHAFFER ROAD                                                                        BRISTOLVILLE      OH    44402‐9798
MARY H FLEURY                                    3686 EL CANTO DR                                                                              SPRING VALLEY     CA    91977‐1907
MARY H FLOWERS                                   1534 FERNDALE                                                                                 WARREN            OH    44485‐3947
MARY H FRENCH                                    3007 BRANDED CT W                                                                             KOKOMO            IN    46901‐7005
MARY H GARDYNIK & JERI M DICKS JT TEN            760 SOUTH MILFORD                                                                             MILFORD           MI    48381
MARY H GERBER                                    6 CAMBRIDGE DR                                                                                LOMPOC            CA    93436‐7804
MARY H HENNING                                   4242 SOUTH 250 E                                                                              LAFAYETTE         IN    47905‐9181
MARY H HILL                                      4028 OLMSTEAD                                                                                 WATERFORD         MI    48329‐2044
MARY H HISON & ROBERT A HISON JT TEN             105 SUNSET LANE                                                                               ST CLAIR SHORES   MI    48082‐1242
MARY H HOLLAND                                   PO BOX 425                                                                                    WEST UNION        WV    26456‐0425
MARY H JACKSON                                   251 BLISS LANE                                                                                GREAT FALLS       VA    22066‐3221
MARY H JACKSON                                   165 PARK ROW                                                                                  NEW YORK          NY    10038‐1103
MARY H KASMISKE                                  524 N WILLARD AVE                                                                             JANESVILLE        WI    53548
MARY H KILCOYNE                                  82 FRANKLIN ST                                                                                CLINTON           MA    01510‐3428
MARY H KRAJCIK                                   36203 BUTTERNUT RIDGE RD                                                                      ELY RIA           OH    44035‐8523
MARY H LARSON & RAYMOND B LARSON JT TEN          13955 GRAFTON RD                                                                              CARLETON          MI    48117‐9217
MARY H LEONARD                                   521 PEMBROKE STREET                                                                           PEMBROKE          NH    03275‐3319
MARY H LOUDON                                    1220 MOUND ST                                                                                 SALEM             OH    44460‐3931
MARY H MEYERS                                    PO BOX 826                                                                                    SILVERLAKE        WI    53170‐0826
MARY H NICHOLS                                   6330 GEORGELAND                                                                               DETROIT           MI    48204‐1211
MARY H NIXON                                     1536 NIAGARA AVE                                                                              NIAGARA FALLS     NY    14305‐2851
MARY H NOOJIN TR UA 03/05/86 MARY H NOOJIN       1000 VICARS LANDING WAY              A207                                                     PONTA VEDRA       FL    32082‐3137
                                                                                                                                               BEACH
MARY H OWENS                                    505 ALBERT AVE                                                                                 WILSON            NC    27893‐1609
MARY H PARK & JENNIFER L PARK JT TEN            612 NORTH LAMAR BLVD                                                                           OXFORD            MS    38655‐3208
MARY H PARK & SUSAN K PARK JT TEN               612 NORTH LAMAR BLVD                                                                           OXFORD            MS    38655‐3208
MARY H PARKER                                   6470 LILY TRL                                                                                  FAIRBURN          GA    30213‐2696
MARY H PAVASKO                                  42 CHARNWOOD DRIVE                                                                             PITTSBURGH        PA    15235‐5250
MARY H PERRY 9D                                 930 HATTIE DRIVE                                                                               ANDERSON          IN    46013
MARY H POGROW TOD REBECCA BARRYMORE SUBJECT     530 MILL ROAD                                                                                  ROCHESTER         NY    14626
TO STA TOD RULES
MARY H POGROW TOD RENEE M POGROW SUBJECT TO     530 MILL ROAD                                                                                  ROCHESTER         NY    14626
STA TOD RULES
MARY H POGROW TOD ROBERTA POGROW SUBJECT TO     530 MILL ROAD                                                                                  ROCHESTER         NY    14626
STA TOD RULES
MARY H POGROW TOD ROGER D POGROW SUBJECT TO     530 MILL ROAD                                                                                  ROCHESTER         NY    14626
STA TOD RULES
MARY H RAGUSA                                   32 INDEPENDENCE STREET                                                                         TARRYTOWN         NY    10591‐4406
MARY H RENEAU                                   102 AUGUSTA CT                                                                                 SLIDELL           LA    70460‐5141
MARY H REYNOLDS                                 5586 COLUMBUS CIR                                                                              WILDWOOD          FL    34785
MARY H RICCO & JOSEPH W RICCO JT TEN            301 JOHNSON ST                                                                                 NEW BERN          NC    28560‐4049
MARY H ROBINSON                                 3003 FERNWOOD AVE                                                                              MOUNDSVILLE       WV    26041‐1833
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Name                                            Address1                              Address2             Address3          Address4          City              State Zip

MARY H SAPKO & ANDREW A SAPKO JT TEN            150 DAVIS ST                                                                                   BRADFORD         PA     16701‐1302
MARY H SAUNDERS                                 202 SHERWOOD GREEN CT                                                                          MASON            OH     45040‐2257
MARY H SCHICK                                   32019 N MARKLAWN                                                                               FARMINGTON HILLS MI     48334‐2859

MARY H SHARP TR MARY H SHARP REV LIVING TRUST UA 6889 BRIDLEWOOD LN                                                                            VALLEY CITY       OH    44280‐9459
03/05/03
MARY H SHELTON                                   PO BOX 175                                                                                    NEWTON            MS    39345‐0175
MARY H SIMON                                     95 PEMBROKE AVE                                                                               BUFFALO           NY    14215
MARY H SIMPSON                                   2349 BELLEVUE AVE                                                                             COLUMBUS          OH    43207‐2819
MARY H STRICKLAND CUST WILLIAM J STRICKLAND JR   13750 LINTEL LN                                                                               MIDLOTHIAN        VA    23113‐3944
UGMA VA
MARY H SWINKOSKI                                 353 QUINNIPIAC AVE                                                                            NORTH HAVEN       CT    06473‐3718
MARY H TOBIN                                     270 ALLENGATE AVE                                                                             PITTSFIELD        MA    01201‐2894
MARY H TOURVILLE & GREGORY R TOURVILLE JT TEN    20681 ELKHART                                                                                 HARPER WOODS      MI    48225‐2239

MARY H VILLEGAS                                 P O BOX 1264                                                                                   BRADY             TX    76825
MARY H WHEELOCK                                 3222 BONNIE RD                                                                                 AUSTIN            TX    78703‐2704
MARY H WILKEWITZ                                12855 FIELDING                                                                                 DETROIT           MI    48223‐3321
MARY H WILKEWITZ & WILLIAM F WILKEWITZ JT TEN   12855 FIELDING                                                                                 DETROIT           MI    48223‐3321

MARY H WRIGHT                                   26 HILLTOP DR                                                                                  LE ROY            NY    14482‐1420
MARY H YOUNIE                                   6126 BROOKSIDE LANE                                                                            HOSCHTON          GA    30548
MARY H YUNGBLUTH                                3578 CADWALLADER SONK ROAD N E                                                                 CORTLAND          OH    44410‐9412
MARY HAGAN SELBY TR UA SELBY FAMILY TRUST       24921 MUIRLANDS BLVD # 8                                                                       LAKE FOREST       CA    92630‐4816
11/21/91
MARY HAL C HOAGLAND                             11108 FINCHLEY RD                                                                              LOUISVILLE       KY     40243‐1214
MARY HALAS & PATRICIA A WRIGHT JT TEN           35160 W 8 MILE #5                                                                              FARMINGTON HILLS MI     48335‐5164

MARY HALL                                       376 ESLEY LANE                                                                                 MANSFIELD         OH    44905‐2714
MARY HALL                                       375 TOOLTIME LANE                                                                              STURKIE           AR    72578
MARY HANKINS PEPLINSKI                          602 HUNTSVILLE ST                                                                              BERRYVILLE        AR    72616‐4205
MARY HANNEN                                     148 SE 63RD AVE                                                                                PORTLAND          OR    97215
MARY HANSON                                     32 PIKES POND ROAD                                                                             AVERILL           NY    12018‐4018
MARY HARBEN DEAN                                2089 RUGBY AVE                                                                                 COLLEGE PARK      GA    30337‐1836
MARY HARRISON                                   403 HOWARD AVE                                                                                 FRANKLIN SQUARE   NY    11010‐3342

MARY HARTLEY KING                               5 FOREST RIDGE COURT                                                                           ATLANTA           GA    30350‐1801
MARY HASELWOOD                                  1921 OAKRIDGE DRIVE                                                                            DAYTON            OH    45417‐2341
MARY HAUK                                       4949 OGLETOWN STANTON RD              APT 300                                                  NEWARK            DE    19713‐2071
MARY HAWKINS                                    2933 JONATHAN LANE                                                                             SHREVEPORT        LA    71108
MARY HAWTHORNE                                  1120 WASHINGTON BLVD                                                                           KANSAS CITY       KS    66102‐2964
MARY HAWTHORNE                                  2407 ETHEL AVE                                                                                 INDIANAPOLIS      IN    46208‐5526
MARY HAYS GILMORE TR UA 02/17/88 MARY HAYS      1113 HARVARD                                                                                   GROSSE POINTE     MI    48230‐1451
GILMORE TRUST                                                                                                                                  PARK
MARY HEALY AUMENTE & JEROME L AUMENTE JT TEN    617 SEVEN OAKS DRIVE                                                                           BENTONVILLE       VA    22610‐1878

MARY HEAZLETT & JAMES A HEAZLETT JT TEN        1906 TAMARACK LOOP                                                                              TWIN FALLS        ID    83301
MARY HELEN ADAMS CUST ERIN ADAMS BRANDT UGMA 73 CHETWOOD TERRACE                                                                               FANWOOD           NJ    07023‐1502
NJ
MARY HELEN BARNES & EUGENE A BARNES III EUGENE 7132 N VIA DE ALEGRIA                                                                           SCOTTSDALE        AZ    85258‐3823
& MARY HELEN BARNES
MARY HELEN BOLLING & BOBBY G BOLLING JT TEN    2647 KERRIA DR                                                                                  HOWELL            MI    48843‐6456

MARY HELEN CARLETON                             5033 ELMWOOD DR                                                                                PITTSBURGH        PA    15227‐3736
MARY HELEN COLE                                 201 S JEFFERSON ST                                                                             SAN ANGELO        TX    76901‐4024
MARY HELEN DELA TORRE                           6345 NORTH MARTY AVENUE                                                                        FRESNO            CA    93711‐0867
MARY HELEN ENGLAND                              ONE I AVENUE                                                                                   GAINESVILLE       GA    30504‐7111
MARY HELEN FREE DUNCAN                          106 GLENN PLACE                                                                                AIKEN             SC    29803‐5289
MARY HELEN JOINT                                6020 ROBIE RD                                                                                  SAVONA            NY    14879‐9632
                                            09-50026-mg                    Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                                Address2             Address3          Address4          City              State Zip

MARY HELEN KURTYKA                                13327 FAIRFAX RD                                                                                 HAGERSTOWN        MD    21742‐2641
MARY HELEN NIX LIFE TENANT U‐W GERTRUDE C         1810 SWAN LANE                                                                                   HARLINGEN         TX    78550‐4384
KINGSTON WITH POWER OF SALE
MARY HELEN PETERSON                               80 WOODGLEN COURT                                                                                OLDSMAR           FL    34677
MARY HELEN PURINTON                               4550 SE COUNTY RD 337                                                                            MORRISTON         FL    32668‐3551
MARY HELEN RUIZ                                   PO BOX 1264                                                                                      BRADY             TX    76825‐1264
MARY HELEN SAUNDERS                               BOX 127                                                                                          LEONARDTOWN       MD    20650‐0127
MARY HELEN SAVAGE                                 ATTN MARY HELEN SAVAGE HOLT             10494 S UNION RD                                         MIAMISBURG        OH    45342‐4620
MARY HERMAN COLE                                  36 GLENMORE DR                                                                                   DURHAM            NC    27707‐3980
MARY HERPE                                        APT 18J                                 350 W 24 ST                                              NEW YORK          NY    10011‐2236
MARY HERTZBERG                                    474 HOMEWOOD RD                                                                                  LOS ANGELES       CA    90049‐2729
MARY HESSLING                                     14997 CADILLAC DR                                                                                SHELBY TOWNSHIP   MI    48315‐2512

MARY HICKCOX LECKO                                13 PROSPECT ST EXT                                                                               TERRYVILLE        CT    06786‐5411
MARY HIGGINS & CHRISTOPHER HIGGINS JT TEN         798 QUEENSTON STREET                    WINNIPEG MB                            R3N 0X7 CANADA
MARY HIGGINS CASSIDY                              120 WALSH DR                                                                                     DUMONT            NJ    07628‐2630
MARY HILDITCH                                     58 SUMMER ST                                                                                     MANCHESTER        CT    06040‐4944
MARY HITCHINGS                                    20405 SILVENWOOD                                                                                 LAKEWOOD          CA    90715‐1255
MARY HITZGES                                      4758 BEACHRIDGE RD                                                                               LOCKPORT          NY    14094‐9640
MARY HLUHAN                                       214 TYROL DRIVE                                                                                  PITTSBURGH        PA    15227‐3536
MARY HOAR BOLGER MC CARTHY                        234 NESMTIH ST UNIT 4                                                                            LOWELL            MA    01052‐2844
MARY HOBLAK                                       16100 NORTH HAGGERTY RD                                                                          PLYMOUTH          MI    48170‐4857
MARY HOLMES                                       835 GRIFFIN ST                                                                                   TALLAHASSEE       FL    32304‐2242
MARY HOLSINGER DOWNEY                             2044 N HWY 55                                                                                    JAMESTOWN         KY    42629‐6635
MARY HOLZBACH WALSH                               18 SPRINGFIELD AVE #4F                                                                           CRANFORD          NJ    07016‐2165
MARY HOOK ARNY                                    205 RICHARDS STREET                                                                              FLORENCE          AL    35630
MARY HORNER YATES                                 2722 NO A ST                                                                                     ELWOOD            IN    46036‐1738
MARY HOSTETLER BRINSON                            36 HENRY ST                                                                                      CRANSTON          RI    02905‐2609
MARY HOUCK                                        503 51 ST NE                                                                                     WASHINGTON        DC    20019
MARY HOVANASIAN                                   4 CLAIRE RD                                                                                      AMESBURY          MA    01913‐2102
MARY HOWARD & CHRISTINE MARIE FRANKLIN JT TEN     36550 GRAND RIVER AVE                   APT 215                                                  FARMINGTN HLS     MI    48335

MARY HOWARD RYAN                              2122 E ELEANOR AVE                                                                                   SAINT PAUL        MN    55116‐1356
MARY HOWELL YARD                              75 WYNEDING HILL RD                                                                                  MANCHESTER        CT    06040‐6608
MARY HUGHES BOYLAN WARREN                     1105 DEVONSHIRE DR                                                                                   NEW BERN          NC    28562‐7219
MARY HURLEY CUST CONNOR HURLEY UGMA NY        93 MORRIS AVE                                                                                        BUFFALO           NY    14214‐1607
MARY HURLEY CUST CONOR WILLIAM HURLEY UGMA NY 93 MORRIS AVE                                                                                        BUFFALO           NY    14214‐1607

MARY HUSAK                                        5796 STONE GATE HTS                     APT 8                                                    JAMESVILLE        NY    13078‐4505
MARY HUSTON                                       645 NORTHFIELD                                                                                   PONTIAC           MI    48340‐1330
MARY I ANTOR                                      1216 CASTLE DR 32                                                                                FREMONT           MI    49412‐1843
MARY I BATEH CUST MICHAEL CHRIS BATEH UTMA FL     8224 WOODGROVE RD                                                                                JACKSONVILLE      FL    32256‐7317

MARY I BORR                                       3828 DIVISION AVE                                                                                WAYLAND           MI    49348‐9753
MARY I BRUNO                                      5884 BATSFORD DR                                                                                 DAYTON            OH    45459‐1414
MARY I BURTON                                     314 PATIO DR                                                                                     COLUMBIA          SC    29212‐2800
MARY I CAHL                                       235 LOUISIANA AVENUE                                                                             ELYRIA            OH    44035‐3428
MARY I CALKINS                                    2951 GROTH ROAD                                                                                  HOLLEY            NY    14470‐9312
MARY I ENDICOTT TR UA 02/14/94 MARY I ENDICOTT    25600 E 327 STREET                                                                               HARRISONVILLE     MO    64701‐7373
TRUST
MARY I FRASIER                                    4569 KAMS RD                                                                                     ALBION            NY    14411‐9338
MARY I FREEMAN                                    23 BARNSDALE LANE                       ST CATHARINES ON                       L2N 7J4 CANADA
MARY I GILLIUM                                    1641 N MISSISSIPPI AVE                                                                           LAUREL            MS    39440‐3180
MARY I GRIMA                                      8172 BLUEBUSH RD                                                                                 MAYBE             MI    48159‐9765
MARY I GURD TR GLENN J GURD & MARY I GURD TRUST   249 E NORTH ST                                                                                   HASTINGS          MI    49058‐1073
UA 08/01/01
MARY I HIGGINS                                    1235 ANGIER DRIVE                                                                                DAYTON            OH    45408‐2410
MARY I LEONE                                      2906 MOSS POINT DR                                                                               SHREVEPORT        LA    71119‐2615
MARY I LEWIS                                      8640 MACARTHUR BLVD                                                                              YPSILANTI         MI    48198‐3339
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Name                                             Address1                               Address2             Address3          Address4          City               State Zip

MARY I MCMAHON                                   4325 COLD SPRING CT                                                                             CUMMING            GA    30041‐5872
MARY I PYTLIK                                    5748 SARAH AVE                                                                                  WARREN             OH    44483‐1159
MARY I RACINE                                    1103 LIBERTY GROVE RD                                                                           CONOWINGO          MD    21918‐1913
MARY I SATTERTHWAITE                             BOX 31                                                                                          BUCK HILL FALLS    PA    18323‐0031
MARY I SCHELER                                   10801 LA GRANGE AVE 2                                                                           WEST LOS ANGELES   CA    90025‐4620

MARY I WHITE                                     PO BOX 81                                                                                       WESTBROOK       CT       06498‐0081
MARY IANNOLI                                     16 CHAPEL ST                           UNIT B                                                   NEWPORT         RI       02840‐3254
MARY INGRAM                                      6717 ARLINGTON DR                                                                               WEST BLOOMFIELD MI       48322‐2718

MARY INTERLICHIA                                 7 SUDBURY DR                                                                                    ROCHESTER          NY    14624
MARY IPPOLITO                                    9 MAWAL DR                                                                                      CEDAR GROVE        NJ    07009‐1416
MARY IRBY                                        306 RELIANCE WAY                                                                                DACULA             GA    30019‐6589
MARY IRENE AYERS                                 1611 KENILWORTH AVE                                                                             COSHOCTON          OH    43812‐2432
MARY ISAACS CUST ALEXA ISAACS UTMA GA            135 LOWER MEIGS ROAD                                                                            MOULTRIE           GA    31768‐0495
MARY ISAACS CUST AUSTIN DAVID UTMA FL            8533 HEATHCLIFF COURT                                                                           TALLAHASSEE        FL    32312‐3174
MARY ISAACS CUST AUSTIN DAVID UTMA GA            5361 PARIS PIKE                                                                                 LEXINGTON          KY    40511‐9402
MARY ISAACS CUST EMILY DAVID UTMA FL             8533 HEATHCLIFF COURT                                                                           TALLAHASSEE        FL    32312‐3174
MARY ISAACS CUST EMILY DAVID UTMA GA             5361 PARIS PIKE                                                                                 LEXINGTON          KY    40511‐9402
MARY ISAACS CUST HARRISON ISAACS UTMA GA         135 LOWER MEIGS ROAD                                                                            MOULTRIE           GA    31768‐0495
MARY ISABEL STATLER TR UA 03/15/84 MARY ISABEL   22406 COVE HOLLOW DRIVE                                                                         KATY               TX    77450
STATLER LIVING TRUST
MARY IVES MAXWELL PUGH                           128 S HILLTOP RD                                                                                BALT               MD    21228‐5219
MARY IVEY                                        11991 COVERSTONE HILL CIR              APT 1522                                                 MANASSAS           VA    20109‐7528
MARY J ALDRICH                                   2090 ROCK SPRINGS ROAD                                                                          COLUMBIA           TN    38401‐7421
MARY J ANGLIN                                    7801 MASTERS DR                                                                                 SHREVEPORT         LA    71129‐4119
MARY J AUSTIN TR JOHN D & MARY JEAN AUSTIN       1216 APPLETON WAY                                                                               VENICE             CA    90291‐2915
EXEMPTION TRUST UA 03/14/00
MARY J BANDY                                     415 BILTMORE DRIVE                                                                              INKSTER         MI       48141‐1389
MARY J BANMAN                                    9 WESLEY DR                            APT F                                                    ASHEVILLE       NC       28803‐2079
MARY J BARONE                                    APT 109                                1728 EMPIRE BLVD                                         WEBSTER         NY       14580‐2145
MARY J BECK                                      721 MANISTIQUE AVE                                                                              SOUTH MILWAUKEE WI       53172‐3231

MARY J BERRY                                     91 SANDSTONE LN                                                                                 MILL HALL          PA    17751‐8313
MARY J BETZ                                      1768 W KALAMO                                                                                   CHARLOTTE          MI    48813‐9596
MARY J BINDOS & MARIE R ZULKEY JT TEN            36433 BRIARCLIFF RD                                                                             STERLING HEIGHTS   MI    48312‐2709

MARY J BLASSINGALE                               1257 ATOKAD PARK                                                                                LEXINGTON          KY    40517‐3138
MARY J BOLES                                     C/O ROSANNA K MILLS                    3560 S 562 EAST                                          BRINGHURST         IN    46913‐9451
MARY J BONNETTE                                  3709 97 TERR NORTH                                                                              PINELLAS PARK      FL    33782‐4050
MARY J BONNEY                                    3755 AUBURN N E                                                                                 GRAND RAPIDS       MI    49525‐2237
MARY J BRADSHAW                                  PO BOX 452                                                                                      BRIDGEPORT         MI    48722‐0452
MARY J BROULLON                                  PO BOX 151                                                                                      RUSHLAND           PA    18956‐0151
MARY J BROWN                                     13401 HOLLAND RD                       APT 2E                                                   BROOK PARK         OH    44142‐3911
MARY J BRUCE & HELEN Y MILLER JT TEN             8240 CAMPBELL CT                                                                                HEMET              CA    92545‐9316
MARY J BURTIS                                    4101 SHERIDAN RD LOT 597                                                                        LENNON             MI    48449‐9432
MARY J BYRNE                                     2099 FOREST AVE #528                                                                            STATEN ISLAND      NY    10303‐2239
MARY J CAMPBELL                                  805 SUFFOLK DR                                                                                  JANESVILLE         WI    53546‐1823
MARY J CANNOLES TOD ROSEANNA M ALARCON           182 WEBBER AVE                                                                                  SLEEPY HOLLOW      NY    10591
SUBJECT TO STA TOD RULES
MARY J CARPENTER                                 5100 E HOLLAND RD                                                                               SAGINAW            MI    48601‐9470
MARY J CARR                                      1117 HEATHERWOOD DR                                                                             INDIANAPOLIS       IN    46241‐1822
MARY J CARTELLONE                                8728 FALLS LANE                                                                                 BROADVIEW HEI      OH    44147‐1712
MARY J CARTER                                    6879 TIGER RD                                                                                   PIERCE CITY        MO    65723
MARY J CARTER                                    3096 W 50 S                                                                                     KOKOMO             IN    46902‐5828
MARY J CASWELL                                   4063 MEIGS                                                                                      WATERFORD          MI    48329‐2172
MARY J CHAMPION                                  5480 TIPPERARY LN                                                                               FLINT              MI    48506‐2265
MARY J CLARK                                     426 TIKTIN DR                                                                                   CHATTANOOGA        TN    37415‐5115
MARY J CLARK                                     PO BOX 233                                                                                      WARRIORS MARK      PA    16877‐0233
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Name                                                Address1                               Address2                Address3       Address4          City            State Zip

MARY J COCCIA                                       45 FARLEY RD                                                                                    ROCHESTER       NY    14621‐1103
MARY J COKER                                        510 E GRAND AVE                        APT 1113                                                 RAINBOW CITY    AL    35906‐6258
MARY J COLNAR                                       3003 COVERED BRIDGE WAY                                                                         JOLIET          IL    60435‐0614
MARY J COLOSIMO                                     7577 ELAINE DR                                                                                  IRWIN           PA    15642‐2729
MARY J CONNOLLY                                     THE DEVON #1502                        2401 PENNSYLVANIA AVE                                    WILMINGTON      DE    19806‐1401
MARY J COSTELLO                                     5614 COLUMBIAVILLE RD                                                                           COLUMBIAVILLE   MI    48421‐8939
MARY J CRAWFORD                                     8701 S KOLB RD #5‐304                                                                           TUCSON          AZ    85706‐9607
MARY J DANKO                                        PO BOX 10182                                                                                    DETROIT         MI    48210‐0182
MARY J DATZ                                         9306 COUNTRY CLUB LN                                                                            DAVISON         MI    48423‐8357
MARY J DAY                                          7735 SILVER LAKE RD APT 111                                                                     MOUNDS VIEW     MN    55112‐4349
MARY J DECKER                                       104 ARROWGRASS CIR                                                                              MOYOCK          NC    27958‐8641
MARY J DORAN                                        7184 HOGAN AVE                                                                                  LIMA            NY    14485‐9465
MARY J DOWDY                                        PO BOX 716                                                                                      CLEVELAND       GA    30528‐0012
MARY J DULL                                         1910 GREEN VALLEY DR                   APT 1                                                    JANESVILLE      WI    53546‐4115
MARY J EASTMAN                                      20833 GRANDVILLE RD                                                                             BIG RAPIDS      MI    49307‐8842
MARY J ELLIOTT                                      2410 SHANMOOR AVE                                                                               NORWOOD         OH    45212‐3939
MARY J FAERBER                                      7405 MIRANO DR                                                                                  GOLETA          CA    93117‐1217
MARY J FAERBER & JO ANN FAERBER JT TEN              7405 MIRANO DR                                                                                  GOLETA          CA    93117‐1217
MARY J FERRETT                                      178 GLENWOOD DR                                                                                 HUBBARD         OH    44425‐2166
MARY J FILIATRAULT TR MARY J FILIATRAULT TRUST UA   6512 ENGEL DR                                                                                   MC LEAN         VA    22101‐4604
10/26/97
MARY J FINK                                         4331 BRIDGESIDE PLACE                                                                           NEW ALBANY      OH    43054‐7053
MARY J FOOTE CUST AMANDA SATTERFIELD UGMA MI        3144 BENT CREEK DR                                                                              VALRICO         FL    33594‐8289

MARY J FOOTE CUST ELIZABETH OTT UGMA MI             514 LABIAN DR                                                                                   FLUSHING        MI    48433‐1786
MARY J FOOTE CUST JEFFREY HOLALY UGMA MI            6180 LISMORE CIRCLE                                                                             GRAND BLANC     MI    48439‐2320
MARY J FOOTE CUST KIMBERLY SATTERFIELD UGMA MI      3144 BENT CREEK DR                                                                              VALRICO         FL    33594‐8289

MARY J FOOTE CUST LORI HOLALY UGMA MI               6180 LISMORE CIRCLE                                                                             GRAND BLANC     MI    48439‐2320
MARY J FOOTE CUST MICHAEL OTT UGMA MI               514 LABIAN DR                                                                                   FLUSHING        MI    48433‐1786
MARY J FOOTE CUST SARA HOLALY UGMA MI               6180 LIZMORE CIRCLE                                                                             GRAND BLANC     MI    48439‐8680
MARY J FRENCH                                       209 MORNING DEW COURT                                                                           ST PETERS       MO    63376‐3864
MARY J GILLIAM                                      417 W LAPEER                                                                                    LANSING         MI    48933‐1105
MARY J GIUFFRE                                      1060 N HAGUE AVE                                                                                COLUMBUS        OH    43204‐2124
MARY J GLORIOSO                                     PO BOX 681                                                                                      PLAINVILLE      CT    06062‐0681
MARY J GOUVEIA & CELESTINO GOUVEIA TR GOUVEIA       5351 EL CAMINITO CT                                                                             CASTRO VALLEY   CA    94546‐1529
FAMILY TRUST UA 08/01/91
MARY J GREENWOOD                                    24139 ROBINWOOD ST                                                                              LEESBURG        FL    34748‐7897
MARY J GUTTRIDGE                                    1 OVERLOOK ROAD                                                                                 ARDSLEY         NY    10502‐1408
MARY J HALE                                         ATTN MARY H BANCROFT                   276 CHESHIRE TPKE                                        LANGDON         NH    03602‐8608
MARY J HARDWICK                                     3425 E LORETTA DR                                                                               INDIANAPOLIS    IN    46227‐7766
MARY J HARNISH                                      905 EAST MILE 2 RD                                                                              MISSION         TX    78574‐1715
MARY J HARRINGTON                                   5981 SOUTHWOOD DR                                                                               LOCKPORT        NY    14094‐9269
MARY J HARTY                                        2820 SCARSBOROUGH DR                                                                            RICHMOND        VA    23235‐2246
MARY J HAWKINS                                      842 ROMINE ROAD                                                                                 ANDERSON        IN    46011‐8704
MARY J HEBERT                                       17231 BEECHWOOD                                                                                 BEVERLY HILLS   MI    48025‐5521
MARY J HENK                                         10500 E LOST CANYON DR LOT 15                                                                   SCOTTSDALE      AZ    85255‐4455
MARY J HOLT                                         386 MT WAYTE AVE                                                                                FRAMINGHAM      MA    01702‐5707
MARY J HOWE                                         PO BOX 46                                                                                       AHMEEK          MI    49901‐0046
MARY J HUBERT                                       4585 SHAGBARK LANE                                                                              BROOKFIELD      WI    53005
MARY J JACKSON                                      846 SOMERSET DRIVE                                                                              CHARLESTON      WV    25302‐2714
MARY J JENNI                                        12169 SE 172ND LN                                                                               SUMMERFIELD     FL    34491‐1835
MARY J JENNINGS                                     106 BENNETT CT                                                                                  RICHMOND        KY    40475‐1105
MARY J JOHNIKEN                                     2216 CANDY LANE                                                                                 DEL CITY        OK    73115‐4016
MARY J JOHNSTON                                     360 KNOB                                                                                        SPARTA          MI    49345‐1421
MARY J JONCAS                                       1627 HAYDEN AVE                                                                                 ALTOONA         WI    54720‐1616
MARY J JOYCE                                        5 UNDERWOOD AVE                                                                                 BOYLSTON        MA    01505‐1709
MARY J KANKULA                                      91 FRANKLIN ST                                                                                  NORTHPORT       NY    11768‐3060
MARY J KEEL                                         220 LOMA VISTA PL                                                                               EL CAJON        CA    92021‐4234
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Name                                               Address1                               Address2             Address3          Address4          City               State Zip

MARY J KINTZ & WILLIAM E KINTZ JT TEN              1233 LINWOOD AVE SW                                                                             NORTH CANTON       OH    44720‐3440
MARY J KIRK                                        PO BOX 308                                                                                      AURORA             OR    97002‐0308
MARY J KNUCKEY                                     1271 GUILFORD RD                                                                                ELDERSBURG         MD    21784‐8862
MARY J KOLIBA                                      5494 ACORN LANE                                                                                 STERLING HEIGHTS   MI    48314‐3163

MARY J KRISKO TR JOHN KRISKO JR REVOCABLE TRUST 25 N POPLAR                                                                                        MANTENO            IL    60950‐1035
UA 10/27/99
MARY J LAUBACKER                                5436 SAUND SETTLMT                                                                                 LOCKPORT           NY    14094
MARY J LEE                                      817 SE 13TH ST                                                                                     MOORE              OK    73160‐7257
MARY J LEWIS                                    2864 W 900 S                                                                                       PENDLETON          IN    46064‐9531
MARY J LINDHOLM                                 622 CEDAR DR                                                                                       CORTLAND           OH    44410‐1326
MARY J LOCKRIDGE GOLDBERG                       1530 COOLEY ST                            APT 18                                                   MISSOULA           MT    59802‐1932
MARY J LYNCH                                    6905 ORCHARD KNOLL DR                                                                              APEX               NC    27502‐7175
MARY J MACINO                                   R D 3 BOX 20                                                                                       SALEM              WV    26426‐9202
MARY J MACK                                     515 ENGLEWOOD                                                                                      DETROIT            MI    48202‐1108
MARY J MALLETT                                  2305 BURTON ST SE APT 433                                                                          GRAND RAPIDS       MI    49506‐4644
MARY J MARTIN                                   1529 LEXINGTON AVENUE                                                                              DAYTON             OH    45407‐1637
MARY J MC CLURE                                 1040 CHESTATEE RD NW                                                                               GAINESVILLE        GA    30501‐2812
MARY J MC GONAGLE                               56 WHITMAN AVE                                                                                     MELROSE            MA    02176‐5622
MARY J MC LAUGHLIN                              496 WESTWINDS                                                                                      ALMONT             MI    48003‐8931
MARY J MC LEARN                                 C/O MARY MANSOUR                          236 BEECHVIEW DR S                                       ROCHESTER          MI    48306‐2804
MARY J MCCLURE                                  6851 LANSING RD                                                                                    PERRY              MI    48872‐8707
MARY J MCGAUGHY                                 12300 W CR 1050 N                                                                                  GASTON             IN    47342‐9250
MARY J MCKNIGHT                                 594 BRAEMOR COURT                         OSHAWA ON                              L1J 2X8 CANADA
MARY J MCLAUGHLIN                               1003 S 8TH AVE APT 1                                                                               LAGRANGE           IL    60525‐6940
MARY J MELLON                                   PO BOX 73                                                                                          MILAN              OH    44846‐0073
MARY J MELTON                                   16702 LAHSER RD APT 14                                                                             DETROIT            MI    48219‐3806
MARY J MIKANOVICH TR MIKANOVICH FAM TRUST CVTT 110 CROMWELL CT                                                                                     SUMMERVILLE        SC    29485‐3451
UA 11/10/98
MARY J MIKUSI                                   C/O MARY MIKUSI ALFONSE                   224 NATRONA AVE                                          TRENTON            NJ    08619‐4216
MARY J MILLER                                   23 WEST MOHAWK STREET                                                                              OSWEGO             NY    13126‐2323
MARY J MILLER                                   5804 MARION AVE                                                                                    KANSAS CITY        MO    64133‐7603
MARY J MILNE                                    1817 WATERMARK DR SE                                                                               GRAND RAPIDS       MI    49546
MARY J MOON                                     4331 BRIDGESIDE PL                                                                                 NEW ALBANY         OH    43054‐7053
MARY J MOONEY                                   107 DRIFTWOOD CIR                                                                                  PRUDENVILLE        MI    48651‐9403
MARY J MORA & CHARLES C MORA JT TEN             540 BURROUGHS AVE                                                                                  FLINT              MI    48507‐2713
MARY J MORA & DIANA M MAUL JT TEN               540 BURROUGHS AVE                                                                                  FLINT              MI    48507‐2713
MARY J MORA & JEFFREY P MORA JT TEN             540 BURROUGHS AVE                                                                                  FLINT              MI    48507‐2713
MARY J MORA & JOHN S MORA JT TEN                540 BURROUGHS AVE                                                                                  FLINT              MI    48507‐2713
MARY J MORA & MARK G MORA JT TEN                540 BURROUGHS AVE                                                                                  FLINT              MI    48507‐2713
MARY J MORA & MARTIN D MORA JT TEN              540 BURROUGHS AVE                                                                                  FLINT              MI    48507‐2713
MARY J MORA & MICHAEL J MORA JT TEN             540 BURROUGHS AVE                                                                                  FLINT              MI    48507‐2713
MARY J MORA & RITA E MORA JT TEN                540 BURROUGHS AVE                                                                                  FLINT              MI    48507‐2713
MARY J MORA & STEVEN C MORA JT TEN              540 BURROUGHS AVE                                                                                  FLINT              MI    48507‐2713
MARY J MUDD & NORMAN L MUDD JT TEN              2338 HUNTSVILLE RD                                                                                 PENDLETON          IN    46064‐8733
MARY J MUNDO                                    2180 HOWLAND WILSON RD NE                                                                          WARREN             OH    44484‐3921
MARY J MURRIN                                   2243 OAKWOOD LN                                                                                    ABILENE            TX    79605‐5755
MARY J MUSCATO                                  81 BRISTOL STREET                                                                                  CANANDAIGUA        NY    14424‐1644
MARY J NAIMISH                                  655 SAVOY STREET                                                                                   SAN DIEGO          CA    92106‐2817
MARY J NAIMISH & R BRUCE AMBAGTSHEER JT TEN     655 SAVOY STREET                                                                                   SAN DIEGO          CA    92106‐2817

MARY J NAUYOKS EXC EST PRISCILLA E PENICK          12313 STATE ROUTE 725                                                                           GERMANTOWN         OH    45327‐9758
MARY J NELSON                                      2718 PRESIDENT LANE                                                                             KOKOMO             IN    46902
MARY J O'ROURKE CUST MATTHEW J O'ROURKE UTMA       353 GOLFVIEW CT                                                                                 MURFREESBORO       TN    37127
TN
MARY J O'ROURKE CUST MOLLY T O'ROURKE UTMA TN      353 GOLFVIEW CT                                                                                 MURFREESBORO       TN    37127

MARY J OLIVER TR JENNIE STINSO TRUST UA 01/12/02   45248 DUNBARTON DRIVE                                                                           NOVI               MI    48375‐3807
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Name                                            Address1                             Address2             Address3           Address4          City            State Zip

MARY J OLSON                                    22 6TH ST                                                                                      LE MARS         IA    51031
MARY J PANNUNZIO                                211 KING'S LN                                                                                  CANFIELD        OH    44406‐1681
MARY J PARK                                     ATTN MARY J BALAGNA                  PO BOX 172                                                COMINS          MI    48619‐0172
MARY J PATTERSON                                127 N WALNUT ST                                                                                BOYERTOWN       PA    19512‐1018
MARY J PEMBERTON                                RR 1 BOX 163B                                                                                  LA CYGNE        KS    66040‐9741
MARY J PETERMAN                                 24 PLEASANT ST                                                                                 ROCKPORT        MA    01966‐2156
MARY J PHELPS & SCOTT V PHELPS JT TEN           4173 E FRANCES RD                                                                              MOUNT MORRIS    MI    48458‐8710
MARY J POWELL TR THE MARY J POWELL FAM TRUST UA 140 W UNIVERSITY DR                  #8                                                        MESA            AZ    85201‐5818
06/22/95
MARY J POZDENA & JAN M POZDENA JT TEN           8 OLDEFIELD FARMS ROAD                                                                         ENFIELD         CT    06082
MARY J POZDENA & MISS GWENDOLYN H POZDENA JT 8 OLDEFIELD FARMS ROAD                                                                            ENFIELD         CT    06082
TEN
MARY J POZDENA & RANDALL J POZDENA JT TEN       8 OLDEFIELD FARMS ROAD                                                                         ENFIELD         CT    06082
MARY J PRICE                                    708 REDWAY CIR                                                                                 DAYTON          OH    45426‐2753
MARY J PRZYBYLKO                                54 JENNINGS ROAD                                                                               BRISTOL         CT    06010‐3543
MARY J PYKE                                     508 E LOCUST                                                                                   MECHANICSBURG   PA    17055‐6503
MARY J RAINGE                                   31 LOCUST RD                                                                                   CHELMSFORD      MA    01824‐3848
MARY J RAMSAY                                   84 NORTH RD                                                                                    BEDFORD         MA    01730‐1023
MARY J RAY                                      409 SPRINGWOOD PL                                                                              MARIETTA        GA    30062
MARY J REMPALA                                  15587 HANFOR                                                                                   ALLEN PARK      MI    48101‐2709
MARY J RICHARDS                                 224 N EAST                                                                                     BETHEL          OH    45106
MARY J ROACH                                    205 HERITAGE DRIVE                                                                             ROCHESTER       NY    14615‐1157
MARY J RUBAR                                    C/O GILES MARSH GOODWIN &            STONE P C            255 STATE STREET                     CARTHAGE        NY    13619‐1427
MARY J RUFFNER                                  10540 1/2 BEARD RD                                                                             YOUNGSTOWN      OH    44514‐3046
MARY J RUSK                                     6043 TURNER HILL ROAD                                                                          WOODSTOCK       GA    30188‐1921
MARY J RUSSO                                    208 HILLVIEW AVE NE                                                                            GRAND RAPIDS    MI    49503‐3825
MARY J S BRIDGES                                149 BROOKWOOD LANE                                                                             TAYLORSVILLE    NC    28681‐7678
MARY J SAILOR                                   126 SE ALPINE LN                                                                               COLLEGE PLACE   WA    99324
MARY J SALO                                     15722 LEIGH ELLEN                                                                              CLEVELAND       OH    44135‐1342
MARY J SCHELL                                   219 W 66TH ST                                                                                  KANSAS CITY     MO    64113‐1829
MARY J SCHMIDLIN                                728 DONGAN AVENUE                                                                              SCHENECTADY     NY    12302
MARY J SCHMIDT                                  4416 STAUNTON RD                                                                               EDWARDSVILLE    IL    62025‐6742
MARY J SCOTT                                    1001 LAKESHORE DR                                                                              WENDELL         NC    27591‐8641
MARY J SELTZER                                  4300 N KENNETH DRIVE                                                                           PENSACOLA       FL    32503‐2471
MARY J SHARP TR MARY J SHARP TRUST UA 12/19/98  427 EAST 3RD ST                                                                                PERU            IN    46970‐2501

MARY J SHELBY                                   6609 FLEMING RD                                                                                FLINT            MI   48504‐1660
MARY J SHELTON                                  16005 WEST 139TH ST                                                                            LOCKPORT         IL   60491‐7491
MARY J SHETTLER                                 301 MYER COENERS RD                                                                            WAPPINGERS FALLS NY   12590

MARY J SHROBA                                   403 TONELLI TRL                                                                                LOCKPORT       IL     60441‐3343
MARY J SINGLETON                                14166 BRAMELL ST                                                                               DETROIT        MI     48223‐2527
MARY J SMITH                                    5029 ESTA DR                                                                                   FLINT          MI     48506‐1572
MARY J SNYDER                                   2415 AURELIUS RD                     APT 23                                                    HOLT           MI     48842
MARY J SOUSA                                    6065 TAYLOR RIDGE DR                                                                           WEST CHESTER   OH     45069‐1989
MARY J STEWARD                                  ATTN MARY JANE CLELAND               790 MARLOW PL                                             MANSFIELD      OH     44906‐3038
MARY J STRICKLAND                               3461 EIGHT MILE ROAD                                                                           CALEDONIA      WI     53108‐9757
MARY J SUKET                                    38 ALROY ROAD                                                                                  SOUTH WEYMOUTH MA     02190‐1621

MARY J TAYLOR                                   4722 S 750 E                                                                                   KOKOMO          IN    46902‐9201
MARY J TREMITI                                  102 COLLENTON DR                                                                               ROCHESTER       NY    14626‐4431
MARY J VANHOLSTEYN TOD DENNIS P MULLARKEY       682 RUDOLPH WEIR JR RD                                                                         EARLTON         NY    12058‐4408
MARY J VARGAS‐SCHULTZ                           3715 BRISTOW RD                                                                                BRISTOW         IN    47515
MARY J VERHAGEN CUST CECELIA M KAEDER UTMA WI   2695 LOLA DR                                                                                   GREEN BAY       WI    54301‐1818

MARY J VIRGIN                                   7021 BENNETT LAKE ROAD                                                                         FENTON          MI    48430‐9005
MARY J WACHEK                                   14180 CHEROKEE TRL                                                                             CLEVELAND       OH    44130‐6636
MARY J WALKER                                   4038 SPRUCE                                                                                    INKSTER         MI    48141‐2924
MARY J WALLACE                                  PO BOX 24105                                                                                   LITTLE ROCK     AR    72221‐4105
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Name                                              Address1                              Address2              Address3         Address4          City               State Zip

MARY J WALLACE & JAMES L WALLACE JT TEN          1874 ENTERPRISE                                                                                 TROY               MI    48083‐1808
MARY J WALLS                                     178 N TENNESSEE                                                                                 DANVILLE           IN    46122‐1226
MARY J WATSON                                    69 GIRARD PLACE                                                                                 BUFFALO            NY    14211‐1215
MARY J WATSON                                    PO BOX 213                                                                                      CLERMONT           GA    30527‐0213
MARY J WEATHERS & MILDRED L ALLEN JT TEN         PO BOX 85                              7334 NELSON STREET                                       SUTTER             CA    95982‐2404
MARY J WEAVER                                    402 N HIGH ST                                                                                   MARTINSBURG        WV    25401‐4521
MARY J WESELI                                    711 DUKE STREET                                                                                 RICE LAKE          WI    54868‐1409
MARY J WHITE                                     915 E COURT ST                         APT 308                                                  FLINT              MI    48503‐2084
MARY J WHITWORTH                                 3405 BURTON PL                                                                                  ANDERSON           IN    46013‐5243
MARY J WIK                                       38201 14 MILE RD                                                                                FARMINGTON HL      MI    48331‐5958
MARY J WILLIAMS                                  ATTN MARY J MARAGOS                    2277 PINE FOREST CT                                      LAS VEGAS          NV    89134‐6023
MARY J WILSON                                    426 N 17TH ST                                                                                   SEBRING            OH    44672‐1210
MARY J YOUNG                                     9717 S SPRINGFIELD AVE                                                                          EVERGREEN PK       IL    60805‐2935
MARY J ZISSLER                                   109 JEFFERSON DRIVE                                                                             FRANKLIN           TN    37064‐2031
MARY J ZOIA                                      5919 CENTERVILLE RD APT 329                                                                     NORTH OAKS         MN    55127‐6832
MARY JACKSON                                     4094 KLEPINGER RD                                                                               DAYTON             OH    45416‐2139
MARY JANE ADDISON TR MARY JANE ADDISON LIVING 1395 CHELMSFORD ST                                                                                 ST PAUL            MN    55108‐1404
TRUST UA 11/21/95
MARY JANE ALLEY                                  526 W WASHINGTON ST                                                                             WINCHESTER         IN    47394‐1511
MARY JANE BALLOU                                 311 B RADIO PARK                                                                                RICHMOND           KY    40475‐2399
MARY JANE BEATTY                                 PO BOX 546                                                                                      GROVE CITY         PA    16127‐0546
MARY JANE BEAUMONT                               28230 W CHICAGO                                                                                 LIVONIA            MI    48150‐3245
MARY JANE BELHA                                  BOX 277                                                                                         OREGON             IL    61061‐0277
MARY JANE BELL                                   536 N DE SALES ST                                                                               SAN GABRIEL        CA    91775‐2136
MARY JANE BENTON                                 30405 SOLON RD                         STE 14                                                   SOLON              OH    44139‐3432
MARY JANE BEYER                                  15885 CLIFFBROOK CT                                                                             DUMFRIES           VA    22026‐1608
MARY JANE BEYER & MARJORIE A BEYER JT TEN        15885 CLIFFBROOK CT                                                                             DUMFRIES           VA    22026‐1608
MARY JANE BIELEFELD                              141 BROADMOOR DR                                                                                TONAWANDA          NY    14150‐5570
MARY JANE BILLS                                  PO BOX 397                                                                                      FABENS             TX    79838‐0397
MARY JANE BOUTIN TR MARY JANE BOUTIN REV TRUST 34174 TUDOR CT                                                                                    STERLING HEIGHTS   MI    48312‐5674
07/05/00
MARY JANE BRAY                                   5277 STATE HIGHWAY 49 N                SPC 53                                                   MARIPOSA           CA    95338‐9569
MARY JANE BRYANT                                 81 LAKE STREET                                                                                  PERRY              NY    14530‐1430
MARY JANE BRYANT CUST RYAN BRYANT UGMA NY        81 LAKE ST                                                                                      PERRY              NY    14530‐1430
MARY JANE BULGER                                 25747 YEOMAN DRIVE                                                                              WESTLAKE           OH    44145‐4745
MARY JANE BURT                                   702 MCNEILL RD                                                                                  SILVER SPRING      MD    20910‐5543
MARY JANE BUSCH                                  9103 BROWN AUSTIN RD                                                                            FAIRDALE           KY    40118‐9553
MARY JANE CARDER & FRANK CARDER JR JT TEN        5 OAKRIDGE LN                                                                                   SEARCY             AR    72143‐8954
MARY JANE CARR                                   8573 CICERO RD                                                                                  HICKSVILLE         OH    43526
MARY JANE CARROLL                                C/O STEPHEN L CARROLL                  15845 SHADYSIDE DR                                       LIVONIA            MI    48154‐2935
MARY JANE CARROLL & STEPHEN LOUIS CARROLL JT TEN 15845 SHADYSIDE DR                                                                              LIVONIA            MI    48154‐2935

MARY JANE CHURCH BEASLEY                          902 MERCER COURT                                                                               COLUMBIA           TN    38401‐3010
MARY JANE CLAY & HENRY BERNARD CLAY JT TEN        1475 LONGFELLOW 3RD FLOOR                                                                      DETROIT            MI    48206‐2047
MARY JANE CONNER                                  103 CANYON VIEW CT                                                                             WEATHERFORD        TX    76087‐7999
MARY JANE DECK                                    202 NEWLAND ST                                                                                 CADILLAC           MI    49601‐9239
MARY JANE DESSABLES                               725 MILLER AVE #137                                                                            FREEPORT           NY    11520
MARY JANE DIFAZIO                                 81 ST MARKS LANE                                                                               ISLIP              NY    11751‐4116
MARY JANE DIXON                                   15802 BUCCANEER LANE                                                                           HOUSTON            TX    77062‐4423
MARY JANE DROTT                                   2017 DALLAS AVE                                                                                CINCINNATI         OH    45239‐4752
MARY JANE DUCAS                                   129 NORTH HIGHLAND AVENUE                                                                      OSSINING           NY    10562‐3304
MARY JANE EDGEMON                                 23456 GROSSLEY                                                                                 HAZEL PARK         MI    48030
MARY JANE ELLIOTT & BARRY LEE ELLIOTT JT TEN      743 HARVEY ST                                                                                  BALTIMORE          MD    21230‐5114
MARY JANE ESTES TR UA 08/14/1987 ESTES FAMILY     5340 RIGA HWY                                                                                  BLISSFIELD         MI    49228
LIVING TRUST
MARY JANE GREEN                                   1421 SOUTH H ST                                                                                ELWOOD             IN    46036‐2369
MARY JANE HALLIDAY                                BOX 2585                                                                                       SPARTANBURG        SC    29304‐2585
MARY JANE HARDEN                                  46 LATHAM RIDGE ROAD                                                                           LATHAM             NY    12110‐3033
MARY JANE HARRISON                                6323 HEITZLER AVE                                                                              CINCINNATI         OH    45224‐1929
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Name                                              Address1                           Address2             Address3          Address4          City            State Zip

MARY JANE HAYES                                   25B LOWRY COURT                                                                             CLIFTON         NJ    07012‐1321
MARY JANE HEISS & WILLIAM EUGENE HEISS JT TEN     6009 WALLEN AVE                                                                             FORT WORTH      TX    76133‐3611

MARY JANE HENSLEIGH                              737 HYDE STREET                     APT 105                                                  SAN FRANCISCO   CA    94109‐5917
MARY JANE HORNUNG                                5137 RIDGEVIEW DRIVE                                                                         HARRISBURG      PA    17112‐2430
MARY JANE HOWELL                                 9913 ILTIS DRIVE                                                                             URBANDALE       IA    50322‐8405
MARY JANE JAPUNCHA                               8174 ENGLEWOOD N E                                                                           WARREN          OH    44484‐1967
MARY JANE JOHNSTONE                              5257 D COLDWATER CANYON                                                                      VAN NUYS        CA    91401‐6127
MARY JANE JORDAN                                 1734 EARMONT                                                                                 BERKLEY         MI    48072‐2160
MARY JANE KARGER                                 127 W 79TH ST                                                                                NY              NY    10024‐6401
MARY JANE KOSMALSKI                              PO BOX 145                                                                                   CAPAC           MI    48014‐0145
MARY JANE KUZILA                                 3737 B ST                                                                                    LINCOLN         NE    68510‐3533
MARY JANE KUZILA & MARK KUZILA JT TEN            3737 B                                                                                       LINCOLN         NE    68510‐3533
MARY JANE LAING                                  158 MT VERNON RD                                                                             SNYDER          NY    14226‐4322
MARY JANE LANE & CAROLYN BROWN JT TEN            6911 N OSCEOLA                                                                               CHICAGO         IL    60631‐1139
MARY JANE LANE & MADALYN LANE REDINI JT TEN      6911 N OSCEOLA                                                                               CHICAGO         IL    60631‐1139
MARY JANE LEWIS                                  7018 W STATE ST                                                                              WAUWATOSA       WI    53213‐2728
MARY JANE LOVELL                                 9245 BROOKWATER CIRCLE                                                                       COLLEGE STA     TX    77845
MARY JANE LUNDER                                 9552 DEER RDG                                                                                MENTOR          OH    44060‐1698
MARY JANE M FLETCHER TR UA 07/31/89 THE FLETCHER 1727 ALTA LA JOLLA DR                                                                        LA JOLLA        CA    92037‐7103
TRUST
MARY JANE MALUGIN                                PO BOX 23571                                                                                 KNOXVILLE       TN    37933‐1571
MARY JANE MARCHAND                               11507 E SALMON                                                                               FLORAL CITY     FL    34436‐5427
MARY JANE MAYO                                   1311 GLENCOE RD                                                                              GLENCOE         MD    21152‐9353
MARY JANE MCKEY                                  5643 GREEN CIRCLE DR                                                                         MINNETONKA      MN    55343‐9087
MARY JANE MCWHORTER & GLENN M MCWHORTER JT PO BOX 444                                                                                         LOUISA          VA    23093‐0444
TEN
MARY JANE MESSING                                383 OLD 51                                                                                   CARSONVILLE     MI    48419‐9425
MARY JANE METZGER                                5259 RIVER CLUB DR                                                                           SUFFOLK         VA    23435
MARY JANE MOBLEY                                 12216 E 49TH TERRACE                                                                         INDEPENDENCE    MO    64055‐5719
MARY JANE MULLINS                                212 SIMMONS RD                                                                               CADIZ           KY    42211‐8947
MARY JANE MURPHY                                 156 A ST                                                                                     KEYSER          WV    26726‐2605
MARY JANE NANCE                                  2700 JOHN MARSHALL DR                                                                        ARLINGTON       VA    22207‐1243
MARY JANE NEVINS                                 BOX 365                                                                                      OLEAN           NY    14760‐0365
MARY JANE NICHOLS GDN THE JAMES EARL NICHOLS     335 36TH WAY                                                                                 SACRAMENTO      CA    95816‐3405

MARY JANE NICOL                                   15886 INDIAN                                                                                DETROIT         MI    48239‐3939
MARY JANE O BROWN                                 2907 EDGEWOOD AVE                                                                           BALTIMORE       MD    21234‐4026
MARY JANE O'KEEFE                                 PO BOX 20033                                                                                BEAUMONT        TX    77720‐0033
MARY JANE OCONNELL                                273 LAMARCK DR                                                                              BUFFALO         NY    14226‐4841
MARY JANE PACKARD                                 740 BISHOP RD                                                                               LEAVITTSBURG    OH    44430‐9682
MARY JANE PETRUSO                                 5776 GLENDALE DRIVE                                                                         LOCKPORT        NY    14094‐5850
MARY JANE PRINGLE TR UA 02/27/91 MARY JANE        6124 MAGNOLIA‐STEDMAN RD                                                                    MAYVILLE        NY    14757‐9620
PRINGLE TRUST
MARY JANE RASMUSSEN                               PO BOX 2817                                                                                 JOLIET          IL    60434‐2817
MARY JANE REEKERS                                 1213 AUDUBON ROAD                                                                           PARK HILLS      KY    41011‐1903
MARY JANE REHORST TR REHORST TRUST UA 10/21/91    2 NICHOLSON CT                                                                              DAYTON          OH    45459‐1823

MARY JANE REITZ                                   2319 EAST POINTE DR                                                                         WARREN          OH    44484‐3870
MARY JANE ROBERTS                                 11192 TARAWA DR                                                                             LOS ALAMITOS    CA    90720‐2735
MARY JANE RUPP                                    1448 PUTTY HILL AVE                                                                         BALTIMORE       MD    21286‐8025
MARY JANE SCHERER                                 1404 ROUNDHOUSE LN                 APT 502                                                  ALEXANDRIA      VA    22314‐5930
MARY JANE SCIRCLE                                 653 CAMBRIDGE DR                                                                            KOKOMO          IN    46902
MARY JANE SCOTT                                   ATTN MARY JANE SCOTT SMOULCEY      26 PROSPECT ST                                           MARLBORO        NY    12542‐5126
MARY JANE SCOTT                                   475 ARBOR DR                                                                                LAKE BLUFF      IL    60044‐1353
MARY JANE SECULES                                 314 PINOAK DRIVE                                                                            FRANKLIN        PA    16323‐1935
MARY JANE SHILLING                                3112 LOMINA AVE                                                                             LONG BEACH      CA    90808‐3708
MARY JANE SISK                                    321 N ALICE                                                                                 ROCHESTER       MI    48307‐1814
MARY JANE SMITH                                   2862 PEBBLE CREEK                                                                           CORTLAND        OH    44410
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Name                                            Address1                            Address2             Address3          Address4          City              State Zip

MARY JANE SOBCZYK                               350 QUAIL HOLLOW COURT                                                                       PICKERINGTON      OH    43147
MARY JANE SOUCY                                 570 KELLOGG ST                                                                               PLYMOUTH          MI    48170‐1706
MARY JANE SPAHR                                 175 S WESTMOOR AVE                  APT A                                                    NEWARK            OH    43055‐3646
MARY JANE STEVENSON                             270 RIDGECREST CIR                  APT 317                                                  LEWISBURG         PA    17837‐6349
MARY JANE STONE                                 PO BOX 340                                                                                   MATHEWS           VA    23109‐0340
MARY JANE SWANSON                               4 SANDPIPER KEY                     MARKHAM ON                             L6E 1B4 CANADA
MARY JANE TAPHORN                               3330 MARIA LINDEN RD                APT#317                                                  ROCKFORD          IL    61114‐5480
MARY JANE THAYER TOD ALLISON LEE WALKOWSKI      408 PLUM ST                                                                                  GRAYLING          MI    49738‐1430

MARY JANE TILLMAN‐MESCHI                      771 ST FRANCIS BLVD                                                                            DALY CITY         CA    94015‐4251
MARY JANE URBAN                               1821 YOUNGS DITCH ROAD                                                                         BAY CITY          MI    48708‐6967
MARY JANE VANDERWILT                          1208 UPPER RIDGEWAY RD                                                                         CHARLESTON        WV    25314‐1428
MARY JANE VARNEY                              7520 CAHILL RD UNIT A309                                                                       EDINA             MN    55439
MARY JANE VERHAGEN CUST KATHERINE HALMO UTMA 2695 LOLA DR                                                                                    GREEN BAY         WI    54301‐1818
WI
MARY JANE VERHAGEN CUST RACHEL VERHAGEN UTMA 2695 LOLA DR                                                                                    GREEN BAY         WI    54301‐1818
WI
MARY JANE VERHAGEN CUST SAMANTHA VERHAGEN     2695 LOLA DR                                                                                   GREEN BAY         WI    54301‐1818
UTMA WI
MARY JANE VIND TR MARY JANE VIND TRUST UA     5230 BEACHCOMBER STREET                                                                        OXNARD            CA    93035‐1003
11/23/97
MARY JANE WADE                                1204 CATALINA DR                                                                               FLINT             MI    48507‐3314
MARY JANE WARD & CHRISTINA WARD & JOHN F WARD 479 DOANE AVE                                                                                  STATEN ISLAND     NY    10308‐1522
JT TEN
MARY JANE WATSON HALL                         45 DUNKIRK RD                                                                                  BALTIMORE         MD    21212‐1706
MARY JANE WEAGLY TR MARY JANE WEAGLY          511 CLAYTON AVE                                                                                WAYNESBORO        PA    17268‐2019
INTERVIVOS TRUST UA 09/18/97
MARY JANE WEATHERFORD                         1607 GENITO RD                                                                                 CROZIER           VA    23039‐2312
MARY JANE WIGGINTON EXECUTRIX ESTATE OF       17 EASTERN AVE                                                                                 COATESVILLE       PA    19320‐1662
ROYSTON H WIGGINTON
MARY JANE WIGHT BRIZEE                        8 PINE NEEDLES DRIVE                                                                           PITTSFORD         NY    14534‐3516
MARY JANE WILLIAMS                            12345 JOSHUA ST                                                                                HARTLAND          MI    48353‐3037
MARY JANE WILSON                              647 S ANGA RD                                                                                  CORDOVA           TN    38018
MARY JANE WOLVERTON                           9596 PRINCE CHARLES ST                                                                         DENHAM SPGS       LA    70726‐7719
MARY JANE WYSONG                              505 N 6TH ST                                                                                   MIAMISBURG        OH    45342‐2405
MARY JANET NEHER GUGLIELMO                    2900 THE PINES                                                                                 OPELOUSAS         LA    70570‐8655
MARY JANICE QUINTON                           112 BONNER AVE                                                                                 LOUISVILLE        KY    40207
MARY JAQUELIN NOYES HATCH                     PO BOX 875                                                                                     SOUTH ORLEANS     MA    02662‐0875
MARY JARRELL & LINDA KATE NOVITSKY JT TEN     PO BOX 185                                                                                     MORRISON          TN    37357‐0185
MARY JARRELL & NORA JANE SMART JT TEN         PO BOX 185                                                                                     MORRISON          TN    37357‐0185
MARY JARRELL & PHYLLIS JARRELL JT TEN         PO BOX 185                                                                                     MORRISON          TN    37357‐0185
MARY JAY DUFFEE ALLEN                         8104 DESERT DUNES TRL                                                                          MCKINNEY          TX    75070‐8541
MARY JAYNE OVERMAN                            825 CARILLON DR                       # 303                                                    BARTLETT          IL    60103‐4581
MARY JEAN ALLISON                             21620 WINSHALL ST                                                                              ST CLAIR SHORES   MI    48081‐1216
MARY JEAN BARDOLE TOD DEBRA JEAN BARDOLE      12560 HIGHVIEW DR                                                                              JACKSONVILLE      FL    32225
SUBJECT TO STA ROD RULES
MARY JEAN BONTHRON                            15852 STARLING WATER DR                                                                        LITHIA            FL    33547
MARY JEAN COZART                              218 DEEP LAKE DR                                                                               WILLIAMSTON       MI    48895‐9018
MARY JEAN DALTON                              203 BRYANT RD                                                                                  MONROE            GA    30655‐2407
MARY JEAN EILERT                              1710 BALDSPRINGS TRL                                                                           KINGWOOD          TX    77345‐1997
MARY JEAN FLINN & WILLIAM R FLINN JT TEN      581 KINGS WAY                                                                                  NAPLES            FL    34104‐4973
MARY JEAN HAWKINS                             1310 IDLEWOOD RD                                                                               WILMINGTON        DE    19805‐1321
MARY JEAN HEAP                                10 GLENGROVE DR                                                                                SIMPSONVILLE      SC    29681‐3667
MARY JEAN HOLTSON                             1737 W MULBERRY ST                                                                             KOKOMO            IN    46901‐4267
MARY JEAN HOSMER                              590 ISAAC PRUGH WAY                   APT 555                                                  KETTERING         OH    45429
MARY JEAN KOLASA                              12182 PASEO BONITA                                                                             LOS ALAMITOS      CA    90720‐4120
MARY JEAN MARMA & PATRICIA MARMA JT TEN       405 N HIBISCUS DRIVE APT 107                                                                   MIAMI BEACH       FL    33139‐5150
MARY JEAN MC MILLIN                           PO BOX 210                                                                                     FREDONIA          NY    14063‐0210
MARY JEAN MILLAR                              1211 W 43RD ST                                                                                 VANCOUVER         WA    98660‐1531
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Name                                            Address1                                 Address2             Address3          Address4          City             State Zip

MARY JEAN NEIDY                                 2507 WINDEMERE                                                                                    BIRMINGHAM       MI    48009‐7521
MARY JEAN OWEN                                  600 CHERRY LN                            APT 43                                                   TEHACHAPI        CA    93561‐2189
MARY JEAN PHANEUF & JAMES O PHANEUF JT TEN      5447 LENNON RD                                                                                    SWARTZ CREEK     MI    48473‐7906
MARY JEAN PITTS & OPHELIA FUNDERBURK JT TEN     4442 BUCKS SCHOOL HOUSE RD                                                                        ROSEDALE         MD    21237‐3311

MARY JEAN SCHWENDENER‐HOLT                      1808 PHEASANT RUN                                                                                 RICHMOND         IN    47374‐7949
MARY JEAN SHIMP TR MARY JEAN SHIMP TRUST UA     422 LA PRAIRIE RD                                                                                 SPARLAND         IL    61565‐9325
02/19/96
MARY JEAN SMITH                                 303 HERR ST                                                                                       ENGLEWOOD        OH    45322‐1221
MARY JEAN STEBBINS                              9061 PERRIN DR                                                                                    LIVONIA          MI    48150‐5903
MARY JEAN THIELEN & HAROLD R THIELEN JT TEN     PO BOX 134                                                                                        MC INDOE FLS     VT    05050‐0134
MARY JEAN WHITE                                 1578 NOTTINGHAM RD                                                                                CHARLESTON       WV    25314‐2436
MARY JEAN WILLS                                 5189 TWYLIGHT TRAIL                                                                               ABILENE          TX    79606
MARY JEANETTE PIERSON                           7490 PONTIAC ST                                                                                   GOODRICH         MI    48438‐9461
MARY JEANNE EYSTER                              14246 92ND AVE NE                                                                                 BOTHELL          WA    98011‐5145
MARY JEANNE EYSTER CUST JEFFREY JON EYSTER UGMA 14246 92ND AVE NE                                                                                 BOTHELL          WA    98011‐5145
MI
MARY JEANNE HANSEN                              114 DELONEY SW                                                                                    GRAND RAPIDS     MI    49504‐6211
MARY JEANNE MORRIS                              1921 WINGFIELD DR                                                                                 LONGWOOD         FL    32779‐7010
MARY JEANNE PEABODY TR MARY JEANNE PEABODY      41120 FOX RUN RD APT 308                                                                          NOVI             MI    48377‐4804
REVOCABLE TRUST UA 04/17/00
MARY JEANNE TOWNSEND TR MARY JEANNE             1329 TANO RIDGE RD                                                                                SANTA FE         NM    87506‐1100
TOWNSEND LIVING TRUST UA 10/31/95
MARY JEANNE WRENN                               29 PARKER AVE                                                                                     HAWTHORNE        NJ    07506‐1732
MARY JELINSKI & CATHERINE POLLEY JT TEN         2217 22ND ST                                                                                      WYANDOTTE        MI    48192‐4131
MARY JENKINS HIGGINS                            372 ARTHUR STOREY RD                                                                              NEWNAN           GA    30263
MARY JERUSHA GOSS                               11090 E SILVER LAKE RD                                                                            BYRON            MI    48418‐9032
MARY JIM DAUGHERTY                              121 MERRILL DR                                                                                    HEFLIN           AL    36264‐1631
MARY JO A WALTERS                               31740 CURTIS ROAD                                                                                 LIVONIA          MI    48152‐4314
MARY JO ANN BERGMAN GUARDIAN OF STEVEN          6317 MURDOCK AVENUE                                                                               ST LOUIS         MO    63109‐2707
GERARD BERGMAN A MINOR
MARY JO BARTOLACCI                              906 LINDBERG RD                                                                                   W LAFAYETTE      IN    47906‐2012
MARY JO BENNER‐OBENSHAIN                        13235 AMBLEWOOD DR                                                                                MANASSAS         VA    20112‐7826
MARY JO BETLEJEWSKI                             199 WATERS EDGE 102                                                                               GLENDALE HEIGHTS IL    60139‐1641

MARY JO BETLEJEWSKI CUST MARK C BETLEJEWSKI     199 WATERS EDGE 102                                                                               GLENDALE HEIGHTS IL    60139‐1641
UTMA IL
MARY JO BOMMARITO                               11342 COVERED BRIDGE LANE                                                                         ROMEO            MI    48065‐3825
MARY JO BONNICK                                 7872 ROCKDOVE LN                                                                                  PAINESVILLE      OH    44077‐8972
MARY JO BROWN                                   1100 UNIVERSITY STREET                   APT 10E                                                  SEATTLE          WA    98101‐2888
MARY JO CAPPLEMAN BRICE                         5507 MARYBROOK PK LN                                                                              KATY             TX    77450
MARY JO COLVIN                                  1709 N THIRD ST                                                                                   GRAND JUNCTION   CO    81501‐2111

MARY JO CONNOR                                  2529 HOLLYHOCK AVE                                                                                MIDDLEBURG       FL    32068‐6058
MARY JO COVELL                                  1919 BROOKFIELD RD                                                                                CHARLOTTE        MI    48813‐9197
MARY JO CULLEN                                  R 1 BOX 32                                                                                        MANILU           AR    72442‐9607
MARY JO DAVIS                                   126 PRIMROSE CT                                                                                   DANVILLE         VA    24541‐2604
MARY JO DUGAN                                   3903 JEANETTE DRIVE S E                                                                           WARREN           OH    44484‐2774
MARY JO ELNICK                                  28600 MOUND                                                                                       WARREN           MI    48092‐5507
MARY JO ELNICK & JEAN E ELNICK JT TEN           28600 MOUND                                                                                       WARREN           MI    48092‐5507
MARY JO GRAMMATICO                              31157 NELSON DR                                                                                   WARREN           MI    48093‐1866
MARY JO GRANGER                                 5825 ROBERT DR                                                                                    BROOK PARK       OH    44142‐2120
MARY JO GREENE & WILLIAM C GREENE JT TEN        3630 FRANCOIS ST                                                                                  WEST BRANCH      MI    48661‐9573
MARY JO HAMMOND                                 22207 W TIBER CREEK RD                                                                            ELMWOOD          IL    61529‐9508
MARY JO HANNON TR UA 09/22/92 MARY JO HANNON    839 S BRUNER ST                                                                                   HINSDALE         IL    60521‐4338
TRUST
MARY JO HARPER                                  5365 WEST 89TH STREET                                                                             OAK LAWN         IL    60453‐1289
MARY JO HEEKIN                                  1315 OAK KNOLL DR                                                                                 CINCINNATI       OH    45224‐1517
MARY JO HETHERINGTON                            C/O POLL                                 3645 SCENIC TR                                           HASTINGS         MI    49058‐9052
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Name                                             Address1                             Address2             Address3          Address4          City               State Zip

MARY JO JACOBER                                  3490 MARKAY COURT                                                                             CINCINNATI         OH    45248
MARY JO JOHNSON MALOTT                           7754 CLYDE RD                                                                                 FENTON             MI    48430
MARY JO KLASE                                    2819 BLACKWOOD DR                                                                             ARLINGTON          TX    76013‐2129
MARY JO KOCH                                     238 E NORTH ST #2                                                                             BUTLER             PA    16001‐4846
MARY JO KOVERMAN                                 PO BOX 801                                                                                    BRECKENRIDGE       CO    80424‐0801
MARY JO LAMB                                     1174 E YALE AVE                                                                               FLINT              MI    48505‐1519
MARY JO M KAPP                                   1615 CRAIG ST                                                                                 RALEIGH            NC    27608‐2201
MARY JO MAAS                                     ATTN MARY JO WALCH                   133 ARROWHEAD DR                                         GREEN BAY          WI    54301‐2618
MARY JO MANN PIOLI CUST CHARLES PIOLI UTMA OR    2036 LINCOLN ST SE                                                                            PORTLAND           OR    97214‐5432

MARY JO MANN PIOLI CUST JOANIE PIOLI UTMA OR     2036 LINCOLN ST SE                                                                            PORTLAND           OR    97214‐5432

MARY JO MARTIN                                   2806 1/2 VILLAGE PARK DR                                                                      GRAND JUNCTION     CO    81506‐6201

MARY JO MARZILLI                                 1835 S ATLANTIC AVE                  APT 302                                                  COCOA BEACH        FL    32931‐2389
MARY JO MCCLELLAN                                4421 TALL MEADOW LN                                                                           FORT WORTH         TX    76133‐6600
MARY JO MCKENNA                                  9613 SUTHERLAND RD                                                                            SILVER SPRING      MD    20901‐3263
MARY JO MCMAHON                                  6536 HOWARD AVE                                                                               INDIAN HEAD PARK   IL    60525‐4567

MARY JO MURPHY & RICHARD A MURPHY JT TEN         9725 KOLMAR AVE                                                                               OAK LAWN           IL    60453‐3530
MARY JO NAYMAN                                   5 CAROLIN DRIVE                                                                               BROCKPORT          NY    14420‐1201
MARY JO O'LEARY                                  11091 BUBB RD                                                                                 CUPERTINO          CA    95014‐4977
MARY JO PALLONE                                  5506 LINDEN CT                                                                                SPRING             TX    77379
MARY JO PEDEN                                    137 BRADMAN ESTATES                                                                           SLIPPERY ROCK      PA    16057‐3205
MARY JO PFEIFFER                                 335 PARKER AVE                                                                                BUFFALO            NY    14216
MARY JO PYTEL                                    3075 RIPPLEWAY ST                                                                             WHITE LAKE         MI    48383
MARY JO ROLLINS                                  C/O MARY JO KATCHMARK                1031 BISHOP RD                                           GROSSE POINTE      MI    48230‐1447
                                                                                                                                               PARK
MARY JO SCHMEES                                  2123 LURAY AVE                                                                                CINCINNATI         OH    45206‐2629
MARY JO SCHRAGE                                  2212 POTOMAC                                                                                  COLUMBIA           MO    65203
MARY JO SEAMON & CAROL A CRESWELL JT TEN         7570 W BURT ROAD                                                                              CHESANING          MI    48616‐9457
MARY JO SHERMAN CUST TANYA SHERMAN UGMA PA       14222 LAKE MARY RD                                                                            ORLANDO            FL    32832

MARY JO SINGLES & KEITH J SINGLES JT TEN         879 NICHOLS                                                                                   AUBURN HILLS       MI    48326‐3829
MARY JO SLOSBURG                                 2003 W 67TH TERRACE                                                                           MISSION HILLS      KS    66208‐2213
MARY JO SMELA                                    1616 COUNTY ROAD 519                                                                          PITTSTOWN          NJ    08867‐5040
MARY JO SORENSON TIPTON                          13840 N SUNFLOWER DRIVE                                                                       FOUNTAIN HILLS     AZ    85268‐6548
MARY JO SOVIS‐STREFLING                          5148 W FOX FARM RD                                                                            MANISTEE           MI    49660‐9532
MARY JO STARK                                    223 CANFIELD DR                                                                               CHARDON            OH    44024
MARY JO SUNDERLAND                               17503 SHOAL LAKE LN                                                                           HOUSTON            TX    77095‐5158
MARY JO TASCHLER                                 20474 INDIANA AVE                                                                             TRENTON            MI    48183‐5070
MARY JO TIMS COX                                 9313 AVEDON DR                                                                                SALINE             MI    48176‐9390
MARY JO VENERUS                                  103 CEDAR KNOB COURT                                                                          REHOBOTH BCH       DE    19971
MARY JO WALCH                                    133 ARROWHEAD DR                                                                              GREEN BAY          WI    54301
MARY JO WALSH                                    10905 CORA DR                                                                                 KALAMAZOO          MI    49002‐7326
MARY JO WEBB                                     9399 TROPICO DRIVE                   LAMEFA                                                   LA MESA            CA    91941‐6869
MARY JO WELLS                                    406 W JOYCE LANE                                                                              ARNOLD             MD    21012‐2207
MARY JO WHOLIHAN                                 2535 ROSELAND DR                                                                              ANN ARBOR          MI    48103
MARY JO WOLFE TR UA 11/23/93 MARY JO WOLFE       100 NETHERLAND LANE                  APT 428                                                  KINGSPORT          TN    37660‐7247
TRUST
MARY JOAN B SCRIBER                              11834 BOURGEIOS FOREST                                                                        HOUSTON            TX    77066‐3208
MARY JOAN BRANDENBURG                            626 S 14TH ST                                                                                 RICHMOND           IN    47374‐6417
MARY JOAN CHESLEY                                2920 SALEM RD                                                                                 BALTIMORE          MD    21244‐2029
MARY JOAN DOUGLAS                                7891 KRISDALE                                                                                 SAGINAW            MI    48609‐4933
MARY JOAN FISHER                                 PO BOX 618                                                                                    WARRENTON          MO    63383‐0618
MARY JOAN HECKMAN BOYLE                          118 DOVER DRIVE                                                                               CORAOPOLIS         PA    15108‐1077
MARY JOAN MC CREIGHT & JOHN MC CREIGHT JT TEN    221 E CHAPARRAL                                                                               RIALTO             CA    92376‐2801
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Name                                              Address1                              Address2               Address3        Address4          City            State Zip

MARY JOAN OLCOTT TOD DANIEL J OLCOTT SUBJECT TO 5580 PICARDY LANE                                                                                CINCINNATI      OH    45248‐5026
STA TOD RULES
MARY JOAN OLCOTT TOD DEBORAH M OLCOTT SUBJECT 5580 PICARDY LANE                                                                                  CINCINNATI      OH    45248‐5026
TO STA TOD RULES
MARY JOAN QUINN                                 PO BOX 370                                                                                       ELLSWORTH       WI    54011‐0370
MARY JOAN RECHTER CUST MARK ROGERS RECHTER      4433 E BROOKFIELD DR                                                                             NASHVILLE       TN    37205‐4509
U/THE INDIANA U‐G‐M‐A
MARY JOAN SHANKLAND                             515 W OAKWOOD                                                                                    EAST LANSING    MI    48823‐3036
MARY JOAN WATT                                  122 WALNUT ST                                                                                    TWIN FALLS      ID    83301‐7250
MARY JOAN WRIGHT                                2323 EDINBORO RD                                                                                 ERIE            PA    16509‐3476
MARY JOANN GAYHEART                             310 WALDON                                                                                       ORION           MI    48359‐1356
MARY JOANN YOUNG & JOHN ARTHUR YOUNG JT TEN 11500 E 66TH TERR                                                                                    BAYTOWN         MO    64133‐5410

MARY JOANNE COFFEE                                6630 SPURWING LOOP APT 204                                                                     COEUR D ALENE   ID    83815‐7734
MARY JOANNE EGBERS                                2531 OWLEREST DR                                                                               CINCINNATI      OH    45231‐1152
MARY JOANNE PERRY                                 3424 CORNELIA DR                                                                               LANSING         MI    48917‐2215
MARY JOANNE URITIS CUST LYNN ANN URITIS UTMA PA   204 RIDGE CREST DR                                                                             WEST CHESTER    PA    19382‐1965

MARY JOE COSSEY                                   20265 PLANTATION LN                                                                            BEVERLY HILLS   MI    48025
MARY JOE MOORE                                    469 HIGHLAND AVE SW                                                                            WARREN          OH    44485‐3604
MARY JOHN WASSON                                  BOX 416                                                                                        EQUALITY        IL    62934‐0416
MARY JOHNSON                                      651 WINDMILL HILL RD                                                                           INMAN           SC    29349‐8496
MARY JONES PARKER                                 222 SEELEY STREET                                                                              BROOKLYN        NY    11218‐1208
MARY JOSEPH DAVIS & WILLIAM SCOTT DAVIS JT TEN    130 JESSIE ST                                                                                  ELLWOOD CITY    PA    16117‐5408

MARY JOSEPHINE LAYMAN                             3018 WOODRUFF AVE                     APT 4                                                    LANSING         MI    48912
MARY JOYCE                                        18 DEBORAH DRIVE                                                                               WALPOLE         MA    02081‐2317
MARY JUDITH MILLIT                                317 3RD FL                                                                                     BELLAIRE        OH    43906‐1076
MARY JUNE BARSHA                                  548 E SWAYZEE ST                                                                               MARION          IN    46952
MARY JUNE BAUER                                   4542 E STATE RTE 73                                                                            WAYNESVILLE     OH    45068‐8863
MARY JUNE BLACK                                   4503 SUPERIOR RD                                                                               INDIANAPOLIS    IN    46221‐2582
MARY JUNE PENLAND                                 51 LEDBETTER ROAD                                                                              ARDEN           NC    28704‐9738
MARY JUNE STRATMANN                               255 DIAMOND AVE                                                                                ROCKY MOUNT     VA    24151‐1325
MARY JUNE SWANGO                                  1920 BROOKSTONE LN                    APT 8                                                    MATTOON         IL    61938‐6112
MARY K ALLEN                                      ATT MARY K COARI                      10943 BLUESTONE WAY                                      FISHERS         IN    46038‐2650
MARY K AMODIO                                     15580 MOCK RD                                                                                  BERLIN CENTER   OH    44401‐9744
MARY K AYLESWORTH & MICHAEL K AYLESWORTH JT       3118 THORNFIELD RD                                                                             BALTIMORE       MD    21207‐5620
TEN
MARY K BALYEAT & HOWARD D HAIR JT TEN             R R 1 BOX 238 A                                                                                CARMICHAELS     PA    15320‐9616
MARY K BEAM                                       3777 DAVISON RD                                                                                LAPEER          MI    48446
MARY K BENKERT & GEORGE BENKERT JT TEN            5 LEVANTINO LN                                                                                 HOT SPRINGS     AR    71909
MARY K BERNATAS                                   306 DUNBARTON RD                                                                               MANCHESTER      NH    03102‐2568
MARY K BLAIR                                      2732 MEADOW PARK DR                                                                            KETTERING       OH    45440‐1441
MARY K BRIMMER                                    139 PLEASANT ST                                                                                NORTH KINGSTOWN RI    02852‐5047

MARY K BROWN                                      3800 LENOX DRIVE                                                                               KETTERING       OH    45429‐1540
MARY K CALDWELL                                   97 KINO BOULEVARD                                                                              MERCERVILLE     NJ    08619‐1455
MARY K CARR                                       ATTN MARY K BUNCE                     2466 PFISTER HIGHWAY                                     ADRIAN          MI    49221‐9452
MARY K CERUTTI & EUGENE T CERUTTI JT TEN          118 ALDEN STREET                                                                               SAYRE           PA    18840‐1302
MARY K CHRISTOFF                                  2164 GREEN TREE LANE                                                                           EAST LANSING    MI    48823‐1333
MARY K COOKE                                      6189 S 400 E                                                                                   CUTLER          IN    46920‐9498
MARY K COTTRELL                                   13614 SOUTH COUNTY RD 1000 E                                                                   GALVESTON       IN    46932‐9017
MARY K CROCKETT                                   658 WILLARD AVE                                                                                ROCHESTER       MI    48307‐2361
MARY K CSASZAR & AIMEE CARRASCO JT TEN            17338 HELEN ST                                                                                 ALLEN PARK      MI    48101‐3402
MARY K DAVIDSON                                   16593 NW OAK CREEK DR                                                                          BEAVERTON       OR    97006‐7479
MARY K DE CROES & GENE L DECROES JT TEN           717 LAKESIDE DRIVE                                                                             KOKOMO          IN    46901
MARY K DERZAY                                     7221 NE 182ND ST                      APT 203                                                  KENMORE         WA    98028‐3700
MARY K DEVIN                                      ONE SUNSET AVE                                                                                 BROCKTON        MA    02301‐6145
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Name                                            Address1                              Address2             Address3          Address4          City               State Zip

MARY K DIEVENDORF TR UA 07/05/89 ROBERT Y       521 SOUTH MILL ST                                                                              PONTIAC            IL    61764‐2425
DIEVENDORF TRUST
MARY K DONALDSON                                3524 ROCKY FORD RD                                                                             CREWE              VA    23930‐2212
MARY K DOROTIAK                                 8354 JACKMAN RD                                                                                TEMPERANCE         MI    48182‐9458
MARY K DOUGHERTY                                1863 MISTY WAY                                                                                 COLUMBUS           OH    43232‐7411
MARY K DUFFY                                    3253 CHICA CIRCLE                                                                              W MELBOURNE        FL    32904
MARY K DURKIN CUST PATRICIA L DURKIN UGMA OH    2 STRATFORD CT                                                                                 MORRISTOWN         NJ    07960

MARY K DUYCK BOEYEN                             3416 HIGHWOOD ROAD                                                                             VALRICO            FL    33594‐6427
MARY K EBERLY                                   2647 TERRACE VIEW DR                                                                           EUGENE             OR    97405‐1469
MARY K ELLIS CUST KYLE J ELLIS UTMA GA          5020 MEADOW CREEK DR                                                                           CUMMING            GA    30040‐8525
MARY K FANNON                                   4160 RENWOOD DR                                                                                DAYTON             OH    45429‐4648
MARY K FERGUSON                                 C/O LAURA CASE                        2812 JUNE BUG WAY                                        MARYVILLE          TN    37803
MARY K FERRETTI                                 507 FREUND AVE                                                                                 GIBBSTOWN          NJ    08027‐1521
MARY K FETSCHER                                 2114 MEDWAY ROAD                                                                               CHARLESTON         SC    29412‐2329
MARY K FITZWATER TOD ROBERT R FITZWATER         17 MYERS ROAD                                                                                  NEWARK             DE    19713
MARY K FLAJOLE                                  2017 ROSELAND                                                                                  ROYAL OAK          MI    48073‐5014
MARY K FLAJOLE & DELPHINE V FLAJOLE JT TEN      2017 ROSELAND                                                                                  ROYAL OAK          MI    48073‐5014
MARY K FLOYD                                    4 HAMPTON ST                                                                                   GULF BREEZE        FL    32561‐4120
MARY K FONTENOT                                 3810 DAWSON RD                                                                                 SHREVEPORT         LA    71119‐9783
MARY K FOREAKER                                 735 DARBY CRESCENT                                                                             PROSPECT PARK      PA    19076‐1802
MARY K FOX                                      22 VERMONT ST                                                                                  BATH               NY    14810‐1136
MARY K GABELSBERGER                             37281 ALPER                                                                                    STERLING HEIGHTS   MI    48312‐2203

MARY K GEORGE & SANDRA K GRAHAM JT TEN          2369 HIGHFIELD RD                                                                              WATERFORD          MI    48329‐3940
MARY K GOODWIN                                  27 S MARKET                                                                                    EMPORIA            KS    66801‐4725
MARY K GRADSKI                                  511 WINDY SKY BLUFF                                                                            CANTON             GA    30114‐5140
MARY K GREENBLATT                               BLAKEHURST 631                        1055 WEST JOPPA RD                                       TOWSON             MD    21204‐3741
MARY K GRIM TR MARY K GRIM TRUST UA 01/11/00    1202 WINSTON DRIVE                                                                             MELROSE PARK       IL    60160‐2211

MARY K GURNEY & R FRED GURNEY JT TEN            101 LOGANBERRY CIRCLE                                                                          DANIELS            WV    25832‐9282
MARY K HAGER CUST THOMAS HAGER UTMA IL          724 N KENILWORTH                                                                               OAK PARK           IL    60302‐1517
MARY K HALL                                     301 FOURTH AVE                                                                                 PONTIAC            MI    48340‐2852
MARY K HALL                                     1955 OLD THETA PK                                                                              COLUMBIA           TN    38401‐9809
MARY K HANCOCK                                  2042 ESQUIRE RD                                                                                RICHMOND           VA    23235‐3524
MARY K HANSEN                                   2175 N STATE HIGHWAY 360              APT 113                                                  GRAND PRAIRIE      TX    75050‐1041
MARY K HEAPS                                    1545 BERKLEY ST SW                                                                             DECATUR            AL    35603‐3176
MARY K HEATHERTON & MARY GREENAN JT TEN         41 BIRCHWOOD DR                                                                                WAKEFIELD          RI    02879‐8114
MARY K HERITAGE                                 727 HICKORY LOT RD                                                                             TOWSON             MD    21286‐1428
MARY K HICKEY                                   704 HARD SCUFFLE COURT                                                                         BOWLING GREEN      KY    42103‐7931
MARY K HINES                                    6492 TIMBER VIEW DR                                                                            EAST LANSING       MI    48823‐9321
MARY K HOLDER                                   32360 ONA WY                                                                                   MOLALLA            OR    97038‐9215
MARY K HOOK                                     6031 MERWIN CHASE RD                                                                           BROOKFIELD         OH    44403‐9781
MARY K HURT                                     10814 SHERMAN ROAD                                                                             CHARDON            OH    44024‐8424
MARY K JAIMES                                   2153 51ST AVE                         APT C                                                    OAKLAND            CA    94601‐5463
MARY K JOLEY                                    4020 PAULINE DR                                                                                GREENBRIER         TN    37073
MARY K JONMAIRE                                 5417 OAKWOOD DRIVE                                                                             NORTH              NY    14120‐9620
                                                                                                                                               TONAWANDA
MARY K KARNEY                                   5464 PARK DR                                                                                   VERMILION          OH    44089‐1423
MARY K KNIGHT                                   11921 SKAGG STREET                                                                             NORTH              CA    91605‐2534
                                                                                                                                               HOLLYWOOD
MARY K KUBINA & ERIN M KUBINA JT TEN            105 SIXTH ST                                                                                   OLD BRIDGE         NJ    08857
MARY K LAY                                      4698 GLENALDA DR                                                                               CLARKSTON          MI    48346‐3638
MARY K LECHTENBERGER & RODNEY F LECHTENBERGER   506 SOUTHSTAR DR                                                                               FT PIERCE          FL    34949‐9121
JT TEN
MARY K LEVINE                                   C/O MARIE W HAWLEY                    4 IRVING PL                                              ONEONTA            NY    13820‐1522
MARY K LIFT TR MARY K LIFT TRUST UA 01/31/01    20207 ROSEWOOD DRIVE                                                                           FRANKFORT          IL    60423‐8173
MARY K MALONEY                                  15332 ANTIOCH ST STE 149                                                                       PACIFIC PLSDS      CA    90272‐3628
MARY K MANDERBACH                               3100 S 1000 W                                                                                  ANDERSON           IN    46012‐9377
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Name                                             Address1                               Address2             Address3          Address4          City              State Zip

MARY K MANION                                    101 VERNON WOODS DR                    APT 130                                                  LAGRANGE          GA    30240‐3853
MARY K MATHIS                                    2925 WYOMING                                                                                    FLINT             MI    48506
MARY K MAZZELLA & KATHLEEN BERISFORD JT TEN      3208 DARLINGTON DR SW                                                                           DECATUR           AL    35603‐3165

MARY K MC GUINNESS                               111 OXFORD PLACE                                                                                WILM              DE    19803‐4517
MARY K MC KENNA & EDWARD MC KENNA JR JT TEN      PO BOX 648                                                                                      BEVERLY SHORES    IN    46301‐0648

MARY K MC SHERRY                                 579 LIBERTY AVE                                                                                 JERSEY CITY       NJ    07307‐3910
MARY K MCCARTHY & JOHN A MCCARTHY JR JT TEN      4819 47TH STREET NW                                                                             WASHINGTON        DC    20016‐4401

MARY K MCCULLEY                                  11957 W AQUEDUCT DR                                                                             LITTLETON         CO    80127‐1577
MARY K MCEACHERN                                 8479 W EATON HWY                                                                                GRAND LEDGE       MI    48837‐8407
MARY K MCFERRAN                                  11594 NORTH 100 EAST                                                                            ALEXANDRIA        IN    46001‐9093
MARY K MCNALL                                    5 SADDLEBROOK POINTE                                                                            HAMBURG           NY    14075‐5893
MARY K MERS                                      4327 HARMONY DR                                                                                 SHELBYVILLE       MI    49344
MARY K MERWIN                                    258 HEIGHTS ROAD                                                                                LAKE ORION        MI    48362‐2725
MARY K MERWIN & GARY L MERWIN JT TEN             258 HEIGHTS                                                                                     LAKE ORION        MI    48362‐2725
MARY K MILLER                                    13671 MCGREGOR RD                                                                               CONROE            TX    77302‐6523
MARY K MURPHY TR THE MARY K MURPHY REV TRUST     5733 N CAMINO MIRAVAL                                                                           TUCSON            AZ    85708
UA 8/1/00
MARY K NEWMAN                                    313 NORFOLK ST                                                                                  KISSIMMEE         FL    34747‐5047
MARY K NIEKAMP & DAVID A NIEKAMP JT TEN          421 N BATAVIA AVE                                                                               BATAVIA           IL    60510
MARY K OZORIO                                    31742 MARQUETTE                                                                                 GARDEN CITY       MI    48135‐1364
MARY K PASTORI                                   242 CEZANNE CIR                                                                                 ST AUGUSTINE      FL    32095‐5016
MARY K PAULSON                                   1208 SW SUMMIT HILL DR                                                                          LEES SUMMIT       MO    64081‐3270
MARY K PETERMAN                                  30137 AVONDALE                                                                                  INKSTER           MI    48141‐1531
MARY K PROBERT CUST JENNIFER K PROBERT UGMA NY   3 VIA DA VINEL                                                                                  CLIFTON PARK      NY    12065

MARY K RABIDOUX                                  349 W 100 S                                                                                     VALPARAISO        IN    46385‐9055
MARY K RADOVIC COMM EST BERNARD RADOVIC          1101 EAST AVE SE                                                                                WARREN            OH    44484‐4901
MARY K RAMELLA CUST STEFANO ANTONIO RAMELLA      205 6TH ST                                                                                      GROTTOES          VA    24441
UTMA VA
MARY K RAYNER TR UA 04/29/96 CLARA I DECLUTE     5995 ORMOND RD                                                                                  WHITE LAKE        MI    48383
TRUST
MARY K REYNOLDS                                  749 MAURINE DR                                                                                  COLUMBUS          OH    43228‐3011
MARY K ROBINSON                                  5 PRECIPICE RD                                                                                  CAMDEN            SC    29020‐4811
MARY K ROGERS                                    128 CURVE ST                                                                                    MILLIS            MA    02054‐1206
MARY K ROSS                                      PO BOX 1226                                                                                     JANESVILLE        WI    53547‐1226
MARY K SATHER                                    PO BOX 3772                                                                                     MORIARTY          NM    87035‐3772
MARY K SAWYER                                    28775 ALTON RD                                                                                  WICKLIFFE         OH    44092‐2511
MARY K SCHAEFFER                                 2627 APPOLD DRIVE                                                                               SAGINAW           MI    48602‐3303
MARY K SCHOTTMILLER                              38 BRIGHT OAKS DR                                                                               ROCHESTER         NY    14624‐4736
MARY K SENTIMORE CUST MADISON LYNN SENTIMORE     PO BOX 252                                                                                      GIBSON ISLAND     MD    21056‐0252
UTMA VA
MARY K SHAPIRO                                   3808 4TH ST NW                                                                                  WASHINGTON        DC    20011‐5916
MARY K SHEEHY                                    2137 ORCHARD LAKES PL                  APT 12                                                   TOLEDO            OH    43615‐9142
MARY K SIMPSON                                   2921 CONCORD                                                                                    FLINT             MI    48504‐3039
MARY K SOPHIEA & PENELOPE MAJESKE JT TEN         23020 NOTTINGHAM DR                                                                             BEVERLY HILLS     MI    48025‐3415
MARY K STEVENS TR UA 04/21/2009 MARY K STEVENS   50136 HELFER BLVD                                                                               WIXOM             MI    48393
REVOCABLE LIVING TRUST
MARY K STONE TR MARY K STONE LIVING TUYST UA     2840 CRESCENT BEACH RD                                                                          MANISTEE          MI    49660‐9214
03/17/98
MARY K STRZELECKI                                258 HEIGHTS                                                                                     LAKE ORION        MI    48362‐2725
MARY K TUCKER                                    412 S STREET                                                                                    BEDFORD           IN    47421‐1912
MARY K TUTHILL                                   19 VOGE ST                                                                                      WEST ALEXANDRIA   OH    45381‐1133

MARY K WICKERSHAM                                1849 HORSEBACK TRL                                                                              VIENNA            VA    22182‐1816
MARY K WILLCOXSON                                7447 E 49TH ST                         APT 21                                                   TULSA             OK    74145‐6710
MARY K WOLOSCHAK                                 1537 N NEWTON FALLS RD                                                                          NORTH JACKSON     OH    44451‐9623
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Name                                             Address1                               Address2             Address3          Address4          City             State Zip

MARY KACZMARCZYK                                 3813 RAMBLEWOOD DR                                                                              PORT HURON       MI    48060‐8633
MARY KALAFATIS                                   12514 NW BRIMPTON CT                                                                            PORTLAND         OR    97229‐9310
MARY KAMSON MC CARTHY                            4661 HAMILTON AVE                                                                               CINCINNATI       OH    45223‐1502
MARY KAO CHIN TR MARY KAO CHIN LIVING TRUST UA   782 PRINCETON‐KINGSTON RD                                                                       PRINCETON        NJ    08540‐4124
05/25/94
MARY KARAGIAS                                    23 BRUNS RD                                                                                     WEST ALLENHURST NJ     07711‐1437

MARY KAREN SCHLESINGER                           104 BASSWOOD AVE                                                                                FT WRIGHT        KY    41011‐3711
MARY KARVOUNAKIS & DEBBIE KAROVUNAKIS JT TEN     35 HEALY ST                                                                                     HUNTINGTON       NY    11743‐5323

MARY KARWOSKI                                    17188 JON JON TER                                                                               HOLLY            MI    48442‐8361
MARY KATE HEFFERNAN                              ATTN MARY KATE MILLER                  711 CEDAR LN                                             VILLANOVA        PA    19085‐2015
MARY KATE MIGIELICZ                              RT #3 HORRELL AVENUE                                                                            WEST FRANKFORT   IL    62896‐9803
MARY KATE MORGAN                                 5842 SUN DANCE                                                                                  SAN ANTONIO      TX    78238‐2611
MARY KATHARINE MARSHALL                          2615 QUARTERPATH PL                                                                             RICHMOND         VA    23233‐2184
MARY KATHERINE CAPUANO                           279 JELLIFF MILL ROAD                                                                           NEW CANAAN       CT    06840‐6513
MARY KATHERINE CAPUANO                           279 JELLIFF MILL RD                                                                             NEW CANAAN       CT    06840‐6513
MARY KATHERINE CARMICHAEL                        PO BOX 323                                                                                      LUZERNE          MI    48636‐0323
MARY KATHERINE KNORR                             4327 HARMONY DR                                                                                 SHELBYVILLE      MI    49344‐9605
MARY KATHERINE MC DOWELL                         991 COTTON ST                                                                                   MENLO PARK       CA    94025‐5612
MARY KATHERINE MENGERS                           7274 SHAD LN                                                                                    PIPERSVILLE      PA    18947‐1522
MARY KATHERINE MOSS LA ROE                       RR 2 BOX 199                           S HUNTING HILLS DR                                       LANDENBERG       PA    19350‐9539
MARY KATHERINE PARKS CUST CARTER A MCMILLAN      BOX 5657                                                                                        WINSTON SALEM    NC    27113‐5657
UTMA NC
MARY KATHERINE PROIA                             295 WHITTIER RD                                                                                 SPENCERPORT      NY    14559‐2220
MARY KATHERINE RILL & RAYDON C RILL JR JT TEN    13120 BRADLEY 10                                                                                SYLMAR           CA    91342‐0410
MARY KATHERINE TRULUCK & DANIEL WEBSTER          954 WESELL RD NW                                                                                GAINESVILLE      GA    30501‐2849
TRULUCK JT TEN
MARY KATHERINE VILLWOCK                          243 BEAVER NE                                                                                   NEW PHILADELPHIA OH    44663‐3923

MARY KATHERINE VINK                              1636 WEST 23RD ST                                                                               SAN PEDRO        CA    90732‐4310
MARY KATHERINE WEAVER                            8746 PEDIGO RD                                                                                  POWELL           TN    37849‐2731
MARY KATHLEEN BRUMFIELD                          21 CAMERON RD                                                                                   SADDLE RIVER     NJ    07458‐2935
MARY KATHLEEN CRAIG                              4175 ANDERSON STATE RD                                                                          FAYETTEVILLE     OH    45118‐9752
MARY KATHLEEN DEARMOND & SCOTTIE LEE             409 SOUTHWOOD CT                                                                                INDIANAPOLIS     IN    46217‐3866
DEARMOND JT TEN
MARY KATHLEEN HUMBER                             126 BRIGHTWOOD                                                                                  SAN ANTONIO      TX    78209‐3313
MARY KATHLEEN MACKEY                             1122 2ND AVE W                                                                                  ASHLAND          WI    54806
MARY KATHLEEN MAHER                              4316 ALTA VISTA LANE                                                                            DALLAS           TX    75229‐2837
MARY KATHLEEN MEHAN                              1909 W WALNUT ST                       APT C                                                    GARLAND          TX    75042‐8720
MARY KATHLEEN PALLANTE                           14018 OLATHE RD                                                                                 APPLE VALLEY     CA    92307‐5533
MARY KATHLEEN RICE MURPHY                        410 BLUFFCOURT                                                                                  SAN ANTONIO      TX    78216‐1907
MARY KATHLEEN STEFFEN                            1414 COUNTRY CLUB LANE                 PO BOX 823                                               SPENCER          IA    51301‐0823
MARY KATHRYN BLINDT                              7045 N IONIA AVE                                                                                CHICAGO          IL    60646‐1205
MARY KATHRYN BRUMBAUGH                           12820 BRIAR DR                                                                                  LEAWOOD          KS    66209‐1890
MARY KATHRYN DURKIN                              9 SUDBERRY DR                                                                                   MORRISTOWN       NJ    07960‐2654
MARY KATHRYN FOSTER                              16703 NINA DR                                                                                   FRIENDSWOOD      TX    77546‐2349
MARY KATHRYN GALIOTO                             2822 COBBLESTONE DR                                                                             CRYSTAL LAKE     IL    60012‐2600
MARY KATHRYN GORDINIER                           102 RYE RD                                                                                      ROCHESTER        NY    14626‐3606
MARY KATHRYN METROFF                             24390 WSR 579                                                                                   MILLBURY         OH    43447
MARY KATHRYN SWEENEY BUTZIER                     4409 HERD RD                                                                                    METAMORA         MI    48455‐9793
MARY KATHRYNE WIEDEBUSCH                         237 PARK ST                                                                                     MORGANTOWN       WV    26501‐7550
MARY KAVJIAN                                     3711 WOODBURN RD                                                                                ANNANDALE        VA    22003‐2255
MARY KAY FITZWATER & SUSAN PINKOWSKI JT TEN      17 MYERS ROAD                                                                                   NEWARK           DE    19713

MARY KAY FOSTER                                  5532 RUE MARCEAU                                                                                INDIANAPOLIS     IN    46220
MARY KAY GREGORY & ANTHONY G GREGORY JT TEN      9812 SILVER BELL CT                                                                             PIKE ROAD        AL    36064‐2376

MARY KAY LA ROCQUE                               1057 STEPH LN                                                                                   BRIGHTON         MI    48116‐3702
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MARY KAY LAMEY                                613 S RANGELINE ROAD                                                                                 ANDERSON          IN    46012‐3807
MARY KAY LONG                                 BOX 85                                                                                               ATLANTA           IN    46031‐0085
MARY KAY MCEVOY CONNORS & KEVIN G CONNORS JT 22 LIVINGSTON RD                                                                                      WELLESLEY         MA    02482‐7309
TEN
MARY KAY MERCHANT TR MARY KAY MERCHANT LIVING 11 PATRICIA ROAD                                                                                     YANKEETOWN        FL    34498‐2225
TRUST UA 02/25/02
MARY KAY MICHAELS & KENNY A MICHAELS JT TEN   4535 HYCLIFFE DR                                                                                     TROY              MI    48098‐4428

MARY KAY NOTTINGHAM                               131 ROSSMOR CT                                                                                   PITTSBURGH        PA    15229‐3107
MARY KAY PUTZIG                                   91 RUNNING BROOK LN                                                                              ROCHESTER         NY    14626
MARY KAY STELTER                                  12911 N FM179                                                                                    SHALLOWSTER       TX    79363‐3082
MARY KAY STUMPF CUST SCOTT STUMPF UTMA DE         7 DELAWARE AVE                                                                                   CLAYMONT          DE    19703‐1901

MARY KAY WALKER                                   8550 ACORN RIDGE                                                                                 TAMPA             FL    33625‐3707
MARY KAY ZANE                                     19973 SHENANDOAH RIDGE                                                                           STRONGVILLE       OH    44136‐9100
MARY KAYE JURAN                                   4523 PERSHING AVENUE                                                                             FORT WORTH        TX    76107‐4247
MARY KAYE MC COOEY                                9480 SUNNYBROOK DR                                                                               NAVARRE           FL    32566‐2506
MARY KEITH RUFFNER                                11320 PLEASANT VALE RD                                                                           DELAPLANE         VA    20144‐1819
MARY KELLY MANNING                                615 LEWIS GRINDLE RD                                                                             DAHLONEGA         GA    30533‐4237
MARY KELLY PUCKETT                                143 WALKER LANE                                                                                  LAWRENCEBURG      KY    40342‐1620
MARY KEMMER                                       18 LAKESIDE BOULEVARD                                                                            WICHITA           KS    67207‐1043
MARY KILCOYNE TR MARY T KILCOYNE TRUST UA         6702 GOLFCREST DR                                                                                SAN DIEGO         CA    92119‐2428
09/09/86
MARY KILDUFF                                      5801 EMMAUS CHURCH RD                                                                            PROVDENCE FRG     VA    23140
MARY KILEEN MULLEN                                201 MORRIS AVE                                                                                   SPRING LAKE       NJ    07762‐1336
MARY KINCER                                       3018 BOBO SECTION RD                                                                             HAZEL GREEN       AL    35750‐8302
MARY KING FRIEDEL TR UA 08/22/96 MARY KING        8001 CHASE AVE                                                                                   LOS ANGELES       CA    90045‐2705
FRIEDEL REV TRUST
MARY KISZKA                                       G 6190 W PIERSON RD                                                                              FLUSHING          MI    48433
MARY KLAUBE                                       177 RUTGERS PL                                                                                   CLIFTON           NJ    07013‐1400
MARY KLINGAMAN CAPPS CUST JOSEPH C KLINGAMAN      1724 LIVE OAK DRIVE #4                                                                           FAYETTEVILLE      AR    72704‐6864
UTMA AR
MARY KLINGSPOHN                                   4737 N RIVER BAY RD                                                                              WATERFORD         WI    53185‐3317
MARY KNAUS & JOHN W KNAUS JT TEN                  2058 WICKHAM                                                                                     ROYAL OAK         MI    48073‐1164
MARY KNOLL                                        1808 E BEVENS ROAD                                                                               CARO              MI    48723‐8905
MARY KOBETIC                                      26080 KOONTZ                                                                                     ROSEVILLE         MI    48066‐4925
MARY KOBOLESKI                                    066 26TH ST                                                                                      FAIR LAWN         NJ    07410‐3740
MARY KOENIG                                       6225 SIMLER DR                                                                                   CLARKSTON         MI    48346‐1265
MARY KOLLATH                                      1134 COUNTY LINE RD                                                                              SCHENECTADY       NY    12306‐2548
MARY KONOPACKI                                    3940 N MOZART                                                                                    CHICAGO           IL    60618‐3620
MARY KORCHNAK                                     193 CENTER ST                                                                                    SPRINGDALE        PA    15144‐1631
MARY KOWTA                                        1013 ARBUTUS AVE                                                                                 CHICO             CA    95926‐4009
MARY KRUE ESTEVES CUST CARLOS K ESTEVES UGMA IN   1203 BRIARWOOD DR                                                                                ELKHART           IN    46514‐4489

MARY KUCZYNSKI                                    1198 SAWMILL RIVER RD                                                                            YONKERS           NY    10710‐3209
MARY KULESZA                                      29653 WALKER DR                                                                                  WARREN            MI    48092‐2262
MARY KUPIDLOSKI                                   BURNETT ST                                                                                       SOUTHAMPTON       NY    11968
MARY KURTZ                                        UHLANDSTR 7                             65189 WIESBADEN                        GERMANY
MARY L ABNEY                                      PO BOX 187                                                                                       SALUDA            SC    29138‐0187
MARY L ACKLEY                                     9300 CALIFORNIA                                                                                  LIVONIA           MI    48150‐3702
MARY L ALEXANDER & JILL A SIMMON JT TEN           1995 LITTLESTONE                                                                                 GROSSE POINTE     MI    48236‐1958
                                                                                                                                                   WOOD
MARY L ALEXANDRES                                 PO BOX 203                                                                                       CANFIELD          OH    44406‐0203
MARY L ALLEN & CHARLIE V ALLEN JT TEN             527 WEST WEBSTER                                                                                 SPRINGFIELD       MO    65802‐1844
MARY L ANNAERT                                    8 HOCKADAY CRT                          HAMPTON ON                             L0B 1J0 CANADA
MARY L AURAN                                      5525 E LINCOLN DR #113                                                                           PARADISE VALLEY   AZ    85253‐4119
MARY L BAILEY                                     3570 E 151 ST                                                                                    CLEVELAND         OH    44120‐4934
MARY L BAILOR                                     PO BOX 265                                                                                       ODESSA            DE    19730‐0265
MARY L BAKER                                      483 BEARDSLEY AVE 1ST FL                                                                         BLOOMFIELD        NJ    07003‐5661
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MARY L BAKER                                      3220 N RIVER RD RFD                                                                             SAGINAW           MI    48609‐9639
MARY L BAUER                                      2190 STARFISH LANE                                                                              SANIBEL ISLAND    FL    33957‐6111
MARY L BEATTY                                     3501 C R 250                                                                                    ANTWERP           OH    45813
MARY L BEAUBIEN                                   700 E KEARSLEY ST APT 217                                                                       FLINT             MI    48503‐1998
MARY L BERGER                                     5905 N TALMAN AVE                                                                               CHICAGO           IL    60659‐4008
MARY L BETTESWORTH TR MARY L BETTESWORTH          2466 HANALAND DR                                                                                FLINT             MI    48507‐3817
LIVING TRUST UA 04/21/95
MARY L BEVINS                                     2048 HARRIET DR                                                                                 TALLAHASSEE       FL    32303‐7316
MARY L BILBREY                                    6565 S MILL RD                                                                                  SPICELAND         IN    47385‐9611
MARY L BLACK & LINWOOD W BLACK JR JT TEN          20037 POLLYANNA                                                                                 LIVONIA           MI    48152‐4107
MARY L BLANCHARD                                  575 GRIDER ST                                                                                   BUFFALO           NY    14215‐2618
MARY L BLOOMBERG CUST RONALD WILLIAM              446 COUNTRY CLUB DR                                                                             BATTLE CREEK      MI    49015‐3624
BLOOMBERG U/THEMICH U‐G‐M‐A
MARY L BOAS                                       1812 BEE CREEK DR                                                                               COLLEGE STA       TX    77840‐4967
MARY L BOHN                                       23411 CIVIC CENTER                                                                              SOUTHFIELD        MI    48034‐2653
MARY L BOLTON                                     785 BRADFORD TERR                                                                               SPRINGFIELD       PA    19064‐3908
MARY L BOSCO                                      8429 BOCOWOOD DRIVE                                                                             DALLAS            TX    75228‐5920
MARY L BOTTICELLI                                 9261 GRAPE WINE CT                                                                              COLUMBIA          MD    21045
MARY L BOWERMASTER                                336 LAURYN MEADOWS                                                                              FAIRFIELD         OH    45014‐2625
MARY L BOWMAN                                     3100 S KINNEY RD                                                                                TUCSON            AZ    85713‐5505
MARY L BRANCH                                     624 N JUNIPER                                                                                   MIDWEST CITY      OK    73130‐2605
MARY L BRASS                                      302 N LINCOLN ST                                                                                GALVESTON         IN    46932‐9787
MARY L BROCK TR BROCK FAMILY TRUST UA 09/24/98    1331 N RANGELINE RD                                                                             ANDERSON          IN    46012‐9335

MARY L BRYANT                                     PO BOX 397                                                                                      CORDELE          GA     31010‐0397
MARY L BRYANT                                     9625 YELLOWSTONE                                                                                DETROIT          MI     48204‐1766
MARY L BRYANT                                     900 87TH AVE                                                                                    OAKLAND          CA     94621‐1646
MARY L BURKETT                                    120 SOUTH FRANKLIN ST                                                                           RICHWOOD         OH     43344‐1111
MARY L BURNHAM                                    4851 CANADA RD                                                                                  BIRCH RUN        MI     48415‐8925
MARY L BURZYNSKI                                  22200 RIVER PINES DR                                                                            FARMINGTON HILLS MI     48335‐4662

MARY L BUTCHER                                    4219 NEVADA AVE                                                                                 DAYTON            OH    45416‐1416
MARY L CADGER                                     3014 WESTMORELAND CT                                                                            HOPEWELL          VA    23860‐2062
MARY L CALDWELL                                   478 VALARIE LANE                                                                                PAGGOLL           AR    72454‐3401
MARY L CALLIS                                     314 HIGH SCHOOL RD                                                                              GREENTOWN         IN    46936‐1421
MARY L CAMELIO                                    161 FRISBEE HILL ROAD                                                                           HILTON            NY    14468‐8962
MARY L CANDIDO                                    75 SUBURBAN CT                                                                                  WEST SENECA       NY    14224‐3921
MARY L CANNADY                                    267 SOUTH PADDOCK                                                                               PONTIAC           MI    48342
MARY L CARROLL TR THE MARY LOUISE CARROLL TRUST   2600 MID LANE #9                                                                                HOUSTON           TX    77027‐4906
UA 01/31/86
MARY L CARSON TR THE CARSON TRUST UA 07/25/86     23233 CAMINITO ANDRETA                                                                          LAGUNA HILLS      CA    92653‐1670

MARY L CARVER                                     1293 SW 50 ROAD                                                                                 HOLDEN            MO    64040‐8445
MARY L CECIL                                      428 ELMCREST DR                                                                                 NORMAN            OK    73071
MARY L CHANDLER                                   436 S WASHINGTON ST                                                                             MONTPELIER        IN    47359‐1441
MARY L CHESSER                                    PO BOX 428                                                                                      PORT NECHES       TX    77651‐0428
MARY L CHRISTIE JR                                770 SOUTHVIEW CIR                                                                               KODAK             TN    37764‐1879
MARY L CHURCH CUST TIMOTHY R CHURCH UGMA WI       5626 PRESTON OAKS #14A                                                                          DALLAS            TX    75254‐8414

MARY L CLEVELAND                                  218 RIVERSIDE DRIVE                                                                             TROY              OH    45373‐1412
MARY L COBB                                       5615 HARBOURSIDE DR                                                                             MASON             OH    45040‐8364
MARY L COCHRAN                                    2904 GARDEN                                                                                     BURLINGTON        IA    52601‐1537
MARY L COLE                                       9210 N RIVERSIDE STATE PARK DR                                                                  NINE MILE FALLS   WA    99026‐9648
MARY L COLEMAN                                    29840 NEWPORT                                                                                   WARREN            MI    48093‐3643
MARY L COLLINS                                    26 GLENWOOD AVENUE                                                                              DAVENPORT         IA    52803‐3725
MARY L COLLINS & EUGENE COLLINS JT TEN            26 GLENWOOD AVE                                                                                 DAVENPORT         IA    52803‐3725
MARY L COPE TOD DAVID D COPE SUBJECT TO STA TOD   3510 JAEGER RD                                                                                  LORAIN            OH    44053
RULES
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MARY L COPE TOD DOUGLAS A COPE SUBJECT TO STA   3510 JAEGER RD                                                                                 LORAIN             OH    44053
TOD RULES
MARY L COPLEY                                   3990 W LOCH ALPINE DR                                                                          ANN ARBOR          MI    48103‐9452
MARY L COX HENDRICKS                            602 BABCOCK RD #115                                                                            SAN ANTONIO        TX    78201‐3101
MARY L CROSS                                    519 CHESTNUT DR                                                                                FLUSHING           MI    48433‐1437
MARY L CROW                                     PO BOX 424                                                                                     MENTONE            AL    35984‐0424
MARY L CUTTER                                   7491 CHESTNUT RIDGE ROAD                                                                       LOCKPORT           NY    14094‐3505
MARY L DANIELS                                  1010 B MANNING RD                                                                              HUMBLE             TX    77338‐2572
MARY L DANIELS                                  67 WASHINGTON PLACE                                                                            TEANECK            NJ    07666‐6147
MARY L DAVIDSON CUST JAMES CLIFTON DAVIDSON     659 WATERFORD LANE                                                                             CALERA             AL    35040
UTMA AL
MARY L DAVIS & JOSH L DAVIS JT TEN              3312 WEST 29TH                                                                                 MUNCIE             IN    47302‐4935
MARY L DEBOSE                                   4117 AMALFI DR                                                                                 PALMDALE           CA    93552‐5111
MARY L DEGROOT                                  3849 N FRANCISCO AVE                                                                           CHICAGO            IL    60618‐3503
MARY L DELGADO                                  644 BLUFF CANYON CIR                  #4                                                       EL PASO            TX    79912‐5148
MARY L DELUCA                                   1797 COUNTY ST                                                                                 EAST TAUNTON       MA    02718‐1305
MARY L DETAMORE                                 1017 BONANZA DR                                                                                ARLINGTON          TX    76001‐8537
MARY L DICKSON                                  7144 MORRELL‐RAY RD NE                                                                         BRISTOLVILLE       OH    44402‐9782
MARY L DILLON                                   9016 HICKORY KNOLL BLVD                                                                        FORT WAYNE         IN    46825‐2279
MARY L DINA                                     52 ALBEMARLE ST                                                                                ROCHESTER          NY    14613‐1402
MARY L DONETH & JOSEPH G DONETH JT TEN          1295 NORTHBROOK PLACE                                                                          THE VILLAGES       FL    32159‐7656
MARY L DOUGLAS                                  5243 CRAIG AVE NW                                                                              WARREN             OH    44483‐1237
MARY L DUFFEY & DANIEL K DUFFEY JT TEN          2102 WOOD RUSH                                                                                 SAN ANTONIO        TX    78232‐4944
MARY L DUNBAR                                   1404 STEVE WARINER DR                                                                          RUSSELL SPGS       KY    42642‐4547
MARY L DUNKLE                                   4727 FOXDALE DRIVE                                                                             KETTERING          OH    45429‐5713
MARY L DUNN & DAVID L JONES & ROBERT A JONES    4545 DAYVIEW                                                                                   DAYTON             OH    45417‐1332
KUUMBA JT TEN
MARY L DYE                                      302 GRANVILLE CIRCLE                                                                           MARIETTA           GA    30064‐5134
MARY L EDWARDS                                  613 LINCOLN ST                                                                                 DURAND             MI    48429‐1108
MARY L ELLIS                                    PO BOX 22667                                                                                   INDIANAPOLIS       IN    46222‐0667
MARY L EMMERT & ROBERT C EMMERT JT TEN          1347 RIDGECREST DR                                                                             CLINTON            IA    52732‐4802
MARY L ENCK                                     3747 ELMLAWN DR                                                                                TOLEDO             OH    43614‐3517
MARY L EVANS                                    116 W MIAMI TRL                                                                                SANDUSKY           OH    44870‐6155
MARY L FARLEY                                   2366 HIDDEN TRAIL DRIVE                                                                        STERLING HEIGHTS   MI    48314‐3740

MARY L FITZGERALD                               32 MOUNTAIN RISE                                                                               FAIRPORT        NY       14450‐3250
MARY L FLYNN                                    6923 PINE EAGLE LANE                                                                           WEST BLOOMFIELD MI       48322‐3875

MARY L FORREST                                  835 HAYMARKET ROAD                                                                             W JEFFERSON        OH    43162
MARY L FOSTER                                   425 LINDA VISTA                                                                                PONTIAC            MI    48342‐1745
MARY L FOWL CUST MARK ALVIN FOWL UNDER THE      18855 N 69TH AVE                                                                               GLENDALE           AZ    85308‐5752
FLORIDA GIFTS TO MINORS ACT
MARY L FOX                                      601 PUTNAM ST                                                                                  SANDUSKY           OH    44870‐2140
MARY L FOX                                      4769 PARARADISE                                                                                FALMOUTH           MI    49632‐9611
MARY L FREDIANI                                 109 PLEASANT VIEW RD                                                                           HACKETTSTOWN       NJ    07840‐1017
MARY L FREEMAN                                  3209 HOMESTEAD DR                                                                              WATERFORD          MI    48329‐2705
MARY L FULSON                                   920 S WASHINGTON AVE                  APT 9F                                                   LANSING            MI    48910‐1666
MARY L FURSCOTT                                 8505 WOODFIELD CROSSING BLVD                                                                   INDIANAPOLIS       IN    46240
MARY L GALLANT                                  77 CHURCH ST                                                                                   MILTON             MA    02186‐5505
MARY L GALLO & ROBERTA D MEADOWS JT TEN         100 S TREMAIN ST UNT E‐2                                                                       MT DORA            FL    32757‐6050
MARY L GARMAN                                   RD #2 BOX 340A                                                                                 TYRONE             PA    16686‐9718
MARY L GAUTREAUX                                430 E CORNERVIEW ST                                                                            GONZALES           LA    70737‐3524
MARY L GIBSON                                   1350 CHESTNUT DR APT E                                                                         TIPP CITY          OH    45371‐3301
MARY L GILBERT                                  577 BRUNSTETTER RD SW                                                                          WARREN             OH    44481‐9600
MARY L GILLIAM                                  101 ELLIOTT CT                                                                                 COLUMBIA           TN    38401‐5500
MARY L GILLISON EX EST CLARENCE H TATE          210 JOSEPHINE ST                                                                               BERRYVILLE         VA    22611
MARY L GILMAN & JOHN CARL GILMAN JT TEN         41942 CAMINO CASANA                                                                            TEMECULA           CA    92592‐6348
MARY L GITRE                                    31127 BELMONT COURT                                                                            BIRMINGHAM         MI    48025‐5308
MARY L GORDON                                   FERGUS AVE 7                                                                                   LEWISTOWN          MT    59457‐1662
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Name                                               Address1                            Address2             Address3          Address4          City            State Zip

MARY L GORZKIEWICZ                                 278 ELM                                                                                      DUNDEE          MI    48131‐1003
MARY L GORZKIEWICZ & KAREN LUCHT JT TEN            278 ELM ST                                                                                   DUNDEE          MI    48131‐1003
MARY L GORZKIEWICZ & LISA M GORKIEWICZ JT TEN      278 ELM ST                                                                                   DUNDEE          MI    48131‐1003

MARY L GORZKIEWICZ CUST HERBERT GORZKIEWICZ JR     278 ELM ST                                                                                   DUNDEE          MI    48131‐1003
UGMA MI
MARY L GORZKIEWICZ CUST MAX W GORZKIEWICZ          278 ELM ST                                                                                   DUNDEE          MI    48131‐1003
UGMA MI
MARY L GRAPER                                      5572 NORTH DIVERSEY BLVD                                                                     WHITTISH BAY    WI    53217‐5201
MARY L GUFFEY                                      3515 LAURISTON DRIVE                                                                         NEW CASTLE      IN    47362‐1721
MARY L GUY                                         550 PEARSALL                                                                                 PONTIAC         MI    48053
MARY L GWOZDEK                                     10041 S WESTMINSTER RD                                                                       GUTHRIE         OK    73044‐9195
MARY L GWOZDEK & JOHN V GWOZDEK JT TEN             10041 S WESTMINSTER RD                                                                       GUTHRIE         OK    73044‐9195
MARY L HALE                                        8365 ADAMS ROAD                                                                              DAYTON          OH    45424‐4031
MARY L HANBY                                       6365 RT 380                                                                                  SINCLAIRVILLE   NY    14782‐9654
MARY L HANNON & AGNES L HANNON JT TEN              58 THORNY LEA TERRACE                                                                        BROCKTON        MA    02301‐3002
MARY L HANSEN                                      24496 WISTARIA DR                                                                            FARMINGTN HLS   MI    48336‐2167
MARY L HARDIN WELDY                                21844 WESTFIELD AVE                                                                          HAYWARD         CA    94541‐2565
MARY L HARMON                                      19473 LANKFORD HWY                                                                           PARKSLEY        VA    23421‐3823
MARY L HARRIS RUNYAN                               804 JAMESTOWN DR                                                                             ALTUS           OK    73521‐1074
MARY L HARSHA                                      1616 SHERIDAN RD UNIT 8B                                                                     WILMETTE        IL    60091‐1823
MARY L HART                                        2991 WEST BROWN RD                                                                           BENTLEY         MI    48613‐8601
MARY L HARTMAN                                     34117 W 263RD ST                                                                             PAOLA           KS    66071‐4223
MARY L HARVEY                                      209 S WALNUT ST                                                                              FAIRMOUNT       IN    46928‐2044
MARY L HARVEY & DON R HARVEY JT TEN                12304 E 63RD TERRACE                                                                         KANSAS CITY     MO    64133
MARY L HAYWOOD & RONALD J HAYWOOD JT TEN           7035 ROSEWOOD DR                                                                             FLUSHING        MI    48433‐2280

MARY L HAZLE                                       2431 CO RD 72                                                                                DANVILLE        AL    35619‐8430
MARY L HEARN & MICHAEL P HEARN JT TEN              403 S LEE ST                                                                                 ALEXANDRIA      VA    22314‐3815
MARY L HEIMAN                                      7909 HARPETH VIEW DRIVE                                                                      NASHVILLE       TN    37221‐5329
MARY L HEITZMAN                                    4165 RASOR DRIVE                                                                             TROY            OH    45373‐9543
MARY L HERGENHAN                                   90 HOUTMAN DR                                                                                WALDEN          NY    12586‐2222
MARY L HIATT TR MARY L HIATT TRUST UA 11/09/98     7038 ROSECLIFF PL                                                                            DAYTON          OH    45459‐1385

MARY L HOGAN                                       200 CROSS ST                                                                                 BELMONT         MA    02478‐3145
MARY L HOLLINGSWORTH                               4215 MACKINAW                                                                                SAGINAW         MI    48602‐3315
MARY L HOLTZMAN                                    4360 LAMBETH DRIVE                                                                           HUBER HEIGHTS   OH    45424‐5932
MARY L HUDSON                                      PO BOX 94                                                                                    LONG LAKE       MI    48743‐0015
MARY L HUGHES                                      125 OSCEOLA DR                                                                               PONTIAC         MI    48341‐1155
MARY L HUGHES                                      PO BOX 3241                                                                                  ANDERSON        IN    46018‐3241
MARY L HUGHLETT & ARTHUR H HUGHLETT JT TEN         6055 WALDRON RD                                                                              CLARKSTON       MI    48016

MARY L HUNTER                                      PO BOX 5153                                                                                  FLINT           MI    48505‐0153
MARY L HURSE                                       16759 WESTMORELAND RD                                                                        DETROIT         MI    48219‐4027
MARY L JACKSON                                     27205 SHERWOOD RD                                                                            BELLEVILLE      MI    48111‐8802
MARY L JACOBS & DANNY L JACOBS JT TEN              2817 47TH AVE E                                                                              TUSCALOOSA      AL    35404‐5219
MARY L JAMESON                                     N5491 CNTY RD C                                                                              CECIL           WI    54111‐9318
MARY L JASON                                       3743 S ADAMS RD                     APT 77                                                   ROCHESTER HLS   MI    48309‐3969
MARY L JOCKISH                                     4217 W SMOKEY ROW RD                                                                         GREENWOOD       IN    46143‐9263
MARY L JOHNSTONE                                   16758 VINTAGE                                                                                NORTH HILLS     CA    91343‐1029
MARY L JONES                                       33050 MYRNA DR                                                                               LIVONIA         MI    48154‐2914
MARY L JONES                                       3349 HEMMETER RD                                                                             SAGINAW         MI    48603‐2024
MARY L KAISER TR UA 07/18/2007 MARY L KAISER       229 MOHAWK STREET APT 65                                                                     TIFFIN          OH    44883
REVOCABLE TRUST
MARY L KARDOS & PAUL R TOMER JT TEN                142 W SCHWAB AVE                                                                             MUNHALL         PA    15120‐2270
MARY L KAUL & TIMOTHY V KAUL & MICHAEL V KAUL JT   5919 WARBLER DR                                                                              CLARKSTON       MI    48346
TEN
MARY L KAVEN‐BARRON TR MARY L KAVEN‐BARRON         2735 EARL LAKE DR                                                                            HOWELL          MI    48843‐8613
REVOCABLE TRUST UA 08/12/02
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Name                                             Address1                                Address2               Address3        Address4          City             State Zip

MARY L KEELEY & P EUGENE KEELEY JT TEN           279 HOLLYWOOD BEACH RD                                                                           CHESAPEAK CITY   MD    21915‐1615
MARY L KEELS                                     1929 GILMARTIN ST                                                                                FLINT            MI    48503‐4411
MARY L KELLER TR REVOCABLE LIVING TRUST 06/26/92 155 LIBERTY LANE APT 4                                                                           SYCAMORE         IL    60178‐8514
U‐A MARY L KELLER
MARY L KENNEDY & JOHN F KENNEDY TEN COM          5381 BREEZE HILL PLACE                                                                           TROY             MI    48098‐2707
MARY L KERTON TR MARY L KERTON TRUST UA 07/22/92 403 EAST RD                                                                                      HOLLY            MI    48442‐1440

MARY L KIDD                                      6592 RUSTIC RIDGE TRL                                                                            GRAND BLANC      MI    48439‐4955
MARY L KIENAPPLE                                 UNIT 11                                 50 NORTHUMBERLAND RD   LONDON ON       N6H 5J2 CANADA
MARY L KRISH                                     2271 S VASSAR RD                                                                                 DAVISON          MI    48423‐2301
MARY L KUCHEY                                    211O QUATMAN AVE                                                                                 CINCINNATI       OH    45212
MARY L LAKE                                      6058 HACKAMORE TRL                                                                               DAYTON           OH    45459‐2411
MARY L LANDSEADEL                                1193 W 400S                                                                                      TIPTON           IN    46072‐8930
MARY L LAPOINT                                   90 LINCOLN STREET                                                                                HOWELL           NJ    07731
MARY L LARSEN                                    357 BEVERLY RD                                                                                   BARRINGTON       IL    60010‐3407
MARY L LAUN TR MARY L LAUN TRUST UA 05/18/00     105 S EVANS                                                                                      LINCOLN          IL    62656‐2200

MARY L LAWRENCE                                  39485 S MCKENZIE PT RD                                                                           DRUMMOND IS      MI    49726‐9706
MARY L LAYMAN                                    401 KIRKWOOD CT                                                                                  LINCOLN          CA    95648‐8741
MARY L LOAYZA & JAMES E LOAYZA & MARILOU POPA JT 9934 NORTHWOOD CT                                                                                HIGHLAND         IN    46322‐5507
TEN
MARY L LONG                                      700 N BENTSEN PALM DR #99                                                                        MISSION          TX    78572‐9456
MARY L LUDJIN & WILLIAM R LUDJIN JT TEN          1336 QUAIL CRT                                                                                   ANTIOCH          IL    60002
MARY L LUKASZEK                                  6650 U S 41 S                                                                                    MARQUETTE        MI    49855‐9026
MARY L LYNCH                                     ATTN MARY L NORLANDER                   5704 GARFIELD AVENUE                                     MINNEAPOLIS      MN    55419‐1716
MARY L MACDONALD                                 3421 BOWERS RD                                                                                   ATTICA           MI    48412‐9392
MARY L MACEK                                     2911 TUXEDO AVE                                                                                  PARMA            OH    44134‐1330
MARY L MACK                                      2897 HARTLAND CENTER ROAD                                                                        COLLINS          OH    44826‐9708
MARY L MADILL                                    1625 LOMA CREST                                                                                  GLENDALE         CA    91205‐3709
MARY L MALONE TR UA 01/23/91 MARY L MALONE       3211 PIERCE                                                                                      SIOUX CITY       IA    51104‐2533
TRUST
MARY L MARSH                                     1836 BIERSTAD DR                                                                                 POWELL           OH    43065‐9014
MARY L MARTIN                                    RR 1 BOX 983                                                                                     HEMPHILL         TX    75948‐9727
MARY L MASCITTI                                  553 MCHENRY RD #261                                                                              WHEELING         IL    60090‐3856
MARY L MASON                                     1336 PEACHWOOD DR                                                                                FLINT            MI    48507‐5637
MARY L MATHERS                                   2323 LAVELLE RD                                                                                  FLINT            MI    48504‐2309
MARY L MATTUCCI                                  11040 JANE DR                                                                                    ALDEN            NY    14004
MARY L MAYBALL                                   4547 W HIGGINS LAKE DR                                                                           ROSCOMMON        MI    48653‐9509
MARY L MAZUR & JOHN A MAZUR JT TEN               79 NORTON AVE                                                                                    POULTNEY         VT    05764‐1011
MARY L MAZZIOTTI                                 2252 GEORGETOWN AVE                                                                              TOLEDO           OH    43613‐4411
MARY L MC CARTHY CUST MARTIN C FURGAL UGMA NY 913 BEVERLY DR                                                                                      SYRACUSE         NY    13219‐2853

MARY L MC DANIEL                                 PO BOX 5                                                                                         WRIGHTSVILLE     AR    72183‐0005
MARY L MC DONALD                                 717 RIVER POINTE PLACE                                                                           MISHAWAKA        IN    46544‐4164
MARY L MC ILROY                                  43778 27TH ST W                                                                                  LANCASTER        CA    93536‐5848
MARY L MC KAY                                    4366 DELHI DR                                                                                    RIVERSIDE        OH    45432‐3426
MARY L MC LAUGHLIN                               4983 BRAEWILD RD                                                                                 ROCKFORD         IL    61107‐1607
MARY L MC LEOD                                   1497 TENNYSON DR                                                                                 TEMPERANCE       MI    48182‐3206
MARY L MC NEW & MARY B MC NEW JT TEN             202 NE BAYVIEW DR                                                                                LEES SUMMIT      MO    64064‐1594
MARY L MCCLURE                                   14918 HONORE AVENUE                                                                              HARVEY           IL    60426‐2007
MARY L MCCUTCHEON                                820 WEST J STREET                                                                                BENICIA          CA    94510
MARY L MCDOUGAL                                  438 EVERGREEN AVENUE                                                                             NEW CASTLE       PA    16105‐1408
MARY L MCGLASHEN TR MARY L MCGLASHEN LIVING      3694 TERRELL                                                                                     WATERFORD        MI    48329‐1140
TRUST UA06/18/97
MARY L MCGOVERN                                  12965 METTETAL                                                                                   DETROIT          MI    48227‐1289
MARY L MCGOWAN                                   602 N 4TH                                                                                        SAGINAW          MI    48607‐1312
MARY L MCKENNEY                                  10561 WATER ST                                                                                   DEFIANCE         OH    43512‐1247
MARY L MCLEE                                     14 N HILLSIDE AVE                                                                                ELMSFORD         NY    10523‐3104
MARY L MCLEMORE                                  739 HOLLISTER                                                                                    PONTIAC          MI    48340‐2429
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Name                                             Address1                                Address2             Address3          Address4          City              State Zip

MARY L MCNEAL                                    409 W JAMIESON                                                                                   FLINT             MI    48505‐4057
MARY L MCNEELY                                   808 TULANE DR                                                                                    FLINT             MI    48503‐5253
MARY L METZLER                                   4847 FEATHERBED LN                                                                               SARASOTA          FL    34242‐1558
MARY L MEYER                                     5515 BRIAR CREEK WAY                                                                             SARASOTA          FL    34235‐9140
MARY L MOORE                                     335 KENILWORTH                                                                                   TOLEDO            OH    43610‐1457
MARY L MOORE                                     726 CHARLES ST                                                                                   YPSILANTI         MI    48198‐3004
MARY L MOORE & RICHARD J MOORE JT TEN            726 CHARLES ST                                                                                   YPSILANTI         MI    48198‐3004
MARY L MORGAN                                    619 NEUBERT AV                                                                                   FLINT             MI    48507‐1716
MARY L MORRIS                                    8862 CAGLE DR                                                                                    NAVARRE           FL    32566‐2128
MARY L MORRISON                                  PO BOX 975                                                                                       FAIRMONT          WV    26555‐0975
MARY L MUELLER & MARTY L MUELLER JT TEN          7052 CLEON DR                                                                                    SWART CREEK       MI    48473‐9407
MARY L MURPHY                                    580 MAIN ST                                                                                      WOBURN            MA    01801‐2924
MARY L MYERS                                     2004 STEPHANIE KAYE DR                                                                           LA GRANGE         KY    40031‐9135
MARY L NICHOLS                                   201 OXBOW LK RD                                                                                  WHITE LAKE        MI    48386‐2625
MARY L NOBILE                                    750 E RIALTO AVE                        SP 64                                                    RIALTO            CA    92376‐0265
MARY L NOCKS                                     10523 FARMLAND DR                                                                                HARRISON          OH    45030‐1774
MARY L NURRE TR MARY L NURRE 1991 TRUST UA       3067 WESTRIDGE RD                                                                                RIVERSIDE         CA    92506‐4454
04/04/91
MARY L NYE                                       7404 LINCOLN AVE                                                                                 BARODA            MI    49101‐9721
MARY L OGBORNE                                   19 MARTHA BLVD                                                                                   PARLIN            NJ    08859
MARY L OMALLEY                                   2300 PLAZA AVE NE                       APT 623                                                  WARREN            OH    44483‐3551
MARY L OSTROWSKI                                 40645 OAKWOOD                                                                                    NOVI              MI    48375‐4455
MARY L OSTROWSKI & ANGELA M OSTROWSKI JT TEN     40645 OAKWOOD                                                                                    NOVI              MI    48375‐4455

MARY L PERKINS & ROBERT W PERKINS & LINDA S      4349 WOODROW AVE                                                                                 BURTON            MI    48509‐1125
MCNICOL JT TEN
MARY L PETERSEN & MICHAEL S PETERSEN JT TEN      5165 WOOD SHADE CT                                                                               WEST JORDAN       UT    84084‐5545
MARY L PHAREZ                                    PO BOX 304                                                                                       CALVERT           AL    36513‐0304
MARY L PHELAN                                    2570 PEBBLE BEACH DR                                                                             OAKLAND           MI    48363‐2447
MARY L POSTELL                                   1424 LAUREL TOP DRIVE                                                                            MIDLOTHIAN        VA    23113‐5117
MARY L POSTELL & THOMAS E POSTELL JT TEN         1424 LAUREL TOP DRIVE                                                                            MIDLOTHIAN        VA    23113‐5117
MARY L POTTER                                    3134 ETON ROAD                                                                                   RALEIGH           NC    27608‐1114
MARY L POTTER                                    524 DARLINGTON RD                                                                                MEDIA             PA    19063
MARY L POWELL                                    17700 GLOBE THEATRE DR                                                                           OLNEY             MD    20832‐1675
MARY L POWERS                                    23350 EDINBURGH PL                                                                               SOUTHFIELD        MI    48033‐4885
MARY L PRATER                                    301 EAST 400 SOUTH                                                                               KOKOMO            IN    46902‐5572
MARY L PRESSEL                                   1 PATRICK ST                                                                                     DAYTON            OH    45426‐3452
MARY L RAGSDALE                                  103 NORCROSS DR                                                                                  CROSSVILLE        TN    38558‐8526
MARY L RAGSDALE & JOSEPH E RAGSDALE JT TEN       103 NORCROSS RD                                                                                  FAIRFIELD GLADE   TN    38558‐8526
MARY L RAMSEY                                    3614 EAST 113                                                                                    CLEVELAND         OH    44105‐2536
MARY L RANAGAN                                   11 RICHARD DR                                                                                    DUMONT            NJ    07628‐1503
MARY L RAY                                       4560 AMESBURY DRIVE                                                                              BETTENDORF        IA    52722‐1809
MARY L REEVES                                    1903 SAVANNAH LN                                                                                 YPSILANTI         MI    48198‐3674
MARY L RENDER TR MARY L RENDER REVOCABLE TRUST   13035 N 94TH PL                                                                                  SCOTTSDALE        AZ    85260‐4373
UA 9/26/95
MARY L RESER                                     10603 OAK TRAIL RD                                                                               FT WAYNE          IN    46845‐6119
MARY L RHODES                                    4738 NAKOMA DR                                                                                   OKEMOS            MI    48864‐2025
MARY L RICE                                      PO BOX 7011                                                                                      PADUCAH           KY    42002‐7011
MARY L RICHERT                                   1291 MCKIMMY DRIVE                                                                               BEAVERTON         MI    48612‐9189
MARY L RICHMOND                                  6055 WALDON ROAD                                                                                 CLARKSTON         MI    48346‐2239
MARY L ROBE                                      4928 BRITNI WAY                                                                                  ZEPHYRHILLS       FL    33541‐7312
MARY L ROBERTS                                   326 S 31ST ST                                                                                    SAGINAW           MI    48601‐6348
MARY L ROBERTS                                   OAK CREST MANORS                        11833 JAMES ST A2                                        HOLLAND           MI    49424‐7716
MARY L ROBINSON                                  1824 THORNHILL PASS SE                                                                           CONYERS           GA    30013‐6322
MARY L ROBINSON                                  798 SAINT CLAIR AVE                                                                              HAMILTON          OH    45015‐2056
MARY L ROBINSON                                  28212 AMABLE                                                                                     MISSION VIEJO     CA    92692‐2603
MARY L ROUNKE                                    35950 LARCHWOOD ST                                                                               CLINTON TWP       MI    48035‐2738
MARY L ROY                                       1456 LEDGEWOOD DR                                                                                CANTON            MI    48188‐1135
MARY L RUTTLE                                    1221 PALO ALTO ST                                                                                PITTSBURGH        PA    15212‐4514
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Name                                              Address1                             Address2              Address3         Address4          City               State Zip

MARY L RYNER & THOMAS W RYNER JT TEN              2023 GLENN ST                                                                                 BETTENDORF         IA    52722‐4338
MARY L SACKETT                                    7661 N DELTA PLACE                                                                            MILWAUKEE          WI    53223‐4365
MARY L SANDERCOCK                                 40750 WOODWARD AVE UNIT 25                                                                    BLOOMFIELD HILLS   MI    48304‐5113

MARY L SCHANTZ                                    3541 GLEANER ROAD                                                                             SAGINAW            MI    48609‐9110
MARY L SCHLACHLIN                                 16212 RICHVALE DR                                                                             WHITTIER           CA    90604‐3630
MARY L SCHLEE                                     5203 W DARTMOOR DR                                                                            MCHENRY            IL    60050‐5914
MARY L SCHMERFELD                                 ATTN MARY L SCHMERFELD‐SCHULER       138 W FLAGSTONE DR                                       NEWARK             DE    19702‐3647
MARY L SCHULZ                                     2229 COLONY PLAZA                                                                             JACKSONVILLE       NC    28546‐1617
MARY L SEMENAS                                    N8703 LAKESHORE DR                                                                            FOND DU LAC        WI    54937‐1726
MARY L SERGENT                                    6110 HAMMEL                                                                                   CINCINNATI         OH    45237‐4902
MARY L SESOCK & LOREEN M SESOCK JT TEN            368 HUNTINGTON CT                                                                             ROCHESTER HILLS    MI    48307‐3439
MARY L SEYLER                                     348 ZIMMERMAN BLVD                                                                            BUFFALO            NY    14223‐1024
MARY L SEYUIN & STEVEN JAMES SEYUIN JT TEN        6556 OLD ELMWOOD RD                                                                           CASS CITY          MI    48726‐8917
MARY L SHEETS                                     28943 BISON CT                                                                                MALIBU             CA    90265‐4203
MARY L SHEIRER                                    10817 BEACHMONT LN                                                                            AUSTIN             TX    78739‐1791
MARY L SHELL TR MARY L SHELL REVOCABLE TRUST UA   19830 FLORENCE                                                                                DETROIT            MI    48129
04/05/04
MARY L SHELTON                                    218 S WESTVIEW AVE                                                                            DAYTON             OH    45403‐2824
MARY L SHIOLI                                     101 UPPER VALLEY LANE                                                                         NEWARK             DE    19711‐6730
MARY L SHIRAKAWA                                  PO BOX 602                                                                                    COCOA              FL    32923‐0602
MARY L SHULTERS                                   2142 PAULINE                         #202                                                     ANN ARBOR          MI    48103‐5112
MARY L SKAGGS & STEVEN L SKAGGS JT TEN            11904 HICKORY CIRCLE                                                                          KELLER             TX    76248
MARY L SKOP                                       200 INDIANSIDE DR                                                                             OAKLAND            MI    48363‐1010
MARY L SMITH                                      7979 RHANBUOY RD                                                                              SPRING HILL        FL    34606‐1952
MARY L SOMBRIO                                    5055 N NEW WORLD DR                                                                           GLENDALE           AZ    85302‐5022
MARY L SOMBRIO & DARLENE A SOMBRIO JT TEN         5055 N NEW WORLD DR                                                                           GLENDALE           AZ    85302‐5022
MARY L SORRELL                                    109 CONNECTICUT                                                                               HIGHLAND PK        MI    48203‐3554
MARY L SORRO                                      4155 EDEN VALLEY DRIVE                                                                        LOGANVILLE         GA    30052‐7549
MARY L STACK                                      RR1 BOX 170A                                                                                  ELIZABETHTOWN      IL    62931‐9720
MARY L STEGER TR THE MARY L STEGER TRUST UA       15322 FARNSWORTH STREET                                                                       SAN LEANDRO        CA    94579‐2014
08/23/02
MARY L STINNETT                                   202 W MARENGO                                                                                 FLINT              MI    48505‐3261
MARY L STINSON                                    2515 LORENTZ DR                                                                               SUMTER             SC    29154‐7073
MARY L STITH TOD GARY M STITH SUBJ TO STA TOD     27 MARKET ST                                                                                  SALEM              NJ    08079‐1908
RULES
MARY L STOLL                                      C/O MARY L HESS                      190 SOMERVILLE AVE                                       TONAWANDA          NY    14150‐8700
MARY L SULLIVAN                                   APT 405                              302 FOX CHAPEL RD                                        PITTSBURGH         PA    15238‐2337
MARY L SWARTZ                                     525 W UPPER HIGH ST                                                                           FRACKVILLE         PA    17931‐1148
MARY L SWICK                                      251 TROY RD                                                                                   DELAWARE           OH    43015‐1527
MARY L SWISS                                      ATTN MARY L JACQUIN                  115 BERNDHARDT BLVD                                      COLUMBIA           TN    38401‐2601
MARY L TARBY                                      1604 WOODCREST DR                                                                             TOMS RIVER         NJ    08753
MARY L TERRY                                      770 SOUTHVIEW CIR                                                                             KODAK              TN    37764‐1879
MARY L TERRY                                      ATTN MARY LOU TERRY FYFFE            3199 LANCASTER DR                                        FAIRBORN           OH    45324‐2117
MARY L THEISEN                                    1612 RUBY LN                                                                                  EAU CLAIRE         WI    54703‐1869
MARY L THERRIEN                                   15221 S VISTA LN                                                                              PLAINFIELD         IL    60544
MARY L THOMAS                                     123 MERLINE AVE                                                                               LAWRENCEVILLE      NJ    08648‐3860
MARY L THOMAS TOD KATHRYN L BARBER SUBJECT TO     150 LOQUAT RD NE                                                                              LAKE PLACID        FL    33852‐9743
STA TOD RULES
MARY L TOBIN                                      2212 SHAKESPEARE RD                                                                           HOUSTON            TX    77030‐1113
MARY L TORRES                                     627 FRANK ST                                                                                  ADRIAN             MI    49221‐3016
MARY L TUCK                                       12 S OSCEOLA                                                                                  BEVERLY HILLS      FL    34465‐3650
MARY L TURNER                                     1934 BARKS ST                                                                                 FLINT              MI    48503‐4304
MARY L TYLER CUST TIMOTHY JAMES TYLER UGMA MI     1628 WHITES RD                                                                                KALAMAZOO          MI    49008‐2838

MARY L VAN DYNE                                   647 CIRCLE DR                                                                                 PORT HAYWOOD       VA    23138
MARY L VANDER MEER                                5390 BARRETT CIRCLE                                                                           BUENA PARK         CA    90621‐1351
MARY L VANDRASIK                                  2207 ELBUR AVE                                                                                LAKEWOOD           OH    44107‐6117
MARY L WACHTER                                    1613 MORNINGSIDE DRIVE APT 2                                                                  JANESVILLE         WI    53545
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Name                                           Address1                              Address2             Address3          Address4          City           State Zip

MARY L WALL                                     9731 CORNELL ST                                                                               TAYLOR         MI    48180‐7309
MARY L WALLACE & JOHN WALLACE JT TEN            14841 CLEVELAND AVE                                                                           ALLEN PARK     MI    48101‐2109
MARY L WARREN                                   534 SWEET HOME ROAD                                                                           AMHERST        NY    14226‐2220
MARY L WASH                                     5057 N JENNINGS RD                                                                            FLINT          MI    48504‐1113
MARY L WEAVER                                   11647 N US27                                                                                  DEWITT         MI    48820‐9730
MARY L WEBB                                     6971 WOLFF STREET                                                                             WESTMINSTER    CO    80030‐5748
MARY L WELLINGTON TR MARY L WELLINGTON LIVING 8682 NORTH MORNING VIEW DR                                                                      TUCSON         AZ    85704
TRUST UA 7/6/99
MARY L WEST TR MARY L WEST LIVING TRUST UA      2005 SUNNY DR                                                                                 SAINT LOUIS    MO    63122‐2207
02/1997
MARY L WHITE                                    149 STILLWELL COURT                                                                           PITTSBURGH     PA    15228‐1791
MARY L WHITE                                    818 N BYRNE RD                                                                                TOLEDO         OH    43607‐2807
MARY L WILES                                    11316 FORDLINE ST                                                                             ALEN PARK      MI    48101‐1047
MARY L WILLIAMS                                 7894 SEBRING DR                                                                               DAYTON         OH    45424‐2232
MARY L WILLIAMSON                               8322 STONY CREEK                                                                              YPSILANTI      MI    48197‐6612
MARY L WILSON & PAUL J WILSON & ROSOLENA WILSON 321 FAIRVIEW DR #902                 BRANTFORD ON                           N3R 2X5 CANADA
JT TEN
MARY L WOOD                                     PO BOX 90126                                                                                  BURTON         MI    48509‐0126
MARY L WOOD                                     2063 HERITAGE DR                                                                              SANDUSKY       OH    44870‐5158
MARY L WOODARD                                  6343 NAPIER RD                                                                                PLYMOUTH       MI    48170‐5096
MARY L WOODYARD                                 1134 TOWNLINE CT                                                                              GRAND BLANC    MI    48439‐1627
MARY L WRIGHT                                   5142 PASEO                                                                                    KANSAS CITY    MO    64110‐2642
MARY L WYREMBELSKI & JOAN MARIE WYREMBELSKI JT 2385 CEDAR PARK DR                    321                                                      HOLT           MI    48842
TEN
MARY L ZYROWSKI & RICHARD L ZYROWSKI JT TEN     987 E FARNUM                                                                                  MADISON HEIGHTS MI   48071‐3426

MARY LAITER                                    C/O MRS M STROKON                     2578 WESTMINSTER     WINDSOR ON        N8T 1Y3 CANADA
MARY LAMANNA & MARY G CAGLIOSTRO & JOHN A      1125 60 STREET                                                                                 BROOKLYN       NY    11219‐4925
LAMANNA JT TEN
MARY LAMBERT BROADRICK                         1220 BROADRICK DRIVE                  APT 1307                                                 DALTON         GA    30720‐2810
MARY LANDERS CUST DANA MICHELLE LANDERS UGMA   2504 SHERWOOD DR SE                                                                            DECATUR        AL    35601‐5338
AL
MARY LANDERS CUST WILLIAM BRANDON LANDERS      2504 SHERWOOD DR SE                                                                            DECATUR        AL    35601‐5338
UGMA AL
MARY LANDON BRUGH                                                                                                                             CLIFFORD       VA    24533
MARY LANUM CARNEAL                             3317 LANARC DR                                                                                 PLANO          TX    75023‐8111
MARY LAUB                                      1814 22ND AVE S                                                                                ESCANABA       MI    49829‐1927
MARY LAUREN WHITE                              7216 RIDGE LINE DR                                                                             RALEIGH        NC    27613
MARY LAVERS                                    4488 RIPPLING COVE CT                                                                          DENVER         NC    28037‐7553
MARY LEAH SUTTON                               2010 CASTELLI BLVD                                                                             MOUNT DORA     FL    32757‐6517
MARY LEBLANC                                   20011 N DR SOUTH                                                                               HOMER          MI    49245‐9613
MARY LEE CAMPBELL                              1231 CURRY CHAPEL RD                                                                           SOMERVILLE     AL    35670‐3524
MARY LEE GAMBONE                               4763 WOODS EDGE DR                                                                             ZIONSVILLE     IN    46077
MARY LEE HOTTEL CUST ROBERT L HOTTEL UGMA MD   127 PLEASENT SPRINGS DR                                                                        CENTERVILLE    MD    21617‐2378

MARY LEE KELLEY                                1812 N 76TH COURT                                                                              ELMWOOD PARK   IL    60707‐3631
MARY LEE KELLY                                 1511 SHERIDAN ST                                                                               WILLIAMSPORT   PA    17701‐3730
MARY LEE MC ISAAC                              19 GAREN RD                                                                                    CHARLOTTE      VT    05445‐9188
MARY LEE MCCLURE                               812 BOSTON DR                                                                                  KOKOMO         IN    46902‐4992
MARY LEE MCCLURE TR MARY LEE MCCLURE REV LIV   812 BOSTON DRIVE                                                                               KOKOMO         IN    46902‐4992
TRUST UA 03/10/05
MARY LEE MITCHELL                              1206 INDEPENDENCE WAY                                                                          NEWARK         DE    19713‐1168
MARY LEE MOELLER & KIRI SALAZAR JT TEN         570 W CLAY AVE                        APT 306                                                  MUSKEGON       MI    49440‐1511
MARY LEE OSWALT                                1118 HWY 515 SOUTH                                                                             HOUSTON        MS    38851‐7629
MARY LEE PAYNE                                 431 FOREST AVE                                                                                 ERLANGER       KY    41018‐1629
MARY LEE PREGON                                1624 WINDEMERE DR                                                                              DAYTON         OH    45429‐4241
MARY LEE SAFRIT                                1145 OLIVER RD                                                                                 ROCKWELL       NC    28138‐6732
MARY LEE SPECKMAN                              3404 FLINTHAVEN RD                                                                             LOUISVILLE     KY    40241‐2706
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MARY LEE TR ROBERT & MARY LEE LIVING TRUST UA    667 CRANE AVE                                                                                   FOSTER CITY       CA    94404‐1339
03/19/81
MARY LEE ZINN & EDWARD ZINN JT TEN               1046 BALLS HILL RD                                                                              MC LEAN           VA    22101‐2021
MARY LEGA                                        659 LITCHFIELD LN                                                                               DUNEDIN           FL    34698‐7430
MARY LEGGAT‐HEFFNER & STEPHEN A HEFFNER JT TEN   4689 MERRICK                                                                                    DRYDEN            MI    48428‐9369

MARY LEILA BISHOP CUST LEILA CLAIRE BISHOP UTMA FL 11525 SW MEADOWLARK CIR                                                                       STUART            FL    34997‐2733

MARY LEILA CURTICE BISHOP CUST LEILA CLAIRE BISHOP 11525 SW MEADOWLARK CIR                                                                       STUART            FL    34997‐2733
UTMA FL
MARY LI‐CHIANG FAN                                 97 LOUISA ST 1ST FLOOR                                                                        BROOKLYN          NY    11218‐3013
MARY LIGHTFOOT & PAUL LIGHTFOOT JT TEN             12690 WARD ST                                                                                 DETROIT           MI    48227
MARY LILLIAN PAYNE & MOLLY JO IDA MORAN JT TEN     11115 BRAXTON RD SW                  CALGARY AB                             T2W 1C7 CANADA

MARY LILLY                                       3927 HOLDER FOREST DR                                                                           HOUSTON           TX    77088
MARY LIMA HENDERSON                              1301 NOTTINGHAM RD                     APT C202                                                 JAMESVILLE        NY    13078‐8777
MARY LIMANNI                                     19 FIRE HOUSE DR                                                                                LTL EGG HBR       NJ    08087‐9735
MARY LINDA LISSOW                                14 N SHORE DR                                                                                   HILTON            NY    14468‐8802
MARY LISA F LYNCH                                PO BOX 1317                                                                                     EL DORADO         CA    95623
MARY LISA HUMMEL                                 4403 VT RT 15                                                                                   WOLCOTT           VT    05680
MARY LITTRELL                                    17503 SHOAL LAKE LN                                                                             HOUSTON           TX    77095‐5158
MARY LLENELL MCPHERSON                           PO BOX 2903                                                                                     BUTLER            GA    31006‐2903
MARY LOGAN BRONSON                               22 BAILEY AVE                                                                                   MONTPELIER        VT    05602‐2171
MARY LOIS ASPINWALL & HERBERT T ASPINWALL JT TEN 1305 27TH ST                                                                                    GREELEY           CO    80631‐8337

MARY LOIS KAPERZINSKI                            4418 TRAVIS AVE #222                                                                            DALLAS            TX    75205
MARY LOIS KING                                   1117 PONDERSOA PINE LANE                                                                        SARASOTA          FL    34243‐1737
MARY LOIS MATTSON                                7423 CALDUS AVE                                                                                 VAN NUYS          CA    91406
MARY LOIS PETERS & THOMAS D PETERS JT TEN        9601 CASHIO ST                                                                                  LOS ANGELES       CA    90035‐2912
MARY LOIS S WATTS TR WATTS FAM TRUST UA 06/26/95 2910 MALLARD AVE                                                                                THOUSAND OAKS     CA    91360‐2914

MARY LONERGAN                                    8608 LAKELAND BLVD                                                                              FORT PIERCE       FL    34951‐1339
MARY LONSKI                                      75 HOLCROFT                                                                                     ROCHESTER         NY    14612‐5721
MARY LOREAN DE ROSA TR MARY LOREAN DE ROSA       10487 WOODBURN DR                                                                               POWELL            OH    43065‐8634
TRUST UA 09/18/89
MARY LORENE THOMAS                               26 PORCHLIGHT COURT                                                                             DURHAM            NC    27707‐2442
MARY LORETTO DRINKWATER                          310 TANGLE OAKS CT SE                                                                           LELAND            NC    28451‐8599
MARY LORRAINE SNYDER & CAROL LEE HOFFMANN JT     8138 HAZEN WAY                                                                                  INDIANAPOLIS      IN    46216‐2113
TEN
MARY LORTON DUNNE                                700 EAST AVENUE A                                                                               JEROME            ID    83338‐2809
MARY LOU A LACHOWSKY                             10609 RUSSELL RD SW                                                                             LAKEWOOD          WA    98499‐4813
MARY LOU BACON                                   411 HILL VIEW DR                                                                                PETOSKEY          MI    49770‐9359
MARY LOU BALL                                    4968 WIXOM DR                                                                                   BEAVERTON         MI    48612‐8807
MARY LOU BEHME & CARL A BEHME JT TEN             22744 HARVEST ROAD                                                                              CARLINVILLE       IL    62626‐3700
MARY LOU BROSE                                   5340 ISLE ROYAL CT                                                                              WEST BLOOMFIELD   MI    48323‐3431

MARY LOU BURDICK KELLNER                         2305 SHORE DR                                                                                   MARINETTE         WI    54143‐4036
MARY LOU CARR                                    1270 JEAN CIR                                                                                   TRAVERSE CITY     MI    49684‐8660
MARY LOU COLLING                                 24000 BORDMAN                                                                                   ARMADA            MI    48005‐1502
MARY LOU COX                                     513 CORWIN AVE                                                                                  HAMILTON          OH    45015‐1716
MARY LOU COZART & IVAN E COZART JT TEN           P.O. BOX 472                                                                                    NORRIS CITY       IL    62869‐0472
MARY LOU CUFFE                                   RR 2 BX 20A                                                                                     SANDYVILLE        WV    25275‐9705
MARY LOU DONLEY                                  25 S BROOKWOOD WAY                                                                              MANSFIELD         OH    44906‐2701
MARY LOU DRIVER                                  3233 SHETLAND RD                                                                                DAYTON            OH    45434
MARY LOU ELDER                                   1772 LONSDALE RD                                                                                COLUMBUS          OH    43232‐1819
MARY LOU ESTEP                                   7615 BRECKENWOOD DR                                                                             FORT WAYNE        IN    46819‐1752
MARY LOU FAUGHNER TOD TODD H FAUGHNER            5809 FLOWERDALE AVE                                                                             CLEVELAND         OH    44144‐4238
SUBJECT TO STA TOD RULES
MARY LOU FENDLER                                 66180 HAVEN RIDGE RD                                                                            LENOX             MI    48050‐1761
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Name                                            Address1                                 Address2                 Address3      Address4          City              State Zip

MARY LOU FERKETIC & JAMES M FERKETIC JT TEN     17053 BURCHFIELD RD                                                                               ALLISON PARK      PA    15101
MARY LOU FINELLO                                1432 HYDE ST                                                                                      PITTSBURGH        PA    15205‐3950
MARY LOU FINN                                   48602 REX                                                                                         UTICA             MI    48317‐2270
MARY LOU FLOR                                   9008 N KENNETH AVE                                                                                SKOKIE            IL    60076‐1645
MARY LOU FUSS                                   3792 TRIPOLI BLVD                                                                                 PUNTA GORDA       FL    33950‐7953
MARY LOU GAGAN                                  1893 WENTWORTH DR                                                                                 CANTON            MI    48188‐3090
MARY LOU GRAY                                   520 S COLLIER BLVD #602                                                                           MARCO ISLAND      FL    34145‐5506
MARY LOU GRIFFITH                               2994 JEFFERSON ST                                                                                 GIRARD            OH    44420‐1010
MARY LOU HALL                                   2647 EMERSON AVE                                                                                  SINKING SPRINGS   PA    19608‐1712
MARY LOU HALLIBURTON                            601 WILLIAMS                                                                                      DENVER            CO    80218‐3641
MARY LOU HAYS                                   8025 STATE ROUTE 7                                                                                ROGERS            OH    44455‐9735
MARY LOU HAZLETON                               8235 TRILLIUM CT APT 15                                                                           CHARLEVOIX        MI    49720‐9196
MARY LOU HEAD                                   7260 HARVARD ST                                                                                   MT MORRIS         MI    48458‐2143
MARY LOU HENDRICKS                              9800 BASELINE ROAD                       SPACE #38                                                ALTA LOMA         CA    91701‐5944
MARY LOU HOLLAND                                PO BOX 425                                                                                        WEST UNION        WV    26456‐0425
MARY LOU HRVATIN CUST PAUL C HRVATIN UGMA IL    375 W NORTH ST                                                                                    MANHATTAN         IL    60442‐9764

MARY LOU HURLEY CUST PATRICK J HURLEY UTMA IL   334 N BRAINARD                                                                                    LAGRANGE PK       IL    60526‐1806

MARY LOU HURTT                                  32762 GALENA SASSAFRAS RD                                                                         GALENA            MD    21635
MARY LOU JACOBS                                 250 WARREN RD                                                                                     GLOVERSVILLE      NY    12078‐6853
MARY LOU JEAN & CRAIG J JEAN JT TEN             1750 W N UNION                                                                                    AUBURN            MI    48611‐9533
MARY LOU JOHNSON & MERLIN A JOHNSON JT TEN      4415 COMANCHE                                                                                     OKEMOS            MI    48864‐2442

MARY LOU KERN & BARBARA K SCHARPF JT TEN        503 HIGHLAND PLACE                                                                                BELLEVUE          PA    15202
MARY LOU KOBOSKO                                403 MORNING GLORY LANE                                                                            MIDDLETOWN        DE    19709‐5827
MARY LOU KOENIG                                 66180 HAVEN RIDGE RD                                                                              LENOX             MI    48050‐1761
MARY LOU KOSS                                   14725 HOLLY CT                                                                                    SHELBY TOWNSHIP   MI    48315‐4342

MARY LOU KUNZIG TR MARY LOU KUNZIG LIVING TRUST 677 WASHINGTON ST                                                                                 BRIGHTON          MA    02135‐1607
UA 02/08/02
MARY LOU LADWIG                                 17321 27TH ST SE                                                                                  ARGUSVILLE        ND    58005‐9781
MARY LOU LUBBERS                                799 MARK AVE                                                                                      HAMILTON          OH    45013‐1738
MARY LOU LYONS                                  4321 N SHORE DR                          APT 202                                                  MASON             OH    45040‐8171
MARY LOU M WOLF                                 ATTN LOU SOVINSKI                        6178 MARSHVIEW COURT                                     HARTFORD          WI    53027‐9418
MARY LOU MACADAM & GORDON L MACADAM JT TEN 2114 EVANS RD                                                                                          FLOSSMOOR         IL    60422‐1606

MARY LOU MACARTHUR TR MARY LOU MACARTHUR        PO BOX 366                                                                                        DAVISON           MI    48423‐0366
TRUST UA 02/21/96
MARY LOU MANCHESTER & MILES E MANCHESTER &      2279 STATE ROUTE 11B                                                                              N BANGOR          NY    12966‐1831
MARTY E MANCESTER JT TEN
MARY LOU MANIACI                                C/O MARY LOU NANCE                       29593 CITY CENTER                                        WARREN            MI    48093‐2484
MARY LOU MANNING                                4055 S WARNER RD                                                                                  LAFAYETTE HILL    PA    19444‐1421
MARY LOU MARADEO & FRANCIS X MARADEO JT TEN     72 CIRCLEWOOD DR                                                                                  VENICE            FL    34293‐7000

MARY LOU MCDOUGAL                           438 EVERGREEN                                                                                         NEW CASTLE        PA    16105‐1408
MARY LOU MEADOWS & JOAN MEADOWS GRAY JT TEN 8112 PAINTED CLAY AVE                                                                                 LAS VEGAS         NV    89128‐8297

MARY LOU MEREDITH                               1938 RIVERWAY DR                                                                                  DALLAS            TX    75217‐2528
MARY LOU MILLER                                 16 YOUNG AVE                                                                                      YONKERS           NY    10710
MARY LOU MOMBOISSE TR MARY LOU MOMBOISSE        MERCY MCMAHON TERRACE                    3865 J STREET ROOM 246                                   SACRAMENTO        CA    95816‐5546
TRUST UA 11/06/97
MARY LOU MONTVILLE TR MARY LOU MONTVILLE        21529 CHASE DRIVE                                                                                 NOVI              MI    48375‐4764
LIVING TRUST UA 03/14/94
MARY LOU NYE                                    11741 IVY RD                                                                                      ROSCOMMON         MI    48653
MARY LOU OSBORNE                                6863 OAK HILL DR                                                                                  W FARMINGTON      OH    44491‐9755
MARY LOU PACE                                   1140 HEDGES RD                                                                                    XENIA             OH    45385‐9308
MARY LOU PATTISON                               7 CIELO MONTANA                                                                                   ALAMOGORDO        NM    88310‐9547
MARY LOU RADCA                                  100 EMILY LN                                                                                      ELYRIA            OH    44035
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Name                                               Address1                               Address2             Address3          Address4          City            State Zip

MARY LOU RENNER                                    213 E SPRINGS RD                                                                                COLUMBIA        SC    29223‐7003
MARY LOU RICHMOND                                  6055 WALDON ROAD                                                                                CLARKSTON       MI    48346‐2239
MARY LOU SAHLI                                     113 FALCON DR                                                                                   MANKATO         MN    56001‐6700
MARY LOU SALATO                                    18 SALATO LN                                                                                    MINOOKA         IL    60447‐9753
MARY LOU SAMMS                                     PO BOX 1005                                                                                     CAPITOLA        CA    95010‐1005
MARY LOU SAPONE                                    8052 DESOTO WOODS DR                                                                            SARASOTA        FL    34243‐3062
MARY LOU SCARBOROUGH                               884 ASPEN RD                                                                                    NEW CARLISLE    OH    45344‐3002
MARY LOU SHIELDS                                   PO BOX 22                                                                                       MASON           OH    45040‐0022
MARY LOU SIMI‐RUDNER TR RICHARD SIMI TRUST UA      440 S MAIN ST                                                                                   ANN ARBOR       MI    48104‐2304
05/25/93
MARY LOU SLEEK & ROBERT E SLEEK JT TEN             4320 ARLINGTON                                                                                  ROYAL OAK        MI   48073‐6306
MARY LOU STARK                                     3467 CHRISTY WAY S                                                                              SAGINAW          MI   48603‐7214
MARY LOU STATON                                    1824 S TOWN LAKE RD                                                                             AKRON            IN   46910‐9741
MARY LOU STEHR                                     13636 SEWARD ST                                                                                 OMAHA            NE   68154‐3823
MARY LOU T ROARK                                   311 DONNA DR                                                                                    HOPKINSVILLE     KY   42240‐5219
MARY LOU THOMPSON REYNOLDS                         319 DOLPHIN DR                                                                                  SANTA ROSA BEACH FL   32459‐3604

MARY LOU TUCK                                      6317 CREEKVIEW LANE                                                                             EDEN PRAIRIE    MN    55346‐1532
MARY LOU URBAN                                     98 LYRAE DR                                                                                     GETZVILLE       NY    14068‐1116
MARY LOU WATSON ROSTI                              913 INDEPENDENCE RD                                                                             EAST NORRITON   PA    19403
MARY LOU WEDEKIND                                  7668 WINGED FOOT DR                                                                             FORT MYERS      FL    33967‐5020
MARY LOU WINEGAR & LAURA A GARDNER JT TEN          8991 HYNE ROAD                                                                                  BRIGHTON        MI    48114‐4918
MARY LOU WISKOWSKI & JOHN S WISKOWSKI JT TEN       3380 SAXONBURG BLVD                                                                             GLENSHAW        PA    15116‐3146

MARY LOU ZAREM                                     34215 FOUNTAIN BLVD                                                                             WESTLAND        MI    48185‐9431
MARY LOUISE A DUNCAN                               1410 DENHOLM DRIVE                                                                              TALLAHASSEE     FL    32308‐7900
MARY LOUISE BADER TOD THOMAS A BADER SUBJECT       3133 ROTTERDAM DR                                                                               CLIO            MI    48420
TO STA TOD RULES
MARY LOUISE BAKER                                  222 SOUTH DELSEA DRIVE                                                                          CLAYTON         NJ    08312‐2204
MARY LOUISE BEENE                                  8922B BEL AIR RD                                                                                CHATTANOOGA     TN    37421‐3401
MARY LOUISE BISHOP                                 4242 E WEST HWY APT 910                                                                         CHEVY CHASE     MD    20815‐5953
MARY LOUISE BRADY                                  4437 HILLCREST DR                                                                               MADISON         WI    53705‐5020
MARY LOUISE BRIZZOLARA CUST ELIZABETH A            2408 PENNINGTON DR                                                                              WILMINGTON      DE    19810‐2509
BRIZZOLARA UGMA DE
MARY LOUISE BRIZZOLARA CUST JENNIFER M             2408 PENNINGTON DR                                                                              BRANDYWOOD      DE    19810‐2509
BRIZZOLARA UGMA DE
MARY LOUISE BRONIAK                                1073 RUTH AVE                                                                                   YPSILANTI       MI    48198‐6415
MARY LOUISE CHAVEZ TR CHAVEZ FAM LIVING TRUST      20622 ANNRITA AVE                                                                               TORRANCE        CA    90503‐2702
UA 08/23/89
MARY LOUISE CLASSEN                                4 BLUE SPRUCE LANE                                                                              BALLSTON LAKE   NY    12019‐1316
MARY LOUISE COSGRIFF                               8 HAMPTON HILL DR                                                                               BUFFALO         NY    14221‐5840
MARY LOUISE DARDZINSKI                             30300 MADISON AVE                                                                               WARREN          MI    48093‐9001
MARY LOUISE DE FAZIO                               922 WASHINGTON ST                                                                               HOBOKEN         NJ    07030‐5106
MARY LOUISE DIVITO                                 8 LOS COYOTES DRIVE                                                                             PHILLIPS RNCH   CA    91766
MARY LOUISE DUFF                                   21 HIALEAH DRIVE                                                                                ALBANY          NY    12205‐2530
MARY LOUISE DUFFIE FOLTS                           11102 SELA LANE                                                                                 HOUSTON         TX    77072‐3634
MARY LOUISE DZIAK HARVEY                           116 TWIN OAKS DRIVE                                                                             LOS GATOS       CA    95032‐5650
MARY LOUISE FISCHER                                6459 DAVISON RD                                                                                 BURTON          MI    48509‐1611
MARY LOUISE G SPENCER & WILLIAM D SPENCER JT TEN   2897 SIMS BRIDGE RD                                                                             KITTRELL        NC    27544‐9591

MARY LOUISE GALLAGHER                              616 WHITBY DR SHARPLY                                                                           WILMINGTON      DE    19803‐2218
MARY LOUISE GAMBILL                                3764 DENTON HWY                                                                                 FT WORTH        TX    76117‐2501
MARY LOUISE GERTZ                                  8408 DRIFTWOOD LANE                                                                             FORT WASHINGTON MD    20744‐5519

MARY LOUISE GHARRITY & ROBERT T GHARRITY JT TEN    510 UNION ST                                                                                    MILFORD         MI    48381‐1683

MARY LOUISE GICKER                                 3801 PERSHING CT                                                                                GREENSBORO      NC    27408‐2917
MARY LOUISE GORDON                                 FERGUS AVE #7                                                                                   LEWISTOWN       MT    59457‐1662
MARY LOUISE GRAYBUSH                               10 LINDABURY AVE                                                                                BERNARDSVILLE   NJ    07924‐2020
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Name                                               Address1                              Address2                  Address3     Address4          City             State Zip

MARY LOUISE HANLEY                                 819 NORTHAMPTON DRIVE                                                                          PALO ALTO        CA    94303‐3434
MARY LOUISE HARPER WARE EX EST MAUDE P             1214 WALES RD                                                                                  KINGS MTN        NC    28086
PATTERSON
MARY LOUISE HELLEBUYCK                             49527 SCHOENHERR                                                                               SHELBY TWP       MI    48315‐3866
MARY LOUISE HERRICK                                2814 PEAVEY STREET                                                                             PORT HURON       MI    48060‐6923
MARY LOUISE HETZKE                                 303 WHITTIER RD                                                                                SPENCERPORT      NY    14559‐2220
MARY LOUISE HUGHES MOON                            111 KINGS TER                                                                                  ASHLAND CITY     TN    37015‐4124
MARY LOUISE IANNONE TR MARY LOUISE IANNONE         88 WYKOFF DR                                                                                   VACAVILLE        CA    95688‐3543
TRUST UA 01/25/96
MARY LOUISE JOHNSON                                3340 NEWBLISS CIRCLE                                                                           ORMOND BEACH     FL    32174
MARY LOUISE KEMP                                   4748 HICKORY WOOD ROW                                                                          GREENWOOD        IN    46143‐7451
MARY LOUISE KERNOSEK                               41778 PRUNUM DRIVE                                                                             STERLING HTS     MI    48314‐4001
MARY LOUISE KILLINGSWORTH                          16314 CHANCELLORS RIDGE WAY                                                                    NOBLESVILLE      IN    46062‐7153
MARY LOUISE KIRCHHOFF & CAROL K MACDONALD JT       4 THISTLEMORE WY                                                                               PROVIDENCETOWN   MA    02657‐1700
TEN
MARY LOUISE KUZNER & RICHARD F KUZNER JT TEN       19140 BRIARWOOD                                                                                CLINTON TWN      MI    48036‐2122

MARY LOUISE LANG                                   2894 PINERIDGE AVE                                                                             CINCINNATI       OH    45208‐2818
MARY LOUISE LEE                                    467 MARMORA AVE                                                                                TAMPA            FL    33606‐3821
MARY LOUISE LONG                                   6111 W 29TH PL                                                                                 INDIANAPOLIS     IN    46224‐3009
MARY LOUISE M DILLON                               PO BOX 533                                                                                     MARTINSVILLE     VA    24114‐0533
MARY LOUISE M RAWLINGS                             2726 E WASATCH DR #2                                                                           SALT LAKE CITY   UT    84108‐1931
MARY LOUISE MARVIN                                 ATTN MARY LOUISE ZEMBOWER             200 MOOUNTAIN LAUREL DR                                  RIDGELEY         WV    26753
MARY LOUISE MC CASLIN                              4112 STATE ROUTE 534                                                                           SOUTHINGTON      OH    44470‐9704
MARY LOUISE MC LEAN                                24103 DELMONTE DR #437                                                                         VALENCIA         CA    91355‐3844
MARY LOUISE MEAD                                   17 STONE RIDGE RD                                                                              BREWSTER         NY    10509‐1508
MARY LOUISE MILLENBACH                             1840 FRONTAGE RD UNIT 606                                                                      CHERRY HILL      NJ    08034‐2203
MARY LOUISE MILLER & JAMES E BRENDTKE JT TEN       7210 COACHLIGHT STREET                                                                         SARASOTA         FL    34243‐5312

MARY LOUISE MORGAN                                 4403 FAIRWAY DR                                                                                STEUBENVILLE     OH    43953‐3305
MARY LOUISE MORROW                                 7320 CHARTERCREST DR                                                                           FORT WAYNE       IN    46815‐5518
MARY LOUISE NADER                                  BOX 355                                                                                        NEW HAVEN        KY    40051
MARY LOUISE NIEHAUS TR MARY LOUISE NIEHAUS         2040 HIGHLAND AVE                                                                              BURLINGTON       IA    52601‐4448
TRUST UA 2/2/95
MARY LOUISE O'CONNOR                               645 WESTMINSTER DR                                                                             IRWIN            PA    15642‐3293
MARY LOUISE PEARSON                                PO BOX 22474                                                                                   SANTA FE         NM    87502‐2474
MARY LOUISE PEASLEE & PAULA L PEASLEE JT TEN       119 MILLER RD                                                                                  KINGWOOD         WV    26537‐1322
MARY LOUISE PERKINS                                PO BOX 21058                          BRANDON MB                             R7B 3W8 CANADA
MARY LOUISE PINKOWSKI                              239 PALMER NECK RD                                                                             PAWCATUCK        CT    06379
MARY LOUISE PRUSIK                                 11 BERTRAM AVE                                                                                 SOUTH AMBOY      NJ    08879‐1420
MARY LOUISE QUIRK                                  232 WINDSOR DR                                                                                 HURLEY           NY    12443‐5326
MARY LOUISE REDMOND                                201 WASHINGTON RD                                                                              LAKE FOREST      IL    60045‐2451
MARY LOUISE REED                                   175 STARVIEW DR                                                                                TROY             MO    63379
MARY LOUISE RILEY                                  8020 WISPY SAGE WAY                                                                            LAS VEGAS        NV    89149‐4623
MARY LOUISE ROBINSON                               8144 SUSSEX                                                                                    DETROIT          MI    48228‐2289
MARY LOUISE SAVITT & CATHERINE L LUEBBERT JT TEN   2015 ROUTE 100                                                                                 MACUNGIE         PA    18062‐9386

MARY LOUISE SHEEHAN                              455 SALEM ST                                                                                     WILMINGTON       MA    01887‐1210
MARY LOUISE SIMS                                 3201 STETSON PLACE                                                                               ATLANTA          GA    30318‐5925
MARY LOUISE SKRZYNIARZ TR MARY LOUISE SKRZYNIARZ 27941 JEAN RD                                                                                    WARREN           MI    48093‐7512
TRUST UA 02/17/04
MARY LOUISE SMITH                                19703 SHERRY CONN LANE                                                                           TANNER           AL    35671‐3325
MARY LOUISE SNYDER                               2214 DENVER AVE                                                                                  KANSAS CITY      MO    64127‐4719
MARY LOUISE SOLINSKI CUST STEVEN SOLINSKI UTMA   2412 KOPKA CT                                                                                    BAY CITY         MI    48708‐8167
MI
MARY LOUISE SROKA TR MARY LOUISE SROKA TRUST UA 8516 HAWTHORNE AVE                                                                                MUNSTER          IN    46321‐2020
12/10/03
MARY LOUISE STEARNS                              600 E CATHEDRAL RD A310                                                                          PHILADELPHIA     PA    19128‐1925
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Name                                               Address1                             Address2             Address3          Address4          City             State Zip

MARY LOUISE STOKES & FELICIA MARIE STOKES JT TEN   930 HAGUE                                                                                     DETROIT          MI    48211‐1227

MARY LOUISE SWAIN                                  1818 SOMERSET CIR                                                                             CHARLESTON      SC     29407‐3719
MARY LOUISE SZABO                                  18265 MILWAUKEE AVENUE                                                                        BROOKFIELD      WI     53045‐3406
MARY LOUISE TANASOFF & MAGDA TANASOFF JT TEN       743 SHERBOURNE DRIVE                                                                          DEARBORNHEIGHTS MI     48127‐3651

MARY LOUISE TERKOSKI                               772 SW 15TH ST                                                                                RICHMOND         IN    47374‐5114
MARY LOUISE TUCKER                                 5302 LAURIE LANE                                                                              MEMPHIS          TN    38120‐2454
MARY LOUISE UHLMAN                                 93 BABOOSIC LAKE RD                                                                           MERRIMACK        NH    03054‐3531
MARY LOUISE UNVERZAGT                              5251 NORTHBEND XING                                                                           CINCINNATI       OH    45247‐3103
MARY LOUISE VIER                                   69 HARVEY RD                                                                                  RIDGEFIELD       CT    06877‐5210
MARY LOUISE WADE                                   53 AUTUMN LEA RD                                                                              DEPEW            NY    14043‐2701
MARY LOUISE WARE                                   26 GRANUAILE RD                                                                               SOUTHBORO        MA    01772‐1448
MARY LOUISE WASSMANN & LESTER J WASSMANN JT        151 S BARRON                                                                                  BENSENVILLE      IL    60106‐2403
TEN
MARY LOUISE WELCH                                  ATTN ROBERT P WELCH                  9 TARA HILL ROAD                                         TIBURON          CA    94920‐1555
MARY LOUISE WRIGHT                                 BOX 162                                                                                       SHEPERDSTOWN     WV    25443‐0162
MARY LOUISE YOUNG                                  647 ALLEGHENY AVE                    STE 100                                                  OAKMONT          PA    15139‐2082
MARY LOUISE ZINK                                   6111 E 107TH ST                                                                               TULSA            OK    74137‐7011
MARY LOUSIE BOWERS                                 14140 US FORD ROAD                                                                            FREDERICKSBURG   VA    22407‐1953
MARY LOVE NAST                                     62 MARBLEHEAD HARBOR                                                                          BRADFORD WOODS   PA    15015‐1307

MARY LOVENTHAL JONES                           4434 TYNE BLVD                                                                                    NASHVILLE        TN    37215‐4550
MARY LU                                        1366 LASSEN AVE                                                                                   MILPITAS         CA    95035
MARY LU FONTELLO                               1026 11TH AVE                                                                                     WILMINGTON       DE    19808‐4969
MARY LU KIRACOFE                               8021 N EL TOVAR PLACE                                                                             TUCSON           AZ    85704‐3310
MARY LU OBERHART TR ANNE OBERHART U‐W CECILIA 644 SOUTH CHESTNUT AVE                                                                             ARLINGTON        IL    60005‐2502
MC GEOGHEGAN                                                                                                                                     HIEGHTS
MARY LU OBERHART TR ELLEN OBERHART U‐W CECILIA 837 E CRESCENT DR                                                                                 ARLINGTON HTS    IL    60005
MC GEOGHEGAN
MARY LU OBERHART TR JACK CHARLES OBERHART U‐W 202 GLEN AVE                                                                                       CRYSTAL LAKE     IL    60014‐4427
CECILIA MC GEOGHEGAN
MARY LU OBERHART TR MICHAEL OBERHART U‐W       837 E CRESCENT DR                                                                                 ARLINGTON HTS    IL    60005
CECILIA MC GEOGHEGAN
MARY LUCHTERHAND                               W 2254 POPPLE RIVER RD                                                                            UNITY            WI    54488‐9793
MARY LUCILLE RUSSELL                           1804 GARNET AVE                          # 128                                                    SAN DIEGO        CA    92109‐3352
MARY LUKE                                      703 CENTENIAL ST                         WINNIPEG MB                            R3L 1H9 CANADA
MARY LUMPKIN SPARKS                            2438 CAMPBELL ROAD N W                                                                            ALBUQUERQUE      NM    87104‐3102
MARY LUNA                                      9029 ROSLYNDALE AVE                                                                               ARLETA           CA    91331‐5739
MARY LUNDELL BROWN TR UA 06/05/90 MARY LUNDELL 763 SUNNINGDALE                                                                                   GROSSE PTE WOODS MI    48236‐1627
BROWN TRUST
MARY LYKO                                      746 NORTH GREECE                                                                                  ROCHESTER       NY     14626‐1025
MARY LYN JACKSON                               546 VIEW RIDGE DR                                                                                 EVERETT         WA     98203‐1822
MARY LYNN A CONTE‐LAWE                         77 FAIRVIEW AVE                                                                                   PORT WASHINGTON NY     11050‐4037

MARY LYNN BREYFOGLE                                PO BOX 547                                                                                    RIVERSIDE        PA    17868‐0547
MARY LYNN BRYCE                                    190 KILBURN PLACE                                                                             SOUTH ORANGE     NJ    07079‐2154
MARY LYNN CHEVES                                   101 MELLON RD                                                                                 NEW BERN         NC    28562
MARY LYNN DANIELS                                  8 HILLSIDE DR                                                                                 NASHUA           NH    03064‐1657
MARY LYNN DISIERE HAWTHORNE                        #1 SUGARFOOT LANE                                                                             CONROE           TX    77301‐5301
MARY LYNN HARRIS                                   1415 DURHAM DR                                                                                CRAWFORDSVILLE   IN    47933‐3511

MARY LYNN JOHNSON                                  3004 CROYDON                                                                                  DENTON           TX    76201‐1300
MARY LYNN LEWIS                                    326 PAVONIA RD                                                                                NOKOMIS          FL    34275‐3901
MARY LYNN MCBROOM                                  15284 HOLY DR                                                                                 MONTGOMERY       TX    77316
MARY LYNN MYLLEK                                   508 EAGKE BAY DRUVE                                                                           OSSINING         NY    10562
MARY LYNN P SMITH                                  117 CHESTNUT STREET                                                                           ELKINS           WV    26241‐3566
MARY LYNN REISERT                                  14 ABBY CHASE                                                                                 JEFFERSONVILLE   IN    47130‐9762
MARY LYNN RIDDLE CHRISTOPHER                       15214 RAINHOLLOW DR                                                                           HOUSTON          TX    77070‐1329
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MARY LYNN SHARAM                                63 NAPPAN DR                         LOWER SACKVILLE NS                     B4C 2E1 CANADA
MARY LYNN SINCLAIR                              17800 THOMPSONVILLE RD                                                                        THOMPSONVILLE     MI    49683‐9232
MARY LYNN SPARLING                              13321 GARDNER RD                     PO BOX 752                                               NORTHPORT         MI    49670‐0752
MARY LYNN TRUEMNER                              1390 S BROWN RD                                                                               PIGEON            MI    48755‐9529
MARY LYNNE AURILIO                              4 WINDSOR DR                                                                                  BOW               NH    03304‐5218
MARY LYNNE SIMONCELLI                           685 MEADOW LN                                                                                 FRANKEMUTH        MI    48734‐9307
MARY LYSBETH BERGER                             554 KINNEY RD                                                                                 MEMPHIS           MI    48041‐3903
MARY LYTTON DRAPER                              1602 NORTHCREST DRIVE                                                                         SILVER SPRINGS    MD    20904‐1459
MARY M ALLEN                                    3094E PRIVATE ROAD 125N                                                                       LOGANSPORT        IN    46947‐6878
MARY M ALLISON                                  95 N TRINE ST                                                                                 CANAL WNCHSTR     OH    43110‐1131
MARY M AMERMAN                                  C/O DEBORAH AMERMAN                  1363 SUTTON AVE                                          FLINT             MI    48504‐3219
MARY M ANDERSON                                 643 BILLET DR                                                                                 MECHANICSBURG     PA    17055‐6007
MARY M ANGLE                                    ATTN GLADYS M FORGETY                119 FORGETY RD                                           ANDERSONVILLE     TN    37705‐3319
MARY M ARENDS                                   2599 MUNSTER DR                                                                               ROCHESTER         MI    48309‐2323
MARY M BABLER & RICHARD A BABLER JT TEN         6782 GGULL ROCK RD NW                                                                         ROOSEVELT         MN    56673‐9213
MARY M BADGLEY                                  PO BOX 932                                                                                    KEOKUK            IA    52632‐0932
MARY M BARNHART                                 153 LOTTERY RD                                                                                CUTTINGSVILLE     VT    05738
MARY M BENDIK TR UA 05/23/94 MARY M BENDIK      326 VILLA LANE                                                                                ST CLAIR SHORES   MI    48080‐2763
TRUST
MARY M BENSON & JOHN R BENSON JT TEN            2711A SHERBROOKE LANE                                                                         PALM HARBOR       FL    34684‐2524
MARY M BENSON & JUDITH BENSON ALTO JT TEN       2711A SHERBROOKE LANE                                                                         PALM HARBOR       FL    34684‐2524
MARY M BENSON & JUDITH M ALTO JT TEN            2711 A SHERBROOKE LANE                                                                        PALM HARBOR       FL    34684‐2524
MARY M BIGA                                     106 VINE AVE                                                                                  GREENVILLE        PA    16125‐1315
MARY M BLENK                                    58 SATINWOOD DR                                                                               CHEEKTOWAGA       NY    14225‐3716
MARY M BOLDEN                                   6210 GREENACRES DR                                                                            COVINGTON         GA    30014‐3503
MARY M BRANAGIN                                 CROOKED CREEK                        105 THORNGATE DR                                         HENDERSONVILLE    NC    28739‐6859
MARY M BREWER                                   1340 WOODSIDE ST                                                                              SAGINAW           MI    48601‐6657
MARY M BRION                                    105 WALDEN STREET                                                                             WEST HARTFORD     CT    06107‐1739
MARY M BROADWAY                                 4790 DRESDEN COURT                                                                            SAGINAW           MI    48601‐6665
MARY M BROADWAY & SCOTT E MATTHEWS JT TEN       4790 DRESDEN COURT                                                                            SAGINAW           MI    48601‐6665

MARY M BROWN                                    2026 DEAN RD                                                                                  BETHEL            OH    45106‐8412
MARY M BROWN                                    345 FLORAWOOD                                                                                 WATERFORD         MI    48327‐2432
MARY M BUYS                                     PO BOX 611                                                                                    FENTON            MI    48430‐0611
MARY M CAMPION                                  8 EUGENE BLVD                                                                                 SOUTH AMBOY       NJ    08879‐1971
MARY M CAREY                                    120 SUMMERFIELD VILLAGE LN                                                                    SYRACUSE          NY    13215‐1945
MARY M CAVANAUGH & MAUREEN C YAUCKOES JT TEN    137 SHORE ST                                                                                  FALMOUTH          MA    02540‐3149

MARY M CHARTIER                                 19990 E CLAIRVIEW                                                                             OPW               MI    48236‐2304
MARY M CLARK                                    2514 E 4TH ST                                                                                 ANDERSON          IN    46012‐3760
MARY M COMPONO                                  621 DOVER ROAD                                                                                OCEANSIDE         NY    11572‐1008
MARY M CONWAY                                   7608 LUCKY LANE APT 2                                                                         NORTH BERGEN      NJ    07047‐4900
MARY M CORBETT                                  APT 123                              1357 WAMPANOAG TRAIL                                     RIVERSIDE         RI    02915‐1027
MARY M CROTTY & HELEN E CROTTY JT TEN           226 ARCHER ST                                                                                 FALL RIVER        MA    02720‐6504
MARY M CROUCH                                   217 WOODHAM                                                                                   PLAINWELL         MI    49080‐1752
MARY M CUNNINGHAM                               8782 WALKER CT                                                                                WASHINGTON        MI    48094‐1555
MARY M CUSHING                                  5318 KENZIE AUDREY CT                                                                         PERRY HALL        MD    21128‐8952
MARY M DAVIS                                    177 N HIGHLAND ST APT 314                                                                     MEMPHIS           TN    38111‐4751
MARY M DAWSON                                   2345 FERNDALE                                                                                 SYLVAN LAKE       MI    48320‐1617
MARY M DAYRINGER                                2176 E DODGE RD                                                                               CLIO              MI    48420‐9746
MARY M DE LANEY                                 159 W GOETHE APT 3A                                                                           CHICAGO           IL    60610‐1922
MARY M DEL PRIORE CUST RALPH DEL PRIORE UGMA PA MARIANE CT                                                                                    ALPINE            NJ    07620

MARY M DEPASCALE                                709 CHURCHHILL ROAD                                                                           GIRARD            OH    44420‐2122
MARY M DEWOLFF & TED M DEWOLFF JT TEN           4267 HASLER ROAD                                                                              DAVISON           MI    48423‐9115
MARY M DIETZ & NANCY J SOCHA JT TEN             6735 WISTERMAN ROAD                                                                           LOCKPORT          NY    14094
MARY M DINGER                                   BOX 181                              FERN STREET                                              SAN MATEO         FL    32187‐0181
MARY M DRAKE                                    20059 HEYDEN                                                                                  DETROIT           MI    48219‐2012
MARY M DUNN                                     3541 SANFORD ST                                                                               CONCORD           CA    94520‐1512
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Name                                           Address1                               Address2             Address3          Address4          City             State Zip

MARY M EASLEY                                 1206 HOLLYHOCK DR                                                                                GRAND BLANC      MI    48439‐8878
MARY M EMERSON                                32931 BARTON ST                                                                                  GARDEN CITY      MI    48135‐1061
MARY M FETSKO                                 104 HALF PAVED LANE                                                                              GREENSBURG       PA    15601‐6297
MARY M FITZPATRICK                            342 BIRCH WOOD COURT                                                                             WARRENVILLE      SC    29851
MARY M FLINT                                  BOX 40741 PARSONS RD                                                                             LAGRANGE         OH    44050
MARY M FOOR                                   2146 VAUGHN RD                                                                                   ALTOONA          AL    35952‐7701
MARY M FULK                                   172 FAIRVIEW DR                                                                                  ASHLAND          OH    44805‐1400
MARY M GEARS & CHARLES C GEARS JT TEN         306 ECKLEY                                                                                       EAST PEORIA      IL    61611
MARY M GEDRO                                  2940 MERTZ RD                                                                                    CARO             MI    48723‐9537
MARY M GEORGE                                 2030 GRAND AVE                                                                                   NEW CASTLE       IN    47362‐2568
MARY M GILBERT                                230 S BRENTWOOD BLVD APT 10C                                                                     SAINT LOUIS      MO    63105‐1637
MARY M GONZALES                               1900 GRAND RIVER RD                                                                              BANCROFT         MI    48414‐9736
MARY M GRACE                                  4420 WALNUT RD                                                                                   BALTIMORE        MD    21227‐3504
MARY M GREEN                                  7005 SPANISH OAKS DR                                                                             N RICHLND HLS    TX    76182‐3276
MARY M GUIFFRE                                25628 PACKARD ST                                                                                 ROSEVILLE        MI    48066‐3747
MARY M GUZAK                                  6132 SPANISH LAKES BLVD                                                                          FORT PIERCE      FL    34951‐4216
MARY M H DOUGLAS TR MARY M H DOUGLAS TRUST UA 2645 E SOUTHERN AVE A699                                                                         TEMPE            AZ    85282‐7795
04/08/99
MARY M HABIB & ALPHONSE W HABIB JT TEN        56 AZARIAN RD                                                                                    SALEM            NH    03079‐4241
MARY M HABIB & MARY LEE HABIB JT TEN          56 AZARIAN RD                                                                                    SALEM            NH    03079‐4241
MARY M HABIB & MICHAEL J HABIB JT TEN         56 AZARIAN RD                                                                                    SALEM            NH    03079‐4241
MARY M HABIB & WILLIAM M HABIB JT TEN         56 AZARIAN RD                                                                                    SALEM            NH    03079‐4241
MARY M HAMBLEN & GEORGE W HAMBLEN SR JT TEN 144 DEVON RD                                                                                       NORWOOD          MA    02062‐1642

MARY M HAMER                                   84 N UNION ST                                                                                   LAMBERTVILLE     NJ    08530‐2002
MARY M HAMPTON                                 HC 73 BOX 1000                                                                                  VANCEBURG        KY    41179‐9407
MARY M HANEY                                   371 GOODING ST                                                                                  LOCKPORT         NY    14094‐2343
MARY M HANLIN                                  440 BROADWAY                                                                                    SOMERVILLE       MA    02145‐2620
MARY M HARDY                                   16419 GLIDDEN RD                                                                                HOLLEY           NY    14470‐9723
MARY M HARMON                                  1212 HAMPSHIRE RD                                                                               DAYTON           OH    45419‐3717
MARY M HARRIS                                  701 SUMMIT AVE                         APT 59                                                   NILES            OH    44446
MARY M HART                                    PO BOX 6236                                                                                     SAGINAW          MI    48608‐6236
MARY M HEAVEY & THOMAS P HEAVEY JT TEN         C/O MARY M HEAVEY                      345 E HARRIET AVE                                        PALISADES PARK   NJ    07650‐1912
MARY M HEAVEY & THOMAS P HEAVEY JT TEN         345 EAST HARRIET AVE                                                                            PALISADES PARK   NJ    07650‐1912
MARY M HEMPSALL                                1944 S 11TH ST APT 2C                                                                           KALAMAZOO        MI    49009
MARY M HOWARD                                  47259 JEFFRY                                                                                    UTICA            MI    48317‐2922
MARY M HRIVNAK & JAMES S HRIVNAK JT TEN        33837 MAPLERIDGE BLVD                                                                           AVON             OH    44011‐2419
MARY M HUGAN                                   10485 OVERHILL DR                                                                               BRIGHTON         MI    48114‐7579
MARY M HUGHMANIC                               16342 REMORA BLVD                                                                               BROOK PARK       OH    44142‐2224
MARY M JARRETT                                 6469 E 650 N                                                                                    WILKINSON        IN    46186‐9746
MARY M JONES                                   1522 BUSH RIVER RD                                                                              COLUMBIA         SC    29210‐6847
MARY M JOSEPH & MRS MARCIA A HEIMBURGER JT TEN PO BOX 1507                                                                                     GUALALA          CA    95445

MARY M JUIST TR UA 08/06/93 MARY JUIST TR      707 N 13TH STREET                                                                               CLINTON          IA    52732‐4812
MARY M KERRIGAN                                1901 CREAMERY RD                                                                                DE PERE          WI    54115‐9492
MARY M KLIMEK & CHRISTINE N CAVANAUGH JT TEN   7556 CHATHAM                                                                                    DETROIT          MI    48239‐1091

MARY M KLIMEK & CYNTHIA A HICKS JT TEN         7556 CHATHAM                                                                                    DETROIT          MI    48239‐1091
MARY M KLIMEK & DOLORES M RISER JT TEN         7556 CHATHAM                                                                                    DETROIT          MI    48239‐1091
MARY M KLIMEK & JANET M KLIMEK JT TEN          7556 CHATHAM                                                                                    DETROIT          MI    48239‐1091
MARY M KLIMEK & VERONICA R LAPOINTE JT TEN     7556 CHATHAM                                                                                    DETROIT          MI    48239‐1091
MARY M KOCHEVAR                                9000 WESTWOOD                                                                                   KIRTLAND         OH    44094‐9318
MARY M KRIMMEL & JOHN R KRIMMEL JT TEN         67 N CANAL DRIVE                                                                                PALM HARBOR      FL    34684‐1101
MARY M KUNZ                                    742 E WOODLAWN AVE                                                                              SAN ANTONIO      TX    78212‐3134
MARY M LASHER                                  1275 SHERLIN DR                                                                                 BRIDGEWATER      NJ    08807‐1432
MARY M LAWERENCE                               7875 OLD MILL RD                                                                                GATES MILLS      OH    44040‐9805
MARY M LEE                                     26689 WILSON DRIVE                                                                              DEARBORN HEIGHTS MI    48127‐3634

MARY M LINEHAN                                 4128 WEST EVANS DR                                                                              PHOENIX          AZ    85053‐5326
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Name                                              Address1                             Address2             Address3          Address4          City               State Zip

MARY M LITZENBERGER                               334 VIXEN BLVD                                                                                GOOSE CREEK        SC    29445‐2714
MARY M LLOYD                                      1612 SAXUNBURY BLVD                                                                           TARENTUM           PA    15084
MARY M LOESER                                     630 SPRINGFIELD AVE                                                                           CRANFORD           NJ    07016‐1813
MARY M LONGPRE                                    2716 BAYSHORE DR                                                                              NEWPORT BEACH      CA    92663‐5611
MARY M LOUIS                                      14428 ALPENA DR                                                                               STERLING HTS       MI    48313‐4306
MARY M MACGREGOR                                  242 FAIRMOUNT AVE                                                                             CHATHAM            NJ    07928‐1825
MARY M MACLEAN                                    221 WESTBOURNE DR                                                                             BLOOMFIELD HILLS   MI    48301‐3446

MARY M MADDEN                                     6138 N KEDVALE AVE                                                                            CHICAGO            IL    60646‐5208
MARY M MARCHIO                                    923 VALLEY LANE                                                                               LOCKPORT           IL    60441‐3776
MARY M MARSHALL                                   ATTN WRIGHT                          425 E 7TH ST                                             MC DONALD          OH    44437‐1815
MARY M MC KENNA                                   4 N CLIFFE DR                                                                                 WILMINGTON         DE    19809‐1624
MARY M MCDONALD                                   81 MAGNOLIA AVE                                                                               JERSEY CITY        NJ    07306‐1813
MARY M MCKEON                                     32600 COLONYHILL                                                                              FRANKLIN           MI    48025‐1016
MARY M MELISSAS                                   9179 CLUB OAKS DR                                                                             SANDY              UT    84070‐6648
MARY M MILLER & CHERYL M BELL & JAMES W MILLER    1506 US HWY #1 SO                                                                             WADLEY             GA    30477‐9764
JT TEN
MARY M MITMAN & ROBERT D MITMAN II JT TEN         3170 MILLSBORO RD E                                                                           MANSFIELD          OH    44903‐8781
MARY M MOEBIUS                                    3374 BLOCKER DR                                                                               KETTERING          OH    45420‐1014
MARY M MOYER                                      8931 OAK VILLAGE BLVD                                                                         LEWIS CENTER       OH    43035‐9483
MARY M MUELLER & MARGARET A PARTLO JT TEN         5118 SAGINAW                                                                                  COLEMAN            MI    48618‐9576
MARY M MUELLER & RICHARD A MUELLER JT TEN         5118 SAGINAW                                                                                  COLEMAN            MI    48618‐9576
MARY M MULLEN & SUSAN F MULLEN JT TEN             50 FORBES HILL RD                                                                             QUINCY             MA    02170
MARY M MYSZKIEWICZ                                65 NEW AMSTERDAM AVE                                                                          BUFFALO            NY    14216‐3307
MARY M NELLI TR MARY M NELLI TRUST UA 5/14/98     6274W US HWY 2                                                                                MANISTIQUE         MI    49854‐9197

MARY M NOONAN                                     1218 N BALDWIN AVE                                                                            ARCADIA            CA    91006
MARY M NUZUM                                      15 OAK VIEW CIRCLE                                                                            VINCENT            OH    45784‐9085
MARY M OBRIEN                                     1515 WELLING                                                                                  TROY               MI    48098‐5020
MARY M OELRICH & PAUL S OELRICH JT TEN            15711 MYRTLE AVE                                                                              TUSTIN             CA    92780‐5019
MARY M OLIVER                                     BOX 7                                                                                         SOUTHWEST          PA    15685‐0007
MARY M ORWIG                                      828 SEVENTH ST S W                                                                            WARREN             OH    44485‐4063
MARY M PARNES TOD LINDA B SANDER                  12500 W 135TH STREET #231                                                                     OVERLAND PARK      KS    66221
MARY M PERRY                                      APT 205                              2828 JORDAN AVE                                          MINNETONKA         MN    55305‐3504
MARY M PETROS                                     2809 BARRY KNOLL WA                                                                           FORT WAYNE         IN    46845‐1944
MARY M PLANCK & WILLIAM E PLANCK JT TEN           11111 E INDIAN LAKE DR                                                                        VICKSBURG          MI    49097
MARY M RAMSEY                                     9802 S 150 W                                                                                  BUNKER HILL        IN    46914‐9518
MARY M RANDALL                                    24 AMBERLEY WAY                                                                               AUBURN             ME    04210‐4375
MARY M REILLY                                     3314 POST VIEW DR                                                                             O FALLON           MO    63366‐7054
MARY M RICKORDS & LEE ROY CLARK JT TEN            7538 LANDMARK DR                                                                              SPRING HILL        FL    34606‐6410
MARY M RINK TOD LOUIS W RINK SUBJECT TO STA TOD   9800 WILLOW LANE                                                                              CONCORD            OH    44060‐6647
RULES
MARY M ROBERTS                                    4865 CHAMPAGNE DR                                                                             COLORADO SPRINGS CO      80919‐3166

MARY M RUSSELL                                    1107 NORTHWOOD DR                                                                             ROCKVILLE          IN    47872‐1232
MARY M SAMPSON                                    7434 LIBERTY WOODS LANE RD                                                                    CENTERVILLE        OH    45459‐3996
MARY M SAUER                                      TABERG ROAD                                                                                   CAMDEN             NY    13316
MARY M SHUTTLEWORTH                               7873 CLEARWATER COVE DR                                                                       INDIANAPOLIS       IN    46240‐4909
MARY M SIMPSON                                    5940 BUNCOMB PUNCHEON ROAD                                                                    EUBANK             KY    42567
MARY M SPRING & MITCHELL R SPRING JT TEN          6463 S FORDNEY ROAD                                                                           SAINT CHARLES      MI    48655‐9765
MARY M SPROCKETT                                  416 COOLIDGE DRIVE                                                                            HERMITAGE          PA    16148‐9317
MARY M STAHL                                      6318 LAUREL RUN                                                                               HOUSTON            TX    77084‐1563
MARY M STANTON & MARYANN T STANTON JT TEN         9626 KINGUSSLE LN                                                                             RICHMOND           VA    23236‐1621
MARY M STRAYER                                    ATTN MARY STRAYER RUSSEL             101 BAYVIEW RIDGE    NORTH YORK ON     M2L 1E3 CANADA
MARY M SUTPHIN                                    7110 SE LILLIAN CT                                                                            STUART             FL    34997‐2229
MARY M SWARTZ                                     3227 AINWICK RD                                                                               COLUMBUS           OH    43221‐1801
MARY M SYKES EX                                   UW VANNA R SYKES                     124 N CEDAR ST                                           NILES              OH    44446‐2538
MARY M TARZINSKI                                  317 HICKORY ST                       APT 1                                                    DAYTON             OH    45410‐1266
MARY M TURDO                                      12273 W SUNSET LN                                                                             GREENFIELD         WI    53228‐2496
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Name                                             Address1                               Address2                 Address3      Address4          City            State Zip

MARY M TUTHILL                                   18 CLOVER CIRCLE                                                                                CHAMBERSBURG    PA    17201‐1344
MARY M UGGEN                                     ONE E SCOTT UNIT 704                                                                            CHICAGO         IL    60610‐5243
MARY M URBASSIK                                  1924 OTTAWA                                                                                     SAGINAW         MI    48602‐2743
MARY M VAUGHAN                                   6316 36TH NE                                                                                    MARYSVILLE      WA    98270‐7570
MARY M WALCZAK                                   105 BERNADETTE TERRACE                                                                          WEST SENECA     NY    14224‐3803
MARY M WALTER TR MARY M WALTER TRUST UA          412 GLYNDON ST NE                                                                               VIENNA          VA    22180‐3538
11/13/02
MARY M WARNOCK                                   20300 SPRINGSTON FORD RD                                                                        ELKINS          AR    72727‐9287
MARY M WARTKO                                    183 PARKHURST BLVD                                                                              TONAWANDA       NY    14223‐2859
MARY M WASHKO                                    1000 SOMERSET AVENUE                                                                            WINDBER         PA    15963‐1547
MARY M WEBB                                      2480 INDIANOLA AVE                                                                              COLUMBUS        OH    43202‐2723
MARY M WHITE                                     11290 WOOD CREEK DR                                                                             CARMEL          IN    46033‐3729
MARY M WITBRODT                                  3336 S TAMMY ST                                                                                 BAY CITY        MI    48706‐1767
MARY M WOZNIAK TR WOZNIAK TRUST UA 02/26/98      14885 MEADOWLARK LN                                                                             MIDDLEFIELD     OH    44062‐9042

MARY M ZAHA                                      4225 MORGAN ROAD                                                                                ORION           MI    48359‐1919
MARY M ZEBROWSKI                                 7527 5 RIVER RD                                                                                 MARINE CITY     MI    48039
MARY M ZIOMEK                                    5500 SAINT LUCIE BLVD                  # P18                                                    FORT PIERCE     FL    34946‐9056
MARY M ZITTRAUER                                 5810 CHISOLM RD                                                                                 JOHNS ISLAND    SC    29455‐7629
MARY M ZUWALA                                    3364 N BELSAY RD                       FLINT M                                                  FLINT           MI    48506‐2010
MARY MACKENZIE COTSIS & THANO P COTSIS JT TEN    339 JEFFERSON AVE                                                                               CRESSKILL       NJ    07626‐1211

MARY MAGDALENE WESTFIELD                         P O BOX 2081                                                                                    HELENDALE       CA    92342‐2081
MARY MAGNAN BARON                                653 HOPE FURNACE RD                                                                             HOPE            RI    02831‐1505
MARY MAGNIER                                     1043 CHESTNUT HILL SW CI                                                                        MARIETTA        GA    30064‐4607
MARY MAHR                                        2580 AUDREY TERR                                                                                UNION           NJ    07083
MARY MALCOLM LEYDORF                             75 MAJORCA DR                                                                                   RANCHO MIRAGE   CA    92270‐3826
MARY MANDEVILLE WILLETTS                         990 SEVEN LAKES N                                                                               WEST END        NC    27376‐9752
MARY MANELIS CUST JACLYN MANELIS UGMA NY         101 IMAGES WAY                                                                                  ROCHESTER       NY    14626‐4708
MARY MANELIS CUST MATTHEW MANELIS UGMA NY        101 IMAGES WAY                                                                                  ROCHESTER       NY    14626‐4708

MARY MANLEY                                      3127 MORRISON                                                                                   SIOUX CITY      IA    51104‐2415
MARY MARBELLA RILEY                              1201 MAPLEWOOD DR                                                                               KOKOMO          IN    46902‐3141
MARY MARGARET ALLEN & EMERY J ALLEN JR TEN ENT   6 NORTH GATE DR                                                                                 BRADFORD        PA    16701‐1528

MARY MARGARET ALTICE                             206 GRAND BOULEVARD                                                                             MOBILE          AL    36607‐3015
MARY MARGARET ANDERSON                           1193 GRUENE RD                                                                                  NEW BRAUNFELS   TX    78130‐3107
MARY MARGARET BERK MORTUS                        9387 HUNTINGTON PARK DR                                                                         STRONGSVILLE    OH    44136‐2503
MARY MARGARET BRAZELL                            54 HAYS HILL RD                                                                                 PLEASANTVILLE   NY    10570‐1717
MARY MARGARET DEAN                               C/O SERRA                              2345 CREST RD                                            BIRMINGHAM      AL    35223‐1017
MARY MARGARET FOREMAN                            238 CLARANNA AVE                                                                                DAYTON          OH    45419‐1736
MARY MARGARET HODGE                              1625 KNOTS LNDG                                                                                 PRESCOTT        AZ    86301‐4823
MARY MARGARET JAMES                              213 PINEWOOD CIRCLE                                                                             PLYMOUTH        MI    48170‐1888
MARY MARGARET JARNAGIN                           743 OXFORD DR                          PO BOX 8461                                              HUNTINGTON      WV    25705‐0461
MARY MARGARET KELLY & ELIZABETH M KELLY JT TEN   91 MAIN RD                             PO BOX 1137                                              WESTPORT        MA    02790‐0696

MARY MARGARET KELLY & JOHN B KELLY JR JT TEN     91 MAIN RD                             PO BOX 1137                                              WESTPORT        MA    02790‐0696

MARY MARGARET KELLY & KATHLEEN L KELLY JT TEN    91 MAIN RD                             PO BOX 1137                                              WESTPORT        MA    02790‐0696

MARY MARGARET KELLY & MARGARET M SILVA JT TEN    PO BOX 1137                                                                                     WESTPORT        MA    02790‐0696

MARY MARGARET KILIANY                                                                                                                            EVERSON         PA    15631
MARY MARGARET KING                               11914 GRASON LANE                                                                               BOWIE           MD    20715‐4012
MARY MARGARET KING STERRETT                      159 GLENFIELD DR                                                                                PITTSBURGH      PA    15235‐1969
MARY MARGARET KUTSCHE                            PO BOX 853                                                                                      MIMS            FL    32754‐0853
MARY MARGARET LEWIS                              2402 SE 17TH CIR                                                                                OCALA           FL    34471‐8300
MARY MARGARET MUNRO                              C/O MUNRO‐KAFARSKI                     2345 HIDDEN PINE DRIVE                                   TROY            MI    48098‐4135
MARY MARGARET OPITZ                              1600 OHIO AVE                                                                                   HELENA          MT    59601‐5431
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Name                                             Address1                              Address2                 Address3      Address4          City               State Zip

MARY MARGARET PECK                            3628 N OXFORD ST                                                                                  INDIANAPOLIS       IN    46218‐1250
MARY MARGARET PETERSON                        16943 ORCHARD RIDGE CT                                                                            GRANGER            IN    46530‐5901
MARY MARGARET SOBIECHOWSKI & LINDA M SHRUM & 40635 RINALDI DR                                                                                   STERLING HEIGHTS   MI    48313‐4050
DIANA M VUYLSTEKE JT TEN
MARY MARGARET TUTTLE                          1040 CRESCENT DR                                                                                  KING               NC    27021‐9707
MARY MARGARET WALSH TR MARY MARGARET WALSH 2014 DORWOOD DR                                                                                      SOUTH BEND         IN    46617‐1821
REVOCABLE TRUST UA 5/13/97
MARY MARGARET WEDGE TR WEDGE FAMILY TRUST UA 1588 FITCHVILLE AVE                                                                                SAN JOSE           CA    95126‐4244
01/09/90
MARY MARGARET WESTON                          7505 NORTH 200 EAST                                                                               ALEXANDRIA         IN    46001‐8728
MARY MARGARET WOOD                            387 LAMBERT ROAD                                                                                  BREWER             ME    04412‐5425
MARY MARIA HAMMOND SANDERS                    1004 CALAVERAS STREET                                                                             GRAHAM             TX    76450‐3913
MARY MARJORIE HUMER                           820 ADAMS STREET                                                                                  OTTAWA             IL    61350‐4308
MARY MARKIEWICZ & DIANE MC CLURE JT TEN       31 HILLSIDE AVE                                                                                   FLORHAM PARK       NJ    07932‐2403
MARY MARSHALL TALKINGTON                      1356 N ORANGE GROVE AVE                                                                           HOLLYWOOD          CA    90046‐4711
MARY MARTHA DUNLAY HEILER & THEODORE C HEILER 979 YARROW                                                                                        HOWELL             MI    48843‐6871
JT TEN
MARY MARTHA GIRTON                            1421 UPPER TUG FORK RD                                                                            ALEXANDRIA         KY    41001‐8873
MARY MARTHA HOFFMAN                           2645 E SOUTHERN AVE                      A699                                                     TEMPE              AZ    85282
MARY MARTHA REPLOGLE                          PO BOX 82                                                                                         BROOKSIDE          NJ    07926‐0082
MARY MARTHA SMITH MURPHY                      58 JAMES ST                                                                                       STONINGTON         CT    06378‐2717
MARY MATLOCK                                  27 WILLOW DR                                                                                      NEW WILMINGTON     PA    16142‐1835

MARY MATTHEWS COHEN CUST KELLY ANN COHEN         40 RANDOLPH RD                                                                                 NEWPORT NEWS       VA    23601‐4233
UTMA CA
MARY MATUSEK MARTIN                              C/O MARY M MARTIN                     2516 Q STREET NW #Q103                                   WASHINGTON         DC    20007
MARY MAUREEN CAHILL TR CAHILL REVOCABLE LIVING   3154 WALNUT AVE                                                                                DEARBORN           MI    48124‐4323
TRUST UA11/11/92
MARY MAUREEN POWERS                              2900 MORGAN CT APT 206                                                                         BIRMINGHAM         AL    35216‐3074
MARY MAXINE FLEMING                              2780 W LAKE HAMILTON DRIVE                                                                     WINTER HAVEN       FL    33881‐9218
MARY MAY BURKHARDT                               2850 FOXWOOD COURT                                                                             MIAMISBURG         OH    45342‐4435
MARY MAYORANA TOD JANICE HARTMAYER               77 THEODORE DRIVE                                                                              CORAM              NY    11727‐3684
MARY MAYORANA TOD MARILYN PUNGER                 77 THEODORE DRIVE                                                                              CORAM              NY    11727‐3684
MARY MC CONVILLE MOGAN                           173 ALPS RD                           APT 209                                                  BRANFORD           CT    06405‐4764
MARY MC DONALD                                   2761 TERESITA STREET                                                                           SAN DIEGO          CA    92104‐5254
MARY MC DOWELL MULLOY                            1708 SULGRAVE RD                                                                               LOUISVILLE         KY    40205‐1644
MARY MC ELMOYLE                                  301 W 10TH ST                                                                                  JIM THORPE         PA    18229‐1728
MARY MC ELWAIN BLACK                             1146 WOODLAND WY                                                                               HAGERSTOWN         MD    21742‐3264
MARY MC GRATH & EDWARD MC GRATH JT TEN           299 MOUNT SINAI‐CORAM ROAD                                                                     MOUNT SINAI        NY    11766‐2928
MARY MC GURK                                     4 CARRIAGE WAY                                                                                 CINNAMINSON        NJ    08077‐3866
MARY MC HALE                                     1004 MERRYMOUNT NORTH                                                                          TURNERSVILLE       NJ    08012‐1322
MARY MC HUGH                                     920 TURNER AVE                                                                                 DREXEL HILL        PA    19026‐1728
MARY MC INTOSH                                   3081 FARMERSVILLE W ALEX RD                                                                    FARMERSVILLE       OH    45325‐8212
MARY MC KNIGHT QUINLAN CUST DAVID G QUINLAN      353 FRANKLIN ST                                                                                SAN MATEO          CA    94402‐2270
UGMA CA
MARY MC LEMORE THORMAN                           122 LAURELWOOD DR                                                                              PIKE ROAD          AL    36064‐2213
MARY MC NAMEE GREGG                              1257 NILES AVE                                                                                 SAINT PAUL         MN    55116‐1658
MARY MC SORLEY                                   1073 DEVON RD                                                                                  PITTSBURGH         PA    15213‐3801
MARY MC WHIRT MURPHY                             9802 WINCHESTER WAY                                                                            FREDERICKSBRG      VA    22407‐9354
MARY MCCLURE BROWN                               1043 BERKELEY AVENUE                                                                           MENLO PARK         CA    94025
MARY MCCORMAC TREADWAY                           1217 MAY ST                                                                                    ALBEMARLE          NC    28001‐4726
MARY MCGREAL                                     10 HARVEY LN                                                                                   MALVERN            PA    19355‐2908
MARY MCINERNEY CYBULSKI                          10872 MEADOWLAND DR                                                                            OAKTON             VA    22124‐1410
MARY MCINTOSH BASSETT                            303 W DEXTER                                                                                   COLLEGE STATION    TX    77840‐2973
MARY MCKINNIE ARRAND                             4401 GARRATT CIR                                                                               SPARKS             NV    89536
MARY MEADE SAUNDERS                              1709 PRICE DR                                                                                  FARMVILLE          VA    23901‐8354
MARY MEADEN                                      1037 WHITE HORSE TRL                                                                           HINCKLEY           OH    44233‐9331
MARY MEDEMA                                      1963 KREGEL                                                                                    MUSKEGON           MI    49442‐5434
MARY MEGAN CLOUSE & SEAN P CLOUSE JT TEN         506 CHERRY AVENUE                                                                              ROYAL OAK          MI    48073‐4044
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Name                                              Address1                              Address2             Address3          Address4          City             State Zip

MARY MERGY                                        405 SOUTH D STREET                                                                             HAMILTON         OH    45013‐3332
MARY MERRITT WINSTEAD                             7891 BOSTON RD                                                                                 ROXBORO          NC    27573‐7566
MARY METHNER                                      2350 WATKINS LAKE RD                  APT 225                                                  WATERFORD        MI    48328‐1426
MARY MEYERS                                       706 JOSEPHINE ST                                                                               MILAN            IN    47031‐8308
MARY MICHAEL CONN & RICHARD A CONN JT TEN         PO BOX 6449                                                                                    MESA             AZ    85216
MARY MICHEL                                       1578 ELMORE AVE                                                                                COLUMBUS         OH    43224‐2835
MARY MIEL & BARBARA SEBELL JT TEN                 30005 BARBARY CT                                                                               WARREN           MI    48093‐3071
MARY MILLER                                       2612 FORSYTHIA DR                                                                              ROCKFORD         IL    61102‐3419
MARY MITCHELL                                     11308 WOODCHUCK DR                                                                             BOCA RATON       FL    33428‐2666
MARY MITCHELL                                     16558 INDIANA ST                                                                               DETROIT          MI    48221‐2904
MARY MITCHELL DODD                                76 HOMESTEAD HILLS                                                                             AFTON            VA    22920‐2719
MARY MOCHTAK                                      18KENNETH PLACE                                                                                CLARK            NJ    07066‐1721
MARY MOLASCON                                     12771 TECUMSEH                                                                                 DETROIT          MI    48239‐2740
MARY MOLASKI & DAVID E MOLASKI & GARY J MOLASKI   194 SUNSET DR                                                                                  HOUGHTON LAKE    MI    48629‐9314
JT TEN
MARY MOLLOY TOD BRIAN P MOLLOY & ANGELA M         23018 LAMBRECHT                                                                                EASTPOINTE       MI    48021‐1865
LASTOMIRSKY & LYNN M GENNA
MARY MONTAGNA TOD VINCENT MONTAGNA SUBJECT        10 CAMBRIDGE RD                                                                                KENDALL PARK     NJ    08824
TO STA TOD RULES
MARY MONTAGUE JONES STEPHENS                      116 LONGWOOD DRIVE                                                                             NEWPORT NEWS     VA    23606‐3604
MARY MONTGOMERY MAHAFFEY                          5526 JESSAMINE LN                                                                              ORLANDO          FL    32839‐2057
MARY MOODY HARSHBARGER                            29250 US 19 NORTH LOT 7 DORAL                                                                  CLEARWATER       FL    33761
MARY MOORE TINNIN RAYBORN                         3738 RUE D'ORLEANS                                                                             BATON ROUGE      LA    70810
MARY MORUA & JULIE A ALAMILLO JT TEN              512 CITRUS STREET                                                                              SANTA PAULA      CA    93060‐1715
MARY MOSCHELLA & PETER SALVITTI JT TEN            11 TUTTLE ST                                                                                   REVERE           MA    02151‐2415
MARY MULLIGAN TR UA 10/12/99 MULLIGAN FAMILY      13105 RADCLIFFE RD                                                                             CHARDON          OH    44024‐8210
REV LIVING TRUST
MARY MULVEY                                       52 WHITMAN AVE                                                                                 SYOSSET          NY    11791
MARY MURPHY                                       12504 ASKEW                                                                                    GRANDVIEW        MO    64030‐1516
MARY MURPHY                                       325 E 235TH ST                                                                                 BRONX            NY    10470‐2101
MARY MURPHY & EILEEN R MCDOW JT TEN               1030 RARITAN ROAD                                                                              CRANFORD         NJ    07016‐3362
MARY N BACHO                                      106 LAMIE DR                                                                                   LADSON           SC    29456‐5411
MARY N BAGLEY                                     4086 CHESTNUT DRIVE                                                                            FLOWERY BRANCH   GA    30542‐3064

MARY N BOURAS & WILLIAM T BOURAS TR MARY N        5922 CRANE CIRCLE                                                                              ST LOUIS         MO    63109‐3430
BOURAS TRUST UA 04/02/97
MARY N BROWN                                      4212 FAIRPORT RD                                                                               KITTRELL         NC    27544‐7727
MARY N BROWN & JAMES H BROWN JT TEN               4212 FAIRPORT RD                                                                               KITTRELL         NC    27544‐7727
MARY N C STEBBINS                                 415 MORAN RD                                                                                   GROSSE POINTE    MI    48236‐3212
MARY N FOLMER                                     PO BOX 5197                                                                                    BATTON ROUGE     LA    70821‐5197
MARY N FOREE                                      7 HARKNESS BROOK LANE #B                                                                       ROCKPORT         ME    04856
MARY N FRANGOS                                    306 GOLDIE ROAD                                                                                YOUNGSTOWN       OH    44505‐1950
MARY N GEBERT                                     2948 BUENA VISTA ST                                                                            BURBANK          CA    91504‐1714
MARY N GIDDINGS                                   381 ROSEWAE AVE                                                                                CORTLAND         OH    44410‐1268
MARY N KOAH                                       6035 S TRANSIT RD LOT 203                                                                      LOCKPORT         NY    14094‐6324
MARY N LUCIANO                                    77 OLIVER RD                                                                                   PARAMUS          NJ    07652‐3704
MARY N POPE                                       1205 PADEN DRIVE                                                                               EAST GADSDEN     AL    35903‐3135
MARY N POWERS                                     HC 60 BOX 585                                                                                  LAWTON           OK    73501‐9110
MARY N RAY                                        8536 NORMILE                                                                                   DETROIT          MI    48204‐3144
MARY N SALEMME                                    C/O ARTHUR V SALEMME                  110 MARSHALL DR                                          PITTSBURGH       PA    15215‐1434
MARY N SHAW                                       8235 ST MARYS                                                                                  DETROIT          MI    48228‐1958
MARY N SHERRILL                                   15361 COYLE                                                                                    DETROIT          MI    48227‐2619
MARY N SHIMEK                                     317 EVERGREEN CT                                                                               OWOSSO           MI    48867‐1076
MARY N SOLOMON TR UA 9/22/92 SOLOMON LIVING       PO BOX 7360                                                                                    MONROE           LA    71211‐7360
TRUST
MARY N VALENTINE                                  3922 MELINDA ST                                                                                SHREVEPORT       LA    71109‐5034
MARY N WADE                                       15301 WALLBROOK CRT UNIT 1‐C                                                                   SILVER SPRINGS   MD    20906‐1457
MARY N WOFFORD                                    208 CLUB MEADOWS CT                                                                            SPARTANBURG      SC    29302‐4217
MARY N WOODS                                      126 CO RD 358                                                                                  FLORENCE         AL    35634‐6242
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Name                                            Address1                                Address2                           Address3   Address4          City               State Zip

MARY NAJARIAN CUST ARA NAJARIAN UGMA OH         2030 EL ARBOLITA DR                                                                                     GLENDALE           CA    91208‐1806
MARY NANCY MC LAUGHLIN                          810 ELIZABETH ST                                                                                        MC KEESPORT        PA    15133‐2318
MARY NEALE BERKAW                               950 TRAVELER BLVD                       APT D4                                                          SUMMERVILLE        SC    29485‐8937
MARY NEILL CATRON                               1192 CH RANKIN RD                                                                                       WHITE PINE         TN    37890‐4027
MARY NELL COOPER                                30 PERSHING AVE                                                                                         RIDGEWOOD          NJ    07450‐3909
MARY NELL HICKS                                 129 GODFROY P O BOX 175                                                                                 SOMERSET           IN    46984‐0175
MARY NELL LEGG TR MARY NELL LEGG FAM TRUST UA   2317 IRLO DR                                                                                            KISSIMMEE          FL    34741‐2124
03/04/94
MARY NELL WALTON MORGAN                         3509 WEST FOREST LAKE DR                                                                                FLORENCE           SC    29501‐8229
MARY NELSON                                     509 BROADWAY ST S                                                                                       STILLWATER         MN    55082‐5140
MARY NEWBY                                      1725 13TH                                                                                               WYANDOTTE          MI    48192‐3609
MARY NEWCOMER                                   9 BURNHAM ST                                                                                            GREENHILLS         OH    45218‐1319
MARY NEWTON                                     PO BOX 4098                                                                                             BOULDER            CO    80306‐4098
MARY NICKELS                                    1918 GRAVERS LN                                                                                         WILMINGTON         DE    19810‐3904
MARY NOBLE KLOTZ                                3 WENTWORTH LANE                                                                                        DERRY              NH    03038‐3727
MARY NORA TROTOGOTT                             704 TOPAZ LN                                                                                            ROSEBURG           OR    97470‐9112
MARY NOREEN YAVORN & WILLIAM C YAVORN JT TEN    6616 BARNSDALE COURT                                                                                    SAN JOSE           CA    95120‐4503

MARY NORFLEET SIZEMORE                          6461 GARBER RD                                                                                          DAYTON             OH    45415‐2014
MARY NORTHWOOD HALL                             200 TRADE ST APT G202                                                                                   TARBORO            NC    27886‐5047
MARY NOWAK POWERS                               12265 NW MC CLUNE RP                                                                                    LAWTON             OK    73507‐7756
MARY O BEASLEY                                  2700 GAINFORD CIRCLE                                                                                    RICHMOND           VA    23234‐5028
MARY O CHACKO                                   2212 FALLING SPRINGS LANE                                                                               YUKON              OK    73099
MARY O CHICK                                    1820 RIDGELAWN                                                                                          YOUNGSTOWN         OH    44509‐2114
MARY O HOLLAND TR UA 02/28/73 MARY O HOLLAND    9454 SOUTH 447                                                                                          LOCUST GROVE       OK    74352
TRUST
MARY O KIRSCHBAUM                               2326 SILVER CIRCLE DR                                                                                   WATERFORD          MI    48328‐1739
MARY O MACIEY & KAREN M VANNAN JT TEN           2614 SKYLARK ROAD                                                                                       WILMINGTON         DE    19808‐1634
MARY O MCCARTHY                                 1760 KELLY DRIVE                                                                                        GOLDEN VALLEY      MN    55427‐4161
MARY O OSTERMAN & ROBERT T OSTERMAN JT TEN      39500 WARREN RD                         LOT #47                                                         CANTON             MI    48187‐4343

MARY O SWICK                                    5303 AUGSPURGER ROAD                                                                                    HAMILTON           OH    45011
MARY O VALEGA                                   19324 CISSEL DRIVE                                                                                      POOLSVILLE         MD    20837
MARY O'SHEA FEENEY                              146 STATE RTE 169                                                                                       LITTLE FALLS       NY    13365‐5017
MARY OBLANDER                                   PO BOX 9365                                                                                             GRAND JUNCTION     CO    81501‐9300

MARY ODNEAL                                     204 CEDARDALE                                                                                           PONTIAC            MI    48341‐2724
MARY OHANIAN TR MARY OHANIAN REV TRUST UA       12 FRANK RD                                                                                             STONY POINT        NY    10980‐3009
1/13/04
MARY OLEFF                                      4729 EAST 86ST                                                                                          GARFIELD           OH    44125‐1331
MARY OLEJAR                                     7211 NORTHFIELD CIR                                                                                     FLUSHING           MI    48433‐9427
MARY OLGA MOORE                                 C/O MARGARET TROSHKIN                   640 W 231ST STREET                                              BRONX              NY    10463‐3256
MARY OLSEN                                      356 JAMES ST                                                                                            NORTH VERSAILLES   PA    15137‐2026

MARY ORR S MOSELEY                              3724 CANOE LN                                                                                           LOUISVILLE         KY    40207‐1405
MARY OSCELEE STANLEY                            703 WEST 7TH STREET                                                                                     LAUREL             DE    19956‐1309
MARY OWEN SMOLKO CUST JOHN FRANCIS SMOLKO III   2115 HICKORY CREST DR                                                                                   MEMPHIS            TN    38119‐5641
UTMA VA
MARY OWENS                                      15713 WINTHROP                                                                                          DETROIT            MI    48227‐2349
MARY P ANDERSON                                 2829 S MERIDIAN STREET                                                                                  INDIANAPOLIS       IN    46225‐2362
MARY P BEDFORD                                  2413 BROCKTON CIRCLE                                                                                    NAPERVILLE         IL    60565‐3193
MARY P BERNHARD PALMETTO MERCANTILE CO                                                                                                                  PALMETTO           LA    71358
MARY P BRANCO                                   PO BOX 3478                                                                                             EAST HAMPSTEAD     NH    03826‐3478
MARY P BRANDENBURG                              C/O I RIPON BRITTON                     2001 PARK PLACE NORTH SUITE 1200                                BIRMINGHAM         AL    35203
MARY P C LOUTHAN                                322 E LIMA AVE                                                                                          ADA                OH    45810‐1612
MARY P CALAMOS                                  1018 E 38TH ST                                                                                          TULSA              OK    74105‐3021
MARY P CAREY                                    1322 LAKEVIEW DR                                                                                        ALPENA             MI    49707
MARY P CHRISTY                                  303 UPPER CITY RD                                                                                       PITTSFIELD         NH    03263‐1651
MARY P CONRY                                    12244 DAUGHERTY DR                                                                                      ZIONSVILLE         IN    46077‐9308
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Name                                               Address1                               Address2             Address3          Address4          City               State Zip

MARY P CONWAY                                      82 PILGRIM RD                                                                                   SPRINGFIELD        MA    01118‐1414
MARY P CORTEZ                                      504 COLWELL AVE                                                                                 PLEASANTON         TX    78064‐3622
MARY P CURTIS                                      PO BOX 1161                                                                                     DEARBORN HTS       MI    48127‐7161
MARY P DECKER                                      4214 CRAIGMONT DR                                                                               INDIANAPOLIS       IN    46237‐2818
MARY P DENNISON                                    89 MIDDLEBROOKS DR                                                                              OXFORD             GA    30054‐2833
MARY P DINAN CUST TIMOTHY MICHAEL DINAN UGMA       1625 ROSLYN                                                                                     GROSSE POINTE      MI    48236‐1054
MI                                                                                                                                                 WOOD
MARY P DONAHUE                                     59 LAUREL PLACE                                                                                 NEW ROCHELLE       NY    10801‐7104
MARY P FEDEWA                                      324 CHESTERFIELD PKWY                                                                           EAST LANSING       MI    48823‐4113
MARY P FRYE                                        218 CLUBHOUSE RD #D                                                                             KNG OF PRUSSA      PA    19406
MARY P GALLAGHER                                   30302 FAIRWAY BLVD                                                                              WILLOWICK          OH    44095‐4646
MARY P GULLAGE                                     4320 ROXBURY ST                                                                                 SIMI VALLEY        CA    93063‐1160
MARY P HAGERTY                                     2620 N CONNECTICUT                                                                              ROYAL OAK          MI    48073‐4217
MARY P HALE                                        1656 DOGWOOD DR                                                                                 HARVEY             LA    70058‐3535
MARY P HALL                                        496 BLUE PT RD                                                                                  FARMINGVILLE       NY    11738‐1818
MARY P HALSELL                                     134 KEVIN DR                                                                                    ANDERSON           IN    46016‐5825
MARY P HAWK                                        9077 COOLEY RD                                                                                  RAVENNA            OH    44266‐9762
MARY P HODGDON                                     7770 S US HIGHWAY 23                                                                            GREENBUSH          MI    48738‐9205
MARY P HORTON                                      581 TRILLIUM RIDGE                                                                              BOONE              NC    28607‐7982
MARY P HUGHES                                      8865 OVERLAKE DR W                                                                              MEDINA             WA    98039‐5347
MARY P KELLOGG                                     513 E WINDING HILL RD                                                                           MECHANICSBURG      PA    17055‐4911
MARY P KONDRICH & MARYANN OTTO & KATHERINE         16557 SILVERADO DR                                                                              SOUTHGATE          MI    48195‐3926
STEPULLA JT TEN
MARY P KONDRICH & MARYANN OTTO & KATHRYN           16557 SILVERADO DR                                                                              SOUTHGATE          MI    48195‐3926
STEPULLA JT TEN
MARY P KRONOUR                                     23 GEMINI                                                                                       HANNIBAL           MO    63401‐2303
MARY P KRSTEVICH TR UA 04/28/06 MARY P KRSTEVICH   47436 ARBOR TRAIL                                                                               NORTHVILLE         MI    48168
TRUST
MARY P LAVEZZA & JOSEPH F LAVEZZA JT TEN           25 SUMMER FIELDS CT                                                                             LUTHERVILLE        MD    21093‐4740
MARY P LEONARD                                     1709 OAK HILL DRIVE                                                                             MURRAY             KY    42071
MARY P LUTH & WILLIAM P LUTH JT TEN                735 WOODTICK RD                        APT 5                                                    WATERBURY          CT    06705‐1707
MARY P MASOTTO                                     773 LEXINGTON DR                                                                                HERMITAGE          PA    16148‐3702
MARY P MCFARLAND                                   503 HERITAGEGREEN DR                                                                            MONROE             OH    45050
MARY P MILLIMAN                                    ATTN MARY P MILLER                     PO BOX 97                                                WARM SPRINGS       VA    24484‐0097
MARY P MOORE & JAMES PRITTS MOORE JT TEN           946 BOULEVARD                                                                                   SALEM              VA    24153
MARY P MOORE & NORMAN R MOORE JR JT TEN            946 BOULEVARD                                                                                   SALEM              VA    24153
MARY P NAKULAK                                     129 IRVING PL                                                                                   RUTHERFORD         NJ    07070‐1608
MARY P NORTHCUTT                                   1586 RIDGE ROAD                                                                                 YPSILANTI          MI    48198‐3304
MARY P NORTHCUTT & MURRAY NORTHCUTT JT TEN         1586 RIDGE RD                                                                                   YPSILANTI          MI    48198‐3304

MARY P PENROD                                      2026 WILBERT ST                                                                                 SANDUSKY           OH    44870‐1975
MARY P PETERSDORF & CHARLES W TAYLOR JT TEN        1832 RED LION RD                                                                                BEAR               DE    19701‐1833

MARY P PHILLIPS                                    1702 SOUTH SHEFFORD CIRCLE                                                                      WICHITA            KS    67209
MARY P PIASECKI                                    368 59TH STREET                                                                                 WILLOWBROOK        IL    60527‐1761
MARY P PRESTI                                      55 GAYLORD ST APT 703                                                                           BRISTOL            CT    06010‐5630
MARY P RATCLIFFE                                   115 BEECH CRT                                                                                   LITTLETON          NC    27850‐7901
MARY P RICE                                        4003 PICKSTONE DR                                                                               FAIRFAX            VA    22032‐1341
MARY P RISLEY                                      84 KESSEL COURT                        APT 33                                                   MADISON            WI    53711‐6248
MARY P ROYS                                        42 SANDY DRIVE                                                                                  BRISTOL            CT    06010‐4568
MARY P SANDELS                                     225 CONWAY ST                                                                                   CARLISLE           PA    17013‐3602
MARY P SCHLACKS & JAMES J SCHLACKS JT TEN          1350 JAMIE LANE                                                                                 HOMEWOOD           IL    60430‐4038
MARY P SCHNEIDER EX UW PAUL J SCHNEIDER            965 GRAND VIEW LANE                                                                             AURORA             OH    44202‐8845
MARY P SCHROEDER                                   8902 SAN FERNANDO WAY                                                                           DALLAS             TX    75218‐4035
MARY P SERRADA                                     204 MAIN ST                                                                                     FARMINGTON         ME    04938‐1901
MARY P SOROKA                                      226 S 4TH ST                                                                                    SHARPSVILLE        PA    16150‐1308
MARY P STOKES                                      702 CANAL DR                                                                                    KILL DEVIL HILLS   NC    27948‐8427
MARY P SUHR                                        134 HIGHLAND                                                                                    ROCHESTER          MI    48307‐1511
MARY P SWEELY                                      1602 5TH AVE N                                                                                  ESTHERVILLE        IA    51334‐1760
                                             09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                               Address2                Address3       Address4          City              State Zip

MARY P TEMPLETON                                 201 W PONCE DE LEON AVE                #417                                                     DECATUR           GA    30030
MARY P TEMPLIN                                   1712 SW 18TH ST                                                                                 BOYNTON BEACH     FL    33426‐6414
MARY P TILLER                                    117 PENNSYLVANIA AVE                                                                            LOUISVILLE        KY    40206
MARY P TRUHAN                                    7841 BROOKWOOD N E                                                                              WARREN            OH    44484‐1544
MARY P TUREK                                     199 N TRANQUIL PATH DR                                                                          SPRING            TX    77380‐2756
MARY P VAN DRIESSCHE                             1047 VALLEY CREST DR                                                                            BIRMINGHAM        AL    35226‐5031
MARY P VENTURA TR MARY P VENTURA TRUST UA        1154 SKYCREST DR #4                                                                             WALNUT CREEK      CA    94595‐1895
06/01/99
MARY P WHITMYRE & VICKI L KOUNK JT TEN           3440 REGENT DR                                                                                  WOODLAND PARK     CO    80863‐9495

MARY PAGE                                        8526 W 101ST TER                       APT 203                                                  PALOS HILLS       IL    60465
MARY PAGE CHAMPION                               1009 N ROCKWALL ST                                                                              TERRELL           TX    75160‐2163
MARY PAGLIONE                                    122 JEFFERSON AVE                                                                               BRISTOL           PA    19007‐5237
MARY PALAZZOLA                                   22211 12 MILE RD                                                                                ST CLAIR SHORES   MI    48081‐1238
MARY PAPAGEORGE                                  14 PEQUOSSETTE ST                                                                               WATERTOWN         MA    02472‐2763
MARY PAPROCKI                                    3999 VENOY RD                          APT 106                                                  WAYNE             MI    48184‐1488
MARY PAT GRAFF                                   4631 E PRICKLY PEAR TRL                                                                         PHOENIX           AZ    85050‐8542
MARY PAT KYLE                                    BOX 246 RTE 3                                                                                   FENWICK ISLAND    DE    19944‐9322
MARY PAT PAMPU                                   1047 VALLEY CREST DR                                                                            BIRMINGHAM        AL    35226‐5031
MARY PAT POMARANSKI                              31 DAISY HILL DRIVE                                                                             OAKDALE           CT    06370
MARY PATRICIA ANNETT                             252 RIVIERA PARKWAY                                                                             LINDENHURST       NY    11757‐6117
MARY PATRICIA CALLAN                             ATTN MARY PATRICIA MC KIE              65 SWIFT LANE                                            NAPERVILLE        IL    60565‐1317
MARY PATRICIA CIONEK                             1202 N WHEELER AV                                                                               SALLISAW          OK    74955‐2233
MARY PATRICIA CROAK                              1262 GABRIEL COURT                                                                              SAN LEANDRO       CA    94577‐6821
MARY PATRICIA DEASCANIS CUST GALILEO LEONE       322 14TH ST                                                                                     NEW CASTLE        DE    19720‐4561
DEASCANIS UGMA DE
MARY PATRICIA GLANVILLE                          5768 NORTHFIELD PK                     APT 573                                                  TROY             MI     48098‐5126
MARY PATRICIA HAMANN                             6221 UNIVERSITY                                                                                 DEARBORN HEIGHTS MI     48127‐2587

MARY PATRICIA KELLY                              C/O MARY PATRICIA BRADY                3440 ARNOLD STREET                                       CINCINNATI       OH     45208
MARY PATRICIA MC CONNELL                         C/O MARY PATRICIA ANNETT               252 RIVIERA PARKWAY                                      LINDENHURST      NY     11757‐6117
MARY PATRICIA MOSHIMER                           BOX 1298                                                                                        KENNEBUNKPORT ME        04046‐1298
MARY PATRICIA O'CONNOR                           249 MILBANK AVE                        APT 311                                                  GREENWICH        CT     06830‐6621
MARY PATRICIA STREETER                           2411 GARRETT RD                                                                                 WHITE HALL       MD     21161‐9747
MARY PATRICIA WALTERS                            1556 SAYBROOK RD APT 256                                                                        HADDAM           CT     06438‐1371
MARY PATRICIA WEBER                              C/O HAMANN                             6221 UNIVERSITY DRIVE                                    DEARBORN HEIGHTS MI     48127‐2587

MARY PATTERSON                                   92 ROCKLEDGE AVE                                                                                MT VERNON         NY    10550‐4949
MARY PAULIC                                      27 FINNER DR                                                                                    CRAWFORDVILLE     FL    32327‐5429
MARY PAULINE KOZIOL & EDWARD KOZIOL JT TEN       1301 W STANLEY ROAD                                                                             MT MORRIS         MI    48458‐2314
MARY PAULINE WILLIAN                             3002 BOBOLINK ROAD                                                                              LOUISVILLE        KY    40217‐1723
MARY PAVELKA CUST JERRY CHRIST PAVELKA UGMA IN   160 EAST ILLINOIS ST UNIT 1606                                                                  CHICAGO           IL    60611

MARY PAVELKA TOD JERRY C PAVELKA SUBJECT TO STA 491 N STATE ROAD 149                                                                             VALPARAISO        IN    46385
TOD RULES
MARY PEARSON                                    10919 SW 86TH AVE                                                                                OCALA             FL    34481
MARY PELLETTER HOLZHEIMER & TERRY HOLZHEIMER JT 7718 FALSTAFF COURT                                                                              MC LEAN           VA    22102‐2721
TEN
MARY PENN HUGHES                                360 PILOT HOUSE DR                                                                               MYRTLE BEACH     SC     29577‐6752
MARY PENZ                                       38114 SADDLE LANE                                                                                CLINTON TOWNSHIP MI     48036‐1777

MARY PEREZ LOPEZ                                 333 W FRACK ST                                                                                  FRACKVILLE        PA    17931‐1615
MARY PERHAM                                      3072 WALLACE AVE SW                                                                             GRANDVILLE        MI    49418‐1451
MARY PETER KRELL CUST PATRICIA ANN KRELL U/THE   ATTN PATRICIA SUNDGREN                 397 MEADOW RD                                            FARMINGTON        CT    06032‐2719
CONN U‐G‐M‐A
MARY PETTICREW                                   PO BOX 5194                                                                                     DELTONA           FL    32728‐5194
MARY PETTUS                                      3452 COLTON RD                                                                                  CLEVELAND         OH    44122‐3829
MARY PLATTS                                      1010 CUMBERLAND AV                     APT 219                                                  WEST LAFAYETTE    IN    47906‐1448
MARY POPA                                        179 BONNIE BRAE AVE NE                                                                          WARREN            OH    44483‐5208
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Name                                              Address1                               Address2               Address3        Address4          City              State Zip

MARY POULOS                                       5401 VANDEWATER AVE                                                                             CLARKSTON        MI     48346‐3446
MARY PRUFER                                       70 WHITMAN DR                                                                                   NEW PROVIDNCE    NJ     07974‐1460
MARY PRYMICZ                                      21100 FAIRVIEW DR                                                                               DEARBORN HEIGHTS MI     48127‐2684

MARY QUALLS HODSON                                5926 S 475 E                                                                                    MARKLEVILLE       IN    46056‐9724
MARY QUAN TR MARY QUAN REVOCABLE TRUST UA         1970 FUNSTON AVENUE                                                                             SAN FRANCISCO     CA    94116‐1342
08/10/05
MARY QUEEN OF PEACE CHURCH                        1501 W CAUSEWAY                                                                                 MANDEVILLE        LA    70471
MARY R ANDERSON                                   PO BOX 580                                                                                      RAYMOND           MS    39154‐0580
MARY R AUBREY                                     152 W 105TH ST                                                                                  LOS ANGELES       CA    90003‐4612
MARY R AZAR                                       BOX 588                                                                                         SOMERS TOWN       NY    10589‐0588
MARY R BAKER                                      ATTN MARY BAKER COCHRAN                30051 MUNRO ST                                           GIBRALTAR         MI    48173‐9722
MARY R BAKER                                      12215 BROOKFIELD                                                                                CLEVELAND         OH    44135‐2215
MARY R BANTIN                                     1945 BENEDICT LN                                                                                SHELBY TOWNSHIP   MI    48316‐2000

MARY R BAYNES                                     1560 E HUGHES MILL RD                                                                           BURLINGTON        NC    27217‐9350
MARY R BEGOR                                      C/O ROLAND BEGOR                       2767 SOUTHFORK DRIVE                                     STEVENSVILLE      MI    49127‐9220
MARY R BENNETT                                    203 5TH AVE SE                                                                                  RUSKIN            FL    33570
MARY R BLAKE                                      129‐B S BROADWAY                                                                                REDONDO BEACH     CA    90277‐3305
MARY R BONACCORSO                                 2715 FOREST AVE                                                                                 NIAGARA FALLS     NY    14301‐1439
MARY R BONDS                                      549 DAYTONA PKWY                       APT 2                                                    DAYTON            OH    45406‐2044
MARY R BONING                                     1618 WALES AVE                                                                                  BALDWIN           NY    11510‐1738
MARY R BOSELA                                     C/O MARY ANTO                          121 GROVERS AVE                                          BRIDGEPORT        CT    06605‐3535
MARY R BOWDEN                                     867 LYNITA DR                                                                                   BROOKFIELD        OH    44403‐9643
MARY R BRUNT TOD CATHERINE L BRUNT                1 BROOKMEAD RD                                                                                  NEWARK            DE    19711
MARY R CEFARATTI & MICHAEL F CEFARATTI JT TEN     647 WALNUT DR                                                                                   EUCLID            OH    44132‐2144

MARY R CINELLI                                   #2                                      26 VAN BUREN RD                                          SCOTIA            NY    12302‐4432
MARY R COOK                                      9 GAYLORD ST                                                                                     SODUS             NY    14551‐1109
MARY R COUGHLIN                                  187 PATTERSON AVE                       APT 313                                                  MIDLAND PARK      NJ    07432‐1874
MARY R CUNDIFF                                   PO BOX 212                                                                                       CONVERSE          IN    46919‐0212
MARY R DANNER                                    2522 GAYLE CT                                                                                    GLENVIEW          IL    60025‐4840
MARY R DE LONG                                   7333 HOLLOWAY DRIVE                                                                              DAVISON           MI    48423‐9315
MARY R DECKER‐JOHNSON                            119 CENTRAL AVE                                                                                  TRENTON           NJ    08628
MARY R DICKERMAN                                 106 AVENUE 2 NW                                                                                  ATKINS            AR    72823‐4136
MARY R DOUGHTEN                                  111 MAIN ST                                                                                      HOLCOMB           MO    63852‐7109
MARY R DYE                                       855 CRESCENT LAKE ROAD                                                                           WATERFORD         MI    48327‐2542
MARY R EADDY                                     77 SANFORD N                                                                                     PONTIAC           MI    48342‐2755
MARY R EBNER                                     4220‐F WILLIAMSBURG DRIVE                                                                        HARRISBURG        PA    17109‐2367
MARY R ENOCHS                                    3613 ROBIN DR                                                                                    KOKOMO            IN    46902‐4433
MARY R FERGUSON TR MARY R FERGUSON TRUST UA      1701 MCDOWELL RD                        APT 220                                                  EVANSVILLE        IN    47712‐5432
10/14/98
MARY R FERRELL                                   31081 IRON CIR                                                                                   TEMECULA          CA    92591‐4996
MARY R FEUSTEL                                   8463 BYERS RD                                                                                    MIAMISBURG        OH    45342‐3723
MARY R FLEMING & MELVIN E FLEMING JT TEN         3305 N KEYSTONE AVE                                                                              INDIANAPOLIS      IN    46218
MARY R FORD                                      2220 OLD SCOTTSVILLE RD                                                                          ALVATON           KY    42122‐9738
MARY R GILLMOR                                   12254 GNEISS AVE                                                                                 DOWNEY            CA    90242‐3544
MARY R GIORDANO                                  505 BLUE GRASS DR                                                                                WILMINGTON        DE    19808‐1955
MARY R GOSS                                      117 MAYBERRY DR E                                                                                BUFFALO           NY    14227‐3038
MARY R GRENNAN                                   329 MORRIS AVE                                                                                   BRISTOL           CT    06010‐4420
MARY R HASTINGS                                  10122 GEORGE TOWN RD                                                                             BERLIN            MD    21811‐1005
MARY R HEFFORD                                   8238 KALTZ                                                                                       CENTERLINE        MI    48015‐1755
MARY R HISON & CAROLE A HISON JT TEN             105 SUNSET LANE                                                                                  ST CLAIR SHORES   MI    48082‐1242
MARY R HNATIW                                    2330 WEST HENRIETTA RD                                                                           ROCHESTER         NY    14623‐1343
MARY R HODGES TOD CHARLES L HODGES II SUBJECT TO 1505 DURAND STREET                                                                               FLINT             MI    48503‐3517
STA TOD RULES
MARY R HODGES TOD CYNTHIA A SONGN‐E SUBJECT TO 1505 DURAND STREET                                                                                 FLINT             MI    48503‐3517
STA TOD RULES
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Name                                              Address1                               Address2             Address3          Address4          City             State Zip

MARY R HODGES TOD LINDA S JAMRA SUBJECT TO STA    1505 DURAND STREET                                                                              FLINT            MI    48507
TOD RULES
MARY R IADIPAOLO                                  2300 ACADEMY RD                                                                                 HOLLY            MI    48442‐8352
MARY R KAZMAREK                                   3427 VOLTAIRE ST                                                                                SAN DIEGO        CA    92106‐1610
MARY R KOPCZYNSKI                                 98 S MEADOW DR                                                                                  N TONAWANDA      NY    14120‐4823
MARY R KOSSATZ                                    80 HOLMES MILL RD                                                                               CREAM RIDGE      NJ    08514‐1802
MARY R LAPIERRE                                   354 MARKET STREET #24                                                                           BRIGHTON         MA    02135‐2755
MARY R LOCKE                                      300 KENNETH                                                                                     GREENWOOD        MS    38930‐3220
MARY R LOWENDICK CUST DOROTHEA MARIE              1005 BLENHEIM PL                                                                                RALEIGH          NC    27612‐5508
LOWENDICK UGMA NC
MARY R LOZANO & PAMELA L MCELREATH JT TEN         175 HALCYON DR                                                                                  SOUTHERN PNES    NC    28387‐6724
MARY R LUMZY                                      136 ANITA DRIVE                                                                                 HATTIESBURG      MS    39401‐8410
MARY R MCCLELLAN                                  3337 FULLERTON                                                                                  DETROIT          MI    48238‐3347
MARY R MCSHANE                                    1752 E LONGMEADOW RD                                                                            TRENTON          MI    48183‐1702
MARY R MENDENHALL                                 PO BOX 124                             206 W KENDALL ST                                         LAFONTAINE       IN    46940‐9142
MARY R MINER & ROBERT G MINER JT TEN              55 JUDITH DR                                                                                    DALTON           MA    01226‐1954
MARY R MOHR                                       1020 ETON CT                                                                                    HARTLAND         WI    53029‐2710
MARY R MONROE                                     5803 LARKINS                                                                                    TROY             MI    48098‐3853
MARY R NICHOLS                                    ATTN MARY R NICHOLS JETER              PO BOX 03497                                             DETROIT          MI    48203‐0497
MARY R OSBORNE TR MARY R OSBORNE TRUST UA         2432 TENNESSEE DR                                                                               XENIA            OH    45385‐4765
01/30/05
MARY R OVERBY                                     2600 CROASDAILE FARM PKWY              A‐308                                                    DURHAM           NC    27705‐1361
MARY R PALERMO                                    37917 POINTE ROSA ST                                                                            HARRISON TWP     MI    48045
MARY R PATERSON & RICHARD A MARSHALL JT TEN       15802 BEN RD                                                                                    BARAGA           MI    49908‐9069

MARY R PATITUCCI                                   4617 PINEGROVE AVE                                                                             AUSTINTOWN       OH    44515
MARY R PERINI TR MARY PERINI REV TRUST UA 01/07/92 4911 HARRISON ST                                                                               HOLLYWOOD        FL    33021‐7208

MARY R PERRYMAN & HENRY J PERRYMAN JT TEN         624 S GRAND TRAVERSE ST                STE 1                                                    FLINT            MI    48502‐1230
MARY R POLK                                       421 RIVERSIDE DR                                                                                MANCHESTER       MI    48158‐8523
MARY R PORCIELLO TOD CONCETTA J YOUNG SUBJECT     136 WEST                                                                                        CLINTON          MA    01510
TO STA TOD RULES
MARY R POWELL                                     105 PINERIDGE DR                                                                                BECKLEY          WV    25801‐2331
MARY R PROFFITT                                   37442 FOUNTAIN PK #402                                                                          NESTLAND         MI    48185‐5641
MARY R ROGERS                                     36 SPRING VALLEY AVE                                                                            HACKENSACK       NJ    07601‐3803
MARY R ROMERO                                     15380 RYAN ST                                                                                   SYLMAR           CA    91342‐3650
MARY R RUSSELL                                    147 W STATE ST                         # 211                                                    KENNET SQ        PA    19348‐3022
MARY R SCANLON                                    105 DAIRY LANE                                                                                  LINWOOD          NJ    08221‐2401
MARY R SCOTT                                      PO BOX 2090                                                                                     NEW LONDON       NH    03257‐2090
MARY R SELOVER & DIANNA M NELLI JT TEN            44 AUGUSTA AVENUE                                                                               AMHERST          NY    14226‐2203
MARY R SHELTON                                    3600 SE 24TH AVE                                                                                OCALA            FL    34471‐6144
MARY R SMALLEY                                    1907 BROUGHTON DR                                                                               BEVERLY          MA    01915‐1855
MARY R SNAKENBERG                                 409 PASADENA AVE                                                                                METAIRIE         LA    70001‐4838
MARY R STERNBERG                                  706 NORTH ILLINOIS AVENUE                                                                       SALEM            IL    62881‐1107
MARY R STEWART & MICHELLE R REDFORD JT TEN        114 E KANSAS                                                                                    LANSING          KS    66043‐1616
MARY R SUCHOMEL                                   479 SAPPHIRE DR                                                                                 CARMEL           IN    46032‐7412
MARY R SUTHERLAND                                 23 FOURTH STREET                                                                                REHOBOTH BEACH   DE    19971‐2101

MARY R TARPLEY                                    3159 SANTA CRUZ LANE                                                                            ALAMEDA          CA    94502‐6926
MARY R TARPLEY TR UW OF CLARENCE E TARPLEY        3159 SANTA CRUZ LANE                                                                            ALAMEDA          CA    94502‐6926
MARY R WAGGONER TR UA 12/01/2009 MARY R           2517 SE 79TH AVE                                                                                PORTLAND         OR    97206
WAGGONER LIVING TRUST
MARY R WERBANETH                                  2588 HUNTERS POINT COURT NORTH                                                                  WEXFORD          PA    15090‐7988
MARY R WHITE & RAYMOND H WHITE JT TEN             23271 ROSEWOOD                                                                                  OAK PARK         MI    48237‐3703
MARY R WHITTAKER                                  920 HIGHRIDGE AVENUE                                                                            DAYTON           OH    45420‐2741
MARY R WOOD CUST STEVEN P WOOD UGMA IL            7170 CODY DRIVE 200                                                                             W DES MOINES     IA    50266
MARY R ZIMMERMAN                                  4502 MANDRAKE ROAD                                                                              MADISON          WI    53704‐1730
MARY RAE GARDNER                                  530 SW EDGEWATER                                                                                DEPOE BAY        OR    97341‐9524
MARY RAKOWITZ                                     C/O MRS W H RAWE                       1302 SEMLINGER RD                                        SAN ANTONIO      TX    78220‐3529
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Name                                               Address1                             Address2             Address3          Address4          City             State Zip

MARY RALEIGH                                       1286 SHAWN CT                                                                                 HARTLAND         MI    48353‐3465
MARY RANDLES                                       KILPADDER                            KILGARVAN            CO KERRY          IRELAND
MARY RAVISH                                        2181 CRESTED BUTTE DR                                                                         WHITE LAKE       MI    48383‐2377
MARY REBECCA ALLISON                               3328 SCOTSDALE DRIVE                                                                          SPRINGFIELD      OH    45504‐4214
MARY REBECCA SPITZ                                 44 PAGE ROAD                                                                                  LINCOLN          MA    01773
MARY REBECCA WRIGHT                                2314 COUNTY ROAD 1370                                                                         ALVARD           TX    76225‐7531
MARY REDMAN AYDELOTTE                              1659 SHANGRI LA DR                                                                            DAYTONA BEACH    FL    32119‐1594
MARY REED                                          5421 FLORIDA                                                                                  DETROIT          MI    48210‐2213
MARY REEVES WOOD                                   11440 PLANTATION DR                                                                           CHARLOTTE HALL   MD    20622‐3729
MARY REILLY VALENTE                                1 STOCKTON DR                                                                                 CRANBURY         NJ    08512‐3123
MARY RICCI TR CHARLES P RICCI TRUST UA 4/28/92     348 GRETNA GREEN DR                                                                           HIGHLAND HTS     OH    44143

MARY RICE                                          174 TENNEY AVE                                                                                RIVER EDGE       NJ    07661‐2234
MARY RICHTER                                       1306 N PAYNE                                                                                  NEW ULM          MN    56073
MARY RITA BENSON                                   28 SOUTH RUBY LANE                                                                            FAIRVIEW HEIGHTS IL    62208‐2610

MARY RITA BUSH                                  100 E STATION ST                        APT 240                                                  BARRINGTON       IL    60010‐4340
MARY RITA DEGENFELDER TR DEGENFELDER TRUST I UA 1205 E SANDY LAKE RD                    APT 111                                                  COPPELL          TX    75019‐7388
10/02/91
MARY RITA GRANT                                 67 MAIN ST                                                                                       NORWAY           ME    04268‐5501
MARY RITA GRANT CUST LORI NICOLE GRANT UGMA MD 6515 LEWIS RD                                                                                     BALDWIN          MD    21013‐9329

MARY ROBERTS                                       PO BOX 1583                                                                                   CLEARLAKE OAKS   CA    95423‐1583
MARY ROBINS                                        4015 FAIR OAKS AVE                                                                            MENLO PARK       CA    94025‐1925
MARY ROBINSON                                      16706 GLENDALE AVE                                                                            CLEVELAND        OH    44128‐1452
MARY ROBINSON                                      ATTN MARY EVANS                      2127 W LAURA                                             PEORIA           IL    61604‐5145
MARY ROBINSON                                      2326 UNION GROVE COURT                                                                        LITHONIA         GA    30058‐5051
MARY ROOT                                          8151 BRIARWOOD DR                                                                             BIRCH RUN        MI    48415‐8523
MARY ROSE CHRISTOFFEL                              43 OLD POST LANE                                                                              LITITZ           PA    17543‐7606
MARY ROSE MCGOWAN & JANICE L EVANS JT TEN          1117 NORTH                                                                                    IOLA             KS    66749
MARY ROSE S HEDBERG                                6402 MEADOW CIRCLE                                                                            CORPUS CHRISTI   TX    78413‐2802
MARY ROSE SCALLY                                   9300 DOUGLAS CRT                                                                              N ROYALTON       OH    44133‐2330
MARY ROSE SPARKS                                   26977 ROCHELLE ST                                                                             DEARBORN HTS     MI    48127‐3671
MARY ROSENBERGER RAGLAND                           BOX 815                                                                                       KILMARNOCK       VA    22482‐0815
MARY ROSS HUNEYCUTT                                1656 EBERT STREET                                                                             WINSTON‐SALEM    NC    27103‐4807
MARY ROSSI                                         1931 KING JAMES PKWY                 APT 204                                                  WESTLAKE         OH    44145‐3437
MARY RUBY COLEMAN & PEGGY COLEMAN JT TEN           3522 BLENHEIM RD                                                                              PHOENIX          MD    21131‐2223
MARY RUCKAUF                                       11A KINGERY QUARTER                  APT 103                                                  WILLOWBROOK      IL    60527‐6538
MARY RUNNEBERG                                     312 S HARRISON                                                                                LAURENS          IA    50554‐1451
MARY RUTH BREWER                                   561 HILL AVE                                                                                  FAIRFIELD        OH    45014‐1021
MARY RUTH BRUNS                                    2910 KIRCHLING RD                                                                             HAMILTON         OH    45013‐9619
MARY RUTH COOK & MICHAEL J COOK JT TEN             6402 MICHELLE DRIVE                                                                           LOCKPORT         NY    14094‐1135
MARY RUTH DUNHAM                                   4584 CREEK FORD DR                                                                            DULUTH           GA    30096‐6099
MARY RUTH FREEMAN & JANE C HASSE & KAREN S         2744 WINDSOR DRIVE                                                                            TROY             MI    48085‐3729
STRINGFIELD JT TEN
MARY RUTH GAIDOSH                                  667 CHELSEA DR                                                                                SANFORD          NC    27330‐8587
MARY RUTH GREEN                                    1285 EDWARD DRIVE                                                                             TIPP CITY        OH    45371
MARY RUTH H NORRIS                                 7113 CEDAR CREST RD                                                                           ROANOKE          VA    24019‐2129
MARY RUTH INLOES                                   BOX 234                                                                                       MONKTON          MD    21111‐0234
MARY RUTH KRUMM                                    5408 BEEBE ST NE                                                                              ALBUQUERQUE      NM    87111‐1904
MARY RUTH SANE                                     5874 LEON RD                                                                                  ANDOVER          OH    44003‐9449
MARY RUTH STEWARD                                  1 MCCORMICK WAY                                                                               LINCOLN          PA    19352‐2017
                                                                                                                                                 UNIVERSITY
MARY RYBARZ                                        1481 HEIGHTS ST                                                                               LAKE ORION       MI    48362‐2212
MARY RYDZESKI & BURNHART RYDZESKI JT TEN           51 DYKE RD                                                                                    SETAUKET         NY    11733‐3014
MARY RYNNE                                         4347 MARTHA AVE                                                                               BRONX            NY    10470‐1705
MARY RYNNE & AUSTIN RYNNE JT TEN                   4347 MARTHA AVE                                                                               BRONX            NY    10470‐1705
MARY S ALEXANDER                                   3716 71ST E TE TE                                                                             SARASOTA         FL    34243‐5164
MARY S ASHBY                                       151 STILES RD                                                                                 PADUCAH          KY    42003‐9438
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Name                                             Address1                               Address2             Address3          Address4          City            State Zip

MARY S ATKINSON                                  209 W RILEY RD                                                                                  NEW CASTLE      IN    47362‐1145
MARY S ATWOOD                                    40 KNIGHTWOOD LANE                                                                              HILLSBOROUGH    CA    94010‐6132
MARY S BARNHART                                  ROUTE 6                                BOX 491‐A                                                MARTINSBURG     WV    25401‐9270
MARY S BROWN                                     3720 HARLANO ST                                                                                 CORAL GABLES    FL    33134‐7195
MARY S BURNETT                                   443 BRYANT HILL RD                                                                              WOODLAND        WA    98674‐9277
MARY S BUSSING                                   5121 WEST 16TH STREET                                                                           SPEEDWAY        IN    46224‐6417
MARY S BYBEE                                     PO BOX 2025                                                                                     ANDERSON        IN    46018‐2025
MARY S CADENA & ALICE C BLANCHARD JT TEN         1505 NORTH AVE NE                                                                               GRAND RAPIDS    MI    49505‐5016
MARY S CHANDLER                                  7718 MIDDLE VALLEY RD                                                                           HIXSON          TN    37343‐1601
MARY S CHIVERS & JAMES B CHIVERS JT TEN          2192 SILVER HILL RD                                                                             STONE MTN       GA    30087‐1733
MARY S COCKRELL                                  5440 HECKATHORN RD                                                                              BROOKVILLE      OH    45309‐8304
MARY S COOPER                                    3011 S RAYMOND CIRCLE                                                                           SPOKANE         WA    99206‐3374
MARY S CRUSE                                     6737 MCGUIRE ST                                                                                 TAYLOR          MI    48180‐1593
MARY S CULP                                      134 RIEGEL RIDGE RD                                                                             JACKSON         OH    45640‐9362
MARY S CUPRIK                                    6715 WOODLEY ROAD                                                                               BALTIMORE       MD    21222‐5158
MARY S CURTIS                                    8120 ROYER AV                                                                                   CANOGA PARK     CA    91304‐3537
MARY S D'ANGELO                                  6231 TONAWANDA CREEK RD                APT 109                                                  LOCKPORT        NY    14094‐7806
MARY S DAVIDSON CUST CHARLES B DAVIDSON UGMA     35 MERRICONEAG LN                                                                               HARPSWELL       ME    04079‐3526
ME
MARY S DICKSON                                   160 WINTERS RD                                                                                  BUTLER          PA    16002‐0658
MARY S ERIE TR MARY S ERIE TRUST UA 04/11/94     13626 SAN LEANDRO AVE                                                                           YUCAIPA         CA    92399‐5430
MARY S ESFANDIARY TR MARY S ESFANDIARY           4401 SEDGWICK ST NW                                                                             WASHINGTON      DC    20016‐2713
REVOCABLE TRUST UA 10/08/98
MARY S FELDBRUEGGE & JOHN E FELDBRUEGGE JT TEN   5249 N KENT AVE                                                                                 WHITEFISH BAY   WI    53217‐5108

MARY S FENIMORE & ARTHUR H FENIMORE III JT TEN   337 SW 141ST ST                                                                                 OKLAHOMA CITY   OK    73170‐7290

MARY S FILL                                      13 KNOX PL                                                                                      BRISTOL         CT    06010‐5312
MARY S FISH                                      5616 GARRIES ROAD                                                                               ERIE            PA    16506‐4803
MARY S FOWLER TR MARY S FOWLER TRUST UA          900 S ASHLAND AVE                                                                               LA GRANGE       IL    60525‐2819
12/13/96
MARY S FREEMAN                                   2551 ASPINWALL N E                                                                              WARREN          OH    44483‐2501
MARY S GARDINER                                  1017 WAWONA RD                                                                                  DAYTON          OH    45407‐1656
MARY S HALL                                      2400 W ROANOKE ST                                                                               BROKEN ARROW    OK    74011‐1415
MARY S HARPER                                    744 JOHNSON PLANK ROAD                                                                          WARREN          OH    44481‐9326
MARY S HARRIS                                    6889 ROBIN DRIVE                                                                                CHATTANOOGA     TN    37421‐1752
MARY S HARRIS TR MARY S HARRIS FAM TRUST UA      809 MAINE ST                                                                                    PITTSBURGH      PA    15221‐4105
05/13/93
MARY S HERWECK                                   928 CLAYCREST                                                                                   SAINT CHARLES   MO    63304‐7531
MARY S HILAS                                     3093 MEADOW LANE N E                                                                            WARREN          OH    44483‐2631
MARY S HILLEGASS                                 104 WHIPPANY RD                                                                                 BARNEGAT        NJ    08005‐2807
MARY S HINES                                     17506 SALT FLAT LN                                                                              ROUND ROCK      TX    78664‐7253
MARY S HORTON                                    822 E EDGEMONT AVE                                                                              PHOENIX         AZ    85006‐1032
MARY S HUTCHINS                                  140 HICKORY HILLS DR                                                                            SPRINGBORO      OH    45066
MARY S JENKINS & MICHAEL J JENKINS JT TEN        19940 STEEL ST                                                                                  DETROIT         MI    48235‐1133
MARY S KENNEDY                                   953 SOUTH UNION RD                                                                              UNION           ME    04862‐4014
MARY S KIMMEL                                    409 TRINITY HILLS LN                                                                            LOUISVILLE      KY    40207‐2132
MARY S KIPLINGER                                 34 CLOVER DR                                                                                    CHAPEL HILL     NC    27517‐2508
MARY S KOOK                                      5216 HOAGLAND BLACKSTUB RD                                                                      CORTLAND        OH    44410‐9519
MARY S KOZLOWSKI                                 9144 HENNEPIN AVE                                                                               NIAGARA FALLS   NY    14304
MARY S LE BRON                                   3000 EARLS CT                          UNIT 1208                                                WILLIAMSBURG    VA    23185‐3873
MARY S LEADER                                    144 LEAMINGTON CIR                                                                              ROCHESTER       NY    14626‐4477
MARY S LEVER                                     122 VILLAGE PARKWAY                                                                             NORTH AUGUSTA   SC    29841‐3587
MARY S LOY                                       203 CARDINAL DRIVE                                                                              COLUMBIA        KY    42728‐1733
MARY S MAGHAME                                   4720 WILLOW CREST                                                                               TOLUCA LAKE     CA    91602‐1418
MARY S MC GUIRE                                  711 WALNUT ST                                                                                   STATE COLLEGE   PA    16801‐5244
MARY S MCDONALD                                  4060 INDEPENDENCE DR                                                                            FLINT           MI    48506‐1662
MARY S MCGAFFICK & ROGER A MCGAFFICK JT TEN      816 JORDAN SPRINGS RD                                                                           STEPHENSON      VA    22656‐1912
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Name                                            Address1                              Address2             Address3          Address4          City              State Zip

MARY S MEARS                                    20 HOLLY HILL DR                                                                               SMYRNA            DE    19977‐2704
MARY S MERSELIS CUST JEFFREY S MERSELIS UGMA MA 615 MASSACHUSETTS AVE #2                                                                       BOSTON            MA    02118‐1808

MARY S MERSELIS CUST JOHN G MERSELIS III UGMA MA 111 SLOAN RD                                                                                  WILLIAMSTOWN      MA    01267

MARY S MERSELIS CUST MARTHA JANE MERSELIS UGMA 4802 DOVER COURT                                                                                BETHESDA          MD    20816‐1773
MA
MARY S MESALOURIS                              9295 HILLVIEW NE                                                                                WARREN            OH    44484‐1108
MARY S MIHALKO TR UNDER THE DECLARATION OF     6742 DACOSTA ST                                                                                 DEARBORN HTS      MI    48127‐2534
TRUST 05/21/92
MARY S MILLER                                  14623 THORNLAKE AVE                                                                             NORWALK           CA    90650
MARY S MONTFORT                                PO BOX 225                                                                                      SHUSHAN           NY    12873‐0225
MARY S MORIER                                  130 NAUBUC AVE                                                                                  EAST HARTFORD     CT    06118‐3137
MARY S MORROW                                  22406 E RIVER RD                                                                                HARRIETTA         MI    49638‐9614
MARY S MULLIGAN TR MARY SULLIVAN REVOCABLE     4880 VALLEY VISTA CIR                                                                           TROY              MI    48098‐4118
TRUST UA 06/25/99
MARY S NALBONE                                 140 MILLER ST                                                                                   TRENTON           NJ    08638‐4130
MARY S NEWMAN‐JARRELL CUST GENEVIEVE FAIRFAX   3101 RIVIERA DRIVE                                                                              CONYERS           GA    30012‐2759
JARRELL UTMA GA
MARY S NEWMAN‐JARRELL CUST JACOB DENNISTON     3101 RIVIERA DRIVE                                                                              CONYERS           GA    30012‐2759
JARRELL UTMA GA
MARY S OBRIEN                                  9 FREEMAN STREET                       SCARBOROUGH ON                         M1N 2B7 CANADA
MARY S PEROTTI                                 665 E GARFIELD                                                                                  HAZEL PARK        MI    48030‐1202
MARY S PETSKO & JOHN PETSKO JT TEN             122 WILSON RD                                                                                   BLACKWOOD         NJ    08012‐1475
MARY S PIPER                                   74 BROWNSTONE RDG                                                                               MERIDEN           CT    06451‐3622
MARY S POWER                                   2315 LALEMANT RD                                                                                UNIVERSITY HTS    OH    44118‐4503
MARY S PULLEYN                                 55 FREESE RD                                                                                    ITHACA            NY    14850‐9101
MARY S REHRIG                                  6553 VIA LORENZO                                                                                RANCHO PALOS      CA    90275‐6571
                                                                                                                                               VERDE
MARY S RICH                                     GENERAL DELIVERY                                                                               HENDERSON         NV    89015‐9999
MARY S RIORDAN                                  26396 W BERTZ RD                                                                               MORAN             MI    49760‐9801
MARY S RIVENBARK TR MARY S RIVENBARK TRUST UA   8540 SW 116TH ST                                                                               MIAMI             FL    33156‐4347
05/04/94
MARY S RODZINKA                                 22 HOMER PLACE                                                                                 METUCHEN          NJ    08840‐2007
MARY S ROGERS                                   1236 PENINSULA DRIVE                                                                           TRAVERSE CITY     MI    49686‐2857
MARY S SANDS EX EST BILLY W SANDS               7625 DEAVER DRIVE                                                                              N RICHLND HLS     TX    76180
MARY S SCHAUFFELE                               7442 WALNUT AVE                                                                                PENNSAUKEN        NJ    08109‐3077
MARY S SCHLEGEL                                 414 WILTSHIRE DR                                                                               BELLEFONTE        PA    16823
MARY S SHAUGHNESSY                              8 KOHLHEPP AVE                                                                                 MILLTOWN          NJ    08850‐1414
MARY S SHEIPLINE                                2458 ISLANDVIEW DR                                                                             WEST BLOOMFIELD   MI    48324‐1440

MARY S SMITH                                    3517 IDLE CREEK DR                                                                             DECATUR           GA    30034‐4948
MARY S STEWART                                  40 SARATOGA DR PENNWOOD                                                                        NEW CASTLE        DE    19720‐4232
MARY S STIRK                                    15522 MILLION DOLLAR HIGHWAY                                                                   ALBION            NY    14411
MARY S SUNBY TR SUNBY TRUST UA 06/18/93         7909 W LORRAINE PL                                                                             MILWAUKEE         WI    53222‐4936
MARY S TATUM                                    3880 E CALLA RD                                                                                POLAND            OH    44514‐3016
MARY S TEEPLES                                  1633 WILD CHERRY LN                                                                            LAPEER            MI    48446‐8714
MARY S TEGELS                                   ROUTE 4 12830 CHIPPEWA DR                                                                      GRAND LEDGE       MI    48837‐8997
MARY S TRONO                                    281 FARMCLIFF                                                                                  GLASTONBURY       CT    06033‐4185
MARY S VAN HEES                                 728 SE STYPMANN BLVD                                                                           STUART            FL    34994‐2326
MARY S WABLE                                    8124 N 50 W                                                                                    FORTVILLE         IN    46040
MARY S WAGNER                                   PO BOX 15493                                                                                   SYRACUSE          NY    13215‐0493
MARY S WILSON & HOWARD B WILSON JT TEN          429 VISTA SUERTE                                                                               NEWPORT BEACH     CA    92660‐3518
MARY S WYSE                                     1115 MORELLO AVE                                                                               MARTINEZ          CA    94553‐4708
MARY S YOUNG                                    1305 GIDDINGS RD                                                                               PONTIAC           MI    48340
MARY S ZAMPEDRO                                 397 WILLARD AVE S E                                                                            WARREN            OH    44483‐6237
MARY SAGE DUGHI                                 26 APPLETREE RD                                                                                FLEMINGTON        NJ    08822‐7169
MARY SALMON CUST PAUL SALMON UGMA NY            48 DUNBRIDGE HEIGHTS                                                                           FAIRPORT          NY    14450‐3330
MARY SALVATORE                                  458 WILER RD                                                                                   HILTON            NY    14468‐9111
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Name                                           Address1                            Address2             Address3          Address4          City               State Zip

MARY SANDOVAL                                   3248 N PITTSBURGH AVE                                                                       CHICAGO            IL    60634‐2828
MARY SANDRA BUTAUD                              119 VAN BUREN ST                                                                            BREAUX BRIDGE      LA    70517‐5123
MARY SANDRA HEISS                               13266 FOX RIDGE CT                                                                          GRAND HAVEN        MI    49417‐9489
MARY SAUER                                      422 JAMAICA BLVD                                                                            TOMS RIVER         NJ    08757‐4225
MARY SAVAGE                                     117 SPRUCE LN                                                                               BOYERTOWN          PA    19512‐7527
MARY SAWCHYN ROBINSON TR WALTER SAWCHYN         8810 FARLEY                                                                                 REDFORD            MI    48239‐1720
TRUST UA 12/09/00
MARY SAWICKI & VICTOR SAWICKI JR & WALTER       3592 BARBARA DR                                                                             STERLING HEIGHTS   MI    48310‐6102
SAWICKI JT TEN
MARY SCHABER & DEAN SCHABER JT TEN              230 SYRACUSE AVE                                                                            WENONAH            NJ    08090‐1048
MARY SCHAEFGEN HEBERLING                        403 SMYRNA AVE                                                                              WILMINGTON         DE    19809‐1117
MARY SCHMERFELD GRUSLER                         ATTN MARY L SCHMERFELD SCHULER     138 W FLAGSTONE DR                                       NEWARK             DE    19702‐3647
MARY SCHNEIDER & FRANK A SCHNEIDER JT TEN       10225 SPRINGKNOB CT                                                                         CINCINNATI         OH    45251‐1705
MARY SCHNIERS                                   3992 LOCH                                                                                   HIGHLAND           MI    48357‐2232
MARY SCHUETTLER TR MARY SCHUETTLER LIVING TRUST PO BOX 38                                                                                   LORIDA             FL    33857‐0038
UA 06/06/96
MARY SCOTT CARRUTH MOSELY                       ARGENT TRUST                       305 S VIENNA                                             RUSTON           LA      71270
MARY SCOTT MOSELY BLAKE                         3710 HYCLIFFE AVE                                                                           LOUISVILLE       KY      40207‐3757
MARY SEKULICH                                   74 MASON AVE                                                                                DELAWARE         OH      43015‐1235
MARY SEROSKI CARPENTER                          325 E PACES FERRY NE RD 1211                                                                ATLANTA          GA      30305‐5705
MARY SHAKER                                     68 VANDERBURGH AVE                                                                          RUTHERFORD       NJ      07070‐1040
MARY SHANKLE TR MARY SHANKLE TRUST UA 06/03/93 30342 WICKLOW                                                                                FARMINGTON HILLS MI      48334‐4768

MARY SHANKS                                    1342 JAMES ST                       #2                                                       BURTON             MI    48529‐1229
MARY SHANNAN MC NAIR GARLAND                   3611 AYNSLEY DR                                                                              ROCHESTER          MI    48306‐3779
MARY SHANNON                                   PO BOX 393                                                                                   TRENTON            NJ    08603‐0393
MARY SHEILA VONKERCZEK                         350 BROADVIEW LANE                                                                           ANNAPOLIS          MD    21401‐7240
MARY SHELEMBA                                  9416 NAGLE AVE                                                                               ARLETA             CA    91331‐5913
MARY SHEPHERD & MARILYN PIERCE JT TEN          7550 BISCAYNE BLVD                                                                           PARMA              OH    44134‐6602
MARY SHEPHERD & RONALD SHEPHERD JT TEN         7550 BISCAYNE BLVD                                                                           PARMA              OH    44134‐6602
MARY SHEPHERD & SANDRA WENDZICK JT TEN         7550 BISCAYNE                                                                                PARMA              OH    44134‐6602
MARY SHOEMAKER PINE                            260 FRIENDSHIP CT                                                                            ANDERSON           IN    46013‐1091
MARY SHOVLIN                                   23438 JEFFERSON AVE                                                                          ST CLR SHORES      MI    48080
MARY SHROYER                                   307 EAST LAWRENCE STREET                                                                     MIDDLEBURY         IN    46540‐8427
MARY SHUKIE & JOHN C SHUKIE JT TEN             56 LOSTBROOK ROAD                                                                            WEST HARTFORD      CT    06117‐1928
MARY SHUMAKER                                  10626 COOPERSFIELD RD                                                                        CHELSEA            MI    48118‐9430
MARY SHURLEY                                   C/O MARY HERSHEY                    523 MAIN ST          APT D2                              GRAFTON            OH    44044‐1345
MARY SICKINGER                                 13114 WEST ESSEX LANE                                                                        HUNTLEY            IL    60142‐7705
MARY SIEGEL                                    7 OAKWOOD DRIVE                                                                              WOODCLIFF LAKE     NJ    07677‐7818
MARY SILPE                                     2638 GATELY DR E #72                                                                         WEST PALM BEACH    FL    33415‐7985

MARY SILVEY GREER                               512 W BROADWAY ST                                                                           ALEXANDRIA         IN    46001‐1719
MARY SINKEWICH                                  7510 STATE RD                                                                               WADSWORTH          OH    44281‐9794
MARY SLOAN JONNSEN CUST ROLF GEORG‐SLOAN        21 ANN STREET B55                                                                           NORWALK            CT    06854‐2292
JOHNSEN UGMA AZ
MARY SMICZ & BARBARA KUSMIERZ JT TEN            314 SOUTH VAN BUREN                                                                         BAY CITY           MI    48708
MARY SMITH TAYLOR                               111 ENSMINGER RD                                                                            TONAWANDA          NY    14150‐6719
MARY SMITH TOWNSEND                             2321 BUTTERNUT CT                                                                           KISSIMMEE          FL    34744‐2802
MARY SNODOFSKY                                  117 COLLINGSBROOK BLVD             SCARBOROUGH ON                         M1W 1M6 CANADA
MARY SOLTIS                                     46 BRENTLEY DRIVE                                                                           HUNTINGTON         CT    06484‐2502
MARY SORTMAN KRUISE LAWRENCE A KRUISE & LINDA S 992 LORNABERRY LANE                                                                         COLUMBUS           OH    43213‐3328
KRUISE JT TEN
MARY SOURES                                     97 ANYTRELL DRIVE                                                                           WEBSTER            NY    14580‐2412
MARY SOUTHERN                                   2147 RIVERBROOK ROAD                                                                        DECATUR            GA    30035‐2922
MARY SPADARO                                    302 EASTON AVE                                                                              NEW BRUNSWICK      NJ    08901‐1729
MARY SPARACINO & GEORGE SPARACINO JT TEN        1973 OAKDALE NW                                                                             WARREN             OH    44485‐1435
MARY SPERBECK                                   23 LINDEN AVENUE                                                                            MARLTON            NJ    08053‐5600
MARY SPILTENER                                  35640 WOODVILLA DR                                                                          STERLING HEIGHTS   MI    48312‐4461
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Name                                            Address1                               Address2             Address3          Address4          City             State Zip

MARY SPRIGG                                     197 RICHFIELD RD                                                                                BUFFALO          NY    14221
MARY STAMPER                                    307 CENTRAL AVE                                                                                 BATESVILLE       IN    47006‐8971
MARY STELLA GODIC                               10147 HILLTOP CT                                                                                CHAMPLIN         MN    55316‐2647
MARY STERPIN                                    11431 AVENUE J                                                                                  CHICAGO          IL    60617‐7464
MARY STEVANOFF                                  S 3650 GRAFTON AVE                                                                              BLASDELL         NY    14219‐2452
MARY STEWART ANDERSON                           2566 RIDGEMORE ROAD NW                                                                          ATLANTA          GA    30318‐1442
MARY STINSON MC MILLAN CUST JOSHUA MICHAEL      PO BOX 20853                                                                                    LAS VEGAS        NV    89112
LAMERS UGMA TX
MARY STOJIC                                     27259 DOVER                                                                                     WARREN           MI    48088‐6663
MARY STOKLOSA                                   22161 LANCREST CT                                                                               FARMINGTON HILLS MI    48335‐5806

MARY STONE GRIGSBY                              809 NE 7TH ST                                                                                   SUMMERDALE       AL    36580‐3604
MARY STUART B REICHARD                          2425 CHEROKEE PARKWAY                                                                           LOUISVILLE       KY    40204‐2216
MARY STUBBS DAVIS                               114 CARLISLE SE                                                                                 ALBUQUERQUE      NM    87106
MARY STURDIK                                    816 E PRINCETON AVE                                                                             PALMERTON        PA    18071‐1413
MARY SUCHAN                                     6 GRANDVIEW AVE                                                                                 TONAWANDA        NY    14223‐3037
MARY SUE FOSTER                                 311 E HAWKINS PKWY                     APT 104                                                  LONGVIEW         TX    75605‐7947
MARY SUE FRANCE                                 244 OLD ENGLISH DR                                                                              ROCHESTER        NY    14616‐1962
MARY SUE GABORIK                                1370 CORAL PLACE                                                                                HAMPTON          VA    23669‐5221
MARY SUE HARTLEY                                1010 EDWARDIAN WAY S W                                                                          CULLMAN          AL    35055‐4840
MARY SUE HUNTER & MARY ELIZABETH MC CANN JT     302 MOLLY STARK TRL                                                                             LYNCHBURG        VA    24503‐3141
TEN
MARY SUE JACKSON                                170 SPRUCE CT                                                                                   WINCHESTER       KY    40391‐1224
MARY SUE JOHNS & EDWARD M JOHNS JT TEN          325 S 16TH ST                                                                                   RICHMOND         IN    47374‐6408
MARY SUE STEVENS                                4657 WOODLAWN ST                                                                                WICHITA FALLS    TX    76308‐3322
MARY SUE STOUDER                                ATTN MARY SUE MARINO                   5091 WAH‐TA‐WAH                                          CLARKSTON        MI    48348‐3392
MARY SUE WARD & ROBERT VINCENT WARD JT TEN      3861 BLUE RIDGE BLVD                                                                            INDEPENDENCE     MO    64052‐2351

MARY SUE WARD & SCOTT B WARD JT TEN             602 E SILVER LAKE CT                                                                            LINDEN           MI    48451‐9070
MARY SULLIVAN                                   9324 WALTERS WOODS LANE                                                                         GERMANTOWN       TN    38139‐6845
MARY SUSAN DE LA VEGA & JORGE M DE LA VEGA JT   16373 NW 13TH ST                                                                                PEMBROKE PINES   FL    33028‐1309
TEN
MARY SUSAN JOHNSON                              336 THARP DR                                                                                    MORAGA           CA    94556‐2527
MARY SUSAN KELLY                                1725 PORT PL                           APT 105                                                  RESTON           VA    20194‐4408
MARY SUSAN MORRIS                               1018 CATON DR                                                                                   VIRGINIA BEACH   VA    23454‐3140
MARY SUSAN PENNEBAKER                           PO BOX 667                                                                                      MAXWELL          CA    95955‐0667
MARY SUSAN PHELAN                               9714 CARRIAGE RD                                                                                KENSINGTON       MD    20895‐3650
MARY SUSAN PHELAN‐GRAYSON                       9714 CARRIAGE RD                                                                                KENSINGTON       MD    20895‐3650
MARY SUZANNE ALLEN                              4029 STAMFORD DR                                                                                MUSKEGON         MI    49441‐5037
MARY SUZANNE OLSON                              1279 MARLBORO CT                                                                                CONCORD          CA    94521‐3407
MARY SWAIN SABO                                 5305 EDMONDSON AVE                                                                              DALLAS           TX    75209‐5903
MARY SWANSON                                    3414 CHUKAR PLACE                                                                               WOODSTOCK        IL    60098‐7643
MARY SWEENEY                                    AUGHRIM                                MOYVANE LISTOWEL     CO KERRY          IRELAND
MARY SZCZESNIAK                                 46 VERN LANE                                                                                    CHEEKTOWAGA      NY    14227‐1340
MARY T AHRENS                                   9710 W ROUTE 72                                                                                 FORRESTON        IL    61030
MARY T ASBRAND                                  12 CORAL DRIVE                                                                                  TRENTON          NJ    08619‐1514
MARY T BARTKO                                   9625 NELSON AVE                                                                                 CLEVELAND        OH    44105‐4043
MARY T BENSON & KEVIN E BENSON JT TEN           24 SEWICKLEY AVE                                                                                HERMINIE         PA    15637‐1512
MARY T BRODWOLF                                 1031 CHASE AVE                                                                                  HAMILTON         OH    45015‐1818
MARY T BULANDA & ANNE B MC CULLOCH JT TEN       1577 HUNTINGTON BLVD                                                                            GROSSE POINTE    MI    48236‐2532
                                                                                                                                                WOOD
MARY T BULANDA & CATHERINE D BULANDA JT TEN     1577 HUNTINGTON BLVD                                                                            GROSSE POINTE    MI    48236‐2532

MARY T BULANDA & MAIRE T BULANDA JT TEN         1577 HUNTINGTON BLVD                                                                            GROSSE POINTE    MI    48236‐2532
                                                                                                                                                WOOD
MARY T BUNDY                                    158 GREENBANK RD                                                                                FREDERCKSBURG    VA    22406‐6233
MARY T C CRUTCHFIELD                            2593 BUENA VISTA WAY                                                                            BERKELEY         CA    94708‐1951
MARY T CAINE                                    35 PORTER AVE                          STE 2C                                                   NAUGATUCK        CT    06770‐1973
MARY T CARVALHO                                 4700 NORTH MAIN ST 2K                                                                           FALL RIVER       MA    02720‐2071
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MARY T CHAPMAN                                    217 GENESEE ST                                                                                  LOCKPORT           NY    14094‐4505
MARY T CICCIARELLI                                4213 JOHSON RD                                                                                  LOCKPORT           NY    14094‐1247
MARY T CIRACI CUST MICHAEL J CIRACI UGMA MI       2448 LANERGAN DR                                                                                TROY               MI    48084‐1162
MARY T CLEARY                                     2453 FIFTH AVE                                                                                  YOUNGSTOWN         OH    44505‐2223
MARY T COCAINE                                    12 DENNISON RD                                                                                  WORCESTER          MA    01609‐1222
MARY T COLLINS                                    3593 BEATRICE DR                                                                                FRANKLIN           OH    45005‐9626
MARY T COVELLA                                    6547 CROSSWOODS CIR                                                                             CITRIS HTS         CA    95621‐4306
MARY T COX TR MARY T COX SURVIVOR'S TRUST UA      4611 POE AVE                                                                                    WOODLAND HILLS     CA    91364‐4655
10/22/95
MARY T CROSS & EARL S CROSS JT TEN                13025 SW FOREST GLEN CT                                                                         BEAVERTON          OR    97008
MARY T DALEY                                      508 QUARTER ST                                                                                  ROCHESTER          MI    48307‐2649
MARY T DEL PUP TR MARY T DEL PUP TRUST UA         3832 LAWSON DR                                                                                  TROY               MI    48084‐1765
06/16/05
MARY T DEVINCENZI TR DEVINCENZI LIVING TRUST UA   2669 LINDENTREE LN                                                                              SANTA CLARA        CA    95051‐6232
09/08/99
MARY T DEVONEY                                    1255 EUCLID CT                                                                                  BUFFALO GROVE  IL        60089‐6812
MARY T DOLAN                                      105 DERMODY RD                                                                                  CANAAN         NY        12029‐1906
MARY T DOLAN                                      1111 MC CANNONS CHURCH ROAD                                                                     WILMINGTON     DE        19808‐2128
MARY T DZIADZIAK                                  7175 BUCKINGHAM AVE                                                                             ALLEN PARK     MI        48101‐2229
MARY T ELKINS                                     PO BOX 728                                                                                      WAYNESBORO     VA        22980‐0536
MARY T ERDMAN                                     4337 DIXON DR                                                                                   SWARTZ CREEK   MI        48473‐8222
MARY T EVANS                                      507 16 TH ST                                                                                    GOLDEN         CO        80401‐1935
MARY T FERRARO                                    1205 STANFORD CT                                                                                CORAOPOLIS     PA        15108‐4009
MARY T FLOOD                                      108 HUNT CLUB LN                                                                                NEWTOWN SQUARE PA        19073‐3412

MARY T GOFFIGAN                                   9803 AUTUMN VALLEY                                                                              CONVERSE           TX    78109‐4612
MARY T HEITMANN                                   1215 BURLINGTON                                                                                 MENDOTA            IL    61342‐1505
MARY T HICKEY                                     ATTN MARY T BOWEN                      347 MOUNTAIN RD                                          JEFFERSON VALLEY   NY    10535‐1313

MARY T HUZZAR                                     W 10881 OAK ST                                                                                  NEW LONDON         WI    54961‐9617
MARY T JANIK                                      75 CRESTHAVEN DR                                                                                BUFFALO            NY    14225‐1119
MARY T KARNES & GILBERT A KARNES TR MARY T        1112 SUMMIT HILLS LANE                                                                          NAPERVILLE         IL    60563‐2243
KARNES TRUST UA 06/04/98
MARY T KNATZ & RICHARD T KNATZ JT TEN             3685 HICKORY PARK DRIVE                                                                         TITUSVILLE         FL    32780‐5191
MARY T LAMONTAGNE                                 17835 TELEGRAPH RD                     APT E                                                    ROMULUS            MI    48174
MARY T LANE & DENNIS S LANE JT TEN                PO BOX 52                                                                                       N SCITUATE         MA    02060
MARY T LERMA                                      831 MORRIS AVE                                                                                  LANSING            MI    48917‐2326
MARY T LERNER                                     4372 NORTH ALPINE AVE                                                                           SHOREWOOD          WI    53211‐1411
MARY T LOCK                                       1296 KAPIOLANI BLVD APT 1707                                                                    HONOLULU           HI    96814‐2896
MARY T LOSSIA                                     19961 HICKORY LEAF LANE                                                                         SOUTHFIELD         MI    48076‐1758
MARY T MARTINEZ                                   24341 CHRISTIAN DR                                                                              BROWNSTOWN         MI    48134‐9110
MARY T MARZONIE                                   6091 BELLINGHAM CT                                                                              BURTON             MI    48519‐1613
MARY T MC MULLEN                                  7617 W 158TH CT                                                                                 ORLAND PARK        IL    60462‐5070
MARY T MCCARTHY                                   37316 VARGO AVE                                                                                 LIVONIA            MI    48152‐2784
MARY T MCCUTCHEN                                  40 SULLIVAN ST                                                                                  CAZENOVIA          NY    13035‐1046
MARY T MEYERS                                     298 MURRAY ST                                                                                   MERIDEN            CT    06450‐4439
MARY T MILKE & DEBORAH LEE FLATTINGER JT TEN      316 SHELLBOURNE DR                                                                              ROCHESTER HILLS    MI    48309‐1158

MARY T MULLEN                                  20 SENECA RD                                                                                       FT LAUDERDALE      FL    33308‐2303
MARY T MUNNO                                   202 KAYWOOD DRIVE                                                                                  ROCHESTER          NY    14626‐3767
MARY T ONEILL                                  1404 MOURFIELD ROAD                                                                                KNOXVILLE          TN    37922‐5937
MARY T PETERSON TR MARY THOMAS PETERSON LIVING 2830 CASE WAY                                                                                      TURLOCK            CA    95382‐1208
TRUST UA 09/10/05
MARY T PULLMAN                                 1109 COUNTRY DR                                                                                    SHOREWOOD          IL    60431‐9647
MARY T REIMER                                  37439 HUNTERS RIDGE                                                                                SOLON              OH    44139
MARY T SCHOBER CUST AMANDA M SCHOBER UTMA AK 4481 S BUFFALO ST                           13                                                       ORCHARD PARK       NY    14127

MARY T SERDOZ                                     945 E 224 STREET                                                                                EUCLID             OH    44123‐3305
MARY T SEVO                                       4451 CROSS CREEK BLVD                                                                           BURTON             MI    48509‐1402
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MARY T SKURATOWICZ & PETER J SKURATOWICZ JT TEN 9144 KOPPING LN                                                                                   HICKORY HILLS      IL    60456

MARY T SMITH                                     74 E JAMES CT                                                                                    MILLSBORO          DE    19966‐7005
MARY T SPATH                                     215 BALLARD AVE                                                                                  BALTIMORE          MD    21220‐3632
MARY T SPRECHINI & EDWARD M SPRECHINI &          154 PASSAIC AVENUE                                                                               BELLEVILLE         NJ    07109‐1958
JULIANNE RAUCO JT TEN
MARY T SWIFT                                     2159 46TH ST                                                                                     ASTORIA            NY    11105‐1333
MARY T VICKERS                                   6203 TREVA ST                                                                                    FINLEYVILLE        PA    15332‐1027
MARY T WALSH                                     147 WALNUT AVE                                                                                   BOGOTA             NJ    07603‐1603
MARY T WALTERS                                   75 S PROSPECT ST                                                                                 NANTICOKE          PA    18634‐2319
MARY TACCINO                                     269 ROYCROFT AVE                                                                                 PITTSBURGH         PA    15234‐1244
MARY TAPPE WERNER                                19539 DESMET PLACE                                                                               GAITHERSBURG       MD    20886‐3908
MARY TARANTILES                                  5205 FELLOWSHIP RD                                                                               BASKING RIDGE      NJ    07920‐3908
MARY TARTAGLIA & MICHELLE TARTAGLIA JT TEN       7408 VERONA                                                                                      WEST BLOOMFIELD    MI    48322‐3316

MARY TATUM                                       3171 BELL SOUTH                                                                                  CORTLAND           OH    44410‐9408
MARY TAYLOR DE VANEY                             1 HOLBROOK COURT                                                                                 ROCKPORT           MA    01966‐1423
MARY TELYCHAN & BARBARA TELYCHAN JT TEN          133 HARDING AVE                                                                                  EDISON             NJ    08820‐2526
MARY TERBUSKA OLINIK                             65 MEYERHILL CIR W                                                                               ROCHESTER          NY    14617‐5113
MARY TERESA MAYER CUST ELIZABETH ANN MAYER       964 WORTHINGTON RD                                                                               BIRMINGHAM         MI    48009‐3089
UGMA MI
MARY TERESA MAYER CUST MICHAEL MAYER UGMA MI     22531 FIDDLERS COVE RD                                                                           BEVERLY HILLS      MI    48025‐3603

MARY TERESA MAYER CUST STEVEN MAYER UGMA MI      32082 WESTON                                                                                     BEVERLY HILLS      MI    48025‐3935

MARY TERESA MAYER CUST TIMOTHY MAYER UGMA MI 3390 MORNINGVIEW TER                                                                                 BLOOMFIELD HILLS   MI    48301‐2472

MARY TESSLER & JOANNE H THOMAS JT TEN            4465 ORKNEY DRIVE                                                                                FLINT              MI    48507‐3445
MARY THERESA ACCARDO & CARL V ACCARDO JT TEN     3165 26TH STREET                                                                                 PORT ARTHUR        TX    77642‐5332

MARY THERESA ACCARDO & JOSEPH A ACCARDO JT TEN 3165 26TH STREET                                                                                   PORT ARTHUR        TX    77642‐5332

MARY THERESA KAZIMIR                             150 PULIS AVE                                                                                    FRANKLIN LKS       NJ    07417
MARY THERESA MOTTA                               5 SARANAC RD                                                                                     FORT LAUDERDALE    FL    33308‐2910

MARY THERESA SHEEHAN                             76 VANDALIA ST                                                                                   BUFFALO            NY    14204‐2703
MARY THERESE CAVANAGH                            3486 MOYER RD                                                                                    WILLIAMSTON        MI    48895‐9566
MARY THERESE COYNE                               24550 SURREY CIRCLE                                                                              WESTLAKE           OH    44145‐4954
MARY THOMAS YATES                                4015 ABERDEEN RD                                                                                 NASHVILLE          TN    37205‐1805
MARY THOMASON & CAROL ANN THOMASON &             17804 BESSEMER ST                                                                                ENCINO             CA    91316‐7211
STEPHEN JAMES THOMASON JT TEN
MARY THRESA SLONCZKA                             225 S STEPHANIE ST                      UNIT 512                                                 HENDERSON          NV    89012‐4416
MARY TIERNEY RAFFERTY                            PO BOX 164                                                                                       AURORA             NY    13026‐0164
MARY TIETJEN CUST CHRISTINE TIETJEN UGMA NY      CARPENTER RD BOX 398                                                                             CHESTER            NY    10918‐0398
MARY TOBEY                                       8943 BIRKHILL DR                                                                                 STERLING HEIGHTS   MI    48314‐2507

MARY TOBIN BRENNAN                               33376 FOX ROAD                                                                                   EASTON             MD    21601‐6740
MARY TOBY TOMLIN                                 12682 FOOTMAN LANE                                                                               POWAY              CA    92064‐2031
MARY TOCCO & EMMA TOCCO‐KETTUNEN JT TEN          9138 RIDGEFIELD DRIVE                                                                            BRIGHTON           MI    48114‐4982
MARY TODD BARTLETT                               1237 28TH ST NW                                                                                  WASH               DC    20007‐3354
MARY TOMC                                        GATEWAY MANOR                           4 GATEWAY DR         APT 117                             EUCLID             OH    44119‐2400
MARY TOMC & WILLIAM M TOMC JT TEN                4 GATEWAY APT 117                                                                                CLEVELAND          OH    44119‐2400
MARY TOPPING DUCEY & JOHN PATRICK DUCEY JT TEN   2407 PINEWOODS CIR                                                                               NAPLES             FL    34105‐2537

MARY TORBICK                                     85165 STATE HIGHWAY 13                                                                           BAYFIELD           WI    54814‐4665
MARY TOTH                                        15245 COLLEGE                                                                                    ALLEN PARK         MI    48101‐3042
MARY TOWNSEND‐PITT                               40 DAFFODIL HILL RD                                                                              GARRISON           NY    10524
MARY TRUNER                                      6164 HAMILTON RICHMOND RD                                                                        SOMERVILLE         OH    45064‐9711
MARY TRUSSELL & ROBERT W TRUSSELL JT TEN         12445 MARLA DRIVE                                                                                WARREN             MI    48093‐7616
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MARY TRZONKOWSKI                                 2016 MICHIGAN ST                                                                               TOLEDO            OH    43611‐3721
MARY TUCKER & COLUMBUS TUCKER JR JT TEN          516 COUNTY RD #469                                                                             CULLMAN           AL    35057
MARY TURNER MCINTOSH                             121 STONEQUARRY RD                                                                             VANDALIA          OH    45377‐9510
MARY TURRENTINE FARLEY                           6720 PENTRIDGE DRIVE                                                                           PLANO             TX    75024
MARY TWYFORD ANDERSON                            C/O CAROLINE WEAVER                   1509 BOWMAN DR                                           GREENFIELD        IN    46140‐2516
MARY TYLER & WILLIAM JOHNSON JT TEN              816 SIMONEAU                                                                                   SAGINAW           MI    48601
MARY TYRE HUME & NATALIE TYRE BARB JT TEN        116 SOUTHVIEW DR                                                                               ELKINS            WV    26241‐3232
MARY U GENDRON                                   2424 E SPEEDWAY BLVD                                                                           TUCSON            AZ    85719‐4734
MARY URQUHART                                    21719 OLMSTEAD                                                                                 DEARBORN          MI    48124‐3055
MARY V ASHTENEAU                                 5925 SANDHURST ST                     APT 101                                                  CANTON            MI    48187‐4566
MARY V BRENNAN                                   883 SOUTHERN DR                                                                                FRANKLIN SQUARE   NY    11010‐1019

MARY V COSGROVE                                  213 WATERSIDE CLOSE                                                                            PEEKSKILL         NY    10566
MARY V COUNTS                                    404 WISLER                                                                                     DAVISON           MI    48423‐3006
MARY V COX                                       2377 FORSYTH CT                       APT A                                                    WINSTON SALEM     NC    27103‐1921
MARY V DIVER TR MARY V DIVER LIVING TRUST UA     424 TERROTORIAL ST                                                                             MANCHESTER        MI    48158‐8669
7/28/98
MARY V DOYLE TR DOYLE FAMILY TRUST UA 08/24/90   7610 CAPE CHARLES DR                                                                           RALEIGH           NC    27617

MARY V DUPRAY TR MARY V DUPRAY TRUST UA 2/2/99 38690 LAKESHORE DR                                                                               HARRISON TWP      MI    48045‐2869

MARY V EVANS & MORRIS R EVANS JT TEN             5412 TOWNHALL RD                                                                               BEAVERTON         MI    48612‐9799
MARY V GABER TR MARY V GABER TRUST UA 06/15/87   1028 TARENTO DR                                                                                SAN DIEGO         CA    92107‐4113

MARY V HARPER & RAY HARPER JT TEN                1101 NW 15TH CT                                                                                FORT LAUDERDALE   FL    33311‐5459

MARY V HARRINGTON CUST WILLIAM HARRINGTON        1627 DEL OGLER                                                                                 GLENVIEW          IL    60025‐2321
UGMA IL
MARY V HERRICK                                   2814 PEAVEY ST                                                                                 PORT HURON       MI     48060‐6923
MARY V HUBER                                     1773 RESOR RD                                                                                  FAIRFIELD        OH     45014‐3753
MARY V HUNT                                      553 WELBROOK RD                                                                                BALTIMORE        MD     21221‐3410
MARY V HURT                                      1020 BETHEL ROAD                                                                               CHESAPEAKE CITY  MD     21915‐1209
MARY V KALT & JOHN S KALT JT TEN                 PO BOX 143                            6900 TUBSPRING                                           ALMONT           MI     48003‐8327
MARY V KOSKI                                     39093 KENNEDY DRIVE                                                                            FARMINGTON HILLS MI     48331‐2368

MARY V LATIMER                                   1811 WADSWORTH WAY                                                                             BALTIMORE        MD     21239‐3110
MARY V LILES                                     C/O MARY STEVENS                      8116 HOOVER LN                                           INDIANAPOLIS     IN     46260‐2887
MARY V LUTYNSKI                                  1087 ALLENDALE                                                                                 SAGINAW          MI     48603‐5404
MARY V MAHER                                     83 BELLE MEADE ST                                                                              GROSSE POINTE    MI     48236‐1552
MARY V MARTIN                                    205 SCHILLING ST                                                                               ATHENS           AL     35611‐2923
MARY V MASTROIANNI                               5108 WATERFORD WOOD WAY                                                                        FAYETTEVILLE     NY     13066
MARY V MCGOVERN & PAUL N MCGOVERN JT TEN         9060 ANDREW DR                                                                                 BRIGHTON         MI     48114‐8732
MARY V MCNALLY                                   4 DICKERMAN ROAD                                                                               NORTH EASTON     MA     02356‐1303
MARY V MIKO                                      39785 MT ELLIOT                                                                                CLINTON TOWNSHIP MI     48038‐4041

MARY V NOWINSKI & FRANK J NOWINSKI JT TEN        506 REVERE AVE                                                                                 WESTMONT          IL    60559‐1237
MARY V OAKLAND                                   ROUTE 2 BOX 92                                                                                 ZAVALLA           TX    75980‐9517
MARY V OLIMPIO                                   24 RAY PL #L1                                                                                  SCARSDALE         NY    10583‐5448
MARY V OVIATT                                    8501 LONDON‐GROVEPORT RD                                                                       GROVE CITY        OH    43123‐9765
MARY V SCHIFANO TR MARY V SCHIFANO TRUST UA      620 PERRY CREEK                                                                                GRAND BLANC       MI    48439‐1474
05/21/97
MARY V SIKORA                                    300 DWYER ST                                                                                   WEST SENECA       NY    14224‐1191
MARY V TESTA & VICTORIA M TESTA JT TEN           835 REMMOS AVENUE                                                                              UNION             NJ    07083
MARY V TONELLI                                   10 FARRINGTON AVE                                                                              SLEEPY HOLLOW     NY    10591‐1303
MARY V ZILKO                                     12 COURTNEY COURT                                                                              MERIDEN           CT    06450‐3587
MARY VALLET COUZENS TR MARY VALLET COUZENS TR    767 AVENIDA PEQUENA                                                                            SANTA BARBARA     CA    93111‐1415
UA 2/21/79
MARY VAN HEIRSEELE                               626 WASHINGTON PARK                                                                            WAUKEGAN          IL    60085‐7253
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MARY VAN NORMAN TR MARY VAN NORMAN TRUST UA 4851 LAKESHORE RD                         # 202                                                    FORT GRATIOT      MI    48059
08/30/00
MARY VAN NORMAN TR MARY VAN NORMAN TRUST UA 4851 LAKESHORE RD                         # 202                                                    FORT GRATIOT      MI    48059
08/30/00
MARY VANN JOHNSTON                          911 MOORE AVENUE                                                                                   OPP             AL      36467‐2414
MARY VANTYLE STRIEWE                        1316 E MAIN ST                                                                                     TROY            OH      45373
MARY VEAZEY MORELAND                        1100 CROWN POINT RD W                                                                              SIGNAL MOUNTAIN TN      37377‐2010

MARY VERTULLO & NATALIE VERTULLO O DONNELL JT 771 CARLOCK AVENUE                                                                               PERTH AMBOY       NJ    08861‐2303
TEN
MARY VICCIARDO                                103 LANE ST                                                                                      LINDENHURST       NY    11757‐5724
MARY VICTORIA PETERSON                        4224 SAN JUAN                                                                                    FAIRFAX           VA    22030‐5376
MARY VICTORIA WILSON                          3737 NW 24TH ST                                                                                  OKLAHOMA CITY     OK    73107‐1401
MARY VILLARREAL                               7815 W JUDDVILLE RD                                                                              ELSIE             MI    48831‐9418
MARY VIRGINIA AMEN                            3717 BENNETT AVE                                                                                 FLINT             MI    48506‐3105
MARY VIRGINIA DIFEDE                          10515 SOUTHWEST 43 TERRACE                                                                       MIAMI             FL    33165‐5603
MARY VIRGINIA FERGUSON TR MARY VIRGINIA       1570 HILLGRADE AVE                                                                               ALAMO             CA    94507‐2606
FERGUSON TRUST UA 6/13/01
MARY VIRGINIA HARTMAN                         973 OLD VILLA RIDGE RD                                                                           MOUNDS            IL    62964
MARY VIRGINIA JOHNSON & MINNIE SLOAN JOHNSON 501 V E S RD APT ALU339                                                                           LYNCHBURG         VA    24503‐4645
JT TEN
MARY VIRGINIA MORIARTY                        2529 1/2 NE 110 TH ST                                                                            SEATLE            WA    98125‐6736
MARY VIRGINIA PEGG                            729 PEGGY DR                                                                                     EATON             OH    45320‐1236
MARY VIRGINIA WOODRUM                         815 COMPTON PKWY                                                                                 MACOMB            IL    61455‐3013
MARY VIRGINIA WREN AVERY                      401 EAST ST S                                                                                    TALLADEGA         AL    35160‐2610
MARY VOSLER                                   5918 COLLINS DR                                                                                  LOCKPORT          NY    14094‐6653
MARY W ABBEY                                  BOX 2330                                                                                         AMES              IA    50010‐2330
MARY W BARTLETT                               7350 RT 609 NE                                                                                   BURGHILL          OH    44404‐9754
MARY W BREITENBACH                            2575 PEACHTREE NE RD 25D                                                                         ATLANTA           GA    30305‐3627
MARY W CHAMBERLAIN                            2434 HENN HYDE                                                                                   CORTLAND          OH    44410‐9446
MARY W CHRISTIAN                              24 FRIENDSHIP CHURCH RD                                                                          TWIN CITY         GA    30471‐3733
MARY W COOMBS                                 11086 DEEP COVE DRIVE                                                                            TEGA CAY          SC    29708‐9382
MARY W CUSICK                                 3624 MESMER AVENUE                                                                               DAYTON            OH    45410‐3441
MARY W DANIEL                                 415 RUSSELL AVE APT 114                                                                          GAITHERSBURG      MD    20877
MARY W GABRIZ                                 720 CHURCH ST                                                                                    FLINT             MI    48502‐1108
MARY W GREENE                                 866 COMMODORE DRIVE NW                                                                           ATLANTA           GA    30308
MARY W GREENWOOD                              11 MARTIN RD                                                                                     ALLISON PARK      PA    15101‐1057
MARY W HAGGLUND CUST ERIC A HAGGLUND UGMA WI 4256 LEONARD AVE                                                                                  CINCINNATI        OH    45217‐1533

MARY W HAGGLUND CUST KARL W HAGGLUND UGMA     5555 TANCHO DR                          APT 415                                                  MADISON           WI    53718‐1932
WI
MARY W HICKS & JAMES F HICKS TEN ENT          336 US 16 EAST                                                                                   BUFFALO            WY   82834‐9514
MARY W HUNTER                                 14831 LITTLEFIELD                                                                                DETROIT            MI   48227‐3655
MARY W HURTIG                                 2353 BRYN MAWR AVE                                                                               PHILADELPHIA       PA   19131‐2406
MARY W JACKSON                                3048 REVLON DR                                                                                   DAYTON             OH   45420‐1245
MARY W KAPPELER                               2599 VIENNA ESTATES DR                                                                           DAYTON             OH   45459‐1383
MARY W KERWIN & MARGARET MARY KERWIN JT TEN   22568 VAN ST                                                                                     SAINT CLAIR SHORES MI   48081‐2499

MARY W L BETTS                                111 N SCOTT DR                                                                                   FARWELL           MI    48622‐9732
MARY W LOVELL & JOHN LOVELL JT TEN            7108 CHAMBERS ROAD                                                                               BALTIMORE         MD    21234‐7513
MARY W MANNING TR MARY W MANNING TRUST UA     465 N GRANGER STREET                                                                             GRANVILLE         OH    43023‐1326
7/29/96
MARY W MARKLEY                                3535 CENTRALIA RD                                                                                SUTTON           WV     26601‐9077
MARY W MARTIN                                 4141 HIGHLANDS CIRCLE                                                                            BIRMINGHAM       AL     35213‐2800
MARY W MASON                                  89 AGRESS RD                                                                                     PERRINEVILLE     NJ     08535‐1121
MARY W MORRIS                                 217 ASHLEY OAKS DR                                                                               BLYTHEWOOD       SC     29016‐8676
MARY W PEREZ & WILLIAM Y PEREZ II JT TEN      151 CAROLINE STREET                                                                              SARATOGA SPRINGS NY     12866‐3410

MARY W RICKKERS                               32987 CHAMPMAN                                                                                   WESTLAND          MI    48185‐9419
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MARY W RODENCAL                                 520 GARFIELD                                                                                   WISCONSIN RAPIDS WI      54494‐4815

MARY W RUANE                                    4303 NE JOE'S POINT TERR                                                                       STUART             FL    34996‐1439
MARY W RUANE & RONALD R RUANE JT TEN            4303 NE JOE'S POINT TERR                                                                       STUART             FL    34996‐1439
MARY W SCOTT                                    APT 302                               9 RUXVIEW COURT                                          RUXTON             MD    21204‐6671
MARY W SCOTT                                    1308 TANEY ST                                                                                  GARY               IN    46404‐2036
MARY W SECHRIST                                 RR 1 BOX 143‐G                                                                                 MCVEYTOWN          PA    17051‐9734
MARY W SHIREMAN                                 371 MORRIS AVE NW                                                                              CORYDON            IN    47112‐2252
MARY W SOLOMON                                  5636 WAKESHIRE CT                                                                              TROTWOOD           OH    45426‐1109
MARY W STOWE                                    3010 ARTHUR RD                                                                                 SPRINGFIELD        OH    45502‐8524
MARY W VANDELENE                                5985 WALDORF PLACE #2                                                                          PORTAGE            IN    46368‐4928
MARY W WATERS                                   4450 OLD HAMILTON MILL RD             # 127                                                    BUFORD             GA    30518‐8813
MARY W WHETZEL                                  17407 LORNE ST                                                                                 NORTHRIDGE         CA    91325‐4425
MARY W WHITE                                    120 OLD PLANTATION CIR                                                                         WINSTON SALEM      NC    27104‐5420
MARY WADE                                       1330 SLICKBACK ROAD                                                                            BENTON             KY    42025‐5466
MARY WAGNER CROSSET                             6 SHELDON CLOSE                                                                                CINCINNATI         OH    45227‐4425
MARY WALKER MESSICK                             645 MOONDALE DR                                                                                EL PASO            TX    79912‐4237
MARY WALLACE SHELLY                             1015 TIMBERLAKE DR                                                                             BLOOMFIELD HILLS   MI    48302‐2848

MARY WALLER BLYMN                             3315 CENTRAL                                                                                     HOBBS              NM    88240‐1069
MARY WALLERS                                  11041 S AVENUE C                                                                                 CHICAGO            IL    60617‐6830
MARY WASHINGTON                               20048 ORLEANS                                                                                    DETROIT            MI    48203‐1390
MARY WATKINS PEW TR MARY WATKINS PEW TRUST UA 32051 AUBURN DR                                                                                  BEVERLY HILLS      MI    48025‐4230
03/11/97
MARY WATSON                                   140 8TH AVE APT 2B                      BROOKLINE                                                BROOKLYN           NY    11215
MARY WEILNAU                                  1125 MUDBROOK RD                                                                                 HURON              OH    44839‐2612
MARY WELCH                                    34415 ZACHARY CT                                                                                 CHESTERFIELD       MI    48047‐6124
MARY WELDRON                                  35627 ELLSWORTH                                                                                  STERLING HEIGHTS   MI    48312‐3726

MARY WESTBROOK                                  8060 FALLOW RUN                                                                                LARUE              TX    75770‐4981
MARY WESTERMAN CARVER                           7500 CARBURY CT 202                                                                            RALEIGH            NC    27615
MARY WHELAN                                     10300 S F PARKWAY 5R                                                                           ROCKAWAY PARK      NY    11694
MARY WHISENHUNT                                 ATTN MARY WHISENHUNT‐FOOTE            5260 MORNINGSIDE AVE                                     AUBURN             CA    95602‐9699
MARY WHITAKER                                   117 GREENHILL DRIVE                                                                            WHITE LAKE         MI    48386‐1945
MARY WHITE                                      PO BOX 132                                                                                     HAMMONDSPORT       NY    14840‐0132

MARY WILKINSON                                  36049 E W 1280                                                                                 WEWOKA             OK    74884
MARY WILKINSON                                  ATTN CHERRY                           380 RIVER RD                                             MONTGOMERY         NY    12549‐2124
MARY WILL BROWNING                              35350 COPES DR                                                                                 BELLE HAVEN        VA    23306‐1952
MARY WILLIAMS                                   2912 EAST 102 STREET                                                                           CLEVELAND          OH    44104‐4971
MARY WILLIAMS CUST TRAVIS WILLIAMS UTMA NJ      12 DRISCOLL ST                                                                                 MANVILLE           NJ    08835‐2508

MARY WILLIAMSON SHEETS                          2318 PITT ST                                                                                   ANDERSON           IN    46016‐4648
MARY WINDHAM                                    8102 E LANTZ                                                                                   DETROIT            MI    48234‐3303
MARY WOLF                                       4 GATEWAY                             APT 220                                                  CLEVELAND          OH    44119‐2453
MARY WOLFER                                     510 NORTH ST                                                                                   BRIDGEWATER        MA    02324‐1222
MARY WOOD ELLIS & DANIEL C ELLIS JT TEN         18 NE 72ND ST                                                                                  PLEASANT HILL      IA    50327
MARY WOOD PAUL & MARLENE L WOOD JT TEN          9152 NORTH STONERIDGE LANE                                                                     FRESNO             CA    93720‐1245
MARY WOODELLE RANKIN & JOHN MICHAEL RANKIN JT   11232 GARDEN                                                                                   LIVONIA            MI    48150‐3139
TEN
MARY WREN                                       6182 JOHNSON RD                                                                                FLUSHING           MI    48433‐1106
MARY WRIGHT                                     112 S MAIN ST                         STE C                                                    ANN ARBOR          MI    48104‐1953
MARY Y GUNTER                                   180 RAILROAD LANE                                                                              CENTREVILLE        AL    35042‐5778
MARY Y LIMING                                   3840 AUSTINTOWN WARREN ROAD                                                                    MINERAL RIDGE      OH    44440‐9784
MARY Y POLLACK                                  3386 JAMES STREET                                                                              HERMITAGE          PA    16148‐3517
MARY YARKA                                      9544 S LACROSSE                                                                                OAK LAWN           IL    60453‐3031
MARY YOST                                       103 BUTTONWOOD ST APT C                                                                        TRENTON            NJ    08619‐3504
MARY YVONNE JOHNSON                             2110 NW 56TH TERR                                                                              GAINESVILLE        FL    32605‐3381
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MARY Z CROSBY TOD KATHERINE M CROSBY SUBJECT TO 1144 BRADY HOLLOW LANE                                                                           CORDOVA            TN    38016‐8887
STA TOD RULES
MARY Z FELLENGER                                3520 TAMARA TRAIL                                                                                HERMITAGE          PA    16148‐6153
MARY Z GABEL                                    353 WILCOX RD #5                                                                                 YOUNGSTOWN         OH    44515‐4256
MARY Z HILL                                     2737 W WASHINGTON CENTER RD             LOT 243                                                  FORT WAYNE         IN    46818‐1492
MARY Z MIHALIC                                  9 WHITE STAG DRIVE                                                                               YARDVILLE          NJ    08620‐1311
MARY Z MILLER                                   215 HIGH STONE CIR                                                                               PITTSFORD          NY    14534‐2867
MARY ZABOWSKI & IRENE S ZABOWSKI JT TEN         29037 CLARITA                                                                                    LIVONIA            MI    48152‐3509
MARY ZANE                                       7323 BOXWOOD CT                                                                                  IRVING             TX    75063‐5515
MARY ZIMNY & JOSEPH ZIMNY JT TEN                39311 POINCIANA DRIVE                                                                            STERLING HEIGHTS   MI    48313‐4969

MARY‐ALICE C SUTTON                               8030 OAK PARK AVE                                                                              BURBANK            IL    60459‐1652
MARY‐ALICE TULLY                                  8024 DENSMORE AVE N                                                                            SEATTLE            WA    98103‐4437
MARY‐ANN HEGINBOTHAM & STEPHEN R                  PO BOX 271 FERRY STREET                                                                        EAST BRADY         PA    16028‐0271
HEIGINBOTHAM JT TEN
MARY‐ANN STINSON BURTON                           5511 DELOR                                                                                     SAINT LOUIS        MO    63109‐2804
MARY‐BETHEH WALLER                                48 SWANSON TER                                                                                 BUFFALO            NY    14221‐1330
MARY‐CLAIRE JOHNSON                               1713 ROSLYN RD                                                                                 GROSSE POINTE      MI    48236‐1012
                                                                                                                                                 WOOD
MARY‐ELLEN H MC KAY                               ATTM MARY‐ELLEN MCKAY RUSSELL         480 PARK STREET                                          WRENTHAM           MA    02093‐1031
MARY‐FRANCES GUARNIER                             7855 HOSPITAL RD                                                                               FREELAND           MI    48623‐8610
MARY‐JO M HARDY                                   C/O GABEL                             99 WHITEWOOD LANE                                        ROCHESTER          NY    14618‐3221
MARY‐LOUISE STURTEVANT HOWARD                     603 PARADISE AVE                                                                               MIDDLETOWN         RI    02842‐5730
MARY‐SEAN GARBART                                 2640 MOUNTAIN VIEW AVE                                                                         LONGMONT           CO    80503‐2309
MARY‐STELLA MARKIDES                              247 NORTHVIEW RD                                                                               CHILLICOTHE        OH    45601‐1879
MARYA E JONES                                     150 W 75TH ST                                                                                  INDIANAPOLIS       IN    46260‐3660
MARYAGNES STARR                                   43 CHEYENNE                                                                                    GIRARD             OH    44420‐3606
MARYAL DEBNAR                                     1406 GORDON AVENUE                                                                             LANSING            MI    48910‐2613
MARYALICE E MURPHY CUST PATRICK NEAL MURPHY       178 MEADBROOK RD                                                                               GARDEN CITY        NY    11530‐1209
UGMA NY
MARYALICE H ADKINS                                5404 COUNTY ROAD 15                                                                            SOUTH POINT        OH    45680‐7343
MARYALICE JOHNSTON                                3675 RIDGEWOOD DR                                                                              HILLIARD           OH    43026‐2456
MARYALICE L BERNIER & SUZANNE L LENTZ & MICHAEL   14 DONNI BROOK RUN                    SUQUAY VARINA                                            FUQUAY VARINA      NC    27526
B LENTZ JT TEN
MARYAM A MCSHEA CUST ANDREW J MCSHEA UTMA         401 SALYOR WAY SW                                                                              LEESBURG           VA    20175‐5824
VA
MARYAM FARZAD                                     100 HIGH POINT DRIVE                                                                           SPRINGFIELD        NJ    07081
MARYANN A DONOVAN‐PELUSO & ROBERT J PELUSO JT     643 EAST END AVE                                                                               PITTSBURGH         PA    15221‐3423
TEN
MARYANN A FINCH                                   209 EPWORTH AVE                                                                                WILMORE            KY    40390‐1171
MARYANN ARMSTRONG                                 36 GROVENEST DR                       SCARBOROUGH ON                         M1E 4J3 CANADA
MARYANN B BARTA & DAVID J BARTA JT TEN            2877 STONE MILLS COURT                                                                         BEAVERCREEK        OH    45434‐6278
MARYANN B DANTON                                  35 WILSON TERRACE                                                                              LIVINGSTON         NJ    07039‐2940
MARYANN B SYTEK                                   2436 CHERYLANN                                                                                 BURTON             MI    48519‐1362
MARYANN BELL                                      9 ATKINSON ST                                                                                  ROCHESTER          NY    14608‐2400
MARYANN C MOUL                                    252 ROUTE 199                                                                                  RED HOOK           NY    12571‐2383
MARYANN C SCHUMANN                                5703 WHITFIELD                                                                                 TROY               MI    48098‐5113
MARYANN C WALL                                    133 PRINCETON ST                                                                               AMSTERDAM          NY    12010
MARYANN COLBY TROTT                               1621 RICHMOND DRIVE NE                                                                         ALBUQUERQUE        NM    87106‐1831
MARYANN D'AMICO                                   5506 LASSITER OVAL                                                                             PARMA OH           OH    44129‐6355
MARYANN DELEWSKY                                  20374 MELROSE                                                                                  SOUTHFIELD         MI    48075‐5636
MARYANN DROZDOWICZ                                56153 CHESAPEAKE TR BLDG 22                                                                    SHELBY TWP         MI    48316‐5059
MARYANN E BREY                                    9652 SYLVAN LANE                                                                               MENTOR             OH    44060‐8101
MARYANN E HALLA                                   1409 SIENNA DRIVE                                                                              ARLINGTON          TX    76002‐3668
MARYANN E HALLA & LESTER F HALLA JR JT TEN        1409 SIENNA DR                                                                                 ARLINGTON          TX    76002‐3668
MARYANN E KORSAN                                  340 OLD MILL ROAD #103                                                                         SANTA BARBARA      CA    93110‐3764
MARYANN ELLIOTT                                   5401 WESTBARD AVE                     APT 309                                                  BETHESDA           MD    20816‐1485
MARYANN FANSLER                                   ATTN MARYANN SHACKELFORD              1620 W 38TH ST                                           MARION             IN    46953‐3445
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MARYANN FRANKENBERG & ROBERT A FRANKENBERG      30988 WAKEFIELD DR                                                                             SPANISH FORT      AL    36527‐5280
JT TEN
MARYANN FRITSCHLER RICHARDSON                   15607 S DENVER AVE                                                                             GARDENA           CA    90248‐2114
MARYANN GAVENDA                                 25141 85TH ST                                                                                  SALEMGO           WI    53168‐9409
MARYANN GEORGE                                  27 GLOUCESTER DR                                                                               DOWNINGTOWN       PA    19335‐1150
MARYANN GRGURICH                                282 NILES CORTLAND RD NE                                                                       WARREN            OH    44484‐1938
MARYANN HANK                                    562 MARKLE ST                                                                                  PONTIAC           MI    48340‐3021
MARYANN HELM                                    2 BROMLEY PL                                                                                   BLOOMFIELD        NJ    07003‐5306
MARYANN HUESTON                                 843 BARBARA DR                                                                                 TEANECK           NJ    07666‐5421
MARYANN IAPALUCCI & LISA MARIE SAUNDES JT TEN   513 CATHERINE ST                                                                               GREENSBURG        PA    15601‐4443

MARYANN J CAMERON                               15114 RIVERSIDE DR                                                                             LIVONIA           MI    48154‐5193
MARYANN J MAGLIOZZI                             44 SO FOXCROFT DRIVE                                                                           MANALAPAN         NJ    07726‐2746
MARYANN J NEBUS TOD MATTHEW L NEBUS SUBJECT     34 OUTLOOK AVE                                                                                 SAYREVILLE        NJ    08872
TO STA TOD RULES
MARYANN JENNINGS                                555 SUMMIT AV                                                                                  JERSEY CITY      NJ     07306‐2701
MARYANN JOHNSON                                 6900 HERBERT RD                                                                                HUGHESVILLE      MD     20637‐2515
MARYANN K SMITH                                 ATTN MARYANN K NOWAK                  26025 DRAKE                                              FARMINGTON HILLS MI     48331‐3846

MARYANN KAPINOS                                 3392 N BOSWELL TERRACE                                                                         HERNANDO          FL    34442‐4732
MARYANN KENYON                                  34227 SHERIDAN ST                                                                              WESTLAND          MI    48185‐3666
MARYANN KOPERSKI                                629‐38TH ST                                                                                    NIAGARA FALLS     NY    14301‐2614
MARYANN KOYLE                                   342 TARAS DR                                                                                   HIGHLAND          MI    48356‐2523
MARYANN KUZMA                                   S2517 FOUR ROD ROAD                                                                            EAST AURORA       NY    14052
MARYANN KUZUPAS                                 29218 RYMAL                                                                                    ROSEVILLE         MI    48066‐2226
MARYANN L COMBS                                 PO BOX 240                                                                                     SPEEDWELL         TN    37870‐0240
MARYANN L VOLPE                                 5178 STRAWBERRY LANE                                                                           WILLOUGHBY        OH    44094‐4330
MARYANN LAMBERSKI & EDWIN LAMBERSKI JT TEN      7 COULTER PLACE                                                                                ANDOUER           NJ    07821‐5817

MARYANN LEE                                     APT F                                 13696 RUETTE                                             DELMAR            CA    92014
MARYANN LOUISE FRAZIER                          PO BOX 778                                                                                     MARSTONS MILLS    MA    02648‐0778
MARYANN M FITZGERALD                            1939 SAWMILL COURT                                                                             TOMS RIVER        NJ    08755‐0908
MARYANN M HUTCHISON                             26 OLGA RD                                                                                     WILMINGTON        DE    19805‐2082
MARYANN M WEBEL                                 5862 NE 17TH RD                                                                                FORT LAUDERDALE   FL    33334‐5935

MARYANN MARESEA                               31 RIVERDALE AVE                                                                                 MASSAPEQUA        NY    11758‐7733
MARYANN MAYO                                  17847 N 17TH ST                                                                                  PHOENIX           AZ    85022‐1671
MARYANN MC CRACKEN                            8071 PINE FOREST CT                                                                              DAVISBURG         MI    48350‐2041
MARYANN OTT LEE                               1287 VUELTA OLIVOS                                                                               FREMONT           CA    94539‐5152
MARYANN PATCHOFSKY                            912 JOHNSTON AVENUE                                                                              TRENTON           NJ    08629‐1142
MARYANN PETERS TOD JASON M PETERS SUBJECT TO  5964 HAZEL                                                                                       TAYLOR            MI    48180‐1010
STA TOD RULES
MARYANN PROCTOR                               35493 OAKDALE                                                                                    LIVONIA           MI    48154‐2235
MARYANN QUINLAN                               3 HITCHING POST LN                                                                               MARLTON           NJ    08053‐1006
MARYANN RASCANO                               21916 LANGE ST                                                                                   ST CLR SHORES     MI    48080‐3945
MARYANN S MINX & CHARLES C MINX JT TEN        10917 CHERRY STREET                                                                              KANSAS CITY       MO    64131‐4013
MARYANN S TRUITT                              2312 FOX CHASE DR                                                                                HANOVER           PA    17331‐8570
MARYANN S WOJCAK & LEON WOJCAK TEN COM        21 GREENFIELD HILL RD                                                                            MONROE            CT    06468‐2007
MARYANN SIEMERS                               12 GRIER ROAD                                                                                    SOMERSET          NJ    08873‐2308
MARYANN SOUTHWELL                             12800 TOWNSEND ROAD                                                                              MILAN             MI    48160‐9118
MARYANN STIMMER CUST CHRISTINE G STIMMER UTMA 570 GRAND STREET                        APT# 1704                                                NEW YORK          NY    10002‐4355
NY
MARYANN STIMMER CUST DAVID C STIMMER UTMA NY 570 GRAND STREET                         APT# 1704                                                NEW YORK          NY    10002‐4355

MARYANN STIMMER CUST JONATHAN A STIMMER         570 GRAND STREET                      APT# 1704                                                NEW YORK          NY    10002‐4355
UTMA NY
MARYANN SWEENY                                  250 FOURTH                                                                                     JERSEY CITY       NJ    07302‐2408
MARYANN TAYLOR                                  316 W 26TH ST                                                                                  LORAIN            OH    44052‐4822
MARYANN VOUGHT & CLINTON VOUGHT JT TEN          3240 NOBLE RD                                                                                  OXFORD            MI    48370‐1504
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Name                                             Address1                              Address2             Address3          Address4          City             State Zip

MARYANN WARNKEN                                  13 CHARLOTTE STREET                                                                            GLENS FALLS      NY    12801‐2806
MARYANN WASKO                                    728 SEYMOUR ROAD                                                                               BEAR             DE    19701‐1108
MARYANN WILKINS                                  29218 RYMAL                                                                                    ROSEVILLE        MI    48066
MARYANN WILLIAMSON                               113 FAIRWAY LANE                                                                               PAWLEYS ISLAND   SC    29585‐5687
MARYANN WORNSTAFF                                4324 GORMAN AVE                                                                                ENGLEWOOD        OH    45322‐2528
MARYANN YANOVICH                                 2568 E RIVER RD                                                                                NEWTON FALLS     OH    44444‐8730
MARYANNA B ABREN                                 89 OAK STREET                                                                                  MIDDLEBOROUGH    MA    02346‐2035

MARYANNA KENNEDY MILTON TR MARYANNA           2397 GALWAY RD                                                                                    GALWAY           NY    12074‐2023
KENNEDY MILTON TRUST UA 01/28/98
MARYANNA M CROSSLAND                          4618 BRIARWOOD TRACE                                                                              CARMEL           IN    46033‐4621
MARYANNA MARCIN CROSSLAND CUST KATHRYN JANE 4618 BRIARWOOD TRACE                                                                                CARMEL           IN    46033‐4621
CROSSLAND UTMA VA
MARYANNA MARCIN CROSSLAND CUST RICHARD BRUCE 4618 BRIARWOOD TRACE                                                                               CARMEL           IN    46033‐4621
CROSSLAND II UTMA VA
MARYANNE C FECHER                             27 HILLCREST DR                                                                                   UNCASVILLE       CT    06382‐2059
MARYANNE D STILLWAGON                         633 SEVERN ST                                                                                     HENDERSON        NV    89015‐8203
MARYANNE FEDERICI KNUTSON                     8 DE LOTTO DR                                                                                     TRENTON          NJ    08619‐1412
MARYANNE I MEADE & EDWARD R MEADE JT TEN      1704 LINWOOD AVE                                                                                  ROYAL OAK        MI    48067‐1064
MARYANNE J MADISON                            239 SUPERIOR ST                                                                                   NEWTON FALLS     OH    44444‐1748
MARYANNE KELLY                                2827 48TH STREET                                                                                  ASTORIA          NY    11103
MARYANNE L WHITE                              960 BRYANSPLACE RD                                                                                WINSTON SALEM    NC    27104
MARYANNE M HOFFMAN                            637 W 63RD ST                                                                                     INDIANAPOLIS     IN    46260‐4723
MARYANNE MCAULEY                              7 HARBOR RIDGE DR                                                                                 CENTERPORT       NY    11721‐1106
MARYANNE MUNKELT                              44 MOORE AVE                                                                                      MERRITT ISLAND   FL    32952‐4935
MARYANNE NAGY                                 3700 PLANTATION BLVD                                                                              LEESBURG         FL    34748
MARYANNE NOONAN                               3918 MENGEL DR                                                                                    DAYTON           OH    45429‐4536
MARYANNE P ATKINSON                           524 6TH AVE W                            APT 409                                                  SEATTLE          WA    98119‐5906
MARYANNE POWERS                               443 W DELAVAN                                                                                     BUFFALO          NY    14213‐1414
MARYANNE RIFFLARD                             17 PARK RD                                                                                        STONY POINT      NY    10980‐1107
MARYANNE T PHELAN                             205 KEOTA ROAD                                                                                    HIGHLAND LAKES   NJ    07422‐1800
MARYANNE T SCHALLER & MONICA A POTOCKI JT TEN 13431 DARRYL DRIVE                                                                                WARREN           MI    48088‐1395

MARYANNE T THOMPKINS & EDWIN R HARLIN JT TEN     3791 LESLIE                                                                                    DETROIT          MI    48238

MARYANNE ZAMBORSKY & FLORENCE S ZAMBORSKY JT 8853 FALLS LN                                                                                      BROADVIEW        OH    44147‐1713
TEN                                                                                                                                             HEIGHTS
MARYBELLE HISER                                    212 YOUNG AV                                                                                 CHESTER          IL    62233‐1647
MARYBELLE RUTAN                                    266 PRATT STREET                                                                             RAVENNA          OH    44266‐3112
MARYBELLE UPTON                                    251 HARRY SAUNER RD                 APT 117                                                  HILLSBORO        OH    45133‐8220
MARYBETH BIBER & STEVEN H BIBER JT TEN             11917 SENECA                                                                                 WARREN           MI    48093‐7054
MARYBETH C ANICICH                                 17 CHERRY HILLS COURT                                                                        ALAMO            CA    94507‐2203
MARYBETH DROPE                                     2549 75 STREET                                                                               WOODRIDGE        IL    60517‐2811
MARYBETH GOODWIN CUST COLBY GOODWIN UTMA           1 WARD RD                                                                                    NAHANT           MA    01908‐1137
MA
MARYBETH SOMERS TR UA 06/23/2009 WONDERS           147 CRESCENT GARDEN DR                                                                       PITTSBURGH       PA    15235
IRREVOCABLE GRANTOR TRUST
MARYBETH T MELVIN                                  3745 E MARKET ST                    APT 110                                                  WARREN           OH    44484‐4717
MARYBETH TODD                                      3577 DAVID K                                                                                 WATERFORD        MI    48329‐1316
MARYBETH UNGERLEIDER DECANIO                       11846 NIGHTINGALE ST                                                                         MOORPARK         CA    93021‐2437
MARYCLARE OFFENBACHER                              475 ARMS CT                                                                                  ROCHESTER HLS    MI    48307‐3176
MARYELLA R RIVERA                                  21 BALLAD DRIVE                                                                              NEWARK           DE    19702‐4501
MARYELLEN DOYLE & DOYLE TR UA 11/30/06             101 ARDSMOOR RD                                                                              MELROSE          MA    02176
MARYELLEN DOYLE LIVING TRUST
MARYELLEN F CANCELLIERI CUST CECILIA A CANCELLIERI 58 ADDIE LANE                                                                                WHIPPANY         NJ    07981‐1319
UTMA NJ
MARYELLEN F RUDICH                                 12127 26 MILE                                                                                WASHINGTON       MI    48094‐3101
MARYELLEN FLYNN                                    ATTN MARYELLEN CANCELLIERI          58 ADDIE LANE                                            WHIPPANH         NJ    07981‐1319
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MARYELLEN FLYNN CANCELLIERI & GENE F CANCELLIERI 58 ADDIE LANE                                                                                 WHIPPANY        NJ    07981‐1319
JT TEN
MARYELLEN MASTROGIORGIO                          19 MOUNTAIN AVENUE                                                                            MOUNT KISCO     NY    10549
MARYELLEN OBRIEN                                 48‐53 44TH ST APT 2E                                                                          WOODSIDE        NY    11377‐6931
MARYELLEN SEMON                                  543 2ND AVE                                                                                   JESSUP          PA    18434‐1409
MARYELLEN SMITH                                  3765 VAN ATTA ROAD                                                                            OKEMOS          MI    48864
MARYELLEN TIPPIN                                 351 ELGIN COURT                      APT# 3               OSHAWA ON         L1J 2P5 CANADA
MARYELLEN WARKENTIN                              31A SAWMILL ROAD                                                                              LEBANON         NJ    08833‐4620
MARYELLYN HUNT & SHELDON K HUNT JR JT TEN        7 PINE CIR                                                                                    HORSEHEADS      NY    14845‐1371
MARYJANE CHAPIN                                  1540 COPPER CREEK DR                                                                          MUSTANG         OK    73064‐2947
MARYJANE CHERRY                                  29 BUCKINGHAM ST                     UNIT 5                                                   WATERBURY       CT    06710‐1959
MARYJANE ECKEL                                   1219 ELDERON DRIVE                                                                            WILMINGTON      DE    19808‐1909
MARYJANE KELLAN                                  26 HILLSVIEW AVE                                                                              WALLINGFORD     CT    06492‐4632
MARYJANE KRUSZEWSKI                              392 PAXSON LANE                                                                               LANGHORNE       PA    19047‐8255
MARYJANE P MYATT & LORRAINE GORTH JT TEN         1741 SOUTHWEST 37 WAY                                                                         FT LAUDERDALE   FL    33312‐4233
MARYJANE PHILIPCHUK                              5524 COTTAGE ST                                                                               RICHMOND        VA    23228‐5902
MARYJANE R DOAN                                  1700 CEDARWOOD DR                    APT 303                                                  FLUSHING        MI    48433
MARYJANE SZRAMA                                  459 PREAKNESS RUN                                                                             NEWARK          DE    19702‐2031
MARYJANE T SCOTT                                 PO BOX 301                                                                                    GRAND ISLAND    NY    14072‐0301
MARYJEAN D EIDMAN                                3151 PARKER RD                                                                                MARION          NY    14505‐9625
MARYJO D MCLEAN                                  14014 ADMIRALTY WAY #7H                                                                       LYNNWOOD        WA    98087
MARYJO DOUGLAS ZUNK                              8213 E ORANGE BLOSSOM LANE                                                                    SCOTTSDALE      AZ    85250‐7315
MARYJO OPIELA & MICHAEL G OPIELA JT TEN          7518 CHERRYWOOD DRIVE                                                                         WESTLAND        MI    48185‐7120
MARYKAY DOEZEMA                                  15032 STATE RD                                                                                SPRING LAKE     MI    49456‐9588
MARYKAY WHITNER                                  123 MARK LN                                                                                   PERRYSBURG      OH    43551‐1731
MARYLEE A GERVIN                                 8419 S SHORE DR                                                                               CLARKSTON       MI    48348‐2675
MARYLEE A SACK CUST MARK H SACK UGMA MI          6355 ACORN WAY                                                                                LINDEN          MI    48451‐8678
MARYLEE CUNNINGHAM & MARY CUNNINGHAM JT TEN 27 ROLLING HILL DR                                                                                 CHATHAM         NJ    07928‐1609

MARYLEE P HINTMANN & MICHAEL W HINTMAN JT TEN 12510 SUNSET GREENS DR                                                                           SAINT LOUIS     MO    63127

MARYLEE R WARNOCK                                2724 12TH AVE S                                                                               MOORHEAD        MN    56560‐3902
MARYLEEN ANN MCKELVY                             GENERAL DELIVERY                                                                              MISSION         KS    66202‐9999
MARYLEN S ALLEN                                  7711 GREEN PATH CT                                                                            SUGAR LAND      TX    77479‐6283
MARYLIN J HACKER                                 11100 COVENTRY CT                                                                             TAYLOR          MI    48180
MARYLIN J MOLL                                   BOX 187                                                                                       MESILLA PARK    NM    88047‐0187
MARYLIN J SIENKO                                 4729 BUCKINGHAM                                                                               WARREN          MI    48092‐3092
MARYLIN R CANTALINI & JULIANA M WHITTED JT TEN   8120 FARNUN                                                                                   WARREN          MI    48093‐2884

MARYLIN RAMBO                                4565 SOMERSET PLACE SE                                                                            BELLEVUE        WA    98006‐3053
MARYLIN RAMBO CUST IAN WILLIAM RAMBO UTMA WA 4565 SOMERSET PLACE SE                                                                            BELLEVUE        WA    98006‐3053

MARYLOU A MILLER                                 ATTN MARYLOU A LAFFERTY              185 APOLLO DR                                            ROCHESTER       NY    14626‐2703
MARYLOU BIRKHOLTZ                                PO BOX 94                                                                                     BURT            MI    48417‐0094
MARYLOU BURRIS & DINA D FURNESS JT TEN           1962 PARKER DR                                                                                WAYLAND         MI    49348‐9065
MARYLOU CHRISTENSON                              25 BRANCH DR                                                                                  SMITHTOWN       NY    11787‐3717
MARYLOU GATTO                                    11 WINSTON DR                                                                                 SMITHTOWN       NY    11787
MARYLOU GUASTELLA & RALPH F GUASTELLA JT TEN     14677 NEWBURGH RD                                                                             LIVONIA         MI    48154‐5015

MARYLOU KLOPFER                                  2936 QUAKER RD                                                                                GASPORT         NY    14067‐9447
MARYLOU MACBRIDE                                 11 CLARK AVE                                                                                  WALPOLE         MA    02081‐2816
MARYLOU MATTEAU                                  204 WOODHAVEN DR                                                                              MARS            PA    16046‐7826
MARYLOU PAGNOTTA                                 2069 ROYCE ST                                                                                 BROOKLYN        NY    11123
MARYLOU RIVERA CUST DANIEL RIVERA UTMA CA        102 IRIS PL SAN VICENTE TOWNHOUSE                                                             SOLEDAD         CA    93960
MARYLOU RUSSO                                    C/O MARYLOU R BERARDINO              4375 RT 94                                               GOSHEN          NY    10924‐5615
MARYLOU SABOL                                    5845 HUNTERS GATE DR                                                                          TROY            MI    48098‐2305
MARYLOU THOMAS                                   2379 SOUTHWAY                                                                                 COLUMBUS        OH    43221‐3721
MARYLOU W SHIRAR                                 5914 RIVER CLUB CIR                                                                           JUPITER         FL    33458
MARYLOU WILLIAMS                                 7724 WASHINGTON                                                                               KANSAS CITY     MO    64114‐1749
                                            09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
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Name                                              Address1                             Address2                      Address3   Address4          City            State Zip

MARYLOUISE H UTTARO                               ATTN MARYLOUISE POLOZNIK             62 NORMANDALE DR                                           ROCHESTER       NY    14624‐1716
MARYLOUISE MC DAID & MICHAEL A MC DAID JT TEN     2845 GRIFFITH                                                                                   BERKLEY         MI    48072‐1382

MARYLU M GOWEN                                    9138 AGINCOURT LANE                                                                             JACKSONVILLE    FL    32257‐5064
MARYLYN ANN ALEXANDER                             7340 SHEWANGO WAY                                                                               CINCINNATI      OH    45243‐1830
MARYLYN G PAUL                                    426 NURSERY RD                                                                                  DANDRIDGE       TN    37725‐4542
MARYLYN J HARRISON                                10915 E GOODALL RD                   UNIT 69                                                    DURAND          MI    48429‐9021
MARYLYN J PITALE                                  65 SAWMILL RD                                                                                   BRICK           NJ    08724‐1390
MARYLYN SYBRANT                                   1317 53RD STREET                     RT 2                                                       HUDSON          WI    54016‐6841
MARYLYNN C BOATRIGHT CUST TODD J MEYERS UGMA      118 MADISON CT                                                                                  LEBANON         IN    46052‐1244
IN
MARYLYNN D FREDRICKSON & PATRICIA L GRATSCH JT    1480 E SCHUMACHOR AVE                                                                           BURTON          MI    48529‐1622
TEN
MARYLYNNE J BAIRD                                 7020 HWY 111 # 119                                                                              RANCHO MIRAGE   CA    92270
MARYMARGARET ISBELL                               100 HAWTHORNE DR                                                                                FAYETTEVILLE    GA    30214‐1228
MARYSE L POUND                                    1819 10TH AVE                                                                                   ARCADIA         CA    91006‐5049
MARYSIA C SMALL TR UA 05/21/92 REVOCABLE LIVING   3200 N LEISURE WORLD BLVD            APT 401                                                    SILVER SPRING   MD    20906‐7614
TRUST MARYSIA C SMALL
MARYTE T STRAKSYS                                 1558 25TH ST                                                                                    DETROIT         MI    48216‐1468
MARZELL M MOZINGO                                 4624 DEVER DRIVE                                                                                MARTINEZ        GA    30907‐4213
MARZELLA GRIMES                                   3642 N FOREST MANOR AVE                                                                         INDIANAPOLIS    IN    46218‐1564
MARZELLA H FENNER                                 1903 FAIRVIEW ST                                                                                ANDERSON        IN    46016‐4141
MARZELLA THOMAS                                   17352 WISCONSIN                                                                                 DETROIT         MI    48221‐2502
MARZIA DAGOSTINO                                  3315 OAK GROVE CV                                                                               LAKELAND        FL    33812‐4227
MARZUQ J RAHMAAD                                  8215 E POTTER ROAD                                                                              DAVISON         MI    48423‐8186
MASAJI KAJIKI & OFELIA KAJIKI JT TEN              9269 TELFAIR AVE                                                                                SUN VALLEY      CA    91352‐1328
MASAO IWAMASA & SHIZUE IWAMASA JT TEN             45‐514 KEOLE ST                                                                                 KANEOHE         HI    96744‐2905
MASAO S YU MD INC PENSION PLAN                    C/O MASAO S YU PARTICIPANT           230 CROSSE ROAD                                            AMHERST         OH    44001‐9605
MASAO SAKATA                                      228 HAMPDEN TERRACE                                                                             ALHAMBRA        CA    91801‐2909
MASARU TAKAKI & SHIZUE TAKAKI JT TEN              4109 PUAOLE ST                                                                                  LIHUE           HI    96766‐1409
MASASHI ITANO                                     IVY APT ROOM 614                     2437 N SOUTHPORT                                           CHICAGO         IL    60626‐2662
MASAYA KAKEBE                                     1481 38TH AVENUE                                                                                SAN FRANCISCO   CA    94122‐3009
MASKELL W A HUNT                                  19 MAPLE AVE                                                                                    UNCASVILLE      CT    06382‐2313
MASKELL W A HUNT                                  19 MAPLE AVE                                                                                    UNCASVILLE      CT    06382‐2313
MASON A MILLER & JUNE E MILLER & MARJORIE A       4016 GRAND PRAIRIE RD                                                                           KALAMAZOO       MI    49006
HATTON TR UA 07/24/06
MASON ALBERT ELLWOOD                              1317 WALTON AVE                                                                                 FLINT           MI    48532‐5244
MASON C COOPER                                    69 E MAHAN AVE                                                                                  HAZEL PARK      MI    48030‐1150
MASON C RUDD                                      APT 406                              1400 WILLOW                                                LOUISVILLE      KY    40204‐1438
MASON DREW HAUPT                                  MILTON ROAD                          PO BOX 280                                                 GOSHEN          CT    06756‐0280
MASON E RHODEN                                    PO BOX 34                                                                                       EDGERTON        OH    43517‐0034
MASON GARTRELL                                    2108 DREW VALLEY RD                                                                             ATLANTA         GA    30319‐3918
MASON HOHL CUST CHRISTINE LOUISE HOHL UGMA CA     33 CALVADOS                                                                                     NEWPORT COAST   CA    92657‐1051

MASON M ALDRICH & JUDITH C ALDRICH JT TEN         108 46TH ST NW                                                                                  BRADENTON       FL    34209‐2913
MASON MYREE JR                                    15777 VAUGHAN                                                                                   DETROIT         MI    48223‐1248
MASON NEWICK                                      68 BURROUGH RD                       PO BOX 700                                                 CANTERBURY      NH    03224‐0700
MASON P HURD                                      10648 BREEZEWOOD DR                                                                             WOODSCTOCK      MD    21163‐1317
MASON PAWLAK & EMILY PAWLAK JT TEN                38130 VISTA DR N                                                                                LIVONIA         MI    48152‐1066
MASON R EHLERS                                    3460 MARK HALL DR                                                                               MARIETTA        GA    30068
MASON W BROWN                                     40856 GRENATA PRESERVE PL                                                                       LEESBURG        VA    20175‐8721
MASOOD A FAROOQI & RAFAT S FAROOQI JT TEN         1981 ECHO WOODS DR                                                                              CANTON          MI    48188‐4814
MASOOD FIKREE & SOAD FIKREE JT TEN                5972 GANT CRESCENT                   MISSISSAUGA ON                           L5V 2T6 CANADA
MASOUD M GHANEM                                   2861 ROULO                                                                                      DEARBORN        MI    48120‐1546
MASS ABPROP & CO                                  COMMONWEALTH OF MASSACHUSETTS        ONE ASHBURTON PLACE 12TH FL                                BOSTON          MA    02108‐1518
MASS ABPROP & CO                                  COMMONWEALTH OF MASSACHUSETTS        ONE ASHBURTON PLACE 12TH FL                                BOSTON          MA    02108
MASSOUD BAHARY                                    BOX 34084                                                                                       CHICAGO         IL    60634‐0084
MASSOUD BANAN                                     3126 CROOKED STICK DR                                                                           KOKOMO          IN    46902‐5176
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MASUKO C TANIGUCHI TR UA 04/22/94 MASUKO       1039 E EL CAMINO REAL #305                                                                     SUNNYVALE         CA    94087
CAROLINE TANIGUCHI TRUST
MATALIE E GRIFFIN                              1946 THOMSON RD                                                                                CHARLOTTESVILLE   VA    22903‐2419

MATEO RIVERA                                  BOX 1547                               CIDRA                                  PUERTO RICO
MATEUSZ P SKLAD                               33 DROMORE CRESCENT                    HAMILTON ON                            L8S 4A8 CANADA
MATHAEU R VAN CAMP & ROBERT C VAN CAMP JT TEN 10131 PORTLAND RD                                                                               CLARKSVILLE       MI    48815‐9690

MATHAGOND S ANAND                              1850 BLORE HEATH                                                                               CARMEL            IN    46032‐7214
MATHAI K MATHEW                                438 EASTERN BLVD                                                                               DAYVILLE          NJ    08721‐3234
MATHEW A HARDMAN                               233 WOODLAWN DR                                                                                MITCHELL          IN    47446‐6325
MATHEW ACKERT & LORRAINE MESAGNA JT TEN        24 REVERE RD                                                                                   MANHASSET         NY    11030‐2647
MATHEW ADAM ABRAMS                             29601 IVY GLENN                                                                                LAGUNA NIGUEL     CA    92677‐1729
MATHEW ANDERSON                                5081 S CLINTON ST                                                                              GREENWOOD VLG     CO    80111‐1348

MATHEW ANDREWS                                 2601 W MCNICHOLS #B1                                                                           DETROIT           MI    48221
MATHEW ANTHONY & SUSIE B ANTHONY JT TEN        2038 DWIGHT AVE                                                                                FLINT             MI    48503‐4012
MATHEW BLUM                                    6419 BIRCHLEIGH CIR                                                                            ALEXANDRIA        VA    22315‐3636
MATHEW C MERSINO & FAYE I MERSINO JT TEN       3610 DARTMOUTH RD                                                                              OXFORD            MI    48371‐5512
MATHEW CALVIN FLECK                            859 ORIOLE LN                                                                                  HUNTINGDON        PA    19006‐3432
                                                                                                                                              VALLEY
MATHEW CLARA                                   511 EAST JEFFERSON                                                                             GRAND LEDGE       MI    48837‐1751
MATHEW D ANTHONY & SUSIE B ANTHONY TEN COM     2038 DWIGHT                                                                                    FLINT             MI    48503‐4012

MATHEW D MCKIBBEN                              206 N 5TH ST                                                                                   MARSHALLTOWN      IA    50158‐5732
MATHEW DAY FOSTER U/GDNSHIP OF ELIZABETH ANN 3334 NEW HOPE CHURCH RD                                                                          LAUREL SPGS       NC    28644‐8198
DAY FOSTER
MATHEW E LAICH EX EST MARTIN E LAICH           3986 MILDRED ST                                                                                WAYNE             MI    48184‐1913
MATHEW F SOKOLOSKI & MISS RITA HEMENWAY JT TEN 90 WEST ST                                                                                     ROCKVILLE         CT    06066‐2913

MATHEW F WICKHAM                                3209 NORTH 97TH ST                                                                            OMAHA             NE    68134‐5357
MATHEW GRAHAM MILLER                            6801 CARLOS DR                                                                                OOLTEWAH          TN    37363
MATHEW GRHAM                                    1 FRIAR TUCK CT                                                                               WARREN            NJ    07059‐6755
MATHEW J ATTEBURY                               4653 CHAMBERLAIN DR                                                                           EAST CHINA        MI    48054‐3500
MATHEW J MCEWEN                                 325 WEST GENESEE                                                                              FLINT             MI    48505‐4037
MATHEW JONES                                    784 CENTRAL PARK BLVD NORTH          OSHAWA ON                              L1G 6B1 CANADA
MATHEW L DAIGLE TR MATHEW L DAIGLE LIVING TRUST 5667 JANICE DR                                                                                ORTONVILLE        MI    48462‐9521
UA 10/28/04
MATHEW L SMALLWOOD                              111 APPALACHIAN TR                                                                            DALLAS            GA    30132‐0967
MATHEW M MC KENNA                               2917 KEELEY CT                                                                                WATERFORD         MI    48328‐2631
MATHEW MARLOW CUST BRODY MARLOW UTMA MI         4014 SUNDIAL CT                                                                               GRAND RAPIDS      MI    49525

MATHEW MARTIN                                 119 MAPLE AVE                                                                                   HAMBURG           NY    14075‐4807
MATHEW N MURPHY                               33 HIGH FARMS RD                                                                                WEST HARTFORD     CT    06107‐1544
MATHEW O WINER                                342 KING RD                                                                                     ATLANTA           GA    30342‐4050
MATHEW P WERNOCH                              ESTATE OF MATHEW P WERNOCH             526 BROADWAY P O BOX 60                                  BAYONNE           NJ    07002‐0060
MATHEW PIOTROWSKI & MRS ANTONIA PIOTROWSKI JT 7153 SHERWOOD LANE                                                                              DAVISON           MI    48423‐2369
TEN
MATHEW RICHARD MILLER                         1 DANVILLE RD                                                                                   FREMONT           NH    03044‐3518
MATHEW S RIZZO                                6 COACHWHIP CT                                                                                  SIMPSONVILLE      SC    29680‐7210
MATHEW T BRAIDECH                             1186 BELVOIR BLVD                                                                               SOUTH EUCLID      OH    44121
MATHEW TORRENCE                               6645 RIDGE RD                                                                                   PORT RICHEY       FL    34668‐6838
MATHEW WEAVER & KRISTIE WEAVER JT TEN         1415 E BREEZY CT                                                                                PHOENIX           AZ    85086‐5313
MATHEW WONG & LUCINDA WONG JT TEN             346 AUSTIN ST                                                                                   NEWTON            MA    02465‐2502
MATHEW YATKAUSKAS                             404 E 87TH ST                                                                                   NEW YORK          NY    10128‐6502
MATHIAS A WINZEN & RUTH F WINZEN TR UA WINZEN 76 DU BOST CT                                                                                   DANVILLE          CA    94526
REVOCABLE TRUST 07/06/92
MATHIAS KAVAS                                 9180 PRELOG LANE                                                                                KIRTLAND          OH    44094‐5182
MATHIAS P FEDOR                               2390 SW 28TH TER                                                                                FT LAUDERDALE     FL    33312‐4709
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MATHILD FUGERE & LOUISE MATHEWS JT TEN           416 SHATTUCK HILL RD                                                                           NEWPORT           VT    05855‐8885
MATHILDA A JAGADICS                              WOODS OF WESTLAND                     39201 JOY ROAD #313                                      WESTLAND          MI    48185‐4793
MATHILDA C PADGEN                                198 SANTA FE ST                                                                                HOT SPRINGS       AR    71913‐6707
MATHILDA D DARMOCHWAL & STANLEY E                1002 PLATINUM DR                                                                               FORT MILL         SC    29708
DARMOCHWAL JR JT TEN
MATHILDA M CASHION                               11526 GROVELAND AVE                                                                            WHITTIER          CA    90604‐3639
MATHILDE RICHFIELD                               102 CALVERT AVE EAST                                                                           EDISON            NJ    08820‐3828
MATHIS W BAISDEN                                 2219 DREXEL                                                                                    DETROIT           MI    48215‐2611
MATIANA LONGORIA                                 2592 PEARL                                                                                     DETROIT           MI    48209‐1064
MATIANA PEREZ                                    2592 PEARL                                                                                     DETROIT           MI    48209‐1064
MATIAS H CAMPOS                                  1721 SE 5TH TERRACE                                                                            LEE SUMMIT        MO    64063‐6124
MATIAS ROSAS ESCAMILLA                           ROUTE ROUTE 3                                                                                  CHESANING         MI    48616‐9803
MATIE B SCOTT                                    PO BOX 96                                                                                      FRENCHMANS        AR    72338‐0096
                                                                                                                                                BAYOU
MATIL S WARREN & VALERIE A WARREN JT TEN         1064 N ESCONDIDO BLVD #A                                                                       ESCONDIDO         CA    92026‐3703
MATILDA A GLASS                                  C/O BRUCE GLASS                       3454 HANOVER DR                                          BRUNSWICK         OH    44212‐1890
MATILDA ALLISON                                  1460 WATER ST                                                                                  INDIANA           PA    15701‐1628
MATILDA C DESORCY                                PO BOX 1206                                                                                    ROCKPORT          ME    04856‐1206
MATILDA DI BELLO                                 8201 CRAIG ST                                                                                  PHILADELPHIA      PA    19136‐2304
MATILDA E KOLLMAN                                314 E MAIN                                                                                     GRAND LEDGE       MI    48837‐1660
MATILDA FIELDS                                   G 2263 ROSENFIELD DR                                                                           FLINT             MI    48505
MATILDA H LABAR & JANET M WORTH JT TEN           2001 RAVENSTONE LOOP                                                                           COLLEGE STATION   TX    77845‐4871
MATILDA HOGE BAUGHMAN                            5 WEEHAWKEN LANE                                                                               FRANKFORT         KY    40601‐3862
MATILDA J ANDERSON                               2829 WABASH ST                                                                                 NEW ORLEANS       LA    70114‐6435
MATILDA J HENIKA TR MATILDA J HENIKA TRUST UA    515 N COURT                                                                                    GAYLORD           MI    49735‐1513
07/01/98
MATILDA KOCH & ALFRED KOCH JT TEN                459 HUNTINGTON AVE                                                                             BUFFALO           NY    14214‐1533
MATILDA L CHAMPAGNE                              APT H‐34                              116 PINEHURST AVE                                        NEW YORK          NY    10033‐1755
MATILDA L CHAMPAGNE & CHARLOTTE CHAMPAGNE JT     APT H34                               116 PINEHURST AVE                                        NEW YORK          NY    10033‐1755
TEN
MATILDA R GIBSON                                 5547 BAYWOOD AVE                                                                               MESA              AZ    85206‐1429
MATILDA REISER & ROBERT J REISER JT TEN          14 LIBERTY AVE                                                                                 MINEOLA           NY    11501‐3420
MATILDA ROSE GIBSON TR MATILDA GIBSON TRUST UA   5547 E BAYWOOD                                                                                 MESA              AZ    85206‐1429
3/11/99
MATILDA S BOWEN                                  1403 UPLAND AVE                                                                                GREENEVILLE       TN    37743‐6618
MATILDA Z WEISENBORN                             679 MCCLURE AVE                                                                                SHARON            PA    16146‐4111
MATILDE KISER                                    1426 NORTH ORLEANS                    APT 501                                                  CHICAGO           IL    60610
MATILDE LIPIEJKO                                 12263 WOODLEY AVE                                                                              GRANADA HILLS     CA    91344‐2848
MATILDE V CORONADO                               10256 68TH AVE                                                                                 ALLENDALE         MI    49401‐8359
MATILIDA MCDONNELL                               724 MAPLE GROVE RD                    APT 104                                                  DULUTH            MN    55811‐4525
MATINA D HALL                                    529 HEATHER LANE                                                                               GROSSE POINTE     MI    48236‐1509
                                                                                                                                                WOOD
MATINA HOUCK                                     APT 309                               400 GROVELAND AVE                                        MINNEAPOLIS       MN    55403‐3243
MATINA PALYVOS                                   24823 THATCHER DR                                                                              NOVI              MI    48375‐2368
MATO A PENGA                                     PO BOX 7644                                                                                    TAHOE CITY        CA    96145‐7644
MATO BLAZEVIC                                    3621 W 69TH ST                                                                                 CHICAGO           IL    60629‐4201
MATO OBRADOVIC                                   8315 SOUTH 79TH AVENUE                                                                         JUSTICE           IL    60458‐2339
MATO ZAKIC                                       5415 S MCVICKER                                                                                CHICAGO           IL    60638‐2635
MATRIX ASSOCIATES INC                            219 WEST VILLAGE BLVD                                                                          LAREDO            TX    78041
MATRUE SMITH                                     24200 LATHRUP BLVD                    APT 313                                                  SOUTHFIELD        MI    48075‐2861
MATS FAGERHAG                                    STROMSLUNDSGATAN 57                   TROLLHATTAN                            SWEDEN
MATT A DIETRICH CUST HANS A DIETRICH UTMA MI     PO BOX #5261                                                                                   NORTHVILLE        MI    48167‐5261

MATT A HUTCHINSON                                2040 CABAHA CREST DR                                                                           BIRMINGHAM        AL    35242‐4417
MATT C LUST                                      251 LUTHER                                                                                     PONTIAC           MI    48341‐2778
MATT CUTLER                                      3636 E 146TH ST                                                                                CARMEL            IN    46033‐9430
MATT D BOEHM                                     4896 S DUDLEY STREET 8‐4                                                                       LITTLETON         CO    80123‐1951
MATT DAVIS CUST MAREN GRACE DAVIS UTMA CA        26728 HYTE RD                                                                                  PALOS VERDES      CA    90275
                                                                                                                                                PENINSULA
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MATT DIETRICH & CHERYL ANN KEHRES DIETRICH JT TEN PO BOX 5261                                                                                        NORTHVILLE        MI    48167‐5261

MATT ELKINS                                          12777 BIG SKY PLACE                                                                             AUBURN            CA    95602‐9151
MATT G BUSHNER                                       1510 E CEDAR CREEK RD                                                                           GRAFTON           WI    53024‐9653
MATT HENRY                                           8004 SELKIRK DR                                                                                 BAKERSFIELD       CA    93309‐4272
MATT HOOPER                                          PO BOX 226                                                                                      TEMPLE HILLS      MD    20757‐0226
MATT IBELE                                           49 COLLEGE PARK                                                                                 DAVIS             CA    95616
MATT J BURTON JR                                     4010 BURGESS                                                                                    FLINT             MI    48504‐2233
MATT J LAWRENCE                                      HELMSTBASSE 3                          ERLANGEN                               91054 GERMANY
MATT J MODRCIN                                       7021 LATHROP AVE                                                                                KANSAS CITY       KS    66109‐1820
MATT JACKSON & RACHEL JACKSON JT TEN                 5 PEW AVE                                                                                       GLOUCESTER        MA    01930‐2419
MATT KUZMANICH JR & VELMA M KUZMANICH JT TEN         15850 NW CENTRAL DR                    UNIT 219                                                 PORTLAND          OR    97229‐1182

MATT LAWSON JR                                       808 OREN CT                                                                                     GLADWIN           MI    48624‐8372
MATT LESER                                           102 44TH STREET                                                                                 SANDUSKY          OH    44870‐4856
MATT P PARKER                                        1087 S SEYMOUR RD                                                                               FLINT             MI    48532‐5516
MATT PHILLIPS & MARIA PHILLIPS JT TEN                3205 HIGHLINE ROAD                                                                              HOLTVILLE         CA    92250‐9797
MATT R GOHLKE                                        9893 OAK VALLEY DR                                                                              CLARKSTON         MI    48348‐4173
MATT RAFFERTY ATTN HULL TRADING CO                   553 S KENILWORTH AVE                                                                            ELMHURST          IL    60126‐4444
MATT S STEITZ & DORIS M STEITZ TR THE STEITZ TRUST   7737 SKYLINEVIEW DR                                                                             MENTOR            OH    44060‐7431
UA 06/26/91
MATT STREBLER                                        409 NEWTON ST                                                                                   TALLMADGE         OH    44278
MATT T GARRIS                                        2295 SCHALET DR                                                                                 ROCHESTER HILLS   MI    48309
MATT V CRNKOVICH                                     8880 COMMERCE RD                                                                                COMMERCE TWP      MI    48382‐4413
MATTALYN L HAMMONDS                                  506 PLAINVILLE DR SW                                                                            ATLANTA           GA    30331‐4324
MATTEO MAIALE                                        5 LAUREL HILL PL                                                                                ARMONK            NY    10504‐1405
MATTEO MICALIZZI                                     2834 PROVIDENCE VIEW LN                                                                         CHARLOTTE         NC    28270‐0008
MATTEO P POLLICHINO & LUCY S POLLICHINO JT TEN       57 DANIEL RD S                                                                                  MASSAPEQUA        NY    11758‐2211

MATTEW BROWN                                         2202 CYPRESS RUN DRIVE                                                                          SUGARLAND         TX    77478‐5290
MATTHEW A BURGERMASTER                               238 S 3RD ST 2                                                                                  BROOKLYN          NY    11211‐5643
MATTHEW A CAMPBELL                                   4278 DOBLINS RD                                                                                 NORTH PORT        FL    34287‐3252
MATTHEW A CRABILL                                    1828 KING AVE                                                                                   DAYTON            OH    45420
MATTHEW A GIVENS JR                                  132 MANOR ROAD                                                                                  STATEN ISLAND     NY    10310‐2648
MATTHEW A HOGAN                                      620 ROSE LN                                                                                     DAVENPORT         IA    52802
MATTHEW A HURLEY                                     4070 BROOKSTONE COURT                                                                           HOWELL            MI    48843‐7509
MATTHEW A JANNUZZI                                   4502 W BUFFALO                                                                                  CHANDLER          AZ    85226‐4828
MATTHEW A KAUFMAN                                    29130 FOUNTAINWOOD ST                                                                           AGOURA HILLS      CA    91301‐1615
MATTHEW A KEETON                                     6453 SHIMMING CREEK DRIVE                                                                       COLORADO SPGS     CO    80923
MATTHEW A LESNIAK                                    601 S MEADE STREET                     APT 6                                                    FLINT             MI    48503‐2282
MATTHEW A MILLINGTON                                 8535 MANCI DR                                                                                   SYLVANIA          OH    43560‐9760
MATTHEW A MUSANTE CUST ANTHONY JOSEPH                160 MONTGOMERY RD                                                                               GOODETTSVILLE     TN    37072‐8411
MUSANTE UTMA CA
MATTHEW A PATERSON                                   685 OAK BEND RD                                                                                 KAISER            MO    65047‐2113
MATTHEW A PINKAVA                                    238 BOCA CIEGA POINT BLVD N                                                                     ST PETERSBURG     FL    33708‐2738
MATTHEW A ROBINS                                     40 PARK AVE APT 8G                                                                              NEW YORK          NY    10016
MATTHEW A SCHMIDT                                    729 S 2ND AVE                                                                                   WEST BEND         WI    53095‐4015
MATTHEW A TONER III                                  14323 BROADGREEN DR                                                                             HOUSTON           TX    77079‐6604
MATTHEW A WIESEN                                     901 N LEROY ST                                                                                  FENTON            MI    48430‐2741
MATTHEW A ZIMMERMAN                                  325 MYRTLE AVE                                                                                  BRIDGEPORT        CT    06604‐5442
MATTHEW AARON HOFFBERG                               915 FLAGLER CIR SE                                                                              SMYRNA            GA    30080‐3523
MATTHEW ABBOTT & EVE ABBOTT JT TEN                   5100 BABCOCK AVE                                                                                NORTH             CA    91607‐2904
                                                                                                                                                     HOLLYWOOD
MATTHEW ABRAMOWITZ                                   515 OAK RD                                                                                      MERION            PA    19066‐1352
MATTHEW ALAN LUDWIG                                  2319 LORRAINE AVE                                                                               KALAMAZOO         MI    49008‐3986
MATTHEW ALIPERTI                                     258 ELWOOD AVE                                                                                  HAWTHORNE         NY    10532
MATTHEW ALLEN WOODS                                  1598 CHOWININGS GLEN                                                                            WIXOM             MI    48393‐1616
MATTHEW B BOGIN                                      6304 FRIENDSHIP CT                                                                              BETHSEDA          MD    20817‐3342
MATTHEW B BRAAT                                      4142 W SAXONY DR SE                                                                             GRAND RAPIDS      MI    49508
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MATTHEW B CARLSEN TR CARLSEN 1986 SURVIVORS      62 BIRCH AVENUE                                                                                 CORTE MADERA     CA    94925‐1053
TRUST UA 12/23/86
MATTHEW B COLBERT                                410 11TH ST NE                         APT 24                                                   WASHINGTON       DC    20002‐6102
MATTHEW B CRUMM                                  3158 MORRISH RD                                                                                 FLUSHING         MI    48433‐2211
MATTHEW B DAVIS                                  4470 SUNSET BLVD                       #600                                                     LOS ANGELES      CA    90027‐6305
MATTHEW B FERGUSON                               970 MEADOWCREST STREET                                                                          NEWBURY PARK     CA    91320‐5575
MATTHEW B GARNER                                 210 SURREY RD                                                                                   STAUNTON         VA    24401
MATTHEW B HERLIHY                                2831 WARD DR                                                                                    WINSTON          GA    30187‐1427
MATTHEW B JESHURUN                               145 DENNIS ST                                                                                   GLADWIN          MI    48624‐8383
MATTHEW B KURKJIAN                               12713 WAR ADMIRAL WAY                                                                           DARNESTOWN       MD    20878‐3729
MATTHEW B LONG                                   51 BAMBOO                                                                                       IRVINE           CA    92620‐3336
MATTHEW B MCFARLAND                              1609 WEST MAIN ST STE 201                                                                       DOTHAN           AL    36301‐1359
MATTHEW BARRETT                                  38 BARGER DR                                                                                    METROPOLIS       IL    62960‐2712
MATTHEW BISHOP                                   7926 N YORK RD                                                                                  MONROVIA         IN    46157
MATTHEW BOYD                                     221 HORNE ST                                                                                    SAINT GEORGE     SC    29477‐2122
MATTHEW BRYANT                                   48234 GREENWICH LN                                                                              CANTON           MI    48188‐8305
MATTHEW BURBOTT                                  15900 VINCENNES ST                                                                              NORTH HILLS      CA    91345‐2923
MATTHEW BURNETT                                  PO BOX 1330                                                                                     PLAINS           MT    59859‐1330
MATTHEW BUTLER                                   PO BOX 9177                            GOLD COAST MAIL CENTRE   QLD           AUSTRALIA
MATTHEW C BLAKE                                  33 MEADOWCREST DR                                                                               BEDFORD          NH    03110‐6315
MATTHEW C BYRNES                                 871 GREENFIELD CT                                                                               MURFREESBORO     TN    37128‐4724
MATTHEW C CZAPLICKI                              1016 BRITTANY DR                                                                                HURON            OH    44839‐2600
MATTHEW C CZAPLICKI & HELEN M CZAPLICKI JT TEN   1016 BRITTANY DR                                                                                HURON            OH    44839‐2600

MATTHEW C DARWIT                                 4316 SAINT CHARLES RD                                                                           BELLWOOD         IL    60104‐1148
MATTHEW C EBENHOEH & JOY C EBENHOEH JT TEN       9491 ORCHARD RD                        PO BOX 316                                               NEW LOTHROP      MI    48460‐0316

MATTHEW C EDWARDS                                5739 DURHAM CASTLE COURT #413                                                                   INDIANAPOLIS     IN    46250
MATTHEW C FLORA                                  P O BOX 19472                                                                                   GREENSBORO       NC    27419‐9472
MATTHEW C FLOURNOY                               1633 ARDEN DRIVE                                                                                MARIETTA         GA    30008‐3749
MATTHEW C GORDON                                 2632 FLORAL VALLEY DR                                                                           DACULA           GA    30019‐7270
MATTHEW C GRESKO & PATRICIA E GRESKO JT TEN      9381 GREENBRIAR DR                                                                              PARMA HEIGHTS    OH    44130‐4751

MATTHEW C GUNTER & REX E PHELPS JT TEN           3638 DUNLOP CT                                                                                  MASON            OH    45040‐4728
MATTHEW C LANIGHAN & PATRICIA M LANIGHAN JT      18 HOOVER PKWY                                                                                  LOCKPORT         NY    14094‐5736
TEN
MATTHEW C MAHLE & HEATHER L MAHLE JT TEN         2979 ROSS RD                                                                                    SUNBURY          OH    43074‐9117
MATTHEW C MCCORD                                 25507 LAFAYETTE DRIVE                                                                           RHOADESVILLE     VA    22542‐8511
MATTHEW C MCMONIGAL                              6136 ELAINE ST                                                                                  INDIANAPOLIS     IN    46224‐3035
MATTHEW C MIHALKO                                RR 4 BOX 1978                                                                                   MOUNT PLEASANT   PA    15666‐9034

MATTHEW C MINKER III & MRS CAROL J MINKER JT TEN 2569 ESCADA DR                                                                                  NAPLES           FL    34109‐3600

MATTHEW C NAWROCKI                               5177 PLEASANT DR                                                                                BEAVERTON        MI    48612‐8543
MATTHEW C PEDEN                                  300 MAIN ST                            APT 4F                                                   WHITE PLAINS     NY    10601‐3656
MATTHEW C SANSEVERINO                            9025 NEWMONT                                                                                    SAN DIEGO        CA    92129‐3378
MATTHEW C SMITH                                  PO BOX 196                                                                                      SAEGERTOWN       PA    16433‐0196
MATTHEW C STILES                                 2181 KENNETH STREET                                                                             BURTON           MI    48529‐1358
MATTHEW C THURBER & ESTHER THURBER JT TEN        4572 VIA MARINA APT 302                                                                         MARINA DL REY    CA    90292
MATTHEW C WILLIAMS                               2333 RAINTREE DR                                                                                BREA             CA    92821‐4677
MATTHEW CALDWELL                                 PO BOX 171                                                                                      FORTVILLE        IN    46040‐0171
MATTHEW CARL GILES                               12380 W 108TH PL                                                                                SAINT JOHN       IN    46373‐8857
MATTHEW CARLISLE JR                              1027 HUNTER CREEK DR                                                                            DESOTO           TX    75115‐4712
MATTHEW CARROZZA                                 103 VAN BUREN RD                       APT 2                                                    VOORHEES         NJ    08043‐2410
MATTHEW CECIL                                    1310 EASTAUGH WAY                                                                               JUNEA            AK    99801‐7744
MATTHEW CEGLARZ                                  9065 COLUMBIA                                                                                   REDFORD          MI    48239‐1911
MATTHEW CHESTER KARNYSKI                         1024 GEORGE URBAN BL                                                                            BUFFALO          NY    14225‐3336
MATTHEW CORBIN JR                                243 DORER AVENUE                                                                                HILLSIDE         NJ    07205‐1542
MATTHEW CORRIEL                                  27 NEWPORT DR                                                                                   MANUET           NY    10954‐3111
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MATTHEW CROUD CUST SCOTT R CROUD UGMA MI         16361 SUDBURY CT                                                                                MACOMB            MI    48044‐3236

MATTHEW CUNNINGHAM                               PO BOX 151                                                                                      PLEASANTON        KS    66075‐0151
MATTHEW CURRIE                                   1867 GARNETT WAY                       EDMONTON AB                            T5T 6R3 CANADA
MATTHEW D ANTHONY                                2038 DWIGHT AVE                                                                                 FLINT             MI    48503‐4012
MATTHEW D ANTHONY JR                             2021 DWIGHT AVE                                                                                 FLINT             MI    48503
MATTHEW D CLARK                                  251 SANDERSON RD                                                                                CHEHALIS          WA    98532‐7600
MATTHEW D CLARK                                  9912 WINEGAR RD                                                                                 LAINGSBURG        MI    48848‐9325
MATTHEW D D‐AVERSA                               400 CORINNE AVE                                                                                 JOHNSTOWN         PA    15906‐1406
MATTHEW D DIEDRICH & KATHRYN M DIEDRICH JT TEN   1308 E WYNDMERE DR                                                                              APPLETON          WI    54913‐7144

MATTHEW D GROOM TR UA 11/10/1997 MATTHEW D       3608N HARVEY PKWY                                                                               OKLAHOMA CITY     OK    73118
GROOM SURVIVOR TRUST
MATTHEW D GRUBBA                                 166 GROSVENOR                                                                                   ROCHESTER HILLS   MI    48307‐3164
MATTHEW D HARLEY                                 736 SANDS                                                                                       ORTONVILLE        MI    48462‐8866
MATTHEW D HIBBERT                                5139 1 EARLY ST                                                                                 FORT RILEY        KS    66442
MATTHEW D KONIECZNY                              500 WHITEHAVEN RD                      GRAND ISLANDS                                            GRAND ISLAND      NY    14072
MATTHEW D LUDEWIG                                1611 CLARE CT                                                                                   NORTH MANKATO     MN    56003‐3404
MATTHEW D LYON                                   2217 ARLINGTON AVE                     #2                                                       PITTSBURGH        PA    15210‐1923
MATTHEW D MURPHY                                 49 KING PHILLIP LANE                                                                            HANOVER           MA    02339
MATTHEW D NILLES                                 2739 CEDAR GLADE RD                                                                             NAPERVILLE        IL    60564‐8435
MATTHEW D PECK                                   PO BOX 1201                                                                                     OKEMOS            MI    48805‐1201
MATTHEW D SWINFORD                               61 SEAVIEW AVE #23                                                                              STAMFORD          CT    06902‐6061
MATTHEW DAGOSTINO                                12314 KEEL                                                                                      BOWIE             MD    20715
MATTHEW DANIEL WALLACE                           3651 NEWBOLT COURT                                                                              DOYLESTOWN        PA    18901‐1464
MATTHEW DARLING                                  PO BOX 1378                                                                                     ROYAL OAK         MI    48068‐1378
MATTHEW DAUGHERTY CUST EMMA E DAUGHERTY          1831 LOCH SHIEL RD                                                                              PARKVILLE         MD    21234‐5217
UTMA MD
MATTHEW DAVID PARRILLI                           10815 RIPPON LODGE DR                                                                           FAIRFAX           VA    22032‐2931
MATTHEW DAVID VANSTRATT                          12203 OAKRIDGE CT                                                                               GRAND HAVEN       MI    49417‐9788
MATTHEW DAVID WERNER                             374 GRENNSBORO DRIVE                                                                            DAYTON            OH    45459‐2942
MATTHEW DAVID WILKEN                             36 WATERFORD COURT                                                                              GRANVILLE         OH    43023‐9501
MATTHEW DEAN CUNNINGHAM                          71 NW 40TH ST                                                                                   MIAMI             FL    33127‐2913
MATTHEW DEITCHLE                                 4306 N PARK AVE                                                                                 INDIANAPOLIS      IN    46205
MATTHEW DENNIS KERR                              208 POWELL DR                                                                                   GARDENDALE        AL    35071‐4648
MATTHEW DENNIS TURO                              36 DAVIS STREET                                                                                 NORTHBORO         MA    01532‐2104
MATTHEW DEXTER                                   1714 EBONY                                                                                      HOUSTON           TX    77018
MATTHEW DONALD HENRIKSSON                        45 FOREST RD                                                                                    TENAFLY           NJ    07670‐2231
MATTHEW E ANDERSON                               690 JESSICA CIR                                                                                 FOWLERVILLE       MI    48836‐8593
MATTHEW E BRADY CUST PATRICK M BATCHELLER        17606 SUNNYBROOK                                                                                LATHRUP VILLAGE   MI    48076‐7427
UGMA MI
MATTHEW E DAVIS & LUANN DAVIS JT TEN             1603 GRANT ST                                                                                   LOGANSPORT        IN    46947
MATTHEW E DUBIE                                  2005 MILES RD                                                                                   LAPEER            MI    48446‐8080
MATTHEW E FARBER                                 14606 INDIAN CRK RD                                                                             FORT WAYNE        IN    46804‐9512
MATTHEW E KLETT                                  4234 S 15 STREET                                                                                SHEBOYGAN         WI    53081‐7704
MATTHEW E LAVERTY                                106 JOHNSON RD                                                                                  GORHAM            ME    04038‐1117
MATTHEW E LUX                                    1480 CARRIAGE LN                                                                                LAKE VILLA        IL    60046‐7040
MATTHEW E MANK                                   138 MT PLEASANT RD                                                                              UNION             ME    04862‐3001
MATTHEW E MILLER                                 4626 NILES CORTHAND RD NE                                                                       CORTLAND          OH    44410‐9606
MATTHEW E PUNG                                   PO BOX 215                                                                                      MIDDLETON         MI    48856‐0215
MATTHEW E SHADEED                                8487 DONAKER ST                                                                                 SAN DIEGO         CA    92129‐4213
MATTHEW E WALSH                                  650 BOW LN                                                                                      WATERFORD         MI    48328‐4106
MATTHEW E WILLIAMS                               BLDG 1 APT 101                         5541 LAKESIDE DR                                         MARGATE           FL    33063‐7646
MATTHEW EARL HOULIHAN                            1117 E FAIRMOUNT AVE                                                                            PHOENIX           AZ    85014‐4809
MATTHEW EDWARD BAHOREK                           3982 N HIGH ST                                                                                  COLUMBUS          OH    43214
MATTHEW EDWARDS JR                               2810 AVENUE A                                                                                   FLINT             MI    48505‐4363
MATTHEW ERICKSON                                 61 SUNROSE CT                                                                                   LAKE JACKSON      TX    77566‐4820
MATTHEW F BARRELLS                               39106 RIVERCREST AVE                                                                            HARRISON TWP      MI    48045‐1918
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MATTHEW F D'AMATO                                 10 HIGHLANDVIEW AVE                                                                             EAST              MA    01028‐1710
                                                                                                                                                  LONGMEADOW
MATTHEW F FRIAR                                   2846 BLUEWATER LANE                                                                             GRANDVILLE        MI    49418‐1113
MATTHEW F PRAGACZ & ALICE J PRAGACZ JT TEN        3235 SARAH STREET                                                                               FRANKLIN PORT     IL    60131‐1822
MATTHEW F SHANNON                                 3332 M ST SE                                                                                    WASHINGTON        DC    20019‐2931
MATTHEW FABUS & CONNIE FABUS JT TEN               4321 UPTON RD                                                                                   ELSIE             MI    48831‐9726
MATTHEW FRY                                       1280 16TH ST                                                                                    FENNIMORE         WI    53809‐2108
MATTHEW G BATTAGLIA                               81‐1B RICHMOND BLVD                                                                             RONKONKOMA        NY    11779
MATTHEW G DAVIS CUST ALEC T DAVIS UTMA CA         26728 HYTE ROAD                                                                                 PLS VRDS PNSL     CA    90275
MATTHEW G DOANE                                   9715 SILVERSIDE DRIVE                                                                           SOUTH LYON        MI    48178‐8811
MATTHEW G DOYLE                                   6468 E STATE ROAD 144                                                                           MOORESVILLE       IN    46158‐6234
MATTHEW G KABEL                                   603 ORANGE AVE                                                                                  CRANFORD          NJ    07016‐2049
MATTHEW G SOLAK                                   19620 SWITZER RD                                                                                DEFIANCE          OH    43512‐9730
MATTHEW G SUMMERS                                 6700 RAPID WATER WAY                   UNIT 204                                                 GLEN BURNIE       MD    21060‐2441
MATTHEW G TROYER                                  14481 N CENTER RD                                                                               CLIO              MI    48420‐7934
MATTHEW GILBERT                                   647 N ROBSON                                                                                    MESA              AZ    85201‐5040
MATTHEW GIOVANNI BUONO                            8832 FRY CIRCLE                                                                                 HUNTINGTON        CA    92646
                                                                                                                                                  BEACH
MATTHEW GREGORY JOHNSTON                          57 GLEN ST                                                                                      MALDEN            MA    02148‐2414
MATTHEW GRZELKA                                   4050 WINSTON DR                                                                                 HOFFMAN ESTATES   IL    60195‐1763

MATTHEW GUERRIERO & MEGHANN MCCABE JT TEN         34 MILLS LANE                                                                                   BLOOMFIELD        CT    06002

MATTHEW H CALOVICH & CONNIE R CALOVICH JT TEN     3022 DOUGLAS ROAD                                                                               RICHMOND          KS    66080‐9151

MATTHEW H CAULEY                                  4810 SALINE WATERWORKS RD                                                                       SALINE            MI    48176‐8807
MATTHEW H GETHICKER                               9112 CHARTER OAKS DR                                                                            DAVISON           MI    48423‐2593
MATTHEW H PALMER                                  5140 SWEET HOME RD                                                                              NIAGRA FALLS      NY    14305‐3601
MATTHEW H RANKIN & MRS MARY S RANKIN JT TEN       CRESCENT ROAD                                                                                   PINE BROOK        NJ    07058

MATTHEW H WERGELAND                               26300 CARRIAGE CT                                                                               WALLER            TX    77484‐5656
MATTHEW HALL                                      20770 LONG TER                                                                                  BUCYRUS           KS    66013‐9265
MATTHEW HALL & ERICA HALL JT TEN                  228 ANNIVERSARY LN                                                                              ACWORTH           GA    30102
MATTHEW HAMILTON GAST                             2292 DANA AVENUE                                                                                CINCINNATI        OH    45208‐1025
MATTHEW HAROLD FRANK                              PO BOX 56                                                                                       HARRISON          ME    04040‐0056
MATTHEW HARPSTER                                  2222E SHERIDAN                                                                                  PHOENIX           AZ    85006
MATTHEW HART                                      841 ASPEN HILL RD                                                                               RICE              VA    23966‐2404
MATTHEW HATFIELD CUST KELLY HATFIELD UTMA NC      5763 DOVE POINT DR                                                                              CONCORD           NC    28025

MATTHEW HATTEN JR                                 522 NORTH HAMPTON STREET                                                                        BUFFALO           NY    14208
MATTHEW HELM                                      46995 OCOTILLO COURT                                                                            FREMONT           CA    94539‐7204
MATTHEW HENRY SILVER                              22215 HILL ST                                                                                   MIAMI             FL    33170‐4449
MATTHEW HIRN                                      9390 HADLEY DR                                                                                  WESTCHESTER       OH    45069‐4055
MATTHEW IAN SEIDEN                                32 TWIN OAK ROAD                                                                                SHORT HILLS       NJ    07078‐2259
MATTHEW J BACKAITIS & SHARON E BACKAITIS JT TEN   17091 PENNSYLVANIA                                                                              SOUTHFIELD        MI    48075‐2987

MATTHEW J BAJEK                                   515 W FOURTH ST                                                                                 ROYAL OAK         MI    48067‐2401
MATTHEW J BOSSE                                   7 EAST RIDGE COURT                                                                              CHESHIRE          CT    06410‐1236
MATTHEW J BOYER                                   721 VIEWPOINT                                                                                   PLAINFIELD        IN    46168‐1086
MATTHEW J BRIDENSTINE                             1273 E AMADO RD                                                                                 PALM SPRINGS      CA    92262‐6475
MATTHEW J BROOKMIRE                               26 PINE BROOK CIRCLE                                                                            PENFIELD          NY    14526‐1964
MATTHEW J CALLAGHAN CUST BRIDGET L CALLAGHAN      5420 LYMAN AVENUE                                                                               DOWNERS GROVE     IL    60575
UTMA IL
MATTHEW J CALLAGHAN CUST ERIN E CALLAGHAN         5420 LYMAN AVE                                                                                  DOWNERS GROVE     IL    60515‐4944
UTMA IL
MATTHEW J CALLAGHAN CUST KATHLEEN M               5420 LYMAN AVE                                                                                  DOWNERS GROVE     IL    60515‐4944
CALLAGHAN UTMA IL
MATTHEW J CARLSON                                 3608 LARCHWOOD CIR                                                                              MINNETONKA        MN    55345
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MATTHEW J CARMONS CUST PETER D CARMONS UGMA 26201 DENNIS RD                                                                                      PARKSLEY         VA    23421‐3858
NY
MATTHEW J CARTER                            920 NW 24TH                                                                                          MOORE           OK     73160‐1122
MATTHEW J CHOLEWKA                          7230 LILAC COURT                                                                                     NORTH HOLMSTEAD OH     44070‐6310

MATTHEW J CLAPPER                              384 LEE LANE                                                                                      MANSFIELD        OH    44905‐2720
MATTHEW J COFFEY                               713 CRESCENT AVE                                                                                  AU GRES          MI    48703‐9302
MATTHEW J COLLINS                              2584 CANYON DRIVE                                                                                 YPSILANTI        MI    48197‐8955
MATTHEW J COLWELL                              5 HART TRAIL                                                                                      OLD SAYBROOK     CT    06475‐1226
MATTHEW J CONBOY                               1116 CONCORD AVE                                                                                  DREXEL HILL      PA    19026‐3225
MATTHEW J COSTELLO                             11695 GLOSSINGER RD                                                                               FIFE LAKE        MI    49633‐9741
MATTHEW J DE WAELSCHE                          5081 WARMBRIAR RD                                                                                 WHITE LAKE       MI    48383‐1472
MATTHEW J DEHNKE                               814 WOODHAVEN DR                                                                                  CUYAHOGA FALLS   OH    44223‐3086
MATTHEW J DIGIOVANNI CUST PAUL JOHN DIGIOVANNI 1435 BERKSHIRE                                                                                    GROSSE POINTE    MI    48230‐1038
UGMA MI                                                                                                                                          PARK
MATTHEW J DINELLI                              410 PARKVIEW DR                                                                                   SCHAUMBURG       IL    60193‐5036
MATTHEW J EGGENBERGER                          41 KENTON ST                                                                                      MACKINAW         IL    61755‐9106
MATTHEW J ESSA                                 5501 SQUIRE LANE                                                                                  FLINT            MI    48506‐2235
MATTHEW J FINCH & KATHLEEN L FINCH JT TEN      138 IRVING AVE                                                                                    SOUTH ORANGE     NJ    07079‐2309
MATTHEW J FUGGE                                43R TIGERTAIL CIR                                                                                 DERRY            NH    03038‐4350
MATTHEW J GANNON                               241 GODFREY DR                                                                                    NORTON           MA    02766‐1370
MATTHEW J GELIA                                1292 COLVIN BLVD                                                                                  KENMORE          NY    14223‐1402
MATTHEW J GILDERSLEEVE                         6003 SE WINDSONG LN                                                                               STUART           FL    34997‐8263
MATTHEW J GLAB                                 643 S GRANT ST                                                                                    HINSDALE         IL    60521‐4453
MATTHEW J GLASPIE                              1182 OUTER DR                                                                                     FENTON           MI    48430
MATTHEW J GREENBERG                            1111 CREEKFORD DR                                                                                 FT LAUDERDALE    FL    33326‐2835
MATTHEW J GRODSKI                              725 DENOW RD APT 316                                                                              PENNINGTON       NJ    08534
MATTHEW J GROVER                               288 SUNSET RD                                                                                     SKILLMAN         NJ    08558‐1626
MATTHEW J HALLWOOD                             N‐10312PRESSLER                                                                                   FENTON           MI    48430
MATTHEW J HART                                 363 N CARMELINA AVE                                                                               LOS ANGELES      CA    90049‐2701
MATTHEW J HEATH                                10651 PEERLESS ST                                                                                 DETROIT          MI    48224‐1159
MATTHEW J HENNESSEY                            5185 BRONCO DR                                                                                    CLARKSTON        MI    48346‐2606
MATTHEW J HERBORN                              14535 MULBERRY ST                                                                                 SOUTHGATE        MI    48195
MATTHEW J IANDOLI & DANA L IANDOLI JT TEN      6414 EARLHAM DRIVE                                                                                BETHESDA         MD    20817
MATTHEW J JOHNSTON & PATTI A JOHNSTON JT TEN   67 ANDERSON RD                                                                                    KENT             CT    06757

MATTHEW J JUNE                                   200 ALLENDALE DR                                                                                MORRISVILLE      PA    19067‐4808
MATTHEW J KENNEDY SR                             3728 AVE K APT A 10                                                                             BROOKLYN         NY    11210‐4856
MATTHEW J KNAPP RIGLEIA KNAPP JTWORS             67 LAMBERT AVE                                                                                  ROXBURY          MA    02119‐1736
MATTHEW J LANGENDERFER                           1931 S HOLLAND SYLVANIA RD                                                                      MAUMEE           OH    43537‐1318
MATTHEW J LARSON                                 108 DENA DR                                                                                     NEWBURY PARK     CA    91320‐3107
MATTHEW J LUCAS                                  23305 WAINWRIGHT TER                                                                            OLMSTED FALLS    OH    44138‐3215
MATTHEW J MABILE                                 1080 PRICEDALE DR SE                                                                            BOGUE CHITTO     MS    39629‐4116
MATTHEW J MAIHER JR                              3004 SUNSET HILLS LANE                                                                          COLUMBIA         TN    38401‐7379
MATTHEW J MARTIN                                 615 CHERRY AVE                                                                                  NILES            OH    44446‐2525
MATTHEW J MCILHANY                               5208 W 120TH PL                                                                                 ALSIP            IL    60803‐3174
MATTHEW J MCINTYRE & MARGIE I MCINTYRE JT TEN    4229 E HILL RD                                                                                  GRAND BLANC      MI    48439‐7971

MATTHEW J MILLER                                 24835 45TH S AV S104                                                                            KENT             WA    98032‐1727
MATTHEW J MITCHELL                               929 SHORELINE DR                                                                                CICERO           IN    46034‐9444
MATTHEW J MITCHELL                               OYSTER HARBORS 2003                                                                             OSTERVILLE       MA    02655‐2494
MATTHEW J MITCHELL & BETTE A MITCHELL JT TEN     57 BILLERICA AVE                                                                                N BILLERICA      MA    01862‐1231

MATTHEW J NALEPINSKI                             9676 WORMER                                                                                     REDFORD          MI    48239‐4301
                                                                                                                                                 TOWNSHIP
MATTHEW J NALLY SR & REBECCA M NALLY JT TEN      1759 DANVILLE HILL RD                                                                           CABOT            VT    05647
MATTHEW J NITZ                                   1901 RANDALL AVE NW                                                                             GRAND RAPIDS     MI    49544‐2136
MATTHEW J OVERBERG                               1860 N VERNON                                                                                   DEARBORN         MI    48128‐2505
MATTHEW J PIEKNIK & SHERYL A PIEKNIK JT TEN      10107 W COLDWATER RD                                                                            FLUSHING         MI    48433‐9761
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Name                                             Address1                                Address2             Address3          Address4          City             State Zip

MATTHEW J ROBERGE                                5719 HIGHLAND ST                                                                                 DEARBORN HTS     MI    48127‐3249
MATTHEW J ROHRBACH                               1035 FULTON ST                                                                                   PALO ALTO        CA    94301‐3313
MATTHEW J ROY & KERRY K ROY JT TEN               35770 CAMPISTRANO DR                                                                             CLINTON TWP      MI    48035‐2216
MATTHEW J RUGGIERO                               205 CANDALARIA BLVD S                                                                            SALEM            OR    97302‐4410
MATTHEW J RUSSELL                                5457 COUNTRY LN                                                                                  FLINT            MI    48506‐1019
MATTHEW J SCIABACUCCHI                           32 TEDRICK STREET                                                                                PITTSTON TWP     PA    18640
MATTHEW J SULLIVAN                               6636 PEBBLE BEACH WAY                                                                            BRADENTON        FL    34202‐2579
MATTHEW J SWAIN                                  39 EVANS AVE                                                                                     AUSTINTOWN       OH    44515‐1622
MATTHEW J SWIDERSKI & MARY L SWIDERSKI JT TEN    16430 SHARON CT                                                                                  ORLAND PARK      IL    60467‐5592

MATTHEW J TARCA                                  22 CEDERWOOD RD                                                                                  BERLIN           CT    06037‐1102
MATTHEW J WROBLEWSKI                             426 NORTH HARVEY                                                                                 WESTLAND         MI    48185‐3443
MATTHEW J ZDANOWICZ                              34016 GROESBECK HWY                                                                              CLINTON TWP      MI    48035
MATTHEW JACK FREEMAN                             3806 ORANGE GROVE RD                                                                             HILLSBOROUGH     NC    27278‐9357
MATTHEW JAMES CLONTZ                             1649‐K ARLYN CIRCLE                                                                              CHARLOTTE        NC    28213‐3661
MATTHEW JAMES COFFER & F JOE COFFER JT TEN       8831 THATCH DR                                                                                   SAN ANTONIO      TX    78240‐3715
MATTHEW JARED STOKES                             5812 LAKEVIEW DR                                                                                 HANAHAN          SC    29406‐2428
MATTHEW JARETT VAN BUHLER                        8203 BRIDGEWAY DR                                                                                DEXTER           MI    48130‐9393
MATTHEW JAY KITTLE                               4490 CRAIG HILL RD                                                                               RISING SUN       IN    47040‐9296
MATTHEW JOEL GUY                                 144‐04 ROCKAWAY BEACH BLVD                                                                       NEPONSIT         NY    11694‐1141
MATTHEW JOEL JOHNSTON                            67 ANDERSON RD                                                                                   KENT             CT    06757
MATTHEW JOHN BARLOW JR & MRS NANCY ENGEL         103 BREEZY POINT                                                                                 REHOBOTH BEACH   DE    19971
BARLOW JT TEN
MATTHEW JOHN FILICE                              166 GOLDEN RIDGE ROAD                                                                            ALAMO           CA     94507‐2869
MATTHEW JOHN MARKLING                            1542 BELLE AVE                                                                                   LAKEWOOD        OH     44107‐4330
MATTHEW K BLASS                                  112 LUQUER RD                                                                                    PORT WASHINGTON NY     11050‐4119

MATTHEW K GILLARD                                2816 WOODMARK CT                                                                                 RICHMOND         VA    23233
MATTHEW K MC DERMOTT                             25 DAVID STREET                                                                                  CUMBERLAND       RI    02864‐2027
MATTHEW K PETERS                                 36404 MONTROSE WAY                                                                               AVON             OH    44011
MATTHEW K TAYLOR                                 4305 JUNIPER FOREST PL                                                                           LOUISVILLE       KY    40245‐2111
MATTHEW K W TURNEY & WILLIAM J TURNEY JT TEN     376 SURBER DRIVE                                                                                 SAN JOSE         CA    95123‐4344

MATTHEW KALL & NAOMI KALL JT TEN                 34505 BLUE HERON DRIVE                                                                           SOLON            OH    44139‐5643
MATTHEW KARL HEAPS                               120 HIGHLAND DR                                                                                  BELLINGHAM       WA    98225‐5412
MATTHEW KEGLEY                                   108 VENETIAN WAY CT                                                                              KOKOMO           IN    46901‐6716
MATTHEW KEVIN SEASOCK & DAVID R SEASOCK JT TEN   176 SHADOWLAWN DRIVE                                                                             INKSTER          MI    48141‐1317

MATTHEW KOVACIC                                 29 KILLDEER LA                                                                                    FAIRPORT         NY    14450‐8935
MATTHEW KOZINETS                                7577 E KRALL ST                                                                                   SCOTTSDALE       AZ    85250‐4656
MATTHEW KRISTOPHER ELLIOTT CUST MAREN P ELLIOTT 507 WOODLAND PASS                                                                                 EAST LANSING     MI    48823‐2027
UGMA MI
MATTHEW L ANTHONY                               12536 OKEMOS RD                                                                                   PORTLAND         MI    48875‐9406
MATTHEW L BEGRES                                1608 JACOBS TRAIL                                                                                 MOUNT PLEASANT   MI    48858‐8030

MATTHEW L BROWN                                  694 BEARSLIDE HOLLOW                                                                             DAHLONEGA        GA    30533
MATTHEW L DERUBEIS                               4413 CASTLE DR                                                                                   MIDLAND          MI    48640‐3480
MATTHEW L DITTMER                                1031 N WASHINGTON ST                                                                             DANVILLE         IN    46122‐1262
MATTHEW L FREED                                  3543 42ND STREET NW                                                                              ROCHESTER        MN    55901‐5845
MATTHEW L FRIEDMAN                               208 PENN DR                                                                                      W HARTFORD       CT    06119‐1044
MATTHEW L H HARPER                               BOX 93                                                                                           HOOKERTON        NC    28538‐0093
MATTHEW L HALL                                   250 OTTAWA DR                                                                                    PONTIAC          MI    48341‐2046
MATTHEW L HOLMES                                 6200 JACKSON RD                                                                                  ANN ARBOR        MI    48103‐9586
MATTHEW L HUDSON                                 5835 DITCH RD                                                                                    INDIANAPOLIS     IN    46228‐1900
MATTHEW L JONES                                  650 OLD FANNIN RD                       APT L3                                                   FLOWOOD          MS    39232‐9014
MATTHEW L LANDRY                                 840 N SASHABAW                                                                                   ORTONVILLE       MI    48462‐9187
MATTHEW L MOLITOR                                1917 N PRESIDENT                                                                                 WHEATON          IL    60187‐3328
MATTHEW L NICHOLS & ADA DALE NICHOLS JT TEN      35372 PERLA PL                                                                                   WILDOMAR         CA    92592‐7824
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MATTHEW L NOSKY                                38 W 2ND ST                                                                                          DEPEW           NY    14043‐2855
MATTHEW L ROACH                                2941 LOWREN ST                                                                                       PORT ORCHARD    WA    98366‐4085
MATTHEW L ROBY                                 2986 CRESCENT DR                                                                                     WARREN          OH    44483‐5626
MATTHEW L RYDER                                103 S YARMOUTH RD                                                                                    DENNIS          MA    02638‐2435
MATTHEW L SMITH                                3648 STONE CREEK                                                                                     SPRING HILLS    TN    37174‐2197
MATTHEW LAWLER                                 725 HALLWORTH PL                                                                                     DAYTON          OH    45426‐4810
MATTHEW LEONARD KREUTZ                         325 BEVERLY AVE                                                                                      MISSOULA        MT    59801
MATTHEW LONDON                                 269C SOUTH BROADWAY                                                                                  TARRYTOWN       NY    10591‐5320
MATTHEW LOY                                    12005 E 21ST AVE                                                                                     SPOKANE VLY     WA    99206‐7017
MATTHEW LYNN FRED DRABICK & NEDDA DRABICK JT   1916 WESTCOTT DR                                                                                     RALEIGH         NC    27614‐6510
TEN
MATTHEW M BARBER                               3737 JAMES ED ROAD                                                                                   GAINESVILLE     GA    30506‐3261
MATTHEW M GREENIA                              530 LONG LEAF DR                                                                                     ROSWELL         GA    30075‐4324
MATTHEW M KESHISHIAN                           136 MERRITT DR                                                                                       ORADELL         NJ    07649‐1823
MATTHEW M KINGSBERRY                           8553 SUMMERTREE LANE                                                                                 INDIANAPOLIS    IN    46256‐3487
MATTHEW M LACKO                                355 TOMS RIVER RD                                                                                    JACKSON         NJ    08527‐3720
MATTHEW M LEWICKI                              5362 WHITEHALL CT                                                                                    FLUSHING        MI    48433‐2452
MATTHEW M MC CORMACK A MINOR U/GDNSHP OF W     20 MEETINGHOUSE CT                                                                                   SHAMONG         NJ    08088‐9421
F MC CORMACK                                                                                                                                        TOWNSHIP
MATTHEW M MILLER                               114 MERION DR                                                                                        CANTON TOWNSHIP MI    48188‐3071

MATTHEW M MURPHY                               PO BOX 9022                                                                                          WARREN          MI    48090‐9022
MATTHEW M MUSSELMAN                            5410 ALBANY CT                                                                                       FORT WAYNE      IN    46835‐4251
MATTHEW MANSI                                  73 HARGRAVE LANE                                                                                     MEDIA           PA    19063‐1144
MATTHEW MARCOM                                 106 IMPALA CIRCLE                                                                                    SAN ANTONIO     TX    78259‐2224
MATTHEW MARLOW CUST BENJAMIN MARLOW UGMA       4014 SUNDIAL COURT                                                                                   GRAND RAPIDS    MI    49525‐9445
MI
MATTHEW MARSHALL                               542 CHATHAM CT                                                                                       CIRCLEVILLE     OH    43113‐2309
MATTHEW MARTIN JR                              2208 SKYLINE DR                                                                                      KALAMAZOO       MI    49006
MATTHEW MASUCCI                                3424 PINETOP DRIVE                                                                                   INDIANAPOLIS    IN    46227‐7823
MATTHEW MATZA                                  81‐03 252ND STREET                                                                                   BELLEROSE       NY    11426‐2529
MATTHEW MAXWELL                                286 COMPTON ROAD                                                                                     CINCINNATI      OH    45215
MATTHEW MC KELVEY                              9820 DARCY FOREST DR                                                                                 SILVER SPRING   MD    20910‐1166
MATTHEW MCNAMARA                               12341 NICHOLS RD                                                                                     MONTROSE        MI    48457‐9763
MATTHEW MEEHAN                                 19 NEWMAN AVE                                                                                        VERONA          NJ    07044‐2531
MATTHEW METTRY                                 9 N 25TH ST                           #3                                                             RICHMOND        VA    23223‐7885
MATTHEW MONAHAN CUST KEITH MONAHAN UGMA        6 PENN COMMONS                                                                                       YAPHANK         NY    11980‐2025
NY
MATTHEW MONROE JUBITZ                          PMB 314                               6663 SW BEAVERTON HILLSDALE HWY                                PORTLAND        OR    97225‐1403
MATTHEW MONTGOMERY                             296 ORANGE CRES                       OSHAWA ON                                    L1G 5X3 CANADA
MATTHEW MOON                                   4394 MOUNTAIN CREEK ROAD                                                                             IRON STATION    NC    28080
MATTHEW MORGAN LINTON                          8021 E 29TH AVE                                                                                      DENVER          CO    80238
MATTHEW MULLINS                                13330 ROSEDALE BLVD                                                                                  CARLETON        MI    48117‐9756
MATTHEW N FISHER                               5797 SHADY HOLLOW LANE                                                                               CINCINNATI      OH    45230‐5125
MATTHEW NICHOLAS PEDERSEN & SUSAN JOY          12508 W 121 ST                                                                                       OVERLAND PARK   KS    66213‐2262
PEDERSEN JT TEN
MATTHEW NUMRICH                                6048 NIMTZ CT                                                                                        LOVES PARK      IL    61111‐3438
MATTHEW O LEFKOWITZ                            19 SUNSET PL                                                                                         MILLINGTON      NJ    07946‐1331
MATTHEW ORTH                                   1813 PANTALEO DR                                                                                     MODESTO         CA    95355‐9117
MATTHEW OTTE                                   15427 FAYSMITH AVE                                                                                   GARDENA         CA    90249‐4437
MATTHEW P BARCEY                               7076 WINDRIDGE LN                                                                                    FLINT           MI    48507‐4689
MATTHEW P CAUSEY                               1290 25TH AVE                         APT 202                                                        SAN FRANCISCO   CA    94122‐1559
MATTHEW P HINNEBUSCH                           343 LINCOLN DR                                                                                       PITTSBURGH      PA    15241‐1912
MATTHEW P KOZLOWSKI                            7596 VILLAGE DR                                                                                      WASHINGTON      MI    48094‐3535
MATTHEW P MCKERNAN                             27150 WALKER AVE                                                                                     WARREN          MI    48092‐3045
MATTHEW P O'FARRELL                            735 WYNSTONE DR                                                                                      LEWIS CENTER    OH    43035‐8411
MATTHEW P PARKER                               1087 S SEYMOUR RD                                                                                    FLINT           MI    48532‐5516
MATTHEW P RUDDEN                               PO BOX 430                                                                                           DAYTONA BEACH   FL    32115‐0430
MATTHEW P SNYDER                               5328 TRAILWAY DR                                                                                     ROCKVILLE       MD    20853‐1573
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MATTHEW PACAK                                      800 MUIRHEAD AVE                                                                                        NAPERVILLE        IL    60565‐1667
MATTHEW PALERMO                                    261 WHITTIER RD                                                                                         SPENCERPORT       NY    14559‐2218
MATTHEW PALM                                       7029 UPHAM ST                                                                                           ARVADA            CO    80003
MATTHEW PATRICK RADECK                             19503 LAKE OSCEOLA LN                                                                                   ODESSA            FL    33556‐1708
MATTHEW PATTI & HEIDI PATTI JT TEN                 155 NOTTINGHAM ROAD                                                                                     BLOOMSBURG        PA    17815
MATTHEW PATTI & HEIDI PATTI JT TEN                 155 NOTTINGHAM ROAD                                                                                     BLOOMSBURG        PA    17815
MATTHEW PAUL CAREY                                 7003 RENFRO                                                                                             RICHMOND          TX    77469‐5929
MATTHEW PEARSALL                                   900 RAVINE TER DR                                                                                       ROCHESTER HILLS   MI    48307
MATTHEW PERNOT                                     60 WESTMAR DR                                                                                           ROCHESTER         NY    14624
MATTHEW PLONKA                                     1867 S LINCOLN ST                                                                                       LOMBARD           IL    60148‐6485
MATTHEW POLLAK                                     PO BOX 1269                                                                                             HENDERSONVILLE    TN    37077‐1269
MATTHEW POLTORAK                                   82 LAWTON RD                                                                                            CANTON            CT    06019‐2239
MATTHEW POMERENKE                                  27 RENE DR                                                                                              OAKDALE           CT    06370
MATTHEW PRUEHS & GARY PRUEHS JT TEN                29101 SCHOOL SECTION                                                                                    RICHMOND          MI    48062‐3304
MATTHEW PRYOR                                      52102 NOTTINGHAM CT                                                                                     CHESTERFIELD      MI    48051‐3669
MATTHEW QUINLAN                                    3700 S WATERFRONT DR                                                                                    CHANDLER          AZ    85248‐4159
MATTHEW R BENEDICT                                 PO BOX 189                                                                                              HOGANSBURG        NY    13655‐0189
MATTHEW R BERGANTINO                               300 NEWARK ST                          APT 6J                                                           HOBOKEN           NJ    07030
MATTHEW R BRICE                                    425 ELM AVE                                                                                             HAWORTH           NJ    07641‐1144
MATTHEW R BUSBY & SUSAN K BUSBY JT TEN             35 LONG GROVE DR                                                                                        MONTICELLO        IL    61856‐8286
MATTHEW R COPP                                     2844 ELM AVE                                                                                            COLUMBUS          OH    43209‐1816
MATTHEW R KNOSTER                                  901 MEADOWOOD CIR                                                                                       LEBANON           PA    17042
MATTHEW R MARDIGIAN                                15600 BROOK RD                                                                                          LANSING           MI    48906‐1460
MATTHEW R MC QUEENEY                               10811 AMBERGATE LANE                                                                                    FRISCO            TX    75035‐7190
MATTHEW R MICHALSKI                                4873 W ST JOE                                                                                           GRAND LEDGE       MI    48837
MATTHEW R PELLETIER                                310 MELROSE AVE                                                                                         SYRACUSE          NY    13206‐3249
MATTHEW R PELLETIER & DOROTHY L PELLETIER JT TEN   310 MELROSE AVE                                                                                         SYRACUSE          NY    13206‐3249

MATTHEW R PETRILL                                  10107 RED OAK CT                                                                                        FORT WAYNE        IN    46804‐5223
MATTHEW R ROSECRANS                                655 W IRVING PARK RD                   APT 3912                                                         CHICAGO           IL    60613‐3196
MATTHEW R SANDORF                                  PO BOX 286                                                                                              RICHFIELD         OH    44286‐0286
MATTHEW R YENZER                                   1627 SINOVA                                                                                             MESA              AZ    85205
MATTHEW R ZEBARTH                                  18358 THOMPSON MILL RD                                                                                  DUBUQUE           IA    52001‐9759
MATTHEW REID                                       20220 FAUST                                                                                             DETROIT           MI    48219‐1552
MATTHEW RHODES                                     96 W 44TH ST                                                                                            BAYONNE           NJ    07002‐2011
MATTHEW RICHARD KNOPF & JANET ELAINE KNOPF JT      3208 CHERRYWOOD DR                                                                                      FREMONT           NE    68025‐6287
TEN
MATTHEW RICHTER                                    3594 GLEN ELGIN DR                     JORDAN ON                              L0R 1S0 CANADA
MATTHEW RING                                       2 DALE VALLEY GARDENS                  SHIRLEY              SOUTHAMPTON       HAMPSHIRE GREAT BRITAIN

MATTHEW RIVETTE                                    7276 BALDWIN RD                                                                                         SWARTZ CREEK      MI    48473‐9120
MATTHEW ROBERT SMITH                               140 W WOOD ST                          UNIT 120                                                         PALATINE          IL    60067‐5078
MATTHEW ROBERTS                                    10261 OLD LAMPLIGHTER LANE                                                                              VILLA PARK        CA    92861
MATTHEW ROBINS                                     3225 ST JAMES DR                                                                                        BOCA RATON        FL    33434‐3374
MATTHEW ROOT                                       8507 LONG LEAF TRAIL                                                                                    LIVERPOOL         NY    13090‐1127
MATTHEW RYAN                                       1765 E RODNEY FRENCH BLVD                                                                               NEW BEDFORD       MA    02744‐2413
MATTHEW RYAN MYERS                                 440 GROVE LN                                                                                            WESTMINSTER       MD    21157‐7317
MATTHEW S BAILEY                                   1174 APPALOUSA DR                      JOHN'S ISLAND                                                    JOHNS ISLAND      SC    29455‐4902
MATTHEW S BARAN                                    1217 W 7TH ST                                                                                           TAYLOR            TX    76574‐2547
MATTHEW S BIRON & LILLIAN G BIRON TEN ENT          1745 TERRACE DR                                                                                         MAPLE OLEN        PA    19002‐2939
MATTHEW S ENIK                                     14 CAMBRIDGE CT                                                                                         RANDOLPH          NJ    07869‐2125
MATTHEW S ENNIS                                    6600 CYPRESS RD #503                                                                                    PLANTATION        FL    33317
MATTHEW S ERICKSON                                 3868 13 ST                                                                                              MICCO             FL    32976‐2833
MATTHEW S MANNO                                    2822 WALKER DR                                                                                          YORKTOWN          NY    10598‐2916
                                                                                                                                                           HEIGHTS
MATTHEW S RICHARDSON CUST TODD M RICHARDSON        1705 CRYSTAL DRIVE                                                                                      EDGERTON          WI    53534‐8923
UGMA WI
MATTHEW S SELTZ                                    8076 PEBBLESTONE DR                                                                                     YPSILANTI         MI    48197‐6201
MATTHEW S WIECZKOWSKI                              2 WINDSOR LN                                                                                            TRENTON           NJ    08620‐9410
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MATTHEW SAIA                                3701 OVERLAND AVE H270                                                                     LOS ANGLES        CA    90034‐6350
MATTHEW SCHNIEIDER                          9796 RIDGEBLUFF AVENUE                                                                     LAS VEGAS         NV    89148
MATTHEW SCHOENEGAN JR                       5 BRANDY WINE DR                                                                           SETAUKET          NY    11733‐1403
MATTHEW SCOT BURNS                          3712 BELMONT LN                                                                            OXNARD            CA    93036‐6341
MATTHEW SETH GORGE CUST MICHAEL D GORGE A   25300 FRANKLIN PK DR                                                                       FRANKLIN          MI    48025‐1213
MINOR UMUGMA
MATTHEW SHIELDS III                         327 FACULTY RD                                                                             DUNCANNON         PA    17020‐9788
MATTHEW SHUTRE                              2020 EDITH MARIE DR                                                                        DAYTON            OH    45431‐3318
MATTHEW SIMPSON                             4629 KINGSTON RD                  SCARBOROUGH ON                         M1E 2P7 CANADA
MATTHEW SOBOTA                              5529 W OAKDALE DR                                                                          OAK LAWN          IL    60453‐4614
MATTHEW STARR CUST DANIEL STARR UGMA NY     65 PEN ARROW RD                                                                            ROCHESTER         NY    14618
MATTHEW STETTNER                            1089 UPLANDS DR                                                                            EL DORADO HILLS   CA    95762‐3823
MATTHEW STIFTER                             26 FOXGLOVE                                                                                OAKLEY            CA    94561
MATTHEW SUNDAY                              13245 RITA ST                                                                              PAULDING          OH    45879‐8865
MATTHEW SUTTON                              PO BOX 6713                                                                                HOUSTON           TX    77265
MATTHEW T ANGEL                             481 TOGSTAD GLENN                                                                          MADISON           WI    53711‐1415
MATTHEW T BARTON                            3264 QUICK                                                                                 HOLLY             MI    48442‐1099
MATTHEW T BOOTH                             44 NINETY RD                                                                               MORRISONVILLE     NY    12962
MATTHEW T BOURQUIN                          904 PATTERSON RD                                                                           DAYTON            OH    45419‐4334
MATTHEW T CLARK                             6 KEENAN STREET                                                                            PARLIN            NJ    08859‐1000
MATTHEW T DREW                              10835 S FAIRFIELD AV                                                                       CHICAGO           IL    60655‐1722
MATTHEW T DRIY                              294 RED VALLEY RD                                                                          REMLAP            AL    35133‐4534
MATTHEW T FINEOUT                           136 E 8TH ST                                                                               PORT ANGELES      WA    98362
MATTHEW T JOZWIK                            13941 BANFIELD                                                                             BATTLE CREEK      MI    49017‐9264
MATTHEW T MARGARUM                          117 E MASON ST                                                                             CLYDE             OH    43410‐1231
MATTHEW T MILLHOUSE                         PO BOX 46108                                                                               BEDFORD           OH    44146‐0108
MATTHEW T NARANJO                           2457 GRAND RIVER RD                                                                        BANCROFT          MI    48414‐9731
MATTHEW T TRUELOVE                          1217 SW 114TH ST                                                                           OKLAHOMA CITY     OK    73170‐4443
MATTHEW T TURNER                            29 CALLE CIENEGA                                                                           PLACITAS          NM    87043‐9305
MATTHEW T WEGLESKI                          16002 PITNER STREET                                                                        HAYMARKET         VA    20169
MATTHEW THOMAS HANG & ELEANOR LEE HANG JT   ATTN HAN MAY MEAT COMPANY         94 BAYARD ST                                             NEW YORK          NY    10013‐4460
TEN
MATTHEW THOMAS TRAUTMAN                     420 LOS OSOS VALLEY RD                                                                     LOS OSOS          CA    93402‐3122
MATTHEW TODD ALTMAN                         6210 ROSEFINCH COURT #102                                                                  LAKEWOOD RCH      FL    34202
MATTHEW V CARRASCO                          402 WESTERN DR                                                                             BELEN             NM    87002‐7224
MATTHEW V DELANEY                           1816 BUCKLEW DR                                                                            TOLEDO            OH    43613‐5437
MATTHEW V PETRONIO & EMIL PETRONIO JT TEN   7561 BARBERA DR                                                                            KERNERSVILLE      NC    27284‐6701
MATTHEW VERKUYL                             8 PATRICIA DR                     ST CATHARINES ON                       L2M 4P3 CANADA
MATTHEW VICTOR ARBUTINA                     112 MAJOR ST                                                                               ALIQUIPPA         PA    15001‐3820
MATTHEW W BANDILLA                          1736 PRIVATEER DR                                                                          TITUSVILLE        FL    32796‐1500
MATTHEW W BARLOW                            4701 TWELVE OAKS ROAD                                                                      MIDLOTHIAN        VA    23112‐2829
MATTHEW W BURT                              206 FREDA DR                                                                               PACHECO           CA    94553‐5017
MATTHEW W DILLON                            3878 PETERS RD                                                                             COLUMBIAVILLE     MI    48421‐9304
MATTHEW W GUERIN                            395 BERRYMAN DR                                                                            AMHERST           NY    14226‐4371
MATTHEW W MARCHAL                           1004 BEVRIDGE RD                                                                           RICHMOND          VA    23226‐3041
MATTHEW W RAWLS                             511 COUNTRY LANE                                                                           W TRENTON         NJ    08628‐3309
MATTHEW W SOLARZ                            6326 HARTLAND ROAD                                                                         FENTON            MI    48430‐9522
MATTHEW W STARK                             5223 MAPLETON RD                                                                           LOCKPORT          NY    14094‐9293
MATTHEW W STRONG                            1445 PANORAMA DR                                                                           BIRMINGHAM        AL    35216‐3014
MATTHEW W SWEENEY CUST MATTHEW W SWEENEY JR 229 SUMMIT DR                                                                              BELLE VERNON      PA    15012
UGMA PA
MATTHEW W SWEENEY CUST PATRICIA ANN SWEENEY 229 SUMMIT DRIVE                                                                           BELLE VERNON      PA    15012
UGMA PA
MATTHEW W TAYLOR & CHRISTIE L TAYLOR JT TEN 13453 E AUSTIN RD                                                                          MANCHESTER      MI      48158‐8508
MATTHEW W TURNER                            4136 FORBUSH                                                                               WEST BLOOMFIELD MI      48323‐1033

MATTHEW W YARD                             9060 E FRANCES RD                                                                           OTISVILLE         MI    48463‐9411
MATTHEW W YOUNG                            1851 MARQUIS                                                                                LAPEER            MI    48446‐7724
MATTHEW WANCHENA                           4529 TACOMA AVE S                                                                           TACOMA            WA    98418‐6648
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MATTHEW WARDER                                  62 1172 OLD MOHAWK RD              ANCASTER ON                            L9K 1K2 CANADA
MATTHEW WASILAK                                 3546 NORTH HILLS                                                                            MURRYSVILLE      PA    15668‐1344
MATTHEW WAYNE KEE                               5915 ELM ST                                                                                 HOUSTON          TX    77081
MATTHEW WEGRZYNIAK                              52 DEER PATH LN                                                                             WESTFIELD        MA    01085‐1189
MATTHEW WHITE & PATRICE WHITE JT TEN            6216 NE BARRETT DR                                                                          POULSBO          WA    98370‐7701
MATTHEW WILLIAMS                                15796 LITTLEFIELD                                                                           DETROIT          MI    48227‐3620
MATTHEW WILLIAMS                                503 SUMMIT HOUSE                                                                            WEST CHESTER     PA    19382
MATTHEW WILLIAMS & MRS GERALDINE WILLIAMS JT 4409 AVENUE M                                                                                  BROOKLYN         NY    11234‐3608
TEN
MATTHEW WILSON JR                               9614 GRIFFIN DR                                                                             SAINT LOUIS       MO   63137‐1354
MATTHEW WNEK                                    408 WASHINGTON AVE                                                                          LINDEN            NJ   07036‐2869
MATTHEW WROBEL                                  35 WOODBINE RD                                                                              LEVITTOWN         PA   19057‐3215
MATTHEW Y GERVAIS                               4012 GOSS AVE                                                                               SCHILLER PARK     IL   60176
MATTHEW Z MATHEWS                               281 KINSEY AVE                                                                              KENMORE           NY   14217‐1801
MATTHEW ZIMMERMAN CUST ELIOTT ZIMMERMAN         3164 HALL ST SE                                                                             EAST GRAND RAPIDS MI   49506‐3171
UTMA MI
MATTHEW ZIMMERMAN CUST MAXFIELD ZIMMERMAN 3164 HALL ST SE                                                                                   EAST GRAND RAPIDS MI   49506‐3171
UTMA MI
MATTHEW ZIMMERMAN CUST QUINCY ZIMMERMAN         3164 HALL ST SE                                                                             EAST GRAND RAPIDS MI   49506‐3171
UTMA MI
MATTHIAS A SCHWABE CUST AMELIA J SCHWABE UTMA 1784 FAIRVIEW RD                                                                              GLENMOORE        PA    19343‐2624
PA
MATTHIAS A SCHWABE CUST ANNABELLA G SCHWABE 1784 FAIRVIEW RD                                                                                GLENMOORE        PA    19343‐2624
UTMA PA
MATTHIAS A SCHWABE CUST LILLY J SCHWABE UTMA PA 1784 FAIRVIEW RD                                                                            GLENMOORE        PA    19343‐2624

MATTHIAS BOEHMER                               WALDWEG 18                          RUESSELSHEIM                           GERMANY
MATTHIAS LAUX                                  8560 M 115                                                                                   CADILLAC         MI    49601‐8541
MATTHIAS M NEBEL                               KONRAD‐ADENAUER‐ALLEE 25            NAUHEIM                                64569 GERMANY
MATTHIAS MICHAEL NEBEL                         MATTHIAS M NEBEL                    KONRAD‐ADENAUER‐ALLEE 25   NAUHEIM     64569 GERMANY
MATTHIAS MICHAEL NEBEL                         KONRAD ADENAUER                     ALLEE 25                   NAUHEIM     64569 GERMANY
MATTHIAS SCHOLLMAIER                           ADAM OPEL TESTZENTRUM               DUDNHFEN AM OPL PRUFLD 2   RODGAU      GERMANY
MATTHIES EVANS III                             1001 PARKLAND RUN SE                                                                         SMYRNA           GA    30082‐4734
MATTIE A HALL                                  13198 FORDLINE                                                                               SOUTHGATE        MI    48195‐2435
MATTIE ANNETTE BLAKE                           1516 BARBARA DR                                                                              FLINT            MI    48505‐2550
MATTIE B FINLEY                                12413 REXFORD AVE                                                                            CLEVELAND        OH    44105‐2667
MATTIE B JORDAN                                1176 92 AVE                                                                                  OAKLAND          CA    94603‐1358
MATTIE B PAGE                                  9557 WOODLAND CT                                                                             BROWNSBURG       IN    46112‐8881
MATTIE BOYKIN                                  21641 KIPLING                                                                                OAK PARK         MI    48237‐3823
MATTIE C JONES                                 719 MESA LO                                                                                  SAN ANTONIO      TX    78258‐2618
MATTIE C MCDANIEL                              4029 RACE STREET                                                                             FLINT            MI    48504‐2237
MATTIE C WELLS                                 108 CEDAR LANE                                                                               CHANDLER         TX    75750‐7042
MATTIE CASH                                    1460 LINCOLNSHIRE DR                                                                         DETROIT          MI    48203‐1407
MATTIE CHANDLER                                1333 RONALD ST                                                                               VANDALIA         OH    45377
MATTIE CONNER                                  3742 W 70TH PLACE                                                                            CHICAGO          IL    60629
MATTIE COOK                                    4647 LUMLEY                                                                                  DETROIT          MI    48210‐2175
MATTIE D HOLLINGER                             1366 W 1150 S                                                                                KOKOMO           IN    46901‐7526
MATTIE D MILLER                                8680 HAZELTON ST                                                                             DEARBORN HTS     MI    48127‐1553
MATTIE E ROBINSON                              10121 EATON PK                                                                               NEW LEBANON      OH    45345‐9325
MATTIE I BOND                                  1207 SWEETBRIAR AVE                                                                          NASHVILLE        TN    37212‐5518
MATTIE J BAAKE                                 PO BOX 512                                                                                   TRILBY           FL    33593‐0512
MATTIE J LAMBERT                               275 W GRAND BLVD                    APT 311                                                  DETROIT          MI    48216‐1599
MATTIE J MOSS                                  3309 WARD DRIVE S E                                                                          ATLANTA          GA    30354‐2626
MATTIE L BACON                                 631 RANCH DRIVE                                                                              TOLEDO           OH    43607‐3131
MATTIE L BRIGHT                                180 WARDEN AVE                                                                               ELYRIA           OH    44035‐2558
MATTIE L COLEMAN                               6721 COLONIAL DR                                                                             FLINT            MI    48505‐5421
MATTIE L CURRY                                 1600 CHURCH RD APT D206                                                                      WYNCOTE          PA    19095‐1955
MATTIE L ESTES                                 33522 LEONA                                                                                  GARDEN CITY      MI    48135‐3052
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Name                                            Address1                              Address2             Address3          Address4          City            State Zip

MATTIE L PALMER                                 24617 STANFORD                                                                                 DEARBORN HEIGHTS MI   48125‐1614

MATTIE L SPEAKS                                 2409 OLD OAKS DR                                                                               DAYTON           OH   45431‐2409
MATTIE L THOMPSON                               3 HOLLAND COURT                                                                                SAGINAW          MI   48601‐2627
MATTIE LANCE FULLER                             329 VALLEY MILLS DR                                                                            ARLINGTON        TX   76018‐4001
MATTIE LOU PALMER                               24617 STANFORD                                                                                 DEARBORN HEIGHTS MI   48125‐1614

MATTIE M BRADLEY TR UA 03/09/95 MATTIE M        RR 317                                                                                         BETHEL          OH    45106
BRADLEY TRUST
MATTIE M COLE                                   6379 SHERMAN DR                                                                                LOCKPORT        NY    14094‐6517
MATTIE M HOLLIDAY                               16 OCTAVE COURT                                                                                NEWARK          DE    19713‐1915
MATTIE M NEVINS                                 213 SAINT IVES N                                                                               LANSING         MI    48906‐1528
MATTIE M PAYNE                                  2597 MYERS ROAD                                                                                SHELBY          OH    44875‐8619
MATTIE M ROBERSON                               PO BOX 93889                                                                                   PASADENA        CA    91109‐3889
MATTIE M SPENCER                                2217 SOUTHLAND ROAD                                                                            BALTIMORE       MD    21207‐6038
MATTIE M SPENCER                                2217 SOUTHLAND ROAD                                                                            GWYNN OAK       MD    21207
MATTIE M TAYLOR & GEORGE TAYLOR JT TEN          421 SOUTH JENISON                                                                              LANSING         MI    48915‐1131
MATTIE MAE SIMMONS                              905 TILTON AVE                                                                                 SAN MATEO       CA    94401‐1933
MATTIE O PHILLIPS                               459 B YOUGENE CURVE                                                                            MONTGOMERY      AL    36104‐4413
MATTIE P CALHOUN                                2307 WARWICK ST                                                                                SAGINAW         MI    48602‐3313
MATTIE P CARTER                                 2838 W HURON                                                                                   WATERFORD       MI    48328‐3630
MATTIE P POPE                                   5035 SEYBURN                                                                                   DETROIT         MI    48213‐2845
MATTIE S AMBURGEY                               905 WHITE PINE ST                                                                              NEW CARLISLE    OH    45344‐1128
MATTIE S ERWIN                                  1311 CARROLL STREET                                                                            SAGINAW         MI    48601‐1657
MATTIE W CHEEKS                                 2823 REVERE ST                                                                                 JACKSON         MS    39212‐2743
MATTIE WILLIAMS                                 9000 E JEFFERSON AVE                  APT 11‐11                                                DETROIT         MI    48214‐4196
MATTIE WILLIAMS                                 PO BOX 4157                                                                                    JACKSON         MI    49204‐4157
MAUD BRAND                                      MRS MAUD BRAND                        C/O JAMES BRAND      48 SINGWORTH ST                     OYSTER BAY      NY    11771
MAUD E WILLIAMS                                 608 N ORANGE ST                                                                                SELINSGROVE     PA    17827
MAUD HUNTER                                     4405 GALLATIN ROAD                                                                             NASHVILLE       TN    37216‐1707
MAUD MARIANNE WINICZAY & EVA PYLOTTE BALEK JT   1160 NEWCASTLE LANE                                                                            AURORA          IL    60506‐1987
TEN
MAUD PEARCE LITTLEWOOD                          1200 HARTDALE LANE                                                                             GLADWYNE        PA    19035‐1434
MAUD S LONDON                                   96 MELODY RD                                                                                   GRAMPIAN        PA    16838‐7932
MAUDE C STILLMAN                                614 STEWART ST                                                                                 MORGANTOWN      WV    26505‐3535
MAUDE DE MAAGD & BYRON DE MAAGD JT TEN          2623 COLTON DRIVE S E                                                                          GRAND RAPIDS    MI    49506‐4928
MAUDE E BOYD                                    827 S PARKER DR                       APT D                                                    FLORENCE        SC    29501‐6001
MAUDE E DAY                                     18 W MAIN ST                                                                                   BELLVILLE       TX    77418‐1440
MAUDE FAULKNER                                  105 WESTWOOD DR                                                                                WESTBURY        NY    11590‐5540
MAUDE J PEMBERTON                               4609 REAN MEADOW DR                                                                            KETTERING       OH    45440
MAUDE J TAYLOR                                  925 WELLMEIER AVE                                                                              DAYTON          OH    45410‐2908
MAUDE M BINSBACHER                              684 OAK AVENUE                                                                                 PEVELY          MO    63070‐2039
MAUDE M PRICE & CHARLES M TAYLOR & LINDA G      6120 RICHMONDVILLE ROAD                                                                        DECKERVILLE     MI    48427‐9613
TAYLOR JT TEN
MAUDE NEWLIN                                    320 CHURCH ST                                                                                  TRENTON         NJ    08618‐4635
MAUDE T DICKSON                                 181 CHEROKEE HILL                     RIDGE ROAD                                               PICKENS         SC    29671‐8617
MAUDE W RECTOR                                  161 MEGEE DRIVE LANE                                                                           COOKEVILLE      TN    38501‐9577
MAUDELL M FISHER                                214 S WESTGATE AVENUE                                                                          COLUMBUS        OH    43204‐1981
MAUDESS BILLINGSLEY                             75 BERESFORD                                                                                   HIGHLAND PARK   MI    48203‐3330
MAUDESTINE SMITH                                1001 KAMMER AVE                                                                                DAYTON          OH    45417‐1510
MAUDIE B JONES                                  25 SPARTAN DR                                                                                  ROCHESTER       NY    14609
MAUDIE BAUSWELL                                 721 W GENESEE                                                                                  FLINT           MI    48504‐2607
MAUDIE C MANSON                                 4718 AMESBOROUGH ROAD                                                                          DAYTON          OH    45420‐3352
MAUDIE HAYNESWORTH                              8760 STONERIDGE DR                                                                             MANASSAS        VA    20111‐1622
MAUDIE L GABBARD                                47 S WRIGHT AVE                                                                                DAYTON          OH    45403‐2249
MAUDIE L LOVE                                   20103 SANTA ROSA                                                                               DETROIT         MI    48221‐1242
MAUDIE M HASH                                   1017 N SHERMAN                                                                                 BAY CITY        MI    48708‐6066
MAUDIE P LEISS                                  1113 MANDEVILLE                                                                                BURTON          MI    48529‐1124
MAUDIE TATRO JR                                 4185 RECTON                                                                                    ROCKFORD        MI    49341‐9144
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Name                                              Address1                             Address2              Address3         Address4          City               State Zip

MAUK & CO A PARTNERSHIP                           7392 S MADISON CIR                                                                            LITTLETON          CO    80122‐1937
MAULIO M GONCALVES                                99 MOUNT PLEASANT ST                                                                          MILFORD            MA    01757‐3444
MAUMUS F CLAVERIE JR                              830 UNION ST 3RD FLOOR                                                                        NEW ORLEANS        LA    70112‐1405
MAURA B SINDEL                                    192 LUAKAHA CI                                                                                KIHEI              HI    96753
MAURA CHRISTINE RYAN                              3879 LOWELL BLVD                                                                              DENVER             CO    80211‐1954
MAURA J BARRON                                    49 LEITCH AVE                                                                                 SKANEATELES        NY    13152‐1221
MAURA K REGAN                                     7719 ROCTON AVENUE                                                                            CHEVY CHASE        MD    20815‐3915
MAURA L BAGOS                                     39720 PARKWOOD AV                                                                             STERLING HEIGHTS   MI    48313‐5805

MAURA LYNCH                                       218 N 24TH ST                                                                                 KENILWORTH         NJ    07033
MAURA M FITZPATRICK                               3527 70TH AVE WEST                                                                            UNIVERSITY PLACE   WA    98466‐5121

MAURCINE K REUSS TR UA /09/02/88 FBO MAURCINE K   691 S HILLS RD                                                                                BLOOMFIELD HILLS   MI    48302‐1526
REUSS
MAURECE V JOYNER                                  PO BOX 8661                                                                                   BOSSIER CITY       LA    71113‐8661
MAUREE A BUTLER                                   16 JOE NESTOR RD                                                                              EDGEWOOD           NM    87015‐8026
MAUREEN A BEATTIE                                 178 HOOVER DRIVE                                                                              ROCHESTER          NY    14615‐2604
MAUREEN A BLAKLEY & EDWARD E BLAKLEY JT TEN       5502 BUCKINGHAM COURT                                                                         CAMP SPRINGS       MD    20748‐4040

MAUREEN A BOYLE & MARVIN J BOYLE JT TEN           7722 PLEASANT MANOR DR                                                                        WATERFORD          MI    48327‐3683
MAUREEN A CAMPBELL                                9 LONG MEADOW LANE                                                                            BETHEL             CT    06801‐2612
MAUREEN A CAMPBELL                                274 HEMLOCK GROVE LN                 RR3                                                      WILLIAMSPORT       PA    17702‐8757
MAUREEN A ECKER                                   1234 PEBBLEBROOKE LN                 APT 105                                                  CHARLOTTESVLE      VA    22902‐7172
MAUREEN A HAERTERICH                              2019 BURBANK AVENUE                                                                           JANESVILLE         WI    53546‐5961
MAUREEN A KEENAN                                  2833 W GREENLEAF ST                                                                           ALLENTOWN          PA    18104‐3876
MAUREEN A KVAPIL                                  4707 SUMPTER DR                                                                               MILTON             WI    53563‐8420
MAUREEN A LAKE                                    ATTN MAUREEN A OTT                   510 LOCKESLEY COURT                                      EIGHTY FOUR        PA    15330‐2698
MAUREEN A MADDEN                                  385 BRUNSWICK RD                                                                              TROY               NY    12180‐7106
MAUREEN A OCONNOR                                 6101 HORIZON DR                                                                               EAST LANSING       MI    48823‐2238
MAUREEN A OMARA TR UA 4/4/75 ALOYSIUS B OMARA     3561 RENTZ RD                                                                                 ANN ARBOR          MI    48103
TRUST
MAUREEN A PERREAULT                               19 WINGATE DR                                                                                 ROCHESTER          NY    14624‐2643
MAUREEN A REIS                                    8210 E GEDDES AVE                                                                             ENGLEWOOD          CO    80112‐1879
MAUREEN A RIDER                                   278 DUPONT AVENUE                                                                             TONAWANDA          NY    14150‐7817
MAUREEN A SCHOETTELKOTTE                          7277 JETHVE LANE                                                                              MADEIRA            OH    45243‐2112
MAUREEN A TACKETT                                 3201 WINDSONG CT                                                                              ROCKFORD           IL    61114
MAUREEN A TINKER                                  12 DORCOT AVE                        SCARBOROUGH ON                         M1P 3K2 CANADA
MAUREEN A WARREN                                  1191 SUNVIEW DR                                                                               SAINT JOHNS        MI    48879‐2441
MAUREEN A WIELGUS                                 20 HARVEY AVE                                                                                 ROCHELLE PARK      NJ    07662‐3615
MAUREEN AGNELLO                                   ATTN MAUREEN BOWEN                   1902 BROOKCHESTER                                        KATY               TX    77450‐5909
MAUREEN AMAN                                      11851 HADLEY                                                                                  SHELBY TOWNSHIP    MI    48315‐5715

MAUREEN ANN FISHER                                48730 MILL BANK CT                                                                            SHELBY TOWNSHIP    MI    48315‐4303

MAUREEN ANN MACKIN                                2928 BILLY CASPER DR                                                                          LAS VEGAS          NV    89134‐8942
MAUREEN B DEGNAN                                  201 NIAGARA STREET                                                                            LOCKPORT           NY    14094‐2605
MAUREEN B DOWSON                                  14620 OLD SCUGOG RD BOX 245          BLACKSTOCK ON                          L0B 1B0 CANADA
MAUREEN B KIERNAN                                 21867 N PARK DR                                                                               FAIRVIEW PARK      OH    44126‐2329
MAUREEN B SHAUGHNESSY                             22 SAUMUR LN                                                                                  BELLINGHAM         MA    02019‐2840
MAUREEN BATTISTONI & GARY J BATTISTONI JT TEN     328 S EDGEWOOD ST                                                                             LOMBARD            IL    60148‐2818

MAUREEN BENICH                                    1019 LENKER DR                                                                                COLUMBUS           OH    43240
MAUREEN BENTLEY                                   161 WEST 16TH ST APT 8D                                                                       NEW YORK           NY    10011‐6204
MAUREEN BJELKA KOVACH & MARTIN W BJELKA EX EST    56 CLOVERDALE CIRCLE                                                                          TINTON FALLS       NJ    07724‐3155
MARTIN P BJELKA
MAUREEN BLAKENEY                                  654 EMERSON ST                                                                                WATERTOWN          NY    13601‐2810
MAUREEN BRADY                                     13470 PROCTOR RD                                                                              PHILADELPHIA       PA    19116‐1724
MAUREEN BURNS                                     39 MANOR AVE                                                                                  POMPTON PLAINS     NJ    07444‐1704
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Name                                             Address1                                Address2             Address3          Address4                City             State Zip

MAUREEN C BECHTOLD                               61 OBRIEN DR                                                                                           LOCKPORT         NY    14094‐5112
MAUREEN C COLESCOTT                              BOX 450                                                                                                MASHPEE          MA    02649‐0450
MAUREEN C DAMIANI                                3606 LAKE UNDERHILL RD                                                                                 ORLANDO          FL    32803‐6921
MAUREEN C GUCKIN                                 130 CLINTONVILLE ROAD                                                                                  NORTH HAVEN      CT    06473‐2408
MAUREEN C HERMAN                                 3271 NORTHDALE LN NW                                                                                   COON RAPIDS      MN    55448
MAUREEN C LAWLOR & JAMES J LAWLOR SR JT TEN      6314 MCGEE                                                                                             KANSAS CITY      MO    64113‐2302

MAUREEN C MINGLE                                 33 HOLTON LANE                                                                                         ESSEX FELLS      NJ    07021‐1708
MAUREEN C WALLACE                                4 PARKWAY DR                                                                                           NEW CITY         NY    10956‐1208
MAUREEN COURTNEY HARVEY                          22 CRESTVIEW DR                                                                                        SOMERS POINT     NJ    08244‐1612
MAUREEN CROSS                                    260 HIGHBROOK AVE                                                                                      PELHAM           NY    10803‐2205
MAUREEN CUNNINGHAM & ANN MARIE PIERCE JT TEN     190 ADRIENNE DR                                                                                        BAYSHORE         NY    11706‐2103

MAUREEN CURRAN                                 60‐58 84TH ST                                                                                            ELMHURST         NY    11373‐5421
MAUREEN D AUBE                                 76 ELKINS ST                                                                                             FRANKLIN         NH    03235‐1737
MAUREEN D BOND & PATRICIA V HURLEY JT TEN      10209 BRIAR                                                                                              OVERLAND PARK    KS    66207‐3438
MAUREEN D CHRISTIE                             2509 BURNING TREE                                                                                        KOKOMO           IN    46902‐3152
MAUREEN D FAIOLA CUST ANTHONY D FAIOLA UTMA PA 2727 HORSESHOE PIKE                                                                                      PALMYRA          PA    17078‐8949

MAUREEN D HULSE                                  119 RED OAK CT                                                                                         PORT JEFFERSON   NY    11777‐1905
MAUREEN D MELOCHE                                5 ZANES CRT                                                                                            REHOBOTH BCH     DE    19971
MAUREEN D O'DONNELL                              84‐39 153 AVENUE APT 3J                                                                                HOWARD BEACH     NY    11414‐1950
MAUREEN D THOMPSON                               4724 FAIRWAY AV                                                                                        VIRGINIA BEACH   VA    23462‐6402
MAUREEN D TUCKER & JOSEPH W TUCKER JT TEN        26 LAZY DAISY DR                                                                                       BLUFFTON         SC    29909‐5098
MAUREEN DENNEHY HAGGIN                           109 NOB HILL DR                         APT 9                                                          RUIDOSO          NM    88345‐6095
MAUREEN DOLAN                                    4F LOGANLEE TERRACE                     DUNDEE                                 DD2 2DA GREAT BRITAIN
MAUREEN DRAY & DONALD M DRAY JT TEN              39 HARDING AVE                                                                                         N ARLINGTON      NJ    07031
MAUREEN E BELLIVEAU                              21 VALLEY RUN DRIVE                                                                                    SEWELL           NJ    08080‐1824
MAUREEN E BURNS                                  7342 W 83RD ST                                                                                         LOS ANGELES      CA    90045‐2452
MAUREEN E COLLINS                                16 ARCADIA RD                                                                                          ANDOVER          MA    01810‐4817
MAUREEN E CRAUGH                                 13350 VIA ROMA CIR                                                                                     CLERMONT         FL    34711‐5302
MAUREEN E DYKES                                  46 PLAINS RD                                                                                           HONEOYE FALLS    NY    14472‐9007
MAUREEN E FOY                                    2700 WILL CREST DR                                                                                     INDIANAPOLIS     IN    46228‐3000
MAUREEN E HERR & DAVID C HERR JT TEN             20 RIDGEMOOR DR                                                                                        CLAYTON          MO    63105‐3038
MAUREEN E KINNEY                                 1625 BEECH ST                                                                                          CHESWICK         PA    15024‐1507
MAUREEN E LAMBE                                  196 HIGHLAND RD                                                                                        GREENVILLE       NY    12083‐3822
MAUREEN E LEACH                                  6577 MOUNT FOREST DR                                                                                   SAN JOSE         CA    95120‐1928
MAUREEN E MILLS                                  6697 PIPER LN                                                                                          LOCKPORT         NY    14094
MAUREEN E MINADEO                                1930 KING JAMES PKWY                    APT 305                                                        WESTLAKE         OH    44145‐3436
MAUREEN E NETHERLAND                             8275 WOODVIEW                                                                                          CLARKSTON        MI    48348‐4061
MAUREEN E SCHAEFER                               1479 MAGELLAN CIRCLE                                                                                   ORLANDO          FL    32818
MAUREEN E WESLEY                                 1802 TYBURN LN                                                                                         PITTSBURGH       PA    15241‐2643
MAUREEN E WINSOR                                 C/O TOMLINS                             8 ROBIN CIR APT 6                                              NORTON           MA    02766‐2240
MAUREEN ELIZABETH HALL                           9519 ROCKSPRINGS ST                                                                                    SAN ANTONIO      TX    78251‐4929
MAUREEN F ADAMS                                  162 WESTWOOD DR                                                                                        NAPLES           FL    34110‐1140
MAUREEN F ERWIN                                  32 CAMP ST                                                                                             CAMBRIDGE        MA    02140‐1104
MAUREEN F HARMON                                 7130 FLEMING RD                                                                                        NEW CHURCH       VA    23415‐2443
MAUREEN F MC CARTHY                              1005 CALIFORNIA PL                                                                                     ISLAND PARK      NY    11558‐1901
MAUREEN F MOORE                                  2662 W CASHION DR                                                                                      BALDWIN          MI    49304‐9400
MAUREEN F SCHUSTER & RICHARD F SCHUSTER JT TEN   2059 SAN MARCO RD                                                                                      MARCO ISLAND     FL    34145‐6710

MAUREEN F VERZELLA                               1810 23RD AVE                                                                                          ALTOONA          PA    16601‐2545
MAUREEN FARRELL                                  37 COLONIAL DR                                                                                         TILLSON          NY    12486‐1010
MAUREEN FAYE MOORE                               2662 W CASHION DR                                                                                      BALDWIN          MI    49304‐9400
MAUREEN G HAYES                                  1228 STUYVESSANT RD                                                                                    BLOOMFIELD       MI    48301‐2141
MAUREEN G KOBACK                                 427 N MAIN ST                                                                                          WOONSOCKET       RI    02895‐1133
MAUREEN G MOBLEY                                 1068 IRWIN DR                                                                                          WATERFORD        MI    48327‐2017
MAUREEN G O'MALLEY & BRIAN M O'MALLEY JT TEN     1200 MAGNOLIA AVE                                                                                      SEA GIRT         NJ    08750‐2416
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Name                                           Address1                              Address2               Address3        Address4                City               State Zip

MAUREEN GIBBONS                                10940 S SPRINGFIELD AVE                                                                              CHICAGO            IL    60655‐4022
MAUREEN GILCHRIST                              981 TARRANT DRIVE                                                                                    FONTANA            WI    53125‐1336
MAUREEN GODFREY                                9163 MEADOW LANE                                                                                     ANGOLA             NY    14006‐9668
MAUREEN GOLDSMITH‐FONG & CONRAD FONG JT TEN    1310 38TH AVE                                                                                        SAN FRANCISCO      CA    94122‐1337

MAUREEN GOLEY                                  10022 COTTON FARM RD                                                                                 FAIRFAX            VA    22032
MAUREEN GREENWAY                               321 HERITAGE LANE                                                                                    OTTAWA             IL    61350‐4704
MAUREEN H BURKE                                412 N GLENGARRY                                                                                      BLOOMFIELD         MI    48301‐2716
MAUREEN H SCHROFF                              8514 HERON POND LANE                                                                                 FAIRFAX STATION    VA    22039‐3316
MAUREEN H WINGFIELD                            1485 SNOW CREEK RD                                                                                   MARTINSVILLE       VA    24112‐8530
MAUREEN HAEFFNER CUST MATTHEW WILLIAM          124 GARDEN ST                                                                                        GARDEN CITY        NY    11530‐6528
HAEFFNER UGMA NY
MAUREEN HANNON                                 318 ACADEMY ST                                                                                       WILKES BARRE       PA    18702‐2332
MAUREEN HARRISON                               350 MERRICK RD APT 3W                                                                                ROCKVILLE CTR      NY    11570
MAUREEN HART                                   7 1/2 PLEASANT ST                                                                                    SALEM              MA    01970‐3823
MAUREEN INGRASSIA                              51 VERMONT AVE                                                                                       NORTH BABYLON      NY    11704‐3314
MAUREEN J COE                                  #147                                  2700 SHIMMONS RD                                               AUBURN HILLS       MI    48326‐2048
MAUREEN J GLEMBOSKI                            6966 DEAR COVE DRIVE                                                                                 CALEDONIA          MI    49316‐7758
MAUREEN J GOODMAN                              3301 WALNUT CREEK N DRIVE                                                                            CARMEL             IN    46032‐9038
MAUREEN J HICKEY                               1831 PROSSER AVE #212                                                                                LOS ANGELES        CA    90025‐4894
MAUREEN J JULIAN                               87 SOUTH HILLSIDE AVE                                                                                SUCCASUNNA         NJ    07876‐1206
MAUREEN J MURRAY                               28W322 HILLVIEW AVENUE                                                                               WEST CHICAGO       IL    60185‐3007
MAUREEN J SMITH & WILLIAM R SMITH JT TEN       8358 WINNESK CT                                                                                      BRIGHTON           MI    48114‐8762
MAUREEN J WOJCIECHOWSKI                        3064 WARRINGTON DR                                                                                   STERLING HEIGHTS   MI    48310‐2466

MAUREEN J WOJCIECHOWSKI & ROBERT D             3064 WARRINGTON DRIVE                                                                                STERLING HEIGHTS   MI    48310‐2466
WOJCIECHOWSKI JT TEN
MAUREEN JOHNETTE SHERIDAN                      4072 WICHITA WAY                                                                                     WHEATLAND          CA    95692‐9783
MAUREEN JOHNSON                                6013 MAPLE HILL DRIVE                                                                                CASTALIA           OH    44824‐9344
MAUREEN K BRUNER                               2318 BRECKEN RIDGE COURT                                                                             BERTHOUD           CO    80513‐7008
MAUREEN K MADELUNG                             1229 SILVER PINE DR                                                                                  HOFFMAN ESTATES    IL    60010‐5877

MAUREEN K MC CULLOUGH                          1200 N NASH STREET APT 230                                                                           ARLINGTON          VA    22209‐3626
MAUREEN K PIERCE                               841 ELBOW LN                                                                                         WARRINGTON         PA    18976‐2025
MAUREEN K WARSINSKE                            2440 IDLEWILD DR                                                                                     SPRINGFIELD        IL    62704‐5404
MAUREEN KAEHLER & CAROL HUBER JT TEN           202 PANDOLFI AVE                                                                                     SECAUCUS           NJ    07094
MAUREEN KALMAN                                 152 DERR DRIVE                                                                                       COLLEGEVILLE       PA    19426‐2638
MAUREEN KANE                                   ATTN MAUREEN KUREC                    7346 HUNTING LAKE DR                                           CONCORD            OH    44077‐8914
MAUREEN KAY GARNER                             546 N HOWARD AVE                                                                                     ELMHURST           IL    60126‐2025
MAUREEN KAY SARTOR                             10981 BISHOP RD                                                                                      DIMONDALE          MI    48821‐8736
MAUREEN KENNARY WATKINS                        1111 GLEN CANNON DR                                                                                  PISGAH FOREST      NC    28768‐8946
MAUREEN KOLPAK                                 586 MAPLE HILL AVE                                                                                   NEWINGTON          CT    06111‐3618
MAUREEN KUREC & HARRY J KUREC JT TEN           7346 HUNTING LAKE DR                                                                                 PAINESVILLE        OH    44077
MAUREEN L HRON                                 BEDFORD AVE UPPER BAY ST              SAINT MICHAEL                          BARBADOS
MAUREEN L HRON & MRS CATHERINE BURKE JT TEN    BEDFORD AVE                           BAY STREET             ST MICHAEL      BARBADOES WEST INDIES
                                                                                                                            BARBADOS
MAUREEN L KUBIK                                11 PLANTATION DR                      APT 206                                                        VERO BEACH         FL    32966‐8270
MAUREEN L LOOMER & LANCE LOOMER JT TEN         1004 SOMERSET CT                                                                                     TRENT WOODS        NC    28562‐4537
MAUREEN L MCKINNON & CHRISTIAN K MCKINNON JT   724 STOW RD                                                                                          MARLBOROUGH        MA    01752‐6524
TEN
MAUREEN L MCKINNON & RAYMOND K MCKINNON JT     724 STOW RD                                                                                          MARLBORO           MA    01752‐6524
TEN
MAUREEN L MELILLO                              2801 DENTON TAP RD APT 315                                                                           LEWISVILLE         TX    75067‐8157
MAUREEN L MULLALY                              4392 ESTA DR                                                                                         FLINT              MI    48506‐1473
MAUREEN L TROJAN                               10420 CALIBOUGE DRIVE                                                                                FISHERS            IN    46038‐8723
MAUREEN LEARY ENGEBRETSON                      4712 GREEN RIVER CT                                                                                  MARIETTA           GA    30068‐4869
MAUREEN LENNON                                 375 MILL RD                                                                                          HEWLETT            NY    11557‐1220
MAUREEN LEWIS & ADAM LEWIS JT TEN              6570 CAMINO VENTUROSO                                                                                GOLETA             CA    93117‐1527
MAUREEN LODGE                                  100 COLD SPRING RD                    APT A107                                                       ROCKY HILL         CT    06067‐3114
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MAUREEN LOUISE MILLER                            1536 DOVER HL S                                                                               WALLED LAKE     MI     48390‐3123
MAUREEN LUBBEN & JAMES LUBBEN JT TEN             60 GLEN RD                           APT 111                                                  BROOKLINE       MA     02445‐7731
MAUREEN LYNCH HARRIGAN                           43 VAUGHN HILL RD                                                                             BOLTON          MA     01740‐1050
MAUREEN M ARCHER                                 12855 W ALYSSA LN                                                                             PEORIA          AZ     85383‐3952
MAUREEN M BIELEFELD                              9705 HEATHERSTONE RIVER CT           UNIT 2                                                   ESTERO          FL     33928‐3072
MAUREEN M GOVEIA                                 1112 PINE RD                                                                                  MANASQUAN       NJ     08736‐2031
MAUREEN M MOSKAL                                 2310 BLUEBIRD LN                                                                              ROLLING MEADOWS IL     60008‐1516

MAUREEN M PIRSO                                  120 SNOWBRIDGE WAY RR #3             COLLINGWOOD ON                         L9Y 3Z2 CANADA
MAUREEN M ROWLAND                                5260 SABRINA LANE                                                                             WARREN           OH    44483‐1282
MAUREEN M SANZ                                   70 CENTRAL AVE                                                                                DEMAREST         NJ    07627‐1711
MAUREEN M STERLING                               397 BURROUGHS DR                                                                              SNYDER           NY    14226‐3912
MAUREEN M VENDITTI & JOHN J VENDITTI JT TEN      3325 SHEFFIELD AVE                                                                            PHILADELPHIA     PA    19136
MAUREEN M WILSON & GREGORY J HJELLE & ERIC F     14179 BOURNEMUTH                                                                              SHELBY TWP       MI    48315
HJELLE JT TEN
MAUREEN MAGNUSON                                 32450 CAMPO DR                                                                                TEMECULA         CA    92592‐6600
MAUREEN MARGARET WEHRFRITZ                       7 WELLINGTON ROAD                                                                             LIVINGSTON       NJ    07039‐4320
MAUREEN MASON                                    654 EMERSON ST                                                                                WATERTOWN        NY    13601‐2810
MAUREEN MC CABE                                  20498 ABRAHM                                                                                  CLINTON TWP      MI    48035‐3434
MAUREEN MC KAY                                   4380 SEBRING DR                                                                               WHITE LAKE       MI    48383‐1383
MAUREEN MCGARRY                                  15956 COG HILL DR                                                                             NORTHVILLE       MI    48167‐8624
MAUREEN MCSWEENEY                                13905 CLIFTON BLVD                                                                            LAKEWOOD         OH    44107‐1462
MAUREEN MURPHY CUST ALEXANDER MURPHY             2620 JENNIFER HOPE BLVD                                                                       LONGWOOD         FL    32779‐4722
AMORELLO UTMA NY
MAUREEN MURPHY CUST CASEY E STUART UTMA NY       2620 JENNIFER HOPE BLVD                                                                       LONGWOOD         FL    32779‐4722

MAUREEN MURPHY CUST KIERA ANN STUART UTMA NY 2620 JENNIFER HOPE BLVD                                                                           LONGWOOD         FL    32779‐4722

MAUREEN MURPHY CUST RAINE STUART UTMA NY       2620 JENNIFER HOPE BLVD                                                                         LONGWOOD         FL    32779‐4722
MAUREEN MURPHY CUST SEAN STUART UTMA NY        2620 JENNIFER HOPE BLVD                                                                         LONGWOOD         FL    32779‐4722
MAUREEN MUSCARELLO                             9115 S RIDGELAND AVE                                                                            OAK LAWN         IL    60453
MAUREEN N SCHNEGG                              90 WINSTEAD RD                                                                                  ROCHESTER        NY    14609‐7721
MAUREEN NARDONE                                487 COLLEGE AVE                                                                                 NIAGARA FALLS    NY    14305‐1525
MAUREEN O GALLOGLY & RAYMOND J GALLOGLY JT TEN 31 BOURBON PLACE                                                                                WARWICK          RI    02888‐1301

MAUREEN O NADEAU                                 RFD 2 396 MEADOW RD                                                                           FARMINGTON       CT    06032‐2721
MAUREEN O'HEARN LEY                              850 VERNIS DR                                                                                 BEAVERCREEK      OH    45434‐6151
MAUREEN P ALTENO                                 1926 BRANDON AVE                                                                              YOUNGSTOWN       OH    44514‐1207
MAUREEN P GRADY TR MAUREEN P GRADY TRUST UA      4140 MEADOW WAY                                                                               BLOOMFIELD TWP   MI    48301‐1214
02/06/97
MAUREEN P MC GUIRE                               41 GRANDVIEW AVE                                                                              SPRING VALLEY    NY    10977‐1606
MAUREEN P MC KEON                                10926 MIDDLEGATE DR                                                                           FAIRFAX          VA    22032‐3018
MAUREEN P QUINLAN & PATRICIA J QUINLAN JT TEN    99 HILLVIEW AVE                                                                               YONKERS          NY    10704‐3545

MAUREEN P SHANAHAN                               4112 AMELIA DR                                                                                FREDERICKSBURG   VA    22408‐5508
MAUREEN QUINN‐MC CABE & DANIEL MC CABE JT TEN    PO BOX 1634                                                                                   ARBOLES          CO    81121‐1634

MAUREEN R KELLY                                  PO BOX 302                                                                                    MARSHALLS CRK    PA    18335
MAUREEN RAMONA MC CAFFERY                        30 LINCOLN ST                                                                                 LARCHMONT        NY    10538‐2706
MAUREEN REEDY                                    123 CAYUGA ST                                                                                 TRUMANSBURG      NY    14886‐9182
MAUREEN RIXEN                                    6494 14TH AVE                                                                                 LUCERNE          CA    95458‐8528
MAUREEN ROGAN                                    1336 BABLON DRIVE                                                                             WHITE LAKE       MI    48386‐3975
MAUREEN ROWAN & JOHN ROWAN JT TEN                9617 S HARDING                                                                                EVERGREEN PARK   IL    60805‐2919
MAUREEN S ARROWSMITH                             45182 W PARK DR                      APT 21                                                   NOVI             MI    48377‐1301
MAUREEN S CONNORS & FRANCIS X K CONNORS JT TEN   8102 ASHFORD CT                                                                               SPRINGFIELD      VA    22152‐3359

MAUREEN S DECKER                                 2002 SYBIL LN                                                                                 TYLER            TX    75703‐1818
MAUREEN S PLUMMER                                2206 LUKEWOOD DR                                                                              GWYNN OAK        MD    21207‐5309
MAUREEN SCHWAB                                   360 MOUNT VERNON ROAD                                                                         SNYDER           NY    14226‐4619
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MAUREEN SCOTT CUST DANIELLE LIPMAN UGMA NY     93 40 QUEENS BLVD                                                                                REGO PARK      NY    11374

MAUREEN SHIFLET                                4722 LOLLY DRIVE                                                                                 MONROEVILLE    PA    15146
MAUREEN SMITH                                  9 REVER DR                                                                                       FLORHAM PARK   NJ    07932‐2208
MAUREEN SONIA KELLEY                           15 HAWTHORNE AVE                                                                                 AUBURNDALE     MA    02466‐2805
MAUREEN SUE BURDICK                            549 ROLLING GREEN DR                                                                             GREENBAY       WI    54313‐5144
MAUREEN T 0'NEILL‐SACHER                       49 STANFORD DR                                                                                   HAZLET         NJ    07730
MAUREEN T FOLEY                                ATT MAUREEN T PAGLUISO                  95 GREAT RING RD                                         SANDY HOOK     CT    06482‐1605
MAUREEN T GERHARD                              337 SOUTH WAYNE ST REAR                                                                          ORIGSBURG      PA    17961‐2309
MAUREEN T MC KERNAN                            21221 SUNNYVIEW                                                                                  MT CLEMENS     MI    48035‐5211
MAUREEN TEEHAN FORAN                           6 BLACKBERRY HILL RD                                                                             KATONAH        NY    10536
MAUREEN TOBIN                                  28 DEFOREST AVE                                                                                  WEST ISLIP     NY    11795‐4512
MAUREEN TROAST & GARY TROAST JT TEN            130 ARISTOTLE WA                                                                                 EAST WINDSOR   NJ    08512‐2538
MAUREEN V HARDER                               18038 BREEZEWAY                                                                                  FRASER         MI    48026‐2485
MAUREEN V LENNOX                               PO BOX 236                                                                                       GREENBUSH      MI    48738
MAUREEN WAGNER                                 50 WEST 2ND ST                                                                                   PATCHOGUE      NY    11772
MAUREEN WEISS CUST RANDY WEISS U/THE PA        80 TITUS AVE                                                                                     RICHBORO       PA    18954‐1523
UNIFORM GIFTS TO MINORS ACT
MAUREEN Y CLEVENGER                            4731 E STANTON RD                                                                                STANTON        MI    48888‐9578
MAUREL W WALKER                                1707 TIMBERLANE DR                                                                               FLINT          MI    48507‐1408
MAURENE E ROBINSON                             803 LESTER HARRIS ROAD                                                                           JOHNSON CITY   TN    37601‐3433
MAURENE L MAUVEZIN                             33192 MESA VISTA DR                                                                              DANA POINT     CA    92629‐1111
MAURERTOWN BRETHREN CHURCH                     ATTN HAROLD HOFFMAN                     ROUTE #2                                                 WOODSTOCK      VA    22664‐9802
MAURERTOWN BRETHREN CHURCH CEMETARY            25188 OLD VALLEY PIKE                                                                            MAURERTOWN     VA    22644‐2530
MAUREVE T GOLDHAMER                            1 SARATOGA CT                                                                                    BEACHWOOD      OH    44122‐7550
MAURICA G STOCKER                              4106 GREENBROOK LN                                                                               FLINT          MI    48507‐2265
MAURICE A BAUMANN                              134 WESTGATE DRIVE                      WESTGATE FARMS                                           WILMINGTON     DE    19808‐1442
MAURICE A GORDON                               1421 COUNTY RD 2900 N                                                                            RANTOUL        IL    61866‐9714
MAURICE A GRIGSBY                              6123 HADELY                                                                                      RAYTOWN        MO    64133‐4109
MAURICE A IRISH JR                             49097 BURSLEY RD                                                                                 WELLINGTON     OH    44090‐9250
MAURICE A MARTIN                               RR 6 MILES ROAD                                                                                  JANESVILLE     WI    53545‐9806
MAURICE A MUKALLA                              2007 LAUREL DR                                                                                   TROY           MI    48098‐3820
MAURICE A MUKALLA & CLAUDETTE J MUKALLA &      2007 LAUREL DRIVE                                                                                TROY           MI    48085‐3820
DORIS M MUKALLA JT TEN
MAURICE A PAQUETTE                             210 CAROLINE PL                                                                                  MCCORMICK      SC    29835‐3448
MAURICE A PERKINS                              15834 PLAINVIEW                                                                                  DETROIT        MI    48223‐1235
MAURICE A THERIOT JR                           7009 KAWANEE AVE                                                                                 METAIRIE       LA    70003‐3149
MAURICE A THEW                                 19 THE COMMONS                          3516 SILVERSIDE ROAD                                     WILMINGTON     DE    19810‐4932
MAURICE A THOMAS                               3159 OZMER LNDG                                                                                  DECATUR        GA    30034‐4789
MAURICE A WHEELER                              1103 ELM ST                                                                                      BAY CITY       MI    48706‐4006
MAURICE B COHILL JR                            803 U S COURTHOUSE                                                                               PITTSBURGH     PA    15219‐2400
MAURICE B MORTON                               3535 KAREN PKWY                         APT 304                                                  WATERFORD      MI    48328‐4612
MAURICE BASS                                   6116 KIMBALL                                                                                     KANSAS CITY    KS    66104‐1936
MAURICE BELISLE                                998 COUNTY RD 31 PO BOX 165             ST JOACHIM ON                          N0R 1S0 CANADA
MAURICE BENEVANT CUST RICHARD BENEVANT UGMA    71 LANGDON PLACE                                                                                 LYNBROOK       NY    11563‐2415
NY
MAURICE BONDS                                  139 PINGREE AVE                                                                                  PONTIAC        MI    48342‐1174
MAURICE BORDELL                                623 GENESEE ST                          PO BOX 546                                               CHITTENANGO    NY    13037‐0546
MAURICE C FELLING                              514 SEQUOIA                                                                                      DAVISON        MI    48423‐1960
MAURICE C HENRICKS                             405 MAGNOLIA DRIVE                                                                               KOKOMO         IN    46901‐5085
MAURICE C HENRICKS & JANET B HENRICKS JT TEN   405 MAGNOLIA DR                                                                                  KOKOMO         IN    46901‐5085

MAURICE C HURD & MARIE P HURD JT TEN           22 BIBLE HILL RD                                                                                 CLAREMONT      NH    03743
MAURICE C JEFFERSON JR                         16361 HAMPDEN PL                                                                                 FLORISSANT     MO    63034
MAURICE C MYERS                                14392 S CODY ST                                                                                  OLATHE         KS    66062‐8100
MAURICE C SWAIM                                635 RAINBOW DR                                                                                   MILTON         WI    53563‐1647
MAURICE COTTON                                 23041 RAVEN AVE                                                                                  EASTPOINTE     MI    48021‐2040
MAURICE D BOOTH                                7366 YORKSHIRE BLVD                                                                              INDIANAPOLIS   IN    46229‐3294
MAURICE D BRITT                                14220 LONGVIEW                                                                                   DETROIT        MI    48213‐1920
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MAURICE D HALL                                    1030 MOHEGAN LANE                                                                             WATERFORD         MI    48328‐4247
MAURICE D HENNESSEE                               8488 WEBSTER RD                                                                               CLIO              MI    48420‐8553
MAURICE D HOLBERT & SHARON HOLBERT JT TEN         PO BOX 4630                                                                                   PAGE              AZ    86040‐4630
MAURICE D LANCE                                   PO BOX 70982                                                                                  RENO              NV    89570‐0982
MAURICE D OPPENHEIMER & ESTA G OPPENHEIMER JT     11684 VENTURA BLVD APT976                                                                     STUDIO CITY       CA    91604
TEN
MAURICE D SMITH                                   2159 BURNSIDE                                                                                 NORTH BRANCH      MI    48461‐9716
MAURICE DENNIS                                    525 BOWIE DRIVE                                                                               DAYTON            OH    45408‐1102
MAURICE DILLINGHAM LANGLEY                        1384 JOLSON AVE                                                                               BURTON            MI    48529‐2026
                                                                                                                                                SOUTHEAST
MAURICE DOWELL                                    5736 EAST NESTEL ROAD                                                                         SAINT HELEN       MI    48656‐9568
MAURICE DUANE REIF                                6413 E JUDDVILE ROAD                                                                          CORUNNA           MI    48817‐9714
MAURICE DUDLEY SMITH                              735 OLD TIMERS ROAD                                                                           ORANGE            TX    77630‐5466
MAURICE DWAYNE MOUNT                              6297 WESTDALE                                                                                 GRAND BLANC       MI    48439‐8531
MAURICE E BERUBE                                  84 VINEYARD ST                                                                                WOONSOCKET        RI    02895‐4869
MAURICE E CHATFIELD                               23323 WESTCHESTER DR                                                                          NORTH OLMSTED     OH    44070‐1427
MAURICE E EICHHORN                                8 WOODDRUFF WAY                                                                               COLUMBIA          NJ    07832‐2645
MAURICE E FASIG                                   13874 N RIDGELAWN RD                                                                          MARTINSVILLE      IL    62442‐2512
MAURICE E FERGUSON                                11197 HORTON RD                                                                               HOLLY             MI    48442‐8405
MAURICE E HAAS                                    1710 ONEIDA CRT                      WINDSOR ON                             N8Y 1S8 CANADA
MAURICE E LAMAR                                   14239 RIVERVIEW                                                                               DETROIT           MI    48223‐2414
MAURICE E MCMURRAY                                17127 FAIRFIELD                                                                               DETROIT           MI    48221‐3021
MAURICE E NASON                                   1116 CRESTVIEW DRIVE                                                                          NORTH AUGUSTA     SC    29841‐3369
MAURICE E SAUNDERS                                3904 N 111TH ST                                                                               KANSAS CITY       KS    66109‐3558
MAURICE E STONE CUST KERI M STONE UTMA GA         243 THOMAS DR                                                                                 EATONTON          GA    31024‐6816
MAURICE E WEED                                    18260 OHARA                                                                                   HEMLOCK           MI    48626‐9613
MAURICE E WELLS                                   PO BOX 155                                                                                    ARY               KY    41712‐0155
MAURICE E WHARTON                                 200 E WEIMAR CROSS RD                                                                         COLFAX            CA    95713‐9726
MAURICE E WILSON                                  16446 SHARON DRIVE                                                                            FENTON            MI    48430‐9016
MAURICE E WILSON & DORIS R WILSON JT TEN          16446 SHARON DR                                                                               FENTON            MI    48430‐9016
MAURICE E WIMMERS JR                              931 MARK AVENUE                                                                               HAMILTON          OH    45013‐1783
MAURICE EDWARD OELKLAUS                           433 EAST MINOR DRIVE APT 101                                                                  KANSAS CITY       MO    64131‐3662
MAURICE ELDON KELLER                              210 SEQUOIA                                                                                   DAVISON           MI    48423‐1930
MAURICE ELLIS & MRS RUTH ELLIS JT TEN             66 DINSMORE AVENUE                   APT 404                                                  FRAMINGHAM        MA    01702‐6057
MAURICE F ANDREWS                                 1120 N EVERETT RD                                                                             HARRISVILLE       MI    48740‐9747
MAURICE F DIETERICH                               53110 SHERWOOD LANE                                                                           SHELBY TOWNSHIP   MI    48315‐2040

MAURICE F DIETERICH & DIANNE R DIETERICH JT TEN   53110 SHERWOOD LANE                                                                           SHELBY TOWNSHIP   MI    48315‐2040

MAURICE F DUNNE III                               40 CALVIN RD                                                                                  WELLESLEY HLS     MA    02481‐4809
MAURICE F KUDIBA JR                               160 AMSTERDAM                                                                                 TONAWANDA         NY    14150‐5458
MAURICE F MOODY                                   108 CHERRY ST                                                                                 TUNNEL HILL       GA    30755
MAURICE F TAYLOR                                  5880 REED ST                                                                                  DEFORD            MI    48729‐9651
MAURICE FISCHMAN & HILDA K FISCHMAN JT TEN        2409 YORKSHIRE DR                                                                             SARASOTA          FL    34231‐4953
MAURICE G BRYANT & MARY E BRYANT JT TEN           3226 S STATE RD #75                                                                           COATESVILLE       IN    46121‐9107
MAURICE G HART                                    8651 W MT HOPE HWY                                                                            GRAND LEDGE       MI    48837‐9467
MAURICE G LADER TR MAURICE G LADER TRUST UA       27500 CEDAR RD 801                                                                            CLEVELAND         OH    44122‐1153
09/08/92
MAURICE GELUS                                     117 MARGUERITE AVE                                                                            ELMONT            NY    11003
MAURICE GOLDMAN & MAY GOLDMAN JT TEN              11467 TELLURIDE TRL                                                                           MINNETONKA        MN    55305‐2961
MAURICE GUILLERMAN                                75293 RIVER RD                                                                                COVINGTON         LA    70435‐2227
MAURICE H BRICKER                                 53466 FOX CHASE                                                                               BRISTOL           IN    46507‐9600
MAURICE H FREEMAN                                 BOX 376                                                                                       TOWNVILLE         SC    29689‐0376
MAURICE H FREEMAN & BRENDA M FREEMAN JT TEN       PO BOX 376                                                                                    TOWNVILLE         SC    29689‐0376

MAURICE H JEFFERS                                 5318 SENOUR DR                                                                                WEST CHESTER      OH    45069‐1150
MAURICE H JEFFERS & ANN V JEFFERS JT TEN          5318 SENOUR DR                                                                                WEST CHESTER      OH    45069‐1150
MAURICE H MARSH                                   3301 COLONIAL DRIVE                                                                           BOSSIER CITY      LA    71111‐8181
MAURICE H MILSTED                                 2135 S E MINTER BRIDGE RD                                                                     HILLSBORO         OR    97123‐5103
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MAURICE H PATERIK                                15946 S PARK AVE                                                                                 SOUTH HOLLAND   IL    60473‐1507
MAURICE H POTTER                                 BOX 90                                                                                           ST REGIS FALL   NY    12980‐0090
MAURICE H ROWELL JR                              3129 RYECROFT RD                                                                                 BIRMINGHAM      AL    35223‐2715
MAURICE H STOHLER & MRS FRANCES N STOHLER JT     1610 CHIPPEWA TRL                                                                                MAITLAND        FL    32751‐3855
TEN
MAURICE HARLAN PAULSON                           880 WHITNEY DR                                                                                   APPLE VALLEY    MN    55124‐9185
MAURICE I HALL                                   225 PLEASANT VALLEY RD                                                                           THOMPSONVILLE   IL    62890‐2021
MAURICE J BALMA & SARAH M BALMA JT TEN           PO BOX 88                                                                                        OCEANSIDE       CA    92049‐0088
MAURICE J BARTON                                 1815 VERA PL #9                                                                                  SARASOTA        FL    34235‐9018
MAURICE J BELANGER & LUCILLE M BELANGER JT TEN   4590 W BURT LAKE RD                                                                              BRUTUS          MI    49716‐9507

MAURICE J CLIFTON                                1231 MILL CREEK RD                                                                               FLINT           MI    48532‐2348
MAURICE J DANIELS                                8443 REDFIR                                                                                      ST LOUIS        MO    63134‐1430
MAURICE J DANIELS & EMMA A DANIELS JT TEN        8443 REDFIR                                                                                      ST LOUIS        MO    63134‐1430
MAURICE J DELCOURT & GLORIA J DELCOURT JT TEN    34624 33 MILE RD                                                                                 RICHMOND        MI    48062

MAURICE J DONOVAN JR                          426 BURNS LANE                                                                                      NEWTOWN         PA    18940‐1601
MAURICE J DUBEAU                              151 LAKE SHORE DR                                                                                   BLACKSTONE      MA    01504‐1402
MAURICE J DUBOIS                              7 CAROLINA DRIVE                                                                                    PEDRICKTOWN     NJ    08067‐3305
MAURICE J GARDNER                             1776 AVE E ST #B2                                                                                   ELWOOD          IN    46036‐3208
MAURICE J HEALY                               777 HUNTCLUB BLVD                                                                                   AUBURN HILLS    MI    48326‐3682
MAURICE J HYATT                               122 WARREN AVE                                                                                      E TAWOS         MI    48730‐9755
MAURICE J KEEGAN                              258 SOMERSET RD                                                                                     DEPTFORD        NJ    08096‐6010
MAURICE J LECUYER                             724 FORESTBROOK RD                                                                                  MYRTLE BEACH    SC    29579‐7966
MAURICE J NEWMAN                              11515 BALDWIN RD                                                                                    GAINES          MI    48436‐9777
MAURICE J ROBILLARD                           PO BOX 176                                                                                          HAMPTON         NY    12837‐0176
MAURICE J ROSS & BEVERLY J ROSS JT TEN        13 PINE GROVE TERR                                                                                  SOMERSWORTH     NH    03878‐2315
MAURICE J ROWE                                1015 W 11TH ST                                                                                      MARION          IN    46953‐1729
MAURICE J SCHWEGMAN & TERI A SCHWEGMAN JT TEN 487 PINELLAS BAYWAY S                      APT 202                                                  ST PETERSBURG   FL    33715‐1975

MAURICE J SULLIVAN                               155 WARD PLACE                                                                                   SOUTH ORANGE    NJ    07079‐2516
MAURICE J YOUNG                                  6024 WEDGEWOOD                                                                                   HANAHAN         SC    29406‐2348
MAURICE JACKSON                                  18659 MEYERS                                                                                     DETROIT         MI    48235‐1310
MAURICE JAMES TEHAN TOD HELEN SUSAN MALONEY      3040 W EXCELL                                                                                    SPOKANE         WA    99208
SUBJECT TO STA TOD RULES
MAURICE JOHNSON                                  BOX 369                                                                                          JOLIET          MT    59041‐0369
MAURICE K HOWKINS VAUXHALL MOTORS LTD            GRIFFIN HOUSE OSBORNE RD                LUTON BEDS LU                          GREAT BRITAIN
MAURICE K WILLIAMS                               6504 PINNACLE CT                                                                                 MOORPARK        CA    93021‐1272
MAURICE KORNREICH CUST JESSICA A KORNREICH       311 CENTER ST                                                                                    BELLINGHAM      MA    02019‐1861
UTMA NM
MAURICE KRIEGER                                  2320 W TERNERO PL                                                                                TUCSON          AZ    85741‐3704
MAURICE L BOND                                   5168 E LAKE RD                                                                                   ROMULUS         NY    14541‐9719
MAURICE L CHENEVERT                              47 GROVE ST                                                                                      UPTON           MA    01568‐1337
MAURICE L DYER                                   6209 PYTHIAN RD                                                                                  HARRISON        TN    37341‐3920
MAURICE L HAYES                                  RR 2 BOX 1679                                                                                    WHEATLAND       MO    65779‐9706
MAURICE L HURTMAN                                8960 WEST 21ST ST                                                                                INDIANAPOLIS    IN    46234‐9500
MAURICE L JEWELL                                 2110 S MARTON RD                                                                                 BEAVERTON       MI    48612‐9429
MAURICE L MITCHELL                               3043 ASHLEY DR                                                                                   EDGEWOOD        KY    41017‐2312
MAURICE L REICHARD                               3681 GORMAN DR                                                                                   ENGLEWOOD       OH    45322‐2704
MAURICE L TERRIO                                 6482 CAMINO VIVIENTE                                                                             GOLETA          CA    93117‐1524
MAURICE LESTER                                   8522 CLOVER LAWN ST                                                                              DETROIT         MI    48204‐3251
MAURICE M COLLINS                                2330 KIRKLAND DR                                                                                 GRAYLING        MI    49738‐7242
MAURICE M KENDALL                                70 E BETSY LN                                                                                    GILBERT         AZ    85296‐4278
MAURICE M SALTZMAN & CHARLOTTE L SALTZMAN JT     8975 W GOLF RD APT 720                                                                           NILES           IL    60714‐5834
TEN
MAURICE M WELSH                                  1223 N EDMONDSON AVE                    APT C12                                                  INDIANAPOLIS    IN    46219‐3587
MAURICE MALONEY                                  25 HARVEY LANE                                                                                   LAKE            NY    11779‐5701
                                                                                                                                                  RONKONKOMA
MAURICE MIZRAHI                                  PO BOX 2601                                                                                      SHAWNEE         KS    66201‐2601
                                                 09-50026-mg              Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MAURICE MOYLAN                                     12810 LAKE WILDERNESS LN                                                                       SPOTSYLVANIA     VA    22551‐8123
MAURICE O KNEPP                                    8121 MOCKINGBIRD ST                                                                            WICHITA          KS    67207‐1120
MAURICE O RIKER                                    311 S THIRD                                                                                    CARSON CITY      MI    48811‐9651
MAURICE O WHITE                                    229 HALIDON HILL LANE                                                                          CINCINNATI       OH    45238‐5737
MAURICE P GREIF                                    PO BOX 188                                                                                     ROCKWOOD         TN    37854‐0188
MAURICE P SLOTUIK                                  148 MOSSY OAK WAY                                                                              MOUNT PLEASANT   SC    29464‐7807

MAURICE PARKINSON & WILMER L PARKINSON JT TEN      19337 COLINA DR                                                                                WALNUT           CA    91789

MAURICE PAUL EMILE MAYNARD                         PO BOX 5285                                                                                    MASSENA          NY    13662‐5285
MAURICE POLK                                       11421 ARCHDALE ST                                                                              DETROIT          MI    48227‐1062
MAURICE R BATEMAN JR                               27 MONADNOCK AVE                                                                               WINCHENDON       MA    01475‐1218
MAURICE R BRILEY JR & YVONNE DEE BRILEY JT TEN     274 CHIPPENHAM LANE                                                                            HOCKESSIN        DE    19707‐1933

MAURICE R COLLIN                                   333 NIKOMAS WAY                                                                                MELBOURNE BEACH FL     32951‐3528

MAURICE R CORBITT                                  127 INKBERRY RD                                                                                SAINT MATTHEWS   SC    29135‐8093
MAURICE R COTE                                     44 SUMMER ST                                                                                   BLACKSTONE       MA    01504‐1365
MAURICE R DALTON                                   47 E BAYSHORE DR                                                                               PORT ORANGE      FL    32127
MAURICE R FAUST                                    21120 VIRGINIA ST                                                                              SOUTHFIELD       MI    48076‐5599
MAURICE R HASTY                                    4111 MINNETONKA DR                                                                             LINDEN           MI    48451‐9429
MAURICE R HINES                                    4602 BRITTANY ROAD                                                                             INDIANAPOLIS     IN    46222‐1364
MAURICE R MARKS                                    10919 WHIRLAWAY LN                                                                             SANDY            UT    84092‐4607
MAURICE R MASSEY                                   11721 SHROYER DRIVE                                                                            OKLAHOMA CITY    OK    73170‐5661
MAURICE R MCMAHON & MARCIA L MCMAHON JT TEN        19350 WARD ST #37                                                                              HUNTINGTN BCH    CA    92646

MAURICE R NICELY                                   924 N OXFORD                                                                                   INDIANAPOLIS     IN    46201‐2466
MAURICE RICHARD                                    2135 DEER RUN TRAIL                                                                            WATERFORD        MI    48329‐2383
MAURICE RICHARD FARRELL                            9650 BLOOMFIELD AVE                                                                            CYPRESS          CA    90630
MAURICE RILEY FRUSHOUR                             514 GROVE                                                                                      LOGANSPORT       IN    46947‐4810
MAURICE ROBERT GEISENDORFF & PEGGY ANN             5137 KELLER CT                                                                                 INDIANAPOLIS     IN    46254‐3561
GEISENDORFF JT TEN
MAURICE ROCHE                                                                                                                                     CALLICOON        NY    12723
MAURICE ROLLI                                      CHAVANNES‐DES BOIS                    1290 VERSOIX                           SWITZERLAND
MAURICE S REID TR UA 08/10/93 MAURICE S REID TRUST 182 LOWELL AVE                                                                                 GLEN ELLYN       IL    60137‐5534

MAURICE SONES CUST JONATHAN DAVID SONES UGMA       249 EMERSON DRIVE                                                                              LAFAYETTE HL     PA    19444‐1347
PA
MAURICE ST PIERRE                                  5930‐41 IEME AVE                      MONTREAL QC                            H1T 2T6 CANADA
MAURICE T ARMSTRONG                                60844 LOVE RD.                                                                                 COVE             OR    97824
MAURICE V HUNTER JR                                5932 GLENMOORE LANE                                                                            JANESVILLE       WI    53545‐9614
MAURICE V LOCKLEAR                                 7865 CHARLESMONT RD                                                                            BALTIMORE        MD    21222‐2703
MAURICE VICTOR DUGGINS                             PO BOX 165                                                                                     WAYNESFIELD      OH    45896‐0165
MAURICE W CHURCHILL                                3592 MAIN ST                                                                                   AKRON            MI    48701‐9625
MAURICE W HALEY                                    33635 BLACKFOOT                                                                                WESTLAND         MI    48185‐2720
MAURICE WADE                                       18090 BUFFALO ST                                                                               DETROIT          MI    48234‐2435
MAURICE WAYNE MARSHALL                             1473 E MCKAY RD                       APT 111                                                  SHELBYVILLE      IN    46176‐8750
MAURICE WOODS                                      3192 N JENNINGS RD                                                                             FLINT            MI    48504‐1714
MAURICE ZEPS                                       3741 THORNCREST DR                                                                             INDIANAPOLIS     IN    46234‐1458
MAURICE ZEPS & ANTONINA ZEPS JT TEN                3741 THORNCREST DR                                                                             INDIANAPOLIS     IN    46234‐1458
MAURICIO ARREDONDO‐BENAVIDES                       TEPIC 443 PIEDRAS ME6NAS              COAHUILU                               MEXICO
MAURICIO PANIAGUA                                  17 E MAPLE CI                                                                                  BROWNSVILLE      TX    78521‐2604
MAURIENE SHERRILL HOWEY                            13 ANTELOPE TRAIL                                                                              KERRVILLE        TX    78028‐6500
MAURILLO R MERCADO                                 10606 HASKELL AVE                                                                              GRANADA HILLS    CA    91344‐7140
MAURINE B GAUNTT TR MAURINE B GAUNTT TRUST UA      5200 ENTRAR DR                        SPC 107                                                  PALMDALE         CA    93551
07/03/96
MAURINE BERYL MERITT                               4730 W CORRINE DRIVE                                                                           GLENDALE         AZ    85304‐2053
MAURINE J STINER                                   1210 SOUTH Q ST                                                                                RICHMOND         IN    47374‐7225
MAURINE M HERMAN                                   531 IRONWOOD DR                                                                                O FALLON         MO    63368
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MAURINE P HARBITZ                               1463 REMBRANT                                                                                             HOLT            MI    48842‐9611
MAURINE RUSSELL & D DOUGLAS RUSSELL JT TEN      1065 SO MAIN                                                                                              KAYSVILLE       UT    84037‐2633
MAURINE SEAMAN                                  7070 E COUNTY RD 1700 N                                                                                   HUMBOLDT        IL    61931‐8027
MAURIZIO BERTUZZI                               VIA ALBERTI 12 T                     20149 MILANO                                    ITALY
MAURO ANTONIO MORETTI                           PO BOX 9022                                                                                               WARREN          MI    48090‐9022
MAURO FARALLO                                   3 IVY LANE                                                                                                WALLINGTON      NJ    07057
MAURO P BIDINOST                                6533 JIM DE GROAT DR                                                                                      EL PASO         TX    79912‐7320
MAURO PINTO                                     GM DO BRASIL AV GOIAS 1805           PRT 1 SAO CAETANO DO SUL    SAO PAULO BRASIL0   BRAZIL
MAURRIE B SALENGER CUST SETH ALEXANDER          16799 WHITTINGTON WALK                                                                                    EDEN PRAIRIE    MN    55346
SALENGER UTMA PA
MAURY A PRESSBURGER                             9757 KEYSTONE AVENUE                                                                                      SKOKIE           IL   60076‐1136
MAURY E SMARTT                                  5456 CRESTVIEW DRIVE                                                                                      HIXSON           TN   37343‐3884
MAURY GAYE JOHANNING CUNNINGHAM                 9603 WINDING RIDGE DR                                                                                     DALLAS           TX   75238‐1453
MAURY JAY WEXLER                                295 S GARDEN AVE                                                                                          ROSELLE          IL   60172‐1750
MAURY L NIXON JR                                PO BOX 97 5276 HWY 67                                                                                     SOMERVILLE       AL   35670‐0097
MAURY LEVIN                                     1473 CHANTILLY CT                                                                                         HIGHLAND PARK    IL   60035‐3926
MAURY MAVERICK JR                               314 ELMHURST                                                                                              SAN ANTONIO      TX   78209‐6608
MAVIS A DREZEK                                  509 STANTON HALL NW                                                                                       CALABASH         NC   28467‐2165
MAVIS A GREEN                                   2536 WYSE FORK ROAD                                                                                       TRENTON          NC   28585‐9782
MAVIS A GREEN & BEVERLY G COLE JT TEN           2536 WYSE FORK RD                                                                                         TRENTON          NC   28585
MAVIS A HAYES                                   1539 MAGNOLIA DR                                                                                          INKSTER          MI   48141‐1737
MAVIS C BARLAGE                                 1224 CLOVER RD                                                                                            BRICK            NJ   08724‐1013
MAVIS D SHIMMONS                                9489 HUBBARD RD                                                                                           DAVISON          MI   48423‐9351
MAVIS E BURTRUM                                 511 CHARING CROSS DR                                                                                      GRAND BLANC      MI   48439‐1539
MAVIS E DORSEY                                  18485 WISCONSIN                                                                                           DETROIT          MI   48221‐2068
MAVIS F MILLER                                  5272 GOODRICK ROAD                                                                                        TRAVERSE CITY    MI   49684‐8183
MAVIS J HILL                                    41969 VIA SAN GABRIEL                                                                                     FREMONT          CA   94539‐4741
MAVIS L WALKER                                  1405 NORTH DR                                                                                             ANDERSON         IN   46011‐1172
MAVIS M LABUHN                                  ATT MAVIS M CHOATE                   9237 SILVER FALLS HIGHWAY                                            AUMSVILLE        OR   97325‐9300
MAVIS Q WILLIAMS                                4802 LAKEWOOD HILLS CT                                                                                    ANDERSON         IN   46017‐9305
MAVIS Q WILLIAMS                                4802 LAKEWOOD HILL CT                                                                                     ANDERSON         IN   46017‐9305
MAVIS SMITH                                     9333 RIVERVIEW ST                                                                                         REDFORD          MI   48239‐1249
MAVIS WOODS                                     428 KATHY'S WAY                                                                                           XENIA            OH   45385
MAVOURNEEN HARSHMAN                             2710 CEDAR ST                                                                                             BERKELEY         CA   94708‐2021
MAX A CLARK                                     5078 IMLAY CITY ROAD                                                                                      ATTICA           MI   48412‐9659
MAX A DAVIS                                     112 CONNOLLY DRIVE                                                                                        ST LOUIS         MO   63135‐1021
MAX A FREEMAN                                   2384 RED MAPLE                                                                                            TROY             MI   48098‐2249
MAX A GEIGER                                    RT 2 BOX 60                                                                                               COLOMA           WI   54930‐9802
MAX A HOPPES                                    2713 W HUNTSVILLE RD                                                                                      PENDLETON        IN   46064‐9173
MAX A HORTON                                    506 OXFORD RD                                                                                             ANDERSON         IN   46012‐3929
MAX A LATEN                                     1173 LITTLE CREEK TRAIL                                                                                   ALGER            MI   48610‐9339
MAX A LOEW                                      18F WINTER ST                                                                                             FOXBORO          MA   02035
MAX A MATHIAS & MILDRED T MATHIAS JT TEN        1116 MALCOMS WAY                                                                                          VIRGINIA BCH     VA   23464
MAX A MUELLER                                   3012 BAY DR                                                                                               BRADENTON        FL   34207‐5510
MAX A PROCTOR                                   29766 MIRLON DRIVE                                                                                        FARMINGTON HILLS MI   48331‐2062

MAX A SULLIVAN                                 12515 SO 950 E                                                                                             GALVESTON       IN    46932
MAX A TAUBERT                                  4380 S KESSLER FREDERICK RD                                                                                WEST MILTON     OH    45383‐9703
MAX AIMAN                                      6115 S 425 W                                                                                               PENDLETON       IN    46064
MAX ALBERT WHITMOYER                           13894 WABASH DR                                                                                            FISHERS         IN    46038‐4507
MAX B COCHRAN                                  8371 AARWOOD TRAIL N W                                                                                     RAPID CITY      MI    49676‐9744
MAX B GILL                                     10795 BAKEWAY DR                                                                                           INDIANAPOLIS    IN    46231‐2705
MAX B HUNGATE                                  69 TWIN BROOKS AVE                                                                                         MIDDLETOWN      NJ    07748‐3413
MAX B SIDDONS                                  536 E 50 N                                                                                                 DANVILLE        IN    46122
MAX BELIN                                      PO BOX 977                                                                                                 EAST LANSING    MI    48826‐0977
MAX BERMAN TOD DORY M BERMAN SUBJECT TO STA 44 PANSY PL                                                                                                   BUFFALO         NY    14208‐1303
TOD RULES
MAX BERMAN TOD JAY D BERMAN SUBJECT TO STA TOD 44 PANSY PL                                                                                                BUFFALO         NY    14208‐1303
RULES
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MAX BERMAN TOD MARTIN N BERMAN SUBJECT TO STA 44 PANSY PL                                                                                        BUFFALO          NY    14208‐1303
TOD RULES
MAX BERMAN TOD REBECCA BERMAN FOREMAN             44 PANSY PL                                                                                    BUFFALO          NY    14208‐1303
SUBJECT TO STA TOD RULES
MAX BERMAN TOD SETH B BERMAN SUBJECT TO STA       44 PANSY PL                                                                                    BUFFALO          NY    14208‐1303
TOD RULES
MAX BLACKER                                       333 ELMWOOD AVE APT D‐534                                                                      MAPELWOOD        NJ    07040‐2426
MAX C FLEMING                                     1092 CO RD 134                                                                                 TOWN CREEK       AL    35672‐6519
MAX C MOORE                                       37604 COLFAX                                                                                   NORTHVILLE       MI    48167‐9026
MAX CLIFFORD CONVERSE JR & CATHERINE JOAN         5695 CRANDALL RD                                                                               HOWELL           MI    48855‐8741
CONVERSE JT TEN
MAX D BLACKMORE                                   PO BOX 21                                                                                      COATESVILLE      IN    46121‐0021
MAX D BRAMEL                                      7353 S 1000 W                                                                                  SWAYZEE          IN    46986‐9605
MAX D COOPER                                      ROUTE 1 BOX 65                                                                                 PRINCETON        MO    64673‐9703
MAX D HARVEY                                      124 DENWOOD TRL                                                                                CLAYTON          OH    45315‐9631
MAX D HOMLER                                      915 SHERMAN ST                                                                                 FRANKTON         IN    46044‐9794
MAX D MEDEMA                                      2800 KEMPTON HILLS DRIVE                                                                       ANCHORAGE        AK    99516
MAX E BROWN & JULIA R BROWN JT TEN                7307 24TH AVE WEST                                                                             BRADENTON        FL    34209‐5336
MAX E DAVID                                       1982 DEAN AVE                                                                                  HOLT             MI    48842‐1514
MAX E DILGARD & MARGARET M DILGARD JT TEN         13830 NORTH 62ND PLACE                                                                         SCOTTSDALE       AZ    85254‐5441
MAX E FISHER & SHERRY A FISHER JT TEN             291 LOUISE LANE                                                                                HOUMA            LA    70364‐1139
MAX E FOWLER                                      175 N LAKE GOERGE RD                                                                           ATTICA           MI    48412‐9743
MAX E GILSON                                      405 S WESTERN                                                                                  KOKOMO           IN    46901‐5208
MAX E HAMILTON                                    217 SMOKEY VIEW RD                                                                             KNOXVILLE        TN    37920‐6328
MAX E HASSETT                                     1831 N ROYSTON RD                                                                              CHARLOTTE        MI    48813‐9386
MAX E KIMBLE & SYLVIA A KIMBLE TR KIMBLE TRUST UA RR 1 BOX 225A                                                                                  MORRIS           PA    16938‐9750
12/29/00
MAX E MAUPIN                                      1823 ROUNDHILL DR                                                                              ANDERSON         IN    46013‐2547
MAX E NICHOLSON                                   PO BOX 2687                                                                                    BLAIRSVILLE      GA    30514‐2687
MAX E PATTISON                                    733 EASTMOUNT DRIVE                                                                            GAS CITY         IN    46933‐1537
MAX E POTTER                                      5954 W GRESHAM HWY                                                                             CHARLOTTE        MI    48813‐8840
MAX E SMITH                                       13034 34 G DRIVE                                                                               NEWALLA          OK    74857
MAX E SMITH                                       1907 FEATHER AVE                                                                               OROVILLE         CA    95965‐4181
MAX E SMITH                                       1204 E 1100 S                                                                                  FAIRMOUNT        IN    46928‐9292
MAX E STOKER                                      ATTN LAURA R STOKER                   2506 N MORRISON RD                                       MUNCIE           IN    47304‐5069
MAX E SUTER                                       3333 CREIGHTON LANE                                                                            FLEMING ISLAND   FL    32003
MAX E THOMAS & MRS MARTHA A THOMAS JT TEN         8271 WINDHAM DR                                                                                MENTOR           OH    44060‐5914

MAX ELLIOT BENNETT                               405 MERIWETHER DR                                                                               PARAGOULD        AR    72450‐3583
MAX EUGENE JOYNER                                300 SKYWAY DR                                                                                   MUNCIE           IN    47303‐1147
MAX F ADANI JR                                   17542 BRILL                                                                                     CLINTON TOWNSHIP MI    48035‐2315

MAX FALKENSTIEN & ISOBEL FALKENSTIEN JT TEN      2206 GREENBRIER                                                                                 LAWRENCE        KS     66047‐3523
MAX FARMER                                       3483 HILDON CIR                                                                                 CHAMBLEE        GA     30341‐2604
MAX FERTEL CUST JUDITH FERTEL UGMA MI            4566 HAWK WOODS DR                                                                              WEST BLOOMFIELD MI     48322‐4570

MAX G GOYKE                                      24920 WARRINGTON                                                                                EAST DETROIT     MI    48021‐4223
MAX G POOL                                       8012 E SCARLETT ST                                                                              TUCSON           AZ    85710‐4112
MAX GOTTLIEB TR RONALD GOTTLIEB A MINOR U/DECL   469 MORRIS ROAD                                                                                 AMBLER           PA    19002‐5161
OF TRUST 7/11/57
MAX GRUFERMAN                                    2925 W 5TH ST APT 11H                                                                           BROOKLYN         NY    11224‐3955
MAX H ENGELMAN & CAROL S ENGELMAN JT TEN         523 STATE ST                                                                                    PETOSKEY         MI    49770‐2750
MAX H GEISLER & ALMA J GEISLER JT TEN            717 CLAIRMORE AVE                                                                               LANOKA HARBOR    NJ    08734‐2006
MAX H GUENTHER                                   15 READINGTON ROAD                                                                              WHITEHOUSE       NJ    08889‐3546
                                                                                                                                                 STATION
MAX H KIEP                                       1094 BROUGH AVENUE                                                                              HAMILTON         OH    45015‐1863
MAX H LINKER                                     1647 PARKMAN RD NW                                                                              WARREN           OH    44485‐2162
MAX H MURPHY                                     5 OLD STEVENS LANE                                                                              VOORHEES         NJ    08043‐3417
MAX H WILLEMIN                                   #101                                   505 N IRENA                                              REDONDO BEACH    CA    90277‐2920
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MAX HARTER                                         7525 S COUNTY ROAD 25A                                                                            TIPP CITY        OH    45371‐2528
MAX HIRSCH & AGNES HIRSCH TR HIRSCH LIVING TRUST   1312 WINDING COURT                                                                                MOHEGAN LAKE     NY    10547‐2004
UA 10/28/97
MAX HOLLY                                          BOX 811                                                                                           MONTROSE         CA    91021‐0811
MAX J BIENKO JR                                    24653 ORIOLE                                                                                      TAYLOR           MI    48180‐5144
MAX J BOLLMAN                                      3414 LUCIE ST                                                                                     LANSING          MI    48911‐2822
MAX J FRAZIER                                      1285 E WALNUT ST                                                                                  SUMMITVILLE      IN    46070‐9636
MAX J FULMER                                       1104 3RD AVE S                                                                                    TIERRA VERDE     FL    33715‐2229
MAX J LUTHER III                                   4971 CHERRY HILLS                                                                                 CORPUS CHRISTI   TX    78413‐2734
MAX J PRITCHETT CUST ACF PERRI LYNN PRITCHETT      2108 WILLOW SPRINGS RD                                                                            KOKOMO           IN    46902‐7801
UTMA IN
MAX J PRITCHETT CUST ZACHARY PRITCHETT UTMA IN     2108 WILLOW SPRINGS RD                                                                            KOKOMO           IN    46902‐7801

MAX J ROMERO                                       14968 BLEEKER                                                                                     SYLMAR           CA    91342‐5234
MAX J SCOTT                                        1854 WABASH                                                                                       SAGINAW          MI    48601‐4954
MAX J WEEMS JR & SHANNON WEEMS ANDERSON JT         18 SAINT CHRISTOPHER CT                                                                           SUGAR LAND       TX    77479‐4204
TEN
MAX JACOBS                                         10 BAYARD DR                                                                                      DIX HILLS        NY    11746‐8302
MAX JOHN FRANCISCO                                 1964 STRAWBERRY AVE                                                                               LAKE             MI    48632‐8942
MAX JUSTIN HARCOURT BRYANT                         THE BOUNDS                             HERNHILL FAVERSHAM BOUGHTON   KENT       GREAT BRITAIN
MAX K FARMER                                       3483 HILDON CIR                                                                                   CHAMBLEE         GA    30341‐2604
MAX KATZ                                           444 NEPTUNE AVE BLDG 3                 APT 5R                                                     BROOKLYN         NY    11224‐4456
MAX KLOTZ CUST GARY M KLOTZ U/THE VIRGINIA         2750 RIDGE DR                                                                                     BROOMFIELD       CO    80020‐1006
UNIFORM GIFTS TO MINORS ACT
MAX KOBAL JR                                       1510 N BUCK RD                         LOT 95                                                     LKSID MARBLHD    OH    43440‐9608
MAX KOLODOFF                                       404 CHATHAM CIRCLE                                                                                WARWICK          RI    02886‐1760
MAX KOLPAS & BETTY KOLPAS JT TEN                   190 S WOOD DALE                        APT 601                                                    WOOD DALE        IL    60191‐2267
MAX L ALEWINE                                      159 BRADBERRY COURT                                                                               COMMERCE         GA    30529‐7013
MAX L CHRIVIA                                      11998 W BRADY RD                                                                                  CHESANING        MI    48616‐1081
MAX L COBB                                         PO BOX 2383                                                                                       INDIAN TRAIL     NC    28079‐2383
MAX L HAFFNER & JANICE E HAFFNER JT TEN            2697 WOODSMILL DR                                                                                 MELBOURNE        FL    32934‐8232
MAX L RANKIN                                       836 E 24TH CT                                                                                     DES MOINES       IA    50317‐6541
MAX L SIEGEL                                       7930 W KENTON CI 160                                                                              HUNTERSVILLE     NC    28078‐1884
MAX L WATSON                                       PO BOX 158                                                                                        ROANOKE          TX    76262‐0158
MAX LORENZINI                                      3145 JACKSON ST                                                                                   SAN FRANCISCO    CA    94115‐1019
MAX M AVER                                         5550 SOUTH SHORE DR #709                                                                          CHICAGO          IL    60637‐5054
MAX M BRANSTROM & ELLEN BRANSTROM JT TEN           5424 LAKE HARBOR RD                                                                               MUSKEGON         MI    49441‐5810
MAX M HUGHES & ELIZABETH HUGHES JT TEN             2044 PINE ST                                                                                      PHILA            PA    19103‐6536
MAX M SHOCK                                        4160 CHERYL DR                                                                                    FLINT            MI    48506‐1406
MAX M SLIWINSKI                                    83 GREENSBORO RD                                                                                  HANOVER          NH    03755‐3106
MAX M VOLZ                                         524 N 10TH ST BOX 47                                                                              HUMBOLT          NE    68376‐0047
MAX M WALL & WILMA S WALL JT TEN                   4353 LARSON WAY                                                                                   SALT LAKE CITY   UT    84124‐2717
MAX M WOJCIECHOWSKI                                43 JOANNE LN                                                                                      BUFFALO          NY    14227‐1345
MAX MASS CUST MICHAEL MASS UGMA NY                 5855 DORIS DRIVE                                                                                  ALEXANDRIA       VA    22311‐1122
MAX MONTOYA                                        RR 1 BOX 380                                                                                      LAS VEGAS        NM    87701‐9714
MAX NELSON                                         2027 ONTARIO ST N E                                                                               GRAND RAPIDS     MI    49505‐4470
MAX NOVETSKY & MRS SHIRLEE NOVETSKY JT TEN         27638 CHATHAM PLACE                                                                               FARMINGTON HILLS MI    48334‐3606

MAX NOWOWEISKI                                     5 WAIORA RD                            CAULFIELD                     VICTORIA   3162 AUSTRALIA
MAX O OATES JR                                     100 N RALEIGH ST                                                                                  MARTINSBURG      WV    25401‐2753
MAX O ROSS JR                                      9014 ARBOR DRIVE                                                                                  NORTH FORT MYERS FL    33903‐2174

MAX OMANOFF & JUDITH A SULLIVAN & RICHARD A        2500 JOHNSON AVE                                                                                  RIVERDALE        NY    10463‐4925
OMANOFF JT TEN
MAX PECK & MRS MARGIE PECK JT TEN                  1065 E GENESEE AVE                                                                                FLINT            MI    48505‐1612
MAX R ERWIN                                        705 PLEASANT GROVE RD                                                                             SPRINGVILLE      TN    38256‐5115
MAX R HARPER                                       115 JUSTINE DR                                                                                    SEBASTIAN        FL    32958‐6942
MAX R KLISE                                        1708 PLEASANT DR                                                                                  KOKOMO           IN    46902‐5854
MAX R MILLER & MARIANNE R MILLER JT TEN            2011 FLEMING                                                                                      GARDEN CITY      KS    67846‐3550
                                           09-50026-mg               Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MAX R MORRIS                                     5336 FINNEY ROAD                                                                            GLASGOW          KY     42141‐9648
MAX R PASCUA & ELEANOR J PASCUA TR PASCUA LIVING 4215 NOVEL CT                                                                               HACIENDA HEIGHTS CA     91745‐6185
TRUST UA 05/22/97
MAX R UPTON                                      1329 S CRANE                                                                                INDEPENDENCE      MO    64055‐1626
MAX R WHITMYER                                   5922 LOUNSBURY RD                                                                           WILLIAMSTON       MI    48895‐9620
MAX S FIELDS                                     6239 CO RD 940 W                                                                            MIDDLETOWN        IN    47356‐9717
MAX S PENCER                                     21 MILLBANK AVE                    TORONTO ON                             M5P 1S4 CANADA
MAX S WIERZBICKI & MRS JEAN F WIERZBICKI JT TEN  19992 ELKHART                                                                               HARPER WOODS      MI    48225‐2234

MAX SCHULMAN & THERESA SCHULMAN JT TEN           2806 DUPONT ST                                                                              FLINT             MI    48504‐2821
MAX SOLOMON 3RD                                  5600 OAK GARDEN TER                                                                         FT LAUDERDALE     FL    33312‐6383
MAX SOLOMON II                                   919 OSAGE RD                                                                                PITTSBURGH        PA    15243
MAX SPIELBERGER & JOAN BENJAMIN & HARRIET        102 CINNAMON CT                                                                             MELVILLE          NY    11747‐4245
SOLOMON TEN COM
MAX T LARSEN TOD NANCI LARSEN SUBJECT TO STA TOD 100 NORTHWOODS BLVD SUITE B                                                                 COLUMBUS          OH    43235‐4419
RULES
MAX T REIHMANN JR CUST JANE AMY REIHMANN UTMA 455 LOCUST AVE                        UNIT 4204                                                PITMAN            NJ    08071‐1266
NJ
MAX THOMAS WARRINER                              3568 ARBOR ST                                                                               SAINT JOSEPH      MI    49085‐3802
MAX ULLRICH                                      4655 MARIGNY ST                                                                             NEW ORLEANS       LA    70122‐5040
MAX V DRINNON                                    1674 SCENIC DR                                                                              DAYTON            OH    45414‐3047
MAX VERHAGEN                                     2273 BUTTERNUT ROAD                                                                         WAUPACA           WI    54981
MAX VINCENT                                      510 E BELLE AVE                                                                             SAINT CHARLES     MI    48655‐1504
MAX W CONGDON                                    E7036 SPRUCE ROAD                                                                           BESSEMER          MI    49911‐9773
MAX W COUCH                                      7320 W 500 S                                                                                SWAYZEE           IN    46986‐9783
MAX W FISCHER                                    4803 S MILLWOOD CIR                                                                         WICHITA           KS    67217‐4530
MAX W JAMESON CUST NATASHA G JAMESON UGMA MI 2102 BRINK COURT                                                                                ODENTON           MD    21113‐1094

MAX W LAWLER                                    1313 HEATHERCREST DR                                                                         FLINT           MI      48532‐2670
MAX W LAWLER & JANIE M LAWLER JT TEN            1313 HEATHERCREST DRIVE                                                                      FLINT           MI      48532‐2670
MAX W SHORT & JANET SHORT JT TEN                842 CORINNE DR                      LOT 38                                                   SAN ANTONIO     TX      78218‐1792
MAX W STEAR & JULIA A STEAR JT TEN              RD 1 6057 OAKHILL DR                                                                         WEST FARMINGTON OH      44491‐9751

MAX WAYNE MC ALLISTER                           PO BOX 17022                                                                                 WICHITA           KS    67217‐0022
MAX WILDAU & MRS ELIZABETH WILDAU JT TEN        517 LEISURE DR                                                                               RIDGE             NY    11961‐1645
MAX WILLIAM BONE                                2136 WILLARD RD                                                                              CLIO              MI    48420
MAX ZITTEL & DORIS ZITTEL JT TEN                261 RIVER ISLES                                                                              BRADENTON         FL    34208‐9077
MAXFIELD HOSE COMPANY INC                       C/O PATRICE EDGERTON                PO BOX 671                                               NAPLES            NY    14512‐0671
MAXIE BROOKS                                    9123 CANDLESTIK                                                                              SHREVEPORT        LA    71118
MAXIE J HUBBARD                                 BOX 171                                                                                      CUMMING           GA    30028‐0171
MAXIE L SAVAGE                                  412 N 5TH ST                                                                                 GODLEY            TX    76044
MAXIE L WASKIEWICZ                              C/O ELIZABETH WASKIEWICZ            7800 RIVERDALE AVE                                       BALTIMORE         MD    21237‐2719
MAXIE MILLER                                    3440 RISHER RD SW                                                                            WARREN            OH    44481
MAXIE O PRICE                                   2 2ND ST                                                                                     ST AUGUSTINE      FL    32080‐3824
MAXIE SIMON                                     2261 BEWICK                                                                                  DETROIT           MI    48214‐4011
MAXIM CLEMONS                                   2422 BRANDON                                                                                 WESTLAND          MI    48186‐3935
MAXIM T PLAMONDON & LORETTA T PLAMONDON JT      13093 GOLFSIDE CT                                                                            CLIO              MI    48420‐8281
TEN
MAXIME W THERIAULT                              2490 MAPLE DR                                                                                HARRAH            OK    73045‐8213
MAXIMILIANO S MASCARENHAS                       13030 GENTRYSIDE CT                                                                          HOUSTON           TX    77077‐5558
MAXIMINO FIEIRAS                                6 N 945 BALMORAL LANE                                                                        ST CHARLES        IL    60175
MAXIMINO MACHADO                                802 LORAS LANE                                                                               MC ALLEN          TX    78501‐9346
MAXIMO AGUIRRE                                  312 N MATANZAS                                                                               TAMPA             FL    33609‐1537
MAXIMO LOPEZ                                    4916 RICHMOND                                                                                LANSING           MI    48911‐2915
MAXIN D MURPHY                                  4308 GRANGE HALL RD                                                                          HOLLY             MI    48442‐1116
MAXIN I SCHLANEK                                9 RUTH AVE                                                                                   PONTIAC           MI    48341‐1925
MAXINE A HARRIS                                 2909 LEIGHSDALE AVE SW                                                                       DECADUR           AL    35603‐1281
MAXINE A HUNTER                                 54568 MARISSA CT                                                                             SHELBY TOWNSHIP   MI    48316‐1291
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MAXINE A KRASNOFF                                11 SWAN TRAIL                                                                                      FAIRPORT         NY    14450‐3323
MAXINE A MAC LEAN & CHARLES D MAC LEAN JR JT TEN 1273 CRYSTAL POINTE CIRCLE                                                                         FENTON           MI    48430‐2071

MAXINE A MCKAY & MONICA A CUTTING JT TEN           21420 KEATING WAY                                                                                LUTZ             FL    33549
MAXINE A NELSON & NORMAN S NELSON JT TEN           PO BOX 935                                                                                       UNIVERSITY       MS    38677‐0935
MAXINE A STREBLOW & PEGGY LOU WILSON JT TEN        4895 ONSIKAMME                                                                                   MONTAGUE         MI    49437‐1132

MAXINE A WHITE                                     14573 WINTHROP ST                                                                                DETROIT          MI    48227‐2254
MAXINE B BULL                                      1826 1/2 IOWA ST                                                                                 DAVENPORT        IA    52803‐4317
MAXINE B CAHOON                                    26400 COLUMBIA WAY                                                                               TEHACHAPI        CA    93561‐9236
MAXINE B LAUN TR THE MAXINE B LAUN TR UA 5/18/00   105 S EVANS                                                                                      LINCOLN          IL    62656‐2200

MAXINE B MCELDOWNEY                                6409 TAYLOR RD                                                                                   VASSAR           MI    48768‐9426
MAXINE B POPE DANIEL R POPE VERNON D POPE &        111 LARK LN                                                                                      KENTON           OH    43326‐1472
CAROL M ROGERS JT TEN
MAXINE BANDY & KRISTEN BANDY KIDDER JT TEN         146 PRIVATE ROAD 5675                                                                            ALBA             TX    75410‐6497
MAXINE BETTY HARROLD                               APT 1                                   806 ARLINGTON                                            PETOSKEY         MI    49770‐3422
MAXINE C CALLAHAM                                  4807 EDINBOROUGH RD                                                                              GREENSBORO       NC    27406‐8322
MAXINE C CORBIN CUST CHARLES G CORBIN UTMA CA      1735 E 53RD ST                                                                                   LONG BEACH       CA    90805‐6213

MAXINE C FRYMIER                                   1805 S BALSAM APT 322                                                                            LAKEWOOD         CO    80232
MAXINE C PATTERSON & DAVID C PATTERSON JT TEN      1407 35TH ST                                                                                     ROCK ISLAND      IL    61201‐3039

MAXINE C PATTERSON & DAVID C PATTERSON JT TEN      1601 W 3RD ST                                                                                    COAL VALLEY      IL    61240‐9349

MAXINE C PATTERSON & MICHAEL C PATTERSON JT TEN 1407 35TH ST                                                                                        ROCK ISLAND      IL    61201‐3039

MAXINE COHN & ROBERT A COHN JT TEN                 7330 OCEAN TER                          UNIT 2301                                                MIAMI BEACH      FL    33141‐7004
MAXINE D HEDMAN                                    715 PATRICK ST                                                                                   EDEN             NC    27288‐6434
MAXINE D LOWE TR JAY S LOWE JR FAMILY TRUST UA     3552 PADDINGTON                                                                                  TROY             MI    48084‐1043
08/28/00
MAXINE D THOMPSON                                  3991 SEVEN HILLS TR                                                                              STONE MOUNTAIN   GA    30083‐4634

MAXINE D YORK                                      2837 WEST WALTON                                                                                 WATERFORD        MI    48329‐2560
MAXINE DORIS VARGO                                 5420 COLDWATER RD                                                                                COLUMBIAVILLE    MI    48421‐8909
MAXINE E AUCKLAND                                  2349 ELIZABETH DRIVE                                                                             STOW             OH    44224‐2711
MAXINE E BABCOCK                                   24050 MEADOWBRIDGE                                                                               MT CLEMENS       MI    48035‐3007
MAXINE E BARNEY & STEVEN M BARNEY JT TEN           9501 SHADY OAKS ST NW                                                                            CLINTON          OH    44216‐9551
MAXINE E DAY                                       248 DOUGLAS ST NW                                                                                WARREN           OH    44483‐3216
MAXINE E FOSTER                                    1806 MOULDER LOOP RD                                                                             SMITHS GROVE     KY    42171‐9305
MAXINE E GREENE                                    4146 W 58TH ST                                                                                   CLEVELAND        OH    44144‐1709
MAXINE E LOHMAN TR MAXINE E LOHMAN TRUST UA        20362 HARBOR ISLE LANE                                                                           HUNTINGTON       CA    92646‐5206
7/23/99                                                                                                                                             BEACH
MAXINE E MODJESKI‐MCNULTY & JULIE K MCNULTY JT     12975 JACOBSON ROAD                                                                              WELLSTON         MI    49689‐9590
TEN
MAXINE E VANCONANT TOD TAMARA L THOMANN            1015 EAST LINCOLN                       UNIT 19                                                  EAST TAWAS       MI    48730‐1679
MAXINE E WILLIS                                    3065 LIVINGSTON RD                      UPPR                                                     CLEVELAND        OH    44120‐3238
MAXINE EDGERTON                                    54 S WASHINGTON ST                      # 103                                                    TIFFIN           OH    44883‐2350
MAXINE ELLETT & LESLIE ELLETT JT TEN               PO BOX 1254                                                                                      WEST PLAINS      MO    65775‐1254
MAXINE ELLIS                                       6799 GRANBURY                           APT 244                                                  FORT WORTH       TX    76133
MAXINE F THOMPSON & JAMES M THOMPSON JT TEN        2405 GALE RD                            BOX 243                                                  EATON RAPIDS     MI    48827‐0243

MAXINE F WILSON                                    310 NORTH 4TH STREET                                                                             HOMER            LA    71040‐3404
MAXINE FAIRLEY                                     12009 N MARTINDALE ST                   #T                                                       DETROIT          MI    48204‐1523
MAXINE FOSTER & C EVERETT FOSTER JT TEN            9778 LINCOLN CT                                                                                  TAYLOR           MI    48180‐3674
MAXINE FULWIDER                                    BOX 242                                                                                          NEW MARKET       IN    47965‐0242
MAXINE G CLARK                                     331 N FAIRFIELD RD                                                                               DAYTON           OH    45430‐1741
MAXINE GENEVA HAWK                                 834 N VALLEYWOOD CIRCLE                                                                          HIXSON           TN    37343‐2447
MAXINE GOODWIN                                     114 BRIGHTON ST                                                                                  NEW BRITAIN      CT    06053‐3204
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MAXINE H CHRISTY                                    4900 SHARON ROAD                                                                               CHARLOTTE       NC     28210‐3332
MAXINE H HARRIS                                     412 BELLE CLAIRE AVE                                                                           TEMPLE TERRACE  FL     33617‐6315
MAXINE H POLETE CUST ROBIN POLETE UGMA MO           9316 CATALINA                                                                                  SHAWNEE MISSION KS     66207‐2720

MAXINE H POWELL                                 HC 75 BOX 570                                                                                      WELLINGTON       KY    40387‐9717
MAXINE HARDINMAN JONES                          20255 AVON AVENUE                                                                                  DETROIT          MI    48219‐1525
MAXINE HAUPTMAN                                 161‐40 87 STREET                                                                                   HOWARD BEACH     NY    11414‐3301
MAXINE HUMPHREY & BETTY A KAZA JT TEN           2740 LAKE SHORE DR                                                                                 HARRISVILLE      MI    48740‐9768
MAXINE J CONNELLY                               2031 W 255TH STREET                                                                                LOMITA           CA    90717‐2613
MAXINE J COWIE                                  7346 ERICA LANE                                                                                    WHEATFIELD       NY    14120‐4903
MAXINE J G TRITES                               PO BOX 463                                                                                         MILFORD          MI    48381‐0463
MAXINE J RICHARDS                               BOX 1572                                  556 BELLOWS                                              FRANKFORT        MI    49635‐9306
MAXINE J SMITH                                  2333 KENDRICK ESTATES DR                                                                           GASTONIA         NC    28056‐7501
MAXINE J TREADWAY                               4040 DALLAS STREET                                                                                 BURTON           MI    48519‐1751
MAXINE JACKSON ALLEN                            2209 WOODBLUFF WAY                                                                                 AUGUSTA          GA    30909‐2093
MAXINE JOHNSON                                  19101 EVERGREEN ROAD APT 1214                                                                      DETROIT          MI    48219‐2687
MAXINE JOYCE RECK                               51 TURQUOISE WAY                                                                                   EUSTIS           FL    32726‐6719
MAXINE K MULLIGAN CUST JULIE K MULLIGAN UGMA IA ATTN JULIE K LAUBENTHAL                   R ROUTE                                                  SWEA CITY        IA    50590

MAXINE KRETZ                                        11131 ARMSTRONG DRIVE SOUTH                                                                    SAGINAW          MI    48603
MAXINE KRULWICH CUST STEVEN L KRULWICH UGMA         45 W 60TH ST                          APT 14D                                                  NEW YORK         NY    10023‐7943
MD
MAXINE L BIGGS                                      651 WILSON AVE                                                                                 MOUNT MORRIS     MI    48458‐1554
MAXINE L BOUCHER                                    306 S ASCOT ST                                                                                 WATERFORD        MI    48328‐3507
MAXINE L JOHNSON & KAY L TEWS & JANICE E CHASE JT   2741 TRUDY LN                         #4                                                       LANSING          MI    48910‐3800
TEN
MAXINE L KING                                       25612 FOREST VIEW                                                                              SOUTHFIELD       MI    48034‐4896
MAXINE L PALMER                                     1360 LANCASTER ST                                                                              PLATTEVILLE      WI    53818‐1100
MAXINE L PULTER & WALTER D PULTER JT TEN            7130 POLK                                                                                      TAYLOR           MI    48180‐2552
MAXINE L SMITH                                      24545 DOLPHIN ST                                                                               BONITA SPRINGS   FL    34134‐7104
MAXINE L SURFACE                                    108 CHAFF COURT                                                                                SUMMERVILLE      SC    29485‐5246
MAXINE L WILSON                                     6076 MPLERIDGE DR                                                                              FLINT            MI    48532‐2118
MAXINE LANT TR MAXINE LANE TRUST UA 05/15/93        8192 HILLINGDON DR                                                                             POWELL           OH    43065‐7071

MAXINE LAWRENCE                                     5814 SOMERS DR                                                                                 INDIANAPOLIS     IN    46237‐2363
MAXINE LAY                                          4647 THISTLE MILL COURT                                                                        KALAMAZOO        MI    49006
MAXINE LEA POTWORA                                  104 NORTH SPRUCE ST                                                                            BATAVIA          NY    14020‐2612
MAXINE LEVY SPITALEWITZ                             226 JUNIPE CIRCLE SOUTH                                                                        LAWRENCE         NY    11559‐1918
MAXINE LIVINGSTONE                                  26041 COLMAN                                                                                   WARREN           MI    48091‐1043
MAXINE M BAKER                                      2313 KILLARNEY WAY                                                                             TALLAHASSEE      FL    32308‐3116
MAXINE M CORR TR WILLIAM J CORR & MAXINE CORR       733 W 155 ST                                                                                   GARDENA          CA    90247‐4210
TRUST UA 10/27/94
MAXINE M CRAIG                                      7170 MITCHELL RD                                                                               BROOKSVILLE      FL    34601‐5760
MAXINE M FITZGERALD                                 42 LAMBERT AVE                                                                                 FREDONIA         NY    14063‐1810
MAXINE M MC NABB                                    502 S WAYNE ST                                                                                 DANVILLE         IN    46122‐1932
MAXINE M MORGAN                                     PO BOX #59                                                                                     MARKLEVILLE      IN    46056‐0059
MAXINE M ORNELAS                                    4393 TOBACCO RD                                                                                HARRISON         MI    48625‐8919
MAXINE M ORNELAS                                    196 W NORWAY #9 GEN DEL                                                                        HARRISON         MI    48625
MAXINE M RINNAS                                     751 NORCHESTER                                                                                 SOUTH LYON       MI    48178‐1241
MAXINE M SHUTT & DONALD G SHUTT JT TEN              2733 S LAFAYETTE CIRCLE                                                                        DENVER           CO    80210‐5906
MAXINE M SNELL                                      8029 WOODHALL DR                                                                               BIRCH RUN        MI    48415‐8436
MAXINE MAYS                                         622 W LORADO                                                                                   FLINT            MI    48505‐2018
MAXINE MCDONALD                                     1106 WYETH DR                                                                                  NOKOMIS          FL    34275‐4496
MAXINE MITCHELL                                     PO BOX 18315                                                                                   KANSAS CITY      MO    64133‐8315
MAXINE MULDOON                                      5358 LILIBET CT                                                                                CINCINNATI       OH    45238‐4275
MAXINE N REED                                       223 TIMBER KNOLL DR                   APT 150                                                  CHATTANOOGA      TN    37421‐3776
MAXINE N ROBINS TRUST                               5115 EUROPA DR APT K                                                                           BOYNTON BEACH    FL    33437‐2199
MAXINE NEWMAN                                       708 DELAWARE ST                                                                                DETROIT          MI    48202‐2450
MAXINE O LULL                                       1652 SPANDRIL LN                                                                               FORT             SC    29708‐6908
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Name                                              Address1                               Address2             Address3          Address4          City              State Zip

MAXINE O WRIGHT                                   1809 BRANDYWINE DR                                                                              MATTHEWS          NC    28105‐2357
MAXINE OKNER                                      6910 AVENUE U                                                                                   BROOKLYN          NY    11234‐6129
MAXINE ORR                                        518 WOOD ST                                                                                     NEW BETHLEHEM     PA    16242‐1149
MAXINE PARADA                                     122 ELIZABETH ST                                                                                MEDINA            NY    14103‐1304
MAXINE PETERSON                                   5511 E 62ND PLACE                                                                               INDIANAPOLIS      IN    46220‐4901
MAXINE PRESSLEY                                   647 HAROLD AVE                                                                                  WINTER PARK       FL    32789‐4600
MAXINE R HOPKINS                                  1421 SUSSEX ROAD                                                                                BALTIMORE         MD    21221‐6034
MAXINE R LOVE                                     1130 BAY DR                                                                                     EAST TAWAS        MI    48763‐9315
MAXINE R PHIPPS                                   720 NETTIE DR                                                                                   MIAMISBURG        OH    45342‐3425
MAXINE S NATHANSON                                C/O JOSEPH S NATHANSON                 2815 WEST 53RD ST                                        MINNEAPOLIS       MN    55410‐2410
MAXINE SAFERIGHT                                  2587 HARSHMAN ROAD                                                                              DAYTON            OH    45424
MAXINE SHERIDAN & JAMES D SHERIDAN JT TEN         444 LAPRESA AVE                                                                                 SPRING VALLEY     CA    91977‐6017
MAXINE SHUGARTS                                   135 CALEB RD                                                                                    WEST DECATUR      PA    16878‐8868
MAXINE SMITH                                      69 S SANFORD                                                                                    PONTIAC           MI    48342‐2868
MAXINE SMITH CUST JAKE A SMITH UTMA CA            11777 SAN VICENTE BLVD STE 601                                                                  LOS ANGELES       CA    90049‐5051
MAXINE STEPHENS                                   RR 2 BOX 2731                          118 STATE ST                                             NICHOLSON         PA    18446‐9670
MAXINE T IMHOFF CUST GERALD E IMHOFF UTMA MI      755 GULICK RD                                                                                   HASLETT           MI    48840‐9107

MAXINE T TURNER                                   121 HELLONVILLE RD                                                                              BEDFORD           IN    47421
MAXINE TRIERWILER & JOSEPH A TRIERWILER JT TEN    37054 N DELANY DR                                                                               GURNEE            IL    60031

MAXINE TURNER                                     8104 MODESTO DR                                                                                 ARLINGTON         TX    76001‐8545
MAXINE V FUNKHOUSER                               16122 NEW AVENUE                                                                                LEMONT            IL    60439‐3698
MAXINE V PRIEST                                   7460 E NORTH 00 SOUTH                                                                           MARION            IN    46952‐6619
MAXINE W GREEN                                    1062 HALE AVNUE                                                                                 DAYTON            OH    45419‐2425
MAXINE W MACKINNON                                128 IRWIN MILL ROAD                                                                             CLINTON           TN    37716‐6946
MAXINE W SCOTT                                    2004 FOREST AVE                                                                                 LANSING           MI    48910‐3155
MAXINE WALZER                                     1101 PEBBLEWOOD LANE                                                                            GLENCOE           IL    60022‐1031
MAXINE WAMPLER & PAULA C WALLACE JT TEN           28949 BALMORAL ST                                                                               GARDEN CITY       MI    48135‐2162
MAXINE WEIMER                                     1430 49TH ST                                                                                    MARION            IA    52302‐3883
MAXINE WILLIAMS                                   800 E COURT ST                         APT 115                                                  FLINT             MI    48503‐6210
MAXINE WINER                                      PO BOX 8279                                                                                     CALABASAS         CA    91372‐8279
MAXINE Y MARTIN                                   PO BOX 543                                                                                      CANYONVILLE       OR    97417‐0543
MAXSHIRE HENDERSON                                PO BOX 06633                                                                                    DETROIT           MI    48206‐0633
MAXWELL A RICHARDS                                279 GALLAGHERS RD                      GLEN WAVERLY         VICTORIA          3150 AUSTRALIA
MAXWELL A RICHARDS                                279 GALLAGHERS ROAD                    GLEN WAVERLY         VICTORIA          3150 AUSTRALIA
MAXWELL B FRIED                                   1205 FAIRACRES RD                                                                               JENKINTOWN        PA    19046
MAXWELL G PARSONS & MARY L PARSONS JT TEN         10100 42ND CT.                                                                                  BELLEVIEW         FL    34420
MAXWELL H SOAPER                                  2375 SECOND STREET                                                                              HENDERSON         KY    42420
MAXWELL J NEWHAM                                  MERLIN ON                                                                     N0P 1W0 CANADA
MAXWELL L CARR                                    1913 JAMES ST                                                                                   NILES             OH    44446‐3919
MAXWELL L POLLACK                                 289 CROMWELL HILL RD                                                                            MONROE            NY    10950‐1435
MAXWELL M BLECHER & MRS SALLY Y BLECHER JT TEN    3187 OAKDELL RD                                                                                 STUDIO CITY       CA    91604‐4276

MAXWELL MADDOX                                    1937 OLD CONYERS ROAD                                                                           STOCKBRIDGE       GA    30281‐2133
MAXWELL NITZEL                                    1561 CHICKASAW AVE                                                                              LOS ANGELES       CA    90041
MAXWELL R HOUSER                                  2131 GOLFSIDE DR                                                                                YPSILANTI         MI    48197‐8577
MAXWELL RIGGSBEE JR                               160 SUMMIT ST                                                                                   ENGLEWOOD         NJ    07631‐4728
MAXWELL S MADDOX JR ATTN MADDOX SALES CO INC      1069 VALLEY RD                                                                                  DYERSBURG         TN    38024‐2800

MAXWELL S MATTHEWS                                145 LARCHLEA DR                                                                                 BIRMINGHAM        MI    48009‐1516
MAXWELL W WARD                                    69 WESTBROOK DR                        EDMONTON AB                            T6J 2C8 CANADA
MAXX SKYLAR FREISMUTH                             BOX 3285                                                                                        RANCHO SANTA FE   CA    92067‐3285

MAY A JENNINGS TR MAY A JENNINGS LIVING TRUST UA 225 AVENIDA DE LA ISLE                                                                           NOKOMIS           FL    34275
07/09/98
MAY A TEJCEK TR MAY A TEJCEK LIVING TRUST UA     1633 RIVER ST #4E                                                                                DES PLAINES       IL    60016‐4761
12/13/94
MAY AHWESH & RUTH AHWESH JT TEN                  296 WILLIAM DRIVE                                                                                CANONSBURG        PA    15317‐5222
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Name                                              Address1                             Address2             Address3          Address4          City              State Zip

MAY ANN POOLE                                     3620 WILLIAMSBOROUGH CT                                                                       RALEIGH           NC    27609‐6356
MAY B ROBINETT                                    8543 BIRCHRUN RD                                                                              MILLINGTON        MI    48746‐9533
MAY BELL HARLEY                                   1755 E 52ND ST                                                                                INDIANAPOLIS      IN    46205‐1325
MAY CARPENTER                                     P OBOX 22461                                                                                  CARMEL            CA    93922
MAY CHAN                                          333 PEARL ST                         APT 1M                                                   NEW YORK          NY    10038‐1657
MAY CHU CUST DOROTHY CHU U/THE CALIFORNIA         991 POMEROY AVE                                                                               SANTA CLARA       CA    95051‐4717
UNIFORM GIFTS TO MINORS ACT
MAY ELIZABETH PIKE & GREGORY ARTHUR PIKE JT TEN   1920 BROCK CT                                                                                 ANN ARBOR         MI    48104‐4701

MAY GOLDEN                                        KESWICK‐C‐464                        CENTURY VILLAGE                                          DEERFIELD BEACH   FL    33442‐2248
MAY H BENOIT                                      48 REYNOLDS DR                                                                                MERIDEN           CT    06450‐2533
MAY HAMPTON                                       1053 FAIRVIEW LANE                                                                            AURORA            OH    44202‐9508
MAY I SPEER                                       PO BOX 24748                                                                                  INDIANAPOLIS      IN    46224‐0748
MAY L CARTHANS                                    PO BOX 13268                                                                                  FLINT             MI    48501‐3268
MAY L SUPPA                                       131 COLONIAL RD                                                                               ROCHESTER         NY    14609‐6737
MAY LUDINGTON                                     98 ROUTE 292                                                                                  HOLMES            NY    12531‐5223
MAY M GOLDMAN                                     11467 TELLUPIDE TRAIL                                                                         MINNETONKA        MN    55305‐2961
MAY N MANCUSO                                     310 WILSON AVE                                                                                LAKE CHARLES      LA    70601‐5929
MAY O CARTER                                      394 PROVIDENCE ST                    #1                                                       WOONSOCKET        RI    02895‐6265
MAY PROSCH                                        81 HAMMOND PL                                                                                 WOBURN            MA    01801‐3449
MAY R BOCK & PATRICIA SZUMLASKI JT TEN            49 INNIS AVE                                                                                  NEWBURGH          NY    12550‐2614
MAY R OSWALD                                      38950 PARKER RIDGE WAY                                                                        PALM DESERT       CA    92260‐1050
MAY R ROCK                                        3071 YORK                                                                                     ROCHESTER HILLS   MI    48309‐3942
MAY R TORRES                                      17576 VIA SEGUNDO                                                                             SAN LORENZO       CA    94580‐3242
MAY R TORRES & CLARK A TORRES JT TEN              17576 VIA SEGUNDO                                                                             SAN LORENZO       CA    94580‐3242
MAY SALES MC TINDAL CUST ALLEN MC TINDAL UGMA     53 FAIRVIEW TERRACE                                                                           ASHEVILLE         NC    28803‐8615
NC
MAY SAMMONS                                       8546 HARBORTOWNE CIR                                                                          CLARKSTON         MI    48348‐2426
MAY SHERMAN                                       45152 CHRISTMAN RD                                                                            HOLLYWOOD         MD    20636
MAY W STAATS                                      41 COUNTRY HILLS DR                                                                           NEWARK            DE    19711‐2517
MAY Y M KANEKO                                    98‐1217 LAUHULU ST                                                                            AIEA              HI    96701‐3430
MAY YUNG FUN WOO WANG                             1704 TRINITY DR                                                                               WACO              TX    76710‐2840
MAY‐FAY KAO                                       1048 ILLINOIS RD                                                                              WILMETTE          IL    60091‐1308
MAYA DANIELLE MAYFIELD HUMAN                      3003 CHERRY GROVE CT                                                                          HOUSTON           TX    77059‐2848
MAYA RADA                                         4001 N OCEAN BLVD 1005B                                                                       BOCA RATON        FL    33431‐5391
MAYA WARD CUST LANDON WARD UTMA MO                5012 KOLKMEYER DRIVE                                                                          JOPLIN            MO    64804
MAYBEE MOORE                                      1022 CARSON CT                                                                                FLINT             MI    48503‐1636
MAYBELL C JACKSON & ROSA B WASHINGTON JT TEN      4803 FOXSHIRE CIRCLE                                                                          TAMPA             FL    33624

MAYBELL E MALONE & GUY LEO MALONE JT TEN          9307 W 92ND TER                                                                               OVERLAND PARK     KS    66212‐3916
MAYBELL FOWLER                                    5121 PLEASANTGLEN WAY                                                                         ELK GROVE         CA    95758‐5602
MAYBELL RISLEY                                    PO BOX 304                                                                                    CLIO              MI    48420‐0304
MAYBELLE CORNELL                                  102 NW EARL LN                                                                                COLLEGE PLACE     WA    99324‐1581
MAYBELLE EVANS                                    213 SOUTHLEA DR                                                                               KOKOMO            IN    46902‐3641
MAYBELLE RAY                                      2477 RAY RD                                                                                   FENTON            MI    48430‐9761
MAYBELLE T ADAMS                                  6275 FIFTH AVE N                                                                              ST PETERSBURG     FL    33710‐7051
MAYDA PAMUK                                       93‐07 71ST AVE                                                                                FOREST HILLS      NY    11375‐6701
MAYDA THAUS                                       17W085 ELM ST                                                                                 HINSDALE          IL    60521‐7083
MAYDELL Y WISE                                    4410 HARDING AVE HOLT                                                                         INGHAM COUNTY     MI    48842‐9767
MAYER A HOEL                                      901 EISENHOWER ROAD                                                                           STOUGHTON         WI    53589‐1002
MAYER F GATES JR                                  1221 WESTPARK DR SUITE 201                                                                    LITTLE ROCK       AR    72204‐2460
MAYEZ K MOSSELMANI                                8330 EVANGELINE                                                                               DEARBORN HTS      MI    48127‐1162
MAYFIELD TOWNS JR                                 7407 E 52ND                                                                                   KANSAS CITY       MO    64129
MAYFORD H EVANS                                   1335 RAMBLING RD                                                                              YPSILANTI         MI    48198‐3158
MAYLAND A KANNENBERG                              4377 OLD STAGE RD                                                                             BROOKLYN          WI    53521‐9419
MAYLINE ETHERINGTON                               9019 W 150 S                                                                                  RUSSIAVILLE       IN    46979‐9745
MAYLON J TROTTER                                  205 CLYDE STREET                                                                              WILMINGTON        DE    19804‐2805
MAYME B MITCHNER & WILLIE E MOSBY JT TEN          6480 GARDEN DR                                                                                MT MORRIS         MI    48458‐2325
MAYME C DANFORTH                                  111 14TH ST NE                                                                                WATERTOWN         SD    57201‐2818
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Name                                             Address1                                Address2                      Address3   Address4          City             State Zip

MAYME CHARLOTTA BURKHALTER                       5120 COLDWATER CANYON #25                                                                          SHERMAN OAKS     CA    91423‐1697
MAYME M FARRIS                                   PO BOX 15                                                                                          HALES CORNERS    WI    53130‐0015
MAYME R BERNHARDT                                291 W FLAMINGO CIR                                                                                 MARCO ISLAND     FL    34145‐4480
MAYNARD A CLAYMAN & MARIJANE W CLAYMAN JT        1440 DEER CREEK DR                                                                                 ENGLEWOOD        FL    34223‐4218
TEN
MAYNARD C PETERSON                               9320 HUDSON RD                                                                                     PITTSFORD        MI    49271‐9653
MAYNARD D DUNKLE                                 201 CENTER ST                                                                                      HERON            OH    44839‐1604
MAYNARD D MOON                                   1060 E MAPLE RAPIDS RD                                                                             ST JOHNS         MI    48879‐8421
MAYNARD D VANSINGEL                              8162 WINDING DR SW                                                                                 BYRON CENTER     MI    49315‐8946
MAYNARD DONOVAN SKIDMORE JR                      10463 MILLER RD                                                                                    SWARTZ CREEK     MI    48473‐8588
MAYNARD E AUNGST                                 7100 E EATON HWY                                                                                   SUNFIELD         MI    48890‐9043
MAYNARD E HAKES                                  1122 FOREST AVE                                                                                    BELOIT           WI    53511‐6031
MAYNARD E HAKES & MARY K HAKES JT TEN            1122 FOREST                                                                                        BELOIT           WI    53511‐6031
MAYNARD E MERCHANT & LELA A MERCHANT JT TEN      515 S BUTLER BL 13                                                                                 LANSING          MI    48915‐2543

MAYNARD E SCHMIDT JR                             14255 SE 85TH AVE                                                                                  SUMMERFIELD      FL    34491‐9382
MAYNARD G HUBER & LUCILLE M HUBER JT TEN         2607 E NEUPERT AVE                                                                                 SCHOFIELD        WI    54476‐3634
MAYNARD G SLACK                                  C/O MAYFAIR RETIREMENT VILLAGE          3011 HAYDEN ROAD APT 105                                   COLUMBUS         OH    43235
MAYNARD H TURNBULL JR                            1025 GLENEAGLES DR                                                                                 YORK             PA    17404‐1115
MAYNARD J BEAUDRY                                PO BOX 492                                                                                         CASTALIA         OH    44824‐0492
MAYNARD J KELLER JR                              19 PARKWIND CT                                                                                     BALT             MD    21234‐4236
MAYNARD J KRANZ & IRENE I KRANZ JT TEN           5366 CHICKASAW TR                                                                                  FLUSHING         MI    48433‐1076
MAYNARD L BURNS & HELEN L BURNS TR BURNS FAM     107 PARKVIEW AVE                                                                                   CIRCLEVILLE      OH    43113‐1213
TRUST UA 05/10/01
MAYNARD L DICKINSON & CAROL M DICKINSON JT TEN   2064 GOLFCREST DR                                                                                  DAVISON          MI    48423‐8377

MAYNARD L JACKSON                                18703 GREENFIELD RD                                                                                DETROIT          MI    48235‐2970
MAYNARD L JONES & MRS VERA E JONES JT TEN        10043 BELSAY RD                                                                                    MILLINGTON       MI    48746‐9754
MAYNARD L MOORE                                  4767 E CR450N                                                                                      DANVILLE         IN    46122‐8389
MAYNARD L WITMER JR                              1827 DALTON DR                                                                                     THE VILLAGES     FL    32162‐7612
MAYNARD O TUCKER                                 RT 2 BOX 251                                                                                       GRAFTON          WV    26354‐9627
MAYNARD P VANDERCOOK                             4907 MARY JO                                                                                       HARRISON         MI    48625‐8609
MAYNARD R STUCKEY JR CUST MAYNARD R STUCKEY IV   1431 MYRADARE DR                                                                                   HENRICO          VA    23229‐4809
UTMA CA
MAYNARD R STUCKEY JR TR SALLY A STUCKEY FAM      1610 BRIDGE RD                                                                                     HILLSDALE        MI    49242‐9702
TRUST UA 12/02/91
MAYNARD R WILKES                                 2850 ALUM CREEK DR                      APT 104                                                    COLUMBUS         OH    43207‐2866
MAYNARD S FAILING                                10606 E JENKS RD                                                                                   CARSON CITY      MI    48811‐9720
MAYNARD S LEEVER                                 PO BOX 877                                                                                         NANCY            KY    42544‐0877
MAYNO S ROYER                                    THE VILLAS APT E112                     ONE COUNTRY LANE                                           BROOKVILLE       OH    45309‐9269
MAYO J WASHINGTON                                PO BOX 5975                                                                                        ST LOUIS         MO    63134‐0975
MAYO K BERMAN                                    261 S CITRUS AVE                                                                                   LOS ANGELES      CA    90036‐3037
MAYOLA BROCK                                     312 GREENLAWN AVE                                                                                  MANSFIELD        OH    44902‐7731
MAYOLAR BRADD                                    APT 203                                 15418 NORTHGATE BLVD BLDG 9                                OAK PARK         MI    48237‐1242
MAYRENE H BULLOCK                                1217 COUNTY ROAD 515 S                                                                             HOUSTON          MS    38851‐7633
MAYRIE L DAWSON                                  6675 BIRCH DR NE                                                                                   KALKASKA         MI    49646‐9199
MAYRIE L DAWSON CUST GREGRORY JAMES DAWSON       6675 BIRCH DR NE                                                                                   KALKASKA         MI    49646‐9199
UGMA MI
MAYRIE L DAWSON CUST SCOTT A DAWSON UGMA MI      6675 BIRCH DR NE                                                                                   KALKASKA         MI    49646‐9199

MAYRIE L DAWSON CUST TODD E DAWSON UGMA MI       6675 BIRCH DR NE                                                                                   KALKASKA         MI    49646‐9199

MAYSO A REEVES                                   2657 ARUNDEL RD                                                                                    COLLEGE PARK     GA    30337‐4907
MAYTOWN UNITED CHURCH OF CHRIST                  PO BOX 457                                                                                         MAYTOWN          PA    17550‐0457
MAYUR H SHAH & ANUPAMA M SHAH JT TEN             11610 SHERIDAN ST                                                                                  PEMBROKE PINES   FL    33026‐1430
MAYUR H SHAH CUST SHITAL M SHAH UTMA FL          11610 SHERIDAN ST                                                                                  PEMBROKE PINES   FL    33026‐1430
MAYUR J SHAH & ARUNA SHAH JT TEN                 32 CASEY LANE                                                                                      MOUNTSINAI       NY    11766‐2353
MAYUR S VALANJU                                  663 WEST BARRY APT 4B                                                                              CHICAGO          IL    60657
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MAZEL L WEAVER TR THE WEAVER FAMILY LIVING       2641 DAWN TERRACE                                                                           CUYAHOGA FALLS   OH    44223‐1202
TRUST UA 2/18/94
MAZIE A PETERSON                                 PO BOX 7168                                                                                 COLUMBUS         OH    43205‐0168
MAZIE B LOWERY                                   608 MEADOW DRIVE                                                                            WEST CHESTER     PA    19380‐6235
MAZIE J HUNTER                                   301 INGLESIDE AVE                                                                           DAYTON           OH    45404‐1359
MAZZIE E GAILLARD                                1508 N DELPHOS                                                                              KOKOMO           IN    46901‐2536
MC ARTHUR SMITH                                  PO BOX 8865                                                                                 ELKINS PARK      PA    19027
MC COY HENDRIX JR                                BOX 85                                                                                      RIDGE SPRING     SC    29129‐0085
MC KINLEY W SIMS SR & LILLIE RUTH SIMS JT TEN    1638 N MOORE RD                                                                             CHATTANOOGA      TN    37411‐1221
MC NALLY REEVES                                  BOX 5852                                                                                    GREENVILLE       SC    29606‐5852
MC WATSON                                        55 GLENVIEW LANE                                                                            WILLINGBORO      NJ    08046‐3213
MCARTHUR JONES                                   4430 GRANADA LN                                                                             COLLEGE PARK     GA    30349‐1906
MCARTHUR STEWART                                 95 COURT DR                                                                                 PONTIAC          MI    48058
MCARTHUR W LAYNE                                 5500 BRIGHAM                                                                                GOODRICH         MI    48438‐9645
MCCAMPBELL OGDEN INTERESTS LTD                   545 N UPPER BROADWAY               STE 406                                                  CRP CHRISTI      TX    78476‐1202
MCCANN CREDIT SHELTER TRUST UA 10/01/2003        PO BOX 42                                                                                   SHUQUALAK        MS    39361
MCCARTY PRINTING CORP                            PO BOX 1136                                                                                 ERIE             PA    16512‐1136
MCCRAY POWELL                                    3801 WALES DRIVE                                                                            DAYTON           OH    45405‐1850
MCDONALD INVESTMENTS CUST PHILLIP J BELLANCA IRA 1000 SAUNDERS SETTLEMENT RD                                                                 NIAGARA FALLS    NY    14305‐1421

MCGUIRE FINANCIAL MGMT INC                      10000 N CENTRAL EXPRESSWAY          SUITE 400                                                DALLAS            TX   75231‐4180
MCHENRY MALONE                                  314 S 28TH ST                                                                                SAGINAW           MI   48601‐6342
MCKEAH GLENN‐WHITFORD                           25015 HWY 92                                                                                 EXCELSIOR SPRINGS MO   64024‐8125

MCKINLEY CARLTON                                1435 LAWRENCE                                                                                DETROIT          MI    48206‐1514
MCKINLEY EDWARDS                                4840 DELBA DR                                                                                DAYTON           OH    45439‐2954
MCKINLEY G GRAVES                               611 N LUETT ST                                                                               INDIANAPOLIS     IN    46222‐3313
MCKINLEY HYMER III                              4959 MORELAND DR                                                                             FRANKLIN         OH    45005‐5121
MCKINLEY MIRACLE                                C/O MRS MIRACLE                     HC62 BOX 532                                             MIRACLE          KY    40856‐9700
MCKINLEY MORGAN JR                              1713 MARLOWE DRIVE                                                                           FLINT            MI    48504‐7022
MCKINLEY POLSTON                                600 BENBOW CIRCLE                                                                            NEW LEBANON      OH    45345‐1665
MCKINLEY STAMPER                                11974 FRIEND ROAD                                                                            GERMANTOWN       OH    45327‐9762
MCKINLEY WASHINGTON                             628 BRAMHALL AVE                                                                             JERSEY CITY      NJ    07304‐2337
MCKINLEY WILKES JR                              6478 RUSTIC RIDGE TRL                                                                        GRAND BLANC      MI    48439‐4951
MCKINLEY WILLIAMS                               10201 PENNELL DR                                                                             ST LOUIS         MO    63136‐5631
MCKINLEY WOODARD                                302 WEST 114TH STREET                                                                        CHICAGO          IL    60628
MCKINNON NEAL WHITEHEAD                         1209 BROOKSIDE DRIVE                                                                         WILSON           NC    27896‐2136
MCKINZI MORRIS                                  58 CHARLES LN                                                                                PONTIAC          MI    48341‐2925
MCLAUGHLIN TRANSPORTATION SYSTEMS INC           ATTN J MARTIN MCLAUGHLIN            20 PROGRESS AVE                                          NASHUA           NH    03062‐1924
MCMURPHY HUGHES                                 3200 MEADOWCREST DR                                                                          ANDERSON         IN    46011‐2310
MCMURRY JEFFERSON                               3900 BURNEWAY DR 213                                                                         LANSING          MI    48911‐2767
MCNAIR SMITH                                    PO BOX 3053                                                                                  BROOKHAVEN       MS    39603‐7053
MEACIE L WALKER                                 16012 SCOTTSDALE BLVD                                                                        CLEVELAND        OH    44120‐5035
MEADE T BRYANT                                  855 SOUTHFIELD DR #315                                                                       PLAINFIELD       IN    46168‐2455
MEADOW ACRES AGRICULTURAL CLUB                  ATTN SUSAN ANDERSON                 8046 SIMS CREEK ROAD                                     CASPER           WY    82604‐1766
MEADRUTH BOULTINGHOUSE SISK                     3365 JACKSON AVE                                                                             MEMPHIS          TN    38122‐1132
MEAGAN ELIZABETH MONTGOMERY                     296 ORANGE CRES                     OSHAWA ON                              L1G 5X3 CANADA
MEAGAN LIN JUNG                                 10250 RAINIER AVE S                                                                          SEATTLE          WA    98178‐2612
MEAGAN THERESA MCCARTHY                         4142 OAK PARK DR SE                 APT 9                                                    GRAND RAPIDS     MI    49508‐3661
MEAGEN PITTS                                    1136 ATKINSON ST                                                                             DETROIT          MI    48202‐1522
MEAGHAN L DERAAD                                280 HAYDEN ROWE ST                                                                           HOPKINTON        MA    01748‐2806
MEAR MEAN LLC                                   PO BOX 55                                                                                    DAYTON           MD    21036‐0055
MEARL C BOONE                                   1605 HWY 258 NORTH                                                                           KINSTON          NC    28504‐7213
MEARL J MAUS & ROGENE M MAUS JT TEN             1101 THRUSH ST                                                                               GREEN BAY        WI    54303‐4335
MEARLE T MASTERS                                137 THORNE LN                                                                                COOKEVILLE       TN    38506‐7757
MEARLON HARRIS                                  5606 CALHOUN ST                                                                              WHITE HALL       AR    71602‐4485
MEARY L COLEMAN                                 3300 SHAMROCK LN                                                                             FT WORTH         TX    76119‐7133
MEBAN & CO                                      PO BOX 669                                                                                   WESTERVILLE      OH    43086‐0669
MECHELLE M FENDER                               1190 SNELL RD                                                                                LEWISBURG        TN    37091
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Name                                           Address1                               Address2                   Address3                        Address4                    City              State Zip

MECIA A HERRON                                 2726 HUFFMAN BLVD                                                                                                             ROCKFORD          IL    61103‐3905
MEDARDO SANTOS                                 PO BOX 1628                                                                                                                   HIGHLAND CITY     FL    33846‐1628
MEDFORD C BALDRIDGE                            129 BRONSON FOREST DR                                                                                                         MOREHEAD          KY    40351‐8767
MEDFORD P CANBY JR                             5121 KLINGLE STREET NW                                                                                                        WASHINGTON        DC    20016‐2654
MEDICAL MISSIONARIES OF MARY                   CONGREGATIONAL CENTRE                  ROSEMOUNT                  BOOTERSTOWN                     CO DUBLIN IRELAND
MEDIN E REYES                                  5440 KIMBERLY DR                                                                                                              GRAND BLANC       MI    48439‐5164
MEDORA WILLIAMS MC FARLANE                     2 FARMSTEAD RD                                                                                                                SHORT HILLS       NJ    07078‐1225
MEDWIN & LOWY                                  C/O ENGLISH ASSN OF AMERICAN           BOND & SHARE HOLDERS LTD   BROOMFIELD BUSINESS CENTRE 80‐82 CHELMSFORD ESSEX MM1 1SS
                                                                                                                 BROMFIELD RD                     GREAT BRITAIN
MEEGAN L BOZORGZADEGAN                         5167 TEICHERT AVE                                                                                                             SACRAMENTO        CA    95819‐1546
MEEKYUNG CHUNG                                 6499 ALDEN DR                                                                                                                 W BLOOMFIELD      MI    48324‐2003
MEENA G ABREU                                  2811 LEE LANDING CT                                                                                                           FALLS CHURCH      VA    22043‐3647
MEENA NAGAPPAN & SUBBU NAGAPPAN JT TEN         5034 HUMBOLT CT                                                                                                               RIVERSIDE         CA    92507‐6078
MEENAKSHI BECTOR                               80‐41 BELL BLVD                                                                                                               QUEENS VLG        NY    11427
MEERA KRISHNAN & SANKARANARAYANAN              14551 PEBBLEWOOD DR                                                                                                           NORTH POTOMAC     MD    20878‐4313
RAMASWAMY JT TEN
MEERA SACHDEV                                  3504 TRAVIS PLACE                                                                                                             TITUSVILLE        FL    32780‐5325
MEG BALINT CUST MITCHELL BALINT UTMA NJ        PO BOX 457                                                                                                                    PIPERSVILLE       PA    18947
MEG BYERLEE                                    175 ALLEN CORNER RD                                                                                                           FLEMINGTON        NJ    08822‐5617
MEG MALOUF                                     445 W 43RD ST 1                                                                                                               NEW YORK          NY    10036‐5314
MEGAN A SWOYER                                 2865 WATERLOO                                                                                                                 TROY              MI    48084‐2682
MEGAN AMALIA SZMAJDA                           4106 WHITE ASH RD                                                                                                             CRYSTAL LAKE      IL    60014‐4618
MEGAN B CAIN                                   22912 ANN MILLER RD                                                                                                           PANAMA CITY       FL    32413‐1196
                                                                                                                                                                             BEACH
MEGAN DO CUST TYSON DO UTMA AZ                 12726 W CHEERY LYNN RD                                                                                                        AVONDALE          AZ    85392
MEGAN E MILLER                                 3842 N CALLE BARRANCO                                                                                                         TUCSON            AZ    85750‐2306
MEGAN ELIZABETH NOEL                           1248A GIRARD ST NW                                                                                                            WASHINGTON        DC    20009‐5391
MEGAN F TRIBBLE                                4730 NORTHAMPTON DR                                                                                                           JACKSON           MS    39211‐5728
MEGAN J MEHOLIC                                2001 SYLVAN AVE                                                                                                               LATROBE           PA    15650‐3068
MEGAN KUCKER                                   160 HELECHO CT                                                                                                                THOUSAND OAKS     CA    91362‐2712
MEGAN L HEBENSTREIT                            5219 N PARK AVE                                                                                                               INDIANAPOLIS      IN    46220‐3052
MEGAN LYNN REA                                 7911 WILLFIELD CT                                                                                                             FAIRFAX STATION   VA    22039‐3181
MEGAN M JAVOR                                  1417 GREENUP ST.                       APT #3                                                                                 COVINGTON         KY    41011
MEGAN M MARHELSKI & SWAWN S MARHELSKI JT TEN   8606 COMPTON RD                                                                                                               WAYNESVILLE       OH    45068‐9785

MEGAN MARIE GIEBLER                            WIESENAU 12 A D‐63303                  DREIEICH‐DREIEICHENHAIN                                    GERMANY
MEGAN MORRIS DAVIS                             2601 PARK PLACE DR                                                                                                            WINTER PARK       FL    32789
MEGAN N AUKERMAN                               5205 BAKER RD                                                                                                                 MEDINA            OH    44256‐8353
MEGAN N TRUELOVE                               212 ALYSSA LN                                                                                                                 OKLAHOMA CITY     OK    73160‐8576
MEGAN O PATTON                                 11939 THURLOE DRIVE                                                                                                           LUTHERVILLE       MD    21093‐7444
MEGAN SHANBURN                                 30038 PLEASANT TRAIL                                                                                                          SOUTHFIELD        MI    48076
MEGAN SIMONE TALBOTT                           630 ELK SPRINGS DR                                                                                                            GLENWOOD SPGS     CO    81601
MEGAN STOOKE                                   79 KENWOOD ROAD                                                                                                               GROSSE POINTE     MI    48236
MEGAN WELSH                                    725 HEATHERGATE DRIVE                                                                                                         PITTSBURGH        PA    15238‐1000
MEGERDICH MANOOGIAN & ANGELE MANOOGIAN JT      20685 NW 27TH AVE                                                                                                             BOCA RATON        FL    33434
TEN
MEGGEN J URKA                                  10556 GREENCREST DR                                                                                                           TAMPA             FL    33626‐5201
MEGGEN J URKA NAGY                             10556 GREENCREST DR                                                                                                           TAMPA             FL    33626‐5201
MEGHAN C DUFFY                                 36211 N TARA COURT                                                                                                            INGLESIDE         IL    60041‐9660
MEGHAN E MARTIN                                9 SPRUCE STREET                                                                                                               STONEHAM          MA    02180‐3060
MEGHAN E MCGINTY                               1219 BIRCH AVE                                                                                                                SAN MATEO         CA    94402‐1975
MEGHAN HECK                                    C/O BRUCE HECK                         908 BRUSHTOWN RD                                                                       LOWER GWYNEDD     PA    19002‐2005

MEGHAN MAGUIRE                                 48 HANSEN AVE                                                                                                                 NEW CITY          NY    10956‐3133
MEGHAN MORGAN MCCOMBS                          3015 RADIANCE RD                                                                                                              LOUISVILLE        KY    40220‐1803
MEGHAN N WOLFGANG                              7862 W 155TH TER                                                                                                              OVERLAND PARK     KS    66223‐3082
MEGHAN ROBINSON WANDER                         74 CARRIAGE HOUSE PATH                                                                                                        ASHLAND           MA    01721‐1810
MEHDI NEMAZI & MARY T NEMAZI JT TEN            915 OAK ST                                                                                                                    ORLANDO           FL    32804‐6255
MEHDI SHIRAZI                                  2416 APRICOT DR                                                                                                               DAYTON            OH    45431‐2606
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Name                                          Address1                               Address2             Address3          Address4          City              State Zip

MEHMET R BILGEN                               289 KENTUCKY CROSSING                                                                           ROCHESTER         NY    14612‐3238
MEHRAN SHARIFI                                5 SCHOONER LN                          APT 1H                                                   MILFORD           CT    06460‐3366
MEHRDAD K NAZARI                              6436 WOODVILLE DRIVE                                                                            FALLS CHURCH      VA    22044‐1429
MEHRNAZ HAJIMOMENIAN                          1160 ROBINDALE DR                                                                               GREAT FALLS       VA    22066‐1829
MEI YING SHEN                                 11A WILLOW DRIVE                                                                                HOPEWELL          NY    12533‐6235
                                                                                                                                              JUNCTION
MEICHELLE R COHORST                           345 WISE RD                                                                                     COMMERCE          MI    48382
                                                                                                                                              TWNSHP
MEIGS LOCAL BOARD OF EDUCATION                ATTN:MARK E RHONEMUS TREASURE/CFO      41765 POMEROY PIKE                                       POMEROY           OH    45769
MEIR MENES                                    400 MADISON ST                         APT 204                                                  ALEXANDRIA        VA    22314‐1737
MEIRA PAULINE KATZ                            820 W END AVE                          APT 7C                                                   NEW YORK          NY    10025‐5330
MEKLA P PRESTON                               12010 HEDGEDOWN                                                                                 HOUSTON           TX    77065
MEL A DUTRA & LORRAINE M DUTRA JT TEN         1545 VISTA CLUB CIR                    APT 107                                                  SANTA CLARA       CA    95054‐3750
MEL GANTMAN                                   216 STAGS LEAP LANE                                                                             LINCOLN           CA    95648‐8140
MEL H KATZ & MRS ELSIE KATZ JT TEN            6951 ALDERLER WAY                                                                               WEST BLOOMFIELD   MI    48322‐3856

MEL LANDERS                                   7305 GLENHILL RD                                                                                AUSTIN            TX    78752‐2124
MEL OSBORNE                                   1118 1ST AVE APT 5D                                                                             NEW YORK          NY    10065
MEL W HEMBREE & KAREN P HEMBREE JT TEN        158 COUNTY ROAD 677                                                                             BRYANT            AL    35958‐7301
MELAINE TEVRIZIAN MINSON                      10556 TANAGER HILLS DR                                                                          CINCINNATI        OH    45249‐3636
MELANA PETERS                                 208 LAKEVIEW DR                                                                                 HETTINGER         ND    58639‐9500
MELANEE H FORD                                PO BOX 87462                                                                                    COLLEGE PARK      GA    30337‐0462
MELANEY GAY ROSS                              331 N LOBO LANE                                                                                 CHINO VALLEY      AZ    86323‐6169
MELANIE A ARAKAKI                             1600 MELE MANU ST                                                                               HILO              HI    96720‐1798
MELANIE A FITZGERALD                          717 BRIARCLIFFE ST                                                                              SANFORD           FL    32773‐5003
MELANIE A GUEST                               3202 RAMBLEWOOD CIR                    APT 1011                                                 ARLINGTON         TX    76014‐2008
MELANIE A JOHNSON                             RR 2 BOX 1330                                                                                   CALUMET           MI    49913‐9729
MELANIE A MEADOR                              3903 N NEW JERSEY STREET                                                                        INDIANAPOLIS      IN    46205
MELANIE A SCHAAF                              4655 HOFFMAN NORTON RD                                                                          W FARMINGTON      OH    44491
MELANIE A SIMPSON                             118 S CHERRY ST                                                                                 WINSTON SALEM     NC    27101‐5229
MELANIE ANN WEBSTER                           ATTN MELANIE ANN MASCILAK              12522 FESSNER RD                                         CARLETON          MI    48117‐9740
MELANIE ANN ZEHRUNG                           3751 MAYFIELD LN                                                                                CHADDS FORD       PA    19317‐8915
MELANIE B BONENFANT                           1468 VIA LIMA                                                                                   FALLBROOK         CA    92028‐2467
MELANIE B MACMURDO                            236 N MARKET ST                                                                                 MARINE CITY       MI    48039‐3450
MELANIE BLISS VALONE                          12790 DARBY CREEK RD                                                                            ORIENT            OH    43146‐9745
MELANIE BLISS VALONE & JOHN L VALONE JT TEN   12790 DARBY CREEK RD                                                                            ORIENTI           OH    43146‐9745
MELANIE BOUDMER                               303 FALCON LN                                                                                   WEST CHESTER      PA    19382
MELANIE C NEDRUD HIE NEDRUD CHILDRENS TRUST   1217 LINCOLN RD                                                                                 MISSOULA          MT    59802‐3040
DTD 03‐27‐81
MELANIE CHICHESTER FORT                       606 UNION CHURCH ROAD                                                                           TOWNSEND          DE    19734‐9112
MELANIE D DIAMOND                             1924 HOUMA BLVD                                                                                 METAIRIE          LA    70001‐2554
MELANIE D HARRIS                              8161 MENGE ST                                                                                   CENTER LINE       MI    48015‐1651
MELANIE D HOWER                               4476 S COUNTY ROAD 700 E                                                                        KOKOMO            IN    46902‐9206
MELANIE ERLANGER                              4120 LYBYER AVE                                                                                 COCONUT GROVE     FL    33133‐6117
MELANIE FETTY                                 9501 BLUE CREEK LN                                                                              AUSTIN            TX    78758‐5801
MELANIE G D ANGELO                            1044 N SHERIDAN ST                                                                              WICHITA           KS    67203‐4767
MELANIE G POPOVICH                            133 ORCHARD PL APT 235                                                                          LACKAWANNA        NY    14218‐1762
MELANIE GRAHAM DORSEY                         10204 GARDEN WY                                                                                 POTOMAC           MD    20854‐3968
MELANIE H SCHWARTZ                            1042 S COUNTY ROAD 268                                                                          CLYDE             OH    43410‐9711
MELANIE HALSEY YANUS                          8 KINGFISHER LANE                                                                               CLINTON           CT    06413
MELANIE HART                                  9003 ADAMS CHASE CIR                                                                            LORTON            VA    22079‐3259
MELANIE HUNTER                                2353 COLLEGIATE DR                                                                              COLORADO SPGS     CO    80918‐7943
MELANIE I SCHULZE                             1514 SWEET FLAG CV                                                                              FORT WAYNE        IN    46814‐8829
MELANIE J CHISHOLM                            2334 GOLDEN POND                                                                                FENTON            MI    48430
MELANIE J CLATANOFF                           4172 36TH ST S                                                                                  ARLINGTON         VA    22206‐1806
MELANIE J FOSTER                              145 COUNTY ROAD 215                                                                             OXFORD            MS    38655
MELANIE J SCHULER                             5202 MEADOW CANYON DR                                                                           SUGAR LAND        TX    77479
MELANIE JAMES                                 15210 G0LFVIEW CT                                                                               HILLMAN           MI    49746
MELANIE JANE GUEST                            C/O MELANIE GUEST FINE                 1313 LIPPER                                              HIGGINSVILLE      MO    64037‐1223
                                           09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
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Name                                             Address1                             Address2                     Address3   Address4          City             State Zip

MELANIE JEAN SAVAGE                              495 N DAISY AVE                                                                                PASADENA         CA    91107‐2802
MELANIE JO MAUPIN                                5609 CASCADE DR                                                                                CHAPEL HILL      NC    27514‐9620
MELANIE L PHILLIPS                               ATTN MELANIE L BUSCH                 4422 KERTH CIRCLE CROSSING                                ST LOUIS         MO    63128‐3131
MELANIE L SCHLOSS                                5180 MIAMI ROAD                                                                                CINCINNATI       OH    45243‐3916
MELANIE L WERTH                                  ATTN MELANIE W MC CARTHY             11461 CROSBY                                              FENTON           MI    48430‐8924
MELANIE M DAILY                                  312 GREY OWL RUN                                                                               CHULUOTA         FL    32766‐6601
MELANIE M GERKEN & BRADLEY E GERKEN JT TEN       122 CHELSEA ST                                                                                 NEW BRAUNFELS    TX    78130‐8982
MELANIE M KEROACK                                23115 E BROADWAY AV                                                                            LIBERTY LAKE     WA    99019‐7506
MELANIE M KEROACK CUST JUSTIN MICHAEL TODD       23115 E BROADWAY AV                                                                            LIBERTY LAKE     WA    99019‐7506
TURNER UTMA OR
MELANIE M TURNER                                 23115 E BROADWAY AV                                                                            LIBERTY LAKE     WA    99019‐7506
MELANIE MAAS                                     1205 SW2                                                                                       WADENA           MN    56482‐2010
MELANIE MARSILII BOYER & MICHAEL LAMONT BOYER    PMB 118                              PO BOX 1347                                               BETHEL           AK    99559‐1347
JT TEN
MELANIE MARTHA RUSK & NATALIE RUSK JT TEN        42221 WATERFALL                                                                                NORTHVILLE       MI    48167‐2254
MELANIE MCCALL BROWN                             8701 E OUTER DR                                                                                DETROIT          MI    48213‐4003
MELANIE MCCALL BROWN                             8701 E OUTER DR                                                                                DETROIT          MI    48213‐4003
MELANIE NOVELLO                                  180 HILLCREST ROAD                                                                             WATCHUNG         NJ    07069‐6006
MELANIE R GADEN                                  PO BOX 24371                                                                                   EDINA            MN    55424
MELANIE R HAYWOOD                                4725 HICKORY WAY                                                                               ANTIOCH          TN    37013‐5617
MELANIE R MAULDIN                                2035 WESTRIDGE DR                                                                              ROCK HILL        SC    29732‐9737
MELANIE R SHOWTIS                                483 E ILLINOIS RD                                                                              LAKE FOREST      IL    60045‐2364
MELANIE R STEPHENSON                             14400 MORNING MOUNTAIN WAY                                                                     ALPHARETTA       GA    30004‐4521
MELANIE RAINEY CUST BRACKON DEE RAINEY UTMA IN   413 HELTONVILLE RD EAST                                                                        BEDFORD          IN    47421‐9245

MELANIE RAYMUNDO                                 4335 VAN NUYS BLVD # 421                                                                       SHERMAN OAKS     CA    91403
MELANIE ROSE MORRIS                              504 BUNKERS COVE RD                                                                            PANAMA CITY      FL    32401‐3916
MELANIE SLAGOWSKI & FRANK M FULLMER JR JT TEN    P O BOX 1112                                                                                   LYMAN            WY    82937

MELANY J HOLMES                                18274 SHERBROOKE OVAL                                                                            STRONGSVILLE     OH    44136‐7098
MELANY R MELAKEA                               47‐748 HUI KELU ST #5                                                                            KANEOHE          HI    96744‐4523
MELBA A NUTH                                   3912 EDENROCK                                                                                    CANFIELD         OH    44406‐9383
MELBA B FOUNTAIN                               9072 SCENIC RIVER DR                                                                             BILOXI           MS    39532‐8156
MELBA BERNIECE BONNER                          5513 COUNCIL RING BLVD                                                                           KOKOMO           IN    46902‐5431
MELBA C STEPHENSON TR MELBA C STEPHENSON REV   22490 MULE BARN ROAD                                                                             SHERIDAN         IN    46069‐9137
TRUST UA 04/20/01
MELBA E DUFFY & JAMES A DUFFY & JOHN R DUFFY & 10717 HACKBERRY DR                     APT 2                                                     SAINT LOUIS      MO    63128‐1328
TERESE E DUFFY JT TEN
MELBA G COOPER                                 5260 SORRENTO DR                                                                                 BOISE            ID    83704‐2353
MELBA H BROOKS                                 8300 S SHARTEL                                                                                   OKLAHOMA CITY    OK    73139‐9314
MELBA H LEAHY                                  207 READING CIR                                                                                  LANSDALE         PA    19446‐3964
MELBA H POPE                                   11915 ALOE VERA TRL                                                                              AUSTIN           TX    78750‐1386
MELBA HINCHEN                                  6902 QUIMBY AVE                                                                                  CLEVELAND        OH    44103‐3240
MELBA J BOGUE                                  4077 E COUNTY ROAD 300 S                                                                         KOKOMO           IN    46902
MELBA J CHATTLEY                               PO BOX 462                                                                                       PANGBURN         AR    72121‐0462
MELBA J DEAN                                   BOX 593                                                                                          SWARTZ           LA    71281‐0593
MELBA J HUNSBARGER                             8790 DEER PLAINS WAY                                                                             HUBER HEIGHTS    OH    45424‐7020
MELBA J SHIRLEY                                829 N BROADWAY P O BOX 45                                                                        CHAPMAN          KS    67431‐0045
MELBA J SMITH                                  5344 HOUGH RD                                                                                    DRYDEN           MI    48428‐9313
MELBA JEAN GARNER                              1701 PLYMOUTH DR                                                                                 NEW CASTLE       IN    47362
MELBA JOYCE HOLMES                             294 SPENCE RD                                                                                    MONROE           LA    71203‐8111
MELBA K MARSHALL                               2465 S TECUMSEH RD                                                                               SPRINGFIELD      OH    45502‐9736
MELBA L BOIKE TR MELBA L BOIKE REV TRUST UA    9614 LOVELAND                                                                                    LIVONIA          MI    48150‐2730
09/28/00
MELBA L SIPES                                  687 CUTSINGER ROAD                                                                               GREENWOOD         IN   46143‐9539
MELBA LEE SMITH                                6902 COLONIAL DR                                                                                 FLINT             MI   48505‐1906
MELBA LYNN MAWHINNEY & ROBERT E MAWHINNEY JR 23 EL ESPINAR LN                                                                                   HOT SPRINGS VILLA AR   71909‐2626
JT TEN
MELBA M FREITAS                                1526 N SAN JOSE ST                                                                               STOCKTON         CA    95203‐1635
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MELBA R CLAPP                                    305 MEADOW POINTE DR                                                                            FENTON           MI    48430‐3260
MELBA R PARKS                                    #401                                   9120 BELVOIR WOODS PKWY                                  FORT BELVOIR     VA    22060‐2725
MELBA V MACKEY                                   484 10TH ST                            APT 3                                                    SEBEWAING        MI    48759‐1264
MELBA WILLBRANKS                                 11410 BROOKSHIRE #417                                                                           DOWNEY           CA    90241‐5015
MELBELEEN R SHORT                                1332 POWERSDALE AVE                                                                             YOUNGSTOWN       OH    44502‐2153
MELBOURNE J BOHNERT & JUDITH K BOHNERT JT TEN    312 HUBER RD                                                                                    PERRYVILLE       MO    63775‐9659

MELBOURNE P VAN NEST                             1258 WELLER WAY                                                                                 WESTMINSTER      MD    21158‐4317
MELBOURNE W MILLER                               7720 ALLISON ST                        STE 406                                                  ARVADA           CO    80005‐5024
MELBY W HORTON JR                                BOX 17                                                                                          BROOKLYN         IN    46111‐0017
MELCHIOR LUX & WALTRAUD S LUX JT TEN             24253 LORETTA                                                                                   WARREN           MI    48091‐4469
MELCHIOR LUX & WALTRAUD S LUX TR LUX TRUST UA    24253 LORETTA                                                                                   WARREN           MI    48091‐4469
09/18/00
MELCHOR E LAROCO                                 2243 ROCK SPRINGS RD                                                                            COLUMBIA          TN   38401‐7425
MELCHOR R VILLARREAL JR                          3732 ROLLING RIDGE CT                                                                           LAKE ORION        MI   48359‐1464
MELDA C SYSLO                                    847 BOYD STREET                                                                                 MASURY            OH   44438‐9769
MELEAH M RUNNELLS                                3008 TIMBER CREEK DR                                                                            NORTH LITTLE ROCK AR   72116‐6490

MELECIO R MEZA                                   4499 E JASON RD                                                                                 ST JOHNS         MI    48879‐9131
MELFERD A PHILLIPS                               177 SHIELDS ST                                                                                  WINDER           GA    30680‐2266
MELFORD E WINFREY & MARGARET WINFREY JT TEN      1901 S LAKEVIEW DR                                                                              CHOCTAW          OK    73020‐6207

MELFORD L PARIS                                  2937 GANT QUARTERS CIR                                                                          MARIETTA         GA    30068‐3725
MELIA C ELLIS                                    550 RENEE CT                                                                                    GENEVA           IL    60134‐1088
MELIA C ELLIS & TULA ELLIS JT TEN                550 RENEE CT                                                                                    GENEVA           IL    60134‐1088
MELIEDA R MCGOWEN TR UA 05/23/94 MELIEDA R       911 MISSION RD                                                                                  HARRISONVILLE    MO    64701‐2961
MCGOWEN TRUST
MELIHA RESIC                                     3257 MESA VERDE CT SE                                                                           GRAND RAPIDS     MI    49512
MELINA A BOSCUTTI & THOMAS R BOSCUTTI JT TEN     14 SANTA CLARA DR                                                                               LOMPOC           CA    93436‐7806

MELINA A GEORGITSIS                          736 LAKE AVE                                                                                        GREENWICH        CT    06830‐3363
MELINA CHANDLER                              4177 MARATHON COURT                                                                                 COLUMBUS         OH    43230‐1108
MELINA LAUREN TALBOTT                        2234 SPINK ST NW                                                                                    ATLANTA          GA    30318‐1145
MELINDA A GIBBS                              105 1/2 S EAST STREET                                                                               FENTON           MI    48430‐2107
MELINDA A GRAHAM                             230 CREEKSIDE DR                                                                                    SALISBURY        MD    21804‐2801
MELINDA ANDREWS MILLER                       21712 W 53RD ST                                                                                     SHAWNEE          KS    66226
MELINDA ANN WILSON                           2559 KATHLEEN DR                                                                                    BRIGHTON         MI    48114‐8939
MELINDA BEVERLY‐WILLIAMS                     2157 HONEYSUCKLE LANE                                                                               ATLANTA          GA    30311‐3936
MELINDA C RICHARDSON                         9325 WESTBURY WOODS DR                     APT L                                                    CHARLOTTE        NC    28277‐0187
MELINDA CAYE RUSSELL                         118 TAYLOR ST                                                                                       SANTA CRUZ       CA    95060‐4943
MELINDA CHIU                                 8210 WEST 93RD WAY                                                                                  BROOMFIELD       CO    80021‐4514
MELINDA CROW HARPER                          6811 CAPILLA ST                                                                                     MIAMI            FL    33146‐3703
MELINDA D LANG                               24 TURKEYHILLS DRIVE                                                                                TROY             MO    63379
MELINDA D RICHARDSON                         4158 WOODSIDE KNOLL                                                                                 GRAPEVINE        TX    76051‐6518
MELINDA DELANE SMESNY                        102 CRESTLINE DR                                                                                    PLEASANTON       TX    78064‐1522
MELINDA DILLARD JACKSON                      4402 ST KNAPP                                                                                       PORTLAND         OR    97206
MELINDA E BLOOM                              277 CHESTERFIELD DR                                                                                 ROCHESTER        NY    14612‐5237
MELINDA E EHRIG                              23497 R AVE                                                                                         GRUNDY CENTER    IA    50638‐8574
MELINDA E MASON                              1323 E PLEASANT HILL RD #9                                                                          CARBONDALE       IL    62901‐6119
MELINDA GRANT WATSON CUST DAREN MICHAEL UTMA 7 LATIGO LN                                                                                         PLS VRDS PNSL    CA    90274‐1520
CA
MELINDA H PLATT                              1041 MANGROVE LN                                                                                    ALAMEDA          CA    94502‐7009
MELINDA HODES                                ATTN MELINDA H GREENHALGH                  748 CALABRIA LN                                          AMBLER           PA    19002‐1539
MELINDA INHOFE WATSON                        PO BOX 581                                                                                          SAINT PETERS     MO    63376‐0010
MELINDA JANE TAYLOR                          1664 ROCKLEIGH RD                                                                                   DAYTON           OH    45458‐6048
MELINDA K GRICE                              924 SEIBERT RD                                                                                      BELLEFONTE       PA    16823‐8552
MELINDA K HATFIELD                           7760 MOTE ROAD                                                                                      WEST MILTON      OH    45383‐7705
MELINDA K WARNER                             6 GERARD ST                                                                                         BELLPORT         NY    11713‐2709
MELINDA KAY SCOTT                            10137 AUDELIA RD                                                                                    DALLAS           TX    75238‐1501
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Name                                             Address1                             Address2                 Address3        Address4          City              State Zip

MELINDA KIDD                                      5169 WARWICK WOODS TR                                                                          GRAND BLANC       MI    48439‐9405
MELINDA L MILLER                                  43353 CITATION                                                                                 NOVI              MI    48375
MELINDA L ODEA                                    ATTN MELINDA L WALSH                488 ORCHARDALE DR                                          ROCHESTER HILLS   MI    48309‐2246
MELINDA L POKORZYNSKI                             PO BOX 193                                                                                     BEAR LAKE         MI    49614‐0193
MELINDA L RUDICK                                  137 WOODRUFF 462                                                                               MC CRORY          AR    72101
MELINDA L SECHRIST                                2043 HEIM HILL RD                                                                              MONTOURSVILLE     PA    17754‐9623
MELINDA L THEODORE                                17 JUNE ST                                                                                     WESTWOOD          MA    02090‐3020
MELINDA LEBOSQUET                                 100 JONES AVENUE                                                                               PORTSMOUTH        NH    03801‐5516
MELINDA LEE CROW                                  ATTN MELINDA CROW HARPER            6811 CAPILLA ST                                            MIAMI             FL    33146‐3703
MELINDA M BUHLER                                  6490 LUANNE DRIVE                                                                              FLUSHING          MI    48433‐2320
MELINDA M CHAIN                                   239 HALBERTON DR                                                                               FRANKLIN          TN    37069‐4341
MELINDA M DISMUKE                                 3606 RIDGE TOWNE DR                                                                            DULUTH            GA    30096‐6616
MELINDA M HEDDING                                 63 LAURELWOOD DR                                                                               NIANTIC           CT    06357‐2014
MELINDA M SCHULTE                                 5150 COLLETT AVE                                                                               ENCINO            CA    91436‐1421
MELINDA M WARD                                    3520 EISENHOWER LANE                                                                           PLANO             TX    75023‐3828
MELINDA M WEST CUST EARL FRANCIS RICE III UGMA MI 11944 HUNTERS CREEK DR                                                                         PLYMOUTH          MI    48170‐2820

MELINDA M WEST CUST EARL FRANCIS RICE WEST       11944 HUNTERS CREEK DRIVE                                                                       PLYMOUTH          MI    48170‐2820
UGMA MI
MELINDA M WEST CUST EARL FRANCIS RISE            11944 HUNTERS CREEK DR                                                                          PLYMOUTH          MI    48170‐2820
MELINDA MARGOT KEIRNAN                           33120 LEDGEHILL DRIVE                                                                           SOLON             OH    44139‐1923
MELINDA R BAUN                                   4515 S DURANGO DR                    APT 1028                                                   LAS VEGAS         NV    89147‐6076
MELINDA RENE BONTA                               ATTN MELINDA RENE BONTA              STEWART                  3801 KNOX AVE                     ROSAMOND          CA    93560‐6414
MELINDA STAGE                                    4099 WESTOVER DR                                                                                CROWN POINT       IN    46307‐8955
MELINDA SUE AUSTIN                               912 EMMET                                                                                       SAINT LOUIS       MO    63104‐3920
MELINDA SUE OAKEY                                PO BOX 9022                                                                                     WARREN            MI    48090‐9022
MELINDA SUSAN LANE                               11 SUMMER ST                                                                                    KINGSTON          MA    02364‐1416
MELINDA VIA                                      27 TAMARACK LANE                                                                                THOMPSON FALLS    MT    59873‐9523

MELINDA WILSON KERN                              2559 KATHLEEN DR                                                                                BRIGHTON          MI    48114‐8939
MELINDIA G JACKSON                               PO BOX 305                                                                                      ALLEGAN           MI    49010‐0305
MELINE APOIAN                                    CABLE GARDENS B 212                  126 COUNTY RD                                              IPSWICH           MA    01938‐2580
MELING R RAPADAS                                 PO BOX 26                                                                                       LAPEER            MI    48446‐0026
MELIS R ERLBECK                                  211 E RIDGELY RD                                                                                LUTHERVILLE       MD    21093‐5238
                                                                                                                                                 TIMONIUM
MELISA A PRATT & SHAUN P PRATT JT TEN            7116 CROSSWIND DRIVE                                                                            SWARTZ CREEK      MI    48473
MELISE SHARON STENERSON                          N1944 COUNTY RD OK                                                                              JUDA              WI    53550‐9730
MELISSA A BONEY                                  ATTN MELISSA B CLARK                 121 PINEVIEW CHURCH RD                                     BLYTHEWOOD        SC    29016‐8604
MELISSA A BOYD CUST KRISTA MARY LINTHICUM UTMA   8150 MOUNTAIN LAUREL RD                                                                         BOONSBORO         MD    21713‐1830
MD
MELISSA A COLLINS & THOMAS M COLLINS JT TEN      84 NOMINI BAY DR                                                                                MONTROSS          VA    22520
MELISSA A EAVES                                  1562 E CROCUS DRIVE                                                                             PHOENIX           AZ    85022
MELISSA A FISHER                                 5523 JASON ST                                                                                   HOUSTON           TX    77096‐2103
MELISSA A HARTMANN CUST CHRISTOPHER M            109 WOODSVALE RD                                                                                MADISON           CT    06443‐1749
HARTMANN UGMA CT
MELISSA A JAGEL                                  PO BOX 5277                                                                                     SHERMAN OAKS      CA    91413
MELISSA A KWIATKOWSKI                            686 NORTON STREET                                                                               ROCHESTER         NY    14621‐3542
MELISSA A PONTE                                  409 PARK AVE                                                                                    HERKIMER          NY    13350‐1727
MELISSA A RIEGEL                                 255 MCCOY LN                                                                                    LEESPORT          PA    19533
MELISSA A RODKIN                                 760 TENNIS AVE                                                                                  GLENSIDE          PA    19038‐1707
MELISSA A RODKIN                                 760 TENNIS AVE                                                                                  ARDSLEY           PA    19038‐1707
MELISSA A WERNER                                 468 WHITE OAK TRAIL                                                                             SPRING HILL       TN    37174‐7539
MELISSA A WIGHT                                  36 DOWNS MEADOW CT                                                                              HAMLIN            NY    14464‐9337
MELISSA ALLEN                                    BOX 111                                                                                         WYOMING           NY    14591‐0111
MELISSA ANN ELLIOTT                              2402 BROCKMAN BLVD                                                                              ANN ARBOR         MI    48104‐4705
MELISSA ANN JARVIS                               11860 CHILLICOTHE LANCASTER RD                                                                  AMANDA            OH    43102‐9311
MELISSA ANN JONES                                2096 LAMAR RD                                                                                   NORMAN            OK    73072‐9179
MELISSA ANN MILLER                               379 CLINT CT                                                                                    LAKE ORION        MI    48362‐1070
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MELISSA ANN POTAMIANOS & PAUL E POTAMIANOS JT    10 KETCHBROOK LN                                                                                ELLINGTON        CT    06029‐3853
TEN
MELISSA ANN WEISSBARD                            15 CHERRY PLACE                                                                                 NUTLEY           NJ    07110‐1713
MELISSA B REGAN CUST BRENNAN REGAN UTMA MI       32161 RED CLOVER COURT                                                                          FARMINGTON HILLS MI    48334‐3552

MELISSA B REGAN CUST JULIA REGAN UTMA MI         32161 RED CLOVER COURT                                                                          FARMINGTON HILLS MI    48334‐3552

MELISSA BATMAN                                   2514 MT TORNEY RD                                                                               LYNDHURST        VA    22952
MELISSA BETH ROSENBERG                           143 OVERLOOK TER                                                                                ROSLYN HEIGHTS   NY    11577‐1434
MELISSA BROCK HART                               C/O CLIFTON H BROCK                    PO BOX 100                                               LILLINGTON       NC    27546‐0100
MELISSA BROUGHTON                                1905 STERIGERE ST                                                                               W NORRITON       PA    19403
MELISSA BURKE CUST BRAYDEN J BURKE UTMA CA       4 MOHAVE WAY                                                                                    RANCHO SANTA     CA    92688
                                                                                                                                                 MARGARITA
MELISSA BURKE CUST COLE D BURKE UTMA CA          4 MOHAVE WAY                                                                                    RANCHO SANTA     CA    92688
                                                                                                                                                 MARGARITA
MELISSA C BROOKS                                 7209 SHERIDAN AVENUE S                                                                          RICHFIELD        MN    55423
MELISSA C HAYT                                   1523 WINTERCREST ST                                                                             EAST LANSING     MI    48823‐1721
MELISSA C JAMES                                  1865 E HAMMOND LAKE CT                                                                          BLOOMFIELD       MI    48302‐0124
MELISSA C ROBIN CUST SHAWN M ROBIN UTMA NJ       8 ALWYN TER                                                                                     RUTHERFORD       NJ    07070‐1625

MELISSA CARL CUST AIDEN CARL UGMA NY             43 CARL LANE                                                                                    VOORHEESVILLE    NY    12186
MELISSA CARL CUST NICHOLAS CARL UGMA NY          43 CARL LANE                                                                                    VOORHEESVILLE    NY    12186
MELISSA CARROLL                                  669 UNDERCLIFF AVE                                                                              EDGEWATER        NJ    07020‐1418
MELISSA COLLINS                                  9 FRONT ST                                                                                      OWEGO            NY    13827‐1545
MELISSA CORLEY CUST CHRISTOPHER CORLEY UTMA FL   15430 CATALPA COVE LN                                                                           FORT MYERS       FL    33908

MELISSA D BANKS                                  3468 BROOK CT                                                                                   REX              GA    30273‐1177
MELISSA D BRAY                                   PO BOX 3839                                                                                     LEESVILLE        SC    29070‐1839
MELISSA D KAYE                                   C/O MELISA D SPARKS                    537 WYNLYN RD                                            WYNNEWOOD        PA    19096‐1311
MELISSA D RUSS                                   5923 VELASCO AVE                                                                                DALLAS           TX    75206‐6329
MELISSA DEE QUINN                                1973 CEDARWOOD DR                                                                               MELBOURNE        FL    32935‐6013
MELISSA DIBUONO CUST WILLIAM JAMES DIBUONO       505 INLETT WOODS CT                                                                             ALPHARETTA       GA    30005‐6914
UGMA NY
MELISSA DOTY ZIVITZ                              1300 27TH PL S                         APT 11                                                   BIRMINGHAM       AL    35205‐2550
MELISSA E MORRISSEY                              19667 E MAPLEWOOD AVE                                                                           AURORA           CO    80016‐3875
MELISSA EFFLER                                   323 PINE BROOK RD                                                                               BEDFORD          NY    10506
MELISSA ERB                                      21 SOUTH FULTON ST UNIT 3                                                                       MONTAUK          NY    11954‐5258
MELISSA F RAINEAR                                1232 SYDNEY DR                                                                                  CHARLOTTE        NC    28270‐9700
MELISSA FAAS                                     1706 OAK COURT                                                                                  MONMOUTH JCT     NJ    08852
MELISSA FARISH MORRISON                          216 DUNKERRON RD                                                                                NATCHEZ          MS    39120
MELISSA FERNANDEZ CUST ROLANDO FERNANDEZ         45 KELLEHER AVE                                                                                 RAMSEY           NJ    07446‐2331
UGMA NJ
MELISSA GARRIGAN                                 12419 FOREST GLEN BLVD                                                                          PALOS PARK       IL    60464‐1775
MELISSA H BACON                                  5325 PONDEROSA DR                                                                               COLUMBUS         OH    43231‐4033
MELISSA HARINGS CUST C WILLIAM HARING U/THE      9311 HUNTING VALLEY N RD                                                                        CLARENCE         NY    14031‐2412
MICHIGAN U‐G‐M‐A
MELISSA HECKATHORN                               1352 MONTROSE PL                                                                                EVANS            GA    30809‐8201
MELISSA ILENE KRAUSE                             6725 ORINOCO CIRCLE                                                                             BLOOMFIELD       MI    48301
MELISSA J DOOM & JEFF L DOOM JT TEN              1862 E ERIE RD                                                                                  ERIE             MI    48133‐9500
MELISSA J EGGENBERGER                            102 MARKET ST                                                                                   GRIDLEY          IL    61744‐8731
MELISSA J MILLER                                 3392 TALBERT CIR                                                                                ROCHESTER HLS    MI    48307‐5078
MELISSA J PARKER                                 10062 QUIRK ROAD                                                                                BELLEVILLE       MI    48111‐1233
MELISSA J ROEPSTORFF                             2805 URBANDALE LN                                                                               PLYMOUTH         MN    55447‐1556
MELISSA J SRABIAN                                1616 CAMELOT                                                                                    TRENTON          MI    48183‐1949
MELISSA J STANLEY                                4681 A PARK DRIVE                                                                               CARLSBAD         CA    92008‐4244
MELISSA JAYNE JOHNSON                            1235 AZALEA DRIVE                                                                               MUNSTER          IN    46321
MELISSA JAYNE WRIGHT                             5101 BETHEL CHURCH ROAD                                                                         SALINE           MI    48176‐9728
MELISSA JEAN POULOS                              813 N ELMORE                                                                                    PARK RIDGE       IL    60068‐2714
MELISSA JO CRUMBLISS                             1426 LARAMIE LANE                                                                               JANESVILLE       WI    53546
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MELISSA JONES                                    24455 TUDOR LN                                                                                  FRANKLIN         MI    48025‐1619
MELISSA K BARGER                                 1521 W OLD SLOCUM TRL                                                                           LAFONTAINE       IN    46940‐9112
MELISSA K DUTTON CUST NICHOLAS PHILLIP DUTTON    36 N STANWOOD RD                                                                                BEXLEY           OH    43209‐1501
UTMA FL
MELISSA K HAMILTON & STEPHEN L HAMILTON JT TEN   104 FALCON HILLS DR                                                                             LITTLETON        CO    80126‐2911

MELISSA K OCONNOR                                1105 INVERNESS CIRCLE                                                                           SHAWNEE          OK    74801
MELISSA K PEARCE & LESLIE M PEARCE JT TEN        136 ST JOHN ST                                                                                  HIGHLAND         MI    48357‐4648
MELISSA KAYE BECK                                15749 VIA SONATA                                                                                SAN LORENZO      CA    94580‐1353
MELISSA KERLEY                                   7300 WELLE                                                                                      BRIGHTON         MI    48116‐8811
MELISSA KIRCHGESSNER                             79 OAKLAND STREET                                                                               ROCHESTER        NY    14620‐2332
MELISSA KUHN                                     3313 C ST                                                                                       ROCK FALLS       IL    61071‐2415
MELISSA L BALL                                   38374 SADDLE LN                                                                                 CLINTON TWP      MI    48036‐1781
MELISSA L BARNETT                                510 WOODVIEW TRL                                                                                AURORA           OH    44202‐6510
MELISSA L CHIRIKOS                               2052 W NORTH AVE                       APT 4E                                                   CHICAGO          IL    60647‐9702
MELISSA L GEIGER                                 PO BOX 138                                                                                      PHILADELPHIA     TN    37846‐0138
MELISSA L GILES                                  1827 N D STREET                                                                                 LAKE WORTH       FL    33460‐6413
MELISSA L KING                                   7212 WALNUT CREEK                      CROSSING                                                 AVON             IN    46123
MELISSA L ROBERTS                                461 GROVE ST                                                                                    ORADELL          NJ    07649‐1719
MELISSA L ROWLETT                                5333 N W WAGON TRAIL                                                                            HOUSTON LAKE     MO    64151‐3322
MELISSA L SANTOLI                                8 KRISTIAN DR                                                                                   SICKLERVILLE     NJ    08081‐4947
MELISSA L SHAW                                   9538 HIGHWAY 21                                                                                 HILLSBORO        MO    63050‐2518
MELISSA L WALDEN CUST BRIDGET M WALDEN UTMA      6858 SHREWSBURY CT                                                                              HAMILTON         OH    45011
OH
MELISSA LEE & CHERYL M DAVIS JT TEN              ATTN CHERYL M WOODWARD                 1401 W NEWPORT PIKE                                      WILMINGTON       DE    19804‐3522
MELISSA LIGHTNER                                 11862 GRANITE WOODS LO                                                                          VENICE           FL    34292‐4116
MELISSA LORREEN DICKASON                         1666 CRITESER LOOP                                                                              TOLEDO           OR    97391‐9516
MELISSA LYNN CHAMBERS CUST ROBERT MCMAHON        33285 MASON RD                                                                                  MINE RUN         VA    22508‐9784
CHAMBERS UTMA VA
MELISSA M GRIGIONE                               25 ORCHARD RD                                                                                   BREWSTER         NY    10509‐1707
MELISSA M HOLOBACH                               103 KING FISHER WAY                                                                             SEBASTIAN        FL    32958‐5235
MELISSA M MAY                                    23 BIRDSONG PKWY                                                                                ORCHARD PARK     NY    14127‐3046
MELISSA M MERSCH                                 471 CLOVER DR                                                                                   ALGONQUIN        IL    60102‐6510
MELISSA M MOSSER                                 372 S LIBERTY WAY                                                                               ORANGE           CA    92869‐4925
MELISSA M PARKIN                                 3960 LARES WAY                                                                                  SALT LAKE CITY   UT    84124‐3352
MELISSA M REEVES & BRYAN P REEVES JT TEN         3003 MEMORIAL CT                       APT 2224                                                 HOUSTON          TX    77007‐5996
MELISSA MCCUE                                    2 SUTTON PL S                                                                                   NEW YORK         NY    10022‐3070
MELISSA MEYER                                    8596 ROAD 11‐H                                                                                  OTTAWA           OH    45875
MELISSA MUNSEY ANNIS CUST GEREMY PARK ANNIS      22 HOLMAN ST                                                                                    LACONIA          NH    03246‐3016
UTMA NH
MELISSA N MATUSEVICH                             3008 STRADFORD LN                                                                               BLACKSBURG       VA    24060‐8176
MELISSA NANGLE                                   5628 QUAIL HOLLOW CIRCLE                                                                        KALAMAZOO        MI    49009‐8969
MELISSA NEHLEN                                   902 HEARTWOOD CI                                                                                LAWRENCEVILLE    GA    30043‐4272
MELISSA P MAGEE                                  3000 STANFORD DR                                                                                PLANO            TX    75075‐7621
MELISSA P SIKES YEOMANS                          2375 CASON RD                                                                                   BLACKSHEAR       GA    31516‐4507
MELISSA R CENTERS                                4691 MAYBEE RD                                                                                  CLARKSTON        MI    48348‐5124
MELISSA R CHAMNESS                               1197 APACHE TRAIL                                                                               JAMESTOWN        OH    45335
MELISSA R CULVER                                 9601 SHELLWAY NW DR                                                                             RAPID CITY       MI    49676‐8428
MELISSA R NITSCHKE                               262 POTIC MOUNTAIN RD                                                                           CATSKILL         NY    12414‐6303
MELISSA R SCHRECK CUST NOLAN J SCHRECK UTMA OH   2003 LIBERTY AVE                                                                                IRONTON          OH    45638‐2219

MELISSA R SCHRECK CUST RILEY G SCHRECK UTMA OH   2003 LIBERTY AVE                                                                                IRONTON          OH    45638‐2219

MELISSA S BUCHER                                 14140 WOODFIELD CIR                                                                             CARMEL           IN    46033‐9426
MELISSA S CROSS                                  14790 RUTHELEN CT                                                                               SAN LEANDRO      CA    94578‐4424
MELISSA S KELLY‐MCCABE                           5655 STID HILL                                                                                  NAPLES           NY    14512‐9737
MELISSA S KINCH                                  12016 GREENWOOD RD                                                                              MIDDLETOWN       OH    45042
MELISSA S MAZURICK                               337 FLANDERS ROAD                                                                               SOUTHINGTON      CT    06489
MELISSA S MILLER                                 601 ENGELMAN DR                                                                                 TYRONE           PA    16686‐2037
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MELISSA S ORTH                                 73 EAST BASS CIRCLE                                                                            MARBLEHEAD      OH    43440‐9770
MELISSA S PEDERSEN                             1848 KAHAKAI DR 1602                                                                           HONOLULU        HI    96814‐4811
MELISSA S SOUTHARD CUST CALLUM RHYS SOUTHARD   1216 LUCY STREET                                                                               TALLAHASSEE     FL    32308
UTMA FL
MELISSA SHEEHAN WIRTH                          140 THATCHING LN                                                                               ALPHARETTA      GA    30022‐8176
MELISSA SHIVE                                  3811 N SUNNYFIELD DR                                                                           COPLEY          OH    44321‐1940
MELISSA SIENER & THOMAS A SIENER JT TEN        1808 LOCKS MILL DR                                                                             FENTON          MO    63026‐2661
MELISSA SUE MELVIN                             PO BOX 80769                                                                                   ST CLR SHORES   MI    48080‐5769
MELISSA W SHAVER                               12405 CLARK STREET                                                                             CROWN POINT     IN    46307‐8737
MELISSA WHITLEY LARSON                         3942 SIRIUS DR                                                                                 HUNTINGTN BCH   CA    92649‐3063
MELISSA ZALETSKI                               408 DUNDEE LN                                                                                  CHESAPEAKE      VA    23322
MELISSIA JOHNSON                               11835 SE 78TH ST                                                                               NEWCASTLE       WA    98056‐9175
MELITA SOKOLOWSKI                              121 TALL WOOD DRIVE                                                                            SOUTHINGTON     CT    06489‐2831
MELLAKU MAKONNEN                               09 14E ST                             ROXBORO QC                             H8Y 1M1 CANADA
MELLICHA PHILLIPS                              259 PHILLIPS RD                                                                                BAILEYTON       AL    35019‐8301
MELLISSA BROWN                                 15371 SORRENTO                                                                                 DETROIT         MI    48227‐4023
MELODEE MILLER HANSON TR MELODEE MILLER        4236 ELM ST                                                                                    DOWNERS GROVE   IL    60515‐2115
HANSON TRUST UA 10/03/02
MELODIE M BISHOP                               211 E DELAWARE PL 14                                                                           CHICAGO          IL   60611‐1713
MELODIE N HERSHBERGER                          3065 MAROON BELLS                                                                              COLORADO SPRINGS CO   80918‐1565

MELODY A CAVASOZ CUST JANYNE ROCHELLE CAVASOZ 1508 BIRCH AVE                                                                                  MARQUETTE       MI    49855‐1602
UGMA MI
MELODY A CAVASOZ CUST TASHINA MARIE CAVASOZ   1508 BIRCH AVE                                                                                  MARQUETTE       MI    49855‐1602
UGMA MI
MELODY A CONAGHAN                             8584 ARMADILLO TRL                                                                              EVERGREEN       CO    80439‐6209
MELODY A MYERS                                PO BOX 691                                                                                      MANCHESTER      TN    37349‐0691
MELODY ANN MILLER                             13276 GOLDEN CIRCLE                                                                             FENTON          MI    48430‐1014
MELODY BEATRICE GILBERT                       C/O MELODY BEATRICE LOVEGROVE          10196 DURAND RD                                          DURAND          MI    48429‐9428
MELODY COWAN BALDWIN                          5207 NW 60TH TERR                                                                               KANSAS CITY     MO    64151‐4702
MELODY D BEARD                                1921 LYNBROOK DR                                                                                FLINT           MI    48507‐6032
MELODY D SCHUETTE                             5673 WOODFIELD PKWY                                                                             GRAND BLANC     MI    48439‐9427
MELODY DOUGLAS TATE CUST GREATCHEN P TATE     4142 N GREENVIEW                                                                                CHICAGO         IL    60613‐1939
UGMA IL
MELODY E DOFF                                 150 S SPALDING DR                      APT 7                                                    BEVERLY HILLS   CA    90212‐1816
MELODY H ELDRIDGE                             11920 HUNTER ROAD                                                                               BATH            MI    48808‐9442
MELODY HARBAUM                                309 MICHELLE DR                                                                                 OXFORD          OH    45056‐3021
MELODY IDEM                                   6495 SAN MICHEL WAY                                                                             DELRAY BEACH    FL    33484
MELODY K ANN AUMILLER & BRIDGET R CANNING JT  206 POLECAT RD                                                                                  CENTRE HALL     PA    16828‐8914
TEN
MELODY K BOYLAN                               4437 ROCKINGHAM DR                                                                              JANESVILLE      WI    53546‐3315
MELODY N REEVES                               990 CHAREST RD                                                                                  SOMERVILLE      AL    35670‐3317
MELODY S CULVER                               9020 CAMBY RD                                                                                   CAMBY           IN    46113‐9292
MELODY S PETERS                               486 SKYHARBOUR LANE                                                                             BAY POINT       CA    94565‐6715
MELODY SILLS CUST JOSHUA SILLS UTMA TX        2962 GOLDEN CAPE                                                                                LEAGUE CITY     TX    77573
MELODY SUE ABRAHAM                            PO BOX 1003                                                                                     AMHERST         OH    44001‐7003
MELODY WAGNER CUST CU/F DREW WAGNER UTMA PA 11 N FRONT ST                                                                                     ASHLAND         PA    17921

MELODY WILSON                                  4482 NORTH ST                                                                                  HOLT            MI    48842‐1414
MELODYE H MARTIN                               10265 DODGE RD                                                                                 MONTROSE        MI    48457‐9121
MELONIE S OSTRANDER                            8453 DODGE RD                                                                                  MONTROSE        MI    48457‐9190
MELONIE S ROSENBROCK                           2959 CHURCHILL LANE                                                                            SAGINAW         MI    48603‐2675
MELQUIADES GARCIA                              5875 MANN DRIVE                                                                                LAPEER          MI    48446‐2763
MELTON E THORNBURG                             43511 E STATE ROUTE N                                                                          CREIGHTON       MO    64739‐9641
MELTON G MCDANIEL                              1281 GRAYS CHAPEL RD                                                                           SOUTHSIDE       TN    37171‐9078
MELTON L BERRY                                 10076 GROSVENOR DR                                                                             ST LOUIS        MO    63137‐4105
MELTON L SPIVAK                                26 BRIGHTVIEW DR                                                                               WEST HARTFRD    CT    06117‐2001
MELTON R DRUMMOND                              12006 SOUTH GODFREY ROAD                                                                       MORRICE         MI    48857‐9728
MELTON S GLENN                                 3232 DANFIELD DRIVE                                                                            COLUMBIA        SC    29204‐3115
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Name                                            Address1                            Address2                  Address3     Address4          City              State Zip

MELTON S WOODS                                  141 S BLVD W                                                                                 PONTIAC           MI    48341‐2967
MELTON W MATLOCK                                10491 SHERIDAN AVE                                                                           MONTROSE          MI    48457‐9002
MELVA A CUMMINGS                                25 HICKORY TRAIL                                                                             SPARTA            NJ    07871‐1510
MELVA ALARCON                                   6 THORNBURY ST                      COURTICE ON                            L1E 2B9 CANADA
MELVA B ROBERTS                                 4588 MORGAN VIEW RD                                                                          GENESEO           NY    14454‐9414
MELVA E ARMISTEAD                               1191 ARMISTEAD ROAD                                                                          RUTLEDGE          GA    30663
MELVA E BULL                                    4639 CHESTNUT RD                                                                             NEWFANE           NY    14108
MELVA J BATROW                                  903 EDISON                                                                                   ZILWAUKEE         MI    48604‐1171
MELVA J DILLON & PAULITA D BIXLER JT TEN        502 HIGHLAND AVE SW                                                                          ROANOKE           VA    24016‐4216
MELVA J RAMOIE                                  2141 E BERGIN AVENUE                                                                         BURTON            MI    48529‐1703
MELVA J SCHULTZ                                 630 N SAN MARCOS ROAD                                                                        SANTA BARBARA     CA    93111‐1529
MELVA J THULEN                                  573 LONG HOLLOW PIKE LOT 72                                                                  GALLATIN          TN    37066‐2683
MELVA L DIERKES                                 C/O LURA M BUXMAN                   336 S 12TH ST C                                          QUINCY            IL    62301‐4273
MELVA M PRICE                                   980 WILMINGTON AVE                  APT 701                                                  DAYTON            OH    45420‐1622
MELVA MADIGAN                                   12 MINOT AVE                                                                                 HAVERHILL         MA    01830‐3321
MELVA P LESTER TOD TODD R BAILEY                10057 LEEFINGWELL RD                                                                         CANFIELD          OH    44406‐9491
MELVA RITZIE                                    6 ROBERT CT                                                                                  HAMILTON          OH    45015‐2149
MELVA S EDWARDS CUST DAVID C EDWARDS UGMA TX    2706 WOODSTREAM LANE                                                                         MC KINNEY         TX    75070‐4334

MELVA S HUNT                                    29249 COWLES DR                                                                              BAY VILLAGE       OH    44140‐1837
MELVA SALERNO                                   3723 SE 11TH AVE                                                                             PORTLAND          OR    97202‐3723
MELVA TINKA & GEORGE R TINKA JT TEN             1110 VINEWOOD                                                                                AUBURN HILLS      MI    48326‐1645
MELVANN RICHARDSON                              7605 E STATE ROAD 45                                                                         BLOOMINGTON       IN    47408‐9697
MELVENA BLANTON                                 206 GOLF AIRE BLVD                                                                           WINTER HAVEN      FL    33884‐3213
MELVERN LUNDSTEN                                421 WILDERNESS AVNEUE                                                                        WILLIAMS          MN    56686‐4476
MELVIA BROWN                                    621 GRANT AVE                                                                                HOCKESSIN         DE    19707‐9126
MELVIA J BRANT                                  16725 SOUTHVIEW LANE                                                                         STRONGSVILLE      OH    44136‐2472
MELVILLE O JONES                                46 MABERLEY CRESCENT                SCARBOROUGH ON                         M1C 3K8 CANADA
MELVILLE W CORMACK                              C/O MILDRED C S CORMACK             4871 SUNSHINE COAST HWY   SECHELT BC   V0N 3A0 CANADA
MELVIN A BUCHHOLZ                               5589 GRAND TRAVERSE LN                                                                       PORTAGE           MI    49024‐1279
MELVIN A CATRON                                 1621 E EVELYN                                                                                HAZEL PARK        MI    48030‐2372
MELVIN A DERGE                                  N 6561 CTY ROAD P                                                                            DELAVAN           WI    53115‐2609
MELVIN A FARSEE JR                              7055 TAGEN DR                                                                                MEMPHIS           TN    38133‐4924
MELVIN A FEDDON                                 273 SAXONY CT                                                                                WINTER SPRINGS    FL    32708‐4636
MELVIN A GILMER JR                              241 KEELSON DRIVE                                                                            DETROIT           MI    48215‐2979
MELVIN A GUISER                                 2627 MATTHEWS DR                                                                             BALTIMORE         MD    21234‐2635
MELVIN A HERGENREDER                            5680 LONG BRIDGE ROAD                                                                        PENTWATER         MI    49449‐9511
MELVIN A LAWRIE                                 45074 BUTTERNUT RIDGE RD                                                                     OBERLIN           OH    44074‐9734
MELVIN A MAEL                                   1 SEAL HARBOR RD #314                                                                        WINTHROP          MA    02152‐1051
MELVIN A MISLIVECEK                             4024 CURRY LN                                                                                JANESVILLE        WI    53546‐4331
MELVIN A PEYERK                                 714 W BARBER ST                                                                              HARTFORD CITY     IN    47348‐1203
MELVIN A POHL                                   3072 ADAMS ROAD                                                                              AUBURN HILL       MI    48326‐3300
MELVIN A SOLADINE & DIXIE H SOLADINE JT TEN     1845 BARTH AVE                                                                               INDIANAPOLIS      IN    46203‐3930
MELVIN A VOGEL                                  RD #7 3268 GERMAN CHURCH RD                                                                  MANSFIELD         OH    44904‐9311
MELVIN ALLEN                                    708 AVENUE H                                                                                 BIRMINGHAM        AL    35214
MELVIN ANDERSON                                 3535 EL PORTAL DR                   APT G203                                                 EL SOBRANTE       CA    94803‐2780
MELVIN ARTHUR FEOLE                             PO BOX 28                                                                                    HOLLY             MI    48442‐0028
MELVIN B BOSLEY                                 311 MONTGOMERY ST                                                                            LAUREL            MD    20707‐4349
MELVIN B CRUMP                                  118 LANNING AVENUE                                                                           PENNS GROVE       NJ    08069‐1239
MELVIN B DRAYTON                                6587 SKIPPER TER                                                                             MARGATE           FL    33063‐8329
MELVIN B GRANDY                                 12010 SHERIDAN ROAD                                                                          BURT              MI    48417‐9437
MELVIN B GROSSMAN                               4220 N OCEAN DR                                                                              HOLLYWOOD         FL    33019‐4004
MELVIN B MALONE                                 4679 SUCKER CREEK RD                                                                         BLACK RIVER       MI    48721‐9719
MELVIN B RAKOTZ & SHIRLEY A RAKOTZ JT TEN       4 CAPISTRANO CT                                                                              BELLEVILLE        MI    48111‐2908
MELVIN B SCRUGGS                                608 E OCONEE ST                                                                              FITZGERALD        GA    31750‐2534
MELVIN B SCRUGGS                                608 E OCONEE ST                                                                              FITZGERALD        GA    31750‐2534
MELVIN B SUTHERBY & JOAN E BOYD JT TEN          315 PINETREE DR #112                                                                         FARWELL           MI    48622‐9103
MELVIN BETANCOURT                               10759 EXCALIBUR DR                                                                           SHELBY TOWNSHIP   MI    48315‐6695
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MELVIN BRENNER                                  784 DANIEL ST                                                                                NORTH WOODMERE NY       11581‐3502

MELVIN BROWN                                    12702 E 256TH ST                                                                             CICERO            IN    46034‐9466
MELVIN BROWN JR                                 2309 NE 57 TERR                                                                              GLADSTONE         MO    64118‐5509
MELVIN BURKS JR                                 318 OREGON ST 22                                                                             VAUXHALL          NJ    07088‐1352
MELVIN BUTLER                                   852 E NORTH ST                                                                               MORRIS            IL    60450‐2346
MELVIN C BAKER                                  377 HOWARD DR                                                                                YOUNGSTOWN        NY    14174‐1412
MELVIN C BAKER                                  1482 BEEBE SCHOOL ROAD                                                                       AFTON             MI    49705‐9704
MELVIN C BRAZIE                                 718 S DIXIE DR                      #2                                                       VANDALIA          OH    45377‐2540
MELVIN C BROOKS                                 5500 GROVELAND AVE                                                                           BALTIMORE         MD    21215‐4244
MELVIN C CURRAN                                 435 AFTON AVE                                                                                YOUNGSTOWN        OH    44512‐2313
MELVIN C CURRAN & KATHLEEN R CURRAN JT TEN      435 AFTON AVE                                                                                BOARDMAN          OH    44512
MELVIN C EISAMAN & BEVERLY S EISAMAN JT TEN     877 IDALIA CIR                                                                               AURORA            CO    80011‐7329
MELVIN C EVERETTE                               BOX 156                                                                                      MT JULIET         TN    37121‐0156
MELVIN C GEBERT                                 1330 OREGON ROAD                                                                             ADRIAN            MI    49221‐1331
MELVIN C HUTCHENS JR                            1130 VOS SW                                                                                  JENISON           MI    49428‐8105
MELVIN C IRVIN JR                               3302 TERRIER LANE                                                                            LOUISVILLE        KY    40218‐1027
MELVIN C JOHNSON                                6741 S MAPLEWOOD                                                                             CHICAGO           IL    60629‐1808
MELVIN C KURCHAK                                4400 RAVINE DR                                                                               WEST BRANCH       MI    48661‐8923
MELVIN C LOCKHART                               BOX 297                             ENTERPRISE ROAD ROUTE 1                                  PALESTINE         WV    26160‐9734
MELVIN C LOWE                                   7130 IOWA                                                                                    DETROIT           MI    48212‐1426
MELVIN C LUSTER & JAMES W DAVIS JT TEN          5223 NEST CT                                                                                 N LAS VEGAS       NV    89031‐0512
MELVIN C MACBURNEY TOD CHARLOTTE L MACBURNEY    324 PORTLAND DR                                                                              HURON             OH    44839

MELVIN C MACBURNEY TOD CHRISTINE A BOZICEVICH   324 PORTLAND DR                                                                              HURON             OH    44839

MELVIN C MCCLOUD                              1039 MACARTHUR ST                                                                              LAKE ODESSA       MI    48849‐1236
MELVIN C MCCURRY                              22935 LEEWIN ST                                                                                DETROIT           MI    48219‐1118
MELVIN C METZGER II                           216 LAYSAN TEAL COURT                                                                          CHURCH HILL       MD    21623
MELVIN C MURLEY                               3839 HI‐CREST DR                                                                               LAKE ORION        MI    48360‐2418
MELVIN C MURLEY & JAEANN E MURLEY JT TEN      3839 HI‐CREST DR                                                                               LAKE ORION        MI    48360‐2418
MELVIN C NIETOPSKI                            34 ALGIERS LANE                                                                                CHEEKTOWAGA       NY    14225‐4704
MELVIN C OLIVER                               3294 HARTLEY DRIVE                                                                             ADRIAN            MI    49221‐9247
MELVIN C PECKA                                26231 BRULINGTON WAY                                                                           SUN CITY          CA    92586‐2715
MELVIN C PERREN                               851 DANIELL DR S E                                                                             SMYRNA            GA    30080‐1105
MELVIN C REEVES                               4012 BOULDER CT                                                                                AURORA            IL    60504‐5487
MELVIN C ROBERTS                              5179 WOODHAVEN DRIVE                                                                           FLINT             MI    48504‐1264
MELVIN C ROGERS                               7603 N BALTIMORE RD                                                                            MONROVIA          IN    46157‐9019
MELVIN C SCHULTZ                              914 SIBLEY NW                                                                                  GRAND RAPIDS      MI    49504‐5647
MELVIN C SPENS TR MELVIN C SPENS LVG TRUST UA 61381 HAUEN RIDGE RD                                                                           LENOX             MI    48048
8/3/99
MELVIN C TEGELER                              33345 EMERALD RD                                                                               SUNRISE BEACH     MO    65079‐2103
MELVIN C VANDERBRUG CUST MICHELE A VANDERBRUG 2821 PORTAGE TRAIL                                                                             ROCHESTER HILLS   MI    48309‐3212
UGMA MI
MELVIN C WARREN                               121 N GRAND                           PMB #31                                                  GAINESVILLE       TX    76240‐4318
MELVIN C WEISS                                179 W 30TH ST                                                                                  BAYONNE           NJ    07002‐1828
MELVIN C ZIMMERMAN                            1224 SYLVESTER ST                                                                              JANESVILLE        WI    53546‐6042
MELVIN CALEGARI                               14505 LARK ST                                                                                  SAN LEANDRO       CA    94578‐1731
MELVIN CALLAHAN                               809 E SAINT JOSEPH STREET                                                                      LANSING           MI    48912‐1314
MELVIN CLARK                                  1077 ARGYLE AVE                                                                                PONTIAC           MI    48341‐2304
MELVIN COCKROFT                               20672 VESTER DR                                                                                MACOMB            MI    48044
                                                                                                                                             TOWNSHIP
MELVIN CODAY                                    904 W MORNINGSIDE                                                                            SPRINGFIELD       MO    65807‐3444
MELVIN COOLEY                                   4957 THEODORE                                                                                ST LOUIS          MO    63115‐1814
MELVIN CRUM                                     8941 WATERS RD                                                                               ANN ARBOR         MI    48103‐9655
MELVIN CURTIS REYNOLDS                          1599 GILLISPIE RD                                                                            CARLISLE          KY    40311‐9662
MELVIN D BOYCE                                  905 W BROAD ST                                                                               LINDEN            MI    48451‐8767
MELVIN D BROWN                                  2146 56TH AVE                                                                                SACRAMENTO        CA    95822‐4148
MELVIN D CARVER                                 13638 MCNAB AVE                                                                              BELLFLOWER        CA    90706‐2737
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Name                                              Address1                                Address2               Address3        Address4          City              State Zip

MELVIN D CARWILE                                  1959 LAKEVIEW DRIVE                                                                              XENIA             OH    45385
MELVIN D COLVIN                                   1218 RAMBLEWOOD RD                                                                               BALTIMORE         MD    21239‐2637
MELVIN D CONQUERGOOD                              4035 HENDERSON RD                                                                                DAVISON           MI    48423
MELVIN D DOUGLAS                                  PO BOX 6019                                                                                      CHEBOYGAN         MI    49721‐6019
MELVIN D GIFFORD                                  2431 NW 15TH ST                                                                                  REDMOND           OR    97756‐1086
MELVIN D GROSS                                    2212 SOUTHLEA DRIVE                                                                              CENTERVILLE       OH    45459‐3641
MELVIN D HATHAWAY JR                              C/O R STYER                             3210 FLETCHER AVENUE                                     LAKELAND          FL    33803‐8309
MELVIN D HEATH & LEOTA V HEATH JT TEN             96 COULTER CT                                                                                    LAPEER            MI    48446‐7739
MELVIN D JASEK & SHARON D JASEK JT TEN            1306 LAVENDER LANE                                                                               ARLINGTON         TX    76013‐5018
MELVIN D JONES & VALERIE J JONES TR UA 08/28/91   4094 LAGUNA AVENUE                                                                               OAKLAND           CA    94602‐3041
JONES FAMILY TRUST
MELVIN D KEITH                                    12893 NICHOLS RD                                                                                 BURT              MI    48417‐9442
MELVIN D LEVINE                                   8218 MCKEE ROAD                                                                                  ROUGEMONT         NC    27572‐8308
MELVIN D LUTZ JR                                  3879 JAY 75 DRIVE                                                                                PAONIA            CO    81428
MELVIN D MALAK                                    3348 WINSTON                                                                                     TOLEDO            OH    43614‐3853
MELVIN D MERRITT                                  9473 COLONY POINTE EAST DR                                                                       INDIANAPOLIS      IN    46250‐3465
MELVIN D MILLS                                    21 BURDETTE DR                                                                                   CHEEKTOWAGA       NY    14225‐1703
MELVIN D MILLS & ANNE B MILLS JT TEN              21 BURDETTE DR                                                                                   CHEEKTOWAGA       NY    14225‐1703
MELVIN D MILLS & MRS ANN M MILLS JT TEN           21 BURDETTE DR                                                                                   CHEEKTOWAGA       NY    14225‐1703
MELVIN D RAINBOW                                  161 E LORAIN STREET                                                                              OBERLIN           OH    44074‐1211
MELVIN D ROOKER                                   10951 CRANBERRY CT                                                                               ZEELAND           MI    49464‐8620
MELVIN D RUTLEDGE                                 190 WILSONIA ROAD                                                                                ROCHESTER         NY    14609‐6758
MELVIN D SHEPHERD                                 2702 STONE GATE BLVD                                                                             ELKTON            MD    21921‐4064
MELVIN D TAYLOR                                   33 HANSOM DRIVE                                                                                  MERRIMACK         NH    03054‐4583
MELVIN D TAYLOR & MARY V TAYLOR JT TEN            33 HANSOM DRIVE                                                                                  MERRIMACK         NH    03054‐4583
MELVIN D TIEDT                                    7812 LAKE DR                                                                                     RODNEY            MI    49342‐9606
MELVIN D WELHUSEN                                 3812 INVERARY                                                                                    LANSING           MI    48911‐1358
MELVIN D WELHUSEN & ALETA M WELHUSEN JT TEN       3812 INVERARY                                                                                    LANSING           MI    48911‐1358

MELVIN D WELLS                                    18023 TARRINGTON PL                                                                              HUDSON            FL    34667‐5774
MELVIN D WHITE                                    8280 BROCKWAY RD                                                                                 YALE              MI    48097‐2821
MELVIN D WICKER                                   2301 HAZEL AVE                                                                                   KETTERING         OH    45420‐1345
MELVIN D WITHERSPOON                              257 BROWNEE LN                                                                                   HARTSELLE         AL    35640‐4804
MELVIN DANCY                                      19643 DEAN                                                                                       DETROIT           MI    48234‐2005
MELVIN DEAN KIPP & JOANNE IRENE KIPP JT TEN       13337 LAKESHORE DR                                                                               FENTON            MI    48430
MELVIN DEESE                                      54 ROCKYWOOD LANE                                                                                BALTIMORE         MD    21221‐3260
MELVIN DITTRICK                                   9 JUBILEE COURT                         WHITBY ON                              L1N 6R3 CANADA
MELVIN DYE                                        502 BLEDSOE AVE                                                                                  COVINGTON         TN    38019‐2210
MELVIN E BLADECKI                                 5011 S TWO MILE RD                                                                               BAY CITY          MI    48706‐3037
MELVIN E CHAILLOU                                 1492 PARK LANE                                                                                   PASADENA          MD    21122‐4742
MELVIN E COMPTON                                  3514 JULIE LANE                                                                                  INDIANAPOLIS      IN    46228‐2043
MELVIN E CORNELL                                  5902 HAAG RD                                                                                     LANSING           MI    48911‐4745
MELVIN E ELMORE                                   9 FORBES CIR                                                                                     MIDDLEBURY        VT    05753‐1128
MELVIN E EMMERT                                   1204 FLORENCE ST BOX 2                                                                           PARAGOULD         AR    72450‐5545
MELVIN E FOSTER                                   9312 N HARWOOD ST                                                                                NINE MILE FALLS   WA    99026‐9228
MELVIN E FOSTER                                   29540 RED LEAF DR                                                                                SOUTHFIELD        MI    48076‐2064
MELVIN E GAITHER & FRANCES B GAITHER JT TEN       3711 BEACHVIEW DR                                                                                LK HAVASU CTY     AZ    86406‐6462
MELVIN E GRIFFIN                                  2169 INVERNESS PKWY                                                                              TUSCALOOSA        AL    35405‐7501
MELVIN E HALL                                     4010 CLIFFORD                                                                                    BRIGHTON          MI    48116‐9717
MELVIN E INGLES & CARLEEN L INGLES JT TEN         170 BALDWIN LN                                                                                   PORT LUDLOW       WA    98365‐9615
MELVIN E JOHN                                     947 COLUMBIA                                                                                     ALGONAC           MI    48001‐1219
MELVIN E JULIEN                                   20131 ST FRANCIS                                                                                 LIVONIA           MI    48152‐2347
MELVIN E KIMBREL                                  12321 SANTA MARIA DR                                                                             ST LOUIS          MO    63138‐2652
MELVIN E LASHURE                                  2620 SO H ST                                                                                     ELWOOD            IN    46036‐2671
MELVIN E LIDDLE JR                                204 SAINT ANDREWS                                                                                CORTLAND          OH    44410‐8722
MELVIN E MC GREGOR TOD VIRGINIA A MC GREGOR       37338 POWELL RD                                                                                  HILLIARD          FL    32046

MELVIN E MILLEN                                   5415 LIPPINCOTT                                                                                  LAPEER            MI    48446‐9665
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Name                                             Address1                              Address2             Address3          Address4          City           State Zip

MELVIN E MONTIE TR UA 06/30/92 BY MELVIN E       5370 HILLCREST RD                                                                              CLARKSTON      MI    48346‐4027
MONTIE
MELVIN E MORSE                                   4737 E HIBBARD RD RT 2                                                                         CORUNNA        MI    48817‐9601
MELVIN E PARIS                                   257 PINEVIEW DR                                                                                MOORESVILLE    IN    46158‐2774
MELVIN E PINE                                    7305 RISDEN ROAD                                                                               VERMILION      OH    44089‐9255
MELVIN E POLEGA                                  220 GREEN RD                                                                                   BAY CITY       MI    48708‐9132
MELVIN E ROSS                                    PO BOX 1079                                                                                    FLINT          MI    48501‐1079
MELVIN E RUFF                                    7501 BUCKS DR                                                                                  GRAND BLANC    MI    48439‐8558
MELVIN E RUFF & ROBBIE E RUFF JT TEN             7501 BUCKS DR                                                                                  GRAND BLANC    MI    48439‐8558
MELVIN E SCHAPPELL                               3210 OLD NORTH POINT R                                                                         BALTIMORE      MD    21222‐2605
MELVIN E SMITH                                   290 ONONDAGA CIR                                                                               LANGSTON       AL    35755‐7030
MELVIN E SMITH JR                                6414 POPP RD                                                                                   FORT WAYNE     IN    46845‐9477
MELVIN E STANCIL                                 3723 ATLANTA HWY                                                                               CUMMING        GA    30040‐6382
MELVIN E STEWART JR                              8262 ROSEMONT                                                                                  DETROIT        MI    48228‐3117
MELVIN E SUGG                                    4445 POLK                                                                                      DEARBORN HTS   MI    48125‐2937
MELVIN E TEBEDO                                  2128 MAGNOLIA LN                                                                               FLINT          MI    48532‐4179
MELVIN E UNDERWOOD                               8481 MC CAFFREY RD                                                                             OWOSSO         MI    48867‐9644
MELVIN E WOOD JR                                 PO BOX 459                                                                                     AMELA          VA    23002‐0459
MELVIN EHRHARDT                                  24842 NORTH 900 E RD                                                                           COLLISON       IL    61831‐9740
MELVIN F BLAUROCK                                119 MURPHY ST                                                                                  WAUCONDA       IL    60084‐1833
MELVIN F BUTLER                                  4101 OVERLAND TRAIL                                                                            KETTERING      OH    45429‐1609
MELVIN F CHATTERTON                              519 E WASHINGTON ST                                                                            VILLA PARK     IL    60181‐2741
MELVIN F COLLIE                                  833 RANDOLPH ST                                                                                DAYTON         OH    45408‐1733
MELVIN F EARLEY                                  5866 OLDHAM DR                                                                                 SPRINGFIELD    OH    45503‐7700
MELVIN F HAMMOND                                 2560 OAKGROVE ST NW                                                                            GRAND RAPIDS   MI    49504‐2454
MELVIN F HANSEN & DAPHNE R HANSEN JT TEN         13 MOUNTAIN SIDE DRIVE                                                                         BILLINGS       MT    59102‐7600
MELVIN F HELM                                    2149 DALEY RD                                                                                  LAPIER         MI    48446‐8339
MELVIN F HELTON                                  10519 PLAINFIELD RD                                                                            CINCINNATI     OH    45241‐2905
MELVIN F LUZADER & IMA JEAN LUZADER JT TEN       2717 HILLCREST AVENUE                                                                          MT CARMEL      IL    62863‐2719
MELVIN F PAWLACZYK                               1131 LOCKWOOD                                                                                  ORTONVILLE     MI    48462‐9250
MELVIN F ROSCHEFSKI                              26681 RIDGEMONT                                                                                ROSEVILLE      MI    48066‐7123
MELVIN F SCHENK                                  18453 MIDDLEBELT RD                                                                            LIVONIA        MI    48152‐3693
MELVIN F SCHNEEBERGER                            9137 WEST COUNTY TRUNK M                                                                       EDGERTON       WI    53534‐9802
MELVIN F SKABAR                                  4643 SARASOTA DR                                                                               PARMA          OH    44134‐6251
MELVIN G ASH                                     RT #3 BOX 233                         COREY RD                                                 MASSENA        NY    13662‐9511
MELVIN G BUTZIN                                  41185 WILLIS RD                                                                                BELLEVILLE     MI    48111‐8716
MELVIN G CASH & JOYCE D CASH JT TEN              217 DOUGLAS DR                                                                                 BELLEVUE       NE    68005‐2454
MELVIN G DARM                                    7674 RIDGEVILLE ROAD                                                                           BLISSFIELD     MI    49228‐9634
MELVIN G GROSSER                                 3906 GERMAINE AVE                                                                              CLEVELAND      OH    44109‐5049
MELVIN G ISHAM                                   3106 MORNING GLORY ROAD                                                                        DAYTON         OH    45449‐3027
MELVIN G LAMPMAN                                 817 NORTH EDGEWORTH                                                                            ROYAL OAK      MI    48067‐2101
MELVIN G LEMANSKI                                5401 W STEPHENSON STREET RD                                                                    FREEPORT       IL    61032‐8132
MELVIN G MCDOWELL                                41 NEWPORT AV                                                                                  CHRISTIANA     PA    17509‐1305
MELVIN G RICHES ADM EST GEORGE A RICHES          343 MAIN ST BOX 606                                                                            MEDINA         NY    14103‐1221
MELVIN G SEDRICK                                 215 HARLEY BEAGLE RD                                                                           HARRISON       MI    48625‐8624
MELVIN G SHOLLENBERGER                           32251 OSCODA CT                                                                                WESTLAND       MI    48186‐4753
MELVIN G SHUNK                                   1279 LESTER                                                                                    YPSILANTI      MI    48198‐6480
MELVIN G ZUCKERMAN & SALLY J ZUCKERMAN JT TEN    8616 N OLEANDER                                                                                NILES          IL    60714‐2058

MELVIN GAIST                                     2423 N JACKSON ST                                                                              WAUKEGAN       IL    60087‐3134
MELVIN GORDON                                    121 COUNTY 31                                                                                  ABBEVILLE      MS    38601
MELVIN GREENE                                    5 OXFORD COURT                                                                                 WHEATLEY HTS   NY    11798‐1123
MELVIN GYDESEN                                   5062 N RAYMOND RD                                                                              LUTHER         MI    49656‐9749
MELVIN H CHECKER                                 PO BOX 315                                                                                     VERNON         MI    48476‐0315
MELVIN H DEERE                                   1499 SOUTHWESTERN RD                                                                           GROVE CITY     OH    43123‐1028
MELVIN H GLOVER JR & MRS TAMRA G GLOVER JT TEN   2513 JUDY AVE                                                                                  RAPID CITY     SD    57702‐3417

MELVIN H JOHNSON                                 6721 STANFORD                                                                                  DETROIT        MI    48210‐1345
MELVIN H KELLOGG                                 10800 BARNUM RD                                                                                WOODLAND       MI    48897‐9781
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Name                                             Address1                               Address2             Address3          Address4          City              State Zip

MELVIN H MIDDLETON                               5027 WILLARD ROAD                                                                               BIRCH RUN         MI    48415‐8608
MELVIN H OROS & LINDA K OROS JT TEN              1055 NEWCASTLE LN                                                                               AURORA            IL    60506‐1988
MELVIN H SCHARPHORN                              1504 BARLOW LAKE                                                                                MIDDLEVILLE       MI    49333‐9754
MELVIN H SMITH                                   7244 LANGERFORD DRIVE                                                                           PARMA             OH    44129‐6505
MELVIN H SNIDER                                  C/O FLORENCE ARMETHA SNIDER            419 EAST RAHN ROAD                                       DAYTON            OH    45429‐5948
MELVIN H TORNOW JANE E TORNOW & ARLENE JOYCE     32579 DOVER                                                                                     GARDEN CITY       MI    48135‐1609
OSWALD JT TEN
MELVIN HAHN                                      7544 PHILWOOD DR                                                                                LANSING           MI    48917‐9714
MELVIN HARDWICK                                  2642 ONTARIO DR                                                                                 CINCINNATI        OH    45231‐2220
MELVIN HARRIS                                    785 MEADOW RD                                                                                   SMITHTOWN         NY    11787‐1621
MELVIN HATCHER                                   2836 MCGHEES MILL RD                                                                            SEMORA            NC    27343‐9189
MELVIN HENDERSON                                 524 VALENCIA                                                                                    PONTIAC           MI    48342‐1678
MELVIN HENNING & MARY LOU HENNING JT TEN         21 ELMWOOD CIRCLE                                                                               PEEKSKILL         NY    10566‐4954
MELVIN HOLMES                                    168 HATCHETT DR                                                                                 EATON             OH    45320‐2710
MELVIN HOWARD                                    514 GRUNDY RD                                                                                   SOMERSET          KY    42501‐4981
MELVIN HOWELL LEDFORD                            785 RIVERVIEW DR                                                                                JEKYLL ISLAND     GA    31527
MELVIN HUNT                                      PO BOX 47                                                                                       HALE              MI    48739‐0047
MELVIN I KOHAN                                   234 AZALEA LN                                                                                   WEST GROVE        PA    19390‐9479
MELVIN J ANDERSON                                129 HOMEWOOD AVE                                                                                BELLE VERNON      PA    15012‐2247
MELVIN J BOOTHBY                                 3395 TRILLKUM DRIVE                                                                             OXFORD            MI    48371‐5534
MELVIN J BRAUN                                   278 MOORE RD                                                                                    MOORESBURG        TN    37811‐2302
MELVIN J CATLIN & MARTHA E CATLIN JT TEN         5755 N COUNTY RD 800E                                                                           CAMBELLSBURG      IN    47108‐7801
MELVIN J CHRZANOWSKI                             27408 GILBERT                                                                                   WARREN            MI    48093‐4493
MELVIN J CHRZANOWSKI & CHRISTINE J CHRZANOWSKI   27408 GILBERT                                                                                   WARREN            MI    48093‐4493
JT TEN
MELVIN J COCKERHAM                               6784 BRANDON VIEW CT                                                                            HUBER HEIGHTS     OH    45424‐7302
MELVIN J DOBSON                                  PO BOX 489                             23566 HENRY ROAD                                         RIDGELY           MD    21660‐0489
MELVIN J EMPIE                                   17585 SIMMONS N E                                                                               CEDAR SPRINGS     MI    49319‐9697
MELVIN J FOREMAN JR                              2677 WELLWORTH WAY                                                                              WEST FRIENDSHIP   MD    21794‐9501

MELVIN J GILL                                    8323 W POTTER RD                                                                                FLUSHING          MI    48433‐9413
MELVIN J GLAZIER                                 48440 ORMOND                                                                                    BELLEVILLE        MI    48111‐4606
MELVIN J GUNTHER & MARJORIE G GUNTHER JT TEN     6831 TERNES                                                                                     DEARBORN          MI    48126‐1712

MELVIN J HANNA & MICHAEL S HANNA JT TEN          872 TIERRA                                                                                      KENTWOOD          MI    49508‐6290
MELVIN J HEISS & BETTY L HEISS JT TEN            410 20 MI RD                                                                                    CEDAR SPRINGS     MI    49319‐9629
MELVIN J JOHNSON                                 12350 HITCHINGHAM                                                                               MILAN             MI    48160‐9722
MELVIN J KNAPP                                   351 PILGRIM ROAD                                                                                TONAWANDA         NY    14150‐8606
MELVIN J LAVY                                    7941 HORATIO HARRIS CREEK ROAD                                                                  BRADFORD          OH    45308
MELVIN J LEVY & ANN HINCKLEY‐LEVY JT TEN         11157 REGATTA LN                                                                                WELLINGTON        FL    33449‐7416
MELVIN J MARTIN                                  115 MAPLE STREET                                                                                VASSAR            MI    48768
MELVIN J MASON JR                                7003 NIMITZ DRIVE                                                                               FORESTVILLE       MD    20747‐3318
MELVIN J MILLER                                  7870 LUMLEY ROAD                                                                                BEAR LAKE         MI    49614‐9327
MELVIN J MULLEN                                  47 PARK PL                                                                                      PONTIAC           MI    48342‐3144
MELVIN J NEUMARK                                 101 CENTRAL PARK W                                                                              NEW YORK          NY    10023‐4204
MELVIN J OSTER & JUDITH G OSTER JT TEN           4 WOODLAND VILLAGE                                                                              UTICA             NY    13501‐6420
MELVIN J PIERCE                                  1035 WEST 122ND ST                                                                              LOS ANGELES       CA    90044‐2923
MELVIN J PLUNKETT                                2002 REDFORD CT APT B                                                                           CRAWFORDSVILLE    IN    47933‐6611

MELVIN J ROSS SR                                 5823 SOPER ROAD                                                                                 MARLETTE          MI    48453‐9138
MELVIN J RUTKOWSKI JR                            PO BOX 688                                                                                      URBANNA           VA    23175‐0688
MELVIN J SANTOS                                  28634 TRITON ST                                                                                 HAYWARD           CA    94544‐5857
MELVIN J SCHUMACHER                              1722 OAKVALE DR SW                                                                              WYOMING           MI    49509‐6534
MELVIN J SWAFFORD                                H C R 67 BOX 14                                                                                 FREMONT           MO    63941‐9700
MELVIN J SWAIN                                   7340 LAKE STATION AVE                                                                           LAKE              MI    48632‐9115
MELVIN J TOMBLIN                                 2511 E 1000 N ROAD                                                                              KANKAKEE          IL    60901‐8007
MELVIN J URIDIL & MRS GLADYS P URIDIL JT TEN                                                                                                     VICTOR            IA    52347
MELVIN J VRBKA & VIRGINIA VRBKA JT TEN           741‐34 RD                                                                                       DAVID CITY        NE    68632‐9587
MELVIN J WITZMAN                                 6424 LAKEVIEW BLVD                     PO BOX 246                                               ST HELEN          MI    48656‐0246
                                                09-50026-mg                Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                                Address2             Address3          Address4          City             State Zip

MELVIN JAMES FRANK                                295 VICTORIA BLVD                                                                                BUFFALO          NY    14217‐2214
MELVIN JANNEY & JACQUELYN J JANNEY JT TEN         13368 VICTORIA                                                                                   HUNTINGTON       MI    48070‐1721
                                                                                                                                                   WOODS
MELVIN JAY SMITH & BETTY L SMITH JT TEN           4858 MARY DR                                                                                     HALE             MI    48739‐9135
MELVIN JEFFERSON                                  2176 PHILLIPS RD                                                                                 AUBURN HILLS     MI    48326‐2445
MELVIN JOHN PRITCHARD                             11155 S NATOMA                                                                                   WORTH            IL    60482‐1929
MELVIN JOHNSON                                    474 NORTHAMPTON ST                                                                               BUFFALO          NY    14208‐2401
MELVIN K BURTON                                   11390 JUNEBERRY DR                                                                               CINCINNATI       OH    45240‐2935
MELVIN K HAMBLIN                                  6824 BAKER ROAD                                                                                  SOMERVILLE       OH    45064‐9716
MELVIN K HAYS                                     RT 3 BOX 707                                                                                     ARNOLDSBURG      WV    25234‐9523
MELVIN K HIX                                      1410 SHERIDAN DR                        APT 6B                                                   LANCASTER        OH    43130‐1971
MELVIN K PRICE                                    PO BOX 343                                                                                       CONOWINGO        MD    21918‐0343
MELVIN KAISER & MRS MILDRED KAISER JT TEN         45 HEMLOCK DR                                                                                    NATICK           MA    01760‐3134
MELVIN L ANDERSON                                 8343 KENTUCKY                                                                                    DETROIT          MI    48204‐3195
MELVIN L BARBEROUSSE TOD MYRA S BARBEROUSSE       1303 ORIENTAL AVE                                                                                ARLINGTON        TX    76011‐2674
SUBJECT TO STA TOD RULES
MELVIN L BEASLEY                                  16101 SUSSEX                                                                                     DETROIT          MI    48235‐3853
MELVIN L BIRTWELL                                 11350 PALMER RD                                                                                  MAYBEE           MI    48159‐9787
MELVIN L BLACK                                    2465 LORENSON RD                                                                                 MUSKEGON         MI    49445
MELVIN L BOLYARD                                  RTE #1 BOX 303A                                                                                  FAIRMONT         WV    26554‐9601
MELVIN L BROWN & CATHARINA A G BROWN JT TEN       12525 CREEK CREST DR                                                                             RENO             NV    89511‐7784

MELVIN L CALLAHAN JR                              54285 INDIAN LAKE ROAD                                                                           DOWAGIAC         MI    49047‐9370
MELVIN L CARTER                                   315 BOWEN DR                                                                                     FREDERICKSBURG   VA    22407‐1468
MELVIN L FLETCHER                                 939 VETO ST NW                                                                                   GRAND RAPIDS     MI    49504‐6358
MELVIN L GABEL & VERA C GABEL TR UA 02/11/94      41505 CARLOTTA DR                       APT 231                                                  PALM DESERT      CA    92211‐3273
GABEL FAMILY TRUST
MELVIN L GARRETT                                  726 LONGFELLOW ROAD                                                                              ANDERSON         IN    46011‐1824
MELVIN L GATER                                    1190 EAGLE CREEK PLACE                                                                           FORT WAYNE       IN    46814‐3201
MELVIN L GOLSTON                                  19133 JOANN                                                                                      DETROIT          MI    48205‐2209
MELVIN L HANNER                                   2424 STANLEY RD                                                                                  MT MORRIS        MI    48458
MELVIN L HARDIN                                   3972 BARR CIRCLE                                                                                 TUCKER           GA    30084‐7501
MELVIN L HAUGHT                                   4020 W MARKET ST                                                                                 LEAVITTBURG      OH    44430‐9605
MELVIN L HERRING                                  901S 400E                                                                                        MARION           IN    46953‐9604
MELVIN L HILL                                     6740 W BATH ROAD                                                                                 PERRY            MI    48872‐9731
MELVIN L HUNTZINGER                               5140 N HUNTINGTON RD                                                                             MARION           IN    46952‐9061
MELVIN L JACKSON & WILL ELLA L JACKSON JT TEN     30 N FAIRFIELD DR                                                                                SMYRNA           DE    19977‐1517

MELVIN L JARVIS                                 5296 S STATE RD 13                                                                                 LAPEL            IN    46051‐9634
MELVIN L KEENEY & MARGARET STUART KEENEY JT TEN 512 LAKE DRIVE                                                                                     ALVA             OK    73717‐1753

MELVIN L LYNCH                                    600 NE MEADOWVIEW DR                    #416‐A                                                   LEES SUMMIT      MO    64067‐1983
MELVIN L MCKINLEY                                 1109 TRYON CIR                                                                                   SPRING HILL      FL    34606‐5253
MELVIN L MITCHELL                                 8400 ESTERO BLVD                        APT 703                                                  FT MYERS BCH     FL    33931‐5114
MELVIN L PORTER                                   9025 STARK                                                                                       KANSAS CITY      MO    64138‐4456
MELVIN L PREVOST JR                               111 MEDFORD PL                                                                                   FRANKLIN         TN    37064‐4933
MELVIN L RANDOLPH                                 131 N ASTOR ST                                                                                   PONTIAC          MI    48342‐2503
MELVIN L REID                                     3824 MAMMOTH GROVE RD                                                                            LAKE WALES       FL    33853‐8537
MELVIN L REYNOLDS                                 3052 MILL GAP RD                                                                                 MONTEREY         VA    24465‐2483
MELVIN L RIFFE & VIRGINIA RIFFE JT TEN            RT 1 BOX 207                                                                                     LYNNSIDE         WV    24951‐9629
MELVIN L RISINGER                                 12043 JENNINGS RD                                                                                LINDEN           MI    48451‐9475
MELVIN L SAULS                                    1503 N 18TH ST APT C                                                                             KANSAS CITY      KS    66102‐2847
MELVIN L STEPHEN                                  11646 SIR WINSTON WAY                                                                            ORLANDO          FL    32824‐6008
MELVIN L TERBUSH                                  5591 BERKLEY                                                                                     WATERFORD        MI    48327‐2708
MELVIN L THOMAS                                   9551 STAHELIN                                                                                    DETROIT          MI    48228‐1452
MELVIN L TICE                                     112 BIRCHWOOD LANE                                                                               CADILLAC         MI    49601‐9776
MELVIN L VAUGHN                                   33259 PENNSYLVANIA AVE                                                                           DADE CITY        FL    33523‐9041
MELVIN L VETOR                                    3201 S BRANSON                                                                                   MARION           IN    46953‐4037
MELVIN L VOELKER                                  5443 N GALE RD                                                                                   DAVISON          MI    48423‐8913
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Name                                              Address1                               Address2             Address3          Address4          City               State Zip

MELVIN L WHITE                                    6418 SOMMERSET RD                                                                               LANSING            MI    48911‐5678
MELVIN L WILLIS                                   10080 LEWIS RD                                                                                  MILLINGTON         MI    48746‐9530
MELVIN L WILLIS                                   6597 PLAINFIELD RD                                                                              CINCINNATI         OH    45213‐1955
MELVIN LEE & ROCHELLA M LEE JT TEN                9395 CHILLICOTHE ROAD                                                                           KIRTLAND           OH    44094‐8501
MELVIN LIPOWITZ CUST GREGG LIPOWITZ UGMA NJ       9 HIGH HILL CT                                                                                  LAKEHURST          NJ    08733‐3343

MELVIN LOGAN                                      3007 IROQUOIS AVE                                                                               FLINT              MI    48505‐4045
MELVIN LOPATA CUST AARON M LOPATA UGMA IL         8556 HAMLIN                                                                                     SKOKIE             IL    60076‐2208
MELVIN LOPATA CUST DAVID A LOPATA UGMA IL         8556 HAMLIN                                                                                     SKOKIE             IL    60076‐2208
MELVIN LOPATA CUST JACOB B LOPATA UGMA IL         8556 HAMLIN                                                                                     SKOKIE             IL    60076‐2208
MELVIN LOUIS METZGER                              2084 LANGFORD RD                                                                                NORTH COLLINS      NY    14111‐9704
MELVIN M BRUNEEL & CAROL M BRUNEEL JT TEN         PO BOX 261                                                                                      REESE              MI    48757‐0261
MELVIN M HARTLEY                                  37 KOFLER AVE                                                                                   BUFFALO            NY    14207‐1822
MELVIN M KAPLAN & SUSAN KAPLAN JT TEN             412 ANJOU DR                                                                                    NORTHBROOK         IL    60062‐2211
MELVIN M KUCWAY                                   52782 ANTLER                                                                                    MACOMB             MI    48042‐3411
                                                                                                                                                  TOWNSHIP
MELVIN M LOPEZ                                    222 W 83RD ST                          APT 10E                                                  NEW YORK           NY    10024‐4914
MELVIN M MAHONEY                                  17401 COUNTRY LAKE ESTS RIDGE                                                                   CHESTERFIELD       MO    63005‐4346
MELVIN M MOON                                     714 BASKINS CIR                                                                                 WINDER             GA    30680‐3584
MELVIN M REIMER                                   1209 WEST 20TH ST                                                                               CEDAR FALLS        IA    50613‐3510
MELVIN M ROCHOWIAK                                485 METRO PLACE SOUTH STE 101                                                                   DUBLIN             OH    43017‐5374
MELVIN M WERNER                                   40271 STEEL DR                                                                                  STERLING HEIGHTS   MI    48310‐1950

MELVIN MC DOWELL                                  884 HARTFORD AVE                                                                                AKRON              OH    44320‐2724
MELVIN MCKANDES                                   PO BOX 1522                                                                                     SAGINAW            MI    48605‐1522
MELVIN MELTON                                     PO BOX 409                                                                                      JEMISON            AL    35085‐0409
MELVIN MOSS CUST LORI E MOSS UGMA NY              36262 N GOLDSPRING CT                                                                           GURNEE             IL    60031‐4508
MELVIN N BARR                                     4824 SEELEY DR                                                                                  DAYTON             OH    45427‐3037
MELVIN N WAXHAM & JEANNETTE L WAXHAM JT TEN       360 SCARLETTS WAY                                                                               COLLIERVILLE       TN    38017‐1934

MELVIN NEAVINS                                    864 GLENDALE AVE                                                                                PONTIAC            MI    48341‐1515
MELVIN NELMS                                      17569 GREELEY                                                                                   DETROIT            MI    48203‐2407
MELVIN NORRIS                                     260 BOSTON POST RD                     SUITE 9                                                  WAYLAND            MA    01778‐1888
MELVIN O GUDE                                     9314 EDEN WOODS CT                                                                              INDIANAPOLIS       IN    46260‐6094
MELVIN O WEBB JR                                  7771 LINDEN DR                                                                                  ALMONT             MI    48003‐8112
MELVIN OLIVER                                     349 E MOUNT PLEASANT RD                                                                         WILMINGTON         OH    45177‐9642
MELVIN OOTEN                                      732 WASHINGTON                                                                                  NEWPORT            KY    41071‐1927
MELVIN OSTROWSKI & MRS ELAINE T OSTROWSKI JT      725 HARVEY AVE                                                                                  BROOKFIELD         WI    53005‐7217
TEN
MELVIN P HANEY                                    5605 SOUTH MOONSHINE CT                                                                         SPRINGFIELD        MO    65804‐7137
MELVIN P HENNESSEE & LORETTA M HENNESSEE JT TEN   14688 SE 47TH CT                                                                                SUMMERFIELD        FL    34491‐4000

MELVIN P KOPECKY                                  105 ELIZABETH DR                                                                                WASHINGTON         GA    30673‐2111
MELVIN P MCNEELY                                  769 FOREST DR                                                                                   MANSFIELD          OH    44905‐2030
MELVIN P PIETRON                                  40976 MOORINGSIDE                                                                               NOVI               MI    48375‐3541
MELVIN P SERED                                    105 E LARKDALE                                                                                  DEERFIELD          IL    60015‐5036
MELVIN PAVEY                                      65‐25 160TH STREET                                                                              FLUSHING           NY    11365‐2567
MELVIN PAYNE                                      12035 PAUL EELLS DR                    APT 203                                                  N LITTLE ROCK      AR    72113‐7376
MELVIN PEARSON                                    PO BOX 207                                                                                      STERLING HTS       MI    48311‐0207
MELVIN PETERSON                                   701 COLUMBIA DR                                                                                 FLINT              MI    48503‐5207
MELVIN POMERANTZ                                  2520 W HEMLOCK                                                                                  MILWAUKEE          WI    53209‐2024
MELVIN POWERS & MARY POWERS JT TEN                BOX 581                                                                                         DANBURY            CT    06813‐0581
MELVIN PROSTKOFF                                  9 GARRISON LN                                                                                   MADBURY            NH    03823‐7605
MELVIN R ANDERTON                                 RR02 BOX 2379                                                                                   HERMITAGE          MO    65668‐9515
MELVIN R BAILEY                                   41 WESTMOUNT BAY                       WINNIPEG MB                            R2J 1Y7 CANADA
MELVIN R BLUMBERG                                 13803 SHAVANO RDG                                                                               SAN ANTONIO        TX    78230‐5823
MELVIN R BRAMBLETT                                3563 W 750S                                                                                     JAMESTOWN          IN    46147‐9415
MELVIN R BROWN                                    5205 W WILSON                                                                                   CLIO               MI    48420‐9450
MELVIN R CAIN                                     221 MODERN ST                                                                                   SULLIVAN           MO    63080‐1727
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Name                                             Address1                               Address2             Address3          Address4          City             State Zip

MELVIN R EBBS                                    4131 HOLLY HILL                                                                                 GRAND BLANC      MI    48439‐2056
MELVIN R EBBS & MARTA R EBBS JT TEN              4131 HOLLY HILL BLVD                                                                            GRAND BLANC      MI    48439‐2056
MELVIN R GONZALEZ                                2757 DERBY DR                                                                                   DELTONA          FL    32738‐1723
MELVIN R GREENWALD                               4270 LUM RD                                                                                     ATTICA           MI    48412‐9313
MELVIN R HAAR JR                                 43763 BANNOCKBURN DRIVE                                                                         CANTON           MI    48187‐2821
MELVIN R HATLEY                                  240 WASHINGTON AVENUE                                                                           CAMDEN           TN    38320‐1130
MELVIN R JACKSON                                 5900 NICHOLS                                                                                    MASON            MI    48854‐9521
MELVIN R LAVALEY                                 4960 S FORDNEY                                                                                  HEMLOCK          MI    48626‐9762
MELVIN R LOWERS                                  603 HIGH VILLA ROAD                                                                             BALTIMORE        MD    21221‐3202
MELVIN R MONS                                    32123 JOY ROAD                                                                                  WESTLAND         MI    48185‐1542
MELVIN R NELSON                                  4054 MOULTON DR                                                                                 FLINT            MI    48507‐5539
MELVIN R PYLE                                    710 W THIRD ST                                                                                  HILLMAN          MI    49746‐9036
MELVIN R SHIELDS                                 124 E 1ST STREET                       APT#703                                                  WESTON           WV    26452‐1979
MELVIN R STARR JR                                HC 12 BOX 65                                                                                    FREDERICKSBURG   TX    78624‐9601
MELVIN R STRBICH                                 BOX 7141                                                                                        AKRON            OH    44306‐0141
MELVIN R ZOSCHNICK                               776 RIDGEDALE                                                                                   BIRMINGHAM       MI    48009‐5786
MELVIN RAINEY                                    1344 HOCKWALT AVE                                                                               DAYTON           OH    45408‐1822
MELVIN RAY HAMMON                                3182 EASTGATE STREET                                                                            BURTON           MI    48519‐1553
MELVIN REED                                      198 COUNTY ROAD 3371                                                                            DE BERRY         TX    75639‐2722
MELVIN REICH & BETTY REICH JT TEN                215‐38 23RD RD                                                                                  BAYSIDE          NY    11360‐2228
MELVIN ROBERTS                                   BOX 7682                                                                                        WESTCHESTER      IL    60154‐7682
MELVIN RONALD ROBINSON                           7136 SE REDBIRD CIR                                                                             HOBE SOUND       FL    33455‐6037
MELVIN ROWLAND                                   4308 RIVERWOOD CIR                                                                              DECATUR          GA    30035‐2929
MELVIN S CUMMINS                                 15051 DRAKE                                                                                     SOUTHGATE        MI    48195‐2605
MELVIN S DOWNES & JEAN L DOWNES TR DOWNES        360 CONCORD AVENUE                                                                              CAMBRIDGE        MA    02138‐1212
REVOCABLE TRUST UA 02/3/01
MELVIN S JANKOLOVITS & SUSAN M JANKOLOVITS JT    51 AUBREY RD                                                                                    UPPER MONTCLAIR NJ     07043‐2201
TEN
MELVIN S MYSLIWIEC                               22065 LORETTA                                                                                   WOODHAVEN        MI    48183‐1534
MELVIN S SCHLESINGER                             1500 W SILVER SPRING DR                                                                         GLENDALE         WI    53209‐4419
MELVIN S SIMMONS                                 575 E GINGHAMSBURG                                                                              TIPP CITY        OH    45371‐9666
MELVIN S SIMON CUST DAVID E SIMON UGMA IN        10555 HUSSEY LN                                                                                 CARMEL           IN    46032‐7921
MELVIN SCHREIBER                                 3000 MARCUS AVE                                                                                 LAKE SUCCESS     NY    11042‐1012
MELVIN SCHRODER                                  6144 YANKEE RD                                                                                  MIDDLETOWN       OH    45044‐9125
MELVIN SIMON                                     125 NORTHFIELD AVE APT A 1 E                                                                    WEST ORANGE      NJ    07052‐4704
MELVIN SIMON & SIDNEY SIMON JT TEN               125 NORTHFIELD AVE                     APT A1E                                                  WEST ORANGE      NJ    07052
MELVIN SMITH                                     4611 MILFORD AVE                                                                                OAK FOREST       IL    60452‐4542
MELVIN SUHD CUST MICHAEL PAUL SUHD UGMA CA       737 PALMS                                                                                       VENICE           CA    90291‐3848

MELVIN SUTHERBY & JOAN BOYD JT TEN               315 PINE TREE DR APT 112                                                                        FARWELL          MI    48622‐9103
MELVIN T BELL                                    4410 RAVINE DR                                                                                  WESTERVILLE      OH    43081‐9563
MELVIN T EYESTONE & MRS VONITA E EYESTONE JT TEN 10305 W 89TH ST                                                                                 OVERLAND PARK    KS    66214‐2002

MELVIN T EYESTONE & VONITA E EYESTONE TR UA       10305 W 89TH ST                                                                                OVERLAND PARK    KS    66214‐2002
10/14/87 EYESTONE TRUST
MELVIN T HARNETZ                                  1397 DELLMONT DR                                                                               FLINT            MI    48507‐0517
MELVIN T LISZKOWSKI & NANCY BASSETT LISZKOWSKI JT 7 DANADA DRIVE                                                                                 WHEATON          IL    60187‐1009
TEN
MELVIN T PERRY                                    5073 ELDRED ST                                                                                 FLINT            MI    48504‐1215
MELVIN T RICE                                     423 CANTERBURY RISE                                                                            FRANKLIN         TN    37067‐6492
MELVIN T ROBERTS                                  3186 STATE RD                                                                                  WARREN           OH    44481
MELVIN T ROBINSON                                 354 CORNWALL AVENUE                                                                            BUFFALO          NY    14215‐3102
MELVIN T WOOD                                     1441 OAK FOREST WAY                                                                            CONYERS          GA    30013‐1611
MELVIN THEODORE JONES SR                          3111 4TH AVE                                                                                   RICHMOND         VA    23222‐4037
MELVIN VAN SICKLE                                 140 SPRUCE HILL ROAD                  KING CITY ON                           L7B 1A3 CANADA
MELVIN W BROWN & ELEANOR J BROWN JT TEN           17005 MADOLINE                                                                                 BIRMINGHAM       MI    48025‐5407
MELVIN W CRAWFORD                                 11234 DUFFIELD ROAD                                                                            MONTROSE         MI    48457‐9400
MELVIN W CREE & M LOIS CREE JT TEN                5226 ENETAI AVE NE                                                                             TACOMA           WA    98422‐1906
MELVIN W ECK III                                  2209 LODGE FARM RD                                                                             BALTIMORE        MD    21219‐2132
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Name                                               Address1                               Address2             Address3          Address4                City               State Zip

MELVIN W MARSH                                     2433 TOWNSEND                                                                                         DETROIT            MI    48214‐1728
MELVIN W NAYLOR & MARY S NAYLOR JT TEN             1810 N MILES STREET                                                                                   ELIZABETH TOWN     KY    42701‐7935
MELVIN W PHILLIPS                                  230 E SHORT ST                                                                                        BRAZIL             IN    47834‐3143
MELVIN W REID                                      4432 SILVER LAKE RD                                                                                   LINDEN             MI    48451‐8915
MELVIN W REID & JANET G REID JT TEN                4432 SILVER LAKE ROAD                                                                                 LINDEN             MI    48451‐8915
MELVIN W RUTLEDGE                                  16470 WHITEHEAD DR                                                                                    LINDEN             MI    48451‐8776
MELVIN W SCHNACKE JR                               5988 MYRTLE HILL RD                                                                                   VALLEY CITY        OH    44280‐9792
MELVIN W STEFFES & HARRIET L STEFFES TR M & H      613 VISTA VALINDA                                                                                     SAN CLEMENTE       CA    92672‐2359
STEFFES TRUST UA 11/4/99
MELVIN W WARREN JR                                 545 E JOHN CARPENTER FWY               SUITE#545                                                      IRVING             TX    75062‐3958
MELVIN W WISE                                      5215 ISHERWOOD DRIVE                                                                                  NIAGARA FALLS      NY    14305‐1382
MELVIN W WOLFF & MRS BARBARA L WOLFF JT TEN        941 TEE COURT                                                                                         WOODMERE           NY    11598‐1917

MELVIN WASHINGTON                                   5434 EL CAMILE AVE                                                                                   OAKLAND            CA    94619‐3200
MELVIN WASHINGTON                                   712 W ELM ST                                                                                         LIMA               OH    45801
MELVIN WAYNE WYATT                                  5439 CLUBOK DR                                                                                       FLINT              MI    48505‐1030
MELVIN WENDLETON JR                                 RR 1 522                                                                                             BUTLER             MO    64730‐9801
MELVIN X COOPER                                     1470 PARKCHESTER ROAD                                                                                BRONX              NY    10462‐7646
MELVINA B GOERSS                                    409 E STENZIL                                                                                        N TONAWANDA        NY    14120‐1756
MELVINA CAMERON                                     41856 GLADE RD                                                                                       CANTON             MI    48187‐3774
MELVINA JO HAMLER                                   4476 E 100 N                                                                                         KOKOMO             IN    46901‐8323
MELVINA M FRITZ TOD PATRICIA A LIZZI SUBJECT TO STA PO BOX 525                                                                                           CASTALIA           OH    44824
TOD RULES
MELVINA R WILLIAMS                                  165 HARRIET COURT                     PO BOX 343                                                     ELMIRA             NY    14902‐0343
MELVINA R ZAJAC                                     32540 MARQUETTE ST                                                                                   GARDEN CITY        MI    48135‐1230
MELVINA SPEAKS                                      1043 SMITH                                                                                           BUFFALO            NY    14212‐1125
MELVIS W STRICKLAND                                 4332 ROSEBUD CHURCH RD                                                                               WILSON             NC    27893‐8212
MELVITA Y JOHNSON                                   5052 KILBOURNE RUN PL                                                                                COLUMBUS           OH    43229‐4758
MELVYN C CRAMER                                     7015 SHANNON RD                                                                                      VERONA             PA    15147‐2840
MELVYN C STERNFELD & DONNA STERNFELD JT TEN         5380 FRANKLIN RIDGE CIR                                                                              WEST BLOOMFIELD    MI    48322‐4123

MELVYN D COFFMAN                                   4170 QUAIL SPRINGS CIRCLE                                                                             MARTINEZ           GA    30907‐2101
MELVYN E COURTLEY                                  207 KIOWA PT                                                                                          LOUDON             TN    37774‐2924
MELVYN ELLIS                                       34059 WILLIAMSBURG                                                                                    STERLING HTS       MI    48312‐4664
MELVYN F KOSSOVER & MRS JUDY J KOSSOVER TEN        741 BARRACKS STREET                                                                                   NEW ORLEANS        LA    70116‐2516
COM
MELVYN G RAINEY                                    495 E FERRY ST                                                                                        BUFFALO            NY    14208‐1602
MELVYN GILBERT                                     PO BOX 17483                                                                                          PORTLAND           OR    97217
MELVYN I SELSKY & LOWELL B SELSKY JT TEN           76 LINKS WAY                                                                                          OXFORD             CT    06478‐3100
MELVYN L SCOTT                                     1370 ASH STREET                                                                                       HUNTINGTON         IN    46750‐4111
MELVYN M DOPPKE & MARCIA DOPPKE JT TEN             3154 PEBBLE LANE                                                                                      BLOOMFIELD HILLS   MI    48301‐3327

MELVYN M SIMONS                                    635 WELD ST                                                                                           WEST ROXBURY       MA    02132‐1739
MELVYN MICHAEL LEBETKIN                            #12A FALLOWFIELD                       STANMORE                               HA7 3DF GREAT BRITAIN
MELVYN S BRANNON                                   329 LINGERING LANE                                                                                    HENDERSON          NV    89012‐3262
MELVYNE B HOBROW                                   8674 WOODHAVEN SW                                                                                     BYRON CENTER       MI    49315‐8640
MELWOOD C BROWN                                    15100 CRUSE                                                                                           DETROIT            MI    48227‐3202
MELYNA SUE MURPHY                                  ATTN MELYNDA S CONNELLY                511 HA HA TONKA                                                CAMDENTON          MO    65020‐9566
MEMORIAL ESTATES BOUNTIFUL ENDOWMENT CARE          PO BOX 57220                                                                                          SALT LAKE CITY     UT    84157‐0220

MEMORY A ST JAMES WEBER                            3175 HWY 47                                                                                           LOS LUNAS          NM    87031
MENACHEM LANGER                                    303 E 57TH ST #26E                                                                                    NEW YORK           NY    10022
MENDEN W HOLDER                                    PO BOX 869                                                                                            FLINT              MI    48501‐0869
MENDIE M MORRIS                                    5330 BROOKLYN RD                                                                                      MORGANTOWN         KY    42261‐7416
MENDORA MARTIN                                     24970 COLUMBUS RD                                                                                     BEDFORD HTS        OH    44146‐2539
MENDORE A VALENTINE LILLIAN R VALENTINE & LISA L   70 W AVE APT 57                                                                                       BROCKPORT          NY    14420
SANCHEZ JT TEN
MENDORE A VALENTINE LILLIAN R VALENTINE & ROGER    71 W AVE APT 57                                                                                       BROCKPORT          NY    14420
A VALENTINE JT TEN
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Name                                              Address1                                Address2             Address3          Address4          City            State Zip

MENDORE A VALENTINE LILLIAN R VALENTINE & SCOTT   70 W AVE APT 57                                                                                  BROCKPORT       NY    14420
A VALENTINE JT TEN
MENDZA STAMENKOVIC                                6580 COLONIAL                                                                                    DEARBORN HTS    MI    48127‐2111
MENELAOS JOHN ANGELAKOS                           28 EAST YOUNG STREET                                                                             SOMERVILLE      NJ    08876‐1610
MENG‐SANG CHEW                                    4866 SHIMERVILLE RD                                                                              EMMAUS          PA    18049‐4952
MENKA GOREVSKI                                    80 ELDORA DR                                                                                     ROCHESTER       NY    14624
MENNIE B DODSON                                   2406 HEMPHILL RD                                                                                 DAYTON          OH    45440‐1220
MENNO D NIKKEL                                    PO BOX 2180                                                                                      TRUCKEE         CA    96160‐2180
MENTINA L SPAZIANI                                526 N DARLINGTON ST                                                                              WEST CHESTER    PA    19380‐2308
MENZIE BOYKINS JR                                 6968 LEXINGTON DR                                                                                W BLOOMFIELD    MI    48322‐2966
MERAB W GARDNER                                   425 PEARL ST                                                                                     PENDLETON       IN    46064‐1235
MERCED VALDEZ JR                                  PO BOX 453                                                                                       HOLGATE         OH    43527‐0453
MERCEDES A CASTILLO                               3 FEENEY RD                                                                                      OSSINING        NY    10562‐2611
MERCEDES A SCHUE                                  2835 COLORAD AVENUE                                                                              LORAIN          OH    44052‐2901
MERCEDES BENZ TRUCK CO INC                        PO BOX 3849                                                                                      PORTLAND        OR    97208‐3849
MERCEDES CHRISTINA CARBONELL                      PHILLIPS EXETER ACADEMY                 20 MAIN ST                                               EXETER          NH    03833‐2438
MERCEDES DALRYMPLE                                1009 HARDING AVENUE                                                                              JOHNSON CITY    TN    37604
MERCEDES FERNANDEZ                                1365 MARYBELLE AVE                                                                               SAN LANDRO      CA    94577‐2317
MERCEDES M CHAVEZ                                 2218 S ALLIS ST                                                                                  MILWAUKEE       WI    53207‐1321
MERCEDES M IRVING                                 285 JAMES DRIVE                                                                                  WINTER GARDEN   FL    34787‐2822
MERCEDES MEDWID                                   52 MORGAN DR                                                                                     MANSFIELD       OH    44904‐8017
MERCEDES P MORRIS & RICHARD T MORRIS JT TEN       7804 GOLF DRIVE                         #2A                                                      PALOS HEIGHTS   IL    60463‐3067

MERCEDES TREVINO                                  5636 ROGERS ST                                                                                   DETROIT         MI    48209‐2425
MERCEDES VILLARINO                                579 GRANT AVENUE                                                                                 ROSELLE         NJ    07203‐2910
MERCEDESE A LENNING                               1425 BRIM ST PO BOX 81                                                                           MILLBURY        OH    43447‐0081
MERCEDEZ M HUERTAS                                3206 CAESAR AVE                                                                                  ORLANDO         FL    32833
MERCER COUNTY CHAPTER OF THE AMERICAN RED         210 W MARKET ST                                                                                  CELINA          OH    45822‐2123
CROSS
MERCHELL K TATE CUST CALYN M TATE UGMA PA         216 SPRINGDALE RD                                                                                VENETIA         PA    15367‐1320
MERCHELL K TATE CUST CAMERON J TATE UGMA PA       216 SPRINGDALE RD                                                                                VENETIA         PA    15367‐1320

MERCHELL K TATE CUST CRAIG C TATE UGMA PA       216 SPRINGDALE RD                                                                                  VENETIA         PA    15367‐1320
MERCIA M KRAUSSE                                27 DOANE TERR                                                                                      SOUTH HADLEY    MA    01075‐1308
MERCURIO J CIANCIOLO TR MERCURIO J CIANCIOLO    930 LANDER RD                                                                                      CLEVELAND       OH    44143‐3248
LIVING TRUST UA 03/29/05
MEREDIETH D ARNOLD                              BOX 176                                                                                            MATHISTON       MS    39752‐0176
MEREDITH A ALLEN CUST MARGARET BROOKE ALLEN     82 LAWSON ROAD                                                                                     WINCHESTER      MA    01890‐3155
UGMA MA
MEREDITH ALLEN NEARY                            4267 HILLVIEW DR                                                                                   PITTSBURG       CA    94565‐6063
MEREDITH ANN MC CARTY                           1 TALLPINE ROAD                                                                                    MILFORD         MA    01757‐3971
MEREDITH B WHITE                                88 HIGHLAND ST                                                                                     MASHPEE         MA    02649‐4346
MEREDITH D GIRARD TR MEREDITH D GIRARD TRUST UA 4312 COBBLESTONE DR                                                                                COPLEY          OH    44321‐2927
04/03/02
MEREDITH D GRIFFITHS                            180 WOODFIELD LANE                                                                                 WINCHESTER      VA    22602‐2164
MEREDITH D WERNER                               16W320 HILLSIDE LN                                                                                 HINSDALE        IL    60521‐6232
MEREDITH DAVIS MILES                            134 SPINDLETOP DR                                                                                  BOWLING GREEN   KY    42104‐7569
MEREDITH E CHAPPELL                             4908 POE AVE                                                                                       BALTIMORE       MD    21215‐5345
MEREDITH E GREY                                 258 MILLER AVE                            APT 1                                                    MILL VALLEY     CA    94941‐2876
MEREDITH E MORRELL                              PO BOX 205                                                                                         NEWARK          DE    19715‐0205
MEREDITH E WILSON                               1312 COLEMAN ST                                                                                    WILMINGTON      DE    19805‐4771
MEREDITH F OLSON                                1563 S BARBARA ST                                                                                  SANTA MARIA     CA    93454
MEREDITH J PEFFLEY                              71 ASHLEY RIDGE DR                                                                                 BURLINGTON      NC    27215‐7709
MEREDITH JAMES BUNISH                           PO BOX 7652                                                                                        FLINT           MI    48507‐0652
MEREDITH K CAREY & STEPHEN A CAREY JT TEN       93 CHURCH HILL RD                                                                                  HADDAM          CT    06438
MEREDITH L BUTTON                               PO BOX 115                                                                                         N WATERFORD     ME    04267
MEREDITH L CURTIS                               251 BRIGHTVIEW DR                                                                                  LAKE MARY       FL    32746‐2352
MEREDITH L GROSS                                118 MAPLE CREEK WAY                                                                                JUPITER         FL    33458‐7746
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MEREDITH L GROSS & MRS DOROTHY K GROSS JT TEN   118 MAPLE CREEK WAY                                                                           JUPITER           FL    33458‐7746

MEREDITH L LEDBETTER                             9746 RAWSONVILLE                                                                             BELLEVILLE        MI    48111‐9205
MEREDITH L ROGDE & JOEL W ROGDE JT TEN           2740 CHESSINGTON DR                                                                          NEW LENOX         IL    60451‐2888
MEREDITH L SHERRON                               PO BOX 255                                                                                   CAMBY             IN    46113‐0255
MEREDITH L TURLEY CUST MISS TAMRA L TURLEY U/THE 260 W PINE ST 2                                                                              ZIONSVILLE        IN    46077‐1534
INDIANA U‐G‐M‐A
MEREDITH LAMAR                                   2140 W WESTHOLME DR                                                                          MARION            IN    46952‐8622
MEREDITH LYNN WEISSBARD                          7 SHELBOURNE DRIVE                                                                           LOUDONVILLE       NY    12211
MEREDITH M HEADLEY                               2226 GREAT OAK DR                                                                            MILFORD           MI    48380‐4325
MEREDITH M PETRIE                                34 BOBWHITE TRAIL                                                                            GALES FERRY       CT    06335‐2001
MEREDITH MOCK & LORNELL MOCK JT TEN              5054 STATE ROAD 32 W                                                                         ANDERSON          IN    46011‐8746
MEREDITH MUELLER LEFFEL                          890 W PINE ST                                                                                ZIONSVILLE        IN    46077‐1731
MEREDITH P BACK                                  4301 AMELIA OLIVE BR R                                                                       BATAVIA           OH    45103‐8991
MEREDITH P DONDIS                                36 ACADIA DR                                                                                 ROCKLAND          ME    04841‐2539
MEREDITH R NEARY                                 4267 HILLVIEW DR                                                                             PITTSBURG         CA    94565‐6063
MEREDITH R NELSON                                16202 COUNTY ROAD 424                                                                        DEFIANCE          OH    43512‐6754
MEREDITH R OSTHEIMER                             305 RADCLIFFE DR                                                                             NEWARK            DE    19711‐3150
MEREDITH S HENES                                 89 EASTMAN RD                                                                                WASHINGTON        VT    05675‐2003
MEREDITH SCHLOSS                                 5806 HAVERFORD AVE                                                                           INDIANAPOLIS      IN    46220‐2771
MEREDITH SCHUETTE & MICHAEL SCHUETTE JT TEN      3219 WALDON RIDGE DR                                                                         ORION             MI    48359‐1339

MEREDITH W BUCKLEY TR U/T/D 02/20/87 MEREDITH W 2022 TULLIS DRIVE                                                                             MIDDLETOWN        OH    45042‐2963
BUCKLEY TRUST
MEREDITH W CROWN & JOAN B CROWN JT TEN          5537 HUCKLEBERRY DR                                                                           BRYANTOWN         MD    20617‐2007
MEREDITH W KIRKHAM                              10590 W STATE ROAD 32                                                                         YORKTOWN          IN    47396‐9792
MEREL CHANEY & JORETTA L CHANEY JT TEN          13501 OLD CUMBERLAND RD NE                                                                    FLINSTONE         MD    21530‐3143
MERIALICE M JENSEN                              4707 LOWCROFT                                                                                 LANSING           MI    48910‐5328
MERIAM L ROMATZ                                 24703 GREENHILL RD                                                                            WARREN            MI    48091‐3301
MERIBETH HUSO                                   660 RAUPP BLVD                                                                                BUFFALO GROVE     IL    60089‐3437
MERIBETH M BROCKER‐QUERIO CUST ANNICA J         21726 ALGER ST                                                                                ST CLAIR SHORES   MI    48080‐1845
BROCKER UTMA MI
MERIDA E BECK & SUSAN R EDWARDS TR UA 10/20/93 2321 COLUMBIA AVENUE                                                                           LANCASTER         PA    17603‐4107
MERIDA D EDWARDS
MERIDA L PINZON                                 PO BOX 7                                                                                      GASPORT          NY     14067‐0007
MERIDEE A HUNST                                 3425 PUGH MOUNTAIN VW                                                                         COLORADO SPRINGS CO     80922‐3168

MERIDITH D MANKE TR MERIDITH D MANKE TRUST UA   3175 GREEN RD                                                                                 ST JOHNS          MI    48879‐8116
11/20/97
MERIE A VASSIS TR THE MERIE A VASSIS TRUST UA   28 QUAIL RUN                                                                                  PLANT CITY        FL    33565‐2800
09/06/02
MERIEL K HANEL                                  4374 LOUELLA DRIVE                                                                            WATERFORD         MI    48329‐4025
MERILYN C ROLL                                  2465 HARBOR VIEW ROAD                                                                         CAMDEN            SC    29020‐8246
MERIT RALEIGH                                   11063 EASTON RD                                                                               NEW LOTHROP       MI    48460‐9759
MERL C REECE                                    3098 BELLSFERRY RD                                                                            MARIETTA          GA    30066‐3400
MERL E KEYS                                     8540 CLIO RD                                                                                  MT MORRIS         MI    48458‐8214
MERL F FENTON JR                                PO BOX 316                                                                                    CEDAR KEY         FL    32625‐0316
MERL G HUTTO & MILADA V HUTTO JT TEN            7 PARTRIDGE RD                                                                                CORNWALL ON       NY    12520‐1800
                                                                                                                                              HUDSON
MERL L SISK                                     190 ROWLETT DRIVE                                                                             DOVER             TN    37058‐5052
MERLA LEW KRAMER                                6322 ST JUDE DRIVE                                                                            PASADENA          TX    77505‐5491
MERLE A EVELAND                                 3588 SWIFT RD                                                                                 BELLEVUE          MI    49021‐9447
MERLE A FOSTER                                  10423 KLEES RD                                                                                CRYSTAL           MI    48818‐9769
MERLE A GRAMS                                   9875 SYLVANIA PETERSBURG RD                                                                   OTTAWA LAKE       MI    49267‐9757
MERLE A HECHT                                   7800 NEMCO WAY                       APT 226                                                  BRIGHTON          MI    48116‐9462
MERLE A TROUB                                   411 WEST ELBA ST BOX159                                                                       PERRINTON         MI    48871‐0159
MERLE B ARNOLD                                  1298 NORTH RD SE                                                                              WARREN            OH    44484‐2706
MERLE B CAMPBELL                                301 EDGEWATER PINES DR SW                                                                     WARREN            OH    44481‐9680
MERLE B HILTON & MRS RUTH W HILTON JT TEN       5006 SIMS ROAD                                                                                KNOXVILLE         TN    37920‐4951
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Name                                             Address1                                Address2             Address3          Address4          City             State Zip

MERLE B HOWIE                                    1276 GORE RD RR5                        HARROW ON                              N0R 1G0 CANADA
MERLE B HOWIE                                    1276 GORE RD RR5                        HARROW ON                              N0R 1G0 CANADA
MERLE B HOWIE                                    RR 5                                    1276 GORE RD         HARROW ON         N0R 1G0 CANADA
MERLE B HOWIE                                    RR 5                                    HARROW ON                              N0R 1G0 CANADA
MERLE B LAWSON                                   BX 417                                                                                           CONVERSE         IN    46919‐0417
MERLE B PAYNE                                    1298 NORTH RD SE                                                                                 WARREN           OH    44484‐2706
MERLE BALLARD                                    1000 MANILA DR                                                                                   SENECA           SC    29672‐0647
MERLE C COX                                      6111 MAREN DRIVE                                                                                 SPEEDWAY         IN    46224‐3209
MERLE CHARLES REDFIELD                           250 PROSPECTOR WAY                                                                               BALL GROUND      GA    30107
MERLE CLIFFORD BELL                              5555 EAST COLBY STREET                                                                           MESA             AZ    85205
MERLE COLLINS                                    24657 MULBERRY DRIVE                                                                             SOUTHFIELD       MI    48034‐3155
MERLE CUMMINGS                                   4065 ABBEYGATE DR                                                                                BEAVERCREEK      OH    45430‐2066
MERLE D CALVIN                                   862 CRYSTAL VIEW DR                                                                              PARKER           AZ    85344‐8123
MERLE D CROW TR UA 02/21/85 MERLE D CROW TRUST   PO BOX 2459                                                                                      HONOLULU         HI    96804‐2459

MERLE D DAILEY                                   916 N OXFORD DR                                                                                  MARION           IN    46952
MERLE D OATES                                    ATTN MERLE D OATES‐WRIGHT               3590 5TH AVE NW                                          NAPLES           FL    34120‐1622
MERLE D SHANK & SUZANNE W SHANK JT TEN           554 VIEWMONT CT                                                                                  HARRISONBURG     VA    22802‐6079
MERLE D STANKE                                   R RFD 6                                                                                          CHARLOTTE        MI    48813
MERLE E BLAIN                                    369 BLAIN ROAD                                                                                   MAYPEARL         TX    76064‐1848
MERLE E COUCH                                    1397 POTTER BLVD                                                                                 BURTON           MI    48509‐2156
MERLE E MAILO                                    121 E JOLLY RD                          APT D2                                                   LANSING          MI    48910‐6686
MERLE E RUSH                                     5381 GRAFTON ROAD                                                                                VALLEY CITY      OH    44280‐9322
MERLE E RUSH & DARL L RUSH JT TEN                5381 GRAFTON ROAD                                                                                VALLEY CITY      OH    44280‐9322
MERLE E STORCK                                   2811 RUGER AVENUE                                                                                JANESVILLE       WI    53545‐2248
MERLE E WILKINSON                                6513 S 100 E                                                                                     MARKLEVILLE      IN    46056‐9640
MERLE F DUESLER                                  4469 ST HWY 10                                                                                   FT PLAIN         NY    13339‐2639
MERLE F EDGEWORTH JR                             290 FAIR WAYS CT                                                                                 NEWNAN           GA    30265‐2047
MERLE F NIETHE                                   17 PHELPS ST                                                                                     LOCKPORT         NY    14094‐2019
MERLE FERRELL                                    1201 KATHERINE DR                                                                                BEAVERCREEK      OH    45434‐6325
MERLE H MILLARD                                  15567 HARVEST LN                                                                                 SOUTHGATE        MI    48195‐6834
MERLE H SUTTON                                   2216 MILLERS ACADEMY RD                                                                          BREMEN           GA    30110‐2519
MERLE H THOMA                                    R F D 1 EAST ST                                                                                  HEBRON           CT    06248‐9801
MERLE HARPER & MARGARET HARPER TR HARPER         BOX 111                                                                                          SPRINGERVILLE    AZ    85938‐0111
LIVING TRUST UA 05/03/99
MERLE HAWLEY MCGOWAN & ROYAL MCGOWAN JT          2102 E CONCORD ST                                                                                ORLANDO          FL    32803‐4819
TEN
MERLE HENRY WHITCOMB                             2333 UTLEY RD                                                                                    FLINT            MI    48532‐4966
MERLE HOWIE                                      1276 GORE RD RR 5                       HARROW ON                              N0R 1G0 CANADA
MERLE J BURTHAY                                  3166 N 80 WEST                                                                                   KOKOMO           IN    46901‐8109
MERLE J MANSFIELD TR LIVING TRUST UA 03/17/82    13210 WABASH RD                                                                                  MORENCI          MI    49256
MERLE J MANSFIELD
MERLE J PAFFEL                                   1634 KEELER AVE                                                                                  BELOIT           WI    53511‐4767
MERLE J REICHERT                                 13203 DUNLAP RD                                                                                  LASALLE          MI    48145‐9709
MERLE J STEVENS                                  8715 SCANDANAVIAN BLVD                                                                           LAKELAND         FL    33809‐1744
MERLE K BROWN                                    37303 E FAULKENBERRY RD                                                                          LONE JACK        MO    64070‐9102
MERLE L GREENSPOON & ROSALINE B GREENSPOON JT    547 SOUTH PONTIAC WAY                                                                            DENVER           CO    80224‐1549
TEN
MERLE L HAWKINS                                  2776 LYDIA DRIVE SW                                                                              WARREN           OH    44481‐8619
MERLE L NALLEY                                   5302 24TH STREET                                                                                 DETROIT          MI    48208‐1924
MERLE L QUEER                                    1990 STONE RIDGE DR                                                                              ASHLAND          OH    44805‐4586
MERLE L WHITTAKER                                2090 N OXFORD RD RT #4                                                                           OXFORD           MI    48371‐2620
MERLE M ROBERTS & LANCE A ROBERTS JT TEN         1203 CLEARVIEW DRIVE                                                                             FLUSHING         MI    48433‐1479
MERLE M VARON                                    6148 CAPISTRANO                                                                                  WOODLAND HILLS   CA    91367‐1707

MERLE N POTTER                                   310 MONROE ST                                                                                    DURAND           MI    48429
MERLE P DAVIES TR MERLE P DAVIES TRUST UA        BAYVIEW MEADOWS CONDO                   28523 DINO CIRCLE                                        CHESTERFIELD     MI    48047‐4819
03/15/96
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MERLE P WEISS TR MERLE P WEISS TRUST UA 02/09/06   5104 CORBEL LAKE WAY                                                                            BOYNTON BEACH    FL    33437‐1694

MERLE P WIDVEY                                     BOX 235                                                                                         SHIRLEY          IN    47384‐0235
MERLE PARKER HALL                                  704 EAST OAK STREET                                                                             GREENVILLE       IL    62246‐1545
MERLE R BLEAVINS                                   11905 EARL ST                                                                                   PINCKNEY         MI    48169‐9060
MERLE R GIESEY & RITA M GIESEY JT TEN              112 DEEDS ST                                                                                    LIGONIER         PA    15658‐1202
MERLE R LOCKHART                                   5510 SW 4TH PL                         APT 401                                                  CAPE CORAL       FL    33914‐7288
MERLE R WILLIAMS                                   9 RIO VISTA DR                                                                                  LOUISVILLE       KY    40207‐1510
MERLE REED SHINGLER                                7525 HIGHWAY 273                                                                                BLAKELY          GA    39823‐9140
MERLE STEWART JR & MRS ALICE STEWART TEN COM       133 OAK HILL RD                                                                                 KENBRIDGE        VA    23944‐9801

MERLE TRAVIS HARROD                                10246 WOODBURN ALLEN SP RD                                                                      ALVATON          KY    42122‐9576
MERLE ULBERG & BARBARA ULBERG JT TEN               11111 HIGLEY CIRCLE EAST                                                                        SCHOOLCRAFT      MI    49087‐9406
MERLE W CLARK                                      4798 KINGS CROSSING DRIVE                                                                       KENNESAW         GA    30144‐1655
MERLE W CROOKS                                     RD2                                    BOX 66                                                   MARTINSBURG      PA    16662‐9115
MERLE W CROSBY                                     4798 KINGS CROSSING DRIVE                                                                       KENNESAW         GA    30144‐1655
MERLE W KLINGBEIL                                  527 MITCHELL LAKE DR                                                                            SHERIDAN         MI    48884‐9394
MERLE W KORN                                       5850 GREENHAVEN                                                                                 SYLVANIA         OH    43560‐1562
MERLE W MC KINLEY & MRS ELLEN R MC KINLEY JT TEN   4818 CORTLAND DR                                                                                CORONA DEL MAR   CA    92625‐2710

MERLE W PEACOCK                                    2228 RIDGELINE DR                                                                               LANSING          MI    48912‐3430
MERLE W ROBB & MRS BERTHA ROBB JT TEN              40‐A HADDON RD                                                                                  MONROE           NJ    08831
                                                                                                                                                   TOWNSHIP
MERLE W RODGERS                                    298 CAMELET BLVD                                                                                FALLING WATERS   WV    25419‐9403
MERLE WAYNE CLARK                                  7640 RANDWICK RD                                                                                PENSACOLA        FL    32514‐6448
MERLE Y SMITH                                      1437 MARIPOSA                                                                                   RICHMOND         CA    94804‐4936
MERLE Y SMITH & PEGGY D LORTIE JT TEN              1437 MARIPOSA                                                                                   RICHMOND         CA    94804‐4936
MERLEEN E JONES                                    6504 SCENIC PINES CT                                                                            CLARKSTON        MI    48346
MERLENE A COULOM                                   520 SUNRISE DR                                                                                  LODA             IL    60948‐9742
MERLENE D CHADWELL                                 3245 WIRT RD                                                                                    MASON            MI    48854‐9320
MERLENE G FRALEIGH                                 163 MAPLE AVE                                                                                   GERMANTOWN       NY    12526‐5305
MERLEY E BROWN                                     108 NORTON                                                                                      PONTIAC          MI    48341
MERLIN B SANDERSON                                 3947 W FRENCH RD                                                                                SAINT JOHNS      MI    48879‐9461
MERLIN BABBITT & JOAN BABBITT JT TEN               N9702 MUSSER CREEK CT                                                                           PHILLIPS         WI    54555‐8972
MERLIN C FORD                                      33109 VICTORY RD                       PAOLA KS 66071                                           PAOLA            KS    66071‐8220
MERLIN D KOOS                                      2278 NARROW LAKE RD                                                                             CHARLOTTE        MI    48813‐9159
MERLIN D SHANK & PAMELA V SHANK JT TEN             136 COOKS CREEK RD                                                                              HARRISONBURG     VA    22802‐0801
MERLIN E DENMAN & JANE E DENMAN JT TEN             G‐6200 CALKINS RD                                                                               FLINT            MI    48532
MERLIN E ELDRED                                    482 MAPLE STRING                                                                                DAYTON           OH    45458‐9231
MERLIN F BOYDEN                                    12164 N LEGACY PL                                                                               ORO VALLEY       AZ    85737‐3479
MERLIN F BOYDEN & RUTH A BOYDEN JT TEN             12164 N LEGACY PL                                                                               ORO VALLEY       AZ    85737‐3479
MERLIN G CHRISTIANSON                              1609 SAINT GEORGE LN                                                                            JANESVILLE       WI    53545‐5602
MERLIN G OEHRKE                                    7667 W SAMPLE RD 204                                                                            CORAL SPRINGS    FL    33065‐4718
MERLIN HERALD & PATRICIA HERALD JT TEN             9432 ASH ST                                                                                     NEW LOTHROP      MI    48460‐9783
MERLIN J NICHOLS                                   6910 LONGVIEW                                                                                   SHAWNEE          KS    66218‐9748
MERLIN J NICHOLS & SHIRLEY J NICHOLS JT TEN        6910 LONGVIEW                                                                                   SHAWNEE          KS    66218‐9748
MERLIN J SPEIKES                                   505 OUTLOOK CV                                                                                  FLOWER MOUND     TX    75028‐7176
MERLIN L HAMEN                                     249 FURROW LN                                                                                   CALABASH         NC    28467‐2384
MERLIN L KEPHART                                   4934 BROWN RD                                                                                   CONEWANGO VLY    NY    14726‐9710
MERLIN L PHILLIPS                                  9243 N JARBOE ST                                                                                KANSAS CITY      MO    64155‐1280
MERLIN L SLEIGHT                                   1317 MT HOPE HWY                                                                                CHARLOTTE        MI    48813‐8631
MERLIN R MILLER                                    2829 DAVID DRIVE                                                                                SPRINGPORT       MI    49284‐9320
MERLIN R SCHENDEL                                  300 FAIRWAY DR                                                                                  HORSESHOE BEND   AR    72512‐2704

MERLIN R SWEIGART                                  3355 SOWTA 500 W                                                                                NEW PALESTINE    IN    46163
MERLIN ROY ARNETT & ELDON E ARNETT JT TEN          5508HALL ST                                                                                     ALEXANDRIA       LA    71303‐3917
MERLIN SIGURDSON                                   916 SAMUEL POINT                                                                                COLORADO SPRINGS CO    80906‐6300
                                            09-50026-mg                   Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MERLIN V RODEWALD & HELEN L RODEWALD JT TEN       18 TEE AR PL                                                                                    PRINCETON        NJ    08540‐3912

MERLIN WAYNE MYERS EX EST ETHEL M                 9179 SANDY CREEK LANE                                                                           MECHANICSVLLE    VA    23116
THROCKMORTON
MERLINE M PARKS                                   PO BOX 12                                                                                       COALMONT         IN    47845‐0012
MERLLE W SAMPSON                                  2335 GEIGER RD                                                                                  IDA              MI    48140‐9556
MERLON M SCHAEFER                                 10390 WINTHROP RD                                                                               STREETSBORO      OH    44241‐5161
MERLON T BAXTER                                   6 CECIL AVE                                                                                     MASSENA          NY    13662‐2140
MERLTON L BRANDENBERG                             18045 WARRINGTON DR                                                                             DETROIT          MI    48221‐2770
MERLTON R HARRADON                                PO BOX 327                                                                                      SABATTUS         ME    04280‐0327
MERLYN E SCOVILLE                                 14 N BRAINTREE                                                                                  SCHAUMBURG       IL    60194‐4165
MERLYN G CAUPP                                    10778 FARMERSVILLE W CARROL RD                                                                  GERMANTOWN       OH    45327‐8524
MERLYN L HOBSON TR MERLYN L HOBSON REVOCABLE      5967 CHIPPEWA TR                                                                                HALE             MI    48739
LIVING TRUST UA 11/28/00
MERLYN L PIPER                                    1453 CO ROAD 1475                                                                               ASHLAND          OH    44805‐9724
MERLYN M THOMPSON TR MERLYN M THOMPSON            9537 N MCCLELLAND RD                                                                            BRECKENRIDGE     MI    48615‐9767
TRUST UA 11/08/00
MERLYN R RODRIGUES & EUSEBIO L RODRIGUES JT TEN   10508 DEMOCRACY LN                                                                              POTOMAC          MD    20854‐4003

MERLYN W GINGRAS                                  1030 W ELM                                                                                      CHIPPEWA FALLS   WI    54729‐1602
MERO L DIAZ                                       3710 MARGARET                                                                                   BAY CITY         MI    48706‐1318
MERQUIADESN CESPEDES                              7333 GREEN LEVEL CHURCH RD                                                                      APEX             NC    27523
MERRAIN M BATEY                                   5644 HIWAY B                                                                                    HILLSBORO        MO    63050‐3003
MERRANCE H PETERS                                 12939 M 50                                                                                      BROOKLYN         MI    49230‐8339
MERRELL FORT GREGORY                              BOX 8447                                                                                        ASHEVILLE        NC    28814‐8447
MERRELL M CLARK                                   13 WALWORTH AVE                                                                                 SCARSDALE        NY    10583‐1417
MERRI L ROUNDTREE & JOHN W ROUNDTREE JT TEN       3700 S WESTPORT #509                                                                            SIOUX FALLS      SD    57106‐6344

MERRI S DITTMAR                                   ATT MERRI S SPARSA                     415 ARISTROCRAT DR                                       BOLINGBROOK      IL    60490
MERRI SUE IRWIN                                   35 INTERLAKEN DR                                                                                EASTCHESTER      NY    10709‐1529
MERRI‐LYNN YERAGE                                 PUR BY EST                             22329 CANONES CIRCLE                                     SAUGUS           CA    91351
MERRIAM K NEWHALL                                 1114 STEWART RD                                                                                 BERLIN           VT    05602‐8848
MERRIAN KENDALL KOHLER                            932 S SARAH WAY                                                                                 ANAHEIM          CA    92805‐5642
MERRIANNE B GIANNINI TOD KIRKE GIEDZINSKI SUBJECT 330 BIRCHWOOD COURT                                                                             IONE             CA    95640
TO STA TOD RULES
MERRICK D PATTERSON                               7330 JEWEL BROOKE                                                                               GRAND RAPIDS     MI    49548‐7322
MERRICK E MURPHY                                  19543 BATTERSEA BLVD                                                                            ROCKY RIVER      OH    44116‐1649
MERRICK LUCKETT                                   18845 DEQUINDRE                                                                                 DETROIT          MI    48234‐1205
MERRIE A JONES                                    7700 NEWBURG ROAD                                                                               DURAND           MI    48429‐9755
MERRIE A JONES & WILLIAM D JONES JT TEN           7700 NEWBURG ROAD                                                                               DURAND           MI    48429‐9755
MERRIE H CLIFFORD                                 303 WALDEN WAY                                                                                  IMPERIAL         PA    15126‐9639
MERRIE H CLIFFORD & CARLA D HUDSON JT TEN         434 THOMPSON AVE                                                                                CLAIRTON         PA    15025‐1039
MERRIE L DE COOMAN                                9126 PINEVIEW LAKE CT                                                                           LINDEN           MI    48451‐9798
MERRIE LEE SOULES                                 1570 VISTA DEL CERRO                                                                            LAS CRUCES       NM    88007‐8910
MERRIL W PATTON                                   5016 ANGELITA AVE                                                                               HUBER HEIGHTS    OH    45424‐2705
MERRIL W POWELL JR & SUSAN POWELL JT TEN          17 GRANDVIEW AVE                                                                                YOUNGWOOD        PA    15697
MERRILEE C BROADBENT                              880 S 100 E                                                                                     RICHMOND         UT    84333
MERRILEE R KIDD TR LIVING TRUST 12/11/91 U‐A      1505 PEBBLE CREEK                                                                               COPPELL          TX    75019‐3674
ROBERT H KIDD
MERRILL A KROLICK                                 10316 LONGWOOD DR                                                                               SEMINOLE         FL    33777‐1311
MERRILL A SPORKIN                                 PO BOX 99                                                                                       MERION STATION   PA    19066‐0099
MERRILL ARDIS CARRAWAY JR                         PO BOX 189                                                                                      MAGNOLIA         MS    39652‐0189
MERRILL C COOPER                                  5308 S ADAMS ST                                                                                 MARION           IN    46953‐5911
MERRILL C CROWDER                                 C/O LAWRENCE CROWDER                   7354 N 750 W                                             FRANKTON         IN    46044‐9467
MERRILL C DULIN                                   1660 JENNINGS MILL RD                  APT 407                                                  BOGART           GA    30622
MERRILL D BRACKEN                                 7509 S 825 E                                                                                    LADOGA           IN    47954‐7216
MERRILL D WOODWARD                                101 LASSETTER DRIVE                                                                             RED OAK          TX    75154‐5111
MERRILL E BLACKBURN                               2729 82ND PLACE                        # 129                                                    URBANDALE        IA    50322‐4312
MERRILL E CHESEBROUGH                             410 E MAIN ST #209                                                                              LEROY            MN    55951
                                                09-50026-mg             Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MERRILL E FRANKLIN                                4630 ALDAN DR                                                                                 HOLLY              MI    48442‐9134
MERRILL H DAVIS & MILDRED A DAVIS JT TEN          9 APPLE BLOSSOM LANE                                                                          LAMOINE            ME    04605‐4523
MERRILL H NICHOLS                                 4558 S BELLAMY BLVD                                                                           MARION             IN    46953‐5382
MERRILL H NICHOLS & JOANNA NICHOLS JT TEN         4558 S BELLAMY BLVD                                                                           MARION             IN    46953‐5382
MERRILL J HACHTEL                                 N3991 HIGHWAY 89                                                                              JEFFERSON          WI    53549
MERRILL J HOUGH                                   5025 WILLOW RD                                                                                ZIONSVILLE         IN    46077‐9445
MERRILL J MACK & MRS NANCY B MACK TEN ENT         24 TERRACE RD                                                                                 WESTON             MA    02493‐1825
MERRILL JONES MACK & MRS NANCY BASSETT MACK JT 24 TERRACE RD                                                                                    WESTON             MA    02493‐1825
TEN
MERRILL KAMMERDIENER                              2433 STATE ROUTE 28/66                                                                        NEW BETHLEHEM      PA    16242
MERRILL L BODINE                                  3333 QUAIL HOLLOW DR                                                                          LAMBERTVILLE       MI    48144‐8611
MERRILL L CARLTON III                             44 OAK RD                                                                                     KILGORE            TX    75662‐9148
MERRILL L HAMPTON TR MERRILL L HAMPTON TRUST      92 CAIN AVE                                                                                   HAMILTON           OH    45011‐5708
UA 11/17/02
MERRILL L WITT                                    20812 GAULT ST                                                                                CANOGA PARK        CA    91306‐3311
MERRILL LYNCH CUST DONNA J WINTERSCHEIDT IRA UA 9601 S MERIDIAN BLVD                                                                            ENGLEWOOD          CO    80112‐5905
06/21/95
MERRILL LYNCH CUST FBO DIANE CROSS IRA            22802 LAKE RAVINES DRIVE                                                                      SOUTHFIELD         MI    48034
MERRILL LYNCH CUST FBO TIMOTHY PAULSON            1437 KEENELAND WAY                                                                            SCHERERVILLE       IN    46375
MERRILL LYNCH CUST GLEN W WINTERSCHEIDT IRA UA 9601 S MERIDIAN BLVD                                                                             ENGLEWOOD          CO    80112‐5905
06/21/95
MERRILL LYNCH PIERCE FENNER & SMITH INC CUST CARL 4800 DEER LAKE DR E                                                                           JACKSONVILLE       FL    32246‐6484
J DREYER UTMA FL
MERRILL LYNCH PIERCE FENNER & SMITH               PO BOX 12006                                                                                  NEWARK             NJ    07101‐5006
INCORPORATED
MERRILL LYNCH TR ANNA LOUISE MASCHO IRA           3260 THUNDERHEAD DR                                                                           LAKE HAVASU CITY   AZ    86406‐7870

MERRILL LYNCH TR CAROLE M PITMAN IRA              6473 HOLLOWVIEW TRAIL                                                                         CENTERVILLE        OH    45459‐6956
MERRILL LYNCH TR MARY ELLEN FITZPATRICK IRA       1170 MAPLE                                                                                    PLYMOUTH           MI    48170‐1547
MERRILL M ANDREWS & LILLIAN B ANDREWS JT TEN      4770 GREEN RD                                                                                 HOWEL              MI    48843‐9063

MERRILL O BYRD JR & ANITA KATHRYNE BYRD JT TEN    26300 BYRD RD                                                                                 CRISFIELD          MD    21817‐2412

MERRILL O'BRIEN                                   ROCKWOOD SOUTH HILL                  APT 501              2903 E 25TH AVE                     SPOKANE            WA    99223
MERRILL P MC GAVRAN                               PO BOX 205                                                                                    CARMEN             ID    83462‐0205
MERRILL R SUNDHOLM                                12475 WEDGEWOOD PL NW                                                                         MINNEAPOLIS        MN    55433‐6776
MERRILL S SGROMOLO                                110 FAIRVIEW RD                                                                               FRENCHTOWN         NJ    08825‐3009
MERRILL S STANLEY & KIMBERLY L STANLEY JT TEN     209 WESTLAKE CIR                                                                              BILLINGS           MT    59105‐3537
MERRILL S URBANE                                  271 AMBLESIDE RD                                                                              DES PLAINES        IL    60016‐2654
MERRILL SGROMOLO                                  110 FAIRVIEW RD                                                                               FRENCHTOWN         NJ    08825‐3009
MERRILL THAYER PERS REP EST MICHELLE DUNCAN       12013 TRETAGNIER CIR                                                                          SAN DIEGO          CA    92128‐2087

MERRILL W BROWN                                PO BOX 259                                                                                       CHARLESTOWN        MD    21914‐0259
MERRILL W FOWLER TR MERRILL W FOWLER TRUST UA 900 S ASHLAND AVE                                                                                 LA GRANGE          IL    60525‐2819
12/13/96
MERRILL W NEUSTADT CUST AMY ELIZABETH NEUSTADT 4012 W 103                                                                                       OVERLAND PARK      KS    66207‐3656
UGMA KAN
MERRILL W NEUSTADT CUST MAGGIE L NEUSTADT      4012 W 103RD                                                                                     OVERLAND PARK      KS    66207‐3656
UGMA KAN
MERRILL W SHAFER TR MERRILL W SHAFER LIVING    56 VIEWCREST DR                                                                                  FALMOUTH           MA    02540‐2024
TRUST UA 12/07/05
MERRILL WINDERMAN                              4226 CHESTNUT AVE                                                                                LONG BEACH         CA    90807‐1904
MERRILL WM NEUSTADT CUST AMY ELIZABETH         4012 W 103RD                                                                                     OVERLAND PARK      KS    66207‐3656
NEUSTADT UGMA MO
MERRILY BOTTORFF                               2581 GRIFFITH DRIVE                                                                              CORTLAND           OH    44410‐9657
MERRILY W LYON                                 564 TAUGWONK RD                                                                                  STONINGTON         CT    06378‐1809
MERRILYN J WILMOTH                             PO BOX 153                                                                                       HERALD             CA    95638‐0153
MERRIS W HARVEY & SHARON S HARVEY JT TEN       1031 HOLLYWOOD DRIVE                                                                             YORK               PA    17403‐2959
MERRITT E PACE                                 1000 GOLDEN POND DRIVE                                                                           RUSSELLVILLE       AR    72802‐8763
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MERRITT HENRY JONES TR MERRITT H JONES TRUST UA 3975 LYNDHURST DR                                                                              FAIRFAX          VA    22031‐3716
07/29/96
MERRITT JOHN LUCAS JR & MRS MINA S LUCAS JT TEN PO BOX 88875                                                                                   STEILACOOM       WA    98388‐0875

MERRITT KEMPSHALL MEYER                          64 HIGH ST #B5                                                                                BRISTOL          RI    02809‐2050
MERRITT L GARWOOD & SHIRLEY A GARWOOD JT TEN     1301 N HARRISON ST                                                                            ALEXANDRIA       IN    46001‐1122

MERRITT RICHARD MILLS                          600 N PURSLEY ST                                                                                FARMLAND         IN    47340‐9788
MERRITT WISSMAN JR                             12955 52ND ST                          PO BOX 132                                               LOWELL           MI    49331‐0132
MERRY BATEMAN                                  PO BOX 13449                                                                                    AUSTIN           TX    78711‐3449
MERRY F MANCI                                  1610 CHATEAU LN                                                                                 MANSFIELD        TX    76063
MERRY J BIGGS                                  7066 HAMMOND AVE                                                                                CALEDONIA        MI    49316‐8353
MERRY J COCHRAN                                2011 SILVERBROOK DR                                                                             KNOXVILLE        TN    37923‐1390
MERRY MOLLIES                                  MINNEHAHA COUNTY 4H LEADERS            ASSOC 220 W 6TH ST                                       SIOUX FALLS      SD    57104‐6001
MERRY ROY                                      1097 CORAL CLUB DRIVE                                                                           CORAL SPRINGS    FL    33071‐5660
MERRY RUTKOWSKI CUST DEVON SUN LEE RUTKOWSKI 816 BRIAR HILL DR                                                                                 WAUKESHA         WI    53188‐2754
UTMA WI
MERRY S COURTNEY                               8141 KINGSTON DR                                                                                PORTAGE          MI    49002‐5519
MERRYLL ROSENFELD                              17 BARNSIDE DR                                                                                  BEDFORD          NH    03110‐5644
MERRYN JOLKOVSKY CUST ELIZABETH JOLKOVSKY UTMA 115 MILL CREEK CIRCLE                                                                           SAINT CLOUD      MN    56303‐9561
MN
MERRYN JOLKOVSKY CUST EMILY JOLKOVKSKY UTMA    1115 MILL CREEK CIRCLE                                                                          SAINT CLOUD      MN    56303‐9561
MN
MERT RANCK & PAULINE RANCK JT TEN              5737 34TH AVE S                                                                                 MINNEAPOLIS      MN    55417‐2931
MERTICE M SHANE JR                             76 SCHOOL HOUSE RD                                                                              E STROUDSBURG    PA    18302
MERTIE B SCHAMBERGER                           16088 LACANTO ST                                                                                BROOKSVILLE      FL    34604‐8093
MERTIN WADE RITCHIE                            28869 BAILEY RANCH RD                                                                           HAYWARD          CA    94542
MERTON C WOHLERS                               1710 HILTON ROAD                                                                                SPENCERPORT      NY    14559
MERTON CALVIN WHITCOMB JR & LOIS E WHITCOMB JT PAULA DR BOX 143                                                                                MC KEAN          PA    16426‐0143
TEN
MERTON D MACRAE & MARY C JENKIN JT TEN         22 KINGSPORT AV                                                                                 PALMETTO         FL    34221‐1915
MERTON E BOWER                                 6818 CORNERSTONE DR SE                                                                          CALEDONIA        MI    49316‐7876
MERTON E NEWMAN                                4 CRESCENT ST                                                                                   ILION            NY    13357‐2310
MERTON H BROOKS                                5610 WINONA AVE                                                                                 SAINT LOUIS      MO    63109‐1562
MERTON H STEVENS JR TR STEVENS FAMILY TRUST UA PO BOX 136                                                                                      EASTHAM          MA    02642‐0136
01/23/96
MERTON J BATCHELDER & ANN H BATCHELDER JT TEN 7719 BRIDLE PATH LANE                                                                            MCLEAN           VA    22102‐2505

MERTON J PORTER                                  13100 OLD ALBIM RD                                                                            ALBION           PA    16401‐9609
MERTON L MATTHEWS                                15 PARK AVE                                                                                   WESTERLY         RI    02891‐1956
MERTON M DELANCEY JR                             8252 DIXBORO RD                                                                               SOUTH LYON       MI    48178‐9638
MERTON T MILLER JR & LORETTA W MILLER JT TEN     45 BUFFALO ST                                                                                 BERGEN           NY    14416‐9753

MERTON V ALBAUGH TR UA 06/25/87 MERTON V        3008 WILLIAM CLARK TRAIL                                                                       MONROE           NC    28110‐7662
ALBAUGH & LUCILE D ALBAUGH TR
MERTON ZISKIND & ESTHER ZISKIND JT TEN          75 MARION RD                                                                                   MARBLEHEAD       MA    01945‐1738
MERV E BOX                                      ROUTE 1 BOX 297                                                                                WARRENTON        MO    63383‐9744
MERV HILL                                       ATTN HILL P&H                         5 ALLAMAKEE                                              WAUKON           IA    52172‐1741
MERVA J ROUSE                                   1285 RIVER FOREST DRIVE                                                                        FLINT            MI    48532‐2821
MERVIN A ENSOR                                  PO BOX 219                                                                                     COVINGTON        TX    76636‐0219
MERVIN C BARRICK CUST KENNETH A BARRICK UGMA PA PO BOX 83289                                                                                   FAIRBANKS        AK    99708‐3289

MERVIN E APPLEBEE                                11051 N JENNINGS RD                                                                           CLIO             MI    48420‐1570
MERVIN E BINGHAM                                 3025 LINE RD                                                                                  VINTON           LA    70668‐5719
MERVIN E CALDWELL                                3434 NEILSON AVE                                                                              YOUNGSTOWN       OH    44502‐3031
MERVIN E HICKMAN                                 8459 BRIDGE LAKE RD                                                                           CLARKSTON        MI    48348‐2558
MERVIN E LEHR                                    117 WEST ELM P O BOX 19                                                                       LENZBURG         IL    62255‐0019
MERVIN E SPRAGUE                                 30033 ABELIA RD                                                                               CANYON COUNTRY   CA    91351‐1510
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Name                                            Address1                            Address2             Address3          Address4          City              State Zip

MERVIN E TRICE                                  123 BUTLER DRIVE                                                                             DENTON            MD    21629‐1453
MERVIN F STARKEY                                BOX 41                                                                                       BISMARCK          IL    61814‐0041
MERVIN F WINTERS JR                             7755 MAXWELTON ST                                                                            MOORESVILLE       IN    46158‐7440
MERVIN H CLARK                                  975 JERALD DRIVE                                                                             FLINT             MI    48506
MERVIN L SPAFFORD                               30209 BLOSSOM                                                                                ROSEVILLE MI      MI    48066‐4039
MERVIN NEUFELD                                  2424 BUTT RD                        WESTBANK BC                            V4T 1N7 CANADA
MERVIN R GROBBEL                                53626 DEBRA                                                                                  SHELBY TOWNSHIP   MI    48316‐2300

MERVIN R WALKER                                 426 MARTIN DRIVE                                                                             NEW CASTLE        DE    19720‐2760
MERVIN WELCH                                    24 HOCKLEY PATH DR                  BRAMPTON ON                            L6V 3R3 CANADA
MERVYN E DEIBEL                                 2730 N FOREST RD                    APT 340                                                  GETZVILLE         NY    14068‐1589
MERVYN F FRANDY TR FRANDY FAM TRUST UA 06/25/96 2900 COSGRAVE AVE                                                                            OAKLAND           CA    94605‐3535

MERVYN TAUB CUST PHILLIP TAUB UGMA CA           34 WATERWAY                                                                                  IRVINE            CA    92614‐7069
MERWIN D RUSSELL                                4069 PEPPERMILL RD                                                                           ATTICA            MI    48412‐9744
MERWIN K SVEOM                                  R 2 BOX 109                                                                                  BELOIT            WI    53511‐9802
MERWYN C COOLEY                                 1804 TIMBERMEAD COURT                                                                        RICHMOND          VA    23233‐3464
MERWYN C COOLEY & MARALYN B COOLEY JT TEN       1804 TIMBERMEAD COURT                                                                        RICHMOND          VA    23233‐3464
MERYL ANN DANIEL                                ATTN MERYL A GREIG                  6 QUAIL RIDGE DR                                         FLEMINGTON        NJ    08822‐5547
MERYL C BAER                                    102 N RICHARDS AVE                                                                           VENTNOR CITY      NJ    08406‐2138
MERYL I ELDREDGE                                4667 CROW CANYON RD                                                                          CASTRO VALLEY     CA    94552‐4805
MERYL LEE WATTS                                 644 JOLLEY WAY #9                                                                            EPWORTH           GA    30541‐3342
MERYL S FREUNDLICH & STEVEN M HERWOOD EX EST    19 OLD MAMMRONECK ROAD                                                                       WHITE PLAINS      NY    10605‐1748
SHIRLEY A HERWOOD
MERYL STEVENS LOLAS & GEORGE LOLAS JT TEN       14 GRAMERCY RD                                                                               MONMOUTH          NJ    08852‐2747
                                                                                                                                             JUNCTION
MESHELLE R TETER                                825 SW WOODS CHAPEL RD                                                                       BLUE SPRINGS      MO    64015‐3333
MESINA R REDDISH                                PO BOX 122                                                                                   CREEDMOOR         NC    27522
META C WITT                                     BOX 138                                                                                      APPLE SPRINGS     TX    75926‐0138
META E ARNDT                                    224 MILLTON AVENUE                                                                           UNION             NJ    07083‐6731
META E NICK                                     2228 W KING ST                                                                               KOKOMO            IN    46901‐5025
META J BRAY & MEISHA J BRAY JT TEN              6298 SUNHOLLOW                                                                               HASLETT           MI    48840‐8279
META L SLONE                                    2125 MORRISH ST                                                                              BURTON            MI    48519‐1059
META MAE SCHMIERER HARPER                       145 COLUMBIA AVE                                                                             REHOBOTH          DE    19971‐1647
META NEVILLE                                    BOX 398                                                                                      WALHALLA          SC    29691‐0398
META P LOFTIN                                   2864 FAIRMONT RD                                                                             WINSTON SALEM     NC    27106‐5741
META POLEWKA                                    34396 MCBRIDE RD                                                                             ROMULUS           MI    48174‐3455
META REIS                                       15 CHESTNUT OVAL                                                                             ORANGEBURG        NY    10962‐1409
METAXAKIS ELIA                                  10 LONE COURT                       AJAX ON                                L1T 4J9 CANADA
METHOD KOCAK                                    121 CARL PL                                                                                  WESTWOOD          NJ    07675‐3338
METODI A PURDEF                                 2225 NORTH MOSLEY DR                                                                         CHANDLER          AZ    85225‐1356
METRO NORTH FEDERAL CREDIT UNION TR STEPHEN A   2433 PAULINE                                                                                 WATERFORD         MI    48329‐3763
JENCKS IRA UA 07/01/83
METTA LYONS                                     22 UNION SQUARE                                                                              RANDOLPH          MA    02368
METTE M BANG                                    1601 E MARYLAND ST                                                                           BELLINGHAM        WA    98226‐3636
MEY MIURA                                       790 RODNEY DRIVE                                                                             SAN LEANDRO       CA    94577‐3827
MEYER A ZIELDORFF                               619 CAROLINA AVE                                                                             MARYSVILLE        MI    48040‐1237
MEYER C ROSEN                                   10339 MACKAY CT                                                                              INDEPENDENCE      KY    41051‐7837
MEYER COOPERBERG & HELEN COOPERBERG JT TEN      16‐34 SEAGIRT BLVD                                                                           FAR ROCKAWAY      NY    11691‐4511

MEYER GOLD & PEPA GOLD JT TEN                   717 OCEAN AVE                       APT#407                                                  WEST END          NJ    07740‐4977
MEYER HAGER                                     C/O WALL ST SYNAGOGUE               47 BEEKMAN ST                                            NEW YORK          NY    10038‐1510
MEYER J LEHRER                                  27 MARY DR                                                                                   ROCHESTER         NY    14617‐4511
MEYER KAPLAN CUST JANET S LINN UGMA NY          ATTN JANET S PEPPER                 29 WINTHROP RD                                           PLAINVIEW         NY    11803‐1131
MEYER KIZELNICK                                 6065 MACDONALD AVE                  MONTREAL QC                            H3X 2W9 CANADA
MEYER M FRIEDMAN                                9326 HEATHRIDGE DRIVE                                                                        W PALM BEACH      FL    33411‐1893
MEYER SCHER & MRS HANNAH SCHER JT TEN           939 UNIVERSITY AVE                                                                           PALO ALTO         CA    94301‐2235
MEYER STRAUS                                    184‐12 RADNOR ROAD                                                                           JAMAICA ESTATES   NY    11432‐1530
MEZALEE PEACOCK                                 46 NINTH AVE                                                                                 NEWARK            NJ    07107
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Name                                                 Address1                              Address2             Address3          Address4          City             State Zip

MFS HERITAGE TRUST TR VIRGINIA L FORCE               47 MAPLELAWN ST SW                                                                             WYOMING          MI    49548‐3155
MIA C FOSTER                                         11628 GABRIEL                                                                                  ROMULUS          MI    48174‐1496
MIA E MILLS & TRAVIS F MILLS JT TEN                  9308 FROSTBURG WAY                                                                             MONTGOMRY VLG    MD    20886‐1450

MIA L SMITH & KEVIN M SMITH JT TEN                   749 EAST EDMUND ST                                                                             FLINT            MI    48505‐3922
MIA LEANN DITTMER                                    4746 RONMAR PL                                                                                 WOODLAND HILLS   CA    91364‐3426

MIACHAEL K STUCKEY & CHRISTINE A STUCKEY JT TEN      1010 CENTRAL AVE                      APT 406                                                  ST PETERSBURG    FL    33705‐6656

MICAELA OSTHEIMER                                    PO BOX 313                            74 HURON ST                                              MILAN            OH    44846‐9737
MICAH L MORROW                                       PO BOX 926                                                                                     GUTHRIE          OK    73044‐0926
MICAH MORRISON                                       6384 SAUNDERS ST 5J                                                                            REGO PARK        NY    11374‐3103
MICAH R BIRGE & DONALD L BIRGE JT TEN                1110 TARA STREET                                                                               SAVANNAH         GA    31410‐1840
MICAH THOMAS                                         2505 SW WINTERBOND CIR                                                                         LEES SUMMIT      MO    64081‐2575
MICAHEL G SHADDOW                                    12 STREAMLET CT                                                                                LUMBERTON        NJ    08048‐6212
MICAHEL HUGHES                                       44131 60TH ST W                                                                                LANCASTER        CA    93536‐7500
MICHAE RENOUF CUST PARKER RENOUF UTMA TX             8602 WALDON HEIGHTS                                                                            SAN ANTONIO      TX    78254
MICHAEK D TROVINI & MELINDA RAFFE TROVINI JT TEN     54 MALVERN ROAD                                                                                SCARSDALE        NY    10583‐4806

MICHAEL A ACCARDO                                    1443 NEWPORT ST                       UNIT 4                                                   TRAVERSE CITY    MI    49686‐2307
MICHAEL A ADAMS                                      1048 PLEASANT RIDGE ROAD                                                                       CARROLLTON       GA    30117‐9332
MICHAEL A AGNELLO                                    3458 LITTLESTOWN PIKE                                                                          WESTMINSTER      MD    21158‐2015
MICHAEL A ANDREW JR                                  9 BRIANNA RD                                                                                   SOUTHAMPTON      PA    18966
MICHAEL A ANDRITSCH                                  1405 EAST STREET                                                                               N MANCHESTER     IN    46962‐1011
MICHAEL A ANSALDI & FLORA C ANSALDI JT TEN           189 THURLOW ST                                                                                 ROCHESTER        NY    14609‐5903
MICHAEL A ATKINSON                                   PO BOX 11180                                                                                   WILMINGTON       NC    28404‐1180
MICHAEL A AURILIO                                    233 SUMMIT ST                                                                                  NILES            OH    44446‐3633
MICHAEL A BAAL                                       16540 POTTSVILLE PIKE                                                                          HAMBURG          PA    19526‐8104
MICHAEL A BADIA                                      7449 N INKSTER RD                                                                              WESTLAND         MI    48185‐2679
MICHAEL A BAGDASSARIAN                               PO BOX 281                                                                                     NILES            OH    44446‐0281
MICHAEL A BALLARD                                    967 EAST 225 ST                                                                                BRONX            NY    10466‐4605
MICHAEL A BANDSUCH & GAYLE E BANDSUCH JT TEN         655 WOLF DRIVE                                                                                 BROADVIEW HTS    OH    44147

MICHAEL A BARBATO & ELIZABETH W BARBATO JT TEN       411 MEADOW LANE                                                                                MIDDLETOWN       DE    19709‐9693

MICHAEL A BARBER                                     11923 S KINGSTON AVE                                                                           TULSA            OK    74137‐7770
MICHAEL A BARCEY                                     2262 TREETOP LN                                                                                HEBRON           KY    41048‐8446
MICHAEL A BATTS                                      4695 BRADFORD ST NE                                                                            GRAND RAPIDS     MI    49525‐3334
MICHAEL A BEACH                                      8157 E US HWY 223                                                                              BLISSFIELD       MI    49228‐9690
MICHAEL A BEAUCHESNE                                 4341 WEBSTER RD                                                                                FLUSHING         MI    48433‐9054
MICHAEL A BENDER                                     15714 SPYGLASS DR                                                                              NORTHVILLE       MI    48167‐8484
MICHAEL A BERTA                                      1400 MIDWAY DR                                                                                 WOODLAND         CA    95695‐5235
MICHAEL A BIONDO                                     8747 LAKEVIEW BLVD                                                                             CLARKSTON        MI    48348‐3421
MICHAEL A BLADECKI                                   5276 FAIRWAY DRIVE                                                                             BAY CITY         MI    48706‐3352
MICHAEL A BLADECKI & LINDA M BLADECKI JT TEN         5276 FAIRWAY DRIVE                                                                             BAY CITY         MI    48706‐3352

MICHAEL A BLAIR                                      2517 CLARENDON DR                                                                              DAYTON           OH    45440‐1224
MICHAEL A BLISS                                      5235 N ZERMATT DR                                                                              JANESVILLE       WI    53545‐8357
MICHAEL A BOLIN                                      68 AUGUSTA DR CHESTNUT HL                                                                      NEWARK           DE    19713‐1843
MICHAEL A BORUGIAN                                   6591 NORTHPOINT                                                                                TROY             MI    48085‐1419
MICHAEL A BOVENZI                                    2315 NW 86 LANE                                                                                CORAL SPRINGS    FL    33065‐5633
MICHAEL A BOYLE                                      1234 SAINT ANDREWS                                                                             HIGHLAND         MI    48357‐4758
MICHAEL A BRACH                                      11982 CODY CREEK COURT                                                                         SOUTH LYON       MI    48178‐9391
MICHAEL A BRADDOCK                                   27321 MARKBERRY DRIVE                                                                          EUCLID           OH    44132‐2109
MICHAEL A BRADLEY                                    1754 RUSTIC RUN RD SW                                                                          LORDSTOWN        OH    44481‐9786
MICHAEL A BRAEM                                      2331 HARDING AVE                                                                               LANSING          MI    48910‐3560
MICHAEL A BRESCILLI & JESSICA M BRESCILLI JT TEN     N67W24936 STONEGATE CT                APT 101                                                  SUSSEX           WI    53089‐5501

MICHAEL A BROWER                                     37 E PIERSON DR                       WELLINGTON HILLS                                         HOCKESSIN        DE    19707‐1030
                                                 09-50026-mg                Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MICHAEL A BROWN                                    13700 CHESTNUT OAK LN 1968                                                                       BRANDYWINE         MD    20613‐6013
MICHAEL A BROWN                                    16490 STATE FAIR                                                                                 DETROIT            MI    48205‐2039
MICHAEL A BROWN                                    8048 HUNTINGWOOD                                                                                 JOHNSTON           IA    50131‐8735
MICHAEL A BRUGGEMAN                                PO BOX 711                                                                                       TROY               MI    48099‐0711
MICHAEL A BRUNETTE                                 4654 TWO MILE RD                                                                                 BAY CITY           MI    48706‐2705
MICHAEL A BUCHANAN                                 1264 BARBARA ST NW                                                                               GRAND RAPIDS       MI    49544‐1702
MICHAEL A BUCHLER                                  139 S 79TH PLACE                                                                                 MESA               AZ    85208‐1323
MICHAEL A BUCKLEY                                  29 SURREY DRIVE                                                                                  PLYMOUTH           MA    02360‐4928
MICHAEL A BUCKLEY                                  5956 SNOWY PLOVER CT                                                                             FORT COLLINS       CO    80528‐7158
MICHAEL A BUDWIT                                   11480 SHEPHERD ROAD                                                                              ONSTED             MI    49265‐9560
MICHAEL A BURKE                                    3411 HELMS POND RD                                                                               MONROE             NC    28110‐8873
MICHAEL A BURLILE                                  705 S LAKE CUNNINGHAM AVE                                                                        JACKSONVILLE       FL    32259‐7942
MICHAEL A BURTON                                   16080 HARVEST SPRING LN                                                                          MACOMB             MI    48042‐2344
MICHAEL A CAGLE                                    6235 PONTIAC LAKE RD                                                                             WATERFORD          MI    48327‐1853
MICHAEL A CAIN                                     2561 NARROW LAKE RD                                                                              CHARLOTTE          MI    48813‐8116
MICHAEL A CAINE                                    7328 FENTON RD                                                                                   GRAND BLANC        MI    48439‐8962
MICHAEL A CALL                                     416 EAST CHURCH STREET                                                                           BRAZIL             IN    47834‐2205
MICHAEL A CANETE                                   29 MORSEMERE AVE                                                                                 YONKERS            NY    10703
MICHAEL A CAPANEAR JR                              135 FAIRWAY AVE                                                                                  BELLEVILLE         NJ    07109‐1441
MICHAEL A CATALFAMO                                409 BURCH FARM DR                                                                                BROCKPORT          NY    14420‐9354
MICHAEL A CHAPMAN                                  6063 GOVERNOR'S WALK DRIVE                                                                       CANTON             GA    30114‐8048
MICHAEL A CHICHESTER                               4130 MOHAWK                                                                                      GRANDVILLE         MI    49418‐2449
MICHAEL A CHMURA                                   38958 FAITH                                                                                      STERLING HEIGHTS   MI    48310‐2951

MICHAEL A CHOKENEA CUST AMANDA JOYCE               1851 KING JAMES PK 306                                                                           WESTLAKE           OH    44145‐3461
CHOKENEA UTMA OH
MICHAEL A CHRIST                                   24240 BLOSSOM CT                                                                                 VALENCIA           CA    91354‐4919
MICHAEL A CHUNG                                    5531 NW 33RD ST                                                                                  GAINESVILLE        FL    32653‐1762
MICHAEL A CLEVELAND                                RR1 BOX 95                                                                                       BLOOMINGTON        NE    68929‐9801
MICHAEL A COHEN & JULIE L COHEN JT TEN             PO BOX 713                                                                                       GOLD BAR           WA    98251‐0713
MICHAEL A COOK                                     2810 ADLAKE DR                                                                                   WATERFORD          MI    48329‐2500
MICHAEL A COOK                                     5406 STH RIDGEVIEW ROAD                                                                          ANDERSON           IN    46013‐9733
MICHAEL A COOMBS                                   5921 HAZELTINE COURT                                                                             WESTCHESTER        OH    45069‐1965
MICHAEL A CORRIGAN                                 2341 HALLWOOD DRIVE                                                                              SAINT LOUIS        MO    63136‐5739
MICHAEL A COUTURE                                  663 E SADDLE BUTTE ST                                                                            APACHE JCT         AZ    85219
MICHAEL A COZZI                                    1812 HYDE‐SHAFFER ROAD                                                                           BRISTOLVILLE       OH    44402‐9708
MICHAEL A CRAWFORD                                 18900 MACKAY ST                                                                                  DETROIT            MI    48234‐1485
MICHAEL A CYR & VIRGINIA E CYR JT TEN              93 WEST ST                                                                                       READING            MA    01867‐3317
MICHAEL A DANDO                                    5320 RAVENNA ROAD                                                                                NEWTON FALLS       OH    44444‐9440
MICHAEL A DARPINO                                  35 MARYLAND AVENUE                                                                               SEWELL             NJ    08080‐1005
MICHAEL A DAUM                                     561 NORTHFIELD ROAD                                                                              PLAINFIELD         IN    46168‐3035
MICHAEL A DAVIDSON & CAROL DAVIDSON JT TEN         14520 SURREY JUNCTION LANE                                                                       SUTTER CREEK       CA    95685‐9660

MICHAEL A DAVIS                                    137 HOWARD DR                                                                                    DOVER              OH    44622‐9503
MICHAEL A DAVIS                                    3608 BRIARWOOD DR                                                                                FLINT              MI    48507‐1458
MICHAEL A DAVIS & MRS JO ANNE DAVIS JT TEN         100 HAWTHORNE COURT                                                                              DELMONT            PA    15626‐1614
MICHAEL A DEFILIPPS                                19 EAST AVE                                                                                      HOLLEY             NY    14470‐1015
MICHAEL A DEFINIS & JACQUELYN S DEFINIS JT TEN     9870 OAK VALLEY DR                                                                               CLARKSTON          MI    48348‐4172

MICHAEL A DEL POMO                                 333 OCEAN BLVD                                                                                   ATLANTIC HL        NJ    07716‐1731
MICHAEL A DENK                                     3127 N 59 STREET                                                                                 KANSAS CITY        KS    66104‐1525
MICHAEL A DEVONEY                                  1255 EUCLID CT                                                                                   BUFFALO GROVE      IL    60089‐6812
MICHAEL A DIMILTA                                  52 SURREY ROAD                                                                                   CHESTER            NY    10918‐1108
MICHAEL A DIROSARIO                                70 LEWIS STREET                                                                                  FRANKLIN           MA    02038‐1429
MICHAEL A DIVINEY JR                               2120 QUAIL RUN                                                                                   ORTONVILLE         MI    48462‐9257
MICHAEL A DIVIRGILIO                               1704 S RIDING LANE                                                                               WILMINGTON         DE    19804‐3430
MICHAEL A DOEDEN                                   PO BOX 9022                                                                                      WARREN             MI    48090‐9022
MICHAEL A DOLBY                                    PO BOX 150                                                                                       AUGUSTA            AR    72006‐0150
MICHAEL A DOMMER                                   5210 SPRING MORNING LN                                                                           MONROE             NC    28110‐8802
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MICHAEL A DONOGHUE                               310 E 53RD ST                        APT 4H                                                   NEW YORK        NY    10022‐5239
MICHAEL A DOUGLASS                               9383 N KINGBIRD CT                                                                            FORTVILLE       IN    46040‐9756
MICHAEL A DOYLE                                  2848 MANZANILLA WAY                                                                           LAS VEGAS       NV    89128‐7173
MICHAEL A DROGOSEK                               120 DIANA ROAD                                                                                PLANTSVILLE     CT    06479‐1307
MICHAEL A DUDASH                                 353 CALLAHAN RD                                                                               CANFIELD        OH    44406‐1334
MICHAEL A DUNN                                   20 S 102ND                                                                                    EDWARDSVILLE    KS    66111‐1270
MICHAEL A DURSO                                  604 ILSE DRIVE                                                                                NEWARK          DE    19713‐3914
MICHAEL A DUSTIN                                 2374 E DODGE ROAD                                                                             CLIO            MI    48420‐9783
MICHAEL A ELLIS & SARAH E ELLIS JT TEN           1708 CANYON RUN                                                                               HEALDSBURG      CA    95448
MICHAEL A ELWELL                                 66 COTTAGE PL                                                                                 WESTBROOK       ME    04092‐3506
MICHAEL A ESTOK & CAROL R ESTOK JT TEN           4280 NEW CASTLE RD                                                                            LOWELLVILLE     OH    44436‐9706
MICHAEL A EVANS                                  9184 LAKEWIND DR                                                                              INDIANAPOLIS    IN    46256‐9351
MICHAEL A EYIA                                   1900 WOOD ST                                                                                  LANSING         MI    48912‐3440
MICHAEL A FABBRI                                 2104 CHESTNUT CIR                                                                             LAKE ORION      MI    48360‐2279
MICHAEL A FARKAS                                 1804 BRIARWOOD DR                                                                             LANSING         MI    48917‐1774
MICHAEL A FERGUSON                               2414 INVERNESS DR                                                                             GARLAND         TX    75040‐8846
MICHAEL A FERRANTI                               5425 S E 42ND COURT                                                                           OCALA           FL    34480‐8676
MICHAEL A FISH & DEBORAH FISH JT TEN             84 HAWTHORNE RD                                                                               GROSSE POINTE   MI    48236‐1411
MICHAEL A FISHER                                 465 84TH STREET                                                                               BROOKLYN        NY    11209
MICHAEL A FLYNN                                  9206 36 AVE SW                                                                                SEATTLE         WA    98126‐3829
MICHAEL A FOISY                                  3808 W MONONA DR                                                                              GLENDALE        AZ    85308‐2129
MICHAEL A FRANKLIN                               4070 E PIERSON RD                                                                             FLINT           MI    48506‐1438
MICHAEL A FULLER                                 7 GALAXY CT                                                                                   DURHAM          NC    27705‐2768
MICHAEL A FURLO                                  1104 BLACKBEARD DR                                                                            STAFFORD        VA    22554‐2006
MICHAEL A GADDIS                                 2244 OVERRIDGE DRIVE                                                                          WATERFORD       MI    48327
MICHAEL A GAINES                                 112 SEWARD ST                        APT 201                                                  DETROIT         MI    48202‐2463
MICHAEL A GARCIA JR                              120‐B FLYNN AVE                                                                               MOUNTAIN VIEW   CA    94043‐3948
MICHAEL A GARRAMONE                              191 UNIVERSITY BLVD                  SUITE 148                                                DENVER          CO    80206‐4613
MICHAEL A GARRITSEN                              72 PENINSULA CR                      RICHMOND HILL ON                       L4S 1Z5 CANADA
MICHAEL A GASKILL                                6846 SCOOTER DR                                                                               TRUSSVILLE       AL   35173‐5280
MICHAEL A GAVLAK                                 80 LIVINGSTON STREET 3RD FLOOR                                                                BUFFALO          NY   14213‐1653
MICHAEL A GEBKE                                  1104 CHERRY ST                                                                                BARTELSO         IL   62218‐2306
MICHAEL A GEDEON                                 8949 RANCH DRIVE                                                                              CHESTERLAND      OH   44026‐3137
MICHAEL A GENORD                                 1253 TULBERRY CIRCLE                                                                          ROCHESTER        MI   48306
MICHAEL A GENZ                                   110 BROWNS MILL DR                                                                            ALEXANDRIA       VA   22304‐6447
MICHAEL A GETSY                                  85 SLEEPY HOLLOW DRIVE                                                                        CANFIELD         OH   44406‐1056
MICHAEL A GETTY                                  3029 5TH ST                                                                                   WAYLAND          MI   49348‐8905
MICHAEL A GILLIG                                 3100 S 27TH STREET                                                                            SAGINAW          MI   48601‐6960
MICHAEL A GIOVANNI & DEBRA J GIOVANNI JT TEN     28216 GOLF POINTE BLVD                                                                        FARMINGTON HILLS MI   48331‐2937

MICHAEL A GOENNER                                774 LAKE ROAD                                                                                 NEW CARLISLE    OH    45344‐9704
MICHAEL A GOLDENHERSH                            C/O MARVIN GOLDENHERSH               258 RIVERSIDE DR 2C                                      NEW YORK        NY    10025‐6157
MICHAEL A GONZALES PERS REP EST MARY JESSIE      779 CORWIN CT                                                                                 PONTIAC         MI    48340‐2415
GONZALES
MICHAEL A GORSUCH                                11150 MAIN STREET                                                                             SEVEN MILE       OH   45062
MICHAEL A GOUBEAUX                               5639 GOLDEN CREST                                                                             STEVENSVILLE     MI   49127‐1327
MICHAEL A GRACE                                  1809 W MCCLELLAN STREET                                                                       FLINT            MI   48504‐2587
MICHAEL A GRAMES                                 409 COLFORD AVE                                                                               W CHICAGO        IL   60185‐2818
MICHAEL A GRANT                                  3550 SEGWUN SE                                                                                LOWELL           MI   49331‐9113
MICHAEL A GRAY                                   6078 TUCKER ROAD                                                                              CAMDEN           OH   45311‐9517
MICHAEL A GREENE                                 1407 19TH ST                                                                                  NEWPORT NEWS     VA   23607‐6059
MICHAEL A GREENE                                 8130 W FRANCIS ROAD                                                                           FLUSHING         MI   48433‐8825
MICHAEL A GREENE                                 26975 LEHIGH ST                                                                               INKSTER          MI   48141‐3128
MICHAEL A GREER                                  36782 QUAKERTOWN LN                                                                           FARMINGTON HILLS MI   48331‐3886

MICHAEL A GRIMM                                  4 SEABRIGHT AVE                                                                               BALTIMORE       MD    21222‐4928
MICHAEL A GROSS                                  221 EAST 78 TH STREET                APT 2G                                                   NEW YORK        NY    10021‐1200
MICHAEL A GROSS & CAROLYN M GROSS JT TEN         18265 W MICHAELS ROAD                                                                         NEW BERLIN      WI    53146‐4436
MICHAEL A GRUSKIN                                4671 MAPLE CREEK CT                                                                           W BLOOMFIELD    MI    48322‐3495
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MICHAEL A GUARIENTO & JANET R GUARIENTO JT TEN   6233 PAYNE                                                                                     DEARBORN        MI    48126‐2045

MICHAEL A GUZEK                                  6494 SOUTHAMPTON DR                                                                            CLARKSTON        MI   48346‐4741
MICHAEL A HABERMAN                               377 HILLCREST DR                                                                               NEW PHILADELPHIA OH   44663‐2764

MICHAEL A HALL                                   4727 GOODISON PL DR                                                                            ROCHESTER       MI    48306‐1673
MICHAEL A HAMES                                  2911 WOODLAND COURT                                                                            METAMORA        MI    48455‐8930
MICHAEL A HANLON                                 9112 N KLUG RD                                                                                 MILTON          WI    53563‐9319
MICHAEL A HANSON                                 5613 MEADOW LARK LANE                                                                          MIDDLETOWN      IN    47356‐9701
MICHAEL A HARDER                                 2732 DRENNEN CIRCLE                                                                            BIRMINGHAM      AL    35242‐4621
MICHAEL A HARWICK                                60 JUNCTION ROAD                                                                               FLEMINGTON      NJ    08822‐5721
MICHAEL A HAUER TR JOYCE E HAUER TRUST UA        7441 ROETTELE PLACE                                                                            CINCINNATI      OH    45231‐4219
10/08/91
MICHAEL A HAYWARD                                PO BOX 25                                                                                      BREEDSVILLE     MI    49027‐0025
MICHAEL A HEJKA                                  8222 WORMER                                                                                    DEARBORN HTS    MI    48127‐1355
MICHAEL A HENSON                                 15201 SOUTH DUFFIELD ROAD                                                                      BYRON           MI    48418‐9027
MICHAEL A HEWINS                                 345 BENNETT ST                                                                                 WRENTHAM        MA    02093‐1421
MICHAEL A HIMES                                  5500 N C R D 330 E                                                                             MUNCIE          IN    47303
MICHAEL A HOFFMAN & KAHLA K HOFFMANN JT TEN      4112 SANDY BLUFF                                                                               PLANO           IL    60545‐9627

MICHAEL A HORN                                   36219 MANILA ST                                                                                WESTLAND        MI    48186‐4272
MICHAEL A HOWARD                                 PO BOX 1665                                                                                    TAYLOR          MI    48180‐6665
MICHAEL A IWANCIO & MARY F IWANCIO JT TEN        421 CENTURY VISTA DR                                                                           ARNOLD          MD    21012‐1210
MICHAEL A JACKSON                                58 STAGECOACH RD                                                                               BELL CANYON     CA    91307‐1016
MICHAEL A JANOVICZ                               12373 CHARING CROSS RD                                                                         CARMEL          IN    46033‐3100
MICHAEL A JAQUES                                 79 WILLOWOOD                                                                                   ALISO VIEJO     CA    92656‐2976
MICHAEL A JENKINS                                4341 FRANKLIN TRAIL                                                                            STERLING        MI    48659‐9405
MICHAEL A JESKE                                  9985 BURGESS CT                                                                                WHITE LAKE      MI    48386‐2809
MICHAEL A JETER                                  5605 LONE STAR COURT                                                                           KOKOMO          IN    46901‐5706
MICHAEL A JOHNSON                                11213 NW 112                                                                                   YUKON           OK    73099‐8033
MICHAEL A JOHNSON                                3540 E 133 ST                                                                                  CLEVELAND       OH    44120‐4531
MICHAEL A JOHNSON                                12026 NORTHLAWN                                                                                DETROIT         MI    48204‐1018
MICHAEL A JOHNSON                                3018 BROOKVILLE DR                                                                             MANHATTAN       KS    66502‐8432
MICHAEL A JONES                                  8210 FLORIDA DR                       APT 525                                                  PEMBROKE PNES   FL    33025‐4507
MICHAEL A JUDIS                                  4580 S SOMMERSET DR                                                                            NEW BERLIN      WI    53151‐6876
MICHAEL A KAHN CUST ROBERT S KAHN UTMA MA        99 OLD COLONY ROAD                                                                             WELLESLEY       MA    02481‐2809
MICHAEL A KATTOLA                                3211 SHANNON                                                                                   BURTON          MI    48529‐1834
MICHAEL A KAZANOWSKI                             8615 N OAKLAND AVE                                                                             KANSAS CITY     MO    64157‐9573
MICHAEL A KENEFICK CUST TERRANCE R KENEFICK      17734 JONES ST                                                                                 OMAHA           NE    68118‐3524
UGMA NE
MICHAEL A KEPICH                                 1514 CONNIE                                                                                    MADISON HGTS    MI    48071‐3034
MICHAEL A KERUL                                  900 WONNELL RD                                                                                 PORT CLINTON    OH    43452‐9668
MICHAEL A KIHN                                   2223 DELANCEY PLACE                                                                            PHILADELPHIA    PA    19103‐6501
MICHAEL A KINNEY                                 17000 WING ROAD                                                                                CHAGRIN FALLS   OH    44023‐2600
MICHAEL A KITCHEN                                15935 E 76TH ST                                                                                KANSAS CITY     MO    64139‐1320
MICHAEL A KLEIST & JEAN F KLEIST JT TEN          907 S WILLIAMS ST UNIT 213                                                                     WESTMONT        IL    60559
MICHAEL A KOLOS                                  2717 W 16ST                                                                                    CHICAGO         IL    60608‐1705
MICHAEL A KOVIACK                                18800 SHARON RD                                                                                OAKLEY          MI    48649‐8714
MICHAEL A KOZAK                                  8126 N DANNENBERG DR                                                                           MILTON          WI    53563‐8925
MICHAEL A KUBICO                                 PO BOX 68                                                                                      REHOBOTH BCH    DE    19971‐0068
MICHAEL A KUESSNER                               25900 CAMPAU LN                                                                                HARRISON        MI    48045‐2427
                                                                                                                                                TOWNSHIP
MICHAEL A KULICH                                 392 WILLOW GROVE                                                                               ROCHESTER       MI    48307‐2557
MICHAEL A LABRIOLA                               16969 KIRKSHIRE                                                                                BIRMINGHAM      MI    48025‐3253
MICHAEL A LAGA                                   513 DEVILLEN                                                                                   ROYAL OAK       MI    48067
MICHAEL A LAMIELLE & SUSAN L LAMIELLE JT TEN     12214 GALE RD                                                                                  OTISVILLE       MI    48463
MICHAEL A LAMPERT                                1115 IRVING AVENUE                                                                             WESTFIELD       NJ    07090‐1662
MICHAEL A LANDER & DEBORAH D LANDER JT TEN       400 ASH SPRINGS CT                                                                             SPARKS          NV    89436‐5672
MICHAEL A LEHMAN                                 10877 JEWEL ROAD                                                                               ARBOR VITAE     WI    54568‐9147
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MICHAEL A LELLI                                 1844 RING NECK DR                                                                                       ROCHESTER       MI    48307‐6009
MICHAEL A LENER                                 2010 W 37TH ST                                                                                          LORAIN          OH    44053‐2520
MICHAEL A LETTIERI                              11021 VIVIAN DR NW                                                                                      HUNTSVILLE      AL    35810‐1214
MICHAEL A LEWITZKE                              99 DEPPIESSE RD                                                                                         RANDOM LAKE     WI    53075‐1659
MICHAEL A LOBEL                                 114 WOOLEYS LANE                                                                                        GREAT NECK      NY    11023‐2301
MICHAEL A LOBRAICO III                          1520 ARBUTUS ST                                                                                         JANESVILLE      WI    53546‐6140
MICHAEL A LOCKE SR                              6024 CLEVELAND                                                                                          KANSAS CITY     KS    66104‐2852
MICHAEL A LOPEZ                                 1260 SCOTT LAKE RD                                                                                      WATERFORD       MI    48328‐1577
MICHAEL A LOTTIER                               3675 DORADO BEACH DR                                                                                    CANFIELD        OH    44406‐9593
MICHAEL A LOVCHUK                               BOX 2596                                                                                                BRANDO          FL    33509‐2596
MICHAEL A LUMA                                  7113 MAPLE AVE                                                                                          CASTALIA        OH    44824‐9301
MICHAEL A MAIERS                                7608 LAUREL OAK CT                                                                                      PORT RICHEY     FL    34668‐5829
MICHAEL A MANFREDA & LORI A MANFREDA JT TEN     2711 TIHART WAY                                                                                         BEAVERCREEK     OH    45430‐1943

MICHAEL A MANSIR                                9140 CASTLE HILL AVENUE                                                                                 ENGLEWOOD       FL    34224‐7604
MICHAEL A MANSIR & MARTHA J MANSIR JT TEN       9140 CASTLE HILL AVENUE                                                                                 ENGLEWOOD       FL    34224‐7604
MICHAEL A MANZELLI                              16 LINDEN AVENUE                                                                                        SOMERVILLE      MA    02143‐2207
MICHAEL A MARCINIAK                             3272 MAC AVE                                                                                            FLINT           MI    48506‐2124
MICHAEL A MARKS                                 5024 BLACKSAND RD                                                                                       FREMONT         CA    94538‐1003
MICHAEL A MARSIGLIA                             ARBOR WOODS                             1939 KNOLLWOOD BEND                                             YPSILANTI       MI    48198‐9551
MICHAEL A MARTINEZ                              3933 BIRCHMAN AVE                                                                                       FORT WORTH      TX    76107
MICHAEL A MARTOCCIO                             1063 S CENTER ST                                                                                        BENSONVILLE     IL    60106‐3311
MICHAEL A MASON                                 1010 BLANCHARD                                                                                          FLINT           MI    48503‐5380
MICHAEL A MAUS & JERI LOU MAUS JT TEN           13833 W 64TH PL                                                                                         ARVADA          CO    80004‐6102
MICHAEL A MCCABE                                47758 HICKORY #22206                                                                                    WIXOM           MI    48393
MICHAEL A MCCANN                                743 DANVILLE CIRCLE                                                                                     BEL AIR         MD    21014‐5273
MICHAEL A MCGUFFEY JR                           3300 SKYLINE BLVD #217                                                                                  RENO            NV    89509
MICHAEL A MCLAUGHLIN                            6216 N CO RD 500 EAST                                                                                   MUNCIE          IN    47303‐9210
MICHAEL A MCMILLAN                              2424 TENNIS CT                          APT B6                                                          BAY CITY        MI    48706‐9036
MICHAEL A MEDEROS                               5310 NW 181 TERR                                                                                        MIAMI           FL    33055‐3145
MICHAEL A MENTEL                                4021 N WESTBROOK CT                                                                                     MAIZE           KS    67101‐3755
MICHAEL A MERKLER & MICHAEL MERKLER JT TEN      19628 GRANITE DRIVE                                                                                     MACOMB          MI    48044‐1773
MICHAEL A MILLER                                915 SHEPARD ST                                                                                          LANSING         MI    48912‐2526
MICHAEL A MILLER                                3104 E OAKLAWN DR                                                                                       MUNCIE          IN    47303‐9437
MICHAEL A MITCHELL                              34 SOUTH BRIDGE ROAD                                                                                    BEAR            DE    19701‐1611
MICHAEL A MITCHELL                              6111 BETTCHER AVE                                                                                       INDIANAPOLIS    IN    46228‐1219
MICHAEL A MITTELMAN                             75 COLLEGE ROAD                         LONDON                                 SE21 7HH GREAT BRITAIN
MICHAEL A MOLESKI                               4200 PARK AVE 3RD FLOOR                                                                                 ASHTABULA       OH    44004
MICHAEL A MORGAN & ANN T MORGAN JT TEN          W5215 HIGHLAND DR                                                                                       NEW GLARUS      WI    53574‐9458
MICHAEL A MORRIS                                3688 MAPLEWOOD DRIVE                                                                                    AMELIA          OH    45102‐1266
MICHAEL A MORTIMER                              525 EAST HANLEY RD                                                                                      MANSFIELD       OH    44903‐7301
MICHAEL A MOSS CUST ALLISON A MOSS UTMA IL      2808 DONEGAL DR                                                                                         TROY            MI    48098‐2117
MICHAEL A MOSS CUST JENNIFER J MOSS UTMA IL     2808 DONEGAL DR                                                                                         TROY            MI    48098‐2117
MICHAEL A MUNOZ                                 17319 BRODY ST                                                                                          ALLEN PARK      MI    48101‐3417
MICHAEL A MURPHY                                436 BARRY DRIVE                                                                                         PITTSBURGH      PA    15237‐5560
MICHAEL A MUSENGO                               5286 ASHWOOD DR                                                                                         LYNDHURST       OH    44124‐1058
MICHAEL A MYERS                                 POST OFFICE BOX 1275                                                                                    NORTH           NY    14120‐9275
                                                                                                                                                        TONAWANDA
MICHAEL A NAEL & CHERYL ANN NAEL JT TEN         BOX 673                                                                                                 WHITMORE LAKE   MI    48189‐0673
MICHAEL A NEAR & DEBRAH NEAR JT TEN             12 DELMORE CIRCLE                                                                                       WILBRAHAM       MA    01095‐1538
MICHAEL A NEAVES & SHARON L NEAVES TR NEAVES    17761 N SADDLE RIDGE DR                                                                                 SURPRISE        AZ    85374‐6414
FAM TRUST UA 04/10/01
MICHAEL A NELSON                                4191 S KIVA HILL DRIVE                                                                                  ST GEORGE       UT    84790‐4773
MICHAEL A NELSON                                61 PARKER AVE                                                                                           HAWTHORNE       NJ    07506‐1732
MICHAEL A NELSON CUST MADELINE JANE NELSON      1345 FAIRFAX STREET                                                                                     DENVER          CO    80220‐2526
UTMA CO
MICHAEL A NESMITH                               1246 CO RD 372                                                                                          HILLSBORO       AL    35643‐3505
MICHAEL A NETTA                                 29 CANDLEWOOD COURT                                                                                     COLONIA         NJ    07067‐1503
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MICHAEL A NETZER & MRS MARY ELLEN NETZER JT TEN   4605 FERNHAM PL                                                                                 RALEIGH            NC    27612‐5612

MICHAEL A NEVINSKI                                1616 SEMINOLE DR                       APT 109                                                  JOHNSON CITY       TN    37604‐7039
MICHAEL A NEWCOMB                                 1931 FARM RD                                                                                    LAKE FOREST        IL    60045‐3513
MICHAEL A NEWCOMBE                                9660 S 71/2 RD                                                                                  WELLSTON           MI    49689
MICHAEL A NICHOLS & ADA DALE NICHOLS JT TEN       35372 PERLA PL                                                                                  WILDOMAR           CA    92595‐7824
MICHAEL A NICOLL                                  821 DALY CIR                                                                                    FORT MILL          SC    29715‐6546
MICHAEL A OGLESBY                                 1632 N 26TH ST                                                                                  SAGINAW            MI    48601‐6116
MICHAEL A OLESZCZAK                               48761 FIFTH AVENUE                                                                              CANTON             MI    48188
MICHAEL A OSOWSKI                                 61 WEST STAR ROUTE 16                                                                           BROOK              IN    47922‐8802
MICHAEL A OTLOWSKI                                200 PRESTON AVE                                                                                 MIDDLETOWN         CT    06457‐2314
MICHAEL A OTTER                                   2687 BRYANWOOD                                                                                  GRAND RAPIDS       MI    49544‐1773
MICHAEL A OTTNEY                                  417 NORTH ST                                                                                    MASON              MI    48854‐1531
MICHAEL A OWEN                                    8046 W 81ST CIRCLE                                                                              ARVADA             CO    80005‐2554
MICHAEL A PALOMBA & LAURA M PALOMBA JT TEN        16217 S KNORPP RD                                                                               PLEASANT HILL      MO    64080‐8842

MICHAEL A PANICCIA                                34460 HIDDEN PINE DR                                                                            FRAZER             MI    48026‐3514
MICHAEL A PANICCIA & JOSEPH PANICCIA JT TEN       34460 HIDDEN PINE DR                                                                            FRASER             MI    48026‐3514
MICHAEL A PAVLICKO CUST CHRISTOPHER M PAVLICKO    14142 RANDALL                                                                                   STERLING HEIGHTS   MI    48313‐3557
UGMA MI
MICHAEL A PAVLICKO CUST HEATHER M PAVLICKO        14142 RANDALL                                                                                   STERLING HEIGHTS   MI    48313‐3557
UGMA MI
MICHAEL A PEFFLEY                                 1552 TERRAWENDA DR                                                                              DEFIANCE           OH    43512‐3708
MICHAEL A PENN                                    10421 SW 121 ST                                                                                 MIAMI              FL    33176‐4753
MICHAEL A PERKINS                                 7302 SECOR                                                                                      PETERSBURG         MI    49270‐9724
MICHAEL A PERREGRINO                              8 BRITTON PL                                                                                    WILMINGTON         DE    19805‐1149
MICHAEL A PERSECHINO                              294 OLD FALLS BLVD                                                                              NORTH              NY    14120‐3120
                                                                                                                                                  TONAWANDA
MICHAEL A PETILLO                                 388 HUSSON ST                                                                                   STATEN ISLAND      NY    10306‐3437
MICHAEL A PETRUCCI                                274 MITCHELL RD                                                                                 WEST MIDDLESEX     PA    16159‐3322
MICHAEL A PHILLIPS                                2313 E 60TH ST                                                                                  KANSAS CITY        MO    64130‐3533
MICHAEL A PHILLIPS                                714 OLD ORCHARD DRIVE                                                                           BENTON             IL    62812‐1050
MICHAEL A PICCOLO                                 4393 CREEKWOOD COURT                                                                            ROCHESTER HILLS    MI    48306‐4605
MICHAEL A PODULKA                                 1354 S SEYMOUR RD                                                                               FLINT              MI    48532‐5512
MICHAEL A POIRIER                                 16 PLUMBLEY ROAD                                                                                UPTON              MA    01568‐1425
MICHAEL A POLAND                                  1590 INDIAN SPRINGS DR                                                                          O FALLON           MO    63366‐5988
MICHAEL A POLIDAN                                 13286 ENID BLVD                                                                                 FENTON             MI    48430‐1152
MICHAEL A POWERS                                  7312 WILLIAMSBURG RD                                                                            LANSING            MI    48917‐9616
MICHAEL A PRIEST                                  7460 EEST NORTH 00 SOUTH                                                                        MARION             IN    46952‐6619
MICHAEL A PROACH                                  29106 ORVYLLE DR                                                                                WARREN             MI    48092‐4611
MICHAEL A RAGAN                                   4832 BRIERLY DR W                                                                               WEST MIFFLIN       PA    15122‐1208
MICHAEL A REA                                     962 MAIDSTONE DRIVE                                                                             ROCHESTER HILLS    MI    48307‐4280
MICHAEL A REYES                                   24607 KEMPER OAKS                                                                               SAN ANTONIO        TX    78258
MICHAEL A RICH                                    70‐04 INGRAM ST                                                                                 FOREST HILLS       NY    11375‐5836
MICHAEL A RISUM                                   13610 CHIPPEWA TRAIL                                                                            HOMER GLEN         IL    60491‐9647
MICHAEL A RISUM & ANN M RISUM JT TEN              13610 CHIPPEWA TRAIL                                                                            HOMER GLEN         IL    60491‐9647
MICHAEL A RIX CUST STEPHEN MARTIN RIX UGMA MI     15219 GOULD RD                                                                                  ALLENTON           MI    48002‐4207

MICHAEL A ROBBINS                                 3171 LES CHAPPELL RD                                                                            SPRING HILL        TN    37174‐2513
MICHAEL A ROBERTSON                               2841 LAFAYETTE AVE                                                                              SAINT LOUIS        MO    63104‐2015
MICHAEL A ROCCO                                   234 S MONTECITO DR                                                                              PUEBLO             CO    81007
MICHAEL A ROGERSON & BETTY S ROGERSON JT TEN      430 EDGEFIELD DR                                                                                MARION             OH    43302‐7841

MICHAEL A ROMAN & KATHLEEN L SCHMITZ JT TEN       17257 FRANCAVILLA                                                                               LIVONIA            MI    48152‐3138

MICHAEL A ROMMECK & SHARON L ROMMECK JT TEN       41356 HARVARD                                                                                   STERLING HEIGHTS   MI    48313‐3632

MICHAEL A ROSENBLOOM                              4 BREWSTER LANE                                                                                 PITTSFORD          NY    14534‐2880
MICHAEL A ROSEWARNE                               6176 KING ARTHUR                                                                                SWARTZ CREEK       MI    48473‐8808
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MICHAEL A RUGIENIUS                              1100 SHAFFER TR                                                                                OVIEDO             FL    32765‐7019
MICHAEL A RUGIENIUS & HELEN E RUGIENIUS JT TEN   1100 SHAFFER TR                                                                                OVIEDO             FL    32765‐7019

MICHAEL A SANFILIPPO                             145 IDLEWILD LANE                                                                              ABERDEEN           NJ    07747‐1535
MICHAEL A SANTO                                  1963 OLD FARM TRL                                                                              YOUNGSTOWN         OH    44515‐5624
MICHAEL A SARDONE                                7 AHERN WAY                                                                                    W ORANGE           NJ    07052‐2101
MICHAEL A SAWAYDA                                5118 KUSZMAUL AVE NW                                                                           WARREN             OH    44483‐1257
MICHAEL A SAWYER                                 208 GREAT HERON RD                                                                             CAMDENTON          MO    65020‐5032
MICHAEL A SCAFURI CUST JO ANN SCAFURI UGMA MI    3940 BRAMBLEWOOD LANE                                                                          TITUSVILLE         FL    32780‐5958

MICHAEL A SCHELL TR AU 12/01/93 BY MICHAEL A     3978 THIMBLEGLEN DR                                                                            CINCINNATI         OH    45251‐1944
SCHELL
MICHAEL A SCHENCK                                4643 MEDLAR RD                                                                                 MIAMISBURG         OH    45342‐4737
MICHAEL A SCHNEIDER                              31481 GLOEDE                                                                                   WARREN             MI    48093‐2099
MICHAEL A SCHRUEFER                              1650 BAUST CHURCH ROAD                                                                         UNION BRIDGE       MD    21791‐9728
MICHAEL A SCHUBERT                               325 SOUTH KIMMEL ROAD                                                                          CLAYTON            OH    45315‐9721
MICHAEL A SCHWARTZ                               37840 WINSON CIR                                                                               NORTH RIDGEVILLE   OH    44035‐8767

MICHAEL A SCIGEL                                 2240 W SNOVER RD                                                                               MAYVILLE           MI    48744‐9773
MICHAEL A SERFOZO                                44314 STANG RD                                                                                 ELYRIA             OH    44035‐1938
MICHAEL A SETULA                                 1064 WILDER RD                                                                                 BAY CITY           MI    48706‐9435
MICHAEL A SHATTO                                 3355 W ALEXIS RD                      APT A5                                                   TOLEDO             OH    43623‐1434
MICHAEL A SHUSMAN                                10 PARK AVE APT 15A                                                                            NEW YORK           NY    10016
MICHAEL A SIECINSKI                              13422 COLLINS SCHOOL RD                                                                        FELTON             PA    17322‐8169
MICHAEL A SIEMUCHA JR                            272 DRAKE DR                                                                                   NORTH              NY    14120‐1606
                                                                                                                                                TONAWANDA
MICHAEL A SILVERMAN                              1 AVENUE DE BURE                      GAP                                    5000 FRANCE
MICHAEL A SIMETKOSKY                             37698 NORTHFIELD                                                                               LIVONIA            MI    48150‐5418
MICHAEL A SISTO JR                               ATT WALTER R DEWEY                    75 MURRAY AVE                                            PATERSON           NJ    07501‐2647
MICHAEL A SKUROW                                 3737 PILGRIM ST                                                                                LAS VEGAS          NV    89121‐4445
MICHAEL A SMERKA                                 2943 SHENANDOAH DRIVE                                                                          HAMBURG            NY    14075‐3233
MICHAEL A SMITH                                  7010 W 174TH PL                                                                                TINLEY PARK        IL    60477‐3322
MICHAEL A SMITH                                  3730 OLD TROY PIKE                                                                             DAYTON             OH    45404‐1319
MICHAEL A SMITH                                  223 N MAIN ST                         APT 308                                                  EATON RAPIDS       MI    48827‐1282
MICHAEL A SMITH                                  1692 NORTON CREEK                                                                              WIXOM              MI    48393
MICHAEL A SNOVAK                                 1936 WAKEFIELD                                                                                 YOUNGSTOWN         OH    44514‐1063
MICHAEL A SOUSA                                  17 HILLTOP ST                                                                                  BRISTOL            RI    02809‐4010
MICHAEL A SPOONER                                12865 STATE RD                                                                                 LESLIE             MI    49251‐9622
MICHAEL A SPORRER                                638 ROOSEVELT DRIVE                                                                            EDWARDSVILLE       IL    62025‐2454
MICHAEL A STACHOWIAK                             2900 MAUTE RD                                                                                  GRASS LAKE         MI    49240‐9174
MICHAEL A STEWART                                5572 ALEXANDRIA PIKE                                                                           ANDERSON           IN    46012‐9509
MICHAEL A STULTZ                                 701 RUCKER LANE                                                                                MURFREESBORO       TN    37128‐4621
MICHAEL A SULTANA                                23500 LOWRY                                                                                    GROSSE ILE         MI    48138
MICHAEL A SURMA                                  21864 INTERNATIONAL LANE                                                                       MACOMB             MI    48044‐3796
MICHAEL A SWARTZ                                 5376 SURREY DR                                                                                 BETTENDORF         IA    52722‐5450
MICHAEL A SWARTZ CUST TAYLOR KATHERINE SWARTZ    5376 SURREY DR                                                                                 BETTENDORF         IA    52722‐5450
UTMA CA
MICHAEL A SWINFORD                               7633 N 200 E                                                                                   ALEXANDRIA         IN    46001‐8727
MICHAEL A SZEKERES                               201 NORWOOD AVE                                                                                HOLMES             PA    19043
MICHAEL A SZULINSKI                              701 OUTPOST CIRCLE                                                                             WAYNE              PA    19087‐2100
MICHAEL A TAMPANELLO                             1151 DUCK CREEK ROAD                                                                           SMYRNA             DE    19977‐9434
MICHAEL A TAUBITZ                                54 CHATEAU DU LAC DR                                                                           FENTON             MI    48430‐9140
MICHAEL A THOMAS                                 521 THORNBERRY DR                                                                              CARMEL             IN    46032‐1262
MICHAEL A THOMAS                                 52944 MUIRFIELD                                                                                CHESTERFIELD TWP   MI    48051‐3664

MICHAEL A TIMMONS                                1005 GERKE DR                                                                                  HASTINGS           MI    49058‐7746
MICHAEL A TODD                                   14093 BARRET MILL RD                                                                           BAINBRIDGE         OH    45612‐9538
MICHAEL A TOTH                                   1212 OWANA AVE                                                                                 ROYAL OAK          MI    48067‐5006
MICHAEL A TOWNSEND                               3014 CONCORD ST                                                                                FLINT              MI    48504‐2924
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Name                                              Address1                              Address2             Address3          Address4          City            State Zip

MICHAEL A TROTTO                                  1677 THOMAS ST                                                                                 PORT HURON      MI    48060‐3364
MICHAEL A TROY                                    PO BOX 64                                                                                      PERRY           MI    48872‐0064
MICHAEL A TURNER                                  620 CHARLES LN                                                                                 SPRING HILL     TN    37174‐7351
MICHAEL A URBISCI                                 3849 POWNER RD                                                                                 CINCINNATI      OH    45248‐2918
MICHAEL A VANALLEN                                10261 ROYAL EAGLE LN                                                                           LITTLETON       CO    80129‐6282
MICHAEL A VAQUER                                  36533 CABRILLO DR                                                                              FREMONT         CA    94536‐5619
MICHAEL A VIERA                                   853 QUAKER ST                                                                                  LINCOLN         VT    05443‐9287
MICHAEL A VINCENT                                 4402 W GRAND BLANC RD                                                                          SWARTZ CREEK    MI    48473‐9150
MICHAEL A VINK                                    370 GLENWOODS CT NE                                                                            ROCKFORD        MI    49341‐1508
MICHAEL A VLASOV & DONNA L VLASOV JT TEN          2230 HOWLAND WILSON NE                                                                         WARREN          OH    44484‐3923
MICHAEL A WAECHTER                                1705 SALT SPRINGS ROAD S W                                                                     WARREN          OH    44481‐9735
MICHAEL A WALKER & JACQUELYN J WALKER TR UA       629 MAPLE CREST DR                                                                             FRANKENMUTH     MI    48734‐9333
11/19/99 WALKER TRUST
MICHAEL A WALLS                                   4145 SHAMROCK CT                                                                               OXFORD          MI    48371‐5432
MICHAEL A WALPOLE JR                              7082 BERKSHIRE ROAD                                                                            SUNBURY         OH    43074
MICHAEL A WANCATA                                 1851 WESTHILL BLVD                                                                             CLEVELAND       OH    44145‐2520
MICHAEL A WASHINGTON                              2629 FORTY NINER WAY                                                                           ANTIOCH         CA    94531‐8001
MICHAEL A WASTOG                                  780 CLIFFWOOD AVENUE                                                                           CLIFFWOOD BEA   NJ    07735‐5162
MICHAEL A WHITAKER                                3333 NOAHS ARK RD                                                                              JONESBORO       GA    30236‐5510
MICHAEL A WHITFIELD                               1619 ATKINSON                                                                                  DETROIT         MI    48206‐2006
MICHAEL A WHITFIELD                               142 TRAFALGAR ST                                                                               ROCHESTER NY    NY    14619‐1224
MICHAEL A WIERIMAA & SUSAN J WIERIMAA JT TEN      2711 W WINDMILL                                                                                LAS VEGAS       NV    89123‐1037

MICHAEL A WILLIAMS                                1723 TALL OAKS DR                                                                              KOKOMO          IN    46901‐7707
MICHAEL A WILLIAMS                                106 OAK ST                                                                                     HARRISON        NY    10528‐4514
MICHAEL A WILLIAMSON                              17561 AVON                                                                                     DETROIT         MI    48219‐3501
MICHAEL A WILLIAMSON                              5079 THREE MILE RD                                                                             BAY CITY        MI    48706‐9004
MICHAEL A WILSON                                  600 JOSEPH DR                                                                                  FAIRVIEW HTS    IL    62208‐3618
MICHAEL A WILSON                                  1365 YOUNGS RD                                                                                 ORLEANS         MI    48865‐9738
MICHAEL A WINDOM                                  923 BRANCH RD                                                                                  ALBANY          GA    31705‐5306
MICHAEL A WITHAM CUST ADAM M WITHAM UTMA FL       PO BOX 21067                                                                                   ROANOKE         VA    24018‐0108

MICHAEL A WOLF                                    522 N 115TH ST                                                                                 MILWAUKEE       WI    53226‐3602
MICHAEL A WOLFE                                   514 E BROAD                                                                                    CHESANING       MI    48616‐1508
MICHAEL A WONDEL                                  3607 BEDFORD FALLS CT N                                                                        WENTZVILLE      MO    63385‐2681
MICHAEL A WOOD                                    854 LONG RUN RD                                                                                HOLBROOK        PA    15341‐1508
MICHAEL A WOODROME                                220 PINEDALE DRIVE                                                                             ELON            NC    27244‐9368
MICHAEL A WORRELL & REBECCA M WORRELL JT TEN      465 WASHINGTON ST                                                                              BARNWELL        SC    29812‐1898

MICHAEL A YANOCHKO                                4654 BROOKWOOD DRIVE                                                                           BROOKLYN        OH    44144‐3216
MICHAEL A YODIS & MARY E YODIS JT TEN             15695 BEDFORD CIR E                   APT C                                                    CLEARWATER      FL    33764‐7063
MICHAEL A YOUNG                                   9206 NEWBURY CT                                                                                PROSPECT        KY    40059‐8664
MICHAEL A ZATIRKA                                 16831 BELL CREEK                                                                               LIVONIA         MI    48154‐2938
MICHAEL A ZEDRICK SR & JULIA A ZEDRICK JT TEN     502 ILLINOIS                                                                                   WESTVILLE       IL    61883‐1712
MICHAEL A ZINCHINI                                110 JOSHUAS RUN                                                                                GOODLETTSVLLE   TN    37072‐3350
MICHAEL AARON ROTH                                4641 WOODLAND HILLS CT                                                                         KALAMAZOO       MI    49006‐6214
MICHAEL ABATEMARCO JR                             157‐14 86TH STREET                                                                             HOWARD BEACH    NY    11414‐2623
MICHAEL ABBOTT                                    3964 GUILFORD ST                                                                               DETROIT         MI    48224‐2242
MICHAEL ABRAHAM                                   3095 N DURAND RD                                                                               CORUNNA         MI    48817‐9735
MICHAEL ADAMS & LAURA A ADAMS JT TEN              6620 10TH AVE W                                                                                BRADENTON       FL    34209‐4015
MICHAEL ADAMSON                                   26 W LONGWOOD PL                                                                               HIGHLAND PARK   MI    48203‐2251
MICHAEL ADANUNCIO                                 1547 54TH ST                                                                                   BROOKLYN        NY    11219‐4346
MICHAEL ALAN COHEN                                9205 HURON RIVER DR                                                                            DEXTER          MI    48130‐9611
MICHAEL ALAN HAMMICK                              409 MEADOWLARK PLACE                                                                           ALABASTER       AL    35007
MICHAEL ALAN KEELER                               1201 S EADS ST                        APT 1808                                                 ARLINGTON       VA    22202‐2845
MICHAEL ALAN LADOW                                17122 KENT AVE                                                                                 MORLEY          MI    49336‐9471
MICHAEL ALAN LAIRD                                2323 ZOLLINGER ROAD                                                                            COLUMBUS        OH    43221‐2665
MICHAEL ALAN LILES                                2711 HIGHWAY 72 W                                                                              THREE RIVERS    TX    78071‐3237
MICHAEL ALAN MATONICAN                            1035 VIA JARDIN                                                                                PALM BCH GDNS   FL    33418
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MICHAEL ALAN ROGERS                             308 N 400 W                                                                                     MALAD CITY        ID    83252
MICHAEL ALKIRE                                  9150 14 MILE RD                                                                                 CEDAR SPRINGS     MI    49319‐9319
MICHAEL ALLAN GOTTLIEB                          1237 CRESTBROOK PLACE                                                                           ANAHEIM           CA    92805‐4830
MICHAEL ALLEN                                   102 BRIARWOOD DR                                                                                STARKVILLE        MS    39759
MICHAEL ALLEN ADAMS                             484 BLOCKHOUSE RD                                                                               TROUT RUN         PA    17771‐9178
MICHAEL ALLEN BEHRENS                           1648 VERDE DR                                                                                   WICKENBURG        AZ    85390‐1146
MICHAEL ALLEN HALE                              95 BESSBOROUGH DR                      TORONTO ON                             M4G 3J3 CANADA
MICHAEL ALLEN HARTMANN                          7395 80TH PL SE                                                                                 MERCET ISLAND     WA    98040‐5931
MICHAEL ALLEN PEDERSEN                          PO BOX 292                                                                                      NORTH BERWICK     ME    03906‐0292
MICHAEL ALLEN PFIEFFER                          425 KELSEY DR                                                                                   CLARKSVILLE       TN    37042‐6169
MICHAEL ALLEN WINTER                            516 3RD STREET                                                                                  KALKASKA          MI    49646‐9350
MICHAEL ALLGEIER                                3413 SLIDING ROCK DR                                                                            MCKINNEY          TX    75070‐4813
MICHAEL ALLGEIER & LESLIE ALLGEIER JT TEN       3413 SLIDING ROCK DR                                                                            MCKINNEY          TX    75070‐4813
MICHAEL ALLMACHER                               8637 GRAND OAKS                                                                                 WASHINGTON        MI    48095
MICHAEL ALLMAN                                  406 SHANDELL DR                                                                                 BEDFORD HEIGHTS   IN    47421‐9656

MICHAEL AMSEL                                   88 NORTHWOOD AVENUE                                                                             DEMAREST          NJ    07627‐1713
MICHAEL ANACREONTE & ANITA ANACREONTE JT TEN    5 TIMBER RIDGE DR                                                                               COMMACK           NY    11725‐1738

MICHAEL ANDREW DRIMBY                           793 N DURAND RD                                                                                 CORUNNA           MI    48817‐9579
MICHAEL ANDREW KENDINGER                        106 COMPANION WY                                                                                SAVANNAH          GA    31419‐9334
MICHAEL ANDREW NEDWIDEK                         509 FLORENCE ST                                                                                 RALEIGH           NC    27603‐2143
MICHAEL ANGELETTI                               916 WOODHILL COURT                                                                              BRUNSWICK         OH    44212‐2273
MICHAEL ANGELO GRANDILLO                        2445 SAUNDERS STATION RD                                                                        MONROEVILLE       PA    15146‐4451
MICHAEL ANTHONY BOLDEN                          409 RASPBERRY LN                                                                                FOUNTAIN INN      SC    29644‐3512
MICHAEL ANTHONY MOTLEY                          50322 MARGARET AVE                                                                              MACOMB            MI    48044‐6340
MICHAEL ANTHONY MURPHY JR                       693 EL CAMINITO                                                                                 LIVERMORE         CA    94550‐5853
MICHAEL ANTHONY PICCOLI                         7187 DANTON PROMENADE                  MISSISSAUGA ON                         L5N 5P3 CANADA
MICHAEL ANTHONY SERGI                           1642 MEADOWLARK RD                                                                              WYOMISSING        PA    19610‐2821
MICHAEL ANTHONY SMEGO                           1445 W POWDER CT                                                                                EAGLE             ID    83616‐4872
MICHAEL ANTHONY THOMAS                          350 E TAYLOR ST                        APT 6216                                                 SAN JOSE          CA    95112‐3169
MICHAEL ANTHONY WETTENGEL                       PO BOX 175                                                                                      DAMERON           MD    20628‐0175
MICHAEL ANTON                                   456 PELLETT DR                                                                                  BAY VILLAGE       OH    44140‐1648
MICHAEL ANTONIO                                 65 ANTONIO LN                                                                                   WARWICK           MD    21912‐1247
MICHAEL APFEL CUST JASON SCOTT APFEL UGMA AZ    2561 E VERMONT AVE                                                                              PHOENIX           AZ    85016‐3605

MICHAEL APFEL CUST MATTHEW STEVEN APFEL UGMA    2561 E VERMONT AVE                                                                              PHOENIX           AZ    85016‐3605
AZ
MICHAEL AREGANO                                 5873 GILLETE RD W                                                                               CICERO            NY    13039‐9589
MICHAEL ARENA TR UA 3/26/93 THE MICHAEL ARENA   412 WILSHIRE CT                                                                                 VALPARAISO        IN    46385‐7701
LIVING TRUST
MICHAEL ARON                                    7203 KINGS ARM DR                                                                               MANASSAS          VA    20112
MICHAEL ARTIN                                   41 HYDE ST                                                                                      NEWTON            MA    02461‐1203
                                                                                                                                                HIGHLANDS
MICHAEL AUERBACH                                848 BEECH DR                                                                                    MISKAYUNA         NY    12309‐3027
MICHAEL AUSTIN WATERS                           PO BOX 8307                                                                                     ASPEN             CO    81611‐8237
MICHAEL AVALOS                                  1301 JOURNEY WAY                                                                                NORTH LAS VEGAS   NV    89031‐1542

MICHAEL AYCOCK JR                               203 DEER TRAIL LN                                                                               BLACK CREEK       NC    27813
MICHAEL B ADLER                                 1971 MANDEVILLE CANYON RD                                                                       LOS ANGELES       CA    90049‐2235
MICHAEL B BALLATO                               11808 WESTCOTT LANDING COURT                                                                    GLEN ALLEN        VA    23059
MICHAEL B BENNETT                               908 ST DAVIDS PLACE                                                                             VIRGINIA BEACH    VA    23452‐6137
MICHAEL B BRADLEY                               1942 LAKESHORE DRIVE                                                                            LODI              CA    95242‐4232
MICHAEL B BULLY                                 6371 N ELMS RD                                                                                  FLUSHING          MI    48433‐9002
MICHAEL B CASTIGLIONE                           3625 SE 17TH AV                                                                                 PORTLAND          OR    97202
MICHAEL B CHAMNESS                              14401 E 1100 N                                                                                  DUNKIRK           IN    47336‐9231
MICHAEL B COHN & MONICA COHN JT TEN             371 FORT WASHINGTON AVE                                                                         NEW YORK          NY    10033‐6739
MICHAEL B COOLEY                                2354 20TH ST RT #2                                                                              HOPKINS           MI    49328‐9613
MICHAEL B DOTY                                  2614 SOUTH 66TH ST                                                                              TAMPA             FL    33619‐5814
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MICHAEL B DUFFY                                    36211 N TARA COURT                                                                            INGLESIDE          IL    60041‐9660
MICHAEL B DUNN                                     103 NEW JERSEY AVE                                                                            NATIONAL PARK      NJ    08063
MICHAEL B EICKMEIER                                5846 MEANDER DR                                                                               SAN JOSE           CA    95120‐3839
MICHAEL B FERRANTE & BEVERLY A FERRANTE JT TEN     25740 W NORTHERN LIGHTS WAY                                                                   BUCKEYE            AZ    85326‐1093

MICHAEL B FLINT                                    1010 WEST JOPPA RD                                                                            TOWSON             MD    21204‐3731
MICHAEL B FOLIO                                    5 PLAYERS CLUB DR B‐102                                                                       CHARLESTON         WV    25311‐1636
MICHAEL B GORDON                                   2541 LEGION STREET                                                                            BELLMORE           NY    11710‐4918
MICHAEL B GREATHOUSE                               3567 LYNWOOD NW DR                                                                            WARREN             OH    44485‐1316
MICHAEL B HALE                                     8467 BLUELAKE CIRCLE                                                                          GALLOWAY           OH    43119‐8706
MICHAEL B HAMILTON                                 PO BOX 267                           9538 CHERRY AVE                                          KEWADIN            MI    49648‐0267
MICHAEL B HAMMER                                   605 N PAULINA AVE                                                                             REDONDO BEACH      CA    90277‐3023
MICHAEL B HANNAN GUARDIAN FOR THE ESTATE OF        76 PATRIOTS RD                                                                                MORRIS PLAINS      NJ    07950‐1147
KEVIN GERARD HANNAN
MICHAEL B HAYWARD                                  10 CHANDLER LANE                                                                              AMHERST            NH    03031
MICHAEL B HORTON                                   11527 4TH ST                                                                                  MONTAGUE           MI    49437‐9582
MICHAEL B IDLEWINE JR                              2858 WEST 1400 NORTH                                                                          ALEXANDRIA         IN    46001‐8535
MICHAEL B JACOBS                                   204 IROQUOIS AVE                                                                              PRUDENVILLE        MI    48651‐9707
MICHAEL B JAWGIEL CUST LOGAN M JAWGIEL             1421 S COURTLAND                                                                              PARK RIDGE         IL    60048
MICHAEL B JENKINS                                  22460 KENWYCK DR                                                                              SOUTHFIELD         MI    48034‐2125
MICHAEL B JENNER                                   40259 IVYWOOD LANE                                                                            PLYMOUTH           MI    48170‐2727
MICHAEL B JONES                                    1621 N WHEATON RD                                                                             CHARLOTTE          MI    48813‐8601
MICHAEL B JOYCE TR MICHAEL B JOYCE 1999 TRUST UA   1705 PAVILION WAY‐UNIT 408                                                                    PARK RIDGE         IL    60068‐1119
11/24/99
MICHAEL B KOVAL                                    13004 MIMOSA FARM COURT                                                                       ROCKVILLE          MD    20850‐3700
MICHAEL B KRAFT                                    120 DALE DR                                                                                   SILVER SPRING      MD    20910‐5501
MICHAEL B LEVY                                     12‐57 SECOND ST                                                                               FAIR LAWN          NJ    07410
MICHAEL B LOADER & MRS SUSAN M LOADER TEN COM      19927 PARK RANCH                                                                              SAN ANTONIO        TX    78259‐1935

MICHAEL B LOMAX                                    1495 HATCH ROAD                                                                               OKEMOS          MI       48864‐3413
MICHAEL B MC HALE                                  5405 HAMMERSMITH DRIVE                                                                        WEST BLOOMFIELD MI       48322‐1454

MICHAEL B MCCAIN                                   2709 ARTHURS WAY                                                                              ANDERSON           IN    46011‐9049
MICHAEL B MONAHAN                                  1444 BRIARFIELD WAY                                                                           WEBSTER            NY    14580‐8529
MICHAEL B NEILSON                                  3147 COLORADO ST                                                                              FLINT              MI    48506‐2531
MICHAEL B NEWMAN CUST BENJAMIN R NEWMAN            4206 OAK BEACH                                                                                OAK BEACH          NY    11702‐4607
UTMA NY
MICHAEL B NORDEEN & PATRICIA I NORDEEN JT TEN      15519 GOLF CLUB DR                                                                            MONTCLAIR          VA    22026‐1115

MICHAEL B OSATTIN                                  103 COLLINS AVE                                                                               WILLISTON          NY    11596‐1611
MICHAEL B OVERTON                                  712 PICCADILLY ROW                                                                            ANTIOCH            TN    37013‐1767
MICHAEL B OXLEY                                    8420 SOUTHWOOD OAKS ST                                                                        LITHIA             FL    33547‐2235
MICHAEL B PAYNE                                    10623 SOUTH PARNELL                                                                           CHICAGO            IL    60628‐2437
MICHAEL B REGULA                                   592 WALT CAMPBELL RD                                                                          HAZEL GREEN        AL    35750‐7502
MICHAEL B RICHMAN                                  11710 OLD GEORGETOWN ROAD            APT 1603                                                 ROCKVILLE          MD    20852‐2689
MICHAEL B ROLSTON TR HENDERSON CEMETERY TRUST      HENDERSON HALL                       RTE 2 BOX 103                                            WILLIAMSTOWN       WV    26187‐9753
UA 03/24/88
MICHAEL B RYAN & HARRIET E RYAN JT TEN             1380 SHARP ST                                                                                 LAKE ORION         MI    48362
MICHAEL B SAXE                                     RR 2 BOX 2129 SAXE POND ROAD                                                                  DUSHORE            PA    18614‐9738
MICHAEL B SCOTT CUST KATHRYN MICHELLE SCOTT        1456 BIRCHCREST LN                                                                            CHARLOTTESVILLE    VA    22911‐8285
UTMA VA
MICHAEL B SHAPIRO CUST ADAM BRET SHAPIRO UGMA      3971 COLUMBIA DRIVE                                                                           BLOOMFIELD HILLS   MI    48302‐1265
MI
MICHAEL B SHEPARD                                  8230 ROGUE RDG NE                                                                             ROCKFORD           MI    49341‐9151
MICHAEL B SILVER                                   12 SILVER LAKE                                                                                CLAYTON            NJ    08312‐1334
MICHAEL B SILVERMAN                                1380 CORAL RIDGE DR                                                                           CORAL SPRINGS      FL    33071‐5434
MICHAEL B SMITH                                    3349 TENNYSON ST NW                                                                           WASHINGTON         DC    20015‐2442
MICHAEL B SMITH                                    3349 TENNYSON NW                                                                              WASHINGTON         DC    20015‐2442
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MICHAEL B SMITH JR                               2206 DUDLEY ST                                                                                   BURTON             MI    48529‐2121
                                                                                                                                                  SOUTHEAST
MICHAEL B SMYTHE                                 6 CLARKSON AVE                                                                                   MASSENA            NY    13662‐1757
MICHAEL B SPENCER & JANE A SPENCER JT TEN        PO BOX 1023                                                                                      COSMOPOLIS         WA    98537‐1023
MICHAEL B STEGER                                 4844 INTERBORO AVE                                                                               PITTSBURGH         PA    15207‐2130
MICHAEL B SULLIVAN                               6219 GREEN BUDD                                                                                  GOSHEN             OH    45122‐9419
MICHAEL B TERRELL                                1321 PURVIS AVE                                                                                  JANESVILLE         WI    53545‐1582
MICHAEL B TRIPP                                  43845 VICKSBURG COURT                                                                            CANTON             MI    48188‐1730
MICHAEL B WADE                                   3416 CRABAPPLE LANE                                                                              JANESVILLE         WI    53548
MICHAEL B WALSH & JUNE M WALSH JT TEN            27 VENNER ROAD                                                                                   ARLINGTON          MA    02476‐8027
MICHAEL B WATKINS                                341 LAZY RIVER RD                                                                                HERMAN             NY    13652‐3140
MICHAEL B WILSON                                 2909 OLD CELLARS RD                                                                              DAYTON             OH    45439‐1414
MICHAEL B WYMAN & MARY ESTHER WYMAN JT TEN       5 LANCER CT                                                                                      TOMS RIVER         NJ    08753‐5639

MICHAEL B YOUNG                                  95‐762 PULEHULEHU PLACE                                                                          MILILANI TOWN      HI    96789‐2828
MICHAEL B YOUNG & KATHLEEN L YOUNG JT TEN        95‐762 PULEHULEHU PLACE                                                                          MILILANI TOWN      HI    96789‐2828
MICHAEL BAGDASSIAN                               929 RUSSET ST                                                                                    RACINE             WI    53405‐2361
MICHAEL BAILEY                                   5525 COLYERS                                                                                     ROCHESTER          MI    48306‐2631
MICHAEL BAILLIE                                  7 CUNNINGHAM RD BOX 1613                WALKERTON ON                           N0G 2V0 CANADA
MICHAEL BAINLARDI & THERESA M BAINLARDI JT TEN   233 WALELU TRL                                                                                   VONORE             TN    37885‐6709

MICHAEL BAKER                                    4818 FARMER JOHN LANE                                                                            STOCKBRIDGE        MI    49285‐9608
MICHAEL BAKER                                    5409 DESERT PEACH DRIVE                                                                          SPARKS             NV    89436‐0854
MICHAEL BARANY & KATE BARANY JT TEN              901 S ASHLAND AVE APT 1110‐A                                                                     CHICAGO            IL    60607‐4092
MICHAEL BARBOUR                                  5702 MILDRED LN                                                                                  CYPRESS            CA    90630‐4552
MICHAEL BARHORST & CYNTHIA BARHORST JT TEN       514 N WALNUT                                                                                     ITASCA             IL    60143‐1639

MICHAEL BARNES                                   188 FOREST AVE                                                                                   COHASSET           MA    02025
MICHAEL BARNOSKY                                 6154 MANCHESTER RD                                                                               PARMA              OH    44129‐4534
MICHAEL BAUERSACHS                               12180 MORESTEAD CT                                                                               GLEN ALLEN         VA    23059‐7071
MICHAEL BEDENBAUGH                               113 WILKSHIRE DR                                                                                 COLUMBIA           SC    29210‐4236
MICHAEL BELLISH                                  11 DARTMOUTH AVE                                                                                 CANFIELD           OH    44406‐1210
MICHAEL BELLOVICH & JULIA BELLOVICH JT TEN       2075 PINE ISLE LANE                                                                              NAPLES             FL    34112‐6189
MICHAEL BELOSKY & SUSAN BELOSKY JT TEN           612 LYNHURST AVE                                                                                 HORSEHEADS         NY    14845‐2000
MICHAEL BENSON                                   6138 W GIDDINGS ST                                                                               CHICAGO            IL    60630‐2930
MICHAEL BENTON                                   203 LOCH LOW DR                                                                                  SANFORD            FL    32773‐5573
MICHAEL BENZINGER & VIRGINIA BENZINGER JT TEN    75‐23 166TH ST                                                                                   FLUSHING           NY    11366‐1264

MICHAEL BERENY CUST JARED LEWISON UTMA CA        C/O JARED A LEWISON                     2142 MAPLE LEAF AVE                                      NEWBURY PARK       CA    91320
MICHAEL BERGMANN                                 PAULIPLATZ 3                            D 50933 COLOGNE                        GERMANY
MICHAEL BERKOWITZ                                295 WEST 11TH STREET                    APT 6H                                                   NEW YORK           NY    10014‐2480
MICHAEL BERMICK                                  7353 DUNBAR AVENUE                                                                               TEMPERANCE         MI    48182‐1418
MICHAEL BERNARD                                  24815 STATE RD 19                                                                                CICERO             IN    46034
MICHAEL BERNOTSKI                                31 ASHLEY ROAD                                                                                   EDISON             NJ    08817‐4060
MICHAEL BERRY                                    14637 INDIANA                                                                                    DETROIT            MI    48238‐1772
MICHAEL BEVILACQUA CUST MARGARET MARY            181‐25 TUDOR RD                                                                                  JAMAICA ESTATES    NY    11432‐1446
BEVILACQUA UGMA NY
MICHAEL BEVILACQUA CUST MARILYN CAROL            32 FERNCLIFF RD                                                                                  MORRIS PLAINS      NJ    07950‐3052
BEVILACQUA UGMA NY
MICHAEL BICHEK                                   3800 LINCOLN AVE                                                                                 PARMA              OH    44134‐1804
MICHAEL BICOCCA                                  8224 ANDALUSIAN DR                                                                               SACRAMENTO         CA    95829‐6520
MICHAEL BIDOLLI                                  8495 POINT CHARITY AVE                                                                           PIGEON             MI    48755‐9776
MICHAEL BIELEC                                   335 NORWOOD AVE                                                                                  ROCHESTER          NY    14606‐3723
MICHAEL BIENKOWSKI                               4663 HEDGEWOOD DR                                                                                BLOOMFEILD HILLS   MI    48301‐1145

MICHAEL BISHOP WILKINS                            2980 SORENSON DR                                                                                GREEN BAY          WI    54313‐1374
MICHAEL BISZKO JR CUST MICHAEL BISZKO III UGMA MA 4 LARK ST                                                                                       FALL RIVER         MA    02721‐3214

MICHAEL BLACKCLOUD                               7960 SACKETT RD                                                                                  BERGEN             NY    14416‐9522
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MICHAEL BLAINE WISEMAN                        574 COBBLESTONE CT NE                                                                             CORYDON           IN    47112
MICHAEL BLISS                                 C/O JOHN MICHAEL BLISS                   5689 PLEASANT DR                                         WATERFORD         MI    48329‐3339
MICHAEL BLUE                                  1391 NORTHERN RIDGE DR                                                                            BRIGHTON          MI    48116‐3700
MICHAEL BLUMENFELD CUST JACLYN MEG BLUMENFELD 16 PIEDMONT DRIVE                                                                                 WEST WINDSOR      NJ    08550‐1712

MICHAEL BLUMENFELD CUST MATTHEW BLUMENFELD 16 PIEDMONT DR                                                                                       WEST WINDSOR      NJ    08550‐1712
UGMA NJ
MICHAEL BOEHLJE                               1905 WILLET CT                                                                                    WEST LAFAYETTE    IN    47906‐6502
MICHAEL BOEMKER ADMIN EST OF KATHLEEN BOEMKER 2409 MEDINA AVENUE                                                                                SIMI VALLEY       CA    93063

MICHAEL BONAVENTURA                              1681 ALPINE DR                                                                                 COLUMBUS          OH    43229‐2162
MICHAEL BOTSKO                                   9909 W PEORIA AVE                                                                              SUN CITY          AZ    85351‐4233
MICHAEL BOUCHER EX EST MICHAEL A DEES            PO BOX 203                                                                                     STEPHENVILLE      TX    76401
MICHAEL BOURASSA                                 PO BOX 1386                                                                                    BIDDEFORD         ME    04005‐1386
MICHAEL BOYAZIS                                  835 MICHELE CIRCLE                                                                             DUNEDIN           FL    34698‐6131
MICHAEL BOYAZIS & MICHAEL S BOYAZIS JT TEN       835 MICHELE CIRCLE                                                                             DUNEDIN           FL    34698‐6131
MICHAEL BRAMAN                                   1835 NORTH HALSTED                    UNIT # 1                                                 CHICAGO           IL    60614‐5075
MICHAEL BRANSFIELD EX EST FLORENCE PANCIR        495 BURNT MOUNTAIN RD                                                                          WARREN            VT    05674
MICHAEL BRAUDE                                   5319 MISSION WOODS TERR                                                                        SHAWNEE MISSION   KS    66205‐2013

MICHAEL BRENNAN & ELIZABETH R BRENNAN JT TEN     15116 STRATFORD LANE                                                                           VILLA PARK        IL    60181

MICHAEL BRESSLER CUST HOLLAND BLAIR BRESSLER     920 BUFORD RD                                                                                  BON AIR           VA    23235‐4639
UTMA VA
MICHAEL BRONGO                                   2322 E 64TH ST                                                                                 BROOKLYN          NY    11234‐6321
MICHAEL BROOKS TR MICHAEL BROOKS TRUST UA        3658 KEATING STREET                                                                            SAN DIEGO         CA    92110‐1909
12/15/98
MICHAEL BROWER & MRS RUTH BROWER JT TEN          37 E PIERSON DR                       WELLINGTON HILLS                                         HOCKESSIN         DE    19707‐1030
MICHAEL BROWN                                    18265 LENNANE                                                                                  REDFORD           MI    48240‐1744
MICHAEL BROWN                                    12 PIEDMONT CENTER STE 406                                                                     ATLANTA           GA    30305‐1739
MICHAEL BROWN                                    3186 WEST CASS AVE                                                                             FLINT             MI    48504‐1208
MICHAEL BROWN                                    218 RHODE ISLAND                                                                               HIGHLAND PK       MI    48203‐3361
MICHAEL BRYAN MILLER                             2639 W HOMER ST                                                                                CHICAGO           IL    60647‐4215
MICHAEL BUDD                                     BOX 2578                              780 JUNE CREEK RD                                        EDWARDS           CO    81632
MICHAEL BUDELSKY                                 1940 NW 96TH ST                                                                                SEATTLE           WA    98117‐2429
MICHAEL BULZAN                                   1405 FRESHWATER CT                                                                             WAKE FOREST       NC    27587‐6262
MICHAEL C ADAMS                                  480 W PINCONNING RD                                                                            PINCONNING        MI    48650‐8991
MICHAEL C ADAMS & SHIRLEY N ADAMS JT TEN         480 W PINCONNING RD                                                                            PINCONNING        MI    48650‐8991
MICHAEL C ARNETT                                 5508 WACO AVE                                                                                  DAYTON            OH    45449‐2761
MICHAEL C BANHAJER                               7948 HUGH                                                                                      WESTLAND          MI    48185‐2510
MICHAEL C BARTON & LINDA M MELOCHE JT TEN        6677 ABBEY RD                                                                                  CARLTON           OR    97111‐9501
MICHAEL C BEARD                                  11105 E DODGE RD                                                                               OTISVILLE         MI    48463‐9739
MICHAEL C BETTS                                  714 HARRISON ST                                                                                DEFIANCE          OH    43512‐2024
                                                                                                                                                JUNCTION
MICHAEL C BOARD                                  3106 S MILFORD ROAD                                                                            HIGHLAND          MI    48357‐4949
MICHAEL C BOERNER                                6010 WHITEACRE DR                                                                              LAKE              MI    48632
MICHAEL C BOWMAN                                 4781 HAPLIN DR                                                                                 DAYTON            OH    45439‐2955
MICHAEL C BRYNDLE                                8299 LEWIS ROAD                                                                                HOLLAND           NY    14080‐9322
MICHAEL C CAPAZZI                                3467 PINEMONT DR                                                                               DOUGLASVILLE      GA    30135‐7298
MICHAEL C CARLTON                                11548 FENNER                                                                                   PERRY             MI    48872‐8749
MICHAEL C CARROLL                                1314 SO 63RD ST                                                                                OMAHA             NE    68106‐1557
MICHAEL C COMERFORD                              702 WILLOWRIDGE DR                                                                             KOKOMO            IN    46901‐7043
MICHAEL C COOPER                                 15719 TWIN LAKES DR                                                                            LOCKPORT          IL    60441‐8362
MICHAEL C COPPS JR                               910 S MAGNOLIA DR                                                                              INDIALANTIC       FL    32903‐3410
MICHAEL C COX                                    830 S HARBOUR                                                                                  NOBLESVILLE       IN    46060‐9167
MICHAEL C CUNNINGHAM                             15501 FERGUSON                                                                                 DETROIT           MI    48227‐1587
MICHAEL C DAVIS                                  3908 W 122ND ST                                                                                SHAWNEE MISSION   KS    66209‐1042

MICHAEL C DOANE                                  15711 GARFIELD RD                                                                              WAKEMAN           OH    44889‐8440
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MICHAEL C DOSSIER                               2761 RIDGEWAY AVE                                                                                    ROCHESTER         NY    14626‐4210
MICHAEL C DRAKE                                 1057 VALLEY STREAM DR                                                                                ROCHESTER         MI    48309‐1730
MICHAEL C EDWARDS                               6299 E CR 600 S                                                                                      PLAINFIELD        IN    46168‐8643
MICHAEL C FALLON                                4968 HEATHERGLEN CIRCLE                                                                              SANTA ROSA        CA    95405‐7943
MICHAEL C FANT                                  19966 LITTLEFIELD ST                                                                                 DETROIT           MI    48235‐1161
MICHAEL C GATZA                                 2802 S MONROE ST                                                                                     BAY CITY          MI    48708
MICHAEL C GIBAS                                 5874 E 900 N                                                                                         FAIR OAKS         IN    47943‐8027
MICHAEL C GILLOOLY                              12335 E CAPE HORN                                                                                    TUCSON            AZ    85749‐9328
MICHAEL C GNAM                                  7434 CHINOOK DR                                                                                      WEST CHESTER      OH    45069‐1353
MICHAEL C HAAS                                  #304                                  1011 E CALIFORNIA AVE                                          GLENDALE          CA    91206‐5022
MICHAEL C HAMLIN                                36 CRAFTWOOD LA                                                                                      HILTON            NY    14468‐8913
MICHAEL C HARRIS & MAUREEN HARRIS JT TEN        PO BOX 1960                                                                                          WAKEFIELD         MA    01880‐5960
MICHAEL C HART                                  1516 IRON LIEGE ROAD                                                                                 INDIANAPOLIS      IN    46217‐4457
MICHAEL C HARVEY                                4556 TWILIGHT HILL RD                                                                                KETTERING         OH    45429‐1852
MICHAEL C HAYES CUST CHRISTOPHER M HAYES UGMA   BOX 1706                                                                                             EAST LANSING      MI    48826‐1706
MI
MICHAEL C HICKEY                                4325 S 36TH ST                                                                                       ARLINGTON         VA    22206‐1809
MICHAEL C HILLSTROM                             3N786 FERSON CREEK RD                                                                                SAINT CHARLES     IL    60174
MICHAEL C HINEMAN                               28342 FIVE MILE RD F2                                                                                LIVONIA           MI    48154‐3910
MICHAEL C HOGAN                                 2862 BARCLAY‐MESSERLY RD                                                                             SOUTHINGTON       OH    44470
MICHAEL C HOLLAND                               10384 FRANK HIMES H                                                                                  PERRINTON         MI    48871‐9751
MICHAEL C HOUSER & DONELLA G HOUSER JT TEN      9 ST ANDREWS WALK                     WELLS                   SOMERSET       BA5 2LJ GREAT BRITAIN
MICHAEL C HOWARD                                PO BOX 642                                                                                           HUDSON            NY    12534‐0642
MICHAEL C JARMAN                                W 3515 COUNTY HIGHWAY F                                                                              FISH CREEK        WI    54212
MICHAEL C JOHNSTON                              1055 OHLTOWN RD                                                                                      YOUNGSTOWN        OH    44515‐1023
MICHAEL C JONES                                 751 E 1050 S                                                                                         FAIRMOUNT         IN    46928‐9297
MICHAEL C JONES                                 10155 SE 139TH PL                                                                                    SUMMERFIELD       FL    34491‐2713
MICHAEL C JOSEFCHUK                             24786 WEST MIDDLE FORK RD                                                                            BARRINGTON        IL    60010‐2440
MICHAEL C KAPLAN                                5212 WILLISTON RD                                                                                    MINNETONKA        MN    55345‐4732
MICHAEL C KEENEY                                450 MIDLAND DRIVE                                                                                    ASHEVILLE         NC    28804‐1435
MICHAEL C KLASSEN                               1520 N VERNON                                                                                        DEARBORN          MI    48128‐1116
MICHAEL C KNUST                                 14631 THIRTY MILE ROAD                                                                               WASHINGTON        MI    48095‐2125
MICHAEL C KOLTAK                                5115 HOGAN CT                                                                                        FORT COLLINS      CO    80528‐8801
MICHAEL C KOWALSKI                              3946 ATHENS                                                                                          DRAYTON PLNS      MI    48020
MICHAEL C LACEY                                 102 QUAIL RUN CT                                                                                     FERNLEY           NV    89408‐9051
MICHAEL C LOONEY                                40645 OAKWOOD                                                                                        NOVI              MI    48375‐4455
MICHAEL C LOUCK                                 8598 BROWER LK DR                                                                                    ROCKFORD          MI    49341‐9346
MICHAEL C LUDOVICI                              BOX 790 ARNER RD                                                                                     CHESTER           WV    26034
MICHAEL C LUDWIG                                15969 N LAGUARDIA PKWY                                                                               STRONGSVILLE      OH    44136‐8815
MICHAEL C MAFFEI                                506 KLOCKNER AVE                                                                                     TRENTON           NJ    08619‐2822
MICHAEL C MAJOR                                 10389 NORTH COUNTY ROAD 550 EAST                                                                     ROACHDALE         IN    46172‐9479
MICHAEL C MANLEY                                5007 DUPONT LANE                                                                                     TUCKER            GA    30084‐3741
MICHAEL C MANLEY                                PO BOX 281                                                                                           DALLAS            GA    30132‐0006
MICHAEL C MARSHALL                              11039 KIMMEL LAKE RD                                                                                 STE GENEVIEVE     MO    63670‐8597
MICHAEL C MAYFIELD                              2005 N BRINGOLD AVE                                                                                  HARRISON          MI    48625‐9782
MICHAEL C MC ELROY                              534 PAWNEE WAY                                                                                       MADISON           MS    39110‐9606
MICHAEL C MC GHEE                               4029 OLD HICKORY RD                                                                                  FAIRFAX           VA    22032‐1504
MICHAEL C MCGUIRE                               337 N ARDEN BLVD                                                                                     LOS ANGELES       CA    90004‐3021
MICHAEL C MEAD                                  100 OAK RIDGE ROAD                                                                                   BRUNSWICK         GA    31523‐9741
MICHAEL C MEHRMAN                               9998 COTTON FARM RD                                                                                  FAIRFAX           VA    22032‐1603
MICHAEL C MERKE                                 107 LAUREL PL                                                                                        LONGVIEW          WA    98632‐5519
MICHAEL C MILLER & DAWN MILLER JT TEN           4807 BROOKRIDGE DR                                                                                   PITTSBORO         IN    46167
MICHAEL C MONROE                                24358 RONAN                                                                                          BEDFORD HEIGHTS   OH    44146‐3970

MICHAEL C MOSSINGTON                            51762 WALNUT DR                                                                                      MACOMB TWP        MI    48042‐3545
MICHAEL C MOUTSATSON                            1322 PENINSULA DR                                                                                    TRAVERSE CITY     MI    49686‐1955
MICHAEL C MURPHY                                36734 THEODORE DRIVE                                                                                 CLINTON TWP       MI    48035‐1955
MICHAEL C NAGY & JUDITH A NAGY JT TEN           2766 LARRY TIM DRIVE                                                                                 SAGINAW           MI    48601‐5614
MICHAEL C NALIAN                                1409 WISCONSIN                                                                                       BERWYN            IL    60402
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MICHAEL C NEELY                                   1600 HARBOUR CLUB DR                                                                            PONTE VERDE        FL    32082‐3549
                                                                                                                                                  BEACH
MICHAEL C NEELY JR                                2404 CEDAR TRACE DR W                                                                           JACKSONVILLE       FL    32246‐9359
MICHAEL C NOBLE                                   35 SIGNAL RIDGE WAY                                                                             EAST GREENWICH     RI    02818‐1649
MICHAEL C NOUN                                    817 LINDSEY LN                                                                                  BOLINGBROOK        IL    60440‐6119
MICHAEL C O NEILL                                 84 ALBERT DRIVE                                                                                 LANCASTER          NY    14086‐2802
MICHAEL C OAKES & JENNE S OAKES TR OAKES TRUST    5063 STELLA RD                                                                                  CUSTER             MI    49405‐8727
UA 03/01/04
MICHAEL C OBERRY                                  1800 E ROUND LAKE RD                                                                            DEWITT             MI    48820‐9723
MICHAEL C PARR                                    19821 VERMANDER                                                                                 CLINTON TWP        MI    48035‐4719
MICHAEL C PATTON                                  213 S BARKSDALE ST 3                                                                            MEMPHIS            TN    38104‐4019
MICHAEL C PICKNEY                                 1055 PETOSKY CT                                                                                 ADRIAN             MI    49221‐3121
MICHAEL C PIERCE                                  4260 TARA DRIVE E                                                                               MOBILE             AL    36619‐1178
MICHAEL C PIERCE & SANDRA C PIERCE JT TEN         4260 TARA DRIVE E                                                                               MOBILE             AL    36619‐1178
MICHAEL C RICH                                    2706 SO 38TH ST                                                                                 KANSAS CITY        KS    66106‐3921
MICHAEL C RICKETTS                                7818 N STRATHBURY AVE                                                                           KANSAS CITY        MO    64151‐4282
MICHAEL C RICKLE                                  114 COTTAGE ST                                                                                  POTTERVILLE        MI    48876‐9787
MICHAEL C ROCHE                                   4603 LYNN BURKE RD                                                                              MONROVIA           MD    21770‐9428
MICHAEL C SANTORO CUST ANTHONY MICHAEL            305 WREN DR                                                                                     GREENSBURG         PA    15601‐4742
SANTORO UTMA PA
MICHAEL C SARK                                    2102 W 3RD AVE                                                                                  FLINT              MI    48504‐4835
MICHAEL C SCHAEFER & DIANA K SCHAEFER JT TEN      9226 S CREEK RD                                                                                 BELOIT             WI    53511‐7943

MICHAEL C SCULLY                                  265 VIA ESPLANADE                                                                               DENISON            TX    75021‐7193
MICHAEL C SEMCHENA                                38912 WOODMOUNT DRIVE                                                                           STERLING HEIGHTS   MI    48310‐3237

MICHAEL C SEYFRIED                                1554 ROBERTS RD                                                                                 FRANKLIN           IN    46131‐1139
MICHAEL C SHERLOCK                                5045 GRAFTON RD                                                                                 BRUNSWICK          OH    44212‐1013
MICHAEL C SHOKES                                  28 WENDY LANE                                                                                   CHARLESTON         SC    29407‐5357
MICHAEL C SKRETNY                                 74 W CAVALIEN DR                                                                                CHEEKTOWN          NY    14227‐3526
MICHAEL C SMITH                                   6281 OHLS DRIVE                        PO BOX 274                                               WEIDMAN            MI    48893‐0274
MICHAEL C SPLEET & MARY KAY SPLEET JT TEN         13101 VILLAGE CT                                                                                CLIO               MI    48420‐8263
MICHAEL C STARNS                                  PO BOX 244                                                                                      PATRICKSBURG       IN    47455‐0244
MICHAEL C STRICKLIN                               3437 COURTWAY                                                                                   BALTIMORE          MD    21222‐5927
MICHAEL C SWARTZ                                  2341 BALTUSROL DR                                                                               COMMERCE           MI    48382‐4884
                                                                                                                                                  TOWNSHIP
MICHAEL C THOMAS                                  129 ROBERT ADAMS DR                    COURTICE ON                            L1E 2B9 CANADA
MICHAEL C THOMAS                                  GM OF CANADA                           1908 COLONEL SAM DRIVE ON              L1H 8P7 CANADA
MICHAEL C TOPELIAN                                10699 DOUGLAS RD                                                                                TEMPERANCE         MI    48182‐2705
MICHAEL C TORRETTA                                12112 W LAYTON AVE                                                                              GREENFIELD         WI    53228
MICHAEL C TRAINOR                                 15 MAPLE ROAD                                                                                   WARREN             RI    02885‐1420
MICHAEL C VERMEERSCH                              4319 BECKETT PLACE                                                                              SAGINAW            MI    48603‐2005
MICHAEL C VIGLIANCO                               303 PROSPECT ST                                                                                 BELVIDERE          NJ    07823
MICHAEL C WARK                                    216 WESTBROOK AVENUE                                                                            DELPHOS            OH    45833‐1657
MICHAEL C WARMBIER & JOAN M WARMBIER JT TEN       PO BOX 596                                                                                      WEST CHESSTER      OH    45071‐0596

MICHAEL C WEAVER                                  16339 GREENFIELD ST                                                                             MORENO VALLEY      CA    92551‐7227
MICHAEL C WHITNEY                                 2402 OHMER ROAD                                                                                 MAYVILLE           MI    48744‐9566
MICHAEL C WILKINSON                               12740 MURRAY ST                                                                                 TAYLOR             MI    48180‐4214
MICHAEL C WILLIAMS                                7812 W 66TH ST                                                                                  BEDFORD PARK       IL    60501‐1906
MICHAEL C WILLIAMS                                18115 LITTLEFIELD                                                                               DETROIT            MI    48235‐1466
MICHAEL C WILLIAMS & MRS AMY M WILLIAMS JT TEN    18115 LITTLEFIELD                                                                               DETROIT            MI    48235‐1466

MICHAEL C WRIGHT                                416 S DAVISON ST                                                                                  DAVISON            MI    48423‐1602
MICHAEL CAGNEY                                  5225 BOXWOOD LN                                                                                   MC KINNEY          TX    75070‐7665
MICHAEL CAIATI CUST KAYLAN MARIE CAIATI UGMA WI 7230 DORCHESTER                                                                                   GREENDALE          WI    53129‐2218

MICHAEL CAIATI CUST KELVIN FRANK CAIATI UGMA WI   7230 DORCHESTER                                                                                 GREENDALE          WI    53129‐2218
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MICHAEL CALDARELLI                              93 CLEARWATER CIR                                                                                ROCHESTER         NY    14612‐3090
MICHAEL CAMPODONICO                             120 PINEVIEW LANE                                                                                MENLO PARK        CA    94025‐5540
MICHAEL CAMPOS                                  267 QUAKER RD                                                                                    POMONA            NY    10970‐2828
MICHAEL CANIPE                                  2 SHADY LN                                                                                       CANDLER           NC    28715
MICHAEL CAREY                                   16 PROSPECT AVE                                                                                  ARDSLEY           NY    10502‐2309
MICHAEL CAREY                                   22 NED DR                                                                                        MATAWAN           NJ    07747
MICHAEL CAROLLO JR & SALLY J CAROLLO JT TEN     22437 ROSEDALE                                                                                   ST CLAIR SHORES   MI    48080‐3859
MICHAEL CARROLL                                 36 BUCKLEY HILL RD                                                                               MORRIS TOWNSHIP   NJ    07960‐2623

MICHAEL CARTWRIGHT                              5825 ROYAL OAKS DR                                                                               SAINT PAUL        MN    55126‐8420
MICHAEL CARUSO                                  28001 ELLIS CT                                                                                   SAUGUS            CA    91350‐1955
MICHAEL CASEY                                   49 WAXWING LN                                                                                    ALISO VIEJO       CA    92656‐1792
MICHAEL CASTRO JR                               729 LIVINGSTON                                                                                   PONTIAC           MI    48340‐2446
MICHAEL CATALANO                                FRIENDLY RD                                                                                      BREWSTER          NY    10509
MICHAEL CECIL                                   3 EVERGREEN DR                                                                                   RUMSON            NJ    07760‐1930
MICHAEL CELESTINO                               52 ANTON DR                                                                                      CARMEL            NY    10512‐4073
MICHAEL CERNIGLIARO                             412 WINDEMERE AVE                                                                                INTERLAKEN        NJ    07712
MICHAEL CESARE                                  4003 SILVER RIDGE BLVD                                                                           MISSOURI CITY     TX    77459‐6333
MICHAEL CHANDLER                                BOX #3987                                                                                        TELLURIDE         CO    81435‐3987
MICHAEL CHAPMAN                                 PO BOX 85892                                                                                     WESTLAND          MI    48185‐0892
MICHAEL CHARLES CONNOLLY U/GDNSHP OF SANDRA P   412 PIPER PL                                                                                     SAINT JOHNS       FL    32259‐4320
CONNOLLY
MICHAEL CHARLES CUSHING                         210 EAST ST                                                                                      HINGHAM           MA    02043‐2020
MICHAEL CHARLES GABEL                           2071 ARTHUR AVE                                                                                  LAKEWOOD          OH    44107
MICHAEL CHARLES GRIFFIN                         2939 BEECHWOOD SE                                                                                GRAND RAPIDS      MI    49506‐4212
MICHAEL CHARLES MARDO                           8 PEN‐Y‐BRYN DR                                                                                  SCRANTON          PA    18505‐2220
MICHAEL CHARLES NEWMAN                          16 OSAGE ROAD                                                                                    WEST HARTFORD     CT    06117‐1334
MICHAEL CHARLES SAUNDERS                        202 SHERWOOD GREEN COURT                                                                         MASON             OH    45040‐2257
MICHAEL CHARNEY & MURIEL N CHARNEY JT TEN       275 SOMERSHIRE DR                                                                                ROCHESTER         NY    14617‐5625
MICHAEL CHIPKA                                  814 10TH STREET                                                                                  SPARKS            NV    89431‐4404
MICHAEL CHISDAK                                 49 MOUNTAIN BROOK DR                                                                             VESTAL            NY    13850‐2963
MICHAEL CHOBANIAN & SUSAN L CHOBANIAN JT TEN    5303 S 22ND PL                                                                                   MILWAUKEE         WI    53221

MICHAEL CHOMIK                                311 WAHL ROAD                                                                                      ROCHESTER         NY    14609‐1810
MICHAEL CHUDNOW                               19505 SALISBURY ST                                                                                 ST CLR SHORES     MI    48080‐1616
MICHAEL CIERECK                               318 WADSWORTH ST                                                                                   SYRACUSE          NY    13208‐3032
MICHAEL CIESLAK                               27 MONTBLEU DR                                                                                     GETZVILLE         NY    14068‐1327
MICHAEL CLARENCE SMYTHE & ISOBEL GRACE SMYTHE PO BOX 158                                CAMBRIDGE                              NEW ZEALAND
JT TEN
MICHAEL CLEMENTS                              410 JEFFERSON VLY                                                                                  COATESVILLE       IN    46121‐8939
MICHAEL COHEN                                 42 POCANTICO RIVER ROAD                                                                            PLEASANTVILLE     NY    10570‐3510
MICHAEL COHEN & LILA COHEN JT TEN             36 ROCKRIDGE DR                                                                                    RYE BROOK         NY    10573‐1218
MICHAEL COHEN & STEPHANIE COHEN JT TEN        1666 CHATEAU DR                                                                                    DUNWOODY          GA    30338‐6048
MICHAEL COLEMAN MC GRATH                      3126 MALVASIA COURT                                                                                PLEASANTON        CA    94566‐6949
MICHAEL COLLINS MCGREE                        PO BOX 861                                                                                         CANYONVILLE       OR    97417‐0861
MICHAEL COLOTTA CUST KIMBERLY COLOTTA UGMA MA 57 KAREN LANE                                                                                      ABINGTON          MA    02351‐1527

MICHAEL COMER                                   2213 OAK BRANCH CIRCLE                                                                           FRANKLIN          TN    37064‐7434
MICHAEL CONDON                                  137 N WALNUT ST                                                                                  ELMHURST          IL    60126‐2633
MICHAEL CONNER                                  1769 W GRAND BLVD                                                                                DETROIT           MI    48208‐1003
MICHAEL CONNORS                                 8995 IROQUOIS ST                                                                                 ANGOLA            NY    14006‐9688
MICHAEL CONWAY & KATHERINE CONWAY JT TEN        611 LOMBARDY LANE                                                                                LAGUNA BEACH      CA    92651‐2910
MICHAEL CONWAY & STEPHANIE K CONWAY JT TEN      622 SERENO VIEW RD                                                                               ENCINITAS         CA    92024‐6546

MICHAEL COOK                                    415 S 14TH ST                                                                                    BELLEVILLE        IL    62220‐1720
MICHAEL COOK                                    420 PALM DRIVE                                                                                   SAINT SIMONS      GA    31522‐1441
                                                                                                                                                 ISLAN
MICHAEL COOLEY                                  18508 LITTLEFIELD ST                                                                             DETROIT           MI    48235‐1380
MICHAEL CORKUM                                  PO BOX 31209                            HALIFAX NS                             B3K 5Y1 CANADA
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MICHAEL CORMAN                                  208 RUSSELL AVE                                                                                BARRINGTON        NJ    08007‐1222
MICHAEL COSTANZA                                161 WATSON CIRCLE                                                                              MONTGOMERY        AL    36109‐4120
MICHAEL COSTANZO                                2 DOROTHY CT                                                                                   HAWTHORNE         NY    10532‐2109
MICHAEL COSTANZO CUST PAIGE BAKER UTMA NY       2328 SARATOGA ST                                                                               OCEANSIDE         NY    11572‐1434
MICHAEL COX                                     818 COVEHEAD CRES                     GLOUCESTER ON                          K1V 1M3 CANADA
MICHAEL COYLE                                   545 N 4TH ST #144B                                                                             MONTERCELLO       CA    90640‐3614
MICHAEL CROUCH                                  18400 WHITCOMB                                                                                 DETROIT           MI    48235‐2842
MICHAEL CRUSHA                                  911 SE 12TH ST                                                                                 MINERAL WELLS     TX    76067
MICHAEL CUMMINGS                                2092 SEYMOUR RD                                                                                SWARTZ CREEK      MI    48473‐9773
MICHAEL CURHAN & SUZAN CURHAN JT TEN            5033 GRENSWARD CT                                                                              W BLOOMINGFIELD   MI    48322‐3968

MICHAEL D ACKLEY                                5967 SUNDANCE TRL                                                                              BRIGHTON          MI    48116‐9747
MICHAEL D ALBERTSON                             2335 N WILLIAMSTON ROAD                                                                        WILLIAMSTON       MI    48895‐9748
MICHAEL D ALCOCK                                108 W NIXON                                                                                    STRAFFORD         MO    65757‐8667
MICHAEL D ALEXEE                                2505 ANTHONY CR                                                                                HUBBARD           OH    44425‐3101
MICHAEL D ALLEN                                 831 HIGHRIDGE AVE                                                                              DAYTON            OH    45420‐2738
MICHAEL D ANTLE                                 8410 4TH PLACE SE                                                                              EVERETT           WA    98205‐4906
MICHAEL D ARKWRIGHT                             75 S HOLCOMB RD                                                                                CLARKSTON         MI    48346
MICHAEL D BAKER                                 670 SW 23RD RD PLACE                                                                           VERO BEACH        FL    32962‐1386
MICHAEL D BALFOUR & MABEL E BALFOUR JT TEN      106 HARRISON AVENUE                                                                            GARDEN CITY       MI    48135‐3123
MICHAEL D BANKS                                 1804 NW ASHTON DR                                                                              BLUE SPRINGS      MO    64015‐2986
MICHAEL D BARBER                                77 EAST AVE                                                                                    HOLLEY            NY    14470‐1034
MICHAEL D BATES & ERIKA A BATES JT TEN          21945 NORTH NUNNELEY                                                                           CLINTON TWP       MI    48036‐2714
MICHAEL D BAULCH & GAIL M BAULCH JT TEN         2983 GINGERWOOD CIRCLE                                                                         FULLERTON         CA    92835‐2343
MICHAEL D BEAN                                  2774 LONE PINE RD                                                                              GAYLORD           MI    49735‐8601
MICHAEL D BEATTY                                825 PONTIUS RD                                                                                 CINCINNATI        OH    45233‐4539
MICHAEL D BECK                                  1112 LASK ST                                                                                   FLINT             MI    48532‐3633
MICHAEL D BENDER & KATHLEEN A BENDER JT TEN     9947 RIVERSIDE DR R 1                                                                          EAGLE             MI    48822‐9716

MICHAEL D BENEDICT                              16035 WILLOWSHORE DR                                                                           FENTON            MI    48430‐9104
MICHAEL D BILOTTA                               10790 HART                                                                                     HUNTINGTON        MI    48070‐1130
                                                                                                                                               WOODS
MICHAEL D BLUE                                  2086 ROAD 19A                                                                                  CONTINENTAL       OH    45831‐9747
MICHAEL D BONE                                  32981 PIERCE                                                                                   GARDEN CITY       MI    48135‐1121
MICHAEL D BRADFIELD                             5746 FAIRLEE RD                                                                                ANDERSON          IN    46013‐9742
MICHAEL D BRADY                                 108 PLUMMER AVE                                                                                ESSEXVILLE        MI    48732‐1134
MICHAEL D BRAMEL                                900 N 375W                                                                                     SUMMITVILLE       IN    46070‐9340
MICHAEL D BRAMEL & CHRISTY D BRAMEL JT TEN      18791N 375W                                                                                    SUMMITVILLE       IN    46070‐9340
MICHAEL D BRENNAN                               2145 ETHEL AVENUE                                                                              SAGINAW           MI    48603‐4014
MICHAEL D BRENNER                               10102 GALAHAD RD                                                                               PHILADELPHIA      PA    19116‐3801
MICHAEL D BROOKS                                2507 WILD SPRINGS CT                                                                           DECATOR           GA    30034‐7101
MICHAEL D BROOKS                                204 JAMIE CIR                                                                                  SISSETON          SD    57262‐2401
MICHAEL D BROOKS                                12810 GREGWARE DR                                                                              SAND LAKE         MI    49343‐9592
MICHAEL D BROOME                                2401 BLOXOM ST                                                                                 GROVE CITY        OH    43123‐8486
MICHAEL D BROWN                                 373 LAKEWOOD BLVD                                                                              PARK FOREST       IL    60466
MICHAEL D BROWN                                 3875 HERMANSAU RD                                                                              SAGINAW           MI    48603‐2524
MICHAEL D BROWN SR                              P O BOX 29327                         SHREIVEPORT                                              SHREVEPORT        LA    71149
MICHAEL D BRYANT                                4437 DUDLEY RD                                                                                 MANTUA            OH    44255‐9477
MICHAEL D BRYANT                                11001 S BAY LANE                                                                               AUSTIN            TX    78739‐1563
MICHAEL D CADE                                  2517 WEBBER                                                                                    SAGINAW           MI    48601
MICHAEL D CADY                                  7107 E HILL RD                                                                                 GRAND BLANC       MI    48439‐9169
MICHAEL D CALVERT                               1313 HIGHWAY E                                                                                 SILEX             MO    63377‐2438
MICHAEL D CAMRAS                                890 PIPPIN AVE                                                                                 SUNNYVALE         CA    94087‐1151
MICHAEL D CASEY                                 125 PLANTATION TRCE                                                                            WOODSTOCK         GA    30188‐2271
MICHAEL D CHAMBERS                              2765 N LINCOLN RD                                                                              LUDINGTON         MI    49431‐9510
MICHAEL D CHIVERTON CUST MICHAEL J CHIVERTON    6 HOLLY HILL DR                                                                                WINGDALE          NY    12594‐9603
UGMA NY
MICHAEL D CLAYA                                 5568 ANNADALE DR                                                                               VIRGINIA BCH      VA    23464‐8701
MICHAEL D CLEES                                 1700 LOCKHAVEN                                                                                 W BLOOMFIELD      MI    48324
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MICHAEL D COLOTTA CUST LAURA A COLOTTA UGMA     57 KAREN LANE                                                                                 ABINGTON           MA    02351‐1527
MA
MICHAEL D COMPTON                               6530 HARDING                                                                                  DETROIT            MI    48213‐3261
MICHAEL D CONNOR                                6 INDEPENDENCE COURT                                                                          NEW CITY           NY    10956‐6902
MICHAEL D CONNORS                               1044 ABBOTT RD                                                                                ROSE CITY          MI    48654
MICHAEL D COOPER                                56 N BALDWIN                                                                                  CLARKSTON          MI    48348‐2300
MICHAEL D COSTA                                 212 EAST STREET                                                                               HOLLY              MI    48442‐1435
MICHAEL D COSTELLO                              10265 E BIRCH RUN RD                                                                          BIRCH RUN          MI    48415‐9440
MICHAEL D CREER                                 2883 JASON STREET                                                                             CARMEL             IN    46033‐8760
MICHAEL D CROXTON SR                            2618 BRUNO                                                                                    OVERLAND           MO    63114‐1228
MICHAEL D CZARNIK                               11798 N FLEMING RD                                                                            FOWLERVILLE        MI    48836‐9577
MICHAEL D DANES                                 2526 MAURER ROAD                                                                              CHARLOTTE          MI    48813‐8514
MICHAEL D DAVIS                                 61 MORROSS CIR                                                                                DEARBORN           MI    48126‐2395
MICHAEL D DEAL                                  112 BARLOW ST                                                                                 BRISTOL            CT    06010‐4004
MICHAEL D DEBARBA                               16704 STATE RTE 15                                                                            DEFIANCE           OH    43512‐8955
MICHAEL D DEGARMO                               PO BOX 21                                                                                     RAPID RIVER        MI    49878‐0021
MICHAEL D DEZERGA                               26 SILLIMAN RD                                                                                WALLINGFORD        CT    06492‐2036
MICHAEL D DICHTL                                PO BOX 115                                                                                    WARRENVILLE        IL    60555‐0115
MICHAEL D DOMBROWSKI                            19665 TWIN SCHOOL HWY                                                                         ONAWAY             MI    49765‐9635
MICHAEL D DOMINICK                              14458 VALE CT                                                                                 STERLING HEIGHTS   MI    48312‐2574

MICHAEL D DONOHUE                               266 WEATHERBURN DR                                                                            POWELL             OH    43065‐9117
MICHAEL D DOWELL                                8592 GULL RD                                                                                  RICHLAND           MI    49083‐9647
MICHAEL D DRAPER                                PSC 473 BOX 864                                                                               FPO                AP    96349‐5555
MICHAEL D DRURY                                 415 CHATEAU CT                                                                                BLUE SPRINGS       MO    64014‐1679
MICHAEL D DURAND                                365 BOSTON POST RD #213                                                                       SUDBURY            MA    01776‐3023
MICHAEL D DUTCHER                               6503 KEMLER TRAIL NE                                                                          KALKASKA           MI    49646‐7948
MICHAEL D EAGAN                                 21 CORNWALL CROSSING                                                                          ROCHESTER          NY    14624‐5009
MICHAEL D EAVES                                 42620 BRADNER                                                                                 NORTHVILLE         MI    48167‐2261
MICHAEL D EDLESTON                              26661 ROBERTA                                                                                 ROSEVILLE          MI    48066‐7134
MICHAEL D EDWARDS                               1918 W 230TH STREET                                                                           TORRANCE           CA    90501‐5523
MICHAEL D EERDMANS                              1152 BUCKINGHAM ST SW #1                                                                      WYOMING            MI    49509‐2833
MICHAEL D EIKENBERG                             317 PROSPECT BAY DR W                                                                         GRASONVILLE        MD    21638‐1199
MICHAEL D FAIBISOFF                             9 LINDEN ST                                                                                   FRAMINGHAM         MA    01702‐6311
MICHAEL D FALIS                                 25 ALANBY DR                                                                                  MERIDEN            CT    06451
MICHAEL D FEDDERSEN                             1954 HILLCREST RD                    APT 10                                                   LOS ANGELES        CA    90068‐3144
MICHAEL D FINCANNON                             4708 SHORELINE BLVD                                                                           WATERFORD          MI    48329‐1658
MICHAEL D FLANIGAN                              6780 DUME DRIVE                                                                               MALIBU             CA    90265
MICHAEL D FLOYD                                 PO BOX 541                                                                                    GOULDS             FL    33170
MICHAEL D FORKNER                               228 W ADAMS ST                                                                                TIPTON             IN    46072‐2009
MICHAEL D FORSTER                               1640 SHORELINE DR                                                                             HARTLAND           MI    48353‐3333
MICHAEL D FURMAN & MICHAEL R FURMAN JT TEN      11321 WILSHIRE                                                                                SHELBY TWSP        MI    48315‐6679

MICHAEL D GADDIS                                7468 BEEBE DR                                                                                 GREENWOOD          LA    71033‐3317
MICHAEL D GALLANT                               PO BOX 98                                                                                     FLUSHING           MI    48433
MICHAEL D GALLER                                12780 SW 117TH ST                                                                             MIAMI              FL    33186‐4613
MICHAEL D GARCIA                                9959 MINOC                                                                                    DETROIT            MI    48228‐1343
MICHAEL D GARDNER & LANELL J GARDNER JT TEN     1418 GREYCOURT AVE                                                                            RICHMOND           VA    23227‐4046

MICHAEL D GARZA                                 PO BOX 19358                                                                                  DENVER             CO    80219‐0358
MICHAEL D GASICIEL                              1985 LAKE LANSING RD #22                                                                      HASLETT            MI    48840‐9510
MICHAEL D GAUVIN                                1228 CLAGUE ST                                                                                ANN ARBOR          MI    48103‐5312
MICHAEL D GILLETT                               3032 W FRANCES RD                                                                             CLIO               MI    48420‐8564
MICHAEL D GOULDING                              2717 GROVENBERG RD                                                                            LANSING            MI    48911‐6450
MICHAEL D GRAFF                                 1308 NW 4TH AVE                                                                               FT LAUDERDALE      FL    33311‐6048
MICHAEL D GREEN                                 10913 WHITERIM DR                                                                             POTOMAC            MD    20854‐1787
MICHAEL D GREEN                                 4330 GRAVITT RD                                                                               CUMMING            GA    30040
MICHAEL D GREENE                                3741 CLINTONVILLE                                                                             WATERFORD          MI    48329‐2416
MICHAEL D GREGORY                               8132 ALAN DR                                                                                  CAMBY              IN    46113‐9427
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MICHAEL D HAAG                                    1497 N IONIA RD                                                                                 VERMONTVILLE    MI    49096‐9558
MICHAEL D HALE                                    162 WHITNEY PLACE                                                                               BUFFALO         NY    14201‐1908
MICHAEL D HALL                                    1610 NO FAIRVIEW ST                                                                             BURBANK         CA    91505‐1658
MICHAEL D HAMILTON                                1310 GRANGE HALL                                                                                FENTON          MI    48430‐1622
MICHAEL D HAMMOND & LAURA L HAMMOND JT TEN        38320 TOWN HALL                                                                                 HARRISON TWPH   MI    48045‐5523

MICHAEL D HARMON                                  5580 WELLPOINT DR N E                                                                           ADA             MI    49301‐8348
MICHAEL D HARRIGAN & ANGELA M HARRIGAN JT TEN     900 BRADDOCK ROAD                                                                               ENTERPRISE      FL    32725‐8705

MICHAEL D HARRINGTON                            PO BOX 588                                                                                        GRAND BLANC     MI    48480‐0588
MICHAEL D HARRIS                                127 GRESHAM RD                                                                                    BURKBURNETT     TX    76354‐1831
MICHAEL D HARRIS                                2144 CREEKVIEW TRAIL                                                                              DECATUR         GA    30035‐3639
MICHAEL D HASKINS                               6787 JORDAN RD                                                                                    WOODLAND        MI    48897‐9608
MICHAEL D HAUK                                  849 CHERRY BLOSSOM DR                                                                             DAYTON          OH    45449‐1550
MICHAEL D HEILMAN TR MICHAEL D HEILMAN TRUST UA 4484 SUMMERWIND CT                                                                                CINCINNATI      OH    45252‐1946
01/27/97
MICHAEL D HEMINGER                              106 EMS C19 LN                                                                                    WARSAW          IN    46582‐9195
MICHAEL D HENRY                                 PO BOX 71                                                                                         EMPIRE          MI    49630
MICHAEL D HERMAN                                PO BOX 280                                                                                        UNIONVILLE      MI    48767‐0280
MICHAEL D HERRON                                4033 CANEY CREEK LANE                                                                             CHAPEL HILL     TN    37034‐2076
MICHAEL D HEUER                                 25950 ROGELL                                                                                      HURONTOWNSHIP   MI    48164‐9532

MICHAEL D HOLDEN                                  5449 ANTOINETTE DR                                                                              GRAND BLANC     MI    48439‐4310
MICHAEL D HOWARD EX EST R W HOWARD                1118 ASCOTT VALLEY DR                                                                           DULUTH          GA    30097‐5922
MICHAEL D HOWITT                                  2115 NIXON RD                                                                                   HOWELL          MI    48843
MICHAEL D HUGHES CUST JOSEPH A HUGHES UGMA CA     PO BOX 1827                                                                                     ST GEORGE       UT    84771‐1827

MICHAEL D HUTTON                                  2100 W BEACH DR APT Y104                                                                        PANAMA CITY     FL    32401‐1687
MICHAEL D JOHANSEN                                54027 BENT RD                                                                                   MARCELLUS       MI    49067‐9350
MICHAEL D JOHNSON                                 15292 ROAD 149                                                                                  DEFIANCE        OH    43512‐9313
MICHAEL D JUSTIN                                  355 BAY POINTE RD                                                                               LAKE ORION      MI    48362‐2572
MICHAEL D KAGEN                                   201 TESSIER LN                                                                                  NORTHBRIDGE     MA    01534‐1195
MICHAEL D KELLEY                                  2501 N MORRISON ROAD                                                                            MUNCIE          IN    47304‐5070
MICHAEL D KELLEY                                  703 INVERNESS CL                                                                                BIRMINGHAM      AL    35242‐3718
MICHAEL D KELLEY CUST ERIN ADAIR BAILEY UTMA AL   1248 DAVID DR                                                                                   PELHAM          AL    35124

MICHAEL D KELLEY CUST JOSHUA DAMIEN KELLEY UTMA 1248 DAVID DR                                                                                     PELHAM          AL    35124
AL
MICHAEL D KELLEY CUST KATHLEEN CARTER KELLEY    703 INVERNESS CLIFFS                                                                              BIRMINGHAM      AL    35242‐3718
UTMA AL
MICHAEL D KENDALL & DAVID A KENDALL JT TEN      15312 THORNRIDGE DR                                                                               GRAND BLANC     MI    48439‐9203
MICHAEL D KENNEY & SUSIE KENNEY TR KENNEY FAM   1133 FAIR WEATHER CIRCLE                                                                          CONCORD         CA    94518‐1939
TRUST UA 12/22/97
MICHAEL D KIDD & KATHERINE S KIDD JT TEN        21126 ANGELA SQ                                                                                   STERLING        VA    20166‐2423
MICHAEL D KINIRY                                401 ADA STREET                                                                                    SOUTH LYON      MI    48178‐1323
MICHAEL D KNIPP                                 1166 E COOPER DR                                                                                  EDGERTON        WI    53534‐9022
MICHAEL D KOENIGSKNECHT                         524 WALNUT ST                                                                                     FOWLER          MI    48835‐9704
MICHAEL D KRIEGER                               1200 ZIMOWSKI RD                                                                                  MIO             MI    48647‐9508
MICHAEL D KUCHAR & BARBARA M KUCHAR JT TEN      809 BELLIS PKWY                                                                                   ORADELL         NJ    07649‐2014

MICHAEL D LAMBROS                                 420 CHESTNUT HILL RD                                                                            FOREST LAKE     MD    21050‐1506
MICHAEL D LARR                                    407 NORTH STREET                                                                                HOLLY           MI    48442‐1216
MICHAEL D LEACH                                   2475 POPLAR GROVE RD                                                                            SPRINGVILLE     TN    38256‐5308
MICHAEL D LEIGHT                                  310 MORSE DR                                                                                    SIX LAKES       MI    48886
MICHAEL D LEIS                                    15562 DECHANT RD                                                                                FARMERSVILLE    OH    45325‐8232
MICHAEL D LIECHTI                                 3182 BIRCHLANE DRIVE                                                                            FLINT           MI    48504‐1202
MICHAEL D LIPSEY                                  734 GUILFORD ST                                                                                 HUNTINGTON      IN    46750
MICHAEL D LIVENGOOD                               3 MATTOX LN                                                                                     WRIGHT CITY     MO    63390‐5501
MICHAEL D LONG & NANCY J LONG JT TEN              4500 FARM TO MARKET RD                                                                          WHITEFISH       MT    59937‐8315
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MICHAEL D LONGSTAFF                                4379 HAZEL ST                                                                                 CLARKSTON         MI    48348‐1434
MICHAEL D LUBAWSKI                                 125 SENTER LANE                                                                               BUNNLEVEL         NC    28323‐8336
MICHAEL D LYSTER & EMILY D LYSTER JT TEN           1519 DAIRY ROAD                                                                               CHARLOTTESVILLE   VA    22903‐1303

MICHAEL D MAC CLAREN & JANE MAC CLAREN JT TEN      8133 POTTER RD                                                                                DAVISON           MI    48423‐8165

MICHAEL D MACDONALD                                HANAU HIGH SCHOOL                    SMR 470 BOX 7323                                         APO               AE    09165
MICHAEL D MACKEL TR UA 06/08/06 MICHAEL D          BOX 16163                                                                                     BEVERLY HILLS     CA    90209
MACKEL TRUST
MICHAEL D MALAGA                                   186 RANDALL                                                                                   TROY              MI    48098‐5526
MICHAEL D MALONE                                   4318 LAWNWOOD LN                                                                              BURTON            MI    48529‐1931
MICHAEL D MALONE CUST JOHN DAVID LARSON UTMA       2430 LEMON TREE LN                                                                            CHARLOTTE         NC    28211
NC
MICHAEL D MARSHALL                                 1892 HALL STREET                                                                              HOLT              MI    48842‐1703
MICHAEL D MARSHALL                                 1307 ANSBURY                                                                                  HOUSTON           TX    77018‐7303
MICHAEL D MARTIN                                   393 S BRIARCLIFF DR                                                                           CANFIELD          OH    44406‐1016
MICHAEL D MARTYNIAK                                3886 NORWICH DR                                                                               CANTON            MI    48188‐7232
MICHAEL D MC DONALD                                67 N ST NW                                                                                    WASHINGTON        DC    20001‐1254
MICHAEL D MC KERNAN                                13930 JEFFERSON DAVIS HWY                                                                     WOODBRIDGE        VA    22191‐2039
MICHAEL D MCCLENDON                                712 STRAWBERRY ST                                                                             DUNDEE            MI    48131‐1043
MICHAEL D MCKENNA                                  7912 PINNOCHIO AVENUE                                                                         LAS VEGAS         NV    89131‐3587
MICHAEL D MCKINNEY                                 1744 PETROLIA                                                                                 WEST BLOOMFIELD   MI    48324‐3961

MICHAEL D MEADER                                   6205 NEW LOTHROP RD                                                                           NEW LOTHROP       MI    48460‐9750
MICHAEL D MEFFERT                                  1586 MOSSY CREEK RD                                                                           BRIDGEWATER       VA    22812‐2619
MICHAEL D MENNE                                    10406 HILL RD                                                                                 GOODRICH          MI    48438‐9712
MICHAEL D MERON                                    241 W NIKOLAUS                                                                                SHOW LOW          AZ    85901
MICHAEL D MIKLEVICH                                46799 HIDDLE BROOK                                                                            MACOMB            MI    48044
MICHAEL D MILBERG                                  5636 ALTON RD                                                                                 MIAMI             FL    33140‐2019
MICHAEL D MILLER                                   13183 SHERIDAN RD                                                                             MONTROSE          MI    48457‐9346
MICHAEL D MILLER                                   823 WALLER                                                                                    SAGINAW           MI    48602‐1614
MICHAEL D MINNOZZI CUST ADAM MICHAEL MINNOZZI      4758 LEDGEWOOD DR                    UNIT B5                                                  MEDINA            OH    44256‐9060
UTMA OH
MICHAEL D MITCHELL                                 19411 BEAVERLAND                                                                              DETROIT           MI    48219‐1830
MICHAEL D MODER & CHERYL L MODER JT TEN            5801 ROSEBROOK                                                                                TROY              MI    48098‐3880
MICHAEL D MOORE                                    102 EDENS EDGE                                                                                PEACHTREE CTY     GA    30269‐3501
MICHAEL D MORGAN                                   13401 NORTHFIELD BLVD                                                                         OAK PARK          MI    48237‐1645
MICHAEL D MORR                                     451 S CLAYTON RD                                                                              NEW LEBANON       OH    45345‐1652
MICHAEL D MULADORE                                 3585 WHITE TRILLIUM DR W                                                                      SAGINAW           MI    48603‐1981
MICHAEL D MULLIN                                   635 NO 5TH ST                                                                                 MIDDLETOWN        IN    47356‐1007
MICHAEL D MUNGER                                   9151 HIDDEN OAKS DR                                                                           GRAND BLANC       MI    48439
MICHAEL D NEFF                                     209 W RIVER ST                                                                                GRAND LEDGE       MI    48837‐1556
MICHAEL D NICCUM                                   7908 W KEY DR                                                                                 MUNCIE            IN    47304‐8824
MICHAEL D O'ROURKE                                 3920 OAK GROVE ROAD                                                                           NORTH BRANCH      MI    48461‐8910
MICHAEL D OGDEN                                    1643 GILMAR ROAD                                                                              APOLLO            PA    15613‐9231
MICHAEL D ORTWINE                                  4957 TIMBERWAY TRAIL                                                                          CLARKSTON         MI    48346‐4464
MICHAEL D PAULL                                    1220 ANDERSON RD                                                                              CUYAHOGA FALLS    OH    44221‐4304
MICHAEL D PAVELEK III CUST TUCKER A PAVELEK UTMA   122 E VALCOURT RD                                                                             GROVE CITY        PA    16127‐3732
MD
MICHAEL D PEARSON & JOYCE E PEARSON JT TEN         116 PUNKIN CT                                                                                 GREENFIELD        IN    46140‐3156
MICHAEL D PENZ                                     1280 DODGE RD                                                                                 GETZVILLE         NY    14068‐1308
MICHAEL D PERRY                                    536 E GLASS                                                                                   ORTONVILLE        MI    48462‐8879
MICHAEL D PESSEFALL                                08627 TRINITY RD                                                                              DEFIANCE          OH    43512‐9762
                                                                                                                                                 JUNCTION
MICHAEL D PHALEN                                   12480 E BRISTOL                                                                               DAVISON           MI    48423‐9114
MICHAEL D PHELPS                                   4419 S SHERIDAN RD                                                                            LENNON            MI    48449‐9403
MICHAEL D PIERCE                                   5405 N RIVER RD                                                                               JANESVILLE        WI    53545‐8923
MICHAEL D PIETRO & MARILYN L PIETRO JT TEN         39700 VALIANT                                                                                 STERLING HTS      MI    48313‐5172
MICHAEL D PRESSEL                                  9760 MINTWOOD DRIVE                                                                           CENTERVILLE       OH    45459
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MICHAEL D PROCASKEY                              5827 TROTTER LN                                                                                 WEST BLOOMFIELD MI     48322‐1636

MICHAEL D PUMPHREY & SHIRLEY A PUMPHREY JT TEN   9386 COUNTRY CLUB LANE                                                                          DAVISON          MI    48423‐8310

MICHAEL D PUTTS                                  708 WESSEX DRIVE                                                                                MURRELLS INLET   SC    29576
MICHAEL D PYLE                                   1029 BACON ST                                                                                   MONROE           MI    48161‐4030
MICHAEL D QUINN                                  15022HIX                                                                                        LIVONIA          MI    48154‐4873
MICHAEL D RANCK                                  5811 PINE BREEZE DR                                                                             CLARKSTON        MI    48346‐4090
MICHAEL D RANDOLPH                               4817 MUND RD                                                                                    SHAWNEE          KS    66218‐9091
MICHAEL D REITZ                                  7426 NOEL AVE                                                                                   DIMONDALE        MI    48821‐9549
MICHAEL D RICH                                   10603 N MICHIGAN AVE                                                                            KANSAS CITY      MO    64155
MICHAEL D RISCHOW                                7721 WOODLAND RD                                                                                LAKE ODESSA      MI    48849‐9323
MICHAEL D ROBERTO & LORRAINE C ROBERTO JT TEN    10338 GREENTRAIL DR N                                                                           BOYNTON BEACH    FL    33436‐4410

MICHAEL D ROHRER                                 4500 EDMUND BLVD                                                                                MINNEAPOLIS      MN    55406‐3629
MICHAEL D ROPER                                  1763 FISHING FORD RD                                                                            BELFAST          TN    37019‐2062
MICHAEL D ROSOCHACKI                             49385 STANTON CT                                                                                CANTON           MI    48188‐8010
MICHAEL D ROSS                                   2433 S SAN MATEO DR                                                                             NORTH PORT       FL    34288‐8245
MICHAEL D ROSSETTO                               5198 MAYBEE RD                                                                                  CLARKSTON        MI    48346‐4339
MICHAEL D ROSSMAN & BARBARA A ROSSMAN JT TEN     240 WEBER RD                                                                                    GLADWIN          MI    48624‐8541

MICHAEL D ROWAN                                  47684 HOPI RD                                                                                   COARSEGOLD       CA    93614‐9259
MICHAEL D RUDD                                   PO BOX 32427                                                                                    LOUISVILLE       KY    40232‐2427
MICHAEL D RUNNELS                                2434 SHAMROCK DR                                                                                SAN PABLO        CA    94806‐1540
MICHAEL D SALINAS                                3767 SKYVIEW DRIVE                                                                              JANESVILLE       WI    53546‐2024
MICHAEL D SALINAS & CAROLE D SALINAS JT TEN      3767 SKYVIEW DRIVE                                                                              JANESVILLE       WI    53546‐2024
MICHAEL D SAMSTAG                                2703 PETERSON LANE                                                                              SANDUSKY         OH    44870‐5940
MICHAEL D SANDOVAL                               10792 BRAUN RD                                                                                  MANCHESTER       MI    48158
MICHAEL D SASSEEN                                156 PLEASANT                                                                                    ROMEO            MI    48065‐5141
MICHAEL D SAVAGE                                 51 MCDANIEL DR                                                                                  JACKSON          TN    38305‐2527
MICHAEL D SCALLEN                                240 STEPHENS                                                                                    GROSSE POINTE    MI    48236‐3542
                                                                                                                                                 FARM
MICHAEL D SCHMIDTKE                              8435 NORBORNE                                                                                   DEARBORN HEIGHTS MI    48127‐1125

MICHAEL D SCHULTZ                                855 LEDDY                                                                                       SAGINAW          MI    48609‐9425
MICHAEL D SCHWARTZ                               112 MORTON BLVD                                                                                 PLAINVIEW        NY    11803‐5628
MICHAEL D SCHYCK                                 PO BOX 773                                                                                      CARNESVILLE      GA    30521‐0584
MICHAEL D SCOTT                                  1528 MONTREAL RD                                                                                TUCKER           GA    30084‐6701
MICHAEL D SCOTT                                  3 RADFORD COURT                                                                                 SIMPSONVILLE     SC    29680‐7064
MICHAEL D SHANNON                                G5009 W CARPENTER RD                                                                            FLINT            MI    48504
MICHAEL D SHARP                                  1428 PAR COURT                                                                                  LINDEN           MI    48451‐9403
MICHAEL D SHEA                                   208 WESTERLY TER                                                                                E HARTFORD       CT    06118‐3458
MICHAEL D SHEEAN                                 633 FOREST PARK LN                                                                              BOYNE CITY       MI    49712‐1683
MICHAEL D SHOECRAFT                              11294 OAK ROAD                                                                                  OTISVILLE        MI    48463‐9724
MICHAEL D SIECZKOWSKI                            4555 BUDD RD                                                                                    LOCKPORT         NY    14094‐9710
MICHAEL D SIMMONS                                25956 WOODBINE                                                                                  INKSTER          MI    48141‐1917
MICHAEL D SIMMONS & BARBARA A SIMMONS JT TEN     25956 WOODBINE                                                                                  INKSTER          MI    48141‐1917

MICHAEL D SIMONS & JENNIFER L SIMONS JT TEN      1 HOLLIS ST APT B                                                                               CAMBRIDGE        MA    02140
MICHAEL D SIMPKINS                               PO BOX 385                                                                                      GREENSBORO       AL    36744‐0385
MICHAEL D SLADE                                  181 ASHLAND CREEK CT                                                                            LAWRENCEVILLE    GA    30045‐6812
MICHAEL D SMALLWOOD                              2404 N STATE ROAD 39                                                                            DANVILLE         IN    46122‐8217
MICHAEL D SMITH                                  447 PENNY LAKE DR                                                                               WOLVERINE LAKE   MI    48390‐2340
MICHAEL D SMITH                                  262 BELMONT CT W                                                                                NORTH TONA       NY    14120‐4862
MICHAEL D SMITH                                  9455 SKY VISTA PKWY                    APT 22F                                                  RENO             NV    89505‐2049
MICHAEL D SMITH                                  2120 ROCKY FORK CHURCH RD                                                                       SANFORD          NC    27332‐0581
MICHAEL D SMITH                                  31 SPRUCE LANE                                                                                  OAKDALE          CT    06370‐1330
MICHAEL D SOKOL                                  43 BAILEY                                                                                       ADRIAN           MI    49221‐8636
MICHAEL D SOUZA                                  488 CEDAR VALLEY DR                                                                             CLARKSVILLE      TN    37043‐5597
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MICHAEL D SPEAR                              627 GLEN ECHO RD                                                                              PHILADELPHIA    PA    19119‐2919
MICHAEL D SPEARS                             1630 OWEN                                                                                     SAGINAW         MI    48601‐2852
MICHAEL D SPEDOSKE                           #1                                   9245 W M‐78                                              HASLETT         MI    48840‐9201
MICHAEL D STEFFES                            36621 DOWLING                                                                                 LIVONIA         MI    48150‐3415
MICHAEL D STEWARD                            12333 STANLEY RD                                                                              COLUMBIAVILLE   MI    48421‐8804
MICHAEL D STINSON                            1505 E 31ST ST                                                                                ANDERSON        IN    46016‐5627
MICHAEL D SULLIVAN                           5777 W CARO RD                                                                                VASSAR          MI    48768‐9757
MICHAEL D SUROVEY                            1276 OVERLOOK RD                                                                              LAKEWOOD        OH    44107‐1036
MICHAEL D SWEENEY                            1170 HIGHLAND DR                                                                              GRAND HAVEN     MI    49417‐2417
MICHAEL D TAYLOR                             32070 HAZELWOOD                                                                               WESTLAND        MI    48186‐4931
MICHAEL D TAYLOR                             5480 W JASON ROAD                                                                             ST JOHNS        MI    48879‐9253
MICHAEL D TEMBREULL                          300 TOWER BAY DRIVE                                                                           MICHIGAMME      MI    49861
MICHAEL D THACKER                            5265 W BARNWOOD DR                                                                            NEW PALESTINE   IN    46163‐9475
MICHAEL D THAYER                             11800 WINFORE DR                                                                              MIDLOTHIAN      VA    23113
MICHAEL D THOMAS                             17609 HARTWELL                                                                                DETROIT         MI    48235‐2639
MICHAEL D THOMPSON                           511 E 38TH ST                                                                                 ANDERSON        IN    46013‐4901
MICHAEL D THORN                              290 NICE PLACE RD                                                                             CLEVER          MO    65631‐6672
MICHAEL D TIERNAN                            8790 BEACHWOOD ST                                                                             CLARKSTON       MI    48348‐3407
MICHAEL D TOMBERS                            12709 BEAVER DEN TRAILS                                                                       LOCKPORT        IL    60441‐9025
MICHAEL D TOTH                               4252 POINTE AUX PEAUX                                                                         NEWPORT         MI    48166‐9506
MICHAEL D TROTTER                            11728 N MARTINDALE                                                                            DETROIT         MI    48204‐1694
MICHAEL D TROYER                             ROUTE 2                                                                                       CLOVERDALE      OH    45827‐9802
MICHAEL D ULRICH                             PO BOX 6325                                                                                   PLYMOUTH        MI    48170‐0333
MICHAEL D UNSETH                             1327 SOUTH WALNUT                                                                             JANESVILLE      WI    53546
MICHAEL D WALSH                              3510 BEECHWOOD LANE                                                                           ANDERSON        IN    46011‐3808
MICHAEL D WATSON                             5892 RED OAK CRT                                                                              DAYTON          OH    45424
MICHAEL D WAY                                2622 MORGAN RD                                                                                NASHVILLE       MI    49073‐9772
MICHAEL D WEBB                               23469 ANNAPOLIS                                                                               DEARBORN        MI    48125‐2200
MICHAEL D WEBER                              304 BRUCE COURT                                                                               KOKOMO          IN    46902‐3607
MICHAEL D WEISS                              4688 MACKINAW RD                                                                              SAGINAW         MI    48603‐2102
MICHAEL D WILBERDING                         11306 W CARSON CITY RD                                                                        GREENVILLE      MI    48838‐9124
MICHAEL D WILEY                              1513 GRAY FOX LN                                                                              SPRING HILL     TN    37174‐5114
MICHAEL D WILLIAMS                           115 NEW GRANVILLE RD                                                                          WILMINGTON      DE    19808‐1107
MICHAEL D WILLIAMS                           3701 STATION ST                                                                               INDIANAPOLIS    IN    46218‐1463
MICHAEL D WISNIEWSKI                         10290 20TH AVE NW                                                                             GRAND RAPIDS    MI    49544‐9505
MICHAEL D WORTH                              1327 N 125 W                                                                                  FRANKLIN        IN    46131‐8704
MICHAEL D YOSPIN                             68 BRIAR HILLS CIRCLE                                                                         SPRINGFIELD     NJ    07081‐3420
MICHAEL D'AVERSA                             29 HALL AVE                                                                                   EASTCHESTER     NY    10709‐3501
MICHAEL DALE MATTHEWS                        4204 W HORSESHOE DR                                                                           MUNCIE          IN    47302‐8955
MICHAEL DALE REED                            8500 WEST JACKSON ST                                                                          MUNCIE          IN    47304‐9730
MICHAEL DALOIA                               30 MARKED TREE RD                                                                             HOLLISTON       MA    01746‐1640
MICHAEL DANIEL TOPHAM A MINOR U/GDNSHIP OF   150 SAINT ELMO WAY                                                                            SAN FRANCISCO   CA    94127‐2014
SANDRA LEE TOPHAM
MICHAEL DANNHARDT                            1653 MONTMORENCY DRIVE                                                                        VIENNA          VA    22182‐2023
MICHAEL DARGAJ                               5728 SOMERDALE AVE                                                                            BROOKPARK       OH    44142‐2564
MICHAEL DAUGHTRY                             19 A PHELLPS AVE                                                                              NEW BRUNWICK    NJ    08901‐3709
MICHAEL DAURIA                               PO BOX 214                                                                                    CONESYS         NY    14435‐0214
MICHAEL DAVENPORT                            4707 MOUNT VERNON DRIVE                                                                       AUSTIN          TX    78745‐1856
MICHAEL DAVID ATTEBURY                       4653 CHAMBERLAIN DRIVE                                                                        EAST CHINA      MI    48054‐3500
MICHAEL DAVID BALLEN                         237 EVANDALE RD                                                                               SCARSDALE       NY    10583‐1529
MICHAEL DAVID BATES                          8 WELLESEY KNOLL                                                                              ROCHESTER       NY    14624
MICHAEL DAVID CESARO                         231 HOPKINS ROAD                                                                              MICKLETON       NJ    08056‐1273
MICHAEL DAVID CHRISTIE                       6 TAYLOR RD                                                                                   DOVER           NH    03820‐3659
MICHAEL DAVID COOPER                         101 SUNRIDGE DR                                                                               PITTSBURGH      PA    15234‐1020
MICHAEL DAVID DAUGHERTY                      2136 W PORTER                                                                                 FULLERTON       CA    92833‐3652
MICHAEL DAVID DIETZ                          212 OAK HILL RD                                                                               VAN ALSTYNE     TX    75495‐3500
MICHAEL DAVID KIMMEL                         2221 TULANE DR                                                                                BEAVERCREEK     OH    45431‐2423
MICHAEL DAVID MILES                          6348 VIA AVENTURA DR                                                                          EL PASO         TX    79912‐1834
MICHAEL DAVID PLAGER                         438 ADAMS RD                                                                                  GREENFIELD      MA    01301‐1385
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MICHAEL DAVID SMITH                               2907 MILL RUN SE RD                                                                              OWENS CROSS      AL    35763‐8476
                                                                                                                                                   ROADS
MICHAEL DAVIS                                     4585 FIELDSTON RD                                                                                RIVERDALE        NY    10471‐3941
MICHAEL DAVIS ORR                                 2 GREEN PASTURES DR                                                                              BURNSVILLE       NC    28714‐2632
MICHAEL DAVITT SALISBURY                          140 E MILLBROOKE AVE                                                                             WOODSTOWN        NJ    08098‐1028
MICHAEL DEAN MORROW                               6509 S CR 800 W DR                                                                               DALEVILLE        IN    47334‐9422
MICHAEL DEAN PRIMOZIC                             5607 SHANNON CT                                                                                  WOODBRIDGE       VA    22193‐3511
MICHAEL DEAN WARREN & NANCY E WARREN JT TEN       4846 DEAN LN SW                                                                                  LILBURN          GA    30047

MICHAEL DEARING                                   309 EAGLE GLEN CT                                                                                RAYMORE          MO    64083‐9576
MICHAEL DEBENEDITTIS                              192 FREEMAN ST #1                                                                                BROOKLYN         NY    11222
MICHAEL DECARLO                                   343 SHERMAN AVE                                                                                  HAWTHORNE        NY    10532‐1422
MICHAEL DELAHANTY                                 24796 DAVENPORT AVE                                                                              NOVI             MI    48374‐3025
MICHAEL DELL AQUILA                               821 KOMAN DR                                                                                     PARAMUS          NJ    07652
MICHAEL DELLA CHIESA & JUDITH A DELLA CHIESA JT   249 GLASCO TURNPIKE                                                                              SAUGERTIES       NY    12477
TEN
MICHAEL DELORENZO & CARA DELORENZO JT TEN         8531 W GATES ST                                                                                  BRUCE            MI    48065‐4364
MICHAEL DENIS DILLON                              1211 BIRCH AVE                                                                                   SAN MATEO        CA    94402‐1975
MICHAEL DENNIS GRAVES                             8508 W MALLOY CT                                                                                 MUNCIE           IN    47304‐9610
MICHAEL DENNIS NEHRING                            1102 OLYMPIC CT                                                                                  OAK HARBOR       WA    98277‐3301
MICHAEL DENOBILE & MARGARET DENOBILE JT TEN       2921 LAFAYETTE AVE                                                                               BRONX            NY    10465‐2326

MICHAEL DESTEFANO CUST SAMUEL DESTEFANO UTMA      126 RAVENNA CRSE                                                                                 CHESAPEAKE       VA    23322‐2087
GA
MICHAEL DEWEY TESTER                              805 SAN FELIPE TRL                                                                               HASLET           TX    76052‐4886
MICHAEL DI MAIO & LIZ DIMAIO JT TEN               100 OLD STATE RD                                                                                 SPRINGFIELD      PA    19064‐1728
MICHAEL DI MAIO JR & LIZ DI MAIO JT TEN           100 0LD STATE ROAD                                                                               SPRINGFIELD      PA    19064
MICHAEL DICK                                      1331 CEDAR STREET                                                                                WILMINGTON       DE    19805‐4326
MICHAEL DICKSON & MRS RONA DICKSON JT TEN         6781 OLD WATERLOO RD #1607                                                                       ELKRIDGE         MD    21075‐6732
MICHAEL DIFEO                                     121 LORRAINE AVE                                                                                 SPRING LAKE      NJ    07762‐1712
MICHAEL DILSHER KHAN                              250 ROYALL STREET                                                                                CANTON           MA    02021
MICHAEL DIMONOSKI                                 11436 CHESTER ROAD                                                                               GARFIELD HTS     OH    44125‐3512
MICHAEL DINICH CUST ANNA DINICH UTMA PA           2335 ORANGE HILL RD                                                                              ATHENS           PA    18810
MICHAEL DINICH CUST GABRIEL DINICH UTMA PA        2335 ORANGE HILL RD                                                                              ATHENS           PA    18810
MICHAEL DOHERTY                                   66 WOODBURY RD                                                                                   EDISON           NJ    08820‐2959
MICHAEL DOLLIN                                    6502 EAST CALLE DEL MEDIA                                                                        SCOTTSDALE       AZ    85251‐3146
MICHAEL DON TANNER                                32125 DENSMORE RD                                                                                WILLOWICK        OH    44095‐3846
MICHAEL DONN BECKHAM                              1596 MOOSE DR                                                                                    GLADWIN          MI    48624‐8019
MICHAEL DOUGHERTY & CARMEN M DOUGHERTY JT         642 76TH ST                                                                                      NIAGARA FALLS    NY    14304‐2324
TEN
MICHAEL DOYLE                                     213 BENJAMIN DRIVE                                                                               WEST CHESTER     PA    19382‐1923
MICHAEL DUANE ALSTON                              6751 EDMONTON AVE                                                                                SAN DIEGO        CA    92122‐2518
MICHAEL DUANE BRADLEY                             2106 E HIGHLAND AVE                                                                              MUNCIE           IN    47303‐3324
MICHAEL DUANE CRIM                                8011 CAPWOOD AVE                                                                                 TEMPLE TERRACE   FL    33637‐4942
MICHAEL DUANE LEWIS                               8043 COBERLY COURT                                                                               MECHANICSVILLE   VA    23111‐3671
MICHAEL DUANE LEWIS                               315 BROOKSIDE CV                                                                                 TERRY            MS    39170‐5501
MICHAEL DUANE TULLIS TR MICHAEL DUANE TULLIS      12871 TABEAU CT                                                                                  PINE GROVE       CA    95665‐9652
TRUST UA 01/12/04
MICHAEL DUANE TULLIS TR MICHAEL DUANE TULLIS UA   12871 TABEAU CT                                                                                  PINE GROVE       CA    95665‐9652
01/12/04
MICHAEL DUBIL                                     10 PRICE ST                                                                                      SAYREVILLE       NJ    08872‐1642
MICHAEL DUDA                                      6809 ARMISTEAD RD                                                                                BALTIMORE        MD    21219‐1201
MICHAEL DUDECK                                    1090 SEA GRAPE CIR                                                                               DELRAY BCH       FL    33445‐3517
MICHAEL DUFF                                      11811 84TH AVE APT 621                                                                           KEW GARDENS      NY    11415‐2940
MICHAEL DUFFY                                     17527 GOLFVIEW                                                                                   LIVONIA          MI    48152‐2934
MICHAEL DUNBAR CUST BRIAN J DUNBAR UGMA CA        1009 S 10TH AVE                                                                                  ARCADIA          CA    91006‐4504

MICHAEL DUNCAN                                    2014 PENNSYLVANIA DRIVE                                                                          XENIA            OH    45385‐4540
MICHAEL DUNNING                                   1873 HEBERT ST                          TECUMSEH ON                            N8N 4B5 CANADA
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MICHAEL DZUBATY CUST MICHAEL PETER DZUBATY       465 OCEAN AVE                                                                                    WEST HAVEN      CT    06516‐7249
UGMA CT
MICHAEL E ABNER                                  5285 PINNACLE CT                                                                                 ANN ARBOR       MI    48108‐8658
MICHAEL E ABRAMS                                 19686 CREST DRIVE                                                                                APPLE VALLEY    CA    92307‐5432
MICHAEL E ALDRIDGE & DIANE S ALDRIDGE JT TEN     301 NETTLE CARRIER LANE                                                                          MONROE          TN    38573

MICHAEL E ALEXANDER                              930 N A ST                                                                                       ELWOOD          IN    46036‐1569
MICHAEL E ALTOM                                  4601 HURON DR NE                                                                                 RIO RANCHO      NM    87144‐7710
MICHAEL E ANDERSON                               47 SOUTH RIVER RD                                                                                CLARKSTON       MI    48346‐4146
MICHAEL E ANDERSON                               1004 LICHFIELD CT                                                                                THOMPSONS STN   TN    37179‐5336
MICHAEL E ATES                                   16438 DAWNCREST WAY                                                                              SUGAR LAND      TX    77478‐7135
MICHAEL E BALICKI                                3115 MORAINE DR                                                                                  BRIGHTON        MI    48114‐9223
                                                                                                                                                  TOWNSHIP
MICHAEL E BANKER                                 5161 REDMAN RD                                                                                   BROCKPORT       NY    14420‐9601
MICHAEL E BASTIAN                                7751 N 37TH ST                                                                                   RICHLAND        MI    49083‐9345
MICHAEL E BEELS                                  3280 ALCO                                                                                        WATERFORD       MI    48329‐2206
MICHAEL E BERGMAN                                1064 BLUE RIDGE CIRCLE                                                                           CLARKSTON       MI    48348‐5212
MICHAEL E BERRY                                  1247 N CONNER AVE                                                                                HIGLEY          AZ    85236‐3226
MICHAEL E BETTS                                  10321 FOLIAGE RD                                                                                 JOPLIN          MO    64804‐6502
MICHAEL E BISHOP                                 1871 W TAFT RD                                                                                   ST JOHNS        MI    48879‐9263
MICHAEL E BOESE                                  470 SUN VALLEY LN                                                                                MONCKS CORNER   SC    29461‐7256
MICHAEL E BOMBARD & JAMES I DAVIS & MALISSA E    1126 E SCHAFFER LANE                                                                             FAIRMONT        WV    26554
LAYMAN JT TEN
MICHAEL E BOMBARD & SAVANNA JADE BOMBARD JT      RT 3 BOX 309A                                                                                    FAIRMONT        WV    26554
TEN
MICHAEL E BONGAR CUST BRADLEY K BONGAR UGMA      426 SMITH ST                                                                                     PEEKSKILL       NY    10566‐4510
OH
MICHAEL E BORTOLUSSI                             4 MACALLISTER CRT                       BARRIE ON                              L4N 7M6 CANADA
MICHAEL E BORUCKI                                29806 MANHATTAN                                                                                  ST CLAIR SHRS   MI    48082‐2615
MICHAEL E BOWLES                                 25700 SAN LUPE AVE                                                                               MORENO VALLEY   CA    92551‐7043
MICHAEL E BRENNEMAN                              668 AZEVEDO COMMON                                                                               FREMONT         CA    94539‐5740
MICHAEL E BRESNOCK                               1184 WIND HILL LANE                                                                              MARIETTA        GA    30064‐3836
MICHAEL E BRESNOCK & MRS MARY RITA BRESNOCK JT   1184 WIND HILL LANE                                                                              MARIETTA        GA    30064‐3836
TEN
MICHAEL E BRIDGINS                               115 PARK CHARLES BLVD N                                                                          ST PETERS       MO    63376‐3258
MICHAEL E BROWN                                  22620 LATONIA LN                                                                                 RICHTON PARK    IL    60471‐1813
MICHAEL E BROWN                                  BOX 314                                                                                          MCLOUD          OK    74851‐0314
MICHAEL E BRYANT                                 2049 NEAL ROAD                                                                                   PYLESVILLE      MD    21132‐1018
MICHAEL E BRYANT                                 185 FLAT CREEK CT                                                                                FAYETTEVILLE    GA    30214‐4419
MICHAEL E BUCKLEY & PATRICIA L PORREY JT TEN     10626 CANTERBURY DR                                                                              MOKENA          IL    60448‐1083
MICHAEL E BUSHA                                  603 BITTERSWEET AVE                                                                              GERMANTWN HLS   IL    61548‐8655

MICHAEL E BUTORAC                                92 GLENCAIRN AVE                        TORONTO ON                             M4R 1M8 CANADA
MICHAEL E CARPENTER                              22277 RIVERGLADE DR                                                                              WATERTOWN       NY    13601‐1773
MICHAEL E CARRY                                  980 DOLLAR BAY                                                                                   LAKE ORION      MI    48362‐2511
MICHAEL E CARTER                                 4395 GARRATT CT                                                                                  SPARKS          NV    89436‐0642
MICHAEL E CHANDLER                               BOX 925 R11                                                                                      BEDFORD         IN    47421‐9710
MICHAEL E CHRISTOPHER                            1146 BIRCHWOOD DRIVE                                                                             FLUSHING        MI    48433‐1486
MICHAEL E CHUDLEY                                7512 ECHO LANE                                                                                   LANSING         MI    48917‐9558
MICHAEL E CLARKE                                 23 OAKRIDGE RD                                                                                   WEST ORANGE     NJ    07052
MICHAEL E COBB                                   28 SILK OAK ST                                                                                   LAKE PLACAD     FL    33852‐5474
MICHAEL E COBB                                   13578 PANHANDLE RD                                                                               HAMPTON         GA    30228‐2231
MICHAEL E CONNELL                                PO BOX 528                                                                                       WOLCOTT         CO    81655‐0528
MICHAEL E CORCORAN JR                            5121 PEMBROKE AVE                                                                                BALTIMORE       MD    21206‐5046
MICHAEL E CORCORAN JR & NANCY M CORCORAN JT      5121 PEMBROKE AVE                                                                                BALTIMORE       MD    21206‐5046
TEN
MICHAEL E COSNER                                 3217 N EDEN ROAD                                                                                 HANNA CITY      IL    61536‐9615
MICHAEL E COWART                                 9235 WATERSIDE DRIVE                                                                             BALL GROUND     GA    30107‐7008
MICHAEL E CRUSE                                  PO BOX 1318                                                                                      SANDUSKY        OH    44871‐1318
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MICHAEL E CURTIS                                 1208 BOGART RD                                                                                   HURON             OH    44839‐9534
MICHAEL E D KOENIG                               320 E 42ND STREET                                                                                NEW YORK          NY    10017‐5900
MICHAEL E DAHL                                   2100 CURRAN RD                                                                                   WILLOW SPRINGS    MO    65793‐8936

MICHAEL E DAILEY                                 21101 SUNDOWN LN                                                                                 HUNTINGTN BCH    CA     92648‐5430
MICHAEL E DANNER                                 3739 S 200 EAST                                                                                  ANDERSON         IN     46017‐9764
MICHAEL E DAUGHERTY                              287 DOE RUN                                                                                      CLINTON          TN     37716‐6665
MICHAEL E DAVIES                                 8052 SANGUINELLI RD                                                                              LAND O LAKES     FL     34637‐7522
MICHAEL E DAVIS                                  PO BOX 51                                                                                        HOLT             MI     48842‐0051
MICHAEL E DE WITT                                74 PAULI POINT RD                                                                                FREEDOM          NH     03836‐4320
MICHAEL E DEBEAU                                 2528 VERNOR                                                                                      LAPEER           MI     48446‐8329
MICHAEL E DERLETH                                13613 DEER CREEK AVE                                                                             KOKOMO           IN     46901‐9431
MICHAEL E DESNOYER                               10654 HEWITT RD                                                                                  BROOKLYN         MI     49230‐9760
MICHAEL E DIBBLE                                 45 VAN RD                                                                                        NORTH AUGUSTA    SC     29860‐8497
MICHAEL E DICOSOLA                               8485 JACLYN ANN DR                                                                               FLUSHING         MI     48433‐2913
MICHAEL E DONALDSON                              1428 W OCALA ST                                                                                  BROKEN ARROW     OK     74011‐8231
MICHAEL E DORAN                                  449 WESTFIELD N W                                                                                COMSTOCK PARK    MI     49321‐9315
MICHAEL E DUKE                                   3917 NELSON SCHOOL RD                                                                            MORRISTOWN       TN     37813‐4431
MICHAEL E ELEN                                   20160 S GREAT OAKS CIR                                                                           CLINTON TOWNSHIP MI     48036‐4403

MICHAEL E EMMENDORFER                            19071 AMMAN RD                                                                                   CHESANING         MI    48616‐9714
MICHAEL E FENOGLIO & CAROLYN D FENOGLIO JT TEN   PO BOX 451                                                                                       TONANOXIE         KS    66086‐0451

MICHAEL E FIELD                                  43 SUMMIT ST                                                                                     PORTLAND          ME    04103‐2913
MICHAEL E FILIPKOWSKI                            21561 LILAC DR                                                                                   WOODHAVEN         MI    48183‐1532
MICHAEL E FLETT                                  6997 W 36TH AVE APT 202                                                                          WHEAT RIDGE       CO    80033‐6385
MICHAEL E FOX                                    529 VOLTS RD                                                                                     NORTHBROOK        IL    60062
MICHAEL E FRASE                                  6840 CATLETT ROAD                                                                                SAINT AUGUSTINE   FL    32095‐8304
MICHAEL E FRIEDMAN & DEENA FRIEDMAN JT TEN       1313 WASHINGTON ST APT 507                                                                       BOSTON            MA    02118‐2170
MICHAEL E GAINES                                 RT 3 BOX 312‐BB                                                                                  EUTAW             AL    35462‐9535
MICHAEL E GARNER                                 1103 DRESSER DR                                                                                  ANDERSON          IN    46011‐1117
MICHAEL E GEE                                    19000 HUNTINGTON AV                                                                              HARPER WOODS      MI    48225‐2088
MICHAEL E GERACE                                 4365 LAKESIDE HILLS WAY                                                                          KENNESAW          GA    30144‐1670
MICHAEL E GILLAUGH & MELANIE R GILLAUGH JT TEN   2012 INDIGO TRL                                                                                  CENTERVILLE       OH    45459‐6950

MICHAEL E GOIN                                   27W140 COVE LANE                                                                                 WARRENVILLE       IL    60555
MICHAEL E GOLICK                                 1950 DEERWOOD DR                                                                                 UKIAH             CA    95482‐3617
MICHAEL E GRAHAM                                 3175 EASTON RD                                                                                   BURLINGTON        KY    41005‐8000
MICHAEL E GRAORA                                 4523 BRIDGEVIEW AVE                                                                              NEWBURGH          OH    44105‐3127
                                                                                                                                                  HEIGHTS
MICHAEL E GREEN                                  28 SANBORN ST                                                                                    STATEN ISLAND     NY    10312
MICHAEL E GREGOREK                               7146 LAFAYETTE RD                                                                                MEDINA            OH    44256‐8518
MICHAEL E GRIMES                                 9337 RUBY STREET                                                                                 HOLLY             MI    48442‐9309
MICHAEL E GRIMES & TAMARA GRIMES JT TEN          9337 RUBY STREET                                                                                 HOLLY             MI    48442‐9309
MICHAEL E GUILIANO                               PO BOX 489                                                                                       MERIDEN           CT    06450‐0489
MICHAEL E GUNTER                                 3533 MURPHY DR                                                                                   BEDFORD           TX    76021‐2751
MICHAEL E HAMILTON & CAROL B HAMILTON JT TEN     5015 SCALEYBARK COURT                                                                            INDIAN TRAIL      NC    28079‐4182

MICHAEL E HARAWAY                                PO BOX 104                                                                                       ROGERSVILLE       AL    35652‐0104
MICHAEL E HASSELL                                8015 WHITAKER VALLEY BLVD                                                                        INDIANAPOLIS      IN    46237‐8524
MICHAEL E HELBIG CUST AMANDA C HELBIG UTMA AZ    2426 E CHRISTY DR                                                                                PHOENIX           AZ    85028‐2516

MICHAEL E HELBIG CUST JASON M HELBIG UTMA AZ     4332 E WINDSOR COURT                                                                             HIGLEY            AZ    85236‐5378

MICHAEL E HEMPSTEAD                              2397 BELLE MEADE DRIVE                                                                           DAVISON           MI    48423‐2058
MICHAEL E HENRY                                  1395 MOUNTAIN JACK RD                                                                            ELMIRA            MI    49730‐9726
MICHAEL E HERMES                                 18661 HERMES COURT                                                                               NORMAN            OK    73026‐9530
MICHAEL E HILL                                   4381 FOX LAKE RD                                                                                 GOODRICH          MI    48438‐9612
MICHAEL E HILLIARD                               29036 W TACKABERRY COURT                                                                         AGOURA            CA    91301‐1646
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Name                                             Address1                              Address2             Address3          Address4          City               State Zip

MICHAEL E HOBI                                   14656 S E FAIRWOOD BLVD                                                                        RENTON             WA    98058‐8530
MICHAEL E HUDOCK & JEAN H HUDOCK JT TEN          306 SPRUCE STREET                                                                              HELLERTOWN         PA    18055‐2225
MICHAEL E JACOBS                                 8985 REED RD                                                                                   NEW LOTHROP        MI    48460‐9702
MICHAEL E JAMERSON                               1025 1/2 MARMION AVE                                                                           TOLEDO             OH    43607‐3757
MICHAEL E JANOS                                  36905 GLENWOOD                                                                                 WAYNE              MI    48184‐1171
MICHAEL E JENNINGS                               1833 MONET DR                                                                                  FT WAYNE           IN    46845‐9542
MICHAEL E JESSOP                                 PO BOX 478                                                                                     MILLVILLE          UT    84326‐0478
MICHAEL E JOHNSON                                2925 LYNN DR                                                                                   WHITE LAKE         MI    48386‐1430
MICHAEL E JOHNSON & REGINA GALE JOHNSON JT TEN   2141 JOHNSON CR                                                                                OLIVE BRANCH       MS    38654‐7294

MICHAEL E KARABIN                                107 KARABIN LN                                                                                 RUFFS DALE         PA    15679
MICHAEL E KAUTZMAN                               1640 NEEB RD                                                                                   CINCINNATI         OH    45233‐1912
MICHAEL E KELLY                                  11 STOCKTON CT                                                                                 BLYTHWOOD          SC    29016‐8891
MICHAEL E KENSEK                                 431 RUSSELL AVENUE                                                                             NILES              OH    44446‐3731
MICHAEL E KIRKPATRICK                            1064 CHIPMUNK LANE                                                                             PENDLETON          IN    46064‐9166
MICHAEL E KIVLIN                                 1658 SOUTHPOINTE DR                                                                            HOOVER             AL    35244‐6728
MICHAEL E KNIGHT                                 113 OAK ST S                                                                                   CHASKA             MN    55318‐2939
MICHAEL E KOEMPEL                                105 ROUNDTABLE DRIVE                                                                           MCMURRAY           PA    15317‐3333
MICHAEL E KOEMPEL & BARBARA A KOEMPEL JT TEN     105 ROUNDTABLE DR                                                                              MCMURRAY           PA    15317‐3333

MICHAEL E KOSCIELSKI                             4916 LORIN LANE                                                                                OAK FOREST         IL    60452‐1445
MICHAEL E KOTORA                                 901 MAPLE AVE                                                                                  LINDEN             NJ    07036‐2743
MICHAEL E KRASNER                                PO BOX 580                                                                                     LEXINGTON          MA    02420‐0005
MICHAEL E LAJEWSKI                               PO BOX 493                                                                                     KALKASKA           MI    49646‐0493
MICHAEL E LARSEN                                 536 RAINTREE DR                                                                                DANVILLE           IN    46122‐1458
MICHAEL E LARSEN & SHIRLEY J LARSEN JT TEN       536 RAINTREE DR                                                                                DANVILLE           IN    46122‐1458
MICHAEL E LARSON                                 1512 MUSTANG DR                                                                                DEFIANCE           OH    43512‐1387
MICHAEL E LAUGHLIN                               211 S STUART ST                                                                                FOLEY              AL    36535‐3325
MICHAEL E LEOPOLD & TERESA A LEOPOLD JT TEN      5254 WOODCOCK WAY                                                                              DAYTON             OH    45424‐4547
MICHAEL E LILLEY                                 4860 SERRA AVE                                                                                 FREMONT            CA    94538‐1137
MICHAEL E LOVE                                   510 NW WEDGEWOOD DR                                                                            BLUE SPRINGS       MO    64014‐1152
MICHAEL E MARKS                                  1006 FORREST ST                                                                                BOISE              ID    83705‐2318
MICHAEL E MARTIN                                 6179 KING ARTHUR DR                                                                            SWARTZ CREEK       MI    48473‐8808
MICHAEL E MARTIN                                 9 SPRUCE ST                                                                                    STONEHAM           MA    02180‐3060
MICHAEL E MAST                                   379 JOLLY JANUARY AVE                                                                          LAS VEGAS          NV    89183
MICHAEL E MATHIS                                 53222 MARTIN LANE                                                                              SOUTH BEND         IN    46635‐1311
MICHAEL E MC CONNELL                             10056 WALNUT HILL DR                                                                           DAVISBURG          MI    48350‐1161
MICHAEL E MC KENNA                               534 SURFWOOD LN                                                                                DAVISON            MI    48423‐1225
MICHAEL E MCGUIRE                                568 BRICE RD                                                                                   REYNOLDSBURG       OH    43068‐1009
MICHAEL E MCLEAN                                 40466 KINBURN DR                                                                               STERLING HEIGHTS   MI    48310‐1743

MICHAEL E MCNAMARA                               4288 LINDENWOOD DR                                                                             SWARTZ CREEK       MI    48473‐8212
MICHAEL E MEAD & BETTY A MEAD JT TEN             PO BOX 2114                                                                                    ORLEANS            MA    02653‐6114
MICHAEL E MEHRER & LYDIA TORRES MEHRER JT TEN    7107 BIRCHCREEK RD                                                                             SAN DIEGO          CA    92119‐1564

MICHAEL E MELICH                                 1224 MEIGS DRIVE                                                                               NICEVILLE          FL    32578‐3018
MICHAEL E MELOCHE                                1167 BANWELL                          WINDSOR ON                             N8P 1J3 CANADA
MICHAEL E MIKULSKI                               8 MORGAN STREET                                                                                BINGHAMPTON        NY    13901‐2274
MICHAEL E MILLER                                 242 E RAHN RD                                                                                  KETTERING          OH    45429‐5424
MICHAEL E MILLER                                 PO BOX 35705                                                                                   CANTON             OH    44735‐5705
MICHAEL E MOBLEY                                 1692 REEDER RD                                                                                 BLANCHESTER        OH    45107‐8798
MICHAEL E MORAN                                  1185 ATLANTIC ST                                                                               WARREN             OH    44483‐4102
MICHAEL E MORAST                                 766 WHITTIER CT                                                                                SALINE             MI    48176‐1031
MICHAEL E MORGAN                                 6060 SALK RD                                                                                   CARSON CITY        NV    89706‐2412
MICHAEL E MORLEY                                 8996 HIGHWAY 135 NORTH                                                                         TOWER              MN    55790‐8511
MICHAEL E MRLA                                   9135 HICKORY WOOD                                                                              UNION LAKE         MI    48386‐4047
MICHAEL E MURPHY                                 10936 ODELL AVE                                                                                SUNLAND            CA    91040‐2008
MICHAEL E NAUGLE                                 6434 RIDGE RD                                                                                  LOCKPORT           NY    14094‐1015
MICHAEL E NEASE                                  CONDOS                                602 N MAY                                                MESA               AZ    85201‐7509
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Name                                              Address1                            Address2             Address3          Address4          City              State Zip

MICHAEL E NEWMAN                                  8356 TIMBER COVE                                                                             COMMERCE TWP      MI    48382‐4542
MICHAEL E NEWTON                                  8160 CASA MIA ST                                                                             WHITE LAKE        MI    48386‐4305
MICHAEL E NILES SR                                3663 JIM WARREN RD                                                                           SPRING HILL       TN    37174‐2823
MICHAEL E NOWICKI CUST MARCELLE F NOWICKI UTMA    783 MARTIN DR                                                                                EAST AURORA       NY    14052‐1909
NY
MICHAEL E OBERTZ                                  877 PRATT STREET                                                                             RAHWAY            NJ    07065‐1817
MICHAEL E ODREN                                   9484 ASPEN VIEW DR                                                                           GRAND BLANC       MI    48439‐8037
MICHAEL E OLIVER                                  5849 SPRINGBORN RD                                                                           CHINA TOWNSHIP    MI    48054‐3912

MICHAEL E ORGANEK                                 1254 WHITES BRIDGE RD                                                                        LOWELL            MI    49331‐9232
MICHAEL E OSBORN                                  19 MONROE PARKWAY                                                                            MASSENA           NY    13662
MICHAEL E PALBICKI SR                             5517 BRYANT AVE S                                                                            MINNEAPOLIS       MN    55419‐1739
MICHAEL E PATRICK                                 PO BOX 993                                                                                   SPRINGBORO        OH    45066‐0993
MICHAEL E PEGOS                                   1464 33RD ST                                                                                 SACRAMENTO        CA    95816‐5350
MICHAEL E PETTIS                                  12605 RING RD                                                                                SAINT CHARLES     MI    48655‐9513
MICHAEL E POLLACK                                 5870 HIDDEN LN                                                                               GOLETA            CA    93117‐1845
MICHAEL E POPLER                                  PO BOX 2651 E BATH RD                                                                        MORRICE           MI    48857
MICHAEL E PYTLIK                                  6781 NASH ROAD                                                                               N TONAWANDA       NY    14120‐1231
MICHAEL E RACER                                   840 BUCKHORN                                                                                 LAKE ORION        MI    48362‐2824
MICHAEL E REZMERSKI                               24515 BRAMBLEWOOD DR                                                                         NOVI              MI    48374‐4019
MICHAEL E RICHARDSON                              4510 WISNER ST                                                                               FLINT             MI    48504‐2036
MICHAEL E RIGHETTI                                PO BOX 4221                                                                                  TUBAC             AZ    85646‐4221
MICHAEL E ROBINSON & JANE M ROBINSON JT TEN       2929 E US36                                                                                  MARKLEVILLE       IN    46056‐9702

MICHAEL E RONCHETTO                               1898 E LEISURE LN                                                                            FORT MOHAVE       AZ    86426‐6707
MICHAEL E ROSE                                    7083 WHITE TAIL DR                                                                           GRAND BLANC       MI    48439‐9644
MICHAEL E ROSSBACH                                1138 PRINCETON                                                                               ROCHESTER HILLS   MI    48307
MICHAEL E RYAN                                    R R 3 BOX 1723 A                    EVANS ROAD                                               PENNELLVILLE      NY    13132‐9745
MICHAEL E RYAN & VICTORIA L RYAN JT TEN           8032 ANNE COURT                                                                              ORLAND PARK       IL    60462‐4907
MICHAEL E RYTLEWSKI                               1920 CASS AVENUE                                                                             BAY CITY          MI    48708‐9192
MICHAEL E SCHAEFER                                11200 E BIRCH RUN RD                                                                         BIRCH RUN RD      MI    48415‐9480
MICHAEL E SCHELSKE                                475 HUNTSBURG DRIVE                                                                          LOUISBURG         NC    27549‐7566
MICHAEL E SCHRAMM                                 4724 SYCAMORE ST                                                                             HOLT              MI    48842‐1575
MICHAEL E SCOTT                                   PO BOX 20700                                                                                 INDIANAPOLIS      IN    46220‐0700
MICHAEL E SCULLY                                  9N854 BECKMAN TRL                                                                            ELGIN             IL    60124‐0444
MICHAEL E SHILLING                                1330 PINCH HWY                                                                               CHARLOTTE         MI    48813‐9719
MICHAEL E SILVA JR                                26753 SYRACUSE AVE                                                                           WARREN            MI    48091‐4180
MICHAEL E SIOP                                    47315 ROLAND ST                                                                              UTICA             MI    48317‐2975
MICHAEL E SKORUPSKI                               12167 ROCKFORD CT                                                                            NOBLESVILLE       IN    46060‐4155
MICHAEL E SMITH                                   20388 INDIAN HOLLOW RD                                                                       WELLINGTON        OH    44090‐9624
MICHAEL E SMITH                                   12350 O'DELL                                                                                 LINDEN            MI    48451‐9489
MICHAEL E SNIDER                                  5610 DOLLAR HIDE CT                                                                          INDIANAPOLIS      IN    46221‐4105
MICHAEL E SOLOMON                                 1349 E TOBIAS RD                                                                             CLIO              MI    48420‐1773
MICHAEL E SPIER                                   6900 KIRK RD                                                                                 CANFIELD          OH    44406‐9646
MICHAEL E STANGE                                  4068 WITHROW RD                                                                              HAMILTON          OH    45011‐9659
MICHAEL E STAPLETON                               7875 RONSON                                                                                  JENISON           MI    49428‐8540
MICHAEL E STARK & CHRISTINE A STARK JT TEN        1667 S PAIGE CREEK PL                                                                        TUCSON            AZ    85748‐7770
MICHAEL E STEVENSON                               PO BOX 356                                                                                   MC DONALD         OH    44437‐0356
MICHAEL E SULLIVAN                                217 HOLLY LANE                                                                               SCHERERVILLE      IN    46375
MICHAEL E SYKES                                   16110 GOLFVIEW                                                                               LIVONIA           MI    48154‐2132
MICHAEL E SZCZEPANSKI                             340 REED CREEK RD                                                                            MOORESVILLE       NC    28117‐8046
MICHAEL E TAMM                                    4407 RAVINEWOOD                                                                              COMMERCE          MI    48382‐1641
                                                                                                                                               TOWNSHIP
MICHAEL E TAYLOR                                  19235 FENELON ST                                                                             DETROIT           MI    48234‐2222
MICHAEL E TEIXEIRA CUST MARY J TEIXEIRA UGMA VT   3 HARBOR RIDGE RD                                                                            S BURLINGTON      VT    05403‐7880

MICHAEL E TEIXEIRA CUST MICHAEL A TEIXEIRA UGMA   3 HARBOR RIDGE RD                                                                            S BURLINGTON      VT    05403‐7880
VT
MICHAEL E THOMAS                                  G‐2425 SECLUDED LN                                                                           FLINT             MI    48507
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MICHAEL E THOMPSON                                 50850 WILLIS RD                                                                                 BELLEVILLE         MI    48111‐8615
MICHAEL E THOMPSON                                 2768 KADLEC DR                         APT 4                                                    BELOIT             WI    53511‐6622
MICHAEL E TILLER                                   7806 NE 111TH TER                                                                               KANSAS CITY        MO    64157‐8814
MICHAEL E TOPEL                                    6691 WOODRIDGE DR                                                                               JANESVILLE         WI    53545‐8659
MICHAEL E TOURVILLE                                415 ROWLETT ST                                                                                  MUNFORDVILLE       KY    42765‐7614
MICHAEL E TRAGESSER                                201 PRAETORIAN CT                                                                               WILMINGTON         OH    45177‐9010
MICHAEL E TRIPP & VICKY M TRIPP JT TEN             306 STONE ST                                                                                    WRENS              GA    30833‐1155
MICHAEL E TRIPP CUST VICTORIA ROSE TRIPP UTMA GA   306 STONE STREET                                                                                WRENS              GA    30833‐1155

MICHAEL E TROWBRIDGE                             640 DUSHANE DR                                                                                    BELLEFONTAINE      OH    43311‐2906
MICHAEL E TURLEY                                 320 LINDEN ST                                                                                     ZIONSVILLE         IN    46077‐1336
MICHAEL E VELEZ                                  16082 SW 79TH TER                                                                                 MIAMI              FL    33193‐3422
MICHAEL E WALKER                                 11596 HAYLOCK                                                                                     DAVISBURG          MI    48350‐3555
MICHAEL E WALTERS                                115C WESTSIDE CV                                                                                  PEARL              MS    39208‐8967
MICHAEL E WARD                                   2041 LOWER BELLBROOK RD                                                                           SPRING VALLEY      OH    45370‐9710
MICHAEL E WASIUKANIS & KAREN A WASIUKANIS JT TEN 2512 21 ST                                                                                        NYANDOTTE          MI    48192‐4400

MICHAEL E WEST                                     2477 OOSTANULA DR                                                                               ATLANTA            GA    30319‐3521
MICHAEL E WHITE                                    3432 VIRGINIA DR                                                                                COLUMBIAVILLE      MI    48421‐9367
MICHAEL E WHITE                                    4513 VAN DYKE                                                                                   DETROIT            MI    48214‐1170
MICHAEL E WHITE                                    5206 W 76TH ST                                                                                  PRAIRIE VILLAGE    KS    66208‐4435
MICHAEL E WIEDMAN                                  215 W MADISON                                                                                   VILLA PARK         IL    60181‐3023
MICHAEL E WINFREY                                  14440 PIEDMONT                                                                                  DETROIT            MI    48223‐2966
MICHAEL E WINKLER                                  326 BALDWIN AVE                                                                                 SHARON             PA    16146‐2724
MICHAEL E WISER                                    5479 INDEPENDENCE COLONY                                                                        GRAND BLANC        MI    48439‐9105
MICHAEL E WIVELL                                   11121 GARDEN                                                                                    LIVONIA            MI    48150‐3138
MICHAEL E WOGOMAN                                  3505 TWINCREEK RD                                                                               WEST ALEXANDRIA    OH    45381‐8558

MICHAEL E WOOD                                     2171 TORRANCE AVE                                                                               SIMI VALLEY        CA    93065‐4960
MICHAEL E ZALUPSKI                                 28837 ADLER                                                                                     WARREN             MI    48093‐4271
MICHAEL E ZEMMIN                                   1953 TIVERTON RD                                                                                BLOOMFEILD HILLS   MI    48304‐2348

MICHAEL EARLY                                      513 PONDEROSA DR                                                                                BEL AIR          MD      21014‐5216
MICHAEL EDELL                                      1499 PATHFINDER AVE                                                                             WESTLAKE VILLAGE CA      91362‐5298

MICHAEL EDWARD LOYLAND                         RR 1 BOX 35A                                                                                        THOMPSON           ND    58278‐9728
MICHAEL EDWARD MAURER                          49511 COOK AVE                                                                                      PLYMOUTH           MI    48170‐2883
MICHAEL EDWARD MCCOLLUM & MEREDITH ALLEN       2611 LANDVIEW CIR                                                                                   VIRGINIA BCH       VA    23454‐1228
MCCOLLUM JT TEN
MICHAEL EDWARD PLUNKETT SR                     847 WEST EDGEHILL RD                       SAN BERNARDION                                           SN BERNRDNO        CA    92405
MICHAEL EDWARD SPENCER                         365 BUNNY RUN BLVD                                                                                  LAKE ORION         MI    48362‐1805
MICHAEL EDWARD UTZ                             67 NORTHRIDGE DR                                                                                    WEST SENECA        NY    14224‐4408
MICHAEL EKBERG CUST CHRISTOPHER EKBERG UTMA FL 6860 OWENSTONE RD                                                                                   TALLAHASSEE        FL    32311‐8819

MICHAEL ELDRED PARKS                               PO BOX 753                                                                                      NEW ROADS          LA    70760‐0753
MICHAEL ELMER CUST JACQUELYN M ELMER UTMA OK       PO BOX 3697                                                                                     EDMOND             OK    73083‐3697

MICHAEL ELTERICH                                   76 BROOKMOOR RD                                                                                 WEST HARTFORD      CT    06107‐3103
MICHAEL EMANUEL                                    743 UNION AVE                                                                                   LACONIA            NH    03247‐0202
MICHAEL ENGELMAN                                   6660 VISTA HERMOSA                                                                              LAS CRUCES         NM    88007‐4919
MICHAEL ERIC FRIDUSS & STEPHANIE ROMM FRIDUSS      2371 TASSO ST                                                                                   PALO ALTO          CA    94301‐4140
COMMUNITY PROPERTY
MICHAEL ERME III                                   1362 N HERMITAGE RD                                                                             HERMITAGE          PA    16148‐3107
MICHAEL ESTES                                      7155 REDMOND STREET                                                                             WATERFORD          MI    48327‐3856
MICHAEL ESTOK                                      81 JULIA AVE                                                                                    TRENTON            NJ    08610‐6527
MICHAEL EUGENE JACKSON                             775 E VALLEY CHASE RD                                                                           BLOOMFIELD HILLS   MI    48304‐3167

MICHAEL EVANS                                      1725 PRATT LAKE RD                                                                              GLADWIN            MI    48624‐9627
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MICHAEL EVANS                                       50251 MAURICE                                                                                   CHESTERFIELD TWP MI   48047

MICHAEL EVANS & BARBARA A EVANS JT TEN              103 END ST                                                                                      MINERSVILLE     PA    17954
MICHAEL EVANS & PATRICIA A EVANS JT TEN             2270 ARMOND                                                                                     HOWELL          MI    48843‐8769
MICHAEL F BIELEC                                    633 BAREFOOT LANE                                                                               PORT SANILAC    MI    48469‐9773
MICHAEL F BOLLINGER                                 17350 THUNDER DILL DR                                                                           WILDWOOD        MO    63025
MICHAEL F BOLLINGER                                 5111 OLEVA DR                                                                                   DAYTON          OH    45440‐3711
MICHAEL F BOWMAN & JUDY A BOWMAN JT TEN             411 NORWOOD DR                                                                                  HURST           TX    76053‐6851
MICHAEL F BUKSA CUST RICHARD W BUKSA UGMA CA        3339 HACKETT AVE                                                                                LONG BEACH      CA    90808‐4119

MICHAEL F BURESH & MARGARET A BURESH JT TEN         317 WEST ELMWOOD                                                                                CLAWSON         MI    48017‐1257

MICHAEL F BURKE                                     133 BELVIEW AVE                                                                                 HAGERSTOWN      MD    21742‐3236
MICHAEL F BUTLER                                    21 NEW ST                                                                                       BRISTOL         CT    06010‐5352
MICHAEL F CAIN & MARTHA M CAIN JT TEN               524 WYNDHAM HALL LANE                                                                           FARRAGUT        TN    37934‐2613
MICHAEL F CARTER                                    22286 ANTLER DRIVE                                                                              NOVI            MI    48375‐4809
MICHAEL F CASSIDY                                   529 SWANSON DRIVE                                                                               LAWRENCEVILLE   GA    30043‐4537
MICHAEL F CHESNEY                                   1700 MICHIGAN AVE                                                                               BAY CITY        MI    48708‐4914
MICHAEL F CHMELKO                                   6774 DESMOND                                                                                    WATERFORD       MI    48329‐2804
MICHAEL F CIMINIERI                                 4190 ANTIGUA WAY                                                                                RIMROCK         AZ    86335‐5648
MICHAEL F CLEMENTS                                  406 WEST MILHON CENTER DR                                                                       MOORESVILLE     IN    46158‐6463
MICHAEL F CONDRIN                                   2810 UNION AV                                                                                   ALTOONA         PA    16602‐3341
MICHAEL F CONNOLLY                                  1646 ROSTRAVER RD                                                                               BELLE VERNON    PA    15012‐4101
MICHAEL F COSTANZO                                  52 NEWMAN ST                                                                                    METUCHEN        NJ    08840‐2327
MICHAEL F CRANE                                     8510 N MCCAFFREY RD                                                                             OWOSSO          MI    48867‐9085
MICHAEL F DELEA JR & ELIZABETH MC A DELEA TEN ENT   400 ALLEGHENY AVENUE                                                                            TOWSON          MD    21204‐4260

MICHAEL F DIAMOND                                   4320 PLUMWOOD DRIVE                                                                             NORTH OLMSTED   OH    44070
MICHAEL F DROCK                                     2073 VAN AUKEN RD                                                                               NEWARK          NY    14513‐9221
MICHAEL F DUHAIME                                   5060 PARKSIDE DR                                                                                OREGON          OH    43616‐3041
MICHAEL F DURBIN                                    7389 MAPLE AVE #202                                                                             ST LOUIS        MO    63143‐3231
MICHAEL F DZIURKA JR                                4558 CARTER RD                                                                                  AUBURN          MI    48611‐9520
MICHAEL F EDDY                                      4752 GREENMOUNT PIKE                                                                            RICHMOND        IN    47374‐9685
MICHAEL F ELLUL                                     51605 SHADYWOOD DR                                                                              MACOMB          MI    48042‐4297
MICHAEL F ENGLER                                    22750 FROST                                                                                     MERRILL         MI    48637‐9742
MICHAEL F ERNST                                     26 HANOVER HILLS CT                                                                             SAINT CHARLES   MO    63301‐4549
MICHAEL F FARMER                                    1766 BUCKINGHAM                                                                                 LINCOLN PARK    MI    48146‐3506
MICHAEL F FARRELL                                   96 EVERDELL AVE                                                                                 HILLSOBLE       NJ    07642‐2315
MICHAEL F FISCH                                     117 GRANDVIEW AVE                                                                               HONESDALE       PA    18431‐1119
MICHAEL F FLEMING                                   8150 SAN JOSE BLVD                                                                              JACKSONVILLE    FL    32217‐3518
MICHAEL F FORD & MRS CLAIRE M FORD JT TEN           80 LEFFERTS LANE                                                                                CLARK           NJ    07066‐2331
MICHAEL F FOURNIER                                  3462 E WILSON RD                                                                                CLIO            MI    48420‐9776
MICHAEL F FRALEY                                    P O BOX 114                                                                                     VERNON          MI    48476
MICHAEL F GIBSON                                    2005 BIG OAK DR                                                                                 SPRING HILL     TN    37174‐2587
MICHAEL F GOLENIA                                   ATTN JANET FLORES                      9418 COTTONWOOD                                          MUNSTER         IN    46321‐3604
MICHAEL F GREIS                                     49960 KIAWAH TRAIL                                                                              MATTAWAN        MI    49071‐9728
MICHAEL F GRIES & HAROLD F GRIES JT TEN             6 WEXFORD COURT                                                                                 WARREN          NJ    07059‐5811
MICHAEL F GUARINO                                   1550 WORCESTER RD #511                                                                          FRAMINGHAM      MA    01702‐8931
MICHAEL F GUNN & DOROTHY MARIE BERDIT JT TEN        PO BOX 98                                                                                       SEFFNER         FL    33583‐0098

MICHAEL F HENSLEY                                   2800 W MEMORIAL DR                     LOT 57                                                   MUNCIE          IN    47302‐6408
MICHAEL F HOOVER                                    2512 TUMBLEWEED ST                                                                              JONESBORO       AR    72404‐0912
MICHAEL F HORGAN JR                                 101 ETON RD                                                                                     BRONXVILLE      NY    10708‐6520
MICHAEL F HUGHES                                    PO BOX 271                                                                                      SOUTHBOROUGH    MA    01772‐0271
MICHAEL F JAMES                                     8306 WILDLIFE RIDGE                                                                             DUBUQUE         IA    52003‐9480
MICHAEL F JERMOV                                    13756 MERRIE MEADOW LANE                                                                        SOUTH LYON      MI    48178‐9172
MICHAEL F JOURNEY                                   313 NELSON PARK CIR                                                                             MOORE           OK    73160‐8118
MICHAEL F KEENER                                    670 HOWARDS CREEK MILL RD                                                                       VALE            NC    28168‐8644
MICHAEL F KINMARTIN                                 19248 WEATHERVANE DR                                                                            MACOMB          MI    48044‐2884
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MICHAEL F KOSTEVICKI                              420 TOMS KNOB RD                                                                              SPARTA         NC    28675
MICHAEL F KRUPA                                   9601 CRESTWOOD AVE                                                                            MUNSTER        IN    46321‐3414
MICHAEL F LILL                                    239 BLACKBERRY DR                                                                             BOLINGBROOK    IL    60440‐2609
MICHAEL F LOSCHIAVO                               5779 ST RD 218 E                                                                              LA FONTAINE    IN    46940‐9221
MICHAEL F MAGSIG CUST ADAM MAGSIG UGMA CT         289 TACONIC RD                       APT 2D                                                   GREENWICH      CT    06831‐3116

MICHAEL F MALONEY                                 1357 WHITNEY                                                                                  SHAKOPEE       MN    55379‐8037
MICHAEL F MARAONE                                 22500 AMBERLUND CT                                                                            NOVI           MI    48374‐3790
MICHAEL F MARAONE CUST STEVEN MICHAEL             22500 AMBERLUND CT                                                                            NOVI           MI    48374‐3790
MARAONE UGMA MI
MICHAEL F MARKS & SARAH S MARKS JT TEN            1956 ARBUTUS AVE                                                                              LAKE CITY      MI    49651‐8075
MICHAEL F MASTERSON                               907 REGISTRY DR                      APT 121                                                  GRAND LEDGE    MI    48837‐1362
MICHAEL F MATHEWS                                 31520 VAN BORN RD                    APT 101                                                  WAYNE          MI    48184‐2664
MICHAEL F MAY                                     PO BOX 1982                                                                                   MUNCIE         IN    47308‐1982
MICHAEL F MC GARRY                                5786 REDBIRD COURT                                                                            DAYTON         OH    45431‐2919
MICHAEL F MC VEY                                  6321 N 250 E                                                                                  PITTSBORO      IN    46167
MICHAEL F MCDOWELL                                3735 S 1100 E                                                                                 GREENTOWN      IN    46936‐9411
MICHAEL F MCGARRY & PATRICIA L MCGARRY JT TEN     5786 REDBIRD CT                                                                               DAYTON         OH    45431‐2919

MICHAEL F MCGRAIL                                9158 DIXBORO                                                                                   SOUTH LYON      MI   48178‐9678
MICHAEL F MCGURRIN                               47749 CONCORD RD                                                                               MACOMB          MI   48044‐2547
MICHAEL F MCHALPINE & DELORES P MCHALPINE JT TEN 31284 KENWOOD                                                                                  MADISON HEIGHTS MI   48071‐1082

MICHAEL F MCPHEE & SUZANNE E MCPHEE JT TEN        636 STOW RD                                                                                   MARLBORO       MA    01752‐1586
MICHAEL F MIX                                     2399 E M 42                                                                                   MANTON         MI    49663‐9717
MICHAEL F MOORES                                  PO BOX 47                                                                                     SACUL          TX    75788‐0047
MICHAEL F NACKERMAN                               7930 HAMPTON GLEN TER                                                                         CHESTERFIELD   VA    23832‐2007
MICHAEL F NADOLNY                                 950 DALTON AVE                                                                                BALTIMORE      MD    21224‐3315
MICHAEL F NAPPI                                   1973 GLENDOWER DR                                                                             LANCASTER      PA    17601‐4945
MICHAEL F NEWMAN                                  239 NORTH 61ST                                                                                KANSAS CITY    KS    66102‐3205
MICHAEL F O'CONNOR                                48202 PRESTWYCK DR                                                                            MACOMB         MI    48044‐6511
MICHAEL F OUIMET                                  228 BAYLEY RD                                                                                 MASSENA        NY    13662‐3258
MICHAEL F PALERMO                                 22 ROBBIN CRESCENT                                                                            ROCHESTER      NY    14624‐1038
MICHAEL F PATTERSON & JUDY ANN PATTERSON JT TEN   1934 W DIVISION RD                                                                            JASPER         IN    47546‐9783

MICHAEL F PERRY                                   1151 WEILAND ROAD                                                                             ROCHESTER      NY    14626‐3916
MICHAEL F PETERSON                                RR4 BOX 20                                                                                    ADRIAN         MO    64720‐9503
MICHAEL F PETRY                                   35520 COOLEY RD                                                                               GRAFTON        OH    44044‐9481
MICHAEL F PITTS                                   PO BOX 648                                                                                    ORTONVILLE     MI    48462‐0648
MICHAEL F PROKOPOWICZ                             PO BOX 1330                                                                                   GWINN          MI    49841‐1330
MICHAEL F QUINN & ANN M QUINN JT TEN              8029 HOLYROOD COURT                                                                           DUBLIN         OH    43017‐9700
MICHAEL F REMS CUST MICHAEL F REMS JR UGMA NJ     334 VIRGINIA AVE                                                                              JERSEY CITY    NJ    07304‐1449

MICHAEL F REUBER & NOREEN W REUBER JT TEN         334 WOODCHUCK LN                                                                              HARWINTON      CT    06791
MICHAEL F REUSCHLING                              321 SAMARITAN AVE                                                                             ASHLAND        OH    44805‐3827
MICHAEL F ROMANS                                  4130 ROSEDALE RD                                                                              MIDDLETOWN     OH    45042‐3745
MICHAEL F SCHOMER                                 5001 E MAIN ST                       LOT 1038                                                 MESA           AZ    85205‐1327
MICHAEL F SHOOKS                                  401 KEARSLEY CT                                                                               ORTONVILLE     MI    48462
MICHAEL F SINNOTT                                 106 BOSTON HILLS ESTATES DRIVE                                                                HAMBURG        NY    14075‐7330
MICHAEL F SMOTHERS                                6254 DAVISON RD                                                                               BURTON         MI    48509‐1654
MICHAEL F SULLIVAN                                3609 SCOTT DR                                                                                 ALSIP          IL    60803‐1031
MICHAEL F TOWNSEND                                2232 N OAK RD                                                                                 DAVISON        MI    48423‐8170
MICHAEL F TUCKER                                  5 WINSTON PLACE                                                                               WILMINGTON     DE    19804‐1847
MICHAEL F URSCHEL                                 218 MARK CT                                                                                   GERMANTOWN     OH    45327‐9202
MICHAEL F VAN DRIESSCHE                           7676 LORRAINE DR                                                                              OKEANA         OH    45053‐9644
MICHAEL F VANHURK                                 5026 PALOMAR DR                                                                               FLINT          MI    48507‐4534
MICHAEL F VIG                                     14076 NORTH RD                                                                                FENTON         MI    48430‐1331
MICHAEL F WALTERS                                 4098 W FOREST RD                                                                              LAKE CITY      MI    49651‐9710
MICHAEL F WESLEY                                  382 PLEASANT BEACH CT                                                                         INDIAN RIVER   MI    49749‐9759
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MICHAEL F WHITEHAIR                               426 TOMOKA DR                                                                                  ENGLEWOOD        FL    34223‐6559
MICHAEL F WOODS                                   530 HILLSIDE AVE                                                                               ROCHESTER        NY    14610‐2930
MICHAEL F X ODONNELL                              4820 GLENBROOK RD NW                                                                           WASHINGTON       DC    20016‐3221
MICHAEL F ZAIKIS                                  805 BRADT ST                                                                                   SCHENECTADY      NY    12306‐4001
MICHAEL F ZELINSKI                                3784 BRIMFIELD                                                                                 AUBURN HILLS     MI    48326‐3339
MICHAEL F ZUMBRO                                  1185 GRIMES RD                                                                                 MANSFIELD        OH    44903‐9190
MICHAEL FAHEY                                     124 QUAKEE HIGHWAY                                                                             UXBRIDGE         MA    01569‐1630
MICHAEL FAHRBACH U/GDNSHP OF GLORIA G             9905 FOUR SEASONS LN                                                                           LOUISVILLE       KY    40241
FAHRBACH
MICHAEL FEAGAN                                    428 S WEST AVE                                                                                 FREEPORT         IL    61032‐4943
MICHAEL FELDMAN                                   166 SE SAINT LUCIE BLVD #204D                                                                  STUART           FL    34996‐4769
MICHAEL FEOLA                                     78 WEILAND WOODS LN                                                                            ROCHESTER        NY    14626‐4057
MICHAEL FIGURELLE & KATHY FIGURELLE JT TEN        8722 EATON RD                                                                                  DAVISBURG        MI    48350‐1508
MICHAEL FILIPPONE CUST JOSEPH V FILIPPONE UGMA NJ 73 CHRISTINE DR                                                                                EAST HANOVER     NJ    07936‐3075

MICHAEL FINGER & SANDRA FINGER JT TEN             13422 BAFING DR                                                                                HOUSTON          TX    77083‐6393
MICHAEL FINK                                      408 HONEY LOCUST DR                                                                            WHEELING         IL    60090‐6218
MICHAEL FISCHER & RITA FISCHER JT TEN             28 WESTBURY DRIVE                                                                              SARATOGA SPRINGS NY    12866‐9228

MICHAEL FISHER                                    1489 RED APPLE RD                                                                              MANISTEE         MI    49660‐9609
MICHAEL FISHMAN                                   154‐A HICKS ST                                                                                 BROOKLYN         NY    11201‐2375
MICHAEL FITTON                                    26601 COOLIDGE HWY                                                                             OAK PARK         MI    48237‐1135
MICHAEL FITZGERALD                                28401 CARRY BACK CT                                                                            TEHACHAPI        CA    93561
MICHAEL FLOWERS                                   11261 NORWICH LN                                                                               ORLAND PARK      IL    60462
MICHAEL FLOYD GREER                               967 SCHOEL DR                                                                                  DECATUR          GA    30033‐4916
MICHAEL FONTANA                                   138 53 S W 84TH STREET                                                                         MIAMI            FL    33183‐4435
MICHAEL FOREST                                    4611 CERRO VERDE PLACE                                                                         TARZANA          CA    91356‐4807
MICHAEL FORRESTER                                 5081 PONDEROSA FARM RD                                                                         GAINESVILLE      GA    30507
MICHAEL FOSTER                                    1725 RAMAR RD                                                                                  BULLHEAD CITY    AZ    86442‐6816
MICHAEL FOX                                       315 DIAMOND AVE                                                                                CHRISTIANSBURG   VA    24073
MICHAEL FRANCIS BORICHEWSKI                       4 APPLEBY LANE                                                                                 EAST BRUNSWICK   NJ    08816‐3617
MICHAEL FRANCIS D'AMICO & RAINA D'AMICO JT TEN    PO BOX 278                                                                                     MORRIS           NY    13808‐0278

MICHAEL FREDERICK HARRIS                          5950 FRY RD                                                                                    BROOK PARK       OH    44142‐2748
MICHAEL FREDERICK REDMOND                         138 RIVER BIRCH LANE                                                                           PAWLEYS ISLAND   SC    29585‐6445
MICHAEL FREER                                     2700 GORLAD                                                                                    LAKE ORION       MI    48360‐2206
MICHAEL FUENTES                                   591 CORBIN AV                                                                                  NEW BRITAIN      CT    06052‐1658
MICHAEL G ABBOTT & JOAN E ABBOTT JT TEN           2674 CHURCHILL LANE #6                                                                         SAGINAW          MI    48603‐2684
MICHAEL G ACTON                                   2120 HAYES DENTON RD                                                                           COLUMBIA         TN    38401‐8227
MICHAEL G ALLEN & MARGARET M ALLEN JT TEN         109 ROOSEVELT DRIVE                                                                            LOCKPORT         NY    14094‐5721
MICHAEL G ANATRA                                  735 N HENRY ST                                                                                 CRESTLINE        OH    44827‐1036
MICHAEL G ATKINSON                                6662 RIDGEVIEW DR                                                                              CLARKSTON        MI    48346‐4459
MICHAEL G BALDWIN                                 5222 W COURT ST                                                                                FLINT            MI    48532‐4115
MICHAEL G BARILE                                  20100 CHAPEL TRCE                                                                              ESTERO           FL    33928‐2987
MICHAEL G BERARDI                                 78 BETHANY ROAD                                                                                FRAMINGHAM       MA    01702‐7250
MICHAEL G BERARDI JR                              14 AGAWAM DR                                                                                   NORTHBOROUGH     MA    01532‐2434
MICHAEL G BERILLA JR                              10499 STUART DR                                                                                PAINESVILLE      OH    44077‐5903
MICHAEL G BIRMINGHAM & TERESAMARIE J              5949 SADDLERIDGE ROAD                                                                          ROANOKE          VA    24018‐4627
BIRMINGHAM JT TEN
MICHAEL G BOGOS                                   1263 BUTLER BLVD                                                                               HOWELL           MI    48843‐1303
MICHAEL G BUSSELL                                 1420 CORVETTE AVE                                                                              SEBRING          FL    33872‐2928
MICHAEL G CAREY                                   29742 FALL RIVER RD                                                                            SOUTHFIELD       MI    48076‐1846
MICHAEL G CARR & RACHEL J CARR JT TEN             1900 RHODODENDRON WAY                                                                          BELLINGHAM       WA    98226‐4559
MICHAEL G CARSON                                  1235 TAMARACK LANE                                                                             OAKLAND          MI    48363‐1256
MICHAEL G CARTIER                                 1608 PAREE ST                                                                                  NEWPORT          MI    48166‐9255
MICHAEL G CATALDO                                 314 LOWELL ST                                                                                  SOMERVILLE       MA    02145‐3642
MICHAEL G CLUTE                                   111 BALLATORE CT                                                                               CARY             NC    27519‐6992
MICHAEL G COUCH                                   11339 CARR RD                                                                                  DAVISON          MI    48423‐9369
MICHAEL G COURTRIGHT                              15020 ACORN CIRCLE                                                                             PORT CHARLETTE   FL    33981‐4243
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Name                                               Address1                               Address2             Address3          Address4          City            State Zip

MICHAEL G CSINTYAN JR                              8397 N LINDEN RD                                                                                MT MORRIS       MI    48458‐9326
MICHAEL G DEERING                                  471 HILDALE                                                                                     DETROIT         MI    48203‐1949
MICHAEL G DI RISIO                                 12 MORGAN ST                                                                                    PRATTSBURH      NY    14873‐9542
MICHAEL G DICKINSON                                ADAM OPEL IPC 55‐70                    MAINZER STRASSE      RUSSELSHEIM       65423 GERMANY
MICHAEL G DISON                                    5019 LOLLY LA                                                                                   PERRY HALL      MD    21128‐9613
MICHAEL G DRISCOLL                                 13684 GEDDES RD                                                                                 HEMLOCK         MI    48626‐9431
MICHAEL G DURAND                                   23 8TH AVE                                                                                      WOONSOCKET      RI    02895‐5015
MICHAEL G EGEDY                                    4042 48TH AVE                                                                                   HUDSONVILLE     MI    49426‐9408
MICHAEL G ETLINGER                                 4042 WINTERPARK DR                                                                              LIVERPOOL       NY    13090‐1608
MICHAEL G EVANS                                    7273 BETH CT                                                                                    FRANKLIN        OH    45005‐4262
MICHAEL G FEDOR                                    9563 FOREST HILLS CIR                                                                           SARASOTA        FL    34238
MICHAEL G FERRETT                                  178 GLENWOOD DR                                                                                 HUBBARD         OH    44425‐2166
MICHAEL G FITZGERALD                               9150 PINE KNOB RD                                                                               CLARKSTON       MI    48348‐3022
MICHAEL G FLYNT                                    601 PARKRIDGE N                                                                                 MANSFIELD       TX    76063
MICHAEL G FORSHEE                                  7427 NW DONOVAN DR                     APT 1002                                                 KANSAS CITY     MO    64153‐2474
MICHAEL G GAINES                                   1296 RUTLEDGE DR                                                                                TEMPERANCE      MI    48182‐1241
MICHAEL G GIBBONS & RETA SUE GIBBONS JT TEN        1700 S NORVICK RD                                                                               SUTTONS BAY     MI    49682‐9193
MICHAEL G GIDCUMB                                  2621 PINEVIEW DR                                                                                W BLOOMFIELD    MI    48324‐1973
MICHAEL G GLAGOLA                                  659 MILL POINTE DR                                                                              MILFORD         MI    48381‐1879
MICHAEL G GOLDEN                                   1107 N TOLLGATE RD                                                                              BEL AIR         MD    21014
MICHAEL G GOLDMAN & CYNTHIA S GOLDMAN JT TEN       4007 HEIGHTS VIEW DR                                                                            SAN ANTONIO     TX    78230‐5874

MICHAEL G GREEN & SUSAN M GREEN JT TEN             18036 W NARRAMORE RD                                                                            GOODYEAR        AZ    85338
MICHAEL G GULINO                                   9636 S 49TH AVENUE                                                                              OAK LAWN        IL    60453‐3004
MICHAEL G HALIKOS                                  129 HIGHLAND DR                                                                                 INDUSTRY        PA    15052‐1913
MICHAEL G HARRIS                                   2009 TURTLECREEK ROAD                                                                           EDMOND          OK    73013‐6612
MICHAEL G HEATHMAN                                 885 S FOX HILL DR                                                                               SPANISH FORK    UT    84660‐2808
MICHAEL G HENNAGIR                                 G‐5225 LAPEER ROAD                                                                              BURTON          MI    48509
MICHAEL G HENNESSY                                 175 LORELEE DRIVE                                                                               TONAWANDA       NY    14150‐4326
MICHAEL G HERSCHLER & MARY J HERSCHLER JT TEN      300 MORTON DR                                                                                   QUINCY          IL    62301‐9246

MICHAEL G HOFFMAN                                  5606 PURLINGTON WAY                                                                             BALTIMORE       MD    21212‐2950
MICHAEL G HOLT                                     4381 SCOTT HOLLOW RD                                                                            CULLEOKA        TN    38451‐3111
MICHAEL G HUNLEY                                   4092 LAURA MARIE DR                                                                             WAYNESVILLE     OH    45068‐8940
MICHAEL G HUPF                                     95 N BAYVIEW DR                                                                                 PORT LUDLOW     WA    98365‐9447
MICHAEL G JUSTIN                                   PO BOX 471                                                                                      ATLANTA         MI    49709‐0471
MICHAEL G KAMPS CUST AYDEN DEAN FEMRITE UTMA       702 ONEIDA ST                                                                                   BEAVER DAM      WI    53916‐1442
WI
MICHAEL G KAPOLKA                                  30162 WINTHROP                                                                                  MADISON HTS     MI    48071‐2216
MICHAEL G KECSKES JR & MARJORIE J KECSKES JT TEN   6453 MARENGO                                                                                    BRIGHTON        MI    48116‐2008

MICHAEL G KELLOGG                                  3655 WELCH DR                                                                                   INDIANAPOLIS    IN    46224‐1637
MICHAEL G KEY                                      26689 28TH AVE                                                                                  GOBLES          MI    49055
MICHAEL G KIRSCH                                   9 HAYRAKE LANE                                                                                  CHAPPAQUA       NY    10514‐1605
MICHAEL G KNIGHT                                   25146 HAGGERTY RD                                                                               NEW BOSTON      MI    48164‐9058
MICHAEL G KOHUT                                    4673 MESA CT                                                                                    CLARKSTON       MI    48348‐2266
MICHAEL G LANCINA                                  27424 POLK AVE                                                                                  TRENTON         MI    48183‐5905
MICHAEL G LASKOWSKI                                416 STATE STREET                       APT 3                ANDREA                              ADRIAN          MI    49221
MICHAEL G LAWRENCE                                 81 MORNINGSIDE RD                                                                               VERONA          NJ    07044‐1028
MICHAEL G LONG                                     3882 FORGE DR                                                                                   TROY            MI    48083‐5926
MICHAEL G LUKAS                                    77 TOWER HILL RD                                                                                MOUNTAIN LKS    NJ    07046‐1207
MICHAEL G MAGEE                                    8265 CADE RD                                                                                    BROWN CITY      MI    48416‐9666
MICHAEL G MAGEE & MARY JO MAGEE JT TEN             404 BARCLAY RD                                                                                  GROSSE POINTE   MI    48236‐2814
MICHAEL G MARTINKA                                 7224 SLAFTER RD                                                                                 VASSAR          MI    48768‐9653
MICHAEL G MCCLENDON                                39 HENDERSON RD                                                                                 SOMERVILLE      AL    35670‐3750
MICHAEL G MCKAY                                    145 JULIE ANNE DRIVE                                                                            ORTONVILLE      MI    48462‐9725
MICHAEL G MCKAY & GLADYS B MCKAY JT TEN            145 JULIE ANN DR                                                                                ORTONVILLE      MI    48462‐9725
MICHAEL G MCWILLIAMS                               1257 S 300 E                                                                                    ANDERSON        IN    46017‐1909
MICHAEL G MENCZER                                  10352 LOUISE                                                                                    GRANADA HILLS   CA    91344‐6125
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MICHAEL G MERTENS                                   7853 SOUTH HARRISON CIRCLE                                                                      CENTENNIAL      CO    80122
MICHAEL G METTEL                                    602 N GENE PL                                                                                   TUCSON          AZ    85710‐2644
MICHAEL G MEYER                                     5090 HECKATHORN ROAD                                                                            BROOKVILLE      OH    45309‐8381
MICHAEL G MOREY                                     5149 N LAPEER RD                                                                                COLUMBIAVILLE   MI    48421
MICHAEL G MORR                                      313 WILMINGTON DR                                                                               LOVELAND        OH    45140‐2123
MICHAEL G MULLER                                    21804 WINGFOOT CT                                                                               ASHBURN         VA    20148‐4503
MICHAEL G MULLINS                                   4986 WELLS RD                                                                                   PETERSBURG      MI    49270‐9394
MICHAEL G O'BRIEN CUST GEORGE MICHAEL O'BRIEN       1005 SOUTH GROVE AVE                                                                            BARRINGTON      IL    60010‐5024
UTMA IL
MICHAEL G OHMANN                                    979 BIRCH STREET                                                                                CIRCLE PINES    MN    55014‐1362
MICHAEL G OLEKSAK & ROBYN S OLEKSAK JT TEN          53 GLENWOOD DR                                                                                  WESTFIELD       MA    01085‐4920
MICHAEL G OTTEN                                     1511 BLUE SKY PARK RD                                                                           WILLIAMSBURG    OH    45176‐9451
MICHAEL G PANKNER                                   3198 BROOKSIDE DR                                                                               WATERFORD       MI    48328‐2596
MICHAEL G PARIS                                     747 RIDGEFIELD DR                                                                               COOPERSVILLE    MI    49404‐9665
MICHAEL G PETERS                                    1000 ROSS AVE                                                                                   HAMILTON        OH    45013‐2541
MICHAEL G PETERS                                    BOX 345                                                                                         LINCOLNDALE     NY    10540‐0345
MICHAEL G PETRUSHA                                  159 N AVERY                                                                                     WATERFORD       MI    48328‐2905
MICHAEL G PETRUSHA & BETTY A PETRUSHA JT TEN        159 N AVERY                                                                                     WATERFORD       MI    48328‐2905

MICHAEL G PIERSON                                   11938 COON HOLLOW ROAD                                                                          THREE RIVERS    MI    49093‐8513
MICHAEL G PILLES CUST MICHAEL G PILLES JR UTMA NJ   3 LYRIC DR                                                                                      COLONIA         NJ    07067‐2103

MICHAEL G PILLES CUST STEFANIE A PILLES UTMA NJ     3 LYRIC DR                                                                                      COLONIA         NJ    07067‐2103

MICHAEL G PINTYE                                    1624 JAMIE DR                                                                                   COLUMBIA        TN    38401‐5432
MICHAEL G PIZZICATO                                 3431 DEWEY AVENUE                                                                               ROCHESTER       NY    14616‐3241
MICHAEL G POHL                                      9476 PEAKE RD                                                                                   PORTLAND        MI    48875‐8423
MICHAEL G REMLEY                                    902 ROMAN DR                                                                                    WHITELAKE       MI    48386‐4397
MICHAEL G REMLEY & BARBARA JEAN REMLEY JT TEN       902 ROMAN DR                                                                                    WHITELAKE       MI    48386‐4397

MICHAEL G RICE                                      208 CAMBRIDGE PLACE                                                                             FRANKLIN        TN    37067‐4412
MICHAEL G ROSS                                      16015 WOLF CREEK                                                                                SAN ANTONIO     TX    78232‐2748
MICHAEL G RYAN                                      20738 YOUNG LN                                                                                  GROSSE POINTE   MI    48236‐1409
MICHAEL G SABOL                                     20 BUFFALO ST                                                                                   CLARKSTON       MI    48346‐2100
MICHAEL G SIMERLY                                   18869 MOORE                                                                                     ALLEN PARK      MI    48101‐1566
MICHAEL G SLEESEMAN                                 602 GOMAS COURT                                                                                 DURAND          MI    48429‐1723
MICHAEL G SNELL                                     2834 PEPPERS FERRY RD NW               LOT 15                                                   CHRISTIANSBRG   VA    24073
MICHAEL G SNITZER                                   52 YOUNGS ROAD                                                                                  BUFFALO         NY    14221‐5804
MICHAEL G SPIKER                                    394 E KALAMO HWY                                                                                CHARLOTTE       MI    48813‐9199
MICHAEL G STEPHENS                                  3687 ZIMMERMAN RD                                                                               TRAVERSE CITY   MI    49684
MICHAEL G TAORMINO & SUSAN E TAORMINO JT TEN        1874 WYNGATE                                                                                    TROY            MI    48098

MICHAEL G TARANTINO                            193 BETHS AVE                                                                                        BRISTOL         CT    06010‐4838
MICHAEL G TAYLOR                               9 GREENWOOD CIR                                                                                      N TONAWANDA     NY    14120‐2808
MICHAEL G THOMPSON                             109 ALLEN WAY                                                                                        PLEASANT HILL   CA    94523‐3217
MICHAEL G THOMPSON                             1776 ARROWHEAD CT                                                                                    DEFIANCE        OH    43512‐3355
MICHAEL G TOBIN                                PO BOX 126                                  1852 BUNGO TRAIL                                         LAKE GEORGE     MI    48633‐0126
MICHAEL G TOLLE                                312 WESTERLY HILLS                                                                                   ENGLEWOOD       OH    45322‐2341
MICHAEL G TOMLINSON                            9024 CREEKVIEW CT                                                                                    GRAND BLANC     MI    48439‐8389
MICHAEL G UHRICK                               2114 NORTH GERRARD AVE                                                                               SPEEDWAY        IN    46224‐5038
MICHAEL G VESTRAND CUST ASHLEY N VESTRAND UTMA 6226 99TH ST E                                                                                       BRADENTON       FL    34202‐9371
FL
MICHAEL G VOJTKO                               814 COLLAR PRICE RD N E                                                                              BROOKFIELD      OH    44403‐9522
MICHAEL G WALL                                 70 ST ANDREWS SQUARE                        CHRISTCHRUCH 5                         NEW ZEALAND
MICHAEL G WALTERS TR MICHAEL G WALTERS REV     54870 N MAIN                                                                                         MATTAWAN        MI    49071
TRUST UA 02/01/97
MICHAEL G WARCHUCK                             4600 WATERMAN RD                                                                                     VASSAR          MI    48768‐9703
MICHAEL G WARD                                 623 MAIN ST                                                                                          GROVEPORT       OH    43125‐1420
MICHAEL G WEBER & MRS NANCY E WEBER JT TEN     207 W 7TH AVE                                                                                        RITZVILLE       WA    99169‐2203
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Name                                              Address1                               Address2             Address3          Address4          City              State Zip

MICHAEL G WHITE & LINDA K WHITE JT TEN         6924 MOCCASIN                                                                                      WESTLAND          MI    48185‐2809
MICHAEL G WHITELAW                             20255 EVERGREEN RD                                                                                 DETROIT           MI    48219‐1409
MICHAEL G WILEY                                                                                                                                   ALLARDT           TN    38504
MICHAEL G WILLIAMS                             5635 GUNSTON LANE                                                                                  CAMP SPRINGS      MD    20746‐4400
MICHAEL G WOOLEVER                             2429 FAIR LANE                                                                                     BURTON            MI    48509‐1309
MICHAEL G WOOLEVER & CANDACE J WOOLEVER JT TEN 2429 FAIR LANE                                                                                     BURTON            MI    48509‐1309

MICHAEL G WRIGHT                                  9357 S SHERWOOD DR                                                                              FRANKLIN         WI     53132‐9130
MICHAEL G WULLAERT                                860 HUNTSFORD                                                                                   TROY             MI     48084‐1614
MICHAEL G YONDRICK                                26134 JOANNE SMITH LN                                                                           CHESTERFIELD     MI     48051‐3303
MICHAEL G YOUNESS                                 42592 ELIZABETH WY                                                                              CLINTON TOWNSHIP MI     48038‐1726

MICHAEL G ZAHORCHAK & PAMELA A ZAHORCHAK JT       1002 LORI LANE                                                                                  PHOENIXVILLE      PA    19460‐4704
TEN
MICHAEL G ZDAN                                    3025 PAYNES PLACE                                                                               THE VILLAGES      FL    32162‐7459
MICHAEL G ZDAN & LILLIAN B ZDAN JT TEN            3025 PAYNES PL                                                                                  THE VILAGES       FL    32162‐7459
MICHAEL G ZIMMERMAN                               236 DIAMOND DR                                                                                  DAYTON            OH    45458‐4946
MICHAEL GABBARD                                   1603 FAYE ST SW                                                                                 DECATUR           AL    35601‐2732
MICHAEL GABBARD EX UW ELZIE LEE GABBARD           115 S HEFLIN ST                                                                                 INDIANAPOLIS      IN    46229‐2909
MICHAEL GAGNON                                    53 BEVERLEE RD                                                                                  TYNGSBORO         MA    01879‐1251
MICHAEL GALLAN                                    2422 CHESTNUT STREET                                                                            FALLS CHURCH      VA    22043‐3052
MICHAEL GALLEGOS                                  1807 E MITCHELL                                                                                 ARLINGTON         TX    76010‐3025
MICHAEL GAMBONE CUST DAVID GAMBONE UGMA CT        119 INVERARY DR                                                                                 WATERTOWN         CT    06795‐1753

MICHAEL GANICH                                    457 VICTORIA LN                        #7                                                       ROMEO             MI    48065‐4826
MICHAEL GARBER                                    149‐B HERITAGE HILLS DRIVE                                                                      SOMERS            NY    10589‐1117
MICHAEL GARRY                                     FLYNN ROAD P O                         BOX 73                                                   PARKSVILLE        NY    12768‐0073
MICHAEL GARY PERSH TR MICHAEL GARY PERSH LIVING   1607 EIGHT PLACE                                                                                MCLEAN            VA    22101‐4615
TRUST UA 09/21/92
MICHAEL GARY RICHARDS                             12970 REED RD                                                                                   GRAFTON           OH    44044‐9577
MICHAEL GARY SALIT                                26 BRISTOL PLACE                                                                                WILTON            CT    06897‐1524
MICHAEL GASKA                                     2 SENECA PARKSIDE                                                                               BUFFALO           NY    14210
MICHAEL GAST                                      609 N EDGEMERE DR                                                                               ALLENHURST        NJ    07711‐1321
MICHAEL GEEHAN                                    313 FISKE ST                                                                                    HOLLISTON         MA    01746‐2048
MICHAEL GENE GOSSETT                              19361 NEGAUNEE                                                                                  DETROIT           MI    48240‐1639
MICHAEL GENE QUIST                                11 NORMAN RIDGE DR                                                                              MINNEAPOLIS       MN    55437‐1749
MICHAEL GEORGE                                    186 WESTMINSTER DR                                                                              YONKERS           NY    10710‐4221
MICHAEL GEORGE                                    1106 CHEVY LN                                                                                   PIQUA             OH    45356‐8558
MICHAEL GEORGE ARGIRIS                            PO BOX 4757                                                                                     INCLINE VILLAGE   NV    89450‐4757
MICHAEL GEORGE MILNE                              PO BOX 7710                                                                                     ANN ARBOR         MI    48107‐7710
MICHAEL GEORGE MONTICINO                          1904 WARWICK CRESCENT COURT                                                                     ARGYLE            TX    76226‐1526
MICHAEL GEORGE NOYES                              43 GROVE ST                                                                                     WALDWICK          NJ    07463‐2022
MICHAEL GEORGITSIS                                736 LAKE AVE                                                                                    GREENWICH         CT    06830‐3363
MICHAEL GERIC                                     2857 DOVER CENTER RD                                                                            WESTLAKE          OH    44145‐4504
MICHAEL GERITY & CAROLYN GERITY JT TEN            146 POND MEADOW RD                                                                              KILLINGWORTH      CT    06419‐1120
MICHAEL GERSIE                                    9 HIGHBRIDGE BLVD                                                                               MEDFORD           NJ    08055‐3341
MICHAEL GIANNAKOS                                 4073 SUNNYBROOK S E                                                                             WARREN            OH    44484‐4741
MICHAEL GIBBONS                                   11 ASTON DR                                                                                     STATEN ISLAND     NY    10312
MICHAEL GIBBONS & MRS FOLSTA SARA GIBBONS JT      106 N FILMORE                                                                                   KIRKWOOD          MO    63122‐4312
TEN
MICHAEL GIBSON                                    7671 W 00 NS                                                                                    KOKOMO            IN    46901‐9527
MICHAEL GIGNAC                                    10625 MULBERRY STREET#                 WINDSOR ON                             N8R 1H7 CANADA
MICHAEL GILBERT                                   210 7TH STREET                                                                                  OOLITIC           IN    47451‐9755
MICHAEL GILES                                     2060 S JOHN HIX ST                                                                              WESTLAND          MI    48186‐3740
MICHAEL GILLIAM PER REP EST GARY D GILLIAM        4366 E CARPENTER RD                                                                             FLINT             MI    48506
MICHAEL GILMORE                                   1320 KEARNEY AVE                                                                                MODESTO           CA    95350
MICHAEL GIUNTA & PATRICIA GIUNTA JT TEN           51 ATWILL ROAD                                                                                  WEST ROXBURY      MA    02132‐2527
MICHAEL GIUSEFFI CUST JENNIFER LYNN GIUSEFFI      10870 WINDHAM WAY                                                                               ALPARETTA         GA    30022‐7071
UGMA NY
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Name                                           Address1                            Address2             Address3          Address4          City               State Zip

MICHAEL GLICK                                  10363 LA GRANGE AVENUE                                                                       LOS ANGELES        CA    90025‐5119
MICHAEL GOMEZ                                  401 SO 78TH ST                                                                               KANSAS CITY        KS    66111‐2660
MICHAEL GOODMAN                                325 GOODMAN LN                                                                               ELIZABETHTOWN      KY    42701‐5766
MICHAEL GOOLD                                  3800 SW BLVD                                                                                 FORT WORTH         TX    76116
MICHAEL GORDON SHIPPEE                         9028 WILLIAMS                                                                                TAYLOR             MI    48180‐2821
MICHAEL GOZELSKI U/GDNSHP OF UNA MORA GOZELSKI 3 HOWARD COURT                                                                               EAST NORTHPORT     NY    11731‐3124

MICHAEL GRAHAM & NANCY GRAHAM JT TEN           12902 BELDING RD                                                                             BELDING            MI    48809‐9310
MICHAEL GRAHAM CIVAK                           12 MOHAWK DRIVE                     ST CATHERINES ON                       L2R 1C1 CANADA
MICHAEL GRAHEK JR                              5074 KILDARE CT                                                                              FREDERICKSBURG     VA    22407‐6564
MICHAEL GRAHLFS                                30 SEAWANE RD                                                                                EAST ROCKAWAY      NY    11518‐2414
MICHAEL GRAMES & VIVIAN GRAMES JT TEN          409 COLFORD AVE                                                                              WEST CHICAGO       IL    60185‐2818
MICHAEL GRASSO CUST DAVID GRASSO UGMA PA       704 S 6TH ST                        #3                                                       PHILADELPHIA       PA    19147‐2110
MICHAEL GRAY                                   29 BRIARDALE PL                                                                              WILTON             CT    06897‐2700
MICHAEL GRAY ASHLEY                            5181 N FOX DR                                                                                SANFORD            MI    48657‐9114
MICHAEL GRAY HAMBY                             63 BRAND AND KNIGHT RD                                                                       WINDHAM            ME    04062
MICHAEL GRAYSON                                409 GRANT STREET                                                                             OLYPHANT           PA    18447‐1519
MICHAEL GREEN                                  283 DONAHUE BEACH RD                                                                         BAY CITY           MI    48706‐1812
MICHAEL GREEN                                  7954 SOUTHBURY DR                                                                            CENTERVILLE        OH    45458
MICHAEL GREENBERG                              723 HILLWOOD                                                                                 WHITE LAKE         MI    48383‐2962
MICHAEL GREENE                                 8738 FAIRBEND                                                                                HOUSTON            TX    77055‐3121
MICHAEL GREGORY MEYERAND                       2302 HIDDEN TRAIL                                                                            STERLING HEIGHTS   MI    48314‐3740

MICHAEL GREGORY SARHATT                        290 WINDSONG DR                                                                              RICHMOND HILL      GA    31324‐7312
MICHAEL GRELLA                                 CHESTNUT HIL                                                                                 LITCHFIELD         CT    06759
MICHAEL GROSS                                  7 OLD WETHERSFIELD ROAD                                                                      OCEAN              NJ    07712‐3344
MICHAEL H BAUER                                609 CANYON DR                                                                                COLUMBIA           TN    38401‐6119
MICHAEL H BETHKA                               7525 NORTH LUCE ROAD                                                                         ALMA               MI    48801‐9206
MICHAEL H BOWSER                               17017 NORBROOD DR                                                                            OLNEY              MD    20832‐2623
MICHAEL H BROOKS                               8625 CHUCKER CIR                                                                             FOUNTAIN VALLEY    CA    92708‐6203

MICHAEL H BUCKLEY                              9 RUSHOLME CR                       ST CATHARINES ON                       L2T 3V3 CANADA
MICHAEL H BUI                                  2562 AUDUBON PL                                                                              BILOXI             MS    39531‐3707
MICHAEL H BURDICK CUST LAUREN M BURDICK UGMA   8379 BEACON LANE                                                                             NORTHVILLE         MI    48167‐9469
MI
MICHAEL H COLLINS                              1068 WHISPERING WOODS DR                                                                     CANTON             GA    30114‐2230
MICHAEL H COWLEY                               6889 COUNTY RD 10                                                                            FLORENCE           AL    35633‐3231
MICHAEL H DAVIS                                310 KIMBERLY DR                                                                              COLUMBIA           TN    38401‐6908
MICHAEL H DONOVAN                              1711 W NELSON ST                                                                             MARION             IN    46952‐3323
MICHAEL H DUBBS                                1910 DEER HILL CT                                                                            WAYZATA            MN    55391‐2206
MICHAEL H ELLIS                                2441 JOHN PAUL JONES                                                                         PENSACOLA          FL    32505‐3405
MICHAEL H FORD                                 931 ORCHARD AVE                                                                              WINCHESTER         VA    22601‐5815
MICHAEL H FORRESTER                            5081 PONDEROSA FARM RD                                                                       GAINESVILLE        GA    30507‐8715
MICHAEL H FORYS                                2743 NORTH BRANCH RD                                                                         NORTH BRANCH       MI    48461‐9386
MICHAEL H FOUCART                              3646 OAKVIEW                                                                                 WATERFORD          MI    48329‐1843
MICHAEL H FRANKS                               36751 HWY 24                                                                                 RUSSELLVILLE       AL    35654‐3820
MICHAEL H FREELAND                             7243 HYPERION WAY                                                                            PARKER             CO    80134‐5406
MICHAEL H GAGE                                 1734 KENNETH AVE                                                                             BALDWIN            NY    11510
MICHAEL H GERRITY                              4771 ESSEX DRIVE                                                                             DOYLESTOWN         PA    18901‐9529
MICHAEL H GILBERT                              701 BIRCH CT                                                                                 KOKOMO             IN    46902‐5509
MICHAEL H GILLMAN                              5038 WOLF CREEK RD                                                                           SHERMAN            IL    62684‐8181
MICHAEL H GILMORE                              23856 MARIANO ST                                                                             WOODLAND HILLS     CA    91367‐5736

MICHAEL H GULICK                               7448 WICKLOW NORTH DR                                                                        DAVIDSON           MI    48423‐8380
MICHAEL H HAYDA                                364 WESTCHESTER DR SE                                                                        WARREN             OH    44484‐2173
MICHAEL H HAZLETT                              1336 S POST RD                                                                               INDIANAPOLIS       IN    46239‐9632
MICHAEL H HIPES                                2600 W SNOVER RD                                                                             MAYVILLE           MI    48744‐9425
MICHAEL H JOHNSON                              8650 SPRING HILL TRAIL                                                                       POLAND             OH    44514‐5828
MICHAEL H JONES                                2650 BEECH HILL RD                                                                           PULASKI            TN    38478‐7203
                                               09-50026-mg              Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                              Address2             Address3          Address4          City             State Zip

MICHAEL H JUHOLA                                 9851 E COLE RD                                                                                 DURAND           MI    48429‐9464
MICHAEL H KONWINSKI                              21544 KINGS POINTE BLVD               APT 107                                                  TRENTON          MI    48183‐7609
MICHAEL H KREKORIAN & MARY ALICE FUGITT JT TEN   950 MARINER ST                                                                                 CARLSBAD         CA    92011‐1108

MICHAEL H LEHNER                                 3136 N OAK RD                                                                                  DAVISON          MI    48423‐8114
MICHAEL H LOTZ                                   1508 GAGE RD                                                                                   FORESTVILLE      NY    14062‐9528
MICHAEL H MACEACHERN                             6481 RIALL ST                         NIAGARA FALLS ON                       L2J 1Z4 CANADA
MICHAEL H MADORMO                                465 BEVIER ST                                                                                  BINGHAMTON       NY    13904‐2628
MICHAEL H MAHER                                  265 RICHMOND AVE                                                                               BOAZ             AL    35957‐6448
MICHAEL H MANKER                                 808 WOOD TRIAL DR                                                                              AZLE             TX    76020‐5016
MICHAEL H MASON                                  5406 EMERSON WAY                                                                               ANDERSON         IN    46017‐9648
MICHAEL H MAYER                                  5 LONGFELLOW DRIVE                                                                             BLACK MOUNTAIN   NC    28711‐9304

MICHAEL H MAYON TR WENDY WILSON TRUST UA         1595 KENSINGTON CIRCLE                                                                         LOS ALTOS        CA    94024‐6030
11/23/93
MICHAEL H MC DIARMID                             141 W DAWSON                                                                                   MILFORD          MI    48381‐2707
MICHAEL H MCAULIFFE                              P.O. BOX 368                                                                                   SPRING HILL      TN    37174‐0368
MICHAEL H MCDONOUGH                              1200 FULLER WISER RD                  APT 818                                                  EULESS           TX    76039‐3093
MICHAEL H MILLER                                 4815 GOLDENROD LN                                                                              LINCOLN          NE    68512‐1323
MICHAEL H MILLER                                 4852 TONAWANDA CREEK ROAD                                                                      N TONAWANDA      NY    14120‐9528
MICHAEL H MILLER                                 6070 CARRIAGE HILL DR                 APT 22                                                   EAST LANSING     MI    48823
MICHAEL H MORAN & HARRIET I MORAN JT TEN         520 GREYHOUND PASS                                                                             CARMEL           IN    46032‐1049
MICHAEL H MOSELEY                                373 BEECHCREST CIR                                                                             LEWISBURG        TN    37091
MICHAEL H MOUNT                                  5731 N INDIAN TRAIL                                                                            TUCSON           AZ    85750‐1308
MICHAEL H NAGAO & NANCY NAGAO JT TEN             11341 RIDGEGATE DR                                                                             WHITTIER         CA    90601‐1755
MICHAEL H NEDROW                                 104 CHURCHILL CIR                                                                              SOUTHLAKE        TX    76092‐5124
MICHAEL H POLZIN                                 6681 NORTH MAYNE                                                                               ROANOKE          IN    46783‐9150
MICHAEL H SCHIRMER TR MICHAEL H SCHIRMER TRUST   PO BOX 273                                                                                     BURT LAKE        MI    49717
UA 08/05/99
MICHAEL H SCHLAKE                                1608 S VILA                                                                                    INDIANAPOLIS     IN    46203
MICHAEL H SCHRIER                                CENTRAL COLLEGE                                                                                PELLA            IA    50218
MICHAEL H SERIO JR & GERALDINE G SERIO JT TEN    460 SUTHERLAND LN                                                                              PROSPECT HTS     IL    60070
MICHAEL H SHEPARD                                8219 NICHOLS RD                                                                                GAINES           MI    48436‐9705
MICHAEL H SMIGIELSKI                             5421 JENMATT DRIVE                                                                             WILMINGTON       DE    19808‐3434
MICHAEL H SNYDER                                 2853 SLATER RD                                                                                 SALEM            OH    44460‐9526
MICHAEL H SPANKE                                 2165 IMLAY CITY ROAD                                                                           LAPEER           MI    48446‐3261
MICHAEL H SWAN                                   1910 MELHOLLAND RD                                                                             LAWRENCE         KS    66047‐2334
MICHAEL H TRUSTY                                 550 BUNCHBERRY DR                                                                              MAINEVILLE       OH    45039‐8925
MICHAEL H WALTER                                 3208 NUGENT BLVD                                                                               COLUMBUS         IN    47203‐1608
MICHAEL H WENDELIN                               43 FRESH POND PL                                                                               CAMBRIDGE        MA    02138‐4429
MICHAEL H WHEELER                                6609 HORSESHOE BEND                                                                            ORLANDO          FL    32822‐3610
MICHAEL H WHETSTONE                              94 NIAGARA ST                                                                                  NORTH            NY    14120‐6118
                                                                                                                                                TONAWANDA
MICHAEL H WIETZKE                                1579 REBECCA RUN                                                                               HUDSONVILLE      MI    49426‐9576
MICHAEL H WOODARD                                9091 S MAIN                                                                                    PLYMOUTH         MI    48170‐4116
MICHAEL H WRIGHT & THOMAS H WRIGHT JT TEN        450 EAST 132 SOUTH                                                                             KOKOMO           IN    46902
MICHAEL HAFFEY CUST DANIEL PATRICK HAFFEY UGMA   15492 CLAREMONT DRIVE NORTH                                                                    CLINTON TWP      MI    48038‐3576
MI
MICHAEL HAFFEY CUST TIMOTHY M HAFFEY UGMA MI     61141 PALAMINO CRT                                                                             SOUTH LYON       MI    48178

MICHAEL HAKLIV & DANNY M HAKLIV JT TEN           1708 EDWARD ST                                                                                 ATHENS          AL     35611‐5423
MICHAEL HALEBIAN & CATHERINE HALEBIAN JT TEN     7 STRATFORD ROAD                                                                               ENGLEWOOD CLIFF NJ     07632‐1925

MICHAEL HALEBIAN & KATHERINE HALEBIAN JT TEN     7 STRATFORD RD                                                                                 ENGLEWOOD CLIFFS NJ    07632‐1925

MICHAEL HALEY                                    2109 ARLINGTON AVENUE                                                                          FLINT            MI    48506‐3630
MICHAEL HALL                                     1730 SHADYBROOK RD                                                                             CHARLESTON       WV    25314‐2270
MICHAEL HALPIN CUST DEIDRE M HALPIN UGMA NJ      39 MALLARD DR                                                                                  HACKETTSTOWN     NJ    07840‐2838
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Name                                           Address1                               Address2             Address3          Address4          City             State Zip

MICHAEL HAND CUST KYLE HAND UGMA MI            408 HARVEY RD                                                                                   HERSHEY          PA    17033
MICHAEL HARDIE                                 11548 W OUTER DR                                                                                DETROIT          MI    48223‐1954
MICHAEL HARKINS                                1560 ATARES DR                         UNIT 111                                                 PUNTA GORDA      FL    33950‐8530
MICHAEL HARRIS                                 449 SELKIRK                                                                                     MT MORRIS        MI    48458‐8950
MICHAEL HARRY KOMINS                           1554 WEST ALBRET STREET                                                                         LANCASTER        CA    93534‐2141
MICHAEL HARTWELL                               4160 ILLINOIS AVE SW                                                                            WYOMING          MI    49509‐4449
MICHAEL HAUBEN                                 38280 SIGNAL RIDGE TRL                                                                          ELIZABETH        CO    80107‐8622
MICHAEL HEISTER CUST KEVIN HEISTER UTMA NM     2209 LEMA RD SE                                                                                 RIO RANCHO       NM    87124‐3963
MICHAEL HENRY DEIS                             50 SOUTH SHORE DR                                                                               NEWNAN           GA    30263‐5905
MICHAEL HENRY JR & MICHAEL HENRY JT TEN        253 S LEXINGTON AVE                                                                             WHITE PLAINS     NY    10606‐2523
MICHAEL HENSLEY                                3115 ROSS TRAILS DR                                                                             HAMILTON         OH    45013‐8429
MICHAEL HERBERT FISH                           17932 SAINT ANDREWS DR                                                                          POWAY            CA    92064‐1030
MICHAEL HERSHEY                                820 HANOVER RD                                                                                  GETTYSBURG       PA    17325
MICHAEL HESCOTT & DARLENE HESCOTT JT TEN       530 EAST OLIVER STREET                                                                          OWOSSO           MI    48867
MICHAEL HIGGINS CUST BRIAN M HIGGINS UTMA MO   7959 HEMLOCK DR                                                                                 BURTCHVILLE      MI    48059‐1408

MICHAEL HILEMAN                                219 AMBER GLN                                                                                   HOWELL           MI    48843‐7996
MICHAEL HITCH & KAREN HITCH JT TEN             4900 KRATZVILLE RD                                                                              EVANSVILLE       IN    47710‐3824
MICHAEL HMAT & HELEN HMAT JT TEN               5 MONTREAL COURT                                                                                TOMS RIVER       NJ    08757‐4121
MICHAEL HODAK                                  1277 HALLOCK YOUNG RD SW                                                                        WARREN           OH    44481‐9634
MICHAEL HOFFMAN                                51 PERSHING AVE                                                                                 ELIZABETH        NJ    07202‐2247
MICHAEL HOLOKA                                 237HUSSA ST                                                                                     LINDEN           NJ    07036‐3021
MICHAEL HOPKINS                                3173 LOCKPORT OLCOTT ROAD                                                                       NEWFANE          NY    14108
MICHAEL HOROWICZ                               14514 VALLEY VISTA BLVD                                                                         SHERMAN OAKS     CA    91403‐4107
MICHAEL HOROWITZ                               62 WESLEYAN RD                                                                                  SMITHTOWN        NY    11787‐3013
MICHAEL HOWARD BERGENHOLTZ                     3812 SUNFLOWER LN                                                                               PLANO            TX    75025‐2023
MICHAEL HOWARD LEVIN                           120 PENROSE DR                                                                                  PITTSBURGH       PA    15208‐2742
MICHAEL HRECZNYJ                               13 BYFIELD LN                                                                                   DEARBORN         MI    48120‐1103
MICHAEL HUDACEK JR                             835 WEST MAIN ST                                                                                PLYMOUTH         PA    18651‐2712
MICHAEL HUDAK                                  5563 CIDER MILL CROSSING                                                                        YOUNGSTOWN       OH    44515‐4274
MICHAEL HUDASKI                                8433 CONNOR ST                                                                                  CENTER LINE      MI    48015‐1727
MICHAEL HUFFMAN                                12160 AMITY RD                                                                                  BROOKVILLE       OH    45309‐9310
MICHAEL HUFFMAN                                359 PALM ISLAND CIR                                                                             JESUP            GA    31545‐7340
MICHAEL HUFFMAN                                5549 MEADOW LARK CT                                                                             MONTGOMERY       AL    36116‐4225
MICHAEL HUNTLEY                                1440 EAST 52ND ST APT 7B                                                                        CHICAGO          IL    60615‐4131
MICHAEL HURDLE                                 PO BOX 1886                                                                                     MILWAUKEE        WI    53201‐1886
MICHAEL HUTCHINSON                             4408 SHILOH TRAIL                                                                               POWDER SPRINGS   GA    30073

MICHAEL I DUNN                                 7334 CORNWELL DRIVE                                                                             DAVISON          MI    48423‐9514
MICHAEL I JAFFA                                BOX 31873                                                                                       CHARLOTTE        NC    28231‐1873
MICHAEL I MAMANTOV                             PO BOX 1288                                                                                     LEVELLAND        TX    79336‐1288
MICHAEL I MURPHY                               1339 CASTO BLVD                                                                                 BURTON           MI    48509‐2011
MICHAEL I NISSMAN                              3012 VISTACREST DRIVE                                                                           LOS ANGELES      CA    90068‐1823
MICHAEL I OVERDORF                             510 RICE RD                                                                                     ELMA             NY    14059‐9502
MICHAEL I SCHWARTZ                             APT 14H                                1600 PARKER AVE                                          FORT LEE         NJ    07024‐7005
MICHAEL I SEA                                  3074 MELBOURNE TERR                                                                             CINCINNATI       OH    45206‐1003
MICHAEL I WISCHHUSEN                           320 PHILLIPS RD                                                                                 GREER            SC    29650‐2956
MICHAEL IACONO                                 34491 SPRUCE DR                                                                                 LEWES            DE    19958‐4703
MICHAEL IAN KADER                              46 BELSIZE RD                          HAMPSTEAD QC                           H3X 3K1 CANADA
MICHAEL IANNI CUST MEGAN C IANNI UTMA MI       6816 TROTWOOD ST                                                                                PORTAGE          MI    49024
MICHAEL IRA GOLDBERG                           PO BOX 365                                                                                      DSRT HOT SPGS    CA    92240‐0365
MICHAEL IRISH                                  650 THORNCROFT DR                                                                               WEST CHESTER     PA    19380‐6442
MICHAEL IRVIN                                  849 OAK CHASE DR                                                                                ORLANDO          FL    32828‐8273
MICHAEL J ABBENANTE                            236 WEDGEFIELD DR                                                                               CONWAY           SC    29526
MICHAEL J ABSHER                               3972 LA PLAYA LANE                                                                              ORCHARD LAKE     MI    48033
MICHAEL J ACKERMAN                             5948 ISLAND VIEW DR                                                                             BUFORD           GA    30518‐1330
MICHAEL J ADKINS                               2400 NEVA DRIVE                                                                                 DAYTON           OH    45414‐5105
MICHAEL J ADKINS                               651 MAR WAY NW                                                                                  COMSTOCK PARK    MI    49321‐9719
MICHAEL J AHERN                                8617 CADDO CT                                                                                   N RICHLAND       TX    76180‐1412
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Name                                                 Address1                                Address2             Address3          Address4          City              State Zip

MICHAEL J ALDOM                                      1120 N LINCOLN AVE                                                                               SALEM             OH    44460‐1320
MICHAEL J ALEX CUST TIMOTHY J ALEX UTMA OH           10672 S PARKER RD                                                                                PARKER            CO    80134‐9049
MICHAEL J ALEXANDER & SANDRA ALEXANDER JT TEN        110 SW 128TH AVENUE                                                                              PLANTATION        FL    33325‐2302

MICHAEL J ALKSNIS                                    2647 WYOMING AVE S W                                                                             WYOMING           MI    49509‐2320
MICHAEL J ALMON                                      10205 JENSEN LN 4                                                                                OWINGS MILLS      MD    21117‐3792
MICHAEL J ANDERSEN                                   1226 BROOKSIDE DR                                                                                BEAVERCREEK       OH    45434‐7044
MICHAEL J ANNICHINE                                  2192 COUNTRY LN                                                                                  YOUNGSTOWN        OH    44514‐1508
MICHAEL J APP                                        5033 E ALLISON RD                                                                                CAMBY             IN    46113
MICHAEL J ARMSTRONG                                  725 VISTA OAKS WAY                                                                               DAVENPORT         FL    33837‐6486
MICHAEL J ASZTALOS & MARIE C ASZTALOS JT TEN         110 GLENWOOD DR                                                                                  MONROEVILLE       PA    15146‐1820
MICHAEL J AUCHTER                                    6218 PINE NEEDLE DRIVE                                                                           CLARKSTON         MI    48346‐2298
MICHAEL J AUTEN & PATRICIA JANE AUTEN TR AUTEN       41141 MELITA DRIVE                                                                               POLSON            MT    59860
FAM TRUST UA 08/01/91
MICHAEL J AYRE                                       6710 POCKLINGTON RD                                                                              BRITTON           MI    49229‐9721
MICHAEL J BACHLEDA                                   15264 MEYER                                                                                      ALLEN PARK        MI    48101‐2683
MICHAEL J BAILEY                                     11693 ORCHARDVIEW DR                                                                             FENTON            MI    48430‐3508
MICHAEL J BAKER                                      822 HOYT AVE                                                                                     SAGINAW           MI    48601‐4639
MICHAEL J BALL                                       8076 BAMM HOLLOW RD                                                                              CLAY              NY    13041‐9133
MICHAEL J BALLARD                                    208 DALTON DR                                                                                    ROCHESTER HILLS   MI    48307‐2831
MICHAEL J BALLOR                                     2900 EVERGREEN DR                                                                                BAY CITY          MI    48706‐6315
MICHAEL J BANAS & TERESE M BANAS JT TEN              5092 BRADFORD CIRCLE                                                                             BRIGHTON          MI    48116
MICHAEL J BARKER                                     THE BARKER FAMILY                       3750 FOXWOOD TER     APT 309                             BRUNSWICK         OH    44212
MICHAEL J BARRETT                                    5680 STATE ROUTE 339                                                                             VINCENT           OH    45784‐5620
MICHAEL J BARTMAN                                    3241 DELANEY ST                                                                                  FLINT             MI    48506‐2066
MICHAEL J BARTOLOTTA                                 65 POINCIANA PKWY                                                                                BUFFALO           NY    14225‐3610
MICHAEL J BASNER                                     2322 ADAMS BLVD                                                                                  SAGINAW           MI    48602‐3056
MICHAEL J BAUER                                      33621 NORTH HAMPSHIRE                                                                            LIVONIA           MI    48154‐2705
MICHAEL J BAUR                                       PO BOX 2443                                                                                      HOLLAND           MI    49422‐2443
MICHAEL J BEAMISH                                    72 FISHER RD                                                                                     NORFOLK           NY    13667‐3285
MICHAEL J BEKELESKI                                  818 PENNSYLVANIA AVE                                                                             MANSFIELD         OH    44905‐1512
MICHAEL J BELLAIRS                                   2171 FERNLOCK                                                                                    OXFORD            MI    48371‐4423
MICHAEL J BELTOWSKI                                  14755 FRAZHO ROAD                                                                                WARREN            MI    48089‐1561
MICHAEL J BENDER & COLEEN M BENDER JT TEN            7503 KOLB                                                                                        ALLEN PARK        MI    48101
MICHAEL J BENNETT                                    4353 STRATHCONA                                                                                  HIGHLAND          MI    48357‐2746
MICHAEL J BERIAN                                     3175 S BELSAY RD                                                                                 BURTON            MI    48519‐1619
MICHAEL J BESTEDA                                    2736 NORTHWOOD AVE                                                                               TOLEDO            OH    43606‐3761
MICHAEL J BILA CUST DANIELLE I BILA UGMA MI          10077 HORTON RD                                                                                  GOODRICH          MI    48438
MICHAEL J BILA CUST MATTHEW L BILA UGMA MI           10077 HORTON RD                                                                                  GOODRICH          MI    48438
MICHAEL J BILA CUST NATHAN M BILA UGMA MI            10077 HORTON RD                                                                                  GOODRICH          MI    48438
MICHAEL J BIRKNER                                    66 E BROADWAY                                                                                    GETTYSBURG        PA    17325‐1303
MICHAEL J BIRNEY                                     48860 BUCK RUN DR                                                                                PLYMOUTH          MI    48170‐2880
MICHAEL J BISHOP                                     3931 MARRON AVE                                                                                  LONG BEACH        CA    90807‐3613
MICHAEL J BLAKEY                                     108 GRAND TETON                                                                                  ST PETERS         MO    63376‐2076
MICHAEL J BLODGETT & LUCILLE J BLODGETT JT TEN       10840 BINGO LN                                                                                   HONOR             MI    49640‐9558

MICHAEL J BLOM                                       17 GLENN TERR                                                                                    VINELAND        NJ      08360‐4912
MICHAEL J BLUM                                       990 SPORTSMAN LANE                                                                               RUSSELLVILLE    KY      42276
MICHAEL J BOCCIA & CHERYL M BOCCIA JT TEN            1203 W WINDEMERE AVE                                                                             ROYAL OAK       MI      48073‐5218
MICHAEL J BOGAN                                      1690 SHELTER ST NW                                                                               PALM BAY        FL      32907‐8655
MICHAEL J BOMBERA                                    4856 JACARANDA HEIGHTS DR                                                                        VENICE          FL      34293
MICHAEL J BONELLO                                    46464 LARCHMONT DR                                                                               CANTON TOWNSHIP MI      48187‐4719

MICHAEL J BOPP & MRS DEBORAH A BOPP JT TEN           820 GREY EAGLE CIR N                                                                             COLORADO SPGS     CO    80919‐1608
MICHAEL J BOSSERT                                    22 HILANDER DR                                                                                   LOUDONVILLE       NY    12211‐2604
MICHAEL J BOURKE                                     11203 STONYBROOK                                                                                 GRAND BLANC       MI    48439‐1011
MICHAEL J BOURKE III TR MICHAEL J BOURKE III TRUST   7053 AUTUMN WOOD DR                                                                              BRIGHTON          MI    48116‐8288
UA 10/17/97
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MICHAEL J BOURKE TR UA 10/29/1976 MICHAEL J     11203 STONYBROOK                                                                             GRAND BLANC      MI    48439
BOURKE TRUST
MICHAEL J BOWER & MARYJEAN C BOWER JT TEN       4 BLUE JAY DRIVE                                                                             BLOOMSBURG       PA    17815‐7719
MICHAEL J BRADY                                 390 E SALEM ST                                                                               CLAYTON          OH    45315‐8908
MICHAEL J BRAND                                 17905 CRAWLEY RD                                                                             ODESSA           FL    33556‐4817
MICHAEL J BRANIFF                               1738 STONY CREEK DRIVE                                                                       ROCHESTER        MI    48307‐1785
MICHAEL J BRANIFF & MARY K BRANIFF JT TEN       1738 STONY CREEK DRIVE                                                                       ROCHESTER        MI    48307‐1785
MICHAEL J BRAUN                                 33 FLEUR DR                                                                                  BELLEVILLE       IL    62226
MICHAEL J BRECKENRIDGE                          24152 BRENTWOOD                                                                              NOVI             MI    48374‐3774
MICHAEL J BREIER & MICHELLE R BREIER JT TEN     106 N 6TH ST                                                                                 FESTUS           MO    63028‐1324
MICHAEL J BRENNER                               506 WEST WASHINGTON                                                                          ALEXANDRIA       IN    46001‐1829
MICHAEL J BRIDGES                               12115 SE 16TH PL                                                                             BELLEVUE         WA    98005‐3802
MICHAEL J BRISKE & MARGARET L BRISKE JT TEN     C/O SMITH BARNEY SHEARSON INC       80 E RIO SALADO PKWAY   SUITE 810                        TEMPE            AZ    85281‐9103
MICHAEL J BROGLEY                               1408 ANNAPOLIS WAY                                                                           SAN JOSE         CA    95118
MICHAEL J BROWN                                 1997 DOWELL BRANCH RD                                                                        COLUMBIA         TN    38401
MICHAEL J BRUGGEMAN                             220 VOLUSIA AVENUE                                                                           DAYTON           OH    45409‐2225
MICHAEL J BUCHANAN                              3456 BONNIE BROOK CT                                                                         ROCHESTER        MI    48306‐1466
MICHAEL J BUCKLEY                               168 REED ST                                                                                  GENEVA           NY    14456‐2139
MICHAEL J BUCKMASTER                            1017 COLINA VISTA LN                                                                         CROWLEY          TX    76036
MICHAEL J BUCZIK                                5 MICHAEL COURT                                                                              REHOBOTH BCH     DE    19971
MICHAEL J BURKE                                 7409 NW KERNS DR                                                                             WTHRBY LAKE      MO    64152‐1742
MICHAEL J BURKE                                 7088 RIDGEWOOD CR                   NIAGARA FALLS ON                       L2J 3H1 CANADA
MICHAEL J BURKE                                 7409 NW KERNS                                                                                WEATHERBY LAKE   MO    64152‐1742
MICHAEL J BURNETT                               11542 KENMOOR                                                                                DETROIT          MI    48205‐3286
MICHAEL J BURNETTE                              3565 OVERTON DR                                                                              WATERFORD        MI    48328‐1411
MICHAEL J BURNS                                 2126 VALLEY VISTA                                                                            DAVISON          MI    48423
MICHAEL J BUSCO & SUSAN H BUSCO JT TEN          4770 STONEHURST RD                                                                           LIVERPOOL        NY    13090‐2527
MICHAEL J BUTLER                                1976 LIBERTYVILLE RD                                                                         FAIRFIELD        IA    52556‐8802
MICHAEL J BUYTAS                                2531 LISA DRIVE                                                                              COLUMBIAVILLE    MI    48421‐8910
MICHAEL J BYRNES                                4 MAPLE AVE                                                                                  ELBA             NY    14058
MICHAEL J BYRSKI & HENRY J BYRSKI JT TEN        9208 N ELMS ROAD                                                                             CLIO             MI    48420‐8510
MICHAEL J CALAHAN                               7575 S ERRIGAL LN                                                                            TUCSON           AZ    85747‐9241
MICHAEL J CALLAHAN                              5474 GEORGE STREET                                                                           SAGINAW          MI    48603‐3661
MICHAEL J CALVARUSO                             1100 WALSH SE                                                                                GRAND RAPIDS     MI    49507‐3903
MICHAEL J CAMERON                               543 EAST 87TH PLACE                                                                          CHICAGO          IL    60619‐6801
MICHAEL J CAMPAGNA                              23088 WELLINGTON                                                                             WARREN           MI    48089‐2227
MICHAEL J CAMPBELL & CAROLE A CAMPBELL JT TEN   4117 SHERWOOD RD                                                                             ORTONVILLE       MI    48462‐9207

MICHAEL J CANNON                                37701 HURON POINTE DR                                                                        HARRISON TWP     MI    48045‐2826
MICHAEL J CARLSON                               2958 N HORSESHOE DR SW                                                                       GRANDVILLE       MI    49418‐9728
MICHAEL J CARRIERE                              7120 MUMFORD COURT                                                                           DALLAS           TX    75252
MICHAEL J CARSTENS                              2411 EMERALD DR                                                                              DAVENPORT        IA    52804‐1063
MICHAEL J CARY                                  N2471 SHELDON ST                                                                             DARIEN           WI    53114‐1318
MICHAEL J CEREMELLO                             1565 MCCARTHY CT                                                                             DIXON            CA    95620‐2474
MICHAEL J CERNECK                               44886 MALLARD PL                                                                             CALLAWAY         MD    20620‐2331
MICHAEL J CERNECK & DAVID CERNECK JR JT TEN     44886 MALLARD PL                                                                             CALLAWAY         MD    20620‐2331
MICHAEL J CHAYKA                                3303 34 AVE SW                      CALGARY AB                             T3E 0Z3 CANADA
MICHAEL J CHELI                                 113 SOUTH BONE DR                                                                            NORMAL           IL    61761‐2756
MICHAEL J CHISM                                 3659 W 300 S                                                                                 MARION           IN    46953‐9728
MICHAEL J CHIZMAR                               718 SPENCER WOODS DRIVE                                                                      GLENSHAW         PA    15116‐2370
MICHAEL J CHRZAN                                554 MEADOWBRIAR RD                                                                           ROCHESTER        NY    14616‐1118
MICHAEL J CILELLI                               89 UPPER COUNTY ROAD                PO BOX 685                                               SOUTH DENNIS     MA    02660‐0685
MICHAEL J CIMPERMAN                             4936 E 71ST ST                                                                               CLEVELAND        OH    44125‐1102
MICHAEL J CIRILLO & ALICE A CIRILLO JT TEN      31 BEACON RD                                                                                 GLENMONT         NY    12077‐3310
MICHAEL J CLARK                                 229 GLEN VIEW TER                                                                            ABINGDON         MD    21009‐3114
MICHAEL J CLOUD                                 2647 RIDGE LN                                                                                ANDERSON         IN    46013‐9781
MICHAEL J CLYNE                                 277 MC MILLAN RD                                                                             GROSSE POINT     MI    48236‐3457
                                                                                                                                             FARMS
MICHAEL J COLLEN                                7604 ASHMONT CIR                                                                             TAMARAC          FL    33321‐7819
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MICHAEL J COMPTON                                 14465 LEIPARD LANE                                                                            PLATTE CITY     MO    64079‐9527
MICHAEL J CONKLIN                                 12303 NEWMAN ROAD                                                                             BRIGHTON        MI    48114‐8114
MICHAEL J CONN                                    300 MCKINLEY PLACE                                                                            RIDGEWOOD       NJ    07450‐4818
MICHAEL J CONWAY                                  55 LAKESIDE BLVD                                                                              HILTON          NY    14468
MICHAEL J COOLICAN                                48 SHAWNEE RD                                                                                 HOPATCONG       NJ    07843‐1454
MICHAEL J CORMIER II                              1760 NORFOLK                                                                                  BERMINGHAM      MI    48009‐3070
MICHAEL J CORONA                                  8625 N LAMAR DR                                                                               ARVADA          CO    80003‐1360
MICHAEL J CORRELL                                 556 OAKBROOK CIR                                                                              FLUSHING        MI    48433‐1704
MICHAEL J COUNIHAN                                2702 VILLAGE DRIVE                                                                            BREWSTER        NY    10509‐1326
MICHAEL J COVINGTON                               PO BOX 886                                                                                    SAN LEANDRO     CA    94577‐0886
MICHAEL J COVNE                                   129 WASHINGTON ST                                                                             CANANDAIGUA     NY    14424‐1325
MICHAEL J COYNE                                   PO BOX 3082                                                                                   PASO ROBLES     CA    93447‐3082
MICHAEL J CRAWFORD                                2471 VAN VLEET RD                                                                             SWARTZ CREEK    MI    48473‐9704
MICHAEL J CRETENS                                 35805 FARRAGUT ST                                                                             WESTLAND        MI    48186
MICHAEL J CRINGOLI                                1508 WYOMING AVE                                                                              FORT PIERCE     FL    34982‐5738
MICHAEL J CROCKETT                                7106 LOU MAC AVENUE                                                                           SWARTZ CREEK    MI    48473‐9718
MICHAEL J CROFT & SUSAN R DUFFY JT TEN            498 FILLMORE                                                                                  EAST AURORA     NY    14052‐1722
MICHAEL J CRONE                                   522 FULTON ST                                                                                 PORT CLINTON    OH    43452‐2033
MICHAEL J CUBBIN                                  5075 HAVEN PLACE #301                                                                         DUBLIN          CA    94568‐7943
MICHAEL J CULBERTSON                              4472 E AMARILLO DR                                                                            QUEEN CREEK     AZ    85240‐5874
MICHAEL J CURD                                    40851 FIRWOOD                                                                                 PLYMOUTH        MI    48170‐4431
MICHAEL J CURRAN                                  7060 IRIS CT                                                                                  GRAND BLANC     MI    48439‐2316
MICHAEL J CURRY & CATHERINE M TOWN JT TEN         13 LANDOVER RD                                                                                BRYN MAWR       PA    19010‐3701
MICHAEL J CUYJET                                  9905 ROUNDSTONE TRACE                                                                         LOUISVILLE      KY    40223‐3204
MICHAEL J DAHLGREN                                4466 ASHLAWN DRIVE                                                                            FLINT           MI    48507‐5656
MICHAEL J DANKANICH                               1685 CARMEN RD                                                                                BARKER          NY    14012‐9665
MICHAEL J DAROCHA                                 3273 GREGORY                                                                                  GREGORY         MI    48137‐9530
MICHAEL J DAVIS                                   4310 BROADWAY                                                                                 INDIANAPOLIS    IN    46205‐1870
MICHAEL J DAVITON                                 2610 STARKS WAY                                                                               RENO            NV    89512‐1480
MICHAEL J DE COOK                                 9551 KLAISDR                                                                                  CLARKSTON       MI    48348
MICHAEL J DE GRANDE                               35317 REMINGTON                                                                               STERLING HGHT   MI    48310‐4912
MICHAEL J DEEB                                    1346 EMERALD DUNES DR                                                                         SUN CITY CTR    FL    33573‐4426
MICHAEL J DEFILIPPIS                              13500 BELL ROAD                                                                               CALEDONIA       WI    53108‐9754
MICHAEL J DEGRAZIA                                15211 EUCLID                                                                                  ALLEN PARK      MI    48101‐2961
MICHAEL J DEMPSEY                                 1627 CHATEAU DR SW                                                                            WYOMING PARK    MI    49509‐4914
MICHAEL J DENNIS & CATHERINE M DENNIS JT TEN      12815 EWING AVE                                                                               GRANDVIEW       MO    64030‐2057

MICHAEL J DEOERIO                                 8081 AQUADALE                                                                                 YOUNGSTOWN      OH    44512‐5908
MICHAEL J DERRIG                                  32524 PARKWOOD                                                                                WESTLAND        MI    48186‐4944
MICHAEL J DESMARAIS & SALLY M DESMARAIS JT TEN    48163 FORBES                                                                                  NEW BALTIMORE   MI    48047‐2273

MICHAEL J DICKERSON                               26299 NORFOLK DRIVE                                                                           DELMAR          MD    21875‐2611
MICHAEL J DIMPERIO & HELEN M DIMPERIO JT TEN      1424 GRANVILLE AVE                                                                            PARK RIDGE      IL    60068‐5014

MICHAEL J DIROSARIO                               6602 SHEPHERD OAKS PASS                                                                       LAKELAND        FL    33811‐3153
MICHAEL J DONNELLY JR & LINDA J DONNELLY JT TEN   5114 RIVER RIDGE DR                                                                           LANSING         MI    48917‐1357

MICHAEL J DOUGLAS                                 5415 WYNDAM LANE                                                                              BRIGHTON        MI    48116‐4734
MICHAEL J DOVER                                   5273 VINEYARD LANE                                                                            FLUSHING        MI    48433
MICHAEL J DOWELL                                  774 GREEN HILL RD                                                                             LEXINGTON       VA    24450‐6737
MICHAEL J DRAGON JR                               3737 WALTERS RD                                                                               BRUNSWICK       OH    44212‐2746
MICHAEL J DRESSEL                                 5560 W SAMARIA RD                                                                             OTTAWA LAKE     MI    49267‐9729
MICHAEL J DUBAY                                   C/O MODESTE M CRACE                  4706 SW OTHELLO ST                                       SEATTLE         WA    98136
MICHAEL J DUBUC & CAROLE V DUBUC JT TEN           11 WILDWOOD LANE                                                                              SOUTH HADLEY    MA    01075‐2206
MICHAEL J DUDEK                                   253 FOREST AVENUE                                                                             MIDDLETOWN      NJ    07748‐5721
MICHAEL J DUFF                                    3077 CROSS BRONX XWAY APT 1U                                                                  BRONX           NY    10465
MICHAEL J DUKES                                   10144 OUTER LINCOLN                                                                           NEWBURGH        IN    47630‐8725
MICHAEL J DULAY                                   2937 NOEL DR                                                                                  YOUNGSTOWN      OH    44509‐3025
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Name                                                Address1                              Address2             Address3          Address4          City               State Zip

MICHAEL J DULKIEWICZ & HAZEL E DULKIEWICZ JT TEN    24 PENWOOD DRIVE                                                                               BUFFALO            NY    14227‐3222

MICHAEL J DUNN                                      140 CONRADT AVE                                                                                KOKOMO             IN    46901‐5254
MICHAEL J DUPUIS                                    PO BOX 21                                                                                      CARROLLTON         MI    48724‐0021
MICHAEL J DWYER & ANNETTE M DWYER JT TEN            20221 83RD PLACE                                                                               KENMORE            WA    98028
MICHAEL J EARLEY                                    1818 TILLIEWOOD TRL NE                                                                         MARIETTA           GA    30066‐2967
MICHAEL J EHLE                                      3750 EAST 100 SOUTH                                                                            ANDERSON           IN    46017‐9618
MICHAEL J ENGLISH                                   260 UNION LAKE RD                                                                              UNION LAKE         MI    48386‐3166
MICHAEL J EURICH                                    2054 WEST ST                                                                                   FAIRGROVE          MI    48733
MICHAEL J EVANS                                     333 EASTERN HEIGHTS BLVD                                                                       ELYRIA             OH    44035‐6455
MICHAEL J EVANS                                     333 EASTERN HEIGHTS BLVD                                                                       ELYRIA             OH    44035‐6455
MICHAEL J EVERTS                                    3522 COLLINGWOOD AVE SW                                                                        WYOMING            MI    49509‐3223
MICHAEL J FAERBER & LU ANN FAERBER JT TEN           1492 PINE CREEK CT                                                                             THOUSAND OAKS      CA    91320‐5978
MICHAEL J FAHY                                      4784 RUE DE CAROLYN                                                                            OXFORD             MI    48370‐2238
MICHAEL J FANELLI                                   4104 DITCHFORD COURT                                                                           MYRTLE BEACH       SC    29577‐5877
MICHAEL J FELL                                      39810 WILMETTE DR                                                                              STERLING HEIGHTS   MI    48313‐5659

MICHAEL J FELTZ                                     9107 LAKE SHORE DR                                                                             BARKER             NY    14012‐9652
MICHAEL J FERRARESE                                 115 CHELSEA MEADOWS DR                                                                         W HENRIETTA        NY    14586‐9626
MICHAEL J FINK                                      6224 VENTURA CANYON AVE                                                                        VAN NUYS           CA    91401‐2425
MICHAEL J FINNERTY III                              4 ROBIN COURT                                                                                  WENTZVILLE         MO    63385‐5955
MICHAEL J FINTA                                     6082 DONNYBROOK DR                                                                             SHELBY TOWNSHIP    MI    48316‐3322

MICHAEL J FISCO                                     14 VILLAGE GREEN                                                                               COLONIA            NJ    07067‐3306
MICHAEL J FITZMAURICE & LISA K FITZMAURICE JT TEN   3900 SHERWOOD CIR                                                                              GASTONIA           NC    28056

MICHAEL J FITZPATRICK                               N6542 SHOREWOOD HILLS RD                                                                       LAKE MILLS         WI    53551‐9726
MICHAEL J FLANAGAN                                  12 DONNELLY ST                                                                                 UNION BEACH        NJ    07735‐3007
MICHAEL J FLASH                                     6830 SARATOGA CIR                                                                              BEAUMONT           TX    77706‐5439
MICHAEL J FLISS                                     36 MEADOWBROOK LN                                                                              PALMER             MA    01069‐1135
MICHAEL J FLYNN                                     182 MILKE WAY                                                                                  SPARKS             NV    89436‐6002
MICHAEL J FOLEY                                     161 FAIR HAVEN RD                                                                              FAIR HAVEN         NJ    07704‐3414
MICHAEL J FONS                                      596 OAKBROOK CIRCLE                                                                            FLUSHING           MI    48433‐1704
MICHAEL J FOSTER                                    1105 E GROVE ST                                                                                BLOOMINGTON        IL    61701‐4210
MICHAEL J FOX & ROSEMARIE FOX JT TEN                186 CONCORD RD                                                                                 YONKERS            NY    10710‐1844
MICHAEL J FOY                                       40 MANN AVE                                                                                    FAIRBORN           OH    45324‐5019
MICHAEL J FRANK JR & DOROTHY FRANK JT TEN           43 ISABELLA DRIVE                                                                              LAKEHURST          NJ    08733‐3342
MICHAEL J FRAWLEY                                   10601 PLUCHEA CV                                                                               AUSTIN             TX    78733‐5721
MICHAEL J FRAZIER                                   827 HADLEIGH PASS                                                                              WESTFIELD          IN    46074‐5900
MICHAEL J FREDERICK & MRS LINDA FREDERICK JT TEN    2540 LEE RD                                                                                    ASHTABULA          OH    44004‐4832

MICHAEL J FREEMAN                                   1001 SPRUCE                                                                                    TEXARKANA          TX    75501‐5125
MICHAEL J FREEMAN                                   13 DODGE DR                                                                                    TRENTON            NJ    08610‐1901
MICHAEL J GALER & MRS MARJORIE L GALER JT TEN       200 WEST 12TH STREET                                                                           LOCKWOOD           MO    65682

MICHAEL J GALLAGHER                                 4040 COLLEGE VIEW DRIVE                                                                        CORTLAND           NY    13045‐1501
MICHAEL J GANNON                                    PO BOX 2824                                                                                    SAG HARBOR         NY    11963‐0121
MICHAEL J GARAVAGLIA                                18958 ASPEN DR                                                                                 LIVONIA            MI    48152‐4812
MICHAEL J GARDON                                    511 RAINBOW COURT                                                                              PESHTIGO           WI    54157
MICHAEL J GEARY                                     814 S STR                                                                                      POINT PLEASANT     NJ    08742‐4547
MICHAEL J GEARY III                                 814 SOUTH STREET                                                                               POINT PLEASANT     NJ    08742‐4547
MICHAEL J GENNA                                     43 PAINT ISLAND SPRING RD                                                                      CLARKSBURG         NJ    08510
MICHAEL J GERANT JR                                 24107 HARPER RD                                                                                PECULIAR           MO    64078‐9086
MICHAEL J GERANT SR & JO ANN F GERANT JT TEN        13404 E PRAIRIE DR                                                                             PECULIAR           MO    64078‐9434
MICHAEL J GERDA                                     11 PERIWINKLE DR                                                                               OLMSTED FALLS      OH    44138‐3021
MICHAEL J GIACALONE & ANNA B GIACALONE JT TEN       518 S MEADE                                                                                    FLINT              MI    48503‐2276

MICHAEL J GIANNANGELI                               5429 STARWOOD DR                                                                               COMMERCE TWP       MI    48382‐1138
MICHAEL J GIESFELDT                                 S52W23725 PARTRIDGE LN                                                                         WAUKESHA           WI    53189
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MICHAEL J GILHOOLEY                             70‐10 32ND AVE                                                                                  JACKSON HEIGHTS   NY    11370‐1701

MICHAEL J GILHOOLY                              PO BOX 7573                                                                                     RENO           NV       89510‐7573
MICHAEL J GILMORE                               PO BOX 172                                                                                      SOUTH KOEKWOOD MI       48179‐0172

MICHAEL J GIRARD                                109 BASSWOOD DR                                                                                 AIKEN             SC    29803‐2688
MICHAEL J GLATTHAAR                             14 STUYVESANT OVAL 10‐D                                                                         NEW YORK          NY    10009‐2231
MICHAEL J GLYNN                                 970‐G HOPKINS RD                                                                                WILLIAMSVILLE     NY    14221‐8319
MICHAEL J GOEBEL CUST CARTER M GOEBEL UTMA MD   1519 S DIVISION ST                                                                              SALISBURY         MD    21804‐7244

MICHAEL J GOLIBER SR                            4715 N BAILEY AVE                                                                               AMHERST           NY    14226‐1347
MICHAEL J GONYEA                                14261 PASSAGE WAY                                                                               SEMINOLE          FL    33776‐1002
MICHAEL J GOODWIN                               C/O FRANK GOODWIN                      12 HULL AVENUE                                           NEW HYDE PARK     NY    11040‐3134
MICHAEL J GOOLDEN                               7190 ST RD 54 WEST                                                                              SPRINGVILLE       IN    47462‐5149
MICHAEL J GORMAN                                11458 CEDAR BEND DR                                                                             PINCKNEY          MI    48169‐9556
MICHAEL J GORMAN JR                             1608 DUKE OF WINDSOR RD                                                                         VIRGINIA BCH      VA    23454‐2506
MICHAEL J GORMLEY JR                            118 OLD CARRIAGE ROAD                                                                           PONCE INLET       FL    32127‐6910
MICHAEL J GRAB                                  9205 NASHUA TRAIL                                                                               FLUSHING          MI    48433‐8837
MICHAEL J GRADY CUST STEPHEN E GRADY UTMA MN    4417 83RD CIRCLE N                                                                              BROOKLYN PARK     MN    55443‐2533

MICHAEL J GRADY CUST THERESA M GRADY UTMA MN    4417 83RD CIRCLE N                                                                              BROOKLYN PARK     MN    55443‐2533

MICHAEL J GRANT CUST MICHAEL EDWARD GRANT       6515 LEWIS RD                                                                                   BALDWIN           MD    21013‐9329
UGMA MD
MICHAEL J GRAY CUST ALTA M GRAY UGMA MI         1611 WAXWING DR                                                                                 DEWITT            MI    48820‐9546
MICHAEL J GRAYE                                 9830 KLAIS CT                                                                                   CLARKSTON         MI    48348‐2327
MICHAEL J GRAYE & ANITA M GRAYE JT TEN          9830 KLAIS CT                                                                                   CLARKSTON         MI    48348‐2327
MICHAEL J GREEN                                 5036 LAUR RD                                                                                    N BRANCH          MI    48461‐9782
MICHAEL J GRIFFIS                               483 E NORWAY LAKE RD                                                                            LAPEER            MI    48446‐8777
MICHAEL J GROSS JR                              709 BEATRICE DR                                                                                 DAYTON            OH    45404‐1412
MICHAEL J GUARALDO JR                           10945 LAKE FOREST DR                                                                            CONROE            TX    77384‐3250
MICHAEL J GUAY                                  8190 SOUTH OLD 27                                                                               GRAYLING          MI    49738‐7379
MICHAEL J GURSKE                                1320 N WASHINGTON ST                                                                            KOKOMO            IN    46901‐2215
MICHAEL J GWINNUP                               7250 SICHTING RD                                                                                MARTINSVILLE      IN    46151‐9082
MICHAEL J HAAS                                  36524 THINBARK                                                                                  WAYNE             MI    48184‐1136
MICHAEL J HADIDON                               2350 MORRICE RD                                                                                 OWOSSO            MI    48867‐8983
MICHAEL J HAFNER                                707 2ND ST                                                                                      PLEASANTON        TX    78064‐3103
MICHAEL J HAFNER & WALTER H HAFNER JT TEN       602 SPRINGVALE DRIVE                                                                            SAN ANTONIO       TX    78227‐4453
MICHAEL J HALL                                  703 SOUTH BENTON                                                                                HASTINGS          MI    49058‐2075
MICHAEL J HALLAHAN                              5832 ST RT 380                                                                                  WILIMINGTON       OH    45177‐8632
MICHAEL J HAMMAN                                9167 E LAUREL LN                                                                                SCOTTSDALE        AZ    85260‐6857
MICHAEL J HAMMOND                               7470 BRISTOL RD                                                                                 SWARTZ CREEK      MI    48473‐7910
MICHAEL J HARLAN & SANDRA M HARLAN JT TEN       1135 2ND STREET                                                                                 NORTH             PA    18032‐2705
                                                                                                                                                CATASAUQUA
MICHAEL J HARNICHAR                              335 RAVENNA ROAD                                                                               NEWTON FALLS      OH    44444‐1514
MICHAEL J HARPER                                 23410 MARLOW                                                                                   OAK PARK          MI    48237‐2434
MICHAEL J HARPHAM                                438 KEVIN WAY                                                                                  CARY              NC    27511‐6310
MICHAEL J HARRIS                                 #6 PARKDALE LANE                                                                               ST PETERS         MO    63376‐2004
MICHAEL J HARRISON                               31433 MOUND RD APT G                                                                           WARREN            MI    48092‐1636
MICHAEL J HART III                               10914 TIMBEROAK                                                                                HOUSTON           TX    77043‐3109
MICHAEL J HARVEY                                 3578 ABBOTT ROAD                                                                               ORCHARD PARK      NY    14127‐1711
MICHAEL J HASHEK CUST KRISTEN LEE HASHEK UTMA WI 5325 GREENTREE DRIVE                                                                           NEW BERLIN        WI    53151

MICHAEL J HAYES                                 6109 RHONE DR                                                                                   CHARLOTTE         NC    28226‐8904
MICHAEL J HEBERT                                117 LAKEVIEW DR                                                                                 LEESBURG          FL    34788‐2764
MICHAEL J HEDDEN                                7020 DEEPWATER POINT RD                                                                         WILLIAMSBURG      MI    49690
MICHAEL J HELFRICH                              4119 GARFIELD ST                                                                                WAYNE             MI    48184‐1989
MICHAEL J HENNESSY                              PO BOX 528                                                                                      RIVERSIDE         PA    17868‐0528
MICHAEL J HERTZ                                 3741 PACES VALLEY RD NW                                                                         ATLANTA           GA    30327‐3207
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MICHAEL J HICKMAN                                  50 BALDWIN DR                                                                                          FREDERICKSBURG     VA    22406‐6264
MICHAEL J HICKS                                    1360 BIGGERS RD                                                                                        ROCHESTER HILLS    MI    48309‐1600
MICHAEL J HICKS & LAURA L HICKS JT TEN             1360 BIGGERS                                                                                           ROCHESTER HILLS    MI    48309‐1600
MICHAEL J HIGGINS                                  15736 COBBLESTONE LAKE PKWY                                                                            SAINT PAUL         MN    55124‐7569
MICHAEL J HILBER & JUDITH K HILBER JT TEN          495 BROADLEAF DR                                                                                       ROCHESTER          MI    48306‐2818
MICHAEL J HINTERMAN                                12123 PINE ROW LANE                                                                                    GRAND BLANC        MI    48439‐1620
MICHAEL J HOCHREITER                               6962 ACADEMY LANE                                                                                      LOCKPORT           NY    14094‐5359
MICHAEL J HOCKENBERRY                              7641 E VON DETTE CIR                                                                                   CENTERVILLE        OH    45459‐5037
MICHAEL J HOFFPAUIR & CHERYL L HOFFPAUIR JT TEN    135 STONEY HILLS RD                                                                                    CENTER POINT       TX    78010‐5532

MICHAEL J HOLLIDAY                                 5517 N CO RD 500 W                                                                                     WINCHESTER         IN    47394
MICHAEL J HOOPES                                   6379 LONGWOOD DR                                                                                       MURRELLS INLT      SC    29576
MICHAEL J HOWANIEC                                 10 CEDAR COURT                                                                                         NEWARK             DE    19702‐3701
MICHAEL J HRITZ                                    2044 COUNTRYSIDE DR                                                                                    SALEM              OH    44460‐1041
MICHAEL J HUMENIK                                  6850 FREEDOM BLVD                                                                                      APTOS              CA    95003‐9624
MICHAEL J HUMMEL                                   8909 56TH AVE                                                                                          BERWYN HTS         MD    20740
MICHAEL J HURSKY                                   19248 BOSTON RD                                                                                        STRONGSVILLE       OH    44149‐6902
MICHAEL J HUSEREAU                                 15924 RYLAND                                                                                           REDFORD            MI    48239‐3951
MICHAEL J IANNOLI                                  16 CHAPEL ST                            #B                                                             NEWPORT            RI    02840‐3254
MICHAEL J IMBROGNO                                 PO BOX 4147                                                                                            GREENWICH          CT    06831‐0403
MICHAEL J IPPOLITO                                 95 THORNHILL DR                                                                                        PLEASANT VALLEY    NY    12569‐7618
MICHAEL J JANKOWSKY                                16 RETFORD AVE                                                                                         CRANFORD           NJ    07016‐2823
MICHAEL J JAVORNICKY                               2221 W BONANZA RD APT 75                                                                               LAS VEGAS          NV    89106‐4713
MICHAEL J JECKLIN                                  1404 WEST 43RD STREET                                                                                  DAVENPORT          IA    52806‐4520
MICHAEL J JENO                                     37326 GREGORY                                                                                          STERLING HEIGHTS   MI    48312‐1922

MICHAEL J JETT                                     BOX 23                                                                                                 S WILMINGTON       IL    60474‐0023
MICHAEL J JOHNSON                                  218 SHELTON BLVD                                                                                       EASTLAKE           OH    44095‐1069
MICHAEL J JOLLEY                                   9729 RED CLOVER COURT                                                                                  PARKVILLE          MD    21234‐1804
MICHAEL J JONES                                    3458 TALBOT                                                                                            TROY               MI    48083‐5046
MICHAEL J JONES                                    6258 MANTEO DR                                                                                         DUBLIN             OH    43016‐8481
MICHAEL J JOURDAN                                  6322 DRYDEN ROAD                                                                                       DRYDEN             MI    48428‐9764
MICHAEL J JUSTICE                                  44147 LEEANN                                                                                           CANTON             MI    48187‐2833
MICHAEL J JUSTIS                                   COOK ST                                                                                                PARKSLEY           VA    23421
MICHAEL J KAHN                                     27 DEHART RD                                                                                           MAPLEWOOD          NJ    07040‐1107
MICHAEL J KARKAU                                   1627 INVERNESS STREET                                                                                  LANSING            MI    48915‐1286
MICHAEL J KATALINICH                               2773 SANCTUARY BLVD                                                                                    CONWAY             SC    29526‐9720
MICHAEL J KAUFMAN                                  300 DELTA RD                                                                                           HIGHLAND PARK      IL    60035‐5204
MICHAEL J KEESLING                                 5110 COUNTY RD 125B2                                                                                   WILDWOOD           FL    34785
MICHAEL J KELLEY                                   14392 PABLO BAY DR                                                                                     JACKSONVILLE       FL    32224‐3835
MICHAEL J KELLING                                  6280 COLD SPRING TRAIL                                                                                 GRAND BLANC        MI    48439‐7969
MICHAEL J KELLY                                    46 SHORELINE DRIVE                      ST CATHARINES ON                       L2N 3W1 CANADA
MICHAEL J KELLY                                    46 SHORELINE DR                         ST CATHARINES ON                       L2N 3W1 CANADA
MICHAEL J KENDALL                                  2937 RUBBINS RD                                                                                        HOWELL             MI    48843‐7925
MICHAEL J KENIRY                                   920 W OMAHA                                                                                            WASHBURN           WI    54891‐9569
MICHAEL J KENYON                                   1250 E MAIN ST                                                                                         SOUTH ELGIN        IL    60177‐1712
MICHAEL J KETRING                                  2010 BOCOCK RD                                                                                         MARION             IN    46952‐8799
MICHAEL J KILIAN & BIRNEY F KILIAN JT TEN          3800 HARSHBARGER                                                                                       JACKSON            MI    49203‐3500
MICHAEL J KILLIAN                                  1008 CHERRY HILLS DR                                                                                   SUN CITY CTR       FL    33573‐5458
MICHAEL J KILLIAN & CATHERINE A KILLIAN JT TEN     1008 CHERRY HILLS DR                                                                                   SUN CITY CTR       FL    33573‐5458

MICHAEL J KIMBERLEY                                30 BLAKENEY CLOSE                       EATON NORWICH        NORFOLK           NR4 7QP GREAT BRITAIN
MICHAEL J KIMOCK                                   3001 S DUCK CREEK RD                                                                                   NORTH JACKSON      OH    44451‐9627
MICHAEL J KINSEY                                   9325 NAVAHO DR                                                                                         BRENTWOOD          TN    37027‐7447
MICHAEL J KIRBY                                    374 RANDOLPH                                                                                           WESTLAND           MI    48186‐3749
MICHAEL J KIRBY & JOANN KIRBY JT TEN               374 RANDOLPH                                                                                           WESTLAND           MI    48186‐3749
MICHAEL J KIRSCHKE                                 37850 SCOTT PINE DR                                                                                    NEW BOSTON         MI    48164‐9191
MICHAEL J KIWAK                                    34678 PENBROKE                                                                                         LIVONIA            MI    48152‐4052
MICHAEL J KLIM                                     85 SUMMER PLACE CT                                                                                     BREVARD            NC    28712
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MICHAEL J KLINE                                  19080 WEST MESCALERO DR                                                                         CASA GRANDE    AZ    85222
MICHAEL J KLOPFER                                54 ROOSEVELT AVE                                                                                GLEN HEAD      NY    11545‐1532
MICHAEL J KLUTING                                3130 ARTHUR ST                                                                                  COOPERSVILLE   MI    49404‐9447
MICHAEL J KNAPKE                                 201 PAULY DR                                                                                    CLAYTON        OH    45315‐9645
MICHAEL J KNIGHT                                 4206 E MOUNT MORRIS RD                                                                          MOUNT MORRIS   MI    48458‐8960
MICHAEL J KNUDSEN & SUSANNE THERESE KNUDSEN JT   30129 WAGNER                                                                                    WARREN         MI    48093‐5624
TEN
MICHAEL J KOHLER                                 17659 MOROCCO CT                                                                                RIVERSIDE      CA    92504‐8704
MICHAEL J KOONTZ                                 293 RUSSELL                                                                                     PONTIAC        MI    48342‐3346
MICHAEL J KOTCH & MRS JANYCE C KOTCH JT TEN      128 W WASHINGTON ST                                                                             NANTICOKE      PA    18634‐3113
MICHAEL J KOVALCIK                               BOX 7390 RT 22 HGWY E                                                                           NEW FLORENCE   PA    15944
MICHAEL J KOWALSKI                               9304 WATERS COURT                                                                               FORT WAYNE     IN    46825‐7008
MICHAEL J KOYNE PER REP EST MERWYN LYNN KOYNE    7701 W EPTON ROAD                                                                               ELSIE          MI    48831‐9411

MICHAEL J KOZAK                                  784 WOODS RD                                                                                    RICHMOND       IN    47374‐9409
MICHAEL J KRAMP                                  6136 PROSPECT ST                                                                                NEWFANE        NY    14108
MICHAEL J KRBYMINSKI                             757 OLD CONNECTICUT PA                                                                          FRAMINGHAM     MA    01701‐7753
MICHAEL J KRETZ                                  1280 CRIST ISLE DR                                                                              CHEBOYGAN      MI    49721‐9262
MICHAEL J KROME                                  PO BOX 329                                                                                      MORLEY         MI    49336‐0329
MICHAEL J KRUK                                   15665 HUNTCLIFF DR                                                                              MACOMB         MI    48044‐3852
MICHAEL J KRYSTYAN                               18295 RAY                                                                                       RIVERVIEW      MI    48192‐7456
MICHAEL J KUHL                                   7320 TRICIA RD NE                                                                               ALBUQUERQUE    NM    87113
MICHAEL J KUHLMAN                                6628 RD 11                                                                                      OTTAWA         OH    45876
MICHAEL J KULHANEK                               4107 N M 52                                                                                     OWOSSO         MI    48867‐9467
MICHAEL J KUNDRAT                                190 HAIST RD                                                                                    HOHENWALD      TN    38462‐5323
MICHAEL J LA BOE                                 1006 HICKORY DR                                                                                 BRIGHTON       MI    48116‐1884
MICHAEL J LAACK                                  1605 NE 64TH ST                                                                                 KANSAS CITY    MO    64118‐4952
MICHAEL J LABAR                                  2940 STATE HWY 72                                                                               POTSDAM        NY    13676‐3375
MICHAEL J LABELLE                                7355 DORSET AVENUE                                                                              SAINT LOUIS    MO    63130‐2205
MICHAEL J LACROIX                                5851 5TH CONCRR# 2                     HARROW ON                              N0R 1G0 CANADA
MICHAEL J LANDS                                  19409 LEAPWOOD AVENUE                                                                           CARSON         CA    90746‐1955
MICHAEL J LANE CUST KEITH E LANE UGMA VA         321 COURTNEY LN                                                                                 AYLETT         VA    23009‐4138
MICHAEL J LARCO                                  21 BEACON CIRCLE                                                                                NEW BRITAIN    CT    06053‐2525
MICHAEL J LASEK                                  298 PROSPECT AVE                                                                                AVENEL         NJ    07001‐1157
MICHAEL J LAUGHLIN                               310 CROSBY AVE                                                                                  KENMORE        NY    14217‐2455
MICHAEL J LAUGHMAN & KRISS A LAUGHMAN JT TEN     247 GLENVIEW DR                                                                                 AVON LAKE      OH    44012‐1531

MICHAEL J LAUZON                                 526 COUNTY ROUTE 42                                                                             FT COVINGTON   NY    12937‐2512
MICHAEL J LAVALLEY                               932 MONROE ST                                                                                   CARO           MI    48723‐1763
MICHAEL J LAWTON                                 643 ALGER ST SE                                                                                 GRAND RAPIDS   MI    49507‐3528
MICHAEL J LEHR                                   3812 SCOVILL LANE                                                                               VALRICO        FL    33594‐7198
MICHAEL J LENNOX                                 4042 SOUTH ST                                                                                   HOLLY          MI    48442‐9143
MICHAEL J LESTER                                 884 FAIRBURN ROAD                                                                               ATLANTA        GA    30331
MICHAEL J LESTER                                 23 FLORAL RD                                                                                    COURTLANDT     NY    10567‐1624
                                                                                                                                                 MANOR
MICHAEL J LEVERENTZ                              2608 HESS RD                                                                                    APPLETON       NY    14008‐9637
MICHAEL J LEYMAN                                 6667 GREENBRIAR LN                                                                              TEMPERANCE     MI    48182‐2223
MICHAEL J LICKEY PERS REP EST MILDRED J          13078 WINDY HOLLOW                                                                              MILFORD        MI    48380‐3070
MCLAUGHLIN
MICHAEL J LILLI                                  7734 WYNBROOK ROAD                                                                              BALTIMORE      MD    21224‐2006
MICHAEL J LOEB                                   135 WALDO AVE                                                                                   PIEDMONT       CA    94611‐3942
MICHAEL J LOGRASSO JR                            980 RUIE RD                                                                                     NORTH          NY    14120‐1728
                                                                                                                                                 TONAWANDA
MICHAEL J LONGE                                  1016 E WINDEMERE ST                                                                             ROYAL OAK      MI    48073‐2858
MICHAEL J LORENZEN                               10 PARK LN                             THORNDALE ON                           N0M 2P0 CANADA
MICHAEL J LOSER                                  5 MIDGARD CT                                                                                    COLUMBIA       SC    29229‐6509
MICHAEL J LOZON & JUDITH A LOZON JT TEN          17408 KOOGLER                                                                                   MT CLEMENS     MI    48038‐1753
MICHAEL J LUCAS                                  360 TIBBETTS‐WICK RD                                                                            GIRARD         OH    44420‐1144
MICHAEL J LUZADER                                8625 JEFFERSON WAY                                                                              LANTANA        TX    76226‐6571
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MICHAEL J LYNCH                                 19 OAKDALE PLACE                                                                              MASSAPEQUA PARK NY      11762‐1915

MICHAEL J MACCIOMEI                             52689 ARAGON DR                                                                               SHELBY TOWNSHIP   MI    48315‐2506

MICHAEL J MACK                                 5116 WALDEN DR                                                                                 SWARTZ CREEK      MI    48473‐8545
MICHAEL J MACUGA                               6858 MERCIER ST                       APT 1                                                    DETROIT           MI    48210‐2899
MICHAEL J MALINOWSKI                           6481 FENTON                                                                                    DEARBORN HTS      MI    48127‐2114
MICHAEL J MALONE & WENDY LYNETTE MALONE JT TEN PO BOX 5236                                                                                    PINEHURST         NC    28374‐5236

MICHAEL J MANCOUR                                1773 EDINBORO WAY                                                                            FRANKLIN          TN    37064‐5394
MICHAEL J MANZARDO                               4381 APACHE DR                                                                               BURTON            MI    48509‐1444
MICHAEL J MARCISZEWSKI                           23 MCCOLLUM ST                                                                               LOCKPORT          NY    14094‐2939
MICHAEL J MARKERT TR UA 01/11/07 WALTER J        10687 CYPRESS BEND DRIVE                                                                     BOCA RATON        FL    33498
MARKERT TRUST
MICHAEL J MARKHAM                                RR#2 LOT #5 COUNTRY ROAD 46         MAIDSTONE ON                           N0R 1K0 CANADA
MICHAEL J MARKHAM                                R R #2 LOT #5 COUNTY RD 46          MAIDSTONE ON                           N0R 1K0 CANADA
MICHAEL J MARKHAM                                R R #2 LOT #5 COUNTY RD 46          MAIDSTONE ON                           N0R 1K0 CANADA
MICHAEL J MARSH                                  4637 N 200 E                                                                                 ANDERSON          IN    46012‐9515
MICHAEL J MARTIN                                 PO BOX #1784                                                                                 DUBUQUE           IA    52004‐1784
MICHAEL J MARTIN                                 22 MERCER RD                                                                                 OLD BRIDGE        NJ    08857‐1317
MICHAEL J MARTIN                                 6273 CORWIN CRESCENT                NIAGARA FALLS ON                       L2G 2L9 CANADA
MICHAEL J MARTIN                                 240 LANE 220 BIG TURKEY LK                                                                   HUDSON          IN      46747‐9320
MICHAEL J MARTIN                                 301 N MICHIGAN AVE                                                                           OMER            MI      48749‐9787
MICHAEL J MARTIN & BARBARA M MARTIN JT TEN       835 SEYMOUR AVE                                                                              LINDEN          NJ      07036‐2973
MICHAEL J MARTINO                                20994 SCARLET RUSH COURT                                                                     ASHBURN         VA      20147‐4489
MICHAEL J MASHIONE                               8638 SADDLEBRED COURT                                                                        FRANKFORT       IL      60423
MICHAEL J MASSEO                                 103 OLD BRIDGE LN                                                                            DANBURY         CT      06811‐4828
MICHAEL J MASTROVITO                             13900 CLEAR CREEK DR                                                                         LOWELL          MI      49331‐9068
MICHAEL J MATHENY                                1001 51ST ST                                                                                 VIENNA          WV      26105‐3143
MICHAEL J MATLOCK JR                             3113 STATE ROAD 580                 AMBER GLADES LOT 118                                     SAFETY HARBOR   FL      34695
MICHAEL J MAURICE                                4040 FULTON AVE                                                                              MORAINE         OH      45439‐2120
MICHAEL J MAZZOLA CUST CHARLES JOSEPH MAZZOLA 5CLIFF WAY                                                                                      PORT WASHINGTON NY      11050‐4303
UGMA NJ
MICHAEL J MC BRIDE                               PO BOX 11023                                                                                 COSTA MESA        CA    92627‐1023
MICHAEL J MC CLAIN                               907 CASCADE DR                                                                               DAYTON            OH    45431‐2940
MICHAEL J MC CLELLAN                             2235 S SANDUSKY ROAD                                                                         SANDUSKY          MI    48471‐9482
MICHAEL J MC DONALD                              51 EAST ELMWOOD ST                  PO BOX 587                                               LEONARD           MI    48367‐0587
MICHAEL J MC DONALD CUST JOSEPH J MC DONALD      61 FRAIRY STREET                                                                             MEDFIELD          MA    02052‐1620
UTMA MA
MICHAEL J MC DONALD CUST MICHAEL J MC DONALD JR 61 FRAIRY STREET                                                                              MEDFIELD          MA    02052‐1620
UTMA MA
MICHAEL J MC GONIGLE                             364 GARDEN RD                                                                                SPRINGFIELD       PA    19064‐3505
MICHAEL J MC HUGH                                61 OAK STREET                                                                                FOXBORO           MA    02035‐1630
MICHAEL J MC INERNEY & LINDA H MC INERNEY JT TEN 83 SHAKESPEARE ST                                                                            DALY CITY         CA    94014‐1053

MICHAEL J MC INTYRE                             314 VIRGINIA AVE                                                                              ANN ARBOR         MI    48103‐4134
MICHAEL J MC KAY                                6336 CLOVER MEADOW CT                                                                         GALLOWAY          OH    43119‐8939
MICHAEL J MC MULLEN                             43504 PENDLETON CIR                                                                           STERLING HTS      MI    48313‐1987
MICHAEL J MCCARTHY                              2181 YONGE ST                        APT 608                TORONTO ON      M4S 3H7 CANADA
MICHAEL J MCCLAIN                               PO BOX 371                                                                                    DIMONDALE         MI    48821‐0371
MICHAEL J MCFARLAND                             2605 SYLVAN AVENUE ROSELLE                                                                    WILMINGTON        DE    19805‐2344
MICHAEL J MCGINNIS                              307 BRANDYWINE                                                                                CHAPEL HILL       NC    27516‐3209
MICHAEL J MCGOVERN & DIANE K MCGOVERN JT TEN    597 MEADOW ROAD                                                                               BRIDGEWATER       NJ    08807‐1502

MICHAEL J MCMAHON                               852 BASELINE RD                                                                               GRAND ISLAND      NY    14072‐2508
MICHAEL J MCMILLAN                              5578 COPLEY SQUARE                                                                            GRAND BLANC       MI    48439‐8746
MICHAEL J MCMORROW                              241 E 236TH ST                                                                                BRONX             NY    10470‐2113
MICHAEL J MEADE                                 5225 COLLEGE ST NW                                                                            ALBUQUERQUE       NM    87120‐2327
MICHAEL J MEJIA                                 21064 STRAWBERRY HILLS DR                                                                     MACOMB            MI    48044‐2274
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MICHAEL J MELLO                                   12410 SEA PINES DR                                                                              DEWITT           MI    48820‐9395
MICHAEL J MENAPACE                                C/O SHIRLEY A MENAPACE                 2205 HOLIDAY LANE                                        LANSING          MI    48917‐1343
MICHAEL J MERCER                                  1810 3RD AVE                           APT A12A                                                 NEW YORK         NY    10029‐6294
MICHAEL J MERIUZZI                                240 MAPLE DR                                                                                    E TANAS          MI    48730‐9752
MICHAEL J MERLINE                                 17172 NORTHFIELD LN                                                                             HUNTINGTN BCH    CA    92647‐5533
MICHAEL J MERLUZZI                                240 MAPLE DR                                                                                    EAST TAWAS       MI    48730‐9752
MICHAEL J MERRITT & MRS MARY MERRITT JT TEN       130 HEALY AVE                                                                                   HARTSDALE        NY    10530‐3139
MICHAEL J MESSMORE                                4166 GLEN EAGLES CT                                                                             ANN ARBOR        MI    48103‐9453
MICHAEL J MICHNA                                  115 HAVERFORD ST                                                                                NO BRUNSWICK     NJ    08902‐2454
MICHAEL J MIHNA JR                                2600 E RIDGEWOOD DRIVE                                                                          SEVEN HILLS      OH    44131‐2947
MICHAEL J MILCHEN & MARGARET L MILCHEN JT TEN     306 RUTGERS CT                                                                                  ELYRIA           OH    44035‐8846

MICHAEL J MILLER                                  3852 N BRIARVALE RD                                                                             AUBURN HILLS     MI    48326‐3327
MICHAEL J MILLER                                  6523 COFFMAN FARMS RD                                                                           KEEDYSVILLE      MD    21756‐1207
MICHAEL J MILLETT                                 465 EAST 314TH ST                                                                               WILLOWICK        OH    44095‐3770
MICHAEL J MINARDI                                 10216 VINTAGE DR                                                                                KELLER           TX    76248
MICHAEL J MISIAK                                  94 FERNDALE AVE                                                                                 BUFFALO          NY    14217‐1004
MICHAEL J MOHAUPT                                 8201 PENNY LANE                                                                                 MANASSAS         VA    20112‐4708
MICHAEL J MONTROND                                988 MYRICKS ST                                                                                  E TAUNTON        MA    02718‐1468
MICHAEL J MOREA & JOHANNA MOREA JT TEN            3858 TIMBER RIDGE CT                                                                            PALM HARBOR      FL    34685‐3127
MICHAEL J MORESCHI CUST NICHOLAS P MORESCHI       3781 BEACONTREE PL                                                                              OVIEDO           FL    32765‐9630
UTMA FL
MICHAEL J MORRISON                                4756 BARCELONA RIDGE COURT                                                                      LAS VEGAS        NV    89129
MICHAEL J MORTON                                  8689 WHISPERING PINES DR                                                                        CLARKSTON        MI    48346‐1974
MICHAEL J MOSKAITIS                               45046 CUSTER                                                                                    UTICA            MI    48317‐5700
MICHAEL J MUELLER                                 36506 SCHAFER DR                                                                                N RIDGEVIELL     OH    44039‐2904
MICHAEL J MULHALL                                 751 WILDWOOD                                                                                    BOARDMAN         OH    44512‐3242
MICHAEL J MURPHY                                  1612 ROCK HOLLOW                                                                                NORMAN           OK    73071‐3842
MICHAEL J MURPHY                                  1811 NORFOLK RD                                                                                 GLEN BURNIE      MD    21061‐4315
MICHAEL J MURPHY                                  3227 MARGARET                                                                                   AUBURN HILLS     MI    48326‐3632
MICHAEL J MURPHY                                  15418 GEDDES RD                                                                                 HEMLOCK          MI    48626‐9603
MICHAEL J MURRAY                                  200 WASHINGTON ST                                                                               MAMARONECK       NY    10543‐1831
MICHAEL J MURRAY                                  5368 COLONY WOODS DR                                                                            KALAMAZOO        MI    49009‐8948
MICHAEL J MUSSELWHITE & BILLIE A MUSSELWHITE JT   21206 COLTON COVE DR                                                                            HOUSTON          TX    77095
TEN
MICHAEL J MUTH CUST MICHAEL JOSEPH MUTH JR        6520 E SUGARLOAF ST                                                                             MESA             AZ    85215‐9784
UGMA NJ
MICHAEL J MUTH CUST PHILIP PARKE MUTH UGMA NJ     6520 SUGARLOAF ST                                                                               MESA             AZ    85215‐9784

MICHAEL J MYSLINSKI                               6021 CLOVER LANE                                                                                TOLEDO            OH   43623‐1132
MICHAEL J NACZAS                                  50 VICTORIA AVE                                                                                 READING           MA   01867‐3452
MICHAEL J NAKONECHNI                              3781 PEREGRINE CIRCLE                                                                           RENO              NV   89506‐6409
MICHAEL J NAUS                                    457 LORENGE CT                                                                                  ROCKTON           IL   61072‐1694
MICHAEL J NEATON                                  1058 BROKAW DR                                                                                  DAVISON           MI   48423‐7907
MICHAEL J NEME & JULIE A NEME JT TEN              60 FONTANA LANE                                                                                 GROSSE POINT SHRS MI   48236‐1505

MICHAEL J NEWMAN JR CUST TAYLOR LEIGH NEWMAN      191 BIRCHWOOD RD                                                                                OLD TAPPAN       NJ    07675‐6812
UTMA NJ
MICHAEL J NICHOLAS                                555 OLLIE MEEKS RD                                                                              OAKLAND          KY    42159‐9713
MICHAEL J NICHOLAS & DIANE E NICHOLAS JT TEN      555 OLLIE MEEKS RD                                                                              OAKLAND          KY    42159‐9713
MICHAEL J NIRO                                    15 MUNSEE DRIVE                                                                                 CRANFORD         NJ    07016‐3413
MICHAEL J NIX                                     1565 HIGHWAY 294                                                                                MURPHY           NC    28906‐7978
MICHAEL J NOONAN                                  6685 E 500 S                                                                                    WABASH           IN    46992‐8580
MICHAEL J NUTTALL                                 5218 PARKWAY DR                                                                                 BAY CITY         MI    48706‐3347
MICHAEL J NUTTALL & SHARON A NUTTALL JT TEN       5218 PARKWAY DR                                                                                 BAY CITY         MI    48706‐3347
MICHAEL J O CONNOR JR                             1362 TANGLEWOOD DRIVE                                                                           NORTH            NY    14120‐2357
                                                                                                                                                  TONAWANDA
MICHAEL J O'BRIEN                                 7 REDDICK LANE                                                                                  ROCHESTER        NY    14624‐1904
MICHAEL J O'BRIEN                                 2120 KERWOOD LOOP                                                                               THE VILLAGES     FL    32162
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MICHAEL J O'CONNELL                              230 COUNTY RD 545                                                                                MARQUETTE        MI    49855‐9213
MICHAEL J O'CONNOR & CHRISTINE S O'CONNOR JT TEN 4711 ALTON DR                                                                                    TROY             MI    48098‐5001

MICHAEL J O'HARE                                   1251 N WALDEN LANE                                                                             ANAHEIM          CA    92807‐2423
MICHAEL J OBLOY CUST JUSTIN W OBLOY UGMA SC        359 CURT DOTSON DR                                                                             CLAYTON          GA    30525‐5160

MICHAEL J OBRIEN                                   PMB 421                               4803 SE WOODSTOCK BLVD                                   PORTLAND         OR    97206
MICHAEL J OEHME & TINA R OEHME JT TEN              730 S 260TH ST                                                                                 PITTSBURG        KS    66762‐8714
MICHAEL J OGINSKY                                  30605 PALOMINO DRIVE                                                                           WARREN           MI    48093‐5023
MICHAEL J OLISH                                    1402 PRINCETON DR                                                                              BRUNSWICK        OH    44212‐3572
MICHAEL J OLSON                                    2736 NOTTINGHAM CT                                                                             THOMPSONS        TN    37179‐9291
                                                                                                                                                  STATION
MICHAEL J OLSON                                    903 E 8TH AVE                                                                                  BRODHEAD         WI    53520‐1351
MICHAEL J ONEILL & MARY JANE ONEILL JT TEN         330 NELSON RD                                                                                  MAYVILLE         WI    53050‐1737
MICHAEL J ONEILL CUST DAVID M ONEILL UGMA WA       3186 W LAKESIDE DR                                                                             MOSES LAKE       WA    98837‐2923

MICHAEL J ONEILL CUST KELLI RUTH ONEILL UGMA WA    ATTN KELLI R PRICE                    9316 MARCHAND AVE                                        GARDEN GROVE     CA    92841‐2064

MICHAEL J OSMON                                    3325 STARKWEATHER                                                                              FLINT            MI    48506‐2615
MICHAEL J OTREMBA                                  8206 ST JAMES CRT                                                                              GROSSE ILE       MI    48138‐1774
MICHAEL J OUELLETTE & KATIE L OUELLETTE JT TEN     44 THERRIEN ROAD                                                                               JAY              ME    04239

MICHAEL J PALLA & DOROTHY M PALLA JT TEN         164 CHRIST CHURCH RD                                                                             LITTLESTOWN      PA    17340‐9581
MICHAEL J PANASIEWICZ                            10331 AVENUE H                                                                                   CHICAGO          IL    60617‐6051
MICHAEL J PANCHULA                               4971 PRATT ROAD                                                                                  ANN ARBOR        MI    48103‐1456
MICHAEL J PANDO                                  4121 BONAVISTA CRESCENT                 BURLINGTON ON                          L7M 4J3 CANADA
MICHAEL J PARA JR                                6705 MAIN STREET                                                                                 STANWOOD         MI    49346‐9385
MICHAEL J PARENTI CUST TIMOTHY J PARENTI UGMA PA 213 SUNSET DR                                                                                    GIRARD           PA    16417‐9753

MICHAEL J PARTHENIDES                              938 SHEFFIELD RD                                                                               TEANECK          NJ    07666‐5617
MICHAEL J PARTYKA                                  5703 HAKEN RD                                                                                  ALPENA           MI    49707‐9409
MICHAEL J PATRYLO                                  12155 SUNNYCREST PL                                                                            MARYLAND HTS     MO    63043‐1222
MICHAEL J PATTERSON                                8495 MANDERSTON CT                                                                             FORT MYERS       FL    33912‐6613
MICHAEL J PAVEGLIO                                 3272 CHASE RD                                                                                  ADRIAN           MI    49221‐9346
MICHAEL J PAVLIS                                   R R 1 BOX 226                         SKYVIEW LANE                                             WEBSTER          MA    01570
MICHAEL J PEARSON                                  3250 10TH N ST                        APT C7                                                   NAPLES           FL    34103‐3860
MICHAEL J PELTOLA                                  427 N PETWAY ST                                                                                FRANKLIN         TN    37064‐3121
MICHAEL J PERILLO                                  185 FOCH AVENUE                                                                                TRENTON          NJ    08648‐3719
MICHAEL J PESTA                                    699 HOLMES RIVERVIEW PARK                                                                      BAY CITY         MI    48706
MICHAEL J PETREE                                   PO BOX 1080                                                                                    EL PRADO         NM    87529‐1080
MICHAEL J PETROFF                                  1880 EVON RD                                                                                   SAGINAW          MI    48601‐9336
MICHAEL J PETRUCCI                                 820 W BOXBOROUGH DR                                                                            WILMINGTON       DE    19810‐1457
MICHAEL J PETRUSKA                                 1552 CRAB CREEK RD                                                                             HENDERSONVILLE   NC    28739‐8454
MICHAEL J PFEIFFENBERGER                           420 BOW LANE                                                                                   GILBERTSVILLE    PA    19525‐9180
MICHAEL J PHELAN                                   3571 SEGO ST                                                                                   IRVINE           CA    92606‐2621
MICHAEL J PHILLIPS                                 5‐18 BOYD AVE                                                                                  FAIRLAWN         NJ    07410‐2143
MICHAEL J PHILLIPS & JOAN M PHILLIPS JT TEN        5 18 BOYD AVENUE                                                                               FAIRLAWN         NJ    07410‐2143
MICHAEL J PIASCIK                                  23399 LINNE ST                                                                                 CLINTON TWP      MI    48035‐4602
MICHAEL J PIAZZOLLA                                21 JAMES ST                                                                                    ARLINGTON        MA    02474‐1348
MICHAEL J PICHEL                                   320 N AURORA ST                                                                                ITHACA           NY    14850‐4202
MICHAEL J PICKSTONE                                847 ISABELLA POINT ROAD               SALT SPRING ISLAND BC                  V8K 1T7 CANADA
MICHAEL J PIETRYGA                                 804 PHEASANT LANE                                                                              VERSAILLES       KY    40383‐1517
MICHAEL J PIPER                                    10539 ROYSTON RD                                                                               GRAND LEDGE      MI    48837‐9471
MICHAEL J PIRTZ                                    5467 ST RT 303                                                                                 NEWTON FALLS     OH    44444‐8508
MICHAEL J PLANT                                    2970 PENNY LANE RT 14                                                                          LEXINGTON        OH    44904‐9540
MICHAEL J PORTER                                   PO BOX 3175                                                                                    FARMINGTN HLS    MI    48333‐3175
MICHAEL J PORTO                                    516 AMERICUS AVE                                                                               PATCHOGUE        NY    11772‐5104
MICHAEL J POST                                     12593 DETRICK RD                                                                               ROSSBURG         OH    45362‐9702
MICHAEL J POTRZUSKI                                32305 HARVARD                                                                                  WESTLAND         MI    48186‐4985
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MICHAEL J PRATT                                  21559 AWBREY PL                                                                                ASHBURN         VA    20148‐5002
MICHAEL J PRENDERGAST                            6710 DIXIELAND DR                                                                              HIXSON          TN    37343‐2544
MICHAEL J PRIDGEON CUST ASHLEY G PRIDGEON UTMA   9074 EAGLES RIDGE DR                                                                           TALLAHASSEE     FL    32312‐4045
FL
MICHAEL J PROCTOR                                35493 OAKDALE                                                                                  LIVONIA         MI    48154‐2235
MICHAEL J PRUDHOMME                              255 LOCKWOOD                                                                                   SAGINAW         MI    48602‐3027
MICHAEL J PUCHEL                                 8200 MCCARTY RD                                                                                SAGINAW         MI    48603‐9679
MICHAEL J PULLANO                                43 GRASMERE ROAD                                                                               LOCKPORT        NY    14094‐3409
MICHAEL J PUSATERI                               10800 BRIGHTON BAY BLVD 3103                                                                   ST PETERSBURG   FL    33716‐3490
MICHAEL J PUSTULKA                               4094 WOODARD RD                                                                                DELEVAN         NY    14042‐9712
MICHAEL J PUWAL                                  5110 PLYES RD                                                                                  COLUMBIAVILLE   MI    48421‐8933
MICHAEL J QUINN                                  9873 ST RT 503                                                                                 LEWISBURG       OH    45338‐8921
MICHAEL J QUINN & MARY ANN QUINN JT TEN          9873 ST                               ROUTE 503                                                LEWISBURG       OH    45338
MICHAEL J RAFANELLO                              131 SHERBROOK ST                                                                               BRISTOL         CT    06010‐7273
MICHAEL J RAFFERTY                               #4 OTTER PATH                                                                                  CORAM           NY    11727‐2148
MICHAEL J RALSTON                                11 BRIARWOOD CT                                                                                WARRENTON       MO    63383‐1056
MICHAEL J RAMSEY                                 711 VALLEY DR                                                                                  ANDERSON        IN    46011‐2039
MICHAEL J RANNEY JR                              5631 JEFFREY DR                                                                                LOCKPORT        NY    14094‐6672
MICHAEL J RATH                                   81 SUNHAVEN CT                                                                                 WENTZVILLE      MO    63385‐7001
MICHAEL J RAYBURN & MRS THERESA K RAYBURN JT     9314 CROCKETT ROAD                                                                             BRENTWOOD       TN    37027‐8461
TEN
MICHAEL J RAYSIN & CINDY L RAYSIN JT TEN         4255 CREST KNOLL                                                                               GRAND BLANC     MI    48439‐2062
MICHAEL J REEBER & JESSICA E REEBER JT TEN       24695 RAVEN                                                                                    EASTPOINTE      MI    48021‐1488
MICHAEL J REESE                                  2922 GRANDELL AVE                                                                              LANSING         MI    48906‐2617
MICHAEL J REIDY                                  15 PINE AVE                                                                                    BETHPAGE        NY    11714‐1214
MICHAEL J REILING                                401 PONDEROSA CT                                                                               LAFAYETTE       CA    94549‐1812
MICHAEL J RENNA                                  49 MORROW AVE                                                                                  LOCKPORT        NY    14094‐5014
MICHAEL J RETCHLESS & SUSAN RETCHLESS JT TEN     418 PROSPECT AVE                                                                               OLEAN           NY    14760‐2835

MICHAEL J REUTHER                                420 STRATFORD SQUARE BLVD             APT 4                                                    DAVISON         MI    48423‐1663
MICHAEL J RIGNEY                                 1542 EDISON SHORES PL                                                                          PORT HURON      MI    48060‐3300
MICHAEL J RIZZUTO                                9293 DOUBLOON ROAD                                                                             INDIANAPOLIS    IN    46268‐3290
MICHAEL J ROCHE                                  300 CENTER ST                                                                                  SOLVAY          NY    13209‐2306
MICHAEL J ROMAGNOLA                              170 CHERRY CREEK LN                                                                            ROCHESTER       NY    14626‐4204
MICHAEL J ROMASH                                 2119 PINE RIDGE DR                                                                             WICKLIFFE       OH    44092‐1120
MICHAEL J RORKE                                  3155 ENGLEWOOD                                                                                 MONROE          MI    48162‐4410
MICHAEL J ROSS                                   4630 PULASKI AVE                                                                               LYONS           IL    60534‐1638
MICHAEL J ROURK                                  6635 WOODMERE                                                                                  CANTON TOWNSHIP MI    48187‐1669

MICHAEL J ROUSSEAU                               2166 HAGADORN RD                                                                               MASON           MI    48854‐9414
MICHAEL J ROWE                                   1100 JULIE ANN DR                                                                              LEONARD         MI    48367‐3331
MICHAEL J RUDNIK                                 25130 PECAN LANE                                                                               KATY            TX    77494‐6357
MICHAEL J RUGGIERO                               10612 LA DONA DRIVE                                                                            GARDEN GROVE    CA    92840
MICHAEL J RUSH                                   4605 BROADWAY                                                                                  INDPLS          IN    46205‐1851
MICHAEL J RUSSO & MRS MILDRED J RUSSO JT TEN     10 MENLO DR                                                                                    WHITE HSE STA   NJ    08889‐3638

MICHAEL J RYAN                                   19 SMITH STREET                                                                                WALDWICK        NJ    07463‐1612
MICHAEL J RYAN                                   3612 KLAYSMIER RD #21236                                                                       BALTIMORE       MD    21236‐4817
MICHAEL J RYDER                                  220 LARCH LA                                                                                   MILTON          WI    53563‐1433
MICHAEL J RYPINSKI                               29438 WOODWAY DR                                                                               WICKLIFFE       OH    44092‐2246
MICHAEL J SALAMONE                               8250 ALRO DR SW                                                                                BYRON CENTER    MI    49315‐8165
MICHAEL J SANDWEG & MRS JANE D SANDWEG JT TEN    1364 HAUTE LOIRE DR                                                                            BALLWIN         MO    63011‐2964

MICHAEL J SAPIENZ                                2517 LONGMEADOW DR                                                                             TRENTON         MI    48183‐2216
MICHAEL J SARGIS & JOHN J SARGIS JT TEN          6801 KIMBERLY BLVD                                                                             NORTH           FL    33068‐2546
                                                                                                                                                LAUDERDALE
MICHAEL J SAVOIE                                 7105 BLACKBERRY CR                                                                             BURTON          MI    48519‐1945
MICHAEL J SCALA                                  1430 EASTLAND S E                                                                              WARREN          OH    44484‐4548
MICHAEL J SCHALBERG                              879 REMINGTON DR                                                                               N TONAWANOA     NY    14120‐2931
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Name                                               Address1                             Address2               Address3        Address4           City              State Zip

MICHAEL J SCHLATER                                 904 GREY FOX CIR                                                                               BROWNSVILLE       TX    78520‐9036
MICHAEL J SCHMIDT                                  2608 KNIGHT RD                                                                                 SAGINAW           MI    48601
MICHAEL J SCHULTZ                                  4531 ALURA                                                                                     SAGINAW           MI    48604‐1031
MICHAEL J SCHULTZ & DEBORAH A SCHULTZ JT TEN       1519 WILSON POINT ROAD                                                                         BALTIMORE         MD    21220‐5423

MICHAEL J SCHWARTZ                                 7505 NYACK CT                                                                                  MANASSAS          VA    20112‐7815
MICHAEL J SCHWARTZ                                 7505 NYACK CT                                                                                  MANASSAS          VA    20112‐7815
MICHAEL J SEILER                                   PO BOX 181                                                                                     CADDO             TX    76429‐0181
MICHAEL J SELEPACK                                 3020 SOUTH BLVD                                                                                PORT HURON        MI    48060‐6928
MICHAEL J SHEAR                                    28586 SUTHERLAND                                                                               SOUTHFIELD        MI    48076‐7342
MICHAEL J SHEROKEE                                 9394 DORAL DRIVE                                                                               WARREN            OH    44484‐2151
MICHAEL J SHILHAN                                  124 LEAVITT ST                                                                                 HINGHAM           MA    02043‐2924
MICHAEL J SIMMONS & KATHERINE A SIMMONS JT TEN     47 OLD WINDMILL HILL RD                                                                        TIVERTON          RI    02878‐3523

MICHAEL J SIMON                                    8975 GOODWIN RD                                                                                LYONS             MI    48851‐9673
MICHAEL J SIMON                                    6050 URBAN DRIVE                                                                               EAST CHINA        MI    48054‐4744
MICHAEL J SIMON                                    PO BOX 663                                                                                     WARREN            MI    48090‐0663
MICHAEL J SINCLAIR                                 APT 201                              5330 W MICHIGAN AVE                                       LANSING           MI    48917‐3320
MICHAEL J SINGLETON                                9229 W WALDEN DR                                                                               BELLEVILLE        MI    48111‐2488
MICHAEL J SINOPOLI                                 20 FAIRVIEW DR                                                                                 BROCKPORT         NY    14420‐2616
MICHAEL J SIRACUSA                                 1841 CENTRAL PARK AVE #9R                                                                      YONKERS           NY    10710‐2935
MICHAEL J SIRIANNI & LOUISE SIRIANNI JT TEN        13963 GROUSE LN                                                                                UTICA             MI    48315‐4829
MICHAEL J SISLOW                                   5529 LONGBROOK RD                                                                              LORAIN            OH    44053‐1811
MICHAEL J SITARAS                                  14 GARERETT RD                                                                                 WILMINGTON        DE    19809‐1519
MICHAEL J SITZMAN                                  4749 WASHBURN AVE S                                                                            MINNEAPOLIS       MN    55410‐1849
MICHAEL J SLAVIN                                   3826 FAWN DR                         APT 2C                                                    INDIANAPOLIS      IN    46254‐4612
MICHAEL J SLOVAK                                   766C MARLTON RD                                                                                MONROE TWP        NJ    08831‐4221
MICHAEL J SMITH                                    7610 ANGLERS LN                                                                                DAYTON            OH    45414‐2504
MICHAEL J SMITH                                    8831 DAVIDGATE DR                                                                              HUBER HEIGHTS     OH    45424‐6446
MICHAEL J SMITH                                    9472 MCWAIN RD                                                                                 GRAND BLANC       MI    48439‐8363
MICHAEL J SMITH & MRS CATHERINE C SMITH JT TEN     801 BRANTFORD AVE                                                                              SILVER SPRING     MD    20904‐2006

MICHAEL J SMITH & TERESA S SMITH JT TEN            8831 DAVIDGATE DRIVE                                                                           HUBER HEIGHTS     OH    45424‐6446
MICHAEL J SONNEVILLE                               350 E BETHEL DR                                                                                BOURBONNAIS       IL    60914
MICHAEL J SPANN                                    541 AVENUE C                                                                                   REDONDO BEACH     CA    90277
MICHAEL J SPECTOR CUST JOHN P SPECTOR UGMA WI      2114 E KENSINGTON BLVD                                                                         SHOREWOOD         WI    53211‐1223

MICHAEL J SPENCER                                  3150 BROUGHWELL RD                                                                             JACKSON           MI    49201‐8242
MICHAEL J SPRAGUE                                  1681 WAVERLY                                                                                   TRENTON           MI    48183‐1828
MICHAEL J STACKLE                                  506 SHERMAN AVE E                                                                              FT ATKINSON       WI    53538‐1959
MICHAEL J STAHLMAN                                 4115 N WOOD RD                                                                                 SIBLEY            MO    64088
MICHAEL J STANCHAK                                 6125 POWERS RD                                                                                 ORCHARD PARK      NY    14127‐3213
MICHAEL J STANN JR                                 19483 AUBURNDALE                                                                               LAVONIA           MI    48152‐1529
MICHAEL J STAWICKI                                 10279 EDGERTON RD                                                                              N ROYALTON        OH    44133‐5540
MICHAEL J STEPHENS                                 13866 FOWLER RD                                                                                HONOR             MI    49640‐9449
MICHAEL J STOCKMAN                                 580 HARSEN ROAD                                                                                LAPEER            MI    48446‐2742
MICHAEL J STUMPF                                   1750 W 187 TH                                                                                  HOMEWOOD          IL    60430‐3854
MICHAEL J SULENSKI                                 8726 YO SALEM RD                                                                               CANFIELD          OH    44406
MICHAEL J SULLIVAN                                 94 EMERALD DUNES CIRCLE                                                                        HENDERSON         NV    89052
MICHAEL J SUNTAVA                                  29 BRIGADOON DR                                                                                CHESHIRE          CT    06410‐1515
MICHAEL J SWEERS                                   1541 DENNIS ROAD                                                                               WILLIAMSTON       MI    48895‐9728
MICHAEL J TACEY                                    ATTN MICHAEL J TACEY SR              483 E CENTER AVE                                          ESSEXVILLE        MI    48732‐9780
MICHAEL J TAHY TR MICHAEL J TAHY REVOCABLE TRUST   1735 BLACK MAPLE DR                                                                            ROCHESTER HILLS   MI    48309‐2213
UA 06/30/92
MICHAEL J TALLARICO                                1904 N HAYFORD AVE                                                                             LANSING           MI    48912‐3507
MICHAEL J TARBURTON                                302 RIVERSIDE DR                                                                               BALTIMORE         MD    21221‐6828
MICHAEL J TAYLOR                                   1221 TIMBERVIEW TRL                                                                            BLOOMFIELD        MI    48304‐1556
MICHAEL J TAYLOR                                   TSUNG YUEN H29 2F HO SHEUNG          HEUNG SHEUNG SHUI NT                   HONG KONG, CHINA
MICHAEL J TCHORNI                                  201 E 87TH ST                        APT 19C                                                   NEW YORK          NY    10128‐3205
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MICHAEL J TEAGUE                                   1024 BANK SIDE CIRCLE                                                                           EDMOND           OK    73003‐6443
MICHAEL J TERHAAR                                  5618 BUFFALO RD                                                                                 CHURCHVILLE      NY    14428‐9755
MICHAEL J TEUTSCH                                  39225 COLUMBIA                                                                                  MT CLEMENS       MI    48045‐1743
MICHAEL J THELEN                                   156 CLARENDON CIR                                                                               FRANKLIN         TN    37069‐1836
MICHAEL J THIBAULT                                 38782 HAMPTON CT                                                                                HARRISON         MI    48045‐2268
                                                                                                                                                   TOWNSHIP
MICHAEL J THOMAS                                   6721 JASMINE CIRCLE                                                                             ROANOKE          VA    24019‐4709
MICHAEL J THOMPSON                                 7426 IVANREST AVE SW                                                                            BYRON CENTER     MI    49315
MICHAEL J TILLMAN                                  2722 SIMMONS DR                        CACHSE                                                   SACHSE           TX    75048
MICHAEL J TIUFEKCHIEV                              5377 W LEITNER DR                                                                               CORAL SPRINGS    FL    33067‐2007
MICHAEL J TODD                                     232 E 300 NORTH                                                                                 ANDERSON         IN    46012‐1206
MICHAEL J TOMASOVICH                               1011 BERKSHIRE AVE                                                                              PITTSBURGH       PA    15226‐2218
MICHAEL J TOPP                                     6455 LITTLE JOHN CIR                                                                            CENTERVILLE      OH    45459‐2547
MICHAEL J TORBERT                                  PO BOX 960                                                                                      MECHANICSVILLE   MD    20659‐0960
MICHAEL J TOSO JR                                  15 AUDUBON BLVD                                                                                 NEW ORLEANS      LA    70118‐5537
MICHAEL J TRAHAN                                   9062 RAY RD                                                                                     GAINES           MI    48436‐9717
MICHAEL J TREVORROW                                1335 FOREST RIDGE DR                                                                            MILFORD          MI    48381‐4715
MICHAEL J TRIESSL                                  4023 ALCOVE AVE                                                                                 STUDIO CITY      CA    91604‐2346
MICHAEL J TROTTA                                   884 BLACKBIRD GREENSPRING RD                                                                    SMYRNA           DE    19977‐9462
MICHAEL J TRUSGNICH                                25620 S LINDEN AVE                                                                              MONEE            IL    60449‐8522
MICHAEL J TSCHIRHART                               1438 N GENEVIEVE ST                                                                             BURTON           MI    48509‐1620
MICHAEL J TULUMELLO                                2679 PEBBLE BEACH DR                                                                            OAKLAND TWP      MI    48363
MICHAEL J TYMA                                     1839 ALVERNE DR                                                                                 POLAND           OH    44514‐1406
MICHAEL J TYRRELL                                  793 STOWELL DR APT 4                                                                            ROCHESTER        NY    14616‐1837
MICHAEL J UTECHT                                   31 ROSWELL AVENUE                                                                               BUFFALO          NY    14207‐1038
MICHAEL J VACKETTA CUST CAROLINE BENSON            20348 WOOD HILL ROAD                                                                            NORTHVILLE       MI    48167‐3041
VACKETTA UGMA MI
MICHAEL J VALENTI                                  3401 EDENBORN AVE                      APT 114                                                  METAIRIE         LA    70002‐7514
MICHAEL J VAUHN                                    10069 F BUNKER HILL                                                                             ST LOUIS         MO    63123‐7445
MICHAEL J VEDRODY                                  11395 ANDERSONVILLE RD                                                                          DAVISBURG        MI    48350‐3136
MICHAEL J VELTHOUSE                                1761 DEERFIELD CT                                                                               DORR             MI    49323‐9430
MICHAEL J VENESKEY                                 14430 DRAKE RD                                                                                  STRONGSVILLE     OH    44136‐7930
MICHAEL J VERBANOVIC                               6841 LOCKWOOD BLVD                     APT 91                                                   YOUNGSTOWN       OH    44512‐3927
MICHAEL J VILLAGE & GERALDINE VILLAGE JT TEN       3076 NILES‐CARVER RD                                                                            MCDONALD         OH    44437
MICHAEL J VIOX                                     1387 HIGHWAY                                                                                    LOVELAND         OH    45140
MICHAEL J VITALE                                   1202 TREES OF KENNESAW PKWY NW                                                                  KENNESAW         GA    30152‐7654
MICHAEL J VIZARD                                   1524 BENNING N W                                                                                GRAND RAPIDS     MI    49504‐2404
MICHAEL J VOSSLER & ALBERT E VOSSLER II JT TEN     1 FRESH MEADOWS LN                                                                              DARIEN           CT    06820‐3700
MICHAEL J WAITE                                    12118 PINE ROW LN                                                                               GRAND BLANC      MI    48439‐1621
MICHAEL J WALDMAN                                  27 E 65TH ST                                                                                    NEW YORK         NY    10021‐6552
MICHAEL J WALLACE                                  3934 CLIPPERT                                                                                   DEARBORN HEIGHTS MI    48125‐2731

MICHAEL J WALLACE & SUSAN MEYER‐WALLACE JT TEN 105 DEWEY ST                                                                                        JERICHO          NY    11753

MICHAEL J WALSH                                    254 PARKRIDGE DR                                                                                PERKASIE         PA    18944‐1025
MICHAEL J WALSH CUST KELLY WALSH UGMA MI           9982 ROLLING GREEN DR                                                                           PINCKNEY         MI    48169‐8154
MICHAEL J WANDISHIN                                9140 MAPLEWOOD                                                                                  ST JOHN          IN    46373‐9445
MICHAEL J WARD                                     11273 LAKEHAVEN DR                                                                              WHITE LAKE       MI    48386‐3647
MICHAEL J WATERMAN CUST KELLY ANNE WATERMAN        165 VORN LANE                                                                                   BLOOMFIELD       MI    48301‐2413
UGMA MI
MICHAEL J WEATHERWAX & LINDA J WEATHERWAX JT       PO BOX 4041                                                                                     YUMA             AZ    85366‐4041
TEN
MICHAEL J WEAVER                                   898 YOUNG DAIRY CT                                                                              HERNDON          VA    20170‐3013
MICHAEL J WEBER                                    37490 LAKEVILLE                                                                                 MT CLEMENS       MI    48045‐2877
MICHAEL J WELLS                                    623 RACHEL LANE                                                                                 MILFORD          MI    48381‐1887
MICHAEL J WELTZIN                                  830 MARSHALL AVE                                                                                ST LOUIS         MO    63119‐2003
MICHAEL J WENIG                                    1817 RIVERTRACE POINT                                                                           HIGH POINT       NC    27265‐2485
MICHAEL J WHALEN                                   PO BOX 1937                                                                                     PAYSON           AZ    85547
MICHAEL J WHALEN & TRACY L WHALEN JT TEN           109 DEER VALLEY DRIVE                                                                           SPRING CITY      PA    19475‐1688
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MICHAEL J WHEEKER                                  6853 KILLARNEY LN                                                                               TROY               MI    48098‐2121
MICHAEL J WHEELER                                  4283 PLANK ROAD                                                                                 LOCKPORT           NY    14094‐9732
MICHAEL J WILLIAMS                                 8615 E 57 TERR                                                                                  KANSAS CITY        MO    64129‐2719
MICHAEL J WILSON & ROSE C WILSON JT TEN            3591 BLUE HERON LN                                                                              ROCHESTER HILLS    MI    48309‐4514
MICHAEL J WOLANIN                                  2709 PARKWAY PL                                                                                 HARTLAND           MI    48353‐3233
MICHAEL J WOLANIN & NANCY L WOLANIN JT TEN         2709 PARKWAY PLACE                                                                              HARTLAND           MI    48353‐3233

MICHAEL J WOLF                                     4518 COASTAL PKWY                                                                               WHITE LAKE         MI    48386‐1106
MICHAEL J WOODHULL                                 400 N CASS LAKE RD                                                                              WATERFORD          MI    48328‐2304
MICHAEL J WORSWICK                                 7525 RIVER RD                                                                                   MARINE CITY        MI    48039‐3336
MICHAEL J WUJCIAK                                  1055 YARMOUTH RD                                                                                BLOOMFIELD HILLS   MI    48301‐2338

MICHAEL J WYSKIEWICZ                               4 NORTH RIDGE DR                                                                                CROMWELL           CT    06416‐1097
MICHAEL J YAKLIN                                   3041 DITCH RD                                                                                   NEW LOTHROP        MI    48460‐9627
MICHAEL J YASHOWITZ & LORRAINE A YASHOWITZ JT      68 CHARTER DRIVE                                                                                MOUNTAIN TOP       PA    18707‐2340
TEN
MICHAEL J YATES                                    5328 BURGUNDY DR                                                                                CLARKSTON          MI    48346‐3200
MICHAEL J YENS                                     5029 HURDS CORNER RD                                                                            SILVERWOOD         MI    48760‐9769
MICHAEL J YESK                                     4 FAIRWAY PL                                                                                    PLEASANT HILL      CA    94523‐1146
MICHAEL J YOEST                                    3245 S LEAVITT RD SW                                                                            WARREN             OH    44481‐9115
MICHAEL J YORK                                     3206 FALL DR                                                                                    ANDERSON           IN    46012‐9543
MICHAEL J YORK & CHERYL A YORK JT TEN              3206 FALL DR                                                                                    ANDERSON           IN    46012‐9543
MICHAEL J YOSHONIS                                 2529 COOLIDGE APT 40A                                                                           TROY               MI    48084‐3648
MICHAEL J YOUNG                                    7089 OLD ENGLISH ROAD                                                                           LOCKPORT           NY    14094‐5409
MICHAEL J YURICH                                   3082 CLARK MILL ROAD                                                                            NORTON             OH    44203‐1022
MICHAEL J ZABIK                                    2900 ACADEMY                                                                                    DEARBORN           MI    48124‐3352
MICHAEL J ZAPPIA                                   53 CHURCHILL AVENUE                                                                             MASSENA            NY    13662‐1630
MICHAEL J ZAVATSKY                                 4227 W 36TH ST                                                                                  CLEVELAND          OH    44109
MICHAEL J ZEMAN                                    58 TOBEY LANE                                                                                   NORTH              MA    02747‐3115
                                                                                                                                                   DARTMOUTH
MICHAEL J ZERBO                                    462 MEER AVE                                                                                    WYCKOFF            NJ    07481‐1805
MICHAEL J ZURAW JR                                 304 MAIN                                                                                        BAY CITY           MI    48706‐5016
MICHAEL JACKSON                                    978 BERWICK                                                                                     PONTIAC            MI    48341‐2319
MICHAEL JACZYN                                     3219 SARATOGA AVE                                                                               CLEVELAND          OH    44109‐4979
MICHAEL JAMES BALDIVID                             24969 TARMAN AVE                                                                                HAYWARD            CA    94544‐2119
MICHAEL JAMES BEDELLS                              5267 ASPEN WAY                                                                                  HARBOR SPGS        MI    49740‐9534
MICHAEL JAMES BIDIGARE & JUSTINE BIDIGARE JT TEN   5185 COLDSPRING LANE                                                                            W BLOOMFIELD       MI    48322

MICHAEL JAMES CONWAY                               5601 33RD ST NW                                                                                 WASHINGTON         DC    20015‐1630
MICHAEL JAMES CUST ELIZABETH JAMES UTMA IL         1002 OTTAWA AVE                                                                                 OTTAWA             IL    61350‐3324
MICHAEL JAMES CUST KATHERINE JAMES UTMA IL         1002 OTTAWA AVE                                                                                 OTTAWA             IL    61350‐3324
MICHAEL JAMES CUST VICTORIA R JAMES UTMA IL        1002 OTTAWA AVE                                                                                 OTTAWA             IL    61350‐3324
MICHAEL JAMES DUPUIS                               12312 TAMERLANE DR                                                                              GARDEN GROVE       CA    92840‐3960
MICHAEL JAMES FOOTE                                301 W BROME AVE                                                                                 LAFAYETTE          CO    80026‐2618
MICHAEL JAMES HOWARD & CHRISTINA EILEEN CAREY      44891 BROADMOOR CIR S                                                                           NORTHVILLE         MI    48168‐8642
JT TEN
MICHAEL JAMES HOWARTH BENNETT                      8 HELEN ST                             KITCHENER ON                           N2P 2C6 CANADA
MICHAEL JAMES KENT JR                              1110 W STOLL RD                                                                                 DEWITT             MI    48820‐8652
MICHAEL JAMES KUCHARSKI                            159 BENTLEY STREET                                                                              TANEYTOWN          MD    21787‐2157
MICHAEL JAMES LUCE & CARL WILLIAM LUCE JR JT TEN   18815 FOWLER RD                                                                                 OAKLEY             MI    48649‐9738

MICHAEL JAMES MORESCHI CUST VINCENT MICHAEL        3781 BECONTREE PL                                                                               OVIEDO             FL    32765‐9630
MORESCHI UTMA NC
MICHAEL JAMES PERRONE                              4053 MAYWOOD DR                                                                                 SEAFORD         NY       11783‐1033
MICHAEL JAMES PORTER                               320 JACQUELYN CT                                                                                DAYTON          OH       45415‐2126
MICHAEL JAMES RULLE                                50 SOUTHBROOK COURT                                                                             TERRE HAUTE     IN       47802‐4976
MICHAEL JAVER & MRS MARSHA JAVER JT TEN            165 SOUNDVIEW DR                                                                                PORT WASHINGTON NY       11050‐1709

MICHAEL JAY BAKER                                  2717 CLAREMONT BLVD                                                                             BERKELEY           CA    94705‐1321
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MICHAEL JAY JONES & LORETTA JONES COMMUNITY     1184 MT QUAIL CIR                                                                               SAN JOSE        CA    95120‐4100
PROPERTY
MICHAEL JEFFREY CULP                            3034 FREE UNION RD                                                                              CHARLOTTESVLE   VA    22901‐5602
MICHAEL JEFFREY GELB                            PO BOX 33165                                                                                    SANTA FE        NM    87594‐3165
MICHAEL JEFFREY RIMICCI                         3309 QUIDNET RD                                                                                 NORMAN          OK    73071‐7105
MICHAEL JELINEK & ANGELA JELINEK JT TEN         37 UNION ST                                                                                     TIFFIN          OH    44883
MICHAEL JENKINS                                 10157 WANDERING WAY ST                                                                          BENBROOK        TX    76126‐3019
MICHAEL JEREMY GILLIAM CUST KADIN EUGENE        PO BOX 509                                                                                      WINSTON         OR    97496‐0509
GILLIAM UTMA OR
MICHAEL JEROME BRYANT                           4801 W SECOND ST                                                                                DAYTON          OH    45427‐2940
MICHAEL JEWEL                                   PO BOX 05112                                                                                    DETROIT         MI    48205‐0001
MICHAEL JIMENEZ                                 1908 S 50TH AVE                                                                                 CICERO          IL    60804‐2427
MICHAEL JOEL PELMAN                             261 SCARBOROUGH ST                                                                              THOUSAND OAKS   CA    91361‐1341
MICHAEL JOHN BACHAL CUST ADAM MICHAEL BACHAL 2247 GREEN GLADE WAY                                                                               WAUCONDA        IL    60084‐5027
UTMA IL
MICHAEL JOHN BACHAL CUST NINA DARLENE BACHAL    2247 GREEN GLADE WAY                                                                            WAUCONDA        IL    60084‐5027
UTMA IL
MICHAEL JOHN BACHAND                            1337 WEST MAIN                                                                                  STURGIS         SD    57785‐1528
MICHAEL JOHN BARON & PATRICIA NOLA BARON JT TEN 5620 WRIGHT                                                                                     TROY            MI    48098‐2917

MICHAEL JOHN BELLANTI                             34050 N 43RD ST                                                                               CAVE CREEK      AZ    85331
MICHAEL JOHN BURK                                 1591 FERDINAND                                                                                DETROIT         MI    48209‐2105
MICHAEL JOHN DELZOPPO & ROSALINE DELZOPPO JT      1985 COLTMAN RD                                                                               CLEVELAND       OH    44106‐1917
TEN
MICHAEL JOHN DESHAIES                             PO BOX 34                                                                                     MILFORD         DE    19963‐0034
MICHAEL JOHN FURCHAK & MRS LEONA FURCHAK JT       28050 COLERIDGE                                                                               HARRISON        MI    48045‐2202
TEN                                                                                                                                             TOWNSHIP
MICHAEL JOHN HONIGFORT                            7234 WESTMORELAND                                                                             ST LOUIS        MO    63130‐4425
MICHAEL JOHN MC ARTHUR                            486 DONEGAL DR                       BURLINGTON ON                          L7L 2M7 CANADA
MICHAEL JOHN MERCER                               1016 MAGNOLIA ST                                                                              CARLSBAD        CA    92008‐2538
MICHAEL JOHN MILLER                               14420 PIKE RD                                                                                 SARATOGA        CA    95070‐5358
MICHAEL JOHN NORRIS                               25749 CHEYENNE DR                                                                             NOVI            MI    48374‐2362
MICHAEL JOHN PRUSZ                                10036 ROLLING RIVER RUN                                                                       LAUREL          MD    20723‐5769
MICHAEL JOHN STARKEY TOD DIANE MARIE STARKEY      4537 FOUNTAIN BROOK                                                                           WATERLOO        IL    62298‐2749

MICHAEL JOHN WHITEHEAD                            719 S CONKLING ST                                                                             BALTIMORE       MD    21224‐4302
MICHAEL JOHN WORDEN                               PO BOX 655                                                                                    PENN YAN        NY    14527‐0655
MICHAEL JOHNSON                                   PO BOX 111                                                                                    WINTERSET       IA    50273‐0111
MICHAEL JON LATKOVIC                              6230 AMANDA DR                                                                                SAGINAW         MI    48638‐4361
MICHAEL JONAS & BARBARA E JONAS JT TEN            31276 OLD STAGE RD                                                                            BIRMINGHAM      MI    48025‐4401
MICHAEL JORDAN                                    15840 LAWTON                                                                                  DETROIT         MI    48238‐1426
MICHAEL JORDAN                                    160 W MARSHFIELD ST                                                                           HARTVILLE       MO    65667
MICHAEL JOSEPH BAUER & MARY R BAUER JT TEN        33621 N HAMPSHIRE                                                                             LIVONIA         MI    48154‐2705
MICHAEL JOSEPH BAUER & NORMAN M BAUER JT TEN      C/O MARY R BAUER                     33621 N HAMPSHIRE                                        LIVONIA         MI    48154‐2705

MICHAEL JOSEPH BLAZEK                             2102 FRISSELL AVE                                                                             APEX            NC    27502‐9069
MICHAEL JOSEPH CARPENTER CUST BRIAN DAVID KELLY   2503 HIGHWAY 544                                                                              RUSTON          LA    71270‐1159
UTMA AL
MICHAEL JOSEPH CUNNINGHAM JR                      RD #3 BOX 242                                                                                 HUNTINGDON      PA    16652‐8804
MICHAEL JOSEPH GARVEY                             PO BOX 1854                                                                                   BOCA RATON      FL    33429‐1854
MICHAEL JOSEPH GERLACH                            115 FOX LAKE DR                                                                               MADISON         AL    35758‐7965
MICHAEL JOSEPH HALTON                             4413 VALE CIR                                                                                 MADISON         WI    53711‐2819
MICHAEL JOSEPH HUDSON                             489 5TH ST                                                                                    PENTWATER       MI    49449‐9433
MICHAEL JOSEPH HUSSON                             738 26TH ST                                                                                   MANHATTAN BCH   CA    90266‐2365
MICHAEL JOSEPH KALB                               1319 MT PLEASANT ST                                                                           DUBUQUE         IA    52001‐6143
MICHAEL JOSEPH KOURY                              15 FREEMAN LN                                                                                 BRIDGEWATER     NJ    08807‐5601
MICHAEL JOSEPH KUMMER                             754 N RIVERSIDE DR                                                                            CROWNSVILLE     MD    21032
MICHAEL JOSEPH MEISTER                            1369 BEACHMONT ST                                                                             VENTURA         CA    93001‐4225
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MICHAEL JOSEPH OBRIEN JR & MRS MARY OBRIEN JT    925 RUSSELL ST                                                                                 AVOCA              PA    18641‐1525
TEN
MICHAEL JOSEPH POLAK III                         7009 NW 99TH WAY                                                                               TAMARAC            FL    33321‐1810
MICHAEL JOSEPH POLO                              12331 BARTELT CT                                                                               HUNTLEY            IL    60142‐6062
MICHAEL JOSEPH PORTER                            4528 STEWART RD                                                                                STERLING           MI    48659‐9788
MICHAEL JOSEPH PULA                              6791 CLINTON STREET                                                                            ELMA               NY    14059‐9729
MICHAEL JOSEPH REEBER                            24695 RAVEN                                                                                    EASTPOINTE         MI    48021‐1488
MICHAEL JOSEPH ROGERS                            1279 BIBEAU RD                                                                                 WHITE BEAR LAKE    MN    55110‐3604
MICHAEL JOSEPH RUTTLE                            56 MARION ST                          TORONTO ON                             M6R 1E7 CANADA
MICHAEL JOSEPH SOUZA                             125 HILLCREST FARM                                                                             OLD MONROE         MO    63369‐2627
MICHAEL JOSEPH THOMAS                            21160 MONROE ROAD 463                                                                          STOUTSVILLE        MO    65283‐2108
MICHAEL JOSEPH TRZUSKOT                          10913 THORNAPPLE DR                                                                            CANADIAN LAKE      MI    49346‐9776
MICHAEL JUCCIARONE                               19818 ELLENDALE DR                                                                             LAND O LAKES       FL    34638‐8009
MICHAEL JUSTIN DAWSON                            POST OFFICE BOX 2403                                                                           TEMECULA           CA    92593‐2403
MICHAEL K ALLEN                                  8374 ELK RUN DR                                                                                CLARKSTON          MI    48348‐2863
MICHAEL K ASANTE                                 75 HUMPHREY DR                        AJAX ON                                L1S 4Y8 CANADA
MICHAEL K BRANDT                                 1549 WEST COUNTY ROAD 50 NORTH                                                                 NEW CASTLE         IN    47362‐9178
MICHAEL K COOPER                                 86 JOELLEN DR                                                                                  ROCHESTER          NY    14626‐1282
MICHAEL K COPE                                   23486 HIGHWAY 140                                                                              STEVINSON          CA    95374‐9779
MICHAEL K CRIMES                                 435 RAEBURN                                                                                    PONTIAC            MI    48342‐3442
MICHAEL K CURTISS JR                             7 ELMVALE CRES                        PORT COLBORNE ON                       L3K 5Z9 CANADA
MICHAEL K DANIELS                                1161 HOLLYHOCK DRIVE                                                                           GRAND BLANC        MI    48439
MICHAEL K DAVIS                                  3440 BURTON PLACE                                                                              ANDERSON           IN    46013
MICHAEL K DUPURE & DENISE L DEPURE JT TEN        5429 CASMERE AVE                                                                               WARREN             MI    48092‐3135
MICHAEL K EVANS                                  503 RIDDLE ST                                                                                  HOWELL             MI    48843‐1139
MICHAEL K FINNERTY                               PO BOX 5                                                                                       CLIFTON SPRINGS    NY    14432‐0005
MICHAEL K GIFFORD                                7171 PICKWAY DR                                                                                CINCINNATI         OH    45233‐4243
MICHAEL K HALL                                   11418 GEORGIA                                                                                  KANSAS CITY        KS    66109‐4400
MICHAEL K HOOS & CATHERINE E HOOS JT TEN         1515 CARRIAGE HILL DR                                                                          WESTMINSTER        MD    21157‐6501
MICHAEL K INMAN CUST ANNA E INMAN UGMA TX        2555 ROSEDALE ST                                                                               HIGHLAND VILLAGE   TX    75077‐8634

MICHAEL K JACKSON                                2710 BRIGHTON AVE NE                                                                           MINNEAPOLIS        MN    55418‐3107
MICHAEL K JETTON & KAREN Y NEWMAN TEN COM        88 CR 475                                                                                      RECTOR             AR    72461

MICHAEL K KIMMEL                                  2006 GLENNWOOD AVE NE                                                                         RENTON             WA    98056‐2307
MICHAEL K LATTANY                                 5469 SHALE                                                                                    TROY               MI    48098‐3973
MICHAEL K LINDSAY                                 1228 CUMMINGS AVE                                                                             EAU CLAIRE         WI    54701‐6565
MICHAEL K LITZ                                    833 WILLOWOOD DR W                                                                            MANSFIELD          OH    44906
MICHAEL K MALONEY                                 49 UNCAS RD                          BOX 23                                                   EAGLE BAY          NY    13331‐0023
MICHAEL K MILLER & ELLEN L MILLER JT TEN          6715 CRIMSON KING COURT                                                                       INDIANAPOLIS       IN    46256‐3261
MICHAEL K MORAN                                   5 FLINTLOCK DR                                                                                BEDFORD            MA    01730‐2004
MICHAEL K MORRISON                                7510 TURNER RIDGE ROAD                                                                        CRESTWOOD          KY    40014‐8951
MICHAEL K MULLEN                                  128 LYONS RD                                                                                  BASKING RIDGE      NJ    07920‐1938
MICHAEL K NEWELL                                  103 NATHANIEL DR                                                                              HOCKESSIN          DE    19707‐1803
MICHAEL K OLSON                                   3216 SEEBALDT                                                                                 WATERFORD          MI    48329‐4154
MICHAEL K PAVELCHAK JR & DIANE E PAVELCHAK JT TEN PO BOX 627                                                                                    NORTH EASTHAM      MA    02651‐0627

MICHAEL K PIERCE                                 1727 GINSENG TRL                                                                               AVON               IN    46123
MICHAEL K PIERCE & DIANE M PIERCE JT TEN         1727 GINSENG TRL                                                                               AVON               IN    46123
MICHAEL K POWERS                                 3610 HARBER RD                                                                                 CHAPEL HILL        TN    37034‐2020
MICHAEL K RICHARDSON                             265 E ST RTE 73                                                                                SPRINGBORO         OH    45066‐9784
MICHAEL K ROSENBOHM                              37319 EMPIRE RD                                                                                GRAHAM             MO    64455‐7157
MICHAEL K RYAN                                   7 COOMBS STREET                                                                                SOUTHBRIDGE        MA    01550‐2747
MICHAEL K SATER                                  2105 MOONLIGHT DR                                                                              HAMPSTEAD          MD    21074‐2544
MICHAEL K SEABROOK                               1504 OYSTER LN                                                                                 HOLLY              MI    48442‐8363
MICHAEL K SHARP                                  1635 N ROCHESTER AVE                                                                           INDIANAPOLIS       IN    46222‐2533
MICHAEL K SINGLETON & KAREN L SINGLETON JT TEN   7519 MEDITERRANEAN COURT                                                                       BAYONET POINT      FL    34667‐2159

MICHAEL K SPEAR                                  2381 BOCK RD                                                                                   SAGINAW            MI    48603‐3835
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MICHAEL K STALLINGS                           170 S ROCK RD                                                                                      MANSFIELD         OH    44903‐9269
MICHAEL K STEVENSON                           9367 CRABB RD                                                                                      TEMPERENCE        MI    48182‐9338
MICHAEL K STOUT                               10669 CHESTNUT HILL LN                                                                             CENTERVILLE       OH    45458‐6000
MICHAEL K SUMNER                              325 CHERRY ST                                                                                      POTTERVILLE       MI    48876‐9737
MICHAEL K TAYLOR                              332 W RANKIN ST                                                                                    FLINT             MI    48505
MICHAEL K TURNER                              23726 W DEER CHASE LANE                                                                            NAPERVILLE        IL    60564‐5327
MICHAEL K UPTIGROVE                           770 COUNTY ROAD 242                                                                                ARLEY             AL    35541‐2463
MICHAEL K UPTIGROVE & MARIANNE E UPTIGROVE JT 770 COUNTY ROAD 242                                                                                ARLEY             AL    35541‐2463
TEN
MICHAEL K VOGT                                903 N W HWY B                                                                                      URICH             MO    64788‐8107
MICHAEL K WALKER                              4082 JIMMY DRIVE                                                                                   ROCKY FACE        GA    30740‐9754
MICHAEL K WESCHE                              3643 HEMPSTEAD ST                                                                                  ST CHARLES        MO    63301‐8104
MICHAEL K WHITEMAN                            535 BRADFORD CIR                       APT G                                                       KOKOMO            IN    46902‐8428
MICHAEL K YENSAN                              1305 WHITEHAVEN RD                                                                                 GRAND ISLAND      NY    14072‐1915
MICHAEL K ZUSCHLAG                            2 BRIGHAM HILL RD                                                                                  GRAFTON           MA    01519‐1138
MICHAEL KABAK                                 501 HARMS ROAD                                                                                     GLENVIEW          IL    60025‐3437
MICHAEL KALAFIAN & DOLORES KALAFIAN JT TEN    3629 RIDGECROFT DR                                                                                 LYNCHBURG         VA    24503‐3261
MICHAEL KALLAY                                309 E MOREHEAD ST                      #513                                                        CHARLOTTE         NC    28202‐2307
MICHAEL KAMINSKI                              219 ELLSWORTH STREET                                                                               ISELIN            NJ    08830‐2433
MICHAEL KAMINSKY                              2933 LOUIS STREET                                                                                  FORT WORTH        TX    76112
MICHAEL KANE                                  508 LELAND                                                                                         FLUSHING          MI    48433‐3301
MICHAEL KAPLIT                                4908 PLUM RUN CT                                                                                   WILMINGTON        DE    19808‐1768
MICHAEL KAPPL                                 1033 FRANK AVE                         WINDSOR ON                                N8S 3P6 CANADA
MICHAEL KARAMANIS                             C/O ANTONIA K MILONAS                  171 W 57TH ST 11C                                           NEW YORK          NY    10019‐2222
MICHAEL KARSTI                                249 SHIELDS RD                                                                                     YOUNGSTOWN        OH    44512‐1920
MICHAEL KASPEREK                              69 ST FLORIAN ST                                                                                   BUFFALO           NY    14207‐2320
MICHAEL KAWALER                               2926 PINERY POINTE DRIVE                                                                           SAINT LOUIS       MO    63129‐5711
MICHAEL KAWALER                               4663 PINECREST TER                                                                                 EDEN              NY    14057‐9757
MICHAEL KAZIN CUST MATTHEW EDMUND KAZIN UTMA 10 ROSETREE LANE                                                                                    LAWRENCEVILLE     NJ    08648‐3233
NJ
MICHAEL KELLEY                                2609 TRABERT LN                                                                                    BAKERSFIELD       CA    93309‐4374
MICHAEL KELLEY                                241 S MACMILLIAN AVE                                                                               VENTURA           CA    93001
MICHAEL KELLY                                 4831 WESTCHESTER DR                    APT 316                                                     YOUNGSTOWN        OH    44515‐2539
MICHAEL KELLY                                 28 RAINBOW DR                                                                                      HAUPPAUGE         NY    11788
MICHAEL KELLY                                 107 SEASIDE PLACE                                                                                  SEA GIRT          NJ    08750
MICHAEL KEMP HOOS                             1515 CARRIAGE HILL DR                                                                              WESTMINSTER       MD    21157‐6501
MICHAEL KENT                                  3758 LOKAI PL                                                                                      SARASOTA          FL    34232
MICHAEL KENT HANDLERY                         950 RAINTREE PLACE                                                                                 LAFAYETTE         CA    94549‐4816
MICHAEL KENT HUFFMAN                          1102 W TAYLOR ST                                                                                   KOKOMO            IN    46901‐4316
MICHAEL KERINS CUST CHRISTOPHER AIDAN KERINS  25‐18 87TH STREET                                                                                  JACKSON HEIGHTS   NY    11369‐1021
UGMA NY
MICHAEL KEROACK                               9310 E MONTGOMERY AVE                  APT 71                                                      SPOKANE VLY        WA   99206
MICHAEL KERRY AREHART                         5486 W 900 N                                                                                       FRANKTON           IN   46044‐9695
MICHAEL KESSELBRENNER                         10 DEVONSHIRE                                                                                      LIVINGSTON         NJ   07039‐6216
MICHAEL KESSLER                               123 FAIRBANKS                                                                                      BUFFALO            NY   14223‐2705
MICHAEL KF MUNDTH                             1608 PEBBLE BEACH DR                                                                               PONTIAC            MI   48340‐1368
MICHAEL KILUK & PAMELA S KILUK JT TEN         20600 ERBEN                                                                                        SAINT CLAIR SHORES MI   48081‐1798

MICHAEL KIRCHNER                                297 SPENCER CIR                                                                                  FOREST HILL       MD    21050
MICHAEL KIRK                                    6423 SILVER OAKS DR                                                                              ZEPHYRHILLS       FL    33542
MICHAEL KIYAK                                   94HARDING AVE                                                                                    CLARK             NJ    07066‐2539
MICHAEL KLAUS                                   GM POLAND SP Z O O                   41 DOMANIEWSKA STREET   WARSAW POLAND02   PORTUGAL
MICHAEL KLAUS GM EUROPE GMBH                    IPC A5‐02 D‐65423                    RUSSELSHEIM GERMA                         GERMANY
MICHAEL KOBERNICK                               25424 HENLEY                                                                                     HUNTINGTON        MI    48070‐1709
                                                                                                                                                 WOODS
MICHAEL KOCH CUST ALICIA BRIANNE KOCH UGMA SC   9 HICKORY HALL CT                                                                                IRMO              SC    29063‐9190

MICHAEL KONIECZNY                               1706 LENEVA LN                                                                                   PASADENA          TX    77502‐3111
MICHAEL KOPIN CUST MAX KOPIN UTMA IL            13 BEACONSFIELD CT                                                                               LINCOLNSHIRE      IL    60069‐2905
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MICHAEL KOS                                     20 BENJAMIN STREET                                                                             CLARK              NJ    07066‐1511
MICHAEL KOSTY                                   2746 CLEMENCEAU BOULEVARD             WINDSOR ON                             N8T 2P8 CANADA
MICHAEL KOUTTRON                                83 MCGAW AVE                                                                                   LAKE GROVE       NY      11755
MICHAEL KOVALSKY                                76 CLARENDON AVE                                                                               AVONDALE ESTATES GA      30002‐1403

MICHAEL KOZACZKA                                64 TAIT STREET                                                                                 LUDLOW             MA    01056‐2144
MICHAEL KOZAK                                   369 MADISON AVE                                                                                SOUTH AMBOY        NJ    08879
MICHAEL KOZLOWSKI                               99 LINDHURST                                                                                   LOCKPORT           NY    14094‐5717
MICHAEL KRAMER                                  226 POPLAR CT                                                                                  WANTAGH            NY    11793‐2779
MICHAEL KRAWCZUK                                107 BELCODA DR                                                                                 ROCHESTER          NY    14617‐2914
MICHAEL KRAWCZUK CUST ERIC M KRAWCZUK UGMA      107 BELCODA DR                                                                                 ROCHESTER          NY    14617‐2914
NY
MICHAEL KRECKOVSKY                              1009 SW 5TH AVE                                                                                BOYNTON BEACH      FL    33426‐4719
MICHAEL KROLL                                   723 W WINDER IND PKWY                                                                          WINDER             GA    30680
MICHAEL KRUEGER & PATRICIA E KRUEGER JT TEN     4119 CENTER                                                                                    LYONS              IL    60534‐1342
MICHAEL KRULICH & LAURIE KRULICH JT TEN         1146 RIVER RUN DR                                                                              MACEDONIA          OH    44056‐2380
MICHAEL KUBAS & DIANE KUBAS JT TEN              10 BRISTOL CT                                                                                  ANNANDALE          NJ    08801‐3464
MICHAEL KUC & LYNN KUC JT TEN                   3716 IVANHOE LANE                                                                              ALEXANDRIA         VA    22310‐2156
MICHAEL KUEFFER CUST ANDREW M KUEFFER UNDER     S56W23565 MAPLEWOOD TER                                                                        WAUKESHA           WI    53189‐9690
THE WI U‐T‐M‐A
MICHAEL KULPA                                   26764 MIDWAY                                                                                   DEARBORN HTS       MI    48127‐3936
MICHAEL KUNCEVICH                               2101 BELMONT AVE #M231                                                                         PHILADELPHIA       PA    19131‐1628
MICHAEL KURKOWSKI TR MICHAEL KURKOWSKI          1608 SOUTH HILL CIR                                                                            BLOOMFIELD         MI    48304‐1121
REVOCABLE TRUST UA 10/16/03
MICHAEL KUSHION                                 1858 LAKE CIR DR W                                                                             SAGINAW            MI    48609‐9452
MICHAEL KUSIAK JR                               45 CYPRESS STREET                                                                              YONKERS            NY    10704‐2605
MICHAEL KUTAS & JOAN KUTAS JT TEN               2237 THIRD ST                                                                                  EASTON             PA    18042‐6161
MICHAEL L AMERSON                               8255 WOODS EDGE                                                                                WHITE LAKE         MI    48386‐3571
MICHAEL L ANDERSON                              48609 QUAIL RUN DR S                                                                           PLYMOUTH           MI    48170‐5719
MICHAEL L ANDERSON & DIANE C ANDERSON JT TEN    4616 BAY VALLEY DR                                                                             SUTTONS BAY        MI    49682‐9137

MICHAEL L ANTON                                 7945 STANDISH ROAD                                                                             BENTLEY            MI    48613
MICHAEL L ARIES                                 17 QUINCE ST                                                                                   NATICK             MA    01760
MICHAEL L ASHBY                                 305 S MAIN ST                                                                                  PENDLETON          IN    46064‐1138
MICHAEL L BADGER                                PO BOX 2950                                                                                    POST FALLS         ID    83877‐2950
MICHAEL L BADGER & MRS SANDRA L BADGER JT TEN   PO BOX 2950                                                                                    POST FALLS         ID    83877‐2950

MICHAEL L BAECKER                               108 W ELKTON RD                                                                                SEVEN MILE         OH    45062
MICHAEL L BAIETTI                               3615 LAVELL DR                                                                                 LOS ANGELES        CA    90065‐3442
MICHAEL L BALLWEG                               39025 UNIVERSITY ST                                                                            STERLING HEIGHTS   MI    48310‐2775

MICHAEL L BANKS                                 87 SYMPHONY DR                                                                                 LAKE GROVE         NY    11755
MICHAEL L BARNARD                               PO BOX 517                                                                                     CHARLEVOIX         MI    49720‐0517
MICHAEL L BASS                                  1749 HILLMAN DR                                                                                TROY               MI    48083‐6904
MICHAEL L BASSEMER                              1305 S PARK AVE                       TRLR 61                                                  ALEXANDRIA         IN    46001‐2730
MICHAEL L BEDNAREK                              305 HARTFORD AVE                                                                               BUFFALO            NY    14223‐2314
MICHAEL L BENFORD                               1226 AMOS ST                                                                                   PONTIAC            MI    48342‐1804
MICHAEL L BLONDE                                PO BOX 91                                                                                      MAYVILLE           MI    48744‐0091
MICHAEL L BOWEN                                 1870 BEAR CREEK PIKE                                                                           COLUMBIA           TN    38401‐7654
MICHAEL L BOWLER                                820 CREEK RD                                                                                   BALTIMORE          MD    21221‐5806
MICHAEL L BRADLEY                               8446 SANDUSKY AVE                                                                              KANSAS CITY        KS    66112‐1801
MICHAEL L BRADLEY                               309 MARY STREET                                                                                FLINT              MI    48503‐1456
MICHAEL L BREZKO                                1711 SANDOVAL CT                                                                               INDIANAPOLIS       IN    46214‐2226
MICHAEL L BROWNING                              12548 TERRA BELLA STREET                                                                       PACOIMA            CA    91331‐1944
MICHAEL L BRUDER                                W 261 S 8350 FAULKNER RD                                                                       MUKWONAGO          WI    53149‐9629
MICHAEL L BUCKBEE                               535 EAST HURON ST                                                                              MILFORD            MI    48381‐2424
MICHAEL L BURKEY                                570 OLD STAGE RD                                                                               DANDRIDGE          TN    37725‐4202
MICHAEL L BUTLER                                35763 GARNER ST                                                                                ROMULUS            MI    48174‐4127
MICHAEL L CAFORA                                7432 ROCHESTER RD                                                                              LOCKPORT           NY    14094
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MICHAEL L CARLIN                                   999 CANTON DR                                                                                TOMS RIVER      NJ    08753
MICHAEL L CAROEN                                   8850 PETTYSVILLE                                                                             PINCKNEY        MI    48169‐8527
MICHAEL L CARPER                                   1599 SASSAFRAS DR                                                                            MANSFIELD       OH    44905‐2378
MICHAEL L CARROLL                                  5650 N ILLINOIS                                                                              INDIANAPOLIS    IN    46208‐1546
MICHAEL L CARTWRIGHT                               179 N MARION                                                                                 DAYTON          OH    45417‐2207
MICHAEL L CHAMBLIN                                 195 PINECONE DR                                                                              SPRINGBORO      OH    45066‐9771
MICHAEL L CHRISTY                                  850 HOWARD RD                                                                                HENDERSON       TN    38340‐7296
MICHAEL L CLARK                                    5001 HOAGLAND BLACKSTUB RD                                                                   CORTLAND        OH    44410‐9519
MICHAEL L CLARKSON                                 2420 E 38TH ST                                                                               ANDERSON        IN    46013‐2641
MICHAEL L CLEVINGER                                8365 ADAMS RD                                                                                DAYTON          OH    45424‐4031
MICHAEL L COLLINS & CHRISTINE A COLLINS JT TEN     1044 GREYSTONE MANOR                                                                         CHESTERFIELD    MO    63005‐4942

MICHAEL L CONKLIN & MRS DIANE L CONKLIN JT TEN     983 MORNINGSIDE DR                                                                           LAKE FOREST     IL    60045‐4031

MICHAEL L CORRICK & ROSALIE A CORRICK JT TEN       1460 CAMINO ROBLES COURT                                                                     SAN JOSE        CA    95120‐4407
MICHAEL L COURSEY                                  PO BOX 115                                                                                   NOVI            MI    48376‐0115
MICHAEL L COX & LINDA S COX JT TEN                 2790 POINTE COVE RD                                                                          BLOOMINGTON     IN    47401‐8301
MICHAEL L CRISS                                    7273 NORMANDY DR                                                                             PARMA           OH    44134‐5435
MICHAEL L CROZIER                                  PO BOX 246                                                                                   SHARPSVILLE     IN    46068‐0246
MICHAEL L CULP                                     16540 CENTERVILLE CONSTANTI RD                                                               CONSTANTINE     MI    49042‐9760
MICHAEL L DAVIDSON                                 670 NORTHRIDGE RD                                                                            COLUMBIA        TN    38401‐5565
MICHAEL L DAVIS                                    9200 WARNER RD                                                                               HASLETT         MI    48840‐9236
MICHAEL L DAVIS                                    1401 DODSON COURT                                                                            FRANKLIN        TN    37064‐9617
MICHAEL L DAVIS                                    PO BOX 4447                                                                                  DETROIT         MI    48204‐0447
MICHAEL L DAVIS                                    2136 GLEN ELLYN PL                                                                           OKLAHOMA CITY   OK    73111‐2124
MICHAEL L DAY                                      316 W 9TH ST                                                                                 ANDERSON        IN    46016‐1316
MICHAEL L DAYS                                     1451 ALTON DARBY CREEK RD                                                                    COLUMBUS        OH    43228‐9654
MICHAEL L DEATON                                   10420 TULLIS AVE                                                                             KANSAS CITY     MO    64134‐2045
MICHAEL L DIETZ                                    910 LEIGHSFORD LN APT 4105                                                                   ARLINGTON       TX    76006‐3803
MICHAEL L DINGLER                                  #I29                                6851 ROSWELL RD                                          ATLANTA         GA    30328‐2428
MICHAEL L DINSMORE                                 5832 CLIFFSIDE DRIVE                                                                         TROY            MI    48098‐3865
MICHAEL L DORWEILER                                560 SE 1291ST RD                                                                             CLINTON         MO    64735‐9300
MICHAEL L DOWDEN EXECUTOR U‐W VIRGIL W             3153 E STATE RD 28                                                                           FRANKFORT       IN    46041‐9469
DOWDEN
MICHAEL L DOWLAN                                   6114 ADAMSON DRIVE                                                                           WATERFORD        MI   48329‐3001
MICHAEL L DUNN                                     35 MILL ST                                                                                   OXFORD           MI   48371‐4959
MICHAEL L EDDS                                     1247 TULBERRY CIR                                                                            ROCHESTER        MI   48306‐4820
MICHAEL L EDWARDS                                  7437 PENSACOLA                                                                               FT WORTH         TX   76116‐7834
MICHAEL L ENGEL                                    5405 S PERCH DRIVE                                                                           FLORAL CITY      FL   34436‐2234
MICHAEL L EVENS                                    109 W LANSING ST                                                                             GAINES           MI   48436
MICHAEL L FEIST                                    7300 FAIT AVE                                                                                BALTIMORE        MD   21224‐3129
MICHAEL L FLANNERY                                 34589 SUMMERS                                                                                LIVONIA          MI   48154‐5327
MICHAEL L FOLEY                                    480 SHATTUCK ROAD                                                                            SAGINAW          MI   48604‐2380
MICHAEL L FONTENETTE                               11652 BROMONT AVE                                                                            PACOIMA          CA   91331‐1312
MICHAEL L FORD                                     4 WESTBRIDGE CT                                                                              SAGINAW          MI   48601‐7228
MICHAEL L FOSTER                                   29305 BRADMOOR CT                                                                            FARMINGTON HILLS MI   48334‐3270

MICHAEL L FRANKLAND CUST STEVEN M FRANKLAND        330 S THIRD ST                                                                               CASHOCTON       OH    43812‐2003
UTMA OH
MICHAEL L FRANKLIN                                 3613 KENT ST                                                                                 FLINT           MI    48502
MICHAEL L FRIEDMAN                                 1777 SETON RD                                                                                NORTHBROOK      IL    60062‐1344
MICHAEL L FULARA                                   5 EVERGREEN TRL                                                                              OLD LYME        CT    06371‐1471
MICHAEL L FULLER & CONNIE J FULLER JT TEN          RR 1                                WINDY RIDGE ROAD                                         LISBON          IA    52253‐9801
MICHAEL L GARCEAU                                  36 GRANT ST                         #2                                                       MARLBOROUGH     MA    01752‐2037
MICHAEL L GARDNER                                  1986 RED RUN DR                                                                              DORR            MI    49323‐9444
MICHAEL L GIBAS                                    1212 MORNINGSTAR DRIVE                                                                       ESSEXVILLE      MI    48732‐1500
MICHAEL L GIBBONS                                  12026 BOLDREY DR                                                                             FENTON          MI    48430‐9653
MICHAEL L GILBERT                                  4271 SPRINGBROOK DR                                                                          SWARTZ CREEK    MI    48473‐1706
MICHAEL L GOODIN                                   12 LOCUST HILLS CT                                                                           O'FALLON        MO    63366‐5570
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Name                                                 Address1                             Address2             Address3          Address4          City               State Zip

MICHAEL L GOOLEY                                     9162 CHESTERFIELD                                                                             SWARTZ CREEK       MI    48473‐1122
MICHAEL L GORMAN                                     1506 MASONETTA WAY                                                                            ANNAPOLIS          MD    21409
MICHAEL L GRACE                                      2279 MARSTON DR                                                                               WATERFORD          MI    48327‐1143
MICHAEL L GRELLMAN                                   283 JASMINE WAY                                                                               DANVILLE           CA    94506‐4750
MICHAEL L GREZLIK                                    1050 ELMSMERE DR                                                                              NORTHVILLE         MI    48167‐1065
MICHAEL L GRIEVE                                     576 S REDWOOD                                                                                 YPSILANTI          MI    48198‐6109
MICHAEL L GROSE                                      2393 SANDLEWOOD DRIVE                                                                         GASTONIA           NC    28054‐2739
MICHAEL L GUNDERSON                                  16 LAUREL LN                                                                                  BEDFORD            IN    47421‐9120
MICHAEL L GUNDERSON CUST JESSICA A GUNDERSON         16 LAUREL LN                                                                                  BEDFORD            IN    47421‐9120

MICHAEL L GUNDERSON CUST ROBERT D GUNDERSON          16 LAUREL LANE                                                                                BEDFORD            IN    47421‐9120
UTMA IN
MICHAEL L HACKER                                     505 ALVINA LN                                                                                 CINCINNATI         OH    45255‐3301
MICHAEL L HALL                                       2020 WILLOW BAY DR                                                                            DEFIANCE           OH    43512‐3714
MICHAEL L HALYKO                                     19715 KENSINGTON DR                                                                           MOKENA K           IL    60448‐2410
MICHAEL L HAMRICK                                    PO BOX 683                                                                                    OAK GROVE          MO    64075‐0683
MICHAEL L HARDIN                                     8600 LAWRENCE RD                                                                              NASHVILLE          MI    49073‐9703
MICHAEL L HARDY                                      3900 SOCIETY CENTER                  127 PUBLIC SQUARE                                        CLEVELAND          OH    44114‐1216
MICHAEL L HARDY                                      11700 SHELL BARK LN                                                                           GRAND BLANC        MI    48439‐1391
MICHAEL L HARPER                                     5500 E FM 4                                                                                   GRANDVIEW          TX    76050‐3011
MICHAEL L HAVER                                      49 TURRILL RD                                                                                 LAPEER             MI    48446‐3708
MICHAEL L HAYDEN                                     166 S MAPLE LEAF RD                                                                           LAPEER             MI    48446‐3512
MICHAEL L HEAVRIN                                    1444 CHAPMAN DR                                                                               AKRON              OH    44305‐1319
MICHAEL L HERNANDEZ                                  1058 CHAMPAIGN                                                                                LINCOLN PARK       MI    48146‐2906
MICHAEL L HILL                                       16598 BENTLER                                                                                 DETROIT            MI    48219‐3864
MICHAEL L HILL                                       9157 S YOUNG RD                                                                               FALMOUTH           MI    49632
MICHAEL L HINTZ                                      136 E VIENNA RD                                                                               CLIO               MI    48420‐1421
MICHAEL L HOBBS                                      14018 N SR 13                                                                                 ELWOOD             IN    46036‐9125
MICHAEL L HOGAN                                      8641 W BANCROFT                                                                               TOLEDO             OH    43617‐1907
MICHAEL L HOKE                                       65 LONG HILL DRIVE                                                                            LEOMINSTER         MA    01453‐6236
MICHAEL L HOOKS                                      944 CEDAR ST                         #2                                                       FLINT              MI    48503‐3620
MICHAEL L HUNT                                       3290 LEXINGTON                                                                                WATERFORD          MI    48328‐1623
MICHAEL L INSCHO                                     6077 N BEUTHIEM RD                                                                            MERRITT            MI    49667‐9753
MICHAEL L JACK                                       2388 N 500 W                                                                                  ANGOLA             IN    46703‐9793
MICHAEL L JARVIS                                     82‐61 233RD ST                                                                                BELLEROSE          NY    11427‐2113
MICHAEL L JESSIE                                     16801 N 150 E                                                                                 SUMMITVILLE        IN    46070‐9117
MICHAEL L JOHNSON                                    4290 BROOKHILL LN #307                                                                        DAYTON             OH    45405‐1128
MICHAEL L JOHNSON                                    2917 FOREST WOOD                                                                              BRYAN              TX    77801‐1702
MICHAEL L JOHNSON SR                                 16848 E 2750 NORTH RD                                                                         DANVILLE           IL    61834‐6047
MICHAEL L JONES                                      2210 LAUREL NICHOLSVILLE RD                                                                   NEW RICHMOND       OH    45157‐9521
MICHAEL L JONES                                      609 TYSON AVE                                                                                 DAYTON             OH    45427‐3041
MICHAEL L K BENSON                                   1184 GREAT RIDGE PKWY                                                                         CHAPEL HILL        NC    27516‐4097
MICHAEL L KADY & JOAN I KADY TR MICHAEL L & JOAN I   22643 MAXINE                                                                                  ST CLAIR SHORES    MI    48080‐2412
KADY TRUST 7/21/99
MICHAEL L KELLY                                      1830 NORTH RUMSEY ROAD                                                                        OSSEO              MI    49266‐9063
MICHAEL L KENNEDY                                    4507 MEADOW LN                                                                                GRAIN VALLEY       MO    64029‐8252
MICHAEL L KING                                       2025 LAKEPOINTE DR                   APT 9B                                                   LEWISVILLE         TX    75057
MICHAEL L KISSELL & JUANITA G KISSELL JT TEN         7823 SHIVELY RD                                                                               HUNTINGDON         PA    16652
MICHAEL L KLEMER                                     5804 NW 83RD TERRACE                                                                          TAMARAC            FL    33321‐4540
MICHAEL L KLETTE                                     14199 S BLIVEN RD                                                                             BYRON              MI    48418‐9716
MICHAEL L KOLTZ CUST PETER L KOLTZ UTMA OH           220 LANE 201 A LAKE GEORGE                                                                    FREMONT            IN    46737
MICHAEL L KOONCE                                     1039 LAFAYETTE PLACE                                                                          LAKE SAINT LOUIS   MO    63367
MICHAEL L KRAMER                                     426 BELMONT AVE                                                                               NILES              OH    44446‐3016
MICHAEL L LAIMAN                                     16203 MAGNOLIA WAY                                                                            FONTANA            CA    92336‐5692
MICHAEL L LASITER                                    2516 DELMAR AVENUE                                                                            GRANIT CITY        IL    62040‐3428
MICHAEL L LEACH                                      12552 FIELDSTONE LN #94                                                                       GARDEN GROVE       CA    92845‐2967
MICHAEL L LEPINSKE                                   1603 KENNETH CIRCLE                                                                           ELGEN              IL    60120‐5142
MICHAEL L LEPINSKE & JOYCE LEPINSKE JT TEN           1603 KENNETH CIRCLE                                                                           ELGIN              IL    60120‐5142
MICHAEL L LONG                                       80 SAINT ANDREW LN                                                                            GREENUP            KY    41144‐8990
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MICHAEL L LUNGARO                                 6487 CAMBRIDGE                                                                                 DEARBORN HEIGHTS MI     48127‐1801

MICHAEL L LUSKIN CUST SARAH RUTH LUSKIN UGMA NY 16 OGDEN RD                                                                                      SCARSDALE         NY    10583‐2926

MICHAEL L LYKINS                                  2389 AMBERWOOD CIRCLE NE                                                                       MASSILLON         OH    44646‐4888
MICHAEL L MACLEAN                                 452 SANDRETTO DR                                                                               SEBASTOPOL        CA    95472
MICHAEL L MADDOX                                  10408 SPRAGGIN'S CT                                                                            MANASSAS          VA    20110‐6621
MICHAEL L MADIA TR UA 01/07/92 THE MICHAEL L      101 BRIXHAM PL                                                                                 SCHAUMBURG        IL    60194‐4003
MADIA TRUST
MICHAEL L MALONE                                  623 N DEXTER DR                                                                                LANSING           MI    48910‐3472
MICHAEL L MAMULA JR                               6145 KIMMEL ROAD                                                                               CLAYTON           OH    45315‐8922
MICHAEL L MATHEWS                                 4932 LIVINGSTON RD                                                                             ROSCOMMON         MI    48653‐9754
MICHAEL L MATWEYCHEK                              7711 RANDY                                                                                     WESTLAND          MI    48185‐5567
MICHAEL L MC CANN                                 36 KNAPP AVE                                                                                   MIDDLETOWN        NY    10940‐5637
MICHAEL L MC CLELLAN                              315 BLACKWOOD AVE                                                                              DAYTON            OH    45403‐1603
MICHAEL L MC COLGAN                               2253 DEER OAK WAY                                                                              DANVILLE          CA    94506‐2018
MICHAEL L MC COY                                  13523 LIBERTY CHURCH ST SE                                                                     MINERVA           OH    44657‐8974
MICHAEL L MC DONALD                               39899 MEMORY LANE                                                                              MT CLEMENS        MI    48045‐1763
MICHAEL L MC DONALD & MARY MC DONALD JT TEN       39899 MEMORY LANE                                                                              HARRISON TWP      MI    48045‐1763

MICHAEL L MC GRATH                                16 CHOATE RD                                                                                   PARK FOREST       IL    60466‐1851
MICHAEL L MC KINNEY                               899 MIDDLE FORK TRL                                                                            SUWANEE           GA    30024‐7597
MICHAEL L MCARTHUR                                6136 ELAINE                                                                                    SPEEDWAY          IN    46224‐3035
MICHAEL L MERZACCO                                3170 EMERALD LANE                                                                              LANTANA           FL    33462‐3728
MICHAEL L MILLER                                  PO BOX 232                                                                                     KNIGHTSTOWN       IN    46148‐0232
MICHAEL L MILLER                                  GENERAL DELIVERY                                                                               SNOWMASS VLG      CO    81615‐9999
MICHAEL L MOISAN CUST NICOLE M MOISAN UGMA MI     40340 LADENE LANE                                                                              NOVI              MI    48375‐5326

MICHAEL L MOORE                                   6810 TURNBERRY ISLE COURT                                                                      BRADENTON         FL    34202‐2563
MICHAEL L MOSLEY & DANIEL L MOSLEY JT TEN         11 PHEASANT LN                                                                                 GREENWICH         CT    06830‐3811
MICHAEL L MYERS                                   4802 ANGELINA                                                                                  WICHITA FALLS     TX    76308‐4527
MICHAEL L NAU                                     3489 ROLSTON RD                                                                                LINDEN            MI    48451‐9442
MICHAEL L NEELEY                                  8703 VICBARB LANE                                                                              CINCINNATI        OH    45244‐4322
MICHAEL L NEFF                                    4018 BURCHFIELD DR                                                                             LANSING           MI    48910‐4492
MICHAEL L NELSON & KERI NELSON JT TEN             1202 WALKER DR                                                                                 FREDERICKSBURG    VA    22401‐2622
MICHAEL L NELSON & KERI NELSON JT TEN             1202 WALKER DRIVE                                                                              FREDERICKSBURG    VA    22401‐2622
MICHAEL L NELSON & KERI NELSON JT TEN             1202 WALKER DR                                                                                 FREDERICKSBRG     VA    22401‐2622
MICHAEL L NGIM                                    25 GLADALE DRIVE                                                                               WESTERVILLE       OH    43081‐2450
MICHAEL L NGIM & SYLVIA G NGIM JT TEN             25 GLADALE DRIVE                                                                               WESTERVILLE       OH    43081‐2450
MICHAEL L NICHOLS & DORIS JEAN NICHOLS JT TEN     35372 PEARLA PLACE                                                                             WILDOMAR          CA    92595

MICHAEL L NOLL                                    53 GOSHEN LANE                                                                                 MARTINSBURG       WV    25401‐1327
MICHAEL L NORD                                    9559 BARKLEY RD                                                                                MILLINGTON        MI    48746‐9761
MICHAEL L O'BRIEN                                 5001 MAYFIELD RD                      STE 105                                                  CLEVELAND         OH    44124‐2608
MICHAEL L OBRIEN                                  2399 N IRWIN ST                                                                                INDIANAPOLIS      IN    46219‐2224
MICHAEL L OLIVER                                  1315 SMITH ROAD                                                                                XENIA             OH    45385‐9730
MICHAEL L OWENS                                   2202 WINDEMERE ST                                                                              FLINT             MI    48503‐2258
MICHAEL L OWENS & MRS SUZANNE OWENS JT TEN        2202 WINDEMERE                                                                                 FLINT             MI    48503‐2258

MICHAEL L PARKER                                  615 BENHAM ST                                                                                  DAYTON            KY    41074‐1343
MICHAEL L PASQUALONE JR                           1401 CHESAPEAKE AVE                                                                            BALTIMORE         MD    21220‐4319
MICHAEL L POST                                    620 WHITE PINE BLVD                                                                            LANSING           MI    48917‐8822
MICHAEL L POTTER                                  5 RUSSELL DRIVE                                                                                SHELBY            OH    44875‐1741
MICHAEL L POWELL                                  2544 TERI LYN CT                                                                               LAPEER            MI    48446‐8321
MICHAEL L PROCTOR CUST JASON J PROCTOR UTMA MI    5241 GREENBRIAR CT                                                                             WEST BLOOMFIELD   MI    48323‐2322

MICHAEL L PUFAHL                                  POST OFFICE BOX NO 7                                                                           ROYAL CENTER      IN    46978
MICHAEL L RAU                                     28913 ST RT 281                                                                                DEFIANCE          OH    43512‐8965
MICHAEL L RAWAILLOT                               8 YELLOWSTAR COURT                                                                             WOODRIDGE         IL    60517‐1702
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Name                                             Address1                                Address2             Address3          Address4          City               State Zip

MICHAEL L REED                                   8109 NW 89TH                                                                                     OKLAHOMA CITY      OK    73132‐3250
MICHAEL L REID                                   370 JENNINGS RD                                                                                  SEVERNA PARK       MD    21146
MICHAEL L RESCH                                  7193 CHILI RIGA CTR RD                                                                           CHURCHVILLE        NY    14428‐9511
MICHAEL L RICHARDSON & JANINE A LEROY JT TEN     4702 BLADWIN ST                                                                                  RAPID CITY         SD    57702‐1932

MICHAEL L RIDGE                                  15743 TURNER RD                                                                                  LANSING            MI    48906‐1139
MICHAEL L RIECHERS                               11 BARBARA AVE                                                                                   HAMILTON           OH    45013‐3927
MICHAEL L ROACH                                  4104 COLDWATER DR                                                                                ROCKLIN            CA    95765‐5614
MICHAEL L ROLLINS                                923 JACKSON AVE                                                                                  DEFIANCE           OH    43512‐2720
MICHAEL L ROSE                                   2332 NANCE FORD RD                                                                               HARTSELLE          AL    35640‐7324
MICHAEL L ROSS                                   9639 SOUTH NORMANDY                                                                              OAK LAWN           IL    60453‐2130
MICHAEL L ROTH                                   PO BOX 22                                                                                        ZANESVILLE         IN    46799
MICHAEL L RULONG                                 3219 N 52ND ST                                                                                   KANSAS CITY        KS    66104‐1624
MICHAEL L RUMLEY                                 6 KENTWOOD DR                                                                                    GREENCASTLE        IN    46135‐2400
MICHAEL L SANDERS                                5857 CARDINAL CT                                                                                 PITTSBORO          IN    46167‐9315
MICHAEL L SCHARNWEBER                            605 SHADY LN                                                                                     EAST CHINA         MI    48054‐4186
MICHAEL L SCHELTZ                                150 KIMBARK RD                                                                                   ROCHESTER          NY    14610‐2739
MICHAEL L SCOTT                                  5940 64TH AVE                                                                                    HUDSONVILLE        MI    49426‐9515
MICHAEL L SCOTT                                  9434 MIGNONETTE                                                                                  ALTA LOMA          CA    91701‐4906
MICHAEL L SEVERT                                 4840 W ST RT 571                                                                                 WEST MILTON        OH    45383‐9781
MICHAEL L SHASHLO                                17464 WILLIAMSBURG CT                                                                            NORTHVILLE         MI    48168‐8542
MICHAEL L SHAVER                                 12405 CLARK ST                                                                                   CROWN POINT        IN    46307‐8737
MICHAEL L SHELBY                                 5526 AVENIDA CUESTA NE                                                                           ALBUQUERQUE        NM    87111‐6721
MICHAEL L SHOEMAKER                              1711 N BLUE BELL BND                                                                             WATSEKA            IL    60970‐7509
MICHAEL L SHUSTOCK                               11141 FARRAND RD                                                                                 MOUNTROSE          MI    48457‐9769
MICHAEL L SINGLETON                              84 LESTER AVE                           APT1125                                                  NASHVILLE          TN    37210
MICHAEL L SINIARD                                163 BEE GEE MCREE LNDG                                                                           GOODSPRING         TN    38460‐5299
MICHAEL L SKEBO                                  8511 BROCK ROAD                                                                                  SPOTSYLVANIA       VA    22553‐3701
MICHAEL L SMITH                                  26 FLINTLOCK DRIVE                                                                               LONG VALLEY        NJ    07853‐3022
MICHAEL L SPEER                                  525 MEADOW GLEN AVE                                                                              BROOKVILLE         OH    45309‐1367
MICHAEL L SPRADLING SR                           1502 SAGEWOOD CIR                                                                                ST MT              GA    30083‐1206
MICHAEL L SPRUILL & RICKI V SILVERIA JT TEN      2435 WAGNER CREEK COURT                                                                          MOUNT PLEASENT     SC    29466‐8050

MICHAEL L STERNBERG TR MICHAEL L STERNBERG LIV   30475 BIRCHWAY DR                                                                                FRANKLIN           MI    48025‐1503
TRUST UA 07/23/02
MICHAEL L STURGIS                                1058 CATO LANE APT A2                                                                            STURGIS            MI    49091‐2511
MICHAEL L SWAFFORD                               8643 WHISPERING PINES DR                                                                         SAINT JAMES CITY   FL    33956‐3010
MICHAEL L TANNER                                 11900 W HOLT RD                                                                                  DIMONDALE          MI    48821‐9619
MICHAEL L TAYLOR                                 306 N MAIN ST                                                                                    NEW CARLISLE       OH    45344‐1839
MICHAEL L THOMPSON                               3128 VESUVIUS LANE                                                                               SAN JOSE           CA    95132‐2355
MICHAEL L THOMSON                                6003F MONTEVIDEO DRIVE                                                                           LANSING            MI    48917‐3952
MICHAEL L THORNTON                               353 FREEMANTLE CT                                                                                SALINE             MI    48176‐9155
MICHAEL L TIMMONS                                301 AVERY ST                                                                                     ROCHESTER          NY    14606‐2635
MICHAEL L TOWNES CUST ANDREW M TOWNES UGMA       12 INVERNESS ST E                                                                                AIKEN              SC    29803‐5946
SC
MICHAEL L TOWNES CUST JEANNE MARIE TOWNES        12 INVERNESS EAST                                                                                AIKEN              SC    29803‐5946
UGMA SC
MICHAEL L TOWNSEND                               3317 RENAULT                                                                                     FLINT              MI    48507‐3363
MICHAEL L TRACY & SANDRA L TRACY JT TEN          845 EAGLE PKWY                                                                                   BROWNSBURG         IN    46112
MICHAEL L TRACY JR                               14237 GENTRY DR                                                                                  FISHERS            IN    46038‐7122
MICHAEL L TRUMBLE                                157 N IONIA RD                                                                                   VERMONTVILLE       MI    49096‐9522
MICHAEL L TUMEN DPM                              4333 MERRICK RD                                                                                  MASSAPEQUA         NY    11758‐6001
MICHAEL L TUPPER CUST ELIJAH SAMUEL JUDOVSKY     2709 PLEASANT AVENUE SO                                                                          MINNEAPOLIS        MN    55408‐1458
UTMA MN
MICHAEL L TURNER                                 5820 HILLSBORO                                                                                   DAVISBURG          MI    48350‐3619
MICHAEL L TURNER                                 1460 SILOAM ROAD                                                                                 CHAMBERBURG        PA    17201‐7823
MICHAEL L VESCO                                  4002 CHIEFTAN RD                                                                                 IRWIN              PA    15642‐8022
MICHAEL L WAGNER                                 20 HIDDEN VALLEY DR                     APT 24                                                   HIGHLAND HGTS      KY    41076‐1549
MICHAEL L WAHL                                   2125 GOLF ISLE #1414                                                                             MELBOURNE          FL    32935‐3542
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Name                                           Address1                              Address2             Address3          Address4          City               State Zip

MICHAEL L WALDROP                              1728 SANDPIPER CT                                                                              HURON            OH      44839‐9134
MICHAEL L WARD                                 6954 BEAHAN RD                                                                                 MUIR             MI      48860‐9621
MICHAEL L WARGO                                37660 MILANN DR                                                                                WILLOUGHBY HILLS OH      44094‐8715

MICHAEL L WEBSTER                             13463 HIDE AWAY LN                                                                              DEWITT             MI    48820‐9172
MICHAEL L WEKENMAN                            1947 N CANAL RD                                                                                 EATON RAPIDS       MI    48827‐9329
MICHAEL L WHEELER                             3825W 300N                                                                                      PERU               IN    46970‐7508
MICHAEL L WILLIAMS                            1551 PARKE ST                                                                                   ROCHESTER HLS      MI    48307‐3634
MICHAEL L WITWER                              934 N WESTEDGE DR                                                                               TIPP CITY          OH    45371‐1528
MICHAEL L WOOD                                5330 SARA LN                           APT 12                                                   WATERFORD          MI    48327‐3170
MICHAEL L WOOD                                17380 29 MILE RD                                                                                RAY                MI    48096‐2307
MICHAEL L WRIGHT                              2636 TRAYMORE ROAD                                                                              RICHMOND           VA    23235‐2762
MICHAEL L WYNN                                4341 LAKE FOREST DR E                                                                           ANN ARBOR          MI    48108‐9682
MICHAEL L YOST                                1305 CENTRAL AVE                                                                                SANDUSKY           OH    44870‐3241
MICHAEL L YOUNG                               5647 N PLYMOUTH CT                                                                              MC CORDSVILLE      IN    46055‐9469
MICHAEL L ZALACK                              5270 MCCANDLISH RD                                                                              GRAND BLANC        MI    48439‐1944
MICHAEL L ZEGER                               9041 CO RD 46                                                                                   GALION             OH    44833‐9664
MICHAEL LABA                                  8467 WILSON RD                                                                                  OTISVILLE          MI    48463‐9479
MICHAEL LABELLE & GRETCHEN LABELE JT TEN      7355 DORSET AVE                                                                                 ST LOUIS           MO    63130‐2205
MICHAEL LAFOLLETTE                            4895 TANNER RD                                                                                  HODGENVILLE        KY    42748
MICHAEL LAMAR YOUNG                           130 DEEP FOREST LANE                                                                            FAYETTEVILLE       GA    30215‐1813
MICHAEL LANAHAN                               BOX 1679                                                                                        JACKSONVILLE       FL    32201‐1679
MICHAEL LANCE SHERMAN                         634 MARGARITA AVENUE                                                                            CORONADO           CA    92118‐2321
MICHAEL LAND CUST KYLE J LAND UTMA PA         2 STRINGER DR                                                                                   DOYLESTOWN         PA    18901‐3261
MICHAEL LAND CUST MICHAEL THOMAS LAND UTMA PA 2 STRINGER DR                                                                                   DOYLESTOWN         PA    18901‐3261

MICHAEL LANDES LUYBEN                          8 CEPP RD                                                                                      PERKIOMENVILLE     PA    18074‐9758
MICHAEL LANDT & BARBARA LANDT JT TEN           1205 PORTILLO CT                                                                               DELTONA            FL    32725
MICHAEL LANE ANDERSON                          R R 3 BOX 123                                                                                  MAPLETON           MN    56065‐9342
MICHAEL LANE CUST JAMES A LANE UGMA VA         7395 BURNETT FIELD DRIVE                                                                       MECHANICSVILLE     VA    23111‐4925
MICHAEL LANGONE                                170 HARTFORD TER                                                                               SPRINGFIELD        MA    01118‐1538
MICHAEL LANSING DUNN                           645 S MILEDGE                                                                                  ATHENS             GA    30605‐1250
MICHAEL LAPONE                                 27 W LINCOLN STREET                                                                            VERONA             NJ    07044‐1511
MICHAEL LARA                                   2197 W LITTLE SANDY DR                                                                         MERCED             CA    95348‐3634
MICHAEL LAVECCHIA                              5 CHATHAM SQ                                                                                   PARLIN             NJ    08859‐2318
MICHAEL LAWRENCE SMITH                         5782 MEADOWVIEW DR                                                                             MILFORD            OH    45150
MICHAEL LAWRENCE TOREK                         21800 KENWOOD AVE                                                                              ROCKY RIVER        OH    44116‐1238
MICHAEL LAZAR CUST MAX BRANDON LAZAR UTMA FL   6349 NW 38 DR                                                                                  CORAL SPRINGS      FL    33067‐3208

MICHAEL LEE                                     502 ENNISMORE PLACE                  WATERLOO ON                            N2T 2G3 CANADA
MICHAEL LEE BENNETT                             912 PATHVIEW CT                                                                               DACULA             GA    30019‐6841
MICHAEL LEE BOGER                               2414 CARTER AVE                                                                               NASHVILLE          TN    37206
MICHAEL LEE BOKOVOY & MRS PATRICIA ANN BOKOVOY 3616 W ST JOSEPH STREET                                                                        LANSING            MI    48917‐3621
JT TEN
MICHAEL LEE KOEPFER                             1675 1/2 WESTERN AVE                                                                          TOLEDO             OH    43609‐2066
MICHAEL LEE MARSHALL                            26751 S HWY 109                                                                               NEW LONDON         NC    28127
MICHAEL LEE MOORE & LORI ANN MOORE JT TEN       7597 FRED W MOORE HWY                                                                         CASCO              MI    48064‐1508
MICHAEL LEE SACK                                6355 ACORN WAY                                                                                LINDEN             MI    48451‐8678
MICHAEL LEE SCHMIDT & ERIN RENEE SCHMIDT JT TEN 1020 GLENN STREET                                                                             WAUKESHA           WI    53188

MICHAEL LEE SCHWARTZ                           551 CLAVEY LN                                                                                  HIGHLAND PARK      IL    60035‐4532
MICHAEL LENOSKY                                37853 LOLA DR                                                                                  STERLING HEIGHTS   MI    48312‐2049

MICHAEL LENOSKY & CYNTHIA A LENOSKY JT TEN     37853 LOLA DR                                                                                  STERLING HEIGHTS   MI    48312‐2049

MICHAEL LENZ & MICHELE LENZ JT TEN             1627 HAYDEN AVENUE                                                                             ALTOONA            WI    54720‐1616
MICHAEL LEO CARR                               38310 WESTMINSTER LN                                                                           WILLOUGHBY         OH    44094‐7566
MICHAEL LEO JEWITT                             67 LIDDELL CRESCENT                   KINGSTON ON                            K7M 2T5 CANADA
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MICHAEL LEON SZLACHTA                             37051 EVERGREEN                                                                                 STERLING HEIGHTS   MI    48310‐3917

MICHAEL LESLIE                                    2782 WABASH CIRCLE                                                                              SPARKS             NV    89434
MICHAEL LEVEY                                     2001 HAMILTON ST APT 1514                                                                       PHILADELPHIA       PA    19130
MICHAEL LEWANDOWSKI                               3501 REFUGE TRAIL                                                                               THOMPSON           TN    37179‐5240
                                                                                                                                                  STATION
MICHAEL LEWIS                                     1152 W DODGE RD                                                                                 CLIO               MI    48420‐1655
MICHAEL LIND                                      219 ULLMAN RD                                                                                   PASADENA           MD    21122‐4146
MICHAEL LINNANE                                   2928 STURGES HWY                                                                                WESTPORT           CT    06880
MICHAEL LITKENHOUS                                652 W RYAN RD                                                                                   BLOOMINGTON        IN    47403‐4364
MICHAEL LLOYD NELSON                              904 16TH ST                                                                                     AURORA             NE    68818‐2432
MICHAEL LOGAN                                     APT D‐12                               2555 OLD TREVOSE ROAD                                    TREVOSE            PA    19053‐6852
MICHAEL LOMBARDO                                  235 COASTAL HILL DR                                                                             INDIAN HARBOUR     FL    32937‐2759
                                                                                                                                                  BCH
MICHAEL LOPEZ                                     6676 BEACHVIEW DR                                                                               HUNTINGTON         CA    92648
                                                                                                                                                  BEACH
MICHAEL LOPKOVITZ & MISS ANN MARIE LOPKOVITZ JT   123 HENRY ST #17                                                                                NEW YORK           NY    10002‐7133
TEN
MICHAEL LOUIS EHRLICH                             10088 DANIELS RUN WAY                                                                           FAIRFAX            VA    22030‐2448
MICHAEL LOUIS LENKIN                              8204 WAHLEY DR                                                                                  BETHESDA           MD    20817‐3166
MICHAEL LOWERY NICHOLS & DORIS JEAN NICHOLS &     PO BOX 828                                                                                      FILLMORE           CA    93015‐1661
ADA DALE NICHOLS JT TEN
MICHAEL LOWREY                                    137 CONRAD ROAD                                                                                 MARLBORO           MA    01752‐1956
MICHAEL LUCKIN                                    5527 N PLEASANT                                                                                 FRESNO             CA    93711
MICHAEL LUKACS                                    13538 UNION VILLAGE CIRCLE                                                                      CLIFTON            VA    20124
MICHAEL LUKE                                      25090 CORAL GABLES                                                                              SOUTHFIELD         MI    48034‐2403
MICHAEL LUKE GODWIN                               3825 ORCHAND RD                                                                                 CHERAW             SC    29520
MICHAEL LUPIWOK & NADIA LUPIWOK JT TEN            94 RAYPAULA DR                                                                                  SHREWSBURY         PA    17361‐1408
MICHAEL LUPTAK & JOANN LUPTAK JT TEN              6400 GILBERT                                                                                    LA GRANGE          IL    60525‐4467
                                                                                                                                                  HIGHLAND
MICHAEL LUTZ                                      13213 PLEASANT DR                                                                               UNION              MI    49130‐9720
MICHAEL LYNCH                                     1724 SAULTER RD                                                                                 HOMEWOOD           AL    35209‐5518
MICHAEL LYNOTT                                    4303 ROBIN LN                                                                                   HAMBURG            NY    14075‐1214
MICHAEL M ALBANESE                                4 WOODWARD AVE                                                                                  GLOVERSVILLE       NY    12078‐4138
MICHAEL M BAFAN                                   33 OLD MISSION RD                                                                               ALISO VIEJO        CA    92656‐1623
MICHAEL M BAHN CUST MICHAEL JAMES BAHN UGMA       118 SAINT ALBANS RD                                                                             KENSINGTON         CA    94708‐1035
MI
MICHAEL M BONGIOVANNI                             5104 MIDDLEBROOK CT                                                                             SANTA ROSA         CA    95404‐1959
MICHAEL M CABONARGI                               835 VIRGINIA ROAD                                                                               HIGHLAND PARK      IL    60035‐3842
MICHAEL M CARUSO III                              6585 E US 136TH ROAD                                                                            BROWNSBURG         IN    46112‐9401
MICHAEL M CHAITMAN                                110 WESTBURY E                                                                                  DEERFIELD BEACH    FL    33442‐3214
MICHAEL M CHERWONOGRODZKY                         3 HOBSON AVE                           WELLAND ON                             L3B 1G4 CANADA
MICHAEL M CHOPP                                   3322 PARK AVE                                                                                   BROOKFIELD         IL    60513‐1326
MICHAEL M DANCO                                   2 BAKER RD                                                                                      PITTSTOWN          NJ    08867‐4030
MICHAEL M DAVIDSON                                9813 MC CLEMENTS                                                                                BRIGHTON           MI    48114‐8776
MICHAEL M DUNCAN                                  7279 RAY RD                                                                                     SWARTZ CREEK       MI    48473‐9123
MICHAEL M ELEY TR UW EST WILLIAM S ELEY           149 PAYNE RD                                                                                    MONTGOMERY         AL    36116‐6602
MICHAEL M FACENDO                                 38 BARKALOW STREET                                                                              SOUTH AMBOY        NJ    08879‐1331
MICHAEL M FOSTER                                  1196 AVENIDA LEON                                                                               RIO RICO           AZ    85648‐3227
MICHAEL M FREDERICK                               424 SOUTH ST                                                                                    BLISSFIELD         MI    49228‐1038
MICHAEL M GILTROP                                 16963 2ND SAND BEACH RD                                                                         LANSE              MI    49946‐8340
MICHAEL M GONZALEZ                                1020 HICKORY RIDGE CIR                                                                          MILFORD            MI    48380‐3430
MICHAEL M JACKSON                                 1398 FRANK DRIVE                                                                                WOOSTER            OH    44691‐4657
MICHAEL M KEROACK                                 9310 E MONTGOMERY AVE                  APT 71                                                   SPOKANE VLY        WA    99206
MICHAEL M KNAACK                                  1296 ROCK VALLEY DR                                                                             ROCHESTER          MI    48307‐6030
MICHAEL M KOBUS                                   1725 CASTLEWOOD                                                                                 MADISON HTS        MI    48071‐2266
MICHAEL M KOBUS & KAREN D KOBUS JT TEN            1725 CASTLEWOOD                                                                                 MADISON HEIGHTS    MI    48071‐2266

MICHAEL M KURIGER & MARA KURIGER JT TEN           12922 ELMINGTON DR                                                                              CYPRESS            TX    77429‐2063
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MICHAEL M MAEGAWA                                3367 EDMUNTON DR                                                                               ROCHESTER HLS      MI    48306‐2902
MICHAEL M MAYER                                  74 HARMONY HILL RD                                                                             PAWLING            NY    12564‐2020
MICHAEL M MC CALL                                5078 CASTLE RD                                                                                 OTTER LAKE         MI    48464‐9704
MICHAEL M MC CARTHY CUST KIRSTEN DAVENPORT       1 SCENIC VIEW DR                                                                               WEAVERVILLE        NC    28787‐9379
UGMA PA
MICHAEL M MC KEOWN                               43340 VINSETTA DR                                                                              STERLING HTS       MI    48313‐2388
MICHAEL M MCCARTHY                               248 MIALAQUO CIRCLE                                                                            LOUDON             TN    37774‐6802
MICHAEL M MCKEOWN & MARIE G MCKEOWN JT TEN       43340 VINSETTA DR                                                                              STERLING HTS       MI    48313‐2388

MICHAEL M MCSORLEY                               4609 BAYARD STREET                                                                             PITTSBURGH         PA    15213‐2755
MICHAEL M MENZER                                 5306 DURFEE ROAD                                                                               EATON RAPIDS       MI    48827‐8909
MICHAEL M MOORE JR                               1142 W COLLEGE ST                     APT H                                                    LIBERTY            MO    64068‐1139
MICHAEL M MULLALLY                               924 DORO LANE                                                                                  ZILWAUKEE          MI    48604‐1113
MICHAEL M MUNGER                                 1020 E FRANCES ROAD                                                                            MT MORRIS          MI    48458‐1126
MICHAEL M MYERS                                  41938 HANFORD ROAD                                                                             CANTON             MI    48187‐3516
MICHAEL M MYETTE & ANITA R MYETTE JT TEN         8101 NE 113TH                                                                                  KIRKLAND           WA    98034‐3540
MICHAEL M NEBEL                                  K‐ADENAUER ALLEE 25                   D‐64569 NAUHEIM                        GERMANY
MICHAEL M OLIVERO & CATHERINE M OLIVERO JT TEN   7221 BISON                                                                                     WESTLAND           MI    48185‐2326

MICHAEL M OSTRANDER                              3921 HABERSHAM                                                                                 SCHERTZ            TX    78154‐2925
MICHAEL M PANCOAST                               17735 MICKEY LN                                                                                GREGORY            MI    48137‐9570
MICHAEL M PARKER                                 23622 HARTWICK LN                                                                              SAN ANTONIO        TX    78259‐1604
MICHAEL M PAVELCHAK                              152 LAR ANA LN                                                                                 GUNTERSVILLE       AL    35976‐6530
MICHAEL M PERKINS                                1105 N GOODLET AVE                                                                             INDIANAPOLIS       IN    46222‐3008
MICHAEL M RAPER                                  2237 DRAPER AVE                                                                                YPSILANTI          MI    48197‐4311
MICHAEL M SELIKOWITZ                             176 TREETOP CIR                                                                                NANUET             NY    10954‐1044
MICHAEL M SHIELDS                                1104 DEER RUN RD                                                                               CENTERVILLE        OH    45459‐4926
MICHAEL M SLOAN                                  1925 HILLSBORO RD                                                                              WILMINGTON         NC    28403‐5333
MICHAEL M THAYER                                 11316 S 200 W 200W                                                                             BUNKER HILL        IN    46914‐9549
MICHAEL M TILLER                                 800 SO WACOUTA                                                                                 PRAIRIE DU CHIEN   WI    53821‐2234

MICHAEL M TOWARNICKE                             PO BOX 42053                                                                                   BROOK PARK         OH    44142‐0053
MICHAEL M TSAY                                   41 SANTA CRUZ AISLE                                                                            IRVINE             CA    92606‐0869
MICHAEL M VENA                                   21811 ALBION AV                                                                                FARMINGTN HLS      MI    48336‐4821
MICHAEL MAAR & GISELA R MAAR & MICHAEL C MAAR    20143 AINTREE                                                                                  PARKER             CO    80138
JT TEN
MICHAEL MAAR & GISELA R MAAR JT TEN              20143 AINTREE CT                                                                               PARKER             CO    80138‐7301
MICHAEL MADAUS CUST KEITH MADAUS UGMA MI         30351 29 MILE                                                                                  LENOX              MI    48050‐2303

MICHAEL MAHAFFY                                  234 ROUND HILL RD                                                                              GREENWICH          CT    06831‐3358
MICHAEL MAIN                                     6649 FOX MEADE COURT                                                                           FREDERICK          MD    21702
MICHAEL MAIN CUST AVA CHRISTINE MAIN UTMA MD     6649 FOX MEADE CT                                                                              FREDERICK          MD    21702‐9493

MICHAEL MAIN CUST MICHAEL L MAIN JR UTMA MD      6649 FOX MEADE CT                                                                              FREDERICK          MD    21702‐9493

MICHAEL MAIN CUST NOELLE MARIA MAIN UTMA MD      6649 FOX MEADE CT                                                                              FREDERICK          MD    21702‐9493

MICHAEL MAK                                      44 SANDYHOOK SQ                       SCARBOROUGH ON                         M1W 3N5 CANADA
MICHAEL MALLORY                                  3445 W 85TH PL                                                                                 CHICAGO            IL    60652‐3780
MICHAEL MALONE                                   1504 RITA NE                                                                                   ALBUQUERQUE        NM    87106‐1126
MICHAEL MAMMOCCIO                                5017 THE PINES BLVD                                                                            WILMINGTON         DE    19808‐1032
MICHAEL MARCOUX                                  24 MIDDLESEX CIR                      APT 4                                                    WALTHAM            MA    02452‐6264
MICHAEL MARINCHAK                                307 QUAY AVE                                                                                   SCRANTON           PA    18504‐9653
MICHAEL MARINELLI                                27 HOLT CIR                                                                                    HAMILTON           NJ    08619‐1605
MICHAEL MARTIN LENIHAN                           330 N WILSHIRE COURT                                                                           PALATINE           IL    60067
MICHAEL MARTIN SPEELMAN                          861 W ABBEY DR                                                                                 MEDINA             OH    44256‐2927
MICHAEL MARTINEZ                                 4605 BEACH RIDGE RD                                                                            LOCKPORT           NY    14094‐9612
MICHAEL MARTINEZ & MARY K MARTINEZ JT TEN        1060 NEW JERSEY AVE                                                                            HELLERTOWN         PA    18055‐1636
MICHAEL MARX                                     1463 MIRACERROS LOOP N                                                                         SANTA FE           NM    87505‐4021
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MICHAEL MASSINO                                 405 LIBERTY ST                                                                                  MORRIS          IL    60450‐2132
MICHAEL MASTROSIMONE & COSIMA MASTROSIMONE      284 WAHL RD                                                                                     ROCHESTER       NY    14609‐1865
JT TEN
MICHAEL MATHENY & JULIE H MATHENY JT TEN        1001 51ST ST                                                                                    VIENNA          WV    26105‐3143
MICHAEL MATHEWS                                 306 PANORAMA CT                                                                                 BENICIA         CA    94510‐1500
MICHAEL MATLAGA                                 803 FRIENDSHIP DR                                                                               DELAND          FL    32724‐7008
MICHAEL MATTIN                                  7328 SANDERLING PLACE                                                                           PHILADELPHIA    PA    19153
MICHAEL MATUS                                   5963 DUBLIN RD                                                                                  BETHEL PARK     PA    15102
MICHAEL MAXWELL                                 372 SHEPHERD ROAD                                                                               MANSFIELD       OH    44907
MICHAEL MAYLONE CUST ARIANNA N MAYLONE UTMA     124 W CHURCH ST                                                                                 CLINTON         MI    49236‐9717
MI
MICHAEL MAYZER & KRISTA MAYZER JT TEN           6931 TERRACE RIDGE                                                                              KATY            TX    77494‐0189
MICHAEL MAZZA                                   5947 MEADOWS DR                        APT F                                                    FORT WAYNE      IN    46804‐7672
MICHAEL MC ELWEE                                8037 LARK LN                                                                                    GRAND BLANC     MI    48439‐7251
MICHAEL MC GUINNESS                             34D DOUBLE BEACH ROAD                                                                           BRANFORD        CT    06405‐4919
MICHAEL MC LEAN                                 6019 BROOKHAVEN DR                                                                              IMLAY CITY      MI    48444‐8828
MICHAEL MC VEIGH & NANCY MC VEIGH JT TEN        915 EIGHTH ST                                                                                   NEWARK          DE    19711‐8724
MICHAEL MCCOY                                   6611 HERRITAGE LANE                                                                             BRADENTON       FL    34209‐7447
MICHAEL MCDEVITT                                202 WOOD STREET                                                                                 MAHOPAC         NY    10541‐5010
MICHAEL MCDONALD                                2016 GREEN RIDGE ST                                                                             DUNMORE         PA    18512‐2221
MICHAEL MCDYER                                  10 CARKHUFF RD                                                                                  FLEMINGTON      NJ    08822‐7182
MICHAEL MCGUINNESS                              ATTN KEVIN MC GUINNESS                 199 DAWLEY DRIVE                                         STONINGTON      CT    06378‐2027
MICHAEL MCGUIRE                                 221 CROSSWICKS RD                                                                               HIGHTSTOWN      NJ    08520
MICHAEL MCKINNEY CUST CALEB MCKINNEY UTMA SC    131 ORCHARD SPRING DRIVE                                                                        INMAN           SC    29349‐6505

MICHAEL MCKOWNE JR                               517 LAFAYETTE ST                                                                               LINDEN          NJ    07036‐5027
MICHAEL MCNAMEE                                  345 ALEXANDER RD                                                                               CRITTENDEN      KY    41030‐8562
MICHAEL MEAD A MINOR U/GDNSHIP OF GEORGE J       6760 MANCHESTER BEACH ROAD                                                                     FAIRVIEW        PA    16415‐1636
MEAD
MICHAEL MECZKA                                   8021 EL MANOR AVE                                                                              LOS ANGELES      CA   90045‐1433
MICHAEL MELVIN SAMARA                            3109 S YALE                                                                                    TULSA            OK   74135‐8007
MICHAEL MERKLER & MRS ELIZABETH B MERKLER JT TEN 25444 SKYE DR                                                                                  FARMINGTON HILLS MI   48336‐1674

MICHAEL MERRICK & CORLISS MERRICK JT TEN        4340 GALAXY DR                                                                                  JANESVILLE      WI    53546‐8891
MICHAEL METZ                                    4 SUNBEAM ROAD                                                                                  SYOSSET         NY    11791‐6920
MICHAEL METZGER                                 8786 N 550 W                                                                                    THORNTOWN       IN    46071‐9178
MICHAEL MEYER & SUSAN MEYER JT TEN              3329 CANTERBURY DR                                                                              BAY CITY        MI    48706
MICHAEL MICHALOWSKI                             PO BOX 1088                                                                                     HOWELL          MI    48844‐1088
MICHAEL MICKLEWRIGHT                            2117 N WILLIAMSBURG                                                                             ARLINGTON       IL    60004‐2850
                                                                                                                                                HEIGHTS
MICHAEL MIDDLETON                               40 N ELM GROVE ROAD                                                                             LAPEER          MI    48446‐3534
MICHAEL MIETHE                                  410 LUCAS DR                                                                                    DANVILLE        IL    61832‐2249
MICHAEL MIJARES                                 3088 KIRK RD                                                                                    SAN JOSE        CA    95124‐2439
MICHAEL MILES SALLOWAY                          3630 PHILLIPS PKWY                     APT 705                                                  MINNEAPOLIS     MN    55426‐3779
MICHAEL MILITELLO                               12202 BUCKINGHAM                                                                                SOUTHGATE       MI    48195‐2309
MICHAEL MILLER CUST GAYLE TRACEY MILLER UGMA CA 10380 WILSHIRE BLVD APT 2002                                                                    LOS ANGELES     CA    90024‐4761

MICHAEL MILLS                                   1025 1ST ST SE                         APT 710                                                  WASHINGTON      DC    20003‐5325
MICHAEL MINICH & DOROTHY MINICH TEN ENT         1820 BARCLAY HILL RD                                                                            BEAVER          PA    15009‐9039
MICHAEL MITCHELL                                3916 N VIKING TRL                                                                               NEW CASTLE      IN    47362‐8812
MICHAEL MITCHELL                                1739 MACLEAN CT                                                                                 GLENVIEW        IL    60025‐3047
MICHAEL MITCHELL & JAN MITCHELL JT TEN          16559 KINGSTON CT                                                                               TYLER           TX    75703‐7336
MICHAEL MITCHELL & JHAN T MITCHELL JT TEN       16559 KINGSTON CT                                                                               TYLER           TX    75703‐7336
MICHAEL MIZGALA                                 1302 IDLEWOOD ROAD                                                                              WILMINGTON      DE    19805‐1321
MICHAEL MOGILL CUST SARAH MOGILL UTMA PA        825 DUNBAR RD                                                                                   CARLISLE        PA    17013‐1715
MICHAEL MOLINARI                                63 BOUCKHART AVE                                                                                ROCHESTER       NY    14622‐2103
MICHAEL MONGIELLO & JUDITH MONGIELLO JT TEN     RFD 1                                  SULLVAN RD                                               NORTH SALEM     NY    10560‐9801

MICHAEL MOONEY                                  7459 COUNTRY MEADOW                                                                             SWARTZ CREEK    MI    48473‐1485
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MICHAEL MOONEY & JUDITH E MOONEY JT TEN      W301 N6537 LILLIAN DR                                                                                       HARTLAND         WI    53029‐8404
MICHAEL MOORE                                PO BOX 49026                                                                                                GREENSBORO       NC    27419‐1026
MICHAEL MORANO                               135 NEW YORK AVE                                                                                            NEWARK           NJ    07105‐1222
MICHAEL MORELLI                              33522 ALTA                                                                                                  GARDEN CITY      MI    48135‐1081
MICHAEL MORENCY                              PO BOX 2050                                                                                                 MIDDLEBURG       VA    20118‐2050
MICHAEL MORONEY                              58004 FOX DRIVE                                                                                             PONDEROSA        CA    93265
MICHAEL MORR                                 313 WILMINGTON DR                                                                                           LOVELAND         OH    45140‐2123
MICHAEL MORTIMER                             STONELEIGH                                   BUTTER ON HILL         STROUD          GL5 2L9 GREAT BRITAIN
MICHAEL MORTON                               472 E BLUFF DR                                                                                              PENN YAN         NY    14527‐8927
MICHAEL MOSER                                PO BOX 23                                                                                                   HAVILAND         OH    45851‐0023
MICHAEL MOYNES                               68 SCUGOG STREET                             BOWMANVILLE ON                         L1C 3J1 CANADA
MICHAEL MRUZEK                               7045 CLINTON MACON RD                                                                                       CLINTON          MI    49236‐9526
MICHAEL MULRONEY                             ATTN VILLANOVA LAW SCHOOL                                                                                   VILLANOVA        PA    19085
MICHAEL MUMA TR UA 01/10/90                  900 CHURCH                                                                                                  PLYMOUTH         MI    48170‐1644
MICHAEL MUTHER CUST KATHRYN A MUTHER UGMA WI 3561 SPRING GREEN RD                                                                                        GREEN BAY        WI    54313‐7569

MICHAEL MYLES                                     5190 GILABEND TRAIL                                                                                    KALAMAZOO        MI    49009‐4933
MICHAEL N BUKATA                                  73 BARBICAN TRAIL                       ST CATHERINES ON                       L2T 4A9 CANADA
MICHAEL N DICUS                                   7164 EMERALD AVE                                                                                       DUBLIN           CA    94568‐2021
MICHAEL N DISIEN & FREDA P DISIEN JT TEN          7660 W 130TH ST                                                                                        MIDDLEBURG HTS   OH    44130‐5722

MICHAEL N ENNIS & VIRGINIA P ENNIS JT TEN         7 CORNELIA PLACE                                                                                       GLEN ROCK        NJ    07452‐3203
MICHAEL N ERNSTOFF                                11940 VICTORIA AVE                                                                                     LOS ANGELES      CA    90066‐3216
MICHAEL N HOWARD                                  262 QUILL AVE                                                                                          THE VILLAGES     FL    32162‐5034
MICHAEL N KARAPAS                                 2109 CHESTNUT CRES                                                                                     SALINE           MI    48176‐1668
MICHAEL N KOUVATAS                                27 KINGS HWY E                                                                                         HADDONFIELD      NJ    08033‐2001
MICHAEL N MARTIN                                  18803 BRETTON DR                                                                                       DETROIT          MI    48223‐1336
MICHAEL N MC CANNA                                221 EAST 13TH                                                                                          LOCKPORT         IL    60441‐3506
MICHAEL N OGLETREE                                2391 CLIFTON SPRINGS RD                                                                                DECATUR          GA    30034‐2911
MICHAEL N OSER                                    35 E LIVINGSTON AVE                                                                                    COLUMBUS         OH    43215‐5768
MICHAEL N RADAKOVITZ                              11701 S RIDGELAND AVE                   TRLR 60                                                        WORTH            IL    60482‐3032
MICHAEL N REED                                    2829 SOUTH DEERFIELD AVE                                                                               LANSING          MI    48911‐1756
MICHAEL N ULERY                                   1187 COAST VILLAGE RD #1‐335                                                                           SANTA BARBARA    CA    93108‐2761
MICHAEL N WAHL & QUINTINA J WAHL JT TEN           15 WHITE OAK LN                                                                                        MONTICELLO       KY    42633‐2325
MICHAEL NAKLICK & THERESA NAKLICK JT TEN          7097 S SHORE DR S                                                                                      SOUTH PASEDENA   FL    33707‐4606
MICHAEL NASI & CHRISTINE NASI JT TEN              505 WHITE PLAINS RD                                                                                    TARRYTOWN        NY    10591‐5125
MICHAEL NEACE                                     2001 FARMERSVILLE WEST                  ALEXANDRIA PIKE                                                FARMERVILLE      OH    45325
MICHAEL NEAL BUSH                                 APT B1210                               360 EAST 72ND STREET                                           NEW YORK         NY    10021‐4763
MICHAEL NEAL WILSON                               635 W NORTH ST                                                                                         HINSDALE         IL    60521‐3152
MICHAEL NEE JR & HELEN NEE JT TEN                 6429 LA VANCO CT                                                                                       CARLSBAD         CA    92009‐4331
MICHAEL NEEL                                      2110 BELMEADE ST                                                                                       BROWNWOOD        TX    76801‐4827
MICHAEL NEIL APFELBAUM                            6316 N 25TH ST                                                                                         ARLINGTON        VA    22207‐1018
MICHAEL NEMETZ CUST CHANDLER ELIZABETH NEMETZ     319 SHERMAN STREET                                                                                     CANTON           MA    02021‐2544
UTMA MA
MICHAEL NEMETZ CUST CHRISTOPHER ARMOUR            319 SHERMAN ST                                                                                         CANTON           MA    02021‐2544
NEMETZ UTMA MA
MICHAEL NENNIG                                    1165 WEAVER FARM LANE                                                                                  SPRING HILL      TN    37174‐0063
MICHAEL NESTORICK                                 240 PAVLICK RD                                                                                         HUNLOCK CREEK    PA    18621
MICHAEL NEVERS                                    10 CAVERHILL LANE                       NEWMARKET NB                           E6K 2W8 CANADA
MICHAEL NEYHOUSE                                  310 WOODLAND DR                                                                                        BOONE            NC    28607‐4240
MICHAEL NICHOLAS ORENDICK                         119 ROLAND AVE                                                                                         BUFFALO          NY    14218‐3540
MICHAEL NICHOLAS THOMA                            52 HATHAWAY HILL RD                                                                                    LIVERMORE        ME    04253‐3204
MICHAEL NICOLAICHUK & EMILIA NICOLAICHUK JT TEN   146 FORREST ST                                                                                         UTICA            NY    13502‐1004

MICHAEL NIKOLETOS                                 23 GOUNARI ST                           ATHENS                 KIFISSIA        14562 GREECE
MICHAEL NOEL                                      6470 TERRA ROSA CIRCLE                                                                                 BOYNTON BEACH    FL    33437‐5145
MICHAEL NORTH                                     1502 ORIENTAL AVENUE                                                                                   BELLINGHAM       WA    98229‐5018
MICHAEL NOSOWENKO                                 5385 REGIONAL RD 14                     BOWMANVILLE ON                         L1C 3K6 CANADA
MICHAEL O ARAGON                                  105 LOCUST CT                                                                                          MILFORD          PA    18337‐7348
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MICHAEL O CARPENTER                              4683 DOROTHY ST                                                                                MUSKEGON           MI    49441‐5319
MICHAEL O CUMMINGS                               7 INWOOD DR                                                                                    LITTLE FALLS       NJ    07424‐2303
MICHAEL O DAY                                    520 HARRISON                                                                                   ROCHESTER          MI    48307‐1916
MICHAEL O GREEN                                  425 SOUTH TENN AVE                                                                             MARTINSBURG        WV    25401‐2260
MICHAEL O HAMMOND                                1007 EAST 8TH STREET                                                                           MUNCIE             IN    47302‐3524
MICHAEL O HINAUS                                 832 SUFFOLK DRIVE                                                                              JANESVILLE         WI    53546‐1822
MICHAEL O HOOK                                   5153 WISHING WELL DR                                                                           GRAND BLANC        MI    48439‐4241
MICHAEL O KNOFSKI                                49344 BEMIS                                                                                    BELLEVILLE         MI    48111‐9761
MICHAEL O KRAWCHECK                              3228 VERDURE DR                                                                                BIRMINGHAM         AL    35226‐2216
MICHAEL O MADDOX                                 5182 BROADMAN                                                                                  ONSTED             MI    49265‐9766
MICHAEL O MAGNAN & JO ANNE MAGNAN JT TEN         23420 GRACEWOOD CIR                                                                            LAND O LAKES       FL    34639‐4945
MICHAEL O MC FERRIN                              324 WOODRIDGE DR                                                                               TUSCALOOSA         AL    35406‐1923
MICHAEL O MOORE                                  9027 AKRON RD                                                                                  AKRON              NY    14001‐9028
MICHAEL O NEAL                                   4925 JOCKS LN                                                                                  AUSTELL            GA    30106‐1754
MICHAEL O STOKES                                 106 THALIA RD                                                                                  VIRGINIA BCH       VA    23452
MICHAEL O WHITE                                  704 CEDAR DR                                                                                   KILL DEVIL HILLS   NC    27948‐8012
MICHAEL O'MAHONY                                 47 BALLYKEEFE ESTATE                  LIMERICK                               IRELAND
MICHAEL O'SHAY TABB                              1502 DILLING ST                                                                                MONROE             LA    71202‐4316
MICHAEL OCKLER                                   23 TRAVIS ROAD                                                                                 EAST PATCHOGUE     NY    11772‐6241
MICHAEL ODELL LITTLE                             503 STAPLES RD                                                                                 SAN MARCOS         TX    78666
MICHAEL OKEREKE                                  3146 KINGSLAND AV                                                                              BRONX              NY    10469‐3117
MICHAEL OLTHOFF CUST JASON OLTHOFF UGMA MI       1499 MIDDLEBROOK DR                                                                            MUSKEGON           MI    49441‐4654

MICHAEL OROSZ                                   560 ELYRIA AVENUE                                                                               AMHERST            OH    44001‐2322
MICHAEL OTLOWSKI                                200 PRESTON AVE                                                                                 MIDDLETOWN         CT    06457‐2314
MICHAEL OVERBEY                                 717 TURNER RD                                                                                   MURRAY             KY    42071
MICHAEL P ANGELINI CUST JOHN M ANGELINI UTMA MA 16 MILITARY RD                                                                                  WORCESTER          MA    01609‐1627

MICHAEL P BAKER & JANICE E BAKER TEN ENT         94 CLAY ST                                                                                     KANE               PA    16735‐1510
MICHAEL P BARNO & IRENE BARNO JT TEN             612 W SAMPLE ST                                                                                EBENSBURG          PA    15931‐1527
MICHAEL P BARRETT                                7301 MAPLE RD                                                                                  FRANKENMUTH        MI    48734‐9547
MICHAEL P BERNARDO                               513 JACKSON AVE                                                                                WILMINGTON         DE    19804‐2128
MICHAEL P BINGHAM & MARILYN J BINGHAM TR         C/O MICHAEL P BINGHAM                 28646 BOCK                                               GARDEN CITY        MI    48135‐2803
BINGHAM FAM TR U‐I 03/05/93
MICHAEL P BIRT                                   14845 PARK AVE                                                                                 LIVONIA            MI    48154‐5156
MICHAEL P BIRT & KAREN A BIRT JT TEN             14845 PARK AVE                                                                                 LIVONIA            MI    48154‐5156
MICHAEL P BISSEL                                 91 W 51ST ST                                                                                   BAYONNE            NJ    07002‐3203
MICHAEL P BLACK CUST JONATHAN MICHAEL BLACK      1131 OVERBROOK RD                                                                              BALTIMORE          MD    21239‐1539
UGMA MD
MICHAEL P BLASKOWSKI & GEORGIA L BLASKOWSKI JT   48282 DONAHUE                                                                                  NEW BALTIMORE      MI    48047‐2213
TEN
MICHAEL P BOLTON CUST JORDAN BOLTON UGMA MI      6297 RAMWYCK CT                                                                                WEST BLOOMFIELD MI       48322‐2252

MICHAEL P BRABBS                                 2036 INDIAN ROAD                                                                               LAPEER             MI    48446‐8038
MICHAEL P BRANCH                                 1270 GOLDSTONE ROAD                                                                            RENO               NV    89506‐7345
MICHAEL P BRICKER                                8224 HILLPOINT                                                                                 BRIGHTON           MI    48116‐9148
MICHAEL P BROOKS & BECKY S HENDERSON JT TEN      6 HARVEST LANE                                                                                 NASHUA             NH    03063‐2804

MICHAEL P BROPHY                                 15318 RIVIERA SHORES                                                                           HOLLY              MI    48442‐1132
MICHAEL P BURT                                   45096 KLINGKAMMER ST                                                                           UTICA              MI    48317‐5765
MICHAEL P BURZENSKI & IDA C BURZENSKI TR         3076 GRETCHEN DR                                                                               WARREN             OH    44483‐2951
BURZENSKI TRUST UA 06/15/99
MICHAEL P BURZENSKI & IDA C BURZENSKI TR         3076 GRETCHEN DR                                                                               WARREN             OH    44483‐2951
BURZENSKI TRUST UA 06/15/99
MICHAEL P CAIMI & ELIZABETH K CAIMI JT TEN       12 WINDSOR CIR                                                                                 SPRINGFIELD        PA    19064‐1422
MICHAEL P CAITO JR & JEANNE M CAITO JT TEN       2869 SILVERWOOD LANE                                                                           GREENWOOD          IN    46143‐9296
MICHAEL P CALLADINE                              6496 BOWLING GREEN RD                                                                          SCOTTSVILLE        KY    42164‐9686
MICHAEL P CALLAGHAN CUST AMY M CALLAGHAN         1332 59TH PL                                                                                   LAGRANGE           IL    60525‐3804
UTMA IL
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MICHAEL P CAPRON IN TRUST FOR CHRISTIAN NICOLA   201 PRAIRIE ROSE CT                                                                            WEDDINGTON       NC    28173‐6707
CAPRON
MICHAEL P CHRISTESON                             1509 SE DELAWARE AVE APR 7                                                                     ANKENY           IA    50021‐6547
MICHAEL P CIMINO                                 108 WALKING PATH CT                                                                            SOUTH MILLS      NC    27976‐9441
MICHAEL P CLEARY & BETSY C CLEARY JT TEN         ATTN MICHAEL CLEARY ATTY              2573 FAIR AVE                                            BEXLEY           OH    43209‐2163
MICHAEL P COLLERAN                               44530 WHITE PINE CIR E                                                                         NORTHVILLE       MI    48168‐4350
MICHAEL P COLLINS                                1468 SCHAFER DRIVE                                                                             BURTON           MI    48509‐1547
MICHAEL P CONTI & SUSAN B CONTI JT TEN           PO BOX 4156                                                                                    BURT LAKE        MI    49717‐0756
MICHAEL P CUZ                                    PO BOX 53                                                                                      FLUSHING         MI    48433‐0053
MICHAEL P DANIELS                                48556 GREENWICH CIR                                                                            CANTON           MI    48188‐8506
MICHAEL P DIEKER                                 905 DAMIAN STREET                                                                              VANDALIA         OH    45377‐1115
MICHAEL P DIVINCENZO                             31 PROSPECT STREET                                                                             NORWOOD          NY    13668‐1110
MICHAEL P DONNELLY                               2 RIVERVIEW DRIVE                                                                              ANDERSON         IN    46012‐9461
MICHAEL P DONOGHUE                               25 GERALDINE PKWY                                                                              ROCHESTER        NY    14624‐1609
MICHAEL P DOUGHERTY                              1452 BALDWIN RD                                                                                LAPEER           MI    48446‐9644
MICHAEL P DRISCOLL                               1322 CANDLEWOOD HILL                                                                           NORTHBROOK       IL    60062‐4410
MICHAEL P DRUSBACKY                              610 TAFT ST                                                                                    PORT CLINTON     OH    43452‐2137
MICHAEL P ECHLIN                                 6255 WEBSTER RD                                                                                FLINT            MI    48504‐1004
MICHAEL P ECKERD                                 10576 MILLER RD                                                                                LYNDONVILLE      NY    14098‐9783
MICHAEL P ECKLES                                 500 ANNETTE ST                                                                                 DODGE CITY       KS    67801‐2870
MICHAEL P FIEGL                                  2320 NAUTILUS CV                                                                               FORT WAYNE       IN    46814
MICHAEL P FITZGERALD                             183 LAKEVIEW ST                                                                                GROSSE POINTE    MI    48236‐2906
MICHAEL P FITZPATRICK                            23 PARKER ST                                                                                   MAYNARD          MA    01754‐2619
MICHAEL P FLEMING                                86 PECK LANE                                                                                   WATERTOWN        CT    06795‐6615
MICHAEL P FLETCHER & LIZ M FLETCHER JT TEN       414 W OHIO ST                                                                                  MARQUETTE        MI    49855‐3327
MICHAEL P FOLEY                                  2594 ANDOVER COURT                                                                             BILOXI           MS    39531
MICHAEL P FRAME                                  3209 KENILWORTH LN                                                                             MONTGOMERY       IL    60538‐3337
MICHAEL P FRANKLIN                               2249 PEMBERTON RD SW                                                                           ATLANTA          GA    30331‐2526
MICHAEL P GENGLER                                3725 S NIAGARA WAY                                                                             DENVER           CO    80237‐1247
MICHAEL P GERRITY                                4499 ROADOAN RD                                                                                BROOKLYN         OH    44144‐2745
MICHAEL P GIAUQUE                                1228 DONNYBROOK DR                                                                             CARMEL           IN    46032‐3438
MICHAEL P GIEFER & KAREN L GIEFER JT TEN         4533 WASHINGTON ST                                                                             DOWNERS GROVE    IL    60515‐2832
MICHAEL P GLEASON                                325 WOODSIDE LN                                                                                OAKLAND          MI    48363‐1649
MICHAEL P GRAHAM                                 47 MANDERA WAY                                                                                 HOT SPRINGS      AR    71909
MICHAEL P GRIMES                                 7576 BARRY CT                                                                                  SEMINOLE         FL    33772‐4923
MICHAEL P HALEY                                  1741 BELLA OAKS WAY                                                                            HANFORD          CA    93230‐8946
MICHAEL P HALL                                   6359 KIMS DR                                                                                   VICTOR           NY    14564‐9214
MICHAEL P HANAGAN & MIRIAM J COHEN JT TEN        BOX 369 VASSAR COLLEGE                                                                         POUGHKEEPSIE     NY    12602‐0369
MICHAEL P HANSINGER                              9129 MILLSTREAM CIR                                                                            OLMSTEAD FALLS   OH    44138‐3231
MICHAEL P HEUSS                                  AN DEN FICHTEN 25                     RUESSELSHEIM                           GERMANY
MICHAEL P HILL                                   1805 CHELSEA GREEN DR                                                                          VIRGINIA BCH     VA    23456‐5306
MICHAEL P HOFFMAN                                1920 16TH ST NW                                                                                WASHINGTON       DC    20009‐3308
MICHAEL P HORVAT                                 2304 CLINTON ST                                                                                MUNHALL          PA    15120‐2643
MICHAEL P HOURIHAN                               84 GEORGE ST                                                                                   HAMBURG          NY    14075‐3852
MICHAEL P HUGHES & ELIZABETH A HUGHES JT TEN     5111 SWALLOW DR                                                                                LAND O'LAKES     FL    34639‐3827

MICHAEL P JEPSEN                                 1113 SWINKS MILL RD                                                                            MC LEAN          VA    22102‐2130
MICHAEL P JONES & CAROL J JONES JT TEN           54 WEATHERBY DR                                                                                SAINT PETERS     MO    63376‐3241
MICHAEL P KEITH TR MICHAEL P KEITH REVOCABLE     4580 MOTORWAY DR                                                                               WATERFORD        MI    48328‐3454
LIVING TRUST UA 07/28/99
MICHAEL P KELLEY                                 160 STATE ST                                                                                   PONTIAC          MI    48341‐1452
MICHAEL P KELLY                                  119 WYNDHAM PLACE CT                                                                           ROBBINSVILLE     NJ    08691‐3128
MICHAEL P KNOLL                                  17132 BALDWIN RD                                                                               OAKLEY           MI    48649‐9757
MICHAEL P KREMSKI                                6279 PERRY ROAD                                                                                GRAND BLANC      MI    48439‐9702
MICHAEL P KRUMSIEK                               20 JOHNSON ST                                                                                  MILLBURY         MA    01527‐2118
MICHAEL P KUSNIER                                2311 N OVID RD                                                                                 OVID             MI    48866‐9751
MICHAEL P LANG                                   2823 RIFLE RIDGE RD                                                                            OAKTON           VA    22124‐1204
MICHAEL P LAROSE                                 1120 SEVILLE                                                                                   ROCHESTER        MI    48309‐3027
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MICHAEL P LASCO                               1700 CLARENCE AVE                                                                            ARLINGTON       IL    60004‐4026
                                                                                                                                           HEIGHTS
MICHAEL P LEARY                               13115 DULANEY VALLEY RD                                                                      GLEN ARM        MD    21057‐9601
MICHAEL P LEDDEN                              PO BOX 201                                                                                   MONTGOMERY      VT    05471‐0201
                                                                                                                                           CENTER
MICHAEL P LEE                                  31 IRVING ST                       APT 1                                                    BRISTOL         CT    06010‐1406
MICHAEL P LEWIS                                17496 FRONDELL CT                                                                           EDEN PRAIRIE    MN    55347‐3416
MICHAEL P LORNSON                              175 HILLSIDE AVE                                                                            ROANOKE         IN    46783‐8832
MICHAEL P LOWREY                               137 CONRAD RD                                                                               MARLBOROUGH     MA    01752‐1956
MICHAEL P LYNCH                                2539 PHILLIPS                                                                               BERKLEY         MI    48072‐3227
MICHAEL P LYON                                 1959 CHARLESTON HOUSE WAY          APT 6301                                                 DAYTONA BEACH   FL    32117‐2594
MICHAEL P MAGRATH                              4303 SILAS HUTCHINSON DR                                                                    CHANTILLY       VA    20151‐1325
MICHAEL P MAJCHROWSKI                          14201 IROQUOIS DRIVE                                                                        FENTON          MI    48430‐1684
MICHAEL P MANDICH                              4425 S GAGETOWN RD                                                                          OWENDALE        MI    48754‐9787
MICHAEL P MANNING                              1222 HILLSIDE DR                                                                            WATERVLIET      NY    12189‐2405
MICHAEL P MARAIST CUST MICHAEL AUGUSTE MARAIST BOX 80673                                                                                   LAFAYETTE       LA    70598
UTMA LA
MICHAEL P MARSHALL                             10731 WACOUSTA RD                                                                           DEWITT          MI    48820‐8071
MICHAEL P MC CABE                              1243 S 230TH ST                                                                             PITTSBURG       KS    66762‐6856
MICHAEL P MC CLURE                             47120 VANKER                                                                                UTICA           MI    48317‐3469
MICHAEL P MCCLELLAND & SHARON H MCCLELLAND JT 2 KLINE CT                                                                                   STAFFORD        VA    22554‐6572
TEN
MICHAEL P MCCONNELL                            603 CANTERBURY DR                                                                           SAGINAW         MI    48603‐5814
MICHAEL P MCCONNELL & MICHAEL N MCCONNELL JT 1301 WALES AVE                                                                                BIRMINGHAM      AL    35213‐1505
TEN
MICHAEL P MCDERMOTT CUST MICHAEL PATRICK       1160 STATE ROUTE 31                                                                         BRIDGEPORT      NY    13030‐9751
MCDERMOTT JR UGMA NY
MICHAEL P MCGUANE                              335 FOX HILL RD                                                                             WETHERSFIELD    CT    06109
MICHAEL P MCKEARN                              2317 E HUEBBE PKWY                                                                          BELOIT          WI    53511‐1848
MICHAEL P MEADE                                490 EATON RD                                                                                NASHVILLE       MI    49073‐9752
MICHAEL P MEDVEC                               6700 DORA BLVD                                                                              INDEPENDENCE    OH    44131‐4956
MICHAEL P MURPHY                               30211 E HANNA RD                                                                            INDPENDENCE     MO    64016‐9121
MICHAEL P NATOLI                               138 BUEHNER DRIVE                                                                           PITTSBURGH      PA    15237‐2933
MICHAEL P NIEMEIER                             57 GOLDEN OAK DR                                                                            TRINITY         AL    35673‐6406
MICHAEL P NIEZGODA                             1140 PRELLANE RD                                                                            LEWISBURG       TN    37091‐6469
MICHAEL P NOLAN                                28187 LOS OLAS                                                                              WARREN          MI    48093
MICHAEL P O'CONNOR                             754 QUINCE ORCHARD BOULEVARD       102                                                      GAITHERSBURG    MD    20878‐1528
MICHAEL P O'HARE                               17030 SHARON RD                                                                             CHESANING       MI    48616‐9567
MICHAEL P O'MARA                               16728 KENMORE RD                                                                            KENDALL         NY    14476‐9626
MICHAEL P ORPHEY                               419 VALENTINA DR                                                                            GALLUP          NM    87301‐4840
MICHAEL P OSBER                                504 WOODIN ST                                                                               HAMDEN          CT    06514‐4514
MICHAEL P PAGAN                                128A N 4TH ST                                                                               SAINT CHARLES   MO    63301‐2816
MICHAEL P PIROLLI                              BOX 223                                                                                     WATERTOWN       MA    02471‐0223
MICHAEL P POLLICK                              988 ROCK HILL LN                                                                            THE VILLAGES    FL    32162‐1428
MICHAEL P PURCELL                              2620 FAIRHILL DR                                                                            CINCINNATI      OH    45239‐7207
MICHAEL P RABQUER                              PO BOX 26                                                                                   MANSFIELD       OH    44901‐0026
MICHAEL P RATNER                               17 REGENCY CIR                                                                              TRUMBULL        CT    06611‐1391
MICHAEL P RODENSCHMIT                          109 JOYCE DR APT 2                                                                          LODI            WI    53555‐1387
MICHAEL P ROMEO                                2813 NE WESTON CT                                                                           BLUE SPRINGS    MO    64014‐1360
MICHAEL P ROONEY                               2209 CHRISTINE CT                                                                           PT PLEAS BCH    NJ    08742‐5166
MICHAEL P RURAK                                PO BOX 1320                                                                                 SEABROOK        NH    03874‐1320
MICHAEL P RYAN                                 65 FARNESE COURT                                                                            LEBENON         OH    45036‐9023
MICHAEL P SAKALA & DOROTHY SAKALA JT TEN       81 RONALD AVE S                                                                             BAYVILLE        NJ    08721‐1402
MICHAEL P SANCHEZ                              PO BOX 2332                                                                                 ROSWELL         NM    88202‐2332
MICHAEL P SCHEURER                             3232 NOTTOWAY DR                                                                            GODFREY         IL    62035
MICHAEL P SCHLANHART                           1153 W JULIAH AVE                                                                           FLINT           MI    48505‐1407
MICHAEL P SERAMONE                             33 SUMAC COURT                                                                              NEWARK          DE    19702‐2885
MICHAEL P SHALAP                               697 COTTONTOWN RD                                                                           STRASBURG       VA    22657‐4215
MICHAEL P SHARPE                               1713 SE SILKWOOD LN                                                                         LEES SUMMIT     MO    64063‐6161
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MICHAEL P SIMCOE                                   5374 KESWICK COURT                                                                             ROCHESTER          MI    48306
MICHAEL P SIMON                                    46618 FOXTAIL CT                                                                               MACOMB             MI    48044‐3467
MICHAEL P SMALL                                    9 IDLEWILD ST                                                                                  FOXBORO            MA    02035‐1406
MICHAEL P SMITH                                    4979 GLEN CASTLE DR                                                                            TALLAHASSEE        FL    32308‐2959
MICHAEL P SMITH                                    837 LAIRD                                                                                      LAKE ORION         MI    48362‐2038
MICHAEL P SONNEN                                   73 SUNSET DRIVE                                                                                NIAGARA FALLS      NY    14304‐3717
MICHAEL P STAHL                                    752 VENOY                                                                                      WSTLAND            MI    48186‐4893
MICHAEL P STEFFEN                                  2135 BALMORAL AVE                                                                              CHICAGO            IL    60625‐1005
MICHAEL P STEVENS & KATHY W STEVENS JT TEN         269 CAMINO BAILEN                                                                              ESCONDIDO          CA    92029‐7415
MICHAEL P STEVENTON                                5963 CALLAWAY CIRCLE                                                                           AUSTINTOWN         OH    44515‐4181
MICHAEL P STINSON                                  105 MARSDEN PL                                                                                 BRIGANTINE         NJ    08203‐2633
MICHAEL P SUMMERS II                               1093 WALES CENTER RD                                                                           WALES              MI    48027‐3117
MICHAEL P THOMAS                                   1021 DULANEY VALLEY RD                                                                         TOWSON             MD    21204
MICHAEL P TOTH                                     15 RUSSELL CT                                                                                  EAST FALLOWFIELD   PA    19320‐4252

MICHAEL P V BARRETT & MISS CONNIE SUE BARRETT JT   44843 GLENGARRY RD                                                                             CANTON             MI    48188‐1066
TEN
MICHAEL P VANDEVELDE & ANDREA A VANDEVELDE JT      4089 CHAPMAN RD                                                                                SHELBY TOWNSHIP    MI    48316‐1410
TEN
MICHAEL P VARANA                                   40535 VILLAGE WOOD                                                                             NOVI               MI    48375‐4564
MICHAEL P VARANA & CONCETTA H VARANA JT TEN        40535 VILLAGE WOOD                                                                             NOVI               MI    48375‐4564

MICHAEL P VARANA & CONCETTA M VARANA JT TEN        40535 VILLAGE WOOD                                                                             NOVI               MI    48375‐4564

MICHAEL P VOLPONI                                5712 SE LAFAYETTE ST                                                                             PORTLAND           OR    97206‐2846
MICHAEL P WALSH                                  2639 CHRIS HAVEN DRIVE                                                                           MORA               MN    55051‐6541
MICHAEL P WARREN                                 11030 BROOKFIELD                                                                                 LIVONIA            MI    48150‐5709
MICHAEL P WELCH CUST KYLE D WELCH UNIF TRANS NIN 797 JOHNSON RD                                                                                   CHURCHVILLE        NY    14428‐9365
ACT NY
MICHAEL P WHITT                                  545 WHITE OAK MOUNTAIN RD                                                                        COLUMBUS           NC    28722‐8714
MICHAEL P WILLIAMS                               PO BOX 271                                                                                       YORKTOWN           IN    47396‐0271
MICHAEL P WILLIAMS & CHERYL WILLIAMS JT TEN      823 WOODLAWN AVE                                                                                 GIRARD             OH    44420‐2056

MICHAEL P WING                                     47215 W ELEVEN MILE ROAD                                                                       NOVI               MI    48374‐2317
MICHAEL P WOLF                                     7020 COLUMBIA GATEWAY DR                                                                       COLUMBIA           MD    21046‐2119
MICHAEL P WOODRING                                 86 LAKE NESS DR                                                                                MOUNT MORRIS       MI    48458‐8888
MICHAEL P WRUBEL                                   804 SAINT MARYS BLVD                                                                           CHARLOTTE          MI    48813‐2216
MICHAEL P YUSKO                                    PO BOX 254                                                                                     LAKE ANN           MI    49650‐0254
MICHAEL P ZERMENO                                  20024 MARLIN CT                                                                                LYNWOOD            IL    60411‐6903
MICHAEL PALAIA                                     3430 EAST GATE CT                                                                              HOLLANDL           PA    18966‐2900
MICHAEL PALLONE                                    BOX 396                                                                                        SPRINGFIELD        VA    22150‐0396
MICHAEL PALMER                                     869 11TH ST                                                                                    BOULDER            CO    80302‐7514
MICHAEL PANCZENKO                                  943 ORCHARD ST                                                                                 PEEKSKILL          NY    10566‐2727
MICHAEL PAONE                                      38 ORCHARD LANE                                                                                BERKELEY HEIGHTS   NJ    07922‐2458

MICHAEL PATASHNICK CUST J PATASHNICK UTMA MA       61 ENDECOTT ST                                                                                 SPRINGFIELD        MA    01118‐2323

MICHAEL PATRICK JOHNSTON                           7713 COLONIAL RD                                                                               BROOKLYN         NY      11209‐2909
MICHAEL PATRICK KEARNS                             PO BOX 532                                                                                     NEW MARTINSVILLE WV      26155‐0532

MICHAEL PATRICK LEVY                               PO BOX 504                                                                                     SWARTHMORE         PA    19081‐0504
MICHAEL PATRICK SCHLANHART                         1153 W JULIAH AVENUE                                                                           FLINT              MI    48506
MICHAEL PATROCINIO                                 60 WOODBURY ROAD                                                                               EDISON             NJ    08820‐2959
MICHAEL PAUL GRAHAM                                406 GREEN COVE                                                                                 HOUSTON            TX    77024‐6734
MICHAEL PAUL MURPHY                                409 HIAWATHA TRAIL                                                                             PINEVILLE          LA    71360‐4406
MICHAEL PAUL WEIS                                  109 ABBEY LN                                                                                   PITTSBURGH         PA    15236‐1671
MICHAEL PELEKAKIS                                  9335 MIDVALE DR                                                                                SHREVEPORT         LA    71118‐3553
MICHAEL PENORO & MARY PENORO JT TEN                330 WELLINGTON RD SO                                                                           GARDEN CITY        NY    11530‐5222
                                                                                                                                                  SOUTH
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MICHAEL PEREGOFF                                   1005 GRANADA CT                                                                                 VIRGINIA BEACH   VA    23456‐4211
MICHAEL PERRONE & JANET PERRONE JT TEN             30 ROOSEVELT AVE                                                                                WESTWOOD         NJ    07675‐2327
MICHAEL PESEK                                      400 HOBRON LANE #2115                                                                           HONOLULU         HI    96815‐1205
MICHAEL PETER KAWECKI                              1186 WRIGHT AVE                                                                                 ARNOLD           MD    21012‐1845
MICHAEL PETER SCHAD                                360 EAST PLEASANT GROVE RD                                                                      JACKSON          NJ    08527‐4240
MICHAEL PETRYSHYN                                  7107 FRY RD                                                                                     CLEVELAND        OH    44130‐2516
MICHAEL PETSKO & LOUISE PETSKO JT TEN              301 S MAIN ST                                                                                   TAYLOR           PA    18517‐1817
MICHAEL PETTRONE                                   BOX 2714                                                                                        ROCHESTER        NY    14626
MICHAEL PHELPS CUST MARCUS VINCENT UTMA OH         326 MEADOWLARK DR                                                                               MANSFIELD        OH    44903‐8539

MICHAEL PHILIPP HEUSS                              ANDEN FICHTEN 25                       RUSSELSHEIM                            D‐65428 GERMANY
MICHAEL PHILLIP NITZ                               3651 WALNUT GROVE                                                                               PORT CLINTON     OH    43452‐2751
MICHAEL PIASCIK                                    23399 LINNE                                                                                     CLINTON TOWNSHIP MI    48035‐4602

MICHAEL PIAZZA & MRS LORRAINE PIAZZA JT TEN    4000 46TH AVE S                                                                                     ST PETERSBURG    FL    33711‐4444
MICHAEL PIERUCCI                               2491 CASCADE CT                                                                                     AUGUSTA          GA    30904‐5403
MICHAEL PINCHUK CUST GREGORI J PINCHUK UTMA NY 2215 VAN RENSSELAER DR                                                                              NISKAYUNA        NY    12309‐3909

MICHAEL PIRICH & MRS CAROL LORETTA PIRICH JT TEN   2150 N SCENIC HIGHWAY                                                                           BABSON PARK      FL    33827‐9736

MICHAEL PLETCHY                                    429 MEADOW BROOK DR                                                                             NO VERSAILLES    PA    15137‐2035
MICHAEL POPOVICI                                   537 NIAGARA ST                                                                                  LOCKPORT         NY    14094‐1905
MICHAEL POWELL                                     16218 LOBO LN                                                                                   SPRING           TX    77379‐7177
MICHAEL PREZIOSO                                   52 RUTH AVE                                                                                     CLIFTON          NJ    07014‐1841
MICHAEL PRINCE & SUZETTE PRINCE JT TEN             5921 LOCH LOMOND DR                                                                             PLANO            TX    75093‐4555
MICHAEL PROCTOR                                    1905 VICKSBURG CIR                                                                              COLUMBIA         TN    38401‐6808
MICHAEL PROSSER                                    105 SUMMERWINDS DR                                                                              CARY             NC    27518‐9638
MICHAEL PRYPUTNIEWICZ                              32 NORTON AVE                                                                                   CLINTON          NY    13323‐1308
MICHAEL PTAK                                       33526 BEECHWOOD                                                                                 WESTLAND         MI    48185‐3013
MICHAEL PTAK                                       2431 BROOKVIEW BLVD                                                                             PARMA            OH    44134‐1420
MICHAEL PUGLIESE                                   188 WHITE SHORE AVE                                                                             TRENTON          NJ    08610
MICHAEL PUKACH & HELEN PUKACH JT TEN               3030 PASADENA DR                                                                                SEVEN HILLS      OH    44131‐4147
MICHAEL PUSTELNY                                   5851 SCOTCH SETTLEMENT                                                                          ALMONT           MI    48003‐9600
MICHAEL Q SHERRET                                  PO BOX 5132                                                                                     FITZGERALD       GA    31750‐5132
MICHAEL QUENTIN WOODS                              1540 BAKER ST                                                                                   GARY             IN    46404‐1634
MICHAEL QUINN                                      12415 ERWIN ST                                                                                  NORTH            CA    91606‐4508
                                                                                                                                                   HOLLYWOOD
MICHAEL R AHRENS                               2513 B BURDICK ST                                                                                   KALAMAZOO        MI    49007‐1875
MICHAEL R ALEXANDER                            167 RANDY SMITH DR                                                                                  SPRINGVILLE      IN    47462‐5104
MICHAEL R ANDERSON                             85 SOUTHLAND CIR                                                                                    EUPORA           MS    39744‐2145
MICHAEL R ARCY                                 22936 SUN RIVER DR                                                                                  FRANKFORT        IL    60423‐7819
MICHAEL R ARIZOLA                              9203 E 36TH ST                                                                                      NEWAYGO          MI    49337‐9524
MICHAEL R BAER                                 1111 ORCHARD ST                                                                                     LANSING          MI    48912
MICHAEL R BARLOW                               5044 FLUSHING RD                                                                                    FLUSHING         MI    48433‐2522
MICHAEL R BEAGLE                               105 OLD KAWKAWLIN RD                                                                                BAY CITY         MI    48706‐2140
MICHAEL R BECRAFT                              202 BRONSTON TRAIL                                                                                  DAYTON           OH    45430‐2030
MICHAEL R BENNETT CUST JASON W BENNETT UTMA TX 1201 MAGNOLIA DR                                                                                    CARROLLTON       TX    75007‐4852

MICHAEL R BERARD CUST MICHAEL D BERARD UGMA MI 908 MC MILLEN COURT                                                                                 GREAT FALLS      VA    22066‐1602

MICHAEL R BIEDA                                    1552 ABBEY CR                                                                                   GREENWOOD        IN    46143‐7869
MICHAEL R BIEDA & RHONDA G BIEDA JT TEN            1552 ABBEY CT                                                                                   GREENWOOD        IN    46143‐7869
MICHAEL R BIEKER                                   398 MAGIE AVE                                                                                   FAIRFIELD        OH    45014‐1628
MICHAEL R BOLSENGA                                 7308 OAK ST                                                                                     PLEASANT VLY     MO    64068‐7816
MICHAEL R BOTTICELLI                               21 OLIVIA WAY                                                                                   JACKSON          NJ    08527‐4269
MICHAEL R BOUTIN & BRENDA K FINLEY‐BOUTIN JT TEN   34222 TUDOR CT                                                                                  STERLING HTS     MI    48312‐5675

MICHAEL R BOYER                                    4339 NORTH CHAPEL ROAD                                                                          FRANKLIN         TN    37067‐7818
MICHAEL R BRAUN                                    4912 ARROWHEAD DR                                                                               DAYTON           OH    45440‐2120
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MICHAEL R BURGESS                               4043 SKELTON RD                                                                                            COLUMBIAVILLE      MI    48421‐9753
MICHAEL R BUTTS                                 6221 CALKINS RD                                                                                            FLINT              MI    48532‐3205
MICHAEL R CALLECOD                              10 IRONGATE DR                                                                                             ZIONSVILLE         IN    46077‐1829
MICHAEL R CANNON II                             6178 W MT MORRIS RD                                                                                        MOUNT MORRIS       MI    48458‐9331
MICHAEL R CARROLL III                           190 ACRES DR                                                                                               TRENTON            NJ    08690‐3917
MICHAEL R CAUDLE                                6315 SCORPIO AVE                                                                                           NORTH PORT         FL    34287‐2233
MICHAEL R CAVONE JR                             2166 PLUMTREE ROAD NORTH                                                                                   WESTBURY           NY    11590‐6030
MICHAEL R CHAMBERS                              6825 ELLER ROAD                                                                                            BLOOMINGTON        IN    47403‐9104
MICHAEL R CHAPMAN                               BARBERS HILL FARM CAREBY ROAD         AUNBY                STAMFORD          LINCS PE9 4EE GREAT BRITAIN

MICHAEL R CHILDERS                              3201 MEDINA AVE                                                                                            FORT WORTH         TX    76133‐1636
MICHAEL R CHRISTIAN                             PO BOX 21                                                                                                  ORTONVILLE         MI    48462‐0021
MICHAEL R CLAPP                                 12366 DOLLAR LAKE COURT                                                                                    FENTON             MI    48430‐9727
MICHAEL R CLEVENGER                             44533 WHITE PINE CIR W                                                                                     NORTHVILLE         MI    48167‐4356
MICHAEL R COLOMBO                               32034 RUSSELL BLVD                                                                                         WINTERS            CA    95694
MICHAEL R CONFIGLIACCO & BARBARA J CONFIGLIACCO 3162 MARQUETTE ST                                                                                          UNIONTOWN          OH    44685‐9301
JT TEN
MICHAEL R CONNER                                9346 LAKEVIEW DR                                                                                           PEVELY             MO    63070‐2825
MICHAEL R COOK                                  6135 S LUCE                                                                                                FREMONT            MI    49412‐9258
MICHAEL R CROSS                                 6230 N MICHIGAN RD                                                                                         SAGINAW            MI    48604‐9208
MICHAEL R CROSSLAND                             5348 PROVINCIAL DR                                                                                         BLOOMFIELD HILLS   MI    48302‐2537

MICHAEL R CROWLEY SR                            200 W ST PAUL ST                                                                                           SPRING VALLEY      IL    61362
MICHAEL R CRUMLEY & ANETT CRUMLEY JT TEN        12304 RENWICK PLACE                                                                                        GLEN ALLEN         VA    23059‐6959
MICHAEL R CZADANKIEWICZ                         14445 INKSTER ROAD                                                                                         LIVONIA            MI    48154‐3936
MICHAEL R DAGGETT                               10595 PEAKE ROAD                                                                                           PORTLAND           MI    48875‐9436
MICHAEL R DARLING                               74975 LOWE PLANK                                                                                           RICHMOND           MI    48062‐4104
MICHAEL R DATRIO                                11 OAK DR                                                                                                  JACKSON            NJ    08527‐2046
MICHAEL R DAVIS                                 8701 WINTERPOCK RD                                                                                         CHESTERFIELD       VA    23832‐2562
MICHAEL R DAVIS                                 320 PARKDRIVE                                                                                              MOORESTOWN         NJ    08057‐2029
MICHAEL R DESMET                                8063 HAVILAND BCH DR                                                                                       LINDEN             MI    48451‐8749
MICHAEL R DEVINE                                5605 QUARTERPATH GATE                                                                                      VIRGINIA BCH       VA    23455‐6720
MICHAEL R DUDASH & JANYCE Y DUDASH JT TEN       9545 BONITA CT                                                                                             PORTAGE            MI    49002‐3901
MICHAEL R DUHL                                  30825 BARRINGER RIDGE RD                                                                                   PORTLAND           OH    45770
MICHAEL R DUNMIRE                               421 NW 3RD LN                                                                                              CAPE CORAL         FL    33993‐2310
MICHAEL R DURHAM                                16 PALO VERDE LANE                                                                                         GLOBE              AZ    85501‐1532
MICHAEL R DURKIN CUST PATRICIA L DURKIN UGMA OH PO BOX 1081                                                                                                BLOOMFIELD HILLS   MI    48303‐1081

MICHAEL R EGAN                                  312 COX ROAD                                                                                               PORTLAND           CT    06480‐1326
MICHAEL R EKONIAK JR                            9660 NEW BUFFALO RD                                                                                        CANFIELD           OH    44406‐9116
MICHAEL R ENOS                                  3564 MILLER RD                                                                                             BAY CITY           MI    48706‐1320
MICHAEL R FEASTER                               3434 HICKORY LN W                                                                                          INDIANAPOLIS       IN    46214‐1289
MICHAEL R FENNESSY                              10402 PRESTON ST                                                                                           WESTCHESTER        IL    60154‐5310
MICHAEL R FERENZ JR & ANITA M FERENZ JT TEN     7 VIRGINIA DR                                                                                              COATESVILLE        PA    19320‐1262
MICHAEL R FINDLEY                               4624 S MELROSE DR                                                                                          OKLAHOMA CITY      OK    73109‐7533
MICHAEL R FISHER                                3786 WESTPORT DR                                                                                           NEW HAVEN          IN    46774
MICHAEL R FIXEL                                 1170 PARKWAY DR                                                                                            BROOKFIELD         WI    53005‐7355
MICHAEL R FLYNN                                 510 29TH ST NW                                                                                             NAPLES             FL    34120‐1726
MICHAEL R FORKEY                                1974 POTTER CT                                                                                             OKLAHOMA CITY      OK    73130‐8242
MICHAEL R FOSTER                                2601 STEVENS HIGHWAY                                                                                       CHARLOTTE          MI    48813‐9130
MICHAEL R FREEMAN                               5975 S ORR RD                                                                                              ST CHARLES         MI    48655‐9568
MICHAEL R GALVIN                                27800 MCBEAN PKWY                     APT 200                                                              VALENCIA           CA    91354‐1436
MICHAEL R GEORGE                                7900 FOTCH RD                                                                                              BATAVIA            NY    14020‐9714
MICHAEL R GILBERT                               18104 STARBOARD DR                                                                                         HOUSTON            TX    77058‐4334
MICHAEL R GORMAN                                310 S WILLIAMSBURY                                                                                         BLOOMFIELD TWP     MI    48301‐3462

MICHAEL R GOSEWEHR                              830 MILLERWOOD DR                                                                                          LEBANON            IN    46052‐1902
MICHAEL R GOSS                                  11106 WARNER ROAD                                                                                          DARIEN CENTER      NY    14040‐9508
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MICHAEL R GREIG CUST BRANDON R GREIG UGMA NY      7292 AKRON RD                                                                                     LOCKPORT          NY    14094‐6206

MICHAEL R GROFF                                   319 ALVARADO PL                                                                                   NEWPORT BEACH     CA    92661‐1217
MICHAEL R HARDOIN                                 1024 N SAN MARCOS ROAD                                                                            SANTA BARBARA     CA    93111‐1213
MICHAEL R HARRIS                                  3518 CARPENTER AVE                                                                                HURRICANE         WV    25526‐1361
MICHAEL R HAUGAN                                  1702 SUMMIT                                                                                       BELOIT            WI    53511‐3749
MICHAEL R HAYS                                    5164 JIM TOWN RD                                                                                  E PALESTINE       OH    44413‐8744
MICHAEL R HILL                                    418 CAMBRIDGE                                                                                     BAY CITY          MI    48708‐6919
MICHAEL R HIRSCH                                  1986 N HIGHGATE                                                                                   BEAVERCREEK       OH    45432‐1879
MICHAEL R HITSMAN                                 174 JEFFERSON AVE                                                                                 MASSENA           NY    13662‐1231
MICHAEL R HOGAN                                   3870 MOORE                                                                                        INKSTER           MI    48141‐3016
MICHAEL R HOLCOMB                                 406 SMITHSTONE RD                                                                                 MARIETTA          GA    30067‐6740
MICHAEL R HOOPER                                  5135 CECELIA ANN                                                                                  CLARKSTON         MI    48346‐3907
MICHAEL R HOUGABOOM                               6134 ENCLAVE DR                                                                                   PENSACOLA         FL    32504‐6759
MICHAEL R HOUSER                                  1887 CROSSWINDS CT SE                                                                             GRAND RAPIDS      MI    49508‐5328
MICHAEL R HOWARD & DONNA E HOWARD JT TEN          9801 FLEMING RD                                                                                   DEXTER            MI    48130‐9541

MICHAEL R HOWAY                                  2209 S 9 MILE RD                                                                                   KAWKAWLIN         MI    48631‐9707
MICHAEL R HOWLAND                                PO BOX 954                                                                                         LARGO             FL    33779‐0954
MICHAEL R HUEBINGER & SHIRLEY A HUEBINGER JT TEN 375 COMMON STREET                                                                                  NEW BRAUNFELF     TX    78130‐4228

MICHAEL R HULVA                                    7968 S 475W                                                                                      WINAMAC           IN    46996‐8317
MICHAEL R IGNOMIRELLO                              1516 NEUTRINO DR                                                                                 MURFREESBORO      TN    37129‐2972
MICHAEL R ISAAC                                    1233 JAYNE DR                                                                                    KOKOMO            IN    46902‐6127
MICHAEL R IVANOVAS                                 3720 S 60TH CT                                                                                   CICERO            IL    60804‐4114
MICHAEL R JACKSON                                  6650 WESTVIEW DR                                                                                 LAINGSBURG        MI    48848‐9489
MICHAEL R JACOBS                                   2886 MAURER RD                                                                                   CHARLOTTE         MI    48813‐8514
MICHAEL R JERMSTAD                                 2384 DEER TRAIL NE DR                                                                            GRAND RAPIDS      MI    49505‐5790
MICHAEL R JEZIORSKI & SANDRA J PRITCHARD JEZIORSKI 418 BROWNING DR                                                                                  HOWELL            MI    48843‐2061
JT TEN
MICHAEL R JOHNSON                                  528 QUEEN ANN DR                                                                                 HAZELWOOD         MO    63042‐3588
MICHAEL R JONES                                    2314 WILLIAMSBURG CT                                                                             DECATUR           AL    35603‐2621
MICHAEL R KAMP                                     532 CEDAR LN                                                                                     LOMBARD           IL    60148‐3174
MICHAEL R KAROSAS CUST ERIC M KAROSAS UTMA FL      544N COUNTRY CLUB DR                                                                             ATLANTIS          FL    33462

MICHAEL R KEITH                                   BOX 226                                                                                           DOVER              MO   64022‐0226
MICHAEL R KILIAN                                  14726 JENNY                                                                                       WARREN             MI   48093‐1512
MICHAEL R KILUK CUST STEPHEN M KILUK UGMA MI      20600 ERBEN                                                                                       SAINT CLAIR SHORES MI   48081‐1798

MICHAEL R KIRSCH                                  7635 ABERDEEN                                                                                     PRAIRIE VILLAGE   KS    66208‐3922
MICHAEL R KLINE                                   603 EICHER STREET                                                                                 KEOKUK            IA    52632‐2418
MICHAEL R KNAPKE                                  434 GENERAL DR                                                                                    FT WRIGHT         KY    41011‐1867
MICHAEL R KONIGSHAUS                              39 JOANNA DRIVE                          ST CATHARINES ON                       L2N 1V3 CANADA
MICHAEL R KONIGSHAUS                              39 JOANNA DRIVE                          ST CATHARINES ON                       L2N 1V3 CANADA
MICHAEL R KOWALEC                                 8159 N GENESEE RD                                                                                 MOUNT MORRIS      MI    48458‐8984
MICHAEL R KRAMER                                  2537 31 AVE CT                                                                                    MOLINE            IL    61265‐6943
MICHAEL R KROSWEK                                 7831 WIGGINS ROAD                                                                                 HOWELL            MI    48843‐8232
MICHAEL R KUFTA                                   PO BOX 682                                                                                        BARNEGAT          NJ    08005‐0682
MICHAEL R KUHNS                                   1584 RIVERSIDE PLACE #A                                                                           COSTA MESA        CA    92627‐3259
MICHAEL R KUPPER                                  350 CLINTON AVE                                                                                   HAMILTON          OH    45015‐1708
MICHAEL R LACY                                    RR 1                                                                                              PARKER            IN    47368‐9801
MICHAEL R LAKES                                   1072 CHIPMUNK LANE                                                                                PENDLETON         IN    46064‐9166
MICHAEL R LARSON                                  2093 GUNN ROAD                                                                                    HOLT              MI    48842‐1047
MICHAEL R LEPO                                    7600 RAGLAND NE                                                                                   WARREN            OH    44484‐1432
MICHAEL R LEWIS                                   2324 LABERDEE ROAD                                                                                ADRIAN            MI    49221‐8644
MICHAEL R LONDON                                  26421 NOTRE DAME ST                                                                               INKSTER           MI    48141‐2656
MICHAEL R LORENTI                                 4581 LOWER RIVER RD                                                                               LEWISTON          NY    14092‐1061
MICHAEL R LUBERT & KAY A LUBERT JT TEN            12231 MULERI DRIVE                                                                                GRAND BLANC       MI    48439
MICHAEL R MACKOOL                                 593 HEATHER LANE                                                                                  GROSSE PT WDS     MI    48236‐1509
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MICHAEL R MACLEAY CUST GEOFFREY M MACLEAY         2100 SILVER LEAF COURT                                                                           LONGWOOD        FL    32779‐2757
UTMA FL
MICHAEL R MAIN CUST MICHAEL R MAIN JR UGMA MI     46004 PLUM GROVE DR                                                                              MACOMB          MI    48044‐4611

MICHAEL R MARCUM & RICHARD L MARCUM JT TEN        5725 LEEWARD CT                                                                                  CLARKSTON       MI    48346‐2780

MICHAEL R MASK                                    2760 MALLARD DR                                                                                  SAINT PAUL      MN    55125‐3845
MICHAEL R MATHENEY                                702 WILFRED AVE                                                                                  DAYTON          OH    45410‐2733
MICHAEL R MATTISON                                1864 SEVEN MI RD                                                                                 KAWKAWLIN       MI    48631‐9735
MICHAEL R MATTISON CUST BLAINE M MATTISON         1864 S 7 MILE RD                                                                                 KAWKAWLIN       MI    48631‐9735
UGMA MI
MICHAEL R MC LEOD                                 824 WINTER ST                                                                                    PEKIN           IL    61554‐4743
MICHAEL R MC MANUS                                3018 HIDEAWAY BEACH                                                                              BRIGHTON        MI    48114‐8970
MICHAEL R MCCARTHY                                6010 SNOW APPLE                                                                                  CLARKSTON       MI    48346‐2445
MICHAEL R MCMILLON                                1403 S JONQUIL ST                                                                                BOSSIER CITY    LA    71112‐4623
MICHAEL R MELILLO & GERLINDA MELILLO JT TEN       509 ROBBINS AVE                                                                                  NILES           OH    44446‐2411
MICHAEL R METCALF                                 116 WALNUT LANE                                                                                  COLUMBIA        TN    38401‐4944
MICHAEL R MILLER                                  9040 PARADISE RD                                                                                 KEWASKUM        WI    53040‐9719
MICHAEL R MINEER                                  3612 DAWSON                                                                                      WARREN          MI    48092‐3252
MICHAEL R MINOR                                   4036 COTTONWOOD COURT                                                                            LEWISBURG       TN    37091‐6693
MICHAEL R MINTERFERING                            6472 LEWIS RD                                                                                    MT MORRIS       MI    48458‐2553
MICHAEL R MIZICKO                                 5188 KING GRAVES ROAD                                                                            VIENNA          OH    44473‐9713
MICHAEL R MOLINARO                                6407 ERNA DRIVE                                                                                  LOCKPORT        NY    14094‐6525
MICHAEL R MONTGOMERY                              1902 W ST LOUIS DRIVE                                                                            KOKOMO          IN    46902‐5994
MICHAEL R MOOMEY                                  1400 W 1ST ST                           APT 8                                                    WEWOKA          OK    74884‐5003
MICHAEL R MOORE                                   80 RUSHFORD HOLLOW                                                                               CHEEKTOWAGA     NY    14227‐2388
MICHAEL R MORIARTY                                2600 LASALLE GARDENS                                                                             LANSING         MI    48912‐4131
MICHAEL R MOULTON                                 7952 W TWILIGHT DR                                                                               FAIRLAND        IN    46126‐9554
MICHAEL R MURDOCK                                 2038 LORA ST                                                                                     ANDERSON        IN    46013‐2748
MICHAEL R MURPHY                                  4848 PERRYVILLE RD                                                                               HOLLY           MI    48442‐9408
MICHAEL R NOEL                                    17387 LEXINGTON DR                                                                               LAWRENCEBURG    IN    47025‐8233
MICHAEL R O'MALLEY                                3209 RISEDORPH                                                                                   FLINT           MI    48506‐3048
MICHAEL R OSWALD                                  5460 ERNEST RD                                                                                   LOCKPORT        NY    14094‐5404
MICHAEL R PALMER                                  4314 PEREGRINE WAY                                                                               W VALLEY CITY   UT    84120‐5305
MICHAEL R PATRICK                                 3240 OLD SCUGOG RD                      BOWMANVILLE ON                         L1C 3K2 CANADA
MICHAEL R PEAK                                    841 BEECH ST                                                                                     LAKE ODESSA     MI    48849‐9431
MICHAEL R PEARSON                                 PO BOX 3676                                                                                      WARREN          OH    44485‐0676
MICHAEL R PENNINGTON                              1968 JACKSON RD                                                                                  VANDALIA        OH    45377‐9527
MICHAEL R PETERS                                  9370 WILBER HWY                                                                                  EATON RAPIDS    MI    48827‐9322
MICHAEL R PETERS CUST JOSEPH S PETERS UGMA TX     2600 TECKLA                                                                                      AMARILLO        TX    79106‐6047

MICHAEL R PETIPRIN                                5427 WILLIAMETTE COURT                                                                           LAPEER          MI    48446‐8016
MICHAEL R PHIPPS                                  3800 SUGAR LANE                                                                                  KOKOMO          IN    46902‐4488
MICHAEL R PICKARD                                 3225 E CYPRESS ST                                                                                PHOENIX         AZ    85008‐2912
MICHAEL R PIERCE                                  2302 AVENUE B                                                                                    BRADENTON BEACH FL    34217‐2215

MICHAEL R PIROZZOLO                               20 OAKDALE ST                                                                                    WINDERMERE      FL    34786‐8650
MICHAEL R PISZCOR                                 162 SECURITY DR                                                                                  WASHINGTON      PA    15301‐9222
MICHAEL R PUGH & ANDREA B PUGH TEN ENT            11 GROUND PINE PATH                                                                              ELKTON          MD    21921‐7659
MICHAEL R REED                                    672 N NEW DEXTER ST                                                                              IONIA           MI    48846‐1163
MICHAEL R REED                                    12307 W AQUEDUCT DRIVE                                                                           LITTLETON       CO    80127
MICHAEL R REYNOLDS                                248 MCNIEL DR                                                                                    MURFREESBORO    TN    37128‐4510
MICHAEL R RIMKIE & MRS JESSIE H RIMKIE JT TEN     70 WILEY LANE                                                                                    EASTHAM         MA    02642‐1683
MICHAEL R ROARK II                                10252 N 700 E                                                                                    INDIANAPOLIS    IN    46259‐9527
MICHAEL R ROOF                                    5 LOCUST GROVE CT                                                                                GROVELAND       IL    61535‐9765
MICHAEL R RYAN CUST ROBERT M RYAN UGMA MI         103 CARRINGTON AVENUE                                                                            PROVIDENCE      RI    02906‐2401
MICHAEL R SACKETT                                 PO BOX 4                                                                                         W MIDDLESEX     PA    16159‐0004
MICHAEL R SANDLER                                 856 WATSON AVE                                                                                   CALABASH        NC    28467
MICHAEL R SANFORD                                 6885 N M 65                                                                                      CURRAN          MI    48728‐9763
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MICHAEL R SCHNEIDER                               835 PORTAGE‐EASTERLY RD                                                                          CORTLAND        OH    44410‐9558
MICHAEL R SCHULTZ                                 1278 LONGHORN LN                                                                                 LINCOLN         CA    95648
MICHAEL R SCHUTT & JULIA G SCHUTT JT TEN          1350 ALA MORNA BLVD #2912                                                                        HONOLULU        HI    96814
MICHAEL R SCOTT                                   2503 BRECKENRIDGE DRIVE                                                                          ANN ARBOR       MI    48103‐6508
MICHAEL R SECORD                                  52556 WESTCREEK DR                                                                               MACOMB          MI    48042‐2966
                                                                                                                                                   TOWNSHIP
MICHAEL R SEGUIN                                  5718 N BERRY ST                                                                                  WESTLAND        MI    48185‐2237
MICHAEL R SHAW                                    11 ASHLEIGH CT                                                                                   LANSING         MI    48906‐1540
MICHAEL R SHELTON                                 198 WASHINGTON AVE                                                                               CAMDEN          TN    38320
MICHAEL R SHEPARD                                 10755 E MILLER RD                                                                                DURAND          MI    48429‐9415
MICHAEL R SHEREN                                  1032 EAST MANDEVILLIE                                                                            BURTON          MI    48529
MICHAEL R SHERMAN                                 10284 N BRAY ROAD                                                                                CLIO            MI    48420‐9774
MICHAEL R SIEGELE CUST ROBERT L SIEGELE UGMA MI   4088 SHOALES DR                                                                                  OKEMAS          MI    48864‐3467

MICHAEL R SMITH                                   44 SUMMERWOOD DR                                                                                 BIDWELL        OH     45614‐9297
MICHAEL R SNELLING                                8132 FRANKLIN TRENTON RD                                                                         FRANKLIN       OH     45005‐3968
MICHAEL R SOICH                                   4540 E ENCINAS AVE                                                                               GILBERT        AZ     85234
MICHAEL R SPORMAN                                 5594 MICHAEL DR                                                                                  BAY CITY       MI     48706‐3113
MICHAEL R STACHOWIAK JR                           6 PINERIDGE CT                          CAROLINA SHORES                                          CALABASH       NC     28467‐2569
MICHAEL R STANDOHAR                               3690 BRADLEY BROWNLEE RD                                                                         CORTLAND       OH     44410‐9733
MICHAEL R STEGER                                  619 CARDILE DR                                                                                   WEBSTER        NY     14580‐2358
MICHAEL R STIMAC                                  2001 24TH AVE                                                                                    MENOMINEE      MI     49858‐2019
MICHAEL R STORMS                                  PO BOX 24090                                                                                     NEW ORLEANS    LA     70184‐4090
MICHAEL R SUSKO                                   235 E WESTERN RESERVE RD                                                                         POLAND         OH     44514‐3345
MICHAEL R SZOKE & LORETTA ANN SZOKE JT TEN        55 FOX WOOD RUN                                                                                  MIDDLETOWN     NJ     07748‐2431
MICHAEL R TARITY JR                               2123 EDGEFIELD RD                                                                                TRENTON        SC     29847‐2233
MICHAEL R THEAKSTON                               C/O JON B MUNGER PLLC                   4345 MEIGS AVE SUITE A                                   WATERFORD      MI     48328‐3946
MICHAEL R THEIS                                   4691E S RANGE RD                                                                                 NEW MIDDLETOWN OH     44442‐9444

MICHAEL R THELEN                                  908 SHERWOOD CT                                                                                  ROCHESTER HLS   MI    48307‐2961
MICHAEL R THOMAS                                  1601 S 9TH                                                                                       BEECH GROVE     IN    46107‐2545
MICHAEL R THOMPSON                                5048 E STEVENSON COURT                                                                           INVERNESS       FL    34452‐7880
MICHAEL R TIPTON                                  774 MILLVILLEOXFORD RD                                                                           HAMILTON        OH    45013‐4306
MICHAEL R TOOLE                                   10 DELAVAN ST                                                                                    NEW BRUNSWICK   NJ    08901‐2825
MICHAEL R TRACEY                                  10 PAMELA DRIVE                                                                                  MECHANICSBURG   PA    17055‐1771
MICHAEL R TREVINO                                 3069 BEACHAM DRIVE                                                                               WATERFORD       MI    48329‐4503
MICHAEL R TRIMBLE                                 9925 MAINLANDS BLVD N                                                                            PINELLAS PARK   FL    33782‐4035
MICHAEL R TRIPP                                   7830 EMERALD RUN RD                                                                              MEDINA          OH    44256‐7757
MICHAEL R TROMBLEY                                PO BOX 613                                                                                       DUNN LORING     VA    22027‐0613
MICHAEL R ULRICH                                  395 HAMMOND RD                                                                                   STATHAM         GA    30666‐2437
MICHAEL R VAIL                                    2517 BAY ST                                                                                      CHARLOTTE       NC    28205‐6103
MICHAEL R VANOVER                                 43 OAK RDG E                                                                                     MONROE          MI    48161‐5767
MICHAEL R VANPATTEN                               951 NEW ROAD                                                                                     AMHERST         NY    14228‐1534
MICHAEL R VECCHIO CUST MICHAEL T VECCHIO UTMA     5 DON ROULSTON DR                                                                                SALEM           NH    03079‐1883
NH
MICHAEL R WALKER                                  9906 S ST RD9                                                                                    PENDLETON       IN    46064‐8910
MICHAEL R WARD                                    3415 PARALLEL RD                                                                                 MORAINE         OH    45439‐1211
MICHAEL R WASHINGTON                              151 AMITY ST                                                                                     SPENCERPORT     NY    14559‐1324
MICHAEL R WELLS                                   6180 MARTIN DRIVE                                                                                DURAND          MI    48429‐1721
MICHAEL R WERTZ & CATHERINE E WERTZ JT TEN        12255 PICRUS ST                                                                                  SAN DIEGO       CA    92129‐4111
MICHAEL R WEST                                    8719 DALE ROAD                                                                                   GASPORT         NY    14067‐9350
MICHAEL R WESTFALL & JEAN WESTFALL JT TEN         9007 CHESTER FOREST ST                                                                           AUSTIN          TX    78729‐4630
MICHAEL R WHEATON                                 701 GREENBRIAR WAY                                                                               SLIDELL         LA    70460‐5158
MICHAEL R WHITBECK                                1418 COUNTRY CLUB RD                                                                             SAN ANGELO      TX    76904
MICHAEL R WILSON                                  6505 N BROADWAY                                                                                  GLADSTONE       MO    64118‐3263
MICHAEL R WINGO                                   230 WALNUT TRACE CT                                                                              SIMPSONVILLE    SC    29681‐4762
MICHAEL RACH                                      1242 STATE ROUTE 14                                                                              DEERFIELD       OH    44411‐9701
MICHAEL RAFACH JR                                 591 BENNETT ST                                                                                   LUZERNE         PA    18709‐1331
MICHAEL RAGAN                                     4832 BRIERLY DRIVE W                                                                             WEST MIFFLIN    PA    15122‐1208
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MICHAEL RAMIREZ                                   1110 HUBBARD                                                                                   DETROIT           MI    48209‐2472
MICHAEL RATAJCZAK & MITZIE RATAJCZAK JT TEN       947 SHELLBARK WAY                                                                              THE VILLAGES      FL    32162‐4076
MICHAEL RAY MOORE                                 100 BARRINGTON CT                                                                              MADISON           MS    39110‐4507
MICHAEL RAY SEAR                                  4218 GULL RD                                                                                   LANSING           MI    48917‐4268
MICHAEL RAY SINGLEY                               PO BOX 865                                                                                     STERLINGTON       LA    71280‐0865
MICHAEL RAYMOND LEACH                             4545 WALZ RD                                                                                   JACKSON           MI    49201‐9689
MICHAEL RAYMOND PITCHER                           2876 PIERPONT BLVD                                                                             VENTURA           CA    93001‐4039
MICHAEL RECHT HEYISON                             8 BRISTOL RD                                                                                   WELLESLEY HILLS   MA    02481‐2727
MICHAEL REED                                      906 WEST AVENUE                                                                                NEW CASTLE        DE    19720‐6232
MICHAEL REHNER JR                                 1382 MOULIN                                                                                    MADISON HTS       MI    48071‐4832
MICHAEL REX MILES                                 1121 HIGHLAND DRIVE                                                                            KOKOMO            IN    46902‐6124
MICHAEL RHODES & WENDY L RHODES JT TEN            6045 DUMONT TRACE                                                                              ROSWELL           GA    30075‐6741
MICHAEL RICHARD DURKIN                            2676 INVITATIONAL DR                                                                           OAKLAND           MI    48363‐2455
MICHAEL RICHARD FLYNN                             1255 FRANKLIN ALEXANDER RD                                                                     ALEXANDER         IL    62601‐7022
MICHAEL RICHARD JOE                               9180 JACARANDA WY                                                                              GILROY            CA    95020‐7417
MICHAEL RIOS & SYLVIA RIOS JT TEN                 14888 SYDNEY AVE                                                                               FONTANA           CA    92336‐0629
MICHAEL RIVEIRO CUST KEVIN MICHAEL RIVEIRO UNIF   58 WAGG AVENUE                                                                                 MALVERNE          NY    11565‐1624
GIFT MIN CT NY
MICHAEL ROBERT ALLSUP                             514 N ALEX RD                                                                                  DAYTON            OH    45449‐1328
MICHAEL ROBERT ELIZONDO                           79 CORTEZ AVE                                                                                  RANCHO VIEJO      TX    78579
MICHAEL ROBERT FRANK                              7092 DUFFY ST                                                                                  COLUMBUS          OH    43235‐2120
MICHAEL ROBERT FRANKS                             7509 KERFIELD DR                                                                               GALENA            OH    43021‐8129
MICHAEL ROBERT GRUNTHANER                         3335 WOODS CREEK LN                                                                            ALGONQUIN         IL    60102‐4417
MICHAEL ROBERT MCCARTHY                           834 BOULDER PRIVADO                                                                            ONTARIO           CA    91762‐6802
MICHAEL ROBINSON                                  331 STATION RD                                                                                 HIGHLAND          NY    12528‐2422
MICHAEL RODGERS BOXWELL CUST CHRISTIAN            6208 JAMESON RD                                                                                AMARILLO          TX    79106‐3519
BARTLETT BOXWELL UGMA TX
MICHAEL ROETZER SR                                45 TERRY LANE                                                                                  CHEEKTOWAGA       NY    14225‐1339
MICHAEL ROGAWSKI                                  2237 SIERRA BLVD                                                                               SACRAMENTO        CA    95825
MICHAEL ROGER MCCULLOCH                           483 WALES DR                          PORT ELGIN ON                          N0H 2C1 CANADA
MICHAEL ROLLINGS                                  1030 RIPSTEELE RD                                                                              COLUMBIA          TN    38401‐7745
MICHAEL ROMAN BUSCHOR                             35 W BRUCE AVE                                                                                 DAYTON            OH    45405‐2715
MICHAEL ROMAN JR                                  6876 TOBIK TRL                                                                                 CLEVELAND         OH    44130‐4513
MICHAEL ROMEO                                     4195 COLONIAL COURT                                                                            HOWELL            MI    48843‐9490
MICHAEL ROMY & MRS CATHERINE H ROMY JT TEN        3322 GOSPORT COURT                                                                             BLOOMINGTON       IN    47401‐4421

MICHAEL ROSETTI                                   8591 TULLAMORE DR                                                                              TINLEY PARK       IL    60477‐4497
MICHAEL ROSS                                      200 N 260 RD                                                                                   MOUNDS            OK    74047
MICHAEL ROSS & LAURIE ROSS JT TEN                 400 MARIPOSA AVE                      APT A                                                    SIERRA MADRE      CA    91024‐2300
MICHAEL ROSS CUST KAYLA SARIN UTMA MI             353 HARBOR CT                                                                                  AVON LAKE         OH    44012‐2488
MICHAEL ROTH                                      103 WIGSTON PL                        THORNHILL ON                           L4J 8C6 CANADA
MICHAEL ROTHMAN                                   829 APPLEBY ST                                                                                 BOCA RATON        FL    33487‐2444
MICHAEL ROTONDI                                   2 LILLIAN CRES                        NEWCATLE ON                            L1B 1G2 CANADA
MICHAEL ROY BRAY JR                               1229 FOXDEN RD                                                                                 APOPKA            FL    32712
MICHAEL ROY DENBO                                 211‐24 46TH RD                                                                                 BAYSIDE           NY    11361‐3318
MICHAEL ROY WALKER & CAROL JEAN WALKER JT TEN     508 RODNEY AVE                                                                                 FLUSHING          MI    48433‐1325

MICHAEL RUBBO                                     275 W DAVISBURG ROAD                                                                           HOLLY             MI    48442‐8660
MICHAEL RUBEL                                     BOX 421 BLVD STATION                                                                           BRONX             NY    10459‐0421
MICHAEL RUBYCZ                                    46 LENAPE DR                                                                                   NEW HOPE          PA    18938‐9282
MICHAEL RUSSCOL                                   5935 POCOL DRIVE                                                                               CLIFTON           VA    20124‐1326
MICHAEL RUSSO                                     822 PARSONS RD                                                                                 RIDGEWOOD         NJ    07450‐1137
MICHAEL RUSTICK CUST DANIEL RUSTICK UGMA MI       2440 SHAWN                                                                                     KALKASKA          MI    49646‐8948

MICHAEL RUTBERG & BARBARA H RUTBERG JT TEN        4 POMMEL LN                                                                                    BLUE BELL         PA    19422‐2428

MICHAEL RUTIGLIANO                                28 WILLOW RIDGE CT                                                                             SMITHTOWN         NY    11787‐1562
MICHAEL RYAN KING                                 50879 SHERWOOD DR                                                                              GRANGER           IN    46530‐8900
MICHAEL S ANDERSEN                                95 HOTCHKISS CIRCLE                                                                            PENFIELD          NY    14526‐1401
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MICHAEL S ANDERSON                                 9166 MCWAIN RD                                                                                 GRAND BLANC      MI    48439‐8005
MICHAEL S ANTHONY                                  313 WILLOW AVE                                                                                 WALNUTPORT       PA    18088
MICHAEL S ANTONICH                                 27244 RYAN RD                                                                                  WARREN           MI    48092‐5125
MICHAEL S BAIR                                     2150 HOOPS DR                                                                                  TOLEDO           OH    43611‐1812
MICHAEL S BALASH JR                                11217 RUSSELL ST                                                                               PLYMOUTH         MI    48170‐4480
MICHAEL S BARRON                                   1101 HERSCHEL AVE                                                                              CINCINNATI       OH    45208‐3112
MICHAEL S BEATTY                                   15015 SANDSTONE RD                                                                             GRAND HAVEN      MI    49417‐8974
MICHAEL S BECKER                                   N4268 OAK LN                                                                                   KAUKAUNA         WI    54130‐7272
MICHAEL S BERSCHBACK & KAREN A BERSCHBACK JT       1637 SWAN RD                          APT 3                                                    DE PERE          WI    54115‐4040
TEN
MICHAEL S BORTNICK                                 13435 PARALLEL AVE                                                                             KANSAS CITY      KS    66109‐3734
MICHAEL S BREEDLOVE                                397 BROADWELL AVE                                                                              UNION            NJ    07083‐9103
MICHAEL S BURKE                                    821 EAST 55TH ST                                                                               BROOKLYN         NY    11234‐1212
MICHAEL S BURROWS                                  19933 BALMORAL DR                                                                              MACOMB           MI    48044‐2846
MICHAEL S BUTKA JR                                 110 LAURELTON LN                                                                               CROSSVILLE       TN    38558‐2692
MICHAEL S CANNATA                                  9905 ASHLEY CT                                                                                 MENTOR           OH    44060‐7272
MICHAEL S CAPONI & MARY P CAPONI JT TEN            4125 HORSESHOE BND                                                                             MATTHEWS         NC    28104‐7799
MICHAEL S CARR                                     21 UNION ST                                                                                    WHARTON          NJ    07885‐2130
MICHAEL S CIANFICHI                                ATTN MICHAEL S ADAMS                  227 ACACIA RD                                            NEWBURY PARK     CA    91320‐4704
MICHAEL S CISNEROZ                                 13626 DRONFIELD AVE                                                                            SYLMAR           CA    91342‐1428
MICHAEL S CLEMONS & DONNA L CLEMONS JT TEN         3587 KNOLLWOOD HILL DR                                                                         RED BANK         TN    37415‐4721

MICHAEL S COCHRANE                                 1129 FEATHER HAWK DR                                                                           EL PASO          TX    79912‐7629
MICHAEL S COHEN & EILEEN COHEN JT TEN              106 DICKERSON AVE                                                                              NEWBURY PARK     CA    91320‐4323
MICHAEL S COHEN & JOSEPH COHEN JT TEN              106 DICKENSON AVE                                                                              NEWBURY PARK     CA    91320‐4323
MICHAEL S COLONE                                   165 W CAMBOURNE ST                                                                             FERNDALE         MI    48220‐1701
MICHAEL S CUNNINGHAM                               9910 N HIGHLAND PL                                                                             KANSAS CITY      MO    64155‐3785
MICHAEL S DAAR                                     17705 FOX POINTE                                                                               CLINTON TWP      MI    48038
MICHAEL S DANIEL                                   503 W WENGER ROAD                                                                              ENGLEWOOD        OH    45322‐2002
MICHAEL S DAVIS & CHRISTINA A DAVIS JT TEN         4504 REVERE DR                                                                                 VIRGINIA BEACH   VA    23456‐4801
MICHAEL S DIMITRI & MARION J DIMITRI JT TEN        4 INSBROOK CT                                                                                  HUNTINGTON       NY    11743‐4100
MICHAEL S EDGAR                                    2102 HILLCREST                                                                                 LANSING          MI    48910‐0313
MICHAEL S ENDRES                                   5555 N 150 W                                                                                   LEBANON          IN    46052‐9327
MICHAEL S EPPES                                    324 N LARCH AVE                                                                                ELMHURST         IL    60126‐2312
MICHAEL S FARRELL                                  50 BOCKET RD                                                                                   PEARL RIVER      NY    10965‐2801
MICHAEL S FARRES & ROSE FARRES JT TEN              10480 GRETLER PL                                                                               LA MESA          CA    91941‐6937
MICHAEL S FARRES TR UA 08/07/87 MICHAEL S FARRES   10480 GRETLER PL                                                                               LA MESA          CA    91941‐6937

MICHAEL S FELDMAN                                  72 BOULEVARD                                                                                   GLEN ROCK        NJ    07452‐2002
MICHAEL S FLOOD TOD ETHAN CRAMER‐FLOOD             5709 29TH AVE S                                                                                GULFPORT         FL    33707‐5203
MICHAEL S FYLAN                                    2460 ROCHESTER RD                     PO BOX 135                                               LAKEVILLE        MI    48366‐0135
MICHAEL S FYLAN & MARIA E FYLAN JT TEN             2460 ROCHESTER RD                     PO BOX 135                                               LAKEVILLE        MI    48366‐0135
MICHAEL S GIBSON                                   3717 BAILES ST                                                                                 BONITA SPGS      FL    34134‐7542
MICHAEL S GONDA & CHERYL A GONDA JT TEN            6113 HEARTSIDE DRIVE                                                                           TROY             MI    48098‐5367
MICHAEL S GOODMAN                                  897 RIVERSIDE STREET                                                                           VENTURA          CA    93001‐1682
MICHAEL S GRABLICK                                 5472 CANNONSBURG RD                                                                            GRAND BLANC      MI    48439‐9108
MICHAEL S GRABOWSKI                                2177 HORTON WAY                                                                                LEWISBURG        TN    37091
MICHAEL S HAAS                                     2401 N LIBERTY                                                                                 MUNCIE           IN    47303‐1818
MICHAEL S HAMILTON                                 5032 WILLOWBEND DRIVE                                                                          MURFREESBORO     TN    37128‐3728
MICHAEL S HEBEL                                    1555 FRANCISCO ST                                                                              SAN FRANCISCO    CA    94123‐2206
MICHAEL S HEID                                     PO BOX 6010                                                                                    DAYTON           OH    45405‐1010
MICHAEL S HENSEY                                   3659 MARTZ ST                                                                                  SIMI VALLEY      CA    93063‐1098
MICHAEL S HENSLEY                                  2608 W POST OAK RD                                                                             OLATHE           KS    66061‐6843
MICHAEL S HOLLIDAY                                 4307 MILLER RD                                                                                 SANDUSKY         OH    44870‐8393
MICHAEL S HORVATH                                  274 MILLS PLACE                                                                                NEW LEBANON      OH    45345
MICHAEL S JACKSON                                  184 LINCOLN ST                                                                                 FRANKLIN         MA    02038‐1586
MICHAEL S JENKINS                                  6122 ACUFF                                                                                     SHAWNEE          KS    66216‐1528
MICHAEL S JEZERSKI                                 97 N WEST MAIN ST                                                                              EAST DOUGLAS     MA    01516‐2209
MICHAEL S JOANETTE                                 8485 RIVERSIDE RD                                                                              BROOKLYN         MI    49230‐8351
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MICHAEL S JOHNSON                                36 RAKVILLE CIR                                                                                BELLINGHAM        MA    02019‐2132
MICHAEL S KACHUTA                                4025 CRABAPPLE DR                                                                              MC KEES ROCKS     PA    15136‐1521
MICHAEL S KARPENKO                               107 VICTORIA CT                                                                                FRANKLIN          TN    37067‐4422
MICHAEL S KATES                                  11093 SW JJ HWY                                                                                ST JOSEPH         MO    64504‐8851
MICHAEL S KAURICH                                56688 PORTSMOUTH DR                                                                            SHEBY TOWNSHIP    MI    48316‐4840
MICHAEL S KEENAN                                 23 WOOD HILL RD                                                                                PITTSFORD         NY    14534‐1842
MICHAEL S KELLY                                  14170 SHAWNEE TRAIL                                                                            MIDDLEBURG        OH    44130‐4917
                                                                                                                                                HEIGHTS
MICHAEL S KENNEDY                                53201 SUZANNE                                                                                  SHELBY TWP        MI    48316‐2570
MICHAEL S KENNEDY & NORMAN G KENNEDY JT TEN      53201 SUZANNE                                                                                  SHELBY TWP        MI    48316‐2570

MICHAEL S KESSLER & LAURA LEE KESSLER JT TEN     2 MANNING DRIVE                                                                                EAST NORTHPORT    NY    11731‐5413
MICHAEL S KNAPP                                  656 MAPLEWOOD DR                                                                               BRUNSWICK         OH    44212‐1312
MICHAEL S KNIGHT & MRS SUSAN J KNIGHT JT TEN     400 LIVE OAK LN W                                                                              HAVANA            FL    32333‐1212

MICHAEL S KOLB                                   705 RAVINE AVE                                                                                 DEFIANCE          OH    43512‐3179
MICHAEL S KOVACH & CHARLOTTE S KOVACH JT TEN     110 CHAMBERLAIN DR                                                                             SHELTON           CT    06484‐2619

MICHAEL S KRAVITZ                                7434 JONQUIL TERRACE                                                                           NILES             IL    60714‐3104
MICHAEL S LANEHART                               74 HENRY WAY                                                                                   TIFTON            GA    31793
MICHAEL S LANGONE                                602 WILLIAM DR                                                                                 OVILLA            TX    75154‐3612
MICHAEL S LARKIN & LYNNETTE M LARKIN JT TEN      10 HILLARY FARM LN                                                                             SAINT PAUL        MN    55110
MICHAEL S LAWRENCE                               39715 MCKWSEY PT RD                                                                            DRUMMOND          MI    49726
                                                                                                                                                ISLAND
MICHAEL S LAWSON                                 16131 CLEVIDEN RD                                                                              CLEVELAND         OH    44112‐3601
MICHAEL S LEACH                                  3797 GROVE CITY RD                                                                             GROVE CITY        OH    43123‐3020
MICHAEL S LEWARK                                 PO BOX 34                                                                                      MARKLEVILLE       IN    46056‐0034
MICHAEL S LINDOW                                 3912 PINELAND RD                                                                               GLADWIN           MI    48624‐7940
MICHAEL S LINK                                   19249 98TH PLACE SOUTH                                                                         RENTON            WA    98055‐6348
MICHAEL S LYPKA                                  46991 RED OAK DR                                                                               NORTHVILLE        MI    48168‐1868
MICHAEL S LYPKA CUST MARK S LYPKA UTMA MI        46991 RED OAK DR                                                                               NORTHVILLE        MI    48168‐1868
MICHAEL S LYPKA CUST MATTHEW M LYPKA UGMA MI     46991 RED OAK DR                                                                               NORTHVILLE        MI    48168‐1868

MICHAEL S MAGER & RONALD T MAGER JT TEN          21225 MADISON                                                                                  ST CLAIR SHORES   MI    48081‐3392
MICHAEL S MAHANEY                                5175 W DEL RIO ST                                                                              CHANDLER          AZ    85226‐1944
MICHAEL S MARCHETTA                              6 COCONUT DR                                                                                   COMMACK           NY    11725‐1212
MICHAEL S MARCHETTA & TINA MARCHETTA JT TEN      6 COCONUT DR                                                                                   COMMACK           NY    11725‐1212

MICHAEL S MARTIN                                 301 MARPLEROAD                                                                                 BROOMALL          PA    19008‐2618
MICHAEL S MARTIN                                 635 S SEYMOUR RD                                                                               FLUSHING          MI    48433‐2621
MICHAEL S MARTIN                                 2414 N MACEDONIA                                                                               MUNCIE            IN    47303‐2343
MICHAEL S MARTIS                                 22291 MARLEEN DR                                                                               FAIRVIEW PARK     OH    44126‐2529
MICHAEL S MASE                                   2408 ROWENA LN                                                                                 KNOXVILLE         TN    37931‐3429
MICHAEL S MASTELLONE TR MICHAEL S MATELLONE      4102 WOODRIDGE DR                                                                              SANDUSKY          OH    44870‐7054
TRUST UA 12/13/96
MICHAEL S MASTROGIOVANNI                         816 EVANS WAY                                                                                  LADY LAKE         FL    32162‐6437
MICHAEL S MAYOR                                  2 WINDSOR CT                                                                                   ROCKY RIVER       OH    44116
MICHAEL S MAZUR                                  PO BOX 2354                                                                                    DAVIDSON          NC    28036‐5354
MICHAEL S MC COMBS                               2323 PINGREE                                                                                   HOWELL            MI    48843‐9682
MICHAEL S MC PHEE                                2504 BRADLEY RD                                                                                CLEVELAND         OH    44145‐1703
MICHAEL S MCGRATH                                1930W 1620 N                                                                                   LAYTON            UT    84041‐1449
MICHAEL S MCKOWN                                 42 WEST ST                                                                                     SHELBY            OH    44875‐1150
MICHAEL S MILLER                                 27 ELLIOT ST                                                                                   JANESVILLE        WI    53546‐2626
MICHAEL S MILLER & BARBARA K MILLER JT TEN       5981 THE BOWL                                                                                  COLUMBIA          MD    21045‐3830
MICHAEL S MOODY                                  665 11TH ST NW                                                                                 ALABASTER         AL    35007‐9460
MICHAEL S MURPHY                                 31 LOCKHART CIR                                                                                BUFFALO           NY    14228‐3728
MICHAEL S N MA                                   2279 38TH AVE                                                                                  SAN FRANCISCO     CA    94116
MICHAEL S NAMPA                                  18161 KIRKSHIRE AVE                                                                            BEVERLY HILLS     MI    48025‐3146
MICHAEL S NICHOLSON                              240 BLANCHARD ROAD                                                                             EL CAJON          CA    92020‐2703
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MICHAEL S NUSSBAUM                               1478 RIVERPLACE BLVD                  406                                                      JACKSONVILLE    FL    32207
MICHAEL S O MALLEY                               1405 S CRESCENT                                                                                PARK RIDGE      IL    60068‐5305
MICHAEL S OBRIEN                                 4348 HEDGTHORN CIRCLE                                                                          BURTON          MI    48509‐1257
MICHAEL S ORLEN                                  344 EVANSTON DR                                                                                EAST WINDSOR    NJ    08520‐5310
MICHAEL S ORLOFF                                 23261 VIA GUADIX                                                                               MISSION VIEJO   CA    92691‐2222
MICHAEL S OTTO                                   2424 PEBBLE BEACH DR                                                                           OAKLAND         MI    48363‐2445
MICHAEL S PALMER                                 15100 HORRIDGE                                                                                 KANSAS CITY     MO    64149
MICHAEL S PARR                                   6537 ALLEN RD                         ALLEN PARKS                                              ALLEN PARK      MI    48101
MICHAEL S PENINGTON & MRS SHARON LOUISE          6680 S DEXTER                                                                                  LITTLETON       CO    80121‐3223
PENINGTON JT TEN
MICHAEL S PETERS & MRS ELLYN L PETERS JT TEN     29519 GRAMERCY CT                                                                              FARMINGTON HILLS MI   48336‐1339

MICHAEL S PICKETT                                743 SPRINGHILL RD                                                                              MONROE          LA    71203‐9342
MICHAEL S PIPAN CUST ALLISON M PIPAN UTMA VA     11438 STONE MILL CT                                                                            OAKTON          VA    22124‐2031

MICHAEL S PIPAN SR                               11438 STONE MILL CT                                                                            OAKTON          VA    22124‐2031
MICHAEL S POCHE CUST AARON E POCHE UGMA IL       5509 CHANNEL ISLE                                                                              PLANO           TX    75093‐4818

MICHAEL S PODSEDLY                               11288 BIG CANOE                                                                                BIG CANOE       GA    30143‐5105
MICHAEL S PONIC                                  504 BIRMINGHAM AVE                    LASALLE ON                             N9J 3M5 CANADA
MICHAEL S POWELL                                 3835 WILLOUGHBY RD                                                                             HOLT            MI    48842‐9742
MICHAEL S PUKISH                                 1493 W CALIMYRNA AVE                                                                           FRESNO          CA    93711‐1916
MICHAEL S PUSTERLA CUST STEVEN A PUSTERLA UTMA   11 CHARLOTTE TER                                                                               WAYNE           NJ    07470‐3607
NJ
MICHAEL S RACKETT                                13 JADE HILL RD                                                                                AUBURN          MA    01501‐3214
MICHAEL S READING                                1189 KNOWLING LOOP RD                                                                          TALBOTT         TN    37877‐3309
MICHAEL S REED                                   BOX 34                                                                                         OAKWOOD         GA    30566‐0001
MICHAEL S REKERS                                 333 E CEDAR WAPSI                                                                              WATERLOO        IA    50703‐9429
MICHAEL S RENEHAN                                1311 S JEFFERSON                                                                               LOCKPORT        IL    60441
MICHAEL S RENN                                   1900 OTOE                                                                                      LINCOLN         NE    68502‐4640
MICHAEL S ROBERTS                                3716 HULL ROAD                                                                                 HURON           OH    44839‐2124
MICHAEL S ROSENBAUM                              4445 PLAYER RD                                                                                 CORONA          CA    92883‐0677
MICHAEL S ROSENCRANS                             4409 FAIRFIELD DR                                                                              JANESVILLE      WI    53546‐3312
MICHAEL S ROSOFF                                 19050 COLIMA #117                                                                              ROWLAND HGTS    CA    91748‐2924
MICHAEL S SANDERS                                1844 BLUE HILL DRIVE NORTH EAST                                                                GRAND RAPIDS    MI    49525‐1153
MICHAEL S SCHULTZ                                9119 GREGORY LANE                                                                              PLYMOUTH        MI    48170‐3952
MICHAEL S SCHWARTZ                               C/O SAAB AUTO TROLLHATTAN             PO BOX 9022                                              WARREN          MI    48090‐9022
MICHAEL S SCLAFANI                               44361 PENTWATER                                                                                CLINTON TWP     MI    48038
MICHAEL S SEELY                                  6055 PONTIAC LAKE ROAD                                                                         WATERFORD       MI    48327‐1848
MICHAEL S SIKORA                                 7178 OPAL DR                                                                                   LIVERPOOL       NY    13088‐5428
MICHAEL S SIMON                                  99 SLEEPY HOLLOW LANE                                                                          BELLE MEAD      NJ    08502‐4517
MICHAEL S SPEARS & YOLANDA R SPEARS JT TEN       404 NORMANDY LN                                                                                ROCKWALL        TX    75032‐6621
MICHAEL S SPENCER                                301 NW 63RD ST                        APT 103                                                  KANSAS CITY     MO    64118‐3818
MICHAEL S STAFFORD                               2368 STERLING VALLEY RD                                                                        MORRISVILLE     VT    05661‐8836
MICHAEL S STAFINIAK                              345 DIAMOND ST                        APT 1                                                    SLATINGTON      PA    18080‐1523
MICHAEL S TRIERWEILER                            510 LOOKINGLASS AVE                                                                            PORTLAND        MI    48875‐1243
MICHAEL S TROWSSE                                779 E MANSFIELD AVE                                                                            PONTIAC         MI    48340‐2951
MICHAEL S UHLIN                                  19 E QUERRY ST                                                                                 NEWTON FALLS    OH    44444‐1640
MICHAEL S UMPLEBY                                1544 GLEANER HALL CIRCLE                                                                       ANN ARBOR       MI    48105‐9202
MICHAEL S UTT                                    111 N CHARLOTTE ST                                                                             INDEPENDENCE    MO    64054‐1333
MICHAEL S VERNACI & CAROL J VERNACI JT TEN       30601 WATKINS COURT                                                                            UNION CITY      CA    94587
MICHAEL S VOGEL                                  2210 ROBINWOOD AVE                                                                             TOLEDO          OH    43620‐1019
MICHAEL S WELLS                                  PO BOX 4044                                                                                    YOUNGSTOWN      OH    44515‐0044
MICHAEL S WIENER                                 964 E 28TH ST                                                                                  BROOKLYN        NY    11210‐3730
MICHAEL S YOUNG                                  27 OXFORD AVE#1                                                                                DUDLEY          MA    01571‐3218
MICHAEL S ZORETICH                               2208 POINT WOOD ROAD                                                                           FORT WAYNE      IN    46818‐8821
MICHAEL SACCOCCIA                                3 KILLARNEY RD                        RR 1                 ENNISMORE ON      K0L 1T0 CANADA
MICHAEL SACKERMAN                                188 SIXTH ST                                                                                   HARRISON        NJ    07029‐1839
MICHAEL SAMAN JR                                 90 TUTTLE RD                                                                                   BRISTOL         CT    06010‐7173
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MICHAEL SARNECKI                               HOEHNWEG 1 A                           EGELSBACH                              GERMANY
MICHAEL SAROKIN                                3940 TAHOE STREET                                                                                COMMERCE          MI    49390
                                                                                                                                                TOWNSHIP
MICHAEL SAVAGE                                 1138 20TH ST UNIT 14                                                                             SANTA MONICA      CA    90403
MICHAEL SAWINA                                 9 HOSTA CT                                                                                       WILMINGTON        DE    19808‐1953
MICHAEL SCAGNELLI & MRS HANNELORE SCAGNELLI JT 330 CHEESTANA WAY                      LOUD0N                                                    LOUDON            TN    37774
TEN
MICHAEL SCALIA                                 610 BENHAM COURT                       CLEAR VIEW RIDGE                                          NEWARK            DE    19711‐6015
MICHAEL SCARPELLINO                            36 CRANBERRY CT B                                                                                RED BANK          NJ    07701‐6720
MICHAEL SCHAEFER                               2729 PARSONS RUN CT                                                                              HENDERSON         NV    89074
MICHAEL SCHAFFRANEK                            8251 STATE ROUTE 61                                                                              GALION            OH    44833‐9030
MICHAEL SCHAIBLE                               9809 FREMONT AVE N                                                                               SEATTLE           WA    98103‐3142
MICHAEL SCHAN                                  2889 24TH ST                           APT 2                                                     SAN FRANCISCO     CA    94110
MICHAEL SCHENCK                                822 EAST GRAHAM ST                                                                               SHELBY            NC    28150‐6008
MICHAEL SCHOCHER                               WIESENWEG 7                            SUHR                                   5034 SWITZERLAND
MICHAEL SCHOOK                                 3395 BROOKSHIRE DR                                                                               SYRACUSE          UT    84075‐9841
MICHAEL SCHOOLING                              174 CENTENNIAL AVE                                                                               CHICO             CA    95928‐9123
MICHAEL SCHRANK                                21231 ALUM ROCK FALLS RD                                                                         SAN JOSE          CA    95127‐1339
MICHAEL SCHROERS                               320 PINECREST DR                                                                                 METAMORA          IL    61548‐9128
MICHAEL SCHUETTE CUST CHRISTOPHER M SCHUETTE   1981 BLOOMFIELD OAKS DR                                                                          WEST BLOOMFIELD   MI    48324‐1295
UGMA MI
MICHAEL SCHUETTE CUST CHRISTOPHER SCHUETTE     1981 BLOOMFIELD OAKS                                                                             WEST BLOOMFIELD MI      48324‐1295
UTMA MI
MICHAEL SCHUETTE CUST MARK G SCHUETTE UGMA MI 1981 BLOOMFIELD OAKS DR                                                                           WEST BLOOMFIELD MI      48324‐1295

MICHAEL SCHUETTE CUST MARK SCHUETTE UTMA MI    1981 BLOOMFIELD OAKS                                                                             WEST BLOOMFIELD MI      48324‐1295

MICHAEL SCHUETTE CUST MEREDITH LEE SCHUETTE    1981 BLOOMFIELD OAKS DR                                                                          WEST BLOOMFIELD MI      48324‐1295
UGMA MI
MICHAEL SCHULMAN                               267 SCHOOL ST                                                                                    W HEMPSTEAD       NY    11552‐2438
MICHAEL SCOTT                                  72 LAKECREST TRAIL                     BRAMPTON ON                            L6V 4V1 CANADA
MICHAEL SCOTT BELL                             38 BARGER STREET                                                                                 PUTNAM VALLEY     NY    10579‐3405
MICHAEL SCOTT BERLANT                          PO BOX 5837                                                                                      GLEN ALLEN        VA    23058‐5837
MICHAEL SCOTT CLAWSON & WANDA G CLAWSON JT     139 PILGRIM                                                                                      BIRMINGHAM        MI    48009‐1254
TEN
MICHAEL SCOTT CUST CHRISTINE LAUREANA SCOTT    1456 BIRCHCREST LN                                                                               CHARLOTTESVILLE   VA    22911‐8285
UTMA VA
MICHAEL SCOTT CUST KATHERINE MICHELLE SCOTT    1456 BIRCHCREST LN                                                                               CHARLOTTESVILLE   VA    22911‐8285
UTMA VA
MICHAEL SCOTT GOODMAN                          1801 S US HIGHWAY 1                    APT 5B                                                    JUPITER           FL    33477‐7312
MICHAEL SCOTT HARPER                           10771 COUNTY RD 212                                                                              TYLER             TX    75707‐3405
MICHAEL SCOTT KLOSSMAN                         8 RED CLOUD CIR                                                                                  ROYERSFORD        PA    19468‐3020
MICHAEL SCOTT MC JILTON                        5969 BURNA VISTA AVE                                                                             OAKLAND           CA    94618‐2147
MICHAEL SCOTT SNYDER                           400 EAST 56TH ST APT 29N                                                                         NEW YORK          NY    10022‐4147
MICHAEL SCOTT WITMAN & KARENE WITMAN & SCOTT   314 DWIGHT ST                                                                                    WEST LAWN         PA    19609‐1339
L WITMAN JT TEN
MICHAEL SCOTT YAWITZ                           113 PAGANO ST                                                                                    NEW STANTON       PA    15672‐9781
MICHAEL SEIDER                                 1395 BRIARHILL DRIVE                                                                             AKRON             OH    44333‐1167
MICHAEL SEMAN JR                               1429 SANS SOUCI PKWAY                                                                            WILKES BARRE      PA    18706
MICHAEL SENEW CUST BRUK SENEW UTMA NC          10900 BRASS KETTLE RD                                                                            RALEIGH           NC    27614‐9536
MICHAEL SERRA                                  111 MCDONALD WAY                                                                                 OXFORD            PA    19363
MICHAEL SHAKER                                 68 VANDERBURGH AVE                                                                               RUTHERFORD        NJ    07070‐1040
MICHAEL SHANAHAN                               10209 COLECHESTER ST                                                                             FREDERICKSBURG    VA    22408‐9551
MICHAEL SHAWN SCHIFF                           11414 S OUTER 40 RD                                                                              FRONTENAC         MO    63131
MICHAEL SILBERNAGEL                            9616 MEDINA DR                                                                                   SANTTEE           CA    92071‐2030
MICHAEL SIMKINS                                1942 ROCKLAND DR NW                                                                              SALEM             OR    97304‐4350
MICHAEL SIRCOVITCH                             270BOULEVARD AVE                                                                                 KENILWORTH        NJ    07033‐1534
MICHAEL SITKOWSKI & REGINALD M SHIRES JT TEN   219 STONY LAKE DR                                                                                OXFORD            MI    48371
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MICHAEL SIVNKSTY JR                              RT 8 BOX 341                                                                                       FAIRMONT        WV    26554‐8733
MICHAEL SJ CUMING                                2604 BRUNSTON CT                                                                                   ROUND ROCK      TX    78681
MICHAEL SLABINA                                  AM KANAL 37/2/14                      1110 WIEN                                AUSTRIA
MICHAEL SMILEY & CATHERINE A SMILEY JT TEN       12485 WHALEN LAKE DR                                                                               HARTLAND        MI    48353‐1520
MICHAEL SMITH                                    928 AVENIDA MAJORCA                   APT Q                                                        LAGUNA WOODS    CA    92637‐4452
MICHAEL SMITH CUST HYADEN SMITH UTMA TX          6593 COUNTY ROAD 4097                                                                              KAUFMAN         TX    75142‐7157
MICHAEL SNITKOFF & MRS GLENDA SNITKOFF JT TEN    18624 MERRIDY                                                                                      NORTHRIDGE      CA    91324‐1503

MICHAEL SNYDER & MAUREEN J SNYDER JT TEN         6355 TORREY RD                                                                                     FLINT           MI    48507‐5905
MICHAEL SOAVE & KIM ELIZABETH SOAVE JT TEN       3110 SHADYDALE LANE                                                                                WEST BLOOMFIELD MI    48323‐1854

MICHAEL SOBRAN & SANDRA K SWINTECK & DENNIS M    3509 PARK HILL DRIVE                                                                               GREENSBORO      NC    27410
SOBRAN JT TEN
MICHAEL SOLMS                                    5740 EAST 600 SOUTH                                                                                GAS CITY        IN    46933‐9565
MICHAEL SOLOMON                                  10636 NW 49TH ST                                                                                   CORAL SPRINGS   FL    33076‐2702
MICHAEL SPADAFORA                                215 E GARDEN ST                                                                                    ROME            NY    13440‐4359
MICHAEL SPALLONE CUST EMILY A SPALLONE UTMA IL   PO BOX 3592                                                                                        PLACIDA         FL    33946‐3592

MICHAEL SPALLONE CUST ERIN M SPALLONE UTMA IL    PO BOX 3592                                                                                        PLACIDA         FL    33946‐3592

MICHAEL SPALLONE CUST JOHN F SPALLONE UTMA IL    PO BOX 3592                                                                                        PLACIDA         FL    33946‐3592

MICHAEL SPALLONE CUST KATHERINE R SPALLONE       PO BOX 3592                                                                                        PLACIDA         FL    33946‐3592
UTMA IL
MICHAEL SPALLONE CUST PETER J SPALLONE UTMA IL   PO BOX 3592                                                                                        PLACIDA         FL    33946‐3592

MICHAEL SPARACO                                  1352 RENSLAR AVE                                                                                   DAYTON          OH    45432‐3131
MICHAEL SPATARELLA                               583 UPLAND ST                                                                                      POTTSTOWN       PA    19464‐5194
MICHAEL SPEARNAK                                 425 BECKMAN DR                                                                                     MCKEESPORT      PA    15132‐7410
MICHAEL SPENCER ROBB                             9517 WINDY KNOLL                                                                                   DALLAS          TX    75243‐7561
MICHAEL SPERO JR CUST MICHAEL JOHN SPERO UGMA    46 BALFOUR LN                                                                                      RAMSEY          NJ    07446‐2606
NJ
MICHAEL SPERO JR CUST RACHEL SPERO UTMA NJ       46 BALFOUR LN                                                                                      RAMSEY          NJ    07446‐2606
MICHAEL SPIECE                                   125 LENOX DR                                                                                       COLUMBIA        TN    38401‐7203
MICHAEL SPILGER                                  2143 BROOKHURST DR                                                                                 EL CAJON        CA    92019‐2039
MICHAEL SPILTENER                                RM 4‐203                              2‐1‐19 HONCHO        YOKOSUKA KANAGAWA   JAPAN
MICHAEL SPINKS                                   816 DEEP LAKE DR NW                                                                                KENNESAW         GA   30144‐5129
MICHAEL SQUICCIARINI                             9 MADISON AVE                                                                                      FLEMINGTON       NJ   08822‐3301
MICHAEL STAHNTEN                                 89 REDWOOD LANE                                                                                    FREEHOLD         NJ   07728‐2959
MICHAEL STAMBAUGH                                8557 HENDERSON                                                                                     GOODRICH         MI   48438‐9778
MICHAEL STAMPLEY CHEVES                          101 MELLEN ROAD                                                                                    NEW BERN         NC   28562
MICHAEL STANKIEWICZ                              40 RIDGE COURT                                                                                     SARATOGA SPRINGS NY   12866‐9626

MICHAEL STANLEY NOWOSAD CUST CHRISTOPHER JOHN 601 THOMPSON LAKE AVE                                                                                 HOWELL          MI    48843‐1342
NOWOSAD UTMA MI
MICHAEL STAREGO JR                            PO BOX 15557                                                                                          CLEARWATER      FL    33766‐5557
MICHAEL STARON                                10849 HAYES RD                                                                                        CLARK LAKE      MI    49234‐9748
MICHAEL STEED                                 7100 WATERLOO DRIVE                      NIAGARA FALLS ON                         L2J 1E2 CANADA
MICHAEL STEEN CUST MARCUS STEEN UTMA CT       34 HIGH HILL RD                                                                                       BLOOMFIELD      CT    06002
MICHAEL STEEVES                               1997 S RIVER RD                                                                                       SAGINAW         MI    48609‐5364
MICHAEL STEFFY CUST BROOKE A STEFFY UGMA PA   6 CHAD CT                                                                                             LITITZ          PA    17543‐7980

MICHAEL STEPHAN TOTH                             5320 SYRACUSE                                                                                      DEARBORN HEIGHTS MI   48125‐2141

MICHAEL STEPHEN FERRELL                          280 CHALMERS ST                       REDFERN NSW                              2016 AUSTRALIA
MICHAEL STEPHEN KALLMAN                          160 W 85TH ST                                                                                      NY              NY    10024‐4409
MICHAEL STEPHEN REESE                            8530 CRIPPLE CREEK DRIVE                                                                           FRISCO          TX    75034‐5552
MICHAEL STEPHENS                                 4028 N LONG LAKE RD                                                                                TRAVERSE CITY   MI    49684
MICHAEL STEPHENSON                               4805 W 220TH ST                                                                                    FAIRVIEW PARK   OH    44126‐2601
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MICHAEL STEVE SZLAPAK                            4101 BAY VIEW RD                                                                                  BLASDELL         NY    14219‐2705
MICHAEL STEVEN ROSENBERG                         PO BOX 15                                                                                         LAKE HILL        NY    12448‐0015
MICHAEL STEVENS                                  2940 KESSLER BLVD EAST DRIVE                                                                      INDIANAPOLIS     IN    46220
MICHAEL STEVENS                                  9208 OLYMPIC VIEW DR                                                                              EDMONDS          WA    98020
MICHAEL STEWART CARLSON                          830 HILLCREST AVENUE SW             CALGARY AB                             T2T 0Y9 CANADA
MICHAEL STOIANOFF                                3620 AMERICAN WA 116                                                                              MISSOULA         MT    59808‐1381
MICHAEL STOUT                                    684 WASHINGTON ST #1A                                                                             NEW YORK         NY    10014‐2507
MICHAEL STRASMICH                                322 W 57TH ST                       APT 24N                                                       NEW YORK         NY    10019‐3711
MICHAEL STRENO & MARIA J STRENO JT TEN           1148 THOMAS 84 ROAD                                                                               EIGHTY FOUR      PA    15330‐2588
MICHAEL STUDNICKY CUST KELLY MARIE STUDNICKY     2938 ORCHARD TRAIL                                                                                TROY             MI    48098‐5416
UGMA MI
MICHAEL STUTLER                                  8073 SUMMIT POINT RD                                                                              CHARLESTOWN      WV    25414‐5015
MICHAEL SULLIVAN                                 1251 BEATTIE LANE                                                                                 SEBASTOPOL       CA    95472‐4460
MICHAEL SULLIVAN                                 6675 TAMMANY DR                                                                                   SHREVEPORT       LA    71107‐8639
MICHAEL SULLIVAN & MARTHA SULLIVAN JT TEN        80 SHAGBARK WY                                                                                    FAIRPORT         NY    14450‐8951
MICHAEL SVENTY JR                                70801 CARNEGIE LN                                                                                 BRUCE            MI    48065‐4266
MICHAEL SZYDLAK & HATTIE SZYDLAK JT TEN          38928 MAIN ST                                                                                     NEW BALTIMORE    MI    48047‐4246
MICHAEL T BARRETT                                1114 VASSAR DR                                                                                    KALAMAZOO        MI    49001‐4474
MICHAEL T BARRETT                                460 NANTUCKET PL N                                                                                VERMILION        OH    44089‐3281
MICHAEL T BARRY                                  912 LONGVIEW CIR                                                                                  ADAMSVILLE       AL    35005‐1005
MICHAEL T BASIL                                  10780 MILAND ROAD                                                                                 CLARENCE         NY    14032‐9213
MICHAEL T BAYBECK                                7177 BELL RD                                                                                      BIRCH RUN        MI    48415‐9093
MICHAEL T BEMIS                                  533 S MAIN ST                                                                                     NASHVILLE        MI    49073‐9565
MICHAEL T BOJKO                                  2690 DEEP FOREST WAY                                                                              FENNVILLE        MI    49408‐7617
MICHAEL T BOJKO & WANDA M BOJKO JT TEN           2690 DEEP FOREST WAY                                                                              FENNVILLE        MI    49408‐7617
MICHAEL T BONSER                                 1072 HAWTHORN RD                                                                                  ALLENTOWN        PA    18103‐4666
MICHAEL T BONVILLAIN                             3655 VENTURA CANYON AVENUE                                                                        SHERMAN OAKS     CA    91423‐4811
MICHAEL T BOWEN                                  PO BOX 806                                                                                        PHILADELPHIA     MS    39350‐0806
MICHAEL T BRADY                                  922 MORLEY AVE                                                                                    NIAGARA FALLS    NY    14305‐1548
MICHAEL T BRANIFF                                1121 HURD                                                                                         ORTONVILLE       MI    48462‐9769
MICHAEL T BUCARO                                 5929 DICKINSON TRAIL                LIBERTY TOWNSHIP                                              HAMILTON         OH    45011‐1251
MICHAEL T BURKE                                  2939 YALE DR                                                                                      JANESVILLE       WI    53545‐2796
MICHAEL T BURNETTE                               12396 SCHAFER RD                                                                                  CIBOLO           TX    78108‐4026
MICHAEL T BUTLER & THOMAS E BUTLER JT TEN        545 WILLOW DELL                                                                                   SENOIA           GA    30276‐1838
MICHAEL T BYRNE & JOHN M BYRNE JT TEN            15 WOODSHAW ROAD                                                                                  NEWARK           DE    19711‐7420
MICHAEL T CAREY                                  9682 UNION ST                                                                                     SCOTTSVILLE      NY    14546‐9776
MICHAEL T CATINO                                 186 EAST JAMES PLACE                                                                              ISELIN           NJ    08830‐1227
MICHAEL T CHEE                                   2431 ELLSWORTH APT 309                                                                            BERKELEY         CA    94704‐2168
MICHAEL T CHOP JR                                1223 CLARK ST                                                                                     MC KEESPORT      PA    15131‐2905
MICHAEL T CHRISMAN                               4592 CLINTON RD                                                                                   CLARKSTON        MI    48346‐3700
MICHAEL T CIMINELLO & KATHRYN W CIMINELLO JT TEN 2403 E ERIC DRIVE                                                                                 WILMINGTON       DE    19808‐4206

MICHAEL T CLIFFORD                              W 3545 WOODLAND DR                                                                                 LAKE GENEVA      WI    53147‐3316
MICHAEL T COUGHLIN                              1205 DAFFODIL CT                                                                                   N BRUNSWICK      NJ    08902‐5210
MICHAEL T CROFTCHECK                            38 GALE RD                                                                                         CAMP HILL        PA    17011‐2619
MICHAEL T DADE                                  1805 ALEXANDER ST                                                                                  SIMI VALLEY      CA    93065‐2201
MICHAEL T DAVIS                                 847 COLLEGE AVE                                                                                    SANTA CLARA      CA    95050‐5933
MICHAEL T DEAN                                  117 BLACKBEARD WAY                                                                                 FT MYERS BCH     FL    33931‐3423
MICHAEL T DECOURCY                              819 RIDGE STREET                                                                                   ST PAUL          MN    55116‐2220
MICHAEL T DILLON                                9338 SILVERSIDE DRIVE                                                                              SOUTH LYON       MI    48178‐8808
MICHAEL T DOUGLAS                               C/O FIRST NATIONAL BANK              BOX 18945                AL AIN        UNITED ARAB EMIRATES
MICHAEL T ELLSWORTH                             5346 W FARRAND RD                                                                                  CLIO             MI    48420‐8249
MICHAEL T ENSIGN                                500 LENA WAY                                                                                       LEBANON          TN    37087‐6544
MICHAEL T ERNST                                 1627 ELIZABETHS WALK                                                                               WINTER PARK      FL    32789‐5947
MICHAEL T FARRELL                               222 NEW CANAAN RD                                                                                  WILTON           CT    06897‐3318
MICHAEL T FEDERICO CUST LYNN MARIE FEDERICO     C/O LYNN MARIE WILLARD               701 CHOPMIST HILL ROAD                                        NORTH SCITUATE   RI    02857‐1053
U/THE RI U‐G‐M‐A
MICHAEL T FERENS                                1713 15 ST NW                                                                                      WASHINGTON       DC    20009
MICHAEL T FESTIAN                               46129 DONAHUE                                                                                      MACOMB           MI    48044
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MICHAEL T FLANIGAN                               54 MALVERNE CURVE                                                                               TONAWANDA       NY    14150‐8737
MICHAEL T FLOCK                                  5405 HERON TRL                                                                                  MIDDLETON       WI    53562‐5218
MICHAEL T GARDNER                                3631 W CHEW ST                                                                                  ALLENTOWN       PA    18104‐4529
MICHAEL T GIARRUSSO                              24 WEYBASSET ST                                                                                 METHEUN         MA    01844‐1532
MICHAEL T GILLAM                                 1719 MIDVALE RD                                                                                 SPRINGFIELD     OH    45504‐1357
MICHAEL T GLUK                                   2100 DEMONA DR                                                                                  AUSTIN          TX    78733‐1627
MICHAEL T GRAY                                   11045 THORTON DR                                                                                KNOXVILLE       TN    37922‐2925
MICHAEL T HACKETT                                1430 WILDCAT RD                                                                                 ST JOHNS        MI    48879‐9167
MICHAEL T HALABICKY                              5470 STIMSON RD                                                                                 DAVISON         MI    48423‐8782
MICHAEL T HART                                   4821 DAMAN AVE NW                                                                               WARREN          OH    44483
MICHAEL T HARTMAN                                101 BENT TREE DR                                                                                LANCASTER       PA    17603‐9437
MICHAEL T HARTMAN                                955 HOWARD AVE                         SPC 107                                                  ESCONDIDO       CA    92029
MICHAEL T HATTY CUST MICHELLE E HATTY UGMA MI    19951 WILLIAM COURT WEST                                                                        GROSSE POINTE   MI    48236‐2440

MICHAEL T HEGEDUS                                3428 LUCERNE AVE                                                                                PARMA           OH    44134‐2634
MICHAEL T HODGES                                 19749 GREENWALD DR                                                                              SOUTHFIELD      MI    48075
MICHAEL T HOGAN                                  13201 BROOKSHIRE PKWY                                                                           CARMEL          IN    46033‐4607
MICHAEL T HORGAN                                 6670 BERWYN                                                                                     DEARBORN HTS    MI    48127
MICHAEL T HURST                                  13956 REDWOOD DRIVE                                                                             SHELBY TWP      MI    48315‐6801
MICHAEL T JAROUS                                 10747 NIXON RD                                                                                  GRAND LEDGE     MI    48837‐8404
MICHAEL T JONES                                  212 MCARTHUR RD                                                                                 WOONSOCKET      RI    02895‐3840
MICHAEL T KICENUIK & MARYANN P KICENUIK JT TEN   51 GEIGER LN                                                                                    WARREN          NJ    07059‐6949

MICHAEL T KIESLER                                5199 CHAR MAR LANE                                                                              EVANSVILLE      IN    47720‐1907
MICHAEL T KISSEBERTH                             1702 W SAINT JOSEPH ST                                                                          LANSING         MI    48915‐1183
MICHAEL T KOSTAS                                 102 INDIAN HILL RD                                                                              WORCESTER       MA    01606‐2659
MICHAEL T KUCHARSKI & MRS MARY JO KUCHARSKI JT   16 W 480 TIMBERLAKE DRIVE                                                                       HINSDALE        IL    60521‐6159
TEN
MICHAEL T KUCIAK                                 830 N VAN NESS AVE 14                                                                           LOS ANGELES     CA    90038
MICHAEL T KUDO EX EST LARIE KUDO                 2237 W BELMONT                                                                                  CHICAGO         IL    60618
MICHAEL T LAIN                                   310 HIDDEN CREEK CIR                                                                            SPARTANBURG     SC    29306‐6672
MICHAEL T LARSEN                                 1508 ALEXANDER CT                                                                               BREA            CA    92821‐2744
MICHAEL T LAUINGER                               2500 FLINTRIDGE ST                                                                              LAKE ORION      MI    48359‐1530
MICHAEL T LAZOR                                  272 EAST 285TH                                                                                  WILLOWICK       OH    44095‐5026
MICHAEL T LONG                                   3334 E COAST HWY #503                                                                           CORONA DL MAR   CA    92625‐2328
MICHAEL T LUNDEN                                 1802 WILLOW CREEK DR                                                                            LANSING         MI    48917‐8872
MICHAEL T MAGES                                  1125 ELBERON AVE                                                                                CINCINNATI      OH    45205
MICHAEL T MC CARTHY                              10668 TRAILWOOD                                                                                 PLYMOUTH        MI    48170‐3855
MICHAEL T MC CLELLAN                             9003 GETTYSBURG LANE                                                                            COLLEGE PARK    MD    20740
MICHAEL T MC KEE                                 13116 WINCHESTER                                                                                HUNTINGTON      MI    48070‐1727
                                                                                                                                                 WOODS
MICHAEL T MCALLISTER                             8909 COLESBURY DR                                                                               RALEIGH         NC    27615‐3813
MICHAEL T MCDERMOTT                              520 SHERWOOD RD                                                                                 BELLEVUE        MI    49021‐9409
MICHAEL T MCGILL                                 2956 N VASSAR RD                                                                                FAIRGROVE       MI    48733‐9768
MICHAEL T MILLER                                 1005 WATER ST                                                                                   INDIANA         PA    15701‐1662
MICHAEL T MILLINGTON                             12294 CAMBRIDGE BLVD                                                                            SOUTH LION      MI    48178‐9579
MICHAEL T MONTPETIT                              2170 S LAKESHORE RD                                                                             APPLEGATE       MI    48401‐9630
MICHAEL T MOONEY                                 6311 SHAFTSBURY LANE                                                                            DUBLIN          OH    43017‐1736
MICHAEL T MOONEY                                 11073 OAKWOOD DR                                                                                BYRON           MI    48418‐9087
MICHAEL T MOURY                                  14570 PATTERSON DR                                                                              SHELBY TWP      MI    48315‐4929
MICHAEL T MURPHY                                 PO BOX 87                                                                                       DALEVILLE       IN    47334‐0087
MICHAEL T MURRAY                                 2140MAMMATUS DR.                                                                                SPARKS          NV    89441
MICHAEL T MURRAY & THERESA L MURRAY JT TEN       2140MAMMATUS DR.                                                                                SPARKS          NV    89441
MICHAEL T NEISS                                  509 FRUIT ST                                                                                    SOUTH HAVEN     MI    49090‐1908
MICHAEL T NESTICH                                1952 DONALD AVE                                                                                 YOUNGSTOWN      OH    44509‐1603
MICHAEL T O'NEILL                                8773 FOOTHILL                                                                                   MENTOR          OH    44060‐6916
MICHAEL T OCONNOR TR MICHAEL J OCONNOR U/DEC     1129 ALEXANDRIA ROAD SW                                                                         JACKSONVILLE    AL    36265‐3330
OF TRUST 7/7/59
MICHAEL T OVERDECK                               4211 LANCE COURT                                                                                KOKOMO          IN    46902‐4109
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Name                                             Address1                              Address2             Address3          Address4          City            State Zip

MICHAEL T PARR                                   8585 BABCOCK RD                                                                                BELLEVUE        MI    49021‐9406
MICHAEL T PIPER                                  4787 WEST M‐78                                                                                 PERRY           MI    48872‐9769
MICHAEL T PRATER                                 17048 FISH LAKE ROAD                                                                           HOLLY           MI    48442‐8367
MICHAEL T PREECS                                 26 MARTIN DR                                                                                   DANVILLE        IN    46122‐1501
MICHAEL T QUINN                                  313 S AIRPORT WA                                                                               MANTECA         CA    95337‐8427
MICHAEL T REAVES                                 33 MILDORF ST                                                                                  ROCHESTER       NY    14609‐7229
MICHAEL T ROBINSON                               54 COMMONWEALTH AVENUE                                                                         BUFFALO         NY    14216‐2720
MICHAEL T ROCCA                                  5861 E DUNCAN ST                                                                               MESA            AZ    85205‐6643
MICHAEL T RUSSELL                                247 STANTON ST                                                                                 RAHWAY          NJ    07065‐3123
MICHAEL T RUTECKI                                2401 MARINA ISLE WAY                  APT 503                                                  JUPITER         FL    33477
MICHAEL T SHUPE                                  508 S BRYAR ST                                                                                 WESTLAND        MI    48186‐3833
MICHAEL T SILBERT                                26 OLD DUTCH RD                                                                                WARREN          NJ    07059‐7164
MICHAEL T SIMPSON                                3600 BAL HARBOR BLVD                  APT 2J                                                   PUNTA GORDA     FL    33950‐8243
MICHAEL T SMITH                                  PO BOX 1632                                                                                    OCALA           FL    34478‐1632
MICHAEL T SMITH                                  579 TAWAS BEACH RD                                                                             EAST TAWAS      MI    48730‐9301
MICHAEL T SOMERO                                 118 HERITAGE PLACE                                                                             MT JULIET       TN    37122‐4409
MICHAEL T SUSKI                                  1977 AL HIGHWAY 36                                                                             MOULTON         AL    35650‐4539
MICHAEL T SWART                                  8012 DAFFODIL CT                                                                               SPRINGFIELD     VA    22152‐3422
MICHAEL T SWEENEY SR                             12045 WILSHIRE DR                                                                              NORTH           PA    15642‐9586
                                                                                                                                                HUNTINGDON
MICHAEL T VENTURA & GLORIA M VENTURA JT TEN      1071 TURNBERRY DR                                                                              SPARKS          NV    89436‐1817

MICHAEL T WALKER PERS REP EST HELEN KOSSAK       9130 41ST ST                                                                                   PINELLAS PARK   FL    33782‐5641
MICHAEL T WENTLAND                               219 MIAMI PL                                                                                   HURON           OH    44839‐1718
MICHAEL T WITHEROW                               1609 E ORANGEBURG AVE                                                                          MODESTO         CA    95355‐3236
MICHAEL T ZUCHOWSKI CUST THOMAS D ZUCHOWSKI      6404 BRECKSVILLE RD                                                                            INDEPENDENCE    OH    44131‐3406
UTMA OH
MICHAEL TAG & MOLLY TAG JT TEN                   1472 57TH ST                                                                                   BROOKLYN        NY    11219‐4619
MICHAEL TANNURA CUST SAMANTHA TANNURA UTMA       225 HAMPSHIRE                                                                                  NEW LENOX       IL    60451
IL
MICHAEL TARLING                                  97 COLONY LN                                                                                   NEW HAMPTON     NH    03256‐4512
MICHAEL TAYLOR                                   4460 DEERFIELD DR                                                                              ANTIOCH         CA    94531‐7638
MICHAEL TAYLOR                                   8610 BLACKBERRY                                                                                ANCHORAGE       AK    99502‐5333
MICHAEL TERRENCE BALSLEY                         2660 SUTHERLAND DR                                                                             THOMPSONS STN   TN    37179‐5070
MICHAEL TERRY & CHARLESETTA D TERRY JT TEN       18231 FILMORE                                                                                  SOUTHFIELD      MI    48075‐1861
MICHAEL TEUTSCH SR                               5704 KIRK RD                                                                                   CANFIELD        OH    44406‐8614
MICHAEL THOMAS DOWNS                             213 NORTH STAR ROAD                                                                            NEWARK          DE    19711‐2938
MICHAEL THOMAS MCGUIRE                           7450 BRADEN                                                                                    BYRON           MI    48418‐9713
MICHAEL THOMAS PARKER                            6514 YVETTE DR                                                                                 HUDSON          FL    34667‐1300
MICHAEL TIERNEY                                  1904 ALDERSBROOK RD                   LONDON ON                              N6G 3N5 CANADA
MICHAEL TILLES                                   920 OTIS DRIVE                                                                                 ALAMEDA         CA    94501‐5620
MICHAEL TIMMONS & ANN TIMMONS JT TEN             1919 OLD ILLINOISTOWN RD                                                                       COLFAX          CA    95713‐9203
MICHAEL TODD                                     RR 1 BOX 7                                                                                     NORMAN          IN    47264‐9801
MICHAEL TODD LANDESS & KRISTY L LANDESS JT TEN   2842 COUNTY LINE RD                                                                            SAINT JOSEPH    MO    64506‐4224

MICHAEL TRACZ                                    410 ELKINFORD                                                                                  WHITE LAKE      MI    48383‐2923
MICHAEL TRAPP & HOLLY TRAPP JT TEN               1378 LA BELLA AVENUE                                                                           SUNNYVALE       CA    94087
MICHAEL TRIPP CUST JANNA TRIPP UTMA GA           306 STONE ST                                                                                   WRENS           GA    30883
MICHAEL TRIPP CUST JONATHON TRIPP UTMA GA        306 STONE ST                                                                                   WRENS           GA    30833‐1155
MICHAEL TRIPP CUST SUMMERLYN TRIPP UTMA GA       306 STONE ST                                                                                   WRENS           GA    30833‐1155

MICHAEL TROTTER                                  7501 BLUFF SPRINGS RD 47                                                                       AUSTIN          TX    78744
MICHAEL TROXEL                                   2417 MORSE AVENUE                                                                              SACRAMENTO      CA    95825‐7807
MICHAEL TROY JAROUS & DEBORAH SUSAN JAROUS JT    10747 NIXON RD                                                                                 GRAND LEDGE     MI    48837‐8404
TEN
MICHAEL TRUEBA CUST MICHAEL TRUEBA III UTMA NJ   BOX 6181                                                                                       WEST CALDWELL   NJ    07007

MICHAEL TRUFFY                                   3 ALLEE DES ERABLES                   F95110 SANNOIS                         FRANCE
MICHAEL TUCK                                     38 ANDERSON RD                                                                                 SHERMAN         CT    06784‐1141
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MICHAEL TUCKER                                   21 HILLTOP ROAD                                                                                  PORT WASHINGTON NY      11050‐2725

MICHAEL TURNER CUST BEYSIA TURNER UTMA PA        1460 SILOAM ROAD                                                                                 CHAMBERSBURG      PA    17021
MICHAEL TURNER CUST HANNAH TURNER UTMA PA        1460 SILOAM ROAD                                                                                 CHAMBERSBURG      PA    17201‐7823

MICHAEL TURNER CUST KIRRA TURNER UTMA PA         1460 SILOAM ROAD                                                                                 CHAMBERSBURG      PA    17201‐7823
MICHAEL TURNER CUST MICHAEL TURNER II UTMA PA    1460 SILOAM ROAD                                                                                 CHAMBERSBURG      PA    17201‐7823

MICHAEL TURNEY CUST SHANNON Q TURNEY UTMA KY 1052 LAWTON RD                                                                                       PARK HILLS        KY    41011‐1930

MICHAEL UNGAR                                    477 27TH STREET                                                                                  SAN FRANCISCO     CA    94131‐1916
MICHAEL URCIUOLI                                 309 VALLEY ROAD                                                                                  CLIFTON           NJ    07013‐1346
MICHAEL URDANETA TOD MARGIE ECKHARDT LEIFHEIT    12 HAVPMEYER 3L                                                                                  BROOKLYN          NY    11211

MICHAEL V BELL & VIRGINIA BELL JT TEN            R R 3 10565 MILFORD RD                                                                           HOLLY             MI    48442‐8995
MICHAEL V CANDELLA & CLAUDIA C CANDELLA JT TEN   2612 S LOWE AVE                                                                                  CHICAGO           IL    60616‐2531

MICHAEL V CONNELLY 5010 PASEO DELAS TORTUGAS     4044 VIA SOLANO                                                                                  PALOS VERDES      CA    90274‐1171
                                                                                                                                                  ESTAT
MICHAEL V CRAWFORD                               11325 E BATH RD                                                                                  BYRON             MI    48418‐9111
MICHAEL V DAMP                                   84 HANCOCK ST                                                                                    ELLSWORTH         ME    04605‐2022
MICHAEL V FITZGERALD                             23 MACARTHUR RD                                                                                  NATICK            MA    01760‐2935
MICHAEL V GARDNER                                4522 OLD LANSING RD                                                                              LANSING           MI    48917‐4456
MICHAEL V HAMILTON                               648 PORTPATRICK PL                                                                               FORT MILL         SC    29708‐7916
MICHAEL V HENDERSON                              1347 GILBERT DR                                                                                  MINERAL RDIGE     OH    44440‐9746
MICHAEL V HUBERT                                 788 GILLOCK RD                                                                                   GLASGOW           KY    42141‐9657
MICHAEL V KELL                                   1851 RAYNALE                                                                                     BIRMINGHAM        MI    48009‐1139
MICHAEL V MAIORANA                               1969 78TH ST                                                                                     JACKSON HEIGHTS   NY    11370‐1307

MICHAEL V MCHENRY                                  808 PINEHURST DRIVE                                                                            WOODSTOCK         GA    30188‐1978
MICHAEL V METZGER                                  636 ONWENTSIA STREET                                                                           HIGHLAND PARK     IL    60035‐2030
MICHAEL V MICELI                                   11428 FAWN VALLEY TRAIL                                                                        FENTON            MI    48430‐4008
MICHAEL V MILANO                                   136 S KIMBERLY AVE                                                                             YOUNGSTOWN        OH    44515
MICHAEL V NELSON & JUDITH A NELSON JT TEN          1005 15TH ST SW                                                                                AUSTIN            MN    55912‐1713
MICHAEL V OLIVER                                   15959 FARMINGTON RD                                                                            LIVONIA           MI    48154‐2856
MICHAEL V PLACE                                    53 COUNTRY PLACE CT                                                                            XENIA             OH    45385‐8701
MICHAEL V PSAUTE                                   2008 E GORMAN RD                                                                               ADRIAN            MI    49221‐9655
MICHAEL V RIEMAN                                   1697 SR 613 RT #1                                                                              LEIPSIC           OH    45856‐9753
MICHAEL V SCHNEIDER                                216 W KENNETT                                                                                  PONTIAC           MI    48340‐2652
MICHAEL V STIGLIANESE & MRS ROSALIE STIGLIANESE JT 103 DURANT LANE                                                                                CLOSTER           NJ    07624‐1310
TEN
MICHAEL V STOELING                                 8614 WALDEN RIDGE DRIVE                                                                        CHARLOTTE         NC    28216‐1791
MICHAEL V STOGSDILL                                3208 CLIFTON AVE                      APT C                                                    SAINT LOUIS       MO    63139‐2300
MICHAEL V VETERI                                   2 CLIFF DR                                                                                     BAYVILLE          NY    11709‐1203
MICHAEL V WARD                                     9065 BRISTOL RD                                                                                SWARTZ CREEK      MI    48473‐8502
MICHAEL VACILA & RYAN HORVAY JT TEN                PO BOX 14                                                                                      WINSTED           CT    06098
MICHAEL VAGO                                       7065 W THORNAPPLE DRIVE                                                                        JANESVILLE        WI    53545‐8772
MICHAEL VARGO & BARBARA J VARGO JT TEN             823 CRYSTAL LANE                                                                               MERRYSVILLE       MI    48040‐1569
MICHAEL VASILCO JR & MRS KATHLEEN B VASILCO JT     4141 WESTPHAL ST                                                                               TRENTON           MI    48183‐3992
TEN
MICHAEL VAUGHN ANTLEY                              105 TOWERING OAKS CIR                                                                          WEST MONROE       LA    71291‐4743
MICHAEL VAUL                                       PO BOX 150                                                                                     WINIFRED          MT    59489‐0150
MICHAEL VENUTO                                     21 HIDDEN SPRINGS DR                                                                           MANTUA            NJ    08051‐1116
MICHAEL VEROMBECK & KEVIN VEROMBECK TEN COM 219 84TH STREET                                                                                       NIAGRA FALLS      NY    14304‐4309

MICHAEL VIGNALI CUST JOHN MICHAEL VIGNALI UTMA   3 HOLLY TREE LANE                                                                                GLEN COVE         NY    11542‐1627
NY
MICHAEL VIGNALI CUST MORGAN ELIZABETH VIGNALI    3 HOLLY TREE LANE                                                                                GLEN COVE         NY    11542‐1627
UTMA NY
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Name                                            Address1                              Address2                 Address3          Address4          City            State Zip

MICHAEL VINCZE                                 548 LYMAN AVE                                                                                       WOODBRIDGE      NJ    07095‐2312
MICHAEL VINH                                   882 S MAIN ST                                                                                       ATTLEBORO       MA    02703‐6221
MICHAEL VINOVRSKI                              121 ULLMAN STREET                                                                                   BUFFALO         NY    14207‐1150
MICHAEL VOSCHENKO                              16 SYDOR AVENUE                                                                                     JACKSON         NJ    08527‐3725
MICHAEL VOSSLER                                1 FRESH MEADOWS LN                                                                                  DARIEN          CT    06820‐3700
MICHAEL W ABBOTT                               112 CHESTNUT OAK LANE                                                                               CLEVELAND       GA    30528‐7508
MICHAEL W ADDISON                              552 TANVIEW DRIVE                                                                                   OXFORD          MI    48371‐4762
MICHAEL W AHEARN                               35 MUSQUASH RD                                                                                      HUDSON          NH    03051‐5015
MICHAEL W ALSGAARD                             10901 ROEDEL ROAD                                                                                   FRANKENMUTH     MI    48734‐9139
MICHAEL W ANDALORO & BEVERLY A ANDALORO JT TEN CROSS CREEK RANCH                      466 SHEPHERDS RANCH RD                                       BULVERDE        TX    78163‐3402

MICHAEL W ANDERS                                701 MARGARET ST                                                                                    CORUNNA         MI    48817‐1021
MICHAEL W ANDERSON                              PO BOX 204                                                                                         WEVERTOWN       NY    12886‐0204
MICHAEL W ANTOINE                               1110 E BRANCH HOLLOW                  #1004                                                        CARROLLTON      TX    75007‐1316
MICHAEL W ARUCK                                 PO BOX 161                                                                                         SHORTSVILLE     NY    14548‐0161
MICHAEL W ATKERSON                              4005 CEDAR HILLS SOUTH DR                                                                          GREENWOOD       IN    46143
MICHAEL W BAIR                                  1134 LIGHTSTREET ROAD                                                                              BLOOMSBURG      PA    17815‐9575
MICHAEL W BECKER & BABETTA A BECKER JT TEN      18311 BUCKHANNON                                                                                   ROSEVILLE       MI    48066‐4944
MICHAEL W BEDFORD                               7 DAVISON RD                                                                                       LOCKPORT        NY    14094‐3318
MICHAEL W BENDER                                1 RUE DE LA TOURETTE                  17450 FOURAS                               FRANCE
MICHAEL W BOWEN                                 906 RIVER RD                                                                                       FLUSHING        MI    48433‐2223
MICHAEL W BOYSON                                23901 COWHERD RD                                                                                   LEES SUMMIT     MO    64064‐2728
MICHAEL W BRADWAY                               1282 NIGHTFIRE CIR                                                                                 CASTLE ROCK     CO    80104‐7706
MICHAEL W BRAMAN                                1890 THUNDERBIRD                                                                                   SAGINAW         MI    48609‐9542
MICHAEL W BRINLEY                               BOX 17574                                                                                          TAMPA           FL    33682‐7574
MICHAEL W BROWN                                 72‐ST MICHAEL                                                                                      DANA POINT      CA    92629‐4131
MICHAEL W BURDETTE                              998 CASTLE HILL RD                                                                                 REDWOOD CITY    CA    94061‐1106
MICHAEL W BUSH                                  7574 MESTER RD                                                                                     CHELSEA         MI    48118‐9519
MICHAEL W BUTLER                                2212 SHADY MEADOW COURT                                                                            ARLINGTON       TX    76013‐5702
MICHAEL W CACACE & ANGELA CACACE JT TEN         50 KRETCH CIR                                                                                      WAPPINGERS      NY    12590‐5322
MICHAEL W CHAPMAN                               4807 ENGLISH AVE                                                                                   INDIANAPOLIS    IN    46201‐4710
MICHAEL W CLAPSADDLE                            PO BOX 15622                                                                                       DEL CITY        OK    73115
MICHAEL W CLAY                                  109 MULBERRY                                                                                       GEORGETOWN      IL    61846
MICHAEL W CODD                                  323 NICHOLAS AVE                                                                                   STATEN ISLAND   NY    10302‐1638
MICHAEL W COLEY                                 2304 SW 122ND ST                                                                                   OKLAHOMA CITY   OK    73170‐4826
MICHAEL W CULLY                                 245 BEACON LIGHT RD                                                                                RENFREW         PA    16053
MICHAEL W CUNKLE                                104 POWERS ST                                                                                      HOMER           MI    49245
MICHAEL W DAVIS                                 5326 WILLIAMSON ST                                                                                 CLARKSTON       MI    48346‐3559
MICHAEL W DAVIS                                 1632 COUNTY ROAD 1107A                                                                             CLEBURNE        TX    76031‐0817
MICHAEL W DE SHON & VICKIE J DE SHON JT TEN     11 SACKS ST                                                                                        GAS CITY        IN    46933
MICHAEL W DEUTERMAN                             29281 NORTH LOWER VALLEYB RD                                                                       TEHACHATI       CA    93561
MICHAEL W DOBRANSKY                             214 PINEHURST SE                                                                                   WARREN          OH    44484‐3187
MICHAEL W DOTY                                  2823 BRIDGESTONE CIR                                                                               KOKOMO          IN    46902‐7007
MICHAEL W DOUGLAS                               4800 ANDOVER CT                                                                                    BLOOMINGTON     IN    47404‐1223
MICHAEL W DUNN                                  6 PETER COURT                         RR 1                     GRAND VALLEY ON   L0N 1G0 CANADA
MICHAEL W DUNN                                  6 PETER COURT                         RR#1 GRAND VALLEY ON                       L0N 1G0 CANADA
MICHAEL W EDWARDS                               40439 FRANKLIN MILL ROAD                                                                           NOVI            MI    48375‐3612
MICHAEL W ELDON                                 5855 WYNDAM LANE                                                                                   BRIGHTON        MI    48116
MICHAEL W ENGLAND                               2001 NORTH SALEM DRIVE                                                                             INDEPENDENCE    MO    64058‐1329
MICHAEL W ERTELL & WILLIAM G ERTELL JT TEN      521 W DUKE DR                                                                                      TEMPE           AZ    85283‐1747
MICHAEL W FAIR CUST KYLIE M NELSON UTMA CA      5046 LAUDERDALE AVE                                                                                LA CRESCENTA    CA    91214‐1069
MICHAEL W FAIR CUST RACHEL LEMAY UTMA CA        5046 LAUDERDALE AVE                                                                                LA CRESCENTA    CA    91214‐1069
MICHAEL W FERGUSON                              81189 MARIPOSA CIR                                                                                 INDIO           CA    92201‐6624
MICHAEL W FERRIOLE                              31690 JOANN DR                                                                                     NEW BALTIMORE   MI    48047‐3001
MICHAEL W FLEISCHER                             1172 DANFORTH DR                                                                                   BATAVIA         IL    60510
MICHAEL W FLORES                                200 MATLOCK MEADOW DR                                                                              ARLINGTON       TX    76002‐3348
MICHAEL W GABBARD                               425 N 900 EST                                                                                      MARION          IN    46953‐9501
MICHAEL W GIGONE                                501 W SPRUCE ST                                                                                    LOUISVILLE      CO    80027‐2209
MICHAEL W GOHL                                  6195 KING ARTHUR DR                                                                                SWARTZ CREEK    MI    48473‐8808
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MICHAEL W GREGORY                               17 TROTTING DRIVE                                                                               CHESTER            NY    10918‐1138
MICHAEL W GRIMES                                4493 W FARRAND RD                                                                               CLIO               MI    48420‐8203
MICHAEL W GROVES                                4838 GISES POINT RD                                                                             HALE               MI    48739‐9132
MICHAEL W HAEDRICH & MICHELE LYNN HAEDRICH JT   193 WEST THOMPSON AVE                                                                           W ST PAUL          MN    55118‐2152
TEN
MICHAEL W HANKINS                               4362 E M 72 HWY                                                                                 GRAYLING           MI    49738‐9405
MICHAEL W HART                                  8869 S OAK PARK DR                     APT 6                                                    OAK CREEK          WI    53154‐3837
MICHAEL W HARTSUFF                              16400 UPTON RD LOT 147                                                                          EAST LANSING       MI    48823
MICHAEL W HARVEY                                1009 WILLOWDALE AVE                                                                             KETTERING          OH    45429‐4732
MICHAEL W HASKINS                               PO BOX 635                                                                                      STOCKBRIDGE        MI    49285‐0635
MICHAEL W HENDERSON & VENICE HENDERSON JT TEN   520 W 103TH STREET                     #311                                                     KANSAS CITY        MO    64114‐4503

MICHAEL W HILL                                  33335 STANTON RD                                                                                OSAWATOMIE       KS      66064‐7104
MICHAEL W HOBOLTH                               9057 HIDDEN OAKS DR                                                                             GRAND BLANC      MI      48439‐8099
MICHAEL W HOEPPNER                              PO BOX 13                                                                                       HIGGINSVILLE     MO      64037‐0013
MICHAEL W HOFFMANN                              642 KIMBALL AVE                                                                                 WESTFIELD        NJ      07090‐2447
MICHAEL W HUNT                                  2970 E 400 S                                                                                    PORTLAND         IN      47371‐8113
MICHAEL W HUNTWORK                              4781 HILLSBORO                                                                                  DAVISBURG        MI      48350‐3816
MICHAEL W IMBIROWICZ                            3861 HIDDEN CREEK CT                                                                            ROCHESTER        MI      48309‐1004
MICHAEL W JARY                                  37764 STABLE VIEW DR                                                                            FARMINGTON HILLS MI      48335‐1709

MICHAEL W JENNINGS                              427 N WALLACE                                                                                   INDIANAPOLIS       IN    46201‐3725
MICHAEL W KAHN                                  26339 STANWOOD AVE                                                                              HAYWARD            CA    94544‐3138
MICHAEL W KALIF & PHILIP A KALIF JT TEN         15 THOMAS RD                                                                                    BERKLEY            MA    02779‐2017
MICHAEL W KELCH                                 39459 DORCHESTER CIR                                                                            CANTON             MI    48188‐5017
MICHAEL W KENDRICK                              3813 MONTGOMERY                                                                                 DETROIT            MI    48206‐2315
MICHAEL W KENNEDY                               4504 IRON HORSE DR                                                                              LEAWOOD            KS    66224‐3676
MICHAEL W KERWIN                                17516 BIRCHCREST                                                                                DETROIT            MI    48221‐2735
MICHAEL W KORVUN                                5504 SALTAMONTE DR                                                                              NEW PRT RCHY       FL    34655‐1299
MICHAEL W KUNTZ                                 3860 MAGNOLIA LEAF LN                                                                           SUWANEE            GA    30024‐3942
MICHAEL W LANCE                                 323 DALTON RD                                                                                   STONEWALL          LA    71078‐9535
MICHAEL W LAWRENCE                              7 MUGGETT HILL RD                                                                               CHARLTON           MA    01507‐1323
MICHAEL W LE PERE                               12348 HYNE RD                                                                                   BRIGHTON           MI    48114‐9236
MICHAEL W LEE                                   43 PALOMINO CRESENT                    NORTH YORK TORONTO ON                  M2K 1W2 CANADA
MICHAEL W LIGHTHILL                             19967 NIVER ROAD                                                                                OAKLEY             MI    48649‐9709
MICHAEL W LITTLE                                8428 BUTTERNUT CREEK                                                                            MT MORRIS          MI    48458‐9771
MICHAEL W LUCAS                                 216 SHOAL CREEK CIR                                                                             LEXINGTON          SC    29072‐7274
MICHAEL W LYME                                  790 COVENTRY                                                                                    WHEELING           IL    60090
MICHAEL W MAGA                                  3140 SOUTH PEORIA STREET SUITE K231                                                             AURORA             CO    80014
MICHAEL W MAGDINEC                              10111 SOUTH HIGHLAND AVE                                                                        GARFIELD HEIGHTS   OH    44125‐5917

MICHAEL W MAGIERA                               PO BOX 141                                                                                      BURLINGTON         IL    60109‐0141
MICHAEL W MANUZAK                               614 ROSS DR                                                                                     PASADENA           MD    21122‐5152
MICHAEL W MARKEL                                12075 SANDY LANE                                                                                N JACKSON          OH    44451‐9637
MICHAEL W MARSH                                 2096 DARKS MILL RD                                                                              COLUMBIA           TN    38401‐7261
MICHAEL W MARTIN                                4353 N IRISH RD                                                                                 DAVISON            MI    48423‐8946
MICHAEL W MARTIN & JANICE M MARTIN JT TEN       3015 HEMLOCK ST                                                                                 LONGVIEW           WA    98632‐2759
MICHAEL W MAXA & CHRISTINE M MAXA JT TEN        12960 BALDWIN RD                                                                                CHESANING          MI    48616‐9498
MICHAEL W MC CARTHY                             18134 MONTEVERDE DR                                                                             SPRING HILL        FL    34610‐1683
MICHAEL W MC ELDERRY                            306 WOODBLUFF DR                                                                                LAFAYETTE          LA    70503‐4450
MICHAEL W MC LELLEN                             4925 WEATHERSTONE LN SE                                                                         KENTWOOD           MI    49508‐8435
MICHAEL W MCFARLAND                             21953 PINE HOLLOW LN                                                                            SOUTH BEND         IN    46628‐9513
MICHAEL W MCGINNIS                              836 NORTH HAMPTON DRIVE                                                                         NORCROSS           GA    30071‐3025
MICHAEL W MCQUADE                               72 PORTER ST                                                                                    STRATFORD          CT    06614
MICHAEL W MEYERS & EILEEN S MEYERS JT TEN       6204 BROOKSIDE ROAD                                                                             INDEPENDENCE       OH    44131
MICHAEL W MILLES & TRACEY S MILLES JT TEN       25 CONIFER DR                                                                                   BRANFORD           CT    06405‐3265
MICHAEL W MOLDOWAN                              58 HEMMINGWAY DR                       COURTICE ON                            L1E 2C6 CANADA
MICHAEL W MOORE                                 41 SUNSET DR                                                                                    SEVERNA PARK       MD    21146‐3229
MICHAEL W MOSLEY                                PO BOX 191                                                                                      LOGANVILLE         GA    30052‐0191
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MICHAEL W NALLEY                              3495 PLEASANT GROVE RD                 APT R                                                    CUMMING            GA    30040‐3749
MICHAEL W NEWTON                              PO BOX 1366                                                                                     VIENNA             IL    62995‐1366
MICHAEL W NIBLOCK                             1231 FM 3405                                                                                    GEORGETOWN         TX    78628‐4344
MICHAEL W NIXON                               2579 LORING RD NW                                                                               KENNESAW           GA    30152‐2332
MICHAEL W NOBLE                               9159 BRISTOL RD                                                                                 DAVISON            MI    48423‐8718
MICHAEL W OBERLANDER                          RR 5 DIVISION ST                                                                                METAMORA           IL    61548‐9805
MICHAEL W OCONNELL                            11313 S BARRY RD                                                                                BANNISTER          MI    48807‐9754
MICHAEL W OCONNOR                             4837 N PARKWAY                                                                                  KOKOMO             IN    46901‐3940
MICHAEL W ONEILL                              3221 WALNUT ST                         APT D                                                    LOS ALAMOS         NM    87544‐2093
MICHAEL W ORNEE                               1375 COUGAR RIDGE RD                                                                            BUELLTON           CA    93427‐9784
MICHAEL W OVERMAN                             3699 SOUTH 400 WEST                                                                             MARION             IN    46953‐9311
MICHAEL W PAGE                                11611 DANVILLE DRIVE                                                                            ROCKVILLE          MD    20852‐3715
MICHAEL W PAINE                               18504 E 690 RD                                                                                  TAHLEQUAH          OK    74464‐0239
MICHAEL W PENIX                               3211 NASHVILLE HWY                                                                              LEWISBURG          TN    37091‐6235
MICHAEL W PFROMM & CLAUDIA A PFROMM JT TEN    13944 KOLER                                                                                     STERLING HEIGHTS   MI    48313‐4242

MICHAEL W PHELPS                              5971 N RAINBOW DR E                                                                             BRAZIL             IN    47834‐8352
MICHAEL W POOLE                               5101 YORKSHIRE RD                                                                               DETROIT            MI    48224‐2136
MICHAEL W PREVETTE                            5070 MERIT DRIVE                                                                                FLINT              MI    48506‐2127
MICHAEL W REYNOLDS                            1920 FLOWERING TREE TERRACE                                                                     SILVER SPRING      MD    20902‐5816
MICHAEL W RILEY & ELIZABETH H RILEY JT TEN    PO BOX 3276                                                                                     KITTY HAWK         NC    27949‐5276
MICHAEL W ROBBINS                             4113 BELVEDERE DR                                                                               CHESAPEAKE         VA    23321‐5413
MICHAEL W ROBERTS                             706 PURITAN AVE                                                                                 LAWRENCEVILLE      NJ    08648‐4642
MICHAEL W ROBINSON                            BOX 114                                                                                         MELLOTT            IN    47958‐0114
MICHAEL W ROSS                                8 ELAINE DR                                                                                     BROAD BROOK        CT    06016
MICHAEL W ROTHSCHILD                          15 SHOSHONE                                                                                     BUFFALO            NY    14214‐1031
MICHAEL W RUSHING EX UW MARY LOUISE RUSHING   4312 COUNTRY LANE                                                                               GRAPEVINE          TX    76051‐6714

MICHAEL W S L MAYEUX                          34 OAK PL                                                                                       NEW IBERIA         LA    70563‐3087
MICHAEL W SANDS                               14153 TUSCOLA ROAD                                                                              CLIO               MI    48420‐8848
MICHAEL W SCHEMENAUR                          98 N DELEWARE LN                                                                                SOMERSET           IN    46984
MICHAEL W SCOLLON                             11538 E STONEY CREEK RD                                                                         PEWAMO             MI    48873‐9704
MICHAEL W SLUSSER                             790 MICHIGAN ST                                                                                 EATON RAPIDS       MI    48827‐1048
MICHAEL W SMITH                               366 S MARSHALL                                                                                  PONTIAC            MI    48342‐3432
MICHAEL W SMITH                               2576 PETERS ST                                                                                  LAKE ORION         MI    48359‐1146
MICHAEL W SMITH                               4300 AMBASSADOR BLVD NW                                                                         ST FRANCIS         MN    55070‐9713
MICHAEL W SMITHSON                            130 LAND LANE                                                                                   ANAHEIM            CA    92804‐2464
MICHAEL W SNOOK                               22340 US HIGHWAY 71                                                                             MARYVILLE          MO    64468‐7214
MICHAEL W SPANAKIS                            1787 ATLANTIC                                                                                   WARREN             OH    44483‐4111
MICHAEL W STACK                               4851 N 123RD ST                                                                                 KANSAS CITY        KS    66109‐3804
MICHAEL W STAHL                               641 S ROYSTON RD                                                                                EATON RAPIDS       MI    48827‐9095
MICHAEL W STALLINGS                           1728 S KINGSTON RD                                                                              DEFORD             MI    48729‐9761
MICHAEL W STANLEY                             27 STONERIDGE DR                                                                                ELVERSON           PA    19520
MICHAEL W STEPHANI                            267 CASSA LOOP                                                                                  HOLTSVILLE         NY    11742
MICHAEL W STEVENS                             13834 N0RTH 50TH STREET                                                                         SCOTTSDALE         AZ    85254‐2864
MICHAEL W STEWART                             1203 PITTS LOOP                                                                                 PONTOTOC           MS    38863‐9251
MICHAEL W STROHM                              1207 CEDAR LANE                                                                                 MARSHALL           IL    62441‐1966
MICHAEL W TAYLOR                              585 ANDREA CT                                                                                   HAMILTON           OH    45013
MICHAEL W TAYLOR                              1148 PINE ST                                                                                    ESSEXVILLE         MI    48732‐1436
MICHAEL W TEX                                 627 E MINNESOTA ST                                                                              INDIANAPOLIS       IN    46203‐3950
MICHAEL W THOMAS                              608 TRUMAN CIR                                                                                  VIENNA             VA    22180‐6422
MICHAEL W TIMMERMAN & MARY JO TIMMERMAN JT    1419 CORINTH RD                                                                                 LAWRENCEBURG       KY    40342‐9582
TEN
MICHAEL W TOBIAS                              12 SANDY DR                                                                                     NEW MIDDLETON      OH    44442‐8734
MICHAEL W TOLBERT                             1817 HAMLET DRIVE                                                                               YPSILANTI          MI    48198‐3610
MICHAEL W TWOHILL                             547 KEEPATAW DR                                                                                 LEMONT             IL    60439‐4357
MICHAEL W WADE                                1036 E MAPLE AVENUE                                                                             MIAMISBURG         OH    45342‐2514
MICHAEL W WALLACE & LAURA L WALLACE JT TEN    3035 LOON LAKE SHORES                                                                           WATERFORD          MI    48329‐4225
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MICHAEL W WELLS                                3106 MOYER DR                                                                                  FRANKLIN        OH    45005‐4835
MICHAEL W WING                                 12260 N DUFFIELD                                                                               MONTROSE        MI    48457‐9703
MICHAEL W YUNKER                               60572 RAILROAD                                                                                 NOTTAWA         MI    49075
MICHAEL W ZALEWSKI                             270 KING EDWARD APT 210               LEMOYNE QC                             J4R 2C5 CANADA
MICHAEL W ZENKO & DENISE M ZENKO JT TEN        2283 BOARDWALK AVE                                                                             GREEN BAY        WI   54311‐6365
MICHAEL W ZIMMERMAN                            5606 SCHENK ROAD                                                                               SANDUSKY         OH   44870‐9312
MICHAEL WADDELL                                333 WEBSTER APT 2                                                                              SAN FRANCISCO    CA   94117‐3535
MICHAEL WADE                                   18621 DEAN                                                                                     DETROIT          MI   48234‐2023
MICHAEL WALLER CUST BLAKE DANIEL WALLER UTMA   1148 JUNIOR ROAD                                                                               FRANKLIN FURNACE OH   45629‐8923
OH
MICHAEL WALSKI                                 334 CIRCLEWOOD LANE                                                                            WYOMING         OH    45215‐4109
MICHAEL WARD                                   703 LAUREL ROAD                                                                                CHARLESTON      WV    25314‐1108
MICHAEL WARD                                   2510 MANOR DR                         APT 3A                                                   FREDERICKSBRG   VA    22401‐7957
MICHAEL WARNING                                1230 PAYNE AVE                                                                                 NORTH           NY    14120‐2615
                                                                                                                                              TONAWANDA
MICHAEL WARREN BAIN                            2370 KIMBROUGH COURT                                                                           DUNWOODY        GA    30350‐5634
MICHAEL WARTKO JR                              1715 CHERRY BEND                                                                               HOUSTON         TX    77077‐4918
MICHAEL WASILEWSKI                             134 HOERNER AVE                                                                                BUFFALO         NY    14211‐2708
MICHAEL WATSON CUST NOAH J WATSON UTMA CA      7269 MINES RD                                                                                  LIVERMORE       CA    94550‐9192

MICHAEL WAXER                                  2020 12TH ST NW                       APT 616                                                  WASHINGTON      DC    20009‐4455
MICHAEL WAYNE CALIGURI                         5562 CASMERE                                                                                   WARREN          MI    48092‐3136
MICHAEL WAYNE DICE                             4705 NORTH HOLLYWOOD                                                                           MUNCIE          IN    47304‐1137
MICHAEL WAYNE FUNKHOUSER                       8744 E HIGHLAND AVE                                                                            SCOTTSDALE      AZ    85251‐1869
MICHAEL WAYNE KIRK STAHL                       2904 WYNSTONE DR                                                                               CHAMPAIGN       IL    61822
MICHAEL WAYNE RUTHERFORD                       1411 CORWIN RD                                                                                 OREGONIA        OH    45054‐9739
MICHAEL WAYNE STREETER                         929 E YORK                                                                                     FLINT           MI    48505‐6002
MICHAEL WAYNE SULLINS                          2178 N FARM ROAD 97                                                                            SPRINGFIELD     MO    65802‐9114
MICHAEL WELLS WELSH                            6 EVERGREEN CIR                                                                                DEKALB          IL    60115‐2214
MICHAEL WESCOTT LODER                          340 MAPLE BLVD DEER LAKE                                                                       ORWIGSBURG      PA    17961‐9619
MICHAEL WESTERFELD CUST BRANDON WESTERFELD     218 SKYVIEW CIR                                                                                DALTON          OH    44618‐9070
UGMA OH
MICHAEL WESTERFELD CUST JASON WESTERFELD UGMA 8619 SCENICVIEW DR                                                                              BROADVIEW       OH    44147‐3488
OH                                                                                                                                            HEIGHTS
MICHAEL WHITESELL                              12024 BODLEY PL                                                                                FISHERS         IN    46037‐3714
MICHAEL WHYTE MOORE                            254 PARK AVE                                                                                   PARK RIDGE      NJ    07656‐2443
MICHAEL WILHELM                                116 ROCKMOR LN                                                                                 YORKTOWN        VA    23693‐1914
MICHAEL WILLIAM CAMPBELL                       8766 JOEL COURT SE                                                                             SALEM           OR    97301‐9034
MICHAEL WILLIAM MELODY                         152 EATON GRANGE RD EAST                                                                       WARNER          NH    03278
MICHAEL WILLIAM SCHROEDER                      24050 POINTE DR                                                                                MACOMB          MI    48042‐5913
MICHAEL WILLIAM SHIVERDECKER                   98 NIMITZ DRIVE                                                                                RIVERSIDE       OH    45431‐1351
MICHAEL WILLIAM WILSON                         12124 LENNON RD                                                                                LENNON          MI    48449‐9707
MICHAEL WILLIAMS                               261 ADOLPH LN                                                                                  BRANCH          LA    70516‐3601
MICHAEL WILLIAMSON                             11407 COYLE                                                                                    DETROIT         MI    48227‐2456
MICHAEL WINSTON                                618 S MORRISH ROAD                                                                             FLUSHING        MI    48433‐2247
MICHAEL WINSTON & MRS SHIRLEY J WINSTON JT TEN 618 S MORRISH ROAD                                                                             FLUSHING        MI    48433‐2247

MICHAEL WINTERS                                15311 BRAUN CT                                                                                 MOORPARK        CA    93021‐3216
MICHAEL WOIAK                                  1420 E OAKS TRAIL                                                                              HOULTON         WI    54082‐2302
MICHAEL WOLF                                   4518 COASTAL PARKWAY                                                                           WHTIE LAKE      MI    48386‐1106
MICHAEL WOLF                                   4518 COASTAL PKWY                                                                              WHITE LAKE      MI    48386‐1106
MICHAEL WOLLIN                                 27 WAYSIDE RD                                                                                  WESTBOROUGH     MA    01581‐3620
MICHAEL WOOLLEY CUST CHRISTIAN DAVID WOOLLEY   84 ILEX DR                                                                                     NEWBURY PARK    CA    91320‐3353
UTMA
MICHAEL X LU                                   18 MELBOURNE RD                                                                                GREAT NECK      NY    11021‐4637
MICHAEL X MC INTOSH                            9827 PIERCE ST                                                                                 OMAHA           NE    68124‐1149
MICHAEL YAO                                    26 WESTWOOD RD                                                                                 TRUMBULL        CT    06611‐2810
MICHAEL YEAGER                                 1285 TIMBER RIDGE COURT                                                                        MILFORD         MI    48380‐3663
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Name                                              Address1                             Address2             Address3          Address4          City              State Zip

MICHAEL YENCSO & DORIS M YENCSO TR YENCSO FAM     1317 NOBLE CT                                                                                 LEESBURG          FL    34788‐7631
TRUST UA 03/27/97
MICHAEL ZAITLIN                                   521 GOSS ST                                                                                   ITHACA            NY    14850‐2954
MICHAEL ZALOPANYJ                                 7267 KINGSLEY                                                                                 DEARBORN          MI    48126‐1631
MICHAEL ZAMPATORI                                 18 LEAH LN                                                                                    N CHILI           NY    14514‐9746
MICHAEL ZANETAKIS                                 6529 E 85TH                                                                                   TULSA             OK    74133‐4145
MICHAEL ZDANOWSKI                                 131 W BROAD ST                                                                                HOPEWELL          NJ    08525‐1914
MICHAEL ZELKOVICH                                 7606 WESTWIND LANE                                                                            HOUSTON           TX    77071‐1421
MICHAEL ZEREBNY & JOAN ZEREBNY JT TEN             1275 POPPYFIELD PL                                                                            SCHERERVILLE      IN    46375‐1383
MICHAEL ZIDEL CUST MICHELLE E JONES UTMA CA       3913 15TH AVE S                                                                               MINNEAPOLIS       MN    55407‐2742
MICHAEL ZIENTARA                                  19 CHILLON DRIVE                                                                              LYNWOOD           IL    60411‐6715
MICHAEL ZIMMERMAN                                 2261 LAGO VENTANA                                                                             CHULA VISTA       CA    91914‐2071
MICHAEL ZIRIMIS & LOIS G ZIRIMIS JT TEN           178 BAKER AVE                                                                                 BERGENFIELD       NJ    07621‐3323
MICHAEL ZMIJSKI                                   951 WILLOWGATE DR                                                                             PROSPER           TX    75078‐8310
MICHAEL ZOLFO                                     2634 W 122ND ST                                                                               BLUE ISLAND       IL    60406‐1010
MICHAEL ZOLLO & SALLY ANN ZOLLO JT TEN            738 BLUE MT RD                                                                                SAUGERTIES        NY    12477
MICHAEL ZUCCARO                                   1898 BURRILL AVENUE                  NORTH VANCOUVER BC                     V7K 1M4 CANADA
MICHAELA A EDWARDS                                1427 LLOYD                                                                                    ROYAL OAK         MI    48073‐3963
MICHAELA B ZUERCHER                               17310 DARBY LN                                                                                LUTZ              FL    33558‐4856
MICHAELA B ZUERCHER CUST LINDSAY M BURNLEY        17310 DARBY LN                                                                                LUTZ              FL    33558‐4856
UTMA FL
MICHAELA B ZUERCHER CUST MELONIE ZUERCHER         17310 DARBY LN                                                                                LUTZ              FL    33558‐4856
UTMA FL
MICHAELA M WHITFIELD                              4764 ELLINGTON CT                                                                             MARIETTA          GA    30067‐1502
MICHAELA ZUERCHER CUST EMILY ZUERCHER UTMA FL     17310 DARBY LN                                                                                LUTZ              FL    33558‐4856

MICHAELA ZUERCHER CUST JOSEPH J ZUERCHER UTMA 17310 DARBY LN                                                                                    LUTZ              FL    33558‐4856
FL
MICHAELANNE GILLIES                              4315 WOODDALE AVE                                                                              MINNEAPOLIS       MN    55424‐1060
MICHAELE JAE WIEGERT                             302 WEST TYLER                                                                                 ALEXANDRIA        IN    46001‐1333
MICHAELEEN BOUDEMAN                              6 LINCOLN AVE                                                                                  LOCKPORT          NY    14094
MICHAELENA A PALMIERI                            5 VANCE COURT                                                                                  HAMILTON          OH    45015‐1957
MICHAELENE VAETH HARDWICK & JACK L HARDWICK      3 OAKRIDGE CT                                                                                  LUTHERVILLE       MD    21093‐5929
TEN ENT
MICHAELINE BARNHART                              410 PROSPECT ST                                                                                CHARLEVOIX        MI    49720‐1052
MICHAELKUT M MATHEWS                             5 DRYBRIDGE RD                                                                                 MEDWAY            MA    02053‐2164
MICHAELL HALL STRICKLAND                         104 PIRATES COVE                                                                               ST SIMONS IS      GA    31522‐5717
MICHAELLE JAMA FISHER                            2702 KIDD DR                                                                                   PANTEGO           TX    76013‐3251
MICHAL BRODAK                                    1356 MAINSAIL DR                      APT 1414                                                 NAPLES            FL    34114‐7825
MICHAL J RICHARDSON                              19715 W LOWER BUCKEYE RD                                                                       BUCKEYE           AZ    85326‐5646
MICHAL KOCAN                                     15 LINDEN RD                                                                                   POUGHKEEPSIE      NY    12603‐4128
MICHAL STEBBINS ELDER                            1537 BECKY LN                                                                                  BOULDER CITY      NV    89005‐3601
MICHAL T WACHSMANN                               15911 PINYON CREEK DR                                                                          HOUSTON           TX    77095‐3638
MICHALE J BINKOWSKI & BARBARA A BINKOWSKI JT TEN 16144 DARLENE DR                                                                               MACOMB            MI    48042‐1627

MICHALE OBRYAN                                    3557 CANNONADE LOOP N                                                                         OWENSBORO         KY    42303‐2403
MICHALE ZUZOLO                                    3483 CURTIS SE                                                                                WARREN            OH    44484‐3605
MICHARL J RICCO & JAMES M RICCO JT TEN            1322 MARTIN DR                                                                                FRANKFORT         MI    49635‐9763
MICHEAL B CATLIN                                  43 LINCOLN AVE                                                                                ASHBURNHAM        MA    01430‐1284
MICHEAL BRITT CUST FOB JOSEPH BRITT UTMA VA       533 SEXTON RD                                                                                 ELBERON           VA    23846‐2622
MICHEAL C CAPOROSSI                               3847 MEYERS STREET                                                                            SHREVEPORT        LA    71119‐7008
MICHEAL CIGNARELLA                                35 CASTLE RIDGE DR                                                                            EAST HANOVER      NJ    07936‐3547
MICHEAL D TRIPP                                   2302 NW 5TH ST                                                                                BLUE SPRINGS      MO    64014
MICHEAL DANIEL CILYK                              12101 BUTTONWOOD LANE                                                                         BALTIMORE         MD    21220‐1540
MICHEAL DEMEO                                     47 PROSPECT PLACE                                                                             BELLEVILLE        NJ    07109‐2526
MICHEAL H SCULLY                                  313 VELDE AVE                                                                                 PENNSAUKEN        NJ    08110
MICHEAL J KELLY                                   17350 L DRIVE NORTH                                                                           MARSHALL          MI    49068‐9410
MICHEAL J KROMER                                  4238 CREST KNOLL DR                                                                           GRAND BLANC       MI    48439‐2064
MICHEAL J LA BELLE & GRETCHEN LA BELLE JT TEN     7355 DORSET                                                                                   UNIVERSITY CITY   MO    63130‐2205
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MICHEAL J MUELLER CUST HEATHER E MUELLER UTMA    9454 NEWBRIDGE DR                                                                           POTOMAC            MD    20854‐4465
MD
MICHEAL J PARDEE                                 2213 AVON ST                                                                                SAGINAW            MI    48602‐3813
MICHEAL J PICHEL TR BERT PICHEL UA 12/13/92      320 N AURORA ST                                                                             ITHACA             NY    14850‐4202
MICHEAL J SHIELDS                                4 SAMOSET RD                                                                                WOBURN             MA    01801‐6128
MICHEAL J ULRICH & CAROLYN P ULRICH JT TEN       1396 HENDERSON RD                                                                           HOWELL             MI    48855‐8761
MICHEAL J WEAKS                                  305 GLENHURST DR                                                                            ROSCOMMON          MI    48653‐9244
MICHEAL JEFFERSON                                98 JEFFERSON DR                                                                             TRENTON            SC    29847‐2906
MICHEAL ONEAL                                    4925 JOCKS LN                                                                               AUSTELL            GA    30106‐1754
MICHEAL RAY PEARSON                              3530 EVERGREEN OAK COURT                                                                    RICHMOND           VA    23234‐4895
MICHEAL S POINTER                                804 BETHEL CHURCH RD                                                                        PIEDMONT           AL    36272‐6110
MICHEALLE WHEATON                                1307 SOUTH FIRST ST                                                                         LOUISVILLE         KY    40208‐5303
MICHEL A COUBARD                                 12981 22 MILE RD                                                                            SHELBY TOWNSHIP    MI    48315‐4109

MICHEL B ALBERRY                                 725 VONNA COURT                                                                             SAN JOSE           CA    95123
MICHEL C MUCHOW                                  1102 REGENCY DR                                                                             KEARNEY            MO    64060‐7598
MICHEL CRILLY                                    651 BIGRAS                         ST EUSTACHE QC                         J7R 4R8 CANADA
MICHEL D JOHNSTON                                1240 CEDAR OAK LANE                                                                         LAWRENCEVILLE      GA    30043‐7229
MICHEL DUBIEN                                    655‐3 PIE XII                      VAUDREUIL QC                           J7V 8R8 CANADA
MICHEL DURAND JR                                 7533 SW 108 PL                                                                              OCALA              FL    34476‐9195
MICHEL F DUNN                                    1223 N CIRCLE DR                                                                            CRYSTAL RIVER      FL    34429‐5369
MICHEL F SULTAN                                  4830 ADAMS POINTE CT                                                                        TROY               MI    48098‐4111
MICHEL G LELONG                                  159 BIT & SPUR TER                                                                          MOBILE             AL    36608‐2908
MICHEL GAREAU                                    27 DU LOUVRE                       BLAINEVILLE QC                         J7B 1K9 CANADA
MICHEL GEBSKI                                    3235 BERRY RD                                                                               YPSILANTI          MI    48198‐9530
MICHEL J BOILEAU                                 40 HENDERSON DRIVE                 WHITBY ON                              L1N 7Y6 CANADA
MICHEL L DUCHESNEAU                              1191 S LAKE DR                                                                              NOVI               MI    48377‐1825
MICHEL LACOSTE                                   200 D'AUVERGNE #1                  LONGUEUIL QC                           J4H 3T8 CANADA
MICHEL LEE WOODWARD                              C/O MICHAEL LEE WOODWARD           205 SPRINGWOOD RD                                        DRIPPING SPRINGS   TX    78620‐4104

MICHEL M JOFFE                                   1009 GRANGER FARM WAY                                                                       LAS VEGAS          NV    89145
MICHEL T ADKINS                                  311 BUCKCREEK BLVD                                                                          INDIANAPOLIS       IN    46227‐2013
MICHEL T GINTER                                  7306 LAKESHORE ROAD                                                                         CICERO             NY    13039‐8700
MICHELANGE C NATI                                1312 MERIDEN AVE                                                                            SOUTHINGTON        CT    06489‐4265
MICHELANGE PUMA                                  118 KENILWORTH BLVD                                                                         CRANFORD           NJ    07016‐1512
MICHELE A BARCLAY                                2230 MILES RD                                                                               LAPEER             MI    48446‐8058
MICHELE A BIBBS                                  3802 WISNER ST                                                                              FLINT              MI    48504
MICHELE A CELLS                                  56 WEHRLI RD                                                                                LONG VALLEY        NJ    07853‐3416
MICHELE A CHAPMAN                                6101 REGER DRIVE                                                                            LOCKPORT           NY    14094‐6303
MICHELE A DE GESERO                              ATTN MICHELE A HARYANTO            PO BOX 2132                                              HINSDALE           MA    01235‐2132
MICHELE A FREEL                                  13193 MASON DR                                                                              GRANT              MI    49327‐9647
MICHELE A GALLAGHER                              457 PASEO DEL DESCANSO                                                                      SANTA BARBARA      CA    93105‐2951
MICHELE A KRUPA                                  ATTN MICHELE KRUPA BOTT            27080 THOMAS                                             WARREN             MI    48092‐2857
MICHELE A MOSS                                   148 REDDINGWOOD DR                                                                          ROCHESTER          MI    48306‐2852
MICHELE A RYAN CUST KYLE ASTON RYAN UTMA NY      68 EARLDOM WAY                                                                              GETZVILLE          NY    14068‐1410

MICHELE A SOULES                                 70 JUDD RD                                                                                  MILAN              MI    48160‐9534
MICHELE A ST MICHAEL                             750 SUFFOLK DRIVE                                                                           JANESVILLE         WI    53546‐1824
MICHELE A TERAMANO                               C/O MICHELE A COLLINS              101 RIME VLG                                             HOOVER             AL    35216
MICHELE A WARNER                                 122 WOODSTOCK AVENUE                                                                        PUTNAM             CT    06260‐1428
MICHELE ANN BEST                                 2111 CARTIER                                                                                FLINT              MI    48504‐4638
MICHELE ANN BLACK                                3737 IDLEWOOD DRIVE                                                                         PENSACOLA          FL    32505‐7313
MICHELE ANN O'BRIEN & DAVID J O'BRIEN JT TEN     812 WENTWORTH RD                                                                            WALPOLE            NH    03608‐4836
MICHELE B SIMPSON                                141 LEW DR                                                                                  MACON              GA    31216‐8103
MICHELE BANJANIN                                 300 RIVIERA DR                                                                              BROOKLYN           MI    49230‐8303
MICHELE BAVARO                                   43 NADON PL                                                                                 TONAWANDA          NY    14150‐4622
MICHELE BAVARO & ELIZABETH M BAVARO JT TEN       43 NADON PL                                                                                 TONAWANDA          NY    14150‐4622
MICHELE BECK                                     745 N EASTON DR                                                                             ANGOLA             IN    46703‐7566
MICHELE BILAN GDN                                KENDALL BILAN                      307 DEERCROFT PL SE   CALGARY AB       T2J 5V6 CANADA
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MICHELE BINIENDA & DANIEL J BINIENDA JT TEN       14114 MELVA DRIVE                                                                              WARREN           MI    48088‐6063
MICHELE BLACK KELSON                              3737 IDLEWOOD DRIVE                                                                            PENSACOLA        FL    32505
MICHELE BLASK                                     10977 OTAHNAGON DR                                                                             STANWOOD         MI    49346‐9595
MICHELE BLOUW                                     1259 N MARY MARK                                                                               JENISON          MI    49428‐9347
MICHELE C CAMMARATA                               11915 KESSOCK AVE                                                                              WHITTIER         CA    90604‐3048
MICHELE C COLLINS                                 1456 LEDGEWOOD                                                                                 TAYLOR           MI    48180
MICHELE C KRAVETZ                                 501 GREENS VIEW DR                                                                             ALGONQUIN        IL    60102‐4410
MICHELE CATRICE GEHRKE                            2206 W RIVERSIDE DR                                                                            MCHENRY          IL    60050
MICHELE CIRATA                                    20B FREEMAN DRIVE                                                                              POQUOSON         VA    23662‐1712
MICHELE D BENAVIDEZ                               491 RIVER RIDGE DR                                                                             WATERFORD        MI    48327‐2886
MICHELE D MCGOWAN                                 3841 JONES ROAD                                                                                DIAMOND          OH    44412‐9752
MICHELE D PATERSON                                5797 SOUTHWOOD STREET                                                                          NORTH BRANCH     MI    48461‐9755
MICHELE D SWEENEY CUST SEAN THOMAS SWEENEY        34 FARM HILL RD                                                                                LEOMINSTER       MA    01453‐3491
UTMA MA
MICHELE D VALENTINE                               19932 ALCOY STREET                                                                             DETROIT          MI    48205‐1738
MICHELE DEROCHER HALL                             4914 ELMHURST DR                                                                               HICKORY          NC    28601‐8720
MICHELE DREYFUSS                                  11665 GLENEAGLES LN                                                                            BELVIDERE        IL    61008‐9589
MICHELE DUFRESNE                                  2720 COLDWELL STREET                                                                           VIRGINIA BEACH   VA    23456‐7603
MICHELE E A JAYNE                                 2720 BAGLEY DRIVE                                                                              KOKOMO           IN    46902‐3229
MICHELE E ANGELUCCI                               744 E 300TH ST                                                                                 WILLOWICK        OH    44095‐4747
MICHELE E HIGGINS                                 2461 JENNIFER DR                                                                               POLAND           OH    44514‐2567
MICHELE E LIEBER                                  1515 O ST NW                          APT 206                                                  WASHINGTON       DC    20005‐5514
MICHELE E MALFROID                                39696 TUNSTALL                                                                                 CLINTON TOWNSHIP MI    48038‐2699

MICHELE E SCOTT                                   51 UPPER NORTH TERR                                                                            TIBURON          CA    94920‐2028
MICHELE E WEST                                    19 DEER RUN                                                                                    GANSEVOORT       NY    12831‐1773
MICHELE FIORANTE                                  8212 W STRONG ST                                                                               NORRIDGE         IL    60706‐3023
MICHELE FORBERG & ROBERT FORBERG JT TEN           1089 BROOKWOOD                                                                                 MUSKEGON         MI    49441‐5301
MICHELE FORBERG & ROBERT FORBERT JT TEN           1089 BROOKWOOD                                                                                 MUSKEGON         MI    49441‐5301
MICHELE FREITAG                                   4537 MCCANN RD                                                                                 MADISON          WI    53714‐1725
MICHELE G MAKAREWICZ & DAVID C MAKAREWICZ JT      54885 CARILLO                                                                                  MACOMB           MI    48042
TEN
MICHELE GARY CUST ALISON GARY UGMA NJ             499C DELAIR RD                                                                                 MONROE           NJ    08831‐4208
                                                                                                                                                 TOWNSHIP
MICHELE GEDEIKO & MATTHEW GEDEIKO JT TEN          127 HOLLAND DR                                                                                 W NYACK          NY    10994‐1704
MICHELE GESUALE                                   790 OLD TECUMSEH ROAD #1              BELLE RIVER ON                         N0R 1A0 CANADA
MICHELE GESUALE                                   790 OLD TECUMSEH RD #1                BELLE RIVER ON                         N0R 1A0 CANADA
MICHELE GREENIA                                   3266 BECKER RD                                                                                 SKANEATELES      NY    13152‐8612
MICHELE GRINOCH                                   2851 RIDGEWOOD AVE                                                                             CINCINNATI       OH    45213‐1055
MICHELE H SCHULZ                                  16 E MANITOU RD                                                                                ROCHESTER        NY    14612‐1065
MICHELE H WALL                                    141 IROQUOIS AVE                                                                               OAKLAND          NJ    07436‐3829
MICHELE HORN                                      52 WESTERN DR                                                                                  SHORT HILLS      NJ    07078‐1910
MICHELE HOUTHOOFD                                 5615 LOOMIS ROAD                                                                               UNIONVILLE       MI    48767‐9428
MICHELE I GANEY                                   409 S VENICE BLVD                                                                              VENICE           FL    34293‐5871
MICHELE J BENJAMIN & ALAN BENJAMIN JT TEN         705 WEST SARATOGA                                                                              FERNDALE         MI    48220‐1836
MICHELE J GROSS & KARINE J ROCHE JT TEN           46 GREENWOOD AVE                                                                               BETHEL           CT    06801‐2602
MICHELE J HAGER                                   520 LAKE DRIVE                                                                                 VIRGINIA BEACH   VA    23451‐4409
MICHELE J LE BLANC                                3847 SUMMER MANOR DR                                                                           LEAGUE CITY      TX    77573
MICHELE J SAVAGE‐LOFLIN CUST ERIC SEAN LOFLIN     5431 BRANDY CIR                                                                                FT MYERS         FL    33919‐2219

MICHELE J VALENTINE                               662 CLIFTON DRIVE                                                                              BEAR             DE    19701‐2150
MICHELE J VASS                                    423 VAUGHN CIRCLE                                                                              AURORA           IL    60502‐6766
MICHELE K MCKINLEY                                919 ROMINE RD                                                                                  ANDERSON         IN    46011‐8781
MICHELE K POZARNY                                 61 CROWN POINT LN                                                                              WILLIAMSVILLE    NY    14221‐1865
MICHELE K WESTERLUND                              N 98 W 14631 ELMWOOD DR                                                                        GERMANTOWN       WI    53022
MICHELE KAY ALLEN                                 512 S 23RD                                                                                     SAGINAW          MI    48601‐1544
MICHELE KAY HAZELETT                              5670 BROADWAY                                                                                  INDIANAPOLIS     IN    46220‐3073
MICHELE KAY TREE                                  RD #1                                 BOX 27                                                   PETERSBURG       PA    16669‐9609
MICHELE KECK DELVES                               5715 ASH COURT                                                                                 PETOSKEY         MI    49770‐8315
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MICHELE L BUSFIELD                            41 GREEN GROVE AVE                                                                               KEYPORT           NJ    07735‐1843
MICHELE L HILL                                5240 HARVARD AVE                                                                                 RAYTOWN           MO    64133‐2344
MICHELE L MC GUIRE                            9329 ARROWHEAD SHORES                                                                            EDGERTON          WI    53534‐8973
MICHELE L MILLS                               40 HOLLIDAY ROAD                                                                                 HORSE SHOE        NC    28742
MICHELE L MUNSON                              3659 E NOBLES ROAD                                                                               LITTLETON         CO    80122‐2040
MICHELE L RAUSCHER                            ATTN MICHELE L BEGLEY                   939 EVE CT                                               ROHNERT PARK      CA    94928‐2230
MICHELE L RIVERA & LUIS A RIVERA JT TEN       20 MCINTOSH ROAD                                                                                 CHELSFORD         MA    01824‐2017
MICHELE L STOREY                              PO BOX 844                                                                                       CANFIELD          OH    44406‐0844
MICHELE L THOMAS                              15314 W STATE RD 11                                                                              ORFORDVILLE       WI    53576‐9629
MICHELE L WESTON                              11838 CURWOOD DRIVE                                                                              GRAND BLANC       MI    48439‐1158
MICHELE L WINKELMANN                          4091 CULVER ROAD                                                                                 ROCHESTER         NY    14622
MICHELE LABRUZZO                              55147 NILE WAY                                                                                   MACOMB            MI    48042‐6193
MICHELE LAMARCA                               5 FITZGERALD AVE                                                                                 STATEN ISLAND     NY    10308
MICHELE LANE                                  94 PROSPECT PARK W                                                                               BROOKLYN          NY    11215‐3726
MICHELE LECUREUX                              210 8TH AVE SW                                                                                   LARGO             FL    33770‐3535
MICHELE LEE BURNS                             3 CLIFTON WAY                                                                                    SLINGERLANDS      NY    12159‐9307
MICHELE LEVERETT                              PO BOX 643                                                                                       WATERFORD         CA    95386‐0643
MICHELE LONIGRO                               730 METCALF DRIVE                                                                                IMLAY CITY        MI    48444‐1451
MICHELE LOSANI CUST SARA LOSANI UGMA MI       5552 NORTHCOTE LN                                                                                WEST BLOOMFIELD   MI    48322‐4005

MICHELE LYN SORDELLINI                        623 CAICOS DR                                                                                    WILMINGTON       NC     28405‐8370
MICHELE M BATTISTA                            606 EAGLES CHASE DRIVE                                                                           LAWRENCEVILLE    NJ     08648‐2554
MICHELE M BAUMAN                              407 CHALFONTE                                                                                    GROSSE POINTE    MI     48236‐2944
                                                                                                                                               FARM
MICHELE M BURNS                               2953 ROXBURY DR                                                                                  TROY             MI     48084‐2677
MICHELE M DUDAS                               919 OAK DRIVE                                                                                    POTTSTOWN        PA     19464‐7103
MICHELE M DUROCHER                            1720 CLIFFS LANDING #102                                                                         YPSILANTI        MI     48198‐7337
MICHELE M EHRBAR                              17823 WOODBURY AVENUE                                                                            CLEVELAND        OH     44135‐1133
MICHELE M GROOMES                             4146 LAKESHORE RD                                                                                MANISTEE         MI     49660‐9218
MICHELE M IGNASZAK                            112 RIDGEWOOD DR                                                                                 SNYDER           NY     14226‐4938
MICHELE M JOHN                                2720 EAST VAN NORMAN                                                                             ST FRANCIS       WI     53235‐5620
MICHELE M JOURDAN                             ATTN MICHELE M KOZIARA                  21354 PARKLANE                                           FARMINGTON HILLS MI     48335‐4217

MICHELE M KOTCHER                             961 N WOODWARD                                                                                   BIRMINGHAM        MI    48009‐1321
MICHELE M MACDONALD & BEATRICE MACDONALD JT   17060 WAKENDEN                                                                                   REDFORD           MI    48240‐2400
TEN
MICHELE M PACIFICO                            676 MEADOWBROOK AVE SE                                                                           WARREN            OH    44484
MICHELE M PERRY & MICHAEL PERRY JT TEN        17115 JOURNEYS END DR                                                                            ODESSA            FL    33556‐2442
MICHELE M ROBBINS                             6600 DONNEGAL COURT SE                                                                           GRAND RAPIDS      MI    49546‐9769
MICHELE M ROBINETT                            6600 DONNEGAL COURT SE                                                                           GRAND RAPIDS      MI    49546‐9769
MICHELE M STINSON                             ATTN MICHELE M GALLUP                   PO BOX 292                                               GRAFTON           NH    03240‐0292
MICHELE M TSCHUDY                             2803 RIVERSIDE PKWY                     APT 2508                                                 GRAND PRAIRIE     TX    75050‐8742
MICHELE MARIE BARONAVSKI                      13925 DAVE DRIVE                                                                                 NOKESVILLE        VA    20181‐3211
MICHELE MARIE SHIGLEY                         1271 LILY COURT                                                                                  MARCO ISLAND      FL    34145‐5012
MICHELE MARTHA EASTER                         305 FOREST COURT                                                                                 CARRBORO          NC    27510‐1275
MICHELE MASSEY HAY                            522 VIA ROJO                                                                                     SANTA BARBARA     CA    93110‐1542
MICHELE MCCORMICK                             C/O MICHELE PELOQUIN                    1863 N RIVER RD                                          MANCHESTER        NH    03104‐1604
MICHELE MEREDITH‐CORBIN                       1511 45TH ST                                                                                     DES MOINES        IA    50311‐2422
MICHELE MINDY GILBERT                         894 NW 108TH LANE                                                                                CORAL SPRINGS     FL    33071‐6498
MICHELE MITCHELL                              18 WAMPUM RD                                                                                     PARK RIDGE        NJ    07656‐2123
MICHELE MOND CUST PENINA MOND UGMA NY         1333 E 4TH ST                                                                                    BROOKLYN          NY    11230‐4605
MICHELE MONTEMARANO                           7519 CHIPPEWA TR                                                                                 MIDDLEBURG HT     OH    44130‐5720
MICHELE MURRAY                                882 BLAKE AVE                                                                                    BROOKLYN          NY    11207‐4931
MICHELE N MILLER                              2463 MIDDLETOWN‐EATON RD                                                                         MIDDLETOWN        OH    45042‐9553
MICHELE NEUBELT                               9 CAMDEN CRESCENT                       MOONAH               TASMANIA          7009 AUSTRALIA
MICHELE NIXON PER REP EST DULCIE M MORRIS     6474 M ‐ 23                                                                                      ONAWAY            MI    49765
MICHELE PARAMORE                              10280 SW 156TH ST                                                                                MIAMI             FL    33157‐1504
MICHELE PERRICONE                             3415 TAMAIRA ST                                                                                  PLANO             IL    60545‐2085
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MICHELE PIASECKI                                 4059 VAN STONE                                                                                COMMERCE          MI    48382‐1977
                                                                                                                                               TOWNSHIP
MICHELE R FREITAG CUST ANGELA M LYSTE UTMA WI    4537 MCCANN RD                                                                                MADISON           WI    53714‐1725

MICHELE R FUGETT                                 704 CAHILL RD                        TRLR 1                                                   ANGLETON          TX    77515‐7149
MICHELE R HEIMLICH                               3896 SNODGRASS RD                                                                             MANSFIELD         OH    44903‐8928
MICHELE R M RADCLIFFE                            955 LENEVE PLACE                                                                              ELCERRITO         CA    94530‐2749
MICHELE R PAGEL                                  5024 HARBOR OAKS DR                                                                           WATERFORD         MI    48329‐1724
MICHELE R TORTORICI                              965 BRIDGESTONE                                                                               ROCHESTER HILLS   MI    48309‐1621
MICHELE RICE                                     5670 BEACON ST                                                                                PITTSBURGH        PA    15217‐2000
MICHELE ROBERTS                                  5908 MARBLE WAY                                                                               COLD SPRING       KY    41076
MICHELE ROCKMORE                                 1039 CHADWICK SHORES DR                                                                       SNEADS FERRY      NC    28460‐9269
MICHELE RYAN                                     670 MORENO LANE                                                                               SANTA CLARA       CA    95050
MICHELE S BRITTON                                25 MAPLEWOOD DR                                                                               ETTERS            PA    17319‐9146
MICHELE S COMPO                                  1034 JORDAN DR                                                                                PALMYRA           NY    14522‐9551
MICHELE S MORRISON & RICHARD R MORRISON JT TEN   3224 PEDDERSON DRIVE                                                                          OMAHA             NE    68144‐3915

MICHELE SEGUIN                                   7235 W CRABAPPLE DR                                                                           PEORIA            AZ    85362‐7217
MICHELE SLOAN                                    1112 MATTERHORN ST                                                                            DELTONA           FL    32725‐6562
MICHELE SPAGNUOLO                                456 VALLAYVIEW CRESENT               MILTON ON                              L9T 3L2 CANADA
MICHELE SULLIVAN                                 13 OVERHILL ROAD                                                                              EAST BRUNSWICK    NJ    08816‐4209
MICHELE T BEEMER & WILLIAM BEEMER JT TEN         148 MIDDLEFIELD RD                                                                            WASHINGTON        MA    01223
MICHELE V BUDDE TR UA 01/07/97                   1884 MONTE CARLO WAY                                                                          CORAL SPRINGS     FL    33071‐7829
MICHELE V FIELD                                  ATTN MICHELE V TUER                  248 GEORGE K DR                                          SAND LAKE         MI    49343‐9770
MICHELE VARANO                                   2925 GAINES LN                                                                                VIRGINIA BEACH    VA    23454‐1045
MICHELE VERESCHAK                                585 GRANT AVE                                                                                 ROSELLE           NJ    07203‐2910
MICHELE W WARECK                                 ATTN ROBERT WRIGHT                   2771 CATERHAM                                            WATERFORD         MI    48329‐2615
MICHELE WHITEHEAD WILLIAMSON                     968 MISTY MAPLE CT                                                                            ORANGE PARK       FL    32065‐5207
MICHELE YVETTE LINCK                             3927 REXMERE RD                                                                               BALTIMORE         MD    21218‐2037
MICHELEEN J JACOBSON                             BOX 251                                                                                       GRANTHAM          PA    17027‐0251
MICHELEEN POCCHIOLA & ROXANNE E JAMES JT TEN     4304 WEST POINTE DR                                                                           WATERFORD         MI    48329‐4647

MICHELET NARCISSE                                412 39TH ST                                                                                   TUSCALOOSA        AL    35405‐2948
MICHELINA E ANNICCHIARICO                        428 CORTLANDT ST                                                                              BELLEVILLE        NJ    07109‐3206
MICHELINA FALCONE                                81 PIETRO DR                                                                                  YONKERS           NY    10710‐2009
MICHELINA J CUNNINGHAM & DIANA J HERBERT &       16469 MARSHA                                                                                  LIVONIA           MI    48154‐1200
DANIEL G CINI JT TEN
MICHELINE M JOSEPH CUST EMIE JOSEPH UGMA NY      140 12 CASALS PL                                                                              BRONX             NY    10475

MICHELL L MORGAN                                 9127 CLOVERLAWN                                                                               DETROIT           MI    48204‐2730
MICHELLE A CAULEY                                ATTN MICHELLE GWYNN                  1971 HERTFORD DR                                         LIBRARY           PA    15129‐8962
MICHELLE A CURLESS CUST MADELINE CURLESS UTMA IL 5571 WOODFIELD PKWY                                                                           GRAND BLANC       MI    48439

MICHELLE A DEANOVICH                             5585 E PCH UNIT 159                                                                           LONG BEACH      CA      90804
MICHELLE A FOREST                                5676 BURRELL                                                                                  WEST BLOOMFIELD MI      48322

MICHELLE A GARDNER                               10090 PINE MEADOWS CT                                                                         GOODRICH          MI    48438‐8809
MICHELLE A GOULET                                17016 JACINTO RD                                                                              BEND              OR    97707‐2035
MICHELLE A GUENTHER                              2932 WOLHAVN LANE                                                                             JACKSON           MI    49201‐8267
MICHELLE A KIRBY                                 10802 CODY LN                                                                                 FISHERS           IN    46037
MICHELLE A KOTLARCHICK                           10637 DANUBE AVE                                                                              GRANADA HILLS     CA    91344‐7222
MICHELLE A LANGNER                               C/O MICHELLE PRITCHETT               1132 HAVERHILL DR                                        BRENTWOOD         TN    37027‐8682
MICHELLE A LARAMIE LUND                          13 CEDAR DR                                                                                   STERLING          VA    20164‐8607
MICHELLE A LARSON                                2726 PINTO                                                                                    COMMERCE          MI    48382‐3454
                                                                                                                                               TWNSHP
MICHELLE A MCCARTHY                              1301 VERNOR                                                                                   LAPSER            MI    48446‐8797
MICHELLE A MELYN                                 807 N ASHLAND AVE                                                                             RIVER FOREST      IL    60305‐1431
MICHELLE A MILLER                                353 MAIN ST                                                                                   FREMONT           NH    03044
MICHELLE A NADEAU                                48855 CALLENS RD                                                                              NEW BALTIMORE     MI    48047‐3337
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Name                                               Address1                           Address2                  Address3     Address4          City             State Zip

MICHELLE A NASSAR                                  4000 WATERLAND DR                                                                           METAMORA         MI    48455‐9610
MICHELLE A NOTT                                    9581 CRANE RD                                                                               MILAN            MI    48160‐9757
MICHELLE A SEEFELD                                 5763 NORTH ADRIAN HIGHWAY                                                                   ADRIAN           MI    49221‐9305
MICHELLE A TUROCY                                  7555 ANDOVER LN                                                                             CLEVELAND        OH    44133‐2972
MICHELLE A WASKOWSKI                               421 N KENWOOD                                                                               ROYAL OAK        MI    48067‐2309
MICHELLE A WILCZAK                                 32350 COVENTRY PLACE                                                                        WARREN           MI    48093‐1204
MICHELLE A WILHELM                                 1326 ORCHARD STREET                                                                         FAIR LAWN        NJ    07410‐2225
MICHELLE ALYCE LETO & SALVATORE LETO JT TEN        118 PEREGRINE DR                                                                            VOORHEES         NJ    08043
MICHELLE ANN DE STEIGER                            699 BALFOUR ST                                                                              GROSSE POINTE    MI    48230‐1809
                                                                                                                                               PARK
MICHELLE ANN HELTMACH PALMER                      4826 WEST NORWICH COURT                                                                      MILWAUKEE        WI    53220‐2718
MICHELLE ARMSTER                                  2131 STIRLING DR                                                                             TROY             MI    48098‐1041
MICHELLE BLAINE ATKINS                            8469 WATERFORD CIR                                                                           TAMARAC          FL    33321
MICHELLE BOBER                                    33653 UNION CT                                                                               WESTLAND         MI    48186‐9201
MICHELLE BYRD                                     744 WATERS DR                                                                                VIRGINIA BEACH   VA    23462‐4882
MICHELLE C KRATZ                                  613 N PARK DR                                                                                DESOTO           TX    75115‐4627
MICHELLE C MOORE‐LINDSAY                          4833 OLDS AVE                                                                                MEMPHIS          TN    38128‐4844
MICHELLE CHADWICK                                 618 MECHANIC ST                                                                              ALTON            IL    62002‐2450
MICHELLE CHARBONNET                               C/O MICHELLE C TOMPKINS             PO BOX 78 SKY HILL FARM                                  DELAPLANE        VA    20144‐0078
MICHELLE CLARK                                    3652 DUDLEY AVENUE                                                                           BALTIMORE        MD    21213‐1829
MICHELLE CLICHE                                   51 KILBRIDE DR                      WHITBY ON                              L1R 2B5 CANADA
MICHELLE COLLELLO                                 590 FULMER AVE                                                                               AKRON            OH    44312‐2037
MICHELLE D BRADLEY                                10565 WAYBURN                                                                                DETROIT          MI    48224‐2469
MICHELLE D CAPALBO                                462 WALNUT ST                                                                                SHREWSBURY       MA    01545‐4816
MICHELLE D FARRELL                                31 WESTMAR DR                                                                                ROCHESTER        NY    14624‐2535
MICHELLE D FARRELL                                31 WESTMAR DRIVE                                                                             ROCHESTER        NY    14624‐2535
MICHELLE D HOLLINGSWORTH CUST KALEB D             3518 LYONS DR                                                                                KOKOMO           IN    46979
HOLLINGSWORTH UTMA IN
MICHELLE D KEITH                                  22730 MASONIC                                                                                ST CLAIR SHRS    MI    48082‐1367
MICHELLE D MACLEAN                                7932 92ND AVE                       FORT SASKATCHEWAN AB                   T8L 3R8 CANADA
MICHELLE D NOLAN                                  16500 N PARK DR                     APT 1919                                                 SOUTHFIELD       MI    48075‐4758
MICHELLE D POWELL                                 20007 ROSCOMMON                                                                              HARPER WOODS     MI    48225‐2253
MICHELLE D REED & CHARLES R REED IV JT TEN        1453 WREN LN                                                                                 POWELL           OH    43065‐8954
MICHELLE D THORNWELL                              2705 MAPLE ST                                                                                PORT HURON       MI    48060‐2856
MICHELLE D ZIMMERMAN                              5016 MASON DR                                                                                INDIANAPOLIS     IN    46254‐1726
MICHELLE DAWN SANCHEZ                             9751 LANWARD CIRCLE                                                                          DALLAS           TX    75238
MICHELLE DEBORAH PERLMAN                          PO BOX 793                                                                                   NEW YORK         NY    10021
MICHELLE DENISE GOGUEN                            ATTN MICHELLE DENISE MCGRATH        8G TALCOTT FOREST RD                                     FARMINGTON       CT    06032‐3548
MICHELLE DENISE WHEELER                           409 WISTERIA WAY                                                                             ATHENS           GA    30606‐6513
MICHELLE DIAZ                                     9754 SW 114TH CT                                                                             MIAMI            FL    33176‐2583
MICHELLE DITTMER CUST TRENTON PACE DITTMER        39 WESTCHESTER DRIVE                                                                         CARTERSVILLE     GA    30120‐6488
UTMA GA
MICHELLE DORNFEST                                 3368 21ST ST                        APT 8A                                                   ASTORIA          NY    11106‐4264
MICHELLE DRESSER                                  P O BOX 2945                                                                                 LK ARROWHEAD     CA    92352
MICHELLE E ANTHONY                                1855 W SIMPSON CHAPEL RD                                                                     BLOOMINGTON      IN    47404‐9486
MICHELLE E CASEY                                  3755 ROMNAY RD                                                                               COLUMBUS         OH    43220‐4877
MICHELLE E PETERSEN                               208 CAMBRIDGE DRIVE                                                                          AURORA           OH    44202‐8454
MICHELLE E REMY                                   1920 BURCH AVE                                                                               LIMA             OH    45801‐2604
MICHELLE E SHADRICK CUST BRITNI E SCHULTZ UGMA IN 3621 EDEN PL                                                                                 CARMEL           IN    46033‐4333

MICHELLE ELAINE POPE & JEFFREY SCOTT POPE JT TEN   7847 MCINTYRE CT                                                                            ARVADA           CO    80007‐7103

MICHELLE F SMITH CUST GAGE ALEXANDER SMITH       3819 SE 38TH LOOP                                                                             OCALA            FL    34480‐4942
UTMA FL
MICHELLE F SMITH CUST GAVIN PIERCE SMITH UTMA FL 3819 SE 38TH LOOP                                                                             OCALA            FL    34480‐4942

MICHELLE F SPENCER                                 10336 WALNUT SHORES                                                                         FENTON           MI    48430‐2433
MICHELLE FRANCES RHODE                             10 APPLETREE LN                                                                             CARLE PLACE      NY    11514‐1321
MICHELLE FULTON                                    273 NEWTOWN TURNPIKE                                                                        REDDING          CT    06896‐2417
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Name                                            Address1                                Address2               Address3        Address4          City               State Zip

MICHELLE GALBREATH GAW                         1335 INGLEWOOD DR                                                                                 COOKEVILLE         TN    38501‐2965
MICHELLE GASE                                  C/O SCANLON                              9707 SOUTH WESTNEDGE                                     PORTAGE            MI    49002‐6827
MICHELLE GATES VIDAL                           32135 CEDARCROFT                                                                                  ACTON              CA    93510‐1831
MICHELLE GILBERT CUST JOHN JOSEPH SCHALLER III 4026 WEXFORD CIRCLE SOUTH                                                                         RICHFIELD          WI    53076‐9414
UTMA WI
MICHELLE GULU                                  12180 EAST RIDGE DR                                                                               ROMEO              MI    48065‐2009
MICHELLE GUZZO & RICHARD ALAN GUZZO JT TEN     6288 RIVERTON                                                                                     TROY               MI    48098‐1880
MICHELLE H BRAATEN                             592 CUMBERLAND COURT                                                                              CONROE             TX    77302‐2900
MICHELLE H C LOWE                              3925 REMINGTON WAY                                                                                MARIETTA           GA    30066‐2073
MICHELLE H SOUAZ                               5813 MERLINDALE DR                                                                                CITRUS HTS         CA    95610‐6727
MICHELLE HANLON CUST JOSEPHINE HANLON UTMA MI 56 STONEYMEADE WAY                                                                                 ACTON              MA    01720‐5676

MICHELLE HARKINS CUST DUSTIN ARMS UTMA OR       PO BOX 1322                                                                                      WINSTON            OR    97496
MICHELLE HEROD & TODD HARRIS JT TEN             9625 N OAK MEADOW LN                                                                             PRESCOTT           AZ    86305
MICHELLE HOHNKE                                 9390 S LAKE LEELANAU DR                                                                          LAKE LEELANAU      MI    49684‐7713
MICHELLE HORSTMAN                               1014 N BUCHANAN ST                                                                               OLATHE             KS    66061‐2966
MICHELLE HUTTON                                 3901 S MAIN ST                                                                                   ANDERSON           IN    46013‐4721
MICHELLE HYDE                                   12327 N ELMS RD                                                                                  CLIO               MI    48420‐9467
MICHELLE I MOORE                                9145 S WINCHESTER AVENUE                                                                         CHICAGO            IL    60643
MICHELLE I RARIDEN                              8310 SHERWOOD DRIVE                                                                              GRAND BLANC        MI    48439‐8356
MICHELLE J AXELROD                              29757 STRAWBERRY HILL DR                                                                         AGOURA HILLS       CA    91301
MICHELLE J CAMERLENGO                           85 FULTON ST                                                                                     WEEHAWKEN          NJ    07087‐7060
MICHELLE J JENNINGS                             2156 S FIELD ST                                                                                  LAKEWOOD           CO    80227‐2333
MICHELLE J MIKULEC                              22270 LONG BLVD                                                                                  DEARBORN           MI    48124‐1147
MICHELLE J OLIVER                               955 FALCON VIEW ST                                                                               UPLAND             CA    91784‐8007
MICHELLE JOANN FARLESS                          245 OAKMONT                                                                                      AUBURN HILLS       MI    48326‐3362
MICHELLE JOY REITZEL & ULA M REITZEL JT TEN     3366 BRENTWAY                                                                                    BAY CITY           MI    48706‐3324
MICHELLE JUBENVILLE                             1055 CENTRAL PARK BLVD N                UNIT 51                OSHAWA ON       L1G 7M4 CANADA
MICHELLE K JONES                                1520 BARKSDALE DR NE                                                                             LEESBURG           VA    20176‐6605
MICHELLE K LUDWIG CUST BENJAMIN N LUDWIG UTMA   5740 LAVERNE LN                                                                                  PLACERVILLE        CA    95667‐8612
CA
MICHELLE K LUDWIG CUST MATTHEW A LUDWIG UTMA    5740 LA VERNE LN                                                                                 PLACERVILLE        CA    95667‐8612
CA
MICHELLE KALIS                                  37 ROBINSON DR                                                                                   BEDFORD            MA    01730‐1369
MICHELLE KARLIK                                 1290 MILL CREEK RD                                                                               BERTHOUD           CO    80513‐8082
MICHELLE KAY WALKER                             6395 SPRINGDALE BLVD                                                                             GRAND BLANC        MI    48439‐8550
MICHELLE KEANE                                  1486 AVE FD ROOSEVELT                   APT 208                                                  SAN JUAN           PR    00920‐2736
MICHELLE KERCHER KIBBY                          210 BRIARWOOD LN                                                                                 CANTON             GA    30114‐9774
MICHELLE KNECHT                                 5223 SOUTHPORT CIR                                                                               KINGS MILLS        OH    45034‐9701
MICHELLE KNIGHT                                 4171 MAJESTIC CI                                                                                 MEDINA             OH    44256‐6928
MICHELLE KOLKMEYER                              1921 DELL ROSE                                                                                   BLOOMFIELD HILLS   MI    48302‐0117

MICHELLE KURTZ                                  4739 FOXSHIRE CIRCLE                                                                             TAMPA              FL    33624‐4307
MICHELLE L ALBERRY                              20222 IMPERIAL COVE LN                                                                           HUNTINGTN BCH      CA    92646
MICHELLE L BARNES                               122 S GREAT RD                                                                                   LINCOLN            MA    01773‐4700
MICHELLE L BASS                                 4497 THORNAPPLE CIR                                                                              BURTON             MI    48509‐1234
MICHELLE L BRIDGES & PHILIP J PETRUSKA JT TEN   5691 CHATTERFIELD                                                                                DUBLIN             OH    43017‐2534
MICHELLE L COLEMAN                              15840 STATE ROAD 37                                                                              HARLAN             IN    46743‐7419
MICHELLE L GEORGE                               4605 W CHUAR DRIVE                                                                               GOLDEN VALLEY      AZ    86413
MICHELLE L GORNITZKY                            12909 SPRING RAIN RD                                                                             JACKSONVILLE       FL    32258‐5201
MICHELLE L HINE                                 405 E SOUTH ST                          APT 429                                                  WHEATFIELD         IN    46392‐9125
MICHELLE L HONEY                                1306 E GRETNA                                                                                    SPRINGFIELD        MO    65804‐3625
MICHELLE L K GROSS                              3014 OAK DR                                                                                      ROCKWALL           TX    75032‐5844
MICHELLE L KILPATRICK                           105 SCOUGLE ST                                                                                   DURAND             MI    48429‐1131
MICHELLE L KOZAK CUST CHANDLER THOMAS KOZAK     955 MALLOCK ST                                                                                   WHITE LAKE         MI    48386‐2944
UTMA MI
MICHELLE L PILLAR & MICHAEL A NEELY JT TEN      22 PO BOX                                                                                        THURSTON           OH    43157‐0164
MICHELLE L POOLE CUST AMBER NICOLE FRANKLIN     25 AMELIA CT                                                                                     FREDERICKSBURG     VA    22405‐6329
UTMA VA
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MICHELLE L PRIMAVERA CUST NICHOLAS V PRIMAVERA 7936 MORRIS RD                                                                                 HILLIARD          OH    43026‐9713
UTMA OH
MICHELLE L SEGUIN                               7235 W CRABAPPLE DR                                                                           PEORIA            AZ    85382‐7217
MICHELLE L SIMPSON & JOHN SIMPSON JT TEN        39121 PRENTISS ST                    APT 203                                                  HARRISON TWP      MI    48045‐6042
MICHELLE L STASHYN                              1963 DORA AVE                                                                                 WALNUT CREEK      CA    94596‐4323
MICHELLE L STERLING                             1730 FEDERAL ST                      MC KEESPORT                                              MCKEESPORT        PA    15132‐4562
MICHELLE L WILKINSON                            7545 44TH AVE NE                                                                              SEATTLE           WA    98115‐5115
MICHELLE L WOODSON                              1700 STIRLING COURT                                                                           COLUMBIA          MO    65203‐5148
MICHELLE L WYLIN                                49088 LEHR DR                                                                                 MACOMB            MI    48044‐1747
MICHELLE LEE WERNKE                             1216 COUNTRYSIDE DRIVE                                                                        INDANAPOLIS       IN    46231‐1385
MICHELLE LESSARD & JEFFREY LESSARD JT TEN       84 BROXDOURNE DR                                                                              FAIRPORT          NY    14450
MICHELLE M ARD                                  1544 BURROWIN DR                                                                              CHESAPEAKE        VA    23321‐1877
MICHELLE M BLIGH                                1907 GLENWOOD DRIVE                                                                           OCEAN CITY        NJ    08226
MICHELLE M CAMPAU                               15134 29 MILE                                                                                 WASHINGTON        MI    48094‐1823
MICHELLE M DE BRULER                            4720 MAIN ST                                                                                  DOWNERS GROVE     IL    60515‐3630
MICHELLE M DI CARMINE CUST COREY J CORBETT UGMA 7 ANTHONY LN                                                                                  ALBANY            NY    12205‐1301
NY
MICHELLE M DI CARMINE CUST JEREMY C DI CARMINE 7 ANTHONY LN                                                                                   ALBANY            NY    12205‐1301
UGMA NY
MICHELLE M GRISANTI                             66 BLOOMFIELD AVE                                                                             RIVER EDGE        NJ    07661‐2405
MICHELLE M HOWK                                 6609 DOVRE DR                                                                                 MINNEAPOLIS       MN    55436‐1711
MICHELLE M JONES                                2323 ZIPPEL AVE                                                                               GRANITE CITY      IL    62040‐5175
MICHELLE M K LUDWIG CUST MATTHEW ALEXANDER      5740 LAVERNE LN                                                                               PLACERVILLE       CA    95667‐8612
LUDWIG UGMA CA
MICHELLE M KIDD                                 10060 LAPEER RD                                                                               DAVISON           MI    48423‐8117
MICHELLE M LEHMAN‐BONDE                         8430 SW 20TH TE                                                                               MIAMI             FL    33155‐1049
MICHELLE M MARTLAGE                             11260 S 375 W                                                                                 FAIRMOUNT         IN    46928‐9522
MICHELLE M MAYER                                60 REGENCY COURT                                                                              GRAND ISLAND      NY    14072‐1422
MICHELLE M MESSINA                              632 E HUDSON AVE                                                                              MADISON HTS       MI    48071‐4076
MICHELLE M NEMECKAY                             435 CHALFONTE AVE                                                                             GROSSE POINTE     MI    48236‐2915
MICHELLE M NOTEBAERT                            9376 CHERRY AVE                                                                               RAPID CITY        MI    49676‐9696
MICHELLE M PALMERI                              3195 WENDOVER                                                                                 TROY              MI    48084‐1256
MICHELLE M POULIN                               831 N MAIN ST                                                                                 ACUSHNET          MA    02743‐1119
MICHELLE M RICHARDSON                           608 KOLB CT                                                                                   GOOSE CREEK       SC    29445‐3659
MICHELLE M SCHULTZ                              772 POST OAK RD                                                                               LUFKIN            TX    75904‐0306
MICHELLE M SMITH‐ALBRITTON                      186 COURT ST                                                                                  PONTIAC           MI    48342‐2510
MICHELLE M STOWELL                              20917 YALE                                                                                    ST CLAIR SHORES   MI    48081‐1866
MICHELLE M UTTER                                4532 CAMPOBELLO ST                                                                            SAN DIEGO         CA    92130‐2715
MICHELLE M WELLS                                7187 SHAWS LN                                                                                 FENTON            MI    48430‐9017
MICHELLE M WESCHER                              N39W5460 WILSHIRE DR                                                                          CEDARBURG         WI    53012‐2527
MICHELLE MACEY DANIEL                           1338 SANTA ROSA ST                                                                            SAN LUIS OBISPO   CA    93401‐3716
MICHELLE MARIE GERARDOT                         13513 PLUMBAGO CT                                                                             FORT WAYNE        IN    46814‐8837
MICHELLE MARIE MIKOLAJCZAK                      38821 WINKLER                                                                                 MOUNT CLEMENS     MI    48045‐6305
MICHELLE MARIE ROER                             PO BOX 9201                                                                                   ALBUQUERQUE       NM    87119‐9201
MICHELLE MASLOW                                 PO BOX 264                                                                                    SCIOTA            PA    18354‐0264
MICHELLE MCALDUFF                               17 KINGS CT                                                                                   MASHPEE           MA    02649‐3446
MICHELLE MCDOUGALL CUST MIKEL MCDOUGALL UTMA 4817 TAILON TRL                                                                                  MAUMEE            OH    43537‐8997
OH
MICHELLE MCDOUGALL CUST MORGAN MCDOUGALL        4817 TAILON TRL                                                                               MAUMEE            OH    43537‐8997
UTMA OH
MICHELLE MERCIER                                75 AMBASSADOR                                                                                 ROCHESTER         NY    14610‐3401
MICHELLE MESSNER                                5137 ELM ST                                                                                   SKOKIE            IL    60077‐2117
MICHELLE MILLIKAN                               8417 PROVINCE LANE                                                                            WILLOW SPRINGS    IL    60480‐1114

MICHELLE NEWLAND                                3710 WYCKLIFFE PKWY                                                                           TOLEDO            OH    43613‐4823
MICHELLE NOWAK                                  28 VAL PAGE ST                                                                                FARMINGDALE       NY    11735‐2117
MICHELLE NUCKOLLS                               2170 KILDARE DR                                                                               DAVISON           MI    48423‐8450
MICHELLE O MCCLELLAND PER REP EST MARY          768 PINE VALLEY DR                                                                            ARNOLD            MD    21012
MCCLELLAND
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MICHELLE OCILKA & DONNA L OCILKA JT TEN            1229 CHESTNUT DRIVE                                                                              ASHTABULA       OH    44004‐2000
MICHELLE P JENKINS                                 7050 STATE RT 7                                                                                  KINSMAN         OH    44428‐9788
MICHELLE P KANA CUST SHAY M KANA UTMA TX           1231 VIRGINIA DR                                                                                 KERRVILLE       TX    78028‐7109
MICHELLE P PALMER                                  724 PETTIBONE AVE                                                                                FLINT           MI    48507‐1760
MICHELLE P QUINN                                   901 MERRYBELL LN                                                                                 KENNETT SQ      PA    19348‐2732
MICHELLE PALMERI CUST BRIAN PALMERI UTMA MI        3195 WENDOVER                                                                                    TROY            MI    48084‐1256

MICHELLE PALMERI CUST STEVEN PALMERI UTMA MI       3195 WENDOVER                                                                                    TROY            MI    48084‐1256

MICHELLE PARLETTA                                  425 CENTRAL PARK W                      APT 4D                                                   NEW YORK        NY    10025‐4323
MICHELLE PARROTT                                   PO BOX 56                                                                                        HILLSBORO       OH    45133‐0056
MICHELLE PERRY                                     7312 BOTTLE BRUSH DR                                                                             SPRING HILL     FL    34606‐7024
MICHELLE PFEIFFER                                  805 E SQUANTUM ST                       APT 5                                                    QUINCY          MA    02171‐1215
MICHELLE R BOOSE & VERONICA E SIMON JT TEN         1190 PEACHTREE DR                                                                                MOUNT MORRIS    MI    48458‐2834
MICHELLE R BRAWNER                                 13154 N WEBSTER RD                                                                               CLIO            MI    48420‐8238
MICHELLE R COTE CUST SHANE M COTE UTMA MA          111 MILTON ST                                                                                    MILTON          MA    02186
MICHELLE R DANIELS                                 1036 MOORLAND RD                        APT 113                                                  MADISON         WI    53713‐2208
MICHELLE R GARNER                                  1064 LINCOLN AVE                                                                                 TOLEDO          OH    43607‐1921
MICHELLE R GIBNEY CUST THOMAS R GIBNEY UGMA TX     828 15TH AVE N                                                                                   SARTELL         MN    56377‐1999

MICHELLE R GUIETTE                                1510 PERSIMMON CT                                                                                 ALLEN           TX    75002‐4326
MICHELLE R HOWARD                                 2063 FOX RIDGE RD                                                                                 MOUTH WILSON    VA    24363
MICHELLE R PRICE‐ALVERIO                          243 7TH AVE                                                                                       WILMINGTON      DE    19805‐4772
MICHELLE R QUALLS                                 8144 S FRANKLIN RD                                                                                INDIANAPOLIS    IN    46259
MICHELLE R SWEENEY                                217 AIMEES WA                                                                                     NEW EGYPT       NJ    08533‐2735
MICHELLE R TOLES                                  7519 GATHINGS DRIVE                                                                               FORT WAYNE      IN    46816‐2755
MICHELLE R WASHINGTON                             PO BOX 6603                                                                                       ARLINGTON       TX    76005‐6603
MICHELLE RENIS                                    3852 GROVELAND                                                                                    WYOMING         MI    49509‐3733
MICHELLE RICCIARDI CUST CARMINE RICCIARDI UTMA NJ 11 UPPER KINGTOWN RD                                                                              PITTSTOWN       NJ    08867‐4109

MICHELLE RICCIARDI CUST MARIA I RICCIARDI UTMA NJ 11 UPPER KINGTOWN RD                                                                              PITTSTOWN       NJ    08867‐4109

MICHELLE RICCIARDI CUST MARIA RICCIARDI UTMA NJ    11 UPPER KINGTOWN RD                                                                             PITTSTOWN       NJ    08867

MICHELLE ROMAINE                                   2545 MORNINGSIDE                                                                                 PASADENA        CA    91107‐4873
MICHELLE S DEL VALLE                               5 KINGSTON AV                                                                                    CORTLANDT       NY    10567
                                                                                                                                                    MANOR
MICHELLE SEGUIN                                    7235 W CRABAPPLE DR                                                                              PEORIA          AZ    85382‐7217
MICHELLE SIBILSKY CURLESS                          5571 WOODFIELD PK 39                                                                             GRAND BLANC     MI    48439‐9423
MICHELLE SIKOSKI                                   1404 VILAS AVE                          #3                                                       MADISON         WI    53711‐2226
MICHELLE SMITH                                     4311 GLENVIEW DR                                                                                 SACHSE          TX    75048
MICHELLE SMYTHE CUST MEAGAN SMYTHE UGMA NY         596 BAUDER PK                                                                                    ALDEN           NY    14004‐9599

MICHELLE SOFRANEC CUST GENEVIEVE JEAN SOFRANEC     C/O MICHELLE F PARRETT                  36 GRAHAM ST                                             CINCINNATI      OH    45219‐1608
UNDER THE MI U‐G‐M‐A
MICHELLE STOEL                                     382 HIGHBANKS CT                                                                                 HOLLAND         MI    49424‐6371
MICHELLE STOVAR                                    8120 ROLLER RD                                                                                   SALEM           OH    44460‐9241
MICHELLE STRAIGHT TR MICHELLE STRAIGHT TRUST UA    PO BOX 293                                                                                       PORT AUSTIN     MI    48467
03/17/95
MICHELLE SUZANNE TRIPP                             1440 DELAWARE                                                                                    YPSILANTI       MI    48198‐3180
MICHELLE T BURSOTT & LESLIE WAYNE BURSOTT JT TEN   ATTN MICHELLE T MCLEAN                  7691 GRANITE                                             WASHINGTON      MI    48094‐2842

MICHELLE T FISHER                                  743 BERKSHIRE RD                                                                                 GROSSE POINTE   MI    48230‐1817
MICHELLE T FROST                                   28 HUNTINGTON PKWY                                                                               BALLSTON LAKE   NY    12019‐1401
MICHELLE T MCLEAN                                  7691 GRANITE                                                                                     WASHINGTON      MI    48094‐2842
MICHELLE T MCLEAN & GERALD MCLEAN JT TEN           7691 GRANITE                                                                                     WASHINGTON      MI    48094‐2842
MICHELLE T O'BRIEN                                 9072 BAYWOOD DR                                                                                  PLYMOUTH        MI    48170‐3914
MICHELLE T RENAUD                                  28170 BOGGS WHARF ROAD                                                                           MELFA           VA    23410‐3625
MICHELLE V DUQUETTE                                1817 BROMLEY WAY                                                                                 ROSWELL         GA    30075‐5260
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Name                                              Address1                               Address2                Address3           Address4            City               State Zip

MICHELLE W LEE                                    73‐16 32 AVE                                                                                          JACKSON HGTS       NY    11370‐1841
MICHELLE WADDELL EX UW JAMES KEARNEY EST          2684 MALIBU DR                                                                                        GRAND JUNCTION     CO    81506‐1734

MICHELLE WARNER                                   3704 MERRIWEATHER LANE                                                                                ROCHESTER HILLS    MI    48306‐3675
MICHELLE WEST CUST RACHEL ERA WEST UTMA CA        14 DARLINGTON DRIVE                                                                                   HAWTHORN           IL    60047‐8055
                                                                                                                                                        WOODS
MICHELLE WEST CUST ZACHARY WEST UTMA CA           14 DARLINGTON DRIVE                                                                                   HAWTHORN           IL    60047‐8055
                                                                                                                                                        WOODS
MICHELLE WEXELBLAT                                32 PEACH ORCHARD ROAD                                                                                 BURLINGTON         MA    01803‐3123
MICHELLE WHITFIELD                                11096 SUNBURST                                                                                        WARREN             MI    48089
MICHELLE WILLIAMS CUST CAMERON QUENTIN            3524 E PLACITA DE PIPO                                                                                TUCSON             AZ    85718‐7423
WILLIAMS UTMA AZ
MICHELLE Y SHERRILL                               ATTN MICHELLE Y DIRCKSEN               12144 REED RD                                                  VERSAILLES         OH    45380‐9712
MICHELLE Y STRAGER                                1464 BLACKSTOCK                                                                                       SIMI VALLEY        CA    93063‐3114
MICHELLE ZAHALSKY                                 2032 LORD FAIRFAX RD                                                                                  VIENNA             VA    22182‐3721
MICHELLI MARINELLI                                13 MARIETTA LANE                                                                                      TRENTON            NJ    08619‐2227
MICHIGAN ELKS ASSOC MAJOR PROJECT COMM            PO BOX 1134                                                                                           BIG RAPIDS         MI    49307‐0834
MICHIGAN ELKS ASSOCIATION MAJOR PROJECT           PO BOX 1134                                                                                           BIG RAPIDS         MI    49307‐0834
COMMISSION
MICHIGAN FEDERAL CU                               1314 E COLDWATER RD                                                                                   FLINT              MI    48505‐1702
MICHIGAN FOOT SURGEONS EMPLOYEE PROF SHAR TR      29201 TELEGRAPH RD                     STE 100                                                        SOUTHFIELD         MI    48034‐7630
DTD 01/01/78
MICHIGAN WILDLIFE FOUNDATION INC                  PO BOX 30235                                                                                          LANSING            MI    48909‐7735
MICHIKO RANDOW                                    8388 MARY DEAN LN                                                                                     LAKESIDE           CA    92040‐5651
MICHIKO SAITO                                     3171 PEACH                                                                                            CLOVIS             CA    93612‐4977
MICHIO MIYAKE                                     20‐9 3 CHOME                           TAKANO DAI SUITA CITY   OSAKA PREFECTURE   JAPAN
MICHON M PERISO                                   450 MAPLE GROVE RD                                                                                    LAPEER             MI    48446‐3282
MICHON ROZIER                                     9669 CRYSTAL VIEW DR                                                                                  TUJUNGA            CA    91042‐3214
MICIA RENEE THORN                                 608 HANOVER DR                                                                                        ALLEN              TX    75002‐4774
MICK MCCAMMACK                                    3240 REAS RIDGE COURT                                                                                 DECATUR            IL    62521
MICK VARGO                                        1716 OXFORD AVE                                                                                       SOUTH PLAINFIELD   NJ    07080‐5545

MICKEY C MITCHELL                                 612 TOM SMITH RD SW #L                                                                                LILBURN            GA    30047‐2201
MICKEY CALDERONE                                  10 SPRING VALLEY LANE                                                                                 TRENTON            NJ    08638‐2012
MICKEY DANIEL D KISS CUST MICKEY KISS JR          3019 BURGER ROAD                       STEVENSVILLE ON                            L0S 1S0 CANADA
MICKEY E BOYER & DONNA C BOYER JT TEN             11738 NORTH BELLFONTAINE               LOT 131                                                        KANSAS CITY        MO    64156‐1002
MICKEY E BOYER & DONNA C BOYER JT TEN             11738 N BELLE FOUNTAIN                                                                                KANSAS CITY        MO    64156‐1002
MICKEY F SMITH                                    105 VILLAGE DR NE                                                                                     HARTSELLE          AL    35640‐5976
MICKEY G PURIFOY                                  RT 3 BOX 140                                                                                          LOVELADY           TX    75851‐8789
MICKEY GAYHEART                                   28 LEBLANC                                                                                            RIVER ROUGE        MI    48218‐1216
MICKEY J GOLDEN & TERRI BLEVINS GOLDEN JT TEN     813 SAINT JAMES CT                                                                                    PIKE ROAD          AL    36064‐3431

MICKEY J GRIMES                                   624 HIGHLAND DR                                                                                       MOULTON            AL    35650‐4118
MICKEY KOSTELNIK & MARY M KOSTELNIK JT TEN        5059 ROBINHOOD DRIVE                                                                                  WILLOUGHBY         OH    44094‐4389
MICKEY L BANKS                                    14313 S HARVEY                                                                                        OKLAHOMA CITY      OK    73170‐7278
MICKEY L CROSS                                    443 ROSEWAE AVE                                                                                       CORTLAND           OH    44410‐1307
MICKEY L GAMBLE                                   40179 EAST 172ND STREET                                                                               PALMDALE           CA    93591‐3108
MICKEY M CARROLL                                  5021 LIN HILL DRIVE                                                                                   SWARTZ CREEK       MI    48473‐8849
MICKEY MCPHERSON                                  521 CLUB OAK                                                                                          FT WORTH           TX    76114‐3344
MICKEY NAZAK                                      28046 WILDWOOD TR                                                                                     FARMINGTN HLS      MI    48336‐2268
MICKI SEMROC                                      156 MAPLE                                                                                             CORTLAND           OH    44410‐1223
MICKIE E LONG                                     7517 LAURIE DR                                                                                        FT WORTH           TX    76112‐4410
MICKY C HUGHES                                    3123 MARIES DR                                                                                        FALLS CHURCH       VA    22041‐2437
MID JOHNSON                                       1178 CO RD 644                                                                                        BROSELEY           MO    63932‐8110
MIDA E HAWKINS                                    5950 N MACKINAW RD                                                                                    PINCONNING         MI    48650‐8499
MIDAS N FORD                                      18085 ILENE X                                                                                         DETROIT            MI    48221‐2436
MIDCHESTER JEWISH CENTER                          515 BROADWAY                                                                                          DOBBS FERRY        NY    10522‐1105
MIDDLE ISLAND SEVENTH DAY BAPTISH CHURCH          ATTN CLARA NEGIE                       BOX 225                                                        MIDDLEBOURNE       WV    26149‐0225
MIDDLE ISLAND SEVENTH DAY BAPTIST CHURCH          ATTN N HELEN SUTTON                    RT 1 BOX 32                                                    NEW MILTON         WV    26411‐9711
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MIDDLECREEK CEMETERY ASSOCIATION               C/O EDMOND SANNER                    879 ROCKDALE RD                                                            ROCKWOOD         PA    15557‐6403
MIDDLESEX GENERAL HOSPITAL                     C/O FIRST UNION NATIONAL BANK        1525 WEST WT HARRIS BLVD 3A4   INCOME SERVICING                            CHARLOTTE        NC    28262‐8522
MIDLAND CREDIT UNION CUST FBO NICOLE BEHRENS   603 4TH ST SE                                                                                                   ALTOONA          IA    50009
IRA
MIECZYSLAW BEDNARSKI                           2329 EL RHEA DR                                                                                                 SEGUIN           TX    78155‐3007
MIECZYSLAW FRET                                551 NORTH VISTA AVENUE                                                                                          LOMBARD          IL    60148‐1934
MIECZYSLAW KOLODZIEJ                           4224 MARCY ST                                                                                                   WARREN           MI    48091‐4472
MIGDALIA R ACEVEDO                             2840 HOSPITAL RD                                                                                                SAGINAW          MI    48603‐2608
MIGDALIA RUIZ                                  E I 12 EXT COSTA SUR                 YAUCO                                               PUERTO RICO
MIGDALIA RUIZ & PALMIRA IRIZARRY JT TEN        E I 12 EXT COSTA SUR                 YAUCO                                               PUERTO RICO
MIGDALIA TRINGALI                              53 BENSON ST                                                                                                    GLEN RIDGE       NJ    07028‐2312
MIGNON L DANNAN                                2348 JOHNSTON RD                                                                                                COLUMBUS         OH    43220‐4745
MIGNON M JENNINGS                              12609 ASBURY PARK                                                                                               DETROIT          MI    48227‐1204
MIGNONNE RUSSELL MITCHELL                      BOX 22                                                                                                          WATKINSVILLE     GA    30677‐0001
MIGUEL A BUESO                                 7916 RUNNYMEADE DR                                                                                              FREDERICK        MD    21702‐2944
MIGUEL A CALDERON                              531 VENTURA AVE                                                                                                 CORONA           CA    91719‐1135
MIGUEL A CRUZ                                  1677 MYSTIC CV                                                                                                  DEFIANCE         OH    43512‐3698
MIGUEL A LOPEZ                                 10092 SHANA WA                                                                                                  ELK GROVE        CA    95757‐5956
MIGUEL A MARTIN                                33 ALYEA STREET                                                                                                 NEWARK           NJ    07105‐3201
MIGUEL A NOGUER                                ESTRADA 1098                         1648 TIGRE                     BUENOS AIRES         ARGENTINA
MIGUEL A PALMA                                 APT 219                              668 LAVETA TERRACE                                                         LOS ANGELES      CA    90026‐4387
MIGUEL A SANTIAGO                              URB LOS CAOBOS                       2115 CALLE MOTILLO             PONCE                PUERTO RICO
MIGUEL A SILVA                                 367 MCGRADY ROAD                                                                                                RISING SUN       MD    21911‐2535
MIGUEL A VELOZ                                 PO BOX 368                                                                                                      FRAZIER PARK     CA    93225‐0368
MIGUEL ACEA                                    1217 COMMONWEALTH AVE                                                                                           BRONX            NY    10472‐4604
MIGUEL ANGEL CABRERA                           GM DE MEXICO                         LAGO VICTORIA #74              11520 MEXICO D F     MEXICO
MIGUEL ANGEL CABRERA                           C/O G M DE MEXICO S A DE C V         APARTADO 107 BIS               MEXICO 1 D F         MEXICO
MIGUEL ANGEL GRADO                             816 GALLOWAY                                                                                                    EL PASO          TX    79902‐2018
MIGUEL ANGEL REYES                             C/O MARIA J PARRILLA                 PO BOX 533                                                                 SAN LORENZO      PR    00754‐0533
MIGUEL BALAGOT                                 PSC 473 BOX 864                                                                                                 FPO              AP    96349‐5555
MIGUEL CANDELARIA                              3833 E SAN REMO AVE                                                                                             GILBERT          AZ    85234‐3033
MIGUEL CARABALLO                               10 PRAIRIE TRL                                                                                                  WEST HENRIETTA   NY    14586‐9761
MIGUEL CARDOSA                                 PO BOX 1743                                                                                                     WESLACO          TX    78599‐1743
MIGUEL CARDOSA & NELLIE E CARDOSA JT TEN       PO BOX 1743                                                                                                     WESLACO          TX    78599‐1743
MIGUEL CRUZ                                    BUZON 4026                           SABANA HOYOS                                        PUERTO RICO
MIGUEL D CUELLAR                               VILLAS SAN GABRIEL 175               SALTILLO COAH                                       25250 MEXICO
MIGUEL D CUELLAR                               GM DE MEXICO SA DE                   AV EJERCITO NACL 843           PISO 3 GRANADA MEX   MEXICO
MIGUEL E ESPARZA                               2053 SUN QUEST ST                                                                                               EL PASO          TX    79938‐4439
MIGUEL E LOPEZ                                 52275 CLARENDON HILLS DRIVE                                                                                     GRANGER          IN    46530‐7854
MIGUEL E VIVANCO                               7400 W 62ND PL                                                                                                  ARGO             IL    60501‐1708
MIGUEL EYIA                                    1900 WOOD ST                                                                                                    LANSING          MI    48912‐3440
MIGUEL F RODRIGUEZ                             640 DENNIS PL                                                                                                   LINDEN           NJ    07036‐1229
MIGUEL FRAGOSO‐RECIO                           52 HORNTON STREET                    LONDON                                              W8 4NT GREAT BRITAIN
MIGUEL G MUNOZ                                 8360 WHITTAKER                                                                                                  DETROIT          MI    48209‐3434
MIGUEL GONZALEZ                                30850 GERALDINE                                                                                                 WESTLAND         MI    48185‐1798
MIGUEL HEERINGA                                1730 OAK BROOK DR                                                                                               JENISON          MI    49428‐9548
MIGUEL JARAMILLO                               1400 WOODFERN DR                                                                                                ARLINGTON        TX    76018
MIGUEL LOPEZ                                   11125 NW 59 CT                                                                                                  HIALEAH          FL    33012‐6500
MIGUEL LUNA                                    348 HOFFMEISTER AVENUE                                                                                          ST LOUIS         MO    63125‐1608
MIGUEL M FLECHAS III                           510 LAKE AVE                                                                                                    PASCAGOULA       MS    39567‐1611
MIGUEL M ROMERO                                209 YOSEMITE MEADOWS DR                                                                                         MODESTO          CA    95357‐0409
MIGUEL MENENDEZ ROBLES                         CAMINO LA IGLESIA LAPEDRERA          GISON                                               33390 SPAIN
MIGUEL PALAU                                   36‐06 213TH STREET                                                                                              BAYSIDE          NY    11361‐2009
MIGUEL PASTRANA                                3265 NW 87 TERR                                                                                                 MIAMI            FL    33147‐3715
MIGUEL QUEZADA JR                              28505 EVERGREEN                                                                                                 SOUTHFIELD       MI    48076‐5431
MIGUEL QUINTANILLA JR                          1522 MADRID                                                                                                     CORPUS CHRISTI   TX    78416‐1727
MIGUEL R AGUIAR III                            1400 ROSAL LANE                                                                                                 CONCORD          CA    94521‐2636
MIGUEL R ROCHA                                 2017 W 17TH ST                                                                                                  CHICAGO          IL    60608‐1814
MIGUEL ROSALEZ JR                              306 ELMWOOD ST                                                                                                  ALMA             MI    48801‐2636
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MIGUEL RUIZ GIMENEZ                               GM ESPANA SA                         APARTADO 375         50080 ZARAGOZA    SPAIN
MIGUEL S NAVA                                     2731 CUNNINGHAM AVE                                                                             SAN JOSE          CA    95148‐1105
MIGUEL V BONILLA                                  PO BOX 238                                                                                      SOMERVILLE        TX    77879‐0238
MIHAIL GIOFU                                      4250 TOWNLINE R R #3                 WINDSOR ON                             ZZZZ CANADA
MIHAILO B DULOVIC                                 10847 AVE B                                                                                     CHICAGO           IL    60617‐6814
MIKE A CONLEY                                     2531 HEMPSTEAD RD                                                                               AUBURN HILLS      MI    48326‐3413
MIKE A HUDSON                                     15017 REID RD                                                                                   ATHENS            AL    35611‐7308
MIKE A MESSER                                     1216 CAIRNS ROAD                                                                                MANSFIELD         OH    44903‐9093
MIKE A NOVASKY                                    14529 OXFORD                                                                                    PLYMOUTH          MI    48170‐2672
MIKE A SHAHINIAN TOD PAUL SHAHINIAN               5001 SEMINARY RD APT 317                                                                        ALEXANDRIA        VA    22311‐1907
MIKE ALEXANDER                                    17703 SMOOTH ROCK FALLS DR                                                                      SPRING            TX    77379
MIKE AMAROSE & NORMA F AMAROSE JT TEN             PO BOX 2                                                                                        HESSEL            MI    49745‐0002
MIKE ARCAMONE                                     6811 SHADOWOOD DRIVE                                                                            WEST BLOOMFIELD   MI    48322‐3297

MIKE BELSOLE CUST MICHAEL BELSOLE III UTMA NY     620 N COLUMBUS AVE                                                                              MOUNT VERNON      NY    10552‐1326

MIKE BUBEN                                        210 ZIMMERMAN RD                                                                                HAMPSHIRE         TN    38461
MIKE BUBEN & BETTY M BUBEN JT TEN                 210 ZIMMERMAN RD                                                                                HAMPSHIRE         TN    38461‐5112
MIKE BUKATA                                       73 BARBICAN TRAIL                    ST CATHARINES ON                       L2T 4A9 CANADA
MIKE C GOMEZ                                      803 CHICO DR                                                                                    SAN LEANDRO       CA    94578‐4023
MIKE C MARTINEZ                                   195 W ROSEWOOD AVE APT 35                                                                       DEFIANCE          OH    43512‐3468
MIKE CANZONERI                                    2375 RANKIN AVE                      WINDSOR ON                             N9E 3X5 CANADA
MIKE CATERINO CUST JOSHUA CATERINO UGMA MI        1045 CALVIN SE                                                                                  GRAND RAPIDS      MI    49506‐3234

MIKE CHRISTLIEB                                   5638 N 750W                                                                                     LIGONIER          IN    46767‐9103
MIKE COLOSIMO                                     3093 18TH ST                                                                                    DETROIT           MI    48216‐1120
MIKE D BROWN                                      504 SHILOH CIR                                                                                  COLUMBIA          TN    38401‐5316
MIKE D CHANDLER                                   22524 HWY 371                                                                                   COTTON VALLEY     LA    71018‐2622
MIKE D SLATE                                      63 LEONARD AVE                                                                                  HIGHLARDS         NJ    07716‐1122
MIKE D VELASCO                                    265 E HOLLY ST                                                                                  RIALTO            CA    92376‐4315
MIKE DRAGGICH                                     814 GREENWOOD MANOR CIR                                                                         MELBOURNE         FL    32904‐1926
MIKE E BETTIS                                     9927 DENNISON AV                                                                                SAINT LOUIS       MO    63114‐1401
MIKE E BRADSHAW                                   7003 ROYAL GATE                                                                                 ARLINGTON         TX    76016‐5415
MIKE E CHAVIS                                     1993 COLUMBIA HWY NORTH                                                                         AIKEN             SC    29805‐7859
MIKE E LANTRY                                     9225 INDIAN CREEK RD S                                                                          INDIANAPOLIS      IN    46259‐1340
MIKE E LOKMER & MARION B LOKMER JT TEN            130 DARTMOUTH                                                                                   CANFIELD          OH    44406‐1211
MIKE ENRIQUEZ                                     3950 N LAKE SHORE DR 900A                                                                       CHICAGO           IL    60613‐3412
MIKE ERTLL                                        829 SO 8TH ST                                                                                   ALHAMBRA          CA    91801‐4636
MIKE F MILLER                                     501 ROSEGARDEN DR NE                                                                            WARREN            OH    44484‐1832
MIKE FERGUSON                                     5722 GLENHAVEN CT                                                                               RIVERSIDE         CA    92506‐3577
MIKE FILIPCICH                                    534 SCOTT ST                                                                                    NILES             OH    44446‐2914
MIKE FURRY                                        36043 PANSY ST                                                                                  WINCHESTER        CA    92596‐8735
MIKE G GARCIA                                     6440 CENTENNIAL ROAD                                                                            TECUMSEH          MI    49286‐9524
MIKE GALVIN                                       30106 BONNIE VIEW DR                                                                            WICKLIFFE         OH    44092‐1183
MIKE GERACI                                       32000 SHAKER BLVD                                                                               PEPPER PIKE       OH    44122
MIKE GERAGOSIAN                                   17015 CICOTTE                                                                                   ALLEN PARK        MI    48101
MIKE GRAB                                         7251 NORTHFIELD CIRCLE                                                                          FLUSHING          MI    48433‐9427
MIKE GRITZMACHER                                  5205 SHERMAN ST APT 21                                                                          WAUSAU            WI    54401‐8456
MIKE GUNTER                                       2440 COUNTY ROAD 1199                                                                           BLANCHARD         OK    73010‐2828
MIKE H GONZALES                                   10502 ONEIDA AVE                                                                                PACOIMA           CA    91331‐3026
MIKE H SOSA                                       1873 THREADNEEDLE WAY                                                                           SAN JOSE          CA    95121‐1545
MIKE HUTTON CUST SAVANNAH LEE HUTTON UTMA GA      2012 OAKDALE DR                                                                                 VALDOSTA          GA    31602‐2204

MIKE HUTTON CUST SHANE TYLER DAVISON UTMA GA      2012 OAKDALE DR                                                                                 VALDOSTA          GA    31602‐2204

MIKE IRISH                                        BOX 2482                                                                                        LUBBOCK           TX    79408‐2482
MIKE J ALESSI                                     691 GIBBS ST                                                                                    CARO              MI    48723‐1446
MIKE J DRAGON                                     1027 CORONADO DRIVE                                                                             ROCKLEDGE         FL    32955‐3357
MIKE J EASTERWOOD                                 7784 W SAND BAR CT                                                                              TUCSON            AZ    85743‐5263
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MIKE J JARMAN                                    425 MAXWELL ROAD                                                                                CHEBOYGAN          MI    49721‐9603
MIKE J LABAJ                                     597 ARNHEM DR                          OSHAWA ON                              L1G 2J7 CANADA
MIKE J MARTINEZ                                  1529 NO FRIES AVE                                                                               WILMINGTON         CA    90744‐2035
MIKE J NECKEL                                    9408 MCGREGOR RD                                                                                PINCKNEY           MI    48169‐9410
MIKE J VALDEZ                                    2155 PARK SPRINGS CIR                  APT 1137                                                 ARLINGTON          TX    76013‐6891
MIKE J WOLFLA                                    7329 LAKE LAKOTA DR                                                                             INDIANAPOLIS       IN    46217‐7084
MIKE JAFFE                                       2428 SHERWIN                                                                                    CHICAGO            IL    60645‐1428
MIKE JOSEPH CUST ROBERT MICHAEL JOSEPH UGMA PA   109 S 4TH ST                                                                                    WEST NEWTON        PA    15089‐1313

MIKE K BOURNAZIAN                                1073 E VALLEY RD                                                                                GARDNERVILLE       NV    89410‐6103
MIKE KAMINSKI                                    11 RYERSON RD                                                                                   FLEMINGTON         NJ    08822‐7001
MIKE KATSIGIANNIS                                6903 DEATONHILL DR 43                                                                           AUSTIN             TX    78745
MIKE KIDONAKIS                                   4426 N NEW ENGLAND                                                                              HARWOOD HGTS       IL    60706‐4826
MIKE KOBLE                                       5030 W CARSON ST                                                                                TORRANCE           CA    90503‐6322
MIKE KORFF                                       6501 S WATTERSON TRAIL                                                                          LOUISVILLE         KY    40291
MIKE KUNZMAN CUST NATHAN PAUL KUNZMAN UGMA       1797 SCHOENITH LN                                                                               BLOOMFIELD HILLS   MI    48302‐2657
MI
MIKE L HUXTABLE                                  2494 ROBERTSON RD                                                                               SANTA CLARA        CA    95051
MIKE LEE                                         502 ENNISMORE PLACE                    WATERLOO ON                            N2T 2G3 CANADA
MIKE LOMBOY                                      9350 MARKER DRIVE                      APT 3                                                    CINCINNATI         OH    45251‐5175
MIKE M FLORES                                    10347 WALNUT AVE                                                                                SOUTH GATE         CA    90280‐6929
MIKE M POPPLETON                                 112 CLARK AVE                                                                                   SANTA CRUZ         CA    95060‐6402
MIKE M SWICK                                     1671 KENBROOK TRCE NW                                                                           ACWORTH            GA    30101‐3523
MIKE MARTIN                                      P O BOX 307                                                                                     LOCKEFORD          CA    95237
MIKE MC CLARAN                                   28835 AVE 15TH                                                                                  MADERA             CA    93638‐4006
MIKE MERCY CUST FREDERICK MERCY UTMA WA          BOX 50                                                                                          YAKIMA             WA    98907‐0050
MIKE MILCHIKER & RACHELLE MILCHIKER JT TEN       22691 PINE LAKE                                                                                 LAKE FOREST        CA    92630‐3049
MIKE MINIHAN CUST MIKE MINIHAN UTMA TX           300 MARTIN RD                                                                                   CARLISLE           PA    17015‐9283
MIKE MOORE                                       1531 S MAPLE                                                                                    ANNARBOR           MI    48103‐4440
MIKE MOSHOURIS CUST GEORGE M MOSHOURIS UTMA      334 EDSTAN WAY                                                                                  PARAMUS            NJ    07652‐5712
NJ
MIKE N DAILEY                                    407 ANCHOR WAY                                                                                  KURE BEACH         NC    28449‐4803
MIKE NARANJO                                     11224 ACALA AVE                                                                                 SAN FERNANDO       CA    91340‐4345
MIKE NELSON CUST CARTER RYAN NELSON UTMA WA      87 CHESTERMERE CRESCENT                SHERWOOD PARK AB                       T8H 2W6 CANADA

MIKE NINIOWSKYJ                                  4658 SINGH DR                                                                                   STERLING HEIGHTS   MI    48310‐5198

MIKE O GARCIA                                    19692 CAMDEN AVE                                                                                HAYWARD            CA    94541‐1448
MIKE ODALOVICH TOD DAVID M ODALOVICH SUBJECT     1575 NORTHBROOK DR                                                                              ANN ARBOR          MI    48103‐6193
TO STA TOD RULES
MIKE ORTIZ                                       12508 FAIRPORT                                                                                  DETROIT            MI    48205‐3436
MIKE P KATCHMER                                  1934 PEACHTREE CT                                                                               YOUNGSTOWN         OH    44514‐1431
MIKE P MINCOFF                                   19071 GRANDVIEW RD                                                                              BELLE FOURCHE      SD    57717‐6180
MIKE P MINTER SR                                 135 LONGWOOD DR                                                                                 JONESBORO          GA    30236‐5565
MIKE PEREZ                                       2527 W WASHINGTON ST                                                                            INDIANPOLIS        IN    46222‐4165
MIKE PESANSKY                                    4914 MAPLECREST AVE                                                                             PARMA              OH    44134‐3538
MIKE PETTENGILL                                  6915 ARBUTUS                                                                                    HUNTINGTON PK      CA    90255‐5227
MIKE R CLIMENT                                   436 SCONE DR                                                                                    TROY               MI    48098‐1734
MIKE R CLIMENT & SILVIA C CLIMENT JT TEN         436 SCONE DR                                                                                    TROY               MI    48098‐1734
MIKE R KING                                      1501 S KING AVE                                                                                 HARRISONVILLE      MO    64701‐3328
MIKE R LOPEZ                                     611 N HUMPHREYS AVE                                                                             LOS ANGELES        CA    90022‐1032
MIKE R SAPPINGTON                                1613 TWIN VALLEY DR NE                                                                          SOLON              IA    52333‐9321
MIKE R UNIAK                                     13418 WEST 56TH PLACE                                                                           SHAWNEE            KS    66216‐4634
MIKE RIVILIS                                     209 HULL AVE HARMONY HILLS                                                                      NEWARK             DE    19711‐6923
MIKE ROGERS                                      1265 ESSEX ST                          UNIT 7                                                   SAN DIEGO          CA    92103‐3339
MIKE ROHAN                                       945 E PLAYA DEL NORTE DR UNIT 5017                                                              TEMPE              AZ    85281‐2287
MIKE ROMA                                        17803 SUGARLOAF BAY DR                                                                          CYPRESS            TX    77083
MIKE S DIDONATO                                  PO BOX 2261                                                                                     WOONSOCKET         RI    02895‐0901
MIKE S MUNOZ                                     9331 TELFAIR AVE                                                                                SUN VALLEY         CA    91352‐1330
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Name                                               Address1                                Address2             Address3          Address4          City             State Zip

MIKE S SIRAK                                       14700 SLEEPY HOLLOW DR                                                                           NOVELTY          OH    44072‐9695
MIKE S WEBSTER                                     4790 OAK ST                             APT 224                                                  KANSAS CITY      MO    64112
MIKE SANDELLA TOD CHRISTOPHER SPRIGGS SUBJECT      4735 CEDAR                                                                                       KANSAS CITY      MO    64133‐1824
TO STA TOD RULES
MIKE SEKULICH                                      4429 BROADWAY                                                                                    GARY             IN    46409‐2122
MIKE SMITH                                         1508 CATALINA                                                                                    LEWISVILLE       TX    75067‐5606
MIKE SOMMERER                                      1603 THOMPSON ST                                                                                 JEFFERSON CITY   MO    65109‐2421
MIKE STELLINO                                      2012 WENDOVER DR SW                                                                              GRAND RAPIDS     MI    49504‐4753
MIKE STEMPER                                       17073 70TH ST NE                                                                                 OTSEGO           MN    55330‐6530
MIKE STEPHENS TR UA 1/17/96 LARRY N COBB SR SPEC   2167 OLD GEORGETOWN RD E                                                                         BETHUNE          SC    29009
NEEDS TR
MIKE SUPINA & MRS ALYCE SUPINA JT TEN              20375 SUMPTER RD                                                                                 BELLEVILLE       MI    48111‐8965
MIKE TIPOLT                                        518 RIVER DRIVE                                                                                  GWINN            MI    49841
MIKE TOUVI                                         2205 CYPRESS BEND DRIVE SOUTH APT       303                                                      POMPANO BEACH    FL    33069
MIKE TURINSKY                                      PO BOX 312                                                                                       BIXBY            OK    74008‐0312
MIKE V MORA                                        6513 W AVENUE L15                       APT E                                                    LANCASTER        CA    93536‐1217
MIKE V STADNIKA                                    4651 REMEMBRANCE ROAD N W                                                                        GRAND RAPIDS     MI    49544‐1174
MIKE V STADNIKA CUST TIMOTHY S HILDEBRAND JR       4651 REMEMBRANCE NW                                                                              GRAND RAPIDS     MI    49544‐1174
UTMA MI
MIKE VIS CUST EZRA ROBERT VIS UTMA CA              17331 MELBOURNE LN                                                                               YORBA LINDA      CA    92886‐3832
MIKE VIZMEG                                        2903 E BARLOW RD                                                                                 HUDSON           OH    44236‐4143
MIKE W PRELL                                       8404 VASSAR ROAD                                                                                 MILLINGTON       MI    48746‐9437
MIKE WATSON                                        12924 SW FIFTH ST                                                                                BEAVERTON        OR    97005
MIKE WU                                            28 CROSS ST                                                                                      NEWTON           MA    02465
MIKEL H GRIFFITH JR                                1335 EVERETT AVE                                                                                 DES PLAINES      IL    60018‐2305
MIKEL HUNLEY                                       265 CONNECTICUT DR                                                                               ELYRIA           OH    44035‐7874
MIKEL SKRIPNIK                                     2837 ORCHARD DR                                                                                  PALM HARBOR      FL    34684‐1754
MIKESELL E LORD                                    1094 NORTH CHESTER RD                                                                            CHARLOTTE        MI    48813‐8866
MIKEY GIBSON                                       1365 CO RD 261                                                                                   TOWN CREEK       AL    35672‐4325
MIKHAIL F ALI                                      56 NUTTELL ST                           BRAMPTON ON                            L6S 4V4 CANADA
MIKLOS MOLNAR                                      5681 HARBORAGE DR                                                                                FORTMYERS        FL    33908‐4531
MIKLOS VASTAGH                                     324 PURITAN RD                                                                                   TONAWANDA        NY    14150‐7024
MIKOS KULHA CUST MICHAEL KULHA UGMA MI             1613 LEXINGTON                                                                                   TROY             MI    48084‐5708
MIKULAS KUZDAK                                     12211 HIAWATHA                                                                                   UTICA            MI    48315‐1250
MILA O FESDJIAN                                    520 BRICKELL KEY DRIVE                  APT 1205                                                 MIAMI            FL    33131‐2660
MILAGRO VILLANUEVA                                 3533 OLDE WINTER TRL                                                                             POLAND           OH    44514‐5827
MILAGROS A LLORIN                                  3904 WOOD GATE LANE                                                                              VIRGINIA BEACH   VA    23452‐2734
MILAGROS DONES                                     31 3RD ST                                                                                        SHALIMAR         FL    32579‐1750
MILAGROS M DELA CRUZ CUST EDWARD L DELA CRUZ       1543 DENNISON ROAD                                                                               EAST LANSING     MI    48823‐2193
UGMA ME
MILAGROS S CASTILLO                                7442 S WICK DR                                                                                   DAVISON          MI    48423‐9564
MILAGROS S VALDERRAMA                              YORKVILLE TOWERS 9AW                    1623 THIRD AVENUE                                        NEW YORK         NY    10128‐3638
MILAM E KLEAS                                      10135 WEST RD                                                                                    HOUSTON          TX    77064‐5361
MILAN BOROVICH                                     12921 W MANDALAY LN                                                                              EL MIRAGE        AZ    85335‐3413
MILAN E BALDWIN                                    3625 CHRISTY RD                                                                                  DEFIANCE         OH    43512‐9603
MILAN E BOX                                        2240 SHENFIELD RD                                                                                TURNER           MI    48765‐9740
MILAN E JELENIC                                    10235 SAWMILL DR                                                                                 CHARDON          OH    44024‐8219
MILAN HERAK                                        13321 PERRY CIRCLE                                                                               WARREN           MI    48093‐1329
MILAN L STOCKING                                   141 E SESSION ST                                                                                 DEFIANCE         OH    43512‐1631
MILAN M MUTIC                                      6276 COLDSTREAM RD                                                                               HIGHLAND HEIGHTS OH    44143‐3702

MILAN MAREK & LJERKA MAREK JT TEN                  401 RONESVALES AVE                      TORONTO ON                             M6R 2N1 CANADA
MILAN O FELT & ROBERT S FELT JT TEN                1701 TALLY ROAD                         FOREST HILLS PARK                                        WILMINGTON       DE    19803‐3915
MILAN Q FELT                                       1701 TALLEY ROAD                        FOREST HILLS PARK                                        WILMINGTON       DE    19803‐3915
MILAN SVACHA                                       470 CARPENTER                                                                                    LEMONT           IL    60439
MILAN W LARRICK                                    2496 BERGEN RD                                                                                   BATAVIA          OH    45103‐9568
MILANDA SAHLKE                                     1425 S BYRON RD                                                                                  LENNON           MI    48449‐9621
MILAS E DONEY                                      110 E COMMERCIAL STREET                                                                          NORVELL          MI    49263
MILAS MARTIN                                       629 W BUNDY AVE                                                                                  FLINT            MI    48505‐2042
                                               09-50026-mg           Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                           Address2             Address3          Address4          City            State Zip

MILBREY R DUGGER                                 8 MC KENDREE CIRCLE                                                                         HERMITAGE       TN    37076‐2136
MILBURN A FRANCIS                                1030 W PARK AVE                                                                             BRAZIL          IN    47834‐7527
MILBURN D DECKER                                 17239 HIGHWAY 196                                                                           NANCT           KY    42544‐4417
MILBURN HOUSE                                    1336 TERRELL CREEK RD                                                                       ANNVILLE        KY    40402‐9635
MILBURN T GIRTEN & DOLORES A GIRTEN JT TEN       17255 WINSTON                                                                               DETROIT         MI    48219‐5806
MILDA A ECHELLE                                  12537 VILLAGE LN                                                                            OKLAHOMA CITY   OK    73170‐3413
MILDA D MCKEE                                    PO BOX 901                                                                                  SPRING HILL     TN    37174‐0901
MILDA E BLOME                                    850 KENTSHIRE DR                                                                            DAYTON          OH    45459
MILDON G KLOTZ & JOYCE J KLOTZ JT TEN            229 S FAIRVIEW                                                                              LANSING         MI    48912‐3009
MILDRED A AUSTIN                                 46 STEVENS RD                                                                               MELROSE         MA    02176‐2114
MILDRED A BAILEY                                 5641 GATEWAY LN                                                                             BROOK PARK      OH    44142‐2024
MILDRED A BARKLEY                                125 BROWN HOLLOW RD                                                                         DICKSON         TN    37055‐5337
MILDRED A BETKA                                  2213 KIPLING                                                                                STERLING HGTS   MI    48310‐2330
MILDRED A CONWAY CO MAY LONG SANDERS             4107 WINTERBURN AVE                                                                         PITTSBURGH      PA    15207‐1160
MILDRED A COOK                                   1701 N OHIO                                                                                 KOKOMO          IN    46901‐2525
MILDRED A COURTNEY & WILLIAM P HARRISON JT TEN   39500 WARREN RD 46 W OAK                                                                    CANTON          MI    48187‐4318

MILDRED A COX                                    ATTN MILDRED A LANGDON             PO BOX 422                                               HAZELWOOD       MO    63042‐0422
MILDRED A GARRETT                                216 SYCAMORE RD MEADOWVIEW                                                                  ELKTON          MD    21921‐4114
MILDRED A GILBERT                                7269 DECATUR ST                                                                             NEW TRIPOLI     PA    18066‐3928
MILDRED A GRAHAM                                 23944 HOLLYWOOD RD                                                                          HOLLYWOOD       MD    20636‐2118
MILDRED A GRAY                                   103 GOSSMAN DRIVE                                                                           SOUTHERN PNES   NC    28387
MILDRED A HENDERSON                              PO BOX 55                                                                                   NATHALIE        VA    24577‐0055
MILDRED A HUNZIKER                               1834 MISSISIPPI RIVER BLVD S       APT 202                                                  ST PAUL         MN    55116
MILDRED A KOLBUSZ                                5666 HARRISON                                                                               GARDEN CITY     MI    48135‐2900
MILDRED A LEAR                                   1229 OAK KNOLL CT                                                                           INDIANAPOLIS    IN    46217‐5263
MILDRED A NOVOTNY & JEANETTE A MILLER JT TEN     356 AVON BELDEN RD                                                                          AVON LAKE       OH    44012‐2204

MILDRED A RUZICH                                 109 N LAFAYETTE RD                                                                          FORDS           NJ    08863‐1013
MILDRED A SCHUTTE                                8851 COTTONWOOD DRIVE                                                                       CINCINNATI      OH    45231‐4707
MILDRED A SUSAC                                  404 N RIDGEWOOD AVE                                                                         EDGEWATER       FL    32132‐1620
MILDRED A VANASSE                                39 MC BRIDE ROAD                                                                            LITCHFIELD      CT    06759‐3812
MILDRED A VANCE                                  400 WEST JEFERSON                                                                           GRAND LEDGE     MI    48837‐1408
MILDRED A WEBER                                  1935 CIRCLE LANE SE                                                                         LACEY           WA    98503‐2561
MILDRED ALICE SCOTT BLANK                        6136 LINDA LN                                                                               INDIANAPOLIS    IN    46241
MILDRED ANN PYLANT                               PO BOX 1168                                                                                 SALADO          TX    76571‐1168
MILDRED ANNA JACKSON                             RTE 3 BOX 251                                                                               PARKERSBURG     WV    26101‐9669
MILDRED ANNA SPARKS                              1121 E RICHARD ST                                                                           MIAMISBURG      OH    45342‐1947
MILDRED ARMOR FRIZZELL                           3601 N BLACKWELDER AVE                                                                      OKLAHOMA CITY   OK    73118‐3236
MILDRED B BABCOCK & DOROTHY J NOLEN & DANA R     2502 BROADWAY                                                                               KALAMAZOO       MI    49008‐2108
ANDERSON JT TEN
MILDRED B BALSAM                                 2083 SAWTOOTH MOUNTAIN DR                                                                   HENDERSON       NV    89044‐0122
MILDRED B CANNADAY                               5631 OAKLEVEL RD                                                                            BASSETT         VA    24055‐4090
MILDRED B CARLETON                               930 W THIRD ST                                                                              ROCHESTER       MI    48307‐1809
MILDRED B CARPENTER                              264 STEWART ST                                                                              WARREN          OH    44483‐2067
MILDRED B CHAVEZ                                 133 NORTHWOOD COMMONS                                                                       LIVERMORE       CA    94551‐3052
MILDRED B EVANS                                  3007 CRANBERRY RIDGE DR                                                                     WILSON          NC    27893
MILDRED B FOGG                                   3105 MAYOS WOODS CT                                                                         GOOCHLAND       VA    23063‐2521
MILDRED B FRIEL & MILDRED JOAN GOAD JT TEN       6101 COVINGTON TERRACE                                                                      MINNETONKA      MN    55345‐6223
MILDRED B HESS                                   1201‐2 HUMMINGBIRD LANE                                                                     WILMINGTON      NC    28411
MILDRED B HOLMES                                 12 OX YOKE DR                                                                               WETHERSFIELD    CT    06109‐3750
MILDRED B KLEYLA & JALANE L KELLOUGH JT TEN      9219 VINELAND CT UNIT F                                                                     BOCA RATON      FL    33496‐4211
MILDRED B OCOCK                                  3023 S 84TH ST                                                                              MILWAUKEE       WI    53227
MILDRED B OVERTON                                1914 GREENBRIER RD                                                                          FLORENCE        AL    35630‐1630
MILDRED B RANNEY                                 574 LONG POND RD                                                                            ROCHESTER       NY    14612‐3041
MILDRED B ROBERTS                                8180 NORTH LINDEN RD                                                                        MT MORRIS       MI    48458‐9488
MILDRED B SHAMPANORE                             37 BURLINGTON AVE                                                                           WILMINGTON      MA    01887
MILDRED B SHERWOOD & LINDA M SHERWOOD JT TEN     3651 WHITNEY AVE                                                                            HAMDEN          CT    06518‐1515
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MILDRED B STEADMAN & PATRICIA S HUGGINS JT TEN   688 ROCKY WOODS CV                                                                               CORDOVA            TN    38018‐6515

MILDRED B TURNBULL TR MILDRED B TURNBULL TRUST   1725 TIVERTON RD APT 7                                                                           BLOOMFIELD HILLS   MI    48304‐2365
UA 06/16/92
MILDRED BECHER                                   2016 CREEKWOOD DR                                                                                SOUTH BEND         IN    46635‐2054
MILDRED BENNER                                   9939 NEARBROOK LN                                                                                BALTIMORE          MD    21234‐1236
MILDRED BENOFF                                   414 N BOWLING GREEN WAY                                                                          LA                 CA    90049‐2820
MILDRED BETH TERRELL                             23003 CHANDLER LANE APT 346                                                                      OLMSTEAD FALLS     OH    44138‐3268
MILDRED BOTTORFF & GARALD BOTTORFF JT TEN        9912 GREAT OAKS WAY                                                                              FAIRFAX            VA    22030‐1607
MILDRED BOZE                                     545 GREEN VALLEY DR                                                                              LEXINGTON          KY    40511‐8851
MILDRED BRINGARD                                 24729 BASHIAN DR                                                                                 NOVI               MI    48375‐2941
MILDRED BRINKLEY YOUNG                           13303 JAYBIRD CT                                                                                 CLIFTON            VA    20124‐1096
MILDRED BRISKI & ANTON J BRISKI JT TEN           31 N BROADWAY ST                                                                                 JOLIET             IL    60435
MILDRED BUKSA STACHOWSKI & STACEY HELEN          2710 BAINBRIDGE                                                                                  STERLING HEIGHTS   MI    48310‐3001
STACHOWSKI JT TEN
MILDRED C BOWSER                                 96 CATHERINE COURT                                                                               GERMANTOWN         OH    45327‐9304
MILDRED C CHMIELEWSKI                            481 HALE ST                                                                                      SUFFIELD           CT    06078‐2501
MILDRED C COHEN                                  1305 NORTH MOODY                                                                                 VICTORIA           TX    77901‐5142
MILDRED C CORNETT                                2017 POND MEADOW RD                                                                              SOMERSET           KY    42503‐2802
MILDRED C DENT                                   949 MAYNARD DR                                                                                   INDPLS             IN    46227‐2315
MILDRED C EVANS                                  3 SILVER ST                                                                                      NANTUCKET          MA    02554‐3927
MILDRED C GOBLE                                  1785 KELLY ROAD                                                                                  MASON              MI    48854‐9670
MILDRED C KELLY                                  242 CHERRYWOOD COURT                                                                             NORTH WALES        PA    19454‐1148
MILDRED C KOSS                                   514‐44 WILLIAM STREET W                 OSHAWA ON                              L1G 1J9 CANADA
MILDRED C PANIGAL & GRACE L PANIGAL JT TEN       20 BARBARA RD                                                                                    LATROBE            PA    15650‐1010
MILDRED C WHITAKER                               17 PARKWAY S                                                                                     AIKEN              SC    29803‐5267
MILDRED C WILCOX                                 BOX 25                                                                                           HOWARD             OH    43028‐0025
MILDRED C WILL                                   1920 SANDUSKY ST                                                                                 SANDUSKY           OH    44870‐3055
MILDRED C WILSON                                 1 SHERWOOD ROAD                                                                                  SAVANNAH           GA    31406‐4950
MILDRED C WILSON                                 349 AKRON ST                                                                                     LOCKPORT           NY    14094‐5314
MILDRED CALELLA                                  8 JAY ST                                                                                         ROCKAWAY           NJ    07866‐2509
MILDRED CARRADINE                                115 RANDOLPH                                                                                     LUFKIN             TX    75904
MILDRED CEPELNIK & DAVID CEPELNIK JT TEN         P O BOX 128                                                                                      ELBERT             WV    24830
MILDRED CEPELNIK & MARTIN D CEPELNIK JT TEN      P O BOX 128                                                                                      ELBERT             WV    24830
MILDRED CLARKSON & VINCENT P CLARKSON JT TEN     50 CLARKSON ST                                                                                   DENVER             CO    80218‐3721

MILDRED COHEN & MYRON J COHEN JT TEN             150‐17 58TH AVE                                                                                  FLUSHING        NY       11355‐5413
MILDRED CONKLIN & PHYELLIES LEWIS JT TEN         2101 N AULT AVE                                                                                  MUNCIE          IN       47303‐2555
MILDRED CORCORAN                                 7201 E CALLE ARTURO                                                                              TUCSON          AZ       85710‐3709
MILDRED CRANE                                    1918 RAVENSWOOD DRIVE                                                                            ANDERSON        IN       46012
MILDRED CREAGMILE COLE                           2528 S A ST                                                                                      ELWOOD          IN       46036‐2136
MILDRED D COLLINS                                1540 WATERFORD DR                                                                                VENICE          FL       34292‐1581
MILDRED D DEIBERT                                41 LITTLE MOUNTAIN RD                                                                            NEW RINGGOLD    PA       17960‐9794
MILDRED D HARROP                                 775 LOCKE MILLS RD                                                                               MILROY          PA       17063‐8845
MILDRED D HOLLAND                                1300 OAK SHADOWS                                                                                 AUSTIN          TX       78758‐2719
MILDRED D HOUSKA                                 N 84 W 15467                            MENOMONEE AVE/ APT 15                                    MENOMONEE FALLS WI       53051

MILDRED D HURD                                   5155 KUSZMAUL NW                                                                                 WARREN             OH    44483‐1256
MILDRED D JOHNSON                                84 E BROADWAY                                                                                    GETTYSBURG         PA    17325‐1303
MILDRED D LENNEY                                 2079 CRITTENDEN RD                                                                               ALDEN              NY    14004‐8511
MILDRED D OAKS                                   9650 ST CLAIR RD                                                                                 HAINES CITY        FL    33844‐9031
MILDRED D PINGEL                                 4491 DAVISON RD                                                                                  LAPEER             MI    48446‐2845
MILDRED D PINGEL & LARRY J PINGEL JT TEN         4491 DAVISON RD                                                                                  LAPEER             MI    48446‐2845
MILDRED D POOLE                                  10331 CAPITOL DR                                                                                 SAINT LOUIS        MO    63136‐4305
MILDRED D PRAMICK                                119 CHESTNUR STREET                     DUPOINT                                                  PITTSTON           PA    18641‐2101
MILDRED D RINEHART                               5 RED OAK DRIVE                                                                                  DANVILLE           PA    17821‐8417
MILDRED D WOLLENHAUPT                            4285 BRIDGESIDE PL                                                                               NEW ALBANY         OH    43054‐7054
MILDRED D WOODHOUSE                              3804 GLEN MEADOWN DR                                                                             GAYLORD            MI    49735
MILDRED D'ARCY                                   3339 CLIFFORD RD                                                                                 SILVERWOOD         MI    48760‐9546
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MILDRED DAUGHERTY                                  141 ORCHARD STREET                                                                               NEWTON FALLS    OH    44444‐1508
MILDRED DEFABRIZIO                                 39 LAKESHORE DR E                                                                                HIGHLAND LKS    NJ    07422‐1146
MILDRED DEHNER                                     1625 WESTHILL BLVD                                                                               WESTLAKE        OH    44145‐2515
MILDRED DELAU TR WILLIAM DELAU TRUST UA            11106 BLODGETT CREEK TRAIL                                                                       STRONGSVILLE    OH    44149‐3101
11/02/90
MILDRED DELMONTE                                   712 WALNUT ST                                                                                    LOCKPORT        NY    14094‐3205
MILDRED DERUSHA CHOJNICKI                          17 LINDEN PARKWAY                                                                                NORWICH         CT    06360‐3413
MILDRED DIGREGORIO                                 4947 RICHMOND RD                                                                                 CLEVELAND       OH    44128‐5923
MILDRED DUNCAN                                     1101 E 21ST ST                                                                                   MUNCIE          IN    47302‐5316
MILDRED DUNN                                       3272 TALL OAKS CT                                                                                FLINT           MI    48532‐3752
MILDRED E BLAIR                                    339 RENAE LN SW                                                                                  MARIETTA        GA    30060‐6338
MILDRED E BODNAR & JOSEPH A BODNAR JT TEN          1173 CORTO ST                                                                                    SIMI VALLEY     CA    93065‐7202
MILDRED E BURGETT                                  12251 E CHICAGO RD                                                                               JEROME          MI    49249‐9760
MILDRED E BURNS                                    PO BOX 201                                                                                       GASPORT         NY    14067‐0201
MILDRED E CASSELBERRY TOD BRUCE J CASSELBERRY      2808 FOREST GROVE                                                                                DAYTON          OH    45406‐4000

MILDRED E CASSELBERRY TOD MICHAEL E CASSELBERRY 2808 FOREST GROVE                                                                                   DAYTON          OH    45406‐4000

MILDRED E CASSELBERRY TOD RONALD B CASSELBERRY     2808 FOREST GROVE                                                                                DAYTON          OH    45406‐4000

MILDRED E CASSELBERRY TOD TERESA L CASSELBERRY     2808 FORES GROVE                                                                                 DAYTON          OH    45406

MILDRED E CHARLES & MARJORIE S GILPIN JT TEN       10001 COORS BYP NW                      APT 515                                                  ALBUQUERQUE     NM    87114‐4144
MILDRED E COLBERT                                  308 WOODHAVEN DR                                                                                 LANSING         MI    48917‐3537
MILDRED E COLLIER & DONALD L COLLIER JT TEN        1137 STAGECOACH RD                                                                               BUTTE           MT    59701
MILDRED E DENIER TR DENIER 1996 REV LIVING TRUST   518 N 20TH ST                                                                                    BANNING         CA    92220‐4138
UA 02/20/96
MILDRED E DILLON                                   1432 N LASCERNE CIRCLE                                                                           MANSFIELD       OH    44906‐2710
MILDRED E DIXON                                    12762 NORTHLAWN                                                                                  DETROIT         MI    48238‐3071
MILDRED E DUMLER & WALTER K DUMLER JT TEN          10315 CLARK RD                                                                                   DAVISON         MI    48423‐8507
MILDRED E GLOFF                                    556 VESPER AVE                                                                                   WOODBRIDGE      NJ    07095‐3818
MILDRED E HARRIS                                   22 BETSY ROSS DR                                                                                 ALLENTOWN       NJ    08501‐1873
MILDRED E HAZELRIGG                                4519 LONGFELLOW AVE                                                                              HUBER HTS       OH    45424‐5952
MILDRED E KIERBS                                   401 N BRANCH RD                                                                                  GLENVIEW        IL    60025‐5132
MILDRED E KUEHNE & ROBERT LOUIS KUEHNE JT TEN      THE MARQUETTE                           5968 PARK LAKE RD APT 204                                EAST LANSING    MI    48823‐9204

MILDRED E LANKFORD                            744 FOOTHILL DR                                                                                       CANTON          MI    48188‐1565
MILDRED E LANKFORD & FRANK A SIMON JT TEN     744 FOOTHILL DR                                                                                       CANTON          MI    48188‐1565
MILDRED E MC SKIMMING                         9913 74 AVE                                                                                           FOREST HILLS    NY    11375‐6805
MILDRED E MEREDITH & RODRICK CARL MEREDITH JT 5310 ADDINGTON CT                                                                                     CHARLOTTE       NC    28277‐3208
TEN
MILDRED E MITCHELL                            3857 SWEETBRIAR DR                                                                                    ORANGE PARK     FL    32073
MILDRED E MOHR                                5621 LYMAN AVE                                                                                        DOWNERS GROVE   IL    60516‐1408
MILDRED E MONCURE                             PO BOX 655                                                                                            STAFFORD        VA    22555‐0655
MILDRED E PETERS TR MILDRED E PETERS TRUST UA 7161 MONROE RD                                                                                        SPRINGPORT      MI    49284‐9415
09/28/89
MILDRED E SCHOBERT TR MILDRED E SCHOBERT      919 WISCONSIN AVE                            APT 214                                                  SHEBOYGAN       WI    53081‐3976
REVOCABLE TRUST UA 05/13/98
MILDRED E SWEAZY & TROY J HARVEY JT TEN       1698 MONTGOMERY AVE                                                                                   HOLLY HILL      FL    32117‐1526
MILDRED E WAGAMAN & MICHAEL L WAGAMAN JT TEN 523 ANCHOR DR                                                                                          JOPPA           MD    21085‐4501

MILDRED E WAMPLE                                 215 CHESTNUT ST                                                                                    NEW CASTLE      DE    19720‐4833
MILDRED E YOHEM                                  4081 E GABLES CT NE                                                                                GRAND RAPIDS    MI    49525‐9366
MILDRED E YOUSE                                  1120 E TAFT RD                                                                                     SAINT JOHNS     MI    48879
MILDRED ELIZABETH VAN HORN                       10527 VIA LUGANO CT                                                                                CLERMONT        FL    34711‐5435
MILDRED F BAGOZZI CUST STEPHANIE TINSLEY UGMA MI 6779 LOPER DR                                                                                      PLYMOUTH        MI    48170‐5802

MILDRED F COLEMAN                                  2475 BEAL ST NW                                                                                  WARREN          OH    44485‐1202
MILDRED F CUDJO                                    4901 N EVEREST                                                                                   OKLAHOMA CITY   OK    73111‐5609
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MILDRED F DONALDSON                               259 ARCHERS MEAD                                                                                 WILLIAMSBURG     VA    23185‐6526
MILDRED F DOWNING & CHERYL T DOWNING JT TEN       4831 PEBBLE GLEN DRIVE                                                                           SAN JOSE         CA    95129‐4323

MILDRED F EVERETT & RONALD WAYNE EVERETT JT TEN 1623 PETTIBONE                                                                                     FLINT            MI    48507‐1510

MILDRED F HOKE                                    1311 SURREY ROAD                                                                                 VANDALIA         OH    45377‐1646
MILDRED F KUROPCHAK                               2501 ALLENTOWN RD                                                                                PEKIN            IL    61554
MILDRED F MARTIN                                  3250 WILLOW CREEK LN SE                                                                          FIFE LAKE        MI    49633‐9527
MILDRED F MARTIN & TERRY W MARTIN JT TEN          3250 WILLOW CREEK LN SE                                                                          FIFE LAKE        MI    49633‐9527
MILDRED F MONROE                                  1010 S 43RD ST                                                                                   TEMPLE           TX    76504‐5225
MILDRED F ROBINSON                                1495 HAMPSTEAD CV                                                                                OVIEDO           FL    32765‐5150
MILDRED F RUSSELL                                 22217 BEVERLY AV                                                                                 PORT CHARLOTTE   FL    33952‐5518
MILDRED F SLOAT                                   6642 CARNEY LANE                                                                                 RUDY             AR    72952‐9540
MILDRED F TEVES                                   118 CAMINO DEL RIO                                                                               PORT ST LUCIE    FL    34952‐2375
MILDRED F WHITMIRE                                165 MARLBOROUGH RD                                                                               ASHEVILLE        NC    28804‐1425
MILDRED FAY PARSLEY                               887 SALISBURY RD                                                                                 COLUMBUS         OH    43204‐1715
MILDRED FERRUGGIA & FRANK FERRUGGIA JT TEN        992 TULLO FARM RD                                                                                BRIDGEWATER      NJ    08807‐2393

MILDRED FIELDS                                1622 FOUNTAIN SQUARE                                                                                 AUSTINTOWN       OH    44515‐4617
MILDRED FLASHMAN CUST ARTHUR S FLASHMAN U/THE #415N                                       250 HAMMOND POND PKWY                                    CHESTNUT HILL    MA    02467‐1538
MASS U‐G‐M‐A
MILDRED FLORENTINE                            1717 E 18TH ST APT 3B                                                                                BROOKLYN         NY    11229‐2173
MILDRED FLOYD GUYNES                          2841 MAGAZINE AVE                                                                                    BATON ROUGE      LA    70816‐5229
MILDRED FORREST                               15 WIND HILL RD                                                                                      MANCHESTER       VT    05255‐9335
                                                                                                                                                   CENTER
MILDRED FOX CUMMINGS                              1630 SHERIDAN ROAD                      APT 8J                                                   WILMETTE         IL    60091‐1835
MILDRED FUNDA                                     58 N COLLIER BLVD 1114                                                                           MARCO ISLAND     FL    34145‐3767
MILDRED G CONNER                                  ROUTE 2                                 BOX 85                                                   MALTA BEND       MO    65339‐9618
MILDRED G D'ALOISIO                               22 CHETWOOD TERRACE                                                                              FANWOOD          NJ    07023
MILDRED G FRYE                                    12812 E SHELBY LANE                                                                              BRANDYWINE       MD    20613‐7745
MILDRED G HILL                                    3617 TRAIL‐ON RD                                                                                 DAYTON           OH    45439‐1151
MILDRED G JANNEY & CLIFTON M JANNEY JR JT TEN     11201 ABINGDON COURT                                                                             RICHMOND         VA    23236

MILDRED G LEWIS                                   4257 PATRICIA AVENUE                                                                             YOUNGSTOWN       OH    44511‐1046
MILDRED G MCCANLESS                               1372 DOVER CHURCH RD                                                                             SEAGROVE         NC    27341‐7226
MILDRED G OAKES                                   225 BIBB AVENUE                                                                                  BECKLEY          WV    25801‐6337
MILDRED G PRZYBYLO                                1838 PRESTON COURT NW                   APT A45                                                  GRAND RAPIDS     MI    49504‐2757
MILDRED GADOL & MYRON GADOL JT TEN                648 STATE ROUTE 10                      # 227                                                    RANDOLPH         NJ    07869‐2012
MILDRED GEBHART BAJAKIAN                          63 PHILLIPS RD                                                                                   EAST GREENWICH   RI    02818‐3439
MILDRED GINTER                                    C/O THE GINTER'S                        7250 RUSTIC WOODS DRIVE                                  HUBER HEIGHTS    OH    45424‐2416
MILDRED GRISWOLD                                  404 FOREST DR                                                                                    FRUITLAND        MD    21826‐1311
MILDRED GROH                                      255 VALERO CIRCLE                                                                                OAK PARK         CA    91377
MILDRED GROSSER                                   30 MILK ST                                                                                       METHUEN          MA    01844‐5145
MILDRED H B POLING                                8772 ST RT #534                                                                                  MESOPOTAMIA      OH    44439
MILDRED H BIRNBAUM                                1150 PARK AVE                                                                                    NEW YORK         NY    10028‐1302
MILDRED H BLACK TR MILDRED H BLACK FAMILY TRUST   1176 MERRILL CIRCLE                                                                              HEMET            CA    92545‐1910
UA 10/8/91
MILDRED H BLACKBURNE                              325 SANDY BANK ROAD                                                                              MEDIA            PA    19063‐1330
MILDRED H BURRELL & CHARLES A BURRELL JT TEN      213 OUTER DR E                                                                                   VENICE           FL    34285‐7136

MILDRED H COOK                                    21250 MCCLUNG                                                                                    SOUTHFIELD       MI    48075‐3221
MILDRED H EDGE                                    8301 S W 151 STREET                                                                              MIAMI            FL    33158‐1959
MILDRED H PARROTT & CAROL A MOORE JT TEN          PO BOX 767                                                                                       INDIAN RIVER     MI    49749
MILDRED H SALTER                                  8500 SLEEPY CREEK DR                                                                             RALEIGH          NC    27613‐4340
MILDRED HAMILTON TROXELL                          2316 SE 31ST ST                                                                                  OKEECHOBEE       FL    34974‐6759
MILDRED HARRIS                                    239 WESTWOOD DR                                                                                  FOREST CITY      NC    28043‐2864
MILDRED HEDRICK                                   3929 OLD COLUMBUS RD                                                                             SPRINGFIELD      OH    45503‐5531
MILDRED HENDERSON                                 210 CARR                                                                                         PONTIAC          MI    48342‐1608
MILDRED HICKS & MAUD KING TEN COM                 146 TEMPLE                                                                                       MEMPHIS          TN    38109‐2235
                                            09-50026-mg                    Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                                Address2             Address3          Address4          City              State Zip

MILDRED HONEY                                     10287 CARDONI                                                                                    DETROIT           MI    48211‐1062
MILDRED HUGHES FRANK                              216 WARREN AVE                                                                                   PLYMOUTH          MA    02360‐2455
MILDRED I BLACKBURN                               5530 MILAN OAKVILLE RD                                                                           MILAN             MI    48160‐9157
MILDRED I HALE                                    6812 SPRING GLEN WAY                                                                             KNOXVILLE         TN    37919
MILDRED I MARKS                                   2432 S UTLEY RD                                                                                  FLINT             MI    48532‐4964
MILDRED I PORTER                                  18140 MATTHEWS ST                                                                                RIVERVIEW         MI    48193‐7405
MILDRED I VARGO                                   403 W PINE                                                                                       EDMORE            MI    48829‐9739
MILDRED I YODER                                   3465 FARNSWORTH RD                                                                               LAPEER            MI    48446‐8740
MILDRED J BIGELOW                                 7423 DESOTO AVE                                                                                  CANOGA PARK       CA    91303
MILDRED J BOERENKO TR MILDRED J BOERENKO TRUST    2918 MCALLISTER ST                                                                               RIVERSIDE         CA    92503‐6112
UA 08/09/95
MILDRED J COLE                                    412 YOSEMITE CT                                                                                  ANTIOCH           TN    37013
MILDRED J COX                                     43711 PROCTOR                                                                                    CANTON            MI    48188‐1725
MILDRED J CRONYN                                  42 CALVERT LN                           RR3                  ILDERTON ON       N0M 2A0 CANADA
MILDRED J CRUTCHER                                5123 RUCKS RD                                                                                    DAYTON            OH    45427‐2120
MILDRED J DOMIRE & TRACEY A THOMAS JT TEN         3815 CHANTAL LN                                                                                  FAIRFAX           VA    22031‐3108
MILDRED J GESELL                                  8284 GOLDEN RD                                                                                   BROOKVILLE        IN    47012‐9727
MILDRED J GESELL CUST BRENT MICHAEL GESELL UTMA   1219 FRANKLIN AVE                                                                                BROOKVILLE        IN    47012‐1037
IN
MILDRED J HANCOCK & RACHEL A WALTER JT TEN        3804 LOGANS FERRY RD                    APT E                                                    PITTSBURGH        PA    15239‐3920
MILDRED J JACKSON                                 15360 KENTUCKY                                                                                   DETROIT           MI    48238‐1713
MILDRED J JOHNSTON                                2821 TORREY PINES RD                                                                             AMES              IA    50010‐8946
MILDRED J KIRKMAN & SUSAN J MILLS JT TEN          404‐51ST AVE TERR W                                                                              BRADENTON         FL    34207‐6236
MILDRED J MANNINGS                                3001 HAMILTON CHURCH RD                 UNIT 205                                                 ANTIOCH           TN    37013‐1499
MILDRED J MAXON                                   1024 HEATHWOOD DRIVE                                                                             ENGLEWOOD         OH    45322‐2429
MILDRED J REED                                    1012 CIRCLE DR                                                                                   JAMESTOWN         TN    38556‐5512
MILDRED J RICHARDS & JANET E SHIDELER JT TEN      ATTN S C SHIDELER                       658 DEBRA DR                                             DES PLAINES       IL    60016‐2573
MILDRED J STEWART TR MILDRED J STEWART LIVING     PO BOX 874                                                                                       EAST JORDAN       MI    49727‐0874
TRUST UA 09/20/06
MILDRED JAGGARD                                   112 GALLIMORE RD                                                                                 BREVARD           NC    28712
MILDRED JANE RODA CUST MARY JO RODA UGMA MI       26741 BEAMER                                                                                     MT CLEMENS        MI    48045‐2519

MILDRED JEAN S FOXX                               28601 GILCHRIST DR                                                                               WILLOWICK         OH    44095‐4569
MILDRED JEWELL TILLMAN                            445 RABBIT HWY                                                                                   HARMONY           NC    28634‐9242
MILDRED JOAN WRIGHT                               54 COURTNEY ST                                                                                   PITTSBURGH        PA    15202‐1746
MILDRED JOHNSON                                   2607 WELSH RD                           APT A304                                                 PHILADELPHIA      PA    19114‐3305
MILDRED JOHNSTON                                  343 GRANT AVE                                                                                    EATONTOWN         NJ    07724‐2119
MILDRED JOLLIFFE                                  1030 FOREST DR                                                                                   KOKOMO            IN    46901‐1860
MILDRED K BRYANT                                  3853 B MEMORY LANE                                                                               ABINGDON          MD    21009
MILDRED K FARMER                                  3034 SE 10TH PLACE                                                                               CAPE CORAL        FL    33904‐3903
MILDRED K JOHNSON & CLIFFORD L JOHNSON JT TEN     910 N TAWAS LAKE RD # A                                                                          EAST TAWAS        MI    48730‐9772

MILDRED K LALONE                                  200 BRADLEY ST                                                                                   BAY CITY          MI    48706‐3816
MILDRED K MURPHY                                  11 HIGH POND DRIVE                                                                               NEWARK            DE    19711‐2597
MILDRED K VAUSS                                   16216 ELBERTA                                                                                    CLEVELAND         OH    44128‐3742
MILDRED KAISER                                    45 HEMLOCK DR                                                                                    NATICK            MA    01760‐3134
MILDRED KARNATZ & GAIL A SCHRIVER JT TEN          19450 PURITAS AVE #113                                                                           CLEVELAND         OH    44135‐1070
MILDRED KAY & BARBARA KRUTOLOW JT TEN             689 AVENIDA SEVILLA                     UNIT C                                                   LAGUNA WOODS      CA    92637‐3867
MILDRED KEENE                                     3480 SWEIGERT RD                                                                                 SAN JOSE          CA    95132‐2446
MILDRED KERRIGAN                                  BOX 51                                                                                           GREENBUSH         MA    02040‐0051
MILDRED KOENIGBERG TOD LAURIE FISHER SUBJECT TO   9519 HONEYBELL CIR                                                                               BOYNTON BEACH     FL    33437‐5469
STA TOD RULES
MILDRED KOSOVSKI                                  300 BERKLEY RD #304                                                                              HOLLYWOOD          FL   33024
MILDRED KOTT                                      1211 HEMINGWAY LN                                                                                TRAVERSE CITY      MI   49686‐5073
MILDRED KOZEL & JACQUELENE K MC KEE JT TEN        31218 ARROWHEAD                                                                                  SAINT CLAIR SHORES MI   48082‐1209

MILDRED KRUMHOLTZ & ANN BERKOWITZ JT TEN          500 GRAND ST APT 10C                                                                             NEW YORK          NY    10002
MILDRED KYRIAS                                    18055 HAMBURG                                                                                    DETROIT           MI    48205‐2626
MILDRED L ALFORD                                  50 E HORTON RD                                                                                   KIRKLIN           IN    46050‐9568
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Name                                             Address1                                Address2             Address3          Address4          City               State Zip

MILDRED L BABOVSKY                               12 EDGEWOOD AVE                                                                                  NEW CASTLE         PA    16105‐2858
MILDRED L BARRON                                 805 ROCK CLIFF DR                                                                                MARTINSBURG        WV    25401‐3291
MILDRED L BEAUDRY & BARBARA BOLTON JT TEN        4 JENTOFF ROAD                                                                                   LANSE              MI    49946‐1217
MILDRED L BEAUDRY & TERRY WESTMAN JT TEN         HC 01                                                                                            LANSE              MI    49946‐9801
MILDRED L BLAND                                  40 LAWNDALE DR                                                                                   SMYRNA             DE    19977
MILDRED L BROWN                                  C/O MILDRED L HODGSON                   R R 1 9 MILL LANE    BOWMANVILLE ON    L1C 3K2 CANADA
MILDRED L BURNS TR MILDRED L BURNS REVOCABLE     1270 GULF BLVD #1603                                                                             CLEARWATER         FL    33767‐2733
LIVING TRUST UA 9/25/00
MILDRED L CURTIS                                 2699 E 700N                                                                                      GREENFIELD         IN    46140
MILDRED L DAVIS                                  18601 ROGGE ST                                                                                   DETROIT            MI    48234‐3023
MILDRED L DAY & CAROL L VIDA JT TEN              1812 COLONIAL VILLAGE WAY               APT 4                                                    WATERFORD          MI    48328‐1928
MILDRED L DREASHER                               353 PIERSON AVE                                                                                  DECATUR            IL    62526‐4531
MILDRED L EDWARDS                                4224 GLENDALE ST                                                                                 DETROIT            MI    48238‐3212
MILDRED L EVANS                                  50 EVANS RD NW                                                                                   RYDAL              GA    30171‐1013
MILDRED L FORCIA                                 86 TWINVALE LOOP                                                                                 THE WOODLANDS      TX    77384
MILDRED L FREDERICK & ROBERT M FREDERICK SR JT   POST OFFICE BOX 346                                                                              MANNFORD           OK    74044‐0346
TEN
MILDRED L FRIEND & ERICH F FRIEND JT TEN         6601 E DREYFUS DRIVE                                                                             SCOTTSDALE         AZ    85254‐3917
MILDRED L GALBRAITH                              1040 FOSTER ROAD/PO BOX 462                                                                      AUGRES             MI    48703‐0462
MILDRED L GIBSON                                 40088 EDISON LAKE RD                                                                             ROMULUS            MI    48174‐1150
MILDRED L HANSEN                                 PO BOX 254                                                                                       GRAFTON            NH    03240‐0254
MILDRED L HENDERSON TR UA 09/19/83 M‐B MILDRED L 15216 CORAL ISLE CT                                                                              FT MYERS           FL    33919‐8433
HENDERSON
MILDRED L LOVETT                                 1058 MONA DRIVE                                                                                  ST LOUIS           MO    63130‐2129
MILDRED L MC COMBIE & JOHN D MC COMBIE JT TEN    902 PINE ST                                                                                      MARQUETTE          MI    49855‐3633

MILDRED L MORFORD                                16345 24TH AVE                                                                                   COOPERSVILLE       MI    49404‐9643
MILDRED L PENDLETON                              1000 E SPRAKER                                                                                   KOKOMO             IN    46901‐2511
MILDRED L PRICE                                  6110 CLYDE PARK AVE SW                                                                           BYRON CENTER       MI    49315‐8201
MILDRED L ROBINSON                               3810 RISEDORPH ST                                                                                FLINT              MI    48506‐3130
MILDRED L ROLAND                                 2031 LAZY GROVE DR                                                                               KINGWOOD           TX    77339‐3109
MILDRED L SAYLOR                                 5664 STEWART RD                                                                                  SYLVANIA           OH    43560‐2076
MILDRED L STODDARD                               2067 DEXTER ST                                                                                   DENVER             CO    80207‐3754
MILDRED L WALKER                                 208 SMYRNA AVENUE                                                                                WILMINGTON         DE    19809‐1237
MILDRED LANGER                                   5101 PROSPERITY CHURCH RD               APT 204                                                  CHARLOTTE          NC    28269‐8738
MILDRED LESTER KIRK                              771 W RAHN RD                                                                                    DAYTON             OH    45429‐2042
MILDRED LONDOFF                                  248 SOUTHERN OAK DR                                                                              ST CHARLES         MO    63303‐4062
MILDRED LORRAINE HEWITT & LAWRENCE DAVID         883 GENERAL MOTORS RD                                                                            MILFORD            MI    48381‐2223
HEWITT JR JT TEN
MILDRED LOUISE MAY                               1121 PARK MEADOW DR                                                                              BEAUMONT           TX    77706‐3900
MILDRED M ALDRIDGE & ROLAND C ALDRIDGE JT TEN    3945 60TH AVE                                                                                    SEARS              MI    49679‐8149

MILDRED M ALMLI & ROBERT J BERGERSON JT TEN      26065 MCDONALD ST                                                                                DEARBORN HTS       MI    48125

MILDRED M ARDITO SUERO TR UA 10/10/93 MILDRED M 827 ANCHOR COURT                                                                                  BARTLETT           IL    60103‐4701
ARDITO SUERO TRUST
MILDRED M BACIGALUPO & CHARLES A KELLER JT TEN 4732 DREON CT                                                                                      STERLING HEIGHTS   MI    48310‐2623

MILDRED M CONSIGLIO                              14394 VIA ROYALE APT 2                                                                           DELRAY BEACH       FL    33446‐3348
MILDRED M COVINGTON                              416 CHESTERFIELD PL                                                                              FRANKLIN           TN    37064‐3291
MILDRED M DAVIDOVICH                             4922 SOUTHGLEN LN                                                                                LEAGUE CITY        TX    77573‐6285
MILDRED M GLYNN                                  9742 ANDERSONVILLE RD                                                                            CLARKSTON          MI    48346‐1705
MILDRED M GREENE TR UA 05/19/93 MMG TRUST NO I   8220 S KOMENSKY                                                                                  CHICAGO            IL    60652‐2904

MILDRED M HARTWELL & RAYMOND A HARTWELL JT     4472 LUCAS DRIVE                                                                                   GRANDVILLE         MI    49418
TEN
MILDRED M HARTWELL & RICHARD W HARTWELL JT TEN 4472 LUCAS DRIVE                                                                                   GRANDVILLE         MI    49418

MILDRED M HAWRYLO                                5542 GINA DR                                                                                     SWARTZ CREEK       MI    48473‐8829
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Name                                              Address1                               Address2             Address3          Address4          City               State Zip

MILDRED M HYNES                                   1241 RHINELANDER AVE                                                                            BRONX              NY    10461‐1828
MILDRED M JACKSON                                 15925 SE TENNESSEE RD                                                                           KINCAID            KS    66039‐7301
MILDRED M JONES                                   7454 BENTLY PLACE                                                                               WESTERVILLE        OH    43082‐8662
MILDRED M KINLER                                  219 BRIDPORT PL                                                                                 MANCHESTER         NJ    08733
MILDRED M KLUDING                                 RR 2 301                                                                                        MCLOUD             OK    74851‐9419
MILDRED M LENSER                                  131 SQUIRREL TREE LN                                                                            MOUNT LAUREL       NJ    08054‐2111
MILDRED M LESSARD                                 1205 MANOR DRIVE                                                                                JANESVILLE         WI    53548‐1414
MILDRED M MANLEY & RUSSELL A LAROCHELLE TEN       315 WATTS HILL ROAD                                                                             ELGIN              SC    29045‐8860
COM
MILDRED M MAYHEW                                  15130 REO                                                                                       ALLEN PARK         MI    48101‐3535
MILDRED M MYERS                                   2000 SWAFFER RD                                                                                 MILLINGTON         MI    48746
MILDRED M PACK                                    1502 KNIGHT AVE                                                                                 FLINT              MI    48503
MILDRED M RUBERTINO                               4742 STANHOPE‐KELLOGGVILLE RD                                                                   ANDOVER            OH    44003‐9676
MILDRED M SAMPLE                                  6009 MAPLEWOOD DR                                                                               INDIANAPOLIS       IN    46224‐3678
MILDRED M SCHEEF TOD RONALD R SCHEEF CYNTHIA D    13929 PIERCE ST                                                                                 OMAHA              NE    68144‐1031
EARL
MILDRED M SCHIANO & BART F SCHIANO JT TEN         20 REA CT                                                                                       MONROE             NY    10950‐4716
MILDRED M SELF                                    6887 WREN AVE NW                                                                                NORTH CANTON       OH    44720
MILDRED M SIMMONS                                 12720 CALAWAY DR                                                                                FORT WAYNE         IN    46845‐2312
MILDRED M SPANGLER                                509 MARBY RD                                                                                    LEHIGH ACRES       FL    33936‐7508
MILDRED M STEWART                                 1702 IDAHO                                                                                      TOLEDO             OH    43605‐2748
MILDRED M SWANEY & PATRICIA J THOMPSON JT TEN     16263 EDGEMONT DR                                                                               FORT MYERS         FL    33908‐3658

MILDRED M TUPPER                                  10338 WILSON RD                                                                                 MONTROSE       MI        48457‐9176
MILDRED M WALKER                                  2288 THISTLEWOOD DRIVE                                                                          BURTON         MI        48509‐1253
MILDRED M WIGGLESWORTH                            1008 PLYMOUTH ROCK DRIVE                                                                        NAPLES         FL        34110‐8816
MILDRED M WOODLAND                                622 23RD ST                            APT 228                                                  GREELEY        CO        80631‐7065
MILDRED M ZARR                                    1229 WASHINGTON AVE                                                                             MADISON        IL        62060‐1244
MILDRED MAE KAMPF                                 207 NE LAKEVIEW DR                     APT 610                                                  SEBRING        FL        33870‐3152
MILDRED MALTZMAN & CARL R MALTZMAN JT TEN         371 HUNGRY HARBOR RD                                                                            NORTH WOODMERE NY        11581‐2804

MILDRED MANTOOTH                                  4128 PEACHTREE LN #2                                                                            RICHMOND           IN    47374‐4714
MILDRED MARY MATHEWS TR THE MILDRED MARY          116 E HICKORY GROVE RD                                                                          BLOOMFIELD HILLS   MI    48304‐1739
MATHEWS TRUST UA 02/25/86
MILDRED MASON                                     ATTN MILDRED STILES                    3657 TARTAN CIR                                          PORTAGE            MI    49024‐4095
MILDRED MAXINE MORGAN                             5213 OLD HWY 90                                                                                 ORANGE             TX    77630‐1011
MILDRED MCCREANOR                                 800 MANIER AVE                                                                                  PIQUA              OH    45356‐3616
MILDRED MCINTYRE                                  3506 ST RTE 125                                                                                 BETHEL             OH    45106‐9702
MILDRED MERCIER                                   53 BRIAN ROAD                                                                                   LANCASTER          MA    01523‐3239
MILDRED MERGY                                     12 TWIN LAKES DRIVE                                                                             FAIRFIELD          OH    45014‐5221
MILDRED MICHAELS                                  350 N PALM DR #404                                                                              BEVERLY HILLS      CA    90210‐5924
MILDRED MIHELICH                                  C/O M WIELER                           4238 S 3RD STREET                                        MILWAUKEE          WI    53207‐4928
MILDRED N WARREN                                  231 PIKE ST                                                                                     BROMLEY            KY    41016‐1242
MILDRED NEWHOUSE                                  PO BOX 19278                                                                                    FORT WORTH         TX    76119‐1278
MILDRED NOVOTNY                                   4540 MARLBOROUGH DR                                                                             OKEMOS             MI    48864‐2324
MILDRED O ANDERSON TOD PATRICK P PHILIP SUBJECT   7504 KELSEYS LANE                                                                               BALTIMORE          MD    21237
TO STA TOD RULES
MILDRED O MAICKI & HENRY W MAICKI & JOAN D        29451 HALSTED RD                       APT 241                                                  FARMINGTN HLS      MI    48331‐2838
DUDLEY TR UA 6/16/72
MILDRED O WELTY                                   1504 SECREST RD                                                                                 WOOSTER            OH    44691‐4144
MILDRED O'SORIO                                   4416 GIBBONS ST A                                                                               VANCOUVER          WA    98661‐6165
MILDRED OLIVER                                    2610 FOGG LN                                                                                    WILMINGTON         DE    19808‐3011
MILDRED ONKEN                                     215 ADAMS ST                           APT 14J                                                  BROOKLYN           NY    11201‐2867
MILDRED ORLOWSKIS & JANICE A ZACHARY JT TEN       11110 AVENUE J                                                                                  CHICAGO            IL    60617‐6909

MILDRED OROSTIN                                   425 SENECA ST APT 504                                                                           NILES              OH    44446‐2447
MILDRED OSER                                      PO BOX 21342                                                                                    PIEDMONT           CA    94620‐1342
MILDRED P BECTON                                  ATTN P BEST                            PO BOX 1530                                              ACHEVILLE          NC    28802‐1530
MILDRED P BOYLES                                  9536 KALE PL                                                                                    DIAMONDHEAD        MS    39525‐4113
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Name                                           Address1                               Address2                Address3                      Address4          City              State Zip

MILDRED P GRIFFIN                              16 WATER STREET                                                                                                PENNSVILLE        NJ    08070‐1408
MILDRED P LIVINGSTON & LOUISE A LOOSE JT TEN   BOX 130                                                                                                        COLFAX            CA    95713‐0130
MILDRED P NELSON                               22580 NORTHVIEW DR                                                                                             HAYWARD           CA    94541‐3458
MILDRED P REEVES LOUNSBURY                     11911 66TH ST                          LOT 317                                                                 LARGO             FL    33773‐3619
MILDRED P SYDOR                                2420 HASTYE HYLL                                                                                               LOGANSPORT        IN    46947‐1601
MILDRED P WILFONG & MICHELE BASILE JT TEN      153 RUNNEMEDE DR                                                                                               YOUNGSTOWN        OH    44512
MILDRED PARKER                                 4012 DONNA RD                                                                                                  RALEIGH           NC    27604‐4924
MILDRED PAYNE ALDREDGE MC KNIGHT TR SAWNIE R   3540 RANKIN                                                                                                    DALLAS            TX    75205‐1209
ALDREDGE III TR U‐W MARY
MILDRED PERROTTA                               495 17TH AVE                                                                                                   PATERSON          NJ    07504‐1122
MILDRED PHILLIPS                               1319 BONITA PASEO                                                                                              JEFFERSON CTY     MO    65109‐9764
MILDRED POLLARD                                3 SHAMROCK LANE                                                                                                ONEONTA           NY    13820‐2355
MILDRED R BRUENING & BETTY L BRUENING‐LAHTI JT 29546 WESTFIELD                                                                                                LIVONIA           MI    48150‐4042
TEN
MILDRED R BURNHEIMER                           263 BLAIR ADKINS ST                                                                                            ELKHORN CITY      KY    41522‐8427
MILDRED R COLLETTE                             720 W 600 SO                                                                                                   ATLANTA           IN    46031‐9352
MILDRED R CULBERTSON                           6125 NORTH MAIN STREET                                                                                         DAYTON            OH    45415
MILDRED R EDWARDS                              3312 RIVER PARK                                                                                                ANDERSON          IN    46012‐4640
MILDRED R LEE                                  2942 WINCHESTER RD                                                                                             XENIA             OH    45385‐9721
MILDRED R MORAN                                1594 MITCHELLS MILL RD                                                                                         AYLETT            VA    23009‐2602
MILDRED R MURRAY                               1712 FLEMINGS PL                                                                                               LADY LAKE         FL    32162‐6768
MILDRED R PORTER TOD JOANN C WESLEY SUBJECT TO 2670 GRAHAM RD                                                                                                 STOW              OH    44224‐3663
STA TOD RULES
MILDRED R PROVOST CUST WALTER C PROVOST JR     130 SCHOOLHOUSE RD                                                                                             OAK RIDGE         NJ    07438‐9839
UGMA NJ
MILDRED R RILEY                                906 W 5TH ST                                                                                                   ANDERSON          IN    46016‐1018
MILDRED R SPARKS                               1121 E RICHARD ST                                                                                              MIAMISBURG        OH    45342‐1947
MILDRED R WALDECK                              68 HAYNES RD                                                                                                   LITTLE HOCKING    OH    45742‐5245
MILDRED R WALTER                               4709 WIMBLEDON DR                                                                                              LAWRENCE          KS    66047‐9301
MILDRED R YOHEM                                4081 E GABLES CT NE                                                                                            GRAND RAPIDS      MI    49525‐9366
MILDRED RAND LINES                             1185 PACES FOREST DR NW                                                                                        ATLANTA           GA    30327‐2231
MILDRED RAUCH                                  8362 CRINKLEROOT CLEARING                                                                                      BRECKSVILLE       OH    44141‐1706
MILDRED READING TR UA 08/23/06 MILDRED READING 239D WEYMOUTH COURT                                                                                            RIDGE             NY    11961
REV LIVING TRUST
MILDRED REAL PARKS                             765 CAPITOL BLVD                                                                                               CORYDON           IN    47112‐1326
MILDRED RICHARDS                               6306 24TH AVE                                                                                                  BROOKLYN          NY    11204‐3328
MILDRED ROBERTS WIEST                          321 MAIN STREET                                                                                                ELKINS            WV    26241‐3128
MILDRED ROSE BURNS                             3983 W WAHACHEE DR                                                                                             TERRE HAUTE       IN    47802‐7906
MILDRED S BLANK                                6136 LINDA LN                                                                                                  INDIANAPOLIS      IN    46241‐1128
MILDRED S DUDEK & FRANK A DUDEK JT TEN         APT 605                                2651 BIDDLE ST                                                          WYANDOTTE         MI    48192‐5260
MILDRED S DUDEK & MICHAEL J DUDEK JT TEN       2651 BIDDLE AVE APT 605                                                                                        WYANDOTTE         MI    48192‐5260
MILDRED S DUDEK & PATRICIA L GARDNER JT TEN    APT 605                                2651 BIDDLE ST                                                          WYANDOTTE         MI    48192‐5260
MILDRED S DUKEK & KATHLEEN M FABIAIN JT TEN    2651 BIDDLE AVE APT 605                                                                                        WYANDOTTE         MI    48192‐5260
MILDRED S EVERSOLE                             1614 BLUEBIRD DR                                                                                               DAYTON            OH    45432‐2707
MILDRED S LIVINGSTON                           4801 EAST COUNTY ROAD 67 LOT 265                                                                               ANDERSON          IN    46017‐9112
MILDRED S LYTTAKER                             38 W IRIS ST                                                                                                   MIDLAND           MI    48640‐8641
MILDRED S NODES                                3612 CRESTWOOD DR                                                                                              ERIE              PA    16510
MILDRED S SCHMUL                               ATTN DONALD L COMBE                    BOX 813 89 JOHNSON ST   NIAGARA ON THE LAKE ONTARIO   L0S 1J0 CANADA
MILDRED S TINSLEY                              6021 CHERRY LN                                                                                                 CRESTWOOD         KY    40014‐9414
MILDRED S WILLIAMS                             2637 WOODRUFF CT                                                                                               WEST LAKE         OH    44145‐2985
MILDRED SCHAUB & GEORGE SCHAUB JT TEN          1155 W HURON RIVER DR                                                                                          ANN ARBOR         MI    48103‐2229
MILDRED SHANAHAN & WILLIAM T SHANAHAN JT TEN 7 RIVERWOODS DR                          APT F121                                                                EXETER            NH    03833‐4385

MILDRED SIVERTSON                              511 S DEKALB ST                        APT 205                                                                 REDWOOD FALLS     MN    56283‐1951
MILDRED SKOTAK & JIRI SKOTAK JT TEN            19‐82 77TH ST                                                                                                  JACKSON HEIGHTS   NY    11370‐1207

MILDRED SOBCZAK                                3465 KIESEL RD APT 14                                                                                          BAY CITY          MI    48706‐2458
MILDRED STALLA                                 4861 N BARTON RD                                                                                               N RIDGEVILLE      OH    44039‐2360
MILDRED STEVENS                                C/O CAROL CONANT                       32 TALMADGE RD                                                          PROSPECT          CT    06712
                                            09-50026-mg                Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MILDRED SWARTZ & ERNEST SWARTZ JT TEN            10945 E BETONY DR                                                                             SCOTTSDALE         AZ    85255‐1987
MILDRED SZUCH                                    6484 STATE RD                        APT D3                                                   CLEVELAND          OH    44134‐4163
MILDRED T BOHRER                                 352 ENGLISH ROAD                                                                              ROCHESTER          NY    14616‐2425
MILDRED T BOSIES                                 200 SPRUCE STREET                                                                             DELMAR             MD    21875‐1758
MILDRED T GRISWOLD                               8524 ALDRICH AVENUE SOUTH                                                                     BLOOMINGTON        MN    55420‐2217
MILDRED T MASSIE                                 2247 FORESTDEAN CT                                                                            DAYTON             OH    45459
MILDRED T PHELPS TOD THOMAS M PHELPS SUBJECT TO W9206 PETERSON DR                                                                              IRON MOUNTAIN      MI    49801
STA TOD RULES
MILDRED T STEWART                                240 18TH ST                                                                                   NEW ORLEANS        LA    70124‐1228
MILDRED T YOTT                                   1186‐B HIGHWAY 17 EAST BOX 6         S S MARIE ON                           P6A 5Z6 CANADA
MILDRED TWARDZIK                                 2401 BABCOCK RD                                                                               HINCKLEY           OH    44233‐9434
MILDRED V ARTHUR                                 APT 3‐D                              2 FERNSELL COURT                                         BALTIMORE          MD    21237‐2283
MILDRED V BADANJEK                               744 MALONEY ST                                                                                OXFORD             MI    48371‐4561
MILDRED V ELLIOTT TOD CLINTON D ELLIOTT & KAMELA 450 W 7TH STREET                     STE 1705             TULA                                TULSA              OK    74119
S ELLIOTT
MILDRED V GRUSLER                                145 DAVENPORT RD                                                                              TOMS RIVER         NJ    08757‐6113
MILDRED V HONAKER                                17320 BROADWING LN                                                                            OKEECHOBEE         FL    34974‐8561
MILDRED V MACFARLANE                             3867 LOCKPORT                        OLCOTT ROAD                                              LOCKPORT           NY    14094
MILDRED V SCHEUERMAN                             1313 STONE BRIDGE DR                                                                          HUTCHINSON         KS    67502
MILDRED V SUCHOCKI                               159 CAMBRIDGE DR                                                                              LAKE OZARK         MO    65049‐9460
MILDRED W ARCHER                                 7103 HIALEAH CIR                                                                              SAVANNAH           GA    31406‐2816
MILDRED W ATKINSON                               8306 BARD LN                                                                                  WEST JORDAN        UT    84088‐8375
MILDRED W BRINKHAUS                              1109 BROAD FIELDS DR                                                                          LOUISVILLE         KY    40207‐4318
MILDRED W DOUGLAS                                131 GROVE AV                                                                                  FITZGERALD         GA    31750‐7413
MILDRED W FORD                                   9052C SW 83 AVE                                                                               OCALA              FL    34481‐8573
MILDRED W HILL                                   1030 LONG BOW BAY                                                                             GREENSBORO         GA    30642‐4428
MILDRED W KLETTER                                419 SALEM DR                                                                                  PITTSBURGH         PA    15243‐2075
MILDRED W LUKE                                   96 MAPLE DR                                                                                   BOWMANSVILLE       NY    14026‐1030
MILDRED W MORSE                                  2 MAPLE LN                                                                                    CHADDS FORD        PA    19317‐9201
MILDRED W PERRIN                                 ROUTE 2 INDIAN CAVE ROAD                                                                      BLAINE             TN    37709‐9802
MILDRED W PERRIN & BILLY R PERRIN JT TEN         290 BILLY PERRIN RD                                                                           BLAINE             TN    37709‐5629
MILDRED W ROBBINS                                2253 CAMELOT CIRCLE                                                                           TUPELO             MS    38804‐6040
MILDRED W WALL                                   3825 INVERNESS WAY                                                                            AUGUSTA            GA    30907‐9406
MILDRED WAADT TR WAADT FAMILY SURVIVORS TRUST 29008 CLIFFSIDE DR                                                                               MALIBU             CA    90265‐4214
UA 09/27/82
MILDRED WALLS                                    2617 COMMUNITY DR                                                                             BATH               PA    18014‐9284
MILDRED WANN & DENNIS R WANN JT TEN              RT 1 BOX 56                                                                                   CRAWFORDSVILLE     AR    72327‐9708

MILDRED WANNE                                    27090 CEDAR RD                       APT 101                                                  BEACHWOOD          OH    44122‐8109
MILDRED WARRINGTON                               1906 SHALLCROSS AVE                                                                           WILMINGTON         DE    19806‐2326
MILDRED WATSON                                   23125 EVAN CT N                                                                               NEW BOSTON         MI    48164‐9766
MILDRED WEDEL TOD MARGARET MUNCASTER &           6674 E STRADA DE ACERO                                                                        TUCSON             AZ    85750‐5920
HENRY BLATTEL
MILDRED WEISS NORRIE                             APT 1101                             9353 VISCOUNT                                            EL PASO            TX    79925‐8011
MILDRED WHITE                                    9543 HARTWELL                                                                                 DETROIT            MI    48227‐3422
MILDRED WOODS & STATS K BEY JT TEN               920 WHEELOCK RD                                                                               CLEVELAND          OH    44103‐1834
MILDRED WRIGHT                                   1082 LEMONGRASS COURT                                                                         HENDERSON          NV    89002
MILDRED YELLEN                                   7810 34TH AVE APT 1G                                                                          JACKSON HEIGHTS    NY    11372‐2416

MILDRED YOUNGMAN                                 1623 OLD 19                                                                                   AUGUSTA            KY    41002‐9304
MILDRET BRIDGES                                  396 CAMINO DE CELESTE                                                                         THOUSAND OAKS      CA    91360‐7124
MILDRIGE ELLISON                                 405 LYNCH                                                                                     PONTIAC            MI    48342‐1954
MILE KNEZEVIC                                    335 LINDEN RD                                                                                 ROSELLE            NJ    07203‐1544
MILE V SRBINOVSKI                                230 HARPINGTON DR                                                                             ROCHESTER          NY    14624‐2637
MILENA A KOPIC                                   1408 HUNTINGTON DRIVE                                                                         GLENVIEW           IL    60025‐2228
MILENA SIMI                                      13487 HIGHLAND CIRCLE                                                                         STERLING HEIGHTS   MI    48312‐5342

MILENKO MILENKOVICH                              1538 NORTH BEECH DALY ROAD                                                                    DEARBORN HEIGHTS MI      48127‐3454
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MILES A PERRIN                                   309 SPRING CREEK                                                                                 CHATTANOOGA        TN    37411‐4920
MILES BEITLER & SARAH BEITLER JT TEN             1117 LONGMEADOW DRIVE                                                                            GLENVIEW           IL    60025‐2558
MILES D MORRIS CUST MISS JANNA MORRIS UGMA UT    3599 N LITTLE ROCK DR                                                                            PROVO              UT    84604‐5286

MILES DAVID ANDERSON & CAROL CHOWNING            5980 MULBERRY DR                                                                                 STERLING HTS       MI    48314‐1491
ANDERSON JT TEN
MILES E HAGER CUST SAMANTHA L HAGER UGMA NE      1211 BRYAN                                                                                       BELLEVUE           NE    68005‐2809

MILES E HANSEN                                   6101 W 56TH ST                                                                                   MISSION            KS    66202‐2522
MILES E HICKEY                                   87 MT EVEREST WAY                                                                                SWARTZ CREEK       MI    48473‐1622
MILES E HOFF & DIANE M HOFF TEN ENT              909 MURPHY COURT                                                                                 BAY CITY           MI    48706‐3960
MILES E MARKS                                    PO BOX 79642                                                                                     HOUSTON            TX    77279‐9642
MILES JOHNSON                                    30586 TURTLE CRK                                                                                 FARMINGTN HLS      MI    48331‐1226
MILES L HART JR                                  2411 BROOKLYN RD                                                                                 BREWTON            AL    36426‐3911
MILES NIKOLET                                    314 MONROE AVE                                                                                   NORTH HILLS        PA    19038‐2413
MILES ROSS CUST BENJAMIN D ROSS UTMA MI          10524 WALMER                                                                                     OVERLAND PARK      KS    66212
MILES VULETICH                                   13809 HILLTOP DR W                                                                               PLYMOUTH           MI    48170‐5310
MILEVA S NICHOLIS                                554 NEOKA DRIVE                                                                                  CAMPBELL           OH    44405‐1261
MILFORD A BUCHANAN & NANCY G BUCHANAN TEN        PO BOX 39                                                                                        MILLHEIM           PA    16854‐0039
ENT
MILFORD E COLLINS & TYLER D COLLINS JT TEN       11055 W CENTER AVE                                                                               LAKEWOOD           CO    80226‐2506
MILFORD E CUMMINGS                               1608 L AV                               APT 328                                                  PLANO              TX    75074‐6145
MILFORD E MCCOY                                  PO BOX 144                              2232 MAPLE ST                                            DUBLIN             IN    47335‐0144
MILFORD E WITHEY JR                              262 HAMPTON PARKWAY                                                                              TN TONAWANDA       NY    14217‐1257
MILFORD EDWIN PROUTY                             8789 RTE 240                                                                                     WEST VALLEY        NY    14171‐9622
MILFORD F NOTAGE                                 8954 COUNTY ROAD K2                                                                              MALINTA            OH    43535‐9780
MILFORD G ANDERSON                               5994 DELLOR RD                                                                                   BELLEVILLE         MI    48111‐5004
MILFORD H LANE                                   2600 N 8TH ST                                                                                    KANSAS CITY        KS    66101‐1206
MILFORD HAGEN                                    711 SPRUCE ST                                                                                    ATLANTIC           IA    50022‐1854
MILFORD HISTORICAL SOCIETY                       124 E COMMERCE ST                                                                                MILFORD            MI    48381‐1916
MILFORD J LYVERE                                 5740 E TOWNLINE                                                                                  BIRCH RUN          MI    48415‐9005
MILFORD L GREENE                                 ROUTE 3                                                                                          RIPLEY             WV    25271‐9880
MILFORD L HAYWARD                                00180 ST RANNEY RD                                                                               E JORDAN           MI    49727
MILFORD L HINKLE                                 1618 SE BROME CIR                                                                                LEES SUMMIT        MO    64063‐3319
MILFORD L MC BRIDE JR                            211 S CENTER ST                                                                                  GROVE CITY         PA    16127‐1508
MILFORD L SHOEMAKER JR                           218 S SUMMIT ST                                                                                  MORENCI            MI    49256‐1439
MILFORD P APETZ                                  295 LANDING ROAD N                                                                               ROCHESTER          NY    14625‐1415
MILFORD SEXTON                                   RT 2 BX 6357 ST RT 727                                                                           GOSHEN             OH    45122
MILFORD STUDELL & MRS CLARA E STUDELL JT TEN     2440 37TH AVE S                                                                                  MINNEAPOLIS        MN    55406‐1430

MILFORD W NAPIER                                 13680 FRIEND RD                                                                                  GERMANTOWN         OH    45327‐8741
MILFORD W THOMPSON                               4941 ALBAIN                                                                                      MONROE             MI    48161‐9509
MILFRED M MILLAR                                 2516 GREEN VALLEY DR                                                                             JANESVILLE         WI    53546‐1182
MILICA AWSHEE                                    19 SAN GIACOMO DR                                                                                NEW WINDSOR        NY    12553‐6417
MILING CHIU                                      4628 N OSAGE                                                                                     NORRIDGE           IL    60656‐4431
MILIVOJE SIMICH                                  26374 PATTOW                                                                                     ROSEVILLE          MI    48066‐5518
MILKA CACIC                                      7729 RUTLAND DR                                                                                  MENTOR             OH    44060‐4069
MILKA GUCANAC                                    70 ARLINGTON CIRCLE                                                                              WICKLIFFE          OH    44092‐1903
MILKA GULAN                                      9306 CHARDON RD                                                                                  KIRTLAND           OH    44094‐9576
MILKA JURCEVIC                                   12911 SPERRY RD                                                                                  CHESTERLAND        OH    44026‐3207
MILKA VIDOVIC                                    6419 SUTHERLAND AVE                                                                              SAINT LOUIS        MO    63109‐2203
MILLA A BILBREY                                  4043 SADDLEBACK RD                                                                               PARK CITY          UT    84098‐4847
MILLA D KLUSKA                                   2352 CELESTIAL DR                                                                                WARREN             OH    44484‐3905
MILLA ROYE ADAMS                                 BOX 461                                                                                          CROSBYTON          TX    79322‐0461
MILLAR FAMILY LIMITED PARTNERSHIP                1607 CONTRY CLUB DR                                                                              SPRINGFIELD        PA    19064‐4104
MILLARD B BROOKING                               BOX 130                                                                                          CHANDLER           TX    75758‐0130
MILLARD C FREYSINGER EX OF LENA M FREYSINGER     530 16TH ST                                                                                      NEW CUMBERLAND     PA    17070‐1319

MILLARD C JOHNSON JR                             2412 RIDGE AV                                                                                    EAST SAINT LOUIS   IL    62205‐1718
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MILLARD CATES & GRACE CATES JT TEN               704 S ROCKFIELD RD                                                                                           VEEDERSBURG        IN    47987
MILLARD CHEEK                                    17226 JA DOR LANE                                                                                            FENTON             MI    48430‐8538
MILLARD D HECK                                   512 DIVIDING RIDGE RD                                                                                        SPEEDWELL          TN    37870‐7337
MILLARD D WOOMER                                 C/O ELIZABETH S TOMASKO               ATTORNEY AT LAW           DEAN WOOMER RD #3 BOX821                     ALTOONA            PA    16601
MILLARD E KUHLMANN                               2 PEG ELAINE CT                                                                                              ST PETERS          MO    63376‐1902
MILLARD F CATES                                  704 S ROCKFIELD RD                                                                                           VEEDERSBURG        IN    47987‐8108
MILLARD F HILDRETH                               20695 COUNTRY CLUB DR                                                                                        HARPER WOODS       MI    48225‐1651
MILLARD G LAWRENCE                               RAINBOW LAKE                          10925 BEACH CT                                                         PERRINTON          MI    48871‐9759
MILLARD G SNYDER                                 650 NW 1ST AVE                                                                                               BOYNTON BEACH      FL    33426‐4302
MILLARD H JOHNSON                                3405 W MAIN STREET                                                                                           UNION CITY         TN    38261‐1541
MILLARD J GAINEY & DIANE W GAINEY JT TEN         5400 FAIROAKS RD                                                                                             DURHAM             NC    27712‐2028
MILLARD J WALLINE                                PO BOX 583                                                                                                   VACAVILLE          CA    95696‐0583
MILLARD JARRETT                                  750 GRANT CIRCLE                                                                                             LINDEN             MI    48451‐9006
MILLARD K WATERS                                 1815 ROSLIN RD                                                                                               JAMESTOWN          TN    38556‐5086
MILLARD L FISCHER                                14404 HEAVENLY ACRES RIDGE RD                                                                                HANCOCK            MD    21750‐1907
MILLARD L PACK JR                                3440 SOLLERS POINT ROAD                                                                                      BALTIMORE          MD    21222‐6052
MILLARD M HALL                                   351 WENDELL LN                                                                                               DAYTON             OH    45431‐2248
MILLARD MOORE III                                PO BOX 6482                                                                                                  ANNAPOLIS          MD    21401‐0482
MILLARD O GAYLOR                                 1395 CLIFF BARNES DRIVE                                                                                      KALAMAZOO          MI    49009‐8329
MILLARD P ELDRED                                 20334 11 MILE RD                                                                                             BIG RAPIDS         MI    49307‐9284
MILLARD ROBINSON                                 ATTN MARY E BERRY                     24073 KENNEDY DR                                                       BEDFORD            OH    44146‐1649
MILLARD ROSENFELD                                15 ELDRIDGE AVENUE                                                                                           OSSINING           NY    10562‐4403
MILLARD S JOHNSON                                40667 DRURY RD                                                                                               STERLING HEIGHTS   MI    48310‐2034

MILLARD SCOTT GIBSON                             BOX 28                                                                                                       FLATWOODS          WV    26621‐0028
MILLARD T BOTT                                   216 CAROLINE ST PO BOX 175                                                                                   CHARLESTOWN        MD    21914‐0175
MILLARD V ROOT                                   9251 EATON HIGHWAY                                                                                           MULLIKEN           MI    48861‐9649
MILLARD W MORRISON                               4015 BAYWATER PT                                                                                             HIGH POINT         NC    27265‐9538
MILLARD W TRIBBLE                                5330 MEADOW LANE CT                   #A                                                                     SHEFFIELD VLG      OH    44035‐1469
MILLEDGE B NEWMAN                                1301 SAND OAK DRIVE                                                                                          LUGOFF             SC    29078‐9111
MILLER A MATHEWS JR                              1610 WINNIE                                                                                                  HELENA             MT    59601‐5227
MILLER BRISCO                                    19327 NESTOR                                                                                                 CARSON             CA    90746‐2607
MILLER H GREEN JR                                68 WOODSIDE DRIVE                                                                                            W ALEXANDRIA       OH    45381‐9306
MILLER Q BIRCH                                   100 S JEFFERSON AVE                   STE 102                                                                SAGINAW            MI    48607‐1274
MILLICENT BAKER                                  809 SOUTH PALM AVENUE                                                                                        LARGO              FL    33770‐4493
MILLICENT CLEARY                                 1874 MCKEE AVENUE                                                                                            DEPTFORD           NJ    08096‐5609
MILLICENT D MADDOX                               1001 DRURY LN                                                                                                FLUSHING           MI    48433‐1419
MILLICENT E MOORE                                77 EAST BAYARD ST                                                                                            SENECA FALLS       NY    13148‐1622
MILLICENT GOODE                                  21 TUDOR COURT                                                                                               TIMONIUM           MD    21093‐2968
MILLICENT H FRANKEL                              17 STIRLING CT                                                                                               METUCHEN           NJ    08840‐1514
MILLICENT L BURKHART & HARRY L BURKHART JT TEN   8851 W 400 N                                                                                                 FRANKTON           IN    46044‐9684

MILLICENT L JONES                                ATTN MILLICENT L MCRAE                PO BOX 2618                                                            INDIANAPOLIS       IN    46206‐2618
MILLICENT L MAXWELL & MICHAEL L MAXWELL JT TEN   221 CARMEL RIDGE RD                                                                                          CANTON             GA    30114‐7638

MILLICENT L MCRAE                                PO BOX 2618                                                                                                  INDIANAPOLIS       IN    46206‐2618
MILLICENT L NALLEY                               5304 24TH ST                                                                                                 DETROIT            MI    48208‐1924
MILLICENT M QUINN                                13611 S 14TH ST                                                                                              BELLEVUE           NE    68123‐6812
MILLICENT MITCHELL                               PO BOX 112                                                                                                   HAWORTH            NJ    07641‐0112
MILLICENT R STOLTZ                               39 THE FAIRWAY                                                                                               UPPER MONTCLAIR    NJ    07043‐2533

MILLICENT RUTH TAYLOR                            17613 HWY J29                                                                                                CENTERVILLE        IA    52544‐8971
MILLICENT S BRIERRE                              251 OAK CREEK CIR                                                                                            SPRINGTOWN         TX    76082‐5146
MILLICENT T GORMAN                               C/O MRS STEELE                        2000 S OCEAN DRIVE PH‐2                                                FORT LAUDERDALE    FL    33316‐3810

MILLICENT W JOHNSON                              16000 TERRACE RD                      APT 1911                                                               CLEVELAND          OH    44112‐2053
MILLICENT W WORRELL & FRANK W WORRELL JT TEN     32123 BELLVINE TRAIL                                                                                         BEVERLY HILLS      MI    48025‐3724
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MILLIE ALLEN HELEN MARIE ALLEN & VICTORIA E MILLER 9875 RICHTER LN                                                                                   ST LOUIS         MO    63126‐2437
JT TEN
MILLIE C BRANDT & PATRICIA M GOSSETT JT TEN        561 S PRON                                                                                        SEASIDE          OR    97138‐5616
MILLIE C PERSICO                                   3500 WEST CHESTER PIKE                                                                            NEWTOWN SQ       PA    19073‐4101
MILLIE E IPIOTIS                                   51 WOODLAND DR                                                                                    OYSTER BAY       NY    11771‐4107
MILLIE G MORRIS                                    6601 E 51ST TERRACE                                                                               KANSAS CITY      MO    64129‐2812
MILLIE K COMBS                                     41021 OLD MICHIGAN AVE #125                                                                       CANTON           MI    48188‐2722
MILLIE L HOWLETT                                   2700 POTRERO ROAD                                                                                 THOUSAND OAKS    CA    91361‐5029
MILLIE M BELUSIC                                   10401 N SAGUARO BLVD                    APT 227                                                   FOUNTAIN HLS     AZ    85268‐5755
MILLIE MAHAN                                       7260 M 52                                                                                         MANCHESTER       MI    48158‐9443
MILLIE P KELLY                                     897 PEBBLES STILL ROAD                                                                            CAIRO            GA    39827
MILLIE S GIBSON                                    950 GARDNER RD                                                                                    KETTERING        OH    45429‐4550
MILLIE STUTZMAN                                    1317 BRIDLE PATH                                                                                  COOKEVILLE       TN    38501‐0735
MILLIS MASSEY                                      PO BOX 95                                                                                         ROCKY HILL       KY    42163‐0095
MILLISSIE I YEALDHALL & STEVEN H YEALDHALL JT TEN 917 PUTMAN ROAD                                                                                    SYKESVILLE       MD    21784‐8042

MILLROD LUNICH                                     BOX 145                                                                                           BROOKFIELD       OH    44403
MILLS S SAVAGE JR                                  1746 BOWERS ST                                                                                    BIRMINGHAM       MI    48009‐6885
MILNER G YANCEY                                    227 BLUEGILL RD SW                                                                                EATONTON         GA    31024‐7167
MILO B MATHES JR                                   77 BEECH ST                                                                                       BRISTOL          CT    06010‐3529
MILO C NIELSEN JR & MARGARET V NIELSEN JT TEN      10246 HARMONY DR                                                                                  INTER LOCHEN     MI    49643‐9749

MILO E CROSBY                                      5331 DURFEE RD                                                                                    EATON RAPIDS     MI    48827‐8909
MILO G GRAY JR                                     426 W WALNUT                                                                                      GREENFIELD       IN    46140‐2048
MILO I COLLINS & KATHLEEN A COLLINS JT TEN         14270 21 1‐2 MILE ROAD                                                                            MARSHALL         MI    49068‐9310
MILO J SPENCER                                     607 WOODLAWN AVE                                                                                  OWOSSO           MI    48867‐4636
MILO L LOOP                                        5915 DVORAK                                                                                       CLARKSTON        MI    48346‐3225
MILO LEONARD                                       BOX 10214                                                                                         COSTA MESA       CA    92627‐0064
MILO T JOHNSON                                     11657 ILENE ST                                                                                    DETROIT          MI    48204‐1938
MILO V STEELE                                      5136 CASPER                                                                                       DETROIT          MI    48210‐2203
MILORAD KOTARAC                                    21534 VIOLET                                                                                      ST CLAIR SHOR    MI    48082‐1544
MILORAD NOVAKOV                                    140 GINGER LN                                                                                     SALINE           MI    48176‐8865
MILOS DOBRIC                                       8921 WEST 98TH STREET                                                                             PALOS HILLS      IL    60465‐1018
MILOS LACKOVICH & NADA LACKOVICH JT TEN            2674 DEER TRL                                                                                     NILES            OH    44446‐4457
MILOS R MATEJIC                                    6340 AMERICANA DR                       APT 619                                                   WILLOWBROOK      IL    60527‐2246
MILOVAN KISICH TR MILOVAN KISICH TRUST UA          1307 GREEN TRAILS                                                                                 PLAINFIELD       IL    60586‐7614
04/13/06
MILTON A BROWN                                     13830 PEACH HOLLOW LN                                                                             HOUSTON          TX    77082‐3312
MILTON A BROYLES CUST JEFFREY H BROYLES UTMA TX    6804 DWIGHT ST                                                                                    FORT WORTH       TX    76116‐8005

MILTON A FLYNN                                     C/O YVONNE FLYNN                        4210 NORTHEAST 24TH AVENUE                                LIGHTHOUSE POINT FL    33064‐8030

MILTON A GIVENS                                    239 SHERIDAN AVE                                                                                  MANSFIELD        OH    44903‐1531
MILTON A HAYMAN                                    4632 LEXINGTON DR                                                                                 STEUBENVILLE     OH    43953‐3442
MILTON A JEWS                                      108 STATON DR                                                                                     UPPER MARLBORO   MD    20774‐1802

MILTON A KIRKPATRICK & RUTH M KIRKPATRICK JT TEN   11210 SW MARYLYN PL                                                                               BEAVERTON        OR    97008‐5901

MILTON A MIELKE                                    PO BOX 1043                                                                                       LEWISTON         MI    49756‐9221
MILTON ABELS & BLANCHE ABELS JT TEN                121 BAHAMA BLVD                                                                                   COCOA BEACH      FL    32931‐3206
MILTON ADAIR JR                                    BOX 0116                                                                                          CEDAR BLUFF      VA    24609‐0116
MILTON ADKINS                                      110 E SHIELDS ST                                                                                  CINCINNATI       OH    45220‐2211
MILTON ALPART                                      8135 WHISPERING DR                                                                                BOCA RATON       FL    33496‐5137
MILTON ATWATER JR                                  PO BOX 217                                                                                        BURKEVILLE       TX    75932‐0217
MILTON B RICHARDSON                                410 DANIEL DRIVE                                                                                  GOLDSBORO        NC    27534‐3257
MILTON B RICHARDSON II                             410 DANIEL DR                                                                                     GOLDSBORO        NC    27534‐3257
MILTON C BURNHAM & VELMA N BURNHAM JT TEN          1174 LOS ALTOS AVE APT 139                                                                        LOS ALTOS        CA    94022‐1061

MILTON C COUNTS                                    4850 FM 2034                                                                                      ROBERT LEE       TX    76945‐4200
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MILTON C FOERSTE TR CHARLOTTE SMITH TR       11218 ROCKY VALLEY                                                                              LITTLE ROCK     AR    72212‐3132
MILTON C FULLER                              855 EAST DAVISBURG RD                                                                           HOLLY           MI    48442‐8597
MILTON C GRANTHAM                            8303 FULHAM DR                                                                                  RICHMOND        VA    23227
MILTON C LESTER                              6775 MARSH RD                                                                                   MARINE CITY     MI    48039‐2107
MILTON C SMITH                               4197 INDEPENDENCE DR                                                                            FLINT           MI    48506‐1628
MILTON C SWEETER                             300 N PERRY ST                         APT 10A                                                  BARRYTON        MI    49305
MILTON C TAYLOR                              3745 MANHATTAN ST                      APT 46                                                   LAS VEGAS       NV    89109‐4656
MILTON CASON                                 3238 N JENNINGS                                                                                 FLINT           MI    48504‐1759
MILTON COPELAND JR                           6133 GRANNER DR                                                                                 INDIANAPOLIS    IN    46221‐4718
MILTON CUMMINGS JR                           574 W HURON ST 102W                                                                             PONTIAC         MI    48341‐1654
MILTON D BAUMGARDNER                         149 WARSAW LN                                                                                   MOUNT MORRIS    MI    48458‐1065
MILTON D BURGE                               21480 VIRGINIA ST                                                                               SOUTHFIELD      MI    48076‐6006
MILTON D GEE                                 6096 BLACK MTN RD                                                                               ONAWAY          MI    49765‐9668
MILTON D SPROUL & LOIS A SPROUL JT TEN       3247 DELEVAN DR                                                                                 SAGINAW         MI    48603‐1713
MILTON DAVIS & ELDA DAVIS TR FAMILY TRUST    315 S BEVERLY DR                                                                                BEVERLY HILLS   CA    90212‐4312
11/12/87 U‐A MILTONDAVIS &
MILTON DUNN & BEVERLY DUNN & SUSAN FERSHTMAN 254 WINSLOW CR                                                                                  WALLEN LAKE     MI    48390‐4503
& MARSHA HARRIS JT TEN
MILTON E BOOKER                              25541 HANOVER                                                                                   DEARBORN HTS     MI   48125‐1730
MILTON E BOYCE                               38 COUNTRY CLUB RD                                                                              WILLINGBORO      NJ   08046‐3504
MILTON E BURDICK JR                          1611 DIAMOND DR                                                                                 GREEN BAY        WI   54311‐4500
MILTON E CASE                                171 E MAIN ST                                                                                   PERU             IN   46970‐2335
MILTON E DE ROUSSE                           18168 28 MILE RD                                                                                RAY              MI   48096‐2915
MILTON E EDDIE                               541 ELDON DRIVE                                                                                 WARREN           OH   44483‐1349
MILTON E FRANKE                              5678 FOLKESTONE DR                                                                              DAYTON           OH   45459‐1528
MILTON E HEPP & LINDA A HEPP JT TEN          52 HERITAGE ROAD EAST                                                                           WILLIAMSVILLE    NY   14221‐2308
MILTON E HILLMAN                             117 UNAMI TRAIL                                                                                 NEWARK           DE   19711‐7506
MILTON E KNAPP                               30685 SUDBURY CT                                                                                FARMINGTON HILLS MI   48331‐1369

MILTON E LEWIS                                 3106 CENTRAL ST                                                                               TEXARKANA       AR    71854‐2918
MILTON E MABENE                                9541 E PICKWICK CIR                                                                           TAYLOR          MI    48180‐3821
MILTON E MARSACK                               33054 GRENNADA                                                                                LIVONIA         MI    48154‐4171
MILTON E MCGUIRE                               15 MELBA ST                                                                                   DAYTON          OH    45407‐3133
MILTON E MEANS                                 6852 STATE HWY 246                                                                            SPENCER         IN    47460‐6215
MILTON E MORRIS                                50 IVY CIRCLE                                                                                 BRIDGEWATER     MA    02324‐2149
MILTON E PICK                                  415 W LOVETT ST                                                                               CHARLOTTE       MI    48813‐1486
MILTON E PLEXICO                               7709 BROOKSIDE ROAD                                                                           RICHMOND        VA    23229‐6801
MILTON E TROWBRIDGE III                        219 CEDAR HILL RD                                                                             FLORA           MS    39071‐9518
MILTON E TROWBRIDGE JR CUST MILTON ELMO        219 CEDAR HILL RD                                                                             FLORA           MS    39071‐9518
TROWBRIDGE III UGMA MS
MILTON F BABLE                                 57 GAIL AVENUE                                                                                BUFFALO         NY    14215‐2901
MILTON F BROOKS                                3811 DARK RD NE                                                                               KALKASKA        MI    49646‐9579
MILTON FADLER CUST JANET ANN FADLER UGMA OK    10724 SOUTH ELGIN                                                                             JENKS           OK    74037‐2609

MILTON FASSEAS CUST STEVEN MIKUZIS UTMA IL    6919 N LOCKWOOD                                                                                SKOKIE          IL    60077‐3425
MILTON FEREBEE                                PO BOX 4356                                                                                    WARREN          OH    44482‐4356
MILTON FINGER & MARIAN I FINGER TR FINGER FAM 923 VENUS WAY                                                                                  LIVERMORE       CA    94550‐6345
TRUST UA 11/17/94
MILTON G BASSIN                               567A HERITAGE HILLS                                                                            SOMERS          NY    10589‐1908
MILTON G BETZ                                 5555 NATIONAL RD                                                                               CLAYTON         OH    45315‐9710
MILTON G DAVIS                                2515 STOBBE ST                                                                                 SAGINAW         MI    48602‐4058
MILTON G DENSLOW                              13311 30TH AVE                                                                                 REMUS           MI    49340‐9527
MILTON G PORATH & JOYCE A PORATH JT TEN       4700 DEERFIELD                                                                                 SAGINAW         MI    48603‐2975
MILTON G SHADDOW                              39 COUNTRY LANE                                                                                COLUMBUS        NJ    08022‐1136
MILTON GATES JR                               340 BERACAH TRL SW                                                                             ATLANTA         GA    30331‐8517
MILTON GRAYS & BRENDA A GRAYS JT TEN          460 CHARING CROSS                                                                              GRAND BLANC     MI    48439‐1569
MILTON GREESON CUST SHERROD P GREESON UGMA TX PO BOX 409                                                                                     VICTORIA        TX    77902‐0409

MILTON H BYLER                                 4121 W ERIE ST EXTENTION                                                                      LINESVILLE      PA    16424‐9601
                                               09-50026-mg               Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                               Address1                             Address2             Address3          Address4          City               State Zip

MILTON H HEATH                                     5214 E FRANCIS                                                                                MT MORRIS          MI    48458‐9751
MILTON H HOLL                                      1800 DECORAH RD                                                                               WEST BEND          WI    53095‐9501
MILTON H JOHNSON                                   1838 KENNETT PL                                                                               ST LOUIS           MO    63104‐2506
MILTON H KATZ TR UW HERMAN KATZ                    648 LATIMER HILL RD                                                                           CANAJOHARIE        NY    13317‐3718
MILTON H LANE & MIRIAM E LANE JT/WORS JT TEN       BOX 447                                                                                       SCARSDALE          NY    10583

MILTON H POLIN CUST RENA BETH POLIN UNDER THE      4028 SUFIELD CT                                                                               SKOKIE             IL    60078‐1947
MISSOURI U‐G‐M‐L
MILTON H POTTER & JEWELL W POTTER JT TEN           2200 W 4TH STREET APT 203                                                                     WILMINGTON         DE    19805‐3300
MILTON H REID                                      2960 STURTEVANT ST                                                                            DETROIT            MI    48206‐1137
MILTON H REID & GARLAND T REID JT TEN              2960 STURTEVANT STREET                                                                        DETROIT            MI    48206‐1137
MILTON H TROXELL                                   3718 SHERWOOD ST                                                                              SAGINAW            MI    48603‐2092
MILTON H TUTTLE TR MILTON H TUTTLE TRUST UA        286 COUNTRY CLUB DR                                                                           PROSPECT HEIGHTS   IL    60070‐2583
07/22/81
MILTON H WIEDBRAUK                                 1885 N CURRAN ROAD                                                                            CURRAN             MI    48728‐9728
MILTON HONIG                                       3240 HENRY HUDSON PARKWAY                                                                     BRONX              NY    10463‐3212
MILTON HUDSON                                      PO BOX 792                                                                                    OGLETHORPE         GA    31068‐0792
MILTON I COON                                      13500 TURNER RD                                                                               DE WITT            MI    48820‐9613
MILTON I GREEN                                     1371 HUGHES ROAD                                                                              BEAVERTON          MI    48612‐8618
MILTON J BRISSETTE                                 4448 ALVARADO DR                                                                              BAY CITY           MI    48706‐2516
MILTON J EIERMANN JR                               2116 TAFT PK                                                                                  METAIRIE           LA    70001‐1637
MILTON J HENCHERUK                                 29603 JEFFERSON AVE                  APT 11                                                   ST CLAIR SHORES    MI    48082‐1835
MILTON J KELLY                                     11933 W BRIARPATCH DR                                                                         MIDLOTHIAN         VA    23113‐2319
MILTON J KELLY JR                                  2919 W STONY HILL CT                 APT 1B                                                   RICHMOND           VA    23235‐6859
MILTON J KRINGEL JR                                BOX 30264                                                                                     WEST PALM BCH      FL    33420‐0264
MILTON J LAPENE GDN ELIJAH MEIKEL TOURANGEAU       2995 ALBION RD N STE 414 ON                                                 K1V 8Z2 CANADA
LAPENE
MILTON J LEATHERS JR                               11191 UPTON ROAD                                                                              BATH               MI    48808‐9435
MILTON J LEATHERS JR & ANITA L LEATHERS JT TEN     11191 UPTON ROAD                                                                              BATH               MI    48808‐9435

MILTON J OPIE JR                                   9127 BUCKINGHAM ST                                                                            WHITE LAKE         MI    48386‐1515
MILTON J PRICE                                     2158 COOLIDGE RD                                                                              EAST LANSING       MI    48823‐1332
MILTON J REID                                      5148 HEMLOCK AVE                                                                              VIRGINIA BCH       VA    23464‐2802
MILTON J SCHMELZER & LOLA M SCHMELZER JT TEN       431 ARMADA LN                                                                                 DAVENPORT          FL    33837‐6843

MILTON J YOUNG                                     5106 FEAGAN ST                                                                                HOUSTON            TX    77007‐7222
MILTON KELLER & LA RENE KELLER JT TEN              27 W ZIRGON CIRCLE                                                                            LAYTON             UT    84041‐2358
MILTON L DICKINSEN                                 E 16335 BARKA RD                                                                              AUGUSTA            WI    54722‐7410
MILTON L FERGUSON                                  835 CANDLEWOOD CIR                                                                            NEW BRAUNFELS      TX    78130‐3548
MILTON L GASTON                                    6607 LAKEWAY ST                                                                               YPSILANTI          MI    48197‐1055
MILTON L JONES                                     580 BARNARD AVENUE                                                                            MANSFIELD          OH    44903‐1826
MILTON L KRUMM                                     3405 OAK LEAF DR                                                                              BURLESON           TX    76028‐2385
MILTON L LAXTON                                    10712 S CEMETERY RD                                                                           MUSTANG            OK    73064‐9752
MILTON L OLSON                                     4942 S 45TH E                                                                                 IDAHO FALLS        ID    83406‐8056
MILTON L PITTS                                     1 PEBBLE HILL ROAD                                                                            FAIRPORT           NY    14450‐2651
MILTON L PITTS JR                                  46 HARTSDALE RD                                                                               ROCHESTER          NY    14622‐1803
MILTON L PURINTUN                                  2702 FELLOWS ROAD                                                                             EVANSVILLE         WI    53536‐9524
MILTON L RAND & JANE E RAND TR U/I/T OF MILTON L   205 S WOODS MILL RD #3202                                                                     CHESTERFIELD       MO    63017
RAND 12/09/86
MILTON L SMITH                                     18015 NE 13TH                                                                                 BELLEVUE           WA    98008‐3423
MILTON L WHITFORD                                  GENERAL DELIVERY                                                                              HORSEHEADS         NY    14845‐9999
MILTON L WITHERSPOON                               2928 KENWICK CIR                     APT 6                                                    LANSING            MI    48912‐4914
MILTON LACKMAN                                     ATTN ARROW MANUFACTURING             5700 FULLUM ST       MONTREAL QC       H2G 3C4 CANADA
MILTON LATVA & ELSIE M LATVA JT TEN                16935 W MARY ROSS DR                                                                          NEW BERLIN         WI    53151‐6563
MILTON LEE JOHNSON                                 3125 OLD US HWY 29                                                                            PELHAM             NC    27311‐8964
MILTON LOCKLEAR                                    7843 BIRCH                                                                                    TAYLOR             MI    48180‐2311
MILTON M GOLDMAN                                   440 E 79TH ST 2‐F                                                                             NY                 NY    10021‐1407
MILTON M HAZELRIGG & EVELYN I HAZELRIGG JT TEN     731 E STATE ST                                                                                MOUNTAIN GRV       MO    65711‐1830
                                            09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MILTON M MELCZER & EDITH MELCZER TR MELCZER       516 ENCORE WAY                                                                                 BRENTWOOD       CA    94513
LIVING TRUST UA 07/08/97
MILTON M MOORE JR                                 402 E MAIN ST                                                                                  BENNETTVILLE    SC    29512‐3112
MILTON M ROUGON                                   5548 ANTIOCH BLVD                                                                              BATON ROUGE     LA    70817‐3201
MILTON MALIAVSKY & MRS MATHILDA MALIAVSKY JT      3608 AVE T                                                                                     BROOKLYN        NY    11234‐4917
TEN
MILTON MC MILLIN                                  ATTN ROBERT MC MILLIN                 14718 CARNEGIE RD                                        MAGALIA         CA    95954‐9643
MILTON MCWILLIAMS                                 3515 N PENNSYLVANIA ST                                                                         INDIANAPOLIS    IN    46205‐3458
MILTON MEERDINK & LOUISE J MEERDINK TEN COM       9973 SWAN LN                                                                                   SEBRING         FL    33872‐6247

MILTON MORNING JR                                 4725 THREE OAKS RD                                                                             PIKESVILLE      MD    21208
MILTON MOWRY                                      7 ALAN AVENUE                                                                                  GREENVILLE      PA    16125‐2142
MILTON N PETERSON                                 896 FM 744                                                                                     MALONE          TX    76660
MILTON NELSON                                     2200 CHASE POINT CT                                                                            FLUSHING        MI    48433‐2283
MILTON NELSON & SHIRLEY M NELSON JT TEN           2200 CHASE POINTE COURT                                                                        FLUSHING        MI    48433‐2283
MILTON O ERN                                      13241 CAMP FIRE LANE                                                                           SURING          WI    54174‐8901
MILTON O HENRY                                    223 GROOM AVE                                                                                  LIBERTY         MO    64068‐2421
MILTON O SIETING                                  6420 PARIS AVE SE                                                                              GRAND RAPIDS    MI    49548‐6940
MILTON PETERS                                     11351 LAFAYETTE PLAIN CITY RD                                                                  PLAIN CITY      OH    43064‐9190
MILTON PETERSEN III                               9009 FARWAM                                                                                    OMAHA           NE    68114‐3937
MILTON POLEVOY                                    PO BOX 55                                                                                      LITTLE FERRY    NJ    07643‐0055
MILTON POLLACK                                    23655 VIA BEGUINE                                                                              VALENCIA        CA    91355‐3230
MILTON POPE                                       PO BOX 5831                                                                                    CHICAGO         IL    60680‐5831
MILTON R BERKEY TR MILTON R BERKEY REV TRUST UA   521 WINDY RD                                                                                   GILBERT         SC    29054‐9184
07/1/02
MILTON R BOWER & APRIL BOWER JT TEN               4977 WAGGONERS GAP RD                                                                          LANDISBURG       PA   17040‐9107
MILTON R COHEN & JUDITH G COHEN JT TEN            65 EASTLAND AVENUE                                                                             ROCHESTER        NY   14618‐1026
MILTON R DANIELS JR                               1216 HAVENWOOD ROAD                                                                            BALTIMORE        MD   21218‐1435
MILTON R DECKER                                   3915 KINGSTON                                                                                  DEARBORN HEIGHTS MI   48125‐3235

MILTON R GADDIS & JENNE M GADDIS JT TEN           15205 W 48TH AVE                                                                               GOLDEN          CO    80403‐1722
MILTON R LOCKMILLER                               70 EAST BARRETT                                                                                MADISON HEIGHTS MI    48071‐4002

MILTON R RICKETTS SR                              3801 PUCKETT DRIVE                                                                             AMARILLO        TX    79109‐4051
MILTON R SLATER                                   251 FARRINGTON AVE                                                                             SLEEPY HOLLOW   NY    10591‐1306
MILTON R THOMAS                                   1303 OLD HILLSBORO RD                                                                          FRANKLIN        TN    37069‐9132
MILTON RAY MCGEE                                  235 W NEWALL ST                                                                                FLINT           MI    48505‐4154
MILTON REED                                       1166 YORKWOOD RD                                                                               MANSFIELD       OH    44907‐2437
MILTON RITTER & EDITH ESSER RITTER JT TEN         3154 GRACEFIELD RD APT 403                                                                     SILVER SPRING   MD    20904‐0807
MILTON ROSS CUST DEPRA P ROSS UGMA MA             10 LEDGEWOOD WAY APT 15                                                                        PEABODY         MA    01960‐1393
MILTON RUSSELL WOFFORD JR CUST MILTON RUSSELL     55 MADDOX DR                                                                                   ATLANTA         GA    30309‐2747
WOFFORD III UTMA GA
MILTON S GREESON JR                               PO BOX 409                                                                                     VICTORIA        TX    77902‐0409
MILTON S HUDSON                                   616 HAZELWOOD ST                                                                               OKLAHOMA CITY   OK    73160‐8308
MILTON SHELBY                                     1603 LINCOLN ST                                                                                LAURAL          MS    39440‐4933
MILTON SILAS JR                                   8680 BEECHDALE ST                                                                              DETROIT         MI    48204‐4672
MILTON SIMMONS                                    527 MARTIN LUTHER KING BLVD N                                                                  PONTIAC         MI    48058
MILTON SIMPSON                                    401 W GREEN ST                                                                                 MARSHALL        MI    49068‐1423
MILTON SIZER                                      1934 E 74TH ST 305                                                                             CHICAGO         IL    60649‐3173
MILTON SMITH                                      RR 2 BOX 44                                                                                    BUTLER          MO    64730‐9506
MILTON SOMKAYLO                                   582 KIMBALL AVE                                                                                YONKERS         NY    10704‐1526
MILTON SUGARMAN & MRS DOROTHY SUGARMAN JT         3530 HENRY HUDSON PARKWAY EAST                                                                 BRONX           NY    10463‐1306
TEN
MILTON T GILLILAND                                2801 DANTZLER AVE                                                                              MOSS POINT      MS    39563‐2005
MILTON T HODGE                                    1437 REMBRANDT ST                                                                              INDIANAPOLIS    IN    46202‐2138
MILTON T WHITE                                    9314 RIVER RD                         #B                                                       HURON           OH    44839‐9525
MILTON T YAMASAKI                                 2221 D FERN ST                                                                                 HONOLULU        HI    96826‐4241
MILTON TINGES & ALIETA TINGES JT TEN              720 MCCLELLAN                                                                                  CHENOA          IL    61726‐1343
MILTON VICENTENO                                  3592 SOUTHPOINTE DR                                                                            ORLANDO         FL    32822‐3756
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Name                                            Address1                             Address2                     Address3             Address4          City              State Zip

MILTON W HATT                                  2715 S KIRBY RD                                                                                           GRAIN VALLEY      MO    64029‐9459
MILTON W KELLEY                                1333 WINDING RIDGE CIR                                                                                    VALDOSTA          GA    31605‐7931
MILTON WELHOELTER REV LIV TR MILTON WELHOELTER C/O CHARTERBANK WEBSTER GROVES TR     75 WEST LOCKWOOD                                                    WEBSTER GROVES    MO    63119‐2931
TTEE UA 07/31/84
MILTON WHITE                                   1861 ECKLEY                                                                                               FLINT             MI    48503‐4525
MILTON WHITE & MIRACLE L WHITE JT TEN          1861 ECKLEY                                                                                               FLINT             MI    48503‐4525
MILTON YEARY                                   2345 GREEN                                                                                                DETROIT           MI    48209‐1215
MILTONETTA ATWATER                             318 RAVENWOOD WAY                                                                                         LODI              CA    95240‐7839
MILUS A RODEN                                  4366 AL HIGHWAY 65                                                                                        PAINT ROCK        AL    35764‐6608
MILUS SUTTON JR                                790 HIGHLAND AVE                                                                                          HAMILTON          OH    45013‐4608
MILUTIN DRAGICEVIC                             67 AMROTH AVE                         TORONTO ON                                        M4C 4H3 CANADA
MILWAUKEE LATVIAN EVANGELICAL LUTHERAN         4184 N BARTLETT AVE                                                                                       SHOREWOOD         WI    53211‐1923
CONGREGATION
MILWAUKEE ROAD HISTORICAL ASSOCIATION          C/O LEO DORN TREASURER                442 RIVER BLUFF CIR                                                 OCONOMOWOC        WI    53066‐3482
MIMA L CHAPMAN                                 1510 WOODLAND DR                                                                                          CHARLESTON        WV    25302‐3617
MIMI ANDERSON                                  8824 SUNLAND RD                                                                                           EL PASO           TX    79907‐5413
MIMI CAROE INMAN                               10 NORMANDY LN                                                                                            AIKEN             SC    29801‐2853
MIMI FRANK CUST JAROD FRANK UGMA NY            19962 21ST AVE                        #2                                                                  WHITESTONE        NY    11357‐4120
MIMI NEWCOMB TR NEWCOMB FAMILY TRUST UA        300 LOVERS LANE                                                                                           ALBANY            GA    31701‐1242
08/16/96
MIMI R PENDERGRAST CUST NANCY MAYSON           444 HILLWOOD DR NW                                                                                        ATLANTA           GA    30305‐3506
PENDERGRAST UTMA GA
MIMI RACICOT                                   507 N 137TH ST                                                                                            SEATTLE           WA    98133‐7412
MIMI SCHATZ                                    12 SABINA TERRACE                                                                                         FREEHOLD          NJ    07728‐2841
MIMIA P BROWN                                  6322 W HALEH AVE                                                                                          LAS VEGAS         NV    89141‐8520
MIMMI P PLATTER                                30 OAK LANE S W                                                                                           MOULTRIE          GA    31768‐5444
MIN HO LEE                                     8002 WINDSOR WAY                                                                                          ELON              NC    27244
MINA F BARINGER                                14301 ELLSWORTH RD                                                                                        BERLIN CENTER     OH    44401‐9749
MINA H WINTER & RONALD J WINTER & MICHAEL A    523 WEST THIRD ST                                                                                         KALKASKA          MI    49646‐9350
WINTER JT TEN
MINA L GENTRY                                  3453 W CO RD 100 NORTH                                                                                    KOKOMO            IN    46901
MINA L ULRICH                                  740 ARIEBILL ST SW                                                                                        WYOMING           MI    49509‐4072
MINA L WASHINGTON                              3615 ALBRIGHT RD                                                                                          KOKOMO            IN    46902‐4475
MINA M LANKTON DENNIS L LANKTON & CURTIS W     APT 104                               5291 HIGHLAND RD                                                    WATERFORD         MI    48327‐1941
LANKTON JT TEN
MINA O ROBERSON                                1210 DEMPHLE AVE                                                                                          DAYTON            OH    45410‐2215
MINA SCHWEITZER                                2441 STEUBEN ST                                                                                           UNION             NJ    07083‐6540
MINAS MINASIAN & NORA MINASIAN JT TEN          72 COLLEGE AVE                                                                                            ARLINGTON         MA    02474‐1054
MINASSIE BEYENE                                6822 HYACINTH                                                                                             DALLAS            TX    75252‐5923
MINDEE HOPKINS                                 231 S FEA AV                                                                                              NEWPORT           WA    99156‐9058
MINDEL RUTH ERDBERG                            12324 SPRINGCREST DR                                                                                      HOUSTON           TX    77072‐3219
MINDY BETH BASSIN                              758 PINOAK RD                                                                                             PITTSBURGH        PA    15243‐1153
MINDY DONENFELD                                590 SANTIAGO CANYON WAY                                                                                   BREA              CA    92821‐3543
MINDY ESKRIDGE CUST ALAN MICHAEL ESKRIDGE UTMA 23751 BRIARWOOD LN                                                                                        GEORGETOWN        DE    19947‐5245
DE
MINDY GOLDMAN & JAMIE FISCHER JT TEN           21337 ROCK RIDGE DR                                                                                       BOCA RATON        FL    33428‐4876
MINDY GREEN CUST SETH L GREEN UGMA NY          205 LOVELL AVE                                                                                            ELMIRA            NY    14905‐1231
MINDY HORSEMAN                                 16 WARWICK RD                         SORRENTO WESTERN AUSTRALIA                        6020 AUSTRALIA
MINDY L CHERNEY                                4547 VALLEYVIEW                                                                                           WEST BLOOMFIELD MI      48323‐3357

MINDY M MILLER                                  2658 BEDDINGTON WAY                                                                                      SUWANEE           GA    30024‐2980
MINDY R LEEDS                                   18 OAKLAND RD                                                                                            MAPLEWOOD         NJ    07040‐2225
MINDY ROCHELLE WITTENBERG                       335 SHERWOOD AVENUE                                                                                      SATELLITE BEACH   FL    32937‐3037
MINDY S RICHTIGER                               8101 COURTE DRIVE                    APT 301                                                             NITES             IL    60714‐1182
MINDY S WINTER TOD SHLOMO D WINTER SUBJECT TO   1053 EAST 29TH ST                                                                                        BROOKLYN          NY    11210
STA TOD RULES
MINERVA A MATIBAG                               GM THAILAND ESTRN SEABD              IND ESTATE 111/1 MOO 4       PLUAKDNG RAYNG THA   THAILAND
MINERVA ANDERSEN SMITH                          14 MASTWOOD LANE                                                                                         KENNEBUNK         ME    04043‐7707
MINERVA B GOLLA                                 614 GARDEN VIEW                                                                                          JENSEN BEACH      FL    34957‐5339
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Name                                             Address1                              Address2             Address3          Address4          City             State Zip

MINERVA GONZALEZ                                 33030 RAYBURN                                                                                  LIVONIA          MI    48154‐2920
MINERVA J OSBORNE & RALPH S OSBORNE JT TEN       PO BOX 14                                                                                      NEWTON JCT       NH    03859‐0014
MINERVA M HOLIFIELD                              1339 WESLEYAN RD                                                                               DAYTON           OH    45406‐4247
MINERVA M RICHARDS                               5117 MAHER AVE                                                                                 MADISON          WI    53716‐2821
MINERVA M SANCHEZ                                7330 S 500 W                                                                                   WARREN           IN    46792‐9760
MINERVA MONTERO                                  603 DORSET DRIVE                                                                               MORRISVILLE      PA    19067‐7506
MINERVA WEATHERFORD                              42 EVERITTSTOWN RD                                                                             FRENCHTOWN       NJ    08825
MINERVA Z CATRON                                 2011 WESMAR CT                                                                                 KOKOMO           IN    46902‐3844
MINETTE PEARSON                                  8801 S ESCANABA ST 2 FRONT                                                                     CHICAGO          IL    60617‐3134
MING D TOM & KAM PING TOM JT TEN                 508 W 112 TH ST #2A                                                                            NEW YORK         NY    10025‐1670
MING F YIP                                       3246 ARKANSAS ST                                                                               OAKLAND          CA    94602‐3706
MING H LIN                                       5S720 STEEPLE RUN DR                                                                           NAPERVILLE       IL    60540‐3733
MING LIANG JIANG CUST JONATHAN C T JIANG UTMA    10222 SILVERSTONE PLACE                                                                        ELLICOTT CITY    MD    21042‐5873
MD
MING LIANG JIANG CUST JONATHAN C T JIANG UTMA    10222 SILVERSTONE PL                                                                           ELLICOTT CITY    MD    21042‐5873
MD
MINH D NGUYEN & LAN PHAM NGUYEN JT TEN           7321 BRECOURT MANOR WAY                                                                        AUSTIN           TX    78739
MINH T DOAN                                      45007 COBBLESTONE                                                                              NOVI             MI    48377‐1395
MINH V NGO                                       34 OLD WELL RD                                                                                 ROCHESTER        NY    14626‐3702
MINHTAM DO                                       13480 WENTWORTH LN                    UNIT 125C                                                SEAL BEACH       CA    90740‐4651
MINNA D HARWICK TR UA 11/29/90 MINNA D           1150‐8TH AVE SW APT 510                                                                        LARGO            FL    33770‐3169
HARDWICK
MINNA MARIE MC CARTHY                            18‐65 211ST APT 6A                                                                             BAYSIDE          NY    11360‐1848
MINNDOLL B THATCHER                              4123 MARSEILLES AVE                                                                            SARASOTA         FL    34233
MINNESOTA DEPARTMENT OF COMMERCE UNCLAIMED       85 7TH PL E STE 500                                                                            ST PAUL          MN    55101‐2198
PROPERTY SECTION
MINNIE A CERAGIOLI TR MINNIE CERAGIOLI LIVING    3628 N NOTTINGHAM                                                                              CHICAGO          IL    60634‐2242
TRUST UA 9/1/99
MINNIE A ROSS                                    20 FIREBUSH LANE KWY                                                                           NORTHFIRELD      OH    44067
                                                                                                                                                CENTER
MINNIE ANN ELLSWORTH                           124 VICTORY DRIVE                                                                                PONTIAC          MI    48342‐2561
MINNIE ANN ELLSWORTH & ELMER H ELLSWORTH SR JT 124 VICTORY DRIVE                                                                                PONTIAC          MI    48342‐2561
TEN
MINNIE B COLLINS                               3579 HIDDEN LAKE DR                                                                              GARDEN CITY      SC    29576‐8501
                                                                                                                                                BEACH
MINNIE B JENSON                                  6940 ROUND LAKE RD                                                                             VERMONTVILLE     MI    49096‐9798
MINNIE B JONES                                   19405 HOLIDAY LN                                                                               CLEVELAND        OH    44122‐6955
MINNIE B POWELL                                  20003 ALVO AVE                                                                                 LOS ANGELES      CA    90746
MINNIE B SHAVINSKY                               10413 FLORIAN RD                                                                               LOUISVILLE       KY    40223‐3444
MINNIE BURT                                      1866 MURRAY AVE                                                                                CLEARWATER       FL    33755‐2308
MINNIE BUYTAS                                    10317 MILLER RD                                                                                SWARTZ CREEK     MI    48473‐8525
MINNIE C BROWN                                   51 WOODLAND CHASE BLVD                                                                         NILES            OH    44446‐5353
MINNIE C MAMONE                                  8550 MORRIS RD                                                                                 HILLIARD         OH    43026‐8484
MINNIE C MAMONE                                  8550 MORRIS ROAD                                                                               HILLIARD         OH    43026
MINNIE C MILLER                                  27706 LISA DRIVE                                                                               TAVARES          FL    32778‐9714
MINNIE COLLINS OWNBY                             234 QUILL DR NW                                                                                CLEVELAND        TN    37311‐8121
MINNIE CRAWFORD                                  70 SCOTT LANE                                                                                  HAMILTON         OH    45015
MINNIE D EVANS TR UA 12/18/90 MINNIE D EVANS     23823 ROWE DRIVE                                                                               MORENO VALLEY    CA    92557‐7931
TRUST
MINNIE D SHADD                                   546 SANDRA LEE                                                                                 TOLEDO           OH    43612‐3345
MINNIE DANIEL                                    17550 MONICA                                                                                   DETROIT          MI    48221‐2635
MINNIE E BROWN                                   12925 SHARON VALLEY RD                                                                         BROOKLYN         MI    49230‐8419
MINNIE E FINE                                    ATTN FRED D FINE                      50 GRAHAM ROAD                                           SCARSDALE        NY    10583‐7256
MINNIE E HOBBS                                   6131 DARNELL                                                                                   HOUSTON          TX    77074‐7413
MINNIE E MCALLISTER                              267 NO BROAD ST                                                                                PENNS GROVE      NJ    08069‐1024
MINNIE E TORRES                                  7252 LOMA VERDE WAY                                                                            SACRAMENTO       CA    95822‐4976
MINNIE F WALKER                                  2202 LOTHROP STREET                                                                            DETROIT          MI    48206‐2672
MINNIE G DAVIS                                   1825 MARWELL BLVD                                                                              HUDSON           OH    44236‐1323
MINNIE G FLOWERS                                 112‐16 221ST ST                                                                                QUEENS VILLAGE   NY    11429‐2612
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Name                                                 Address1                            Address2             Address3          Address4          City               State Zip

MINNIE G SHANNON                                     1886 GLENVIEW DR S W                                                                         ATLANTA            GA    30331‐2414
MINNIE HUGHES                                        13120 NORTHFIELD BLVD                                                                        OAK PARK           MI    48237‐1608
MINNIE I MCCOWAN                                     826 HANSMORE PLACE                                                                           KNOXVILLE          TN    37919‐7194
MINNIE J BRISCOE                                     910 COUNTY RD 274                                                                            TOWN CREEK         AL    35672‐4016
MINNIE J JACKSON                                     2200 E 101ST                                                                                 CLEVELAND          OH    44106‐3508
MINNIE K DATCHUK                                     31 WASHINGTON                                                                                NILES              OH    44446‐2433
MINNIE K WILLIAMS                                    1665 LAWRENCE                                                                                DETROIT            MI    48206‐1518
MINNIE L BOWMAN                                      5201 SCENICVUE DR                                                                            FLINT              MI    48532‐2357
MINNIE L BURKS                                       2629 IDAHO ST                                                                                JACKSON            MS    39213‐5433
MINNIE L CLORE                                       305 REIMAN ST                                                                                BUFFALO            NY    14212‐2147
MINNIE L EVERETT                                     P O BOX 7211                                                                                 AMERICUS           GA    31719
MINNIE L EVERETT                                     2811 ASHLEY DR E                    APT F                                                    WEST PALM BCH      FL    33415‐8231
MINNIE L GESS TR MINNIE L GESS REV LIVING TRUST UA   W 3862 LOWER HEBRON RD                                                                       FORT ATKINSON      WI    53538‐8408
09/20/01
MINNIE L HOLLOWAY                                    1942 VERMONT STREET                                                                          GARY               IN    46407
MINNIE L JOHNSON                                     3934 MC MILLAN ST                                                                            CHARLOTTE          NC    28205‐1751
MINNIE L PARRISH                                     164 MILL CREEK DR                                                                            CHESTERFIELD       IN    46017‐1702
MINNIE L PECK                                        740 KESSLER BOULEVARD WEST DR                                                                INDIANAPOLIS       IN    46228‐1429
MINNIE L PEGGINS                                     921 4TH COURT                                                                                PLEASANT GRV       AL    35127
MINNIE L PURDY                                       1915 WELCH BLVD                                                                              FLINT              MI    48504‐3015
MINNIE L RICHARDSON                                  8152 S CLYDE AV                                                                              CHICAGO            IL    60617‐1115
MINNIE LAVIANI CUST ROBERT N LAVIANI U/THE           6225B ELIZABETH WAY                                                                          FARMINGTON         NY    14425‐1080
FLORIDA GIFTS TO MINORS ACT
MINNIE M BROWN                                       3725 WILMINGTON DAYTON RD                                                                    BELLBROOK          OH    45305‐8919
MINNIE M BUYTAS & DIANE E BAKER JT TEN               10317 MILLER RD                                                                              SWARTZ CREEK       MI    48473‐8525
MINNIE M SPECK                                       15520 SONOMA DRIVE                                                                           FT MEYERS          FL    33908‐7312
MINNIE M TINNIN                                      10115 CROCUSLAWN                                                                             DETROIT            MI    48204‐2594
MINNIE MARIE GRAY                                    PO BOX 331                                                                                   FRANKFORT          IN    46041‐0331
MINNIE N MC GUIRE                                    18113 EVERGREEN                                                                              DETROIT            MI    48219‐3464
MINNIE P ADAMS                                       2229 NEWPORT                                                                                 DETROIT            MI    48215‐2673
MINNIE P FITZGERALD                                  19 DOUGLAS STREET                                                                            TROY               NY    12198‐7530
MINNIE P HULL                                        BOX 7                                                                                        SPENCER            VA    24165‐0007
MINNIE P WHITE                                       6900 SOAP STONE RD                                                                           JETERSVILLE        VA    23083‐2716
MINNIE R BAUGHMAN                                    10015 CHERRY CREEK LN                                                                        PORT RICHEY        FL    34668‐3708
MINNIE R EGERER & TIMOTHY E EGERER JT TEN            4503 BACKLICK ROAD                                                                           ANNANDALE          VA    22003‐5825
MINNIE S MARTIN                                      PO BOX 386                                                                                   STUART             VA    24171‐0386
MINNIE SCHIFFMAN                                     27292 APPLE BLOSSOM LN                                                                       SOUTHFIELD         MI    48034‐1048
MINNIE T DUNMIRE                                     548 BANK ST N E                                                                              WARREN             OH    44483‐3816
MINNIE TARTER                                        8708 TUDOR AVE                                                                               CINCINNATI         OH    45242‐7839
MINNIE W MC CLURG                                    1629 THREE DEGREE RD                                                                         MARS               PA    16046‐3125
MINNIE W RAY                                         4620 WATERVILLE SWANTON RD                                                                   SWANTON            OH    43558
MINNIE WHITE                                         3701 MIRACLES BL 1007                                                                        DETROIT            MI    48201‐1568
MINNIE Y LOU                                         4052 SANTA ANITA ST                                                                          ORANGE             CA    92865‐1526
MINOR E MASHAW JR                                    9110 LINWOOD                        #52                                                      SHREVEPORT         LA    71106‐6572
MINOR L GILMORE JR                                   804 MC COUL ST                                                                               RICHMOND           VA    23231‐4621
MINORITY INTEREST FUND II LLC                        ATTN LARRY KREISLER                 14 MARIA DR                                              SPARTA             NJ    07871‐3042
MINOS E GIVENS                                       8266 93RD AVE                                                                                VERO BEACH         FL    32967‐3794
MINOTTE M CHATFIELD                                  3081 SOUTH DR                                                                                ALLENTOWN          PA    18103‐3639
MINTORY MARTIN & ROSE MARTIN JT TEN                  22151 HARDING                                                                                OAK PARK           MI    48237‐2563
MIODRAG ILIEVSKI                                     16 CHI‐MAR DR                                                                                ROCHESTER          NY    14624‐4015
MIODRAG KOTUR                                        4050 CENTER AVE                     #1                                                       LYONS              IL    60534‐1316
MIODRAG L DJORDJEVIC                                 203 SOUTH VENOY CIRCLE                                                                       GARDEN CITY        MI    48135‐1057
MIRA E OWEIS                                         34 FLETCHER AVE                                                                              VALLEY STREAM      NY    11580‐4004
MIRA M FIEBELKORN                                    C/O M M MORRISON                    78 NORTH PLACE       PO BOX 377                          MT TABOR           NJ    07878‐0377
MIRAE DUNCAN                                         1247 EAST 134TH STREET                                                                       E CLEVELAND        OH    44112‐2407
MIRANDA ALIZIO                                       129 METROPOLITAN AVE                                                                         BOSTON             MA    02131‐4216
MIRANDA MARTINEZ                                     2884 SARATOGA AVE                                                                            LAKE HAVASU CITY   AZ    86406

MIRCA COLAK                                          5535 24 MILE RD                                                                              SHELBY TWP         MI    48316‐3203
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Name                                                Address1                                 Address2               Address3        Address4          City               State Zip

MIRCEA MITCHELL BONCA                               8514 BYERS AVE                                                                                    DOWNEY             CA    90242‐2514
MIREILLE BERENT CUST DANIEL BERENT UTMA NJ          554 CHURCHILL RD                                                                                  TEANECK            NJ    07666‐2900
MIREILLE BERENT CUST NISSAN BERENT UTMA NJ          554 CHURCHILL RD                                                                                  TEANECK            NJ    07666‐2900
MIREILLE MILLETTE                                   2080 BERTHIER                            DUVERNAY LAVAL QC                      H7E 1G8 CANADA
MIREILLE RIVARA CUST MARGAUX RIVARA UGMA NY         122 MARVIN AVE                                                                                    ROCKVILLE CENTRE   NY    11570

MIRELA SHULMAN CUST LARA SHULMAN UGMA NY            I ROSALIND PLACE APT 1A                                                                           LAWRENCE           NY    11559

MIRELA SHULMAN CUST MICHELLE SHULMAN UGMA NY 1 ROSALIND PLACE APT 1A                                                                                  LAWRENCE           NY    11559

MIRELLA BERNE                                       5205 ELMHURST DR                                                                                  SCHNECKSVILLE      PA    18078‐2868
MIREYA A ORTIZ                                      3229 CORLEAR AVE                                                                                  BRONX              NY    10463‐3935
MIRIAH A KELLEY & RUSSELL KELLEY TEN COM            BOX 237                                                                                           ROCKLAND           ME    04841‐0237
MIRIAM A CHARKOWSKY                                 761 LINDEN AVE                           #1                                                       RAHWAY             NJ    07065‐3624
MIRIAM A COLEMAN                                    PO BOX 4259                                                                                       WILMINGTON         DE    19807‐0259
MIRIAM A HAMER                                      6807 LAKES EDGE WAY                                                                               MINERAL            VA    23117‐5009
MIRIAM A NYMAN                                      3168 SHERRY DR                                                                                    BATON ROUGE        LA    70816‐5009
MIRIAM A PEZZULLO                                   7360‐A FREEMAN PLACE                                                                              GOLETA             CA    93117‐2818
MIRIAM A SEIM                                       2565 ZANE AVE N                                                                                   GOLDEN VALLEY      MN    55422‐3351
MIRIAM A TANENHAUS                                  7360‐A FREEMAN PLACE                                                                              GOLETA             CA    93117‐2818
MIRIAM A TANNENBAUM                                 240‐05 WELLER AVENUE                                                                              ROSEDALE           NY    11422
MIRIAM B ALTMAN                                     62 GREENWOOD PARK                                                                                 PITTSFORD          NY    14534‐2935
MIRIAM B CAGLE                                      11912 STEPPINGSTONE BLVD                                                                          TAMPA              FL    33635‐6260
MIRIAM B CLARK CUST PATRICIA R CLARK A MINOR        101 A DOCTOR BELT ROAD                                                                            DICKERSON          MD    20842‐8019
U/THE LAWS OF GEORGIA
MIRIAM BERG & GLORIA FRANZKE JT TEN                 SPACE 128                                7700 LAMPSON AVENUE                                      GARDEN GROVE       CA    92841‐4152
MIRIAM BERG & RAYMOND BERG JT TEN                   SPACE 128                                7700 LAMPSON AVENUE                                      GARDEN GROVE       CA    92841‐4152
MIRIAM BRUCK                                        47 RANCH TRL W                                                                                    BUFFALO            NY    14221‐2212
MIRIAM BUDOWSKY                                     2407 WILLOUGHBY AVE                                                                               SEAFORD            NY    11783‐2951
MIRIAM C CUSHING                                    56 S BONNIEMEAD CIRCLE                                                                            THE WOODLANDS      TX    77381‐4470
MIRIAM C HALLBERG                                   10715 S DRAKE AVE                                                                                 CHICAGO            IL    60655‐2605
MIRIAM C KAY                                        917 DEVONSHIRE ROAD                                                                               DAYTON             OH    45419‐3607
MIRIAM C LELLEY TR UA 06/07/86 MIRIAM C KELLEY TR   768 BAYBERRY DR                                                                                   BARLETT            IL    60103‐4444

MIRIAM CANN LANE                                   108 CANTERBURY DR                                                                                  WILMINGTON         DE    19803‐2608
MIRIAM CARTER                                      5000 BATTERY LANE                         UNIT 403                                                 BETHESDA           MD    20814‐2657
MIRIAM DEL PINO MONTALVO                           3365 WEST 13 AVE                                                                                   HIALEAH            FL    33012‐4815
MIRIAM E BERRY                                     PO BOX 1949                                                                                        BETHLEHEM          PA    18016‐1949
MIRIAM E BOURG CALCAGNO & JULIUS CALCAGNO TEN 100 ALLIE LANE                                                                                          LULING             LA    70070‐2024
COM
MIRIAM E CASTO                                     189 LAWRENCE AVENUE                                                                                COLUMBUS           OH    43228‐6101
MIRIAM E JORDAN                                    11567 KENN ROAD                                                                                    CINCINNATI         OH    45240‐2529
MIRIAM E NEFF & SCOTT E NEFF & KELLY L MC GRATH JT 3649 W BERYL AVE                                                                                   PHOENIZ            AZ    85051‐1334
TEN
MIRIAM E PAULSON                                   8050 RIDGEWAY DRIVE                                                                                BURLINGTON         WI    53105‐9237
MIRIAM E ROTH                                      728 HARPER AVE                                                                                     DREREL HILL        PA    19026‐1423
MIRIAM E SEDZRO                                    PO BOX 382                                                                                         MONTICELLO         NY    12701‐0382
MIRIAM E SMITH                                     8436 PASSFIELD TURN                                                                                OSSEO              MN    55311‐1540
MIRIAM E TILDEN                                    ATTN MIRIAN E DENNIS                      18314 GILMORE                                            ARMADA             MI    48005‐4117
MIRIAM F BAILEY                                    9664 NATHALINE                                                                                     REDORD             MI    48239‐2207
MIRIAM F HEDGES                                    BOX 7                                     7 HALSEY ST                                              BRIDGEHAMPTON      NY    11932‐0007

MIRIAM G MENCZER                                    21742 ALBION AVE                                                                                  FARMINGTN HLS      MI    48336
MIRIAM J BALLARD                                    1370 ELMMORE RD                                                                                   COLUMBUS           OH    43224‐2722
MIRIAM J BRESNAN                                    380 D WOODBRIDGE DRIVE                                                                            RIDGE              NY    11961‐1329
MIRIAM J O'KEEFE                                    632 CHURCH ST                                                                                     ALMOND             WI    54909‐9326
MIRIAM J ODEVEN                                     C/O MIRIAM GAWARKIEWICZ                  7238 CARLTON ARMS DR                                     NEW PORT RICHEY    FL    34653‐6803
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Name                                              Address1                              Address2                  Address3     Address4          City             State Zip

MIRIAM JOLLEY SPENCER TR UA 07/31/1997 ALBERT E   194 EAST AVENUE                       PO BOX 339                                               HARRISVILLE      RI    02830
SPENCER FAMILY TRUST
MIRIAM K HOLLEMAN CUST SAMUEL R HOLLEMAN          1222 SILVERSTONE AVE                                                                           ORLANDO          FL    32806‐1867
UTMA TX
MIRIAM K MEYER                                    1049 COLLEGE PARK BLVD                APT 212                                                  VIRGINIA BCH     VA    23464‐4481
MIRIAM K ROTHENBERG                               235 EAST 22ND ST                                                                               NEW YORK         NY    10010‐4616
MIRIAM K SCHMIDT                                  3619 SPRING AVE SW                                                                             DECATUR          AL    35603‐1263
MIRIAM KAPLAN CUST DOUGLAS SCOTT KAPLAN UTMA      22 SHAW DR                                                                                     WAYLAND          MA    01778
MA
MIRIAM KATHLEEN HULL & LORRAINE RENEE JT TEN      3106 E 6TH ST                                                                                  ANDERSON         IN    46012‐3826

MIRIAM KATHLEEN VAN                                305 E CASS ST                                                                                 SAINT JOHNS      MI    48879‐1910
MIRIAM L OSTERHOFF TR MIRIAM L OSTERHOFF REV       4618 ROUNDTREE                                                                                BRIGHTON         MI    48116‐6106
TRUST UA 02/25/03
MIRIAM L TROTTER CUST JOHN ALEXANDER LOPEZ UNIF 9130 KILBRIDE ROAD                                                                               NOTTINGHAM       MD    21236‐2018
GIFT MIN ACT MD
MIRIAM L TROTTER CUST LAURA MARIE LOPEZ UNIF       9130 KILBRIDE ROAD                                                                            NOTTINGHAM       MD    21236‐2018
GIFT MIN ACT MD
MIRIAM L TURCHIARELLI                              4416 WINDSOR OAKS CIR                                                                         MARIETTA         GA    30066‐2388
MIRIAM L WAGNER                                    836 YALE DRIVE                                                                                MANSFIELD        OH    44907
MIRIAM LASKER                                      350 S OCEAN BLVD APT 6D                                                                       BOCA RATON       FL    33432‐6210
MIRIAM LASTORIA & MICHAEL LASTORIA JT TEN          2330 ANCHOR LANE                                                                              SOUTHOLD         NY    11971‐2230
MIRIAM LEWIN                                       2206 LILAC CT                                                                                 LANSDALE         PA    19446‐7612
MIRIAM LYNN SCHUSTER                               3780 OVERLOOK RD                                                                              COLORADO SPGS    CO    80906
MIRIAM M CALKINS                                   6152 CARMELL DR                                                                               COLUMBUS         OH    43228‐9238
MIRIAM M HAMILTON                                  107 CARRIAGE LANE                                                                             OXFORD           MI    48371‐3673
MIRIAM M KEGLER                                    35 BARKER AVE APT 2E                                                                          WHITE PLAINS     NY    10601‐1612
MIRIAM M KERNESS                                   5347 ROYAL PADDOCK WAY                                                                        MARRITT ISLAND   FL    32953‐7544
MIRIAM M OLIVER                                    PO BOX 324                                                                                    DALTON           PA    18414‐0324
MIRIAM MAYBERRY                                    33129 W CHICAGO ST                                                                            LIVONIA          MI    48150‐3788
MIRIAM MELTZER                                     13 HOLLBERRY CT                                                                               ROCKVILLE        MD    20852‐4222
MIRIAM METRO                                       3440 SE MARTINIQUE TR #101                                                                    STUART           FL    34997‐8167
MIRIAM MISHAW                                      13020 WARREN                                                                                  DEARBORN         MI    48126‐1537
MIRIAM MULEY                                       286 MORAN RD                                                                                  GROSSE POINTE    MI    48236‐3433
MIRIAM O STOCKWELL TOD BEVERLY J BODEN SUBJECT 3910 KENNEDY DRIVE EAST                  WINDSOR ON                             N9G 1X7 CANADA
TO STA TOD RULES
MIRIAM O STOCKWELL TOD FREDERICK A STOCKWELL       3910 KENNEDY DR EAST                 WINDSOR ON CAN ON                      N9G 1X7 CANADA
SUBJECT TO STA TOD RULES
MIRIAM P NOVICK TR LIVING TRUST 12/17/85 U‐A F‐B‐O 725 BECKER RD                                                                                 GLENVIEW         IL    60025‐1907
MIRIAM P NOVICK
MIRIAM P SAULS                                     PO BOX 104                                                                                    SMOAKS           SC    29481‐0104
MIRIAM POLLOCK GODA                                632 PRINCE PHILLIP DR                                                                         VIRGINIA BCH     VA    23452‐3810
MIRIAM R ANGNE                                     1915 GRANT AVE                                                                                CUYAHOGA FALLS   OH    44223‐1820
MIRIAM R BECK                                      440 WALSINGHAM COURT                                                                          DAYTON           OH    45429‐5956
MIRIAM R BECK                                      ATTN RHYNE BROS PHARMACY             440 WALSINGHAM CT                                        DAYTON           OH    45429‐5956
MIRIAM R BERG & CYNTHIA R BERG JT TEN              SPACE 128                            7700 LAMPSON AVE                                         GARDEN GROVE     CA    92841‐4152
MIRIAM R BERG & FRANK E BERG JT TEN                SPACE 128                            7700 LAMPSON AVE                                         GARDEN GROVE     CA    92841‐4152
MIRIAM R BERG & MATTHEW R BERG JT TEN              SPACE 128                            7700 LAMPSON AVE                                         GARDEN GROVE     CA    92841‐4152
MIRIAM R FISCHER                                   1074 PEACHTREE WALK NE               UNIT B404                                                ATLANTA          GA    30309‐3955
MIRIAM R MEYER                                     3305 RIO VISTA LN                                                                             JEFFERSONVILLE   IN    47130‐5615
MIRIAM R OPPENHEIMER                               ENVOY PLAZA                          250 BEECHWOOD AVE #27‐B                                  POUGHKEEPSIE     NY    12601‐5257
MIRIAM R PARIS                                     13023 COVERED BRIDGE RD                                                                       SELLERSBURG      IN    47172‐8605
MIRIAM REICHERT STERNLICHT                         121 OLD MILL RD                                                                               GREENWICH        CT    06831‐3015
MIRIAM REYNAGA                                     941 OAKMEADOW DR                                                                              FRANKIN          TN    37064‐5537
MIRIAM ROBINSON‐BRUSCHETTE & JEROME A              1854 EAST VINEDO LANE                                                                         TEMPE            AZ    85284‐1786
BRUSCHETTE SR JT TEN
MIRIAM ROSA                                        883 S VICTORIA AVE                                                                            LOS ANGELES      CA    90005‐3752
MIRIAM S KAVANAGH                                  310 ROOSEVELT AVENUE                                                                          SYRACUSE         NY    13210‐3143
MIRIAM S SHAY                                      3433 W BURNSIDE RD                                                                            OTTER LAKE       MI    48464
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Name                                             Address1                                Address2                      Address3   Address4             City              State Zip

MIRIAM S SHIRLEY & ROBERT L SHIRLEY JT TEN       725 LYNCOTT ST                                                                                        NORTH MUSKEGON MI       49445‐2836

MIRIAM S SIZEMORE                                BOX 68                                                                                                MAYSEL            WV    25133‐0068
MIRIAM SALSBURY                                  16306 BAWTRY COURT                                                                                    BOWIE             MD    20715‐4367
MIRIAM T ROSENBAUM                               147 ANN DRIVE                                                                                         PITTSFIELD        MA    01201
MIRIAM T SIX                                     1608 GRAYBAR LN                                                                                       NASHVILLE         TN    37215‐2104
MIRIAM U MITCHELL                                2 ADAMS ST                                                                                            FORT BRAGG        NC    28307‐2050
MIRIAM VAN DUYNE                                 PO BOX 857                                                                                            MELROSE           FL    32666‐0857
MIRIAM W CANTRELL                                25 STATE RD 13 F‐2                                                                                    JACKSONVILLE      FL    32259‐2842
MIRIAM W CLARK & FILLMORE L CLARK JT TEN         185 DELAWARE AVE                                                                                      LAKE HELEN        FL    32744‐3014
MIRIAM W RAGSDALE                                1112 PARK AVENUE‐APT 15B                                                                              NEW YORK          NY    10128‐1235
MIRIAM ZACHARY                                   49 S DEEP LAKE RD                                                                                     NORTH OAKS        MN    55127‐6312
MIRIAN EICKHOFF                                  12100 JOHNNY WEISSMULLER LN                                                                           AUSTIN            TX    78748
MIRIJAM ANNA HOMBACH                             PARKSTR 15                              D‐57537 WISSEN                           GERMANY
MIRILYN MILLAR                                   3706 NUTTREE WOODS DRIVE                                                                              MIDLOTHIAN        VA    23112‐4512
MIRJANA ALEKSOVSKA                               9727 SOUTH MERYTON COURT                                                                              PALOS HILL        IL    60465‐1158
MIRJANA DJOMPARIN                                OBILICEVA 9                             23000 ZRENJANIN               SERBIA     REPUBLIC OF SERBIA
MIRJANA DOSTANICH                                68 JAMES ST                                                                                           SOUTH RIVER       NJ    08882
MIRJANA M PURDEF                                 3290 TUMWATER VALLEY DR                                                                               PICKERINGTON      OH    43147‐9831
MIRON BONCA                                      3153 COUNTRY CLUB DR                                                                                  COSTA MESA        CA    92626‐2354
MIRON COSMA                                      20000 VINING ROAD                                                                                     NEW BOSTON        MI    48164‐9158
MIRON D PIPPINS                                  1216 JOHNSTON S E                                                                                     GRAND RAPIDS      MI    49507‐2803
MIROSLAV KOMSIC                                  14775 31 MILE RD                                                                                      WASHINGTON        MI    48095‐1525
MIROSLAV STARESINIC                              16362 DANAHOO ROAD                                                                                    BASEHOR           KS    66007‐5205
MIROSLAV ZELEZNIK & JULIA ZELEZNIK JT TEN        312 E MAIN ST                                                                                         LIGONIER          PA    15658‐1418
MIRREL WILLIAM PATTERSON                         453 SACKETT AVE                                                                                       MONROE            MI    48161‐2670
MIRTA DECESPEDES‐STOCK                           1829 NW 31ST AV                                                                                       MIAMI             FL    33125‐1108
MIRTA RAUSCH                                     40970 WEST ROSEWOOD                                                                                   CLINTON TWP       MI    48038‐4907
MIRTHA MORIN FABBRO                              CASILLA DE CORREO # 614                 B 1900 WAA‐LA PLATA (BS AS)              ARGENTINA
MIRTHEY T CANNON                                 1412 HIGH CREST DR                                                                                    HIXSON            TN    37343‐4325
MIRTHEY T CANNON & JOSEPH S CANNON JR JT TEN     1412 HIGH CREST DR                                                                                    HIXSON            TN    37343‐4325

MIRYAN YAWITZ SAFIR                              1537 NW 33RD ST                                                                                       MIAMI             FL    33142‐6156
MIRZA B MANGILIN                                 11875 SHAFFER                                                                                         DAVISBURG         MI    48350‐3846
MIRZA B MANGILIN & CASIANO R MANGILIN JT TEN     11875 SHAFFER                                                                                         DAVISBURG         MI    48350‐3846

MISA I JOHNSON                                   7288 MANLIUS CENTER RD                                                                                EAST SYRACUSE     NY    13057‐9565
MISAEL SOTO                                      3125 KENILWORTH                                                                                       BERWYN            IL    60402‐3002
MISHA TEJADA                                     688 MOREWOOD CRES                       ORLEANS ON                               K4A 2P4 CANADA
MISKINIS BUICK PONTIAC CO INC                    1000 MAIN ST                                                                                          BRIDGEWATER       MA    02324‐1347
MISS ADELA MICHAELS                              501 WEST 57TH ST APT#4S                                                                               NEW YORK          NY    10019‐2914
MISS ADELAIDE HECKLER                            16 HUGHES AVE                                                                                         RYE               NY    10580‐1317
MISS ADELAIDE KELLY                              518 SOUTH 8TH ST                                                                                      VANDALIA          IL    62471‐3002
MISS ADELAIDE LOUISE SILVIA                      2719 MILTON AVE                                                                                       SYRACUSE          NY    13209‐2417
MISS ADRIENNE B BLISS                            PO BOX 762‐M                                                                                          MORRISTOWN        NJ    07963‐0762
MISS ADRIENNE SOOM                               70 BIRCHWOOD DR                                                                                       NORTH ARLINGTON   NJ    07031‐5130

MISS AGNES ELIZABETH CALAMETTI                   803 E LAKESHORE DR                                                                                    CARRIERE          MS    39426‐7752
MISS AGNES ELIZABETH GRIFFITH                    353 CANANDAIGUA ST                                                                                    PALMYRA           NY    14522‐1315
MISS AGNES JANE LEWIS                            5125 TEMPLE HILLS ROAD                                                                                TEMPLE HILLS      MD    20748‐4845
MISS AGNES MAY HOEDINGHAUS                       C/O A M PARKS                           BOX 689                                                       HANALEI           HI    96714‐0689
MISS AGNES P TESKE                               PO BOX 204                                                                                            SOUTH EGREMONT    MA    01258‐0204

MISS AGNES SAKHO                                 211 EVA DR                                                                                            GIBSONVILLE       NC    27249‐2773
MISS AILEEN E JITSUMYO                           4865 DOGWOOD AVENUE                                                                                   SEAL BEACH        CA    90740
MISS AKIYE SAKAMOTO                              4320 20TH AVE                                                                                         SACRAMENTO        CA    95820‐3922
MISS ALBERTA BOTSFORD TWIST                      GREAT RING ROAD                                                                                       SANDY HOOK        CT    06482
MISS ALBINA SELICE                               1227 58TH ST                                                                                          BROOKLYN          NY    11219‐4528
MISS ALETHA E WESTFAHL                           312 S 5TH AVE                                                                                         WAUSAU            WI    54401‐4649
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Name                                             Address1                                Address2                   Address3          Address4                 City                State Zip

MISS ALEXANDRA KISLA                             C/O ALEXANDRA J CORCORAN                4501 CONNECTICUT AVE NW                                               WASHINGTON       DC       20008‐3710
MISS ALEXANDRA LEVILOFF                          913 15TH ST                                                                                                   SANTA MONICA     CA       90403‐3104
MISS ALFREDA FORCZEK                             1417 CHARLES ST                                                                                               PT PLEAS BCH     NJ       08742‐4569
MISS ALICE BERTHA JANSEN                         PO BOX 65                                                                                                     MANSFIELD CENTER CT       06250‐0065

MISS ALICE C JENKINS                             760 WILLIAMS DR                                                                                               CROWN POINT         IN    46307‐4822
MISS ALICE CAROLINE GANDY                        C/O A G OFERRALL                        PO BOX 297                                                            MENTONE             AL    35984‐0297
MISS ALICE CHOICE MC COIN                        125 MC DANIEL GREENE                                                                                          GREENVILLE          SC    29601‐2962
MISS ALICE E OSBORN                              C/O ALICE E BRONK                       PO BOX #491                                                           FOLLY BEACH         SC    29439‐0491
MISS ALICE KATHLEEN JONES                        211 WILLSON ROAD                        WELLAND ON                                   L3C 2T7 CANADA
MISS ALICE L KRAFT                               2802 WEST 35TH AVE APT 14                                                                                     KENNEWICK           WA    99337‐2582
MISS ALICE LECHOWICZ                             248 MAPLE HILL AVE                                                                                            NEWINGTON           CT    06111‐2728
MISS ALICE M TASSOFF                             3198 W 140TH ST                                                                                               CLEVELAND           OH    44111‐1443
MISS ALICE MARIE SALOOM                          PO BOX 2461                                                                                                   LAFAYETTE           LA    70502‐2461
MISS ALICE MERRILL OBRIEN                        ROCKWOOD SOUTH HILL                     APT 501                    2903 E 25TH AVE                            SPOKANE             WA    99223
MISS ALICE NELL ALLEN                            2326 CLEARSPRING DR N                                                                                         IRVING              TX    75063‐3380
MISS ALICE R NEUMAN                              1710 PALISADES DRIVE                                                                                          PACIFIC PASIDADES   CA    90272‐2112

MISS ALICE ROSENSTROM                            201 WELLINGTON RD                                                                                             GARDEN CITY         NY    11530‐1207
MISS ALICE SAINER                                APT 7‐C                                 465 WEST END AVE                                                      NEW YORK            NY    10024‐4926
MISS ALICE T KEEFFE                              90 BRYANT AVE                                                                                                 WHITE PLAINS        NY    10605‐1952
MISS ALICE TODD ALDERSON                         PO BOX 215                                                                                                    ALDERSON            WV    24910‐0215
MISS ALICE WALTERS                               106 W 7TH ST                            # 105                                                                 FREEMAN             SD    57029‐2319
MISS ALICIA BELLE HARPER                         ATTN MRS ALICIA HARPER                  FITZGERALD                 BOX 603                                    FAYETTE             MS    39069‐0603
MISS ALISON K BURBAGE                            101 RIGGS AVE                                                                                                 SEVERNA PARK        MD    21146‐4419
MISS ALISON KOSS                                 2125 BLANCHE LN                                                                                               MERRICK             NY    11566‐5500
MISS ALISON R HAUCK                              2 EPHRAIM'S WAY                                                                                               UPTON               MA    01568‐1641
MISS ALISON ROSALIND HEALES                      ATTN ALISON R O ROURKE                  23 BRYER CLOSE             CHARD SOMERSET    TA20 2LA GREAT BRITAIN
MISS ALISON ROSE FINKLE                          C/O MS TRIPP                            9003 WOODED GLEN ROAD                                                 JEFFERSONTOWN   KY        40220‐2965
MISS ALISSA A RABBINO                            7 JAMASON PL                                                                                                  FLANDERS        NJ        07836‐9339
MISS ALIX J GREENBLAT                            15429 SUTTON ST                                                                                               SHERMAN OAKS    CA        91403‐3809
MISS ALLIE LOUISE RITTER 2ND                     1030 CLUBVIEW BLVD N                                                                                          WORTHINGTON     OH        43235‐1222
MISS ALMA H TORONI                               2323 F STREET                                                                                                 EUREKA          CA        95501‐4131
MISS ALMA L MAYER                                172‐03 83RD AVE                                                                                               JAMAICA         NY        11432‐2103
MISS ALMA S ROBBINS                              616 BANK STREET                                                                                               WASHINGTON      NC        27889‐5205
MISS ALTA ADELIA ANDREWS                         6309 WEST RD                                                                                                  CONEWANGO VLY NY          14726
MISS ALYCE FRANCES MATERNIAK                     8 DOUGLAS CT                                                                                                  HAMILTON SQUARE NJ        08690‐2404

MISS ALYCE M HEIL                                3902 SADDIE RD                                                                                                RANDALLSTOWN        MD    21133‐4011
MISS ALYCE R DIEHL                               PO BOX 56                                                                                                     TREXLERTOWN         PA    18087‐0056
MISS AMALIA SCIAMANNA                                                                                                                                          SLOVAN              PA    15078
MISS AMANDA K CIVAK                              12 MOHAWK DR                            SAINT CATHERINES ONTERIO                     L2R 1C1 CANADA
MISS AMBER L S CHENG                             150 WINCHESTER DR                                                                                             YONKERS             NY    10710‐2322
MISS AMELIA W DETWILER                           523 FEELEY RD                                                                                                 CALEDONIA           NY    14423‐9747
MISS AMY B SNYDER                                10542 EASTWIND WAY                                                                                            COLUMBIA            MD    21044‐5608
MISS AMY HIRASHIMA                               4013 W 184TH ST                                                                                               TORRANCE            CA    90504‐4711
MISS AMY JAGER                                   890 CAMBRIA ST                                                                                                CHRISTIANSBURG      VA    24073‐1265
MISS AMY LOUISE BIE                              ATTN MRS AMY BIE SCHAFER                2328 N STONEYBROOK                                                    WICHITA             KS    67226‐2228
MISS AMY RUTH MARGOLUIS                          2627 WEIGELIA RD                                                                                              ATLANTA             GA    30345‐3968
MISS AMY SUE GABIN                               940 EDGEWOOD LN                                                                                               LANGHORNE           PA    19053‐1969
MISS ANA BALIC                                   C/O ANA VUKASOVIC NOVO NASELJE 7B/II    SV STASIJA‐DOBROTA         B KOTORSKA        SERBIA
MISS ANA ISABEL PEREZ                            BOX 99279                                                                                                     LOUISVILLE          KY    40269‐0279
MISS ANAHID ISKIAN                               521 5TH AVE                             SUITE 1740                                                            NY                  NY    10175‐0003
MISS ANDREA BARTKOWSKI                           ATTN ANDREA KETCH                       232 STAGECOACH BLVD                                                   EVERGREEN           CO    80439‐4305
MISS ANDREA F BONFIGLIO                          37047 BENNETT                                                                                                 LIVONIA             MI    48152‐2704
MISS ANDREA J RENOVITCH                          4501 IVY AV                                                                                                   NEWFIELD            NJ    08344‐2117
MISS ANDREA M HESS & MRS KATHERINE M HESS JT TEN 154 S DENWOOD                                                                                                 DEARBORN            MI    48124‐1310

MISS ANDREA MINDY ARKIN                          6220 BAY PKWY                                                                                                 BROOKLYN            NY    11204‐3156
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Name                                            Address1                              Address2                  Address3     Address4          City               State Zip

MISS ANGELA G CARAPELLA                       167 DANTE AVE                                                                                    TUCKAHOE           NY    10707‐3060
MISS ANGELA KOUTSOUTIS                        1 SMETON PLACE UNIT 606                                                                          BALTIMORE          MD    21204‐2733
MISS ANGELA M DI CHIARA                       179 CARVER ST                                                                                    WATERBURY          CT    06708‐4548
MISS ANGELA M DURAND                          1155 BEVERLY HILL DR                                                                             CINCINNATI         OH    45208‐4323
MISS ANGELA M FRANK                           27 MEYERSVILLE RD                                                                                CHATHAM            NJ    07928‐1126
MISS ANGELA M STEFANELLI                      709 N KIMBERLY                                                                                   IRON MOUNTAIN      MI    49801‐1517
MISS ANGELA MARY UNSWORTH & MRS FLORENCE G    C/O ANGELA U NEUWEILER                  4285 PRIMAVERA AVE                                       RENO               NV    89502‐5373
UNSWORTH JT TEN
MISS ANGELINA CENTRELLA                       BOX 6623                                                                                         PHILA              PA    19149‐0623
MISS ANGELINA FINOCCHIO                       1317 73RD ST                                                                                     BROOKLYN           NY    11228‐2125
MISS ANGELINA M GAGLIARDI                     20 MAPLE STREET                                                                                  DOBBS FERRY        NY    10522‐1108
MISS ANGELINE GIOLETTO                        5107 DEELANE ST                                                                                  TORRANCE           CA    90503‐1328
MISS ANITA D BERNSTORFF & MISS MARGARET L     1220 JUDSON AVE                                                                                  EVANSTON           IL    60202‐1317
BERNSTORFF JT TEN
MISS ANITA E CHARBONNEAU                      504 WOLCOTT RD                                                                                   WOLCOTT            CT    06716‐2430
MISS ANITA GHEENS MIDDLETON                   31 CENTER DR                                                                                     MYRTLE BEACH       SC    29572‐5610
MISS ANITA HELEN BROOKS                       155 E 55 ST                             APT 10 G                                                 NEW YORK           NY    10022‐4043
MISS ANITA HOLLANDER                          #23‐D                                   484 W 43 ST                                              NEW YORK           NY    10036‐6341
MISS ANITA STARK                              C/O VERA INSTITUTE OF JUSTICE           PO BOX 2‐5106                                            BROOKLYN           NY    11202
MISS ANN A MAC LENATHEN                       5 SHORE DR                                                                                       LAKE PLACID        NY    12946‐1479
MISS ANN BELFORD                              C/O A ULANOV                            PO BOX 1182                                              WOODBURY           CT    06798‐1182
MISS ANN BRYAN PEGRAM                         9012 GATEWOOD DRIVE                                                                              JONESBORO          GA    30238‐4618
MISS ANN C CANTALOUPO                         11111 NORTH HERRELLS FERRY ROAD         APT 167                                                  BATON ROUGE        LA    70816
MISS ANN C MAY                                81 LINDEN AVE                           APT 504                                                  ROCHESTER          NY    14610‐3558
MISS ANN CHITTENDEN DUHME                     ATTN CAROL DUHME                        8 EDGEWOOD ROAD                                          SAINT LOUIS        MO    63124‐1817
MISS ANN E HALPERIN                           C/O RISCH                               3 TUTOR PL                                               EAST BRUNSWICK     NJ    08816‐3659
MISS ANN E HICKEY & MRS KATHLEEN M MC DONOUGH 1245 SILVER FERN DR                                                                              LAKE ST LOUIS      MO    63367‐4775
JT TEN
MISS ANN E WHEELER                            14643 E 11TH PL                                                                                  TULSA              OK    74108‐4503
MISS ANN E WOOD                               ATTN ANN E WALLACE                      1835 TRAIL CREEK ROAD                                    BOZEMAN            MT    59715‐6645
MISS ANN ELIZABETH CURTIS                     14 DE VOE DR                                                                                     ALBANY             NY    12205‐4904
MISS ANN ELIZABETH KELSEY                     320 N E GWEN CT                                                                                  HILLSBORO          OR    97124‐2141
MISS ANN GRAHAM                               1050 MCNEILLY RD APT 228                                                                         PITTSBURGH         PA    15226‐2556
MISS ANN GREEN                                APT 15 M                                788 COLUMBUS AVE                                         NEW YORK           NY    10025‐5948
MISS ANN HARVIN WHETSTONE                     117 N ACRES ROAD                                                                                 GREENWOOD          SC    29649‐9502
MISS ANN HORAN                                440 HAMILTON AVE                                                                                 TRENTON            NJ    08609‐2710
MISS ANN JAMIE TRAUTMAN                       27205 SE 146TH STREET                                                                            ISSAQUAH           WA    98027‐8391
MISS ANN KANDEL                               APT 17‐A                                240 EAST 82ND ST                                         NEW YORK           NY    10028‐2736
MISS ANN LEVINE                               C/O ANN L PARKER                        3351 JONES BRIDGE ROAD                                   CHEVY CHASE        MD    20815‐5736
MISS ANN LOUISE BROWN                         ATTN ANN LOUISE GUPTA                   1630 JUANITA LANE                                        REDLANDS           CA    92373‐7142
MISS ANN M BOWMAN                             ATTN ANN M BOWMAN SMITH                 3463‐B S STAFFORD ST                                     ARLINGTON          VA    22206‐1917
MISS ANN MARGUERITE DAY                       14708 E 59TH ST                                                                                  KANSAS CITY        MO    64136‐1211
MISS ANN MARIE LANDEN                         5142 COBBLERS CT                                                                                 BLOOMFIELD HILLS   MI    48304‐3730

MISS ANN MARIE STRICKLAND                       119 CLAYTON CRESCENT                  BOWMANVILLE ON                         L1C 4P2 CANADA
MISS ANN MC ALEER                               751 W BEECH ST                                                                                 LONG BEACH         NY    11561‐2808
MISS ANN MICHELE MILLER                         14430 PIKE RD                                                                                  SARATOGA           CA    95070‐5358
MISS ANN MIDDLETON JOHNSON                      1834 TRADEWINDS LN                                                                             NEWPORT BEACH      CA    92660‐3809
MISS ANN MIKULAK & MISS EVELYN MIKULAK JT TEN   65 COLIN ST                                                                                    YONKERS            NY    10701‐5561

MISS ANN OSULLIVAN                              14 MILL ST                                                                                     ROCHESTER          NH    03868‐5838
MISS ANN PETERSON                               C/O MISS ORDON                        14310 CHAMPIONSHIP LANE                                  HOUSTON            TX    77069‐1263
MISS ANN POLK WATSON                            C/O ANN LUZADER                       1243 ALGONQUIN RD                                        CROWNSVILLE        MD    21032
MISS ANN SEGIN                                  947 JILL DR                                                                                    PITTSBURGH         PA    15227‐1360
MISS ANN T YANCEY                               820 CROSS HILL ROAD                                                                            COLUMBIA           SC    29205‐2004
MISS ANN W HILL                                 BOX 864                                                                                        ROMNEY             WV    26757‐0864
MISS ANN WOLTZ & MISS WANDA M WOLTZ JT TEN      153 ERIE AVE                                                                                   GOWANDA            NY    14070‐1214

MISS ANNA BUTLER                                PO BOX 60166                                                                                   HOUSTON            TX    77205‐0166
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Name                                            Address1                            Address2                         Address3     Address4          City             State Zip

MISS ANNA CHRISTINA BALAZS                      5500 FRIENDSHIP BLVD                                                                                CHEVY CHASE      MD    20815‐7219
MISS ANNA E HASLUP                              6012 OSAGE ST                                                                                       BERWYN HEIGHTS   MD    20740‐2771
MISS ANNA E JOHNSON                             5 CHANNING RD                                                                                       NEWTON           MA    02459‐1138
MISS ANNA F MC INNIS                            ATTN BARBARA A MCINNIS EXEC         21 ELM ST                                                       REVERE           MA    02151‐3109
MISS ANNA IMFELD                                7 HAWK ST                                                                                           SCOTIA           NY    12302‐1801
MISS ANNA KASYCH                                3330 MACARTHUR RD                                                                                   WHITEHALL        PA    18052‐2904
MISS ANNA KASYCH & CHARLES KASYCH JR JT TEN     3330 MAC ARTHUR RD                                                                                  WHITEHALL        PA    18052‐2904
MISS ANNA LOU DEBUSK                            4412 BALL CAMP PIKE                                                                                 KNOXVILLE        TN    37921‐3314
MISS ANNA MARIE MULLIGAN                        C/O ANNA MARIE TEPE                 200 WHITE HAMPTON LANE APT 618                                  PITTSBURGH       PA    15236‐1550
MISS ANNA PANZI                                 3 WEST LAWRENCE DR UNIT 6                                                                           PIERMONT         NY    10968‐3113
MISS ANNA PAWLAK                                47 1/2 VINE ST                                                                                      MIDDLEBORO       MA    02346‐1946
MISS ANNA PECORARO                              2913 N PORTO BELLO AVE                                                                              LEESBURG         FL    34748‐8537
MISS ANNA S FUJISHIGE                           162 CECIL PL                                                                                        COSTA MESA       CA    92627‐1747
MISS ANNA WEGER                                 430 E KIEFER AVE                                                                                    HAZLETON         PA    18201‐7711
MISS ANNABEL CLARKE                             2975 MC ANALLY RD                   VICTORIA BC                                   V8N 1T3 CANADA
MISS ANNABELLE SMITH                            APT 5                               8 ST THOMAS                      TORONTO ON   M5S 2B8 CANADA
MISS ANNE A KEIGHTLEY                           ATTN ANNE K JONES                   790 MABRY ROADD                                                 ATLANTA          GA    30328
MISS ANNE CASCO                                 APT 16‐E                            1 HAVEN PLAZA                                                   NEW YORK         NY    10009‐3913
MISS ANNE ELIZABETH HENNIGHAUSEN                C/O ANN E MCCOY                     751 W 67TH ST                                                   TULSA            OK    74132‐1807
MISS ANNE F BRINGARDNER                         ATTN ANNE F LANE                    301 DUKE ROAD                                                   LEXINGTON        KY    40502‐2514
MISS ANNE GRADISON                              1408 WHITLEY DR                                                                                     VIENNA           VA    22182‐1456
MISS ANNE J BARRY                               196 PINEHURST AVE #6H                                                                               NEW YORK         NY    10033‐1738
MISS ANNE K HEFLIN                              11117 W 121ST STREET                                                                                OVERLAND PARK    KS    66213‐1989
MISS ANNE KELLY                                 511 E 20TH ST                       APT 10E                                                         NEW YORK         NY    10010‐7524
MISS ANNE L GOWER                               64 E HIGH ST                                                                                        BALLSTON SPA     NY    12020‐1805
MISS ANNE M CUMMINGS                            85 CEDAR ST                                                                                         MILLINOCKET      ME    04462
MISS ANNE M FLYNN                               65 CENTRAL PARK AVE APT 3M                                                                          YONKERS          NY    10705
MISS ANNE M GORMAN                              8801 SHORE ROAD                                                                                     BROOKLYN         NY    11209‐5450
MISS ANNE MC LAURIN & RACHEL MC LAURIN JT TEN   C/O A M QUALLS                      103 N DENISON ST                                                BALTIMORE        MD    21229‐3015

MISS ANNE RANDOLPH BENNETT                      208 43RD ST                                                                                         VIRGINIA BEACH   VA    23451‐2504
MISS ANNE S H TUCKER                            C/O MRS ANNE T WESTLAKE             6 PINE DR                                                       WESTPORT         CT    06880‐4421
MISS ANNE SINKLER THOMPSON                      C/O MRS N SLEDGE                    121 E RIDGELAWN DRIVE                                           MOBILE           AL    36608‐2464
MISS ANNE SURCHIN                               11 BARONSCOURT                      HAMPSTEAD QC                                  H3X 1H1 CANADA
MISS ANNE V OSULLIVAN                           464 UNION AVE                                                                                       ELIZABETH        NJ    07208‐3256
MISS ANNE VYTLACIL                              1511 33RD ST NW                     PO BOX 238                                                      WASHINGTON       DC    20007‐2723
MISS ANNE WHITFIELD BOHMER                      3208 KIRKLEVINGTON DR                                                                               LEXINGTON        KY    40517‐2486
MISS ANNE WINGATE TAPPAN                        17 FAYETTE ST #5                                                                                    CAMBRIDGE        MA    02139‐1111
MISS ANNETTE L LEGARE                           26 MOHAWK DRIVE                                                                                     NIANTIC          CT    06357‐2812
MISS ANNETTE M MARTINKA                         C/O A M CARTER                      6291 WESTVIEW DR                                                GRAND BLANC      MI    48439‐9748
MISS ANNETTE P PENDERGAST                       101 WEATHERBEE DR                                                                                   WESTWOOD         MA    02090‐2138
MISS ANNETTE R LONG                             2903 VICTORIA CIR                   APT E3                                                          COCONUT CREEK    FL    33066‐1336
MISS ANTOINETTE BOCK                            81 SHERWOOD DR                                                                                      WAYMART          PA    18472‐4508
MISS ANTOINETTE MC NULTY & CAROL K MAC DONALD   27 WATSONS CT                                                                                       PROVINCETOWN     MA    02657‐1376
JT TEN
MISS ANTOINETTE MIHALICH                        80 DART ST                                                                                          EAST ROCKAWAY    NY    11518‐1826
MISS ANTOINETTE T FORTE                         6220 TEMPLETON DR                                                                                   CARMICHAEL       CA    95608‐0422
MISS ANTONIA ELLIS                              1154 N SYCAMORE AV 6                                                                                LOS ANGELES      CA    90038‐1083
MISS ANTONIA GARCIA                             199‐05 26TH AVE                                                                                     BAYSIDE          NY    11358‐1208
MISS ANTONIETTA M GIACOPPO                      19 VIKING RD                                                                                        SAUGUS           MA    01906‐4134
MISS ARLENE B KRICK                             6145 N KEATING AVE                                                                                  CHICAGO          IL    60646‐4903
MISS ARLENE DAVID                               5225 POOKS HILL RD                  926 NORTH                                                       BETHESDA         MD    20814‐2052
MISS ARLENE L LONG                              191 PEACH TREE RD                                                                                   SELINSGROVE      PA    17870‐8571
MISS ARLENE LOIS BURTON                         C/O RUMBOLD                         INDIAN WALK                                                     MECHANICSVILLE   PA    18934
MISS ARLENE M KOWALSKI                          812 WRIGHT AVE                                                                                      NISKAYUNA        NY    12309‐6055
MISS ARLENE MACHEMER                            545 YORK ROAD                                                                                       YORK HAVEN       PA    17370‐9134
MISS ARLENE MITTLEMAN                           64‐37 175TH ST                                                                                      FLUSHING         NY    11365‐2135
MISS ARLENE OCELUS                              PO BOX 65                                                                                           POTTSVILLE       PA    17901‐0065
MISS ARLINE FEHLINGER                           5250 WHIPORWILL DR # 81                                                                             HOLIDAY          FL    34690‐2100
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Name                                            Address1                               Address2                    Address3            Address4          City            State Zip

MISS ARLINE TREACY                              375 SADDLE RIVER ROAD                                                                                    MONSEY          NY    10952‐5026
MISS ARNETTE ANN SADOWSKI                       1007 9TH ST                                                                                              LORAIN          OH    44052‐1569
MISS ASAYO KIMURA                               1597 LLOYD WAY                                                                                           MOUNTAIN VIEW   CA    94040‐2922
MISS ASHLEY ROUNTREE                            7365 FIELDGATE DR                                                                                        DALLAS          TX    75230‐5425
MISS AUDREY ANN TANCOS & MRS LA VERGNE TANCOS   15746 JON ROAD                                                                                           OAK FOREST      IL    60452‐2764
JT TEN
MISS AUDREY C TRAIN                             1987 WINDOVER ROAD                                                                                       PASADENA        CA    91107‐1249
MISS AUDREY E ARBUCKLE                          3939 FIELDVIEW RD                                                                                        LAKE ORION      MI    48360‐2499
MISS AUDREY E NEWELL                            29 WYNDHAM RD W                                                                                          ROCHESTER       NY    14612‐5525
MISS AUDREY EYERMAN                             C/O AUDREY CLANCY                      12 SHEPHERD PLACE                                                 KEARNY          NJ    07032
MISS AUDREY L RANDOLPH                          44 BELL HOLLOW RD                                                                                        MOUNT KISCO     NY    10549‐4021
MISS AUDREY LEVINE                              24 SPECTOR LN                                                                                            WOODBRIDGE      CT    06525‐1731
MISS AUDREY PAMELA CAPLIN                       231 HAMILTON RD                                                                                          MERION PARK     PA    19066‐1102
MISS AUDREY T LEVINE                            C/O AUDREY L SCHECHTER                 158 FOURBROOKS ROAD                                               STAMFORD        CT    06903‐4624
MISS AUDRONE E GELAZIS                          2937 PALM BEACH BL                                                                                       FORT MYERS      FL    33916‐1504
MISS AUGUSTA EDWARDS & GARY TROCINO JT TEN      6033 EAST COYTE WASH DRIVE                                                                               SCOTTSDAEL      AZ    85262‐8212

MISS AUGUSTA EDWARDS & MICHAEL TROCINO JT TEN   6041 E ANAHEIM ST                                                                                        MESA            AZ    85205‐8307

MISS AUGUSTA EDWARDS & MISS VICTORIA L TROCINO 6041 E ANAHEIM ST                                                                                         MESA            AZ    85205‐8307
JT TEN
MISS B CHARLOTTE HALL & MRS MARY T HALL JT TEN 2806 VALLEY BROOK DR                                                                                      CHAMPAIGN       IL    61822‐7621

MISS B PAULINE TOOMEY                           9750 BRANT AV                                                                                            PITTSBURGH      PA    15237‐4340
MISS BARBARA A BOARDMAN                         105 FERN AVENUE                                                                                          COLLINGSWOOD    NJ    08108‐1920
MISS BARBARA A DE FRANCIS                       11‐34 JACKSON AVE                                                                                        SCARSDALE       NY    10583‐3136
MISS BARBARA A EVANS                            ATTN BARBARA EVANS MESCHI              630 GOODHILL RD                                                   KENTFIELD       CA    94904‐2617
MISS BARBARA A RICHARD                          81 NEW HAMPSHIRE                                                                                         LONG BEACH      NY    11561‐1335
MISS BARBARA A RZEPSKI                          301 BAINTREE RD                                                                                          BRYN MAWR       PA    19010‐1612
MISS BARBARA A SALKUSKI                         952 SUNSET AVE                                                                                           UTICA           NY    13502‐4127
MISS BARBARA A SCHWARTZ                         725 NORTH LINN                                                                                           IOWA CITY       IA    52245‐1937
MISS BARBARA A SHOENER                          109 OCEANGREENS LANE                                                                                     CASWELL BEACH   NC    28465‐8457
MISS BARBARA ANN BENDERMAN                      1515 WOOSTER RD                                                                                          ROCKY RIVER     OH    44116‐1901
MISS BARBARA ANN BUCKMAN                        1070 HWY 289                                                                                             LEBANON         KY    40033‐9301
MISS BARBARA ANN OSBORNE & MRS HELEN E          1590 FAIRCOURT                                                                                           GROSSE POINTE   MI    48236‐2307
OSBORNE JT TEN
MISS BARBARA ANN TUCCI                          214 WOODCLIFF AVE                                                                                        LITTLE FALLS    NJ    07424‐1065
MISS BARBARA B GERKEN                           PO BOX 301                                                                                               TREXLERTOWN     PA    18087‐0301
MISS BARBARA BOFF                               C/O BARBARA S GOVENDO                  % GENERAL DELIVERY          16 MORSE LN BOX 7                     WOODVILLE       MA    01784‐0007
MISS BARBARA BRANDL & MISS FRANCES BRANDL JT    7 MARIA LN                                                                                               COLUMBIA        PA    17512‐9718
TEN
MISS BARBARA BROWNSON                           3760 11TH AVE SW                                                                                         NAPLES         FL     34117‐4138
MISS BARBARA C CARPENTER                        C/O BARBARA C PAGE                     200 MARKET ST APT 601                                             LOWELL         MA     01852‐1844
MISS BARBARA CHIFOS                             7563 LA JOLLA BLVD                                                                                       LA JOLLA       CA     92037‐4721
MISS BARBARA E MAZANEC                          BOX 251                                                                                                  GREENVILLE     ME     04441‐0251
MISS BARBARA ELAINE KRAVETZ                     ATTN B DRUXMAN                         1207 MARIGOLD NE                                                  ALBUQUERQUE    NM     87122‐1128
MISS BARBARA ELISE THOMPSON                     5421 WINTHROP CT                                                                                         EVANSVILLE     IN     47715‐4281
MISS BARBARA FLESSAS                            405 TERCHUNE AVE                                                                                         PASSAIC        NJ     07055‐2448
MISS BARBARA GAIL MINOR                         845 WEST ROAD                                                                                            NEW CANAAN     CT     06840‐2634
MISS BARBARA GIBSON DIEHL                       301 SHERMAN AVE                                                                                          GRAND HAVEN    MI     49417‐1816
MISS BARBARA GLADE BOYLE                        PO BOX 1406                                                                                              WASHINGTON     CT     06793‐0406
MISS BARBARA H CARR                             10781 RICHLAND AVE                                                                                       LOS ANGELES    CA     90064‐4221
MISS BARBARA H SCORE                            C/O MRS BARBARA SCORE GUENETTE         63 ROCKY POINT YAPHANK RD   APT 88                                ROCKY POINT    NY     11778‐8448
MISS BARBARA HASS                               92 CHURCH CT                                                                                             LA SALLE       CO     80645‐3008
MISS BARBARA HOLLAND                            217 WILLIAMSBURG DR                                                                                      BELLEVILLE     IL     62221‐3217
MISS BARBARA J BERGEMANN                        16667 BROWNSTONE                                                                                         WESTFIELD      IN     46074‐8214
MISS BARBARA J CALOSSO                          158 RICHMOND AVE                                                                                         WEST HAVEN     CT     06516‐5247
MISS BARBARA J KERSTETTER                       RD2                                    BOX 595                                                           NORTHUMBERLAND PA     17857‐9609
                                           09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
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Name                                            Address1                              Address2                Address3          Address4                   City            State Zip

MISS BARBARA J MC DONALD                        5436 VINCETTA CT #12                                                                                       LA MESA         CA    91942‐2423
MISS BARBARA J MEGAFFIN                         3325 GREEN WING CT                                                                                         OKLAHOMA CITY   OK    73120‐5013
MISS BARBARA J WOLFE                            345 OLD PENLLYN PIKE                                                                                       PENLLYN         PA    19422‐1015
MISS BARBARA JEAN BAHN                          4305 ENFIELD                                                                                               DALLAS          TX    75220‐3809
MISS BARBARA JO FREDERICK                       3505 CLEVELAND AVENUE                                                                                      DAYTON          OH    45410‐3201
MISS BARBARA JOAN VITALY                        4‐32858 LANDEAU PL                    ABBOTSFORD BC                             V2S 5X9 CANADA
MISS BARBARA KENNEDY                            1950 OAK AVE                                                                                               BOULDER         CO    80304‐1319
MISS BARBARA L BROWN                            STATES TRUSTEES                       ATTN RACHEL WICKERSON   GPO BOX 3008FF    MELBOURNE 3001 AUSTRALIA

MISS BARBARA L DE MARCO                         5543 HEMDALE DRIVE                                                                                         WILLIAMSVILLE   NY    14221‐8527
MISS BARBARA L HOPKINS                          3965 SCHOOL SECTION RD #28                                                                                 CINCINNATI      OH    45211‐3300
MISS BARBARA L KREMP                            642 VILLAGE DRIVE                                                                                          POMPANO BEACH   FL    33060‐7767
MISS BARBARA L WOOD                             2711 CENTRAL ST #3W                                                                                        EVANSTON        IL    60201‐1259
MISS BARBARA LASKIN                             8400 CALLIE AVE                       APT 610                                                              MORTON GROVE    IL    60053‐5009
MISS BARBARA LYNN MILLER                        124 E NORTH ST                                                                                             BUTLER          PA    16001‐4931
MISS BARBARA M BACIGALUPI                       BOX 91                                                                                                     LITTLE SILVER   NJ    07739‐0091
MISS BARBARA MILEMORE                           27 NAUTILUS DRIVE                                                                                          HAMPTON BAYS    NY    11946‐3312
MISS BARBARA NILES BITNER                       3238 QUESADA ST NW                                                                                         WASHINGTON      DC    20015‐1663
MISS BARBARA OETJEN                             CITIBANK                              1 PARK AVENUE                                                        NEW YORK        NY    10016‐5802
MISS BARBARA PFEIL BUTTENFIELD                  455 S 40TH ST                                                                                              BOULDER         CO    80305
MISS BARBARA REYNOLDS                           2915 WHIRLPOOL ST                                                                                          NIAGARA FALLS   NY    14305‐1805
MISS BARBARA S WALDMAN                          2821 OAKLEIGH LANE                                                                                         GERMANTOWN      TN    38138‐7315
MISS BARBARA TOOMEY                             7810 RUTGERS AVE                                                                                           AUSTIN          TX    78757‐1330
MISS BARBARA V DE FOREST                        ATTN B CLEMONS                        APT 3                   1420 JACKSON ST                              SAN FRANCISCO   CA    94109‐3131
MISS BARRIE BECKER                              81 WEST MONTECITO AVE.                                                                                     SIERRA MADRE    CA    91024
MISS BEATRICE AKERS                             220 LYNCH DR                          APT 701                                                              ROCKY MOUNT     VA    24151
MISS BEATRICE E MASON                                                                                                                                      LA PORTE        PA    18626
MISS BEATRICE LOUIS                             1325 BURNS DRIVE N E                                                                                       GAINESVILLE     GA    30501‐1903
MISS BEATRICE MARIE SALOOM                      PO BOX 2461                                                                                                LAFAYETTE       LA    70502‐2461
MISS BEATRICE SALVIN                            704 THIRD ST                                                                                               DUNELLEN        NJ    08812‐1147
MISS BENILDA LOO AYON                           63‐20 BOELSEN CRESCENT                                                                                     REGO PARK       NY    11374‐3933
MISS BERNADETTE M KOENINGS                      311 E ERIE ST                         UNIT 307                                                             MILWAUKEE       WI    53202‐6044
MISS BERNADETTE M TURNEY & SHEILA W TURNEY JT   3827 WHITE CLOUD DR                                                                                        SKOKIE          IL    60076‐1727
TEN
MISS BERNADINE BREEN                            APT J                                 126 N ELECTRIC ST                                                    ALHAMBRA        CA    91801‐1927
MISS BERNICE BEULAH WYATT                       10000 WALSHAM CT                                                                                           HENRICO         VA    23238‐5401
MISS BERNICE C FABIAN                           3338 N 94TH STREET                                                                                         MILWAUKEE       WI    53222‐3521
MISS BERNICE DONNER                             ATTN BERNICE BENAKSAS                 3 WHITNEY TERRACE                                                    VERONA          NJ    07044‐1433
MISS BERNICE HATCHETT                           7917 CHELSEA DR APT 101                                                                                    WOODRIDGE       IL    60517‐3808
MISS BERNICE J ANDERSON                         C/O MRS B J A VERBYLA                 5218 N SWEETBRIAR CIR                                                PORTSMOUTH      VA    23703‐4612
MISS BERNICE LONDON                             C/O BERNICE MC DONALD                 6908‐A VICTORIA DRIVE                                                ALEXANDRIA      VA    22310‐4361
MISS BERNICE ROBERTS                            323 GREENLEAF WAY                                                                                          MONROE          NJ    08831
                                                                                                                                                           TOWNSHIP
MISS BERTHE L LESSARD                           55 HUDSON R‐C11                                                                                            SUDBURY         MA    01776‐2042
MISS BESSIE AMOURY                              C/O PONTERIO                          147 BROWNING AVE                                                     STATEN ISLAND   NY    10314‐5607
MISS BETH E CARPENTER                           BOX 12554                                                                                                  FT WAYNE        IN    46863‐2554
MISS BETH GREENBERG                             6 SPRING LANE                                                                                              SAUGUS          MA    01906‐1023
MISS BETH TUCKER                                1311 ANTOINE #177‐A                                                                                        HOUSTON         TX    77055‐6976
MISS BETHANY E STRONG                           C/O BETHANY ROBERTSON                 721 THOMSON ST                                                       FLINT           MI    48503‐2042
MISS BETSY BLACKMAN                             1000 S ORLANDO AVE B‐35                                                                                    MAITLAND        FL    32751‐6450
MISS BETTY ANN SWITALSKI & MRS GRACE M THOMAS   G‐3245 W RIDGEWAY AVE                                                                                      FLINT           MI    48504
JT TEN
MISS BETTY ELEANOR FEDOR                        C/O MRS B NEUMANN                     466 I ST                                                             CHULA VISTA     CA    91910‐5438
MISS BETTY IRENE BOGGS                          938 REEDYVILLE RD                                                                                          SPENCER         WV    25276‐8202
MISS BETTY J GILBERT & JAMES P GILBERT JT TEN   5955 30TH AVE S                       IVAN BUILDING APT 401                                                GULFPORT        FL    33707‐5349
MISS BETTY J JOSEPH                             4455 LAURELGROVE AVE                                                                                       STUDIO CITY     CA    91604‐1223
MISS BETTY J LARGIN                             6960 A MOFFETT RD                                                                                          MOBILE          AL    36618‐4408
MISS BETTY JANE MC ALLISTER                     5225 WILSON LANE                      APT 3103                                                             MECHANICSBURG   PA    17055
MISS BETTY JO DUNLAP                            PO BOX 479                                                                                                 LA FERIA        TX    78559‐0479
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Name                                             Address1                             Address2                    Address3         Address4          City             State Zip

MISS BETTY JO HYPES                              509 CIRCLE DR                                                                                       MULLENS          WV    25882‐1317
MISS BETTY JO LAMBERT                            27922 ALVAREZ DR                                                                                    RANCHO PALOS     CA    90275‐3307
                                                                                                                                                     VERDE
MISS BETTY L CRUMP                               C/O MRS B C BRATTON                  1223 MC KENNANS CHURCH RD                                      WILMINGTON       DE    19808‐2130
MISS BETTY L MILES                               2367 HAWTHORNE AVE                                                                                  LOUISVILLE       KY    40205‐2620
MISS BETTY L PLUNKETT                            1274 RIVER RD                                                                                       TITUSVILLE       NJ    08560‐1603
MISS BETTY L TOMAN                               315 E PASEO AZUL                                                                                    GREEN VALLEY     AZ    85614‐4135
MISS BETTY LEE CRAIG                             234 INDIANA ST                                                                                      HUNTINGTON       WV    25704‐1240
MISS BETTY LOU CARNEY                            2515 JIM RIDGE RD                                                                                   GIVEN            WV    25245‐9738
MISS BETTY LOU KENDALL                           10 FLEUTI DR                                                                                        MORAGA           CA    94556‐1904
MISS BETTY M KISKA                               1068 FOX TERRIER DR                                                                                 BETHEL PARK      PA    15102‐3270
MISS BETTY M MERCER                              BOX 914                                                                                             BLOOMINGTON      IN    47402‐0914
MISS BETTY M TURNER                              PO BOX 9348                                                                                         RICHMOND         VA    23227‐0348
MISS BETTY REEMSNYDER                            5202 EVERHARD #5 N W                                                                                CANTON           OH    44718‐2370
MISS BETTY STARK                                 27 TOPLEDGE RD                                                                                      REDDING          CT    06896‐1807
MISS BETTY TURIVAS                               C/O STEPHEN M LEWIS                  170 SEQUOIA LANE                                               DEERFIELD        IL    60015
MISS BEULAH BRENT                                203 12TH AVE                                                                                        NEWARK           NJ    07107‐1453
MISS BEVERELY RITTER                             C/O B BRAMBLE                        825 S WALNUT ST                                                KENNETT SQUARE   PA    19348‐3633
MISS BEVERLY ANN HALE                            5709 W 163 TER                                                                                      STILWELL         KS    66085‐9167
MISS BEVERLY J BEARMORE                          814 SOUTH DRIVE                                                                                     BRICK TOWN       NJ    08724‐4836
MISS BEVERLY J GUTOWSKI                          HIGH ST EXT                                                                                         THOMASTON        CT    06787
MISS BEVERLY K KENEMUTH                          5834 LAKE VICTORIA COVE                                                                             LAKELAND         FL    33813‐4710
MISS BEVERLY M ABRAMS                            5746 JASON                                                                                          HOUSTON          TX    77096‐2113
MISS BEVERLY MC CALLUM                           C/O BARKLEY                          101 BUCKINGHAM CT                                              ANDERSON         SC    29621‐2830
MISS BILLIE ANN IDA                              6534 MIMOSA LAND                                                                                    DALLAS           TX    75230‐5210
MISS BILLIE E GREEN                              3418 PLYMOUTH PL                                                                                    NEW ORLEANS      LA    70131‐5354
MISS BILLIE KAY HAYNES                           PO BOX 547                                                                                          ANSON            TX    79501‐0547
MISS BILLIE SCHILDKRAUT                          APT 7E                               252 W 76TH ST                                                  NEW YORK         NY    10023‐8230
MISS BLANCHE A SHELNUTT                          ATTN ROBERT SHELNUTT                 1486 OLD BUSH MILL RD                                          BREMEN           GA    30110‐3857
MISS BLONDINE H BERUBE                           289 CINDY DRSE                                                                                      CONYERS          GA    30208‐2539
MISS BONITA JEANNE ORRIS                         28040 DOVEWOOD COURT                 104                                                            BONITA SPRINGS   FL    34135‐2895
MISS BONNALLE K JEROW                            C/O BONNIE K JEROW                   PO BOX 724                                                     GERMANTOWN       WI    53022‐0724
MISS BONNIE ANNE JONES                           4306 GLEN EDEN DRIVE                                                                                NASHVILLE        TN    37205‐3433
MISS BONNIE J CRAIG                              812 CINTHIA ST                                                                                      BEVERLY HILLS    CA    90210‐3519
MISS BONNIE‐ELLEN DREXLER                        25141 PASEO EQUESTRE                                                                                LAKE FOREST      CA    92630‐2156
MISS BRENA E KRADER & MRS MARTHA S KRADER JT     ATTN BRENA RUTLAND                   623 STRATFORD DR                                               SCHAUMBURG       IL    60193‐4342
TEN
MISS BRENDA A DAVIDS                             4 HARRIMANS KEEP                                                                                    IRVINGTON        NY    10533‐1922
MISS BRENDA J BRUGGER & JOHN N BRUGGER SR JT TEN                                                                                                     TAWAS CITY       MI    48763

MISS BRENDA JEAN LOGUE                           PO BOX 39                                                                                           WOODSTOCK        MD    21163‐0039
MISS BRENDA MAE BURKE                            12550 LAKE AVE 712                                                                                  LAKEWOOD         OH    44107‐1568
MISS BRENDA S KIRKWOOD                           ATTN BRENDA KIRKWOOD NORTON          6604 KINGS HOLLOW CT                                           DALLAS           TX    75248‐4029
MISS BRIDGET MURPHY                              PO BOX 145                                                                                          EAGLE ROCK       MO    65641‐0145
MISS BURNADETTE M URBAN                          BOX 148                                                                                             NORVELT          PA    15674‐0148
MISS C JEANNE GRIEST                             2710 35TH PLACE NW                                                                                  WASH             DC    20007‐1407
MISS CAMILLE ADAMS                               ATTN CAMILLE ADAMS JONES             BOX 2008                                                       OZONA            TX    76943‐2008
MISS CANDACE HINES                               11 HAWKINS AVE                                                                                      NORWALK          CT    06855‐2405
MISS CANDACE L HART                              3630 VALLEY RIDGE LANE                                                                              SAN JOSE         CA    95148
MISS CANDACE L JACOB & MRS DOROTHY M JACOB JT    205 E RIDGELEY RD                                                                                   COLUMBIA         MO    65203‐3583
TEN
MISS CANDANCE E GALEN                            6151 SW MILL ST                                                                                     PORTLAND         OR    97221‐1451
MISS CANDICE COE                                 PO BOX 763                                                                                          GREAT FALLS      VA    22066‐0763
MISS CANDICE M DUDLEY                            ATTN CANDICE M WROE                  PO BOX 879                  SESUIT NECK RD                     EAST DENNIS      MA    02641‐0879
MISS CANDIDA C CROWE                             1120 ARDEN RD                                                                                       PASADENA         CA    91106‐4006
MISS CARETTE YOUNG                               40 HOMESTEAD AVENUE                                                                                 WEYMOUTH         MA    02188
MISS CARITA TRAVIS CRAWFORD                      PO BOX 158                                                                                          WITTMAN          MD    21676‐0158
MISS CARLA BRUCELLARIA                           10 CURRY DR                                                                                         NEWTOWN          CT    06470‐1307
MISS CARMELA A VALLUZZI                          266 HUSSON ST                                                                                       SI               NY    10306‐3534
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Name                                             Address1                                Address2              Address3         Address4          City               State Zip

MISS CARMELA F MELE                              180 CLEARFIELD RD                                                                                WETHERSFIELD       CT    06109‐3221
MISS CARMEN BUDNY                                242 S MAPLEWOOD RD                                                                               MONTICELLO         NY    12701‐4130
MISS CARMEN NG & MRS FLORENCE NG JT TEN          5447 HOLLAND ST                                                                                  OAKLAND            CA    94601‐5716
MISS CAROL A CLEAVE                              303 17TH ST                                                                                      WILMETTE           IL    60091‐3223
MISS CAROL A HESSER                              630 S BREVARD AVE 1136                                                                           COCOA BEACH        FL    32931
MISS CAROL ANN GIACOMO                           73 LOUGHLIN AVE                                                                                  COS COB            CT    06807‐2621
MISS CAROL ANN ROHDE                             1310 MERCER ST                                                                                   ESSEXVILLE         MI    48732‐1347
MISS CAROL B SWART                               375 STAGE RD                                                                                     CUMMINGTON         MA    01026‐9646
MISS CAROL BETH KRAUS                            807 SUNSET ST                                                                                    FREDERICKSBURG     TX    78624‐2647
MISS CAROL C SCHWARTZ                            2179 FRUITVILLE PIKE                                                                             LANCASTER          PA    17601‐3919
MISS CAROL E COLLIER                             ATTN CAROL E FORKER                     4810 E WHITTEN                                           PHOENIX            AZ    85018‐5546
MISS CAROL EUYANG                                244 AMPANG RD                           KUALA LUMPUR                           MALAYSIA
MISS CAROL H FELDMAN                             APT 107                                 1900 68TH ST N                                           ST PETERSBURG      FL    33710‐4717
MISS CAROL HICKS                                 1002 ORLANDO DRIVE                                                                               FORKED RIVER       NJ    08731‐5510
MISS CAROL J FISHER                              PO BOX 31489                                                                                     SAINT LOUIS        MO    63131‐0489
MISS CAROL JOAN BUTTERWORTH                      LAKE RIDGE                              2578 HAVERHILL                                           TOMS RIVER         NJ    08755‐2524
MISS CAROL L KAUFMAN                             ATTN CAROL L KAUFMAN KERMAN             1321 HILLSIDE RD                                         NORTHBROOK         IL    60062‐4612
MISS CAROL L SPEIRS                              4317 TURNBERRY DR                                                                                FREDERICKSBURG     VA    22408‐9547
MISS CAROL LEE MC MAHON                          310 MALDEN AVE                                                                                   LA GRANGE PARK     IL    60526‐1708
MISS CAROL LORELLI                               1220 KNOX VALLEY DRIVE                                                                           BRENTWOOD          TN    37027‐7147
MISS CAROL LYNN CROFT                            ATTN CAROL LYNN C REEVES                10556 GEORGETOWN RD                                      MECHANICSVILLE     VA    23116‐4800
MISS CAROL LYNN PALMER                           8226 W 131ST ST                                                                                  PALOS PARK         IL    60464‐2159
MISS CAROL MARTHA BURCH                          411 16TH AVE                                                                                     SOUTH BELMAR       NJ    07719‐3003
MISS CAROL MOORE                                 812 KEMPTON RD                                                                                   KNOXVILLE          TN    37909‐2127
MISS CAROL PRISCILLA SMITH                       514 SELKIRK LANE                                                                                 LOUISVILLE         KY    40243‐1854
MISS CAROL R GRADINGER                           4 EQUESTRIAN COURT                                                                               UPPER BROOKVILLE   NY    11545‐2638

MISS CAROL RUSSELL JOHNS                         406 ALTAMONT ST                                                                                  CHARLOTTESVILLE    VA    22902‐4615

MISS CAROL SONZOGNI                              511 COLLINS AVE                                                                                  HASBROUCK          NJ    07604‐2218
                                                                                                                                                  HEIGHTS
MISS CAROL SPRALEY                               2536 ROSSINI ROAD                                                                                DAYTON             OH    45449‐3363
MISS CAROL SUE MASCH                             108 SHOPE DRIVE                                                                                  WEST MIFFLIN       PA    15122‐1062
MISS CAROL SUSAN RIBNER                          RFD 1 BOX 126 CARRIAGE HOUSE                                                                     JEFFERSON          NH    03583‐9322
MISS CAROL TENEBRUSO                             5892 ROYAL CLUB DR                                                                               BOYNTON BEACH      FL    33437‐4264
MISS CAROLE ADAMS                                C/O MRS CAROLE CHRISTOPHERSON           6038 PATRICK HENRY                                       SAN ANTONIO        TX    78233‐5221
MISS CAROLE ANN SHEERS                           ATTN CAROLE ANN NEFF                    20143 RAVENDA DR                                         LAWRENCEBURG       IN    47025‐8835
MISS CAROLE E TYLER                              C/O CAROLE T CARTER                     R F D 2 LAURA LANE                                       KATONAH            NY    10536
MISS CAROLE E WRIGHT                             15384 MURRAY RD                                                                                  BYRON              MI    48418‐9040
MISS CAROLE M WAGNER                             ATTN CARLA PALLADINI                    7977‐77TH ROAD                                           GLENDALE           NY    11385‐7503
MISS CAROLINE CUNNINGHAM                         16 CEDAR HILL ROAD                                                                               DOVER              MA    02030‐1624
MISS CAROLINE L GIBBES                           6346 WESTSHORE RD                                                                                COLUMBIA           SC    29206‐2123
MISS CAROLINE LOCKE                              6 INWOOD RD                                                                                      CENTER MORICHES    NY    11934‐3312

MISS CAROLINE P SWEEZY                           1309 RRANSON AVENUE                                                                              LAS CRUCES         NM    88001
MISS CAROLINE R HINCKLEY                         1456 E PHILADELPHIA ST                  SPC 414                                                  ONTARIO            CA    91761‐5748
MISS CAROLINE SAWICKI                            28 EASTHOLM RD                                                                                   SCHENECTADY        NY    12304‐1902
MISS CAROLYN BALTIMORE                           BOX 303                                                                                          RIDGWAY            IL    62979‐0303
MISS CAROLYN E CHESNEY                           C/O NATIONAL ARTS CLUB                  15 GRAMERCY PARK                                         NEW YORK           NY    10003‐1705
MISS CAROLYN E FOUST                             3420 TREESMILL CIRCLE                                                                            MANHATTAN          KS    66503‐2189
MISS CAROLYN GORRELL                             4774 W US 40                                                                                     BRAZIL             IN    47834‐7212
MISS CAROLYN J COOK & MRS DIANNE M COOK JT TEN   ATTN MRS CAROLYN SEROUR                 10414 LASALLE                                            HUNTINGTON         MI    48070‐1120
                                                                                                                                                  WOODS
MISS CAROLYN J JONES                             4410 S MEADOW DR                                                                                 ALLISON PARK       PA    15101‐1448
MISS CAROLYN J MC CANN                           88 MORNINGSIDE DR                                                                                NY                 NY    10027‐7125
MISS CAROLYN K FREEMAN                           ATTN CAROLYN BOYD                       11285 EASTHAM CT                                         FISHERS            IN    46038‐3807
MISS CAROLYN KAUFMAN                             7307 ALICANTE RD APT D                                                                           CARLSBAD           CA    92009‐6224
MISS CAROLYN L WILLIAMS                          1416 MAIN AVE                                                                                    SHEBOYGAN          WI    53083‐4753
MISS CAROLYN M HARMON                            2212 FELLOWSHIP RD                                                                               BASKING RIDGE      NJ    07920‐3903
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Name                                           Address1                            Address2               Address3                      Address4          City               State Zip

MISS CAROLYN R POLLARD                         457 WILTON WOOD DR                                                                                         HAGUE              VA    22469‐2907
MISS CAROLYN S A JOSEPH                        30208 SOUTHFIELD RD APT 217                                                                                SOUTHFIELD         MI    48076‐1322
MISS CAROLYN S AUSTIN                          1331 BARGROVE RD                                                                                           RICHMOND           VA    23235‐4505
MISS CAROLYN SMITH                             C/O MRS CAROLYN S SIMS              PO BOX 674                                                             EDDYVILLE          KY    42038‐0674
MISS CAROLYN SUE MANESS                        465 SUMMIT OAKS DR                                                                                         NASHVILLE          TN    37221‐1317
MISS CAROLYN V BEACH                           C/O CAROLYN BEACH DAUL              1416 MARENGO ST                                                        NEW ORLEANS        LA    70115‐3815
MISS CAROLYN V DUFFY                           1020 WOODLAWN                                                                                              WAUKEGAN           IL    60085‐2818
MISS CAROLYN V MAKAUS                          819 W MOON VALLEY DR                                                                                       PHOENIX            AZ    85023‐6219
MISS CAROLYN WOLF                              153 ETTA AVE                                                                                               HARRISON           OH    45030‐1470
MISS CARRIE BERRYMAN                           513 AUSTIN ST                                                                                              NORFOLK            VA    23503‐5500
MISS CARYN L THORNTON                          C/O C ROGERS                        7155 BETHEL HILLS DR                                                   SALINE             MI    48176‐9736
MISS CATHARINE E LAUGHERY                      C/O CATHERINE E L DOUGHERTY         34 LENAPE TRAIL                                                        BRICK TOWN         NJ    08724‐4453
MISS CATHERINE A KELLIHER                      9 COUNTRY CLUB DRIVE                                                                                       RANDOLPH           MA    02368‐4730
MISS CATHERINE A ZBOYOVSKY                     619 15TH AVE                                                                                               BETHLEHEM          PA    18018‐6437
MISS CATHERINE ADELE NICHELINI                 8570 OAK CIR                                                                                               COTATI             CA    94931‐4289
MISS CATHERINE ANN BALLANTYNE                  6457 LINWAY TE                                                                                             MC LEAN            VA    22101‐4111
MISS CATHERINE ANNE GROLLMAN                   228 W 5TH ST                                                                                               CHENEY             WA    99004‐1421
MISS CATHERINE ANNE ULRICH                     788 ORANGE CENTER RD                                                                                       ORANGE             CT    06477‐1711
MISS CATHERINE C LUCKETT                       5226 MOCCASIN TRAIL                                                                                        LOUISVILLE         KY    40207‐1634
MISS CATHERINE EX                              5926 NORTH ARTESIAN                                                                                        CHICAGO            IL    60659‐5035
MISS CATHERINE F SMITH                         20 LINCOLN PL                                                                                              NORTH PLAINFIELD   NJ    07060‐4712

MISS CATHERINE FRANCES BARRY & MISS MARTHA V   ATTN FRANCIS B MAGURN               204 HUBBARD STREET                                                     CONCORD            MA    01742‐3436
BARRY JT TEN
MISS CATHERINE H VARGAS                        VARGAS CORNERS                      509 STONINGTON RD                                                      STONINGTON         CT    06378‐2823
MISS CATHERINE HEIDKER                         4616 LINDELL                                                                                               ST LOUIS           MO    63108‐3727
MISS CATHERINE J WOOD                          ATTN CATHERINE W SPENCER            40 W CENTER AVE                                                        LAKE BLUFF         IL    60044‐2408
MISS CATHERINE LYNAP                           C/O WAUGH MOODY & MULCAHY           116 PILGRIM ST         NE1 6SQ NEWCASTLE UPON TYNE   GREAT BRITAIN
MISS CATHERINE M BALL                          6701 COLONIAL ROAD                  APT 5K                                                                 BROOKLYN           NY    11220‐5127
MISS CATHERINE M GOLDEN                        635 S BISHOPTHORPE ST                                                                                      BETHLEHEM          PA    18015‐2762
MISS CATHERINE M ROEMER                        2040 S HULL ST                                                                                             MONTGOMERY         AL    36104‐5627
MISS CATHERINE MARIE KENT                      PO BOX 8348                                                                                                SCOTTSDALE         AZ    85252‐8502
MISS CATHERINE MC CULLOUGH                     1814 CHAPEL TREE CIRCLE APT D                                                                              BRANDON            FL    33511‐9343
MISS CATHERINE NEWMAN                          C/O CATHERINE HUGHES                4071 LETORT LANE                                                       ALLISON PARK       PA    15101‐3133
MISS CATHERINE S BACHMANN                      4117 PROVIDENCE CIRCLE                                                                                     ROCHESTER          NY    14616
MISS CATHERINE SANGIOLO                        173 SUMNER ST                                                                                              QUINCY             MA    02169‐7003
MISS CATHY A GARNET                            724 SHORE DR                                                                                               VERO BEACH         FL    32963‐1263
MISS CATHY J GARBER                            4933 SW 71ST PL                                                                                            MIAMI              FL    33155‐5605
MISS CATHY S HARRIS                            8109 ORCHARD VIEW DR                                                                                       WASHINGTON         MI    48095‐1345
MISS CECELIA K TOTH                            312 E 51ST ST                                                                                              NEW YORK           NY    10022‐7818
MISS CECILIA A WISE                            170 E 212TH ST                                                                                             EUCLID             OH    44123‐1063
MISS CECILIA C KELLAR                          7600 RIVER RD                                                                                              NORTH BERGEN       NJ    07047
MISS CELESTE H EGAN                            20 LARCHMONT RD                                                                                            SALEM              MA    01970‐2438
MISS CELIA HELEN FELDER                        PO BOX 13433                                                                                               DURHAM             NC    27709‐3433
MISS CHALLIS L GIBBS                           5901 N SHERIDAN RD                  UNIT 3A                                                                CHICAGO            IL    60660‐3629
MISS CHARIS EMLEY                              450 E 63RD ST APT 4A                                                                                       NEW YORK           NY    10065‐7957
MISS CHARLOTTE A ABBOTT                        ATTN CHARLOTTE SHERIFF              1224 OLD HOUSE RD                                                      WALHALLA           SC    29691‐5426
MISS CHARLOTTE GENTLES                         201 HOPKINS ST                      PO BOX 53              WHITBY ON                     L1N 5R7 CANADA
MISS CHARLOTTE O GRAY                          316 S MAIN AVE                                                                                             ALBANY             NY    12208‐2315
MISS CHARLOTTE T CHARLES                       11691 TIMBERLY WAYE                                                                                        RICHMOND           VA    23238
MISS CHERI LYNN MICHENER                       ATTN CHERI LYNN MICHENER WHITE      822 MOORE STREET                                                       DAVISON            MI    48423‐1110
MISS CHERIE B PALMER                           113 LATROBE STEEL RD                                                                                       LATROBE            PA    15650
MISS CHERIE PERELMAN                           100 WINSTON DR APT 9D‐N                                                                                    CLIFFSIDE PK       NJ    07010
MISS CHERYL ANN LAVITT                         C/O LAZAR                           31 DRISCOLL CR MB                                    R3P 0V2 CANADA
MISS CHERYL G PAYNE                            4721 ALMONT DRIVE                                                                                          COLUMBUS           OH    43229‐6303
MISS CHERYL LYNN KAVIN                         ATTN CHERYL KAVINA SORENSON         2638 GRAND SUMMIT DR                                                   TORRANCE           CA    90505‐7216
MISS CHERYL MARGARET SMITH                     C/O CHERYL SMITH STRONG             1423 THE TERRACE                                                       HAGERSTOWN         MD    21742‐3233
MISS CHLOE COOK                                3218 COLBY DRIVE                                                                                           NASHVILLE          TN    37211‐3014
MISS CHRISTIE M BALLANTYNE                     2331 SWIFT                                                                                                 HOUSTON            TX    77030‐1116
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MISS CHRISTINA CARTER STOECKLE                    LES PLANS                              ST BENOTT                ANNOT         4240 FRANCE
MISS CHRISTINA CRISTALDI CUST JOHNNIE JOSEPH      4424 SEDGWICK ST NW                                                                             WASHINGTON       DC    20016‐2714
CRISTALDI UGMA DC
MISS CHRISTINA CROWLEY                            580 SPRUCE ST                                                                                   BERKELEY         CA    94707‐1728
MISS CHRISTINA ERICKSON & ELEANOR ERICKSON JT TEN 808 N 1ST ST                                                                                    TITUSVILLE       PA    16354‐1106

MISS CHRISTINA MEALIFF & JAMES P MEALIFF JR JT TEN 916 CORNELL AVE                                                                                DREXEL HILL      PA    19026‐3209

MISS CHRISTINA OWEN ROSS                           2785 COUNTY ROAD 341                                                                           HONDO             TX   78861‐6934
MISS CHRISTINE A ZIELINSKI                         3644 N LARAMIE AVE                                                                             CHICAGO           IL   60641‐3322
MISS CHRISTINE ARMOUR                              24 WEST DENNIS LANE                                                                            CORAM             NY   11727‐3550
MISS CHRISTINE G FAZZI                             C/O ULIANO                            BOX 206‐A                                                EAST WAREHAM      MA   02538‐0206
MISS CHRISTINE KITCHENS                            ATTN CHRISTINE SORRELLS               139 HUNTERS RIDGE RD                                     HORSE SHOE        NC   28742
MISS CHRISTINE LINDA NORTON                        525 CONIFER WAY                                                                                ASHLAND           OR   97520‐9703
MISS CHRISTINE MALSBY CARBER                       111 STONEWOOD DR                                                                               SCOTTS VALLEY     CA   95066‐2625
MISS CHRISTINE MATLEGA                             40 HUNTING HILLS DR                                                                            SOUTHINGTON       CT   06489‐4414
MISS CHRISTINE MC CULLOUGH                         C/O C SILVERSTRI                      160 APPLE VALLEY DRIVE                                   LANGHORNE         PA   19047‐1904
MISS CHRISTINE SPRINCEL                            81 BERNARD AVE                                                                                 EDISON            NJ   08837‐3064
MISS CHUNG OI LAU                                  APT AI‐6                              30 MONROE ST                                             NEW YORK          NY   10002‐7788
MISS CLAIRE BELESKOWITZ                            41 FIFTH AVE                                                                                   NEW YORK          NY   10003‐4319
MISS CLAIRE CARMODY                                6828 N CONCORD LN                                                                              NILES             IL   60714‐4432
MISS CLAIRE GOLDBERG                               PO BOX 3294                                                                                    MONTEREY          CA   93942‐3294
MISS CLAIRE L SAUTTER                              ATTN CLAIRE SAUTTER DASLER            15679 PT MONROE DR                                       BAINBRIDGE ISLAND WA   98110‐4190

MISS CLAIRE M KILLILEA & MISS NORA M KILLILEA JT TEN 35 MAPLE AVE                        #9‐I                                                     NEW ROCHELLE     NY    10801‐7139

MISS CLAIRE NELL PRIMOS                            7645 WHITE OAK DRIVE                                                                           SHREVEPORT       LA    71129‐3926
MISS CLARA E HUTCHINS                              367 RIVER RD                                                                                   BRUNSWICK        ME    04011‐7115
MISS CLARA M WASZAK & MRS MARTHA LACNY JT TEN      C/O ALLAN HAVLICEK                    11442 CALIFORNIA                                         BRIDGMAN         MI    49106‐9362

MISS CLARICE CARRICO                               C/O MRS C SMITH                       5580 N 13 MILE ROAD                                      MESICK           MI    49668
MISS CLAUDIA ANN DEICHMANN                         815 WEST 127TH COURT                                                                           WESTMINSTER      CO    80234‐1750
MISS CLAUDIA HAZEL MOSIER                          5010 S MICHIGAN AVE #2                                                                         CHICAGO          IL    60615‐2113
MISS CLAUDIA L PFEIFFER                            150 E BAYBERRY ROAD                                                                            ISLIP            NY    11751‐4900
MISS CLAUDIA PRIDE                                 2005 BEECHER RD SW                                                                             ATLANTA          GA    30311‐2605
MISS CLAUDIA W RAIS                                202 N DUNTON AVE                                                                               E PATCHOGUE      NY    11772‐5561
MISS CLAUDINE M MILLER                             6525 EL CAMINO DEL TEATRO                                                                      LA JOLLA         CA    92037‐6337
MISS COLEEN E LYNN                                 32 STEVENS AVE                                                                                 NEW CASTLE       DE    19720‐4047
MISS COLLETTE L PLACEK                             635 NORTH WILKE ROAD                                                                           ARLINGTON        IL    60005‐1044
                                                                                                                                                  HEIGHTS
MISS CONCETTA CAPUANO                              6 TAYLOR CT                                                                                    WORCESTER        MA    01607‐1664
MISS CONCETTA GIULIANO                             45 SUTTON PLACE S                     APT 14N                                                  NEW YORK         NY    10022‐2452
MISS CONJETTA CAPILLUPO                            638 STERLING DR                                                                                CHEYENNE         WY    82009‐5802
MISS CONNIE M ALBA                                 C/O MRS C M KEW                       4541 BRENTWOOD DR                                        BUFFALO          NY    14221‐6107
MISS CONSTANCE A OBRIAN                            PO BOX 1296                                                                                    MORRISTOWN       NJ    07962‐1296
MISS CONSTANCE ANN BENSON                          239 ERSKINE PL                                                                                 SAN ANTONIO      TX    78201‐2640
MISS CONSTANCE ANN CANEVER                         9 MAPLEGROVE AVE                                                                               WESTPORT         CT    06880‐4918
MISS CONSTANCE CASEY                               C/O CONSTANCE CASEY DALE              1603 NORAL PL                                            ALEXANDRIA       VA    22308‐1800
MISS CONSTANCE HALCOVICH                           C/O MS CONSTANCE HALL                 PO BOX 791                                               RIDGECREST       CA    93556‐0791
MISS CONSTANCE L CRUMP                             526 S ASHLEY                                                                                   ANN ARBOR        MI    48103‐4906
MISS CONSTANCE LOUIE                               APT 10A                               170 PARK ROW                                             NEW YORK         NY    10038‐1136
MISS CONSTANCE M MORRIS                            1826 BITTER CREEK DRIVE                                                                        AUSTIN           TX    78744‐4904
MISS CONSTANCE P CHISHOLM                          9447 BERMUDA AVE                                                                               BATON ROUGE      LA    70810‐1124
MISS CORA ALEXANDER                                1621 STRASBURG RD                                                                              WEST CHESTER     PA    19380‐6417
MISS CORA J WIECOREK                               G‐4307 N CENTER RD                                                                             FLINT            MI    48506
MISS CORAL E SCHNECK                               405 W 7TH STREET #311                                                                          CHARLOTTE        NC    28202
MISS CORNELIA VALENTINE WILCOX                     C/O O DR L G WILCOX                   3024 OLD BULLARD RD                                      TYLER            TX    75701‐7808
MISS CRISTI MICHELLE DECKER                        37 HIGH RIDGE ROAD                                                                             BROOKFIELD       CT    06804‐3517
                                                                                                                                                  CENTER
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MISS CRYSTAL B MILLER                           5359 N 300 W                                                                                                         HUNTINGTON       IN    46750‐9702
MISS CYNTHIA A SALB                             ATTN CYNTHIA A LOWES                    6798 WOODCLIFF CIRCLE                                                        ZIONSVILLES      IN    46077‐9172
MISS CYNTHIA ANN NAYLOR                         C/O C A CARSON                          3402 SYRACUSE                                                                GARLAND          TX    75043‐2232
MISS CYNTHIA CASSIDY                            C/O MRS CYNTHIA MOTT                    490 RIVER BLUFF                                                              HOSCHTON         GA    30548‐1254
MISS CYNTHIA ENGEL & MRS INEZ ENGEL JT TEN      3881 SEDGWICK AVE                                                                                                    BRONX            NY    10463‐4417
MISS CYNTHIA G CLEMEN                           31 ELM ST                                                                                                            HOPEWELL         NJ    08525‐1837
MISS CYNTHIA GAGE CANHAM                        1173 COMMONWEALTH AVE                   APT 1                                                                        ALLSTON          MA    02134‐3019
MISS CYNTHIA J TAYLOR                           510 GARDEN AVE                                                                                                       MANDEVILLE       LA    70471
MISS CYNTHIA L KUNDE                            6055 S ABERDEEN DRIVE                                                                                                NEW BERLIN       WI    53146‐5205
MISS CYNTHIA L LEONARD                          2116 BROOK HILL RIDGE                                                                                                CHESTERFIELD     MO    63017‐7959
MISS CYNTHIA MARSHA KOHN                        184 WESTMINSTER AVE                                                                                                  ARLINGTON        MA    02474‐2738
MISS CYNTHIA P ROSE                             1829 ALAMO AVE                                                                                                       COLORADO SPRINGS CO    80907‐7309

MISS D JEAN KEEN                                30 CELESTE LN                                                                                                        COATESVILLE      PA    19320‐1644
MISS D KATHERINE BEERS                          101 REEN MOUNTAIN PL                                                                                                 MIDDLEBURY       VT    05753‐1313
MISS DALE T BROWN                               37 BEACON ST                                                                                                         GLOUCESTER       MA    01930‐3437
MISS DANICA BALIC                               ATTN DANICA BOROJEVIC                   2P 85343 BIJELA 5       JOSICA‐KAMENARI BORA KOTORSRA   SERBIA REPUBLIC OF
                                                                                                                                                MONTENEGRO
MISS DAPHNE STETTINIUS MRS DAPHNE S DUNNING     THROWLEIGH                              52 THROWLEIGH LANE                                                           BOYCE            VA    22620‐1744

MISS DARA L FISHER                              203 ELWELL                              PO BOX 814                                                                   ALMA             MI    48801‐0814
MISS DARAL GLICK                                7428 POST ROAD                                                                                                       WINSTON          GA    30187‐1746
MISS DAURICE E SCHOENFELDT                      1561 SANDERSON AVE                                                                                                   SCRANTON         PA    18509‐2240
MISS DEANNA LEE GAUSE                           1050 CHESTNUT STREET                                                                                                 FRANKLIN         PA    16323‐1210
MISS DEBBIE IRELAND                             ATTN DEBBIE DREDIN                      67 WICKENS CRES         AJAX ON                         L1T 3M8 CANADA
MISS DEBORA A COCKBURN                          6657 OTIS ST                                                                                                         ARVADA           CO    80003‐4035
MISS DEBORAH A DE MOTT                          1542 HERMITAGE CT                                                                                                    DURHAM           NC    27707‐1680
MISS DEBORAH ANN ADERHOLD                       12604 PEPPER TREE PL                                                                                                 OKLAHOMA CITY    OK    73142‐2513
MISS DEBORAH ANN CARTER                         101 SILVERTON AVE                                                                                                    LITTLE SILVER    NJ    07739‐1339
MISS DEBORAH ANNE SETON                         1415 WILLARD AVE W                                                                                                   SEATTLE          WA    98119‐3250
MISS DEBORAH B BOXER                            59 FRANKLIN ROAD                                                                                                     SCARSDALE        NY    10583‐7527
MISS DEBORAH C RITTER                           5926 TIMLE LN                                                                                                        COLUMBIA         SC    29206‐1630
MISS DEBORAH ELAINE DAVID                       2124 MURRAY AVE                                                                                                      LOUISVILLE       KY    40205‐1321
MISS DEBORAH J HORISZNY                         1058 ARDEN LANE                                                                                                      BIRMINGHAM       MI    48009‐2961
MISS DEBORAH K LEITH                            C/O NANCE                               170 DODGE ST                                                                 BEVERLY          MA    01915‐1210
MISS DEBORAH LEE TOWNSEND & MRS WANDA LEE       2059 N POINTE ALEXIS DRIVE                                                                                           TARPON SPRINGS   FL    34689‐2049
TOWNSEND JT TEN
MISS DEBORAH LINDA TELL                         215 EVENINGSIDE GLEN                                                                                                 ESCONDIDO        CA    92026‐1314
MISS DEBORAH LYNN KOFFLER                       143 TAHOE DR                                                                                                         CARSON CITY      NV    89703‐3741
MISS DEBORAH LYNNE SNYDER                       775 SAN SIMEON DRIVE                                                                                                 CONCORD          CA    94518‐2251
MISS DEBORAH NEWTON                             67 HIGH ST                                                                                                           GLOUCESTER       MA    01930‐1165
MISS DEBORAH ROGERS                             1808 CASTLEFORD                                                                                                      MIDLAND          TX    79705‐1785
MISS DEBRA ANN SZALKOWSKI                       5235 BROOKFIELD LANE                                                                                                 SYLVANIA         OH    43560‐1809
MISS DEBRA DOBROWOLSKI CUST DEREK R FIDUCIA     17 CARRIAGE COURT                                                                                                    MARLBORO         NJ    07746‐1907
UGMA NJ
MISS DEBRA HARRIS                               ATTN GILLER                             2411 YONGE ST APT 5     TORONTO ON                      M4P 2E7 CANADA
MISS DEBRA JANE ROSENBERG                       3409 FALLINGS GREEN RD                                                                                               OLNEY            MD    20832‐1129
MISS DEBRA JO STEGEMOLLER & MRS RUTH            8122 RED BUD CT                                                                                                      NEWBURGH         IN    47630‐1182
STEGEMOLLER JT TEN
MISS DEBRA SNYDER                               467 E PUTNAM RD                                                                                                      PUTNAM           CT    06260‐2600
MISS DELLA ROSENBERG                            PO BOX 532                                                                                                           STARKE           FL    32091‐0532
MISS DELLA SCHULZ                               70 PINE ROAD                                                                                                         WILKES‐BARRE     PA    18702‐9756
MISS DELLEN FOUNTAIN                            ATTN DELLEN LYALL                       2209 HANOVER ST                                                              ALBANY           GA    31707‐3066
MISS DELORES B VONBANK                          99 GREENWOOD AVE                                                                                                     BETHEL           CT    06801‐2528
MISS DELORES G CARL                             22 BLACKBERRY LANE                                                                                                   FRAMINGHAM       MA    01701‐3769
MISS DELPHINE BOSY & MRS REGINA BOSY JT TEN     6816 ENGLEMAN                                                                                                        CENTER LINE      MI    48015‐1104
MISS DEMETRA ANDREWS                            117 E ADAMS ST                                                                                                       ELMHURST         IL    60126‐4401
MISS DENA M GOPLERUD                            234 58TH PLACE                                                                                                       DES MOINES       IA    50312‐1508
MISS DENISE ARCHAMBAULT                         36 DES PERCE NEIGE                      STE ANNE DES LACS QC                                    J0R 1B0 CANADA
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MISS DENISE DAVID                                ATTN MRS D DAVID‐HOAG                1301 TORREYS PEAK DR                                     LONGMONT         CO    80501‐3036
MISS DENISE JAN PYPER                            352 SIERRA WAY                                                                                QUINCY           CA    95971‐9636
MISS DENISE JO ANN PETERS                        2523 AVENUE E ST                                                                              COUNCIL BLUFFS   IA    51501‐2247
MISS DENISE M WILLIAMS                           21 LAHEY ST                                                                                   NEW HYDE PARK    NY    11040‐1716
MISS DHANALAKSHMI COLUNDALUR                     8043 ANDIRON LANE                                                                             JESSUP           MD    20794‐9102
MISS DIANA ADAMS                                 PO BOX 236                                                                                    LANE             OK    74555‐0236
MISS DIANA R ELIAS & KATHERINE H ELIAS JT TEN    11500 SAN RAFAEL AVE NE                                                                       ALBUQUERQUE      NM    87122‐2414
MISS DIANE BARBARA SEIFERT                       168 OXFORD BLVD                                                                               GARDEN CITY      NY    11530‐1408
MISS DIANE DELLAPINA                             C/O MRS D SFORZA                     40 BARBARY LANE                                          COLUMBUS         NJ    08022‐2311
MISS DIANE ELAINE CURTIS                         RD 1 PINE STREET                                                                              DEFREESTVILLE    NY    12144‐9801
MISS DIANE GELMAN                                APT 135                              127 OLD SHORT HILLS RD                                   WEST ORANGE      NJ    07052‐1057
MISS DIANE J BARMORE                             782 COMMUNITY DR                                                                              BRICK            NJ    08723‐5328
MISS DIANE JANE DAVID                            45 EAST KNOWLTON RD                                                                           MEDIA            PA    19063‐4926
MISS DIANE JOHNSON                               35 WEDGEWOOD DR                      UNIT 57                                                  VERONA           NJ    07044‐2130
MISS DIANE K SEELY                               10004 SANTA GERTRUDES AVE                                                                     WHITTIER         CA    90603‐1350
MISS DIANE L BURTON                              PO BOX 70883                                                                                  WASHINGTON       DC    20024‐0883
MISS DIANE L CARY                                1503 GARRISON PL                                                                              SAN DIEGO        CA    92106‐2146
MISS DIANE L JOHNSTON                            244 GLEBEHOLME BLVD                  TORONTO ON                             M4J 1T2 CANADA
MISS DIANE M LANDY                               ATTN DIANE M LEHMAN                  610 OAK TERRACE                                          POINT PLEASANT   NJ    08742‐2713
MISS DIANE MARIE WOLINSKI                        13205 MANDARIN RD                                                                             JACKSONVILLE     FL    32223‐1745
MISS DIANE R LUNZER                              15 SCOTLAND DRIVE                    EXETER TOWNSHIP                                          READING          PA    19606‐9554
MISS DIANNE BERARDINE PIWINSKI                   188 JAVA ST                                                                                   BROOKLYN         NY    11222‐1748
MISS DIERDRE MURNANE                             ATTN MRS D BREHL                     BOX 1792                                                 FREDERICK        MD    21702‐0792
MISS DINA TECIMER                                1260 N BUNDY DR                                                                               LOS ANGELES      CA    90049‐1515
MISS DIONNE E BUTT                               PO BOX 336                                                                                    TOMS BROOK       VA    22660‐0336
MISS DOLORES ANNETTE DERRICK                     2067 OLD CHAPPELLS FERRY RD                                                                   SALUDA           SC    29138‐8070
MISS DOLORES BORGATTI                            10 DEERFIELD WAY                                                                              WESTBOROUGH      MA    01581‐1198
MISS DOLORES CARAMATTI                           160 E 88TH ST                                                                                 NY               NY    10028‐1323
MISS DOLORES J WILUS                             C/O MRS D BIELAWIEC                  31 HANMER ST                                             HARTFORD         CT    06114‐2617
MISS DOLORES MANZI & MISS HELEN KALIVAS JT TEN   93 FAIRWAY DR                                                                                 WEST NEWTON      MA    02465‐1737

MISS DOLORES NYCZ                                PO BOX 202                                                                                    TOWACO           NJ    07082‐0202
MISS DOLORES SARRA                               315 EAST 24TH ST                                                                              PATERSON         NJ    07514‐2205
MISS DONNA CHRISTINE MC DONALD                   8 MAPLE TRAIL                                                                                 KINNELON         NJ    07405‐2845
MISS DONNA FRANCES DE LUCA                       6 GARDEN OF EDEN RD #402                                                                      WILMINGTON       DE    19803‐1509
MISS DONNA JEAN DANIELS                          222 CARAVEL DR                                                                                BEAR             DE    19701‐1655
MISS DONNA JEAN DOUGLAS                          C/O DONNA PRICE                      10710 CORONADO NE                                        ALBUQUERQUE      NM    87122‐3504
MISS DONNA JEANNE LUCAS                          ATTN DONNA LUCAS WATTS               3235 WALDWICK WAY                                        MARIETTA         GA    30067‐9123
MISS DONNA LYNNE JOHNSON                         3329 GRANT ST                                                                                 HOLLYWOOD        FL    33021‐5404
MISS DONNA M BRUGGER & JOHN N BRUGGER SR JT      1012 OTTAWAS                                                                                  EAST TAWAS       MI    48730‐9448
TEN
MISS DONNA M JOHNSON                             171 SOUTH MICHILLINDA                                                                         PASADENA         CA    91107‐3929
MISS DONNABELLE M BARKER                         24921 MUIRLANDS BLVD #186                                                                     LAKE FOREST      CA    92630‐4827
MISS DORA NIETFELDT                              17400 KEEZIE AVE                     APT 441                                                  HAZEL CREST      IL    60429
MISS DOREEN LOGAN                                305 N OTTAWA ST                                                                               SAINT JOHNS      MI    48879‐1435
MISS DOREEN LOGAN & DAVID W LOGAN JR JT TEN      305 N OTTAWA ST                                                                               SAINT JOHNS      MI    48879‐1435

MISS DORIE BREHAUT                               401 N WATER STREET                                                                            WESTON           OR    97886‐5018
MISS DORIS ANDERSON                              3600 W BUENAVISTA                                                                             FRESNO           CA    93711‐0108
MISS DORIS GRAVES                                180‐06 144TH AVE                                                                              SPRINGFIELD      NY    11434‐5926
                                                                                                                                               GARDEN
MISS DORIS HANDORF                               264 W MAPLE RD                                                                                NEW LENOX        IL    60451‐9723
MISS DORIS ISOPE                                 225 SCHUYLER AVE                                                                              POMPTON LAKES    NJ    07442‐1127
MISS DORIS J REIMER                              422 S ELM ST                                                                                  WHITEWATER       KS    67154‐9038
MISS DORIS M CADRETTE                            6 CONGRESS PLACE                                                                              FITCHBURG        MA    01420‐7813
MISS DORIS M CHAIKEN                             132 CENTURA                                                                                   CHERRY HILL      NJ    08003‐3176
MISS DORIS MAE LEBLANC                           ATTN MILLSAPS                        PO BOX 77003                                             BATON ROUGE      LA    70879‐7003
MISS DORIS PALMER                                72 WILLIAMS AVE                                                                               NEWTOWN          PA    18940
MISS DORIS R WRIGHT                              C/O RUTH WRIGHT                      106 NEW RD                                               TABERNACLE       NJ    08088‐8574
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Name                                             Address1                              Address2                    Address3   Address4          City              State Zip

MISS DORIS V CHITTICK                            C/O JANICE MCLAUGHLIN                 2517 OLD PARADE RD                                       LACONIA           NH    03247
MISS DORIS VON DER SCHMIDT                       C/O KANALY                            121 WOODLAKE CIRCLE                                      GREENACRES        FL    33463‐3083
MISS DOROTHEA A BAKER                            6313 SWORDS WAY                                                                                BETHESDA          MD    20817‐3350
MISS DOROTHEA A TOLAND                           6 STUYVESANT OVAL                                                                              NEW YORK          NY    10009‐2412
MISS DOROTHEA M BAIOCCHI                         24 ELM COURT                                                                                   SOUTH ORANGE      NJ    07079‐2319
MISS DOROTHY A BELL                              25 AIRPORT ROAD                                                                                NOTTINGHAM        PA    19362‐9730
MISS DOROTHY ACHTEN                              116 S SMALLEY ST                                                                               SHAWANO           WI    54166‐2348
MISS DOROTHY CARSWELL                            1238 N 55TH ST                                                                                 PHILADELPHIA      PA    19131‐4208
MISS DOROTHY COE FOSTER                          1016 MC CORMICK ST                                                                             CLIFTON FORGE     VA    24422‐1040
MISS DOROTHY DIGNEY                              PO BOX 125                                                                                     PRINCETON         MA    01541‐0125
MISS DOROTHY DOHN                                363 HICKORY AVE                                                                                GARWOOD           NJ    07027‐1438
MISS DOROTHY E CODY                              616 OBERLIN CT                                                                                 THE VILLAGES      FL    32162‐7625
MISS DOROTHY E COUSINS                           4503 HADDON PLACE                                                                              WEXFORD           PA    15090‐9697
MISS DOROTHY E LESTOCK                           30500 WINSTON DRIVE                                                                            BAY VILLAGE       OH    44140‐1163
MISS DOROTHY ELIZABETH TANNER                    46080 NW LEVI WHITE RD                                                                         BANKS             OR    97106‐7438
MISS DOROTHY EVANS                               C/O DOROTHY D MORRIS                  36662 ROSE ST                                            PALMDALE          CA    93552‐5817
MISS DOROTHY H TOMSYCK                           4347 GARDEN GROOVE LANE                                                                        ABILENE           TX    79606
MISS DOROTHY HELEN PIERCE                        1788 REGENTS PARK RD                                                                           CROFTON           MD    21114‐2542
MISS DOROTHY JUNE BURNS                          3800 FORT WORTH AVE                                                                            ALEXANDRIA        VA    22304‐1709
MISS DOROTHY JUNE HARBIN                         BOX 36                                                                                         DOBBIN            TX    77333‐0036
MISS DOROTHY L M BRACY                           83 WAYSIDE AVE                                                                                 BRIDGTON          ME    04009
MISS DOROTHY L MC CORMACK                        C/O MARION E CHUMBLEY                 29 EAST WINANT AVE                                       RIDGEFIELD PK     NJ    07660
MISS DOROTHY L WILLIAMS                          15‐C AVON CIRCLE                                                                               RYE BROOK         NY    10573‐2020
MISS DOROTHY M JOHNSON                           18420 EXCELSIOR BLVD                                                                           MINNETONKA        MN    55345‐3207
MISS DOROTHY M SCOTT                             C/O D S COHEN                         10375 RECTORY LANE                                       KING GEORGE       VA    22485‐3832
MISS DOROTHY MIHALOVICH                          1400 HIGHLAND AVE                                                                              DUQUESNE          PA    15110‐1862
MISS DOROTHY R HERSCHER                          12561 W STATE ROUTE 17                                                                         HERSCHER          IL    60941‐6163
MISS DOROTHY SEAMAN JAMES E SEAMAN & MISS        3205 KENWOOD BLVD                                                                              TOLEDO            OH    43606‐3174
CONSTANCE M SEAMAN JT TEN
MISS DOROTHY SULZBERGER                          312 BERKLEY ROAD                                                                               MERION            PA    19066‐1404
MISS DWYN DITHMER                                ATTN DWYN DITHMER‐SCHRECK             10597 BATTLE PT DRIVE NE                                 BAINBRIDGE ISLAND WA    98110‐1491

MISS E ANNA BOWMAN                               ATTN A B SCHOLL                       22362 CROW HILL SCHOOL RD                                RICHLAND CENTER   WI    53581‐8760

MISS E DENYS MAYNARD                             ATTN BARTLETT #4                      134 CHARLES ST                                           NEW YORK         NY     10014‐2538
MISS E SUSANNE GELNETT                           C/O MRS E CROCE                       232 MAPLE ST                                             BANGOR           ME     04401‐4034
MISS EARLETTE NEESE                              C/O MRS EARLETTE ANDERSON             3043 W LAKE HELEN DR                                     ROSHOLT          WI     54473‐8878
MISS EDITH ANN DARLING                           ATTN EDITH DARLING RIES               5012 NOB HILL                                            EDINA            MN     55439‐1417
MISS EDITH DE FEO                                66 NEW ST                                                                                      BELLEVILLE       NJ     07109‐2006
MISS EDITH E BARTHA                              4702 E MAIN ST                                                                                 BELLEVILLE       PA     17004‐9251
MISS EDITH FRANCES DENIS                         28750 W ELEVEN MILE RD                                                                         FARMINGTON HILLS MI     48336‐1400

MISS EDITH FRANKEL                                BOX 234                                                                                       HANNAWA FALLS     NY    13647‐0234
MISS EDITH FROMME                                 3406 PALOMA DR                                                                                HOLIDAY           FL    34690‐2431
MISS EDITH KRAKOWER                               APT 2‐K                              1685 E 5TH ST                                            BROOKLYN          NY    11230‐6918
MISS EDITH LEORA DENNIS                           30 BEECHWOOD DR                                                                               BURNT HILLS       NY    12027‐9739
MISS EDITH R SCHUSTER                             84 DEXTER AVE                                                                                 MERIDEN           CT    06450‐6111
MISS EDITH REED                                   APT 5W                               300 EAST 40TH STREET                                     NEW YORK          NY    10016‐2147
MISS EDNA DIANE GERMER                            PO BOX 518                                                                                    EDNA              TX    77957‐0518
MISS EDNA E DELVENTHAL                            111 HAMMLER RD                                                                                HILLSBOROUGH      NJ    08844‐4208
MISS EDNA L NIEMITZ & MRS KATHERINE A ROHE JT TEN 867 N LAMB BLVD SPACE 144                                                                     LAS VEGAS         NV    89110‐2324

MISS EDNA LEVESQUE                              PO BOX 963                                                                                      SLATERSVILLE      RI    02876‐0898
MISS EDNA M WHEELER & MISS DOROTHY J WHEELER JT 61 S FIELD AVE                                                                                  DOBBS FERRY       NY    10522‐2703
TEN
MISS EDNA RAE WELLS                             4145 CLUB COURSE DR                                                                             CHARLESTON        SC    29420‐7521
MISS EDWINA FENDZLAU                            109 KOKOMO ST                                                                                   DEPEW             NY    14043‐3705
MISS EDYTHE DEICHES                             C/O MRS EDYTHE DEICHES GUTMAN          10 ROLLING ROAD                                          EAST BRUNSWICK    NJ    08816‐4125
MISS EILEEN ALESSANDRINI                        1385 ROWE RD                                                                                    NISKAYUNA         NY    12309‐2443
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Name                             Address1                             Address2                Address3        Address4          City               State Zip

MISS EILEEN AUDEVARD             C/O MRS E BRANCALE                   111 RIDGE ACRES ROAD                                      DARIEN           CT      06820‐2615
MISS EILEEN LUNDY                256 SEAMAN AVE                                                                                 NEW YORK         NY      10034‐1218
MISS EILEEN M LEWANDOWSKI        APT 10‐L                             444 EAST 82ND ST                                          NEW YORK         NY      10028‐5940
MISS EILEEN R MARTIN             4809 NORMANDY                                                                                  MEMPHIS          TN      38117‐2603
MISS EILEEN SHEERS               1592 AQUA VISTA DR                                                                             LAWRENCEBURG     IN      47025‐9506
MISS ELAINE C ETTER              ATTN ELAINE C SIDWELL                1921 N EUCALYPTUS AVE                                     BROKEN ARROW     OK      74012‐1212
MISS ELAINE CHIARENZA            7 BLUE AVOCADO LN                                                                              ROCHESTER        NY      14623‐3908
MISS ELAINE DI CLEMENTE          5 OLD ORCHARD RD                                                                               WEST PATERSON    NJ      07424‐3205
MISS ELAINE FATER                C/O ELAINE FATER KULICEK             2606 PARK SPRING LANE                                     SPRING           TX      77373‐5839
MISS ELAINE H FONG               7418 MYRTLE VISTA AVE                                                                          SACRAMENTO       CA      95831‐4048
MISS ELAINE M COSTANZO           C/O DR ELAINE COSTANZO               ALVAREZ                 20744 BASSETT                     CANOGA PARK      CA      91306‐3305
MISS ELAINE M PADEGIMAS          PO BOX 21090                                                                                   CLEVELAND        OH      44121‐0090
MISS ELAINE M ST DENIS           330 JAMES ST                                                                                   RIDGEWOOD        NJ      07450‐5317
MISS ELAINE P KROW               47 BRIGHTON 11TH ST                                                                            BROOKLYN         NY      11235‐5308
MISS ELAINE SHERMAN              13725 VIA AURORA                     APT D                                                     DELRAY BEACH     FL      33484‐1923
MISS ELEANOR F BALTAKIS          64 ELMERSTON ROAD                                                                              ROCHESTER        NY      14620‐4508
MISS ELEANOR F MUSKIET           1710 LATEXO DR                                                                                 HOUSTON          TX      77018‐1812
MISS ELEANOR L KELLERMANN        62 BRUMMEL LN                                                                                  CROSSVILLE       TN      38558‐2632
MISS ELEANOR M BRAINARD 2ND      4407 ATWICK RD                                                                                 BALTIMORE        MD      21210‐2811
MISS ELEANOR M FLYNN             640 PALISADE AV                                                                                ENGLEWOOD CLIFFS NJ      07632‐1827

MISS ELEANOR M HUMPHREY          59 HIGHLAND AVE                                                                                AUGUSTA            ME    04330‐4123
MISS ELEANOR M LOY               ROUTE 3                                                                                        WHEELING           WV    26003‐9803
MISS ELEANOR M MICHALEC          4711 MERCER                                                                                    PINCKNEY           MI    48169‐9387
MISS ELEANOR M SPROSSLER         19 HICKORY ROAD                                                                                WEST ORANGE        NJ    07052‐1205
MISS ELEANOR M WALTERS           APT 10‐J                             8400 SHORE FRONT PKWY                                     ROCKAWAY BEACH     NY    11693‐1820

MISS ELEANOR MARIA HALADY        55 COLIN STREET                                                                                YONKERS            NY    10701‐5513
MISS ELEANOR PETTET              3718 KING ARTHUR RD                                                                            ANNANDALE          VA    22003‐1322
MISS ELEANOR QUIGLEY             12 BALSAM CT                                                                                   TRENTON            NJ    08648‐3118
MISS ELEANORE A HUNT             19 MAPLE AVE                                                                                   UNCASVILLE         CT    06382‐2313
MISS ELEANORE L HODSON           88 BUCKLAND ROAD                                                                               PALMER             MA    01069‐1406
MISS ELECTA M HERRINGER          610 W ELM AVE                                                                                  MONROE             MI    48162
MISS ELENORE KOBER               C/O E M HENDERSHOT                   404 US RT 46                                              GREAT MEADOWS      NJ    07838‐9734
MISS ELENORE N BROZE             2845 VAN NESS AVE                                                                              SAN FRANCISCO      CA    94109‐1476
MISS ELINOR SURCHIN              5350 MACDONALD #1114                 MONTREAL QC                             H3X 3V2 CANADA
MISS ELISABETH JETT              83 WYCHEWOOD DR                                                                                MEMPHIS            TN    38117‐3011
MISS ELISE JAMESON DUCKETT       1187 CABELL RD                                                                                 GRAFTON            VT    05146‐9751
MISS ELIZ DOHANIAN               269 PAYSON ROAD                                                                                BELMONT            MA    02478‐3406
MISS ELIZABETH A JOHNSON         31312 CAVALLO LANE                                                                             LAGUNA NIGUEL      CA    92677‐2733
MISS ELIZABETH A MASKWA          20 ISLINGTON STREET                  APT 407                                                   PORTSMOUTH         NH    03801‐4249
MISS ELIZABETH A SHAY            118 PINE RIDGE AVE                                                                             MOUNT ORAB         OH    45154‐8244
MISS ELIZABETH A WHEELER         411 BENTON                                                                                     VALLEY PARK        MO    63088‐1801
MISS ELIZABETH ALAMO             7 ATHENS ST                                                                                    WAVERLY            NY    14892‐1403
MISS ELIZABETH ANN ELLIS         C/O ELIZABETH ANN ELLIS WALTON       8116 MILLVIEW DRIVE                                       BREUTWOOD          TN    37027‐7111
MISS ELIZABETH ANN GOCELJAK      5 CLEARVIEW TERRACE                                                                            SUSSEX             NJ    07461
MISS ELIZABETH ANN IRELAND       815 BRADLEY AVE                                                                                FLINT              MI    48503‐5433
MISS ELIZABETH ANN SMITH         1414 TRAVIS ST                                                                                 ORANGE             TX    77630‐6954
MISS ELIZABETH ASZKANAZY         25 FINCHURST DRIVE                   WILLOWDALE NORTH YORK   TORONTO ON      M2R 1K8 CANADA
MISS ELIZABETH BAILEY            3907 OLD WM PENN HWY BOX 86                                                                    MURRYSVILLE        PA    15668‐1833
MISS ELIZABETH BAKER HARVEY      300 E 59TH ST APT 3303                                                                         NEW YORK           NY    10022‐2058
MISS ELIZABETH BALDWIN HILL      3168 THOMAS AVE                                                                                MONTGOMERY         AL    36106‐2426
MISS ELIZABETH BELLE FINGOLD     #101                                 140 20TH AVE                                              SAN FRANCISCO      CA    94121‐1358
MISS ELIZABETH BURNS             PO BOX 95                                                                                      RINGOES            NJ    08551
MISS ELIZABETH C BARRY           5 TAYLOR DR                                                                                    NEW BRUNSWICK      NJ    08901‐1514
MISS ELIZABETH C BOWMAN          1039 STILL MEADOW CROSSING                                                                     CHAROLETTESVILLE   VA    22901‐6207

MISS ELIZABETH E VAIL            6404 21ST AVE W                      APT # M‐605                                               BRADENTON          FL    34209‐7813
MISS ELIZABETH ELKOURIE          169 BIRCH CREEK DR                                                                             BIRMINGHAM         AL    35242‐6717
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Name                                              Address1                             Address2                      Address3            Address4                 City               State Zip

MISS ELIZABETH FOLAND WOODS                       1911 PAWNEE TRAIL                                                                                               LAKELAND        FL       33803‐2173
MISS ELIZABETH FRANCES FERLAINO                   C/O ELIZABETH FRANCES SLETHOLT       649 72 ST                                                                  BROOKLYN        NY       11209‐2618
MISS ELIZABETH FRANGEDAKIS                        C/O GEORGE P FRANGEDAKIS             624 EAST SAWGRASS TRAIL                                                    DACOTA DUNES    SD       57049‐5143
MISS ELIZABETH J DELLIES                          18790 E 13 MILE RD                   APT G201                                                                   ROSEVILLE       MI       48066‐1349
MISS ELIZABETH J PARSONS                          C/O ELIZABETH PATTON                 3201 ABERFOYLE PLACE N W                                                   WASHINGTON      DC       20015‐2327
MISS ELIZABETH JANE GOPLERUD                      PO BOX 327                                                                                                      KUNKLETOWN      PA       18058‐0327
MISS ELIZABETH KOORKANIAN                         921 GAGE LN                                                                                                     LAKE FOREST     IL       60045‐1126
MISS ELIZABETH L BRIGNULL                         4018 CHATHAM ST                                                                                                 VALATIE         NY       12184‐9744
MISS ELIZABETH L FREDERICK                        96 MAIN ST APT 1                                                                                                DURYEA          PA       18642‐1023
MISS ELIZABETH L SCULL                            57 LARCH ST                                                                                                     PROVIDENCE      RI       02906‐2601
MISS ELIZABETH LOVE MACEY                         130 WEST 73RD ST                                                                                                INDIANAPOLIS    IN       46260‐4215
MISS ELIZABETH M CRENNER                          449 OTIS ROAD                                                                                                   NORTH BRUNSWICK NJ       08902‐2727

MISS ELIZABETH M MURPHY                           1615 8TH AVE APT 420                                                                                            BROOKLYN           NY    11215‐5649
MISS ELIZABETH M TAYLOR                           APT 19‐H                             25 SUTTON PLACE S                                                          NY                 NY    10022‐2459
MISS ELIZABETH MAE LUTKEMEIER                     215 WEST 4TH ST                                                                                                 FRANKFORT          KY    40601‐2707
MISS ELIZABETH MUMFORD                            C/O MRS E M AMES                     BOX 177                                                                    ONANCOCK           VA    23417‐0177
MISS ELIZABETH OLMSTED BORDEN                     125‐B PEYTON ST                                                                                                 WINCHESTER         VA    22601‐3943
MISS ELIZABETH P SIMMS                            1024 LEXINGTON ESTATES DR                                                                                       GODFREY            IL    62035‐4172
MISS ELIZABETH PARKER APPLETON                    PO BOX 2593                                                                                                     CREST BUTTE        CO    81224‐2593
MISS ELIZABETH POLLOCK                            5600 HARDING BLVD NE                                                                                            ST PETERSBURG      FL    33703‐2520
MISS ELIZABETH R HILDER                           3843 LIVINGTON ST N W                                                                                           WASHINGTON         DC    20015‐2802
MISS ELIZABETH R RICHARDSON                       100 N MOORELAND ROAD                                                                                            RICHMOND           VA    23229‐7710
MISS ELIZABETH SHIRLEY                            36 BROOKHILL ROAD                    WOOLWICH                      LONDON              SE18 6TU GREAT BRITAIN
MISS ELIZABETH T RUECKERT                         203 LEXOW AVE                                                                                                   UPPER NYACK        NY    10960‐1007
MISS ELIZABETH THORNTON                           249 PINE VIEW LANE                                                                                              YORK               PA    17403‐9561
MISS ELIZABETH TRAFFORD                           3 MAPLE ST                                                                                                      BRIDGTON           ME    04009‐1311
MISS ELIZABETH W PRATT                            2475 VIRGINIA AVE NW #810                                                                                       WASHINTON          DC    20037‐2639
MISS ELLEEN GINOS                                 26510 BARRANQUILLA AVENUE                                                                                       PUNTA GORDA        FL    33983
MISS ELLEN BAUM                                   PO BOX 459                                                                                                      HATFIELD           PA    19440‐0459
MISS ELLEN CAROL COTTER                           RUMFORD TOWERS                       APT 909N                      95 NEWMAN AVENUE                             RUMFORD            RI    02916‐1955
MISS ELLEN CAROL LIBERMAN & DAVID S LIBERMAN JT   115 ROBINSON STREET                                                                                             WAKEFIELD          RI    02879‐3509
TEN
MISS ELLEN DALE ROSE                              1122 6TH ST                          APT 207                                                                    SANTA MONICA       CA    90403‐5133
MISS ELLEN G KESSLER                              APT 2N                               201 EAST 66TH ST                                                           NEW YORK           NY    10021‐6452
MISS ELLEN J MUNSON                               PO BOX 8                             38 S JOHN PAUL ROAD                                                        MILTON             WI    53563‐1219
MISS ELLEN KURZ                                   C/O ELLEN DAVIS                      1431 SOUTH 14TH AVE APT 103                                                HOLLYWOOD          FL    33020‐6552
MISS ELLEN L REIHER                               240 21ST AVENUE SOUTH #11                                                                                       SOUTH SAINT PAUL   MN    55075‐5845

MISS ELLEN M DONSKY                               1700 TUCKERSTOWN RD                                                                                             DRESHER            PA    19025‐1323
MISS ELLEN M MULHOLLAND                           2201 MICA RD                                                                                                    MADISON            WI    53719‐4635
MISS ELLEN MARK BUSH                              2832 MONUMENT AVE A‐6                                                                                           RICHMOND           VA    23221‐1752
MISS ELLEN P KETCHUM                              2111 BOGATTO ST                                                                                                 LA MARQUE          TX    77568‐5215
MISS ELLEN PETRA                                  30 HIGHLAND AVE                                                                                                 PT WASHINGTON      NY    11050‐4020
MISS ELLEN PETRA & ISABELLA V PETRA JT TEN        30 HIGHLAND AVE                                                                                                 PT WASHINGTON      NY    11050‐4020
MISS ELLEN R ADELSON                              ATTN ELLEN SHMUELI                   #121                          310 LEXINGTON AVE                            NEW YORK           NY    10016‐3161
MISS ELLEN SHADE                                  81 WILDWAY                                                                                                      BRONXVILLE         NY    10708‐5918
MISS ELLEN SUSAN LEIKIND                          245 EAST 63RD STREET                                                                                            NEW YORK           NY    10021‐7466
MISS ELLEN TERRY BEAUMONT                         4335 CLIFF RD S                                                                                                 BIRMINGHAM         AL    35222‐4330
MISS ELMIRA ARCHABALD                             231 EAST AVE                                                                                                    HILTON             NY    14468‐1333
MISS ELODIE ANN EDSALL                            5 AMICOLOLA DR                                                                                                  HIGHLAND LAKES     NJ    07422‐1426
MISS ELOISE C KLITZ                               839 HILLCREST                                                                                                   RIDGEWOOD          NJ    07450‐1107
MISS ELOISE C YAMAMOTO                            100 STADLER DRIVE                                                                                               WOODSIDE           CA    94062‐4817
MISS ELSA A LINDHARD                              106 HEATH VLG                                                                                                   HACKETTSTOWN       NJ    07840
MISS ELSIE E FARMER                               71 CARMAN ROAD                                                                                                  SCARSDALE          NY    10583
MISS ELSIE MAE NORCIA                             1155 NOBLESTOWN RD                                                                                              OAKDALE            PA    15071‐3027
MISS EMILIA A MASCARO                             4 ROCK RIDGE RD                                                                                                 WESTERLY           RI    02891‐3703
MISS EMILIA FINOCCHIO                             1317 73RD ST                                                                                                    BROOKLYN           NY    11228‐2125
MISS EMILY CHRISTINE GIBSON                       36 LANGEVIN AVENUE                   OTTAWA ON                                         K1M 1E9 CANADA
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Name                                             Address1                             Address2                 Address3        Address4          City              State Zip

MISS EMILY G JURINAK & MISS MARGE G JURINAK JT   16913 CREEKSIDE AVE                                                                             TINLEY PARK       IL    60487
TEN
MISS EMILY JANE KOLB                             207 S OAKLAND AVE UNIT F                                                                        PASADENA          CA    91101‐2863
MISS EMILY SAMEL                                 801 ROBINHOOD LN                                                                                LA GRANGE PK      IL    60526‐1578
MISS EMMA M BERTACCHI                            3215 OCTAVIA ST                                                                                 SAN FRANCISCO     CA    94123‐2210
MISS ENID GAIL ROSENBAUM                         11111 LONG COMMON                                                                               HOUSTON           TX    77099‐4711
MISS ERNA ERKER                                  5730 SPOTSWOOD DRIVE                                                                            LYNDHURST         OH    44124‐4142
MISS ERNESTINE COLOMBO                           30 ALDEN PLACE                                                                                  BRONXVILLE        NY    10708‐4813
MISS ESTELLE H PAINTER                           3600 MONTICELLO BLVD                                                                            CLEVELAND         OH    44121‐1546
MISS ESTELLE R SELDOWITZ                         C/O HAINES & LAGERQUIST              3026 MITCHELLVILLE RD.   STE. 203                          BOWIE             MD    20716
MISS ESTHER BAUER                                302 S MAIN ST APT 406                                                                           BUTLER            PA    16001‐0809
MISS ESTHER DELANEY                              10 HATTLE JONES COURT                                                                           BROOKLYN          NY    11213‐1253
MISS ESTHER LOUISE SPRENKEL                      1133 MICHIGAN AVE                                                                               WILMETTE          IL    60091‐1975
MISS ESTHER MAZIROW                              APT 4‐H                              1225 AVENUE R                                              BROOKLYN          NY    11229‐1021
MISS ESTHER PIUA YING ANG                        15 PITMAN ST                                                                                    SOMERVILLE        MA    02143‐2516
MISS ESTHER PONTERIO                             351 VANDERVOORT ST                                                                              NORTH             NY    14120‐7229
                                                                                                                                                 TONAWANDA
MISS ESTHER REZNITSKY                            5327 FAIRDALE LANE                                                                              HOUSTON           TX    77056‐6604
MISS ESTHER WILSON                               APT A‐2                              907 PALMER AVENUE                                          MAMARONECK        NY    10543‐2482
MISS ETHEL ANN GRANNIS                           3012 NEW NATCHEY TRACE                                                                          NASHVILLE         TN    37215‐1114
MISS ETHEL BENEDICK                              400 W 261ST ST                                                                                  BRONX             NY    10471‐1127
MISS ETHEL DOHERTY                               323 HURON AVE                                                                                   CAMBRIDGE         MA    02138‐6829
MISS ETHEL M COOPER                              828 W WASHINGTON ST                                                                             MT PLEASANT       PA    15666‐1740
MISS ETHEL M DEWEY                               84 FAIRMONT AVE                                                                                 NEWTON            MA    02458‐2506
MISS ETHEL R STAFFORD                            2379 DOG CREEK RD                    WILLIAMS LAKE BC                         V2G 4V9 CANADA
MISS EUGENIA E BIBB                              1545 DAIRY ROAD                                                                                 CHARLOTTESVILLE   VA    22903‐1303

MISS EUGENIA HENDREN BORUM                       507 N BLVD #7                                                                                   RICHMOND          VA    23220‐3336
MISS EUNICE A ROBINSON                           2873 POTTER RD                                                                                  WIXOM             MI    48393‐1836
MISS EVELYN CAPELLE                              34 HUNTLEIGH DRIVE                                                                              LOUDONVILLE       NY    12211‐1182
MISS EVELYN CONFIGLIACCO                         BOX 328                                                                                         LEAD              SD    57754‐0328
MISS EVELYN E GERARD                             C/O R. KELMANN                       68 PARCOT AVENUE                                           NEW ROCHELLE      NY    10801
MISS EVELYN FISHER                               1951 BOWEN RD                                                                                   ELMA              NY    14059‐9408
MISS EVELYN J CLOYD                              C/O E J ZENKE                        1213 MENDOTA ST                                            MADISON           WI    53714‐1021
MISS EVELYN K COLE                               C/O FRANKLIN H COLE PERS REP         2255 70TH AVE S E                                          MERCER ISLAND     WA    98040‐2318
MISS EVELYN M KATZ                               9634 S HOYNE                                                                                    CHICAGO           IL    60643‐1633
MISS EVELYN MARIE BRADY                          PO BOX 180                                                                                      OYSTER BAY        NY    11771‐0180
MISS EVELYN MARY WOODHEAD                        5420 CONNECTICUT AVE NW 214                                                                     WASHINGTON        DC    20015
MISS EVELYN PARKER                               PO BOX 6536                                                                                     AMERICUS          GA    31709‐6536
MISS EVELYN POLOMBO                              APT 3‐K                              39 EAST 39TH ST                                            PATERSON          NJ    07514‐1145
MISS EVELYN S MARX                               85 FERNWOOD LANE                                                                                ROSLYN            NY    11576‐1431
MISS EVLYN WEHLING FULTON                        4505 PARKER RD                       APT 121                                                    FLORISSANT        MO    63033‐4269
MISS F JANE NORTON & MRS RUBY NORTON JT TEN      ATTN JANE MERCER                     821 W 22ND                                                 ADA               OK    74820‐8021

MISS FANNIE JO BLANKS                            259 BEAVER CREEK PARKWAY                                                                        PELHAM            AL    35124‐2648
MISS FAY W MARSDEN                               C/O MRS BAHMERMANN                   516 N ESSEX AVE                                            NARBERTH          PA    19072‐1702
MISS FEIGA HOLLANDER                             C/O F ENGLANDER                      524 E 5TH ST                                               BROOKLYN          NY    11218‐4603
MISS FERN M NORTON                               ATTN MRS F M TULLOCH                 1196 STANLEY DR          BURLINGTON ON   L7P 2K8 CANADA
MISS FLORA M STRICKHAUSEN                        1213 N NOBLE                                                                                    TEXAS CITY        TX    77591‐2311
MISS FLORA N CIAMPA                              2143 UNION ST                                                                                   WEST PALM BCH     FL    33411‐5758
MISS FLORENCE A HESS                             886 ROUTE 9 HIGHWAY                                                                             SOUTH AMBOY       NJ    08879
MISS FLORENCE ANN SABOL                          1 RIVERVUE PL                        APT 402                                                    TUCKAHOE          NY    10707‐3231
MISS FLORENCE CUMBER                             665 THWAITES PL                                                                                 BRONX             NY    10467‐7905
MISS FLORENCE CURLEY                             2732 GIFFORD AVE                                                                                BRONX             NY    10465‐1815
MISS FLORENCE DOUDER                             79‐10 34TH AVE                                                                                  JACKSON HEIGHTS   NY    11372‐2437

MISS FLORENCE ENGLER                             BOX 1118                                                                                        ANCHORAGE         AK    99510
MISS FLORENCE FISHMAN                            801 SW 133 TERRACE                   APT 309                                                    PEMBROKE PNES     FL    33027
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Name                                             Address1                             Address2               Address3        Address4          City           State Zip

MISS FLORENCE H CONSTANCE & MISS VIOLET M        5655 S MONITOR                                                                                CHICAGO        IL    60638‐3619
CONSTANCE JT TEN
MISS FLORENCE J DOWNEY                           PO BOX 335                                                                                    DOLORES        CO    81323‐0335
MISS FLORENCE M HOLLMANN                         9820 LORELEI DRIVE                                                                            CINCINNATI     OH    45231‐2608
MISS FLORENCE NACZAS                             14 STONE ST                                                                                   BEVERLY        MA    01915‐5025
MISS FLORENCE P BLEIL                            4114 SCHAPER AVE                                                                              ERIE           PA    16508‐3350
MISS FLORINE G LA TOURETTE                       APT 46‐A                             156 S BRIDGE ST                                          SOMERVILLE     NJ    08876‐3236
MISS FRANCELIA C GREEN                           373 S CRANBROOK                                                                               BIRMINGHAM     MI    48009‐1590
MISS FRANCES ANN STRICKER                        2614 TIMBERLY DR APT 1A                                                                       INDIANAPOLIS   IN    46220‐1576
MISS FRANCES BORSELLINO                          212‐30 23RD AVE                                                                               BAYSIDE        NY    11360‐1535
MISS FRANCES C CASTLE                            4501 E TRI LAKES RD                                                                           SUPERIOR       WI    54880‐8641
MISS FRANCES D KOPPELMAN & MRS EVELYN K LOWEN    27655 LAHSER ROAD APT 310                                                                     SOUTHFIELD     MI    48034‐6271
JT TEN
MISS FRANCES E MAROOSIS                          C/O FRANCES E STUBBS                 173 COLIN AVE          TORONTO ON      M5P 2C5 CANADA
MISS FRANCES ELIZABETH HIX                       7709 PINEHILL DRIVE                                                                           RICHMOND       VA    23228‐4626
MISS FRANCES ELLA JOHNSON                        556 MOHAWK AVE                                                                                HOLLAND        MI    49423‐4425
MISS FRANCES GOLDBERG                            APT 20 A                             104‐60 QUEENS BLVD                                       FOREST HILLS   NY    11375‐7307
MISS FRANCES LABASH                              C/O FRANCES L LOWERY                 149 BAYSHORE DR                                          CAPE CORAL     FL    33904‐5808
MISS FRANCES M GRIECO                            152 TENTH ST                                                                                  BROOKLYN       NY    11215‐3803
MISS FRANCES M PIANTEDOSI                        1034 MONTEREY COURT                                                                           CHULA VISTA    CA    91911‐2419
MISS FRANCES N HUTTON                            BOX 3034 FIRST STREET STATION                                                                 RADFORD        VA    24143‐3034
MISS FRANCES OCCHIUZZI CUST ROBERT MICHAEL       245 LINCOLN AVE                                                                               ELIZABETH      NJ    07208‐1614
OCCHIUZZI UGMA NJ
MISS FRANCES P REID                              38 SOLDIER HILL RD                                                                            EMERSON        NJ    07630‐1521
MISS FRANCES PAULINE GODWIN                      C/O PHILIP CONDRON                   225 WYOMNIG AVE                                          SCRANTON       PA    18503
MISS FRANCES RAPPAPORT                           4718 UPTON ST NW                                                                              WASHINGTON     DC    20016‐2370
MISS FRANCES SUZANNE MOHR                        5221 N PUEBLO VILLAS DR                                                                       TUCSON         AZ    85704‐3719
MISS FRANCES THORNHILL                           201 W 9TH NORTH ST #2                                                                         SUMMERVILLE    SC    29483‐6712
MISS FRANKE ANN BELL                             3122 CONNECTICUT A                                                                            CHARLOTTE      NC    28205‐3335
MISS FRIEDA SCHULZE                              221 MAIN RD                                                                                   WESTPORT       ME    04578‐3111
MISS FRIEDA SCHULZE                              221 MAIN RD                                                                                   WEST PORT      ME    04578‐3111
MISS FUJIE ENOMOTO                               327 HAO ST                                                                                    HONOLULU       HI    96821‐1832
MISS G BETTY KANARR                              341 WYOMING AVE                                                                               KINGSTON       PA    18704‐3502
MISS G BETTY SIMON                               98 STERLING ST                                                                                BROOKLYN       NY    11225‐3319
MISS G PENNY HINER                               APT B‐207                            47103 WATERS EDGE LN                                     BELLEVILLE     MI    48111‐3180
MISS GABRIELLE C BELL                            1412 WILLIAMS DR                                                                              WALL           NJ    07719
MISS GAEL KAREN ROBINSON                         4017 GARNETWOOD CHASE                MISSISSAUGA ON                         L4W 2H3 CANADA
MISS GAIL CHANDLER                               ATTN GAIL CHANDLER GASTON            202 EAST 75TH ST 1R                                      NEW YORK       NY    10021
MISS GAIL ELIZABETH GOLIGER                      ATTN G G DRESSEL                     APT 30F                58 W 58TH ST                      NEW YORK       NY    10019‐2511
MISS GAIL F KAUFMANN                             13 GALLUP DR                                                                                  CHELMSFORD     MA    01824‐4509
MISS GAIL JUDITH BRODY                           321 HEATHCOTE ROAD                                                                            SCARSDALE      NY    10583‐7154
MISS GAIL L ROMAN                                ATT GAIL L STERN                     6706 YORKCLIFF PLACE                                     DAYTON         OH    45459‐3041
MISS GAIL MARIE PARENTE                          22 KIRKBRAE DRIVE                                                                             LINCOLN        RI    02865‐1019
MISS GAIL MARIE STONER                           10366 GOLF COURSE ROAD                                                                        FAYETTEVILLE   PA    17222‐9202
MISS GAIL R SOFFER                               413 KING FARM BLVD                   APT 402                                                  ROCKVILLE      MD    20850‐6680
MISS GAIL ROBIN FISHKIN                          C/O BOYER                            4 KINGS CT                                               PARSIPPANY     NJ    07054‐4813
MISS GAIL WILLIAMSON                             C/O GAIL W WALKER                    15799 SE NORMA RD                                        MILWAUKIE      OR    97267‐5137
MISS GALE YOUNG                                  C/O GALE R WALKER                    4714 W 7TH AVE         VANCOUVER BC    V6T 1C6 CANADA
MISS GAYL CAMPBELL                               779 REDMAN AVE                                                                                HADDONFIELD    NJ    08033‐2743
MISS GAYLE BURES                                 16 CHELSEA PLACE                                                                              DIX HILLS      NY    11746‐5414
MISS GAYLE ELLSWORTH & JANE H ELLSWORTH JT TEN   8110 RAVENSWOOD RD                                                                            GRANBURY       TX    76049‐4613

MISS GAYLE SOBELMAN                              4226 WINDING WILLOW DR                                                                        TAMPA          FL    33618‐8664
MISS GENEVIEVE A MACIAG                          5643 BINGHAM AVE                                                                              DEARBORN       MI    48126‐2231
MISS GENEVIEVE M DWYER                           12 E HARBOUR VILLAGE                                                                          BRANFORD       CT    06405
MISS GENEVIEVE M MERLINO                         641 N CAPITOL AVE                                                                             SAN JOSE       CA    95133‐2601
MISS GENEVIEVE RYAN                              2748 N SUMMIT AVE                                                                             MILWAUKEE      WI    53211‐3854
MISS GEORGEANN ZUSSMAN                           838 KEYSTONE                                                                                  RIVER FOREST   IL    60305‐1320
MISS GEORGENE ERNST                              4 WHISPERING PINES                                                                            HILTON HEAD    SC    29926‐2542
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Name                                                 Address1                            Address2                     Address3   Address4          City            State Zip

MISS GEORGETTE M HEILL                               C/O G M ZINK                        53 CAROL AVENUE                                           EAST FALMOUTH   MA    02536‐5948
MISS GEORGETTE ZAHAR                                 426 BARCLAY RD                                                                                GROSSE POINTE   MI    48236‐2814
                                                                                                                                                   FARM
MISS GEORGIA H BAUBLITZ                              12225 FAULKNER DR                                                                             OWINGS MILLS    MD    21117‐1258
MISS GEORGIA MANUEL                                  71 CAPITOL HGTS RD                                                                            OYSTER BAY      NY    11771‐2702
MISS GERALDINE A SCHUBECK                            C/O GERALDINE A COUTLEE             1943 CHARLOTTE                                            ROCKFORD        IL    61108‐6509
MISS GERALDINE B REISCH                              17 NOLAN DR                                                                                   GLENDALE        MO    63122‐1909
MISS GERALDINE F BATT                                115 DICKINSON LN                                                                              WILMINGTON      DE    19807‐3139
MISS GERALDINE J WERNER                              2753 S 58TH ST                                                                                MILWAUKEE       WI    53219‐3148
MISS GERALDINE LIVINGSTON                            5712 DREXEL RD                                                                                PHILADELPHIA    PA    19131‐1204
MISS GERALDINE M KRETEK                              BOX 584                                                                                       ANTHONY         NM    88021‐0584
MISS GERALDINE MEYERS                                1544 KAYWOOD LANE                                                                             GLENVIEW        IL    60025‐2344
MISS GERALDINE RONES                                 C/O MRS GERALDINE R SILVERMAN       125‐17 ROCKAWAY BEACH BLVD                                BELLE HARBOR    NY    11694‐1716
MISS GERTRUDE A DAVIS                                250 BUDD AVE                                                                                  CAMPBELL        CA    95008‐4063
MISS GERTRUDE A GOODMAN                              905 CINCINNATI AVE                                                                            EL PASO         TX    79902‐2435
MISS GERTRUDE B KRETEK                               811 W PINE                                                                                    DEMING          NM    88030‐3433
MISS GERTRUDE E MURPHY                               92 LONGVIEW ST                                                                                PALMER          MA    01069‐1416
MISS GERTRUDE E RIESER                               633 MANCHESTER RD                                                                             NORRISTOWN      PA    19403‐4156
MISS GERTRUDE G LARUS                                3408 NOBLE AVE                                                                                RICHMOND        VA    23222‐1832
MISS GERTRUDE S GELINAS & MISS JULIETTE GELINAS JT   ROUTE 16 42 EDGEWATER DR                                                                      BLACKSTONE      MA    01504‐1913
TEN
MISS GILLIAN WARREN                                  1550 NORTH FAIRFAX AVE                                                                        LOS ANGELES     CA    90046‐2608
MISS GINGER LYNNE CREECH                             ATTN GINGER L HILL                  1727 HERITAGE LAKE DR                                     DAYTON          OH    45458‐6067
MISS GLADYS E WELLS                                  107 CROMWELL DRIVE                                                                            SAN ANTONIO     TX    78228‐3202
MISS GLADYS ELLEN BARCLAY                            C/O GLADYS ELLEN DEBLOIS            130 NORTH MAIN STREET                                     CRANBURY        NJ    08512‐3310
MISS GLADYS ESTER                                    6572 SENECA RD                                                                                SHARPSVILLE     PA    16150‐8414
MISS GLADYS JOAN WHEELER                             99‐B BUCKINGHAM DR                                                                            MANCHESTER      NJ    08759
MISS GLENDA C BOURGEOIS                              22 MASTERS CIR                                                                                LITTLE ROCK     AR    72212‐3304
MISS GLENDA J FENENGA                                258 NEW MARK ESPLANADE                                                                        ROCKVILLE       MD    20850‐2733
MISS GLENDA K GOWER                                  527 NUCKOLS RD                                                                                SEALE           AL    36875‐4624
MISS GLENDA M SPECKETER                              347 S BROADWAY                                                                                HAVANA          IL    62644‐1419
MISS GLORIA ANN INSKEEP                              C/O GLORIA INSKEEP LONG             9290 JAMES MADISON HWY                                    RAPIDAN         VA    22733‐1737
MISS GLORIA DINELLI                                  3309 W FRANKLIN ST                                                                            RICHMOND        VA    23221‐1513
MISS GLORIA DOUGLAS                                  123 RACHEL LIN LANE                 ST CLOUD                                                  SAINT CLOUD     FL    34771
MISS GLORIA GARAVENTA                                6 FARVIEW COURT                                                                               SAN FRANCISCO   CA    94131‐1212
MISS GLORIA J CAPELLO                                3221 E BALDWIN RD                   APT 238                                                   GRAND BLANC     MI    48439‐7355
MISS GLORIA K BUDDENHAGEN                            BOX 43                                                                                        CALLICOON       NY    12723‐0043
MISS GLORIA M MEHLER                                 79‐22 270 STREET                                                                              NEW HYDE PARK   NY    11040‐1530
MISS GLORIA MAE DITTUS                               ATTN GLORIA MAE HAVLIN              31 TREE TOP CIRCLE                                        ORMOND BEACH    FL    32174‐9206
MISS GLORIA MC AVOY                                  60 W BROAD ST APT 3M                                                                          MOUNT VERNON    NY    10552‐2125
MISS GLORIA P TRIPI                                  C/O G T BANNING                     193 SUMMER ST                                             BUFFALO         NY    14222‐2207
MISS GLORIA PALMIERI                                 15 NAVARRO RD                                                                                 EAST HAVEN      CT    06512‐1331
MISS GLORIA R FLETCHER                               1361 EDWARDS AVE                                                                              BRONX           NY    10461‐5804
MISS GLORIA SCHWARTZ                                 APT 17A                             205 W END AVE                                             NEW YORK        NY    10023‐4811
MISS GLORIA WEBER                                    6971 N BROOM TAIL DR                                                                          TUCSON          AZ    85743‐9205
MISS GOLDIE SHIRVINT                                 10511 SOUTHWEST 46TH TERRACE                                                                  MIAMI           FL    33165‐5663
MISS GRACE E CARMICHAEL                              35 WARNER AVE                                                                                 SPRINGFIELD     NJ    07081‐1415
MISS GRACE E MILLER                                  PO BOX 565                                                                                    SUMMERFIELD     FL    34492‐0565
MISS GRACE ELIZABETH EFIRD                           496 STONEGATE LN                                                                              WINSTON SALEM   NC    27104‐1825
MISS GRACE HEPLER                                    846 FOUNTAIN ST                                                                               ASHLAND         PA    17921‐9013
MISS GRACE INGERSOLL MC GRAW                         BOX 463                                                                                       TAOS            NM    87571‐0463
MISS GRACE MORGAN ARMSTRONG                          435 S ITHAN AVE                                                                               BRYN MAWR       PA    19010‐1226
MISS GRACE P BARRETT                                 3304 42 ST W                                                                                  BRADENTON       FL    34205‐1102
MISS GRACE R BOULDEN                                 3500 WEST CHESTER PIKE #E312                                                                  NEWTOWN SQ      PA    19073
MISS GRACE WYSHAK                                    32 COMMONWEALTH AVE                                                                           CHESTNUT HILL   MA    02467‐3848
MISS GRACELLA E MC FEATTERS                          535 CHURCH STREET                                                                             INDIANA         PA    15701‐2728
MISS GRETCHEN BECK                                   PO BOX 673                                                                                    SHARON          PA    16146‐0673
MISS GUADALUPE OROZCO                                747 SO PARK CREST DR                                                                          FREEPORT        IL    61032‐7804
MISS GWEN E DILTS                                    473 GALLAGHER DR                                                                              BENICIA         CA    94510‐3919
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Name                                             Address1                                Address2                   Address3    Address4          City             State Zip

MISS H ANNE DAVENPORT                            1431 NORTHHAMPTON LN                                                                             NEW CUMBERLND    PA    17070

MISS H CARRIE WARD                               76 CLIVE ST                                                                                      METUCHEN         NJ    08840‐1038
MISS H HELEN STRUNK                              RD 5 BOX 5219                                                                                    EAST STROUDSBURG PA    18301‐9215

MISS HALINA DZIK & MRS LUCIA GIANNINI JT TEN     5720 GLEN EAGLES DRIVE                                                                           WEST BLOOMFIELD MI     48323‐2202

MISS HALINA J PRESLEY                            2100 N HUDSON AVE                                                                                CHICAGO        IL      60614‐4523
MISS HANNAH M DOYLE                              8908 FAIRVIEW RD                                                                                 PAPILLION      NE      68046‐4608
MISS HARRIE ROTE‐ROSEN                           89 FIFTH ST                                                                                      GLENS FALLS    NY      12801‐4140
MISS HARRIET B WHISMAN                           76 BAYLEE ROAD                                                                                   NORTH WEYMOUTH MA      02191‐1926

MISS HARRIET E HOFFMAN                           22 PALMER ST                                                                                     ARLINGTON        MA    02474‐6816
MISS HARRIET E LANG                              49 LAKEVIEW PL                                                                                   IOWA CITY        IA    52240‐9162
MISS HARRIET M HOOCK                             10 WHEAT HILL                                                                                    ROCHESTER        NY    14624‐4660
MISS HARRIET S HARRISON                          C/O HARRIET H RICHARDSON                2108 CHESAPEAKE DR E       APT 101                       ANNAPOLIS        MD    21403
MISS HARRIET SHEITELMAN                          62 DRYDEN RD                                                                                     BASKING RIDGE    NJ    07920‐1946
MISS HARRIET SPIEGEL                             C/O HARRIET SMITH                       2 KING ARTHUR'S COURT                                    EAST SETAUKET    NY    11733‐1713
MISS HARRIETT L THERKILDSEN                      5 CRESSIDA                                                                                       SAN ANTONIO      TX    78248‐1941
MISS HARRIETTE C WALBRIDGE                       76 CLIVE ST                                                                                      METUCHEN         NJ    08840‐1038
MISS HAZEL E JOHNSON                             451 MARION ST                           APT 1                                                    BROOKLYN         NY    11233‐2505
MISS HAZEL G WILSON                              1419 WEIGOLD AVE                                                                                 CINCINNATI       OH    45223‐1823
MISS HAZEL HARKINS                               2026 CLAUDINE                                                                                    ST LOUIS         MO    63138‐1011
MISS HAZEL UDDMAN                                19 BEVERLY CT                                                                                    NORTHPORT        NY    11768‐1426
MISS HEATHER JANE SUMMERS                        752 E CURLING DR                                                                                 BOISE            ID    83702‐1907
MISS HEATHER LEA BURNS                           322 BOUNTY WAY                                                                                   AVON LAKE        OH    44012‐2429
MISS HEATHER SUE HENRY                           PO BOX 1415                                                                                      SHEPHERDSTOWN    WV    25443‐1415

MISS HEDY J COHEN                                3513 CHAR‐LIL COURT                                                                              ELLICOTT CITY    MD    21042‐4832
MISS HEIDE ANN SMITH                             APARTADO 1328                           SAN JOSE                               COSTA RICA
MISS HEIDEMARIE MARTHOL                          5 CANADA CT                             ST CATHARINES ON                       L2N 3A7 CANADA
MISS HELEN A SUGG                                618 PIEDMONT DR                                                                                  OXFORD           MS    38655‐8147
MISS HELEN A SUGG & ALINE M SUGG JT TEN          618 PIEDMONT DR                                                                                  OXFORD           MS    38655‐8147
MISS HELEN ANGELA COLLINS                        6653 ROUNDABOUT WAY                     APT 214                                                  CHESTERFIELD     VA    23832‐6754
MISS HELEN ARNO                                  620 S LINCOLN AVE                                                                                SIOUX FALLS      SD    57104‐3831
MISS HELEN BOIKO                                 164 CHESTNUT ST                                                                                  GARFIELD         NJ    07026‐2728
MISS HELEN C PEEMOELLER                          4811 PARTRIDGE DRIVE                                                                             READING          PA    19606‐2456
MISS HELEN CHRISTOPHER                           2989 21ST AVE                                                                                    SAN FRANCISCO    CA    94132‐1503
MISS HELEN E HUNTLEY                             C/O MRS HELEN E H WHITE                 2 CEDAR ST                                               WILMINGTON       MA    01887‐3612
MISS HELEN E ZECCA & LOUISE H ZECCA JT TEN       2150 ROUTE 38                           APT 327 W                                                CHERRY HILL      NJ    08002‐4374
MISS HELEN ELIZABETH DYER                        3525 SIMCOE STREET N                    OSHAWA ON                              L1H 7K4 CANADA
MISS HELEN F MURPHY                              PO BOX 2638                                                                                      MARSHFIELD        MA   02065
MISS HELEN GALVIN                                ATTN H TUCHOLSKI                        3163 ALDRINGHAM RD                                       TOLEDO            OH   43606‐1811
MISS HELEN GERTLER                               209 SANDPIPER DR                                                                                 PALM BEACH        FL   33480‐3326
MISS HELEN GOWARD                                1927 LAKE RD                                                                                     VERGENNES         VT   05491‐9262
MISS HELEN JACOB                                 BOX 2085                                                                                         OCEAN             NJ   07712‐2085
MISS HELEN JEAN NEALON                           114 BAMBI LN                                                                                     MADISON           AL   35758‐6808
MISS HELEN L BANDEL                              C/O MRS HELEN L CAMPIGNO                349 ALBANY SHAKER RD                                     LOUDONVILLE       NY   12211‐2043
MISS HELEN L HARTWELL                            19B JAMES AVE                                                                                    MIDDLETON         MA   01949‐2148
MISS HELEN LUCILLE GILLEN                        407 NORTH H STREET                                                                               MONMOUTH          IL   61462‐1080
MISS HELEN LUSZOWIAK                             APT D                                   7906‐D WEST LAWRENCE AVE                                 NORRIDGE          IL   60656‐3214
MISS HELEN M BLANCHARD                           PO BOX 228                                                                                       BOONTON           NJ   07005‐0228
MISS HELEN M FERGUSON                            293 GREAT BAY BLVD                                                                               LITTLE EGG HARBOR NJ   08087‐2073

MISS HELEN M KALIL                               C/O H TRACY                             PO BOX 1                                                 PALM BEACH       FL    33480‐0001
MISS HELEN MARIE CUNNINGHAM                      245 E 25TH ST                           APT 9K                                                   NEW YORK         NY    10010‐3046
MISS HELEN MARY HILLMAN                          112 FITZWILLIAM RD                      PO BOX 756                                               JAFFREY          NH    03452‐0756
MISS HELEN MARY SENESKY                          75 12TH AVE                                                                                      SEA CLIFF        NY    11579‐1212
MISS HELEN MARY WANNER                           5804 WANNER ROAD                                                                                 NARVON           PA    17555‐9646
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Name                                         Address1                              Address2                  Address3       Address4                City               State Zip

MISS HELEN NAVOY                             C/O MRS H N HARRIS                    4162 ROCHESTER RD                                                SAN DIEGO          CA    92116‐2124
MISS HELEN ROSE KARL                         C/O H BROWN                           707 ABERDEEN CIRCLE                                              TEMPLE TERRACE     FL    33617‐7811
MISS HELEN RYAN                              10837 SW 79TH TERR                                                                                     OCALA              FL    34476‐9265
MISS HELEN S GOLDMAN                         5 PETER COOPER RD                     APT 11G                                                          NEW YORK           NY    10010‐6624
MISS HELEN S WONG                            8377 BEVERLY BLVD                                                                                      LOS ANGELES        CA    90048‐2633
MISS HELEN SOFRANKO                          BOX 376                                                                                                NEW SALEM          PA    15468‐0376
MISS HELEN STRONG                            1015 SOUTH WASHINGTON ST APT4                                                                          PAXTON             IL    60957
MISS HELEN T MARLAS                          752 OAKLAND AVE                                                                                        IOWA CITY          IA    52240‐6242
MISS HELEN TOWLE MAC DONALD                  465 36TH AVE                                                                                           SAN FRANCISCO      CA    94121‐1611
MISS HELEN VANGEL                            331 LAURELTON ROAD                                                                                     ROCHESTER          NY    14609‐4317
MISS HELEN ZIELINSKI                         APT E                                 229 SAN VICENTE BL                                               SANTA MONICA       CA    90402‐1520
MISS HELENE HARDY                            C/O MRS HELENE HOPKINS                1030 N CRESCENT DRIVE                                            CHRYSTAL RIVER     FL    34429‐9209
MISS HELENE KOLODY                           524 N SENOND ST                                                                                        SHAMOKIN           PA    17872
MISS HELENE WACHS                            5731 SOUTH KENWOOD                                                                                     CHICAGO            IL    60637‐1718
MISS HELGA BUDA & MRS MARY E BUDA JT TEN     7709 REVERE ST                                                                                         PHILADELPHIA       PA    19152‐3924
MISS HENNE M SHAPIRO                         C/O ALTMAN                            PO BOX 57                                                        WHITE LAKE         NY    12786‐0057
MISS HENRIETTA A WERMANN                     252 MOUNTAIN AVE                                                                                       NORTH PLAINFIELD   NJ    07060‐4409

MISS HENRIETTA L FASSLER                     PO BOX 35                                                                                              RANCHO SANTA FE    CA    92067‐0035

MISS HILARY A CRANE                          C/O HILARY A BRYAN                    16468 SCOTCHPINE                                                 FOUNTAIN VALLEY    CA    92708‐1955

MISS HILARY P G NORMAN                       MILLWOOD COURT #3                     ROYTON OLDHAM             LANCASHIRE     0L2 6WH GREAT BRITAIN
MISS HILDA T TAMELER                         245 MAIN                                                                                               CATASAUQUA         PA    18032‐1430
MISS HILDA WONG                              APT 3                                 940 JONES ST                                                     SAN FRANCISCO      CA    94109‐5125
MISS HOLLY SUE TOMAN                         36951 FERNVIEW LANE                                                                                    LAKE VILLA         IL    60046‐6719
MISS IDA E SHEEHAN                           18612 W OLD PLANK ROAD                                                                                 WILDWOOD           IL    60030‐2250
MISS IDA FRIEDLANDER                         1234 W MINER ROAD                                                                                      CLEVELAND          OH    44124‐1712
MISS IDA KOZINETS                            10 URBAND DR                                                                                           SAN FRANCISCO      CA    94127‐2821
MISS IDA R CROSARIOL                         848 MILLER AVE                                                                                         SO SAN FRANCISCO   CA    94080‐2433

MISS IDA ROSENSTROH                          13 MEADOWBROOK COUNTRY CLUB EST                                                                        BALLWIN            MO    63011‐1688
MISS IDA SHERRY MORRIS                       C/O IDA SHERRY WARD                   26 WOODSTOCK CIR                                                 COLLEGEVILLE       PA    19426‐3426
MISS IDELL MARIE YOUNG                       942 HENRY AVE BOX 144                                                                                  WAYNE              PA    19087‐2711
MISS ILENE SUSAN ZISK                        C/O MRS I COOPERSMITH                 90 DOVER ST                                                      BROOKLYN           NY    11235‐3702
MISS INES CLOTILDE CERCONE                   1051 TEVIOT ROAD                                                                                       SCHENECTADY        NY    12308‐2040
MISS INEZ M NORRIS                           PO BOX 694                                                                                             EDENTON            NC    27932‐0694
MISS INEZ R LANDRY                           PO BOX 394                                                                                             PAINCOURTVILLE     LA    70391‐0394
MISS IRENE B DORRIER                         506 SECOND STREET N E                                                                                  CHARLOTTESVILLE    VA    22902‐4639

MISS IRENE C PIECHOWICZ                      38 EASTWOOD PKWY                                                                                       DEPEW              NY    14043‐4637
MISS IRENE CHANZES                           129 DYER AVE                          SWANWYCK ESTATES                                                 NEW CASTLE         DE    19720‐2052
MISS IRENE FERGUSON                          185 WEST END AVE                                                                                       NEW YORK           NY    10023‐5539
MISS IRENE ILLINGWORTH                       2471 W WHITEHALL RD                                                                                    STATE COLLEGE      PA    16801‐2338
MISS IRENE L GRAY                            27 MORNINGSIDE DRIVE                                                                                   WALPOLE            MA    02081‐3120
MISS IRENE M KRANZ                           4301 DITMAS BLVD                                                                                       ASTORIA            NY    11105‐1346
MISS IRENE M MOORE                           6462 CR 659                                                                                            BRAZORIA           TX    77422‐7902
MISS IRENE M SNODDON                         APT 1414                              55 WYNFORD HEIGHTS CRES   DON MILLS ON   M3C 1L5 CANADA
MISS IRENE P PAGANO                          1419 PENNINGTON RD                                                                                     TRENTON            NJ    08618‐2655
MISS IRENE RAKUNAS                           21259 BARTH POND LN                                                                                    CREST HILL         IL    60403‐1521
MISS IRENE STEGUN                            93 PARK AVE                           APT 1406                                                         DANBURY            CT    06810‐7625
MISS IRIS BALL                               PO BOX 8243                                                                                            CINCINNATI         OH    45208‐0243
MISS IRIS V CUEBAS                           715 VILLAGE PL                                                                                         BRANDON            FL    33511‐6239
MISS IRMA J WILHELM                          43 YOUNG ROAD                                                                                          AUGUSTA            ME    04330‐8520
MISS ISABEL M WERNER                         34 CHEROKEE CIRCLE                    UNIT 101                                                         MADISON            WI    53704‐8625
MISS ISABELLE M GUSTAITIS                    14 VALLEY VIEW LN                                                                                      NEWTOWN SQ         PA    19073‐4610
MISS ISOBEL L A MC KNIGHT                    866 WINDCREST PLACE                                                                                    WINTER SPRINGS     FL    32708‐4022
MISS J CHRISTINE HARTMAN                     1611 HILL ST W O                                                                                       MC KEESPORT        PA    15131‐2119
MISS JACQUELIN WARE                          304 DEPRAY                                                                                             BLUE MOUND         IL    62513‐9571
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Name                                              Address1                               Address2                   Address3      Address4          City               State Zip

MISS JACQUELINE A STELZL                          1488 LAUREL LANE                                                                                  GREENVILLE         IL    62246‐2808
MISS JACQUELINE HORWITZ                           21 SUMMER LANE                                                                                    FRAMINGHAM         MA    01701‐7907
MISS JACQUELYNE B HOLTSON                         111 N WASHINGTON                                                                                  PARK RIDGE         IL    60068‐3539
MISS JAMISON LEE MONIER                           ATTN JAMISON LEE GINSBERG              6209 AVENIDA CRESTA                                        LA JOLLA           CA    92037‐6511
MISS JANE A FARRIS                                8707 DICEMAN DRIVE                                                                                DALLAS             TX    75218‐4119
MISS JANE A ROBERTS                               203 COMMANDER CV                                                                                  STAFFORD           VA    22554‐2401
MISS JANE AUDREY NELSON                           5435 S FOREST TER                                                                                 HOMOSASSA          FL    34446‐2337
MISS JANE C DOUGLASS                              C/O MRS J CARTER                       BOX 22                                                     NORTH FALMOUTH     MA    02556‐0022

MISS JANE C PEDERSEN                              768 CLEARVIEW DR                                                                                  DURANGO            CO    81301‐9211
MISS JANE CORNELIUS                               11112 DRAGONS LAIR DRIVE                                                                          FREDERICKSBURG     VA    22407‐2522
MISS JANE D STEPHENSON                            59 CARTER LN                                                                                      PLANTSVILLE        CT    06479‐1501
MISS JANE FRANKEL                                 APT 1010                               135 SOUTH 19TH STREET                                      PHILADELPHIA       PA    19103‐4912
MISS JANE H WILLIAMS                              BOX 170                                                                                           NEW IPSWICH        NH    03071‐0170
MISS JANE K GRAB                                  PO BOX 60                                                                                         CORNWALL           NY    12518‐0060
MISS JANE L LASSNER                               1 FLORIAN COURT                                                                                   WESTPORT           CT    06880‐1628
MISS JANE L OLSZEWSKA & CECELIA D ALESSANDRO JT   14‐96‐212TH ST                                                                                    BAYSIDE            NY    11360‐1108
TEN
MISS JANE LAMBERT                                 ATTN LAMBERT BROS                      518 S BROAD                                                NEW ORLEANS        LA    70119‐7413
MISS JANE M LEMIEUX                               65 BROAD ST                                                                                       WHITMAN            MA    02382‐2419
MISS JANE P FONSS                                 135‐30‐123RD ST                                                                                   SOUTH OZONE PK     NY    11420‐3725
MISS JANE R KARMEL                                61 WATERS EDGE                                                                                    RYE                NY    10580‐3256
MISS JANE SUSAN EISHNER                           908 BRYANT AVE                                                                                    NEW HYDE PARK      NY    11040‐3854
MISS JANE TROWBRIDGE HOTCHKISS                    1 TOWER HILL ROAD                                                                                 CLINTON            CT    06413‐1242
MISS JANE WILLIAMS                                PO BOX 2804                                                                                       VALDOSTA           GA    31604‐2804
MISS JANEAN E ABBOTT                              PO BOX 165                                                                                        GRESHAM            OR    97030‐0025
MISS JANELLEN FURMAN                              49 WEBSTER ST                          #2                                                         WESTMINSTER        MD    21157‐5521
MISS JANET A MURPHY                               14 BOSWORTH ST                                                                                    BEVERLY            MA    01915‐2522
MISS JANET BONNIE MAY                             7992 D PURITAN DR                                                                                 MENTOR             OH    44060‐4033
MISS JANET C SIEBER                               C/O MRS JANET S KNAPP                  5603 ASBURY AVE                                            OCEAN CITY         NJ    08226‐1025
MISS JANET COLLMER                                BOX 85                                                                                            FRANKLIN SPRINGS   NY    13341‐0085

MISS JANET GRACE WENIG                            4039 24TH AVE S                                                                                   MINNEAPOLIS        MN    55406
MISS JANET I OBERG                                736 FRANKLIN ST                                                                                   CLAY CENTER        KS    67432‐1558
MISS JANET K JUERGENS                             2050 24TH AVE                                                                                     SAN FRANCISCO      CA    94116‐1218
MISS JANET KEYISHIAN                              14 WASHINGTON PLACE APT 3D                                                                        NEW YORK           NY    10003
MISS JANET KIRK DAVIDSON                          C/O MRS J PENNELL                      472 GREEN HILL LANE                                        BERWYN             PA    19312‐1920
MISS JANET LYNN WALSH                             609 BURNSIDE STREET 1ST FLOOR                                                                     ANNAPOLIS          MD    21403‐3216
MISS JANET M ROBISON                              1534 CORVALLIS AVE                                                                                CINCINNATI         OH    45237‐3108
MISS JANET M WEST                                 APT B                                  GATEWAY MANOR              55 HEISZ ST                     EDWARDSVILLE       PA    18704‐4445
MISS JANET N GARRARD                              140 BUCKINGHAM DR                                                                                 ELYRIA             OH    44035‐1706
MISS JANET R WALLACE                              30 MOUNTAIN ST                                                                                    CAMDEN             ME    04843‐1639
MISS JANET ROSE HIRSCHENBERGER                    ATTN JANET ROSE HARRIS                 1130 TYSON AVE                                             ABINGTON           PA    19001‐3210
MISS JANET ROSE KALO                              PO BOX 1123                                                                                       ELEANOR            WV    25070‐1123
MISS JANETTE D BODNAR                             ATTN J D PETER                         1803 BROOKVIEW RD                                          CASTLETON          NY    12033‐9755
MISS JANICE C SPENCER                             PO BOX 174                                                                                        NEW CUMBERLND      WV    26047‐0174

MISS JANICE E LUCCA                               9199 RIPPLE BROOK RD                                                                              GREAT FALLS     VA       22066‐2207
MISS JANICE E RUSSO                               C/O MRS JANICE E PALMER                RFD 1 BOX 500 JACKSON RD                                   HIGGANUM        CT       06441‐9803
MISS JANICE K MOELLER                             C/O JANICE K HILLENMEYER               1054 AUGUSTANA DR                                          NAPERVILLE      IL       60565‐3497
MISS JANICE K WILCOX                              C/O JANICE K WILCOX JOHNSON            7253 SAWMILL RUN                                           HOLLAND         OH       43528‐9688
MISS JANICE L FIELD                               N 79 W 16265 LONGWOOD ST                                                                          MENOMONEE FALLS WI       53051‐7333

MISS JANICE L MORGAN                              1 NORTHGATE RD                                                                                    CHELMSFORD         MA    01824‐2122
MISS JANICE L STRAWHACKER                         RR 2 BOX 165                                                                                      CLARK              MO    65243‐9802
MISS JANICE LOUISE BOSWORTH                       1721 WOODHAVEN AVE                                                                                DAYTON             OH    45414‐5448
MISS JANICE M ORNELLAS                            2077 WASHINGTON AVE #113                                                                          SAN LEANDRO        CA    94577‐5867
MISS JANICE MABEL BURCH                           37 ALBANY RD                                                                                      NEPTUNE            NJ    07753‐5253
MISS JANICE MOODY                                 703 INDIANA STREET                                                                                LAWRENCE           KS    66044‐2331
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Name                                                Address1                            Address2                 Address3      Address4          City              State Zip

MISS JANICE PALERMO & MARIE C PALERMO JT TEN        629 SE 19TH AVE                     APT 204                                                  DEERFIELD BEACH   FL    33441‐5041

MISS JANIE CLARKE JR                                EDENWALD APT 409                    800 SOUTHERLY RD                                         BALTIMORE         MD    21286‐8403
MISS JANIE LEE MC DANIEL                            1527 CHURCH ST                                                                               SAN FRANCISCO     CA    94131‐2017
MISS JANIS MANGINO                                  420 ROBINSON ST                                                                              SCHENECTADY       NY    12304‐1302
MISS JAQUELINE BROWN                                ATTN JACQUELINE HODGSON             13 BANFIELD AVE          MARKHAM ON    L3P 1H3 CANADA
MISS JEAN ALLEN                                     18 HAMILTON AVE                                                                              TROY              NY    12180‐7863
MISS JEAN ANN BAKER                                 1802 E 54TH ST                      # 219                                                    INDIANAPOLIS      IN    46220‐3469
MISS JEAN CORNN                                     APT 3                               1371 NORMANDY DR N E                                     ATLANTA           GA    30306‐2535
MISS JEAN DATRI                                     ATTN JEAN HENDRY                    14 EDDY ST                                               SUDBURY           MA    01776‐3111
MISS JEAN E FLANAGAN                                PO BOX 5201                                                                                  SNOWMASS          CO    81615‐5201
                                                                                                                                                 VILLEGE
MISS JEAN E MAYER                                   5822 BRADLEY BLVD                                                                            BETHESDA          MD    20814‐1128
MISS JEAN E OTIS                                    ATTN JEANIE OTIS HAMM               225 JOHNSON AVE                                          CELINA            OH    45822‐1220
MISS JEAN E WESTOVER                                C/O MRS JEAN BALAKOVICH             2869 EASY ST                                             ANN ARBOR         MI    48104‐6531
MISS JEAN ELMA UNDERWOOD                            654 PARROT DR                                                                                SAN MATEO         CA    94402‐3222
MISS JEAN F HAYWARD                                 8 MT AUBURN ST                                                                               HOPKINTON         MA    01748‐1116
MISS JEAN FOBES                                     935 CLARKSVILLE ROAD                                                                         SHARON            PA    16148‐2947
MISS JEAN GORSKY                                    631 KLONDIKE AVE                                                                             STATEN ISLAND     NY    10314‐6105
MISS JEAN HELEN KINSEY                              1856 ELEANOR AVE                                                                             ST PAUL           MN    55116‐1321
MISS JEAN K BAIRD                                   333 BEDE                                                                                     FLINT             MI    48507‐2614
MISS JEAN M COTTINGHAM                              37524 N LAUREL PARK DR                                                                       LIVONIA           MI    48152‐3949
MISS JEAN M JOHANNESSEN                             C/O JEAN M TARABEK                  305 BUENA VISTA                                          MODESTO           CA    95354‐1415
MISS JEAN M WILSON                                  C/O MRS JEAN W KNOCH                10 CUNNINGHAM POINT CT                                   GREER             SC    29651‐5706
MISS JEAN MARIE FORD                                216 OLD ROCK RD                                                                              CLARKSVILLE       VA    23927‐3209
MISS JEAN MERCEDES INGRATTA                         140 ISLINGTON AVE                   KITCHENER ON                           N2B 1P5 CANADA
MISS JEAN METZGER                                   111 COBURN AVE #140                                                                          NASHUA            NH    03063‐2807
MISS JEAN S FITZGERALD                              ATTN MRS J SLACUM                   604 SOUTH PARK DRIVE                                     SALISBURY         MD    21804‐5617
MISS JEAN THERESA DI SALVIO                         7651 MOLSON                         VILLE ST MICHEL QC                     H2A 3L3 CANADA
MISS JEAN WINTERROWD GRIFFITHS                      5712 FOXGATE LANE                                                                            HINSDALE          IL    60521‐4977
MISS JEAN ZELINSKY                                  C/O TRENTON PSYCHIATRIC HOSPITAL    BOX 7500 RAY                                             WEST TRENTON      NJ    08628‐0500
MISS JEANETTE C MOCIUK                              8515 CHEROKEE RD                                                                             PALOS PARK        IL    60464‐1941
MISS JEANETTE LUANNA BELDA                          16633 RADCLAY ST                                                                             SANTA CLARITA     CA    91351‐3922
MISS JEANETTE M CASSOU                              450‐D CHESHIRE COURT                                                                         LAKEWOOD          NJ    08701‐6468
MISS JEANETTE REILLY                                16 VARSITY BL                                                                                EAST SETAUKET     NY    11733‐1040
MISS JEANNE ANN POLLARD                             81 BAXTER ST                                                                                 BUFFALO           NY    14207‐1139
MISS JEANNE GRIEST & MISS GUINEVERE GRIEST JT TEN   2710 35TH PL NW                                                                              WASHINGTON        DC    20007‐1407

MISS JEANNE GRIFFEN                               22 AUBURN PLACE                                                                                HATTIESBURG       MS    39402‐8391
MISS JEANNE HALLBURG                              2025 15TH AVE                                                                                  SAN FRANCISCO     CA    94116‐1315
MISS JEANNE JONAS                                 310 WEST 72ND ST                                                                               NEW YORK          NY    10023‐2675
MISS JEANNE L MAUDSLEY                            C/O J FEWKES                          150 LINCOLN BLVD                                         CLARK             NJ    07066‐2559
MISS JEANNE M BLAESSER                            PO BOX 1179                                                                                    COUER D' ALENE    ID    83816‐1179
MISS JEANNE M CONNELL                             411 NORTH MIDDLETOWN ROAD B215                                                                 MEDIA             PA    19063
MISS JEANNE M SCHILLING                           3626‐38TH ST APT 26                                                                            ROCK ISLAND       IL    61201‐6568
MISS JEANNE M THIBAUDEAU                          391 RIVER RD                                                                                   LINCOLN           RI    02865‐1532
MISS JEANNETTE L KEHOE                            RFD 2 3 W OLD CHATHAM RD                                                                       SOUTH DENNIS      MA    02660‐2644
MISS JENNIE L JEFFREY                             ATTN MRS JENNIE BUCEK                 1508 DROPTINE DR                                         CEDAR PARK        TX    78613‐4901
MISS JENNIE LEE                                   1539 HYDE ST                                                                                   SAN FRANCISCO     CA    94109‐3113
MISS JENNIE LEE MARTIN                            2911 NW MCDANIEL RD                                                                            PORTLAND          OR    97229‐4044
MISS JENNIFER ANNE LAUBACH                        4505 OLD POND DRIVE                                                                            PLANO             TX    75024‐4708
MISS JENNIFER BERG & MISS AIMEE BERG JT TEN       54 W 71ST STREET                      1R                                                       NEW YORK          NY    10023‐4229
MISS JENNIFER BROMSTED                            30 KIMBERLY DRIVE                                                                              DRYDEN            NY    13053‐9728
MISS JENNIFER E BOURDOW & AYLENE L BOURDOW JT 309 AARON STREET                                                                                   STAR PRAIRIE      WI    54026‐9240
TEN
MISS JENNIFER JOSEPH                              151 GLEN CEDAR RD                     TORONTO ON                             M6C 3G6 CANADA
MISS JENNIFER L SWART                             151 UTICA ST                                                                                   TONAWANDA         NY    14150‐5431
MISS JENNIFER LOUISE KRAUSE CUST CHARLES F KRAUSE 1018 LAS POSAS                                                                                 SAN CLEMENTE      CA    92673‐4004
UGMA MI
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Name                           Address1                                Address2                 Address3       Address4          City               State Zip

MISS JENNIFER LYNN JONES       2925 ANDRUS DRIVE                                                                                 WEST CHICAGO       IL    60185‐5212
MISS JENNIFER WARREN           1675 OLD OAK RD                                                                                   LA                 CA    90049‐2505
MISS JENNY MC DONALD           2240 MEADOWLARK LN E                                                                              REYNOLDSBURG       OH    43068‐4923
MISS JERYL D BODNAR            99 ROSE CT                                                                                        ALBANY             NY    12209‐1328
MISS JILL ANN OHMSTEDE         PO BOX 3652                                                                                       TELLURIDE          CO    81435‐3652
MISS JILL CLINGAN              1508 GEORGINA ST                                                                                  SANTA MONICA       CA    90402‐2228
MISS JILL MARION ROBINSON      211 E 70TH ST 32‐A                                                                                NY                 NY    10021‐5210
MISS JILL PAULA WEISENFELD     1420 LOCUST ST APT 11E                                                                            PHILADELPHIA       PA    19102‐4208
MISS JILL RISA CHERNEY         ATTN JILL CHERNEY LUTZ                  1450 CLARENDON RD                                         BLOOMFIELD HILLS   MI    48302‐2603

MISS JO ANN K CALARCO          6918 CHALLENGE LANE                                                                               INDIANAPOLIS       IN    46250‐3942
MISS JO ANNE SPILLAS           14505 DELAWARE AVE                                                                                LAKEWOOD           OH    44107‐5940
MISS JOAN AICHELE              825 ROUTE 152                                                                                     PERKASIE           PA    18944‐2830
MISS JOAN B PETERSEN           8605 DON CAROL DR                                                                                 EL CERRITO         CA    94530‐2732
MISS JOAN B POSTELNEK          C/O J B LYNN                            19871 NE 24TH CT                                          NORTH MIAMI        FL    33180‐2147
                                                                                                                                 BEACH
MISS JOAN C HEANEY             120 96TH ST APT 2 K                                                                               BROOKLYN           NY    11209‐7547
MISS JOAN C TISCHER            35 KENSINGTON RD                                                                                  GARDEN CITY        NY    11530‐4240
MISS JOAN COO LUCKHARDT        385 GEORGES RD                                                                                    DAYTON             NJ    08810‐1403
MISS JOAN E AUSTIN             PO BOX 807                                                                                        NANTUCKET          MA    02554‐0807
MISS JOAN E LYNCH              243 WEST END AVE                        APT 908                                                   NEW YORK           NY    10023‐3670
MISS JOAN E MILLER             PO BOX 431                              53 ROCHESTER ST                                           BERGEN             NY    14416‐9529
MISS JOAN ELIZABETH SMITH      C/O J S MURPHY                          51 BEECHWOOD LANE                                         BERKELEY HEIGHTS   NJ    07922‐2349

MISS JOAN FALLON               108 SEACLUSION CIR                                                                                PANAMA CITY BCH    FL    32413‐2771

MISS JOAN FRANKEL              6022 N JERSEY AVE                                                                                 CHICAGO            IL    60659‐2306
MISS JOAN GLORIA SILBER        615 LAUREL LAKE DRIVE                   APT A‐136                                                 COLUMBUS           NC    28722‐7454
MISS JOAN GREGUS               131 HALLS RD                                                                                      GREAT BEND         PA    18821‐9707
MISS JOAN JENNINGS             24 BLACK CREEK BLVD                     TORONTO ON                              M6N 2K8 CANADA
MISS JOAN L KOLLMANN           1012 LEE AVE                                                                                      PORT CLINOTON      OH    43452‐2230
MISS JOAN L MOEHRING           ATTN MRS JOAN POWERS                    2806 BELLWOOD AVE                                         COLUMBUS           OH    43209‐1106
MISS JOAN LINDA DANTONI        1404 E 3RD ST                                                                                     LOUISVILLE         KY    40208‐2117
MISS JOAN LOUISE KENNY         1717 VERSAILLES                                                                                   ALAMEDA            CA    94501‐1650
MISS JOAN M DOWE               1001 OAK CREST                                                                                    WAUKEGAN           IL    60085‐4151
MISS JOAN M SWART              685 S REGENT                                                                                      STOCKTON           CA    95204‐4325
MISS JOAN M TIMKO              1085 TASMAN DR SPACE 295                                                                          SUNNYVALE          CA    94089‐5394
MISS JOAN MARIE LA BARR        204 WOLF LAKE ROAD                                                                                WURTSBORO          NY    12790‐2214
MISS JOAN MEHRMAN              62 CHARLES BANKWAY                                                                                WALTHAM            MA    02154‐2517
MISS JOAN MERCER               2016 WALKER MILL ROAD                                                                             POLAND             OH    44514‐3646
MISS JOAN RAYMOND              645 TANNER MARSH RD                                                                               GUILFORD           CT    06437‐2106
MISS JOAN S MC CARN            2316 THIRD AVENUE                                                                                 SPRING LAKE        NJ    07762‐1702
MISS JOAN SOSIN                3 WIMBLEDON DRIVE                                                                                 NORTH HILLS        NY    11576‐3097
MISS JOAN STANLEY              APT 5‐H                                 35 E 35TH ST                                              NY                 NY    10016‐3820
MISS JOAN T MOORE              C/O MRS J T WALSH                       8 5TH AVE                                                 MONROE TWP         NJ    08831
MISS JOAN TANGEMANN            214 HARRIMAN DR                         APT 3052                                                  GOSHEN             NY    10924‐2427
MISS JOAN WENDEL               N2708 SHORE DR                                                                                    MARINETTE          WI    54143‐9566
MISS JOAN WIACEK               C/O ROSSI                               1135 HUGHES DR                                            TRENTON            NJ    08690‐1213
MISS JOANN P JEFFERS           ATTN JOANN GORMAN                       APT 21                   LORCOM HOUSE   4401 LEE HWY      ARLINGTON          VA    22207‐3336
MISS JOANN PALMIERI            100 E HARTSDALE AVE #7ME                                                                          HARTSDALE          NY    10530‐3247
MISS JOANNE C SEVCIK           6805 COUNTY LINE LANE                                                                             BURR RIDGE         IL    60521‐5724
MISS JOANNE COX                C/O MRS JOANNE C BELLENGER              2436 E NORTHSIDE DRIVE                                    JACKSON            MS    39211‐4924
MISS JOANNE E GROVES           PO BOX 81175                                                                                      FAIRBANKS          AK    99708‐1175
MISS JOANNE HAJMAN             31545 BEACONSFIELD                                                                                ROSEVILLE          MI    48066‐4514
MISS JOANNE PANEPINTO          276 FIRST AV                            APT 8B                                                    NEW YORK           NY    10009‐1824
MISS JOANNE R ROBSON           2275 YOUNGMAN AVE 504                                                                             ST PAUL            MN    55116‐3095
MISS JOANNE T GREENSPUN        128 MEDFORD LEAS WAY                                                                              MEDFORD            NJ    08055‐2228
MISS JOANNE TURNER             214 DENVER RD                                                                                     PARAMUS            NJ    07652‐3207
MISS JODIE WOODRICH            27116 CATHY CT                                                                                    PRINCETON          IA    52768‐9606
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Name                              Address1                            Address2                  Address3     Address4          City               State Zip

MISS JOEL TOWLE FELDMANN          42 HURRICANE RD                                                                              KEENE              NH    03431‐2100
MISS JOETTA MILLER                4122 WHISPERING LN                                                                           ANNANDALE          VA    22003‐2058
MISS JOHANNA SCHWENSEN            1949 SQUIRREL RD                                                                             BLOOMFIELD HILLS   MI    48304‐1162

MISS JOHANNA WOODS                26 STILLWOOD DRIVE                                                                           GREENVILLE      SC       29607‐3352
MISS JONI W FENTON                C/O ABBATE                          8 CRESENT DR                                             SPRING VALLEY   NY       10977‐2320
MISS JONNA LEE GRONEMEYER         C/O JONNA KENNEDY                   47363 MCARTHY ISLAND CT                                  POTOMAC FALLS   VA       20165‐3119
MISS JOSEPHINE A PAGANO           1127 LANDIS AVE                                                                              VINELAND        NJ       08360
MISS JOSEPHINE COLLOCA            74 E UTICA ST                                                                                OSWEGO          NY       13126‐2755
MISS JOSEPHINE FAVINI             2909 BUFFALO RD                                                                              ROCHESTER       NY       14624‐1338
MISS JOSEPHINE LOMBARDI           51‐49 69TH ST                                                                                WOODSIDE        NY       11377‐7515
MISS JOSEPHINE M MARKOVICH        1661 PINE STREET #1032                                                                       SAN FRANCISCO   CA       94109‐0424
MISS JOSEPHINE M SCHELLENBERG     110 SHAW AVE                                                                                 LEWISTOWN       PA       17044‐1839
MISS JOSEPHINE M TRIPOLI          127 KENLANE ST                                                                               GREENSBURG      PA       15601‐1940
MISS JOSEPHINE M VOLEK            72 JARVIS ST                                                                                 BINGHAMTON      NY       13905‐2125
MISS JOSEPHINE PAGANO             191‐04 FOOTHILL AVE                                                                          HOLLIS          NY       11423‐1255
MISS JOY DARCY DUFFY              APT 4                               1521 CHESTNUT                                            SAN FRANCISCO   CA       94123‐3033
MISS JOYCE A RAGLAND              4691‐D FOUR SEASONS TERRACE                                                                  GLEN ALLEN      VA       23060‐9206
MISS JOYCE BERUSCH                C/O MRS JOYCE SUTTON                383 WOODLAND DRIVE                                       SOUTH HEMPSTEAD NY       11550‐7725

MISS JOYCE E BRADO                327 HIGH ST                         # 129                                                    LOCKPORT        NY       14094‐4601
MISS JOYCE E DOVELL               470 E A ST                          APT 138                                                  OAKDALE         CA       95361‐2759
MISS JOYCE E NELSON               ATTN JOYCE WRIGHT                   1797 WEST SKILLMAN                                       ROSEVILLE       MN       55113‐5431
MISS JOYCE E ROBBINS              1107 HEDGEROW LN                                                                             PHILADELPHIA    PA       19115‐4808
MISS JOYCE IRENE MILLER           3000 WILLIAMS STATION RD                                                                     MATTHEWS        NC       28105‐1232
MISS JOYCE M KELLER               390 SO SEPULVEDA BLVD #209                                                                   LOS ANGELES     CA       90049‐3140
MISS JOYCE M MARKS                1223 DRURY CT                                                                                CLEVELAND       OH       44124‐2055
MISS JOYCE M ZINSMEISTER          C O ELLEN S KRAVITZ ESQ             655 THIRD AVE                                            NEW YORK        NY       10017‐5617
MISS JOYCE MAXSON                 80 WASHINGTON AVENUE                                                                         KINGSTON        NY       12401‐4834
MISS JOYCE PARKINSON              C/O J P WRABEL                      7 LINCOLN ST                                             WINDSOR LOCKS   CT       06096‐2718
MISS JOYCE S COSGROVE             318 S ALBANY ST                                                                              ITHACA          NY       14850‐5406
MISS JOYCE T BOLTON               364 TRENSCH DRIVE                                                                            NEW MILFORD     NJ       07646‐1046
MISS JUANITA S TOWNSEND           2725 NW 19TH ST                                                                              OKLAHOMA CITY   OK       73107‐3940
MISS JUDIE BERGMAN                ATTN JUDY FRIEDBERG CHESSIN         184 OLD WESTBURY RD S                                    OLD WESTBURY    NY       11568‐1100
MISS JUDITH A MAIERS              6151 INDIAN TRAIL                                                                            WESTCHESTER     OH       45069‐1277
MISS JUDITH ANN BIRNBAUM          2301 DAWN WAY                                                                                PHOENIXVILLE    PA       19460‐1861
MISS JUDITH ANN ETUE              2117 SW 110TH ST                                                                             GAINESVILLE     FL       32607‐6701
MISS JUDITH ANN MC CARTNEY        3126 STONEBRIDGE RD SW                                                                       ROANOKE         VA       24014
MISS JUDITH ANN OBRIEN            PO BOX 116                          158 WESTCHESTER AVE                                      VERPLANCK       NY       10596
MISS JUDITH ANN PURCELL           C/O MRS J ASTE                      29 BONNETT AVE                                           LARCHMONT       NY       10538‐3204
MISS JUDITH ANN SMITH             ATTN JUDITH ANN REDDING             29519 TERRA VISTA                                        FAIR OAKS RANCH TX       78015‐4542
MISS JUDITH ANN TOWNSEND          C/O J A HALEY                       2167 ANN ST                                              CONCORD         CA       94520‐2222
MISS JUDITH ANN VOLK              2078 DUTTON MILL RD                                                                          NEWTOWN SQUARE PA        19073‐1017

MISS JUDITH ANNE GALLES           P O DRAWER 1008                                                                              TAOS               NM    87571‐1008
MISS JUDITH ANNE KUCHTA           4232 N OCEAN DR                                                                              HOLLYWOOD          FL    33019‐4000
MISS JUDITH C SYLVIA              ATTN MRS JC THURWANGER              550 NOME STREET                                          AURORA             CO    80010‐4740
MISS JUDITH D BURGHARDT           6902 CLIO RD                                                                                 FLINT              MI    48504‐1531
MISS JUDITH E HAYWARD             2595 S GILPIN                                                                                DENVER             CO    80210‐5134
MISS JUDITH E RAUCH               APT 2X                              245 RUMSEY ROAD                                          YONKERS            NY    10701‐4529
MISS JUDITH G GREENBAUM           C/O JUDITH G NEIGOFF                19675 N OVERTON COURT                                    SURPRISE           AZ    85374‐2058
MISS JUDITH GENT                  C/O JUDITH G TREMBLAY               204 DAUDELIN              DUNHAM QC    J0E 1M0 CANADA
MISS JUDITH GESCHEIT              109‐05 72ND AVE                                                                              FOREST HILLS       NY    11375‐4853
MISS JUDITH H KAHN                14405 MARINE DR                                                                              SILVER SPRING      MD    20905‐5923
MISS JUDITH HARRIS JOHNSON        1235 W HENDERSON ST                                                                          SALISBURY          NC    28144‐2403
MISS JUDITH K ADAMSON             409 BOYNTON AV                                                                               BERKELEY           CA    94707‐1701
MISS JUDITH K CORWIN              108 TERRACE DR                                                                               CHATHAM            NJ    07928‐5000
MISS JUDITH L BRUNO               1526 WATOVE ROAD                                                                             TOLEDO             OH    43614‐4019
MISS JUDITH L JONES               107 MARIONDALE DR                                                                            PLANTSVILLE        CT    06479‐1214
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Name                                               Address1                            Address2                  Address3          Address4          City              State Zip

MISS JUDITH M TARDY                                17 FOWLER COURT                                                                                   SAN RAFAEL        CA    94903‐3219
MISS JUDITH POLONSKY                               18 BIRCHWOOD CIR                                                                                  SHARON            MA    02067‐2353
MISS JUDY ANDREWS & FRANCES ANDREWS JT TEN         325 STOKES LANDING ROAD                                                                           SAINT AUGUSTINE   FL    32095‐8315

MISS JUDY E SCOTT                                  125 BRANT ISLAND ROAD                                                                             MATTAPOISETT      MA    02739‐1754
MISS JUDY FORREST                                  10 SO PIERSON RD                                                                                  MAPLEWOOD         NJ    07040‐3409
MISS JUDY GOLDBERG                                 PO BOX 15                                                                                         LEE VINING        CA    93541‐0015
MISS JUDY J FERRIS                                 5033 HASTINGS ST                                                                                  METAIRIE          LA    70006‐2537
MISS JUIN RICKARD                                  1201 BROADWAY                       APT 1327                                                      MILLBRAE          CA    94030‐1957
MISS JULE DAMERY                                   1266 N 2400 EAST RD                                                                               ASSUMPTION        IL    62510‐8013
MISS JULI GRUNDFEST                                1221 WESTPARK DR                                                                                  LITTLE ROCK       AR    72204‐2458
MISS JULIA A WALAG & STANLEY J WALAG JT TEN        1252 ELM ST                                                                                       W SPRINGFIELD     MA    01089‐1834
MISS JULIA BERENBAUM                               C/O JULIA BERENBAUM WENGER          320 HIDDEN TRAIL          WILLOWDALE ON     M2R 3R8 CANADA
MISS JULIA BRIGID GILL                             232 GLADSTONE WAY                                                                                 BEAR              DE    19701‐3516
MISS JULIA C CLEVELAND                             7311 NICHOLS ROAD                                                                                 OKLAHOMA CITY     OK    73120‐1210
MISS JULIA C DETWILER                              153 ELLERY ROAD                                                                                   ROCHESTER         NY    14612‐2978
MISS JULIA EILEEN CONNOLLY                         655 PARKER ST                                                                                     NEWARK            NJ    07104‐2221
MISS JULIA ELIZABETH WRIGHT                        23 GREEN ST                                                                                       WOODSTOWN         NJ    08098‐1135
MISS JULIA M PALCIC                                C/O JULIA M PATEL                   21306 CHINA ASTER CT                                          GERMANTOWN        MD    20876‐5933
MISS JULIA M WALKER                                PO BOX 50181                                                                                      MIDWEST CITY      OK    73140‐5181
MISS JULIA PAPPAS                                  30 OLIVER ST                                                                                      RANDOLPH          MA    02368
MISS JULIA PINKASEWICZ                             APT 622                             753 JAMES ST                                                  SYRACUSE          NY    13203‐2151
MISS JULIA SAGEVICH                                503 LINE RD                                                                                       MATAWAN           NJ    07747‐1243
MISS JULIA SOLANCIS                                133 WHITETAIL DR                                                                                  SCRANTON          PA    18504‐1053
MISS JULIANNE MARIE HECTOR                         C/O BRADSHAW                        3915 NW ECHO CRT                                              PORTLAND          OR    97229
MISS JULIANNE W KIDD                               3102 BURKE MILL CT                                                                                WINSTON SALEM     NC    27103‐5765
MISS JULIE A BROWN                                 521 UTLEY DRIVE                                                                                   GOODLETTSVILLE    TN    37072‐1305
MISS JULIE ANN MC GRATH                            3900 LAKE SHORE DR APT 20K                                                                        CHICAGO           IL    60613‐3458
MISS JULIE BETH SANGER                             ATTN JULIE BETH SANGER              802 N 4TH AVENUE                                              MAYWOOD           IL    60153‐1023
MISS JULIE CATHERINE RUGG                          BOX 472                                                                                           ATHENA            OR    97813‐0472
MISS JULIE MYERS                                   ATTN JULIE PRATHER                  24 WEMBLEY AVE            UNIONVILLE ON     L3R 2A9 CANADA
MISS JULIE R WINE                                  234 EUREKA ST                                                                                     SAN FRANCISCO     CA    94114‐2437
MISS JULIE ROUNTREE                                15060 BLUFF ROAD                                                                                  PRAIRIEVILLE      LA    70769‐3114
MISS JULIETTE KRAUSE                               26 CEDARS RD HAMPTON                WICK SURREY               KTI 4BE ENGLAND   GREAT BRITAIN
MISS JUNE L CASSADA & RAY L CASSADA JT TEN         3412 BUTLER DR                                                                                    MUSKEGON          MI    49441‐4239
MISS JUNE M BUSH                                   12115 69 AVE N                                                                                    SEMINOLE          FL    33772‐5631
MISS K GRACE ENGELER                               8100 CONNECTICUT AVE                APT #1519                                                     CHEVY CHASE       MD    20815
MISS KAMILE J MICHALOWSKI                          57 GRAFTON ST                                                                                     BROCKTON          MA    02301‐5121
MISS KARA LEE ERNST & WILLIAM JAMES ERNST JT TEN   636 HIGHWAY J                                                                                     NEW FLORENCE      MO    63363‐2806

MISS KAREN A CLEVEN                                99 LOG CABIN LANE                   NEVO                                                          NEBO              NC    28761
MISS KAREN ANN KOZLEVCAR & MRS GERALDINE           323 DELAWARE ST                                                                                   FOREST CITY       PA    18421‐1403
KOZLEVCAR JT TEN
MISS KAREN ANN ROETZER                             C/O ZIMMERMAN                       10301 NW 50TH CT                                              CORAL SPRINGS     FL    33076‐1739
MISS KAREN BOWEN BROWN                             2604 LEE STREET RD                                                                                AMERICUS          GA    31709‐9607
MISS KAREN FLACK                                   C/O BONNELL                         94 WOODLAND RD                                                MONTVALE          NJ    07645‐1332
MISS KAREN G PRESSBURGER                           5610 WILLOW LN                                                                                    DALLAS            TX    75230‐2148
MISS KAREN J SHAPIRO                               C/O GREEN                           3220 E POINSETTIA DRIVE                                       PHOENIX           AZ    85028‐1300
MISS KAREN JEAN THOMAS                             ATTN KAREN JEAN BERGER              725 N GRANADOS                                                SOLANA BEACH      CA    92075‐1220
MISS KAREN LEE DULUK                               C/O KAREN L KELLY                   1649 WHITE ASH DR                                             CARMEL            IN    46033‐9738
MISS KAREN LOUISE NIGRISS                          4622 WILLIAMSPORT RD                                                                              MONONGAHELA       PA    15063‐4613
MISS KAREN LUCARELLI                               87 EDWARDS ROAD                                                                                   CLIFTON           NJ    07013‐4003
MISS KAREN MARIE DOLAN                             ATTN KAREN MARIE LANCASTER          5810 ARGYLE WAY                                               RIVERSIDE         CA    92506‐3511
MISS KAREN MARIE LEIGHLY                           1004 GOLDEN EAGLE DR                                                                              NORMAN            OK    73072‐8172
MISS KAREN MARIE ROBERTSON                         6195 WHITE SANDS DR                                                                               OTTER LAKE        MI    48464‐9725
MISS KAREN MC KNIGHT                               375 MANN RD                                                                                       TYRONE            GA    30290‐1515
MISS KAREN MC NEARNY                               1535 BRIERCLIFF DR                                                                                ORLANDO           FL    32806‐1443
MISS KAREN MICHELLE DREXLER                        ATTN KAREN MICHELLE MORCHY          21901 ANNETTE AVE                                             LAKE FOREST       CA    92630‐1812
MISS KAREN SAUM                                    28707 N 107TH ST                                                                                  SCOTTSDALE        AZ    85262
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Name                                               Address1                             Address2                  Address3     Address4          City             State Zip

MISS KAREN SUE ANDERSON                            5250 PINETREE DRIVE                                                                           RAPID CITY       SD    57702‐9271
MISS KAREN SUE GALLES                              ATTN KAREN G MISCHE                  4030 WEST 104TH TERRACE                                  OVERLANDPARK     KS    66207‐4007
MISS KAREN WHITFIELD & MRS PATRICIA WHITFIELD JT   11556 MC DONALD ST                                                                            CULVER CITY      CA    90230‐6072
TEN
MISS KARIN D COOK & MRS DIANNE COOK JT TEN         13144 LINCOLN                                                                                 HUNTINGTON       MI    48070‐1436
                                                                                                                                                 WOODS
MISS KARIN LEE THEURER                             11 HUNT CLUB DR                                                                               HONEOYE FALLS    NY    14472‐9121
MISS KARREN L KARTELL                              PO BOX 187                                                                                    NORTH PEMBROKE   MA    02358‐0187

MISS KATE ELIZABETH MC CARTY                       PO BOX 2651                                                                                   MADISON          MS    39130‐2651
MISS KATHARINA KANTOR                              C/O MRS H ROSEN                      120 BARRACUDA RD                                         MANAHAWKIN       NJ    08050‐1201
MISS KATHARINE DOUGLAS                             MISBOURNE COTTAGE                    DENHAM VILLAGE BUCKS                   GREAT BRITAIN
MISS KATHERINE A BODNAR                            39 LUKE DR                                                                                    PASADENA         MD    21122‐4511
MISS KATHERINE A MAROOSIS                          ATTN KATHERINE A GREEN               235 STONEMANOR AVE        WHITBY ON    L0B 1B0 CANADA
MISS KATHERINE ANN HALL                            C/O K GRATKE                         3207 ARBORDALE COURT                                     MADISON          WI    53713‐2827
MISS KATHERINE ANN RYAN                            1690 N ALTADENA DR                                                                            ALTADENA         CA    91001‐3623
MISS KATHERINE F GORMAN                            3 HIGH ST EXT                                                                                 ASHLAND          MA    01721‐1430
MISS KATHERINE H TEMPLE                            70 WEBB AVE                                                                                   OCEAN GROVE      NJ    07756
MISS KATHERINE LEWIS                               1218 GLENCOE AVE                                                                              HIGHLAND PARK    IL    60035‐4008
MISS KATHERINE P GIFFORD                           393 VISCHERS FERRY RD                ORONACAH FARM                                            ELNORA           NY    12065‐1609
MISS KATHERINE RAY BOROWITZ                        923 PRESIDENT ST                                                                              BROOKLYN         NY    11215‐1603
MISS KATHERINE TINNESZ                             21 STUYVESANT OVAL                                                                            NEW YORK         NY    10009‐2032
MISS KATHERINE V MORIARTY & MISS MARY L            74 WEYMOUTH ST                                                                                SPRINGFIELD      MA    01105
MORIARTY JT TEN
MISS KATHERINE WARCH & MRS ANNA WARCH JT TEN       13 GLENWOOD LN                                                                                SUSSEX           NJ    07461‐4309

MISS KATHLEEN A BURKE                              APT 1                                4282 HOWARD AVE                                          LOS ALAMITOS     CA    90720‐3726
MISS KATHLEEN A CLARKE                             3977 APPLEWOOD LN                                                                             KETTERING        OH    45429‐1622
MISS KATHLEEN A CURRAN                             4825 S DESERT SUNSET DR                                                                       GREEN VALLEY     AZ    85614‐5805
MISS KATHLEEN A KILEY                              8801 W 86TH ST                                                                                INDIANAPOLIS     IN    46278‐1023
MISS KATHLEEN A MC CARTHY                          3808 LONG MEADOW DR                                                                           ARLINGTON        TX    76015‐4041
MISS KATHLEEN A TIERNEY                            317 67TH STREET                                                                               NEWPORT NEWS     VA    23607‐1801
MISS KATHLEEN ANDERSON                             9 KEYSTONE COURT                                                                              WILMINGTON       DE    19808‐4362
MISS KATHLEEN ANN MURPHY                           974 KENNETT WAY                                                                               WEST CHESTER     PA    19380‐5724
MISS KATHLEEN ANN VISOVATTI                        9501 HAVERSTICK RD                                                                            INDPLS           IN    46240‐1320
MISS KATHLEEN BOYLE                                5320 FRANCISCA WAY                                                                            AGOURA HILLS     CA    91301‐5202
MISS KATHLEEN BRADLEY                              APT B                                5605 SW 80TH ST                                          MIAMI            FL    33143‐5672
MISS KATHLEEN BRESSLER                             1049 STRATFORD CT                                                                             LOVELAND         OH    45140‐8238
MISS KATHLEEN E FLANNERY                           182 NEWTOWN LN                                                                                EAST HAMPTON     NY    11937‐2448
MISS KATHLEEN HARRIS & MISS JANE HARRIS JT TEN     13730 86TH AVE                                                                                CHIPPEWA FLS     WI    54729‐8834

MISS KATHLEEN KOTELES                              9050 AVERY ROAD                                                                               BROADVIEW        OH    44147‐2508
                                                                                                                                                 HEIGHTS
MISS KATHLEEN M HANSON                             10207 N ST RD 37                                                                              ELWOOD           IN    46036‐9000
MISS KATHLEEN M PARKER                             101 PINE ST                                                                                   BERLIN           MD    21811‐1123
MISS KATHLEEN MARY MALTESE                         1720 W CHASE AVE                                                                              CHICAGO          IL    60626‐2414
MISS KATHLEEN MC CABE                              3345 NEVADA AVE                                                                               CRESTON          IA    50801‐7504
MISS KATHLEEN MC GINTY                             650 CHESTER ST                       PETERBOROUGH ON                        K9J 3B9 CANADA
MISS KATHLEEN OCONNOR                              1415 MYERS PARK DR                                                                            CHARLOTTE        NC    28207‐2667
MISS KATHLEEN TRAUTMAN                             4421 CUSHING ST                                                                               METAIRIE         LA    70001‐3403
MISS KATHLEEN WHITE                                37033 BONE MESA RD                                                                            PAONIA           CO    81428‐6404
MISS KATHLYN A MC CONNELL                          7261 ESTRELLA DE MAR                                                                          CARLSBAD         CA    92009‐6720
MISS KATHLYN PITTMAN                               140 N PEAK STREET                                                                             COLUMBUS         NC    28722‐8710
MISS KATHRYN ANN HOSBACH                           ATTN KATHRYN A BROWN                 2200 W SAGINAW HWY A2                                    GRAND LEDGE      MI    48837
MISS KATHRYN ANN RICHARDSON                        90 HIGHGATE TERR                                                                              BERGENFIELD      NJ    07621‐3922
MISS KATHRYN FRANCES LA FORGIA                     17 LYNWOOD ROAD                                                                               SCARSDALE        NY    10583‐3601
MISS KATHRYN J ARCHIBALD                           R R 4 NORTH RIVER                    CORNWALL PE                            C0A 1H0 CANADA
MISS KATHRYN L MC CARTHY                           3600 N HORSEBACK TRL                                                                          TUCSON           AZ    85745‐8922
MISS KATHRYN L TUPPER                              3901 WHITLAND AVE #24                                                                         NASHVILLE        TN    37205‐1944
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Name                                                Address1                             Address2                 Address3         Address4          City              State Zip

MISS KATHRYN M UREY                                 121 E CHESTNUT ST                                                                                GROVE CITY        PA    16127‐1719
MISS KATHRYN P HARE                                 2815 BYBERRY RD                      APT 332                                                     HATBORO           PA    19040‐2822
MISS KATHRYN SCHNEIDER                              134 WINDING WAY                                                                                  CAMILLUS          NY    13031‐1438
MISS KATHY ANNE HAGERMAN                            ATTN KATHY H HANNAH                  2559 HILLBROOK PARKWAY                                      OWENSBORO         KY    42303‐4504
MISS KATHY H KANE                                   416 W MEADOW AVE                                                                                 RAHWAY            NJ    07065‐2513
MISS KATHY JONES                                    107 DEEPDENE RD                                                                                  BALTIMORE         MD    21210
MISS KATHY L WOOD                                   1245 SOUTH MAPLE #206                                                                            ANN ARBOR         MI    48103‐4470
MISS KATHY MC LAUGHLIN                              5631 MUDDY CREEK RD                                                                              CINCINNATI        OH    45238‐1830
MISS KATHY VILLANI                                  840 CAMBRIDGE RD                                                                                 RIVER VALE        NJ    07675‐6649
MISS KATRINA VON STADEN                             138 E BLITHEDALE                                                                                 MILL VALLEY       CA    94941‐2026
MISS KAY ELLEN ACKERMAN                             6232 GREENBRIAR TERRACE                                                                          FAYETTEVILLE      PA    17222‐9673
MISS KAY FAY WEXLER                                 APT 201                              2501 CALVERT ST NW                                          WASHINGTON        DC    20008‐2604
MISS KAY M COHEN                                    12344 GREENSPRING AVE                                                                            OWINGS MILLS      MD    21117‐1650
MISS KAY REED GOODSILL                              11121 DELL AVE                                                                                   FORESTVILLE       CA    95436‐9739
MISS KELLIE LINNE PERKINS                           7905 DURGANS HILL CT                                                                             FORT WORTH        TX    76137‐4981
MISS KELLY SMITH                                    62 SHIRE CT                                                                                      HILLSBOROUGH      NJ    08844‐1425
MISS KERRY LYNN ADAMS                               14 ADDISON DR                        ST CATHARINE                              L2S 4B7 CANADA
MISS KERRY MAY HOLLINGER                            2 RUE MONCEY                         75009 PARIS                               FRANCE
MISS KERRY SKAK BELL & BETTY PETERSON BELL JT TEN   915 SUNSET DR                                                                                    SPEARFISH         SD    57783‐1632

MISS KEVIN C GALE                                   ATTN KEVIN GALE PALAZETI             41 SCANDIA HILL NW       CALGARY AB       T3L 1T8 CANADA
MISS KIM ALISA MERSAND                              23137 L ERMITGE CIRCLE                                                                           BOCA RATON        FL    33433‐7154
MISS KIM RACKELL                                    ATTN DR KIMBERLY MCKELL              110 REED BLVD                                               MILL VALLEY       CA    94941‐2409
MISS KIMBERLY A WILLARD                             C/O GRACE JACOBS                     5052 COUNTRY PLACE                                          WAUKEGAN          IL    60087‐5336
MISS KIMBERLY FAITH SPIKER                          13412 KINGHAM PL                                                                                 MIDLOTHIAN        VA    23114‐5518
MISS KIMBERLY P BOYER                               ATTN KIMBERLY P KISEL                60 BEECH FERN DR         STITTSVILLE ON   K2S 1E3 CANADA
MISS KITTY COBURN                                   77 7TH AVE APT 18U                                                                               NEW YORK          NY    10011‐6639
MISS KRISTEN ULLRICH                                8386 S DAVCO DR                                                                                  MORRISON          CO    80465‐2501
MISS KRISTIN L ANDERSON                             34 KELWYN DR                                                                                     SOMERSWORTH       NH    03878‐1301
MISS KRISTIN OSTERBERG                              44 KANE AVE                                                                                      LARCHMONT         NY    10538‐3547
MISS KUNIYE MORIMOTO                                2044 FAIRCHILD                                                                                   LODI              CA    95240‐6348
MISS LARAINE FRIEDMAN                               10205 COLLINS AV                     APT 604                                                     BAL HARBOUR       FL    33154‐1427
MISS LAURA A RAIS                                   60 SASAPEQUAN PL                                                                                 FAIRFIELD         CT    06824‐7241
MISS LAURA ANN KANTAKIS                             77 PROSPECT AVE #25                                                                              HACKENSACK        NJ    07601‐1908
MISS LAURA ANN LEAVITT                              712 LYONS CRT LN                                                                                 CHARLOTTESVILLE   VA    22902‐4314

MISS LAURA E GILLIAM                                3301 STEPHENSON PL NW                                                                            WASH              DC    20015‐2451
MISS LAURA ELLEN SEGAL                              PO BOX 4765                                                                                      CULVER CITY       CA    90231‐4765
MISS LAURA GOLDBERGER                               APT 1‐C                              88‐20 WHITNEY AVE                                           ELMHURST          NY    11373‐3432
MISS LAURA H KAWECKI                                ATTN HARDING                         3624 TUCKAHOE RD                                            BLOOMFIELD        MI    48301‐2456
                                                                                                                                                     VILLAGE
MISS LAURA H MORRISON                               BOX 234                                                                                          BARNEGAT          NJ    08005‐0234
MISS LAURA J BOLTON                                 2 OLD FARM ROAD                                                                                  HAMPTON           NJ    08827‐4104
MISS LAURA J CLINE                                  C/O LAURA CLINE SADTLER              340 S FOURTH ST                                             PHILADELPHIA      PA    19106‐4217
MISS LAURA J POYZER                                 PO BOX 126                                                                                       SODUS POINT       NY    14555‐0126
MISS LAURA M BONDI                                  9 BLANCHARD ROAD                                                                                 CAMBRIDGE         MA    02138‐1043
MISS LAURA MARGARET BIRKHOFER                       3317 TICE CREEK DR 6                                                                             WALNUT CREEK      CA    94595‐3729
MISS LAURA R ROVER                                  272 TOWER RD                                                                                     JAMESTOWN         PA    16134‐9601
MISS LAURA S HOLLY                                  148 RIDGEDALE AVE                                                                                FLORHAM PARK      NJ    07932‐1724
MISS LAURA SHEFFET                                  827 EAGLE RIDGE RD                                                                               CEDAR FALLS       IA    50613‐1576
MISS LAURA ULLRICH                                  537 E BEAVER ST                                                                                  BELLEFONTE        PA    16823
MISS LAURA WHITE                                    21 RENEE DR                                                                                      WAKEFIELD         MA    01880‐1220
MISS LAURA WOLINETZ                                 67 SEARINGTOWN RD N                                                                              SEARINGTOWN       NY    11507‐1107
MISS LAUREL A DAHLMAN                               1228 SOUTHERN AVE                                                                                KALAMAZOO         MI    49001‐4339
MISS LAUREN ANNE KOLLER                             8 CORRIGAN LANE                                                                                  GREENWICH         CT    06831‐2904
MISS LAUREN MERLE PACHMAN                           418 CENTRAL AVE                                                                                  WILMETTE          IL    60091‐1944
MISS LAUREN YEE                                     225 SHOREVEIW CIRCLE                 WINDSOR ON                                N8P 1M7 CANADA
MISS LAURETTA SILVERI                               1427 THATCHER                                                                                    RIVER FOREST      IL    60305‐1025
MISS LAURIE A CROSSLAND                             1511 MIDLAND BEAVER RD                                                                           INDUSTRY          PA    15052‐1403
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Name                                            Address1                               Address2                 Address3                    Address4          City               State Zip

MISS LAURIE C MAC HARG                          9226 VERNON DR                                                                                                GREAT FALLS        VA    22066‐2220
MISS LAURIE DIANE COPP                          PO BOX 20114                                                                                                  SARASOTA           FL    34276‐3114
MISS LAURIE H BOOTH                             21 MORRISON AVE                                                                                               PLATTSBURGH        NY    12901‐1417
MISS LAURINDA LEE GOOD                          ATTN HURFORD                           GLENMARLE                139 ROSEMONT‐RINGOES ROAD                     STOCKTON           NJ    08559‐1419
MISS LEAH JANE WEBSTER                          ATTN MRS LEAH W BOATRIGHT              3836 ARBORLAWN DR                                                      FORT WORTH         TX    76109‐3305
MISS LEATHA ANNE KIESER                         831 DIAMOND ST                                                                                                WILLIAMSPORT       PA    17701‐4300
MISS LEE C MC CARTHY                            410 PARK TRAIL LN                                                                                             HOUSTON            TX    77007
MISS LEE ELLEN HIGMAN                           1631 OXFORD                                                                                                   CLAREMONT          CA    91711‐3464
MISS LELIA C MARTIN                             C/O LELIA WOOD SMITH                   THE BEECHWOODS           2175 WESTCHESTER AVE                          RYE                NY    10580‐1981
MISS LELIA E GARDINER                           ATTN LELIA LAPERRIERE                  14610 SCOTT CIRCLE                                                     CYPRESS            TX    77429‐3309
MISS LENA LAMANNA & MISS LAURA LAMANNA JT TEN   598 E JOHN ST                                                                                                 LITTLE FALLS       NY    13365‐1529

MISS LENA NERI & MISS ROSE B NERI JT TEN        131 MAIN ST                                                                                                   MILLBURY           MA    01527‐2036
MISS LENA NIGRELLI                              132‐37 60TH AVE                                                                                               FLUSHING           NY    11355‐5249
MISS LEONA BRICHACEK                            APT 313                                1301 CAMBRIDGE ST                                                      HOPKINS            MN    55343‐1921
MISS LEONA E CHARTIER                           C/O LEO E LAPOINTE                     PO BOX 374                                                             NORTH              CT    06359‐0374
                                                                                                                                                              STONINGTON
MISS LESLEE ANNE FISHER                         532 RIVERFRONT WAY                                                                                            KNOXVILLE          TN    37915
MISS LESLEY M RUPPEL                            ATTN L WEIRICH                         209 S STEWART                                                          LOMBARD            IL    60148‐2760
MISS LESLIE A HODGES                            41 LAKESIDE DRIVE                                                                                             GREENBELT          MD    20770‐1973
MISS LESLIE A ZHEUTLIN                          APT 3                                  56 CONCORD AVENUE                                                      CAMBRIDGE          MA    02138‐2344
MISS LESLIE ABRAMS                              18151 NE 31ST CT #904                                                                                         AVENTURA           FL    33160‐2600
MISS LESLIE ANN GARYCH                          1640 HANOVER ST                                                                                               YORKTOWN           NY    10598‐4710
                                                                                                                                                              HEIGHTS
MISS LESLIE CATTAR                              3720 BAYSIDE CIRCLE                                                                                           MONROE             LA    71201‐2147
MISS LESLIE INGHAM                              332 PARK AVE                                                                                                  SOUTH HAVEN        MI    49090‐1027
MISS LESTER ANN GROCE                           14515 CLAYCROFT CT                                                                                            CYPRESS            TX    77429‐1890
MISS LIESELOTTE BRANDES                         APT 3‐P                                220 EAST 63RD ST                                                       NEW YORK           NY    10021‐7650
MISS LILLIAN A LUKSIS                           135 SEWALL ST                                                                                                 BOYLSTON           MA    01505‐1727
MISS LILLIAN C J CHRISTIANSEN                   3080 PALMER SQ                                                                                                CHICAGO            IL    60647
MISS LILLIAN E GOLDMAN                          36 JESSICA DR APT GT 2H                                                                                       STOUGHTON          MA    02072‐6101
MISS LILLIAN ETHEL WILLSON                      270 STRASBOURG DR                      DOLLARD‐DES‐ORMEAUX QC                               H9G 1R8 CANADA
MISS LILLIAN GANG                               1050 GUILDFORD C                                                                                              BOCA RATON         FL    33434‐2958
MISS LILLIAN MONTAG                             615 N PIKE RD                          # 207                                                                  CABOT              PA    16023‐2215
MISS LINDA ABEL                                 1733 N 73RD COURT                                                                                             ELMWOOD PARK       IL    60707‐4210
MISS LINDA ANN APGAR                            67 MILL RD                                                                                                    MORRIS PLAINS      NJ    07950‐1632
MISS LINDA ANN HUNT                             145 PEARL CROFT RD                                                                                            CHERRYHILL         NJ    08034‐3337
MISS LINDA ANNE STOKES                          C/O MS LINDA S LOY                     1611 CANTRILL DR                                                       LEXINGTON          KY    40505‐2815
MISS LINDA BENESCH                              8307 BURNING WOOD RD                                                                                          PIKESVILLE         MD    21208‐1710
MISS LINDA CHAU                                 C/O MRS LINDA LEE                      442 E 20TH ST 7‐B                                                      NY                 NY    10009‐8124
MISS LINDA DIANE POWELL & CHARLOTTE M POWELL JT ATTENTION LINDA P BROWN                10 CIRLCE DR                                                           WILMINGTON         DE    19804‐2926
TEN
MISS LINDA E CORNELIUS                          392 HOLMES RD                                                                                                 ROCHESTER          NY    14626‐3635
MISS LINDA F SUPANCIC                           2322 RAMM DR                                                                                                  ANAHEIM            CA    92804‐2322
MISS LINDA GAIL RODGERS                         ATTN LINDA G R PODGORSKI               4655 SARA LN                                                           METAMORA           MI    48455‐9750
MISS LINDA GAY GORTON                           1012 GEUEVA ST                                                                                                PEARCO             AZ    85625
MISS LINDA GAYLE WIGGANS                        C/O L W GODFREY                        8938 HENSLEY                                                           STERLING HEIGHTS   MI    48314‐2665

MISS LINDA J CLAUSS                             238 PACIFIC ST                                                                                                MASSAPEQUA PARK NY       11762‐2117

MISS LINDA JO TAYLOR                            ATTN LINDA JO STEVENS                  206 OAKWOOD DR                                                         WINDHAM            CT    06280‐1525
MISS LINDA KLINGELHOFER                         20564 FAIRWAY LANE                                                                                            GROSSE POINTE      MI    48236
MISS LINDA L CANFIELD                           695 HARVEST RD                                                                                                VALPARAISO         IN    46383‐6800
MISS LINDA L EASTON                             1150 CORNWALL LANE                                                                                            VENTURA            CA    93001‐4031
MISS LINDA L HARGETT                            C/O MRS L MAYFIELD                     3201 COLONY RD                                                         CHARLOTTE          NC    28211‐3207
MISS LINDA L LOMBARDI & DOROTHY E LOMBARDI JT   2909 LAND PARK DRIVE                                                                                          SACRAMENTO         CA    95818‐3421
TEN
MISS LINDA L WADIAN                             6896 BUGLEDRUM WAY                                                                                            COLUMBIA           MD    21045‐4611
MISS LINDA LEE HARPER                           915 60TH STREET WEST                                                                                          BRADENTON          FL    34209‐4129
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MISS LINDA LEE KERSEY                            3 MEMORIAL PARK AVE                                                                               ELYSBURG         PA    17824‐9677
MISS LINDA LEE KING                              ATTN LINDA LEE KING MCDANIEL        210 VIRGINIA AVE                                              PETERSBURG       WV    26847‐1716
MISS LINDA LEE WILLIAMS                          116 WOODY WAY                                                                                     OAKWOOD HILLS    IL    60013‐1135
MISS LINDA LEIGH BREWER                          C/O LINDA FENLON                    PO BOX 372                                                    WAYNESVILLE      OH    45068‐0372
MISS LINDA LOWDEN                                2783 BROWNFIELD WAY                                                                               SUMTER           SC    29150‐2254
MISS LINDA M EATON                               89 LITTLE YORK RD                                                                                 WARWICK          NY    10990‐2232
MISS LINDA M FERRER                              58 E 83RD ST APT 3B                                                                               NEW YORK         NY    10028‐1126
MISS LINDA M MACKEN                              3 RIVERSIDE DR                                                                                    NEWBURYP         MA    01951‐1348
MISS LINDA M OSTING                              1928 W WHITMAN CT                                                                                 ANTHEM           AZ    85086
MISS LINDA M WENTZ                               1305 STAUFFER RD                                                                                  PALM             PA    18070‐1022
MISS LINDA MARIE CLARK                           1127 DARTMOUTH ROAD                                                                               FLOSSMOOR        IL    60422‐1639
MISS LINDA MC ARTHUR                             C/O MRS LINDA JACKSON               PO BOX 999                 TERRACE BAY ON   P0T 2W0 CANADA
MISS LINDA R CROOKS                              711 PANORAMA DR                                                                                   COLORADO SPRINGS CO    80904‐1706

MISS LINDA R STONG                               2385 KIRKALDY COURT                                                                               DUBLIN           OH    43017
MISS LINDA RANELLE                               5724 LAKESIDE DR                                                                                  FORT WORTH       TX    76179‐6610
MISS LINDA S HOWARD                              10 RHEEM BLVD                                                                                     ORINDA           CA    94563‐3619
MISS LINDA SHIRK                                 C/O MRS LINDA S WOOD                7350 STONEYKIRK CLOSE                                         ATLANTA          GA    30350‐5529
MISS LINDA SUE FRIEDMAN                          107 RANDALL AVE                                                                                   PORT JEFFERSON   NY    11777‐1638
MISS LINDA SUE GROCE                             4102 POKOLODI CIRCLE                                                                              ADDISON          TX    75001‐3152
MISS LINDA SUE NADLER                            C/O L N SACKS                       2740 SECTION RD                                               CINCINNATI       OH    45237‐3714
MISS LINDESAY M CROOKS                           1950 STERLING PL                    APT 308                                                       HOOD RIVER       OR    97031‐8566
MISS LINE MAISONNEUVE                            132 BOUL LEVESQUE                   EST PONT VIAU              LAVAL QC         H7G 1C2 CANADA
MISS LISA ANN ROOT                               ATTN LISA ROOT MARSHALL             6301 POINTE NORTH DR                                          GRAND BLANC      MI    48439‐9582
MISS LISA BETH DRANOFF                           5 HUNTER RD                                                                                       MANCHESTER       CT    06040‐6316
MISS LISA HOFFMAN                                HERITAGE VILLAGE                    CONDOMINIUM #24            UNIT 5‐B                           SOUTHBURY        CT    06488
MISS LISA JANE LACLOCHE                          8045 LONG AVE                                                                                     SKOKIE           IL    60077‐2425
MISS LISA MARY HERRINGER                         34 BURWICK ST                                                                                     SUGAR LAND       TX    77479‐2996
MISS LISA MICHELLE GOLDMAN                       300 E 75TH ST                       APT 28M                                                       NEW YORK         NY    10021
MISS LISABETH MANOLIS                            APT 15A                             421 W MELROSE ST                                              CHICAGO          IL    60657‐3880
MISS LOIS A MORTON                               95 RIVERBANK DRIVE                                                                                STAMFORD         CT    06903‐3536
MISS LOIS A MUNDY & MRS FRANCES C MUNDY JT TEN   72 VERNIER ROAD                                                                                   GROSSE POINTE    MI    48236‐1517
                                                                                                                                                   SHRS
MISS LOIS ANN ALPERT                              1036 FLORIDA ST                                                                                  SAN FRANCISCO    CA    94110‐3437
MISS LOIS HARRIET LUBIN                           5461 S ELLIS                                                                                     CHICAGO          IL    60615‐5034
MISS LOIS HERMINE ALBERT                          C/O L A SHAFFER                    31 RICHEY PL                                                  TRENTON          NJ    08618‐5603
MISS LOIS I CUTTS                                 GENEVA HOUSE APT 306               323 ADAMS AVE                                                 SCRANTON         PA    18503‐1609
MISS LOIS MAY                                     ATTN LOIS MAY DOMMENGE             BOX 4174                                                      SARENT           TX    77404‐4174
MISS LOIS MYRNA WINSTON                           2 CLAREMONT DRIVE                                                                                MAPLEWOOD        NJ    07040‐2120
MISS LOIS NANCY MARS                              C/O L N FREEDMAN                   725 S ELISEO DRIVE APT 5                                      GREENBRAEERA     CA    94904‐2135
MISS LOIS R KOENIGER                              106 CHATEAU LATOUR DR                                                                            KENNER           LA    70065
MISS LOIS RABINOW                                 ATTN LOIS RABINOW ZEIDNER          19 PILGRIM RUN                                                EAST BRUNSWICK   NJ    08816‐3237
MISS LOIS W GREER                                 1000 BUCKINGHAM CIRCLE N W                                                                       ATLANTA          GA    30327‐2704
MISS LOIS WALDMAN                                 210 REDFERN DR                                                                                   LONGMEADOW       MA    01106‐1733
MISS LORETTA A BARNETT                            10421 EASTWOOD AVE                                                                               SILVER SPRING    MD    20901‐1904
MISS LORI ANNE TANNER                             PO BOX 41328                                                                                     TUCSON           AZ    85717‐1328
MISS LORNA C FITCH                                ATTN LORNA FITCH BROUCEK           297 MONTAGUE RD                                               SHUTESBURY       MA    01072‐9760
MISS LORNA S SCANLON                              13 MEDITERRANEAN CT                                                                              BARNEGAT         NJ    08005‐2519
MISS LORRAINE B KLEBECK                           2601 E OCEAN BLVD 611                                                                            LONG BEACH       CA    90803‐2504
MISS LORRAINE C MEYER & MISS JOSEPHINE E MEYER JT 1514 W LINDLEY AVE                                                                               PHILADELPHIA     PA    19141‐2236
TEN
MISS LORRAINE C PENNEY                            16 DUTCHER AVE                                                                                   PAWLING          NY    12564‐1311
MISS LORRAINE FAUCHON                             C/O LORRAINE F CHAMOUN             23769 POSEY LANE                                              WEST HILLS       CA    91304‐5237
MISS LORRAINE G WHITE                             64‐68 83RD PL                                                                                    MIDDLE VLG       NY    11379‐2435
MISS LORRAINE LANGZEMIS                           221 SHERIDAN AVE                                                                                 ROSELLE PARK     NJ    07204‐2422
MISS LORRAINE M KADULA                            291 DUNHAM PL                                                                                    GLEN ROCK        NJ    07452‐1229
MISS LOUISE A CUDDIHY                             650 VALLEY AVE                                                                                   YONKERS          NY    10703‐1631
MISS LOUISE A MITCHELL & MRS HARRIETT M MITCHELL 3028 N KEATING AVE                                                                                CHICAGO          IL    60641‐5231
JT TEN
                                               09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                 Address1                             Address2               Address3        Address4          City              State Zip

MISS LOUISE A MOMARY                                 157 ARLINGTON AVE                    PO BOX 364                                               HAWTHORNE         NJ    07507‐0364
MISS LOUISE A STUTZ                                  27 BENDING OAK DR                                                                             PITTSFORD         NY    14534‐3330
MISS LOUISE ANNE SHERFF                              6313 RIO OSO DR                                                                               RANCHO MURIETA    CA    95683‐9253

MISS LOUISE C MC CORD                                2051 RTE 7                                                                                    ANCRAM            NY    12502‐5325
MISS LOUISE CALLAHAN                                 580 MAIN ST                                                                                   WOBURN            MA    01801‐2924
MISS LOUISE CUKJATI                                  1441 SOUTH 68TH ST APT 418                                                                    WEST ALLIS        WI    53214‐4974
MISS LOUISE DE JARNETT JESSE                         PO BOX 86                                                                                     LIVELY            VA    22507‐0086
MISS LOUISE GRAHAM                                   7388 BRANDSHIRE LN                                                                            DUBLIN            OH    43017
MISS LOUISE M MC CONNELL                             2158 WOODWIND RD                                                                              OLIVENHAIN        CA    92024‐6433
MISS LOUISE MARIE LANGE                              1920 JEFFERSON AVE                                                                            NEW ORLEANS       LA    70115‐5617
MISS LOUISE NITTO                                    140 HEPBURN RD 6‐C                                                                            CLIFTON           NJ    07012‐2236
MISS LOUISE R BIBB                                   1545 DAIRY RD                                                                                 CHARLOTTESVILLE   VA    22903‐1303

MISS LOUISE ROSSI                                    139 CANTERBURY DR                                                                             LUNENBURG         MA    01462‐1470
MISS LOUISE S STORELLI                               6 GERHARD RD E                                                                                PLAINVIEW         NY    11803‐5502
MISS LUCIA ANSELOWICZ                                3159 GRAND BOULEVARD                                                                          BALDWIN           NY    11510‐4829
MISS LUCIANNE M BELANGER                             22 FORT ST                                                                                    CARIBOU           ME    04736‐1619
MISS LUCIENNE BILICKE                                5853 MEADOWBROOK LANE                                                                         RIVERSIDE         CA    92504‐1334
MISS LUCILE THOMPSON                                 105 FORREST AVE                      APT 24                                                   LOS GATOS         CA    95032‐4428
MISS LUCILLE DE COSTER                               3861 QUAIL HOLLOW DR                                                                          SALT LAKE CITY    UT    84109‐3839
MISS LUCILLE E ALVORD                                27 STEARNS ST                                                                                 NEWTON CENTRE     MA    02159‐2441
MISS LUCILLE JENKS                                   NARROWS GLEN                         8201 6TH AVE                                             TACOMA            WA    98406
MISS LUCILLE M FOX                                   912 BEVERLY DR                                                                                SYRACUSE          NY    13219‐2802
MISS LUCILLE PATERNIANI                              108 E RIDGE AVE                                                                               RIDGEFIELD        CT    06877‐4623
MISS LUCILLE S S LOUIS & MISS MILDRED LOUIS JT TEN   717 HONUA ST                                                                                  HONOLULU          HI    96816‐4905

MISS LUCRETIA STOICA                                 12550 LAKE AVE 1003                                                                           LAKEWOOD          OH    44107‐1569
MISS LUCY ANNA OHALLORAN                             ATTN MRS WYNMAN                      570 PARK AVE                                             NEW YORK          NY    10021‐7370
MISS LUCY BAYER                                      BOX 582                                                                                       BAY CITY          MI    48707‐0582
MISS LUCY CAMPBELL GRADDY                            ATTN LUCY GRADDY SMITH               4590 CLIFTON PIKE                                        VERSAILLES        KY    40383‐9525
MISS LUCY CERBONE                                    27 GRANDVIEW DRIVE                                                                            MT KISCO          NY    10549‐1829
MISS LUCY R VERRENGIA                                296 CHARLES ST                                                                                MALDEN            MA    02148‐6425
MISS LUCY RICCI                                      245 YORK AVE N W                                                                              WARREN            OH    44485‐2726
MISS LUCY VALLAR                                     C/O MRS L MARALDO                    94 KEWANEE RD                                            NEW ROCHELLE      NY    10804‐1336
MISS LUCY W ZIEL                                     ATTN JUDITH L HUNT                   4910 ASHTON CRT                                          MORGANTON         NC    28655‐7851
MISS LYDIA J BOYNTON                                 1122 EARL AVE                                                                                 SCHENECTADY       NY    12309‐5622
MISS LYDIA R REED                                    10 ALLDS STREET                      APARTMENT 312                                            NASHUA            NH    03060‐4780
MISS LYNDA EDITH SUMNER                              4031 WINCHESTER RD                                                                            WINSTON SALEM     NC    27106‐2939
MISS LYNN ALICE DUNN                                 C/O LYNN ALICE WENTWORTH             9660 FRENCHTOWN ROAD                                     GUYS MILLS        PA    16327‐4114
MISS LYNN D ROHRBACK                                 C/O MRS LYNN D R BAILEY              19306 67TH AVE SE                                        SNOHOMISH         WA    98296‐5347
MISS LYNN E WAHLERS                                  4595 E PORT CLINTON RD                                                                        PORT CLINTON      OH    43452‐3803
MISS LYNN FINLAYSON                                  5924 EAST LIME LAKE ROAD                                                                      CEDAR             MI    49621‐9721
MISS LYNN H MICHNOFF                                 72 RITA LANE                                                                                  JACKSON           NJ    08527‐2368
MISS LYNN LOUISE GRUNTHANER                          412 MONTROSE AVE                                                                              TAMPA             FL    33617‐4238
MISS LYNN MC KNIGHT                                  375 MANN ROAD                                                                                 TYRONE            GA    30290‐1515
MISS LYNNE R PICKENS                                 1481 HAMPTON GLEN CT                                                                          DECATUR           GA    30033‐2020
MISS LYNNE S ARNOLD                                  2313 PONDVIEW DR                                                                              KETTERING         OH    45440‐2320
MISS LYNNETTE M FISCHER                              ATTN LYNNETTE F HORCHER              1230 WILDROSE LN                                         LAKE FOREST       IL    60045‐3656
MISS M ELIZABETH ALEXANDER                           PO BOX 3188                                                                                   SAN ANGELO        TX    76902‐3188
MISS M PATRICIA PEDDICORD & MRS MARGARET M           12720 GREGORY ST #2                                                                           BLUE ISLAND       IL    60406‐2110
LOONEY JT TEN
MISS MABEL B SCHOLL                                  710‐B WOOTON CT                                                                               MANCHESTER        NJ    08759‐5201
MISS MACON SUE SANDERS                               C/O EVANS                            3517 SHADOW WOOD CT                                      MOBILE            AL    36693‐5401
MISS MADELINE COLOMBO                                128 S CLIFTON AVE                                                                             WILMINGTON        DE    19805‐2307
MISS MADELINE E YANDOW                               203 MAIN ST                                                                                   ESSEX JCT         VT    05452‐3125
MISS MADELINE J STURDIK                              816 E PRINCETON AVE                                                                           PALMERTON         PA    18071‐1413
MISS MADELINE LORRAINE WHITTEN                       12 CALLE DEL ARROYO                                                                           PLACITAS          NM    87043‐9408
MISS MAISIE ELAINE BUERK                             337 N SWINTON AVE                                                                             DELRAY BEACH      FL    33444‐2725
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Name                                          Address1                            Address2                    Address3   Address4          City             State Zip

MISS MARCELLA SLEZAK                          30 E ADAMS ST                       STE 1060                                                 CHICAGO          IL    60603‐5625
MISS MARCIA A BLOOM                           1509 18TH AVE E                                                                              SEATTLE          WA    98112‐2811
MISS MARCIA GAIL COHEN                        PO BOX 599                                                                                   REMSENBURG       NY    11960‐0599
MISS MARCIA HANESWORTH                        3116 WAREHAM ROAD                                                                            COLUMBUS         OH    43221‐2246
MISS MARCIA KANER                             440 EAST 79TH ST                                                                             NEW YORK         NY    10021‐1451
MISS MARCIA W MOORE                           C/O FITTS ROBERTS & CO              5718 WESTHEIMER #800                                     HOUSTON          TX    77057‐5732
MISS MARCY ASKIN                              C/O MARCY ASKIN MILLER              40 CENTRAL PARK SOUTH 10A                                NEW YORK         NY    10019‐1633
MISS MARGARET A BARRY                         350 LIVERMORE AVE                                                                            STATEN ISLAND    NY    10314‐2138
MISS MARGARET A CHAPP                         C/O WISNASKY                        110 N PARK                                               LOMBARD          IL    60148‐2223
MISS MARGARET A KEPPI                         955 ALLENDALE AVE                                                                            AKRON            OH    44306‐1934
MISS MARGARET A KRANZFELDER                   6201 N GLENWOOD AVE                 #2                                                       CHICAGO          IL    60660‐1807
MISS MARGARET A MC CARTHY                     ATTN HUGH J MCCARTHY ASO            19751 WILDWOOD DRIVE                                     WEST LINN        OR    97068‐2226
MISS MARGARET A STEVENS                       1581 SUSSEX TURNPIKE                                                                         RANDOLPH         NJ    07869‐1811
MISS MARGARET A STOBB                         2674 WINKLER AVE                    APT 108                                                  FORT MYERS       FL    33901‐9315
MISS MARGARET ANN BRYAN                       C/O M B CORDERO                     603 BURNINGTREE CT                                       MC KEESPORT      PA    15135‐2111
MISS MARGARET ANN KRUSE                       758 MARNEY L 11                                                                              WATERLOO         IL    62298‐3253
MISS MARGARET ANN OCONNOR                     29 SEAGRAVE ROAD                                                                             CAMBRIDGE        MA    02140‐1640
MISS MARGARET ANN STAPLETON                   611 8TH ST                                                                                   WAUPACA          WI    54981‐1616
MISS MARGARET ANN WAYNE                       3863 UTAH PL                                                                                 SAINT LOUIS      MO    63116‐4832
MISS MARGARET ANNE COOPER                     742 SAN JUAN LN                                                                              PLACENTIA        CA    92870‐6223
MISS MARGARET ANNE KELLY                      474 THIRD STREET                                                                             BROOKLYN         NY    11215‐2967
MISS MARGARET ANNE KUDA                       168 WOODFIELD CROSSING                                                                       ROCKY HILL       CT    06067‐2906
MISS MARGARET ANNE SHIRLEY                    PO BOX 700                          LUNENBURG NS                           B0J 2C0 CANADA
MISS MARGARET C VISENTIN                      43‐43 169TH ST                                                                               FLUSHING         NY    11358‐3246
MISS MARGARET DOGGETT                         1417 W SULLIVAN ST                                                                           KINGSPORT        TN    37660‐3138
MISS MARGARET E BRENNER                       C/O M B BUSHEY                      246 CONWAY ST                                            CARLISLE         PA    17013‐3601
MISS MARGARET E DEW                           PO BOX 22336                                                                                 NASHVILLE        TN    37202‐2336
MISS MARGARET E DUNLOP                        32 CUMBERLAND ST                                                                             BRUNSWICK        ME    04011‐1928
MISS MARGARET E GUINAN                        6465 BOUGHTON HILL RD                                                                        VICTOR           NY    14564‐9345
MISS MARGARET E WOODS                         20313 HELENIC DRIVE                                                                          OLYMPIA FIELDS   IL    60461‐1419
MISS MARGARET ELLEN OCONNOR                   473 WASHINGTON ST                                                                            WINCHESTER       MA    01890‐1335
MISS MARGARET ELLEN WHITE                     PO BOX 128                                                                                   ACCOMAC          VA    23301‐0128
MISS MARGARET EMOGENE LESH                    215 UPPER SHAD RD                                                                            POUND RIDGE      NY    10576‐2237
MISS MARGARET F KOCEVAR                       6101 CIDER PRESS RD                                                                          HARRISBURG       PA    17111
MISS MARGARET FLEMING BRUNS                   11247 RINEHART DR                                                                            WAYNESBORO       PA    17268‐9172
MISS MARGARET GAVALIER                        100 BRYN MAWR COURT W #209                                                                   PITTSBURGH       PA    15221‐3805
MISS MARGARET GEARY JOHNSON                   10 WALES COURT                                                                               ANNANDALE        NJ    08801‐3336
MISS MARGARET H DUNN                          436 EAST PALM AVENUE #208                                                                    BURBANK          CA    91501‐2076
MISS MARGARET H SAUL                          ROUTE 7                             57035 S COUNTY ROAD 13                                   ELKHART          IN    46516‐9718
MISS MARGARET HULL                            5841 GIRARD COURT                                                                            MINNIAPPOLIS     MN    55419‐2137
MISS MARGARET J HETHERINGTON                  16 LORCAN O'TOOLE PARK              KIMMAGE ROAD WEST           DUBLIN     12 IRELAND
MISS MARGARET J MARTIN                        12803 ASHFORD CREEK                                                                          HOUSTON          TX    77082‐2144
MISS MARGARET JO WADDELL                      1815 NORTHWESTERN AVE                                                                        AMES             IA    50010‐5047
MISS MARGARET KOHLER                          479 SUMMERHAVEN DR                  E SYRACUSE                                               EAST SYRACUSE    NY    13057
MISS MARGARET L BERNSTORFF & MISS ANITA D     1220 JUDSON AVE                                                                              EVANSTON         IL    60202‐1317
BERNSTORFF JT TEN
MISS MARGARET L HOWELL                        C/O ROMAN TORRES                    2209 W ELMORE                                            SEATTLE          WA    98199‐1243
MISS MARGARET L PAGE                          20 SMITH ST                                                                                  CHICOPEE FALLS   MA    01020‐2430
MISS MARGARET LEE FORD                        8533 MAJESTIC OAKS DR S                                                                      JACKSONVILLE     FL    32277‐2918
MISS MARGARET LOBERT                          C/O MARGARET L DELORME              34033 W GARDENIA                                         FRASER           MI    48026‐2008
MISS MARGARET LOUISE WILBURN                  C/O MRS M ROACH                     8004 JONQUIL DR                                          PLEASURE RIDGE   KY    40258‐2446
                                                                                                                                           PAR
MISS MARGARET M BROWNE                         4603A ADELAIDE DR                                                                           MOUNT LAUREL     NJ    08054‐1838
MISS MARGARET M CORBETT                        167 ELM ST                                                                                  HANOVER          MA    02339‐2807
MISS MARGARET M DEELY CUST JOSEPH L WELCH UGMA 10 JOHN ST                                                                                  RAYMOND          NH    03077‐1823
MA
MISS MARGARET M HAIN                           804 WEDGEWOOD DR                                                                            ERIE             PA    16505‐1152
MISS MARGARET M HICKEY                         200 NECK RD                                                                                 TIVERTON         RI    02878‐4010
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Name                              Address1                            Address2              Address3           Address4            City              State Zip

MISS MARGARET M LEWIS             APT 104                             2124 NE 56TH COURT                                           FORT LAUDERDALE   FL    33308‐2545

MISS MARGARET M POWERS            136 ARBORWAY                        APT 5                                                        JAMAICA PLAIN     MA    02130‐3521
MISS MARGARET MACK REED           216 BLOSSOM BRANCH DRIVE                                                                         HENDERSONVILLE    NC    28792‐2033
MISS MARGARET MARY BEVILACQUA     181‐25 TUDOR RD                                                                                  JAMAICA ESTATES   NY    11432‐1446
MISS MARGARET MC CALLUM           67 MERIDENE CR W                    LONDON ON                                N5X 2M2 CANADA
MISS MARGARET MIRIAM ULLE         2113 FOUNTING HILL DRIVE                                                                         TIMONIUM          MD    21093‐3321
MISS MARGARET NADOLSK             1558 STARLINE AVE                                                                                OSCEOLA           IA    50213‐8339
MISS MARGARET NORMOYLE            127 POST ST                                                                                      NEW YORK          NY    10034‐3523
MISS MARGARET P CURTIN            7 HOLLY LANE                                                                                     LATHAM            NY    12110‐5004
MISS MARGARET PASSIAKOS           8215 BENNINGTON DR                                                                               KNOXVILLE         TN    37909‐2304
MISS MARGARET PRATT               22 HICKORY AVE                                                                                   TAKOMA PARK       MD    20912‐4622
MISS MARGARET SIEPEL              110 S VIRGINIA ST                   APT 1                                                        PLYMOUTH          IL    62367‐1137
MISS MARGARET STUART LAIMBEER     ATTN RICHARD                        483 FENSALIR AVE                                             PLEASANT HILL     CA    94523‐1820
MISS MARGARET T HARRIS            9101 E PARKHILL DR                                                                               BETHESDA          MD    20814‐3946
MISS MARGARET T JOYCE             25 FIELDWOOD DRIVE                                                                               BRIDGEWATER       MA    02324‐2092
MISS MARGARET T SCHUMACHER        806 MILLER AVE                                                                                   JANESVILLE        WI    53545‐2339
MISS MARGARET V CASCARELLA        APT 22                              1755 N BERENDO                                               LA                CA    90027‐4128
MISS MARGARET V GREENE            PO BOX #901                                                                                      HALES CORNERS     WI    53130‐0901
MISS MARGARET WEBER               PO BOX 56                                                                                        FLEMING           PA    16835‐0056
MISS MARGARET WEISS               UNIT #1                             2472 OVERLOOK ROAD                                           CLEVELAND         OH    44106‐2493
                                                                                                                                   HEIGHTS
MISS MARGERY L AIGLER             1004 NORTHWEST ST                                                                                BELLEVUE          OH    44811‐1112
MISS MARGERY NEWCOMB              11519 CRESTLINE                                                                                  WASHINGTON        MI    48095
MISS MARGIT CARLSON               BOX 2116                                                                                         EVERETT           WA    98203‐0116
MISS MARGO C ALBANESE             107 MARIONDALE DR                                                                                PLANTSVILLE       CT    06479‐1214
MISS MARGO J FLEISHMAN            104 SOUTHLAKE RD                                                                                 COLUMBIA          SC    29223‐5911
MISS MARGO R GEORGE               PO BOX 21547                                                                                     OAKLAND           CA    94620‐1547
MISS MARGUERITE A LEWANDOWSKI     APT 10‐L                            444 EAST 82ND ST                                             NEW YORK          NY    10028‐5940
MISS MARGUERITE E LEAR            528 S MAIN ST APT 333                                                                            CLINTON           IN    47842‐2461
MISS MARGUERITE GREY LOGAN        92 DORN RD                                                                                       LAGRANGEVILLE     NY    12540
MISS MARGUERITE M FALLOON         16523 GARNET CT                                                                                  ORLAND PARK       IL    60467‐1471
MISS MARGUERITE MARY REILLY       APT 6B                              92 W 34TH ST                                                 BAYONNE           NJ    07002‐5802
MISS MARGUERITE MC LEAN           67 BROADWAY                                                                                      MALVERNE          NY    11565‐1648
MISS MARI MC GOWAN                ATT RD                              108 MOFF                                                     MAHWAH            NJ    07430
MISS MARIA CRISTINA FIRPI         COND CAPERRA CLASSIC APT#702        ORTEGON ST GUAYNABO                      966 PUERTO RICO
MISS MARIA H PERRY                3216 KADEMA DR                                                                                   SACRAMENTO        CA    95864‐6927
MISS MARIA K HAY                  507 EAST LYNN                                                                                    CANTON            SD    57013‐1017
MISS MARIA P COLONA               80 WELLINGTON BLVD                                                                               WYOMISSING        PA    19610‐1836
MISS MARIA PAGANO                 191‐04 FOOTHILL AVE                                                                              HOLLIS            NY    11423‐1255
MISS MARIA S MINKOFF              156 ELGIN ST                                                                                     NEWTON CENTRE     MA    02459‐2302
MISS MARIA THERESE JUANOLA        CALLE FUENTE 38                     17200 PALAFUGELL      PROVINCIA GERONA   SPAIN
MISS MARIAN E LEHTO               2325 NORTON                                                                                      ROCHESTER HILLS   MI    48307‐3768
MISS MARIAN H DOUGHERTY           3922 OLD DUNN RD                                                                                 APOPKA            FL    32712‐4787
MISS MARIAN J REES                7503 NE BAKER HILL RD                                                                            BAINBRIDGE IS     WA    98110‐2069
MISS MARIAN PROBST                APT 2‐A                             9 E 75TH ST                                                  NY                NY    10021‐2634
MISS MARIANN LYNETT               C/O M CAWLEY                        501 RACCON TRAIL                                             GREAT FALLS       VA    22066‐3604
MISS MARIANNE CARDILLO            C/O TRANI                           GLENBY LANE                                                  BROOKVILLE        NY    11545
MISS MARIE A PARSONS              27 ARTHUR LN                                                                                     SAUGERTIES        NY    12477‐5202
MISS MARIE ANN WILLIAMS           ATTN MAGENTA                        APT 2                 118 FORSYTH ST                         NEW YORK          NY    10002‐5175
MISS MARIE BAUER                  109 BANK ST                                                                                      BATAVIA           NY    14020‐2215
MISS MARIE C MANTLE               PO BOX 12                                                                                        LOWVILLE          NY    13367‐0012
MISS MARIE E ALBUE                226 S GRACE AVE                                                                                  LOMBARD           IL    60148‐2837
MISS MARIE E CONTORNO             30 AVE B                            W BABYLON                                                    WEST BABYLON      NY    11704
MISS MARIE F KOENINGS             311 E ERIE ST                       UNIT 307                                                     MILWAUKEE         WI    53202‐6044
MISS MARIE GEORGETTE GERLACH      4 SADORE LANE                                                                                    YONKERS           NY    10710‐4752
MISS MARIE IRACI                  93 MC DIVITT AVENUE                                                                              STATEN ISLAND     NY    10314‐4966
MISS MARIE ISOPE                  225 SCHUYLER AVE                                                                                 POMPTON LAKES     NJ    07442‐1127
MISS MARIE J KERAN                9016 VILLARIDGE COURT                                                                            ST LOUIS          MO    63123‐7424
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MISS MARIE J OBRIEN                               25 SUTTON PLACE SOUTH                                                                            NEW YORK         NY    10022‐2441
MISS MARIE L NIEMEYER                             ATTN M L KITSBERG                      BOX 987                                                   CAPE CORAL       FL    33910‐0987
MISS MARIE M MARTIN                               81 N MAIN ST                                                                                     NORWOOD          NY    13668
MISS MARIE PITULA                                 95 BOGERT PLACE                                                                                  BERGENFIELD      NJ    07621‐2220
MISS MARIE ROYKA                                  55‐39 137TH ST                                                                                   FLUSHING         NY    11355‐5033
MISS MARIE S WALT                                 204 E MOUNT HOPE AVE                                                                             LANSING          MI    48910‐9158
MISS MARIE SIMON                                  5753 N NINA AVE                                                                                  CHICAGO          IL    60631‐2432
MISS MARIE TENEBRUSO                              5814 ROYAL CLUB DR                                                                               BOYNTON BEACH    FL    33437‐4264
MISS MARILYN A BACSIK                             C/O M A CLENDENNY                      45 OLD FORT RD                                            BERNARDSVILLE    NJ    07924‐1810
MISS MARILYN BRUNO                                57 PALISADES AVE                                                                                 GARFIELD         NJ    07026‐3150
MISS MARILYN C BEVILACQUA                         32 FERNCLIFF RD                                                                                  MORRIS PLAINS    NJ    07950‐3052
MISS MARILYN CLARE GREBE                          C/O MRS ERNEST AU JR                   1008 ERICA RD                                             MILL VALLEY      CA    94941‐3721
MISS MARILYN F CURY                               C/O M C FRIX                           219 W 81ST ST                                             NY               NY    10024‐5808
MISS MARILYN GOETZE & MARIAN E GOETZE JT TEN      PO BOX 416                                                                                       UNION            KY    41091‐0416

MISS MARILYN J GOODER                             C/O MRS M MAYER                        2925 POLO DR                                              DELRAY BEACH     FL    33483‐7331
MISS MARILYN J IREY                               507 E 7TH STREET                                                                                 WEST LIBERTY     IA    52776‐1222
MISS MARILYN J SMITH                              3710 S WEBSTER STREET                                                                            FORT WAYNE       IN    46807‐2048
MISS MARILYN LEE HUNDLEY                          1929 AMALFI WAY                                                                                  MOUNTAIN VIEW    CA    94040
MISS MARILYN LEVINE                               242 ORMOND ST                                                                                    ALBANY           NY    12208
MISS MARILYN M MC KEAGUE                          APT 34‐A                               541 ISHAM ST                                              NY               NY    10034‐2115
MISS MARILYN MAE DAWKINS                          5355 BIG FOUR RD                                                                                 CLAY CITY        IL    62824
MISS MARILYN MARSH                                2889 E 150 S                                                                                     ANDERSON         IN    46017‐9583
MISS MARILYN MULSTAY                              C/O MARILYN JOHNSON                    796 PLYMOUTH NO NORWICH RD                                NORWICH          NY    13815‐3338
MISS MARILYN R KINTZELE                           2559 SHANNON LN                                                                                  KOKOMO           IN    46901‐5884
MISS MARILYN RUTH WHITFIELD                       BOX 128                                                                                          TUNICA           MS    38676‐0128
MISS MARILYN SWEENEY                              BOX 473                                                                                          BELT             MT    59412‐0473
MISS MARION A BRADY                               320 E 58TH                                                                                       NEW YORK         NY    10022‐2220
MISS MARION B GREENBERG                           240 9TH STREET                                                                                   JERSEY CITY      NJ    07302‐1637
MISS MARION C GUTHRIE                             7983 COLONY DRIVE                                                                                MECHANICSVILLE   VA    23111‐3515
MISS MARION C HANSEN                              5134 W WOLFRAM ST                                                                                CHICAGO          IL    60641‐5032
MISS MARION DREIFUREST                            5040 N 23RD ST                                                                                   MILWAUKEE        WI    53209‐5661
MISS MARION HEYNDRICK                             38 PINE ST                             DELHI ON                                N4B 1N6 CANADA
MISS MARION K SCHAFFER                            C/O MRS M SNYDER                       1117 DOGWOOD DR                                           READING          PA    19609‐1119
MISS MARION KUNREUTHER                            688A OLD NASSAU ROAD                                                                             MONROE TWP       NJ    08831‐2022
MISS MARION MC KEAGUE                             550 HUNTERS DRIVE WEST                 APT C                                                     CARMEL           IN    46032
MISS MARION R FERRARO                             6 APT 328 WINNERS CIRCLE                                                                         ALBANY           NY    12205
MISS MARION W OCONNOR                             3903 WINFIELD AVE                                                                                MOOSIC           PA    18507‐1653
MISS MARJORIE A BERNDT                            11826 MORGAN                                                                                     PLYMOUTH         MI    48170‐4440
MISS MARJORIE A MC DONOUGH                        PMB 20                                 20 SUNKEN MEADOW RD                                       NORTHPORT        NY    11768‐2751
MISS MARJORIE A STOLLINGS                         316 THORNBURG RD                                                                                 BARBOURSVILLE    WV    25504‐2242
MISS MARJORIE A WRIGHT                            451 ROCKINGHAM ST                                                                                ROCHESTER        NY    14620‐2517
MISS MARJORIE ANN FAIRHURST                       12842 GAR HIGHWAY                                                                                CHARDON          OH    44024‐9280
MISS MARJORIE ANN NOCK                            5429 MOCERI LN                                                                                   GRAND BLANC      MI    48439‐4370
MISS MARJORIE C ROLLE                             140‐43 161ST ST                                                                                  SPRINGFIELD      NY    11434‐4425
                                                                                                                                                   GARDEN
MISS MARJORIE E MITCHELL                          307 HYSLIP AVE                                                                                   WESTFIELD        NJ    07090‐4188
MISS MARJORIE FISCH                               2229 FISHER TRAIL NE                                                                             ATLANTA          GA    30345‐3432
MISS MARJORIE LUCILLE MORGAN                      C/O MARJORIE LUCILLE EFFNER            500 VALLEY ROAD                                           TERRE HAUTE      IN    47803‐2061
MISS MARJORIE M HOEY & MRS MARY HOEY JT TEN       345 E 69TH ST                                                                                    NY               NY    10021‐5583

MISS MARJORIE M SIMMONS                           3064 GLOUCHESTER                       APT 68                                                    TROY             MI    48084‐2723
MISS MARJORIE MOUGHON                             APT R‐305                              8300 SAWYER BROWN ROAD                                    NASHVILLE        TN    37221‐7682
MISS MARJORIE P HARRIS & MRS MARLENE K STERN JT   345 W ALAMEDA AVE                      UNIT 204                                                  BURBANK          CA    91506
TEN
MISS MARJORIE R PINGER                            657 CANTON                                                                                       ST PAUL          MN    55102‐4105
MISS MARJORIE ROBERTS                             45 NORTH AVE                                                                                     MONTVALE         NJ    07645‐1137
MISS MARJORIE WYCKOFF APPLETON                    181 SUNSET AVE                                                                                   VERONA           NJ    07044‐2318
MISS MARJORIE Y CRISP                             2402 BRADFORD PLACE 8A                                                                           WILSON           NC    27896‐7008
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MISS MARJORY LYNN JONAH                         C/O C C KEENAN                     R R #3                  PERTH ON           K7H 3C5 CANADA
MISS MARLENE F KALETA                           ATTN MARLENE KALETA STECHMANN      102 ACACIA POINT                                                   YALAHA            FL    34797‐3101
MISS MARLENE SILVERSTONE                        3 CHERRY BLOSSOM LN                                                                                   TRUMBULL          CT    06611‐2465
MISS MARLENE STIMAC & MRS MAE STIMAC JT TEN     1324 S CAMPBELL                                                                                       ROYAL OAK         MI    48067‐3409

MISS MARLYN ETHEL TROYANI                       PO BOX 2704                                                                                           NEW ORLEANS       LA    70176‐2704
MISS MARSHA C SCOTT                             1309 WESTBROOK AVE                                                                                    RICHMOND          VA    23227‐3309
MISS MARSHA GOLDMAN                             ATTN MARSHA UFFELMAN               2111 ORR ROAD                                                      CARO              MI    48723‐9106
MISS MARSHA HELEN MORRIS                        CO MINETTE S MORRIS                KENNEDY HOUSE           APT 2715           1901 J F KENNEDY BLVD   PHILADELPHIA      PA    19103‐1523
MISS MARTA A CAPECELATRO                        291 SILVERBROOK RD #9                                                                                 ORANGE            CT    06477‐3539
MISS MARTA TAUBER                               1730 MADISON ST                                                                                       RIDGEWOOD         NY    11385‐3661
MISS MARTHA ADAMS PURSLEY                       1100 SAN JOSE DR SE                                                                                   GRAND RAPIDS      MI    49506‐3427
MISS MARTHA ANNE MOORE                          1497 VERNON NORTH DRIVE                                                                               DUNWOODY          GA    30338‐4221
MISS MARTHA BUYER                               75 GARRISON RD                                                                                        WILLIAMSVILLE     NY    14221‐6927
MISS MARTHA D WRIGHT                            C/O MARTHA W CIGUERE               1139 SOUTHBRIDGE ROAD                                              WEST BROOKFIELD   MA    01585‐6076

MISS MARTHA E WHITE                             PO BOX 325                                                                                            DUMFRIES          VA    22026‐0325
MISS MARTHA F ANDREWS                           61 JONES CIRCLE                                                                                       OLD HICKORY       TN    37138‐3430
MISS MARTHA FLORENCE HUGHES                     9505 DRY SAND DR                                                                                      LAPORTE           TX    77571‐4090
MISS MARTHA H PAISLEY                           7304 HARPS MILL RD                                                                                    RALEIGH           NC    27615‐5417
MISS MARTHA HANIE JOHNSON                       4255 HIGHBORNE DR NE                                                                                  MARIETTA          GA    30066‐2428
MISS MARTHA JANE BALL                           PO BOX 144                                                                                            AMAGANSETT        NY    11930‐0144
MISS MARTHA JANE SEYLER                         3155 FEATHERWOOD CT                                                                                   CLEARWATER        FL    33759‐4455
MISS MARTHA JEAN KAINES                         ATTN MARTHA JEAN OWOCKI            10631 OAKHILL                                                      FENTON            MI    48430‐9489
MISS MARTHA JEAN WILLARD                        706 NORTH SPALDING AVE                                                                                LEBANON           KY    40033‐1082
MISS MARTHA LEE WEIKART                         395 PEARL ST                                                                                          LEETONIA          OH    44431‐1244
MISS MARTHA PETERSON                            2515 GREENLEAF BLVD                                                                                   ELKHART           IN    46514‐4053
MISS MARY A DANA                                7332 S 77TH STREET                                                                                    FRANKLIN          WI    53132‐9579
MISS MARY A FITZGERALD                          305 PINE ST                                                                                           LOWELL            MA    01851‐3155
MISS MARY A GAINE                               1015 C ABERDEEN DRIVE                                                                                 LAKEWOOD          NJ    08701‐6721
MISS MARY A GREEN                               3911 MONDAWMIN AVE                                                                                    BALTIMORE         MD    21216‐2017
MISS MARY A HOLLINGSWORTH                       PO BOX 1236                                                                                           TRUSSVILLE        AL    35173‐6101
MISS MARY A MANS                                133 LANEY ROAD                                                                                        ROCHESTER         NY    14620‐3015
MISS MARY ALICE DARK                            407 EUSTIS                                                                                            HUNTSVILLE        AL    35801‐4111
MISS MARY ALICE STEPHENS                        6 IRVING ST                                                                                           NEW BEDFORD       MA    02740‐3427
MISS MARY ALLEN                                 1117 E 7TH AVE                                                                                        TALLAHASSEE       FL    32303‐5803
MISS MARY ANN ALLEN                             2514 MAHANTONGO ST                                                                                    POTTSVILLE        PA    17901‐3127
MISS MARY ANN BROCK                             52 MIDDLE ROAD                                                                                        CHILMARK          MA    02535‐2216
MISS MARY ANN CARLSON                           5 MILLER DR                                                                                           BLAIRSVILLE       PA    15717‐1520
MISS MARY ANN DANKO                             C/O MRS MARY ANN EAVENSON          PO BOX 157                                                         WORTHINGTON       WV    26591‐0157
MISS MARY ANN GRANIERI                          721 CHARLES ST                                                                                        SANTA ROSA        CA    95404‐5022
MISS MARY ANN GROSS                             C/O M G BRANNIGAN                  3 VAXNAY AVE                                                       PENNINGTON        NJ    08534
MISS MARY ANN KIVLIGHN                          158 ELMWOOD ST                                                                                        WESTBURY          NY    11590‐3107
MISS MARY ANN OCONNOR                           BOX 292                                                                                               NEW FAIRFIELD     CT    06812‐0292
MISS MARY ANNE BRENNAN                          704 GEORGETOWN RD                                                                                     PARIS             KY    40361‐2603
MISS MARY ANNE GILL                             2008 S BRANCH DR                                                                                      WHITE HSE STA     NJ    08889‐3245
MISS MARY AUGUSTA MORLEY                        1515 CENTRE ST                                                                                        NEWTON            MA    02461‐1200
                                                                                                                                                      HIGHLANDS
MISS MARY B CASTNER                             278 LAWRENCE HILL ROAD                                                                                WESTON            VT    05161‐5604
MISS MARY B DYSART                              615 COVENTRY RD                                                                                       DECATUR           GA    30030‐5011
MISS MARY BALINT                                1685 DROUILLARD ROAD               WINDSOR ON                                 N8Y 2S4 CANADA
MISS MARY BLAGDEN HOTCHKISS                     254 COW HILL RD                                                                                       CLINTON           CT    06413‐1176
MISS MARY BRIGID KELLY                          458 W ACADEMY ST                                                                                      WILKES BARRE      PA    18702‐1726
MISS MARY C BENKNER                             85 NORWOOD AVE                                                                                        NORTHPORT         NY    11768‐1958
MISS MARY C COLLET                              4475 CLOVER LAKE DR                                                                                   INDIANAPOLIS      IN    46228‐3044
MISS MARY C MULLER                              2221 MONICA PL                                                                                        SARASOTA          FL    34235‐8848
MISS MARY CASSIDY                               BOX 515                                                                                               TOLUCA            IL    61369‐0515
MISS MARY CHARLENE GETTINGS                     ATTN MARY CHARLENE GETTINGS        STEVENSON               6728 ELECK PLACE                           CINCINNATI        OH    45243‐2424
MISS MARY CLEAVES MC CULLA                      125 BROOK LANE                                                                                        BOULDER CREEK     CA    95006‐9385
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Name                                           Address1                               Address2             Address3            Address4          City               State Zip

MISS MARY CYRILLE VLAMYNCK                     4523 BROADWAY                          APT 6E                                                     NEW YORK CITY      NY    10040‐2418
MISS MARY D HAWKE                              308 BROOKSIDE AVE                                                                                 WILMINGTON         DE    19805‐2441
MISS MARY DELIA MC NICHOLAS                    APT 5                                  201 WEST 107TH ST                                          NEW YORK           NY    10025‐3066
MISS MARY E BARRY                              348A KRUGER CIRCLE                                                                                SOUTHBURY          CT    06488‐1763
MISS MARY E CRONIN                             C/O CLARK                              61 HUGHEY RD                                               SCITUATE           MA    02066‐4023
MISS MARY E CUSHING                            C/O MRS MARY OWENS                     PO BOX 843                                                 DAHLONEGA          GA    30533‐0015
MISS MARY E DUNLAP                             333 OLD MILL RD                        # SP‐4                                                     SANTA BARBARA      CA    93110‐1491
MISS MARY E JACOBER                            3335 WISE CREEK LN                     APT 244                                                    AIKEN              SC    29801‐2519
MISS MARY E LOTT                               C/O MRS MARY L CHEDIO                  217 43RD AVE NE                                            SAINT PETERSBURG   FL    33703‐4903

MISS MARY E MC AULIFFE                         401 HERITAGE LN                                                                                   AUBURN             MA    01501‐2264
MISS MARY E MC KINNEY                          3 LEELYNN CIRCLE                                                                                  LONDONDERRY        NH    03053‐2326
MISS MARY E MOORE                              13418 TITAN DRIVE                                                                                 UNIVERSAL CITY     TX    78148‐2842
MISS MARY E ROOKS                              2001 S LEE ST                                                                                     AMERICUS           GA    31709
MISS MARY EICHLER                              2 TEE COURT                                                                                       NEW MARKET         VA    22844‐9672
MISS MARY ELIZABETH HANNAH                     15892 DUNBLAINE AVE                                                                               BEVERLY HILLS      MI    48025‐4239
MISS MARY ELIZABETH MC AULIFFE                 17 SHEFFIELD WAY                                                                                  WESTBOROUGH        MA    01581‐1160
MISS MARY ELIZABETH MOYNEHAN                   501 S MARKET ST                                                                                   JOHNSTOWN          NY    12095‐2929
MISS MARY ELIZABETH SMITH                      2952 GOLF CLUB ROAD                                                                               DANVILLE           VA    24540‐7786
MISS MARY ELLEN BASBAGILL                      163 GRANDVIEW AVE                                                                                 DELAWARE           OH    43015‐1041
MISS MARY ELLEN BROWN                          17920 GULF BLVD                        APT 1604                                                   REDINGTN SHOR      FL    33708‐1197
MISS MARY ELLEN DUNDON                         551 BLOOMFIELD AVE APT A11                                                                        WEST CALDWELL      NJ    07006‐7502
MISS MARY ELLEN HOFFMAN                        6647 WILKINS AVE                                                                                  PITTSBURGH         PA    15217‐1316
MISS MARY ELLEN SISK                           C/O MARY ELLEN SISK WELCHER            1115 EAST E ST                                             IRON MOUNTAIN      MI    49801‐3622
MISS MARY ELLEN WOLINSKI                       990 CAYMAN CT                                                                                     MYRTLE BEACH       SC    29577‐2606
MISS MARY EMMA FETTER                          ATTN MARY FETTER PASSARGE              MARKISHE STR 52      D 45529 HATTINGEN   GERMANY
MISS MARY F BOYD                               4102 ROSE GARDEN DR                                                                               TOLEDO             OH    43623‐3418
MISS MARY FRANCES WRIGHT                       BOX 181                                                                                           GUIN               AL    35563‐0181
MISS MARY FRYBERGER                            PO BOX 262                                                                                        MANTUA             OH    44255‐0262
MISS MARY G KEEFE                              C/O DAVID KEEFE                        65 CAPITOL ST                                              WATERTOWN          MA    02472‐2510
MISS MARY GEORGI LEEDY                         4336 THORNRIDGE CIRCLE                                                                            CLEVELAND          OH    44135‐1058
MISS MARY GROZUCZAK                            735 SALEM AVE                                                                                     ELIZABETH          NJ    07208‐2341
MISS MARY H DAUGHTON                           C/O MRS MARY D MACKREY                 5226 VINE ST                                               PHILADELPHIA       PA    19139‐1402
MISS MARY H OCONNOR                            7824 E STATE ST                                                                                   LOWVILLE           NY    13367‐2410
MISS MARY HELEN BROWN                          C/O MARY HELEN BROWN ARENS             1717 CHURCH                                                GALVESTON          TX    77550‐4821
MISS MARY HELEN WILDMAN                        C/O MRS M H KAY                        611 ONEIDA VIEW                                            HURON              OH    44839‐1837
MISS MARY HELEN ZINK                           2234 FRANCISCAND DR                                                                               WEST LAFAYETTE     IN    47906‐4566
MISS MARY I MAGUIRE & THOMAS SWEENY JT TEN     PO BOX 231                                                                                        NEW LONDON         NH    03257‐0231
MISS MARY IBELE                                29705 GEORGETOWN RD                                                                               SALEM              OH    44460‐9738
MISS MARY J CALABRO                            51 MT PLEASANT RD                                                                                 MORRISTOWN         NJ    07960‐3250
MISS MARY J LINDERMAN                          3422 TONY DR                                                                                      SAN DIEGO          CA    92122‐2305
MISS MARY JANE POWELL                          205 SOUTH MAIN ST APT 7                                                                           LAWRENCEVILLE      VA    23868‐2219
MISS MARY JANE SEIDL                           2795 SOUTH BANNOCK STREET                                                                         ENGLEWOOD          CO    80110‐1514
MISS MARY JEAN CARNEY                          313 COLONY RIDGE CT                                                                               RIDGELAND          MS    39157‐2032
MISS MARY JEAN GILE                            ATTN MARY JEAN RECKEL BERG             1914 SHARON LANE                                           MANITOWOC          WI    54220‐1526
MISS MARY JOAN CAMPBELL                        17895 TYLER FOOTE RD                                                                              NEVADA CITY        CA    95959‐9322
MISS MARY JOAN JOHNSON                         1411 LOMOND COURT                                                                                 ALLEN              TX    75013‐4650
MISS MARY JOE HAMILTON                         PO BOX 42                                                                                         PRESCOTT           AR    71857‐0042
MISS MARY K HICKEY                             615 S HIGHLAND AVE                                                                                LOS ANGELES        CA    90036‐3528
MISS MARY K KING                               322 MONTE VISTA #103                                                                              OAKLAND            CA    94611‐4591
MISS MARY KATHLEEN SHORES                      3705 SOUTH GEORGE MASON DR             APT 316 SOUTH                                              FALLS CHURCH       VA    22041‐3759
MISS MARY KATHRYN JOHNSON                      741 SAN JOSE DR SE                                                                                E GRAND RAPIDS     MI    49506‐3417
MISS MARY KAY STACKPOLE                        1808 E HAMLIN RD                                                                                  ROCHESTER HILLS    MI    48307‐3629
MISS MARY KONCAVICH                            1905 SOUTH VAN BUREN                                                                              BAY CITY           MI    48708‐8790
MISS MARY KOTKOW                               86‐56 MUSKET ST                                                                                   QUEENS VILLAGE     NY    11427‐2718
MISS MARY L COUGHLIN                           3 ST JOHNS                                                                                        BENTONVILLE        AR    72712‐4082
MISS MARY L HALL                               951 HOPMEADOW ST APT 10                                                                           SIMSBURY           CT    06070‐1856
MISS MARY L KILROY                             C/O MRS MARY L KENZIK                  220 S NOVA ROAD                                            ORMOND BEACH       FL    32174‐6117
MISS MARY LEE RUSHMORE                         PO BOX 102                                                                                        NEW HARBOR         ME    04554‐0102
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Name                                             Address1                            Address2                         Address3                 Address4          City              State Zip

MISS MARY LOUISE CAROPINO & MRS LILLIAN MAE      132 COOLIDGE                                                                                                    LEAD              SD    57754‐1102
CAROPINO JT TEN
MISS MARY LOUISE HENDERSON                       1268 HARBOUR POINT DR                                                                                           PORT ORANGE       FL    32127‐5630
MISS MARY LOUISE OATES                           32 JUDSON CIRCLE                                                                                                SHELTON           CT    06484
MISS MARY LOUISE WILBURN                         C/O MRS M ROACH                     8004 JONQUIL DR                                                             PLEASURE RIDGE    KY    40258‐2446
                                                                                                                                                                 PAR
MISS MARY LYS JACKSON                            8 SCHOOL ST                                                                                                     STONINGTON        CT    06378‐1440
MISS MARY M DE BENEDICTIS & MISS CONCETTA J DE   10 STARKNAUGHT HTS                                                                                              GLOUCESTER        MA    01930‐4501
BENEDICTIS JT TEN
MISS MARY M E WALLACE                            1917 HARVARD DRIVE                                                                                              LOUISVILLE        KY    40205‐1829
MISS MARY M GASPER                               11 AMBROSE TERR                                                                                                 EAST HARTFORD     CT    06108‐2302
MISS MARY M SEANOR                               745 MIDDLEWOOD DR                                                                                               TALLAHASSEE       FL    32312‐2454
MISS MARY MARGARET DAY                           933 CENTRAL ST                                                                                                  FRAMINGHAM        MA    01701‐4813
MISS MARY MEADE SAUNDERS                         1709 PRICE DR                                                                                                   FARMVILLE         VA    23901‐8354
MISS MARY MICHELE RAFFERTY                       5340 SHADY HILLS CR                                                                                             EXCELSIOR         MN    55331‐9157
MISS MARY NOVOSAD                                #1812                               440 N WABASH                                                                CHICAGO           IL    60611‐3552
MISS MARY PATRICIA CROWLEY                       125 GLENWOOD RD                                                                                                 RIDGEWOOD         NJ    07450‐1312
MISS MARY PATRICIA PEDDICORD                     12720 GREGORY ST #2                                                                                             BLUE ISLAND       IL    60406‐2110
MISS MARY PETROPOULOS & CHRIS PETROPOULOS JT     231 MORGANTOWN AVENUE                                                                                           MORGANTOWN        WV    26501‐7044
TEN
MISS MARY R BERRY                                C/O ROBERT C GROSSMAN ATT.          JOHNSON MULLAN & BRUNDAGE P.C.   80 LINDEN OAKS                             ROCHESTER         NY    14625
MISS MARY R CIPOLLA                              34 EVELYN PLACE                                                                                                 NUTLEY            NJ    07110‐2753
MISS MARY R LONGFIELD                            8230 GARDENWOOD PL                                                                                              YOUNGSTOWN        OH    44512‐5809
MISS MARY R SHIELDS                              APT 427                             35‐43 84TH ST                                                               JACKSON HEIGHTS   NY    11372‐5356

MISS MARY ROSS SCHMIEDEL                         67 VALLEY RD                                                                                                    LEXINGTON         MA    02421‐4260
MISS MARY S GILLMOR                              947 BLUE RIDGE AVE NE                                                                                           ATLANTA           GA    30306‐4416
MISS MARY SCALIA                                 41 BETHEL ST                                                                                                    BRISTOL           CT    06010‐6202
MISS MARY SEXTON                                 C/O MARY S WINGENTER                138 LAKE SHORE DRIVE W                                                      ROCK HILL         NY    12775‐8210
MISS MARY SUSAN SMITH                            430 E 55TH                                                                                                      KC                MO    64110‐2454
MISS MARY T BARRETT                              10647 HOLLOW TREE ROAD                                                                                          ORLAND PARK       IL    60462‐7405
MISS MARY T DONAHOE                              339 CENTRE ST                                                                                                   ASHLAND           PA    17921‐1310
MISS MARY T MOONEY                               137 FRANKLIN ST #402                                                                                            STONEHAM          MA    02180‐1537
MISS MARY T PATRONITE                            10205 BALTIC ROAD                                                                                               CLEVELAND         OH    44102‐1628
MISS MARY THOMA                                  8415 ROYAL RIDGE DR                                                                                             PARMA             OH    44129‐6028
MISS MARY THOMPSON                               C/O MARY T STANFORD                 ROUTE 1 BOX 48                                                              PINE APPLE        AL    36768‐9801
MISS MARY TIRSA SNYDER                           215 SHADOW WOOD DR                                                                                              HATTIESBURG       MS    39402‐2935
MISS MARY TVAROH                                 BOX 182                                                                                                         WAUCONDA          IL    60084‐0182
MISS MARY V CRONIN                               6118 W EDDY ST                                                                                                  CHICAGO           IL    60634‐4121
MISS MARY VIRGINIA KAVANAUGH                     12584 SPRING VIOLET PL                                                                                          CARMEL            IN    46033‐9143
MISS MARY WANCA                                  227 2ND AVE                                                                                                     GARWOOD           NJ    07027‐1126
MISS MARY WARREN                                 26 FAIRLAWN ST                                                                                                  RYE               NY    10580‐3244
MISS MARY WOODCOME                               595 MAIN ST                                                                                                     DALTON            MA    01226‐1620
MISS MARYANN TEST                                4334 UPLAND DR                                                                                                  MADISON           WI    53705‐5041
MISS MARYANNE DAVITT                             52 RIVERVIEW AVE                                                                                                BINGHAMTON        NY    13904‐1753
MISS MARYBETH CLEMENS                            17 CHERRY HILLS CT                                                                                              ALAMO             CA    94507‐2203
MISS MARYLEE LANKAMER                            3021 FOX RUN                                                                                                    DES MOINES        IA    50321‐1426
MISS MARYLIN E HONINGS                           APT 6R                              84‐70 129 ST                                                                KEW GARDEN        NY    11415‐2835
MISS MARYLU LEACH                                C/O LAW OFFICES OF ROBERT R         YOUNG                            7777 BONHOMME STE 1600                     ST LOUIS          MO    63105‐1941
MISS MASANO SASAKI                               6668 RESERVOIR LANE                                                                                             SAN DIEGO         CA    92115‐1510
MISS MATILDA FALCIONE                            C/O MRS MATILDA DI BELLO            8201 CRAIG ST                                                               PHILADELPHIA      PA    19136‐2304
MISS MATTIE LOU WARE                             C/O SANDRA G SMITH                  455 LEE RD #705                                                             OPELIKA           AL    36804
MISS MAURA NESTOR                                103 QUAI BRANLY                     1 ETATE PARIS                                             75015 FRANCE
MISS MAUREEN E DOUGHERTY                         1323 CREEDMOOR AVE                                                                                              PITTSBURGH        PA    15226‐2345
MISS MAUREEN FANNING                             372 KELLY AVE                                                                                                   BRICK             NJ    08724‐2234
MISS MAUREEN S SMITHWICK                         191 HILLSIDE ROAD                                                                                               KENSINGTON        CT    06037‐1158
MISS MAUREEN SHEPARD                             19 SILVERCOURT                      SILVER SPRINGS                   TIVOLI CORK              IRELAND
MISS MAXINE LOIS TRAGER                          9517 TOURNAMENT CANYON DR                                                                                       LAS VEGAS         NV    89144‐0823
MISS MAXINE MUSSETTER                            1811 74TH ST                                                                                                    WINDSOR HTS       IA    50324‐5752
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Name                                              Address1                              Address2               Address3        Address4          City            State Zip

MISS MELANIE E HOCKING                            133 TERESA DR                                                                                  STEUBENVILLE    OH    43953‐3641
MISS MELINDA ELIZABETH EVANS                      3288 GREENWAY RD                                                                               GRAND ISLAND    NY    14072‐1013
MISS MELISA S BUTT                                2570 SCHUKRAFT RD                                                                              QUAKERTOWN      PA    18951‐3105
MISS MELISSA ELIZABETH MORGAN                     21 MAIDSTONE LANE                                                                              EAST HAMPTON    NY    11937‐2728
MISS MELISSA JOSEPH                               62 ELM RIDGE DR                       TORONTO ON                             M6B 1A5 CANADA
MISS MELISSA LEE DAVIS                            ATTN CHERYL M DAVIS                   1401 W NEWPORT PK                                        WILMINGTON      DE    19804‐3522
MISS MERRILL BAUMAN                               10 FINCH FOREST TRL                                                                            ATLANTA         GA    30327‐4576
MISS MICHELE E GEORGE                             4631 SW MOODY                                                                                  VICTORIA        TX    77905‐3934
MISS MICHELLE A FOURNIER & EDWARD E FOURNIER JT   3501 WEST 14 MILE RD                  UNIT 9                                                   ROYAL OAK       MI    48073‐1652
TEN
MISS MICHELLE E SKILLING                          55 HOP RANCH RD                                                                                SANTA ROSA      CA    95403‐7525
MISS MICHELLE GRACE VAN BEEK                      114 37TH AVE S                                                                                 MOORHEAD        MN    56560‐5506
MISS MICHELLE MC PHILLIPS                         9490 BERMUDA RD APT 2067                                                                       LAS VEGAS       NV    89123‐3589
MISS MILDRED ANN KENNEDY                          15A SWEETGUM DR                                                                                ORANGE CITY     FL    32763
MISS MILDRED ANN LABELLA                          44 GRAPAL ST                                                                                   RYE             NY    10580‐3929
MISS MILDRED ANN LEHIGH                           2760 13TH ST                                                                                   SACRAMENTO      CA    95818‐2945
MISS MILDRED F KNAPP                              702 LAKE POINTE                                                                                GROSSE POINTE   MI    48230
                                                                                                                                                 PARK
MISS MILDRED GAETA                                5307 S RT 44 HWY                                                                               JERSEY SHORE    PA    17740
MISS MILDRED L JACKSON                            PO BOX 2141                                                                                    DOUGLASVILLE    GA    30133‐2141
MISS MILDRED L PULLIAM                            28272 YANEZ                                                                                    MISSION VIEJO   CA    92692‐1801
MISS MILDRED L SANDKNOP                           6194 FOWLER RD                                                                                 ENON            OH    45323‐9729
MISS MILLICENT L PARKER                           178‐31 114TH RD                                                                                ST ALBANS       NY    11434‐1452
MISS MINERVA E ROMANO                             2400 HUDSON TER                       APT 2V                                                   FORT LEE        NJ    07024‐3505
MISS MIRANDA SILVER MILLER                        PO BOX 148                                                                                     WELLSBURG       WV    26070‐0148
MISS MIRIAM B SOUDERS                             8630 ALICIA ST                                                                                 PHILADELPHIA    PA    19115‐4102
MISS MIRIAM BAGRAN                                4700 5TH AVE                          # 508                                                    PITTSBURGH      PA    15213‐2916
MISS MIRIAM C BURNS                               31‐B BROOKSIDE DR                                                                              LANSDALE        PA    19446‐1275
MISS MIRIAM E SMITH & EVELYN SMITH HOLLINGER JT   8436 PASSFIELD TURN                                                                            OSSEO           MN    55311‐1540
TEN
MISS MIRIAM GROSS                                 5635 NETHERLAND AVE                                                                            RIVERDALE       NY    10471‐1739
MISS MIRIAM MOHR                                  116 PENNSYLVANIA AVE                                                                           READING         PA    19606‐9407
MISS MIRIAM SCHILDKRAUT                           ATTN URETZKY                          54 OTSEGO AVENUE                                         DIX HILLS       NY    11746‐6437
MISS MOLLY HEPLER                                 2990 RHODES CIRCLE UNIT 120                                                                    BIRMINGHAM      AL    35205
MISS MOLLY JANE SURFACE                           MOLLY SURFACE KIRSCHNER               606 JEROME AVE                                           BRISTOL         CT    06010‐2669
MISS MONA BETH MAC DONALD                         6640 WILKINS AVE                                                                               PITTSBURGH      PA    15217‐1317
MISS MONA E ABBOTT                                1 BATTLE SQ                           APT 506                                                  ASHEVILLE       NC    28801‐2742
MISS MONA K HERBST                                C/O MONA K HERBST‐WOLFF               2416 N SURREY CT                                         CHICAGO         IL    60614‐2115
MISS MONA L KOZEL                                 BOX 1695                                                                                       FALL RIVER      MA    02722‐1695
MISS MONA RAE YOUNG                               535 BROOK AVE                                                                                  RIVER VALE      NJ    07675‐5700
MISS MONICA M GENSBITTEL                          215 WINSPEAR AVE                                                                               BUFFALO         NY    14215‐1046
MISS MURIEL ETTENSON                              C/O NORMAN J ETTENSON                 782 MARVLE VALLEY DR                                     BETHEL PARK     PA    15102‐1377
MISS NADINE M ROSENBAUM                           #6F                                   300 E 54TH ST                                            NEW YORK        NY    10022‐5019
MISS NANA‐KO OGURI                                10330 68TH AVE                        APT 1B                                                   FOREST HILLS    NY    11375‐3221
MISS NANCY A BOYER                                4110 COLEMERE CIRCLE                                                                           DAYTON          OH    45415‐1908
MISS NANCY A NOVACK                               16081 KEPPEN ST                                                                                ALLEN PARK      MI    48101‐2715
MISS NANCY A REYNOLDS                             82 BAYARD ST                                                                                   LAKE GROVE      NY    11755‐3151
MISS NANCY ANN DAVIS                              120 E 87TH ST                                                                                  NEW YORK        NY    10128‐1116
MISS NANCY ANN NAPPE                              2790 S STEELE ST                                                                               DENVER          CO    80210‐6433
MISS NANCY ANN SCHIAVITTI                         C/O MRS NANCY GOLDEN                  320 N GRANT                                              HINSDALE        IL    60521‐3338
MISS NANCY B CLARKE                               ATTN N C VANDERLINDEN                 28 CHERRY HOLLOW RD                                      NASHUA          NH    03062‐2234
MISS NANCY B UPTON                                23 KELLEY GREEN                                                                                NEW CANAAN      CT    06840‐5806
MISS NANCY BRADLEY                                95 WALLS AVE                                                                                   WILMINGTON      DE    19805‐1075
MISS NANCY BRADY AILES                            ROUTE 1                               BOX 328                                                  HIGHVIEW        WV    26808‐9708
MISS NANCY BUFALINO                               466 PARK BARRINGTON                                                                            BARRINGTON      IL    60010‐5288
MISS NANCY DOCK                                   C/O N D STRULL                        6210 INNES TRACE RD                                      LOUISVILLE      KY    40222‐6009
MISS NANCY E KRUG                                 1908 NUTMEG LANE                                                                               NAPERVILLE      IL    60565‐6808
MISS NANCY E NOLAN                                748 W RUSHWOOD DR                                                                              TUCSON          AZ    85704‐5406
MISS NANCY E WILLIAMS                             2200 FIRST AVE APT 302                                                                         POTTSVILLE      PA    17901‐2065
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Name                            Address1                             Address2                  Address3     Address4          City               State Zip

MISS NANCY ELDER TERRELL        3940 BRAGANZA AV                                                                              MIAMI              FL    33133‐6355
MISS NANCY ELLEN DINNEEN        6 HENDERSON HILL CT                                                                           MONKTON            MD    21111‐1435
MISS NANCY ELLEN MAKLAN         3275 CEDAR AVE                       WESTMOUNT QC                           H3Y 1Z6 CANADA
MISS NANCY EVELYN BROWN         3614 STORY ST                                                                                 AMES               IA    50014‐3433
MISS NANCY GERTRUDE FLORY       5305 BENBRIDGE                                                                                FORT WORTH         TX    76107‐3207
MISS NANCY H KLATT              118 N BREESE TERR                                                                             MADISON            WI    53705‐4133
MISS NANCY IRENE ROSENBLOOM     4878 SADDLERIDGE CT                                                                           INDEPENDENCE       KY    41051‐8506
MISS NANCY J BRADFORD           1301 MARINA VILLAGE PKWY STE 202                                                              ALAMEDA            CA    94501‐1083
MISS NANCY J HARDAWAY           2220 VISTA DRIVE                                                                              BATON ROUGE        LA    70809‐1337
MISS NANCY J ILK                PO BOX 728                                                                                    BLOOMING PRAIRIE   MN    55917‐0728

MISS NANCY J WOLFF              15317 QUAIL RUN DRIVE                                                                         GAITHERSBURG       MD    20878‐3535
MISS NANCY JILL IKEMEIER        500 WELSH DR                                                                                  RUTHER GLEN        VA    22546‐1014
MISS NANCY JOAN WYKES           122 DUPEE PL                                                                                  WILMETTE           IL    60091‐3402
MISS NANCY JUDITH MORGAN        ATTN NANCY KEITH                     92 ELSINORE ST                                           CONCORD            MA    01742‐2316
MISS NANCY L GOLDEN             171 HIGHLAND AVE                                                                              SHORT HILLS        NJ    07078‐1945
MISS NANCY L HERRING            2204 BRIGHTON PL                                                                              VALDOSTA           GA    31602‐2707
MISS NANCY L REIDER             FISTK ST                                                                                      WEST DENNIS        MA    02670
MISS NANCY LEE SIDO             1 HIGHLAND PLACE                                                                              SAINT LOUIS        MO    63122‐3224
MISS NANCY LEWIS                10030 GULF HILLS DR                                                                           SUN CITY           AZ    85351‐1216
MISS NANCY LONGFELLOW           638 GLEN AVE                                                                                  WESTFIELD          NJ    07090‐4325
MISS NANCY LOUISE TAYLOR        312 HEATHER HILL DR                                                                           GIBSONIA           PA    15044‐6020
MISS NANCY LYNN KERN            1625 N WHITCOMB AV                                                                            INDIANAPOLIS       IN    46224‐5533
MISS NANCY M BOWEN              C/O MRS NANCY B LAMB                 200 LOCUST ST                                            HOLLISTON          MA    01746‐1382
MISS NANCY M GRIECO             4958 BLOOMINGROVE RD                                                                          WILLIAMSPORT       PA    17701‐9778
MISS NANCY MAY ROLANDER         20 PROSPECT AVE                                                                               DARIEN             CT    06820‐3511
MISS NANCY PARR                 15210 SW JAYLEE                                                                               BEAVERTON          OR    97007‐2626
MISS NANCY R BLUM               32 CRAFTS RD                                                                                  CHESTNUT HILL      MA    02467‐1824
MISS NANCY R FOX                C/O MRS KIRK                         1529 BLIND BROOK LANE                                    BIRMINGHAM         AL    35216‐3304
MISS NANCY SERINO               273 LEXINGTON ST                                                                              BOSTON             MA    02128‐2512
MISS NANCY WHITE                3960 MAYBEE RD                                                                                ORION              MI    48359
MISS NANCY WITZEL               216 JEWETT AVE                                                                                JERSEY CITY        NJ    07304‐1804
MISS NANETTE BUFALINO           250 E PEARSON ST                     APT 1701                                                 CHICAGO            IL    60611‐7233
MISS NANETTE L MORECRAFT        C/O N CUOMO                          36 GRACE PARK DR                                         COMMACK            NY    11725‐3824
MISS NATALIE BRONFEN            1000 OCEAN PKWY                      APT 50                                                   BROOKLYN           NY    11230‐3425
MISS NATALIE J SWANSON          164 VOYAGEUR AVE                     WINNIPEG MB                            R2V 0J2 CANADA
MISS NATALIE MARTIN             C/O N M FIELDEN                      23 PRISCILLA AVE                                         YONKERS            NY    10710‐3605
MISS NELL ELAINE HASSON         ATTN NELL ELAINE HASSON WARD         11901 W FOXCHASE CIRCLE                                  KNOXVILLE          TN    37922‐1642
MISS NELL WARD                  APT 402‐B                            2403 ARDSON PLACE                                        TAMPA              FL    33629‐7330
MISS NEVART DOHANIAN            269 PAYSON ROAD                                                                               BELMONT            MA    02478‐3406
MISS NEVILLE E LAUGHON          8106 THREE CHOPT RD                                                                           RICHMOND           VA    23229‐4835
MISS NICOLE RATSHIN             830 KNIGHT ST                                                                                 SONOMA             CA    95476‐7258
MISS NINA A LASERSON            C/O DRS TECHNO                       5 SYLVAN WAY                                             PARSIPPANY         NJ    07054‐3813
MISS NINA SHILKO                C/O NINA SAUCHAK                     8162 ARNOLD                                              DEARBORN           MI    48127‐1217
MISS NONA D STRAUSS             2995 BRISTOL ROAD                                                                             NEW HARBOR         ME    04554‐4904
MISS NORA A OBRIEN              35 SHELLTON RD                                                                                QUINCY             MA    02169‐2629
MISS NORA LEE HASTINGS          409 W ROSALES ST                                                                              TUCSON             AZ    85701‐2237
MISS NORA MARY OKEEFFE          9 CELTIC LANE                        C/O MR J MCDERMOTT                                       BLAUVELT           NY    10913‐1302
MISS NORENE QUARADO             44 PINE ST                                                                                    TINTON FALLS       NJ    07753‐7710
MISS NORINE R KRANZFELDER       C/O MRS N R DUPIUS                   305 EDWARD ST                                            VERONA             WI    53593‐1009
MISS NORMA CALABRESE            167 ARLA DRIVE                                                                                PITTSBURGH         PA    15220‐2627
MISS NORMA DECK                 3900 N MAIN ST                       APT 211                                                  RACINE             WI    53402‐3677
MISS NORMA E MC CORMACK         316 RAINTREE RD                                                                               DANVILLE           VA    24540‐1261
MISS NORMA J RAVAS              C/O P K PATI                         1353 HEATHER LANE S E                                    SALEM              OR    97302‐1525
MISS NORMA JEAN HEIM            50782 N NOTRE DAME                                                                            SOUTH BEND         IN    46637‐2115
MISS NORMA L BOTTONE            19319 IDLEWOOD TRAIL                                                                          STRONGSVILLE       OH    44136‐3129
MISS NORMA M BENDER             794 LONGWOOD DRIVE                                                                            BATON ROUGE        LA    70806‐5833
MISS NORMA M CARTOCCI           292 NORTHSIDE DRIVE                                                                           TORRINGTON         CT    06790‐3316
MISS NORMA M EISENBERG          4430 WEST 227TH                                                                               FAIRVIEW PARK      OH    44126‐2202
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Name                                              Address1                               Address2               Address3        Address4          City             State Zip

MISS NORMA TRENT                                  531 RTE 17K                                                                                     WALDEN           NY    12586‐3014
MISS OLA POST                                     985 EAST 10TH STREET                                                                            BROOKLYN         NY    11230‐3518
MISS OLETA M BRINK                                75 HIGH ST                                                                                      BRISTOL          CT    06010‐5825
MISS OLGA ZIMMERMAN                               25 PARKVIEW AVE                                                                                 BRONXVILLE       NY    10708‐2952
MISS OLIVE A BRANCH                               APT 2‐G                                3180 N LAKE SHORE DR                                     CHICAGO          IL    60657‐4835
MISS OLIVE A CAPRIOTTI                            51 N MAIN ST UNIT D32                                                                           BOONTON          NJ    07005
MISS ONNALLEE ZIMMERMAN                           APT 14                                 917 N LARRABEE                                           WEST HOLLYWOOD   CA    90069‐3909

MISS OPAL LANTZ                                   607 BANFIELD AVE                                                                                FOLLANSBEE       WV    26037‐1315
MISS P ANN PATTERSON                              2007 DOUBLE CREEK DR                                                                            POWDER SPRINGS   GA    30127‐7009

MISS PAMELA ANN CHRISTIAANSEN                     446 MELVIN #4                                                                                   RACINE           WI    53402‐4078
MISS PAMELA BURKE                                 PO BOX 2645                                                                                     WAILUKU          HI    96793‐7645
MISS PAMELA CASSIDY                               75 SEPTEMBER LN                                                                                 STRATFORD        CT    06614‐1683
MISS PAMELA D BUTLER                              12 WASHINGTON CIRCLE                                                                            HINSDALE         IL    60521‐4532
MISS PAMELA D WATT                                29 MANOR DRIVE                                                                                  RED BANK         NJ    07701‐2469
MISS PAMELA E SALE                                3135 EAST CEDARBUSH DRIVE                                                                       CANANDAIGUA      NY    14424‐1700
MISS PAMELA JEAN LAMONT                           C/O GAMBLE JONES HOLBROOK & BENT       PO BOX 6002                                              PASADENA         CA    91102‐6002
MISS PAMELA L FLYNN                               2009 STONY OAK CT                                                                               SANTA ROSA       CA    95403‐0912
MISS PAMELA R ORSI                                6767 WOLFINGER RD                                                                               STOCKTON         CA    95206‐9658
MISS PAMELA STROTHER                              4005 31ST ST                                                                                    MT RAINIER       MD    20712‐1806
MISS PAMELA SUE HARROP & FRANK L HARROP JT TEN    4058 SAN MARINO ST                                                                              KETTERING        OH    45440‐1316

MISS PATIENCE H ALBA                              20 PEABODY RD                                                                                   ARLINGTON        MA    02476‐8120
MISS PATRICE ANNE LYONS                           909 LYNTON PL                                                                                   MC LEAN          VA    22102‐2113
MISS PATRICIA A REYNOLDS                          1760 AVENIDA DEL MUNDO APT 504                                                                  CORONADO         CA    92118‐3086
MISS PATRICIA A TACY                              C/O P A SHAPIRO                        48 WESTCHESTER DR                                        ATTLEBORO        MA    02703‐1034
MISS PATRICIA A TIETJEN                           15 STUYVESANT OVAL                     APT 11 H                                                 NEW YORK         NY    10009‐2012
MISS PATRICIA ANN DICKEN                          1811 SWANSEA CIR                                                                                LA HABRA         CA    90631‐3339
MISS PATRICIA ANN FLORY                           PO BOX 1139                                                                                     CAMERON          TX    76520‐8139
MISS PATRICIA ANN HOUSTON                         C/O PATRICIA ANN BARRETT               3686 SHORELINE DR                                        GREENWOOD        IN    46143‐8358
MISS PATRICIA ANN KAHL                            4800 NE 25TH AVE                                                                                FT LAUDERDALE    FL    33308‐4813
MISS PATRICIA ANN LOGUE                           C/O PATRICIA LOGUE RUSHFORD            PO BOX 907                                               DELLSLOW         WV    26531‐0907
MISS PATRICIA ANN PRESTON                         9633 VALLEY VIEW RD                    UNIT 2304                                                MACEDONIA        OH    44056‐3007
MISS PATRICIA ANN RUMELY                          12 LONG WAY                                                                                     HOPEWELL         NJ    08525‐9740
MISS PATRICIA ANN SMITH                           38 GLEN STREET                                                                                  MASSENA          NY    13662‐2019
MISS PATRICIA ANN SOMPPI & CURTIS SOMPPI JT TEN   606 CLUB HOUSE DR                                                                               ASHLAND          WI    54806‐2788

MISS PATRICIA ANNE BRODY                          825 WEST END AVENUE                                                                             NEW YORK         NY    10025‐5349
MISS PATRICIA B HUTCHESON                         147 ROE HAMPTON LN                                                                              STONE MOUNTAIN   GA    30087‐2503

MISS PATRICIA B LACEY                             195 SALEM RD                                                                                    BILLERICA        MA    01821‐1429
MISS PATRICIA BEIDATSCH                           2555 SOUTH 19TH ST                                                                              MILWAUKEE        WI    53215‐3009
MISS PATRICIA BOGAR                               PO BOX 504                                                                                      CRESTON          IA    50801‐0504
MISS PATRICIA C REDMOND                           917 W RALSTON RD                                                                                INDIANAPOLIS     IN    46217‐4862
MISS PATRICIA C RYERSON                           143 KENSINGTON RD N                                                                             GARDEN CITY      NY    11530
MISS PATRICIA COSTELLO                            3248 SHORE RD                                                                                   OCEANSIDE        NY    11572‐2821
MISS PATRICIA COUTCHER                            APT 26C                                G3100 MILLER RD                                          FLINT            MI    48507‐1330
MISS PATRICIA DOMBO                               460 COVEWOOD BLVD                                                                               WEBSTER          NY    14580‐1108
MISS PATRICIA DUFFY                               700 CARNEGIE ST                        APT 224                                                  HENDERSON        NV    89052‐2681
MISS PATRICIA E DWYER                             680 MOUNTAIN BLVD                      APT 304                                                  WATCHUNG         NJ    07069‐6272
MISS PATRICIA E HERMAN                            C/O MRS PATRICIA LOTTATORE             3 PONDVIEW PLACE                                         ANDOVER          MA    01810‐4650
MISS PATRICIA E STEMLER                           544 HOLBURN CT                                                                                  CONCORD          NC    28025‐8839
MISS PATRICIA GAYLE HENRY                         C/O WILKERSON                          161 ALPHABET WAY                                         FRIENDSVILLE     TN    37737‐2145
MISS PATRICIA GENEVIEVE GALLO                     C/O MC GILORAY                         31 LANDING RD                                            HUNTINGTON       NY    11743‐1815
MISS PATRICIA GIACALONE                           80 SURFWOOD CIR                                                                                 SAN RAFAEL       CA    94901‐2516
MISS PATRICIA GIORDANO                            C/O MRS P KALIL                        39 MAGNA RD                                              METHUEN          MA    01844‐4615
MISS PATRICIA J BRANNEN                           C/O MRS P J KOPF                       3546 HERSCHEL VIEW                                       CINCINNATI       OH    45208‐1748
MISS PATRICIA J MC ARDLE                          77 WILLOW RD                                                                                    NAHANT           MA    01908‐1306
                                            09-50026-mg                    Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
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Name                                              Address1                                Address2                  Address3      Address4          City              State Zip

MISS PATRICIA J SWANSON                           PO BOX 650                                                                                        BELLEVUE          WA    98009‐0650
MISS PATRICIA K L CHONG & NORMAN T S CHONG JT     APT 1001                                1702 KEWALO ST                                            HONOLULU          HI    96822‐3037
TEN
MISS PATRICIA KORTHALS                            2236 N 2ND ST                                                                                     MILWAUKEE          WI   53212‐3226
MISS PATRICIA L LEBEAU                            46 E BROAD ST                                                                                     PLAINVILLE         CT   06062‐2344
MISS PATRICIA LOUISE MORGAN                       1030 N JERRIE AVE                       APT E                                                     TUCSON             AZ   85711‐1174
MISS PATRICIA M ATWOOD                            2836 MORGAN ST                                                                                    OAKLAND            CA   94602‐3420
MISS PATRICIA M RAUCH                             APT 202                                 610 N OWAISSA ST                                          APPLETON           WI   54911‐5265
MISS PATRICIA M ROHRBACK                          C/O PATRICIA M ANSTETT                  1940 CAMBRIDGE AVE                                        CARDIFF BY THE SEA CA   92007‐1618

MISS PATRICIA M WATSON                            9222 THROGMORTON RD                                                                               BALT              MD    21234‐1913
MISS PATRICIA MARY KELLER                         107 CAYUGA HEIGHTS RD                   APT 4                                                     ITHACA            NY    14850‐2152
MISS PATRICIA NAGLE                               116 CONLOGUE AVE                                                                                  SOUTH AMBOY       NJ    08879‐1466
MISS PATRICIA R COWHEY                            1240 N LAKE SHORE DR 21‐A                                                                         CHICAGO           IL    60610‐6650
MISS PATRICIA R PAYTAS                            13374 SCOTSMORE WAY                                                                               HERNDON           VA    20171‐4032
MISS PATRICIA R SCHAEFER                          BOX 854                                                                                           SOLANA BEACH      CA    92075‐0854
MISS PATRICIA R WHITEMAN                          ATTN PATRICIA EHRLICH                   1270 FAIRFIELD ROAD                                       GLENCOE           IL    60022‐1068
MISS PATRICIA RUTH FLICK                          1519 CLEARWATER LN                                                                                WHEELING          IL    60090‐5319
MISS PATRICIA VENITO                              2240 N CYPRESS BEND DR 305                                                                        POMPANO BEACH     FL    33069
MISS PATSIE LEE LOVELL                            5333 ROLLING RIDGE RD                                                                             RANCHO PALOS      CA    90275‐1774
                                                                                                                                                    VERDE
MISS PATSY A PUCKETT                              308 S 32ND AVE                                                                                    HATTIESBURG       MS    39401‐7215
MISS PAULA BUCHIGNANI                             #73 A                                   2351 RIVER PLZ DR                                         SACRAMENTO        CA    95833‐3244
MISS PAULA GILLMAN                                4203 S EAST AVE                                                                                   STICKNEY          IL    60402‐4418
MISS PAULA JANE CASSADY                           PO BOX 305                                                                                        E FULTONHAM       OH    43735‐0305
MISS PAULA L BROWN                                220 E 57TH ST                           APT 5B                                                    NEW YORK          NY    10022‐2816
MISS PAULA M RAIS                                 748 MIDDLE ST                                                                                     PORTSMOUTH        NH    03801‐5021
MISS PAULA S ROYER                                C/O PAULA R MULLET                      1162 DORSH                                                SOUTH EUCLID      OH    44121‐3875
MISS PAULETTE J ALTRUDA                           828 E CHESTER ST                                                                                  LONG BEACH        NY    11561‐2703
MISS PAULETTE M COOPER                            2175 IBIS ISLE RD 2                                                                               PALM BEACH        FL    33480‐5322
MISS PAULETTE SHICK                               10338 MAIN ST                           APT 210                                                   CLARENCE          NY    14031‐1651
MISS PAULINE L DENISTON                           1215 WEST 114 TERR                                                                                KC                MO    64114‐5224
MISS PAULINE M SURPRENANT                         6040 BOULEVARD EAST                     APT 34‐D                                                  WEST NEW YORK     NJ    07093‐3825
MISS PAULINE MENOUTES                             G‐1083 BRIARCLIFFE DR                                                                             FLINT             MI    48532
MISS PAULINE REESER                               4203 SALTWATER BLVD                                                                               TAMPA             FL    33615‐5630
MISS PEARL A LOCARNI                              8 HUNTERS RIDGE RD                                                                                EAST FALMOUTH     MA    02536‐4140
MISS PEARL A LOCARNI & ROBERT ARTHUR LOCARNI JT   8 HUNTERS RIDGE RD                                                                                EAST FALMOUTH     MA    02536‐4140
TEN
MISS PEARL M HERBST                               C/O ISAAC JAMES DURRETTE POA            1516 COMPTON TERRACE                                      HILLSIDE          NJ    07205‐1541
MISS PEGGY ANN ROMESBERG                          85 BRACKETT RD                                                                                    RYE               NH    03870‐2007
MISS PENELOPE JANE WILSON & ELLEN DIGGS WILSON    220 SOUTH 8TH ST                                                                                  QUAKERTOWN        PA    18951‐1522
JT TEN
MISS PENNY BAZIOTIS                               C/O POPOFF                              4530 COMANCHE                                             OKEMOS            MI    48864‐2065
MISS PEPPER D RENSHAW                             26680 SILVERLEAF LANE                                                                             HEMET             CA    92544‐7641
MISS PERMELIA JANE BROWN                          7346 SIAMESE ST                                                                                   COLUMBUS          GA    31904‐2645
MISS PERREAU DE LAUNAY                            C/O R H PERREAU DE LAUNAY               13 CHEMIN CHAMP D ANIER   1209 GENEVA   SWITZERLAND
MISS PHOEBE JANE HARRIS                           30 HEMLOCK                                                                                        BRUNSWICK         ME    04011‐3416
MISS PHYLLIS A TANO                               117 MAPLE ST                                                                                      MALDEN            MA    02148‐3819
MISS PHYLLIS A WITTIG                             61 S STONINGTON DRIVE                                                                             PALATINE          IL    60074‐6805
MISS PHYLLIS COHEN                                1585 EAST 14TH ST                                                                                 BROOKLYN          NY    11230‐7164
MISS PHYLLIS E FLEISIG                            397 MONTGOMERY AVE                                                                                PROVIDENCE        RI    02905‐1326
MISS PHYLLIS E SCHATTEN                           118 AQUA CT                                                                                       ROYAL OAK         MI    48073‐4002
MISS PHYLLIS E TITTLE                             5140 S STATE ROUTE 202                                                                            TIPP CITY         OH    45371‐9401
MISS PHYLLIS F MESCH                              3608 EAST 3RD ST                                                                                  DAYTON            OH    45403‐2230
MISS PHYLLIS I MORGAN                             C/O PHYLLIS M MORT                      BOX 69                                                    INTERCOURSE       PA    17534‐0069
MISS PHYLLIS JANE KESSLER                         235 E 22ND ST                                                                                     NEW YORK          NY    10011‐2501
MISS PHYLLIS JEANNE GELLER                        33 INGA ROAD                                                                                      ARCATA            CA    95521‐9042
MISS PHYLLIS M BUCHOLTZ                           6480 ASBURY PARK                                                                                  DETROIT           MI    48228‐5201
MISS PHYLLIS P SMITH                              20 BRADFIELD AVENUE                                                                               ROSLINDALE        MA    02131‐1902
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Name                                              Address1                                Address2               Address3        Address4          City             State Zip

MISS PHYLLIS ROSS                                 PO BOX 1986                                                                                      EAST HAMPTON     NY    11937‐0908
MISS PIA ANDERSON                                 2005 COLUMBIA PIKE                      APT. 730                                                 ARLINGTON        VA    22204
MISS PIA FIUMANA                                  APT 3719                                1000 SOUTHERN ARTERY                                     QUINCY           MA    02169‐8514
MISS PRISCILLA EVANS                              11 COUNTRY HILL LN                                                                               HAVERHILL        MA    01832
MISS PRISCILLA M CHAFFE                           461 PIERCE AVENUE                                                                                CLOVIS           CA    93612‐0726
MISS QUEEN RASCOE                                 59 SHORE VIEW DR                                                                                 YONKERS          NY    10710‐1939
MISS R ALISON LEAVITT                             ATTN R ALISON QUINN                     400 MAPLE WOOD AVE                                       WAYNE            PA    19087‐4703
MISS R ELIZABETH BRASH                            PO BOX 146                                                                                       GULFPORT         MS    39502‐0146
MISS RACHEL C SMITH                               193 WATERHOUSE RD                                                                                DAYTON           ME    04005‐6718
MISS RACHEL M THOMAS                              455 PENBROOKE DR                                                                                 FINDLAY          OH    45840‐7472
MISS RACHEL NEAL MC COY                           885 N ISLAND DR NW                                                                               ATLANTA          GA    30327‐4621
MISS RANDYE AVA WASSERMAN                         1311 GLENOAK LANE                                                                                NORTHBROOK       IL    60062‐3721
MISS RANEE B FREDERICK                            508 S 12TH ST                                                                                    PERKASIE         PA    18944‐1014
MISS RAY M KOSOFF & MURRAY KOSOFF JT TEN          2912 BRIGHTON 12TH ST APT 5G                                                                     BROOKLYN         NY    11235‐4763
MISS REBA FRANCIS BRECKLER                        PO BOX 274                                                                                       DEFIANCE         OH    43512‐0274
MISS REBA J ANTONE & MRS ELLA J DOXTATOR JT TEN   14687 SHORELINE ROAD                                                                             WOLVERINE        MI    49799‐9684

MISS REBECCA JANE HAMPTON                         809 MARTIN AV                                                                                    SALINA           KS    67401
MISS REBECCA JOAN NORRIS                          319 GARFIELD PL APT 2B                                                                           BROOKLYN         NY    11215‐2329
MISS REBECCA KEESEE                               329 FOSTER                                                                                       CORPUS CHRISTI   TX    78404‐2419
MISS REBECCA STEVENS WINSLOW                      530 COMSTOCK DRIVE                                                                               TIBURON          CA    94920
MISS REBECCA SUZANNE MEHAN                        2102 RIDGECREST DR                                                                               GARLAND          TX    75041‐1444
MISS REBECCA WRIGHT                               C/O REBECCA W KUHL                      203 19TH ST S                                            BRIGANTINE       NJ    08203‐2023
MISS REGINA A VON AHN                             4740 DENARO DR                                                                                   LAS VEGAS        NV    89135‐2466
MISS REGINA GRACE BAIOCCHI                        24 ELM COURT                                                                                     SOUTH ORANGE     NJ    07079‐2319
MISS REGINA I MC ARDLE                            77 WILLOW RD                                                                                     NAHANT           MA    01908‐1306
MISS REGINA JUNG                                  ATTN REGINA BOLL                        349 34TH ST                                              HERMOSA BEACH    CA    90254
MISS REGINA T KOEHL                               9251 S AVERS AVE                                                                                 EVERGREEN PARK   IL    60805‐1415
MISS REGINA YATTAW                                2115 KELLOGG BAY RD                                                                              VERGENNES        VT    05491‐9070
MISS REGIS LOUISE BOYLE                           8100 CONNECTICUT AVE                    APT 1403                                                 CHEVY CHASE      MD    20815‐2820
MISS RENA STERN                                   35351 GLENGARY                                                                                   FARMINGTON HILLS MI    48331‐2653

MISS RENE GILLIAM                                 2724 WESTMINISTER                                                                                DALLAS           TX    75205‐1505
MISS RENEE KELLER                                 207 DICKSON CIR                                                                                  WILLISTON PARK   NY    11596‐1409
MISS RENEE MARIE MURPHY                           ATTN R M SMITH                          9509 PINE DR                                             LYNDON           IL    61261‐9520
MISS RENEE RICHMAN                                APT 206                                 9242 GROSS POINT RD                                      SKOKIE           IL    60077‐1338
MISS RENEE T BEAUREGARD                           1244 GILLASPIE DR                       # 19                                                     BOULDER          CO    80305‐6600
MISS RENEE TRILLING                               10009 WALNUT DR #204                                                                             KANSAS CITY      MO    64114‐4422
MISS RHEA PLOTTEL                                 255 WEST 88TH ST                                                                                 NEW YORK         NY    10024‐1716
MISS RHONDA ELLIS                                 410 VALLEY FORGE CT                                                                              MEDFORD          NJ    08055‐8459
MISS RHONDA L LUNDEEN                             ATTN RHONDA L CHRISTIANER               13011 TANGELO DR                                         SUN CITY WEST    AZ    85375‐1823
MISS RICHIE ANN ROOK                              3577 DUBERRY CT NE                                                                               ATLANTA          GA    30319‐1901
MISS RITA B BERTRAM                               431 LELAND PLACE                                                                                 LANSING          MI    48917‐3526
MISS RITA BENN                                    3755 CHARTER PL                                                                                  ANN ARBOR        MI    48105‐2826
MISS RITA D ROCHE                                 104 BEAU PRE DR                                                                                  MANDEVILLE       LA    70471‐1527
MISS RITA E KENNEDY                               8 PARKWAY ROAD                                                                                   BROOKLINE        MA    02445‐5405
MISS RITA L ASKEW                                 121 WINDERMERE DR                                                                                ST CLAIRSVLE     OH    43950‐1670
MISS RITA L DUFFY & WILLIAM G DUFFY JT TEN        PO BOX 2545                                                                                      CAREFREE         AZ    85377‐2545
MISS RITA M GALLAGHER                             ATT RITA M THOMSON                      1218 W HOOD AVE                                          CHICAGO          IL    60660‐2512
MISS RITA M SUGHRUE                               68 MARSHALL ST                                                                                   NASHUA           NH    03060‐4622
MISS RITA MOGLIA                                  42 ELM ST                                                                                        SOMERVILLE       MA    02143‐2229
MISS RITA OGUREK                                  APT J‐4                                 3101 PORTOFINO POINT                                     COCONUT CREEK    FL    33066‐1248
MISS ROANNA LEE ARZANI                            RD 2                                    BOX 102                                                  MARATHON         NY    13803‐9418
MISS ROBERTA BRUCE GILL                           406 MAIN ST                                                                                      SAUSALITO        CA    94965‐2414
MISS ROBERTA DE BLASIO                            16 BUWGATOW WLK                         PO BOX 696                                               OCEAN BEACH      NY    11770‐0696
MISS ROBERTA E LEE                                3 RIDGEWOOD DRIVE                                                                                MILFORD          CT    06460‐7725
MISS ROBERTA J MOOG                               6270 JEAN DULUTH RD                                                                              DULUTH           MN    55803‐9742
MISS ROBERTA K BAWDEN                             218 E RANDALL ST                        APT 226                                                  APPLETON         WI    54911‐3643
MISS ROBERTA K BUSSE                              C/O MRS K MACAL                         4832 OAKWOOD                                             DOWNERS GROVE    IL    60515‐3456
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Name                                              Address1                                Address2               Address3        Address4          City              State Zip

MISS ROBERTA L ROSS                               5032 N COLLEGE AVE                                                                               INDIANAPOLIS      IN    46205‐1134
MISS ROBERTA M CRAWFORD                           794 LONGWOOD DRIVE                                                                               BATON ROUGE       LA    70806‐5833
MISS ROBERTA M ROYCE                              C/O R SMITH                             634 RIVERLAKE WAY                                        SACRAMENTO        CA    95831‐1123
MISS ROBERTA M TACY                               139 MOUNTAIN DR                                                                                  PITTSFIELD        MA    01201‐7424
MISS ROBERTA M WASSON                             701 S GRANT AVE                                                                                  MASON CITY        IA    50401‐4741
MISS ROBERTA SUE COGEN                            ATTN ROBERTA COGEN MILLER               7760 S 87TH ST                                           FRANKLIN          WI    53132‐8537
MISS ROBIN A LOVE                                 3 FOX CHASE DR                                                                                   COHOES            NY    12047‐1439
MISS ROBIN LADAS                                  144 W 86TH ST 7D                                                                                 NEW YORK          NY    10024‐4028
MISS ROBIN SUE MILLER                             437 BELMONT RD                                                                                   BUTLER            PA    16001‐2148
MISS ROBIN WOOD                                   ATTN MRS ROBIN WOOD CARR                2034 HOPEDALE AVENUE                                     CHARLOTTE         NC    28207‐2126
MISS ROCHELLE DAVIDSON                            25 THORNTON WAY                         APT 332                                                  BRUNSWICK         ME    04011‐3263
MISS ROMAINE GORNATI                              WALTEN APTS                             503 W 10TH ST APT 5                                      ERIE              PA    16502‐1355
MISS RONA J NEWMARK                               300 WEST ST                                                                                      NORTHBOROUGH      MA    01532‐1244
MISS ROSALIE A SIMEONE                            11 YANKEE LN                                                                                     ASHLAND           MA    01721‐2524
MISS ROSALIE BRULLO                               C/O R MINO                              1929 84TH ST                                             BROOKLYN          NY    11214‐3007
MISS ROSALIE FAULKNER LOVING                      3921 ROYAL BLVD                                                                                  LYNCHBURG         VA    24503‐2457
MISS ROSALIE G FERRILLO                           21 LAWSON LANE                                                                                   RIDGEFIELD        CT    06877‐3956
MISS ROSALIE SIMPSON                              C/O ROSALIE S SWANSON                   3754 W ADDISON ST                                        CHICAGO           IL    60618‐5008
MISS ROSANNA LOUISE MARSHALL                      BOX 259                                                                                          MILFORD           DE    19963‐0259
MISS ROSE A IMPALLOMENT                           685 LAKE SHORE RD                                                                                GROSSE POINTE     MI    48236‐1832
                                                                                                                                                   SHRS
MISS ROSE ANN MALONE                              109 N CADILLAC DR                                                                                YOUNGSTOWN        OH    44512‐3317
MISS ROSE APPLEBAUM                               73‐46 SPRINGFIELD BLVD                                                                           BAYSIDE           NY    11364‐3022
MISS ROSE CAZAL                                   2‐RUE‐JEAN‐JAURES                       MORNE‐ROUGE            C97260          MARTINIQUE
MISS ROSE GIANGARRA                               161 HAMDEN AVE                                                                                   SI                NY    10306‐3412
MISS ROSE J GOETZ                                 6254 KINCAID ROAD                                                                                CINCINNATI        OH    45213‐1416
MISS ROSE M DE MILIA                              50 ELM STREET                                                                                    SLEEPY HOLLOW     NY    10591‐2222
MISS ROSE M SPARANO                               ONE OGDEN RD                                                                                     OSSINING          NY    10562‐2303
MISS ROSE MAE BURTON                              6125 CAIRO RD                                                                                    PADUCAH           KY    42001‐9633
MISS ROSE MARIE KELLEY                            1305 CINNAMINSON AVE                                                                             CINNAMINSON       NJ    08077‐2104
MISS ROSE MARIE MANIX                             7765 FOREST HILL LN                                                                              PALOS HEIGHTS     IL    60463‐2599
MISS ROSE MARONE                                  784 WEBBER AVE                                                                                   WEST BABYLON      NY    11704‐7022
MISS ROSE MASI                                    C/O ROSE M ALESSIO                      7506 E HOBART ST                                         MESA              AZ    85207‐4817
MISS ROSE THERESE LYONS                           255 BELLA VISTA DRIVE                                                                            BETHLEHEM         PA    18017‐2450
MISS ROSEANNE FIORILLO                            1778 RENSSELAER AVE                                                                              SCHENECTADY       NY    12303‐3918
MISS ROSEMARIE BLOOM                              2130 WINGED FOOT RD                                                                              HALF MOON BAY     CA    94019‐2237
MISS ROSEMARIE BUTTER                             C/O SQUERI                              2034 SPRINGHOUSE RD                                      BROOMALL          PA    19008‐3115
MISS ROSEMARIE CARNAGO & MRS JENNY N STANO JT     24816 MANHATTAN                                                                                  ST CLAIR SHORES   MI    48080‐1175
TEN
MISS ROSEMARIE CIMINELLO                          21 WHISTLER ROAD                                                                                 SCARSDALE         NY    10583‐4822
MISS ROSEMARIE D PRAT                             BOX 342                                                                                          KENTFIELD         CA    94914‐0342
MISS ROSEMARIE GUEST                              C/O MRS ROSEMARIE MIKUCKI               4916 NO KNIGHT AVE                                       NORRIDGE          IL    60706‐2958
MISS ROSEMARIE KLUN                               6862 METRO PARK DR                                                                               CLEVELAND         OH    44143
MISS ROSEMARY CENTNER                             2678 BYRNESIDE DR                                                                                CINCINNATI        OH    45239‐6404
MISS ROSEMARY H BARBELLA                          3701 INTERNATIONAL DRIVE                APT 113                                                  SILVER SPRING     MD    20906‐1556
MISS ROSEMARY J THEILE                            8906 NE 25TH AVE                                                                                 VANCOUVER         WA    98665‐9055
MISS ROSEMARY KLINGLER                            C/O MRS R SCHUGEL                       R ROUTE 2              BOX 179A                          NEW ULM           MN    56073‐9569
MISS ROSEMARY LUCK                                161 ELMWOOD AVE                                                                                  BOGOTA            NJ    07603‐1611
MISS ROSEMARY MARLEY                              555 MONMOUTH AVE #1D                                                                             SPRING LAKE       NJ    07762‐2044
                                                                                                                                                   HEIGHT
MISS ROSEMARY T KILEY                             5861 FENTON CT                                                                                   GREENDALE         WI    53129‐2106
MISS ROSEMARY TOTH                                6242 ST JOSEPH DRIVE                                                                             SEVEN HILLS       OH    44131‐2861
MISS ROSEMARY WARD                                1209 21ST AVE                           APT B119                                                 ROCK ISLAND       IL    61201‐7942
MISS ROSIE M DICKEY                               1011 N 10TH ST                                                                                   ARKANSAS CITY     KS    67005‐1946
MISS ROSLYN MAE OSTERMAN                          12067 MALLET DR                                                                                  CINCINNATI        OH    45246‐1806
MISS ROYANNA JANE BENJAMIN                        321 S EAST AVE                                                                                   WAUKESHA          WI    53186‐6211
MISS RUBIE GAIL GIBBS                             HC 66 BOX 338                                                                                    RENICK            WV    24966‐9628
MISS RUBY LOUISE MAC DONALD & MISS IVY ISABELLE   9 VENNER RD                                                                                      ARLINGTON         MA    02476‐8027
MAC DONALD JT TEN
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Name                                               Address1                              Address2                           Address3   Address4          City               State Zip

MISS RUTH ANN MC QUAID                             1870 SYCAMORE DR                                                                                      SAN MARINO         CA    91108‐2920
MISS RUTH B LAINE                                  19540 SCOTLAND DRIVE                                                                                  SARATOGA           CA    95070‐5028
MISS RUTH B WOHL                                   20 REVERE RD                                                                                          ARDSLEY            NY    10502‐1226
MISS RUTH C FLEMING                                526 WOOD ST                           APT 133                                                         BETHLEHEM          PA    18018‐4460
MISS RUTH CABLE                                    97 7TH ST EXTENSION                                                                                   NEW KENSINGTON     PA    15068‐5216

MISS RUTH E ACKERMAN                               C/O MRS RUTH E CUMMEROW               5132 PARKSIDE DR                                                OREGON             OH    43616‐3057
MISS RUTH E FRETWELL                               ATTN RUTH E DRUMM                     12419 SHAWMONT LN                                               BOWIE              MD    20715‐3122
MISS RUTH E JOHNSON                                7260 W PETERSON AVE                   APT E223                                                        CHICAGO            IL    60631‐3600
MISS RUTH ELEANOR BROWN                            PO BOX 337                                                                                            MARLBOROUGH        NH    03455‐0337
MISS RUTH ELLEN KESSLER                            C/O RUTH ELLEN LICHTENFELD            8010 DAYTONA                                                    CLAYTON            MO    63105‐2510
MISS RUTH GALLO                                    41 STEWART ST                                                                                         FLORAL PARK        NY    11001‐2910
MISS RUTH HAMMERSMITH                              122 S BRAINARD ST                                                                                     NAPERVILLE         IL    60540‐4904
MISS RUTH HEPLER                                   846 FOUNTAIN ST                                                                                       ASHLAND            PA    17921‐9013
MISS RUTH HERTZKA                                  3755 PEACHTREE RD NE #610                                                                             ATLANTA            GA    30319‐1323
MISS RUTH HUDSON                                   86‐1 CASTLEBURY CRES                  WILLOWDALE ON                                 M2H 1W8 CANADA
MISS RUTH MC MAHON                                 ATTN LOOMIS                           361 PORTLAND DR                                                 VERMILION          OH    44089‐1922
MISS RUTH MILTS                                    308 W 30 ST                           8D                                                              NEW YORK           NY    10001‐2707
MISS RUTH ONA HOTT                                 C/O RUTH BRAKONIECKI                  833 HURLEY                                                      HOWELL             MI    48843‐8955
MISS RUTH PETRAITIS & MRS WANDA T PETRAITIS JT     1008 HILLCREST DR                                                                                     NESHANIC STATION   NJ    08853‐4151
TEN
MISS RUTH R HESS                                   C/O RUTH R NIELSEN                    525 GREGORY AVE APT 2D                                          WEEHAWKEN          NJ    07086‐5702
MISS RUTH RUDA                                     2215 CRUGER AVE APT 2B                                                                                BRONX              NY    10467‐9407
MISS RUTH S CARVER                                 204 SPRINGFIELD AVENUE                                                                                FOLSOM             PA    19033‐1319
MISS RUTH ULLMANN                                  1600 E 17TH ST                                                                                        BROOKLYN           NY    11230‐6710
MISS RUTH UYEMURA                                  RUTH UYEMURA                          350 WEST SCHAUMBURG RD APT D1653                                SCHAUMBURG         IL    60194

MISS RUTH V JOHNSTONE                              32 RESERVATION ROAD                                                                                   MILTON             MA    02186‐4109
MISS RUTH Y CASSELL                                3075 WALNUT BEND LANE #23                                                                             HOUSTON            TX    77042‐3325
MISS S ANTOINETTE HOPKINS                          49 CHATHAM RD                                                                                         HARWICH            MA    02645‐3149
MISS S GAIL KRANTZ                                 C/O GLICKMAN                          3388 OAKWOOD BLVD N                                             SARASOTA           FL    34237‐7411
MISS S SUSAN GRIFFIN                               14923 ARROWHEAD DR                                                                                    LEANDER            TX    78641
MISS SABINA MALQUICHAGUA                           22261 WOODED RIDGE DR                                                                                 KILDEER            IL    60047‐8576
MISS SABRINA TINGLE                                478 TERRACE DR                                                                                        FAIRBANKS          AK    99712‐1641
MISS SALI ANN LUTWIN                               1131 MEADOWBROOK DRIVE                                                                                SYRACUSE           NY    13224‐1757
MISS SALLIE ELLEN SMITH                            430 E 55TH ST                                                                                         KC                 MO    64110‐2454
MISS SALLIE FRANCES WILLIAMS                       1501 CERRO GORDO                                                                                      LOS ANGELES        CA    90026‐2029
MISS SALLY A BURTON                                5506 PINE KNOLL BLVD                                                                                  NOBLESVILLE        IN    46060‐8405
MISS SALLY A FITZPATRICK & JOHN G FITZPATRICK JT   ATTN SALLY A WALLER                   3 BURNBRAE RD                                                   TOWSON             MD    21204‐4211
TEN
MISS SALLY A LANIGAN                               1122 PIERMONT RD                                                                                      SOUTH EUCLID       OH    44121‐2937
MISS SALLY ANN COYLE                               5520 LOCKRIDGE RD                                                                                     DURHAM             NC    27705‐8006
MISS SALLY ANN DEAN                                C/O MRS SALLY DEAN WOLFE              8309 CANTERBURY LN                                              CLYMER             NY    14724
MISS SALLY ANN MUNGER                              BOX 1346                                                                                              OCALA              FL    34478‐1346
MISS SALLY C DILL                                  801 BALD EAGLE RD                                                                                     REHOBOTH BEACH     DE    19971‐1419

MISS SALLYANN VOORHEES                             1292 DOGWOOD DRIVE                    SUNSET LAKE                                                     BRIDGEWATER TWP NJ       08807‐1224

MISS SANDRA ANN BABCOCK                            ATTN SANDRA ANN DELAURIER             99 ISLAND CIR                                                   SARASOTA           FL    34242‐1931
MISS SANDRA C JOHANNESEN                           C/O J SANDRA FITZ                     79 WEST ST APT 3D                                               WORCESTER          MA    01609‐3031
MISS SANDRA C STEELE                               60 WEST CEDAR ST                                                                                      BOSTON             MA    02114‐3310
MISS SANDRA E GEBER                                2907 FALLSTAFF RD                     APT TERR 5                                                      BALTIMORE          MD    21209‐3264
MISS SANDRA E SKWIRUT                              C/O SANDRA E JASZEK                   18 CRESCENT RD                                                  NEEDHAM            MA    02494‐1436
MISS SANDRA GAIL ATWATER                                                                                                                                 SALEM              NY    12865
MISS SANDRA JANE DEAN                              RTE 3 BOX 237C                                                                                        BUCKHANNON         WV    26201‐9477
MISS SANDRA JEAN BOLLINGER                         PO BOX 1205                                                                                           SHELBYVILLE        TN    37162‐1205
MISS SANDRA JEAN GRIMM                             C/O SANDRA JEAN DICKSON               BO 1113                                                         WOODACRE           CA    94973
MISS SANDRA KAY COLE                               C/O S TORRANCE                        1808 CROSS BEND RD                                              PLANO              TX    75023‐6516
                                           09-50026-mg               Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
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MISS SANDRA KAY COLE & HARDIE C COLE TEN COM   C/O S TORRANCE                       1808 CROSS BEND RD                                        PLANO               TX    75023‐6516

MISS SANDRA L GARDELLA                         PO BOX 5190                                                                                    CAREFREE            AZ    85377‐5190
MISS SANDRA L MAAS                             C/O SANDRA MAAS STAMER               2180 CRESTMOOR DRIVE                                      SAN BRUNO           CA    94066‐2802
MISS SANDRA L SWISLOW                          15806 ORLAN BROOK DR                                                                           ORLAND PARK         IL    60462
MISS SANDRA LINCOLN SHAW                       C/O MRS SANDRA SHAW PERRY            BOX 238                                                   KILLINGTON          VT    05751‐0238
MISS SANDRA LYNN SHAW                          925 MEADOW DR                                                                                  COPPER CANYON       TX    75077‐8532
MISS SANDRA M GALLAGHER                        22411 ELIZABETH PLACE CT APT G                                                                 KATY                TX    77494‐2227
MISS SANDRA RIFFE                              C/O S MORRIS                         7531 S GRANITE CT                                         TULSA               OK    74136‐7253
MISS SANDRA S STETTLER                         1201 MCDUFFIE ST APT 147                                                                       HOUSTON             TX    77019‐3619
MISS SANDRA SANTUCCI                           ATTN SANDRA ELLIS                    44 BELTON ST                                              STANHOPE            NJ    07874‐3414
MISS SANDRA ZAKUTA                             696 CHEMIN PETITE                    RIVIERE SUD            ST EUSTACHE QC   J7R 4K3 CANADA
MISS SANDY MAE MILLER                          81 IRVING PL                                                                                   NEW YORK            NY    10003‐2208
MISS SARA A RUDE                               5438 S CORNELL AVE                                                                             CHICAGO             IL    60615‐5604
MISS SARA GRACE SHELNUTT                       3034 CHAPEL HILL RD                                                                            DOUGLASVILLE        GA    30135‐1710
MISS SARA LOUISE JOHNSON                       375 FOREST VALLEY CT                                                                           ATLANTA             GA    30342‐2300
MISS SARAH ANN STEVENSON                       16487 ALPINE LANE                                                                              PIONEER             CA    95666‐9657
MISS SARAH COLEMAN                             ATTN MRS SALLY SENF                  382 BRITTANY CIRCLE                                       CASSELBERRY         FL    32707‐4504
MISS SARAH COONLY CARTY                        315 JELIFF MILL RD                                                                             NEW CANAAN          CT    06840‐6515
MISS SARAH E DENNISON                          211 WILLOW VALLEY SQUARE #C202                                                                 LANCASTER           PA    17602‐4861
MISS SARAH E DIFFENDAL                         14613 STONEGREEN LN                                                                            HUNTERSVILLE        NC    28078
MISS SARAH ELIZABETH KENDALL                   4830 KENNETT PIKE #4610                                                                        WILMINGTON          DE    19807‐1862
MISS SARAH F ORWIG                             40 E CEDAR STREET                    APT#17A                                                   CHICAGO             IL    60611‐5103
MISS SARAH GROSSMAN                            1320‐51 STREET APT F‐1                                                                         BROOKLYN            NY    11219
MISS SARAH JEANNE PEGRAM                       ATTN SARAH PEGRAM NELSON             15956 TEMECULA ST                                         PACIFIC PALISADES   CA    90272‐4238

MISS SARAH KINDLEBERGER                        14A N COMMONS                                                                                  LINCOLN         MA        01773‐1116
MISS SARAH LEE GORELICK                        PO BOX 6973                                                                                    SHAWNEE MISSION KS        66206‐0973

MISS SARAH LOUISE DOWNS                        29 SANDY BROOK LANE                                                                            YARMOUTH            ME    04096‐6786
MISS SELMA LEE MARKOWITZ                       APT 4‐M                              430 S FULLER AVE                                          LA                  CA    90036‐5389
MISS SHAM KEN CHIN                             APT 4E                               90 BEEKMAN ST                                             NEW YORK            NY    10038‐1876
MISS SHARI J GOTTESMAN                         7 BLAKE CIR                                                                                    BRICK TOWN          NJ    08724‐1906
MISS SHARON GORMLEY                            304 DREW DRIVE                                                                                 ST JAMES            NY    11780‐3301
MISS SHARON L PALMER                           1620 MAYFLOWER COURT                 BRADFORD B‐611                                            WINTER PARK         FL    32792‐2500
MISS SHARON L RASKEY                           4516 DUCKHORN CT                                                                               GRAND BLANC         MI    48439‐2417
MISS SHARON L RUTENBERG                        C/O MRS SHARON L R ROSENBERG         745 MARION AVE                                            HIGHLAND PARK       IL    60035‐5123
MISS SHARON M BUDD                             1506 SCHILLER ST                                                                               ALAMEDA             CA    94501‐2636
MISS SHARON M STRACHAN                         PMB 5447                             413 WALNUT ST                                             GREEN CV SPGS       FL    32043‐3443
MISS SHARON R BATE                             C/O MRS S R STAUP                    3580 BOWERS RD                                            ATTICA              MI    48412‐9404
MISS SHARON SMITH                              C/O LUARDO                           254 HATHAWAY LANE                                         WYNNEWOOD           PA    19096‐1924
MISS SHEILA ELIZABETH TIERNEY                  ATTN MRS SHEILA BEZRNCIK             755 FARMINGTON AVE                                        WEST HARTFORD       CT    06119‐1653
MISS SHEILA FITZPATRICK                        68 WILDWOOD DR                                                                                 BURLINGTON          VT    05401‐2640
MISS SHEILA FLANAGAN                           220 N SHAMOKIN ST                                                                              SHAMOKIN            PA    17872‐5459
MISS SHEILA J COSTELLO                         41 FEDERAL STREET                                                                              BEVERLY             MA    01915‐5742
MISS SHELLEY J MALKIN                          2055 WEST MCCLEAN AVE                                                                          CHICAGO             IL    60647‐4532
MISS SHELLEY MYERS                             C/O MRS S ROSS                       333 E 30TH ST 20‐M                                        NY                  NY    10016‐6461
MISS SHERI ELIZABETH BROWN                     P O BOX 5651                                                                                   CAREFREE            AZ    85377
MISS SHERYL A STRADER                          56 ROWANWOOD AVE                     TORONTO ON                              M4W 1Y9 CANADA
MISS SHERYL A TYRRELL                          2345 W 158 CIRCLE                                                                              STANLEY             KS    66224‐9774
MISS SHERYL ANN CORYELL                        377 COVENTRY RD                                                                                KENSINGTON          CA    94707‐1247
MISS SHERYL HAMBURG                            C/O S SIMON                          4564 SALTILLO ST                                          WOODLAND HILLS      CA    91364‐5425

MISS SHIRLEY A BENNETT                         143 ROUTE 70                                                                                   TOMS RIVER          NJ    08755‐0971
MISS SHIRLEY A GREENBAUM                       APT 1B                               40 CLARKSON AVENUE                                        BROOKLYN            NY    11226‐1910
MISS SHIRLEY C SCULLY                          PO BOX 1260                                                                                    VENICE              CA    90294‐1260
MISS SHIRLEY E DALRYMPLE                       1804 PARKSIDE PLACE                                                                            INDN HBR BCH        FL    32937
MISS SHIRLEY F RICKETSON                       311 EASTERN ST                       BUILDING E APT 1004                                       NEW HAVEN           CT    06513‐2521
MISS SHIRLEY F TEPLITSKY                       176 HILLCREST DRIVE                                                                            WAYNE               NJ    07470‐5632
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MISS SHIRLEY KAYE SIMMONS                      100 BLUFF VIEW DRIVE APT 208B                                                                        BEL AIR BLUFF     FL    33770‐1373
MISS SHIRLEY M TOMOVIC                         3861 ROLLING ACRES DR                NIAGARA FALLS ON                              L2J 3C2 CANADA
MISS SHIRLEY MAE BORYCZKA                      367 95TH ST APT 3B                                                                                   BROOKLYN          NY    11209‐7362
MISS SHIRLEY R STAYMAN                         ATTN S BROMBERG                      7319 PANACHE WAY                                                BOCA RATON        FL    33433‐6940
MISS SHIRLEY R WILLIAMS                        24 UPLAND DR                                                                                         CHAPPAQUA         NY    10514‐2804
MISS SHIRLEY WALKER                            8720 HIGH DRIVE                                                                                      SHAWNEE MISSION   KS    66206‐1530

MISS SHIRLEY WOO & DAVID ROSENFELD JT TEN      119 MAGNOLIA AVE                                                                                     PIEDMONT          CA    94610‐1031
MISS SHIRLEY WOOLVERTON                        11965 W 66TH PL #B                                                                                   ARVADA            CO    80004‐2483
MISS SHULAMITH SIMON                           7483 PERSHING                                                                                        ST LOUIS          MO    63130‐4021
MISS SIDNEY B MAC DONALD                       133 30TH AVENUE                                                                                      SAN FRANCISCO     CA    94121‐1005
MISS SILVA PALLOTTA                            ATTN SILVIA MAROTTA                  4525 VALLEY WOODS                                               INDEPENDENCE      OH    44131‐5248
MISS SOLANGE GIGI HERBET                       222 EAST 93RD ST APT 23 B                                                                            NEW YORK          NY    10128‐3757
MISS SOPHIE B OLOWNIK                          911 PARKWAY AVE                                                                                      TRENTON           NJ    08618‐2307
MISS SOPHIE VOORHOEVE                          C/O TRUSTMAATSCHAPPIJ MEES &         HOPE B V KNEUTERDIJK 11   2514 EM THE HAGUE   NETHERLANDS
MISS STACY ANNE WELCH                          1935 MILLER CT                                                                                       WALNUT CREEK      CA    94595‐2346
MISS STELLA COMUNALE                           381 SULLIVAN COURT                                                                                   RAHWAY            NJ    07065‐3714
MISS STELLA JANE RAWITZ                        69‐02‐C 186TH LANE                                                                                   FRESH MEADOWS     NY    11365‐4406
MISS STEPHANIE C FLACK                         170 E 87TH ST APT W18B                                                                               NEW YORK          NY    10128‐2240
MISS STEPHANIE D OPDAHL                        278 STONY LANE RD                                                                                    STEVENS           PA    17578‐9628
MISS STEPHANIE GERVAIS                         ATTN STEPHANIE GERVAIS‐FINN          3914 SHILOH WAY                                                 TALLAHASSEE       FL    32308‐9450
MISS STEPHANIE JAYNE PETERS                    20133 S OREGON TRAIL                                                                                 OLYMPIA FIELDS    IL    60461‐1143
MISS STEPHANIE L WONG                          1350 30TH AVE                                                                                        SF                CA    94122‐1410
MISS STEPHANIE PANYKO                          15 GLEN RIDGE RD                                                                                     MAHOPAC           NY    10541‐4207
MISS STEPHANIE PASMAN                          15106 KESTRELRISE DR                                                                                 LITHIA            FL    33547
MISS SUDIE F BATES                             PO BOX 3492                                                                                          JACKSON           TN    38303‐3492
MISS SUE ALVIS                                 1705 S ROUTT WAY                                                                                     LAKEWOOD          CO    80232‐6151
MISS SUE ANN DERR                              2613 RICKS CT                                                                                        EDMOND            OK    73003‐4312
MISS SUE ELLEN HEIDEL                          1803 REPUBLIC ROAD                                                                                   SILVER SPRING     MD    20902‐4243
MISS SUE F VIDLER                              C/O MRS SUE F V RAKOW                422 CHESTNUT ST                                                 ITHACA            NY    14850‐3013
MISS SUE KURTJIAN                              9912 NIVER                                                                                           ALLEN PARK        MI    48101‐3708
MISS SUSAN A ALIBER & SHEILA ALIBER JT TEN     56 ARDMORE ROAD                                                                                      NEEDHAM HEIGHTS   MA    02494‐1833

MISS SUSAN A HAWLEY                            C/O MARIE W HAWLEY                   4 IRVING PLACE                                                  ONEONTA           NY    13820‐1522
MISS SUSAN BENNETT SCHWINN                     W5178 COUNTY HIGHWAY B                                                                               FONTANA           WI    53125‐1641
MISS SUSAN BILLINGS                            PO BOX 270                                                                                           PETERBOROUGH      NH    03458‐0270
MISS SUSAN C BROWN                             3621 W 227TH PL                                                                                      TORRANCE          CA    90505‐2660
MISS SUSAN C HAPPE                             1751 WESTWOOD DR                                                                                     MINDEN            NV    89423‐4719
MISS SUSAN C NEWCOMER                          621 NORTH ROOK AVENUE                                                                                TUCSON            AZ    85711‐1630
MISS SUSAN D MALONEY                           C/O SUSAN D ZORGE                    18 SAUNDERS DR                                                  SHREWSBURY        MA    01545‐3159
MISS SUSAN E BRADSHAW                          21 MALIBU CT                                                                                         TOWSON            MD    21204‐2047
MISS SUSAN E JOHNSON                           1521 SHORE CLUB DR                                                                                   ST CLAIR SHORES   MI    48080‐1550
MISS SUSAN E KIRST                             3500 WEST 152ND ST                                                                                   CLEVELAND         OH    44111‐2111
MISS SUSAN E KUKUK                             7 SYLVAN AVE                                                                                         DELMAR            NY    12054‐3311
MISS SUSAN ELAINE APFELBAUM                    C/O SUSAN A LEVINE                   PROSPECT STREET                                                 LITCHFIELD        CT    06759
MISS SUSAN ELIZABETH ALGER                     18 KINGSMOUNT PARK RD                TORONTO ON                                    M4L 3L1 CANADA
MISS SUSAN ELIZABETH DINNEEN                   913 DEBONAIR DR                                                                                      ENDICOTT          NY    13760‐1640
MISS SUSAN ELIZABETH WATSON                    216 NAVAJO RD                                                                                        PITTSBURGH        PA    15241‐1123
MISS SUSAN F FOSTER                            238 DODGE STREET                                                                                     BEVERLY           MA    01915‐1248
MISS SUSAN G MC DANIEL                         1101 BATH AVE                                                                                        ASHLAND           KY    41101
MISS SUSAN GINSBERG                            ATTN MRS SUSAN BECK                  4 BOLTON DRIVE                                                  MANHASSET         NY    11030‐3942
MISS SUSAN GOODMAN                             3613 DOWNING WAY                                                                                     LOUSIDVILLE       KY    40218‐1471
MISS SUSAN HALL                                7739 E OAKSHORE DR                                                                                   SCOTTSDALE        AZ    85258‐3490
MISS SUSAN J ALTENBURGER                       3244 SHADY GLEN DR                                                                                   GRAPEVINE         TX    76051‐6502
MISS SUSAN J GODFREY                           723 SWEET PEA LN                                                                                     HANOVER           PA    17331‐7858
MISS SUSAN J MAC MASTER                        552 EAST MT RD SOUTH                                                                                 COLD SPRING       NY    10516
MISS SUSAN J RUSSELL                           13141 SPERRY ROAD                                                                                    CHESTERLAND       OH    44026‐3210
MISS SUSAN JANE AUSTIN                         C/O SUSAN AUSTIN ATHOW               9 PINERIDGE DRIVE                                               VICKSBURG         MS    39180‐5447
MISS SUSAN JEAN HOEHN                          11499 35 MILE RD                                                                                     ROMEO             MI    48065‐2508
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Name                                              Address1                              Address2                      Address3   Address4             City               State Zip

MISS SUSAN KAHN                                   175 EAST 74TH STREET                  APT 5A                                                        NEW YORK           NY    10021‐3211
MISS SUSAN L CONOVER                              4001 CAPSTONE CT                                                                                    FORT COLLINS       CO    80525‐5624
MISS SUSAN L HARRAH                               PO BOX 196                                                                                          CHATHAM            PA    19318‐0196
MISS SUSAN LYNN MERKLE                            6719 OAKLAND ROAD                                                                                   LOVELAND           OH    45140‐6529
MISS SUSAN M ABELL                                BOX 235                                                                                             CORVALLIS          OR    97339‐0235
MISS SUSAN M CORNICK                              3395 EVERETT DR                                                                                     BOULDER            CO    80303‐6914
MISS SUSAN M LUBBE & MRS ROSEMARY LUBBE JT TEN    4939 LAKEVIEW DR                                                                                    QUINCY             IL    62305‐7905

MISS SUSAN M POLLAK                               51 MARTIN ST                                                                                        CAMBRIDGE          MA    02138‐1616
MISS SUSAN M TALMAGE                              56 TUCKAHOE LN                                                                                      SOUTHAMPTON        NY    11968‐3228
MISS SUSAN MABREY                                 2809 LINCOLN ST                                                                                     EVANSTON           IL    60201‐2044
MISS SUSAN MARGARET YOST                          ATTN SUSAN JEWELL WOOD                2616 TEMPLE HILLS DR                                          LAGUNA BEACH       CA    92651‐2036
MISS SUSAN MARY HOGAN                             5100 EDEN AV                          APT 102                                                       MINNEAPOLIS        MN    55436‐2333
MISS SUSAN MURPHY                                 ATTN S M RAHIYA                       239 WOODS EDGE CT                                             MARIETTA           GA    30068‐4868
MISS SUSAN OHLIS                                  4022 WILDCAT CT                                                                                     GREENFIELD         WI    53228‐1890
MISS SUSAN SAYRE                                  19 E 76TH ST                                                                                        NY                 NY    10021‐1721
MISS SUSAN SCOTT ECKEL                            3312 SOUTH CIRCLE                                                                                   KNOXVILLE          TN    37920‐4799
MISS SUSAN STAFF                                  ATTN SUSAN STAFF CALVERT              902 35TH ST                                                   HALEYVILLE         AL    35565‐6739
MISS SUSAN STAHL                                  84‐53 GOLDINGTON CT                                                                                 MIDDLE VILLAGE     NY    11379‐2430
MISS SUSAN WALKER COLKET                          PO BOX 81                                                                                           TITUSVILLE         NJ    08560‐0081
MISS SUSANNA B FOURMAN                            PO BOX 42                                                                                           BOLINAS            CA    94924‐0042
MISS SUSIE E SCOTT                                C/O SUSIE S WESTRY                    13505 BARTLETT ST                                             ROCKVILLE          MD    20853‐2940
MISS SUZANNE C BROWN                              6 WESTLYN PL                                                                                        ALBANY             NY    12203‐3418
MISS SUZANNE E FRANKLIN                           917 BAMBI DRIVE                                                                                     DESTIN             FL    32541‐1801
MISS SUZANNE HIDEN MC MURRAN                      BOX 125                                                                                             BARBOURSVILLE      VA    22923‐0125
MISS SUZANNE K SZELAGOWSKI                        3092 TOWN HALL RD                                                                                   WISCONSIN RAPIDS   WI    54495‐9295

MISS SUZANNE MC GEE                               ATTN SUZANNE MCGEE‐TRIMPER            41 MCCLENNY DR                AUORA ON   L4G 5P8 CANADA
MISS SUZANNE P MARTIN                             C/O MRS S M LACY                      PO BOX 37                                                     AXTON              VA    24054‐0037
MISS SUZANNE WALLER                               306 MIDLAND DR                                                                                      MORGANFIELD        KY    42437‐1810
MISS SYLVIA A CHIEPPO                             C/O S BROOKES                         2465 NORTHSIDE DR             #501                            CLEARWATER         FL    33761‐2239
MISS SYLVIA D WALLACE                             708 W WELLINGTON 1                                                                                  CHICAGO            IL    60657‐5308
MISS SYLVIA L ECCEL                               609 NORTON AVE                                                                                      ARABI              LA    70032‐1923
MISS SYLVIA N JOHNSON                             ATTN R BLUMENTHAL                     E1071 WHISPERING PINES ROAD                                   WAUPACA            WI    54981‐9732
MISS SYLVIA SANTISTEBAN                           SAN JORGE ST LAS                      CARMELITAS APT 9C             SANTURCE   PUERTO RICO
MISS TAMARA D LIVESAY                             513 WESTFIELD RD                                                                                    FRIENDSWOOD        TX    77546‐6320
MISS TANYA JANE TURNER                            280 FOX RIDGE CIR                                                                                   LEWISVILLE         NC    27023‐8664
MISS TERESA ANN TUCCI                             ATTN TERESA ANN BOYLE                 677 BLACKSTONE DR                                             MYRTLE BEACH       SC    29579‐8844
MISS TERESA CARIOTO                               10889 SW 83RD CT                                                                                    OCALA              FL    34481‐3624
MISS TERESA KATHERINE GILL                        44 BAYBERRY DRIVE                                                                                   SOMERSET           NJ    08873‐4204
MISS TERESA M PELOSO                              763B HERITAGE HILLS                                                                                 SOMERS             NY    10589‐4014
MISS TERESA S STORELLI                            6 GERHARD RD E                                                                                      PLAINVIEW          NY    11803‐5502
MISS TERESA VOJTILA                               730 RIDGE AVE                                                                                       FORD CITY          PA    16226‐1143
MISS TERRI ANN WINN MARVIN E WINN & EDITH R       RR 2 BOX 176                                                                                        CRAWFORDSVILLE     IN    47933‐9426
WINN JT TEN
MISS TERRY LEE MARTINET                           23 THUNDER TRAIL                                                                                    IRVINE             CA    92614‐7419
MISS TERRY MAYER                                  165 E 35TH ST                                                                                       NEW YORK           NY    10016‐4180
MISS TERRY R MANZ                                 2809 78TH AVE N                                                                                     BROOKLYN PARK      MN    55444‐1824
MISS THELMA BANGERT & GLENN B DIETRICH JT TEN     10405 FOX HOLLOW                                                                                    SAN ANTONIO        TX    78217‐3802

MISS THEMI VASILS & MISS THEODORA VASILS JT TEN   1448 N LAKE SHORE DRIVE                                                                             CHICAGO            IL    60610‐6655

MISS THERESA E IZZO                               5300 NORTHERN BLVD                                                                                  GLEN HEAD      NY        11545‐2722
MISS THERESA ELLEN PATE                           ATTN THERESA ELLEN TABOLT             677 CAYUGA AVE                                                WATERTOWN      NY        13601‐1103
MISS THERESA HAMMOND                              6 CLEVELAND ST                                                                                      NORFOLK        MA        02056‐1042
MISS THERESA J RAFFERTY                           APT 503B                              3405 WEST CHESTER PIKE                                        NEWTOWN SQUARE PA        19073‐4254

MISS THERESE A CURA                               1020 RED OAK DR                                                                                     CHERRY HILL        NJ    08003
MISS THERESE FROMMER                              2 MAHAL ST APT 27                     JERUSALEM                                ISRAEL
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Name                                              Address1                              Address2                Address3       Address4          City               State Zip

MISS THERINE REGINA SHIVELY                       433 MESA LILA RD                                                                               GLENDALE           CA    91208‐1038
MISS TIFFANY ROWE                                 31 SIMPSON AVE                        BOWMANVILLE ON                         L1C 3M5 CANADA
MISS TILLIE SINRAM                                C/O PAPENFUSS                         130 FLEETWOOD ROAD                                       DUMONT             NJ    07628‐2212
MISS TINA LUBRANO                                 480 SELBOURNE ROAD                                                                             RIVERSIDE          IL    60546‐1654
MISS TINA MUSOLINO                                14880 WEST DEVLIN DR                                                                           GOODYEAR           AZ    85338‐8672
MISS TOMMYE SUE CARNEY                            1040 CARNEY RD                                                                                 CRYSTAL SPRINGS    MS    39059‐9100
MISS TONI WOOD                                    1330 DIAMOND ST                                                                                SAN DIEGO          CA    92109‐3042
MISS TRACY J GERHART                              6201 MAREN DR                                                                                  SPEEDWAY           IN    46224‐3211
MISS TREVA MORRISON                               809 OAK GROVE ST                                                                               OIL CITY           PA    16301‐1278
MISS UNA OFLYNN                                   26 NINE GATES ROAD                                                                             CHADSFORD          PA    19317‐9258
MISS URSULA PRADOS SAVOIE                         8226 CYPRESS LAKE                                                                              BATON ROUGE        LA    70809‐1777
MISS V JANE LA MOTTE                              20 BLUE STONE ROAD                                                                             WOODSTOCK          NY    12498‐1731
MISS VALENTINA A LIZAK                            415 W MARKET ST                                                                                POTTSVILLE         PA    17901‐2930
MISS VALERIE ANNE BISSELL                         122 MALEE TER                                                                                  PORTSMOUTH         RI    02871‐3423
MISS VALERIE J LONGO & MRS EUGENIA I LONGO JT TEN 345 LAKE COURT                                                                                 MARTINEZ           CA    94553‐5477

MISS VALERIE J TRENCHARD                          11 POND BRIDGE WAY                                                                             E ROCHESTER        NY    14445‐1900
MISS VALERIE SCHEIBE                              520 NE 59TH ST                                                                                 MIAMI              FL    33137‐2231
MISS VELMA J DEMETER                              154 SW SELVA COURT                                                                             PORT SAINT LUCIE   FL    34983‐2003
MISS VERNA J TUCKER                               C/O ALLEGRA RICH                      226 PLAYA DE NORTE ST                                    LAJOLLO            CA    92037‐5964
MISS VERNELIA A CRAWFORD & DESSIE WOODRUFF JT     48 MAPLE AVENUE                                                                                FRANKLINVILLE      NY    14737‐1311
TEN
MISS VERONICA O WALLASH                           9 S ARGYLE AVE                                                                                 MARGATE CITY       NJ    08402‐2805
MISS VERONICA T KAMINSKI                          C/O VERONICA K BARCZAK                314 MORRIS AVE                                           LUTHERVILLE        MD    21093‐5326
MISS VICKI GEURTS                                 ATTN VICKI G FAIRCHILD                8245 HIGHWAY F17 W                                       BAXTER             IA    50028‐8665
MISS VICKI L HALL CUST SHARA LEMONS A MINOR       40 PACES LANDING                                                                               COVINGTON          GA    30016‐4167
UNDER THELAWS OF GEORGIA
MISS VICKI MICHELLE NIGRISS                       12560 ARBOR NORTH DRIVE                                                                        ALPHA RETTA        GA    30004‐6609
MISS VICKIE SUE CHILES                            C/O KIMBERLIN                         5231 PATTERSON RD                                        SAINT LOUIS        MO    63129
MISS VICKY LEE THOMAS                             PO BOX 970                                                                                     LOMITA             CA    90717‐0970
MISS VICTORIA ANNE GREGORY                        10845 SE LAKE ROAD                                                                             BELLEVUE           WA    98004‐7552
MISS VICTORIA GOMEZ                               17 WOOD END LANE                                                                               BRONXVILLE         NY    10708‐4922
MISS VICTORIA GRYSPINSKI                          209 GRASSY LAKE RD                                                                             CLERMONT           FL    34711‐8739
MISS VICTORIA LEE PICKERING                       5007 EARLSTON DRIVE                                                                            BETHESDA           MD    20816‐1672
MISS VICTORIA M SPEED                             PO BOX 131                                                                                     MOUNT MORRIS       MI    48458‐0131
MISS VICTORIA REGINA GRAF                         58 CONGER AVE                                                                                  BURLINGTON         VT    05401
MISS VIKKI H QUICK                                6 HAYDEN DR                                                                                    ATKINSON           NH    03811‐5115
MISS VINCENZINA BERARDI                           195 HILL TOP CIR                                                                               NICHOLS            CT    06611‐5103
MISS VIOARA SUSTREAN                              APT 407                               1025 SE 4TH AVE                                          DANIA BEACH        FL    33004‐5240
MISS VIOLA E LARSEN                               50 FRANCISCO STREET                   SUITE 120                                                SAN FRANCISCO      CA    94133‐2108
MISS VIOLET AHARONIAN                             2609 SUNSET BLVD                                                                               BROOMALL           PA    19008‐1905
MISS VIOLET M ANDERSON                            ATTN VIOLET M BOTT                    621 LEWISVILLE RD                                        WOODSFIELD         OH    43793‐9285
MISS VIRGINIA ANN BLANCK                          7235 NORTHFIELD CIR                                                                            FLUSHING           MI    48433‐9427
MISS VIRGINIA ANNE RISER                          501 HELIOS AVENUE                                                                              METAIRIE           LA    70005‐3243
MISS VIRGINIA BARTOLOMEO                          5036 AMPERE ST                                                                                 PITTSBURGH         PA    15207‐1633
MISS VIRGINIA BEA WISE                            4023 US 62                                                                                     MAYSVILLE          KY    41056‐8523
MISS VIRGINIA C CALIGUIRI                         APT 6                                 201 EAST END AVE                                         PITTSBURGH         PA    15221‐2760
MISS VIRGINIA D MURPHY                            APT 28                                4180 PARK AVE                                            BRIDGEPORT         CT    06604‐1040
MISS VIRGINIA E SHANKS                            326 N ADAMS ST                                                                                 QUINCY             FL    32351‐1710
MISS VIRGINIA FOX                                 C/O V CORD                            2900 SURREY ROAD                                         BIRMINGHAM         AL    35223‐1215
MISS VIRGINIA HEITZ                               8455 W LAWRENCE                                                                                CHICAGO            IL    60656‐2955
MISS VIRGINIA HUGHES                              W3675 JUDDVILLE RD                                                                             FISH CREEK         WI    54212‐9758
MISS VIRGINIA INGRAM JOHNSON                      435 NE 111TH ST                                                                                MIAMI              FL    33161‐7155
MISS VIRGINIA J BUXTON                            6029 HEATHERWOOD DRIVE                                                                         ALEXANDRIA         VA    22310‐1773
MISS VIRGINIA J KOWALSKI & JOSEPH J KOWALSKI JT   302 PINEVIEW COURT                                                                             SAINT CLAIR SHORES MI    48081‐1195
TEN
MISS VIRGINIA KAVANAGH                            322 MORRIS ST                                                                                  WOODBURY           NJ    08096‐2631
MISS VIRGINIA KAYE PINCKNEY                       C/O KAYE PINCKNEY STANLEY             604 WAIGHT STREET                                        BEAUFORT           SC    29902‐4347
MISS VIRGINIA LEE SOO                             280 DOUGLANE                                                                                   SAN JOSE           CA    95117‐1021
                                           09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
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Name                                              Address1                             Address2                Address3            Address4          City            State Zip

MISS VIRGINIA M GARNER                            C/O MRS V MANN                       2528 ALBEMARLE AVE                                            RALEIGH         NC    27610‐1810
MISS VIRGINIA M RINGBERG                          C/O MRS KURBJUN                      30 NORTHAMPTON DR                                             HAMPTON         VA    23666‐2031
MISS VIRGINIA M SIRC                              5685 WILLET LANE                                                                                   WESTERVILLE     OH    43081‐8669
MISS VIRGINIA MC CABE                             200 FOREST AVE                                                                                     KEANSBURG       NJ    07734‐1946
MISS VIRGINIA R HEARTY                            81 LINDEN AVE                                                                                      ROCHESTER       NY    14610‐3527
MISS VIRGINIA R SCHIAVULLI                        ATTN VIRGINIA R DICKSON              94 MALCOLM RD                                                 NORTH KINGSTOWN RI    02852‐1311

MISS VIRGINIA ROHDE                            BOX 5172                                                                                              MS STATE UNIV   MS    39762‐5172
MISS VIRGINIA SMEGELSKI                        288 SPRING ST                                                                                         NAUGATUCK       CT    06770‐2961
MISS VIRGINIA T DEWEY                          84 FAIRMONT AVE                                                                                       NEWTON          MA    02458‐2506
MISS VIRGINIA Z MC CALL                        8919 PARK RD #HC‐68                                                                                   CHARLOTTE       NC    28210‐7629
MISS VIVEGA ULFVENS                            C/O ULF‐VENS                            RUNEBERSGATAN 50‐A 10   00260 HELSINKI 26   FINLAND
MISS VLASTA KLOS                               7105 PLEASANTDALE DR                                                                                  COUNTRYSIDE     IL    60525‐5072
MISS WANDA JABLONSKA                           27 KILLEN ROAD                                                                                        WALLINGFORD     CT    06492‐2693
MISS WANDA KLASINSKI                           602 SHAWNEE LANE                                                                                      BEDFORD         OH    44146‐3462
MISS WANDA M JANECZEK & EDWARD JANECZEK JT TEN 34 CYPRESS ST                                                                                         LUDLOW          MA    01056‐2419

MISS WANDA PETRELLA                               PO BOX 335                           804 SOMERSTOWN LANE                                           OCEANVILLE      NJ    08231‐0335
MISS WANDA SCHWEIZER                              C/O MRS WANDA SCHWEIZER PRAISNER     34 SKI HILL DRIVE                                             BEDMINISTER     NJ    07921‐2529
MISS WANDA SIMONE                                 1515 THE FAIRWAY APT 445                                                                           RYDAL           PA    19046
MISS WENDY A CURTIS                               112 VILLAGE HILL DRIVE                                                                             SPENCERPORT     NY    14559‐1418
MISS WENDY BETH GOLDBERG                          ATTN WENDY BETH GRAND PRE            25 CHICKADEE LN                                               ALISO VIEJO     CA    92656‐1815
MISS WENDY ELLEN ROTTMAN                          61 CLUB POINTE DRIVE                                                                               WHITE PLAINS    NY    10605‐4466
MISS WENDY J BROOKS                               5 GREGORY CT                                                                                       DOVER           DE    19904‐2200
MISS WENDY JACKSON                                380 ASPEN FOREST DR                  OAKVILLE ON                                 L6J 6H5 CANADA
MISS WENDY JOYCE WATSON                           C/O WENDY W CURTIS                   10338 SE 304TH PL                                             AUBURN          WA    98092‐2550
MISS WENDY SUE LAURING                            207 E 15TH ST APT 6J                                                                               NEW YORK        NY    10003‐3749
MISS WILLIE C HARRELSON                           5422 CARLINGFORD CT                                                                                CHARLOTTE       NC    28208‐2465
MISS WILMA MC GUIRE                               40 PROFESSIONAL CENTER PKWY                                                                        SAN RAFAEL      CA    94903‐2703
MISS WINIFRED ARMSTRONG                           400 CENTRAL PARK W                   APT 5P                                                        NEW YORK        NY    10025‐5829
MISS WINIFRED B BOGGS                             ATTN MRS W B MYRICK                  15655 ROWE RD                                                 ALPHARETTA      GA    30004‐2628
MISS WINIFRED L ROTHMEYER                         142 ROTHMEYER RD                                                                                   AMSTERDAM       NY    12010‐8271
MISS WINIFRED MC HUGH                             306 STONEGATE LN                                                                                   HOPEWELL JCT    NY    12533‐3243
MISS YUKI NAKASHIMA                               3279 GLENDON AVE                                                                                   LOS ANGELES     CA    90034‐4405
MISS YVONNE C ARMITAGE & MRS VEVA I ARMITAGE JT   ATTN YVONNE GREENE                   805 S 19TH                                                    SLATON          TX    79364‐4717
TEN
MISS YVONNE PATTERSON                             1 SUMMIT ST                                                                                        PHILADELPHIA    PA    19118‐2832
MISS ZANDRA ROSENBLUM                             2200 CENTRAL ROAD APT #3‐C                                                                         FORT LEE        NJ    07024‐7557
MISS ZELLA O BUTTRAM                              220 HIGH ST                                                                                        VALDOSTA        GA    31602‐2935
MISSOURI R ROWE                                   1519 DELWOOD ROAD                                                                                  WILMINGTON      DE    19803‐3924
MISSOURI SOUTHERN STATE COLLEGE                   3950 E NEWMAN RD                                                                                   JOPLIN          MO    64801‐1512
MISTY D BROWN                                     3860 OLIVE AVE                                                                                     SHADYSIDE       OH    43947
MITCH E HARTMAN                                   RD #4 BOX 94                                                                                       BEDFORD         PA    15522‐8906
MITCH L WALL                                      13735 BRIAR LAKE                                                                                   BATON ROUGE     LA    70809‐5527
MITCH ROBINSON                                    140 CORTEZ ST                                                                                      MELBOURNE BCH   FL    32951‐3811
MITCH WILLSON & JOAN WILLSON JT TEN               4513 W 2200 NO                                                                                     OGDEN           UT    84404‐9317
MITCHAEL D LARSON                                 19 RIVER SIDE BLVD                                                                                 SAGINAW         MI    48602‐1077
MITCHEL D HUFF                                    350 E LEES ST                                                                                      TUCSON          AZ    85705‐6722
MITCHEL D MEADORS                                 5303 BURNETT ST                                                                                    LEAVITTSBURG    OH    44430‐9409
MITCHEL F HOPKINS                                 11510 NASHVILLE HWY                                                                                NASHVILLE       MI    49073‐9301
MITCHEL L CORTINO                                 1307 LEEWARD LN                                                                                    WYLIE           TX    75098‐7945
MITCHELL A BLANKS                                 949 ABBEY RD                                                                                       EAST LANSING    MI    48823‐7368
MITCHELL A FERGURSON                              4126 RACE ST                                                                                       FLINT           MI    48504‐2298
MITCHELL A NELSON                                 529 N CRESTWAY                                                                                     WICHITA         KS    67208‐3851
MITCHELL A PIECUCH                                18170 GREATWOOD LN                                                                                 MANTUA          OH    44255‐9545
MITCHELL A RAAB & SANDRA RAAB JT TEN              208 HURONDALE DRIVE                                                                                WHITE LAKE      MI    48386‐2528
MITCHELL A RASKA                                  29109 32‐MILE ROAD                                                                                 RICHMOND        MI    48062‐5102
MITCHELL A SABAL                                  45824 REEDGRASS LN                                                                                 BELLEVILLE      MI    48111‐6401
MITCHELL A WILLIAMS                               509 NE 2ND ST                                                                                      BLUE SPRINGS    MO    64014‐2901
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MITCHELL B BLOCK & ROBIN S BLOCK TEN COM          49 SPRING LN                                                                                   SHARON             MA    02067‐2240
MITCHELL B FRIEDMAN                               2621 LAKE AV                                                                                   WILMETTE           IL    60091‐1213
MITCHELL BELL GENTRY                              1108 MERLOT DR                                                                                 SOUTHLAKE          TX    76092
MITCHELL BERGER                                   3101 ROYAL PALM AVE                                                                            MIAMI              FL    33140‐3937
MITCHELL BUCZEK & RUTH M BUCZEK JT TEN            20125 LEDGESTONE                                                                               SOUTHFIELD         MI    48076‐4980
MITCHELL C MULLINS & DEBBIE M MULLINS JT TEN      PO BOX 2164                                                                                    CLINTWOOD          VA    24228‐2164

MITCHELL C PRESTON                                571 AMI LN                                                                                     CLARKDALE          AZ    86324‐3724
MITCHELL C STONEHOCKER                            5406 RIVERSIDE STATION BLVD                                                                    SECAUCUS           NJ    07094‐4454
MITCHELL D CLARK                                  509 TENNESSEA AVE                                                                              ALEXANDRIA         VA    22305‐1336
MITCHELL D HALL                                   1240 JULIA DR SW                                                                               WARREN             OH    44481‐9630
MITCHELL D HOUSER                                 844 FOUR STREAMS DRIVE                                                                         WEST CHESTER       PA    19382‐7069
MITCHELL D LA BAIR                                9750 RICH ROAD                                                                                 MAYVILLE           MI    48744‐9315
MITCHELL DON CLAUSON                              4261 MAHOGANY DRIVE                                                                            STERLING HEIGHTS   MI    48310‐4579

MITCHELL E GAAGE                                 RR 1 277                                                                                        BOGARD             MO    64622‐9803
MITCHELL E MILLER CUST MEREDITH R MILLER UTMA FL 224 RIVER DR                                                                                    TEQUESTA           FL    33469‐1934

MITCHELL E SEIDLER                                RTE 2 BOX 4002 PLAIN ROAD                                                                      KINGSTON           MI    48741‐9802
MITCHELL E WILDER                                 215 WINDERMERE DR                                                                              MIDDLESBORO        KY    40965‐9437
MITCHELL ENGEL                                    C/O SUSAN E NAUS                      4407 DICKSON RD                                          INDIANAPOLIS       IN    46226
MITCHELL ETHIER                                   74 HILLSIDE DR                                                                                 MAPLEVILLE         RI    02839
MITCHELL F WAGNER                                 4851 LAKEWOOD DR                                                                               CEDAR RAPIDS       IA    52411‐7843
MITCHELL FORD JR                                  347 NEWBURGH AVE                                                                               BUFFOLO            NY    14215‐3518
MITCHELL FRUCHT                                   17532 NW 7TH ST                                                                                PEMBROKE PINES     FL    33029‐3101
MITCHELL G ENGLAND                                15930 CLINTON RD                                                                               SPRINGPORT         MI    49284‐9762
MITCHELL G HOWELL                                 1412 LYNDALE DR                                                                                CHARLESTON         WV    25314‐2138
MITCHELL G KOVACHEVICH                            2165 EAST WILLIAMSON                                                                           BURTON             MI    48529‐2445
MITCHELL GOINS                                    30600 ROSSLYN AVE                                                                              GARDEN CITY        MI    48135‐1388
MITCHELL GORDEUK                                  COUNTY RD 519                         BOX 656                                                  FRENCHTOWN         NJ    08825
MITCHELL H BROWN                                  3114 N CAPITAL AVE                                                                             INDIANAPOLIS       IN    46208‐4626
MITCHELL H FEDORICK                               4235 9TH ST                                                                                    ECORSE             MI    48229‐1272
MITCHELL H SMITH JR                               5611 BLACK AVE                                                                                 PLEASANTON         CA    94566‐5803
MITCHELL HENRY FEDORICK JR                        20627 EMMETT AVE                                                                               TAYLOR             MI    48180‐4310
MITCHELL J ACKERSON                               895 VT RTE 11W                                                                                 CHESTER            VT    05143‐9119
MITCHELL J AZAR                                   54850 W EIGHT MILE RD                                                                          NORTHVILLE         MI    48167‐9735
MITCHELL J CORNWELL                               28210 OAKLANDS RD                                                                              EASTON             MD    21601‐8256
MITCHELL J DZIEDZIC                               6510 WOODWARD AVE                     APT 204                                                  DOWNERS GROVE      IL    60516‐2319
MITCHELL J LAHR & MARY ANN LAHR JT TEN            13520 STONEBARN LN                                                                             NORTH POTOMAC      MD    20878‐3996
MITCHELL J MC HALPINE                             17201 LILLY PAD CT                                                                             NORTHVILLE         MI    48168‐2237
MITCHELL J SHAMPINE                               4354 SILVER LK RD                                                                              LINDEN             MI    48451‐9069
MITCHELL J TIMMONS                                3800 CORNELL                                                                                   SHREVEPORT         LA    71107‐3907
MITCHELL J VANNESS                                303 W 10 ST                           PO BOX 995                                               LAPEL              IN    46051‐0995
MITCHELL J WARDOSKY                               8087 POTTER RD                                                                                 DAVISON            MI    48423‐8112
MITCHELL JAMES REZAC                              109 HARTWALL DR                                                                                AIKEN              SC    29803‐8721
MITCHELL JAY LIPP & SUSAN ROSENBLUM LIPP JT TEN   200 E 24TH STREET APT 1903                                                                     NEW YORK           NY    10010‐3932

MITCHELL K LEIS                                   5524 TIFFANY LN                                                                                SPRINGFIELD        OH    45502‐6303
MITCHELL KINZER                                   8834 CARLYLE AVE                                                                               SURFSIDE           FL    33154‐3355
MITCHELL KOHUT & JOSEPHINE KOHUT JT TEN           36595 BOYCE DR                                                                                 CLINTON TWP        MI    48035
MITCHELL L BRANAM                                 678 SULLIVAN CT                                                                                DAYTON             OH    45431‐2849
MITCHELL L BROWN                                  2861 HIGHGATE AVENUE                                                                           EAST LANSING       MI    48823‐2325
MITCHELL L COUSINS                                2016 LILAC LANE                                                                                DECATUR            GA    30032‐5222
MITCHELL L GEROU                                  3126 VARJO CT                                                                                  KEEGO HARBOR       MI    48320‐1321
MITCHELL L HERR                                   4447 S 600 E                                                                                   KOKOMO             IN    46902‐9229
MITCHELL L MAYNARD                                2704 DONITHAN RD                                                                               LOUISA             KY    41230‐8586
MITCHELL L MERCER                                 PO BOX 742                                                                                     ADA                MI    49301‐0742
MITCHELL L RIVET                                  5965 PETROS DRIVE                                                                              WEST BLOOMFIELD    MI    48324‐3114
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MITCHELL L SHAPIRO                                  81 EGREMONT PLAIN RD                                                                             GREAT            MA    01230‐1732
                                                                                                                                                     BARRINGTON
MITCHELL LEE GOLDFIELD & PATRICIA J GOLDFIELD JT    9 STOCKTON DRIVE                                                                                 VOORHEES         NJ    08043‐3941
TEN
MITCHELL LOPEZ                                      PO BOX #87389                                                                                    PHOENIX          AZ    85080‐7389
MITCHELL LOY CUST SAMUEL CHARLES WAYNE LOY          732 MORGANS RIDGE DR                                                                             MONROE           GA    30656‐8110
UTMA GA
MITCHELL LURIN & MRS DENA LURIN JT TEN              111 SARATOGA SQ                                                                                  WAYNE            NJ    07470‐6364
MITCHELL M DIXON                                    296 MC CONKEY DRIVE                                                                              KENMORE          NY    14223‐1034
MITCHELL M DIXON & ROSEMARY DIXON JT TEN            296 MC CONKEY DRIVE                                                                              KENMORE          NY    14223‐1034
MITCHELL M MIKE                                     2008 IRWIN ST                                                                                    ALIQUIPPA        PA    15001‐2941
MITCHELL M PALKOSKI                                 4681 HEMLOCK                                                                                     LAKE             MI    48632‐9243
MITCHELL M PARKER                                   PO BOX 691                                                                                       OCEAN CITY       MD    21843‐0691
MITCHELL MACK & PEGGY LEROY MACK TEN ENT            31711 OLMSTEAD                                                                                   ROCKWOOD         MI    48173‐1206
MITCHELL MATEJAK & ALAN MATEJAK JT TEN              3963 TIMBERBROOK LANE                                                                            MARIETTA         GA    30066‐8007
MITCHELL MIKE SUZICH                                28477 DONNELLY                                                                                   GARDEN CITY      MI    48135
MITCHELL MODELL                                     PO BOX 235                                                                                       ALPINE           NJ    07620‐0235
MITCHELL MURDOCK                                    327 1/2 N CORONADO                                                                               LOS ANGELES      CA    90026‐4801
MITCHELL O ALEXANDER                                9809 APPLETON                                                                                    KANSAS CITY      MO    64134‐2352
MITCHELL P BATCHELOR                                12834 PROMENADE                                                                                  DETROIT          MI    48213‐1418
MITCHELL P LAKES                                    341 LANTIS DR                                                                                    CARLISLE         OH    45005‐3250
MITCHELL P MARCINKOWSKI                             11516 DUNN RD                                                                                    RILEY            MI    48041‐1318
MITCHELL P MROCZKOWSKI                              207 E SECOND AVE                                                                                 LANGELOTH        PA    15054
MITCHELL P SELF                                     889 PORTLAND TERRIS                                                                              COLLINSVILLE     IL    62234
MITCHELL PORITZKY                                   900 PARK AVENUE                                                                                  NEW YORK         NY    10021‐0231
MITCHELL RIBITWER CUST ARI CHAIM RIBITWER UGMA      1285 STUYVESSANT                                                                                 BLOOMFIELD       MI    48301‐2142
MI
MITCHELL ROSS BLASK                                 133 HARBOUR VIEW DRIVE                                                                           MASSAPEQUA       NY    11758‐8507
MITCHELL ROSSETT CUST ANTHONY WADE ROSSET           1674 FOREST AVE                                                                                  DES PLAINES      IL    60018‐1668
UTMA IL
MITCHELL S AIKEN                                    2308 MOUNTAIN CREST PL                                                                           GAINESVILLE      GA    30501‐1008
MITCHELL S COLLMAN & GWEN W COLLMAN JT TEN          BOX 16789                                                                                        CHAPEL HILL      NC    27516‐6789

MITCHELL S GAWRON                                   120 LIVINGSTON ROAD                                                                              LINDEN           NJ    07036‐4920
MITCHELL S KOZLER                                   30121 MASON ST                                                                                   LIVONIA          MI    48154‐4457
MITCHELL S MARTIN                                   1664 DAVENPORT RD                                                                                BRASELTON        GA    30517‐2036
MITCHELL S MCDOWELL & MELINDA A MCDOWELL JT         7530 LAKE RIDGE DRIVE                                                                            OCEAN SPRINGS    MS    39564‐8644
TEN
MITCHELL S MCDOWELL CUST KYLE M MCDOWELL            7530 LAKERIDGE DR                                                                                OCEAN SPRINGS    MS    39564‐8644
UTMA MD
MITCHELL S MCDOWELL CUST MASON S MCDOWELL           7530 LAKERIDGE DR                                                                                OCEAN SPRINGS    MS    39564‐8644
UTMA MD
MITCHELL S MCDOWELL CUST MORGAN E MCDOWELL          7530 LAKERIDGE DRIVE                                                                             OCEAN SPRINGS    MS    39564‐8644
UTMA MD
MITCHELL S MELTZER                                  46 WILBUR DR                                                                                     ASHLAND          MA    01721‐1433
MITCHELL S MUSZYNSKI                                68706 CLARIE STREET                                                                              EDWARDSBURG      MI    49112‐9303
MITCHELL SCHERTZ                                    6 ESHKOL ST                            ZICHRON YAAKOV                         30900 ISRAEL
MITCHELL SINGER                                     300 WINSTON DR 2402                                                                              CLIFFSIDE PARK   NJ    07010‐3236
MITCHELL SINOWAY                                    C/O MAH                                1640 FIFTH ST SUITE 205                                   SANTA MONICA     CA    90401‐3325
MITCHELL SPIRT                                      5015 ROMA COURT                                                                                  MARINA DEL REY   CA    90292‐7271
MITCHELL STAMBAUGH                                  2671 BUCKNER                                                                                     LAKE ORION       MI    48362‐2009
MITCHELL T CHISHOLM & JOAN L CHISHOLM JT TEN        16103 TURNBURY OAK DR                                                                            ODESSA           FL    33556‐2868

MITCHELL T CHISHOLM JR                              16103 TURNBURY OAK DR                                                                            ODESSA           FL    33556‐2868
MITCHELL T CLICK & PATRICIA G CLICK JT TEN          1151 AMBRIDGE RD                                                                                 CENTERVILLE      OH    45459‐4915
MITCHELL T FABISIAK & JOSEPHINE A FABISIAK JT TEN   11308 NORWAY DR                                                                                  HARTLAND         MI    48353‐3431

MITCHELL TAYLOR                                     56 WOODHAUGH ST                        DUNDEDIN                               9010 NEW ZEALAND
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MITCHELL W BOBROWIECKI                            20058 WHITE OAKS DR W                                                                                    CLINTON TOWNSHIP MI   48036‐4101

MITCHELL W JACOBS & BONNIE JACOBS JT TEN          1515 HEWLETT AVENUE                                                                                      HEWLETT         NY    11557‐1511
MITCHELL W MCALISTER                              7100 LYNN ST                            PO BOX 47                                                        SHAFTSBURG      MI    48882‐0047
MITCHELL W MILLER                                 15146 BELLE RIVER RD                                                                                     BERLIN TWP      MI    48002‐1800
MITCHELL WALTER MCLOSKY                           1535 S MORRICE RD                                                                                        OWOSSO          MI    48867‐4766
MITCHELL WEBB                                     3526 W HILLCREST AVE                                                                                     DAYTON          OH    45406‐2613
MITCHELL WORONIEWICZ                              34018 SPRING VALLEY DR                                                                                   WESTLAND        MI    48185‐1448
MITCHELLE M UTTER                                 4532 CAMPOBELLO ST                                                                                       SAN DIEGO       CA    92130‐2715
MITRA PLANZO                                      220 EAST 54TH STREET                                                                                     NEW YORK        NY    10022‐4837
MITSUKO HANKINSON                                 1017 E NORTH ST                                                                                          KOKOMO          IN    46901‐3147
MITSUKO SAKAMOTO                                  PO BOX 487                                                                                               PISMO BEACH     CA    93448‐0487
MITSURU KOBAYASHI & NAOMI KOBAYASHI JT TEN        14408 SE SUMMIT CT                                                                                       CLACKAMAS       OR    97015‐7288

MITSUYE E MISAWA                                  2212 FIFTH AVE                                                                                           LOS ANGELES     CA    90018‐1123
MITSUYO S WRIGHT                                  16 SHERMAN AVE                                                                                           GLEN RIDGE      NJ    07028‐1441
MITTIE D FROST                                    13502 MEYERS                                                                                             DETROIT         MI    48227‐3916
MITTIE L LESTER                                   7300 STONEWALL                                                                                           FORT WORTH      TX    76140‐2534
MITTY M SATKOWIAK                                 3999 LOT MUD CREEK RD                                                                                    WILLIAMSBURG    KY    40769‐6571
MITZI A BRADY                                     308 GENESEE ST                                                                                           DURAND          MI    48429‐1404
MITZI A FERGUSON                                  C/O MACKEY                              6672 BLOSSOM GREEN WAY                                           CANAL WNCHSTR   OH    43110
MITZI ANN RICHARDS HEHMAN                         533 HALLAM DRIVE                                                                                         ERLANGER        KY    41018‐2214
MITZI FRIED EBERS                                 5509 GREEN MEADOW                                                                                        TORRANCE        CA    90505‐5409
MITZI GUERS                                       ROCKWOOD LANE                                                                                            DANBURY         CT    06810
MITZI H COSTIN                                    1948 LIVONIA AVE                                                                                         LOS ANGELES     CA    90034‐1127
MITZI L BOSCO RODGERS                             311 LAKESHORE RD                                                                                         DRENTON         TX    76208‐5015
MITZI LEE CHEEK                                   15511 EAGLEVIEW DRIVE                                                                                    CHARLOTTE       NC    28278
MITZI S JOHNSON                                   19333 EDGEWOOD RD                                                                                        ATHENS          AL    35614‐5927
MITZIE A LECOURS                                  9230 EMILY DR                                                                                            DAVISON         MI    48423
MIYEKO KATAOKA                                    528 NORTH CAMPBELL AVE                                                                                   ALHAMBRA        CA    91801‐1804
MIYOKO A BROTHERS                                 1887 PEARCE CIR                                                                                          SALEM           OH    44460‐1861
MIYOKO ZYNDA                                      13230 13 MILE ROAD                                                                                       WARREN          MI    48093‐3121
MIYUKI A BENAVIDES                                1518 KARON ST                                                                                            REDLANDS        CA    92374‐2020
MIYUKI FUJIMOTO                                   12791 LONGDEN ST                                                                                         GARDEN GROVE    CA    92845‐2626
MLADEN HUMER                                      6052 NORTHFIELD RD                                                                                       W BLOOMFIELD    MI    48322‐2428
MLADEN LEKICH & MRS JUDY R LEKICH JT TEN          1351 LAKEVIEW DR                                                                                         DELAND          FL    32720‐3047
MLDONA CHICHINSKAS                                2470 MOLIERE ST                         BRASSARD QC                                    J4Y 1L5 CANADA
MLLE THERESE LANOIE MRS THERESE LANOIE AQUILINA   22 RIDEAU SHORE COURT                   OTTAWA ON                                      K2C 3Y8 CANADA

MME JACQUELINE MATHIEU LEFAIVRE            467 ROUTE 125 NORD                             ST DONAT QC                                    J0T 2C0 CANADA
MME MARGUERITE GRENIER                     5706 RUE PALMER                                MONTREAL QC                                    H4W 2P3 CANADA
MOANA C DOOLEY                             5701 S RURAL RD                                APT 107                                                          TEMPE           AZ    85283‐1950
MODEST J DEROSEAU                          1731 STURGEON RIVER LN                                                                                          VANDERBILT      MI    49795‐9416
MODESTA CRESPO                             155 POLARIS ST                                                                                                  ROCHESTER       NY    14606‐3040
MODESTA DELGADO                            20706 BROOKLAWN                                                                                                 DEARBORN HTS    MI    48127
MODESTA IRIGOYEN                           426 PRICE AVE                                                                                                   CALUMET CITY    IL    60409‐2645
MODESTA PEREZ                              331 S MC DONNELL                                                                                                LOS ANGELES     CA    90022‐1833
MODESTINA GRKMAN                           BOX 32                                                                                                          YUKON           PA    15698‐0032
MODESTO GIROLAMO CUST DEANNA GIROLAMO UGMA 3704 MARTIN RD                                                                                                  JACKSBORO       TX    76458
NY
MODESTO HERNANDEZ                          228 BRAINARD DR                                                                                                 YOUNGSTOWN      OH    44512‐2803
MODESTO T GIROLAMO CUST VINCENT THOMAS     3704 MARTIN RD                                                                                                  JACKSBORO       TX    76458
GIROLAMO UGMA NY
MODIE E ROBINSON                           7217 S BENNETT AVE                                                                                              CHICAGO         IL    60649‐2905
MODINE A ALNER                             18 COTTAGE ST                                                                                                   CARBONDALE      PA    18407‐2729
MODINE KOTTKE                              1214 N QUANAH                                                                                                   TULSA           OK    74127‐5329
MODRIS ZELMAJS                             13100 KIRTON AVENUE                                                                                             CLEVELAND       OH    44135‐4902
MOE BULLER                                 APT 404                                        BUILDING #17             14307 BEDFORD DRIVE                     DELRAY BEACH    FL    33446‐2501
MOELJONO BOENTARAN                         19 JALAN GRESIK                                JAKARTA                                        INDONESIA
                                            09-50026-mg             Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
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Name                                          Address1                             Address2             Address3             Address4                City            State Zip

MOGENS S POULSEN                              HARTSMANNS PLADS 2C                  DK 2850 NAERUM                            DENMARK
MOGENS S POULSEN                              HARTMANNS PLADS 2C                   DK 2850 NAERUM                            DENMARK
MOHAMAD M SHUKR                               7304 EMANON                                                                                            DEARBORN        MI    48126‐1626
MOHAMAD‐REZA TABIDIAN KHORASGANI              2859 INYO CIRCLE                                                                                       SIMI VALLEY     CA    93063‐2001
MOHAMMAD A ANSARI                             3036 WINCHESTER RD                                                                                     WEST BLOOMFIELD MI    48322‐2410

MOHAMMAD B KHAN                               4636 MONTEGA DR                                                                                        WOODBRIDGE      VA    22192‐5311
MOHAMMAD SHEIKH                               8 WESTMINSTER LANE                                                                                     JERSEY CITY     NJ    07305‐1423
MOHAMMED A RAZAQ                              181B TECH SOCIETY                    CANAL BANK           LOHORE 20            PAKISTAN
MOHAMMED A RAZAQ                              59 CLIFTON HILL                      LONDON                                    NW8 0JN GREAT BRITAIN
MOHAMMED BUCHANON                             6154 PENWOOD RD                                                                                        MOUNT MORRIS    MI    48458‐2732
MOHAMMED FAWAZ                                13820 LITHGOW ST                                                                                       DEARBORN        MI    48126‐3517
MOHAMMED IQBAL & FARIDA IQBAL JT TEN          8200 N W 40TH CT                                                                                       CORAL SPRINGS   FL    33065‐1334
MOHAMMED JAFFARI                              8809 VERREE ROAD                                                                                       PHILADELPHIA    PA    19115‐3609
MOHAMMED M RAHMAN                             1173 NOTTINGHAM ROAD                                                                                   GROSSE POINTE   MI    48230
MOHAN BIJLANI CUST RICKY BIJLANI UGMA MA      9 MARSHALL TER                                                                                         LOWELL          MA    01854‐2814
MOHAN C RAO & SAMIDA K RAO JT TEN             29 PARKER RD                                                                                           PLAINSBORO      NJ    08536‐1414
MOHAN KALIRAI                                 1693 LOUISE BLVD                     LONDON ON                                 N6G 2R4 CANADA
MOHAN KALIRAI                                 1963 LUMB CT                         LONDON ON                                 N6G 5J4 CANADA
MOHAN MAHADKAR                                4 ARIANA COURT                                                                                         OYSTER BAY      NY    11771‐3417
MOHAN S MITAL CUST SANGEETA MITAL UGMA PA     909 PARKVIEW DR                                                                                        JOHNSTOWN       PA    15905‐1741

MOHAN SINGH BANSAL                            1142 TINKERS GREEN DRIVE                                                                               STREETSBORO     OH    44241‐4995
MOHANRAO CHANDRA PASUPULATI                   7394 BURTON DRIVE                                                                                      LIBERTY TWP     OH    45044
MOHAVE COUNTY AZ 4‐H CLUB                     ATTN GERALD W OLSON                  SUITE A              101 E BEALE ST                               KINGMAN         AZ    86401‐5827
MOHLER FAMILY A PARTNERSHIP                   WILLIAM M MOHLER                     1205 FIELDCREST DR                                                LATROBE         PA    15650‐4724
MOINUL HAQUE                                  242 MAPLE AVE SUITE 418                                                                                WESTBURY        NY    11590
MOIR G HAIRFIELD                              166 HUNTING HILLS LANE                                                                                 CRITZ           VA    24082
MOIRA A DAGES                                 2010 HENLEY ST                                                                                         GLEVIEW         IL    60025‐4245
MOIRA BARTRAM                                 561 AVENUE ROAD                      SUITE 801            TORONTO ONTARIO ON   M4V 2J8 CANADA
MOIRA F CROWELL                               28 BAYARD AVE                                                                                          KEARNY          NJ    07032‐1801
MOIRA GELLER & LORANT GELLER JT TEN           59 RENFREW AVE                       OTTAWA ON                                 K1S 1Z4 CANADA
MOIRA K ROSS                                  19 SUSAN TERRACE                                                                                       WATERFORD        CT   06385‐3515
MOIRA MORGAN DAY                              15260 DEL GADO DR                                                                                      SHERMAN OAKS     CA   91403‐4438
MOIS G HERNANDEZ                              11421 RINCON AVE                                                                                       SAN FERNANDO     CA   91340‐4140
MOISE BARCUTIAN                               1920 BRADFORD ST                                                                                       BIRMINGHAM       MI   48009‐7254
MOISES B GONZALES                             9934 TELFAIR                                                                                           PACOIMA          CA   91331‐3445
MOISES DE SOUSA                               3020 GRIFFIN RD                                                                                        CHURCHVILLE      NY   14428‐9512
MOISES GONZALEZ                               111 WILLEVER WAY                                                                                       STEWARTSVILLE    NJ   08886‐2008
MOISES PAULIN                                 7415 N OTTAWA AVE                                                                                      CHICAGO          IL   60631‐4238
MOISES R RODRIGUES                            10333 PINEHURST                                                                                        SOUTH GATE       CA   90280‐6949
MOISES SOLORZANO                              14054 DAUBERT STREET                                                                                   SAN FERNANDO     CA   91340‐3845
MOISES VARGAS                                 12255 DORWOOD                                                                                          BURT             MI   48417‐9415
MOLESTER GALLOWAY                             4617 CLAY COURT LN                                                                                     ARLINGTON        TX   76017‐1619
MOLLIE A WRIGHT                               1513 CALKINS AVE                                                                                       LONGMONT         CO   80501
MOLLIE B BROUSSARD                            C/O THOMAS R BROUSSARD LTD           485 PARK AVE         6TH FL                                       NEW YORK         NY   10022‐1228
MOLLIE B OSEGUERA                             335 NORTH DR                                                                                           DAVISON          MI   48423‐1628
MOLLIE DETOMA                                 14 HOWARD DRIVE                                                                                        SYOSSET          NY   11791‐7003
MOLLIE FERRERI                                20622 DUNHAM RD                                                                                        CLINTON TOWNSHIP MI   48038‐4452

MOLLIE H DAVIS                                1300 ELECTRIC AVE                    APT 226                                                           LINCOLN PARK    MI    48146‐5819
MOLLIE H DUNBAR                               19 RILLBANK TERRACE                                                                                    WEST HARTFORD   CT    06107‐1032
MOLLIE H REGAN                                1717 ABBEY OAK DR                                                                                      VIENNA          VA    22182‐1902
MOLLIE I WALLACE                              614 ROCK SE ST                                                                                         HARTSELLE       AL    35640‐3346
MOLLIE J GREENBERG                            2120 S HOLLY ST                      STE 206                                                           DENVER          CO    80222‐5626
MOLLIE J MATTHEWS                             427 N BURNS AVE                                                                                        W CARROLLTON    OH    45449‐1333
MOLLIE JO PORTER                              7082 CHANNELVIEW DR                                                                                    ANACORTES       WA    98221‐9080
MOLLIE KARP                                   12366 NW 50THPL                                                                                        CORAL SPRINGS   FL    33076
MOLLIE M AUSBERRY                             1216 HICKORY ST                                                                                        WINNSBORO       LA    71295‐2811
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Name                                          Address1                                 Address2                  Address3           Address4          City               State Zip

MOLLIE MC NEIL CALLAGY CUST CATHERINE CALLAGY  ALTHEA LANE                                                                                            DARIEN             CT    06820
UGMA CT
MOLLIE MC NEIL CALLAGY CUST MEGAN CALLAGY UGMA ALTHEA LANE                                                                                            DARIEN             CT    06820
CT
MOLLIE MEEK HUNTER                             199 E MCNAB RD                          APT 201                                                        POMPANO BEACH      FL    33060
MOLLIE NACRELLI MCINTYRE                       THREE SERPENTINE DRIVE                                                                                 GLEN MILL          PA    19342‐1263
MOLLIE POPKIN                                  C/O DR JOEL POPKIN                      243 SPRING ST                                                  SHREWSBURY         MA    01545
MOLLIE TIMPLE JAMES                            5203 W WATERBERRY DRIVE                                                                                HURON              OH    44839‐2283
MOLLIE WALTENBAUGH                             550 ROUTE 380                                                                                          MURRYSVILLE        PA    15668‐9712
MOLLIE WOLFE & GREGORY JOHN WOLFE & DONNA      11056 CANTERBURY DRIVE                                                                                 STERLING HEIGHTS   MI    48312‐2800
GERALYN WOLFE JT TEN
MOLLY A MCCLAIN                                HISTORY DEPT                            UNIVERSITY OF SAN DIEGO   5998 ALCALA PARK                     SAN DIEGO          CA    92110‐2429
MOLLY ANN CLARK                                302 W COURT                                                                                            WINTERSET          IA    50273‐1607
MOLLY ANN CRAWFORD                             4609 VIRGINIA AVE SE                                                                                   CHARLESTON         WV    25304‐1855
MOLLY ANN ONOFRIO                              33 VILLAGE LN                                                                                          KENSINGTON         CT    06037‐1825
MOLLY B ALLEN CUST CHRISTOPHER JOHN COCHRAN    4640 WOLF RD                                                                                           ERIE               PA    16505‐1451
UTMA TN
MOLLY B BROWN                                  105 CASCADA CV                                                                                         GEORGETOWN         TX    78633‐5634
MOLLY B HENSLEY                                8475 EAST CARPENTER RD                                                                                 DAVISON            MI    48423‐8915
MOLLY BAZEL                                    18‐65 211 STREET APT 3H                                                                                BAYSIDE            NY    11360
MOLLY BLANTON CUST PATRICK BLANTON UTMA OH     367 WEST ST                                                                                            BEREA              OH    44017‐2333

MOLLY C PETERSEN                              2420 NW 115TH AVE                                                                                       CORAL SPRINGS      FL    33065‐3422
MOLLY CADWALLADER                             4747 CRESCENT ST                                                                                        JACKSONVILLE       FL    32205
MOLLY D GUENTHER CUST MICHAEL P GUENTHER      380 PEBBLEBROOK DR                                                                                      WILLOUGHBY         OH    44094‐9172
UGMA OH
MOLLY GEORGE CUST KATE EILEEN BURKE UGMA MN   8081 TIMBER LAKE DR                                                                                     EDEN PRAIRIE       MN    55347‐1140

MOLLY GIVINSKY                                7411 BILBY ROAD                                                                                         JEROME             MI    49249‐9726
MOLLY GRAY REESE                              18409 6TH ST                                                                                            PLATTSMONTH        NE    68048‐7313
MOLLY J DOGONSKI                              18515 GLENMORE                                                                                          REDFORD            MI    48240
MOLLY J MC CULLOUGH                           9000 N PICTURE RIDGE RD                                                                                 PEORIA             IL    61615‐1743
MOLLY J SCHWINN                               7639 MOUNT HOOD BLVD                                                                                    HUBER HEIGHTS      OH    45424‐6919
MOLLY J SHANKS                                727 BUNKERHILL #10                                                                                      HOUSTON            TX    77024‐4451
MOLLY L ENGLISH                               2264 PIGEON RD                                                                                          BAD AXE            MI    48413‐9737
MOLLY M MADDEN                                6328 INDIANA                                                                                            KANSAS CITY        MO    64132‐1230
MOLLY M WARD                                  10077 ST CLAIR HWY                                                                                      CASCO              MI    48064‐1014
MOLLY MAHONE                                  236 E MOBILE TE                                                                                         MUSTANG            OK    73064‐6500
MOLLY MEDER                                   521 S MEADE                                                                                             FLINT              MI    48503‐2279
MOLLY MURTAGH MEYERS                          2603 FALMOUTH                                                                                           TOLEDO             OH    43615‐2211
MOLLY O JANICKI                               815 MAST CT                                                                                             ELDORADO HILLS     CA    95762‐3731
MOLLY OLENICK                                 233 EAST 86TH ST APT 7A                                                                                 NEW YORK           NY    10028
MOLLY R KNOX                                  6325 KINGSBURY DR                                                                                       DAYTON             OH    45424‐3020
MOLLY R REDFEARN                              107 JOHNSON LANE                                                                                        CAMDEN             SC    29020
MOLLY S BERRY                                 19201 N CLAIRMONTE ST                                                                                   SAUCIER            MS    39574‐8034
MOLLY WILHELM CUST RUGER C WILHELM UTMA OH    5500 HOMEWORTH RD                                                                                       HOMEWORTH          OH    44634‐9773

MOM POR                                       2601 MONTAGUE ST                                                                                        SELMA              AL    36701‐4876
MOMAN YOUNG                                   621 S 15TH STREET                                                                                       SAGINAW            MI    48601‐2010
MON MEE NG                                    180 PARK ROW                                                                                            NEW YORK           NY    10038‐1127
MONA A LLOYD                                  681 TOLIVER ST NE                                                                                       MARIETTA           GA    30060‐1860
MONA A LUNDBERG                               1032 TONI DR                                                                                            DAVISON            MI    48423‐2800
MONA A RADILOFF                               6701 CISCAYNE PL                                                                                        CHARLOTTE          NC    28211‐6017
MONA B BAIR                                   9199 KIPSON DRIVE                                                                                       FRANKLIN           OH    45005
MONA B RICHARDS                               6125 SE DIVISION RM 211                                                                                 PORTLAND           OR    97206‐1314
MONA C SCHREUR                                1845 BELLE TERRE                                                                                        NILES              OH    44446‐4123
MONA E HAYES                                  775 ELK RIDGE RD                                                                                        NORTHWOOD          OH    43619‐2666
MONA ELASHRAM                                 9328 CHERRY HILL RD                      APT 103                                                        COLLEGE PARK       MD    20740‐1256
MONA EVANS                                    164 PALERMO PL                                                                                          THE VILLAGES       FL    32159‐0091
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Name                                             Address1                                Address2                Address3            Address4             City               State Zip

MONA F LOWRY                                   4345N 450 W                                                                                                MIDDLETOWN         IN    47356
MONA F MEYERS & KENNETH J MEYERS JT TEN        6360 EVELYN ST                                                                                             HARRISBURG         PA    17111‐4207
MONA FRANCES OBAR & CLOVIS C OBAR JT TEN       C/O ERIKA L O'BAR                         2501 N HARVEY AVE       APT 7                                    OKLAHOMA CITY      OK    73103‐3038
MONA G JOHNSON                                 1556 CONWAY DR                                                                                             ESCONDIDO          CA    92027‐1057
MONA G MILLER                                  509 LAKE ST APT D‐4                                                                                        ITHACA             NY    14850‐2163
MONA GREVEY                                    3052 BAFFIN DRIVE                                                                                          HAMILTON           OH    45011
MONA I DARVEAUX TOD DENIS V DARVEAUX SUBJECT   218 CANTON ST                                                                                              TONAWANDA          NY    14150
TO STA TOD RULES
MONA J DOOLING                                 356 UNIVERSITY                                                                                             SOUTH LYON         MI    48178
MONA J ELLINGTON                               2706 FINDLEY DR                                                                                            SPRINGFIELD        IL    62704
MONA J LITTLE                                  45 GALLERY EST                                                                                             BEDFORD            IN    47421‐8250
MONA K MCCORMICK & PATRICIA A MCCORMICK JT TEN 8452 HOHMAN AVE                                                                                            MUNSTER            IN    46321‐2125

MONA K NOYES                                     501 HANOVER AVE                                                                                          CHERRY HILL        NJ    08002‐2017
MONA KATHRYNE MAJZOUB                            265 ORANGE LAKE DR                                                                                       BLOOMFIELD HILLS   MI    48302‐1162

MONA KEITH ADM EST RONALD M KEITH                BOX 224                                                                                                  HAWK POINT         MO    63349‐0224
MONA KOVEN                                       HAVARKON 8/5 RAMAT BEIT                 SHEMES                                      99640 ISRAEL
MONA L COLEMAN & GERALD D COLEMAN JT TEN         118 OLD FARM RD                                                                                          DANVILLE           IN    46122‐1433
MONA L DARIO                                     C/O MONA L DARIO GORZ                   PO BOX 763                                                       WHITE CLOUD        MI    49349‐1763
MONA L NICHOLSON                                 ATTN MONA L NICHOLSON ROSE              4137 SHIRLEY DRIVE                                               SAINT LOUIS        MO    63121‐3726
MONA L SHORT                                     1155 GLEN LEVEN DR                                                                                       ANN ARBOR          MI    48103‐5711
MONA M CASE                                      439 SOUTH 50 WEST                                                                                        ALBION             IN    46701‐9606
MONA M FELTNER & DAVID R FELTNER JT TEN          58715 ST RD 39                                                                                           CLAYTON            IN    46118
MONA NAKASHIMA TR MONA J NAKASHIMA TRUST UA      207 CALEDONIA ST                                                                                         SANTA CRUZ         CA    95062‐3307
01/16/04
MONA S BOLAN                                     645 NEIL AVE                            APT 1009                                                         COLUMBUS           OH    43215‐1654
MONA S DUNLAP                                    4629 WALKER N W                                                                                          WARREN             OH    44483‐1636
MONA S LOMBARDI                                  1237 EATON AVE                                                                                           BETHLEHEM          PA    18018‐1805
MONA SUZANNE MCHUGHES                            3432 ELVA LANE                                                                                           ROCKFORD           IL    61101‐1826
MONA T MC GUIRE                                  15232 VICHY CIRCLE                                                                                       IRVINE             CA    92604‐3154
MONA V THABIT                                    3357 CAMINITO GANDARA                                                                                    LA JOLLA           CA    92037‐2907
MONALEE SUE CLEMENTS                             5600 HIGHWAY 60 EAST                                                                                     HENDERSON          KY    42420‐9718
MONALISA I PEREA                                 22075 TERESA                                                                                             MISSION VIEJO      CA    92692‐1138
MONALISA MARIE GALLOWAY                          35638 BUXTON                                                                                             STERLING HGTS      MI    48310‐7402
MONDIS JUNE MCDOUGALL                            962 PROGRESS                                                                                             LINCOLN PARK       MI    48146‐2950
MONELUS CASTELLAN                                2507 NORTHWEST 116 TERRACE                                                                               CORALSPRINGS       FL    33065‐3454
MONETA COMM 4‐H CLUB                             ATTN AUDREY O LEE                       2302 MORGAN CHURCH RD                                            MONETA             VA    24121‐5712
MONETA COMMUNITY                                 ATTN LOU P BROWN                        4‐H CLUB                VOL 4‐H LEADER      2302 MORGENSCH RD    MONETA             VA    24121
MONETA COMMUNITY                                 4‐H CLUB                                C/O LOU P BROWN         2302 MORGENSCH RD                        MONETA             VA    24121‐9658
MONETTE B BURKE                                  5320 53RD AVE E                         LOT Q43                                                          BRADENTON          FL    34203‐5616
MONEY MAKERS INVESTMENT CLUB A PARTNERSHIP       222 W WELLINGTON DRIVE                                                                                   PALATINE           IL    60067‐2497

MONI MCINTYRE & MICHELE A FRATARCANGELI JT TEN   4601 5TH AVE                            APT 825                                                          PITTSBURGH         PA    15213‐3659

MONICA A BELLO                                   GM DO BRASIL AV GOIAS 1805              SAO CAETANO DO SUL      SAO PAULO           BRAZIL
MONICA A BIENIEK & CHRISTINA C BIENIEK JT TEN    12892 SPARLING                                                                                           DETROIT            MI    48212‐2441
MONICA A GRAVELINE                               2312 LOUIS AVE                                                                                           ALVA               FL    33920‐1336
MONICA A HOUTAKKER TR MONICA A HOUTAKKER         PO BOX 302                                                                                               HAZEL GREEN        WI    53811‐0302
TRUST UA 06/15/05
MONICA A KMITA TR MONICA A KMITA LIVING TRUST    49225 NORRISTOWN CT                                                                                      SHELBY TWP         MI    48315‐3967
UA 01/08/97
MONICA A PATTY                                   21900 FOXDEN LANE                                                                                        LEESBURG           VA    20175‐6359
MONICA A PEARSON                                 1603 CORNELL AVE                                                                                         INDIANAPOLIS       IN    46202‐1819
MONICA A PORTER                                  13994 PINEHURST                                                                                          DETROIT            MI    48238‐2236
MONICA A PRATHER                                 21900 FOXDEN LANE                                                                                        LEESBURG           VA    20175‐6359
MONICA A VAUGHN                                  6453 ANCROFT DR                                                                                          CLARKSTON          MI    48346‐4711
MONICA A WILSON TR MONICA A WILSON REV LIVING    2489 FOREST OAKS DRIVE                                                                                   BEAVERCREEK        OH    45431‐8558
TRUSTUA 08/02/01
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Name                                             Address1                               Address2             Address3          Address4          City              State Zip

MONICA ALI                                     1081 LANE CREEK CIR                                                                               BISHOP            GA    30621‐1185
MONICA ANN HASTINGS                            16 UNIVERSITY CI                                                                                  RANCHO MIRAGE     CA    92270‐3911
MONICA ANN MOYLE                               PO BOX10101                                                                                       BROOKSVILLE       FL    34603‐0101
MONICA ANNE SUBOTNIK                           1304 YARMOUTH TERRACE                                                                             SUNNYVALE         CA    94087‐3243
MONICA B HOUSE                                 324 KINNEY N W                                                                                    GRAND RAPIDS      MI    49544‐5705
MONICA C WEBSTER                               11 BLANSING ROAD                                                                                  MANASQUA          NJ    08736‐1307
MONICA C WOLTERS                               1032 SAN JUAN DR                                                                                  GRAND RAPIDS      MI    49506‐3453
MONICA D ANDERSON                              3216 CLAPHAM RD                                                                                   ANTIOCH           TN    37013‐1886
MONICA E GILBERT                               3838 MAVERICK CREEK                                                                               SAN ANTONIO       TX    78247
MONICA F GALANTE                               5 BROOKEDGE COURT                                                                                 WILLIAMSVILLE     NY    14221
MONICA F SWAN                                  1300 WINDMILL RUN                                                                                 WIMBERLEY         TX    79676‐6091
MONICA FERRI & LISA RENEE BROWN & PAUL DANIEL  22621 CASS RIVER DR                                                                               MACOMB            MI    48042‐4663
FERRI JT TEN
MONICA G BLAKE                                 2450 E DEL MAR BLVD UNIT 11                                                                       PASADENA          CA    91107‐4811
MONICA H BIRDSONG TOD BRUCE L BIRDSONG SUBJECT 520 BERTHA DR                                                                                     FARWELL           MI    48622
TO STA TOD RULES
MONICA HART HONEY & PAUL E HONEY JR JT TEN     240 SAN MARCO DR                                                                                  LONG BEACH        CA    90803‐3614
MONICA HOGUE HALL                              4115 SKYLINE RD                                                                                   CARLSBAD          CA    92008‐3641
MONICA INEZ VETTER                             1910 N HIGHWAY 14                                                                                 MARQUETTE         NE    68854‐2516
MONICA J BARRATT TR THE MARGARET A LOEBER LIV  1061 HARTWIG                                                                                      TROY              MI    48085‐1225
TRUST UA 06/03/02
MONICA J BURNETT                               5391 SHANNON LN                                                                                   COLUMBUS           OH   43235‐7294
MONICA J DESHAZER                              3696 NOTTINGHAM RD                                                                                DETROIT            MI   48224‐3416
MONICA J VIERCK                                ATTN MONICA J WURSTER                    N5561 JOHNSON ROAD                                       NEW LISBON         WI   53950‐9722
MONICA J WARNER                                29029 ROSEBRIAR ST                                                                                SAINT CLAIR SHORES MI   48081‐3036

MONICA K CHANDOCHIN                              192 HEATHER GLEN RD                                                                             STERLING          VA    20165‐5800
MONICA K KENNY                                   2445 E HANCOCK TRL                                                                              CASA GRANDE       AZ    85294‐9672
MONICA K ROCHE                                   84 ROANOKE AVE                                                                                  FAIRFIELD         CT    06824‐6125
MONICA KRAJENKA                                  6381 CARPENTER RD                                                                               KINDE             MI    48445‐9737
MONICA KRAWCZYK                                  6661 BURNLY                                                                                     GARDEN CITY       MI    48135
MONICA L BARDEN & TODD L BARDEN JT TEN           12062 GALE RD                                                                                   OTISVILLE         MI    48463‐9432
MONICA L BROOKS                                  2500 BUNO RD W                                                                                  MILFORD           MI    48380‐4416
MONICA L LOPSHIRE                                6508 AMHERST WAY                                                                                ZIONSVILLE        IN    46077‐9144
MONICA L MADIGAN                                 18877 MEDFORD                                                                                   BIRMINGHAM        MI    48025‐3045
MONICA L ROBINSON                                709 VICTORIA AVE                                                                                FLINT             MI    48507‐1732
MONICA L STUART                                  4710 W KNOLLSIDE STBARA AVE                                                                     TUCSON            AZ    85741
MONICA L TOMASZEWSKI & KREIGH TOMASZEWSKI JT     653 BURTON SE                                                                                   GRAND RAPIDS      MI    49507‐3236
TEN
MONICA LOUISE CLAERHOUT                          2500 W BUNO RD                                                                                  MILFORD           MI    48380‐4416
MONICA M CHAREK                                  4140 BRONZELEAF CT                                                                              DAYTON            OH    45424‐4639
MONICA M ERNST CUST JOHN M ERNST UTMA IL         9341 S 83 RD AVE                                                                                HICKORY HILLS     IL    60457‐1923
MONICA M FERENCE‐FLOREK                          810 NOLA DR                                                                                     BRUNSWICK         OH    44212‐4384
MONICA M FISCHER & TIMOTHY J FISCHER JT TEN      6609 SWALLOWTAIL LN                                                                             RALEIGH           NC    27613‐7376
MONICA M GALBRAITH                               344 BIMINI CAY CIRCLE                                                                           VERO BEACH        FL    32966‐7139
MONICA M MONOK                                   8037 ARCADIAN COURT                                                                             MOUNT DORA        FL    32757
MONICA M MUTZ                                    BOX 146                                                                                         SUAMICO           WI    54173‐0146
MONICA M RIEG                                    10449 S HAMILTON                                                                                CHICAGO           IL    60643‐2511
MONICA M WANKOW                                  425 NEW MARKET RD                                                                               PISCATAWAY        NJ    08854‐1465
MONICA M WISHMANN                                3408 EAST O'BRIEN RD                                                                            OAK CREEK         WI    53154‐6014
MONICA MAUTNER                                   1442 FRANCISCO ST                                                                               SAN FRANCISCO     CA    94123‐2203
MONICA PERALES                                   4040 SAN FELIPE                        APT 128                                                  HOUSTON           TX    77027
MONICA R ALDANA                                  4426 EL CAMINO DR                                                                               CHEYENNE          WY    82001‐2275
MONICA R BURNS                                   1228 N MARYLAND AVE                                                                             GLENDALE          CA    91207‐1306
MONICA R HIRSHBERG                               C/O HAYFLICH                           3660 PURDUE AVE                                          LA                CA    90066‐3356
MONICA R MONTOYA                                 116 QUAIL GARDENS DR                   APT 122                                                  ENCINITAS         CA    92024‐2761
MONICA R NUMRICH                                 2235 ROCKEFELLER DR                                                                             GENEVA            IL    60134‐4707
MONICA R SCHAEFFER & DENNIS L SCHAEFFER JT TEN   1096 SAYLE ST                                                                                   THE VILLAGES      FL    32162‐3792
                                              09-50026-mg               Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
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Name                                              Address1                             Address2               Address3            Address4          City              State Zip

MONICA R SHEPARD                                  1095 WOODNOLL DR                                                                                  FLINT             MI    48507‐4711
MONICA R WEAVER                                   6010 PEACHTREE                                                                                    PORTAGE           MI    49002
MONICA ROWAN                                      8816 DEMOCRACY RD NE                                                                              ALBUQUERQUE       NM    87109‐5111
MONICA S MENDEZ                                   ATTN MONICA MENDEZ‐GRANT             935 COUNTY ROAD 2261                                         VALLEY VIEW       TX    76272
MONICA S SCHRAGER                                 6112 KNOLLWOOD DR                                                                                 FALLS CHURCH      VA    22041‐1724
MONICA S THEISS                                   2306 34TH AVE S                                                                                   SEATTLE           WA    98144‐5554
MONICA SAGER & ELIZABETH EVANS JT TEN             PO BOX 314                                                                                        NEW YORK          NY    10113‐0314
MONICA SINGER FRANKLIN                            12 CHERRY COVE LANE                                                                               TAYLORS           SC    29687‐6059
MONICA TRAUB                                      54503 BERRYFIELD                                                                                  MACOMB TWP        MI    48042‐2243
MONICA V SCANLAN                                  116 CRANBROOK TERR                                                                                WEBSTER           NY    14580‐3812
MONICA VITTI                                      25852 CREEK SIDE CT                                                                               NEW BOSTON        MI    48164‐9144
MONICA WILLOUGHBY GREY CUST JILLIAN MICHELE       33 DARLING AVENUE                                                                                 NEW ROCHELLE      NY    10804‐1210
GREY UGMA NY
MONICA Y GLEASON                                  999 ALTER ST                                                                                      HAZLETON          PA    18201‐1818
MONICA Y LEUNG & TAT H LEUNG JT TEN               18125 LINCOLN DR                                                                                  SOUTHFIELD        MI    48076‐4558
MONICA ZIEZULEWICZ & PHILLIP ZIEZULEWICZ JT TEN   633 NEW HAMPSHIRE AVE                                                                             MARYSVILLE        MI    48040‐1227

MONICO M PISANA & ESPERANZA M PISANA JT TEN       222 AARON PLACE                                                                                   SAN ANTONIO       TX    78221‐2105

MONICO T RAMIREZ                                  637 GRIFFITH ST                                                                                   SAN FERNANDO      CA    91340‐4010
MONIKA I RACKAUSKAS                               2901 KENSINGTON AVE                                                                               WESTCHESTER       IL    60154‐5134
MONIKA KNILEY                                     1260 BRIGHTON AVE                    APT 206                                                      ALBANY            CA    94706‐1365
MONIKA L MC KAY                                   26671 W HILLS DR                                                                                  INKSTER           MI    48141‐1807
MONIKA NUMRICH                                    2235 ROCKEFELLER DR                                                                               GENEVA            IL    60134‐4707
MONIKA PERNA CUST CHRISTOPHER F PERNA UGMA IL     26802 MALIBU COVE COLONY DRIVE                                                                    MALIBU            CA    90265‐4320

MONIKA PERNA CUST LAURA S PERNA UGMA IL           26802 MALIBU COVE COL DR                                                                          MALIBU            CA    91265
MONIKA RUSSEL                                     11360 CAPISTRANO COURT                                                                            FORT MYERS        FL    33908‐4034
MONIKA UNZENS                                     12435 MC MURTY DRIVE N E                                                                          SAND LAKE         MI    49343‐9438
MONINA B MANALANSAN                               2651 TRENLEY CT                                                                                   SIMI VALLEY       CA    93063‐2233
MONIQUE A LANGLOIS                                3767 MAPLE LANE                                                                                   BERRIEN SPRING    MI    49103‐9640
MONIQUE A PARAG                                   2344 W RAU RIVER RD                                                                               TUCSON            AZ    85705‐4936
MONIQUE A THOMPSON                                914 HUSSA ST                                                                                      LINDEN            NJ    07036‐2236
MONIQUE B VAN AGEN CUST HENRY M VAN AGEN          3320 LANDVIEW DR                                                                                  ROCHESTER         MI    48306‐1151
UGMA MI
MONIQUE BROWN                                     131‐35 226TH ST                                                                                   LAURELTON         NY    11413‐1733
MONIQUE C KATZ                                    300 EAST LINDEN AVENUE                                                                            ENGLEWOOD         NJ    07631‐3719
MONIQUE D THIVIERGE                               73 DEAN AVENUE                       SUDBURY ONTARIO ON                         P3C 3C2 CANADA
MONIQUE D YOUNG                                   3603 ISBELL STREET                                                                                SILVER SPRING     MD    20906‐4335
MONIQUE DEANNE YOUNG                              3603 ISBELL STREET                                                                                SILVER SPRING     MD    20906‐4335
MONIQUE DEVOSJOLI CUST SEAN DEVOSJOLI UTMA FL     659 DEER CREEK HOLLOWS CIRCLE                                                                     DEERFIELD BEACH   FL    33442‐3716

MONIQUE E STEVENS & GERENE CRONEN JT TEN          750 BECKER RD                                                                                     GLENVIEW          IL    60025‐1908
MONIQUE GARDNER                                   800 KNOLL AVE                                                                                     WATERLOO          IA    50701‐6123
MONIQUE HOOEY                                     2308 HIKES LANE APT A6                                                                            LOUISVILLE        KY    40218
MONIQUE JOHANNA PAULA ANNEMARIE HAANS             99/11 M003 SUNSET BEACH              NAAJOMTIEN             SATTAHIP CHONBWII   20250 THAILAND
MONIQUE K NOLL                                    9363 OLD STAGE ROAD                                                                               AGUA DULCE        CA    91350‐4829
MONIQUE LUTZ & ARIEL LUTZ JT TEN                  536 S LONGVIEW                                                                                    LONGWOOD          FL    32779‐6018
MONIQUE M LITALIEN                                19702 WESTWINDS LANE                                                                              HUNTINGTON        CA    92646‐3328
                                                                                                                                                    BEACH
MONIQUE M MICHAUD                                 2170 GROVE PARK RD                                                                                FENTON            MI    48430‐1438
MONIQUE R DOOLEY                                  20231 STRASBURG                                                                                   DETROIT           MI    48205‐1026
MONIQUE S JOHNSON                                 C/O FLOYD                            108 CARA COURT                                               NORTHFIELD        NJ    08225‐1068
MONIQUE SCHMANDT CUST ERICA DARQUISE              C/O SCHMANDT‐GJS DESIGN & CONST      1575 LAS CANOAS RD                                           SANTA BARBARA     CA    93105‐2361
SCHMANDT UTMA CA
MONIQUE Y MOORE                                   16929 BIRWOOD                                                                                     DETROIT           MI    48221‐2876
MONNA E MONK                                      1 MEADE CREED RD                                                                                  SHERIDAN          WY    82801‐9546
MONNA M BRYANT                                    1001 LIVE OAK PLANTATION RD                                                                       TALLAHASSEE       FL    32312‐2416
MONNA MC ARA                                      13363 LAKESHORE DR                                                                                FENTON            MI    48430‐1021
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Name                                           Address1                               Address2             Address3          Address4          City              State Zip

MONNETTE R ANDREWS                           PO BOX 552                                                                                        BOSTON            GA    31626‐0552
MONNIE C ROMINES                             608 WATERS AVENUE                                                                                 SALUDA            SC    29138‐1233
MONNIE E FUGATE                              830 ARCOLA ST                                                                                     GARDEN CITY       MI    48135
MONNIE M DAVIS CUST DON A DAVIS UTMA TX      108 N PENNY LANE                                                                                  WINTERS           TX    79567‐3015
MONOLA J ORVIS                               2358 N EUGENE                                                                                     FLINT             MI    48519‐1354
MONROE A JAKOB                               16455 S CRAIG ST                                                                                  OAK FOREST        IL    60452‐4341
MONROE ADAMS                                 734 E RUTH AVE                                                                                    FLINT             MI    48505‐2249
MONROE ADAMS & ZEFFRIE C ADAMS JT TEN        734 E RUTH ST                                                                                     FLINT             MI    48505‐2249
MONROE C WALLS                               436 DUTCHMAN LN                                                                                   GREENSBORO        MD    21639‐1418
MONROE C WATTS                               PO BOX 17                                                                                         DAYTON            NJ    08810‐0017
MONROE C WINNING                             3604 LISBON ST                                                                                    KETTERING         OH    45429‐4245
MONROE D MACPHERSON                          142 ELDERBERRY DR                                                                                 WINCHESTER        VA    22603‐4212
MONROE EQUIPMENT INC                         PO BOX 100                                                                                        BUTLER            WI    53007‐0100
MONROE G PAGE                                PO BOX 79                                                                                         SEVERNA PARK      MD    21146‐0079
MONROE G SCHUSTER                            3114 GREENBRIAR ROAD                                                                              ANDERSON          IN    46011‐2302
MONROE GILMORE                               557 LINDA VISTA                                                                                   PONTIAC           MI    48342‐1652
MONROE GOBLE                                 1319 NIERRILL                                                                                     LINCOLN PARK      MI    48146
MONROE HALCOMB JR B                          901 E 11TH PLACE                                                                                  HIALEAH           FL    33010‐3742
MONROE HILL                                  PO BOX 33                                                                                         CAWOOD            KY    40815‐0033
MONROE J BROWN III                           14206 BARON OAKS DR                                                                               HOUSTON           TX    77069‐1434
MONROE J GERSHENSON & CHARLOTTE B GERSHENSON 11409 N CENTREL EXPRESSWAY APT 220                                                                DALLAS            TX    75243‐6686
JT TEN
MONROE J SMITH                               120 ADAMS AVE                                                                                     CEDARTOWN         GA    30125
MONROE K BEVIL JR                            18127 MICHELLE LN                                                                                 ATHENS            AL    35613‐5536
MONROE M FIELDS                              2011 GRAY HAWK DR                                                                                 PLAINFIELD        IL    60586‐6898
MONROE M IVERSEN                             963 W 200 N                                                                                       SALT LAKE CITY    UT    84116‐3355
MONROE MARSHALL JR                           1830 SAN GABRIEL AVE                                                                              DECATUR           GA    30032‐4505
MONROE O DEHN & TRACEY LYNN JABLONSKI JT TEN 1358 LAKESIDE ST                                                                                  LA PORTE          IN    46350‐2031

MONROE P LAKE                                   1071 DICKINSON ST SE                                                                           GRAND RAPIDS      MI    49507‐2107
MONROE W TURNER                                 4602 MILLER LANE                                                                               PULASKI           VA    24301‐6933
MONSERRATE CARABALLO                            91 STANRIDGE COURT                                                                             ROCHESTER         NY    14617‐4912
MONSIGNOR JOSEPH STIEGER TR MONSIGNOR JOSEPH 161 BROAD STREET                                                                                  SAN LUIS OBISPO   CA    93401
STIEGER TRUST UA 08/05/04
MONT D COBB                                     169 YORKSHIRE E BL                                                                             INDIANAPOLIS      IN    46229‐4200
MONTA M SHELTON CARL SHELTON & LONA J KINDER JT 6058 SNOW APPLE DR                                                                             CLARKSTON         MI    48346‐2445
TEN
MONTAGUE GAMMON                                 3723 HENRICO ST #1                                                                             NORFOLK           VA    23513‐4122
MONTBORNE PTY LIMITED                           33 DOVER ROAD                         WILLIAMSTOWN         VICTORIA          3016 AUSTRALIA
MONTE B SMITH                                   6312 SEAL CV                                                                                   FORT WORTH        TX    76179‐4132
MONTE C MASSEY                                  2205 E 261ST ST                                                                                CLEVELAND         MO    64734
MONTE D FRANCIS                                 3501 DELMAR RD                                                                                 INDIANAPOLIS      IN    46220‐5556
MONTE D JACKSON                                 4822 STILLWELL                                                                                 LANSING           MI    48911‐2841
MONTE D SMITH SR                                4021 W US HIGHWAY 40                                                                           GREENCASTLE       IN    46135‐8642
MONTE E MILLER                                  6350 IDA ST                                                                                    INDIANAPOLIS      IN    46241‐1019
MONTE E THOMPSON CUST ALISON S THOMPSON         PO BOX 334                                                                                     COBLESKILL        NY    12043‐0334
UGMA NY
MONTE E THOMPSON CUST IAN S THOMPSON UGMA NY PO BOX 334                                                                                        COBLESKILL        NY    12043‐0334

MONTE K HOLLIDAY                               20539 PICADILLY RD                                                                              DETROIT           MI    48221‐1371
MONTE L DEAN                                   1409 E CALEY AVE                                                                                LITTLETON         CO    80121‐2513
MONTE L MANSFIELD                              G3490 LIPPINCOTT BLVD                                                                           BURTON            MI    48519
MONTE L RICHARDSON                             1064 WICKERTON RD                                                                               LANDENBERG        PA    19350‐1561
MONTE LEE DOUGLAS                              27907 FLORENCE                                                                                  ST CLAIR SHRS     MI    48081‐2957
MONTE M TURVEY                                 2368 UTLEY RD                                                                                   FLINT             MI    48532‐4900
MONTE MINTON                                   2618 EASTWOOD DR                                                                                SANDUSKY          OH    44870‐5629
MONTE NELSON FRAZIER                           90 WORCESTER RD                        UNIT 1                                                   WASHINGTON DT     CT    06794‐1400
MONTE R BALLARD                                4017 FERNWAY DR                                                                                 ANDERSON          IN    46013‐4349
MONTE R HART                                   12142 WEBSTER RD                                                                                CLIO              MI    48420‐8209
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Name                                             Address1                              Address2             Address3          Address4          City            State Zip

MONTE S MCKINSTRY CUST JARED C MCKINSTRY UTMA    1467 BRYAN ST                                                                                  BANNING         CA    92220‐6223
CA
MONTELL QUALLS                                   1714 CEDAR CREEK CT                                                                            GROVE CITY      OH    43123‐1682
MONTELL R CRONK                                  18566 S OAK                                                                                    CLINTON TWP     MI    48038‐2924
MONTELLE L MILLER                                3311 70TH ST W                                                                                 BRADENTON       FL    34209‐5957
MONTEZ M CARNES                                  1114 S FRANKLIN AVE                                                                            FLINT           MI    48503‐2820
MONTEZ M DENT                                    1114 S FRANKLIN AVE                                                                            FLINT           MI    48503‐2820
MONTEZ O WALKER                                  2301 BEGOLE                                                                                    FLINT           MI    48504‐3119
MONTFORD S ARPAD                                 8361 FRANKLIN BLVD                                                                             SACRAMENTO      CA    95823‐5801
MONTGOMERY A MORSE CUST ANDREW J MORSE           3516 WOODBERRY PL                                                                              BETTENDORF      IA    52722‐7195
UTMA IA
MONTGOMERY A MORSE CUST DANIEL J MORSE UTMA      3516 WOODBERRY PL                                                                              BETTENDORF      IA    52722‐7195
IA
MONTGOMERY BRUCE JONES                           419 CLYDEBANK DR                                                                               MADISON         AL    35758‐6227
MONTGOMERY GOSSEN                                204 OAKWATER DR                                                                                LAFAYETTE       LA    70503‐2230
MONTGOMERY J WEAVER                              108 CAMPBELL STREET                                                                            UNION BCH       NJ    07735‐2612
MONTGOMERY WHITE                                 1334 NORTH DYE RD                                                                              FLINT           MI    48532‐2215
MONTICELLO R LASLO                               2791 TOPMAST COURT                                                                             ANNAPOLIS       MD    21401‐7136
MONTIE EDWARDS                                   10800 GORE RD                                                                                  UTICA           KY    42376‐9710
MONTIE L PIKE                                    2627 SOUTH LAMB BLVD                  SPACE 80                                                 LAS VEGAS       NV    89121‐1833
MONTIE R STANFIELD                               1383 ROSEWOOD AVE                                                                              SAN CARLOS      CA    94070‐4829
MONTOYA M STITH                                  3727 FINNEY AVE                                                                                ST LOUIS        MO    63113‐3903
MONTY ARPAD                                      8361 FRANKLIN BLVD                                                                             SACRAMENTO      CA    95823‐5801
MONTY BEIGHLE                                    3340 GARDNERSVILLE RD                                                                          CRITTENDEN      KY    41030‐8400
MONTY C SHAFER                                   1864 JOHN ST                                                                                   NEWAYGO         MI    49337‐9291
MONTY C TODD                                     1454 SALEM RD                                                                                  HELTONVILLE     IN    47436
MONTY D KISNER                                   32311 S LONE TREE RD                                                                           HARRISONVILLE   MO    64701‐7351
MONTY H CAMPBELL                                 3061 ZOAR ROAD                                                                                 GOWANDA         NY    14070‐9738
MONTY H SCAMIHORN                                320 EAST 29TH ST                                                                               MUNCIE          IN    47302‐5630
MONTY HOCKER                                     1330 RIDGEWAY AVE                                                                              NEW ALBANY      IN    47150‐5251
MONTY J OWENS                                    7426 RIVERSIDE DR                                                                              SAINT HELEN     MI    48656
MONTY KOEHLER                                    1760 RD 321                                                                                    SARONVILLE      NE    68975‐9770
MONTY L FOX                                      132 IROQUOIS                                                                                   BATTLE CREEK    MI    49015‐3325
MONTY L STUCKY                                   BOX 25045                                                                                      SCOTT AFB       IL    62225
MONTY R KREBS                                    2305 E 550 S                                                                                   ANDERSON        IN    46017‐9543
MONTY SCHER CUST JOHN SCHER UTMA IL              1666 RIDGE RD                                                                                  HIGHLAND        IL    60035‐2137
MONTYCE GOODFELLOW RUTTERS                       220 NORTH STEPHEN PLACE                                                                        HANOVER         PA    17331‐1941
MONYA L SCHMITT                                  761 AVENUE D SW                       #B                                                       WINTER HAVEN    FL    33880‐2813
MONZELLA STALLARD FOSTER & WILLIAM R FOSTER JT   15544 FALK                                                                                     HOLLY           MI    48442‐1471
TEN
MOODY K SCHOONOVER                               8557 BURTON ROAD                                                                               ADRIAN          MI    49221‐9457
MOODY L ALLEN                                    HC 1 BOX 1162                                                                                  WAPPAPELLO      MO    63966‐9709
MOOJAVA INC                                      ATTN RAY WLAZLO                       37 MT SINAI AVE                                          MOUNT SINAI     NY    11766‐2312
MOOMBI MURCHISON                                 555 W MADISON ST                      APT 511                                                  CHICAGO         IL    60661
MOON S KIM                                       302 MINERVA AVE                                                                                WAUCONDA        IL    60084‐1741
MOONG L WONG                                     9390 TWIN MOUNTAIN CIR                                                                         SAN DIEGO       CA    92126‐4827
MOORE CAROL A                                    4358 NE TORCH LAKE DR                                                                          CENTRAL LAKE    MI    49622‐9615
MOORE‐MITCHELL VENTURES LLC                      20408 SILVER LAKE DRIVE UNIT 1                                                                 REHOBOTH BCH    DE    19971
MORAG S RICHARDS                                 10 SUNRISE LN                                                                                  POUGHKEEPSIE    NY    12603‐4213
MORAVIAN ACADEMY C/O ROBERT J ZAISER             7 EAST MARKET ST                                                                               BETHLEHEM       PA    18018
MORDECHAY D PUPKIN & NATALIE W PUPKIN JT TEN     363 GODFREY DR                                                                                 NORTON          MA    02766‐1371

MOREEN C BURKHOLDER                              31620 GRANDVIEW                                                                                WESTLAND        MI    48186‐8953
MORELAND E DOBBS                                 815 MILL ST                                                                                    LINCOLN PK      MI    48146‐2737
MORELL CASTLEBERRY                               3705 BENCH MARK DR                                                                             COLLEGE PARK    GA    30349‐3511
MORENE C JUNG & ALLISON C JUNG JT TEN            2571 PENDLETON DR                                                                              EL DORADO HLS   CA    95762‐4005
MOREY H GLADDEN                                  4507 E CO RD 700S                                                                              MOORESVILLE     IN    46158‐7782
MOREY R GLADDEN CUST AMY CATHERINE GLADDEN       1935 SARASOTA COURT                                                                            MUSKEGON        MI    49441‐4553
AND MOREY R GLADDEN UGMA MD
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Name                                             Address1                              Address2                    Address3                Address4              City              State Zip

MOREY Z MECHLIN & NORMAN MECHLIN JT TEN           4624 EAST BITTERSWEET WAY                                                                                      SPRINGFIELD       MO    65809‐2400
MORGAN A INDEK                                    218 DUNCAN TRL                                                                                                 LONGWOOD          FL    32779‐4513
MORGAN C PEFFLEY                                  2241 EVERGREEN DR                                                                                              DEFIANCE          OH    43512‐9665
MORGAN DUFFY CUST HAYDEN DUFFY UTMA MA            4 GRUST MILL CIR                                                                                               SHREWSBURY        MA    01545‐1848
MORGAN E SIPLE JR & WANDA L SIPLE JT TEN          1679 MAPLE CREEK CT                                                                                            ROCHESTER         MI    48306‐4812
MORGAN EBERHARD                                   1274 MAPLECREST CT                                                                                             AMELIA            OH    45102‐1634
MORGAN EDMONSON                                   1026 DENNISON AVE                                                                                              DAYTON            OH    45408‐1604
MORGAN FRANSSON                                   NORRA FRIDHEMSVAGEN 49               TROLLHATTAN                                         46144 SWEDEN
MORGAN GROSS                                      800 CANOE RD                                                                                                   JACKSON           KY    41339‐9121
MORGAN H BURR                                     3170 JACKSON ST                                                                                                ARCADIA           LA    71001‐4405
MORGAN H FISHER                                   2041 EUCLID STREET                   #17                                                                       SANTA MONICA      CA    90405‐1503
MORGAN H VANTASSELL & MARILYN J VANTASSELL JT     163 SW 48TH TERRACE                                                                                            CAPE CORAL        FL    33914‐8351
TEN
MORGAN HUGHES JR                                  727 BUTLER                                                                                                     LAKE ORION        MI    48362‐1613
MORGAN J CRAFT                                    602 AVA ST                                                                                                     WAYCROSS          GA    31501‐3314
MORGAN J CRAFT & ALEEN E CRAFT JT TEN             602 AVA ST                                                                                                     WAYCROSS          GA    31501‐3314
MORGAN J DAVIS & MARY EDITH DAVIS TR DAVIS LIVING BOX 94 RR1                                                                                                     LERAYSVILLE       PA    18829‐9739
TRUST UA 04/29/98
MORGAN KEEGAN TR CHARLES R LAFLIN                 4047 TRAIL RIDGE DR                                                                                            FRANKLIN          TN    37067‐4055
MORGAN O OGILVIE                                  2323 FOX GLEN CIR                                                                                              BIRMINGHAM        AL    35216‐2409
MORGAN R BRAZIL SR & EDNA M BRAZIL JT TEN         PO BOX 211                                                                                                     LOCUST GROVE      GA    30248‐0211
MORGAN R WILLIAMS                                 PWLLMARL NEWYDD                      VELINDRE LLANDYSUL          DYFED SA 44 5YN         WALES GREAT BRITAIN
MORGAN S CAMPBELL JR                              301 POENISCH DRIVE                                                                                             CORPUS CHRISTI    TX    78412‐2709
MORGAN SAFFORD                                    564 NAVOHOE                                                                                                    DETROIT           MI    48215‐3229
MORGAN STANLEY CUST FBO CATHERINE HAMMERLE        17350 BELMONT LN                                                                                               BURTON            OH    44021
IRA
MORGAN STANLEY CUST FBO CHERYL SMITH IRA          107 PRINCE STREET                                                                                              BORDENTOWN        NJ    08505
MORGAN STANLEY DEAN WITTER TR HEIDI A SZEKELY     1479 GREAT HERON DR                                                                                            SANTA ROSA        CA    95409‐4359

MORGAN STANLEY DW INC                            5 WORLD TRADE CENTER                                                                                            NEW YORK          NY    10048‐0205
MORGAN STANLEY FBO DAVID A ALBRECHT              2270 REIDSVIEW EAST                                                                                             WHITE LAKE        MI    48373
MORGAN STANLEY TR PHILIP RAGOZINE IRA            21501 WILLOW WISP                                                                                               ST CLAIR SHORES   MI    48082‐2268
MORGAN STANLEY TR RONALD BENNETT IRA             126 VINITA LANE                                                                                                 LOUDON            TN    37774‐3145
MORGAN STANLEY TR WILLIAM T MARTIN III           2504 ARROWHEAD RD                                                                                               OKEMOS            MI    48864‐2004
MORGAN YOW                                       5756 ADELINE ST                                                                                                 OAKLAND           CA    94608‐2808
MORIAH UNITED METHODIST CHURCH                   BOX 231                                                                                                         MORIAH            NY    12960‐0231
MORLEY A KEMPF & JENNIFER L MORANG JT TEN        68 ASCOT                                                                                                        WATERFORD         MI    48328‐3500
MORLEY A KEMPF & ROGER KEMPF JT TEN              68 ASCOT                                                                                                        WATERFORD         MI    48328‐3500
MORONIA TAPLIN                                   189 N ASTOR                                                                                                     PONTIAC           MI    48342‐2503
MORRELL BAILEY & NORMAGENE BAILEY TR BAILEY      725 RICHARD                                                                                                     HOLLY             MI    48442‐1270
TRUST UA 04/11/97
MORRELL M SHOEMAKER JR                           1310 NORTH LASALLE DR                                                                                           CHICAGO           IL    60610‐1911
MORRIE WEATHERSPOON                              417 E AMHERST STREET                                                                                            BUFFALO           NY    14215‐1531
MORRIS A EMBERTON                                4195 CENTER POINT RD                                                                                            TOMPKINSVILLE     KY    42167‐8805
MORRIS A HAIGH                                   259 BARRINGTON ST                                                                                               ROCHESTER         NY    14607‐2906
MORRIS A MENNEN & HENRIETTE MENNEN JT TEN        1001 KINGS HWY N APT 603                                                                                        CHERRY HILL       NJ    08034‐1904
MORRIS A YELLEN & DOROTHY YELLEN JT TEN          6585 MAIN ST                                                                                                    DOWNERS GROVE     IL    60516‐2840
MORRIS B QUILLIN & JANET E QUILLIN JT TEN        1104 W LOUISE                                                                                                   GRAND ISLAND      NE    68801‐6425
MORRIS BEBEE CARPENTER                           7603 HARFORD ROAD                     NO 178                                                                    BALTIMORE         MD    21234‐6401
MORRIS BELL                                      1001 WEST 66TH ST TERRACE                                                                                       KANSAS CITY       MO    64113‐1815
MORRIS BENARD JR                                 PO BOX 626                                                                                                      LA PORTE          TX    77572‐0626
MORRIS BERGER                                    C/O KRIEGER & PRAGER LLP              ATTN SAMUEL M KRIEGER ESQ   39 BROADWAY SUITE 920                         NEW YORK          NY    10006
MORRIS BIGGS                                     11178 NORTHLAWN                                                                                                 DETROIT           MI    48204‐1021
MORRIS BOWENS JR                                 7570 ARUNDEL RD                                                                                                 DAYTON            OH    45426‐3802
MORRIS BRUMBELOW                                 655 MANSELL ROAD APT 212                                                                                        ROSWELL           GA    30076
MORRIS C CAIN                                    2819 WINDSOR FOREST DR                                                                                          LOUISVILLE        KY    40272‐2341
MORRIS C DEPAEPE & MRS MARY L DEPAEPE JT TEN     1927 MAGOG ROAD                                                                                                 MACEDON           NY    14502‐9705

MORRIS C SMITH                                   421 E OHIO ST                                                                                                   FORTVILLE         IN    46040‐1324
                                          09-50026-mg                  Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
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Name                                          Address1                                Address2                 Address3         Address4                    City            State Zip

MORRIS C SWANSON & AVOA T SWANSON JT TEN      101 WEST ORAIBI DRIVE                                                                                         PHOENIX         AZ    85027‐4778
MORRIS COHEN & KATHERINE S COHEN JT TEN       11601 SW 75 CIRCLE                                                                                            OCALA           FL    34476‐9434
MORRIS COHEN CUST ISAC MORRIS COHEN UGMA NY   1437 E 7TH ST                                                                                                 BROOKLYN        NY    11230‐5712

MORRIS D LEVITT & RHODA B LEVITT JT TEN       3519 BAYSIDE VILLAS DR                                                                                        COCONUT GROVE   FL    33133
MORRIS D PEARMAN                              441 E WEST ST                                                                                                 GEORGETOWN      IL    61846‐1707
MORRIS D REED CUST RHONDA JEAN REED UGMA HI   1501 E FAIRVIEW AVE                                                                                           SAPULPA         OK    74066‐4819

MORRIS D STENGER                              2674 WINKLER AVE                        APT 331                                                               FORT MYERS      FL    33901‐9321
MORRIS D THOMAS                               111 EST PROSPERITY #31                  FREDERICKSTED VI 00840   VIRGIN ISLANDS   VIRGIN ISLANDS OF THE USA

MORRIS DAWES COOKE JR CUST MORRIS DAWES COOKE 113 BENNETT ST                                                                                                MT PLEASANT     SC    29464‐4301
III UGMA SC
MORRIS DIENER & MRS EUGENIA DIENER JT TEN     7 VALLEY VIEW ST                                                                                              WEST ORANGE     NJ    07052‐2140
MORRIS E BARWICK                              830 N CHURCH ST                                                                                               MOUNT OLIVE     NC    28365‐1315
MORRIS E FRALEY                               9894 COLUMBUS                           CINNTI RD                                                             CINCINNATI      OH    45241
MORRIS E HENDRICKS & KAY A HENDRICKS JT TEN   A 653 COUNTY RD 15                                                                                            NEW BAVARIA     OH    43548‐9726
MORRIS E JOHNSON                              6123 CUMMING HWY                                                                                              BUFORD          GA    30518‐5682
MORRIS E LYMAN                                9319 FOSTER ST                          PO BOX 127                                                            FOSTORIA        MI    48435‐0127
MORRIS E LYMAN & PAULA J LYMAN JT TEN         9319 FOSTER ST                          PO BOX 127                                                            FOSTORIA        MI    48435‐0127
MORRIS E NICHOLS                              1916 ROE FORD RD                                                                                              GREENVILLE      SC    29617‐7024
MORRIS E SHROPSHIRE                           30 A LEDGEWOOD DRIVE                                                                                          GOFFSTOWN       NH    03045‐2808
MORRIS E THOMPSON                             50 W JUDSON AVE                                                                                               YOUNGSTOWN      OH    44507‐2039
MORRIS E TURNER                               367 CARMELAIRE CT                                                                                             CARMEL          IN    46032‐2167
MORRIS E ZUKERMAN TR LAURA BROWN ZUKERMAN     770 PARK AVE#8A                                                                                               NEW YORK        NY    10021‐4153
UNDER AGREEMENT 12/30/82
MORRIS E ZUKERMAN TR SARAH BEIL ZUKERMAN      770 PARK AVE#8A                                                                                               NEW YORK        NY    10021‐4153
UNDER AGREEMENT 12/30/82
MORRIS E ZUKERMAN TR UA 04/15/83 ALEXANDRA    770 PARK AVE                                                                                                  NEW YOR         NY    10021‐4153
WEIL ZUKERMAN
MORRIS EVANS                                  PO BOX 2261                             1080 W SKYLINE DR                                                     MORRISTOWN      TN    37816‐2261
MORRIS F BOTT & DOROTHY E BOTT JT TEN         1412 WEST GOVERNOR ST                                                                                         SPRINGFIELD     IL    62704
MORRIS F HALL JR                              PO BOX 114                                                                                                    DANVILLE        IN    46122‐0114
MORRIS F SINGLETON                            3112 RIVERSBEND RD                                                                                            BONNE TERRE     MO    63628
MORRIS FLYER                                  25 NEWKIRK AVE                                                                                                EAST ROCKAWAY   NY    11518‐1619
MORRIS G AKIN                                 PO BOX 435                                                                                                    CARNESVILLE     GA    30521‐0435
MORRIS G CARIE                                5589 JUNEBERRY CT                                                                                             WATERFORD       MI    48329‐3488
MORRIS G MULLINS                              50770 WILLIS RD                                                                                               BELLEVILLE      MI    48111‐9393
MORRIS G WORTHY                               1234 ORCHID                                                                                                   ST LOUIS        MO    63147‐1703
MORRIS GELLMAN                                431 CIRCLE RD                                                                                                 GREER           SC    29651‐7688
MORRIS GERBER & MRS MURIEL GERBER JT TEN      1460 CONCORDE CIR                                                                                             HIGHLAND PARK   IL    60035‐3928
MORRIS GERSHKOFF & MRS GERTRUDE GERSHKOLL JT 18081 BISCAYUNE BLVD #704 T4N                                                                                  AVENTURA H      FL    33160‐2526
TEN
MORRIS GOTTENBERG                             3960 HILLMAN AVE                                                                                              BRONX           NY    10463‐3012
MORRIS GREELEGS & MRS TINA GREELEGS JT TEN    11905 JUDSON RD                                                                                               WHEATON         MD    20902‐2027
MORRIS GREEN                                  8 BRUNSWICK ROAD                                                                                              MONTCLAIR       NJ    07042‐3013
MORRIS H JONES                                3505 MELODY LANE                                                                                              BALTIMORE       MD    21244‐2241
MORRIS H KOEHLER JR                           1042 CAPOUSE AVE                                                                                              SCRANTON        PA    18509‐2921
MORRIS HAAS & KIM HAAS TEN COM                3315 DEBORAH DR                                                                                               MONROE          LA    71201‐2150
MORRIS HANNA                                  213 N MONTPELIER AVE                                                                                          ATLANTIC CITY   NJ    08401‐3623
MORRIS HILL                                   4197 E 189 ST                                                                                                 CLEVELAND       OH    44122‐6959
MORRIS HITNER & ROCHELLE GRUBER JT TEN        300 GORDA CT                                                                                                  ROSWELL         GA    30075‐1796
MORRIS I BULLOCK                              105 WYNDOT CIRCLE                                                                                             WEST MONROE     LA    71291‐8152
MORRIS ITZKOVITZ                              144‐31 68TH RD                                                                                                FLUSHING        NY    11367‐1330
MORRIS J JEFFERSON                            649 LOOKOUT DR                                                                                                PONTIAC         MI    48058
MORRIS J LIMING                               3341 WILDWOOD ROAD                                                                                            HOLLY           MI    48442‐8725
MORRIS J LYONS JR                             370 ORANGE ST                           APT 206                                                               OAKLAND         CA    94610
MORRIS J VANVOLKENBURG                        741C MARBLE POINT ROAD                  GROUP BOX 0              MARMORA ON       K0K 2M0 CANADA
MORRIS J WHEELER                              3526 MACON                                                                                                    LANSING         MI    48917‐2238
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MORRIS K BARRICK                                38 BONNELL ST                                                                                  FLEMINGTON         NJ    08822‐1306
MORRIS K MITCHELL                               5411 LAWSON RD                                                                                 GAINESVILLE        GA    30506‐2724
MORRIS KEMPER                                   816 WESTLEDGE DRIVE                                                                            TROTWOOD           OH    45426‐2243
MORRIS L COLEMAN                                619 RUSSELL STREET                                                                             LATHROP            MO    64465‐9313
MORRIS L COTTON                                 12400 BIRWOOD ST                                                                               DETROIT            MI    48204‐1016
MORRIS L HARMON                                 C/O MYRNA LARRY HARMON                3478 MELVIN DR NO                                        BALDWINSVILLE      NY    13027‐9249
MORRIS L NORRIS                                 RT 2 BOS 269                                                                                   SALEM              MO    65560‐9802
MORRIS L STEWART                                2679 S COUNTY ROAD 625 E                                                                       PLAINFIELD         IN    46168‐8103
MORRIS LEE CALHOUN                              PO BOX 703                                                                                     UNION SPRINGS      AL    36089‐0703
MORRIS M MALACHOWSKI                            1550 SW JANNET AVE                                                                             PT ST FLA          FL    33115
MORRIS M SHOR & ERIC M SHOR JT TEN              217 WATERFORD DR                                                                               HORSE SHOE         NC    28742‐9674
MORRIS M SLINGLUFF                              PO BOX 1389                                                                                    DOTHAN             AL    36302‐1389
MORRIS MIGDAL & EVELYN MIGDAL JT TEN            APT 1C‐17D                            2820 OCEAN PARKWAY                                       BROOKLYN           NY    11235‐7958
MORRIS MOSKOWITZ & SALLY B MOSKOWITZ JT TEN     C/O SHEILA CHUSTEK                    75‐07 182 STREET                                         FLUSHING           NY    11366‐1613

MORRIS MULLER                                   1410 HILLSBORO SOUTH                                                                           SAINT LOUIS PARK   MN    55426‐1827

MORRIS N CAMPBELL                               2537 N 73RD ST                                                                                 KANSAS CITY        KS    66109‐2413
MORRIS N SHAEFFER & MRS MABEL H SHAEFFER JT TEN BOX 240A                                                                                       TRIADELPHIA        WV    26059‐0240

MORRIS NOLAN                                    3271 LIBERTY‐ELLERTON RD                                                                       DAYTON             OH    45418‐1316
MORRIS OPPENHEIM ATTN CAROL BUICK INC           42446 NORTH PEDERSEN LANE                                                                      ANTIOCH            IL    60002‐9139
MORRIS P FERRIS                                 520 PRINCE STREET                                                                              GEORGETOWN         SC    29440‐3628
MORRIS P WEBB JR                                1214 HICKORY DR                                                                                VALDOSTA           GA    31602‐2711
MORRIS PHILLIPS                                 12806 COVELLO ST                                                                               N HOLLYWOOD        CA    91605‐2030
MORRIS PORTER                                   PO BOX 6232                                                                                    FORT WAYNE         IN    46896‐0232
MORRIS PROFITT                                  429 N WOLF CREEK ST APT 4                                                                      BROOKVILLE         OH    45309‐1219
MORRIS R ABERNATHY                              5570 EXECUTIVE DR                                                                              LOGANVILLE         GA    30052‐2903
MORRIS R DUFRESNE & THELMA R DUFRESNE JT TEN    105 LIBERTY AVE                                                                                MASSENA            NY    13662‐1543

MORRIS R FRANCIS                                1184 N MANCHESTER DR                                                                           GREENFIELD         IN    46140‐8296
MORRIS R RIDDLE                                 51359 SOUTH ADELE CIRCLE                                                                       NEW BALTIMORE      MI    48047‐3090
MORRIS R ZIMMERMAN                              13850 TROUT ROAD                                                                               MARYSVILLE         OH    43040
MORRIS RABINOWICZ & SUSAN RABINOWICZ JT TEN     98 CYPRESS DR                                                                                  WOODBURY           NY    11797‐1522

MORRIS RAPPS & FRIEDA RAPPS JT TEN              575 GRAND ST (E605)                                                                            NEW YORK           NY    10002‐4318
MORRIS RISKIN                                   11153 RIVER ROAD                                                                               INDIANAPOLIS       IN    46280‐1947
MORRIS RITA & HENRY RITA TR UW JOSEPH MORRIS    HALLMARK 715                          455 N END AVE                                            NEW YORK           NY    10282‐1131

MORRIS S WILBER SR & BEVERLY J WILBER JT TEN  57 WESTPORT VILLAGE ROAD                                                                         SWANZEY            NH    03446‐3227
MORRIS SCHILL & MRS PAULINE L SCHILL JT TEN   1402 DEVONSHIRE RD                                                                               HAUPPAUGE          NY    11788‐4512
MORRIS SCHNEIDER                              80 WESTWOOD DR                          APT 209                                                  WESTBURY           NY    11590‐5545
MORRIS SCHONWETTER & JOYCE SCHONWETTER JT TEN 4307 ROUND LAKE COURT                                                                            TAMPA              FL    33618‐5313

MORRIS SCHORR & PEARL SCHORR JT TEN             9601 COLLINS AVE                      APT 1401                                                 BAL HARBOUR        FL    33154‐2213
MORRIS SCHREIBER & REGINA SCHREIBER JT TEN      1715 44 STREET                                                                                 BROOKLYN           NY    11204‐1051
MORRIS STARINSKY                                807 11TH AVENUE                                                                                PATERSON           NJ    07514‐1082
MORRIS STARR & MRS MARILYN STARR JT TEN         40 OVERLOOK DRIVE                                                                              WOODCLIFF LAKE     NJ    07677‐8124
MORRIS STOTCHIK                                 3120 BRIGHTON 5TH ST                                                                           BROOKLYN           NY    11235‐7044
MORRIS W BLEAU                                  PO BOX 323                                                                                     BEECH BOTTOM       WV    26030‐0323
MORRIS W LEE                                    4065 ZINFANDEL WAY                                                                             INDIANAPOLIS       IN    46254‐4653
MORRIS W SMITH                                  7988 W 550 S RR 10                                                                             COLUMBUS           IN    47201‐9123
MORRIS WATKINS                                  7220 FITZWILLIAM ST                                                                            DUBLIN             OH    43017‐2406
MORRIS WEICHBROD & MRS IRENE WEICHBROD JT TEN   830 45TH ST                                                                                    BROOKLYN           NY    11220‐1611

MORRIS YERMISH                                  528 KINGSCROFT                                                                                 CHERRY HILL        NJ    08034‐1105
MORRISE E HARVEY                                8055 N DACCA TERR                                                                              DUNNELLON          FL    34433‐5413
MORRY H TEITELMAN                               1318 CLEARVIEW DR                                                                              ALLEN              TX    75002‐2911
MORSE DUBY JR                                   7860 MAPLE RD                                                                                  FRANKENMUTH        MI    48734‐9585
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MORSEL GUNN                                   24650 MANISTEE                                                                                     OAK PARK            MI    48237‐1712
MORT SULLIVAN                                 PO BOX 4578                                                                                        OMAHA               NE    68104‐0578
MORTAR BOARD SENIOR HONOR SOCIETY             ASI OFFICE/CAL POLY                                                                                SAN LUIS OBISPO     CA    93407
MORTEN COMBS                                  479 SYLVESTER BRANCH RD                                                                            EMMALENA            KY    41740‐8815
MORTEN LEE JOHNSON                            2120 SOPHIA LANE                                                                                   KINGSBURG           CA    93631‐1242
MORTEN S GRILLIOT                             G‐2435 S DYE ROAD                                                                                  FLINT               MI    48504
MORTIMER A SHINE TR MORTIMER A SHINE TRUST UA 7428 N VIA CAMELLO DEL NORTE            UNIT 181                                                   SCOTTSDALE          AZ    85258‐3643
07/26/96
MORTIMER ARON                                 15 CARLYLE PL                                                                                      HARTSDALE           NY    10530‐1364
MORTIMER C LOW                                26 E WOODS LN                                                                                      SCARSDALE           NY    10583‐6402
MORTIMER F SHEA                               47603 SCENIC CIRCLE DR S                                                                           CANTON              MI    48188‐1971
MORTIMER PRESBY & GENEVIEVE PRESBY JT TEN     LIONS HEAD S                            21 TENNIS CT                                               BRICK TOWN          NJ    08723‐7833
MORTON A FORD & MRS ELEANOR S FORD JT TEN     4109 ENFIELD                                                                                       SKOKIE              IL    60076‐1935
MORTON A HARRIS CUST SHAWN LEE THOMAS A MINOR PO BOX 2707                                                                                        COLUMBUS            GA    31902‐2707
UNDERTHE LAWS OF GA
MORTON A LEBOW                                2821 29TH ST NW                                                                                    WASH                DC    20008‐4111
MORTON A MICHEL                               APT 5J                                  200 W 70TH ST                                              NEW YORK            NY    10023‐4327
MORTON AARON                                  26 HOLLY ST                                                                                        YONKERS             NY    10704‐2814
MORTON ALLAN RUDBERG                          7 CONNAUGHT COURT                                                                                  DALLAS              TX    75225‐2459
MORTON BERES & EDITH BERES JT TEN             518 LAWSON WAY                                                                                     ROCKVILLE           MD    20850‐5967
MORTON BLOOM & MRS SARA LEE BLOOM JT TEN      70 WINCHESTER ST                                                                                   BROOKLINE           MA    02446‐2700
MORTON BOSNIAK & LOIS GELLER TR MARCIA SINGER 269‐27 N GRAND CENTRAL PARKWAY                                                                     FLORAL PARK         NY    11005‐1010
UA 5/28/69
MORTON C ROBERTS                              20 CLUB DR                                                                                         ROSLYN HEIGHTS  NY        11577‐2602
MORTON D GOLDMAN & JEWEL GOLDMAN JT TEN       414 5TH AVE                                                                                        MELBOURNE BEACH FL        32951‐2604

MORTON DAVIS                                   405 W MCCLELLAN                                                                                   FLINT               MI    48505‐4074
MORTON ENGLE CUST HOWARD ENGLE UGMA NY         66 AUERBACH LN                                                                                    LAWRENCE            NY    11559‐2526
MORTON ENGLE CUST LAWRENCE ENGLE UGMA NY       3 GOLF VIEW CIR                                                                                   STAMFORD            CT    06905‐4802

MORTON FABRICANT & PEARL P FABRICANT & ALAN    1 CHATFIELD DR                         APT 106                                                    WEST HARTFORD       CT    06110‐2803
FABRICANT TR UA 01/18/2008
MORTON FARBEROW CUST KAREN FARBEROW UGMA       16820 CHARMEL LANE                                                                                PACIFIC PALISADES   CA    90272‐2216
CA
MORTON H ADLER                                 SUTTON TERRACE                         APT 1105             50 BELMONT AVENUE                     BALA CYNWYD      PA       19004‐2446
MORTON H HOLLANDER                             3517 OLD COURT RD                                                                                 BALTIMORE        MD       21208‐3124
MORTON HABER                                   TOWER HILL ROAD                                                                                   TUXEDO PARK      NY       10987
MORTON HAVEY                                   520 W HUNT                                                                                        MCKINNEY         TX       75069
MORTON HERBERT SPINNER & MRS RUTH P SPINNER    360 GREEN TREE DRIVE                                                                              EAST STROUDSBURG PA       18301‐3102
TEN ENT
MORTON I ABRAMSON                              102 HAMPTON HILL DRIVE                                                                            WILLIAMSVILLE       NY    14221‐5841
MORTON I GREENBERG                             35 FINLEY RD                                                                                      PRINCETON           NJ    08540‐7503
MORTON I LEVY                                  666 E 233RD ST                                                                                    BRONX               NY    10466‐2866
MORTON J HERMAN                                18280 AVON                                                                                        DETROIT             MI    48219‐2954
MORTON J HERTZ                                 35 TOP OF THE RIDGE DR                                                                            SCARSDALE           NY    10583‐6715
MORTON J HOLBROOK 3RD                          313 FREDIRICA ST SUITE 404                                                                        OWENSBORO           KY    42301
MORTON J ISENBERG & HAROLD ISENBERG JT TEN     2540 W ESTES                                                                                      CHICAGO             IL    60645‐3204
MORTON J SIMON & CLAUDIA PINE SIMON JT TEN     8335 HIGH SCHOOL RD                                                                               ELKINS PARK         PA    19027‐2027
MORTON J SIMON JR                              8335 HIGH SCHOOL RD                                                                               ELKINS PARK         PA    19027‐2027
MORTON KENNETH ADAMS                           8447 BEACON LN                                                                                    NORTHVILLE          MI    48167‐9650
MORTON L ANGELL                                27070 CEDAR RD                         APT 214                                                    BEACHWOOD           OH    44122‐8133
MORTON L BROWN                                 305 MERCER AVE                                                                                    DAYTON              OH    45407‐2943
MORTON L FRIEDKIN & AMY R FRIEDKIN JT TEN      C/O FRIEDKIN REALTY GROUP              44 MONTGOMERY ST     41ST FLOOR                            SAN FRANCISCO       CA    94104‐4815
MORTON L LAMPERT                               850 S BEDFORD                                                                                     LOS ANGELES         CA    90035‐1802
MORTON L MARKOWITZ & RUTH MARKOWITZ JT TEN     2789 BEECHWOOD BLVD                                                                               PITTSBURGH          PA    15217‐2705

MORTON LEWIS & JEAN M LEWIS & LAURANCE T LEWIS 6900 EAST MANSLICK RD                                                                             LOUISVILLE          KY    40228‐2314
JT TEN
MORTON LEWIS SPITZ                             2444 MADISON RD                        APT 1706                                                   CINCINNATI          OH    45208‐1270
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MORTON M BASS                                  185 GREAT NECK RD                                                                                 GREAT NECK      NY    11021‐3312
MORTON M BASS                                  47 DEER PARK ROAD                                                                                 GREAT NECK      NY    11024‐2138
MORTON O LANE                                  116 PALMETTO AVE                                                                                  MARY ESTHER     FL    32569‐3302
MORTON ROSEN                                   1‐74TH STREET                            APT 3‐F                                                  BROOKLYN        NY    11209‐1864
MORTON SHERMAN                                 6723 14TH AVE N                                                                                   ST PETERSBURG   FL    33710‐5405
MORTON T HOLBROOK                              125 CONGRESS AVE                         APT 211                                                  BATH            ME    04530‐1516
MORTON TEIG & MRS CATHERINE M TEIG JT TEN      225 13TH ST                                                                                       FRANKLIN        PA    16323‐1303
MORTON W VANBIBBER JR                          5230 ROBIN VIEW COURT                                                                             HUBER HEIGHTS   OH    45424‐2568
MORZEAN WEATHERSPOON                           37 MILLER                                                                                         PONTIAC         MI    48341‐1736
MOSA NABER                                     5 HUDSON WATCH DR 5                                                                               OSSINING        NY    10562‐2439
MOSCAHLADES BROS INC                           ATT A BROOK                              28‐30 N MOORE ST                                         NEW YORK        NY    10013‐2415
MOSE A RUSSO                                   442 ANDERSON RD                          SEBAGO                                                   SEBAGO          ME    04029‐3536
MOSE BENTLEY                                   25537 BAKER                                                                                       TAYLOR          MI    48180‐3124
MOSE DEATON                                    2106 EAST BRISTOL RD                                                                              BURTON          MI    48529‐1321
MOSE J RICHARDSON                              629 E SECOND STREET                                                                               XENIA           OH    45385‐3323
MOSE L BUTLER                                  4843 ROYAL DRIVE                                                                                  FORT WAYNE      IN    46835‐3740
MOSE P CONERLY                                 6446 RUSTIC RIDGE TRAIL                                                                           GRAND BLANC     MI    48439‐4951
MOSE TIMBERLAKE                                2210 S LAFAYETTE                                                                                  FT WAYNE        IN    46803‐3328
MOSE WILLIAMS JR                               3352 S 20TH ST                                                                                    MILWAUKEE       WI    53215‐4916
MOSEEC CALOWAY                                 18438 MONTE VISTA                                                                                 DETROIT         MI    48221‐1951
MOSES A SARAIVA                                26 BELMONT PL                                                                                     YONKERS         NY    10701‐1730
MOSES BETTS                                    5216 S VANNESS                                                                                    LOS ANGELES     CA    90062‐2156
MOSES C DUCKETT                                456 S 28TH ST                                                                                     SAGINAW         MI    48601‐6421
MOSES C ROUTTEN & MARTHA E ROUTTEN JT TEN      30 SEA BREEZE FARM RD                                                                             HAMPTON         VA    23664‐2030
MOSES D MANNING JR & EVELYN H MANNING JT TEN   2914 HAMILL RD                                                                                    HIXSON          TN    37343‐4044

MOSES E ASMAR                                  10241 WOLF HILL RD                                                                                BLOOMINGTON     IL    61704‐8027
MOSES G LORAN                                  PO BOX 537                               FROGTOWN RD                                              HOGANSBURG      NY    13655‐0537
MOSES GREEN                                    10143 SO CALUMET AVE                                                                              CHICAGO         IL    60628‐2101
MOSES HENDRICKS                                319 E 12TH STREET                                                                                 ANDERSON        IN    46016‐1756
MOSES I GREEN                                  131 MEADLE ST                                                                                     MT CLEMENS      MI    48043‐2430
MOSES J LONG & ETHEL B LONG JT TEN             2273 CLAYMILL DRIVE                                                                               NEWPORT NEWS    VA    23602‐8815
MOSES L ADKISSON                               8322 KINGSMERE CT                                                                                 CINCINNATI      OH    45231‐6008
MOSES L OGDEN JR                               2800 OLD SURRENCY RD                                                                              BAXLEY          GA    31513‐7377
MOSES MAGEE                                    44565 ELMER MAGEE RD                                                                              FRANKLINTON     LA    70438‐5545
MOSES MARTIN                                   7576 MCLIN DRIVE                                                                                  DAYTON          OH    45418‐1134
MOSES MORENO                                   408 NORTH DELAWARE                                                                                CHANDLER        AZ    85225‐4972
MOSES PASSMORE                                 6640 MAY                                                                                          DETROIT         MI    48213‐2740
MOSES RAMEY                                    2450 EASTGATE RD 2                                                                                TOLEDO          OH    43614‐3080
MOSES REED                                     414 N WASHINGTON                                                                                  DANVILLE        IL    61832‐4628
MOSES RICHARDSON                               18034 HARLOW                                                                                      DETROIT         MI    48235‐3269
MOSES RIMPSON & CLEO RIMPSON JT TEN            PO BOX 4666                                                                                       MERIDIAN        MS    39304‐4666
MOSES ROBERSON JR                              16102 STOCKBRIDGE AVE                                                                             CLEVELAND       OH    44128‐2014
MOSES SAMUEL MCCORKLE                          784 MCCORKLE RD                                                                                   RIDGEWAY        SC    29130‐8684
MOSES SUBER‐BEY                                4445 BROOKTON RD                                                                                  WARRENSVILLE    OH    44128‐4918
MOSES W REYNOLDS                               3652 HEIDELBERG ST                                                                                DETROIT         MI    48207
MOSES WALKER                                   5009 NEWFIELD ST                         APT B                                                    CINCINNATI      OH    45237‐5762
MOSES Y THOMAS                                 25288 MAPLEBROOKE DR                                                                              SOUTHFIELD      MI    48033‐5275
MOSHE FINK                                     632 MONROE AVE                                                                                    SCRANTON        PA    18510‐1709
MOSHE SHLOMOWITZ & MRS ROCHEL SHLOMOWITZ JT    53 LAUREL PARK RD APTC11                                                                          FALLSBURG       NY    12733‐5050
TEN
MOSHE SULIMANI ATTN SULDIAM INC                17 WEST 45TH STREET                      10TH FLOOR                                               NY              NY    10036‐4907
MOSIE E ATKINS                                 STAR ROUTE BOX 50                                                                                 DANVILLE        WV    25053
MOSKIE TRUELL & DONNA TRUELL JT TEN            1 TATARA CT                                                                                       POOLER          GA    31322‐9410
MOSLEM GROTTO INC MOSLEM GROTTO INC            ATTN DOUGLAS E CONNELL                   142 WOODHAVEN RD                                         WOONSOCKET      RI    02895‐2731
MOSS A GINDI                                   1778 CURTNER AVE                                                                                  SAN JOSE        CA    95124‐1207
MOSS COLE                                      411 WEST NORTH VIEW AVENUE                                                                        WENTZVILLE      MO    63385
MOSSES C GARNER                                4099 HURDS CORNER RD                                                                              KINGSTON        MI    48741‐9519
MOSTAFA A FAWAZ                                2241 ATLAS DR                                                                                     TROY            MI    48083‐2452
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MOSTAFA RASSAIAN                                  17345 NE 17TH PL                                                                                                  BELLEVUE          WA    98008‐3145
MOTOHIKO HIRAYAMA                                 2‐11‐5 NISHIOGI MINAMI                  SUGINAMI‐KU                TOYKO 167             JAPAN
MOU SHU CHAO & MRS PATRICIA HU CHAO JT TEN        1206 EVAMAR DR                                                                                                    MIDLAND           MI    48640‐7213

MOUNTAIN RIDGE ASSOCIATION                        PO BOX 1008                             ATTN TOMMY REEDY                                                          FAIRFIELD BAY      AR   72088‐1008
MOUNTAIN VIEWERS                                  ATTN 4‐H HORSE CLUB                     ATTN MARGO A KYES          188 OLD HAY HILL RD                            JAY                ME   04239‐9622
MOUNTAIN VIEWERS                                  ATTN MARGO KYES                         4‐H CLUB                   188 OLD HAY HILL RD                            JAY                ME   04239‐9622
MOUNTAIN VIEWERS 4‐H HORSE CLUB                   ATTN MARGO A KYES                       188 OLD HAY HILL RD                                                       JAY                ME   04239‐9622
MOVEDA K CROFT                                    5131 TWINWOOD AVE                                                                                                 MEMPHIS            TN   38134‐5231
MOYA KELLY                                        22606 LAKECREST                                                                                                   SAINT CLAIR SHORES MI   48081‐2484

MOYDENE L ROBINSON                                15083 CAMDEN AVE                                                                                                  EAST POINTE       MI    48021‐1501
MOYNA WOODS TR MOYNA WOODS LIVING TRUST UA        2605 NW 115 ST                                                                                                    OKLAHOMA CITY     OK    73120‐6610
07/20/95
MOZAMMEL H MONDAL                                 241 DANDRIDGE DR                                                                                                  FRANKLIN          TN    37067‐4099
MOZART TWRENNE                                    49 SOWAMS DR                                                                                                      BRISTOL           RI    02809‐4230
MOZEL J WILLIS                                    8603 HALLS FERRY RD                                                                                               SAINT LOUIS       MO    63147‐1902
MOZEL MCCOY                                       3448 PHEASANT CT                                                                                                  DECATUR           GA    30034‐4228
MOZELL ROBERTS                                    345 S 25TH ST                                                                                                     SAGINAW           MI    48601‐6337
MOZELL WALKER JR & HELEN GLORIA WALKER JT TEN     PO BOX 221                                                                                                        RIDGE             NY    11961‐0221

MOZELLE C RADCLIFF                                1070 GREENMEADOW                                                                                                  BEAUMONT          TX    77706‐3962
MOZELLE G TELLIS                                  PO BOX 2866                                                                                                       ANDERSON          IN    46018‐2866
MOZELLE H GROVES                                  4245 EMERALD BAY DR                                                                                               JACKSONVILLE      FL    32277‐1382
MOZELLE LYNCH                                     407 BELL AVE                                                                                                      ELYRIA            OH    44035‐3305
MOZELLE MARSHALL & JAMES H MARSHALL JT TEN        1507 SEGUIN AVE                                                                                                   VICTORIA          TX    77901‐3136

MR DAVID PEPPIATT                              7 PARK ROAD                                GORLESTON GREAT YARMOUTH                         NR13 6JE GREAT BRITAIN
MRD FRANCES SANNER CUST LISA J ABELMAN UGMA NY 150 OLD FIELD ROAD                                                                                                   HUNTINGTON        NY    11743‐3043

MRS A CATHERINE ELSON                          13 KENMORE CRES                            ST CATHARINES ON                                 L2N 4S4 CANADA
MRS A JOZINE BROVEDANI                         264 20 COACH WAY RD SW                     CALGARY AB                                       T3H 1E6 CANADA
MRS A MARGARET MOORE                           201 MONROE ST                                                                                                        BRIDGEWATER       NJ    08807‐3097
MRS ADA ANN SCHMOKER                           5638 INVERCHAPEL ROAD                                                                                                SPRINGFIELD       VA    22151‐2026
MRS ADA B MONTGOMERY                           PO BOX 72                                                                                                            JACKSONVILLE      AL    36265‐0072
MRS ADA IVORY CUST WILLIAM EDWARD IVORY JR     301 SPRING ST                                                                                                        RIVERVALE         NJ    07675‐5620
UGMA NJ
MRS ADA L ROBBINS                              39023 FOX ROAD                                                                                                       HINCKLEY          MN    55037‐4730
MRS ADA MACLENNAN                              1404‐4TH AVE S                             CRANBROOK BC                                     V1C 2E9 CANADA
MRS ADA W NEWMAN CUST PHILIP CADE NEWMAN       204 W 88TH ST APT 2E                                                                                                 NEW YORK          NY    10024
UGMA AL
MRS ADAH M LAVELLE                             4331 ANDOVER TERR                                                                                                    PITTSBURGH        PA    15213‐1203
MRS ADALAH CATHLEEN SHAW                       19 JEB STUART AVENUE                                                                                                 WILSON            AR    72395‐1137
MRS ADDLYN LUCILLE BREWER & ALEXANDER L BREWER 837 6TH ST W                                                                                                         BIRMINGHAM        AL    35204‐3635
JT TEN
MRS ADELAIDE L BARONE & GAIL T STRAKA JT TEN   580 S GILBERT RD                           APT 111                                                                   GILBERT           AZ    85296‐2210
MRS ADELAIDE W JOHN                            5055 THREE NOTCHED ROAD                                                                                              CHARLOTTESVILLE   VA    22901‐6371

MRS ADELE BAYNES & MISS DIANNA M BAYNES JT TEN    895 KNOB CREEK                                                                                                    ROCHESTER         MI    48306‐1938

MRS ADELE BREITKREITZ                             134 LIVINGSTON AVE                                                                                                LYNDHURST         NJ    07071‐1418
MRS ADELE I FISHER & JOAN M FISHER JT TEN         1015 MCELREE RD                                                                                                   WASHINGTON        PA    15301‐8376
MRS ADELE LOUISE OFSHINSKY                        43 E CHURCH CT                                                                                                    DUMONT            NJ    07628‐1702
MRS ADELE M GREASLEY                              BOX 1011                                NANTON AB                                        T0L 1R0 CANADA
MRS ADELE S GWATKIN & DAVID W GWATKIN JT TEN      3770 SPECKLED TROUT DR                                                                                            THEODORE          AL    36582‐8118

MRS ADELE T SCHROEDER                             1901 NW HUGHWOOD AVE                    # 15                                                                      ROSEBURG          OR    97471‐5598
MRS ADELINE M DIIORIO & MISS ADELINE DIIORIO JT   40 BRADFORD ROAD                                                                                                  WATERTOWN         MA    02472‐3310
TEN
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MRS ADELINE PERRY                                993 HILL ST                                                                                      BRISTOL          CT    06010‐2250
MRS ADELINE R BIONDO                             63‐28 71ST T                                                                                     MIDDLE VILLAGE   NY    11379‐1804
MRS ADELL WHITLOCK MILLER & CARL G MILLER JT TEN 33 REDBUD TRAIL                                                                                  NEWNAN           GA    30263‐3117

MRS ADLEEN GATES GILLAM & ROBERT L GILLAM JT TEN 1351 LOGAN AVE                                                                                   TYRONE           PA    16686‐1636

MRS ADRIANNA GEIMER CUST MISS JULIANNE GEIMER 840 CRAFTRIDGE LN                                                                                   HIGHLAND PARK    IL    60035‐4035
UGMA AZ
MRS ADRIANNE J LITTLE                          2095 SPRINGLAKE DR NW                                                                              ATLANTA          GA    30305‐3917
MRS ADRIENNE CHERN IVES                        6441 SOUTH WEST 134TH DRIVE                                                                        MIAMI            FL    33156‐7046
MRS ADRIENNE G YOUNG                           57 TOBEY CT                                                                                        PITTSFORD        NY    14534‐1858
MRS ADYS S WESLEY                              24406 SUMMER NIGHTS CT                                                                             LUTZ             FL    33559‐7916
MRS AGNES BOTINDARI                            16 PAYSON TERRACE                                                                                  BELMONT          MA    02478‐2836
MRS AGNES E BURTCH                             4820 PEAR WAY                                                                                      FARWELL          MI    48622
MRS AGNES M COONEY                             11150 ELVESSA ST                                                                                   OAKLAND          CA    94605‐5516
MRS AGNES MARIE MOORADIAN                      7 PLEASANT ST                                                                                      WELLESLEY        MA    02482‐4625
MRS AGNES N SCHAPIRO                           10 BOOKER AVENUE                                                                                   SAUSALITO        CA    94965‐2002
MRS AIMEE C DUVIC                              86 HOLIDAY DR                             APT 237                                                  PORTLAND         ME    04103‐4364
MRS AIMEE LECREN & RENE LECREN JT TEN          BOX 158                                                                                            CUTCHOGUE        NY    11935‐0158
MRS AIRDRIE M YOUNG                            91 WORDSWORTH WAY                         WINNIPEG MB                            R3K 0J6 CANADA
MRS ALAN STEILBERG                             6848 GREEN MEADOW CIR                                                                              LOUISVILLE       KY    40207‐2850
MRS ALBENA A KURPOWIC & ALEXANDER A KURPOWIC 1529 GRANT                                                                                           LINCOLN PARK     MI    48146‐2136
JT TEN
MRS ALBENA A KURPOWIC & GERALD KURPOWIC JT TEN 1529 GRANT                                                                                         LINCOLN PARK     MI    48146‐2136

MRS ALBENA A KURPOWIC & JO ANN KURPOWIC JT TEN 1529 GRANT                                                                                         LINCOLN PARK     MI    48146‐2136

MRS ALBERTA GABEL                               145 SOUTH 78TH ST                                                                                 MILWAUKEE        WI    53214‐1408
MRS ALBERTA J BAGGEST CUST JUDY ROBERTA BAGGEST BIERYS BRIDGE RD                                                                                  BETHLEHEM        PA    18017
UGMA PA
MRS ALBERTA L WILKERSON                         855 SOUTHFIELD DR                        APT 305                                                  PLAINFIELD       IN    46168‐2455
MRS ALBERTA SURMAN                              26922 W BAGLEY RD                                                                                 OLMSTED FALLS    OH    44138‐1102
MRS ALBERTA W ADAMS                             2808 PIEDRA DRIVE                                                                                 PLANO            TX    75023‐5412
MRS ALBERTINA VALLAR                            94 KEWANEE RD                                                                                     NEW ROCHELLE     NY    10804‐1336
MRS ALBERTINE MATON PELLEGRINI                  657 W DECATUR ST                                                                                  DECATUR          IL    62522‐3205
MRS ALBINA MIHALCHIK                            13564 ST CLAIR DR                                                                                 NORTH            PA    15642‐5110
                                                                                                                                                  HUNTINGDON
MRS ALDYTH SHILLEH                                 3591 NW 113TH TERR                                                                             SUNRISE          FL    33323‐1471
MRS ALESSANTRINA SCHWARTZ                          615 FRANKLIN AVE                                                                               FRANKLIN LAKES   NJ    07417‐2521
MRS ALEXANDRA BEICOS                               58159 WISTERIA                                                                                 LAKEWOOD         OH    44107
MRS ALEXANDRA IVANOFF DENNY                        6397 STARLING COURT                                                                            LONGMONT         CO    80503‐8725
MRS ALICE A BRETHAUER                              C/O ALLEN JACOBSEN                    208 PAWNEE                                               HIAWATHA         KS    66434
MRS ALICE A HICKS                                  9 RIVERVIEW CIR                                                                                POUGHKEEPSIE     NY    12601‐1123
MRS ALICE A VARRO CUST TERRI F VARRO U/THE OHIO U‐ C/O TERRI F EARL                      27699 TENNESSEE ST                                       BONITA SPRINGS   FL    34135‐4816
G‐M‐A
MRS ALICE ANN BENOIT                               3606 N 3RD ST                                                                                  CLINTON          IA    52732‐1371
MRS ALICE AYERS SCHMIDT                            1310 STUART                                                                                    HELENA           MT    59601‐2328
MRS ALICE B DEERING                                1 MARY JANE CIR                                                                                WORCESTER        MA    01609
MRS ALICE C ANDERSON                               28 TIMBER LANE                                                                                 AVON             CT    06001‐2316
MRS ALICE F EMERSON                                713 12TH ST                                                                                    FULTON           IL    61252‐1046
MRS ALICE F WASHBURN CUST GEORGE HENRY             1421 STEELE ST                                                                                 FORT MYERS       FL    33901‐8431
WASHBURN UGMA NY
MRS ALICE FRAZER EVANS                             6 LINDA LANE                                                                                   SIMSBURY         CT    06070‐1519
MRS ALICE G JASPER & GERALD L JASPER JT TEN        2044 JASPER DAIRY RD                                                                           ST JOSEPH        MI    49085‐9606
MRS ALICE GENTRY & MISS SANDRA GENTRY JT TEN       45700 VILLAGE BLVD                                                                             SHELBY TWP       MI    48315‐6093

MRS ALICE INSINGA                                 54 WEBSTER AVE                                                                                  PATERSON         NJ    07501‐3211
MRS ALICE J BASHFORD                              100 INDIAN HILL RD                                                                              STAMFORD         CT    06902‐2026
MRS ALICE J COLLINS                               1809 BENNETT APT 213                                                                            DALLAS           TX    75206‐7566
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MRS ALICE JONES                                   901 EARL DR                                                                                      CONNERSVILLE     IN      47331‐1730
MRS ALICE JUNE SCHWEITZER                         1300 WIDEFIELD DR                                                                                COLORADO SPRINGS CO      80911‐1648

MRS ALICE KELLY                                690 IVYBUSH TRL                                                                                     CAMDEN             SC    29020‐9540
MRS ALICE L HART                               PO BOX 453                                                                                          GRANVILLE          OH    43023‐0453
MRS ALICE M COMBS CUST MICHAEL T COMBS A MINOR 195 SUMMERHOUSE LN                                                                                  ATLANTA            GA    30350‐6605
U/THE LAWS OF GEORGIA
MRS ALICE M KARLEBACH                          445 S ROSSMORE AVE                                                                                  LOS ANGELES        CA    90020‐4741
MRS ALICE M MC COOL CUST KEVIN M MC COOL UGMA 1545 RIVER HILLS PKWY NW                    APT 122                                                  CAMBRIDGE          MN    55008‐3740
MD
MRS ALICE M PIPER                              C/O ERIC B PIPER                           207 S WASHINGTON STREET                                  SNOW HILL          MD    21863‐1232
MRS ALICE M RIEGER & IRVIN J RIEGER JT TEN     170 HENNING DRIVE                                                                                   CHESTERFIELD       MO    63017‐2600
MRS ALICE ONEIL                                4849 BROOKWOOD DR                                                                                   ROANOKE            VA    24018‐2839
MRS ALICE PAPACENA & JAMES PAPACENA JT TEN     37 RIDGE ST                                                                                         CRESTWOOD          NY    10707‐1015
MRS ALICE PETROW                               3174 33RD ST                                                                                        LONG ISLAND CITY   NY    11106‐2414

MRS ALICE R BLANK                               513 KENTUCKY AVE                                                                                   SAVANNAH           GA    31404‐3011
MRS ALICE R NEWKIRK                             7257 NW 11TH ST                                                                                    OCALA              FL    34482‐8220
MRS ALICE REPPARD SLAYDEN                       180 MT FAIR AV                                                                                     BROOKSVILLE        FL    34601‐2110
MRS ALICE RUTH TRYALS                           4311 CHESTER ST                                                                                    HOUSTON            TX    77007‐2307
MRS ALICE S CARMICHAEL                          115 CO RD 1                                                                                        PINE HILL          AL    36769‐2104
MRS ALICE T R WINTERSHEIMER                     224 ADAMS AVE                                                                                      COVINGTON          KY    41014‐1712
MRS ALICE V MORRIS                              3466 MAIN ST                                                                                       MINERAL RIDGE      OH    44440‐9530
MRS ALICE VAN VOORST VERZUH                     9360 WEST 51ST AVE                                                                                 ARVADA             CO    80002‐4214
MRS ALICE W KENNEDY                             16 SMOKE RISE VILLAGE II                                                                           NEW HOPE           PA    18938‐1275
MRS ALICE WISE NULL                             64 CLINTON DR                             RD 2 CLINTON HILLS                                       TRIADELPHIA        WV    26059‐9614
MRS ALICIA M KLINGAMAN                          36 LOCUST AVE                                                                                      TROY               NY    12180‐5126
MRS ALISON YU MOK                               2 TRIESTE                                                                                          IRVINE             CA    92606‐8910
MRS ALLENE R BERMAN                             20 MOHEGAN LANE                                                                                    PORT CHESTER       NY    10573‐1429
MRS ALMA H LONGINO                              PO BOX 1861                                                                                        HATTIESBURG        MS    39403‐1861
MRS ALMA M LASATER                              40 BLYTHEWOOD DRIVE                                                                                GREENVILLE         SC    29607‐1202
MRS ALMA M RAINVILLE                            59 TRUFAL AVE                             WELLAND ON                             L3C 2A5 CANADA
MRS ALMA R STANCIL                              427 SWEETGUM DR                                                                                    WOODSTOCK          GA    30188‐1796
MRS ALMA SMILDZINS & MRS ASTRIDA TERAUDS JT TEN 711 E PARK AVE                                                                                     LONG BEACH         NY    11561‐2621

MRS ALTA M STOWERS                              312 W JEFFERSON ST                                                                                 KIRKLIN            IN    46050‐9634
MRS ALTA WINTROATH                              1011 WILD OAK CT                                                                                   CONCORD            CA    94521‐4530
MRS ALVERNA MAYER                               88 E VAN NESS AVE                                                                                  RUTHERFORD         NJ    07070‐2739
MRS ALYSSA PRESTON O'ROURKE                     610 NW 11TH AVE                                                                                    PORTLAND           OR    97209‐3260
MRS AMELIA A FIUMARA & ALFRED P FIUMARA TEN ENT 756 SOMERVILLE DRIVE                                                                               PITTSBURGH         PA    15243‐1650

MRS AMELIA M VIEUX                                255 LEO AVE                                                                                      SAN LEANDRO        CA    94577‐2718
MRS AMELIA SANMARTIN & EDWARDO A SANMARTIN        7521 CODDLE HARBOR LN                                                                            POTOMAC            MD    20854‐3250
JT TEN
MRS AMORET B MAYBERRY CUST ANNE DICKEY            2115 MONTVALE CT W                                                                               SEATTLE            WA    98199‐3925
MAYBERRY UGMA MA
MRS AMY H DMITZAK                                 814 HUNTINGTON PL                                                                                LANCASTER          PA    17601‐1293
MRS AMY L SHELTON                                 C/O AMY L GRUBER                        6905 S MILLION RD                                        CHEYENNE           WY    82009‐8862
MRS AMY SIMON CUST MATHEW O SIMON UNDER THE       14 VALLEY FORGE LN                                                                               WESTON             CT    06883‐2013
FL GIFTS TO MINORS ACT
MRS AMY W SIKORA                                  3704 CAPRI CT                                                                                    GLENVIEW           IL    60025‐3810
MRS ANDREA A PELLETIER                            60 FORT HILL ST                                                                                  FORT FAIRFIELD     ME    04742‐1132
MRS ANDREA B KELLEHER                             9699 FEROL DR                                                                                    VIENNA             VA    22182‐1935
MRS ANDREA B KELLEHER & BRUCE M KELLEHER JT TEN   9699 FEROL DR                                                                                    VIENNA             VA    22182‐1935

MRS ANDREA B KELLEHER CUST KEVIN KELLEHER UGMA 13069 MOYES BLUFF CT                                                                                LOVETTSVILLE       VA    20180‐3548
CA
MRS ANDREA B KELLEHER CUST MICHAEL LAWRENCE    59 SOUTHGATE AVE                                                                                    ANNAPOLIS          MD    21401‐2829
KELLEHER UGMA CA
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MRS ANDREA B KELLEHER CUST MICHAEL LAWRENCE      59 SOUTHGATE AVE                                                                               ANNAPOLIS          MD    21401‐2829
KELLEHER UGMA MD
MRS ANDREA BEAUCHAMP & GORMAN BEAUCHAMP JT       1503 BROOKLY AVENUE                                                                            ANN ARBOR          MI    48104‐4416
TEN
MRS ANDREA DIRECTOR CUST ALAN D DIRECTOR UGMA    50 BOWMAN LANE                                                                                 KINGS PARK         NY    11754‐2010
NY
MRS ANDREA DIRECTOR CUST MICHAEL E DIRECTOR      50 BOWMAN LANE                                                                                 KINGS PARK         NY    11754‐2010
UGMA NY
MRS ANDREA GAY BERRYMAN                          729 TIMBERHILL                                                                                 CHATHAM            IL    62629‐1147
MRS ANDREA HARALDSON                             TUNGUVEGI 40                          108 REYKJAVIK                          ICELAND
MRS ANDREA KOHL CUST STEVEN KOHL UGMA IL         130 SOUTH CANAL ST #612                                                                        CHICAGO            IL    60606‐3909
MRS ANDREA PECK GROVER                           10 ALAN DR                                                                                     SHORT HILLS        NJ    07078‐2103
MRS ANDREA R BOOK                                3696 ASHLEY WAY                                                                                OWINGS MILLS       MD    21117‐1434
MRS ANDREA R HAMBURGER                           46 RIVER AVE                                                                                   CORNWALL ON        NY    12520‐1116
                                                                                                                                                HUDSON
MRS ANDREA S NEBERLE                             ATTN ANDREA S LYNCH                   1357 ASHOVER DRIVE                                       BLOOMFIELD HILLS   MI    48304‐1214

MRS ANDREA STASYNA                               20 REDSTONE PATH                      ETOBICOKE ON                           M9C 1Y7 CANADA
MRS ANDREE MC GUIRE DE GEDRINSKY                 PO BOX 808                                                                                     ENGLEWOOD          NJ    07631‐0808
MRS ANDRONIKE OLYMPIOS                           3920 BYERS AVE                                                                                 FORT WORTH         TX    76107‐4423
MRS ANGELA ELLEN LOPEZ                           338 S SHARON AMITY RD #363                                                                     CHARLOTTE          NC    28211
MRS ANGELA R FARRELL                             412 DOGWOOD ST NW                                                                              DEMOTTE            IN    46310‐9519
MRS ANGELENE VARICK PELL WAGNER                  2396 HAMPDEN ROW                                                                               ROCKVILLE          VA    23146‐2136
MRS ANGELINA FOX CUST PHILIP R FOX UNDER THE NEW ATTN PHILLIP R FOX                    1175 YORK AVE APT 11‐C                                   NEW YORK           NY    10021‐7174
JERSEY U‐G‐M‐A
MRS ANGELINA PALMIERI                            843 WASHINGTON AVE                                                                             LINDEN             NJ    07036‐2947
MRS ANGELINE S ROTELL & MRS JACQUELINE PARMUHA 3423 GOLDENHILLS ST                                                                              DELTONA            FL    32738‐7151
JT TEN
MRS ANGIE F MARSHALL                             PO BOX 783                                                                                     AMERICUS           GA    31709
MRS ANITA ADOLPHE CUST BRUCE ADOLPHE U/THE       201 W 89TH ST                                                                                  NEW YORK           NY    10024‐1848
NEW YORK U‐G‐M‐A
MRS ANITA COHEN CUST PETER COHEN UGMA NY         16625 POWELLS COVE BLVD               APT 20D                                                  WHITESTONE         NY    11357‐1528
MRS ANITA H GARRETT                              8436 MIDNIGHT PASS RD                                                                          SARASOTA           FL    34242‐2706
MRS ANITA HULTON                                 23 WASHINGTON AVE                                                                              DANBURY            CT    06810‐7926
MRS ANITA J REYNOLDS                             1698 MORGAN ST                                                                                 WOOSTER            OH    44691‐1546
MRS ANITA LOVE                                   43 BAKER HILL RD                                                                               GREAT NECK         NY    11023‐1508
MRS ANITA M DOYLE                                26 E BROAD OAKS                                                                                HOUSTON            TX    77056
MRS ANITA NEBBIA                                 96 GENESEE AVE                                                                                 STATED ISLAND      NY    10308‐1331
MRS ANITA OCHSE                                  98 INLET TERRACE                                                                               BELMAR             NJ    07719‐2149
MRS ANITA SABULSKY CUST LES JAY SABULSKY UGMA PA 7916 CEDAR RD                                                                                  ELKINS PARK        PA    19027‐2726

MRS ANITA SELZER                                 15615 94TH AVE                                                                                 FLORISSANT         MO    63034‐2137
MRS ANITA T COWLEY                               404 2ND AVE                                                                                    FAYETTEVILLE       TN    37334‐2311
MRS ANITA WEIS MAPES                             569 RUPEN DR                                                                                   LAKEWAY            TX    78734‐4168
MRS ANN A OKOSKI                                 PO BOX 302                                                                                     MORRIS             CT    06763‐0302
MRS ANN ALLPORT                                  PO BOX 2213                                                                                    WINTER PARK        FL    32790‐2213
MRS ANN ALMAN                                    165 WARRIOR CREEK DR                                                                           WEST UNION         SC    29696‐2825
MRS ANN ALMAN CUST JON DAVID ALMAN UGMA NY       1801 SLOPE WOOD BEND                                                                           MARIETTA           GA    30062‐1841

MRS ANN ANDERSON & JON BLOCKER ANDERSON JT      PO BOX 897                                                                                      LA QUINTA          CA    92247‐0897
TEN
MRS ANN B DICKERSON                             1506 FOARD DR                                                                                   MORRISTOWN         TN    37814‐3335
MRS ANN B LEVINE CUST LAURENCE L LEVINE UGMA KY 215 SEQUOYA RD                                                                                  LOUISVILLE         KY    40207‐1658

MRS ANN B STROHMEYER CUST MARY ELIZABETH         100 JOSEPH RD                                                                                  LANCASTER          PA    17603‐5904
STROHMEYER UGMA PA
MRS ANN BICKY CUST DEBRA BICKY UNDER THE FLORIDA 13560 SW 98TH PLACE                                                                            MIAMI              FL    33176‐6158
GIFTS TO MINORS ACT
MRS ANN C FULTON                                 PO BOX 546                                                                                     MALIBU             CA    90265‐0546
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Name                                           Address1                            Address2             Address3          Address4          City               State Zip

MRS ANN C HARRIS                               220 LINDEN AVE                                                                               WESTFIELD          NJ    07090‐1922
MRS ANN CAROL BROMET                           10 MILLSTONE CAMPUS DR              APT B212                                                 SAINT LOUIS        MO    63146‐6612
MRS ANN CLINGER PFLEEGOR                       BOX 430                                                                                      PICTURE ROCKS      PA    17762‐0430
MRS ANN COLBY STAGER                           31 WHITTON ROAD                     HAMILTON ON                            L8S 4C6 CANADA
MRS ANN D CORR                                 PO BOX 61                                                                                    LEBANON            NH    03766‐0061
MRS ANN D RANKIN                               2095 DRURY LANE                                                                              NORTHFIELD         IL    60093‐3118
MRS ANN DASHNER & MRS MARILEE MEAD JT TEN      56644TH 230 STREET                                                                           GLENWOOD           IA    51534
MRS ANN DUTKOVICH VICTOR DUTKOVICH & VALENTINE 6918 S HIGH                                                                                  DARIEN             IL    60561‐3955
DUTKOVICH JT TEN
MRS ANN E CURRAN                               C/O ANN E SCHETTINO                 9 SURREY RD                                              SALEM              MA    01970‐4335
MRS ANN E DILLREE                              15 CALLE CHRISTINA                                                                           RANCHO SANTA       CA    92688‐5435
                                                                                                                                            MAR
MRS ANN E MILLUZZO                             2627 COMPASS DR                                                                              ANNAPOLIS          MD    21401‐7153
MRS ANN F SETTEL                               73 WRIGHT ST                                                                                 SARATOGA SPGS      NY    12866‐4931
MRS ANN FIELD WALES CUST MICHAEL WALES U/THE   140 INDIAN HEAD RD                                                                           RIVERSIDE          CT    06878
CONN U‐G‐M‐A
MRS ANN G BADGETT                              600 BARRETT LN                      # 204                                                    ASHEVILLE          NC    28803‐6000
MRS ANN G GADBAW CUST ELIZABETH MARY GADBAW    11101 MANN ROAD                                                                              TRAVERSE CITY      MI    49684‐7643
UGMA MI
MRS ANN G WILSON                               1523 ROSEWOOD AVE                                                                            LOUISVILLE         KY    40204‐1549
MRS ANN H MOLL                                 APT 30A                             10 FLORENCE AVE                                          FREEPORT           NY    11520‐5805
MRS ANN H RADICK                               25 GATEWAY DR                                                                                REEDSVILLE         PA    17084‐9641
MRS ANN H RAZER                                810 SOUTH PACKWICK AVE                                                                       SPRINGFIELD        MO    65804‐0130
MRS ANN H SCHNEIDER                            1130 BLOCK ISLAND                                                                            WEST PALM BEACH    FL    33414‐5501

MRS ANN HECATHORN                              PO BOX 95                                                                                    EARLVILLE          IL    60518‐0095
MRS ANN HOFFMAN                                9 Q ST                                                                                       HULL               MA    02045‐1618
MRS ANN JAKUBCZYK CUST BRIAN JAKUBUZYK UGMA MI 9326 GREEN TREE                                                                              GRAND BLANC        MI    48439‐9504

MRS ANN KAWOLA                                25 DAVID AVE                                                                                  TROY               NY    12180‐8442
MRS ANN L FOX                                 5236 ARCHER DR SW                                                                             ROANOKE            VA    24014‐5702
MRS ANN L MARGOLIS                            6110 N LAKE DR CT                                                                             MILWAUKEE          WI    53217‐4649
MRS ANN L SCHOCH & GEORGE A SCHOCH JT TEN     86 PLAINS RD                                                                                  AUGUSTA            NJ    07822‐2008
MRS ANN L VAN DRIESSCHE                       2247 CLUB HOUSE DR                                                                            LILLIAN            AL    36549‐5411
MRS ANN LOEFFLER & MRS MARY ANN HOOK & GEORGE 333 EAST LAKEWOOD BLVD               LOT 331                                                  HOLLAND            MI    49424‐2056
LOEFFLER JR JT TEN
MRS ANN LOUISE GREGORY & GARY LEE GREGORY JT  11409 RIDGE RD                                                                                RENOVO             PA    17764
TEN
MRS ANN LOUISE POUND CUST CHRISTOPHER J POUND 5766 W WAUTOMA BCH RD                                                                         HILTON             NY    14468‐9126
UGMA NY
MRS ANN M BARTFAY                             169‐D N DURKEE HILL                                                                           SOUTHBURY          CT    06488‐1400
MRS ANN M COVELL                              BOX 1202                                                                                      CARMEL             CA    93921‐1202
MRS ANN M EFFINGER                            501 DUTCHMANS LN                     RM 219                                                   EASTON             MD    21601‐3391
MRS ANN M LUKETICH                            803 REDMONT PL                                                                                GREENSBURG         PA    15601‐1086
MRS ANN M MASSIE                              835 ROSS RD                                                                                   LEXINGTON          VA    24450‐6152
MRS ANN M OCONNELL                            7070 CRADLEROCK WAY                  APT 324                                                  COLUMBIA           MD    21045‐4857
MRS ANN M ODONNELL & MISS CATHERINE M         G‐2 LORING HILLS AVE                                                                          SALEM              MA    01970
ODONNELL JT TEN
MRS ANN M QUIRK                               860 BRADFORD AVE                                                                              WESTFIELD          NJ    07090‐3007
MRS ANN M SCHRIVER                            16 MELODY LANE                                                                                SELINSGROVE        PA    17870‐1160
MRS ANN MAKARWICZ                             402 FIRST ST                                                                                  SOLVAY             NY    13209‐2118
MRS ANN MARIE FURMAN                          4302 FOX HAVEN LN                                                                             ALEXANDRIA         VA    22304‐7401
MRS ANN MAUDE SMITH HEARN                     C/O DAN W HOPKINS                    PO BOX 20010                                             ST SIMONS ISLAND   GA    31522‐8010

MRS ANN MIRIAM SCHOCKETT                       930 BROWERS POINT BRANCH                                                                     WOODSBURGH         NY    11598‐1736
MRS ANN O'CONNOR                               26458 US HIGHWAY 98                                                                          ELBERTA            AL    36530‐2708
MRS ANN R FARROW                               667 PROSPECT AVE                                                                             LITTLE SILVER      NJ    07739‐1500
MRS ANN R SCHILDKNECHT                         120 UNDERCLIFF RD                                                                            MONTCLAIR          NJ    07042‐1620
MRS ANN R SMITH                                2212 DOUGLASS BLVD                                                                           LOUISVILLE         KY    40205‐1904
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MRS ANN RAGINE HABEL                           5178 ST ROUTE 88                                                                               KINSMAN           OH    44428‐9740
MRS ANN RANDOLPH COLEMAN TAYLOR                5123 WEBB STREET                                                                               MOREHEAD CITY     NC    28557‐2694
MRS ANN S DANIELS                              PO BOX 2144                                                                                    STARKVILLE        MS    39760‐2144
MRS ANN S FAUSOLD                              33 N SECOND ST                                                                                 ALLEGANY          NY    14706‐1025
MRS ANN S JACOBS                               41 LINDA COURT                                                                                 DELMAR            NY    12054‐3516
MRS ANN S KINSMAN CUST SANDRA K KINSMAN U/THE 1294 OLD AIRPORT ROAD                                                                           DOUGLASSVILLE     PA    19518‐8920
PA U‐G‐M‐A
MRS ANN SCHAFFER & SAMUEL SCHAFFER JT TEN      1 STANDISH PLACE                                                                               HARTSDALE         NY    10530‐2914
MRS ANN SIMEONE                                694 RUSSELL RD                                                                                 JACKSON           TN    38301‐3448
MRS ANN STEPHENS MOLYNEAUX                     930 GREENWOOD AVE                                                                              WILMETTE          IL    60091‐1752
MRS ANN STEWART HACK                           48 LYNNE ROAD                                                                                  HOPEWELL JCT      NY    12533‐5822
MRS ANN T LAPOLLA CUST ANTHONY S LAPOLLA UNDER 216 LAWRENCE RD                                                                                FAIRFIELD         CT    06824‐3041
THE CONNECTICUT U‐G‐M‐A
MRS ANN T SPENCER                              495 LYLE PKWY                                                                                  BARTOW            FL    33830‐9248
MRS ANN U HAUCK                                BOX 243                                                                                        SUNBURY           OH    43074‐0243
MRS ANN W COLLENTRO                            60 WATSON WAY                                                                                  GROTON            MA    01450‐1480
MRS ANN WATSON ROBERTS                         PO BOX 751                                                                                     WATERPROOF        LA    71375‐0751
MRS ANN WERNTZ & MISS MARY ANN WERNTZ JT TEN 219 E GRAND ST                                                                                   MT VERNON         NY    10552‐2232

MRS ANN WITHERS MC NEILL                        8925 ETCHING OVER LOOK                                                                        DULUTH            GA    30097‐6426
MRS ANN YANKLOWSKI                              54 HILLARY DR                                                                                 ROCHESTER         NY    14624‐5245
MRS ANNA A COSTA & EDWARD A COSTA JT TEN        20 LINDEN ST                                                                                  NEWTON            MA    02464‐1412
MRS ANNA ADAMS                                  198 PRIGMORE ST                                                                               EAST BRUNSWICK    NJ    08816‐3180
MRS ANNA B DAVIS                                425B MISSION VALLEY ACRES RD                                                                  VICTORIA          TX    77905‐2615
MRS ANNA C YEE                                  25 LUNADO WAY                                                                                 SF                CA    94127‐2852
MRS ANNA F DARTT                                C/O ANNA F DARTT HENDERLIGH          18600 ROUTE 105                                          ELMORE            OH    43416‐9746
MRS ANNA F MUCHIN                               523 SALTER AVE                                                                                ROCKFORD          IL    61102‐3225
MRS ANNA GOLDBERG & MRS EVELYN YELLIN JT TEN    303 LAWNDALE AVE                                                                              AURORA            IL    60506‐3132

MRS ANNA HORVATH & JOHN HORVATH JT TEN          196‐39 45TH ROAD                                                                              FLUSHING          NY    11358‐3511
MRS ANNA LOVELACE ST CLAIR                      3501 ELM ST                                                                                   BAKERSFIELD       CA    93301‐1513
MRS ANNA M BURKE                                47 DEFOREST RD                                                                                WILTON            CT    06897‐1908
MRS ANNA M SHEPARD                              19 BAY VIEW AVE                                                                               DANVERS           MA    01923‐3123
MRS ANNA MAE HICKS                              1929 MAJESTIC MEADOWS DR                                                                      CLARKSVILLE       IN    47129‐9076
MRS ANNA MARGARET GOVERN                        17822 WILLOWBROOK DR                                                                          SUN CITY          AZ    85373‐1533
MRS ANNA MAY AMACHER                            6303 MILLEVILLE CIRCLE                                                                        SANBORN           NY    14132‐9239
MRS ANNA MAY VORIS                              1956 SUNSET LANE                                                                              FULLERTON         CA    92833‐1737
MRS ANNA MAZUR & ANDREW MAZUR JR JT TEN         806 RIDGE LANE                                                                                MEDIA             PA    19063‐1722
MRS ANNA NEVOLA                                 65 WAKEFIELD AVE                                                                              CRANSTON          RI    02920‐7628
MRS ANNA RABITO                                 56 WYNNEWOOD RD                                                                               LIVINGSTON        NJ    07039‐2631
MRS ANNA SHARP KITCHENS                         C/O MADELAINE B SHARP                285 SHARP RD                                             BATON ROUGE       LA    70815‐5048
MRS ANNA T OSULLIVAN                            1022 RICHARDS LANE                                                                            FEASTERVILLE      PA    19053‐4145
MRS ANNA T SAUL                                 111 OWEN RD                          APT 43                                                   MONONA            WI    53716‐3587
MRS ANNA Z KUEHNLE                              3217 SOMERSET DR                                                                              LEAWOOD           KS    66206‐1138
MRS ANNABELLE SILVERMAN                         2686 BEATRICE LANE                                                                            NORTH BELLMORE    NY    11710‐2011

MRS ANNALEE S FLANAGAN                          2130 OLDE TOWNE AVE                                                                           MIRAMAR BEACH     FL    32550‐6502
MRS ANNE BEAUDRY                                275 HILLCREST AVE                                                                             NEWINGTON         CT    06111‐3523
MRS ANNE BERARDI CUST CYNTHIA BERARDI A UGMA    6558 NW 103RD LANE                                                                            PARKLAND          FL    33076‐2934
PA
MRS ANNE BERARDI CUST MARIO BERARDI JR A UGMA   530 W GAY ST                                                                                  WEST CHESTER      PA    19380‐2853
PA
MRS ANNE BIEDERMAN                              4246 HARWOOD RD                                                                               SOUTH EUCLID      OH    44121‐2741
MRS ANNE BRADSHAW OBRIEN                        29 WADE ST                                                                                    BOSTON            MA    02135‐5702
MRS ANNE C GENGENBACH                           929 CORNELL AVE                                                                               DREXEL HILL       PA    19026‐3208
MRS ANNE C MILLER CUST MARK I MILLER U/THE      615 ANDERSON CT                                                                               SATELLITE BEACH   FL    32937‐3950
FLORIDA GIFTS TO MINORS ACT
MRS ANNE CINQUE                                 22300 SLIDELL ROAD                                                                            BOYDS             MD    20841‐9322
MRS ANNE D BLATZ                                54 MATES WAY                                                                                  BREWSTER          MA    02631‐1302
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Name                                              Address1                                Address2             Address3          Address4          City            State Zip

MRS ANNE D CAMPBELL & MRS EVELYN M MC GEE JT      8120 BARNETT AVE                                                                                 KANSAS CITY     KS    66112‐2542
TEN
MRS ANNE D HEIDELBERG                             607 PARKWOOD DR                                                                                  LONG BEACH      MS    39560‐3801
MRS ANNE D PALMER CUST BARBARA J PALMER UGMA      PO BOX 442                                                                                       N KINGSTOWN     RI    02852‐0442
RI
MRS ANNE DYKE CUST KIMBERLY DYKE UGMA CT          6909 PINE HOLLOW DR                                                                              WESTERVILLE    OH     43082‐8527
MRS ANNE G BOURG                                  110 WEDGEWOOD DRIVE                                                                              MORGANTON      NC     28655‐5733
MRS ANNE H CASALE                                 558 E LAKE BONNY DRIVE                                                                           LAKELAND       FL     33801‐2375
MRS ANNE HOBLER ROCKEFELLER MORGAN                P O 684                                                                                          HARLETON       TX     75651‐0684
MRS ANNE J ALLISON                                224 CIRCLE DR                                                                                    PLANDOME MANOR NY     11030‐1123

MRS ANNE JACKSON GREGORY                          1010 LAKE HUNTER CIR                                                                             MT PLEASANT     SC    29464‐5417
MRS ANNE L DUTRIZ                                 810 GONZALEZ DRIVE APT 3L                                                                        SAN FRANCISCO   CA    94132‐2221
MRS ANNE L HEALY                                  4535 WEATHERSIDE RUN                                                                             FORT WAYNE      IN    46804‐6540
MRS ANNE L PRUSAK & JOSEPH J PRUSAK JT TEN        16624 S PARLIAMENT AVE                                                                           TINLEY PARK     IL    60477‐2466
MRS ANNE LITTLE JACKSON                           16 TIMOTHY TRACE                                                                                 ANNISTON        AL    36207‐6362
MRS ANNE LOGAN ANDERSON CUST ANNE LAURIE          2420 RANSDELL AVE                                                                                LOUISVILLE      KY    40204‐2113
ANDERSON UGMA KY
MRS ANNE LOGAN ANDERSON CUST ROBERT OLOF          PO BOX 11517                                                                                     LOUISVILLE      KY    40251‐0517
ANDERSON UGMA KY
MRS ANNE M JOHANSON                               25631 MINOS ST                                                                                   MISSION VIEJO   CA    92691‐4634
MRS ANNE M VOIGT                                  809 LEE HILL RD                                                                                  BOULDER         CO    80302‐9458
MRS ANNE MARIE MEEKINS                            2217 WINDING WAY DR                                                                              DAVISON         MI    48423‐2042
MRS ANNE MARIE NICOL                              224 COLORADO AVE                                                                                 WATERWON        NY    13601‐3006
MRS ANNE N BANTA CUST MEGAN P BANTA UGMA NJ       1123 LINWOOD AVE                                                                                 RIDGEWOOD       NJ    07450

MRS ANNE PEGGY LISS & DENNIS LISS JT TEN          31537 PACIFIC COAST HWY                                                                          MALIBU          CA    90265‐2642
MRS ANNE R MITCHELL                               9012 MENARD                                                                                      MORTON GROVE    IL    60053‐2465
MRS ANNE S CHAPKO SCHUDD                          2299 E FOREST HILL AVE                                                                           OAK CREEK       WI    53154‐3126
MRS ANNE S H T WESTLAKE                           6 PINE DR                                                                                        WESTPORT        CT    06880‐4421
MRS ANNE SPARGER GOODWIN                          PO BOX 24                                                                                        MONTREAT        NC    28757‐0024
MRS ANNE STUDEN CUST JONATHAN D STUDEN UGMA       2000 WORLD PARKWAY BLVD                 APT 21                                                   CLEARWATER      FL    33763
NY
MRS ANNE SULLIVAN PALACIOS                        4407 DRESDEN ST                                                                                  KENSINGTON      MD    20895‐4104
MRS ANNE T HAMILTON                               BOX 932                                                                                          MERIDIAN        MS    39302‐0932
MRS ANNE T WESTLAKE CUST ELIZABETH S H WESTLAKE   46 NORTH STREET                                                                                  SHELTON         CT    06484‐1933
UGMA CT
MRS ANNE V HORINE & MRS JUDITH HORINE ONEAL JT    1590 MADISON 451                                                                                 DES ARC         MO    63636‐8810
TEN
MRS ANNE W NEBLETT                                20 MOUNTAIN LANE                                                                                 MILL VALLEY     CA    94941‐5008
MRS ANNE W WOLFE                                  329 FAIRWAY NORTH                                                                                TEQUESTA        FL    33469‐1958
MRS ANNELIESE HARSTICK                            211 BEDFORD PARK BLVD APT 1D                                                                     BRONX           NY    10458
MRS ANNETTE ANDERSON BOWEN & JAMES MILFORD        404 HUBERT                                                                                       WEBSTER         TX    77598‐5104
BOWEN JT TEN
MRS ANNETTE C MASSEY                              PO BOX 304                                                                                       CRISFIELD       MD    21817‐0304
MRS ANNETTE GETTLEMAN CUST JOEL M GETTLEMAN       1030 NORTH AVE                                                                                   DEERFIELD       IL    60015‐2206
UGMA IL
MRS ANNETTE K OCONNOR                             224 BEECH ST                                                                                     HOLYOKE         MA    01040‐4009
MRS ANNETTE K PANG CUST TESSA L C PANG UGMA HI    2383 BECKWITH ST                                                                                 HONOLULU        HI    96822‐1935

MRS ANNETTE K PANG CUST TIA L N PANG UGMA HI      1350 CALIFORNIA ST                      APT 405                                                  SAN FRANCISCO   CA    94109‐4994

MRS ANNETTE PACKIS                                25777 YEOMAN DR                                                                                  WESTLAKE         OH   44145‐4745
MRS ANNETTE PARKER SECHEN                         HOWES LANE BOX 321                                                                               COHASSET         MA   02025‐0321
MRS ANNETTE PRIBUT                                6515 BROOK FOREST DR                                                                             COLORADO SPRINGS CO   80911‐9638

MRS ANNETTE T BALIAN CUST CHRISTINA L BALIAN      7015 GREENTREE DR                                                                                NAPLES          FL    34108‐7527
UGMA MI
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Name                                              Address1                              Address2                      Address3     Address4          City            State Zip

MRS ANNETTE T BALIAN CUST LAURIE S BALIAN UGMA    7015 GREENTREE DR                                                                                  NAPLES          FL    34108‐7527
MI
MRS ANNIE BELLE FINGER                            945 COVENTRY ROAD                                                                                  KANNAPOLIS      NC    28081‐9423
MRS ANNIE D BOURGEOIS                             119 RONALD BLVD                                                                                    LAFAYETTE       LA    70503‐2737
MRS ANNIE RAY SMITH                               624 N MARSHALL ST                                                                                  HENDERSON       TX    75652‐5959
MRS ANNIE WALLACE CUST PAULINE K WALLACE UGMA     2506 DURHAM CT SW                                                                                  DECATUR         AL    35603‐2916
TN
MRS ANNY CAROLINE HAYTON                          356 CHARLTON AVE WEST                 HAMILTON ON                                L8P 2E7 CANADA
MRS ANOR DANN WIESE BYER                          PO BOX 2496                                                                                        ONALASKA        TX    77360‐2496
MRS ANTOINETTE A FITZ & MRS ELIZABETH A POSS JT   5561 HIDDEN PINES WAY                                                                              TOLEDO          OH    43623‐1500
TEN
MRS ANTOINETTE BELLAVIA                           870 MANOR LANE                                                                                     BAYSHORE        NY    11706‐7525
MRS ANTOINETTE BRIKAS & ROBERT T BRIKAS JT TEN    5 LARKSPUR RD                                                                                      HOLDEN          MA    01520‐2415

MRS ANTOINETTE LOBASCIO                           C/O JEAN SHERMAN                      7 INWOOD ROAD                                                GLEN COVE       NY    11542‐1546
MRS ANTOINETTE ROMEO                              6750 ROYAL PALM BLVD                  APT 307E                                                     MARGATE         FL    33063‐7210
MRS APRIL YABLONSKY                               10 FAIRMOUNT AVE                                                                                   UPPER MONTCLAIR NJ    07043‐2405

MRS ARLEEN M SHAW                                 278 CONVERSE RD                                                                                    MARION          MA    02738‐1600
MRS ARLEENE MARGOLIS                              25 COTTON ST                                                                                       NEWTON          MA    02458‐2619
MRS ARLENE LOYSEN                                 9899 DELRAY DR                                                                                     CINCINNATI      OH    45242‐6201
MRS ARLENE M CATAMBAY & KEITH T CATAMBAY JT       2000 STEVEN ST                                                                                     MANDEVILLE      LA    70448‐6520
TEN
MRS ARLENE MEHLER CUST RONALD ALLEN MEHLER        7414 ARROWOOD DR                                                                                   W BLOOMFIELD    MI    48324‐2508
UGMA MI
MRS ARLENE MUNITZ                                 28149 FAIRMOUNT BLVD                                                                               PEPPER PIKE     OH    44124
MRS ARLENE S POSTUPAK CUST MICHAEL L POSTUPAK     660 S CRESCENT AVE                                                                                 HAMBURG         PA    19526‐1429
UGMA PA
MRS ARLINE BINKOWSKI                              98 ALBERT ST                                                                                       NORTH ARLINGTON NJ    07031‐5630

MRS ARLINE BLOM                                 17 GLENN TERR                                                                                        VINELAND        NJ    08360‐4912
MRS ARLINE MARCIA VOLIN                         418 ‐ 64 QUINAQUISSET AVE                                                                            MASHPEE         MA    02649
MRS ARLINE N HANNON                             124 BAY ROAD                                                                                         HUNTINGTON      NY    11743‐1356
MRS ARNETTA G MOLLEY                            10211 BALSAM POPLAR PL                                                                               MITCHELLVILLE   MD    20721‐2785
MRS ARRIE H FISHER                              311 FIRST ST                                                                                         COCHRAN         GA    31014‐1607
MRS ATHENA PARNASSAS & MISS PRISCILLA PARNASSAS 305 RIVERSIDE DR                        APT 2A                                                       NEW YORK        NY    10025‐5212
JT TEN
MRS ATHENA PARNASSAS & MISS STEPHANIE           305 RIVERSIDE DR                                                                                     NEW YORK        NY    10025‐5286
PARNASSAS JT TEN
MRS ATHENA STAMATAKY                            APT 3‐B                                 145 SEAMAN AVE                                               NEW YORK        NY    10034‐1937
MRS AUDREY B MACDOUGALL                         7796 BEL AIR DRIVE                                                                                   ROME            NY    13440‐2230
MRS AUDREY B WAUGH                              299 NIAGARA BLVD                        BOX 212 NIAGARA ON THE LAKE   TORONTO ON   L0S 1J0 CANADA
MRS AUDREY BROWN                                195 DENVER RD                                                                                        PARAMUS         NJ    07652‐3205
MRS AUDREY E LEAF                               2 BARTON WAY                                                                                         CHILMARK        MA    02535‐2433
MRS AUDREY GOODMAN                              26 HILLSIDE AVENUE                                                                                   GLEN ROCK       NJ    07452‐2517
MRS AUDREY J GAULT                              115 ENGLEWOOD AVE                                                                                    ENGLEWOOD       NJ    07631‐3308
MRS AUDREY J POLLARD                            19975 WELLINGTON CT                                                                                  SARATOGA        CA    95070‐3813
MRS AUDREY M PAGE                               315 DOGWOOD DRIVE                                                                                    MOUNT HOLLY     NC    28120‐2345
MRS AUDREY NOVAK                                23 BAUER ST                                                                                          TAPPAN          NY    10983‐1707
MRS AUDREY RITCHIE                              STE 1211                                360 WATSON ST W               WHITBY ON    L1N 9G2 CANADA
MRS AUDREY SMALLEY                              316 PALMER WY                                                                                        WILMINGTON      NC    28412‐3386
MRS AURELIUS M LINDEEN                          14144 TAHOE VIEW DRIVE                                                                               GRASS VALLEY    CA    95945‐9696
MRS AURORA GUTIERREZ                            35806 STOERKEL ST                                                                                    HARRISON        MI    48045‐3262
                                                                                                                                                     TOWNSHIP
MRS AVIS W COOPER                                 RR5 BOX 5538                                                                                       KUNKLETOWN      PA    18058‐9636
MRS B HELEN REFNER                                412 N CENTER                                                                                       BRADLEY         IL    60915‐1608
MRS BAE KRAMER MAGRUDER                           PO BOX 1912                                                                                        MC COMB         MS    39649‐1912
MRS BARBARA A BORGERS                             BOX 66                                                                                             BAYSIDE         CA    95524‐0066
MRS BARBARA A FOGEC                               5671 GARLAND LANE                                                                                  GREENDALE       WI    53129‐1508
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MRS BARBARA A HESS                               77 E MAIN ST                                                                                     WAYNESBORO      PA    17268‐1633
MRS BARBARA A KERCHNER CUST CATHERINE J          210 KIMBLE RD                                                                                    LINCOLN         PA    19352‐1700
KERCHNER UGMA PA                                                                                                                                  UNIVERSITY
MRS BARBARA A KERCHNER CUST ERIC J KERCHNER      9 MOUNTAIN VIEW CIR                                                                              EFFORT          PA    18330‐2209
UGMA PA
MRS BARBARA A KOTORA                             29 BELGRADE AVE                                                                                  CLIFTON         NJ    07013‐1001
MRS BARBARA A LAMBERT                            701 WHITAKER                                                                                     MOREHEAD        KY    40351‐8415
MRS BARBARA ALBRECHT                             ROUTE 1 1501 13TH LANE                                                                           FRIENDSHIP      WI    53934‐9801
MRS BARBARA ALLIS BASS                           PO BOX 844                                                                                       HOUSTON         TX    77001‐0844
MRS BARBARA ANN COFFIN & ALLEN R COFFIN JT TEN   6101 VIRGO CT                                                                                    BURKE           VA    22015‐3249

MRS BARBARA ANN DUBISKY                          11061 ASPEN LN W                                                                                 CLIO            MI    48420‐2406
MRS BARBARA ANN H SELLECK                        416 2ND AVE                                                                                      PELHAM          NY    10803‐1113
MRS BARBARA ANN HAWK                             10 COLE VLG                                                                                      CLARKS SUMMIT   PA    18411‐9360
MRS BARBARA ANN LUTZ & WINFIELD G LUTZ JT TEN    5124 FOREST RD                          BX 31                                                    VOWINCKEL       PA    16260‐0031

MRS BARBARA ANN MOORE CUST MISS KAREN LYNN       2095 SHAGBARK LANE                                                                               OKEMOS          MI    48864‐3625
MINNIS UGMA MI
MRS BARBARA ANN WISEMAN CUST SCOTT FREDRIC       2600 RIVER WOODS DR                                                                              NAPERVILLE      IL    60565‐6316
WISEMAN UGMA PA
MRS BARBARA ANNE MOORE CUST JONATHON CLARK       2095 SHAG BARK LANE                                                                              OKEMOS          MI    48864‐3625
MOORE UGMA MI
MRS BARBARA ANNE MOORE CUST MISS JENNIFER        2095 SHAG BARK LANE                                                                              OKEMOS          MI    48864‐3625
MARIE MOORE UGMA MI
MRS BARBARA ARMES                                4652 OAK ST                                                                                      MACCLENNY       FL    32063‐7304
MRS BARBARA B MILLER & JOHN C MILLER JT TEN      15167 DENWOODS DR                                                                                CHESTERFIELD    MO    63017‐7005
MRS BARBARA B YOUNG                              3300 N DELAWARE DR                                                                               EASTON          PA    18040‐7341
MRS BARBARA BERNARDI CUST JOSEPH GERARD          31 PARK HILL DR                                                                                  HOPEWELL        NY    12533‐5607
BERNARDI UGMA NY                                                                                                                                  JUNCTION
MRS BARBARA BICKEL ALDERDICE CUST GAIL FRANCES   37 HIRSCHFIELD DR                                                                                WILLIAMSVILLE   NY    14221‐6805
ALDERDICE UGMA NY
MRS BARBARA BICKEL ALDERDICE CUST GLENN ROLLIN   37 HIRSCHFIELD DR                                                                                WILLIAMSVILLE   NY    14221‐6805
ALDERDICE UGMA NY
MRS BARBARA BOYD ROQUE                           PO BOX 3442                                                                                      LAVALE          MD    21504‐3442
MRS BARBARA BROWN                                211‐01 75TH AVE                                                                                  BAYSIDE         NY    11364‐3351
MRS BARBARA BROWN KERN                           C/O KATHY RAY                           4559 CONOGA DRIVE                                        WOODLAND HLS    CA    91364‐5333
MRS BARBARA BUCHER CUST CYNTHIA LOU BUCHER       252 W 5TH ST                                                                                     BLOOMSBURG      PA    17815‐2107
UGMA PA
MRS BARBARA BUCKLE HINRICHS                      36 GRAND VIEW TERR                                                                               TENAFLY         NJ    07670‐1120
MRS BARBARA BURKE STIER                          216 STIER LANE                                                                                   GRAND MEADOW    MN    55936‐1452
MRS BARBARA C JIMENEZ                            3637 INVERRARY BLVD WEST                                                                         LAUDERHILL      FL    33319‐7117
MRS BARBARA C MC ELHATTAN                        PO BOX 515                                                                                       EMLENTON        PA    16373‐0515
MRS BARBARA C SCHMIDT                            93 MONTCALM PL                                                                                   LEWISBURG       PA    17837
MRS BARBARA C SULLIVAN                           265 FAYETTE ST                                                                                   QUINCY          MA    02170‐1617
MRS BARBARA CALDWELL ADKINS                      1781 CHANDLER RD                                                                                 LOUISVILLE      TN    37777‐4314
MRS BARBARA COHEN                                281 KANSAS RD                                                                                    RHINEBECK       NY    12572‐2824
MRS BARBARA D BRADBURY                           73 MAPLE ST                             PORT PERRY ON                          L9L 1C8 CANADA
MRS BARBARA D LANG                               445 E 86TH ST                           APT 12C                                                  NEW YORK        NY    10028‐6444
MRS BARBARA D MC CLUSKEY                         9 MONMOUTH ST                                                                                    PLAINSBORO      NJ    08536‐3060
MRS BARBARA D NAPIER CUST JOHN PAUL NAPIER       777 CITY PARK AVE                                                                                COLUMBUS        OH    43206
UGMA MI
MRS BARBARA DOUGHTY MIMS                         PO BOX 128                                                                                       ADAMS RUN       SC    29426‐0128
MRS BARBARA E BOLLMAN CUST SUZANNE E BOLLMAN     106 N LAUREL                                                                                     ELMWOOD         IL    61529‐9573
UGMA IL
MRS BARBARA E PITCHER                            25 PITMAN ROAD                                                                                   SWAMPSCOTT      MA    01907‐1726
MRS BARBARA ECKSTROM                             3637 W 107TH PL                                                                                  CHICAGO         IL    60655‐3207
MRS BARBARA F EGAN                               5357 SHERIER PLACE NW                                                                            WASHINGTON      DC    20016‐2507
MRS BARBARA G IOBST                              5279 HALE DR                                                                                     TROY            MI    48098‐3465
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Name                                            Address1                             Address2                 Address3                  Address4            City            State Zip

MRS BARBARA G WEATHERLY CUST STEPHEN S          C/O BARBARA G LEWIS                  3616 FOREST LAKE DR                                                    FLORENCE        SC    29501‐8271
WEATHERLY UNDER THE SC U‐G‐M‐A
MRS BARBARA GILBERT                             2 VALLEY VIEW RD                                                                                            EAST BRUNWICK   NJ    08816‐2968
MRS BARBARA GRIEDER                             SIERRA BERMEJA II                    PORTAL 1 BAJO A          E 29680 ESTEPONA MALAGA   SPAIN
MRS BARBARA GRZINCIC                            2633 ALAN DR                                                                                                WILLOUGHBY HILLS OH   44092‐1207

MRS BARBARA H SKINNER                           2350 KIMBERLY                                                                                               TOLEDO          OH    43615‐2739
MRS BARBARA HOLMAN WERTZ                        518 SOUTHGATE DR                                                                                            MT PLEASANT     TX    75455‐6032
MRS BARBARA J GOGAN                             42 SACHEMAS WAY                                                                                             CHATHAM         MA    02633‐1249
MRS BARBARA J HUCK                              491 CHURCH ST                                                                                               NEW BRITAIN     CT    06051‐2312
MRS BARBARA J LA BANCA                          5902 KENDREW DR                                                                                             PORT ORANGE     FL    32127‐5882
MRS BARBARA J SMITH                             52 LOURAE DR                                                                                                MASSAPEQUA PK   NY    11762
MRS BARBARA J YOUNGBERG                         77 VAN NESS TERRACE                                                                                         MAPLEWOOD       NJ    07040
MRS BARBARA JANE DETWILER                       7772 WILDFLOWER LANE                                                                                        HUNTINGDON      PA    16652
MRS BARBARA JANE MONFRE CUST JENNIFER LYNDA     W322S8915 MCCARTHY DR                                                                                       MUKWONAGO       WI    53149
MONFRE UGMA WI
MRS BARBARA JEAN ALTBAUM                        4005 THE HILL ROAD                                                                                          BONITA          CA    91902‐2341
MRS BARBARA JEAN TREVIS                         C/O DENISE BASCH                     19006 LAUREL DRIVE                                                     WALTON HILLS    OH    44146‐5375
MRS BARBARA K MOSHER OLSON                      PO BOX 2508                                                                                                 LA MESA         CA    91943‐2508
MRS BARBARA K SPEARS                            400 W 5TH ST                                                                                                PIERRE          SD    57501‐1411
MRS BARBARA K TOMSKY                            91 HARBOUR CLOSE                                                                                            NEW HAVEN       CT    06519‐2833
MRS BARBARA KESSLER                             378 HARRISON ST                                                                                             PARAMUS         NJ    07652‐4646
MRS BARBARA KING                                330 EAST 33RD STREET                                                                                        NEW YORK        NY    10016‐9466
MRS BARBARA KLOMPUS                             2712 GREENWICH STREET                                                                                       SAN FRANCISCO   CA    94123‐3222
MRS BARBARA L ASPLEN                            1311 VISTA ESCONDIDA CT SW                                                                                  LOS LUNAS       NM    87031‐7970
MRS BARBARA L BARE                              AVALON SQUARE                        222 PARK PLACE APT 403                                                 WAUKESHA        WI    53186‐4815
MRS BARBARA L BLAKE                             403 WEST CENTER #331                                                                                        MANCHESTER      CT    06040‐9205
MRS BARBARA L BRIZZOLARA CUST ANNE E BRIZZOLARA 2712 LANDSDOWNE DR E                                                                                        WILMINGTON      DE    19810‐3459
UGMA DE
MRS BARBARA L FLORIMONT                         7 STURGIS RD                                                                                                LAVALLETTE      NJ    08735‐2843
MRS BARBARA L JACOBS                            1225 THURMAN STREET                                                                                         SAGINAW         MI    48602‐2853
MRS BARBARA L JOHNSTON                          2041 CARDINAL PARK DRIVE                                                                                    ANDERSON        SC    29621‐1556
MRS BARBARA L PAINE                             1199 W BLOOMFIELD RD                                                                                        HONEOYE FALLS   NY    14472‐9207
MRS BARBARA L ROCHE                             36 SYLVAN TER                                                                                               NORTH ANDOVER   MA    01845‐4332
MRS BARBARA LEE NASH                            3242 E FISH CANYON RD                                                                                       DUARTE          CA    91010‐1627
MRS BARBARA LOBOVSKY                            25 LARK DR                                                                                                  WOODBURY        NY    11797‐3203
MRS BARBARA LOUISE WENGER                       718 COLLINGWOOD DR                                                                                          EAST LANSING    MI    48823‐3417
MRS BARBARA M BALSAM                            11 ROSEMARY DRIVE                                                                                           COVINGTON       LA    70433‐1112
MRS BARBARA M FISH                              5624 N QUAIL RUN RD                                                                                         PARADISE VLY    AZ    85253‐5915
MRS BARBARA M FRENCH CUST JAMES B FRENCH UGMA 103 STARDUST DRIVE                                                                                            NEWARK          DE    19702‐4763
PA
MRS BARBARA M HILL                              BOX 117                                                                                                     PEAPACK         NJ    07977‐0117
MRS BARBARA MOORE                               7806 ELLA LEE LN                                                                                            HOUSTON         TX    77063‐3116
MRS BARBARA MOORE                               11 LOCKWOOD ROAD                                                                                            SOUTH SALEM     NY    10590‐2331
MRS BARBARA MYERS                               31 ROSE AVENUE                                                                                              MARBLEHEAD      MA    01945‐1821
MRS BARBARA N BEATTY                            3930 MONTROSE AVENUE                                                                                        ERIE            PA    16505‐1623
MRS BARBARA NAREHOOD & DENNIS R NAREHOOD TEN 51 AMHERST DRIVE                                                                                               BAYVILLE        NJ    08721‐1501
ENT
MRS BARBARA O SAGER                             71 THORNWOOD LANE                                                                                           SEWELL          NJ    08080‐1377
MRS BARBARA P GAFFRON                           35 GREENGATE RD APT 16C                                                                                     FALMOUTH        MA    02540‐2252
MRS BARBARA P RHODES                            8407 CONOVER PL                                                                                             ALEXANDRIA      VA    22308‐2041
MRS BARBARA PRAGER                              2 RICHMOND ROAD                      APT 6‐O                                                                LIDO BEACH      NY    11561‐4854
MRS BARBARA PURDY EBERSOLE                      466 PARKDALE AVE                     FORT ERIE ON                                       L2A 5A8 CANADA
MRS BARBARA R BLISS                             3024 ROUTE 9                                                                                                COLD SPRING     NY    10516‐3856
MRS BARBARA R CRONMILLER                        675 CHARLES ST                       WINDSOR ON                                         N8X 3G6 CANADA
MRS BARBARA R HAYES                             221 MAPLE AVE                                                                                               RUTLAND         MA    01543‐1515
MRS BARBARA RICHMOND ROONEY                     2826 CENTRAL PARK BLVD                                                                                      DENVER          CO    80238‐2528
MRS BARBARA ROTH                                2000 LYNWOOD                         APT 3R                                                                 FORT LEE        NJ    07024‐3003
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Name                                              Address1                               Address2                      Address3   Address4          City              State Zip

MRS BARBARA RUTH BALDWIN CUST CHRISTINE MARIE     20 HEMLOCK AVE                                                                                    NEWTON            NJ    07860‐9713
BALDWIN UGMA NJ
MRS BARBARA RUTH BALDWIN CUST EDWARD ALLEN        20 HEMLOCK AVE                                                                                    NEWTON            NJ    07860‐9713
BALDWIN III UGMA NJ
MRS BARBARA RUTH BALDWIN CUST SANDRA JEAN         20 HEMLOCK AVE                                                                                    NEWTON            NJ    07860‐9713
BLADWIN UGMA NJ
MRS BARBARA S LEVINE                              2701 ROSENDALE ROAD                                                                               SCHENECTADY       NY    12309‐1300
MRS BARBARA S WILES                               500 5TH AVE                                                                                       HUNTINGTON        WV    25701‐1908
MRS BARBARA SCHNEIDER                             PO BOX 82                                                                                         PINE BUSH         NY    12566‐0082
MRS BARBARA SELMAN HULL                           1669 PEMBROKE PLACE N E                                                                           ATLANTA           GA    30309‐2650
MRS BARBARA STEVENS                               6007 N SHERIDAN ROAD                   APT 11‐D                                                   CHICAGO           IL    60660‐3004
MRS BARBARA T BRUNER                              BOX 617                                17 SCHOOL ST                                               GROTON            MA    01450‐1350
MRS BARBARA T KRICK                               2345 DELAWARE DRIVE                                                                               ANN ARBOR         MI    48103‐6170
MRS BARBARA TRAYER MICHAEL                        1462 JACARANDA CIRCLE N                                                                           CLEARWATER        FL    33755‐5026
MRS BARBARA VIGLIOTTI & THOMAS VIGLIOTTI JT TEN   18 TIMBER RIDGE DR                                                                                CORAM             NY    11727‐2441

MRS BARBARA VINCELLI                              6 ORCHARD DRIVE                                                                                   SCOTCH PLAINS     NJ    07076‐2710
MRS BARBARA W SAEGER                              335 MC CULLY ST                                                                                   PITTSBURGH        PA    15216‐1517
MRS BARBARA WEISE HOLLOWAY                        620 SAND HILL RD#301D                                                                             PALO ALTO         CA    94304‐2073
MRS BARBARA WITCHEL CUST EMMETT J WITCHEL         4519 AVENUE B                                                                                     AUSTIN            TX    78751‐3021
UGMA NY
MRS BARBARA YEOMAN ANTONELLI                      1103 MAIN SAIL CIRCLE                                                                             JUPITER           FL    33477‐1411
MRS BARBARA YOUNGSTROM                            36 ROOSEVELT ST                                                                                   CORNING           NY    14830‐2035
MRS BEA ABRAMSON                                  APT 2G                                 209‐10 41ST AVE                                            BAYSIDE           NY    11361‐1905
MRS BEA I CUNNINGHAM                              21 HARBOR HGTS BX 204                                                                             HARPSWELL         ME    04079‐4512
MRS BEATRICE A MAC DONALD CUST HEATHER            ATTN MRS HEATHER S HAYDEN              33 OAK HILL RD                                             CONCORD           NH    03301‐8603
STILLMAN UGMA MA
MRS BEATRICE ANNE HUBE                            110 WHISPERING WOODS DR                                                                           FLEMING ISLE      FL    32003
MRS BEATRICE COOKE                                711 E HOWELL ST                                                                                   TRENTON           NJ    08610‐5353
MRS BEATRICE EISMAN                               351 W 24TH ST                                                                                     NEW YORK          NY    10011‐1505
MRS BEATRICE F BLUMENFIELD                        3345 RALMARK LAND                                                                                 GLENVIEW          IL    60025‐1550
MRS BEATRICE FROIMOWITZ                           1122 2ND AVE                                                                                      ASBURY PARK       NJ    07712‐5754
MRS BEATRICE GLENN                                8355 GLENN ROSE WAY                    CONDO 121                                                  SARASOTA          FL    34238‐5592
MRS BEATRICE I BROWN & GEORGE L BROWN JT TEN      3956 WHISPERING WAY                                                                               GRAND RAPIDS      MI    49546

MRS BEATRICE L ANDERSON                         32 BROOKSBIE RD                                                                                     BEDFORD           MA    01730‐1836
MRS BEATRICE M BEHENSKY & BRUCE L STRNAD JT TEN 2356 HAINSWORTH                                                                                     NORTH RIVERSIDE   IL    60546‐1329

MRS BEATRICE M PETTY                              498 SALT SPRINGS ROAD                                                                             FAYETTEVILLE     NY     13066‐2200
MRS BEATRICE N HOUCK                              1113 ELMWOOD DR                                                                                   COLONIAL HEIGHTS VA     23834‐2906

MRS BEATRICE ROGERS CUST MICHEAL TOPUS ROGERS C/O MICHAEL T ROGERS                       48 YELLOWBRICK ROAD                                        WAYNE             NJ    07470‐5496
U/THE NY U‐G‐M‐A
MRS BEATRICE ROSE LAUFFER & JOHN D LAUFFER JT TEN 1754 STATION RD                                                                                   SHIPPENVILLE      PA    16254

MRS BEATRICE VINOKOUR CUST ANDREA SWAAB UGMA 7356 BALSAM CT                                                                                         WEST BLOOMFIELD MI      48322‐2821
MI
MRS BEATRICE WALLINGTON                      C/O BERTHA MASK                             212 COGGINS AVE                                            ALBEMARLE         NC    28001‐5118
MRS BECKY MORGAN & RONALD MORGAN JT TEN      50 LAMBETH DR                                                                                          BELLA VISTA       AR    72714‐3117
MRS BEDA LYONS CUST ANNE MARIE LYONS UGMA PA 5 EUROVILLE                                 BALLYCLOUGH COUNTY LIMERICK              IRELAND

MRS BEHINA A DUNN CUST THOMAS ALBERT DUNN IV      1306 COUNTRY CLUB TER                                                                             WARSAW            IN    46580‐5076
UGMA PA
MRS BELINDA C SCOTT                               BOX 700                                W COLUMBIA AVE                                             BATESBURG         SC    29006‐8784
MRS BELINDA J CYTLAK                              3733 ANDERSON PKWY                                                                                TOLEDO            OH    43613‐4907
MRS BEN J ROSENTHAL                               PO BOX 318                                                                                        WINNETKA          IL    60093‐0318
MRS BENDELLA JOHNSON                              925 BLUE SPRING CIR                                                                               ROUND ROCK        TX    78681‐4042
MRS BERGENE G WILCOX                              15810 HANOVER RD                                                                                  SPARTA            WI    54656‐3406
MRS BERKELEY B KOVACS                             2355 CARRICK ROAD                                                                                 GEORGETOWN        KY    40324‐8726
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Name                                               Address1                                Address2              Address3          Address4          City               State Zip

MRS BERNADETTE HOUVOURAS & WILLIAM P           15 RODGERS CIR                                                                                        NORTH READING      MA    01864‐1609
HOUVOURAS JT TEN
MRS BERNADINE JACOBS                           46 WALWORTH AVE                                                                                       SCARSDALE          NY    10583‐1430
MRS BERNADINE V LAWS                           7325 HAWKINSVILLE RD                                                                                  MACON              GA    31216‐6909
MRS BERNADINE W CUTTER                         PO BOX 394                                                                                            ALTON              NH    03809
MRS BERNICE AGNEW                              4555 E SAHARA AVE                           APT 122‐6                                                 LAS VEGAS          NV    89104‐6364
MRS BERNICE CASPERS                            BOX 121                                                                                               SWALEDALE          IA    50477‐0121
MRS BERNICE D JEFFERSON                        2701 WEBSTER STREET                         APT 4                                                     MOUNT RAINIER      MD    20712
MRS BERNICE FRANZ & ROBERT FRANZ JT TEN        4065 SHATTUCK                                                                                         SAGINAW            MI    48603‐3063
MRS BERNICE FRIEDMAN                           1957 N HONORAE AVE #C208                                                                              SARASOTA           FL    34235‐9199
MRS BERNICE IDEN CUST MITCHELL IDEN U/THE NEW  35 HEDGES BANKS DRIVE                                                                                 EAST HAMPTON       NY    11937‐3506
YORK U‐G‐M‐A
MRS BERNICE KAPERST                            16749 PORT ROYAL CIR                                                                                  JUPITER            FL    33477‐1381
MRS BERNICE KARPMAN CUST RANDY KARPMAN UGMA 65 PRINCETON ST                                                                                          CLOSTER            NJ    07624‐1520
NJ
MRS BERNICE M BLEYLE                           101 HIGHLAND AVE                                                                                      WINCHESTER         MA    01890‐1413
MRS BERNICE M BOTTOM                           BOX 426                                                                                               SPRINGFIELD        KY    40069‐0426
MRS BERNICE M COX                              C/O HAROLD DRYDEN                           1394 JUNEAU CT                                            TUCKERH            GA    30084‐8223
MRS BERNICE M ROSCH                            132 FAIRLAND DR                                                                                       FAIRFIELD          CT    06825‐3224
MRS BERNICE N SIMPKINS                         PO BOX 361                                                                                            SHELBYVILLE        IL    62565‐0361
MRS BERNICE R DANIEL & WILLIAM F ROCKEY JT TEN 707 20TH ST #2                                                                                        CORBIN             KY    40701‐2470

MRS BERNICE R HERTZ CUST ELLEN JANE HERTZ U/THE    3709 GRAND WAY                          APT 425                                                   MINNEAPOLIS        MN    55416‐2941
MICHIGAN U‐G‐M‐A
MRS BERNICE WECK                                   1919 CHESTNUT STREET APT 1516                                                                     PHILADELPHIA       PA    19103‐3425
MRS BERTHA GODFREY                                 2739‐1 W CELESTE                                                                                  FRESNO             CA    93711‐2223
MRS BERTHA H WILSON                                8053 BLACKMAR RD                                                                                  BIRCH RUN          MI    48415‐9006
MRS BERTHA LILLIAN ANDREAS                         1802 WHITE FEATHER                                                                                CROSBY             TX    77532‐3267
MRS BERTHA W COHEN                                 55 S HYDE AVE                           APT 103                                                   ISELIN             NJ    08830‐2189
MRS BERTHA YURK & THEODORE H YURK JT TEN           5277 CONESTOGA                                                                                    FLUSHING           MI    48433‐1203
MRS BERTIE B PEACHER                               202 NIXON PL                                                                                      CHULA VISTA        CA    91910‐1123
MRS BERYL SUZANNE TAYLOR                           25172‐C CAMINO DEL MAR                                                                            LAGUNA NIGUEL      CA    92677‐8010
MRS BESS S DICKSON                                 97 N LAKE ELLEN LN                                                                                CRAWFORDVILLE      FL    32327‐4029
MRS BESS S LEWINSON                                8 HIGH GATE TRL                         APT 5                                                     FAIRPORT           NY    14450‐2724
MRS BESSIE C CAMPBELL                              711 LICK POINT RD                                                                                 SEQUATCHIE         TN    37374‐6091
MRS BESSIE FISHER ZEID & HENRY KENNETH FISHER JT   13510 BAY LISS RD                                                                                 LA                 CA    90049
TEN
MRS BESSIE LENIS & JOHN LENIS JT TEN               10 LEE ST                                                                                         WORCESTER          MA    01602‐2121
MRS BESSIE MAYBERRY                                ATTN ELLA J MAYBERRY                    GUARDIAN              9532 PORKY ROAD                     ALBION             PA    16401‐9767
MRS BESSIE N TRELA                                 1854 E 225TH ST                                                                                   EUCLID             OH    44117‐2064
MRS BETH ANN DOUGLAS                               C/O BETH ANN GOTT                       8755 TURKEY HILL RD                                       LA PLATA           MD    20646‐2830
MRS BETH DOUGLASS VORNBROCK                        70 BRIERWOOD CIRCLE                                                                               COLLIERVILLE       TN    38017‐5375
MRS BETH ENID BECKER                               2709 HOLLYRIDGE DR                                                                                LOS ANGELES        CA    90068‐3038
MRS BETH FROST                                     7897 TRIESTE PL                                                                                   DELRAY BEACH       FL    33446‐4403
MRS BETHANY JO RADDATZ HALL                        16206 PLUMMER ST                                                                                  SEPULVEDA          CA    91343‐1938
MRS BETSEY ROBIN                                   23 WINGSTONE LANE                                                                                 DEVON              PA    19333‐1650
MRS BETSY B IUVONE                                 2674 RIVER OAK DR                                                                                 DECATUR            GA    30033‐2805
MRS BETSY F MULVEY                                 BOX 173                                                                                           DRY RIDGE          KY    41035‐0173
MRS BETSY K HABER                                  9355 VICTORIA ST                                                                                  MANASSAS           VA    20110‐3632
MRS BETSY M HEALY CUST GARY E HEALY UGMA MI        3483 BLOSSOM LANE                                                                                 BLOOMFIELD HILLS   MI    48302‐1306

MRS BETSY O PIEBENGA CUST ELISE CLAIRE PIEBENGA    4010 W 57TH ST                                                                                    MISSION            KS    66205‐2750
UGMA KAN
MRS BETTE A BAYORGEON                              7055 N CROSSWAY ROAD                    A                                                         FOX POINT          WI    53217‐3847
MRS BETTE R SOLIS                                  4081 BAYBERRY CT                                                                                  COLUMBUS           OH    43220‐4928
MRS BETTIE H NICHOLS                               7638 HARRIET AVE                                                                                  MINNEAPOLIS        MN    55423‐4111
MRS BETTY A ALLEN                                  4087 OAK POINTE DR                                                                                GULF BREEZE        FL    32563‐8510
MRS BETTY A MUMMERT                                1340 LITTLE YANKEE RUN                                                                            DAYTON             OH    45458‐5909
MRS BETTY A PIASCIK                                23399 LINNE                                                                                       MT CLEMENS         MI    48035‐4602
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MRS BETTY A PURVIANCE & MRS DIANE KAREN HERBERT 10428 KEOKUK AVE                                                                                CHATSWORTH         CA    91311‐2526
JT TEN
MRS BETTY A VOGEL                               6483 VISTA HILL                                                                                 DANSVILLE          NY    14437
MRS BETTY A WELGE                               908 PARK BLVD                                                                                   CHESTER            IL    62233‐1812
MRS BETTY ADAMS                                 8700 RAHBIT HASH RD                                                                             ELIZABETH          IN    47117‐8427
MRS BETTY ANN DAPPEN                            8201 SANDALWOOD                                                                                 LINCOLN            NE    68510‐2547
MRS BETTY ANN SCARFE                            810 N PEMBERTON                                                                                 BLOOMFIELD HILLS   MI    48302‐1441

MRS BETTY B HINKLE                               113 GATEWAYE DR                                                                                GREENVILLE         SC    29615‐3421
MRS BETTY BORKOWICZ CUST JUDY L BORKOWICZ        ATTN JUDY BOYLE                       1737 APPLE VALLEY WAY                                    BOLING BROOK       IL    60440‐6512
U/THE ILLINOIS U‐G‐M‐A
MRS BETTY C EMMANUEL                             9 EAST 74TH ST                                                                                 NEW YORK           NY    10021‐2623
MRS BETTY C HUNT CUST BRUCE C HUNT UGMA CA       8123 PINEFIELD DR                                                                              ANTELOPE           CA    95843‐4512

MRS BETTY C HUNT CUST ROBERT SCOTT HUNT UGMA     117 SHADYLANE COURT                                                                            ROSEVILLE          CA    95747‐8023
OH
MRS BETTY CAROL COOMBS                           16 ROUTE 77                                                                                    ELMER              NJ    08318‐2670
MRS BETTY CULP CRIM                              449 CHESTER DRIVE                                                                              NEW KENSINGTON     PA    15068‐3301

MRS BETTY CURRAN                                 28 ANN ST                                                                                      JEWETT CITY        CT    06351‐2504
MRS BETTY D BORCHERS                             PO BOX 278                                                                                     TIPP CITY          OH    45371‐0278
MRS BETTY D GOLDMAN                              507 W JACKSON AVE                                                                              BRIDGEPORT         CT    06604‐1609
MRS BETTY D HUTCHINS                             5120 QUEENSWAY ROAD                                                                            WINSTON‐SALEM      NC    27127‐7344
MRS BETTY FLANNIGAN                              20560 SUMMERVILLE RD                                                                           EXCELSIOR          MN    55331‐9215
MRS BETTY FRANCES BRITTON CUST LISA KATE         APT 1108                              333 MEYER W                                              KANSAS CITY        MO    64113‐1746
GOLDMAN UGMA KAN
MRS BETTY G HAMMERSTROM                          2902 SHAMROCK S                                                                                TALLAHASSEE        FL    32308‐3210
MRS BETTY HILLMAN                                51 SONAT RD                                                                                    CLIFTON PARK       NY    12065‐4011
MRS BETTY HOROWITZ                               3333 HAILEY DRIVE                                                                              MARLTON            NJ    08053‐4346
MRS BETTY I MURRAY                               630 LAWNWOOD WAY                                                                               OXNARD             CA    93030‐3532
MRS BETTY J BALDWIN                              4801 TEMPE CT                                                                                  INDIANAPOLIS       IN    46241‐6234
MRS BETTY J BRADLEY                              177 W MAIN ST                         APT G3                                                   UNIONTOWN          PA    15401
MRS BETTY J BROOKS                               2544 DARDY DR                                                                                  BROOKLYN           MI    49230‐9319
MRS BETTY J DONAHEY                              331 LINCOLN AVE                                                                                LEECHBURG          PA    15656‐1117
MRS BETTY J ERICKSON CUST ANDREA ERICKSON UGMA   PO BOX 1260                                                                                    LANDER             WY    82520
NY
MRS BETTY J LIVINGSTONE                          1850 BRENTWOOD DR                                                                              TROY               MI    48098‐2622
MRS BETTY J MC CORT                              9660 N ISLAND RD                                                                               GRAFTON            OH    44044‐9489
MRS BETTY J MLINEK CUST BRETT J MLINEK UGMA MI   4875 FAIRWAYS DRIVE                                                                            BRIGHTON           MI    48116‐9189

MRS BETTY JACKSON BYRD                        BOX 313                                                                                           AMELIA             VA    23002‐0313
MRS BETTY JANE COUGHLIN                       9958 1/2 DURANT DRIVE                                                                             BEVERLY HILLS      CA    90212‐1603
MRS BETTY JANE KLINGENSMITH                   2521 WINDSOR ROAD                                                                                 ORWELL             OH    44076‐8349
MRS BETTY JANE SEIBEL                         1771 MAUMEE DR                                                                                    DEFIANCE           OH    43512‐2548
MRS BETTY JANE WALKER                         C/O LUTHERAN SOCIAL SERVICES             612 N RANDALL AVE                                        JANESVILLE         WI    53545
MRS BETTY JEAN CUMMINGS                       3800 BAYOU CREEK ROAD                                                                             EVANSVILLE         IN    47712‐9375
MRS BETTY JEAN MUSBURGER CUST BRIAN MUSBURGER 3033 SIMPSON                                                                                      EVANSTON           IL    60201‐1914
UGMA IL
MRS BETTY JO KRIENKE                          10021 SHADOWCREST                                                                                 WACO               TX    76712‐3122
MRS BETTY JONES                               5026 EAGLE CT                                                                                     DAVENPORT          IA    52807‐3092
MRS BETTY KING UNGER                          2354 SEBRING PL                                                                                   PITTSBURGH         PA    15235‐2771
MRS BETTY L MAINS                             101 E ELMWOOD AVE                                                                                 DAYTON             OH    45405‐3534
MRS BETTY L MILLER                            889 MAIN ST                                                                                       DENNIS             MA    02638‐1419
MRS BETTY LEE HARDIMON                        10805 W TIMBERWAGON CIRCLE                                                                        THE WOODLANDS      TX    77380‐4030
MRS BETTY LLOYD ROSS                          2700 DUVALL RD                                                                                    DAISY              MD    21797‐8106
MRS BETTY LOU BRAY                            52 BRITTANY AVE                                                                                   TRUMBULL           CT    06611‐1105
MRS BETTY LOU KAHL                            17008 NEFF STREET S W                                                                             FROSTBURG          MD    21532‐3303
MRS BETTY LOU MIGLIORE                        22 HEATHROW CT                                                                                    WILLIAMSVILLE      NY    14221‐2866
MRS BETTY LOU RUSSELL                         136 SE CITADEL DR                                                                                 LEES SUMMIT        MO    64063‐3633
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MRS BETTY M BECHILL                               137 SENECA TRAIL                                                                                 PRUDENVILLE       MI    48651‐9736
MRS BETTY M DIVER                                 7 WEST 7TH ST STE 1920                                                                           CINCINNATI        OH    45202‐2428
MRS BETTY M FREELAND                              8461 N 9550 W                                                                                    LEHI              UT    84043‐3170
MRS BETTY M ROBERTS & BONNIE LYNN BURKS JT TEN    30 CRANE DRIVE                                                                                   SAFETY HARBOR     FL    34695‐5308

MRS BETTY M SPEHAR                                1417 COMMERCE RD                                                                                 COMMERCE          MI    48382‐1242
                                                                                                                                                   TOWNSHIP
MRS BETTY MAE BERGLUND & PAUL W BERGLUND JT       1929 KINGSTON AVENUE                                                                             MAPLEWOOD         MN    55109‐4701
TEN
MRS BETTY N JANETTE                               11 RAINTREE ST S                                                                                 NATCHEZ           MS    39120‐5061
MRS BETTY NEEDS                                   611 POLARIS DR                                                                                   UPPER SANDSKY     OH    43351
MRS BETTY O KRAMER                                9709 E MOUNTAIN VIEW RD                 UNIT 1617                                                SCOTTSDALE        AZ    85258‐5234
MRS BETTY O NEWLANDER                             3113 COLORADO N E                                                                                ALBUQUERQUE       NM    87110‐2655
MRS BETTY PALMER DECKERT                          300 W FLORIDA ST                                                                                 DEMING            NM    88030‐5016
MRS BETTY PEDERSEN BELL                           915 SUNSET DR                                                                                    SPEARFISH         SD    57783‐1632
MRS BETTY R MC CARTHY CUST TARA R MC CARTHY       3 WINGED FOOT DRIVE                                                                              LARCHMONT         NY    10538‐1101
UGMA NY
MRS BETTY R MILLER                                5104 BOXCROFT PLACE                                                                              NASHVILLE         TN    37205‐3702
MRS BETTY REED                                    7838 DIANA LN                                                                                    DUBLIN            CA    94568‐1615
MRS BETTY RENDER CUST KERRY ANNE RENDER UGMA      3731 WOODMAN                                                                                     TROY              MI    48084‐1113
MI
MRS BETTY ROSEN                                   6 S LEXINGTON DR                                                                                 JANESVILLE        WI    53545‐2139
MRS BETTY SHAW                                    2260 FIESTA DR                                                                                   TROY              OH    45373‐4408
MRS BETTY SIDEBOTTOM                              175 CAVE RUN DR APT 7                                                                            ERLANGER          KY    41018‐4018
MRS BETTY TOKARCIK                                168 SHULTZ ROAD                                                                                  MT PLEASANT       PA    15666‐3515
MRS BETTY V GERISCH & ROBERT A GERISCH JT TEN     39 MOUNTAIN RD                                                                                   BENNINGTON        VT    05201‐9080

MRS BETTY V MC COOL CUST THOMAS JOHN MC COOL      7708 WALDEN BLVD                                                                                 WAUSAU            WI    54401‐9006
UGMA IA
MRS BETTY WORDEN                                  1720 E MEMORIAL DR                      APT 200                                                  JANESVILLE        WI    53545
MRS BETTYE B TAGGART                              2053 TWIN FALLS ROAD                                                                             DECATUR           GA    30032‐6053
MRS BETTYE J COLEMAN & ERNEST D COLEMAN JT TEN    1631 LOOKOUT DR                                                                                  MEMPHIS           TN    38127‐8023

MRS BEULAH E KASDORF                              334 MARSTON AVE                                                                                  MADISON           WI    53703‐1709
MRS BEVERLY A HOVMAND CUST LARS M HOVMAND         3711 SPRING MEADOW DR                                                                            ELLICOTT CITY     MD    21042‐5137
UGMA MA
MRS BEVERLY B GRAVATT                             112 GILL ST                                                                                      BOWLING GREEN     VA    22427‐2156
MRS BEVERLY BAKER CUST KEITH BAKER U/THE ILLINOIS 1540 WINDY HILL DR                                                                               NORTHBROOK        IL    60062‐3834
U‐G‐M‐A
MRS BEVERLY BELL CUST KIMBERLY JEAN BELL UGMA NY 9564 TRITON COURT                                                                                 BOCA RATON        FL    33434‐5622

MRS BEVERLY BELL CUST RICHARD STANLEY BELL JR     1332 RTE 6 RR 12                                                                                 CARMEL            NY    10512‐1600
UGMA NY
MRS BEVERLY BRAUN ANDERSON                        425 KINGSTON RD                                                                                  SATELLITE BEACH   FL    32937‐3416
MRS BEVERLY COHEN                                 PO BOX 128                                                                                       CONVENT STA       NJ    07961‐0128
MRS BEVERLY H KUHN                                45040 18TH ST W                                                                                  LANCASTER         CA    93534‐2018
MRS BEVERLY J ANDERSON                            7051 SHEFFIELD RD                                                                                MESA              WA    99343‐9723
MRS BEVERLY J BELL CUST JOHN KEITH BELL UGMA NY   9561 AEGEAN DR                                                                                   BOCA RATON        FL    33496‐2111

MRS BEVERLY J BELL CUST MICHAEL SCOTT BELL UGMA   38 BARGER STREET                                                                                 PUTNAM VALLEY     NY    10579‐3405
NY
MRS BEVERLY J GLOVER CUST JOHN GLOVER UGMA CO     3787 AVONDALE BLVD                                                                               AVONDALE          CO    81022‐9719

MRS BEVERLY JEAN NELSON                           12612 WEST OAK DR                                                                                MOUNT AIRY        MD    21771‐4943
MRS BEVERLY K KAHN                                99 OLD COLONY ROAD                                                                               WELLESLEY HILLS   MA    02481‐2809
MRS BEVERLY L GIAMMARA                            2205 WEBER AVE                                                                                   LOUISVILLE        KY    40205‐2112
MRS BEVERLY LYLE                                  PO BOX 3551                                                                                      AMARILLO          TX    79116‐3551
MRS BEVERLY M FISHER                              140 N 8TH AVE                                                                                    DES PLAINES       IL    60016‐2101
MRS BEVERLY NAMECHE                               11 SCHOOL ST                                                                                     ESSEX             MA    01929‐1406
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MRS BEVERLY RUTH BEELAND CARLTON                   3000 CARDINAL DRIVE                                                                              AUGUSTA           GA    30909‐3040
MRS BEVERLY S BLEWETT                              2576 N MAIN ST                                                                                   NEWFANE           NY    14108‐1019
MRS BEVERLY SIMON                                  31 GUNPOWDER DRIVE                                                                               EAST BRUNSWICK    NJ    08816‐2627
MRS BEVERLY T LACEY                                201 ADMIRALS WALK                                                                                BUFFALO           NY    14202
MRS BILLIE BEAUTON GREENBURY                       5313 TORREY RD                                                                                   FLINT             MI    48507‐5953
MRS BILLIE J VOGL & MISS LINDA J VOGL JT TEN       1752 S 64TH ST                                                                                   MILWAUKEE         WI    53214‐4905
MRS BILLIE P CUNNINGHAM                            2559 SHEPHERWOOD LN                                                                              GERMANTOWN        TN    38138‐6145
MRS BIRGITTA BERLING BERGSTROM                     TURBINGRAND 3‐2                         S‐175 75 JARFALLA                      SWEDEN
MRS BLAIKIE ROWSELL                                7468 BAKER SCHOOL RD                    ENNISKILLEN ON                         L0B 1J0 CANADA
MRS BLANCA GOODE                                   14 STUYVESANT AVE                                                                                LARCHMONT         NY    10538‐2728
MRS BLANCHE BERENZWEIG                             565 E GLENCOE PL                                                                                 BAYSIDE           WI    53217‐1836
MRS BLANCHE DAVIDSON CUST RICHARD DAVIDSON         ATTN GEORGE J DAVIDSON                  3300 MONET DR                                            PALM BEACH        FL    33410‐1481
U/THE NEW YORK U‐G‐M‐A                                                                                                                              GARDENS
MRS BLANCHE E HEWITT                               PO BOX 624                                                                                       SHEFFIELD         IL    61361‐0624
MRS BLANCHE E HICKS                                2508 GLEN LEA AVE                                                                                RICHMOND          VA    23223‐3822
MRS BLANCHE F DEMPSEY                              113 OLD CABIN LANE                                                                               KERNERSVILLE      NC    27284‐3419
MRS BLANCHE M SHAW                                 4080 S IVY LN                                                                                    ENGLEWOOD         CO    80111‐1019
MRS BLANCHE SINGER                                 2770 W 5TH ST APT 2B                                                                             BROOKLYN          NY    11224‐4202
MRS BOBBIE ANCHETA                                 2429 AUTUMN AVE                                                                                  MEMPHIS           TN    38112‐2545
MRS BOBBIE JEAN HANNA                              4941 NW 35TH ST                                                                                  OKLAHOMA CITY     OK    73122‐1113
MRS BOBBIE JEAN SANSOM                             405 SISK AVE                                                                                     OXFORD            MS    38655‐3409
MRS BOBBIE S RAINEY                                111 HARDAGE DR SW                                                                                MARIETTA          GA    30064‐1909
MRS BONITA FRIEDMAN CUST SLOANE A FRIEDMAN         11245 NW 71ST CT                                                                                 PARKLAND          FL    33076‐3851
UGMA NY
MRS BONNIE ANN KOEPKE                              #9 MARINA RD                                                                                     LAKE WYLIE        SC    29710‐9219
MRS BONNIE ANNE KUNZ MERCANTE                      9206 APACHE TRAIL                                                                                BRENTWOOD         TN    37027‐7420
MRS BONNIE B SMITH CUST JENNIFER H SMITH UGMA      26924 GREENBROOKE DRIVE                                                                          OLMSTED           OH    44138‐1105
OH                                                                                                                                                  TOWNSHIP
MRS BONNIE HOLZER                                  BOX 32                                                                                           LATHROP           CA    95330‐0032
MRS BONNIE J HENDRICKS                             3858 DREXEL AVE                                                                                  GURNEE            IL    60031‐2857
MRS BONNIE JEAN BAILEY                             52 HEATHER GLEN COURT                                                                            FAIRFIELD GLADE   TN    38558‐6437
MRS BONNIE JEAN WEISKITTEL                         806 HERITAGE RD                                                                                  CINNAMINSON       NJ    08077‐3704
MRS BONNIE L MC LAREN                              844A FM230                                                                                       TRINITY           TX    75862‐3712
MRS BONNIE LE MAY                                  5003 BULYEA ROAD N W                    CALGARY AB                             T2L 2H7 CANADA
MRS BONNIE LYNN COST CUST DEAN CAMPBELL COST       32 OAKWILDE DR                                                                                   ASHEVILLE         NC    28803‐3369
UGMA NC
MRS BONNIE LYNN COST CUST TODD DOUGLAS COST        19 POPLAR ACRES DR                                                                               CANDLER           NC    28715‐7406
UGMA NC
MRS BONNIE MC BRIDE HOOPER                         304 E YOUNG ST                                                                                   MORGANFIELD       KY    42437‐1760
MRS BONNIE S JUDGE CUST VALERIE JUDGE UGMA OH      2713 REDFIELD PLACE                                                                              CINCINNATI        OH    45230‐1113

MRS BONNIE SUE FREIREICH CUST GARRETT MATTHEW 6010 HEARDS DRIVE                                                                                     ATLANTA           GA    30328‐4715
FREIREICH
MRS BONNIE W WILDER                                 3446 WINDING OAKS DR                                                                            LONGBOAT KEY      FL    34228
MRS BONNILEE F BROWN                                125 DEWITT LOOP                                                                                 DAPHNE            AL    36526‐7743
MRS BRENDA K BIZZELL                                524 ST ANDREWS CIRCLE                                                                           STATESBORO        GA    30458‐3844
MRS BRENNA NIPPER BRAND                             17 HIGHGATE W                                                                                   AUGUSTA           GA    30909‐3108
MRS BRIDGET M REEG & WILLIS H REEG JT TEN           311 COACHMAN RD                                                                                 ALLISON PARK      PA    15101‐3822
MRS BRIDIE HARLEY                                   PO BOX 282                                                                                      EAST DURHAM       NY    12423‐0282
MRS BRIGIDA MITCHEL CUST CATHRYN MITCHEL UGMA 9018 NORWICK RD                                                                                       RICHMOND          VA    23229‐7759
MD
MRS BRIGIDA MITCHEL CUST JOHN JOSEPH MITCHEL        62112 CHAROLAIS DR                                                                              MONTROSE          CO    81401‐9626
UGMA MD
MRS BROOKE M FEISTER                                PO BOX 1013                                                                                     RED LODGE         MT    59068‐1013
MRS BULA GRIM                                       2532 GOLDEN AVE                                                                                 TOPEKA            KS    66604
MRS C ANN BIECHELE                                  4159 DAWSON                                                                                     WARREN            MI    48092‐4318
MRS C NORENE PELLITERE & CHARLES J PELLITERE JT TEN 42 BONITA DR                                                                                    ROCHESTER         NY    14616‐1014

MRS CALLIOPE KUTRUBIS                              1920 N NEWCASTLE                                                                                 CHICAGO           IL    60707‐3330
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MRS CAMILLA COPPINGER                             16035 N W ELIZABETH COURT                                                                       BEAVERTON        OR    97006‐6332
MRS CAMILLE G KOWALSKI                            2912 FRAGANCIA                                                                                  HACIENDA HEIGHTS CA    91745‐6043

MRS CAMILLE MEYERS                              1334 LEDERS LANE                                                                                  CINCINNATI       OH    45238‐3848
MRS CAMILLE SANDELLO CUST JOSEPH SANDELLO UGMA 7 HOWARD ST                                                                                        MADISON          NJ    07940‐1210
NJ
MRS CANDACE C KROMER                            218 MADELINE DR                                                                                   PASADENA         CA    91105‐3312
MRS CAREN E NEDERLANDER CUST ERIC A             ATTN NEDERLANDER CO                      1450 BROADWAY FL 20TH                                    NEW YORK         NY    10018‐2201
NEDERLANDER U/THE MICH U‐G‐M‐A
MRS CARLA BRUCKER PEABODY                       24 W PARISH CT                                                                                    HAVERHILL        MA    01832‐1167
MRS CARLA SCHWARZE CUST ELIZABETH SCHWARZE      ATTN ELIZABETH STOREY                    6682 TRICKLEWOOD CT SE                                   GRAND RAPIDS     MI    49546‐7252
UGMA MI
MRS CARLIAKENIEL BRIGGS & DARNELL BRIGGS JT TEN 2928 HILLSIDE LANE                                                                                DARIEN           IL    60561‐1681

MRS CARLY R HELLEN                                20 FITTS FARM DR                                                                                DURHAM           NH    03824‐2122
MRS CARLYN KINNISON DJIE                          3115 WARWOOD RD                                                                                 LAKEWOOD         CA    90712‐3745
MRS CARLYN LOVGREN WHITEHAND                      1410 SHERIDAN ROAD                     APT 3C                                                   WILMETTE         IL    60091‐1840
MRS CARLYNE ANN RONAI CUST PETER J RONAI UGMA     330 MERWIN AVE APT G7                                                                           MILFORD          CT    06460‐7120
CT
MRS CARMEL PLAIA                                  645 DRAWHORN                                                                                    PORT NECHES      TX    77651‐4405
MRS CARMEN DAILEY RICHBURG                        R R 1 BX 98                                                                                     GRAPELAND        TX    75844‐9705
MRS CARMENA J PIZZARELLO                          85 HILDRETH STREET                                                                              SOUTHAMPTON      NY    11968‐3440
MRS CAROL A HOLDEN                                4104 WESTMOUNT DR                                                                               GREENSBORO       NC    27410‐2173
MRS CAROL A SCHAFFER                              202 MOYER ROAD                                                                                  CHALFONT         PA    18914‐3131
MRS CAROL A TISO CUST ALLISON BETH TISO UGMA CT   436 SKOKORAT RD                                                                                 BEACON FALLS     CT    06403‐1456

MRS CAROL A WILKINS                             3810 TECOMA DR                                                                                    CRYSTAL LAKE     IL    60012‐1888
MRS CAROL A YIP                                 43 MONTICELLO AVE                                                                                 PIEDMONT         CA    94611‐3923
MRS CAROL ANN BENNETT                           1720 REYNOLDS ST                                                                                  CROFTON          MD    21114‐2635
MRS CAROL ANN GERIN CUST MARY CATHERINE         36 MOUNT DRIVE                                                                                    WEST LONG        NJ    07764‐1772
PRESLEY UGMA NJ                                                                                                                                   BRANCH
MRS CAROL ANN SMITH                             5715 WORTHAM LN                                                                                   DALLAS           TX    75252‐4982
MRS CAROL ANNE MC READY                         4 PRIMROSE ST                                                                                     CHEVY CHASE      MD    20815‐4229
MRS CAROL B GAROFALO                            1832 ARROWHEAD TRAIL WEST                                                                         ALLEGAN          MI    49010‐9462
MRS CAROL B LUDWIN                              149 HAMPDEN RD                                                                                    STAFFORD         CT    06076‐3106
MRS CAROL BAIN                                  1607 ROSS AVE                                                                                     CINCINNATI       OH    45205‐1342
MRS CAROL C GRIGGS                              50 SWANS RD                                                                                       RAYMOND          ME    04071‐6139
MRS CAROL CHAMBERLAIN                           12680 WILTONSHIRE LN                                                                              CLIFTON          VA    20124‐1835
MRS CAROL CONWAY                                991 MILLWOOD DR                                                                                   DINUBA           CA    93618‐3113
MRS CAROL CRAWLEY OBRIEN                        1220 WALNUT ST                                                                                    HIGHLAND         IL    62249‐1832
MRS CAROL D ELDER                               4848 PIN OAK PARK DRIVE #704P                                                                     HOUSTON          TX    77081‐2281
MRS CAROL D HAMILTON                            20634 91 AVE                             LANGLEY BC                             V1M 2E4 CANADA
MRS CAROL DEMAREST                              22 ELM STREET                                                                                     BALDWINVILLE     MA    01436‐1007
MRS CAROL E OLSON                               2104 S 36TH ST                                                                                    MILWAUKEE        WI    53215‐2309
MRS CAROL FEDER                                 17 CARY ROAD                                                                                      GREAT NECK       NY    11021‐1517
MRS CAROL FELDMAN CUST EDWARD FELDMAN UGMA 1500 BAY BLVD                                                                                          ATLANTIC BEACH   NY    11509‐1606
NY
MRS CAROL G KUSHMIDER CUST LORI BETH KUSHMIDER 9333 S LEROY RD BOX 708                                                                            WESTFIELD CENTER OH    44251‐0708
UGMA OH
MRS CAROL G LAMB                                157 BRIDGE ST                                                                                     MANCHESTER       MA    01944‐1417
MRS CAROL GUZZI RIZZO                           10 PATTERSON COURT                                                                                HOLMDEL          NJ    07733‐1054
MRS CAROL HALL DEMPSEY                          5841 SE 164TH AVE                                                                                 OCKLAWAHA        FL    32179
MRS CAROL HARTLEY                               2662 ROSEWOOD                                                                                     MEDFORD          OR    97504‐5046
MRS CAROL J ALLEN CUST SHERI LYNNE ALLEN UGMA   3414 ASSOCIATED WAY                      APT 209                                                  OWINGS MILLS     MD    21117‐6036
MD
MRS CAROL J SCHAFFER                            1236 PINECREST CIRCLE                                                                             SILVER SPRING    MD    20910‐1626
MRS CAROL J SMITH                               10295 S HEATHERHILL TER                                                                           INVERNESS        FL    34452‐9275
MRS CAROL JANE ANTOFF & RICHARD C ANTOFF JT TEN 84 SCOTT RUN CR                                                                                   BEAR             DE    19701‐1005
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MRS CAROL JOAN ALEXANDER                     203 TIMBERWILDE                                                                                  HOUSTON          TX    77024‐6923
MRS CAROL JOAN HAMBLETON                     2885 CRICKET LANE                                                                                WICKLIFFE        OH    44092‐1411
MRS CAROL JOHNSON                            2630 FLAMINGO LANE                                                                               FT LAUDERDALE    FL    33312‐4760
MRS CAROL KELLY                              4730 EMERSON LOOP ROAD                                                                           THE DALLES       OR    97058‐9633
MRS CAROL L COON                             11354 ALLENDALE DR                                                                               ARVADA           CO    80004‐4464
MRS CAROL L CORNWELL                         54 EAST ROAD                                                                                     CHESTERTON       IN    46304‐1035
MRS CAROL L MC MAHAN CUST MICHAEL D MC MAHAN 100 PEMBURY WAY                                                                                  FOLSOM           CA    95630‐8675
UGMA CA
MRS CAROL L RAY                              8 QUARRY DR                                                                                      WAPPINGERS FALLS NY    12590‐3016

MRS CAROL L WILKINS                           24 OLD NORTH ROAD                                                                               HUDSON           MA    01749‐2860
MRS CAROL LEARSY CUST THOMAS CHARLTON UGMA CT 7322 PIWECASTLE RD                                                                              FALLS CHURCH     VA    22043

MRS CAROL LEE COSS                              ATTN C L BOUDROT                     31220 LA BAYA DR STE 110                                 WESTLAKE VILLAGE CA    91362‐6366

MRS CAROL LEE DAMILANO                          521 E STATE RD 32                                                                             PERRYSVILLE      IN    47974‐8049
MRS CAROL LEE POHLIDAL                          C/O UNGERLEIDER                      3186 66TH TERR S           APT‐B                         ST PETERSBURG    FL    33715
MRS CAROL LEE SEVERS CUST JOHN B SEVERS UGMA    1303 GUNNISON AVE                                                                             GRAND JUNCTION   CO    81501‐4449

MRS CAROL LEVINE                               88 RIDGE PARK AVE                                                                              STAMFORD         CT    06905‐2612
MRS CAROL LEVINE CUST ALAN MARK LEVINE UGMA MA 4 QUESTRIAN COURT                                                                              UPPER BROOKVILLE NY    11545

MRS CAROL LEVINE CUST ALAN MARK LEVINE UGMA NY 4 EQUESTRIAN COURT                                                                             UPPER BROOKVILLE NY    11545‐2638

MRS CAROL LINDSAY KRONEN CUST WILLIAM L KRONEN 115 PINE TREE LANE                                                                             SARVER           PA    16055‐8705
JR UGMA PA
MRS CAROL M BRUNO & CHARLES F BRUNO JT TEN     11 WESTWOOD AVE                                                                                EAST BRUNSWICK   NJ    08816‐1311

MRS CAROL M DONALDSON                          730 CHESTNUT ST                                                                                BETHLEHEM        PA    18017‐5167
MRS CAROL M KOWALENKO CUST THOMAS A            20 ACKEN DR                                                                                    CLARK            NJ    07066‐2944
KOWALENKO UGMA NJ
MRS CAROL MANN                                 113 TUCKAHOE TRACE                                                                             YORKTOWN         VA    23693‐2604
MRS CAROL MARIE GLYNN                          23117 KINGSBROOKE LN                                                                           WESTLAKE         OH    44145‐3653
MRS CAROL MAST BEACH                           7207 DENTON ROAD                                                                               BETHESDA         MD    20814‐2335
MRS CAROL MERLIN                               21145 CARDINAL POND TERRACE           APT 427                                                  ASHBURN          VA    20147
MRS CAROL NISSIM CUST RHONDA SHERYL NISSIM     656 SCORPIO LN                                                                                 FOSTER CITY      CA    94404‐2762
UGMA CA
MRS CAROL P BUCHERT                            2984 SLOAT ROAD                                                                                PEBBLE BEACH     CA    93953‐2531
MRS CAROL R ORTH                               736 MEMORIAL DR                                                                                SEBRING          FL    33870‐1495
MRS CAROL ROBBINS CUST MELISSA ROBBINS UGMA CT 1 INDIAN NECK AVE                     APT 2                                                    BRANFORD         CT    06405‐4666

MRS CAROL RUSSELL                               451 PINE NEEDLES COURT                                                                        MELBOURNE        FL    32940‐7614
MRS CAROL RUTH GRAY                             PO BOX 175                                                                                    HUTSONVILLE      IL    62433‐0175
MRS CAROL S FUQUA                               39 LONGVIEW                                                                                   MADISON          NJ    07940‐1749
MRS CAROL S TUTUNDGY                            7 EGAN PL                                                                                     ENGLEWOOD CLIFFS NJ    07632‐2012

MRS CAROL SCHWARZER                          118 PEARL HILL RD                                                                                FITCHBURG        MA    01420‐2004
MRS CAROL SNYDER CUST DAVID W SNYDER UGMA MD 10118 DARLINGTON RD                                                                              COLUMBIA         MD    21044‐1413

MRS CAROL SNYDER CUST MISS AMY B SNYDER UGMA    10118 DARLINGTON RD                                                                           COLUMBIA         MD    21044‐1413
MA
MRS CAROL SNYDER CUST MISS AMY BETH SNYDER      10118 DARLINGTON RD                                                                           COLUMBIA         MD    21044‐1413
UGMA MD
MRS CAROL STARR CUST ADAM MICHAEL STARR UGMA    19 WOODMAN PLACE                                                                              ABERDEEN         NJ    07747‐1825
PA
MRS CAROL STAYER ELLINOR                        8166 SE 12TH CT                                                                               OCALA            FL    34480‐5716
MRS CAROL T LANIER                              5935 CHRISTMAS LAKE RD                                                                        EXCELSIOR        MN    55331‐3306
MRS CAROL VAN CLEVE                             828 DIXON DRIVE                                                                               STEVENSVILLE     MD    21666‐2310
MRS CAROL WENTZ FOULKE                          9 CHESTNUT DRIVE                                                                              WOODSTOWN        NJ    08098‐1053
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Name                                              Address1                               Address2                Address3       Address4          City               State Zip

MRS CAROLANN LEFFLER CUST LISA R LEFFLER U/THE ATTN LISA LEFFLER GABOR                   18 EAST 12 STREET                                        NEW YORK           NY    10003‐4458
NEW YORK U‐G‐M‐A
MRS CAROLE A BELL                              12920‐95 A ST                             EDMONTON AB                            T5E 4A1 CANADA
MRS CAROLE A CROCKETT                          67 PARKSIDE DRIVE                                                                                  SUFFERN            NY    10901‐7827
MRS CAROLE C COOPER                            7 ROCKLEDGE RD                                                                                     LAGUNA BEACH       CA    92651‐3944
MRS CAROLE JONES MULLIS                        2412 BLINK BONNIE RD                                                                               RIDGEWAY           SC    29130‐9590
MRS CAROLE L KIMBALL                           BOX 226                                                                                            OAKHAM             MA    01068‐0226
MRS CAROLE L WAY                               413 PALMETTO DR                                                                                    GEORGETOWN         TX    78633‐5285
MRS CAROLE LEVINE CUST DEBORAH KAY LEVINE UGMA 4 EQUESTRIAN COURT                                                                                 UPPER BROOKVILLE   NY    11545‐2638
NY
MRS CAROLE M STONE CUST MARK STONE UGMA IL     1133 MANOR DR                                                                                      WILMETTE           IL    60091‐1026

MRS CAROLE PLOCH MOLLINEAUX                       34 VILLAGE DRIVE                                                                                LIVINGSTON         NJ    07039‐4331
MRS CAROLE R CARROLL                              3226 TENTH AVENUE W                                                                             SEATTLE            WA    98119‐1822
MRS CAROLE ROTHMAN                                66‐36 YELLOWSTOEN BLVD #29B                                                                     FOREST HILLS       NY    11375‐2517
MRS CAROLE S WARNER                               6807 N 30TH AVE                                                                                 PHOENIX            AZ    85017‐1105
MRS CAROLEE CHRISMAN CUST MISS LINDA D            3428 ADAMS SHORE DR                                                                             WATERFORD          MI    48329‐4202
CHRISMAN UGMA MI
MRS CAROLINE BAIRD MASON                          66 WHEELER RD                                                                                   GLENMONT           NY    12077‐4225
MRS CAROLINE D ASHFORD                            1015 DEVONSHIRE DR                                                                              NEW BERN           NC    28562‐7217
MRS CAROLINE NAPOLI                               314 ROOSEVELT RD                                                                                EAST ROCHESTER     NY    14445‐2010
MRS CAROLINE W B CUTHBERT CUST ALEXANDER J        251 HATHAWAY LANE                                                                               WYNNEWOOD          PA    19096‐1902
CUTHBERT UGMA PA
MRS CAROLINE W B CUTHBERT CUST CAROLINE W         251 HATHAWAY LANE                                                                               WYNNEWOOD          PA    19096‐1902
CUTHBERT UGMA PA
MRS CAROLYN A DIXON                               17144 SHARPSBURG AVE                                                                            BATON ROUGE        LA    70817‐2543
MRS CAROLYN A WESTFALL                            CO MARK S WESTFALL                     4039 MOURNING DOVE DR                                    MATTHEWS           NC    28104‐7616
MRS CAROLYN B DAVIS                               35 WOODLAND RIDGE CIRCLE                                                                        COVINGTON          GA    30016‐3358
MRS CAROLYN COLLINSON SEMLER                      109 JOEL CIRCLE                                                                                 SMITHSBURG         MD    21783‐1584
MRS CAROLYN E ALTLAND                             455 CABIN HOLLOW ROAD                                                                           DILLSBURG          PA    17019‐9607
MRS CAROLYN E MELIN                               3072 PATCH DR                                                                                   BLOOMFIELD HILLS   MI    48304‐2039

MRS CAROLYN E VOSKUIL                             W194 S7449 RACINE AVE                                                                           MUSKEGO            WI    53150‐9577
MRS CAROLYN ELIZABETH MEEKER                      17027 HANNA RD                                                                                  LUTZ               FL    33549‐5665
MRS CAROLYN FRANZ ROBBINS                         4037 GRANDEVIEW DRIVE                                                                           PYLESVILLE         MD    21132‐1511
MRS CAROLYN G BIRD & KEVIN C BIRD JT TEN          630 PIPER RD                                                                                    HASLETT            MI    48840‐9792
MRS CAROLYN H HALKIAS CUST IRENE NICHOL HALKIAS   1330 QUAIL HOLLOW RD                                                                            HARRISBURG         PA    17112‐1939
UGMA NJ
MRS CAROLYN HALE SEWELL                           4646 DEVONSHIRE RD                                                                              DUNWOODY           GA    30338‐5614
MRS CAROLYN J BRUSSEAU CUST ROLAND ROBERT         728 E BELMONT LANE                                                                              ST PAUL            MN    55117‐2203
BRUSSEAU UGMA MN
MRS CAROLYN J HAZEN                               PO BOX 544                                                                                      PITTSFORD          VT    05763‐0544
MRS CAROLYN J WILSON CUST SCOTT C WILSON UGMA     1202 CLUBHOUSE CIRCLE                                                                           JUPITER            FL    33477‐4525
NY
MRS CAROLYN JANE SCULL                            1305 GAISER DR                                                                                  SEYMOUR            IN    47274‐3107
MRS CAROLYN K BALDWIN & CHARLES F BALDWIN JT      9012 CHURCH ST                                                                                  TUSCOLA            MI    48769
TEN
MRS CAROLYN KIRSCH CUST ALAN DALE KIRSCH UGMA     14109 MEYERS RD                                                                                 DETROIT            MI    48227‐3919
MI
MRS CAROLYN L WEEKLEY                             4267 ROSEFINCH WAY                                                                              MIAMISBURG         OH    45342‐4789
MRS CAROLYN M JONES                               3816 THE PRADO                                                                                  MACON              GA    31204‐1362
MRS CAROLYN MC K CARTER                           PO BOX 30625                                                                                    SEA ISLAND         GA    31561‐0625
MRS CAROLYN NEWMAN MC INTYRE                      PO BOX 14087                                                                                    JACKSON            MS    39236‐4087
MRS CAROLYN NEWSOCK                               775 SPARTAN                                                                                     ROCHESTER          MI    48309‐2528
MRS CAROLYN OGDEN MEYER                           ATTN CAROLYN SCHWAGMEYER               720 S ORANGE AVE                                         SARASOTA           FL    34236‐7718
MRS CAROLYN OSHIN                                 11 CRABTREE LANE                                                                                TENAFLY            NJ    07670‐2401
MRS CAROLYN PRINCE                                409 BALMORAL RD                                                                                 WINTER PARK        FL    32789‐5201
MRS CAROLYN R JONES                               6605 GREENWICH PIKE                                                                             LEXINGTON          KY    40511‐8458
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MRS CAROLYN S MYERS CUST LONNIE W MYERS UGMA 1926 S 7TH                                                                                             TERRE HAUTE      IN    47802‐2320
IN
MRS CAROLYN SCHAFER CUST MISS ELIZABETH D      PO BOX 57                                                                                            LOACHAPOKA       AL    36865‐0057
SCHAFER UGMA AL
MRS CAROLYN SCHNUR BASSETT                     8309 BRIAR CREEK DR                                                                                  ANNANDALE        VA    22003‐4642
MRS CAROLYN SMITH                              25 HOLLY LANE                                                                                        BRIDGEWATER      MA    02324‐2833
MRS CAROLYN STREMICK WELLER                    11208 NORTH 105TH AVE                                                                                SUNCITY          AZ    85351‐4106
MRS CAROLYN ZOVE CUST DANIEL CRAIG ZOVE UGMA 6921 ROSEWOOD STREET                                                                                   PITTSBURGH       PA    15208‐2638
NY
MRS CAROLYN ZOVE CUST DOUGLAS MARC ZOVE UGMA 8 GEHRIG ST                                                                                            COMMACK          NY    11725‐2007
NY
MRS CAROLYN ZOVE CUST STEVEN MARSHALL ZOVE     5 HARRIS COURT                                                                                       COMMACK          NY    11725‐1714
UNDER THENEW YORK U‐G‐M‐A
MRS CARRIE ANNE SCHOTT & DREW W BEASLEY JT TEN 3402 THE ALAMEDA                                                                                     BALTIMORE        MD    21218‐3011

MRS CARRIE E MEARS                                PO BOX 189                                                                                        OAK HALL         VA    23416‐0189
MRS CARRIE W WILLIAMS                             2736 CHEROKEE DR                                                                                  BIRMINGHAM       AL    35216‐1008
MRS CARROL KAHN                                   1755 HITCHING POST RD                                                                             EAST LANSING     MI    48823‐2187
MRS CARROLL R BRUNDRED JR                         10100 FLOWER GATE TER                                                                             POTOMAC          MD    20854‐5429
MRS CASIMERA EDDY                                 10291 W SIDE HILL RD                                                                              RIPLEY           NY    14775‐9742
MRS CATHARINA M BIEHN                             10787 DEER RUN                                                                                    COLLEGE STATION TX     77845‐7842
MRS CATHARINE T NUSS                              839 ELLEN CT                                                                                      FOND DU LAC      WI    54935‐6213
MRS CATHARINE TAYLOR BAILEY                       9440 MISTWATER CLOSE                                                                              ROSWELL          GA    30076‐3288
MRS CATHERINE A BEEMAN                            3035 BEACHAM DRIVE                                                                                WATERFORD        MI    48329‐4503
MRS CATHERINE A MEHLER                            18548 CUTLASS DRIVE                                                                               FORT MYERS BEACH FL    33931‐2305

MRS CATHERINE B GARBARINO & MISS JEAN M           BOX 394                                                                                           ATHOL            MA    01331‐0394
GARBARINO JT TEN
MRS CATHERINE CONWAY                              36 ALVARADO ST                                                                                    SAN FRANCISCO    CA    94110‐3013
MRS CATHERINE CORCORAN ALLGAUER                   820 WOLCOTT AVE                                                                                   BEACON           NY    12508‐4247
MRS CATHERINE COWLEY GROCE                        208 SONTAG DR                                                                                     FRANKLIN         TN    37064
MRS CATHERINE DEMPSEY & PATRICIA JOFFE JT TEN     28AA MORRIS AVE                                                                                   SUMMIT           NJ    07901

MRS CATHERINE F KLABO                            1737 LARK LANE                                                                                     SUNNYVALE        CA    94087‐4828
MRS CATHERINE G COOPER                           208 W JONES ST                                                                                     SAVANNAH         GA    31401‐4510
MRS CATHERINE J DURKIN                           54 VALLEY RIDGE RD                                                                                 FT WORTH         TX    76107‐3109
MRS CATHERINE J PENMAN                           10970 N COUNTY ROAD 200 W                                                                          BRAZIL           IN    47834‐6909
MRS CATHERINE L BURKE                            300 LAKE SIDE AVE SOUTH                 # 102                                                      SEATTLE          WA    98144‐2667
MRS CATHERINE L KELLEHER                         4242 EAST WEST HWY #1018                                                                           CHEVY CHASE      MD    20815
MRS CATHERINE L PETRE                            126 HILLCROFT ST                        OSHAWA ON                                L1G 2L4 CANADA
MRS CATHERINE L SCHROYER                         2526 QUEBEC SCHOOL RD                                                                              MIDDLETOWN       MD    21769‐7024
MRS CATHERINE M KILLACKEY                        151 WHEELOCK ROAD                                                                                  PENFIELD         NY    14526‐1433
MRS CATHERINE M MORRIS                           4 MAYFLOWER CT S                                                                                   HOMOSASSA        FL    34446‐4922
MRS CATHERINE M SCHREIBER & HARRY V SCHREIBER JT 151 MERION WAY                                                                                     HAINESPORT       NJ    08036
TEN
MRS CATHERINE MAMMARELLI                         11 FERNWOOD DR                                                                                     WILBRAHAM        MA    01095‐1503
MRS CATHERINE MENMUIR                            6 BAY VIEW CRES                         DUNSBOROUGH          WESTERN AUSTRALIA   6281 AUSTRALIA
MRS CATHERINE MICHELS                            253 WEST 7TH STREET                                                                                SURF CITY        NJ    08008‐4637
MRS CATHERINE P ANDERSON                         208 PARKER AVE                                                                                     MERIDEN          CT    06450‐5924
MRS CATHERINE PAUL COLLISON                      PO BOX 3683                                                                                        WILMINGTON       DE    19807‐0683
MRS CATHERINE R SMERZ                            1715 WESTEND AVE                                                                                   NEW HYDE PARK    NY    11040‐4024
MRS CATHERINE S BAUMGARTEN                       4947 GREEN DRIVE                                                                                   HARSENS ISLAND   MI    48028‐9534
MRS CATHERINE S LOPEZ & MARCIAL F LOPEZ JT TEN   1177 MURRAY DRIVE                                                                                  JACKSONVILLE     FL    32205‐5156

MRS CATHERINE S WARREN                            190 MCSWAIN DR                         #224                                                       WEST COLUMBIA    SC    29169‐4825
MRS CATHERINE SCOTT OUTLAND                       1288 WARWICK PARK ROAD                                                                            RICHMOND         VA    23231‐6726
MRS CATHERINE T BILLINGSLEY                       APT 12                                 250 NESMITH ST                                             LOWELL           MA    01852‐2849
MRS CATHERINE T CALL                              1614 CLUB CIR                                                                                     PAWLEYS ISL      SC    29585
MRS CATHERINE T GREGOR                            111 PERRYMONT RD                       APT 18                                                     PITTSBURGH       PA    15237‐5239
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Name                                           Address1                               Address2             Address3          Address4          City             State Zip

MRS CATHERINE V MORGAN                         7474 BELLFLOWER RD                                                                              MENTOR           OH    44060‐3947
MRS CATHERINE W CASABONNE                      70 123RD ST                                                                                     TROY             NY    12182‐2013
MRS CATHRYN E ANTHONY                          131 SOUTH ERVIN AVE                                                                             NEWTON           NC    28658‐2435
MRS CATHY DEE BEZ                              9902 N 25TH ST                                                                                  PHOENIX          AZ    85028‐4334
MRS CATHY L PINCKNEY                           PO BOX 16178                                                                                    BEVERLY HILLS    CA    90209‐2178
MRS CECELIA A COATES                           304 RT 94                                                                                       COLUMBIA         NJ    07832‐2771
MRS CECELIA A HARRINGTON                       3 LENOX ST                                                                                      WORCESTER        MA    01602‐1410
MRS CECELIA BARTICK                            6332 BRYAN DR                                                                                   INDIANAPOLIS     IN    46227‐7669
MRS CECELIA E COOK                             5 LYNDA DRIVE                                                                                   DENVER           PA    17517‐9354
MRS CECELIA J WALSH                            1638 LAKEVIEW AVE                                                                               ROCKY RIVER      OH    44116‐2409
MRS CECELIA W MILLER                           100 DEVINE WAY                                                                                  CARY             NC    27511‐5790
MRS CECILE SIMON FREEMAN                       118 CAROLINE DR                                                                                 ASHLAND          KY    41101‐2202
MRS CECILIA HARTOS                             377 MIDLAND AVE #1G                                                                             GARFIELD         NJ    07026‐1617
MRS CECILIA REICH                              912 SIERRA VISTA LANE                                                                           VALLEY COTTAGE   NY    10989‐2724
MRS CECILY C GARNSEY                           26 BLUE HERON DR                                                                                GREENWOOD        CO    80121‐2132
                                                                                                                                               VILLAGE
MRS CELIA MARX CARRIE MARX                     7171 BUFFALO SPEEDWAY APT 124                                                                   HOUSTON          TX    77025‐1425
MRS CHARLENE C KAHN CUST ADAM RAY KAHN UGMA    18 LAUREL LANE                                                                                  CHAPPAQUA        NY    10514‐3803
NY
MRS CHARLENE C SERVIAN                         801 WORTHINGTON DRIVE                                                                           EXTON            PA    19341‐1648
MRS CHARLENE E BARKER                          2058 BEECHTREE DRIVE                                                                            UNIONTOWN        OH    44685‐8829
MRS CHARLENE TILK CUST STEVEN H TILK UGMA MI   24722 GLENWOOD DRIVE                                                                            LAKE FORREST     CA    92630‐3108

MRS CHARLOTTE BAUM                            19 MARTIN PL                                                                                     NORTHPORT        NY    11768‐1223
MRS CHARLOTTE CHIEFFA                         186 WESTMINSTER DR                                                                               YONKERS          NY    10710‐4221
MRS CHARLOTTE E LAMM                          1017 FREEHOME RD                                                                                 CANTON           GA    30115‐4883
MRS CHARLOTTE FILKA                           3502 HAWTHORNE DR W                                                                              CARMEL           IN    46033‐9619
MRS CHARLOTTE GRANDBERG & KAREN ANNE TANZER 99 BRACKETT ST                            APT 709                                                  QUINCY           MA    02169
JT TEN
MRS CHARLOTTE GUTFLEISH CUST MISS KIM E       38 MOHAWK AVE                                                                                    NORWOOD          NJ    07648
GUTFLEISH UGMA NJ
MRS CHARLOTTE HAUSWALD LENTZ                  1728 WHITESTONE CT                                                                               CROFTON        MD      21114‐2318
MRS CHARLOTTE HOFFMAN & MELVIN HOFFMAN JT TEN 764 FLANDERS DRIVE                                                                               NORTH WOODMERE NY      11581‐3123

MRS CHARLOTTE IRRGEHER                      50968‐KOLN‐MARIENBURG                     ANDERNACHER STR 6    REPL OF           GERMANY
MRS CHARLOTTE RADLER                        1880 WESTOVER LANE                                                                                 MANSFIELD        OH    44906‐3347
MRS CHARLOTTE STOLZ                         ATTN EDWARD R STOLZ                       3738 ROBERTSON AVE                                       SACRAMENTO       CA    95821‐3804
MRS CHARLOTTE T ELLITHORP                   3228 ARGONNE DRIVE N W                                                                             ATLANTA          GA    30305‐1946
MRS CHARLOTTE TROW                          5 WEXLER CT                                                                                        GARNERVILLE      NY    10923‐1913
MRS CHARMAINE ABRAM CUST MARC ABRAM UGMA NJ PO BOX 757                                                                                         NORMANDY BEACH   NJ    08739‐0757

MRS CHARMAINE ABRAM CUST ROY ABRAM JR UGMA     120 WALDRON RD                                                                                  TOMS RIVER       NJ    08753‐6255
NJ
MRS CHASE C PADGETT                            1005 DECATUR RD                                                                                 JACKSONVILLE     NC    28540‐6828
MRS CHAYA TARSHISH                             C/O DIMONT                             11610 FULHAM ST                                          SILVER SPRINGS   MD    20902‐3014
MRS CHELSEA SACKEL                             9316 CROOM RD                                                                                   UPPR MARLBORO    MD    20772‐7813
MRS CHERYL A BAGGS                             62 CHURCH ST                                                                                    OXFORD           MA    01540‐1534
MRS CHERYL A PACKAN                            269 STANTON ST                                                                                  RAHWAY           NJ    07065‐3123
MRS CHERYL ANN GODINSKY & JOHN W GODINSKY JT   9379 HYDE PARK DRIVE                                                                            TWINSBURG        OH    44087‐1516
TEN
MRS CHERYL BLACKMON CUST SCOTT ALEXANDER       308 W CHERYL AVE                                                                                HURST            TX    76053
BLACKMON UGMA TX
MRS CHERYL CHADWICK                            2487 N ESSEL DRIVE                                                                              TUCSON           AZ    85715‐3554
MRS CHERYL M MILLER                            1122 WHEATLAND AVE                                                                              LANCASTER        PA    17603‐2543
MRS CHERYL MYERS                               4454 CARMEN                                                                                     CHINO            CA    91710‐3970
MRS CHLOE E SLOAN                              3218 COLBY DRIVE                                                                                NASHVILLE        TN    37211‐3014
MRS CHRISTIE J FARMER                          21020 RESERVE COURT                                                                             FAIRVIEW PARK    OH    44126‐1253
MRS CHRISTINA F CARR                           11717 WAYNERIDGE ST                                                                             FULTON           MD    20759‐9731
MRS CHRISTINE A SACKS                          24 WEST DENNIS LANE                                                                             CORAM            NY    11727‐3550
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Name                                            Address1                             Address2             Address3          Address4          City            State Zip

MRS CHRISTINE BRADEN                            6054 BEECHER RD                                                                               FLINT           MI    48532‐2001
MRS CHRISTINE E DEMORY                          PO BOX 544                                                                                    STERLING        IL    61081‐0544
MRS CHRISTINE E DUNN                            HICKORY DALE FARM                                                                             HIMROD          NY    14842
MRS CHRISTINE G GIULIANA                        19 OSPREY DR                                                                                  PORTSMOUTH      NH    03801
MRS CHRISTINE SHIRAH                            PO BOX 19030                                                                                  HOUSTON         TX    77224‐9030
MRS CHUNG YING FONG                             1021 CAMINO PABLO                                                                             MORAGA          CA    94556‐1831
MRS CHUNGPET CHU                                262 KUANGFU S ROAD                   TAIPEI                                 TAIWAN
MRS CLAIRE E DARTNALL                           5234 WEDGEWOOD DRIVE                                                                          CHARLOTTE       NC    28210‐2427
MRS CLAIRE HAYES                                535A HERITAGE VL                                                                              SOUTHBURY       CT    06488‐1535
MRS CLAIRE K NUSSBAUM                           108 CHADWICK DRIVE                                                                            CHARLESTON      SC    29407‐7451
MRS CLAIRE L WALTROP                            339 STONYHILL DR                                                                              CHALFONT        PA    18914‐2041
MRS CLAIRE LANDSBAUM CUST SCOTT LEWIS           518 N ALTA DR                                                                                 BEVERLY HILLS   CA    90210‐3502
LANDSBAUM UGMA CA
MRS CLAIRE MEISTRICH CUST MATHEW GENE           108 MAJESTIC S                                                                                LINCROFT        NJ    07738‐1710
MEISTRICH UGMA NJ
MRS CLAIRE MURRAY CUST JOSEPH ALLEN MURRAY      19 HUDSON DR                         WINDSOR ON                             B2T 1A4 CANADA
UGMA IL
MRS CLAIRE W HARRIS                             2367 E WILSON AVE                                                                             ORANGE          CA    92867‐6163
MRS CLARA DEAN                                  129 KEER AVE                                                                                  NEWARK          NJ    07112‐1914
MRS CLARA E ELDRIDGE                            2009 KENDAL WAY                                                                               SLEEPY HOLLOW   NY    10591‐1057
MRS CLARA ETHEL GAABO                           1183 LEXINGTON ST                                                                             PASADENA        CA    91104‐1321
MRS CLARA GLASCOE                               6115 ELIZABETHAN DR                                                                           NASHVILLE       TN    37205‐1256
MRS CLARA H RUSSIAN                             153 GLOUCESTER ST                                                                             ARLINGTON       MA    02476‐6311
MRS CLARA HORVATH                               6117 NECKEL                                                                                   DEARBORN        MI    48126‐2250
MRS CLARA L LADD LAMAR CUST CLARA LEDER LAMAR   3665 THE CEDARS                                                                               MOBILE          AL    36608‐1446
UGMA AL
MRS CLARA LOEFFLER                              19 ALDBURY DR                                                                                 UPPER SADDLE    NJ    07458‐2103
                                                                                                                                              RIVER
MRS CLARA LOUNSBURY                             6506 MILL CREEK CIR                                                                           BIRMINGHAM      AL    35242‐7323
MRS CLARA ROSENTHAL                             366 N LA JOLLA                                                                                LOS ANGELES     CA    90048‐2231
MRS CLARE S BREWSTER                            2718 N 18TH ST                                                                                ARLINGTON       VA    22201‐4028
MRS CLARISE T DURDEN                            BOX 360                                                                                       FORSYTH         GA    31029‐0360
MRS CLAUDE B GOWDY                              3235 SVENDSON DRIVE                                                                           BATON ROUGE     LA    70809‐1575
MRS CLAUDIA PINE SIMON CUST MARGO DEBORAH       8335 HIGH HILL RD                                                                             ELKINS PARK     PA    19027
SIMON UGMA PA
MRS CLAUDIA S BARBER                            61 PIERREPONT ST                                                                              BROOKLYN        NY    11201‐2453
MRS CLELA E GARVER                              02831 STATE RTE 15                                                                            BRYAN           OH    43506‐8993
MRS CLEMENTINE P MANNING                        ATTN CLEMENTINE P ADAMS              711 GUNTER AVE                                           GUNTERSVILLE    AL    35976‐1515
MRS CLEO L GISEBURT                             2408 S UTICA                                                                                  DENVER          CO    80219‐6402
MRS CLEO TIFFANY                                63 DODD RD                                                                                    VESTAL          NY    13850‐5423
MRS CLIMETINE FREEMAN                           400 E 41ST ST                        APT 403S                                                 CHICAGO         IL    60653‐2779
MRS COLLEEN M BECKER                            ROUTE 19                             BOYCE ROAD                                               PITTSBUGH       PA    15241
MRS COLLEEN M MUNDIS                            650 S PLEASANT AVE                                                                            DALLASTOWN      PA    17313‐9237
MRS COLLEEN V BEADLE ROSNER                     4401 WILLOW GLEN CT                                                                           CONCORD         CA    94521‐4341
MRS CONCETTA DONOVAN                            8 PRESTON BEACH RD                                                                            MARBLEHEAD      MA    01945‐1725
MRS CONNIE BOLTON                               22 HUDSON AVE                                                                                 WALDWICK        NJ    07463‐2311
MRS CONNIE J DERSHAW                            PO BOX 595                                                                                    EAST ELLIJAY    GA    30539‐0010
MRS CONNIE L WAGNER                             PO BOX 123                                                                                    THOMPSONTOWN    PA    17094‐0123

MRS CONNIE LYNN TAYLOR PACE                   702 LONE CIRCLE                                                                                 SAN ANTONIO     TX    78258‐6412
MRS CONNIE M SAARI                            1732 GREENDALE AVE                                                                              FINDLAY         OH    45840‐6916
MRS CONNIE P COCUZZA CUST DONNA MARIE COCUZZA 31C INDIAN RD                                                                                   MANAHAWKIN      NJ    08050‐3305
UGMA NJ
MRS CONSTANCE C TRAVERS                       1512 VICTOR AVE                                                                                 LANSING         MI    48910‐2565
MRS CONSTANCE DUNN                            3953 N ALGER RD                                                                                 WHITE CLOUD     MI    49349‐9436
MRS CONSTANCE J DAGOSTINO                     94 COLONY STREET                                                                                DEPEW           NY    14043‐1710
MRS CONSTANCE JOY VALENTINE                   232 HILLSIDE AVE                                                                                LIVINGSTON      NJ    07039‐3646
MRS CONSTANCE L ATKINS WILLSON                129 MAPLE CREST DR                                                                              CARMEL          IN    46033‐1938
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MRS CONSTANCE L COADY & MRS ETHEL M LEDEL JT TEN 239 PARK AVE                                                                                       HEBRON            NE    68370‐2020

MRS CONSTANCE L DEVRIES CUST JOHN KYLE DEVRIES     3135 WEST SIERRA                                                                                 WESTLAKE VILLAGE CA     91362‐3539
UGMA MI
MRS CONSTANCE LENIO                                30 CRABTREE LANE                                                                                 LEVITTOWN         NY    11756‐1512
MRS CONSTANCE M PAISLEY                            3015 VILLAGE DR                                                                                  CENTER VALLEY     PA    18034‐8446
MRS CONSTANCE PLATE                                1209 HOLY CROSS DR                                                                               MONROEVILLE       PA    15146‐4849
MRS CONSTANCE R POWELL                             124 LEDBURY CT                                                                                   ROSEVILLE         CA    95747‐4500
MRS CONSTANCE SCHWARTZ                             7324 BEACON HILL DR                                                                              PITTSBURGH        PA    15221‐2567
MRS CONSTANTINA EVANS                              15700 GULF BLVD                                                                                  REDINGTON BEACH   FL    33708‐1732

MRS CONSUELO INDORF                                14024 WILLOW GLEN CT                    # 114                                                    PT CHARLOTTE   FL       33953‐5663
MRS CONSUELO TRANTER                               397 BALLSTON RD                                                                                  SCOTIA         NY       12302‐3243
MRS CORA S YEE                                     11130 CONCORD RIVER COURT                                                                        RANCHO CORDOVA CA       95670‐2835

MRS CORA W ROBERTS GEORGE E ROBERTS & ROSS L       24 CAPITAL HILL                                                                                  FAIR HAVEN        VT    05743‐1104
ROBERTS JT TEN
MRS CORAL CARON HILLIARD                           12040 SAMOLINE LANE                                                                              DOWNEY          CA      90242‐2316
MRS CORDELIA L FANT                                401 9TH ST NW                           STE 450                                                  WASHINGTON      DC      20004‐2142
MRS CORNELIA CRANE CUST SAMUEL B STONE UGMA        2189 COLONY CLUB DR                                                                              WEST BLOOMFIELD MI      48033
MI
MRS CORNELIA G WEST                                PO BOX 683                                                                                       WAVELAND          MS    39576‐0017
MRS CORNELIA RECTOR CREVELING CUST VICTORIA        ATTN VICTORIA C MARIANO                 9609 SPLENDID VIEW CT                                    ELLICOTT CITY     MD    21042‐2356
ANNE CREVELING UGMA MD
MRS CRISTINA SMYTH                                 PO BOX #322                             GURABO                                 658 PUERTO RICO
MRS CURTICE C BERGER CUST C EDWARD BERGER JR       130 WOODHAND DR                                                                                  AMHERST           VA    24521
UGMA VA
MRS CYNTHIA ADEN SIMMONS                           2545 YESTER OAKS DRIVE                                                                           GERMANTOWN        TN    38139‐6421
MRS CYNTHIA CRAGO                                  631 ANCHORAGE LANE                                                                               HOUSTON           TX    77079‐2535
MRS CYNTHIA DEVINE                                 31 GARFIELD                                                                                      GENEVA            IL    60134‐2309
MRS CYNTHIA G CERRITO & ROBERT M CERRITO JT TEN    21 CARYSFORT CIR N                                                                               KEY LARGO         FL    33037‐3503

MRS CYNTHIA J GAGNON                               28 WADLEIGH LANE                                                                                 SOUTH BERWICK     ME    03908‐1524
MRS CYNTHIA K ACKERMAN CUST SCOTT EDWARD           456 ARLINGTON DR                                                                                 ROCHESTER         MI    48307‐2808
ACKERMAN UGMA MI
MRS CYNTHIA KLEIT                                  4017 MANCHESTER LAKE DRIVE                                                                       WELLINGTON        FL    33467‐8173
MRS CYNTHIA LEFCORT                                12 WINGATE DR                                                                                    NEW CITY          NY    10956‐4433
MRS CYNTHIA N AUER CUST AMY LYNN AUER UGMA CO      2445 S MILWAUKEE ST                                                                              DENVER            CO    80210‐5513

MRS CYNTHIA OWENS                                  10250 ANTHONY PLACE                                                                              CUPERTINO         CA    95014‐5646
MRS CYNTHIA P DICKINSON                            402 E MADISON                                                                                    KIRKWOOD          MO    63122‐4551
MRS CYNTHIA P HOLLENBECK                           276 HIGHLAND RD                                                                                  ANDOVER           MA    01810‐1918
MRS CYNTHIA S CLEMINSHAW                           4455 GILES RD                                                                                    CHAGRIN FALLS     OH    44022‐2006
MRS CYNTHIA S GAINES & HARRY W GAINES JT TEN       17 HIGH RIDGE RD                                                                                 OSSINING          NY    10562‐1969

MRS CYNTHIA S GENTER                               451 GEORGETOWN                                                                                   CANTON            MI    48188‐1534
MRS CYNTHIA SPODEN                                 PO BOX 34112                                                                                     CLEVELAND         OH    44134
MRS CYNTHIA T SHANAHAN                             8435 TWISTED OAKS                                                                                GARDEN RIDGE      TX    78266‐2765
MRS CYNTHIA TROMBLEY BLAZOK                        971 HARBOR CT                                                                                    TRAVERSE CITY     MI    49685‐9355
MRS DALE BORRIS CUST JOSHUA IAN BORRIS UGMA NY     134 BEAUMONT ST                                                                                  BROOKLYN          NY    11235‐4119

MRS DALE GILCHREST ERVIN & ROBERT L ERVIN JT TEN   613 NH RTE 137                                                                                   HARRISVILLE       NH    03450‐5017

MRS DALE S MONTANELLI                              2003 TROUT VALLEY                                                                                CHAMPAIGN         IL    61822‐9775
MRS DANA KEILLOR FITTON                            22 MACK LN                                                                                       ESSEX             CT    06426‐1105
MRS DANA MARLOWE                                   1642 ELDA CT                                                                                     PLEASANT HILL     CA    94523‐3012
MRS DANE BRADFORD                                  1021 SUMMER                                                                                      UNION CITY        TN    38261‐4151
MRS DARCY L DOYLE                                  2 SKYVIEW CIRCLE                                                                                 KEENE             NH    03431‐5254
MRS DARIA Y CELEBREZZE                             4115 OVERBROOK DR                                                                                BRECKSVILLE       OH    44141‐1845
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MRS DARL ECK                                    PO BOX 414                                                                                      EAST BRADY      PA    16028‐0414
MRS DARLENE CARPENTER                           7184 HUBBARD ST                                                                                 LEXINGTON       MI    48450‐8845
MRS DARLENE DANIELAK                            15805 GARDENIA CT                                                                               MACOMB          MI    48042‐2855
MRS DARLENE L GAYDOS                            7 BRIAR HILL RD                                                                                 MONTCLAIR       NJ    07042‐1602
MRS DARLENE TUCK                                93 OAKRIDGE CRESCENT                   PORT COLBORNE ONTARIO       CANANDA    L3K 2T5 CANADA
MRS DARRELL BROWN                               222 MILITARY ROAD                      DOVER HEIGHTS               NSW        2030 AUSTRALIA
MRS DARRELL BROWN CUST MISS CORY BROWN UGMA 2/15 BENELONG CRESCENT                     BELLEVUE HILL NSW                      2023 AUSTRALIA
PA
MRS DEAN F BAUER CUST JOHN M BAUER U/THE OHIO U‐PIEDMONT PATHOLOGY LAB                 2273 SETTLEMYRE BRIDGE RD                                NEWTON          NC    28658‐9505
G‐M‐A
MRS DEANE G EDWARDS                             ATTN DEANE G WALKER                    7340 BULLARD RD                                          CLEMMONS        NC    27012‐9736
MRS DEANE REID WOODWARD                         943 HIGHLAND DR                                                                                 MAGNOLIA        AR    71753‐2540
MRS DEANNE G MAVRICK                            77 LAKE HINSDALE DRIVE #210                                                                     WILLOW BROOK    IL    60527‐2229
MRS DEBORAH A LAGE MORRILL                      10718 FALLBROOK WAY                                                                             OAKLAND         CA    94605‐5536
MRS DEBORAH BOVILSKY                            90 OGDEN ST                                                                                     NEW HAVEN       CT    06511‐1324
MRS DEBORAH DOLNICK                             2365 GENEVA AVE                                                                                 GLENSIDE        PA    19038‐4215
MRS DEBORAH E ROLLINS                           29 PARK PLACE                                                                                   CHESHIRE        CT    06410‐2146
MRS DEBORAH G GREEN                             17 COCKENOE DR                                                                                  WESTPORT        CT    06880‐6907
MRS DEBORAH H RESNIK                            38 WESTON RD                                                                                    WESTPORT        CT    06880‐1231
MRS DEBORAH J DAVIS                             3858 RAINFOREST CIR                                                                             NORCROSS        GA    30092‐2348
MRS DEBORAH SUE TRUPO                           ROUTE 1 BOX 183‐2                                                                               ELKINS          WV    26241‐9721
MRS DEBORAH WEBBER LEHMAN                       912 LAURIE ST                                                                                   MARYVILLE       TN    37803‐6710
MRS DEBRA A DETWILER                            31410 LOST CREEK LN                                                                             RONAN           MT    59864‐9424
MRS DEIDRE ANN NOLEN                            11410 FOXHUNTER ROAD                                                                            MULKEYTOWN      IL    62865‐2224
MRS DELENA Y ELGIN                              7717 CRESWELL RD LOT 29                                                                         SHREVEPORT      LA    71106‐6032
MRS DELIA PAONE                                 9112 SPAIN RD NE                                                                                ALBUQUERQUE     NM    87111‐2210
MRS DELIA R WINN CUST DIXIE LEE WINN UGMA VI    PO BOX 601                                                                                      RUIDOSO DOWNS   NM    88346‐0601

MRS DELIA R WINN CUST JOHN GLENN WINN UGMA VI    PO BOX 601                                                                                     RUIDOSO DOWNS   NM    88346‐0601

MRS DELIA RANGEL                                 2691 PINE LOG WAY                                                                              BUFORD          GA    30519‐6417
MRS DELLA JANE TAPERT                            2165 STATE HIGHWAY 73                                                                          MACKS CREEK     MO    65786‐8228
MRS DELLA MEISTER                                1725 YORK AVENUE                      APT# 33H                                                 NEW YORK        NY    10128
MRS DELORES MATHEWS & L GENE MATHEWS JT TEN      9884 N PRIVATE RD 310W                                                                         BRAZIL          IN    47834‐7809

MRS DELORIS MARIE TEAGUE & BEVERLY J TEAGUE JT   4839 N LAKESIDE BLVD                                                                           HALE            MI    48739‐8400
TEN
MRS DELORIS MARIE TEAGUE & KAREN D TEAGUE JT     4839 LAKESIDE                                                                                  HALE            MI    48739‐8400
TEN
MRS DELORIS MARIE TEAGUE & ROBERT W TEAGUE JT    4839 N LAKESIDE BLVD                                                                           HALE            MI    48739‐8400
TEN
MRS DELOYCE T CONRAD                             FRIEDINGER STR 6                      82229 SEEFELD                          GERMANY
MRS DELPHINE F KOLNITYS                          31707 AVONDALE                                                                                 WESTLAND        MI    48186‐4995
MRS DELPHINE LIND & JUDITH JABLONSKI JT TEN      44036 FOOT HILLS CT                                                                            NORTHVILLE      MI    48167‐2201
MRS DELTA A STEEVES                              78 PRINCESS ST                        MIRAMICHI NB                           E1N 2L1 CANADA
MRS DENA MARIE NAULT & WILLIAM M NAULT JT TEN    10442 W STANLEY RD                                                                             FLUSHING        MI    48433‐9268

MRS DENISE COAN CUST ALLISA KATE COAN UTMA IL    5522 W MOLLY LN                                                                                PHOENIX         AZ    85083‐6383

MRS DENISE COAN CUST BENJAMIN EDWARD COAM        5522 W MOLLY LN                                                                                PHOENIX         AZ    85083‐6383
UTMA IL
MRS DENISE G ST PIERRE                           5524 BELLAIRE DR                                                                               NEW ORLEANS     LA    70124‐1002
MRS DENISE M STONE                               14915 ISLETON RD                                                                               ISLETON         CA    95641‐9765
MRS DENISE ROBIDOUX                              138 CHAMPETRE ST                      MONTREAL EAST QC                       H1B 5G6 CANADA
MRS DENISE WEST BERRY                            500 BERRY AVE                                                                                  LEESVILLE       LA    71446‐3550
MRS DESPINA D JOHNSON & MRS MALAMA DADISKOS      10 PENWOOD XING                                                                                GLASTONBURY     CT    06033
JT TEN
MRS DEVORAH HELLER CUST MARK S HELLER UGMA NY    27 RELDA STREET                                                                                PLAINVIEW       NY    11803‐4625
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MRS DEVORE KATZ                                  APT 5E‐N                              60 SUTTON PL S                                                            NY               NY    10022‐4168
MRS DIAMOND G MATHER                             1215 S BROOKS DR                                                                                                BLOOMINGTON      IN    47401‐6115
MRS DIANA B NEILEY                               BOX 6115                              74 WINTER ST                                                              LINCOLN          MA    01773‐3504
MRS DIANA BARBER                                 136 CAMINO RAYO DEL SOL                                                                                         CORRALES         NM    87048‐6805
MRS DIANA C LEE                                  105 TOWER                                                                                                       PAOLA            KS    66071‐1317
MRS DIANA DARNALL STEED                          12 MEADE ST                                                                                                     BUCKHANNON       WV    26201‐2654
MRS DIANA F LUCCA                                PO BOX 2055                                                                                                     EDGARTOWN        MA    02539‐2055
MRS DIANA GAILE HINZE                            376 CARTER                                                                                                      TROY             MI    48098‐4611
MRS DIANA H HINCKLEY                             PO BOX 1100                                                                                                     ELLSWORTH        ME    04605‐1100
MRS DIANA J STOTHERS                             55 MORNINGSIDE DR                                                                                               OSSINING         NY    10562‐4012
MRS DIANA JEAN TROYKE                            E 806 HIGHLAND VIEW CT                                                                                          SPOKANE          WA    99223‐6210
MRS DIANA M WEBER                                429 ZEHNDER DR                                                                                                  FRANKENMUTH      MI    48734‐9773
MRS DIANE B BOWERS                               195 BARRA LN                                                                                                    INVERNESS        IL    60067‐8002
MRS DIANE CORLEY DEWART                          18524 NE 191 ST                                                                                                 WOODINVILLE      WA    98072‐8257
MRS DIANE DONEGAN POWELL                         1100 HOMESTEAD RD N #D                                                                                          LEHIGH ACRES     FL    33936‐6002
MRS DIANE E GALLES                               804 JEFF DR                                                                                                     KOKOMO           IN    46901‐3770
MRS DIANE GUZZI PEPITONE                         1 PLUM LN                                                                                                       HOLMDEL          NJ    07733‐1018
MRS DIANE J DEEG                                 2957 W DEEG ROAD                                                                                                AMERICAN FALLS   ID    83211‐5554
MRS DIANE JACKSON                                17 PAYNE DR                                                                                                     ROBBINSVILLE     NJ    08691‐4008
MRS DIANE LESTER SMITH                           186 BEL GRENE DR                                                                                                FISHERSVILLE     VA    22939‐2615
MRS DIANE M PIET                                 1 BISHOP GADSDEN WAY                  APT 116                                                                   CHARLESTON       SC    29412‐3569
MRS DIANE PATSON                                 4467 REGENCY RD                                                                                                 SWARTZ CREEK     MI    48473‐8807
MRS DIANE R HOLLOWAY & DAVID C HOLLOWAY JT TEN   6 PINEBARK CT                                                                                                   BRINKLOW         MD    20862‐9716

MRS DIANE RINTELL                                72 PARK ROW                                                                                                     LAWRENCE         NY    11559‐2524
MRS DIANE S BURROWS                              27 GREGORY DRIVE                                                                                                GOSHEN           NY    10924‐1016
MRS DIANE S JOHNSON PELIS                        1006 S COFFMAN ST                                                                                               LONGMONT         CO    80501‐6613
MRS DIANE SACHS                                  930 VIA MIL CUMBRES #48                                                                                         SOLANA BEACH     CA    92075‐1703
MRS DIANE SMOLAR                                 C/O GIBRALTAR PRIVATE BANK & TRUST    ATTN: DANNY RODRIGUEZ   220 ALHAMBRA CIRCLE SUITE 800                     CORAL GABLES     FL    33134

MRS DIANE SUPRUNOWSKI STRACKE                    227 HIGHVIEW DR                                                                                                 BALLWIN          MO    63011‐3007
MRS DIANE T OTTO                                 C/O DIANE T OTTO PRICE                7769 BETSY LN                                                             VERONA           WI    53593‐8632
MRS DIANE WILSON WILLIAMS                        5259 WOODCREST DR N                                                                                             WINTER PARK      FL    32792‐9243
MRS DIANE YASBECK                                6156 E MASON MORROW                                                                                             MORROW           OH    45152‐9349
MRS DIANE YOUNG DAUGHERTY                        5 BUSSING CT                                                                                                    LUTHERVILLE      MD    21093‐2009
MRS DIANNA FORTNEY FLAVIN                        841 CAMPBELL                                                                                                    FLINT            MI    48507‐2424
MRS DIANNE B DEMPSEY                             826 DOVER COURT                                                                                                 SAN DIEGO        CA    92109‐8013
MRS DIANNE CAMPBELL                              2369 WESTMINSTER TERR                                                                                           OVIEDO           FL    32765‐7554
MRS DIANNE CARAS & GEORGE CARAS JT TEN           1806 ARNOLD AVE                                                                                                 ROCKFORD         IL    61108‐6625
MRS DIANNE KOHL FRITZ                            485 BRINTON LAKE ROAD                                                                                           THORNTON         PA    19373‐1056
MRS DIANNE L PAPPAS                              BOX 860                               1412 MAIN STREET                                                          COTUIT           MA    02635‐3540
MRS DIANNE LIVINGSTON                            3 KELSEY CRESENT                      SUTTON ON                                               L0E 1R0 CANADA
MRS DINA G BENDER                                2602 VENETIA RD                                                                                                 MOBILE           AL    36605‐2825
MRS DOLORES A KOPEC                              5407 GILBERT AVE                                                                                                PARMA            OH    44129‐3029
MRS DOLORES E DAVIES                             1810 BOND PLACE                                                                                                 JANESVILLE       WI    53545‐3414
MRS DOLORES E LA FAVOR                           4929 SMOKE HOLLOW ROAD                                                                                          CHARLOTTE        NC    28227‐0322
MRS DOLORES GEBERT                               1805 NE 41ST ST                                                                                                 POMPANO BEACH    FL    33064‐6022
MRS DOLORES J LESSIG                             2841 LANDON DR                                                                                                  SILVER LAKE      OH    44224‐3713
MRS DOLORES J WENTZEL                            10243 W MELVINA ST                                                                                              WAUWATOSA        WI    53222‐2326
MRS DOLORES KAZARIAN                             9624 LEMORAN DOWNEY                                                                                             DOWNEY           CA    90240‐3006
MRS DOLORES M OWENS                              43 MIDDLE ST APT 102 BLDG 4                                                                                     SACO             ME    04072‐3387
MRS DOLORES M PANCURAK CUST KATHLEEN             787 OCEAN AVE                         APT 414                                                                   LONG BRANCH      NJ    07740‐4929
PANCURAK UGMA NJ
MRS DOLORES M STEVENS CUST CHRISTOPHER J         PO BOX 525                                                                                                      OSPREY           FL    34229‐0525
STEVENS UGMA OH
MRS DOLORES M WISCOMB & MISS YVONNE D            135 VALDEZ AVE                                                                                                  SAN FRANCISCO    CA    94112‐1322
WISCOMB JT TEN
MRS DOLORES MC MULLEN                            818 BUCKINGHAM ROAD                                                                                             CUMBERLAND       MD    21502‐2717
MRS DOLORES Z BOURKE                             42 BARRETT DR                                                                                                   FORT THOMAS      KY    41075‐1004
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Name                                            Address1                              Address2                      Address3   Address4          City            State Zip

MRS DOLPHINE S TERRELL CUST JEAN STUART TERRELL 1201 LANGHORNE RD #10‐A                                                                          LYNCHBURG       VA    24503‐2541
UGMA VA
MRS DOMENICA B BELLENOIT & GEORGE C BELLENOIT JT 48 VINE ST                                                                                      NEW BEDFORD     MA    02740‐5633
TEN
MRS DONA B WORRELL CUST HEATHER K WORRELL        29500 HEATHERCLIFF RD #28                                                                       MALIBU          CA    90265‐6028
UGMA TX
MRS DONNA B BENNETT                              9279 W JASON DR                                                                                 PEORIA          AZ    85382‐3653
MRS DONNA BARNES                                 426 MANOR AVE                                                                                   CRANFORD        NJ    07016‐2062
MRS DONNA C SUGG                                 PO BOX 5069                                                                                     SAN ANGELO      TX    76902‐5069
MRS DONNA D LOWENTHAL CUST AMY LOWENTHAL         2101 LAKESIDE DR                                                                                LEXINGTON       KY    40502‐3018
UGMA KY
MRS DONNA E ZIONTZ CUST MAX ZIONTZ U/THE         1731 SW 3RD AVE                                                                                 POMPANO BEACH   FL    33060‐9114
FLORIDA GIFTS TO MINORS ACT
MRS DONNA ERICKSON SCOTT                         10159 E FORK RD                                                                                 RUSSELLVILLE    OH    45168‐9712
MRS DONNA GRAY MARINO & VINCENT M MARINO JT 168 HADDAM QUARTER ROAD                                                                              DURHAM          CT    06422‐1608
TEN
MRS DONNA J ROBERTS CUST JANE C ROBERTS UGMA     2475 MEADOW RANCH RD                                                                            SOLVANG         CA    93463‐9412
CA
MRS DONNA J SUTHARD                              RR 1 275G                                                                                       PHILIPPI        WV    26416‐9765
MRS DONNA JEAN KUPPER                            405 HIGHWAY A1A                      APT 342                                                    SATELLITE BCH   FL    32937‐2318
MRS DONNA JEAN KUPPER & JEFFREY GEORGE KUPPER 13807 GOODMAN ST                                                                                   OVERLAND PARK   KS    66223‐1136
JT TEN
MRS DONNA JEAN KUPPER CUST MELISSA RUTH KUPPER 405 HIGHWAY A1A                        APT 342                                                    SATELLITE BCH   FL    32937‐2318
UGMA MI
MRS DONNA K ORD                                  311 NORMAL AVE                                                                                  SLIPPERY ROCK   PA    16057‐1228
MRS DONNA KUPPER CUST JEFFREY GEORGE KUPPER      13807 GOODMAN ST                                                                                OVERLAND PARK   KS    66223‐1136
UGMA IL
MRS DONNA L FEIGELMAN CUST JOHN ALAN             7716 SCOTIA DRIVE                                                                               DALLAS          TX    75248‐3113
FEIGELMAN UGMA TX
MRS DONNA LEE WEITZEL                            7896 JOLIAN DR                                                                                  CINCINNATI      OH    45242‐6318
MRS DONNA M MROZ                                 20 BOULDER LANE                                                                                 HORSHAM         PA    19044‐1851
MRS DONNA M REDAR                                1422 N GRIFFITH BLVD                                                                            GRIFFITH        IN    46319‐1544
MRS DONNA M RENTSCHLER                           977 BLANCHE DR                                                                                  MIAMSBURG       OH    45342‐4000
MRS DONNA M SHEACH                               1088 HILL CREST DR                                                                              OXFORD          MI    48371‐6016
MRS DONNA M SHIMER                               842 PRESTON DR                                                                                  INDIANAPOLIS    IN    46280‐1748
MRS DONNA M VANN                                 7767 HILLSDALE HARBOR CT                                                                        JACKSONVILLE    FL    32216‐5386
MRS DONNA M WALLACE CUST DENISE M WALLACE        55 PINE LAKE RD                                                                                 DUXBURY         MA    02332‐4347
UGMA MA
MRS DONNA M WALLACE CUST WILLIAM F WALLACE JR PO BOX 104                                                                                         MANOMET         MA    02345‐0104
UGMA MA
MRS DONNA S COVALESKI                            ATTN DONNA S GIBSON                  110 NASH HILL ROAD R D 1                                   HAYDENVILLE     MA    01039‐9720
MRS DORA M WAHL                                  5500 DELHI ST NE                                                                                ALBUQUERQUE     NM    87111‐6313
MRS DORA MAZZA & MISS LYNNE SUE MAZZA JT TEN     100‐12 ALDRICH ST                                                                               BRONX           NY    10475‐4532

MRS DORA ROSEN CUST MISS EILEEN ROSEN UGMA NY   PO BOX 4704                                                                                      QUEENSBURY      NY    12804‐0704

MRS DORA ROSEN CUST STEVEN ROSEN UGMA NY        PO BOX 4704                                                                                      QUEENSBURY      NY    12804‐0704
MRS DORE N JAMES                                PO BOX 150                                                                                       HAWLEY          PA    18428‐0150
MRS DOREEN BURTON                               5325 LAWRENCE AVE E                   HIGHLAND CREEK ON                        M1C 1R5 CANADA
MRS DORIS A GEIER                               111 N WHITE JEWEL CT                                                                             VERO BEACH      FL    32963‐4274
MRS DORIS A PERUE                               5 PROSPECT ST                         BOX 157                                                    RICHMONDVILLE   NY    12149‐0157
MRS DORIS A VINCENT                             1112 HILL ST                                                                                     GALENA          IL    61036‐1320
MRS DORIS B WILCOX                              TERRACE ST                            PO BOX 326                                                 MARLBOROUGH     NH    03455‐0326
MRS DORIS C FIELD                               655 POMANDER WALK                     APT 322                                                    TEANECK         NJ    07666‐1672
MRS DORIS C GRAHAM & MISS KIM R GRAHAM JT TEN   1827 8TH AVE E                                                                                   HIBBING         MN    55746‐1605

MRS DORIS E JOHNSON                             7087 STATE HWY 78                                                                                GRATIOT         WI    53541‐9726
MRS DORIS E SHAY                                SPRING HOUSE ESTATE                   728 NORRISTOWN RD APT B‐121                                LOWER GWYNEED   PA    19002‐2144
                                           09-50026-mg                Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                             Address2               Address3        Address4          City              State Zip

MRS DORIS G AGNEW                               1250 S WASHINGTON ST #214                                                                     ALEXANDRIA        VA    22314‐4455
MRS DORIS GATES RANKIN                          BOX 3294                                                                                      BATON ROUGE       LA    70821‐3294
MRS DORIS H ALEXANDER                           PO BOX 3046                          C/O JOHN R ALEXANDER                                     WILMINGTON        DE    19804‐0046
MRS DORIS HICKS                                 319 NORTHUMBERLAND AVE                                                                        BUFFALO           NY    14215‐3110
MRS DORIS I SLEJKO                              627 MEADOWLANE DR                                                                             RICHMOND          OH    44143‐1945
                                                                                                                                              HEIGHTS
MRS DORIS J MAHAN                               2017 MEADVILLE RD                    BLOCK 24                                                 TITUSVILLE        PA    16354‐7045
MRS DORIS JEAN VOSS                             1530 HAWK AVE                                                                                 MELROSE PARK      IL    60160‐2667
MRS DORIS M DARBY & MRS ANITA M LAWSON JT TEN   3012 WASHBURN ROAD                                                                            DAVISON           MI    48423

MRS DORIS M DUNN                                40 RIVER HEIGHTS DR                                                                           SMITHTOWN        NY     11787‐1714
MRS DORIS M FIOROT                              8331 WHITEFIELD                                                                               DEARBORN HEIGHTS MI     48127‐1132

MRS DORIS M GOODE                              783 CARTER CT                                                                                  PAULSBORO         NJ    08066‐1902
MRS DORIS M LOWE                               510 W RED BANK AVE                                                                             WOODBURY          NJ    08096‐1454
MRS DORIS M MC KNIGHT                          24 MAPLERIDGE DR                      ST ANDREWS MB                          R1A 2Y5 CANADA
MRS DORIS M MC MANN                            38 GOOSE ROCKS ROAD                                                                            KENNEBUNKPORT     ME    04046
MRS DORIS M RABINOVITZ                         65‐09 N MOZART                                                                                 CHICAGO           IL    60645‐4303
MRS DORIS N MC CRUM                            3924 MONET COURT                                                                               ALLISON PARK      PA    15101‐3221
MRS DORIS P ANDERSON                           5300 ZEBULON RD APT 1117                                                                       MACON             GA    31210
MRS DORIS SACKS WILNER CUST JOHN SACKS WILNER  4 HONEYWOOD LANE                                                                               TRENTON           NJ    08638‐1221
UGMA NJ
MRS DORIS SACKSWILNER CUST RICHARD SACKSWILNER 4 HONEYWOOD LANE                                                                               TRENTON           NJ    08638‐1221
UGMA NJ
MRS DORIS SANTE                                323 WALDEN CIR                                                                                 ROBBINSVILLE      NJ    08691‐3448
MRS DORIS SCALIA                               41 SPRUCE ST                                                                                   SMITHTOWN         NY    11787‐1028
MRS DORIS SHORT                                3822 N TAMARACK DR                                                                             BOISE             ID    83703‐4556
MRS DORIS SHULMAN                              5 LOOKOUT DR                                                                                   NORWALK           CT    06854
MRS DORIS W PROCTOR                            103 RAY ST                                                                                     WILLIAMSTOWN      PA    17098‐1410
MRS DORIS Y WEEKS                              922 WEBSTER AVE                                                                                NEW ROCHELLE      NY    10804‐3533
MRS DORLEEN MALLIS                             414 N COURT                                                                                    TUCSON            AZ    85701‐1019
MRS DOROTHEA A MC MULLEN CUST BARBARA A MC     3904 DUNWOODY CIRCLE                                                                           GREENSBORO        NC    27410‐8494
MULLEN UGMA NC
MRS DOROTHEA D SCHAFER                         2820 BURDETTE ST APT 203                                                                       NEW ORLEANS       LA    70125‐2540
MRS DOROTHEA L MILLARD                         5200 PEACHTREE RD UNIT 3313                                                                    ATLANTA           GA    30341‐2744
MRS DOROTHEA LAGENAUR                          1997 N SHEA RD                                                                                 LEXINGTON         IN    47138‐8832
MRS DOROTHEA M SIMMONS                         100 ANNA GOODE WAY                    APT 142                                                  SUFFOLK           VA    23434‐9239
MRS DOROTHY A BADEN                            10706 MAUI CIRCLE                                                                              ESTERO            FL    33928‐2475
MRS DOROTHY A DE GROAT                         6357 BURCHFIELD AVE                                                                            PITTSBURGH        PA    15217‐2732
MRS DOROTHY A DOHERTY                          48 REDWOOD DR                                                                                  ASBURY PARK       NJ    07712‐8702
MRS DOROTHY A EASLICK                          2815 ADAMS BLVD                                                                                SAGINIAW          MI    48602‐3104
MRS DOROTHY A JEFFERY                          910 HEMSATH ROAD                                                                               SAINT CHARLES     MO    63303‐5949
MRS DOROTHY A JESCHKE                          APT 406                               6300 IRVING PARK                                         CHICAGO           IL    60634‐2443
MRS DOROTHY A PARRISH CUST WILLIAM JOSEPH      8189 MEADOWVIEW LANE                                                                           MECHANICSVILLE    VA    23111‐2207
PARRISH UGMA VA
MRS DOROTHY A ZENORINI DIAN                    9 RIVERVIEW AVE                                                                                CLIFFSIDE PARK    NJ    07010‐3001
MRS DOROTHY ALTER                              PO BOX 4777                           NASSAU                                 BAHAMAS
MRS DOROTHY B COUNCE                           C/O CORSON BLAISDELL PA               PO BOX 250                                               MADISON           ME    04950
MRS DOROTHY B DARREL                           200 BRINTONS BRIDGE ROAD R D 7                                                                 WEST CHESTER      PA    19382‐8303
MRS DOROTHY B JENNINGS                         3095 STATE SHED RD                                                                             NATHALIE          VA    24577‐3890
MRS DOROTHY BARTELL                            14443 HALTER ROAD                                                                              WEST PALM BEACH   FL    33414‐1016

MRS DOROTHY BIRNBAUM                            376 GOSHEN RD                        # 120                                                    TORRINGTON        CT    06790‐2722
MRS DOROTHY BLANKENBURG                         823 WOOD LANE                                                                                 PETALUMA          CA    94954‐4353
MRS DOROTHY BODIN STEVENS                       1 HEDGE LANE                                                                                  AUSTIN            TX    78746
MRS DOROTHY BOLTON                              1379 AVE RD                          TORONTO ON                             M5N 2H3 CANADA
MRS DOROTHY C HOWE                              172 BRITTNAY LANE                                                                             PITTSFORD         NY    14534‐4323
MRS DOROTHY C MARTINO                           R F D FAIRLAWN ST                                                                             FARMINGTON        CT    06032
MRS DOROTHY C WILLIAMS                          308 SPALDING RD                                                                               WILMINGTON        DE    19803‐2422
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Name                                             Address1                              Address2                 Address3      Address4          City               State Zip

MRS DOROTHY CAMPBELL                             3940 EDGE RD                                                                                   PITTSBURGH         PA    15227‐3410
MRS DOROTHY COCHRAN                              PO BOX 317                                                                                     CARMEL             IN    46082‐0317
MRS DOROTHY COLLINS                              23851 ANDREW BLVE                                                                              BROWNSTOWN         MI    48134
                                                                                                                                                TWNSHP
MRS DOROTHY CONRAD                              9702 CONRAD                                                                                     ALHAMBRA           IL    62001‐2436
MRS DOROTHY D BOOK                              522 ANTELOPE TRAIL                                                                              HUNTINGTON         CT    06484‐2849
MRS DOROTHY D LEVIN                             163 LIBERTY CT                                                                                  OAK RIDGE          TN    37830‐6867
MRS DOROTHY DE CAPITO CUST PATRICIA DE CAPITO   1141 DODGE NW                                                                                   WARREN             OH    44485‐1967
UGMA OH
MRS DOROTHY DRATT CANDEE                        738 N 9TH PLAZA                                                                                 PANAMA CITY        FL    32404‐7059
MRS DOROTHY DUNHAM                              139 COTTSWOLD DR                                                                                DELAWARE           OH    43015‐2813
MRS DOROTHY DUNITZ BROWN                        27740 LAKEHILLS DR                                                                              FRANKLIN           MI    48025‐1701
MRS DOROTHY E HENTHORN                          143 WELLESBOROUGH RD                                                                            WINSTON SALEM      NC    27104‐2532
MRS DOROTHY E SCHAFFER                          536 SELKIRK DR                                                                                  MOUNT MORRIS       MI    48458‐8920
MRS DOROTHY E WIRT                              19 KIEFFER DR                                                                                   OLNEY              IL    62450
MRS DOROTHY E WISE                              750 BUCKINGHAM                                                                                  LINCOLN PARK       MI    48146‐3107
MRS DOROTHY ELLEN STORK & CECILIA JANE MCGINNIS 324 DECLARATION LANE                                                                            FLINT              MI    48507
JT TEN
MRS DOROTHY F BRAUNWARTH & ALBERT               51 MAIN ST                                                                                      NEW MILFORD        CT    06776‐2807
BRAUNWARTH JT TEN
MRS DOROTHY FIXLER                              12360 RADOYKA DRIVE                                                                             SARATOGA           CA    95070‐3525
MRS DOROTHY FLATT                               ATTN RONALD W FLATT                    15212 QUIET FOREST CRT                                   COLONIAL HGTS      VA    23834‐5442
MRS DOROTHY G CLEMENTS                          362 TREE FARM RD                                                                                MOULTRIE           GA    31768‐0442
MRS DOROTHY GALE EASTHAM SHADRICK               3773 NORTH BAY DR                                                                               RACINE             WI    53402‐3627
MRS DOROTHY H JOHNSON                           2403 LANSIDE DR                                                                                 WILM               DE    19810‐4510
MRS DOROTHY HAHN                                8 CHERYL LN                                                                                     ROSELAND           NJ    07068‐1139
MRS DOROTHY HARBERT & MRS BETTY ANNE PELGEN JT 4835 MESSING ROAD                                                                                VALLEY SPRINGS     CA    95252‐8948
TEN
MRS DOROTHY J BIGGS                             433 HAMMOND ST                                                                                  WESTERNPORT        MD    21562‐1205
MRS DOROTHY JANE WALLACE                        19735 MEADOWBROOK RD                                                                            HAGERSTOWN         MD    21742‐2522
MRS DOROTHY JASPER                              PO BOX 695                             ALBERTA BEACH AB                       T0E 0A0 CANADA
MRS DOROTHY JEAN WATSON                         11359 MANCHESTER DR                                                                             FENTON             MI    48430‐2589
MRS DOROTHY KAUFFMAN                            712 CANTERBURY HILL                                                                             SAN ANTONIO        TX    78209‐2820
MRS DOROTHY L CARR CUST CRAIG A CARR UGMA PA    131 VALLEY VIEW DR                                                                              PITTSBURGH         PA    15215‐1030

MRS DOROTHY L CARR CUST DAVID W CARR UGMA PA     PO BOX 174                                                                                     AUSTIN             PA    16720‐0174

MRS DOROTHY L GATES                              609 S MAIN STREET                                                                              DAVISON            MI    48423‐1813
MRS DOROTHY L GERBER CUST MISS DORIS L GERBER    C/O DORIS L ORNER                     402 CABIN HOLLOW ROAD                                    DILLSBURG          PA    17019‐9607
U/THE PA U‐G‐M‐A
MRS DOROTHY L MC CASKILL                         1710 DEMERE RD                                                                                 ST SIMONS ISLAND   GA    31522‐2818

MRS DOROTHY L MEYTHALER                          1929 UNIVERSITY AVE                                                                            MADISON            WI    53705‐4012
MRS DOROTHY LAFRENIERE CUST DIANE R LAFRENIERE   14 MOLLEUR VIEW DR                                                                             BEACON FALLS       CT    06403‐1036
UGMA CT
MRS DOROTHY LEVI                                 1555 SAN YSIDRO                                                                                BEVERLY HILLS      CA    90210‐2110
MRS DOROTHY LILLIAN GRENTZ TAULLI                PO BOX 535                                                                                     BELLE CHASSE       LA    70037‐0535
MRS DOROTHY M CALHOUN                            4687 SETTING SUN DR                                                                            EL SOBRANTE        CA    94803‐2109
MRS DOROTHY M CORRIGAN                           575 ALBANY AVE                        APT 332                                                  AMITYVILLE         NY    11701‐1168
MRS DOROTHY M DIXON                              905 DOGWOOD CIR                                                                                ELIZABETHTOWN      KY    42701‐2113
MRS DOROTHY M DUNN                               232 WAWONA                                                                                     PISMO BEACH        CA    93449‐1963
MRS DOROTHY M HURLEY & WILLIAM HURLEY JT TEN     43 JOYCE ST                                                                                    S YARMOUTH         MA    02664‐2938

MRS DOROTHY M LOWRY                              2503 LOURDES RD                                                                                RICHMOND           VA    23228‐3019
MRS DOROTHY M MC DERMOTT                         33‐17 190TH ST                                                                                 FLUSHING           NY    11358‐1937
MRS DOROTHY M NETTLE                             47 TURNSTONE DR                                                                                SAFETY HARBOR      FL    34695‐5329
MRS DOROTHY M PALMER CUST PETER B PALMER         735 ECTON ROAD                                                                                 AKRON              OH    44303‐1651
UGMA OH
MRS DOROTHY M REID BOTTS                         17712 SHARPSBURG AVE                                                                           BATON ROUGE        LA    70817‐2665
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Name                                             Address1                              Address2                Address3       Address4          City             State Zip

MRS DOROTHY M WARREN                             12 SOMERSET DRIVE                                                                              BELVIDERE        NJ    07823‐2504
MRS DOROTHY MARX                                 ATTN LINDA M BERMAS                   15 SURREY ROAD                                           GREAT NECK       NY    11020‐1727
MRS DOROTHY MAXEY MC CREATH                      1000 VICARS LANDING WAY               APT F205                                                 PONTE VEDRA      FL    32082‐3128
MRS DOROTHY MEYER                                C/O JOAN LEVINE                       11806 KILCULLIN COURT                                    DUBLIN           CA    94568‐2351
MRS DOROTHY N MANZIEL                            BOX 6005                                                                                       TYLER            TX    75711‐6005
MRS DOROTHY P COLLIGAN                           PO BOX 296                                                                                     SHELTER IS HT    NY    11965‐0296
MRS DOROTHY P OUTTEN                             PO BOX 15                                                                                      CHERITON         VA    23316‐0015
MRS DOROTHY PARADOSSI                            25 HARRIMAN AVE                                                                                SLOATSBURG       NY    10974‐2632
MRS DOROTHY PERKINS                              2351 S RIDGEWOOD AVE LOT 14                                                                    EDGEWATER        FL    32141‐4223
MRS DOROTHY Q MARTIN                             C/O TERESA LAGGNER                    PO BOX 1710                                              LA MESA          CA    91944‐1710
MRS DOROTHY R HORNE                              26 KAY ST BOX 1122                                                                             WESTBORO         MA    01581‐3809
MRS DOROTHY ROSENBLOOM DOUGLAS                   1514 NE 105TH ST                                                                               SEATTLE          WA    98125‐7652
MRS DOROTHY S BENNETT                            6972 SW 149TH TERR                                                                             MIAMI            FL    33158‐2155
MRS DOROTHY S BLANCHARD & MISS CARLENE S         BOX 64                                                                                         SPRING ARBOR     MI    49283‐0064
BLANCHARD JT TEN
MRS DOROTHY S CALABRESE                          13 VILLAGE DR                                                                                  TRUMBULL         CT    06611‐4800
MRS DOROTHY S JARDINE & ARCHIBALD M JARDINE JT   14 TALL TREE COURT                                                                             TRENTON          NJ    08618‐2720
TEN
MRS DOROTHY S PITSCHKE CUST ROBERT A PITSCHKE    712 CYPRESS ST                                                                                 MONTEREY         CA    93940‐1516
UGMA CA
MRS DOROTHY SMITH                                17 SOUTHAMPTON COURT                                                                           NEWPORT BEACH    CA    92660‐4207
MRS DOROTHY SUE BOGER CUST CHRISTOPHER MARK      3606 CALISTA RD                                                                                WHITE HOUSE      TN    37188‐5209
BOGER UGMA TX
MRS DOROTHY SUE BOGER CUST DAVID WAYNE BOGER     1381 SANDY VALLEY RD                                                                           HENDERSONVILLE   TN    37075‐8776
UGMA TX
MRS DOROTHY T HAINES                             730 AMWELL RD                                                                                  HILLSBOROUGH     NJ    08844‐3219
MRS DOROTHY T KIRK                               301 MYSTIC LANE                                                                                MEDIA            PA    19063‐5317
MRS DOROTHY T MARGARD & MRS KAREN M              6244 ARDMORE WAY                                                                               DUBLIN           OH    43016‐6169
REIMSNYDER JT TEN
MRS DOROTHY T WITHEY                             RD 5 BOX 154‐A ELMCREST                                                                        DALLAS           PA    18612‐9805
MRS DOROTHY V LEE CUST SUSAN JOAN LEE UGMA NJ    115 ALBEMARLE RD                                                                               WALTHAM          MA    02452‐8133

MRS DOROTHY V MC FADDEN                          705 JAY DRIVE                                                                                  YUKON            OK    73099‐1605
MRS DOROTHY VOORHEES                             525 FISK AVE                                                                                   BRIELLE          NJ    08730‐1931
MRS DOROTHY W ARNOLD CUST G DEWEY ARNOLD III     4803 JAMESTOWN RD                                                                              BETHESDA         MD    20816‐2710
UGMA MD
MRS DOROTHY W ARNOLD CUST G DEWEY ARNOLD         4803 JAMESTOWN RD                                                                              BETHESDA         MD    20816‐2710
UGMA MD
MRS DOROTHY W MEYERS                             710 MAPLE VIEW PLACE                                                                           CINCINATTI       OH    45246‐4169
MRS DOROTHY WINTER                               600 FARRELL DR                        APT 210                                                  COVINGTON        KY    41011‐5179
MRS DORTHEA KREHFT                               806 SAXE COURT                                                                                 CHESAPEAKE       VA    23322‐7259
MRS DORY GIBBS & ROBERT L GIBBS SR JT TEN        8469 SW 60TH CIRCLE                                                                            OCALA            FL    34476‐9092
MRS DOVIE S CHASTAIN                             6035 2ND AVE SOUTH                                                                             ST PETERSBURG    FL    33707‐1603
MRS DRUCILLA WETZEL                              APT 901                               1301 N HARRISON ST                                       WILMINGTON       DE    19806‐3168
MRS E CAROLE BOSCO                               49 LYNWOOD RD                                                                                  CEDAR GROVE      NJ    07009‐1917
MRS E JUNE CURTIN                                586 MEADOW SWEET CIR                                                                           OSPREY           FL    34229‐8977
MRS E LORRAINE PAGANI                            26 FAUNCE MOUNTAIN RD                                                                          SANDWICH         MA    02563‐2106
MRS EARLINE M INMAN                              29 JUNIPER LANE S E                                                                            CARTERVILLE      GA    30121‐5260
MRS EDA SHRADER OFFUTT                           8509 IRVINGTON AVE                                                                             BETHESDA         MD    20817‐3815
MRS EDITH A BENNETT                              614 WEST 300 SOUTH                                                                             HEYBURN          ID    83336‐9784
MRS EDITH AUGSBURGER & MISS PATRICIA ANN         423 HAWTHORN ROAD                                                                              LINTHICUM        MD    21090‐2307
AUGSBURGER JT TEN                                                                                                                               HEIGHTS
MRS EDITH D KEELY                                3709 W GALBRAITH RD                   APT 65                                                   CINCINNATI       OH    45247‐3778
MRS EDITH E GRAHAM                               4150 COMMISSIONERS LANE                                                                        SAN ANGELO       TX    76905‐7592
MRS EDITH F DE MAR                               1110 LAKE SHORE DR 12N                                                                         CHICAGO          IL    60611‐1054
MRS EDITH G BACKUS                               HOCHSTRASSE 8                         76646 BRUCHSAL          REPL OF        GERMANY
MRS EDITH G ROBSON                               2486 PIERCE AVE                                                                                NIAGARA FALLS    NY    14301‐1424
MRS EDITH H BLISS                                6848 TOBACCO RIDGE TR                                                                          BEAVERTON        MI    48612‐8407
MRS EDITH I FOLEY                                C/O SHIRLEY SOLOMON                   3815 DOVER PL                                            ST LOUIS         MO    63116‐3211
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Name                                              Address1                              Address2                  Address3      Address4          City            State Zip

MRS EDITH L ABRAMSON                              1122 CLIFTON AVE                                                                                CLIFTON         NJ    07013‐3622
MRS EDITH L HORTON                                136 ARNOLD RD                                                                                   MARSHFIELD      MA    02050‐5108
MRS EDITH L MEAD                                  DEACON GRANT FARM                     PO BOX 425                                                NORFOLK         CT    06058‐0425
MRS EDITH L POOLE                                 100 SYCAMORE DR                       OFC                                                       WEST GROVE      PA    19390‐9481
MRS EDITH L WHEELER                               PO BOX 503                                                                                      JENKINTOWN      PA    19046‐0503
MRS EDITH LEVOR                                   72‐18 137TH ST                                                                                  FLUSHING        NY    11367‐2311
MRS EDITH M CAPOCACCIA                            650 HIGHWAY 193                                                                                 COLLIERVILLE    TN    38017‐4004
MRS EDITH M HOULIHAN                              2‐S 115 HAMPTON LANE                                                                            LOMBARD         IL    60148‐5138
MRS EDITH S ATCHLEY                               19224 ELKTON RD                                                                                 ATHENS          AL    35614‐6731
MRS EDITH S GLOCK                                 6213 W CLUB LANES                                                                               RICHMOND        VA    23226‐2425
MRS EDITH SALGO                                   1459 51ST ST                                                                                    BROOKLYN        NY    11219‐3606
MRS EDITH SELTENHEIM                              75 LAKEVIEW TERR                                                                                OAKLAND         NJ    07436‐1214
MRS EDITH WINTER                                  203 PONUS AVE EXT                                                                               WEST NORWALK    CT    06850‐1715
MRS EDNA BALLINGER                                ATTN PHYLLIS BIRCH                    5026 PACIFIC COAST HWY                                    TORRANCE        CA    90505‐5447
MRS EDNA C NG                                     161‐32 84TH RD                                                                                  JAMAICA         NY    11432‐1729
MRS EDNA HENSGEN                                  181 1/2 S SOUTH ST                                                                              WILMINGTON      OH    45177‐2215
MRS EDNA JEAN WELGE                               5520 GRAND LAKE DR                                                                              SAN ANTONIO     TX    78244‐1612
MRS EDNA KANTER                                   55 THE CIRCLE                                                                                   PASSAIC         NJ    07055‐2422
MRS EDNA M D OLIVA CUST CATHERINE D OLIVA UGMA    2760 YACHT CLUB BLVD                  APT 10‐B                                                  FT LAUDERDALE   FL    33304‐4561
NY
MRS EDNA M F RINACKE & TROY A RINACKE JT TEN      904 PRARIE                                                                                      SHIPMAN         IL    62685‐6739
MRS EDNA M SHEPHERD & MISS FRANCES R SHEPHERD     3816 SW 2ND AVE                                                                                 GAINESVILLE     FL    32607‐2779
JT TEN
MRS EDWINA M COTTRELL                             400 HACIENDA CT                                                                                 LOS ALTOS       CA    94022‐2167
MRS EDWINA R WALKER                               907 KARLSON AVE                                                                                 HYATTSVILLE     MD    20783‐3175
MRS EDYTHE B PFAHL                                1930 CLIFFSIDE DR                     # 113                                                     STATE COLLEGE   PA    16801‐7662
MRS EDYTHE BLOOM                                  THE GABLES                            20 DEVONWOOD DR APT 303                                   FARMINGTON      CT    06032
MRS EDYTHE EISER                                  827 ROANOKE AVE                                                                                 ELIZABETH       NJ    07208‐2504
MRS EDYTHE F GREENE                               67‐87 BOOTH ST                                                                                  FOREST HILLS    NY    11375‐3157
MRS EDYTHE H REPOLE                               C/O EDYTHE ALLMAN                     5948 TRAVELERS WAY        PALM GROVE                      FORT PIERCE     FL    34982‐4053
MRS EDYTHE Z SALZMAN CUST NICHOLAS T SALZMAN      BOX 559                               78 OLD AYER ROAD                                          GROTON          MA    01450‐1828
UGMA NY
MRS EDYTHE Z SALZMAN CUST THOMAS HERSCHEL         BOX 559                               78 OLD AYER ROAD                                          GROTON          MA    01450‐1828
SALZMAN UGMA NY
MRS EFFIE B FRENCH                                30614 GREENLAND STREET                                                                          LIVONIA         MI    48154‐3273
MRS EFFIE R SMITH                                 411 SEMINOLE AVE                                                                                FLORENCE        SC    29501‐5767
MRS EILEEN A CHRISTOPHER                          44 WILTSHIRE DRIVE                                                                              COMMACK         NY    11725‐3333
MRS EILEEN A QUINN CUST GENE V QUINN UGMA MD      6637 RIDGE RD                                                                                   SYKESVILLE      MD    21784‐5953

MRS EILEEN E SPIES                                201 WINTHROP DR                                                                                 CHESHIRE        CT    06410‐1940
MRS EILEEN G LEE CUST MATTHEW J LEE A UGMA CA     7216 ELVORA WAY                                                                                 ELK GROVE       CA    95757‐5905

MRS EILEEN K DENDINGER                            2146 S 38TH ST                                                                                  OMAHA           NE    68105‐3006
MRS EILEEN M CORRIGAN                             26 WOODCREST AVE NE                                                                             ATLANTA         GA    30309‐1525
MRS EILEEN M GORMAN                               C/O MRS E KOLARSICK                   160 MARILYN DR                                            BRICK           NJ    08723‐7940
MRS EILEEN M MILLER                               10610 STORM HAVEN WAY                                                                           INDIANAPOLIS    IN    46256‐9526
MRS EILEEN MANDELL                                285 CLINTON RD                                                                                  BROOKLINE       MA    02445‐4238
MRS EILEEN MC GREEVY & ABIGAIL MC GREEVY JT TEN   1457 CAYUGA                                                                                     SAN FRANCISCO   CA    94112‐3301

MRS EILEEN P LYNCH                                111 AVENHAM DR                                                                                  DELAND          FL    32724‐7349
MRS EILEEN R GILES                                C/O ERNEST GILES                      989 SUMMIT WOOD           VICTORIA BC   V8Y 2S6 CANADA
MRS EILEENE M WOODS                               714 ALEXANDRIA DR                                                                               NAPERVILLE      IL    60565‐3444
MRS EILENE TAMAI                                  14103 SE 167TH ST                                                                               RENTON          WA    98058‐8507
MRS ELAINE A COTTRELL                             380 TWIN LAKES DR                                                                               CLOQUET         MN    55720‐9515
MRS ELAINE C GENENDLIS                            2699 DAYSPRING DR                                                                               HAMPSTEAD       MD    21074‐1057
MRS ELAINE CARSON                                 40 BROOKFIELD AVE                                                                               NUTLEY          NJ    07110‐1802
MRS ELAINE DOBIN                                  4555 ADAMS AVE                                                                                  MIAMI BEACH     FL    33140‐2931
MRS ELAINE EVANS                                  10058 WISE RD                                                                                   BRAINERD        MN    56401
MRS ELAINE GLENN                                  8308 3RD AVE                                                                                    NORTH BERGEN    NJ    07047‐5084
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Name                                              Address1                             Address2             Address3          Address4          City               State Zip

MRS ELAINE GUSTAFSON                            108 MEADOW VIEW AVE                                                                             LINWOOD            NJ    08221‐2232
MRS ELAINE KAISER CUST BARBARA R KAISER UGMA CA 237 S ADELAIDE AVENUE                                                                           HIGHLAND PARK      NJ    08904‐1605

MRS ELAINE L KREPLICK                             143 SEAPORT BLVD                                                                              CAPE CANAVERAL     FL    32920‐5007
MRS ELAINE M MACEACHERN                           4896 TOWNSEND COURT                                                                           MONTAGUE           MI    49437‐1072
MRS ELAINE M RICHARDSON                           402 CHASE DR                                                                                  CORPUS CHRISTI     TX    78412‐2335
MRS ELAINE N FLEG                                 PO BOX 1505                                                                                   COLUMBIA           MD    21044‐0505
MRS ELAINE RICCI LEEGSTRA                         232 OLD CHURCH ROAD                                                                           GREENWICH          CT    06830‐4823
MRS ELAINE S HOUSER                               504 KERFOOT FARM RD                                                                           WILMINGTON         DE    19803‐2444
MRS ELAINE STRUYK COLES                           1680 PLEASANT COURT DRIVE                                                                     SHELDON            IA    51201‐2118
MRS ELAINE Y SMITH CUST HEIDI E SMITH UGMA CT     10 PORTER DR                                                                                  WEST HARTFORD      CT    06117‐3036

MRS ELAYNE G TECHENTIN                         640 MAGNOLIA AVE                                                                                 PASADENA           CA    91106‐3622
MRS ELAYNE S LIEBERMAN CUST ANDREW D LIEBERMAN 375 VIRGINIA AVE                                                                                 SAN MATEO          CA    94402‐2266
U/THE MO U‐G‐M‐A
MRS ELAYNNE D AVOLA                            82 LAWSON RD                                                                                     WINCHESTER         MA    01890‐3155
MRS ELDA F LIPARI & STEPHEN J LIPARI JT TEN    6603 PO BOX                                                                                      LEAWOOD            KS    66206
MRS ELEANOR A WASSERMAN                        79 LINCOLN ST                                                                                    NEW BRITAIN        CT    06052‐1213
MRS ELEANOR AGNES DEVINE                       11485 ARVILLA ST                        WINDSOR ON                             N8P 1L5 CANADA
MRS ELEANOR BOUGHNER                           5 JAPONICA CRES                         BRANTFORD ON                           N3R 1N5 CANADA
MRS ELEANOR BUCK                               3 LINCOLN ST                                                                                     GARDEN CITY        NY    11530‐4014
MRS ELEANOR C LANDIS                           313 HICKORY DR                                                                                   QUARKERTOWN        PA    18951‐1043
MRS ELEANOR C MULLIS                           7600 E MINERAL PL                                                                                CENTENNIAL         CO    80112‐3205
MRS ELEANOR CHESELKA                           5 LINDA LN                                                                                       SETAUKET           NY    11733‐3212
MRS ELEANOR D KLUG                             927 MEYERSVILLE RD                                                                               GILLETTE           NJ    07933‐1009
MRS ELEANOR D TOLBERT                          2381 EMERALD FOREST CIR                                                                          EAST LANSING       MI    48823‐7214
MRS ELEANOR EDGAR                              15288 COOLVILLE RIDGE ROAD                                                                       ATHENS             OH    45701‐9685
MRS ELEANOR F STEVENS                                                                                                                           BLACK RIVER        NY    13612
MRS ELEANOR J CORBAN                           P O BOX#05                                                                                       FAYETTE            MS    39069‐0005
MRS ELEANOR JEAN REATH                         BOX 521                                 100 CENTRAL                                              VULCAN             MI    49892‐0521
MRS ELEANOR K FRENCH                           525 HILLCREST DR                                                                                 BEN LOMOND         CA    95005‐9327
MRS ELEANOR KORN CUST RICHARD CHARLES KORN     3327 MONTMARTE                                                                                   WEST BLOOMFIELD    MI    48323‐3544
UGMA MI
MRS ELEANOR L BLAKELY                          944 NOLAN WAY                                                                                    CHULA VISTA        CA    91911‐2408
MRS ELEANOR L COOPER CUST CURT WILLIAM COOPER 17 HOPLER PLACE                                                                                   NEW FOUND LAND     NJ    07435‐1641
UGMA PA
MRS ELEANOR L SUMMERS                          140 MOUNTAIN AVENUE                                                                              BERKELEY HEIGHTS   NJ    07922‐2634

MRS ELEANOR M BARCLAY                        13136 RAVINE TRAIL                                                                                 FORT WAYNE         IN    46814‐7416
MRS ELEANOR M FEELEY                         211 FOULKEWAYS                                                                                     GWYNEDD            PA    19436
MRS ELEANOR M MAC KINNON                     1931 GARFIELD AVE                         OTTAWA ON                              K2C 0W6 CANADA
MRS ELEANOR M MAURER                         1341 MAJESTIC OAK DR                                                                               APOPKA             FL    32712‐2511
MRS ELEANOR P RUTENBERG                      5499 BRAESVALLEY                          APT 443                                                  HOUSTON            TX    77096‐3116
MRS ELEANOR PHILLIPS                         1304 FOXTAIL DR                                                                                    GRAIN VALLEY       MO    64029‐8400
MRS ELEANOR RANDRUP                          4407 ATWICK RD                                                                                     BALT               MD    21210‐2811
MRS ELEANOR RUTH BROWN & GEORGIA RUTH BROWN 603 BENDING OAK                                                                                     LUFKIN             TX    75904‐5431
JT TEN
MRS ELEANOR S BENTZ & WILLIAM H BENTZ JT TEN 215 MC CALLMONT DR                                                                                 NEW CASTLE         DE    19720‐3331

MRS ELEANOR SANDERS SHEEHY                        7 BUNKER HILL RD                                                                              WOODBRIDGE         CT    06525‐2508
MRS ELEANOR Y JOHNSON                             138 COUNTY RD 2302                                                                            MINEOLA            TX    75773‐2931
MRS ELEANORE MC CURRY & GERALDINE MC CURRY        12735 SCOTT RD                                                                                DAVISBURG          MI    48350‐2927
HOWARD JT TEN
MRS ELEONORA KOBELT                               10 WESTFIELD LANE                                                                             WHITE PLAINS       NY    10605‐5459
MRS ELINOR ARMSTRONG                              BOX 1600                             NEW LISKEARD ON                        P0J 1P0 CANADA
MRS ELINOR D HAWKINS                              BOX 57                                                                                        COVE CITY          NC    28523‐0057
MRS ELINOR F RICE                                 3953 BATAVIA ELBA TOWNLINE RD                                                                 OAKFIELD           NY    14125‐9787
MRS ELINOR H STRICKLAND                           4601 HAMLIN DR                                                                                CORPUS CHRISTI     TX    78411‐3526
MRS ELINOR L GEBHART                              33 S PLEASANT AVE                                                                             FAIRBORN           OH    45324‐4710
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Name                                              Address1                               Address2                      Address3   Address4          City             State Zip

MRS ELINOR LOUISE SLACK                           3011 HAYDEN RD OFC                                                                                COLUMBUS         OH    43235
MRS ELISABETH L WILTERDINK                        35 CHARLESTOWN RD                                                                                 CLAREMONT        NH    03743‐3016
MRS ELISE OLDS                                    1611 SW 170TH                                                                                     SEATTLE          WA    98166‐3341
MRS ELISE S SMALL                                 507 W HILLWOOD DR                                                                                 NASHVILLE        TN    37205‐1234
MRS ELISE V WOOD                                  6513 LONG ISLAND RD                                                                               LONG ISLAND      VA    24569‐3428
MRS ELISSA MARK CUST BARBARA MARK UGMA NY         APT 1B                                 920 BROADWAY                                               WOODMERE         NY    11598‐1701

MRS ELIZA C HADDIX                                1615 BURCHWOOD PLACE                                                                              FAIRBORN         OH    45324‐4011
MRS ELIZABETH A DWYER                             4 ROSEMERE CT                                                                                     ROSLINDALE       MA    02131‐2512
MRS ELIZABETH A MARTZ                             1337 UNDERWOOD AVE                                                                                WILTON           IA    52778‐9316
MRS ELIZABETH A ROGERS                            105 TAYLORS COVE                                                                                  BUDA             TX    78610
MRS ELIZABETH ANDERSON                            32 LEDGEWOOD DRIVE                                                                                FARMINGTON       CT    06032‐1035
MRS ELIZABETH ANN CONLEY                          6239 QUAIL RIDGE WEST                                                                             PLAINFIELD       IN    46168‐9339
MRS ELIZABETH ANN INTIHAR & ALBERT INTIHAR TEN    531 BLUFF ST                                                                                      JOHNSTOWN        PA    15905‐2621
ENT
MRS ELIZABETH B DUTHIE                            21 HOWARD DRIVE                        WILLOWDALE ON                            M2K 1K4 CANADA
MRS ELIZABETH B MAC RURY                                                                                                                            WAKEFIELD        NH    03872
MRS ELIZABETH B TANANBAUM                         APT 27‐C                               190 EAST 72ND ST                                           NEW YORK         NY    10021‐4370
MRS ELIZABETH B TUPPER                            3319 TALLYWOOD COURT                                                                              SARASOTA         FL    34237‐3224
MRS ELIZABETH BAGLAN CLARKE                       511 E WASHINGTON ST                                                                               GREENWOOD        MS    38930‐4540
MRS ELIZABETH BURKE CUST ELIZABETH MARIE BURKE    ATTN LYSA BURKE HORKAN                 20827 TRAPPE ROAD #ROSSFARM                                UPPERVILLE       VA    20184‐3017
U/THE VAU‐G‐M‐A
MRS ELIZABETH C KISER                             58 IRONIA RD                                                                                      MENDHAM          NJ    07945‐3128
MRS ELIZABETH C MC L HALLMANN & BRUNO J           2695 RIDGE ROAD                                                                                   WHITELAKE        MI    48383‐1752
HALLMANN JT TEN
MRS ELIZABETH CHARTER                             121 HAYWARD RD                                                                                    ACTON            MA    01720‐3008
MRS ELIZABETH CLAYTON JOHNSON                     105 MONROE RD                                                                                     SPARTANBURG      SC    29307‐2934
MRS ELIZABETH CONNOLLY                            10516 RIDGE COVE DR                                                                               CHICAGO RIDGE    IL    60415‐1483
MRS ELIZABETH D JONES                             8073 TYLERSVILLE RD UNIT 34                                                                       WEST CHESTER     OH    45069
MRS ELIZABETH DAVIS                               7101 GOODLAND AVE                                                                                 NORTH            CA    91605‐5028
                                                                                                                                                    HOLLYWOOD
MRS ELIZABETH DEASON                              300 VILLAGE LN                         APT 301                                                    BENNINGTON       VT    05201‐9039
MRS ELIZABETH DU MOUCHELLE                        974 CHARRINGTON                                                                                   BLOOMFIELD       MI    48301‐2109
MRS ELIZABETH E MIHALIK                           3414 MESA DR                                                                                      FLOWER MOUND     TX    75022‐6305
MRS ELIZABETH E WOJCIK & ROBERT A WOJCIK JT TEN   10415 PRINCESS MARGARET PLACE                                                                     RICHMOND         VA    23236‐2050

MRS ELIZABETH EGGERS BOHANNON                     1401 SPARROW TR                                                                                   COOPERAS COVE    TX    76522‐1959
MRS ELIZABETH EICHEN                              922 JAMESTOWN ROAD                                                                                WILLIAMSBURG     VA    23185‐3917
MRS ELIZABETH F ROSS                              13 FAIRLAWN CT                                                                                    HILTON HEAD      SC    29926‐1040
                                                                                                                                                    ISLAND
MRS ELIZABETH FOX                                 224 PEPPERIDGE DRIVE                                                                              GENEVA           OH    44041‐7107
MRS ELIZABETH G SWOPE                             NASON DR GEORGE ST                                                                                ROARING SPRING   PA    16673
MRS ELIZABETH H AUSTIN                            201 JOHNSTON ST                                                                                   SAVANNAH         GA    31405‐5606
MRS ELIZABETH H FARRELL                           69 ERIE AVE                                                                                       NEWTON HLDS      MA    02461
MRS ELIZABETH HAIR CARPENTER MRS ELIZABETH        1205 SAN ANTONIO ROAD                                                                             PETALUMA         CA    94952‐9511
CARPENTER
MRS ELIZABETH I DE COCKER                         8625 LANDISVIEW LANE                                                                              ROSEMEAD         CA    91770‐3723
MRS ELIZABETH J BECK & CLAUDE BECK JT TEN         416 RIEGELSVILLE ROAD                                                                             MILFORD          NJ    08848‐1893
MRS ELIZABETH J KOZA & ANN MARIE KOZA JT TEN      G‐3142 W CARPENTER RD                                                                             FLINT            MI    48504
MRS ELIZABETH J KOZA & CAROL LYNNE KOZA JT TEN    G‐3142 W CARPENTER RD                                                                             FLINT            MI    48504

MRS ELIZABETH J WRAY                              212 LYONS AVE                                                                                     COLONIAL HEIGHTS VA    23834‐3151

MRS ELIZABETH K ELKIN                             70 WINTERCRESS LANE                                                                               EAST NORTHPORT   NY    11731‐4713
MRS ELIZABETH K MC CRACKEN                        6207 LAGUNITAS AVE                                                                                EL CERRITO       CA    94530‐1571
MRS ELIZABETH KAUFFMAN NORTON                     33 CAYUGA CT                                                                                      AUERILL PARK     NY    12018‐9672
MRS ELIZABETH KNORR PAYNE                         45 KELSEY ROAD                                                                                    BOXFORD          MA    01921‐2034
MRS ELIZABETH KOONTZ                              204 BRIDGEWATER LN                                                                                NORTHFIELD       OH    44067‐4125
MRS ELIZABETH L LACKY                             11628 82ND TER                                                                                    SEMINOLE         FL    33772‐4026
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Name                                            Address1                              Address2                     Address3          Address4          City             State Zip

MRS ELIZABETH L MAJTAN                          1701 W DONGES BAY RD                  104 NORTH                                                        MEQUON           WI    53092‐5506
MRS ELIZABETH L SAUTTER                         1913 CANTERBURY ROAD                                                                                   ABINGTON         PA    19001‐4503
MRS ELIZABETH L SPANGENBERG                     12866 KELLEY RD                                                                                        BROOKLYN         MI    49230‐8400
MRS ELIZABETH LACY TAYLOR                       PORTUMNA                              COUNTY GALWAY                                  IRELAND
MRS ELIZABETH LYNNE BERNHARDT                   2661 RALEIGH DR                                                                                        YORK             PA    17402‐3916
MRS ELIZABETH M COLLINS                         2245 HOMET RD                                                                                          SAN MARINO       CA    91108‐1327
MRS ELIZABETH M GURGE                           418 ATLANTIC AVE                                                                                       STATEN ISLAND    NY    10305‐2336
MRS ELIZABETH M HURST                           300 PAT MILL RD SW                    APT 16‐B                                                         MARIETTA         GA    30060
MRS ELIZABETH M MOORE                           PO BOX 890                                                                                             MOORESTOWN       NJ    08057‐0890
MRS ELIZABETH M ROGAN                           29 DELAWARE AVE                                                                                        PENNSVILLE       NJ    08070
MRS ELIZABETH M SNIVELY                         117 W KING ST                                                                                          WAYNESBORO       PA    17268‐1233
MRS ELIZABETH MC SWAIN KINNETT                  C/O FLORENCE RONSIEK                  106 NORTH DRIVE                                                  COVINGTON        LA    70433‐4809
MRS ELIZABETH MOSUK & MICHAEL M MOSUK JT TEN    20012 STRATFORD                                                                                        DETROIT          MI    48221‐3502

MRS ELIZABETH MUSCI                              310 CLAY ST                                                                                           CLARKSBURG       WV    26301‐3000
MRS ELIZABETH N CARY                             SCARBOROUGH TERRACE                  RM 113                       600 COMMERCE DR                     SCARBOROUGH      ME    04074
MRS ELIZABETH O KELLY CUST REED ANNE KELLY UGMA 139 CRANE FARM WAY                                                                                     YARMOUTH         ME    04096‐6320
ME
MRS ELIZABETH P DAILEY CUST MARIE C DAILEY UGMA 4148 AMBLESTONE WAY SE 233                                                                             SOUTHPORT        NC    28461‐8426
NC
MRS ELIZABETH P JOHNSON CUST WILLIAM H JOHNSON 78 NAVESINK AVE                                                                                         HIGHLANDS        NJ    07732‐1816
UGMA NJ
MRS ELIZABETH P RUSHIE                           2407 SWEETBRIAR ROAD TARLETON                                                                         WILMINGTON       DE    19810‐3413
MRS ELIZABETH PARK CARTER                        1107 RIVER GLYN                                                                                       HOUSTON          TX    77063‐1516
MRS ELIZABETH PERROW ADAMSON                     3905 DOVER RD                                                                                         RICHMOND         VA    23221‐3320
MRS ELIZABETH R BISHOP                           206 LINDEN PONDS WAY                 UNIT 135                                                         HINGHAM          MA    02043‐3789
MRS ELIZABETH R HERSHBERGER                      259 GARDNER RD                                                                                        RIDGEWOOD        NJ    07450‐4801
MRS ELIZABETH R JOHNSON & ROBERT E JOHNSON JT    142 COUNTY HIGHWAY 119                                                                                ST JOHNSVILLE    NY    13452‐2502
TEN
MRS ELIZABETH R SCHWINN CUST SANFORD J SCHWINN 221 HOPEWELL AMWELL RD                                                                                  HOPEWELL         NJ    08525‐3114
UGMA NJ
MRS ELIZABETH S CARGILL                          415 OVERHILL RD                                                                                       HADDONFIELD      NJ    08033‐3821
MRS ELIZABETH S EMERY                            9216 OYER DR                                                                                          WAYNESBORO       PA    17268‐9205
MRS ELIZABETH S FENDER                           11516 HUNTERS CHAPEL ROAD                                                                             BRANCHVILLE      SC    29432‐2367
MRS ELIZABETH S LIPCSEI                          66 OLSEN DR                          DON MILLS ON                                   M3A 3J3 CANADA
MRS ELIZABETH S LYTTON                           117 PARK AVE                                                                                          SOUTHPORT        NC    28461‐3119
MRS ELIZABETH S STACOM                           3365‐P PEACHTREE CORNERS CIR                                                                          NORCROSS         GA    30092‐4371
MRS ELIZABETH SLOAN SMITH                        4403 WOODHAVEN DR                                                                                     PORTAGE          MI    49024‐5634
MRS ELIZABETH STETSON DOWD                       1242 QUEENS ROAD WEST                                                                                 CHARLOTTE        NC    28207‐2140
MRS ELIZABETH SUTTON STUART                      38 CHAPEL RD                                                                                          AMHERST          MA    01002‐3006
MRS ELIZABETH T HAIN                             144 CANAAN RD                                                                                         NEW PALTZ        NY    12561‐2807
MRS ELIZABETH T OCONNELL                         18439 SE WOOD HAVEN LN                                                                                TEQUESTA         FL    33469
MRS ELIZABETH T VALUSEK                          3335 HAILEY DRIVE                                                                                     MARLTON          NJ    08053‐4346
MRS ELIZABETH TOMKIEWICZ & MRS ELIZABETH J ALLEN PO BOX 133                                                                                            MT DESERT        ME    04660‐0133
JT TEN
MRS ELIZABETH TORRANCE                           38 FORTH STREET                      NORTH BERWICK EAST LOTHIAN   E H 39 4 JQ       GREAT BRITAIN
MRS ELIZABETH W CRAWFORD                         107 FRONTIER RD NE                                                                                    ROANOKE          VA    24012‐3015
MRS ELIZABETH W DEAN                             816 MCKEE ST                                                                                          GUNTERSVILLE     AL    35976‐1412
MRS ELLA A BRINKMANN & MRS PATRICIA CONLEY JT    2681 GOODFELLOWS ROAD                                                                                 TUCKER           GA    30084‐2703
TEN
MRS ELLA C MORRIS                                522 GREENHILL AVE                                                                                     WILMINGTON       DE    19805‐1851
MRS ELLA JEAN LELLELID                           P O DRAWER B                                                                                          COLMAN           SD    57017‐0232
MRS ELLA PAUSKA                                  54 SOLANE AVE                        TORONTO ON                                     M4A 2A5 CANADA
MRS ELLA ULYICSNI                                OSV# 312                             1711 HWY 17 S                                                    SURFSIDE BEACH   SC    29575‐4401
MRS ELLA VICTOR JOHN JOSEPH VICTOR & MICHELE     2406 GEORGELAND                                                                                       DRAYTON PLAINS   MI    48020
MARIE VICTOR JT TEN
MRS ELLEN ADLER                                  16 FOXHALL RD                                                                                         SCARSDALE        NY    10583‐7223
MRS ELLEN B COOPER                               BOX 58                                                                                                WILTON           CT    06897‐0058
MRS ELLEN DRELICK                                LAKE PANORAMA                        33 PANORAMA DRIVE                                                SUSSEX           NJ    07461‐4753
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Name                                              Address1                              Address2                 Address3      Address4          City               State Zip

MRS ELLEN E MASON CUST JOHN A MASON UGMA MI       4675 QUARTON ROAD                                                                              BLOOMFIELD         MI    48301‐1127

MRS ELLEN ESKIN CUST ALYSSA MICHELE ESKIN UGMA    1310 99TH ST                                                                                   BAY HARBOR         FL    33154‐1104
NY                                                                                                                                               ISLAND
MRS ELLEN FOX GREENE                              21 MOORE DR                                                                                    FLEMINGTON         NJ    08822‐3403
MRS ELLEN FRYE                                    C/O VISSON                            RUE IGOR STRAVINSKY 4    CH‐1820       SWITZERLAND
MRS ELLEN GODIGKEIT                               3675 WOODBINE AVE                                                                              WANTAGH       NY         11793‐3044
MRS ELLEN J WITSCHEY                              280 HALLS ROAD                                                                                 NEW MATAMORAS OH         45767‐6033

MRS ELLEN JOY FLEMING                             1545 DOCTOR PENFIELD #403             MONTREAL QC                            H3G 1C7 CANADA
MRS ELLEN K BOATNER                               PO BOX 151                                                                                     FLOSSMOOR          IL    60422‐0151
MRS ELLEN L HEDEMAN                               730 SPORTSMANNECK ROAD                                                                         QUEENSTOWN         MD    21658‐1284
MRS ELLEN L LEVY                                  215 GREYSTONE LN                      APT#8                                                    ROCHESTER          NY    14618‐5115
MRS ELLEN L PRUITT CUST LAURA C PRUITT UGMA CA    BOX 2190                                                                                       SEDONA             AZ    86339‐2190

MRS ELLEN L PRUITT CUST MICHELLE L PRUITT UGMA CA BOX 2190                                                                                       SEDONA             AZ    86339‐2190

MRS ELLEN M HETZ & RONALD A HETZ JT TEN           6428 PRINTZ CT                                                                                 ST LOUIS           MO    63116‐1134
MRS ELLEN M MC ANDRIS CUST CHRISTINE N MC         19 SUNNYSIDE DR                                                                                MONTVALE           NJ    07645‐1319
ANDRIS UGMA NJ
MRS ELLEN MC ANDRIS CUST JOHN J MC ANDRIS JR      19 SUNNYSIDE DR                                                                                MONTVALE           NJ    07645‐1319
UGMA NJ
MRS ELLEN MC NEILL                                PO BOX 757                                                                                     KIMBERTON          PA    19442‐0757
MRS ELLEN P KING                                  720 SADDLEBROOK CLOSE                                                                          ROSWELL            GA    30075‐2455
MRS ELLEN RHICARD                                 97 GILLETTE AVE                                                                                SPRINGFIELD        MA    01118‐1519
MRS ELLEN ROTHERMEL STUART                        4201 LARCHMONT                                                                                 DALLAS             TX    75205‐1616
MRS ELLEN SARNER                                  THE PHILADELPHIAN                     2401 PENNSYULVANIA AVE   APT 6‐B‐31                      PHILADELPHIA       PA    19130
MRS ELLEN SNEAD                                   5315 CLIPPER COVE RD                                                                           MIDLOTHIAN         VA    23112‐6236
MRS ELLEN V KINGSTON                              15 CEDARVIEW LANE                                                                              HAMPTON            NH    03842‐1902
MRS ELLINOR D HAYWARD                             6625 WEST SHORE DRIVE                                                                          EDINA              MN    55435‐1528
MRS ELLYN C PLACEK ZIMMERMAN                      402 E ORCHARD                                                                                  ARLINGTON          IL    60005‐2660
                                                                                                                                                 HEIGHTS
MRS ELLYN L PETERS                                5111 CROOKS RD                        APT 1                                                    ROYAL OAK          MI    48073‐1156
MRS ELOISE C FRAZIER                              38 W LANSING ST                                                                                LITTLE FALLS       NY    13365‐1318
MRS ELOISE F HUMPHRIES & LEWIS COE HUMPHRIES JT   1016 MC CORMICK BLVD                                                                           CLIFTON FORGE      VA    24422‐1040
TEN
MRS ELOISE F HUMPHRIES & MISS HOPE N HUMPHRIES    1016 MC CORMICK BLVD                                                                           CLIFTON FORGE      VA    24422‐1040
JT TEN
MRS ELOISE G LITAKER                              5800 OLD PROVIDENCE RD                APT 6107                                                 CHARLOTTE          NC    28226‐5894
MRS ELOISE HAZEN                                  838 STEVENS CREEK LANE                                                                         FORSYTH            IL    62535‐9712
MRS ELOISE K BUFFENMEYER                          PO BOX 69                                                                                      LERNA              IL    62440‐0069
MRS ELOISE L BRALEY & WILLIAM H BRALEY JT TEN     1 BRALEY LN                                                                                    BARBOURSVILLE      WV    25504‐1803

MRS ELRENE L THOMAS                               201 WOODHAVEN DR                                                                               LEXINGTON          NC    27292‐1667
MRS ELSE BERLIN                                   24 MELROSE PL                                                                                  MONTCLAIR          NJ    07042‐2523
MRS ELSIE M HARTLIEB                              3123 GC & P ROAD                                                                               VALLEY GROVE       WV    26060‐8932
MRS ELSIE M LAING                                 C/O DOROTHY BROWN                     RR 1 MARKDALE ON                       N0C 1H0 CANADA
MRS ELSIE O MOLER                                 9537 RIVIERA DR                                                                                SHERRILLS FORD     NC    28673‐7225
MRS ELSIE WONG                                    1 ELLEN RD                                                                                     WOBURN             MA    01801‐2209
MRS ELTHA R HALLERAN                              5384 LAYTHAM PIKE                                                                              MAYS LICK          KY    41055‐8930
MRS ELVA ENDICOTT                                 1175 S FILLMORE ST                                                                             DENVER             CO    80210‐2016
MRS ELVA MILLICHAMP                               6799 TOEPFER                                                                                   WARREN             MI    48091‐3045
MRS ELVIE M RAMSDELL                              703 FALLS BRIDGE RD                                                                            BLUE HILL          ME    04614‐6513
MRS ELVIRA F MARKS                                4391 MAPLE ST N E                                                                              SAINT PETERSBURG   FL    33703‐5143

MRS EMALYN H SPENCER                              3500 MILL RUN RD                                                                               BIRMINGHAM         AL    35223‐1428
MRS EMELIA D KNOTT                                761 EAST 1850 SOUTH                                                                            BOUNTIFUL          UT    84010‐4121
MRS EMILIE A BOYLAN                               715 PATTERSON SCHOOL RD                                                                        GROVE CITY         PA    16127‐6921
MRS EMILY ABBITT WOODRUM                          2641 CORNWALLIS AVE SE                                                                         ROANOKE            VA    24014‐3339
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MRS EMILY G HARMAN                                3 CAUSTON PLACE                                                                                    SAVANNAH        GA    31411‐2126
MRS EMILY GRIFFIN CUST THOMAS GRIFFIN UGMA NY     131 VOORHEES AVE                                                                                   PENNINGTON      NJ    08534‐2738

MRS EMILY M CRISPENS                             12 LEDGE BROOK RD                                                                                   STAMFORD        CT    06903‐3717
MRS EMILY M SMITH                                1836 OAK LEVEL RD                                                                                   BASSETT         VA    24055‐4254
MRS EMILY ROBBINS                                58 CEDAR DR                                                                                         STANDISH        ME    04084‐5313
MRS EMILY S STAGE                                12 CRAIG PL                                                                                         BLOOMFIELD      NJ    07003‐5508
MRS EMILY SUE LAWRENCE MARTINEZ & A NORBERT      8516 HANNETT AVE NE                                                                                 ALBUQUERQUE     NM    87112‐3833
MARTINEZ JT TEN
MRS EMILY V MAYFIELD & MRS HELEN K MASSEY JT TEN PO BOX 7102                                                                                         HUNTINGTON      WV    25775‐7102

MRS EMILY W HOLLOWAY                             107 BRANCHWOOD DRIVE                                                                                LIBERTY         SC    29657‐9559
MRS EMILY WARD NIXON                             1816 RICHVIEW RD                                                                                    MT VERNON       IL    62864‐2883
MRS EMMA C POLSON                                107 RONELE DR                                                                                       BRANDON         FL    33511
MRS EMMA C STRAUB & MRS PHYLLIS M LIEDKIEWICZ JT 20222 WESTHAVEN                                                                                     SOUTHFIELD      MI    48075‐7923
TEN
MRS EMMA GUY THOMPSON CUST WILLIAM MCD           217 FOREST LANE                                                                                     COLLEGEVILLE    PA    19426
THOMPSON UGMA NC
MRS EMMA JANE HYNSON                             1854 EVERHART DR                                                                                    ORLANDO         FL    32806‐3397
MRS EMMA JEAN GANEY                              22777 WEST TEN MILE ROAD                                                                            SOUTHFIELD      MI    48034‐3211
MRS EMMA JEAN LOGAN                              28142 SEAFORD RD                                                                                    LAUREL          DE    19956‐3703
MRS EMMA KEHOE                                   43 MUNSEE DR                                                                                        CRANFORD        NJ    07016‐3413
MRS EMMA MC COY                                  620 KERRIA                                                                                          MC ALLEN        TX    78501‐1784
MRS EMMA MORSCH                                  C/O JACKSON                             49 E 96TH ST            APT 1C                              NEW YORK        NY    10128
MRS EMMA S ORSINI                                2244 RIDGE RD                                                                                       NORTHUMBERLND   PA    17857‐8800

MRS EMMA WHIPPLE                                  PO BOX 2                                                                                           CASSA DAGA      FL    32706‐0002
MRS EMMETT V MC KINNEY                            ROUTE 2                                                                                            KUTTAWA         KY    42055‐9804
MRS EMMY LOU SCHUETTE                             9029 BRIAR FOREST DR                                                                               HOUSTON         TX    77024‐7220
MRS EMORFIA BARKER                                6303 WHITE SABAL PALM LN                                                                           GREENACRES      FL    33463‐8316
MRS ENIS WESTON                                   21 MAPLE ST                                                                                        BANGOR          ME    04401
MRS ERA STAVROPOULOS                              979 N PENN DR                                                                                      WEST CHESTER    PA    19380‐4328
MRS ERCELL B RATLIFF                              4322 PHILLIPS PL                                                                                   JACKSONVILLE    FL    32207‐6233
MRS ERIKA B HUMMEL & MARTIN J HUMMEL JT TEN       4909 NORTHEASTER DRIVE                                                                             WILMINTON       NC    28409‐8954

MRS ERIKA BLOOMFIELD                           81‐10 135TH ST                                                                                        KEW GARDENS     NY    11435‐1050
MRS ERIKA R ROSERA CUST TEGRA A ROSERA UGMA PA 1430 TERRILL RD                                                                                       SCOTCH PLAINS   NJ    07076‐2507

MRS ERMA C FISHER                                 1555 ALVAMAR COURT                                                                                 LAWRENCE        KS    66047‐1713
MRS ERMA LEE F ELLER                              6554 MORGAN RD                                                                                     GREENWELL       LA    70739‐4349
                                                                                                                                                     SPRINGS
MRS ERNA A GIGLER                                 239 RAILROAD ST                                                                                    ALLENTOWN       PA    18102‐5319
MRS ERNA M DE RATH                                5933 SUGARBUSH LA                                                                                  GREENDALE       WI    53129‐2624
MRS ERRISINOLA G BURNETT                          182 SHORE RD                                                                                       OLD GREENWICH   CT    06870‐2422
MRS ESTA ANITA WILDER                             QUINTA LORETO #15                      SAN MIGUEL DE ALLENDE   GTO               37700 MEXICO
MRS ESTELLA G BUCKEL & RUSSELL M BUCKEL JT TEN    2089 POINTER ROAD                                                                                  WEST BRANCH     MI    48661

MRS ESTELLA N COLLAMORE                                                                                                                              NEW HARBOR      ME    04554
MRS ESTELLA P WATTS & JOHNESS WATTS KUISEL JT TEN 6 CORAWAY ROAD                                                                                     SETAUKET        NY    11733‐2270

MRS ESTELLE HANDEL CUST ARTHUR HANDEL U/THE       37 SUNSET DR APT 34                                                                                SARASOTA        FL    34236
NEW YORK U‐G‐M‐A
MRS ESTELLE J KELSEY TR MESTELLE J KELSEY TR UA   5008 LAKERIDGE TERR E                                                                              RENO            NV    89509‐5831
1/23/73
MRS ESTELLE R VERNON                              10504 STABLE LANE                                                                                  POTOMAC         MD    20854‐3866
MRS ESTELLE SEIDENBERG                            3219 CULLENDALE DRIVE                                                                              TAMPA           FL    33618‐1006
MRS ESTELLE TRIBUCHER                             C/O GROBE                              MIRIAM APTS II          135 HAZEL ST 7N                     CLIFTON         NJ    07011‐3434
MRS ESTHER B LANDO                                71 GRANDVIEW DR                                                                                    FAIRPORT        NY    14450‐9546
MRS ESTHER BERG                                   C/O ESTHER D DAVIS                     223 MISSION RIDGE                                           CORRALES        NM    87048‐6410
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MRS ESTHER BORNSCHEUER                          3864 WYNTUCK CIR                                                                               KENNESAW          GA    30152‐4048
MRS ESTHER C JOHNSON                            225 COURTYARD BLVD                    APT 207                                                  SUN CITY CTR      FL    33573‐5761
MRS ESTHER C RAY                                24 CANYON HILLS PL                                                                             SAN RAMON         CA    94582‐4628
MRS ESTHER C SUSZKA                             3828 DRUMMOND RD                                                                               TOLEDO            OH    43613‐4206
MRS ESTHER DEUTSCH                              211 KELL AVE                                                                                   STATEN ISLAND     NY    10314‐4113
MRS ESTHER E CRIPPS                             4747 WHITE CREEK RD                                                                            KINGSTON          MI    48741‐9737
MRS ESTHER E GINIPRO                            KINGS HWY                                                                                      MT ROYAL          NJ    08061
MRS ESTHER FELDMAN CUST MARTIN FELDMAN UGMA     1708 ROYAL GROVE WAY                                                                           WESTON            FL    33327‐1606
NY
MRS ESTHER GALLUB                               80‐34 BARNUM AVE                                                                               PLAINVIEW         NY    11803‐5251
MRS ESTHER KAZDAN                               23655 HERMITAGE ROAD                                                                           CLEVELAND         OH    44122‐4001
MRS ESTHER KOGUT                                1439 LENOX COURT                                                                               WHEELING          IL    60090‐6915
MRS ESTHER LIWAZER CUST ELIZABETH JENNIFER      5348 FRANKLIN RIDGE CIR                                                                        WEST BLOOMFIELD   MI    48322‐4123
LIWAZER UGMA MI
MRS ETHEL A BOERTMAN & MRS JEANNE W SHUELL JT   5291 2 MILE RD                                                                                 BAY CITY          MI    48706‐3071
TEN
MRS ETHEL B PEIRCE                              20112 SCOTT                                                                                    CHAPEL HILL       NC    27517‐8558
MRS ETHEL B REED                                22 HAVEN LN                                                                                    EXETER            NH    03833‐1842
MRS ETHEL BRUNS                                 BOX 505                                                                                        BRECKENRIDGE      CO    80424‐0505
MRS ETHEL COOMBE                                536 SOUTH HILL RD                                                                              GRAHAMSVILLE      NY    12740‐5818
MRS ETHEL ESTES GRAHAM                          909 SPRUCE ST                                                                                  T OR C            NM    87901‐1555
MRS ETHEL F L CHING                             1320 ALEXANDER ST #1003                                                                        HONOLULU          HI    96826‐1219
MRS ETHEL HUBER                                 25 SUNSET DRIVE                                                                                HIGHLAND          IL    62249‐3003
MRS ETHEL HUNTZICKER                            C/O MRS ETHEL DAVIS                   1067 PALOS VERDES BLVD                                   REDONDO BEACH     CA    90277‐5111
MRS ETHEL LEE JOHNSON                           ATTN DONALD JOHNSON                   16007 BOSWELL WAY                                        TAMPA             FL    33647‐2052
MRS ETHEL LEVENGOOD STABLER                     1815 BLACKS BRIDGE RDQ                                                                         ANNVILLE          PA    17003‐9665
MRS ETHEL LILLIAN TEICHROEW                     12 SIXETH PL NE                       BOX 224                                                  OSSCO             MN    55369‐0224
MRS ETHEL M HOLSTEN                             1815 ARLENE DRIVE                                                                              WILMINGTON        DE    19804‐4001
MRS ETHEL M PIERCE                              1104 MANTLE WAY                                                                                TOMS RIVER        NJ    08755‐1147
MRS ETHEL P ATHOS CUST ANNE ATHOS UGMA MD       9811 BELHAVEN RD                                                                               BETHESDA          MD    20817‐1731

MRS ETHEL P ATHOS CUST JANET ATHOS UGMA MD      9811 BELHAVEN RD                                                                               BETHESDA          MD    20817‐1731

MRS ETHEL S GOODNOUGH                           RT 3 BOX 799‐F                                                                                 HARPERS FERRY     WV    25425‐9310
MRS ETHEL V FOWELL                              2510 KIRSTEN DR                                                                                LODI              CA    95240‐8882
MRS ETHYL WILGUS HAHN                           50 SANTO DOMINGO DR                                                                            TOM'S RIVER       NJ    08757‐6432
MRS ETIENNETTE EMMA FRANZONE                    ROUTE DE LIMOUX                       11230 CHALABRE                         FRANCE
MRS ETTA GRUNFELD                               193 BROADWAY                                                                                   CRESSKILL         NJ    07626‐2101
MRS ETTA MARIE MINER & JAMES G MINER JT TEN     493 BENNINGTON COURT                                                                           SALINE            MI    48176‐1071
MRS ETTA MOORE HOUSE                            115 QUAIL DRIVE                                                                                PLYMOUTH          NC    27962‐2309
MRS ETTA STALKER & B JAMES SCOTT JT TEN         112 AYR HILL AVE N W                                                                           VIENNA            VA    22180‐4513
MRS EUGENIA K GILCHRIST                         74 PARKWAY AVE                        MARKHAM ON                             L3P 2H2 CANADA
MRS EUGENIA P VIRUSKY                           PO BOX 96                                                                                      CRESCENT          GA    31304‐0096
MRS EUGENIA SMITH FARRAR                        25227 SANDHILL TRAIL                                                                           AMES              IA    50010‐9361
MRS EUGENIA Z OSCILOWSKI                        30 MINES ROAD                                                                                  BURLINGTON        CT    06013‐2418
MRS EUNICE A SHAFER CUST RICHARD MARK SHAFER    9128 OLD BONHOMME RD                                                                           ST LOUIS          MO    63132‐4418
UGMA MO
MRS EUNICE A SHAFER CUST ROBERT LOUIS SHAFER    9128 OLD BONHOMME RD                                                                           ST LOUIS          MO    63132‐4418
UGMA MO
MRS EUNICE A SHAFER CUST WILLIAM MICHAEL SHAFER 9128 OLD BONHOMME RD                                                                           ST LOUIS          MO    63132‐4418
UGMA MO
MRS EUNICE CLASPER COATES                       39 EL TORO AVE                                                                                 MORGAN HILL       CA    95037‐4307
MRS EUNICE K WELLS                              7700 WOOD RD                                                                                   RICHMOND          VA    23229‐6943
MRS EUNICE M SHAW & JOSEPH E SHAW JT TEN        17259 LOVELAND                                                                                 LIVONIA           MI    48152‐4417
MRS EUNICE MARSH                                408 HIGHGATE                          MOORI HILL               DUNEDIN       NEW ZEALAND
MRS EUNICE V MC GEARY                           1151 DIXIE HIGHWAY                                                                             MADISON           GA    30650‐2239
MRS EVA B WIEDEMEYER                            1015 N ADAMS ST                                                                                CARROLL           IA    51401‐1910
MRS EVA CALDERBANK                              2468 TAMARACK AVE                                                                              SANGER            CA    93657‐3810
MRS EVA E LOUDEN                                40 CROSBY ST                          # 110                                                    MILFORD           NH    03055‐4707
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Name                                               Address1                              Address2              Address3         Address4          City              State Zip

MRS EVA JOYCE SMITH                                1041 WINDSOR PKWY                                                                              MOODY             AL    35004‐3032
MRS EVA K BALAZS                                   240 PLEASANT ST                                                                                ARLINGTON         MA    02476‐8134
MRS EVA K BALAZS CUST ANDRE TH BALAZS UNDER THE    240 PLEASANT ST                                                                                ARLINGTON         MA    02476‐8134
MASSACHUSETTS U‐G‐M‐A
MRS EVA M FULCHER                                  9101 NEW FALLS RD APT B23                                                                      LEVITTOWN         PA    19054‐1818
MRS EVA M PFLUGH CUST CHRIS L PFLUGH UGMA PA       315 SAXONBURG BLVD                                                                             SAXONBURG         PA    16056‐9409

MRS EVA M ZINSMEISTER                              13 BRIDLEPATH RD                                                                               WEST SIMSBURY   CT      06092‐2504
MRS EVA MAURER                                     2009 JARDIN RD                                                                                 LOS LUNAS       NM      87031
MRS EVALYN W KOFF                                  25 RAMSEY ROAD                                                                                 COMMACK         NY      11725‐1101
MRS EVANGELINE BOUVETTE KERR                       16 TARLETON DR                                                                                 CHARLESTON      SC      29407‐7446
MRS EVE J FRANKEL                                  38 DRIFTWOOD DR                                                                                PORT WASHINGTON NY      11050‐1741

MRS EVE MONAT CUTLER & ALLAN M MONAT JT TEN        5896 SW 59TH ST                                                                                OCALA             FL    34474‐7639

MRS EVELEENE S GROGAN                             HUNTCLIFF SUMMIT                       8592 ROSWELL ROAD     APT 627                            ATLANTA           GA    30350
MRS EVELYN C PARCELS                              9210 HALF ACRES ST                                                                              WHITE LAKE        MI    48386‐3326
MRS EVELYN C STONE                                3 CHESTNUT CT                                                                                   RENSSELAER        NY    12144‐3507
MRS EVELYN CIARDIELLO                             142 NUGENT ST N                                                                                 NEW HYDE PARK     NY    11040‐1916
MRS EVELYN D REILLY                               156 ROSS HILL RD                                                                                FAIRFIELD         CT    06430‐3038
MRS EVELYN DAVIDSON                               5348 WOODGATE CT                                                                                EL SOBRANTE       CA    94803‐3888
MRS EVELYN F MC CLURG                             3201 TULLY RD                                                                                   MODESTO           CA    95350‐0831
MRS EVELYN GLASSMAN                               10847 ROYAL DEVON WAY                                                                           LAKE WORTH        FL    33467‐8650
MRS EVELYN K CLAYTON                              15003 VISTA HEIGHTS DR                                                                          CYPRESS           TX    77433‐5820
MRS EVELYN K DRISCOLL & TIMOTHY M DRISCOLL JT TEN 2463 N LAKE ANGELUS RD W                                                                        LAKE ANGELUS      MI    48326‐1047

MRS EVELYN KASER                                   14806 YORKSHIRE RUN DR                                                                         ORLANDO           FL    32828‐7832
MRS EVELYN L SMITH                                 2770‐N N ROGERS ST                                                                             COLUMBUS          IN    47203
MRS EVELYN M BAUMBERGER & PETER J BAUMBERGER       PO BOX 278                                                                                     LINCOLNTON        NC    28093‐0278
JR JT TEN
MRS EVELYN M DUNCAN & GRAHAM H DUNCAN JT TEN       468 SAVAGE FARM DR                                                                             ITHACA            NY    14850‐6508

MRS EVELYN M HARRELSON                             260 LISA LANE                                                                                  OLDSMAR           FL    34677‐2371
MRS EVELYN M MC ALLISTER                           2424 FRYER POINT                                                                               FT LAUDERDALE     FL    33305‐2723
MRS EVELYN M MEVIS                                 10 FOREST PARK BLVD                                                                            JANESVILLE        WI    53545‐2502
MRS EVELYN M MILICIA                               4420 COUNTY RD 26                                                                              WINTERSVILLE      OH    43953‐7162
MRS EVELYN MARIE P KENNEDY                         730 WATTS FERRY                                                                                FRANKFORT         KY    40601‐9235
MRS EVELYN NIEDERQUELL                             3810 N THOMAS RD                                                                               FREELAND          MI    48623‐8816
MRS EVELYN R CARR                                  8605 CLIFFTOP DR                                                                               LAS VEGAS         NV    89134‐8425
MRS EVELYN R OSTERHUBER                            306 ROLLING HILL CT                                                                            CLOVERDALE        CA    95425‐5431
MRS EVELYN SIRMON                                  807 N 6TH STREET                                                                               CLEAR LAKE CITY   IA    50428‐1568
MRS EVELYN SUGAR                                   100 N MILWAUKEE                       APT 402                                                  WHEELING          IL    60090‐3073
MRS EVELYNE N VERNON                               APT 3E                                2575 PEACHTREE ROAD                                      ATLANTA           GA    30305‐3651
MRS EVILENE D JONES                                1922 ROBBIN DRIVE                                                                              CAMDEN            SC    29020‐9526
MRS EVON C JENSEN                                  6804 N AGNES                                                                                   GLADSTONE         MO    64119‐1135
MRS EVVAJEAN MCCAUGHNA & THOMAS R                  2197 PINEWOODS CIR                                                                             NAPLES            FL    34105‐2543
MCCAUGHNA JT TEN
MRS F JOAN HICKEY CUST PATRICIA A HICKEY UGMA VA   2030 WESTMORELAND ST                  APT 101                                                  FALLS CHURCH      VA    22043‐1769

MRS F PATRICIA HUTCHINSON                          1709 OLD FORT DR                                                                               TALLAHASSEE       FL    32301‐5625
MRS FAITH DAMON FRASCA                             9 GEORGE AVE                                                                                   HICKSVILLE        NY    11801‐5926
MRS FANNIE GERELIS                                 30L GARDEN TER                                                                                 N ARLINGTON       NJ    07031‐8211
MRS FANNIE W BOGOM                                 517 W MOUNT AIRY AVE                                                                           PHILADELPHIA      PA    19119
MRS FANNIE W REED                                  2321 ARLINGTON AVE                                                                             MEMPHIS           TN    38114‐4116
MRS FANNY K DE VINE                                248 N WALNUT ST                                                                                WOOSTER           OH    44691‐4812
MRS FAY D VANDERWEST                               511 CHARLES PLACE                                                                              BRANDON           FL    33511‐6424
MRS FAY DAWN KING                                  44 N MAIN ST                                                                                   BEL AIR           MD    21014‐3538
MRS FAY SCHOEN & EUGENE S WAXMAN JT TEN            1704 SKYLINE DR                                                                                TAVARES           FL    32778‐2556
MRS FAYE AUCIELLO                                  PO BOX A                                                                                       EXPORT            PA    15632‐0330
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MRS FAYE B PERIALAS                               664 WESTMORELAND AVE                                                                        KINGSTON        PA    18704‐5324
MRS FAYE M WORTMAN                                516 S KENTUCKY AVE                                                                          EVANSVILLE      IN    47714‐1015
MRS FERDONNA M ANDREW CUST GARY E ANDREW          7234 SHOAFF RD                                                                              FORT WAYNE      IN    46818‐9543
UGMA IN
MRS FERDONNA M ANDREW CUST MISS SUSAN M           7234 SHOAFF RD                                                                              FORT WAYNE      IN    46818‐9543
ANDREW UGMA IN
MRS FERN MUSKETT & MISS SUSAN MUSKETT JT TEN      C/O F M JOHNSON                    178 SURREY HTS                                           WESTLAND        MI    48186‐3732

MRS FERN R TURK                                   11324 CROSLEY                                                                               DETROIT         MI    48239‐2063
MRS FERN V CRANE                                  PO BOX 33                                                                                   SHANDON         OH    45063‐0033
MRS FLORA H DUDLEY                                437 MELBOURNE AVE                                                                           MAMARONECK      NY    10543‐2730
MRS FLORENCE A KRATZERT HOWARD W KRATZERT &       2650 BRAFFINGTON COURT                                                                      DUNWOODY        GA    30350‐5606
EDWARD G KRATZERT JT TEN
MRS FLORENCE A STATHEN & BRUCE C STATHEN JT TEN   7518 W TOUHY AVE                                                                            CHICAGO         IL    60631‐4303

MRS FLORENCE B FURMAN CUST SHELBY W FURMAN       1807 SHEFFIELD TER                                                                           MARION          OH    43302‐6855
UGMA MI
MRS FLORENCE BARSIN                              357 JOEL BLVD                                                                                LEHIGH ACRES    FL    33972‐5238
MRS FLORENCE BERLETH CUST DAVID H BERLETH UGMA 37 STARLIGHT DR                                                                                MORRISTOWN      NJ    07960‐2538
NJ
MRS FLORENCE C FENNELL & ROBERT H FENNELL JT TEN 1217 E 52ND ST                                                                               SAVANNAH        GA    31404‐4217

MRS FLORENCE DUNN ELROD                            618 DALI DR                                                                                BRANDON         FL    33511‐7410
MRS FLORENCE E KALAKAY & STEVEN KALAKAY III JT TEN 401 E 134TH AVE                                                                            DENVER          CO    80241‐1722

MRS FLORENCE E WECK                            1 LONGWOOD DRIVE                                                                               ALGONQUIN       IL    60102‐3053
MRS FLORENCE EHLE                              610 S MAIN ST                                                                                  EDGERTON        WI    53534‐2036
MRS FLORENCE K SIEBERT                         134 HIGH SCHOOL ROAD                                                                           ELKINS PARK     PA    19027‐2008
MRS FLORENCE KAYNE CUST STEPHANIE N KAYNE UGMA 2281 BALLARD WAY                                                                               ELLICOTT CITY   MD    21042‐1712
MD
MRS FLORENCE L HOPKINS                         4 STANFORD HILL RD                                                                             ESSEX           CT    06426‐1431
MRS FLORENCE LESNER                            586 AVENIDA MAJORCA                   UNIT A                                                   LAGUNA WOODS    CA    92637‐6707
MRS FLORENCE LUCZKOVICH                        7 FAWN DR                                                                                      MATAWAN         NJ    07747‐2807
MRS FLORENCE M ARNOLD CUST FREDERICK ARNOLD    122 MOUNTAINVIEW DR                                                                            AVERILL PARK    NY    12018‐2315
U/THE NY U‐G‐M‐A
MRS FLORENCE MARIE CAPORALE                    275 KENWOOD AVE                                                                                HAMDEN          CT    06518‐2119
MRS FLORENCE R DE LUCIA                        3256 E TERRA ALTA BLVD                                                                         TUCSON          AZ    85716‐4540
MRS FLORENCE RUSH POTTS                        30 PETER HORRY CT UNIT# 182                                                                    GEORGETOWN      SC    29440‐7530
MRS FLORENCE RUTH EICHENLAUB                   4333 LYDIA ST                                                                                  PITTSBURGH      PA    15207‐1152
MRS FLORENCE SCHAFFER & THEODORE J SCHAFFER JT 122 W DOWDERY ST                                                                               SANDUSKY        OH    44870
TEN
MRS FLORENCE TIITTO                            100 NEW TEMPLETON RD                  P O 138                                                  HUBBARDSTON     MA    01452‐0138
MRS FLORENCE W BLANK & BERNARD BLANK JT TEN    5309 W GRACE ST                                                                                RICHMOND        VA    23226‐1113

MRS FLORENCE WETTEL WHITE                       409 E FRANKLIN ST                                                                             FAYETTEVILLE    NY    13066‐2346
MRS FLORENCE Y CAWLEY                           40 146 AVE                           ILE PERROT QUEBEC    7JV8P4            ZZZZ CANADA
MRS FLORETT ZITA GRENTZ PITRE                   PO BOX 373                                                                                    BELLE CHASSE    LA    70037‐0373
MRS FLOYS JOHNSON WHEELER                       PO BOX 118                                                                                    ALMA            GA    31510‐0118
MRS FRACES D TUMBLESTON                         168 CLUB ACRES BLVD                                                                           ORANGEBURG      SC    29118‐4111
MRS FRANCENIA S BROWN                           3364 VERA CRUZ WAY                                                                            DECATUR         GA    30034‐5131
MRS FRANCES A BITSKO                            30 CLINTON AVE N                                                                              ROCHESTER       NY    14604‐1404
MRS FRANCES A GELB CUST MISS LISA RANDI GELB    124 JOHN PRESTON DR                                                                           LEXINGTON       SC    29072‐7714
UGMA WA
MRS FRANCES A JAY                               518 E 19TH ST                                                                                 OAKLAND         CA    94606‐1935
MRS FRANCES A STENVIG & MRS NANCY VERSCHEURE JT 254 E SAINT CLAIR                                                                             ROMEO           MI    48065‐5261
TEN
MRS FRANCES ABBOTT LAWS GILBERT                 221 KENDAL DR                                                                                 KENNET SQ       PA    19348‐2336
MRS FRANCES ADOFF                               5550 TUCKERMAN LN                                                                             ROCKVILLE       MD    20852‐4683
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Name                                              Address1                             Address2                   Address3     Address4          City            State Zip

MRS FRANCES ALLEN LEE                             29371 NEW BRADFORD ROAD                                                                        FARMINGTON HILLS MI   48331‐2703

MRS FRANCES ANNE TUCKER                            2824 S COLUMBIA DR                                                                            TULSA           OK    74114‐5629
MRS FRANCES BAHLINGER FREMIN                       1427 KNOLLWOOD DR                                                                             BATON ROUGE     LA    70808‐8650
MRS FRANCES BLESSING CUST CAROLYN F BLESSING       C/O CAROLYN B HALL                  89 GOODWILL AVENUE                                        MERIDEN         CT    06451‐3014
U/THE CONN U‐G‐M‐A
MRS FRANCES C GALLOWAY                             10 DUNHAM ROAD                                                                                SCARSDALE       NY    10583‐6006
MRS FRANCES C KLINE                                3202 NW 23RD TER                                                                              BOCA RATON      FL    33431‐6233
MRS FRANCES COLLINS                                162 SKYLINE DR                                                                                LAKEWOOD        NJ    08701‐5741
MRS FRANCES CROWLEY HURNEY                         4400 EAST WEST HWY 710                                                                        BETHESDA        MD    20814‐4509
MRS FRANCES D RITCHIE                              53 MORNINGSIDE DRIVE W                                                                        BRISTOL         CT    06010‐4550
MRS FRANCES D TOSCANA                              1507 FOREST DR                                                                                RAPID CITY      SD    57701‐4448
MRS FRANCES E MAYO                                 303 YACHT HARBOR DR                                                                           PALM COAST      FL    32137
MRS FRANCES E MITCHELL                             402 SOUTH HICKORY                   BOX 74                                                    SHANNON         IL    61078‐0074
MRS FRANCES G ANTOPOL                              39 WORTH ST                         APT 4W                                                    NEW YORK        NY    10013‐2957
MRS FRANCES G COLIANNI                             PO BOX 369                                                                                    HINSDALE        IL    60522‐0369
MRS FRANCES H HISAOKA                              10022 NAUTICAL PT                                                                             MOORESBURG      TN    37811‐5598
MRS FRANCES H LYON CUST THOMAS H LYON U/THE        C/O THOMAS H LYON                   7208 TRILLIUM                                             EDINA           MN    55435‐4020
MINNESOTA U‐G‐M‐A
MRS FRANCES HAZARD MILES                           4358 TIMUQUANA RD                   UNIT 142                                                  JACKSONVILLE    FL    32210‐8556
MRS FRANCES J STAFFORD                             1000 TANNER DR                                                                                TALLAHASSEE     FL    32310‐6751
MRS FRANCES JESS                                   11401 APPLE VALLEY RD                                                                         APPLE VALLEY    CA    92308‐7503
MRS FRANCES JOAN SMETANA                           101 CONROY AVE                                                                                SCRANTON        PA    18505‐2821
MRS FRANCES K FEAGANS                              99 WALNUT ST                        APT 302                                                   CHATTANOOGA     TN    37403‐1136
MRS FRANCES KASSOWITZ                              APT 2001                            3450 NO LAKE SHORE DRIVE                                  CHICAGO         IL    60657‐2859
MRS FRANCES KOLKER                                 21 E 66TH ST                                                                                  NEW YORK        NY    10021‐5853
MRS FRANCES L BALL                                 2260 UNIVERSITY BLVD N              APT 92D                                                   JACKSONVILLE    FL    32211‐3290
MRS FRANCES L CRISTIANO                            36 E DEVONIA AVE                                                                              MOUNT VERNON    NY    10552‐1007
MRS FRANCES L STOTTLEMYER                          1042 ARMSGATE RD                                                                              SPRINGFIELD     OH    45503‐1481
MRS FRANCES LERNER                                 12 OLD MAMARONECK RD                APT 3E                                                    WHITE PLAINS    NY    10605‐2065
MRS FRANCES LYLE ENGLUND                           10 PEBBLE HILL ROAD                                                                           FAIRPORT        NY    14450‐2613
MRS FRANCES LYNAM HUFFMAN                          2400 HOYT ST                                                                                  WINSTON‐SALEM   NC    27103‐4314
MRS FRANCES M GIBSON                               56 JAMES ST                                                                                   ROSEVILLE       OH    43777‐1228
MRS FRANCES M SMART                                41 CANTONE CIRCLE                                                                             MANCHESTER      CT    06040
MRS FRANCES M SWINSON                              51 SILVER PARK CIR                                                                            KISSIMMEE       FL    34743‐9410
MRS FRANCES MC GANN                                8 BEECH RD                                                                                    WESTFORD        MA    01886‐1423
MRS FRANCES MILBURN                                640 FAIRWAY DR                                                                                CAMARILLO       CA    93010‐8435
MRS FRANCES N LITTLE                               2219 CAHABA RD                                                                                BIRMINGHAM      AL    35223‐1113
MRS FRANCES N LITTLE CUST FRANCES L LITTLE UGMA 2219 CAHABA RD                                                                                   BIRMINGHAM      AL    35223‐1113
AL
MRS FRANCES N LITTLE CUST WALTER P LITTLE III UGMA 3805 KNOLLWOOD DRIVE                                                                          BIRMINGHAM      AL    35243‐5926
AL
MRS FRANCES N MAURY                                277 PLANTATION CIR SOUTH                                                                      PONTA VEDRA     FL    32082‐3936
                                                                                                                                                 BEACH
MRS FRANCES NELSON                                8842 BRIERWOOD RD                                                                              JACKSONVILLE    FL    32257‐5223
MRS FRANCES P ARNOLD                              205 S NORTON AVE                                                                               SYLACAUGA       AL    35150‐3309
MRS FRANCES PECO CUST FRANCINE M GAZZILLIO        ATTN FRANCINE M MULVIHILL            304 RODMAN RD                                             WILMINGTON      DE    19809‐2944
U/THE DELA U‐G‐M‐A
MRS FRANCES POVEROMO                              1992 EASTHILL DR                                                                               BETHLEHEM       PA    18017‐2709
MRS FRANCES R FOWLER                              3952 20TH ST W                                                                                 LEHIGH ACRES    FL    33971
MRS FRANCES R SCOTT                               W 1127 25TH AVE                                                                                SPOKANE         WA    99203‐1236
MRS FRANCES S CASANOVA                            C/O F BEVERLY & ROBIE E              CASANOVA                   1340 SHARP                     BATON ROUGE     LA    70815
MRS FRANCES S MEGINNIS                            615 CHESTNUT AVE #1208                                                                         TOWSON          MD    21204‐3750
MRS FRANCES S PROTZEL                             1228 ARROWHEAD DR                                                                              OLIVETTE        MO    63132‐2402
MRS FRANCES SMITH                                 11632 S KOLIN                                                                                  ALSIP           IL    60803‐2139
MRS FRANCES STOUGH KISER                          H‐400                                6404 21ST AVE W                                           BRADENTON       FL    34209‐7814
MRS FRANCES T COLDREN                             1074 CROSS CREEK DRIVE                                                                         UNIONTOWN       PA    15401
MRS FRANCES T STEELE                              3148 GRACEFIELD RD                   APT 110                                                   SILVER SPRING   MD    20904‐5869
MRS FRANCES TABIADON                              27 CHANCEL LN                                                                                  GLEN ELLYN      IL    60137‐6167
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MRS FRANCES TONI SGRO                           418 ELLERSLIE AVE                                                                           AMBLER           PA    19002‐5608
MRS FRANCES TRABUE HAYNES                       5190 WADDELL HOLLOW RD                                                                      FRANKLIN         TN    37064‐9436
MRS FRANCES W ASTIN                             532 CEDAR ST                                                                                CARROLLTON       GA    30117‐2411
MRS FRANCES W BUXTON                            6900 HOPEFUL RD APT 323                                                                     FLORENCE         KY    41042‐9432
MRS FRANCES W TALMADGE                          2445 NORTHWEST WESTOVER ROAD       #417                                                     PORTLAND         OR    97210‐3156
MRS FRANCES WHITTON WHITE                       1579 MARION AVE                                                                             TALLAHASSEE      FL    32303‐5847
MRS FRANCES ZYBER & THERESA M SHEGOS JT TEN     4186 MOUNTAIN ASH CT                                                                        SWARTZ CREEK     MI    48473‐1582

MRS FRANCINE C SMITH                           29 KOHR RD                                                                                   KINGS PARK       NY    11754‐1201
MRS FRANCINE COHEN                             257 STANDISH RD                                                                              MERION STA       PA    19066‐1133
MRS FRANCINE J STRAUSS                         8 E 83RD ST                                                                                  NEW YORK         NY    10028‐0418
MRS FRANCINE KEAHON CUST ROBERT JOHN KEAHON 35 PARKER AVE                                                                                   NEW CITY         NY    10956‐1722
UGMA NY
MRS FRANCINE M LOMBARDO                        57 GOSHEN RD                                                                                 CHESTER          NY    10918‐4315
MRS FRANCINE PASSARELLI CUST STEVEN PASSARELLI 260 GARTH RD APT 6E4                                                                         SCARSDALE        NY    10583‐4024
UGMA NY
MRS FRANCINE SUSAN GRUBB                       2115 CARRIAGE LANE                                                                           ATCO             NJ    08004‐1102
MRS FRANCIS M JUDSON CUST LARRY W JUDSON UGMA 410 E FORDICE ST                                                                              LEBANON          IN    46052‐1849
IN
MRS FRANCOISE REETER                           3030 STRATFORD                                                                               REDDING          CA    96001‐1330
MRS FRANKIE H KUHN CUST MISS JENNIFER LYNN     ATTN JENNIFER DENNIS MORRIS         2785 W SAN BRUNO                                         FRESNO           CA    93711‐2725
DENNIS UGMAWA
MRS FRANKYE A DIXON                            APT 36                              129 COLUMBIA HEIGHTS                                     BROOKLYN         NY    11201‐7610
MRS FREDA A HOY                                C/O DOUGLAS R HOY                   2006 S CHURCH ST SUITE A                                 BURLINGTON       NC    27215
MRS FREDA A SEMINGSON                          1450 KENNY STREET NW                                                                         PULLMAN          WA    99163‐3723
MRS FREDA SILVERMAN                            25 NORRIS AVE                                                                                METUCHEN         NJ    08840‐1025
MRS FRIEDA LEE                                 54 JOHN ST                                                                                   SAN FRANCISCO    CA    94133‐4811
MRS FUMIE HIRANO                               3437 WEST BLVD                                                                               LOS ANGELES      CA    90016‐4128
MRS G MAXINE DOMGALL                           21698 N 1400 E RD                                                                            DANVILLE         IL    61834‐5513
MRS GABRIELLE RODGERS SHAW                     RD3                                                                                          VOLANT           PA    16156‐9803
MRS GAIL BRENER CUST SETH BRENER UGMA CT       10 BARBARA DR                                                                                RANDOLPH         NJ    07869‐4142
MRS GAIL D LYNCH                               218 SUNSET ARCES                                                                             NEWPORT          VT    05855
MRS GAIL E FULLERTON                           8520 HEATHER RUN DR N                                                                        JACKSONVILLE     FL    32256‐9524
MRS GAIL E MC DERMOTT                          3646 BAY ROAD SOUTH DR                                                                       INDIANAPOLIS     IN    46240‐2978
MRS GAIL GREGSON                               13562 OLD WIRE RD                                                                            LAUREL HILL      NC    28351‐9012
MRS GAIL L JONES                               94 TRITON BAY                       WINNIPEG MB                            R2M 2G2 CANADA
MRS GAIL M FRECHETTE                           22 KIRKBRAE DRIVE                                                                            LINCOLN          RI    02865‐1019
MRS GAIL M STEMPIEN                            9 TIM CLARK CIR                                                                              SIMSBURY         CT    06070‐1215
MRS GAIL M STEVENS                             13436 IROQUOIS WOODS DR                                                                      FENTON           MI    48430‐1636
MRS GAIL N COLGLAZIER                          6 MOULTON DR                                                                                 LONDONDERRY      NH    03053‐4000
MRS GAIL REUTER                                6758 E VIA DORADO                                                                            TUCSON           AZ    85715‐4820
MRS GAIL T GUNTHER & LISA GUNTHER JT TEN       778 MCCOY RD                                                                                 FRANKLIN LAKES   NJ    07417‐1220
MRS GALI CLARK                                 4312 SELKIRK DRIVE W                                                                         FORT WORTH       TX    76109‐5330
MRS GAY C PARRISH                              1489 LAHTI DR                                                                                BELLINGHAM       WA    98226‐8824
MRS GAYLE C KITCHEN                            BOX 1356                                                                                     VENICE           FL    34284‐1356
MRS GAYLE CILIMBURG                            2039 WOOSTER RD D55                                                                          ROCKY RIVER      OH    44116‐2651
MRS GAYLE W HENNICKE                           20255 SOUTHEAST CHERRY BLOSSOMLN                                                             AMITY            OR    97101‐2402
MRS GEAN LOUISE JACOBSON & MRS GEAN B MC       8601 N TROOST AVE                                                                            KANSAS CITY      MO    64155‐2670
MASTERS JT TEN
MRS GENE FLYNN                                 9249 RIDGEWAY AVE                                                                            EVANSTON         IL    60203‐1510
MRS GENE H SHARFF                              APT 3‐C                             426 E 81ST ST                                            NY               NY    10028‐5858
MRS GENETTE GRAGG                              7231 LANE PARK DR                                                                            DALLAS           TX    75225‐2455
MRS GENEVA M JOHNSTON & KATHERINE M JOHNSTON 1706 FERRIS                                                                                    ROYAL OAK        MI    48067‐3685
JT TEN
MRS GENEVA W BROWNETT                          7275 SAN CARLOS RD                                                                           JACKSONVILLE     FL    32217‐3417
MRS GENEVIEVE B CLEMENTS                       105 WOODMONT LANE                                                                            FOREST           VA    24551‐2101
MRS GENEVIEVE E GWYN                           4150 TERRACE DR                                                                              AYDEN            NC    28513
MRS GENEVIEVE E HAGERTY & MRS JOAN M CAMPOY JT P.O. BOX 330                                                                                 COTTLEVILLE      MO    63338‐0330
TEN
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MRS GENEVIEVE JACOMINI                          22417 S 179TH WAY                                                                             GILBERT            AZ    85298‐8966
MRS GENEVIEVE KURDYLA                           74 SABO ST                                                                                    CARTERET           NJ    07008‐1230
MRS GENEVIEVE LEE NEWELL                        C/O J LEE JR                         121 SOUTH TREMONT STREET                                 KANSAS CITY        KS    66101‐3843
MRS GENEVIEVE M TOBE                            5019 WEDDINGTON DR                                                                            DAYTON             OH    45426‐1964
MRS GENEVIEVE P ANTOSZ                          4909 N NOTTINGHAM AVE                                                                         CHICAGO            IL    60656‐3826
MRS GENEVIEVE PADBERG SCHULZ                    497 ROSSLARE DR                                                                               STCHARLES          MO    63304‐0305
MRS GENEVIEVE STASZAK & DARLEEN A MAHLER JT TEN 35300 WOODWARD AVE                   APT 303                                                  BIRMINGHAM         MI    48009‐0954

MRS GENNIEVE A STOOPS                          219 SAUVE RD                                                                                   RIVER RIDGE        LA    70123‐1935
MRS GEORGANNA M ZANI                           758 MARINER CR                                                                                 WEBSTER            NY    14580‐3909
MRS GEORGANNE T MEARS                          6 LEAMY HOUSE                         115 ROUMFORT ROAD                                        PHILA              PA    19119‐1636
MRS GEORGEANNE LODER JACKSON                   PO BOX 440                                                                                     HAMPDEN            ME    04444‐0440
MRS GEORGETTE K BOEHNER                        PO BOX 719                                                                                     STONY BROOK        NY    11790‐0719
MRS GEORGETTE V PETERSON                       512 WESLEY RD NW                                                                               KNOXVILLE          TN    37909‐2655
MRS GEORGIA A KUONI                            111 BERKSHIRE LOOP                                                                             FAIRFIELD GLADE    TN    38558‐7149
MRS GEORGIA BIRCH CUST DOUGLAS W BIRCH U/THE   APT 306                               321 NO OAKHURST DR                                       BEVERLY HILLS      CA    90210‐4151
CALIFORNIA U‐G‐M‐A
MRS GEORGIA F FUSCO                            108 N AUBURNDALE ST                   APT 217                                                  MEMPHIS            TN    38104‐6400
MRS GEORGIA L STRAIN                           PO BOX 261                                                                                     BURNT HILLS        NY    12027‐0261
MRS GEORGIA LITWACK                            250 HAMMOND POND PKWY                 UNIT# 905‐NORTH                                          CHESTNUT HILL      MA    02467‐1533
MRS GEORGIA M DICKSON                          3305 PHILMONT DRIVE                                                                            RALEIGH            NC    27615‐8204
MRS GEORGIA M HULAC                            1120 NEARING ROAD                                                                              MOSCOW             ID    83843‐8771
MRS GEORGIA MARUDAS                            9 WENDOVER ST                                                                                  BALTIMORE          MD    21218‐1833
MRS GEORGIA O STONE CUST MATTHEW G STONE       68 PEPPERMINT TREE                                                                             IRVINE             CA    92618‐3974
UGMA CA
MRS GEORGIANA DREHER                           6 KASTUK DR                                                                                    PUTNAM VALLEY      NY    10579‐3236
MRS GERALDINE BONNESON                         8110 RAVENSWOOD RD                                                                             GRANBURY           TX    76049‐4613
MRS GERALDINE D ZIEGLER                        8601 HOLSTON ROAD                                                                              LOUISVILLE         KY    40222‐5317
MRS GERALDINE DONNELLY CHAPEY                  10710 SHORE FRONT PKWY APT 9C                                                                  ROCKAWAY PARK      NY    11694‐2618
MRS GERALDINE F REIERSON                       1712 PLUM CIRCLE                                                                               WACO               TX    76706‐1629
MRS GERALDINE GREENBERG & CHARLES GREENBERG JT 6 WIMBLEDON COURT                                                                              JERICHO            NY    11753‐2821
TEN
MRS GERALDINE I KOCHNEFF                       204 W 7TH ST                                                                                   MUSCATINE          IA    52761‐3241
MRS GERALDINE J BRALEY                         8925 SPOOKY RIDGE LANE                                                                         CINCANNATI         OH    45242‐7343
MRS GERALDINE J KARPINSKI                      35444 KENSINGTON                                                                               STERLING HEIGHTS   MI    48312‐3774

MRS GERALDINE KUNES                               5800 WOODBINE RD                   BOX 14                                                   WOODBINE           MD    21797
MRS GERALDINE L BYRNE                             4820 BURCHFIELD                                                                             LANSING            MI    48910‐5312
MRS GERALDINE M CODY & MRS EDITH MAYSE JT TEN     1940 SPRINGTREE                                                                             MARYLAND           MO    63043‐2125
                                                                                                                                              HEIGHTS
MRS GERALDINE M MATTERN                           RD1                                                                                         EMLENTON           PA    16373‐9801
MRS GERALDINE MC GEE & GERALD MATHEWS JT TEN      1677 S FORTH AVE                                                                            KANKAKEE           IL    60901

MRS GERALDINE S BARR                              53 BAYVIEW DR                                                                               SWAMPSCOTT         MA    01907‐2628
MRS GERALDINE V JENKINS                           2420 EAST 37TH ST                                                                           LORAIN             OH    44055‐2805
MRS GERDA E COSTA CUST ROSEMARIE DIANNE COSTA     140 RIVER RD                                                                                RED BANK           NJ    07701‐2328
UGMA NJ
MRS GERMAINE ROY                                  5865 VERLAINE                      BROSSARD QC                            J4W 1E8 CANADA
MRS GERTRUDE ALICE DEAN & BEATRICE E HOLBROOK     71 CLARK ST                                                                                 EVERETT            MA    02149‐2105
JT TEN
MRS GERTRUDE ANN VENLET                           PO BOX 3616                                                                                 KALAMAZOO          MI    49003‐3616
MRS GERTRUDE BARCLAY                              21 LEON PL                                                                                  FREDONIA           NY    14063‐1313
MRS GERTRUDE DIMKE                                BOX 513                                                                                     MONROE             NY    10950‐0513
MRS GERTRUDE F CUTLER                             80 DEACONESS RD                    APT 248                                                  CONCORD            MA    01742
MRS GERTRUDE G SILVERNELL                                                                                                                     UNADILLA           NY    13849
MRS GERTRUDE GILLROY                              3 LYNDENWOOD DR                                                                             BROOKFIELD         CT    06804‐3142
MRS GERTRUDE GINAL CUST CHRISTINE O GINAL U/THE   PO BOX 416                                                                                  SUNDERLAND         MA    01375‐0416
NEW YORK U‐G‐M‐A
MRS GERTRUDE H JOHNSON                            709 BROOK DR                                                                                NEWARK             DE    19713‐1308
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Name                                              Address1                               Address2             Address3          Address4          City            State Zip

MRS GERTRUDE HABEL                                4 WILLOW WALK DR LEISURE VLG                                                                    LEDGEWOOD       NJ    07852‐2115
MRS GERTRUDE J HOGAN                              1417 ALBURY ST                                                                                  KEY WEST        FL    33040‐7203
MRS GERTRUDE L PARRISH & GREGORY L PARRISH JT     PO BOX 187                                                                                      NEW BOSTON      IL    61272‐0187
TEN
MRS GERTRUDE M BANDY                              RT 9                                   C166 MARSHA DR                                           CANTON          GA    30115‐9809
MRS GERTRUDE MARCUS                               3350 POPLAR ST                                                                                  OCEANSIDE       NY    11572‐4519
MRS GERTRUDE MARKOWITZ CUST JEFFREY MELROSE       22 BURNHAM LANE                                                                                 VOORHEES        NJ    08043‐4156
UGMA NJ
MRS GERTRUDE NEAL WILSTED                         522 S 800 W                                                                                     BRIGHAM CITY    UT    84302‐2869
MRS GERTRUDE S LEVY                               728 SAILFISH RD                                                                                 WINTER SPRING   FL    32708‐3227
MRS GIGI BENSON CUST WENDY CUNNINGHAM             181 E 73RD ST                                                                                   NEW YORK        NY    10021‐3549
BENSON UGMA NY
MRS GILLIAN W TAYLOR                              PO BOX 745                                                                                      STAUNTON        VA    24402‐0745
MRS GINA MAHER CUST JACQUELINE MARIE MAHER        1513 WEST KEYWEST ST                                                                            BROKEN ARROW    OK    74011‐4299
UGMA NY
MRS GINA WILSON                                   247 DUNVEGAN RD                        TORONTO ON                             M5P 2P3 CANADA
MRS GISELA PELS                                   12 MEADOW LANE                                                                                  GLEN HEAD       NY    11545‐1123
MRS GLADYS DENNIS                                 APT 725                                126 S CYPRESS RD                                         POMPANO BEACH   FL    33060‐7054
MRS GLADYS E COOPER                               3526 FORBES RD                                                                                  BLOOMFIELD      NY    14469‐9782
MRS GLADYS G B MAHLER                             PO BOX 104                                                                                      NAPLES          ID    83847
MRS GLADYS J VANDEPUTTE CUST DAVID E              3920 SADDLE DR                                                                                  COLUMBUS        IN    47203‐3623
VANDEPUTTE UGMA IN
MRS GLADYS M DRAHEIM                              10204 W COLDWATER RD                                                                            FLUSHING        MI    48433‐9757
MRS GLADYS MARY EVANS                             2 FARLEY HILL                          MATLOCK DERBYSHIRE                     GREAT BRITAIN
MRS GLADYS MC CRACKEN                             5575 WAGGONERS GAP RD                                                                           LANDISBURG      PA    17040‐9113
MRS GLADYS WATERMAN                               C/O T H WATERMAN                       200 FOUNTAIN ST                                          NEW HAVEN       CT    06515‐1952
MRS GLENDA M SHELTON                              4105 TWIN FALLS ST                                                                              IRVING          TX    75062‐2970
MRS GLENDA R SHELTON                              4105 TWIN FALLS ST                                                                              IRVING          TX    75062‐2970
MRS GLENNA M LIGHT                                3454 CUSTER ST                                                                                  CINCINNATI      OH    45208‐2529
MRS GLORIA A ARMSTRONG                            PO BOX 147                                                                                      MULLETT LAKE    MI    49761‐0147
MRS GLORIA A CALARCO                              1884 BROAD ST                                                                                   SCHENECTADY     NY    12306‐4818
MRS GLORIA A RAMAUT                               17825 WATERLOO RD                                                                               CHELSEA         MI    48118‐9402
MRS GLORIA B FELDSER                              912 SANDALWOOD PATH                                                                             LANCASTER       PA    17601
MRS GLORIA BREITBART                              40 HERING RD                                                                                    MONTVALE        NJ    07645‐1205
MRS GLORIA C ANDRS                                12230 SLOAN DRIVE                                                                               CHESTER         VA    23836‐3034
MRS GLORIA CONWAY                                 187 PATERSON AVE                       APT 217                                                  MIDLAND PARK    NJ    07432‐1878
MRS GLORIA G FAHRBACH                             1137 HAYES AVE                                                                                  FREMONT         OH    43420‐2874
MRS GLORIA KURILECZ & JOSEPH KURILECZ JT TEN      76 MORNINGSIDE DR                                                                               OSSINING        NY    10562‐3109

MRS GLORIA L EVANS                                W 3923 BERNHILL ROAD                                                                            SPOKANE         WA    99208‐9751
MRS GLORIA M ANILOWSKI                            22 MAIN ST                                                                                      EAST HAMPTON    CT    06424‐1117
MRS GLORIA MC GRANE                               16 SILVER HILL CRT                                                                              PERRY HALL      MD    21128‐9144
MRS GLORIA N RESNICK                              3022 VALWOOD PARKWAY                                                                            DALLAS          TX    75234‐3604
MRS GLORIA P NOBLE CUST LINDA ANN NOBLE U/THE     ATTN LINDA MACCANI                     1930 DUNNIGAN ST                                         CAMARILLO       CA    93010‐3245
INDIANA U‐G‐M‐A
MRS GLORIA PETRILLO                               66 ROUNDHILL DR                                                                                 YONKERS         NY    10710‐2414
MRS GLORIA R KAMISH CUST JOEL D COLLINS UGMA IL   4307 BOBOLINK TERRACE                                                                           SKOKIE          IL    60076‐2003

MRS GLORIA R MARKEL                               7910 W HIGHWAY 40                                                                               COLUMBIA        MO    65202‐9517
MRS GLORIA ROSSELLI                               33 CHATHAM RD                                                                                   CHAPPAQUA       NY    10514‐3507
MRS GLORIA SCHUSTER VAN BUREN                     23 ROOSEVELT AVE                                                                                DUMONT          NJ    07628‐2914
MRS GLORIAGENE HILTY & DONALD HILTY JT TEN        108 ESTATES CT                                                                                  JEANETTE        PA    15644‐9604
MRS GOLDIE FRENKEL                                4524 29TH AVE SOUTH                                                                             MINNEAPOLIS     MN    55406‐3727
MRS GOLDIE I KOSTER                               1931 KING JAMES PARKWAY #201                                                                    WESTLAKE        OH    44145‐3437
MRS GOLDIE S HIRSBERG                             1461 STOVALL RD                                                                                 CLARKSDALE      MS    38614
MRS GRACE A BERLT                                 700 CANTERBURY LANE                                                                             KISSIMMEE       FL    34741‐6128
MRS GRACE ANECHIARICO                             12330 ROSSLARE RIDGE RD                UNIT 502                                                 LUTHVLE TIMON   MD    21093‐8223
MRS GRACE ANN CLARK                               2706 AVENUE C                                                                                   HOLMES BEACH    FL    34217‐2120
MRS GRACE B SHORT                                 154 LYNN                                                                                        SHREVEPORT      LA    71105‐3537
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Name                                             Address1                                  Address2             Address3          Address4          City                State Zip

MRS GRACE C EUBANKS CUST CANDY D CARPENTER       ATTN CANDY D COLLINS                      11110 YODER ROAD                                         ROANOKE             IN    46783‐9691
UGMA IN
MRS GRACE E HARRELSON                            201 REUNION DR                                                                                     ALVARADO            TX    76009‐3714
MRS GRACE ELIZABETH BARRETT                      4 FAIRVIEW AVE                                                                                     PEQUANNOCK          NJ    07440‐1610
MRS GRACE H HALL                                 235 SNEAD DR                              PO BOX 1962                                              FAIRFIELD GLADE     TN    38558‐1962
MRS GRACE H WALLACE                              1803 FRANKLIN BLVD                                                                                 LINWOOD             NJ    08221‐2222
MRS GRACE H WALLING                              BOX 1044                                                                                           OGDEN               UT    84402‐1044
MRS GRACE J BREEN                                PO BOX 67                                                                                          PALOS HEIGHTS       IL    60463‐0067
MRS GRACE KINSEY KATZ                            31 SHAW PL                                                                                         HARTSDALE           NY    10530‐1019
MRS GRACE LOUISE HOYT KLINKE                     1400 E AVE # 203                                                                                   ROCHESTER           NY    14610‐1645
MRS GRACE M BURTON                               PO BOX 621                                                                                         COVINGTON           LA    70434‐0621
MRS GRACE M DONATELLI                            151‐11 26TH AVE                                                                                    FLUSHING            NY    11354‐1515
MRS GRACE M MC KNIGHT                            14225 SR 152                                                                                       TORONTO             OH    43964
MRS GRACE M SMITH                                89 LAKEMONT PARK RD                                                                                HICKORY             NC    28601‐7861
MRS GRACE M WRINN & GORDON W WRINN JT TEN        211 W 63RD #23                            DATE PLNT VILLAGE                                        BRADENTON           FL    33507

MRS GRACE P WERNER                               510 DIETZ STREET                                                                                   ROSELLE             NJ    07203‐2336
MRS GRACE R PARKIN & MRS GRACE E COVEY JT TEN    4 HICKORY LANE                                                                                     CHALFONT            PA    18914‐2013

MRS GRACE V WISDOM                               BOX 369                                                                                            OKEENE              OK    73763‐0369
MRS GRACE VAN WINKLE PICAZIO                     161 BROWERTOWN RD                                                                                  LITTLE FALLS        NJ    07424‐1738
MRS GRACE WELLS ADAMSON                          26 WEST DR                                                                                         NORTH               NY    11758‐1461
                                                                                                                                                    MASSAPEQUA
MRS GREGORY K CASTETTER CUST JOHN G CASTETTER    1136 AUDOBON RD                                                                                    PARK HILLS          KY    41011‐1902
UGMA OH
MRS GREGORY K CASTETTER CUST THOMAS R            2604 PINE MARSH DR                                                                                 GROVE CITY          OH    43123‐1866
CASTETTER UGMA OH
MRS GRETA A TORRES                               1971 BENEDICT AVE                                                                                  BRONX               NY    10462‐4401
MRS GRETA EAREGOOD                               4139 SEIDEL PL                                                                                     SAGINAW             MI    48603‐5634
MRS GRETA F SOWDEN & MRS SHARON L RICHARDSON     117 BELLA VISTA DR APT 29                                                                          GRAND BLANC         MI    48439‐1584
JT TEN
MRS GRETCHEN H MAYNE                             1518 TURKEY RUN ROAD                      WELDIN FARMS                                             WILMINGTON          DE    19803‐3918
MRS GRETCHEN L RICHARDS                          2189 RUSH MENDON RD                                                                                RUSH                NY    14543‐9402
MRS GRETCHEN M REED                              5782 TRASK RD                                                                                      MADISON             OH    44057‐9555
MRS GRETHEL B BENNETT                            656 E MAIN ST                                                                                      BARNESVILLE         OH    43713‐1455
MRS GWEN BAKOS                                   PO BOX 126                                                                                         ATLANTIC HLDS       NJ    07716‐0126
MRS H ELIZABETH MC GINNIS                        2110 WETHERBURN RD                                                                                 CHRISTIANSBRG       VA    24073‐7190
MRS HALINE J ACKLEY                              5200 E MT MORRIS RD                                                                                MT MORRIS           MI    48458‐9730
MRS HANNAH M THOMAS                              C/O KIM WHITE C/O COX HALLET WILKINSON    P O BOX 1561         HAMILTON          HM FX BERMUDA
MRS HANSELL C PALME                              3446 NUTMEG CT                            BELMONT ESTATES                                          HARRISONBURG        VA    22801‐5315
MRS HARRIET A FINKENBINDER                       2261 SWEDISH DR APT 3                                                                              CLEARWATER          FL    33763‐2607
MRS HARRIET BAKER                                970 AURORA AVE APT F206                                                                            BOULDER             CO    80302‐7299
MRS HARRIET C CARRAWAY CUST ABBE L CARRAWAY      1997 BELAIR COURT                                                                                  MT PLEASANT         SC    29464‐6291
UGMA SC
MRS HARRIET ELFMAN                               1323 QUINCY DR                                                                                     WILMINGTON          DE    19803‐5131
MRS HARRIET ETTA SCHWARTZ CUST DEBORAH BETH      47 CANDLEWOOD RD                                                                                   SCARSDALE           NY    10583‐6042
SCHWARTZ UGMA NY
MRS HARRIET J FREEMAN CUST LESLIE NEAL FREEMAN   799 GLENGARRY DR                                                                                   MELBOURNE           FL    32940‐1867
UGMA MI
MRS HARRIET JACOBS                               66 CONFORTI AVE                                                                                    WEST ORANGE         NJ    07052‐2827
MRS HARRIET MARINI & ARTHUR E MARINI JT TEN      117 HILLSIDE AVE                                                                                   PEARL RIVER RIVER   NY    10965‐1705

MRS HARRIET SLOAN MAHER                          654 PELZER DR                                                                                      MT PLEASANT         SC    29464‐3557
MRS HARRIET STUART CUST PETER STUART UGMA CA     1551 S ROBERTSON BLVD                                                                              LOS ANGELES         CA    90035‐4257

MRS HARRIET VOLIN                                25 APPOMATTOX DR                                                                                   MANALAPAN           NJ    07726‐1801
MRS HARRIET WAGNER                               151 PROSPECT AVE                          APT 18B                                                  HACKENSACK          NJ    07601‐2228
MRS HARRIET ZIMMERMAN                            894 LAKESIDE DRIVE                                                                                 WOODMERE            NY    11598‐1916
MRS HARRIETT ADKINS                              ROUTE 2‐5087                                                                                       BARBOURSVILLE       WV    25504‐9802
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MRS HARRIETT BARSHOW CUST HOWARD ALAN           4113 COLES POINT WAY                                                                           GLEN ALLEN       VA    23060‐7241
BARSHOW UGMA VA
MRS HARRIETT L LAYMAN & JOHN R LAYMAN JT TEN    2702 COLONIAL DR                                                                               LINCOLN          NE    68502‐4220

MRS HARRIETTE M HALVERSON                       4148 AVENDALE                                                                                  MINNETONKA       MN    55343
MRS HARRIETTE PAPISH                            9 SOUNDVIEW DR                                                                                 WESTPORT         CT    06880‐6843
MRS HARRIJANE B HANNON                          33 SANFORD STREET                                                                              BRADFORD         PA    16701‐1340
MRS HATTIE G PENLAND & ROBERT R BRIGGS JT TEN   ATTN ROBERT R BRIGGS                  1001 LEWIS LANE                                          STEILACOOM       WA    98388‐3700

MRS HAZEL A WILSON                              30 COOLIDGE AVE                                                                                LEXINGTON        MA    02420‐1804
MRS HAZEL DAVIS                                 1320 LITTON ROAD                                                                               SHAW             MS    38773‐9561
MRS HAZEL ELISE GODHELP                         4911 TAMARISK LN                                                                               BELLAIRE         TX    77401‐2823
MRS HAZEL G REAMS                               414 E PINE ST                         APT 509                                                  ORLANDO          FL    32801‐2857
MRS HAZEL G REAMS CUST GARY A REAMS U/THE       20 W LUCERNE CIRCLE APT 319                                                                    ORLANDO          FL    32801‐3703
FLORIDA GIFTS TO MINORS ACT
MRS HAZEL M DINGIANNI                           4112 JEFFERSON HWY #227                                                                        JEFFERSON        LA    70121‐4404
MRS HAZEL M SHIELDS                             97 PICKENS ST                                                                                  LAKEVILLE        MA    02347‐1905
MRS HEATHER MC LEOD JUNGE                       3626 NORLEDGE                                                                                  KC               MO    64123‐1153
MRS HEDWIG A WILHELM                            4 HIGHLAND RD                                                                                  ROCKPORT         MA    01966‐1217
MRS HEDWIG T STARK                              29 BROOK HOLLOW LANE                                                                           MURRAY HILL      NJ    07974‐2601
MRS HEDY KAUFMAN                                3612 TIBBETT AVE                                                                               BRONX            NY    10463‐2210
MRS HELEN A DAGUE & WILLIAM T DAGUE TEN ENT     89 CRESTLINE AVENUE                                                                            CHARLEROI        PA    15022‐2510

MRS HELEN A YAGER                             1080 BAY ST #18                                                                                  FLORENCE         OR    97439‐9349
MRS HELEN AWDZIEWICZ                          84 HIGBY DR                                                                                      MERIDEN          CT    06450‐3515
MRS HELEN B BOOTH                             800 WEST 30TH ST                                                                                 RICHMOND         VA    23225‐3515
MRS HELEN B KOENIG                            915 SAXON HILL DR                                                                                COCKEYSVILLE     MD    21030‐2905
MRS HELEN B KORBAN & MRS MARIAN CUTHBERT JT   5225 POOKS HILL RD 1020‐S                                                                        BETHESDA         MD    20814‐6718
TEN
MRS HELEN B WILCOX                            1721 ROCK DR                                                                                     DECATUR          IL    62521‐9209
MRS HELEN BROWN                               C/O OFC OF THE PUBLIC GUARDIAN          PO BOX 812                                               TRENTON          NJ    08625‐0812
MRS HELEN C CLARK                             4835 WEST LAWTHER                       APT 601                                                  DALLAS           TX    75214‐1852
MRS HELEN C EAMES                             3104 N STRATFORD                                                                                 ARLINGTON HTS    IL    60004‐1748
MRS HELEN C EVERETT                           C/O R C EVERETT                         22 RUTGERS PL                                            SCARSDALE        NY    10583‐4906
MRS HELEN C MASTEN CUST THERESA YVONNE MASTEN 1279 HOLLYWOOD AVE                                                                               CINCINNATI       OH    45224‐1552
UGMA
MRS HELEN C PARKER                            1310 BEECH BLVD                                                                                  ATLANTIC BEACH   NY    11509‐1613
MRS HELEN CAZEPIS                             1939 JACKSON AVE                        # 219                                                    ANN ARBOR        MI    48103‐4041
MRS HELEN CHWALYK                             6010 ALLANWOOD DRIVE                                                                             PARMA            OH    44129‐4128
MRS HELEN CLEON ARGYRIADES                    26 SKOUFA ST                            ATHENS 136                             GREECE
MRS HELEN D ADDABBO                           342 SOUTH ST                                                                                     BRISTOL          CT    06010‐6510
MRS HELEN DOMURAT                             100 PRINCESS STREET                                                                              HICKSVILLE       NY    11801‐1100
MRS HELEN DORIS COLASANTI                     1321 MAIN ST                                                                                     ROTTERDAM        NY    12150‐9746
                                                                                                                                               JUNCTION
MRS HELEN E DUFFY                               4813 MADONNA AVE                                                                               CHATTANOOGA      TN    37412
MRS HELEN E LARRY                               C/O L L SLOAN                         PO BOX 242                                               CLARKS SUMMIT    PA    18411‐0242
MRS HELEN E LEDZIAN                             15 CHESTNUT ST                                                                                 GLEN COVE        NY    11542‐1915
MRS HELEN E MICKELSEN                           113 S MILITARY RD                                                                              WINLOCK          WA    98596‐9322
MRS HELEN ELIZABETH WILSON                      890 FLORELL DRIVE                     OSHAWA ON                              L1H 6W2 CANADA
MRS HELEN FOX                                   68 WOODLAND ROAD                                                                               NEW CANAAN       CT    06840‐5824
MRS HELEN FRANCES LEARS ROGERS                  35 MALIBU COURT                                                                                BALTIMORE        MD    21204‐2047
MRS HELEN G BYRD                                10 BEECH AVE ELSMORE                                                                           WILMINGTON       DE    19805
MRS HELEN GULALO CUST JAMES GULALO JR UGMA NY   41 HATTERTOWN RD                                                                               NEWTOWN          CT    06470‐2411

MRS HELEN H ANDERSON                            104 SPRUCE COURT                                                                               PINE KNOLL SHORES NC   28512‐6534

MRS HELEN H YAWN                                2502 WORDSWORTH                                                                                HOUSTON          TX    77030‐1836
MRS HELEN HENDERSON & RICHARD HENDERSON JT      5707 E 6TH ST                                                                                  TUCSON           AZ    85711‐2419
TEN
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Name                                              Address1                                 Address2             Address3          Address4          City              State Zip

MRS HELEN HULL                                    213 MELROSE AVE                          OTTAWA ON                              K1Y 1V3 CANADA
MRS HELEN I HASSELBRING & MICHAEL E HASSELBRING   PO BOX 234                                                                                        HAWI              HI    96719‐0234
JT TEN
MRS HELEN I OWSIANNY                              1441 S 68TH ST APT 412                                                                            MILWAUKEE         WI    53214‐4974
MRS HELEN J BLASS & GEORGE F BLASS JT TEN         921 N DREXEL                                                                                      DEARBORN          MI    48128‐1613
MRS HELEN J BROWN                                 5155 VICTORY LN                                                                                   BASTROP           LA    71220‐7270
MRS HELEN J MURRAY                                1729 BOXFORD                                                                                      TRENTON           MI    48183‐1810
MRS HELEN J ZUKOFF CUST GARY R ZUKOFF UGMA MI     18422 GREENWALD DR                                                                                SOUTHFIELD        MI    48075‐5863

MRS HELEN JASKIEL                                 1213 AVE U                                                                                        BROOKLYN          NY    11229‐4108
MRS HELEN JEAN MORRIS                             5100 US HIGHWAY 42 APT 532                                                                        LOUISVILLE        KY    40241‐6051
MRS HELEN JOAN KYLE                               705 CONFEDERATION DR                     THUNDER BAY F ON                       P7E 3N5 CANADA
MRS HELEN JOYCE KOONCE                            #102                                     7710 BEECHNUT                                            HOUSTON           TX    77074‐3106
MRS HELEN K BURTON                                22 KELTON CT                                                                                      ALBANY            NY    12209‐1231
MRS HELEN K HENDERSON & JAMES J HENDERSON JT      110 SIENA PLACE                                                                                   DANVILLE          CA    94506‐4682
TEN
MRS HELEN K KRUSELL                               12 CAROL JOY RD                                                                                   MEDFORD           NJ    08055‐9223
MRS HELEN K MAY & WALTER C MAY JT TEN             1993 BURLEWOOD DRIVE                                                                              SAINT LOUIS       MO    63146‐3638
MRS HELEN K TURNER                                ATTN RS                                  9512 DONNA AVE                                           NORTHRIDGE        CA    91324‐1813
MRS HELEN KAPLAN CUST JEFFREY KAPLAN UGMA NY      12 TWIN PEG DR                                                                                    NEW CITY          NY    10956‐2851

MRS HELEN KINZLER SCHLOSSBERG                 BOX 258                                                                                               CHAPPAQUA         NY    10514‐0258
MRS HELEN L COTE                              1401 VILLA DR                                APT D                                                    BUTLER            PA    16001‐3083
MRS HELEN L MURPHY & MRS MARION M NEIMAN JT   679 WARWICK RD                                                                                        WINCHESTER        NH    03470‐2818
TEN
MRS HELEN LOUISE CLARKE                       8 SCOTCH HILL RD                                                                                      MARCELLUS         NY    13108‐1088
MRS HELEN LUCIAN                              159 A CARRIAGE COURT                                                                                  YORKTOWN HTS      NY    10598
MRS HELEN M ARCHER                            1001 SOUTH MAIN STREET                                                                                BELLAIRE          MD    21014‐5466
MRS HELEN M BUTTS                             2111 EASTHAM RD                                                                                       LUTHVLE TIMON     MD    21093‐3307
MRS HELEN M DOELZ                             1011 FELTL CT                                APT 905                                                  HOPKINS           MN    55343‐3912
MRS HELEN M HAAS                              611 S WILLIAM ST                                                                                      MT PROSPECT       IL    60056‐3956
MRS HELEN M MURPHY                            3855 W BAY CIR                                                                                        DALLAS            TX    75214‐2926
MRS HELEN M ROCHE                             20 ROSEDALE BLVD                                                                                      EGGERTSVILLE      NY    14226‐3346
MRS HELEN M ROSENBAUM CUST MELISSA ROSENBAUM 22 BEAVER DAM DR                                                                                       EAST BRUNSWICK    NJ    08816‐2456
UGMA NJ
MRS HELEN M SEIBEL                            3000 BARIMORE PLACE                                                                                   DACULA            GA    30019‐7538
MRS HELEN M SERGEY                            832 SPINDLE HILL RD                                                                                   WOLCOTT           CT    06716‐1220
MRS HELEN M WOOSTER & MRS HELENE L PICKETT JT 2 RAYMOND DRIVE                                                                                       WILBRAHAM         MA    01095‐2605
TEN
MRS HELEN MAC ALLISTER                        412 FIFTH AVE                                                                                         BRADLEY BEACH     NJ    07720‐1216
MRS HELEN MARIE ADAMS                         5108 THEODORE ST                                                                                      MAPLE HEIGHTS     OH    44137‐1330
MRS HELEN MARKSAMER                           10232 BURHAM RD NW                                                                                    ALBUQUERQUE       NM    87114‐3796
MRS HELEN MICHELSON                           451 SUMMIT AVE                                                                                        REDLANDS          CA    92373‐6855
MRS HELEN MILLARD & MISS MILDRED M MILLARD JT 24 SHERWOOD DRIVE                                                                                     WESTPORT          CT    06880‐6624
TEN
MRS HELEN MOORHEAD                            1207 WELLINGTON PL                                                                                    LOUISVILLE        KY    40207‐2240
MRS HELEN MORIARTY                            139 BROOKSIDE DR                                                                                      BELFORD           NJ    07718‐1119
MRS HELEN N LESARTRE                          11900 BARRYKNOLL LN                          APT 8205                                                 HOUSTON           TX    77024‐4374
MRS HELEN OMARA                               14118 SHOAL DRIVE                                                                                     HUDSON            FL    34667
MRS HELEN P VROOMAN                           8 CHURCH ST                                                                                           BRISTOL           VT    05443‐1205
MRS HELEN P W KAHN                            15 SHORE ROAD                                                                                         DOUGLASTON        NY    11363‐1226
MRS HELEN PATRICIA SMITH                      35 SYMOR DR                                                                                           CONVENT STATION   NJ    07960‐6527

MRS HELEN PETERS                                  15605 S 63RD ST                                                                                   ROCA              NE    68430‐4290
MRS HELEN R HOWARD                                2080 S IRONWOOD DR                       UNIT C5                                                  APACHE JCT        AZ    85220‐9569
MRS HELEN R MURPHY                                8013 SE MAMMOTH DR                                                                                HOBE SOUND        FL    33455‐7894
MRS HELEN R STELLA                                2009 VINEVILLE APT D304                                                                           MACON             GA    31204
MRS HELEN R TUCHOLSKI                             3163 ALDRINGHAM                                                                                   TOLEDO            OH    43606‐1811
MRS HELEN REID JUSTICE                            208 STONERIDGE AVE                                                                                MOUNT DORA        FL    32757‐2860
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Name                                               Address1                               Address2                 Address3      Address4          City                 State Zip

MRS HELEN RITCHICK                                 1486 COLUMBIA DR                                                                                NORTH BRUNSWICK NJ         08902‐1616

MRS HELEN STURROCK                                 60 PROSPECT STREET                     BOWMANVILLE ON                         L1C 3H2 CANADA
MRS HELEN T LITTLEPAGE                             2261 COLDWATER ROAD BOX 11                                                                      MASCOT               VA    23108‐2040
MRS HELEN T MAC ALLISTER & AUGUSTUS R MAC          412 5TH AVE                                                                                     BRADLEY BEACH        NJ    07720‐1216
ALLISTER JT TEN
MRS HELEN T STEFANSKI                              1123 ELKER RD                                                                                   UNION                NJ    07083‐5006
MRS HELEN T TSE                                    345 E 86TH ST                          APT 14F                                                  NEW YORK             NY    10028‐4750
MRS HELEN W COHEN                                  APT 5‐C                                2000 LINWOOD AVE                                         FORT LEE             NJ    07024‐3004
MRS HELEN W EZZO                                   112 HADDEN LANE                                                                                 EAST SYRACUSE        NY    13057‐2702
MRS HELEN W GILBERT                                15417 JERSEY DR                                                                                 HOUSTON              TX    77040‐2124
MRS HELEN W MARTIN                                 1400 WAVERLY RD                        BLAIR 031                                                GLADWYNE             PA    19035‐1254
MRS HELEN W MATHEWS                                13 HILLTOP DR                                                                                   SCHAUMBERG           IL    60193‐1520
MRS HELEN W ROTH                                   C/O HELEN R BORODIN                    25542 GREEN COURT                                        WARREN               MI    48089‐1012
MRS HELEN WALDO REZK                               127 INDIAN CAVE RD                                                                              RIDGEFIELD           CT    06877‐5807
MRS HELEN WILCOX                                   7501 UNIVERSITY AVE APT 7A                                                                      CEDAR FALLS          IA    50613‐5011
MRS HELEN WONG                                     3144 PRADERA CIR                                                                                LAS VEGAS            NV    89121‐3823
MRS HELEN YANKASKAS                                1540 LONG HILL RD                                                                               MILLINGTON           NJ    07946‐1820
MRS HELENA BINIEK & DONNA TIMOCK JT TEN            5524 EARLIGLOW                                                                                  HASLETT              MI    48840‐9766
MRS HELYN F LUCUS                                  1512 EL CAMPO DR                                                                                DALLAS               TX    75218‐3522
MRS HENRIETTA PERSONS HASTIE                       1603 E NANCY CREEK DR                                                                           ATLANTA              GA    30319‐1732
MRS HENRIETTA SALE                                 PO BOX 423                                                                                      MARSHALL             VA    20116‐0423
MRS HENRIETTA YTURRI AMES                          C/O ALICE YTURRI PENA                  3443 HUNTERS CIRCLE                                      SAN ANTONIO          TX    78230‐2855
MRS HERMINE H BRADEN                               12419 OLD OAKS DRIVE                                                                            HOUSTON              TX    77024‐4911
MRS HESTER A LINSCOTT                              159 FRANKLIN ST UNIT 1A                                                                         STONEHAM             MA    02180‐1527
MRS HESTER CHISOLM                                 2370 PHYLDEN DR                                                                                 SALT LAKE CITY       UT    84117‐4509
MRS HESTER E LITTLETON                             9123 MEADE SPRINGER RD                                                                          ASHLAND              KY    41102‐8958
MRS HILARY A STOCK                                 PO BOX 29443                           FENDALTON CHRISTCHURCH                 NEW ZEALAND
MRS HILARY JANE FREEMAN                            195 ALBERTUS AVE                       TORONTO ON                             M4R 1J6 CANADA
MRS HILDA CHAO LIU                                 3309 N LUCILE LANE                                                                              LAFAYETTE            CA    94549‐5425
MRS HILDA FISHER                                   2324 MELINDA DR                                                                                 OWINGS MILLS         MD    21117‐2340
MRS HILDA INY                                      5631 QUEEN MARY ROAD                   MONTREAL QC                            H3X 1W8 CANADA
MRS HILDA LEGGETT                                  #708                                   401 QUEENS QUAY W        TORONTO ON    M5V 2Y2 CANADA
MRS HILDA R PACE CUST CHARLES W PAGE III UGMA CO   220 CLEARWATER                                                                                  CARBONDALE           CO    81623‐1809

MRS HILDA VALVERDE CUST KENNETH A VALVERDE         17446 SHENANDOAH                       TRAILS AVENUE                                            BATON ROUGE          LA    70817‐1723
U/THE MISS U‐G‐M‐A
MRS HILDA W GARMAN                                 6260 LEMONWOOD DR                                                                               COLORADO SPGS        CO    80918‐3235
MRS HILDE BLUM                                     APT 6‐E                                802 W 190TH ST                                           NEW YORK             NY    10040‐3968
MRS HILDEGARDE BURATTI                             1728 STONESTHROW RD                                                                             BETHLEHEM            PA    18015
MRS HILLARY C VANDER STUCKEN                       RD #1                                  183 MONTGOMERY ROAD                                      SKILLMAN             NJ    08558‐2007
MRS HOLLY JOHNSON LONG                             337 COUNTY ROAD 1847                                                                            YANTIS               TX    75497‐4653
MRS HONORA I BIONDI                                81 BLUEBERRY LN                                                                                 SHELTON              CT    06484‐3751
MRS HOPE HEIB                                      57 BUCKSKIN LANE                                                                                ROLLING HILLS ESTS   CA    90274‐4253

MRS HSIO‐HSUAN SHIH HSIA                           900 2 TAYLOR ST #1917                                                                           ARLINGTON            VA    22203
MRS IDA FRANKS                                     12 BURKEY DRIVE                                                                                 DENVER               PA    17517‐9214
MRS IDA LIFF                                       7285 N SUNRISE VIS                                                                              PRESCOTT VLY         AZ    86315‐3437
MRS IDA M DOUGLAS                                  2186 BATTENKILL LANE                                                                            GIBSONIA             PA    15044‐8363
MRS IDA MESTEL WHITTEN                             424 BONRUTH PL                                                                                  RICHMOND             VA    23233‐5572
MRS IDA MORTON ROSS                                101 9TH AVE N                                                                                   TEXAS CITY           TX    77590‐6308
MRS IDA ROUS                                       40 AUTUMN DRIVE                                                                                 SLINGERLANDS         NY    12159
MRS IDA TARJANY & RONALD TARJANY JT TEN            22776 CALABASH ST                                                                               WOODLAND HILLS       CA    91364‐1323

MRS IDAMAY H SCRIBNER                              HC 71 BOX 16                                                                                    CENTER STRAFFORD NH        03815

MRS IDANA MARIE FLYNN                              GURLEYVILLE RD                                                                                  STORRS               CT    06268
MRS IKUE ITAMI                                     55 SOUTH GREELEY ST                    APT 415                                                  PALATINE             IL    60067
MRS ILENE MACK                                     33 E END AVE                                                                                    NEW YORK             NY    10028‐7007
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MRS ILSA R KATZ                                   100 WEST AVE C‐8                                                                                          JENKINTOWN         PA    19046
MRS ILSA ROSLOW SCHWARTZ                          55 MUMFORD RD                                                                                             NEW HAVEN          CT    06515‐2431
MRS ILSE B KROPP                                  919 SYLVAN LANE                                                                                           MAMARONECK         NY    10543‐3954
MRS ILSE H SMILIE & RICHARD SMILIE JT TEN         2 CRAWFORD CT                                                                                             PARIS              IL    61944‐2367
MRS ILSE J TAUBER                                 6856 GREENWICH LANE                                                                                       DALLAS             TX    75230‐2846
MRS IMOGENE M COOPER                              311 DAISY AVE                                                                                             BEREA              OH    44017‐1734
MRS INA J KNAPP CUST MISS LISA GAYLE KNAPP UGMA   57 CLUB DRIVE                                                                                             KENSINGTON         CT    06037‐1131
CT
MRS INA J KNAPP CUST STEVEN KEVIN KNAPP UGMA CT   57 CLUB DRIVE                                                                                             KENSINGTON         CT    06037‐1131

MRS INA SHARKANSKY                                5102 FLAD AVENUE                                                                                          MADISON            WI    53711‐3622
MRS INEZ J SCHEUER                                ATTN MRS INEZ J FUNK                  APT 2055             43000 TWELVE OAKS CRESCENT                     NOVI               MI    48377‐3428
MRS INEZ LESSER CUST DAVID LESSER UNDER THE       6100 CITY AVE #714                                                                                        PHILDELPHIA        PA    19131‐1242
FLORIDAGIFTS TO MINORS ACT
MRS INEZ W PEARSON                                1926 N GENESEE DR                                                                                         LANSING            MI    48915‐1229
MRS INGA M FIGLER                                 3101 N FEDERAL HWY #6‐FL                                                                                  FORT LAUDERDALE    FL    33306‐1018

MRS INGEBORG KATZKI                            JAHNALLEE 26                             53173 BONN           REPL OF                      GERMANY
MRS INGRID OLHAGEN                             KARLAVAGEN 101                           115 22 STOCKHOLM                                  SWEDEN
MRS IOLA S PATTERSON                           4720 VERMACK RDG                                                                                             ATLANTA            GA    30338‐5018
MRS IONE KANETAKE CUST KARRIN KANETAKE UGMA HI 2084 KALANIANAOLE ST                                                                                         HILO               HI    96720‐4947

MRS IONE LANG CUST SUZANNE LANG U/THE MICHIGAN ATTN SUZANNE R ZACK                      119 LINDA KNOLL                                                     BLOOMFIELD HILLS   MI    48304‐2817
U‐G‐M‐A
MRS IONE M FOX                                 1240 LEISURE                                                                                                 FLINT              MI    48507‐4052
MRS IONE SMITH ELMER                           2751 HILLSDALE AVE                                                                                           LARGO              FL    33774‐1615
MRS IRENA DUGDALE CUST COLLEEN ANN DUGDALE     1734 S 32ND AVE                                                                                              OMAHA              NE    68105‐2504
UGMA NEB
MRS IRENE A GOLDBERG                           6570 HILLCREST AVE                                                                                           ORCHARD PARK       NY    14127‐3821
MRS IRENE A WHEATON                            2580 MEADOWVIEW COURT                                                                                        ROCHESTER          MI    48306‐3822
MRS IRENE C HEROPOULOS                         4328 SKYCREST DR NW                                                                                          CANTON             OH    44718‐2152
MRS IRENE C MINOR                              16715 CHINA BLUE LN                                                                                          CYPRESS            TX    77433
MRS IRENE DANCZIGER                            C/O ANDREW AMSEL                         97‐37 63RD RD                                                       REGO PARK          NY    11374‐1642
MRS IRENE E LOBERT & MISS MARGARET E LOBERT JT 34033 W GARDENIA                                                                                             FRASER             MI    48026
TEN
MRS IRENE E PAUL & ARTHUR L PAUL JT TEN        4342 PHEASANT DR                                                                                             FLINT              MI    48506‐1772
MRS IRENE E YOUNG                              1797 PACKARD HIGHWAY                                                                                         CHARLOTTE          MI    48813‐9717
MRS IRENE F BROWN                              CENTENNIAL RETIREMENT HOME               259 HILLCROFT ST     UNIT 331 OSHAWA ON           L1G 8E4 CANADA
MRS IRENE FRANKLIN CUST JOEY S BINDER UGMA MA  780 WASHINGTON ST                                                                                            CANTON             MA    02021‐3009

MRS IRENE G WHITE CUST JONATHAN LEE WHITE UGMA 5707 OLD NATIONAL PIKE                                                                                       FREDERICK          MD    21702‐3663
TN
MRS IRENE HESLIN KILCOYNE                      6815 LOUIS XIV ST                                                                                            NEW ORLEANS        LA    70124‐3331
MRS IRENE IHLY                                 69 WALTON TERRACE                                                                                            MONROE             NY    10950‐1241
MRS IRENE J BATEY & MS CELENE V BATEY JT TEN   441 GREENE 749 RD                                                                                            PARAGOULD          AR    72450‐8964
MRS IRENE K POTTER                             129 LAKESHORE RD                                                                                             TROY               NY    12180‐9750
MRS IRENE L JESKEY CUST ALAN G JESKEY UGMA MI  UNIT A                                   1317 S E 6TH ST                                                     CAPE CORAL         FL    33990‐2640

MRS IRENE L STARR                                 PO BOX 894                                                                                                CARMEL             IN    46082‐0894
MRS IRENE M BRASHEAR                              1086 WINSTON RD                                                                                           SOUTH EUCLID       OH    44121‐2538
MRS IRENE M FOSTER & ARTHUR SHAW FOSTER JT TEN    126 CHURCH ST                                                                                             NEWTON             MA    02458‐2004

MRS IRENE M LIND & KENNETH K LIND JT TEN          1505 HOSMER ST                                                                                            JOLIET             IL    60435‐4045
MRS IRENE MAZACOUFA                               2623 CRAVEY DR N E                                                                                        ATLANTA            GA    30345‐1415
MRS IRENE P MILLER                                8501 KIMBLEWICK                                                                                           WARREN             OH    44484‐2067
MRS IRENE R ALLEN                                 11 WESTMINSTER DR                                                                                         SOUTHAMPTON        NJ    08088‐1020
MRS IRENE R LEWIS                                 PO BOX 2623                                                                                               LABELLE            FL    33975‐2623
MRS IRENE SALTOJANES                              51 HUNTERS ROAD                                                                                           NORWICH            CT    06360‐2001
MRS IRENE STIVER                                  8397 SALEM                                                                                                LEWISBURG          OH    45338‐9781
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Name                                            Address1                               Address2             Address3          Address4          City            State Zip

MRS IRIS E LUKINS                               260 ST MARY'S RD                                                                                LAFAYETTE       CA    94549‐5635
MRS IRIS F SANFORD                              8527 PT EE 25 RD                                                                                RAPID RIVER     MI    49878
MRS IRIS G RUCKSTUHL                            2312 WOODLEY RD                                                                                 MONTGOMERY      AL    36111‐1630
MRS IRIS SELIGSON                               28‐05 FAIR LAWN AVE                                                                             FAIR LAWN       NJ    07410‐3410
MRS IRMA B THAXTON                              619 BRIGHAM RD                                                                                  NORTH AUGUSTA   SC    29841‐4231
MRS IRMA KUSMIERSKI                             200 BRYANT AVE                                                                                  NEW HYDE PARK   NY    11040‐2806
MRS IRMA SCHULOCK                               740 W WISCONSIN AVE                    APT 2                                                    PEWAUKEE        WI    53072‐2356
MRS IRNE SCANLON CUST ELIZABETH SCANLON UGMA    1133 RHINELANDER AVE                   APT 1B                                                   BRONX           NY    10461‐1361
NY
MRS ISABEL J BARTHOLOMEW CUST TODD STUART       6326 BENTHAM CT                                                                                 OXON HILL       MD    20744‐3107
BARTHOLOMEW UGMA DC
MRS ISABELLE C CHANG                            15 FISKE ST                                                                                     SHREWSBURY      MA    01545‐2721
MRS ISABELLE O FAUCHER                          12213 PAWNEE LANE                                                                               LEAWOOD         KS    66209‐2106
MRS ISABELLE O RALPH                            611 NEW SALEM RD                                                                                VOORHEESVILLE   NY    12186‐4832
MRS ISABELLE SKRZYPLZAK                         354 COLTS NECK RD                                                                               FARMINGDALE     NJ    07727‐3642
MRS ISLA FAY HOY CUST JAMES R HOY UGMA NY       1074 SW LIBERTY AVE                                                                             PORT ST LUCIE   FL    34953‐3657
MRS ITSUKO ASADA                                120 OLD DEERFIELD PIKE                                                                          BRIDGETON       NJ    08302‐3703
MRS IVA I JOHNSON                               383 NEW HOPE RD                                                                                 LAWRENCEVILLE   GA    30045‐5807
MRS IVA MIEREK                                  8141 CARMICHAEL HILL                                                                            WESTERNVILLE    NY    13486
MRS J ALLAN SMITH CUST SUSAN L SMITH UGMA OH    1855 FURNESS ST APT 203                                                                         SAINT PAUL      MN    55109‐4836

MRS J FUJIMOTO CUST THOMAS J FUJIMOTO UGMA CA 2430 S PARK LANE                                                                                  SANTA CLARA     CA    95051‐1252

MRS JACKIE S OLIVER                             2333 WOODLEY RD                                                                                 MONTGOMERY      AL    36111‐1629
MRS JACKIE WYLDE & GEOFFREY WYLDE JT TEN        1310 S ELM ST                                                                                   DENVER          CO    80222‐3522
MRS JACLYNN MORRIS & BRUCE MORRIS JT TEN        6105 BLUE STONE RD NE #221                                                                      ATLANTA         GA    30328‐5905
MRS JACQUE LYNN NELSON                          1188 HWY N                                                                                      ROBERTS         WI    54023
MRS JACQUELINE A SCHIFFER                       2240 CROYDON WALK                                                                               ST LOUIS        MO    63131‐3254
MRS JACQUELINE ALICE GOLEMON & RONALD KINNAN    3607‐4 PINNACLE ROAD                                                                            AUSTIN          TX    78746
GOLEMON JT TEN
MRS JACQUELINE B SORENSON                       2309 CALUMET AVE S E                                                                            DECATUR         AL    35601‐6105
MRS JACQUELINE BARNUM & MISS CHERYL BARNUM JT   912 CAMPBELL DR                                                                                 OWOSSO          MI    48867‐1618
TEN
MRS JACQUELINE E HAMILTON                       25 BLOWING FRESH DR                                                                             SALEM           SC    29676‐4300
MRS JACQUELINE FARKAS                           3313 FRIARBIRD CT                                                                               N LAS VEGAS     NV    89084‐2456
MRS JACQUELINE K HITES                          4 MARSH TOWER LANE                                                                              SAVANNAH        GA    31411‐1600
MRS JACQUELINE L ALEXANDER                      364 VANDERBILT ROAD                                                                             ASHEVILLE       NC    28803‐3036
MRS JACQUELINE L COLE                           500 DEUNER HAUS ST                     APT 512                                                  FENTON          MI    48430
MRS JACQUELINE L FRIEND                         145 CLIFF AVE                                                                                   PELHAM          NY    10803‐2006
MRS JACQUELINE M SMITH                          1052 JEWEL PL NE                                                                                ALBUQUERQUE     NM    87123‐1865
MRS JACQUELINE MAXWELL                          5410A N E 229TH COURT                                                                           VANCOUVER       WA    98682‐9633
MRS JACQUELINE POUPIS                           14560 BENEFIT ST                                                                                SHERMAN OAKS    CA    91403‐3705
MRS JACQUELINE S GALLAGHER                      211 CLUB MEADOWS CT                                                                             SPARTANBURG     SC    29302‐4217
MRS JACQUELYN K BINKLEY                         11803 W MOUND RD                                                                                LENA            IL    61048‐9544
MRS JACQUELYN MURRAY WHEATLEY                   2219 ANTHONY AVE                                                                                BROOMALL        PA    19008‐3031
MRS JAN LOWTHER                                 15710 KNAUFF RANCH CT                                                                           CYPRESS         TX    77429‐6128
MRS JANE ANN ZIMMERMAN                          23 ELLERY CT                                                                                    WALNUT CREEK    CA    94595‐2609
MRS JANE APPLETON WALSH                         PO BOX 3125                            C/O JANE GREENE                                          WEST TISBURY    MA    02575‐3125
MRS JANE B KENNEDY                              PO BOX 1849                                                                                     CYSTAL BEACH    TX    77650‐1849
MRS JANE BENATHEN                               2518 VOORHIES AVE                                                                               BROOKLYN        NY    11235‐2412
MRS JANE CLARK WRIGHT                           8 MANCHESTER CT                                                                                 BERWYN          PA    19312
MRS JANE D KOCH                                 825 S BROWNS LN                        APT 103                                                  GALLATIN        TN    37066‐7471
MRS JANE D STRELZ                               21 QUEENS WAY                                                                                   QUEENSBURY      NY    12804‐1601
MRS JANE E BAILEY                               1952 OVERBROOKE WAY                                                                             AUSTELL         GA    30106‐1129
MRS JANE E ROMIG                                2032 GOLDENVUE DR                                                                               GOLDEN          CO    80401‐1725
MRS JANE E YOUNCE                               25741 SERENATA DR                                                                               MISSION VIEJO   CA    92691‐5725
MRS JANE F OBER & KEITH E OBER JT TEN           260 AIRPORT DR                                                                                  CARLISLE        PA    17013‐1106
MRS JANE GEORGE                                 863 LAWRENCE AVE                                                                                EAST AURORA     NY    14052‐1505
MRS JANE H BUTLER                               24 E 10TH ST                                                                                    NY              NY    10003‐5965
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Name                                             Address1                               Address2             Address3          Address4          City            State Zip

MRS JANE H HAVEN                                 PO BOX 712                                                                                      CHATHAM         MA    02633‐0712
MRS JANE HIRT                                    1230 ASHLAND AVE                                                                                SANTA MONICA    CA    90405‐5802
MRS JANE J CAMPBELL                              12001 FRANZ VALLEY RD                                                                           CALISTOGA       CA    94515‐9511
MRS JANE K ASHLEY                                6828 CURNWOOD DRIVE                                                                             FORT WAYNE      IN    46835‐4019
MRS JANE L PIERCE                                218 WILLIAMS ST                                                                                 MERIDEN         CT    06450‐4515
MRS JANE L SYVERSON                              14115 GARRETT AVE W                                                                             APPLE VALLEY    MN    55124‐8408
MRS JANE LILES AUSTIN                            1117 WAGON RIDGE RD                                                                             RALEIGH         NC    27614‐7101
MRS JANE M SHELTON                               80 SHELTON FARM DR                                                                              STUART          VA    24171
MRS JANE M VAN BOLT & JOHN F VAN BOLT JT TEN     8755 ANN ARBOR ROAD                                                                             PLYMOUTH        MI    48170‐5154

MRS JANE MACMAHON & MISS DEBORAH J              7517 LISLE AVE                                                                                   FALLS CHURCH    VA    22043‐1038
MACMAHON JT TEN
MRS JANE MC CORMICK WELLS                       5 WYLLY ISLAND                                                                                   SAVANNAH        GA    31406
MRS JANE MILLER                                 4 BERETTA WY                                                                                     HOWELL          NJ    07731‐2960
MRS JANE MOORE CRAWFORD                         3924 KIMPALONG                                                                                   NASHVILLE       TN    37205‐1950
MRS JANE OATMAN                                 318‐B GREENWICH ST                                                                               NY              NY    10013‐2704
MRS JANE OWENS JACKSON                          2567 S COUNTY RD 500 E                                                                           GREENCASTLE     IN    46135‐7519
MRS JANE P ALLEN                                C/O CHILDERS                            6826 ROSEMARY LANE                                       CHAROLOTTE      NC    28210‐7019
MRS JANE R BOYER                                PO BOX 1021                                                                                      WASHINGTON      CT    06793‐0021
MRS JANE R GOODMAN CUST DIANA ROCHELLE          RD2                                                                                              ALLENTOWN       PA    18103‐9801
GOODMAN UGMA PA
MRS JANE R TAURMAN                              111 CARRIAGE WAY                                                                                 LYNCHBURG       VA    24503‐4224
MRS JANE RHYMER MC GEE                          8000 GLENBAR WAY                                                                                 FAIR OAKS       CA    95628‐5911
MRS JANE RICHARDSON                             3033 ROYCE LANE                                                                                  COSTA MESA      CA    92626
MRS JANE S KLOCK                                10528 LOUISE AVE                                                                                 GRANADA HILLS   CA    91344‐6112
MRS JANE SMALL KLIMCZAK                         14 MATSON RIDGE                                                                                  OLD LYME        CT    06371‐1133
MRS JANE T MORTON                               1589 SUNSET RD                                                                                   OXFORD          NC    27565‐8210
MRS JANE VARLEY                                 BOX 211                                                                                          STILLWATER      NJ    07875‐0211
MRS JANE W ATKINSON CUST JEFFREY KIRK ATKINSON 12 LORDS HIGHWAY EAST                                                                             WESTON          CT    06883‐2022
UGMA CT
MRS JANE W ELMORE                               1917 LOHMANS CROSSING RD                                                                         AUSTIN          TX    78734‐5269
MRS JANE W FREDERICKS                           9 SKYWOOD ROAD                                                                                   CHAPPAQUA       NY    10514‐3015
MRS JANE WARGO                                  200 WESTMAR W                                                                                    ROCHESTER       NY    14624‐2543
MRS JANE WARNER ATKINS CUST CAROLYN JANE ATKINS PO BOX 298                                                                                       SIMONTON        TX    77476‐0298
U/THE ARK U‐G‐M‐A
MRS JANE YICK CUST ANDREW YICK UGMA CA          1340 GRANT AVE 1                                                                                 SF              CA    94133‐3926
MRS JANER W THOMPSON CUST JENNIFER WHITNEY      36 BERWIN STREET                                                                                 MILLFORD        CT    06460‐4010
THOMPSON UGMA NY
MRS JANET B ORR & MISS JENNIFER B ORR JT TEN    420 WALNUT ST                                                                                    MANISTIQUE      MI    49854‐1416
MRS JANET BATES AMEY CUST MISS KELLY BATES UGMA 315 CUT OFF RD                                                                                   PORT ARANSAS    TX    78373
MI
MRS JANET BULLARD CAMPBELL                      PO BOX 1147                                                                                      DEFUNIAK SPGS   FL    32435
MRS JANET C CONNORS                             29 CUMBERLAND ST                                                                                 BRUNSWICK       ME    04011‐1927
MRS JANET C JAEGER                              400 SEABURY DR 4149                                                                              BLOOMFIELD      CT    06002‐2660
MRS JANET C PUFFER                              1001 CUSTIN AVE                                                                                  BOWLING GREEN   OH    43402
MRS JANET D SCALLEN                             1318 WHITTIER RD                                                                                 GROSSE POINTE   MI    48230‐1114
                                                                                                                                                 PARK
MRS JANET DI BLASI                               110 THURSTON LN                                                                                 WATERBURY       VT    05677‐8250
                                                                                                                                                 CENTER
MRS JANET E GANT                                 4381 GAUNTLET SE DR                                                                             SOUTHPORT       NC    28461‐8511
MRS JANET E GERACE                               34 DUNCOTT RD                                                                                   FAIRPORT        NY    14450‐3137
MRS JANET EMMETT                                 8247 WHITE ROCK CIRCLE                                                                          BOYNTON BEACH   FL    33436‐1745
MRS JANET F BATEMAN                              3608 S OAK CIR                                                                                  SAINT CLOUD     MN    56301‐4616
MRS JANET J BURNETT                              PO BOX 481                                                                                      MILLERTON       NY    12546‐0481
MRS JANET K BARRY                                3111 JAMES BUCHANAN DR                                                                          ELIZABETHTOWN   PA    17022‐3101
MRS JANET K HANDELMAN                            600 BONHILL RD                                                                                  LOS ANGELES     CA    90049‐2302
MRS JANET KAY MOELLMAN                           109 S 6TH                                                                                       LA GRANGE       IL    60525‐2433
MRS JANET KEMPTON GOODMAN                        3740 CLOUDLAND DR NW                                                                            ATLANTA         GA    30327‐2910
MRS JANET L JUROS                                7 EAGLE LANE                                                                                    WILLINGBORO     NJ    08046‐2401
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Name                                            Address1                                 Address2             Address3            Address4          City            State Zip

MRS JANET L PLAS                                249 HEWLETT CT                                                                                      ST LOUIS        MO    63141‐8154
MRS JANET L SMEARMAN                            900 E WILMETTE RD                        UNIT 219                                                   PALATINE        IL    60074‐6800
MRS JANET LEE GILMORE NOBLES                    165 S GUADALUPE ST                       STE 150                                                    SAN MARCOS      TX    78666‐5563
MRS JANET LOUISE KENNEDY CUST ANGELA MICHELLE   992 S 25 W                                                                                          WINAMAC         IN    46996‐8339
KENNEDY UGMA IN
MRS JANET M BLAKESLEE                           6951 WINFIELD DRIVE                                                                                 BLACKLICK       OH    43004
MRS JANET M OVITZ                               5925 SW TERWILLIGER BLVD                                                                            PORTLAND        OR    97201‐2859
MRS JANET M SHEARER                             866 MAIN AVE                                                                                        BAY HEAD        NJ    08742‐5354
                                                                                                                                                    JUNCTION
MRS JANET M WEBB                                106 EAST GRESHAM STREET                                                                             INDIANOLA       MS    38751‐2423
MRS JANET MULLER                                PO BOX 999                                                                                          COMFORT         TX    78013‐0999
MRS JANET R PALMER                              4259 COPEECHAN RD                                                                                   SCHNECKSVILLE   PA    18078‐2252
MRS JANET RICHARDSON & ROBERT E RICHARDSON JT   820 HARDING AVE                                                                                     HARRISON        MI    48625‐9527
TEN
MRS JANET SENSOR CUST SHAWN SENSOR UGMA MI      1471 W HOUGHTON LAKE DR                                                                             PRUDENVILLE     MI    48651‐9708

MRS JANET SHIELDS                               459 PASSAIC AVE APT 268                                                                             WEST COLDWELL   NJ    07006‐7463
MRS JANET SUE BOOHER                            2305 FARNSWOOD CIR                                                                                  AUSTIN          TX    78704‐4519
MRS JANET T LEWIS                               7 COVENTRY RD                                                                                       WORCESTER       MA    01606‐2132
MRS JANET W OSBORN                              1508 S MADISON                                                                                      ROSWELL         NM    88203‐5427
MRS JANET WISCHHOFF CUST JAMES ALAN WISCHHOFF   2602 STONEMILL DR                                                                                   ELIZABETHTOWN   KY    42701
U/THE MICH U‐G‐M‐A
MRS JANET YULE                                  41 MARBLEHEAD ST                                                                                    NORTH ANDOVER   MA    01845‐2337
MRS JANEY M RUNGE                               15880 LAUREL ROAD                                                                                   CHAGRIN FALLS   OH    44022‐3901
MRS JANICE A BOYD                               55 WAYA CT                                                                                          BREVARD         NC    28712‐9465
MRS JANICE ANDERSON VERZONE & MRS EUNICE        18 GARDEN DRIVE                                                                                     LINCOLN         RI    02865‐1540
ANDERSON JT TEN
MRS JANICE AUSTIN CUST VICKIE AUSTIN UGMA WI    350 VIRGIN AVE                                                                                      PLATTEVILLE     WI    53818‐3633

MRS JANICE BREMEN SCHRAM                        2046 BURNING TREE LANE                                                                              YOUNGSTOWN      OH    44505
MRS JANICE C REISNER                            870 SHERIDAN ST                                                                                     UNION           NJ    07083‐6565
MRS JANICE D LOUTREL                            509 HILLSIDE DR                                                                                     ROUND ROCK      TX    78681‐3761
MRS JANICE DEXTER ALLEN                         198 JANES LOOP                                                                                      HIGHWOOD        IL    60040‐2036
MRS JANICE E BARENSFELD                         RD2                                      581 CHAPEL DR                                              ELLWOOD CITY    PA    16117‐4601
MRS JANICE FRACASSINI                           91 COLLEGE PARK DR                                                                                  FAIRFIELD       CT    06430‐7307
MRS JANICE J CARNO                              838 SALEM AVE                                                                                       HILLSIDE        NJ    07205‐3035
MRS JANICE LEE V PIXBERG                        308 CEDAR DR                                                                                        METAIRIE        LA    70005‐3902
MRS JANICE M HODYKE                             1207 BRYAN AVE                                                                                      JOLIET          IL    60435‐4433
MRS JANIE FRANKLIN                              11 FROST PL                                                                                         ALBANY          NY    12205
MRS JANIS GOTSCHALL                             12222 FALLS RD                                                                                      CHARDON         OH    44024‐2407
MRS JANIS J RIGGS                               3011 INVERNESS                                                                                      WACO            TX    76710‐1239
MRS JANIS JEAN ENGLE                            2748 HAYWARD                                                                                        GRAND RAPIDS    MI    49546‐7337
MRS JANIS KERRY HARLEY                          1 BALLY GRIFFIN COURT                    MOSMAN PARK          WESTERN AUSTRALIA   6012 AUSTRALIA
MRS JANIS MILLER HANSEN                         34 GUILFORD RD                                                                                      PORT WASHINGTON NY    11050‐4425

MRS JANYCE M PAJEROWSKI                         257 SORRELL CIRCLE                                                                                  SMYRNA          DE    19977
MRS JARMILA SIMON                               62 COUNTRY CLUB LANE                                                                                BELMONT         MA    02478‐1103
MRS JAYNE HIGGINS CUST HERB HIGGINS UGMA IN     4772 OLD SMITH VALLEY RD                                                                            GREENWOOD       IN    46143

MRS JAYNE HIGGINS CUST LAURA ANN HIGGINS UGMA   2495 LEONARD RD                                                                                     MARTINSVILLE    IN    46151‐7758
IN
MRS JEAN A BURKE                                1102 TATE TRAIL                                                                                     SAN MARCUS      TX    78666
MRS JEAN A HARTLEY                              7624 KEVIN DR                                                                                       DALLAS          TX    75248‐1643
MRS JEAN A KIENZLE                              1407 PINE MILLS DRIVE                                                                               RICHMOND        TX    77469‐6145
MRS JEAN ADELE CARTER                           4 TENAKILL PARK DR EAST                  #203                                                       CRESSKILL       NJ    07626
MRS JEAN ANN LOWRY                              3508 MARCUS ST                                                                                      NEWPORT BEACH   CA    92663‐3110
MRS JEAN ARNOLD                                 RR 1 BOX 252                                                                                        ULSTER          PA    18850‐9762
MRS JEAN ARTIN                                  41 HYDE ST                                                                                          NEWTON          MA    02461‐1203
                                                                                                                                                    HIGHLANDS
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Name                                            Address1                             Address2              Address3         Address4          City              State Zip

MRS JEAN B HIGGS                                 15 COLONIAL AVENUE                                                                           HADDONFIELD       NJ    08033‐1503
MRS JEAN C EICHELBERGER                          512 E MAIN ST                                                                                ROARING SPRING    PA    16673‐1318
MRS JEAN C MAXWELL                               11 SAYBROOK RD                                                                               TRUMBULL          CT    06611‐4927
MRS JEAN D BRANCHEAU                             41140 FOX RUN                       APT 607                                                  NOVI              MI    48377‐4845
MRS JEAN D BROOKS                                3774 WEDGEWOOD CHASE                                                                         NORCROSS          GA    30092‐4528
MRS JEAN D CARBONNEAU & MRS ANDREA C MCQUADE 7 MAPLEWOOD STREET                                                                               LONGMEADOW        MA    01106‐3309
JT TEN
MRS JEAN D LUCAS                                 169 E SPRING ST                                                                              SOMERVILLE        NJ    08876‐2012
MRS JEAN D PERVIS                                3444 TIMBERLAKE ROAD                                                                         KENNESAW          GA    30144‐1942
MRS JEAN DE LEONARDIS                            15 LAUREL AVENUE                                                                             MOUNT VERNON      NY    10552‐1018
MRS JEAN DITTMAR                                 762 DAVENTRY CIR                                                                             WEBSTER           NY    14580‐2658
MRS JEAN DOOLITTLE                               68 FRIENDLY ROAD                                                                             HICKSVILLE        NY    11801‐6312
MRS JEAN ELIZABETH SMITH                         623 HIGHLAND ST                                                                              HOUSTON           TX    77009‐6628
MRS JEAN F CHOMO                                 365 ANNABELLE AVE                                                                            CARNEYS POINT     NJ    08069‐2622
MRS JEAN FINCH CUST DION FINCH UGMA NJ           251 KUHL RD EAST                                                                             FLEMINGTON        NJ    08822‐6902
MRS JEAN G CUMMINGS                              17 RICHMOND RD                                                                               EGGERTSVILLE      NY    14226‐2427
MRS JEAN GILLANDER ROMAINE                       4951 LONGBOW ROAD                                                                            JACKSONVILLE      FL    32210‐8139
MRS JEAN H BARR                                  1955 S QUINCE ST                                                                             DENVER            CO    80231‐3206
MRS JEAN H SEGUIN                                14955 E MOUNTAINVIEW CT                                                                      SCOTTSDALE        AZ    85268‐3335
MRS JEAN H SMITH                                 138 CHENAULT RD                                                                              LEXINGTON         KY    40502‐2305
MRS JEAN HAINES REISTLE CUST JILL HAINES REISTLE 834 KINGS HIGHWAY                                                                            MICKLETON         NJ    08056‐1401
UGMA NJ
MRS JEAN I EISENHOWER                            215 S 19TH ST                                                                                CAMP HILL         PA    17011‐5518
MRS JEAN JAYNE                                   11104 N E 68TH #A103                                                                         KIRKLAND          WA    98033‐7172
MRS JEAN KALLAS KANETIS                          2125 HARROW GATE DRIVE                                                                       BARRINGTON        IL    60010‐5429
MRS JEAN KREMPA & FRANK KREMPA JT TEN            2830 LINDEN ST                      APT 1F                                                   BETHLEHEM         PA    18017‐3958
MRS JEAN L BOYD CUST JEFFREY S BOYD UGMA IL      101 NW 131ST AVE                                                                             PLANTATION        FL    33325‐2211
MRS JEAN LA ROCQUE COPP                          225 N MEADOWBROOK LANE                                                                       VESTAL            NY    13850‐2246
MRS JEAN LAMM WARD                               101 S 26TH ST                                                                                MOREHEAD CITY     NC    28557
MRS JEAN LASHER                                  256 FAWN RD                                                                                  SAUGERTIES        NY    12477‐4015
MRS JEAN M BRANOVIC                              833 BUTTONWOOD CIRCLE                                                                        NAPERVILLE        IL    60540‐6348
MRS JEAN M BRIGNALL                              11‐1725 SOUTHMERE CRESENT           SURREY BC                              V4A 7A7 CANADA
MRS JEAN M CAUBLE                                11 CATHY CT                                                                                  MENDERSONVILLE    NC    28792‐8943

MRS JEAN M GAFFEY                               15 S VIEW DRIVE                                                                               WALLINGFORD       CT    06492‐4935
MRS JEAN M GUZEWICH CUST DANIEL R GUZEWICH      431 HENRY ST                                                                                  HERKIMER          NY    13350‐1807
U/THE NY U‐G‐M‐A
MRS JEAN M RICE                                 675 WALLACE DR                                                                                WAYNE             PA    19087‐1911
MRS JEAN M SARKEES                              4802 WYOMING WAY                                                                              CRYSTAL LAKE      IL    60012‐2037
MRS JEAN MARIE SLOANE                           48 JADE ST                           SCARBORO ON                            M1T 2T8 CANADA
MRS JEAN MC LURE                                10425 HEDGEWAY                                                                                DALLAS            TX    75229‐5202
MRS JEAN P CLINE                                3831 VICTORIA LANE                                                                            MIDLOTHIAN        VA    23113‐1346
MRS JEAN P MANN CUST LARRY K MANN U/THE NORTH   118 CIBOLA DRIVE                                                                              CARY              NC    27513‐5199
CAROLINA U‐G‐M‐A
MRS JEAN P MANN CUST RANDY W MANN U/THE         46 SUNNYVIEW DR                                                                               JERICHO           VT    05465‐3021
NORTH CAROLINA U‐G‐M‐A
MRS JEAN P TURNER                               3600 34TH ST S                       APT 273                                                  ST PETERSBURG     FL    33711‐3826
MRS JEAN PEOPLES                                7038 DARTMOUTH                                                                                UNIVERSITY CITY   MO    63130‐2314
MRS JEAN R APPICH CUST MARY C APPICH U/THE      ATTN MARY A GRAY                     107 RAVEN ROCK ROAD                                      RICHMOND          VA    23229‐7839
VIRGINIA U‐G‐M‐A
MRS JEAN R MUCH & ROBERT A SMITH JT TEN         STE 33‐I                             1420 LOCUST ST                                           PHILADELPHIA      PA    19102‐4220
MRS JEAN S CHENG                                379 PROSPECT AVE                                                                              PRINCETON         NJ    08540‐4078
MRS JEAN SHEARER SKLAR                          711 CENTRAL AVE                                                                               LEXINGTON         KY    40502‐1709
MRS JEAN T NICHOLSON                            2211 WEBSTER ST                                                                               SANGER            CA    93657‐2749
MRS JEAN T WEILER                               22 PINE LN                                                                                    WATCHUNG          NJ    07069‐6028
MRS JEAN TARTER                                 18783 TRIBUNE ST                                                                              NORTHRIDGE        CA    91326‐2750
MRS JEAN V DOHERTY                              2225 PORTLAND AVE                                                                             ROCHESTER         NY    14617‐4042
MRS JEAN V REGAN                                9 MANCHESTER RD                                                                               EASTCHESTER       NY    10709‐1338
MRS JEANETTA P CLOWER                           4446 FONTAINE DRIVE S W                                                                       ROANOKE           VA    24018‐2913
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MRS JEANETTE A VANHARKEN                          6411 SCARBOROUGH SE                                                                                ADA             MI    49301‐9142
MRS JEANETTE A VOGT                               17638 HWY 13                                                                                       FARMERSBURG     IA    52047‐8009
MRS JEANETTE BOXER CUST JAMES BOXER UGMA NY       PO BOX 570                                                                                         MARGARETVILLE   NY    12455‐0570

MRS JEANETTE D ROUNDS                             4640 10TH ST N                                                                                     ST PETERSBURG   FL    33703‐3602
MRS JEANETTE M DAVIDSON                           400 S LAKE FLORENCE DR                                                                             WINTER HAVEN    FL    33884‐2224
MRS JEANETTE SICA CUST ANTONIO J SICA UGMA NY     128 HICKORY CT                                                                                     WILLIAMSON      GA    30292‐3166

MRS JEANINE M PEEHLER                           157 WYNNWOOD AVE                                                                                     TONAWANDA       NY    14150‐8427
MRS JEANNE A HOUSTON                            110 HUNTING TRAIL                                                                                    CHAGRIN FALLS   OH    44022‐2546
MRS JEANNE AVONNE BUTTERTON                     2080 WHITMAN DR                                                                                      SAN JACINTO     CA    92583‐6006
MRS JEANNE B GARRETT CUST LAURA L GARRETT UGMA 7429 ASHLAND LN                                                                                       BIRMINGHAM      AL    35242‐2517
KY
MRS JEANNE B GARRETT CUST ROBERT L GARRETT III  119 WASHINGTON PL #5                                                                                 NEW YORK        NY    10014‐3876
UGMA KY
MRS JEANNE B KOGER                              1420 KERSHAW DR                                                                                      RALEIGH         NC    27609‐6324
MRS JEANNE B OBRIEN                             29 VAN VOAST LN                                                                                      SCHENECTADY     NY    12302‐9621
MRS JEANNE C NIELSON                            C/O LINDA N KEATING                       1028 FARMINGTON AVENUE #3‐F                                WEST HARTFORD   CT    06107‐2142
MRS JEANNE CAROL POWELL                         518 BOWERS COURT                                                                                     CIRCLEVILLE     OH    43113‐1175
MRS JEANNE DALRYMPLE                            239 CHURCH ROAD                                                                                      MILFORD         NJ    08848‐1863
MRS JEANNE E BADGER                             4651 WINTERSTILL RD                                                                                  ZIONSVILLE      IN    46077‐8006
MRS JEANNE E SCHRAMM                            C/O JEANNE ENOCH                          4701 N PENNSYLVANIA                                        INDIANAPOLIS    IN    46205‐1741
MRS JEANNE GARDLOCK                             1504 LEMON STREET                                                                                    CLEARWATER      FL    33756‐2343
MRS JEANNE HOBBS SMITH                          1404 FOX CROFT LOOP                                                                                  COLUMBUS        GA    31904‐3031
MRS JEANNE KAUFER                               411 HOMEWOOD ROAD                                                                                    LOS ANGELES     CA    90049‐2713
MRS JEANNE L D W LEYHAN                         7273 S RIVERSIDE DR                                                                                  MARINE CITY     MI    48039‐2825
MRS JEANNE L STARKEY                            91 WEST ST                                                                                           COLUMBIA        CT    06237‐1330
MRS JEANNE M SCHIEMANN CUST ERIN JEANNE         1203 TAXUS TOP LN UNIT# 203                                                                          LOUISVILLE      KY    40243‐2940
BONHAM UGMA KY
MRS JEANNETTE C MYNETT                          BOX 1981                                  ASSINIBOIA SK                            S0H 0B0 CANADA
MRS JEANNETTE E PEPIN                           82 APPLETON ST                                                                                       NEW BEDFORD     MA    02745‐2747
MRS JEANNETTE M AYERS                           111 YOUNG'S ST                                                                                       PENN YAN        NY    14527‐1332
MRS JEANNETTE O BROWN                           1333 SHAWNEE RD                                                                                      INDIANAPOLIS    IN    46260‐4076
MRS JEANNETTE T FALLOON                         7324 WITLING BLVD                                                                                    ROANOKE         IN    46783‐9311
MRS JEANNETTE WILK & JULIUS WILK JT TEN         14 EDGECLIFF TERR                                                                                    YONKERS         NY    10705‐1606
MRS JEANNIE A CURHAN CUST JON DAVID CURHAN      34 BELLEVUE ST                                                                                       NEWTON          MA    02458‐1919
UGMA MA
MRS JEANNINE P DULAC                            62 LEAVITT RD                                                                                        AUGUSTA         ME    04330‐8240
MRS JENEFRED H DAVIES                           1714 BARTONCLIFF DR                                                                                  AUSTIN          TX    78704‐2745
MRS JENNELLE SMART MARSHALL                     147 SOUTH HILL RD                                                                                    VERSAILLES      KY    40383‐1394
MRS JENNIE A BENETTI & ORLANDO L BENETTI JT TEN 1222 E 170TH ST                                                                                      SOUTH HOLLAND   IL    60473‐3558

MRS JENNIE A SCHNEIDERS                           477A IROQUOIS LN                                                                                   STRATFORD       CT    06614‐8242
MRS JENNIE J GILMORE & MISS JOAN J GILMORE JT TEN 233 PALO VERDE AVE                                                                                 MONTEREY        CA    93940‐3729

MRS JENNIE L GILMAN                              400 TAYLOR DR APT 107                                                                               PORT BYRON      IL    61275‐9546
MRS JENNIE LEE FOWLKES CUST KATHERINE V WILLIAMS 7308 BRIGHTSIDE RD                                                                                  BALTIMORE       MD    21212
UGMA MD
MRS JENNIE T CARLTON                             101 N RHODES STREET                                                                                 UNION POINT     GA    30669‐1043
MRS JENOYCE M WOOLDRIDGE                         8226 EDEN LANE                                                                                      BALDWINSVILLE   NY    13027‐1012
MRS JERE ANN GREEN CUST JAMES ANDREW GREEN       2325 KINGSBURY                                                                                      TROY            MI    48098‐4241
UGMA MI
MRS JEREMY T WATSON                              26 GROVE AVE                                                                                        MADISON         CT    06443‐3224
MRS JERILYN SEARLE HESSING                       9627 S PENDLETON WAY                                                                                SOUTH JORDAN    UT    84095‐3410
MRS JEROME ARISTEI CUST CLARK J ARISTEI UGMA CA  4010 OCEAN DR                                                                                       MANHATTAN       CA    90266‐3150

MRS JERRE J BOOTH & MRS FRANCES S SAVIGNAC JT TEN 9426 PINE AVE                                                                                      ST LOUIS        MO    63144‐1024
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Name                                                 Address1                               Address2              Address3         Address4          City             State Zip

MRS JERRINE L PLACEK                                 635 NORTH WILKE ROAD                                                                            ARLINGTON        IL    60005‐1044
                                                                                                                                                     HEIGHTS
MRS JESSELYN B ZURIK                                 3701 BEHRMAN PLACE                     APT 260 & 262                                            NEW ORLEANS      LA    70114‐0910
MRS JESSICA BEMIS WARD                               107 OAKWOOD PLACE                                                                               LYNCHBURG        VA    24503‐2035
MRS JESSIE GREGORY LUTZ                              750 WEAVER DAIRY DR APT 3118                                                                    CHAPEL HILL      NC    27514‐1443
MRS JESSIE MARY HALL GARDNER                         635 FREDERICK ST                                                                                VIENNA           VA    22180‐6360
MRS JESSIE PETERS MC ROBBIE                          319 EUCLID AVE                                                                                  LYNN             MA    01904‐1939
MRS JETTA HARTER                                     11000 GILBERT CREEK ROAD                                                                        WILLAMINA        OR    97396‐9521
MRS JEWELL COOK WILLIAMS                             134 KAFFIE DR                                                                                   NATCHITOCHES     LA    71457‐5018
MRS JEWELL ELAINE CAMPBELL                           PO BOX 1653                                                                                     BIRMINGHAM       MI    48012‐1653
MRS JEWELL G WHITLEY                                 246 GLENWOOD DRIVE                                                                              OAKBORO          NC    28129‐9406
MRS JEWELL M CARL                                    838 ANCHOR DR                                                                                   HENDERSON        NV    89015‐2792
MRS JILL BAXTER CUST MISS NICOLE BAXTER UGMA DE      38 COACH HILL DRIVE                                                                             NEWARK           DE    19711‐7636

MRS JILL L TRIBELL CUST T J TRIBELL UGMA MI          3937 TRAILWOOD                                                                                  OKEMOS           MI    48864‐3742
MRS JILL MIES JR CUST MISS MARSHA JO MIES JR U/THE   261 E DIVISION ST                                                                               FOND DU LAC      WI    54935‐4344
WISC U‐G‐M‐A
MRS JIMMIE LEE PORCHE                                11130 EBERT DR                                                                                  ST LOUIS         MO    63136‐4609
MRS JO ANN D CLAPS                                   12 NINA PLACE                                                                                   RANDOLPH         NJ    07869‐2813
MRS JO ANN DOWNEY & MRS WANDA LEE TOWNSEND           PO BOX 1640                                                                                     BOCA GRANDE      FL    33921‐1640
JT TEN
MRS JO ANN FLEMING                                   56 CARTERET AVE                                                                                 CARTERET         NJ    07008‐2518
MRS JO ANN MARKEL & BART D MARKEL JT TEN             3211 W HILL RD                                                                                  FLINT            MI    48507‐3863
MRS JO ANN MC DONNELL                                125 PLEASANT RIDGE DR                                                                           SALINE           MI    48176‐1563
MRS JO ANN R RODDY                                   11 WESTELM GARDENS                                                                              SAN ANTONIO      TX    78230‐2631
MRS JO ANN SCHMIDT                                   ATTN JO ANN STEWART                    115 THAYER                                               LITTLE ROCK      AR    72205‐5951
MRS JO ANNE CAROL POWELL                             518 BOWERS CT                                                                                   CIRCLEVILLE      OH    43113‐1175
MRS JO DEE A HARTMANN & MISS LIANNE K                344 STONEBROOKE DR                                                                              MC MURRAY        PA    15317‐3410
HARTMANN JT TEN
MRS JO DEE HARTMAN                                   344 STONEBROOKE DR                                                                              MC MURRAY        PA    15317‐3410
MRS JOAN A LEDGERWOOD                                12 BROADWAY #D                                                                                  PARK RIDGE       NJ    07656‐2157
MRS JOAN A MALEK CUST JOSEPH M MALEK UGMA MA         34 SHIRE RD                                                                                     LEOMINSTER       MA    01453

MRS JOAN A ROT                                7001 FOSTER PLACE                                                                                      DOWNERS GROVE    IL    60516‐3446
MRS JOAN A VINCENT                            346 PRINCE ALBERT RD                          DARTMOUTH NS                           B2Y 1N6 CANADA
MRS JOAN ANN KISHBAUGH                        215 SOUTH REACH LN                                                                                     SALEM            SC    29676‐4608
MRS JOAN B SCHWARZ CUST JACLYN A SCHWARZ UGMA 29 CARNEY RD                                                                                           HONESDALE        PA    18431
PA
MRS JOAN B ST JOHN                            76 MONTROSE AVE                                                                                        BABYLON          NY    11702‐2625
MRS JOAN BAIN CUST MICHAEL BAIN UGMA NJ       11579 SW APPLE BLOSSOM TRL                                                                             PORT ST LUCIE    FL    34987‐2472
MRS JOAN BELL ROBINSON                        158 HILLIGOSS                                                                                          CATHEDRAL CITY   CA    92234‐6616
MRS JOAN BERKEY                               365 UNIT C                                    96TH ST               PO BOX 216                         STONE HARBOR     NJ    08247‐0216
MRS JOAN C BEESON                             59 WEST DR                                                                                             LIVINGSTON       NJ    07039‐3524
MRS JOAN C DUTKIEWICZ                         1534 48TH ST S E                                                                                       KENTWOOD         MI    49508‐4612
MRS JOAN C LAMBERT                            45 MAPLE ST APT 3A                                                                                     NORWALK          CT    06850‐3616
MRS JOAN C LUCCA                              99 NEW HEMPSTEAD RD                                                                                    NEW CITY         NY    10956‐3631
MRS JOAN C MILLER                             5520 FARLEY AVE                                                                                        MERRIAM          KS    66203‐2431
MRS JOAN C NICKCHEN                           648 OBERLIN DR                                                                                         CLEARWATER       FL    33765‐2314
MRS JOAN C PRENTICE CUST BRADFORD C PRENTICE  6548 WASHINGTON                                                                                        GROVES           TX    77619‐5423
UGMA CA
MRS JOAN CAROL WAUGH                          702 SILVER AVE                                                                                         BALTIMORE        MD    21221‐5009
MRS JOAN CARROLL RAICHART                     C/O JOAN R PARKER                             8201 BONNIE OAK WAY                                      CITRUS HEIGHTS   CA    95610‐0727
MRS JOAN D CARR CUST JEFFERSON E CARR UGMA TN 5419 COLLINGWOOD                                                                                       MEMPHIS          TN    38120‐2214

MRS JOAN D CARR CUST MISS PATRICIA M CARR UGMA 5419 COLLINGWOOD COVE                                                                                 MEMPHIS          TN    38120‐2214
TN
MRS JOAN D LEE CUST BRIAN LEE UGMA IL          691 GLASGOW LN                                                                                        PROSPECT HEIGHTS IL    60070‐2588
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Name                                            Address1                                Address2             Address3          Address4          City               State Zip

MRS JOAN D LEE CUST JAMES LEE UGMA IL           691 GLASGOW LN                                                                                   PROSPECT HEIGHTS IL      60070‐2588

MRS JOAN D LEE CUST JOANNE LEE UGMA IL          691 GLASGOW LN                                                                                   PROSPECT HEIGHTS IL      60070‐2588

MRS JOAN D LEE CUST JOHN LEE UGMA IL            691 GLASGOW LN                                                                                   PROSPECT HEIGHTS IL      60070‐2588

MRS JOAN D LEE CUST ROBERT LEE JR UGMA IL       691 GLASGOW LN                                                                                   PROSPECT HEIGHTS IL      60070‐2588

MRS JOAN D LEE CUST SUSAN LEE UGMA IL           691 GLASGOW LN                                                                                   PROSPECT HEIGHTS IL      60070‐2588

MRS JOAN DILLON KIRAN                            4251 SHADY HILL DR                                                                              DALLAS             TX    75229‐2851
MRS JOAN E OTLOSKI CUST ALYCIA A OTLOSKI UGMA MI 2529 N CHEVROLET AVE                                                                            FLINT              MI    48504‐2843

MRS JOAN E OTLOSKI CUST ELIZABETH L OTLOSKI UGMA 5505 MAPLE RIDGE ROAD                                                                           HASLETT            MI    48840‐8674
MI
MRS JOAN E OTLOSKI CUST JENNIFER M OTLOSKI UGMA 2529 N CHEVROLET AVE                                                                             FLINT              MI    48504‐2843
MI
MRS JOAN E OTLOSKI CUST MARK E OTLOSKI UGMA MI 1474 W 29TH ST #3                                                                                 CLEVELAND          OH    44113‐2961

MRS JOAN E PARKER                               422 MORGAN DR                                                                                    LEWISTON           NY    14092‐1013
MRS JOAN F WILSON                               7112 PINE NEEDLE ROAD                                                                            SARASOTA           FL    34242‐2656
MRS JOAN F WOODS                                524 SUNSET DRIVE                                                                                 WORLAND            WY    82401‐3007
MRS JOAN GABELMAN                               6669 GARDE RD                                                                                    BOYNTON BEACH      FL    33437‐7316
MRS JOAN GUTTENBERG                             2725 S 12TH ST                                                                                   SHEBOYGAN          WI    53081‐6701
MRS JOAN H PITT CUST JAMES R PITT UGMA MI       1585 LEDBURY                                                                                     BLOOMFIELD HILLS   MI    48304‐1244

MRS JOAN H PITT CUST MOLLY J PITT UGMA MI       1585 LEDBURY                                                                                     BLOOMFIELD HILLS   MI    48304‐1244

MRS JOAN IVANOFF SHOPE                           BOX 325                                                                                         BOTSFORD           CT    06404‐0325
MRS JOAN K MONTGOMERY                            3204 ALDEN DELL                                                                                 LOUISVILLE         KY    40207‐3615
MRS JOAN L ABELE                                 5 BLUFF VIEW                                                                                    MEDFORD            NJ    08055‐3832
MRS JOAN L BIDDLE JONES CUST ROBERT WESLEY JONES 4242 BRYANT IRVIN RD                   APT 208                                                  BENBROOK           TX    76109‐4235
UGMA TX
MRS JOAN L JACKSON                               4 OLD WAKEFIELD ROAD                                                                            ROCHESTER          NH    03868‐8725
MRS JOAN L LEE                                   2215 TOTTENHAM RD                                                                               BLOOMFIELD         MI    48301‐2334
MRS JOAN LEE                                     970 CAPE MARCO DR APT 1105                                                                      MARCO ISLAND       FL    34145‐6655
MRS JOAN M CRAWFORD                              APT 713                                47 MEMORIAL DR       BRANTFORD ON      N3R 6N5 CANADA
MRS JOAN M HERR                                  12108 S ADRIAN HIGHWAY                                                                          JASPER             MI    49248‐9742
MRS JOAN M KAPUSNIK                              620 CALLE MONTERA                                                                               ESCONDIDO          CA    92025‐7957
MRS JOAN M MC NAMARA                             4175 APPALOOSA LANE                                                                             MIDDLETOWN         MD    21769‐6602
MRS JOAN M RICCI & JOSEPH L RICCI JT TEN         92 MAIN ST                             UNIT 410                                                 DEEP RIVER         CT    06417‐1841
MRS JOAN M SHEA                                  PO BOX 930                                                                                      MONTAUK            NY    11954‐0702
MRS JOAN M SPRANKLE                              1768 LEIMERT BLVD                                                                               OAKLAND            CA    94602‐1930
MRS JOAN MARDEN                                  347 MADISON AVE                                                                                 SOUDERTON          PA    18964‐1863
MRS JOAN MARGARET BROSCH BISHOP                  719 58TH ST                                                                                     WEST PALM BEACH    FL    33407‐2523

MRS JOAN MILLER CUST GREGG MILLER UGMA IN       1852 SUNSET RD                                                                                   HIGHLAND PARK      IL    60035‐2345
MRS JOAN MINO                                   740 SECOR RD                                                                                     HARTSDALE          NY    10530‐1329
MRS JOAN N YAMAMOTO                             211 RUSSELL AVENUE                      APT 26                                                   GAITHERSBURG       MD    20877‐2814
MRS JOAN O SULLIVAN                             6479 CARRIAGE HILL DR                                                                            GRAND BLANC        MI    48439‐9536
MRS JOAN OCCHIPINTI                             21 VALLEY BROOK DRIVE                                                                            EMERSON            NJ    07630‐1026
MRS JOAN OVERPECK                               4933 S 400 E                                                                                     ROCKVILLE          IN    47872‐7036
MRS JOAN PASMAN CUST STEFANIE PASMAN UGMA MI    15106 KESTRELRISE DR                                                                             LITHIA             FL    33547

MRS JOAN PLAGER                                 131 SHORE DRIVE W                                                                                MIAMI              FL    33133‐2627
MRS JOAN R WARE                                 65 SUMMER ST                                                                                     MANCHESTER         MA    01944‐1520
MRS JOAN SAMMARTANO                             751 OLD FARM RD                                                                                  BRIDGEWATER        NJ    08807‐1210
MRS JOAN SCHWITZ SCHNEIDER                      6595 HAWARDEN DR                                                                                 RIVERSIDE          CA    92506‐5109
MRS JOAN SHULTS & DOUGLAS SHULTS JT TEN         8381 DEERFOOT DR                                                                                 LINDEN NC          NC    28356‐9625
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Name                                               Address1                               Address2              Address3         Address4          City             State Zip

MRS JOAN SPECTOR CUST SCOTT SPECTOR UGMA NY        73 BACON RD                                                                                     OLD WESTBURY     NY    11568‐1502

MRS JOAN STANTON MACKIE                        348 S SWALL DR                                                                                      BEVERLY HILLS    CA    90211‐3612
MRS JOAN STEHR CUST NEVA JOAN LINDBURG UGMA IL 1108 WAGONWHEEL SE                                                                                  ALBUQUERQUE      NM    87123‐4247

MRS JOAN T STACK                              23 LONGVIEW DR                                                                                       EASTCHESTER      NY    10709‐1424
MRS JOAN TAKACH & ALBERT TAKACH JT TEN        456 OUTLOOK AVE                                                                                      COLONIA          NJ    07067‐3507
MRS JOAN TOMASZEWSKI & JOHN TOMASZEWSKI JT    35 VIRGINIA AVE                                                                                      ROCKVILLE CENTRE NY    11570‐1726
TEN
MRS JOAN VASILOPOULOS                         101 SEAVIEW DR                                                                                       PLYMOUTH         MA    02360‐1271
MRS JOAN W COMPSON & RICHARD G COMPSON JT TEN 3405 MARTIN RD                                                                                       CLINTON          NY    13323‐3814

MRS JOAN W GLOCKNER                                5935 N HIGH ST                         APT 102                                                  COLUMBUS          OH   43085‐3974
MRS JOAN W HANSEL                                  113 CYPRESS VIEW DR                                                                             NAPLES            FL   34113‐8066
MRS JOAN WARD                                      5079 VALLEY STREAM LANE                                                                         MACUNGIE          PA   18062‐8888
MRS JOAN WEISGERBER                                3126 GRACEFIELD ROAD                   APT 101                                                  SILVER SPRING     MD   20904
MRS JOAN WOLCZANSKI CUST JENNIFER L WOLCZANSKI     735 BLUEJAY CIR                                                                                 ELK GROVE VILLAGE IL   60007‐6914
UGMA IL
MRS JOANN E STRACHOVSKY CUST JOHN T                428 GLENWOOD DR                                                                                 AMBRIDGE         PA    15003‐2146
STRACHOVSKY UGMA OH
MRS JOANN JK CROWLEY                               438 AKRON RD                                                                                    WADSWORTH        OH    44281‐9487
MRS JOANN MURPHY CUST TARA ANN MURPHY UNDER        C/O JOANN MURPHY                       14 ELK LANE                                              CENTEREACH       NY    11720‐1326
THE NY U‐G‐M‐A
MRS JOANN R REIDENBACH                             60 DELAWARE XING E                                                                              DELAWARE         OH    43015‐2593
MRS JOANN SOVA SCHEETZ                             625 TRAVERS CIR                        APT B                                                    MISHAWAKA        IN    46545‐3754
MRS JOANNE ARIOLA CUST LISA M ARIOLA UGMA CT       92 GEORGETOWN DR                                                                                WATERBURY        CT    06795‐3342

MRS JOANNE CRONIN                              7 ELM DR                                                                                            STONY POINT      NY    10980‐2126
MRS JOANNE F SOLOMON CUST SHERYL BETH SOLOMON 2328 OLEAN ST                                                                                        BROOKLYN         NY    11210‐5141
UGMA NY
MRS JOANNE G KELLER CUST AMY JO KELLER UGMA PA 75 CHAMBERS AVE                                                                                     GREENVILLE       PA    16125‐1739

MRS JOANNE GIVENS                             215 TERRACE DR                                                                                       MAYFIELD         KY    42066‐1922
MRS JOANNE GOODMAN CUST GEOFFREY ERIC         3080 ROUND TREE LN                                                                                   FRISCO           TX    75034‐4476
GOODMAN UGMA NY
MRS JOANNE HOLBERT MINOR                      24900 GLENBROOKE DR                                                                                  SOUTHFIELD       MI    48034‐2515
MRS JOANNE L FLENTKE CUST GEORGE R FLENTKE    5805 ANKORAGE AVE                                                                                    MADISON          WI    53705‐4403
UGMA NY
MRS JOANNE M MAGDA & MRS RUBY M PARENT JT TEN PO BOX 28049                                500 TECUMSEH ROAD E   WINDSOR ON       N8X 5E4 CANADA

MRS JOANNE M SOKOL                                 32952 SUMMERS                                                                                   LIVONIA          MI    48154‐4142
MRS JOANNE R DUBREE                                532 CINDER ROAD                                                                                 NEW PROVIDENCE   PA    17560‐9633

MRS JOANNE T LEVINE CUST STEVEN J LEVINE UGMA IL   4309 OAK KNOLL COURT                                                                            NORTHBROOK       IL    60062‐1052

MRS JODIE LORBERBAUM                               404 KING ARTHUR COURT                                                                           SAVANNAH         GA    31405‐5964
MRS JOE ANNE KASTER OVERSTREET                     2625 MC COY WAY                                                                                 LOUISVILLE       KY    40205‐2361
MRS JOHANNA DROOZ YOFFIE                           6 CHILTERN HILL DR                                                                              WORCESTER        MA    01602‐1415
MRS JOHANNA FRITSCH CANELLI CUST JANINE CANELLI    47 SQUIRE LANE                                                                                  HAMDEN           CT    06518‐1417
UGMA CT
MRS JOHANNA HURST VEENEMAN & WILLIAM H             11503 WILLOW LANE                                                                               ANCHORAGE        KY    40223‐2349
VEENEMAN JT TEN
MRS JOHANNA KOLBE                                  760 JEFFERSON AVE                                                                               CLIFFSIDE PARK   NJ    07010‐2130
MRS JOHANNA MISCH                                  ATTN THE BANK OF NEW YORK              PO BOX 11203                                             NEW YORK         NY    10286‐1203
MRS JOHANNA ROSENBERG                              15 PINE ST                                                                                      WOODMERE         NY    11598‐2625
MRS JOHN MANGAN CUST MATTHEW MANGAN UGMA           141 HERGEROW LANE                                                                               WEST CHESTER     PA    19380‐6503
PA
MRS JOHNNA S KELBAUGH                              72 HARRISON DR                                                                                  FAIRLESS HILLS   PA    19030‐2017
MRS JOLEEN D ALLEN                                 1714 BENTBROOK DR                                                                               CHAMPAIGN        IL    61822‐9217
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Name                                             Address1                            Address2             Address3          Address4          City             State Zip

MRS JOLEEN D ALLEN CUST GREGORY K ALLEN UGMA IL BOX 157                                                                                       ALLERTON         IL    61810‐0157

MRS JOSEPHA L KELLY                            PO BOX 296                                                                                     CHATHAM          MA    02633‐0298
MRS JOSEPHINE A CONRAD                         9214 RIVER OAKS RD                                                                             HARRISON         TN    37341‐9573
MRS JOSEPHINE A LYONS                          2 ENGLEWOOD DR APT D6                                                                          HARWICH          MA    02645‐2740
MRS JOSEPHINE AMEDURI                          135 NOEL STREET                                                                                STATEN ISLAND    NY    10312‐6014
MRS JOSEPHINE ANN POMEROY COOPER               131 KEYSTONE DR                                                                                SEBASTIAN        FL    32958‐6979
MRS JOSEPHINE DISALVO CUST SAMUEL DISALVO UGMA 250 FAIRBOURNE PARK                                                                            ROCHESTER        NY    14626‐1287
NY
MRS JOSEPHINE F BROADWATER                     ATTN JOSEPHINE F EVERROAD             32 THOMAS CIR W                                          EUREKA SPRINGS   AR    72631‐4316
MRS JOSEPHINE JOHNSON FRANZHEIM                369 MONTEZUMA AVE                     #122                                                     SANTA FE         NM    87501‐2626
MRS JOSEPHINE K BRESNAHAN                      4912 GADSEN DR                                                                                 FAIRFAX          VA    22032‐2215
MRS JOSEPHINE KRAMER                           2 STUYVESANT OVAL                                                                              NY               NY    10009‐2111
MRS JOSEPHINE M MUTINO                         30 BARTON PLACE                                                                                PORT CHESTER     NY    10573‐2430
MRS JOSEPHINE M RADFORD                        4724 OBANNON DR                                                                                LAS VEGAS        NV    89102‐3576
MRS JOSEPHINE M SIGLER                         PO BOX 7355                                                                                    ERIE             PA    16510‐0355
MRS JOSEPHINE M SKRZYNIARZ                     106 HIXSON RD                                                                                  FLEMINGTON       NJ    08822‐7066
MRS JOSEPHINE MARTINO                          APT 12‐C                              61‐35 98TH ST                                            REGO PARK        NY    11374‐1424
MRS JOSEPHINE MILAN ABBOTT                     3206 WINTERBERRY DR SW                                                                         ROANOKE          VA    24018‐2864
MRS JOSEPHINE R PUCCI & ROBERT J PUCCI JT TEN  53526 OAK GROVE                                                                                SHELBY TWP       MI    48315

MRS JOSEPHINE SEIBEL                             50 CORNING BLVD APT 203                                                                      CORNING          NY    14830
MRS JOSEPHINE STEPHEN                            173 CHEROVAN DR                     CALGARY AB                             T2V 2P4 CANADA
MRS JOSEPHINE T HARRIS                           8321 SE ASTOR ST                                                                             PORTLAND         OR    97267
MRS JOSEPHINE T TAMULEVIZ                        77 DOVER RD                                                                                  MILLIS           MA    02054‐1338
MRS JOSEPHINE VOLPE                              341 EAST 81ST ST                                                                             NEW YORK         NY    10028‐4073
MRS JOY ANN BAXTER                               413 PALOMA PLACE SOUTH                                                                       TAMPA            FL    33609
MRS JOY ANNE SPELLMAN                            116 SILVER SPRING LANE                                                                       RIDGEFIELD       CT    06877‐5601
MRS JOY B SHULL                                  5108 BARLEY DRIVE                                                                            STEPHENS CITY    VA    22655‐2604
MRS JOYANNE M BURRELL                            75 GROVEVIEW CIR                                                                             ROCHESTER        NY    14612‐2807
MRS JOYCE A CATOR                                180 FORGE RD                                                                                 DELRAN           NJ    08075‐1905
MRS JOYCE ANN MOORE                              1639 E BLACKFORD AVE                                                                         EVANSVILLE       IN    47714‐2041
MRS JOYCE ARMSTRONG                              APT 2‐L                             27 W CLINTON AVE                                         TENAFLY          NJ    07670‐2073
MRS JOYCE B CHRISTENSEN                          15 COLONIAL RIDGE DR                                                                         YARDLEY          PA    19067‐3109
MRS JOYCE B LADAR CUST JEFFERY B LADAR UGMA CA   1111 BAY STREET #206                                                                         SAN FRANCISCO    CA    94123‐2363

MRS JOYCE BERTHE JONES                           13310 3RD AVENUE SW                                                                          SEATTLE          WA    98146‐3326
MRS JOYCE BROOKS ROBINSON                        4114 MURRAYHILL RD                                                                           CHARLOTTE        NC    28209‐4735
MRS JOYCE C NORMAN                               PO BOX 206                                                                                   RAIFORD          FL    32083‐0206
MRS JOYCE E BAUER                                1267 E 500 NORTH RD                                                                          CISSNA PARK      IL    60924‐8874
MRS JOYCE E BRAUN                                101 FREEMAN CIRCLE                                                                           GRIFFIN          GA    30224‐5118
MRS JOYCE E JURUS                                8844 HAWTHORNE POINT                                                                         WESTERVILLE      OH    43082‐9605
MRS JOYCE FAY HERNDON                            1301 KOLLMAN                                                                                 HONDO            TX    78861‐1014
MRS JOYCE FOGG GREGORY                           11483 BARNUM LAKE RD                                                                         FENTON           MI    48430‐9720
MRS JOYCE FREED                                  15 CANDLEWOOD DR                                                                             WEST HARTFORD    CT    06117‐1010
MRS JOYCE G STOCKER                              1015 S 16TH ST                                                                               COSHOCTON        OH    43812‐2711
MRS JOYCE GOODMAN CUST JUSTIN ROSS UGMA NY       812 FARRAGUT ST NW                                                                           WASHINGTON       DC    20011

MRS JOYCE H BARTON                              6 QUAY COURT                                                                                  YARDVILLE        NJ    08620
MRS JOYCE H BERGSTROM CUST ROBERT G BERGSTROM 33 BLACKBERRY DR                                                                                BREWSTER         NY    10509‐4109
UGMA NY
MRS JOYCE HARDY                                 300 W FARM POND RD                   APT 114                                                  FRAMINGHAM       MA    01702‐6249
MRS JOYCE HOFFMAN                               2111 SW 21ST AVE                                                                              PORTLAND         OR    97201‐2356
MRS JOYCE J HERMAN CUST JOY ALICIA SKINNER UGMA 2510 VIRGINIA                                                                                 JOPLIN           MO    64804‐2647
MO
MRS JOYCE LAZAR CUST LAWRENCE DAVID LAZAR UGMA 10204 DELAIRE LANDING RD                                                                       PHILADELPHIA     PA    19114‐5125
PA
MRS JOYCE MC DONALD                             16 SHERWOOD LANE                                                                              NUTLEY           NJ    07110‐2550
MRS JOYCE P HIRT                                80 DAVIS LANE                                                                                 RED BANK         NJ    07701‐5563
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Name                                              Address1                                Address2                    Address3   Address4          City            State Zip

MRS JOYCE P KARPINSKI                         12802 WALLINGFORD DR                                                                                 TAMPA           FL    33624‐6354
MRS JOYCE PETERSON THURMER CUST ELIZABETH S   1435 OLD TALE RD                                                                                     BOULDER         CO    80303‐1323
THURMER UGMA CO
MRS JOYCE R DE VALINGER                       EMERALD SPRINGS RANCH                       651 STATE ROUTE 186                                      SARANAC LAKE    NY    12983‐5717
MRS JOYCE S GODWIN & J LINDSAY BIXLER JT TEN  C/O MRS JOYCE S MORRIS                      3159 KNOLLWOOD DR APT 59C                                MOBILE          AL    36693‐2750
MRS JOYCE SHEVLAND CUST MATTHEW ROBERT        13206 TRIADELPHIA RD                                                                                 ELLICOTT CITY   MD    21042‐1143
SHEVLAND UTMA IL
MRS JOYCE SHEVLAND CUST NICHOLAS EDWARD       13206 TRIADELPHIA RD                                                                                 ELLICOTT CITY   MD    21042‐1143
SHEVLAND UTMA IL
MRS JOYCE SHEVLAND CUST RYAN MICHAEL SHEVLAND 13206 TRIADELPHIA RD                                                                                 ELLICOTT CITY   MD    21042‐1143
UTMA IL
MRS JOYCE TYSON                               3249 ORCHARD HILL DR                                                                                 BELLAIRE        MI    49615‐9389
MRS JOYCE W BEATENBOUGH                       11037 PRATT LN                                                                                       LYNDONVILLE     NY    14098‐9424
MRS JOYCE Y SEE                               11300 SE 74TH AVE                                                                                    BELLEVIEW       FL    34420‐4226
MRS JUANITA FURR                              APT 4‐A                                     1 PROSPECT PARK SW                                       BROOKLYN        NY    11215‐5947
MRS JUANITA G OWEN                            3945 KESSLER FREDERICK RD                                                                            WEST MILTON     OH    45383‐9705
MRS JUANITA HAYDON BAKER                      1434 CATNIP HILL ROAD                                                                                NICHOLASVILLE   KY    40356‐9792
MRS JUANITA IRVIN CUST KIMBERLY KAY BEARMAN   ROUTE #1 BOX 407 CR550E                                                                              CHURUBUSCO      IN    46723‐9801
UGMA IN
MRS JUANITA R SMITH                           225 PINE ST                                                                                          FREEPORT        NY    11520‐3342
MRS JUANITA WARD                              ROUTE 2                                                                                              CHARLESTOWN     IN    47111‐9802
MRS JUDI SHAVER BEEMSTERBOER                  931 MUIRFIELD COURT                                                                                  SCHEREVILLE     IN    46375‐2973
MRS JUDITH A EBERT                            3164 GALLAHAD DR                                                                                     VIRGINIA BCH    VA    23456‐8291
MRS JUDITH A FOGDALL                          2018 TERRACE DR                                                                                      CEDAR FALLS     IA    50613‐5800
MRS JUDITH A LYNCH                            16 BROOK KNOLL RD                                                                                    HORSEHEADS      NY    14845‐3410
MRS JUDITH A MAIER                            732 WESTPORT DR                                                                                      JOLIET          IL    60431‐4863
MRS JUDITH A MITCHELL                         4274 REYES DRIVE                                                                                     TARZANA         CA    91356‐5126
MRS JUDITH ANN ARNOLD                         2820 SWANEY RD                                                                                       HARROD          OH    45850‐8421
MRS JUDITH ANN HALL                           SANDY POND ROAD                                                                                      LINCOLN         MA    01773
MRS JUDITH ANN HARDY CUST SCOTT ALDEN HARDY   PO BOX 202                                                                                           WRENTHAM        MA    02093‐0202
UGMA NY
MRS JUDITH ANN KOLB CUST ANDREA MARGARET KOLB 69 CAPTAINS RD                                                                                       NORTH WOODMERE NY     11581‐2806
UGMA NY
MRS JUDITH ANN MC ILVAINE                     PO BOX 304                                                                                           BROWNFIELD      ME    04010‐0304
MRS JUDITH ANNE Z THORNE                      11930 ESCALANTE CT                                                                                   RESTON          VA    20191‐1845
MRS JUDITH BERMAN CUST TODD BERMAN UGMA NY 153 HIDDEN RIDGE COMMON                                                                                 WILLIAMSVILLE   NY    14221‐5765

MRS JUDITH BRACKETT & MRS CHERYL P CHESSEY JT TEN 4227 KIRBY AE                                                                                    CINCINNATI      OH    45223‐2030

MRS JUDITH BRACKETT & MRS JUDITH COLLEEN GRACE    5071 DELLERS GLEN DR                                                                             CINCINNATI      OH    45238
JT TEN
MRS JUDITH BRACKETT & MRS KATHLEEN JORDAN JT      4943 BONAVENTURE                                                                                 CINCINNATI      OH    45238‐6007
TEN
MRS JUDITH C JOHNSON                              115A HIGHROCK RD                                                                                 WEARE           NH    03281‐5530
MRS JUDITH C JONES                                751 WOODLAND DR                                                                                  FRANKFORT       IN    46041‐1474
MRS JUDITH C MADDOCK                              1701 S FLAGLER DR                       APT 1202                                                 W PALM BEACH    FL    33401‐7342
MRS JUDITH C PERKINS & MILES S PERKINS JT TEN     195 LANE 275B LK                                                               46747 TURKEY
MRS JUDITH C YOUNGMAN                             12 WEDGEWOOD CIR                                                                                 NORTHUMBERLND   PA    17857‐9700

MRS JUDITH CRAGG                                  2373 TANDY DR                                                                                    FLINT           MI    48532‐4959
MRS JUDITH D HOTZE                                2620 GALLERY CT                                                                                  CAMERON PARK    CA    95682‐8640
MRS JUDITH E KOFF                                 33 VICTORIA RD                                                                                   ARDSLEY         NY    10502‐1215
MRS JUDITH ELLENBERGER                            5555 PLANTATION                                                                                  TOLEDO          OH    43623‐1049
MRS JUDITH F NAJOLIA                              333 LEE DRIVE UNIT G32                                                                           BATON ROUGE     LA    70808
MRS JUDITH GREENBERG CUST CINDY GREENBERG         ATTN CINDY LIEBERMAN                    36 CANTERBURY LANE                                       BUFFALO GROVE   IL    60089
U/THE NEW YORKU‐G‐M‐A
MRS JUDITH HOILES THRESHIE                        18142 ESTES WAY                                                                                  SANTA ANA       CA    92705‐2639
MRS JUDITH J PELTON & KENNETH B PELTON JT TEN     4737 RANSOM ST                                                                                   HUDSONVILLE     MI    49426‐9406
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Name                                             Address1                              Address2             Address3          Address4          City             State Zip

MRS JUDITH L CANTOR                            5685 FORMAN DR                                                                                   BLOOMFIELD       MI    48301‐1154
MRS JUDITH LEE KOCH                            303 LOMBARDY DR                                                                                  BEREA            OH    44017‐1038
MRS JUDITH M HAYDEN                            14268 MERRIWEATHER                                                                               WARREN           MI    48089‐2138
MRS JUDITH M JONNA CUST HEATHER M JONNA UGMA 35267 STRATTON HILL CT                                                                             FARMINGTON HILLS MI    48331‐4508
MI
MRS JUDITH M LEFKOWITZ                         1320 NECK RD                                                                                     BURLINGTON       NJ    08016‐3912
MRS JUDITH M LETAVIS                           5212 GREENLEAF                                                                                   SWARTZ CREEK     MI    48473‐1134
MRS JUDITH M RUEHRUP CUST RYAN O RUEHRUP UGMA RR 1 BOX 189                                                                                      NEW DOUGLAS      IL    62074‐9604
IL
MRS JUDITH M WALIER CUST JILL C WALIER UGMA NH 56 SKYLINE DR                                                                                    KEENE            NH    03431‐5258

MRS JUDITH MC CLELLAND                           11801 TREVETT RD                                                                               SPRINGVILLE      NY    14141‐9676
MRS JUDITH PASTOR ALTENBERG                      2934 LOSANTIRIDGE                                                                              CINCINNATI       OH    45213‐1034
MRS JUDITH RIEGER                                2251 PLUMB 1ST ST 6A                                                                           BROOKLYN         NY    11229‐5749
MRS JUDITH ROGERS                                5 WHITEHOUSE ST                                                                                ROCHESTER        NH    03867‐3439
MRS JUDITH S MC KAY                              403 BROOKMEADE DRIVE                                                                           WEST CHESTER     PA    19380‐1916
MRS JUDITH SHLENSKY CUST SUSAN SHLENSKY UGMA     67 ROLLINGSWAY                                                                                 NEW ROCHELLE     NY    10804‐2405
NY
MRS JUDITH SHLENSKY CUST SUZI Q SHLENSKY UGMA    67 ROLLING WAY                                                                                 NEW ROCHELLE     NY    10804‐2405
WI
MRS JUDITH SHLENSKY CUST SUZI SHLENSKY UGMA NY   67 ROLLING WAY                                                                                 NEW ROCHELLE     NY    10804‐2405

MRS JUDITH SHLENSKY CUST WENDY LYNN SHLENSKY   67 ROLLING WAY                                                                                   NEW ROCHELLE     NY    10804‐2405
UGMA IL
MRS JUDITH SHLENSKY CUST WENDY SHLENSKY UGMA 67 ROLLING WAY                                                                                     NEW ROCHELLE     NY    10804‐2405
NY
MRS JUDITH SIMKIN                              8707 TIERRA LAGO CV                                                                              LAKE WORTH       FL    33467‐6984
MRS JUDITH STOROZUK                            1304 WESTERN AVE                                                                                 WESTFIELD        MA    01085‐3989
MRS JUDITH VOISIN                              APT 21M                                 245 E 54TH ST                                            NEW YORK         NY    10022‐4722
MRS JUDITH VORCHHEIMER CUST DAVID VORCHHEIMER 645 W 239TH ST                                                                                    RIVERDALE        NY    10463‐1234
UGMA NY
MRS JUDITH WINTERS                             927 5TH AVE                                                                                      NY               NY    10021‐2650
MRS JUDITH WITTERS CUST MARGARET M WITTER      PO BOX 50                                                                                        NORWICH          VT    05055‐0050
UGMA MA
MRS JUDITH WITTERS CUST SEAN A WITTERS UGMA MA PO BOX 50                                                                                        NORWICH          VT    05055‐0050

MRS JUDITH WOLFF KIMBERG                         32 SHERBROOKE ROAD                                                                             HARTSDALE        NY    10530‐2938
MRS JUDY A BYERS                                 48 CLINE DRIVE                                                                                 INWOOD           WV    25428‐3014
MRS JUDY A COX                                   143 HARTFORD AVE                                                                               BELLINGHAM       MA    02019‐3002
MRS JUDY ANN SCHMITZ                             5915 PATTERSON DR                                                                              TROY             MI    48098‐3856
MRS JUDY FAITH JUMP                              4263 GARBOR DR                                                                                 WARREN           MI    48092‐5116
MRS JUDY GILSTEN CUST PETER MICHAEL GILSTEN      447 E 14TH ST #1C                                                                              NEW YORK         NY    10009‐2720
U/THE NYU‐G‐M‐A
MRS JUDY HALPERIN                                1913 MAC ARTHUR DRIVE                                                                          MC LEAN          VA    22101‐5338
MRS JUDY MAGILL                                  8219 NE 119TH ST                                                                               KIRKLAND         WA    98034‐5822
MRS JUDY U TERADA                                1006 S 244TH PLACE                                                                             DES MOINES       WA    98198‐3890
MRS JUDY VOISIN CUST DAVID GARY LEIBOWITS UGMA   ATTN JUDY LAMBERT                     APT 24R              245 E 54TH ST                       NEW YORK         NY    10022‐4723
NY
MRS JULI SCHARFF BAUMAN                          30 OLD MARYLAND CHASE                                                                          ATLANTA          GA    30327‐4279
MRS JULIA A DUBERG                               20930 ASCENSION AVE                                                                            WARREN           MI    48089‐2915
MRS JULIA A GOLDMAN                              3538 FAIR OAKS LN                                                                              LONGBOAT KEY     FL    34228
MRS JULIA B KNOWLTON                             4880 PRIMROSE PATH                                                                             GLOUCESTER       VA    23061‐3518
MRS JULIA B MANUEL                               197 VARSITY AVE                                                                                PRINCETON        NJ    08540‐6425
MRS JULIA BUDNEY                                 890 WILLARD AVE                                                                                NEWINGTON        CT    06111‐2854
MRS JULIA C LONGCOPE                             273 SORRENTO RD                                                                                KISSIMMEE        FL    34759‐4065
MRS JULIA COUGHLIN                               16 VISTAVIEW LN                       APT 203                                                  ENDICOTT         NY    13760‐1076
MRS JULIA G DANGORA                              8 LEDGESTONE COURT                                                                             SANFORD          ME    04073‐4338
MRS JULIA H KNECHT                               PO BOX 387                                                                                     FT DAVIS         TX    79734‐0004
MRS JULIA L ORELL                                67143 JOELLA CIR                                                                               ST CLAIRSVILLE   OH    43950‐8407
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Name                                            Address1                                Address2                         Address3            Address4          City             State Zip

MRS JULIA M BOGDAN                              292 EDGEWOOD CIRCLE                                                                                            SOUTHINGTON      CT    06489‐2105
MRS JULIA M BROWN                               106 BANSTOCK DR                         WILLOWDALE ON                                        M2K 2H6 CANADA
MRS JULIA M FRENCH                              1207 AZALEA DRIVE                                                                                              ROCKVILLE        MD    20850‐2025
MRS JULIA NAVELLI CUST JOHN A NAVELLI UGMA NY   601 W WALNUT ST                                                                                                ROME             NY    13440‐2325

MRS JULIA P TRAXLER                             PO BOX 9158                                                                                                    GREENVILLE       SC    29604‐9158
MRS JULIA R ZOMBKA                              71 BUTTERNUT DRIVE                                                                                             WAYNE            NJ    07470‐4946
MRS JULIA RAMPULLA                              196 SCHOOL ST                                                                                                  GROVELAND        MA    01834‐1730
MRS JULIA UNAMANN                               BOX 23163                                                                                                      ROCHESTER        NY    14692‐3163
MRS JULIA V THOMPSON                            168 W CLIFF ST                                                                                                 SOMERVILLE       NJ    08876‐1424
MRS JULIA Z MC GRAW                             BOX 412                                                                                                        PINEVILLE        WV    24874‐0412
MRS JULIANA P SEMPLE                            4213 STATE ST                                                                                                  ERIE             PA    16508‐3131
MRS JULIE A ADAMS & CHAD ADAMS JT TEN           19 CANTERBURY CIRCLE                                                                                           DOWNINGTOWN      PA    19335‐1880
MRS JULIE BLOCK MILSTIEN                        3 BIS RUE DES CORONILLES                RESIDENCE PARC DE CLEMEATVILLE   34070 MONT SELLIO   FRANCE
MRS JULIE REEVES                                714 GULF BOULEVARD                                                                                             INDIAN ROCKS     FL    33785‐2623
                                                                                                                                                               BEACH
MRS JULIE ROGERS GITTINS                        5 BELL RD                                                                                                      NORTH BROOKFIELD MA    01535‐1505

MRS JULIE TEEPLE                             3249 GLENEAGLE DR                                                                                                 FINDLAY          OH    45840‐2914
MRS JULIET DADAMO CUST DAMIAN DADAMO UGMA NJ 221 YEOMAN RD                                                                                                     MANAHAWKIN       NJ    08050‐1621

MRS JULIET DAVIDSON MC CAFFREY                 101 WENDOVER RD                                                                                                 GREENWOOD        SC    29649‐8994
MRS JULIET P SCHWAB CUST ERIC H SCHWAB UGMA NY 1610 E BOSTON TER LOWER                                                                                         SEATTLE          WA    98112

MRS JULIET P SCHWAB CUST ERIC H SCHWAB UGMA PA 331 SHANNON DR                                                                                                  CHILLICOTHE      OH    45601‐2113

MRS JUNE ANN CLARKSON                           1009 HULL ST                                                                                                   BOYNE CITY       MI    49712‐9773
MRS JUNE B FISHER                               43 CENTER ST                                                                                                   WATERLOO         NY    13165‐1024
MRS JUNE C FEREBEE                              5290 E MOONLIGHT DR                                                                                            CORNVILLE        AZ    86325‐4820
MRS JUNE DAVIS                                  1510 MEDOWLARK DR                                                                                              JANESVILLE       WI    53546
MRS JUNE E SCHMIDT                              5 KENSINGTON                                                                                                   PLEASANT RIDGE   MI    48069‐1219
MRS JUNE F DAVIS                                PO BOX 287                                                                                                     MILLERTON        NY    12546‐0287
MRS JUNE G ELLIOT                               4510 LAKE VILLAGE DR                                                                                           FULSHEAR         TX    77441‐4035
MRS JUNE H BURKET                               39 LAUREN LN                                                                                                   COATESVILLE      PA    19320‐1281
MRS JUNE HANDY CHOATE                           578 BAPTIST HOME RD                                                                                            NORTH            NC    28659‐8207
                                                                                                                                                               WILKESBORO
MRS JUNE M DIGIACOMO                            1640 INDIAN FALLS RD                                                                                           CORFU            NY    14036‐9734
MRS JUNE MARCH WILSON                           401 TINKER CREEK LN                                                                                            ROANOKE          VA    24019‐5858
MRS JUNE MYER                                   PO BOX 647                                                                                                     GLASCO           NY    12432‐0647
MRS JUNE REBECCA BUTLER                         56 FINCH DR APT 805                     SARNIA ON                                            N7S 4T6 CANADA
MRS JUNE S SPENCER                              1413 BRANNER ST                                                                                                WHITE PINE       TN    37890‐3333
MRS JUNE W WILLEY                               2 GATES ST                                                                                                     FRAMINGHAM       MA    01702‐5504
MRS JUNE WILDING                                3860 KINGSWOOD ROAD                                                                                            SHERMAN OAKS     CA    91403‐5027
MRS JUSTINE J ZOLLINGER                         505 S PERKINS RD #1102                                                                                         MEMPHIS          TN    38117‐3934
MRS KAREN A GLUNZ                               RD 4 BOX 62                                                                                                    JERSEY SHORE     PA    17740‐9804
MRS KAREN A RINE                                87 LONGVIEW AVE                                                                                                JAMESTOWN        NY    14701‐2433
MRS KAREN B ROSENBERG                           APT 16‐E                                900‐16 BAYCHESTER AVE                                                  BRONX            NY    10475‐1712
MRS KAREN D ARNOLD CUST BRETT DAVID ARNOLD      925 HAMPTON BLUFF DR                                                                                           ALPHARETTA       GA    30004‐3073
UGMA MN
MRS KAREN D ARNOLD CUST STEVEN BLAYNE ARNOLD    14319 STEWART LN                        APT 306                                                                MINNETONKA       MN    55345‐5857
UGMA MN
MRS KAREN D ROBERTS                             2335 LITTLE BROOK DR                                                                                           DUNWOODY         GA    30338‐3161
MRS KAREN ELLEN MESHNICK                        6 VOLINO DR                                                                                                    POUGHKEEPSIE     NY    12603‐5025
MRS KAREN K KAMFJORD CUST KRISTEN A KAMFJORD    6505 GRAVES RD                                                                                                 CINCINNATI       OH    45243‐3862
UGMA OH
MRS KAREN L THOMPSON                            1833 19TH STREET                                                                                               SAN FRANCISCO    CA    94107‐2715
MRS KAREN M SIMMONS                             9555 I AVE                                                                                                     HESPERIA         CA    92345‐6283
MRS KAREN O KOLB                                923 MAYFAIR DR                                                                                                 LIBERTYVILLE     IL    60048‐3546
MRS KAREN R COOPER                              31354 ROWLAND LN                                                                                               CHESTERFIELD     MI    48051‐1817
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MRS KAREN REIHER PLOETZ                          15701 SUSSEX DR                                                                                MINNETONKA       MN    55345‐1459
MRS KAREN SOLOMON CUST LESLIE ANN LUCANIA        23 MORNINGSIDE DRIVE                                                                           LIVINGSTON       NJ    07039‐1827
UGMA NJ
MRS KAREN WISENBORN                              725 MURLIN AVE                                                                                 CELINA           OH    45822‐2424
MRS KARIN B ROACH                                50 HIGHLAND AVE                                                                                BUFFALO          NY    14222‐1814
MRS KARLENE M DARCEY                             904 S FLEMING ST                                                                               SEBASTIAN        FL    32958‐5020
MRS KAROLYNE A ALEXIUC                           C/O RIBARSKY                          30727 ROAN DR                                            WARREN           MI    48093‐5620
MRS KATE C BEARDSLEY                             3608 CARDIFF ROAD                                                                              CHEVY CHASE      MD    20815‐5946
MRS KATE FERGUSON HIRSH                          110 RIVERSIDE DR                                                                               NEW YORK         NY    10024‐3715
MRS KATE M SHELTON                               1004 N MADISON ST                                                                              ARLINGTON        VA    22205‐1614
MRS KATE R HEFFERNAN                             C/O MRS R M SHERER                    1416 BONITA AVE                                          BREWTON          AL    36426‐1106
MRS KATE R HEFFERNAN CUST JANE HEFFERNAN U/THE   C/O MRS R M SHERER                    1416 BONITA AVE                                          BREWTON          AL    36426‐1106
FLORIDA U‐G‐M‐A
MRS KATHARINE B FITZHUGH                         8349 ELLERSON DR                                                                               MECHANICSVILLE   VA    23111‐1417
MRS KATHARINE H SHAW                             509 RUSSELL AVE                                                                                LEXINGTON        KY    40508‐1942
MRS KATHARINE L BROWN                            25 S WASHINGTON ST                                                                             STAUNTON         VA    24401‐4260
MRS KATHARINE PHILLIPS HUFFMAN                   5386 PAVILION GRN N                                                                            MEMPHIS          TN    38119‐4900
MRS KATHARINE S BEDDOW                           C/O ANTOMMARIA                        112 HUGELI HALL                                          VALPARAISO       IN    46385‐9298
MRS KATHERINE A GRAHAM                           RR 1                                  LANSDOWNE ON                           K0E 1L0 CANADA
MRS KATHERINE A HARPER                           2410 BATES DR                                                                                  DAVIS           CA     95616‐1503
MRS KATHERINE B ALEXANDER                        45 LANTERN LANE                                                                                NORTH KINGSTOWN RI     02852‐5614

MRS KATHERINE B RECORD                         35 SPRAY CT                                                                                      BAYPORT          NY    11705‐1752
MRS KATHERINE B SAWYER                         1316 SINKLER ROAD                                                                                COLUMBIA         SC    29206‐4552
MRS KATHERINE B WALSH                          206 S POPLAR                                                                                     CARBONDALE       IL    62901‐2912
MRS KATHERINE C HATHAWAY & CHARLES A           24111 CIVIC CENTER DR                   APT 502                                                  SOUTHFIELD       MI    48033‐7437
HATHAWAY JT TEN
MRS KATHERINE E BEALL                          18320 MINK HOLLOW ROAD                                                                           HIGHLAND         MD    20777‐9604
MRS KATHERINE E HARA & ALBERT E SMITH JT TEN   2129 E 59TH PL                                                                                   TULSA            OK    74105‐7009
MRS KATHERINE E ROSEO                          55 TOWNSEND DR                                                                                   SYOSSET          NY    11791‐2918
MRS KATHERINE E SANDLER                        1324 EVERING AVE                                                                                 BALTIMORE        MD    21237‐1829
MRS KATHERINE FOX CURLEY                       PO BOX 126                                                                                       WORCESTER        VT    05682‐0126
MRS KATHERINE HARDY FILICKY                    PO BOX 70181                                                                                     RICHMOND         VA    23255‐0181
MRS KATHERINE JOHNSTON LYONS                   8700 ROSEDALE LANE                                                                               ANNANDALE        VA    22003‐4232
MRS KATHERINE L RESTER                         303 TELLUS                                                                                       AUSTIN           TX    78734‐3834
MRS KATHERINE LAW                              778 CASHMERE CT                                                                                  SANFORD          NC    27330‐7412
MRS KATHERINE LIVAS ROLLARD                    #10 AVENUE WILLIAM‐FAVRE                1207 GENEVA                            SWITZERLAND
MRS KATHERINE LUMAGHI CLIFFORD                 60 SEA RD                                                                                        RYE BEACH        NH    03871
MRS KATHERINE M GREEN                          167 STEVENS LANE                                                                                 GLASTONBURY      CT    06033
MRS KATHERINE PAINE                            15150 GAR HWY                                                                                    CHARDON          OH    44024‐9569
MRS KATHERINE PAPIERNIAK BEAU                  62 AVENUE DAS MINIMES                   94300 VINCENNES                        FRANCE
MRS KATHERINE S TURNER                         12 WINDWARD CR                                                                                   WARWICK NECK     RI    02889‐6821
MRS KATHERINE SHEPPELL                         9212 DEBOLD KOEBEL                                                                               PLEASANT PLAIN   OH    45162‐9349
MRS KATHERINE STINSON                          1360 YORK AVE                                                                                    NEW YORK         NY    10021‐4030
MRS KATHERINE T GREENBERG CUST DEBORAH ANN     1830 A HUDSON ST                                                                                 CHICAGO          IL    60614
GREENBERG UGMA IL
MRS KATHERINE T GREENBERG CUST KAREN BETH      1100 N LAKE SHORE DR                    APT 25C                                                  CHICAGO          IL    60611‐5200
GREENBERG UGMA IL
MRS KATHERINE W BRUCH                          18871 PIKE 229                                                                                   CLARKSVILLE      MO    63336‐2625
MRS KATHLEEN A NEMECEK                         1 POPE JOHN PAUL PLZ                    APT 602                                                  SPRINGFIELD      IL    62703‐1061
MRS KATHLEEN A PETERSEN                        4635 RAVEN DRIVE                                                                                 BROOKFIELD       WI    53005‐1244
MRS KATHLEEN ANN SHOEMAKER                     228 ST ROSE AVE                                                                                  FREDONIA         WI    53021‐9479
MRS KATHLEEN B HARTIGAN                        529 EARLSTON RD                                                                                  KENILWORTH       IL    60043‐1014
MRS KATHLEEN B HOWERTER & MRS LORELEI M        21380 ROBINSON                                                                                   FARMINGTON HILLS MI    48336‐5249
HAWKINS JT TEN
MRS KATHLEEN BYRNES CUST ROBERT GERRARD BYRNES 44 HIGHVIEW TERR                                                                                 YONKERS          NY    10705‐4722
UGMA NY
MRS KATHLEEN CONNELLY DURSO                    10116 SOLTA DRIVE                                                                                DALLAS           TX    75218‐1733
MRS KATHLEEN DELENARDO IN TRUST                370 LAKE DR S                           KESWICK ON                             L4P 1N8 CANADA
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MRS KATHLEEN E LEVIN CUST DEBORAH LEVIN UGMA NJ 4462 NOVATO CT                                                                                    NAPLES           FL    34109‐3339

MRS KATHLEEN F TRANTOLO                         44 PRATTLING POND ROAD                                                                            FARMINGTON       CT    06032‐1804
MRS KATHLEEN HODGESON                           ROUTE 1                                                                                           MOORE            MT    59464‐9801
MRS KATHLEEN I FLEMING                          8511 WESTOVER CT                         APT 236                                                  GRANBURY         TX    76049‐4242
MRS KATHLEEN KELLY                              81 LINDEN ST                                                                                      MILLBURN         NJ    07041‐2160
MRS KATHLEEN L WILLARD                          180 LONGFORD RD                                                                                   WEST CHESTER     PA    19380‐3620
MRS KATHLEEN LA ROCQUE & WILLIAM MELARAGNI JT 30RUSSET RD                                                                                         BILLERICA        MA    01821‐3148
TEN
MRS KATHLEEN M ROSKAMP CUST JENA C ROSKAMP      129 HIGHLANDS LAKE DRIVE                                                                          CARY             NC    27511
UGMA OK
MRS KATHLEEN MAE THOLL & MISS KATHLEEN JENNIFER 3210 PINE LAKE RD                                                                                 WEST BLOOMFIELD MI     48324‐1951
THOLL JT TEN
MRS KATHLEEN MARIE DOWNING                      727 PAGEL                                                                                         LINCOLN PARK     MI    48146‐4601
MRS KATHLEEN MITCHELL CUST CHARLES WILLIAM      414 GRASSMERE AVE                                                                                 INTERLAKEN       NJ    07712‐4313
MITCHELL UGMA NJ
MRS KATHLEEN MITCHELL CUST LAURENCE PAUL        414 GRASSMERE AVE                                                                                 INTERLAKEN       NJ    07712‐4313
MITCHELL UGMA NJ
MRS KATHLEEN MUCKERMAN & ROBERT F GARZA JR & 3 ORCHARD LANE                                                                                       KIRKWOOD         MO    63122‐6918
JEFFREY T GARZA JT TEN
MRS KATHLEEN O HOMMRICH                         4520 BOXCROFT CIR                                                                                 MOUNT JULIET     TN    37122‐8413
MRS KATHLEEN P DESMOND                          APT 207                                  4101 HOWE ST                                             OAKLAND          CA    94611‐5183
MRS KATHLEEN T DUNLEAVY                         64‐73 83RD PL                                                                                     MIDDLE VILLAGE   NY    11379‐2434
MRS KATHLEEN W ARCHIBALD                        21 OLD WESTFALL DR                                                                                ROCHESTER        NY    14625‐1045
MRS KATHLEEN W MACKECHNIE                       440 WEDGEWOOD RD                                                                                  BETHLEHEM        PA    18017‐2425
MRS KATHLEEN WILLS RANDOL & RICHARD ARCH        5403 COOS BAY WAGON ROAD                                                                          ROSEBURG         OR    97470‐9711
RANDOL JT TEN
MRS KATHRYN A ATHERTON                          10271 RAY RD                                                                                      GAINES           MI    48436
MRS KATHRYN ANN ALLEN                           1223 WELLESLEY RD                                                                                 MADISON          WI    53705‐2231
MRS KATHRYN ANN MAC PHERSON                     142 ELDERBERRY DR                                                                                 WINCHESTER       VA    22603‐4212
MRS KATHRYN C GREENWAY                          506 PONCE DE LEON PLACE                                                                           DECATUR          GA    30030‐5128
MRS KATHRYN E ALLEN                             5300 ZEBULON RD                          #42                                                      MACON            GA    31210‐2138
MRS KATHRYN FISH & MRS ARLENE BLUEGE JT TEN     1168 N HOLLISTON AVE                                                                              PASADENA         CA    91104‐3016

MRS KATHRYN G BALINKIE                           209 PEMBROOK ROAD                                                                                MOUNTAINSIDE     NJ    07092‐1720
MRS KATHRYN G OBRIEN DE CHAMBEAU                 1673 LONG LAKE ROAD                                                                              EVELETH          MN    55734‐9637
MRS KATHRYN GONDEK CUST MICHAEL A KOPROWSKI      WARREN RD                                                                                        BRIMFIELD        MA    01010
UGMA MA
MRS KATHRYN H QUICK CUST JAMIE R QUICK U/THE     105 APPALOOSA LN                                                                                 ORMOND BEACH     FL    32174‐8003
NEW YORK U‐G‐M‐A
MRS KATHRYN HARTMANN                             240‐11 MAYDA ROAD                                                                                ROSEDALE         NY    11422‐2319
MRS KATHRYN J SULLIVAN & MATTHEW SULLIVAN JT     PO BOX 78                                                                                        LEE CEUTER       NY    13363‐0078
TEN
MRS KATHRYN L BELL                               4429 TOBY LN                                                                                     METAIRIE         LA    70003‐7629
MRS KATHRYN L ROBERTSON                          4601 S STAR DR                                                                                   MARION           IN    46953‐7303
MRS KATHRYN MISHELL CUST LENOIRE PERRY UTMA CA   23 W 31ST STREET APT 6                                                                           NEW YORK         NY    10001‐4433

MRS KATHRYN N ABERG                              319 OSLAND PL                           EDMONTON AB                            T6R 2A2 CANADA
MRS KATHRYN NEMES                                135 POST AVE APT 3‐S                                                                             WESTBURY         NY    11590‐3156
MRS KATHRYN P SOLT                               20655 CORINTH DR                                                                                 OLYMPIA FIELDS   IL    60461‐1532
MRS KATHRYN PERRY FIELDS                         760 VINCENTE AVE                                                                                 BERKELEY         CA    94707‐1831
MRS KATHRYN R ENEBOE                             BOX 1407                                                                                         W YELLOWSTONE    MT    59758‐1407
MRS KATHRYN R ILLGES                             2138 ANNE ST                                                                                     COLUMBUS         GA    31906‐1010
MRS KATHRYN S HARRIS                             5800 OLD PROVIDENCE RD                  APT 4311                                                 CHARLOTTE        NC    28226‐6913
MRS KATHRYN TOWNSEND JONES                       2762 JERICHO RD                                                                                  MARYVILLE        TN    37803‐2031
MRS KATHRYN W SHAFFER                            8 EDWARD CIR                                                                                     MONTVILLE        NJ    07045‐9709
MRS KATHRYN WISE REDMOND                         824 S LAKE SHORE DRIVE                                                                           LAKE CITY        MN    55041‐1850
MRS KATHRYN WOLF                                 205 BRIGHTON WAY                                                                                 CLAYTON          MO    63105‐3603
MRS KATHRYNE M OCONNOR                           1186 SUMNER AVE                                                                                  SCHENECTADY      NY    12309‐5636
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MRS KATIE GRUBER CUST JOHN J GRUBER UGMA IL        2720 BUSH TER                                                                                    MCHENRY           IL    60051‐3609

MRS KATIE M LINDQUIST                              2622 ARLENE WAY                                                                                  ATLANTA           GA    30305‐3802
MRS KAY H SINAY                                    BOX 248                                                                                          ARLINGTON         VT    05250‐0248
MRS KAY KUSCHEL                                    4412 LEEWARD COVE                                                                                FORT WAYNE        IN    46804‐4816
MRS KAY KUTINSKY                                   3184 HARTSLOCK WOODS                                                                             WEST BLOOMFIELD   MI    48322‐1841

MRS KAY M VELASQUEZ                                766 ROAD 4599                                                                                    BLANCO            NM    87412‐9734
MRS KAY N LANGLEY CUST CLARK LANGLEY U/THE SC U‐   C/O KAY N ROGERS                        1718 MADISON RD #401                                     COLUMBIA          SC    29204‐4140
G‐M‐A
MRS KAY PECK                                       793 LEWISTON RD                                                                                  BASOM             NY    14013
MRS KAY WILLIS SMITH CUST KATHRYN TUCKER SMITH     3140 AMHERST AVE                                                                                 DALLAS            TX    75225‐7703
UGMA CT
MRS KAYE B COWLES                                  1083 RED MAPLE WAY                                                                               NEW SMYRNA        FL    32168‐2019
MRS KENNETH SULLIVAN                               ATTN ANITA PATE SULLIVAN                62798 PEARL ROAD                                         MONTROSE          CO    81401‐9138
MRS KIMALEE PARASILITI                             5090 SAWMILL LAKE ROAD                                                                           ORTONVILLE        MI    48462‐9608
MRS KITTY T SEAVERS                                530 BLAZE DRIVE                                                                                  SAN ANTONIO       TX    78218‐2626
MRS KRISTINA K LEE                                 82 JORDAN AVE                                                                                    SAN FRANCISCO     CA    94118‐2503
MRS L ISABELLE RUTLEDGE                            15051 FORD RD #RGT                                                                               DEARBORN          MI    48126
MRS L JEAN COOK                                    1265 NORTHWAY DR                        APT 1                                                    DEWITT            MI    48820‐8354
MRS L MARIE TROUT                                  PO BOX 308                                                                                       CLARKSVILLE       VA    23927‐0308
MRS L RUTH BERRY & STANLEY A BERRY JT TEN          11 BELLFORT DR                                                                                   TAYLORS           SC    29687‐6322
MRS LA VELLE JENKINS                               1002 ELM AVE                                                                                     SAINT CLOUD       FL    34769‐4075
MRS LA VERDE KIRKHAM & DALE B KIRKHAM JT TEN       PO BOX 4026                                                                                      POCATELLO         ID    83205‐4026

MRS LAETITIA A CARNEY                              7 CHILTON RD                                                                                     BROCKTON          MA    02301‐3042
MRS LAETITIA L FRIIS & RONALD FRIIS JT TEN         1 SKY LN                                                                                         BREWSTER          NY    10509‐5937
MRS LARAINE CHULLA & ROBERT CHULLA JT TEN          1994 ARVIS CIRCLE WEST                                                                           CLEARWATER        FL    33764‐6457
MRS LAURA ALLING                                   1509 PANORAMA DR                                                                                 BIRMINGHAM        AL    35216‐3316
MRS LAURA C ROSS                                   19467 HENRY ROAD                                                                                 FAIRVIEW PARK     OH    44126‐1637
MRS LAURA HAREL                                    140 WEST END AVE 18‐C                                                                            NY                NY    10023‐6142
MRS LAURA HUGHES SWARTZ                            8288 COUNTY RD 149                                                                               FLINT             TX    75762‐9695
MRS LAURA JOAN JACKSON                             207 CLAREMONT CIR                                                                                BROOKLYN          MI    49230‐8472
MRS LAURA L HATHAWAY & JOHN A HATHAWAY JR JT       357 SPRECHER RD                                                                                  LANCASTER         PA    17603‐9365
TEN
MRS LAURA LEA WALSH                                9840 S W 29TH PLACE                                                                              PORTLAND          OR    97219‐6261
MRS LAURA P LANE                                   29 AHERN ROAD                                                                                    MARLBOROUGH       MA    01752‐6001
MRS LAURA SAGER                                    29 WASHINGTON SQUARE W                                                                           NEW YORK          NY    10011‐9180
MRS LAURA SCHWEBER                                 12 BLUE SEA LANE                                                                                 KINGS POINT       NY    11024‐1504
MRS LAURAJANE LARSON                               6250 W COLLEGE AVE                                                                               GREENDALE         WI    53129‐2801
MRS LAUREL A AUBUCHON                              PO BOX 551                                                                                       EGG HARBOR        WI    54209‐0551
MRS LAUREL AUDRE KRONBERG & ROBERT KRONBERG        456 PLEASANT VALLY DR                                                                            ROACH             MO    65787‐8032
JT TEN
MRS LAUREL BROWN HOUSER                            2138 NORTON RD                                                                                   CHARLOTTE         NC    28207‐2138
MRS LAUREL BRYANT & MRS SUZANNE FELLENZER JT       15900 W SUNSET BLVD #4                                                                           PACIFIC PLSDS     CA    90272‐3406
TEN
MRS LAURIE ANN AMAN                                40648 WILLIAM DR                                                                                 MT CLEMENS        MI    48038‐4730
MRS LAURIE ANN MOELLER CUST ALICIA MARIE           1663 EDDY DR                                                                                     NORTH             NY    14120‐3001
MOELLER UGMA NY                                                                                                                                     TONAWANDA
MRS LAURIE S PIETERSE                              8 WILDFLOWER LANE                                                                                LONGMEADOW        MA    01106‐1031
MRS LAVARA M FERRY                                 605 N E ST                                                                                       HAMILTON          OH    45013‐2931
MRS LAVELLE D GILDERSLEEVE                         BOX #500                                                                                         HUDSON            IL    61748‐0500
MRS LAVERNE E THOMPSON                             4703 WOODWAY LN NW                                                                               WASHINGTON        DC    20016‐3240
MRS LAVERNE H FORD                                 19 GRASMERE                                                                                      PONTIAC           MI    48341‐2819
MRS LAVINIA W JACKSON                              2326 CHIMNEY HILL DR                                                                             ARLINGTON         TX    76012‐5402
MRS LEA M BECK CUST NINA BECK UGMA PA              38640 GLENMOOR DR                                                                                FREMONT           CA    94536‐6840
MRS LEAH D DUNAIEF CUST DAVID MATTHEW DUNAIEF      25201 CORNERSTONE DRIVE                                                                          YARDLEY           PA    19067‐7905
UGMA NY
MRS LEAH S TIBBETTS                                78 SCOTT DYER ROAD                      APT 102                                                  CAPE ELIZABETH    ME    04107‐2234
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MRS LEAH SCHEIDLINGER & BEATRICE EISMAN JT TEN    351 WEST 24TH STREET                  APT 12F                                                  NY               NY    10011‐1514

MRS LEE D JAMES CUST MICHAEL LESLIE JAMES UGMA    8805 CHADWICK CT                                                                               LOUISVILLE       KY    40222‐5321

MRS LEE DEC CUST GARY DEC UGMA NJ                 20 COLONIAL OAKS DRIVE                                                                         JEFFERSON        NJ    07438‐9158
MRS LEE G HURFORD                                 GLENMARLE                             139 ROSEMONT RINGOES ROAD                                STOCKTON         NJ    08559‐1419
MRS LEE SLAUGHTER                                 1025 5TH AVE                                                                                   NEW YORK         NY    10028‐0134
MRS LEILA W STONE & MISS SHEILA W STONE JT TEN    50 CHAPEL HILLS                                                                                VICKSBURG        MS    39180‐5316

MRS LELA H BELANGIA                               8605 HWY 306 SOUTH                                                                             ARAPAHOE        NC     28510
MRS LELIA J VARCA                                 39 DEAN ST                                                                                     HARRINGTON PARK NJ     07640‐1501

MRS LEMPI ALLEN                                   531 N LAFAYETTE                                                                                DEARBORN         MI    48128‐1524
MRS LENA BLOCK                                    12076 CORTINA DRIVE                                                                            BOYTON BEACH     FL    33437‐6076
MRS LENA J BROWN & VINCENT R BROWN JT TEN         324 N 42ND ST                                                                                  BELLEVILLE       IL    62226‐5525
MRS LENA J COOK CUST KENNETH L COOK UGMA IN       722 WEST 575 SOUTH                                                                             PENDLETON        IN    46064

MRS LENORA HERTA WALKER & MRS HELEN HAUSER JT 3625 HICKORY LN                                                                                    SAGINAW          MI    48603‐1743
TEN
MRS LENORE M DORSEY                              7595 W 47 AVE                                                                                   WHEATRIDGE       CO    80033‐3403
MRS LENORE M SIECINSKI                           22930 PORT ST                                                                                   ST CLR SHORES    MI    48082‐2484
MRS LENORE M WIMMER                              PO BOX 739                                                                                      CUBA CITY        WI    53807‐0739
MRS LENORE T GALL                                1246 DELBERT AVE                                                                                BALTIMORE        MD    21222‐1145
MRS LEOCADIA A MAHONEY                           1311 SANDWICH RD                                                                                EAST FALMOUTH    MA    02536‐4251
MRS LEON HAHN                                    BOX 403                                                                                         PARKER           AZ    85344‐0403
MRS LEONA K BIELER CUST LINDA EVELYN BIELER UGMA 46 FARMINGTON AVE                                                                               WATERBURY        CT    06710‐1736
CT
MRS LEONARDA DARMANIN                            549 TRIQ FRAQ ZAMMIT                   PEMROKE STJ07               EUROPE     MALTA
MRS LEONE A SPALDING                             15852 NW SAINT ANDREWS DR                                                                       PORTLAND         OR    97229‐7813
MRS LEONORA C REDHEAD                            C/O HUGH C REDHEAD                     3536 COWAN PLACE                                         JACKSON          MS    39216‐3503
MRS LERA M CONNELL                               52049 ROCKY BRUTTE RD                                                                           CHARLO           MT    59824
MRS LESLEY R GORE CUST GERALD J GORE UGMA MD     PO BOX 1770                                                                                     WESTMINSTER      MD    21158‐5770

MRS LESLEY R GORE CUST JOHN P GORE UGMA MD        1018 OAK DR                                                                                    WESTMINSTER      MD    21158‐3651

MRS LESLIE G MACKLER                              108 KEMP ROAD WEST                                                                             GREENSBORO       NC    27410‐6039
MRS LESLIE G STUERMANN                            119 RIVER EDGE DR                                                                              MOORE            SC    29369‐9327
MRS LESLIE SCHUBERT                               927 LAUREL AVE                                                                                 WOODSTOCK        IL    60098‐4026
MRS LESLIE W SMITH                                1044 3RD AVE                                                                                   BROOKINGS        SD    57006‐1256
MRS LESLIE WARREN SARN                            4 RUE LEONCE REYNAUD                  75116 PARIS                            FRANCE
MRS LETITIA C PEIRCE                              4264 INDIAN SPRINGS DR NE                                                                      ALBUQUERQUE      NM    87109‐1912
MRS LEWELLYNA H STANLEY                           C/O J SEWARD                          BOX 152                                                  BETHLEHEM        NH    03574‐0152
MRS LIBBY EDER CUST BRIAN IRWIN EDER UGMA NY      PO BOX 4344                                                                                    RIVER EDGE       NJ    07661‐4344

MRS LILA GUMBINGER IN TRUST FOR ANTHONY           1 OSGOODE GATE                        COURTICE ON                            L1E 1Z5 CANADA
GUMBINGER
MRS LILA J DORN                                   1607 APPLEWOOD DR                                                                              DAYTON           OH    45434‐6900
MRS LILA MC KEY                                   25776 GOLD BEACH DR SW                                                                         VASHON ISLAND    WA    98070‐8530
MRS LILIA PAPA CUST MARIA PAPA UGMA NY            SCHAUBER RD                                                                                    BALLSTON LAKE    NY    12019
MRS LILIAN H AVERY                                4602 NARRAGANSETT AVE                                                                          SAN DIEGO        CA    92107‐2902
MRS LILLIAN A BRENNAN CUST ALICE PATRICIA         6088 ROBIN HL                                                                                  WASHINGTON       MI    48094‐2184
BRENNAN UGMA MI                                                                                                                                  TOWNSHI
MRS LILLIAN APPLEBAUM                             C/O APPLEBAUM                         18474 40TH PLACE N E                                     SEATTLE          WA    98155
MRS LILLIAN B BELL                                3119 N SPRINGFIELD                                                                             CHICAGO          IL    60618‐6516
MRS LILLIAN BAGNIESKI & SAMUEL BAGNIESKI JT TEN   517 DOANE ST                                                                                   BEAVERTON        MI    48612‐8141

MRS LILLIAN CARNEY CUST ROBERT CARNEY UGMA NJ     854 SUNRISE BLVD                                                                               FORKED RIVER     NJ    08731‐3019

MRS LILLIAN CATHERINE FREYHERR                    530 COLUMBUS AVE                                                                               EAST PATCHOGUE   NY    11772‐5128
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MRS LILLIAN CLARA DI FILLIPPO                   251 CRANDON BLVD APT#400                                                                                 KEY BISCAYNE       FL    33149‐1508
MRS LILLIAN D DRAZEN                            45 BURR HILL ROAD                                                                                        KILLINGWORTH       CT    06419‐1119
MRS LILLIAN G KATT & MISS KATHY E KATT JT TEN   3600 FULTON ST E                           APT D109                                                      GRAND RAPIDS       MI    49546‐1320
MRS LILLIAN K BUCKLAND                          C/O BRUCE S BUCKLAND                       46 BRIARCLIFF                                                 SAINT LOUIS        MO    63124‐1762
MRS LILLIAN KATZ CUST CHARLES KATZ UGMA MA      567 BARRON AVE                                                                                           PALO ALTO          CA    94306‐2704
MRS LILLIAN M GEORGIS                           1519 W WALNUT ST APT 411                                                                                 ALLENTOWN          PA    18102‐4455
MRS LILLIAN MAE CAROPINO & JOSEPH N CAROPINO JT 132 COOLIDGE ST                                                                                          LEAD               SD    57754‐1102
TEN
MRS LILLIAN MARCIN & MICHAEL MARCIN JT TEN      29034 DEMBS                                                                                              ROSEVILLE        MI      48066‐2013
MRS LILLIAN MONTANA & RAYMOND MONTANA JT TEN 2600 NE 33RD ST                                                                                             LIGHTHOUSE POINT FL      33064‐8165

MRS LILLIAN P LINDSEY CUST MISS EXA KAY LINDSEY     RR1                                                                                                  NEW HARMONY        IN    47631‐9801
UGMA IN
MRS LILLIAN R MILLER                                4202 BLUE BARROW RIDE                                                                                ELLICOTT CITY      MD    21042‐5920
MRS LILLIAN R WICKER & MISS ELLEN R WICKER JT TEN   CARLTON HOUSE #2413                    1801 J F K BOULEVARD                                          PHILADELPHIA       PA    19103‐1731

MRS LILLIAN ROSE HART & LEO GERARD HART JT TEN      115 VAN BRACKLE RD                                                                                   MATAWAN            NJ    07747‐1811

MRS LILLIAN T FRANZ & WILLIAM H FRANZ JT TEN        175 MUNCE RIDGE RD                                                                                   WASHINGTON         PA    15301
MRS LILLIAN WALKER & NEVILLE WALKER & GARY E        3905 LORRAINE PATH                     ST JOSEPH                                                     SAINT JOSEPH       MI    49085
WALKER JT TEN
MRS LILLIAS K CANNON                                PO BOX 32863                                                                                         TUCSON             AZ    85751‐2863
MRS LILLIE B RUBIN                                  10059 LAURELWOOD PL                                                                                  BOYNTON BEACH      FL    33437‐1380
MRS LILLIE M SAULS                                  PO BOX 297                                                                                           WARRENVILLE        SC    29851‐0297
MRS LILLY D OVERBY                                  3212 JAY DR                                                                                          ANDERSON           IN    46012‐1218
MRS LILY SHIMOMURA CUST SUSAN SHIMOMURA             28 DANNA LN                                                                                          BRIDGETON          NJ    08302‐4307
UGMA NJ
MRS LILYAN L CHAUVIN                                3841 EUREKA DR                                                                                       STUDIO CITY        CA    91604‐3107
MRS LINA HONEGGER & JOHANNA LETTMAN JT TEN          14206 W PECOS LN                                                                                     SUN CITY WEST      AZ    85375‐2227

MRS LINDA B EVANS                                   5616 LAMAR RD                                                                                        BETHESDA           MD    20816‐1350
MRS LINDA B STANLEY                                 1202 VOCKE RD                                                                                        CUMBERLAND         MD    21502‐7529
MRS LINDA BERKOWITZ CUST PETER BERKOWITZ UGMA       12 VICTORIA RD                                                                                       ARDSLEY            NY    10502‐1416
NY
MRS LINDA BERMAN CUST LAURA ANN BERMAN UGMA         POBOX 20837                                                                                          ST SIMONS ISLAND   GA    31522‐0437
NY
MRS LINDA C MEZA                                    PO BOX 101                                                                                           MIDDLESEX          NY    14507‐0101
MRS LINDA C SPATES                                  1851 ARROWHEAD DR                                                                                    BELOIT             WI    53511‐3809
MRS LINDA C STEFKOVICH                              1150 SUNSET DRIVE                                                                                    GREENSBORO         GA    30642
MRS LINDA DOBLER                                    ATTN LINDA LEON                        4828 CRESCENT HILL LANE                                       SHINGLE SPRINGS    CA    95682‐8322
MRS LINDA E GROSSMAN                                2 PARK CIRCLE                                                                                        TOWSON             MD    21286‐5628
MRS LINDA G EDWARDS CUST ALISA LYN EDWARDS          2393 UPPER GREEN PLACE                                                                               VIRGINIA BEACH     VA    23456‐3567
UGMA VA
MRS LINDA G WURZEL                                  24234 PARK ATHENA                                                                                    CALABASAS          CA    91302‐2531
MRS LINDA GIESER CUST MATTHEW GIESER UGMA NY        5924 GLENWOOD AVE                                                                                    MINNEAPOLIS        MN    55422‐4937

MRS LINDA HAFNER                                    500 DAVID DRIVE                                                                                      NORTH SYRACUSE     NY    13212‐1950
MRS LINDA HANSEN                                    105 LYNETTE DR                                                                                       GEORGETOWN         KY    40324‐9499
MRS LINDA HENDRICKS                                 1838 HILLVIEW DR                                                                                     LOS BANOS          CA    93635‐4741
MRS LINDA J P WILLIAMS                              18334 SE 145TH ST                                                                                    RENTON             WA    98059‐8006
MRS LINDA JACOBSSEN                                 7 RUSSELL STREET                       GLENELG                   SOUTH AUSTRALIA   5045 AUSTRALIA
MRS LINDA JEAN WINTER                               444 MOUNTAIN AVE                                                                                     WESTFIELD          NJ    07090‐3034
MRS LINDA K GRIMM                                   13 BILLINGS ST                                                                                       PAWCATUCK          CT    06379‐1712
MRS LINDA K STYERS                                  825 NEWPORT ROAD                                                                                     DUNCANNON          PA    17020‐9641
MRS LINDA KERNIS                                    52 ETHAN ALLEN RD                                                                                    FREEHOLD           NJ    07728‐3357
MRS LINDA L ABRAMS                                  562 RUTTER AVE                                                                                       KINGSTON           PA    18704‐4719
MRS LINDA L ELMAN                                   2801 1ST AVE #409                                                                                    SEATTLE            WA    98121‐1103
MRS LINDA L HALEY                                   24331 LAKE SHORE LANE                                                                                LAKE FOREST        CA    92630‐3031
MRS LINDA L PETERSON                                358 HALLOCK ST                                                                                       JAMESTOWN          NY    14701‐2809
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MRS LINDA M CALLAERT                              138 GEORGIA RD                                                                                FREEHOLD           NJ    07728‐8040
MRS LINDA M DONNELLAN                             C/O LINDA M MANJARREZ                47 FIRECUT                                               SUDBURY            MA    01776‐1918
MRS LINDA M MANJARREZ                             47 FIRECUT LANE                                                                               SUDBURY            MA    01776‐1918
MRS LINDA M RICHARDS                              4921 BRITTANY CT W                                                                            COLUMBUS           OH    43229‐5704
MRS LINDA MUUL                                    7436 BALTIMORE AVE                                                                            TAKOMA PARK        MD    20912‐4101
MRS LINDA P ASHFORD                               99 CLINTON ST                        APT#411                                                  CONCORD            NH    03301‐2283
MRS LINDA P JONES                                 PO BOX 707                                                                                    SMITHFIELD         NC    27577‐0707
MRS LINDA PIERRE                                  6 PICO BEACH ROAD                                                                             MATTAPOISETT       MA    02739‐2122
MRS LINDA R PLANK                                 5415 GLENHAVEN DR                                                                             CUMMING            GA    30041‐3965
MRS LINDA R SCHUMACHER                            620 S GLASSELL ST 311                                                                         ORANGE             CA    92866‐3043
MRS LINDA REISER                                  1785 SHOWER TREE WAY                                                                          WELLINGTON         FL    33414‐5837
MRS LINDA S BELL                                  4138 CROWNWOOD                                                                                SEABROOK           TX    77586‐4004
MRS LINDA S DANIEL                                71 MORRIS DR                                                                                  CARTHAGE           TN    37030‐2150
MRS LINDA S KERIOTIS                              2119 GLENN DRIVE N E                                                                          WARREN             OH    44483‐4317
MRS LINDA S MILTON                                196 MIRICK ROAD                                                                               PRINCETON          MA    01541‐1116
MRS LINDA S SPAIN                                 191 MONTGOMERY RD                                                                             SKILLMAN           NJ    08558‐2007
MRS LINDA S WESTON                                694 PARKEDGE DR                                                                               GAHANNA            OH    43230‐2193
MRS LINDA SCHLANG CUST JORDAN SCHLANG UGMA RI     315 E 72ND ST APT 16B                                                                         NEW YORK           NY    10021‐4673

MRS LINDA SUE BURDICK                             N30 W 29135 HILLCREST DR                                                                      PEWAUKEE       WI        53072‐3231
MRS LINDA TAYLOR STEVENS                          206 OAKWOOD DR                                                                                WINDHAM CENTER CT        06280‐1525

MRS LINDA THILE                                   2681 OCEAN FRONT WALK MISSION        BEACH                                                    SAN DIEGO          CA    92109‐8241
MRS LINDA TJADEN                                  84 FOUR WINDS DR                                                                              CLEAR LAKE         IA    50428‐1102
MRS LINDA WORTHY WAGNER                           4513 LINPARK DR                                                                               BIRMINGHAM         AL    35222‐3711
MRS LINSA BERLIN                                  3850 QUARTON ROAD                                                                             BLOOMFIELD HILLS   MI    48302‐4010

MRS LISA ACORD                                 811 UNION CHURCH RD                                                                              TOWNSEND           DE    19734‐9121
MRS LISA B GONZALEZ                            201 W 41ST AVE                                                                                   SAN MATEO          CA    94403‐4303
MRS LISA GREENBERG                             10490 WILSHIRE BLVD                     APT 2503                                                 LOS ANGELES        CA    90024‐4650
MRS LISETTA PURDY CUST CHARLEN M PURDY UGMA PA 640‐15 GENEVA DR                                                                                 MECHANICSBURG      PA    17055‐5401

MRS LISETTA PURDY CUST DIANE PURDY UGMA PA        R D 4 BOX 4895                                                                                DUNCANNON          PA    17020‐9431

MRS LISETTA PURDY CUST JOHN D PURDY UGMA PA       11 CRESTON AVE                                                                                TENAFLY            NJ    07670‐2905

MRS LIZELLE K KENNEDY                             8 ROXANNA DRIVE                                                                               NINETY SIX         SC    29666‐1311
MRS LIZETTE ANN LINDSEY & DALE R LINDSEY JT TEN   4476 SPRINGBROOK DR                                                                           SWARTZ CREEK       MI    48473‐1486

MRS LOIS A MC MONNIES                       8906 FRANKLIN AVE                                                                                   GIG HARBOR         WA    98332‐1012
MRS LOIS A OSBORNE                          1584 HIGHWAY 2 APT 1                       COURTICE ON                            L1E 2R8 CANADA
MRS LOIS ADAMSON CUST DAG R ADAMSON UGMA NY 499 DESERT HILL CT                                                                                  GRAND JUNCTION     CO    81503‐8772

MRS LOIS B MARSH                                  RR #4 CHRISTOPHER CROSS              TIGNISH PRINCE PE                      C0B 2B0 CANADA
MRS LOIS BRANCH TYLAR                             4013 OLD CREEK RD                                                                             CHESTERFIELD       VA    23832‐8387
MRS LOIS C JOHNSON                                1201 IMPERIAL BLVD                                                                            DAYTON             OH    45419‐2437
MRS LOIS C THOMAS                                 133 CULPEPPER DR                                                                              PENLLYN            PA    19422‐1126
MRS LOIS C WOOTEN CUST MARY ANN WOOTEN A          1859 OVERTON PARK                                                                             MEMPHIS            TN    38112‐5409
MINOR U/THE LAWS OF GEORGIA
MRS LOIS C ZABEL                                  114 MINES ROAD                                                                                BRISTOL            CT    06010‐2493
MRS LOIS CUTLER & KENNETH J CUTLER JT TEN         131 CANE CREEK HARBOR RD                                                                      SENECA             SC    29672
MRS LOIS E BEAUFAIT                               6 BLUE HERON DR                                                                               LEWES              DE    19958‐2311
MRS LOIS E MARTIN                                 389 SUNNYHILL RD                                                                              LUNENBURG          MA    01462‐2045
MRS LOIS E MARTIN                                 89C E BROADWAY                                                                                MILFORD            CT    06460‐6118
MRS LOIS EARHART                                  13 CAROLYN TERRRACE                                                                           SOUTHBORO          MA    01772
MRS LOIS EIL                                      25 ROCKLEDGE AVE APT 903W                                                                     WHITE PLAINS       NY    10601‐1213
MRS LOIS H GRAY                                   PO BOX 277                                                                                    GLASGOW            KY    42142‐0277
MRS LOIS HASSLER SMITH                            3300 DARBY RD #2219                                                                           HAVERFORD          PA    19041‐1068
MRS LOIS HOBBS MAC NAUGHTON                       125 WILKSHIRE DR                                                                              COLUMBIA           SC    29210‐4236
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MRS LOIS J NILES                                  475 W HIGHLAND PARK AVE #1055                                                                   APPLETON           WI    54911‐6103
MRS LOIS JEAN SCHWARTZ CUST STEPHEN SCHWARTZ      27 WINDSOR DR                                                                                   DALLAS             PA    18612‐1409
UGMA PA
MRS LOIS L BARNES                                 924 KENLEIGH CIR                                                                                WINSTON‐SALEM      NC    27106‐5605
MRS LOIS L DAVIS                                  3927 DUNDRUM DR                                                                                 DUBLIN             OH    43016‐7321
MRS LOIS M TOWLES CREWS                           650 KING ST                                                                                     MT PLEASANT        SC    29464‐4477
MRS LOIS MAZER                                    PLEASANT RIDGE RD                                                                               HARRISON           NY    10528
MRS LOIS N KOPECKY                                934 44TH ST SE                                                                                  CEDAR RAPIDS       IA    52403‐3924
MRS LOIS O BIEHLER                                1465 SE WEYBURN CT                                                                              PORT ST LUCY       FL    34952‐6057
MRS LOIS O'NEILL                                  PO BOX 689                                                                                      ROSEBURG           OR    97470‐0137
MRS LOIS OWENS                                    1658 WEST ROAD 32                                                                               WINCHESTER         IN    47394‐8528
MRS LOIS PERELLI                                  2801 PARK WEST DR                                                                               ALBEMARLE          NC    28001‐8210
MRS LOIS R RUFENER                                1667 LAKE RD NW                                                                                 DOVER              OH    44622‐7610
MRS LOIS R SMITH                                  16B LEXINGTON CT                                                                                LOCKPORT           NY    14094‐5365
MRS LOIS S SHUMAN                                 5 LYNN PL                                                                                       HILLSDALE          NJ    07642‐1104
MRS LOIS VAN ROOY                                 2010 46TH ST                                                                                    NORTH BERGEN       NJ    07047‐2633
MRS LOLA J LOGAN                                  930 PALMER RD                                                                                   COLUMBUS           OH    43212‐3713
MRS LONNIE TURNER                                 122 N LA JOLLA                                                                                  LOS ANGELES        CA    90048‐3528
MRS LORA L GELBORT                                858 W ARMITAGE 277                                                                              CHICAGO            IL    60614‐4329
MRS LORE DOENYAS                                  APT 316                                400 KINGS POINT DR                                       MIAMI BEACH        FL    33160‐4732
MRS LORETTA E MULLOY                              776 OLD ST RT 74 #412                                                                           CINCINNATI         OH    45245‐1226
MRS LORETTA EISNER & JOSEPH GREENFIELD JT TEN     44 GEORGIA AVE                                                                                  LONG BEACH AVE     NY    11561‐1236

MRS LORETTA G COWEN                               205 RIVER BEND CLOSE                                                                            BELVIDERE          IL    61008‐1403
MRS LORETTA M LENYO                               230 MC CONKEY DR                                                                                KENMORE            NY    14223‐1032
MRS LORETTA M ZEMEL                               126 HIGHLEDGE DR                                                                                PENFIELD           NY    14526‐2449
MRS LORETTA MASSA REGAN                           75 HICKORY LANE                                                                                 MAYS LANDING       NJ    08330‐8902
MRS LORETTA R BASTION & MELVIN J BASTION JT TEN   22954 GRAND ST                                                                                  HAYWARD            CA    94541‐6441

MRS LORETTA R BURGDORFF                         44 WALLBROOKE RD                                                                                  SCARSDALE          NY    10583‐2757
MRS LORETTA TENCZA                              16730 E ASHBROOK DR #A                                                                            FOUNTAIN HILLS     AZ    85268‐2800
MRS LORI MILLER & MICHAEL MILLER JT TEN         2840 S ROGERS HWY                                                                                 PALMYRA            MI    49268‐9718
MRS LORNA J BUCK & DOUGLAS E BUCK JT TEN        93 N FRENCH DR                                                                                    PRESCOTT           AZ    86303‐6247
MRS LORNA M HERBALY                             1832 W CAPE COD WAY                                                                               LITTLETON          CO    80120‐5518
MRS LORRAINE ANDERSEN                           PO BOX 700                                                                                        HILLSIDE           IL    60162‐0700
MRS LORRAINE E JONES                            ROUTE 1                                                                                           COLFAX             WA    99111‐9801
MRS LORRAINE E WRIGHT                           2229 S SALCEDO ST                                                                                 NEW ORLEANS        LA    70125‐4451
MRS LORRAINE EMERICK & MISS NANCY EMERICK JT    299 NW 52ND TER                          APT 320                                                  BOCA RATON         FL    33487‐3703
TEN
MRS LORRAINE G TRESTER                          6598 ILEX CIRCLE                                                                                  NAPLES             FL    34109‐8813
MRS LORRAINE H WILLIAMS                         120 WASHINGTON CORNER RD                                                                          BERNARDSVILLE      NJ    07924‐1211
MRS LORRAINE M MC MULLEN                        #7 TYSONS FORD                                                                                    NEWARK             DE    19711‐4813
MRS LORRAINE R DOBSON                           138 TETBURY AVE NE                                                                                CONCORD            NC    28025‐3172
MRS LORRAINE S LAYMAN & MRS SARAH LAYMAN        267 ANDERSON STREET                                                                               SAN FRANCISCO      CA    94110‐5604
THOMAS JT TEN
MRS LORRAINE V WAIDL                            1150‐C MORDEN BLUSH LANE                                                                          WEBSTER            NY    14580‐4512
MRS LORRAINE VALENTINE RODRIGUEZ                2023 HILTON HEAD DR                                                                               MISSOURI CITY      TX    77459‐3309
MRS LORRAINE WINK TRAWICK                       4922 EAST BEVERLY MAE                                                                             SAN ANTONIO        TX    78229‐4938
MRS LORRAYNE A FERREIRA                         1206 GRANITE LANE                                                                                 AUBURN             CA    95603‐3614
MRS LOTTIE M SPENCER & MRS SANDRA JEAN MAHER JT 35104 BRIGHTON                                                                                    STERLING HEIGHTS   MI    48310‐7409
TEN
MRS LOUANNE DUNLAP                              39 OVERLOOK DR                                                                                    GOLF            IL       60029
MRS LOUELLA H RANDALL                           954 GATEWOOD CT NW                                                                                ATLANTA         GA       30327‐1502
MRS LOUINE ETTA BELL                            4308 EMERALD LN SE                                                                                DECATUR         AL       35603
MRS LOUISA KEARNEY                              65 BEACON HILL ROAD                                                                               PORT WASHINGTON NY       11050‐3035

MRS LOUISA VANDERLINDEN                           2601 ASH CANYON RD                                                                              CARSON CITY        NV    89703‐5407
MRS LOUISE A WIECK                                7028 STATE ROUTE 9                                                                              CHESTERTOWN        NY    12817‐3807
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Name                                              Address1                               Address2               Address3                  Address4          City              State Zip

MRS LOUISE BEVIER & HUGH FRANCIS BEVIER JT TEN    25665 WALDORF                                                                                             ROSEVILLE         MI    48066‐5731

MRS LOUISE BRERETON CUST GARRET H BRERETON      9301 KOBE WY                                                                                                GAITHERSBURG      MD    20886‐3127
UGMA OH
MRS LOUISE BRERETON FAREL                       210 RIVER BEND CLOSE                                                                                        BELVIDERE         IL    61008‐1402
MRS LOUISE D ZAKRESKI                           2113 BIDDLE ST                                                                                              WILMINGTON        DE    19805‐3729
MRS LOUISE FUNK TURNER                          11256 WEST 38TH AVE                                                                                         WHEAT RIDGE       CO    80033‐3908
MRS LOUISE G LIPSCOMB                           2026 STUART AVE                                                                                             RICHMOND          VA    23220‐3542
MRS LOUISE G LONG                               17 HOLLY LANE                                                                                               WILMINGTON        DE    19807‐1205
MRS LOUISE H CAMBOURI & MARIE LOUISE C FORD JT  100 ATHENS BLVD                                                                                             MADISON           AL    35758‐8506
TEN
MRS LOUISE H HAGAN                              403 N 3RD ST                                                                                                BARDSTOWN         KY    40004‐1629
MRS LOUISE H LEITMAN CUST ELLEN ROBERTA LEITMAN 85 MATLACK DRIVE                                                                                            VOORHEES          NJ    08043‐4773
UGMA NJ
MRS LOUISE HAGERSTROM                           1110 FARMINGTON RD                                                                                          STRONG          ME      04983‐3135
MRS LOUISE JONES                                PO BOX 770                                                                                                  BUFFALO         NY      14205‐0770
MRS LOUISE L HALM                               15 ANDOVER ROAD                          PO BOX 1142                                                        JACKSON         NJ      08527‐0250
MRS LOUISE LAMB AUWARTER                        27 DUNKIN DR                                                                                                WASHINGTON CRNG PA      18977‐1021

MRS LOUISE PEARCE                                 1100 E OAKLAND PARK BLVD STE 104                                                                          OAKLAND PARK      FL    33334‐2749
MRS LOUISE POOLE                                  318 ARCH AVE                                                                                              GREENSBURG        PA    15601‐1904
MRS LOUISE RAGLAND                                306 MURRAY ST                                                                                             OXFORD            MS    38655‐2912
MRS LOUISE S LONG & HELEN LUCINDA LONG JT TEN     529 GLENGARRY DRIVE                                                                                       NASHVILLE         TN    37217‐2310

MRS LOUISE SAMPLE GERMER                          PO BOX 865                                                                                                EDNA            TX      77957‐0865
MRS LOUISE SMITH GIBBENS                          PO BOX 683                                                                                                WAVELAND        MS      39576‐3834
MRS LOUISE TROY W POWERS                          112 VERNON LANE                                                                                           WASHINGTON      NC      27889
MRS LOUISE U GIRARD                               4468 ALPINE COURT                                                                                         SNELLVILLE      GA      30039
MRS LOVEY D VERDUN                                5003 CLARDY RD NW                                                                                         HUNTSVILLE      AL      35810‐1803
MRS LOWELLYN GENE WEIDNER                         PO BOX 382                                                                                                GREENVILLE      PA      16125‐0382
MRS LOYOLA R SYKES                                C/O DEIRDRE SYKES                      PMB 139                N78 W14573 APPLETON AVE                     MENOMONEE FALLS WI      53051‐4382

MRS LUCIA BOYDEN PROCHNOW                      949 WOODBINE PLACE                                                                                           LAKE FOREST       IL    60045‐2275
MRS LUCIA DI CAPITE                            111 ST NICHOLAS AVE                                                                                          SMITHTOWN         NY    11787‐1243
MRS LUCIA H LEFFERTS                           80 OLD KINGS HWY N                        # 13                                                               DARIEN            CT    06820
MRS LUCIA SIMPSON & ROSE STEVENS JT TEN        17267 WARWICK                                                                                                DETROIT           MI    48219‐4207
MRS LUCIE C HAGGETT                            18 CRESTWOOD DR                                                                                              BIDDEFORD         ME    04005‐9511
MRS LUCIE W CAVAROC                            5403 S PRIEUR ST                                                                                             NEW ORLEANS       LA    70125‐4937
MRS LUCILE GOLDBERG                            3403 BROADMEADE                                                                                              HOUSTON           TX    77025‐3702
MRS LUCILIA S PATES & PETER E PATES JT TEN     146 CEDAR AVE                                                                                                LAKE VILLA        IL    60046‐8409
MRS LUCILLE ALAGNA CUST ANTHONY ALAGNA UGMA IL 455 W 26TH ST                                                                                                CHICAGO           IL    60616‐2235

MRS LUCILLE C HUMPHRIES                           161 HARRIS RD                                                                                             SPARTANBURG       SC    29302‐5226
MRS LUCILLE DEIDRICH CUST ALBERT WILLIAM DEIDRICH 27999 ‐ 33 MILE RD                                                                                        RICHMOND          MI    48062‐4417
UGMA MI
MRS LUCILLE KOWALSKI                              3941 PIERCE DR                                                                                            SHELBY TOWNSHIP   MI    48316‐1101

MRS LUCILLE L BROUSE                              APT 1704‐J                             1560 N SANDBURG TERR                                               CHICAGO           IL    60610‐7714
MRS LUCILLE L MAHAFFEY                            7711 S ENSENADA COURT                                                                                     AURORA            CO    80016‐1915
MRS LUCILLE M FRESE & JOHN E FRESE JT TEN         1615 VERONICA AVE                                                                                         ST LOUIS          MO    63147‐1423
MRS LUCILLE M SHAVER                              11145 N RANSOM RD                                                                                         WHEELER           MI    48662‐9712
MRS LUCILLE MYERS                                 403 W ORDNANE RD                       APT 423                                                            GLEN BURNIE       MD    21061‐6453
MRS LUCILLE N BASKIN                              3630 VANCE STREET                      APT 124                                                            WHEATRIDGE        CO    80033‐6290
MRS LUCILLE NOWICKE                               632 N 76TH ST                                                                                             WAUWATOSA         WI    53213‐3508
MRS LUCILLE T ALAGNA CUST AGOSTINO ANTHONY        455 W 26TH ST                                                                                             CHICAGO           IL    60616‐2235
ALAGNA UGMA IL
MRS LUCILLE VAN KIRK                              C/O TUCKER                             401 YORKSHIRE CT                                                   FRUITLAND         MD    21826‐1736
MRS LUCILLE W STRADER                             331 HOLT LN                            APT 140                                                            LEWISBURG         WV    24901‐1776
MRS LUCILLE ZOLA BROWN                            422 FIR LANE                                                                                              BERRYVILLE        AR    72616‐9046
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Name                                              Address1                                Address2                        Address3   Address4          City             State Zip

MRS LUCINDA JO IVES                               618 S CUSTER                                                                                         WICHITA          KS    67213‐2306
MRS LUCREZIA C LETTIS                             10 WALLING BLVD                                                                                      ONEONTA          NY    13820‐1918
MRS LUCY A WILSON                                 10385 W 7 MILE RD                                                                                    NORTHVILLE       MI    48167‐9116
MRS LUCY C DELMAR                                 13472 BARNEY ST                                                                                      WESTMINSTER      CA    92683‐2400
MRS LUCY J DUNN DANIEL                            3551 ATVONN DRIVE                                                                                    BIRMINGHAM       AL    35226‐2019
MRS LUCY M THOMAS                                 204 PANSTONE DR                                                                                      PEACHTREE CITY   GA    30269‐1247
MRS LUCY S JENKINS                                1168 LLOYD DR                                                                                        FOREST PARK      GA    30297‐1517
MRS LUELLA DICKHAUT                               PO BOX 374                                                                                           CARLINVILLE      IL    62626‐0374
MRS LUELLA J SCHOLL                               7806 HOOVER CT                                                                                       MENTOR           OH    44060‐4824
MRS LULA HOPSON                                   120 N ROBINSON AVE BLDG 1615                                                                         OKLAHOMA CITY    OK    73102‐7400
MRS LULU GAIL PARISH                              144 S OAKLAND AVE                                                                                    SAN MATEO        FL    32187‐2450
MRS LURA JAMES CUST MISS TRACEY JAMES U/THE CAL   1035 WOODGATE CT                                                                                     CAMARILLO        CA    93010‐3044
U‐G‐M‐A
MRS LURA MARIE TIFFANY                            401 NINE PARTNERS RD                                                                                 KINGSLEY         PA    18826‐9705
MRS LYDIA KLIMENKO MESHANKO                       902 FIELD CLUB RD                                                                                    PITTSBURGH       PA    15238‐2127
MRS LYLLIS C VOGLE                                22023 BLACKWELL FARM ROAD                                                                            SAUCIER          MS    39574‐9049
MRS LYNDA KAY WOLF                                407 WOODSIDE RD                                                                                      ROYAL OAK        MI    48073‐2651
MRS LYNDA L HOWARD CUST HEATHER HELAINE           13730 MARSEILLES CT                                                                                  CLEARWATER       FL    33762‐3320
HOWARD UTMA FL
MRS LYNDA LEVIN CUST JENNIFER LEVIN UGMA CA       C/O DONNA CHIN 426 MITCHELL DR                                                                       LOS OSOS         CA    93402

MRS LYNN A JOHNSON                                1377 COUNTRY CLUB BLVD                                                                               CLINE            IA    50325‐8801
MRS LYNN ANN MULL                                 6806 HONEYSUCKLE TRL                                                                                 BRADENTON        FL    34202‐2923
MRS LYNN D ROWE                                   209 BIRCH RD                                                                                         SHELBURNE        VT    05482‐6891
MRS LYNN ELLEN MAILLARD & MISS ELIZABETH ELLEN    316 BRUNSWICK DR                                                                                     HURON            OH    44839‐1552
MAILLARD JT TEN
MRS LYNN F MATZICK                                11398 MATINAL CIR                                                                                    SAN DIEGO        CA    92127‐1234
MRS LYNN GORSHA                                   7229 LAKE SHORE BLVD                                                                                 MENTOR           OH    44060‐3005
MRS LYNN GRADER JOHNSON                           1115 GEORGE ST                                                                                       BARTOW           FL    33830‐7416
MRS LYNN M BOYKO                                  51 HAKALA DR                                                                                         NEW IPSWICH      NH    03071‐4013
MRS LYNN MARIE PARKER LEHTO                       PO BOX 23                                                                                            PELKIE           MI    49958‐0023
MRS LYNN T ALBERI                                 103 GREENWICH COURT                                                                                  MADISON          NJ    07940‐1154
MRS LYNNE M ROECA                                 914 LULLWATER DR                                                                                     OVIEDO           FL    32765‐8517
MRS LYNNE STONE                                   227 WOODWARD AVE                                                                                     STATEN ISLAND    NY    10314‐4236
MRS M KATHLEEN KARTHOLL                           2912 CLIPPER CV                                                                                      FORT WAYNE       IN    46815‐8560
MRS M LOUISE ASHBY                                605 MUIRFIELD COURT                                                                                  AUGUSTA          GA    30907‐9575
MRS MABEL C RIDENOUR                              25 COKER DR                                                                                          AIKEN            SC    29803‐6211
MRS MABEL FAULK                                   2719 N 28TH STREET                                                                                   SUPERIOR         WI    54880‐7348
MRS MABEL GRINSTEAD                               2167 EMERSON AVE                                                                                     LOUISVILLE       KY    40205‐2560
MRS MABEL H DODD                                  1315 ALHAMBRA DR                                                                                     APOLLO BEACH     FL    33572‐2920
MRS MABEL K BARNEY & MRS DIANE CORRELL JT TEN     46 BONAIRE DR                                                                                        DIX HILLS        NY    11746

MRS MABEL PENG                                    3333 SANDY CREEK DR                                                                                  UTICA            MI    48316‐3957
MRS MABEL R MARCHAL                               4400 MCHUGH RD                          STE 408                                                      ZACHARY          LA    70791‐5326
MRS MABEL SEPPELL CUST KEVIN SEPPELL UGMA NY      5 MARLBORO LANE                                                                                      YONKERS          NY    10710‐4409

MRS MADALENE W LOHEAC CUST STEVEN P LOHEAC        163 BACON RD                                                                                         OLD WESTBURY     NY    11568‐1318
UGMA NY
MRS MADALENE W LOHEAC CUST SUZANNE M LOHEAC       163 BACON RD                                                                                         OLD WESTBURY     NY    11568‐1318
UGMA NY
MRS MADELINE BELL                                 1844 WAVELL ST                          LONDON ON                                  N5W 2E4 CANADA
MRS MADELINE SCHNEIDER                            15 GARVEY RD                                                                                         WAYNE            NJ    07470‐3628
MRS MADELINE WU                                   3436 PINE HAVEN CIRCLE                                                                               BOCA RATON       FL    33431‐5404
MRS MADELYN A ANDERSON                            213 64TH ST                                                                                          AVALON           NJ    08202‐1233
MRS MADGE E ROBERTSON                             ROUTE 1                                 12686 PLEASANT VIEW PARK ROAD                                LODI             WI    53555‐9801
MRS MADGE L HAUSER                                825 ARLINGTON                                                                                        PETOSKEY         MI    49770‐2434
MRS MADGE L SCHLEMMER                             4466 MICHAEL DR NW                                                                                   CANTON           OH    44718‐2730
MRS MADGE SCARBROUGH CUST MISS VIRLENE            ATTN MADGE MARTIN                       3541 HUMMINGBIRD LOOP SOUTH                                  OWENSBORO        KY    42301‐8663
SCARBROUGH U/THE IND U‐G‐M‐A
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Name                                           Address1                             Address2                         Address3   Address4                City            State Zip

MRS MADLYN H TUCKER                            5033 GREEN MOUNTAIN CIR UNIT 6                                                                           COLUMBIA        MD    21044
MRS MADONNA M KOUTRE                           2730 WASHINGTON AVE APT A                                                                                PLOVER          WI    54467‐3376
MRS MAE ALICE MANOR                            4488 OPAL DR                                                                                             HOFFMAN ESTATES IL    60192‐1182

MRS MAE E LOVELAND                             77 FRANCES ST                                                                                            AUBURN          NY    13021‐4246
MRS MAE STELLATO                               560 FERN AVE                                                                                             LYNDHURST       NJ    07071‐2231
MRS MAE Z RESTAINO                             4 AUSTIN STREET                                                                                          BELLEVILLE      NJ    07109‐1942
MRS MAFALDA LEMCKE BOTHE & MISS ANDREA L       PO BOX 3969                                                                                              PARADISE        CA    95967‐3969
LEMCKE JT TEN
MRS MAGDALENA TEUBL & MRS ELIZABETH MERKLER JT 25444 SKYE DR                                                                                            FARMINGTON HILLS MI   48336‐1674
TEN
MRS MAHVASH NOSRAT                             16303 RILL                                                                                               HOUSTON         TX    77062‐5032
MRS MAIRI GOODWIN                              2 GIG LANE                           HEATH & REACH LEIGHTON BUZZARD              LU7 0BQ GREAT BRITAIN
MRS MALINDA BERRY FISCHER                      PO BOX 1897                                                                                              STILLWATER      OK    74076‐1897
MRS MALINDA C MC FETRIDGE                      C/O MALINDA A WINN                   PO BOX 21477                                                        BRADENTON       FL    34204‐1477
MRS MALINDA K GORENA                           81 BRADFORD CIR                                                                                          SUGAR LAND      TX    77479‐2972
MRS MAMIE MARIE GILBERT                        3399 DUNN RD #204                                                                                        FLORISSANT      MO    63033‐6725
MRS MARCELLA B JOHNSTON                        859 ADNAH CHURCH ROAD                                                                                    ROCK HILL       SC    29732‐8507
MRS MARCELLA LIVINGSTON                        95 REGENT DRIVE                                                                                          LIDO BEACH      NY    11561‐4922
MRS MARCELLA M NYE                             256 DELLWOOD DR                                                                                          FAIRBORN        OH    45324‐4225
MRS MARCIA A CASEY                             10505 SE 52ND AVE                                                                                        MILWAUKIE       OR    97222‐4302
MRS MARCIA A PIERSON                           26750 HAYES                                                                                              ROSEVILLE       MI    48066‐3168
MRS MARCIA ADA TOTZ                            2110 HEATHER ROAD                                                                                        GENEVA          IL    60134‐3138
MRS MARCIA B GOBRECHT                          1108 ATLAND DR                                                                                           MECHANICSBURG   PA    17055‐5372
MRS MARCIA DORT HINCKLEY                       209 PALISADO AVE                                                                                         WINDSOR         CT    06095‐2070
MRS MARCIA E GOODRICH                          134 WINDMILL PT EXT #7                                                                                   ALBURG          VT    05440‐9743
MRS MARCIA E WAITZMAN                          18 OLD LAKE ROAD                                                                                         CONGERS         NY    10920‐2422
MRS MARCIA G MILCHIKER CUST DANIEL MILCHIKER   26132 OROVILLE PLACE                                                                                     LAGUNA HILLS    CA    92653‐6315
UGMA OH
MRS MARCIA LYNN LEE CUST STACEY ANN LEE U/THE  ATTN STACEY ANN LEE NEESE            7400 E SYCAMORE ST                                                  EVANSVILLE      IN    47715‐3762
INDIANA U‐G‐M‐A
MRS MARCIA LYNN S MEYER                        120 LONG POINT DR                                                                                        AMELIA IS       FL    32034‐6406
MRS MARCIA M WELSH                             201 WILLIS RD                                                                                            FRANKLIN        VA    23851‐2922
MRS MARCIA S SCHWAN                            6054 RIVER CRESCENT                                                                                      NORFOLK         VA    23505‐4707
MRS MARCIA W BOWMAN                            337 SUMMER RIDGE RD                                                                                      BOZEMAN         MT    59715‐7771
MRS MARCY ZELZNICK CUST MICHAEL SCOTT ZELZNICK 2116 GLOUCHESTER DR                                                                                      CLEVELAND       OH    44124‐4013
UGMA OH
MRS MARDELLE COOK                              C/O REBA S LOCK                      PO BOX 57                                                           PATTISON        TX    77466‐0057
MRS MARGARET A FUENTES                         2586 PACES FERRY ROAD N                                                                                  ORANGE PARK     FL    32073‐6523
MRS MARGARET A KOZIK CUST RONALD J WILLIAMS    121 WATT RD                                                                                              GREGORY         MI    48137‐9610
UGMA MA
MRS MARGARET A OAKLEY                          1310 SE 43RD TERR                                                                                        OCALA           FL    34471‐4952
MRS MARGARET A SIMPSON                         287 BEACHVIEW DRIVE N E                                                                                  FORT WALTON     FL    32547‐2802
                                                                                                                                                        BEACH
MRS MARGARET AFFINITO                          445 EAST 77TH ST                                                                                         NEW YORK        NY    10021‐2318
MRS MARGARET ANN PAOLINI CUST THOMAS LANDON    512 CORNWALL AVE                                                                                         TONAWANDA       NY    14150‐7106
PAOLINI UGMA NY
MRS MARGARET B ANDERSON                        15001 HORSESHOE BEND DR                                                                                  CHESTER         VA    23831‐6940
MRS MARGARET B BETTINGER                       1707 SMITH ROAD                                                                                          CHARLESTON      WV    25314‐2249
MRS MARGARET B GORDON                          1106 SCHLEY AVE                                                                                          CORDELE         GA    31015‐1968
MRS MARGARET B HACKER                          612 TALLY RD                                                                                             LEXINGTON       KY    40502‐2727
MRS MARGARET B HAINES                          1358 BEVERLY AVE                                                                                         GLENDALE        MO    63122‐4761
MRS MARGARET B HANLEY                          3 HILL HOLLOW DR                                                                                         PITTSTOWN       NJ    08867‐5154
MRS MARGARET B T CRUSE                         10 TOWNSEND DR                                                                                           FLORHAM PARK    NJ    07932‐2320
MRS MARGARET B WALKER                          C/O BRENDA WASHINGTON                55 E IROQUOIS                                                       PONTIAC         MI    48341‐2016
MRS MARGARET B WHITEHILL                       BOX 341                                                                                                  EMLENTON        PA    16373‐0341
MRS MARGARET BALOGH & MISS KATHLEEN BALOGH     101 NUTMEG LANE                                                                                          FAIRFIELD       CT    06824‐3909
MAGOUN JT TEN
MRS MARGARET BENEDETTO                         15 HECKSCHER DRIVE                                                                                       HUNTINGTON      NY    11743‐1115
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MRS MARGARET BENTON DAVIS                      1604 RAINIER FALLS DR NE                                                                      ATLANTA           GA    30329‐4108
MRS MARGARET BROGAN                            5955 QUINN ORCHARD RD               UNIT 161                                                  FREDERICK         MD    21704
MRS MARGARET C BARNES                          23 SOUTHWOOD DR                                                                               BALLSTON LAKE     NY    12019‐1303
MRS MARGARET C YATES                           1009 CELLANA CT                                                                               FORT MYERS        FL    33908‐1602
MRS MARGARET CHU                               43 DEERHAVEN ROAD                                                                             LINCOLN           MA    01773‐1809
MRS MARGARET COOPER HARRIS CUST DONALD M       9 LINDEN LANE                                                                                 CHATHAM           NJ    07928‐1623
HARRIS UGMA NJ
MRS MARGARET COORS BERESFORD                   3 JENNYS LANE                                                                                 BARRINGTON        RI    02806‐4424
MRS MARGARET COSTIN                            434 WALNUT ST                                                                                 CARY              NC    27511‐4040
MRS MARGARET D MC MANUS                        521 MAULDIN CT                                                                                NORCROSS          GA    30071‐2189
MRS MARGARET D STANLEY                         4101 BROOKHOLLOW DR                                                                           ABILENE           TX    79605‐6451
MRS MARGARET D STEVENS                         19 CURTISS PLACE                                                                              MAPLEWOOD         NJ    07040‐2101
MRS MARGARET E BARNES                          ATTN MARGARET B HOFFMAN             215 FOXCROFT RD                                           CARTHAGE          NC    28327‐8921
MRS MARGARET E DAVIES                          104 BRANT AVENUE                    APT 102                  BRANTFORD ON   N3T 3H3 CANADA
MRS MARGARET E FOOTE                           1313 ARLINGTON AVE                                                                            FLINT             MI    48506‐3755
MRS MARGARET E RAPP LOVEJOY & WALTER F LOVEJOY 7362 W PARKS HWY #724                                                                         WASILLA           AK    99654‐9123
JT TEN
MRS MARGARET E SVENDSEN                        APT 209                             10 ALLDS STREET                                           NASHUA            NH    03060‐4779
MRS MARGARET EILEEN DERNOVICH                  182 RUSSELL RANCH LN                                                                          GREAT FALLS       MT    59405‐6467
MRS MARGARET ELLEN HOLDEN                      1080 LAUREL COURT                                                                             WATERTOWN         WI    53098‐3209
MRS MARGARET F CADY                            46 SUMMIT AVE                                                                                 BRONXVILLE        NY    10708‐1820
MRS MARGARET F GONDOS                          2905 HUNTING HILLS COURT                                                                      OAKTON            VA    22124‐1743
MRS MARGARET F KOKE                            4348 WEBSTER AVE                                                                              CINCINNATI        OH    45236‐3640
MRS MARGARET FAUGHT GRAHAM                     3229 METAIRIE CT                                                                              METAIRIE          LA    70002‐5017
MRS MARGARET FEHLING                           3825 WILBURNE ST                                                                              SEAFORD           NY    11783‐2542
MRS MARGARET FEILD KRESGE                      3585 NORTHSIDE DR                                                                             ATLANTA           GA    30305‐1038
MRS MARGARET FLO GRAMMER                       65955 PATTERSON HILL RD                                                                       BELLAIRE          OH    43906‐8505
MRS MARGARET FOUNTAIN CUST MELINDA JEAN        116 FARRAND AVENUE                                                                            LAPORTE           IN    46350‐5601
FOUNTAIN UGMA IN
MRS MARGARET G BOWELL                          376 DEARING ST                                                                                ATHENS            GA    30605‐1033
MRS MARGARET G LITTLE                          324 MELODY LANE                                                                               DUNCANVILLE       TX    75116‐4611
MRS MARGARET G SMALL                           788 CHERRY AVE                                                                                WAYNESBORO        VA    22980‐4407
MRS MARGARET GIBSON                            9004 GRATIOT                                                                                  COLUMBUS          MI    48063‐3609
MRS MARGARET H DEARING                         213 HICKORY DR                                                                                SHELBYVILLE       TN    37160‐2446
MRS MARGARET H JAMES                           70 S ARDMORE RD                                                                               COLUMBUS          OH    43209‐1705
MRS MARGARET H RIDDLE                          47 WATER ST                                                                                   LEEDS             MA    01053‐9701
MRS MARGARET H ROTH                            36 EDGEMORE DRIVE                   TORONTO ON                              M8Y 2N3 CANADA
MRS MARGARET H SOOY                            5837 BRITTANY WOODS CIR                                                                       LOUISVILLE        KY    40222‐5975
MRS MARGARET HIGGINS CUST GRAHAM STEWART       1631 WINNETKA RD                                                                              GLENVIEW          IL    60025‐1823
HIGGINS UGMA IL
MRS MARGARET HINELY                            3134 FILMORE ST                                                                               HOLLYWOOD         FL    33021‐7057
MRS MARGARET HOPPER                            23730 FILMORE                                                                                 TAYLOR            MI    48180‐2361
MRS MARGARET J COCKBILL                        3310 COVENTRY CT                                                                              JOLIET            IL    60431‐4805
MRS MARGARET J HOLMES                          3824 MOUNTAIN SHADOWS ROAD                                                                    CALABASES HILLS   CA    91301‐5367
MRS MARGARET J MACDONALD                       APT 219                             6085 LINCOLN DR BLDG 2                                    EDINA             MN    55436‐1654
MRS MARGARET J MC CLEARY                       C/O MARGARET J MC CLEARY WELLS      1041 MURIEL N E                                           ALBUQUERQUE       NM    87112‐5627
MRS MARGARET J MILLER                          6416 FARMERSVILLE GERMANTOWN        PIKE                                                      GERMANTOWN        OH    45327‐8568
MRS MARGARET J PALADINO                        7681 TAHITI LANE #202                                                                         LAKE WORTH        FL    33467‐4954
MRS MARGARET JANE COOMBS                       7318 NORMANDY DR                                                                              HENRICO           VA    23229‐6712
MRS MARGARET JO IRVIN MRS MARGARET JO STALLONE 2324 E BURY CT                                                                                BENSALEM          PA    19020

MRS MARGARET JUNE ARTHERTON                   2425 PENN                                                                                      ST JOSEPH         MO    64507‐1550
MRS MARGARET K MAHONEY & WILLIAM J MAHONEY JT 19 EASTWOOD RD                                                                                 DANBURY           CT    06811‐3628
TEN
MRS MARGARET K ROVENKO CUST KEITH R ROVENKO   13339 COUNTY RD 457                                                                            NEWBERRY          MI    49868‐7833
UGMA MI
MRS MARGARET K WALKER & SAMUEL M WALKER TEN ATTN SUSAN B WHEAT                     2423 CREIGHTON AVE                                        BALTIMORE         MD    21234‐7010
ENT
MRS MARGARET KARIS & JAMES KARIS JT TEN       814 JACKMAN AVE                                                                                PITTSBURGH        PA    15202‐2718
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Name                                           Address1                               Address2                 Address3      Address4          City             State Zip

MRS MARGARET L BROWNE                          4 BIRCHWOOD RD                                                                                  BEDFORD          MA    01738
MRS MARGARET L JANISSE                         860 WELDON ST                                                                                   LATROBE          PA    15650‐1609
MRS MARGARET L OAKLEY                          530 PARK AVE                                                                                    SCOTCH PLAINS    NJ    07076‐1746
MRS MARGARET LAUGHLIN CASEY                    610 S W 25TH ROAD                                                                               MIAMI            FL    33129‐2208
MRS MARGARET LOTT ZUBOWICZ                     2728 LANGRIDGE LOOP NW                                                                          OLYMPIA          WA    98502‐4421
MRS MARGARET LOUISE BARTON                     3430 JUNIATA                                                                                    ST LOUIS         MO    63118‐2014
MRS MARGARET LOUISE KLINE THOMPSON             2443 MONROE ST N E                                                                              WASHINGTON       DC    20018‐2901
MRS MARGARET LOUISE THIBAUT OWENS              ATTN MARGRET T WATSON                  235 MIDWAY DR                                            NEW ORLEANS      LA    70123
MRS MARGARET LYNN TIMMERMAN                    6411 RANSOM RD                                                                                  BIRMINGHAM       AL    35210‐4490
MRS MARGARET M ANDERSON                        524 FISHER RD                                                                                   CABOT            PA    16023‐2112
MRS MARGARET M EVANS                           11 FLOWER LANE                                                                                  NEW HYDE PARK    NY    11040‐1905
MRS MARGARET M FECHNER                         2026 BROWNING                                                                                   MANHATTAN        KS    66502‐1928
MRS MARGARET M FOUNTAIN CUST ANN MARIE         116 FARRAND AVE                                                                                 LA PORTE         IN    46350‐5601
FOUNTAIN UGMA IN
MRS MARGARET M GRILL                           818 W UNIVERSITY PKWY                                                                           BALTIMORE        MD    21210‐2912
MRS MARGARET M JONES & DONALD J JONES JT TEN   3807 21ST ST NW                                                                                 CANTON           OH    44708‐2323

MRS MARGARET M LIVERMORE                     27 GODEN ST                                                                                       BELMONT          MA    02478‐3002
MRS MARGARET M MC GRANE & THOMAS J MC GRANE 5214 AMBERWOOD CIR                                                                                 PINSON           AL    35126‐3531
JT TEN
MRS MARGARET M OBRIEN                        2865 NATTA BLVD                                                                                   BELLMORE         NY    11710‐3256
MRS MARGARET M PEARSON                       406 GRAHAM ST                                                                                     MC RAE           GA    31055‐1937
MRS MARGARET M PICKENS                       8368 GALLANT FOX TRL                                                                              FLUSHING         MI    48433‐8826
MRS MARGARET MAGEE                           736 DAVIS RD                                                                                      GILLETTE         NJ    07933‐1003
MRS MARGARET MARY MC FADDEN CUST DANIEL MC   612 BLACK GATES ROAD                                                                              WILMINGTON       DE    19803‐2240
FADDEN UGMA PA
MRS MARGARET MARY MC FADDEN CUST FRANCES MC 487 E SPRINGFIELD RD                                                                               SPRINGFIELD      PA    19064‐3334
FADDEN UGMA PA
MRS MARGARET MARY MC FADDEN CUST MARY TERESA 487 E SPRINGFIELD RD                                                                              SPRINGFIELD      PA    19064‐3334
MC FADDEN UGMA PA
MRS MARGARET N SMITH                         789 BRICK MILL RUN                                                                                WESTLAKE         OH    44145‐1647
MRS MARGARET NEVERIL CUST THOMAS PATRICK     1105 ESSEX DR                                                                                     OAKBROOK         IL    60181‐5253
NEVERIL UGMA IL                                                                                                                                TERRACE
MRS MARGARET NIEDERMEYER & ROBERT MARTIN     193 LONGVUE DR                                                                                    PITTSBURGH       PA    15237‐2260
NIEDERMEYER TEN ENT
MRS MARGARET O OWINGS                        14102 CYPRESS RUN                                                                                 TAMPA            FL    33618‐2719
MRS MARGARET OLSON                           9996 OAKWOOD COURT                                                                                ST JOHN          IN    46373
MRS MARGARET OVERTON SCHREIBER               2919 FREEDOM DR                                                                                   EVANSVILLE       IN    47720
MRS MARGARET P TRACY                         #41 1750 LENZ RD                         KELOWNA BC                             V1Z 3N1 CANADA
MRS MARGARET PETRONI                         12663 LUTHER RD                                                                                   AUBURN           CA    95603‐3539
MRS MARGARET PITTA                           7430 29TH CT                                                                                      VERO BEACH       FL    32967‐5758
MRS MARGARET POE                             3 CARPENTER WAY                                                                                   ARMONK           NY    10504‐1451
MRS MARGARET POWELL THOMAS                   714 CHESAPEAKE CT                                                                                 FOSTORIA         OH    44830
MRS MARGARET Q DOUGHERTY                     1655 EAST DRIVE                                                                                   POINT PLEASANT   NJ    08742‐5117
MRS MARGARET R GREEN                         NILESVILLE RD                                                                                     LE ROY           NY    14482
MRS MARGARET R WILLIS                        4436 CAHABA RIVER ROAD                                                                            MOUNTAIN BROOK   AL    35243‐4100

MRS MARGARET REEVES                            10307 CLAIRE AVE                                                                                NORTHRIDGE       CA    91326‐3306
MRS MARGARET RITTER                            7200 GARLAND                                                                                    TAKOMA PARK      MD    20912‐6420
MRS MARGARET S TABER                           3036 W STATE RD 26                                                                              WEST LAFAYETTE   IN    47906‐4743
MRS MARGARET SCHRODT & ROBERT SCHRODT JT TEN   5265 FREDRICKSBURG LN                                                                           LEXINGTON        MI    48450‐9251

MRS MARGARET SOLONDZ                           32 KENWORTH DR                         ST CATHERINES ON                       L2M 4S2 CANADA
MRS MARGARET STRONG                            254 MURRAY ST                          GRIMSBY ON                             L3M 3P1 CANADA
MRS MARGARET T HARRIGAN                        9041 S SACRAMENTO                                                                               EVERGREEN PARK   IL    60805‐1333
MRS MARGARET WATKINS                           C/O LAW B WATKINS                      23615 WEST HARRIS ROAD                                   DICKERSON        MD    20842‐9670
MRS MARGARET WIRTH                             15 WALNUT AVE                                                                                   NORWALK          CT    06851‐5101
MRS MARGARET Y HOLEWINSKI                      9061 DELLWOOD DR                                                                                FALLSTON         MD    21047
MRS MARGARET Y KWAN                            155 HEATH ST E                         TORONTO ON                             M4T 1S6 CANADA
                                              09-50026-mg              Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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MRS MARGARET Y MONTGOMERY                       648 BRIDLE ROAD                                                                                 GLENSIDE         PA    19038‐2004
MRS MARGARET Y WUE                              G P O BOX 1023                                                               HONG KONG, CHINA
MRS MARGARETA A PALLENBERG                      23112 40TH DRIVE N E                                                                            ARLINGTON        WA    98223‐7677
MRS MARGERY DUBBS                               7 FALLBROOK CIR                                                                                 ROCHESTER        NY    14625‐1623
MRS MARGERY J SCHNELL                           12041 GADDINI COURT                                                                             WEST OLIVE       MI    49460
MRS MARGIE GOLAK & MISS ELAINE GOLAK JT TEN     338 JEFFERSON AVE                                                                               BRISTOL          PA    19007‐5241

MRS MARGIE M ANDERSON                         25139 W POSEY DR                                                                                  HEMET            CA    92544‐2731
MRS MARGIE NORFLUS                            2717 E 28TH ST                          APT 3K                                                    BROOKLYN         NY    11235‐2449
MRS MARGIE OLTS COLE                          517 S RACE ROAD                                                                                   COUPEVILLE       WA    98239‐4006
MRS MARGIT SHELDON                            C/O EMILY KLOTZ 30 W 26TH ST            11TH FLOOR                                                NEW YORK         NY    10010‐2011
MRS MARGO H NOVAK CUST INGRID B NOVAK UGMA NY 100 HARVARD ST                                                                                    ROCHESTER        NY    14607‐3115

MRS MARGO L HEALD                               3611 N W 174TH ST                     OPA                                                       LOCKA            FL    33056‐4151
MRS MARGO M ITKOFF                              7575 BUCKINGHAM ROAD                                                                            CINCINNATI       OH    45243‐1601
MRS MARGO O KEPFORD                             7023 ANTIOCH                                                                                    OVERLAND PARK    KS    66204‐1254
MRS MARGRETTA E KINNERSLEY                      2804 QUARTZ WAY                                                                                 SUPERIOR         CO    80027‐6053
MRS MARGRETTA S WALLACE                         509 BIRMINGHAM AVE                                                                              WILM             DE    19804‐1907
MRS MARGUERITA BAINES                           104AA                                 27951 COLERIDGE                                           HARRISON         MI    48045‐5398
                                                                                                                                                TOWNSHIP
MRS MARGUERITE AMES MILLER                      7 BAVER DRIVE                                                                                   ALBANY           NY    12205‐5050
MRS MARGUERITE B GRIFFITH                       270 WOODLAND HEIGHTS DRIVE                                                                      COLUMBUS         MS    39705
MRS MARGUERITE CAROL REILLY                     14 WAY WOOD PLACE                                                                               HUNTINGTON       NY    11746‐1329
                                                                                                                                                STATION
MRS MARGUERITE D JACKSON & MRS ELIZABETH J      1141 GRAPEVINE RD                                                                               SANDSTON         VA    23150‐3604
HINTON JT TEN
MRS MARGUERITE FRANCISCO                        1818 CHAPEL RD                                                                                  SCOTCH PLAINS    NJ    07076‐2903
MRS MARGUERITE H GLOVER                         2927 SOUTH 99TH AVE                                                                             OMAHA            NE    68124‐2604
MRS MARGUERITE H WHEELOCK                       12406 WINDING LANE                                                                              BOWIE            MD    20715‐1234
MRS MARGUERITE J BARAK & FRANK M BARAK JT TEN   1510 WISCONSIN AVE                                                                              GLADSTONE        MI    49837‐1238

MRS MARGUERITE L RYAN                           1360 N SANDBURG TE C                                                                            CHICAGO          IL    60610‐2075
MRS MARGUERITE M JOHNSON                        1638 SINGLEY LN                                                                                 UPPER BLACK EDDY PA    18972‐9701

MRS MARGUERITE M NICOLOFF                         72 MADBURY RD                                                                                 DURHAM           NH    03824‐2018
MRS MARGUERITE M SHELTON                          4894 BELL STATION RD                                                                          CIRCLEVILLE      OH    43113‐9217
MRS MARGUERITE R FARRELL                          4919 PALISADE LN NW                                                                           WASHINGTON       DC    20016‐5305
MRS MARGUERITE S BYERS                            155 HASTINGS DRIVE                                                                            FALLING WATERS   WV    25419
MRS MARGUERITE W COSGROVE                         12404 COPENHAVER TERR                                                                         POTOMAC          MD    20854‐3028
MRS MARIA M LYNCH                                 1510 WINKLE DRIVE                                                                             CHICO            CA    95926‐7722
MRS MARIA P SHEPHERD                              731 IRONWOOD DR                                                                               CARMEL           IN    46033‐8725
MRS MARIA PARISER                                 300 E 74TH ST                       APT 5E                                                    NEW YORK         NY    10021‐3713
MRS MARIA T COLUMBO CUST MARCOS P VILLAZAN        96 HIGLAND AVE                                                                                TARRYTOWN        NY    10591‐4207
UGMA NY
MRS MARIAM KURKJIAN                               28074 FONTANA DRIVE                                                                           SOUTHFIELD       MI    48076‐2407
MRS MARIAM R CHRISTIANSEN                         1341 MOLNER COURT                                                                             YPSILANTI        MI    48198‐6327
MRS MARIAN BABIARZ                                100 MILLS POINT RD                                                                            COLCHESTER       VT    05446‐6627
MRS MARIAN C DUNN CUST JAMES N DUNN U/THE         1665 LONGBOW LANE                                                                             CLEARWATER       FL    33764‐6463
FLORIDA GIFTS TO MINORS ACT
MRS MARIAN C WILKISON & RUSSELL P WILKISON JT TEN 36 VELVET DRIVE                                                                               JACKSONVILLE     FL    32220‐1728

MRS MARIAN F PIETTE                             PO BOX 15                             2284 ENGLE HART RD                                        DE FORD          MI    48729‐9641
MRS MARIAN H STILLIONS                          ATTN M A HODGES                       ROUTE 2 BOX 135‐A                                         INDIANOLA        MS    38751‐9621
MRS MARIAN J GRAVES                             7127 LEE HWY                                                                                    CHATTANOOGA      TN    37421‐6790
MRS MARIAN J WARREN                             521 LUSTER AVE                                                                                  MADISON          WI    53704‐1517
MRS MARIAN JACQ                                 5400 N HOLLYWOOD AVE                                                                            WHITEFISH BAY    WI    53217‐5325
MRS MARIAN MC CURDY ROBERTSON                   5401 SHOALWOOD                                                                                  AUSTIN           TX    78756‐1619
MRS MARIAN MULLIGAN                             ONE RENAISSANCE PL #705                                                                         PALATINE         IL    60067‐3638
MRS MARIAN P MILLS                              16 BELLEVUE RD                                                                                  BERLIN           MA    01503‐1643
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MRS MARIAN W ESPOSITO                            137 MARION AVE                                                                                     NORTH ADAMS        MA    01247‐3714
MRS MARIAN YANNEY EMMETT                         6N724 PALOMINO DR                                                                                  SAINT CHARLES      IL    60175‐5702
MRS MARIANNA MOLNAR & STEPHEN M MOLNAR JT        4 CYNTHIA DR                                                                                       JOHNSTON           RI    02919‐3423
TEN
MRS MARIANNA SOAPER WRIGHT                       443 S ROOSEVELT DR                                                                                 EVANSVILLE         IN    47714‐1629
MRS MARIANNE B MC GLYNN CUST PAUL M MC GLYNN     PO BOX 26                                                                                          TENAFLY            NJ    07670‐0026
II UGMA NJ
MRS MARIANNE BOHM                                2238‐B VIA PUERTA                                                                                  LAGUNA HILLS       CA    92653‐2169
MRS MARIANNE HARDEN WYLLY                        3691 SINCLAIR DAM ROAD                                                                             MILLEDGEVILLE      GA    31061‐9321
MRS MARIANNE K HARRIS                            2604 N PAULINE                                                                                     MUNCIE             IN    47303‐5378
MRS MARIANNE MAZZARINO                           12 BERNARD DR                                                                                      BASKING RIDGE      NJ    07920‐2692
MRS MARIANNE MC LAUGHLIN & J WILLIAM MC          1609 N WEBSTER AV                                                                                  SCRANTON           PA    18509‐2139
LAUGHLIN JR JT TEN
MRS MARIANNE THODE MATSON                        9949 NORD RD                                                                                       MINNEAPOLIS        MN    55437‐2341
MRS MARIBELLE BENNETT SANZENBACHER               2060 S KENNISON DR                                                                                 TOLEDO             OH    43609‐1920
MRS MARIE A ELLIS                                119 LA CAVA RD                                                                                     BRISTOL            CT    06010‐2836
MRS MARIE A WATSON                               2487 E 82ND ST                                                                                     CLEVELAND          OH    44104‐2256
MRS MARIE A WHALEN                               3904 S PRAIRIE HILL LANE                  APT# 123                                                 GREENFIELD         WI    53228‐2350
MRS MARIE BABB                                   2259 EASTWOOD DR                                                                                   SNELLVILLE         GA    30078‐2615
MRS MARIE C BARE & W HOWARD BARE JT TEN          PO BOX 1350                                                                                        WEST JEFFERSON     NC    28694‐1350
MRS MARIE D DUCKWITZ                             497 NOXON RD                                                                                       POUGHKEEPSIE       NY    12603
MRS MARIE D FIFE                                 4520 SHERWOOD FOREST                                                                               DEL RAY BEACH      FL    33445‐3876
MRS MARIE D SCHWARTZ                             465 PARK AVE                                                                                       NEW YORK           NY    10022‐1902
MRS MARIE DEUTSCH                                4880 ISABELLA AVE                         MONTREAL QC                            H3W 1S5 CANADA
MRS MARIE DI ORIO                                1008 EAST 211TH ST                                                                                 BRONX             NY     10469‐1313
MRS MARIE E WHITE                                205 LANTERN PL                                                                                     LITTLE EGG HARBOR NJ     08087‐1340

MRS MARIE ENGLISH                                35 BROOK AVE                                                                                       SOUTH AMBOY        NJ    08879‐2003
MRS MARIE EVANS                                  1318 LAPEER                                                                                        SAGINAW            MI    48607‐1542
MRS MARIE F HOWARD                               1707 MIDDLE ST                            PO BOX 321                                               SULLIVANS ISLAND   SC    29482‐0321

MRS MARIE F TYNER                                5911 HALPINE RD                                                                                    ROCKVILLE          MD    20851‐2410
MRS MARIE FORMANEK                               1655 STATE ST                                                                                      GARNER             IA    50438‐8767
MRS MARIE FRICKE CUST DAVID FRICKE UGMA NJ       194B MADISON LN                                                                                    MONROE TWP         NJ    08831‐6616
MRS MARIE FRICKE CUST MISS CAROLYN FRICKE UGMA   194B MADISON LN                                                                                    MONROE TWP         NJ    08831‐6616
NJ
MRS MARIE FRICKE CUST STEVEN FRICKE UGMA NJ      194B MADISON LN                                                                                    MONROE TWP         NJ    08831‐6616

MRS MARIE H HENDRIX                              PO BOX 128                                                                                         PIEDMONT           AL    36272‐0128
MRS MARIE H ZACHRY                               228 CHEROKEE TRL                                                                                   CLARKSVILLE        TN    37043‐4506
MRS MARIE INGWERSEN                              206 GREEN ST                                                                                       ALEXANDRIA         VA    22314‐4316
MRS MARIE L JOHNSTON                             47 DARLINGTON RD                                                                                   BEAVER FALLS       PA    15010‐3021
MRS MARIE L ROUSE                                505 LEAWOOD DR                                                                                     GREENSBORO         NC    27410‐4220
MRS MARIE L SMITH                                89 EMERSON ST                                                                                      KINGSTON           NY    12401‐4446
MRS MARIE LESHER                                 3630 KINGS DR                                                                                      LEBANON            PA    17046‐9301
MRS MARIE LOUISE LIEBE‐HARKORT                   PO BOX 344                                                                                         MATADOR            TX    79244‐0344
MRS MARIE LOUISE PUTNEY                          1 BISHOP GADSDEN WAY APT 359                                                                       CHARLESTON         SC    29412
MRS MARIE MURRAY                                 2100 LINWOOD AVE APT 22J                                                                           FORT LEE           NJ    07024‐3182
MRS MARIE PERGOLA                                152 HIGHLAND AVE                                                                                   MONTCLAIR          NJ    07042‐1914
MRS MARIE SEARS BARNHILL                         BOX 587                                                                                            WILLIAMSTON        NC    27892‐0587
MRS MARIE T DAVIS                                6 MAJESTIC CT                                                                                      WILM               DE    19810‐2503
MRS MARIE T KIDD                                 2087 JENKINS CT                                                                                    INDIANAPOLIS       IN    46280
MRS MARIE T LIVESAY                              129 PEYTON RD                                                                                      WILLIAMSBURG       VA    23185‐5526
MRS MARIE TROMBINO                               219 BEL AIR CT ST                                                                                  HOLMDEL            NJ    07733‐2517
MRS MARIE WINEBRENNER                            BOX 80                                    305 BAUM ST                                              AVILLA             IN    46710‐0080
MRS MARILOU E THOMAS                             1195 ST CHARLES CT                                                                                 LOS ALTOS          CA    94024‐7038
MRS MARILU DILLARD OWENS                         137 POND RIDGE RD                                                                                  COLUMBIA           SC    29223‐7007
MRS MARILYN A FERRY                              203 BRANCH RD UNIT 3F                                                                              THOMASTON          CT    06787‐1963
MRS MARILYN A JANICKI                            C/O MARILYN C KOLATSCHKO                  3353 DICKENS RD                                          BLASDELL           NY    14219‐2216
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MRS MARILYN ANN CONGDON                             RR #1                                 ROSE BAY NS                                B0J 2X0 CANADA
MRS MARILYN B KIRKPATRICK                           ATTN MARILYN B GREGORY                105 PEIRCE ROAD      DEERHURST                                   WILMINGTON       DE    19803‐3727
MRS MARILYN BANKS CUST MICHAEL BANKS UGMA NY        2910 HARBOR ROAD                                                                                       MERRICK          NY    11566‐4611

MRS MARILYN BARBER                                  ATTN MRS MARILYN J BARBER             24 JUNE AVE                                                      BAYVILLE         NY    11709‐2335
MRS MARILYN BARRY                                   5935 VINTAGE OAKS CIRCLE                                                                               DELRAY BEACH     FL    33484‐6427
MRS MARILYN BRILL                                   320 S 8TH ST                          PO BOX 241                                                       OOSTBURG         WI    53070‐1403
MRS MARILYN C PROCTOR                               6 UNDERWOOD DR                                                                                         LITCHFIELD       NH    03052‐2320
MRS MARILYN CARSWELL                                133 GLADSTONE AVE                     OSHAWA ON                                  L1J 4E8 CANADA
MRS MARILYN CONGDON                                 RD 1                                  ROSE BAY NS                                B0J 2X0 CANADA
MRS MARILYN E CHANDLEY                              4 PATTERSON VILLAGE CT                                                                                 PATTERSON        NY    12563‐2404
MRS MARILYN E WHITBREAD                             345 VILLA CT                          OSHAWA ON                                  L1J 6Y3 CANADA
MRS MARILYN GIEVER CUST ADAM HOWARD GIEVER          ATTN ADAM HOWARD GIEVER               700 KEITH LN                                                     W ISLIP          NY    11795‐3401
U/THE NY U‐G‐M‐A
MRS MARILYN GINOS                                   575 PALM CIRCLE EAST                                                                                   NAPLES           FL    34102‐5558
MRS MARILYN HENDERSON                               625 S SHERRILL                                                                                         ANAHEIM          CA    92804‐3217
MRS MARILYN J HORMEL                                16 CURIOSITY LANE                                                                                      WESTON           CT    06883‐1701
MRS MARILYN J PATTERSON                             1024 STONEHILL CT                                                                                      DANVILLE         KY    40422‐9280
MRS MARILYN J POORE                                 939 SANDRALEE DR                                                                                       TOLEDO           OH    43612‐3130
MRS MARILYN J WHITTAKER & JOHN H WHITTAKER JT       415 W 750 S                                                                                            OREM             UT    84058‐6143
TEN
MRS MARILYN K WOLLENWEBER                           807 EBERHARDT CT                                                                                       CLAYTON          CA    94517‐1632
MRS MARILYN L CLARK                                 250 SPRINGWOOD ROAD                                                                                    SAGAMORE HILLS   OH    44067‐1820
MRS MARILYN L SWANK & CLIFFORD D SWANK JT TEN       6132 N GALE RD                                                                                         DAVISON          MI    48423‐8902

MRS MARILYN LEE TILL                                8 ABINGTON AVE                                                                                         MARLTON          NJ    08053‐2902
MRS MARILYN LEIDNER                                 1091 MC LEAN AVE                                                                                       WANTAGH          NY    11793‐1718
MRS MARILYN M ADLOFF                                C/O MRS MARILYN M HALL                2130 BARBERRY                                                    SPRINGFIELD      IL    62704‐4117
MRS MARILYN M GOODWIN                               2345 WINDEMERE                                                                                         BIRMINGHAM       MI    48009‐5840
MRS MARILYN M HALL                                  1101 LAMP POST LANE                                                                                    GREENSBORO       NC    27410‐3229
MRS MARILYN P MC INTOSH                             1485 RIDGEMILL TERRACE                                                                                 DACQLA           GA    30019‐3210
MRS MARILYN PERELES                                 3455 PENNYROYAL RD                                                                                     PT CHARLOTTE     FL    33953‐4604
MRS MARILYN R COUPERTHWAITE                         20 HEATHER RD                         AGINCOURT ON                               M1S 2E1 CANADA
MRS MARILYN R PREKOPA                               10 GLASGOW WAY                                                                                         EASTON           PA    18045‐2185
MRS MARILYN R TAIBI                                 1849 LURTING AVE                                                                                       BRONX            NY    10461‐1408
MRS MARILYN S ELIAS CUST WILLIAM SHIBLEY ELIAS II   700 GREAT POND RD                                                                                      NORTH ANDOVER    MA    01845‐2023
UGMA MA
MRS MARILYN V UNBEHAUN                              C/O WILLIAM G HUTTO                   2341 DARTMOUTH DR                                                JANESVILLE       WI    53548‐2773
MRS MARILYN WARD DECKER                             158 EAST TROY AVENUE                                                                                   RATON            NM    87740‐2333
MRS MARILYN WIENER & MICHAEL WIENER JT TEN          964 E 28TH ST                                                                                          BROOKLYN         NY    11210‐3730

MRS MARILYN Y RIGGS                                 22 MILLAND DR                                                                                          NORTHPORT        NY    11768‐2835
MRS MARILYN Z KUSKIN                                106 BARRINGER CT                                                                                       WEST ORGANGE     NJ    07052‐3016
MRS MARILYNN FISHMAN                                4053 HARBOR VISTA DR                                                                                   ORCHARD LAKE     MI    48323‐1617
MRS MARINA PORCASI                                  149‐45 15TH ROAD                                                                                       WHITESTONE       NY    11357‐2535
MRS MARION A BELL CUST BRADFORD L BELL UGMA MI      6433 DALTON DR                                                                                         FLUSHING         MI    48433‐2332

MRS MARION A ROSE                                   1735 RTE 9 RD 2                                                                                        CASTLETON        NY    12033‐9629
MRS MARION BAKEWELL KERCKHOFF & RICHARD             625 ERICSON                                                                                            ST LOUIS         MO    63122‐4448
DANIEL KERCKHOFF JR JT TEN
MRS MARION E MORTON                                 1701 TRUMAN RD                                                                                         CHARLOTTE        NC    28205‐3742
MRS MARION F HOFKNECHT                              280 FAIRFIELD AVE                                                                                      CARLE PLACE      NY    11514‐1130
MRS MARION F LUSSIER                                6014 GALLEY COURT                                                                                      MADISON          WI    53705‐4429
MRS MARION H BOUDREAU                               552 FINUCANE ST                       OSHAWA ON                                  L1J 5L3 CANADA
MRS MARION HERTEL & MISS THERESA HERTEL JT TEN      10 BRANCH BROOK ROAD                                                                                   WHITE PLAINS     NY    10605‐4510

MRS MARION HULME                                    C/O JEAN AHEANE                       HIGHERCROFT          1 BISHOPSCOURT ROAD   WILTON CORK IRELAND
MRS MARION J BERMAN CUST KAREN LYNN BERMAN          10 W 86TH ST #4B                                                                                       NEW YORK         NY    10024‐3606
UGMA CT
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Name                                             Address1                               Address2             Address3          Address4          City            State Zip

MRS MARION MITCHELL & MISS JANET A MITCHELL JT   3277 SEA OATS CIR                                                                               MELBOURNE       FL    32951‐3019
TEN
MRS MARION MITCHELL & MISS MARY C MITCHELL JT    3277 SEA OATS CIR                                                                               MELBOURNE       FL    32951‐3019
TEN
MRS MARION PALAZZOLO & SALVATORE G PALAZZOLO     36725 UTICA RD                         APT 225                                                  CLINTON TWP     MI    48035‐1050
JT TEN
MRS MARION R MOTRY                               20201 ARTHUR ROAD                                                                               BIG RAPIDS      MI    49307‐9206
MRS MARION R WILSON                              108 CHICAGO BLVD                                                                                SEA GIRT        NJ    08750‐2111
MRS MARION S IMPASTATO                           685 LAKE SHORE ROAD                                                                             GROSSE POINTE   MI    48236‐1832
MRS MARION SCHATZKY                              63 LOCKROW RD                                                                                   TROY            NY    12180‐9649
MRS MARJORIE A BRITTNER                          229 N 18TH ST                                                                                   MONTEBELLO      CA    90640‐4020
MRS MARJORIE B GOLGER                            133 DILL RD                                                                                     FAIRFIELD       CT    06430‐4562
MRS MARJORIE C ELLIOTT                           4806 S FLORENCE AVE                                                                             TULSA           OK    74105‐5333
MRS MARJORIE C WHITNER                           111 WEST SHORE DRIVE                                                                            RICHARDSON      TX    75080‐4917
MRS MARJORIE CONGER HARKINS                      5523 CARNOUSTIE CT                                                                              DUBLIN          OH    43017‐8746
MRS MARJORIE E LAWHORN                           7058 W CARRIE DRIVE                                                                             NEW PALESTINE   IN    46163‐9574
MRS MARJORIE H HORVATH                           1507 PUMP RD                                                                                    RICHMOND        VA    23233‐4709
MRS MARJORIE HELEN THOMPSON                      394 SHELBOURNE TERRACE                                                                          RIDGEWOOD       NJ    07450‐1020
MRS MARJORIE I BISSINGER                         354 WALNUT ST                                                                                   NEW ORLEANS     LA    70118‐4937
MRS MARJORIE J BRINK CUST MARK E BRINK UGMA MI   1100 E THOMAS L PARKWAY                                                                         LANSING         MI    48917‐2143

MRS MARJORIE J FYFE                              11304 BRYDAN                           APT 132                                                  TAYLOR          MI    48180‐3992
MRS MARJORIE J HOLMBERG                          PO BOX 3616                                                                                     BALLWIN         MO    63022‐3616
MRS MARJORIE J ROBERTSON                         3460 CENTRAL AVE                                                                                ROSEVILLE       CA    95747‐9248
MRS MARJORIE L MASSEY                            1218 TERRY STREET                                                                               ANDERSON        IN    46013‐1342
MRS MARJORIE L WILLIAMS                          249 LARSON ROAD                                                                                 NORTH BRUNSWICK NJ    08902‐9637

MRS MARJORIE LAMPSON                                                                                                                             GRENOLA         KS    67346
MRS MARJORIE M JOHNSON                           6486 WINDSOR PRAIRIE RD                                                                         DE FOREST       WI    53532‐2458
MRS MARJORIE M SCHWAB                            1710 QUEENS ROAD W                                                                              CHARLOTTE       NC    28207‐2436
MRS MARJORIE MARIE JARVIS                        1207 LESLEY AVE                                                                                 INDIANAPOLIS    IN    46219‐3141
MRS MARJORIE NEUHAUS                             7 BRENTWOOD DR                                                                                  ENFIELD         CT    06082‐6227
MRS MARJORIE RICHARDSON GOODALL                  2504 MONUMENT AVE                                                                               RICHMOND        VA    23220‐2619
MRS MARJORIE S SEAMAN                            220 E CASTILLA AVE                                                                              LITTLETON       CO    80122‐1107
MRS MARJORIE W MILLSAP TR ALICE MILLSAP UA       3306 MULLEN AVE                                                                                 TAMPA           FL    33609‐4658
12/31/63
MRS MARJORIE W WILLIAMS                          160 MAPLE AVE                          BOX 477                                                  ALTAMONT        NY    12009‐0477
MRS MARJORIE WITKOP                              13225 POPLAR TREE RD                                                                            FAIRFAX         VA    22033‐3408
MRS MARJORY G KISS                               68 STANDISH RD                                                                                  BUFFALO         NY    14216‐2016
MRS MARLENE ARIAN                                30530 SUMMIT LANE                                                                               CLEVELAND       OH    44124‐5835
MRS MARLENE B BENCZE                             131 BARLOW PL                                                                                   FAIRFIELD       CT    06824‐5019
MRS MARLENE BOGATSCH                             1017 4TH ST                                                                                     NEW ORLEANS     LA    70130‐5521
MRS MARLENE BOHADIK                              45 GRAHABER ROAD                                                                                TOLLAND         CT    06084‐2007
MRS MARLENE COPPERSTONE                          144                                    3 TOWER RD           SLIEMA SLM08      MALTA
MRS MARLENE HOWE                                 11812 TWILLWOOD                                                                                 SAINT LOUIS     MO    63128‐1132
MRS MARLENE M GREGORY                            17150 RAVENS ROOST APT 4                                                                        FORT MYERS      FL    33908‐4476
MRS MARLENE M JERKATIS                           8437 TEEBROOK                                                                                   ORLAND PARK     IL    60462‐4029
MRS MARLENE S SCHAAF                             7785 REDBANK LANE                                                                               DAYTON          OH    45424‐2150
MRS MARLOWE SKARP                                710 WALNUT STREET #105                                                                          SPRINGFIELD     MN    56087‐1100
MRS MARNA B JOHNSON CUST CHRISTOPHER D           914 E GUMP RD                                                                                   FORT WAYNE      IN    46845‐9003
JOHNSON UGMA OH
MRS MARSHA JAJE                                  1137 BROOKSHIRE DRIVE                                                                           LAPEER          MI    48446‐1574
MRS MARSHA P NABORS                              PO BOX 1427                                                                                     GRENADA         MS    38901
MRS MARSHA SEIDEN CUST TONY SEIDEN UGMA NY       52 WEST 47TH ST                                                                                 NEW YORK        NY    10036‐8608

MRS MARSHA WOODS                                 1082 DAVIS ST                                                                                   BARRY           IL    62312‐1106
MRS MARTA L ZARINS                               2930 N CRAMER                                                                                   MILWAUKEE       WI    53211‐3240
MRS MARTHA A HANAUER                             PO BOX 373                                                                                      BELLEVIEW       FL    34421‐0373
MRS MARTHA A SCHAFER                             717 ROCK CREEK LANE                                                                             CLINTON         IA    52732‐5471
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MRS MARTHA ANN OBERLE                          8013 EXODUS DR                                                                                  LAYTONSVILLE     MD    20882‐1111
MRS MARTHA B GASCHO                            2520 GREENFIELD AVE                                                                             NOBLESVILLE      IN    46060‐4041
MRS MARTHA B H CURRIE                          #70‐4100 SALISH DR                     VANCOUVER BC                           V6N 3M2 CANADA
MRS MARTHA B MC KELVEY                         9615 MILLER ROAD                                                                                SHERWOOD         AR    72120‐2201
MRS MARTHA BAHLINGER HAASE                     1435 HEARTHSTONE DR                                                                             BATON ROUGE      LA    70808‐1162
MRS MARTHA BURNS ODRISCOLL                     INDIANA FOUNTAINSTOWN                  MYRTLESVILLE           CO CORK         IRELAND
MRS MARTHA C APFEL                             2387 NORMAN AVE                                                                                 DETROIT          MI    48209‐3403
MRS MARTHA C THILLARD                          C/O JACQUES                            10 KINGSLEY ROAD                                         HUNTINGTON       NY    11743‐6427
MRS MARTHA D WARD                              RURAL DELIVERY 1                                                                                VOLANT           PA    16156‐9801
MRS MARTHA E MALLETTE                          413 RENSSELAER AVE                                                                              OGDENSBURG       NY    13669‐1131
MRS MARTHA G MC INTYRE                         526 S GAY ST                                                                                    AUBURN           AL    36830‐5939
MRS MARTHA HAMM VAN WOERKON                    ATTN WILLIAM HAMM                      920 WALCOTT ST SW                                        WYOMING          MI    49509‐1951
MRS MARTHA J AIKENS                            1821 LEMAR AVE                                                                                  EVANSTON         IL    60201‐3330
MRS MARTHA J VEKAS                             1009 SHOVLER WAY                                                                                NORTH LIMA       OH    44452‐8569
MRS MARTHA JANE EHRLICH CUST KARIE EHRLICH     312 E 85TH ST APT 1A                                                                            NEW YORK         NY    10028‐4569
UGMA CT
MRS MARTHA JANE LUNDHOLM                       1826 SUFFOLK WAY                                                                                CARMICHAEL       CA    95608‐5739
MRS MARTHA JO NUTT                             PO BOX 543                                                                                      HAMPTON          AR    71744‐0543
MRS MARTHA K MC KNIGHT                         PO BOX 272                                                                                      PLEASANT HILL    TN    38578‐0272
MRS MARTHA KANTOR                              40 CORELL RD                                                                                    SCARSDALE        NY    10583‐7449
MRS MARTHA KLEREKOPER HARRIS                   8507 MONITOR DRIVE NE                                                                           ALBUQUERQUE      NM    87109‐5084
MRS MARTHA L HANFORD                           5 DECKER ST                                                                                     EAST NORWALK     CT    06855
MRS MARTHA L ZUCKER                            4013 CATHANN                                                                                    TORRANCE         CA    90503‐6911
MRS MARTHA LEE CHISOLM CUST CHARLES PARK       81 HOLLIS HT                                                                                    NEWNAN           GA    30263‐2749
CHISOLM UGMA TN
MRS MARTHA LOU H GASCOIGNE                     20 PINE TREE RD                                                                                 SALISBURY        NC    28144‐6912
MRS MARTHA LYNN REMINGTON SCHARNITZKY          141 KERSEY TERRACE                                                                              GOOSE CREEK      SC    29445‐5307
MRS MARTHA M ABPLANALP                         101 GAEWOOD AVE                                                                                 WHEELING         WV    26003‐5033
MRS MARTHA MIZE DEITZ                          139 WOODLAND DR                                                                                 SOMERSET         KY    42501‐1351
MRS MARTHA MORRILL MC DONOUGH                  1335 SW 90TH AVE                                                                                MIAMI            FL    33174‐3122
MRS MARTHA N RUSHLOW & MICHAEL J RUSHLOW JT    501 W 21ST STREET                                                                               WILMINGTON       DE    19802‐4023
TEN
MRS MARTHA N WILSON                            ATTN JULIE A ERNST                     1400 PROVIDENT TOWER   ONE E 4TH ST                      CINCINNATI       OH    45202‐3717
MRS MARTHA NELSON MANEY                        1 OAKLANE DRIVE                                                                                 OTTAWA           IL    61350‐1134
MRS MARTHA S GENDRON                           149 SEAVIEW AVE                                                                                 SWANSEA          MA    02777‐1117
MRS MARTHA S PFEIFFER                          6730 GOLF GREEN DR #29                                                                          CENTERVILLE      OH    45459
MRS MARTHA SCHEEREN                            165 KAYLA LN                                                                                    INDIANA          PA    15701‐2372
MRS MARTHA SHERMAN                             1840 OAK LANE                                                                                   READING          PA    19604‐1641
MRS MARTHA T STROUD                            5714 DIETRICH LOOP                                                                              LAKE CHARLES     LA    70605‐7198
MRS MARTHA T TORBERT                           56 CO RD 43 N                                                                                   OPELIKA          AL    36804‐1622
MRS MARTHA VAUGHAN BLAKENEY                    4731 CARBERRY CT                                                                                CHARLOTTE        NC    28226‐3270
MRS MARTHA W CLARK                             8712 N MAGNOLIA AVE                    SPC 181                                                  SANTEE           CA    92071‐4548
MRS MARTHA WAINWRIGHT SHAW                     1102 BOULEVARD ST                                                                               SHREVEPORT       LA    71104‐2031
MRS MARTHA WRIGHT TOD ANN E CREWS SUBJECT TO   7375 GOLF VILLA DRIVE                                                                           FORT MYERS       FL    33967
STA TOD RULES
MRS MARTHA Y NORTON                            5886 FUNK RD                                                                                    LENA             WI    54139‐9555
MRS MARTHA ZOELLER                             5803 BRITTANY VALLEY RD                                                                         LOUISVILLE       KY    40222‐5903
MRS MARTHAJEAN FEUQUAY                         311 BOWMAN                                                                                      EAST ALTON       IL    62024‐1429
MRS MARTINA G PARAUDA CUST ROBERT C PARAUDA    40 REVERE RD                                                                                    SCARSDALE        NY    10583‐6828
UGMA NY
MRS MARVEL M SHORT                             16301 REMINGTON DRIVE                                                                           FISHERS          IN    46037‐7457
MRS MARY A BERRY                               1316 BAY PLAZA                                                                                  WALL             NJ    07719‐4002
MRS MARY A BURRIDGE                            49 MAPLE ST                                                                                     SOUTH HAMILTON   MA    01982‐1822

MRS MARY A COTTER                              W6164 LONG CT                                                                                   APPLETON         WI    54914‐8594
MRS MARY A KARP                                3060 DIABLO SHADOWS                                                                             WALNUT CREEK     CA    94598‐3654
MRS MARY A KRAL                                606 W BRAND ST                                                                                  DURAND           MI    48429‐1119
MRS MARY A PARENTEAU                           806 E MEADOW DRIVE                                                                              BOUND BROOK      NJ    08805‐1444
MRS MARY A PETTY                               7114 MICHIGAN AVE                                                                               PITTSBURGH       PA    15218‐2028
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Name                                            Address1                                Address2             Address3          Address4          City             State Zip

MRS MARY A RENTZ                                705 HARRISON ST                                                                                  HOLLYWOOD        FL    33019‐1618
MRS MARY A TINDALL                              556 AUDUBON CT                                                                                   RADCLIFF         KY    40160‐2612
MRS MARY AGNES MERCER                           1512 HILDRETH AVE                                                                                WHEELING         WV    26003‐7126
MRS MARY ALDERMAN                               8711 PINE RUN                                                                                    SPANISH FORT     AL    36527
MRS MARY ALICE J MILLER                         24405 W DIEMER ST                                                                                ANTIOCH          IL    60002‐8701
MRS MARY ALICE LYONS                            362 MEADOWBRIAR ROAD                                                                             ROCHESTER        NY    14616‐1114
MRS MARY ANDRES                                 1283 FAIRWOOD DR                        APT I‐4                                                  WESTLAND         MI    48185
MRS MARY ANN B CLARK                            660 OHIO AVENUE                                                                                  HARRISONBURG     VA    22801‐1747
MRS MARY ANN BALLIN CUST GREGORY BALLIN UGMA    1245 NIGHTINGALE CT                                                                              LELAND           NC    28451
NY
MRS MARY ANN BENTLEY                            506 S CHURCH RD                                                                                  LAKESIDE         OH    43440‐9759
MRS MARY ANN BUXTON                             50 LEWIS LANE                                                                                    POINT PLEASANT   WV    25550‐9755
MRS MARY ANN CHEFFY                             825 BOND AVENUE                                                                                  BARNESVILLE      OH    43713‐1102
MRS MARY ANN COOLEY HUNT                        652 GLEN RIDGE DR                                                                                BRIDGEWATER      NJ    08807‐1626
MRS MARY ANN DEDOW                              651 MELWOOD DR NE                                                                                WARREN           OH    44483‐4437
MRS MARY ANN E HUGHES & JAMES H HUGHES JT TEN   7711 DUNHAM RD                                                                                   DOWNERS GROVE    IL    60516‐4705

MRS MARY ANN FORSHA                          1351 CUSTER ST                                                                                      CINCINNATI       OH    45208‐2556
MRS MARY ANN FRASER                          280 BOYLSTON ST                            APT 611                                                  CHESTNUT HILL    MA    02467‐1906
MRS MARY ANN HARRINGTON & JAMES F HARRINGTON 3151 OAKWOOD ROAD                                                                                   OXFORD           MI    48370‐1015
JT TEN
MRS MARY ANN HILDEN                          8285 COOLIDGE                                                                                       CENTER LINE      MI    48015‐1749
MRS MARY ANN L FARMER                        BOX 515                                                                                             MORGANTOWN       WV    26507‐0515
MRS MARY ANN LUTHER                          928 N HARVEY AVE                                                                                    OAK PARK         IL    60302‐1451
MRS MARY ANN MC CANDLESS TAPPARO             6 STRAWBERRY HILL LANE                                                                              DANVERS          MA    01923‐1133
MRS MARY ANN MC GONIGLE                      1584 WESLEY AVE                                                                                     NORTH MERRICK    NY    11566‐2453
MRS MARY ANN PARRETT                         45 ROE BLVD WEST                                                                                    PATCHOGUE        NY    11772‐2541
MRS MARY ANN PERRAUT                         3456 KENTUCKY HWY 356                                                                               CYNTHIANA        KY    41031‐5471
MRS MARY ANN PETERSON                        6832 LEMON RD                                                                                       MC LEAN          VA    22101‐5423
MRS MARY ANN S WILCHER                       RR2 BOX 192A                                                                                        LEWISBURG        WV    24901‐9322
MRS MARY ANN T GREGSON                       201 BOXWOOD ROAD                                                                                    WILMINGTON       DE    19804‐1824
MRS MARY ANN TERRANOVA                       29621 BRADNER DR                                                                                    WARREN           MI    48093‐3701
MRS MARY ANN VOGT & LAWRENCE R VOGT JT TEN   6425 RUTHERFORD PLACE                                                                               SUWANNE          GA    30024‐4214

MRS MARY ANN WOOLFE                             20319 CHATEAU BEND                                                                               KATY             TX    77450
MRS MARY ANNE UMSTED CAPONEGRO                  804 REISS ROAD                                                                                   O FALLON         IL    62269‐1224
MRS MARY B AITKEN CUST AMY JOAN AITKEN UGMA     47123 SOUTHAMPTON CT                                                                             STERLING         VA    20165‐7507
MD
MRS MARY B AITKEN CUST ANTHONY DAVID AITKEN     24744 HARBOUR VIEW DR                                                                            PONTE VEDRA      FL    32082‐1502
UGMA MD
MRS MARY B BRYAN                                PO BOX 1059                                                                                      FRUITLAND PK     FL    34731‐1059
MRS MARY B KINGCAID                             BOX 2977 LONGLICK PIKE                                                                           GEORGETOWN       KY    40324
MRS MARY B LUKOS & SYLVIA BEDNARZ JT TEN        1659 W 38TH PL                                                                                   CHICAGO          IL    60609‐2124
MRS MARY B MC ALPINE                            5366 WEBER ROAD                         PO BOX 253                                               HERMITAGE        TN    37076‐0253
MRS MARY B MITCHELL CUST THOMAS F FITZGERALD    ATTN MARY B WALTON                      6203 4TH AVE                                             SACRAMENTO       CA    95817‐2609
U/THE CALIF U‐G‐M‐A
MRS MARY BACHMANN                               467 HOLLAND HILL RD                                                                              PUTNEY           VT    05346
MRS MARY BARBARA KURTZ                          MT HOLLY RD                                                                                      WAYNESVILLE      OH    45068
MRS MARY BETH MUSCATELL CUST JOSEPH C           31085 RIVERS EDGE                                                                                BEVERLY HILLS    MI    48025‐3755
MUSCATELL UGMA MI
MRS MARY BETH SJOBERG                           3825 LINWOOD                                                                                     COLUMBIA         SC    29205‐1547
MRS MARY BOWER STONE                            1509 DOUGLAS DR                                                                                  BAINBRIDGE       GA    31717‐5295
MRS MARY BURKE BROWN                            5009 RANDALL LN                                                                                  BETHESDA         MD    20816‐1959
MRS MARY C BONAVITA                             1811 MAIN ST                                                                                     AGAWAM           MA    01001‐2516
MRS MARY C BUTTS                                BOX 446                                                                                          SOUTH HILL       VA    23970‐0446
MRS MARY C KERLEY                               610 WESLEY RD                                                                                    KNOXVILLE        TN    37909‐2657
MRS MARY C SARGENT                              3868 W FRANKLIN ST                                                                               BELLBROOK        OH    45305‐1884
MRS MARY C STEWART                              ATTN MARY C TOBIN                       1174 GUNTER CIRCLE                                       WEST COLUMBIA    SC    29169‐6200
MRS MARY CAROLYN JOHNSTON                       320 OAK BROOKE LN                                                                                GREENWOOD        IN    46142‐3065
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Name                                              Address1                              Address2                        Address3            Address4          City            State Zip

MRS MARY CATHRYN WALKER                           1606 HEERN DR                         APT 314                                                               JONESBORO       AR    72401‐5096
MRS MARY COWAN                                    19 STARGELL DRIVE                     WHITBY ON                                           L1N 7X4 CANADA
MRS MARY COYLE                                    4850 KAHALA AVE                                                                                             HONOLULU        HI    96816‐5240
MRS MARY D BRYANT                                 ATTN RAY S BRYANT                     5510 BONNIE BROOK RD                                                  CAMBRIDGE       MD    21613‐3436
MRS MARY D DAVEY                                  224 ATLANTIC AVE #1                                                                                         N HAMPTON       NH    03862‐2314
MRS MARY D DOWD                                   779 PROSPECT AVE A12                                                                                        WEST HARTFORD   CT    06105‐4202
MRS MARY D STANLEY                                8910 RIVER ROAD                                                                                             RICHMOND        VA    23229‐7718
MRS MARY D WILSEY                                 14 HIBISCUS DRIVE                                                                                           MARLTON         NJ    08053
MRS MARY DIANE NADOLNY                            68 RADCLIFF DR                                                                                              DOYLESTOWN      PA    18901‐2652
MRS MARY DIMANDO & PAMELA GERVICKAS &             11 MICHAEL TERRACE                                                                                          WATERBURY       CT    06710‐1121
BARBARA DIMANDO JT TEN
MRS MARY DUDLEY PORTERFIELD                       BOX 187                                                                                                     GLADE SPRING    VA    24340‐0187
MRS MARY E BELDYGA                                19954 GASPER                                                                                                CHESANING       MI    48616‐9760
MRS MARY E CARR                                   ATTN MARY E GREENLEAF                 420 GALWAY DR                                                         IOWA CITY       IA    52246‐2772
MRS MARY E CLEARY                                 326 MOUNTAIN WAY                                                                                            RUTHERFORD      NJ    07070‐2817
MRS MARY E CRUMP                                  PO BOX 313                            109 W MADISON                                                         PHILO           IL    61864‐0313
MRS MARY E DE WOLFF & THEODORE MURPHY DE          4267 HASLER ROAD                                                                                            DAVISON         MI    48423‐9115
WOLFF JT TEN
MRS MARY E GALLEGLY                               1292 PARKVIEW DR                                                                                            MORGANTOWN      WV    26505‐3244
MRS MARY E HARPER MORGAN                          1609 CALION RD                                                                                              EL DORADO       AR    71730‐3421
MRS MARY E NURSE WINTER                           150 ALEXANDRA STREET                  OSHAWA ON                                           L1G 2C4 CANADA
MRS MARY E PAPPAS                                 61 COLUMBUS AVE                                                                                             HAVERHILL       MA    01830‐2705
MRS MARY E RATLIFF                                C/O DOUGLAS RATLIFF                   RE THE ESTATE OF MARY RATLIFF   68 ROUND GLADE RD                     OAKLAND         MD    21550‐7973
MRS MARY E SHIELDS & WILLIAM T SHIELDS JT TEN     9 POND TERR                                                                                                 WOBURN          MA    01801‐5427

MRS MARY E WILLS                                  1537 C MORRIS CAIN PLACE                                                                                    ATLANTIC CITY   NJ    08401‐4445
MRS MARY ELIZABETH HESSION                        719 MAIDEN CHOICE LN                  APT BR509                                                             CATONSVILLE     MD    21228‐6149
MRS MARY ELIZABETH KEMMER                         11918 CENTRAL AVE                     APT 135                                                               CHINO           CA    91710‐1924
MRS MARY ELIZABETH MC KNIGHT                      740 WILLOW GLEN RD                                                                                          SANTA BARBARA   CA    93105‐2440
MRS MARY ELIZABETH MC PROPP                       102 CARTER OAK RIDGE                                                                                        ANDERSON        SC    29621‐3312
MRS MARY ELIZABETH MYERS                          PO BOX 21217                                                                                                LITTLE ROCK     AR    72221‐1217
MRS MARY ELIZABETH SIMON                          86 MORLOT AVE                                                                                               FAIR LAWN       NJ    07410‐1040
MRS MARY ELLEN BLUME                              4909 NW 62ND ST                                                                                             OKLAHOMA CITY   OK    73122‐7412
MRS MARY ELLEN F PANSING                          12110 UPPER LEWISBURG SALEM RD                                                                              BROOKVILLE      OH    45309‐9747
MRS MARY ELLEN JULIANO                            2 CHANDLER AVENUE                                                                                           BATAVIA         NY    14020‐1612
MRS MARY ELLEN LANGLEY                            7801 N 30TH ST                                                                                              RICHLAND        MI    49083‐9761
MRS MARY ELLEN MC HUGH CUST KEVIN M MC HUGH       1193 SCANDIA DR                                                                                             WEBSTER         NY    14580‐9534
UGMA NY
MRS MARY ELLEN MURRAY & JOHN CROWLEY JT TEN       442 BEACH 124TH ST                                                                                          BELLE HARBOR    NY    11694‐1844

MRS MARY ELLEN POYHONEN                           10 BERGER ROAD                                                                                              SAGINAW         MI    48602‐5266
MRS MARY ELLEN TATEM WILLIAMS                     637 E LYNN SHORES CIR                                                                                       VIRGINIA BEACH  VA    23452‐2607
MRS MARY ELLEN V K BATES                          22311 CLAYSPRINGS LANE                                                                                      KATY            TX    77450
MRS MARY EVANS COMSTOCK                           3400 RIDGEWOOD RD NW                                                                                        ATLANTA         GA    30327‐2418
MRS MARY EVELYN BOYER                             RFD 1                                                                                                       JACKSON CENTER  OH    45334‐9801
MRS MARY F DUNN CUST SHEILA H DUNN UGMA NY        ATTN SHEILAH DUNN LORSON              27 PROSPECT AVENUE                                                    PORT WASHINGTON NY    11050‐3112

MRS MARY F RIVIERE & ROBERT F RIVIERE JT TEN  54 OCEANSIDE DR                                                                                                 SCITUATE        MA    02066‐2946
MRS MARY F SEAMAN                             46 CHESHIRE SQ                                                                                                  LITTLE SILVER   NJ    07739‐1433
MRS MARY F WASHBURN                           102 ROYAL PARK DRIVE                      APT 1‐C                                                               FT LAUDERDALE   FL    33309‐6509
MRS MARY FAIN WOODLIEF MRS MARY FAIN WOODLIEF 191 MUSCADINE DR                          PO BOX 154                                                            SAUTEE          GA    30571‐0154

MRS MARY FRANCES RAND                          42 E 73RD ST                                                                                                   NY              NY    10021‐4100
MRS MARY G CHAPUS CUST ELIZABETH C CHAPUS UGMA 16 WARNKE LANE                                                                                                 SCARSDALE       NY    10583‐3114
NY
MRS MARY G EARLE                               67755 HWY 59                                                                                                   STOCKTON        AL    36579‐4460
MRS MARY G GRONBERG                            223 L CAMERON LAKE LOOP RD                                                                                     OKANOGAN        WA    98840
MRS MARY G LAWLER                              5407 HARWOOD ROAD                                                                                              BETHESDA        MD    20814‐1353
MRS MARY G TERRELL                             246 S GILPIN ST                                                                                                DENVER          CO    80209‐2613
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Name                                             Address1                              Address2             Address3          Address4          City               State Zip

MRS MARY GAYDOS                                  236 ROSENBERRY CT                                                                              MT PLEASANT        PA    15666‐2165
MRS MARY GETTINGS                                1030 BIRD BAY WAY                                                                              VENICE             FL    34292‐1129
MRS MARY GOGGIN                                  2408 UNIVERSITY DRIVE                                                                          NEWPORT BEACH      CA    92660‐3321
MRS MARY GOW                                     304 WATERBURY CRESCENT                PORT PERRY ON                          L9L 1S2 CANADA
MRS MARY GRAVES EDMUNDSON                        1107 LAKESIDE DR                                                                               WILSON             NC    27896‐2015
MRS MARY GRECH                                   ST PETER STREET 14 FLAT 2             KIRKOP                                 MALTA
MRS MARY GRELLA                                  PO BOX 176                                                                                     TERRYVILLE         CT    06786‐0176
MRS MARY H BRENT                                 1531 CYPRESS ST                                                                                PARIS              KY    40361‐1215
MRS MARY H MANNING                               361 DENNETT ST                                                                                 PORTSMOUTH         NH    03801‐3665
MRS MARY H MC CARTHY                             55 THACKERAY RD                                                                                WELLESLEY HILLS    MA    02481‐3408
MRS MARY H MC LEOD                               512 HAMPTON ST                                                                                 WALTERBORO         SC    29488‐4015
MRS MARY HABERKORN FAULKNER CUST JOHN W          3 GERARD CIR                                                                                   WILMINGTON         DE    19803‐3905
FAULKNER UGMA AZ
MRS MARY HAMILTON                                1316 N TAYLOR ST                                                                               ARLINGTON          VA    22201‐4816
MRS MARY HAY PETERSON CUST KIMBERLY LYNN         C/O KIMBERLY LYNN BONTING             8504 S V L                                               VICTORVILLE        CA    92392
PETERSON U/THE CAL U‐G‐M‐A
MRS MARY HELENA BOBBITT                          5944 BAYOU GLEN ROAD                                                                           HOUSTON            TX    77057‐1406
MRS MARY HESTER BAYER                            488 CREEKWOOD DR                                                                               PALATINE           IL    60074‐1028
MRS MARY HUGHES KENDRICK                         2405 FRANKLIN ST                                                                               COLUMBUS           IN    47201‐4162
MRS MARY I TYRAWSKI & JOHN M TYRAWSKI JT TEN     1011 FAIRVIEW AVE                                                                              WILMINGTON         DE    19809‐2513

MRS MARY ILVENTO                                 35 CEDAR ST                                                                                    JERSEY CITY        NJ    07305
MRS MARY J BABB                                  8301 HOLLYSPRINGS RD                                                                           RALEIGH            NC    27606‐8405
MRS MARY J BILCHAK                               124 N PRINCE ST                                                                                SHIPPENSBURG       PA    17257‐1318
MRS MARY J CHEYNE                                1003 CARLTON DRIVE                                                                             SAINT PAUL         MN    55126‐8127
MRS MARY J COLE                                  10 WILLOW PARK DR                     WHITBY ON                              L1N 3N3 CANADA
MRS MARY J CONFALONE                             169 WESTMINSTER DR                                                                             YONKERS            NY    10710‐4219
MRS MARY J DROZDOWSKI                            6639 NOB HL                                                                                    WASHINGTON         MI    48094‐2145
MRS MARY J FAIST                                 312 HICKORY LANE                                                                               SEAFORD            DE    19973‐2020
MRS MARY J FISHER                                7093 FALLS VIEW CIR                                                                            DELAWARE           OH    43015‐6024
MRS MARY J MICHELS                               335 HAMMOND DR NE                     APT 709                                                  SANDY SPRINGS      GA    30328‐5006
MRS MARY J PEDRUSCI                              56 SCHMIDT LN                                                                                  SAN RAFAEL         CA    94903‐2891
MRS MARY J PETTYJOHN                             1765 HIGH PEAK RD                                                                              MONROE             VA    24574‐2161
MRS MARY J RYAN                                  411 MEER AVE                                                                                   WYCKOFF            NJ    07481‐1804
MRS MARY J VAN KAMPEN                            55 FIDDLERS LANE                                                                               LATHAM             NY    12110‐5329
MRS MARY JAMES                                   133 SARATOGA ROAD                     BUILDING P APT 1                                         GLENVILLE          NY    12302
MRS MARY JANE ADAMS                              740 HARRISON STREET APT 11                                                                     PORT TOWNSEND      WA    98368
MRS MARY JANE BAUGH                              4332 ST MARTINS DR                                                                             FLINT              MI    48507‐3775
MRS MARY JANE BEAUMONT                           28230 W CHICAGO RD                                                                             LIVONIA            MI    48150‐3245
MRS MARY JANE BEZARK                             1384 LINDEN AVE                                                                                HIGHLAND PARK      IL    60035‐3453
MRS MARY JANE CASEY & MICHAEL P CASEY JT TEN     1931 EBBTIDE CT                                                                                FERNANDINA         FL    32034‐8309

MRS MARY JANE CLEARY                          44 RIVERBANK DR                                                                                   STAMFORD           CT    06903‐3532
MRS MARY JANE COMBRINCK‐GRAHAM                910 FOULKEWAYS                                                                                    GWYNEDD            PA    19436‐1027
MRS MARY JANE CROWLEY                         4481 MERLIN WAY                                                                                   SOQUEL             CA    95073‐2340
MRS MARY JANE ELFANT                          PO BOX 10                                                                                         ROCK HILL          NY    12775‐0010
MRS MARY JANE GEARNS                          24 1ST ST                                                                                         GARDEN CITY        NY    11530‐4301
MRS MARY JANE HENDERSON                       C/O SCOTT E HENDERSON                    154 VERNON DR                                            PITTSBURGH         PA    15228‐1166
MRS MARY JANE HICKAM                          2301 BUNDYVILLE RD                                                                                WALNUT HILL        IL    62893‐1205
MRS MARY JANE LIBRA NELSON CUST GREGORY LEWIS 808 LAKEWOOD DR                                                                                   COLONIAL HEIGHTS   VA    23834‐1221
NELSON UGMA CA
MRS MARY JANE LIBRA NELSON CUST MARGARET MARY 1529 DE ANZA BLVD                                                                                 SAN MATEO          CA    94403‐3940
NELSON UGMA CA
MRS MARY JANE MARSHALL WOOD                   3176 CORDOVA WAY                                                                                  LAFAYETTE          CA    94549‐5628
MRS MARY JANE MILLER                          2274 GOSHEN RD                                                                                    SALEM              OH    44460‐9685
MRS MARY JANE NOVACK JOSWICK & THOMAS A       9 MC ARTHUR LN                                                                                    ELKTON             MD    21921‐5169
JOSWICK JT TEN
MRS MARY JANE PETERSON                        629 CARPENTER AVE                                                                                 OAK PARK           IL    60304‐1104
MRS MARY JANE ROST                            550 TERRACE RD                                                                                    MC KEESPORT        PA    15135‐2034
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MRS MARY JANE SMITH                             1836 ELDON DR                                                                                      WICKLIFFE        OH    44092‐1535
MRS MARY JANE WOSKA                             1710 MANCHESTER WAY                                                                                CORINTH          TX    76210‐4156
MRS MARY JEAN CROSSLAND CUST PAUL WILLIAM       370 WOODSTOWN RD                                                                                   SALEM            NJ    08079‐2027
CROSSLAND UGMA NJ
MRS MARY JEAN HEAP                              10 GLENGROVE DR                                                                                    SIMPSONVILLE     SC    29681‐3667
MRS MARY JEAN LANE                              12213 5TH PL W                                                                                     EVERETT          WA    98204‐5645
MRS MARY JO HOLBROOK                            3628 BRUSH HILL ROAD                                                                               NASHVILLE        TN    37216‐2326
MRS MARY JO MEADE                               R#1 BOX 300                               2884 INDIAN HILL RD                                      HONOR            MI    49640‐9721
MRS MARY JOAN SPAUNBURG                         80 LOEFFLER RD                            G216                                                     BLOOMFIELD       CT    06002‐2274
MRS MARY K FIGLESTAHLER                         ATTN MARYCHARLES F LYONS                  108 OLYMPIC CLUB CT                                      BLUE BELL        PA    19422‐1282
MRS MARY K MORROW                               1953 MT ZION DRIVE                                                                                 GOLDEN           CO    80401‐1760
MRS MARY K MUSKOPF                              9185 FARGO ROAD                                                                                    STAFFORD         NY    14143‐9571
MRS MARY KALAL                                  7739 RHEA AVE                                                                                      RESEDA           CA    91335‐1823
MRS MARY KATHERYN MC LEOD                       317 HEIDEL RD                                                                                      THIENSVILLE      WI    53092‐1315
MRS MARY KATHERYN SWIFT & EDWARD L SWIFT JT TEN 5860 WILSON RD                                                                                     COLORADO SPGS    CO    80919‐3549

MRS MARY KENNETT                                   462 OUTLOOK AVE                                                                                 COLONIA          NJ    07067‐3507
MRS MARY KERBY                                     102 VIRGINIA DR                                                                                 CHAPEL HILL      NC    27514‐6635
MRS MARY KERRIGAN                                  23‐30 CRESCENT ST                                                                               ASTORIA          NY    11105‐3108
MRS MARY KIRBY SCANLON                             5015 EUCLID DR                                                                                  KENSINGTON       MD    20895‐1225
MRS MARY L ARROWOOD                                ATTN WILLIAM E ARROWOOD                7963 19E HIGHWAY                                         SPRUCE PINE      NC    28777
MRS MARY L BAILEY                                  423 CHURCH ST                                                                                   DOVER            TN    37058‐3010
MRS MARY L BEAULIEU                                100 RED CEDAR RD                       APT 219                                                  ORANGE           CT    06477‐3565
MRS MARY L FONK                                    NEWTONVILLE ON                                                                L0A 1J0 CANADA
MRS MARY L FRANKLIN & PHILIP J FRANKLIN JT TEN     3518 JAMES AVE N                                                                                MINNEAPOLIS      MN    55412‐2438

MRS MARY L PATTISON                                57 EICHELBERGER DR                                                                              CORAOPOLIS      PA     15108‐3454
MRS MARY L SLOWICK                                 28 KAHN ROAD                                                                                    NORTH FRANKLIN  CT     06254‐1604
MRS MARY L TULL HARRIS                             609 YEOMAN CT                                                                                   WEST CARROLLTON OH     45449‐2349

MRS MARY LEACH                                     1764 JENNINGS RD                                                                                FAIRFIELD        CT    06824
MRS MARY LEAH A ALLGOOD                            2400 WEST PINE CREST                                                                            MARSHALL         TX    75670‐6972
MRS MARY LEWIS                                     4628 ASBURY PLACE NW                                                                            WASHINGTON       DC    20016
MRS MARY LOU BEAN                                  PO BOX 158                                                                                      PAWLEYS ISLAND   SC    29585‐0158
MRS MARY LOU DOLLENMAYER                           7160 NODDING WAY                                                                                CINCINNATI       OH    45243‐2030
MRS MARY LOU L BROWNE                              604 W CRENSHAW LANE                                                                             GREEN VALLEY     AZ    85614‐5745
MRS MARY LOU M GRASON CUST KENNETH W GRASON        58 CHRISTYNE MARIE DR                                                                           ROCHESTER        NY    14626‐1735
UGMA NY
MRS MARY LOU M GRASON CUST VALERIE GRASON          58 CHRISTYNE MARIE DR                                                                           ROCHESTER        NY    14626‐1735
UGMA NY
MRS MARY LOU MADDEN                                904 CALHOUN STREET                                                                              JUNEAU           AK    99801‐1621
MRS MARY LOU PARIS                                 6012 HARVESTER COURT                                                                            BURKE            VA    22015‐3234
MRS MARY LOU ROBERTSON CARR                        3310 MONUMENT AVE                                                                               RICHMOND         VA    23221‐1315
MRS MARY LOU SULECKI                               51 BRANTWOOD RD                                                                                 BUFFALO          NY    14226‐4304
MRS MARY LOU VITA                                  688 LANDINGS WAY S                                                                              SAVANNAH         GA    31411‐2886
MRS MARY LOUISE DE LOUGHRY                         15 WHEELER PLACE                                                                                NORTHPORT        NY    11768‐3145
MRS MARY LOUISE EMBREY                             13811 SHANNON DRIVE                                                                             SILVER SPRING    MD    20904‐1155
MRS MARY LOUISE GARNER                             904 GLENVIEW DR                                                                                 CARBONDALE       IL    62901‐2439
MRS MARY LOUISE HAZLETON                           8235 TRILLIUM CT                       APT 15                                                   CHARLEVOIX       MI    49720‐9196
MRS MARY LOUISE HEMM & WALTER R HEMM JT TEN        852 TRIMMER RD                                                                                  SPENCERPORT      NY    14559‐9574

MRS MARY LOUISE MULLEN                             968 YARMOUTH RD                                                                                 BLOOMFIELD       MI    48301‐2335
                                                                                                                                                   VILLAGE
MRS MARY LUCILLE SCHABOW                           BOX 151                                                                                         GRESHAM          WI    54128‐0151
MRS MARY LUELLA STRATHDEE                          261 HIGHLAND AVE                       OSHAWA ON                              L1H 6A7 CANADA
MRS MARY LYNNE PRICE RICHARDSON                    438 ALABAMA                                                                                     CLARKSVILLE      TN    37042‐6341
MRS MARY M ALLEN                                   6 NORTHGATE DR                                                                                  BRADFORD         PA    16701‐1528
MRS MARY M CHREN                                   9 MIRA FLORES LN                                                                                BEL TIBURON      CA    94920
MRS MARY M DAVIS                                   909 WINTERWOOD DR                                                                               MATTHEWS         NC    28105‐3809
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MRS MARY M FULLER                              C/O SOWIENSKI                            1237 LANDOVER ROAD                                       BALTIMORE       MD    21237‐2921
MRS MARY M HRIVNAK                             33837 MAPLERIDGE BLVD                                                                             AVON            OH    44011‐2419
MRS MARY M JOSEPH                              PO BOX 1507                                                                                       GUALALA         CA    95445
MRS MARY M MC KENZIE                           9 BELLEWOOD DR                                                                                    HATTIESBURG     MS    39402‐2008
MRS MARY M MELTON                              1905 TIMBERLY RD W                                                                                MOBILE          AL    36609‐3556
MRS MARY M MILLS & EDWARD W MILLS JT TEN       2309 SHERMAN AVE                         KIAMENSI GDN'S                                           WILMINGTON      DE    19804‐3828
MRS MARY M SORIANO                             213 NEPTUNE DRIVE                                                                                 GROTON          CT    06340‐5416
MRS MARY M TWAMLEY                             30 GRANGEPARK CRESCENT RAHENY            DUBLIN                                 5 IRELAND
MRS MARY M WEHLING & MARTIN P WEHLING JT TEN   2201 COUNTY RD 156                                                                                GRANGER         TX    76530‐5005

MRS MARY MAGDALENE HERMANN                     4602 LANGSHIRE RD                                                                                 BALDWIN         MD    21013‐9753
MRS MARY MANTIONE & MISS ANNA FRAITES JT TEN   465 E LINCOLN AVE                                                                                 MT VERNON       NY    10552‐3555

MRS MARY MARGARET CALK                         1419 WYLIE ST                                                                                     CAMDEN          SC    29020‐3432
MRS MARY MARGARET CLARK                        10785 CLARK RD                                                                                    EAGLE           MI    48822‐9713
MRS MARY MARIAN HOFFMAN                        817 CAMPBELL DR                                                                                   BELPRE          OH    45714‐1219
MRS MARY MARSLAND                              25 RIVERVIEW BLVD                        ST CATHARINES ON                       L2T 3L5 CANADA
MRS MARY MARTHA RABE                           8 SAWGRASS CT                                                                                     GREENVILLE      SC    29609‐6943
MRS MARY MARTIN GANT                           5202 ALTA VISTA RD                                                                                BETHESDA        MD    20814‐5737
MRS MARY MASTERSON MC DONOUGH                  9 PURITAN RD                                                                                      BUZZARDS BAY    MA    02532‐2992
MRS MARY MAXYMILLIAN                           140 ANN DR                                                                                        PITTSFIELD      MA    01201‐8406
MRS MARY MC GRATH                              PO BOX 206                               BRIGHTS GROVE ON                       N0N 1C0 CANADA
MRS MARY MCGRATH CUST MISS MARY P MCGRATH      235 EAST 49TH ST APT 38                                                                           NEW YORK        NY    10017‐1537
UGMA NY
MRS MARY MERKEL & MISS MARILYN MERKEL JT TEN   200 MARKET ST                                                                                     TILTONSVILLE    OH    43963‐1066

MRS MARY MILTON CLOSE                          5904 DEVONSHIRE DR                                                                                BETHESDA        MD    20816‐3416
MRS MARY MOONEY BANKS                          439 MT ALTO RD                                                                                    ROME            GA    30165‐4313
MRS MARY MYFANWY ODONNELL                      3147 BEL AIR DRIVE                                                                                PITTSBURGH      PA    15227‐1001
MRS MARY NIKITAS                               150 BLACKTHORN LANE                                                                               LAKE FOREST     IL    60045‐2813
MRS MARY OBRYAN                                PO BOX 843                                                                                        UPLAND          CA    91785‐0843
MRS MARY OLSON NORMAN                          102 MITCHELL AVE                                                                                  CLEMSON         SC    29631‐1534
MRS MARY P BOURBEAU                            PO BOX 273                                                                                        BELMONT         NH    03220‐0273
MRS MARY P CHIARELLO                           355 DELAWARE AVE                                                                                  ALBANY          NY    12209‐1625
MRS MARY P GRIMES                              200 COUNTRY BROOK DR                     APT 1401                                                 KELLER          TX    76248‐2133
MRS MARY P SITE                                195 CLIPPER BAY DR                                                                                ALPHARETTA      GA    30005‐4220
MRS MARY P WILLIAMSON                          PO BOX 1781                                                                                       DECATUR         GA    30031‐1781
MRS MARY PATRICIA BURNARD                      1800 N MCCORD RD                         APT 151                                                  TOLEDO          OH    43615‐3077
MRS MARY PATRICIA GILLECE                      814 W 36TH ST                                                                                     BALTIMORE       MD    21211‐2537
MRS MARY PATRICIA KYLE                         1205 BUNTING AVE                         FENWICK IS                                               FENWICK ISLE    DE    19944
MRS MARY PHYLLIS STAHR                         3576 CHISWICK CRT APT 1C                                                                          SILVER SPRING   MD    20906‐1616
MRS MARY POL                                   7451 PACK RD                             LONDON ON                              N6P 1P5 CANADA
MRS MARY R BURROUGHS                           4520 LOCKINGTON DRIVE                                                                             CHATTANOOGA     TN    37416‐3106
MRS MARY R CATO                                1007 S RIDGEWOOD AVE                                                                              EDGEWATER       FL    32132‐2332
MRS MARY R FABIK                               2707 E MASON ROAD                                                                                 MILAN           OH    44846‐9581
MRS MARY R KINSMAN & BYRON B KINSMAN JT TEN    4342 CAPTAINS LANE                                                                                FLINT           MI    48507‐5603

MRS MARY R LOCKE                             300 KENNETH ST                                                                                      GREENWOOD       MS    38930‐3220
MRS MARY R PRESLEY                           601 WOODGATE AVE                                                                                    LONG BRANCH     NJ    07740‐5031
MRS MARY R SWANSON CUST BRIAN G SWANSON      7840 VINEYARD DR                                                                                    PASO ROBLES     CA    93446‐9687
UGMA MI
MRS MARY R SWANSON CUST GARY N SWANSON UGMA 3899 ASH DRIVEAITS BLVD                                                                              ALLISON PARK    PA    15101
MI
MRS MARY READER & MRS MARY E LEFEBVRE JT TEN 200 TANNERY RD                                                                                      WESTFIELD       MA    01085‐4824

MRS MARY ROSS & SPENCER ROSS JT TEN            42 TURKEY LN                                                                                      COLD SPG HBR    NY    11724‐1702
MRS MARY RUCKER                                C/O ROSEMARY A RUCKER                    4030 THOMASON                                            EL PASO         TX    79904‐5610
MRS MARY S CRENSHAW                            5100 MONUMENT AVE                                                                                 RICHMOND        VA    23230‐3622
MRS MARY S KRAUS                               416 WINDSOR DR                                                                                    YUBA CITY       CA    95991‐6253
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MRS MARY S MC LAUGHLIN CUST MARY FRANCES MC     C/O MARY F FINN                       801 PARK AVE                                                           MANHASSET          NY    11030‐2842
LAUGHLIN U/THENY U‐G‐M‐A
MRS MARY S OLEARY                               949 PALMER RD                                                                                                BRONXVILLE         NY    10708‐3540
MRS MARY S RALLIS                               31 PROSPECT ST                                                                                               AMESBURY           MA    01913‐1615
MRS MARY S SHREVE                               1109 SWISSVALE PLACE                                                                                         RICHMOND           VA    23229‐6016
MRS MARY SMITH BARTH                            126 CORNWALL DR                                                                                              PITTSBURGH         PA    15238‐2658
MRS MARY T HALKIAS                              1215 S ORANGE GROVE BLVDE #1                                                                                 PASADENA           CA    91105
MRS MARY T POST                                 737 MAPLE STREET                                                                                             BETHLEHEM          PA    18018‐4229
MRS MARY T TOBIN                                1121 BRENTWOOD DR                                                                                            COLUMBIA           SC    29206‐2803
MRS MARY TAYLOR RICHARDSON                      4318 NICKLAUS LN                                                                                             CORPUS CHRISTI     TX    78413‐2029
MRS MARY THERESA MIJARES                        6620 HAVENSIDE DRIVE                                                                                         SACRAMENTO         CA    95831‐2108
MRS MARY TRISCHELLA                             C/O ALBERT & KATHLEEN PITONIAK        930 BRYNHILL CT                                                        AIKEN              SC    29803‐3794
MRS MARY U JARVIS & GEORGE JARVIS JT TEN        GRAND COURT                           36550 GRAND RIVER AVE APT 206                                          FARMINGTN HLS      MI    48335
MRS MARY U JARVIS & MRS PAULA DOMAGALSKI JT TEN GRAND COURT APT # 206                 36550 GRAND RIVER AVE                                                  FARMINGTN HLS      MI    48335

MRS MARY V BUCKLEY                              15 BAYARD ST                                                                                                 LARCHMONT          NY    10538‐2723
MRS MARY V LECLAIR                              86 OLD CIDER MILL RD                                                                                         BRISTOL            CT    06010‐2350
MRS MARY V MOCHARY CUST ALEXANDRA V MOCHARY     26 PARK ST                            STE 2000                                                               MONTCLAIR          NJ    07042‐3443
UGMA NJ
MRS MARY V SIRIANNI                             11701 NW 13TH CT                                                                                             PEMBROKE PINES     FL    33026‐2560
MRS MARY VIRGINIA WOLFE HANDLEY                 70 W LUCERNE CIR                      APT 1715                                                               ORLANDO            FL    32801
MRS MARY W BELZ                                 6 VERA LANE                                                                                                  CONSHOHOCKEN       PA    19428‐2134
MRS MARY W HANSBERRY                            4426 GATEWAY DR                                                                                              MONROEVILLE        PA    15146‐1030
MRS MARY W HARRIS                               BRIGHTON GARDENS OF CHERRY HILL       STE #236                        1979 ROUTE 70 EAST                     CHERRY HILL        NJ    08003
MRS MARY WEBB ROWE                              1416 HENRI ST                                                                                                MT AIRY            NC    27030‐3010
MRS MARY ZAID STEES                             #1 PARK AIR DRIVE                     1788 NATIONAL ROAD                                                     WHEELING           WV    26003‐5519
MRS MARY ZELLARS                                10 FRANKLIN ST                                                                                               HACKETTSTOWN       NJ    07840‐1904
MRS MARYANN EMSIG CUST IRA MATTHEWS EMSIG       18 SEWARD DR                                                                                                 DIX HILLS          NY    11746‐7908
UGMA NY
MRS MARYANN NOLAN SMITH                         4509 KINGLET ST                                                                                              HOUSTON            TX    77035‐5033
MRS MARYLIN WHITE                               11380 COMPASS POINT DR                                                                                       FORT MYERS         FL    33908‐4959
MRS MARYMARGARET BRADFIELD                      BOX 129                               MANSFIELD ON                                         L0N 1M0 CANADA
MRS MARYROSE SWIFT                              530 VALLEY ROAD 6W                                                                                           UPPER MONTCLAIR NJ       07043‐2723

MRS MATILDA ANNE PAMEPINTO & JOSEPH A           25801 SHADY LN SW                     APT 103                                                                WESTERNPORT        MD    21562‐2020
PAMEPINTO JT TEN
MRS MATILDA FORMAN                              47 SWEET RD                                                                                                  BALLSTON LAKE      NY    12019‐1805
MRS MATILDA KOSTYN BOLASH                       572 HILLIARD ROAD                                                                                            ELYRIA             OH    44035‐3740
MRS MATILDA M FRANZ                             PO BOX 731                                                                                                   ANGEL'S CAMP       CA    95222‐0731
MRS MATILDA SHANAHAN                            1233 LANSING DRIVE                                                                                           SPRING HILL        FL    34608‐7403
MRS MATTIE C BYRD DAVIS                         2936 AL PHILPOTT HIGHWAY                                                                                     AXTON              VA    24054‐2671
MRS MATTYE M BODDIE CUST JAMES TIMOTHY BODDIE   3301 FORESTER WAY                                                                                            PLANO              TX    75075‐7927
III UGMA AZ
MRS MAUD A GALLAGHER                            35‐33 80TH STREET                                                                                            JACKSON HEIGHTS    NY    11372‐4907

MRS MAURA A LEVINE & DAVID M LEVINE JT TEN      1773 SCHOENITH LANE                                                                                          BLOOMFIELD HILLS   MI    48302‐2657

MRS MAURA CONROY & BRIAN M CONROY JT TEN        1355 CANTON AVENUE                                                                                           MILTON             MA    02186‐2419
MRS MAUREEN A KENT CUST WILLIAM H KENT JR UGMA 75 GROVE STREET UNIT 424                                                                                      WELLESLEY          MA    02482‐7830
MA
MRS MAUREEN A SUMERA                            1241 CATHEDRAL CIRCLE                                                                                        MADISON            AL    35758‐8912
MRS MAUREEN E KANIA                             1332 GREENLEAF RD                                                                                            WILM               DE    19805‐1348
MRS MAUREEN G BRADISH & GEORGE E BRADISH JT TEN 30 TAMARISK                                                                                                  MORAGA             CA    94556‐3009

MRS MAUREEN J KLAUSE CUST KAROL KLAUSE UGMA NJ 1120 ASBURY AVE                                                                                               OCEAN CITY         NJ    08226‐3332

MRS MAUREEN J KLAUSE CUST STACEY KLAUSE UGMA    1120 ASBURY AVE                                                                                              OCEAN CITY         NJ    08226‐3332
NJ
MRS MAUREEN M FAY                               9 ACACIA DR                                                                                                  BOYNTON BEACH      FL    33436‐5516
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Name                                             Address1                               Address2                         Address3     Address4          City            State Zip

MRS MAUREEN S RUSSO                              5727 82ND PL                                                                                           KENOSHA         WI    53142‐4725
MRS MAURINE M HUNNICUTT                          1192 CRESTWOOD DR                                                                                      POTTSTOWN       PA    19464‐2932
MRS MAVIS M HILL                                 525 CANTRELL PL SW                     CALGARY AB                                    T2W 2K4 CANADA
MRS MAXINE H FRIED                               170 BAYVIEW AVE                                                                                        GREAT NECK      NY    11023‐1905
MRS MAXINE H ODELL                               604 HALL ST                                                                                            CHARLESTON      WV    25302‐1908
MRS MAXINE MC CARTHY KING                        9137 EVEE                                                                                              CLARKSTON       MI    48348‐3007
MRS MAXINE S ALLEN                               950 WILLOW VALLEY LAKES DRIVE          APT J‐503                                                       WILLOW STREET   PA    17584‐9663
MRS MAXINE SILTON GOLDBERG                       22 W LEVERING MILL RD                                                                                  CYNWYD          PA    19004‐2605
MRS MAY L SANFORD                                35 EUSTIS AVE                                                                                          NEWPORT         RI    02840‐2305
MRS MAY SWAN                                     306 S 35TH AVE                                                                                         HATTIESBURG     MS    39402‐1709
MRS MAY W NEWBURGER                              16 OLD COLONY LANE                                                                                     GREAT NECK      NY    11023‐1624
MRS MAYA COHEN                                   181 E 65TH ST                                                                                          NEW YORK        NY    10021
MRS MAYBELLE G TUCK                              PO BOX 12286                                                                                           SILVER SPRING   MD    20908‐0286
MRS MAYBELLE V LEDUC                             ATTN: TRUST DEPT                       FIRST NATIONAL BANK & TRUST CO   PO BOX 818                     BELOIT          WI    53512‐0818
MRS MELA CHRISTINA JEAN RAFF RICHARDS &          3490 RIDGE LINE                                                                                        ANN ARBOR       MI    48105‐2546
THEODORE L RAFF JT TEN
MRS MELANIE S ALLEN                              3314 PATRICIA ELLEN DRIVE                                                                              MEMPHIS          TN   38133‐3821
MRS MELBA R EDEN                                 C/O GARY EDEN                          401 2ND ST                                                      CALAMUS          IA   52729‐9748
MRS MELINDA L CLARK                              3045 MORNINGTON DR NW                                                                                  ATLANTA          GA   30327‐1221
MRS MELISSA MARTIN                               1184 E PINON OAK DR                                                                                    PRESCOTT         AZ   86305
MRS MELVA C RADCLIFFE                            APT 102                                SPRING LAKE GARDENS                                             SPRING LAKE      NJ   07762
MRS MEREDITH ANN PRETORIUS                       4438 ST RT 416 SE                                                                                      NEW PHILADELPHIA OH   44663‐6852

MRS MERIAM B SCHATTON                           6 MAPLEWOOD LN                                                                                          NEW CITY        NY    10956‐3118
MRS MERILYN A KOZAR                             5966 BAY HILL CIR                                                                                       LAKE WORTH      FL    33463‐6569
MRS MERLE H BLOEDE CUST MISS SUSAN BLOEDE U/THE ATT S BLOEDE QUAID                      6017 MARTEL                                                     DALLAS          TX    75206‐5709
NEW YORK U‐G‐M‐A
MRS MERNA MILLER CUST LORI BETH MILLER UGMA NY 6 LAKE RD                                                                                                GREAT NECK      NY    11020‐1624

MRS MERRELL M WILLIAMS CUST MELISSA L WILLIAMS   C/O MELISSA EISWIRTH                   111 GLADIOLA COURT               O'FALLON                       O FALLON        MO    63368
UGMA TN
MRS MERRIE SHEIRICH                              9 WOODLAND RD                                                                                          WYOMISSING HILLS PA   19610‐1933

MRS MERRILL PLUMER TOLBERT                       107 HURON AVE                                                                                          LYNCHBURG       VA    24503‐4103
MRS MICHAELEEN TOTO & DAMIAN D TOTO JT TEN       2149 DARLINGTON DRIVE                                                                                  THE VILLAGES    FL    32162‐7724

MRS MICHAELINE DAWSON & MRS MARLENE J SMITH JT 17505 E JEFFERSON                                                                                        GROSSE POINTE   MI    48230‐1909
TEN
MRS MICHELE A SILVER CUST DANA LAUREEN SILVER  35 GAIL DR                                                                                               NEW CITY        NY    10956‐3656
UGMA NY
MRS MICHELE GARY CUST LISA BETH GARY UGMA NJ   499C DELAIR RD                                                                                           MONROE          NJ    08831‐4208
                                                                                                                                                        TOWNSHIP
MRS MICHELLE M RINALDI CUST NICOLE M RINALDI     120 ESTATE BLVD                                                                                        HAZLETON        PA    18201‐7557
UGMA PA
MRS MICKEY E MORRIS                              8272 OSPREY ROAD                                                                                       GROVE CITY      FL    34224‐8817
MRS MIDGE BRESLIN                                171 OWEN BLVD                          WILLOWDALE ON                                 M2P 1G8 CANADA
MRS MILDRED B DUCHACEK                           19 WILLOW OAK RD W                                                                                     HILTON HEAD     SC    29928‐4408
MRS MILDRED BELL                                 7490 HAMPTON DRIVE                     DAVDSON                                                         FILION          MI    48432
MRS MILDRED C SMITH & JAMES F CUNANE JT TEN      441 WALTHERS ROAD                                                                                      NEWARK          DE    19702‐2901

MRS MILDRED CAVETT TAFF                          5715 LAKE ISLAND DR NW                                                                                 ATLANTA         GA    30327‐4835
MRS MILDRED D CAMPBELL                           300 MAIN ST                            APT 405                                                         LITTLE FALLS    NJ    07424‐1359
MRS MILDRED FABRICANT                            17 JOHN JAY PL                                                                                         RYE             NY    10580‐2222
MRS MILDRED G SHAFFER                            101 CLEVELAND AVE NW                                                                                   CANTON          OH    44702‐1700
MRS MILDRED H CORBETT                            2826 HWY 569                                                                                           FERRIDAY        LA    71334‐4460
MRS MILDRED H JENNINGS                           25 LORRAINE TERRACE                                                                                    MOUNT VERNON    NY    10553‐1226
MRS MILDRED HORN                                 1 WASHINGTON SQUARE VILLAGE            APT 15J                                                         NEW YORK        NY    10012‐1610
MRS MILDRED I BEVERAGE                           847 CASCADE RD                                                                                         CINCINNATI      OH    45240‐3611
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MRS MILDRED JUNE HUNT CUST MISS JULIA HUNT       1450 W WILLOW                                                                                STOCKTON           CA    95203‐1536
U/THE CALIF U‐G‐M‐A
MRS MILDRED KAMHI                                110 HAMLET DR                                                                                MT SINAI           NY    11766‐3004
MRS MILDRED KLEIMAN                              95 WEST 95TH ST 9E                                                                           NEW YORK           NY    10025‐6772
MRS MILDRED KOLLICK & GEORGE KOLLICK JT TEN      4881 OCEAN COURT                                                                             STERLING HTS       MI    48310

MRS MILDRED M MINALGA                           500 5TH AVE                                                                                   BELLMAWR           NJ    08031
MRS MILDRED MARESH                              5386 S O M CENTER ROAD                                                                        SOLON              OH    44139
MRS MILDRED MURPHY & MRS PATRICIA M AYRES JT    171 MACGREGOR DR                                                                              STAMFORD           CT    06902‐1409
TEN
MRS MILDRED P SPENCER                           8701 IRONBRIDGE ROAD                 RT 15                                                    RICHMOND           VA    23237‐2222
MRS MILDRED R SNODGRASS                         163 RIVEREDGE DR                                                                              LEOLA              PA    17540‐9746
MRS MILDRED REDDIN BROWN                        293 OLIVE AVE                        OSHAWA ON                              L1H 2P5 CANADA
MRS MILDRED S BYRNE                             301 ELM DRIVE                                                                                 GANADO             TX    77962‐8446
MRS MILDRED S GEOGHEGAN                         15 WOOD LAKE DR                                                                               PISCATAWAY         NJ    08854‐5110
MRS MILLICENT M SANGER & KATHRYN LYNN SANGER FRENCH CREEK RANCH                      PO BOX 1203                                              SARATOGA           WY    82331‐1203
JT TEN
MRS MILLIE M DULAK                              4130 SOUTH ALAMEDA                                                                            CORPUS CHRISTI     TX    78411‐1529
MRS MIMI SMOLEV                                 5855 SW 97TH ST                                                                               MIAMI              FL    33156‐2059
MRS MINDA BETH GOROFF CUST JAYE HEATHER GOROFF 11 MELISSA COURT                                                                               DIX HILLS          NY    11746‐5920
UGMA NY
MRS MINNIE N LINK & JOHN MARGHERIO & TONY       PO BOX 568                                                                                    HANCOCK            MI    49930‐0568
MARGHERIO JT TEN
MRS MINNIE WIEDUWILT                            14 ROGERS RD                                                                                  GREERS FERRY       AR    72067‐9095
MRS MIRIAM C JONES CUST CHRISTOPHER W JONES     4502 ROLLAND DR                                                                               KOKOMO             IN    46902‐4782
UGMA IN
MRS MIRIAM CRAIG                                8414 MISSISSIPPI BLVD NW                                                                      MINNEAPOLIS        MN    55433‐5940
MRS MIRIAM J YOUNG                              1720 MUSCATINE AVE                                                                            IOWA CITY          IA    52240‐6432
MRS MIRIAM KALTER                               PO BOX 3395                                                                                   MARGATE            NJ    08402‐0395
MRS MIRIAM KASS CUST SHERRI KASS U/THE NEW YORK C/O SCHULMAN                         186 PEMBROKE STREET                                      BROOKLYN           NY    11235‐2313
U‐G‐M‐A
MRS MIRIAM S KOLKO                              1028 GARDEN ST                                                                                HOBOKEN            NJ    07030‐4303
MRS MIRIAM SHAPIRO                              45 VOORHIS AVE                                                                                ROCKVILLE CENTRE   NY    11570‐2743

MRS MIRIAM STROMAN BURELL                        454 ANTEBELLUM LANE                                                                          MT PLEASANT        SC    29464‐7852
MRS MISAE K DARLING                              250 W PARLIAMENT PLACE              APT 414                                                  MOUNT PROSPECT     IL    60056‐1063

MRS MITTIE CLARK KELLEHER                        2214 STATE ST                                                                                NEW ORLEANS        LA    70118‐6374
MRS MOIRA TERESA COAKLEY                         28 CYPRESS ST                       ST CATHERINES ON                       L2N 4L9 CANADA
MRS MOLLIE LUE TRAGGIS                           61 CLEVELAND WAY                                                                             BUZZARDS BAY       MA    02532‐4412
MRS MOLLIE S WEBB CUST LINDSEY C WEBB UGMA OH    C/O SAFFLE                          217 PLYMOUTH LANE                                        ASHLAND            OH    44805‐1426

MRS MOLLY BOTTOMY RUTISHAUSER                    3547 ROCKHAVEN CIR NE                                                                        ATLANTA            GA    30324‐2534
MRS MOLLY E SCHUBERT                             5000 MARINE DRIVE                                                                            CHICAGO            IL    60640‐3226
MRS MOLLY M SERGI                                71 PHILLIPS RD                                                                               HAINESPORT         NJ    08036
MRS MONA EDRICE CUMBY                            7914 GLEASON RD APT 1070                                                                     KNOXVILLE          TN    37919‐5477
MRS MONA HOUX                                    3837 MARYSCREEK DRIVE                                                                        FORT WORTH         TX    76116‐7517
MRS MONA MARILYN RUSSELL                         1460 CRESCENT WALK                                                                           DECATUR            GA    30033‐2401
MRS MONIQUE GERSHON                              25 RIDGE RD                                                                                  EAST CHATHAM       NY    12060‐2713
MRS MORJORIE K VELA CUST VIRGINIA VELA UGMA CT   2678 MELCOMBE CIR                   APT 305                                                  TROY               MI    48084‐3459

MRS MURDEEN BARLOW CUST DONALD OTTO BARLOW       PO BOX 888                                                                                   BELLAIRE           MI    49615‐0888
III UGMA MI
MRS MURIEL A GRIFFITH                            10070 WESTBROOK DR                                                                           KLAMATH FALLS      OR    97603‐9807
MRS MURIEL B CARTER                              74 DOW AVE                                                                                   LEWISTON           ME    04240‐3412
MRS MURIEL E HADDEN                              33 HOLT RD                                                                                   HYDE PARK          NY    12538‐1827
MRS MURIEL G DIENER                              16 RONALD LANE                                                                               SAYVILLE           NY    11782‐1622
MRS MURIEL HINES THOMPSON CUST HADLEY BARNES     2203 SULGRAVE DR                                                                             WILSON             NC    27896‐1351
THOMPSON UGMA NC
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MRS MURIEL M WITT                              220 WEBSTER ST                                                                                 NEENAH             WI    54956‐2933
MRS MURIEL OLSSON                              2616 ALABAMA AVE S                                                                             SAINT LOUIS PARK   MN    55416‐1761

MRS MURIEL R BARTHOLOMEW & MISS JOY ANN         2018 DAFFODIL ROAD                                                                            PORT REPUBLIC      MD    20676‐2645
BARTHOLOMEW JT TEN
MRS MURRAY V MARTIN                             5310 S R 579                                                                                  SEFFNER            FL    33584‐3335
MRS MYRA B LIPKIN                               20090 BOCA WEST DR                  APT 381                                                   BOCA RATON         FL    33434‐5236
MRS MYRA C DEMPSEY                              BOX 147                                                                                       GT BARRINGTON      MA    01230
MRS MYRA CHADWICK CUST DONNA CHADWICK UGMA APT 2J                                   711 MONTAUK COURT                                         BROOKLYN           NY    11235‐5146
NY
MRS MYRA F GRAYSON                              28 HEMLOCK DR                                                                                 GREAT NECK         NY    11024‐1234
MRS MYRA JEANNE BUCKLEW                         1114 SUNSET DR                                                                                FAIRMONT           WV    26554‐2437
MRS MYRL E LEPHART                              3931 ARCANUM BEARS MILL RD                                                                    ARCANUM            OH    45304‐9755
MRS MYRNA KALISH                                13571 MOROCCA LAKE LANE                                                                       DELRAY BEACH       FL    33446‐3787
MRS MYRTISS BEACHUM BOYLSTON                    301 HICKORY BEND RD                                                                           ENTERPRISE         AL    36330‐1005
MRS MYRTLE A MILLER                             BOX 343 ROUTE 1                                                                               BLUEFIELD          VA    24605‐9735
MRS MYRTLE ALENE BRADFORD CROUT                 1435 DUTCHES DR                                                                               BATON ROUGE        LA    70815‐2901
MRS MYRTLE E GIBB                               ATTN MRS ANNABELL THOMSON           R ROUTE #1             SAINT PAULS ON   N0K 1V0 CANADA
MRS MYRTLE LEACH & JOHN H LEACH JT TEN          609 E ORCHARD ST                                                                              ODESSA             MO    64076‐1233
MRS MYRTLE MASCHE                               ANN STREET N 6484                                                                             LAKE MILLS         WI    53551
MRS MYRTLE W WALLS                              24406 LIGHTWOOD DR                                                                            HUFFMAN            TX    77336‐2835
MRS N KAZANJIAN                                 27 LAUREL AVE                                                                                 NAUGATUCK          CT    06770‐4708
MRS NADINE D CHURCHILL TR PERRY LOREN CHURCHILL 6365 BURNETT CIRCLE                                                                           VENTURA            CA    93003‐2411
UA 9/22/69
MRS NADINE R THOMASSON                          1908 11TH AVE                                                                                 BELLE PLAINE       IA    52208‐1128
MRS NADINE S WINN                               160 SYCAMORE ROAD                                                                             PRINCETON          NJ    08540‐5325
MRS NAN CANDLER FREED                           143 BLACKWELL DR                                                                              DANVILLE           VA    24541‐3621
MRS NAN JOHNSON                                 ATTN MRS N MORTON                   918 ORCHID POINT WAY                                      VERA BEACH         FL    32963‐9517
MRS NAN LASSNER                                 328 KENSINGTON AVE                  WESTMOUNT QC                            H3Z 2H3 CANADA
MRS NANCE KARP                                  43 CYNTHIA RD                                                                                 NEWTON CENTRE      MA    02159‐2836
MRS NANCE W MALMROSE                            1054 VOLANTE DR                                                                               ARCADIA            CA    91007‐6050
MRS NANCY A BAMBER                              2434 LOXFORD LANE                                                                             ALPHARETTA         GA    30009
MRS NANCY A FALLS                               PO BOX 6437                                                                                   COLUMBIA           SC    29260‐6437
MRS NANCY A MURRAY                              352 RIDGE CIRCLE DR                                                                           GRAND JUNCTION     CO    81503‐4611

MRS NANCY ANN BARTON                           60 OLD MILL RD                                                                                 WALLKILL           NY    12589‐2806
MRS NANCY B EDWARDS                            2463 CONVENTRY RD                                                                              COLUMBUS           OH    43221‐3753
MRS NANCY B HAYES                              107 FAIRWAY LANE                                                                               YORKTOWN           VA    23693‐5630
MRS NANCY B JONES & T GILBERT JONES JT TEN     2176 CEDAR GROVE RD                                                                            FARNHAM            VA    22460‐2502
MRS NANCY BOYD BENZA                           408 FORDHAM ROAD                                                                               VESTAL             NY    13850‐2710
MRS NANCY BRAVERMAN                            3 VAUXHALL CT                                                                                  EDISON             NJ    08820‐1809
MRS NANCY BROUDY CUST PETER MARTIN BROUDY      58 WILLOW GLEN N E                                                                             ATLANTA            GA    30342‐2080
UGMA NC
MRS NANCY BROWN CUST MICHAEL ROGER BROWN       129 TRUMAN DR                                                                                  CRESSKILL          NJ    07626
UGMA NJ
MRS NANCY BROWN LOWE                           6471 OXBOW WAY                                                                                 INDIANAPOLIS       IN    46220‐7108
MRS NANCY C KNOBLOCH                           2 FOREST DALE DRIVE                                                                            MORRISTOWN         NJ    07960‐6788
MRS NANCY C WAYMAN                             138 GARNET PARK RD                                                                             MADISON            CT    06443‐2123
MRS NANCY CAMPBELL                             70 DEVON RD                          BAIE DURFE QC                           H9X 2W6 CANADA
MRS NANCY CARTWRIGHT                           317 MAPLEHURST                       OAKVILLE ON                             L6L 4Y3 CANADA
MRS NANCY COREY WALTERS                        PO BOX 10788                                                                                   BLACKSBURG         VA    24062‐0788
MRS NANCY D CHRISTY                            2407 NICHOLBY DR                                                                               WILMINGTON         DE    19808‐4236
MRS NANCY D DRAUGHN                            101 PITHON ST                                                                                  LAKE CHARLES       LA    70601‐5908
MRS NANCY D HARRIS                             7955 16TH MNR                        APT B109                                                  VERO BEACH         FL    32966‐1574
MRS NANCY D MALONE                             444 BYWOOD AVE                                                                                 SEBATIAN           FL    32958‐4955
MRS NANCY DIANA FORBES                         2980 ST PATRICKS DR                  WINDSOR ON                              N9E 3G7 CANADA
MRS NANCY E THRASHER                           3708 N MAPLE                                                                                   FRESNO             CA    93726‐6210
MRS NANCY G ABRAMS                             750 PARK AVE NE                      UNIT 15 NORTH                                             ATLANTA            GA    30326
MRS NANCY H CHAMBERLAIN                        11 HARVEST HILL RD                                                                             WEST SIMSBURY      CT    06092‐2223
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MRS NANCY H DEUTSCH                            415 SPRINGWOOD LANE                                                                             LOUISVILLE        KY    40207‐2148
MRS NANCY H JORDAN                             ATTN HANCY HAYES                       PO BOX 208                                               MILL RIVER        MA    01244‐0208
MRS NANCY H JUDKINS CUST LAURA B JUDKINS U/THE ATTN LAURA J HANSON                    815 8TH STREET                                           BOULDER           CO    80302‐7408
CONN U‐G‐M‐A
MRS NANCY HERZOG                               23 PORTLAND DR                                                                                  SAINT LOUIS       MO    63131‐3324
MRS NANCY HEYWOOD ALBERT                       602 MIRAMAR RD                                                                                  CLAREMONT         CA    91711‐2031
MRS NANCY HOLLAND GILSON                       475 S ALMONT DR                                                                                 BEVERLY HILLS     CA    90211‐3506
MRS NANCY HUNSBERGER                           1139 RIVER RD                                                                                   BOWDOINHAM        ME    04008‐5604
MRS NANCY I WIVIOTT                            1504 BEAVERCREEK LANE                                                                           KETTERING         OH    45429‐3706
MRS NANCY J BRADY                              C/O MRS NANCY J THORNDIKE              351 CROSSHILLS ROAD                                      HEATHSVILLE       VA    22473‐4602
MRS NANCY J HUMPHREYS CUST SARAH M HUMPHREYS 609 FIRST STREET                                                                                  ROCHESTER         MI    48307‐2609
UGMA MI
MRS NANCY JANE VERKLER                         1310 KNOLLWOOD CIR                                                                              LAKE FOREST       IL    60045‐1131
MRS NANCY JEAN SOSSIN                          8810 S HUDSON AVE                                                                               TULSA             OK    74137‐2943
MRS NANCY JO HACKETHORN                        596 HAWK DR                                                                                     POLSON            MT    59860
MRS NANCY K SCOGGINS                           1822 MONUMENT AVE                                                                               RICHMOND          VA    23220‐2802
MRS NANCY KELLEY                               96 COE HILL RD                                                                                  CENTER HARBOR     NH    03226‐3601
MRS NANCY KELLY SAVARD                         1855 OLD WILLOW RD                     #331                                                     NORTHFIELD        IL    60093‐2918
MRS NANCY KINNETT ONEILL CUST MISS ELIZABETH   825 BLUE JAY LN                                                                                 COPPELL           TX    75019‐5941
ONEILL UGMA TN
MRS NANCY L ALLEN                              PO BOX 1302                                                                                     ATTLEBORO FALLS   MA    02763‐0302
MRS NANCY L BOND                               4259 NIAGARA AVE                                                                                SAN DIEGO         CA    92107‐2909
MRS NANCY L ROBBINS                            7 GRANT ESTATE DR                                                                               WEST SIMSBURY     CT    06092‐2101
MRS NANCY L TEPPER                             3106 VALLEYBROOK                                                                                CHAMPAIGN         IL    61822‐6112
MRS NANCY LEE KRESKO                           6389 BECKY COVE                                                                                 MEMPHIS           TN    38119‐7602
MRS NANCY LEE OBERG HEUVELMAN                  4239 E 58TH ST                                                                                  DAVENPORT         IA    52807‐3922
MRS NANCY LENNON                               43‐A NARRAGANSETT AVE                                                                           OSSINING          NY    10562‐2847
MRS NANCY LOU FRANTZ CUST TONIA LYNN FRANTZ    ATTN TONIA L CARTER                    203 E MAIN ST                                            SHELBY            OH    44875‐1359
U/THE OHIO U‐G‐M‐A
MRS NANCY LOUISE MOHR                          176 PRIMROSE RD                                                                                 WILLISTON PARK    NY    11596‐2221
MRS NANCY LYNN TORSELL                         1977 HARVEST CIR                                                                                STATE COLLEGE     PA    16803‐3344
MRS NANCY M MALAY                              PO BOX 605                                                                                      PARKER            CO    80134‐0605
MRS NANCY M REICHENBACH                        785 CAMINO LA PASADO                                                                            CAMARILLO         CA    93010‐8357
MRS NANCY M WECKWERTH                          ROUTE 2 180 MARQUARDT LANE                                                                      KALISPELL         MT    59901‐7258
MRS NANCY MACKEY                               875 TWIN LAKES RD                                                                               SHOHOLA           PA    18458‐4311
MRS NANCY MC GOVERN FISHER                     2555 PGA BLVD                          LOT 128                                                  PALM BEACH        FL    33410‐2944
                                                                                                                                               GARDENS
MRS NANCY NEFF BURGESS                           119 ISLAND AVE                                                                                BUCKHANNON        WV    26201‐2823
MRS NANCY O JOHNSON                              1846 W VERNON AVE                                                                             LOS ANGELES       CA    90062‐1556
MRS NANCY OLMSTEAD SNYDERS                       2 FISHERS LANDING                                                                             NEWPORT NEWS      VA    23606‐1419
MRS NANCY P CARDY                                209 CROOKED COURT                                                                             JACKSONVILLE      FL    32259‐4498
MRS NANCY PLOTSKY LEVINTHAL                      11 WYNDEN OAKS CT                                                                             HOUSTON           TX    77056
MRS NANCY R LYSKO & CHRISTOPHER J LYSKO JT TEN   122 HECK AVE                                                                                  OCEAN GROVE       NJ    07756‐1241

MRS NANCY R MOSELEY                              120 LAGOON LAIR                                                                               AIKEN             SC    29803‐6918
MRS NANCY REDDY & JAMES F REDDY JT TEN           1311 GUARDIAN DRIVE                                                                           VENICE            FL    34292‐1626
MRS NANCY REESE SPEAKER                          4170 SARASOTA SPRINGS CT                                                                      FORT WORTH        TX    76123‐1465
MRS NANCY S FINCH                                965 COLONIAL CT                                                                               LAKE ZURICH       IL    60047‐3106
MRS NANCY S GELVIN                               106 LEISURE LN                                                                                NORWALK           OH    44857
MRS NANCY S GOODNOW                              6 STARBOARD RUN                                                                               S YARMOUTH        MA    02664‐2132
MRS NANCY S HEARON                               105 LINDSAY ST                                                                                CARRBORO          NC    27510‐1739
MRS NANCY S LINDSEY                              4035 BROOKFIELD CT                                                                            JACKSONVILLE      FL    32257‐6056
MRS NANCY S STOGOWSKI                            124 E OLD WHALING LN                                                                          BEACH HAVEN       NJ    08008‐2931
MRS NANCY SMEETH ROZSA                           4082 PANN RD                                                                                  SOUTH BELOIT      IL    61080‐9519
MRS NANCY SUE MACKEY CUST HEATHER SUE MACKEY     875 TWIN LAKES RD                                                                             SHOHOLA           PA    18458‐4311
UGMA NY
MRS NANCY SUE MACKEY CUST MELISSA KATHERINE      875 TWIN LAKES RD                                                                             SHOHOLA           PA    18458‐4311
MACKEY UGMA NY
MRS NANCY W FOWLER                               230 E PONCE DE LEON AVE              UNIT 402                                                 DECATUR           GA    30030‐3461
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MRS NANNETTE BALSAM RANNEY                     C/O EDWARD CURRIE                      1536 BEACH DRIVE                                         GULFPORT         MS      39507‐1443
MRS NAOMI A BYRD                               3755 PEACHTREE RD NE #613                                                                       ATLANTA          GA      30319‐1323
MRS NAOMI C PETROSSI                           4433 DANNEEL ST                                                                                 NEW ORLEANS      LA      70115‐5501
MRS NAOMI HALLEM                               7279 NIGHTINGALE                                                                                DEARBORN HEIGHTS MI      48127‐1718

MRS NATALIE CARRON                              2350 OCEAN AVENUE                     APT# 4J                                                  BROOKLYN           NY    11229‐3045
MRS NATALIE K BUTT                              700 BALD EAGLE DR                                                                              NAPLES             FL    34105‐7409
MRS NATALIE K ROGERS                            2145 MCQUILLAN CT SE                                                                           ROCHESTER          MN    55904‐5248
MRS NATALIE MATTHIESEN                          13003 BEARDSLEY RD                                                                             SUN CITY WEST      AZ    85375‐3253
MRS NECHAMA C LIBERMAN                          C/O M & J WILKOW                      180 N MICHIGAN AVE                                       CHICAGO            IL    60601‐7401
MRS NEELEY A PROCTOR                            BOX 322                                                                                        SULLIVAN ISLAND    SC    29482‐0322
MRS NELDA O NOCITIA                             1490 VIA MARETTIMO                                                                             MONTEREY           CA    93940‐6426
MRS NELL CRAIG LOVE                             5049 GREENWAY RD                                                                               MEMPHIS            TN    38117
MRS NELL TALBOT CUST ROBERT ALLEN TALBOT UGMA C/O JOE AUST                            RT 1 BOX 127                                             SCOOBA             MS    39358‐9716
MS
MRS NELLE M BURNS                               359A OLD CEDARTOWN RD                                                                          ROCKMART           GA    30153‐2181
MRS NELLIE BOYLES                               405 E MERRITT                                                                                  MARSHALL           TX    75670‐5312
MRS NELLIE C ROMHANYI                           62 CENTRAL AVE                        ELLIOTLAKE ON                          P5A 2G1 CANADA
MRS NELLIE DUENSING                             3001 E GRIFFITHS AVE                                                                           SPRINGFIELD        IL    62702‐2126
MRS NELLIE M UCHNIAT & MISS CHRISTINE V UCHNIAT 4878 PORATH                                                                                    DEARBORN           MI    48126‐3717
JT TEN
MRS NELLIE MISCH                                465 21ST ST                                                                                    NIAGARA FALLS      NY    14303‐1725
MRS NEVA MONTAGU STROM                          50 N HILLSIDE PLACE                                                                            RIDGEWOOD          NJ    07450‐3003
MRS NICHOLINA SCHEMBRI                          36 OLD DONI ST                        RABAT                                  MALTA
MRS NIKKI L GOLDSMITH                           ATTN NICOLE BERMAN GOLDSMITH          8003 HOOVER LANE                                         INDIANAPOLIS       IN    46260‐4922
MRS NILSA KUCHERA                               5125 PEBBLEVALLEY DR                                                                           CINCINNATI         OH    45252‐2115
MRS NINA KELLY DOYLE                            2428 POST OAK RD                                                                               SALEM              VA    24153‐7487
MRS NINA LEE MC MILLAN                          230 KENBERRY                                                                                   EAST LANSING       MI    48823‐4621
MRS NINA LEVENTHAL CUST MICHAEL WYATT           7 STONEHENGE RD                                                                                GREAT NECK         NY    11023‐1007
LEVENTHAL UGMA NY
MRS NINA R PATTEK                               24 CEDAR LN                                                                                    BOW                NH    03304‐4408
MRS NITA A HOLT CUST CHRISTOPHER J HOLT UGMA MA 76 W MAIN ST                                                                                   WESTBORO           MA    01581‐2535

MRS NITA A HOLT CUST PETER A HOLT UGMA MA      76 W MAIN ST                                                                                    WESTBORO           MA    01581‐2535
MRS NOLA M MATTOX CUST RICHARD MATTOX UGMA     9901 N JORDAN ST                                                                                ROSEDALE           IN    47874‐9341
IN
MRS NORA BENNETT                               5 DALE CREST MANOR                                                                              SWANSEA            IL    62226‐6484
MRS NORA ELLEN KIMMEL                          3015 MEADOWLAND DR                                                                              OWENSBORO          KY    42303‐6436
MRS NORA GALLAGHER                             106‐20 SHORE FRONT PRWY                APT 3‐0                                                  ROCKAWAY PARK      NY    11694‐2639
MRS NORA SPRINGMAN                             C/O CAROL WOOLLEY                      1545 SO 19TH E                                           SALT LAKE CITY     UT    84108‐2653
MRS NORA TZU‐LING CHEN                         1958 VALLEJO ST                                                                                 SAN FRANCISCO      CA    94123‐4918
MRS NOREEN C MURRAY & DONALD C MURRAY JT TEN   19 BAPTIST ST                          PO BOX 24                                                GRANITEVILLE       VT    05654‐0024

MRS NOREEN E PIEPER                            119 1/2 E BROADWAY                                                                              ISANTI             MN    55040‐7303
MRS NORMA A LEMILY                             3 BOAT LANE                                                                                     LEVITTOWN          NY    11756‐3601
MRS NORMA CATTAN                               21 BENSON AVENUE                                                                                WESTWOOD           NJ    07675‐1803
MRS NORMA CRANDALL                             190 LINCOLN ST                                                                                  SALAMANCA          NY    14779‐1242
MRS NORMA D JACOBS                             1945 E 136TH ST                                                                                 CARMEL             IN    46032‐1877
MRS NORMA E HAMBROCK                           1856 QUAKER WAY                                                                                 UNION              NJ    07083‐3726
MRS NORMA E WHALLEY                            107 LAKEVIEW AVE                                                                                BELLINGHAM         MA    02019‐1829
MRS NORMA F TARNOFF CUST BRIAN ROSS TARNOFF    27 REYNOLDSDALE                        ASHURST SOUTHAMPTON                    GREAT BRITAIN
U/THE PA U‐G‐M‐A
MRS NORMA GOLD                                 #1 BROOKLYN RD                                                                                  HEMPSTEAD          NY    11550‐6619
MRS NORMA J ABBOTT                             1068 GARY LANE                                                                                  NEW CARLISLE       OH    45344‐1633
MRS NORMA J ABRAHAM & CYRUS ABRAHAM JT TEN     2358 MELODY LANE                                                                                BURTON             MI    48509‐1158

MRS NORMA J PONTIUS                            2564 LAMPLIGHTER LANE                                                                           BLOOMFIELD HILLS   MI    48304‐1933
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MRS NORMA J WALSH CUST PATRICIA LYNN WALSH     4837 GLENHAVEN DR                                                                                OCEANSIDE      CA    92056‐6644
UGMA CA
MRS NORMA J WRIGHT MRS NANCY A WILKINS & MRS 28311 EMERY                                                                                        ROSEVILLE      MI    48066‐4731
LINDA L POPOVICH JT TEN
MRS NORMA JEAN CRAKER                          1574 KELLYS CREEK RD                                                                             RABUN GAP      GA    30568‐2112
MRS NORMA JEAN V BAHLINGER TUTRIX FOR GRETCHEN 11003 CRANBROOK RD                                                                               HOUSTON        TX    77042‐1327
D BAHLINGER
MRS NORMA L JOHNSTON                           27 WADE AVE                                                                                      BUFFALO        NY    14214‐2127
MRS NORMA LOVE WILEY                           820 W MAIN ST                                                                                    CALDWELL       OH    43724‐1018
MRS NORMA M GODZINSKI & RONALD P GODZINSKI JT 4955 DIXIE HWY NE                        UNIT 705                                                 PALM BAY       FL    32905‐6057
TEN
MRS NORMA N RANDALL                            9858 VAN DYKE                                                                                    DALLAS         TX    75218‐2154
MRS NORMA O CUNNINGHAM                         601 BRUSH CREEK BLVD                                                                             KANSAS CITY    MO    64110‐1510
MRS NORMA ROHER                                RD 2 ORAN‐DELPHI RD                                                                              MANLIUS        NY    13104‐9802
MRS NORMA S BURTON                             431 CANYON TRL                                                                                   CHARLOTTE      NC    28270‐5315
MRS NORMA THORNBERG                            7337 MADORA AVE                                                                                  CANOGA PARK    CA    91306‐3028
MRS NORREEN BELLE DAVIES                       530 YALE PL                             APT 514                                                  OWENSBORO      KY    42301‐6173
MRS NOVELLA A VAN ACKEREN & JAMES F VAN        1848 SW RUZICKA DRIVE                                                                            CHEHALIS       WA    98532‐4020
ACKEREN JT TEN
MRS NYRA WILLIAMS CUST WILLIAM W WILLIAMS      546 HOOULU ST                                                                                    KAILUA         HI    96734‐2238
UGMA HI
MRS OCIE MAY SHUCK                             RT 1 BOX 44                                                                                      DANESE         WV    25831
MRS ODILE ST MARTIN GROSZ                      224 W MAPLE RIDGE                                                                                METAIRIE       LA    70001‐6114
MRS OLE CLOSS                                  SARLISVINGEN 23                         1473 LARENSKAG                         NORWAY
MRS OLGA DI MICHELE                            1406 CIRCLE                                                                                      PEEKSKILL      NY    10566‐4854
MRS OLGA OSTENDORF                             9 LAKE POINT DR                                                                                  NEW MILFORD    CT    06776
MRS OLGA R ZIBELLI                             167 E DEVONIA AVE                                                                                MOUNT VERNON   NY    10552‐1120
MRS OLGA STROUD                                119 PENNOCK ST                                                                                   SOLVAY         NY    13209‐2340
MRS OLGA T BOYUKA CUST JOSEPH GREGORY BOYUKA 12 WAYNE AVE                                                                                       TAMAQUAOAH     PA    18252‐4212
UGMA PA
MRS OLIVE J RULL                               1000 SOUTHERN ARTERY APT 778            S BLDG                                                   QUINCY         MA    02169‐8522
MRS OLIVE JANE STILLER                         2148 MAGNOLIA GROVE WAY                                                                          MIDLOTHIAN     VA    23113‐4903
MRS OLIVE JONES HARKESS                        C/O TERRY HITCHINS                      12853 PALM DRIVE                                         LARGO          FL    33774‐3137
MRS OLIVE THOMAS MC DARIS                      43914 N 27TH ST W                                                                                LANCASTER      CA    93536‐5852
MRS OLIVE VAUGHAN & HOWARD M VAUGHAN JT TEN 2342 HOLLY ST                                                                                       KANSAS CITY    MO    64108‐2251

MRS OPAL S CAMPBELL                            309 NORTH 37TH ST                                                                                CORSICANA      TX    75110‐3959
MRS ORA P MERCER                               1603 S SEMINOLE                                                                                  CHATTANOOGA    TN    37412‐1143
MRS ORA P MERCER CUST DELMAR E MERCER III UGMA 1603 S SEMINOLE                                                                                  CHATTANOOGA    TN    37412‐1143
TN
MRS ORA P MERCER CUST TREVOR D MERCER UGMA TN 1603 S SEMINOLE                                                                                   CHATTANOOGA    TN    37412‐1143

MRS ORCADA S FICKER                             1838 FRANKLIN AVE S E                                                                           MINNEAPOLIS    MN    55414‐3671
MRS ORPHA ROGERS BASS                           382 E WESLEY RD NE                                                                              ATLANTA        GA    30305‐3824
MRS OSNA HALLER CUST EVAN Z HALLER UGMA NJ      265 CEDAR LN FL 1                                                                               TEANECK        NJ    07666

MRS OTILIA P THOMAS                             2625 HIBISCUS ST                                                                                SARASOTA       FL    34239‐4708
MRS OTTIE LEE FRASER                            4604 SHIRLEY PL                                                                                 ST LOUIS       MO    63115‐2544
MRS OWEETAH BLACKBURN & TERRI D BLACKBURN JT    935 CRYSTAL LAKE CT                                                                             GREENWOOD      IN    46143‐3010
TEN
MRS OWEETAH BLACKBURN & TY C BLACKBURN JT TEN   935 CRYSTAL LAKE CT                                                                             GREENWOOD      IN    46143‐3010

MRS PAGE S FRISCHKORN                           185 HIGHLAND LN                                                                                 LOTTSBURG      VA    22511‐2115
MRS PAMELA A COVINGTON                          1929 GREYSTONE ROAD N W                                                                         ATLANTA        GA    30318‐2622
MRS PAMELA B CROFT                              917 HUNTINGTON DR                                                                               HARTSVILLE     SC    29550‐4623
MRS PAMELA F BRENNAN                            2950 DEAN PARKWAY                      UNIT 1801                                                MINNEAPOLIS    MN    55416
MRS PAMELA F HORRELL                            BOX 117                                                                                         GOTHA          FL    34734‐0117
MRS PAMELA GALE CUNNINGHAM                      11 JERE RD                                                                                      READING        MA    01867‐3344
MRS PAMELA GARDY CAGAN                          19701 VALDEZ DRIVE                                                                              TARZANA        CA    91356‐4913
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MRS PAMELA GLOVER MC CALL                        610 BYRD BLVD                                                                                     GREENVILLE       SC    29605‐1202
MRS PAMELA H AREY CUST MOLLY O AREY UGMA VA      249 WILTSHIRE LANE                                                                                SEVERNA PARK     MD    21146‐4038

MRS PAMELA J KNISPEL                             163 W ORCHARD ST                                                                                  ALLENDALE        NJ    07401‐1713
MRS PAMELA J STAR                                921 FOX GLEN DR                                                                                   ST CHARLES       IL    60174‐8808
MRS PAMELA JEAN HURLIMAN                         3545 NORTHWOOD WAY                                                                                TILLAMOOK        OR    97141‐9756
MRS PAMELA JEAN RUEHLE                           4410 ATKINS RD                                                                                    PORT HURON       MI    48060‐1608
MRS PAMELA P BECK CUST MICHELE A BECK UGMA OH    20707 FORESTWOOD DR                                                                               STRONGSVILLE     OH    44136‐5855

MRS PAMELA PORTER                                 635 E PARK BLVD                                                                                  VILLA PARK       IL    60181‐2727
MRS PAMELA SANTARPIA                              21 EDGEWATER ROAD                                                                                CLIFFSIDE PARK   NJ    07010‐2804
MRS PAMELA SIMON                                  1171 N COYOTTE LANE                                                                              ORANGE           CA    92869‐1702
MRS PAT HENRY CUST LUKE A HENRY UNDER IL          204 SMALL POND DR                                                                                CLEVELAND        GA    30528‐3113
TRANSFERS TO MIN ACT
MRS PATRICIA A BYRD                               13543 SPRUCEWOOD DR                                                                              DALLAS           TX    75240‐3630
MRS PATRICIA A CHURCH                             ATTN MRS PATRICIA A KOTHE            837 KOCHER ST                  PO BOX 3                     ROCKTON          IL    61072‐0003
MRS PATRICIA A FLAHERTY                           415 MAPLE ST                                                                                     SPRINGFIELD      MA    01105‐1923
MRS PATRICIA A HELMSTADTER                        1610 OAKMONT CIRCLE                                                                              NICEVILLE        FL    32578‐4344
MRS PATRICIA A RELISH                             5817 PRINCESS CAROLINA PLACE                                                                     LEESBURG         FL    34748‐7981
MRS PATRICIA A ROBUCK                             14700 MARSH LANE APT 1123                                                                        ADDISON          TX    75001
MRS PATRICIA A SHERMAN                            5216 DUNDEE RD                                                                                   EDINA            MN    55436‐2047
MRS PATRICIA A STUCKER                            1017 KENDALL RD                                                                                  WILM             DE    19805‐1150
MRS PATRICIA ANN CAVANAGH & JOHN JOSEPH           120 S CENTRAL AVE STE 420                                                                        ST LOUIS         MO    63105‐1705
CAVANAGH JR JT TEN
MRS PATRICIA ANN FREEMAN CUST MISS DEBORAH ANN 36271 SUFFOLK                                                                                       MT CLEMENS       MI    48035‐1644
WHATLEY UGMA MI
MRS PATRICIA ANN FREEMAN CUST MISS TAMMIE LYNN 36271 SUFFOLK                                                                                       MT CLEMENS       MI    48035‐1644
WHATLEY UGMA MI
MRS PATRICIA ANN FREEMAN CUST SAMUEL T WHATLEY 4775 INDIANWOOD                                                                                     CLARKSTON        MI    48348‐2243
UGMA MI
MRS PATRICIA ANN GRIFFITH                         6852 MARIETTA                                                                                    GARDEN GROVE     CA    92845‐2923
MRS PATRICIA ANN PODHAJSKY                        3817 CEDAR DR NE                                                                                 NORTH LIBERTY    IA    52317‐9213
MRS PATRICIA ANN RAMSAY & DEBRA JOY RAMSAY JT     5809 MCKINLEY ST                                                                                 HOLLYWOOD        FL    33021‐4556
TEN
MRS PATRICIA ANN RETTICH                          145 S PLUM                                                                                       GERMANTOWN       OH    45327‐1363
MRS PATRICIA ANNE CLINTON CUST KATHLEEN ANNE      1944 VIA MADONNA                                                                                 LOMITA           CA    90717‐3623
CLINTON A UGMA CA
MRS PATRICIA B LYONS                              205 LITTLE HAMPTON CLOSE                                                                         LONGWOOD        FL     32779‐5623
MRS PATRICIA B RUDNICK CUST KAREN E RUDNICK       8 MIRO PLACE                                                                                     PORT WASHINGTON NY     11050‐2444
UGMA NY
MRS PATRICIA BLESSING                             7672 W MINERAL POINT RD              # 102                                                       VERONA           WI    53593‐9668
MRS PATRICIA BYRD KEITH                           BOX 117                              309 ACKTON                                                  LEWISBURG        OH    45338‐0117
MRS PATRICIA C CORDERY                            37509 FOUNTAIN PARK CIR              APT 521                                                     WESTLAND         MI    48185‐5615
MRS PATRICIA C EBERLEY                            412 W 13TH ST                                                                                    STERLING         IL    61081‐2212
MRS PATRICIA C ERNST                              4906 SCARSDALE RD                                                                                BETHESDA         MD    20816‐2440
MRS PATRICIA CHEPIGA CUST LAURA A CHEPIGA UGMA 25 PINE ST                                                                                          SLEEPY HOLLOW    NY    10591‐1708
NY
MRS PATRICIA CONLON MATHIS                        181 LIVE OAK LN                                                                                  GEORGETOWN       SC    29440‐6826
MRS PATRICIA D ARNOTT                             922 PICKETT LANE                                                                                 NEWARK           DE    19711‐2642
MRS PATRICIA D ROHRER                             2722 HICKORY ST                                                                                  ALEXANDRIA       VA    22305‐2509
MRS PATRICIA E E ZIMBRICK CUST MICHAEL J ZIMBRICK 400 COLEMAN RD                                                                                   MADISON          WI    53704‐6012
UGMA WI
MRS PATRICIA E SIMPICH                            5232 LOUGHBORO RD NW                                                                             WASH             DC    20016‐2634
MRS PATRICIA EDWARDS LANTING                      6514 LANDIS AVENUE                                                                               CARMICHAEL       CA    95608‐3929
MRS PATRICIA ELIZABETH WITTBERGER                 62 HOLLY RIBBONS CIRCLE                                                                          BLUFFTON         SC    29909‐6194
MRS PATRICIA F COLEMAN                            193 CHATEAU LATOUR                                                                               KENNER           LA    70065‐2022
MRS PATRICIA F PARRY                              137 MIDLAND AVE                                                                                  BUFFALO          NY    14223‐2834
MRS PATRICIA F STEWART                            1877 MABEN RD                                                                                    DUANESBURG       NY    12056‐3317
MRS PATRICIA FARRELL                              C/O PATRICIA MARAND                  515 EAST 79TH STREET APT 31C                                NEW YORK         NY    10021‐0781
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MRS PATRICIA GLOCK                                 4012 NORTH GARLAND ST                                                                         FAIRFAX            VA    22304‐1716
MRS PATRICIA GWYN WOLTZ                            215 OLD GREENHILL RD                                                                          MOUNT AIRY         NC    27030
MRS PATRICIA H KOHLER                              706‐C CONSTITUTION DR                                                                         DURHAM             NC    27705‐2802
MRS PATRICIA H NORTHROP                            622 APEX LN                                                                                   TROY               NY    12180
MRS PATRICIA H PITTS                               PO BOX 148                                                                                    LYDIA              SC    29079‐0148
MRS PATRICIA H SKINNER                             397 MOCKINGBIRD LANE SE                                                                       SMYRNA             GA    30082‐3730
MRS PATRICIA H SMALL                               23 RIDGE ROAD                                                                                 RUMSON             NJ    07760‐1906
MRS PATRICIA H YOUNG                               210 WILLOWCREST DR                                                                            CHARLESTON         WV    25311‐1116
MRS PATRICIA HAMILL                                ATTN PATRICIA HASCALL                2725 CHARNWOOD                                           TROY               MI    48098‐2186
MRS PATRICIA HUNNELL & PAUL C HUNNELL JT TEN       892 HONEST PLEASURE DRIVE                                                                     NAPERVILLE         IL    60540‐7630

MRS PATRICIA IMPERATO                              167 LYONS ROAD                                                                                SCARSDALE          NY    10583‐6340
MRS PATRICIA J QUIGLEY                             2393 E RAHN ROAD                                                                              KETTERING          OH    45440‐2541
MRS PATRICIA J URBAN                               919 DALLAS DRIVE                                                                              HURON              OH    44839‐2680
MRS PATRICIA K MC DOWELL                           PO BOX 304                                                                                    EAST DENNIS        MA    02641‐0304
MRS PATRICIA L CAUGHEY CUST JOHN D CAUGHEY         10 GEORGETOWN WOODS DR                                                                        YOUNGSVILLE        NC    27596‐7613
U/THE OKLA U‐G‐M‐A
MRS PATRICIA L HAMES                               434 HASKINS AVE                                                                               DAYTON             OH    45420‐2354
MRS PATRICIA L RIZAS & MISS ALEXANDRA B RIZAS JT   1212 ADAMS WAY                                                                                NEPTUNE CITY       NJ    07753‐6263
TEN
MRS PATRICIA L WELLING                             7634 FAIRWIND DRIVE                                                                           CINCINNATI         OH    45242‐5911
MRS PATRICIA LESNIEWICZ                            469 S MIDDLETON DR NW                                                                         CALABASH           NC    28467‐2116
MRS PATRICIA LOUISE TEED CUST ANDREW HARRISON      454 SATINWOOD DR                                                                              WEST MIFFLIN       PA    15122‐1244
TEED UGMA PA
MRS PATRICIA LUKE                                  ATTN REGENCY CLUBBLDG #17L           805 BREWERS BRIDGE ROAD                                  JACKSON            NJ    08527‐1974
MRS PATRICIA M BJELICA                             20 E MONTGOMERY ST                                                                            JOHNSTOWN          NY    12095‐2523
MRS PATRICIA M LAKE CUST COLIN PEERCE LAKE UGMA    1046 CHEROKEE RD                                                                              WILMETTE           IL    60091‐1323
OH
MRS PATRICIA M NARODE CUST JOSHUA C NARODE         338 S MANNING BLVD                                                                            ALBANY             NY    12208‐1733
UGMA NY
MRS PATRICIA M STEWART                             1070 PARK AVENUE                                                                              NEW YORK           NY    10128‐1000
MRS PATRICIA M TOEBE                               19 FOREST RD                                                                                  WAYNE              PA    19087‐3203
MRS PATRICIA MILLER                                265 E 66TH ST                        APT 35C                                                  NEW YORK           NY    10065‐6410
MRS PATRICIA O MARLEY CUST JAMES A MARLEY III      1092 HENDRIX AVE                                                                              THOUSAND OAKS      CA    91360‐3646
UGMA PA
MRS PATRICIA OBRIEN                                1528 MOFFETT AVE                                                                              HEWLETT            NY    11557‐1518
MRS PATRICIA OBRIEN BRINAMEN CUST JAMES            137 JOHN ST                                                                                   SOUTH AMBOY        NJ    08879‐1718
BRINAMEN JR UGMA NJ
MRS PATRICIA P BOWDEN                              4908 LACKAWANNA ST                                                                            COLLEGE PARK       MD    20740‐1638
MRS PATRICIA P PIERCE                              5435 MELWOOD DR                                                                               JACKSON            MS    39211‐4122
MRS PATRICIA P SHEPARD                             108 GUADELOUPE LANE                                                                           BONITA SPRINGS     FL    34134‐8517
MRS PATRICIA PAPE                                  218 OLD SHERMAN HILL RD                                                                       WOODBURY           CT    06798‐3914
MRS PATRICIA PICKLO                                2422 TARRY DRIVE                                                                              STERLING HEIGHTS   MI    48310‐5824

MRS PATRICIA POTIRALA                              305 E KANSAS ST                                                                               ELBURN             IL    60119‐9033
MRS PATRICIA PURZITSKY                             4005 DON MILLS ROAD #331             DON MILLS ON                           M2H 3J9 CANADA
MRS PATRICIA R BASTIEN                             BOX 1885                             NEW LISKEARD ON                        P0J 1P0 CANADA
MRS PATRICIA R POTTS                               RIDGE COURT #8                                                                                EAST BRUNSWICK     NJ    08816‐2932
MRS PATRICIA R RAUTIOLA CUST KIRSTIN P RAUTIOLA    ATTN KRISTIN RAUTIOLA PERKINS        4600 HIBISCUS ST                                         EDINA              MN    55435‐4048
UGMA MI
MRS PATRICIA S ANDREWS                             1101 SANTA ROSA                                                                               TYLER              TX    75701‐9052
MRS PATRICIA S DEACON                              1409 VILLAGE DRIVE                                                                            SOUTH              WV    25309‐2429
                                                                                                                                                 CHARLESTON
MRS PATRICIA S GALE CUST KRISTOPHER W GALE UGMA 305 PENINSULAR ST                                                                                GRAYLING           MI    49738‐1709
MI
MRS PATRICIA S GARLOCK                           148 FLORENCE AVE                                                                                MILL VALLEY        CA    94941‐2613
MRS PATRICIA S SULLIVAN                          178 LAKESIDE DR                                                                                 MAYFIELD           NY    12117‐3409
MRS PATRICIA SESSA CUST MICHAEL JILLY SESSA UGMA 610 GARDENS DR #202                                                                             POMPANO BEACH      FL    33069‐0966
CA
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Name                                             Address1                               Address2              Address3         Address4          City              State Zip

MRS PATRICIA SIEWERT                             399 CEDAR ST                                                                                    CHATHAM           MA    02633‐2116
MRS PATRICIA SPITERI & MISS MARY LYNN SPITERI JT 12425 WAYFARER CT                                                                               SHELBY TWP        MI    48315
TEN
MRS PATRICIA TYNES INNIS                         1036 NASHVILLE AVE                                                                              NEW ORLEANS       LA    70115‐4324
MRS PATRICIA V KOHLER CUST DAVID A KOHLER UGMA 1 STONE MOUNT LANE                                                                                MARLTON           NJ    08053
NJ
MRS PATRICIA V KOHLER CUST JEFFREY A KOHLER UGMA 9 EDWARD DR                                                                                     FLEMINGTON        NJ    08822
NJ
MRS PATRICIA V WILLIAMS                          418 E 90TH ST                                                                                   CHICAGO           IL    60619‐6727
MRS PATRICIA W EDMONDS                           27819 CENTER RIDGE RD APT 3158                                                                  WESTLAKE          OH    44145‐3900
MRS PATRICIA W MC RANEY                          PO BOX 608                                                                                      DAUPHIN ISLAND    AL    36528‐0608
MRS PATRICIA WAINA & JACK J WAINA JT TEN         213 KELSO CIR                                                                                   TRAPPE            PA    19426‐2147
MRS PATRICIA WOOD BURNS                          49 SANDHURST LANE                                                                               BUFFALO           NY    14221‐3154
MRS PATRICIA WRIGHT                              27901 BEN OAKS DR                                                                               MECHANICSVLLE     MD    20659‐3353
MRS PATSY A GUDRITZ CUST REX T GUDRITZ UGMA MI 10342 OGBOURNE CIR                                                                                KEITHVILLE        LA    71047‐8998

MRS PATSY ANN GEETING                          3810 BARNARD RD                                                                                   SAGINAW           MI    48603‐2512
MRS PATSY P MACAULAY                           1623 BROOKHAVEN ROAD                                                                              WYNNEWOOD         PA    19096‐2605
MRS PATSY R WILSON                             C/O MRS PATSY R GRACE                    2494 GLEN CANYON RD                                      ALTADENA          CA    91001‐3548
MRS PATTI H CLARK CUST ANDREW B CLARK UGMA NEB 3036 S 101ST ST                                                                                   OMAHA             NE    68124‐2625

MRS PATTIE E MERRILL                             120 EDGEMONT RD                                                                                 SONORA            TX    76950‐6607
MRS PATTY JANE FRANZ                             59 FOREST HILLS                                                                                 WHEELING          WV    26003‐6645
MRS PATTY R BUCKINGHAM                           661 ROADRUNNER WAY                                                                              PERRIS            CA    92570
MRS PAULA A TENNYSON CUST CHRISTOPHER W          525 POLLY PARK ROAD                                                                             RYE               NY    10580
TENNYSON UGMA NY
MRS PAULA ANN MILLER                             9434 DAHLGREN RD                                                                                KING GEORGE       VA    22485‐3510
MRS PAULA C ANDERSON CUST CRAIG S ANDERSON       19118 BETTY STOUGH RD                                                                           CORNELIUS         NC    28031‐7512
UGMA OH
MRS PAULA DICKEY                                 PO BOX 2677                                                                                     HOMER             AK    99603‐2677
MRS PAULA KRAVITS & STUART KRAVITS JT TEN        5 BROOKE CRT                                                                                    GETTYSBURG        PA    17325
MRS PAULA MARKS CUST BRADLEY MARKS UGMA NY       146 ALTESSA BLVD                                                                                MELVILLE          NY    11747‐5238

MRS PAULA RACKI VOGEL CUST SUSAN PATRICIA VOGEL 4117 SUPERIOR AVE                                                                                CINCINNATI        OH    45236‐3424
UGMA OH
MRS PAULA ROSE JOSEPH                           4417 LAPLACE ST                                                                                  METAIRIE          LA    70006‐2403
MRS PAULA SNYDER                                400 E 56TH ST                                                                                    NY                NY    10022‐4147
MRS PAULA SORGEN CUST HEATHER BROOKE SORGEN 4732 NW 100TH TERRACE                                                                                CORAL SPRINGS     FL    33076‐2413
UGMA NY
MRS PAULA SORGEN CUST REBECCA SUE SORGEN UGMA 6401 CASA VERDE DRIVE                                                                              CYPRESS           CA    90630‐4082
NY
MRS PAULA WILLIAMS                              2743 CAROL LN                                                                                    BISHOP            CA    93514‐3021
MRS PAULEEN M DAVIS                             19765 CEDAR NILES RD                                                                             GARDNER           KS    66030‐9390
MRS PAULETTE LEFTON CUST ALLISON RACHEL LEFTON 559 LONG LANE                                                                                     HUNTINGDON        PA    19006‐2935
UGMA OH                                                                                                                                          VALLEY
MRS PAULETTE MILLER                             2400 GOLD MINE RD                                                                                BROOKVILLE        MD    20833‐2205
MRS PAULINE A HOWLAND CUST JOHN C HOWLAND       366 EL DIVISADERO AVE                                                                            WALNUT CREEK      CA    94598‐4141
UGMA CA
MRS PAULINE B GITTINS                           68 HILLCREST RD                                                                                  READING          MA     01867‐3311
MRS PAULINE B HAMLIN & STEPHEN B HAMLIN JT TEN 803 FLORAL AVE                                                                                    COLONIAL HEIGHTS VA     23834‐3311

MRS PAULINE BURTNYK                              108 COLERIDGE PARK DR                  WINNIPEG MB                            R3K 0B5 CANADA
MRS PAULINE FREER                                20212 EMILIE LN                                                                                 PLEASANT VALLEY   NY    12569‐7004
MRS PAULINE H TODD                               2109 WINANS AVE                                                                                 FLINT             MI    48503‐5857
MRS PAULINE J BAGGETT CUST JENNIFER A BAGGETT    23626 GRANT DR                                                                                  LOXLEY            AL    36551‐8514
UGMA AL
MRS PAULINE L ROGERS                             7000 ELYSEAN CT                                                                                 LOUISVILLE        KY    40291‐2736
MRS PAULINE M WILSON                             326 WILLOW VISTA                                                                                SEABROOK          TX    77586‐6018
MRS PAULINE P ACREE                              2316 HEATH AVE                                                                                  RICHMOND          VA    23224‐6202
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MRS PAULINE RODGERS SANKEY                     RD2                                                                                           VOLANT             PA    16156‐9802
MRS PAULINE S BIRD & DAVID G BIRD JT TEN       60 NEW GARDEN AVE                                                                             LANCASTER          PA    17603‐4760
MRS PAULINE UTTER                              13820 JARVI DRIVE                                                                             ANCHORAGE          AK    99515‐3938
MRS PAULINE V GRISWOLD                                                                                                                       PLYMOUTH           IL    62367
MRS PAULINE VERBRUGGE                          1031 OHIO ST                                                                                  RACINE             WI    53405‐2209
MRS PAULYN GILL DOUGHERTY                      722 S MAIN                                                                                    HOMER              LA    71040‐3816
MRS PEARL BELLAN                               30 DEERFIELD RD                                                                               PARLIN             NJ    08859‐1029
MRS PEARL CARTER                               418 WINDHAM CT N                                                                              WYCKOFF            NJ    07481‐3471
MRS PEARL DIAZ                                 21650 FRAZER                                                                                  SOUTHFIELD         MI    48075‐3852
MRS PEARL SURITZ                               4833 ESEDRA COURT APT 301                                                                     LAKE WORTH         FL    33467‐5049
MRS PEARL WRIGHT & JOHN WRIGHT JT TEN          24111 35TH AVE S                                                                              KENT               WA    98032‐2872
MRS PEARLENE C BARNES                          4041 N 40TH ST                                                                                MILN               WI    53216‐1601
MRS PEG TEMPLE SAMPSON                         3437 U S ROUTE 42 EAST                                                                        CEDARVILLE         OH    45314‐9734
MRS PEGGY ANN FELDER                           BOX 186                                                                                       BURTON             TX    77835‐0186
MRS PEGGY ANN WRIGHT                           2100 WRIGHT ST                                                                                AUSTIN             TX    78704‐2834
MRS PEGGY B SWARTCHILD                         1333 SUNVIEW LANE                                                                             WINNETKA           IL    60093‐1624
MRS PEGGY DWORK                                54 LIVINGSTON AVENUE                                                                          EDISON             NJ    08820‐2360
MRS PEGGY G GATJE                              1221 BOTETOURT GARDENS                                                                        NORFOLK            VA    23517‐2201
MRS PEGGY HILL                                 M‐1                                  1050 ROSECRANS ST                                        SAN DIEGO          CA    92106‐5020
MRS PEGGY M COLE                               3165 TORRANCE DR                                                                              BATON ROUGE        LA    70809‐1557
MRS PEGGY S JORDAN                             11 PHILLIPS DRIVE                                                                             TRAVELERS REST     SC    29690‐1520
MRS PEGGY WESLEY                               0‐04 PINE AVE                                                                                 FAIRLAWN           NJ    07410
MRS PENELOPE H MILTON CUST GREGORY MILTON      61 LAUREL ST                                                                                  WEST BOYLSTON      MA    01583
UGMA MA
MRS PENELOPE H MILTON CUST WILLIAM R MILTON    81 LAUREL ST                                                                                  OAKDALE            MA    01583‐1515
UGMA MA
MRS PENELOPE J MARX                            1131 CITRON ST                                                                                CORONA             CA    92882‐3961
MRS PENNY HARRISON                             1949 SW EDGEWOOD ROAD                                                                         PORTLAND           OR    97201‐2237
MRS PERCY HICKS SEVERN                         1076 S LA GRANGE                                                                              NEWBURY PARK       CA    91320‐5314
MRS PHOEBE G HOLDER                            723 TIMBERBRANCH DRIVE                                                                        ALEXANDRIA         VA    22302‐3623
MRS PHOEBE LEWIT                               76 DOGLEG LANE                                                                                ROSLYN HEIGHTS     NY    11577‐2734
MRS PHOEBE YOUNG HSIA                          107 MERCER ST                        APT 2                                                    NEW YORK           NY    10012‐5226
MRS PHYLISS G BROPHY                           4 KNOLLWOOD CIR                                                                               WEYMOUTH           MA    02188‐2211
MRS PHYLLIS A GOTTDIENER                       9709 CHILCOTT MANOR WAY                                                                       VIENNA             VA    22181‐5400
MRS PHYLLIS A SNYDER                           7598 LAKEWOOD CIR                                                                             WEST CHESTER       OH    45069‐2622
MRS PHYLLIS B MURPHY                           5100 UPPER MOUNTAIN RD                                                                        LOCKPORT           NY    14094‐9605
MRS PHYLLIS C ANGEVINE                         112 SPAULDING ST                                                                              LOCKPORT           NY    14094‐4650
MRS PHYLLIS C ENGEL                            2 RIDGE RD                                                                                    BLOOMFIELD         CT    06002‐1606
MRS PHYLLIS C JONES                            2271 WHITE HALL RD                                                                            CROZET             VA    22932‐2603
MRS PHYLLIS CAMPBELL BARRETT                   1100 DILWORTH CRESCENT ROW                                                                    CHARLOTTE          NC    28203‐4863
MRS PHYLLIS COLAROSSI                          C/O GISILE COLAROSSI                 13860 LIMINGA RD                                         ATLANTIC MINE      MI    49905‐9267
MRS PHYLLIS COOPERMAN                          648 CHELTEN HILLS DRIVE                                                                       ELKINS PARK        PA    19027‐1331
MRS PHYLLIS E DANNER & MARK R DANNER JT TEN    107 SAINT REGIS DRIVE                                                                         NEWARK             DE    19711‐3822

MRS PHYLLIS E SCARDENA                         345 KILDARE DR                                                                                TOMS RIVER         NJ    08753‐3514
MRS PHYLLIS FURST                              STERLING APARTMENTS                  1815 JFK BLVD APT 1906                                   PHILADELPHIA       PA    19103‐1716
MRS PHYLLIS G FRY                              706 ALGREGG ST                                                                                HOUSTON            TX    77008‐4521
MRS PHYLLIS H TWINNEY CUST EDWIN R TWINNEY     1457 CEDAR BEND                                                                               BLOOMFIELD HILLS   MI    48302‐1920
UGMA MI
MRS PHYLLIS I SPENCE                           33222 BACK ST                        PO BOX 82                                                LEWISVILLE         OH    43754‐0082
MRS PHYLLIS IRENE BOYLE                        151 PIROG RD                                                                                  PINE BUSH          NY    12566‐7226
MRS PHYLLIS J TAYLOR                           290 W MARKET ST                                                                               WEST MILTON        OH    45383‐1521
MRS PHYLLIS JACOBSON RICE CUST HENRY SOLOMON   #30 S CUPA CT                                                               96929 GUAM
RICE UGMA TN
MRS PHYLLIS K ATKINS                           5126 YACHT CLUB RD                                                                            JACKSONVILLE       FL    32210‐8324
MRS PHYLLIS K CLEARY                           360 OLD SALEM WAY                                                                             AUGUSTA            GA    30907‐9078
MRS PHYLLIS K DOUGHERTY                        20 COUNTRY CLUB DR                                                                            DANVILLE           IL    61832‐1205
MRS PHYLLIS L DOW                              8880 EAST BROADWAY BLVD APT 245                                                               TUCSON             AZ    85710‐4062
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MRS PHYLLIS LYONS CUST SEAN SOMERS LYONS UGMA       20 ST THOMAS MOORE DR                                                                             WINCHESTER        MA    01890‐2261
MA
MRS PHYLLIS M CARSTENS                              38 VAN HORN RD                                                                                    NEWTON            NJ    07860‐5120
MRS PHYLLIS M KLOECKER                              1962 CHESTERFIELD RIDGE CIR                                                                       CHESTERFIELD      MO    63017
MRS PHYLLIS N OBRIEN                                30 W ALLEN ST                                                                                     WINOOSKI          VT    05404‐2103
MRS PHYLLIS R MILLER                                809 CHIPPEWA ST                                                                                   MOUNT CLEMENS     MI    48043‐3033
MRS PHYLLIS S INDIANER CUST GAYLE S INDIANER        5045 AMIGO AVE                                                                                    TARZANA           CA    91356‐4507
UGMA CA
MRS PHYLLIS S INDIANER CUST MARCIE A INDIANER       5045 AMIGO AVE                                                                                    TARZANA           CA    91356‐4507
UGMA CA
MRS PHYLLIS STONE                                   9 CRANFORD DR                                                                                     NEW CITY          NY    10956‐5406
MRS PHYLLIS T ARTHUR                                23 LAUREL LAKE DR                                                                                 HUDSON            OH    44236‐2157
MRS PHYLLIS T ARTHUR                                23 LAUREL LAKE DR                                                                                 HUDSON            OH    44236‐2157
MRS PHYLLIS TRAYNHAM HATCHER                        PO BOX 3040                                                                                       PENSACOLA         FL    32516‐3040
MRS PHYLLIS V STIPAK                                9609 WEST PARKWAY                                                                                 DETROIT           MI    48239‐1390
MRS PHYLLIS VENTRESCA                               1511 WOODSHADE RD                                                                                 WILM              DE    19809‐2246
MRS PHYLLIS W HUNTLEY                               BOX 677                                RD2                  ROUTE 145                             CAIRO             NY    12413
MRS PHYLLIS WHITEHOUSE                              512 HENRY ST                                                                                      ELYRIA            OH    44035‐6524
MRS PHYLLIS WORBY                                   22 GARDEN PLACE                                                                                   GLEN COVE         NY    11542‐1716
MRS POLLY ANN HALLIDAY                              BOX 828                                                                                           COLUMBIA          TN    38402‐0828
MRS POPPY KALIVAS & STEPHEN S KALIVAS JT TEN        2 KARELITZ RD                                                                                     PEABODY           MA    01960‐4003
MRS PORTIA R MC GUANE                               C/O PORTIA FONDA                       75 INDIAN HILL RD                                          LIVINGSTON        MT    59047‐9108
MRS PRISCILLA C DARRAH                              RD 1 BAKER CREEK RD                                                                               COUDERSPORT       PA    16915‐9801
MRS PRISCILLA D HIGGINS                             10 CHESTER ST                                                                                     WORCESTER         MA    01605‐3119
MRS PRISCILLA E OBEAR & KENNETH B OBEAR JR JT TEN   13 BERTRAM ST                                                                                     BEVERLY           MA    01915‐3601

MRS PRISCILLA H SKJEI                               303 MASHIE DR SE                                                                                  VIENNA            VA    22180‐4923
MRS PRISCILLA MURDOCK MARTEN                        369 TOWNSHIP ROAD 1233                                                                            PROCTORVILLE      OH    45669‐8416
MRS PRISCILLA R BROWN                               2470 BENTON RD                                                                                    NORTH HAVERHILL   NH    03774‐4821

MRS PRISCILLA W MC COY                              16A BAKER LN                                                                                      LYME              CT    06371‐3101
MRS PRUDENCE M MC KENZIE                            5385 BLACKTHORN DR                                                                                ROCKFORD          IL    61107‐1705
MRS PURIE D ENGELS CUST ROLF GERARD ENGELS          2703 SKIPWITH ROAD                                                                                RICHMOND          VA    23294‐4622
UGMA VA
MRS R VIRGINIA KIDER                                213 PERRY ST                                                                                      ROSSVILLE         IL    60963‐1145
MRS RACHEL DURSO PROPOGGIO                          1032 MIFFLIN AVE                                                                                  PITTSBURGH        PA    15221‐3442
MRS RACHEL W LYNGE                                  148 MAIN ST                                                                                       BOXFORD           MA    01921‐2519
MRS RAE FRANCES BORTNER                             172 S LEAVITT RD                                                                                  AMHERST           OH    44001‐1756
MRS RAE J ROSENGARTEN                               1 CHANNEL DR UNIT 504                                                                             MONMOUTH BCH      NJ    07750
MRS RAMONA T SYKES                                  1464 SHERIDAN DR                                                                                  ST LOUIS          MO    63132‐2640
MRS RAY K DEAN                                      2089 RUGBY AVE                                                                                    COLLEGE PARK      GA    30337‐1836
MRS RB PIKE 5 TORQUAY ROAD PARKWWOOD 2193           5 TORQUAY RD                           PARKWOOD                               2193 SOUTH AFRICA
JOHANNEBURG SOUTH AFRICA
MRS REBA E HALL                                     3367 PUTTING GREEN CT                                                                             OCEANSIDE         CA    92056‐1712
MRS REBA J HOLCOMB                                  6113 HIXSON PIKE                                                                                  HIXSON            TN    37343‐3033
MRS REBA KING                                       293 RAILROAD AVE                                                                                  BLOOMINGROSE      WV    25024‐9719
MRS REBA MCLEOD CUNNINGHAM                          11 FELS AVE                                                                                       FAIRHOPE          AL    36532‐1323
MRS REBECCA B LIPNICK                               522 HURON RD                                                                                      DELMAR            NY    12054‐2606
MRS REBECCA B TITUS CUST KEVIN N TITUS UGMA OH      9606 FRIAR TUCK DR                                                                                WEST CHESTER      OH    45069‐4249

MRS REBECCA D BRAY                                  1588 CROWNCREEK CIR SW                                                                            OCEAN ISL BCH     NC    28469‐6015
MRS REBECCA D GOODWYN                               217 ALBANY DR                                                                                     HAMPTON           VA    23666‐2909
MRS REBECCA G HARRIS                                162 KNOLLWOOD DR                                                                                  COLLINSVILLE      VA    24078‐2412
MRS REBECCA GASTON TOULMIN                          6245 SUGARBERRY LAKE                                                                              HOPE HULL         AL    36043‐5831
MRS REBECCA JANE GREENLAND                          1790 18TH AVE NE                                                                                  NAPLES            FL    34120‐3432
MRS REBECCA L DE LUCA                               30 BARTLETT'S REACH                                                                               AMESBURY          MA    01913‐4528
MRS REBECCA OTT BEST & CHARLES H BEST JT TEN        PO BOX 1267                                                                                       WOODVILLE         MS    39669‐1267
MRS REBECCA PADGETT CUST KRISTIN ANNE PADGETT       2043 SOUTHFIELD DR                                                                                THE VILLAGES      FL    32162‐6727
UGMA IN
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MRS REBECCA S BLEVINS CUST OWEN JACK BLEVENS JR   1104 FLOBERT DR                                                                                        VIRGINIA BEACH   VA    23464‐5718
UGMA VA
MRS REBECCA S HIRSCH                              831 LYNCREEK DR                                                                                        CENTERVILLE      OH    45458‐2120
MRS REBECCA SMITH KIENTZ                          4609 KING WILLIAM RD                                                                                   RICHMOND         VA    23225‐3247
MRS REBECCA T BOLDEN                              1070 ECHO BROOK TRAIL                                                                                  BOGART           GA    30622‐2849
MRS REEDIE W LINDLEY                              1802 JUNIPER VALLEY DRIVE #4                                                                           CORDOVA          TN    38016‐3839
MRS REGINA G OPFER                                2207 SIENA VLG                                                                                         WAYNE            NJ    07470‐3567
MRS REGINA KELLEN BACH & MRS MARGARET LASALLE     100 DALY BLVD APT 1111                                                                                 OCEANSIDE        NY    11572‐6013
JT TEN
MRS REGINA LEAVITT                                20 MONTICELLO DR                                                                                       PAXTON           MA    01612‐1414
MRS REGINA SHARIT                                 144 12 28 AVE                                                                                          FLUSHING         NY    11354‐1335
MRS REGINA W BARDIN                               220 N BELLEFIELD AVE APT 803                                                                           PITTSBURGH       PA    15213‐1467
MRS REHA MAY BALDWIN                              ROUTE 1 382 WITCHER RD                                                                                 BELLE            WV    25015‐9705
MRS RENATE SANTICH                                66 DRAKE LANE                                                                                          MANHASSET        NY    11030‐1228
MRS RENE SAMUELS                                  54 BOXWOOD TER                                                                                         RED BANK         NJ    07701‐6706
MRS RENEE ABBOTT                                  65 PARK LANE CIRCLE                   TORONTO ON                                     M3C 2N4 CANADA
MRS RENEE WOLKEN                                  4 GLENDALE TERR                                                                                        KINNELON         NJ    07405‐3112
MRS RETA M JOHNSON                                2214 SOUTH 35TH                                                                                        LINCOLN          NE    68506‐6011
MRS REVA SCHUELLER                                4115 MAR MOOR DR                                                                                       LANSING          MI    48917‐1613
MRS RHETA HAAS PAGE                               522 RAMBLE WOOD                                                                                        HOUSTON          TX    77079‐6903
MRS RHEVA KLOW                                    1984 SUNSET RD                                                                                         HIGHLAND PARK    IL    60035‐2364
MRS RHODA B CALFEE                                2305 FERNGLEN PL                                                                                       CARY             NC    27511‐3891
MRS RHODA HODGE                                   #10 BRIGHTON DR                                                                                        HUNTINGTON       WV    25705‐3851
MRS RHODA M PERKINS CUST CAROL S PERKINS UGMA     3363 N DUNLAP AVE                                                                                      ARDEN HILLS      MN    55112‐3723
MN
MRS RHODA M PERKINS CUST GARY J PERKINS UGMA      4600 HIBISCUS AVE                                                                                      EDINA            MN    55435‐4048
MN
MRS RHODA POLAK                                   327 HEATHCLIFFE RD                                                                                     HUNTINGDON      PA     19006‐8705
                                                                                                                                                         VALLEY
MRS RHODA S KASHMANN                              2638 GATELY DRIVE E TH #81                                                                             WEST PALM BEACH FL     33415‐7986

MRS RHODA SUMBERG                                 46 VILLA RD                                                                                            LARCHMONT        NY    10538‐1246
MRS RHYLMA EVANS BARNETT                          BARNETT CONSULTING ENGRS              BLDG 700             6991 PEACHTREE IND BLVD                     NORCROSS         GA    30092‐4346
MRS RILDA HONE                                    PO BOX #680                                                                                            OLDWICK          NJ    08858‐0680
MRS RILLA M NEEVES                                18 LIMESTONE RD                                                                                        ARMONK           NY    10504‐2305
MRS RITA B JONES                                  2208 ANNES TRAIL                                                                                       SAN MARCOS       TX    78666‐1060
MRS RITA C LYNCH                                  1 BRETON PLACE                                                                                         LIVINGSTON       NJ    07039‐4611
MRS RITA C PAULUS                                 4322 LANAI RD                                                                                          ENCINO           CA    91436‐3617
MRS RITA CONNELL                                  12 TEMPLE DR                                                                                           ROCHESTER        NH    03868‐7110
MRS RITA CORCORAN                                 2001 FALLS BLVD                       APT 115                                                          QUINCY           MA    02169‐8211
MRS RITA DE SALVO & JOHN M DE SALVO JT TEN        1965 ALLAN AVE                        APT D110                                                         YORKTOWN HTS     NY    10598‐4053
MRS RITA E KALATA & MRS GEORGENE E PETERSON JT    GREENBRIER RETIREMENT COMMUNITY       6457 PEARL RD                                                    PARMA            OH    44130‐2936
TEN
MRS RITA E TOWSNER                                8 GRIGGS TERRACE                                                                                       BROOKLINE        MA    02446‐4733
MRS RITA J CALVERT & MICHAEL J CALVERT JT TEN     C/O RITA J HEITMAN                    1347 TONKA AVE                                                   COLORADO SPRINGS CO    80904‐2251

MRS RITA L GERZANICK                              181 GARDEN ST                                                                                          FORESTVILLE      CT    06010‐6709
MRS RITA M DONALDSON                              6845 RIDGEVUE DR                                                                                       PITTSBURGH       PA    15236‐3643
MRS RITA M SCHNEIDER                              W 2166 WILMERS GROVE RD                                                                                EAST TROY        WI    53120‐2016
MRS RITA R SEVERYN                                3689 ELM BROOK DR                                                                                      CLEVELAND        OH    44147‐2054
MRS RITA ROTH CUST SCOTT HOWARD ROTH U/THE NJ     PO BOX 1042                                                                                            HALLANDALE       FL    33008‐1042
U‐G‐M‐A
MRS RITA T PIMPINELLA                             197 IROQUOIS ST                                                                                        RONKONKOMA       NY    11779‐4611
MRS RITA V HOUGH LOUDIN                           34215 PERSHING AVE                                                                                     LEESBURG         FL    34788‐4658
MRS RITA VANGEL                                   86 GATE RIDGE RD                                                                                       EASTON           CT    06612‐1838
MRS RITA WARRICK CUST ERIC WARRICK UGMA NY        25426 CRESTWATER DR                                                                                    LEESBURG         FL    34748‐7425

MRS ROBERT TAPPAN                                 2660 URBANA PIKE                                                                                       IJAMSVILLE       MD    21754‐8622
MRS ROBERTA B RAZOR                               304 KNAPP AVE                                                                                          MOREHEAD         KY    40351‐1122
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Name                                             Address1                              Address2                 Address3      Address4          City            State Zip

MRS ROBERTA C SHAW                               1404 GILBERT AVE                                                                               DOWNERS GROVE   IL    60515‐4538
MRS ROBERTA CURRY                                49381 GOLDEN LAKE DR                                                                           SHELBY TWP      MI    48315‐3545
MRS ROBERTA HINCHCLIFF & GEORGE HINCHCLIFF JT    104 FOXTAIL LN                                                                                 MAGNOLIA        DE    19962‐1598
TEN
MRS ROBERTA J ANTRAM & ROBERT C ANTRAM JT TEN    734 ANTRAM ROAD                                                                                SOMERSET        PA    15501‐8856

MRS ROBERTA KOZINN CUST BETH EILEEN KOZINN       8 BALDPATE HILL ROAD                                                                           NEWTON          MA    02459‐2824
UGMA NY
MRS ROBERTA LEVINE CUST JULIE LEVINE UGMA IL     115 WOODLEY ROAD                                                                               WINNETKA        IL    60093‐3737

MRS ROBERTA M RICH                             1422 MALCOLM DR                                                                                  DRESHER         PA    19025‐1622
MRS ROBERTA RISINGER                           9005 LINSLADE WAY                                                                                WAKE FOREST     NC    27587‐5070
MRS ROBERTA S MC KAY                           2728 CLAYMONT CIR                                                                                TUSCALOOSA      AL    35404‐4259
MRS ROBERTA SILVER                             31 KINNICUTT RD                                                                                  WORCESTER       MA    01602‐1547
MRS ROBERTA STERN ROGGE                        1172 PARK AVE                                                                                    NY              NY    10128‐1213
MRS ROBERTA T JARVIS                           214 CAWOOD CT                                                                                    RICHMOND        KY    40475‐8206
MRS ROBERTA W ODELL                            SKIRMISH HILL                           1050 MEETINGHOUSE ROAD                                   WEST CHESTER    PA    19382‐8126
MRS ROBIN F JOHNSON                            3143 MAIDENS RD                                                                                  POWHATAN        VA    23139‐4826
MRS ROBIN HOOD TOYE                            7313 7TH DR WEST                                                                                 EVERETT         WA    98203‐5824
MRS ROBIN K DUNKLE CUST ROBERT JAY DUNKLE UGMA 9248 STANSEL CIR                                                                                 CENTERVILLE     OH    45458

MRS ROBIN L CARMICK                              153 SPROUL ROAD                                                                                VILLANOVA       PA    19085‐1326
MRS ROCHELLE LEVENTHAL                           640 OAK TREE RD                       APT 150                                                  PALISADES       NY    10964‐1522
MRS ROMA M REBER & LOUIS D REBER JR JT TEN       7326 TILDEN WAY                                                                                SACRAMENTO      CA    95822
MRS ROMAYNE B BARTLING & WILLIAM H BARTLING JT   25075 MEADOW BROOK ROAD APT 328                                                                NOVI            MI    48375‐5700
TEN
MRS ROSA DI MASO & MISS SUSAN DI MASO JT TEN     1 S OAKS BLVD                                                                                  PLAINVIEW       NY    11803‐1906

MRS ROSA MAE SALES                             1517 WASHINGTON ST E                    APT B                                                    CHARLESTON      WV    25311‐2512
MRS ROSALIE A CAMARRA & RICHARD CAMARRA JT TEN 5555 GULF BLVD                          APT 216                                                  ST PETE BEACH   FL    33706‐2332

MRS ROSALIE HELLER                               APT 915                               4555 BONAVISTA AVE       MONTREAL QC   H3W 2C7 CANADA
MRS ROSALIE NELSON                               224 SHAWNA DR                                                                                  KEARNEY         MO    64060‐8218
MRS ROSALINDA R TOWNSEND                         BOX 5                                                                                          HIGHLAND        MD    20777‐0005
MRS ROSAMOND T EDMONSON                          1010 MEMORIAL DR APT 8A                                                                        CAMBRIDGE       MA    02138‐4854
MRS ROSANN EKLUND HANSON                         5709 CHOWEN AVE S                                                                              EDINA           MN    55410‐2347
MRS ROSANNE B BENN                               24 YEATMAN CT                                                                                  SILVER SPRING   MD    20902‐3060
MRS ROSE A KABEL & DONALD O KABEL JT TEN         827 ANTIOCH SCHOOL RD                                                                          VANDALIA        OH    45377‐9778
MRS ROSE A OBRIEN & NELSON E OBRIEN JT TEN       2406 MARK AVE                                                                                  RICHLAND        WA    99352‐9212
MRS ROSE A REHNBERG                              5312 N W 110TH                                                                                 OKLAHOMA CITY   OK    73162‐5924
MRS ROSE ANN SUNDAY CUST DENISE MARIE SUNDAY     9105 SUGARBUSH DR                                                                              MENTOR          OH    44060‐4412
UGMA OH
MRS ROSE B ALLIGOOD                              3528 HAMLET PL                                                                                 CHEVY CHASE     MD    20815‐4816
MRS ROSE C CREGAN                                106 GORDON AVENUE                                                                              NORTH           NY    10591‐1910
                                                                                                                                                TARRYTOWN
MRS ROSE CAVALLARO & VIRGINIA GARLAND & GRACE    14115 SAINT MARYS LN                                                                           HOUSTON         TX    77079‐3212
LOVE JT TEN
MRS ROSE E COHEN CUST NANCY COHEN U/THE          8467 HALL BLVD                                                                                 LOXAHATCHEE     FL    33470‐5649
MASSACHUSETTS U‐G‐M‐A
MRS ROSE E FREEDAN                               1552 TAYLOR AVE                                                                                UTICA           NY    13501‐5110
MRS ROSE GIESS                                   307 ALLAMANDA CIR                                                                              VENICE          FL    34292‐2004
MRS ROSE GIORDANO CUST MARY ELLEN GIORDANO       C/O MARY ELLEN JULIANO                2 CHANDLER AVENUE                                        BATAVIA         NY    14020‐1612
U/THE NEW YORK U‐G‐M‐A
MRS ROSE HELFAND                                 252‐36 LEITH RD                                                                                LITTLE NECK     NY    11362‐1842
MRS ROSE HENRY & ARTHUR L HENRY JT TEN           1851 MC PHAIL ST                                                                               FLINT           MI    48503‐4366
MRS ROSE J ANDREWS                               317 TORY TURN                                                                                  WAYNE           PA    19087‐4629
MRS ROSE J TULLY                                 110 ELLIS FARM LANE                                                                            MELROSE         MA    02176‐2949
MRS ROSE LEVINE & MARK J LEVINE JT TEN           PO BOX 984                                                                                     TRURO           MA    02666‐0984
MRS ROSE LIGH LEE                                38 OLD FARMS RD                                                                                POUGHKEEPSIE    NY    12603‐5038
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MRS ROSE M BADEAU & EDUARDO S BADEAU JT TEN      25 DONNELLY DR                                                                                  RIDGEFIELD       CT    06877‐5610

MRS ROSE M SLAZYK                                32 DEER ST                                                                                      BUFFALO          NY    14207‐2211
MRS ROSE M STAHL                                 4416 WOODNER RD                                                                                 KETTERING        OH    45440‐1223
MRS ROSE MC SHANE & MICHAEL MC SHANE JT TEN      2024 CUMMINGS LN                                                                                LOS ANGELES      CA    90027‐1715

MRS ROSE N CHAMPLIN                              11 PAULDING AVE                                                                                 COLD SPRING      NY    10516‐2515
MRS ROSE PINI                                    23 VALLEY VIEW DRIVE                                                                            SAYLSBURG        PA    18353
MRS ROSE SARGIS ERNESTO                          107 HAZELMERE RD                                                                                NEW BRITAIN      CT    06053‐2115
MRS ROSE SNURKOWSKI CUST STEVEN SNURKOWSKI       R F D 6 BOX                            79 ROOSEVELT AVE                                         PRESTON          CT    06365‐8026
U/THE CONN U‐G‐M‐A
MRS ROSE SOHMER                                  APT 5C                                 54‐40 LITTLE NECK PARKWAY                                LITTLE NECK      NY    11362‐2209
MRS ROSE V DORANSKI & MRS THERESE KIRSH JT TEN   C/O MRS THERESE KIRSH                  1281 WAYNE DR                                            DES PLAINES      IL    60018‐1415

MRS ROSE V WALLACE                               3150 GILLOT BLVD                                                                                PORT CHARLOTTE   FL    33981‐1128
MRS ROSE WINKLER                                 2235 NE 204TH ST                                                                                MIAMI            FL    33180‐1311
MRS ROSE‐MARIE C OREILLY                         1544 CALLONE AVE                                                                                BETHLEHEM        PA    18017‐4130
MRS ROSELLE T RAYNES                             1423 BILTMORE DR NE                                                                             ATLANTA          GA    30329‐3533
MRS ROSEMARIE ESPOSITO                           PO BOX 480                                                                                      SALEM            SC    29676‐0480
MRS ROSEMARY D LEAVITT                           20 SUMMIT PLACE                                                                                 PLEASANTVILLE    NY    10570‐1217
MRS ROSEMARY H WHITAKER                          1905 HALL JOHNSON RD                                                                            COLLEYVILLE      TX    76034‐5724
MRS ROSEMARY LANE                                20 BERWIN DR                                                                                    SNYDER           NY    14226‐2525
MRS ROSEMARY OLIVER                              641‐A WOODFIELD CIR                                                                             PAWPAW           MI    49079‐2107
MRS ROSEMARY PACKWOOD                            1008 W 97TH TERR                                                                                KANSAS CITY      MO    64114‐3800
MRS ROSENE L GRIMM                               BOX 434 ‐ 3 AV 11                                                                               WEST BEND        IA    50597‐0434
MRS ROSINA C CRAWFORD                            17 BRITTANY CT                                                                                  TROY             MO    63379‐2404
MRS ROSINA EMELIA DICKSON                        114 SCHOONER ROW                                                                                COLUMBIA         SC    29212‐8051
MRS ROSINA V STEPHENSON                          46 BEACON HILL RD                                                                               COLUMBIA         SC    29210‐5663
MRS ROSLYN FAUST                                 7691 LEMONWOOD ST                                                                               BOYNTON BEACH    FL    33437‐5457
MRS ROTHA M REID                                 101 LAWTON BLVD #104                   TORONTO ON                             M4V 1Z6 CANADA
MRS ROWENA B FINN                                36 TEMPLE ST                                                                                    REVERE           MA    02151‐4528
MRS ROXANN W SALE & MRS MARY HAZEL DENSMORE      120 WARREN TERR                                                                                 LONGMEADOW       MA    01106‐1350
JT TEN
MRS ROZANN SHAPIRO CUST ERIC SCOTT SHAPIRO       271 QUAIL HOLLOW LANE                                                                           EAST AMHERST     NY    14051‐1633
UGMA NY
MRS RUBEY E KLEMCKE                              PO BOX 366                                                                                      WOODSBORO        TX    78393‐0366
MRS RUBY CHEATHAM HARRIS                         227 HWY 244                                                                                     RUSSELLVILLE     AL    35654‐8477
MRS RUBY D WILLIAMS CUST KATHLEEN S WILLIAMS     11741 LITTLEFIELD ST                                                                            DETROIT          MI    48227‐3483
UGMA MI
MRS RUBY G DAVIS                                 3607 LYONS DR                                                                                   KOKOMO           IN    46902‐4779
MRS RUBY GLASSEL CUST FELICE R GLASSEL UGMA IL   297 GLEN AVE                                                                                    SHORTHILLS       NJ    07078‐2114

MRS RUBY MAE SNYDER                              3212 ALABAMA DRIVE                                                                              MELBOURNE        FL    32901‐7704
MRS RUBY R MORGAN                                3314 OTSEGO                                                                                     AMARILLO         TX    79106‐3506
MRS RUBY S FORTSON                               PO BOX 184                                                                                      RICE             TX    75155‐0184
MRS RUEY BARNES                                  228 DON DRIVE                                                                                   GREENVILLE       SC    29607‐2806
MRS RUTH A BLAIR                                 137 E VALLETTE ST                                                                               ELMHURST         IL    60126‐4448
MRS RUTH A HUGHES                                6‐C HERITAGE CREST                                                                              SOUTHBURY        CT    06488‐1368
MRS RUTH A MATSUDA                               1054 E BROOKDALE PL                                                                             FULLERTON        CA    92831‐3330
MRS RUTH AHRENDT                                 204 HAMPSHIRE                                                                                   VICTORIA         TX    77904‐2275
MRS RUTH ANN BERG                                44 KIRA LN                                                                                      RIDGEWOOD        NJ    07450‐5140
MRS RUTH B ZALEWSKI                              2761 MAIDA LANE                                                                                 SCHENECTADY      NY    12306‐1633
MRS RUTH BROCKWAY FIELDS                         3905 W OAKLAWN ST                                                                               LACONTA          FL    34461‐8984
MRS RUTH C RAU                                   3309 SHERIDAN RD                                                                                PORTSMOUTH       OH    45662‐2335
MRS RUTH D CUMING                                PO BOX 910                                                                                      COTUIT           MA    02635‐0910
MRS RUTH D MOLIERE                               225 HARDING ST                                                                                  JEFFERSON        LA    70121‐3917
MRS RUTH D WYBORNY                               1710 S 13TH                                                                                     BURLINGTON       IA    52601‐3608
MRS RUTH DET RICHTER                             PO BOX 27                                                                                       BEAUFORT         SC    29901‐0027
MRS RUTH E ALBRO                                 820 WEST 9TH STREET                                                                             WILMINGTON       DE    19801‐1309
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Name                                            Address1                               Address2               Address3         Address4          City               State Zip

MRS RUTH E GALLANT & MRS GLORIA E HALL JT TEN   PO BOX 1374                                                                                      SAGAMORE BEACH     MA    02562‐1374

MRS RUTH E KING                                 1123 GRANT                                                                                       HOLDREGE         NE      68949‐1866
MRS RUTH E LEWIS                                107 W OAK ST                                                                                     ABBEVILLE        LA      70510‐3614
MRS RUTH E NEWMAN                               200 ROSEBURY COURT                                                                               MAYFIELD HEIGHTS OH      44124‐3625

MRS RUTH E PIFER CUST KARLA J PIFER UGMA OH     4857 S MEDOWLOCK DR                                                                              CASTLE ROCK        CO    80109
MRS RUTH E RIZZONELLI                           4642 HOBSON LN                         UNIT 13E                                                  COLUMBIS           OH    43228‐6485
MRS RUTH E WAGLEY                               112 COUSLEY DRIVE S E                                                                            PORT CHARLOTTE     FL    33952‐9111
MRS RUTH E WIGGENHORN                           5733 BROADWAY                                                                                    INDIANAPOLIS       IN    46220
MRS RUTH ELAINE BRANDT                          43 6TH ST                                                                                        WHEELING           IL    60090‐2927
MRS RUTH ELIZABETH HILL                         5301 CREEDMOOR RD                      APT 401                                                   RALEIGH            NC    27612‐3831
MRS RUTH F GREEN & WALTER GREEN JT TEN          441 DOVER C                                                                                      WEST PALM BEACH    FL    33417‐2223

MRS RUTH FEEN                                   APT 25‐D                               21820 CYPRESS CIRCLE                                      BOCA RATON         FL    33433‐3215
MRS RUTH G HEALEY                               48 ARBOR AVE                                                                                     TRENTON            NJ    08619‐3902
MRS RUTH G MARINO & GENE MARINO JT TEN          499 CASINO AVENUE                                                                                CRANFORD           NJ    07016‐2314
MRS RUTH G O KEY CUST CLIFFORD MATTHEW O KEY    5631 E TOWNER                                                                                    TUCSON             AZ    85712‐2227
UGMA AZ
MRS RUTH GERTRUDE JACKSON HARTMAN               225 S KISER LANE                                                                                 TROY               OH    45373‐8794
MRS RUTH GILL JAMES                             PO BOX 11                                                                                        HOMER              LA    71040‐0011
MRS RUTH H BUNYAN                               ATTN FLEISCHER                         4775 PINE VALLEY CT                                       ANCHORAGE          AK    99508‐3786
MRS RUTH H COURNOYER                            6 ONEIDA PL                                                                                      HUDSON             MA    01749‐2854
MRS RUTH H LEFEBVRE                             8 LOOKOFF ROAD                                                                                   CRANSTON           RI    02905‐4029
MRS RUTH HAINES ZEISS                           700 VILLA PL                                                                                     ST LOUIS           MO    63132‐3605
MRS RUTH HALL BATHE                             11421 GREEN MOOR LN                                                                              OAKTON             VA    22124‐1240
MRS RUTH J DANDO CUST MARIANNA C DANDO UGMA     385 COLONIAL ROAD                                                                                MEMPHIS            TN    38117‐4014
TN
MRS RUTH JEAN FORMAN CUST JENNIFER E FORMAN     29928 OAKVISTA CT                                                                                AGOURA HILLS       CA    91301‐4415
UGMA CA
MRS RUTH JONES PROSPERE                         1153 S MAIN                            APT H‐1                WOODLAND PLAZA                     GREENVILLE         MS    38701
MRS RUTH K O CUDNEY                             16000 NORTHFIELD ST                                                                              PACIFIC PLSDS      CA    90272‐4260
MRS RUTH KANELL                                 26 WESTWOOD RD                                                                                   MILFORD            CT    06461‐2748
MRS RUTH KAPLAN CUST ROBERTA S KAPLAN U/THE     APT 15‐F                               201 E 79TH ST                                             NY                 NY    10021‐0839
NEW YORK U‐G‐M‐A
MRS RUTH L PRINCE                               2500 BAYBERRY LANE                                                                               VESTAL             NY    13850‐2902
MRS RUTH L WOLSTENCROFT                         43 MILLBROOK RD                                                                                  NEWARK             DE    19713‐2553
MRS RUTH LASKO & RICHARD P LASKO JT TEN         D4                                     67 HILTON AVE                                             GARDEN CITY        NY    11530‐2802
MRS RUTH LOIS W MOHLENHOFF                      PO BOX 2460                                                                                      NEW PRESTON        CT    06777‐0460
MRS RUTH M AIKEN & DAVID L AIKEN JT TEN         579 LOREWOOD GROVE ROAD                                                                          MIDDLETOWN         DE    19709‐9233
MRS RUTH M DUFFORD                              1047 MAIN ST                                                                                     SOUTH              CT    06073‐2109
                                                                                                                                                 GLASTONBURY
MRS RUTH M JENKINS                              2094 MESQUITE AVE UNIT 208                                                                       LAKE HAVASU CITY   AZ    86403‐6739

MRS RUTH M JESCHKE                              26 N LOXLEY DR                                                                                   JOHNSTON           RI    02919‐7106
MRS RUTH M KENKEL CUST JEFFREY G KENKEL UGMA OH 6002 GAINES ROAD                                                                                 CINCINNATI         OH    45247‐5820

MRS RUTH M MOORE                              PO BOX 1112                                                                                        BREVARD            NC    28712‐1112
MRS RUTH M ROADARMEL                          4115 VALLEY VIEW RD                                                                                HARRISBURG         PA    17112‐1431
MRS RUTH MARGARET HOCHLEITNER                 RR 2‐1 BERTHA ST                         PETERBOROUGH ON                         K9J 6X3 CANADA
MRS RUTH MILLER BAKST                         231 WORTHEN ROAD                                                                                   LEXINGTON          MA    02421‐6129
MRS RUTH MILLMAN CUST DEBRA J MILLMAN UGMA NJ 9 BOWTELL CT                                                                                       MIDDLETOWN         NJ    07748‐3003

MRS RUTH MITCHELL                               332 WEST ROAD                                                                                    ADAMS              MA    01220‐9736
MRS RUTH N DAWSON & LAURENCE J GREENWOOD JT     6520 E 9TH ST N                                                                                  WICHITA            KS    67206‐1412
TEN
MRS RUTH N ULRICH & LINDA K ULRICH JT TEN       1 ACRE LANE                                                                                      MELVILLE           NY    11747‐1801
MRS RUTH NEY                                    1168 E 10TH ST                                                                                   BROOKLYN           NY    11230‐4706
MRS RUTH O FIDORACK                             267 MORELAND AVE                                                                                 BETHLEHEM          PA    18017‐3757
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Name                                             Address1                                 Address2             Address3          Address4          City              State Zip

MRS RUTH OLSHANSKY                               18 HOLLY TREE LANE                                                                                RUMSON            NJ    07760‐1951
MRS RUTH P EACHUS                                1620 LOCUST WAY                                                                                   LYNNWOOD          WA    98036‐9017
MRS RUTH PUXLEY                                  86 SOFTNEEDLE AVE                        BRAMPTON ON                            L6R 1L2 CANADA
MRS RUTH R BERGER CUST HARRY DAVID BERGER        100 S UNIVERSITY BLVD                                                                             MOBILE            AL    36608‐3043
UGMA AL
MRS RUTH R SCHERRER                              822 NORH FORT THOMAS AVE APT 4WEST                                                                FORT THOMAS       KY    41075‐1929
MRS RUTH R YOUNG                                 35 MAPLE SHADE AVE                                                                                PEARL RIVER       NY    10965‐2908
MRS RUTH RAYNER                                  APT B‐409                                1655 FLATBUSH AVE                                        BROOKLYN          NY    11210‐3235
MRS RUTH ROBINSON                                593 E LAKE RD                                                                                     PENN YAN          NY    14527‐9416
MRS RUTH S BROCK                                 33 GATES CIRCLE                                                                                   BUFFALO           NY    14209‐1197
MRS RUTH S CLARK                                 2103 CALHOUN                                                                                      NEW ORLEANS       LA    70118
MRS RUTH S HOMAN                                 6427 BLOOMFIELD RD                                                                                SPRINGFIELD       KY    40069‐9409
MRS RUTH S HOUCK                                 ATTN RUTH S BORGIA                       20 BIRCHWOOD KNLS                                        LAWRENCEVILLE     NJ    08648‐3610
MRS RUTH S JOHNSON                               1110 HERON WAY                                                                                    SUGAR LAND        TX    77478‐3453
MRS RUTH S SACKS                                 10607 STONEYHILL CT                                                                               SILVER SPRING     MD    20901‐1540
MRS RUTH S VOGEL & MRS JUDITH A NACK JT TEN      417 HICKORY LN                                                                                    MATTOON           IL    61938‐2027
MRS RUTH SCOVANNER CUST THOMAS WM                6586 MIAMI TRAILS DR                                                                              LOVELAND          OH    45140‐8042
SCOVANNER UGMA OH
MRS RUTH SHADBURNE TILLMAN                       7209 SHEFFORD LANE                                                                                LOUISVILLE        KY    40242‐2843
MRS RUTH SWEENY JOHNSON CUST ARMOND EVAN         7147 S VINE CIRCLE WEST                                                                           LITTTON           CO    80122‐1627
JOHNSON U/THE NJ U‐G‐M‐A
MRS RUTH T STEWART                               1471 LONG POND RD                        APT 246                                                  ROCHESTER         NY    14626‐4131
MRS RUTH TOUT CUST SARAH ANNE TOUT U/THE         ATTN SARAH ANNE DAVISON                  1370 SPRUCE DR                                           CARMEL            IN    46033‐9373
INDIANA U‐G‐M‐A
MRS RUTH V BELL & DOUGLAS E BELL TEN COM         BOX 2037                                                                                          PECOS             TX    79772‐2037
MRS RUTH V MENISH                                593 PINE AVE                                                                                      HERKIMER          NY    13350‐1528
MRS RUTH WHITESIDE                               74 CHERRY RD                                                                                      ROCHESTER         NY    14612‐5650
MRS RUTHANN HEDGE                                508 E MAPLE ST                                                                                    JEFFERSONVILLE    IN    47130‐3938
MRS S CAMILLA ENRIGHT                            1388 AMBER CT                                                                                     POULSBO           WA    98370
MRS SABINA BARCZYNSKI & EDWARD BARKLEY JT TEN    24747 CUNNINGHAM                                                                                  WARREN            MI    48091‐4421

MRS SADIE E ALBRECHT & MRS BARBARA A LADD JT TEN 78 NORTH ST                                                                                       SACO              ME    04072‐1925

MRS SADIE M WILLIAMS                             3000 TAYLOR ST                                                                                    MOUNT RANIER      MD    20712‐1745
MRS SADIE PIZER                                  225 MONACO PKWY                                                                                   DENVER            CO    80220‐5955
MRS SALLIE ANN THOMPSON                          LAKE ROAD                                                                                         BURT              NY    14028
MRS SALLY A MORRIS                               16625 WOODLAND COURT                                                                              BRIDGEVILLE       DE    19933‐3965
MRS SALLY A TRIMBLE                              4219 GREEN COVE STREET N W                                                                        OLYMPIA           WA    98502‐3523
MRS SALLY ANN GADDIE                             12613 BARKLEY                                                                                     OVERLAND PARK     KS    66209‐2552
MRS SALLY E LOWREY                               233 E DOROTHY LANE                                                                                KETTERING         OH    45419‐1711
MRS SALLY H MARTE                                PO BOX 427                                                                                        BLOCK ISLAND      RI    02807‐0427
MRS SALLY H WEBBER                               5301 COLFAY AVE                                                                                   BROOKLYN CENTER   MN    55430

MRS SALLY HERMES                                 530 HUNT WOODS RD                                                                                 MARTINSVILLE      VA    24112‐0569
MRS SALLY I REAGAN                               209 BELMONT                                                                                       LOS GATOS         CA    95030‐5208
MRS SALLY J LA FORGE                             ROUTE 2 8151 BRAY RD                                                                              VASSAR            MI    48768‐9640
MRS SALLY JEAN TRIMBLE                           1402 MADERO ST                                                                                    BROOMFIELD        CO    80020‐3519
MRS SALLY JOHNS MISS IRIS NANCY JOHNS & ANDREW   215 DIOGONAL STREET                      PO BOX 6047                                              GALENA            IL    61036‐6047
ROGER JOHNS JT TEN
MRS SALLY LEVENTEN & IRWIN E LEVENTEN JT TEN     PO BOX 74                                                                                         LAKEWOOD          CA    90714‐0074
MRS SALLY M KUTIL                                4230 S SHORE DR                                                                                   WATERFORD         MI    48328‐1157
MRS SALLY M RENZI                                697 CLOVERDALE DRIVE                                                                              ELMA              NY    14059‐9715
MRS SALLY M SNYDER                               220 NORTH 30TH ST                                                                                 CAMP HILL         PA    17011‐2933
MRS SALLY P KUYKENDALL                           BOX 1035                                                                                          ROMNEY            WV    26757‐4035
MRS SALLY P LEEMON                               PO BOX 151                                                                                        MOUNT CARROLL     IL    61053‐0151
MRS SALLY T BREEDLOVE                            704 GREENWOOD RD                                                                                  CHAPEL HILL       NC    27514‐5923
MRS SALLY T JONES                                3916 PARK AVENUE                                                                                  RICHMOND          VA    23221‐1118
MRS SALLY T JONES & MRS CAROL T LANIER JT TEN    3916 PARK AVENUE                                                                                  RICHMOND          VA    23221‐1118
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Name                                            Address1                             Address2             Address3          Address4          City            State Zip

MRS SALLYANNE BROWN CUST STEVEN E BROWN UGMA 88 BARNACLE RD                                                                                   YARMOUTH PORT   MA    02675‐2016
MA
MRS SALLYE ANN HALE                             216 NEW BURLINGTON RD                                                                         WILMINGTON      OH    45177‐9690
MRS SAM RAY CUST MATEJKA RAY UGMA NM            PO BOX 235                                                                                    SOCORRO         NM    87801‐0235
MRS SAM RAY CUST SAM RAY JR UGMA NM             PO BOX 1975                                                                                   FARMINGTON      NM    87499‐1975
MRS SAM RAY CUST TONY RAY UGMA NM               1149 GARFIELD ST                                                                              ENUMCLAW        WA    98022‐2115
MRS SAMANTHA NUSS                               132 CHIPPEWA TRAIL                                                                            MEDFORD LAKES   NJ    08055‐1842
MRS SANDRA B MILLER                             1316 BARTON DR                                                                                FT WASHINGTON   PA    19034‐1612
MRS SANDRA BRESALIER CUST ALAN H BRESALIER UGMA 10233 CAPRI ST                                                                                COOPER CITY     FL    33026‐4637
NY
MRS SANDRA BRESALIER CUST SCOTT M BRESALIER     10 SHELBOURNE LANE                                                                            COMMACK         NY    11725‐2622
UGMA NY
MRS SANDRA CHRZANOWSKI                          ATTN SANDRA L BROWN                  PO BOX 2780                                              ARNOLD          CA    95223‐2780
MRS SANDRA COURTNEY                             291 WASHINGTON ST                                                                             BELMONT         MA    02478‐4505
MRS SANDRA E SANFILIPPO CUST JENNIFER L         703 PARKSIDE AVE                                                                              BUFFALO         NY    14216‐2437
SANFILIPPO UGMA NY
MRS SANDRA H DAUMKE CUST BRAD J DAUMKE UGMA 2448 E LAVENDER LANE                                                                              PHOENIX         AZ    85048‐9000
AZ
MRS SANDRA H DAUMKE CUST BRIAN G DAUMKE UGMA 2448 E LAVENDER LANE                                                                             PHOENIX         AZ    85048‐9000
AZ
MRS SANDRA H DAVIDSON                           180 WOODROW WILSON WAY NW            APT 104                                                  ROME            GA    30165
MRS SANDRA H MARDON CUST SCOTT I MARDON UGMA 7142 LAKESIDE DR                                                                                 SARASOTA        FL    34243‐3843
NY
MRS SANDRA HELEN MORONEY                        4657 E IOWA AVE                                                                               FRESNO          CA    93702‐2549
MRS SANDRA J HALL                               19215 ROLLING HILLS DR                                                                        CULPEPER        VA    22701‐8342
MRS SANDRA J WOODBURN                           10 RIVERBANK ROAD                                                                             IPSWICH         MA    01938‐2304
MRS SANDRA K SMITH & MRS MARGARET E             4112 BOONES GROVE WAY                                                                         LOUISVILLE      KY    40299‐3495
HARRINGTON JT TEN
MRS SANDRA KAPLAN                               225 CUMMINGS AVE                                                                              ELBERON         NJ    07740‐4821
MRS SANDRA L SIEBEN                             809 FORKLAND DR                                                                               RICHMOND        VA    23235‐4913
MRS SANDRA LEE SWAIN                            649 14TH ST                                                                                   ASTORIA         OR    97103‐3923
MRS SANDRA LORDIGYAN                            PO BOX 6493                                                                                   SCOTTSDALE      AZ    85261‐6493
MRS SANDRA MANDELL CUST DAYNA MANDELL UGMA 35 GABRIEL DRIVE                                                                                   MONTVILLE       NJ    07045‐9476
NY
MRS SANDRA MANDELL CUST ERIK MANDELL UGMA NJ 35 GABRIEL DRIVE                                                                                 MONTVILLE       NJ    07045‐9476

MRS SANDRA MANDELL CUST ERIK MANDELL UGMA NY 35 GABRIEL DRIVE                                                                                 MONTVILLE       NJ    07045‐9476

MRS SANDRA O BECKER                             BOX 31                                                                                        PONTE VEDRA     FL    32004‐0031
                                                                                                                                              BEACH
MRS SANDRA P ROBINSON CUST TIMOTHY I ROBINSON   6 BILLINGSGATE DR                                                                             SIMSBURY        CT    06070‐2763
UGMA CT
MRS SANDRA RICH                                 73 BRABB RD                                                                                   OXFORD          MI    48371‐3203
MRS SANDRA SHEREL LANZA                         PO BOX 591                                                                                    MARYSVILLE      CA    95901‐0591
MRS SANDRA TREM                                 618 MANNERING DR                                                                              EASTLAKE        OH    44094
MRS SANDRA VIRKLER                              100 HUNTLEIGH AVE                                                                             FAYETTEVILLE    NY    13066‐2213
MRS SANDRA WELLS                                3201 SKYLINE DR                                                                               DES MOINES      IA    50310‐5041
MRS SANDRA WINTER                               18840 NAUTICAL DRIVE #70                                                                      CORNELIUS       NC    28031‐8064
MRS SARA A STRAIN                               158 HARVEY                                                                                    GRAYSLAKE       IL    60030‐1414
MRS SARA B KULP CUST DALLAS M KULP UGMA NJ      1741 MEADOW BROOK DR                                                                          WINSTON SALEM   NC    27104‐1117

MRS SARA D WILLIAMSON                           1057 TUMBLEWOOD TRAIL                                                                         LAWRENCEVILLE   GA    30044‐3363
MRS SARA FEIGENBAUM                             298 EMERSON LN                                                                                BERKELEY HTS    NJ    07922‐2354
MRS SARA G MAYES                                BOX #909                                                                                      ENNIS           MT    59729‐0909
MRS SARA HAWORTH DAYHOFF                        9315 KNOLL CREST LOOP                                                                         AUSTIN          TX    78759‐7135
MRS SARA HILL SIZEMORE                          7623 WINDWOOD DR                                                                              POWELL          TN    37849‐3363
MRS SARA M CARTER                               PO BOX 492                                                                                    MUNFORD         AL    36268‐0492
MRS SARA M WEISS                                42 WALNUT STREET                                                                              NEWPORT         RI    02840‐1928
MRS SARA SANDERS MICKLE                         3812 WEBB COURT                                                                               COLUMBIA        SC    29204‐1618
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Name                                             Address1                              Address2             Address3          Address4          City              State Zip

MRS SARA T JOYCE CUST KATHLEEN M JOYCE UGMA DE ATTN KATHLEEN M JACOHO                  5 KLINE DR                                               THORNTON          PA    19373‐1111

MRS SARA T WILKERSON                             106 FLEUR‐DE‐LIS DR                                                                            VICKSBURG         MS    39180‐5367
MRS SARA WEST CUST DANIEL WEST UGMA NY           241 HALSEY STREET                                                                              BROOKLYN          NY    11216‐2403
MRS SARA WRIGHT                                  3957 DODSON CHAPEL RD                                                                          HERMITAGE         TN    37076‐3510
MRS SARAH A CLARKE & CLAUDIA TYLER JT TEN        163‐19 130TH AVE                                                                               JAMAICA           NY    11434‐3046
MRS SARAH E HART                                 31 BOSTON ROAD                                                                                 NEPTUNE CITY      NJ    07753‐6703
MRS SARAH ELIZABETH GUILL                        2208 WYOMING                                                                                   BAYTOWN           TX    77520‐6633
MRS SARAH F BOHLEN & PAUL BOHLEN JT TEN          1521 ELDORADO DRIVE                                                                            LAWRENCE          KS    66047‐1611
MRS SARAH FOGEL & HARVEY FOGEL JT TEN            100‐27 ELGAR PL                                                                                BRONX             NY    10475‐5002
MRS SARAH FOGEL & MRS EILEEN RAIDER JT TEN       100‐27 ELGAR PL                                                                                BRONX             NY    10475‐5002
MRS SARAH J LARSON                               712 KNICKERBOCKER DR                                                                           SUNNYVALE         CA    94087
MRS SARAH JANE CROWLEY CUST BRIAN CROWLEY        PO BOX 254                            897 LONGHILL ROAD                                        SCARBOROUGH       NY    10510‐2126
UGMA NY
MRS SARAH K EFREMOFF                             3705 CROYDON DR NW                                                                             CANTON            OH    44718‐3227
MRS SARAH LEE CALI                               5429 GUADELOUPE WAY                                                                            NAPLE             FL    34119‐9580
MRS SARAH M YOUELL                               202 WOODLAND AVE                                                                               LYNCHBURG         VA    24503‐4436
MRS SARAH MARGARET SLOAN                         1404 LASALLE ST                                                                                CHARLOTTE         NC    28216‐4739
MRS SARAH P ROSE                                 1310 NORTH ALL SAINTS CIR                                                                      GREENVILLE        MS    38701
MRS SARAH P WILLIAMS                             4741 ROBBINS ST                                                                                SAN DIEGO         CA    92122‐3036
MRS SARAH S BROOKMYER                            2001 HARRISBURG PIKE                  APT 139CW                                                LANCASTER         PA    17601‐2641
MRS SARAH S GRAY                                 8 WASHINGTON ST                                                                                MARBLEHEAD        MA    01945‐3530
MRS SARAH S WILLIAMS                             403 E SAGUARO LN                                                                               BISBEE            AZ    85603‐6303
MRS SARAH SHADE EHEART                           7454 HUNTERS TRL                                                                               WEST CHESTER      OH    45069‐9557
MRS SARALANE Z HEDDERICH                         19 HARTS HILL PARKWAY                                                                          WHITESBORO        NY    13492‐1633
MRS SARALEE GERSON BRAUN                         400B PARK AVE                                                                                  HIGHLAND PARK     IL    60035‐2629
MRS SARILYN K FOGEL & SHERMAN D FOGEL JT TEN     2850 E CAMELBACK RD                   SUITE 200                                                PHOENIX           AZ    85016‐4316

MRS SAU YUNG WONG                                217 WELLINGTON RD S                                                                            GARDEN CITY       NY    11530‐5518
                                                                                                                                                SOUTH
MRS SEIKO JOHNSON CUST MICHAEL RICHARD JOHNSON 5220 BRITTANY DR S APT 701                                                                       ST PETERSBURG     FL    33715‐1532
UGMA NY
MRS SELINA JOAN WALSH                          304 BROOKSBY VILLAGE DRIVE              UNIT 304                                                 PEABODY           MA    01960‐8583
MRS SELMA F WHITFIELD                          5004 REGENT RD                                                                                   RICHMOND          VA    23230‐2423
MRS SELMA REPAGE                               3 ARROW WOOD LN                                                                                  SAVANNAH          GA    31411
MRS SHAKUN KIRPALANI & BHAGWAN KIRPALANI TEN 1630 BAY DRIVE                                                                                     MIAMI BEACH       FL    33141‐4718
ENT
MRS SHANNON LEE MENGE VICKERS                  428 INDIAN ROCK CIR                                                                              ELIZABETHTOWN     PA    17022‐1388
MRS SHARMAIN R HAYDEN & WAYNE W HAYDEN JT TEN 190 MEANDER WAY                                                                                   SEDONA            AZ    86336‐3153

MRS SHARON A GROSS                               6094 KAREN AVE                                                                                 NEWFANE           NY    14108‐1109
MRS SHARON ANN SHELOR                            1345 E ROSE LN                                                                                 PHOENIX           AZ    85014‐1761
MRS SHARON ANN SINGER                            9054 REVERE RUN                                                                                WEST CHESTER      OH    45069‐3622
MRS SHARON BECKMAN                               9537 CONGRESS PARK                                                                             BROOKFIELD        IL    60513‐2256
MRS SHARON BINTLIFF CUST MISS BROOKE BINTLIFF    52 KIMBERWYCK LN                                                                               EXTON             PA    19341‐3109
UGMA PA
MRS SHARON F RAQUET                              6041 PARK RIDGE DR                                                                             NORTH OLMSTED     OH    44070‐4142
MRS SHARON G PALLADINO                           7657 HIGHLAND DR                                                                               GASPORT           NY    14067‐9265
MRS SHARON HERTZLER                              758 N TROPICAL TRAIL                                                                           MERRITT ISLAND    FL    32953‐6021
MRS SHARON J BELLINA                             5904 W CLEVELAND                                                                               MORTON GROVE      IL    60053‐3322
MRS SHARON K LEKAWSKI                            11118 BARROW LANE                                                                              HOUSTON           TX    77065‐5252
MRS SHARON K LOWE                                10311 CENTURY LANE                                                                             OVERLAND PARK     KS    66215‐2201
MRS SHARON L LINJALA                             4900 BUCKHOUSE LANE                                                                            MISSOULA          MT    59804‐9504
MRS SHARON LYNN MORITZ                           26682 GRANVIA                                                                                  MISSION VIEJO     CA    92691‐5157
MRS SHARON MARYON BROWN                          2635 HAZELWOOD                                                                                 STOCKTON          CA    95207‐1310
MRS SHARON MOSHER CUST EARL L MOSHER JR UGMA     3513 BRISBANE DR                                                                               LANSING           MI    48911‐1307
MI
MRS SHARON ROSE KASBRICK & MISS RACHEL ANN       5270 EASTBROOK CT                                                                              SHELBY TOWNSHIP   MI    48316‐3145
KASBRICK JT TEN
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MRS SHARON WALKER CUST RICHARD NATHANIEL           6 KURT DRIVE                                                                                    FLANDERS          NJ    07836‐9717
WALKER UGMA NJ
MRS SHARON WALLACE SNYDER                          PO BOX 263                                                                                      BLOOMFIELD        MI    48303‐0263
MRS SHARYL J NYE & DAVID G NYE JT TEN              2713 HUNTERWOOD DR                                                                              DECATUR           AL    35603‐5637
MRS SHAU L CHIN & MRS MARIA O CHIN JT TEN          207 ELMIRA ST                                                                                   SAN FRANCISCO     CA    94124‐2209
MRS SHEILA ANN CURLEE                              11538 NOBLEWOOD CREST LN                                                                        HOUSTON           TX    77082‐6811
MRS SHEILA B LUECK                                 113 HILLS CREEK RD                                                                              BLOUNTS CREEK     NC    27814‐9758
MRS SHEILA H DAY                                   1737 MISSION HILLS RD                                                                           NORTHBROOK        IL    60062‐5707
MRS SHEILA HALLAM                                  28926 KING RD                                                                                   ROMULUS           MI    48174‐9448
MRS SHEILA HOFFMAN                                 11749 PALMS BLVD                                                                                LOS ANGELES       CA    90066‐2030
MRS SHEILA JOYCE WEISMAN                           174 SHADOW WOOD DRIVE                                                                           EAST AMHERST      NY    14051‐1736
MRS SHEILA L LANDIS & RICHARD L LANDIS JT TEN      3 GREAT HERON LN                                                                                BROOKFIELD        CT    06804‐1839
MRS SHEILA MARIE FOX & DAVID LEE ELLER JT TEN      1021 OLYMPIA DR                                                                                 ROCHESTER HILLS   MI    48306‐3785
MRS SHEILA R PILIOUNIS                             24 PATRICK DRIVE                      WHITBY ON                              L1R 2L1 CANADA
MRS SHEILA RASHBAUM                                744 CAYUGA LANE                                                                                 FRANKLIN LAKES    NJ    07417‐2202
MRS SHEILA T GEISSLER                              77 PRIMROSE AVE                                                                                 YONKERS           NY    10710‐3703
MRS SHEILA TROPP CUST DAVIS ALLAN TROPP UGMA IN    ATTN DAVID A TROPP                    49/F CITIBANK TOWER                    HONG KONG, CHINA

MRS SHELLIE SCHOENWETTER CUST TODD EVAN           PO BOX 3866                                                                                      CHERRY HILL       NJ    08034‐0598
SCHOENWETTER UGMA NJ
MRS SHEN SHELLENBERGER CUST COURTNEY T FORD U‐ ATTN COURTNEY FORD                        TOURTELLOTTE          1300 PARK BLVD                      CHERRY HILL       NJ    08002
G‐M‐A NJ
MRS SHERRIL L HAYNES                              511 W OCOTILLO RD                                                                                PHOENIX           AZ    85013‐1134
MRS SHERRY B BUHAI                                327 APPALOOSA WAY                                                                                PALM DESERT       CA    92211‐3249
MRS SHERYL GREEN                                  37 BRUNS RD                                                                                      W ALLENHURST      NJ    07711‐1437
MRS SHIGEKO S MC MAHAN                            270 COSKY DR                                                                                     MARINA            CA    93933‐2313
MRS SHIRLEY A CURTISS CUST FORRESTER L MORGAN     3417 FORSYTHIA LANE                                                                              BURTONSVILLE      MD    20866‐1759
UGMA MD
MRS SHIRLEY A JOHNSTON                            865 CENTRAL AVE                        APT M406                                                  NEEDHAM           MA    02492‐1391
MRS SHIRLEY A ROBINSON & LESTER E ROBINSON JT TEN 202 BRYANT LN                                                                                    WILLIAMSBURG      OH    45176‐9548

MRS SHIRLEY B LINDSAY                            115 TEBBETTS RD                                                                                   MARSHFIELD        VT    05658‐8139
MRS SHIRLEY BARRES                               G‐3627 CONCORD ST                                                                                 FLINT             MI    48504‐6514
MRS SHIRLEY BERKOVITZ                            501 LOTUS LN                                                                                      GLENVIEW          IL    60025‐4559
MRS SHIRLEY BLAIR                                311 EAST ST                                                                                       WARREN            PA    16365‐2321
MRS SHIRLEY DEUTSCH CUST LAWRENCE DEUTSCH        3266 SOL VISTA                                                                                    FALLBROOK         CA    92028‐2664
UGMA CA
MRS SHIRLEY E ARNOLD                             317 RETFORD AVE                                                                                   STATEN ISLAND     NY    10312‐6105
MRS SHIRLEY E JOHNSON                            PO BOX 188                                                                                        MILLBURY          MA    01527‐0188
MRS SHIRLEY I GRANAMAN                                                                                                                             SPERRY            IA    52650
MRS SHIRLEY J BANKERT                            PO BOX 47                                                                                         JOHNSBURG         NY    12843‐0047
MRS SHIRLEY J WHITNEY & STEWART A WHITNEY JT TEN 10442 LINWOOD RD                                                                                  PAVILION          NY    14486‐9601

MRS SHIRLEY JEAN HOFFMAN                           3488 SOUTHGATE DR                                                                               FLINT             MI    48507‐3223
MRS SHIRLEY K RANSOM                               9821 STATE RT 365                                                                               HOLLAND PATENT    NY    13354‐4612
MRS SHIRLEY KIRCHNER                               16712‐75TH STREET                                                                               BRISTOL           WI    53104‐9770
MRS SHIRLEY L ZALUD & DONALD J ZALUD JT TEN        35401 HANNA RD                                                                                  WILLOUGHBY        OH    44094‐8425
MRS SHIRLEY LEICHTER CUST JAMES LEICHTER UGMA IL   19 PENTWATER                                                                                    SOUTH             IL    60010‐9332
                                                                                                                                                   BARRINGTON
MRS SHIRLEY LOIS BOEHME                            1811 24TH ST                                                                                    ORANGE            TX    77630‐3106
MRS SHIRLEY M CASON CUST ROBERT D CASON UGMA       1119 RIVER OAKS ROAD                                                                            JACKSONVILLE      FL    32207‐4111
NY
MRS SHIRLEY M CIARLO & ALFONSO P CIARLO JT TEN     PO BOX 1594                                                                                     HOCKESSIN         DE    19707‐5594

MRS SHIRLEY M HAYDEN                               15 STANDISH RD                                                                                  LOCKPORT          NY    14094‐3314
MRS SHIRLEY M KOCH                                 523 DOLPHIN DR W                                                                                HIGHLAND          IL    62249‐1723
MRS SHIRLEY M PATRICK                              4406 1/2 HALEY RD                                                                               LEXINGTON         KY    40516‐9632
MRS SHIRLEY MARSHAK & MISS NANCY MARSHAK JT        1600 AUGUSTA DR                       APT 220                                                   HOUSTON           TX    77057‐2343
TEN
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MRS SHIRLEY MARSHAK & ROBERT MARSHAK JT TEN         1600 AUGUSTA DR                       APT 220                                                   HOUSTON           TX    77057‐2343

MRS SHIRLEY MC COY                                  819 OAK ST                                                                                      CONNERSVILLE      IN    47331‐1356
MRS SHIRLEY MILLER & MISS JOAN C MILLER JT TEN      APT 101                               11685 MONTANA AVE                                         LA                CA    90049‐4632

MRS SHIRLEY R BERGER CUST TOBY E BERGER A MINOR     5220 S W 109 AVENUE                                                                             FORT LAUDERDALE   FL    33328‐4728
U/THE LAWS OF GEORGIA
MRS SHIRLEY R WILIMITIS                             424 WESTBROOK RD                                                                                DAYTON            OH    45415‐2244
MRS SHIRLEY R WOHLWEND CUST JENNIFER CHRISTINE      5509 RHODES                                                                                     ST LOUIS          MO    63109‐3565
WOHLWEND UGMA MO
MRS SHIRLEY ROTHMAN                                 #10                                   144 W 16TH ST                                             NEW YORK          NY    10011‐6262
MRS SHIRLEY SCHREIBMAN                              APT 5E                                2280 BURNETT STREET                                       BROOKLYN          NY    11229‐5869
MRS SHIRLEY U BASSETT                               112 PINECREST DR                                                                                PAWTUCKET         RI    02861‐1524
MRS SHIRLEY WORSEK CUST ALYCE MARIE WORSEK          740 KINGBRIDGE                                                                                  BUFFLO GROVE      IL    60089‐1028
UGMA IL
MRS SHIRLEY WORSEK CUST KAREN WENDY WORSEK          3740 N LAKESHORE UNIT 8B                                                                        CHICAGO           IL    60613‐4202
UGMA IL
MRS SHIRLEY ZIKI                                    975 HOLBROOK CIR                                                                                FORT WALTON       FL    32547‐6733
                                                                                                                                                    BEACH
MRS SHIRLEY ZIMMET                                  70‐20 108TH ST                        APT 12M                                                   FOREST HILLS      NY    11375‐4434
MRS SIDY STAHL                                      84‐53 GOLDINGTON COURT                                                                          MIDDLE VILLAGE    NY    11379‐2430
MRS SIGRID JOHNSON ERICKSON                         406 S PLEASANT                                                                                  GEORGETOWN        OH    45121‐1555
MRS SIGRID WOOLLEY                                  11830 SOPHIA DRIVE                    #3306                                                     TEMPLE TERRACE    FL    33637‐8410
MRS SILVIA FRANZONI CUST STEPHEN FRANZONI UGMA      4574 BRIGHTON LN                                                                                EL PASO           TX    79902‐1264
NY
MRS SILVIA YEE LITT                                 26 WHITEHEAD RD                                                                                 BRIDGEWATER       NJ    08807‐7042
MRS SIU HA HO                                       12367 LARCHMONT AVE                                                                             SARATOGA          CA    95070‐3316
MRS SOLVEIG PERRY                                   C/O MICHELLE MIRELES                  960 ROSEA COURT                                           NAPLES            FL    34104‐4472
MRS SONDRA L DREYSTADT                              38 PAMMYS PATH                                                                                  NORTH EASTON      MA    02356‐2123
MRS SONDRA L DREYSTADT CUST KURT J DREYSTADT        355 BRITTON ST                                                                                  RAYNHAM           MA    02767‐1721
UGMA MA
MRS SONIA MAYER                                     48 MARILYN PL                                                                                   CLIFTON          NJ     07011‐3009
MRS SONIA SANDBERG                                  660 THWAITES PL                                                                                 BRONX            NY     10467‐7921
MRS SONYA VITA GREENE                               30 STONER AVENUE                      APT 3PQ                                                   GREAT NECK       NY     11021‐2117
MRS SOPHIE GREEN                                    APT 10‐E                              510 E 23RD ST                                             NY               NY     10010‐5014
MRS SOPHIE M KROSLAK                                207 ROSE HILL AVE                                                                               NEW ROCHELLE     NY     10804‐3117
MRS SOPHIE P BUREY                                  2440 ATTICA ROAD                                                                                DARIEN CENTER    NY     14040‐9756
MRS STACY RUTER CUST RYAN S RUTER UGMA PA           416 BURROWS RD                                                                                  COUDERSPORT      PA     16915‐8038
MRS STARR E STAUFFER                                785 E PUMPING STATION RD                                                                        QUAKERTOWN       PA     18951‐2573
MRS STELLA BILLICK                                  609 OAK HILL RD                                                                                 MIDDLETOWN       NJ     07748‐3223
MRS STELLA GATENIO                                  C/O S GATENIO                         99 SOUTH PARK AVE                                         ROCKVILLE CENTRE NY     11570‐6145

MRS STELLA GATTI FALCIONE                           617 SANDERLING COURT                                                                            SECAUCUS          NJ    07094‐2221
MRS STELLA J DI VENUTI CUST ALBERT P DI VENUTI JR   4 NECTAR PL                                                                                     NAHANT            MA    01908‐1576
UGMA MA
MRS STELLA KERBAUGH CROWLEY                         833 W LEXINGTON AVE                                                                             DANVILLE          KY    40422‐1222
MRS STELLA LESNIEWSKI & MISS MARIAN A LESNIEWSKI    RR1 BOX 15C                                                                                     UNIONDALE         PA    18470‐9702
JT TEN
MRS STELLA M THORNTON                               3015 WEISS                                                                                      SAGINAW           MI    48602‐3564
MRS STELLA SAWICKI                                  16 WESLEY CT                                                                                    SOUTH ORANGE      NJ    07079‐1442
MRS STELLA SHARPE CUST JOSEPH SHARPE UGMA NJ        3604 WENDEL CT                                                                                  BETHLEHEM         PA    18020‐1300

MRS STELLA TSANG CHOW                               21 CHATHAM RD 8TH FLOOR               KOWLOON                                HONG KONG, CHINA
MRS STEPHANIE GREEN CUST NANCY GREEN U/THE          C/O NANCY GREEN WILSON                301 BUXTON RD                                             FALLS CHURCH      VA    22046‐3619
NEW JERSEY U‐G‐M‐A
MRS STEPHANIE LEGANT PATTESON                       605 SHARON DRIVE                                                                                JOHNSON CITY      TN    37604‐1930
MRS STEPHANIE T WALCHAK & MARK K WALCHAK JT         18050 SOUTH TAMIANI TRAIL             COACH LIGHT MANOR #169                                    FORT MYERS        FL    33908‐4658
TEN
MRS SUE BUYER CUST LISE BUYER UGMA NY               75 GARRISON RD                                                                                  WILLIAMSVILLE     NY    14221‐6927
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MRS SUE CROWE WALTERS                          5230 TOBIN STREET                     APT 406              HALIFAX NS        B3H 1S2 CANADA
MRS SUE ELLEN BENNINGTON                       87 SOMERSET DR                                                                                 DELAWARE           OH    43015‐2838
MRS SUE F BENNETT                              419 CHESAPEAKE DR                                                                              GREAT FALLS        VA    22066‐3902
MRS SUE GAIL CROUCH                            BOX 8                                                                                          LOCKHART           TX    78644‐0008
MRS SUE JO SELLERS ROSE                        2072 ROLFE RD                                                                                  MASON              MI    48854‐9250
MRS SUE N MC COY                               225 EL RIO DR                                                                                  BAKERSFIELD        CA    93309‐2303
MRS SUE R ANDERSON                             14 FOREST DR                                                                                   MIDDLETOWN         NJ    07748‐2708
MRS SUE S NAKAMURA                             166 ESCUELA AVE                                                                                MOUNTAIN VIEW      CA    94040‐1811
MRS SUE SOMMER MAYER CUST SUSAN SOMMER         7 LOCHTYNE CI                                                                                  HOUSTON            TX    77024‐2749
MAYER U/THE TEXASU‐G‐M‐A
MRS SUELLEN BLEN CUST SCOTT BLEN UGMA TN       5835 GARDEN RIVER CV                                                                           MEMPHIS            TN    38120‐2501
MRS SUEMARY HITE DENNEY                        350 H ST                                                                                       CARLISLE           PA    17013‐1300
MRS SUSAN A BRANIGER                           2220 CHIP LN                                                                                   LAKE HAVASU CITY   AZ    86406‐7658

MRS SUSAN A GRAY                               4021 ST IVES CT                                                                                LOUISVILLE         KY    40207‐3813
MRS SUSAN A HODGES                             PO BOX 4384                                                                                    FRISCO             CO    80443‐4384
MRS SUSAN A JOHNSON CUST WALTER J JOHNSON II   PO BOX 4967                                                                                    GREENWICH          CT    06831‐0419
UGMA CT
MRS SUSAN A MILLER                             9706 SELBOURNE LN                                                                              SAN ANTONIO        TX    78251‐4737
MRS SUSAN A PAPE CUST W JOHN PAPE UGMA MI      2937 S WOLFF                                                                                   DENVER             CO    80236‐2012
MRS SUSAN A WHITE                              7 RIVERWAY #7                                                                                  HOUSTON            TX    77056
MRS SUSAN B MAC DONALD                         533 ENTERPRISE DR                                                                              ROHNERT PARK       CA    94928‐2460
MRS SUSAN B PENSONEAU                          212 WESTMORELAND                                                                               COLLINSVILLE       IL    62234‐2960
MRS SUSAN BANE DE MOTTS REPOLA                 5303 CONTINENTAL DR                                                                            BUTTE              MT    59701‐7673
MRS SUSAN BERNARD BRYANT                       399 SEVENTH ST                                                                                 MONTARA            CA    94037
MRS SUSAN BETH MANCE CUST WILLIAM ANDREW       1127 GROVE                                                                                     ROYAL OAK          MI    48067‐1451
MANCE UGMA MI
MRS SUSAN C BRYANT                             221 SLIGH BLVD NE                                                                              GRAND RAPIDS       MI    49505‐3562
MRS SUSAN C LANCHANTIN                         50 BOYLAN LANE                                                                                 BLUE POINT         NY    11715‐2302
MRS SUSAN C NESBITT                            10470 HAMPTON DRIVE                                                                            ANCHORAGE          AK    99516‐1130
MRS SUSAN CHAPNICK                             5201 PROVINCIAL DR                                                                             BLOOMFIELD HILLS   MI    48302‐2534

MRS SUSAN COLQUITT MC KIBBEN                 6305 QUERBES DRIVE                                                                               SHREVEPORT         LA    71106‐2405
MRS SUSAN D HULL CUST BOBBY HULL UGMA CA     579 JEFFERSON DR                                                                                 PALO ALTO          CA    94303‐2834
MRS SUSAN DARCY                              C/O WILD THING WILD WOMAN               4 ELVERTA CIRCLE                                         CHICO              CA    95973‐0938
MRS SUSAN DAY BORDERS                        RD #1 BOX 1224                                                                                   CARBONDALE         PA    18407‐9637
MRS SUSAN E HOADLEY                          205 ANDOVER WAY                                                                                  NASHVILLE          TN    37221‐3005
MRS SUSAN E MCRITCHIE                        1973 PARKER RD                                                                                   HINCKLEY           OH    44233‐9714
MRS SUSAN E SCHALLIOL                        2054 N THORNTON RD SPC 139                                                                       CASA GRANDE        AZ    85222‐7864
MRS SUSAN F CARAHER                          8918 W 102ND ST                                                                                  OVERLAND PARK      KS    66212‐4233
MRS SUSAN FREEDMAN CUST MICHAEL LOUIS        64 RIDGE AVE                                                                                     NEWTON CENTRE      MA    02459‐2535
FREEDMAN UGMA MA
MRS SUSAN G ADAMS                            7 VERVEN ROAD                                                                                    POUGHKEEPSIE       NY    12603‐1722
MRS SUSAN G FRENCH                           4103 LAWNDALE PL                                                                                 GREENSBORO         NC    27455‐1637
MRS SUSAN G SKINNER                          PO BOX 133                                                                                       CHARLESTOWN        WV    25414‐0133
MRS SUSAN GREENBERG CUST ALAN GREENBERG UGMA 8825 VIA BRILLIANTE                                                                              WEST PALM BCH      FL    33411‐6529
NJ
MRS SUSAN HAWKINS BURCH                      25 ANGUS LANE                                                                                    EASTMAN            GA    31023‐7490
MRS SUSAN HECK CUST BRENT ROGER HECK UGMA NJ 16578 E PRENTICE PL                                                                              CENTENNIAL         CO    80015‐4134

MRS SUSAN HIRSCHORN                            800 5TH AVE #2B                                                                                NEW YORK           NY    10021‐7216
MRS SUSAN HOLLOWOOD                            203 FIFTH STREET                                                                               CALIFORNIA         PA    15419‐1144
MRS SUSAN J GANG                               5 VILLAGE RD                                                                                   SYOSSET            NY    11791‐6908
MRS SUSAN JEANNE NORTON WILSON                 426 S CEDARHAVEN WAY                                                                           ANAHEIM HILLS      CA    92807‐3404
MRS SUSAN K TITUS                              117 LAMBERTON ST                                                                               FRANKLIN           PA    16323‐2935
MRS SUSAN KATZ                                 5078 LANSDOWNE DRIVE                                                                           SOLON              OH    44139‐1227
MRS SUSAN L FURZ                               0047 UTE                                                                                       CARBONDALE         CO    81623‐8717
MRS SUSAN L MARONEY                            390 HEIGHTS RD                                                                                 RIDGEWOOD          NJ    07450‐2416
MRS SUSAN L MATHEWS                            50 TEAPOT HILL RD                                                                              WILTON             CT    06897‐1515
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MRS SUSAN LYNN LAMB                           ATTN SUSAN TAYLOR                       412 KARLA COURT                                          NOVATO            CA    94949‐5477
MRS SUSAN M DANKO & GERALD R DANKO JT TEN     1813 N WOODLAWN PARK AVE                                                                         MC HENRY          IL    60050‐1248
MRS SUSAN M KELLEY                            274 PLANTATION ROAD                                                                              HOUSTON           TX    77024‐6218
MRS SUSAN M KRALL                             18 CURLIN LANE                                                                                   ST JAMES          NY    11780‐2131
MRS SUSAN M MORFORD CUST SCOTT ALLAN MORFORD 318 FOX RUN DR                                                                                    VENETIA           PA    15367‐1430
UGMA MI
MRS SUSAN M RESNICK CUST JAMES M RESNICK UGMA BOX 158                                                                                          EASTON            CT    06612‐0158
CT
MRS SUSAN M TRUELSON                          4908 BRYANT AVE N                                                                                MINNEAPOLIS       MN    55430‐3539
MRS SUSAN MAYNARD                             1011 MARION ROAD                                                                                 BUCYRUS           OH    44820‐3162
MRS SUSAN MCMARTIN                            12470‐57A AVE                           SURREY BC                              V3X 2S6 CANADA
MRS SUSAN MORGAN MOOREFIELD                   408 WYNDWOOD DRIVE                                                                               JAMESTOWN         NC    27282‐9724
MRS SUSAN NOWICKI                             4834 TONAWANDA CREEK RD                                                                          NORTH             NY    14120‐9528
                                                                                                                                               TONAWANDA
MRS SUSAN PERELES GARRISON                     9445 N FAIRWAY CIRCLE                                                                           MILWAUKEE         WI    53217‐1316
MRS SUSAN PETERS                               4813 LATTIMER RD                                                                                RALEIGH           NC    27609‐5364
MRS SUSAN PORITZKY CUST DAVID PORITZKY UGMA NY 2275 DALTON DR                                                                                  CORTLANDT MNR     NY    10567‐3214

MRS SUSAN PROCHAZKA CUST JOHN C PROCHAZKA       3525 WASHINGTON AVE                                                                            RACINE            WI    53405‐2933
UGMA WI
MRS SUSAN R SAWYER                              3196 TOWERVIEW DR NE                                                                           ATLANTA           GA    30324‐2549
MRS SUSAN R WILLIAMS CUST JONATHAN MANSFIELD 2613 OCCIDENTAL DR                                                                                VIENNA            VA    22180‐7045
WILLIAMS UGMA MA
MRS SUSAN ROSENGLICK                            ATTN SUSAN R RHODES                   3820 A RIDGELEA DR                                       AUSTIN            TX    78731‐6125
MRS SUSAN S BIDDLE & W BARRY BIDDLE JT TEN      40 OAKWOOD DRIVE                                                                               APALACHIN         NY    13732‐4310
MRS SUSAN S EMERY                               121 SOUTH HILLS RD                                                                             CLANCY            MT    59634‐9808
MRS SUSAN S GORHAM DICKINSON                    14414 CYPRUS POINT                                                                             DALLAS            TX    75234‐2203
MRS SUSAN S KOEPNICK                            956 HWY 51                                                                                     STOUGHTON         WI    53589
MRS SUSAN SHAUGHNESSY CUST RYAN MARK            1429 COLLINGSWOOD AVE                                                                          MARCO ISLAND      FL    34145‐5833
SHAUGHNESSY UNIF GIF MIN ACT FL
MRS SUSAN T CRANDALL                            136 FENNO DRIVE                                                                                ROWLEY            MA    01969‐1004
MRS SUSAN W PILE                                65 ELM ST                                                                                      COHASSET          MA    02025‐1830
MRS SUSAN WARE                                  1223 ARBOR CT                                                                                  MOUNTAIN VIEW     CA    94040‐3907
MRS SUSAN WILLIAMS DUNBAR                       2816 ELLIOTT ST                                                                                ALEXANDRIA        LA    71301‐4904
MRS SUSAN WILSON                                113 BROW ST                                                                                    LIVERPOOL         NY    13088‐5105
MRS SUSAN WRIGHT ARMSTRONG                      12073 NORTH SHORE DRIVE                                                                        HILLSBORO         OH    45133
MRS SUSANNA HOADE ZEMAN & ROY RICHARD ZEMAN 235 LONG ROAD                                                                                      MACEDONIA         OH    44056‐1510
TEN ENT
MRS SUSANNA M ZIEMENDORF                        2629 N 83RD STREET                                                                             WAUWATOSA         WI    53213‐1028
MRS SUSANNAH THOMAS HEFNER                      3104 SHROUT CREEK DRIVE                                                                        BLUE SPRINGS      MO    64015
MRS SUSIE M CIESZKO CUST MISS SUSAN E CIESZKO   ATTN SUSAN CIESZKO PATTERSON          100 MILL POND RD                                         SANFORD           NC    27330‐9335
UGMA NC
MRS SUSIE W PORTTEUS                            2277 NORTH STATE STREET                                                                        CHANDLER          IN    47610‐9106
MRS SUZANNE A PITT                              5000 HIGHWAY 200                                                                               MISSOULA          MT    59802
MRS SUZANNE B MC COY                            6965 ZEEB RD                                                                                   SALINE            MI    48176‐9048
MRS SUZANNE C STANLEY                           78 WINDRUSH BOURNE                                                                             BOWLING GREEN     OH    43402‐9382
MRS SUZANNE CLAIR BRIDE                         700 C COMMONS WAY                                                                              FISH KILL         NY    12524‐1767
MRS SUZANNE E FLAKE CUST STEVEN C FLAKE UGMA MI 2901 CHICAGO RD                                                                                WARREN            MI    48092‐3704

MRS SUZANNE J CLARK                            FOREST LAKE CLUB                       BOX 333 RD 1                                             HAWLEY            PA    18428‐0333
MRS SUZANNE KEIFER                             4511 RIDGELAND DR                                                                               LILBURN           GA    30047‐4347
MRS SUZANNE L LEWIS                            375 CORONA ST                                                                                   DENVER            CO    80218‐3939
MRS SUZANNE LEGUM BARR                         255 COLLEGE CROSS #53                                                                           NORFOLK           VA    23510‐1138
MRS SUZANNE T SCHMIDT                          10 MANSFIELD DRIVE                                                                              CHELMSFORD        MA    01824‐3806
MRS SYBIL RUTH SAMEL                           343 CLARK AVE WEST #808                THORNHILL ON                           L4J 7K5 CANADA
MRS SYDELLE SMITH CUST MATTHEW ADAM SMITH      49 WOODLAND DRIVE                                                                               OYSTER BAY COVE   NY    11771‐4107
UGMA NY
MRS SYDNEY BURNS V TURNBULL                    655 WHITTAKER BLVD W                                                                            HUNTINGTON        WV    25701‐4662
MRS SYLVA ROSENBERG                            C/O LOUIS ROSENBERG                    6850 10TH AVE N APT 107                                  LAKE WORTH        FL    33467‐1441
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MRS SYLVANA SERRAVEZZA                            62 SPRUCE LN                                                                                    LUDLOW             VT    05149‐9646
MRS SYLVIA ANNABEL CUNNINGHAM                     7241 N STATE ROUTE 60 NW                                                                        MC CONNELSVILLE    OH    43756‐9530

MRS SYLVIA C GARGANO                              47 STARLING ST                                                                                  ROCHESTER          NY    14613‐2262
MRS SYLVIA DONITZ                                 400 2ND AVE APT 5F                                                                              NEW YORK           NY    10010
MRS SYLVIA EVANS                                  1 GLEN GARY DRIVE                                                                               MENDHAM            NJ    07945‐3030
MRS SYLVIA M JACOBS                               16 RAMSEY ROAD                                                                                  GREAT NECK         NY    11023‐1650
MRS SYLVIA M LENTON                               12 MCGRIGOR ST                         OSHAWA ON                              L1H 1X7 CANADA
MRS SYLVIA M MUELLER                              3165 NORTH 129TH ST                                                                             BROOKFIELD         WI    53005‐7701
MRS SYLVIA ROSENBLOOD                             8 MAYFAIR PLACE                        HAMILTON ON                            L8S 4G1 CANADA
MRS SYLVIA S PAPPAS CUST PETER E PAPPAS UGMA MI   143 PAKER AVE                                                                                   ONTONAGON          MI    49953‐9743

MRS SYLVIA S STUCINSKI                            1269 RANDOLPH AVE                                                                               SAINT PAUL         MN    55105‐2955
MRS SYLVIA STOUN                                  235 EUSTIS                                                                                      NEWPORT            RI    02840‐3363
MRS SYLVIA WEIDEMANN                              1302 SHAFFER AVE                                                                                ROSELLE            NJ    07203‐2923
MRS SYLVIA WESTON                                 77‐14 113TH ST                                                                                  FOREST HILLS       NY    11375‐7110
MRS TANIA J AGALSOFF                              7503 IRWINGROVE DRIVE                                                                           DOWNEY             CA    90241‐2164
MRS TERESA A AGAR                                 32003 VIEWLAKE LANE                                                                             WESTLAKE VILLAGE   CA    91361‐3621

MRS TERESA C ALFORD                               302 E IOWA AVE                                                                                  BONIFAY            FL    32425‐2210
MRS TERESA CHU                                    18 CRESCENT HOLLOW CT                                                                           RAMSEY             NJ    07446‐2661
MRS TERESA J HOLTZHAUSER                          74 WOODLAND AVE                                                                                 MULLICA HILL       NJ    08062‐9419
MRS TERESA L BEYER                                9802 BRIXTON LANE                                                                               BETHESDA           MD    20817‐1524
MRS TERESA MARGRAF CASEY                          2512 KINGMAN DR                                                                                 WILMINGTON         DE    19810‐3510
MRS TERESA STANDO                                 821 BLOSSOM RD                                                                                  ELMA               NY    14059‐9642
MRS TERI ANN SCHMIDT                              3501 EDISON ROAD N E                                                                            SILVERTON          OR    97381‐9568
MRS TERRECITA E WATKIS                            26 ST REGIS PL                                                                                  HEMPSTEAD          NY    11550‐6640
MRS TERRI R ROSETT & JOSHUA G ROSETT JT TEN       4423 GLEN WAY                                                                                   CLAREMONT          CA    91711‐2122
MRS TERRY S PRICE                                 525 IOLA RD                                                                                     LOUISVILLE         KY    40207‐3661
MRS THEADORA ANN GAINES & RICHARD B GAINES JT     533 GRACE AVE                                                                                   NEWARK             NY    14513‐9146
TEN
MRS THELMA A MARTIN                               244 W MAIN ST                          #B                                                       KAHOKA             MO    63445‐1661
MRS THELMA C HEIT                                 198 HIAWATHA BLVD                                                                               LAKE HIAWATHA      NJ    07034‐2126
MRS THELMA E BAUER CUST DAVID BAUER UGMA OH       958 ONTARIO TR                                                                                  JAMESTOWN          OH    45335‐1429

MRS THELMA E BAUER CUST DEAN W BAUER UGMA OH 254 PURCELL DR                                                                                       XENIA              OH    45385‐1214

MRS THELMA JOHNSON & MISS BONNIE JOANN            1027 N 1ST ST                                                                                   MONTROSE           CO    81401‐3713
JOHNSON JT TEN
MRS THELMA M PICKEN                               5571 LIMABURG CREEK RD                                                                          FLORENCE           KY    41042‐1011
MRS THELMA MARKOWITZ                              27 KIRKLAND DR                                                                                  GREENLAWN          NY    11740‐2135
MRS THELMA PLESSER                                19 WARREN DR                                                                                    SYOSSET            NY    11791‐6330
MRS THELMA S T COOK                               2176 EBENEZER RD                                                                                FENNIMORE          WI    53809‐9722
MRS THELMA TSIROS                                 4205 MAPLE WOODS DR W                                                                           SAGINAW            MI    48603‐9308
MRS THELMA V MELVIN                               17 RAZER DR                                                                                     W FRANKFORT        IL    62896‐1935
MRS THELMA W DAVIS                                805 HEPLER RD                                                                                   RICHMOND           VA    23229‐6821
MRS THEODORA R VANDEFIFER & JAMES C VANDEFIFER    5796 PETERS RD                                                                                  HALE               MI    48739‐9103
JT TEN
MRS THERESA ANN HOLMES                            4122 BISHOP HILL RD                                                                             MARCELLUS          NY    13108‐9613
MRS THERESA BELLIZZI                              PO BOX 565                                                                                      SHEFFIELD          MA    01257‐0565
MRS THERESA BERMAN CUST PHILIP A BERMAN UGMA      BOX 354                                                                                         RIVERDALE          NY    10463‐0354
NY
MRS THERESA C NASSIF                              23 CENTRE ST                                                                                    WINTHROP           MA    02152‐3020
MRS THERESA E ISKRA                               2966 LYNN DRIVE                                                                                 WICKLIFFE          OH    44092‐1420
MRS THERESA J DUNNE                               BOX 6161                                                                                        LONG ISLAND CITY   NY    11106‐0161

MRS THERESA JOSEPH COSTANZA                       1261 CHARLESTON RD                                                                              CHERRY HILL        NJ    08034‐3133
MRS THERESA M ALGER                               1613 BEIRNE AVE NE                                                                              HUNTSVILLE         AL    35801‐2420
MRS THERESA M SHELIGA                             2322 WAYLAND LANE                                                                               NAPERVILLE         IL    60565‐3232
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MRS THERESA S HUME                               73 MAPLEWOOD AVE                                                                                HONEOYE FALLS     NY    14472‐1045
MRS THERESA YEPEZ CUST ALICA L YEPEZ UGMA IL     405 N GARFIELD ST                                                                               LOMBARD           IL    60148‐1756
MRS THERESA YEPEZ CUST DAVID G YEPEZ UGMA IL     5701 W 56TH ST                                                                                  CHICAGO           IL    60638‐2831

MRS THERESE M CHAPMAN CUST NICOLE MILLETTE       106 ROSS CIR                                                                                    OAKLAND           CA    94618‐1912
CHAPMAN UGMA CA
MRS TINA ALTMAN LEES                             2 WESTSPRING WAY                                                                                LUTHERVILLE       MD    21093‐1438
MRS TOBY A GORIN                                 637 HATTERAS RIVER RD                                                                           MYRTLE BEACH      SC    29588‐7453
MRS TOBY C MC GILL                               380 LAGUNA RD                                                                                   PASADENA          CA    91105‐2217
MRS TOBY FISHKIND CUST EMILY ANN FISHKIND UGMA   4240 SAVOIE TRAIL                                                                               WEST BLOOMFIELD   MI    48323‐2541
MI
MRS TOBY GOTTHELF                                100 CIRCLE DR A‐C                                                                               PLANDOME MANOR NY       11030‐1122

MRS TOBY J FISHKIND CUST ADAM MARK FISHKIND    4240 SAVOIE TRAIL                                                                                 WEST BLOOMFIELD MI      48323‐2541
UGMA MI
MRS TOBY L HEILBRUNN CUST ROBERT MATTHEW       28 SHULTIS FARM RD                                                                                BEARSVILLE        NY    12409‐5614
UGMA CT
MRS TOBY NATKIN                                1240 STUDIO LANE                                                                                  RIVERWOODS        IL    60015‐1919
MRS TONI GRUNHUT                               117‐01 PARK LANE S BLDG B                                                                         KEW GARDENS       NY    11418‐1014
MRS TONI MURRAY CUST AARON JAMES MURRAY        221 MELROSE ST                                                                                    ROCHESTER         NY    14619‐1805
UGMA NY
MRS TONI MURRAY CUST JESSICA VINCENTE MURRAY   221 MELROSE STREET                                                                                ROCHESTER         NY    14619‐1805
UGMA NY
MRS TOTSEY G MC MAHAN                          PO BOX 668                                                                                        BELTON            SC    29627‐0668
MRS TOULA ALBRECHT                             102 THE KINGSWAY                         TORONTO ON                             M8X 2T8 CANADA
MRS TRACY ANN CORRIGAN IN TRUST FOR CAILEY     127 WESTVALE DRIVE                       WATERLOO ON                            N2T 1B6 CANADA
REBECCA CORRIGAN
MRS TRAVIS SHAW LONG                           DRAWER M                                                                                          TIVOLI            TX    77990‐0370
MRS TWILLA MARTIN                              630 E CENTER                                                                                      DUNCANVILLE       TX    75116
MRS URSULA HOLZER                              3900 GREYSTONE AVE                       APT 42A                                                  BRONX             NY    10463‐1935
MRS V GWENDOLINE FORRESTER                     1536 GREEN CANYON LANE                                                                            FALLBROOK         CA    92028‐4397
MRS VADA MC AULEY                              3440 N HICKORY RIDGE RD                                                                           HIGHLAND          MI    48357‐2505
MRS VALENTINE D WILSON                         2450‐D E 5TH AVE                                                                                  DENVER            CO    80206‐4245
MRS VALENTINE K LARSON                         3147 KAHIWA PL                                                                                    HONOLULU          HI    96822‐1544
MRS VALERIE E MC CUTCHEN                       17892 N BRIDLE LANE                                                                               SURPISE           AZ    85374‐6202
MRS VALERIE STANDFIELD                         3409 RIVER OAKS DRIVE                                                                             WACO              TX    76712‐9637
MRS VALORIE VEJVODA                            3 BLACKMERS LN                                                                                    PLYMOUTH          MA    02360‐2406
MRS VANDA E BALUKAS CUST LAIMA M BALUKAS U/THE 3501 N COUNTRY CLUB RD                   APT A                                                    TUCSON            AZ    85716‐1268
ILL U‐G‐M‐A
MRS VELLA E MCGUIRE                            315 WINDSOR JUNCTION RD                  WINDSOR JUNCTION NS                    B2T 1G7 CANADA
MRS VELMA A PETERSON                           1085 E GLENGARRY CIR                                                                              BLOOMFIELD        MI    48301‐2214
MRS VELMA E DIECKMANN                          344 COLUMBUS AVE                                                                                  BATESVILLE        IN    47006‐1005
MRS VELMA MAE HOLLYFIELD                       538 20TH ST                                                                                       DUNBAR            WV    25064‐1729
MRS VELMA MITTEN & MARJORIE CREDILLE JT TEN    4082 N 200 W                                                                                      GREENFIELD        IN    46140‐8686

MRS VELVALEA ROEHL                               1264 N SUN CATCHER WAY                                                                          GREEN VALLEY      AZ    85614‐6081
MRS VERA B POLKO & PETER ROBERT POLKO JT TEN     1433 E ANDERSON DR                                                                              PALATINE          IL    60067‐4184

MRS VERA BARBER                                  202‐27 45TH DR                                                                                  BAYSIDE           NY    11361‐3055
MRS VERA CASCARIO RONCO                          133 FRONT ST                                                                                    ROSETO            PA    18013‐1325
MRS VERA DEAN                                    1825 BONFORTE BLVD                                                                              PUEBLO            CO    81001‐1704
MRS VERA R HUGHES & MICHAEL DEAN HUGHES JT TEN   PO BOX 1827                                                                                     ST GEORGE         UT    84771‐1827

MRS VERA RILES                                   5432 HARCO STREET                                                                               LONG BEACH        CA    90808‐1924
MRS VERA T CARLSON                               601 HOLMDEL RD                                                                                  HAZLET            NJ    07730‐1306
MRS VERA TREADWELL CUST KEITH TREADWELL UGMA     112 RIVER PL                                                                                    JACKSON           MS    39211‐3027
AL
MRS VERDA S GIBB                                 3285 WILLOW GLEN DR                                                                             HERNDON           VA    20171‐1917
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Name                                             Address1                              Address2                Address3       Address4          City            State Zip

MRS VERLA F BRUMFIELD & VERNARD G BRUMFIELD JT   400 E 85TH ST APT17D                                                                           NEW YORK        NY    10028‐6307
TEN
MRS VERNA C HILL                                 69 BAY STATE RD                                                                                MELROSE         MA    02176‐1349
MRS VERNA E SMITH & GAYLA J ENDAHL JT TEN        301 OTTAWA STREET                     APT#301                                                  COOPERSVILLE    MI    49404‐1263
MRS VERNA JOYCE OKEEFE                           226 HIGHLAND AVE                                                                               NEPTUNE         NJ    07753‐5758
MRS VERNA L HUGHES                               2608 W BERRIDGE LN                    # C118                                                   PHOENIX         AZ    85017‐2230
MRS VERNA LEE MINK                               37526 ORANGE BLOSSOM LN                                                                        DADE CITY       FL    33525‐0807
MRS VERNA M ZEKAN                                4804 KANAWHA AVE SE                                                                            CHARLESTON      WV    25304‐1904
MRS VERNA MAE REED                               BOX 160 SOC ILO                       KISBEY SK                              S0C 1L0 CANADA
MRS VERNETTA R JOHNSON                           9 GROUSE TRL                                                                                   CHADDS FORD     PA    19317‐9127
MRS VERNITA A HEYMAN                             8311 ELLIS CR DR                                                                               CLARKSTON       MI    48348‐2611
MRS VERONICA M SERRA                             2217 WINDING WAY                                                                               DAVISON         MI    48423‐2042
MRS VERONICA ORLOWSKI & MRS AGNES ZARNOSKI JT    3627 WEST AVE                                                                                  OCEAN CITY      NJ    08226‐1939
TEN
MRS VERSIE M PURVIS & FLOYD PURVIS JT TEN        RR 1 BOX 3445                                                                                  ALAPAHA         GA    31622‐9730
MRS VICKI SMITH MC CULLOUGH                      394 SAINT NICK DRIVE                                                                           MEMPHIS         TN    38117
MRS VICTORIA ARGANA ROSATO                       256 FIELDBORO DRIVE                                                                            LAWRENCEVILLE   NJ    08648‐3914
MRS VICTORIA B PEREZ                             PO BOX 24083                                                                                   EL PASO         TX    79914‐0083
MRS VICTORIA D MUTZ                              23 FISK RD                                                                                     WAYNE           NJ    07470‐3333
MRS VICTORIA H YANGGEN                           3209 TOPPING RD                                                                                MADISON         WI    53705‐1434
MRS VICTORIA M DITAMORE                          287 EAST VILLAGE DR                                                                            WILLIAMSPORT    PA    17702‐8663
MRS VICTORIA TABONE                              TONVIC‐PLOT A‐3                       NEW STR OFF XAGHRA RD   ZABBAR         MALTA
MRS VIOLA HARPER & DELBERT D HARPER JT TEN       526 WALKER BLVD                                                                                MARYVILLE       TN    37803‐5646
MRS VIOLA HECK HANNAH                            120 N COLGATE AVE                                                                              LONGPORT        NJ    08403‐1641
MRS VIOLET EVELYN IRVINE                         RR 1                                  BOWMANVILLE ON                         L1C 3K2 CANADA
MRS VIOLET G LAWRENCE                            730 WESTDALE ST                       OSHAWA ON                              L1J 5B7 CANADA
MRS VIOLET J ROMANN                              86‐60 PALO ALTO ST                                                                             HOLLIS          NY    11423‐1204
MRS VIOLET L GROSCH                              3138 LUCE ROAD                                                                                 FLUSHING        MI    48433‐2358
MRS VIOLET L MCCARTHY                            4520 BELHAVEN FOREST DR                                                                        GASTONIA        NC    28056
MRS VIOLET M CARRINGTON                          126 W HUDSON AVE                                                                               ENGLEWOOD       NJ    07631‐1652
MRS VIOLET MORRISEY                              340 N THIRD AVE                                                                                MORTON          IL    61550
MRS VIRGINIA A DOHERTY                           1608 N COURT ST                                                                                MC HENRY        IL    60050‐4429
MRS VIRGINIA A MUNDY                             27 UNION AVE                                                                                   BALA CYNWYD     PA    19004‐3001
MRS VIRGINIA A PAARLBERG                         398 NE LAUREL OAK WAY                                                                          LEE             FL    32059‐4910
MRS VIRGINIA ANDERSON                            2125 MAIN STREET                      APT 12                                                   NEWINGTON       CT    06111‐4020
MRS VIRGINIA B CROWLEY                           2024 CLARKSON STREET UNIT 704                                                                  DENVER          CO    80205‐5140
MRS VIRGINIA B LA ROCK CUST TRACY RUTH LA ROCK   822 SEWARD ST #3B                                                                              EVANSTON        IL    60202‐2829
UGMA IL
MRS VIRGINIA B WHITENIGHT                        17 BARCHIK RD                                                                                  BENTON          PA    17814‐8811
MRS VIRGINIA C DUGAL                             PO BOX 65                                                                                      CADOTT          WI    54727‐0065
MRS VIRGINIA C FRANK                             300 TANGELO DR                                                                                 CLAIRTON        PA    15025‐3419
MRS VIRGINIA CONNEVEY DALEY                      17778 ACACIA DR                                                                                N FT MYERS      FL    33917‐2015
MRS VIRGINIA DAILY                               405 14TH ST SE                                                                                 AUSTIN          MN    55912‐4239
MRS VIRGINIA DARE SCHNEEMAN                      42 BURGESS RD                                                                                  MONROEVILLE     NJ    08343‐1825
MRS VIRGINIA DIMARIA                             177 RESSIQUE RD                                                                                STORMVILLE      NY    12582‐5740
MRS VIRGINIA E NIX                               18032 LOST TRAIL                                                                               CHAGRIN FALLS   OH    44029‐5840
MRS VIRGINIA F DILLON                            BOX 14                                                                                         BERNARDSVILLE   NJ    07924‐0014
MRS VIRGINIA FRANCIS                             133 CEDAR POINT ROADWAY                                                                        SANDUSKY        OH    44870‐5206
MRS VIRGINIA G BOYER                             118 E 36TH ST                                                                                  ERIE            PA    16504‐1518
MRS VIRGINIA GRAY CARR                           1199 HAYES FOREST DRIVE APT 305A                                                               WINSTON SALEM   NC    27106
MRS VIRGINIA J CHASE                             6802B MULBERRY LANE                   PO BOX 494                                               LOCKPORT        NY    14095‐0494
MRS VIRGINIA L BREESE                            5618 OLDE POST RD                                                                              SYLVANIA        OH    43560‐1116
MRS VIRGINIA L CRAIG                             3535 STUCKY RD                                                                                 BOZEMAN         MT    59718‐9026
MRS VIRGINIA L EBNER                             1494 DUNSTER LANE                                                                              ROCKVILLE       MD    20854‐6119
MRS VIRGINIA L MOSELEY                           3100 SHORE DR                         APT 220                                                  VIRGINIA BCH    VA    23451‐1159
MRS VIRGINIA L RADCLIFF                          289 HIDDEN VALLEY RD                                                                           MORGANTOWN      WV    26501‐7724
MRS VIRGINIA LEAHY                               1711 E WILDBERRY DR                                                                            GLEN VIEW       IL    60025‐1745
MRS VIRGINIA LEE JORDAN                          355 SIERRA DR                                                                                  LEXINGTON       KY    40505‐2037
MRS VIRGINIA M BABCOCK                           PO BOX 354                                                                                     APPOMATTOX      VA    24522‐0354
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Name                                             Address1                            Address2                   Address3              Address4          City             State Zip

MRS VIRGINIA M DAMBERG & JOHN P DAMBERG JT TEN 3795 WOODLAWN PT                                                                                         EVELETH          MN    55734‐1803

MRS VIRGINIA M DIAZ                              1605 OAK ST                                                                                            TOLEDO           OH    43605‐3411
MRS VIRGINIA M FINKLER                           2318 DANA AVE                                                                                          CINCINNATI       OH    45208‐1027
MRS VIRGINIA M KILLILEA                          96 REMINGTON ST                                                                                        LOWELL           MA    01852‐3240
MRS VIRGINIA M KIRKCALDY                         147 W GLENDALE AVE                                                                                     BEDFORD          OH    44146‐3274
MRS VIRGINIA M SMITH                             912 SARA DR                                                                                            SHALIMAR         FL    32579‐1264
MRS VIRGINIA MUHLEMAN TIBBS                      ATT VIRIGNIA MUHLEMAN BRELJE        C/O HENRY WILLIAM BRELJE   1380 N E CHARLES CT                     FAIRVIEW         OR    97024‐2654
MRS VIRGINIA N CLARKE                            41 BIG SPRING RD                                                                                       CALIFON          NJ    07830‐3428
MRS VIRGINIA N SULLIVAN                          504 HENDRY ST                                                                                          BLACKSHEAR       GA    31516‐1029
MRS VIRGINIA P FISHER                            6541 W 3910 S                                                                                          SALT LAKE CTY    UT    84128‐3547
MRS VIRGINIA PEELER COTHRAN                      3641 COUNTRY CLUB CIRCLE                                                                               FORT WORTH       TX    76109‐1058
MRS VIRGINIA R KUKURA & ROBERT ROTACH JT TEN     156 SAWMILL DR                                                                                         PENFIELD         NY    14526‐1036

MRS VIRGINIA R KUKURA & WILLIAM ROTACH JT TEN    156 SAW MILL DR                                                                                        PENFIELD         NY    14526‐1036

MRS VIRGINIA R WETHERILL                       1814 AZALEA DR                                                                                           WILMINGTON       NC    28403
MRS VIRGINIA RASMUSSEN                         12 BRANTWOOD LANE                                                                                        BURLINGTON       MA    01803‐1904
MRS VIRGINIA REILLY                            101 CHERRY ST                                                                                            EDGERTON         WI    53534‐1303
MRS VIRGINIA S CROUTCHER CUST JENNIFER JUNE    ATTN VIRGINIA S ROBERTS               PO BOX 640                                                         LEICESTER        NC    28748‐0640
CROUTCHER UGMA KY
MRS VIRGINIA S HEATH                           2755 ROLLING HILLS DRIVE                                                                                 MONROE           NC    28110‐0426
MRS VIRGINIA S PEERY                           885 PEBBLE BROOK LANE                                                                                    EAST LANSING     MI    48823‐2163
MRS VIRGINIA SEWELL                            1751 RIVER BLUFF VW                                                                                      DULUTH           GA    30097‐8122
MRS VIRGINIA SHUFORD YATES                     PO BOX 2128                                                                                              BLOWING ROCK     NC    28605‐2128
MRS VIRGINIA T LIAO                            1427 ARLINGTON BLVD                                                                                      EL CERRITO       CA    94530‐2001
MRS VIRGINIA W CLICK                           3503 DECATUR CT                                                                                          LOUISVILLE       KY    40218‐2407
MRS VISA D STEWART                             2945 OZARK RD                                                                                            CHATTANOOGA      TN    37415‐5909
MRS VIVIAN G JARRETT                           8919 PARK RD                          APT HC                                                             CHARLOTTE        NC    28210‐8646
MRS VIVIAN LEBETKIN                            148 KINDERKAMACK RD                   APT 2                                                              WESTWOOD         NJ    07675‐2256
MRS VIVIAN M HUDDLESTON                        307 DORIS COURT                                                                                          ENGLEWOOD        OH    45322‐2421
MRS VIVIANA ARRINGTON                          241 SHORE DRIVE EAST                                                                                     COCONUT GROVE    FL    33133‐2623
MRS VIVIENNE LONG MC CAIN                      719 W PONCE DE LEON AVE                                                                                  DECATUR          GA    30030‐2955
MRS W W MC DOWELL                              302 GLENMORE ST                                                                                          CORPUS CHRISTI   TX    78412‐2725
MRS WANDA BYCENSKI                             688 BOSTON NECK RD                                                                                       SUFFIELD         CT    06078‐2312
MRS WANDA G KREPS & THOMAS WALTER KREPS JT TEN 37406 STONEGATE CR                                                                                       CLINTON TOWNSHIP MI    48036‐2964

MRS WANDA LEE CARROLL                            10808 SOUTH QUEBEC AVENUE                                                                              TULSA            OK    74137‐6817
MRS WANDA METZEL                                 775 KENNESAW                                                                                           BIRMINGHAM       MI    48009‐5794
MRS WANDA SELENGOWSKI & DENNIS SELENGOWSKI JT 28338 CAMPBELL DR                                                                                         WARREN           MI    48093‐4958
TEN
MRS WANDA SELENGOWSKI & MITCHELL SELENGOWSKI 28338 CAMPBELL DR                                                                                          WARREN           MI    48093‐4958
JT TEN
MRS WANDA SELENGOWSKI & STANLEY J SELENGOWSKI 28338 CAMPBELL DR                                                                                         WARREN           MI    48093‐4958
JT TEN
MRS WANDA SELENGOWSKI CUST CINDY SELENGOWSKI 28338 CAMPBELL DR                                                                                          WARREN           MI    48093‐4958
UGMA MI
MRS WEN‐CHING GUALTIERI CUST JENNIFER GUALTIERI 178 BAYWIND DRIVE                                                                                       NICEVILLE        FL    32578‐4800
UGMA NJ
MRS WENDY ARGENT‐BELCHER                         55 SENEY DR                                                                                            BERNARDSVILLE    NJ    07924
MRS WENDY KASSEL LEWISON                         PLANETARIUM STATION                 PO BOX 915                                                         NEW YORK         NY    10024‐0546
MRS WENDY MESSINA                                2652 TURNPIKE RD                                                                                       HORSE SHOE       NC    28742
MRS WENDY R KIXMILLER CUST KATHERINE T KIXMILLER 1171 VALPARISO AVE                                                                                     MENLO PARK       CA    94025‐4412
UGMA CA
MRS WENDY S WAHL CUST BRIAN ROBERT WAHL UGMA 6362 CHESTNUT PKY                                                                                          FLOWERY BRANCH   GA    30542‐3871
OH
MRS WENDY S WAHL CUST DOUGLAS TIMOTHY WAHL 3275 ERIE ST                                                                                                 SAN DIEGO        CA    92115
UGMA OH
MRS WENDY T FORD                                 PO BOX 1283                                                                                            WALDOBORO        ME    04572‐1283
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MRS WERA SEAMENS                                43‐48 158TH ST                                                                                       FLUSHING          NY    11358‐3142
MRS WILLA K DEMPSTER                            3744 DARYL DR                                                                                        LANDISVILLE       PA    17538‐1514
MRS WILLIE MAE POSTON                           9165 S MANN RD                                                                                       TIPP CITY         OH    45371‐8777
MRS WILLIE MAE RUTLEDGE                         5725 BONNEVILLE LN                                                                                   EL PASO           TX    79912‐4101
MRS WILLIE RHODES JOYNER                        1015 FOX HUNT LN APT A                                                                               RALEIGH           NC    27615‐5328
MRS WILMA L COWAN                               PO BOX 9191                                                                                          RAPID CITY        SD    57709‐9191
MRS WILMA M OCONNELL                            APT 132                                 RIDGEVIEW COMMONS      975 W SEMINARY ST                     RICHLAND CENTER   WI    53581‐2054

MRS WILMA RIGHTER                               1512 CORY DR                                                                                         DAYTON            OH    45406‐5913
MRS WILMA SCHORR                                3995 OVERLAND AVENUE                    APT 231                                                      CULVER CITY       CA    90232‐3722
MRS WILMA STACK                                 703 WYOMING AVE                                                                                      WYOMING           PA    18644‐1810
MRS WILMA WHITE                                 350 NW 52ND ST                                                                                       FORT LAUDERDALE   FL    33309‐3229

MRS WINIFRED COSTLOW                            4804 ROSWELL RD                                                                                      ATLANTA           GA    30342‐2606
MRS WINIFRED J MARTIN                           28219 ELLA RD                                                                                        PALOS VERDES      CA    90275‐3216
                                                                                                                                                     PENIN
MRS WINIFRED M SCHMEDTJE CUST LAURA L           5042 HAYNES COURT                                                                                    INDIANAPOLIS      IN    46250‐2517
SCHMEDTJE UGMA MA
MRS WINIFRED M STAUDENMEIER & LOUIS J           1137 RACE ST                                                                                         ASHLAND           PA    17921‐1224
STAUDENMEIER TEN ENT
MRS WINIFRED R GOODING CUST CHRISTOPHER         BOX 1025                                                                                             PORT WASHINGTON NY      11050‐0204
GOODING UGMA NY
MRS WINIFRED R GOODING CUST TIMOTHY GOODING     BOX 1025                                                                                             PORT WASHINGTON NY      11050‐0204
UGMA NY
MRS WINIFRED R MC DANIEL                        424 E NORTH ST                                                                                       DARLINGTON        WI    53530‐1172
MRS WINONA MARGUERITE KELLY & WILLIAM T KELLY   483 WOLF RIDGE CT                                                                                    ADRIAN            MI    49221‐9188
JT TEN
MRS XEMA HAMILTON                               C/O XEMA B DAVIS                        27123 KINDLEWOOD LN    BONITA SPRING                         BONITA SPGS       FL    34134‐4372
MRS YETTA F COWEN                               13 TALLMAN LN                                                                                        SOMERSET          NJ    08873‐7263
MRS YETTA HARLIB                                C/O SCHMERZLER                          THE GLEN                                                     WESTPORT          CT    06880
MRS YOLANDA D MALLERY                           95 BEEKMAN AVE                          APT 121‐J                                                    NORTH             NY    10591‐2524
                                                                                                                                                     TARRYTOWN
MRS YOLANDA FERENCZY                            110 UNIVERSITY DR                                                                                    GREENSBURG        PA    15601‐5847
MRS YOLANDA VALDEZ SMITH                        3100 RICHMOND                                                                                        EL PASO           TX    79930‐4418
MRS YVONNE D BICE                               C/O YVONNE D MANNING                    3156 FEATHERSTONE DR                                         BURLINGTON        KY    41005‐9589
MRS YVONNE E ABNER                              1105 EAST SANDY LAKE ROAD                                                                            COPPELL           TX    75019‐3114
MRS YVONNE M HAMILTON                           16852 MONTE VISTA                                                                                    DETROIT           MI    48221‐2835
MRS YVONNE M SETTENS                            8 BEECHWOOD CIR                                                                                      WAPPINGERS FL     NY    12590‐4953
MRS ZITA M GROSSKOPF                            2446 NORTH MEADOWCROFT AVE                                                                           PITTSBURGH        PA    15216‐2707
MRS ZOBEIDA MONZON                              1350 S W 122ND AVE #217                                                                              MIAMI             FL    33184‐2863
MRS ZOE C MOSHOVITIS                            5113 CAPE COD COURT                                                                                  BETHESDA          MD    20816‐2907
MRS ZOE G TRIANTAFILLES                         304 NEWTONVILLE AVENUE                                                                               NEWTONVILLE       MA    02460‐2012
MRS ZOETTE M TREASTER                           10355 SPIVA ROAD                                                                                     SACRAMENTO        CA    95829‐9435
MRS ZOLA M KISSINGER                            4706 WESTERLY CT                                                                                     OCEANSIDE         CA    92056‐3001
MS CAROL B KEHLER                               1532 PERKIOMEN AVE                                                                                   READING           PA    19602‐2221
MS CAROL D SIMONEAU                             BOX 1291                                                                                             STOWE             VT    05672‐1291
MS KATHLEEN KELLY & MR EDWARD KELLY JT TEN      4000 MASSACHUSETTS AVE NW               APT# 1622                                                    WASHINGTON        DC    20016‐5138
MT PLEASANT BAPTIST CHURCH                      6341 MANN RD                                                                                         INDIANAPOLIS      IN    46221‐4620
MUDASIR O AROGUNDADE                            4370 N 152ND DR                                                                                      GOODYEAR          AZ    85395‐8384
MUHAMMAD A ALI                                  881 BRANDON AVE                                                                                      JACKSON           MS    39209‐6235
MUHAMMAD A MUSA                                 37 S MATHISON STREET                                                                                 DAYTON            OH    45417‐2527
MUHAMMAD ABDUL SALAAM                           548 DOVER ST                            APT 3                                                        MOUNT MORRIS      MI    48458‐1561
MUHAMMAD L BAIG                                 44400 MIDWAY                                                                                         NOVI              MI    48375‐3946
MUIR C FERGUSON                                 19 WYNKOOP CT                                                                                        BETHESDA          MD    20817‐5936
MUKESH BAGGA & NAMRATA BAGGA JT TEN             23 HIGHMONT DR                                                                                       W WINDSOR         NJ    08550‐3522
MUKESH C PATEL                                  3620 CRAIN ST                                                                                        SKOKIE            IL    60076‐2351
MUKESH K SAPARIA                                47112 WARM SPRINGS BLVD                 UNIT 312                                                     FREEMONT          CA    94539‐7816
MUKTA S HENDI & SHIVAKUMAR B HENDI JT TEN       3 CHAMBLY CT                                                                                         NEWARK            DE    19702‐4232
MULCA RAMBO JR                                  430 LORENZ AVENUE                                                                                    DAYTON            OH    45417‐2340
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MULCAHY MEDICAL BLDG‐LTD                     1800 SULLIVAN ST STE 603                                                                          DALY CITY       CA    94015‐2226
MUMFORD B BRIGMAN                            161 SEABIRD LN                                                                                    SNEADS FERRY    NC    28460‐9789
MUNE Y LOUIE & MRS ANNA G LOUIE JT TEN       134 NORTHEAST 86TH                                                                                PORTLAND        OR    97220‐5907
MUNIR A KARIM                                9618 IDLEWOOD DR                                                                                  BROOKLYN        OH    44144‐3121
MUNRO S ROSS CUST LAURA SUE ROSS U/THE NEW   ATTN LAURA BORETZ                        28 SCHUERMAN TER                                         WARREN          NJ    07059‐7154
YORK U‐G‐M‐A
MURAL J BROWN                                6214 SOUTH TULIP ST                                                                               ANDERSON        IN    46013‐9769
MURASA SARGIS                                4157 CHERYL DRIVE                                                                                 FLINT           MI    48506‐1405
MURDEEN BARLOW CUST SHELLY LYNNE BARLOW      4670 CINEMA AVE NE                                                                                GRAND RAPIDS    MI    49525‐6861
UGMA MI
MURDEEN P BARLOW CUST EUGENE GREGORY BARLOW 79 SUMMER STREET                                                                                   HINGHAM         MA    02043‐1963
UGMA MI
MURDOCK J MAC KENZIE JR                      80 OLD SUDBURY RD                                                                                 LINCOLN         MA    01773‐4805
MURDOCK MC ARTHUR                                                                                                                              CARSONVILLE     MI    48419
MURDOCK W RASLICH                            1127 WINTERGREEN ST                                                                               EAST TAWAS      MI    48730‐9537
MUREL K COHOON                               19030 CARTER RD                                                                                   HILLMAN         MI    49746‐8717
MURIEL A BUONO TR BUONO TRUST UA 11/01/89    501 MONTE VISTA RD                                                                                ARCADIA         CA    91007‐6062
MURIEL A MACKINTOSH                          1 FLINTLOCK RD                                                                                    NORWALK         CT    06850‐4425
MURIEL A MAXFIELD                            141 BERN VIS                                                                                      SAUTE NACOCHE   GA    30571‐3551
MURIEL A MENIER                              PO BOX 829                                                                                        HIGHLAND        MI    48356
MURIEL A REYNOLDS TR UW ROBERT P REYNOLDS    94199 W HERITAGE HILLS                                                                            NORTH BEND      OR    97457
MURIEL A SMITH                               15165 ARTESIAN                                                                                    DETROIT         MI    48223‐2282
MURIEL A SPILL                               3241 ALTA ARDEN EXPWY                    UNIT 309                                                 SACRAMENTO      CA    95825‐2174
MURIEL ALVINIA SEELEY                        2100 E CRANBERRY LAKE RD                                                                          HARRISON        MI    48625‐9602
MURIEL ANN REDMOND TR UA 08/05/92 MURIEL ANN 1202 HEARTLAND RD RM 204                                                                          SAINT JOSEPH    MO    64506‐3265
REDMOND TRUST
MURIEL B JOHNSON                             304 SOUTH BRIXTON RD                                                                              GARDEN CITY     NY    11530‐5328
MURIEL BERMAN                                3130 IRWIN AVE                                                                                    BRONX           NY    10463‐3827
MURIEL BOWLES PETERSEN                       14 CLAIRMONT ROAD                                                                                 CLIFTON         NJ    07012‐1417
MURIEL BUTLER & BARBARA JUNE HOLLOWAY JT TEN 125 HEATHER TERRACE 256                                                                           APTOS           CA    95003‐3825

MURIEL C GATES                                   3507 PINKNEY RD                                                                               BALTIMORE       MD    21215‐3755
MURIEL C LERNER                                  734 SUNTREE DR                                                                                WESTERVILLE     OH    43081‐5015
MURIEL D HUSKEY                                  437 AUBURN RD                                                                                 PILESGROVE      NJ    08098‐2611
MURIEL D MILLER                                  4035 CONSAUL RD                                                                               SCHENECTADY     NY    12304‐2417
MURIEL E CLARK & GREGORY M CLARK JT TEN          1614 ALLENDALE                                                                                OWOSSO          MI    48867‐3806
MURIEL E SHAFFER                                 APT 201A                             174 SUMMIT AVE                                           SUMMIT          NJ    07901‐2981
MURIEL EBLING                                    3 HOBART CT                                                                                   ROCHELLE PARK   NJ    07662‐3610
MURIEL FREEDMAN & JEFFREY FREEDMAN & LISA        800 OCEAN PARKWAY                                                                             BROOKLYN        NY    11230‐2185
FREEDMAN JT TEN
MURIEL G RUONAVAR                                1109 W QUINCY ST                                                                              HANCOCK         MI    49930
MURIEL GRADE                                     #5H                                  3530 PIEDMONT RD NE                                      ATLANTA         GA    30305‐1525
MURIEL HOWARD                                    2770 PLEASANT HILL RD                APT 234                                                  PLEASANT HILL   CA    94523‐2047
MURIEL I SMITH & PHILIP J SMITH JT TEN           1550 S HIGHLAND AVE                  STE B                                                    CLEARWATER      FL    33756‐2353
MURIEL J BUNCH & ANDREA NAGY JT TEN              23801 MARSHALL                                                                                DEARBORN        MI    48124
MURIEL J ELWELL                                  1095 LAKEVIEW                                                                                 WATERFORD       MI    48328‐3820
MURIEL J HAYGOOD                                 711 KRYSTAL CREEK CT                                                                          FLUSHING        MI    48433‐2191
MURIEL J HUNTER TR UA 06/14/88 MURIEL J HUNTER   1572 BONAIR ST                                                                                CLEARWATER      FL    33755‐3503
TRUST
MURIEL J JOHNSON                                 16254 FAIRFIELD                                                                               DETROIT         MI    48221‐3072
MURIEL J NEIDICH                                 4 LEELAND COURT                                                                               NEW CITY        NY    10956‐4906
MURIEL J ROGAN                                   103 SHARROTTS RD                                                                              STATEN ISLAND   NY    10309‐1904
MURIEL J SMITH TR JEROME H SMITH FAMILY TRUST UA 160 METCALF AVE                                                                               PRIMGHAR        IA    51245‐1042
6/5/01
MURIEL K SALOMON CUST CHRISTOPHER DIETRICH       270 CONCORD ST                                                                                NEW HAVEN       CT    06512‐3932
MACCIO UGMA CT
MURIEL KAPLAN                                    87‐19 CHEVY CHASE STREET                                                                      JAMAICA         NY    11432‐2442
MURIEL KOBY CUST RICHARD HARRIS KOBY U/THE NEW 36 SUTTON PLACE S #9D                                                                           NEW YORK        NY    10022‐4166
YORK U‐G‐M‐A
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MURIEL KRESSIN                                    109 RIVERVIEW DR                                                                                WATERFORD        WI    53185‐4223
MURIEL L DAVIS                                    1947 SIOUX CITY CT                                                                              HENDERSON        NV    89052‐7043
MURIEL L WALKER                                   23788 COTTAGE TRL                                                                               OLMSTED FALLS    OH    44138‐3546
MURIEL M ANDRIES                                  C/O E P ANDRIES                        907 SQUIRE LANE                                          ABERDEEN         SD    57401‐7652
MURIEL M BAKER                                    6300 STEVENSON AVE                     APT 710                                                  ALEXANDRIA       VA    22304‐3572
MURIEL M BARTLETT & JOHN W BARTLETT JT TEN        2485 LONG POINT DR                                                                              HOUGHTON LAKE    MI    48629‐9461
MURIEL M HOLBROOK                                 735 WEST ALKALINE SPRINGS ROAD                                                                  VANDALIA         OH    45377‐1510
MURIEL M MC CALLUM                                43 FOSTER RD                                                                                    HOPEWELL JCT     NY    12533‐6123
MURIEL M MC CALLUM                                43 FOSTER RD                                                                                    HOPEWELL JCT     NY    12533‐6123
MURIEL M MOSYCHUK                                 23 ROCKRIDGE RD                                                                                 ATKINSON         NH    03811
MURIEL M WIEMER                                   27 CORAN CIR                                                                                    ROCHESTER        NY    14616
MURIEL M WOOD & THOMAS H WOOD TEN COM             6048 FOX HILL DR                                                                                LONGMONT         CO    80501‐5250
MURIEL MEEHAN                                     325 SAW MILL RD                                                                                 NORTH SCITUATE   RI    02857‐2952
MURIEL NOLER                                      25117 PIERCE                                                                                    SOUTHFIELD       MI    48075‐2019
MURIEL O LOBB & DANIEL E LOBB & RONALD C LOBB &   1156 CHAMPAIGN                                                                                  LINCOLN PARK     MI    48146‐2415
JEANNE O HOGGE JT TEN
MURIEL O MAXWELL                                  5100 JOHN D RYAN BLVD #336                                                                      SAN ANTONIO      TX    78245‐3534
MURIEL P COFER                                    7313 UNIVERSITY DR                                                                              SHREVEPORT       LA    71105‐5027
MURIEL P CRAVEN                                   1912 MARSH RD                          APT 143                                                  WILMINGTON       DE    19810‐3960
MURIEL P SHAMUS TR UA 04/20/83 MURIEL P SHAMUS    21780 KNUDSON                                                                                   GROSE ILE        MI    48138‐1346
TRUST
MURIEL P WEBER                                    2447 N WILLIAMSTON RD                                                                           WILLIAMSTON     MI     48895‐9462
MURIEL PALITZ                                     895 PARK AVENUE                                                                                 NEW YORK        NY     10075
MURIEL R FLOOD                                    11 NEWPORT AVE                                                                                  NORTH KINGSTOWN RI     02852‐5834

MURIEL R JARRETT                                  9192 WHITCOMB                                                                                   DETROIT          MI    48228‐2216
MURIEL R MERSEREAU                                427 SAND DR                                                                                     GRAND HAVEN      MI    49417‐1769
MURIEL S SAMBORSKI TOD JOSEPH ACCUMANNO           89 A MOLLY PITCHER LANE                CON 005                                                  YORKTOWN         NY    10598‐1516
                                                                                                                                                  HEIGHTS
MURIEL SETALA & CHARLES A SETALA JT TEN           178 MINNESOTA AVE                                                                               ROSEVILLE        MN    55113
MURIEL STONE                                      816 E PACIFIC                                                                                   INDEPENDENCE     MO    64050‐4640
MURIEL STOVER                                     9450 SESH RD                                                                                    CLARENCE CTR     NY    14032‐9696
MURIEL T AUSSEM                                   20 ELIZABETH AVE                                                                                ARLINGTON        NJ    07032‐1825
MURIEL T HOCHEDLINGER                             35 STEWART PLACE APT 303                                                                        MOUNT KISCO      NY    10549
MURIEL V WELLMAN                                  5333 NORTH SHERIDAN RD                 APT 9‐F                                                  CHICAGO          IL    60640‐7309
MURIEL VOSE KIBBEY                                8 STANTON CIR                                                                                   PINEHURST        NC    28374‐6724
MURL D HEAD                                       PO BOX 44                                                                                       SHARPSVILLE      IN    46068
MURL E HUFFMAN                                    6531 OCALA CT                                                                                   CENTERVILLE      OH    45459‐1941
MURL J THOMAS                                     9266 E ST CHARLES                                                                               WHEELER          MI    48662‐9514
MURLE BILLINGS                                    7738 N WHEELER                                                                                  WHEELER          MI    48662‐9758
MURLE E LASSMAN                                   3101 S MONROE AVE                                                                               JOPLIN           MO    64804‐1452
MURLIDHAR PRASAD                                  4091 JACQUELYNN COURT                                                                           OAKLAND TWP      MI    48306‐4649
MURLIDHAR PRASAD & JYOTI PRASAD JT TEN            4091 JACQUELYNN CT                                                                              OAKLAND TWP      MI    48306‐4649
MURNANE G BANNISTER & PAULINE A BANNISTER &       8139 NORTH 41TH DRIVE                                                                           PHOENIX          AZ    85051‐5702
SANDRA L BARBER JT TEN
MURNANE G BANNISTER & PAULINE A BANNISTER &       8139 NORTH 41TH DRIVE                                                                           PHOENIX          AZ    85051‐5702
SUSAN H BOLLE JT TEN
MURNEY K BELL                                     739 CASTLE RD                                                                                   FOSTORIA         MI    48435‐9604
MURPHY EWING                                      11881 LAKE POINT                                                                                DETROIT          MI    48224‐1103
MURPHY J WATERS                                   194 CLARKS BRIDGE RD                                                                            GAINESVILLE      GA    30501‐1402
MURPHY L BESHEARS                                 1350 NEEL SCHOOL RD                                                                             DANVILLE         AL    35619‐6138
MURPHY ROGERS JR                                  1807 DONALD                                                                                     FLINT            MI    48505‐4626
MURRAY A DUNCAN JR                                5944 BRIGHTON LAKE RD                                                                           BRIGHTON         MI    48116‐1700
MURRAY A GILBERT                                  7550 NE 125TH ROAD                                                                              LOWRY CITY       MO    64763‐9745
MURRAY A NAIMAN                                   2165 CHATTERTON AVE APT 9B                                                                      BRONX            NY    10472‐6231
MURRAY APPEL & MRS ANITA G APPEL JT TEN           3050 CLUBHOUSE RD                                                                               MERRICK          NY    11566‐4809
MURRAY B RAMAGE                                   33 E NEW YORK AVE                                                                               PONTIAC          MI    48340‐1248
MURRAY BURNSTINE                                  21 FRANCES ST                                                                                   MELROSE          MA    02176‐4515
MURRAY BUTLER & JONATHAN BUTLER JT TEN            1818 WILSON AVE                                                                                 NORTH MERRICK    NY    11566‐1229
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Name                                            Address1                               Address2                     Address3   Address4          City              State Zip

MURRAY C GREEN                                7734 NICOLE DR                                                                                     SOUTH BRANCH      MI    48761‐9608
MURRAY CHAPPLE                                665 FAR HILLS AVE                                                                                  DAYTON            OH    45419‐3842
MURRAY D MAJO                                 29939 COUNTY ROUTE 20                                                                              THERESA           NY    13691‐2288
MURRAY DAVID RUCKER JR                        1800 EVELYN ST                                                                                     CAYCE             SC    29033‐2008
MURRAY DOUGLAS AINSWORTH                      4952 WILDNER RD                                                                                    UNIONVILLE        MI    48767‐9441
MURRAY E REMER & MRS JO ANN N REMER JT TEN    30260 SOUTHFIELD #158                                                                              SO                MI    48076‐1310
MURRAY E ROOD                                 SONRICKER ROAD                                                                                     ATTICA            NY    14011
MURRAY E WEAVER                               8401 COUNTY ROAD 15                                                                                ANGELICA          NY    14709‐8793
MURRAY ESLER                                  BOX 208                                  ST NORBERT MB                           R3U 1L6 CANADA
MURRAY GINSBURG CUST AARON BENJAMIN GINSBURG 13627 DEERING BAY DR                                                                                CORAL GABLES      FL    33158
UTMA FL
MURRAY GINSBURG CUST BONNIE NICOLE GINSBURG   13627 DEERING BAY DR                                                                               CORAL GABLES      FL    33158
UTMA FL
MURRAY GINSBURG CUST DANIEL ISAAC GINSBURG    13627 DEERING BAY DR                                                                               CORAL GABLES      FL    33158
UTMA FL
MURRAY GINSBURG CUST JASON HARRIS GINSBURG    13627 DEERING BAY DR                                                                               CORAL GABLES      FL    33158
UTMA FL
MURRAY GINSBURG CUST MANDI ROBIN GINSBURG     13627 DEERING BAY DR                                                                               CORAL GABLES      FL    33158
UTMA FL
MURRAY GREENBERG & MRS MARIE GREENBERG JT TEN 11 ROLLING GREEN LN                                                                                ELMA              NY    14059

MURRAY H DODD                                   C/O JOYCE M DODD                       1020 HARDING ST                                           JANESVILLE        WI    53545‐1616
MURRAY H WHITE & DARLENE L WHITE JT TEN         1204 ALDRIN ROAD                                                                                 ROCKTON           IL    61072‐2855
MURRAY HILL HOUSE INC                           C/O ELLIS E GOLUB                      202 DRAKES DRUM DR                                        BRYN MAWR         PA    19010‐1129
MURRAY HOCHBERG & SANDRA HOCHBERG JT TEN        1182 EAST 10TH STREET                                                                            BROOKLYN          NY    11230‐4706

MURRAY HOFFMAN                              3592 SUMMER DR                                                                                       WANTAGH           NY    11793‐2728
MURRAY HOROWITZ CUST DAVID HOROWITZ UGMA NY BEACH POINT                                2660 SOUTH OCEAN BOULEVARD                                PALM BEACH        FL    33480‐5487

MURRAY I HUFFINES                               106 HENRIETTA DR                                                                                 LADSON            SC    29456‐5410
MURRAY I KLIER                                  2710 AVE I                                                                                       BROOKLYN          NY    11210‐2929
MURRAY J ALLEN & MARY A ALLEN JT TEN            72 PARLIAMENT CIR                                                                                ROCHESTER         NY    14616‐1669
MURRAY J BELMAN                                 3711 FORDHAM ROAD NW                                                                             WASHINGTON        DC    20016‐1933
MURRAY J LEVY                                   301 EAST 21ST ST                                                                                 NEW YORK          NY    10010‐6534
MURRAY L RHODES & SHARON C RHODES JT TEN        1201 NORTH 22ND STREET                                                                           KANSAS CITY       KS    66102‐2653
MURRAY LAWRENCE WILSON                          7678 BLUFF RD                                                                                    MILLINGTON        TN    38053‐5002
MURRAY LEIBOWITZ TOD APOLLONIA RAYNOR SUBJECT   113 TURTLE CREEK RD APT 7                                                                        CHARLOTTESVLE     VA    22901
TO STA TOD RULES
MURRAY M SMITH                                  50 WATERBURY CRES                      PORT PERRY ON                           L9L 1R9 CANADA
MURRAY M SMITH                                  50 WATERBURY CRES                      PORT PERRY ON                           L9L 1R9 CANADA
MURRAY M TUCKERMAN                              156 W MONOMONAC RD                                                                               WINCHNDN          MA    01475‐2301
MURRAY MANDEL                                   3384 BEDFORD AVE                                                                                 BROOKLYN          NY    11210‐4549
MURRAY NIEDOBER & MRS MARILYN NIEDOBER JT TEN   1 STRAWBERRY HILL COURT #L9                                                                      STAMFORD          CT    06902‐2532

MURRAY PANTIRER                                 5 WINDERMERE CT                                                                                  LIVINGSTON        NJ    07039‐3422
MURRAY R GLICKMAN & JOAN E GLICKMAN JT TEN      820 MEETINGHOUSE RD                                                                              RYDAL             PA    19046‐2944

MURRAY S AXELROD                                2765 W 5TH STREET 11G                                                                            BROOKLYN          NY    11224‐4710
MURRAY S DAWES                                  10374 N GENESEE                                                                                  MT MORRIS         MI    48458‐9722
MURRAY SCHWARTZ CUST SETH SCHWARTZ UTMA FL      1010 VIRGINIA DR                                                                                 ORLANDO           FL    32803‐2532

MURRAY SEIDLER                                  411 S OLD WOODWARD AVE                 UNIT 800                                                  BIRMINGHAM        MI    48009‐6648
MURRAY SHAPIRO CUST JOANNE SHAPIRO U/THE NEW    C/O J GREGORY                          5516 N W 59TH PLACE                                       FORT LAUDERDALE   FL    33319‐2473
YORK U‐G‐M‐A
MURRAY STEWART                                  2475 BURNT HICKORY RD NW                                                                         MARIETTA          GA    30064‐1351
MURRAY TOAS                                     1901 COLES BLVD                                                                                  NORRISTOWN        PA    19401‐1909
MURRAY V CRESSLER                               5310 STATE RD 579                                                                                SEFFNER           FL    33584‐3335
MURRAY W JOHNSON                                26955 GATLIN DR                                                                                  ARDMORE           AL    35739‐8213
MURRAY W WOLF & ELAINE R WOLF JT TEN            14132 CRICKET LANE                                                                               SILVER SPRING     MD    20904‐5919
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Name                                             Address1                               Address2               Address3        Address4            City               State Zip

MURRELL D BEUTLER                                1016 E WALTON                                                                                     PONTIAC            MI    48340‐1435
MURRELL E PEARSON                                550 NORTHFIELD RD                                                                                 PLAINFIELD         IN    46168‐3035
MURRELL F HUNTER & MARGARET D HUNTER TEN ENT     3200 NOTTINGHAM RD                                                                                NORRISTOWN         PA    19403‐4181

MURRIEL N FARRIS                                 677 W HARWOOD                                                                                     MADISON HGTS       MI    48071‐3939
MURRIEL O WESSOL                                 5801 W BETHEL AVE                      # 222                                                      MUNCIE             IN    47304‐9549
MURRY GIVHAN                                     1665 PORTER AVE                                                                                   BELOIT             WI    53511
MURRY J BURROWS                                  3 SESSIONS ST                                                                                     PROVIDENCE         RI    02906‐3401
MURRY K BROGAN                                   29640 BEECH NUT DR                                                                                WARREN             MI    48092‐4642
MURRY L CROSS & MARY H CROSS JT TEN              3619 16TH AVE NO                                                                                  ST PETERSBURG      FL    33713‐5341
MURRY L JONES                                    2917 CURTIS LN                                                                                    SHREVEPORT         LA    71109‐3924
MURRY OPATOSKY TOD MILES OPATOSKY SUBJECT TO     9 RACQUET RD                                                                                      BELMAR             NJ    07719
STA TOD RULES
MURRY U MONDY                                    701 PARIS AVE S E                                                                                 GRAND RAPIDS       MI    49503‐5406
MURTAZA N SAVLIWALA                              4306 STRATTFORD CIR E                                                                             ZANESVILLE         OH    43701‐9857
MURTHEL G MEADE                                  146 N SULPHUR SPRINGS ROAD                                                                        WEST ALEX          OH    45381‐9613
MURTON A STEWART                                 BOX 321                                                                                           BIG PINE           CA    93513‐0321
MURVILL HUTCHINSON                               C/O DESERT CREST C C                   69‐399 MIDPARK DRIVE                                       DESERT HOT         CA    92241‐8709
                                                                                                                                                   SPRINGS
MURVYN M MC DOWELL                               RT 4 BOX 85                                                                                       FAIRMONT           WV    26554‐9328
MUSTAFA AMEER‐BEY                                905 N LOMBARD ST                                                                                  WILMINGTON         DE    19801‐4025
MUSTAFA PIRBHAI                                  8656 DELCRIS DR                                                                                   GAITHERSBURG       MD    20886‐4377
MUSTAFA R BAIG                                   PO BOX 444                                                                                        BUFFALO            NY    14231‐0444
MUSTAPHA M JABER                                 12943 TIREMAN                                                                                     DEARBORN           MI    48126‐1162
MUTSUKO WEZNER                                   5375 N ADAMS RD                                                                                   BLOOMFIELD HILLS   MI    48304‐2000

MYAA FALLON CUST KENDRICK LOMAX UTMA IL          2001 S MICHIGAN                                                                                   CHICAGO            IL    60616
MYER HEICKLEN                                    5048 NORTH NEW HOPE RD APT D                                                                      RALEIGH            NC    27604‐4456
MYKOLA POBYWAJLO                                 60 HARTWELL RD                                                                                    BUFFALO            NY    14216‐1713
MYLEEN O CURTIN                                  77120 CALIFORNIA DR                    APT 260E                                                   PALM DESERT        CA    92211‐7873
MYLES C BEST                                     27 N WACKER DR                         # 419                                                      CHICAGO            IL    60606‐2800
MYLES DAVID GORDON                               192 WARBURTON AVE                                                                                 HUDSON             NY    10706‐3706
MYLES E FEENEY                                   13720 BANGOR AVENUE                                                                               GARFIELD HEIGHTS   OH    44125‐6003

MYLES E FEENEY & VIRGINIA F FEENEY JT TEN        13720 BANGOR AVE                                                                                  GARFIELD HTS       OH    44125‐6003
MYLES E HANLEY                                   PO BOX 282                                                                                        NEW CARLISLE       OH    45344‐0282
MYLES E SWEENEY JR                               861 HIGHWAY KK                                                                                    TROY               MO    63379‐6600
MYLES J ADLER                                    28 VALLEY BROOK DR                                                                                EMERSON            NJ    07630‐1027
MYLES K MAGNESS                                  PO BOX 50244                                                                                      MIDLAND            TX    79710‐0244
MYLES L MACE JR                                  254 CAPE NEWAGEN ROAD                                                                             SOUTHPORT          ME    04576‐3218
MYLES MILLER                                     5613 ABILENE TR                                                                                   AUSTIN             TX    78749‐2110
MYLES S CHARLTON JR & MONICA M CHARLTON JT TEN   60 FERGUSON AVE                                                                                   BROOMALL           PA    19008‐2601

MYLES S OLSEN JR CUST LESLIE KAY OLSEN UGMA MD   337 OAK GROVE CIR                                                                                 WAUCONDA           IL    60084

MYLES S TRUSTY                                   731 SPRINGMILL DR                                                                                 MOORESVILLE        IN    46158‐2705
MYLES W BERRY                                    18 VINEWOOD RD                                                                                    MILTON             MA    02186‐4838
MYLES W BERRY & ANNE M BERRY JT TEN              18 VINEWOOD RD                                                                                    MILTON             MA    02186‐4838
MYLES W LITTLEJOHN                               1542 PARKHILL ROAD                                                                                CLEVELAND HTS      OH    44121‐1740
MYLEW LIGH                                       13254 QUAIL MEADOW DR                                                                             BATON ROUGE        LA    70817
MYNARD H JOHNSON & JANET M JOHNSON JT TEN        7431 JENNINGS RD                                                                                  SWARTZ CREEK       MI    48473‐8865

MYONG H KIM                                      466 W HIGHPLAINS ROAD                                                                             ROUND LAKE         IL    60073‐4269
MYONG K LEE                                      11908 W 66TH                                                                                      SHAWNEE            KS    66216
MYONG NAM LIMB & SHIRLENE W LIMB JT TEN          3‐2‐22 NIGAWAKITA                      TAKARAZUKA CITY        HYOGO           JAPAN
MYONGKI CHOE                                     1799 FOXWOOD RD                                                                                   HOLT               MI    48842‐1585
MYOUNG J AN                                      6104 HOLLY HILL LN                                                                                WEST CHESTER       OH    45069‐6654
MYRA A GRIXTI                                    PO BOX 237                             107 WILLIAMS ST                                            HOUGHTON LAKE      MI    48630‐0237
                                                                                                                                                   HGTS
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MYRA A HUNT                                    2063 UPLAND DR                                                                                   FRANKLIN        TN    37067‐4090
MYRA B DOMBROSKY                               342 RUSSELL AVE                                                                                  CORTLAND        OH    44410‐1244
MYRA B GONDOS CUST BRIAN K GONDOS UGMA VA      2905 HUNTING HILLS COURT                                                                         OAKTON          VA    22124‐1743

MYRA B GONDOS CUST GARY J GONDOS UGMA VA      2905 HUNTING HILLS CT                                                                             OAKTON          VA    22124‐1743
MYRA B MCGARRY                                921 PATTERSON RD                                                                                  DAYTON          OH    45419‐4335
MYRA B SMITH                                  BOX 814                                                                                           LONGVIEW        TX    75606‐0814
MYRA BERLOWITZ CUST MICHAEL BERLOWITZ UGMA NY 222 COUNCIL ROCK AVE                                                                              ROCHESTER       NY    14610‐3336

MYRA BERLOWITZ CUST SHARI BERLOWITZ UGMA NY    222 COUNCIL ROCK AVE                                                                             ROCHESTER       NY    14610‐3336

MYRA BROUGHTON CUST THEON BROUGHTON JR         3373 BROOKGATE DR                                                                                FLINT           MI    48507‐3210
UGMA MI
MYRA C EMINHIZER                               ATTN EUGENE L EMINHIZER II              7429 INDIAN TRL                                          POLAND          OH    44514‐2605
MYRA D BALLARD                                 1413 DAVIS FORD RD                                                                               COVINGTON       GA    30014‐5825
MYRA D FILSON                                  1142 VIRA ROAD                                                                                   LEWISTOWN       PA    17044‐7645
MYRA DAWN POOLE                                12635 MAJESTIC WAY                                                                               FISHERS         IN    46037‐5977
MYRA DYBICK                                    26 WHITE OAK DR                                                                                  NASHUA          NH    03063‐1558
MYRA E KRAUK                                   8835 POE DR                                                                                      TAMPA           FL    33615‐1921
MYRA E STRINE                                  54 SHERWOOD DR                                                                                   CROSSVILLE      TN    38555
MYRA ENZENROTH                                 C/O MYRA GARNETT                        2345 KENWOOD DRIVE                                       BOULDER         CO    80303‐5232
MYRA FARNER                                    362 MORRIS RD                                                                                    THOMSON         GA    30824‐3923
MYRA HERSH                                     48 ETHELRIDGE RD                                                                                 WHITE PLAINS    NY    10605‐4124
MYRA HIRSCHHORN                                202 NORTHAMPTON DR                                                                               WILLINGBORO     NJ    08046‐1328
MYRA IKEN                                      748 E SHANNON ST                                                                                 CHANDLER        AZ    85225‐3947
MYRA J BALENTINE                               2321 COUNTY RD 165                                                                               ROGERSVILLE     AL    35652‐5618
MYRA J DRYLIE                                  2140 RYAN CT                                                                                     WOOSTER         OH    44691‐1445
MYRA J HANGER                                  3739 EILEEN DR                                                                                   KETTERING       OH    45429‐4105
MYRA J LUCE TOD ROBERT N YURCHUCK SUBJECT TO   8901 CASCADES ISLE BLVD                                                                          ESTERO          FL    33928
STA TOD RULES
MYRA J SCHUCK                                  464 LOOP DR                                                                                      WINCHESTER      TN    37398
MYRA JEAN DAGON TR KEVIN E DAGON TRUST UA      16115 ILLINOIS RTE 127                                                                           BUTLER          IL    62015‐2005
09/25/92
MYRA JEAN DAGON TR PATRICK J DAGON TRUST UA    5001 ALTHEA DR                                                                                   ANNANDALE       VA    22003‐4143
09/25/92
MYRA K DODRILL                                 ATTN MYRA K SNODGRASS                   3231 S 750 W                                             RUSSIAVILLE      IN   46979‐9716
MYRA L ARRINGTON                               92 CO RD 240                                                                                     MOULTON          AL   35650‐8744
MYRA L SPOHN                                   11119 ARMSTRONG DR N                                                                             SAGINAW          MI   48609‐9466
MYRA L WASHINGTON                              5409 BERMUDA LANE                                                                                FLINT            MI   48505‐1068
MYRA LOUD & NOEL H SCULLIN JT TEN              35 COWELL RD                                                                                     WRENTHAM         MA   02093‐1674
MYRA M BOWEN                                   406 N SMITHWICK ST                                                                               WILLIAMSTON      NC   27892‐2048
MYRA M BROOKS & JACK L BROOKS JT TEN           1700 CEDARWOOD DR                       APT 205                                                  FLUSHING         MI   48433‐3602
MYRA M O OHATA                                 C/O MYRA REED                           8202 DUTCH HALL RD                                       OMAHA            NE   68122‐5090
MYRA M O'NEIL                                  232 SUNSET DRIVE                                                                                 HIGHLAND HEIGHTS KY   41076‐1233

MYRA M RADTKE                                  5566 THOMPSON RD                                                                                 CLARENCE        NY    14031
MYRA N MELEAR                                  307 HILLSIDE DR                                                                                  FAIRBURN        GA    30213‐1728
MYRA P WHEELER                                 215 MINER PENTWAY                                                                                PAWCATUCK       CT    06379
MYRA R STOCKHECKER                             2245 CANTERBURY DRIVE                                                                            FLORISSANT      MO    63033‐1205
MYRA S MCDANIEL                                4172 INFIRMARY RD                                                                                MIAMISBURG      OH    45342‐1228
MYRA S SEALE                                   PO BOX 147                                                                                       MOUNDVILLE      AL    35474‐0147
MYRA SIMPSON                                   1720 AZALEA WOODS DR                                                                             LAWRENCEVILLE   GA    30043‐7713
MYRA SMITH                                     736 ROCK HILL ROAD                                                                               AUBREY          TX    76227‐9307
MYRA SUAREZ                                    625 BILTMORE WAY #806                                                                            CORAL GABLES    FL    33134‐7538
MYRA T HOWARD                                  5007 CAIRE CIR                                                                                   SANTA BARBARA   CA    93111‐2709
MYRA VELCOFF‐EVANGELISTA CUST SARA B           9 TARTAN DRIVE                                                                                   BASKING RIDGE   NJ    07920‐3743
EVANGELISTA UTMA NJ
MYRA W WOODS                                   2534 MCCOLLUM AVE                                                                                FLINT           MI    48504‐2316
MYRA Z FRY                                     7228 AKRON RD                                                                                    LOCKPORT        NY    14094‐6206
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Name                                           Address1                                Address2                    Address3            Address4          City               State Zip

MYRDIE F DEAN                                  1310 PROPER AVE                                                                                           BURTON             MI    48529‐2042
MYRELLE ECCLES THOMAS TR MYRELLE ECCLES THOMAS 156 BRAEWICK RD                                                                                           SALT LAKE CITY     UT    84103‐2201
LVG TRUST UA 5/20/98
MYRIL LOUISE WOOLLEN                           SUITE # 301                             568 WATER'S EDGE CRESCENT   WEST VANCOUVER BC   V7T 0A2 CANADA
MYRL C WILLBANKS                               2550 RESERVOIR DR                                                                                         NORCO              CA    91760‐2327
MYRL D MUDDELL                                 221 ZACK CT                                                                                               FAIRFIELD          OH    45014‐8123
MYRL GRIFFITH                                  19241 STATE ROUTE 1                                                                                       LAWRENCEBURG       IN    47025‐8606
MYRL L RODGERS                                 155 COX CREEK LN                                                                                          HARROGATE          TN    37752‐6501
MYRL MCKEE & EUZETTA MCKEE JT TEN              1301 FULTON ST                          APT 214                                                           NEWBERG            OR    97132‐1869
MYRL P LESSING                                 BOX 122                                                                                                   BEAVER             UT    84713‐0122
MYRL T SAXE                                    38703 N SHERIDAN RD 116                                                                                   BEACH PARK         IL    60099‐3991
MYRLE D GILBERT                                R #1 BOX 74                                                                                               GREENFIELD         IL    62044‐9716
MYRLE S GOFF                                   20 CLARK RD                                                                                               BOLTON             CT    06043
MYRNA A TORRES                                 440 EAST LAUREL AVENUE                                                                                    SIERRA MADRE       CA    91024‐2023
MYRNA ANN WILLIS                               121 W MAIN ST                                                                                             MESA               AZ    85201‐7309
MYRNA ANNE THOMPSON                            BOX 664                                 MALLORYTOWN ON                                  K0E 1K0 CANADA
MYRNA B DOCKERY & WILEY SPRINGER JR JT TEN     26713 NORFOLK                                                                                             INKSTER            MI    48141‐2363
MYRNA B LUNEAU                                 1269 DORCHESTER DR                                                                                        ALEXANDRIA         LA    71303‐3026
MYRNA C SULTAN                                 4830 ADAMS POINTE CT                                                                                      TROY               MI    48098‐4111
MYRNA E DAVENPORT                              1780 W LIBERTY                                                                                            CLARK LAKE         MI    49234‐9627
MYRNA F HUSTED                                 910 DANA ST NE                                                                                            WARREN             OH    44483‐3916
MYRNA F MATT                                   297 N MAIN ST                                                                                             CAMDEN             OH    45311‐1122
MYRNA FAE SCHAFER & F ROBERT SCHAFER JT TEN    18925 WELL HOUSE DR                                                                                       JAMESTOWN          CA    95327
MYRNA FELICIELLO CUST LAWRENCE ALEXANDER       2247 UNIVERSITY AVE                                                                                       SACRAMENTO         CA    95864
VALENZUELA UTMA CA
MYRNA FINK                                     21 BRIDGEPORT RD                                                                                          NEWPORT COAST      CA    92657‐1014
MYRNA FISTEL CUST SAMUEL FISTEL UNDER THE      8410 SW 16TH ST                                                                                           MIAMI              FL    33155‐1002
FLORIDA GIFTS TO MINORS ACT
MYRNA H TAYLOR                                 5339 LONG COVE DR                                                                                         IDAHO FALLS        ID    83404
MYRNA H WITTERS                                ROUTE 2 BOX 314D                                                                                          CHARLESTON         WV    25314‐9709
MYRNA I ALMODOVAR                              1201 SE 16TH AVE                                                                                          HOMESTEAD          FL    33035‐2209
MYRNA J GLEASON                                3549 WESSEX LANE                                                                                          PHILADELPHIA       PA    19114‐1817
MYRNA J UNDERWOOD                              1527 E CARSON ST 2‐110                                                                                    CARSON             CA    90745‐2358
MYRNA J WEST                                   252 COLLEGE HIGHWAY                                                                                       SOUTHAMPTON        MA    01073‐9373
MYRNA K COLE                                   5040 HARVARD RD                                                                                           DETROIT            MI    48224‐2168
MYRNA K DAVIS                                  4022 SAMUEL CIRCLE                                                                                        MARYVILLE          TN    37804‐3158
MYRNA L HENRY                                  1509 W CADILLAC DR                                                                                        KOKOMO             IN    46902‐2562
MYRNA L IRIZARRY                               301 OAK AVE                                                                                               WOODBRIDGE         NJ    07095‐1605
MYRNA L KIZER                                  2165 LARKIN ST                          APT 206                                                           SAN FRANCISCO      CA    94109‐1908
MYRNA L MELCHIOR                               6111 BUTTONWOOD DRIVE                                                                                     NOBLESVILLE        IN    46060‐9137
MYRNA L SHANE                                  3290 QUEENSBURY DRIVE                                                                                     COLUMBUS           IN    47203‐2668
MYRNA L SUGGS & WILLIAM C SUGGS JT TEN         80 CENTRAL AVE                                                                                            WEST ALEXANDRIA    OH    45381‐1255

MYRNA LEE BROMLEY                              1436 WHEATSHEAF LANE                                                                                      ABINGTON           PA    19001‐2605
MYRNA M BRUMAGE                                5851 S E SUNDIAL COURT                                                                                    MILWAUKIE          OR    97222‐2783
MYRNA MACK                                     14889 E 2200N RD                                                                                          DANVILLE           IL    61834
MYRNA MAE ORAVA CUST KEVIN ORAVA UGMA MI       681 E VALLEY CHASE RD                                                                                     BLOOMFIELD HILLS   MI    48304‐3165

MYRNA MAE ORAVA CUST KIMBERLY ORAVA UGMA MI 2310 LARKDALE DR                                                                                             GLENVIEW           IL    60025‐4190

MYRNA P NUGENT                                 9658 N CHURCH DRIVEE                                                                                      PARMA HEIGHTS      OH    44130
MYRNA QUILTY                                   5324 VALONIA ST                                                                                           FAIR OAKS          CA    95628‐3816
MYRNA R MILLER & JAMES D MILLER JT TEN         9630 SCIO CHURCH RD                                                                                       ANN ARBOR          MI    48103
MYRNA R SMITH                                  741 ROBIN HOOD LANE                                                                                       LA GRANGE PARK     IL    60526‐1576
MYRNA S RICHMOND                               PO BOX 3071                                                                                               BUZZARDS BAY       MA    02532‐0771
MYRNA STROHMIER                                8076 OXFORD PIKE                                                                                          BROOKVILLE         IN    47012‐9419
MYRNA V LEWIS                                  3 MAC INTOSH LANE                                                                                         MONSEY             NY    10952‐1637
MYRNETH R RENNER                               16760 SR 32                                                                                               NOBLESVILLE        IN    46060‐6810
MYRON A HUNT                                   268 MOSSMILL RD                                                                                           ALTO               GA    30510
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Name                                            Address1                              Address2             Address3          Address4          City            State Zip

MYRON A LANE                                    211 N KASPAR AVE                      APT G2                                                   ARLINGTON HTS   IL    60005‐1202
MYRON A MORLOCK                                 C/O JUDITH A MORLOCK                  14 CHERRYWOOD WAY                                        TAYLORSVILLE    GA    30178‐1181
MYRON A SCHMUTZER                               21 CHIPMAN WAY                        APT 101                                                  KINGSTON        MA    02364‐1040
MYRON A THOMPSON                                6121 RIVERVIEW RD                                                                              VASSAR          MI    48768‐9611
MYRON B HERMAN                                  28257 HIGHWAY 92                                                                               HARPER          IA    52231‐8791
MYRON B MARKS                                   5883 SUGAR HILL DR                                                                             HOUSTON         TX    77057‐2034
MYRON C BEARDSLEY & MRS JANE BEARDSLEY JT TEN   7776 RT 96                                                                                     INTERLAKEN      NY    14847‐9674

MYRON C LEE 2ND                                 1604 WORDSWORTH DR                    PO BOX 2494                                              CLEBURNE        TX    76033‐2494
MYRON C LEE II & CYNTHIA M LEE JT TEN           1604 WORDSWORTH DR                    PO BOX 2494                                              CLEBURNE        TX    76033‐2494
MYRON C PORTER JR                               5471 PINE WAY                                                                                  SWARTZ CREEK    MI    48473‐9406
MYRON C SNYDER                                  3055 SE 115TH ST                                                                               PORTLAND        OR    97266‐1139
MYRON CRANDALL                                  3472 CHALMERS                                                                                  SAGINAW         MI    48601‐7124
MYRON D BOWLBY                                  1072 S STE RD #213                                                                             TIPTON          IN    46072
MYRON D BRUCE                                   1070 E PRIVATE RD 445N                                                                         CENTERPOINT     IN    47840
MYRON D CAMPBELL                                3209 HARDWOOD HEIGHTS RD                                                                       PRESCOTT        MI    48756‐9256
MYRON D GOLDMAN & MRS JOAN S GOLDMAN JT TEN     PO BOX 77                                                                                      LITTLE FALLS    NJ    07424‐0077

MYRON D LONG                                    6328 HERRITAGE PARK BLVD                                                                       DAYTON          OH    45424‐1728
MYRON D NEUSTETER JR CUST KATY A NEUSTETER      1628 14TH ST 1‐B                                                                               DENVER          CO    80202‐1333
UTMA CO
MYRON DAVID KIDD 2ND                            4001 ANDERSON RD #V112                                                                         NASHVILLE        TN   37217‐4709
MYRON DAVID STUTZMAN                            2323 BRYAN ST STE 2200                                                                         DALLAS           TX   75201‐2655
MYRON DELMAN                                    310 W 72ND ST                         APT 1E                                                   NEW YORK         NY   10023‐2675
MYRON DI BARTOLOMEO & NORA LEE SPATAFORA JT     825 ANITA AVE                                                                                  GROSSE PTE WOODS MI   48236‐1414
TEN
MYRON DUNLAP                                    1534 WAGON WHEEL LN                                                                            GRAND BLANC      MI   48439‐4815
MYRON E FARRIER                                 3675 S MCGEE                                                                                   LAKE CITY        MI   49651‐8828
MYRON E FISHER                                  1018 KENNESAW                                                                                  BIRMINGHAM       MI   48009‐5723
MYRON E FISHER & REBECCA L FISHER JT TEN        1018 KENNESAW                                                                                  BIRMINGHAM       MI   48009‐5723
MYRON E GILLILAND                               RT 2 3360 N BOGAN                                                                              BUFORD           GA   30519‐3751
MYRON E GOLDBLATT JR                            500 EAST 83RD ST APT 6‐B                                                                       NEW YORK         NY   10028‐7244
MYRON E OAKES                                   257 JACKSON STREET                                                                             LAWRENCEVILLE    GA   30045‐5705
MYRON E PASTOCK                                 12 READ AVE BOXWOOD                                                                            WILMINGTON       DE   19804‐2034
MYRON E WALTER                                  345 MAPLE LANE                                                                                 MANSFIELD        OH   44906‐2745
MYRON GINSBERG                                  35764 CONGRESS                                                                                 FARMINGTON HILLS MI   48335‐1222

MYRON GREEN                                     270 HARBOR HILL DRIVE                                                                          ROCHESTER       NY    14617‐1469
MYRON H ROSE                                    4280 CHESTNUT RIDGE RD APT K1                                                                  BUFFALO         NY    14228‐3117
MYRON HONG                                      1382 CASA VALLECITA                                                                            ALAMO           CA    94507‐1111
MYRON HUGH LEWIS                                286 BARCLAY AVE                                                                                PITTSBURGH      PA    15221‐4032
MYRON HULYK TR UA 3/19/93 MYRON HULYK LIVING    4173 DOORNOCH COURT                                                                            WILLIAMSBURG    MI    49690‐8635
TRUST
MYRON I NIESE                                   12275 ROAD 8                                                                                   OTTAWA          OH    45875‐9728
MYRON J BROMBERG INC                            SUITE G                               7012 RESEDA BLVD                                         RESEDA          CA    91335‐4281
MYRON J DEFRANCIA & DANIEL T DEFRANCIA JT TEN   2055 MOORE STREET                                                                              LAKEWOOD        CO    80215‐1327

MYRON J DILLEY                                  3625 BLACKELCK EARTERN RD                                                                      BALTIMORE        OH   43105
MYRON J DOUGLAS                                 91 PINE HILL RD                                                                                SOUTHBOROUGH     MA   01772‐1313
MYRON J FIEBIG & MARY ANN FIEBIG JT TEN         2129 LONDON BRIDGE DR                                                                          ROCHESTER HILLS  MI   48307‐4234
MYRON J MOLOTKY                                 505 SANCTUARY CT NE                                                                            ADA              MI   49301‐8784
MYRON J PRYOR                                   28841 BEECHWOOD                                                                                GARDEN CITY      MI   48135‐2462
MYRON J SAGALL & JUDY SAGALL TEN ENT            700 MARBLEHEDGE WAY                                                                            SILVER SPRING    MD   20905‐5983
MYRON J STARGEL                                 3811 N PENBROOK DR                                                                             MARION           IN   46952‐1035
MYRON KELLER & HELEN A KELLER JT TEN            2635 FALCON LN                                                                                 TOMS RIVER       NJ   08755‐2525
MYRON KERN & MRS ELEANOR KERN JT TEN            8 CLEARBROOKE DR                                                                               GIBBSBORO        NJ   08026‐1408
MYRON KOPLIN                                    5300 ZEBULON ROAD #1215                                                                        MACON            GA   31210‐9105
MYRON L ALFORD                                  174 DOGWOOD DR                                                                                 HIGHLAND HEIGHTS KY   41076‐3791
                                           09-50026-mg              Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                           Address2             Address3          Address4          City               State Zip

MYRON L BREWER                                  502 STORRS                                                                                  GRAND RAPIDS       MI    49507‐2638
MYRON L JOHNSON & DEBRA JOHNSON JT TEN          3675 N SHAW AVE                                                                             CAMP VERDE         AZ    86322
MYRON L LAMKIN                                  1726 17TH ST                                                                                PORTSMOUTH         OH    45662‐3101
MYRON L ORMAN                                   29737 MACINTYRE                                                                             LIVONIA            MI    48150‐3076
MYRON L WHITE                                   1770 LOMBARD AVE                   APT 10                                                   OSHKOSH            WI    54902‐4156
MYRON M BILAS & MRS SLAVOMYRA W BILAS JT TEN    770 WOODSIDE RD                                                                             JENKINTOWN         PA    19046‐3332

MYRON N BRUMM & KAREN L BRUMM JT TEN            4215 E CTY RD 225 N                                                                         AVON               IN    46123‐9519
MYRON N WOELKE                                  13150 COLUMBIA                                                                              REDFORD            MI    48239‐2717
MYRON N WOELKE & MARILYNN F WOELKE JT TEN       13150 COLUMBIA                                                                              REDFORD            MI    48239‐2717
MYRON P MAGEE                                   4239 MARYANNE PL                                                                            FORT WORTH         TX    76137‐2649
MYRON P SPENCER JR                              2921 E 550 N                                                                                MARION             IN    46952‐9119
MYRON PAILET & MRS LILLIAN PAILET JT TEN        10210 VAL JEAN AVE                                                                          NORTH HILLS        CA    91343‐1342
MYRON PIDHAYNY                                  APT L‐3                            2525 N BOURBON                                           ORANGE             CA    92865‐3012
MYRON R BALLEN & MRS JOAN R BALLEN JT TEN       49 STONELEIGH SQ                                                                            FAIRFIELD          CT    06432‐1412
MYRON R BASS                                    102 ELMWOOD TER                                                                             GREENSBORO         NC    27408‐5008
MYRON R SHOOK                                   6396 N DADEN DR                                                                             ALEXANDRIA         IN    46001‐8642
MYRON R THOBEN                                  1711 HOUSE ST NE                                                                            BELMONT            MI    49306‐8829
MYRON R WOLENS & LOIS WOLENS JT TEN             940 AUGUSTA WAY APT 305                                                                     HIGHLAND PARK      IL    60035‐1841
MYRON S WATTS                                   12683 BIRWOOD                                                                               DETROIT            MI    48238‐3045
MYRON SAUL SEIDMAN                              3102 AVENUE M                                                                               BROOKLYN           NY    11210‐4747
MYRON SLAUGHTER                                 209 MINSTER ST                                                                              HAMILTON           OH    45011‐3153
MYRON V BETTHAUSER                              5332 N HARMONY TOWNHALL RD                                                                  JANESVILLE         WI    53546‐8899
MYRON V BETTHAUSER & MARJORIE J BETTHAUSER JT   5332 N HARMONY TOWNHALL RD                                                                  JANESVILLE         WI    53546‐8899
TEN
MYRON W BENNER & JOAN L BENNER JT TEN           39730 BYERS                                                                                 STERLING HEIGHTS   MI    48310‐2619

MYRON W BURROWS & LYNDA S BURROWS JT TEN        PO BOX 28                                                                                   SIBLEY             MO    64088‐0028

MYRON W MACKEY                                  715 EAST 3RD ST                                                                             ALTAMONT           MO    64620‐8176
MYRON W SMITH III                               PO BOX 682                                                                                  SANTEE             SC    29142‐0682
MYRON W SWISHER                                 2530 N SHERMAN DRIVE                                                                        INDIANAPOLIS       IN    46218‐3043
MYROSLAW BEZPALKO & OLGA BEZPALKO JT TEN        305 LOPEZ PLACE                                                                             SOCORRO            NM    87801‐4531
MYRT A R WILLEMS                                100 ELGAR PL APT 15A                                                                        BRONX              NY    10475
MYRT GENTRY                                     1576 MEADOWLANE DR SE                                                                       GRAND RAPIDS       MI    49508‐4642
MYRTA DUFRESNE                                  5016 US HWY 62                                                                              KUTTAWA            KY    42055‐6253
MYRTICE H HAMIL                                 283 ETHERIDGE RD                                                                            AUBURN             GA    30011‐2982
MYRTICE W TERRELL                               5714 GREENHILL CT                                                                           MOBILE             AL    36609‐5250
MYRTIS B HOWARD                                 863 SOUTH SNYDER RD                                                                         NEW LEBANON        OH    45345‐9360
MYRTIS M FERRONE TOD EVERETT B BAKER            14 RIVERVIEW BLVD                                                                           HUDSON             NY    12534‐1319
MYRTIS TARVER                                   15515 NORTHLAWN                                                                             DETROIT            MI    48238‐1151
MYRTLE A GOODSON                                C/O SCHIPPER                       355 68TH ST                                              SOUTH HAVEN        MI    49090‐9187
MYRTLE A MORSE                                  C/O M M WALLACE                    PO BOX 182                                               PINETTA            FL    32350‐0182
MYRTLE B CLARK                                  1805 KEM ROAD                                                                               MARION             IN    46952‐1706
MYRTLE B LINDSAY                                2610 FLOTILLA TER                                                                           FORT PIERCE        FL    34949‐1532
MYRTLE B MILES                                  101 EDGEHILL DRIVE                                                                          COLLINSVILLE       VA    24078‐2849
MYRTLE B SCOTT                                  3001 CONCORD                                                                                FLINT              MI    48504‐2923
MYRTLE B WILLIAMS                               571 LAKEWOOD DR                                                                             GADSDEN            AL    35901‐9143
MYRTLE BILLING SCHOENBERGER                     ROUTE 4 BOX 157                                                                             BEAVER DAM         WI    53916‐9804
MYRTLE BROWN                                    9 LANCE LN                                                                                  BLUE RIDGE         GA    30513‐8004
MYRTLE C CARPENTER                              135 PAULO DR NE                                                                             WARREN             OH    44483‐4663
MYRTLE C MCAULAY TR JAMES O & MYRTLE MCAULAY    3405 GRAND BLANC RD                                                                         SWARTZ CREEK       MI    48473‐8888
TRUST UA 12/15/99
MYRTLE C SHELDMYER & SHARON S SHROCK JT TEN     PO BOX 274                                                                                  ARCARDIA           IN    46030‐0274

MYRTLE CLARK & EDWIN F CLARK JT TEN             14667 TULLER                                                                                DETROIT            MI    48238‐1983
MYRTLE E CLARK                                  MANSION HOUSE KENWOOD AVENUE                                                                ONEIDA             NY    13421
MYRTLE E CLAVE                                  47747 JEFFRY                                                                                SHELBY TOWNSHIP    MI    48317‐2932
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MYRTLE E FIELDS TR REVOCABLE TRUST 03/13/90 U‐A   4519 E 82ND ST APT 50                                                                           INDIANAPOLIS       IN    46250
MYRTLE E FIELDS
MYRTLE E GRAHAM & BARBARA E MEISSNER & JANET C    245 MISTY WAY                                                                                   GRAYLING           MI    49738‐8642
ZABKIEWICZ JT TEN
MYRTLE E HECKENDORF                               36W165 ERIE ST                                                                                  ELGIN              IL    60123‐5837
MYRTLE E LISTER & WILLIAM L LISTER JT TEN         4519 E 82ND ST                         APT 50                                                   INDIANAPOLIS       IN    46250
MYRTLE E NIAS & BARBARA NIAS BURTON JT TEN        APT 7‐D                                2333 5TH AVE                                             NEW YORK           NY    10037‐1608
MYRTLE E VARNER TR VARNER TRUST UA 12/21/90       221 N SALINAS ST                                                                                SANTA BARBARA      CA    93103‐2829

MYRTLE F BUCKNER                                  1325 DIFFORD DR                                                                                 NILES              OH    44446‐2829
MYRTLE F CREAMER                                  1964 VIOLA DR                                                                                   ORTONVILLE         MI    48462‐8886
MYRTLE F MILLER                                   124 IVY ROCK LN                                                                                 HAVERTOWN          PA    19083‐2826
MYRTLE G BERKOWITZ                                104 11TH SREET                                                                                  SARASOTA SPRINGS   NY    12866‐7256

MYRTLE HANNAH                                     189 SINNICKSON LANDING RD                                                                       SALEM              NJ    08079‐9610
MYRTLE HODGES                                     25681 YCCA VALLEY ROAD                                                                          VALENCIA           CA    91355‐2438
MYRTLE HOLMES                                     3511 TOWNSEND ST                                                                                DETROIT            MI    48214‐5205
MYRTLE I BURRELL & KIMBERLY C WHITE JT TEN        7 GANDSON COURT                        UNIT 202                                                 TIMONIUM           MD    21093‐6783
MYRTLE I BURRELL & PAMELA L WHITE JT TEN          7 GANDSON COURT                        UNIT 202                                                 TIMONIUM           MD    21093‐6783
MYRTLE I BURRELL & PATRICIA L MYERS JT TEN        7 GANDSON COURT                        UNIT 202                                                 TIMONIUM           MD    21093‐6783
MYRTLE I BURRELL & WENDY S WHITE JT TEN           7 GANDSON COURT                        UNIT 202                                                 TIMONIUM           MD    21093‐6783
MYRTLE I VANHOOK & SANDRA I WEBB JT TEN           1041 CHERRYLAWN DR                                                                              PONTIAC            MI    48340‐1701
MYRTLE J POWER                                    C/O S SPURLIN                          3359 LOUISE AVE                                          INDIANAPOLIS       IN    46234‐1733
MYRTLE KAREN FREITAS                              5913 W NORWICH AVE                                                                              FRESNO             CA    93722‐0458
MYRTLE KATHERINE ROBINSON                         40551 JUDD RD                                                                                   BELLEVILLE         MI    48111‐9193
MYRTLE KETCHIE ROBERTS                            1601 CAL BOST RD                                                                                MIDLAND            NC    28107‐8776
MYRTLE L ABEL                                     2828 ANGELUS PINES DR                                                                           WATERFORD          MI    48329‐2520
MYRTLE L DAY                                      95 CHURCHILL DRIVE                                                                              ROCHESTER          NY    14616‐2103
MYRTLE L DAY & LYONEL DAY JT TEN                  95 N CHURCHILL DR                                                                               ROCHESTER          NY    14616‐2103
MYRTLE L MILLER                                   13105 BRENNAN RD                                                                                CHESANING          MI    48616‐9534
MYRTLE L NEGRIA                                   PO BOX 4                                                                                        LAKELAND           MI    48143‐0004
MYRTLE LIEBERSON                                  BOX 216                                462 GOLF COUSE DRIVE                                     LEONIA             NJ    07605
MYRTLE LUCILLE STROUD                             PO BOX 342                                                                                      WINDOM             MN    56101‐0342
MYRTLE LYKINS                                     2400 HILLVIEW AVE                                                                               DAYTON             OH    45419‐1522
MYRTLE M CLARK                                    10414 REYMOUTH AVE                                                                              RANCHO CORDOVA     CA    95670‐5817

MYRTLE M MANUEL                                 20 N KITLEY AVE                                                                                   INDIANAPOLIS       IN    46219‐6215
MYRTLE M NORRIS                                 541 FAIRMONT ST                                                                                   ELYRIA             OH    44035‐3513
MYRTLE M SIMONSON                               1 LORE DR 203                                                                                     SWEDESBORO         NJ    08085‐1644
MYRTLE M WAGGONER                               1439 HOOP RD                                                                                      XENIA              OH    45385‐9691
MYRTLE M WALLACE                                PO BOX 182                                                                                        PINETTA            FL    32350‐0182
MYRTLE MCCLELLAN & LINDA MCCLELLAN SACHS JT TEN 1112 STATE PARK RD                                                                                LEWISTON           MI    49756‐8115

MYRTLE MILLER                                     1230 PARKLAND RUN                                                                               SMYRNA             GA    30082‐4738
MYRTLE R DAVIS                                    6852 HENDRICKS ST                                                                               ANDERSON           IN    46013‐3606
MYRTLE R DURHAM                                   23 E WALTON BLVD                                                                                PONTIAC            MI    48340‐1262
MYRTLE ROACHE                                     8014 S PRAIRIE AV                                                                               CHICAGO            IL    60619‐3608
MYRTLE S DOWDY                                    6001 KINGSLAND ROAD                                                                             RICHMOND           VA    23237‐3601
MYRTLE S MC CANTS                                 3801 LYNN CT                                                                                    FLINT              MI    48503‐4543
MYRTLE S NOBLITT                                  RT 1 BOX 181 G                                                                                  KIRBYVILLE         TX    75956‐9719
MYRTLE STEPHENS                                   19653 BRADY                                                                                     REDFORD TWP        MI    48240‐1364
MYRTLE T DATTILO                                  5325 MEADOW ESTATE DR                                                                           CINCINNATI         OH    45247‐6998
MYRTLE T WINTERS                                  1633 W MADISON ST                      APT 1107S                                                CHICAGO            IL    60612
MYRTLE W CONNOLLY                                 55 CARRIAGE DR                                                                                  WALLINGFORD        CT    06492‐3111
MYRTLE W JACKSON                                  182 HOSPITAL ROAD                                                                               NEWNAN             GA    30263‐1238
MYRTLE W MILLER                                   2228 GREGORY LAKE RD                                                                            NORTH AUGUSTA      SC    29860‐9678
MYRTLE ZIMMER TR UA 06/19/2007 MYRTLE ZIMMER      744 W HIGHLAND AVE                                                                              ELGIN              IL    60123
REVOCABLE LIVING TRUST
MYRVIN E HONN & REBECCA HONN JT TEN               601 DORSET DRIVE                                                                                MIDDLETOWN         OH    45044‐4951
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Name                                           Address1                              Address2              Address3         Address4          City                State Zip

MYRWOOD A BAGNE                                306 22ND ST S W                                                                                AUSTIN              MN    55912‐1576
MYUNG D LEE                                    44597 SPRING HILL RD                                                                           NORTHVILLE          MI    48167‐4365
MYUNG S DUNLAP                                 4084 W LANSING ROAD                                                                            ROSOCOMMOM          MI    48653‐8738
MYUNG W HITE                                   1331 MAXFLI DR                                                                                 ARKON               OH    44312‐5380
MYUNG W HITE & JANET L HITE JT TEN             1331 MAXFI DR                                                                                  AKRON               OH    44312‐5380
N A PELLEGRINI                                 PO BOX 363                                                                                     GRAFTON             MA    01519‐0363
N ANNE MAYFIELD                                129 CARREG CAIN DR                                                                             GRANVILLE           OH    43023
N AVRECH                                       824 C HAVERFORD AVE                                                                            PACIFIC PALISADES   CA    90272‐4314

N C CAMPBELL                                   3718 GLOUCESTER STREET                                                                         FLINT               MI    48503‐4538
N C DOSHI                                      115 WALKING STICK TRL CT                                                                       BOWLING GREEN       KY    42103
N CLARE WAIT & MAXINE L WAIT JT TEN            575 W EDDY ROAD                                                                                SANDUSKY            MI    48471‐9777
N COLEMAN                                      12030 MADRID AV                                                                                SAINT LOUIS         MO    63138‐3131
N D CRAIG                                      RR 1 BOX 1188                                                                                  BELLGRADE           MO    63622‐9701
N D FOUNTAIN                                   4466 ST HWY 7 WEST                                                                             NACOQDOCHES         TX    75964‐2332
N DUARTE                                       80 HICKORY HILL DR                                                                             DOBBS FERRY         NY    10522‐2700
N E DUNPHY JR CUST SAMANTHA DUNPHY UTMA PA     517 RENO ST                                                                                    NEW CUMBERLAND      PA    17070

N E WINTER                                      4148 CONNE MARA LN                                                                            WATERFORD           MI    48329‐1607
N EARLENE BIGGERSTAFF CUST MICHAEL J MALLICK    3721 CAMP BOWIE BLVD #100                                                                     FORT WORTH          TX    76107‐3353
UGMA TX
N ELAINE DARE & LAURA DARE LIESKE JT TEN        1203 FRANCES LANE                                                                             ANDERSON            IN    46012‐4521
N ELAINE DARE & ROBERT K DARE JT TEN            1203 FRANCES LANE                                                                             ANDERSON            IN    46012‐4521
N G HAYES                                       1103‐B SOUTHMOOR DR                                                                           ARLINGTON           TX    76010‐5845
N H YARBOROUGH                                  PO BOX 106                                                                                    SILVER CREEK        GA    30173
N HENRI MASARKY                                 14152 E LINVALE PL                   APT 607                                                  AURORA              CO    80014‐3727
N HOPPER ANCARROW JR                            921 S GASKINS RD                                                                              RICHMOND            VA    23233‐5913
N J CARNEY                                      143 LINDER DRIVE                                                                              HOMOSASSA           FL    34446‐4043
N J WEEDEN                                      6242 TYNDALL                                                                                  ST LOUIS            MO    63134‐1834
N JAMES CLARK                                   340 HORN OF THE MOON RD                                                                       MONTPELIER          VT    05602‐8598
N JANE SNURR                                    920 CHARLES ST                                                                                MECHANICSBURG       PA    17055‐3942
N JANE VIGEANT                                  114 SOUTH HIGH ST                                                                             FOXBORO             MA    02035‐2831
N JEROLD COHEN CUST GILES T COHEN A MINOR UNDER 999 PEACHTREE ST N E                                                                          ATLANTA             GA    30309‐3915
THE LAWS OF GEORGIA
N JEROLD COHEN CUST LINDSEY L COHEN A MINOR     999 PEACHTREE ST N E                                                                          ATLANTA             GA    30309‐3915
UNDER THE LAWS OF GEORGIA
N JEROLD COHEN CUST PAMELA G COHEN A MINOR      18 LEONARD ST APT 3C                                                                          NEW YORK            NY    10013‐2995
UNDER THE LAWS OF GEORGIA
N KNOWLES                                       C/O PATRICIA J GRANT                 57 FOOTHILL BLVD                                         EFFORT              PA    18330‐8889
N L INMAN                                       7969 SAFFEL RD                                                                                BONNE TERRE         MO    63628‐3416
N L MILLER                                      5905 DARTMOUTH CT                                                                             KOKOMO              IN    46902‐5299
N L ROLSTON                                     24640 CLARK                                                                                   BELLEVILLE          MI    48111‐9651
N L WISEMAN                                     37 CAYUGA DRIVE                                                                               PEEKSKILL           NY    10566‐4901
N LAVISA MULLEN & WILLIAM E MULLEN JT TEN       13406 PARDISSI CT                                                                             ST LOUIS            MO    63146‐3672
N LAVISA MULLEN TR N LAVISA MULLEN LIVING TRUST 13406 PARDISSI CT                                                                             ST LOUIS            MO    63146‐3672
UA 12/7/98
N LEIGHT MURRAY                                 515 4TH STREET                                                                                MARIETTA            OH    45750‐1902
N PERRY SANDERSON                               21202 HIGH DR                                                                                 LAGO VISTA          TX    78645‐6503
N PETER KRAMER                                  C/O N PETER KRAMER JR                509 WILLOW GROVE ST                                      HACKETTSTOWN        NJ    07840‐1711
N PETROCHKO                                     2011 SUE CREEK DR                                                                             BALTIMORE           MD    21221‐1931
N R BURR                                        2474 BLACKFOREST TR                                                                           ATLANTA             GA    30331‐2704
N RICHARD STEFANEK                              2899 SURREY LANE                                                                              TYLER               TX    75705‐2349
N RICHARD STEFANEK & SUSAN RAE STEFANEK JT TEN  2899 SURREY LANE                                                                              TYLER               TX    75705‐2349

N RUTH DORTON                                  35235 GREENWICH AVE                                                                            N RIDGEVILLE        OH    44039‐1390
N SABRINA BRIMER                               ATTN N SABRINA BRIMER NOBLES          7108 SKYLINE DRIVE                                       PELL CITY           AL    35128‐6928
N SHIRLEY MALINOWSKI                           4714 HILLCREST                                                                                 TRENTON             MI    48183‐4514
N STANLEY KING SR & DARYLENE C KING JT TEN     790 W MONROE ST                                                                                WYTHEVILLE          VA    24382‐2217
N STEWART NOSKY & JANICE K NOSKY JT TEN        1810 WHISPERWOOD WAY                                                                           HUNTSVILLE          AL    35806‐2406
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Name                                            Address1                              Address2                     Address3   Address4          City             State Zip

N TARESA HUMPHREY                               86‐E HERITAGE VLG                                                                               SOUTHBURY        CT    06488‐1661
N THOMAS LLOYD                                  350 COTTONWOOD DR                                                                               MOORESVILLE      IN    46158
N THOMPSON MARSH                                PO BOX 205                                                                                      MIFFLINBURG      PA    17844‐0205
N W BADO                                        51 SHEPARD AVENUE                                                                               KENMORE          NY    14217‐1913
N WU                                            29207 BEACHSIDE DR                                                                              RNCHO PALOS VERD CA    90275‐4901

NABIH G ABOU‐EID                                13 SIAS LANE                                                                                    SPENCERPORT      NY    14559‐1907
NABIL D SALEM                                   7316 VIA LORADO                                                                                 RANCHO PALOS     CA    90275‐4464
                                                                                                                                                VERDE
NABIL KAKO                                      8410 MAURICE LANE                                                                               FLUSHING         MI    48433‐2923
NABIL M EL‐RAYCHOUNI                            7242 KINGSLEY                                                                                   DEARBORN         MI    48126‐1632
NABIL M SABBAGH                                 26809 CECILE ST                                                                                 DEARBORN HEIGHTS MI    48126‐3392

NABIL S HAKIM & MAGDA HAKIM JT TEN              44035 DEEP HOLLOW CIRCLE                                                                        NORTHVILLE       MI    48168
NABOR HERNANDEZ JR                              PO BOX 1076                                                                                     MESA             AZ    85211‐1076
NACE J HAUGEN & JANET B HAUGEN JT TEN           3811 W GOLDEN KEYS WAY                                                                          CHANDLER         AZ    85226‐2269
NACE RICHARD TREESE                             3721 6TH AVE                                                                                    ALTOONA          PA    16602‐1710
NACHMAN M GERBER TR UA 01/18/94 NACHMAN M       C/O DENA GERBER                       7313 PARK HEIGHTS AVE #101                                PIKESVILLE       MD    21208‐5469
GERBER LIVING TRUST
NACK Y PAEK CUST JOHN C PAEK UTMA GA            4470 MOUNT PARAN PKWY                                                                           ATLANTA          GA    30327‐3747
NACOMA L SPAGNUOLO & WILLIAM CHARLES            2924 VICTOR AVE                                                                                 LANSING          MI    48911‐1738
SPAGNUOLO JT TEN
NADA J HERTZ & BRUCE D HERTZ JT TEN             421 FREDERICK ST                                                                                NOKOMIS          IL    62075
NADEAN C PIKE                                   C/O CHARLES G BURRIS                  8205 ROOSEVELT DR                                         SHREVEPORT       LA    71129‐4322
NADENE E LEE & SHIRLEY JEAN FUHLBRIGGE JT TEN   26901 RACQUET CIR                                                                               LEESBURG         FL    34748‐8091

NADENE SEASE                                    2978 SAN PABLE RD                                                                               JACKSONVILLE     FL    32224‐1832
NADHIR A MIO                                    7365 MAPLE MILL CT                                                                              W BLOOMFIELD     MI    48323‐4004
NADIA BALES                                     BOX 116                                                                                         MOORELAND        IN    47360‐0116
NADIA LENYK                                     95 CAMPBELL PARK                                                                                ROCHESTER        NY    14606‐1301
NADIA PETRYK                                    10 NILE DR                                                                                      ROCHESTER        NY    14622‐2553
NADIE L HOWARD                                  1506 N COLLEGE ST                                                                               CORDELL          OK    73632‐1214
NADINE A PARKER                                 3524 WELLSTON CT                                                                                SIMI VALLEY      CA    93063‐1145
NADINE A WILLIAMS                               4050 E STUDIO LANE                                                                              OAK CREEK        WI    53154‐6709
NADINE B BOWERS                                 PO BOX 609                                                                                      ALBEMARLE        NC    28002
NADINE B WHEELER                                443 W 93RD ST                                                                                   INGLEWOOD        CA    90301‐3145
NADINE C MCDERMOTT                              280 MIRTH DR                                                                                    VALLEY COTTAGE   NY    10989‐2402
NADINE DMYTRYSZYN CUST NINO DMYTRYSZYN UGMA     5340 SHERWOOD                                                                                   OXFORD           MI    48371‐3926
MI
NADINE E COY & GILBERT E COY JT TEN             3448 STELLA DRIVE                                                                               GREENWOOD        IN    46143‐8509
NADINE E GOBIE                                  586 FANTASY LANE                                                                                ANDERSON         IN    46013‐1163
NADINE E MEMMEK CUST SCOTT M KUDLACK UGMA       6103 WHITNEYVILLE                                                                               ALTO             MI    49302‐9651

NADINE E SANDS‐BAAB & DENNIS P BAAB JT TEN      103 RAVEN POINT                                                                                 SENECA           SC    29672
NADINE E VANEVERY                               4061 CRANBROOK COURT                                                                            BLOOMFIELD       MI    48301
NADINE E WALKER                                 21430 WESTVIEW                                                                                  FERNDALE         MI    48220‐2269
NADINE FREDERICK                                6711 COEN ROAD                                                                                  VERMILION        OH    44089‐9335
NADINE G PARDO                                  8928 RUTH                                                                                       ALLEN PK         MI    48101‐1551
NADINE GADBERRY                                 1027 RIVER BEND RD                                                                              CHATTANOOGA      TN    37419‐1027
NADINE H SULLIVAN                               887 STONEWATER DR                                                                               KENT             OH    44240‐2052
NADINE J WULF                                   12160 10TH ST S                                                                                 AFTON            MN    55001‐9794
NADINE KAISER                                   1514 CAMDEN CT B1                                                                               WHEELING         IL    60090‐6978
NADINE KEGLEY                                   HC‐81 BOX 495                                                                                   SANDY HOOK       KY    41171
NADINE L ROSS                                   3682 SUTTON PL                                                                                  POWELL           OH    43065‐7077
NADINE M BOYKINS                                14820 MARK TWAIN ST                                                                             DETROIT          MI    48227‐2930
NADINE M BRADNER                                PO BOX 2802                                                                                     CHESTER          VA    23831
NADINE M MILLER                                 3 LOCUST AVE                                                                                    DOVER            NJ    07801‐3543
NADINE MATHEWS                                  2902 MARGEAUX DR                                                                                LANCASTER        TX    75134‐4930
NADINE PAPPAS                                   3985 LORD BYRON CIR                                                                             ROUND ROCK       TX    78664‐3935
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Name                                             Address1                                Address2              Address3         Address4          City               State Zip

NADINE R SELBE                                   5314 DALEWOOD DR                                                                                 CHARLESTON         WV    25313‐1706
NADINE SECAREA                                   PO BOX 8461                                                                                      NEWPORT BEACH      CA    92658‐8461
NADINE SPRING                                    280 TUCKER STREET                                                                                SAFETY HARBOR      FL    34695‐3154
NADINE T BRITT                                   7810 SE 30TH ST                         APT 208                                                  MERCER ISLAND      WA    98040‐2987
NADINE THOMAS                                    1304 WEST ST                                                                                     HOMESTEAD          PA    15120‐1745
NADINE TYGIELSKI                                 141 W SEMINOLE DR                                                                                PHOENIX            AZ    85023‐5277
NADINE V GRING                                   1332 S BATES ST                                                                                  BIRMINGHAM         MI    48009‐1987
NADINE VAN SICKLE                                1920 BUSCH RD                                                                                    BIRCH RUN          MI    48415
NADINE VERMILLION                                C/O J NADENE DOCK                       1313 CARDINAL DRIVE                                      WARSAW             IN    46580‐2005
NADINE W KUENZER                                 150 N HOLCOMB ST                                                                                 CLARKSTON          MI    48346‐1470
NADINE W POST                                    4 THERESA JAMES ST                                                                               WARRENSBURG        NY    12885‐1516
NADINE WASHINGTON                                19461 BEAVERLAND ST                                                                              DETROIT            MI    48219‐1830
NADINE WILHELM CUST ANDREA WILHELM UTMA AL       727 PETTUS RD                                                                                    MADISON            AL    35757‐7615

NADRA ROBINSON KISSMAN                           15300 RED ARROW HIGHWAY                                                                          UNION PIER         MI    49129‐9701
NADY BOULES                                      2055 PONDWAY                                                                                     TROY               MI    48098‐4193
NADYNNE B HUNGATE                                69 TWIN BROOKS AVE                                                                               MIDDLETOWN         NJ    07748‐3413
NAEEM M HASAN                                    8603 PIEDMONT ST                                                                                 DETROIT            MI    48228‐3022
NAGARAJAN ANANTHARAMAN & SARASWATHI              3420 TEMPEST WAY                                                                                 WINTER GARDEN      FL    34787‐5319
ANANTHARAMAN JT TEN
NAGENDRA P PALAKODATY & RADHIKA V PALAKODATY     5623 W GARY DR                                                                                   CHANDLER           AZ    85226‐1264
JT TEN
NAGESWARA R TIRUMALASETTY                        882 HILL ROOST RD                                                                                TALLAHASSEE        FL    32312‐6715
NAGESWARARAO VP YERRA                            3607 75TH ST                                                                                     MOLINE             IL    61265‐8018
NAGI H ZINDANI                                   4243 RAMSGATE LN                                                                                 BLOOMFIELD         MI    48302‐1636
NAGI M AHMED                                     5523 BRASCOTT                                                                                    DETROIT            MI    48212
NAGJIBHAI J SUTARIYA & KASHI N SUTARIYA JT TEN   11776 HUNTERS CREEK                                                                              PLYMOUTH           MI    48170‐2815

NAIA ANN WARD                                    2930 BELLASERA WAY                                                                               MATTHEWS           NC    28105
NAIDA I DEJESUS                                  D‐11 CALLE CANARIO                      URB VILLA SERENOS     ARECIBO PR       612 PUERTO RICO
NAIF D SALMAN & NANCY F SALMAN TR UA 02/02/94    3016 OCEANVIEW STREET                                                                            ORANGE             CA    92865
SALMAN FAMILY TRUST
NAIM K BARAKAT                                   6225 BINGHAM                                                                                     DEARBORN           MI    48126‐2201
NAIM M SUGHAYAR                                  8009 CAMBRIDGE DR                                                                                ORLAND PARK        IL    60462‐2386
NAINAN V DESAI                                   320 DEBUEL RD                                                                                    LUTZ               FL    33549‐5444
NAJIB SALEH & ANITA SALEH JT TEN                 1830 N KASPAR AVE                                                                                ARLINGTON HTS      IL    60004
NAKELA L COOK                                    6630 31ST PL NW                                                                                  WASHINGTON         DC    20015‐2302
NALDA JEAN MOORE                                 542 PENNVIEW DRIVE                                                                               PENN HILLS         PA    15235
NALINI MEHTA & NILSMA MARSHALL JT TEN            3965 BLACKSTONE DRIVE                                                                            AURORA             IL    60504‐5390
NALVIN R DAVIS                                   1310 BROOKLINE ST                                                                                ANDERSON           IN    46012‐4325
NAM H KIM                                        3098 GREEN HAVEN CT                                                                              ELLICOTT CITY      MD    21042‐7828
NAM H NGO                                        3640 OBSERVATORY LN                                                                              HOLT               MI    48842‐9418
NAM V TRINH                                      11828 KINGS RIDGE TERR                                                                           OKLAHOMA CITY      OK    73170‐4423
NAMON HENRY JR                                   11836 E 61ST TER                                                                                 KANSAS CITY        MO    64133‐4433
NAMON SANDERS                                    547 FOX HILLS N DR                                                                               BLOOMFIELD HILLS   MI    48304‐1311

NAN BASES                                        316 W 22ND ST                                                                                    NEW YORK           NY    10011‐2689
NAN DI NICOLA                                    C/O DOROTHY MURPHY                      25 AUBURN ROAD                                           TOMS RIVER         NJ    08757‐6378
NAN E CONNELL                                    400 MOUNTAIN GAP RD SE                                                                           HUNTSVILLE         AL    35803‐1559
NAN E ERNST                                      55 ASHLEY TER                                                                                    SOUDERTON          PA    18964‐2906
NAN ELAINE TURNER                                ATTN NAN E WILLIS                       PO BOX 1585                                              BELLEVILLE         MI    48112‐1585
NAN G DONALDSON                                  2003 BACON PARK DR                                                                               SAVANNAH           GA    31406‐2207
NAN GILBERT & MITCHELL GILBERT JT TEN            1118 OLD BRITTON RD                                                                              N BELLMORE         NY    11710‐1752
NAN L STOREY                                     2659 OLD WESLY PLACE                                                                             ATLANTA            GA    30327‐1346
NAN M RICH & JOHN L RICH JT TEN                  22 RIVERVIEW CT                                                                                  SAPPHIRE           NC    28774‐9796
NAN MARIE OTTERSBACH EXECUTOR OF THE ESTATE OF   13850 OCEAN VIEW DRIVE                                                                           SMITH RIVER        CA    95567‐9405
RAYMOND MARVIN PRICE
NAN R MINTON                                     602 COUNTRY LANE DR                                                                              JONESBORO          GA    30238‐4406
NAN S BLOWNEY                                    APT 2J                                  3 STONEHILL DRIVE                                        STONEHAM           MA    02180‐3937
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NAN TINSLEY BIRCHALL                              110 BARRETT PLACE                                                                             DURHAM            NC    27713‐9734
NANA BERISHVILI‐SHONK                             1912 CRESCENT DRIVE                                                                           TARRYTOWN         NY    10591
NANCE W GILLESPIE & H JOHN GILLESPIE JT TEN       90482 SUNDERMAN RD                                                                            SPRINGFIELD       OR    97478‐9700
NANCE W GILLESPIE & H THOMAA GILLESPIE JT TEN     7222 SW BRIAR PLACE                                                                           PORTLAND          OR    97201

NANCEE A GORE                                     1640 HWY KK                                                                                   FREDERICKTOWN     MO    63645‐8138
NANCI ALLISON                                     PO BOX 41                                                                                     ECHO              UT    84024‐0041
NANCI B SHELLHAMMER                               1370 DIAMOND STREET                                                                           SAN DIEGO         CA    92109‐3042
NANCI LUCAS                                       3650 ROGERS RD #337                                                                           WAKE FOREST       NC    27587
NANCI M KAESEMEYER                                496 WALTER AVE                                                                                FAIRFIELD         OH    45014
NANCI TARRANT                                     4060 HWY 2                                                                                    BLUE RIDGE        GA    30513‐3802
NANCI WILBORN                                     PO BOX 1183                                                                                   TRES PINOS        CA    95075
NANCIANNE ALLEN                                   2 ELMWOOD FARM DR 105B                                                                        HANOVER           MA    02339‐2358
NANCIE A BARR                                     BOX 26157                                                                                     BIRMINGHAM        AL    35260‐0157
NANCIE KIEWEG                                     14813 MEADOW LN                                                                               OVERLAND PARK     KS    66224‐4615
NANCIE N CAREY                                    1673 BLUE ROCK ST                                                                             CINCINNATI        OH    45223‐2555
NANCIE OWENS                                      2015 LONGCOME DR                                                                              WILMINGTON        DE    19810‐3873
NANCY A ARSENEAULT                                PO BOX 190                                                                                    ASHBY             MA    01431‐0190
NANCY A BARANKO                                   PO BOX 547                                                                                    BOGART            GA    30622‐0547
NANCY A BARNDT                                    429 SCHOOLHOUSE RD                                                                            SELLERSVILLE      PA    18960‐2938
NANCY A BEITLER                                   49432 TARRYTOWN CT                                                                            UTICA             MI    48315‐3978
NANCY A BEITLER & NORMAN BEITLER JT TEN           49432 TARRYTOWN CT                                                                            SHELBY TOWNSHIP   MI    48315‐3978

NANCY A BEITLER & SHIRLEY J REICHER JT TEN        49432 TARRYTOWN CT                                                                            SHELBY TOWNSHIP   MI    48315‐3978

NANCY A BELLONI                                   237 MAYER                            WALES TOWNSHIP                                           GOODELLS          MI    48027
NANCY A BLANCH                                    110 MORRIS CRES                                                                               BUFFALO           NY    14224‐1652
NANCY A BLASNIK                                   276 SOUNDVIEW AVENUE                                                                          STAMFORD          CT    06902‐7121
NANCY A BLODGETT                                  4855 HILLCREST DR                                                                             SAGINAW           MI    48638‐4641
NANCY A BOGGESS                                   200 HILL ST                                                                                   EVANS CITY        PA    16033‐1031
NANCY A BORROMEY                                  204 WINDSOR DRIVE NORTH                                                                       FRAMINGHAM        MA    01701‐3065
NANCY A BRAGA                                     1504 PYRITE DRIVE                                                                             YREKA             CA    96097‐9621
NANCY A BRILL & EVAN L BRILL JT TEN               2132 CHELTENHAM ROAD                                                                          COLUMBUS          OH    43220‐4343
NANCY A BROLET                                    100 SHORE COURT 307 A                                                                         NORTH PALM        FL    33408‐5526
                                                                                                                                                BEACH
NANCY A BRZINSKI                                  6041 W ARMOUR AVE                                                                             GREENFIELD        WI    53220‐3906
NANCY A BUNDRA                                    275 ROCK POINT DR                                                                             VONORE            TN    37885‐2068
NANCY A BUSH                                      8901 LIGHTER KNOT DR                                                                          LAKE WALES        FL    33898‐7246
NANCY A BYRN                                      APT 315                              753 JAMES STREET                                         SYRACUSE          NY    13203‐2104
NANCY A CERVANTES                                 2702 W NELSON ST                                                                              CHICAGO           IL    60618‐7120
NANCY A CHAMBERS                                  445 LARKSPUR LN                                                                               SEVERNA PARK      MD    21146‐1346
NANCY A CHESTNUT                                  720 CUMMINGS AVE                                                                              KENILWORTH        IL    60043‐1013
NANCY A CICERO                                    3437 MORGAN LAKE CT                                                                           JACKSONVILLE      FL    32216‐6229
NANCY A CLARKSON                                  HCR1 BOX 183B                                                                                 EAGLE HARBOR      MI    49950‐9715
NANCY A COLLINS                                   1759 PATRICIA WAY                                                                             SALT LAKE CITY    UT    84116‐3025
NANCY A COLLINS                                   75 PIONEER DR                                                                                 LONGMEADOW        MA    01106‐2805
NANCY A COOPER & JUSTIN D COOPER JT TEN           18130 FOX GLEN DR                                                                             RIVERVIEW         MI    48193
NANCY A COOPER & STEPHEN E COOPER JT TEN          18130 FOX GLEN DR                                                                             RIVERVIEW         MI    48193
NANCY A COWAN                                     5709 TANGLEWOOD PLACE                                                                         LAS CRUCES        NM    88012‐8349
NANCY A CZUPKOWSKI & SANDRA M FOX JT TEN          648 FAN HILL RD                                                                               MONROE            CT    06468
NANCY A DARLING                                   94 CANDLELITE LN                                                                              PONTIAC           MI    48340‐1604
NANCY A DEAN                                      33‐51 160TH STREET                                                                            FLUSHING          NY    11358‐1346
NANCY A DEERING                                   4939 HILLVIEW CT                                                                              LEWISTON          NY    14092‐1809
NANCY A DENARI                                    18902 NORTHBROOK CIR                                                                          WESTFIELD         IN    46074‐9254
NANCY A DILLON                                    24879 T 75 RD                                                                                 CEDAREDGE         CO    81413‐9520
NANCY A DIMODICA & MARY A RESNICK & MARTHA A      1300 PLEASANT WALK CT                                                                         MT PLEASANT       SC    29466‐9335
PRIESTER JT TEN
NANCY A DROBET                                    4004 GRANGE                                                                                   TRENTON           MI    48183‐3959
NANCY A DZIERZAWSKI                               374 EGAN HWY                                                                                  BROOKLYN          MI    49230‐8430
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Name                                           Address1                               Address2             Address3          Address4          City            State Zip

NANCY A EDGAR & SUSAN E EDGAR & KATHLEEN J     37364 CORALBURST ST                                                                             SANDY           OR    97055‐5372
EDGAR JT TEN
NANCY A EGAN                                   20 SPRINGTOWN ROAD                                                                              WHITEHOUSE      NJ    08889‐3349
                                                                                                                                               STATION
NANCY A ERICKSON                              1687 COLUMBIA ROCK RD                                                                            COLUMBIA        TN    38401‐1530
NANCY A ERICKSON                              4977 BATTERY LANE #508                                                                           BETHESDA        MD    20814‐4919
NANCY A ESSEX                                 2580 WILLOW LAKES EAST BLVD                                                                      GREENWOOD       IN    46143‐8393
NANCY A EVANS                                 5701 BURGER ST                                                                                   DEARBORN        MI    48127‐2409
NANCY A FANNON & KEVIN F FANNON JT TEN        14514 MOORING DR                                                                                 SEMINOLE        FL    33776‐1111
NANCY A FLINT                                 388 COPLEY DR                                                                                    LANCASTER       PA    17601‐2976
NANCY A FLYNN                                 40 PICADILLY DRIVE                                                                               HAMILTON        OH    45013‐3621
NANCY A FODELL                                53259 GLEN OAK DR                                                                                CHESTERFIELD    MI    48051‐2047
NANCY A FOSTER                                348 SUNSET HILLS N W                                                                             WALKER          MI    49534
NANCY A FRATE                                 14 BLUE HERON DR                                                                                 ROCHESTER       NY    14624‐1067
NANCY A GALLO                                 22 EVERGREEN DRIVE                                                                               ROCHESTER       NY    14624‐3625
NANCY A GENOVA & BRIAN J GENOVA JT TEN        46984 VINEYARDS LANE                                                                             MACOMB TWP      MI    48042‐5935
NANCY A GENOVA CUST BRITTANY C GENOVA UGMA MI 46984 VINEYARDS LANE                                                                             MACOMB          MI    48042‐5935
                                                                                                                                               TOWNSHIP
NANCY A GERCHAK                                573 NORTH CARPENTER                                                                             BRUNSWICK HLS   OH    44212‐2252
NANCY A GROSSO                                 4734 CARRIAGE CROSSING                                                                          SYLVANIA        OH    43560‐2998
NANCY A HADDIX                                 2805 SAN RAE DRIVE                                                                              KETTERING       OH    45419‐1838
NANCY A HAILSTON                               205 DE LA GAYE PT                                                                               BEAUFORT        SC    29902‐5886
NANCY A HALL                                   4840 COUNTRY VIEW RD                                                                            STURGEON BAY    WI    54235‐9651
NANCY A HALLER & JOHN W HODGSON JT TEN         2220 CASTLE CREST DR                                                                            WORTHINGTON     OH    43085‐2901
NANCY A HANDELONG                              C/O NANCY H HANCOCK                    21 POND VIEW DRIVE                                       WADING RIVER    NY    11792‐9402
NANCY A HANLON                                 802 WOODSDALE ROAD                                                                              WILMINGTON      DE    19809‐2245
NANCY A HANSEN                                 1001 WILLIAMS STREET NW                                                                         ORTING          WA    98360‐8459
NANCY A HARTMAN                                211 BUCHANAN PLACEB‐101                                                                         PITTSBURGH      PA    15228
NANCY A HASKELL                                49 EAST 12TH ST 3‐B                                                                             NEW YORK        NY    10003‐4652
NANCY A HEIDINGER                              4223 W SADDLEHORN RD                                                                            PHOENIX         AZ    85083‐2419
NANCY A HERZIG                                 11059 ALSCOT LANE                                                                               WHITE HOUSE     OH    43571‐9774
NANCY A HERZINA                                19124 CHELTON DR                                                                                BEVERLY HILLS   MI    48025‐5212
NANCY A HISHKE                                 7151 BLUEWATER DRIVE                                                                            CLARKSTON       MI    48348‐4274
NANCY A HOLMES & WILLIAM J HOLMES JR JT TEN    5618 DEERWOOD LN                                                                                COMMERCE TWP    MI    48382‐1017
NANCY A HOUSE                                  7252 LAWRENCE                                                                                   GRAND BLANC     MI    48439‐9308
NANCY A HUGHES                                 2655 HUDDLESTONE WAY                                                                            CUMMING         GA    30041‐7959
NANCY A HUNT TR SHIRLEY HUNTER TRUST 1 NQ UA   1900 N AKARD ST                                                                                 DALLAS          TX    75201‐2300
05/19/01
NANCY A JOHNSON                                24466 BASHIAN                                                                                   NOVI             MI   48375‐2924
NANCY A JOHNSTON                               2621 SORREL WAY                                                                                 NAPLES           FL   34105‐3048
NANCY A JONES & DAVID L JONES JT TEN           9060 CALKINS ROAD                                                                               FLINT            MI   48532‐5522
NANCY A KALININ & ALBERT J KALININ JT TEN      37731 HURON POINTE DR                                                                           HARRISON TWP     MI   48045‐2826
NANCY A KARPINSKI                              1204 1/2 S SMALLEY                                                                              SHAWANO          WI   54166‐3316
NANCY A KENT                                   305 CHESTNUT STREET                                                                             HAZEL PARK       MI   48030‐1325
NANCY A KEPPEL                                 666 MILL VALLEY RD                                                                              PALATINE         IL   60067‐3718
NANCY A KIMBELL                                1253 FAIRFIELD E                                                                                ATLANTA          GA   30338‐3229
NANCY A KOONTZ                                 246 PARK ST                            PO BOX 43                                                URSINA           PA   15485‐0043
NANCY A KORNACKI                               29411 CRAWFORD CT                                                                               FARMINGTON HILLS MI   48331‐2422

NANCY A KUSTICH GOLOMBEK                       5770 PLUM ORCHARD DRIVE                                                                         COLUMBUS        OH    43213‐2676
NANCY A LEHIGH & HERBERT A LEON JT TEN         907 N GAINSBOROUGH                                                                              ROYAL OAK       MI    48067‐3691
NANCY A LEISTER                                692 MORNING GLORY DR                                                                            HANOVER         PA    17331‐7828
NANCY A LIPPER                                 15 ROCKLAND AVE                                                                                 BROCKTON        MA    02301‐4827
NANCY A LIPPER & WILLIAM P LIPPER JT TEN       15 ROCKLAND AVE                                                                                 BROCKTON        MA    02301‐4827
NANCY A LIVITSKI                               2701 RIDGE RD EXT                                                                               BADEN           PA    15005‐2209
NANCY A LUCAS                                  87 WESTWOOD DRIVE                                                                               WHITMAN         MA    02382‐1045
NANCY A MAES                                   7245 BLUE WATER DR                                                                              CLARKSTON       MI    48348
NANCY A MANOR                                  220 S WILLIAMS ST                                                                               PERRY           MI    48872‐8123
NANCY A MARSH                                  11875 CHASE BLVD                                                                                LIVONIA         MI    48150‐5039
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Name                                              Address1                              Address2                Address3       Address4          City               State Zip

NANCY A MATZKE                                    1225 ALUM ROCK RD                                                                              RENO               NV    89506‐3307
NANCY A MAWSON                                    541 DRUMCLIFF WAY                                                                              ROCHESTER          NY    14612‐3135
NANCY A MAYNARD & JOE M MAYNARD JT TEN            46063 MIDDLE BRANCH CT                                                                         MACOMB             MI    48044‐5763
NANCY A MCABOY                                    ATTN NANCY A ERICKSON                 1687 COLUMBIA ROCK RD                                    COLUMBIA           TN    38401‐1530
NANCY A MCCLAIN                                   7019 ROBERTS COURT                                                                             ST LOUIS           MO    63130‐1947
NANCY A MCCREIGHT                                 48 MORGAN AVE                                                                                  WASHINGTON         PA    15301‐6766
NANCY A MEEKER                                    8945 CHAMBERLAIN RD                                                                            LONDON             OH    43140‐9667
NANCY A MENNE                                     2656 ST HELENA CT                                                                              LIVERMORE          CA    94550‐7332
NANCY A MENZ                                      6655 JACKSON RD LOT 744                                                                        ANN ARBOR          MI    48103‐9682
NANCY A MILLER & ROBERT I MILLER JT TEN           100 ELIZABETH DR                                                                               PITTSBURGH         PA    15235‐3108
NANCY A MILLS                                     PO BOX 299                                                                                     ALMONT             MI    48003
NANCY A MOLITOR                                   2161 OLD HWY 79                                                                                O'FALLON           MO    63366‐1141
NANCY A MONGER                                    1001 ELYSIAN PL                       APT 215                                                  CHESAPEAKE         VA    23320‐2994
NANCY A MORRISSEY                                 2067‐27TH ST                                                                                   CUYAHOGA FALLS     OH    44223‐1103
NANCY A MUNN                                      103 WILLOWBROOK DR                                                                             AUBURN             NY    13021‐9126
NANCY A MUZIK                                     118 CENTERFIELD DRIVE                 COURTICE ON                            L1E 1L4 CANADA
NANCY A MUZIK                                     118 CENTERFIELD DR                    COURTICE ON                            L1E 1L4 CANADA
NANCY A MYERS & JERRY D MYERS JT TEN              PO BOX 91586                                                                                   HENDERSON          NV    89009‐1586
NANCY A MYERS & JERRY DON MYERS JT TEN            PO BOX 91586                                                                                   HENDERSON          NV    89009‐1586
NANCY A NAST CUST RYAN J NAST UGMA MI             3674 MT VERNON CT                                                                              HIGHLAND           MI    48356‐1640
NANCY A NUBELO                                    338 OHIO STREET                                                                                LOCKPORT           NY    14094
NANCY A OETTINGER                                 333 E 66TH ST                                                                                  NEW YORK           NY    10021‐6227
NANCY A OLSON                                     45 PRATT ROAD                                                                                  PUTNEY             VT    05346‐8727
NANCY A ONEILL                                    636 MAIZE RD                                                                                   MURPHY             TX    75094‐5309
NANCY A PATRICK                                   2312 S HOLLISTER RD                                                                            OVID               MI    48866‐8617
NANCY A PEERY                                     111 HILL ST                           APT D                                                    STEWARTSVILLE      MO    64490‐6105
NANCY A PHELPS                                    1122 N CASS LK RD                                                                              WATERFORD          MI    48328‐1312
NANCY A PHIFER                                    186 OAKDALE LN                                                                                 SPARTA             TN    38583‐5558
NANCY A PICHARELLA & JOSEPH PICHARELLA JT TEN     PO BOX 1368                                                                                    SCRANTON           PA    18501‐1368

NANCY A PIRRONELLO                                6266 PIEDMONT ST                                                                               DETROIT            MI    48228‐3951
NANCY A PLOMINSKI                                 22 DOGWOOD RD                                                                                  WEST ORANGE        NJ    07052‐1004
NANCY A PLUMLEY                                   18925 VAN ROAD                                                                                 LIVONIA            MI    48152
NANCY A PREBLE                                    41697 KIRKWOOD DR                                                                              NOVI               MI    48377‐1540
NANCY A RAASCH                                    ATTN N A STREICH                      407 E 5TH ST                                             MERRILL            WI    54452‐2065
NANCY A RANKE                                     1635 TRADING POST LN                                                                           BLOOMFIELD HILLS   MI    48302‐1867

NANCY A REED                                      5794 NEARING CIRCLE                                                                            MENTOR             OH    44060‐1937
NANCY A REED                                      12680 HILLCREST RD                    APT 1111                                                 DALLAS             TX    75230‐2014
NANCY A RINKER                                    5717 SW HANFORD                                                                                SEATTLE            WA    98116‐2827
NANCY A RUSINSKI                                  21 PLUMB CREEK TRAIL                                                                           LANCASATER         NY    14086‐2339
NANCY A SALAMITES                                 53 JODI DR                                                                                     MERIDEN            CT    06450‐3569
NANCY A SALITURI                                  74‐01 DITMARS BLVD                                                                             JACKSON HEIGHTS    NY    11370‐1129

NANCY A SANDE                                     7046 CAREY LANE N                                                                              MAPLE GROVE        MN    55369‐5408
NANCY A SAROCH                                    1553 ASHCROFT LANE                                                                             ARNOLD             MD    21012‐2464
NANCY A SCHAUB‐LANG                               3111 GABRIELS PL                                                                               SANDUSKY           OH    44870‐5997
NANCY A SCOTT                                     1415 S VASSAR ROAD                                                                             DAVISON            MI    48423‐2372
NANCY A SEYMOUR TR NANCY A SEYMOUR LIVING         311 W LAKE                            #10                                                      TAWAS CITY         MI    48763‐9297
TRUST UA 07/29/98
NANCY A SIELOFF CUST JACOB T SIELOFF              237 MAYER                             WALES TOWNSHIP                                           GOODELLS           MI    48027
NANCY A SIM                                       60 TONI TER                                                                                    ROCHESTER          NY    14624‐5013
NANCY A SMITH                                     ATTN NANCY A EGAN                     20 SPRINGTOWN ROAD                                       WHITE HOUSE STN    NJ    08889‐3349

NANCY A SMITH                                     PO BOX 974                                                                                     GREENFIELD         IN    46140
NANCY A SMITH‐SCHREIBER CONS LILA G SMITH         22707 BRANDYWINE DR                                                                            CALABASAS          CA    91302‐5736
NANCY A SOMODEVILLA                               4018 S LAKEWOOD DR                                                                             MEMPHIS            TN    38128‐4426
NANCY A STABLER CUST NATHAN WAYNE MCGAHA          153 BERRY DR                                                                                   WILMINGTON         DE    19808‐3617
UGMA DE
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Name                                             Address1                            Address2             Address3          Address4          City              State Zip

NANCY A STACK                                    10353 S ALBANY                                                                               CHICAGO        IL       60655‐2011
NANCY A STANLEY                                  8099 HUNTINGTON RIDGE CT                                                                     WASHINGTON TWP MI       48094‐2278

NANCY A STEWART                                  305 WHITE MAGNOLIA AVE                                                                       DARLINGTON         SC   29532‐1917
NANCY A STROUB                                   202 NORTH BEACH ST                                                                           BANCROFT           MI   48414‐9799
NANCY A SUSIN                                    22096 KNUDSEN DR                                                                             GROSSE ILE         MI   48138‐1395
NANCY A SYMONDS                                  261 CAPEN RD                                                                                 BROCKPORT          NY   14420‐9745
NANCY A TAYLOR                                   4408 CHELSEA DR                                                                              ANDERSON           IN   46013‐4512
NANCY A THOMAN                                   5629 FISHER RD                                                                               TEMPLE HILLS       MD   20748‐4733
NANCY A THOMPSON                                 88601 ERMI BEE                      SPRINGFIELD                                              SPRINGFIELD        OR   97478‐9722
NANCY A THURSAM & MARY KAE THURSAM JT TEN        28815 WEST CHICAGO                                                                           LIVONIA            MI   48150
NANCY A TOTH                                     801 S EAST ST                                                                                FENTON             MI   48430‐2969
NANCY A TOWNER                                   47510 MIDDLE RIDGE RD               E‐21                                                     AMHERST            OH   44001‐2617
NANCY A TRUSSELL                                 705 WHEELING AVE                                                                             GLEN DALE          WV   26038‐1643
NANCY A WALLA                                    8414 GLENGARRY PL                                                                            TRINITY            FL   34655‐4564
NANCY A WERNER                                   937 E BERYWN ST                                                                              INDIANAPOLIS       IN   46203‐5116
NANCY A WIEKRYKAS                                ATTN NANCY A FOLK                   22654 LAKELAND ST                                        SAINT CLAIR SHORES MI   48081‐2317

NANCY A WILLHOIT                                 1804 NORTH REDWOOD LANE                                                                      MCHENRY           IL    60050
NANCY A WILSON                                   106A OLD NASSAU RD                                                                           MONROE TWP        NJ    08831‐1581
NANCY A WITCHER                                  PO BOX 326                                                                                   NORTH JACKSON     OH    44451‐0326
NANCY A WODNICKI CUST ALLAN F WODNICKI UGMA IL   2207 HARROWGATE DR                  P O BARRINGTON                                           INVERNESS         IL    60010

NANCY A WOLF                                     PO BOX 304                                                                                   AUBURN            MI    48611‐0304
NANCY A WOMBOLD                                  230 MOUND STREET                                                                             BROOKVILLE        OH    45309‐1312
NANCY A ZIMMER CUST ANDREA ELLYN ZIMMER UGMA     133 MAIN ST                                                                                  HAYDENVILLE       MA    01039
CT
NANCY A ZIMMER CUST DAVID WILLIAM CHARLES        133 MAIN ST                                                                                  HAYDENVILLE       MA    01039
ZIMMER UGMA CT
NANCY A ZORN & ZACHARY ZORN JT TEN               87‐3192 EA ROAD                                                                              CAPTAIN COOK      HI    96704
NANCY ABBOTT AMICI & JAMES L AMICI JT TEN        BOX 112                                                                                      MARSHALLS CREEK   PA    18335‐0112

NANCY ADAM                                       ATTN NANCY ADAM‐TOPULLI             44714 ERIN DR                                            PLYMOUTH          MI    48170‐3809
NANCY ADAMS                                      40 PINCKNEY ST                                                                               BOSTON            MA    02114‐4800
NANCY AILEEN HOWARD                              14491 E 530 RD                                                                               COLCORD           OK    74338‐2949
NANCY ALFONZETTI                                 234 BEDFORD ROAD                                                                             PLEASANTVILLE     NY    10570‐2234
NANCY ALLEN                                      456 RIVERSIDE DR                                                                             PASADENA          MD    21122‐5060
NANCY ALLEN HALL                                 221 MOOREFIELD DR                                                                            MATTHEWS          NC    28104‐5402
NANCY AMANN MCDANIEL                             4550 BLACKLAND DR                                                                            MARIETTA          GA    30067‐4767
NANCY ANN BRANDT                                 11234 LAKEWOOD CROSSING                                                                      BRIDGETON         MO    63044‐3175
NANCY ANN BROMIRSKI                              2532 AVON DR                                                                                 MOUND             MN    55364‐1836
NANCY ANN BURGESS                                10081 REID RD                                                                                SWARTZ CREEK      MI    48473‐8567
NANCY ANN COOPER                                 8186 JUNE WA 104                                                                             EASTON            MD    21601‐4876
NANCY ANN CRAIG                                  3210 BYRNWYCK DR                                                                             FINDLAY           OH    45840‐2901
NANCY ANN DAVIS                                  15798 SCENIC GREEN COURT                                                                     CHESTERFIELD      MO    63017‐7335
NANCY ANN FLETCHER                               258 N CHERRYWOOD AVE                                                                         DAYTON            OH    45403‐1606
NANCY ANN GALLIGAN PERS REP FOR THE ESTATE OF    6726 AMY DR                                                                                  CLARKSTON         MI    48348‐4510
FRANK GELEN
NANCY ANN HARMS                                  56 WOODSHIRE DR                                                                              OTTUMWA           IA    52501‐1356
NANCY ANN JONES                                  1552 EDGEMERE DR                                                                             ROCHESTER         NY    14612‐1514
NANCY ANN LINDSAY                                ATTN NANCY LINDSAY‐SAYRE            1419 CASS RD                                             MAUMEE            OH    43537‐2717
NANCY ANN LISABETH                               6433 S WEST BAY SHORE DR                                                                     TRAVERSE CITY     MI    49684‐9207
NANCY ANN MILLAGE                                ATTN NANCY ANN BROMIRSKI            2532 AVON DR                                             MOUND             MN    55364‐1836
NANCY ANN MORRIS                                 1221 N SOONER DR                                                                             FAIRVIEW          OK    73737‐1042
NANCY ANN OTT & MICHAEL WILLIAM OTT JT TEN       5575 KNOLLWOOD                                                                               LEWISBURG         OH    45338‐9740
NANCY ANN POSEY                                  2234 OVERLOOK CREST                                                                          BIRMINGHAM        AL    35226‐3270
NANCY ANN REID                                   2737 WINTER GARDEN CT                                                                        ANN ARBOR         MI    48105‐1567
NANCY ANN REIF                                   25102 BRALEYBROOK CT                                                                         KATY              TX    77494‐2951
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NANCY ANN REKLAITIS CUST ASHLEY M REKLAITIS UGMA 49 STAGECOACH RD                                                                             BURLINGTON       CT    06013‐2406
CT
NANCY ANN REKLAITIS CUST JESSICA REKLAITIS UGMA 49 STAGECOACH RD                                                                              BURLINGTON       CT    06013‐2406
CT
NANCY ANN TUMOLO                                 537 CARLETON ST                                                                              BOUND BROOK      NJ    08805‐1224
NANCY ANN VOLKERS                                100 NW 139TH ST                                                                              MIAMI            FL    33168‐4820
NANCY ANN WEEKS                                  1805 CAMINO LA CANADA                                                                        SANTA FE         NM    87501‐1522
NANCY ANNE ADDISON                               160 LLOYD MANOR RD                  ETOBICOKE ON                           M9B 5K3 CANADA
NANCY ANNE HILL                                  462 RIVER RD                        APT L                                                    NUTLEY           NJ    07110‐3649
NANCY ANNE KORN                                  15957 D ALENE DR                                                                             DELRAY BEACH     FL    33446‐9558
NANCY ARLENE SULLIVAN & TERRENCE JOSEPH          28785 SUMMIT                                                                                 NOVI             MI    48377‐2941
SULLIVAN JT TEN
NANCY ARMSTRONG                                  2148 STACIA WAY                                                                              SACRAMENTO       CA    95822‐2129
NANCY ASBURY                                     712 E 32ND ST                                                                                ANDERSON         IN    46016‐5426
NANCY ASCHE                                      139 ROGER DR                                                                                 SANTA CRUZ       CA    95060
NANCY ASHWORTH                                   6414 GIRVIN DR                                                                               OAKLAND          CA    94611‐1650
NANCY B APPLEQUIST                               1504 MCKINLEY DR                                                                             AMES             IA    50010‐4516
NANCY B ARNOLD                                   PO BOX 461 MAIN OFFICE                                                                       JOHNSON CITY     TN    37605‐0461
NANCY B ARNOLD & GEORGE M ARNOLD JT TEN          PO BOX 461 MAIN OFFICE                                                                       JOHNSON CITY     TN    37605‐0461
NANCY B ARNOLD & GEORGE MALCOLM ARNOLD JT TEN PO BOX 461                                                                                      JOHNSON CITY     TN    37605‐0461

NANCY B BENTLEY TR UA BENTLEY FAMILY TRUST      108 S BUTEO WOODS LANE                                                                        LAS VEGAS        NV    89144
01/25/91
NANCY B CAIN                                    1533 KINDERHOOK RD                                                                            CHITTENANGO      NY    13037‐9426
NANCY B COAR & LAURENCE COAR JR JT TEN          311 BRIGHTON DR                                                                               CLARKS GREEN     PA    18411‐1103
NANCY B DAVIDSON                                16728 BRASSART ROAD                                                                           LUTZ             FL    33549‐5736
NANCY B DOIRON                                  9012 LAWS RD                                                                                  CLERMONT         FL    34714‐9137
NANCY B ELMER                                   48371 SEAWIND CT                                                                              SHELBY TWP       MI    48315‐4318
NANCY B FAST                                    239 NOTTINGHAM DR                                                                             SAN ANTONIO      TX    78209‐3326
NANCY B GHAREEB                                 91 MAC ARTHUR ROAD                                                                            STONEHAM         MA    02180‐3411
NANCY B GRIECO                                  10 IVY GLEN LANE                                                                              LAWRENCEVILLE    NJ    08648‐1042
NANCY B HAWES                                   C/O H C PALMER III ESQ               4001 VENTURA AVE                                         MIAMI            FL    33133
NANCY B HOMA                                    656 YOUNGSTOWN KINGSVILL                                                                      VIENNA           OH    44473‐9605
NANCY B HOWARD                                  2601 DREW VALLEY RD NE                                                                        ATLANTA          GA    30319‐3927
NANCY B HUNTER                                  3565 STATE RTE 329                                                                            WATKINS GLEN     NY    14891
NANCY B KELLOND                                 10026 EDEN VALLEY DR                                                                          SPRING           TX    77379‐2991
NANCY B KUBLER                                  67 ABERDEEN DRIVE                                                                             LITTLE ROCK      AR    72223‐9100
NANCY B LECHOTA & THOMAS A LECHOTA JT TEN       4109 IROQUOIS TRL                                                                             KALAMAZOO        MI    49006‐1922
NANCY B LENFEST                                 94 KENNEBEC DR                                                                                FARMINGDALE      ME    04344‐2955
NANCY B LOHR                                    730 BLOOM ST APT 3E                                                                           JOHNSTOWN        PA    15902
NANCY B LONON                                   131 LAUREL LANE                                                                               MARION           NC    28752‐6417
NANCY B MANNING                                 6003 PINWOOD CIR                                                                              ARLINGTON        TX    76001‐5651
NANCY B MARKS                                   2101 NE 7TH ST                                                                                GAINESVILLE      FL    32609‐3779
NANCY B MARTIN                                  1900 LAUDERDALE DR                   APT B‐216                                                RICHMOND         VA    23233‐3968
NANCY B MORETTA & THOMAS R MORETTA JT TEN       34 LAKE VIEW DR                                                                               PRESTON          CT    06365
NANCY B NALE                                    309 REMBRANDT DR                                                                              OLD HICKORY      TN    37138‐1716
NANCY B NEUBERGER                               295 CENTRAL PARK WEST                                                                         NEW YORK         NY    10024‐3008
NANCY B O'NEIL                                  PO BOX 584                                                                                    HYANNISPORT      MA    02647‐0584
NANCY B OLIVER                                  2502 CAMERON MILLS ROAD                                                                       ALEXANDRIA       VA    22302‐2801
NANCY B PFAFF                                   607 TERRACE DRIVE                                                                             CARBONDALE       IL    62901‐2116
NANCY B POLIMER                                 1325 THAYER AVENUE                                                                            LOS ANGELES      CA    90024‐5123
NANCY B POWELL                                  5076 S LAKESHORE RD                                                                           LEXINGTON        MI    48450‐9307
NANCY B SEIFERT                                 1525 LITTLE HILL RD                                                                           POINT PLEASANT   NJ    08742‐3431
NANCY B SHEPARD                                 454 RIVERSIDE DR                     7‐B                                                      NEW YORK         NY    10027‐6845
NANCY B STEWART                                 C/O J L STEWART                      5313 BENT CREEK DR                                       OKLAHOMA CITY    OK    73135‐4334
NANCY B WILKINSON                               2116 EASTWOOD RIDGE DRIVE                                                                     MOSELEY          VA    23120‐1175
NANCY BACON                                     ATTN NANCY JOHNSON                   5677 PROSSER AVE                                         CINCINNATI       OH    45216‐2417
NANCY BAILEY                                    108 HOLMAN RD                                                                                 WILLIAMSBURG     VA    23185‐5515
NANCY BALSDON                                   12 LINCOLN CT                        ST THOMAS ON                           N5R 1E4 CANADA
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Name                                            Address1                               Address2             Address3          Address4          City              State Zip

NANCY BALTZ                                     705 RAVINIA                                                                                     SHOREWOOD         IL    60431‐9122
NANCY BARBARO & MICHAEL BARBARO JT TEN          1 MILLERIDGE DR                                                                                 DEER PARK         NY    11729‐1912
NANCY BASMAJIAN                                 1527 JONESBORO CHURCH RD                                                                        BLACKSTONE        VA    23824‐5036
NANCY BEARD                                     12052 WATKINS                                                                                   UTICA             MI    48315‐5766
NANCY BECKER                                    1051 MERRILL AVE                                                                                LINCOLN PARK      MI    48146‐3614
NANCY BERANN OLSON                              20761 SWANS WAY                                                                                 BARRINGTON        IL    60010‐3768
NANCY BIGGER FOR THE EST                        1316 OAK ST W                                                                                   STILLWATER        MN    55082‐5502
NANCY BINZ SCHULTZ                              4626 WILMA DR                                                                                   CORPUS CHRISTI    TX    78412‐2356
NANCY BLAIR                                     3920 EILER                                                                                      ST LOUIS          MO    63116‐3302
NANCY BLAIR WARING                              11530 DELORES FERGUSON LN                                                                       CHARLOTTE         NC    28277‐2135
NANCY BLAKLEY & MICHAEL L BLAKLEY JT TEN        6524 RUNNEL DRIVE                                                                               NEW PRT RCHY      FL    34653
NANCY BOND BECKLEY                              HC 70 BOX 605                                                                                   OCATE             NM    87734‐9708
NANCY BOSHES CUST LEE BOSHES UTMA IL            1325 E CANTON CT                                                                                DEERFIELD         IL    60015‐2327
NANCY BOWLES REEVES                             BOX 216                                101 E WALNUT ST                                          SPRING VALLEY     OH    45370‐0216
NANCY BRANDT & CARL E BRANDT JT TEN             1048 STONEGATE CT                                                                               FLINT             MI    48532‐2173
NANCY BRANN                                     12938 AQUA VALLEY                                                                               HELOTES           TX    78023‐4114
NANCY BRAZIK LARKIN CUST GREGORY MILLS LARKIN   12 LAGUNA CIRCLE                                                                                WYLIE             TX    75098
UGMA TX
NANCY BRODSON IGNATIN                           313 SCHOOL STREET #1                                                                            N WALES           PA    19454‐3122
NANCY BROWN                                     492 BISSONETTE RD                                                                               OSCODA            MI    48750‐9224
NANCY BROWN                                     5494 TANGLEWOOD DR                                                                              HAMBURG           NY    14075‐7122
NANCY BRUNNER‐JOPP                              13409 N MANZANITA LN                                                                            FOUNTAIN HILLS    AZ    85268‐4110
NANCY BURNETT                                   8910 BRIARBROOK NE                                                                              WARREN            OH    44484‐1741
NANCY BURSON CUST BENJAMIN BURSON UGMA NC       727 CAYUGA ST APT 6                                                                             LEWISTON          NY    14092‐1740

NANCY C ADAMS & RICHARD J ADAMS JR JT TEN       30977 PEAR RIDGE RD                                                                             FARMINGTON HILLS MI     48334‐1050

NANCY C ANDERSON                                26724 OAK RIVER DR                                                                              MONEE             IL    60449‐8803
NANCY C ANDREWS                                 1435 DODGE NW                                                                                   WARREN            OH    44485‐1851
NANCY C ANDRUSKO                                773 CHARRINGTON WAY                                                                             TIPP CITY         OH    45371‐9352
NANCY C BENSHOOF CUST BRIAN RICHARD BENSHOOF 1514 HUNTERS CREEK DR                                                                              MC KINNEY         TX    75070‐5492
UTMA CO
NANCY C BENSHOOF CUST STEPHANIE LYNNE BENSHOOF 1514 HUNTERS CREEK DR                                                                            MC KINNEY         TX    75070‐5492
UTMA CO
NANCY C BENSHOOF CUST TRACIE ANN BENSHOOF       1514 HUNTERS CREEK DR                                                                           MC KINNEY         TX    75070‐5492
UTMA CO
NANCY C BERNARD                                 49 E RUBY AVE                                                                                   WILMINGTON        OH    45177‐1544
NANCY C BOWEN                                   435 COLE RD                                                                                     SABINA            OH    45169‐9236
NANCY C BRUSEGAR                                424 S 6TH ST                                                                                    EVANSVILLE        WI    53536‐1097
NANCY C BURTON & RONNIE D BURTON JT TEN         821 LAWSON COURT                                                                                GREENWOOD         IN    46142‐9650
NANCY C CARNEGIE                                296 SALEM ROAD                                                                                  POUND RIDGE       NY    10576‐1320
NANCY C CASON                                   3811 61ST ST                                                                                    LUBBOCK           TX    79413‐5205
NANCY C CHENEVERT                               PO BOX 424                                                                                      UPTON             MA    01568‐0424
NANCY C CZARNOWSKI & ARCHIE S CZARNOWSKI JT TEN 22401 BAYVIEW                                                                                   ST CLAIR SHORES   MI    48081‐2453

NANCY C DAWSON                                  855 S QUAIL RIDGE RD                                                                            BENSON            AZ    85602
NANCY C DEEL                                    1606 WEST MARSHALL                                                                              FERNDALE          MI    48220‐3129
NANCY C DI NICOLANTONIO                         97 DESALES CIRCLE                                                                               LOCKPORT          NY    14094‐3339
NANCY C DIXON                                   6438 ALEMENDRA                                                                                  FORT PIERCE       FL    34951‐4313
NANCY C ENZENAUER & DONALD ENZENAUER JT TEN     1940 MILL CREEK DR                                                                              PROSPECT          OR    97536‐9721

NANCY C FILIPPELLI                              BOX 364                                                                                         ST CLAIR SHORES   MI    48080‐0364
NANCY C FOSTER                                  8251 WHITNEY RD                                                                                 GAINES            MI    48436‐9723
NANCY C FREDGANT                                2208 NASSAU DRIVE                                                                               WILMINGTON        DE    19810‐2831
NANCY C GARVEY                                  100 VALLEY VIEW DR                                                                              MERIDEN           CT    06450‐4719
NANCY C GEER                                    21431 MARY MARGRETT CT                                                                          LEXINGTON PARK    MD    20653‐4101
NANCY C GOTTSCHLICH & RUDOLF W GOTTSCHLICH TR   3517 DIPPER CT                                                                                  PUNTA GORDA       FL    33950‐7652
UA 12/02/97
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Name                                             Address1                              Address2               Address3        Address4          City              State Zip

NANCY C GRADOWS & DANIEL S GRADOWS JT TEN        1447 EVANSBROOKE LN                                                                            POTTSTOWN         PA    19464‐3498

NANCY C HAAS TR UA 12/20/93 NANCY C HAAS         5004 SUNNINGDALE CT                                                                            CHARLOTTE         NC    28226‐7937
NANCY C HARNED                                   C/O N C LEOPOLD                       634 C HERITAGE HILLS                                     SOMMERS           NY    10589‐1900
NANCY C HASTINGS & COURTNEY E HASTINGS &         4067 ROSEHILL PLACE                                                                            DUBLIN            CA    94568‐7779
BENJAMIN D HASTINGS JT TEN
NANCY C HERCHER                                  ATTN NANCY HERCHER SKURULSKY          W3045 JOHNSON ROAD                                       NEKOOSA           WI    54457‐9426
NANCY C HIGHT                                    694 OLD YAAK ROAD                                                                              TROY              MT    59935
NANCY C HOGREFE CUST ANDREW JAMES HOGREFE        13226 W 84TH ST                                                                                LENEXA            KS    66215‐2850
UTMA KS
NANCY C HOLLISTER                                495 W RANDALL ST                                                                               COOPERSVILLE      MI    49404‐1389
NANCY C HOLLISTER & ROBERTA C HOLLISTER JT TEN   1800 R W BERENDS DR APT 7                                                                      WYOMING           MI    49519

NANCY C HOWARD                                   C/O N LEBLANC                         4 MORTON LANE                                            ACUSHNET         MA     02743‐1615
NANCY C JACKSON                                  PO BOX 2344                                                                                    SILVER SPGS      FL     34489‐2344
NANCY C JARVIS                                   2025 BRYN MAWR DR                                                                              STOW             OH     44224
NANCY C JENNEY & RICHARD F JENNEY JT TEN         24 ASH HILL RD                                                                                 READING          MA     01867‐3829
NANCY C KENDER                                   6670 HARSHMANVILLE RD                                                                          DAYTON           OH     45424‐3575
NANCY C KENNEDY                                  607 OVERBROOK RD                                                                               BLOOMFIELD       MI     48302‐2146
NANCY C KITCHEN                                  1460 N PINE                                                                                    ROCHESTER HILLS  MI     48307‐1140
NANCY C LAMBERTI                                 20980 PARKPLACE LANE                                                                           CLINTON TOWNSHIP MI     48036‐3832

NANCY C LAWRENCE                                 631 EAST ANDERSON ROAD                                                                         SEQUIM            WA    98382‐9560
NANCY C LINFOOT                                  41855 VIA SAN MIGUEL                                                                           FREMONT           CA    94539‐4743
NANCY C LINFOOT & NEIL A LINFOOT JT TEN          41855 VIA SAN MIGUEL                                                                           FREMONT           CA    94539‐4743
NANCY C LOBCZOWSKI                               55 BRIDELWOOD DRIVE                                                                            LOCKPORT          NY    14094‐1015
NANCY C LORIGAN & GERALD P LORIGAN JT TEN        38844 ROANOKE WAY                                                                              FREMONT           CA    94536‐7342
NANCY C MARTIN                                   917 CREEKSIDE LN                                                                               PLAINFIELD        IN    46168‐2392
NANCY C MERCER                                   240 NUISSL RD                                                                                  BARRE             VT    05641‐9733
NANCY C MEYERS                                   3925 OLD PETTY CREEK RD                                                                        ALBERTON          MT    59820
NANCY C MOLVIG CUST ERICA C MOLVIG UGMA PA       15A S COMMONS                                                                                  LINCOLN           MA    01773

NANCY C NIERNBERG                                4696 ORCHARD MANOR BLVD APT7                                                                   BAY CITY           MI   48706
NANCY C NORTHROP WOLANSKI                        52 GROSVENOR AVE                                                                               PAWTUCKET          RI   02860‐4623
NANCY C PETROSKY                                 2334 CLAIRWOOD                                                                                 SAINT CLAIR SHORES MI   48080

NANCY C PHILLIPS                                 3512 TOMAHAWK LANE                                                                             SAN DIEGO       CA      92117
NANCY C PITTARD                                  106 HIGH ST                                                                                    OXFORD          NC      27565‐3313
NANCY C PLOUGHE                                  2754 WEST GARDEN DRIVE                                                                         GREENFIELD      IN      46140‐8523
NANCY C RICHARDSON                               9694 PAM CT                                                                                    WEST CHESTER    OH      45069‐4301
NANCY C SCHEETZ                                  5131 WOODHAVEN CT                                                                              FLINT           MI      48532‐4195
NANCY C SECOR                                    38 JOHN CAVA LANE                                                                              CORTLANDT       NY      10567‐6306
                                                                                                                                                MANOR
NANCY C SMITH                                    4641 HEATHER DR SW                    APT 209                                                  ROANOKE         VA      24018‐7102
NANCY C SOUSA                                    153 N GRANT AVENUE                                                                             COLONIA         NJ      07067‐2226
NANCY C STAHLI                                   ATTN MRS NANCY HAWKINS                2502 BARSTOW RD                                          LANSING         MI      48906‐3741
NANCY C STEVENS                                  204 MEMORIAL DR NW                                                                             DECATUR         AL      35601‐2266
NANCY C STOINOFF                                 3540 N 34TH AVE                                                                                HOLLYWOOD       FL      33021‐2509
NANCY C SWAN                                     12031 SANDGATE DRIVE                                                                           CHESTERLAND     OH      44026‐2321
NANCY C TALBOT                                   2505 HOLLOW RD                                                                                 N FERRISBERG    VT      05473‐9639
NANCY C TANGEN                                   905 MADISON AVE                                                                                SOUTH MILWAUKEE WI      53172‐2623

NANCY C TONGREN                                  10423 TIFFANY VILLAGE CT                                                                       SAINT LOUIS       MO    63123‐8000
NANCY C TRACY                                    913 E MCKENZIE ROAD                                                                            GREENFIELD        IN    46140‐1195
NANCY C TURNER                                   ATTN NANCY M WOOD                     11723 COLLINWOOD CT                                      FREDERICKSBURG    VA    22407‐7115
NANCY C WALKER                                   22173 64TH AVE                        LANGLEY BC                             V2Y 2N3 CANADA
NANCY C WASHINGTON                               4857 LINSCOTT PL APT 4                                                                         LOS ANGELES       CA    90016‐5428
NANCY C WEAKLEY                                  PO BOX 807                                                                                     MONTROSS          VA    22520‐0807
NANCY C WEISENBURGER                             RT 1                                                                                           OAKWOOD           OH    45873‐9801
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Name                                            Address1                               Address2             Address3          Address4          City             State Zip

NANCY C WERLICK                                 14 WINDWARD                                                                                     COMMACK          NY    11725‐2620
NANCY C WHITLOCK                                2511 LINDLEY OVERLOOK                                                                           ROCKVILLE        MD    20850‐3079
NANCY C WILKINS                                 26 DORSET CT APT M                                                                              YORKTOWN         NY    10598‐1442
                                                                                                                                                HEIGHTS
NANCY C WILSON & KENNETH J WILSON JT TEN        3204 RAVENWOOD                                                                                  ANN ARBOR        MI    48103‐2658
NANCY C WINCHEL                                 4119 COUNTY ROAD 186                                                                            ANDERSON         TX    77830‐8116
NANCY C WOODS                                   96 LOUISIANA AVE                                                                                ASHEVILLE        NC    28806‐3448
NANCY C ZAPOLI                                  25123 BARMBY DRIVE                                                                              SPRING           TX    77389‐3316
NANCY C ZWARYCZ TR UA 08/22/2007 NANCY C        34936 DIXON RD                                                                                  WILOUGHBY HLS    OH    44094
ZWARYCZ REVOCABLE TRUST
NANCY CARNE HEADLEY                             704 N NASSAU ST                                                                                 MESA             AZ    85205‐6233
NANCY CAROL CORNELIUS                           804 LISADELL DRIVE                                                                              KENNETT SQUARE   PA    19348‐1304
NANCY CAROL SAYNER                              HC‐1 BOX 210B                                                                                   MOHAWK           MI    49950‐9717
NANCY CAROLAN CUST ALEXANDER CAROLAN UTMA KS    14533 S ROTH CIRCLE                                                                             OLATHE           KS    66062‐6530

NANCY CARROLL                                   C/O H LA ROCHE                         340 KINGSLAND ST                                         NUTLEY           NJ    07110‐1150
NANCY CARTER CUST KEITH CARTER A UGMA MI        14615 CHANDLER PARK                                                                             DETROIT          MI    48224‐2909
NANCY CHRISTINA LEDNUM BROOME                   1960 11TH STREET COURT NW                                                                       HICKORY          NC    28601‐1710
NANCY CLARK DAVIS                               241 NORTH AVENUE                                                                                ROCKLAND         MA    02370‐2802
NANCY COATES                                    975 HILLSDALE RD                                                                                EVANSVILLE       IN    47711
NANCY COATES CUST BENJAMIN A COATES UTMA IN     975 HILLSDALE RD                                                                                EVANSVILLE       IN    47711

NANCY COBURN                                    10247 CRANE RD                                                                                  MILAN            MI    48160‐8812
NANCY COIT WILLIAMS CUST DANIEL R WILLIAMS UTMA 4205 RIDGEMONT DR                                                                               BELDEN           MS    38826‐9782
MS
NANCY COORS MC INTIRE CUST DYLAN COORS MC       19 MISTY ACRES RD                                                                               ROLLING HILLS    CA    90274‐5749
INTIRE UGMA CA                                                                                                                                  ESTATES
NANCY CORNELL ESPOSITO                          139 RIDGE DR                                                                                    MONTVILLE        NJ    07045‐9471
NANCY CRAVENS CHAMBERLAIN                       3646 CHEVY CHASE                                                                                HOUSTON          TX    77019‐3010
NANCY CRAWFORD                                  49 COLONIAL VILLAGE ROAD                                                                        ROCHESTER        NY    14625‐2101
NANCY CROTHERS                                  400 HEATHERSTONE DR                                                                             FRANKLIN         NC    28734‐0274
NANCY D ALLRED & BRENT D ALLRED JT TEN          327 EAST 830 SOUTH                                                                              FARMINGTON       UT    84025‐3250
NANCY D ASMA                                    5651 MOUNT BURNSIDE WAY                                                                         BURKE            VA    22015‐2145
NANCY D BLANCHARD                               2024 WOODMONT DR                                                                                RICHMOND         VA    23235‐3552
NANCY D BROWN                                   3278 PINE MEADOW ROAD N W                                                                       ATLANTA          GA    30327‐2218
NANCY D CIMINO & CARL N CIMINO JR JT TEN        6021 RIDGE DR                                                                                   BETHESDA         MD    20816
NANCY D COCHRANE & TIMOTHY COCHRANE JT TEN      918 SECRETARIAT                                                                                 ST CHARLES       IL    60174‐5866

NANCY D COX                                     14822 FOREST LODGE DR                                                                           HOUSTON          TX    77070‐2307
NANCY D DENSLOW                                 5622 NW 48TH PL                                                                                 GAINSVILLE       FL    32606‐4307
NANCY D DIXON                                   4428 BUSY BEE LANE                                                                              INDIANAPOLIS     IN    46237‐2807
NANCY D DODD                                    16 AUSTEN COURT                                                                                 STERLING         VA    20165‐5613
NANCY D FICALORE                                582 N PEACHTREE ST                                                                              NORCROSS         GA    30071‐2141
NANCY D FLOYD                                   3620 TWILIGHT DR                                                                                FLINT            MI    48506‐2554
NANCY D FLOYD & KENNETH D FLOYD JT TEN          3620 TWILIGHT DR                                                                                FLINT            MI    48506‐2554
NANCY D GILLELAND                               6082 GEORGIA HWY 81 EAST                                                                        MCDONOUGH        GA    30252
NANCY D HACKER                                  R R #1                                 BOX 1664                                                 SPRINGVILLE      IN    47462‐9628
NANCY D HAMMER                                  107 HEMPSTEAD WAY                                                                               RICHMOND         VA    23236‐2476
NANCY D HANSON CUST DENNIS K HANSON UTMA CA     1612 SIERRA ALTA DR                                                                             SANTA ANA        CA    92705‐8405

NANCY D HANSON CUST ERIKA L HANSON UTMA CA      1612 SIERRA ALTA DR                                                                             SANTA ANA        CA    92705‐8405

NANCY D JOHNSON TR NANCY D JOHNSON TRUST UA     3387 STARBOARD DRIVE                                                                            HOLLAND          MI    49424‐5438
10/06/04
NANCY D LAUGHLIN                                3855 LAKE JULIETTE DR                                                                           BUFORD           GA    30519‐1860
NANCY D MC BRIDE                                5 WOODROW AVE                                                                                   WILMINGTON       DE    19803‐2559
NANCY D MURRAY                                  1425 GREEN ST                                                                                   TALLAHASSE       FL    32303‐5430
NANCY D PERREAULT TR NANCY D PERREAULT TRUST UA 20 GRANDVIEW DRIVE                                                                              LANCASTER        NH    03584‐3144
01/07/96
                                              09-50026-mg               Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                               Address2             Address3          Address4          City               State Zip

NANCY D PRYOR                                   236 MORTON AVE                                                                                  GALLATIN           TN    37066‐2430
NANCY D RAUB TR UA 07/31/2003 NANCY D RAUB      21457 HOLMBURY RD                                                                               NORTHVILLE         MI    48167
LIVING TRUST
NANCY D REMINDER                                8 FRIEL RD                                                                                      ROCHESTER          NY    14623‐5130
NANCY D RICH                                    3140 N IRISH RD                                                                                 DAVISON            MI    48423‐9582
NANCY D SIGNORA                                 350A 7TH AVENUE                                                                                 SWARTHMORE         PA    19081‐2640
NANCY DA'SILVA                                  GLENDALE RD                                                                                     OSSINING           NY    10562
NANCY DANDO                                     3988 DILL                                                                                       WATERFORD          MI    48329‐2136
NANCY DANGERMOND GODSEY CUST LESLIE ELIZABETH   5212 BADGER RD                                                                                  SANTA ROSA         CA    95409‐2743
GODSEY UGMA CA
NANCY DANGREMOND GODSEY CUST VINCENT ROBERT     5212 BADGER RD                                                                                  SANTA ROSA         CA    95409‐2743
GODSEY UGMA CA
NANCY DANGREMUND GODSEY                         5212 BADGER RD                                                                                  SANTA ROSA         CA    95409‐2743
NANCY DAVIS                                     112 SPRING ST                                                                                   WILLOW SPRGS       IL    60480‐1457
NANCY DAVIS                                     1618 BLUFF ST                                                                                   BELOIT             WI    53511‐3410
NANCY DEHART WOOD                               5 CROOKED RIVER PINES                                                                           HARRISON           ME    04040‐3621
NANCY DILLARD HENRY                             4271 LAKE SHORE DRIVE                                                                           MOUNT DORA         FL    32757‐5226
NANCY DOLNIER & KARL DOLNIER JT TEN             18 BITTERSWEET TRAIL                                                                            WILTON             CT    06897‐3901
NANCY DORLAND                                   3322 S NEWCOMBE ST                                                                              LAKEWOOD           CO    80227‐5639
NANCY DRACHLER                                  1750 SUNDROP CIRCLE                                                                             HIGHLAND PARK      IL    60035‐5518
NANCY DRAGIN                                    3836 E 365TH ST                                                                                 WILLOUGHBY         OH    44094‐6325
NANCY DREYER                                    1125 HEARTHSTONE DR                                                                             CINCINNATI         OH    45231‐5834
NANCY DROSSELMEYER CUST ERIN KENZIE             1106 N WEST ST                                                                                  ROSE HILL          KS    67133‐9332
DROSSELMEYER UTMA KS
NANCY E AIKEN & JESSICA N AIKEN JT TEN          PO BOX 27                              6941 ST RT 329                                           GUYSVILLE          OH    45735
NANCY E BAILEY                                  337 TUCKERTON ROAD                                                                              SHAMONG            NJ    08088‐9324
NANCY E BORN                                    3488 WALWORHT PALMYRA RD                                                                        WALWORTH           NY    14568‐9587
NANCY E BREISACHER                              6014 N EDEN RD                                                                                  ELMWOOD            IL    61529‐9737
NANCY E BRETT                                   215 HIGH ST                                                                                     SOUTH BOUND        NJ    08880‐1155
                                                                                                                                                BROOK
NANCY E BURKE                                   1 WOODBURY COURT                                                                                S BARRINGTON       IL    60010
NANCY E CAMPBELL                                13105 BRIARGROVE CT                                                                             HERNDON            VA    20171‐3905
NANCY E CAMPOS                                  244 KETTENRING                                                                                  DEFIANCE           OH    43512‐1752
                                                                                                                                                JUNCTION
NANCY E CARMAN                                  730 5TH ST                                                                                      JACKSON            MI    49203‐1645
NANCY E CHISOLM                                 700 POPLAR ST                                                                                   COLUMBIA           TN    38401‐2320
NANCY E CLARK                                   1820 EVLINE DRIVE                                                                               MANSFIELD          OH    44904‐1723
NANCY E CORSIGLIA                               2737 DEVONSHIRE PLACE NW                                                                        WASHINGTON         DC    20008‐3479
NANCY E COTTER                                  12709 ROAD 87                                                                                   LAKEVIEW           OH    43331‐9494
NANCY E COX                                     742 SUMMITCREST DR                                                                              INDIANAPOLIS       IN    46241‐1727
NANCY E DE CAMP                                 163 MC GUIRE ROAD                                                                               ROCHESTER          NY    14616‐2332
NANCY E DE VORE                                 102 LORING AVE                                                                                  PELHAM             NY    10803‐2014
NANCY E DELL                                    163 MCGUIRE RD                                                                                  ROCHESTER          NY    14616‐2332
NANCY E FERNANDEZ                               3036 S APPLE COURT                                                                              ANTIOCH            CA    94509‐5228
NANCY E FOGLE                                   833 GARDENSIDE                                                                                  GREENCASTLE        IN    46135‐1813
NANCY E FREIBOTT CUST MARY E FREIBOTT UTMA FL   4558 15TH AVE N                                                                                 SAINT PETERSBURG   FL    33713‐5234

NANCY E GOIDOSIK TR IRENE K CHRISTREVOCABLE     1766 HORSESHOE CIR                                                                              SAGINAW            MI    48609‐4267
TRUST UA 01/30/01
NANCY E HAMPSHIRE                               4832 JAMES HILL RD                                                                              DAYTON             OH    45429‐5304
NANCY E HANSELL                                 25 SABINE AVE                                                                                   NARBERTH           PA    19072‐1739
NANCY E HARRISON                                BOX 410                                                                                         MARBLE             MN    55764‐0410
NANCY E HEIDA                                   7920 N FLEMMING RD                                                                              FOWLERVILLE        MI    48836‐9561
NANCY E HEIDA & ALICE V MANTEY & ROBERT M       7920 N FLEMING RD                                                                               FOWLERVILLE        MI    48836
MANTEY JR TR UA 05/08/2002
NANCY E HEWES                                   PO BOX 2600                                                                                     CHESTERTOWN        MD    21620‐2600
NANCY E HIGGINS                                 2145 COLE RD                                                                                    LAKE ORION         MI    48362‐2107
NANCY E HISSONG                                 502 S HIGH ST                                                                                   ARCANUM            OH    45304
NANCY E HOCKENBERRY                             16854 WOLF RUN CIRCLE                                                                           CLEVELAND          OH    44136‐6259
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Name                                              Address1                             Address2              Address3         Address4          City             State Zip

NANCY E JACKSON                                 286 CLARK ST                           APT 8                                                    MONTROSE         MI    48457‐9461
NANCY E JEWELL & WARD T JEWELL JT TEN           2266 N BELMONT PLACE                                                                            WICHITA          KS    67220‐2829
NANCY E JIMKOSKI                                12559 JOSEPH LANE                                                                               ATLANTA          MI    49709‐9075
NANCY E KIEVIT                                  ATTN NANCY E IRVING                    355 ORCHARD CIRCLE                                       HENDERSONVILLE   NC    28739‐8998
NANCY E KISTING                                 8034 S MONA DR                                                                                  OAK CREEK        WI    53154‐3034
NANCY E KUMSKIS TR NANCY E KUMSKIS TRUST UA     195 N HARBOR DR                        APT 4502                                                 CHICAGO          IL    60601‐7536
08/17/99
NANCY E LEGGETT                                 602 ANSON CT                                                                                    ARLINGTON        TX    76006‐3568
NANCY E LOJUK                                   12503 COLT COURT                                                                                MAGNOLIA         TX    77354‐4912
NANCY E MARTIN CUST CHRISTINE S HOLLAND UGMA DE 2 OKLAHOMA AVE                                                                                  WILMINGTON       DE    19803‐3234

NANCY E MAY                                       9304 ETHEL STREET                                                                             CYPRESS          CA    90630‐2816
NANCY E MC KEEVER & KAREN A MC KEEVER JT TEN      4618 AVE K                                                                                    BROOKLYN         NY    11234‐2010

NANCY E MRAZ CUST TAMMY MARIE MRAZ UTMA OH        45 JADE CIRCLE                                                                                CANFIELD         OH    44406‐9661

NANCY E MULLEN                                    R R 1 BOX 346A                                                                                POWNAL           VT    05261‐9756
NANCY E NICOSIA                                   12662 MAGNA CARTA RD                                                                          HERNDON          VA    20171‐2708
NANCY E NORRIS                                    91 CONNAUGHT ST                      OSHAWA ON                              L1G 2H4 CANADA
NANCY E O'BRIEN                                   3450 DOUGALL AVE                     WINDSOR ON                             N9E 1T1 CANADA
NANCY E O'BRIEN                                   3450 DOUGALL AVE                     WINDSOR ON                             N9E 1T1 CANADA
NANCY E OBLAK & RICHARD T OBLAK JT TEN            5 RANGER STREET SW                                                                            FT WALTON BCH    FL    32548
NANCY E PERSINGER                                 184 MAPLEWOOD AVENUE                                                                          WHITEHALL        OH    43213‐1730
NANCY E PFLUM                                     10160 RESERVOIR RD                                                                            BROOKVILLE       IN    47012
NANCY E PISARSKI                                  9629 EAGLE VALLEY DR                                                                          LAS VEGAS        NV    89134‐7818
NANCY E RAGO                                      12337 DUNN ROAD                                                                               MEMPHIS          MI    48041‐1208
NANCY E RAPPOPORT & JOHN ALLEVI JR JT TEN         27 HUNTING COUNTRY TR                                                                         TRYON            NC    28782‐9763
NANCY E REID                                      2 VILLAGE WAY #20                                                                             NORTON           MA    02766‐2056
NANCY E RIGGS                                     727 HYLAND ST                        WHITBY ON                              L1N 6S1 CANADA
NANCY E RIGGS                                     727 HYLAND ST                        WHITBY ON                              L1N 6S1 CANADA
NANCY E RILEY                                     PO BOX 998                                                                                    CEDAR RAPIDS     IA    52406‐0998
NANCY E RODGERS                                   1619 NOWLAND CT                                                                               CANTON           MI    48188‐1797
NANCY E RUTH                                      6101 FLEMINGTON RD                                                                            DAYTON           OH    45459‐1903
NANCY E RYNEARSON                                 11708 S SAGINAW                                                                               GRAND BLANC      MI    48439‐1310
NANCY E SCHWIEGER                                 640 HUDSON AVE                                                                                ROMEOVILLE       IL    60446‐1215
NANCY E SHARPE                                    105 NEHOIDEN ST                                                                               NEEDHAM          MA    02492‐1941
NANCY E SMITH                                     1102 ST BARTHOLEMEW                                                                           CAHOKIA          IL    62206‐1413
NANCY E SMITH                                     4197 RT 422                                                                                   SOUTHINGTON      OH    44470‐9579
NANCY E TABBERT                                   4376 INDIANA CIR                                                                              MILTON           FL    32571‐1234
NANCY E THOMAS                                    1621 CHADWICK ROAD                                                                            KENT             OH    44240
NANCY E THORNE                                    41 TANNERS DR                                                                                 WILTON           CT    06897‐1118
NANCY E TILLEY                                    100 MAUREEN DRIVE                                                                             TEWKSBURY        MA    01876‐3622
NANCY E WALKER                                    1491 MAD RI                                                                                   NEW VIENNA       OH    45159
NANCY E WALSH                                     9 CHESTNUT HILL N RD                                                                          ALBANY           NY    12211
NANCY E WARREN & DENNIS J WARREN JT TEN           4846 DEAN LN SW                                                                               LILBURN          GA    30047
NANCY E WATSON                                    5795 AUTUMN BRUSH CT                                                                          PARKER           CO    80134‐5432
NANCY E WILLIAMS                                  PO BOX 57                                                                                     EATON CTR        NH    03832‐0057
NANCY E WILLIAMS                                  C/O MYERS                            2109 W PURDUE AVE                                        MUNCIE           IN    47304‐1426
NANCY E WRIGHT & MARILYN E WRIGHT JT TEN          613 CHURCHTOWN ROAD                                                                           MIDDLETOWN       DE    19709
NANCY E WRIGHT TR FRANCES ERICKSEN LIVING TRUST   3231 NW 47TH PLACE                                                                            GAINESVILLE      FL    32605‐1185
UA 03/04/05
NANCY E WULLER                                    ATTN NANCY WULLER GAGNE              612 CRIMSON LEAF CT                                      EAGAN            MN    55123‐3046
NANCY E WYRICK                                    BOX 57                                                                                        ELON COLLEGE     NC    27244‐0057
NANCY E ZINGSHEIM & GERALD J ZINGSHEIM JT TEN     N4285 S GOODLAND RD                                                                           RUBICON          WI    53078‐9747

NANCY EAKIN GLENN                                 BOX 568                                                                                       MONT ALTO        PA    17237‐0568
NANCY EDWARDS SLANETZ                             27 COOT RD                                                                                    LOCUST VALLEY    NY    11560‐2018
NANCY EHRKE                                       16931 N GARDENIA DR                                                                           FRASER           MI    48026‐3534
NANCY EISENFELD                                   65 FOREST HILL RD                                                                             NORTH HAVEN      CT    06473‐4317
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Name                                            Address1                               Address2               Address3        Address4          City               State Zip

NANCY EKEL & NICHOLAS EKEL JT TEN               6475 STATE RD                                                                                   VASSAR             MI    48768‐9215
NANCY ELAINE HAAS                               6942 NORTH KENTON AVENUE                                                                        LINCOLNWOOD        IL    60712‐2430
NANCY ELDER                                     2408 AINTREE WAY                                                                                LOUISVILLE         KY    40220‐1025
NANCY ELIZABETH BOREN                           81 HOLDEN STREET                                                                                SHREWSBURY         MA    01545‐1708
NANCY ELIZABETH DAVIS                           1937 SONETT ST                                                                                  EL CAJON           CA    92019‐4150
NANCY ELIZABETH HAAR                            19101 ALEXA DR                                                                                  WALLED LAKE        MI    48390
NANCY ELIZABETH HENLEY                          C/O NANCY ELIZABETH PENLEY             1408 E COLONIAL DR                                       SALISBURY          NC    28144‐2214
NANCY ELIZABETH JONES                           PO BOX 153                                                                                      WEST UNION         SC    29696‐0153
NANCY ELIZABETH KNOWLES                         ATTN NANCY KNOWLES DOLLARHIDE          3199 HELMS RD                                            GRANTS PASS        OR    97527‐7510
NANCY ELIZABETH LYNCH & DONA M PETOZZI JT TEN   15 PARK ST                                                                                      HYDE PARK          MA    02136‐3139

NANCY ELIZABETH PETERSON                        1 FOX RUN LN                           APT 623                                                  ORCHARD PARK       NY    14127‐3173
NANCY ELLEN BUSSARD                             3766 DRAKE AV                                                                                   CINCINNATI         OH    45209‐2325
NANCY ELLEN COLUCCI & ROCCO COLUCCI JT TEN      4 NOAH PLACE                                                                                    HUNTINGTON         NY    11746‐4325
                                                                                                                                                STATION
NANCY ELLEN LONG                                25 JORDAN ROAD                                                                                  NEW HARTFORD       NY    13413‐2311
NANCY ELLMAN                                    250 DRIFTWOOD CIR                                                                               PRUDENVILLE        MI    48651
NANCY ELSESSER                                  1388 OLD HWY #99                                                                                COLUMBIA           TN    38401‐7733
NANCY ENDMAN                                    3951 BALLINA CYN ROAD                                                                           ENCINO             CA    91436‐3743
NANCY ENZENAUER & DONALD ENZENAUER JT TEN       1940 MILL CREEK DR                                                                              PROSPECT           OR    97536‐9721

NANCY ERICKSON                                  1687 COLUMBIA ROCK RD                                                                           COLUMBIA           TN    38401‐1530
NANCY ERIN GAW                                  ATTN DR WILLIAM GAW                    950 TYNE BOULEVARD                                       NASHVILLE          TN    37220‐1507
NANCY ERNST MILLER                              1221 N WOODWARD AVE                    UNIT # 114                                               BLOOMFIELD HILLS   MI    48304‐2825

NANCY EURIST                                    5 MORSE AVE                                                                                     BUTLER             NJ    07405‐1205
NANCY EVELYN STEPP                              1525 INVERNESS RD                                                                               MANSFIELD          TX    76063‐2962
NANCY F BURCHETT                                1457 DOS PALOS DRIVE                                                                            WALNUT CREEK       CA    94596‐2313
NANCY F DECKER                                  5097 GRISWOLD ST                                                                                MIDDLEPORT         NY    14105‐9634
NANCY F DELEA                                   613 RESERVOIR ST                                                                                BALT               MD    21217‐4824
NANCY F FRIEDLER                                6788 FURNACE RD                                                                                 ONTARIO            NY    14519‐8921
NANCY F HAINES                                  2522 RIO PALERMO COURT                                                                          PUNTA GORDA        FL    33950‐6320
NANCY F HEBERT                                  385 GASKILL ST                                                                                  WOONSOCKET         RI    02895‐1017
NANCY F LANDA                                   2211 AUGUSTA DR 2                                                                               HOUSTON            TX    77057
NANCY F MCCURRY                                 20218 ALBURY DR                                                                                 PT CHARLOTTE       FL    33952‐3829
NANCY F OLEARY CUST ERIN MARIE OLEARY UGMA IL   ATTN ERIN O'LEARY NIEVES               1958 HELSINKI WY                                         LIVERMORE          CA    94550‐6126

NANCY F RADA                                    ATTN NANCY TOBOLSKI                    7232 WEST 57TH PLACE                                     SUMMIT             IL    60501‐1317
NANCY F SAUDER                                  1001 W SAINT MARYS RD                  APT 516                                                  TUCSON             AZ    85745‐2470
NANCY F SELDON                                  10 DREWS CROSSING                                                                               WESTFORD           MA    01886‐2600
NANCY F SEYFRIED TR NANCY F SEYFRIED TRUST UA   6743 N CAMPBELL AVE                                                                             CHICAGO            IL    60645‐4615
11/1/99
NANCY F STORY                                   1025 S LAREDO WAY                                                                               AURORA             CO    80017‐3001
NANCY F STORY & SCOTT C STORY JT TEN            1025 S LAREDO WAY                                                                               AURORA             CO    80017‐3001
NANCY F THARP                                   202 FAIRWAY CIR                                                                                 CROSS JCT          VA    22625‐2018
NANCY F WALL                                    27 SHIRLEY RD                                                                                   NEWPORT NEWS       VA    23601
NANCY F WILEMAN CUST JULIE JO WILEMAN UGMA CA   1250 11TH ST                                                                                    HERMOSA BEACH      CA    90254‐4355

NANCY F YOFFE                                   102 CINDER TERRACE                                                                              SPARTANBURG        SC    29307‐2703
NANCY FAYARD                                    6 DAVIS RD                                                                                      HOPKINGTON         MA    01748‐1111
NANCY FAYE LINDON                               6429 E CAMINO DE LOS RANCHOS                                                                    SCOTTSDALE         AZ    85254‐3959
NANCY FELDMAN                                   4911 W ST NW                                                                                    WASH               DC    20007‐1521
NANCY FENTON                                    10 GRANADA AVE                                                                                  MERRITT IS         FL    32952
NANCY FERNANDEZ‐HIGGINS                         29 HIGGINS RD                                                                                   GREENVILLE         ME    04441‐4426
NANCY FIALKA                                    C/O NANCY FIALKA CHILCUTT              4002 CHERRY GARDEN                                       COMMERCE           MI    48382‐1000
                                                                                                                                                TOWNSHIP
NANCY FIALKA CHILCUTT                           4002 CHERRY GARDEN                                                                              COMMERCE           MI    48382‐1000
                                                                                                                                                TOWNSHIP
NANCY FILIP                                     629 SHERWOOD DRIVE                                                                              LAGRANGE PARK      IL    60526‐5620
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Name                                              Address1                            Address2                Address3       Address4          City              State Zip

NANCY FLORY HANKAMER                              5305 BENBRIDGE                                                                               FORT WORTH        TX    76107‐3207
NANCY FOOSHEE                                     ATTN MRS NANCY E FOOSHEE HAUN       198 LAKESIDE ACRES WY                                    LOUISVILLE        TN    37777‐4153
NANCY FOSTER DOWDY & THOMAS NELSON DOWDY JT       15300 PARTNERSHIP ROAD                                                                       POOLESVILLE       MD    20837‐8607
TEN
NANCY FREY CUST GRACE DIANA FREY UTMA IL          11730 N GROVE SCHOOL ROAD                                                                    TRENTON           IL    62293
NANCY FREY CUST HALEY DIANE FREY UGMA IL          11730 N GROVE SCHOOL ROAD                                                                    TRENTON           IL    62293
NANCY FREY CUST LEVI DAVID FREY UTMA IL           11730 N GROVE SCHOOL ROAD                                                                    TRENTON           IL    62293
NANCY FRICK                                       2173 CLARA MATHIS RD                                                                         SPRING HILL       TN    37174‐2544
NANCY G BADER                                     2515 BOSTON ST                      APT 906                                                  BALTIMORE         MD    21224‐4751
NANCY G BARRETT                                   47 SKYLINE DRIVE                                                                             GLEN MILLS        PA    19342‐1625
NANCY G BIGGS                                     549 WATER OAK RD NE                                                                          ROANOKE           VA    24019‐4933
NANCY G BRADFORD                                  12281 CHURCHILL                                                                              SOUTHGATE         MI    48195‐2396
NANCY G CHAMBERLAIN                               526 WINTER ST                                                                                HOLLISTON         MA    01746‐1100
NANCY G CODDINGTON CUST ANDREW W ABE UGMA         110 E DELAWARE CANAL CT                                                                      MIDDLETOWN        DE    19709‐9286
DE
NANCY G CODDINGTON CUST CHRISTOPHER A ABE         110 E DELAWARE CANAL CT                                                                      MIDDLETOWN        DE    19709‐9286
UGMA DE
NANCY G CORRIGAN                                  11230 ARBORWOOD TRAIL                                                                        CARMEL            IN    46032‐6921
NANCY G ENTERLINE                                 1200 NOTTAWAY DR                                                                             S LAKE TAHOE      CA    96150‐5920
NANCY G FRIEND                                    3778 DURST CLAGG ROAD                                                                        COURTLAND         OH    44410‐9546
NANCY G FRITZ                                     1521 WEDGEFIELD CIRCLE                                                                       NAPERVILLE        IL    60563‐6303
NANCY G GRIER                                     1068 FEARRINGTON POST                                                                        PITTSBORO         NC    27312‐8514
NANCY G GRIZZARD & W ROY GRIZZARD JT TEN          11998 WILLOW FARM DRIVE                                                                      ASHLAND           VA    23005‐7719
NANCY G HUGHES                                    9909 JASMINE CREEK DR                                                                        AUSTIN            TX    78726‐2412
NANCY G KELLNER & STEPHEN E KELLNER JT TEN        N17425 W SHORE RD                                                                            NINE MILE FALLS   WA    99026‐9673
NANCY G KRUPINSKI                                 ATTN NANCY G HUGHES                 9909 JASMINE CREEK DR                                    AUSTIN            TX    78726‐2412
NANCY G LINTON & JOHN S LINTON JT TEN             177 HOYLE RD                                                                                 CRARYVILLE        NY    12521‐5312
NANCY G LONG                                      257 LEACH AVE                                                                                JOLIET            IL    60432‐2613
NANCY G MADAR                                     62 GARDEN GROVE RD                                                                           MANCHESTER        CT    06040‐7028
NANCY G MC DANIEL                                 8 ROSEMONT                                                                                   TUSCALOOSA        AL    35401‐5938
NANCY G MICHEALS                                  9114 ORTONVILLE RD                                                                           CLARKSTON         MI    48348‐2847
NANCY G MILLS                                     3202 BEECHER RD                                                                              FLINT             MI    48503‐4968
NANCY G MORSE                                     660 RIVERSIDE DRIVE                                                                          AUGUSTA           ME    04330‐8305
NANCY G REIDENBACH                                7 CALVIN COURT                                                                               ORINDA            CA    94563
NANCY G SHEA                                      3012 MEDIAL AVE                                                                              NASHVILLE         TN    37215‐1112
NANCY G SHIPMAN                                   4635 DELFAIR AVE                                                                             COLUMBUS          GA    31907‐1625
NANCY G TURTON                                    1008 CANGER PLACE                                                                            FAIR LAWN         NJ    07410‐1068
NANCY G WILDS                                     1305 WINDSOR POINT                                                                           NORFOLK           VA    23509‐1311
NANCY GAIL SLOSSER & CARL DAYTON SLOSSER JT TEN   4000 SWAFFER RD                                                                              MILLINGTON        MI    48746‐9141

NANCY GALLAGHER                                   2322 E HAGERT ST                                                                             PHILADELPHIA      PA    19125‐3023
NANCY GALLIGAN                                    6726 AMY DRIVE                                                                               CLARKSTON         MI    48348‐4510
NANCY GAVIN                                       295 S ELLICOTT CREEK RD                                                                      AMHERST           NY    14228‐2808
NANCY GENEVA KINCAID                              230 MARILEE DR                                                                               NEW LEBANON       OH    45345
NANCY GERGETS CUST SAMUEL GERGETS UTMA IL         243 N LARCH AVE                                                                              ELMHURST          IL    60126‐2731
NANCY GERHART                                     1250 BUTTONWOOD DR                                                                           LANSDALE          PA    19446‐4702
NANCY GIONFRIDDO                                  239 LITTLEBROOK RD                                                                           NEWINGTON         CT    06111‐5306
NANCY GIOVANNI KOLLER                             9012 MIDDLEWOOD COURT                                                                        ST LOUIS          MO    63127‐1312
NANCY GLAZA & DAVID GLAZA JT TEN                  446 W BORTON ROAD                                                                            ESSEXVILLE        MI    48732‐8706
NANCY GLYNN                                       1853 CENTRAL PARK AV 4F                                                                      YONKERS           NY    10710‐2929
NANCY GOLIGER BERMAN                              7740 FLYNN RANCH ROAD                                                                        LOS ANGELES       CA    90046‐1257
NANCY GORDON                                      3835 GLEN EAGLES DR                                                                          SILVER SPRING     MD    20906‐1672
NANCY GOULD                                       6160 MEADOWLARK                                                                              INDIANAPOLIS      IN    46226‐3677
NANCY GRESHAM                                     3505 S LAMAR 1015                                                                            AUSTIN            TX    78704
NANCY GRUNTHANER MEYERS                           5032 VINCENT AVE S                                                                           MINNEAPOLIS       MN    55410‐2247
NANCY GULLAND                                     16568 S MAIN ST EXT                                                                          PLEASANTVILLE     PA    16341‐9014
NANCY GUNTHER                                     2595 CRESTMOOR DR                                                                            SAN BRUNO         CA    94066‐2831
NANCY H ANDERSON                                  4 FIELD DR                                                                                   BOOTHWIND         PA    19061‐1331
NANCY H BALDWIN                                   8632 BLACKPOOL DRIVE                                                                         ANNANDALE         VA    22003‐4317
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NANCY H BODEN                                       904 BARNSTABLE COURT                                                                            HOCKESSIN         DE    19707‐9008
NANCY H BURKE TEN LARKIN RD                                                                                                                         BYFIELD           MA    01922‐1518
NANCY H CAIN & MICHAEL T CAIN JT TEN                7618 HERRICK PARK DR                                                                            HUDSON            OH    44236‐2376
NANCY H DODDS                                       3920 STONECREST RD                                                                              WEST BLOOMFIELD   MI    48322‐1746

NANCY H DODDS CUST JASON R DODDS UGMA IL            3920 STONECREST RD                                                                              WEST BLOOMFIELD MI      48322‐1746

NANCY H DODDS CUST JEROLD A DODDS UGMA IL           3920 STONECREST RD                                                                              WEST BLOOMFIELD MI      48322‐1746

NANCY H FERGUSON                                    203 STEEPLECHASE CIR                                                                            WILMINGTON        DE    19808‐1977
NANCY H GUAY                                        8C CARNATION CIRCLE                                                                             READING           MA    01867‐2774
NANCY H GUITAR                                      3020 E SUPERIOR ST                                                                              DULUTH            MN    55812
NANCY H GUITE                                       35 WHITE TRELLIS                                                                                PLYMOUTH          MA    02360
NANCY H HANNA                                       112 VICTORIA FALLS LN                                                                           WILMINGTON        DE    19808‐1658
NANCY H HILL                                        334 MILES PATRICK RD                                                                            WINDER            GA    30680‐3500
NANCY H HITE                                        38740 BRONCO DRIVE                                                                              DADE CITY         FL    33525‐1791
NANCY H HORNUNG & CHARLES E HORNUNG JT TEN          512 LELAND ST                                                                                   FLUSHING          MI    48433‐3301

NANCY H LAIER                                   7416 ARGENTINE RD                                                                                   HOWELL            MI    48843‐9236
NANCY H MARCHANT TR UA 6/9/92 THE NANCY H       1788 N FRUITLAND DR                                                                                 OGDEN             UT    84414‐2914
MARCHANT REVOCABLE TRUST
NANCY H MC MAHAN                                4316 HEATHROW DR                                                                                    ANDERSON          IN    46013‐4428
NANCY H MELTON                                  PO BOX 159                                                                                          RYLAND            AL    35767
NANCY H MOTT                                    ATTN STEBBINS                              2760 VIRMILION DR                                        COOK              MN    55723
NANCY H POPOLOSKI                               45 SHAW RD                                                                                          ROCK TAVERN       NY    12575‐5239
NANCY H PRESTON                                 27130 SEABREEZE WAY                                                                                 WESLEY CHAPEL     FL    33543‐6619
NANCY H RICHARDSON CUST THOMAS W RICHARDSON 336 CLUB VIEW DR                                                                                        GREAT FALLS       VA    22066‐3806
UGMA VA
NANCY H SCHAENZER TR JOHN E & NANCY H SCHAENZER 9429 LINDA DR                                                                                       DAVISON           MI    48423‐1798
TRUST UA 04/26/01
NANCY H SPREEN                                  13 E FIFTH ST                                                                                       CLIFTON           NJ    07011‐1724
NANCY H STEVENS                                 5331 CALVIN CT                                                                                      COLFAX            NC    27235‐9658
NANCY H SUDDUTH                                 306 CHURCH STREET                                                                                   WARRENTON         VA    20186‐2712
NANCY H TUCKER CUST JASON H TUCKER UTMA AL      910 8TH STREET                                                                                      LAKE PARK         FL    33403‐2406

NANCY H TUCKER CUST TRACI ANN TUCKER UTMA AL        910 8TH STREET                                                                                  LAKE PARK         FL    33403‐2406

NANCY H WEISSE                                      64 AUTUMN DR                                                                                    TOLLAND           CT    06084‐3816
NANCY H WOOD                                        13349 NORWOOD RD                                                                                WINGINA           VA    24599‐3001
NANCY HAGERTY KAMM                                  28 BATTLER ST                                                                                   ORLANDO           FL    32828
NANCY HALSEY MASTIN                                 PO BOX 298                                                                                      EAST DENNIS       MA    02641‐0298
NANCY HANNUM CARLSON                                CORNER OF EAST AVE & MAIN ST           BOX 194                                                  SPRINGWATER       NY    14560‐0194
NANCY HANSEN EX EST GARY BUFFUM                     6069 60TH AVE                                                                                   NORWALK           IA    50211
NANCY HARDEN                                        509 W RING FACTORY RD                                                                           BEL AIR           MD    21015‐5808
NANCY HARGRAVE THOMAS                               1266 WESTBORO                                                                                   BIRMINGHAM        MI    48009‐5886
NANCY HARRIS                                        6761 GLENELLA                                                                                   SEVEN HILLS       OH    44131‐3632
NANCY HART                                          220 JANE ANN DR                                                                                 PURDUE            KY    42003‐8714
NANCY HARVEY                                        312 HILLTOP ROAD                                                                                TOMS RIVER        NJ    08753
NANCY HAUPT EVANS & CHARLES H EVANS JT TEN          1747 LAUREN LN                                                                                  LADY LAKE         FL    32159‐2125
NANCY HAUSE                                         377 CHURCH ST                                                                                   BLYTHE            GA    30805‐3440
NANCY HAYDIS CERVERIS & LISA CERVERIS GRAY JT TEN   2722 DERBY STREET                                                                               BERKELEY          CA    94705‐1305

NANCY HENDERSON                                     7535 CROOKED OAK CT                                                                             PARKER            CO    80134‐5430
NANCY HERREN                                        914 VALLEY DR                                                                                   ANDERSON          IN    46012
NANCY HERSH                                         2298 WINDING WOODS DR                                                                           TUCKER            GA    30084‐3941
NANCY HEYWOOD CLARK                                 602 MIRAMAR RD                                                                                  CLAREMONT         CA    91711‐2031
NANCY HIBBARD RODRIQUEZ                             511 DOGWOOD LN                                                                                  JACKSONVILLE      NC    28540‐4932
NANCY HINDERS                                       4166 BANTZ DR                                                                                   KETTERING         OH    45440‐1404
NANCY HODGES ANGUS                                  27969 HOUSTON RIDGE RD                                                                          ELKMONOT          AL    35620‐4729
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NANCY HOFF BARSOTTI                              5 TUDOR CITY PLACE                    APT 2004                                                 NEW YORK        NY    10017‐6879
NANCY HOLMES TOENSING                            ATTN NANCY HOLMES                     3811 SW 29TH ST                                          DES MOINES      IA    50321‐2042
NANCY HOLT VAUGHAN                               9306 ASHFORD ROAD                                                                              RICHMOND        VA    23229‐3953
NANCY HOSSENLOPP CUST MICHAEL HOSSENLOPP         81 HALLOCK RD                                                                                  ROCHESTER       NY    14624‐4030
UTMA NY
NANCY HUM                                        18 MONDEO DR APT 527                  SCARBOROUGH ON                         M1P 5C8 CANADA
NANCY HUM                                        18 MONDEO DR APT 527                  SCARBOROUGH ON                         M1P 5C8 CANADA
NANCY HUNGERFORD TR NANCY HUNGERFORD             2676 RIDGE RD                                                                                  MARSHALLTOWN    IA    50158‐9549
REVOVABLE LIVING TRUST UA 9/30/97
NANCY HUNTER HUNT PALETTE INVESTMENT             1900 N AKARD ST                                                                                DALLAS          TX    75201‐2300
CORPORATION
NANCY I BALDWIN                                  6672 BOXWOOD LN                                                                                LIBERTY TWP     OH    45044‐1153
NANCY I COLBY                                    24520 BOSTON                                                                                   DEARBORN        MI    48124‐4409
NANCY I FRANJOINE                                1299 94TH ST                                                                                   NIAGARA FALLS   NY    14304‐2610
NANCY I FRASER                                   406 WEST LOCUST STREET                APT 17                                                   SEAFORD         DE    19973‐2300
NANCY I KING & GERALD W KING TR NANCY I KING     43707 HAYES RD                        APT 76                                                   STERLING HTS    MI    48313‐2274
TRUST UA 01/05/00
NANCY I SAWREY                                   2020 S ALTON CT                                                                                DENVER          CO    80231‐3402
NANCY IRETA UPDIKE                               501 E 2ND AV 9                                                                                 MESA            AZ    85204‐1087
NANCY J ALBERS & TIM J ALBERS JT TEN             7450 WINFIELD LANE S E                                                                         GRAND RAPIDS    MI    49546‐9680
NANCY J ANDERSON                                 12135 BLUE SPRUCE CT NE                                                                        ROCKFORD        MI    49341‐7686
NANCY J ANDERSON                                 15438 MARILLA ST                                                                               N HILLS         CA    91343‐2125
NANCY J ANDROSKO                                 538 LAIRD AVE N E                                                                              WARREN          OH    44483‐5201
NANCY J ANINGALAN                                2130 ARCDALE AVENUE                                                                            ROWLAND HEIGHTS CA    91748‐4038

NANCY J AZNEER                                   1102 SEWELL CT                                                                                 MOUNT JULIET    TN    37122‐6353
NANCY J BALL                                     7361 PARK PLACE                                                                                MECOSTA         MI    49332‐9610
NANCY J BALLARD & KENNETH W BALLARD JT TEN       2167 HERMITAGE DRIVE                                                                           DAVISON         MI    48423‐2070
NANCY J BANKSON & SARAHANNE E BANKSON JT TEN     2216 BRANDY WINE                                                                               PORT HURON      MI    48060‐1870

NANCY J BARNES & PAUL A WEIBEL JT TEN        412 SHOREVIEW DR                                                                                   RAYMORE         MO    64083‐9097
NANCY J BAUMAN & EDWIN E BAUMAN JT TEN       N263 THUNDERBIRD ROAD                                                                              GENOA CITY      WI    53128‐1948
NANCY J BEKKEN                               6725 HIGHMEADOW SW                                                                                 BYRON CENTER    MI    49315‐8361
NANCY J BOOTH                                1310 MORAY CT                                                                                      LEESBURG        FL    34788‐7643
NANCY J BRAMMER                              1913 RIVERVUE DRIVE                                                                                DRUMORE         PA    17518‐9735
NANCY J BRAMMER                              3345 DANIEL CREEK RD                                                                               COLLINSVILLE    VA    24078‐1669
NANCY J BRANSKI                              3458 SOUTH 56 ST                                                                                   MILWAUKEE       WI    53219
NANCY J BREMER                               600 E MEDA AVE                                                                                     GLENDORA        CA    91741‐2757
NANCY J BRODBECK                             12292 S LINCOLN HOLLOW CT                                                                          CEDAR           MI    49621‐9454
NANCY J BUCK & GERALD R BUCK JT TEN          6100 TUBSPRINGS                                                                                    ALMONT          MI    48003‐8311
NANCY J BUCKLEY                              9391 E 100 N                                                                                       GREENTOWN       IN    46936‐8870
NANCY J BURCHFIELD                           PO BOX 2826                                                                                        ODESSA          TX    79760‐2826
NANCY J CARRIKER                             3509S DEBRA ST                                                                                     INDEPENDENCE    MO    64055‐3037
NANCY J CHALTRY                              306 BUCHANAN ST                                                                                    MAYVILLE        WI    53050‐1108
NANCY J CHARLESWORTH                         371 FANCY HILL ROAD                                                                                BOYERTOWN       PA    19512
NANCY J COBURN                               PO BOX 51391                                                                                       LIVONIA         MI    48151
NANCY J COHEN & JOEL H COHEN & JONATHAN E    3040 GRAND BAY BLVD                       UNIT 286                                                 LONG BOAT KEY   FL    34228‐4402
COHEN JT TEN
NANCY J COLLINS                              5353 CAPE SEVILLE DR                                                                               ANCHORAGE       AK    99516‐7522
NANCY J CONSTANTINO                          155 DIVISION AVENUE                                                                                WEST SAYVILLE   NY    11796‐1313
NANCY J COX                                  401 DUBOIS ST                                                                                      WASHINGTON      MO    63090‐2207
NANCY J CRAWFORD                             913 ELM ST                                                                                         ADRIAN          MI    49221‐2332
NANCY J CUNNINGHAM CUST HILLARY M CUNNINGHAM 894 HALIFAX DR                                                                                     WARWICK         RI    02886‐1709
UTMA RI
NANCY J CURNOW                               12379 MARLA                                                                                        WARREN          MI    48093‐1743
NANCY J DARBY                                2111 VALLEY VISTA DR                                                                               DAVISON         MI    48423‐8363
NANCY J DAUGHERTY                            7122 SNUG WATERS RD                                                                                NAVARRE         FL    32566
NANCY J DAWSON                               5104 NATCHEZ LANE                                                                                  BAKERSFIELD     CA    93312
NANCY J DAY                                  1034 WARREN RD                                                                                     WEST CHESTER    PA    19382‐5755
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Name                                               Address1                            Address2                 Address3      Address4          City             State Zip

NANCY J DILGREN                                    4624 CORDUROY RD                                                                             MENTOR           OH    44060‐1140
NANCY J DONOVAN & COLLEEN M DONOVAN &              110 KISLINGBURY ST                                                                           ROCHESTER        NY    14613‐1612
KATHLEEN D BUTLER JT TEN
NANCY J DORSMAN                                    111 N WHEATON AVE                   UNIT 101                                                 WHEATON          IL    60187‐5160
NANCY J DRAKE & CHERYL L COOGLE JT TEN             1085 N E TUXEDO TERRACE                                                                      JENSEN BEACH     FL    34957‐4772
NANCY J DUGGAN                                     92 STONECROFT LANE                                                                           AMHERST          NY    14226‐4129
NANCY J DUSNEY                                     6058 CAMPFIRE CIRCLE                                                                         CLARKSTON        MI    48346‐2297
NANCY J DUSSAULT                                   244 WILLOWBEND RD                                                                            TONAWANDA        NY    14150‐4234
NANCY J ECKERT & ALBERT H ECKERT JT TEN            602 S MERCER AVENUE                 UNIT 101                                                 BLOOMINGTON      IL    61701‐5771
NANCY J EDDY TR UA 07/16/2007 NANCY JEANNE EDDY    19835 N 147TH DRIVE                                                                          SUN CITY WEST    AZ    85375
REV LIV TRUST
NANCY J EMMONS                                     348 MEADOW DR                                                                                ALPHARETTA       GA    30009‐1546
NANCY J FAUST CUST JENNA LEIGH FAUST UTMA CA       24053 WHISTLING SWAN RD                                                                      MURRIETA         CA    92562‐4678

NANCY J FAUST CUST LACEY A FAUST UTMA CA           24053 WHISTLING SWAN RD                                                                      MURRIETA         CA    92562‐4678
NANCY J FAUST CUST LEAH J FAUST UTMA CA            24053 WHISTLING SWAN RD                                                                      MURRIETA         CA    92562‐4678
NANCY J FELLA                                      59 ASTOR DR                                                                                  ROCHESTER        NY    14610‐3505
NANCY J FOGG                                       32051 COWAN RD                                                                               WESTLAND         MI    48185‐6945
NANCY J GAERTNER                                   2666 SCENIC DR                                                                               MUSKEGON         MI    49445‐9653
NANCY J GATTIE                                     1149 FOLSOMDALE RD                                                                           COWLESVILLE      NY    14037‐9709
NANCY J GILBERT                                    ATTN EDWARD H GILBERT               2585 N W 59TH STREET                                     BOCA RATON       FL    33496‐2224
NANCY J GILPIN & PHILIP M GILPIN JT TEN            PO BOX 228                                                                                   PARMA            MI    49269‐0228
NANCY J GIROT                                      4 WILTON PARKWAY                                                                             BUFFALO          NY    14223
NANCY J GOODWIN                                    470 3RD ST S APT 509                                                                         ST PETERSBURG    FL    33701‐4645
NANCY J GRAVES                                     551 PITTSBURGH RD                                                                            BUTLER           PA    16002‐7659
NANCY J GREVE                                      7667 TWP RD I‐7                                                                              OTTAWA           OH    45875‐9661
NANCY J GRIFFITHS                                  71 NESTINGROCK LANE                                                                          LEVITTOWN        PA    19054‐3809
NANCY J GUNNER                                     2350 N VASSER RD                                                                             DAVISON          MI    48423‐9553
NANCY J HADLEY                                     C/O N J LONG                        4500 FARM TO MARKET RD                                   WHITEFISH        MT    59937
NANCY J HALL                                       129 PARK LANE                                                                                HOPKINS          MN    55343‐9234
NANCY J HAMBERGER                                  6695 WEST ROBINWOOD LANE                                                                     FRANKLIN         WI    53132‐9027
NANCY J HANFLIK                                    1301 WOODLAWN PARK DR                                                                        FLINT            MI    48503‐2767
NANCY J HANLEY                                     7 HARPER PKWY                                                                                AVON             NY    14414‐9537
NANCY J HARRIS                                     815 E 2ND ST                                                                                 PORT CLINTON     OH    43452‐1203
NANCY J HARRIS                                     5429 N STATE RD                                                                              DAVISON          MI    48423‐8596
NANCY J HARTIGAN                                   C/O N H ACKER                       412 ASCOT LANE                                           OAK BROOK        IL    60523‐2540
NANCY J HASSELL                                    HASSELL                             8148 STOUT ST                                            GROSSE ILE       MI    48138‐1344
NANCY J HASTIE                                     4678 SHERWOOD DRIVE                                                                          INDIAN RIVER     MI    49749‐9329
NANCY J HATTEN                                     PO BOX 303                                                                                   BANCROFT         IA    50517‐0303
NANCY J HATTEN & BRIAN HATTEN JT TEN               PO BOX 303                                                                                   BANCROFT         IA    50517‐0303
NANCY J HATTNER                                    3312 SHAKESPEARE LANE                                                                        TOLEDO           OH    43615‐1655
NANCY J HAVERTY                                    8697 N FULLER AVE                                                                            FRESNO           CA    93720‐1658
NANCY J HENKEL                                     5137 N 79TH PL                                                                               SCOTTSDALE       AZ    85250‐7213
NANCY J HENRICHS TR UA 12/18/89 NANCY J HENRICHS   PO BOX 147                                                                                   BISCOE           NC    27209‐0147
TRUST
NANCY J HERCHENBACH                                7751 SOMERVILLE DR                                                                           HUBER HEIGHTS    OH    45424‐2241
NANCY J HETZEL & WILFRED A HETZEL TR NANCY J       2308 WILLOW SPRINGS RD                                                                       KOKOMO           IN    46902‐4595
HETZEL TRUST UA 11/18/99
NANCY J HOCHU                                      C/O NANCY JANE POWELL               PO BOX 1714              WYNWARD SK    S0A 4C0 CANADA
NANCY J HOFFMAN                                    431 WOLF HILL RD                                                                             DIX HILLS        NY    11746‐5744
NANCY J HOLMAN                                     PO BOX 1137                                                                                  PORT LAVACA      TX    77979‐1137
NANCY J HOUCK                                      683 BEN SPECK RD                                                                             HEDGESVILLE      WV    25427‐4934
NANCY J IRWIN                                      8 N MAPLE ST                                                                                 JAMESTOWN        OH    45335‐1547
NANCY J JONES                                      2450 VIRGINIA PARK DR                                                                        LAPEER           MI    48446
NANCY J KENYON                                     42 PINE RIDGE TER                                                                            CENTRAL SQUARE   NY    13036‐3309
NANCY J KERNAN                                     1836 WILSON AVE                                                                              BETHLEHEM        PA    18018‐2132
NANCY J KILEY                                      210 BROADWAY UNIT A401                                                                       EVERETT          MA    02149‐2412
NANCY J KLINE                                      PO BOX 896                                                                                   KIMBERTON        PA    19442‐0896
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NANCY J KOLLIN & NORBERT KOLLIN TR NANCY J KOLLIN 5313 SHORE DR                                                                                BELLAIRE           MI    49615‐9404
TRUST UA 07/15/97
NANCY J KOTRAS                                    2012 SUNNYSIDE DR                                                                            WAUKESHA        WI       53186‐2866
NANCY J KOWALSKI                                  9562 AMBERWOOD CT                                                                            CLEVELAND       OH       44147
NANCY J KOZAK                                     2373 JAKEWOOD                                                                                WEST BLOOMFIELD MI       48324‐3305

NANCY J LAYNE                                   6401 EAST TU AVE                                                                               VICKSBURG          MI    49097‐8337
NANCY J LEFFLER                                 209 ODD FELLOWS RD                                                                             PEMBERTON          NJ    08068‐1405
NANCY J LEICHTER                                31 HEDGE WOOD LN                                                                               PITTSFORD          NY    14534‐9547
NANCY J LETOURNEAU & RONALD A LETOURNEAU JT                                                                                                    GLADWIN            MI    48624‐9603
TEN 3408 CLENDENING
NANCY J LEVERING                                4384 SHIRLENE DR                                                                               GROVE CITY         OH    43123‐2957
NANCY J LONGHIBLER                              12904 W 70 TERR                                                                                SHAWNEE            KS    66216‐2631
NANCY J LUESCHEN                                2304 S PASFIELD                                                                                SPRINGFIELD        IL    62704‐4607
NANCY J LUTHER                                  2356 ARMOUR DRIVE                                                                              DUNEDIN            FL    34698‐2201
NANCY J MC CALLISTER                            316 SAN BENITO WAY                                                                             SAN FRANCISCO      CA    94127‐2533
NANCY J MC CAMY                                 7450 WINFIELD LANE S E                                                                         GRAND RAPIDS       MI    49546‐9680
NANCY J MCCRELLIAS                              582 GARFIELD                                                                                   LINCOLN PARK       MI    48146‐2810
NANCY J MCDUFFORD                               1242 MASSACHUSETTS DR                                                                          XENIA              OH    45385‐4752
NANCY J MCKAY                                   C/O DONALD L MCKAY                    6596 EXCHANGE RD                                         DURAND             MI    48429‐9110
NANCY J MCLEAN                                  5363 BRISTOL PARKE DR                                                                          CLARKSTON          MI    48348‐4827
NANCY J MCLEAN                                  5363 BRISTON PARKE DR                                                                          CLARKSTON          MI    48348
NANCY J MEDD                                    628 BROOKS                                                                                     ANN ARBOR          MI    48103‐3158
NANCY J MERK TOD JOSEPH P MERK SUBJECT TO STA   4315 STATE RTE 269 S                                                                           CASTALIA           OH    44824
TOD RULES
NANCY J MOORE                                   464 PETER PAN ROAD                                                                             BRIDGEWATER        NJ    08807‐2228
NANCY J MORALES                                 726 S PYLE                                                                                     KANSAS CITY        KS    66105‐2029
NANCY J MORGAN                                  2115 NORWAY DRIVE                                                                              DAYTON             OH    45439‐2625
NANCY J MORRIS                                  3496 W 95TH ST                                                                                 CLEVELAND          OH    44102‐4712
NANCY J MORRISON & ELIOT MORRISON & DEBBIE      103 BROCKMOORE DRIVE                                                                           EAST AMHERST       NY    14051‐2138
MORRISON JT TEN
NANCY J NEWELL                                  568 SPRINGVIEW DR                                                                              ROCHESTER          MI    48307‐6069
NANCY J OCHOA & JOHN G GREENHILL JT TEN         347 HIGHLAND AVE                                                                               ROCHESTER          MI    48307
NANCY J OLIVER                                  601 EAST 13TH ST                                                                               MIO                MI    48647‐9619
NANCY J OLIVER TOD TERRI N OLIVER & STEVEN L    601 E 13TH ST                                                                                  MIO                MI    48647‐9619
OLIVER
NANCY J PEEBLES & FREDERICK PEEBLES JT TEN      3353 FAIRWAY DRIVE                                                                             BAY CITY           MI    48706
NANCY J PEPE                                    3039 PERCH DRIVE                                                                               RIVA               MD    21140‐1109
NANCY J PICKETT ADM EST EDWIN PICKETT           3430 SHEPARD RD                                                                                AUBREY             TX    76227
NANCY J PORTER                                  5104 ASHMONT COURT                                                                             DUNWOODY           GA    30338
NANCY J POTTER                                  4143 EASTRIDGE DR                                                                              JANESVILLE         WI    53546
NANCY J RASE                                    886 W CENTER RD                                                                                ESSEXVILLE         MI    48732‐2006
NANCY J RENFREW                                 718 CEDAR HILL                                                                                 DALLAS             TX    75208‐4082
NANCY J ROLON                                   851 RIVERWOOD DR                                                                               MONROE             GA    30655‐8460
NANCY J ROSENTHALL                              PO BOX 415                                                                                     SUMMITVILLE        IN    46070‐0415
NANCY J RUBLEE                                  N 16399 HELBERG RD                                                                             BUTTERNUT          WI    54514‐8839
NANCY J RUNDLETT                                3322 S KEARSLEY BLVD                                                                           FLINT              MI    48506‐2045
NANCY J RYAN                                    4165 LANDING LANE                                                                              ST JOSEPH          MI    49085‐9689
NANCY J SAYERS                                  1332 LEEDS RD                                                                                  ELKTON             MD    21921‐3606
NANCY J SCHMIDT & THOMAS W SCHMIDT JT TEN       54665 ARROWHEAD DR                                                                             SHELBY TWP         MI    48315‐1213
NANCY J SCHULTZ                                 17364 HEATHER LN                                                                               CLINTON TWP        MI    48038‐2827
NANCY J SCHULTZ THOMPSON CUST ERIN MICHELLE     331 OXFORD RD                                                                                  PLYMOUTH           PA    19462‐7143
THOMPSON UGMA PA                                                                                                                               MEETING
NANCY J SENG                                    316 S JAMES ST                                                                                 DOVER              OH    44622‐2132
NANCY J SENICH                                  33446 MINA DR                                                                                  STERLING HEIGHTS   MI    48312‐6648

NANCY J SHEVOKAS                                8 LAUREL WOOD DRIVE                                                                            BLOOMINGTON        IL    61704‐9189
NANCY J SISINO                                  1906 SUGAR RIDGE RD                                                                            SPRING HILL        TN    37174‐2316
NANCY J SKAGGS                                  743 MADISON DR                                                                                 HINESVILLE         GA    31313‐6515
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Name                                             Address1                                Address2                   Address3    Address4          City              State Zip

NANCY J SMITH                                    30 BARBARA LANE                                                                                  ROCHESTER         NY    14626‐4002
NANCY J SOLNIK                                   4149 CONNIE                                                                                      STERLING HGTS     MI    48310‐3834
NANCY J SOLTESZ                                  2616 ROSEWOOD PL NW                                                                              CANTON            OH    44708‐4575
NANCY J STAPLETON & JOHN T STAPLETON JT TEN      1220 62ND ST                                                                                     DOWNERS GROVE     IL    60516‐1853
NANCY J STEPHENSON                               C/O NANCY SODEN                         9872 OGALA HORSE CAMP RD                                 SEYMOUR           IN    47274‐9023
NANCY J STEWART                                  8 LAWN AVE                                                                                       GORHAM            ME    04038‐1119
NANCY J STILLABOWER                              1304 LONG SHORE DRIVE                                                                            INDIANAPOLIS      IN    46217
NANCY J SWEATLAND                                10550 FAWN DRIVE                                                                                 NEW PORT RICHEY   FL    34654‐1406

NANCY J TALSMA                                   136 ANN STREET NE                                                                                GRAND RAPIDS      MI    49505‐6260
NANCY J TAMER & NORMAN R TAMER JT TEN            1875 ECHO HILLS                                                                                  HOWELL            MI    48843‐9754
NANCY J THEOBALD                                 213 ASH STREET                                                                                   HONESDALE         PA    18431‐1507
NANCY J THOMAS                                   7570 E SPEEDWAY BLVD                    UNIT 303                                                 TUCSON            AZ    85710‐8817
NANCY J THOMPSON                                 4590 HADLEY RD                                                                                   METAMORA          MI    48455‐9792
NANCY J TYREE                                    9826 WEST FORRESTER DRIVE                                                                        SUN CITY          AZ    85351‐3245
NANCY J VALLES TR UA 05/02/1995 NANCY J VALLES   1419 S PROSPECT                                                                                  PARK RIDGE        IL    60068
LIVING TRUST
NANCY J VOGT                                     11855 FERGUSON VALLEY RD                                                                         LEWISTOWN         PA    17044‐8615
NANCY J VORHOFF                                  1221 CURZON CT APT 202                                                                           HOWELL            MI    48843‐6100
NANCY J WACLAW                                   C/O NANCY J W GOUTY                     2718 MORGAN DR                                           BEDFORD           IN    47421‐5454
NANCY J WASMUTH                                  20928 ANNAPOLIS                                                                                  DEARBORN HTS      MI    48125‐2816
NANCY J WENTWORTH CUST WILLIAM M WENTWORTH       9443 BURNING TREE DR                                                                             GRAND BLANC       MI    48439‐9539
JR UGMA MI
NANCY J WETHERHOLT                               35054 SATEEN DR                                                                                  ZEPHYRHILLS      FL     33541‐2319
NANCY J WHITAKER                                 11141 ELMCREST                                                                                   WHITMORE LAKE    MI     48189‐9311
NANCY J WILLIAMS                                 5509 WATERVIEW DRIVE                                                                             GRANBURY         TX     76048‐3264
NANCY J WILLIAMS                                 9718 STEELE MEADOW RD                                                                            CHARLOTTE        NC     28273‐4581
NANCY J WILSON                                   5110 LINDEN STREET                                                                               ANDERSON         IN     46017‐9717
NANCY J WILSON & RONALD C WILSON JT TEN          1010 MILTON ST                                                                                   VALPARAISO       IN     46385‐4136
NANCY J WOOD                                     33670 BERNADINE                                                                                  FARMINGTON HILLS MI     48335‐1414

NANCY J WOODS & DEBRA L GUIDASH JT TEN         3952 W LIBERTY RD                                                                                  DUBOIS            PA    15801‐5030
NANCY J WORD                                   109 BACKING CIR                                                                                    MARTINSBURG       WV    25405‐9654
NANCY J WORLEY                                 127 ALDERSGATE ST                                                                                  GREEN CV SPGS     FL    32043‐9501
NANCY J WRIGHT                                 3167 E FRANCES RD                                                                                  CLIO              MI    48420‐9778
NANCY JACOB                                    PO BOX 1314                               GRACIE STATION                                           NEW YORK          NY    10028‐0010
NANCY JAEGER CUST KIMBERLY ANNE JAEGER UGMA NJ 42 WOODFIELD RD                                                                                    WASHINGTON        NJ    07675‐4814
                                                                                                                                                  TOWNSHP
NANCY JAMES WALSH                                140 TAMARACK DR                                                                                  EAST GREENWICH    RI    02818‐2204
NANCY JANE BIBB                                  3414 W 3RD STREET RD                                                                             GREELEY           CO    80631‐1309
NANCY JANE DEL CONTE CUST MATTHEW PODD DEL       14 SHADY LN                                                                                      OSWEGO            NY    13126‐6709
CONTE UGMA NY
NANCY JANE FRIEDLEY                              4 WALLER COURT                                                                                   TOWSON            MD    21286‐1657
NANCY JANE HARE                                  376 RIDGE TRAIL                                                                                  FINCASTLE         VA    24090‐5295
NANCY JANE HERCHENBACH                           7751 SOMERVILLE DR                                                                               HUBER HGTS        OH    45424
NANCY JANE LUFF                                  181 POST RD                                                                                      NORTH HAMPTON     NH    03862‐2038

NANCY JANE NAYLOR                                91 CHARDONNAY DR                                                                                 MORGANTOWN        WV    26508‐5225
NANCY JANKE CUST JILL JANKE UGMA NE              14310 WEIR                                                                                       OMAHA             NE    68137‐1543
NANCY JANKE CUST JILL JANKE UTMA NE              5727 SOUTH 216TH STREET                                                                          ELKHORN           NE    68022‐3227
NANCY JANKE CUST LUKE JANKE UTMA NE              14310 WEIR                                                                                       OMAHA             NE    68137‐1543
NANCY JANKE CUST LUKE JANKE UTMA NE              5727 SOUTH 216TH STREET                                                                          ELKHORN           NE    68022‐3227
NANCY JASKO HASTIE                               6660 SE 67TH CT                                                                                  TRENTON           FL    32693‐2923
NANCY JEAN ALLISON                               11070 CEDARCREST WAY                                                                             SAN DIEGO         CA    92121‐4135
NANCY JEAN BYRNES                                7 CEDAR IS                                                                                       WILMINGTON        NC    28409‐2101
NANCY JEAN DAVIS                                 30819 VIA LA CRESTA                                                                              RANCHO PALOS      CA    90275‐5312
                                                                                                                                                  VERDE
NANCY JEAN DAVIS                                 8301 RIDGE BLVD APT 1B                                                                           BROOKLYN          NY    11209
NANCY JEAN FLEISCHER                             #5102                                   34108 CHAGRIN BLVD                                       MORELAND HILLS    OH    44022‐1042
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NANCY JEAN GASTON                               154 WALNUT STREET                                                                               NORTH PLAINFIELD NJ     07060‐3966

NANCY JEAN KISTLER                              100 ELTHAM                                                                                      WILLIAMSBURG      VA    23188‐7472
NANCY JEAN KJERRUMGAARD                         58960 ROSELL                                                                                    NEW HAVEN         MI    48048‐2654
NANCY JEAN ONEY                                 PO BOX 84                                                                                       SKANEATELES       NY    13152‐0084
NANCY JEAN POLSON CUST JESSICA LYNN POLSON      ATTN NANCY JEAN DAVIS                  PO BOX 544                                               PLEASANT HILL     OH    45359‐0544
UGMA OH
NANCY JEAN SCOTT                                71 ALEXANDRA BLVD                      ST CATHARINES ON                       L2P 1K2 CANADA
NANCY JEAN ZAITZEW                              753 HAVENWOOD DR                                                                                YOUNGSTOWN        OH    44512‐5015
NANCY JEANNE BOERS                              2901 WINCHELL                                                                                   KALAMAZOO         MI    49008‐2114
NANCY JETT CRUTCHFIELD                          2120 CHATHAM                                                                                    DALTON            GA    30720‐7122
NANCY JIRANEK                                   268 HAWTHORNE DR                                                                                DANVILLE          VA    24541‐3620
NANCY JO DIMOND                                 1936 E ORION ST                                                                                 TEMPE             AZ    85283‐3235
NANCY JO MACFARLANE                             112 HASTINGS CRT                                                                                ABINGDON          MD    21009
NANCY JO MASIELLO                               2113 HOLBORN ROAD                                                                               WILMINGTON        DE    19808‐4224
NANCY JO MITCHELL‐POSTELNEK                     769 NUT SWAMP RD                                                                                RED BANK          NJ    07701‐5206
NANCY JO O'MALLEY                               1161 OAKWOOD AVE                                                                                VALLEJO           CA    94591‐4716
NANCY JO SCHMIDT & BRANDON THOMAS SCHMIDT JT    54665 ARROWHEAD DR                                                                              UTICA             MI    48315‐1213
TEN
NANCY JO SCHMIDT & JOEL THOMAS SCHMIDT JT TEN   54665 ARROWHEAD DR                                                                              UTICA             MI    48315‐1213

NANCY JO SIES & PHILIP MAURICE SIES JT TEN    10057 MCCAULY RD                                                                                  CINCINNATI        OH    45241‐1350
NANCY JO WEBER                                208 MITCHEL HOLLOW RD                                                                             COUDERSPORT       PA    16915
NANCY JOAN WEIKERT                            2610 RIVERBEND ROAD                                                                               ALLENTOWN         PA    18103‐9224
NANCY JOAN WETERING                           1048 MEADOW VIEW LN                                                                               SAINT AUGUSTINE   FL    32092‐1055
NANCY JOANNE CAMPBELL & JOHN EDWARD CAMPBELL 3 WHITNEY RD                                                                                       HOPEDALE          MA    01747‐1847
JT TEN
NANCY JOANNE HELMBOLDT                        17 TANGERINE                                                                                      IRVINE            CA    92620‐4564
NANCY JOHNSON                                 19031 KLINGER                                                                                     DETROIT           MI    48234‐1758
NANCY JOHNSON BRANTLEY                        PO BOX 56                                                                                         CAMDEN            SC    29020‐0056
NANCY JONES                                   6629 BOULDER LN                                                                                   MIDDLETON         WI    53562‐2806
NANCY JONES                                   BOX 67                                                                                            GLASGOW           WV    25086‐0067
NANCY JONES SCHRANK                           396A 9TH STREET                                                                                   BROOKLYN          NY    11215‐4153
NANCY JORDAN                                  PO BOX 815                                                                                        PAYETTE           ID    83661‐0815
NANCY JOYCE LEE & RICHARD MICHAEL LEE & DAVID 900 EAST ROYERTON RD                                                                              MUNCIE            IN    47303‐9438
ALLEN LEE JT TEN
NANCY JUNE HARRINGTON TR HARRINGTON           4675 LA ESPADA DR                                                                                 SANTA BARBARA     CA    93111‐1301
REVOCABLE TRUST UA 06/16/93
NANCY K BAILEY                                8500 LOWER MIAMISBURG RD                                                                          GERMANTOWN        OH    45327‐9616
NANCY K BENJAMIN                              C/O N K PITTS                            3620 OAK RD                                              BARTLETT          TN    38135‐2503
NANCY K BOODLEY                               8 LOWELL PL                                                                                       ITHACA            NY    14850‐2554
NANCY K CONLEY                                300 PARK RD                                                                                       ROCKVILLE         MD    20850
NANCY K CORWIN                                633 E CROSS STREET                                                                                ANDERSON          IN    46012‐1856
NANCY K FOSTER                                2815 KOYLETTE ROAD                                                                                MARLETTE          MI    48453‐9611
NANCY K GEYER                                 231 GREENWARD WAY S                                                                               NORTH OLMSTED     OH    44070‐5747
NANCY K HART                                  369 HILLDALE DRIVE                                                                                ANN ARBOR         MI    48105‐1118
NANCY K KRUEGER                               4910 STATE RD 257 S                                                                               DELAWARE          OH    43015
NANCY K LAND                                  PO BOX 334                                                                                        BROWNS SUMMIT     NC    27214‐0334

NANCY K MADSEN                                  662 HARRIMAN                                                                                    AMERY             WI    54001‐1206
NANCY K MANNES                                  7405 ARLINGTON RD                      APT 302                                                  BETHESDA          MD    20814‐6362
NANCY K MC NAMARA                               35537 OAKDALE DRIVE                                                                             LIVONIA           MI    48154‐2237
NANCY K MCCLAIN                                 6647 VERNETTE DRIVE                                                                             YOUNGSTOWN        OH    44515‐2104
NANCY K OWENS                                   PO BOX 9022                                                                                     WARREN            MI    48090‐9022
NANCY K PATSTON & JOHN R PATSTON JT TEN         ROYAL OAKS                             3 DEVONSHIRE CT APT 5                                    MICHIGAN CITY     IN    46360‐1591
NANCY K PITTS                                   3620 OAK ROAD                                                                                   BARTLETT          TN    38135‐2503
NANCY K POLK                                    4701 PARIS PIKE                                                                                 LEXINGTON         KY    40511‐8427
NANCY K RAMSEY                                  1305 HERMITS WAY                                                                                THE DALLES        OR    97058‐3806
NANCY K ROSS                                    31756 LEEWARD CT                                                                                AVON LAKE         OH    44012‐2461
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Name                                             Address1                             Address2               Address3        Address4          City               State Zip

NANCY K RUMMELL & MICHAEL M RUMMELL JT TEN       43 LAUREL HILL RD                                                                             CROTON HDSN        NY    10520

NANCY K SALVAGO‐TOLEDO                           125 WHITETHORNE DR                                                                            MORAGA             CA    94556
NANCY K SCHROTH                                  9465 RIDGE RD                                                                                 GOODRICH           MI    48438‐9480
NANCY K SELLECK                                  7357 E HOUGHTON LAKE DR                                                                       HOUGHTON LAKE      MI    48629‐9396
NANCY K VAN LANGEN                               13394 PHELPS AVE                                                                              KENT CITY          MI    49330
NANCY K VINSON                                   PO BOX 999                                                                                    SANTA CRUZ         NM    87567‐0999
NANCY K WILLIAMS                                 3143 HOMEWOOD DR                                                                              MEMPHIS            TN    38128‐4420
NANCY K YAKUBEK                                  7841 CASTLE ROCK NE                                                                           WARREN             OH    44484‐1410
NANCY KAPLAN                                     824 KING ST                                                                                   WOODMERE           NY    11598‐2306
NANCY KAYE GREENE & JUDY A GREENE JT TEN         1338 CENTRAL POINT RD                                                                         RUTLEDGE           TN    37861
NANCY KELLEY                                     47 RTE DE MORAT                      74290 VEYRIER DU LAC                   FRANCE
NANCY KELLUM & WILFORD B KELLUM JT TEN           125 S CEDAR                                                                                   TRAVERSE CITY      MI    49684‐2458
NANCY KRIPLEN                                    2601 W 42ND ST                                                                                INDIANAPOLIS       IN    46228‐3102
NANCY KUETHE                                     2422 WIMBLEDON DR                                                                             ARLINGTON          TX    76017‐3730
NANCY L ADAIR                                    108 SOUTH WAXAHACHIE                                                                          MANSFIELD          TX    76063‐3157
NANCY L ANDREWS                                  580 MAIN ST                                                                                   WOBURN             MA    01801‐2924
NANCY L ANTHONY                                  8441 ARBORFIELD COURT                                                                         FORT MYERS         FL    33912
NANCY L ANTON                                    2268 ROAD II                                                                                  SATANTA            KS    67870
NANCY L AZELTON JERRY AZELTON & CINDY WOLFE JT   3920 DALE RD                                                                                  BEAVERTON          MI    48612‐9753
TEN
NANCY L AZELTON JERRY AZELTON & DEBRA AZELTON‐   3920 DALE RD                                                                                  BEAVERTON          MI    48612‐9753
LEE JT TEN
NANCY L BAXTER                                   C/O CARL BORNGASSER                  110 W COLUMBIA ST                                        FAIRBURY           IL    61739‐1154
NANCY L BELLEW                                   15190 S SYMPHONY DR                  #2802                                                    OLATHE             KS    66062‐7117
NANCY L BERGLUND & JASON J BERGLUND JT TEN       1041 BIANCHI LN                                                                               GWINN              MI    49841
NANCY L BICKSLER                                 1180 BEN FRANKLIN HWY E              APT 203                                                  DOUGLASVILLE       PA    19518‐1551
NANCY L BIDDLE                                   826 SCENERY DR                                                                                ELIZABETH          PA    15037‐2210
NANCY L BISHOP                                   6815 EAST 550 EAST                                                                            BROWNSBURG         IN    46112
NANCY L BLEDSOE                                  174 PAGE BROOK ROAD                                                                           WHITNEY POINT      NY    13862‐1603
NANCY L BLUM                                     N7365 LOST NATION RD                                                                          ELKHORN            WI    53121‐2660
NANCY L BORUCKI                                  4661 COUNTRY WAY W                                                                            SAGINAW            MI    48603‐1079
NANCY L BOWMAN                                   831 RACHEL RD                                                                                 MANSFIELD          OH    44907‐2023
NANCY L BOWMAN                                   PO BOX 3838                                                                                   MANSFIELD          OH    44907‐3838
NANCY L BREEN                                    5386 FREDERICK ROAD                                                                           DAYTON             OH    45414‐3754
NANCY L BROWN CUST SHERI E BROWN UGMA MI         C/O SHERI E ALLEN                    PO BOX 5651                                              CAREFREE           AZ    85377
NANCY L BRUNER & JOHN W BRUNER JT TEN            2195 SHADY PLACE                                                                              LAS CRUCES         NM    88005‐4567
NANCY L BUGG                                     73 MUSKOKA ROAD                                                                               GROSSE POINTE      MI    48236‐3009
                                                                                                                                               FARM
NANCY L BUGG                                     73 MUSKOKA ROAD                                                                               GROSSE PTE FARMS   MI    48236‐3009

NANCY L BURNS & KENNETH E BURNS JT TEN           9101 COVENTRY DR                                                                              NORTHFIELD         OH    44067
NANCY L CALKINS                                  W6317 WEBERS PT RD                                                                            SHAWANO            WI    54166‐3930
NANCY L CARUSO                                   734 REGAL DR                                                                                  YOUNGSTOWN         OH    44515‐4362
NANCY L CAUDILL                                  117 BRANDON DR                                                                                CORBIN             KY    40701‐4183
NANCY L CAVANAGH & JEFFRA N MOORE JT TEN         P O BOX 332                                                                                   CHESAPEAKE CY      MD    21915
NANCY L CERVONE                                  12 PARK AVE                                                                                   OAKFIELD           NY    14125‐1026
NANCY L CHIZEK CUST DANIEL R CHIZEK UGMA MI      5135 SCIO CHURCH                                                                              ANN ARBOR          MI    48103‐9636
NANCY L CHRISTIE                                 7326 GLENSFORD DR                                                                             AVON               IN    46123‐7788
NANCY L CHU MEYERS                               44622 BROADMOOR CIR N                                                                         NORTHVILLE         MI    48168‐8638
NANCY L DAIGLER                                  47 EAGLE TER                                                                                  DEPEW              NY    14043‐2564
NANCY L DARBY                                    54635 SHELBY RD                                                                               SHELBY TOWNSHIP    MI    48315‐1434

NANCY L DAVIES                                   68 CHARLTON HILL RD                                                                           HAMDEN             CT    06518‐2550
NANCY L DAVIS                                    135 N 14TH ST                                                                                 SAGINAW            MI    48601‐1724
NANCY L DAVIS                                    2356 ARMOUR DR                                                                                DUNEDIN            FL    34698‐2201
NANCY L DAVIS                                    468 30TH STREET                                                                               SAN FRANCISCO      CA    94131‐2307
NANCY L DAVIS                                    21478 DEQUINDRE RD                   APT 102                                                  WARREN             MI    48091‐2234
NANCY L DAVIS                                    9155 CENTERLINE RD                                                                            ONAWAY             MI    49765
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Name                                           Address1                               Address2                     Address3   Address4          City            State Zip

NANCY L DICKINSON                              11960 W WHITAKER AVE                                                                             GREENFIELD      WI    53228‐2473
NANCY L DILLY                                  3905 HILL ROAD                                                                                   DRESDEN         OH    43821‐9759
NANCY L DIXON                                  5607 S MILL RD                                                                                   CARBON          IN    47837‐8543
NANCY L DOROW                                  11959 BURNING BUSH CT                                                                            HOLLAND         MI    49424‐7930
NANCY L DROZEK & KERRI L DROZEK JT TEN         235 LUNDY LN                                                                                     SCHAUMBURG      IL    60193‐1709
NANCY L DUNCAN & DAVID R DUNCAN TR DUNCAN      225 EHRET STREET                                                                                 PARAMUS         NJ    07652‐4446
FAMILY TRUST 9/18/99
NANCY L EADE                                   7201 GREEN MEADOW LANE                                                                           NASHVILLE        TN   37221‐3451
NANCY L EICHENBERG                             253 SUNSET DR                                                                                    ENCINITAS        CA   92024‐2636
NANCY L EMPEY                                  4320 COLUMBIA PIKE                                                                               FRANKLIN         TN   37064‐9624
NANCY L EVANS AULT                             20 BUDDE CT                                                                                      FORT THOMAS      KY   41075
NANCY L FALTISKO                               447 MAIN ST                                                                                      WEST SENECA      NY   14224‐2928
NANCY L FARMER                                 1085 ORCHID ST                                                                                   WATERFORD        MI   48328‐1344
NANCY L FISCHER                                BOX 726                                                                                          COVELO           CA   95428‐0726
NANCY L FISHER                                 285 OHINA PLACE                                                                                  KIHEI            HI   96753‐8503
NANCY L FOSS                                   ATTN NANCY L BARNES                    30237 MEADOWRIDGE STH                                     FARMINGTON HILLS MI   48334‐4843

NANCY L FOWLER & SARAH L FOWLER JT TEN         26 UPSON ST                            APT 1‐2                                                   BRISTOL         CT    06010‐6274
NANCY L FOX                                    3783 CHRISTOPHER                                                                                 BRIGHTON        MI    48116
NANCY L FRANCIS                                7616 GRANADA                                                                                     BUENA PARK      CA    90621‐1213
NANCY L FRANK                                  1850 PRINCETON DR                                                                                TOLEDO          OH    43614‐2932
NANCY L GALBRAITH                              8 MALLET LN                                                                                      FAR HILLS       NJ    07931‐2464
NANCY L GALLAGHER TR UA 02/02/2007 ANDREW      9600 E SMISETH RD                                                                                SUTTONS BAY     MI    49682
KISELIUS TRUST
NANCY L GARRETT & THOMAS W GARRETT JT TEN      1330 DRY BROOK COURT                                                                             DERBY            KS   67037‐2832
NANCY L GAUGHAN                                690 CHECKER DR                                                                                   BUFFALO GROVE    IL   60089‐1411
NANCY L GILES                                  2048 BELL TOWER RD                                                                               SALT LAKE CITY   UT   84109‐2470
NANCY L GONZALEZ                               8002 MONROE                                                                                      TAYLOR           MI   48180‐2483
NANCY L GRIFFITH                               2412 W LIVINGSTON ST                                                                             ALLENTOWN        PA   18104‐3619
NANCY L GRIFFITH & DAVID W GRIFFITH JT TEN     2412 WEST LIVINGSTON STREET                                                                      ALLENTOWN        PA   18104‐3619
NANCY L GUFFEY                                 3084 ROLLING GREEN CIRCLES                                                                       ROCHESTER HILLS  MI   48309‐1250
NANCY L HANSON                                 112 COBY DR                                                                                      UNIONVILLE       TN   37180‐8708
NANCY L HARTSUCK                               475 MACK RD                                                                                      LEONARD          MI   48367‐3515
NANCY L HEARN                                  2460 DE HOOP AVE SW                                                                              WYOMING          MI   49509‐1817
NANCY L HEGYI                                  13390 GREENVIEW DR BLDG 6 #103                                                                   SOUTHGATE        MI   48195‐3429
NANCY L HENRY                                  HENRY RD                                                                                         ALBURG           VT   05440
NANCY L HENRY                                  5445 N MISSION RD                                                                                ROSEBUSH         MI   48878‐8729
NANCY L HICKS                                  9652 CHASE BRIDGE ROAD                                                                           ROSCOMMON        MI   48653‐9772
NANCY L HISCOCK                                16113 HOCKNOW LN                                                                                 MILLERSBURG      MI   49759‐9681
NANCY L HOBSON                                 10493 TWIN LAKES DR                                                                              OTISVILLE        MI   48463‐9756
NANCY L HOGG & MICHAEL D HOGG TEN ENT          339 PARKWOOD DR                                                                                  CHAMBERSBURG     PA   17201‐4531
NANCY L HOLDER                                 3511 MELODY CT                                                                                   KOKOMO           IN   46902‐3937
NANCY L HOLLAND                                304 ELMSHAVEN DR                                                                                 LANSING          MI   48917‐3500
NANCY L HOTALING                               9345 SANER CT                                                                                    SYLVANIA         OH   43560‐9206
NANCY L HOUSE                                  29760 OMENWOOD                                                                                   FARMINGTON HILLS MI   48336‐2147

NANCY L JACOBSEN                               203 S MONTANA                                                                                    BOONE           IA    50036‐3851
NANCY L JESSEN                                 6558 WOLFTREE LANE                                                                               ANNANDALE       VA    22003‐2059
NANCY L JETER                                  5605 LONE STAR CT                                                                                KOKOMO          IN    46901‐5706
NANCY L JODLBAUER TR UA 10/27/00 NANCY L       46 E 3RD ST                                                                                      NEW CASTLE      DE    19720‐5006
JODLBAUER REVOCABLE TRUST
NANCY L JOHNSON                                2586 CAPTAINS AVE                                                                                PORT HUENEME    CA    93041
NANCY L JONES                                  30 TANNER RD                                                                                     GREENVILLE      SC    29607‐5915
NANCY L JONES & W EARL JONES JT TEN            30 TANNER ROAD                                                                                   GREENVILLE      SC    29607‐5915
NANCY L KERN                                   ATTN NANCY KERN FURBISH                2069 LAKE PARK DR SE APT B                                SMYRNA          GA    30080‐8929
NANCY L KIDDER                                 13001 PINE LAKE AVENUE                                                                           CEDAR SPRINGS   MI    49319‐9372
NANCY L KIFER                                  PO BOX 32                                                                                        FISHERTOWN      PA    15539‐0032
NANCY L KING                                   3348 MAYWOOD DR                                                                                  FLINT           MI    48504‐1813
NANCY L KIRBY & LINDA L KIRBY JT TEN           765 JOHN RINGLING BLVD                                                                           SARASOTA        FL    34236‐1545
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NANCY L KLUIS                                   PO BOX 572                                                                                       ONANCOCK          VA    23417‐0572
NANCY L KNIGHT TOD RICHARD L ARMELLA SUBJECT TO 9516 CHAUTAUQUA RD                                                                               FREDONIA          NY    14063
STA TOD RULES
NANCY L KRUBL & CHARLES D KRUBL JT TEN          5317 WOODLAND                                                                                    WESTERN SPRINGS   IL    60558‐1855

NANCY L KUSNIR                                    2810 RANDOLPH NW                                                                               WARREN            OH    44485‐2521
NANCY L KUYPER                                    5 HUDSON COVE                                                                                  LONGWOOD          FL    32750‐3829
NANCY L LANDRY                                    9610 FAIRWOOD CT                                                                               PORT ST LUCIE     FL    34986
NANCY L LANDRY CUST ANNA L LANDRY UTMA WI         131 S 3RD ST                                                                                   EVANSVILLE        WI    53536‐1256
NANCY L LARSON & RONALD S LARSON JT TEN           885 HOFFMAN PKWY                                                                               DES PLAINES       IL    60016
NANCY L LEACH TR NANCY L LEACH REVOCABLE LIVING   4717 NORTH 26TH ST                                                                             ARLINGTON         VA    22207‐2604
TRUST UA 07/14/99
NANCY L LENOX                                     29 E FRANKLIN ST                                                                               MORRISVILLE       PA    19067
NANCY L LESNIAK                                   601 S NEADE                           APT 6                                                    FLINT             MI    48503‐2282
NANCY L LEVY                                      49628 E 176 ST                                                                                 NORBORNE          MO    64668‐1163
NANCY L LITTLE                                    412 GRANTHAM AVE                      ST CATHARINES ON                       L2M 5A6 CANADA
NANCY L LUCIEN                                    #77                                   771 N MAIN ST                                            BISHOP         CA       93514‐2456
NANCY L MACKABEN                                  PO BOX 1013                                                                                    MORONGO VALLEY CA       92256‐1013

NANCY L MACPHERSON                          127 LAUREN LANE                                                                                      ATHENS            GA    30605‐6006
NANCY L MAGNUSON & WARREN C MAGNUSON JT TEN 1524 PINE RIDGE COURT                                                                                ELKHART           IN    46514‐6929

NANCY L MARIETTA                                  11911 LAKEFIELD RD                                                                             ST CHARLES        MI    48655‐9554
NANCY L MASTEN                                    13640 COVINGTON CREEK                 DRIVE                                                    JACKSONVILLE      FL    32224‐1184
NANCY L MATTHEWS                                  1120 GILCHRIST STREET                                                                          BRILLIANT         OH    43913‐1007
NANCY L MC ILROY & GARY L MC ILROY JT TEN         97 ASCOT                                                                                       WATERFORD         MI    48328‐3503
NANCY L MCGINNIS                                  108 EAST ST                                                                                    CHESTERTOWN       MD    21620‐2860
NANCY L MCKINNON                                  PO BOX 526                                                                                     CHOCTAW           OK    73020‐0526
NANCY L MELLON                                    17 1/2 CHESTER AVE                                                                             DANVILLE          IL    61832‐1540
NANCY L MERCADANTE                                2828 CONWAY WALLROSE RD                                                                        BADEN             PA    15005‐2306
NANCY L MILES                                     1034 NORDYKE ROAD                                                                              CINCINNATI        OH    45255‐4746
NANCY L MILLER                                    3600 JOSEPH CIRCLE                                                                             NORMAN            OK    73072
NANCY L MILLER                                    2301 E 72ND ST                                                                                 NEWAYGO           MI    49337‐9007
NANCY L MINOR                                     3322 KETTERING ROAD                                                                            SAGINAW           MI    48603‐2301
NANCY L MINSTER                                   2173 JONES BRIDGE RD                                                                           LEICESTER         NY    14481‐9742
NANCY L MISCH TR UA 06/02/05 NANCY L MISCH        32409 NEWCASTLE                                                                                WARREN            MI    48093‐6152
REVOCABLE LIVING TRUST
NANCY L MODES                                     2740 PROSPECT AVE                                                                              LA CRESCENTA      CA    91214
NANCY L MOLDOVAN                                  3189 WOODLAND TRL                     UNIT B                                                   CORTLAND          OH    44410‐9244
NANCY L MONTGOMERY                                6651 GROTON N W                                                                                CANTON            OH    44708
NANCY L NICHOLAS                                  146 CASTLETON DR                                                                               DARDSTOWN         KY    40004‐2530
NANCY L NOVITZKE                                  ATTN NANCY L MEAD                     1245 E KRAMER CIR                                        MESA              AZ    85203‐1944
NANCY L NOVITZKE CUST CHRISTOPHER M NOVITZKE      ATTN NANCY L MEAD                     1245 E KRAMER CIR                                        MESA              AZ    85203‐1944
UGMA WI
NANCY L O'CONNER                                  6544 E COSTILLA PL                                                                             CENTENNIAL        CO    80112‐1004
NANCY L PAGE                                      1545 ERIE STATION RD                  APT 141                                                  HENRIETTA         NY    14467‐8965
NANCY L PAUL                                      962 VINE STREET                                                                                ADRIAN            MI    49221‐3246
NANCY L PAYTON                                    414 WEST 5TH STREET                                                                            ALEXANDRIA        IN    46001‐2314
NANCY L PEARN                                     6400 VILLAGE PARK DR                  APT 101                                                  W BLOOMFIELD      MI    48322‐2158
NANCY L PENDLETON & GALE W PENDLETON JT TEN       835 GRAMSIE RD                                                                                 SHOREVIEW         MN    55126‐2903

NANCY L PETERS                                    309 WOODLAND AVE                                                                               MEDIA             PA    19063‐4018
NANCY L PHILIPPART                                1302 BRADBURY                                                                                  TROY              MI    48098‐6312
NANCY L POLLACK CUST KEVIN M POLLACK UTMA IL      13934 HARTSOOK ST                                                                              SHERMAN OAKS      CA    91423‐1210

NANCY L POPE                                      7 AUBURN KNOLL                                                                                 EAST HAMPTON      CT    06424
NANCY L POWELL CUST CORTNEY O POWELL UTMA CA      1015 33RD ST NW                       APT 411                                                  WASHINGTON        DC    20007‐3524
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NANCY L POWELL CUST ELIZABETH C POWELL UTMA CA 1015 33RD ST NW                        APT 411                                                  WASHINGTON         DC    20007‐3524

NANCY L RECKMAN                                3639 N MONROE AVE                                                                               KANSAS CITY        MO    64117‐2651
NANCY L REMLEY                                 10953 N 42ND ST                                                                                 HICKORY CRNRS      MI    49060‐9583
NANCY L RITCHEY                                6525 VISTA DE ORO                                                                               LAS CIRUCES        NM    88005‐4946
NANCY L ROBERTS                                16137 SILVERCREST DR                                                                            FENTON             MI    48430‐9154
NANCY L RUPRECHT                               15 SAINT ANDREWS                                                                                NORTH BEND         OH    45052‐9786
NANCY L RUPRECHT & EDWARD H RUPRECHT JT TEN    15 ST ANDREWS                                                                                   NORTH BEND         OH    45052‐9786

NANCY L SALVATORE                              8599 HEMLOCK RIDGE DR                                                                           KIRTLAND           OH    44094‐8643
NANCY L SCHIAVONE                              14 HONEYFLOWER DR                                                                               YARDVILLE          NJ    08620‐9688
NANCY L SCHNAUDT                               4037 STYGLER                                                                                    GAHANNA            OH    43230‐4859
NANCY L SCHULTE                                2 TOWLE AVE                                                                                     DOVER              NH    03820‐3928
NANCY L SCHUTZE                                9641 LAKEVIEW DR                                                                                PINCKNEY           MI    48169‐8714
NANCY L SEDLECKY                               6330 E 52ND ST                                                                                  NEWAYGO            MI    49337‐8564
NANCY L SHAPLEY                                PO BOX 202                                                                                      NEW MATAMORAS      OH    45767‐0202

NANCY L SHELL                                  1127 GYPSY LN W                                                                                 TOWSON             MD    21286‐1463
NANCY L SMITH                                  38014 W MEADOWHILL DR                                                                           NORTHVILLE         MI    48167‐8919
NANCY L SNYDER                                 1917 WOODBRIDGE CIRCLE                                                                          KOKOMO             IN    46902‐4545
NANCY L SOUTHERN                               2514 W MONTE AVE                                                                                MESA               AZ    85202‐6915
NANCY L SPANGLER                               1310 LEASURE DRIVE                                                                              FLINT              MI    48507‐4054
NANCY L SPRINGS                                6609 BYRON RD                                                                                   DURAND             MI    48429‐9454
NANCY L STANGE                                 12263 ROUNDWOOD ROAD UNIT 406                                                                   TIMONIUM           MD    21093
NANCY L STEBOR & EDWARD S STEBOR JT TEN        1142 NW SELBO RD                                                                                BREMERTON          WA    98311‐9037
NANCY L STEFFIC                                58869 EDGEWOOD DRIVE                                                                            THREE RIVERS       MI    49093‐9274
NANCY L STONEKING                              ATTN NANCY S LOSURE                    748 BUTLER RD                                            STARKVILLE         MS    39759‐8784
NANCY L TAKISH                                 3975 W THENDARA ST                                                                              GLADWIN            MI    48624
NANCY L TAYLOR                                 312 HEATHER HILL DR                                                                             GIBSONIA           PA    15044‐6020
NANCY L TAYLOR                                 PO BOX 5270                                                                                     VENTURA            CA    93005‐0270
NANCY L THOMA                                  14 HAVEN WAY                                                                                    KEYPORT            NJ    07735
NANCY L THOMPSON                               25910 WRIGHT RD                                                                                 STURGIS            MI    49091‐9679
NANCY L TILTON                                 6044 WOODPECKER CT                                                                              YPSILANTI          MI    48197‐6221
NANCY L UFFINDELL                              130 DORKING RD                                                                                  ROCHESTER          NY    14610‐2724
NANCY L ULRICH & ROGER W ULRICH JT TEN         35238 MORAVIAN DR                                                                               STERLING HTS       MI    48312‐4444
NANCY L UNTNEKER                               5441 LEGEND CT                                                                                  SAINT CHARLES      MO    63304‐5713
NANCY L VANCE                                  93 S MIDLAND                                                                                    PONTIAC            MI    48342‐2961
NANCY L VANOORT                                8660 MILLER HILL RD                                                                             AVERILL PARK       NY    12018‐2326
NANCY L VERSCHEURE                             254 E ST CLAIR                                                                                  ROMEO              MI    48065‐5261
NANCY L WEBSTER                                ATTN NANCY W KRIAL                     581 LAKE WARREN ROAD                                     UPPER BLACK EDDY   PA    18972‐9342

NANCY L WEIL                                   PO BOX 4486                                                                                     SILVER SPRINGS     MD    20914‐4486
NANCY L WEST                                   8405 HERON CIRCLE                                                                               DOLTEWAH           TN    37363‐9283
NANCY L WIENER                                 10 RIVERS EDGE DR                                                                               LITTLE SILVER      NJ    07739‐1707
NANCY L WILLIS                                 119 WEST F ST                                                                                   JOPLIN             MO    64801‐2405
NANCY L WOOD                                   116 HEACOCK LANE                                                                                WYNCOTE            PA    19095‐1517
NANCY L WOOD                                   7007 WINTER RIDGE LN                                                                            CASTLE ROCK        CO    80108
NANCY L WOODARD                                8 BRIGHTONDALE PARADE SE               CALGARY AB                             T2Z 4G7 CANADA
NANCY LA FAVE                                  3016 RAVEN GLASS RD                                                                             WATERFORD          MI    48329‐2678
NANCY LARRIVEE                                 351 FARMINGTON AVE                                                                              BRISTOL            CT    06010‐3901
NANCY LAURO                                    124 E 6 MILE CREEK RD                                                                           HENDERSON          MI    48841‐9506
NANCY LEA NAUMOFF & KARL ANTHONY NAUMOFF JT    PO BOX 82203                                                                                    COLUMBUS           OH    43202‐0203
TEN
NANCY LEE BOWKER                               120 DEL MAR DR                                                                                  SALINAS            CA    93901‐2201
NANCY LEE CHREST                               12019 BEXHILL DR                                                                                HOUSTON            TX    77065‐2613
NANCY LEE DECKER                               2219 LONGPORT DRIVE                                                                             MAUMEE             OH    43537‐1146
NANCY LEE ELLIS CUST SARAH ELLIS UGMA OH       304 S MANTON                                                                                    SAN ANTONIO        TX    78213‐2126
NANCY LEE FORDHAM                              16446 CAVENDISH                                                                                 HOUSTON            TX    77059‐4713
NANCY LEE GAINES                               1726 LILLIE ST                                                                                  FAIRMONT           WV    26554‐9260
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NANCY LEE GORDON DERRINGTON                    340 FERNWOOD DR                                                                               RUTHERFORDTON      NC    28139‐2162
NANCY LEE GREENE CUST SAMUEL LOREN GREENE      54 HAVEN STREET                                                                               DOVER              MA    02030‐2131
UTMA MA
NANCY LEE HICKS                                219 SAFFORD RD                                                                                ARGYLE             NY    12809‐3525
NANCY LEE HUDSON & MRS CAROLYN JOHNSON         50 HILLTOP DR                                                                                 WEST HARTFRD       CT    06107‐1433
HUDSON JT TEN
NANCY LEE MCLEOD                               3308 RISDALE ST                                                                               LANSING            MI    48911‐2674
NANCY LEE ONION                                3806 HILLBROOK DR                                                                             AUSTIN             TX    78731‐4044
NANCY LEE RABIDUE                              10264 WILLOWBROOK DRIVE                                                                       FLUSHING           MI    48433‐9235
NANCY LEE ROBARDS GLIHA                        314 E FAIRMONT DRIVE                                                                          TEMPE              AZ    85282‐3719
NANCY LEE SCHNITZKER                           1821 HILTON AVE                                                                               ASHLAND            KY    41101‐2810
NANCY LEE SMITH                                98 STEFFY RD                                                                                  MARION CENTER      PA    15759‐6600
NANCY LEE WEBER                                10 VILLA MARIA CT                                                                             NOVATO             CA    94947‐3920
NANCY LEE ZATH ANTONIOLI                       6 WHITETAIL DR                                                                                WHITEHALL          MT    59759‐9635
NANCY LEE ZIEMSKI                              31 CRANFORD LN                                                                                GROSSE POINTE      MI    48230‐1514
NANCY LEIGH ZAWADZKI                           8612 EAST LAKE RD                                                                             ERIE               PA    16511‐1622
NANCY LEVITZ SLACK                             #C                                   2520 JUNIPER DR                                          DELRAY BEACH       FL    33445‐5984
NANCY LEWIS BAITY                              815 YORKSHIRE RD                                                                              WINSTON‐SALEM      NC    27106‐5519
NANCY LEWIS LATT                               631 N HARRISON AVE                                                                            KIRKWOOD           MO    63122‐2709
NANCY LIEBERSON                                C/O B SLOAN                          BOX 2005                                                 VENTNOR CITY       NJ    08406‐0005
NANCY LIGHTEN                                  18572 FITZPATRICK CT                 #1                                                       DETROIT            MI    48228‐1411
NANCY LIMP CUST KRISTIN LIMP UGMA MI           50 OAK CREST LN                                                                               DALLAS             GA    30132‐1006
NANCY LINDAMOOD                                3409 LINDEN ST                                                                                PARKERSBURG        WV    26104‐1607
NANCY LINDSEY                                  10084 WEST LAKE DRIVE                                                                         LITTLETON          CO    80127‐2564
NANCY LINK KRAUS                               272 ZIMMERMAN BLVD                                                                            KENMORE            NY    14223‐1022
NANCY LISA LURIE                               1062 WEBSTER ST                                                                               NEEDHAM            MA    02492‐3219
NANCY LONG CUST SUZANNE LONG UGMA NY           7 RAYMOND COURT                                                                               SEA CLIFF          NY    11579‐2027
NANCY LOU SLAYTON                              17 1/2 CHESTER AVE                                                                            DANVILLE           IL    61832‐1540
NANCY LOU TROMBI                               BOX 7713                                                                                      NEWPORT BEACH      CA    92658‐7713
NANCY LOUISE BUCKLEY CUST SAMUEL BARRETT       50 VERNON RD                                                                                  SCITUATE           MA    02066‐3623
BUCKLEY UTMA MA
NANCY LOUISE HAYES                             12216 JUNIPER ST                                                                              OVERLAND PARK      KS    66209
NANCY LOUISE HOLFELDER                         ATTN NANCY MCKELVEY                  180 FONDA RD                                             ROCKVILLE CENTRE   NY    11570‐2709

NANCY LOUISE KASTOR TR KASTOR FAMILY TRUST UA PO BOX 806                                                                                     MEADVIEW           AZ    86444‐0806
8/10/01
NANCY LOWERY                                  7439 W INVERNESS LN                                                                            FRANKFORE          IL    60423‐9103
NANCY LU GOODWIN & RICHARD WILLIAM GOODWIN JT 13928 MARIANNA DR                                                                              ROCKVILLE          MD    20853‐2767
TEN
NANCY LUBESKI                                 1319 EDWARD ST                                                                                 LANSING            MI    48910‐1226
NANCY LUCKHURST                               204 MEADOWGATE TER                                                                             GAITHERBURG        MD    20877‐3775
NANCY LUSSE RHODY                             200 CHAPMAN DR                                                                                 FRANKFORT          KY    40601‐8597
NANCY LYNN BOROTA                             ATTN NANCY EGGERS                     5429 PRINCETON OAKS LANE                                 SUGAR HILL         GA    30518‐6357
NANCY LYNN CHRYSTAL                           20 E PADDOCK                                                                                   CRYSTAL LAKE       IL    60014‐6122
NANCY LYNN GIGER                              N 9902 RIDGE CREST DRIVE                                                                       SPOKANE            WA    99208‐9378
NANCY LYNN OBRIEN                             1550 DE BENEDETTI CT                                                                           BENICIA            CA    94510‐2631
NANCY LYNN VARGO                              8835 E PHEASANT TRL                                                                            WILMINGTON         IL    60481‐9209
NANCY LYNNE RIZZA                             22 ICE POND DR                                                                                 ROWLEY             MA    01969‐2337
NANCY M ADAMS                                 2618 LAKEVIEW RD                                                                               ONEKAMA            MI    49675‐9300
NANCY M AHO                                   P O BOX 87                                                                                     NILES              OH    44446
NANCY M ANDERSON                              147 RONALD DR                                                                                  POINT ROBERTS      WA    98281‐9529
NANCY M ARELLANO                              4563 W 200 N                                                                                   ANDERSON           IN    46011‐8788
NANCY M BARBER                                16390 NE 60TH ST                                                                               WILLISTON          FL    32696‐4974
NANCY M BARTLEY                               6905 NORMANCREST CT                                                                            DAYTON             OH    45459‐3130
NANCY M BENDIXSEN                             2232 TICE CREEK DRIVE                                                                          WALNUT CREEK       CA    94595
NANCY M BONTER                                514 WASHINGTON ST                                                                              SPENCERPORT        NY    14559‐9539
NANCY M BOSEL                                 117 POLKPLACE DR                                                                               FRANKLIN           TN    37064‐5736
NANCY M BOUCHE                                1012 BLUFF AVE                                                                                 KINGSFORD          MI    49802‐1222
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Name                                             Address1                                Address2               Address3        Address4          City                State Zip

NANCY M BOUNDS CUST COARD D BOUNDS UTMA MD       10445 MASON RD                                                                                   BERLIN              MD    21811‐2941

NANCY M BOUTS & CLARE J BOUTS JT TEN             522 CLINTON FRANKFORT                                                                            CLINTON             PA    15026‐1343
NANCY M BROADSTOCK                               5116 SILVERDOME ST                                                                               DAYTON              OH    45414‐3644
NANCY M BURNETT                                  1560 HEATHERTON RDNORTH EAST                                                                     DACULA              GA    30019‐6686
NANCY M CAMPAGNA                                 PO BOX 573                                                                                       LANCASTER           NY    14086
NANCY M CANNATA & JOSEPH S CANNATA JT TEN        33 JEFFERSON ROAD                                                                                WHITEFIELD          NH    03598‐1221
NANCY M CARR                                     3323 GERNADA DR                                                                                  CLIO                MI    48420‐1912
NANCY M CHEVALIER                                PO BX 665                                                                                        SHELTER ISLAND HT   NY    11965‐0665

NANCY M CHILDRESS CUST VINCENT WILLIAM           7556 STRAWBERRY RD                                                                               SUMMERFIELD         NC    27358‐9202
CHILDRESS UGMA VA
NANCY M CLATWORTHY & KRISTIN K MUELLER JT TEN    PO BOX 277                                                                                       YORKTOWN            IN    47396‐0277

NANCY M CLATWORTHY & NANCY K KRUEGER JT TEN      4910 STATE ROUTE 257 S                                                                           DELAWARE            OH    43015

NANCY M COOMBES                                  8760 DIVISION COURT                                                                              BYRON CENTER        MI    49315‐8812
NANCY M CRONIN CUST SAMUEL DAVID CRONIN UGMA     5911 TROPICAL DR                                                                                 FORT MYERS          FL    33919‐1730
MI
NANCY M CROWLEY & EUGENE T CROWLEY JT TEN        56 RIVERSIDE DR                                                                                  PALMYRA             VA    22963‐2024
NANCY M CUMMINS                                  PO BOX 2156                                                                                      MUNCIE              IN    47307‐0156
NANCY M CURTIS                                   240 RIVER RD                                                                                     BOWDOINHAM          ME    04008‐4612
NANCY M DAVISON                                  128 WEST END AVE                                                                                 BINGHAMTON          NY    13905‐3815
NANCY M DEBOLE & MICHAEL J DEBOLE JT TEN         215 NORTH AVE                                                                                    ROCHESTER           NY    14626‐1050
NANCY M DECKER & CHRISTOPHER D DECKER JT TEN     11‐15 PENN ST                           PO BOX 877                                               UNIONTOWN           PA    15401‐0877

NANCY M DELESZEK                                  39734 WALES                                                                                     CANTON              MI    48188‐1572
NANCY M DENHAM                                    24054 DEEP BRANCH RD                                                                            GEORGETOWN          DE    19947‐6507
NANCY M DIANICH                                   ATTN NANCY DIANICH STIEBER             2416 HAMMOND PL                                          WILMINGTON          DE    19808‐4209
NANCY M DICKALL                                   PO BOX 6                                                                                        THOMPSONS STN       TN    37179‐0006
NANCY M DORAN                                     812 DEL SHER DR                                                                                 BRIGHTON            MI    48114‐8746
NANCY M E MC GUIRE                                RR#1 132 DOBBS ROAD                    SUNDRIDGE ON                           P0A 1Z0 CANADA
NANCY M ECKEL                                     9 SHEPARD RD APT U‐9                                                                            NORFOLK             CT    06058‐1188
NANCY M ERMER                                     1321 CHAPEL HILL DR                                                                             BALTIMORE           MD    21237‐1805
NANCY M FERGUSON                                  140 NE 19TH CT APT E219                                                                         WILTON MANORS       FL    33305‐1077
NANCY M FERGUSON & LINDA F MOORE JT TEN           6623 NW 42ND AVE                                                                                COCONUT CREEK       FL    33073‐2021
NANCY M FRIDAY                                    45 YOLANDA DR                                                                                   ROCHESTER           NY    14624‐3923
NANCY M FRITTS TR NANCY M FRITTS TRUST UA 4/18/96 1348 TURVEY RD                                                                                  DOWNERS GROVE       IL    60515‐4548

NANCY M GAGNIER                                  3327 MIAMI AVE                                                                                   KALAMAZOO           MI    49048‐1254
NANCY M GALLAGHER                                ATTN NANCY GALLAGHER RENS               4848 CANAL                                               DIMONDALE           MI    48821‐9606
NANCY M GEOCA & PETER GEOCA JT TEN               341 LENORA LN                                                                                    WEBSTER             NY    14580
NANCY M GIUNTA                                   34 BRYON ROAD                           APT 4                                                    CHESTNUT HILL       MA    02467‐3337
NANCY M GOMBAS                                   115 VOGEL PLACE                                                                                  MIDDLESEX           NJ    08846‐1659
NANCY M GROCHOCKI                                4271 MONTGOMERY DR                                                                               SHELBY TOWNSHIP     MI    48316‐3917

NANCY M HARRIS & JOYCE A MUDEL JT TEN            7930 WEST ROYAL                                                                                  CANADIAN LAKES      MI    49346‐8923
NANCY M HAYES                                    C/O J HAYES‐THOMPSON PWRATTNY           3092 BROADMOOR DRIVE                                     CENTER VALLEY       PA    18034
NANCY M HICKMAN                                  3340 MENOMINEE                                                                                   BURTON              MI    48529
NANCY M HICKMAN & OLA M GULLEY JT TEN            3340 MENOMINEE                                                                                   BURTON              MI    48529
NANCY M HUGGINS                                  ATTN NANCY H REIGHTER                   17685 E PROGRESS DR                                      AURORA              CO    80015‐2422
NANCY M JACKSON & PATRICK JACKSON JT TEN         5 MADOC TRAIL                                                                                    OAK RIDGE           NJ    07438‐9313
NANCY M KARAS                                    3841 W CHERRY                                                                                    VISALIA             CA    93277‐5803
NANCY M KASKEY                                   6251 BLACKSTONE                                                                                  LA GRANGE           IL    60525‐3813
NANCY M KORNEGAY & GARY D KORNEGAY JT TEN        1155 WINTERGREEN COVE                                                                            CORDOVA             TN    38018‐8828
NANCY M KROEGER                                  14850 NEWCASTLE LANE                                                                             DAVIE               FL    33331‐3207
NANCY M LAHAN                                    ATTN NANCY L HENRY                      HENRY ROAD                                               ALBURG              VT    05440
NANCY M LAND                                     45520 PECK WADSWORTH                                                                             WELLINGTON          OH    44090‐9667
NANCY M LIAN                                     24 GROVER ST                                                                                     BEVERLY             MA    01915‐1516
                                          09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                           Address1                              Address2             Address3          Address4          City               State Zip

NANCY M LONARDO                                40 EDGEWATER DRIVE                                                                             POLAND             OH    44514‐1718
NANCY M LUNDBREG                               2513 CEDAR POINTE DR                                                                           JANESVILLE         WI    53546‐5398
NANCY M LYON CUST THOMAS D LYON UTMA MN        3962 DENMARK AVE                                                                               EAGAN              MN    55123‐1451
NANCY M MAKANEWICZ                             16847 PORTA MARINA                                                                             MACOMB             MI    48044‐2699
NANCY M MARTINHO                               129 W BOLIVAR AVENUE                                                                           MILWAUKEE          WI    53207‐4939
NANCY M MC GUIRE                               RR#1 132 DOBBS ROAD                   SUNDRIDGE ON                           P0A 1Z0 CANADA
NANCY M MC VICAR                               25 GREENWICH RD                                                                                BEDFORD            NY    10506‐1507
NANCY M NOBLE                                  906 LOCUST DRIVE                                                                               PEARLSBURG         VA    24134‐1306
NANCY M PAOLETTI                               1 STEVENS AVE                                                                                  NEW CASTLE         DE    19720‐4046
NANCY M PASQUALE                               75 FAIRVIEW AVE                                                                                NEW PROVIDENCE     NJ    07974‐1001

NANCY M PERRY                                  27526 VERSAILLES ST 524                                                                        ROMULUS            MI    48174‐9523
NANCY M PHILLIPS                               4524 S 23RD ST                        APT 6                                                    MILWAUKEE          WI    53221‐2736
NANCY M POMA                                   8959 RIDGE RD                                                                                  PLYMOUTH           MI    48170‐3213
NANCY M RAGSDALE                               125 BROWN RD                                                                                   HOWELL             NJ    07731‐2404
NANCY M REAVES                                 92 SNOWBERRY CRESCENT                                                                          ROCHESTER          NY    14606‐4658
NANCY M REIGHTER                               17685 E PROGRESS DR                                                                            AURORA             CO    80015‐2422
NANCY M RODA                                   2615 SOM CENTER ROAD                                                                           WILLOUGHBY HILLS   OH    44094‐9647

NANCY M RODEMERK                               2 BISHOP GATE DRIVE                                                                            ROCHESTER          NY    14624‐4302
NANCY M RUNELS                                 51814 SCHNOOR STREET                                                                           NEW BALTIMORE      MI    48047‐1173
NANCY M SAUERBERG & VANESSA SAUEBERG JT TEN    2134 BEAUFAIT                                                                                  GROSS POINTE       MI    48236‐1643
                                                                                                                                              WOODS
NANCY M SCOTT                                  143 BUSHY HILL RD                                                                              SEMSBURY           CT    06070‐2329
NANCY M SHAVER                                 111 CUMBERLAND CT                                                                              WYCKOFF            NJ    07481‐2001
NANCY M SMITH                                  10603 HONDO HILL                                                                               HOUSTON            TX    77064‐7105
NANCY M SOCHOR                                 N1781 LYNN ROAD                                                                                ADELL              WI    53001‐1153
NANCY M SUGIMOTO                               3843 NORTHDALE RD                                                                              BLOOMFIELD HILLS   MI    48304‐3131

NANCY M TEUTSCH                                38270 MAPLE FOREST EAST                                                                        HARRISON           MI    48045
                                                                                                                                              TOWNSHIP
NANCY M TIEGER                                 37 BERKLEY CIR                                                                                 SUFFERN            NY    10901‐4440
NANCY M TOENNIESSEN                            7786 CHESTNUT RIDGE RD                                                                         GASPORT            NY    14067‐9502
NANCY M TOPOROWSKI                             1145 OWEN ROAD                                                                                 SCHENECTADY        NY    12303‐4517
NANCY M TRHLIK                                 12 RUDDY TURNSTONE RD                                                                          HILTON HEAD        SC    29928‐5704
                                                                                                                                              ISLAND
NANCY M TUCHOLSKI                            597 IRONWOOD                                                                                     CHANDLER           AZ    85224‐3215
NANCY M UHAZIE & MICHAEL D UHAZIE JT TEN     2710 HIGHWINDS                                                                                   OAKLAND            MI    48363‐2342
NANCY M UTTER                                29428 34TH AVE S                                                                                 AUBURN             WA    98001‐2501
NANCY M VIGILANTE & MICHELLE PLAZZA JT TEN   4000 CHARLES                                                                                     DEARBORN           MI    48126
NANCY M WAGNER                               6354 OAK HILL DR                                                                                 W FARMINGTON       OH    44491‐8705
NANCY M WALTON                               41 PLAINFIELD AVENUE                                                                             METUCHEN           NJ    08840‐1367
NANCY M WERGIN                               2 CREEKSIDE DR                                                                                   CHURCHVILLE        NY    14428‐8902
NANCY M WIEGAND                              6490 KING ROAD                                                                                   BRIDGEPORT         MI    48722‐9612
NANCY M WILDER                               6900 E INDIAN WOOD CT                                                                            PORT ORCHARD       WA    98366‐8422
NANCY M YORK                                 222 GARNETT ROAD                                                                                 JOPPATOWNE         MD    21085‐4629
NANCY M YUMKAS CUST JACOB MAX YUMKAS UTMA CA 3819 ALGONAUT DR                                                                                 CALABASAS          CA    91302‐5807

NANCY MAE JOHNSON TR UA 03/25/1991 NANCY MAE   1216 SOUTH STATE ST                                                                            BELVIDERE          IL    61008‐5357
JOHNSON TRUST
NANCY MALAHOSKY                                799 E HIGH ST                         APT 4                                                    LOCKPORT           NY    14094‐4728
NANCY MALLORY                                  2159 SPRINGHILL                                                                                INKSTER            MI    48141‐1617
NANCY MALONEY                                  1887 WOODLAWN AVE                                                                              POLAND             OH    44514‐1377
NANCY MANTYNBAND                               390 HAZEL AVE                                                                                  HIGHLAND PARK      IL    60035‐3313
NANCY MARGARET ORR                             455 37TH ST                                                                                    BROOKLYN           NY    11232‐2509
NANCY MARGOLIS                                 115 CENTRAL PARK WEST                 APT 3CE                                                  NEW YORK           NY    10023‐4153
NANCY MARIE BARZEN                             5534 SW HANFORD ST                                                                             SEATTLE            WA    98116‐3115
NANCY MARIE BONNIWELL                          W 285 N 3198 LAKESIDE ROAD                                                                     PEWAUKEE           WI    53072‐3333
NANCY MARIE BRENN                              5676 OCEAN VIEW DR                                                                             OAKLAND            CA    94618‐1533
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Name                                             Address1                               Address2                     Address3   Address4          City              State Zip

NANCY MARIE HUMMER                               29678 CHATHAM WAY                                                                                PERRYSBURG        OH    43551‐3405
NANCY MARIE NEAL                                 5533 CRESTHAVEN LANE 1C                                                                          TOLEDO            OH    43614
NANCY MARIE PALMER                               904 VIRGILINA AVE                                                                                NORFOLK           VA    23503‐1912
NANCY MARIE PIWINSKI                             7 INVERNESS LN                                                                                   CLIFTON PARK      NY    12065‐1220
NANCY MARIE TOOMEY CUST DAVID JOHN TOOMEY        5028 BAFFIN BAY LANE                                                                             ROCKVILLE         MD    20853‐2205
UGMA MD
NANCY MARIE TOOMEY CUST MICHAEL PATRICK          5028 BAFFIN BAY LANE                                                                             ROCKVILLE         MD    20853‐2205
TOOMEY UGMA MD
NANCY MARSAW                                     4434 PINE CREEK DRIVE                                                                            BURTON            MI    48519‐1200
NANCY MARSCHEAN                                  PO BOX 246                                                                                       CUTCHOGUE         NY    11935‐0246
NANCY MARSH BRITT                                180 BRITT LANE                                                                                   HOT SPRINGS       AR    71913‐7026
NANCY MARTELL SCHMIDT                            421 ROSEMEADE LN                                                                                 NAPLES            FL    34105‐7155
NANCY MARTIN                                     ATTN RENEE MARTIN                      14517 S RICHMOND AVE APT 3                                POSEN             IL    60469‐1128
NANCY MASTER & LAWRENCE MASTER & MARY ANNE       11013 MISSION LAKES AVE                                                                          LAS VEGAS         NV    89134‐5536
COX JT TEN
NANCY MAUGHAN BURRIS                             100 HIGHWAY 89 S                                                                                 MAYFLOWER        AR     72106‐9785
NANCY MAXWELL                                    3113 GLADIOLA DR                                                                                 COLORADO SPRINGS CO     80907‐5706

NANCY MAY WHITCOMB                               4875 ALBERSON CT                                                                                 SAN DIEGO         CA    92130‐2701
NANCY MAYES                                      116 ARBOR WAY                                                                                    BRANCHBURG        NJ    08876‐6108
NANCY MC COLLUM                                  1427 SOUTH CAROLINA SE                                                                           WASHINGTON        DC    20003‐2329
NANCY MCDONALD CUST JILL P MCDONALD UTMA NJ      13 LAKESIDE DR N                                                                                 PISCATAWAY        NJ    08854

NANCY MCELRATH & KATHLEEN FISHER & RAYMOND       6947 CARPENTER RD                                                                                HARRIOSN          MI    48625‐8937
RAMIREZ JT TEN
NANCY MCKINNEY                                   18998 RESEVOIR ROAD                                                                              SAGGERTOWN        PA    16433‐4548
NANCY MCNAMEE & RALPH MCNAMEE TR MCNAMEE         PO BOX 2854                                                                                      GRANITE BAY       CA    95746‐2854
TRUST UA 10/21/00
NANCY MCNULTY                                    328 NORTH WEST 40TH TERRACE                                                                      DEERFIELD BEACH   FL    33442‐7339
NANCY MEAD SORENSEN CROFT CUST GLENNY MEAD       34 CLAY ST                                                                                       FAIR HAVEN        NJ    07704‐3339
CROFT UTMA NJ
NANCY MEEGAN                                     2206 CAMPUS DRIVE                                                                                ST CHARLES        MO    63301‐1052
NANCY MENDENHALL                                 1907 YANKOVICH RD                                                                                FAIRBANKS         AK    99709‐6540
NANCY MEYER CUST BRETT R MEYER UTMA MN           117 CELESTINE CIRCLE                                                                             MANKATO           MN    56001‐5575
NANCY MILLER                                     83 TIOGA AVE                                                                                     MIDDLETON         PA    17057‐4935
NANCY MILLER                                     PO BOX 3256                                                                                      ELIZABETH         NJ    07207‐3256
NANCY MILLER                                     34 TERESA RD                                                                                     HOPKINTON         MA    01748‐2419
NANCY MILLER                                     6415 SAINT AUGUSTINE DR NW                                                                       CANTON            OH    44718‐4056
NANCY MILLER BAKKER                              5951 S EUDORA WAY                                                                                LITTLETON         CO    80121‐3329
NANCY MOODY                                      1426 PALMER RD                                                                                   COLUMBIA          SC    29205‐1552
NANCY MOSER MAY CUST JASON KYLE MAY UGMA NC      1704 WOODLAND AVE                                                                                BURLINGTON        NC    27215‐3532

NANCY MOTICHKA                                   83 CLINTON AVE                                                                                   MIDDLETOWN        NJ    07748‐5315
NANCY MRAKOVICH                                  83 TIOGA AVENUE                                                                                  MIDDLETOWN        PA    17057‐4935
NANCY MUNSON                                     70 MOCKINGBIRD LN                                                                                N FOND DU LAC     WI    54937
NANCY N DAY & LAWRENCE M DAY JT TEN              292 SUDBURY RD                                                                                   PT PLEASANT       NJ    08742
NANCY N DE CAMP                                  1095 SPRING VALLEY RD                                                                            LONDON            OH    43140‐9554
NANCY N WILKINSON & MICHAEL J WILKINSON JT TEN   687 GRIFFITH RD                                                                                  WARRINGTON        PA    18976‐2030

NANCY NAGLE                                      20540 TR 5                                                                                       WEST LAFAYETTE    OH    43845
NANCY NALIAN                                     1409 WISCONSIN                                                                                   BERWYN            IL    60402
NANCY NAUGHTON MERTES                            78199 ELENBROOK CT                                                                               PALM DESERT       CA    92211‐2796
NANCY NIELSEN                                    844 N FOURTH AVE                                                                                 GENEVA            IL    60134‐1466
NANCY NOEL ARNDT                                 21712 SCHAFER RD                                                                                 MALTA             IL    60150‐8305
NANCY NORMAN LATIER                              1529 DENMAN AVE                                                                                  COSHOCTON         OH    43812‐2631
NANCY NORTON & NICHOLAS THOMAS NORTON JT TEN     153 LUNNS WAY                                                                                    PLYMOUTH          MA    02360‐2355

NANCY O GARRITY                                  4233 JACOB MEADOWS DR                                                                            OKEMOS            MI    48864‐3181
NANCY O HAITHCO & JAI S HAITHCO JT TEN           5007 DUXFORD DR SE                                                                               SMYRNA            GA    30082
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Name                                              Address1                               Address2               Address3        Address4          City               State Zip

NANCY O HAITHCO & SHARI‐LIN HAITHCO JT TEN        25978 FRANKLIN POINTE DR                                                                        SOUTHFIELD       MI      48034‐1538
NANCY O HAITHCO & WILLIAM H HAITHCO II JT TEN     29124 GLENCASTLE DR                                                                             FARMINGTON HILLS MI      48336‐1417

NANCY O'BRIEN COX                                 355 OAKWOODS RD                                                                                 WILKESBORO         NC    28697‐2910
NANCY OAKES LOVING                                1120 WILLOWBROOK TRAIL                                                                          MAITLAND           FL    32751‐4837
NANCY OATES CUST KYLE M COATES UTMA IN            975 HILLSDALE RD                                                                                EVANSVILLE         IN    47711
NANCY OGAN GIBSON                                 4525 SPELLBINDER CT                                                                             SACRAMENTO         CA    95826‐6509
NANCY ORSINO & MICHAEL ORSINO JT TEN              1414 83RD ST                                                                                    BROOKLYN           NY    11228‐3110
NANCY OSBORNE                                     6395 AMANDA LN #167                                                                             RAVENNA            OH    44266‐9649
NANCY OSHIP                                       1431 DOEBLER DR                                                                                 N TONAWANDA        NY    14120‐2207
NANCY OSKOW SCHOENBROD CUST JONAH OSKOW           102 WYCKOFF ST #3L                                                                              BROOKLYN           NY    11201
SCHOENBROD UGMA NY
NANCY OSMERS WYSOCKI CUST PETER K WYSOCKI         18 OWATONNA ST                                                                                  HAWORTH            NJ    07641‐1811
UTMA NJ
NANCY OWENS                                       693 HAMLIN PARMA TOWNLINE RD                                                                    HILTON             NY    14468‐9139
NANCY P ALLEN                                     1215 BELVO RD                                                                                   MIAMISBURG         OH    45342‐3403
NANCY P ALLEN                                     1215 BELVO RD                                                                                   MIAMISBURG         OH    45342‐3403
NANCY P CARDY CUST ANDREW M CARDY U G M A         209 CROOKED COURT                                                                               JACKSONVILLE       FL    32259‐4498
PENNA
NANCY P CARDY CUST ELIZABETH A CARDY UGMA MI      209 CROOKED COURT                                                                               JACKSONVILLE       FL    32259‐4498

NANCY P CROWLEY TR NANCY P CROWLEY REVOCABLE      439 NORTH RIVER ROAD UNIT 9                                                                     MILFORD            NH    03055‐4242
TRUST UA 5/03/99
NANCY P DOWNING                                   2046 HOMEWOOD AVE                                                                               ASHTABULA          OH    44004‐9730
NANCY P JONES                                     2405‐A WILLOW DRIVE                                                                             OCEAN              NJ    07712
NANCY P LAMONT                                    6151 FIELDCREST DR                                                                              FREDERICK          MD    21701‐5810
NANCY P LANE                                      1741 HOPE RD                                                                                    CENTREVILLE        MD    21617‐1915
NANCY P NELSON                                    1244 AUSTIN HILL RD                                                                             FREWSBURG          NY    14738‐9752
NANCY P NOONAN                                    3553 HAMLET PLACE                                                                               CHEVY CHASE        MD    20815
NANCY P PETRUNIA                                  10192 CEDARWOOD DRIVE                                                                           UNION              KY    41091‐9211
NANCY P PURSLEY                                   144 BUCKHEAD DR                                                                                 IRMO               SC    29063‐9534
NANCY P ROBINSON                                  2205 HWY 98 W                                                                                   CARRABELLE         FL    32322‐2039
NANCY P RUSSELL                                   1204 ARUNDEL DRIVE                                                                              WILMINGTON         DE    19808‐2137
NANCY P SETTLEMYRE                                ATTN NANCY P LUMBERT/LA BELLE          5862 N BRINTON RD                                        LAKE               MI    48632‐9645
NANCY P TRAUGOTT                                  1301 N TAMIAMI TR 404                                                                           SARASOTA           FL    34236‐2423
NANCY PARKHURST                                   251 HAMILTON AVE                                                                                WATERTOWN          CT    06795‐2388
NANCY PARMETT CUST JUSTIN PARMETT UGMA NY         13 LAKERIDGE DR                                                                                 HUNTINGTON         NY    11743‐3962

NANCY PARRISH                                     51 DUNLOP AVE                                                                                   TONAWANDA          NY    14150‐7808
NANCY PASHLEY SMITH                               1345 OLD NORTH MAIN STREET                                                                      LACONIA            NH    03246‐2640
NANCY PATERSON & PHYLLIS PATERSON JT TEN          33254 TALL OAKS CT                                                                              FARMINGTON         MI    48336‐4548
NANCY PATRICIA O'ROURKE                           503 SKYLINE LAKES DR                                                                            RINGWOOD           NJ    07456‐1926
NANCY PATRICIA THOMPSON CUST BARBARA ANNE         4895 OLD POST CIRCLE                                                                            BOULDER            CO    80301‐3966
THOMPSON UGMA CO
NANCY PATRICIA THOMPSON CUST BRUCE W              4895 OLD POST CIRCLE                                                                            BOULDER            CO    80301‐3966
THOMPSON UGMA CO
NANCY PATTERSON SMITH CUST MICHAEL P SMITH JR     1663 GREEN RIDGE LN                                                                             ROCKY MOUNT        NC    27804‐7968
UGMA NC
NANCY PEASE                                       ATTN NANCY BRAMMER                     1913 RIVERVIEW DRIVE                                     DRUMORE            PA    17518
NANCY PHILLIPS DANVERS                            23701 MARINER DR #205                                                                           MONARCW BEACH      CA    92629‐4304

NANCY PHILPOTT                                    7300 E 69TH ST N                                                                                VALLEY CENTER      KS    67147‐8898
NANCY PLUMMER ROBERTSON                           6208 CASTLE HAVEN ROAD                                                                          CAMBRIDGE          MD    21613‐3335
NANCY POMISH GDN BRANDON SCOTT POMISH             6067 CHARLES DR                                                                                 W BLOOMFIELD       MI    48322‐4465
NANCY POMISH GDN EVAN STONE POMISH                6067 CHARLES DR                                                                                 W BLOOMFIELD       MI    48322‐4465
NANCY PRESTON                                     59 JEFFORDS RD                                                                                  RUSH               NY    14543‐9774
NANCY PRESTON LARKIN                              101 ELIZABETH DR                                                                                GLASGOW            KY    42141‐3415
NANCY PRUITT & KEVIN PRUITT JT TEN                28414 TIMOTHY                                                                                   CHESTERFIELD TWP   MI    48047‐4863
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Name                                           Address1                             Address2             Address3          Address4          City              State Zip

NANCY R ANDERSON                                 6 MINISINK DRIVE                                                                            MONTAGUE          NJ    07827
NANCY R ASKLUND                                  706 S ADAMS                                                                                 PHILO             IL    61864‐9747
NANCY R BERRY                                    4 HERRICK DR                                                                                SCOTIA            NY    12302‐5604
NANCY R BLAIR                                    135 MEADOW POINTE                                                                           FENTON            MI    48430‐1401
NANCY R BROWN                                    63 SOUTH SHIRLEY                                                                            PONTIAC           MI    48342‐2850
NANCY R CASABLANCA                               403 GRACE AVE                                                                               NORTHVALE         NJ    07647‐1511
NANCY R COLEY                                    125 RIVERSIDE AVE                                                                           WESTPORT          CT    06880‐4605
NANCY R CONKEY & KENNETH L CONKEY JT TEN         3446 SHAYTOWN RD                                                                            VERMONTVILLE      MI    49096‐9544
NANCY R CRANDALL                                 3844 BROWN RD                                                                               SAINT LOUIS       MO    63134‐3502
NANCY R DAILY                                    35133 FARRAGUT ST                                                                           WESTLAND          MI    48186‐5475
NANCY R DAVIDIAN TR NANY R DAVIDIAN FAMILY TRUST 2163 MONROE ST                                                                              RIVERSIDE         CA    92504‐5209
UA 07/06/05
NANCY R DICKERSON                                1030 WEST 39TH ST                                                                           ANDERSON          IN    46013‐4030
NANCY R EVERS                                    9541 N TWINKLING SHADOWS WAY                                                                TUCSON            AZ    85743‐5493
NANCY R FELDMAN                                  5205 S HAYSEED WAY                                                                          BOISE             ID    83716‐9018
NANCY R GRIM                                     PO BOX 916                                                                                  VAN BUREN         MO    63965‐0916
NANCY R HAMMOND                                  321 BARRINGTON CIRCLE                                                                       ALEXANDRIA        AL    36250‐5505
NANCY R HARWOOD                                  2697 GEARY STREET                                                                           MATLACHA          FL    33993‐9742
NANCY R HARWOOD TOD ANDREW M HARWOOD             2697 GEARY ST                                                                               MATLACHA          FL    33993‐9742
SUBJECT TO STA TOD RULES
NANCY R HARWOOD TOD DOUGLAS N HARWOOD            2697 GEARY ST                                                                               MATLACHA          FL    33993‐9742
SUBJECT TO STA TOD RULES
NANCY R HOWARD                                   6900 MERWIN CHASE RD                                                                        BROOKFIELD        OH    44403‐8715
NANCY R JAYCOX                                   25001 GOLDCREST DR                                                                          BONITA SPGS       FL    34134
NANCY R JOSEPH                                   10720 8TH AVE NE 1                                                                          SEATTLE           WA    98125‐7226
NANCY R KALUS                                    1226 BARBARA LANE                                                                           CHICAGO HEIGHTS   IL    60411‐2412

NANCY R KERR & DAVID L KERR JT TEN              389 BLACKSNAKE HOLLOW RD                                                                     ELIZABETHTON      TN    37643‐5540
NANCY R KRAEUTER                                34 MARION RD                                                                                 MARBLEHEAD        MA    01945‐1706
NANCY R KRUGER                                  1199 EAGLE RD                                                                                NEWTOWN           PA    18940
NANCY R LAGE                                    1809 BALLARD MILL LN                                                                         LOUISVILLE        KY    40207‐1711
NANCY R LEWIS                                   8641 ADAMS LN                                                                                LEXINGTON         KY    40515‐9306
NANCY R LOCKWOOD                                17703 LANDMARK COURT                                                                         LAKEVILLE         MN    55044‐5229
NANCY R MCKENZIE TR UA 10/13/92 NANCYR MCKENZIE 5011 CAIRE CIRCLE                                                                            SANTA BARBARA     CA    93111‐2709
TRUST
NANCY R MOORE                                   4456 COUNTY ROAD 25                                                                          DUNDEE            NY    14837‐9517
NANCY R MURRAY                                  BOX 251 LIBERTY ST                                                                           MEXICO            NY    13114‐0251
NANCY R PETERSON                                2220 MADISON ST                                                                              SHELTON           WA    98584‐2943
NANCY R SCHICK                                  2849 LACLEDE STATION RD                                                                      SAINT LOUIS       MO    63143‐2809
NANCY R SEARS                                   16910 BLACK WALNUT LN                                                                        EAST LANSING      MI    48823
NANCY R SMITH                                   29924 W TAYLOR ST                                                                            BUCKEYE           AZ    85396‐5002
NANCY R SPENCER                                 PO BOX 77174                                                                                 CORONA            CA    92877‐0105
NANCY R STAPLETON                               3626 WRENWOOD DR                                                                             MASON             OH    45040‐8776
NANCY R STIO                                    1442 GLENNIFER HILL RD                                                                       TOMS RIVER        NJ    08755‐0842
NANCY R STIPP                                   638 EAST HONEYWELL                                                                           HOOPESTON         IL    60942‐1411
NANCY R THERASSE                                1895 MELBOURNE                                                                               BIRMINGHAM        MI    48009‐1160
NANCY R TREACY                                  6503 65TH WAY                                                                                WEST PALM BCH     FL    33409‐7126
NANCY R TURNQUIST & LEE A TURNQUIST JT TEN      14013 SILENT WOODS DR                                                                        SHELBY TOWNSHIP   MI    48315‐4297

NANCY R TUYN                                   34695 RAMBLE HILLS DRIVE                                                                      FARMINGTON HILLS MI     48331‐4229

NANCY R VERBA & DONALD R VERBA JT TEN          8311 E 84TH PL                                                                                TULSA             OK    74133‐8071
NANCY R ZUELLIG                                19217 LUDLOW                                                                                  NORTHRIDGE        CA    91326‐2367
NANCY RAMAGE MC GAVIC                          5508 WAITS                                                                                    FORT WORTH        TX    76133‐2356
NANCY RAUTZEN                                  341 SHADYWOOD DR                                                                              DAYTON            OH    45415‐1241
NANCY REBUSTILLOS                              20 PROSPECT ST                                                                                BLOOMFIELD        NJ    07003‐3224
NANCY REECE                                    15 OXBOW RD                                                                                   LEXINGTON         MA    02421‐6613
NANCY REEVES                                   101 E WALNUT ST                      BOX 216                                                  SPRING VALLEY     OH    45370‐0216
NANCY RENZULLI                                 5 WILD OAKS RD                                                                                GOLDENS BRIDGE    NY    10526‐1102
                                                09-50026-mg              Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                              Address1                              Address2                    Address3   Address4          City           State Zip

NANCY RICHARDS                                    2205 GLENWOOD                                                                                  TRENTON        MI    48183‐2549
NANCY RICHARDSON                                  27 BRIDLE RD                                                                                   NEW MILFORD    CT    06776
NANCY RIEBAU                                      209 FOX RUN DRIVE                                                                              DUNLAP         TN    37327‐7707
NANCY RILEY WALTY                                 14225 LORA DRIVE #89                                                                           LOS GATOS      CA    95032‐1231
NANCY RITCHIE                                     3035 NATALLE ST                                                                                RENO           NV    89509‐3873
NANCY RIVETZ                                      9841 LASAINE AVE                                                                               NORTHRIDGE     CA    91325‐1821
NANCY ROBEN HYMER                                 17 HIGHLAND AVE                                                                                SOMERVILLE     MA    02143‐1915
NANCY ROBINSON                                    5747 BOYD RD                                                                                   GROVE CITY     OH    43123‐9761
NANCY ROGERS                                      BOX 9301                                                                                       WICHITA        KS    67277‐0301
NANCY ROSENBERG CUST DAVID MERTON ROSENBERG       104 JOHNSON AVE                                                                                HERKIMER       NY    13350‐1539
UGMA NY
NANCY ROSENBERG SUTHERLAND                        466 SAUNDERS AVE                                                                               AKRON          OH    44319‐2248
NANCY ROSENTHAL                                   3773 ALBIDALE DR                                                                               HUNTINGDON     PA    19006‐2815
                                                                                                                                                 VALLEY
NANCY RUTH MERIVIRTA                              3729 BOULDER DRIVE                                                                             TROY           MI    48084‐1151
NANCY RYDER                                       50 GREENWAY N                                                                                  FOREST HILLS   NY    11375‐6045
NANCY RYLANDS STARK                               2491 GRANITE LN                                                                                LINCOLN        CA    95648‐8208
NANCY S ADAMS                                     1625 HWY 126                                                                                   PRINCETON      KY    42445
NANCY S BAIN CUST ELEANOR H BAIN UGMA VA          PO BOX 202                                                                                     CROZET         VA    22932‐0202
NANCY S BAIN CUST LINDEN E BAIN UGMA VA           BOX 114                                                                                        CROZET         VA    22932‐0114
NANCY S BAIN CUST NANCY K BAIN UGMA VA            1457 CROZET AVE                                                                                CROZET         VA    22932‐2722
NANCY S BAIN CUST SARAH D BAIN UGMA VA            1459 CROZET AV                                                                                 CROZET         VA    22932
NANCY S BAIN CUST VIRGINIA K BAIN UGMA VA         325 SOUTHWICK AVE                                                                              CLAYTON        NC    27520‐6669
NANCY S BAREFOOT                                  206 SORREL DR                                                                                  WILMINGTON     DE    19803‐1933
NANCY S BERGAN                                    5033 WEST LAKE ROAD                                                                            AUBURN         NY    13021‐9763
NANCY S BESSETTE                                  530 PACIFIC AV                                                                                 LANSING        MI    48910‐3330
NANCY S BROWN CUST LINDSAY E BROWN                3557 IRIS STREET                                                                               WILMINGTON     NC    28409‐3297
NANCY S CARTER                                    1352 COUNTY ROAD 205                                                                           DURANGO        CO    81301‐8554
NANCY S CERNA                                     4095 MURRAY COMMON                                                                             FREMONT        CA    94538‐2135
NANCY S COLE                                      C/O CHARLES B SULLIVAN JR             129 COLONIAL HEIGHTS LANE                                WAYNESBORO     VA    22980‐6369
NANCY S CRIST                                     ATTN NANCY S DRAPLIN                  6279 SEVEN MILE ROAD                                     SOUTH LYON     MI    48178‐9651
NANCY S EPOCH                                     6712 SW SHERWOOD CT                                                                            TOPEKA         KS    66614‐4646
NANCY S FURNARI                                   1128 GLENWOOD DR                                                                               COLUMBIA       TN    38401‐6705
NANCY S GRIFFITHS                                 231 TAYLORSVILLE ROAD                                                                          YARDLEY        PA    19067‐1329
NANCY S GROSSMAN CUST JENNIFER R GROSSMAN         4 CARPENTER'S RUN                                                                              CINCINNATI     OH    45241‐3253
UTMA OH
NANCY S GROVE                                     5862 SOLEDAD ROAD                                                                              LA JOLLA       CA    92037‐7054
NANCY S HALL                                      4114 PARK AVE                                                                                  RICHMOND       VA    23221‐1122
NANCY S HALL                                      757 FLAT IRON RD                                                                               HARRINGTON     DE    19952‐3834
NANCY S HARRIGAN                                  5 CLARENDON RD                                                                                 ALBANY         NY    12203‐3003
NANCY S HEFFNER                                   1609 CARROLL ST                                                                                ROME           NY    13440‐2613
NANCY S HIRN TR NANCY S HIRN TRUST UA 3/15/05     902 N AUBURN WOODS DR                                                                          PALATINE       IL    60067‐8661

NANCY S HOCK                                      12820 FROG POND LANE                                                                           LOWELL         MI    49331
NANCY S JACOBS                                    2386 WESTVIEW DR                                                                               CORTLAND       OH    44410‐9469
NANCY S JONES                                     PO BOX 706                                                                                     ROCK HILL      SC    29731‐6706
NANCY S KEMPER TR UA 05/08/97 BY NANCY S KEMPER   1927 GRECOURT DR                                                                               TOLEDO         OH    43615‐3739

NANCY S KLUSKA                                   6058 CALLAWAY CIRCLE                                                                            AUSTINTOWN     OH    44515‐4100
NANCY S KOCSIS & DANIEL J KOCSIS JT TEN          50 MANDEVILLA LANE                                                                              CONCORD        NH    03301‐2414
NANCY S LABELLE                                  4022 CLEARWATER OAKS DR                                                                         JACKSONVILLE   FL    32223‐4046
NANCY S LEOPARD                                  4842 MERWIN                                                                                     LAPEER         MI    48446‐9766
NANCY S LOFTIN                                   1325 E SILVER THORN LOOP                                                                        HERNANDO       FL    34442‐2023
NANCY S MADDEN                                   PO BOX 989                                                                                      WASHINGTON     GA    30673‐0989
NANCY S MALLIA & GEORGE P MALLIA TR MALLIA TRUST 5095 ISLAND VIEW DRIVE                                                                          LINDON         MI    48451‐9031
UA 06/10/05
NANCY S MASON                                    6387 AUBURN                                                                                     DETROIT        MI    48228‐3910
NANCY S MIKLIK                                   1403 FOUNTAIN SPRINGS CI                                                                        DANVILLE       CA    94526‐5631
NANCY S NEILSON                                  28 DODGE FARM RD                                                                                WASHINGTON     CT    06794‐1211
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NANCY S NELSON & PAUL M NELSON JR JT TEN          2810 EASTWOOD DR                                                                                 SANDUSKY          OH    44870‐5663
NANCY S NEWCOMB                                   7 WEST 81ST STREET                                                                               NEW YORK          NY    10024‐6049
NANCY S OROURKE                                   32 PRICE DR                                                                                      TOPTON            PA    19562‐1607
NANCY S PATTERSON                                 1117 CHIPPING CT                                                                                 VIRGINIA BEACH    VA    23455‐6803
NANCY S PORTNEY & KEVAN B PORTNEY JT TEN          1612 KINGS CIR                                                                                   MAPLE GLEN        PA    19002‐3150
NANCY S RACER                                     C/O NANCY J BAREFOOT                    206 SORREL DR                                            WILMINGTON        DE    19803‐1933
NANCY S RIKKEN                                    156 EMERSON LN                                                                                   BERKELEY HTS      NJ    07922‐2454
NANCY S RITCH                                     6615 BUNKER HILL CIRCLE                                                                          CHARLOTTE         NC    28210‐4200
NANCY S RITZ                                      4600 HEWITT GIFFORD RD                                                                           WARREN            OH    44481‐9187
NANCY S ROBERTS                                   PO BOX 553                                                                                       SPRINGFIELD       GA    31329‐0553
NANCY S ROBINETTE                                 408 S ANDREWS                                                                                    WACO              TX    76706‐5708
NANCY S RUEDEMANN                                 958 NEWCASTLE CIR                                                                                LAKE MARY         FL    32746‐3370
NANCY S SAVOY CUST MEGAN SAVOY UTMA LA            434 S GUIDRY ST                                                                                  CHURCH POINT      LA    70525‐3612
NANCY S SAVOY CUST TIMOTHY SAVOY UTMA LA          434 S GUIDRY ST                                                                                  CHURCH POINT      LA    70525‐3612
NANCY S SCHNEIDER                                 4382 S RIDGE DR                                                                                  MASON             OH    45040‐4706
NANCY S SCHRAMM                                   559 MAPLE AVE APT 2                                                                              LISLE             IL    60532‐2491
NANCY S SEYFARTH CUST JAN L SEYFARTH UGMA OH      2807 BOND CIR                                                                                    NAPERVILLE        IL    60563‐8749

NANCY S SEYFARTH CUST KURT D SEYFARTH UGMA OH     1269 CHALLENGE RD                                                                                BATAVIA           IL    60510‐4551

NANCY S SEYFARTH CUST SCOTT R SEYFARTH UGMA OH 714 S PARK AVE                                                                                      HINSDALE          IL    60521‐4646

NANCY S SLAYMAN                                   4813 BELLINGHAM DR                                                                               INDIANAPOLIS      IN    46221‐3703
NANCY S STEWART                                   30055 CHEVIOT HILLS CT                                                                           FRANKLIN          MI    48025‐2312
NANCY S TAPLIN                                    20 BAYON DR                             APT 311                                                  SOUTH HADLEY      MA    01075‐3336
NANCY S TRENN                                     1528 WOODLYNNE BLVD                                                                              LINWOOD           NJ    08221‐2336
NANCY S TUSKEY CUST E MICHAEL TUSKEY JR UGMA VA   1 S WESTHAM PKWY                                                                                 HENRICO           VA    23229‐8535

NANCY S WALTERS                                3518 WESTMONT DRIVE                                                                                 AIKEN             SC    29801‐2971
NANCY S WEBER CUST ALLISON MARIE WEBER UTMA CA 3821 MADONNA DR                                                                                     FULLERTON         CA    92835‐1227

NANCY S WEBER CUST LAUREN E WEBER UTMA CA         3821 MADONNA DR                                                                                  FULLERTON         CA    92835‐1227
NANCY S WELCH & EDWARD T WELCH & KIMBERLY G       2834 HAYES RD                                                                                    HARRISON          MI    48625‐9052
CASE JT TEN
NANCY S WHITEFORD                                 12187 BUCHANAN TRAIL WEST                                                                        MERCERSBURG       PA    17236‐9702
NANCY S WILKENS                                   7403 REDWOOD DR                                                                                  HUBBARD           OH    44425‐8712
NANCY SAKER DREISBACH & GLEN ROY DREISBACH JT     15814 ASHTON                                                                                     DETROIT           MI    48223‐1306
TEN
NANCY SALISBURY                                   245 S BENT LOOP ROAD                                                                             POWELL BUTTE      OR    97753‐1822
NANCY SARA WEXTON                                 303 W 66TH ST                           APT 19CW                                                 NEW YORK          NY    10023‐6782
NANCY SAUDASKAS & JOHN SAUDASKAS JT TEN           4713 PINE RIDGE DR                                                                               COLUMBUS          IN    47201‐2540
NANCY SAUNDERS                                    ATT LLOYD W SAUNDERS                    1560 PHILOMENE                                           LINCOLN PARK      MI    48146‐2317
NANCY SAUTKULIS KUETHE                            2422 WIMBLEDON DR                                                                                ARLINGTON         TX    76017‐3730
NANCY SCHLEUSENER                                 1672 V RD                                                                                        PENDER            NE    68047‐4421
NANCY SCHMITT                                     PO BOX 266                              11900 E TUSCOLA RD                                       FRANKENMUTH       MI    48734‐9771
NANCY SCHUMACHER                                  16159 BAIRD CT                                                                                   SPRING LAKE       MI    49456‐2342
NANCY SCHWEITZER                                  6 BRITTANY CIR                                                                                   CROMWELL          CT    06416
NANCY SCOTT HEIM                                  1919 6 ST                                                                                        WHITE BEAR LAKE   MN    55110‐6839
NANCY SEDLAK                                      38702 N 27TH AVE                                                                                 PHOENIX           AZ    85086‐9195
NANCY SHAW                                        272 WEST 200 SOUTH                                                                               GREENFIELD        IN    46140‐9207
NANCY SHERYL SMITH                                ATTN NANCY SHERYL PIEPRZAK              44467 WRIGHT WAY                                         NOVI              MI    48375‐1549
NANCY SHULER                                      3819 GARDNER PARK DR                                                                             GASTONIA          NC    28054‐5991
NANCY SIMS                                        4657 WOODLAWN                                                                                    WICHITA FALLS     TX    76308‐3322
NANCY SINGER                                      704 WASHINGTON ST                       # 1A                                                     NEW YORK          NY    10014‐2316
NANCY SINGLETON                                   2317 WOODLAWN                                                                                    BOISE             ID    83702‐3850
NANCY SITARZ                                      122 WINCEY RD                                                                                    GREENWOOD         SC    29646‐4300
NANCY SNEAD HULL & JOEL M HULL JT TEN             113 LATESHA TERR                                                                                 PALATKA           FL    32177‐9428
NANCY SPANO                                       368 PITTSBURGH PIKE                                                                              RUFFS DALE        PA    15679‐1441
NANCY SPRINGER DUPONT                             143 MITCHELL ROAD                                                                                BENTON            PA    17814‐7780
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NANCY STABLER                                   10 ESPLANADE                                                                                  PACIFIC GROVE    CA    93950‐2115
NANCY STECK                                     2913 THISTLE COURT                                                                            HOLLAND          MI    49424
NANCY STEVENS                                   3200 PORT ROYALE DR NORTH            APT 503                                                  FT LAUDERDALE    FL    33308‐7803
NANCY STEVENSON                                 101 WASHINGTON LN #M‐430                                                                      JENKINTOWN       PA    19046‐3505
NANCY STRATZ                                    1908 SCOUT RD                                                                                 EATON RAPIDS     MI    48827‐9384
NANCY SUE BROWN                                 6211 N SEYMOUR RD                                                                             FLUSHING         MI    48433‐1034
NANCY SUE MINA                                  10 WANDERS DR                                                                                 HINGHAM          MA    02043
NANCY SUE MOORE                                 3981 VALLEY BROOK DR S                                                                        ENGLEWOOD        OH    45322‐3629
NANCY SUE PETRELLA CUST RUSSELL CONRAD PETRELLA 4612 MOORLAND AVE                                                                             MINNEAPOLIS      MN    55424‐1159
JR UTMA VA
NANCY SUE PETRELLA CUST TIMOTHY JOHN PETRELLA   4612 MOORLAND AVE                                                                             MINNEAPOLIS      MN    55424‐1159
UTMA VA
NANCY SUE STRATTON                              139 BLUFF VIEW DR                    APT 110                                                  BELLEAIR BLF     FL    33770‐1335
NANCY SUZANNE O'MALLEY EX EST MARQUISE G        3721 MERRIMAC TR                                                                              ANNANDALE        VA    22003‐1547
HIGGINS
NANCY SWEENEY                                   3275 ORCHARD WAY                                                                              WESTLAKE         OH    44145‐4586
NANCY T BRAUN                                   2000 SOUTH 74TH ST                                                                            WEST ALLIS       WI    53219‐1248
NANCY T FAIRCHILD TR UA 11/02/84 JAMES THORPE & 6895 FAIRWAY VISTA                                                                            HOWELL           MI    48843
BETHANY THORPE TRUST
NANCY T FARRELL                                 C/O NANCY DALESSIO                   4 CHAPEL GATE                                            GLEN HEAD        NY    11545‐2702
NANCY T FOX                                     293 NORTH RD NE                                                                               WARREN           OH    44483‐4503
NANCY T HEG & JOHN J HEG JT TEN                 726 CONNEMARA CT                                                                              VENICE           FL    34292‐2262
NANCY T HIGHTCHEW                               4705 BENNETT HOLLOW RD                                                                        THOMPSONS        TN    37179‐9223
                                                                                                                                              STATION
NANCY T HORNER                                 2673 CAMPBELLGATE DR                                                                           WATERFORD        MI    48329‐3121
NANCY T KOZIATEK & HENRY KOZIATEK JT TEN       29556 MULLANE DR                                                                               FARMINGTON HILLS MI    48334‐2055

NANCY T LEONELLO                              4132 BUCKEYE AVE                                                                                WILLOUGHBY       OH    44094‐6030
NANCY T WARREN                                2339 SUNSET CIRCLE                                                                              MT PLEASANT      IA    52641
NANCY TAPKE WESSEL                            7724 LEWINSVILLE RD                                                                             MC LEAN          VA    22102‐2502
NANCY TAVERNA CUST FRANK PETER TAVERNA UGMA 3060 LORING DR                                                                                    HUNTINGTOWN      MD    20639‐4203
NY
NANCY TAYLOR ERICSON                          4324 FLAMINGO WAY                                                                               MESQUITE         TX    75150‐2492
NANCY TEDERS                                  6000 COUNTY ROAD 13                                                                             CENTERBERG       OH    43011‐9636
NANCY TELLIER VAN DER VELDE                   193 WINDING RIVER RD                                                                            WELLESLEY        MA    02482‐7319
NANCY TESKE CARLSON                           324 RED BUD LANE                                                                                GREENCASTLE      IN    46135‐1424
NANCY THARPE MONTGOMERY                       150 LAURA LAKE RD                                                                               MARIETTA         GA    30066‐5125
NANCY THOMAS COLLINS                          1759 PATRICIA WAY                                                                               SALT LAKE CITY   UT    84116‐3025
NANCY THOMPSON TR UA 05/08/2001 NANCY         2 ROBIN RD                                                                                      WILDWOOD         FL    34785
THOMPSON TRUST
NANCY THORNTON REY                            182 BOX MOUNTAIN DR                                                                             VERNON           CT    06066‐6307
NANCY TILLEY LOBDELL                          100 MAUREEN DR                                                                                  TEWSKBURY        MA    01876‐3622
NANCY TRAUT D'HOOGE                           1974 S INGALLS COURT                                                                            LAKEWOOD         CO    80227‐2514
NANCY TRUEBLOOD HESTER                        1228 BROADWAY                                                                                   ANDERSON         IN    46012‐2531
NANCY TURNBOW                                 3423 E MAPLE AVENUE                                                                             BURTON           MI    48529‐1813
NANCY TURPEN CUST JILL JANKE UTMA NE          5727 S 216TH ST                                                                                 ELKHORN          NE    68022‐3227
NANCY TURPEN CUST LUKE JANKE UTMA NE          5726 S 216TH                                                                                    ELKHORN          NE    68022‐3228
NANCY TYLER PITTENGER                         19044 KENYA ST                                                                                  NORTHRIDGE       CA    91326‐2306
NANCY V FREEMAN                               691 NORTH RD                                                                                    SCOTTSVILLE      NY    14546‐1141
NANCY VALENTI & JOHN A VALENTI JT TEN         PO BOX 143                                                                                      OLCOTT           NY    14126‐0143
NANCY VAN HOOSE STEWART                       PO BOX 95                                                                                       BELCHER          LA    71004‐0095
NANCY VENA & SARA NAU JT TEN                  700 WOODS LANE APT 202                                                                          MONMOUTH JCT     NJ    08852
NANCY VON DOLTEREN & LAWRENCE VON DOLTEREN JT 4022 CLEARWATER OAKS DRIVE                                                                      JACKSONVILLE     FL    32223‐4046
TEN
NANCY VOORHEST                                54 HAVEN ST                                                                                     DOVER            MA    02030‐2131
NANCY W ATKINSON                              42 APPLEGATE LANE                                                                               FALMOUTH         ME    04105‐1744
NANCY W AVERA REVOCABLE TRUST UA 05/13/1996   PO BOX 2417                                                                                     PONTE VEDRA      FL    32004

NANCY W BRESNAHAN                              1125 RAVENSCROFT LN                                                                            ST AUGUSTINE     FL    32095‐7064
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Name                                             Address1                              Address2             Address3          Address4          City               State Zip

NANCY W CUSHING                                  PO BOX 2007                                                                                    OLYMPIC VALLEY     CA    96146‐2007
NANCY W FISCHER                                  6805 ALLOWAY ST E                                                                              WORTHINGTON        OH    43085‐2501
NANCY W FORESMAN                                 64 DOUGLAS LN                                                                                  MUNCY              PA    17756‐6108
NANCY W KRIAL                                    581 LAKE WARREN RD                                                                             UPPER BLACK EDDY   PA    18972‐9342

NANCY W MIZELL                                   510 SHERRY LANE                                                                                GADSDEN          AL      35903‐1426
NANCY W MONTS                                    126 N 7TH ST                                                                                   WEST TERRE HAUTE IN      47885‐1112

NANCY W MOSER                                    1050 VERNON RD                                                                                 GREENVILLE         PA    16125‐9287
NANCY W PERKINS                                  PO BOX 364                                                                                     OGUNQUIT           ME    03907‐0364
NANCY W PERSIN                                   1300 ST ANDREWS PL NE                                                                          WARREN             OH    44484‐6742
NANCY W SUTHERLAND                               2426 LAKE FRONT DR                                                                             LAKE WALES         FL    33898
NANCY W TAYLOR                                   520 VILLANOVA COURT                                                                            FORT COLLINS       CO    80525‐1512
NANCY W THOU                                     198 DONNA CT                                                                                   NILES              OH    44446‐2038
NANCY W VOLPI                                    146 CRYSTAL BROOK HOLLOW RD                                                                    PORT JEFFERSON     NY    11777‐1122
NANCY W WARVEL CUST AMANDA WARVEL UTMA OH        4288 LOTZ RD                                                                                   DAYTON             OH    45429‐1606

NANCY W WOODWARD                               905 N GUNNEL COURT                                                                               HERNDON            VA    20170
NANCY WEGIENEK CUST DENNIS CLARK WEGIENEK      983 WIMBLETON                                                                                    BIRMINGHAM         MI    48009‐7608
UGMA MI
NANCY WEIBEL WARVEL CUST SARA ELIZABETH WARVEL 4288 LOTZ RD                                                                                     DAYTON             OH    45429‐1606
UTMA OH
NANCY WELTY SPIEGEL                            4320 BROOKVIEW DRIVE                                                                             ATLANTA            GA    30339‐4607
NANCY WENIGER                                  5336 WRIGHT AVE                                                                                  BALTIMORE          MD    21205‐3243
NANCY WESTOVER KENT                            58 LAKE ST POB 576                                                                               WILSON             NY    14172‐9718
NANCY WHITLEY MARTIN                           73 AVENUE DES LILAS                     PAU                                    64000 FRANCE
NANCY WHITLOCK CUST KATELYNN P WHITLOCK UTMA 2511 LINDLEY OVERLOOK                                                                              ROCKVILLE          MD    20850‐3079
MD
NANCY WILLIS CLAYMAN                           528 KINGS GROVE DRIVE                                                                            VIRGINIA BEACH     VA    23452‐5751
NANCY WILSON CLARK                             4401 BELLEWOOD ST                                                                                PALM BEACH         FL    33410‐5846
                                                                                                                                                GARDENS
NANCY WINE WILLIAMS                              PO BOX 1977                                                                                    BLUE RIDGE         GA    30513‐0034
NANCY WION                                       5132 HASKET ROAD                                                                               WEST MILTON        OH    45383‐9601
NANCY WITHERSPOON                                68 MONTAGUE ST                                                                                 BROOKLYN           NY    11201‐3377
NANCY WONG & ELIZABETH WONG PELLEY JT TEN        1000 NW 167TH ST                                                                               SHORELINE          WA    98177‐3851
NANCY Y HARRIS                                   95 DUNN LN                                                                                     PENNSILLE          NJ    08070‐2432
NANCY Y LARSEN                                   5611 S COLE RD                                                                                 BOISE              ID    83709‐6406
NANCY YOUNG LYSLE                                33070 LAKE RD                                                                                  AVON LAKE          OH    44012‐1350
NANCY ZANATIAN                                   100 CRESTWOOD CT                      APT 217                                                  NIAGARA FALLS      NY    14304‐4696
NANCY ZEILER HALL                                6 COTTONCLOUD                                                                                  IRVINE             CA    92614‐5408
NANCY ZIELONKA CUST ADAM ZIELONKA UGMA IL        1068 CAMBRIDGE DRIVE                                                                           GRAYSLAKE          IL    60030‐3458
NANCY ZINOLLI                                    80 WHITE OAK LANE                                                                              WOLCOTT            CT    06716
NANCY ZORNIGER                                   1620 BROWN ST                                                                                  DAYTON             OH    45409‐2529
NANCY ZWEIER CUST ROBERT W ZWEIER UGMA OH        3112 FOXRIDGE ROAD                                                                             CHARLOTTE          NC    28226‐7383

NAND K RELAN & SHASHI RELAN JT TEN               PO BOX 15                                                                                      EAST SETAUKET      NY    11733‐0015
NANETTA JONES                                    105 GENERAL DR                                                                                 CHARLESTON         WV    25306‐6568
NANETTA JONES TOD ROSEANNA JONES BELL SUBJECT    105 GENERAL DR                                                                                 CHARLESTON         WV    25306
TO STA TOD RULES
NANETTE A WALKER                                 1792 W 136TH ST                                                                                GRANT            MI      49327‐9038
NANETTE B VEREEN                                 WESTLEY PALMS E36                     2404 LOVING ST                                           SAN DIEGO        CA      92109‐2347
NANETTE C VAN EGMOND & KARIN A LENNON JT TEN     739 ANITA AVE                                                                                  GROSSE PTE WOODS MI      48236‐1414

NANETTE DUSZKA                                   9951 MISSION                                                                                   PALOS PARK         IL    60464‐2553
NANETTE FASOLINO KALIVAS CUST JOHN ANTHONY       317 RIDGEVIEW DR                                                                               RICHARDSON         TX    75080‐1911
KALIVAS UGMA TX
NANETTE FASOLINO KALIVAS CUST NICHOLAS WILLIAM   317 RIDGEVIEW DR                                                                               RICHARDSON         TX    75080‐1911
KALIVAS UGMA TX
NANETTE G AMBERG                                 85 PORTLAND RD                                                                                 HIGHLANDS          NJ    07732‐1955
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Name                                            Address1                             Address2             Address3          Address4          City             State Zip

NANETTE HABERMAN                                8 MANSFIELD RD                                                                                TRENTON          NJ    08628‐1905
NANETTE J MORREY                                131 MARTIN PL                                                                                 PEARL RIVER      NY    10965‐2521
NANETTE J NEUZOF                                4115 44TH ST APT 3G                                                                           SUNNYSIDE        NY    11104
NANETTE L EVEREST                               1711 RANDEL ROAD                                                                              OKLAHOMA CITY    OK    73116‐5629
NANETTE L OVERBERG                              1860 NORTH VERNON                                                                             DEARBORN         MI    48128‐2505
NANETTE L SEACRIST                              421 REDBUD DR                                                                                 WASHINGTON       IL    61571‐1638
NANETTE LYLELLEN CUOMO                          36 GRACE PARK DR                                                                              COMMACK          NY    11725‐3824
NANETTE M BUSWELL                               757 N PLEASANT VALLEY RD                                                                      MILFORD          MI    48380‐1235
NANETTE M MILLER CUST CHRISTOPHER M MILLER      2058 VALLEYVIEW DR                                                                            ANNARBOR         MI    48105‐9588
UGMA MI
NANETTE M PETERSON                              270 DORNOCH ST                                                                                CORTLAND         OH    44410‐8731
NANETTE M QUATTRIN & MARK QUATTRIN JT TEN       29948 MAGNOLIA                                                                                FLAT ROCK        MI    48134‐2727
NANETTE M WINTER                                103 HARDISON CT                                                                               COLUMBIA         TN    38401‐5532
NANETTE MACFARLANE                              APT B                                31 POUND ST                                              LOCKPORT         NY    14094‐3115
NANETTE MARTIN BUSWELL CUST TREVOR E BUSWELL    757 N PLEASANT VALLEY RD                                                                      MILFORD          MI    48380‐1235
UGMA MI
NANETTE NELSON CUST DEVIN NELSON UTMA CA        2142 PINE AVE                                                                                 LONG BEACH       CA    90806‐4718
NANETTE O'CONNOR                                3331 VALLEY PARKWAY                                                                           NORTH ROYALTON   OH    44133‐5301

NANETTE PORTER                                 BOX 162                                                                                        KENNARD          IN    47351‐0162
NANETTE RIEMER HENSEL                          32047 N SKYLINE DR                                                                             QUEEN CREEK      AZ    85243‐5837
NANETTE S BANKS                                1959 REDWOOD DRIVE                                                                             DEFIANCE         OH    43512‐3475
NANETTE S KALLMAYER                            402 E ELIOT                                                                                    URBANA           IL    61801‐6726
NANETTE S SNYDER                               623 FOURTH AVE                                                                                 BETHLEHEM        PA    18018‐5558
NANETTE SAUNDERS                               958 WILMINGTON AVE                    APT 301                                                  DAYTON           OH    45420
NANETTE SPADA LEE                              13435 MCCALL RD 211                                                                            PT CHARLOTTE     FL    33981‐6422
NANINE E DIGIOVANNI CUST NICHOLAS DIGIOVANNI   179 PRAIRE ST                                                                                  CONCORD          MA    01742‐2925
UTMA MA
NANN K GOPLERUD                                1540 BAMBURGH DR                                                                               PLANO            TX    75075‐2729
NANNA MACCARONI                                12286 PAGLES DR                                                                                GRAND BLAC       MI    48439‐2425
NANNETTE MARIE ROSE                            3948 VINE STREET                      APT 1                                                    CINCINNATI       OH    45217‐1965
NANNETTE N NEHAY                               19 ALCONBURY                                                                                   NOVATO           CA    94949
NANNIE COOK                                    11909 SHADELAND AVE                                                                            CLEVELAND        OH    44108‐1551
NANNIE MAE CARROW                              1776 CROSS BRONX EXPWY                                                                         BRONX            NY    10472‐1809
NANNIE MAE EACHUS                              BOX 64                                                                                         ROCKWOOD         TN    37854‐0064
NANNIE R MOSLEY                                13183 KINCANNON RD                                                                             GLAD SPRING      VA    24340‐4809
NANNIE RUTH WHITE & HUGH A WHITE JR JT TEN     PO BOX 403                                                                                     STUART           VA    24171‐0403
NANNIE S DAVIS                                 809 WESTWOOD DR                                                                                ORMOND BEACH     FL    32174
NANNIE S HAWK                                  7324 COPPERSIDE LN                                                                             DAYTON           OH    45415‐1260
NANNIE T PASCAL                                1165 W DIVISION ST                                                                             MOUNT JULIET     TN    37122‐3219
NANNIE W RAKES                                 3898 LONGVIEW DR                                                                               COLLINSVILLE     VA    24078‐2831
NANON A WEIDMANN                               806 PARTRIDGE CIRCLE                                                                           GOLDEN           CO    80403‐1544
NANSIE LOU FOLLEN                              PO BOX 229                                                                                     BRIDGEPORT       OH    43912‐0229
NAOMA HETRICK                                  11508 PINEHURST DR                                                                             LAKESIDE         CA    92040‐1313
NAOMA L WALTON                                 115 COUNTY FAIR                                                                                HOUSTON          TX    77060‐4203
NAOMI A AYOTTE & NORMAND A AYOTTE JT TEN       150 CEDAR SWAMP RD                                                                             HAMPTON          CT    06247‐1301
NAOMI A MURRELL                                411 HOLLY HALL CV                                                                              CORDOVA          TN    38018
NAOMI B SOBOCINSKI                             185 RIDGEWAY RD                                                                                HILLSBOROUGH     CA    94010
NAOMI BARNES                                   C/O NAOMI FOLEY                       1410 ALTON AVE                                           PITTSBURGH       PA    15216‐3702
NAOMI BERSON TR NAOMI BERSON TRUST UA 04/17/96 2600 S FINLEY RD                      APT 3114                                                 LOMBARD          IL    60148‐7010

NAOMI BLACKSON                                  81 E HOCKING ST                                                                               CANAL WNCHSTR    OH    43110
NAOMI BULLION                                   165 BULLION RD                                                                                SPRINGTOWN       TX    76082‐4821
NAOMI C SMUZESKI                                6117 N VASSAR RD                                                                              FLINT            MI    48506‐1237
NAOMI CHAIT                                     C/O BIBERFELD                        4824‐11TH AVE                                            BROOKLYN         NY    11219‐2931
NAOMI COOPER TR FAMILY TRUST 10/19/89 U‐A NAOMI 36027 HALEY ST                                                                                NEWARK           CA    94560‐1641
COOPER
NAOMI CRAIG & CAROL L CRAIG JT TEN              632 ROXBURY RD                                                                                ROCKFORD         IL    61107‐5089
NAOMI CUMMINS                                   7404 BROOKVILLE RD                                                                            CHEVY CHASE      MD    20815‐4056
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Name                                              Address1                                Address2             Address3          Address4          City               State Zip

NAOMI D KING                                      5509 CARRUTHERS ST NE                                                                            ALBUQUERQUE        NM    87111‐1804
NAOMI D KRULL                                     7766 BRAMS HILL DR                                                                               DAYTON             OH    45459‐4102
NAOMI D ROBERTSON                                 724 FOREST AVE                                                                                   RUMFORD            ME    04276‐2410
NAOMI D SMITH                                     7582 PEGOTTY DR NE                                                                               WARREN             OH    44484‐1428
NAOMI E COMBS                                     7857 SWEET POTATO RIDGE                                                                          BROOKVILLE         OH    45309‐9221
NAOMI E HANASHIRO TOD FAITH S HALL SUBJECT TO     224 MARSHALL AVENUE                                                                              S MILWAUKEE        WI    53172
STA TOD RULES
NAOMI E MARCANTONI                                9824 FOX HILL RD                                                                                 PERRY HALL         MD    21128‐9703
NAOMI F SESCO JR                                  620 ROANOKE ST                                                                                   CRESTLINE          OH    44827‐1746
NAOMI FENICHEL & SEYMOUR FENICHEL JT TEN          833 CENTRAL AVE APT 1L                                                                           FAR ROCKAWAY       NY    11691
NAOMI G CUTLER                                    PO BOX 1                                                                                         VALLEY STREAM      NY    11582‐0001
NAOMI GENE BENNETT                                10745 PAMPAS RD SE                                                                               DEMING             NM    88030‐1445
NAOMI GRETCHEN ECKER                              7243 KALKASKA DR                                                                                 DAVISON            MI    48423‐2385
NAOMI HAIMOWITZ & ANNE NEWMAN TEN COM             136‐15‐71ST ROAD                                                                                 FLUSHING           NY    11367‐1942
NAOMI HANGEN                                      19 SEMINOLE DR                                                                                   ARCANUM            OH    45304‐1349
NAOMI HARRIS                                      1537 COUNTY ROAD 995                                                                             ASHLAND            OH    44805‐9411
NAOMI HEMPHILL                                    430 CAMBRIDGE AVENUE                                                                             BUFFALO            NY    14215‐3156
NAOMI I FAGG                                      1280 ELIZABETH ST                                                                                MOUNT MORRIS       MI    48458‐1770
NAOMI J AIUTO                                     43643 BUCKTHORN CT                                                                               STERLING HEIGHTS   MI    48314‐1882

NAOMI J BRAATEN                                   16301 50TH AVE N                                                                                 MINNEAPOLIS        MN    55446
NAOMI J GRIFFIN                                   4833 GRACE RD                                                                                    NORTH OLMSTED      OH    44070‐3745
NAOMI J HACKWORTH                                 80 SAINT ANDREW LN                                                                               GREENUP            KY    41144‐8990
NAOMI J MEESE                                     4614 GARY DRIVE                                                                                  DAYTON             OH    45424
NAOMI J NELSON                                    6487 SUNFLOWER                                                                                   BYRON CENTER       MI    49315‐9435
NAOMI J PURCHASE                                  614 LINCOLN AVE                                                                                  ERIE               PA    16505‐5014
NAOMI J SOWERS                                    C/O NAOMI JEAN BONNER                   1268 CORONADO                                            UPLAND             CA    91786‐2101
NAOMI JEAN MEESE                                  4614 GARY DR                                                                                     DAYTON             OH    45424
NAOMI JEAN ROWLEY                                 PO BOX 395                                                                                       BAILEYS HARBOR     WI    54202‐0395
NAOMI JEFFERY PFRIEM                              6865 ALLOWAY W                                                                                   WORTHINGTON        OH    43085‐2538
NAOMI JOYCE ATCHISSON                             4306 ROSE LN                            APT 1                                                    MOUNT VERNON       IL    62864‐2125
NAOMI K RELEFORD                                  310 W CAMPBELL DRVE                                                                              MIDWEST CITY       OK    73110‐3318
NAOMI L BOOTH & DONALD L BOOTH JR JT TEN          199 TREASURE LAKE                                                                                DUBOIS             PA    15801‐9004
NAOMI L CHAFFIN                                   13418 N LINDEN RD                                                                                CLIO               MI    48420‐8248
NAOMI L EIGNER                                    33 HOLLISTON ST                                                                                  MEDWAY             MA    02053‐1424
NAOMI L JOHNSON                                   155 CHICKASAW RUN                       C/O CYD HAMBY                                            WOODSTOCK          GA    30188‐5712
NAOMI L VOLAIN                                    34 VIRGINIA STREET                                                                               SPRINGFIELD        MA    01108‐2623
NAOMI M FRYE                                      1908 AVE G                                                                                       STERLING           IL    61081‐1137
NAOMI M MAYNARD TOD MICHAEL P MAYNARD             34 SHEILA DRIVE                                                                                  N LITTLE ROCK      AR    72120
SUBJECT TO STA TOD RULES
NAOMI MENDOZA                                     476 JORALEMON ST APT F‐6                                                                         BELLEVILLE         NJ    07109‐1868
NAOMI NEAL                                        261 BARBARA LANE                                                                                 SAGINAW            MI    48601‐9469
NAOMI P EVANS                                     367 CLASSIC TRL                                                                                  RINGGOLD           GA    30736‐5893
NAOMI P MILLER                                    3236 CANARD ROAD                                                                                 KENNER             LA    70065‐2911
NAOMI POLITES                                     216 S SAND PIPER LOOP                                                                            POST FALLS         ID    83854
NAOMI R ADAMS                                     403 MIRAGE DR                                                                                    KOKOMO             IN    46901‐7036
NAOMI R ALT                                       706 BERETTA WAY                                                                                  BEL AIR            MD    21015‐4848
NAOMI R KRAMER                                    95 COLE AVE                                                                                      PROVIDENCE         RI    02906
NAOMI R MCDANIEL                                  1281 GRAYS CHAPEL RD                                                                             SOUTHSIDE          TN    37171‐9078
NAOMI R MILLER & ANN E COHEN & OWEN L MILLER JT   27740 ARLINGTON DRIVE                                                                            SOUTHFIELD         MI    48076‐5603
TEN
NAOMI R MILLS                                     609 E MARKLAND                                                                                   KOKOMO             IN    46901‐6212
NAOMI R OSBORN                                    619 NORTH MONROE DR                                                                              XENIA              OH    45385
NAOMI R ROBBINS                                   1391 MINTOLA ST                                                                                  FLINT              MI    48532‐4044
NAOMI R ROBBINS & DAVID M ROBBINS JT TEN          1391 MINTOLA ST                                                                                  FLINT              MI    48532‐4044
NAOMI RUTH PATCHIN                                PO BOX 24607                                                                                     INDIANAPOLIS       IN    46224‐0607
NAOMI RUTH WEAVER TR UA 04/26/93 NAOMI RUTH       1255 SUNFLOWER CT                                                                                CENTERVILLE        OH    45458‐2782
WEAVER LIVING TRUST
NAOMI S ZIEBOLD                                   8032 GRIMES RD                                                                                   RUSSELLVILLE       OH    45168
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NAOMI SCHECHTER TR REVOCABLE TRUST 09/03/92 U‐A 115 EASTHAMPTON E                                                                                 WEST PALM BEACH FL    33417‐1920
NAOMI SCHECHTER
NAOMI SCHWARTZ                                  9 RIDGE DRIVE E                                                                                   ROSLYN          NY    11576‐1411
NAOMI T DENMAN                                  6212 SHIRLEY DR                                                                                   FORT WORTH      TX    76180‐4734
NAOMI V CLATTERBUCK                             13 CHANDELLE RD                                                                                   BALTIMORE       MD    21220‐3507
NAOMI V DONOIAN                                 4689 EIGHTEENTH                                                                                   WYANDOTTE       MI    48192‐6926
NAOMI V HOOVER                                  15 AVERY HEIGHTS                                                                                  HARTFORD        CT    06106
NAOMI V RINGER & LLOYD D RINGER JT TEN          910 KINWAT AVENUE                                                                                 BALTIMORE       MD    21221‐5216
NAOMI VONTELLA SICZ                             1001 N ITHICA COURT                                                                               CHANDLER        AZ    85225‐1723
NAOSHI HIRAZUMI & JUNE REIKO HIRAZUMI JT TEN    7 AUHILI PL                                                                                       WAHIAWA         HI    96786‐1505

NAPOLEON LUMPKINS                                 BOX 303                                                                                         CONVERSE        IN    46919‐0303
NAPOLEON T GRAHAM                                 17376 HUNTINGTON RD                                                                             DETROIT         MI    48219‐3547
NAPOLEON WALLACE                                  3459 RIVER MILL LANE                                                                            ELLENWOOD       GA    30294‐1359
NARCISCO RODRIGUEZ                                BOX 203                                                                                         HAMLER          OH    43524‐0203
NARCISO A I FAJARDO                               19350 SHERMAN WAY                      UNIT 204                                                 RESEDA          CA    91335
NARCISO PACHECO                                   1187 SORRENTO LANE                                                                              FLINT           MI    48507‐4027
NARCISO RODRIGUEZ                                 BOX 317DEMPSY                                                                                   HAMLER          OH    43524
NARCISSA E CALLAWAY & RAYMOND P CALLAWAY JR JT    31163 MOUNT PLEASANT RD                                                                         LAUREL          DE    19956
TEN
NARDA J JOHNSON                                   21381 MCCLUNG                                                                                   SOUTHFIELD      MI    48075‐3299
NARENDRA KUMAR                                    720 BAKER                                                                                       ROCHESTER HLS   MI    48307‐4203
NARESH SHAH                                       3378 RIDGECANE ROAD                                                                             LEXINGTON       KY    40513‐1062
NARIN TOTA                                        42 ELLESMERE AVE                       WINNIPEG MB                            R2M 0G3 CANADA
NARISSA G SHAUL & MARK W SHAUL JT TEN             2672 SHENANDOAH DR                                                                              TRAVERSE CITY   MI    49684‐8922
NARON T ABRAMS                                    29270 ELWELL                                                                                    BELLEVILLE      MI    48111‐9696
NARON T ABRAMS & WILLIE ABRAMS JT TEN             29270 ELWELL                                                                                    BELLEVILLE      MI    48111‐9696
NARPAT BHANDARI & CHANDRA BHANDARI JT TEN         14530 DEER PARK CT                                                                              LOS GATOS       CA    95032‐6620

NARRAGANSETT LIBRARY ASSOCIATION                  ATTN ALAN R LORD                       PO BOX 31                                                WAKEFIELD       RI    02880‐0031
NARSES C GEDIGIAN & MRS ELIZABETH A GEDIGIAN JT   47730 VISTA CIRCLE SOUTH                                                                        CANTON          MI    48188‐1489
TEN
NARU R HARVEY                                     5226 TOMAHAWK TRAIL                                                                             FORT WAYNE       IN   46804‐4934
NARUMOL UDOMKESMALEE                              2858 RHINESBERRY RD                                                                             ROCHESTER HILLS  MI   48309‐1912
NARVELLE D SCHULTE & LISA M ZATKOFF JT TEN        52304 NORFOLK LN                                                                                CHESTERFIELD     MI   48051‐3601
NASALINA A ROBINSON                               5811 JONQUIL AVE                                                                                BALTIMORE        MD   21215‐3511
NASH G MITCHELL                                   2204 N LOTTIE AVE                                                                               OKLAHOMA CITY    OK   73111‐2140
NASH TORRES                                       8120 ASPEN N E                                                                                  ALBUQUERQUE      NM   87110‐6050
NASR MOHAMED                                      PO BOX 7224                                                                                     DEARBORN         MI   48121‐7224
NASRI M SAYED                                     7800 TERNES                                                                                     DEARBORN         MI   48126‐1020
NASSAB COSTA                                      6556 ROCKDALE                                                                                   DEARBORN HEIGHTS MI   48127‐2544

NASSAU HOSPITAL                                   ATTN V P FINANCE                       259 FIRST ST                                             MINEOLA          NY   11501‐3957
NASSER M ASHABI                                   PO BOX 12506                                                                                    HEMTRAMCK        MI   48212‐0506
NASSER M HAMADEH                                  5 CABRI LN                                                                                      DEARBORN HEIGHTS MI   48127‐3478

NASSIF M BACHROUCHE                               29643 HIGH VALLEY RD                                                                            FARMINGTON HILLS MI   48331‐2138

NAT A DILIBERTO                                   4420 SE IDAHO COURT                                                                             TOPEKA          KS    66609
NAT A DILIBERTO                                   4420 SE IDAHO COURT                                                                             TOPEKA          KS    66609
NAT ERNEST GILLIHAN                               2641 SE MICHIGAN AVE                                                                            TOPEKA          KS    66605‐1630
NAT J HOVIOUS                                     745 S PEAR ORCHARD RD                  APT 310                                                  RIDGELAND       MS    39157‐5119
NAT J HOVIOUS CUST GREGORY NATHANIEL WEBER        745 S PEAR ORCHARD RD                  APT 310                                                  RIDGELAND       MS    39157‐5119

NAT J HOVIOUS CUST LUCY KATHERINE WEBER UGMA      745 S PEAR ORCHARD RD                  APT 310                                                  RIDGELAND       MS    39157‐5119
MS
NATALE BINETTI                                    PO BOX 585                                                                                      MAHOPAC         NY    10541‐0585
NATALE CUSENZA                                    52211 HIGHBURY CT                                                                               SHELBY TWP      MI    48315‐2866
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NATALE MANNARINO & ANGELA MANNARINO JT TEN         215 CROWN ST                                                                                    BRISTOL        CT    06010‐6126

NATALEA SIMMONS                                    1151 WESTMOOR PL                                                                                SAINT LOUIS    MO    63131‐1320
NATALEE KNIGHT DOZIER                              1901 DOUGLAS DR                                                                                 BAINBRIDGE     GA    31717‐5245
NATALEE MAE OGLESBY CUST CORY A OGLESBY UGMA       9441 PLACID WAY                                                                                 HOWELL         MI    48843‐9043
MI
NATALIA HONCH                                      4162 DREAM CATCHER DR                                                                           WOODSTOCK      GA    30189
NATALIA MORRISON                                   116 CRESCENT DR                                                                                 GRAND HAVEN    MI    49417‐2406
NATALIE A BROOKS                                   24800 TOWNE RD                        APT 405                                                   SOUTHFIELD     MI    48034‐3142
NATALIE A BUTLER                                   9143 DEL‐RIO DR                                                                                 GRAND BLANC    MI    48439‐8384
NATALIE A CHUTE                                    6570 ARABIAN CIRCLE                                                                             GRANITE BAY    CA    95746
NATALIE A LOURIE TR NATALIE A LOURIE TRUST UA      2 SCHOOLHOUSE RD                                                                                CENTER         NH    03816‐5358
03/15/96                                                                                                                                           TUFTONBORO
NATALIE A MARSHALL                                 8301 GUADALUPE TRL NW                                                                           ALBUQUERQUE    NM    87114‐1122
NATALIE A NICHOLS TR NATALIE A NICHOLS REVOCABLE   ST MARYS WOODS                        1257 MARYWOOD LANE APT 324                                RICHMOND       VA    23229‐6062
TRUST UA 6/24/99
NATALIE A YURICKONES                               237 S NICHOLAS ST                                                                               ST CLAIR       PA    17970‐1346
NATALIE ANN HOLLINGER                              6034 CINNAMON TREE CT                                                                           ENGLEWOOD      OH    45322‐3605
NATALIE ANN MOWBRAY CUST MARJORIE KEELY            518 LIMESTONE ROAD                                                                              CARLISLE       PA    17013‐4347
MOWBRAY UGMA PA
NATALIE B REVOAL                                   35 BAYCREST COURT SW                  CALGARY AB                              T2V 5E1 CANADA
NATALIE BLUM                                       5359 GOLFWAY LANE                                                                               LYNDHURST      OH    44124‐3751
NATALIE C DEANDA                                   5540 BUTANO PK DR                                                                               FREMONT        CA    94538‐3200
NATALIE C LINDQUIST                                219 SIEMS ST                                                                                    DALZELL        IL    61320‐9708
NATALIE C LINDQUIST & WALLACE A LINDQUIST JT TEN   219 SIEMS ST                                                                                    DALZELL        IL    61320‐9708

NATALIE D TREADAWAY                                13 S PENOBSCOT CT                                                                               SIMPSONVILLE    SC   29681‐4315
NATALIE E GRIFFITHS                                765 BROOKE RD                                                                                   GLENSIDE        PA   19038‐1514
NATALIE E MARSHALL                                 14548 CUTSTONE WAY                                                                              SILVER SPRING   MD   20905‐7430
NATALIE EIFERT                                     808 S WASHINGTON                                                                                PARK RIDGE      IL   60068‐4809
NATALIE F KAPLAN                                   112‐50 72ND AVE APT 604                                                                         FOREST HILLS    NY   11375‐4667
NATALIE FIELD                                      1602 W WASHINGTON AVENUE                                                                        JACKSON         MI   49203‐1437
NATALIE GONIWICHA                                  1607 COLUMBIA AV                                                                                SOUTH MILWAUKEE WI   53172‐3566

NATALIE GORDON                                     204 DE WITT ROAD                                                                                SYRACUSE       NY    13214‐2007
NATALIE H FONDREN                                  2014 GOLDENROD LN                                                                               ARLINGTON      TX    76013‐3709
NATALIE H WILLIAMS                                 315 S CENTER                                                                                    HOWELL         MI    48843‐2206
NATALIE J CHOATE                                   510 JAMESON ST                                                                                  SAGINAW        MI    48602‐3238
NATALIE J DEAN                                     4726 BRAE BURN AVE                                                                              SARASOTA       FL    34234‐2915
NATALIE J ETTLIN CUST CAROL S ETTLIN UGMA MD       3936 SETONHURST RD                                                                              BALT           MD    21208‐2033
NATALIE J ETTLIN CUST ROBERT G ETTLIN UGMA MD      3936 SETONHURST RD                                                                              BALT           MD    21208‐2033

NATALIE J ETTLIN CUST ROSS L ETTLIN UGMA MD    3936 SETONHURST RD                                                                                  BALT           MD    21208‐2033
NATALIE JANE GIOVINCO                          111 N VERMILION ST                                                                                  DANVILLE       IL    61832
NATALIE JEAN KALO                              2253 6TH AVE SE                                                                                     VERO BEACH     FL    32962‐8301
NATALIE JEAN MARSHALL & BARBARA FITZPATRICK JT 2070 STRATFORD POINTE DR                                                                            MELBOURNE      FL    32904‐8007
TEN
NATALIE KAYLOR & EILEEN BURK TEN COM           ATTN ANN FEFFERMAN                        111 EAST CHESTNUT            APT 34 A                     CHICAGO        IL    60611‐6012
NATALIE KETCHEN                                266 HIGHLAND RD                                                                                     ANDOVER        MA    01810‐1917
NATALIE L ANDREWS                              ATTN NATALIE L GARDNER                    2623 DEVONSHIRE                                           LEONARD        MI    48367‐2925
NATALIE M ACHTYL                               PO BOX 831                                                                                          BUFFALO        NY    14224‐0831
NATALIE M CONLON                               28 MILLRIDGE RD                           LONDON ON                               N5Z 4S9 CANADA
NATALIE M CRAMP CUST GINA LOUISE CRAMP UGMA NJ 1622 HI POINT STREET                                                                                LOS ANGELES    CA    90035‐4504

NATALIE M FIELDEN & BARBARA FIELDEN JT TEN         23 PRISCILLA AVE                                                                                YONKERS        NY    10710‐3605
NATALIE M FIELDEN & LESLIE FIELDEN JT TEN          23 PRISCILLA AVE                                                                                YONKERS        NY    10710‐3605
NATALIE M PEAT & BRENDA L PITTS JT TEN             770 GOODLETTE RD N                    APT 221                                                   NAPLES         FL    34102‐5640
NATALIE M PEAT & DIANE P BATTLES JT TEN            770 GOODLETTE RD N                    APT 221                                                   NAPLES         FL    34102‐5640
NATALIE M PEAT & ELLEN S LUKANC JT TEN             770 GOODLETTE RD N                    APT 221                                                   NAPLES         FL    34102‐5640
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Name                                            Address1                               Address2                Address3       Address4          City               State Zip

NATALIE M SEIKALY                               11116 TARA ROAD                                                                                 POTOMAC            MD    20854‐1346
NATALIE N HUGHES                                1162 NORSAM RD                                                                                  GLADWYNE           PA    19035‐1420
NATALIE P LEACH                                 15141 HULL RD                                                                                   MONROE             MI    48161‐3850
NATALIE R ANDERSON                              294 SHENSTONE ROAD                                                                              RIVERSIDE          IL    60546‐2028
NATALIE R EDWARDS‐WILLIAMS                      2512 KANSAS AVE                        APT E                                                    SANTA MONICA       CA    90404‐5240
NATALIE ROMANO                                  37837 SUNNYDALE                                                                                 LIVONIA            MI    48154‐1444
NATALIE RUTH KUPFERBERG                         113‐14 72ND RD                                                                                  FOREST HILLS       NY    11375‐4657
NATALIE S FOX CUST MATTHEW FOX UGMA NY          9007 HAYWOOD CT                                                                                 ORLANDO            FL    32825‐8079
NATALIE SMITH                                   4504 ROSEWOOD DR                                                                                KOKOMO             IN    46901‐6443
NATALIE STERN CUST RICHARD STERN UGMA NY        141 SHIPLEY RD                                                                                  FREEHOLD           NY    12431‐5023
NATALIE T BLACKMON                              6122 MC COMMAS                                                                                  DALLAS             TX    75214‐3030
NATALIE T VEGA                                  5112 S 1ST ST 107                                                                               AUSTIN             TX    78745
NATALIE TREADAWAY                               13 S PENOBSCOT CT                                                                               SIMPSONVILLE       SC    29681‐4315
NATALIE TROUSOF                                 PO BOX 604                                                                                      FALMOUTH           MA    02541‐0604
NATALIE VOLF                                    5415 W HARMON #1185 BLDG 4                                                                      LAS VEGAS          NV    89103‐7045
NATALIE W PUPKIN CUST AVI PUPKIN UGMA MA        363 GODFREY DR                                                                                  NORTON             MA    02766‐1371
NATALIE WEST                                    1294 KEW GARDENS                                                                                FLORISSANT         MO    63031‐1541
NATALIE WHEELER                                 1610 28TH ST #621                                                                               PORTSMOUTH         OH    45662
NATALIE WOODHULL TR WOODHULL FAM TRUST UA       1742 EAGLEPEAK AVE                                                                              SIMI VALLEY        CA    93063‐3322
09/26/94
NATALIE WRUBEL                                  415 S MADISON                                                                                   BLOOMINGTON        IN    47403‐2450
NATALIE Y WALSH                                 11 JEFFREY LANE                                                                                 BRANFORD           CT    06405‐2880
NATALIE YUSEN                                   1002 NORTH 27TH PL                                                                              BRENTON            WA    98056‐1474
NATALINA L MC DONNELL                           29 RIDGEWOOD AVE                                                                                GLEN RIDGE         NJ    07028‐1019
NATALJA A TINCH                                 347 BOLIVAR ST                                                                                  CANTON             MA    02021‐4109
NATASHA HENDERSON CUST TYLER LAMBERT UTMA IL    12 N INDIANA AVE                                                                                BELLEVILLE         IL    62221‐5441

NATASHA S SHERMAN                               742 ESTATES BLVD APT 110                                                                        MERCERVILLE        NJ    08619‐2630
NATE BIGGINS                                    925 FLORIDA AV                                                                                  MC DONALD          OH    44437‐1611
NATE CHESAL CUST BRIAN CHESAL UNDER THE         3700 GALT OCEAN MILE APT 311                                                                    FT LAUDERDALE      FL    33308‐7622
FLORIDAGIFTS TO MINORS ACT
NATE D EASHOO                                   2198 HORSESHOE DR                                                                               DAVISON            MI    48423‐2134
NATE L ELLIS                                    5748 W MAPLE RAPIDS RD R#1                                                                      ST JOHNS           MI    48879‐8506
NATHALA T COX                                   4000 CATHERDRAL APT 309B                                                                        WASHINGTON         DC    20016‐5256
NATHALIE ARRIBAS                                231 FAITH TER                                                                                   SEBASTIAN          FL    32958‐5014
NATHALIE AUER                                   6505 SUMMERTON WAY                                                                              SPRINGFIELD        VA    22150‐1165
NATHALIE C PLATZ                                2078 RONDA GRANADA UNIT A                                                                       LAGUNA HILLS       CA    92653‐2432
NATHALIE C WHITE CUST JAMES C WHITE UGMA PA     12308 GREY FAWN DR                                                                              OMAHA              NE    68154‐3512

NATHALIE C WHITE CUST THOMAS E WHITE UGMA PA    8433 GARLAND RD                                                                                 PASADENA           MD    21122‐4613

NATHALIE D RAEDY                                7401 DOMINION DRIVE                                                                             OXON HILL          MD    20745‐1532
NATHALIE F CORDES                               NATHALIE F SCHILLER                    5846 IL ROUTE 2 NORTH                                    OREGON             IL    61061‐9331
NATHALIE JO LEATHERS                            5480 NORTH STATE RD 39                                                                          LIZTON             IN    46149‐9528
NATHALIE T SHARITS                              107 HUNTINGTON ROAD                                                                             COLONIAL HEIGHTS   VA    23834‐2127

NATHAN A HALL & LINDA S HALL JT TEN             450 ROLFE                                                                                       OXFORD             MI    48371‐5081
NATHAN A HOLLATZ                                803 W ARNOLD ST                                                                                 MARSHFIELD         WI    54449
NATHAN A MCCOY                                  21379 PAVER BARNES RD                                                                           MARYSVILLE         OH    43040‐9269
NATHAN A SMITH                                  1466 RIDGE ROAD                                                                                 FITCHBURG          MA    01420‐1326
NATHAN AARON CALVAS                             22586 NONA                                                                                      DEARBORN           MI    48124‐2738
NATHAN AIDAN RUMP                               308 LAKE VIEW WAY NW                                                                            LEESBURG           VA    20176‐2051
NATHAN B BACKUS & ANITA R BACKUS JT TEN         1283 IVANHOE ROAD                                                                               FRIES              VA    24330
NATHAN B EVENS CUST JONATHAN G KASTENBAUM       11807 BEDFORDSHIRE SQUARE                                                                       RICHMOND           VA    23233‐3406
UTMA VA
NATHAN B GILFOY                                 50 OLD FIELD RD                                                                                 SHERBORN           MA    01770‐1110
NATHAN BENNETT                                  326 SW 15TH STREET                                                                              GRAND PRAIRIE      TX    75051‐1411
NATHAN BERT NEWMAN                              1947 GESSNER PMB #293                                                                           HOUSTON            TX    77080‐6320
NATHAN BILGER & MURIEL BILGER JT TEN            230 W BROADWAY 507                                                                              LONG BEACH         NY    11561‐3977
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NATHAN BORG & LESLIE BORG JT TEN                 1 YALE DR                                                                                   MANHASSET       NY    11030‐4000
NATHAN C FOX                                     24 NORTON ST                                                                                HONEOYE FALLS   NY    14472‐1024
NATHAN C KRUPP                                   11906 EDEN TRAIL                                                                            EAGLE           MI    48822‐9621
NATHAN C WIZE                                    2378 LONDON DRIVE                                                                           TROY            MI    48098‐3582
NATHAN CHARLES SCHULTE                           RR 1 BOX 272                                                                                BLOOMFIELD      IN    47424‐9751
NATHAN CRAY BALLARD                              921 W ESCONDIDO RD                                                                          KINGSVILLE      TX    78363
NATHAN D BOWERS                                  2961 NE 37TH PL                                                                             OCALA           FL    34479‐8822
NATHAN D COLLIER                                 446 COUNTY ROAD 1092                                                                        CULLMAN         AL    35057‐6432
NATHAN D GILFENBAUM                              286 MIDDLE RD                      #2                                                       DOVER           NH    03820‐4901
NATHAN D MARTIN                                  775 HIGHLAND HILL CT                                                                        SAINT PETERS    MO    63376‐2676
NATHAN D MC CLURE 3RD                            2308 HERON HILL PL                                                                          LYNCHBURG       VA    24503‐3312
NATHAN D ROBERTS                                 PO BOX 806                                                                                  LOCKPORT        NY    14095‐0806
NATHAN DAVIS GROFF                               62 PROSPECT AVE                                                                             SPRINGVILLE     NY    14141‐1220
NATHAN DEITZ                                     490 HILLSIDE AV                                                                             HILLSIDE        NJ    07205‐1119
NATHAN DELL & WILLIE J DELL JT TEN               2956 HATHAWAY ROAD APT 805                                                                  RICHMOND        VA    23225‐1731
NATHAN DILLARD                                   28 COMMERCE ST                                                                              NORWALK         CT    06850
NATHAN E CAGLE JR & MRS LINDA S CAGLE JT TEN     6410 W 80TH AVE                                                                             ANCHORAGE       AK    99502‐3974
NATHAN E CLIMER                                  119 RAINBOW CIR                                                                             ALAMO           TN    38001‐1558
NATHAN E MARROW                                  PO BOX 873                                                                                  CEDAR FALLS     IA    50613
NATHAN E MERCER                                  74 RUMFORD RD                                                                               KINGS PARK      NY    11754‐4119
NATHAN E POCHOMIS                                5439 PINEHURST DRIVE                                                                        WILMINGTON      DE    19808
NATHAN E RUFF                                    2061 E BOATFIELD AV                                                                         BURTON          MI    48529‐1711
NATHAN E WU                                      3024 DARTMOUTH DR                                                                           JANESVILLE      WI    53545‐6704
NATHAN ENTEN & SARA ENTEN JT TEN                 1 BRENDENWOOD DR                                                                            VORHEES         NJ    08043‐1656
NATHAN FORREST CALDWELL                          2450 SYCAMORE LANE APT 16B                                                                  W LAFAYETTE     IN    47906
NATHAN G ISGUR                                   216 RICHARD BYRBYDGE                                                                        WILLIAMSBURG    VA    23185‐5116
NATHAN GILLAND                                   11728 W BERRY AVE                                                                           LITTLETON       CO    80127‐4523
NATHAN GOLDBERG CUST HINDA ANN GOLDBERG          3501 ROUND HOLLOW ROAD                                                                      BALTIMORE       MD    21208‐3008
UGMA MD
NATHAN GOLDBERG CUST TERRY RANAY GOLDBERG        3501 ROUND HOLLOW ROAD                                                                      BALTIMORE       MD    21208‐3008
UGMA MD
NATHAN J COTLER                                  PO BOX 551                                                                                  HOWELL          NJ    07731‐0551
NATHAN J DUBOIS                                  1900 SOUTHRIDGE LN                                                                          SHERMAN         TX    75092‐6246
NATHAN J TERRY & GRACE E TERRY TR UA 01/22/93    5509 COLLEEN DR                                                                             BRADENTON       FL    34207‐3468
TERRY FAMILY TRUST
NATHAN JOEL GOESCH                               106 N 86TH AVE                                                                              YAKIMA          WA    98908‐4516
NATHAN JOHNSON                                   2978 ARLINGTON DR                                                                           SAGINAW         MI    48601‐6980
NATHAN JONES                                     507 13TH AVE                                                                                BELMAR          NJ    07719‐2433
NATHAN K DAVIS                                   PO BOX 3                                                                                    N JACKSON       OH    44451‐0003
NATHAN KAHN                                      22 SUNBEAM AVE                     DOWNSVIEW ON                           M3H 1W7 CANADA
NATHAN KALE                                      8208 TOWNSHIP DR                                                                            OWINGS MILLS    MD    21117
NATHAN KAPLAN                                    ATTN BERNARD KAPLAN                100 PARK PLACE                                           ALEXANDRIA      LA    71301‐3936
NATHAN L BELL                                    10 S TASMANIA                                                                               PONTIAC         MI    48342‐2852
NATHAN L GAIETTO                                 2455 W COUNTY RD 90                                                                         TIFFIN          OH    44883‐9253
NATHAN L PARKER                                  103 MOSS LN                                                                                 FRANKLIN        TN    37064‐5242
NATHAN L S WOOD & BARBARA J SMITH JT TEN         701 ROBERT ST                                                                               LANSING         MI    48910‐5658
NATHAN LIPSHUTZ & GLORIA LIPSHUTZ TEN ENT        809 VALLEY GLEN RD                                                                          ELKINS PARK     PA    19027‐1748
NATHAN LOUIE                                     19796 DEVONSHIRE LN                                                                         MACOMB          MI    48044‐5768
NATHAN M LEE & THEORDORE M LEE JT TEN            1241 FAIRVIEW RD NE                                                                         ATLANTA         GA    30306‐4661
NATHAN MARDEROSIAN                               PO BOX 833                                                                                  NIAGARA FALLS   NY    14302‐0833
NATHAN MELMAN & SYLVIA MELMAN JT TEN             27 SWEETBRIAR LANE                                                                          LEVITTOWN       PA    19055‐2225
NATHAN P JOHNSON                                 8603 SOUTH 97TH AVE                                                                         LAVISTA         NE    68128‐7027
NATHAN P MYERS & LEONA E MYERS & NATHAN ROY      3232 N U S 23                                                                               OSCODA          MI    48750‐9588
MYERS JT TEN
NATHAN PAUL JERNIGAN & DAVID JAY JERNIGAN JT TEN 822 PROVINCIAL DR                                                                           CHELSEA         MI    48118‐1164

NATHAN PETER TORMALA                           504 VENUS CT                                                                                  ST PETERS       MO    63376‐5800
NATHAN R BLISS                                 1911 MEADOWLARK DRIVE                                                                         JANESVILLE      WI    53546‐1408
NATHAN R BREWER                                521 E MAIN ST                        APT A6                                                   LEXINGTON       KY    40508‐2351
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NATHAN R HENDRIX                               4625 W PACKINGHAM RD                                                                            LAKE CITY         MI    49651‐9606
NATHAN R WATKINS                               2000 MILLERS PATH                                                                               CUMMING           GA    30041‐7508
NATHAN RATLIFF                                 20012 HARNED                                                                                    DETROIT           MI    48234‐1568
NATHAN S HESS JR                               700 WEST DR                                                                                     BRUNSWICK         OH    44212‐2138
NATHAN S RILEY                                 6487 DUTCH ROAD                                                                                 GOODRICH          MI    48438‐9759
NATHAN SCHNAPER                                2401 SYLVALE RD                                                                                 BALT              MD    21209‐1556
NATHAN SCHWARTZ CUST DENA ANNE SCHWARTZ        2344 PAGE AVE                                                                                   LOUISVILLE        KY    40205‐2131
UTMA CA
NATHAN SHAW CUST SUSAN SHAW U/THE NEW YORK     701 BERING NBR 2002                                                                             HOUSTON           TX    77057‐2140
UNIFORM GIFTS TO MINORS ACT
NATHAN SHEAR                                   FEDERATION SQUARE APARTMENTS           2 STARKEL RD APT 116                                     WEST HARTFORD     CT    06117‐2412
NATHAN SHMALO                                  900 PARK AV                            APT 16D/1                                                NEW YORK          NY    10021‐0231
NATHAN SLOTNICK                                2064 BARNES AVE                        APT 5C                                                   BRONX             NY    10462
NATHAN STEWART                                 41757 WILLIS RD                                                                                 BELLEVILLE        MI    48111‐9147
NATHAN T GAGE                                  401 GAS COMPANY ROAD                                                                            WELLSBORO         PA    16901
NATHAN W FINLEY                                5119 LOUNSBURY DR                                                                               DAYTON            OH    45418‐2042
NATHAN W HARRIS                                325 S YALE AVE                                                                                  ADDISON           IL    60101‐3957
NATHAN W HOLMAN                                22102 EVERGREEN                                                                                 SOUTHFIELD        MI    48075‐3970
NATHAN W LANE                                  24292 MIDDLEBELT RD                                                                             NEW BOSTON        MI    48164‐9487
NATHAN W OSBORNE                               PO BOX 446                                                                                      DUNGANNON         VA    24245‐0446
NATHAN W RENTZ                                 1050 SLOW CREEK WAY                                                                             GREENSBORO        GA    30642
NATHAN WALLACH                                 2579 E 1ST ST                                                                                   BROOKLYN          NY    11223‐6234
NATHAN WILLIAM SCHWEITZER                      75114 FERN CREEK DR                                                                             YULEE             FL    32097‐0634
NATHAN WOLFE                                   1880 CENTURY E PA 1600                                                                          LOS ANGELES       CA    90067‐1661
NATHANAEL MOFFETT                              941 PARRISH RD                                                                                  KNOXVILLE         TN    37923
NATHANEL STEWART                               PO BOX 318                                                                                      CUMBERLAND GAP    TN    37724‐0318

NATHANIAL B GROSSMAN                           2558 BURSON RD                                                                                  TOPANGA           CA    90290‐4003
NATHANIAL WRIGHT                               9616 DENKER                                                                                     LOS ANGELES       CA    90047‐3960
NATHANIEL A WHITE II                           16278 HAMPTON RD                                                                                HAMILTON          VA    20158‐9413
NATHANIEL ANDERSON                             1639 NEWTON                                                                                     DAYTON            OH    45406‐4111
NATHANIEL B COVEN                              14 SUNRISE DR                                                                                   WARREN            NJ    07059‐5030
NATHANIEL BAKER                                19935 PREST ST                                                                                  DETROIT           MI    48235‐1808
NATHANIEL BARTON LOOMIS                        302 HIDDEN SPRINGS LN                                                                           COVINGTON         LA    70433‐5577
NATHANIEL BROOKS                               4737 FISCHER                                                                                    DETROIT           MI    48214‐1265
NATHANIEL C MILLER                             1579 WALNUT AVE                                                                                 DES PLAINES       IL    60016‐6623
NATHANIEL CALLAWAY                             528 LEITH                                                                                       FLINT             MI    48505‐4222
NATHANIEL CALLAWAY JR                          120 GALE BLVD                          APT 102                                                  MELVINDALE        MI    48122‐1748
NATHANIEL CHAIMOWITZ & CYNTHIA CHAIMOWITZ JT   3024 TODDS CHAPEL RD                                                                            GREENWOOD         DE    19950‐1921
TEN
NATHANIEL CHANEY                               1534 AVE A                                                                                      FLINT             MI    48503‐1480
NATHANIEL CLARK                                1980 PARTRIDGE LANE                                                                             KALAMAZOO         MI    49009‐3007
NATHANIEL COLE                                 8632 PARTRIDGE AVE                                                                              SAINT LOUIS       MO    63147‐1312
NATHANIEL DAVIS                                14481 CAMDEN ST                                                                                 DETROIT           MI    48213‐2069
NATHANIEL DAVIS                                1532 WALTON ST                                                                                  ANDERSON          IN    46016‐3148
NATHANIEL DEAN                                 1584 TODD RD                                                                                    GREENVILLE        GA    30222‐2308
NATHANIEL DICKSON JR                           13857 GODDARD                                                                                   DETROIT           MI    48212‐2111
NATHANIEL DYSON                                2310 TOBY BETH DR                                                                               FLINT             MI    48505‐1079
NATHANIEL E BENNETT                            2242 LAKE HAVEN WAY                                                                             SUWANEE           GA    30024‐3252
NATHANIEL E GRIFFIN JR                         445 E 14TH ST                                                                                   NEW YORK          NY    10009‐2803
NATHANIEL E OLIVER                             3407 E 72ND ST                                                                                  CLEVELAND         OH    44127‐2008
NATHANIEL F WASHINGTON                         3107 PALMER DR                         APT 7                                                    JANESVILLE        WI    53546‐2314
NATHANIEL FLY                                  260 COTTAGE ST                                                                                  PONTIA            MI    48342‐3104
NATHANIEL FORCH                                6717 ARLINGTON DRIVE                                                                            WEST BLOOMFIELD   MI    48322‐2718

NATHANIEL FOWLER                               225 DORSEY                                                                                      ROMEO             MI    48065‐4729
NATHANIEL FOX                                  4028 TRUXTON LN                                                                                 LANSING           MI    48911‐4330
NATHANIEL G HERRESHOFF 3RD                     43 MAYFAIRE CIRCLE                                                                              WESTAMPTON        NJ    08060‐4423
NATHANIEL GLOVER                               6052 ARCADE DR                                                                                  FAIRFIELD         OH    45014‐4813
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Name                                          Address1                           Address2             Address3                 Address4            City              State Zip

NATHANIEL GOREN & MRS ALICE GOREN JT TEN      725 CLAWSON ST                                                                                       STATEN ISLAND     NY    10306‐4033
NATHANIEL HEDGER                              1390 GOLDSVALLEY SPUR                                                                                DRY RIDGE         KY    41035
NATHANIEL HENDERSON                           5707 CHELMSFORD TRL                                                                                  ARLINGTON         TX    76018‐2584
NATHANIEL HINTON                              1510 WEST 18 ST                                                                                      LORAIN            OH    44052‐3918
NATHANIEL HUNT                                20 GALVESTON PL SW                 APT B                                                             WASHINGTON        DC    20032‐2000
NATHANIEL HUNTER                              11783 KENN RD                                                                                        CINCINNATI        OH    45240‐1930
NATHANIEL HUNTER PAUL                         180 KINGSTON AVE #D                                                                                  GOLETA            CA    93117‐2321
NATHANIEL J BARKER                            2177 ASPENWOOD DR                                                                                    HOLT              MI    48842‐8725
NATHANIEL J PARKER                            23650 EDINBURGH                                                                                      SOUTHFIELD        MI    48034‐2973
NATHANIEL J SHAND                             1166 NILES CORTLAND N E                                                                              WARREN            OH    44484‐1007
NATHANIEL JACOB SOBEL                         1000 PARK AVE                                                                                        NEW YORK          NY    10028‐0934
NATHANIEL JOHNSON                             3815 LORI SUE DR                                                                                     DAYTON            OH    45406‐3528
NATHANIEL JR CROCKETT                         316 N PINE 2‐B                                                                                       CHICAGO           IL    60644‐2315
NATHANIEL K HARRIS                            2024 W 8TH ST                                                                                        CEDAR FALLS       IA    50613‐2018
NATHANIEL K REICH                             7850 WEST SUGAR GROVE ROAD                                                                           COVINGTON         OH    45318‐9789
NATHANIEL K STAHL                             412 MONROE ST                      APT 2                                                             HOBOKEN           NJ    07030
NATHANIEL L BANKSTON JR                       4855 TILLAMOOK TRAIL                                                                                 LIMA              OH    45805‐4118
NATHANIEL L GREENE                            751 FLETCH MCPHAUL ROAD                                                                              REDSPRING         NC    28377‐8379
NATHANIEL L RICHARDSON                        2610 S 27TH ST                                                                                       SAGINAW           MI    48601‐6755
NATHANIEL L SCOTT                             4989 GERMANTOWN PIKE                                                                                 DAYTON            OH    45418‐2212
NATHANIEL L WASHINGTON                        G6494 VERDUN STREET                                                                                  MT MORRIS         MI    48458
NATHANIEL LONG                                30280 LONGFELLOW ST                                                                                  MADISON HEIGHTS   MI    48071‐2060

NATHANIEL LOWE                                23291 HARDING                                                                                        OAK PARK          MI    48237‐4302
NATHANIEL LUCAS YODER                         PO BOX 262                                                                                           WINESBURG         OH    44690‐0262
NATHANIEL M HODSON                            2278 COMPASS POINT LN                                                                                RESTON            VA    20191‐4517
NATHANIEL MALOY JR                            1023 BELMONT DR                                                                                      KENNEDALE         TX    76060
NATHANIEL MARCUS                              27777 DEQUINDRE RD                 APT 614                                                           MADISON HTS       MI    48071‐3463
NATHANIEL MCMILLIAN                           PO BOX 3248                                                                                          GRAND RAPIDS      MI    49501‐3248
NATHANIEL MILLER                              4675 31ST                                                                                            DETROIT           MI    48210‐2534
NATHANIEL MITCHELL                            25052 W 8 MILE RD                                                                                    SOUTHFIELD        MI    48034‐4040
NATHANIEL MOORE                               11627 ROSEMONT                                                                                       DETROIT           MI    48228‐1132
NATHANIEL N LORD & ANNA M LORD JT TEN         21 OAK WOOD DR                                                                                       GORHAM            ME    04038‐1600
NATHANIEL NARD                                1036 ROOT                                                                                            FLINT             MI    48503‐1505
NATHANIEL P BREED JR                          4428 EDMUNDS STREET NW                                                                               WASHINGTON        DC    20007‐1117
NATHANIEL P MONGOSA JR                        2236 S 300 W                                                                                         PERU              IN    46970‐3171
NATHANIEL PARKER JR                           127 LEE RIDGE DR                                                                                     COLUMBIA          SC    29229‐9446
NATHANIEL R DORRIS & JO F DORRIS JT TEN       2802 CRESCENT DR                                                                                     STILLWATER        OK    74075‐2603
NATHANIEL ROSS                                1020 ROSS CIR                                                                                        JACKSON           MS    39209‐9701
NATHANIEL SMITH                               1434 MAXWELL ST                                                                                      FLINT             MI    48532‐4339
NATHANIEL STINSON                             2263 TALBOT RIDGE                                                                                    JONESBORO         GA    30236‐9012
NATHANIEL T GIERYN                            5004 HEDGEWOOD DR                                                                                    AUSTIN            TX    78745
NATHANIEL TANKSLEY                            1209 HINCHEY RD                                                                                      ROCHESTER         NY    14624‐2736
NATHANIEL TOWNS                               766 E LYNDON ST                                                                                      FLINT             MI    48505‐2954
NATHANIEL TRICE                               4714 E OUTER DRIVE                                                                                   DETROIT           MI    48234‐3252
NATHANIEL TURNER                              327 WOODBRIDGE AVE                                                                                   BUFFALO           NY    14214‐1516
NATHANIEL W STROUP                            PO BOX 809                                                                                           PETOSKEY          MI    49770‐0809
NATHANIEL WELLS                               2901 N EUCLID                                                                                        INDIANAPOLIS      IN    46218‐3123
NATHANIEL WILBURN                             PO BOX 65                                                                                            DACULA            GA    30019‐0065
NATHANIEL WILLIAMS                            18900 SCHOENHERR ST                                                                                  DETROIT           MI    48205‐2206
NATHANIEL WILLIAMS                            46 CUMBERLAND RD                                                                                     FISHKILL          NY    12524‐1437
NATHANIEL WILLIS                              2041 BARKS ST                                                                                        FLINT             MI    48503‐4305
NATHANIEL Y WRIGHT                            162 WAVERLY STREET                                                                                   BUFFALO           NY    14208‐1421
NATHANIEL ZELLNER                             1697 ADDINGTON LANE                                                                                  ANN ARBOR         MI    48108
NATHANIEL ZELLNER & CARRIE E MOORE JT TEN     1697 ADDINGTON LANE                                                                                  ANN ARBOR         MI    48108
NATHEER HASAN                                 219 LORING AVE                                                                                       BUFFALO           NY    14214‐2709
NATHEER HASAN JR                              PO BOX 1395                                                                                          BUFFALO           NY    14226‐7395
NATHRUDEE HUTHANANUNTHA                       2314 MARK                                                                                            LANSING           MI    48912‐3424
NATIONAL BANK OF EGYPT                        24 SALAH SALEM STREET              ALEXANDRIA           ARAB REPUBLIC OF EGYPT   EGYPT
                                             09-50026-mg                 Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                             Address1                               Address2             Address3          Address4          City             State Zip

NATIONAL FINANCIAL SERV CUST SAMUEL L ROHRAFF     1232 EASLEY DR                                                                                 WESTLAND         MI    48186‐4877
IRA UA 09/20/95
NATIONAL FINANCIAL SERVICES CUST FBO FRANK        1101 ELLERMAN OAKS DRIVE                                                                       FORISTELL        MO    63348
TRETTEL IRA
NATIONAL FINANCIAL SERVICES TR FLOYD S STEVENS JR PO BOX 3751                           CHURCH ST STATION                                        NEW YORK         NY    10281

NATIONAL JUVENILE COURT FOUNDATION INC           PO BOX 8978                                                                                     RENO             NV    89507‐8978
NATIONAL STATE BANK TR JACOB P TRUSZKOWSKI IRA   187 EVERGREEN RD                       APT 8B                                                   EDISON           NJ    08837‐2448
PLAN 04/05/93
NATIVA SIMOES TR NATIVA SIMOES 2003 TRUST UA     PO BOX 83                                                                                       GOSHEN           CA    93227‐0083
05/30/03
NATIVIDAD C MALDONADO                            7610 CRANFORD COURT                                                                             ARLINGTON        TX    76001‐7031
NATIVIDAD F DOYLE                                6333 SHADOW GLEN LN                                                                             LAS VEGAS        NV    89108
NATIVIDAD LUNA                                   551 FERMOORE ST                                                                                 SAN FERNANDO     CA    91340‐2304
NATIVIDAD SALAS CUST BRAULIO SALAS UTMA MD       8715 CARROLL AVE                                                                                SILVER SPRING    MD    20903

NATIVIDAD WILLIAMS                               43275 CHATTERTON CT                                                                             FREMONT          CA    94538‐6104
NATON D LESLIE & MARGARET L LESLIE JT TEN        2690 QUEENSBURY RD                                                                              ALLIANCE         OH    44601‐8391
NATONAL SOCIETY FOR HEBREW DAY SCHOOLS           1090 CONEY ISLAND AVE                  STE 3                                                    BROOKLYN         NY    11230‐2341
NATTALEE HOWARD                                  4369 S 5710 W                                                                                   WVC              UT    84128‐7732
NATTIE LOPEZ                                     ATTN FRANK A LOPEZ                     47 BECKWITH RD                                           KILLINGWORTH     CT    06419‐1134
NAUM L BIRCHEFF                                  5711 BAYSIDE DR                                                                                 FORT WAYNE       IN    46815‐8530
NAUMI I SEGALL & HARRY SEGALL JT TEN             5308 MONROE AVE                        # 307                                                    SAN DIEGO        CA    92115‐3427
NAVARRO DAVIDSON                                 1907 PORTER AVE                                                                                 BELOIT           WI    53511
NAVEED AHMED                                     22689 SUMMER LANE                                                                               NOVI             MI    48374‐3647
NAVENDU PATEL                                    20 FATHER CAPODANNO BLVD #5B                                                                    STATEN ISLAND    NY    10305‐4822
NAVERY C MOORE II                                412 MARTINGALE DRIVE                                                                            FRANKLIN         TN    37067
NAVIE B BUTLER                                   3510 OLD RENWICK TRAIL                 PLAINFIELD                                               JOLIET           IL    60435
NAVIN N PANDYA CUST PRANAV N PANDYA UGMA MI      26524 MANDALAY CIR                                                                              NOVI             MI    48374

NAVINCHANDRA J SHAH                              1401 LINCOLN AVE                                                                                ANN ARBOR        MI    48104‐4430
NAVINCHANDRA JOSHI & KUMUDGAURI JOSHI JT TEN     2132 E DANBURY RD                                                                               PHOENIX          AZ    85022‐2266

NAVNIT BHARUCHA & MAMTA BHARUCHA JT TEN          41 COOPER AVE                                                                                   ROSELAND         NJ    07068‐1627
NAYAN R DESAI CUST BIJAL N DESAI UGMA SC         212 RIVERWALK BLVD                                                                              SIMPSONVILLE     SC    29681‐4755
NAZARENE FRAZZINI & MARIA KOZAK JT TEN           8431 N LIMA RD                                                                                  POLAND           OH    44514
NAZEEH M RASHEED                                 2488 WHITES MILL LANE                                                                           DECATUR          GA    30032‐6314
NAZIR A LALANI                                   703 KILLARNEY CT                                                                                MERRITT ISLAND   FL    32953‐8064
NAZZARENO GALLORO & ANTOINETTE GALLORO JT TEN    7007 GEORGIA DR                                                                                 NILES            IL    60714‐2219

NBC COMPANY                                      PO BOX 992                                                                                      EL DARADO        AR    71730
NBD BANK TR NORMA J STEPHENS                     5411 HOLLYHOCK LN                                                                               BOSSIER CITY     LA    71112‐4921
NBD BANK TR ROBERT A GREEN IRA UA 09/20/96       5256 OTTAWA ST                                                                                  BURTON           MI    48509‐2026
NEAD WALKER JR                                   4949 TENSHAW DRIVE                                                                              DAYTON           OH    45418‐1933
NEAL A ABNEY                                     5852 BEAUFORT LN                                                                                INDIANAPOLIS     IN    46254‐1049
NEAL A BORTER                                    3795 43RD AVE NE                                                                                NAPLES           FL    34120‐0458
NEAL A BROWN                                     4110 PATRICIA DRIVE                                                                             URBANDALE        IA    50322‐1303
NEAL A BROWN & SUE E BROWN JT TEN                4110 PATRICIA DRIVE                                                                             URBANDALE        IA    50322‐1303
NEAL A CICHANOWICZ                               2100 INDIAN NECK LANE                                                                           PECONIC          NY    11958‐1705
NEAL A MOONEY CUST MICHAEL MOONEY UGMA CT        11 ENGLEWOOD AVE #9                                                                             BROOKLINE        MA    02445‐2016

NEAL A SCHLENDORF                                816 FREDERICK COURT                                                                             WYCKOFF          NJ    07481‐1087
NEAL A SHELTON                                   1900 N ROLLING RDG                                                                              BETHANY          OK    73008‐5630
NEAL B BEIGH                                     PO BOX 9022                                                                                     WARREN           MI    48090‐9022
NEAL B HODGDON                                   5147 W 149 ST                                                                                   BROOKPARK        OH    44142‐1726
NEAL B HOLLOWELL                                 5269 KAREN ISLE                                                                                 WILLOUGHBY       OH    44094‐4351
NEAL B HOLLOWELL & EILEEN HOLLOWELL JT TEN       5269 KAREN ISLE                                                                                 WILLOUGHBY       OH    44094‐4351
NEAL B MARSTELLER                                4812 HARBOR DR                                                                                  MORRISTOWN       TN    37814‐7715
NEAL BISSANTZ & LOIS BISSANTZ JT TEN             443 DIANA AVE                                                                                   BATAVIA          OH    45103‐1806
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Name                                              Address1                                Address2               Address3        Address4          City              State Zip

NEAL BRUCE MILLER                                 152 EAST 35TH STREET                    APT 2C                                                   NEW YORK          NY    10016‐4157
NEAL C BATSON JR                                  8120 WILORAY                                                                                     UTICA             MI    48317‐1651
NEAL C FOLCK & CYNTHIA LYNN FOLCK JT TEN          6447 HARBINGER LN                                                                                DAYTON            OH    45449‐3515
NEAL C PATRAW                                     9391 STATE HIGHWAY 56                                                                            MASSENA           NY    13662‐3433
NEAL C PORTER                                     2330 W CLARKSTON RD                                                                              LAKE ORION        MI    48362‐2161
NEAL C PORTER JR                                  2330 CLARKSTON RD                                                                                LAKE ORION        MI    48362‐2161
NEAL CHARLES HENSON                               10222 W STANLEY RD                                                                               FLUSHING          MI    48433
NEAL CHRISTIAN DELAHANTY                          400 OCEAN TER                                                                                    STATEN ISLAND     NY    10301‐4556
NEAL D BESSERER                                   4864 PARKLAND TRL                                                                                ROSWELL           GA    30075‐6115
NEAL D PEYSNER                                    441 W PENN ST                                                                                    LONG BEACH        NY    11561‐3130
NEAL D WEBSTER                                    336 N 2ND ST                                                                                     WEST BRANCH       MI    48661‐1032
NEAL DI NAPOLI CUST NEAL A DI NAPOLI UTMA NJ      19 MOUNTAINVIEW AVE                                                                              NUTLEY            NJ    07110‐1605
NEAL E ALBEE                                      26100 GLEN OAK DR N                                                                              WYOMING           MN    55092‐9347
NEAL E BROWN                                      1412 N MAIN                                                                                      LAPEL             IN    46051‐9672
NEAL E ZIMMER                                     36647 KEENETH CT                                                                                 STERLING HTS      MI    48312‐3157
NEAL F BROWNE & ALINE B BROWNE JT TEN             11392 S E 175 LANE                                                                               SUMMERFIELD       FL    34491‐6618
NEAL F DALEN TR FRANCES B DALEN REVOCABLE TRUST   16328 TEMPLE DRIVE                                                                               MINNETONKA        MN    55345‐3428
AGREEMENT UA 05/03/91
NEAL G KING                                       5321 ROCKPORT AVE                                                                                DAYTON            OH    45417‐8337
NEAL G L AMOUREAUX                                7820 ANDERSON DR NE                                                                              WARREN            OH    44484‐1527
NEAL G YIENGST                                    PO BOX 175                                                                                       FREDERICKSBURG    PA    17026‐0175
NEAL H JANUS                                      2789 POWDERHORN RIDGE                                                                            ROCHESTER HILLS   MI    48309‐1339
NEAL H PALMER                                     2600 N 131ST ST                                                                                  KANSAS CITY       KS    66109‐3300
NEAL H THOMPSON                                   APT A                                   99 UNIVERSITY AVENUE                                     DEPEW             NY    14043‐2831
NEAL HAMILTON                                     59 CLOVERHILL ROAD                                                                               FLEMINGTON        NJ    08822‐1947
NEAL I ROSENBERG & ARALYN ROSENBERG TR UA         561 SARAH LANE 203                                                                               ST LOUIS          MO    63141‐5602
07/22/92 ROSENBERG LIV TR
NEAL J DILWORTH                                   14082 CLOVERLAWN ST                                                                              DETROIT           MI    48238‐2479
NEAL J HAZEN                                      1558 LINCOLN AVE                                                                                 LAKEWOOD          OH    44107‐4437
NEAL J HENNESSY                                   9308 HARVARD ST                                                                                  BELLFLOWER        CA    90706‐4425
NEAL J MAGELSSEN & SARAH E MAGELSSEN JT TEN       710 WILLOW AVE                                                                                   HENDERSON         NV    89015‐8340
NEAL J MONTGOMERY                                 915 COMSTOCK STA                                                                                 ST PETERS         MO    63376‐7184
NEAL J SOBOCINSKI CUST NEAL SCOTT SOBOCINSKI      209 MANGUM DR                                                                                    BEAR              DE    19701‐4107
UGMA DE
NEAL J TALASKA                                    71701 CAMPGROUND RD                                                                              ROMEO             MI    48065‐3721
NEAL JACOBSON                                     25 COMMERCE DR                                                                                   CRANFORD          NJ    07016‐3605
NEAL JACOBSON CUST ADAM JACOBSON UTMA NJ          25 COMMERCE DR                                                                                   CRANFORD          NJ    07016‐3605
NEAL JAMES FINK                                   439 EAST 51ST ST                                                                                 NEW YORK          NY    10022‐6473
NEAL JOHN MAGELSSEN                               710 WILLOW AVE                                                                                   HENDERSON         NV    89015‐8340
NEAL K SANDERS                                    4476 LABEAN CT                                                                                   FLINT             MI    48506‐1448
NEAL K WILSTEAD                                   7973 S FRANKLIN CT                                                                               LITTLETON         CO    80122‐3256
NEAL L STARK                                      30037 WORTH                                                                                      GIBRALTAR         MI    48173‐9528
NEAL LABOVITZ & MARILYN LABOVITZ JT TEN           1850 OAK RUN COVE                                                                                GERMANTOWN        TN    38138‐2729
NEAL M BORROR                                     601 FOWLER ST                           PO BOX 211                                               MILLINGTON        IL    60537
NEAL M KOTIN CUST ERIC MATTHEW KOTIN UGMA NY      50 EAST 79 STREET #5A                                                                            NEW YORK          NY    10021‐0232

NEAL M NELSON                                     332 SUNSET DR                                                                                    JANESVILLE        WI    53545‐3251
NEAL MENDO & THERESE MENDO JT TEN                 2883 CARROLL CREEK ROAD                                                                          GRAY              TN    37615‐4554
NEAL P KEMP                                       2061 ST RAYMOND AVE                     APT 10 C                                                 THE BRONX         NY    10462‐7131
NEAL R UNDERWOOD                                  935 E GOLF ROAD APT 3                                                                            ARLINGTON HTS     IL    60005
NEAL RADONSKI CUST MICHELLE RADONSKI UTMA WI      S83 W23325 ARTESIAN AVE                                                                          BIG BEND          WI    53103‐9484

NEAL REED                                         17775 GRANGE RD                                                                                  FREDERICKTOWN     OH    43019‐9305
NEAL ROBERT MARKS                                 5040 NESBIT FERRY LANE                                                                           ATLANTA           GA    30350‐1116
NEAL S AVENER                                     12 KINGS VILLAGE                                                                                 BUDD LAKE         NJ    07828‐3615
NEAL S MILLER                                     13735 VENTURA BLVD                                                                               SHERMAN OAKS      CA    91423‐3023
NEAL SHEPERD                                      2701 BUNTEN ROAD                                                                                 DULUTH            GA    30096‐4003
NEAL SIBLEY JR                                    104 MAPLE AVENUE                                                                                 BALTIMORE         MD    21228‐5524
NEAL T WILLIAMS                                   BOX 1002                                                                                         HOPATCONG         NJ    07843‐0802
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Name                                          Address1                              Address2             Address3          Address4          City            State Zip

NEAL TOBACK & MRS CYNTHIA TOBACK JT TEN       2471 AUGUSTA WAY                                                                               HIGHLAND PARK   IL    60035‐1805
NEAL W JOHNSON & ROXANNE M JOHNSON JT TEN     6007 CLARK ROAD                                                                                NEWARK          NY    14513‐9416

NEAL W MAGELSSEN & NEAL J MAGELSSEN JT TEN     710 WILLOW AVE                                                                                HENDERSON       NV    89015‐8340
NEAL WHITTAKER                                 10315 HIGHWAY 95                                                                              PAYETTE         ID    83661‐5310
NEAL ZOTT CUST JENNIFER ZOTT UGMA MI           11200 37 MILE RD                                                                              BRUCE TWP       MI    48065‐1303
NEALE E STRAYHORN                              2601 WEST 18TH ST                                                                             INDIANAPOLIS    IN    46222‐2843
NEALE F LAURENCE TR NORTH BOROUGH FAMILY TRUST 113 WEST MAIN ST                                                                              NORTHBOROUGH    MA    01532‐1825
UA 10/30/81
NEALE R SMITH                                  1928 HOWLAND WILSON RD NE                                                                     WARREN          OH    44484‐3917
NEARVIA LEE EVERETT                            9858 EMPIRE ROAD                                                                              OAKLAND         CA    94603‐2053
NEBRENDA K BALL                                710 S SCOVILLE                                                                                OAK PARK        IL    60304‐1407
NECHAMA KATZ CUST YISROEL ALTER KATZ UGMA NY   1047 NEW MC NEIL AVE                                                                          LAWRENCE        NY    11559‐1725

NECOLA H SHUMPERT                             1410 BUB SHUMPERT RD                                                                           PELION           SC   29123‐9509
NECOLA HUNTER                                 PO BOX 27356                          12734 LITTLEFIELD                                        DETROIT          MI   48227
NECOLE H CASH‐WEST                            28095 DANVERS DR                                                                               FARMINGTON HILLS MI   48334‐4246

NECTAR R PACKER                                  2157 BOTT ST                                                                                YOUNGSTOWN      OH    44505‐3806
NED B WRIGHT                                     945 SHERMER RD                                                                              NORTHBROOK      IL    60062
NED B WRIGHT & REBECCA RICHCREEK TEN COM         945 SHERMER RD                                                                              NORTHBROOK      IL    60062
NED C SACKTOR & TODD C SACTOR & JUNE D SACTOR JT 234 HOMEWWOD TERRACE                                                                        BALTIMORE       MD    21218
TEN
NED COVITT                                       6625 WESTMOOR LANE                                                                          BENBROOK        TX    76132
NED D WERY                                       777 PATRICIA LAIN                                                                           ALGER           MI    48610‐9357
NED E DOANE                                      2191 PARK LANE                                                                              HOLT            MI    48842‐1220
NED E HERRIN JR                                  4 HARGRACE DR                                                                               RANDOLPH        VT    05060‐1011
NED E MARTINDALE TR MARTINDALE FAM REVOCABLE 347 NORTHSIDE DR                                                                                BATESVILLE      IN    47006‐7085
LIVING TRUST UA 02/11/98
NED ELLER & ELIZABETH W ELLER JT TEN             BOX 146                                                                                     GHENT           WV    25843‐0146
NED F MARZILIANO & CARMELA MARZILIANO JT TEN     2363 OAKDALE AVE                                                                            SEAFORD         NY    11783‐3143

NED HAYES                                     1332 LONGACRE                                                                                  FOREST PK       OH    45240‐2331
NED HOROHO & PHYLLIS P HOROHO JT TEN          BOX 44 633 W MAIN                                                                              GREENTOWN       IN    46936‐1044
NED J WESTRICK                                1838 TIMBER RIDGE CT                                                                           KOKOMO          IN    46902‐5066
NED L BLUM                                    4892 CRYSTAL CIR                                                                               BIRMINGHAM      AL    35226
NED LAGER                                     96 SCHERMERHORN ST APT 6C                                                                      BROOKLYN        NY    11201
NED LLOYD RIGGSBEE                            1228 OLD HILLSBOROUGH RD                                                                       CHAPEL HILL     NC    27516
NED LOUIS WEAVER                              10498 BELLEAU DR                                                                               TWINSBURG       OH    44087‐1137
NED M DOWNING                                 305 COMMERCIAL ST                     APT 402                                                  PORTLAND        ME    04101‐4644
NED M SUGG                                    20651 LAKE PATIENCE RD                                                                         LAND O LAKES    FL    34638‐3581
NED NEWHOF                                    3116 84TH ST                                                                                   CALEDONIA       MI    49316‐8357
NED O BARRIER                                 2113 WAYMON STREET                                                                             SHREVEPORT      LA    71118‐3397
NED O BARTON & DENISE R BARTON JT TEN         810 N BENTSEN PALM DR TRLR W225                                                                MISSION         TX    78572‐8849
NED O LINDBERG & GINA LINDBERG JT TEN         N5504 OVERDIER RD                                                                              LADUSMITH       WI    54848‐9406
NED R BAKER                                   2900 NORTH APPERSON WAY               LOT 38                                                   KOKOMO          IN    46901‐5706
NED R SHOEMAKER                               3118 GALLOWAY ROAD                                                                             SANDUSKY        OH    44870‐5955
NED RICHARD CARNAHAN                          2439 S SAVANNAH LN                                                                             LAKE CHARLES    LA    70605‐8165
NED SUMMERS & PATSY SUMMERS JT TEN            220 N 11TH                                                                                     MILES CITY      MT    59301‐3406
NED V POER                                    9745 OLYMPIA DR                       APT 214                                                  FISHERS         IN    46037‐9228
NED W HOWAY                                   8225 MCCARTY RD                                                                                SAGINAW         MI    48603‐9679
NED W MAYES JR                                23684 LELO CT                                                                                  SOUTHFIELD      MI    48075‐3417
NED WILSON                                    241 S EDITH ST                                                                                 PONTIAC         MI    48342‐3228
NEDA F FRANCIS                                6301 MANASSAS PASS                                                                             ACWORTH         GA    30101‐8460
NEDA F JONES                                  8944 ESPER                                                                                     DETROIT         MI    48204‐2723
NEDDIE C FOSTER                               463 COUNTY ROAD 805                                                                            HEFLIN          AL    36264‐3501
NEDINE E HARRIS                               18855 18 MILE ROAD                                                                             LEROY           MI    49655
NEDJELKO SEGO                                 13302 S BALTIMORE                                                                              CHICAGO         IL    60633‐1425
NEDLENE J RENNER                              16760 S R 32                                                                                   NOBLESVILLE     IN    46060‐6810
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Name                                               Address1                                Address2               Address3            Address4          City              State Zip

NEDLENE JOHNSON RENNER & MYRNETH REX RENNER        16760 SR 32 E                                                                                        NOBLESVILLE       IN    46060‐6810
JT TEN
NEDRA A TUCKER                                     505 ROHR LANE                                                                                        ENGLEWOOD         OH    45322‐2003
NEDRA C CONRAD & NICHOLAS J CONRAD JT TEN          1626 N 30TH ST                                                                                       FORT DODGE        IA    50501‐7942
NEDRA D KEEPERS FRODGE                             PO BOX 123                                                                                           MC NEAL           AZ    85617
NEDRA E DYE & F DARRELL DYE TR UA 08/07/96 NEDRA   4349 MARCOTT CIR                                                                                     SARASOTA          FL    34233‐5035
E DYE TRUST AGMT
NEDRA L REDDING                                    2734 KEPESS CT                                                                                       SOUTH BEND        IN    46628‐3442
NEELTJE GERRITSEN TR NEELTJE GERRITSEN LIVING      3703 MOSSY ROCK CT                                                                                   KINGWOOD          TX    77345‐1253
TRUST UA 04/25/95
NEELU G BHATA                                      169 NOE AVE                                                                                          CHATHAM           NJ    07928‐1507
NEENA B NORRIS                                     4790 JACKSON ST                         APT 15                                                       RIVERSIDE         CA    92503‐9000
NEENA STAUFFER                                     1385 MADDOCK DRIVE                      OSHAWA ON                                  L1K 0C5 CANADA
NEERU K KANWAL                                     49 SKYHILL RD #301                                                                                   ALEXANDRIA        VA    22314‐4994
NEFUS BUTLER                                       19049 DIJON AVE                                                                                      EASTPOINTE        MI    48021‐2014
NEGILLE C CAMERON                                  239 18TH AVE S                                                                                       ST PETERSBURG     FL    33705‐2736
NEHA SHAH & MAYUR H SHAH & ANUPAMA M SHAH JT       11610 SHERIDAN ST                                                                                    PEMBROKE PINES    FL    33026‐1430
TEN
NEHAMA ELLA BABIN                                  5411 CENTER ST                                                                                       CHEVY CHASE       MD    20815‐7123
NEHMI M BAZZI                                      6500 THEISEN                                                                                         DEARBORN          MI    48126‐1926
NEIDRA PFOHL HART                                  169 DERRICK RD                                                                                       BRADFORD          PA    16701‐3366
NEIETHA PETTY 20511 LAW                                                                                                                                 TRENTON           MI    48183‐5023
NEIGEL V HENRY                                     880 GOODMAN ST S                                                                                     ROCHESTER         NY    14620‐2539
NEIL A BRUSKIN                                     5390 QUEEN ANN LN                                                                                    SANTA BARBARA     CA    93111‐1141
NEIL A BUCKLEY                                     GMAC HOUSE CASTLE ST                    HIGH WYCOMBE           BUCKS UNITED KING   GREAT BRITAIN
NEIL A CURTIS                                      64553 WICKLOW HILL                                                                                   WASHINGTON        MI    48095‐2595
NEIL A FREEMAN                                     29119 ORVA DR                                                                                        PUNTA GORDA       FL    33982‐8540
NEIL A HAMANN                                      VAMC NORTHPORT SWS (122)                79 MIDDLEVILLE RD                                            NORTHPORT         NY    11768‐2200
NEIL A MAC KAY                                     601 EDGEWOOD RD                                                                                      PITTSBURGH        PA    15221‐4517
NEIL A MACKINNON                                   39 ST DENIS PLACE                       WINNIPEG MB                                R3V 1T2 CANADA
NEIL A MACVICAR                                    3515 OBSERVATORY LN                                                                                  HOLT              MI    48842‐9429
NEIL A SCHILKE                                     1879 LINCOLNSHIRE DR                                                                                 ROCHESTER HILLS   MI    48309‐4530
NEIL ANTONIOTTI                                    12 SAVERY LN                                                                                         PLYMOUTH          MA    02360‐4418
NEIL ARATA                                         14 STONEY BROOK DR                                                                                   FREEHOLD          NJ    07728‐8743
NEIL AXE CUST BRYCE MATTHEW AXE UTMA NJ            1 CHRISTOPHER COURT                                                                                  MONTCLAIR         NJ    07042
NEIL AXE CUST KAILA SIMONE AXE UTMA NJ             1 CHRISTOPHER COURT                                                                                  MONTCLAIR         NJ    07042
NEIL B GREIG                                       3900 PERKINS ROAD                                                                                    ARLINGTON         TX    76016‐2612
NEIL B MILLER                                      22 CLAIRE DR                                                                                         BRIDGEWATER       NJ    08807‐1857
NEIL B STIRLING                                    936 PINE AVE                                                                                         LAKE ORION        MI    48362
NEIL B WARD                                        470 THOMAS CT                                                                                        GRAND BLANC       MI    48439‐1525
NEIL BARKER MITCHELL JR                            1260 PEAKESBROOKE RD                                                                                 DELHI             NY    13753‐3307
NEIL BLOCK & ROBIN B BLOCK JT TEN                  8931 SW 142ND AVE APT 319                                                                            MIAMI             FL    33186‐1231
NEIL BRENT PATTISON                                4495 N CR 1000 E                                                                                     BROWNSBURG        IN    46112‐9376
NEIL BRENT PATTISON & PAMELA A PATTISON JT TEN     4495 N CR 1000 E                                                                                     BROWNSBURG        IN    46112‐9376

NEIL BRINK CUST SCARLETT BRINK UTMA IN             5403 INNISBROOKE CT                                                                                  GREENWOOD         IN    46142
NEIL BURGESS                                       2867 BLACK EAGLE RIDGE                                                                               HOWELL            MI    48843‐6929
NEIL C HANNA JR & PATRICIA A HANNA JT TEN          11541 ADAMS                                                                                          WARREN            MI    48093‐1136
NEIL C HAY                                         C/O ARDITH BAEDLES                      2201 MONTHAVEN DRIVE                                         DURHAM            NC    27712‐1928
NEIL C HOPKINS                                     3429 N SUNSET WAY                                                                                    SANFORD           MI    48657
NEIL C HUNT                                        PO BOX 585                                                                                           MADISON           WI    53701‐0585
NEIL C PLACE JR                                    9705 ROSE DRIVE                                                                                      TAYLOR            MI    48180‐3032
NEIL C RECHLIN                                     823 CUNNINGHAM DR                                                                                    DAVENPORT         FL    33837‐8480
NEIL C RUPER                                       28 HARDING RD                                                                                        BUFFALO           NY    14220‐2210
NEIL C SHERFF                                      PO BOX 62                                                                                            JENISON           MI    49429‐0062
NEIL C SIDDERS                                     235 ROWLAND ROAD                                                                                     MONROE            LA    71203‐8502
NEIL C SKAAR                                       1756 W LINCOLN                                                                                       BIRMINGHAM        MI    48009‐1833
NEIL CHARLES LUDMAN                                256 MULLEN AVE                                                                                       SAN FRANCISCO     CA    94110‐5332
NEIL COOLICAN                                      1713 CHURCH AVE                                                                                      SCRANTON          PA    18508‐1918
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Name                                             Address1                                Address2             Address3          Address4          City               State Zip

NEIL COOPER                                      APT 1‐C                                 277 AVE C                                                NEW YORK           NY    10009‐2537
NEIL D BISSONNETTE                               6393 CHICAGO RD                                                                                  FLUSHING           MI    48433‐9051
NEIL D GREHLINGER                                230 GATEWAY BLVD                                                                                 ROCKY MOUNT        NC    27804‐6015
NEIL D HANSEN & MRS RENEE A HANSEN JT TEN        5524 MAIN ST                                                                                     MORTON GROVE       IL    60053‐3453
NEIL D SCHULTZ                                   PO BOX 481                                                                                       CORDOVA            AK    99574‐0481
NEIL D STARR                                     2805 N BYRON RD                                                                                  LENNON             MI    48449‐9606
NEIL DOHERTY & MRS ANN M DOHERTY JT TEN          207 ELLIOT AVE                                                                                   QUINCY             MA    02171‐2736
NEIL DOUGLAS SCHULTE                             1230 N COLD SPRINGS RD                                                                           BLOOMFIELD         IN    47424‐4569
NEIL E BEATTY                                    1721 OLD OXFORD RD                                                                               HAMILTON           OH    45013‐1041
NEIL E HITESHUE                                  5075 RIVER RD                                                                                    FAIRFIELD          OH    45014‐2501
NEIL E HORNING                                   20901 SCIO CHURCH RD                                                                             CHELSEA            MI    48118‐9699
NEIL E HUARD                                     8498 CARPATHIAN DR                                                                               WHITE LAKE         MI    48386‐4507
NEIL E HUARD & ARDATH E HUARD JT TEN             8498 CARPATHIAN DR                                                                               WHITE LAKE         MI    48386‐4507
NEIL E JOHNSON                                   8455 FOUNTAIN AVE APT 210                                                                        WEST HOLLYWOOD     CA    90069

NEIL E KEESLER                                   8715 OAK GROVE                                                                                   HOWELL             MI    48843‐9352
NEIL E KESSLER & JOANN C KESSLER JT TEN          2630 LAHSER ROAD                                                                                 BLOOMFIELD HILLS   MI    48302‐1146

NEIL E MAIURI                                    345 TRAILBLAZER DR                                                                               LAKE HELEN         FL    32744‐3527
NEIL E MCNEILL                                   614 COURTLAND DR                                                                                 HOWARD             OH    43028‐9002
NEIL E MESSERSCHMIDT                             7790 N HONEYSUCKLE LANE                                                                          EDGERTON           WI    53534‐9718
NEIL E MITCHELL                                  11190 JACQUELINE DRIVE                                                                           STERLING HEIGHTS   MI    48313‐4910

NEIL E PITTS                                     8600 E ALAMEDA AV 21‐10                                                                          DENVER             CO    80247‐1195
NEIL E ROBERTS & JOSEPHINE A ROBERTS JT TEN      PO BOX 8017                                                                                      BILOXI             MS    39535‐8017
NEIL E RULONG TOD BETSY RULONG SUBJECT TO STA    585 POTIC DR                                                                                     LEAVITTSBURG       OH    44430‐9456
TOD RULES
NEIL E RULONG TOD WILL E RULONG SUBJECT TO STA   585 POTIC DR                                                                                     LEAVITTSBURG       OH    44430‐9456
TOD RULES
NEIL E SAGGESE                                   4816 CODQUINA CROSSING                                                                           ELKTON             FL    32033
NEIL E VANWAGONER                                4104 71ST RD                                                                                     RIVIERA BEACH      FL    33404‐4840
NEIL EVAN WAHLBERG                               270 WEST SUBURBAN DRIVE                                                                          MILWAUKEE          WI    53217‐2337
NEIL F IMUS AGNES IMUS & DARLENE M IMUS JT TEN   1710 GREENVIEW DR                                                                                ANN ARBOR          MI    48103‐5902

NEIL F MILLER                                    4265 VALLEY QUAIL BLVD S                                                                         WESTERVILLE        OH    43081‐3810
NEIL F MULLEN                                    7975 MILLIGAN ROAD E                                                                             BURGHILL           OH    44404‐9746
NEIL F OCONNOR & JEAN E OCONNOR JT TEN           709 WATERS DRIVE                                                                                 MADISON            MS    39110‐6333
NEIL F PARKER                                    1095 W MCCOY LN #9                                                                               SANTA MARIA        CA    93455‐1139
NEIL FERRARI                                     5 LORIEN PL                                                                                      HILLSBOROUGH       NJ    08844‐4344
NEIL G COHEN                                     340 EAST 64TH STREET                    APT 2B                                                   NEW YORK           NY    10021‐7506
NEIL G WOODRING                                  PO BOX 131                                                                                       FLUSHING           MI    48433‐0131
NEIL GARAWITZ                                    1701 GRAVERS RD                                                                                  PLYMOUTH MTNG      PA    19462‐2833

NEIL GARNAAS & PAMELA J GARNAAS JT TEN           1948 PALO VERDE BLVD N                                                                           LK HAVASU CTY      AZ    86404‐1827
NEIL GELBER                                      2021 ATWATER #2211                      MONTREAL QC                            H3H 2P2 CANADA
NEIL H CARENDER                                  8435 BOENARO CT                                                                                  DEXTER             MI    48130‐9473
NEIL H DUEWEKE                                   6998 OAKHURST RIDGE RD                                                                           CLARKSTON          MI    48348‐5054
NEIL H HASELHUHN                                 6099 BERRYMOOR DR                                                                                GRAND BLANC        MI    48439‐3401
NEIL H WARD                                      1204 S CALUMET                                                                                   KOKOMO             IN    46902‐1839
NEIL H YASHIRO                                   2760 LEOLANI PL                                                                                  PUKALANI           HI    96768‐8645
NEIL HARRIS                                      28684 GREENWOOD PLACE                                                                            CASTAIC            CA    91384‐4309
NEIL HARRIS & DEBORAH HARRIS JT TEN              15 BAYARD DR                                                                                     DIX HILLS          NY    11746‐8301
NEIL HENRY REID                                  201 E 66TH ST 12N                                                                                NY                 NY    10021‐6467
NEIL I POHL                                      40 GREENWOODS DR                                                                                 HORSHAM            PA    19044‐1732
NEIL I POHL CUST JASON MAXWELL POHL UTMA PA      40 GREENWOODS DR                                                                                 HORSHAM            PA    19044‐1732

NEIL J ADAMS                                     8930 TRINKLE RD                                                                                  DEXTER             MI    48130‐9731
NEIL J CLARK                                     6313 CHESTNUT HILLS DR                                                                           PARMA              OH    44129‐5120
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Name                                                 Address1                               Address2             Address3          Address4          City               State Zip

NEIL J CURTIN JR & MRS ROBERTA P CURTIN JT TEN       1 GREEN MEADOW LANE                                                                             HUNTINGTON         NY    11743‐5121

NEIL J DEPASCAL                                      906 WASHINGTON AVE                                                                              GIRARD             OH    44420‐1961
NEIL J FORRESTER                                     2021 E CARTER STREET                                                                            KOKOMO             IN    46901‐5661
NEIL J MACDONALD                                     12 MEADOW HEIGHTS COURT                THORNHILL ON                           L4J 1V6 CANADA
NEIL J ROSS                                          4371 LAKE DR                                                                                    BEAVERTON          MI    48612‐8826
NEIL JAY BARANOVITZ                                  1415 MAYFLOWER DR                                                                               MCLEAN             VA    22101‐5615
NEIL JEFFREY STRICKLAND                              101 OAK GROVE DR                                                                                DOTHAN             AL    36303‐9395
NEIL JOHNSON                                         307 N 8TH ST                                                                                    NEWMAN GROVE       NE    68758
NEIL JOKELSON & NANCY JOKELSON TEN ENT               200 W WASHINGTON SQUARE                ST JAMES # 2307                                          PHILADELPHIA       PA    19106
NEIL K BURK & BONNIE K BURK JT TEN                   8279 RACINE                                                                                     WARREN             MI    48093‐6747
NEIL KEUKELAAR                                       8307 EAST PORT BAY                                                                              WOLCOTT            NY    14590‐9572
NEIL KUCHINSKY                                       1042 HOPE RIDGE COURT                                                                           COLONIAL HEIGHTS   VA    23834‐1918

NEIL L EBERSOLE & ELIZABETH A EBERSOLE JT TEN        520 N STATE ROUTE 934 #12                                                                       ANNVILLE           PA    17003‐9039
NEIL L FLANIGAN                                      4300 RIVER RD                                                                                   PERRY              OH    44081‐8611
NEIL L MC CLAIRE                                     3646 CANDLEWOOD DR                                                                              JANESVILLE         WI    53546‐8400
NEIL L STARR CUST SAMUEL S STARR UTMA MD             8402 RAPLEY RIDGE LN                                                                            POTOMAC            MD    20854‐5612
NEIL LESAINT                                         3050 FIDDLERS RIDGE DR                                                                          CINCINNATI         OH    45248‐2883
NEIL M BARDACH                                       2989 NATOMA ST                                                                                  MIAMI              FL    33133‐3206
NEIL M DELMAN                                        2 BUCKS PATH                                                                                    EAST HAMPTON       NY    11957
NEIL M GOLUB                                         1021 ROSENDALE RD                                                                               NISKAYUNA          NY    12309
NEIL M GOODMAN                                       129 HESKETH ST                                                                                  CHEVY CHASE        MD    20815‐4222
NEIL M HANDLEY                                       3814 REAVES RD                                                                                  HOKES BLUFF        AL    35903‐6871
NEIL M KIRSCHNER & LINDA S KIRSCHNER JT TEN          5046 WHETSTONE ROAD                                                                             COLUMBIA           MD    21044‐1530
NEIL M LEFF                                          5 WINDWARD LANE                                                                                 SCARSDALE          NY    10583‐7525
NEIL M MACKAY                                        18 JOSEPH WAY                                                                                   ELLSWORTH          ME    04605‐2783
NEIL M POMPIAN & MYRA B POMPIAN JT TEN               7030 PALAZZO REALE                                                                              BOYNTON BEACH      FL    33437
NEIL M RUSSETT JR                                    7006 E JENSEN ST UNIT 107                                                                       MESA               AZ    85207‐2836
NEIL MACKINNON JR                                    29921 BOCK                                                                                      GARDEN CITY        MI    48135‐2306
NEIL MACVICAR & CHERYL M MACVICAR JT TEN             3515 OBSERVATORY LANE                                                                           HOLT               MI    48842‐9429
NEIL MC DERMOTT                                      163 WILTON DR                                                                                   LOS ANGELES        CA    90004‐4907
NEIL N FAHMY TR SAMIA F FAHMY TRUST UA 09/07/89      17710 FOREST PARK LN                                                                            SPRING             TX    77379‐8761

NEIL O FREER                                         2848 LITCHFIELD RD                                                                              SHAKER HEIGHTS     OH    44122
NEIL O TEED                                          2423 SEYMOUR RD                                                                                 SWARTZ CREEK       MI    48473‐9752
NEIL O'BOYLE                                         3580 W REDSTONE ROAD                                                                            ST LOUIS           MI    48880‐9104
NEIL P CORNWELL                                      3807 CEDAR DR                                                                                   BALTIMORE          MD    21207‐6359
NEIL P GIARDINO                                      26 ROBBIN CRESCENT                                                                              ROCHESTER          NY    14624‐1038
NEIL P LUDWIG                                        2809 WHITE RAIL DR                                                                              FUQUAY VARINA      NC    27526‐6684
NEIL P MYERS                                         1231 EL CURTOLA BL                                                                              LAFAYETTE          CA    94549
NEIL P OBRIEN CUST TRENA LEE OBRIEN UGMA IN          1527 CHESTERFIELD AVE                                                                           ANDERSON           IN    46012‐4459
NEIL P PATRICK CUST MATHEW J PATRICK UTMA MA         39 CHILTERN HILL DR                                                                             WORCESTER          MA    01609‐1227

NEIL PATRICK CUST DAVID PATRICK UGMA MA              39 CHILTERN HILL DR N                                                                           WORCESTER          MA    01609‐1227
NEIL PATRICK O'DONELL                                718 BURROUGHS STREET                                                                            PLYMOUTH           MI    48170‐2035
NEIL PATRICK SMITH                                   3077 CASA DEL SOL CIR                  APT 207                                                  CLEARWATER         FL    33761‐2505
NEIL POSTMAN                                         140‐35 BEECH AVE                                                                                FLUSHING           NY    11355‐2857
NEIL R ANDREWS                                       5 INDIAN TR                                                                                     MUNITH             MI    49259‐9763
NEIL R COOPER & MRS TERESA P COOPER JT TEN           7505 MELODIA TERR                                                                               CARLSBAD           CA    92009
NEIL R COSSEY                                        552 OVERVIEW DRIVE                                                                              FRANKLIN           TN    37064‐5558
NEIL R GERRITS TR NEIL R GERRITS TRUST UA 08/30/93   924 FORESTVIEW AVE                                                                              PARK RIDGE         IL    60068‐2112

NEIL R HAHN                                          162 KIMBROOK DR                                                                                 ROCHESTER          NY    14612‐3347
NEIL R NIELSEN & AGNES NIELSEN JT TEN                914 ROUTE 507                                                                                   GREENTOWN          PA    18426‐3704
NEIL R RASCHE                                        13801 RANDY LN                                                                                  MILFORD            MI    48380‐1339
NEIL R RITZOW                                        3770 N 99TH ST                                                                                  MILWAUKEE          WI    53222‐2422
NEIL R SARLES                                        4264 E MAYVILLE RD                                                                              SILVERWOOD         MI    48760‐9705
NEIL R SEAWARD                                       3019 PINEHILL PL                                                                                FLUSHING           MI    48433‐2428
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Name                                            Address1                              Address2             Address3          Address4          City               State Zip

NEIL R VILDERS                                  13 HARDING ST                                                                                  ROCHESTER          NH    03867‐3722
NEIL R WILLIAMS                                 14 HAWKS XING                                                                                  FALMOUTH           ME    04105‐2848
NEIL ROBERT LONGO                               355 WORCESTER DR                                                                               CAMBRIA            CA    93428
NEIL ROY GOLOFF                                 942 WESLEY AVENUE                                                                              HUNTINGDON         PA    19006‐8622
                                                                                                                                               VALLEY
NEIL S FERRAIUOLO                               736 E UNADILLA ST                                                                              PINCKNEY           MI    48169‐9049
NEIL S GOODMAN                                  33 GATES CIR                                                                                   BUFFALO            NY    14209‐1197
NEIL S OLSON                                    1305 K ST                             APT 225                                                  BEDFORD            IN    47421‐3242
NEIL S PROCTOR & LINDA L PROCTOR JT TEN         1126 COPPERFIELD DR                                                                            GEORGETOWN         IN    47122‐9081
NEIL S RHODES                                   3 QUINCY LANE                                                                                  WHITE PLAINS       NY    10605‐5431
NEIL S RISH JR                                  2553 LOWER GREENS PL                                                                           VIRGINIA BEACH     VA    23456‐3592
NEIL SEVERN                                     12230 W WASHINGTON                                                                             MT MORRIS          MI    48458‐1514
NEIL SHAFRAN                                    164 OLD FOREST HILL RD                TORONTO ON                             M6C 2G8 CANADA
NEIL SHEDDAN                                    3808 MANORWOOD RD                                                                              AUSTIN             TX    78723
NEIL SIGNO                                      1170 FOSTER CITY BLVD STE 216                                                                  FOSTER CITY        CA    94404‐3316
NEIL SNOOK                                      6436 SPICED BUTTER RUM STREET                                                                  N LAS VEGAS        NV    89084‐1328
NEIL STANTON FITZGERALD                         407 FRANKLIN AVE APT 3A                                                                        RIVER FOREST       IL    60305‐1743
NEIL STEVEN FRUMAN                              3466 MT DIABLO BLVD STE C‐104                                                                  LAFAYETTE          CA    94549‐3952
NEIL T DWYER                                    126 MOUNTAINVIEW CT                                                                            SUGARLOAF          PA    18249‐3330
NEIL T FLOOD                                    2115 N PONTIAC DR                                                                              JANESVILLE         WI    53545‐0659
NEIL T NIEROWIECZ                               21506 KNIGHTON RUN                                                                             ESTERO             FL    33928‐3285
NEIL TELL                                       7148 MARIANA COURT                                                                             BOCA RATON         FL    33433
NEIL THOMAS                                     12471 FIFTH SIDE ROAD                 RR 3                 GEORGETOWN ON     L7G 4S6 CANADA
NEIL TRAINOR                                    1675 CONCORDIA STREET                                                                          WAYZATA            MN    55391‐9317
NEIL TWENTER MOTORS LTD                         ATTN NEIL TWENTER MOTORS              2400 INDUSTRIAL DR                                       LEBANON            MO    65536‐4514
NEIL V GAVIN                                    2917 W 11TH ST                                                                                 ANDERSON           IN    46011‐2428
NEIL V REED                                     10230 SAN ANSELMO                                                                              SOUTH GATE         CA    90280‐5625
NEIL W DALY                                     135 DENMAN RD                                                                                  CRANFORD           NJ    07016‐2932
NEIL W FERGUSON                                 715 E MAGILL AVE                                                                               FRESNO             CA    93710
NEIL W MELVIN                                   PO BOX 1685                                                                                    KODAK              TN    37764‐7685
NEIL W MILLER                                   915 CANDELA LN                                                                                 GRAND LEDGE        MI    48837‐2240
NEIL W MOYNIHAN                                 1221 VIEWMONT DRIVE                                                                            SCHENECTADY        NY    12309
NEIL W MOYNIHAN TR UW VIVIAN M VERCHEREAU       704 UNION ST                                                                                   SCHENECTADY        NY    12305‐1505
TRUST RESIDUAL I
NEIL W MOYNIHAN TR UW VIVIAN M VERCHEREAU       704 UNION ST                                                                                   SCHENECTADY        NY    12305‐1505
TRUST RESIDUAL II
NEIL W SOMMER                                   1300 ADAMS AVE                        APT 15H                                                  COSTA MESA         CA    92626‐8317
NEIL W WHITE JR                                 PO BOX 1822                                                                                    TUPELO             MS    38802‐1822
NEIL WILLIAM TERJESEN                           424 WASHINGTON ST                                                                              TOMS RIVER         NJ    08753‐6743
NEIL WILSON                                     1910 S 46TH                                                                                    FT SMITH           AR    72903‐3135
NEIL YELLIN                                     3156 WYNSUM AVENUE                                                                             MERRICK            NY    11566‐5546
NEIL ZALES CUST BRUCE ZALES UGMA MI             1992 BENT TREE TRAIL                                                                           BLOOMFIELD HILLS   MI    48302‐1704

NEILEEN A LEE                                  12911 AZALEA CREEK TRAIL                                                                        HOUSTON            TX    77065‐3211
NEILL A HARTLEY & ROBIN R HARTLEY JT TEN       250 BROOKLINE BLVD                                                                              HAVERTOWN          PA    19083‐3921
NEILL A TANIGUCHI                              637 WOODSIDE CT                        AIRDRIE AB                             T4B 2W2 CANADA
NEILL R KOHLER                                 779 GREENDALE AVENUE                                                                            NEEDHAM            MA    02492‐4409
NEILLI ANN WALSH                               120 WOODRIDGE DR                                                                                KENNETT SQUARE     PA    19348‐2676
NEILSON BROWN CUST NEILSON SCHUYLER BROWN      241 NACOOCHEE DR NW                                                                             ATLANTA            GA    30305‐4107
UGMA NC
NEILUS W SWANIGAN                              26759 WATERVIEW DR                                                                              WARSAW             MO    65355‐4340
NEITA A MC VEIGH                               63 ONTARIO ST                                                                                   LOCKPORT           NY    14094‐2832
NELANIE A GANN & PERRY N GANN JT TEN           850 SECOND ST                                                                                   HERNOON            VA    20170‐3238
NELDA A KING                                   33809 FOUNTAIN BLVD                                                                             WESTLAND           MI    48185‐1407
NELDA A KNIGHT TOD KAREN D BLUMENTRITT SUBJECT 1235 PLATEAU DR                                                                                 DUNCANVILLE        TX    75116‐4207
TO STA TOD RULES
NELDA B STUCKMEYER TR NELDA B STUCKMEYER TRUST 8823 KAMMERER RD                                                                                ST LOUIS           MO    63123‐6712
UA 01/02/91
NELDA B TOUSSAINT                              CULVERT ROAD                                                                                    MEDINA             NY    14103
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Name                                              Address1                              Address2             Address3          Address4          City              State Zip

NELDA F MCMULLEN                                  12405 SW 4TH ST                                                                                YUKON             OK    73099‐6109
NELDA G DOUGLAS                                   1311 SMITH LAKE ROAD NE                                                                        BROOKHAVEN        MS    39601‐9512
NELDA GUST & NOLA R SOLT JT TEN                   4725 S LINKE RD                                                                                GREEN ACRES       WA    99016‐9719
NELDA J LUCAS                                     1531 JERICHO RD                                                                                JACKSON           MI    49203‐4986
NELDA K BOULTINGHOUSE                             407 LAKELAND DR                                                                                WEST MONROE       LA    71291‐9553
NELDA M SMITH                                     3503 RAINTREE DR                                                                               FLOWER MOUND      TX    75022‐6316
NELDA MAE WALLACE                                 333 JOHNSON GROVE RD SW                                                                        BOGUE CHITTO      MS    39629‐9393
NELDA R SCHUMACHER TR NELDA R SCHUMACHER          3221 E BALDWIN RD                     APT 331                                                  GRAND BLANC       MI    48439‐7357
LIVING TRUST UA 10/13/99
NELDA V COOMBS & DOUGLAS F COOMBS JT TEN          193 GOLDMINE LANE                                                                              OLD BRIDGE        NJ    08857‐3329
NELDA WEBB                                        1730 EXECUTIVE DR                                                                              KOKOMO            IN    46902‐3278
NELDON V WHITTY & ALAN B WHITTY JT TEN            200 RIDGEHILL DR                                                                               HOPKINSVILLE      KY    42240
NELENE S PANNELL                                  PO BOX 101                                                                                     BOONEVILLE        MS    38829‐0101
NELIDA BHARADWAJ                                  33 MORRIS RD                                                                                   CLIFTON           NJ    07012
NELIDA T DUTILLY                                  5520 NORTH IROQUOIS AVE                                                                        GLENDALE          WI    53217‐5014
NELL A BRADLEY                                    2 STATE PARK DR                                                                                TITUSVILLE        NJ    08560‐1111
NELL B VAN HOOSE                                  4051 GRAYTON DRIVE                                                                             NEW PORT RICHEY   FL    34652‐5708

NELL C LUCIUS & WILLIAM C LUCIUS JT TEN         203 SKYVIEW DRIVE                                                                                GREENVILLE        SC    29607‐3061
NELL ERWIN DANIEL                               10006 HIGHWAY 195N                                                                               JASPER            AL    35503‐3009
NELL H HART                                     5440 GGO DRIVE                                                                                   GREENSBORO        NC    27406
NELL J EVANS                                    1119 JUPITER ST                                                                                  GADSDEN           AL    35901‐5046
NELL L BOYCE                                    1823 MONROE ST NW                                                                                WASHINGTON        DC    20010‐1014
NELL L HART                                     125 WINONA                                                                                       HIGHLAND PARK     MI    48203‐3337
NELL LINDOW                                     24345 BOSTON                                                                                     DEARBORN          MI    48124‐3115
NELL LOUISE ALLEN                               716 CORNWALLIS DR                                                                                MOUNT LAUREL      NJ    08054‐3219
NELL M BICKERS                                  PO BOX 111                                                                                       DALLAS            GA    30132‐0003
NELL M DURAND                                   8141 BROWN BRIDGE RD                                                                             COVINGTON         GA    30014‐3070
NELL PERRY BYRUM TR U‐AGRMT 04/22/85 NELL PERRY 5365‐43 AZTEC DR                                                                                 LA MESA           CA    91942‐2112
BYRUM
NELL R CUMMINGS                                 291 HARPER RD                                                                                    CLARKSVILLE       TN    37043‐6221
NELL R LOE                                      4611 DUSK MEADOW DR                                                                              CARROLLTON        TX    75010‐2069
NELL RILEY                                      PO BOX 733                                                                                       MOSS BEACH        CA    94038‐0733
NELL STAFF                                      406 E NASHVILLE AVE                                                                              ATMORE            AL    36502‐2538
NELL STAUCH                                     4506 RICHMOND AVE                                                                                HOUSTON           TX    77027‐6710
NELL W DARROCH                                  1807 ELM CREST DR                                                                                ARLINGTON         TX    76012‐1908
NELL WISDOM CANSLER                             APT 320                                 1323 QUEENS ROAD                                         CHARLOTTE         NC    28207‐2165
NELLA DYKSTERHOUSE TR REVOCABLE TRUST 09/26/90 930 EDISON NW                            RM 207                                                   GRAND RAPIDS      MI    49504‐3985
U‐A NELLA DYKSTERHOUSE
NELLA J CLAY                                    908 CUSTER STREET                                                                                MONROE            MI    48161‐1349
NELLA M MARTURANO                               65 WESTBROOK DR                                                                                  TOMS RIVER        NJ    08757‐4739
NELLA SANACORY                                  30 TRACY DR                                                                                      FORDS             NJ    08863‐1023
NELLA ST JOHN                                   1787 UNIVERSITY                                                                                  FERNDALE          MI    48220‐2844
NELLAPALLI SUBRAMANIAN                          1070 NASH DR                                                                                     CELEBRRATION      FL    34747‐4319
NELLE GRIFFIN MC PHERSON                        26 WOODLAND WAY CIR                                                                              GREENVILLE        SC    29601‐3824
NELLE M JUTT & ANTHONY J JUTT JT TEN            47 BATES RD                                                                                      WESTFIELD         MA    01085‐2543
NELLE R LONGFRITZ                               531 BLUE BIRD RIDGE                     ASHEBILLE                                                ASHEVILLE         NC    28804
NELLI MITCHELL‐CHAPPELLE                        345 HIGHLAND AVE                                                                                 ROCHESTER         NY    14620‐3027
NELLIE A BLETNER                                110 MCCACKNEY DR                                                                                 RICHLANDS         NC    28574‐6391
NELLIE A CHILNER                                1292 KRA NUR DR                                                                                  BURTON            MI    48509‐1631
NELLIE A HORNBACHER & DARYL D HORNBACHER JT TEN 8218 EVERETT WAY                                                                                 ARVADA            CO    80005‐2209

NELLIE A J MOFIELD                                5530 MONTERREY ROAD                                                                            CRESTVIEW         FL    32539‐8542
NELLIE A LYONS ALAN E LYONS & NANCY A FALLON JT   935 FRANKLIN ST                                                                                WHITMAN           MA    02382‐2537
TEN
NELLIE A PAPA                                     1916 W 6TH ST                                                                                  WILM              DE    19805‐3008
NELLIE A WAGNER                                   52 ALBEMARLE ST                                                                                BUFFALO           NY    14207‐1308
NELLIE A WAGNER & RANDY M WAGNER JT TEN           52 ALBEMARLE ST                                                                                BUFFALO           NY    14207‐1308
NELLIE ANN BUSH                                   7650 RIVERSIDE DRIVE R #3                                                                      MANISTEE          MI    49660‐9309
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NELLIE B BROWN                                     3450 PENFIELD ROAD                                                                                  COLUMBUS         OH    43227‐3749
NELLIE B FILIPETTI                                 MIDDLE STREET 830                          APT 14                                                   BRISTOL          CT    06010‐7438
NELLIE B FLOYD                                     417 E STEWART AVE                                                                                   FLINT            MI    48505‐3421
NELLIE B GIBB                                      4312 AVE M                                 ENSLEY                                                   BIRMINGHAM       AL    35208‐1817
NELLIE B LANG                                      3274 N CONTENTNEA ST                                                                                FARMVILLE        NC    27828‐1479
NELLIE B LIKENS                                    3305 E 5TH ST                                                                                       ANDERSON         IN    46012‐3903
NELLIE BERRY                                       ATTN NELLIE BERRY STANLEY                  1206 BRYSON RD                                           COLUMBUS         OH    43224‐2008
NELLIE BLISS                                       1039 WEGMAN RD                                                                                      ROCHESTER        NY    14624‐1530
NELLIE BOONE                                       35 FOREST HILL                                                                                      WILLIAMSVILLE    NY    14221‐3216
NELLIE BROOKS JACKSON                              616 ROANOKE ST                                                                                      BIRMINGHAM       AL    35224‐1617
NELLIE C COLLINS                                   220 RENWOOD PLACE                                                                                   SPRINGBORO       OH    45066‐1070
NELLIE C KIRKSEY                                   PO BOX 638                                                                                          IVERNESS         FL    34451‐0638
NELLIE CARPER                                      8801 MILLERSBURG RD                                                                                 GAMBIER          OH    43022‐9627
NELLIE CHANDLER                                    3595 PRICES CREEK RD                                                                                BURNSVILLE       NC    28714‐5953
NELLIE D BAILEY                                    41 RAYS ROAD                                                                                        LIVONIA          GA    30553‐3938
NELLIE D BAILEY & JAMES E BAILEY JT TEN            41 RAYS ROAD                                                                                        LIVONIA          GA    30553‐3938
NELLIE D GREAVES                                   7382 WALKER AVE                                                                                     GLOUCESTER       VA    23061‐6100
NELLIE D OSBORNE                                   8211 MARWOOD RD                                                                                     RICHMOND         VA    23235‐6215
NELLIE DAVIS JAMES                                 2428 CENTRAL AVE                                                                                    ANDERSON         IN    46016‐5122
NELLIE DEMUS & NICK DEMUS JR JT TEN                104 MAPLE ST                               BOX 263                                                  WORTHINGTON      WV    26591‐0263
NELLIE DIETZER MELSON                              731 LONGFELLOW RD                                                                                   ANDERSON         IN    46011‐1823
NELLIE E CHURCH                                    345 S STONE ST                                                                                      DECATUR          IL    62521‐2841
NELLIE E DOUGLAS                                   2970 PENSACOLA DR                                                                                   CINCINNATI       OH    45251‐2250
NELLIE E HURLEY & JOHN P HURLEY JT TEN             27393 PAULINE DRIVE                                                                                 BONITA SPRINGS   FL    34135‐7145
NELLIE E RUNNE TR UA 01/22/93 NELLIE E RUNNE TRUST 2603 DRIFTWOOD LANE                                                                                 ROCKFORD         IL    61107‐1114

NELLIE E WATSON & CHARLES WATSON JT TEN                414 BUCKINGHAM LN                                                                               ANDERSON         IN    46013‐4421
NELLIE F DUBOIS                                        1602 E WAID AVE                                                                                 MUNCIE           IN    47303‐2375
NELLIE F OSBORNE                                       6350 HOMESTEAD RD                                                                               MORGANTOWN       IN    46160‐8895
NELLIE G PRITCHARD                                     2300 VALE DR                                                                                    DAYTON           OH    45420
NELLIE G SHOFFNER                                      3020 WALTON WAY EXT                                                                             AUGUSTA          GA    30909‐3442
NELLIE GRAMS                                           20080 POLLYANNA DR                                                                              LIVONIA          MI    48152‐1275
NELLIE GRECO                                           28 ANDRE AVE                                                                                    EDISON           NJ    08817‐3216
NELLIE GYNNON BLACK CUST AMY DAWN DUGHETTI             5505 PARKER CITY ROAD                                                                           CREAL SPRINGS    IL    62922‐1217
UGMA IN
NELLIE H EWING                                         1001 CHEROKEE RD                                                                                AIKEN            SC    29801‐8283
NELLIE H LASLIE TR UA 01/15/2008 NELLIE H LASLIE REV   953 LAKESHORE PARKWAY                                                                           BRANDENBURG      KY    40108
LIVING TRUST
NELLIE H SINDLINGER                                    405 OSBORNE LANE                                                                                WALLINGFORD      PA    19086‐6417
NELLIE I BABEL & BARBARA J EDDY JT TEN                 115 S BEACH ST                                                                                  BANCROFT         MI    48414‐9799
NELLIE J KIDD                                          15740 GREEN LANE AVE                                                                            LIVONIA          MI    48154‐3488
NELLIE J RIALS                                         1974 E LINCOLN RD SE                                                                            BROOKHAVEN       MS    39601‐8784
NELLIE J WILLOUGHBY & JENNIFER WILLOUGHBY JT TEN       7202 W AUTUMN STREET                                                                            HOMOSASSA        FL    34446‐1720

NELLIE J WILLOUGHBY & LESLEY J WILLIAMS JT TEN         7202 W AUTUMN STREET                                                                            HOMOSASSA        FL    34446‐1720

NELLIE J WILLOUGHBY & SARAH WILLIAMS JT TEN            7202 W AUTUMN STREET                                                                            HOMOSASSA        FL    34446‐1720
NELLIE J WOOD                                          5933 MARIETTA ROAD                                                                              CHILLICOTHE      OH    45601‐9194
NELLIE JAMISON                                         2633 LASALLE ST                                                                                 CHARLOTTE        NC    28216‐4413
NELLIE JANE FOURNIER                                   4114 S DUNBAR POINT                    RAYDON                                                   MAPLETON         IL    61547‐9521
NELLIE JOHNSON                                         44 COLORADO ST                                                                                  MATTAPAN         MA    02126‐1426
NELLIE K TABOR                                         12864 HRATH RD                                                                                  CHESTERLAND      OH    44026‐3222
NELLIE KAY LAUGHLIN                                    541 PIPER DRIVE                                                                                 MADISON          WI    53711‐1318
NELLIE KIDD                                            612 ELBOW BEND BLVD                                                                             GREENWOOD        IN    46142‐8308
NELLIE L BEAUBIEN                                      1560 S HARRIS RD                                                                                YPSILANTI        MI    48198‐6519
NELLIE L GILL                                          4300 CARDWELL AVE                      APT 110                                                  NOTTINGHAM       MD    21236‐4018
NELLIE L MEADOWS & ERNEST W MEADOWS JT TEN             19 HEMLOCK COURT PASS                                                                           OCALA            FL    34472‐4148

NELLIE L METHENY                                       3990 N PARK EXT                                                                                 WARREN           OH    44481
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NELLIE LOU TANNER                                 2245 E MOORE RD                                                                                 SAGINAW         MI    48601‐9343
NELLIE LOU TANNER & CLAUDE A TANNER JT TEN        2245 E MOORE RD                                                                                 SAGINAW         MI    48601‐9343
NELLIE LYMAN                                      1226 DORNE DR                                                                                   BALLWIN         MO    63021‐6820
NELLIE M BLACK                                    2038 SANDPEBBLE ST                                                                              STOCKTON        CA    95206‐5726
NELLIE M BOZER & CARLEEN J WILLIAMS JT TEN        640 N 26TH STREET                                                                               SAGINAW         MI    48601
NELLIE M JESTER                                   219 EAGLECROFT RD                                                                               WESTFIELD       NJ    07090‐4316
NELLIE M MANGES                                   800 HAUSMAN RD                         APT 147                                                  ALLENTOWN       PA    18104‐9395
NELLIE M MCCORD                                   405 S MORRISON RD                      APT 267                                                  MUNCIE          IN    47304‐4031
NELLIE M MCKELVY                                  7700 SOMERVILLE DR                                                                              DAYTON          OH    45424‐2242
NELLIE M OWENS                                    4 HARPER AVE                                                                                    WATERBURY       CT    06705‐1224
NELLIE M SQUIRES                                  1210 DAKIN ST                                                                                   LANSING         MI    48912‐1916
NELLIE M TUTTLE                                   12701 W COUNTY ROAD 950 N                                                                       GASTON          IN    47342‐9069
NELLIE M VANNOORDENNEN & GERARD P                 38770 TOWNHALL                                                                                  HARRISON TWP    MI    48045
VANNOORDENNEN & CATHIE O'CONNOR
NELLIE M WARFEL                                   451 NORA CT                                                                                     WALNUT CREEK    CA    94597‐6826
NELLIE M WATERS                                   4139 MAR MOOR DR                                                                                LANSING         MI    48917‐1613
NELLIE MARESKI                                    687 HUMPHREY                                                                                    BIRMINGHAM      MI    48009‐1720
NELLIE MARIE GRAHAM                               8022 KRAFT S E                                                                                  CALEDONIA       MI    49316‐9403
NELLIE MARIE KNORR TR UA 04/13/84 M‐B NELLIE      513 AVENIDA PRESIDIO                                                                            SAN CLEMENTE    CA    92672‐2224
MARIE KNORR
NELLIE MC MILLAN & VICKI MC MILLAN JONES JT TEN   118 FARMBROOK TRL                                                                               STOCKBRIDGE     GA    30281‐1152

NELLIE MCFINLEY                                   1307 CAROLINA AVE                                                                               CINCINNATI      OH    45237‐5517
NELLIE N COOK                                     6025 COUNTRY ESTATES DR                                                                         TIPP CITY       OH    45371‐2001
NELLIE N RAMEY TOD JOYCE A PALUMBO SUBJECT TO     786 E 156 ST                                                                                    CLEVELAND       OH    44110‐3070
STA TOD RULES
NELLIE P SMITH                                    PO BOX 744                                                                                      SHALLOTTE       NC    28459‐0744
NELLIE P WRIGHT & LEA S WRIGHT JR & RITA W        902 CHILDRESS DR                                                                                MARTINSVILLE    VA    24112‐4906
SHELTON JT TEN
NELLIE PHARES                                     893 BAUGHMAN ST                                                                                 AKRON           OH    44320‐2207
NELLIE R HART TR UNDER DECLARATION OF TRUST       C/O WILLIAM A HART JR                  P O BOX 1413                                             HOLLISTER       CA    95023‐1413
10/23/92
NELLIE R HART U‐W WILLIAM A HART                  P O BOX 1413                                                                                    HOLLISTER       CA    95023‐1413
NELLIE R RAINWATER                                1000 E AVENUE J                        # 43                                                     LAMPASAS        TX    76550‐1211
NELLIE R TINTORRI                                 300 WHITTIER                                                                                    GEORGETOWN      IL    61846‐1654
NELLIE S GASKILL                                  520 TRINITY AVE                                                                                 TRENTON         NJ    08619‐2350
NELLIE S ORR                                      PO BOX 27                                                                                       STANDISH        ME    04084‐0027
NELLIE S SONOVICK                                 929 BIG OAK ROAD                                                                                MORRISVILLE     PA    19067‐4835
NELLIE S WHITE                                    22 FIRST ST                                                                                     FLORHAM PARK    NJ    07932‐1721
NELLIE STOLL                                      PO BOX 424                                                                                      MARBLE          MN    55764‐0424
NELLIE SUSAN ORR TR UA 01/22/04 WILLIAM HARRY     PO BOX 27                                                                                       STANDISH        ME    04084
SELLE TRUST
NELLIE TRENT                                      PO BOX 24                                                                                       JUSTICE         WV    24851‐0024
NELLIE V BLESSETT                                 2601 COHASSETT CT                                                                               DECATUR         GA    30034‐2713
NELLIE W ADCOCK                                   5312 MONROE                                                                                     DEARBORN HT     MI    48125‐2527
NELLIE WENZEL & RUDOLPH WENZEL JT TEN             260 HOFFMAN RD                                                                                  MONTOURSVILLE   PA    17754‐9055
NELLIE WILLOUGHBY & JOSHUA J WILLOUGHBY JT TEN    7202 W AUTUMN STREET                                                                            HOMOSASSA       FL    34446‐1720

NELLIE WILLOUGHBY & JUSTIN B WILLOUGHBY JT TEN    7202 W AUTUMN STREET                                                                            HOMOSASSA       FL    34446‐1720

NELLIE WILLOUGHBY & RACHEL M WILLIAMS JT TEN      7202 W AUTUMN STREET                                                                            HOMOSASSA       FL    34446‐1720

NELLIS L CORLE                                    121 PAVIA RD                                                                                    IMLER           PA    16655‐9219
NELLO A CIAVATTA                                  15 FRENCH CREEK DRIVE                                                                           ROCHESTER       NY    14618‐5271
NELLO DIVINCENZO & EVA DIVINCENZO JT TEN          23853 OAK                                                                                       DEARBORN        MI    48128‐1218
NELLO R ZORTEA                                    PO BOX #265                                                                                     HILLIARD        FL    32046‐0265
NELLO V FERRARA & MARILYN D FERRARA JT TEN        7301 W HARRISON ST                                                                              FOREST PARK     IL    60130‐2016
NELLO WATTS CUST NADINE WATTS UGMA MI             20025 BERG RD                                                                                   DETROIT         MI    48219‐1163
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NELLRE ALTHEA CRAINE TOD SHARON RAE WILBUR        3299 CHEYENNE AVENUE                                                                              BURTON            MI    48529‐1404
SUBJECT TO STA TOD RULES
NELLY M DEFEVER                                   9304 S LAKE LEELANAU DR                                                                           TRAVERSE CITY     MI    49684‐7713
NELLY STEVENS TR UA STEVENS FAMILY TRUST 03/18/86 3346 E AVENUE H10                                                                                 LANCASTER         CA    93535‐2449

NELLY TOLEDO                                       2208 CALLE MCLEARY                                                                               SAN JUAN          PR    00913‐4526
NELMA HARPER                                       PO BOX 172                                                                                       FAIRDALE          WV    25839‐0172
NELMA J MC CALL                                    2589 TAYLORSVILLE                                                                                LENOIR            NC    28645‐9277
NELO WHIDBY                                        5971 DEL CERRO BLVD                                                                              SAN DIEGO         CA    92120‐4517
NELS E NEWMAN                                      3802 MACKLEM AVE                                                                                 NIAGARA FALLS     NY    14305‐1834
NELS J NELSON & KAREN L NELSON JT TEN              3041 VALLEY ROAD                        ROUTE 1              BOX 375 B                           HONOR             MI    49640‐9801
NELSON A JONES                                     1777 MAYER RD                                                                                    ST CLAIR          MI    48079‐2904
NELSON A KRAEMER                                   2776 HWY 307                                                                                     THIBODAUX         LA    70301‐8659
NELSON A MOORE                                     1750 DOTSONVILLE ROAD                                                                            CLARKSVILLE       TN    37042‐6914
NELSON A MOWRY                                     2400 MOLE AVE                                                                                    JANESVILLE        WI    53545‐1443
NELSON A TUTTLE & LILLIAN S TUTTLE JT TEN          136 PINE POINT LANE                                                                              WINTHROP          ME    04364‐9735
NELSON ARRUDA                                      565 HANCOCK ST                                                                                   TIVERTON          RI    02878
NELSON B BURNETT                                   HC2 BOX 2875                                                                                     THEODOSIA         MO    65761
NELSON B HAYHURST                                  302 W RAYMOND AVE                                                                                PENNSBORO         WV    26415‐1051
NELSON B MILLER                                    610 S WEST AVE                                                                                   JACKSON           MI    49203‐1640
NELSON BROWN & RUTH ANN BROWN JT TEN               26648 BETHEL CONCORD RD                                                                          SEAFORD           DE    19973‐6310
NELSON BURNETT                                     BOX 2875                                HC2                                                      THEODOSIA         MO    65761
NELSON C CARTER III                                115 WILLOW ST                                                                                    BLOOMFIELD        NJ    07003‐3228
NELSON C MILLER                                    1308 N 92ND TERRACE                                                                              KANSAS CITY       KS    66112
NELSON C NOBLE & GLORIA NOBLE JT TEN               5477 WESTSHIRE CIRCLE                   UNIT 222                                                 WAUNAKEE          WI    53597‐9097
NELSON C SIMONSON & CAROLINE L SIMONSON JT TEN     9 READING DR                            APT 01                                                   WERNERSVILLE      PA    19565‐2022

NELSON C TYNON                                     1853 JAY ST                                                                                      OGDENSBURG        NY    13669‐2929
NELSON D ADAMS                                     1375 E 19TH AVE                                                                                  APACHE JUNCTION   AZ    85219‐7714

NELSON D BARKER                                    2320 N ELBA ROAD                                                                                 LAPEER            MI    48446‐8029
NELSON D CHARRETTE                                 21911 EDGEWOOD                                                                                   ST CLAIR SHRS     MI    48080‐2001
NELSON D GEE                                       232 HIGH STREET                                                                                  FALL RIVER        MA    02720‐5036
NELSON D HENDRICKSON                               665 FREMONT RD                                                                                   NOTTINGHAM        PA    19362‐9142
NELSON D LAWHON                                    1403 COTTLE COURT                                                                                JOPPA             MD    21085‐1800
NELSON D MARTIN                                    2847 LAGUNA DR                                                                                   DECATUR           GA    30032‐3525
NELSON D STONE                                     4856 LUM RD                                                                                      LUM               MI    48412‐9209
NELSON DONATINI                                    C/O VALENCIA VENZUELA                   PO BOX 9022                                              WARREN            MI    48090
NELSON E BALDWIN                                   PO BOX 11047                                                                                     ROCHESTER         NY    14611‐0047
NELSON E BOWSHER TR NELSON E BOWSHER LIVING        769 CANYON DR                                                                                    LIMA              OH    45804‐3310
TRUST UA 07/03/97
NELSON E EVANS                                     2173 FRIDINGER MILL RD                                                                           WESTMINSTER       MD    21157‐3220
NELSON E KEYSER                                    2928 MAJOR COURT                                                                                 STONE MOUNTAIN    GA    30087‐4121

NELSON E MC LAY                                    512 HENRY C YERGER ST                                                                            HOPE              AR    71801‐6739
NELSON E ROBERSON                                  1801 E 12TH ST                          APT 1613                                                 CLEVELAND         OH    44114‐3541
NELSON E SPENCER CUST AMY L CHICKINI UTMA OH       5087 ALVA AVE NW                                                                                 WARREN            OH    44483‐1207

NELSON E SPENCER CUST JESSICA L CHICKINI UTMA OH   5087 ALVA AVE NW                                                                                 WARREN            OH    44483‐1207

NELSON E SPENCER CUST MICHAEL E SPENCER UTMA OH 5087 ALVA AVE NW                                                                                    WARREN            OH    44483‐1207

NELSON E SPENCER CUST PAULA M SPENCER UTMA OH 5087 ALVA AVE NW                                                                                      WARREN            OH    44483‐1207

NELSON EDMONDS                                     8210 N ST MARTIN                                                                                 DETROIT           MI    48221‐1611
NELSON EDWARD WALTERS                              2101 ELLIOTT DR                                                                                  TALLAHASSEE       FL    32308
NELSON F FREEBURG JR                               9320 GROVE PARK COVE                                                                             GERMANTOWN        TN    38139‐3584
NELSON F HUNTLEY                                   109 BURLINGTON AVE                                                                               WILMINGTON        MA    01887‐3102
NELSON F RUSSELL                                   70 FEARING ST                                                                                    BUZZARDS BAY      MA    02532‐4516
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Name                                              Address1                              Address2             Address3          Address4          City            State Zip

NELSON F ZITTRAUER JR                             4925 LACROSS RD                       STE 215                                                  CHARLESTON      SC    29406‐6513
NELSON G NEWTON                                   1010 E EL ALAMEDA                                                                              PALM SPRINGS    CA    92262‐5816
NELSON G REED                                     201 N MAIN ST                         APT 214                                                  MOUNT VERNON    OH    43050‐2470
NELSON G RUMPEL                                   31068 FAIRFIELD                                                                                WARREN          MI    48093‐1820
NELSON G RUMPEL & SHIRLEY A RUMPEL JT TEN         31068 FAIRFIELD                                                                                WARREN          MI    48093‐1820
NELSON G SCHROTH                                  3574 KIRCHLING ROAD                                                                            HAMILTON        OH    45013‐8505
NELSON H COOPER                                   5659 COUNTY ROAD 93                                                                            MOUNT GILEAD    OH    43338‐9426
NELSON HERNANDEZ                                  1401 83RD ST                                                                                   NORTH BERGEN    NJ    07047‐4221
NELSON J BELLIVEAU CUST NELSON J BELLIVEAU UGMA   18 POND ST                                                                                     DOVER           MA    02030‐2432
MA
NELSON J DION JR                                  24 AUSTIN ST                                                                                   LEOMINSTER      MA    01453‐2145
NELSON J GABBARD & LENA G GABBARD JT TEN          2270 BEAU VIEW                                                                                 MIAMISBURG      OH    45342‐2761
NELSON J KING                                     750 KELLY DR                          # 316                                                    YORK            PA    17404
NELSON J NORRIS                                   1044 BILL BLACK ROAD                                                                           JAMESTOWN       TN    38556‐5068
NELSON J ODO & CLYDE Y ODO JT TEN                 PO BOX 354                                                                                     WAIMEA          HI    96796‐0354
NELSON L COLLINS                                  7410 TROON DR                                                                                  INDIANAPOLIS    IN    46237‐9641
NELSON L HESS                                     15804 CULVER DR                                                                                EAST LANSING    MI    48823‐9437
NELSON L JONES JR                                 8257 HUBBELL                                                                                   DETROIT         MI    48228‐2413
NELSON L KEENEY & MRS MARY R KEENEY JT TEN        1104 MARTON ST                                                                                 LAUREL          MD    20707‐3606
NELSON L KIRKLAND & LINDA L MADSEN JT TEN         7244 BRAY ROD                                                                                  MOUNT MORRIS    MI    48458
NELSON LEE FAUGHNDER                              2606 W FAIRVIEW LN                                                                             MUNCIE          IN    47304‐5825
NELSON LOCKE & IRENE LOCKE JT TEN                 61 SUNSET CIRCLE                                                                               VACAVILLE       CA    95687‐4059
NELSON M BALDWIN                                  9216 LEXY CT                                                                                   RICHMOND        VA    23228‐1500
NELSON M DANIELS & KERRY A CLARK JT TEN           PO BOX 411                                                                                     NEODESHA        KS    66757
NELSON M FUNKHOUSER                               1911 S CANYON RIDGE TRAIL                                                                      SHOW LOW        AZ    85901‐6754
NELSON M HEARD                                    1722 NORTH AVE NW                                                                              ATLANTA         GA    30318‐6441
NELSON MCMURRAY                                   31 WEST SECOND ST                                                                              W ALEXANDRIA    OH    45381‐1129
NELSON MEREDITH JR                                1 LONE ACRE RD                                                                                 WILMINGTON      DE    19803
NELSON MOORE                                      18894 NW ST RD 16                                                                              STARKE          FL    32091‐8158
NELSON MOSLEY                                     PO BOX 44                                                                                      ELIZABETH       NJ    07207‐0044
NELSON NEAL                                       606 ICONIUM RD                                                                                 WOODBURY        TN    37190‐6801
NELSON O BOLZMAN                                  11090 HURON LINE RD                                                                            UNIONVILLE      MI    48767‐9628
NELSON QUINNEY JR                                 1828 WARSAW ROAD 85                                                                            ALICEVILLE      AL    35442‐7220
NELSON R CRAIG                                    5609 S 200 E                          #S                                                       WARREN          IN    46792‐9496
NELSON R HALLADAY                                 9 ELM ST                                                                                       BELLOWS FALLS   VT    05101‐1227
NELSON R HOLMES                                   120 OTTAWA DR                                                                                  PONTIAC         MI    48341‐1634
NELSON R KIMBALL & MARILYN S KIMBALL JT TEN       4335 TOKOSE PL                                                                                 LAKELAND        FL    33811‐1435
NELSON R KIRKLAND                                 7244 BRAY ROADE                                                                                MOUNT MORRIS    MI    48458
NELSON R MUMA                                     5821 NEWBERRY ROAD                                                                             DURAND          MI    48429‐9116
NELSON R RUFF                                     709 WEST ST                                                                                    HARRISONVILLE   MO    64701‐2148
NELSON R WINKLE & PATRICIA D WINKLE JT TEN        1440 PARROT LANE                                                                               SARDINIA        OH    45171‐9581
NELSON ROBERTS CUST PARKER REED ROBERTS UGMA      659 CHESTERFIELD AVE                                                                           BIRMINGHAM      MI    48009‐1221
MI
NELSON RODRIGUEZ III                              1366 WHITE PLAINS RD APT 3D                                                                    BRONX           NY    10462
NELSON S FUNK SR                                  8525 BRICKYARD ROAD                                                                            POTOMAC         MD    20854‐4834
NELSON SOUDER                                     207 W SUMMIT ST                                                                                SOUDERTON       PA    18964‐2054
NELSON T DE NELSON                                680 ROBERTSON RD                                                                               MASON           TN    38049‐6598
NELSON TAMPLIN                                    621 AURORA AVE                                                                                 BOULDER         CO    80302‐7129
NELSON THAD BLANEY                                605 OWEN RD                                                                                    MONONA          WI    53716‐3441
NELSON V LACLAIR                                  1247 BUFFALO SHOALS RD                                                                         STATESVILLE     NC    28677‐8461
NELSON V OLIVEIRA                                 144 STUYVESANT AVE                                                                             KEARNY          NJ    07032‐3745
NELSON V RICH JR & CAROL A RICH JT TEN            5330 DOGWOOD DR                                                                                WHITE LAKE      MI    48383‐4104
NELSON W BIVENS & NORA G BIVENS TR UA 09/27/93    312 DETROIT ST                                                                                 DURAND          MI    48429‐1312
THE BIVENS TRUST
NELSON W KILBOURNE                                4502 NIPIGON DR                                                                                GLADWIN         MI    48624‐9472
NELSON W MACKLEM                                  4734 FISHER RD                                                                                 JEDDO           MI    48032‐8515
NELSON W SCHLUESSLER                              19713 TANGLEWOOD CIR                                                                           CLINTON TWP     MI    48038‐4965
NELSON W WARE                                     5213 LEONE PL                                                                                  INDIANAPOLIS    IN    46226‐1751
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NELSON WENGUER CUST ADAM M WENGUER UTMA FL 2130 NE 211 TERR                                                                                       MIAMI             FL    33179‐1639

NELSON WOOLDRIDGE                                  3735 SOURWOOD TR NW                                                                            CLEVELAND         TN    37312‐2034
NELTON L BAIRD                                     705 A NEWTON DRIVE                                                                             NEWTON FALLS      OH    44444‐1923
NELVA RAE BEAN KRAMP                               1111 MINDA DR                                                                                  AUSTIN            TX    78758‐3920
NELVESTER WILLIAMS                                 3531 SWEET MAGGIE LN                                                                           NAPERVILLE        IL    60564‐8303
NELVIN L KEYS                                      5829 CLEARWATER DR                                                                             MASON             OH    45040
NEMIA S PRADES                                     16 ROTHSAY RD                         THORNHILL ON                           L3T 3J7 CANADA
NEMORIO RUIZ                                       205 COOLIGE AVE                                                                                LEHIGH            FL    33936
NENA E DICKSON                                     98 CENTER                                                                                      PONTIAC           MI    48342‐3023
NENA F PAGE                                        103 MOSHER DR                                                                                  SAINT HELEN       MI    48656‐9202
NENA M FLEMISTER                                   PO BOX 1652                                                                                    PALMETTO          GA    30268
NENA R GOODWIN                                     6651 MIDDLEPOINTE ST                                                                           DEARBORN          MI    48126‐4801
NEOLA WARREN                                       6995 JORDAN RD                                                                                 LEWISBURG         OH    45338
NEOMA A BRIGHTUP                                   1431 52ND SW ST                                                                                WYOMING           MI    49509‐9524
NEOMA SIMPSON                                      28498 PARK CT                                                                                  MADISON HEIGHTS   MI    48071‐3013

NEOMAH BULLOCK                                     10343 S MORGAN                                                                                 CHICAGO           IL    60643‐3001
NEOMI N WYSENSKI                                   ATTN NEOMI E NOVICKI                  12031 PRINCETON RD                                       HUNTSBURG         OH    44046‐9759
NEOSHA MAE MARIE HOUGH                             1605 OAKLAWN AVE                                                                               GREENVILLE        NC    27858‐4626
NEOTA M KOVERMAN                                   8185 MOUNT HOOD                                                                                HUBER HEIGHTS     OH    45424
NERINE F HAMILTON                                  1260 MCDIVITT CT                      APT 2                                                    SAGINAW           MI    48609‐4955
NERMA LEE HILL TR NERMA LEE HILL LIVING TRUST UA   154 E LONGDEN AVE                                                                              ARCADIA           CA    91016
08/24/90
NERMIE LOIS MORGAN                                 14 GREEN ST                                                                                    PONTIAC          MI     48341‐1710
NERVIA B TURNER                                    PO BOX 354                                                                                     CUMMING          GA     30028‐0354
NESBITT MEMORIAL HOSPITAL                          562 WYOMING AVE                                                                                KINGSTON         PA     18704‐3721
NESBY THOMAS JR                                    270 OHM AVE                                                                                    AVONDALE ESTATES GA     30002‐1119

NESBY THOMAS JR & LOIS A THOMAS JT TEN             270 OHM AVE                                                                                    AVONDALE ESTS     GA    30002‐1119
NESTOR J GAULIN                                    85 ELMWOOD ST                                                                                  MILLBURY          MA    01527‐1949
NESTOR L GARCIA                                    8620 BYRON AVE #7A                                                                             MIAMI BEACH       FL    33141‐4862
NESTOR L MOLOCI & PATRICIA A MOLOCI JT TEN         554 CLEARVIEW ROAD                                                                             MANSFIELD         OH    44907‐2717
NESTOR L RODRIGUEZ                                 16055 SW 150TH ST                                                                              MIAMI             FL    33196‐6559
NETA JO NITZ                                       PO BOX 81                             5041 CASTLE RD                                           OTTER LAKE        MI    48464
NETA LEE WIZIG                                     10706 PAGEWOOD DR                                                                              DALLAS            TX    75230‐4467
NETA LOREENE KNOPH CANTWELL                        3340 LANDMARK DR                                                                               MORRISTOWN        TN    37814‐2529
NETA M BARNES                                      PO BOX 459                                                                                     CELINA            TX    75009‐0459
NETA M SCHLOMER                                    4387 BENNETT DR                                                                                BURTON            MI    48519‐1111
NETHER B ADAMS                                     2930 DICKERSON                                                                                 DETROIT           MI    48215‐2447
NETTER RANDOLPH JR                                 2505 NORTH MORRISON RD                                                                         MUNCEE            IN    47304‐5070
NETTIE A ANDERSON                                  4431 WINTHROP AVE                                                                              INDIANAPOLIS      IN    46205‐1973
NETTIE A HENRY                                     1785 FERN ROAD                                                                                 WOODBURY          GA    30293‐2121
NETTIE BLOCK                                       26910 GRAND CENTRAL PKWY APT 28C                                                               FLORAL PARK       NY    11005‐1028
NETTIE CHARKUT & WALTER CHARKUT JT TEN             824 WILKINSON ST                                                                               OWOSSO            MI    48867‐4175
NETTIE COX & FRANK COX JT TEN                      2028 HERITAGE DR                                                                               SANDUSKY          OH    44870‐5157
NETTIE E JACKSON                                   8480 MASON LEWIS RD                                                                            MAYSVILLE         KY    41056‐9294
NETTIE E STEPHENS                                  120 COLUMBIA AVE NE                                                                            AIKEN             SC    29801‐4074
NETTIE F BROWN                                     12659 WASHBURN                                                                                 DETROIT           MI    48238‐3059
NETTIE F WATTS                                     612 KENDALL RIDGE DR                                                                           WEST MONROE       LA    71292‐2170
NETTIE GARNEVICUS                                  411 N MIDDLETOWN RD #315A                                                                      MEDIA             PA    19063‐4404
NETTIE HAMILTON                                    PO BOX 90086                                                                                   PHOENIX           AZ    85066‐0086
NETTIE KAREN DALTON                                1089 ADAMS RD                                                                                  BURTON            MI    48509‐2357
NETTIE L JACKSON                                   11637 FLEMMING COVE DR                                                                         HAMPTON           GA    30228‐3457
NETTIE M BUTLER                                    3940 WARRIOR JASPER ROAD                                                                       WARRIOR           AL    35180‐3124
NETTIE M JOHNSON                                   1818 CAROL ANN AVE                                                                             YPSILANTI         MI    48198‐6231
NETTIE M MILLS                                     4514 DAYVIEW AVE                                                                               DAYTON            OH    45417‐1333
NETTIE MAE STANLEY                                 3940 WARRIOR JASPER ROAD                                                                       WARRIOR           AL    35180‐3124
NETTIE P MCMAHAN                                   9585 US 278 E                                                                                  PIEDMONT          AL    36272‐8345
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NETTIE PIKKEL                                        1165 SOM CENTER RD 204                                                                         MAYFIELD HEIGHTS OH   44124‐2022

NETTIE R BRANIM                                      1359 ARNICA RD                                                                                 DAYTON          OH    45432‐2803
NETTIE R SKINNER                                     2224 HIGH WHEEL DR                    STE 222                                                  XENIA           OH    45385‐5391
NETTIE RICHARDSON                                    1406 E 19TH ST                                                                                 PUEBLO          CO    81001‐2612
NETTIE S ANTILL                                      666 DICKEY AVE NW                                                                              WARREN          OH    44485‐2737
NETTIE SLAYBACK CLARK                                1025 PARK RD                                                                                   ANDERSON        IN    46011‐2315
NETTIE TALLEY DINGERSON                              1297 E 500 N                                                                                   ANDERSON        IN    46012
NETTIE W EDWARDS TR NETTIE W EDWARDS TRUST UA        239 MAIN ST                                                                                    KINGSTON        MA    02364‐1910
06/07/01
NETTIE W HANEY                                       PO BOX 99                                                                                      RED OAK         TX    75154‐0099
NETTIE WILKINSON KNISEL TR NETTIE WILKINSON          27310 LANE ST                                                                                  ST CLR SHORES   MI    48081‐2010
KNISEL TRUST UA 08/30/94
NETTIE ZILINSKI                                      13188 PINE VALLEY DR                                                                           CLIO            MI    48420‐9115
NEVA ANN MEDCALF                                     #347                                  5601 BANDERA                                             SAN ANTONIO     TX    78238‐1979
NEVA BERWEILER & RICHARD J BERWEILER JT TEN          6136 LAKEVIEW LANE                                                                             CASS CITY       MI    48726‐9012
NEVA CLARK                                           C/O JUANITA CLARK SIMON               3601 CLARKS LA PH B                                      BALTIMORE       MD    21215‐2727
NEVA D CHAVOUS & RUSHANN CHAVOUS JT TEN              7697 BRYDEN                                                                                    DETROIT         MI    48210‐1032
NEVA D DAVIS                                         12170 CLIPPER DR                                                                               LAKE RIDGE      VA    22192‐2209
NEVA E O'HARA                                        7622 SANDY BEACH ROAD                                                                          FOND DU LAC     WI    54935
NEVA G AUSTIN                                        201 W MADISON ST                                                                               CAMBRIDGE       WI    53523‐8700
NEVA GENEVIEVE ROBERTSON                             3507 FERNWAY DR                                                                                MONTGOMERY      AL    36111‐3307
NEVA H SHAIN TR NEVA H SHAIN TRUST UA 6/29/98        975 JAMES K BLVD                                                                               PONTIAC         MI    48341‐1818

NEVA J BUTTERFIELD                                   402 S FRANKLIN AVE                                                                             FLINT           MI    48503‐5326
NEVA J JOHNSON                                       7774 E 200 S                                                                                   GREENTOWN       IN    46936‐9138
NEVA J JONES                                         3647 W 9 MILE RD                                                                               IRONS           MI    49644
NEVA J PEEDEN                                        2860 COUNTRY DR 174                                                                            FREMONT         CA    94536‐5370
NEVA J WILLOVER                                      4931 SUNSET DR                                                                                 LOCKPORT        NY    14094‐1826
NEVA L DI NATALE                                     14897 HIX                                                                                      LIVONIA         MI    48154‐4874
NEVA M NOWOSACKI                                     3108 CRESTON AVE                                                                               LANSING         MI    48906‐3103
NEVA MAGEE                                           5203 HARRY STREET                                                                              FLINT           MI    48505‐1741
NEVA R BOWMAN                                        1322 E 86TH ST                                                                                 CLEVELAND       OH    44106‐1018
NEVA R WEATHERLY                                     310 SPRING CREEK DR                   APT 4                                                    HORSEHEADS      NY    14845‐1758
NEVADA COX                                           480 MORMAN RD                                                                                  HAMILTON        OH    45013‐4462
NEVADA MASS                                          19005 CONCHO CIRCLE                                                                            SUN CITY        AZ    85373‐1404
NEVARA SMITH                                         20544 STOUT ST                                                                                 DETROIT         MI    48219
NEVELLA R RODGERS                                    1006 WATERWOOD WAY                                                                             SPRINGBORO      OH    45066‐8184
NEVELLE BURLESON                                     12538 MC DOUGALL                                                                               DETOIT          MI    48212‐2263
NEVENKA D BRESCIC                                    10639 BLUEBERRY HILL DR                                                                        WILLOUGHBY      OH    44094‐5501
NEVENKA N BERA & MICHAEL MILE TIMARAC JT TEN         29349 MALVINA                                                                                  WARREN          MI    48093‐3767

NEVIE O KORTE                                        814 E BEACH DR                                                                                 BROOKLYN        MI    49230‐9226
NEVILLE B BLANKENSHIP                                6662 KESTREL CIRCLE                                                                            FORT MYERS      FL    33912‐1365
NEVILLE C BRUNNWORTH                                 7 SUNRISE                                                                                      ST PETERS       MO    63376‐3647
NEVILLE LAMOTTE                                      11 EAST VIRGINIA AVE                                                                           HAMPTON         VA    23663‐1617
NEVILLE MUNROE                                       30 WHARTON DR                                                                                  CORTLANDT       NY    10567
                                                                                                                                                    MANOR
NEVILLE RUSH RIDGELY III & JOHN NEVILLE RIDGELY JT   154 GIBBS STREET                      APT 439                                                  ROCKVILLE       MD    20850
TEN
NEVIN B TREADAWAY                                    3812 STOCK ROAD                                                                                MONROE          GA    30656‐8602
NEVIN G CHRISTENSEN                                  ATTN NEVIN G CHRISTENSEN              7013 WHISPERING CREEK DR                                 AUSTIN          TX    78736‐1919
NEVIN I WILLARD                                      C/O CARILLON PLAZA PHARMACY           6521 BLUE VALLEY LANE                                    DALLAS          TX    75214‐2712
NEVIN M STEED                                        5312 JOHN THOMAS DR NE                                                                         ALBUQUERQUE     NM    87111‐1936
NEVIN W CHRISTMAN                                    691 N CHAPPLE DAM RD                                                                           GLADWIN         MI    48624‐8737
NEVIN WERKHEISER & AMY L WERKHEISER JT TEN           122 N MAIN ST                         BOX 126                                                  PEARL CITY      IL    61062‐0126
NEVINS D YOUNG                                       19856 MARITIME LANE                                                                            HUNTINGTON      CA    92648‐3014
                                                                                                                                                    BEACH
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NEVLAIN W JOHNSON & EVELYN J JOHNSON JT TEN      7193 SEVERANCE RD                                                                                                CASS CITY         MI    48726‐9368

NEW ENGLAND FISH EXCHANGE                        33 FISH PIER                                                                                                      BOSTON           MA    02210‐2054
NEW LEBANON CEMETERY ASSOCIATION                 C/O LYNDA MOWRY                      221 TENT HILL ROAD                                                           SANDY LAKE       PA    16145‐3811
NEW MEXICO & CO                                  STATE OF NEW MEXICO                  UNCLAIMED PROPERTY UNIT   MANUEL LUJAN SR BLDG   1200 SOUTH ST FRANCIS DRIVE SANTA FE         NM    87505‐4034

NEW YORK LIFE CUST FBO ROBERT RINEBOLT IRA       3903 SE SECOND PLACE                                                                                             CAPE CORAL        FL    33904
NEW YORK STATE COMPTROLLER                       OFFICE OF UNCLAIMED FUNDS            CAPITAL CITY ANNEX        PO BOX 7009                                       ALBANY            NY    12225
NEWBERT T TOWNS                                  4520 CANTON RD                                                                                                   MARIETTA          GA    30066‐1014
NEWBITT MEMORIAL HOSPITAL                        562 WYOMING AVE                                                                                                  KINGSTON          PA    18704‐3721
NEWCASTLE 4‐H GROUP                              C/O MARY CRUMLEY                     RTE 1 BOX 354                                                               FOREST CITY       AR    72335‐9801
NEWELL A TILTON & MRS SHIRLEY P TILTON TEN COM   530 TRAILS END                                                                                                   HOUSTON           TX    77024‐6819

NEWELL F BENTLEY III                             5396 S PICCADILLY                                                                                                W BLOOMFIELD      MI    48322‐1444
NEWELL H SHERIDAN                                4471 WELLAND                                                                                                     W BLOOMFIELD      MI    48323‐1465
                                                                                                                                                                  TWP
NEWELL JONES                                     901 EARL DR                                                                                                      CONNERSVILLE      IN    47331‐1730
NEWELL MC A HAMILTON                             4113 RIVERSIDE DR                                                                                                BRUNSWICK         GA    31520‐4416
NEWELL MITCHELL                                  140 LEDBETTER RD                                                                                                 XENIA             OH    45385‐5327
NEWELL N CARD                                    1298 E DODGE RD                                                                                                  MOUNT MORRIS      MI    48458‐9127
NEWELL N CARD & ARDIS E CARD JT TEN              1298 E DODGE RD                                                                                                  MOUNT MORRIS      MI    48458‐9127
NEWMAN DWIGHT PALMER                             ROUTE 3 BOX 360                                                                                                  SULPHUR SPRINGS   TX    75482‐9699

NEWMAN L WAY & EARLENE S WAY JT TEN              308 LONGVIEW ST                                                                                                  GREENSBORO        NC    27403‐1449
NEWMAN LOWE                                      93 RIKER ST                                                                                                      SALINAS           CA    93901‐2046
NEWSON R ATLAS & MARY K ATLAS JT TEN             6016 DREW AVE SOUTH                                                                                              MINNEAPOLIS       MN    55410‐2734
NEWT B ROWE                                      125 HARIETT ST                                                                                                   LANSING           MI    48917‐3427
NEWT TIPTON                                      1064 ROSEDALE AVE                    #1                                                                          FLINT             MI    48505‐2924
NEWTON A DAVIS                                   2208 QUEENSBURY WAY                                                                                              FORT SMITH        AR    72908‐9130
NEWTON A MC CUTCHEON                             BOX 31                                                                                                           GILBOA            WV    26671‐0031
NEWTON CHRISTIAN CHURCH                          PO BOX 59                                                                                                        NEWTON            MS    39345‐0059
NEWTON D BOGARD                                  3172 STRALEY LANE                                                                                                YOUNGSTOWN        OH    44511‐3355
NEWTON D BOWDAN                                  107 WOODBRIDGE STREET                                                                                            SOUTH HADLEY      MA    01075‐1128
NEWTON E DURLAND                                 426 RIVERVIEW LN                                                                                                 MELBOURNE         FL    32951‐2717
NEWTON FOUNDATION                                                                                                                                                 BRIDGEVILLE       DE    19933
NEWTON G SUMMERS                                 5118 WATERMAN BLVD                   APT 102                                                                     SAINT LOUIS       MO    63108
NEWTON J CALVIN & MRS JUDITH A CALVIN TEN COM    14446 HIGHWAY 6                                                                                                  NAVASOTA          TX    77868‐6368

NEWTON K DEIBERT                                 PO BOX 22                                                                                                        FAIRPLAY          MD    21733
NEWTON K DEIBERT TOD LYNN P DEIBERT SUBJECT TO   PO BOX 23                                                                                                        NEWKINGSTOWN      PA    17072‐0023
STA TOD RULES
NEWTON L VANKOUGHNETT                            PO BOX 685                                                                                                       STERLING HGTS     MI    48311‐0685
NEWTON P JOHNSON                                 2320 MINNIE                                                                                                      LINCOLN PARK      MI    48146‐2587
NEWTON W CARVER III CUST CURTIS GARRETT CARVER   2 LEFLORE CO 33                                                                                                  RULEVILLE         MS    38771‐9710
UGMA MS
NEWTOWN ASSOCIATES INC                           2845 NEWTOWN ROAD                                                                                                ODESSA            NY    14869‐9606
NEYRONE A LONG                                   ATTN NEYRONE LONG CAMPBELL           2024 3RD ST S E                                                             MOULTRIE          GA    31768‐6621
NEYSA E IMUS                                     9220 PORTAGE RD                                                                                                  PORTAGE           MI    49002‐6424
NEYSA J BURNS CUST JALEN R HODGES UTMA MI        3708 EASTHAMPTON DR                                                                                              FLINT             MI    48503
NEYSA J BURNS CUST JULIA C MEARS UTMA MI         3708 EASTHAMPTON DR                                                                                              FLINT             MI    48503
NEYSA J BURNS CUST KENDALL O MEARS UTMA MI       3708 EASTHAMPTON DR                                                                                              FLINT             MI    48503
NEYSA K BRODERICK                                ATTN NEYSA K WERNER                  8303 CHALMERS                                                               WARREN            MI    48089‐2373
NEYSA WADE                                       2631 PARKMAN RD NW APT 98                                                                                        WARREN            OH    44485‐1762
NEZ PERCE LODGE NO 10 AF & AM                    1122 18TH AVENUE                                                                                                 LEWISTON          ID    83501‐3907
NEZZAR EVANS                                     98 MANHART STREET                                                                                                BUFFALO           NY    14215‐3225
NFS CUST FBO DAVID STROOPE IRA                   5711 KLAM RD                                                                                                     COLUMBIAVILLE     MI    48421
NFS CUST FBO DAVID UPTHEGROVE                    11100 GALE RD                                                                                                    OTISVILLE         MI    48463‐9435
NFS CUST FBO GRANT SNEAD IRA                     119 DEETER DR                                                                                                    CLAYTON           OH    45315
NFS CUST FBO JAMES PIWONSKI IRA                  38271 SLEIGH DR                                                                                                  STERLING HTS      MI    48310
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NFS CUST FBO ROY DIETSCH IRA                    1170 THAYER RD                                                                                 ORTONVILLE         MI    48462
NFSC CUST FBO SHANA O SHAW                      39065 WINKLER ST                                                                               HARRISON           MI    48045‐2192
                                                                                                                                               TOWNSHIP
NFSC TR FBO G J EMRICK                          45 E WALNUT ST #B                                                                              FARMERSVILLE       OH    45325‐1134
NFSC TR FBO JOANN K ROACH                       51744 WALNUT DR                                                                                MACOMB             MI    48042‐3545
NFSC TR FBO LINDA I DE LONG IRA UA 10/09/00     1699 VISTA DEL NORTE                                                                           CHINO HILLS        CA    91709‐5181
NFSC TR FBO SANDRA A GADWELL                    417 ANDREWS LN                                                                                 CROSSVILLE         TN    38555
NFSC‐LLC CUST FBO LAWRENCE ROBISON IRA          39643 DETROIT RD                                                                               AVON               OH    44011
NG ENG KIN                                      244 WHITNEY ST                        BLOCKHOUSE BAY       AUCKLAND          NEW ZEALAND
NGA L DEBRULER                                  807 TIPPY DR                                                                                   MARION             IN    46952‐2912
NGAI BUN GOON & SIU MAY GOON JT TEN             170 BAY 22ND ST                                                                                BROOKLYN           NY    11214‐4702
NGEEN KIM WONG EX EST SHIE JUNG WONG            7589 EISENHOWER DR                                                                             YOUNGSTOWN         OH    44512‐5710
NGOC BICH TRAN                                  16431 HAVENPARK                                                                                HOUSTON            TX    77059‐6010
NGOC D PHAM & LAC H PHAM TR NGOC D PHAM FAM 1057 HOWELL HARBOR RD                                                                              CASSELBERRY        FL    32707‐5800
TRUST UA 03/16/00
NGOC PHUOC TRAN                                 6401 ROSELAND DR                                                                               URBANDALE          IA    50322‐3556
NGUEY S LIM & ELLA W LIM TR UA LIM FAMILY TRUST 7415 RIO MONDEGO DRIVE                                                                         SACRAMENTO         CA    95831‐4641
11/06/90
NGUN O WONG                                     358 RICHMOND RD                                                                                RICHMOND HTS       OH    44143‐1401
NGUYEN P NGUYEN                                 1716 HUNTERS TRAIL                                                                             BROWNSBURG         IN    46112‐8868
NHIN T TRAN                                     3520 FAIRHILLS DRIVE                                                                           OKEMOS             MI    48864‐5961
NIALL M MORRISSEY CUST RYAN N MORRISSEY UTMA NY 350 WYONA AVE                                                                                  LINDENHURST        NY    11757

NIALL MALONEY                                   102 WEST ALEXANDEE AVE                                                                         MERCED             CA    95348‐3410
NIALL MORRISSEY CUST KYLE M MORRISSEY UTMA NY   350 WYNOMA AVE                                                                                 LINDENHURST        NY    11757‐5946

NICANOR CANTU JR                                1331 N IRONWOOD DRIVE                                                                          APACHE JUNCTION    AZ    85220‐8632

NICASIA SCHOEN                                  1731 DEL WEBB BLVD W                                                                           SUN CITY CENTER    FL    33573‐5034
NICASIO GOMEZ                                   302 S BOUNDS                                                                                   CARTHAGE           TX    75633‐2954
NICHOLAOS KOSTAKOS & PAULINE KOSTAKOS JT TEN    3‐20 150TH ST                                                                                  WHITE STONE        NY    11357‐1136

NICHOLAS A ALESSANDRONI                         242 GRAY ST                                                                                    ARLINGTON          MA    02476‐6105
NICHOLAS A ARGYROPLE & MRS ANITA ARGYROPLE JT   68 VESTA RD                                                                                    NATICK             MA    01760‐1628
TEN
NICHOLAS A AULISIO                              320 MIAMI AVENUE                                                                               ELYRIA             OH    44035‐7102
NICHOLAS A BELSKY & NANCY A BELSKY JT TEN       12 RTE 12A                                                                                     SURRY              NH    03431‐8102
NICHOLAS A CAMELES                              44 N SHORE AVE                                                                                 DANVERS            MA    01923‐3743
NICHOLAS A CANNAROZZI                           1698 WITT HILL DR                                                                              SPRING HILL        TN    37174‐2466
NICHOLAS A CIAMPA & MRS JEAN C CIAMPA JT TEN    135 SANDFORD AVE                                                                               NORTH PLAINFIELD   NJ    07060‐4347

NICHOLAS A CRISAFI & EVELYN CRISAFI JT TEN      6857 THOMAS DR                                                                                 LIVERPOOL          NY    13088‐5913
NICHOLAS A DELONG                               4530 NORTH APACHE TRAIL                                                                        HERNANDO           FL    34442‐4101
NICHOLAS A DELONG                               PO BOX 38                                                                                      ANTWERP            OH    45813‐0038
NICHOLAS A DI FILIPPANTONIO                     312 AUBURN RD                                                                                  PILESGROVE         NJ    08098
NICHOLAS A KASSANOS                             7774 AUTUMN WOODS DR SE                                                                        ADA                MI    49301
NICHOLAS A KELLY                                12402 LAWRENCE J PKWY                                                                          LANSING            MI    48917‐9715
NICHOLAS A KLASOVSKY                            430 OAKNOLL DR                                                                                 AMHERST            OH    44001‐1936
NICHOLAS A MONELL                               8920 QUANDT                                                                                    ALLEN PK           MI    48101‐1529
NICHOLAS A MUSCENTE                             8 NEW AVE                                                                                      W TRENTON          NJ    08628‐2926
NICHOLAS A PACE                                 21 DUSENBERRY ROAD                                                                             BRONXVILLE         NY    10708‐2403
NICHOLAS A PAPPAS & MONICA PAPPAS JT TEN        411 CHATMAN SQAURE OFFICE PARK                                                                 FREDERICKSBRG      VA    22405
NICHOLAS A PETTS                                1316 PETTS RD                                                                                  FENTON             MI    48430‐1550
NICHOLAS A QUAGLIA                              10150 MUELLER COURT                                                                            NIAGARA FALLS      NY    14304‐3032
NICHOLAS A SHEREVAN                             53532 SHANELLE LN                                                                              SHELBY TOWNSHIP    MI    48315‐2152

NICHOLAS A SHIRILLA                             8362 VAN DRIVE                                                                                 POLAND             OH    44514‐2947
NICHOLAS A TWENTYFIVE                           166 WESTGATE BLVD                                                                              BUFFALO            NY    14224‐4727
NICHOLAS A TWILLIE                              640 S HUMPHREY                                                                                 OAK PARK           IL    60304‐1715
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NICHOLAS A VACCARO                                 1544 E FLORIAN CIRCLE                                                                           MESA            AZ      85204‐5149
NICHOLAS A VIGNOLA & DOROTHY VIGNOLA JT TEN        30 CHESTNUT ST                                                                                  NORTH ARLINGTON NJ      07031‐6502

NICHOLAS A VITALE                                  16043 FRENCH CRK                                                                                FRASER            MI    48026‐5223
NICHOLAS A WARD                                    623 MAIN ST                                                                                     GROVEPORT         OH    43125‐1420
NICHOLAS A ZAPANTIS                                23024 SHAKESPEARE                                                                               EAST DETROIT      MI    48021‐1718
NICHOLAS A ZONA                                    3677 LOCKPORT OLCOTT RD                                                                         LOCKPORT          NY    14094‐1172
NICHOLAS ACHILLES ANAGNOSTIS                       PO BOX 103                                                                                      ESSEX             MA    01929‐0002
NICHOLAS ACKER                                     7870 ARCHBOLD TE                                                                                CABIN JOHN        MD    20818‐1103
NICHOLAS ALEKSANDER SUND                           9717 61ST AVE E                                                                                 PUYALLUP          WA    98373‐1031
NICHOLAS ALIMPICH & MURIEL M ALIMPICH JT TEN       25036 DONALD                                                                                    REDFORD           MI    48239‐3330

NICHOLAS ALLEN WEISER                              3421 GOVERNORS TRL                                                                              DAYTON            OH    45409‐1106
NICHOLAS AMORGANOS                                 841 FARIMONUNT NE                                                                               WARREN            OH    44483
NICHOLAS ANTON TURNER                              6122 WESTLINS AVE                                                                               KALAMAZOO         MI    49009‐9136
NICHOLAS APOSTOLAKIS                               731 TAUNTON RD                                                                                  WILM              DE    19803‐1709
NICHOLAS B DERES                                   23 SHAKER RD                                                                                    CONCORD           NH    03301‐6909
NICHOLAS B MIHALAKIS & ELINOR M MIHALAKIS JT TEN   9337 SOPHIA AVE                                                                                 SEPULVEDA         CA    91343‐2820

NICHOLAS B WEAVER                                  4526 MIRROR LIGHT PLACE                                                                         FORT WAYNE        IN    46804‐6587
NICHOLAS BABCOCK                                   5702 JENNIFER DR W                                                                              LOCKPORT          NY    14094‐6010
NICHOLAS BALKA & JANET J BALKA JT TEN              1905 WOODBRIDGE AVE                                                                             EDISON            NJ    08817‐5125
NICHOLAS BALLOU                                    60 HAMPTON WAY                                                                                  PENFIELD          NY    14526‐1520
NICHOLAS BEDE                                      14102 EAST LINVALE PLACE               APT 212                                                  AURORA            CO    80014
NICHOLAS BEGOVICH                                  136 MIRAMONTE DR                                                                                FULLERTON         CA    92835‐3608
NICHOLAS BERSWICK                                  5 DALEY                                ST CATHARINES ON                       L2M 3H7 CANADA
NICHOLAS BLAMA                                     224 KINGSTON ROAD                                                                               BALTIMORE         MD    21220‐4817
NICHOLAS BLAMA & JULIA BLAMA JT TEN                224 KINGSTON ROAD                                                                               BALTIMORE         MD    21220‐4817
NICHOLAS BLAMA & JULIA BLAMA TEN ENT               224 KINGSTON RD                                                                                 BALTIMORE         MD    21220‐4817
NICHOLAS BODNAR & MRS PATRICIA BODNAR JT TEN       16130 AMBERWOOD ROAD                                                                            DALLAS            TX    75248‐2932

NICHOLAS BOURKE & MARGARET BOURKE JT TEN           6066 PUTNAM AVE                                                                                 RIDGEWOOD         NY    11385‐4555
NICHOLAS BRIAN HAMSTRA                             2180 TIMBERVIEW NE                                                                              GRANDRAPIDS       MI    49525‐1246
NICHOLAS BROOKS                                    61 CORNELL DR                                                                                   DELRAN            NJ    08075
NICHOLAS C ARKWRIGHT                               75 S HOLCOMB RD                                                                                 CLARKSTON         MI    48346
NICHOLAS C BALL JR                                 1020 RIDGEWOOD DR                                                                               SHREVEPORT        LA    71118‐3434
NICHOLAS C CARR                                    943 TALL PINES DR                                                                               TOLEDO            OH    43615‐8333
NICHOLAS C DENSLOW                                 5701 TIFFIN AVE                                                                                 CASTALIA          OH    44824‐9437
NICHOLAS C MCGREE TR NICHOLAS C MCGREE REV         C/O KATLEEN BRENDUM                    408 FOSTER ST                                            RIVER FALLS       WI    54022‐2912
LIVING TRUST UA 09/19/98
NICHOLAS C NAWROCKI                                450 WEST LANE                                                                                   LEWISTON          NY    14092‐1348
NICHOLAS C PSIHARIS                                APT 37                                 123 OLD BELDEN HILL RD                                   NORWALK           CT    06850‐1361
NICHOLAS C RAFTIS                                  1504 BAY RD                            APT 2607                                                 MIAMI BEACH       FL    33139‐3279
NICHOLAS C STEVENS                                 9224 W 86TH PL                                                                                  ARVADA            CO    80005‐1209
NICHOLAS C SVALUTO & MARILYN L SVALUTO JT TEN      2058 WILLOW BEACH ST                                                                            KEEGO HARBOR      MI    48320‐1210

NICHOLAS CANTERA                             GLEN FARMS                                   5 ATKINSON CIRCLE                                        ELKTON            MD    21921‐2017
NICHOLAS CEDRONE CUST ANDREA CEDRONE UGMA MA 10 HAWTHORNE RD                                                                                       WELLESLEY HILLS   MA    02481‐2914

NICHOLAS CEDRONE CUST PAUL CEDRONE UGMA MA         10 HAWTHORNE RD                                                                                 WELLESLEY HILLS   MA    02481‐2914

NICHOLAS CHOMUK                                    239 WESTMONT AVE                                                                                LAVALLETTE        NJ    08735‐2042
NICHOLAS CHOMUK & JEAN S CHOMUK JT TEN             239 WESTMONT AVE                                                                                LAVALLETTE        NJ    08735‐2042
NICHOLAS CIRONE                                    541 NETHERWOOD RD                                                                               UPPER DARBY       PA    19082‐3622
NICHOLAS COLE                                      147 SWANSON ST                                                                                  NEW LEBANON       OH    45345‐9707
NICHOLAS CONVERSO                                  3025 COOMER ROAD                                                                                NEWFANE           NY    14108‐9613
NICHOLAS D BIGGER & GAYLE D BIGGER JT TEN          301 SUNRISE DR                                                                                  FLUSHING          MI    48433‐2125
NICHOLAS D DORMEY                                  2256 W MAPLE AVE                                                                                FLINT             MI    48507‐3506
NICHOLAS D GENNARINO JR                            392 BEADLE ROAD                                                                                 BROCKPORT         NY    14420
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NICHOLAS D HYSMITH                                80 NIKKI LN                                                                                    HENDERSON          TN    38340‐7047
NICHOLAS D MADELINE                               1785 JASON CIRCLE                                                                              ROCHESTER          MI    48306‐3636
NICHOLAS D MORSILLO                               324 EQUINOX TER                                                                                MANCHESTR CTR      VT    05255‐9253
NICHOLAS D PICA                                   20100 GARDEN COURT                                                                             ROSEVILLE          MI    48066‐2214
NICHOLAS D ROBINSON                               20 MAPLE AVE                                                                                   ARMONK             NY    10504‐1836
NICHOLAS DARBY & MRS JOAN DARBY JT TEN            60‐54 84TH ST                                                                                  MIDDLE VILLAGE     NY    11379‐5421
NICHOLAS DAVIS                                    10948 HORSETRACK DR                                                                            JACKSONVILLE       FL    32257
NICHOLAS DECARLO                                  2354 N KENMORE ST                                                                              ARLINGTON          VA    22207‐4485
NICHOLAS DEGIROLAMO                               34 SINE RD                                                                                     EDISON             NJ    08817‐4864
NICHOLAS DELLACALCE                               410 E MAIN ST                         APT 309                                                  MERIDEN            CT    06450‐6045
NICHOLAS DELOUISE                                 9489 CHERRY TREE DR                   APT 102                                                  STRONGSVILLE       OH    44136‐9407
NICHOLAS DERIENZO                                 1 ROCKEFELLER PLZ                     RM 321                                                   NEW YORK           NY    10020‐2134
NICHOLAS DREWNIAK                                 39 DUBONNET DR                                                                                 DEPEW              NY    14043‐4733
NICHOLAS DUREIKO & SOPHIA L DUREIKO & NANCY L     6095 MIDDLE LAKE RD                                                                            CLARSTON           MI    48346‐2047
MCILROY JT TEN
NICHOLAS DZIAMA                                   6571 PARKWOOD DRIVE                                                                            LOCKPORT           NY    14094‐6613
NICHOLAS E BROWN                                  732 STEVISON DR                                                                                SPRINGFIELD        OH    45503‐5031
NICHOLAS E DAVIES                                 8800 MAPLE DR                                                                                  OVERLAND PARK      KS    66207‐2104
NICHOLAS E EDWARDS                                1770 VISTA DE MONTANA                                                                          COTTONWOOD         AZ    86326‐6957
NICHOLAS E GLUTH TR NICHOLAS E GLUTH LIVING TRUST 5250 SW LANDING DRIVE                 102 B1                                                   PORTLAND           OR    97239‐5933
UA 07/25/00
NICHOLAS E KIRCHNER JR                            PO BOX 3463                                                                                    PITTSFIELD         MA    01202‐3463
NICHOLAS E KURZYNSKI                              12187 CEDAR DR                                                                                 LOVELAND           OH    45140‐1842
NICHOLAS E LONCAR                                 2780 GRETCHEN DR N E                                                                           WARREN             OH    44483‐2924
NICHOLAS E PECUCH & KAREN PECUCH JT TEN           410 BAKER ST                                                                                   OLD FORGE          PA    18518‐1802
NICHOLAS E PECUCH & WILLIAM PECUCH JT TEN         410 BAKER ST                                                                                   OLD FORGE          PA    18518‐1802
NICHOLAS E PERNETTI                               25‐12 UNION ST                                                                                 FLUSHING           NY    11354‐1252
NICHOLAS E ZELLO                                  403 S 15TH ST                                                                                  SAN JOSE           CA    95112
NICHOLAS ECONOMIDES                               3106 CAMBA RD                                                                                  JACKSON            OH    45640‐9427
NICHOLAS EKEL                                     6475 STATE RD                                                                                  VASSAR             MI    48768‐9215
NICHOLAS EUGENE COLOSE                            91 CARMEN ROAD                                                                                 BUFFALO            NY    14226‐2116
NICHOLAS F AZZOLINA JR & IRENE B AZZOLINA JT TEN  323 RESERVOIR AVE                                                                              MERIDEN            CT    06451‐2881

NICHOLAS F CHRONIS                                2809 MAYFLOWER DRIVE                                                                           ANTIOCH            CA    94531‐6321
NICHOLAS F CUTRONE                                113 AINSLIE ST                                                                                 BROOKLYN           NY    11211‐3539
NICHOLAS F DONILON                                17 SCRIMSHAW LN                                                                                SACO               ME    04072‐2246
NICHOLAS F JACONETTE                              301 PARKBROOK ST                                                                               SPRING VALLEY      CA    91977‐5722
NICHOLAS F METZGER JR & DORIS J METZGER JT TEN    8586 N 200 W                                                                                   THORNTOWN          IN    46071‐8943

NICHOLAS F MICULKA                                2290 N CENTER                                                                                  BURTON             MI    48509‐1003
NICHOLAS F ORYSZCZAK                              7052 W FRANCES                                                                                 FLUSHING           MI    48433‐8809
NICHOLAS F SACRIPANTI                             2735 HICKORY RD                                                                                TOBYHANNA          PA    18466‐9161
NICHOLAS F TREROTOLA JR                           661 MAIN AVE                                                                                   BAY HEAD           NJ    08742‐5347
NICHOLAS F WURTH                                  9701 KICKAPOO DR                                                                               MUSTANG            OK    73064
NICHOLAS F WURTH & MARLENE C WURTH JT TEN         9701 KICKAPOO DR                                                                               MUSTANG            OK    73064
NICHOLAS FOSTER KNAPP                             10728 PAW PAW DR                                                                               HOLLAND            MI    49424‐9562
NICHOLAS FREEMAN                                  4112 W ROLLING MEADOWS                                                                         DEFIANCE           OH    43512‐9662
NICHOLAS G BENAVIDEZ                              1405 CANTON CIR                                                                                ROSENBERG          TX    77471‐6115
NICHOLAS G CERNIGLIA & DIANA M CERNIGLIA JT TEN   4119 S UNION ST                                                                                INDEPENDENCE       MO    64055‐4557

NICHOLAS G GREGORY & BETHANIA GREGORY JT TEN      2189 OLD LANE                                                                                  WATERFORD          MI    48327‐1334

NICHOLAS G GUZZI                                  131 TRMONT ST                                                                                  MONROE             MI    48162‐2637
NICHOLAS G KOPPMANN                               100 LAMARCK DR                                                                                 SNYDER             NY    14226‐4560
NICHOLAS G OKASINSKI                              1330 BRANDT RD                                                                                 HILLSBOROUGH       CA    94010‐7124
NICHOLAS G SHENDUK & NANCY A SHENDUK JT TEN       39651 PARKLAWN DRIVE                                                                           STERLING HEIGHTS   MI    48313‐4849

NICHOLAS G SIMON                                  7826 GLENEAGLE DRIVE                                                                           KALAMAZOO          MI    49001‐8627
NICHOLAS G SOMMA                                  9785 BARTEL                                                                                    COLUMBUS           MI    48063‐4110
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NICHOLAS G VIDAK TOD ANTHONY VIDAK                  1336 CHESTNUT ST                                                                                     SAN FRANCISCO     CA    94123‐3106
NICHOLAS GAETANO                                    664 HIGHLAND AVE                                                                                     PEEKSKILL         NY    10566‐2337
NICHOLAS GENTILE CUST PETER RICHARD GENTILE         1876 LILLYWOOD LANE                                                                                  FORT MILL         SC    29707
UGMA NY
NICHOLAS GEORGE BENN                                ATTN L GLODEK 20                      20 CHESTERFIELD LODGE   CHURCH HILL    WINCHMORE HILL LONDON
                                                                                                                                 N21 1LW GREAT BRITAIN

NICHOLAS GLUSH                                    4245 BISHOP                                                                                            DETROIT           MI    48224‐2317
NICHOLAS H HATCHETT & CHRISTINE C HATCHETT JT TEN 1514 VIVIAN LANE                                                                                       LOUISVILLE        KY    40205

NICHOLAS H POWELL                                   36340 SE LUSTED RD                                                                                   BORING            OR    97009‐9781
NICHOLAS HOLOWATY II                                264 EDMOND RD                                                                                        JEWETT CITY       CT    06351
NICHOLAS HUNTER OBERLIES                            903 COURTLAND ST                                                                                     GREENSBORO        NC    27401‐1711
NICHOLAS I CHAN                                     5 BEACONSFIELD CT                                                                                    ORINDA            CA    94563‐4203
NICHOLAS I TRUSH                                    877 STONY LAKE CT                                                                                    OXFORD            MI    48371
NICHOLAS IVANOVSKY & MARGARET V IVANOVSKY JT        6213 PARTRIDGE DR                                                                                    VIRGINIA BEACH    VA    23464‐1911
TEN
NICHOLAS J BARTON                                   1110 PROSPECT AVE                                                                                    HARTFORD          CT    06105‐1124
NICHOLAS J BERESCHAK                                226 WILLIAM DR                                                                                       HERSHEY           PA    17033‐1857
NICHOLAS J BODNAR                                   2612 HOPKINS AVE                                                                                     LANSING           MI    48912‐4411
NICHOLAS J BONAMASSA                                324 GRANT AVE                                                                                        MT EPHRAIM        NJ    08059‐1606
NICHOLAS J BUATTI                                   W245S7015 HEATHER CT                                                                                 WAUKESHA          WI    53189‐9350
NICHOLAS J CALVANO & MARGARET A CALVANO JT TEN      2 BEAGLES REST                                                                                       ORMOND BEACH      FL    32174‐2439

NICHOLAS J CAMPISI                                  162 WABASH AVE                                                                                       BUFFALO           NY    14217‐2304
NICHOLAS J CAPOZZI & CAROL LEE CAPOZZI JT TEN       35 MARINER CIRCLE                                                                                    WEST ISLIP        NY    11795‐5023

NICHOLAS J CASTIGLIA CUST CARRIE L CASTIGLIA UGMA   4999 WINDGATE RD                                                                                     LIVERPOOL         NY    13088‐4740
NY
NICHOLAS J CHASSE                                   BOX 332 HIGH ST                                                                                      DAMARISCOTTA      ME    04543‐0332
NICHOLAS J CHOMKO & LYNDA S CHOMKO JT TEN           1775 GEORGIA AVE                                                                                     PALM HARBOR       FL    34683‐4722
NICHOLAS J CONTOS                                   8640 EAST MIDDLETON                                                                                  CORUNNA           MI    48817‐9581
NICHOLAS J CORRALLO                                 1641 HESS ROAD                                                                                       APPLETON          NY    14008‐9649
NICHOLAS J COUZENS                                  PO BOX 2027                                                                                          ROGUE RIVER       OR    97537‐2027
NICHOLAS J CZIWEY                                   PO BOX 563                                                                                           CLARKSTON         MI    48347‐0563
NICHOLAS J DAMICO & MRS MARIE B DAMICO JT TEN       26 HAZEL ST                                                                                          HARRINGTON PARK   NJ    07640‐1306

NICHOLAS J DATILLO & DENISE DATILLO JT TEN          12933 BURGANDY DR                                                                                    SOUTH LYON        MI    48178‐5312
NICHOLAS J DI PAOLO                                 4975 CYPRESS ST                                                                                      WESCOSVILLE       PA    18106‐9413
NICHOLAS J DI SALVO                                 13 IROQUOIS ROAD                                                                                     YONKERS           NY    10710‐5007
NICHOLAS J DIGRAZIO                                 265 MC FARLANE RD 195‐A                                                                              COLONIA           NJ    07067‐3420
NICHOLAS J DOP                                      6067 W GIRARD AVE                                                                                    DENVER            CO    80227‐5459
NICHOLAS J FALLER                                   5F RIDIGE PK DR                                                                                      NORTH ARLINGTON   NJ    07031‐5204

NICHOLAS J GODIOS                                   2291 RT 98                                                                                           VARYSBURG         NY    14167
NICHOLAS J HAMILTON                                 648 WINTERS EVE                                                                                      FLUSHING          MI    48433‐1947
NICHOLAS J KILBURG & CHERYL L KILBURG & MICHEAL T   14931 WICK                                                                                           ALLEN PARK        MI    48101‐1503
KILBURG JT TEN
NICHOLAS J KOLODIY                                  415 MC ARTHUR DRIVE                                                                                  BRICKTOWN         NJ    08724‐2747
NICHOLAS J LAUDADIO                                 5 ROTH'S COVE RD                                                                                     HAMLIN            NY    14464‐9732
NICHOLAS J LEEPER                                   902 CLARK WAY                                                                                        PALO ALTO         CA    94304‐2304
NICHOLAS J LOMBARDI                                 102 DURSO DRIVE                                                                                      NEWARK            DE    19711‐6904
NICHOLAS J PANCHAK                                  15692 INDIAN HOLLOW                                                                                  GRAFTON           OH    44044‐9620
NICHOLAS J PANTELIS                                 604 LAIRD AVE NE                                                                                     WARREN            OH    44483‐5202
NICHOLAS J PETROPOLIS                               1504 WOODBRIDGE RD                    APT 2C                                                         JOLIET            IL    60436
NICHOLAS J PILLER                                   600 OLD 209 RD                                                                                       TAMAQUA           PA    18252‐5326
NICHOLAS J PUPINO JR                                7007 CLINGAN ROAD                     UNIT 9                                                         POLAND            OH    44514‐2478
NICHOLAS J PUPINO JR & MARIE L PUPINO JT TEN        7007 CLINGAN ROAD                     UNIT 9                                                         POLAND            OH    44514‐2478
NICHOLAS J REFFLE                                   50477 KAYLA DR                                                                                       NEW BALTIMORE     MI    48047‐4445
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NICHOLAS J RIGNEY                                 4713 WOODLAND AVE                                                                                   ROYAL OAK       MI    48073
NICHOLAS J SALVAGGIO & BETTY L SALVAGGIO JT TEN   1201 WEST BANNISTER ROAD                                                                            KANSAS CITY     MO    64114‐3811

NICHOLAS J SAVOLA                                 11 ELMWOOD DR                                                                                       MILLTOWN        NJ    08850‐1636
NICHOLAS J SHEBIB                                 226 SHIRLEY                                                                                         BIRMINGHAM      MI    48009‐3725
NICHOLAS J TVELIA & GRACE TVELIA JT TEN           923 CYPRESS STREET                                                                                  BAREFOOT BAY    FL    32976‐7321
NICHOLAS J ZALESKI                                3 REDOAK CT                                                                                         NEWARK          DE    19713‐2893
NICHOLAS J ZEIMETZ                                3904 ASHLAND AVE                                                                                    WAUSAU          WI    54403‐8144
NICHOLAS JAMES SIMMONS                            4252 FOREST CREEK COURT              APT 203                                                        GRAND RAPIDS    MI    49512
NICHOLAS JOHN HAMPSON & TINA HAMPSON JT TEN       12 WEST PARK RD                      KEW RICHMOND SURREY                    TW9 4DA GREAT BRITAIN

NICHOLAS JOHN POPOLI                              26 COMMONWEALTH TER APT 11                                                                          BRIGHTON        MA    02135‐7505
NICHOLAS JOSEPH ALFANO                            511 COOLIDGE DR                                                                                     MIDLAND         MI    48642‐3338
NICHOLAS K PEARSON                                8112 SANTA FE TRAIL                                                                                 AMATILLO        TX    79110‐4735
NICHOLAS K PEARSON & TIFFANY OLSEN PEARSON JT     8112 SANTA FE TRAIL                                                                                 AMARILLO        TX    79110
TEN
NICHOLAS KASS                                     65 MOREWOOD OAKS                                                                                    PORT WASHINGTON NY    11050‐1623

NICHOLAS KEPPEL & CATHERINE KEPPEL JT TEN        7346 FORSYTH BLVD UNIT 1                                                                             SAINT LOUIS     MO    63105
NICHOLAS KOLINCHOCK & PATRICIA KOLINCHOCK JT TEN 1 FORT WORTH ST                                                                                      HAMPTON         VA    23669‐1107

NICHOLAS KOZAR                                    3725 DELANEY DR                                                                                     JOLIET          IL    60435
NICHOLAS KYRIACOS                                 EVANGELISMOS KARYSTOU                EUBOA                                  GREECE
NICHOLAS L KRIKELAS                               28613 PIPING ROCK ROAD                                                                              SUN CITY        CA    92586‐3020
NICHOLAS L KRIKELAS & MONIQUE L KRIKELAS JT TEN   28613 PIPING ROCK ROAD                                                                              SUN CITY        CA    92586‐3020

NICHOLAS L SANTOWASSO & MRS ELAINE V              7211 WESTOVER WAY                                                                                   SOMERSET        NJ    08873‐5913
SANTOWASSO JT TEN
NICHOLAS L SCAZAFAVE                              414 BNENEDICT AVE                    APT 2A                                                         TARRYTOWN       NY    10591‐4935
NICHOLAS L STRITTMATTER                           233 N WALNUT                                                                                        MONTICELLO      IA    52310‐1450
NICHOLAS LOAN                                     335 ELM ST                                                                                          PENN YAN        NY    14527‐1409
NICHOLAS LOMBARDI & EVELYN LOMBARDI JT TEN        12 BACON PLACE                                                                                      YONKERS         NY    10710‐1204

NICHOLAS LOPANO                                   4619 HILLVIEW DRIVE                                                                                 NAZARETH        PA    18064‐8531
NICHOLAS LORUSSO                                  PO BOX 748                                                                                          PINE BROOK      NJ    07058‐0748
NICHOLAS M ARACIC & MRS DEBORAH I ARACIC JT TEN   133 OAKMONT AVE                                                                                     PIEDMONT        CA    94610‐1120

NICHOLAS M BRATSKO                                448 SKED ST                                                                                         PENNINGTON      NJ    08534‐2725
NICHOLAS M BUKATA                                 73 BARBICAN TRAIL                    SAINT CATHARINES ON                    L2T 4A9 CANADA
NICHOLAS M CANONICO & DARLENE M CANONICO JT       19 SEMINOLE DR                                                                                      COMMACK         NY    11725‐4609
TEN
NICHOLAS M CAPOZZI                                19D PAMELA LA                                                                                       ROCHESTER       NY    14618‐5350
NICHOLAS M FIL                                    PO BOX 51                                                                                           MONTROSE        MI    48457‐0051
NICHOLAS M FISCHBACH                              1792 CARLYLE RD                                                                                     BELOIT          WI    53511‐3032
NICHOLAS M KRIMM                                  6514 WRENVIEW COURT                                                                                 DAYTON          OH    45424‐2731
NICHOLAS M PAVIA                                  430 CHAMBER ST                                                                                      ROCHESTER       NY    14559‐9759
NICHOLAS M SKALERIS                               274 GORDON AVE                                                                                      CAMPBELL        OH    44405‐1666
NICHOLAS MADRIGALE                                1700 STREET RD                       APT O7                                                         WARRINGTON      PA    18976‐2524
NICHOLAS MAIER                                    21145 PARKWOOD AVE                                                                                  CLEVELAND       OH    44126‐2732
NICHOLAS MALONE                                   20420 HARBOR LN                                                                                     SOUTHFIELD      MI    48076‐4942
NICHOLAS MANCE JR                                 124 SW 138TH ST                                                                                     OKLAHOMA CITY   OK    73170‐6861
NICHOLAS MANGIAFESTO                              14 BRIDLEWOOD DR                                                                                    LOCKPORT        NY    14094‐4866
NICHOLAS MARCHIOLI JR                             944 LOTHARIO CIRCLE                                                                                 WEBSTER         NY    14580‐2576
NICHOLAS MARRONE & LUCILLE MARRONE JT TEN         28 VILLARD AVE                                                                                      HASTINGS‐ON‐    NY    10706‐1708
                                                                                                                                                      HUDSON
NICHOLAS MASNEY                                   1655 GRAND MARAIS RD WEST            UNIT 408              WINDSOR ON       N9E 4W4 CANADA
NICHOLAS MELUCCI & MEGAN MELUCCI JT TEN           4838 HOBAUGH AVE                                                                                    MURRYSVILLE     PA    15668‐1541
NICHOLAS MESISCA EX UW ANTHONY MESISCA            200 GRANT AVE                        APT A6                                                         SOMERDALE       NJ    08083‐1140
NICHOLAS MEZA                                     823 NO LELAND STREET                                                                                SAN PEDRO       CA    90732‐2633
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Name                                              Address1                                Address2               Address3        Address4          City               State Zip

NICHOLAS MICHAEL KATZ                            FINE HALL DEPT OF MATH                   PRINCETON UNIVERSITY                                     PRINCETON          NJ    08544‐0001
NICHOLAS MICHAEL MILLER                          8 GIBSON ST                                                                                       DOLGEVILLE         NY    13329‐1204
NICHOLAS MOROSO                                  136 HOLT ST                                                                                       WATERTOWN          MA    02472‐1037
NICHOLAS MUCCIACCIARO                            19 HIGH MEADOW RD                                                                                 WATERTOWN          CT    06795‐1533
NICHOLAS N WYTE                                  307 PARK MEADOW                                                                                   LANSING            MI    48917‐3414
NICHOLAS NEAMONITIS & ARLENE C NEAMONITIS JT     173 OAKSIDE DR                                                                                    SMITHTOWN          NY    11787‐1135
TEN
NICHOLAS NOVICK                                  PO BOX 925                                                                                        CAPTAIN COOK       HI    96704‐0925
NICHOLAS O VENIER & LINDA VENIER JT TEN          39 CROSS RD                                                                                       TIVERTON           RI    02878‐2634
NICHOLAS P BARKER                                27897 GOULDS CORNERS RD                                                                           EVANS MILLS        NY    13637‐3196
NICHOLAS P BONFIGLIO                             129 MASON ROAD                                                                                    HOWELL             MI    48843‐2531
NICHOLAS P CHILDERS                              395 SOUTHWIND LN                                                                                  GREENWOOD          IN    46142‐9159
NICHOLAS P COSTANZO                              11 GRANT ST                                                                                       MAYNARD            MA    01754‐1813
NICHOLAS P DAVLANTES & CHRISTINE DAVLANTES JT    6806 RIDGE AVE                                                                                    CHICAGO            IL    60645‐4917
TEN
NICHOLAS P DELIS                                 PO BOX 1089                                                                                       MILLBRAE           CA    94030‐5089
NICHOLAS P DURR                                  PO BOX 276                                                                                        NEW HARTFORD       NY    13413‐0276
NICHOLAS P GRENFELL                              3619 W DIANA AVE                                                                                  PHOENIX            AZ    85051‐4745
NICHOLAS P MATICH CUST NICHOLAS P MATICH II UGMA 790 GALLANT FOX LANE                                                                              UNION              KY    41091‐9055
MI
NICHOLAS P MCIVOR & ROBYN D MCIVOR & BRUCE M 43 BARTLEY TERRACE                           DEVONPORT              AUCKLAND        NEW ZEALAND
TOWN JT TEN
NICHOLAS P PAGANO                                205 MORGAN RD                                                                                     SYRACUSE           NY    13219‐2614
NICHOLAS P ZULICK                                36394 CECILIA DRIVE                                                                               STERLING HEIGHTS   MI    48312‐2923

NICHOLAS PASCARELLI                               81‐25 263RD STREET                                                                               FLORAL PARK        NY    11004
NICHOLAS PAUL DESUTTER                            628 STEWART DR                                                                                   NEW CASTLE         IN    47362‐2960
NICHOLAS PENTZAK                                  6 DAYTON PLACE                                                                                   MERIDEN            CT    06450‐4344
NICHOLAS PESA                                     25 E SUPERIOR UNIT 11D                                                                           CHICAGO            IL    60611
NICHOLAS PILAVAS & ARGIE PILAVAS JT TEN           145 RITCHIE DR                                                                                   YONKERS            NY    10705‐4516
NICHOLAS POLUHOFF & MRS DOROTHY BOYLE             18 SPARTA RD                                                                                     SHORT HILLS        NJ    07078‐1331
POLUHOFF JT TEN
NICHOLAS PROVENZANO & JEANNINE PROVENZANO JT      411 BREWSTER ROAD                                                                                BRISTOL            CT    06010‐5278
TEN
NICHOLAS PULK                                     1549 S MACARTHUR ST                                                                              TACOMA             WA    98465‐1512
NICHOLAS R BISHOP TOD JAMES E BISHOP SR SUBJECT   18375 LINCOLN RD                                                                                 NEW LOTHROP        MI    48460‐9676
TO STA TOD RULES
NICHOLAS R CECCACCI                               955 PINECONE DR                                                                                  HOWELL             MI    48843‐8441
NICHOLAS R DETORE & JUNE C DETORE JT TEN          2052 QUAKER WAY                         UNIT 7                                                   ANNAPOLIS          MD    21401
NICHOLAS R EDINGER & MAUREEN EDINGER JT TEN       1273 GILL HALL RD                                                                                CLAIRTON           PA    15025‐3406

NICHOLAS R GERHARDT                               3025 DONNA                                                                                       WARREN             MI    48091‐1011
NICHOLAS R GLUS                                   5934 YOUNGSTOWN‐KINGSVLE RD                                                                      CORTLAND           OH    44410‐9716
NICHOLAS R GRANKO & BARBARA GRANKO JT TEN         BOX 3813                                                                                         FARMINGTON         NM    87499‐3813
NICHOLAS R HERNANDEZ                              18 PEQUOT RD                                                                                     RINGWOOD           NJ    07456‐2808
NICHOLAS R HOLBUS                                 3263A S DELAWARE AVE                                                                             MILWAUKEE          WI    53207‐3020
NICHOLAS R HOLDEN                                 4689 MURRAYS CORNER RD                                                                           FAYETTEVILLE       OH    45118‐9706
NICHOLAS R IACONETTI                              968 SUNBURST COURT                                                                               MANCHESTER         MO    63021‐6937
NICHOLAS R JOHN                                   10300 CHESTER DR                                                                                 CARMEL             IN    46032‐4026
NICHOLAS R KUKICH & ROSE M KUKICH JT TEN          2608 JEFFERSON AVE                                                                               CLAYMONT           DE    19703‐1851
NICHOLAS R MARINELLI                              1437STAFFORD AVE                                                                                 BRISTOL            CT    06010‐2543
NICHOLAS R REGA & LESLIE A REGA JT TEN            3508 NE 77TH ST                                                                                  GLADSTONE          MO    64119‐4358
NICHOLAS R SKAPERDAS                              14230 CABO BLANCO DR                                                                             CRP CHRISTI        TX    78418‐6528
NICHOLAS R VROEGINDEWEY & JANICE C                23093 HARDING                                                                                    HAZEL PARK         MI    48030‐1514
VROEGINDEWEY JT TEN
NICHOLAS REYER                                    8920 STATE ROUTE 753 S                                                                           GREENFIELD       OH      45123‐6201
NICHOLAS ROBERT HAUL                              4819 DORSIE DR                                                                                   SAINT LOUIS      MO      63128‐1808
NICHOLAS ROBERT IARUSSI                           2950 CANTERBURY COURT                                                                            WILLOUGHBY HILLS OH      44092‐1467
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Name                                             Address1                               Address2                     Address3   Address4          City               State Zip

NICHOLAS ROBERT MADONIA                          30 OUTWATER LANE                                                                                 GARFIELD           NJ    07026‐3839
NICHOLAS ROMANO                                  6520 BETHESDA HEIGHTS LN                                                                         COLLEGE GROVE      TN    37046‐9301
NICHOLAS RONDANO                                 6057 WEST HIGGINS #1NO                                                                           CHICAGO            IL    60630
NICHOLAS RUBINO                                  3652 WOODBINE AVE                                                                                WANTAGH            NY    11793‐3045
NICHOLAS RYAN GUETERMAN                          154 GIBBS ST                           UNIT 301                                                  ROCKVILLE          MD    20850‐0370
NICHOLAS S BIGLASCO JR                           10 OLD HICKORY LN                                                                                EDISON             NJ    08820‐1124
NICHOLAS S CHECKLES & ARETTA K CHECKLES JT TEN   3102 BAYWOOD PARK DR                                                                             HOUSTON            TX    77068‐2068

NICHOLAS S COSCO                                 800 CRAIGIE ST                                                                                   SYRACUSE           NY    13206‐1016
NICHOLAS S CURRENS                               880 DEBORAH ST                                                                                   LIMA               OH    45801‐3508
NICHOLAS S FIGUN & CATHERINE E FIGUN JT TEN      8 SAULSBURY ST                                                                                   DEWEY BEACH        DE    19971
NICHOLAS S JOHNSON                               16 GABRIELLA RD                                                                                  WAPPINGERS FALLS   NY    12590‐2104

NICHOLAS S LICARI & MARY E LICARI JT TEN         2295 HIGHBURY DR                                                                                 TROY               MI    48098‐3864
NICHOLAS S MARKOTA                               226 S PORTLAND                                                                                   YOUNGSTOWN         OH    44509‐2820
NICHOLAS S PAPADOPOULOS                          1303 ALPS DR                                                                                     MC LEAN            VA    22102‐1501
NICHOLAS S STABLER III                           PO BOX 5335                                                                                      WILMINGTON         DE    19808‐0335
NICHOLAS S WOODARD                               134 BOONE AV                                                                                     WINCHESTER         KY    40391‐1806
NICHOLAS SARGOLOGOS JR & GLORIA M SARGOLOGOS     15409 PRESTANCIA DR                                                                              AUSTIN             TX    78717‐3922
JT TEN
NICHOLAS SERDAR                                  2469 GEMINI DRIVE                                                                                LAKE ORION         MI    48360‐1926
NICHOLAS SHEWALTER                               9348 LYTLE RD                                                                                    LENNON             MI    48449‐9632
NICHOLAS SIMMONS CUST CARTER JAMES SIMMONS       1421 N 9TH ST                                                                                    BEATRICE           NE    68310‐2047
UTMA NE
NICHOLAS STEVEN WHEELER                          25573 CO RD 464                                                                                  MCMILLAN           MI    49853‐9349
NICHOLAS T HAMISEVICZ                            8017 ELM PL                                                                                      DUNN LORING        VA    22027‐1121
NICHOLAS T MANTAS & JOAN C MANTAS JT TEN         2237 BLACKHORSE DR                                                                               WARRINGTON         PA    18976‐2157
NICHOLAS T TURNER SR                             515A BARRETT AVENUE                                                                              ATLANTIC CITY      NJ    08401‐2703
NICHOLAS T YUNK & MRS GEORGIA L YUNK JT TEN      512 MOZART WAY                                                                                   MCKINNEY           TX    75070‐3209
NICHOLAS TOPALIS                                 241 WATERTON ST APT 4                                                                            NEWTON             MA    02458
NICHOLAS TRONCOSO                                C/O BEULAH TRONCOSO                    4316 DIXIE COURT                                          KANSAS CITY        KS    66106‐1846
NICHOLAS UNUCHECK & BETTY LOU UNUCHECK JT TEN    666 OLD CHERAW HWY                                                                               ROCKINGHAM         NC    28379‐8904

NICHOLAS V LEONE                              331 N 10TH ST                                                                                       EASTON             PA    18042‐3313
NICHOLAS V LEONE                              331 N 10TH STREET                                                                                   EASTON             PA    18042‐3313
NICHOLAS VARANO                               PO BOX 2121                                                                                         WAYNE              NJ    07474‐2121
NICHOLAS VASU & MRS VICTORIA VASU JT TEN      23765 LEE BAKER DR                                                                                  SOUTHFIELD         MI    48075‐3344
NICHOLAS VERBILLO & ALMA VERBILLO JT TEN      3 ELRIN PLACE                                                                                       NEW LONDON         CT    06320‐2807
NICHOLAS VILLANI                              1042 ERWIN DR                                                                                       JOPPA              MD    21085‐3725
NICHOLAS VILLANI JR                           28 FAIRVIEW AVE                                                                                     BRICK              NJ    08724‐4368
NICHOLAS W BROTHERS                           400 S CLEAR RIDGE RD                                                                                NEW WINDSOR        MD    21776‐9701
NICHOLAS W CHRISTY                            10602 S EWING AVE                                                                                   CHICAGO            IL    60617‐6618
NICHOLAS W JONES                              401 JEFFERSON ST                                                                                    MARQUETTE          KS    67464‐4056
NICHOLAS W KRAUSE & ALICE M KRAUSE JT TEN     20933 LITTLESTONE                                                                                   HARPER WOODS       MI    48225‐2323
NICHOLAS W MOSS                               21757 CASTLEWOOD DR                                                                                 MALIBU             CA    90265‐3404
NICHOLAS WABUDA                               C/O RUSSELL N WABUDA                      11 SCHOOL ST                                              SHELTON            CT    06484‐1825
NICHOLAS WALCHONSKI & OLGA WALCHONSKI TEN ENT 731 WASHINGTON AVE                                                                                  BETHLEHEM          PA    18017‐6044

NICHOLAS WELTMAN                                 BANQUE NATIONALE DE PARIS              16 BRD DES ITALIENO AGENCE   CENTRALE   PARIS FRANCE
NICHOLAS WIERINGA                                12391 JACKSON RD                                                                                 MIDDLEVILLE        MI    49333‐9750
NICHOLAS WILLIAM HOLLAND                         425 ASHTON POINTE BLVD                                                                           BEAUFORT           SC    29906‐6017
NICHOLAS WILLIAM MCCONNELL                       1926 LONHILL DR                                                                                  COLLIERVILLE       TN    38017‐7810
NICHOLAS WILLIAM MOSSHOLDER                      160 KERLEY ROAD                                                                                  TAYLORSVILLE       NC    28681‐9410
NICHOLAS WOLF                                    526 CENTRAL AVE S                                                                                BEULAH             ND    58523
NICHOLAS Z MALACHIAS & HERMIONE MALACHIAS JT     144 MCCURDY DRIVE                                                                                PITTSBURGH         PA    15235‐1930
TEN
NICHOLAS ZIELINSKI TR UA 01/24/97 NICHOLAS       29196 SHENANDOAH DR                                                                              FARMINGTON         MI    48331
ZIELINSKI LIVING TRUST
NICHOLE SMITH CUST THAI SMITH UTMA NE            3009 COLORADO AVE                                                                                GRAND ISLAND       NE    68803‐1109
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NICHOLE SPALDING                                315 N DALLAS ST                                                                                  PILOT POINT        TX    76258‐2649
NICHOLE URSO CUST MICHAEL URSO UTMA PA          2 WIDENER DR                                                                                     WILKES BARRE       PA    18702
NICHOLETTE A BASSETT                            PO BOX 881                                                                                       SUTTONS BAY        MI    49682‐0881
NICK A ALOISI                                   1785 SCARLETT DR                                                                                 PITTSBURGH         PA    15241‐3111
NICK A BATTISTA                                 600 BREE RD APT E2                                                                               ST CLAIR           MI    48054‐2121
NICK A CAMMARATA                                41 SHERWOOD AVENUE                                                                               MADISON            NJ    07940‐1758
NICK A PELSTER                                  1336 KILARNEY LANE                                                                               WALNUT CREEK       CA    94598‐1521
NICK BARTEL                                     378 VERNON ST                                                                                    SF                 CA    94132‐2714
NICK BEREZNOFF                                  148 E OVER BROOK DR                                                                              LARGO              FL    33770‐2823
NICK BOER TOD NICHOLAS T SOLOMON                28263 CENTER RIDGE RD                  APT E11                                                   WESTLAKE           OH    44145‐3846
NICK C LUX                                      65 N 775 E                                                                                       SHELBYVILLE        IN    46176‐9280
NICK C STAMATIADES                              534 SAVANNAH HWY                                                                                 CHARLESTON         SC    29407‐7210
NICK CHIMIENTI                                  25 W STEVENSON DR                                                                                GLENDALE HEIGHTS   IL    60139‐2456

NICK D DRAZICH & NORMA J DRAZICH JT TEN         7705 NEVADA AVE                                                                                  CANOGA PARK        CA    91304‐5527
NICK DALESSANDRO                                5605 PLEASANT VIEW DR                  APT D                                                     NASHPORT           OH    43830‐9058
NICK DELMONACO                                  70 LIVINGSTON AVE                                                                                CRANFORD           NJ    07016‐2847
NICK DELMONACO & TERESA DELMONACO JT TEN        70 LIVINGSTON AVE                                                                                CRANFORD           NJ    07016‐2847
NICK DIBICCARI                                  22 BEDELL RD                                                                                     KATONAH            NY    10536
NICK DUIVEN                                     4055 ORIOLE SW                                                                                   WYOMING            MI    49509‐4334
NICK F STAMATIS & CHARLES T THOMPSON JT TEN     3010 BRECKENWOOD DR                                                                              LEXINGTON          KY    40502‐2939
NICK G BORGIA JR                                2514 GRISET                                                                                      SANTA ANA          CA    92704‐5507
NICK G GOUTOS                                   1431 S HALSTED ST                      # 1B                                                      CHICAGO            IL    60607‐5125
NICK G RAGOZZINO                                57350 NORTH AVE                                                                                  RAY                MI    48096‐4501
NICK GIANNIAS                                   19 ESCAPADE DR                         RICHMOND HILL ON                       L4E 4X7 CANADA
NICK GOUTOS CUST BIANCA GOUTOS UTMA IL          1431 S HALSTED ST                      # 1B                                                      CHICAGO            IL    60607‐5125
NICK GUSEILA & KATHERINE R GUSEILA JT TEN       2711 SHERBROOKE LN                     APT C                                                     PALM HARBOR        FL    34684‐2524
NICK H BROWN & SHARON STARR BROWN JT TEN        7 MAIN ST                                                                                        CLAYTON            NM    88415‐3037
NICK HAUSLER                                    BETSCHARTMATTE 27                      ALTDORF                                6460 SWITZERLAND
NICK J COOK                                     182 PHEASANT CT                                                                                  GRAND BLANC        MI    48439‐8191
NICK J CORILA                                   322 HEPNER RD                                                                                    HAMBURG            PA    19526‐8120
NICK J CORRADO & MARCIA H CORRADO JT TEN        1229 S BELVOIR BLVD                                                                              SOUTH EUCLID       OH    44121‐2948
NICK J FUNARI                                   597 RAVENNA RD                                                                                   STREETSBORO        OH    44241‐6162
NICK J KALOGEROU                                2143 ATLANTIC                                                                                    WARREN             OH    44483‐4252
NICK J MARTUCCIO                                600 WILCOX RD                                                                                    YOUNGSTOWN         OH    44515‐4258
NICK J PODOLSKY CUST BRANDON J PODOLSKY UTMA CA 1835 EASTGATE AVE                                                                                UPLAND             CA    91784‐9213

NICK J SAMSON                                   7657 WESSELMAN RD                                                                                CLEVES             OH    45002‐8605
NICK J STORTS                                   57810 US HWY 50                                                                                  MC ARTHUR          OH    45651‐8858
NICK KONONCHUK TR KONONCHUK FAM TRUST UA        219 HIGHFIELD RD                                                                                 BUTLER             PA    16001‐3118
09/21/94
NICK L CISTERNINO                               26 BUCKY DR                                                                                      ROCHESTER          NY    14624‐5408
NICK L DE MATTIA                                95 LEROY                                                                                         CLAWSON            MI    48017‐1205
NICK L HUFNAGEL                                 11301 INNER DRIVE                                                                                PINCKNEY           MI    48169‐9009
NICK L PERROTTO                                 2083 MIRIAM                                                                                      AVON               OH    44011‐1159
NICK L WAGNER                                   4751 LANGE RD                                                                                    BIRCH RUN          MI    48415‐8137
NICK LIPOUSKY                                   315 MICHIGAN AVE                                                                                 WESTVILLE          IL    61883‐1727
NICK M GUHO TR UA 02/02/83 NICK M GUHO          5200 DEL MORENO                                                                                  WOODLAND HILLS     CA    91364‐2428

NICK M JAPUNCHA                                 1388 WESTOVER DR SE                                                                              WARREN           OH      44484‐2813
NICK M LIPARI                                   31635 HARDESTY RD                                                                                SHAWNEE          OK      74801‐3959
NICK M WOLF                                     PO BOX 652                                                                                       OLATHE           KS      66051‐0652
NICK MAVRODIS & SEVASTI N MAVRODIS JT TEN       632 NAPOLEON ST                                                                                  JOHNSTOWN        PA      15901‐2616
NICK MELA                                       5960 PARKLAND AVE                                                                                BOARDMAN         OH      44512‐2841
NICK MOSKATOW                                   20440 ST LAURENCE                                                                                CLINTON TOWNSHIP MI      48038‐4494

NICK MRKICH                                     25284 TARA LN                                                                                    BROWNSTOWN         MI    48134‐9077
NICK O RAEBER                                   626 CHESTNUT DR                                                                                  GRAND PRAIRIE      TX    75052‐6707
NICK O'BRIEN                                    5205 KERGER RD                                                                                   ELLICOTT CITY      MD    21043
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NICK P GUNTER                                      BOX 9091                                                                                         MAMMOTH LAKES    CA    93546

NICK PANAS & HAPPY PANAS JT TEN                    364 HUDSON DR                                                                                    LAKE RIVIERA     NJ    08723‐5921
NICK R CADIEUX                                     24043 JONATHAN ST                                                                                HILLMAN          MI    49746‐8305
NICK S GODSEY                                      45057 WILLIS RD                                                                                  BELLEVILLE       MI    48111‐8943
NICK S REPPAS                                      276 WINDWARD DR                                                                                  ELYRIA           OH    44035
NICK S ZANAKIS                                     3222 COURTNEY DR                                                                                 LOMPOC           CA    93436‐2357
NICK SHORTER                                       381 OSMUN                                                                                        PONTIAC          MI    48342‐3250
NICK SPAGNUOLO & JOHN MARK SPAGNUOLO JT TEN        106 E MAIN                                                                                       RAVENNA          OH    44266‐3174

NICK STAMATIS                                      195 EDGE WOOD DR                                                                                 AMHERST          OH    44001‐1771
NICK T HARBO                                       501 RIVERSIDE DR                                                                                 BALTIMORE        MD    21221‐6833
NICK T HARBO JR                                    1301 WILDWOOD BEACH ROAD                                                                         ESSEX            MD    21221‐6517
NICK T KOTTALIS                                    6642 NECKEL ST                                                                                   DEARBORN         MI    48126‐4509
NICK TINAJERO                                      5401 APPLE ORCHARD LN                                                                            AUSTIN           TX    78744
NICK VALENTINO & MARLENE G VALENTINO JT TEN        925 MILLRIDGE RD                                                                                 HIGHLAND HEIGHTS OH    44143‐3113

NICK VUCKOVICH                                1046 PINE STREET                                                                                      MOUNT OLIVE      IL    62069‐2743
NICK WALACH                                   25789 LORETTA                                                                                         WARREN           MI    48091‐5016
NICK WILLIAMS                                 11769 EDGEWOOD DRIVE                                                                                  FELTON           CA    95018‐8967
NICKI J CYBULSKI                              9100 OAK HILL RD                                                                                      HOLLY            MI    48442‐8722
NICKI JEAN CYBULSKI                           9100 OAK HILL RD                                                                                      HOLLY            MI    48442‐8722
NICKI U PRIETO & MICHAEL W PRIETO JT TEN      128 SPRINGDALE DR                                                                                     ROCKINGHAM       NC    28379‐9311
NICKIE M KOOS                                 2556 PRAY RD                                                                                          CHARLOTTE        MI    48813‐8308
NICKLAS ELASHEWICH                            4403 BACK MOUNTAIN RD                                                                                 WINCHESTER       VA    22602‐3488
NICKLAS REMETA                                4 GRANITE WOODS WAY                                                                                   GREER            SC    29650‐5325
NICKLESS W REID                               246 RIDGEWAY                                                                                          JACKSON          MI    49202‐2721
NICKLESS W REID & NICOLE A REID JT TEN        246 RIDGEWAY                                                                                          JACKSON          MI    49202‐2721
NICKLETTE KEIM                                G‐4154 BRANCH RD                                                                                      FLINT            MI    48506‐1346
NICKLOS H MOLL                                1110 DONALD                                                                                           ROYAL OAK        MI    48073‐2023
NICKOLAI SIKORSKY                             162 WOODPOND ROAD                                                                                     WEST HARTFORD    CT    06107‐3531
NICKOLAS A ANTONAS & MRS MARY ANTONAS TEN ENT 1313 CHAPEL HILL DR                                                                                   BALTIMORE        MD    21237‐1805

NICKOLAS GEORGE SCHIRA                             6326 BURGER                                                                                      DEARBORN HEIGHTS MI    48127‐2414

NICKOLAS HOFFMAN                                   2450 KROUSE RD                        LOT 465                                                    OWOSSO           MI    48867‐8144
NICKOLAS J DE GRAZIA & GERALD DE GRAZIA JT TEN     9537 PALAESTRUM RD                                                                               WILLIAMSBURG     MI    49690‐9374

NICKOLAS M GRELA                                   PO BOX 176                                                                                       TERRYVILLE       CT    06786‐0176
NICKOLAS NICKOLOPOULOS                             66 CRAWFORD ST #5B                                                                               OXFORD           MI    48371‐4905
NICKOLAUS H SCHWAIGER                              1190 ORCHID RD                                                                                   WARMINSTER       PA    18974‐2442
NICKOLAUS HRYCKOWIAN                               3526 GARRY RD                                                                                    BLISS            NY    14024‐9719
NICKOLE NESBY                                      513 COCHRAN STREET                                                                               DUQUESNE         PA    15110‐1300
NICKOLETTA SAROS‐KOVALCIK & DONALD KOVALCIK JT     2100 SHELLY DR APT D                                                                             PALM HARBOR      FL    34684‐2009
TEN
NICKY F POYNTER                                    412 NORTH MORGAN DRIVE                                                                           MOORE            OK    73160‐6947
NICKY K ODOM                                       1376 MONTEREY RD                                                                                 FLORENCE         MS    39073‐9707
NICKY L WRIGHT                                     2650 DAKOTA DR                                                                                   EATON RAPIDS     MI    48827‐8042
NICKY S BROWN & NANCY C BROWN JT TEN               2913 WEST 5TH                                                                                    SIOUX CITY       IA    51103‐3237
NICO WAGNER                                        394 N HANDY                                                                                      ORANGE           CA    92867‐7811
NICODEMUS D RIGGINS                                471 ALLANA CT                                                                                    STONE MOUNTAIN   GA    30087‐5602

NICOLA ASCARI                                      VIA PASCOLI N 13                      24121 SERIATE                          ITALY
NICOLA CALABRESE                                   127 HALE HAVEN                                                                                   HILTON           NY    14468‐1058
NICOLA CAPEZZUTO                                   45 DREXEL DRIVE                                                                                  ROCHESTER        NY    14606‐5328
NICOLA CARBONE TR NICOLA CARONE TRUST UA           900 NE4TH CT                                                                                     DEERFIELD BCH    FL    33441‐2110
09/06/94
NICOLA D HADDAD                                    1870 BERRY LANE                                                                                  DESPLAINE        IL    60018‐1646
NICOLA D'ANGELO                                    UNIV OF IOWA                          DEPT OF PHYSICS & ASTR                                     IOWA CITY        IA    52242
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NICOLA IODICE                                      76 TYLER ST                                                                                                ATTLEBORO         MA    02703‐5848
NICOLA M PUNTIERI                                  18 TAMWORTH RD                                                                                             NORWOOD           MA    02062‐5527
NICOLA PALADINO                                    8130 KENWICK                                                                                               WHITE LAKE        MI    48386‐4328
NICOLA PAONE & DELIA PAONE JT TEN                  4803 GRANDE NW                                                                                             ALBUQUERQUE       NM    87107‐3301
NICOLA RUSSO                                       2133 59 ST                                                                                                 BKLYN             NY    11204‐2503
NICOLA W RADCLIFF                                  583 ROUTE D 73                           88230 BAN S MEURTHE/CLEFCY              FRANCE
NICOLAAS WILLIAM KOPPERT                           PSC 811 BOX 388                                                                                            FPO               AE    09609‐1001
NICOLAE HENSEL & EVA HENSEL JT TEN                 3052 AINSLIE D                                                                                             BOCA RATON        FL    33434‐2911
NICOLAE IUHOS                                      6 LANSING AVE                                                                                              WATERVLITTE       NY    12189‐1845
NICOLAS AGUIRRE                                    2607 WHITES BEACH RD                                                                                       STANDISH          MI    48658‐9785
NICOLAS BENETIS                                    354 EAST 77TH ST APT 2C                                                                                    NEW YORK          NY    10021‐2465
NICOLAS CALENICOFF                                 60 LLEWELLYN AVE                                                                                           WEST ORANGE       NJ    07052‐5731
NICOLAS FAISON SAFRIT                              2197 ESSEX LN                                                                                              EUGENE            OR    97403‐1871
NICOLAS G MAZARAKIS                                4 VALAORITOU ST                          P PSIHIKON ATHENS                       15452 GREECE
NICOLAS G NICOLOFF & MRS ELINORE NICOLOFF JT TEN   17661 FRANCAVILLA DR                                                                                       LIVONIA           MI    48152‐3109

NICOLAS I GACAYAN                                  691 SCIROCCO DR                                                                                            YUBA CITY         CA    95991‐7574
NICOLAS KOUNELIS                                   512 NORTHGATE                                                                                              FOND DU LAC       WI    54935‐2532
NICOLAS N SVIATOSLAVSKY & MARINA SVIATOSLAVSKY     5215 MILLSHIRE RD                                                                                          GREENDALE         WI    53129‐1243
JT TEN
NICOLAS P BOMMARITO & CHARLES J BOMMARITO JT       15 SHORECREST CIR                                                                                          GROSSE POINTE     MI    48236
TEN
NICOLAS RODRIGUEZ                                  PO BOX 711                               YABUCOA                                 PUERTO RICO
NICOLAS S ROSELLO                                  626 N STATE ST                                                                                             DOVER             DE    19901‐3845
NICOLAS VAN DEN HOEK                               210 STEVENSON RD N                       OSHAWA ON                               L1J 5M5 CANADA
NICOLAS WALKER                                     1510 M WEST LANE                                                                                           DEL MAR           CA    92014‐4136
NICOLAS WSEVOLOJSKOY GM INTERNATIONAL SALES        PO BOX 10183                             GRAND CAYMAN GEORGE TOWN                KY1 1002 CAYMAN ISLANDS
LTD
NICOLAS WSEVOLOJSKOY GM INTERNATONALS SALES        PO BOX 10183 SPO                         GEORGETOWN GRAND CAYMAN                 KY1 1002 CAYMAN ISLANDS
LTD
NICOLAS Z BELTRAN                                  19717 CHASE ST                                                                                             CANOGA PARK       CA    91306‐1410
NICOLAUS L PLUMER                                  4964 LORE DR                                                                                               WATERFORD         MI    48329‐1643
NICOLE A MILTON                                    PO BOX 723                                                                                                 FLINT             MI    48501‐0723
NICOLE ALICIA FORTIER                              3625 LAKE WINNIPEG DR                                                                                      HARVEY            LA    70058‐5170
NICOLE ALISE CRISCUOLO                             12019 N CANTON CENTER RD                                                                                   PLYMOUTH          MI    48170‐3703
NICOLE BAILEY FERRO                                5706 EMERALD BROOK LN                                                                                      LEAGUE CITY       TX    77573‐1899
NICOLE BLANCHARD                                   10815 WHITAKER WOODS ROAD                                                                                  RICHMOND          VA    23233‐4142
NICOLE BUSEY                                       6100 HOUSATONIC CT                                                                                         FAIRFAX STATION   VA    22039
NICOLE C ALLARD & DANIEL J ALLARD JT TEN           4412 ST MARTIN DR                                                                                          FLINT             MI    48507‐3727
NICOLE C CHASTAIN & SCOTT D CHASTAIN JT TEN        26066 W OAK AVE                                                                                            ANTIOCH           IL    60002
NICOLE C HERRON                                    PO BOX 6094                                                                                                ALBANY            CA    94706‐0094
NICOLE C SNADERS & EULAS H SANDERS & ANNEIA        4202 E 40TH ST                                                                                             INDIANAPOLIS      IN    46226
SANDERS JT TEN
NICOLE D PARADA & DANIEL J PARADA JT TEN           9880 MOUNTAIN RD                                                                                           MIDDLEPORT        NY    14105‐9648
NICOLE D VALASEK & DEBRA L VALASEK JT TEN          8403 JACLYN ANN                                                                                            FLUSHING          MI    48433‐2913
NICOLE DIANE VALASEK                               8403 JACLYN ANN                                                                                            FLUSHING          MI    48433‐2913
NICOLE DORN                                        62 SYLVAN N RD                                                                                             WESTPORT          CT    06880‐2942
NICOLE E AUDET                                     40 ASPEN LANE                                                                                              GREENVILLE        RI    02828‐1451
NICOLE F SEEDS                                     ATTN NICOLE F SAMMONS                    6 FOX RUN DR                                                      HOCKESSIN         DE    19707‐1409
NICOLE GRIGSBY                                     PO BOX 2277                                                                                                HAWTHORNE         CA    90251
NICOLE I ENDER                                     32 RENWICK RD                            BOWMANVILLE ON                          L1V 1V3 CANADA
NICOLE J BEELMAN                                   209 E MAIN ST                                                                                              RICHLAND          IA    52585
NICOLE L LANE                                      11080 WOODFIELD PKWY                                                                                       GRAND BLANC       MI    48439‐9450
NICOLE LEONARD                                     1160 THIRD AVE 4C                                                                                          NEW YORK          NY    10021‐5910
NICOLE M KEYLLIAN                                  1145 CORONET AVE                                                                                           PASADENA          CA    91107‐1729
NICOLE M MILLER                                    32232 YONKA DR                                                                                             WARREN            MI    48092‐3234
NICOLE M MURPHY                                    724 BRISTOL VILLAGE DRIVE                UNIT 304                                                          MIDLOTHIAN        VA    23114
NICOLE M STROSTER                                  1844 WATERBURY                                                                                             KENTWOOD          MI    49508‐6344
NICOLE MARIE BRODEUR                               4850 S ORCAS ST                                                                                            SEATTLE           WA    98110‐2437
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NICOLE MARIE BUONO                                8832 FRY CIRCLE                                                                                HUNTINGTON        CA    92646
                                                                                                                                                 BEACH
NICOLE MARIE REA                                  7911 WILLFIELD CT                                                                              FAIRFAX STATION   VA    22039‐3181
NICOLE MICHELLE NIVER                             576 MADEIRA DR                                                                                 ORANGE PARK       FL    32073
NICOLE MILLER                                     18034 ANGLIN ST                                                                                DETROIT           MI    48234
NICOLE MOORADIAN CUST JACOB NELSON UTMA MI        2988 W WATER WOODS DR                 #1                                                       PORT HURON        MI    48060‐7706

NICOLE N DE LAURO                                 8303 EMERALD GLEN CT                                                                           WILLOUGHBY        OH    44094‐9745
NICOLE PURDY                                      PO BOX 596                                                                                     SOLANA BEACH      CA    92075‐0596
NICOLE R FIELDS                                   29940 CRAVENMOOR DRIVE                                                                         WESLEY CHAPEL     FL    33543
NICOLE R IVERS CUST MICHELLE KELLY UTMA (IA)      116 BLAINE CT                                                                                  SAVANNAH          GA    31405‐2895
NICOLE REED CUST BENJAMIN JAMES REED UTMA CA      325 LAUREL AVE                                                                                 ARCADIA           CA    91006‐2518

NICOLE REEDY WAKELIN CUST KATHERINE REEDY         32 CHEYNNE DR                                                                                  NASHUA            NH    03063‐3527
WAKELIN UTMA NH
NICOLE REEDY WAKELIN CUST ROSE CLANCY WAKELIN     32 CHEYNNE DR                                                                                  NASHUA            NH    03063‐3527
UTMA NH
NICOLE ROLIE                                      3717 24TH ST                                                                                   SAN FRANCISCO     CA    94114‐3903
NICOLE ROSE KELLY                                 618 WALBERTA ROAD                                                                              SYRACUSE          NY    13219‐2240
NICOLE S CRAIG                                    13363 CHESTNUT LANE                                                                            TAYLOR            MI    48180‐6348
NICOLE SEREMETIS PRICE                            PO BOX 1459                                                                                    MORGANTOWN        WV    26507‐1459
NICOLE SMITH                                      1423 1/2 CENTRAL AV                                                                            SANDUSKY          OH    44870‐3243
NICOLE WEISS RAYMOND                              6710 SUTHERLAND AVE                                                                            SAINT LOUIS       MO    63109‐1258
NICOLE YOUNGER                                    9761 PALMESTON PLACE                                                                           ALPHARETTA        GA    30022
NICOLETTE ANNE PURCELL                            6171 WINDEMERE PT                                                                              BRIGHTON          MI    48116‐5184
NICOLETTE C BRANUM & PAUL M BRANUM JT TEN         PO BOX 545                                                                                     EMORY             TX    75440‐0545
NICOLETTE GOMBOS                                  3316 MCVIE DRIVE                                                                               STOCKTON          CA    95212
NICOLETTE J CARLONE                               37247 MORAVIAN                                                                                 CLINTON TWSP      MI    48036‐3603
NICOLETTE K BRINKS                                7235 CHICAGO ST                                                                                ALANSON           MI    49706‐9442
NICOLIA GARZANITI                                 296 5TH AVE                                                                                    MANSFIELD         OH    44905‐2417
NICOLIA PAPPAS                                    15521 BLUE SKIES ST                                                                            LIVONIA           MI    48154‐1517
NICOLINA JANDREAU                                 51 GROVE ST                                                                                    WALLINGFORD       CT    06492‐1606
NICOLINA L SMART                                  6437 ALBION RD.                                                                                OAKFIELD          NY    14125
NICOLINA M MEEKS                                  5480 N MENARD                                                                                  CHICAGO           IL    60630‐1234
NICOLINO VINCELLI                                 2695 SIERRA DR                        WINDSOR ON                             N9E 2Y9 CANADA
NICOLLAS O HERRERA                                22057 VANOWEN ST                                                                               CANOGA PARK       CA    91303‐2551
NICOLO MERRELLI                                   3346 FAIR OAKS DR                                                                              BEAVERCREEK       OH    45434‐6008
NICOLOUS P ANGELOPOULOS                           10 KILKIS                             TRIPOLIS                               GREECE
NICOS C ELIAS                                     2343 READING RD                                                                                ALLENTOWN         PA    18104‐6311
NICOS M KOMODROMOS & TESSIE N KOMODROMOS JT       1438 WOODNOLL DR                                                                               FLINT             MI    48507‐4718
TEN
NIDA S MILLER                                     724 KIRKWOOD DR                                                                                GRAND ISLAND      NY    14072‐1408
NIDA T BACKAITIS                                  10512 BREVITY DR                                                                               GREAT FALLS       VA    22066‐1736
NIDIA CAMPOS                                      1581 STATE ROAD 54 WEST                                                                        SPRINGVILLE       IN    47462‐5251
NIDIA PULIDO                                      3729 OAK PARK AVE                                                                              BERWYN            IL    60402‐3902
NIE WRIGHT JR                                     18272 MENDOTA                                                                                  DETROIT           MI    48221‐1945
NIEL W SMITH                                      2306 DALEWOOD PKWY                                                                             WOODRIDGE         IL    60517‐2913
NIELS K NELSON                                    5710 WOODCREST DR                                                                              FT WORTH          TX    76140‐9528
NIELS LARSEN & MRS MARY LOUISE LARSEN JT TEN      2460 PERSIAN DR                       APT 24                                                   CLEARWATER        FL    33763‐1921

NIEVES A REGINALDO & ALBERTO N REGINALDO JT TEN   4881 EAST STRONG COURT                                                                         ORCHARD LAKE      MI    48323‐1578

NIEVES ALVAREZ                                    50 SCHEURMAN TERRACE                                                                           WARREN            NJ    07059‐7154
NIGEL JONES                                       4640 13TH ST NE                       SALMON ARM BC                          V1E 1E3 CANADA
NIGEL R WORRALL                                   16962 TESORO DR                                                                                SAN DIEGO         CA    92128‐2140
NIHARIKA RAMDEV                                   C/O AP HQ CHINA                       PO BOX 9022                                              WARREN            MI    48090‐9022
NIJOLE SNAPSTYS                                   PO BOX 7042                                                                                    DEARBORN          MI    48121‐7042
NIJOLE T BALTRULIONIS                             85‐22 150TH ST                                                                                 JAMAICA           NY    11435‐2823
NIKETAN O DESAI                                   820 SEYMOUR AVE                                                                                LINDEN            NJ    07036‐2940
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Name                                              Address1                               Address2                Address3             Address4          City              State Zip

NIKHIL S PARULEKAR                                BOX 1244                                                                                              CORBIN            KY    40702‐1244
NIKI KYTHAS                                       1032 E PERRY RD                                                                                       GREENVILLE        SC    29609‐2947
NIKI MORANTES                                     1728 LEXINGTON                                                                                        MILFORD           MI    48380‐3112
NIKIFOROS GAKIS                                   17 BEAVER BROOK DR                                                                                    MERRIMACK         NH    03054‐3164
NIKITAS N GERAKIOS                                542 NEOKA DRIVE                                                                                       CAMPBELL          OH    44405‐1261
NIKITAS S SKLAVOS                                 909 WILLARD AVE NE                                                                                    WARREN            OH    44483‐4243
NIKITAS SOTIROPOULOS                              35 DELROY DRIVE                        ETOBICOKE ON                                 M8Y 1M9 CANADA
NIKKI BALCH STILWELL                              3262 CATALINA LANE                                                                                    BOISE             ID    83705‐4005
NIKKI D HARTFIEL & GEOGRE J HARTFIEL JT TEN       1719 CURRY COMB DR                                                                                    SAN MARCOS        CA    92069‐1303
NIKKI D PAULSEN                                   823 8TH ST NE                                                                                         MINOT             ND    58703‐2623
NIKKI E SWINGLER                                  1398 SEABREEZE STREET                                                                                 CLEARWATER        FL    33756‐2347
NIKKI F SHARPE                                    382 ROBIE DR                                                                                          AUBURN            CA    95603‐5331
NIKKI FOX RAINES                                  9891 HIDDEN BRANCH LN                                                                                 SHREVEPORT        LA    71118‐5045
NIKKI J ANTALICK & JAMES M ANTALICK TOD JAMES T   12123 CHERYL                                                                                          SAINT LOUIS       MO    63128‐1606
ANTALICK
NIKKI K BARTA                                     256 ARLINGTON DR                                                                                      AURORA            OH    44202
NIKKI KOONAN MENTSAS & GEORGE K MENTSAS JT TEN    118 BOLMER AVE                                                                                        NORTH YONKERS     NY    10703‐1637

NIKKI L CRAIG                                     4516 ST JAMES DR                                                                                      PLANO             TX    75024‐4724
NIKKI MOWBRAY                                     105 FALLON AVNUE                                                                                      WILMINGTON        DE    19804
NIKKI TIPTON                                      1023 PEARL PT NE                                                                                      ATLANTA           GA    30328‐4517
NIKKI VEON & H T VEON JT TEN                      10625 LIMERIDGE RD                                                                                    HIRAM             OH    44234‐9742
NIKKI ZELLER                                      PO BOX 8145                                                                                           NEW YORK          NY    10116‐8145
NIKLAS L ANDERSSON                                SAAB AUTOMOBILE AB                     SAAB AUTO HL C1‐4       TROLLHATTAN          SWEDEN
NIKO LAURI AULA                                   TEHTAANKATU 19 G 38                    SF‐00150 HELSINKI                            FINLAND
NIKO NEMEC                                        TRSTENJAKOVA 12                        1000 LJUBEJANA                               SLOVENIA
NIKOLA KANTAR                                     6172 COVERED WAGONS                                                                                   FLINT             MI    48532‐2110
NIKOLA L MCKAMIE & RICHARD R MCKAMIE JT TEN       42753 VERSAILLES RD                                                                                   CANTON            MI    48187‐2357

NIKOLA L MCKAMIE CUST JOSHUA J MCKAMIE UTMA CO 42753 VERSAILLES RD                                                                                      CANTON            MI    48187‐2357

NIKOLA MCKAMIE CUST JORDAN MARY MCKAMIE           42753 VERSAILLES                                                                                      CANTON            MI    48187‐2357
UGMA MI
NIKOLA UZAREVIC                                   462 E 327TH                                                                                           WILLOWICK         OH    44095‐3314
NIKOLA ZEZELJ                                     1749 SELO DR                                                                                          SCHERERVILLE      IN    46375‐2250
NIKOLAI PLESCHAKOW JR                             117 HARBOR DR                                                                                         PICKENS           SC    29671‐9267
NIKOLAI SCHIJAN                                   U S 1 BROOKSIDE MOBILE PK G‐8                                                                         MONMOUTH JCT      NJ    08852
NIKOLAJ D WIDENMANN                               1626 E 9800 S                                                                                         SANDY             UT    84092‐3731
NIKOLAOS A ZIOZIS & PENELOPE ZIOZIS JT TEN        99 NETHERWOOD DR                                                                                      ALBERTSON         NY    11507‐1319
NIKOLAOS KOPASSIS                                 1753 ELENI CT                                                                                         VIRGINIA BCH      VA    23453‐2886
NIKOLAOS KOROXENOS                                17 WENDY DRIVE                                                                                        WAPPINGER FLS     NY    12590‐2038
NIKOLAOS M FRANGOS                                900 ACADEMY TERRACE                                                                                   LINDEN            NJ    07036‐5620
NIKOLAOS M KOUFOS & MRS KATHERINE KOUFOS JT       50 CONGREVE ST                                                                                        ROSLINDALE        MA    02131‐1936
TEN
NIKOLAOS P HALEPIS                                KARLOVASI                              SAMOS                                        83200 GREECE
NIKOLAOS S IPSILANTIS                             14867 VILLAGE CT                                                                                      SHELBY TOWNSHIP   MI    48315‐4462

NIKOLAUS GROSS                                    13750 MURTHUN DR                                                                                      WARREN            MI    48093‐1478
NIKOLAUS GUGENHEIMER & HELENE GUGENHEIMER JT      915 MOORE DRIVE                                                                                       CHELSEA           MI    48118‐1357
TEN
NIKOLAUS LEYDECKER                                ALBERT ROSENKRANZSTR 2                 D 55543 BAD KREUZNACH                        GERMANY
NIKOLAUS LEYDECKER                                ADAM OPEL HAUS                         N‐60 IPC F2‐01          RUSSELSHEIM GERMAN   GERMANY
NIKOLAUS PAWLYK                                   4636 MUGGLETON ROAD                    LIMESTONE ACRES                                                WILMINGTON        DE    19808‐4102
NIKOLL VULAJ                                      2965 STONE MEADOW DR                                                                                  MILFORD           MI    48380‐3843
NILA B HULBERT FOUNDATION                         C/O HENRY L HULBERT                    6 FORD AVE                                                     ONEONTA           NY    13820‐1818
NILA L HART                                       1705 RAINEY ST                                                                                        LAFAYETTE         IN    47904‐2622
NILA M MAC LEOD                                   256 RAINBOW DR                         #15616                                                         LIVINGSTON        TX    77399‐2056
NILA SPENCER                                      668 PINEWOOD DR                                                                                       ANNAPOLIS         MD    21401‐7135
NILDA LAGATTA & DANTE LAGATTA JT TEN              8931 CHIMINEAS AVE                                                                                    NORTHRIDGE        CA    91325‐2720
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Name                                             Address1                           Address2             Address3          Address4          City             State Zip

NILDA LAGATTA & MICHAEL LAGATTA JT TEN           8931 CHIMINEAS AVE                                                                          NORTHRIDGE       CA    91325‐2720
NILE E CASTLEBERRY JR                            14290 DENNE                                                                                 LIVONIA          MI    48154‐4308
NILE JUHAN & JOAN JUHAN JT TEN                   801 BUFFINGTON WAY                                                                          CANTON           GA    30115‐8566
NILE K PEACOCK                                   60791 EYSTER RD                                                                             ROCHESTER        MI    48306‐2024
NILE L BOLANDER                                  1496 MOREHEAD RD                                                                            ODESSA           MO    64076‐7454
NILENE KERNEN & MARY K RIMMEL JT TEN             145 E CENTER ST                                                                             ITHACA           MI    48847‐1411
NILES D LOMBARD                                  811 N OLD STATE AVE                                                                         HARRISON         MI    48625‐9595
NILES E OLSON                                    3295 BALDWIN                                                                                ORION            MI    48359‐1030
NILES K HILL & SHIRLEY A HILL JT TEN             3095 ODEN ISLAND DR                                                                         PETOSKEY         MI    49770‐9626
NILES P JACOBSEN & CECILIA M JACOBSEN JT TEN     1217A PEACH ORCHARD RD                                                                      SUMTER           SC    29154‐1356
NILEY JUDSON SMITH JR                            1308 COUNTRY CLUB DR                                                                        CAMERON          TX    76520‐2214
NILLA F MORROW                                   27 W RIDGECREST DR                                                                          CHICKASHA        OK    73018‐6241
NILS EDWARD PULTZ                                211 CEDAR LANE                                                                              WOODLAND         CA    95695‐5312
NILS J BJORKNER                                  825 RIVERSIDE AVE APT 105                                                                   LYNDHURST        NJ    07071‐3046
NILS OMSTED                                      3286 S UTAH                                                                                 ARLINGTON        VA    22206‐1908
NILSA ROMAN                                      PO BOX 24129                                                                                ROCHESTER        NY    14624‐0129
NIMA MAHFOUZ                                     1523 MUSTANG LANE                                                                           WEST ORANGE      TX    77630‐6007
NIMESH S SHAH & SATISH K SHAH JT TEN             655 MEAD ST SE                     UNIT 82                                                  ATLANTA          GA    30312‐3782
NINA A HUBER                                     34 LAKEMONT DR                                                                              ST CHARLES       MO    63304‐7912
NINA A MORRIS & GERALDINE MC DOWELL JT TEN       426 ARDMORE                                                                                 FERNDALE         MI    48220‐2817
NINA A SMITH                                     7660 MC CORDS S E                                                                           ALTO             MI    49302‐9737
NINA B OLSON                                     7730 VIGAR                                                                                  WATERFORD        MI    48329‐1066
NINA B VONO                                      PO BOX 68                                                                                   HALEYVILLE       AL    35565‐0068
NINA BOLEY ELLWOOD                               521 COLLIER RD NW                                                                           ATLANTA          GA    30318‐2611
NINA BREMENKAMP                                  3376 CORAL PL                                                                               JUPITER          FL    33469‐2406
NINA C MITCHELL                                  4394 FORDS BROOK RD NORTH                                                                   WELLSVILLE       NY    14895‐0321
NINA CARMEL PECKMAN                              83 LLOYD RD                                                                                 MONTCLAIR        NJ    07042‐1730
NINA CHESTNUT                                    7558 STATE ROUTE 164                                                                        LISBON           OH    44432‐9382
NINA CITRIN                                      29636 QUAIL RUN DR                                                                          AGOURA HILLS     CA    91301‐4090
NINA CONSIGLIO                                   27 HANDLEY ST                                                                               PERRY            NY    14530‐1326
NINA D WEBSTER                                   300 ROBINSON DR                                                                             NEW ELLENTON     SC    29809‐2734
NINA DAVIS                                       1319 COLLAR PRICE RD                                                                        HUBBARD          OH    44425‐2914
NINA E COLE                                      852 NORTH FM 1194                                                                           LUFKIN           TX    75904‐0505
NINA E KRAUT                                     3815 YUMA ST NW                                                                             WASHINGTON       DC    20016‐2213
NINA E LUCA & JOHN LUCA JT TEN                   1786 CHARM CT                                                                               ROCHESTER        MI    48306‐3018
NINA F GRANT & LESLIE GRANT HOLLAND JT TEN       73 GLENMERE RD                                                                              TENANTS HARBOR   ME    04860‐6008
NINA F KRIEGER                                   45 INGLESIDE DR                                                                             HAMDEN           CT    06514‐2612
NINA FAYE WEBB                                   514 ROY FORRESTER RD                                                                        MARS HILL        NC    28754‐6511
NINA G HILL                                      55 BRIARLEIGH DR                                                                            BRUNSWICK        OH    44212‐1428
NINA G ROZELLE                                   19009 PRESTON RD                                                                            WR HT            OH    44128‐4307
NINA GREENE                                      C/O NINA SIMPSON                   2730 WOLCOTT                                             FLINT            MI    48504‐3357
NINA H CONJERTI                                  6035 S TRANSIT RD LOT 196                                                                   LOCKPORT         NY    14094‐6325
NINA H WYATT                                     1987 W ALEX‐BELL ROAD                                                                       DAYTON           OH    45459‐1152
NINA J BALLINGER                                 3935 DECOURSEY AVE                                                                          COVINGTON        KY    41015‐1540
NINA J HARRIS                                    6455 MARBLE LANE                                                                            FLUSHING         MI    48433‐2587
NINA J SHULER                                    R #1                                                                                        OAKLEY           MI    48649‐9801
NINA JOYCE WORRALL                               446 TOVOLI PARK DR                                                                          DAVENPORT        FL    33837‐9505
NINA K SOLSVIK                                   3261 OAK KNOLL DR                                                                           ROSSMOOR         CA    90720‐4357
NINA K STRUB                                     588 ACORN LN                                                                                BRANDON          MS    39047‐7470
NINA KADEN & TODD KADEN JT TEN                   89 E WILLIAMS ST                                                                            FORDS            NJ    08863‐2207
NINA KELEPOURIS                                  3321 NORTHWAY CT                                                                            BAY CITY         MI    48706‐3334
NINA L ALLEN & JOSEPH ALLEN JT TEN               31947 HAYES RD                                                                              WARREN           MI    48088‐1574
NINA L CUNNINGHAM                                417 EAST GREENWAY DR                                                                        TEMPE            AZ    85282‐6938
NINA L HANSON                                    17520 KENT AVE                                                                              MORLEY           MI    49336‐9436
NINA L RANTA                                     15427 DELAWARE                                                                              REDFORD          MI    48239‐3973
NINA L REX & VICKI J REX JT TEN                  800 ROBERTA ANN                                                                             SHERWOOD         AR    72120‐6038
NINA L WALTERS CUST NINA DARIN WALTERS UTMA MI   336 MYRTLEWOOD RD                  MEBOURNE                                                 MELBOURNE        FL    32940

NINA LAUREN CLOUTER                              38 WOODLAND AVE                                                                             BRIDGEPORT       CT    06605‐3457
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Name                                            Address1                                Address2                Address3       Address4          City               State Zip

NINA LEE ENGLE                                  PO BOX 576                                                                                       VEGA               TX    79092‐0576
NINA LOUISE SHUE EWING                          C/O NINA LOUISE NICKEL                  115 COLD SPRINGS ROAD                                    CARLISLE           PA    17013‐9119
NINA M CUMMINGS                                 2238 LINCOLN PARK W                                                                              CHICAGO            IL    60614‐3814
NINA M HAWLEY                                   191 PEEKS CROSSING DR                                                                            SENOIA             GA    30276‐1768
NINA M LANCI                                    227 OAK STREET                                                                                   BELLMORE           NY    11710‐3113
NINA M LANDAU & JEROME A LANDAU EX EST EDITH    13523 N 92 WAY                                                                                   SCOTTSDALE         AZ    85260
LANDAU
NINA M NEWINGTON                                11146 66TH ST                           EDMONTON AB                            T5B 1S1 CANADA
NINA M PESARE & LOUISE P MAURO JT TEN           67 BRIGHTWOOD AVE                                                                                PROVIDENCE         RI    02908‐1005
NINA M RAMIREZ                                  290 S 22ND ST                                                                                    SAN ROSE           CA    95116‐2725
NINA M SHELLEY                                  1514 WYLLYS ST                                                                                   MIDLAND            MI    48642‐4772
NINA M WILLIAMS & BILLY RAY WILLIAMS & THOMAS   8363 E OUTER DR                                                                                  DETROIT            MI    48213‐1327
WILLIAMS TEN COM
NINA M YANNUCCI                                 1507 SODUM HUTCHING N E                                                                          VIENNA             OH    44473‐9724
NINA MARIE CALLAHAN                             1223 MAGINN CT                                                                                   MT MORRIS          MI    48458‐1786
NINA MARIE CURNOW                               34444 HEARTSWORTH LANE                                                                           STERLING HEIGHTS   MI    48312‐5737

NINA MASTERSON                                  353 SPRING VALLEY LN                                                                             LEXINGTON          KY    40511
NINA MONSOUR                                    3757 ALLA DR                                                                                     SEVEN HILLS        OH    44131‐4504
NINA N COWAN CUST JASON ANDREW DUFORD UTMA      4163 RICHFIELD RD                                                                                FLINT              MI    48506‐2027
FL
NINA N GROOMS                                   2401 MEADOWBROOK LN                                                                              CLIO               MI    48420‐1988
NINA NACHMAN                                    7892 TRENT DR                                                                                    TAMARAC            FL    33321
NINA NICAUD HECKER                              972 HARDING DRIVE                                                                                NEW ORLEANS        LA    70119‐3859
NINA PETERSON                                   572 HEBRON ROAD                                                                                  SAVOY              TX    75479‐1220
NINA R BOUGEAREL & JOHN BOUGEAREL JT TEN        11409 ENTERPRISE DR                                                                              WESTCHESTER        IL    60154‐5823
NINA R FINUCAN ADM EST CHARLES MALCOMB BRUER    5928 S JOHNSON RD                                                                                BELOIT             WI    53511‐9442

NINA RAY MATTHEWS BOLEY                         718 OLD IVY RD NE                                                                                ATLANTA            GA    30342‐4322
NINA RUTH GAMMILL                               2208 32ND ST                                                                                     LUBBOCK            TX    79411‐1720
NINA S SCIOLARO                                 5009 N ELMWOOD AVE                                                                               KANSAS CITY        MO    64119
NINA SEMCZENKO                                  1171 RIDGECREST AVE                     ASHAWA ON                              L1H 1V3 CANADA
NINA SEMCZENKO                                  1171 RIDGECREST AVE                     OSHAWA ON                              L1H 1V3 CANADA
NINA SEMCZENKO                                  1171 RIDGECREST AVE                     OSHAWA ON                              L1H 1V3 CANADA
NINA SMITH EIKE                                 1181 JOLIETTE ROAD                                                                               RICHMOND           VA    23235‐6131
NINA SMITH HAMRICK                              5918 COLISEUM ST                                                                                 NEW ORLEANS        LA    70115‐4308
NINA SPELGATTI & JOANN BROEFFLE & D JOYCE       2448 RIDGE LN                                                                                    SAINT PAUL         MN    55112‐4911
CHRISTENSON JT TEN
NINA SUCHARSKI                                  28414 THORNYBRAE                                                                                 FARMINGTON HILLS MI      48331‐3345

NINA SUE RIGGIN                                 300 CLARA                                                                                        MONROE             LA    71203‐6706
NINA TURNER JOHNSON                             BOX 1781                                                                                         HIGHLANDS          NC    28741‐1781
NINA W MEEKS                                    1604 LUSK ST                                                                                     GUNTERSVILLE       AL    35976‐1264
NINA W WILTSE                                   127 BELLE TERRE                                                                                  COVINGTON          LA    70433‐4739
NINAMAE E REBER & DEBORAH C DAVIS JT TEN        3358 S LEONA ST                                                                                  BAY CITY           MI    48708‐1736
NINETTE ALTUS                                   825 SINGING HILLS DR                                                                             EL PASO            TX    79912‐3429
NINFA AVILA SANCHEZ                             2096 PAINTED POST                                                                                FLUSHING           MI    48433‐2562
NINFA ESPINOZA                                  635 KOURT DRIVE                                                                                  EUGENE             OR    97404‐2279
NINFA G RESENDEZ                                PO BOX 524                              14‐690 18TH STREET                                       HOLGATE            OH    43527‐0524
NINFA MONTEON                                   652 S JACKSON AVE                                                                                MASON CITY         IA    50401‐4914
NINFA O SANCHEZ                                 7301 CARRIVEAU AVE NE                                                                            ALBUQUERQUE        NM    87110‐1489
NINFA S DAVISON                                 1047 CLEAR POINT CT                                                                              BLOOMFIELD         MI    48304‐1173
NING WONG & SARAH WONG TR UA 07/23/85 WONG      20003 REDBEAM AVE                                                                                TORRANCE           CA    90503‐1141
FAMILY TRUST
NINO COMO & COLLEEN C MYERS JT TEN              20691 WEDGEWOOD DR                                                                               GROSSE PTE WOODS MI      48236‐1560

NINO IMBROGNO                                   140 HARRISON AVE                                                                                 YONKERS            NY    10705‐2609
NINO M RANGEL                                   1000 S IDAHO RD                                                                                  APACHE JCT         AZ    85119‐6495
NIRA COX                                        6619 PASEO                                                                                       KANSAS CITY        MO    64132‐1182
                                             09-50026-mg                    Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                                Address1                               Address2             Address3          Address4          City               State Zip

NIRMAL SINGH & NEELAM SINGH JT TEN                  29510 FOX GROVE RD                                                                              FARMINGTON HILLS MI      48334‐1945

NISHA A DOSS                                        425 W HOME AVE                                                                                  FLINT              MI    48505‐2633
NISHA A DOSS & MORDINE ALLEN JT TEN                 425 W HOME AVE                                                                                  FLINT              MI    48505‐2633
NISHAT AHMED & THANVIRA AHMED JT TEN                5303 LA CANADA BLVD                                                                             LA CANADA          CA    91011‐1724
NISHON R EVANS                                      5340 CRISTFIELD COURT                                                                           FAIRFAX            VA    22032‐3809
NISSAN AUTOMOBILE COMPANY OF CANADA LIMITED         5290 ORBITOR DR                        MISSISSAUGA ON                         L4W 4Z5 CANADA

NISSIM ALHADEFF                                     181‐35 MIDLAND PARKWAY                                                                          JAMAICA ESTATES    NY    11432‐1432
NISTOR POTCOVA JR & SALLY POTCOVA JT TEN            13672 SHADY LANE                                                                                MONROE             MI    48161‐4746
NITA C MOORE                                        3080 LEATHERWOOD RD                                                                             BEDFORD            IN    47421‐8771
NITA CORRINE BREEDEN PERS REP EST GEORGE O          710 LONGFELLOW ROAD                                                                             ANDERSON           IN    46011‐1824
TAYLOR
NITA FRIEDMAN CUST RANDI JEANNE FRIEDMAN UNIF       PO BOX 234                                                                                      NAPLES             ID    83847‐0234
GIFS MIN ACT NY
NITA H NISOTIS                                      1211 ALMONDWOOD DR                                                                              TRINITY            FL    34655
NITA J MULLINAX                                     253 TRACE HOLLOWRD                                                                              LAMPE              MO    65681
NITA L STARR                                        2700 SHIMMONS RD                       LOT 17                                                   AUBURN HILLS       MI    48326‐2002
NITA LOU DAVIS LAWLESS                              109 LARRY DR                                                                                    HEATH              TX    75032‐6605
NITA M ATKINS & KEITH A ATKINS JT TEN               139 MISSOULA AVE                                                                                BUTTE              MT    59701‐8415
NITA M KLUG & I IRVIN W KLUG JT TEN                 1920 CRESCENT DR                                                                                MANHATTAN          KS    66503‐7538
NITA P HERREMAN                                     3000 INDIAN WOOD RD                                                                             WILMETTE           IL    60091‐1130
NITA R LEWIS                                        251 ST RT 14                                                                                    NORTH BENTON       OH    44449‐9710
NITA ROBBINS TR NITA ROBBINS TRUST UA 9/1/99        PO BOX 945                                                                                      CARMEL             CA    93921‐0945
NIVALDO J RODRIGUEZ                                 40381 FLAGSTAFF D8                                                                              STERLING HEIGHTS   MI    48313‐3907

NIZAM U AHMED                                       26246 COLMAN DR                                                                                 WARREN             MI    48091‐1044
NJ FARMER & JOYCE J FARMER & REGINA J LANE & TINA   78 ROBINHOOD DR                                                                                 CROSSVILLE         TN    38555‐6869
MARIE LEE JT TEN
NOAH A WARD JR                                      5059 PARKWOOD CT                                                                                FLUSHING           MI    48433‐1390
NOAH ALONSO & LULU J ALONSO JT TEN                  PO BOX 1631                                                                                     EAST LANSING       MI    48826‐1631
NOAH E DEATON                                       401 GRANNY SMITH LN                                                                             MIDDLETOWN         OH    45044‐7945
NOAH E LAW                                          929 S ABERDEEN DRIVE                                                                            INDIANAPOLIS       IN    46241‐1848
NOAH E YANCY                                        4195 W CASTLE RD                                                                                FOSTORIA           MI    48435‐9638
NOAH G DOWELL                                       7750 ST RTE 309                                                                                 GALION             OH    44833‐9715
NOAH MARTIN                                         433 ADMIRAL CALLAGHAN LN TRLR 25                                                                VALLEJO            CA    94591
NOAH MILLSAPS                                       1127 VILLAGE RD                        APT 2                                                    BENTON             KY    42025‐8106
NOAH MOORE JR                                       501 SPENCER ST                                                                                  FLINT              MI    48505‐4257
NOAH P YOUNG JR                                     PO BOX 671                                                                                      BELLE              WV    25015‐0671
NOAH S MOORE                                        115 RED LION BRANCH RD                                                                          MILLINGTON         MD    21651‐1511
NOAH SHAPIRO                                        100 MORTON ST # 9 EW                                                                            NEW YORK           NY    10014‐3368
NOAHIE S FOLK                                       9925 STRASBURG RD                                                                               ERIE               MI    48133‐9728
NOBEL K CHEN                                        932 ELM ST                                                                                      NAPERVILLE         IL    60540‐0346
NOBEL S HADDAD                                      1612 LIBERTY DR                                                                                 CORONA             CA    92881‐4622
NOBERT L YAROCH TR NOBERT L YAROCH LIVING TRUST     44441 MATHISON DR                                                                               STERLING HEIGHTS   MI    48314‐1588
UA 08/16/95
NOBIE GILES                                         4217 COMSTOCK                                                                                   FLINT              MI    48504‐2171
NOBLE D JONES                                       2040 SUNSET LANE                                                                                SAGINAW            MI    48604‐2444
NOBLE D LEE                                         225 W SHEFFIELD                                                                                 PONTIAC            MI    48340‐1855
NOBLE E SHOTO                                       363 CHARLES ST                                                                                  MANSFIELD          OH    44903‐4116
NOBLE F HOLLIS                                      209 DUNOLLY LN                                                                                  FLORENCE           AL    35633‐3949
NOBLE F MORRIS                                      16914 PINEVIEW DR                                                                               PRESQUE ISLE       MI    49777‐8483
NOBLE JONES                                         217 E ELDRIDGE                                                                                  FLINT              MI    48505‐3433
NOBLE JONES JR & DONNA A JONES JT TEN               1310 SOUTH D ST                                                                                 MARION             IN    46953‐1719
NOBLE LANE & BEVERLY M LANE JT TEN                  5708 N 50 E                                                                                     GREENFIELD         IN    46140‐9059
NOBLE R GRAVES                                      1212 STRAWBERRY LN                                                                              BURTON             MI    48529‐2235
NOBLE WELCH                                         25 STRICKLAND RD                                                                                COS COB            CT    06807‐2727
NOBLIN JOHNSON                                      9687 PETER HUNT                                                                                 DETROIT            MI    48213‐2780
NOBUE WILSON                                        37 BERESFORD RD                                                                                 CHESTNUT HILL      MA    02467‐2622
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Name                                            Address1                               Address2             Address3          Address4          City            State Zip

NOE E QUINTERO                                  4733 ROBINSON RD                                                                                SYLVANIA        OH    43560‐1745
NOE F GUTIERREZ                                 318 EAST CHERRY LANE                                                                            LAREDO          TX    78041‐3634
NOE FLORES                                      8954 BURKE AVE                                                                                  SOUTHGATE       CA    90280‐3409
NOE L RODRIGUEZ                                 2645 ALMOND ST                                                                                  SELMA           CA    93662‐2653
NOEL A AUSTIN                                   206 MEADOW HILL CIRCLE                                                                          GOODE           VA    24556‐2205
NOEL A JOHANSON                                 1745 REYES LN                                                                                   TRACY           CA    95376‐0748
NOEL A LARSON                                   1814 PERO LAKE RD                                                                               LAPEER          MI    48446‐9093
NOEL ARBOLEDA                                   PO BOX 142                                                                                      ELIZABETH       NJ    07207‐0142
NOEL B COLLINS                                  13630 CASTLETON                                                                                 DETROIT         MI    48227‐3036
NOEL B COUNTS                                   229 ASPEN BLVD                                                                                  YORKTOWN        VA    23692‐4727
NOEL BARTLO & JEANNE BARTLO JT TEN              472 WHITEHAVEN RD                                                                               GRAND ISLAND    NY    14072‐1976
NOEL C COX & JAMES B COX JT TEN                 45 BRATTLE ST                                                                                   SOUTH BERWICK   ME    03908‐1702
NOEL C STANHOPE & LESLIE A STANHOPE JT TEN      92 1010 MAKAKILO DR APT 58                                                                      KAPOLEI         HI    96707‐1380
NOEL D HUMPHREYS                                36 TOMPKINS PLACE                                                                               BROOKLYN        NY    11231‐4404
NOEL D JONES                                    W 10899 HIGHWAY C                                                                               CAMP DOUGLAS    WI    54618
NOEL D WILLIAMS                                 114 4TH AVE                                                                                     BRUNSWICK       MD    21716‐1605
NOEL E HANF                                     311 COUNTY RTE 61                                                                               CAMBRIDGE       NY    12816‐2516
NOEL E LUTTRELL                                 2823 S 14TH ST                                                                                  NEW CASTLE      IN    47362‐1802
NOEL F AFFOURTIT CUST MIKE AFFOURTIT UGMA OH    2956 COUNTY LINE ROAD                                                                           BEAVERCREEK     OH    45430‐1907

NOEL F EARLES                                   1122 E GANO                                                                                     KOKOMO          IN    46901‐1632
NOEL G BERES CUST BROOKE M BERES UTMA FL        21200 NE 38TH AVE                      APT 405                                                  MIAMI           FL    33180
NOEL GOWTON                                     1544 OHIO AVE                                                                                   LAWRENCEVILLE   NJ    08648‐4651
NOEL GOWTON CUST BRANDON L GOWTON UTMA NJ       1544 OHIO AVE                                                                                   LAWRENCEVILLE   NJ    08648‐4651

NOEL GURIN & ANITA GURIN JT TEN                 160‐40 86TH ST                                                                                  HOWARD BEACH    NY    11414‐3030
NOEL H TIPTON & REBA TIPTON JT TEN              BOX 193                                                                                         ALLARDT         TN    38504‐0193
NOEL H WILLIAMS                                 PO BOX 222                                                                                      DAYTON          TN    37321‐0222
NOEL HENRY DEANCAUSSE                           56130 DIAMONDHEAD DR E                                                                          DIAMONDHEAD     MS    39525‐3434
NOEL J EDWARDS                                  6605 CAPITOL HILL DR                                                                            ARLINGTON       TX    76017‐4903
NOEL J GREMILLION                               18W100 JAMESTOWN LN                                                                             VILLA PARK      IL    60181‐3843
NOEL J MARTIN                                   6761 W 100 S                                                                                    SWAYZEE         IN    46986‐9740
NOEL J RAUFASTE IV                              108 OSBORNE RD                                                                                  ABERDEEN        MD    21001‐2509
NOEL JONCAS                                     309 LELAND ST                                                                                   FLUSHING        MI    48433‐1747
NOEL K JULKOWSKI                                4456 NE CAMPAIGN ST                                                                             PORTLAND        OR    97218‐1725
NOEL K MC DONALD                                36532 TOM BROWN CT                                                                              WESTLAND        MI    48185‐2630
NOEL KRANTZ CUST CALEB KRANTZ UGMA IA           9404 JAYNES ST                                                                                  OMAHA           NE    68134‐1633
NOEL KRANTZ CUST COREY KRANTZ UGMA IA           RR 1                                                                                            TITONKA         IA    50480‐9801
NOEL L DANSEREAU                                668 E BOUTELL RD                                                                                BAY CITY        MI    48708‐9170
NOEL L WENDT                                    4931 23RD AVE NW                                                                                ROCHESTER       MN    55901‐0179
NOEL LAMKIN CUST STEPHANIE ELAINE LAMKIN UGMA   PO BOX 2282                                                                                     MAMMOTH LAKES   CA    93546‐2282
CA
NOEL LOCKWOOD WHITESIDE                         20001 WESTHAVEN LANE                                                                            ROCKY RIVER     OH    44116‐4053
NOEL M DU BOIS                                  71 NICOLE DRIVE                                                                                 MILFORD         CT    06460‐6970
NOEL M FRANCIS JR                               2805 HOGAN CIRCLE                                                                               FENTON          MI    48430
NOEL M GROESCHEL & CATHERINE GROESCHEL JT TEN   6218 PALMA DEL MAR BL                                                                           ST PETERSBURG   FL    33715‐1296

NOEL M HOUSE                                    3396 FAIRVIEW CHURCH RD                                                                         BONNE TERRE     MO    63628‐8433
NOEL M MARTIN                                   3328 MARCASITE DR                                                                               ROUND ROCK      TX    78681‐2439
NOEL M PACE CUST RODNEY O PACE UGMA PA          2142 S RIDGE POINT WAY                                                                          BOISE           ID    83712‐8517
NOEL MITCHELL TERHUNE                           5742 BASIN VIEW DRIVE                                                                           KLAMATH FALLS   OR    97603‐3992
NOEL R EVANS JR                                 624 S GRAND TRAVERSE ST                                                                         FLINT           MI    48502‐1230
NOEL R FREESE & RUTH E FREESE JT TEN            202 N W O'BRIEN ROAD                                                                            LEE'S SUMMIT    MO    64063‐2113
NOEL R LITTLE                                   1650 PINNACLE RD                                                                                HENRIETTA       NY    14467‐9611
NOEL R PATENAUDE                                150 N 33 ST                                                                                     BATTLE CREEK    MI    49015‐4923
NOEL S KIPP                                     4891 GENESEE RD                                                                                 LAPEER          MI    48446‐3633
NOEL STEVENS                                    BOX 806                                                                                         GREENTOWN       PA    18426‐0806
NOEL T BOLTUCH                                  265 HUGHES ROAD                                                                                 GULPH MILLS     PA    19406‐3711
NOEL W BARKER                                   5731 BLACKSTONE                                                                                 CHICAGO         IL    60637‐1823
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Name                                             Address1                                Address2             Address3          Address4          City            State Zip

NOEL W BULLOCK                                   BOX 8                                                                                            GRANT           NE    69140‐0008
NOEL W BULLOCK & MRS KARELN K BULLOCK JT TEN     PO BOX 8                                                                                         GRANT           NE    69140‐0008

NOEL W LANE                                      9423 LEHRING                                                                                     DURAND          MI    48429‐9448
NOEL YBARRA                                      1793 REDWOOD CIR                                                                                 ADRIAN          MI    49221
NOELLA PASMORE CRAWFORD                          2110 1ST AVE                            APT 1706                                                 NEW YORK        NY    10029‐3314
NOELLE A RUANE TR UW 05/30/2001 RONALD R RUANE PO BOX 189                                                                                         KEENE           VA    22946
CREDIT SHELTER TRUST
NOELLE C NELSON                                  30765 PACIFIC COAST HWY 132                                                                      MALIBU          CA    90265
NOELLE HUFFMAN                                   345 REYMONT                                                                                      WATERFORD       MI    48327‐2864
NOELLE M DRUGAN                                  19701 SPRUCE ST                                                                                  CASTRO VALLEY   CA    94546‐4620
NOELLE PALMER                                    66 PROSPECT ST 3                                                                                 MARBLEHEAD      MA    01945‐3162
NOELLE RIMAS                                     PSC 473 BOX 864                                                                                  FPO             AP    96349‐5555
NOELLE SIPOS                                     2370 BAYVIEW LN                                                                                  NORTH MIAMI     FL    33181‐2432
NOEMA ALVAREZ                                    3707 LONEWOOD CT                                                                                 LAND O LAKES    FL    34638‐8055
NOEMI TURNER                                     7220 RIER RIDGE CT                                                                               BRIGHTON        MI    48116
NOEMIN M GYURJAN                                 132 DEPEYSTER ST                                                                                 N TARRYTOWN     NY    10591‐2412
NOHELY SALAS                                     6249 S MONITOR AVE                                                                               CHICAGO         IL    60638‐4415
NOLA A CROW                                      2823 WHISPER HILL                                                                                SAN ANTONIO     TX    78230‐3713
NOLA A FERRARI                                   1410 WAREMAN AVE                                                                                 PITTSBURGH      PA    15226‐2360
NOLA A STEBBINS                                  11 DOUGLAS DRIVE                                                                                 ROCHESTER       NY    14624‐4803
NOLA BASS                                        S10509 TROY RD                                                                                   SAUK CITY       WI    53583‐9342
NOLA C DUM                                       2823 WHISPER HILL                                                                                SAN ANTONIO     TX    78230‐3713
NOLA CARTER HUMES                                PO BOX 205                                                                                       FORT DODGE      IA    50501‐0205
NOLA D HEPLER & JOHN M HEPLER II JT TEN          1070 BANGOR                                                                                      WATERFORD       MI    48328‐4718
NOLA EYTCHISON TR EYTCHISON LIVING TRUST UA      1660 E VALHALLA DR                                                                               FRESNO          CA    93730‐3534
04/09/03
NOLA I SCOTT                                     ATTN NOLA I SCOTT STOICK                2333 ULA DRIVE                                           CLIO            MI    48420‐1065
NOLA J DABNEY & BURGIN E DABNEY JR & DEBBIE L    10100 CATTAIL RD                                                                                 CHESTERFIELD    VA    23838‐5011
DABNEY JT TEN
NOLA J DAVEDOWSKI                                26620 BURG RD                           APT 106                                                  WARREN          MI    48089
NOLA M BONCHER                                   332 OBED PT                                                                                      GROSSVILLE      TN    38571‐6803
NOLA M LEE                                       183 TERRACE PK                                                                                   ROCHESTER       NY    14619‐2418
NOLA M SAWYERS                                   2114 LEHMAN                                                                                      TOLEDO          OH    43611‐2933
NOLA M WEIS                                      S10509 TROY RD                                                                                   SAUK CITY       WI    53583‐9342
NOLA MAE AMOS                                    1800 CAPEWAY RD                                                                                  POWHATAN        VA    23139‐7325
NOLA MARIA HAISS                                 229 PORTER RD                                                                                    ATWATER         OH    44201‐9554
NOLA TEMPLETON                                   10300 FARRAND RD                                                                                 OTISVILLE       MI    48463‐9771
NOLA V KEENEY TR UA 07/01/1999 NOLA KEENEY TRUST 2140 SYCAMORE VIEW CRT                                                                           MIAMISBURG      OH    45342

NOLAN A GRAVES                                   192 ABBY LN                                                                                      JACKSBORO       TN    37757‐4518
NOLAN C DINSMORE                                 906 ARLINGTON RD                                                                                 BECKLEY         WV    25801‐9175
NOLAN CASTILLE                                   223‐18 112TH RD                                                                                  QUEENS VLG      NY    11429
NOLAN COPELAND                                   60 TOWER WAY                                                                                     ALLARDT         TN    38504‐5129
NOLAN D HUFFER & MARY L HUFFER JT TEN            1509 SPANISH DR                                                                                  LEESBURG        FL    32748
NOLAN GULLETT                                    4327 WILLARD W RD                                                                                WILLARD         OH    44890‐9408
NOLAN H STOGSDILL                                PO BOX 176                                                                                       BOURBON         MO    65441‐0176
NOLAN K NEIGHBORS & NANCY N LANDSHOF JT TEN      1833 QUAIL VALLEY COVE                                                                           MEMPHIS         TN    38134‐6505

NOLAN L REECE                                    377 WEST 5TH ST                                                                                  PERU            IN    46970‐1944
NOLAN LEWIS & MRS ELIZABETH Y LEWIS JT TEN       925 E SUNSET DR                                                                                  CASA GRANDE     AZ    85222‐2715
NOLAN LIPSKY CUST JEFFERSON R LIPSKY UGMA IL     230 FOXX MANOR                                                                                   CHATHAM         IL    62629‐2002

NOLAN MOORE JR                                   7420 WILLOW OAK CT                                                                               WEST BLOOMFIELD MI    48324‐3077

NOLAN PATRICK LAMBERT                            631 ST CHARLES AVE                                                                               NEW ORLEANS     LA    70130‐3411
NOLAN R JESSEE                                   410 CHESTERFIELD AVE                                                                             LANCASTER       SC    29720‐3508
NOLAN R KENT & MRS LINDA H KENT JT TEN           302 GIBSON HGWY                                                                                  WARRENTON       GA    30828‐8838
NOLAN R PEDIGO & ADA L PEDIGO JT TEN             7527 EAGLE VALLEY PASS                                                                           INDIANAPOLIS    IN    46214‐1552
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Name                                          Address1                            Address2             Address3          Address4                City              State Zip

NOLAN R WHITAKER                                1336 PHILATHA                                                                                    TROY              MI    48098‐3336
NOLAN R WHITE & DOROTHY E WHITE TR WHITE FAMILY RTE 2 BOX 868                                                                                    ALAMO             TX    78516‐9646
TRUST UA 01/06/95
NOLAN WHITLOCK                                  349 OLD HAMILTON RD                                                                              MARIETTA          GA    30064‐1629
NOLAND A HALE                                   14399 PARKMAN BLVD                                                                               BROOKPARK         OH    44142‐2529
NOLAND D HUMPHREY                               3124 EDGAR                                                                                       MAPLEWOOD         MO    63143‐3906
NOLAND E SCHUBERT                               14534 S MULLEN RD                                                                                OLATHE            KS    66062‐6563
NOLAND R MOORE                                  1520 COUNTRY LN                                                                                  MILLPORT          AL    35576‐2803
NOLBERTO BENAVIDES JR                           2340 HUBER RD                                                                                    SEGUIN            TX    78155
NOLEN R YARBROUGH                               95 BUSH HOLLOW LN                                                                                ELMWOOD           TN    38560‐4051
NOLEN RAY                                       809 CHRISTOPHER CIRCLE                                                                           ALBERTVILLE       AL    35951‐3703
NOLLIE E WILLIAMSON                             3890 REX RD                                                                                      REX               GA    30273‐1330
NOLLIE L COMBS                                  580 LINCOLN PARK BLVD             STE 399                                                        DAYTON            OH    45429‐6400
NOMA J WARRENS                                  3723 KLIBRECK DR                                                                                 COLUMBUS          OH    43228‐3728
NOMA R MAULDIN                                  18009 E 25TH TERRACE                                                                             INDEPENDENCE      MO    64057‐1343
NOMA RUDISILL                                   2829 WILKINSON ROAD                                                                              SARASOTA          FL    34231‐2801
NOMA WELLS                                      3709 LADERA DR                                                                                   BEDFORD           TX    76021‐4087
NOME F POLITES TOD JAN F SCHRAG SUBJECT TO STA  216 SANDPIPER LOOP                                                                               POST FALLS        ID    83854
TOD RULES
NOMIKEE KOUMAS                                  5413 GOLD MOORE COURT                                                                            CENTREVILLE       VA    20120‐1658
NOMIKEE KOUMAS & TED J KOUMAS JT TEN            5413 GOLD MOORE COURT                                                                            CENTREVILLE       VA    20120‐1658
NON HOLDER FOR INQ PROCESSING                   C/O SHAREHOLDER SERVICES          45‐02‐62                                                       CANTON            MA    02021
NONA F DOLCEAMORE                               52 GREATE BAY CRT                                                                                SOMERS POINT      NJ    08244‐1700
NONA G PHILIPSEN                                10765 NE HOYT                                                                                    PORTLAND          OR    97220
NONA LEE OLSON                                  RFD 1 BOX 430                                                                                    MT VERNON         ME    04352‐9801
NONA M SPENCER                                  8597 HARTWELL                                                                                    DETROIT           MI    48228‐2558
NONA MITCHELL                                   6257 ELDRIDGE                                                                                    BEDFORD HTS       OH    44146‐4008
NONA OTTO BLAUVELT                              889 TWINLYN DR                                                                                   LANSDALE          PA    19446‐5543
NONA R ANDERSON                                 9920 SHEEHAN RD                                                                                  DAYTON            OH    45458‐4116
NONA R MEYER                                    829 SHEFFIELD PLACE                                                                              THOUSAND OAKS     CA    91360‐5349
NONA R SIDLO                                    2358 4TH AVE                                                                                     NORTH RIVERSIDE   IL    60546‐1211
NONA T HOLLIS                                   4745 WALLACE RD                                                                                  OXFORD            OH    45056‐9048
NONA T PEREZ                                    9509 OLD GEORGETOWN ROAD                                                                         BETHESDA          MD    20814‐1723
NONDAS L JOYNER                                 30 FAIRLANE DR                                                                                   WARSAW            IN    46580‐4609
NONIE C DIETZ                                   13612 ROLLING WOOD CIR                                                                           CHINO HILLS       CA    91709‐1409
NOPAMON THEVIT INTRALIB                         131 WHITFIELD ST                  2ND FLR FLAT         LONDON            W1T 5EH GREAT BRITAIN
NOR NAT CO                                      245 FRONT ST                                                                                     NORTHUMBERLND     PA    17857

NOR‐NAT CO                                    C/O THE NORTHUMBERLAND              NATIONAL BANK        245 FRONT ST                              NORTHUMBERLAND PA       17857‐1611

NORA A DUNSCOMB                               3628 WISHBONE BLVD                                                                                 INDIANAPOLIS      IN    46268‐3641
NORA A FRANCIS                                7047 CR 59                                                                                         LEXINGTON         OH    44904‐8513
NORA A MARTINEZ                               2469 MARJORIE LANE                                                                                 CLIO              MI    48420‐9152
NORA A MASSE                                  1844 RANDOLPH ST                                                                                   DELANO            CA    93215
NORA A WOODARD                                1068 SUNSET HEIGHTS RD                                                                             ESCONDIDO         CA    92026‐3345
NORA A ZENTNER                                219 DETROIT                                                                                        SOUTH LYON        MI    48178‐1203
NORA B DUNN                                   20 NORTH SUTPHIN ST                                                                                MIDDLETOWN        OH    45042‐3219
NORA B LEPPANEN                               6298 COVERTY CRT                                                                                   VERO BEACH        FL    32966
NORA B THOMPSON                               103 LUCAS STREET                                                                                   BROOKHAVEN        MS    39601‐2519
NORA C RACHOW                                 5728 ALLEN PADGHAM ROAD                                                                            FARMINGTON        NY    14425‐7004
NORA D BOKAN                                  1602 FRANCIS WAY                                                                                   LONGMONT          CO    80501‐2569
NORA E CHANDLER                               9165 GRANADA HILLS DR                                                                              WEST JORDAN       UT    84088
NORA E DEE                                    C/O JAMES L DEE                     6022 W TAYLOR RD                                               MUNCIE            IN    47304‐4766
NORA E KORONICH                               2305 NOMAD AVE                                                                                     DAYTON            OH    45414‐3362
NORA E SHAW                                   2002 ALEXANDRIA PK                                                                                 ANDERSON          IN    46012‐1802
NORA FIELDS                                   314 E HOME AVE                                                                                     FLINT             MI    48505‐2866
NORA G GARRISON                               1450 NEW HOPE CHURCH RD SW                                                                         LOGANVILLE        GA    30052‐3842
NORA G TRUAX                                  4112 CARMELITA BLVD                                                                                KOKOMO            IN    46902‐4613
NORA GREER CUST SEAN BASSETT UTMA AZ          4001 N 65TH ST                                                                                     SCOTTSDALE        AZ    85251‐4235
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Name                                            Address1                             Address2             Address3          Address4          City            State Zip

NORA H PAGE                                     2171 SOLDIERS HOME ROAD                                                                       W CARROLLTON     OH   45418‐2338
NORA HENDRICKSON                                4238 ZAGAR DR                                                                                 CINCINNATI       OH   45245‐1610
NORA HOWLEY                                     82 ALBEMARLE RD                                                                               NEWTONVILLE      MA   02460‐1108
NORA I SAUNDERS                                 142 GREYSTONE RD                                                                              ROCKVILLE CENTRE NY   11570‐4515

NORA J ABNEY                                    6645 S STATE RT 201                                                                           TIPP CITY       OH    45371‐8500
NORA J CORNING                                  PO BOX 17                                                                                     BLACK RIVER     MI    48721‐0017
NORA J COX                                      4151 MONTVALE ROAD                                                                            MARYVILLE       TN    37803
NORA J SMART                                    2608 CARRIAGE HOUSE DR                                                                        ALLISON PARK    PA    15101‐2672
NORA J TAYLOR                                   BOX 379                                                                                       BIMBLE          KY    40915‐0379
NORA K BAILEY                                   274 ROCKFORD CIR                                                                              WHITE LAKE      MI    48386‐1941
NORA K MACK                                     966 DANIEL RD                                                                                 WEATHERFORD     TX    76087‐5537
NORA K MCGEE                                    3384 TOWERS LOOP RD                  UNIT 414                                                 STORRS MANFLD   CT    06269
NORA L ALLEN                                    8000 STRATMAN RD                                                                              DUNDALK         MD    21222‐4742
NORA L CARROLL                                  50 ANN AVE                                                                                    PENDLETON       IN    46064‐9106
NORA L INGRAM                                   3168 FM 768 N                                                                                 RUSK            TX    75785‐3705
NORA LEE GILCHRIST                              825 BUTCHER BEND RD                                                                           MINERAL WELLS   WV    26150
NORA LEE MARSHALL                               2420 WEST COLD WATER ROAD                                                                     FLINT           MI    48505‐4809
NORA M COREY                                    1508 PEPPER HILL DR                                                                           LANSING         MI    48917‐1646
NORA M DRAVES                                   7140 RIVER REACH RD                                                                           GERMANTOWN      TN    38138‐1611
NORA M GOODMAN                                  100 N MONROE AVE                                                                              WENONAH         NJ    08090‐1736
NORA M PHILLIPS                                 1956 CHESTER AVE                                                                              WARREN          OH    44481‐9757
NORA M STRNAD & CAROLE E STRNAD JT TEN          47584 FORTON                                                                                  NEW BALTIMORE   MI    48047‐3443
NORA MADDEN ASHBY                               5625 PENN AVE                                                                                 DAYTON          OH    45432‐1726
NORA MC DONOGH & KATHLEEN MC DONOGH & JOHN      5525 S TROY AVE                                                                               CHICAGO         IL    60629‐2418
MC DONOGH JT TEN
NORA MULLEN & RUSSELL H MULLEN JT TEN           281 PENNINGTON‐TITUSVILL RD                                                                   PENNINGTON      NJ    08534‐4102
NORA O GRANZOTTO TR UA 11/18/09 NORA O          25081 STONYCROFT DR                                                                           SOUTHFIELD      MI    48033
GRANZOTTO LIVING TRUST
NORA P CASTLE                                   2760 FAIRMOUNT BLVD                                                                           CLEVELAND       OH    44118‐4018
                                                                                                                                              HEIGHTS
NORA P MATURE                                   13214 OAK FARM RD                                                                             WOODBRIDGE      VA    22192
NORA QUILLIAM                                   9575 WORMER                                                                                   REDFORD         MI    48239‐1680
NORA R AZIZEH & MOUSSA A AZIZEH JT TEN          PO BOX 182                                                                                    MAPLE VALLEY    WA    98038‐0182
NORA R BENTZ & ALAN D BENTZ JT TEN              315 15 ST SE                         APT L‐2                                                  MOULTRIE        GA    31768‐5088
NORA R LIMRON & GARY R LIMRON JT TEN            7137 PARTRIDGE DRIVE                                                                          FLUSHING        MI    48433‐8853
NORA R MYERS                                    359 CAROLINA MEADOWS VILLA                                                                    CHAPEL HILL     NC    27517‐7549
NORA S MALLOY                                   11 WILSON AVE                                                                                 QUAKER HILL     CT    06375‐1716
NORA T EL CUST ELI RUBEN EL JR UTMA IL          159 N JEFFERSON AVE                                                                           BRADLEY         IL    60915‐1829
NORA T JAFFE                                    2424 ELLENTOWN RD                                                                             LA JOLLA        CA    92037‐1109
NORA W BARDEN                                   PO BOX 457                                                                                    AMELIA CT HSE   VA    23002‐0457
NORA W CAMPBELL                                 3056 ROSEMONT RD                                                                              NORTH JACKSON   OH    44451‐9778
NORA YOST                                       108 W MAIN ST                        PO BOX 83                                                HALE            MI    48739‐0083
NORABELLE C MAC KENZIE                          435 SHEPARD ST                                                                                LANSING         MI    48912‐2610
NORABELLE C MACKENZIE & RALPH W MACKENZIE JT    435 SHEPARD ST                                                                                LANSING         MI    48912‐2610
TEN
NORADA M WILKEY TR NORADA MARSHALL WILKEY       3189 VIA DE CABALLO                                                                           ENCINITIS       CA    92024‐6925
REVOCABLE TRUST UA 02/08/06
NORAH A GRIFFIN & JOHN GRIFFIN JT TEN           12004 HAWTHORN LN                                                                             OKLAHOMA CITY   OK    73162‐1928
NORAH BACHMAN & SHIRLEY J SHEA & KENNETH J      2305 AARON ST                        APT 307                                                  PT CHARLOTTE    FL    33952‐5312
BACHMAN JT TEN
NORB J ALLGEYER & MARY L ALLGEYER JT TEN        905 SUNGLOW DRIVE                                                                             VILLA HILLS     KY    41017‐1131
NORBERT A HILKOWSKI                             40493 PINETREE                                                                                PLYMOUTH        MI    48170‐4443
NORBERT A REUTER & VALERIE A REUTER JT TEN      32544 BRIDGE                                                                                  GARDEN CITY     MI    48135‐1601
NORBERT A RZESKI                                405 AURORA ST                                                                                 LANCASTER       NY    14086‐2969
NORBERT A SIGLINSKY CUST TERRANCE G SIGLINSKY   N1591 FAIRVIEW LANE                                                                           FORT ATKINSON   WI    53538‐9336
UGMA WI
NORBERT A STARK                                 1712 SHEARING DRIVE                                                                           MARILLA         NY    14102‐9740
NORBERT A WEISS                                 1734 W 32ND ST                                                                                MARION          IN    46953‐3434
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Name                                            Address1                              Address2               Address3        Address4          City              State Zip

NORBERT A ZRENNER                              2338 RIVIERA DRIVE                                                                              ANDERSON          IN    46012‐4722
NORBERT B GELETZKE                             22701 REVERE                                                                                    ST CLAIR SHOR     MI    48080‐2884
NORBERT B JARUSZEWSKI & ROBERTA G JARUSZEWSKI 21315 CANCUN                                                                                     MISSION VIEJO     CA    92692‐4910
JT TEN
NORBERT B RIETHMAN                             9210 W MIAMI SHELBY RD                                                                          COVINGTON         OH    45318‐9626
NORBERT BAER                                   PLATANENSTRASSE 20                     D‐65474 BISCHOFSHEIM                   GERMANY
NORBERT BOECKER                                BOX 365                                                                                         OTTOVILLE         OH    45876‐0365
NORBERT C DUELL                                3535 N ALCONY CONOVER RD                                                                        CASSTOWN          OH    45312‐9727
NORBERT C EBLE                                 677 KARNAK COURT                                                                                CINCINNATI        OH    45233‐4735
NORBERT C WNUKOWSKI & IRENE J WNUKOWSKI JT TEN 4866 ROBERT                                                                                     SHELBY TOWNSHIP   MI    48316‐4134

NORBERT CHOJNACKI & ANTOINETTE CHOJNACKI JT TEN 21901 BRADFORD CT                                                                              ST CLAIR SHORES   MI    48080‐2482

NORBERT D MAYLE                                 6615 WATERS EDGE WAY                                                                           BRADENTON         FL    34202‐2255
NORBERT D TRESCHER                              1310 MONTEREY LANE                                                                             JANESVILLE        WI    53546‐5567
NORBERT DALLADAS                                2372 C VIA MARIPOSA                                                                            LAGUNA WOODS      CA    92653
NORBERT DALLADAS & IRMGARD DALLADAS JT TEN      2372 C VIA MARIPOSA                                                                            LAGUNA HILLS      CA    92653

NORBERT E FERNANDEZ                              2301 GROESBECK AVE                                                                            LANSING           MI    48912‐3452
NORBERT E KELLY                                  1004 WESTERN AVE                                                                              LANCASTER         WI    53813‐2129
NORBERT E SKIBINSKI                              118 WESTLAND PKWY                                                                             CHEEKTOWAGA       NY    14225‐3045
NORBERT EDWARD EAGLOSKI II                       2409 WINTER ST                                                                                ST ALBANS         WV    25177‐3311
NORBERT F GAUGHAN                                500 NORTHGATE DR                                                                              DYER              IN    46311‐1145
NORBERT F GORAJCZYK                              5624 TOWNSHIP CT                                                                              STERLING HTS      MI    48310‐4082
NORBERT F KARHOFF                                G‐4015 LENNON ROAD                                                                            FLINT             MI    48507
NORBERT F KARHOFF & MRS VALERIA E KARHOFF JT TEN G‐4015 LENNON RD                                                                              FLINT             MI    48507

NORBERT F MEGER                                 7809 WARWICK AVE                                                                               DARIEN            IL    60561‐4566
NORBERT F WINTER JR                             926 S HIGHVIEW CIR                                                                             SAINT PAUL        MN    55118‐3686
NORBERT G GWARDZINSKI                           2047 DARTMORE ST                                                                               PITTSBURGH        PA    15210‐4007
NORBERT HERMANN GROEGER                         218 21ST AVE                                                                                   SF                CA    94121‐2114
NORBERT J CARNEY                                143 LINDER DR                                                                                  HOMOSASSA         FL    34446‐4043
NORBERT J DENIL                                 508 ERINDALE COURT                                                                             AIKEN             SC    29803‐8060
NORBERT J MUCKELBAUER JR & MRS G HELEN          1004 NORA DRIVE                                                                                SILVER SPRING     MD    20904‐2134
MUCKELBAUER JT TEN
NORBERT J RAPP                                  11080 KILARNEY                                                                                 ROMEO             MI    48095‐2508
NORBERT J REHMANN CUST MARC P REHMANN UGMA      PO BOX 745                                                                                     HARBOR SPRINGS    MI    49740‐0745
MI
NORBERT J SLAVIAK                               31 BILLINGTON HEIGHTS RD                                                                       EAST AURORA       NY    14052‐1107
NORBERT J TORCHALA                              30111 VALENTI                                                                                  WARREN            MI    48093‐3380
NORBERT J ZENIECKI & BETTY J ZENIECKI JT TEN    5517 N 69TH ST                                                                                 MILWAUKEE         WI    53218‐2953
NORBERT KUEPPER                                 DARMSTAEDTER STR 10                   D‐63322 RODERMARK                      GERMANY
NORBERT KUEPPER                                 DARMSTAEDTER STR 10                   D‐63322 ROEDERMARK                     GERMANY
NORBERT KUEPPER                                 DARMSTADTER STR 10                    D‐63322 ROEDERMARK                     GERMANY
NORBERT KUEPPER                                 DARMSTAEDTER STR 10                   D‐63322 ROEDERMARK                     GERMANY
NORBERT L GAST                                  311 MICHIGAN AVE                                                                               SANDUSKY          OH    44870‐5769
NORBERT L TRAHAN                                8467 PINEVIEW LK DR                                                                            LINDEN            MI    48451‐9765
NORBERT L UNDERWOOD                             34909 CURRIER                                                                                  WAYNE             MI    48184‐2394
NORBERT LEVASSEUR                               2451 APPLE BLOSSOM LN                                                                          WAUCHULA          FL    33873‐9035
NORBERT M MAYERHOFER                            236 ESDRAS PLACE                      WINDSOR ON                             N8S 2M5 CANADA
NORBERT M MICHELS JR & MARY J MICHELS JT TEN    4867 LEEDS CT                                                                                  DUNWOODY          GA    30338‐5025

NORBERT M TUREK                                 2269 SW OLYMPIC CLUB TER                                                                       PALM CITY         FL    34990‐6044
NORBERT MELNIK                                  28464 ELMIRA                                                                                   LIVONIA           MI    48150‐3105
NORBERT N NALECZ                                35184 PINETREE AVE                                                                             LIVONIA           MI    48150‐2651
NORBERT O SIMON                                 11300 CHANDLER RD                                                                              DEWITT            MI    48820‐9789
NORBERT P HOLLER                                1401 OCEAN AVE APT 12G                                                                         BROOKLYN          NY    11230
NORBERT P KOSCINSKI & SHARON KOSCINSKI JT TEN   972 KELLOGG                                                                                    SANTA BARBARA     CA    93111‐1023
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Name                                              Address1                                Address2             Address3          Address4          City               State Zip

NORBERT R CLENDENIN                               1662 EVALIE DR                                                                                   FAIRFIELD          OH    45014‐3519
NORBERT R DANCZYK                                 720 N GRANT AVE                                                                                  JANESVILLE         WI    53548‐2302
NORBERT R FICHTER JR                              4034 PRINCETON PLACE                                                                             GAINESVILLE        GA    30507‐8700
NORBERT R KONEN                                   41734 MERRIMAC CIRCLE                                                                            CLINTON TWP        MI    48038‐2276
NORBERT RADZIALOWSKI & CAROLE RADZIALOWSKI JT     311 FIRST ST                                                                                     NORTHVILLE         MI    48167‐1571
TEN
NORBERT S KOLESAR                                 12274 BLISS CT                                                                                   STERLING HEIGHTS   MI    48312‐3102

NORBERT S SPECHT TOD JODI J COUGHLIN SUBJECT TO   248 STONEBRIDGE DR                                                                               SAGAMORE HILLS     OH    44067‐3249
STA TOD RULES
NORBERT SCHWARZ                                   3204 BLUE ACRES DR                                                                               CINCINNATI         OH    45239‐6121
NORBERT T PRANGE                                  114 N FOURTH                                                                                     MARINE CITY        MI    48039‐1508
NORBERT V GOLONKA CUST DONALD N GOLONKA           57319 BLOSSOM DRIVE                                                                              WASHINGTON         MI    48094‐3223
UGMA MI                                                                                                                                            TOWNSHI
NORBERT W DERSTINE                                15886 MAHONING AVE                                                                               DIAMOND            OH    44412‐9602
NORBERT W DONAKOWSKI & SUE E DONAKOWSKI JT        C/O DANIEL A DONAKOWSKI                 4405 52ND STREET                                         DETRIOT            MI    48210‐2727
TEN
NORBERT W TECKLENBURG                             1094 MAPLECREST DRIVE                                                                            TROY               OH    45373‐1761
NORBERT WINDELEN                                  SCHILLERSTR 23 D‐57548                  KIRCHEN SIEG                           GERMANY
NORBERT WOZNIAK & INA WOZNIAK JT TEN              1901 18TH ST                                                                                     BAY CITY           MI    48708‐7514
NORBERT ZIENTY JR                                 222 OAK BROOK RD                                                                                 OAK BROOK          IL    60523‐2316
NORBERTO C TUASON & VICTORIA C TUASON JT TEN      18 BUCKINGHAM PL                                                                                 GLEN ROCK          NJ    07452‐1802

NORBERTO F DI SANTE                            15 ARGOSY DR                                                                                        AMHERST            NY    14226‐1223
NORBERTO H BASSO                               8404 HELEN                                                                                          CENTER LINE        MI    48015‐1562
NORBERTO T REYES JR                            290 N MOHLER DR                                                                                     ANAHEIM            CA    92808‐1043
NORBORTH W MCKEARNEY IV & EDITH F MCKEARNEY JT 71 MESSENGER ST APT #969                                                                            PLAINVILLE         MA    02762‐2239
TEN
NORDAHL M STEEN                                1147 COUNTRY CLUB RD                                                                                OAK HILL           WV    25901‐2051
NORDIGIAN LEASING A PARTNERSHIP                C/O PETER J NORDIGIAN                      301 W EAGLE COURT                                        WAUKEGAN           IL    60087
NOREEN A MURPHY                                76 WOODLANE DR                                                                                      BUFFALO            NY    14224
NOREEN C EMERSON                               6311 TULSA LANE                                                                                     BETHESDA           MD    20817‐2336
NOREEN C MCPHAIL                               146 GOODING STREET                                                                                  LOCKPORT           NY    14094‐2236
NOREEN CAMPBELL                                6 SHADE LANE                                                                                        WHITEHOUSE         NJ    08889‐3540
                                                                                                                                                   STATION
NOREEN D HERMANS                                  91 SHORE WAY DRIVE                                                                               ROCHESTER          NY    14612‐1223
NOREEN DONOGHUE NEZAJ                             641 RANCH RD                                                                                     WESTON             FL    33326‐1722
NOREEN DREXEL OFARRELL                            C/O DREXEL FAMILY OFFICE LLC            620 CHESTNUT ST      SUITE 668                           PHILADELPHIA       PA    19106
NOREEN E JONES                                    13348 W STATLER ST                                                                               SURPRISE           AZ    85374‐5448
NOREEN H CLARK                                    14127 SEAGLER SPRINGS LN                                                                         HOUSTON            TX    77044
NOREEN H STEVENSON                                44949 RIVERGATE DR                                                                               CLINTON TWP        MI    48038‐1387
NOREEN HAMMOND                                    426 CHARVID AVE                                                                                  MANSFIELD          OH    44905‐2506
NOREEN J ROONEY TR NOREEN J ROONEY REVOCABLE      73320 CHURCH ST                                                                                  ARMADA             MI    48005‐3335
LIVING TRUST UA 07/21/04
NOREEN JULIANO                                    171 HOCKHOCKSON RD                                                                               COLTS NECK         NJ    07722‐1807
NOREEN K ARY & MICHAEL G ARY JT TEN               11713 NW 34TH AVE                                                                                VANCOUVER          WA    98685‐3573
NOREEN K GLASPIE                                  196 PARKWAY DR                                                                                   DAVISON            MI    48423
NOREEN L KASLE                                    1305 DYE MEADOW LN                                                                               FLINT              MI    48532‐2322
NOREEN M DRYSDALE & CARLA A BOWMAN JT TEN         9221 KATHCYN DR                                                                                  ST LOUIS           MO    63134

NOREEN M KLINK                                    600 JUNIPER CIR                                                                                  ALGONQUIN          IL    60102‐2143
NOREEN M SHIMEL                                   12142 MYERS LAKE AVE NE                                                                          CEDAR SPRINGS      MI    49319‐8561
NOREEN M WOODS                                    C/O BISTLINE                            40059 TILBURY DR                                         PALMDALE           CA    93551‐4816
NOREEN O'REILLY                                   8073 PLEASANT POINT LANE                                                                         MYRTLE BEACH       SC    29579
NOREEN P WISE                                     C/O ROBERT WISE                         3VINCENT DR                                              SIMSBURY           CT    06070‐1617
NOREEN STEVENSON CUST NICOLE E BILUK UTMA MI      44949 RIVERGATE DR                                                                               CLINTON TWP        MI    48038‐1387

NOREEN SUE HICKS                                  8808 WINCHESTER RIDGE DR                                                                         FT WAYNE           IN    46819‐2271
NOREEN T BORTER                                   8306 FULHAM DR                                                                                   RICHMOND           VA    23227‐1715
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Name                                             Address1                               Address2                  Address3     Address4          City             State Zip

NOREEN TIMON WEST CUST TIMON CHRISTOPHER WEST 102 ALACOFAS DRIVE                                                                                 WILMINGTON       DE    19803‐4503
UGMA DE
NOREEN V KULPA                                16371 TOURAINE DR                                                                                  CLINTON TWP      MI    48038‐4518
NOREEN WOLNIEWICZ                             4257 SAYRE                                                                                         NORRIDGE         IL    60706
NOREEN WOODWARD                               3261 BITTERS COURT                                                                                 GREEN BAY        WI    54301‐1545
NOREENE C WOODBURY & MARY E WOODBURY STALEY 18456 BARBARA AVE                                                                                    PORT CHARLOTTE   FL    33948‐3306
JT TEN
NOREETA V LUNDY                               2027 W SHARP                                                                                       SPOKANE          WA    99201‐2851
NOREIDA JEANINE HALL                          1224 N NURSERY ROAD                                                                                ANDERSON         IN    46012‐2728
NORELLA H BEATTY                              216 WEST JAY                                                                                       NEWTON FALLS     OH    44444‐1224
NORENE DEL MORAL                              3570 MOCCASIN AVE                                                                                  SAN DIEGO        CA    92117‐2630
NORENE F RITCHEY                              5110 HIGHWAY 194                                                                                   ROSSVILLE        TN    38066‐3630
NORENE HOPKINS                                204 W CORNELL AVE                                                                                  PONTIAC          MI    48340‐2724
NORENE L GUY TR NORENE GUY TRUST UA 02/25/97  2460 GOLDEN SHORES CT                                                                              FENTON           MI    48430

NORENE M BAUER                                   W2296 NORENE RD                                                                                 SHEBOYGAN        WI    53083‐5255
NORENE M BONZELAAR                               117 PIER D                                                                                      NAPLES           FL    34112‐8119
NORENE P GONZALEZ & CHRISTINE R LAHETTA JT TEN   345 ANNIS RD                                                                                    SOUTH AMHERST    OH    44001‐3023

NORENE P OCONNOR                                 5303 MC CANDLESS AVE                                                                            PITTSBURGH       PA    15201‐2223
NORENE SOMMER                                    7880 BATTLES RD                                                                                 GATES MILLS      OH    44040‐9711
NORENE W BONY TR UA 2/26/1992 THE BONY LIVING    3317 VIA PALOMINO                                                                               PLS VRDS PNSL    CA    90274
TRUST
NORENE WRIGHT                                    3184 N MCKINLEY RD                                                                              FLUSHING         MI    48433‐1910
NORFLEET P RAND                                  3310 CHRYSANTHEMUM DR                                                                           RALEIGH          NC    27614
NORI YINGVORAPANT & ELLIS YINGVORAPANT JT TEN    2350 GOLFVIEW DR                                                                                PITTSBURGH       PA    15241‐3308

NORIN H NESS                                     C/O LILLIAN M NESS                     1240 NORFOLK                                             BIRMINGHAM       MI    48009‐3027
NORINE A MORSE TR UA 05/22/89 MORSE FAMILY       3700 VIA CARDELINA                                                                              PLS VRDS PNSL    CA    90274
TRUST
NORINE DE SPIRT CUST MARY DE SPIRT UGMA NY       73 ENDICOTT DRIVE                                                                               EGGERTSVILLE     NY    14226‐3323
NORINE JENNINGS TR NORINE JENNINGS TRUST UA      PETER SWEENEY                          1315 CANDLEWOOD HILL RD                                  NORTHBROOK       IL    60062‐4409
04/27/96
NORINE M MCCOY                                   3172 SW WATSON CT                                                                               PORT ST LUCIE    FL    34953‐6341
NORINE MATULA                                    917 71ST ST                                                                                     DARIEN           IL    60561
NORINE MURPHY                                    1130 HELEN STREET                                                                               PARK RIDGE       IL    60068‐1639
NORINE R TOOLE                                   174 GREENLEY ROAD                                                                               NEW CANAAN       CT    06840‐3515
NORIO L LORENZI                                  8527 CARRIAGE HILL DR                                                                           WARREN           OH    44484‐1623
NORIS R PRITCH                                   100 PAWNEE TRAIL                                                                                PRUDENVILLE      MI    48651
NORITA A FRCKA TR NORITA ANN FRCKA REVOCABLE     4010 BEACH RD                                                                                   TROY             MI    48098‐4256
TRUSTUA 08/27/98
NORITA ATKINS                                    512 YOLO AVE                                                                                    VALLEJO          CA    94590
NORITA E FRCKA                                   4010 BEACH ROAD                                                                                 TROY             MI    48098‐4256
NORITA REID CARLSON                              16 BOGERT AVE                                                                                   WHITE PLAINS     NY    10606‐3102
NORM E JACKSON                                   2319 BRADFORD DR                                                                                FLINT            MI    48507‐4403
NORMA A BASSETT                                  1309 VERNAL MCINNIS RD                                                                          LUCEDALE         MS    39452‐9007
NORMA A BUSH                                     32710 LEONA                                                                                     GARDEN CITY      MI    48135‐1286
NORMA A BUTLER                                   2022 WEST AUTUMN                                                                                FT WAYNE         IN    46845‐9144
NORMA A ELSTON TR NORMA A ELSTON LIVING TRUST    20 SOUTH RHODES AVE                                                                             NILES            OH    44446‐3747
UA 05/19/04
NORMA A HINES                                    3204 WESTWOOD AVE                                                                               LANSING          MI    48906‐2869
NORMA A HUNTER                                   6802 REDWOOD FALLS DR                                                                           PASADENA         TX    77505‐4413
NORMA A SMITH & PAUL M ARTZ & MARLENE K          6597 N 32ND ST                                                                                  RICHLAND         MI    49083‐9701
SAMPSON JT TEN
NORMA A SPENCER                                  17335 SANTA ROSA                                                                                DETROIT          MI    48221‐2607
NORMA A STETZ & BERNADETTE F STETZ JT TEN        6727 LAKEWOOD DR                                                                                OSCODIA          MI    48750‐8747
NORMA A WHITE                                    4428 ESTA DRIVE                                                                                 FLINT            MI    48506‐1454
NORMA A WITHROW                                  1011 FUSELAGE AVE                                                                               MIDDLE RIVER     MD    21220‐4514
NORMA A ZIMMERMANN                               518 B BAHIA CIR                                                                                 OCALA            FL    34472‐8507
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Name                                           Address1                             Address2             Address3          Address4          City             State Zip

NORMA ANN SIMMONS TOD GARY L SIMMONS SUBJECT 12947 TOWSEND DRIVE                    #611                                                     GRAND LEDGE      MI    48837‐8727
TO STA TOD RULES
NORMA ANNE WILDGEN MERKLE                     6919 MAPLE BROOK                                                                               ALLENDALE        MI    49401‐9735
NORMA B ADAMS & RAYMOND C ADAMS JT TEN        211 RIGA‐MUMFORD ROAD                                                                          CHURCHVILLE      NY    14428‐9545
NORMA B BATY                                  5 MAEDL LN                            #B                                                       MIDDLEPORT       NY    14105
NORMA B BRIDGEFORD & DALE E BRIDGEFORD JT TEN 5281 E PATTERSON ST                                                                            LONG BEACH       CA    90815‐1222

NORMA B BRYSON                                 325 LOUISIANA AVE                                                                             OAK RIDGE        TN    37830‐8514
NORMA B DAWSON                                 6814 18TH AVE W                                                                               BRADENTON        FL    34209
NORMA B FOX TR THE NORMA B FOX TRUST UA        202 JULIA AVE                                                                                 MILL VALLEY      CA    94941‐3517
04/11/88
NORMA B MILES                                  83263 SAINT MARK DR                                                                           YULEE            FL    32097
NORMA B PUGH TR NORMA B PUGH LIVING TRUST UA   305 JOHNSBERG LANE                                                                            BOWIE            MD    20721
9/22/98
NORMA B SAMMONS                                25761 MILL ST                                                                                 OLMSTED FALLS    OH    44138‐1909
NORMA BROOKS                                   34691 OSAGE RIVER CT                                                                          FREMONT          CA    94555‐3220
NORMA BROWN VIDIC                              1220 MAHOOD ROAD                                                                              WEST SUNBURY     PA    16061‐2020
NORMA BUZZARD                                  1733 OHIO AVE                                                                                 FLINT            MI    48506‐4340
NORMA C DANBY                                  12728 GREENWOOD AVE N                APT 408                                                  SEATTLE          WA    98133
NORMA C DEASY                                  14 AMBERWOOD WAY                                                                              LEWES            DE    19958‐9468
NORMA C HELSTERN                               7984 W GARLAND                                                                                UNION            OH    45322
NORMA C HELSTERN & JUDITH L CULLEY JT TEN      7984 W GARLAND                                                                                UNION            OH    45322
NORMA C NAVA                                   319 WILD WILLOW                                                                               EL PASO          TX    79922‐1848
NORMA C SAMPIER & STEVEN R SAMPIER JT TEN      13711 NEWPORT MANOR                                                                           DAVIE            FL    33325‐1268
NORMA C SCHOENRADE                             6601 SHUTTLE WAY                     APT C                                                    CPE CANAVERAL    FL    32920‐6070
NORMA C TUCKY                                  5407 FOREST AVE                                                                               PARMA            OH    44129‐3002
NORMA CAROL HOLLINGER                          2191 KOLB DR                                                                                  LANCASTER        PA    17601‐5725
NORMA CEBULSKI & DEREK CEBULSKI JT TEN         26078 DOVER                                                                                   WARREN           MI    48089‐1335
NORMA COX                                      N5350 COUNTY ROAD A                                                                           JUNEAU           WI    53039
NORMA CUTTLER                                  650 SW 138TH AVE APT J203                                                                     PEMBROKE PINES   FL    33027‐1546
NORMA D DURAN                                  1833 CLEARWATER LOOP NE                                                                       RIO RANCHO       NM    87144‐5514
NORMA D HALLEY                                 10282 BROOK RD                       APT 205                                                  GLEN ALLEN       VA    23059‐6545
NORMA D HAND                                   1475 S VICHA RD                                                                               AXTELL           TX    76624‐1526
NORMA D HASTY                                  12724 PARTRIDGE RUN                                                                           FLORISSANT       MO    63033‐5020
NORMA D HENDRIX                                4170 HOWE RD                                                                                  GRAND BLANC      MI    48439‐7957
NORMA D JIPPING                                1116 HICKORY AVE                                                                              ROCKPORT         TX    78382‐6024
NORMA D JIPPING & ARIE JIPPING JR JT TEN       1116 HICKORY AVE                                                                              ROCKPORT         TX    78382‐6024
NORMA D OSBORN                                 509 MARION DRIVE                                                                              GARDENDALE       AL    35071‐2816
NORMA D OSBORN & GUICE M OSBORN JT TEN         509 MARION DRIVE                                                                              GARDENDALE       AL    35071‐2816
NORMA D SPROAT                                 722 EAST MARSHALL                                                                             MARION           IN    46952‐2965
NORMA D THOMAS                                 2401 WINDSOR FOREST DR                                                                        LOUISVILLE       KY    40272‐2333
NORMA D THOMAS & NELSON A THOMAS JT TEN        2401 WINDSOR FOREST DR                                                                        LOUISVILLE       KY    40272‐2333
NORMA DALTON                                   11 JUNIPER CRESCENT                  UNIONVILLE ON                          L3R 3Z6 CANADA
NORMA DELTERZO                                 1892 EASTERN PKWAY                                                                            BROOKLYN          NY   11233‐3215
NORMA DI STEFANO                               86‐18 UNION TPKE                                                                              GLENDALE          NY   11385‐7807
NORMA DIAZ                                     PO BOX 67141                                                                                  ROCHESTER         NY   14167‐7141
NORMA DIVER                                    217 LAUREL CT                                                                                 PT PLEASANT BEACH NJ   08742‐3243

NORMA E ANTHONY TR NORMA E ANTHONY TRUST UA    C/O VICKI BAER                       1380 BONNIE DR                                           MANSFIELD        OH    44905‐3037
04/19/00
NORMA E FIGUEROA TR UA 09/05/2001 FIGUEROA     12 WATKINS PL                                                                                 NEW ROCHELLE     NY    10801
FAMILY TRUST
NORMA E FIGUEROA TR UA 09/05/2001 FIGUEROA     12 WATKINS PL                                                                                 NEW ROCHELLE     NY    10801
SURVIVORS TRUST
NORMA E GUNDERSEN & DEBORAH K BROWN & CARL C   8 FOXWOOD LN                                                                                  MEDFORD          NJ    08055‐9131
GUNDERSEN JT TEN
NORMA E HARDEN                                 508 MAGNOLIA DR                                                                               KOKOMO           IN    46901‐5015
NORMA E HELLBERG                               PO BOX 3982                                                                                   TUSTIN           CA    92781‐3982
NORMA E ODETTE & GREGORY J ODETTE JT TEN       5177 WOODHAVEN CT                                                                             FLINT            MI    48532‐4183
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Name                                            Address1                             Address2             Address3          Address4          City             State Zip

NORMA E PETERS                                  3725 BLUE KY                                                                                  CORONA DL MAR    CA    92625‐1203
NORMA E SADLER                                  710 BRISCOE ROAD                                                                              PARKERSBURG      WV    26104‐1028
NORMA E SCHMITT                                 11 DUQUESNE DR                                                                                GREENLAWN        NY    11740‐1805
NORMA E SIDOR                                   2560 JOHNSON ST                                                                               MARNE            MI    49435‐9728
NORMA E TANNER TR NORMA E TANNER LIVING TRUST   255 MAYER RD                         APT 221C                                                 FRANKENMUTH      MI    48734
UA 12/17/98
NORMA E TAYLOR                                  C/O NORMA E LEMAY                    N142 W6229 CONCORD   APT 72                              CEDARBURG        WI    53012‐3109
NORMA E ULLMANN                                 1032 MT VERNON ST                                                                             OSHKOSH          WI    54901‐3856
NORMA E WILLIAMS & L JACK WILLIAMS JT TEN       227 GREENWOOD DR                                                                              EAST AURORA      NY    14052‐1351
NORMA F CARLSON                                 132 WILLOW BREEZE RD                                                                          BUFFALO          NY    14223‐1356
NORMA F DICKINSON                               3487 ESSON DR                                                                                 GRAND BLANC      MI    48439‐7935
NORMA F REYNOLDS                                3204 MAPLETON CRESCENT                                                                        CHESAPEAKE       VA    23321‐4608
NORMA F ROOT                                    610 E 109 TERR                                                                                KANSAS CITY      MO    64131‐4005
NORMA FARRELL                                   14651 ST RT 122                                                                               SOMERVILLE       OH    45064‐9620
NORMA FRANKS                                    201 E 28TH ST #2J                                                                             NEW YORK         NY    10016‐8538
NORMA G KEHRLI                                  600 FREEMASON DR                                                                              ELIZABETHTOWN    PA    17022‐3200
NORMA G MARTIN                                  78 A ST                                                                                       NIAGARA FALLS    NY    14303‐2039
NORMA G MOORE                                   18 WESTWOOD BLVD                                                                              WESTWOOD         NJ    07675‐2508
NORMA G RODRIGUEZ                               1945 MORRELL                                                                                  DETROIT          MI    48209‐1611
NORMA G SHULMAN                                 2201 ACACIA PARK DRIVE #106                                                                   LYNDHURST        OH    44124‐3838
NORMA GAMSJAGER                                 15345 ORCHARD ST                                                                              ROMULUS          MI    48174‐2964
NORMA H ANDREWS                                 25D NUNNAWAUK MEADOWS                                                                         NEWTOWN          CT    06470‐2382
NORMA H HEED                                    3168 TARPON DR 102                                                                            LAS VEGAS        NV    89120‐5325
NORMA H KENNEDY                                 BOX 161                                                                                       SCANDINAVIA      WI    54977
NORMA H SANDERSON                               5576 HWY 34                                                                                   EROS             LA    71238‐8332
NORMA H YSASSI                                  3802 WASHBURN RD                                                                              BERKEY           OH    43504‐9726
NORMA HAMILTON WEAVER                           ATTN ROBERT H WEAVER                 1509 DOUGLAS DRIVE                                       JACKSON          MS    39211‐6407
NORMA HARDAWAY & LARRY HARDAWAY JT TEN          322 LONGVIEW DR                                                                               JEFFERSONVILLE   IN    47130‐5640
NORMA HELEN SELBY                               4543 MCINTOSH LANE                                                                            SARASOTA         FL    34232‐5309
NORMA HORNING                                   3300 APPEL ROAD                                                                               BETHEL PARK      PA    15102‐1220
NORMA HUETER HEAVEY                             1289 COAST VILLAGE CIRCLE                                                                     SANTA BARBARA    CA    93108‐2712
NORMA I BROWN                                   8504 NARISE                                                                                   WESTLAND         MI    48185‐1333
NORMA I RUSTERHOLZ                              11498 GENEVA ROAD                                                                             CINCINNATI       OH    45240‐2456
NORMA I SWEENEY                                 51 DEPOT RD                                                                                   OXFORD           MA    01540‐1233
NORMA J ADAMS                                   1906 EAST NELSON CIRCLE                                                                       TALLAHASSEE      FL    32303‐4318
NORMA J ADCOCK                                  2000 N E DILL DRIVE                                                                           LEE'S SUMMIT     MO    64086‐5374
NORMA J ALLEN                                   7674 S COUNTY RD 600 E                                                                        MOORESVILLE      IN    46158‐7770
NORMA J ALLMAN                                  1111 W WALNUT ST                                                                              KOKOMO           IN    46901‐4389
NORMA J ALLMAN & JAMES O ALLMAN JT TEN          1111 W WALNUT ST                                                                              KOKOMO           IN    46901‐4389
NORMA J AVERY                                   322 W PHILADELPHIA                                                                            FLINT            MI    48505‐3218
NORMA J AYRES                                   55 THE CRESCENT                                                                               BERKELEY         CA    94708‐1701
NORMA J BAILEY                                  45175 EIGHTH RD                                                                               CROSWELL         MI    48422
NORMA J BANKS                                   PO BOX 18526                                                                                  INDIANAPOLIS     IN    46218‐0526
NORMA J BROGAN                                  64 MAYFAIR RD                                                                                 SOUTHAMPTON      NJ    08088
NORMA J BROWNING                                G‐3100 MILLER RD                     APT 16A                                                  FLINT            MI    48507
NORMA J CLAFLIN                                 157 MOSELEY ROAD                                                                              FAIRPORT         NY    14450‐3060
NORMA J COLLINS                                 4233 GREEN DR                                                                                 HARSENS ISLAND   MI    48028‐9632
NORMA J COOPER                                  9417 ARTZ ROAD                                                                                NEW CARLSLE      OH    45344‐2208
NORMA J CORBIN                                  4664 MELODY RD                                                                                RICHMOND         VA    23234‐3533
NORMA J CREEKMORE                               PO BOX 1708                                                                                   CORBIN           KY    40702‐1708
NORMA J DAILEY                                  7760 E LANDERSDALE RD                                                                         CAMBY            IN    46113‐8514
NORMA J DARBY                                   469 DAYTONA ROAD                                                                              COLUMBUS         OH    43228‐1909
NORMA J DECKER                                  8461 LIGHTNER LN                                                                              SWARTZ CREEK     MI    48473‐9182
NORMA J DRAPER                                  PO BOX 794                                                                                    CATLIN           IL    61817‐0794
NORMA J EHMAN                                   PO BOX 802                                                                                    FRANKTON         IN    46044‐0802
NORMA J FLETCHER                                1201 SOUTH HOLMES STREET                                                                      LANSING          MI    48912‐1927
NORMA J FOLEY                                   218 BRANDY WINE DR                                                                            LARGO            FL    33771‐1811
NORMA J FOLKS                                   PO BOX 90482                                                                                  EAST POINT       GA    30364‐0482
NORMA J FRIZZELL                                128 WOODLAND PL                                                                               ASHVILLE         OH    43103
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Name                                            Address1                             Address2                Address3         Address4          City            State Zip

NORMA J GENTRY & BETTY J BURK JT TEN            925 SIXTH                                                                                       MONETT          MO    65708
NORMA J GRAY                                    7654 PEBBLE CREEK CIRCLE             #301                                                       NAPLES          FL    34108‐6539
NORMA J HARRISON & BETTY L MILLER JT TEN        PO BOX 443                                                                                      RICHFLD SPGS    NY    13439
NORMA J HENDRY TR NORMA J HENDRY LIVING TRUST   625 E 5TH ST                                                                                    ROYAL OAK       MI    48067‐2874
UA 06/01/95
NORMA J HODGES                                  PO BOX 154                                                                                      BRANDON          MS   39043‐0154
NORMA J HOLBROOK & DENISE M ANCEL JT TEN        5537 SHORE RD                                                                                   PINCONNING       MI   48650
NORMA J HOLMES                                  130 CORTES AVE                                                                                  ROYAL PALM BEACH FL   33411‐1302

NORMA J HUBERD                                  924 MONROE CT                                                                                   STOUGHTON       WI    53589‐1332
NORMA J HUDGINS                                 101 BARRETT PL                                                                                  WILLIAMSBURG    VA    23185‐5503
NORMA J HUDNALL                                 2420 HUNTERS TRL                                                                                MYRTLE BEACH    SC    29588‐8444
NORMA J HUNT                                    6308 W CANTERBURY DR NE                                                                         BELMONT         MI    49306‐9239
NORMA J HURLEY                                  127 S CLEVELAND AVENUE                                                                          WILMINGTON      DE    19805‐1428
NORMA J IOANNONE                                28 CENTENNIAL AVE                                                                               BROCKPORT       NY    14420‐2304
NORMA J JANULEWICZ                              627 NORTH 9TH STREET                                                                            LOUP CITY       NE    68853
NORMA J JOHNSON                                 30480 NE 23RD WA                                                                                OKEECHOBEE      FL    34972‐6801
NORMA J JONES                                   4820 E OUTER DR                                                                                 DETROIT         MI    48234‐3253
NORMA J KIRCHHOFER                              501 DANVER LANE                                                                                 BEECH GROVE     IN    46107
NORMA J LAWRENCE                                RR #1                                3654 E TOWNLINE RD      NEWTONVILLE ON   L0A 1J0 CANADA
NORMA J LITMAN                                  337 OAK AVENUE                                                                                  WAVERLY         OH    45690‐1516
NORMA J MAGENHEIMER                             697 WESTOVER RD                                                                                 AVON            IN    46123‐7516
NORMA J MANSON                                  3343 YAUCK DR                                                                                   SAGINAW         MI    48601‐6956
NORMA J MARTINEZ                                2959 SANFORD                                                                                    GRANDVILLE      MI    49418‐1327
NORMA J MAYHEW                                  1021 BROADMORE LN                                                                               LIBERTY         MO    64068‐3108
NORMA J MC CLURD                                281 HAMILTON AVE                     CHURCHTOWN                                                 PENNSVILLE      NJ    08070‐1303
NORMA J MCGRATH                                 92 HUDSON ST                                                                                    MARLBOROUGH     MA    01752‐1202
NORMA J MESSINGER & THOMAS G MESSINGER JT TEN   5601 MABLAY HILL RD                                                                             FENTON          MI    48430‐9427

NORMA J MIKITS                                  965 N 1200 E                                                                                    LEHI            UT    84043‐1451
NORMA J MILLER                                  4245 W JOLLY RD                      LOT 6                                                      LANSING         MI    48911‐3071
NORMA J MOORE                                   881 S FULS RD                                                                                   N LEBANON       OH    45345‐9115
NORMA J MORGAN                                  8295 E OUTER DR                                                                                 DETROIT         MI    48213‐1384
NORMA J MORI                                    479 MEADOWBROOK ROAD                                                                            KANSAS CITY     MO    64119‐3333
NORMA J MORROW TR NORMA J MORROW LIVING         117 NORTHWEST ST                                                                                THORNTOWN       IN    46071‐1151
TRUST UA 12/02/03
NORMA J NEDEFF                                  4305 CYPRESS ST                                                                                 PARKERSBURG     WV    26104
NORMA J PEACOCK TOD RONALD E PEACOCK SUBJECT    1444 GIBSON RD                                                                                  GOSHEN          OH    45122‐9726
TO STA TOD RULES
NORMA J PITTS                                   266 FISHERVILLE RD                                                                              FINCHVILLE      KY    40022‐5727
NORMA J PITZER                                  879 ARLINGTON AVE                                                                               MANSFIELD       OH    44903‐7019
NORMA J PLOWE                                   C/O NORMA KIRCH                      10551 BROOKVILLE ROAD                                      ALEXANDER       NY    14005‐9746
NORMA J PRELLI                                  C/O NORMA KORDA                      20124 REDWOOD RD                                           CASTRO VALLEY   CA    94546‐4325
NORMA J PRENTICE                                38440 JUDD ROAD                                                                                 BELLEVILLE      MI    48111‐9614
NORMA J RADMER                                  234 S LAKEVIEW BLVD                                                                             CHANDLER        AZ    85225‐5792
NORMA J REYNOLDS                                22735 CORTES DRIVE                                                                              NOVI            MI    48375‐4500
NORMA J RICE                                    1587 ZARIEDA                                                                                    ORTONVILLE      MI    48462‐8817
NORMA J RICHMOND                                505 DEER RUN                                                                                    ST CHARLES      MO    63303‐6511
NORMA J ROGERS                                  10320W 650N                                                                                     SHARPSVILLE     IN    46068‐8921
NORMA J ROUP                                    217 LOCUST                                                                                      CLINTON         MI    49236‐9563
NORMA J ROZIER                                  3620 MORENO AVENUE                   SPC 163                                                    LAVERNE         CA    91750‐3311
NORMA J SALERNO                                 1194 GILLESPIE AVE                                                                              NORTH PORT      FL    34288‐2380
NORMA J SANCHEZ                                 4223 ST FRANCIS ST                                                                              METAIRIE        LA    70001‐2546
NORMA J SCIORTINO                               4447 W 100 S                                                                                    RUSSIAVILLE     IN    46979‐9440
NORMA J SCOTT                                   528 SCOTT ST                                                                                    NILES           OH    44446‐2914
NORMA J SLOAN                                   PO BOX 61                                                                                       GEORGETOWN      IL    61846‐0061
NORMA J SMITH                                   32 BAY HEIGHTS CIR                                                                              GENEVA          NY    14456‐9766
NORMA J STANOSKI & LEONARD A STANOSKI JT TEN    580 FRANKLIN ST                                                                                 FREEPORT        PA    16229‐1218
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Name                                           Address1                               Address2             Address3          Address4          City               State Zip

NORMA J STCLAIR                                2010 E 500 N                                                                                    KOKOMO             IN    46901‐8122
NORMA J STILLMAN                               2529 LOUIS AVE                                                                                  ST LOUIS           MO    63144‐2534
NORMA J SWINDELL                               1441 N ROCK ROAD 2204                                                                           WICHITA            KS    67206‐1240
NORMA J SWINDELL & ROBERT O GRAVES JT TEN      1441 N ROCK ROAD 2204                                                                           WICHITA            KS    67206‐1240
NORMA J TAYLOR                                 6338 SUN RIDGE DRIVE                                                                            WAYNESVILLE        OH    45068‐8493
NORMA J VARGO                                  58122 CHURCH DR                                                                                 THREE RIVERS       MI    49093‐8904
NORMA J WALKER                                 11450 APACHE DRIVE                     APT 204                                                  PARMA HGTS         OH    44130‐9002
NORMA J WAMPLER                                5928 HOMEDALE ST                                                                                DAYTON             OH    45449‐2922
NORMA J WARD                                   12069 INA DR #87                                                                                STERLING HEIGHTS   MI    48312‐5059

NORMA J WELLMAN                                1428 WILLARD RD                                                                                 BIRCH RUN          MI    48415‐9469
NORMA J WELLS                                  3209 KIRKWOOD LANE                                                                              FLINT              MI    48504‐3819
NORMA J WEZLER                                 1854 PORTLAND AVE                                                                               ROCHESTER          NY    14617‐5236
NORMA J WHITTECAR                              7451 E POTTER RD                                                                                DAVISON            MI    48423‐9520
NORMA J WOLFE                                  119 COLUMBIA AVE                                                                                TIPTON             IN    46072‐1624
NORMA J WOODS                                  3430 N RURAL ST                                                                                 INDIANAPOLIS       IN    46218‐1262
NORMA J WOODWARD                               5249 H STREET                                                                                   SAN BERNADINO      CA    92407‐2512
NORMA JACOBSON                                 1700 SOUTH RIVER RD APT 277                                                                     JANESVILLE         WI    53546
NORMA JANE CARROLL                             6696 GA HWY 120                                                                                 BREMEN             GA    30110‐2652
NORMA JANE OSBORNE                             PO BOX 88                                                                                       ARCANUM            OH    45304‐0088
NORMA JEAN BABCOCK                             1406 MAXWELL HILL RD                                                                            BECKLEY            WV    25801‐2326
NORMA JEAN BAIN                                101 NOAHVILLE LN                                                                                BARBOURVILLE       KY    40906‐7307
NORMA JEAN CHESTLER                            13540 S BUDD RD                                                                                 BURT               MI    48417‐2351
NORMA JEAN COMBEST EX UW RAYMOND C COMBEST     609 HALL ST                                                                                     SCIENCE HILL       KY    42553‐9138

NORMA JEAN DEAN & MICHAEL R DEAN JT TEN        206 SOUTHGATE DR                                                                                BELLEVILLE         IL    62223‐4323
NORMA JEAN DEMELLO & JOHN J DEMELLO JT TEN     9943 WILDOAK DR                                                                                 SHREVEPORT         LA    71106‐8236

NORMA JEAN GRIFFIN                            29451 GRANDVIEW                                                                                  INKSTER            MI    48141‐1003
NORMA JEAN HARRINGTON & KIMBERLY KAY GONZALEZ 1014 PERSONS CT                                                                                  LANSING            MI    48906‐5415
JT TEN
NORMA JEAN JUSTICE                            7904 STATE ROUTE 125                                                                             RUSSELLVILLE       OH    45168‐8714
NORMA JEAN JUSTICE & KIMBERLY JUSTICE JT TEN  7904 STATE RE 125                                                                                RUSSELLVILLE       OH    45168
NORMA JEAN MARKLEY & NANCY E BRENNEIS JT TEN  3524 78TH ST                            APT A22                                                  JACKSON HEIGHTS    NY    11372‐4732

NORMA JEAN MC CAIN                             637 REDBUD BLVD S                                                                               ANDERSON           IN    46013‐1173
NORMA JEAN MCCLAIN                             2843 WYOMING DR                                                                                 XENIA              OH    45385
NORMA JEAN MOYER                               4605 CHESTNUT ST                                                                                BETHESDA           MD    20814‐3723
NORMA JEAN OSWALT                              1128 COUNTY RD 515 SOUTH                                                                        HOUSTON            MS    38851
NORMA JEAN PAYNE                               R R 2 BOX 601 WARDS CORNER RD                                                                   LOVELAND           OH    45140‐9802
NORMA JEAN PICKELMANN & LEONARD L PICKELMANN   4468 DIXON DR                                                                                   SWARTZ CREEK       MI    48473‐8279
JT TEN
NORMA JEAN SIMONS                              7603 S KREPPS RD                                                                                SAINT JOHNS        MI    48879‐9119
NORMA JEAN SNYDER                              10370 GREENVILLE FALLS ROAD                                                                     COVINGTON          OH    45318‐8906
NORMA JEAN SNYDER                              10370 W GREENVILLE FALLS RD                                                                     COVINGTON          OH    45318‐8906
NORMA JEAN STEBBINS                            2706 N 2850TH RD                                                                                MARSEILLES         IL    61341‐9524
NORMA JEAN TEUFEL CUST RACHAEL KOZOLUP UTMA    116 GOTSCHAL RD                                                                                 DANVILLE           PA    17821‐9114
PA
NORMA JEAN V BAHLINGER TUTRIX FOR EUGENE T     11003 CRANBROOK                                                                                 HOUSTON            TX    77042‐1327
BAHLINGER JR
NORMA JEAN VOLK                                1423 WOOD RIVER BLVD                                                                            BEAVERCREEK        OH    45434‐6553
NORMA JEANNE STROBEL TR NORMA JEANNE STROBEL   5200 IRVINE BL #76                                                                              IRVINE             CA    92620‐2028
FAMILY TRUST UA 01/15/99
NORMA JO KEENEY                                103 HOSPITAL PLACE                                                                              SAYRE              PA    18840‐1601
NORMA JO MANNING                               806 CARRIAGE LN                                                                                 TRENTON            OH    45067‐1198
NORMA JOHNSON                                  1731 KANSAS ST                                                                                  SAGINAW            MI    48601‐5215
NORMA JUNE BUTLER                              ROUTE 1 BOX 197                                                                                 MEADOW BRIDGE      WV    25976‐9629
NORMA JUNE HAMMERT                             BOX 2627                                                                                        PONCA CITY         OK    74602‐2627
NORMA K ARMSTRONG                              69 BAIRD AVENUE PO BOX 675             WHEATLEY ON                            N0P 2P0 CANADA
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NORMA K KOSTOHRYZ                                  1515 BARRINGTON RD                   APT 826                                                      HOFFMAN EST      IL    60194‐1096
NORMA K MARKS & DONALD E MARKS JT TEN              681 BRADLEY RD                                                                                    FRANKLIN         NC    28734
NORMA KEEN                                         5380 WESTCHESTER DR                                                                               FLINT            MI    48532‐4052
NORMA KELLOGG                                      99 PEARCE DRIVE                                                                                   AMHERST          NY    14226‐4933
NORMA KETCHUM                                      PO BOX 518                                                                                        HOCKINGPORT      OH    45739‐0518
NORMA KINSEY                                       4505 DIXIE HWY                                                                                    DRY RIDGE        KY    41035‐7371
NORMA KRAGER                                       39 S FRANKLIN ST                                                                                  CATTARAUGUS      NY    14719‐1131
NORMA KUGEL                                        809 TITUS AVE                                                                                     ROCHESTER        NY    14617‐4010
NORMA L ALFORD                                     C/O HELEN BEARDSWORTH                215 WAYNERIDGE RD                                            WAYNESBORO       VA    22980
NORMA L BLADE                                      12274 ADAMS ST #8B‐P6                                                                             MOUNT MORRIS     MI    48458‐3200
NORMA L BRYANT & DOUGLAS C BRYANT JT TEN           23 HILLSBOROUGH DR                                                                                GREENVILLE       SC    29615‐3324
NORMA L BURKE                                      1610 SUNNY ESTATES DR                                                                             NILES            OH    44446‐4104
NORMA L COUNSELLER TR UA 10/07/93 NORMA L          3215 W MT HOPE AVE APT 309                                                                        LANSING          MI    48911‐1282
COUNSELLER TRUST
NORMA L CUMMINGS                                   11101 E UNIVERSITY DR #271                                                                        APACHE JCT       AZ    85220
NORMA L DEAVER                                     278 LANDSRUSH ST                                                                                  SANDUSKY         OH    44870‐7504
NORMA L FISHER                                     2600 STIEGLER RD                                                                                  VALLEY CITY      OH    44028
NORMA L GRAY                                       1418 HYDE PARK                                                                                    CHICAGO          IL    60615‐3019
NORMA L HANDZEL                                    3430 N 56TH PLACE                                                                                 KANSAS CITY      KS    66104‐1503
NORMA L HARER & JANICE L GETTY & CYNTHIA C LUCY JT 36027 KINGSLAND COURT                                                                             CLINTON TOWNSHIP MI    48035‐1145
TEN
NORMA L HAUGHT                                     2606 E 10TH ST                                                                                    ANDERSON         IN    46012‐4412
NORMA L HENRY TR NORMA L HENRY LIVING TRUST UA 612 NW 143RD                                                                                          EDMOND           OK    73013‐1900
03/13/96
NORMA L JONES                                      37740 ALISSA DR                                                                                   ZEPHY RHILLS     FL    33541‐5600
NORMA L JOYCE                                      22 TENNYSON AVE                                                                                   BUFFALO          NY    14216‐2304
NORMA L MADERA                                     695 ANDAMAR WAY                                                                                   GOLETA           CA    93117‐2165
NORMA L MARTIN                                     5200 DUNBAR DR                                                                                    LAFAYETTE        IN    47905‐7574
NORMA L MILLS                                      1725 PATHWAY DR S                                                                                 GREENWOOD        IN    46143‐8826
NORMA L MOORE                                      305 SOUTHERBY DRIVE                                                                               GARNER           NC    27529‐4982
NORMA L NEELY TOD GREGORY W NEELY SUBJECT TO       205 S CAPISTRANO DR                                                                               JEFFERSON CITY   MO    65109‐6142
STA TOD RULES
NORMA L SALIM                                      5404 MISTY CREEK COURT                                                                            FLINT            MI    48532‐2258
NORMA L SCHAUMBURG                                 406 E LYLE ST                                                                                     MILFORD          IL    60953‐1347
NORMA L SCHWARTZ                                   4930 OAK GROVE DRIVE                                                                              CUMMING          GA    30040‐5884
NORMA L SLATER                                     1007 SUNSET                                                                                       MURFEESBORO      TN    37129‐2074
NORMA L SMITH MELINDA PERRY MELVIN R SMITH EST 10165 HIGHWAY 172                                                                                     WEST LIBERTY     KY    41472
SEWELL H SMITH
NORMA L STANTEJSKY                                 3732 S 56TH CT                                                                                    CICERO           IL    60804‐4311
NORMA L TAYLOR                                     348 CARRIAGE LN                                                                                   OAKDALE          CA    95361‐8343
NORMA L WALDEN                                     3722 RAMONA DR                                                                                    PADUCAH          KY    42001‐5240
NORMA L WALKER                                     1801 RESTFUL DR N‐7 UNIT 2                                                                        BRADENTON        FL    34207‐4560
NORMA L WALSH                                      41 WHITTIER RD                                                                                    JAMESTOWN        RI    02835‐1540
NORMA L WOODHALL                                   13802 WAINSTEAD AVENUE                                                                            CLEVELAND        OH    44111‐4960
NORMA LA PORT                                      PO BOX 256                                                                                        SYLVAN BEACH     NY    13157‐0256
NORMA LEE ARCILESI & CAMILLO JERRY ARCILESI TEN    925 SPORTSMAN NECK RD                                                                             QUEENSTOWN       MD    21658‐1286
ENT
NORMA LEE CORBIN & DEBORAH LYNN NAYLOR JT TEN 633 DELAWARE AVENUE                                                                                    CLAIRTON         PA    15025‐2211

NORMA LEE MERRILL                                 411 ELM ST                            APT 513                                                      NEWPORT          KY    41071‐1226
NORMA LEE PENUEL                                  35240 EASTWEST 1230                                                                                SEMINOLE         OK    74868‐6001
NORMA LEE WILKENING                               13 SPRINGER DR                                                                                     COLUMBIA         MO    65201‐5424
NORMA LODGE                                       908 W 17TH ST                                                                                      MARION           IN    46953‐1747
NORMA M CUNNINGHAM                                4203 SW 9TH PL                                                                                     CAPE CORAL       FL    33914‐5739
NORMA M HARTMAN                                   2235 MILLERSPORT HWY                  UNIT 503                                                     GETZVILLE        NY    14068‐1219
NORMA M HUMMEL & PEGGY LEE FISHER JT TEN          BOX 109                                                                                            VERMONTVILLE     MI    49096‐0109
NORMA M JACOBS                                    8 BYKENHULLE ROAD                                                                                  HOPEWELL         NY    12533‐6322
                                                                                                                                                     JUNCTION
NORMA M LANKFORD                                  ATTN NORMA M JONES                    2820 S MEMORIAL DRIVE APT 126                                NEW CASTLE       IN    47362‐1164
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Name                                             Address1                                Address2             Address3          Address4          City              State Zip

NORMA M LIENDO                                   1616 WOLCOTT ST                                                                                  JANESVILLE        WI    53546‐5588
NORMA M MACDONALD TOD BRUCE MACDONALD            5145 OAK PK DR                                                                                   ALGER             MI    48610‐9317

NORMA M OGDEN TR NORMA M OGDEN TRUST UA      143 FEL MAR DR                                                                                       SAN LUIS OBISPO   CA    93405‐1015
09/16/96
NORMA M PENCILLE                             6484 CLOVERLEAF DR                                                                                   LOCKPORT          NY    14094‐6121
NORMA M PORTER                               2866 SOUTH WATERWORKS                                                                                BUFORD            GA    30518‐1454
NORMA M RHODES                               2412 N LOCKE ST                                                                                      KOKOMO            IN    46901‐1518
NORMA M ROBINSON                             1213 WALNUT ST                                                                                       CONNELLSVILLE     PA    15425‐4971
NORMA M RUGILE                               2108 PRIYA ST                                                                                        THOMASVILLE       NC    27360‐8624
NORMA M SLECKMAN                             217 ORCHARD LN                                                                                       GLEN ELLYN        IL    60137‐6579
NORMA M SPENCER                              1035 BRIDGE RD                                                                                       CHARLESTON        WV    25314‐1330
NORMA MANCOUR                                4471 TORREY ROAD                                                                                     FLINT             MI    48507
NORMA MAUGHAN                                246 JUNIPER DR                                                                                       SCHENECTADY       NY    12306‐1704
NORMA MAXINE TAYLOR                          3709 WHITNEY AVE                                                                                     FLINT             MI    48532‐5257
NORMA MCDOWELL                               BOX 355                                                                                              DAVENPORT         WA    99122‐0355
NORMA MCKEEVER & BRIAN MCKEEVER JT TEN       778 CHICKORY TRL                                                                                     MULLICA HILL      NJ    08062‐2020
NORMA MILLS & TONY MILLS JT TEN              10940 S 560 W                                                                                        MODOC             IN    47358‐9419
NORMA MIROPOL                                6932 COSTELLO AVE                                                                                    VAN NUYS          CA    91405‐4107
NORMA MONIER & SHANE HARMS & JOHNNA HARMS JT BOX 444                                                                                              SMITH RIVER       CA    95567
TEN
NORMA MORRIS & JAMES MORRIS JT TEN           1640 MORRISON RD                                                                                     ROSE CITY        MI     48654‐9797
NORMA MUNDELL HILTON                         9239 ROSEBUD CIR                                                                                     PORT CHARLOTTE   FL     33981‐3208
NORMA N NICOLAI                              28627 TRITON ST                                                                                      HAYWARD          CA     94544‐5856
NORMA N REHN & STEPHEN J REHN JT TEN         ATTN STEPHEN J REHN                         1024 BAYSIDE TRAIL                                       PORT AUSTIN      MI     48467‐9748
NORMA NELSON KNEER                           2905 SPRINGWOOD DR                                                                                   SPRINGFIELD      IL     62707‐5839
NORMA P BARNES                               1008 LOWBER DRIVE                                                                                    CHERRY HILL      NJ     08034‐3634
NORMA P PRILLAMAN                            224 WOODHAVEN RD                                                                                     MARTINSVILLE     VA     24112‐6527
NORMA P RAINWATER                            1940 BROOK DR                                                                                        CAMDEN           SC     29020‐2008
NORMA P YELENICK                             22114 N 900TH ST                                                                                     METCALF          IL     61940‐8045
NORMA PHELPS & CINDY L PUFFPAFF JT TEN       5219 GREENLEAF DR                                                                                    SWARTZ CREEK     MI     48473‐1133
NORMA R CABELL                               1020 MAIN ST NW                                                                                      CORYDON          IN     47112‐2100
NORMA R COOPER                               3420 ERHARDT DR                                                                                      MOUNT MORRIS     MI     48458‐9404
NORMA R KENNEDY                              6119 W CHINO DR                                                                                      GOLDEN VALLEY    AZ     86413
NORMA R MOX & MELANIE S SHAFER JT TEN        117 JACKSON ST                                                                                       FARMERSVILLE     OH     45325‐1021
NORMA R NICELEY                              7548 FLORA AVE                                                                                       ST LOUIS         MO     63143‐3802
NORMA R NOE                                  5833 QUAIL CHASE DR                                                                                  INDIANAPOLIS     IN     46237‐2721
NORMA R REED & JOHN B REED TR UA 11/20/97    9807 CEDAR KNELL DR                                                                                  MASON            OH     45040‐8902
NORMA R STONIS                               48 COVE LANE                                                                                         POOCASSET        MA     02559‐1705
NORMA RICKLIC                                537 6TH ST NW                                                                                        NEW PHILADELPHIA OH     44663‐1664

NORMA RIDENOURE                                  8615 ETHANS GLEN TER                                                                             JACKSONVILLE      FL    32256‐9072
NORMA ROBINSON                                   1809 W MCCLELLAN                                                                                 FLINT             MI    48504‐2587
NORMA ROSSI                                      1923 NE 79TH AVE                                                                                 PORTLAND          OR    97213‐6657
NORMA RUTH COOPER                                5832 LAKE CIRCLE DRIVE                                                                           FAIRFIELD         OH    45014‐4447
NORMA RUTH FELTER                                14 DORAL BLVD                                                                                    WASHINGTON        NJ    07882‐1553
NORMA S BOWYER                                   RT 1 BOX 11                                                                                      NEW MILTON        WV    26411‐9703
NORMA S BRINKMAN & JOHN H BRINKMAN JT TEN        244 WOODGATE DRIVE                                                                               CROSSVILLE        TN    38571

NORMA S FOLMSBEE                                 2971 DELAWARE AVE                       APT 118                                                  BUFFALO           NY    14217‐2367
NORMA S GARD                                     3052 ST ROUTE 47                                                                                 ANSONIA           OH    45303‐9703
NORMA S HART                                     10907 CHATEAU HILL                                                                               AUSTIN            TX    78750‐3498
NORMA S JARVIS                                   ROUTE 1                                 BOX 207B                                                 BELINGTON         WV    26250‐9760
NORMA S MARTIN                                   703 WALKER ROAD                                                                                  OXFORD            AL    36203‐3131
NORMA S MCCOY                                    ROUTE 8                                 15399 SOUTH 66                                           DEFIANCE          OH    43512‐9808
NORMA S MEYERAND & PAUL R MEYERAND JT TEN        5238 STREEFERK                                                                                   WARREN            MI    48092
NORMA S SULLIVAN & MICHAEL D SULLIVAN JT TEN     718 SHAW AVE                                                                                     LANSDALE          PA    19446‐2334

NORMA S TORSKY                                   1305 CEDARWOOD                                                                                   MINERAL RIDGE     OH    44440‐9425
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Name                                             Address1                               Address2                   Address3    Address4          City            State Zip

NORMA S TRUSIEWICZ TR UA 01‐12‐07 MIKE & NORMA   470 WOOSTER RD                                                                                  MIDDLEBURY      CT    06762
TRUSIEWICZ LIVING TRUST
NORMA SAYLORS                                    2079‐D RONDA GRANADA                                                                            LAGUNA HILLS    CA    92653‐2434
NORMA SCHMIDT & JOSEPH C STEEL TEN COM           3850 N HOYNE AVE #1                                                                             CHICAGO         IL    60618‐3908
NORMA SCHUYLER DUNHAM                            609 N 11TH ST                                                                                   MIDDLETOWN      IN    47356‐1259
NORMA SUTPHEN                                    1905 EMERSON RD                                                                                 GOODELLS        MI    48027‐2120
NORMA T BOGGESS                                  3977 HERR‐FIELDHOUSE RD NW                                                                      SOUTHINGTON     OH    44470‐9543
NORMA T BOURGET                                  173A THAYER ST                                                                                  MILLVILLE       MA    01529‐1623
NORMA T JULIAN                                   PO BOX 173                                                                                      LETOHATCHIE     AL    36047‐0173
NORMA T MEDINA                                   2107 WOODSTOCK DRIVE                                                                            COLLEYVILLE     TX    76034‐4437
NORMA TAYLOR                                     290 ROYAL OAKS DR                                                                               COLUMBIA        KY    42728‐8233
NORMA TOSHIKO YOSHINAGA                          PO BOX 57                                                                                       KAUNAKAKAI      HI    96748‐0057
NORMA TYLER & ROBERT TYLER JT TEN                17819 VINTAGEWOOD LN                                                                            SPRING          TX    77379‐3932
NORMA V WEAVER                                   PO BOX 535                                                                                      OSSIAN          IN    46777‐0535
NORMA W CLARK                                    3692 BRANDIEIS COURT                                                                            DECATUR         GA    30034‐5518
NORMA W HESS                                     C/O L HESS                             1185 AVE OF THE AMERICAS                                 NEW YORK        NY    10036‐2601
NORMA W STALLINGS                                1307 NORTH SILVERTON ST                                                                         JACKSON         SC    29831‐3113
NORMA W WEST TR NORMA W WEST LIVING TRUST UA     4611 EL REPOSO DR                                                                               LOS ANGELES     CA    90065‐5204
09/16/91
NORMA W ZIEGLER                                  32 MONTAGUE AVE                                                                                 TRENTON         NJ    08628‐1706
NORMA WEZLER                                     1854 PORTLAND AVE                                                                               ROCHESTER       NY    14617‐5236
NORMA YOUNG LIU                                  300 LINCOLN AVENUE                                                                              LUTHERVILLE     MD    21093‐5335
NORMAL BARKER                                    5335 WADSWORTH RD                                                                               DAYTON          OH    45414‐3515
NORMAL LESO GRANT                                11827 MEADOWCHASE DR                                                                            HOUSTON         TX    77065‐4958
NORMALEE R TROCIK                                715 MAIDEN CHOICE LN                   APT CC418                                                CATONSVILLE     MD    21228‐5894
NORMAN A BALLGE & MRS DORIS A BALLGE JT TEN      2072 HOWE RD                                                                                    BURTON          MI    48519‐1126

NORMAN A BEIL                                    147 HART AVE                                                                                    SANTA MONICA    CA    90405
NORMAN A BEYER                                   110 HAWTHORNE DR                                                                                DIMONDALE       MI    48821
NORMAN A BEYER & DOLORES L BEYER JT TEN          110 HAWTHORNE DR                                                                                DIMONDALE       MI    48821
NORMAN A BOUCHER                                 1614 MT HOLLY RD                                                                                BURLINGTON      NJ    08016‐3740
NORMAN A BOYEA                                   38 BEMAN ST                                                                                     MALONE          NY    12953‐1609
NORMAN A BURTON TR 04/27/93 NORMAN A BURTON      1100 39TH ST N                                                                                  ST PETERSBURG   FL    33713‐6027

NORMAN A CORFIS & MARION W CORFIS JT TEN         21700 WOODBURY                                                                                  CLINTON TWP     MI    48035‐1761
NORMAN A DENNING                                 908 9TH CURV                                                                                    ABERDEEN        SD    57401‐8783
NORMAN A FELT & CAROLYN M FELT JT TEN            2150 OSTRUM                                                                                     WATERFORD       MI    48328‐1823
NORMAN A HOLDING JR                              13050 AMBERGATE DR                                                                              FISHERS         IN    46037‐8870
NORMAN A HON                                     5115 HARMONY LANE                                                                               KANSAS CITY     MO    64151‐4746
NORMAN A HULTS & THELMA R HULTS JT TEN           25092 TYLER DR                                                                                  WINDSOR         VA    23487‐4435
NORMAN A KORPI                                   3097 MCCOLLEM                                                                                   FLINT           MI    48504‐1820
NORMAN A KROLIKOWSKI & JOYCE A KROLIKOWSKI JT    115 PONCE TERRACE CIR                                                                           PONCE INLET     FL    32127‐7015
TEN
NORMAN A LANG & RUTH J LANG JT TEN               836 VENANGO ST                                                                                  PITTSBURGH      PA    15209‐1224
NORMAN A MC DOWELL JR                            8472 INDIAN WELLS WAY                                                                           NAPLES          FL    34113‐3003
NORMAN A MILLER                                  512B BAYVIEW DRIVE                                                                              MANHATTAN BCH   CA    90266‐5759
NORMAN A MORIAN                                  4190 LEVALLEY RD                       APT 5                                                    COLUMBIAVILLE   MI    48421‐9146
NORMAN A OPRY                                    200 STEVENSON DRIVE                                                                             MONROE          LA    71203‐2109
NORMAN A PAPKEY                                  12103 RICHFIELD                                                                                 DAVISON         MI    48423‐8406
NORMAN A PUFF                                    5893 W JACKSON ST                                                                               LOCKPORT        NY    14094‐1735
NORMAN A RAKOWSKI                                8111 SLOAN AVENUE                                                                               TAYLOR          MI    48180‐2472
NORMAN A REIDENBACH                              106 VIOLET ST                                                                                   PITTSBURGH      PA    15229‐1442
NORMAN A RENNER                                  15021 REID RD                                                                                   ROMEO           MI    48065‐2118
NORMAN A ROHRAFF                                 1793 N BERRY                                                                                    WESTLAND        MI    48185‐3543
NORMAN A ST PETER                                11 MARTIN RD                                                                                    SPENCER         MA    01562
NORMAN A TURBEE JR                               5277 FOX ROAD                                                                                   VERONA          NY    13478
NORMAN A WAGNER EX EST MARIE J WAGNER            490 IRVING ST                                                                                   CENTRAL ISLIP   NY    11722
NORMAN A WAHLSTEN                                709 S 5 TH ST                                                                                   VIRGINIA        MN    55792‐3018
NORMAN A WAITE                                   3794 BENGAL RD                                                                                  GULF BREEZE     FL    32561‐3400
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Name                                             Address1                                 Address2             Address3          Address4          City             State Zip

NORMAN A WESOLOWSKI                              4012 ARSENAL PL                                                                                   PITTSBURGH       PA    15201‐1757
NORMAN A WILLIAMS                                11505 WREN AVENUE                                                                                 LAKEVIEW         MI    48850
NORMAN A WRIGHT JR & RUTH ANN WRIGHT JT TEN      1900 NORTH STATE ST                                                                               CHANDLER         IN    47610‐9105

NORMAN ABRAHAM                                   208 E BROADWAY J1804                                                                              NEW YORK         NY    10002
NORMAN ADAIR                                     3501 29TH AVE NO                                                                                  SAINT PETERSBURG FL    33713‐3539

NORMAN ALAN SAPITSKY & LIBBA KURZBAN SAPITSKY JT 19432 COLLIER STREET                                                                              TARZANA          CA    91356‐3013
TEN
NORMAN ALEXANDER                                 2118 WAYNE ST                                                                                     SANDUSKY         OH    44870‐4852
NORMAN ANDERSON                                  29845 E RIVER RD                                                                                  GROSSE ILE       MI    48138‐1935
NORMAN ANTHONY OLSZEWSKI                         18 HARRIS COURT                                                                                   CHEEKTOWAGA      NY    14225‐3812
NORMAN ANZURES                                   7715 NEWARK RD                                                                                    IMLAY CITY       MI    48444‐9752
NORMAN ATKINS                                    2105 MATTHEW NW                                                                                   ALBUQUERQUE      NM    87104‐3210
NORMAN B ALLEN                                   5303 SILVERCREEK RD                                                                               ALGER            MI    48610‐9310
NORMAN B BOLES                                   6550 IONA RD                                                                                      INDIANAPOLIS     IN    46203‐5031
NORMAN B CLARK                                   5169 NORTH LAKE ROAD                                                                              COLUMBIAVILLE    MI    48421‐9104
NORMAN B DOUGLAS                                 177 LYNWOOD LANE                                                                                  BATTLE CREEK     MI    49015‐7912
NORMAN B FOSTER                                  5221 E VIENNA                                                                                     CLIO             MI    48420‐9770
NORMAN B FUQUA                                   56 GREEN ACRES DR                                                                                 WHITESBORO       NY    13492‐2114
NORMAN B LLOYD                                   40136 VINCENZIA                                                                                   CLINTON TWSP     MI    48038‐4083
NORMAN B MERRILL                                 9213 CLIO RD BOX 206                                                                              CLIO             MI    48420‐8556
NORMAN B REANY & DAVID H REANY JT TEN            5172 CRAWFORD RD                         PO BOX 38                                                DRYDEN           MI    48428‐0038
NORMAN B SMITH                                   3239 LYNFIELD DRIVE S W                                                                           ATLANTA          GA    30311‐2911
NORMAN B TYLER                                   1606 E ELMWOOD                                                                                    MESA             AZ    85203‐5811
NORMAN BAY                                       4 STONEGATE DR                                                                                    HYDE PARK        NY    12538‐2052
NORMAN BEICHMAN & MRS JANET BEICHMAN JT TEN 6897 VENIDITA BEACH DR                                                                                 DELRAY BEACH     FL    33446‐5671

NORMAN BOONE                                     RT 1 BOX 85                                                                                       ELK CREEK        NE    68348‐9703
NORMAN BORKOWSKI & KATHRYN BORKOWSKI JT TEN      8110 MENGE ST                                                                                     CENTERLINE       MI    48015‐1652

NORMAN BORKOWSKI & MARTIN BORKOWSKI JT TEN       8110 MENGE ST                                                                                     CENTERLINE       MI    48015‐1652

NORMAN BURKE                                     122 CEDAR RUN RD                                                                                  BAYVILLE         NJ    08721‐3504
NORMAN BUTLER                                    99 E FOREST AVE                          APT 1004                                                 DETROIT          MI    48201‐1873
NORMAN C BLANCH III                              13271 LAUDER ST                                                                                   DETROIT          MI    48227‐2514
NORMAN C BOEGNER                                 5095 JACKSON RD                                                                                   FLINT            MI    48506‐1009
NORMAN C BUTORAC                                 127 CORNELL CIR                                                                                   PUEBLO           CO    81005‐1612
NORMAN C CHRISTMAN                               RR 4 BOX 174A                                                                                     SHELBYVILLE      IL    62565‐9335
NORMAN C CLUFF                                   14555 DOE RUN                                                                                     HARVEST          AL    35749‐7575
NORMAN C CRANDALL                                691 COOL HOLLOW DR                                                                                DECATUR          GA    30033
NORMAN C DECKER & RUTH H DECKER TR DECKER        117 SAGAMORE DR SOUTH                                                                             LIVERPOOL        NY    13090‐2219
LIVING TRUST UA 06/12/02
NORMAN C DWIGHT                                  4540 HUNT ROAD                                                                                    ONONDAGA         MI    49264‐9705
NORMAN C EASTERLING                              4380 ALYDAR DR                                                                                    BURLESON         TX    76028‐3243
NORMAN C FISCHER TR NORMAN C FISCHER TRUST UA    8088 MARYWOOD DR                                                                                  NEWBURGH         IN    47630‐3035
03/20/97
NORMAN C FISHER                                  6824 BROOKNOLL CT                                                                                 CITRUS HEIGHTS   CA    95621‐6326
NORMAN C GILLIS & M AMY GILLIS JT TEN            4936 BARKER CRESCENT                     BURABY BC                              V5G 3G5 CANADA
NORMAN C HAGAN                                   PO BOX 3191                                                                                       MONTROSE         MI    48457‐0891
NORMAN C HIMES                                   1418 18TH STREET                                                                                  NIAGARA FALLS    NY    14305‐2942
NORMAN C HURSH & LINDA C HURSH TEN COM           9 JEFFREY CIRCLE                                                                                  BEDFORD          MA    01730‐1519
NORMAN C KENNEDY                                 137 GREENRIDGE DR                                                                                 MONONGAHELA      PA    15063‐1230
NORMAN C KOEPKE                                  11801 EAST PITTSBURG ROAD                                                                         DURAND           MI    48429‐9449
NORMAN C KOPKE                                   2429 CASMERE ST                                                                                   HAMTRAMCK        MI    48212‐2948
NORMAN C KRUSE                                   15449 US6                                                                                         NAPOLEON         OH    43545
NORMAN C LANDERS                                 4549 S PENNSYLVANIA AVE                                                                           ST FRANCIS       WI    53235‐5627
NORMAN C LANDERS & MARCELLA B LANDERS JT TEN     4549 S PENNSYLVANIA AVE                                                                           ST FRANCIS       WI    53235‐5627
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Name                                           Address1                               Address2             Address3          Address4          City              State Zip

NORMAN C LINSEY                                PO BOX 222                                                                                      ATTICA            NY    14011‐0222
NORMAN C LUMSDEN                               9810 AVON LEA                                                                                   WHITE LAKE        MI    48386‐2802
NORMAN C METCALF                               BOX 1368                                                                                        BOULDER           CO    80306‐1368
NORMAN C MILES & DORIS W MILES TR NORDOR TRUST 40 CAMBRIDGE CT                                                                                 FAIRPORT          NY    14450‐9174
UA 12/18/96
NORMAN C MITCHELL                              20 PARWOOD DRIVE                                                                                CHEEKTOWAGA       NY    14227‐2627
NORMAN C MONTLE                                9207 W ARBELA RD                                                                                MILLINGTON        MI    48746‐9577
NORMAN C NAUGLE                                420 CENTER ST                                                                                   BRYAN             OH    43506‐2332
NORMAN C NICHOLAS JR                           25OUTWATER DR                                                                                   LOCKPORT          NY    14094‐2103
NORMAN C PEMBERTON                             144 PLEASANT PARK CT                                                                            WARREN            OH    44481‐9440
NORMAN C RESNER                                8453 TOMPKINSVILLE RD                                                                           GLASGOW           KY    42141‐7808
NORMAN C SAMUEL                                18694 ALCOY ST                                                                                  DETROIT           MI    48205‐2702
NORMAN C SHORT                                 1467 PRESTONVALE RD                    COURTICE ON                            L1E 2P2 CANADA
NORMAN C THOMA & MARY THOMA JT TEN             385 HEISS ROAD                                                                                  MONROE            MI    48162‐9405
NORMAN C WAGNER II                             870 GOLDEN DRIVE                                                                                WHITE LAKE        MI    48386‐3827
NORMAN C WESTERFELD TR NORMAN C WESTERFELD     1266 CAHOON RD                                                                                  WESTLAKE          OH    44145‐1235
TRUST UA 03/03/93
NORMAN CAPELLO                                 2102 E GANSON ST                                                                                JACKSON           MI    49202‐3716
NORMAN CARL THOMAS                             510 OLIVER COURT                                                                                CINCINNATI        OH    45215‐2505
NORMAN CHARLES BRUG                            225 PELLMAN PLACE                                                                               WEST SENECA       NY    14218‐3617
NORMAN CHARLES EHINGER                         631 PILOT RD                                                                                    NORTH PALM        FL    33408‐3724
                                                                                                                                               BEACH
NORMAN CHENENKO & DORIS CHENENKO JT TEN        6788 PARISIAN WAY                                                                               LAKE WORTH        FL    33467‐5745
NORMAN CHUDOBA                                 5155 ROTHESAY COURT                    MISSISSAUGA ON                         L5M 4Y2 CANADA
NORMAN COMINS CUST STEVEN COMINS UGMA MA       1006 PARADISE ROAD #PHG                                                                         SWAMPSCOTT        MA    01907‐1308

NORMAN COOPER & MRS MARGARET COOPER JT TEN     507 SABLE PALM NORTH                   COLONY COVE                                              ELLENTON          FL    34222‐3621

NORMAN CORNELL                                 19637 1ST ST                                                                                    EAGLE RIVER       AK    99577
NORMAN D ALRED & JEAN L ALRED JT TEN           17141 MERRIMAN                                                                                  ROMULUS           MI    48174‐9410
NORMAN D ANDERSON                              4443 N GALE RD                                                                                  DAVISON           MI    48423‐8953
NORMAN D BOIKE                                 1414 JANE                                                                                       FLINT             MI    48506‐3341
NORMAN D CADARETTE                             3100 GROVELAND RD                                                                               ORTONVILLE        MI    48462‐9007
NORMAN D DEMANKOWSKI                           56507 SCOTLAND BLVD                                                                             SHELBY TWP        MI    48316‐5043
NORMAN D DEMONT & L JUNE DEMONT JT TEN         1844 N 38TH DR                                                                                  PHOENIX           AZ    85009‐2232
NORMAN D DIVER                                 12276 MCMAHON                                                                                   DEERFIELD         MI    49238‐9772
NORMAN D DUNCAN                                512 BLACKS DR                                                                                   WILLISTON         SC    29853‐3554
NORMAN D GAMMELL                               16043 SE 142ND PL                                                                               RENTON            WA    98059‐7518
NORMAN D GARDNER                               64 BRANDON RIDGE DRIVE N E                                                                      ATLANTA           GA    30328‐2136
NORMAN D GUISE                                 691 DOE CROSSING                                                                                CENTERVILLE       OH    45459‐4871
NORMAN D HANISZEWSKI                           5325 OAKWOOD DR                                                                                 NORTH             NY    14120‐9619
                                                                                                                                               TONAWANDA
NORMAN D JOHNSON                               2414 WENONA DR                                                                                  WIXOM             MI    48393‐2154
NORMAN D KACZMAREK                             90 PANORAMA DR                                                                                  CLEVELAND         OH    44131‐2803
NORMAN D KAMINSKI                              179 BREEZEWOOD COMMON                                                                           E AMHERST         NY    14051‐1426
NORMAN D KING & JEAN O KING JT TEN             1904 CANTERBURY LANE M‐6                                                                        SUN CITY CENTER   FL    33573‐5673
NORMAN D MABRY                                 400 W HENDRICKS ST                                                                              CAMDEN            OH    45311‐9656
NORMAN D OTT                                   2116 JAYMIE WAY                                                                                 LASVEGAS          NV    89106‐3930
NORMAN D RAMAGE                                1045 PENNCRAFT RD                                                                               E MILLSBORO       PA    15433‐1233
NORMAN D SMITH                                 8409 E WALKER RD                                                                                OVID              MI    48866‐8644
NORMAN D SPENCER                               5687 HEMINGWAY LAKE ROAD                                                                        OTTER LAKE        MI    48464‐9732
NORMAN D STOTTLEMYRE                           2195 S W HOLLOW RD                                                                              KINGSTON          MO    64650‐9159
NORMAN D WIGHTMAN & ANN M WIGHTMAN JT TEN      6770 CREYTS RD                                                                                  DIMONDALE         MI    48821‐9409

NORMAN D WONG & EUGENIA L WONG TR NORMAN & 675 PACO DR                                                                                         LOS ALTOS         CA    94024‐3835
EUGENIA WONG TRUST
NORMAN DEN BLEYKER & DONNA DEN BLEYKER JT TEN 69 SUNRISE DRIVE                                                                                 RANCHO MIRAGE     CA    92270
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Name                                          Address1                              Address2             Address3          Address4          City             State Zip

NORMAN DIEGNAN CUST ERIN LYNN DIEGNAN UTMA NJ BOX 298                                                                                        OLDWICK          NJ    08858‐0298

NORMAN DOMBROWSKI                             7684 PIERSON                                                                                   DETROIT          MI    48228‐3239
NORMAN DOUGLAS BYNUM EX UW CHRISTEEN CARTER   1385 SHIPP ROAD                                                                                HAYDEN           AL    35076
BYNUM
NORMAN E BAKER                                3277 BELL SOUTH RD                                                                             CORTLAND         OH    44410‐9408
NORMAN E BEARD & LOUETTA M BEARD JT TEN       1027 JAMES WAY                                                                                 ANDERSON         IN    46011‐1090
NORMAN E BIDWELL                              25470 ODETTE RD                                                                                FLAT ROCK        MI    48134‐9708
NORMAN E BIGGS                                4686 COBBLESTONE DR                                                                            TIPP CITY        OH    45371‐8352
NORMAN E BLAISDELL                            513 HAMILTON AVE                                                                               LEHIGH ACRES     FL    33972‐4530
NORMAN E BOILARD                              120JACOBS ST                                                                                   BRISTOL          CT    06010‐5662
NORMAN E CARTER                               11964 OLD ST CHARLES RD                                                                        BRIDGETON        MO    63044‐2821
NORMAN E CLORE                                70681 BAUMAN RD                                                                                STURGIS          MI    49091‐8408
NORMAN E COOK                                 241 COTTONWOOD DR                                                                              SEBRING          FL    33875‐6217
NORMAN E CROWDELL                             4204 LAYTON ST APT 614                ELMHURST                                                 QUEENS           NY    11373‐2321
NORMAN E DEDERICK & DONNA R DEDERICK JT TEN   3019 S E ARIES AVE                                                                             TOPEKA           KS    66605‐1881

NORMAN E DOERSAM & JOY J DOERSAM JT TEN       788 AIRPORT RD N W                                                                             WARREN           OH    44481‐9484
NORMAN E DUPAUL                               4 KIEFER ROAD                                                                                  SOUTHINGTON      CT    06489‐4111
NORMAN E EGGERS                               176 E HURDLE RD                                                                                MORGANTOWN       IN    46160‐8666
NORMAN E FREEMAN                              6119 BLACKSTONE BLVD                                                                           FREDERICKSBURG   VA    22407‐8301
NORMAN E GRUGLE                               802 WASHINGTON AVE                                                                             ELYRIA           OH    44035‐3607
NORMAN E GUERIN                               6202 KAYELLEN                                                                                  NIAGARA FALL     NY    14305‐1436
NORMAN E HECKMAN                              537 EVERETT TRL                                                                                HALE             MI    48739‐9120
NORMAN E HILL                                 18 ST QUENTIN AVE                     SCARBOROUGH ON                         M1M 2M8 CANADA
NORMAN E HONCHELL                             4 CHESNEY CT                                                                                   PALM COAST       FL    32137‐8356
NORMAN E HOVIS                                5167 RAY RD                                                                                    LINDEN           MI    48451‐9400
NORMAN E JENKS                                1769 LAVENDER RD                                                                               THOMPSONS STN    TN    37179‐9785
NORMAN E KARCHER                              405 CHURCH ST RR 2                                                                             NAPOLEON         OH    43545‐5788
NORMAN E KEEFE                                PO BOX 114                                                                                     SEDGWICK         ME    04676‐0114
NORMAN E KEESLING                             6959 W CR RD 725N                                                                              MIDDLETOWN       IN    47356‐9404
NORMAN E KEITH                                2854 W LIBERTY ST                                                                              GIRARD           OH    44420‐3118
NORMAN E KNAPP                                7398 EAST 40TH                                                                                 NEWAYGO          MI    49337‐9513
NORMAN E KNIGHT                               12206 SW TORCH LAKE DR                                                                         RAPID CITY       MI    49676‐9602
NORMAN E LEEN & LUCY CLARK LEEN JT TEN        131 COUNTRY CLUB DRIVE                                                                         YARMOUTH PORT    MA    02675‐1606
NORMAN E MASTERS                              3027 HWY 95                                                                                    COUNCIL          ID    83612‐5105
NORMAN E MCPHEE                               150 SITTON SHOALS RD                                                                           SENECA           SC    29678‐5125
NORMAN E MCPHEE & JUANITA A MCPHEE JT TEN     150 SITTON SHOALS RD                                                                           SENECA           SC    29678‐5125
NORMAN E NASH                                 4418 WICKHAM COURT                                                                             ADRIAN           MI    49221‐9320
NORMAN E NIETHE                               153 HARVEY AVENUE                                                                              LOCKPORT         NY    14094‐4905
NORMAN E OILA                                 23730 SHERWOOD AV 2                                                                            WARREN           MI    48091‐5367
NORMAN E OLSEN & JANIS K OLSEN JT TEN         871 BAY AVE                                                                                    TOMS RIVER       NJ    08753‐3546
NORMAN E OTT                                  36488 CRIMSON LN                                                                               NEW BALTIMORE    MI    48047‐5586
NORMAN E PATRICK                              227 CARTER LN                                                                                  TAZEWELL         TN    37879‐5002
NORMAN E PEYTON                               6973 RONALD DRIVE                                                                              MIDDLETOWN       OH    45042‐3110
NORMAN E PFAU JR                              2703 UTICA PIKE                                                                                JEFFERSONVILLE   IN    47130‐5251
NORMAN E PRANGE                               125 62ND STREET                                                                                WEST BRADENTON   FL    34209

NORMAN E ROE                                  911 WEST MAIN STREET                                                                           BRIGHTON         MI    48116‐1335
NORMAN E ROE & ELIZABETH R ROE JT TEN         911 W MAIN ST                                                                                  BRIGHTON         MI    48116‐1335
NORMAN E ROUCH                                108 N SCOTT ST                                                                                 NEW CARLISLE     OH    45344‐1821
NORMAN E SAXTON                               1079 LEWERENZ                                                                                  DETROIT          MI    48209‐2242
NORMAN E SCHULTZ                              1426 RILLVIEW CT                                                                               METAMORA         MI    48455‐8984
NORMAN E SCHWEITZER & DOROTHY M SCHWEITZER JT 103 WILLOWDALE DRIVE                                                                           BUFFALO          NY    14224‐3572
TEN
NORMAN E SHAFER                               HC 81 280N                                                                                     LEWISBURG        WV    24901‐9544
NORMAN E SITGREAVES                           76 DEURO DRIVE                                                                                 NIAGARA FALLS    NY    14304‐3038
NORMAN E SKYLES                               3098 MADISON 219                                                                               FREDERICKTOWN    MO    63645‐7800
NORMAN E TIEMANN                              21973 E ROSA RD                                                                                QUEEN CREEK      AZ    85242‐4587
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Name                                           Address1                              Address2                 Address3      Address4          City              State Zip

NORMAN E TODD                                 1116 FERNWOOD                                                                                   TOLEDO            OH    43607‐1903
NORMAN E TORELLO                              1328 SKYVIEW DR                                                                                 BURLINGAME        CA    94010‐6254
NORMAN E TREECE                               70400 DEQUINDRE                                                                                 ROMEO             MI    48065‐4011
NORMAN E TREECE & JANET M TREECE JT TEN       70400 DEQUINDRE                                                                                 ROMEO             MI    48065‐4011
NORMAN E TROMBLEY                             3045 BAY MID LINE R #4                                                                          MIDLAND           MI    48640
NORMAN E VOLZ                                 11122 COLDWATER                                                                                 FLUSHING          MI    48433‐9702
NORMAN E W ERICKSON                           4 MILLBROOK LN                                                                                  SOUTHINGTON       CT    06489‐2927
NORMAN E WANDKE & DONNA E WANDKE JT TEN       1946 HIDDEN BAY CT                                                                              NAPERVILLE        IL    60565‐2801
NORMAN E WEITKAMP                             3019 28TH AVE W                                                                                 SEATTLE           WA    98199‐2707
NORMAN E WEST & VIRGINIA M WEST JT TEN        12355 ANCHOR LN SW                                                                              MOORE HAVEN       FL    33471‐8011
NORMAN E WHITLEY                              8 REDWOOD DR                                                                                    NORWAY            ME    04268‐5524
NORMAN E WILKE & ALICE M WILKE JT TEN         156 TRENTWOOD DR                                                                                FAIRFIELD GLADE   TN    38558‐6582
NORMAN ELAM                                   ATTN MARTHA ELAM                       RT6 BOX 105                                              KILLEN            AL    35645‐9806
NORMAN ELLIOT FOURNIER                        205 LYMAN DR                                                                                    SAN ANTONIO       TX    78209‐6032
NORMAN EUGENE RANDOL                          18025 N 125 E                                                                                   SUMMITVILLE       IN    46070‐9110
NORMAN F ABBOTT                               #426                                   2950 LAWRENCE AVE EAST   SCARBORO ON   M1P 2T9 CANADA
NORMAN F ADAMS TR NORMAN F ADAMS LIVING TRUST 5003 SHREEVES                                                                                   FAIRGROVE         MI    48733‐9548
UA 10/28/99
NORMAN F ALLEN                                415 LAWNDALE DR                                                                                 BRYAN             OH    43506‐2448
NORMAN F ANNA TR NORMAN F ANNA REVOCABLE      4461 STACK BLVD APT E223                                                                        MELBOURNE         FL    32901‐8843
TRUST UA 02/28/00
NORMAN F BURAKOWSKI                           202 PALMETTO ST                                                                                 ST MARYS          GA    31558‐4616
NORMAN F BURLOCK                              149 BROOK STREET                                                                                TORRINGTON        CT    06790‐5051
NORMAN F CUDECK                               66 LAMSON RD                                                                                    TONAWANDA         NY    14223‐2535
NORMAN F CURTIS JR                            2204 WESTWIND DR                                                                                SANDUSKY          OH    44870‐7075
NORMAN F GOEKEN & FAYE L GOEKEN JT TEN        145 N FRENCH                                                                                    COLBY             KS    67701‐1738
NORMAN F HOOVER                               168 PRIGMORE ST                                                                                 EAST BRUNSWICK    NJ    08816‐3176
NORMAN F JOHNSON & SOL C JOHNSON JT TEN       8563 NE DAY RD                                                                                  BAINBRIDGE ISLAND WA    98110‐1395

NORMAN F KUNESH                                1604 GARFIELD AVE                                                                              DELAVAN           WI    53115‐4048
NORMAN F MCKAIN                                214 W OAK ST                                                                                   ANDERSON          IN    46012‐2548
NORMAN F REEDER                                1365 SINAGUA CT                                                                                RENO              NV    89511‐5342
NORMAN F RICHARDSON                            9051 GOULD RD                                                                                  LINDEN            MI    48451‐9615
NORMAN F RIDGEWAY                              57 BRIDGETON FAIRTON RD                                                                        BRIDGETON         NJ    08302‐7055
NORMAN F SCHOFF                                2215 N HAWTHORNE PARK DR                                                                       JANESVILLE        WI    53545‐2032
NORMAN F SMITH TR UA 01/15/07 NORMAN F SMITH   185 W IMBODEN DR                      APT 107                                                  DECATUR           IL    62521‐5264
TRUST
NORMAN F SMITH TR UA 01/15/2007 NORMAN F SMITH 185 WEST IMBODEN DR APT 107                                                                    DECATUR           IL    62521
TRUST
NORMAN F WALAWENDER & MRS THERESA              244 MARTIN ROAD                                                                                LACKAWANNA        NY    14218‐2710
WALAWENDER JT TEN
NORMAN FONG                                    768 LAKE FRONT DR                                                                              SACRAMENTO        CA    95831‐4225
NORMAN FRANK                                   135 HIAWATHA DR                                                                                CLARENDON         IL    60514‐1115
                                                                                                                                              HEIGHTS
NORMAN FRANKS                                  2681 IONIA RD RR 2                                                                             BELLEVUE          MI    49021‐9441
NORMAN G ABEL                                  8148 KLONDIKE ROAD                                                                             DITTMER           MO    63023‐2300
NORMAN G ABRAHAMSON                            6 ELIZABETH RD                                                                                 MANSFIELD         MA    02048‐3249
NORMAN G BARNEY                                3504 CHURCHILL DR                                                                              TOMS RIVER        NJ    08753
NORMAN G BAYLISS                               14300 GOOSE LAKE RD                                                                            J0ONESVILLE       MI    49250‐9532
NORMAN G BROWN                                 9814 MILLER ROAD                                                                               DURAND            MI    48429‐9453
NORMAN G BRUINSMA                              1315 BADINGHAM DR                                                                              CUMMING           GA    30041‐9556
NORMAN G CALDWELL                              7635 HAMBURG ROAD                                                                              BRIGHTON          MI    48116‐5135
NORMAN G DOHERTY                               17479 THE GORE RD                     CALEDON ON                             L7E 0X6 CANADA
NORMAN G DOYLE                                 8‐861 SHELBORNE ST                    LONDON ON                              N5Z 5C5 CANADA
NORMAN G GILSDORF                              105 DEERPATH DR                                                                                OLDSMAR           FL    34677‐2057
NORMAN G GREVEY                                3052 BAFFIN DR                                                                                 HAMILTON          OH    45011
NORMAN G HASE                                  7475 DORWOOD ROAD                                                                              BIRCH RUN         MI    48415‐9027
NORMAN G HOWARTH                               2720 TIGER CREEK TRL                                                                           LAKE WALES        FL    33898‐5514
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Name                                              Address1                              Address2                 Address3      Address4                City              State Zip

NORMAN G HUFFMAN                                  5944 TERN DR                                                                                         NEW PORT RICHEY   FL    34652‐6340

NORMAN G IRONS & BEVERLY J IRONS JT TEN           PO BOX 829                                                                                           BUCKLEY           WA    98321‐0829
NORMAN G KENNEDY                                  53201 SUZANNE                                                                                        SHELBY TWP        MI    48316‐2570
NORMAN G KENNEDY & DORIS M KENNEDY JT TEN         53201 SUZANNE                                                                                        SHELBY TWP        MI    48316‐2570
NORMAN G KLUGE                                    8720 LITTLE PATUXENT COURT                                                                           ODENTON           MD    21113‐2797
NORMAN G MILLER                                   G 2480 BETTY LANE                                                                                    FLINT             MI    48507
NORMAN G MILLER & MARGARET M MILLER JT TEN        5038 SANDALWOOD DR                                                                                   GRAND BLANC       MI    48439‐4260

NORMAN G MULLINS                                  3312 W OLD STATE 234                                                                                 KINGMAN           IN    47952‐8337
NORMAN G ST AUBIN JR                              8907 BEATRICE                                                                                        LIVONIA           MI    48150‐4047
NORMAN GEOFFREY WEILERT & TRACY A WEILERT JT      13227 OLD HANOVER ROAD                                                                               REISTERSTOWN      MD    21136‐4725
TEN
NORMAN GLEN MOLLENKOPF                            1500 LAKEVIEW CURV                                                                                   SAINT PAUL        MN    55122‐1391
NORMAN GREEN                                      1646 BROADWAY                                                                                        NEW HYDE PARK     NY    11040‐4310
NORMAN GRENZKE JR                                 52 SCHOOL ST                                                                                         HATFIELD          MA    01038‐9747
NORMAN H BEAVER                                   30900 PALMER RD                                                                                      WESTLAND          MI    48186‐9526
NORMAN H C PANG                                   538 MAPU LANE                                                                                        HONOLULU          HI    96817‐2241
NORMAN H COOK                                     18 SUE SPRINGS COURT                                                                                 CARMEL            IN    46033‐3269
NORMAN H COOPER                                   507 SABLE PALM NORTH                                                                                 ELLENTON          FL    34222‐3621
NORMAN H FISHEL & NATHAN B FISHEL JT TEN          2232 ROSEDALE DRIVE                                                                                  INDIANAPOLIS      IN    46227‐4322
NORMAN H FOX                                      901 IRWIN AVE                                                                                        ALBION            MI    49224‐9713
NORMAN H GLANTZ & MRS MIRIAM M GLANTZ JT TEN      310 SHERIDAN AVE                                                                                     SOUTH             PA    15601‐5314
                                                                                                                                                       GREENSBURG
NORMAN H GOETTMAN                                 611 STATE RTE 47                                                                                     UNION CITY        OH    45390‐8652
NORMAN H GUNN                                     1103 E BRISTOL                                                                                       BURTON            MI    48529‐1126
NORMAN H HARRIS                                   9900 CASE ROAD                                                                                       BROOKLYN          MI    49230‐8512
NORMAN H HICK                                     999 WHITE TAIL DR                                                                                    MANTENO           IL    60950‐3706
NORMAN H HICK & GRACE L HICK JT TEN               999 WHITE TAIL DR                                                                                    MANTENO           IL    60950‐3706
NORMAN H ISHLER JR                                230 BONNIE BRAE AVE                                                                                  ROCHESTER         NY    14618‐2133
NORMAN H LEE                                      9 COMP GATE                           EATON BRAY BEFORDSHIRE                 LU6 2AU GREAT BRITAIN
NORMAN H LOBB III                                 PO BOX 518                                                                                           WEST TISBURY      MA    02575‐0518
NORMAN H MAGEE JR                                 1034 BIG ROCK LOOP                                                                                   LOS ALAMOS        NM    87544‐2806
NORMAN H MEYER                                    4059 OBERLIN ROAD                                                                                    GLADWIN           MI    48624‐8954
NORMAN H MOSELE                                   8647 W GLADWIN RD                                                                                    HARRISON          MI    48625‐9773
NORMAN H OKE                                      32850 HEISNER AVE                                                                                    FRASER            MI    48026‐3800
NORMAN H PATTON                                   11011 ROLLINGWOOD DR                                                                                 PORT RICHEY       FL    34668‐2328
NORMAN H RASP & LUCILLE M RASP TR 02/21/06 RASP   1131 W ORIOLE WAY                                                                                    CHANDLER          AZ    85248‐3105
LIVING TRUST
NORMAN H SCOTT                                    2250 E MAIN ST                                                                                       OWOSSO            MI    48867‐9067
NORMAN H VERDUN                                   764 E CARTON ST                                                                                      FLINT             MI    48505‐3915
NORMAN H WARSAW                                   505 N CHILSON ST                                                                                     BAY CITY          MI    48706‐4425
NORMAN H WEISS                                    164 BRIARHURST DRIVE                                                                                 TONAWANDA         NY    14150‐8836
NORMAN HARVEY                                     295STOUTHTON AVE                                                                                     CRANFORD          NJ    07016‐2856
NORMAN HARVEY EARL                                2036 PAUTUCKET DR                                                                                    TOLEDO            OH    43615‐3928
NORMAN HEITLAUF                                   1068 LAURELWOOD LN                                                                                   GREENWOOD         IN    46142‐5671
NORMAN HILLING SR                                 1628 VALLEY CREST DR                                                                                 COLUMBUS          OH    43228
NORMAN HIMMEL CUST JEFFREY HIMMEL UGMA PA         117 ALBURGER AVE                                                                                     PHILADELPHIA      PA    19115‐4027

NORMAN HINMAN CHAPMAN                        764 PLUME ST                                                                                              SPARTANBURG       SC    29302‐1452
NORMAN HOCHMAN                               6192 DEERFIELD DR                                                                                         FARMINGTON        NY    14425‐1141
NORMAN HYMOWITZ                              7 BRADFORD AVE                                                                                            W ORANGE          NJ    07052‐3914
NORMAN IZATT                                 122 CHATEAU CRT                                                                                           DEPEW             NY    14043‐2911
NORMAN J BAUER                               15435 US 23 SOUTH                                                                                         PRESQUE ISLE      MI    49777‐9014
NORMAN J BAUER & KATHLEEN A BAUER JT TEN     PO BOX 214                                                                                                PRESQUE ISLE      MI    49777‐0214
NORMAN J BEAUCHAMP & ANNE M BEAUCHAMP JT TEN 7071 W JASON RD                                                                                           ST JOHNS          MI    48879‐8216

NORMAN J BIRCH                                    110 BRANDT RD                                                                                        WEXFORD           PA    15090‐6812
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Name                                              Address1                                Address2              Address3         Address4          City               State Zip

NORMAN J BLAZEJAK & ELIZABETH A BLAZEJAK JT TEN   1650 MANOR ROAD                                                                                  BALTIMORE          MD    21222‐2051

NORMAN J BLAZEJAK & MRS ELIZABETH A BLAZEJAK TEN 1650 MANOR RD                                                                                     BALTIMORE          MD    21222‐2051
ENT
NORMAN J BOWERMAN & SUZANNE J BOWERMAN JT        136 N 10TH ST                                                                                     SANTA PAULA        CA    93060‐2803
TEN
NORMAN J BURLEW                                  4935 LAKE POINT DRIVE                                                                             HARRISON           MI    48625‐9636
NORMAN J CARHART                                 101 YORKWOOD DR                                                                                   BRICK              NJ    08723‐7807
NORMAN J CHARTIER & MARY JANE CHARTIER TEN ENT 410 TOME ST                                                                                         RIDLEY PARK        PA    19078‐3317

NORMAN J CORNWELL                              1337 SW 500TH RD                                                                                    HOLDEN             MO    64040
NORMAN J DIETZ                                 859 ALAN DR                                                                                         LAKE ORION         MI    48362‐2805
NORMAN J DOWNEY & AUDREY A DOWNEY JT TEN       23042 NOTTINGHAM DR                                                                                 BEVERLY HILLS      MI    48025‐3415
NORMAN J FISHER TR UA 06/19/90 NORMAN J FISHER 10871 HOLDGREVE RD                                                                                  DELPHOS            OH    45833‐8969
TRUST
NORMAN J GOLTRY                                6966 TAPPON DR                                                                                      CLARKSTON          MI    48346‐2630
NORMAN J GRAY                                  1319 E 196TH STREET                                                                                 WESTFIELD          IN    46074‐9239
NORMAN J HAMMERGREN & ELEANOR L HAMMERGREN 8303 GARDEN RIDGE STREET                                                                                WICHITA            KS    67205‐1350
JT TEN
NORMAN J HAVLIK                                295 ROBIN LANE                                                                                      HARDY              VA    24101
NORMAN J HEBERT                                190 MOODY ST                                                                                        BRISTOL            CT    06010‐4443
NORMAN J KENDRICK & SUSAN L KENDRICK JT TEN    1586 POUND DR                                                                                       FLINT              MI    48532‐4560

NORMAN J KIENTZ                                   20 TOKALON PL                                                                                    METAIRIE           LA    70001‐3020
NORMAN J KING                                     2368 NEWBURG RD                                                                                  DURAND             MI    48429‐9122
NORMAN J KLOEPPER & JEAN E KLOEPPER JT TEN        10738 LISA MARIE COURT                                                                           SAINT LOUIS        MO    63123‐6122
NORMAN J KOSZELAK                                 142 15TH AVE                                                                                     NORTH              NY    14120‐3224
                                                                                                                                                   TONAWANDA
NORMAN J KRAJKOWSKI                               16 GROVE RD                                                                                      WHITE PLAINS       NY    10603‐2528
NORMAN J KUNCE                                    1207 RALSTON AVE                                                                                 DEFIANCE           OH    43512‐1337
NORMAN J LASHOMB                                  1640 CO RT 38                                                                                    NORFOLK            NY    13667‐3236
NORMAN J MARCOTTE & CLAUDETTE F MARCOTTE JT       450 WHITHAM DR                                                                                   GORE               VA    22637‐2253
TEN
NORMAN J MARTELLO & CAROL A MARTELLO JT TEN       6015 W 123RD ST                                                                                  PALOS HEIGHTS      IL    60463‐1802

NORMAN J MILLER                                   4 CHESTER RD                                                                                     TYRONE             PA    16686‐8809
NORMAN J MORAN                                    420 ROSMERE ST                          OSHAWA ON                              L1J 5H3 CANADA
NORMAN J MURDOCK                                  212 EAST MADISON                                                                                 PENDLETON          IN    46064‐1225
NORMAN J PEARN                                    6400 VILLAGE PARK DR APT 101                                                                     W BLOOMFIELD       MI    48322‐2158
NORMAN J PFEIFFER                                 417 FIRST STREET                                                                                 FENTON             MI    48430‐1949
NORMAN J PILLINGER                                30086 ADAMS DR APT 1                                                                             GIBRALTAR          MI    48173‐8720
NORMAN J PREMO                                    7906 WEST 98TH PL                                                                                HICKORY HILLS      IL    60457‐2317
NORMAN J PROVONSIL                                181 YORKSHIRE PLACE                     UNIT G                                                   BELLEVUE           OH    44811‐1103
NORMAN J PRUE                                     6394 BADGER DRIVE                                                                                LOCKPORT           NY    14094‐5948
NORMAN J RHODES                                   129 COUNTY ROAD 348                                                                              SWEETWATER         TN    37874‐5033
NORMAN J ROSS                                     10830 E HENDERSON RD                                                                             CORUNNA            MI    48817‐9791
NORMAN J SCHUMACHER                               5381 WINSWEPT LANE                                                                               HOUSE SPRINGS      MO    63051‐4500
NORMAN J SHALEK                                   2409 PHILADELPHIA LAKE CT                                                                        GREENSBORO         NC    27408‐4300
NORMAN J SINGER                                   903 20TH AVE                                                                                     TUSCALOOSA         AL    35401‐2306
NORMAN J SOWERS                                   3728 RICE BLVD                                                                                   HOUSTON            TX    77005‐2824
NORMAN J STACEY & LOUISE A STACEY JT TEN          22160 EDGEWATER                                                                                  NOVI               MI    48375‐5014
NORMAN J SZYDLOWSKI                               1536 E 35TH PL                                                                                   TULSA              OK    74105‐2630
NORMAN J TOMKIEWICZ                               3740 HI DALE DR                                                                                  LAKE ORION         MI    48360‐2421
NORMAN J VANTUYLE                                 16150 WHEATON RD                                                                                 CEMENT CITY        MI    49233‐9705
NORMAN J WILCZYNSKI                               2026 NEWELL DR                                                                                   STERLING HEIGHTS   MI    48310‐2859

NORMAN J WRIGHT                                   1227 SANDY SOMERIVLLE DR                LONDON ON                              N6K 5R2 CANADA
NORMAN JACKSON & ELOISE JACKSON JT TEN            7415 MALLOW LN                                                                                   GRAND LEDGE        MI    48837‐8164
NORMAN JAMES LONGWORTH                            142‐B BELLEVUE RD                       BELLEVUE HILL N S W                    2023 AUSTRALIA
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NORMAN JAMES MODERMOTT CUST DALE JAMES          507 N SPRUCE                                                                                  GUNNISON          CO    81230‐2944
MCDERMOTT UTMA CO
NORMAN JONES                                    9535 S PRAIRIE AVE                                                                            CHICAGO           IL    60628‐1418
NORMAN JONES & WILLIE JONES JT TEN              9535 S PRAIRIE AVE                                                                            CHICAGO           IL    60628‐1418
NORMAN JOSEPH BARKER JR                         705 S E 16TH                                                                                  PORTLAND          OR    97214‐2617
NORMAN K HEDRICK                                7648 SOUTHPOINT RD                                                                            CAMDEN            MO    64017‐9131
NORMAN K LEGGE & JEAN C LEGGE JT TEN            501 BRENTWOOD DRIVE W                                                                         PLAINFIELD        IN    46168‐2159
NORMAN K MULLINS                                1226 N MILITARY                                                                               DETROIT           MI    48209‐2377
NORMAN K NORTHRUP                               2278 THAYER RD                                                                                FREELAND          MI    48623‐9426
NORMAN K PRATT                                  5419 EDGEMOOR LANE                                                                            BETHESDA          MD    20814‐1325
NORMAN K ROCKWELL & JEANNE M ROCKWELL JT TEN    2501 LAKEVIEW BLVD                                                                            WEST BRANCH       MI    48661‐9567

NORMAN K SLOSSER & DIANE E SLOSSER JT TEN       5449 N KARLEY CT                                                                              LUTHER            MI    49656‐9338
NORMAN K SLOSSER & KEITH F SLOSSER JT TEN       5449 N KARLEY CT                                                                              LUTHER            MI    49656‐9338
NORMAN K SOUTH                                  2410 MILLVILLE AVE                                                                            HAMILTON          OH    45013
NORMAN KELLAR & PAUL KELLAR TR U‐W‐O TULLIA P   14 PEARL ST                                                                                   KINGSTON          NY    12401‐4522
KELLAR
NORMAN KELVIN & PHYLLIS ANN KELVIN JT TEN       290 RIVERSIDE DR 5B                                                                           NEW YORK          NY    10025‐5231
NORMAN KENNEDY BURTT                            BOX 1431                                                                                      BELLAIRE          TX    77402‐1431
NORMAN KERTON                                   10 ROLAND ROAD                                                                                PEQUANNOCK        NJ    07440‐1909
NORMAN KESNER & ROBIN KESNER JT TEN             8 SOUTH ROAD                         APT 1D                                                   HARRISON          NY    10528‐3338
NORMAN KEYS                                     303 W WATER ST                       STE 204                                                  FLINT             MI    48503‐5600
NORMAN KING                                     5920 CARLTON DR                                                                               BURLINGTON        KY    41005‐9564
NORMAN KLUG                                     269 SOUTH PROSPECT                                                                            CLARENDON HILLS   IL    60514‐1441

NORMAN KRAUSHAAR CUST JESSE KRAUSHAAR UTMA      408 STUYVESANT ST                                                                             FORKED RIVER      NJ    08731‐1665
NJ
NORMAN KRAUSHAAR CUST JONAH DAVID KRAUSHAAR     408 STUYVESANT ST                                                                             FORKED RIVER      NJ    08731‐1665
UTMA NJ
NORMAN KRAUSHAAR CUST JORDAN W KRAUSHAAR        408 STUYVESANT ST                                                                             FORKED RIVER      NJ    08731‐1665
UTMA NJ
NORMAN KREJSA                                   6455 PRINCETON CT                    APT 101                                                  CLEVELAND         OH    44130‐8626
NORMAN KROL                                     906 SIBLEY                                                                                    BAY CITY          MI    48706‐3859
NORMAN L ANDERSON                               3676 CASTANO DR                                                                               DAYTON            OH    45416‐1106
NORMAN L BEASLEY & LINDA F BEASLEY JT TEN       36912 THINBARK                                                                                WAYNE             MI    48184‐1142
NORMAN L BELZ                                   2301 E NEWARK RD                                                                              LAPEER            MI    48446‐9473
NORMAN L BOOHER                                 25908 RICHVILLE DR                                                                            TORRANCE          CA    90505‐7312
NORMAN L BRAUN CUST BRUCE ROGER BRAUN U/THE     1459 W BELLE PLAINE AVE                                                                       CHICAGO           IL    60613‐1901
NEW YORK U‐G‐M‐A
NORMAN L BUTCHER                                3597 CHESANING RD                                                                             CHESANING         MI    48616‐9772
NORMAN L CAMPBELL & FAYE J CAMPBELL JT TEN      5445 COOMER RD                                                                                W BLOOMFIELD      MI    48324‐1108
NORMAN L CHAFFEE CUST ARTHUR C CHAFFEE UNDER    526 WOOD ST                          APT 311                                                  BETHLEHEM         PA    18018‐4456
THE PENNSYLVANIA U‐G‐M‐A
NORMAN L CHAFFEE CUST DEBORAH F CHAFFEE UNDER   526 WOOD ST                          APT 311                                                  BETHLEHEM         PA    18018‐4456
THE PENNSYLVANIA U‐G‐M‐A
NORMAN L COBANE                                 1280 N US HIGHWAY 421                                                                         WHITESTOWN        IN    46075‐9488
NORMAN L CRAWFORD                               RT #1 BOX 409                                                                                 RAYVILLE          MO    64084‐9721
NORMAN L CUSHING III                            4 PAISLEY CT                                                                                  BALTO             MD    21221‐4754
NORMAN L DE HAVEN                               1230 TAYLOR ROAD                                                                              AUBURN HILLS      MI    48326‐1553
NORMAN L DIVELY                                 5287 BIRCHCREST                                                                               SWARTZ CREEK      MI    48473‐1043
NORMAN L DUES                                   2927 MEISNER ST                                                                               FLINT             MI    48506‐2433
NORMAN L DURHAM                                 5707 MELODY LN                                                                                MILFORD           OH    45150‐2612
NORMAN L EDWARDS & CHERYL M LADD JT TEN         7367 SHARP RD                                                                                 SWARTZ CREEK      MI    48473‐9446
NORMAN L ERICKSON                               16010 45TH AVE                                                                                BARRYTON          MI    49305‐9762
NORMAN L FELKER JR                              4145 HONEYVALE SOUTH WEST                                                                     GRANDVILLE        MI    49418‐3103
NORMAN L FLESHMAN                               R 1 BOX 136                                                                                   MEADOW BRIDGE     WV    25976‐9411
NORMAN L GIDCUMB & PATRICIA A GIDCUMB JT TEN    18211 MOORE RD                                                                                THOMPSONVILLE     MI    49683‐9513

NORMAN L GOLDBERG                               40‐07 247TH ST                                                                                LITTLE NECK       NY    11363‐1638
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NORMAN L GREENFIELD                              2044 OAKDALE                           DRAYTON PLAIN                                            WATERFORD       MI    48329
NORMAN L HALDEMAN & ELIZABETH ANN HALDEMAN       1222 OHIO DRIVE                                                                                 BUCYRUS         OH    44820‐3536
JT TEN
NORMAN L HALL                                    2608 AMBLER RD                                                                                  BALTIMORE       MD    21222‐2205
NORMAN L HOLTROP                                 692 VILLAGE LANE                                                                                JENISON         MI    49428‐8373
NORMAN L JACKSON III                             1410 LOCHMEATH WAY                                                                              DOVER           DE    19901‐6515
NORMAN L JOHNSON                                 4328 RUTGERS DR                                                                                 ANDERSON        IN    46013‐4439
NORMAN L JOHNSON                                 3651 MOUNT BLANC ST NW                                                                          GRAND RAPIDS    MI    49544‐9446
NORMAN L JOHNSON & MARTHA C JOHNSON JT TEN       4328 RUTGERS DR                                                                                 ANDERSON        IN    46013‐4439

NORMAN L KARCH                                   6518 PARAMOUNT SPRINGS DR                                                                       ANDERSON        IN    46013‐9410
NORMAN L KELLAR & FLORENCE E KELLAR JT TEN       18119 RED OAKS DR                                                                               MACOMB          MI    48044‐2776
NORMAN L KURRASS & C LORRAINE KURRASS JT TEN     8 SHIELDS COURT                                                                                 BROOKHAVEN      NY    11719‐9723

NORMAN L MALLORY JR                              450 STATE PARK ROAD                                                                             ORTONVILLE      MI    48462‐9464
NORMAN L MARCHAL                                 4400 MCHUGH ROAD SUITE 408                                                                      ZACHARY         LA    70791‐5326
NORMAN L MARLER                                  17209 STATE HIGHWAY U                                                                           MINERAL POINT   MO    63660‐9552
NORMAN L MC CURDY & PATRICIA R MC CURDY JT TEN   211 CHESTNUT GROVE RD                                                                           DILLSBURG       PA    17019‐9323

NORMAN L MEYERS                                  1133 YEOMANS ST #115                                                                            IONIA           MI    48846‐1954
NORMAN L MITCHELL                                40344 N LAKE SHORE DR                                                                           ANTIOCH         IL    60002‐8581
NORMAN L MITCHELL                                810 ACCENT PK DR                                                                                DAYTON          OH    45427‐2710
NORMAN L MITCHELL JR                             1025 HUNT AVE                                                                                   HAMILTON        OH    45013‐2523
NORMAN L OLKA JR                                 5948 SHAWNEE RD                                                                                 SANBORN         NY    14132‐9222
NORMAN L PACER                                   3535 BIRD RD                                                                                    ORTONVILLE      MI    48462‐9084
NORMAN L PERRY & MARY LOUISE PERRY JT TEN        PO BOX 751                                                                                      W TISBURY       MA    02575‐0751
NORMAN L POWERS                                  7378 CR 49                                                                                      HELENA          OH    43435‐9771
NORMAN L REETZ                                   8462 WILSON ROAD                                                                                OTISVILLE       MI    48463‐9479
NORMAN L RUSHTON                                 1690 E BURT ROAD                                                                                BURT            MI    48417‐9422
NORMAN L SAMS                                    1244 DOUGLAS FIR DR                                                                             HOWELL          MI    48843‐9703
NORMAN L SMITH & SANDRA R SMITH JT TEN           7120 CAPRI DR                                                                                   WHITE LAKE      MI    48383‐2825
NORMAN L SUTTON                                  14062 CRANBROOK                                                                                 RIVERVIEW       MI    48192‐7526
NORMAN L THOMAS                                  6409 MYSTICK VIEW DR                                                                            GAYLORD         MI    49735‐8281
NORMAN L TODD                                    6400 W ST RD 64                                                                                 ECKERTY         IN    47116‐9228
NORMAN L TONCRE                                  28 LAKE PARK DR                                                                                 CONNEAUT        OH    44030‐1192
NORMAN L TREE                                    2295 N PINGREE RD                                                                               ALMA            MI    48801‐9588
NORMAN L TWORK JR                                4464 ELDERBERRY DR                                                                              BRIGHTON        MI    48114‐8621
NORMAN L WALLACE                                 14372 FARMINGTON RD                                                                             LIVONIA         MI    48154‐5421
NORMAN L WAUGH                                   10101 W PARMER LN                      APT 933                                                  AUSTIN          TX    78717‐5024
NORMAN L WEST                                    3112 SW ROBERTS DR                                                                              LEES SUMMIT     MO    64082‐4132
NORMAN L WISHER                                  630 N COUNTY RD 900 W                                                                           KOKOMO          IN    46901
NORMAN L WOLFE                                   1427 HARVARD                                                                                    GROSSE POINTE   MI    48320
                                                                                                                                                 PARK
NORMAN LABELLE                                   5752 REGENCY CT                                                                                 GURNEE          IL    60031‐6100
NORMAN LANDBERG                                  39 TURTLE LOVE LANE                                                                             HUNTINGTON      NY    11743‐3875
NORMAN LEE                                       26 WALDO ALLEY                                                                                  SAN FRANCISCO   CA    94109‐2122
NORMAN LEE BUSHEE                                1 MESARO PLACE                                                                                  HOT SPRINGS     AR    71909‐6005
                                                                                                                                                 VILLGE
NORMAN LEE GODDARD                               640 S RANGE LINE RD                                                                             ANDERSON        IN    46012‐3808
NORMAN LEE HUDSON                                1933 CENTRAL LANE                                                                               CAMP VERDE      AZ    86322‐7982
NORMAN LEE MARCUM                                10521 SCENIC DR #503                                                                            PORT RICHEY     FL    34668‐2136
NORMAN LEE MCDANIEL                              4353 WATSON RD                                                                                  COOKEVILLE      TN    38506‐6918
NORMAN LEGGE JR                                  501 BRENTWOOD DR W                                                                              PLAINFIELD      IN    46168‐2159
NORMAN LEIGHTON RAILSBACK                        804 SHADY LN                                                                                    BEDFORD         TX    76021‐5330
NORMAN LEROY POWELL                              12 GONZALES RD                                                                                  NATCHEZ         MS    39661‐9644
NORMAN LEVINE CUST STUART LEVINE UGMA KAN        5113 W 159TH TERR                                                                               OVERLAND PARK   KS    66085‐8956

NORMAN LEVY                                      11 MARTINS RUN                         APT C205                                                 MEDIA           PA    19063‐1073
NORMAN LIEBERMAN                                 200 WEST WASHINGTON SQUARE             2507                                                     PHILADELPHIA    PA    19106‐3518
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Name                                             Address1                              Address2             Address3          Address4          City            State Zip

NORMAN LOWELL LOOPER                             2954 HANGING LIMB RD                                                                           MONTEREY        TN    38574‐3675
NORMAN LUBBE & ROSEMARY LUBBE JT TEN             4939 LAKEVIEW DR                                                                               QUINCY          IL    62305‐7905
NORMAN M ABDELLA & RACHEL D ABDELLA JT TEN       5352 PEPPERMILL RD                                                                             GRAND BLANC     MI    48439‐1909

NORMAN M APGAR                                   328 DOUGLAS RD                                                                                 FAR HILLS       NJ    07931‐2515
NORMAN M COOL & BERTHA COOL JT TEN               24224 SE 32ND ST                                                                               SAMMAMISH       WA    98075‐7508
NORMAN M DRAYTON JR                              PO BOX 2926                                                                                    DETROIT         MI    48202‐0956
NORMAN M FORD                                    711 BENNINGTON DR                                                                              LEHIGH ACRES    FL    33936‐2621
NORMAN M GILLMEISTER                             655 CRESTWOOD DRIVE                                                                            BLOOMSBURG      PA    17815
NORMAN M GWISDALLA & AGNES V GWISDALLA JT TEN    108 MICHIGAN ST                                                                                PETOSKEY        MI    49770‐2606

NORMAN M HEYMAN                                  883 SUNSET RIDGE                                                                               BRIDGEWATER     NJ    08807‐1323
NORMAN M JANSEN                                  3643 E GRANT                                                                                   FRESNO          CA    93702‐2107
NORMAN M KANDOW & MARLENE H KANDOW JT TEN        14817 SHARRARD ROAD                                                                            ALLENTON        MI    48002‐1309

NORMAN M KEMPF                                   3500 W OLIVE AVE                      STE 930                                                  BURBANK         CA    91505
NORMAN M KIRNBERGER                              39725 SHORE LINE                                                                               HARRISON        MI    48045‐1636
                                                                                                                                                TOWNSHIP
NORMAN M MCLEOD                                  3987 S MIELKE WAY RD                                                                           LEWISTON        MI    49756‐7923
NORMAN M MOYLE JR                                8023 VIA HACIENDA                                                                              PALM BEACH      FL    33418‐7856
                                                                                                                                                GARDENS
NORMAN M NEAL                                   2790 DAVIS ROAD                                                                                 MARIETTA        GA    30062‐6671
NORMAN M RAAB & EDITH RAAB JT TEN               27834 RYAN                                                                                      WARREN          MI    48092‐5132
NORMAN M REEDER                                 3279 HITCHING POST RD                  APT 41                                                   DEWITT          MI    48820‐9609
NORMAN M ROULSTON & MARGARET B ROULSTON JT RT 374 BOX 110A                                                                                      MERRILL         NY    12955
TEN
NORMAN M SCHAEFER & R LUCILLE M SCHAEFER JT TEN 525 E SCHANTZ AVE                                                                               DAYTON          OH    45409‐2333

NORMAN M SIMON & HARRIET D SIMON JT TEN          411 WESLEY AVE                                                                                 EVANSTON        IL    60202‐3236
NORMAN M SORRELL & FRANCES M SORRELL JT TEN      24 ROOD ST                                                                                     LUDLOW          MA    01056‐1319

NORMAN M ZAPOTOSKY                           2852 MARION AVE                                                                                    BEN SALEM       PA    19020‐4225
NORMAN M ZINMAN & MRS ANNA LINDA ZINMAN JT   52 HEATHERWOOD DR                                                                                  MARLBOROUGH     MA    01753
TEN
NORMAN MALONE & BRENDA MALONE JT TEN         1305 RUTLAND                                                                                       HOUSTON         TX    77008‐4137
NORMAN MASON BURNS                           13300 FRENCH LANE                                                                                  DAVISBURG       MI    48350‐2819
NORMAN MC KIBBEN                             3951 RIDGETON ROAD                                                                                 BUCYRUS         OH    44820‐9483
NORMAN MCDEVITT                              44870 E BURSLEY                                                                                    WELLINGTON      OH    44090‐9276
NORMAN MICHAEL KLECKNER & WANDA SUE KLECKNER 5550 COLDWATER DR                                                                                  CASTRO VALLEY   CA    94552‐2628
JT TEN
NORMAN MILLER                                76‐37 172 ST                                                                                       FLUSHING         NY   11366‐1408
NORMAN MILLER & ELAINE M BRAKE TEN COM       37421 STONEGATE CIRCLE                                                                             CLINTON TOWNSHIP MI   48036‐2965

NORMAN MORRIS RUSHTON                            630 LANSING ST                                                                                 CHESANING       MI    48616‐1128
NORMAN N BLEAU JR                                2106 BENJAMIN RD                                                                               IRVING          TX    75060‐5107
NORMAN N FOX & MRS MARY A FOX JT TEN             244 HARBOR DR                                                                                  BIG FORK        MT    59911‐6264
NORMAN N FOX CUST DAVID B FOX UGMA CA            244 HARBOR DR                                                                                  BIGFORK         MT    59911‐6264
NORMAN N FOX CUST ELLEN S FOX UGMA CA            244 HARBOR DR                                                                                  BIGFORK         MT    59911‐6264
NORMAN N FOX CUST GENEVER E FOX UGMA CA          244 HARBOR DR                                                                                  BIGFORK         MT    59911‐6264
NORMAN N FOX CUST ROGER EVAN FOX UGMA CA         244 HARBOR DR                                                                                  BIGFORK         MT    59911‐6264
NORMAN N TILLEY JR & BETH SAUNDERSON TILLEY JT   12812 BROADMORE RD                                                                             SILVER SPRING   MD    20904‐3111
TEN
NORMAN NADEL & MRS ILENE NADEL JT TEN            286 MADISON AVE ROOM 1803                                                                      NEW YORK        NY    10017‐6302
NORMAN NALE & PEGGY NALE TR NALE FAM TRUST UA    1823 S PATRIOT DR                                                                              YORKTOWN        IN    47396‐9000
08/07/96
NORMAN NELSON                                    3177 LA MIRAGE DR                                                                              LAUDERHILL      FL    33319‐4267
NORMAN NICKIN CUST AMY NICKIN UGMA MI            19897 MYRON ST                                                                                 LEVONIA         MI    48152‐1253
NORMAN O DAVIS JR & MARY CAROL T DAVIS JT TEN    108 RAMBLEWOOD LANE                                                                            MARS            PA    16046‐3518
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NORMAN O ROWLEY                                1008 S ARNOLD ST                                                                                MT PLEASANT     MI    48858‐3514
NORMAN O RUSHER                                182 ABNER CRK PKWY                                                                              AVON            IN    46123‐9602
NORMAN O SAWULA                                6 LACEY DR                             WHITBY ON                              L1R 2B2 CANADA
NORMAN O STAIRS                                PO BOX 264                                                                                      BUCKSPORT       ME    04416‐0264
NORMAN O TILLY                                 1574 GOLDEN GATE CT                                                                             SAINT CLAIR     MI    48079‐3506
NORMAN O WAAG                                  6087 SINGLE TREE LN                                                                             DAYTON          OH    45459‐2423
NORMAN O WAGNER                                604 NEWMAN ST #A                                                                                EAST TAWAS      MI    48730
NORMAN ONDERDONK                               RFD 2 3000 PERSSE RD                                                                            LAFAYETTE       NY    13084‐9533
NORMAN P CALDWELL                              56 SENECA DR                                                                                    PITTSBURGH      PA    15228‐1027
NORMAN P CLAUSEN                               3419 COLTWOOD DR                                                                                SPRING          TX    77388‐5163
NORMAN P ELLSWORTH                             11 ROSE LN                                                                                      MOUNT DORA      FL    32757‐3230
NORMAN P GAEDTKE                               1728 W EUCLID                                                                                   STOCKON         CA    95204‐2909
NORMAN P HINES                                 1721 DIFFORD DR                                                                                 NILES           OH    44446‐2833
NORMAN P LESPERANCE                            1084 PARTRIDGE DRIVE                                                                            BAY CITY        MI    48706‐9752
NORMAN P OCONNOR                               1160 ALA NAPUNANI ST APT 1605                                                                   HONOLULU        HI    96818‐1611
NORMAN PAIK & KATHLEEN C PAIK TEN ENT          BOX 128                                                                                         KEAAU           HI    96749‐0128
NORMAN PALEY                                   104 AVALON RD                                                                                   MONROE TWP      NJ    08831‐5970
NORMAN PARKER & SHIRLEY L PARKER JT TEN        1443 CHISSOM TRAIL                                                                              FLINT           MI    48532‐2311
NORMAN PATRICK HOYDIC                          5190 WYNDHAM PL                                                                                 FENTON          MI    48430‐9161
NORMAN PAUL MAXWELL JR                         PO BOX 434                                                                                      SNOOK           TX    77878
NORMAN PEAKS                                   838 E 7TH ST                                                                                    FLINT           MI    48503‐2776
NORMAN PENNINGTON                              397 TIMBERLEAF DR                                                                               DAYTON          OH    45430‐2099
NORMAN PERLMAN CUST STEVEN PERLMAN UGMA NY     36 CLUBSIDE DR                                                                                  WOODMERE        NY    11598‐1365

NORMAN PETERS                                    11493 SUNSET DR                                                                               CLIO            MI    48420‐1558
NORMAN POLANSKY                                  91 PENNSYLVANIA AVE                                                                           MT VERNON       NY    10552‐2419
NORMAN R BRACKINS                                1081 ZUNI DRIVE                                                                               BURTON          MI    48509‐1448
NORMAN R BURGIN & WILMA B BURGIN JT TEN          526 GRAND HARBOR BLVD                                                                         NINETY SIX      SC    29666‐8791
NORMAN R CARLSON JR PERS REP EST HILDA D CARLSON 2107 LAKESHORE DR                                                                             MICHIGAN CITY   IN    46360‐1547

NORMAN R CARLSON JR PERS REP UW NORMAN R       2107 LAKE SHORE DR                                                                              MICHIGAN CITY   IN    46360‐1547
CARLSON
NORMAN R COMBS                                 4826 LAMONT CT                                                                                  WARREN          MI    48091‐4387
NORMAN R COWELL                                4600 BARBARA DR                                                                                 KNOXVILLE       TN    37918‐4456
NORMAN R CROWE JR                              13820 TOWNSHIP ROAD 471                                                                         LAKEVILLE       OH    44638‐9719
NORMAN R DITTMAR                               525 5TH AVE NW                                                                                  ROCHESTER       MN    55901‐2840
NORMAN R DOW JR                                824 MAIN ST                                                                                     READFIELD       ME    04355‐3316
NORMAN R DUFFIELD                              11239 NICHOLSON ROAD                                                                            GARRETTSVILLE   OH    44231‐9718
NORMAN R FLAGA                                 1033 ELMWOOD W                                                                                  CLAWSON         MI    48017‐1320
NORMAN R FREEMAN JR & GARY LEE BROOKS TR UW    1055 W JOPPA RD                        APT 353                                                  TOWSON          MD    21204‐3741
MARIE P FREEMAN
NORMAN R GARDNER                               10 BRIAR PATCH DR                                                                               WESTERLY        RI    02891‐3565
NORMAN R GOLDEN                                2431 RATALEE LAKE RD                                                                            HOLLY           MI    48442
NORMAN R GOLDEN CUST JAMIE M GOLDEN UGMA MI    2431 RATTALEE LAKE RD                                                                           HOLLY           MI    48442

NORMAN R GOLDEN CUST KARIE L GOLDEN UGMA MI    2431 RATALEE LAKE RD                                                                            HOLLY           MI    48442

NORMAN R GOLDEN CUST PAUL R GOLDEN UGMA MI     2431 RATALEE LAKE RD                                                                            HOLLY           MI    48442

NORMAN R GOLDEN CUST RENEE D GOLDEN UGMA MI    2431 RATALEE LAKE RD                                                                            HOLLY           MI    48442

NORMAN R GOLDEN CUST SHAUN R GOLDEN UGMA MI 2431 RATALEE LAKE RD                                                                               HOLLY           MI    48442

NORMAN R GREENLEAF                             7181 WILKIE                                                                                     TAYLOR          MI    48180‐1527
NORMAN R HART                                  6633 W HOME AVE                                                                                 WORTH           IL    60482‐2305
NORMAN R HAWKINS                               RT 2 BOX 1242                                                                                   NEWTON          GA    31770‐9667
NORMAN R HILLS                                 3955 THIRTHEENTH ST                    SUITE 516            LASALLE ON        N9H 2S7 CANADA
NORMAN R JOHNS                                 2991 SHANNON CIR                                                                                PALM HARBOR     FL    34684
NORMAN R KNOWLTON                              37 YORK ST                                                                                      PERU            IN    46970‐2811
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Name                                            Address1                               Address2             Address3          Address4          City             State Zip

NORMAN R KURTIS CUST NORMAN S B KURTIS UGMA MI CHAPINERIA 52D                          MADRID                                 28035 SPAIN

NORMAN R LANEY                                  65 CRESTVIEW DRIVE                                                                              BROCKPORT        NY    14420‐2613
NORMAN R LANEY & BETTY J LANEY JT TEN           65 CRESTVIEW DR                                                                                 BROCKPORT        NY    14420‐2613
NORMAN R LARGE                                  6095 BAUSCH RD                                                                                  GALLOWAY         OH    43119‐9378
NORMAN R LONGLAND                               13333 BONANZA ST                                                                                PACOIMA          CA    91331‐4009
NORMAN R LUTERICK                               1741 EISENHOWER DR                                                                              BRUNSWICK        OH    44212‐3757
NORMAN R NICKERSON                              7100 VAN PELT RD                                                                                KINGSLEY         MI    49649‐9667
NORMAN R PAETH                                  2702 COUNTY LINE RD                                                                             HOLLEY           NY    14470
NORMAN R REED                                   1256 SOUTH 100 W                                                                                HARTFORD CITY    IN    47348‐9509
NORMAN R SCHNABEL                               2016 BALBOA DR                                                                                  FORT WAYNE       IN    46814‐8862
NORMAN R SHERBERT                               34403 UPPER BEAR CREEK RD                                                                       EVERGREEN        CO    80439
NORMAN R SHERBERT CUST TODD TYLER SHERBERT      32462 CORTE BARELA                                                                              TEMECULA         CA    92592‐1239
UGMA CO
NORMAN R SHNEIDER                               1860 COUNTY RD D                                                                                CERESCO          NE    68017‐4044
NORMAN R SLOCUM                                 7577 SADDLE BAG LAKE ROAD                                                                       LAKE ODESSA      MI    48849‐9303
NORMAN R STANLEY                                1324 WOODGLEN                                                                                   YPSILANTI        MI    48198‐6222
NORMAN R SWERESKI                               33707 ASHTON DR                                                                                 STERLING HTS     MI    48312‐6008
NORMAN R TALCOTT                                1250 FLORENCE                                                                                   WATERFORD        MI    48328‐1214
NORMAN R THORPE                                 498 ABBEY ROAD                                                                                  BIRMINGHAM       MI    48009‐5618
NORMAN R WALLNER                                1324 BUXTON DRIVE                                                                               DESOTO           TX    75115‐7752
NORMAN R WEIGEL                                 PO BOX 63                                                                                       CUBA             MO    65453‐0063
NORMAN R WILLIAMS                               2525 S HOYT AVE                                                                                 MUNCIE           IN    47302‐3966
NORMAN R WORDEN                                 5 PEARLE BROOK LANE                                                                             TAYLORS          SC    29687‐5956
NORMAN R WORKMAN                                4748 HEATHER LN                                                                                 CLEVELAND        OH    44144‐3163
NORMAN RADOW & MARILYN RADOW JT TEN             2327 THOUSAND OAKS DRIVE                                                                        RICHMOND         VA    23294‐3433
NORMAN RAY COLE CUST KENNETH JAMES COLE UTMA    467 PECAN PL                                                                                    BRENTWOOD        CA    94513‐1911
CA
NORMAN RAYMOND LEMONS                           BOX 109                                                                                         CANON CITY       CO    81215‐0109
NORMAN ROBERSON                                 423 GARDEN AVE                                                                                  MT VERNON        NY    10553‐2015
NORMAN ROSNER TR PAR 3 U‐W MAE ROSNER           530 E 90TH ST                                                                                   NEW YORK         NY    10028‐1333
NORMAN ROTTER                                   24265 BINGHAM COURT                                                                             BINGHAM FARMS    MI    48025‐3420
NORMAN S COHEN & MRS LINDA H COHEN JT TEN       2577 INTERPLEX DR                      STE 202                                                  TREVOSE          PA    19053‐6957
NORMAN S COZZA                                  29617 SUTHERLAND                                                                                WARREN           MI    48088‐3713
NORMAN S HUNT JR                                1433 HELOIS ST                                                                                  METAIRIE         LA    70005‐1014
NORMAN S JEANNIN                                12513 E 58TH TER                                                                                KANSAS CITY      MO    64133
NORMAN S KAUFFMANN                              4975 NORTHLAND RD                                                                               MABLETON         GA    30126‐1649
NORMAN S LIEBERFREUND                           27 CYNTHIA LANE                                                                                 PLAINVIEW LONG   NY    11803‐5622
                                                                                                                                                ISL
NORMAN S MAYFIELD                               8 VELVET LN                                                                                     LEVITTOWN        PA    19054‐1006
NORMAN S SCHAUDER & JOSEPHINE D SCHAUDER JT     10025 TENNYSON                                                                                  PLYMOUTH         MI    48170‐3645
TEN
NORMAN S THOMAS                                 3753 WOOD LENHART SW RD                                                                         WARREN           OH    44481
NORMAN S ZDROJEWSKI                             3616 BICSAK                                                                                     WARREN           MI    48092‐3352
NORMAN SALYER JR                                5288 TUXWORTH DR                                                                                COLUMBUS         OH    43232‐5832
NORMAN SAYLOR                                   14 DAVIS ST                                                                                     JAMESTOWN        OH    45335‐1610
NORMAN SCHNEIDER CUST ANDREW KEITH SCHNEIDER    343 E 74TH ST                          PH 2B                                                    NEW YORK         NY    10021‐3777
UGMA NY
NORMAN SCOTT SPURLING                           4407 KNOLLCROFT RD                                                                              DAYTON           OH    45426
NORMAN SMITH                                    37347 GIAVON ST                                                                                 PALMDALE         CA    93552‐4757
NORMAN SOMERS                                   20911 RIVERBEND DR S                                                                            CLINTON TOWNSHIP MI    48038‐2488

NORMAN STARR & JANICE STARR JT TEN              30 EVERGREEN CRESCENT                  THORNHILL ON                           L3T 5V2 CANADA
NORMAN STEIGERWALD                              4492 E CEDAR LAKE DR                                                                            GREENBUSH        MI    48738‐9727
NORMAN STEWART & MARJORIE STEWART JT TEN        1307 DIABLO DRIVE                                                                               CROSBY           TX    77532‐3004
NORMAN T ATKINS                                 341 TERRA CEIA DR                                                                               PALMETTO         FL    34221‐3419
NORMAN T HASTY TR NORMAN T HASTY LIVING TRUST   71 REDLEVEL WALK                                                                                NEWNAN           GA    30265
UA 02/04/99
NORMAN T HEALEY                                 5140 BALZER ST                                                                                  LANSING          MI    48911‐3529
                                           09-50026-mg                   Doc 7123-47    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
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Name                                            Address1                                Address2             Address3          Address4          City              State Zip

NORMAN T LIVINGSTON                             2073 LINDA ST                                                                                    SAGINAW           MI    48603‐4002
NORMAN T MCCLEERY                               3501 WHITE RIVER CT                                                                              ANDERSON          IN    46012‐4649
NORMAN T TRUDELL                                9302 QUANDT                                                                                      ALLEN PARK        MI    48101‐1587
NORMAN THOMAS                                   9160 HARTWELL                                                                                    DETROIT           MI    48228‐2534
NORMAN TULLY SAFIAN                             138 ELM AVE                                                                                      GLEN COVE         NY    11542‐3240
NORMAN V BROWN & ADELINA M GRIEGO TR BROWN      2510 N NELSON STREET                                                                             ALRINGTON         VA    22207‐5030
GRIEGO TRUST UA 01/02/06
NORMAN V GODFREY                                350 KENMORE ROAD                        DOUGLAS MANOR                                            NEW YORK          NY    11363‐1017
NORMAN V PETERS CUST WILLIAM PETERS UGMA IL     17 QUARTERMASTER                                                                                 SALEM             SC    29676‐4446

NORMAN VANVOSSEN & MILDRED A VANVOSSEN JT TEN 7016 W 95TH PL                                                                                     OAK LAWN          IL    60453

NORMAN W & PHYLLIS Y HAASE TR HAASE LIVING TRUST 56355 INDIAN TRAIL                                                                              MACOMB            MI    48042‐1407
UA 10/29/98
NORMAN W ALLISON TR ALLISON FAM TRUST UA         1012 LLOYD RD                                                                                   WICKLIFFE         OH    44092‐2338
02/22/97
NORMAN W BAJERSKI                                7787 SILVER FOX TRAIL                                                                           BOARDMAN          OH    44512‐5326
NORMAN W BATCHELOR                               2777 SOUTH LAKESHORE RD                                                                         HARBOR BEACH      MI    48441
NORMAN W BOWERS                                  PO BOX 52                                                                                       HALE              MI    48739‐0052
NORMAN W BRIGGS                                  2020 PARKWAY SOUTH                                                                              BROOMALL          PA    19008‐3137
NORMAN W CADWELL                                 2100 SOMERSET DR                                                                                FLORISSANT        MO    63033‐1008
NORMAN W CRAWFORD                                6 CARY AVE                                                                                      OAKFIELD          NY    14125‐1104
NORMAN W DIEHL JR                                1420 PENNSYLVANIA AVE                  UNIT 410                                                 MIAMI BEACH       FL    33139‐4072
NORMAN W DOUDIET                                 1344 STONE POST ROAD                                                                            JAMES ISLAND      SC    29412‐9428
NORMAN W EDWARDS                                 1630 HOLLYDALE DR                                                                               FULLERTON         CA    92831‐1117
NORMAN W FORBES                                  1361 DAYTON CT                                                                                  HUNTINGTON        IN    46750‐1855
NORMAN W FORMENTI JR                             2759 W TURNER ST                                                                                SPRINGFIELD       MO    65803‐2246
NORMAN W GEOFFRION                               C/O SALLY E ACKERMAN                   PO BOX 185                                               BUCKLEY           MI    49620‐0185
NORMAN W HILDRETH                                3061 BRANDON CT                                                                                 ROCHESTER HLS     MI    48309‐1076
NORMAN W HILL                                    1714 MULBERRY RD                                                                                MARTINSVILLE      VA    24112‐5718
NORMAN W LENDZION JR                             13800 S REED RD                                                                                 BYRON             MI    48418‐9746
NORMAN W LOCKE                                   PO BOX 273                                                                                      FLUSHING          MI    48433‐0273
NORMAN W NELSON                                  6822 BANNER                                                                                     TAYLOR            MI    48180‐1678
NORMAN W PETZOLD                                 1197 WILLIAM ST                                                                                 VASSAR            MI    48768‐1136
NORMAN W PROSCH                                  20484 9 MILE RD                                                                                 REED CITY         MI    49677‐8475
NORMAN W ROWE & LOUISE E ROWE JT TEN             4 FORESTAL CIRCLE                                                                               NEWARK            DE    19711‐2986
NORMAN W SCHUMACHER                              11634 TURKS DRIVE                                                                               NEW PORT RICHEY   FL    34654‐2700

NORMAN W SELNES                                 30621 BALEWOOD                                                                                   SOUTHFIELD        MI    48076‐1571
NORMAN W SMITH                                  PO BOX 1231                                                                                      LAPEER            MI    48446‐5231
NORMAN W SNOOK JR & WENDY G SNOOK JT TEN        23771 SHERWOOD RD                                                                                BELLEVILLE        MI    48111‐9322
NORMAN W SNOOK JR CUST CHIARA LANEE PARADICE    23771 SHERWOOD RD                                                                                BELLEVILLE        MI    48111‐9322
UGMA MI
NORMAN W SNOOK JR CUST SCOTTIE DEAN SNOOK II    23771 SHERWOOD RD                                                                                BELLEVILLE        MI    48111‐9322
UGMA MI
NORMAN W SOMMER                                 15 CATALPA DR                                                                                    SPRINGBORO        OH    45066‐1101
NORMAN W SPIDLE                                 6081 JEANETTE                                                                                    HASLETT           MI    48840‐8240
NORMAN W STERN & SYDNEY HELENE STERN &          4438 STONY RIVER DRIVE                                                                           BLOOMFIELD        MI    48301
MARGARET CICUREL TR UA 08/02/07
NORMAN W TROY                                   103 GREENTREE LN                                                                                 COWAN             TN    37318
NORMAN W ULCH                                   4262 WILLOUGHBY                                                                                  HOLT              MI    48842‐9763
NORMAN W VONDERWERTH & FREDA M                  48760 MILL BANK CT                                                                               SHELBY TOWNSHIP   MI    48315‐4303
VONDERWERTH & STEVEN G DETTLOFF JT TEN
NORMAN WAGES                                    4004 BELLAIRE                                                                                    MUNCIE            IN    47303‐1495
NORMAN WALDEN                                   1609 FOLEY ST                                                                                    YPSILANTI         MI    48198‐6591
NORMAN WALKER                                   PO BOX 6‐08533                                                                                   CLEVELAND         OH    44108‐0533
NORMAN WATNICK                                  3 HEATHCOTE DR                                                                                   ALBERTSON         NY    11507‐2224
NORMAN WESLEY MCNEA                             G 35 20 HOGARTH ST                                                                               FLINT             MI    48532
NORMAN WESOLOWSKI                               4012 ARSENAL PL                                                                                  PITTSBURGH        PA    15201‐1757
